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Name                Address1                      Address2              Address3         Address4               City            State   Zip
JAMES BARTSHE       120 S UNION ST APT 1                                                                        PLYMOUTH         MI     48170‐4890
JAMES BARTZ         2765 PRAIRIE LAKE RD                                                                        TOMAHAWK         WI     54487‐8864
JAMES BASAR JR      6990 AMES RD                                                                                PARMA            OH     44129‐5809
JAMES BASEY         2405 BARON DR                 BUENA VISTA MANOR                                             HOLIDAY          FL     34690‐4009
JAMES BASILONE JR   2001 LELAND AVE                                                                             BALTIMORE        MD     21220‐3927
JAMES BASINSKI      24866 QUEEN ANNES LACE                                                                      ATHENS           AL     35613‐8215
JAMES BASKIN        913 NE 17TH ST                                                                              GRAND PRAIRIE    TX     75050‐3810
JAMES BASS JR       5462 NORTHWOOD RD                                                                           GRAND BLANC      MI     48439‐3437
JAMES BASSETT       7010 DONELSON TRL                                                                           DAVISON          MI     48423‐2320
JAMES BASSETT       37360 GILES RD                                                                              GRAFTON          OH     44044‐9130
JAMES BASSO         1953 QUAIL RUN DR                                                                           CORTLAND         OH     44410‐1804
JAMES BASTAIN I I   217 CORONADO RD                                                                             INDIANAPOLIS     IN     46234‐2531
JAMES BATCHELOR     100 NEWTON RIDGE DR                                                                         COVINGTON        GA     30014‐3634
JAMES BATCHELOR     170 KOONTZ LN SPC 37                                                                        CARSON CITY      NV     89701‐5507
JAMES BATCHELOR     1500 N SOMERSET RD                                                                          HUDSON           MI     49247‐9638
JAMES BATE          10711 OXBOW HTS                                                                             WHITE LAKE       MI     48386‐2265
JAMES BATEMA        511 MARYLAND AVE NE                                                                         GRAND RAPIDS     MI     49503‐2106
JAMES BATEMAN       61824 RAMBLING WAY                                                                          SOUTH LYON       MI     48178‐8968
JAMES BATEMAN       2840 FRANKLIN DR                                                                            CLARE            MI     48617‐9419
JAMES BATES         2733 S WEBSTER ST                                                                           DENVER           CO     80227‐3409
JAMES BATES         4827 MARTINS CROSSING RD                                                                    STONE MTN        GA     30088‐1913
JAMES BATES         9200 BARNHARDTH NE ROAD                                                                     MANCELONA        MI     49659
JAMES BATES         801 GARDENVIEW DR APT 325                                                                   FLINT            MI     48503‐1637
JAMES BATES         1677 CASTLE RD                                                                              NORTH BRANCH     MI     48461‐8760
JAMES BATES         23546 WHITLEY DR                                                                            CLINTON TWP      MI     48035‐4636
JAMES BATES         30147 ACACIA STREET                                                                         LIVONIA          MI     48154‐4405
JAMES BATES         1298 COUNTY ROAD 2816                                                                       ALTO             TX     75925‐6809
JAMES BATES         2421 MAYFAIR RD                                                                             DAYTON           OH     45405‐2857
JAMES BATES JR      217 HITHER CREEK LN                                                                         REYNOLDSBURG     OH     43068‐7199
JAMES BATES JR      15 CREEK BREEZE WAY                                                                         OXFORD           GA     30054‐2602
JAMES BATES JR      7062 DIOR CT                                                                                INDIANAPOLIS     IN     46278‐2300
JAMES BATESON       3521 CLEVELAND AVE                                                                          DAYTON           OH     45410‐3201
JAMES BATEY JR      5668 N KARLE ST                                                                             WESTLAND         MI     48185‐3175
JAMES BATOHA        1765 MAUMEE DR                                                                              DEFIANCE         OH     43512‐2548
JAMES BATTERSBY     10716 NW 39TH ST                                                                            YUKON            OK     73099‐6014
JAMES BATTISTA      17024 LA CIVITA CT                                                                          MACOMB           MI     48044‐2644
JAMES BATTLE        1621 NORTHBOURNE RD                                                                         BALTIMORE        MD     21239‐3624
JAMES BATTLE        1817 SPRINGFIELD ST                                                                         FLINT            MI     48503‐4579
JAMES BATTLES       322 N ELM GROVE RD                                                                          LAPEER           MI     48446‐3549
JAMES BATTLES       226 E LAKEVIEW AVE                                                                          FLINT            MI     48503‐4164
JAMES BATTON        5921 WILMINGTON DR                                                                          SHELBY TWP       MI     48316‐3364
JAMES BATTYE        BRENT COON & ASSOCIATES       215 ORLEANS                                                   BEAUMONT         TX     77701
JAMES BAUER         923 S HACKER RD                                                                             BRIGHTON         MI     48114‐8754
JAMES BAUER         37660 KNOLL DR                                                                              WAYNE            MI     48184‐1075
JAMES BAUGH         118 S OSBORN AVE                                                                            YOUNGSTOWN       OH     44509‐2630
JAMES BAUGHER       27805 NICK DAVIS RD                                                                         ATHENS           AL     35613‐6409
JAMES BAUGHMAN      3141 E CLOVERDALE RD                                                                        HASTINGS         MI     49058‐9334
JAMES BAUGHMAN      479 CRAIGSTON DR                                                                            MANSFIELD        OH     44903‐9047
JAMES BAUM          1338 N AINGER RD                                                                            CHARLOTTE        MI     48813‐8860
JAMES BAUMAN        2575 E GRESHAM HWY                                                                          CHARLOTTE        MI     48813
JAMES BAUMER        3820 CRAMTON RD                                                                             METAMORA         MI     48455‐9629
JAMES BAUMHARDT     220 MAPLE ST                                                                                HAWK POINT       MO     63349‐2223
JAMES BAXTER        5761 KENSINGTON WAY S                                                                       PLAINFIELD       IN     46168‐7550
JAMES BAXTER        3081 E SHOCKLEY RD                                                                          MUNCIE           IN     47302‐8613
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Name               Address1                          Address2                      Address3   Address4               City             State Zip
JAMES BAYER        6657 CRESTVIEW DR                                                                                 LAINGSBURG        MI 48848‐9447
JAMES BAYES        4185 FLOWERS RD                                                                                   MANSFIELD         OH 44903‐8616
JAMES BAYLESS      160 FAIR ST SE                                                                                    CLEVELAND         TN 37311‐2829
JAMES BAYLIS JR    348 SHENANDOAH AVE                                                                                WINCHESTER        VA 22601‐5160
JAMES BAYLOR       169 OTTAWA DR                                                                                     PONTIAC           MI 48341‐2043
JAMES BAYNE        2556 HARTEL RD                                                                                    CHARLOTTE         MI 48813‐9398
JAMES BEACH        11476 WING DR                                                                                     CLIO              MI 48420‐1548
JAMES BEACH        8521 OLD HARFORD RD                                                                               BALTIMORE         MD 21234
JAMES BEACH        7202 W DESERAMA DR                                                                                TUCSON            AZ 85743‐1217
JAMES BEACH        PO BOX 19562                                                                                      INDIANAPOLIS      IN 46219‐0562
JAMES BEACHLER     72 SHIRLEY DR                                                                                     TROY              MO 63379‐6304
JAMES BEACHUM      2315 PENNSYLVANIA ST                                                                              FORT WAYNE        IN 46803‐2225
JAMES BEADLE       2275 STEPHENS AVE                                                                                 KINGMAN           AZ 86409‐3186
JAMES BEALL        9014 APPLE ORCHARD DR                                                                             FENTON            MI 48430‐8949
JAMES BEALS        C/O THE MADEKSHO LAW FIRM         8866 GULF FREEWAY SUITE 440                                     HOUSTON           TX 77017
JAMES BEAM         47256 DYKE RD                                                                                     ROGERS            OH 44455‐9741
JAMES BEAMON       4069 WINCREST LN                                                                                  OAKLAND TWP       MI 48306‐4770
JAMES BEAN         2774 LONE PINE RD                                                                                 GAYLORD           MI 49735‐8601
JAMES BEAN         3445 W FARRANO RD                                                                                 CLIO              MI 48420‐8835
JAMES BEAR         2557 CARDINAL DR                                                                                  PITTSBORO         IN 46167‐9559
JAMES BEARD        125 BONSALL AVE                                                                                   ASTON             PA 19014‐2701
JAMES BEARD        6777 SELMA RD                                                                                     SOUTH CHARLESTON OH 45368‐9654

JAMES BEARD        8151 W HYDE RD                                                                                    SAINT JOHNS      MI   48879‐9737
JAMES BEARD        4723 WAINWRIGHT AVE                                                                               LANSING          MI   48911‐2848
JAMES BEARD        2466 S DEACON ST                                                                                  DETROIT          MI   48217‐1639
JAMES BEARDSLEY    29929 REDOAK AVE                                                                                  EUSTIS           FL   32736‐9182
JAMES BEARDSLEY    12335 VIENNA RD                                                                                   MONTROSE         MI   48457‐9405
JAMES BEARDSLEY    8522 TIM TAM TRL                                                                                  FLUSHING         MI   48433‐8805
JAMES BEASLEY      12062 BEACH DR                                                                                    HOLLY            MI   48442‐9445
JAMES BEASLEY      3370 E 137TH ST                                                                                   CLEVELAND        OH   44120‐3902
JAMES BEATH        5014 N BELSAY RD                                                                                  FLINT            MI   48506‐1670
JAMES BEATON       2471 W MAPLE AVE                  C/O WENDY PACHECO                                               FLINT            MI   48507‐3483
JAMES BEATON       1460 WIGGINS RD                                                                                   FENTON           MI   48430‐9721
JAMES BEATTY       1013 BLUEBELL LN                                                                                  DAVISON          MI   48423‐7906
JAMES BEATY        3209 STEEPLECHASE CT                                                                              FLINT            MI   48532‐3751
JAMES BEATY        12009 HEMPLE RD                                                                                   FARMERSVILLE     OH   45325‐7209
JAMES BEAUCHAMP    2118 LAKEVIEW ST                                                                                  STANDISH         MI   48658‐9616
JAMES BEAVER       PO BOX 6                                                                                          GALVESTON        IN   46932‐0006
JAMES BEAVER       629 ESTATE CT                                                                                     ELKHORN          WI   53121‐2222
JAMES BEAVER       1309 MIZZEN AVE                                                                                   BEACHWOOD        NJ   08722‐4307
JAMES BEAVER       199 SUNCREST DR                                                                                   GREENWOOD        IN   46143‐1020
JAMES BECHTEL      9368 MADISON RD                                                                                   MONTVILLE        OH   44064‐8721
JAMES BECHTEL JR   2548 MARATHON RD                                                                                  LAPEER           MI   48446‐9041
JAMES BECK         4833 S FOREST RIDGE DR                                                                            NEW BERLIN       WI   53151‐7492
JAMES BECK         12722 SANTA ROSA ST                                                                               DETROIT          MI   48238
JAMES BECK         2743 E BUCHER DR                                                                                  SYRACUSE         IN   46567‐7940
JAMES BECK         3102 GLENGARY RD                                                                                  COMMERCE         MI   48382‐2144
                                                                                                                     TOWNSHIP
JAMES BECK         1162 ESTILL HACKNEY RD                                                                            EUBANK           KY   42567‐9827
JAMES BECK         414 SOUTH DIVISION                BOX 395                                                         CARSON CITY      MI   48811
JAMES BECK JR      17081 RENO ST                                                                                     RIVERVIEW        MI   48193‐4225
JAMES BECKER       120 SHAVER AVE                                                                                    N SYRACUSE       NY   13212‐1318
JAMES BECKER       516 ABRAMS COURT                                                                                  BEAR             DE   19701‐3501
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Name                  Address1                        Address2                 Address3     Address4               City             State   Zip
JAMES BECKER          1121 EMERSON DR                                                                              BURLESON          TX     76028‐7105
JAMES BECKER          PO BOX 241                                                                                   FOWLER            MI     48835‐0241
JAMES BECKER JR       PO BOX 96                                                                                    COTTLEVILLE       MO     63338‐0096
JAMES BECKETT         2814 EAST AVE                                                                                LEBANON           OH     45036‐1111
JAMES BECKEY          17762 W MAUI LN                                                                              SURPRISE          AZ     85388‐7553
JAMES BECKHAM         7672 SEBRING DR                                                                              DAYTON            OH     45424‐2228
JAMES BECKHAM         27 FIEDLER CT APT C                                                                          FENTON            MO     63026‐5516
JAMES BECKHAM         3691 CYPRESS CIR                                                                             GULF SHORES       AL     36542‐9038
JAMES BECKLEY         71 HORIZEN TRL                                                                               INDIAN RIVER      MI     49749‐9763
JAMES BECKLEY         5271 WORCHESTER DR                                                                           SWARTZ CREEK      MI     48473‐1159
JAMES BECKLIN         2377 DELS DR                                                                                 MUSKEGON          MI     49444‐2677
JAMES BECKMAN         5292 MAPLE AVE                                                                               SWARTZ CREEK      MI     48473‐8207
JAMES BECKMAN         7300 N CRAM RD                                                                               OWOSSO            MI     48867‐9640
JAMES BECKMAN         2739 CHICOPEE DR                                                                             ATLANTA           GA     30360‐2636
JAMES BECKNER         4 ATHLONE DR                                                                                 CASEYVILLE         IL    62232‐2008
JAMES BECKS           4430 OAKLAND AVE                                                                             SAINT LOUIS       MO     63110‐1640
JAMES BECKWITH        6302 HOOVER RD                                                                               INDIANAPOLIS      IN     46260‐4741
JAMES BECKWITH        316 MADISON ST                                                                               JANESVILLE        WI     53548‐3638
JAMES BEDARD          6087 JOHNSON RD                                                                              FLUSHING          MI     48433‐1105
JAMES BEDDINGFIELD    6031 MINERVA ST                                                                              ZEPHYRHILLS       FL     33542‐3279
JAMES BEDDINGFIELD    5264 BETHEL RD                                                                               PULASKI           TN     38478‐6214
JAMES BEDFORD         6019 MILLER RD                                                                               LOCKPORT          NY     14094‐9313
JAMES BEDFORD         32084 EIFFEL CT                                                                              WARREN            MI     48088‐1357
JAMES BEDNARCZYK      428 CHILDERS ST                 C/O KAREN A BEDNARCZYK                                       PENSACOLA         FL     32534‐9630
JAMES BEDNARSKI       7625 CARSON AVE                                                                              BALTIMORE         MD     21224‐3209
JAMES BEDNARSKI       2294 TIMBER RUN                                                                              BURTON            MI     48519‐1710
JAMES BEDO            1824 MCTAVISH WAY                                                                            BOWLING GREEN     KY     42104‐4544
JAMES BEEBE           9506 HUBBARD RD                                                                              DAVISON           MI     48423‐9351
JAMES BEEBE           PO BOX 1016                                                                                  HOWELL            MI     48844‐1016
JAMES BEECH           12061A STREAMWOOD DR.                                                                        LANSING           MI     48917
JAMES BEECKMAN        1103 PARADISE PEAK RD                                                                        VALLEY SPRINGS    CA     95252‐8543
JAMES BEEDY           18644E M‐134 BOX 74A                                                                         DECKER            MI     49725
JAMES BEELBY          203 MICHIGAN ST                                                                              HOLLY             MI     48442‐1208
JAMES BEEMAN          1498 FREDERICKSBURG DR                                                                       YOUNGSTOWN        OH     44512‐3837
JAMES BEERS           8153 PUTMAN BOX18                                                                            GOODRICH          MI     48438
JAMES BEESLER         4512 GREYSTONE VILLAGE DR                                                                    COLUMBUS          OH     43228‐6419
JAMES BEGLEY          141 THOROUGHBRED TRL                                                                         CORBIN            KY     40701‐5909
JAMES BEGLEY          1019 ROBIN DR                                                                                ANDERSON          IN     46013‐1333
JAMES BEHM            1863 W CREEK RD                                                                              BURT              NY     14028‐9757
JAMES BEHMLANDER      3949 PEMBROKE RD                                                                             BAY CITY          MI     48706‐1452
JAMES BEHRENBRINKER   10042 KRIEGER RD                                                                             BIRCH RUN         MI     48415‐9425
JAMES BEHRENDT        7243 KNOX DALE RD                                                                            BROOKVILLE        PA     15825‐6715
JAMES BEHRENDT        1473 WILSON AVE                                                                              LINCOLN PARK      MI     48146‐2038
JAMES BEHRMANN        4675 ORCHARD MANOR BLVD APT 3                                                                BAY CITY          MI     48706‐2831
JAMES BEKKERING       10548 OSBORN ST                                                                              GRAND HAVEN       MI     49417‐9726
JAMES BELANGER        5 GREEN DR                                                                                   TERRYVILLE        CT     06786‐6833
JAMES BELANGER        160 BEAVER CREEK RD                                                                          LACHINE           MI     49753‐9400
JAMES BELCHER         4‐1084 KENNEDY BRIDGE ROAD                                                                   HARRODSBURG       KY     40330
JAMES BELCHER         373 SCOTT AVE                                                                                VANDALIA          OH     45377‐2419
JAMES BELGARDE        3961 STATE HIGHWAY 310                                                                       NORFOLK           NY     13667‐4127
JAMES BELILL          3985 CABARET TRL W APT 3                                                                     SAGINAW           MI     48603‐2254
JAMES BELINSKY        2479 WAYBURN AVE                                                                             MOUNT MORRIS      MI     48458‐8203
JAMES BELK JR         2010 JANICE DR                                                                               FLINT             MI     48504‐1663
JAMES BELL            5994 S WHALEN LAKE DR                                                                        BALDWIN           MI     49304‐8111
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Name                     Address1                           Address2                     Address3          Address4               City           State   Zip
JAMES BELL               7305 N BUDDY DR                                                                                          MUNCIE          IN     47303‐9763
JAMES BELL               103 JAMESWOOD                                                                                            WILLIAMSBURG    VA     23185‐8103
JAMES BELL               498 MIDLAND DR                                                                                           DANVILLE        IN     46122‐1535
JAMES BELL               5555 NEW TERRITORY BLVD APT 8103                                                                         SUGAR LAND      TX     77479‐5989
JAMES BELL               5432 IROQUOIS ST                                                                                         DETROIT         MI     48213‐2987
JAMES BELL               5900 OLD PARIS MURRAY RD                                                                                 PARIS           TN     38242‐8233
JAMES BELL               320 WEAVER LN                                                                                            MARTINSBURG     WV     25403‐6625
JAMES BELL               1638 PARK ST                                                                                             RAHWAY          NJ     07065‐5208
JAMES BELL               494 BELLE AVE                                                                                            BEDFORD         OH     44146‐3211
JAMES BELL               4339 CLARK LN                                                                                            SOUTH FULTON    TN     38257‐7633
JAMES BELL               77 TROGDON LN                                                                                            BEDFORD         IN     47421‐8654
JAMES BELL               16375 ARMADA CENTER RD                                                                                   ARMADA          MI     48005‐2230
JAMES BELL               RT 1 BOX 282‐A                                                                                           EARLSBORO       OK     74840
JAMES BELL               5701 SALLY CT                                                                                            FLINT           MI     48505‐2561
JAMES BELL               107 WALNUT DR                                                                                            COLUMBIA        TN     38401‐6153
JAMES BELL               313 E VAN WAGONER AVE                                                                                    FLINT           MI     48505‐3767
JAMES BELL               2418 SHARIDGE DR                                                                                         SAINT LOUIS     MO     63136‐3937
JAMES BELL               20571 BALFOUR ST APT 1                                                                                   HARPER WOODS    MI     48225‐1572
JAMES BELL               177 NEWBURGH AVE                                                                                         BUFFALO         NY     14215‐3931
JAMES BELL               6055 WASHINGTON ST                                                                                       ROMULUS         MI     48174‐1740
JAMES BELL               BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.     OH     44236
JAMES BELL               THE MADEKSHO LAW FIRM              8866 GULF FREEWAY STE 440                                             HOUSTON         TX     77017
JAMES BELLAH             564 HCR 1207                                                                                             WHITNEY         TX     76692‐4757
JAMES BELLAH             1115 CHATWELL DR                                                                                         DAVISON         MI     48423‐2717
JAMES BELLAMY            2344 S FENTON RD                                                                                         HOLLY           MI     48442‐8333
JAMES BELLAMY            5920 JAMESTOWN HWY                                                                                       ALPINE          TN     38543‐6410
JAMES BELLAMY JR         9999 MORROW COZADDALE RD                                                                                 MORROW          OH     45152‐8591
JAMES BELLARD            1726 DEVON ST                                                                                            YPSILANTI       MI     48198‐3203
JAMES BELLIS             1417 COURTLAND DR                                                                                        COLUMBIA        TN     38401‐5281
JAMES BELLOMO            6106 MAHONING AVE NW                                                                                     WARREN          OH     44481‐9401
JAMES BELONAX            18207 VERMONT CT                                                                                         ORLAND PARK      IL    60467‐8988
JAMES BEMENT             7025 FOX RIDGE DR                                                                                        DEXTER          MI     48130‐8597
JAMES BEMIS              36929 KAY AVE                                                                                            ZEPHYRHILLS     FL     33542‐3058
JAMES BEMISTER           10517 WILDWOOD CIR                                                                                       RICHLAND        MI     49083‐8520
JAMES BENACKER           1119 NANTUCKET DR                                                                                        BAY CITY        MI     48706‐3993
JAMES BENASH             1906 E MEMORIAL DR                                                                                       JANESVILLE      WI     53545‐1916
JAMES BENBOW             6412 NW COLONY CIR                                                                                       PARKVILLE       MO     64152‐1444
JAMES BENDER             3439 AMHURST RD                                                                                          JANESVILLE      WI     53546‐8840
JAMES BENDER             1150 JAY AVE                                                                                             YPSILANTI       MI     48198‐6466
JAMES BENDER             397 S TOWERLINE RD                                                                                       WHITTEMORE      MI     48770‐9253
JAMES BENDER             2446 SANDPIPER RD                                                                                        LAMBERTVILLE    MI     48144‐9458
JAMES BENDERS            3651 DEMLER DR                                                                                           N TONAWANDA     NY     14120‐1235
JAMES BENEDETTI          2333 FISHER RD                                                                                           SOUTH BELOIT     IL    61080‐9729
JAMES BENEDICT           4230 OAK RD                                                                                              LESLIE          MI     49251‐9345
JAMES BENFORD            9379 E MARK LN                                                                                           SCOTTSDALE      AZ     85262‐2335
JAMES BENGE              2205 HAWTHORNE DR                                                                                        MARTINSVILLE    IN     46151‐8456
JAMES BENGEL             11389 UPTON RD                                                                                           GRAND LEDGE     MI     48837‐9194
JAMES BENGELE            261 KOOSER RD                                                                                            SCOTTDALE       PA     15683‐2765
JAMES BENICH             2008 QUAIL RUN DR                                                                                        CORTLAND        OH     44410‐1805
JAMES BENJAMIN           3465 WIRT RD                                                                                             MASON           MI     48854‐9320
JAMES BENJAMIN           4438 CRIMSON CT                                                                                          GRAND BLANC     MI     48439‐9056
JAMES BENJAMIN           1520 BOSTON BOULEVARD                                                                                    LANSING         MI     48910‐1134
JAMES BENJAMIN JOHNSON   C/O NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD    TX     75638
JAMES BENNETT            511 GRANT ST                                                                                             IONIA           MI     48846‐9405
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JAMES BENNETT         2107 CLOVER RD                                                                                 LA CROSSE         VA     23950‐1536
JAMES BENNETT         1944 ATKINSON AVE                                                                              YOUNGSTOWN        OH     44505‐3603
JAMES BENNETT         107 BRADFORD CT                                                                                SALISBURY         NC     28146‐8815
JAMES BENNETT         PO BOX 242                      1146 BRIDGE ST                                                 LYONS             MI     48851‐0242
JAMES BENNETT         2209 ODETTE DR                                                                                 WATERFORD         MI     48328‐1820
JAMES BENNETT         8301 CLIPPERT ST                                                                               TAYLOR            MI     48180‐2852
JAMES BENNETT         715 ASH ST                                                                                     OWOSSO            MI     48867‐3366
JAMES BENNETT         5886 MCGUIRE ST                                                                                TAYLOR            MI     48180‐1144
JAMES BENNETT         6013 W WILSON RD                                                                               CLIO              MI     48420‐9417
JAMES BENNETT         10489 N WEBSTER RD                                                                             CLIO              MI     48420‐8534
JAMES BENNETT         181 PINETREE RD                                                                                CHOCTAW           OK     73020‐7606
JAMES BENNETT         47 HIGHLAND CIR                                                                                TROY              MO     63379‐4718
JAMES BENNETT JR      2328 MAINSAIL LN                                                                               ARLINGTON         TX     76002‐4001
JAMES BENON           453 GREENLAWN ST                                                                               YPSILANTI         MI     48198‐5994
JAMES BENSCHOTER      4035 W TUPPER LAKE RD                                                                          LAKE ODESSA       MI     48849‐9703
JAMES BENSCHOTER      5365 BIPPLEY RD                                                                                SUNFIELD          MI     48890‐9726
JAMES BENSCOTER       3804 INDIAN TRAIL DR                                                                           HERSEY            MI     49639‐8526
JAMES BENSETT SR.     8040 MCDERMITT DR.                                                                             DAVISON           MI     48423
JAMES BENSON          8365 JAMAICA RD                                                                                GERMANTOWN        OH     45327‐8761
JAMES BENSON          1428 GAGE ST                                                                                   SAGINAW           MI     48601‐2708
JAMES BENSON          6720 W OUTER DR                                                                                DETROIT           MI     48235
JAMES BENSON          200 SHERER PLACE                                                                               COMPTON           CA     90220
JAMES BENTLEY         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.       OH     44236
JAMES BENTLEY         7810 LONGRIDGE RD                                                                              BALTIMORE         MD     21236‐3832
JAMES BENTLEY         264 S CO RD 400 E                                                                              KOKOMO            IN     46902
JAMES BENTLEY         9554 COLUMBIA AVE                                                                              CLARKSTON         MI     48348‐3102
JAMES BENTLEY         8555 VERGENNES ST SOUTHEAST                                                                    ADA               MI     49301‐8909
JAMES BERARDI JR.     6 TIBY PL                                                                                      MONMOUTH JCT      NJ     08852‐3036
JAMES BEREITSCHAFT    3 MORGAN LAKE DR                                                                               MILLSTADT          IL    62260‐1757
JAMES BERG            108 N OXFORD VALLEY RD                                                                         FAIRLESS HILLS    PA     19030‐2619
JAMES BERG            32601 SPEIDEL RD                                                                               HANOVERTON        OH     44423‐9614
JAMES BERG            1220 EMONROE PIKE                                                                              MARION            IN     46953
JAMES BERG            5173 N FOX RD                                                                                  SANFORD           MI     48657‐9114
JAMES BERGAN          8134 SAGIMORE CT                                                                               FORT WAYNE        IN     46835‐4350
JAMES BERGEN          LORETTA BERGEN                  8517 MAGNOLIA DR                                               SEMINOLE          FL     33777
JAMES BERGER          16465 HI LAND TRL                                                                              LINDEN            MI     48451‐9088
JAMES BERGER          8055 MARTZ RD                                                                                  VERSAILLES        OH     45380‐9593
JAMES BERGER          25331 W MONTMARTRE CT APT 6                                                                    OAK PARK          MI     48237‐1490
JAMES BERGHOFF        1717 GRATIOT AVE                                                                               SAGINAW           MI     48602‐2633
JAMES BERGSTROM       1724 COWAN DR                                                                                  NATIONAL CITY     MI     48748‐9559
JAMES BERKHALTER JR   972 WABASH AVE                                                                                 CINCINNATI        OH     45215‐1731
JAMES BERKOVICH       13308 APPLEWOOD DR                                                                             GRANDVIEW         MO     64030‐3135
JAMES BERRA           5337 GREENDALE DR                                                                              TROY              MI     48085‐3477
JAMES BERRIDGE        6380 CYCLONE RD                                                                                OTTER LAKE        MI     48464‐9640
JAMES BERRIMAN        6485 DELAND RD                                                                                 FLUSHING          MI     48433‐1154
JAMES BERRY           5535 WEIDNER RD                                                                                SPRINGBORO        OH     45066‐7420
JAMES BERRY           6113 STARK DR                                                                                  BROOK PARK        OH     44142‐3051
JAMES BERRY           340 E UNION ST                                                                                 LOCKPORT          NY     14094‐2506
JAMES BERRY           571 LAKENGREN DR                                                                               EATON             OH     45320‐2672
JAMES BERRY           2228 ANGEL AVENUE                                                                              TOLEDO            OH     43611‐1654
JAMES BERRY           815 LAMONDE DR                                                                                 MAUMEE            OH     43537‐3726
JAMES BERRY           8512 IDA CENTER RD                                                                             IDA               MI     48140‐9516
JAMES BERRY           1088 GILBERT ST                                                                                FLINT             MI     48532‐3552
JAMES BERRY           2440 APRIL DR                                                                                  MOUNT MORRIS      MI     48458‐8205
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Name                Address1                        Address2                         Address3   Address4               City            State   Zip
JAMES BERRY         PO BOX 19175                                                                                       LENEXA           KS     66285‐9175
JAMES BERRY         2924 WOODLAND AVE                                                                                  KANSAS CITY      MO     64109‐1634
JAMES BERRY         1504 COLUMBIA AVE                                                                                  LEAVENWORTH      KS     66048‐3761
JAMES BERRY         12012 BIRWOOD ST                                                                                   DETROIT          MI     48204‐1844
JAMES BERRY         101 CARR ST                                                                                        PONTIAC          MI     48342‐1768
JAMES BERRY         506 N JEFFERSON ST                                                                                 BAY CITY         MI     48708‐6455
JAMES BERRY         G 4215 E CARPENTER RD                                                                              FLINT            MI     48506
JAMES BERRY         15525 S SCOTT DR                                                                                   LOCKPORT          IL    60441‐7325
JAMES BERRY         325 PLEASANT ST                                                                                    PORTLAND         MI     48875‐1140
JAMES BERRY JR      5604 LONDON DR                                                                                     AUSTINTOWN       OH     44515‐4152
JAMES BERRY JR      401 PLYMOUTH RD                                                                                    SAGINAW          MI     48638‐7138
JAMES BERRYMAN      212 HILLCREST DRIVE                                                                                AVON PARK        FL     33825‐9261
JAMES BERSCHBACK    2313 MANCHESTER BLVD                                                                               OTTAWA HILLS     OH     43606
JAMES BERST         1945 SCOTTSVILLE RD             STE B2                                                             BOWLING GREEN    KY     42104‐5836
JAMES BERTHIAUME    718 N HENRY ST                                                                                     BAY CITY         MI     48706‐4750
JAMES BESEMER       874 E. OLD BIRCH TRAIL          LOT 40                                                             NEWAYGO          MI     49337
JAMES BESS          201 SHEFFIELD DR                                                                                   DOVER            DE     19901‐1625
JAMES BESS          8 MIRANDA CT                                                                                       MARTINSBURG      WV     25403‐0863
JAMES BESSE         7424 HEIDE HILL TRACE                                                                              TALLAHASSEE      FL     32312
JAMES BEST          3018 YEARLING LN                                                                                   MARYVILLE        TN     37803‐8343
JAMES BEST          APT 202                         48581 S INTERSTATE 94 SERVC DR                                     BELLEVILLE       MI     48111‐1756
JAMES BESTUL        47563 HICKORY ST APT 27307                                                                         WIXOM            MI     48393‐2710
JAMES BESWICK       38715 CHELDON ST                                                                                   CLINTON TWP      MI     48038‐3129
JAMES BETCHER       11745 W SALEM CARROLL RD                                                                           OAK HARBOR       OH     43449‐9458
JAMES BETKE         335 BLACK MOUNTAIN ROAD EAST                                                                       DUNLAP           TN     37327‐6730
JAMES BETLEJEWSKI   109 REDBUD RD                                                                                      EDGEWOOD         MD     21040‐3525
JAMES BETTS         6775 ANDERSON ST                                                                                   PHILADELPHIA     PA     19119‐3805
JAMES BETTS         5915 TAMRACK RD                                                                                    OSCODA           MI     48750‐9259
JAMES BETTY         18503 ORLEANS ST                                                                                   DETROIT          MI     48203‐2149
JAMES BETTYE JEAN   C/O EDWARD O MOODY P A          801 W 4TH ST                                                       LITTLE ROCK      AR     72201
JAMES BETZ          1400 FAIRVIEW HWY                                                                                  CHARLOTTE        MI     48813‐9794
JAMES BEUSELINK     39114 PINETREE ST                                                                                  LIVONIA          MI     48150‐2483
JAMES BEVER         102 E BANK ST                                                                                      IOWA PARK        TX     76367‐1618
JAMES BEW           CASCINO MICHAEL P               220 SOUTH ASHLAND AVE                                              CHICAGO           IL    60607
JAMES BEWLEY JR     1135 HEATHERWOOD DR                                                                                INDIANAPOLIS     IN     46241‐1822
JAMES BEX           487 FAYETTEVILLE WILLIAMS RD                                                                       WILLIAMS         IN     47470‐9655
JAMES BEYER         PO BOX 927                                                                                         PINCONNING       MI     48650‐0927
JAMES BEYER         16 DARRELL DR                                                                                      SPRINGVILLE      TN     38256‐5039
JAMES BEYERS        5112 SOUTH FAIRFAX ROAD                                                                            BLOOMINGTON      IN     47401‐9622
JAMES BEYERSDORF    188 JAMES DREW DR                                                                                  MUNFORD          TN     38058‐6446
JAMES BIBB JR       12708 DOVE AVE                                                                                     CLEVELAND        OH     44105‐4410
JAMES BIBBS         4537 TULANE RD                                                                                     SPRINGFIELD      OH     45503‐6051
JAMES BICAN         5278 UNDERHILL LN                                                                                  SUGAR HILL       GA     30518‐7648
JAMES BICEGO JR     45055 KLINGKAMMER ST                                                                               UTICA            MI     48317‐5732
JAMES BICKEL        4680 S DEHMEL RD                                                                                   FRANKENMUTH      MI     48734‐9127
JAMES BICKEL        2512 WOLF RIVER DOT ROAD                                                                           ALBANY           KY     42602
JAMES BICKEL        14535 E WALNUT RUN                                                                                 FORT WAYNE       IN     46814‐8908
JAMES BICKNELL      PO BOX 1455                                                                                        CHIEFLAND        FL     32644‐1455
JAMES BIDDY         120 MAGNOLIA ST                                                                                    ROSWELL          GA     30075‐4204
JAMES BIDWELL       805 NORTH BOWEY AVE LOT 6                                                                          GLADWIN          MI     48624
JAMES BIECK         24000 31 MILE RD                                                                                   RAY              MI     48096‐1501
JAMES BIEL          41412 GLOCA MORA ST                                                                                HARRISON         MI     48045‐1447
                                                                                                                       TOWNSHIP
JAMES BIELAK        3802 WINDING PINE DR                                                                               METAMORA         MI     48455‐8905
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Name                              Address1                        Address2                     Address3   Address4               City            State   Zip
JAMES BIELANIN                    2182 CLINTON ST                                                                                BUFFALO          NY     14206‐3428
JAMES BIENICK                     3500 MANDERLEY DR NE                                                                           GRAND RAPIDS     MI     49525‐2073
JAMES BIERLEIN                    1331 W VASSAR RD                                                                               REESE            MI     48757‐9326
JAMES BIERMAN                     3499 WOODRIDGE CT                                                                              FLUSHING         MI     48433‐9795
JAMES BIGGS                       125 JOHNNY WALKER RD                                                                           RAYVILLE         LA     71269‐4335
JAMES BIGLANE                     8190 FARNUM AVE                                                                                WARREN           MI     48093‐2884
JAMES BIGMEAT                     PO BOX 156                                                                                     CHEROKEE         NC     28719‐0156
JAMES BIGNALL                     8240 TORREY RD                                                                                 GRAND BLANC      MI     48439‐9331
JAMES BILA                        12187 SHERIDAN RD                                                                              MONTROSE         MI     48457‐9302
JAMES BILBEE                      1525 CARIBOU DR                                                                                FORT WAYNE       IN     46804‐1321
JAMES BILBY                       4456 TIMBER GLENN DR APT 5                                                                     BATAVIA          OH     45103‐3514
JAMES BILDSON                     6059 MALZAHN DR                                                                                SHELBY TWP       MI     48316‐2544
JAMES BILLBROUGH                  7292 PONDEROSA DR                                                                              SWARTZ CREEK     MI     48473‐9452
JAMES BILLER                      1304 WARREN DR                                                                                 BRUNSWICK        OH     44212‐3014
JAMES BILLETT                     1312 COLUMBIA AVE APT 1B                                                                       MIDDLETOWN       OH     45042‐8107
JAMES BILLHEIMER                  RR 2                                                                                           CRESTLINE        OH     44827
JAMES BILLIG                      BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.      OH     44236
JAMES BILLINGS                    13514 SAINT LOUIS ST                                                                           DETROIT          MI     48212‐1306
JAMES BILLINGS                    5 ALLISON LN                                                                                   NEW MILFORD      CT     06776‐3868
JAMES BILLINGSLEY                 4129 MISTY SHRS                                                                                DEFIANCE         OH     43512‐9624
JAMES BILLINGSLEY                 1402 N EXETER AVE                                                                              INDIANAPOLIS     IN     46222‐2921
JAMES BILLONE                     1765 GLORIA DR                                                                                 FAIRPORT         NY     14450‐9137
JAMES BILSKEY                     W8046 CREEK RD                                                                                 DELAVAN          WI     53115‐3122
JAMES BILYK                       861 NW KILPATRICK AVE                                                                          PORT ST LUCIE    FL     34983‐1562
JAMES BINANDO STILLWATER MINING   PO BOX 1330                     536 EAST PIKE AVENUE                                           COLUMBUS         MT     59019
COMPANY
JAMES BINGHAM                     4438 E SCENIC DR                                                                               GATLINBURG      TN      37738‐6519
JAMES BINGHAM                     PO BOX 14                                                                                      BLUE CREEK      OH      45616‐0014
JAMES BINKLEY                     5232 W COURT ST                                                                                FLINT           MI      48532‐4115
JAMES BINNING                     345 S KINGS HWY                                                                                LUTHER          MI      49656‐9407
JAMES BINNS                       9852 BOYER RD                                                                                  CHARLOTTE       MI      48813‐8633
JAMES BINSTOCK                    2424 S COUNTY ROAD D                                                                           JANESVILLE      WI      53548‐8575
JAMES BIRCH                       439 SELKIRK DR                                                                                 MOUNT MORRIS    MI      48458‐8917
JAMES BIRCHMEIER                  9504 STANLEY RD                                                                                FLUSHING        MI      48433‐1032
JAMES BIRD                        1410 SILVER LN                                                                                 MANSFIELD       OH      44906‐2443
JAMES BIRD                        522 N SCHOOL ST                                                                                BRAIDWOOD       IL      60408‐1528
JAMES BIRD                        14265 BIRD RD                                                                                  BYRON           MI      48418‐9062
JAMES BIRD                        6598 EASTLAWN AVE                                                                              CLARKSTON       MI      48346‐2134
JAMES BIRD                        1635 NW 19TH CIRCLE                                                                            GAINESVILLE     FL      32605
JAMES BIRD                        5351 TASSELBERRY DR.                                                                           WEST CHESTER    OH      45069
JAMES BIRKHOFER                   405 S CADILLAC DR                                                                              SAINT CHARLES   MO      63301‐1352
JAMES BIRNER                      2807 OLYMPIA DR                                                                                ARLINGTON       TX      76013‐1239
JAMES BISCHOFF                    8931 E 750 S                                                                                   UPLAND          IN      46989‐9419
JAMES BISHAR                      11470 LAKEHAVEN DR                                                                             WHITE LAKE      MI      48386‐3645
JAMES BISHER                      59 GRIZZLY BEAR PATH                                                                           ORMOND BEACH    FL      32174‐8727
JAMES BISHOP                      7290 DEER LAKE RD                                                                              CLARKSTON       MI      48346‐1210
JAMES BISHOP                      2090 E TREMONT AVE                                                                             BRONX           NY      10462
JAMES BISHOP                      1277 BROOKFIELD RD                                                                             HUBBARD         OH      44425‐3067
JAMES BISHOP                      17936 ROAD I17                                                                                 CLOVERDALE      OH      45827‐9500
JAMES BISHOP                      18375 LINCOLN RD                                                                               NEW LOTHROP     MI      48460‐9676
JAMES BISHOP                      3761 SHOEMAKER RD                                                                              ALMONT          MI      48003‐7946
JAMES BISHOP                      29125 HAYES APT 10A                                                                            WARREN          MI      48088
JAMES BISHOP                      17149 80TH AVE                                                                                 MARION          MI      49665‐8244
JAMES BISHOP                      201 W HOPPER ST                                                                                ALVARADO        TX      76009‐3223
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Name                Address1                        Address2                     Address3   Address4               City           State   Zip
JAMES BISKE         47529 CHERYL CT                                                                                SHELBY TWP      MI     48315‐4707
JAMES BISSETT       8170 FOREST PARK DR                                                                            CLARE           MI     48617‐9187
JAMES BISSETT JR    2203 GARDENLAND AVE                                                                            NILES           OH     44446‐4523
JAMES BISSONNETTE   5118 W STANLEY RD                                                                              MOUNT MORRIS    MI     48458‐9427
JAMES BITTEL        2039 MORAN AVE                                                                                 LINCOLN PARK    MI     48146‐3733
JAMES BITZER
JAMES BIVINS        905 STEEPLECHASE RD                                                                            ALPHARETTA     GA      30004‐2424
JAMES BIXLER        5612 FOREST GREEN DR                                                                           PERRY          MI      48872‐9160
JAMES BLACK         799 COFFEY RD                                                                                  PETERSBURG     TN      37144‐8516
JAMES BLACK         6104 KINGS BROOK COURT                                                                         LAS VEGAS      NV      89149‐7213
JAMES BLACK         2159 JOEY CANYON DR                                                                            NEWPORT        MI      48166‐9569
JAMES BLACK         1085 RUEBEN HOLLOW LN                                                                          ERIN           TN      37061‐6639
JAMES BLACK         3592 HEATHER AVE                                                                               KINGMAN        AZ      86401‐3823
JAMES BLACK         1956 HILLCREST DR                                                                              LAKE           MI      48632‐9514
JAMES BLACK         2250 VALLEY DR                                                                                 YPSILANTI      MI      48197‐4358
JAMES BLACK         7897 N OLD STATE ROAD 37                                                                       BLOOMINGTON    IN      47408‐9799
JAMES BLACK         305 N LAFAYETTE DR                                                                             MUNCIE         IN      47303‐4579
JAMES BLACK         3205 W BONAIRE AVE                                                                             MUNCIE         IN      47302‐9137
JAMES BLACK         1490 GORDON LANDIS RD                                                                          ARCANUM        OH      45304‐8477
JAMES BLACK         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.    OH      44236
JAMES BLACKBURN     BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.    OH      44236
JAMES BLACKBURN     84 RAILROAD MILLS RD                                                                           PITTSFORD      NY      14534‐4026
JAMES BLACKFORD     PO BOX 635                                                                                     FRANKTON       IN      46044‐0635
JAMES BLACKMER      6448 LOCKHAVEN DR                                                                              BROOK PARK     OH      44142‐3728
JAMES BLACKMER      395 LINCOLN ST BOX 32                                                                          FOSTORIA       MI      48435
JAMES BLACKMON      30 REGINA PL                                                                                   BUFFALO        NY      14208‐1319
JAMES BLACKSTON     307 KARAT PL                                                                                   MACON          MO      63552‐4144
JAMES BLACKSTONE    1908 AUGUST DR                                                                                 MANSFIELD      OH      44906‐2250
JAMES BLACKSTONE    14145 COGBURN RD                                                                               ALPHARETTA     GA      30004‐3280
JAMES BLACKWELL     23423 N 39TH LN                                                                                GLENDALE       AZ      85310‐5521
JAMES BLACKWELL     2457 SHARON AVE                                                                                INDIANAPOLIS   IN      46222‐2309
JAMES BLACKWELL     6751 RANSOME DR                                                                                BALTIMORE      MD      21207‐5318
JAMES BLACKWELL     5658 CARDWELL ST                                                                               GARDEN CITY    MI      48135‐2901
JAMES BLADES        645 WALDMAN AVE                                                                                FLINT          MI      48507‐1765
JAMES BLAIN         14049 OLD HIGHWAY 99                                                                           KONAWA         OK      74849‐2303
JAMES BLAINE        2196 ORCHARD CREST ST                                                                          SHELBY TWP     MI      48317‐4536
JAMES BLAINE        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.    OH      44236
JAMES BLAIR         2114 AITKEN AVE                                                                                FLINT          MI      48503‐5801
JAMES BLAIR         7572 15 MILE RD                                                                                MARION         MI      49665‐8338
JAMES BLAIR         4408 MEGAN TRL                                                                                 CULLEOKA       TN      38451‐3139
JAMES BLAIR         19520 SUNSET ST                                                                                LIVONIA        MI      48152‐1749
JAMES BLAIR JR      27 S 5TH ST                                                                                    TIPP CITY      OH      45371
JAMES BLAKE         21450 KNIGHTON RUN                                                                             ESTERO         FL      33928‐3247
JAMES BLAKE         6121 MAGNOLIA DR                                                                               MOUNT MORRIS   MI      48458‐2815
JAMES BLAKE JR      5114 WEXFORD RD                                                                                LANSING        MI      48911‐3308
JAMES BLAKELY       12151 FREMONT ST SPC 105                                                                       YUCAIPA        CA      92399‐4009
JAMES BLAKEMAN      14440 STOFER CT                                                                                CHELSEA        MI      48118‐9522
JAMES BLAKEMORE     4358 HEDGETHORN CIR                                                                            BURTON         MI      48509‐1257
JAMES BLAKEMORE     3526 FOREST MANOR AVE                                                                          INDIANAPOLIS   IN      46218‐1562
JAMES BLAKENEY      1990 S BURLESON BLVD TRLR 38                                                                   BURLESON       TX      76028‐1655
JAMES BLANCHARD     1110 ROCK CHURCH RD                                                                            WARRENTON      MO      63383
JAMES BLANCHARD     1840 BURMON RD                                                                                 DEFORD         MI      48729‐9652
JAMES BLANCHARD     8875 MACARTHUR RD                                                                              SARANAC        MI      48881‐8500
JAMES BLAND         3080 SHATTUCK ARMS BLVD APT 3                                                                  SAGINAW        MI      48603‐2125
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Name                   Address1                         Address2              Address3         Address4               City            State   Zip
JAMES BLAND            4047 E 42ND ST                                                                                 INDIANAPOLIS     IN     46226‐4453
JAMES BLAND            2475 NORMANDY DR SE                                                                            GRAND RAPIDS     MI     49506‐5434
JAMES BLAND JR         PO BOX 1096                                                                                    ACWORTH          GA     30101‐8996
JAMES BLANDINA         8517 SUPERIOR                                                                                  CENTER LINE      MI     48015‐1375
JAMES BLANKENBURG      4332 KEELSON DR                                                                                LANSING          MI     48911‐8146
JAMES BLANKENSHIP      13435 IRISH RD                                                                                 MILLINGTON       MI     48746‐9246
JAMES BLANKENSHIP      1765 BIRDIE RD                                                                                 GRIFFIN          GA     30223‐8016
JAMES BLANKENSHIP      133 BASKETT DR                                                                                 ELSBERRY         MO     63343‐1142
JAMES BLANTON          2547 PENNINGTON RD                                                                             WAVERLY          OH     45690‐9414
JAMES BLANTON          1765 FISK RD                                                                                   WHITE LAKE       MI     48386‐1935
JAMES BLASDELL         2614 WOODROW AVE                                                                               FLINT            MI     48506‐3471
JAMES BLATCHFORD       270 MEADOWLARK TRL                                                                             BOWLING GREEN    KY     42101‐9427
JAMES BLATTAU          3932 HUNTER RD                                                                                 ELLICOTT CITY    MD     21043‐5431
JAMES BLAYLOCK         3700 E 74TH ST                                                                                 KANSAS CITY      MO     64132‐1982
JAMES BLAYLOCK         3266 E STATE ROAD 236                                                                          ANDERSON         IN     46017‐9710
JAMES BLAYLOCK         4396 OHEREN ST                                                                                 BURTON           MI     48529‐1829
JAMES BLAZEK           11932 W WOODS RD                                                                               FRANKLIN         WI     53132‐1361
JAMES BLAZINSKI        43101 TOMLINSON DR                                                                             CLINTON TWP      MI     48038‐5600
JAMES BLEDSOE          16200 MANOR ST                                                                                 DETROIT          MI     48221‐2859
JAMES BLEHM            527 52ND ST SE                                                                                 KENTWOOD         MI     49548‐5834
JAMES BLEMASTER        8563 W HYDE RD                                                                                 SAINT JOHNS      MI     48879‐9737
JAMES BLENMAN          1523 ANITA AVE                                                                                 GROSSE POINTE    MI     48236‐1420
                                                                                                                      WOODS
JAMES BLESENER         13371 NAVEL AVE                                                                                CLEWISTON       FL      33440‐9604
JAMES BLESSING         4729 STATE ROUTE 305                                                                           FOWLER          OH      44418‐9778
JAMES BLETZ
JAMES BLEVINS          3722 9TH ST W                                                                                  LEHIGH ACRES    FL      33971‐5107
JAMES BLEVINS          8718 LOCKWOOD DR                                                                               CATLETTSBURG    KY      41129‐8935
JAMES BLEVINS          32001 TALLY HO LN                                                                              WESLEY CHAPEL   FL      33543‐4862
JAMES BLEVINS          626 MILLER RD                                                                                  FALMOUTH        KY      41040‐7503
JAMES BLEWETT          17320 PARK LN                                                                                  SOUTHFIELD      MI      48076
JAMES BLEWITT          9580 E CENTER ST                                                                               WINDHAM         OH      44288‐1009
JAMES BLICKENSDERFER   7088 HIDDEN VALLEY DR                                                                          PLAINFIELD      IN      46168‐1882
JAMES BLISS            120 RED CEDAR WAY                                                                              BOWLING GREEN   KY      42104‐8789
JAMES BLISS            304 WESTCHESTER DR SE                                                                          WARREN          OH      44484‐2173
JAMES BLOCK            14171 IRISH RD                                                                                 MILLINGTON      MI      48746‐9216
JAMES BLOCKER          2107 HILLWOOD DR                                                                               CENTERVILLE     TN      37033‐1027
JAMES BLOEMENDAAL      PO BOX 346                                                                                     MANITOU BEACH   MI      49253‐0346
JAMES BLONDE           2714 GROESBECK AVE                                                                             LANSING         MI      48912‐4522
JAMES BLONSKI          725 PLAINFIELD CT                                                                              SAGINAW         MI      48609‐4801
JAMES BLOOD            2411 ASHLAND ST                                                                                CLIO            MI      48420‐1459
JAMES BLOOM            402 BURT ST                                                                                    TECUMSEH        MI      49286‐1109
JAMES BLOOM            897 PARK VW                                                                                    CLIO            MI      48420‐2301
JAMES BLOOM            1712 N RIDGE VIEW CT                                                                           LUDINGTON       MI      49431‐8682
JAMES BLOTNICKI        1330 W 100TH AVE                                                                               CROWN POINT     IN      46307‐5442
JAMES BLOUNT           3540 CASTLE CT                                                                                 HIGHLAND        MI      48356‐1800
JAMES BLOUNT           14833 STOEPEL ST                                                                               DETROIT         MI      48238‐2024
JAMES BLOW             1130 ORCHARD HLS                                                                               MARTINSVILLE    IN      46151‐8100
JAMES BLUBAUGH         1405 REEVES RD                                                                                 PLAINFIELD      IN      46168‐9364
JAMES BLUE             14018 POINT JUDITH LN                                                                          FORT MYERS      FL      33919‐7710
JAMES BLUE             163 POINCIANA DR                                                                               ELLENTON        FL      34222‐3603
JAMES BLUEMER          8115 GEDDES RD                                                                                 SAGINAW         MI      48609‐9562
JAMES BLUITT           6125 ROBIN RUN APT A                                                                           INDIANAPOLIS    IN      46254‐1155
JAMES BLUMBERG         PO BOX 4                         1441 S FINN RD                                                MUNGER          MI      48747‐0004
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Name               Address1                       Address2                     Address3   Address4               City             State Zip
JAMES BLUNT        HC 3 BOX 3790                                                                                 WAPPAPELLO        MO 63966‐9751
JAMES BLUNT        18101 MANORWOOD CCIRCLE                                                                       CLINTON TOWNSHIP MI 48038

JAMES BLY          114 RESSEAU CIR                                                                               EATONTON           GA   31024‐8015
JAMES BLY          7270 STATE RD                                                                                 PARMA              OH   44134‐4904
JAMES BLYTH        APT 113                        11670 NORTHWEST 56TH DRIVE                                     CORAL SPRINGS      FL   33076‐3155
JAMES BOAG         4337 HAYES RD                                                                                 DORSET             OH   44032‐8728
JAMES BOALS        843 KOOGLE RD                                                                                 MANSFIELD          OH   44903‐8208
JAMES BOATMAN      18004 STEVENS RD                                                                              SHAWNEE            OK   74801‐3990
JAMES BOATRIGHT    14251 HOXIE RD                                                                                ADDISON            MI   49220‐9579
JAMES BOBBITT      12511 ORCHARD ST                                                                              LOCUST GROVE       VA   22508‐9738
JAMES BOCEK        183 POINCIANA DRIVE                                                                           ELLENTON           FL   34222‐3615
JAMES BOCH         2716 WARNER DR                                                                                ORCHARD LAKE       MI   48324‐2442
JAMES BOCKMAN      4035 E CALYPSO AVE                                                                            MESA               AZ   85206‐1933
JAMES BOCKRATH     16985 RR 1 US 224                                                                             COLUMBUS GRV       OH   45830
JAMES BODDIE       G 5502 FAIRHAVEN ST                                                                           FLINT              MI   48505
JAMES BODDIE JR    PO BOX 310826                                                                                 FLINT              MI   48531‐0826
JAMES BODEN        2330 LEHMAN AVE                                                                               TOLEDO             OH   43611‐2917
JAMES BODENDIECK   2621 IRWIN SCHOOL RD N                                                                        NEW ATHENS         IL   62264‐2723
JAMES BODEY JR     807 COUNTRY CLUB LN                                                                           ANDERSON           IN   46011‐3411
JAMES BODNAR       27229 RONEY AVE                                                                               BROWNSTOWN TWP     MI   48183‐4848

JAMES BODWELL      4432 SEA GULL DR                                                                              MERRITT ISLAND     FL   32953‐8535
JAMES BODZIAK      2432 12TH ST                                                                                  WYANDOTTE          MI   48192‐4406
JAMES BOEDECKER    1464 DORELLEN AVE                                                                             FLINT              MI   48532‐5338
JAMES BOEHM        1018 HAMPSHIRE DR                                                                             BLOOMFIELD HILLS   MI   48302‐2405
JAMES BOEHM        43 EAST PKWY                                                                                  VICTOR             NY   14564‐1217
JAMES BOEHM        12104 E 51ST TER S                                                                            INDEPENDENCE       MO   64055‐5747
JAMES BOEHMER      3560 AUSTINTOWN WARREN RD                                                                     MINERAL RIDGE      OH   44440‐9752
JAMES BOEHMER      23512 STATE ROUTE 189 # RR2                                                                   FORT JENNINGS      OH   45844
JAMES BOEN         5001 N BRISTOL AVE                                                                            KANSAS CITY        MO   64119‐4011
JAMES BOERKOEL     36000 WOODWARD AVE                                                                            BLOOMFIELD HILLS   MI   48304‐0901
JAMES BOESCH       8606 LAKESHORE RD                                                                             BURTCHVILLE        MI   48059‐1113
JAMES BOETTCHER    2761 STILL VALLEY DR                                                                          EAST LANSING       MI   48823‐2349
JAMES BOGACKI
JAMES BOGAN        52950 BASE ST                                                                                 NEW BALTIMORE      MI   48047‐4172
JAMES BOGAN        155 HOGAN LN RT 1 BOX 179                                                                     GREENEVILLE        TN   37743
JAMES BOGEMA       12812 VIA POSADA WAY                                                                          VICTORVILLE        CA   92392‐8028
JAMES BOGER        805 PARK AVE                                                                                  COVINGTON          IN   47932‐1059
JAMES BOGER        2361 LINDA DR NW                                                                              WARREN             OH   44485‐1706
JAMES BOGGESS      1981 S CACTUS RD                                                                              APACHE JCT         AZ   85219‐7734
JAMES BOGGESS      8234 CRABB RD                                                                                 TEMPERANCE         MI   48182‐9109
JAMES BOGGESS      8214 CRABB RD                                                                                 TEMPERANCE         MI   48182‐9109
JAMES BOGNER       3010 NATCHEZ AVE                                                                              CLEVELAND          OH   44109‐4739
JAMES BOGOS        4277 MEDIA LN                                                                                 HARTLAND           MI   48353‐1330
JAMES BOGOSKI      8200 HIVON RD                                                                                 CARLETON           MI   48117‐9561
JAMES BOGTAN       2806 MIDDLETOWN RD.                                                                           PITTSBURGH         PA   15204
JAMES BOGUS        907 CHELSEA WAY                                                                               LAKE WALES         FL   33853‐3439
JAMES BOHANON      15323 PARK VILLAGE BLVD                                                                       TAYLOR             MI   48180‐4887
JAMES BOHIL        5272 N WELLING RD                                                                             SAINT JOHNS        MI   48879‐9439
JAMES BOHLANDER    6762 STATE ROAD 144                                                                           GREENWOOD          IN   46143‐7531
JAMES BOHLEY       21706 PHOENIX DR                                                                              MACOMB             MI   48044‐6408
JAMES BOHLMAN      1467 BEACH DR                                                                                 LAKE ORION         MI   48360‐1209
JAMES BOHN         3162 SHOREWOOD DR                                                                             ARDEN HILLS        MN   55112‐7949
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Name                         Address1                             Address2                       Address3      Address4               City            State   Zip
JAMES BOHYER                 6269 BRADLEY BROWNLEE RD NE                                                                              BURGHILL         OH     44404‐9705
JAMES BOICE                  42 OAK ST                                                                                                CRESTLINE        OH     44827‐1742
JAMES BOISVERT               48290 FIR CT                                                                                             SHELBY TWP       MI     48315‐4227
JAMES BOITNOTT               25560 COUNTY ROAD 354                                                                                    LAWTON           MI     49065‐9801
JAMES BOKROS                 3597 OAKMONTE BLVD                                                                                       OAKLAND          MI     48306‐4790
                                                                                                                                      TOWNSHIP
JAMES BOLDEN                 2680 E THOMPSON RD                                                                                       INDIANAPOLIS    IN      46227‐4451
JAMES BOLDEN                 760 DEBBY LN E                                                                                           MANSFIELD       OH      44906‐1005
JAMES BOLDEN                 15 MIA AVE                                                                                               DAYTON          OH      45427‐2909
JAMES BOLDREY                305 CHAPEL LN                                                                                            ASHLEY          IN      46705‐9631
JAMES BOLES                  PO BOX 197                                                                                               GRAND BLANC     MI      48480‐0197
JAMES BOLES                  1077 DELWOOD DR                                                                                          MOORESVILLE     IN      46158‐1114
JAMES BOLGER                 15628 LARKSPUR LN                                                                                        ORLAND PARK     IL      60462‐5012
JAMES BOLICK                 5785 LOCUST STREET EXT                                                                                   LOCKPORT        NY      14094‐6503
JAMES BOLIN                  5821 DORA LN                                                                                             CLARKSTON       MI      48348‐5119
JAMES BOLIN                  15964 EASYGOER CT.                                                                                       CLINTON TWP;    MI      48035
JAMES BOLING                 3550 N WASHINGTON ST                                                                                     DANVILLE        IN      46122‐9301
JAMES BOLLAERT               326 N LAKE PLEASANT RD                                                                                   ATTICA          MI      48412‐9313
JAMES BOLLING                146 FLORIDA PARK DR N                                                                                    PALM COAST      FL      32137‐8360
JAMES BOLT                   15374 JOHNSON RD                                                                                         KALEVA          MI      49645‐9619
JAMES BOLTON                 W 354050 WEST                        LOT NUMBER 55                                                       LAKE GENEVA     WI      53147
JAMES BOLTON                 115 E GROVE RD                       R#2, BOX 102                                                        GLEASON         TN      38229‐7917
JAMES BONADIO                187 1/2 ADAM ST                                                                                          TONAWANDA       NY      14150‐2007
JAMES BONASSE                601 N ERIE ST                                                                                            BAY CITY        MI      48706‐4411
JAMES BONCHIN                12681 BLOSSER RD                                                                                         NORTH LIMA      OH      44452‐9764
JAMES BONCZYK                726 N MAIN ST                                                                                            LAPEER          MI      48446‐1927
JAMES BOND                   5508 BARNARD DR                                                                                          DAYTON          OH      45424‐4202
JAMES BOND                   2668 HIGHWAY 36 W                                                                                        JACKSON         GA      30233‐6105
JAMES BOND                   2608 BLANCHARD AVE                                                                                       MORAINE         OH      45439‐2132
JAMES BOND                   6631 E HAMPTON DR                                                                                        INDIANAPOLIS    IN      46226‐3643
JAMES BOND                   35 BLANCHE RD                                                                                            TAFT            TN      38488‐5123
JAMES BOND                   659 N 38TH ST                                                                                            E SAINT LOUIS   IL      62205‐2105
JAMES BOND                   5815 NEWBURY CIR                                                                                         MELBOURNE       FL      32940‐1886
JAMES BOND                   5082 NORRIS DR                                                                                           SWARTZ CREEK    MI      48473‐8246
JAMES BOND                   475 WINDROCK LN                                                                                          DIMONDALE       MI      48821‐9757
JAMES BOND JR                227 OGEMAW RD                                                                                            PONTIAC         MI      48341‐1149
JAMES BONDAROVICH            3 CRAY TER                           C/O KAREN WENTZHEIMER                                               FANWOOD         NJ      07023‐1506
JAMES BONDONI                C/O RICHARDSON PATRICK WESTBROOK &   1730 JACKSON STREET            PO BOX 1368                          BARNWELL        SC      29812
                             BRICKMAN LLC
JAMES BONDOWSKI              927 S OLD 11                                                                                             JANESVILLE      WI      53548‐8419
JAMES BONE                   435 W STATE ST                                                                                           CHEBOYGAN       MI      49721‐1524
JAMES BONE CHAP 13 TRUSTEE   ACCT OF CHARLES E HARRELL            100 PEACHTREE ST NW STE 1100                                        ATLANTA         GA      30303‐1910
JAMES BONEY                  281 COUNTY ROAD 282                                                                                      QUITMAN         MS      39355‐9325
JAMES BONIFEDE               6839 AURA AVE                                                                                            RESEDA          CA      91335‐3720
JAMES BONKOWSKI              10737 WESCH ROAD                                                                                         BROOKLYN        MI      49230‐9718
JAMES BONKOWSKI              814 B ST                                                                                                 SAGINAW         MI      48602‐1904
JAMES BONNER                 4637 TURNBERRY LN                                                                                        LAKE WALES      FL      33859‐5756
JAMES BONNER                 2218 ORKNEY DR                                                                                           LEESBURG        FL      34788‐7613
JAMES BONNER                 1030 E PRINCETON AVE                                                                                     FLINT           MI      48505‐1514
JAMES BONNICI                1660 RIVER RD APT 9                                                                                      MARYSVILLE      MI      48040‐1859
JAMES BONNY                  14329 KARLOV AVE                                                                                         MIDLOTHIAN      IL      60445‐2707
JAMES BOOKER                 417 MARBLEGATE CIR                                                                                       ALVATON         KY      42122‐8749
JAMES BOOKER                 3562 CHARLES DR                                                                                          EAST POINT      GA      30344‐6051
JAMES BOOKER                 551 W 117TH ST                                                                                           LOS ANGELES     CA      90044‐4029
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Name               Address1                      Address2              Address3         Address4               City             State   Zip
JAMES BOOKOUT      9501 W COUNTY ROAD 380 N                                                                    GASTON            IN     47342‐9791
JAMES BOONE        810 GREENVIEW AVE                                                                           DELTA             OH     43515‐1074
JAMES BOONE        PO BOX 575                                                                                  MOUNT VERNON      NY     10551‐0575
JAMES BOONE        1110 W CROSS ST APT 215                                                                     ANDERSON          IN     46011‐9534
JAMES BOONE        7648 CLIPPERT ST                                                                            TAYLOR            MI     48180‐2569
JAMES BOOTH        7217 E COLDWATER RD                                                                         DAVISON           MI     48423‐8944
JAMES BOOTH        409 JORDAN RD                                                                               PONTIAC           MI     48342‐1738
JAMES BOOTH        6425 WILANDER ST                                                                            LEESBURG          FL     34748‐7704
JAMES BOOTH        PO BOX 346                                                                                  ALGONAC           MI     48001‐0346
JAMES BOOTH        7225 KINCH RD                                                                               PORT AUSTIN       MI     48467‐9365
JAMES BOOTH        2250 HIGHWAY 84 W                                                                           LAUREL            MS     39440‐3209
JAMES BOOTH        133 WHITE OAK ESTATES DR                                                                    TROY              MO     63379‐3143
JAMES BOOTHE       3331 ACUMINATA DR                                                                           WEST SALEM        OH     44287‐9105
JAMES BOOTS        12312 E RICHFIELD RD                                                                        DAVISON           MI     48423‐8518
JAMES BORCHERS     1677 WESTPORT DR                                                                            KINGS MILLS       OH     45034‐9731
JAMES BORDEN       834 N OAK ST                                                                                EVART             MI     49631‐9513
JAMES BORDER       6336 GUY MURRAY RD                                                                          NEW PARIS         OH     45347‐8042
JAMES BORDERS      3964 N STATE ROAD 9                                                                         ANDERSON          IN     46012‐1250
JAMES BORDERS      13430 HANNAN RD                                                                             ROMULUS           MI     48174‐1095
JAMES BORDERS      8205 DOUGLAS DR                                                                             PINCKNEY          MI     48169‐8143
JAMES BORDERS      1615 S E ST                                                                                 ELWOOD            IN     46036‐2438
JAMES BORDERS      PO BOX 72365                                                                                NEWNAN            GA     30271‐2366
JAMES BOREK        5819 PHILLIPS RD                                                                            CLIFFORD          MI     48727‐9561
JAMES BORELL       3618 ROCK DR SW                                                                             WARREN            OH     44481‐9209
JAMES BOREMAN      1037 DEVONWOOD RD                                                                           MANSFIELD         OH     44907‐2418
JAMES BOREN        48492 ARNOLD DR                                                                             MACOMB            MI     48044‐5532
JAMES BORGERSON    9010 KELLY LAKE DR                                                                          CLARKSTON         MI     48348‐2590
JAMES BORK         985 FAIRWAY PARK DR                                                                         ANN ARBOR         MI     48103‐8965
JAMES BORKA        4446 BRIDGEMAN TRL                                                                          SWARTZ CREEK      MI     48473‐8805
JAMES BOROFF       6627 CIRCLE DR                                                                              HARRISON          MI     48625‐9068
JAMES BORRON       230 E LONGFELLOW ST                                                                         KANSAS CITY       MO     64119‐1727
JAMES BORSKI       14060 MOFFETT DR                                                                            FENTON            MI     48430‐1424
JAMES BORTON       875 W MOON SHADOW DR                                                                        CASA GRANDE       AZ     85222‐7890
JAMES BORTON       2600 OAKVIEW DR                                                                             WOLVERINE LAKE    MI     48390‐2050
JAMES BORUFF       RR 3 BOX 126                                                                                ELWOOD            IN     46036
JAMES BOSBEN       544 S MAIN ST                                                                               JANESVILLE        WI     53545‐4848
JAMES BOSHANS      530 N RIVER RD                                                                              SAGINAW           MI     48609‐6822
JAMES BOSHART      445 BROOKS AVE                                                                              PONTIAC           MI     48340‐1302
JAMES BOSHEYA
JAMES BOSKOVITCH   761 DOMINIC DR                                                                              CUYAHOGA FALLS   OH      44223‐3804
JAMES BOSLEY       PO BOX 474                                                                                  HOUGHTON LAKE    MI      48629‐0474
JAMES BOSS         10101 STATE ST                                                                              DALTON           NY      14836‐9603
JAMES BOSS         10130 STATE ST                                                                              DALTON           NY      14836‐9603
JAMES BOSSLETT     9 PARKVIEW DR                                                                               MILLBURN         NJ      07041‐1501
JAMES BOST         2121 3RD ST                                                                                 TRENTON          MI      48183‐2105
JAMES BOSTIC       PO BOX 933                    210 BLACKBURN ROAD                                            MC KENZIE        TN      38201‐0933
JAMES BOSTIC       23936 VIRGINIA DR                                                                           WARREN           MI      48091‐4582
JAMES BOSTIC       739 S BILTMORE AVE                                                                          INDIANAPOLIS     IN      46241‐2104
JAMES BOSWELL      LOT 159                       1199 HOSPITAL ROAD                                            FRANKLIN         IN      46131‐9030
JAMES BOSWELL
JAMES BOSWELL JR   PO BOX 34583                                                                                DETROIT           MI     48234‐0583
JAMES BOSWORTH     888 S WOODCOCK RD                                                                           MIDLAND           MI     48640‐8993
JAMES BOTHELL      414 SEMINOLE ST                                                                             HOLLY             MI     48442‐1303
JAMES BOTJER       1004 CHANEY LN                                                                              HARDYVILLE        KY     42746‐8228
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JAMES BOTT         922 BENSCH ST                                                                                    LANSING            MI     48912‐1902
JAMES BOTZENHART   1022 PERKINS JONES RD NE APT A6                                                                  WARREN             OH     44483‐1842
JAMES BOUCHARD     1638 FREEHAN ST                                                                                  SAINT HELEN        MI     48656‐9335
JAMES BOUCK        11180 BIRCH RUN RD                                                                               BIRCH RUN          MI     48415‐9439
JAMES BOUGATSOS    185 MICHELSON RD                                                                                 ROCHESTER HILLS    MI     48307‐5333
JAMES BOURASSA     1558 N HURON RD                                                                                  PINCONNING         MI     48650‐7908
JAMES BOURDOW      4314 CASCADE DR                                                                                  SAGINAW            MI     48603‐9694
JAMES BOURGEOIS    2080 BURNSIDE RD                                                                                 NORTH BRANCH       MI     48461‐9629
JAMES BOURNE       136 6TH ST                                                                                       WAYNESVILLE        OH     45068‐9488
JAMES BOUSUM       7658 W 400 N                                                                                     KOKOMO             IN     46901‐8697
JAMES BOUTELL      519 BYRON RD                                                                                     HOWELL             MI     48843‐1409
JAMES BOUTILIER    6600 DYSINGER RD APT 12                                                                          LOCKPORT           NY     14094‐9388
JAMES BOUTS        12092 RUPP RD                                                                                    GRAND LEDGE        MI     48837‐9112
JAMES BOUWENS      2339 GAYNOR AVE NW                                                                               GRAND RAPIDS       MI     49544‐1828
JAMES BOVEE        2581 BUSCH RD                                                                                    BIRCH RUN          MI     48415‐8918
JAMES BOVENZI      2616 INVITATIONAL DR 44                                                                          OAKLAND            MI     48363
JAMES BOVRE        24 S RANDALL AVE                                                                                 JANESVILLE         WI     53545‐2664
JAMES BOW          16312 NORTHERN PINTAIL DR                                                                        HEMLOCK            MI     48626‐8787
JAMES BOWDEN       8338 MINX RD                                                                                     TEMPERANCE         MI     48182‐9516
JAMES BOWE         6959 W REDMAN DR                                                                                 LAKE CITY          MI     49651‐8516
JAMES BOWEN        4121 MCLAIN RD                                                                                   CLYDE              MI     48049‐3004
JAMES BOWEN        7541 TARLTON RD                                                                                  CIRCLEVILLE        OH     43113‐9414
JAMES BOWEN        5677 E MINERAL‐KOLEEN RD                                                                         BLOOMFIELD         IN     47424‐7002
JAMES BOWEN        14562 CRAFT RD                                                                                   HERSEY             MI     49639‐8562
JAMES BOWEN        9758 S STAR LAKE DR                                                                              BALDWIN            MI     49304‐8429
JAMES BOWEN        973 TOM OSBORNE RD                                                                               COLUMBIA           TN     38401‐6777
JAMES BOWEN JR     83 DANA LN                                                                                       MERIDEN            CT     06451‐5076
JAMES BOWENS       BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
JAMES BOWER        5530 N COUNTY LINE RD                                                                            WATERVLIET         MI     49098‐9129
JAMES BOWER        219 ELMWOOD DR                                                                                   CORUNNA            MI     48817‐1130
JAMES BOWERS       34 JACQUETTE SQ                                                                                  NEW CASTLE         DE     19720‐3610
JAMES BOWERS       1956 W STATE RD 36                                                                               MIDDLETOWN         IN     47356
JAMES BOWERS       7924 S STATE ROAD 61                                                                             MONROE CITY        IN     47557‐7127
JAMES BOWES        25306 NORVELL ST                                                                                 CHESTERFIELD       MI     48051‐2828
JAMES BOWIE II     5103 CALKINS RD                                                                                  FLINT              MI     48532‐3404
JAMES BOWIEN       16837 SE 23RD ST                                                                                 CHOCTAW            OK     73020‐6439
JAMES BOWLES       26 WASHINGTON ST                                                                                 MASSENA            NY     13662‐1204
JAMES BOWLES       PO BOX 90571                                                                                     BURTON             MI     48509‐0571
JAMES BOWLING      80 DAYSPRING DR                                                                                  HAMILTON           OH     45015‐2168
JAMES BOWLING      1905 S CHATHAM ST                                                                                JANESVILLE         WI     53546‐6013
JAMES BOWLING      5417 RIVER RD                                                                                    MADISON            OH     44057‐9752
JAMES BOWLING      935 PYRAMID HILL BLVD APT 19B                                                                    HAMILTON           OH     45013‐6419
JAMES BOWMAN       411 NATALIE LN                                                                                   LEBANON            OH     45036‐8996
JAMES BOWMAN       7901 W RIVER RD                                                                                  YORKTOWN           IN     47396‐9227
JAMES BOWMAN       PO BOX 111                                                                                       TRINITY            AL     35673‐0014
JAMES BOWMAN       7574 OLIVE ST                                                                                    KANSAS CITY        MO     64132‐2155
JAMES BOWMAN       506 BUCHANNAN ST                                                                                 HUNTINGTON         IN     46750‐1903
JAMES BOWNS        1234 KENNEBEC RD                                                                                 GRAND BLANC        MI     48439‐4835
JAMES BOWSER       11301 EAST RD                                                                                    BURT               MI     48417‐9444
JAMES BOWYER       8298 N STATE ROAD 9                                                                              ALEXANDRIA         IN     46001‐8649
JAMES BOX          8345 N JENNINGS RD                P.O. BOX 23                                                    MT MORRIS          MI     48458
JAMES BOXLEY       1414 W MYRTLE AVE                                                                                FLINT              MI     48504‐2222
JAMES BOYATT       470 MURPHY SUBDIVISION RD                                                                        STEARNS            KY     42647‐6244
JAMES BOYCE        3301 BEGOLE ST                                                                                   FLINT              MI     48504‐2999
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JAMES BOYCE SR       522 VALEWOOD LN                                                                                DAYTON              OH     45405‐1754
JAMES BOYCHUK        31540 LEONA ST                                                                                 GARDEN CITY         MI     48135‐1338
JAMES BOYD           4138 CHERRYBROOK                                                                               BURTON              MI     48519‐2829
JAMES BOYD           17550 LEFFINGWELL RD                                                                           BERLIN CENTER       OH     44401‐9704
JAMES BOYD           7807 WATERTON CT                                                                               TROTWOOD            OH     45426‐3833
JAMES BOYD           1540 HIGHWAY 138 NW                                                                            MONROE              GA     30655‐5653
JAMES BOYD           PO BOX 47                                                                                      IRONS               MI     49644‐0047
JAMES BOYD           26585 SUMMERDALE DR                                                                            SOUTHFIELD          MI     48033‐2223
JAMES BOYD           3405 DILLON RD                                                                                 FLUSHING            MI     48433‐9763
JAMES BOYD           10342 MORLEY ST                                                                                DETROIT             MI     48204‐2527
JAMES BOYD JR        685 IMPERIAL DR                                                                                HANFORD             CA     93230‐7315
JAMES BOYDEN         329 COUNTY ROAD 403                                                                            FLORESVILLE         TX     78114‐3238
JAMES BOYER          28036 MOCCASIN RD                                                                              LAURELVILLE         OH     43135‐9707
JAMES BOYER          4221 HARTLAND RD                                                                               GASPORT             NY     14067‐9301
JAMES BOYER          4580 HEATH RD                                                                                  HASTINGS            MI     49058‐8277
JAMES BOYER          PO BOX 210396                                                                                  AUBURN HILLS        MI     48321‐0396
JAMES BOYKIN         40 WINDSOR TERRIS APT 5 G                                                                      WHITE PLAINS        NY     10601
JAMES BOYKIN         11090 WORCHESTER DR                                                                            SAINT LOUIS         MO     63136‐5829
JAMES BOYLAN         24127 ROCKFORD ST                                                                              DEARBORN            MI     48124‐1327
JAMES BOYLAND        1246 RIVER FOREST DR                                                                           FLINT               MI     48532‐2816
JAMES BOYLE          3802 N CO RD 650 W                                                                             MARIAH HILL         IN     47556
JAMES BOYLE          565 GRAMPIAN AVE                                                                               LAKE ORION          MI     48362‐3329
JAMES BOYLEN JR      4797 CORDUROY RD                                                                               MENTOR              OH     44060‐1141
JAMES BOYLL          PO BOX 394                                                                                     LAPEL               IN     46051‐0394
JAMES BRABOW         31924 BREEZEWAY                                                                                CHESTERFIELD        MI     48047‐3046
JAMES BRACEY         660 SMALLWOOD RD                                                                               DAYTON              OH     45427‐2243
JAMES BRACKETT       3005 ROSEKEMP AVE                                                                              BALTIMORE           MD     21214‐3208
JAMES BRACY          9539 MARVELINE DR                                                                              SAINT LOUIS         MO     63136‐4023
JAMES BRADBERRY      1623 N FRANKLIN ST                                                                             DANVILLE             IL    61832‐2363
JAMES BRADBERRY JR   6160 SHADBURN FERRY RD                                                                         BUFORD              GA     30518‐1322
JAMES BRADBURN       2052 VERMONT ST                                                                                SAGINAW             MI     48602‐1931
JAMES BRADBURN       1276 BUTCHER RD                                                                                FENTON              MI     48430‐1232
JAMES BRADBURY       13600 BUNKERHILL ROAD                                                                          MUNITH              MI     49259‐9732
JAMES BRADEN         614 S FRONT ST                                                                                 BELDING             MI     48809‐1933
JAMES BRADEN         1245 MICHIGAN AVE                                                                              MONROE              MI     48162‐3013
JAMES BRADFIELD      BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.         OH     44236
JAMES BRADFIELD      10360 NORTHFIELD ROAD , BEVAN                                                                  NORTHFIELD          OH     44067
                     PROFESSIONAL BLDG
JAMES BRADFORD       PO BOX 2439                                                                                    EAST SAINT LOUIS   IL      62202‐2439
JAMES BRADFORD       19488 GARFIELD                                                                                 REDFORD            MI      48240‐1317
JAMES BRADFORD       16006 HIGHT AVE                                                                                BELTON             MO      64012‐1675
JAMES BRADFORD       PO BOX 323                                                                                     PAULDING           OH      45879‐0323
JAMES BRADLEY        2150 COUNTY ROUTE 49                                                                           WINTHROP           NY      13697‐3207
JAMES BRADLEY        14920 SHERWOOD PARK DR                                                                         SHELBY TWP         MI      48315‐1675
JAMES BRADLEY        10493 E T AVE                                                                                  VICKSBURG          MI      49097‐9524
JAMES BRADLEY        3893 HICKORY VIEW DR                                                                           HAMILTON           OH      45011‐6531
JAMES BRADLEY        14560 FOREST LN                                                                                LOCKPORT           IL      60441‐2269
JAMES BRADLEY        3000 H/W 17/92 WEST NO. 86                                                                     HAINES CITY        FL      33844
JAMES BRADLEY        912 STEVENSON RD                                                                               XENIA              OH      45385‐7001
JAMES BRADLEY        3429 SW 12TH AVE                                                                               CAPE CORAL         FL      33914‐5102
JAMES BRADLEY        351 COMMONWEALTH AVE                                                                           FLINT              MI      48503‐2110
JAMES BRADLEY        627 W K ST                                                                                     RUSSELLVILLE       AR      72801‐3440
JAMES BRADLEY        13518 S HUTT RD                                                                                LEES SUMMIT        MO      64086‐9389
JAMES BRADLEY JR     13232 ARLINGTON ST                                                                             DETROIT            MI      48212‐2276
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JAMES BRADSHAW       6127 COULSON CT                                                                               LANSING             MI     48911‐5628
JAMES BRADSHAW       45 SAINT RICHARD ST                                                                           ROXBURY             MA     02119‐2236
JAMES BRADSHAW       124 VOLUNTEER DR                                                                              ARLINGTON           TX     76014‐3147
JAMES BRADSHAW       472 JAMES DR                                                                                  NOBLESVILLE         IN     46060‐2009
JAMES BRADY          30941 CEDAR CREEK DR                                                                          FARMINGTON HILLS    MI     48336‐4993

JAMES BRADY          2210 CHASE CT                                                                                 MOUNT DORA         FL      32757‐6909
JAMES BRADY          206 W LORD ST                                                                                 GAINES             MI      48436‐8937
JAMES BRADY          PO BOX 321203                                                                                 FLINT              MI      48532‐0021
JAMES BRADY          495 N GLEANER RD                                                                              SAGINAW            MI      48609‐9695
JAMES BRADY          1296 GREENBRIER LN                                                                            N TONAWANDA        NY      14120‐1917
JAMES BRADY          124E GREENHOUSE LN                                                                            ZION GROVE         PA      17985‐9571
JAMES BRADY          10490 W RAVINE VIEW CT                                                                        NORTH ROYALTON     OH      44133‐6075
JAMES BRADY          310 MANSFIELD DR                                                                              LAPEER             MI      48446‐7702
JAMES BRADY JR       5872 PONTIAC LAKE RD                                                                          WATERFORD          MI      48327‐2117
JAMES BRAGG          11825 TIMBER RIDGE DR                                                                         KEITHVILLE         LA      71047‐9051
JAMES BRAGG          7506 OLDE EIGHT RD                                                                            HUDSON             OH      44236‐1060
JAMES BRAGG          4156 N CENTER RD                                                                              FLINT              MI      48506‐1436
JAMES BRAGG          647 BRAGG RD                                                                                  SHADY SPRING       WV      25918‐8216
JAMES BRAGG          6093 DEXTER ST                                                                                ROMULUS            MI      48174‐1827
JAMES BRAHAM         8537 RIDGE RD                                                                                 GASPORT            NY      14067‐9452
JAMES BRAINARD       783 BELVEDERE AVE SE                                                                          WARREN             OH      44484‐4325
JAMES BRAKE          160 AUSTER RD                                                                                 VENICE             FL      34293‐2603
JAMES BRALL          PO BOX 5222                                                                                   FLINT              MI      48505‐0222
JAMES BRAMAN         5992 19.25 COUNTRY CLUB LANE                                                                  GLADSTONE          MI      49837
JAMES BRANCH         2494 S FORDNEY RD                                                                             HEMLOCK            MI      48626‐9777
JAMES BRANCO         15359 DEWEY ST                                                                                SAN LEANDRO        CA      94579‐2007
JAMES BRAND          636 EDNA CT                                                                                   EVERMAN            TX      76140‐4412
JAMES BRANDAU        2685 BUCKNER RD                                                                               THOMPSONS          TN      37179‐9278
                                                                                                                   STATION
JAMES BRANDEL        1150 WILFORD CT                                                                               REESE              MI      48757‐9534
JAMES BRANDENBURG    474 TECUMSEH DR                                                                               CINCINNATI         OH      45244‐1984
JAMES BRANDLEN       1213 EAST KNOBHILL STREET                                                                     SPRINGFIELD        MO      65804‐7613
JAMES BRANDON        92 SARANAC AVE                                                                                BUFFALO            NY      14216‐2429
JAMES BRANDON        2102 STATE ST                                                                                 ANDERSON           IN      46012‐1744
JAMES BRANDT         25131 CHARLES ST                                                                              TAYLOR             MI      48180‐1519
JAMES BRANDT         4628 N LAURA DR                                                                               JANESVILLE         WI      53548‐8690
JAMES BRANHAM        17179 STATE ROUTE 18                                                                          DEFIANCE           OH      43512‐8495
JAMES BRANHAM SR     29749 S WOODLAND RD                                                                           PEPPER PIKE        OH      44124‐5746
JAMES BRANNAN        7009 PLAZA DR APT 4                                                                           NIAGARA FALLS      NY      14304‐6609
JAMES BRANNOCK       26708 CASH CT                                                                                 LEESBURG           FL      34748‐8061
JAMES BRANNON        105 ROCK MEADOW TRL                                                                           MANSFIELD          TX      76063‐4845
JAMES BRANNON        PO BOX 26                                                                                     MC LAIN            MS      39456‐0026
JAMES BRANNON        1283 WALLACE PKWY                                                                             ROCKTON            IL      61072‐3223
JAMES BRANNON JR     2063 CORENE AVE                                                                               BELOIT             WI      53511‐3177
JAMES BRANSCUM       2211 E BOATFIELD AVE                                                                          BURTON             MI      48529‐1783
JAMES BRANSCUM JR.   3331 E HEMPHILL RD                                                                            BURTON             MI      48529‐1403
JAMES BRANT          619 HARRISON CIR                                                                              LOCUST GROVE       VA      22508‐5332
JAMES BRANTLEY       8248 WEST LAKE HOLIDAY DRIVE                                                                  MEARS              MI      49436‐9441
JAMES BRANTLEY       117 SWEET BARLEY CT                                                                           GRAYSON            GA      30017‐4185
JAMES BRANTNER       424 W 130TH ST                                                                                BRUNSWICK          OH      44212‐2310
JAMES BRASHEAR       2633 MOTT AVE                                                                                 WATERFORD          MI      48328‐2633
JAMES BRASHER        444 CYPRUS CR RD                                                                              LINDEN             TN      37096
JAMES BRASSFIELD     2826 SPRING MEADOW CIR                                                                        AUSTINTOWN         OH      44515‐4959
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Name                 Address1                      Address2                         Address3   Address4               City               State   Zip
JAMES BRASSFIELD     1974 S HIDDEN HILLS PKWY                                                                         STONE MTN           GA     30088‐4013
JAMES BRATLY         22201 MARTINSVILLE RD                                                                            BELLEVILLE          MI     48111‐9110
JAMES BRATTON        3605 LEES LN                                                                                     HART                MI     49420‐8626
JAMES BRATTON        362 ROSEMORE DR                                                                                  DAVISON             MI     48423‐1616
JAMES BRAUCHER       6205 S WOODLANE DR                                                                               MAYFIELD VILLAGE    OH     44143‐3317
JAMES BRAUN          1909 PAUL DR                                                                                     COLUMBIA            TN     38401‐4048
JAMES BRAWNER        1061 HIDDEN HOLLOW DR                                                                            KEARNEYSVILLE       WV     25430‐2679
JAMES BRAWNER        1631 TARPON AVE                                                                                  PLAINFIELD          IN     46168‐1945
JAMES BRAY           5807 KERWOOD LN                                                                                  BROWNSBURG          IN     46112‐8689
JAMES BRAY           14 EASTVIEW DR                                                                                   FENTON              MO     63026‐5916
JAMES BRAYTON        913 S FRANKLIN AVE                                                                               FLINT               MI     48503‐2817
JAMES BRAZELTON      4427 OAK GROVE RD                                                                                NORTH BRANCH        MI     48461‐8933
JAMES BRAZELTON      1696 ROODS LAKE RD                                                                               LAPEER              MI     48446‐8322
JAMES BRAZER         206 MARCEY DR                                                                                    THOMASTON           GA     30286‐4957
JAMES BRECKER        932 CHARLOTTE AVE NW                                                                             GRAND RAPIDS        MI     49504‐3733
JAMES BREDEMEYER     10325 CYGNET CV                                                                                  ROANOKE             IN     46783‐8746
JAMES BREEDEN        2726 APPLETON AVE                                                                                INDEPENDENCE        MO     64052‐2969
JAMES BREEDEN        C/O G PATTERSON KEAHEY PC     ONE INDEPENDENCE PLAZA STE 612                                     BIRMINGHAM          AL     35209
JAMES BREEDEN JR     504 62ND ST                                                                                      NIAGARA FALLS       NY     14304‐3107
JAMES BREEDING       211 BLUEBERRY LN                                                                                 MT STERLING         KY     40353‐8108
JAMES BREEDING       8433 W CANAL RD                                                                                  BROCKPORT           NY     14420‐2109
JAMES BREEN JR       8916 DEARDOFF RD                                                                                 FRANKLIN            OH     45005‐1460
JAMES BREFKA         3135 N MICHIGAN AVE                                                                              SAGINAW             MI     48604‐2355
JAMES BREIDENSTEIN   1212 E BURT RD                                                                                   BURT                MI     48417‐2029
JAMES BREITENBACH    543 LOCUST ST                                                                                    N TONAWANDA         NY     14120‐4630
JAMES BRENNAN JR     2881 MADERIA CIR                                                                                 MELBOURNE           FL     32935‐5596
JAMES BRENNER        6616 ARROWHEAD CT                                                                                DAVISBURG           MI     48350‐2965
JAMES BRENNER        14157 MEADOW CT                                                                                  HOLLY               MI     48442‐8412
JAMES BRENNER        1007 N CENTRAL AVE                                                                               ALEXANDRIA          IN     46001‐9488
JAMES BRESLIN JR     665 S ONONDAGA RD                                                                                MASON               MI     48854‐9733
JAMES BRESSETTE      2056 W GOLFCART LN                                                                               CITRUS SPRINGS      FL     34434‐5817
JAMES BREST          6517 KING GRAVES RD                                                                              FOWLER              OH     44418‐9768
JAMES BRETT          3065 E WILLARD RD                                                                                CLIO                MI     48420‐7703
JAMES BRETZKE        G 1607 HOURAN ST                                                                                 FLINT               MI     48532
JAMES BREWER         5781 N 500 W                                                                                     MARION              IN     46952‐9690
JAMES BREWER         2142 BERNICE AVE                                                                                 FLINT               MI     48532‐3913
JAMES BREWER         3005 PADDLECREEK LN                                                                              NORTHPORT           AL     35473‐1968
JAMES BREWER         1101 QUEEN CITY AVE                                                                              TUSCALOOSA          AL     35401‐2348
JAMES BREWER         5760 GRAYDON DR                                                                                  SEVEN HILLS         OH     44131‐1904
JAMES BREWER         1521 W OLD SLOCUM TRL                                                                            LA FONTAINE         IN     46940‐9112
JAMES BREWER         7785 W TWIN CANAL LN                                                                             HOMOSASSA           FL     34448‐5839
JAMES BREWER         2586 W STATE ROUTE 350                                                                           WILMINGTON          OH     45177‐7192
JAMES BREWER         4284 MONKS RD                                                                                    PINCKNEY            MI     48169‐9003
JAMES BREWER         3680 N FIVE LAKES RD                                                                             LAPEER              MI     48446‐8333
JAMES BREWER         6677 WINDRIDGE CIR                                                                               LEXINGTON           OK     73051‐9468
JAMES BREWER         1126 FACTORY CREEK RD                                                                            WAYNESBORO          TN     38485‐5806
JAMES BREWER         15500 SILVER PKWY APT 104                                                                        FENTON              MI     48430‐3475
JAMES BREWER         18683 PINECREST LN                                                                               SPRING LAKE         MI     49456‐1136
JAMES BREWER         21 FONTAINE BLVD                                                                                 WINCHESTER          KY     40391
JAMES BREWER JR      1343 WADSWORTH AVE                                                                               SAGINAW             MI     48601‐1622
JAMES BREWINGTON     241 JOHN R ST                                                                                    HARRISON            MI     48625
JAMES BREWINGTON     3220 JUNEAU DR                                                                                   CORINTH             TX     76210‐2207
JAMES BREWSTER       5258 ROBINWOOD AVE                                                                               DAYTON              OH     45431‐2836
JAMES BREYER         9616 REVERE DR                                                                                   BELLEVILLE          MI     48111‐1678
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JAMES BRICKER       1214 ORCHARD BEND DR                                                                             SALEM            OH     44460‐1260
JAMES BRICKER       5610 W PINERIDGE RD                                                                              MUNCIE           IN     47304‐3420
JAMES BRICKNER      1576 N ELLSWORTH AVE                                                                             SALEM            OH     44460‐1125
JAMES BRIDGE        4744 THOMASON RD                                                                                 SHARPSVILLE      PA     16150‐9295
JAMES BRIDGEFORTH   2501 FOREST POINT DR.                                                                            ARLINGTON        TX     76006
JAMES BRIDGES       3412 PONTIAC LAKE RD                                                                             WATERFORD        MI     48328‐2400
JAMES BRIDGES       307 S UNION ST                                                                                   WINONA           MS     38967‐2631
JAMES BRIDGES       725 HARVEYTOWN RD                                                                                TYLERTOWN        MS     39667‐5928
JAMES BRIDLEMAN     904 SAINT MARYS BLVD                                                                             CHARLOTTE        MI     48813‐2218
JAMES BRIESKE       5261 COLLINGTON DR                                                                               TROY             MI     48098‐2450
JAMES BRIGGS        11951 DOTY RD                                                                                    ATLANTA          MI     49709‐9217
JAMES BRIGGS        6101 FLEMING RD                                                                                  FLINT            MI     48504‐1658
JAMES BRIGGS        4118 KALAMAZOO AVE SE                                                                            GRAND RAPIDS     MI     49508‐3605
JAMES BRIGHAM       7216 S FORK DR                                                                                   SWARTZ CREEK     MI     48473‐9759
JAMES BRIGHT        39829 CORONATION RD                                                                              CANTON           MI     48188‐1526
JAMES BRIGHT        8122 WEST AVE                                                                                    GASPORT          NY     14067‐9204
JAMES BRIGHT        101 HOLLOW DR                                                                                    WINCHESTER       IN     47394‐9274
JAMES BRIGHT JR     2210 SPRINGWOOD DR                                                                               AUBURN           AL     36830‐7220
JAMES BRIMIDGE      PO BOX 722                        112 SCHOOLHOUSE LANE                                           CHARENTON        LA     70523‐0722
JAMES BRIMM         4050 S NORTH BARQUE POINT TRAIL                                                                  MANISTIQUE       MI     49854
JAMES BRINING       6379 BURKWOOD DR                                                                                 CLAYTON          OH     45315‐9601
JAMES BRINK         1717 BIRDIE DR                                                                                   TOLEDO           OH     43615‐3207
JAMES BRINKERHOFF   3376 AQUARIOUS CIR                                                                               OAKLAND          MI     48363‐2711
JAMES BRINKLEY      11310 S AMINDA ST                                                                                OLATHE           KS     66061‐7147
JAMES BRINSON       1633 N LARCHMONT DR                                                                              SANDUSKY         OH     44870‐4320
JAMES BRINSTON      786 CLIFFORD DR                                                                                  LATHROP          CA     95330‐8901
JAMES BRIODY        1601 S DAYTONA AVE                                                                               FLAGLER BEACH    FL     32136‐3854
JAMES BRIONES       13249 KERR ST                                                                                    SOUTHGATE        MI     48195‐1107
JAMES BRISKEY       PO BOX 174                                                                                       OTTER LAKE       MI     48464‐0174
JAMES BRISKO        1912 SHERWOOD GLN                                                                                BLOOMFIELD       MI     48302‐1772
JAMES BRISON JR     5348 BAYHAMABBY RD                                                                               FLORISSANT       MO     63033‐7302
JAMES BRISTOL       5507 HIDDEN RIDGE TRL                                                                            LINDEN           MI     48451‐8844
JAMES BRITT         2934 CAMP MITCHELL RD                                                                            LOGANVILLE       GA     30052‐2170
JAMES BRITT         5171 RHINE DR                                                                                    FLINT            MI     48507‐2914
JAMES BRITT         813 CAWOOD ST                                                                                    LANSING          MI     48915‐1316
JAMES BRITTINGHAM   100 OAK VALLEY DR                                                                                SPRING HILL      TN     37174‐2590
JAMES BRITTON       39567 DORIAN DR                                                                                  STERLING HTS     MI     48310‐2313
JAMES BRITTSON      2011 HURD ST                                                                                     TOLEDO           OH     43605‐2821
JAMES BRIXEY        115 UPPER HILLSIDE DR                                                                            BELLBROOK        OH     45305‐2122
JAMES BRIZENDINE    6222 RED FOX RD                                                                                  PENDLETON        IN     46064‐9059
JAMES BROADWATER    565 SUNRISE DR                                                                                   CLARKSTON        MI     48348‐1492
JAMES BROADWATER    64 PAULUS BLVD                                                                                   NEW BRUNSWICK    NJ     08901‐1522
JAMES BROADWAY      5806 RUBIN AVE                                                                                   BALTIMORE        MD     21215‐3526
JAMES BROCK         1016 STUMP BLUFF RD                                                                              BOWLING GREEN    KY     42101‐7838
JAMES BROCK         70 MEAKER LN                                                                                     WINCHESTER       TN     37398‐4304
JAMES BROCK         4556 LAKE MANUKA RD                                                                              GAYLORD          MI     49735‐8813
JAMES BROCK         8011 PATTEN TRACT RD                                                                             SANDUSKY         OH     44870‐9322
JAMES BROCK         28526 MOORESVILLE RD                                                                             ELKMONT          AL     35620‐3404
JAMES BROCK         BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.      OH     44236
JAMES BROCKLEBANK   2163 COUNTY ROAD 28                                                                              CANANDAIGUA      NY     14424‐8076
JAMES BROCKWAY      49258 MICHELLE ANN DR                                                                            CHESTERFIELD     MI     48051‐2547
JAMES BRODEN        1320 N YOUNGS RD                                                                                 ATTICA           MI     48412‐9396
JAMES BROE          CASCINO MICHAEL P                 220 SOUTH ASHLAND AVE                                          CHICAGO           IL    60607
JAMES BROHAUGH      4555 S MISSION RD #1129                                                                          TUCSON           AZ     85746
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Name                 Address1                             Address2             Address3         Address4               City              State   Zip
JAMES BROHN          402 N BRIDGE ST                                                                                   LINDEN             MI     48451‐9683
JAMES BROM           10181 KNOWLTON RD                                                                                 GARRETTSVILLE      OH     44231‐9773
JAMES BROMLEY        1250 DIVE RD                                                                                      BEDFORD            IN     47421‐1518
JAMES BRONCHETTI     41 AMES ST                                                                                        MASSENA            NY     13662‐1359
JAMES BRONIECKI      625 BALD EAGLE LAKE RD                                                                            ORTONVILLE         MI     48462‐9089
JAMES BRONKELLA      2407 MINDY CT                                                                                     ANDERSON           IN     46017‐9675
JAMES BRONSON        2830 GAMMA LN                                                                                     FLINT              MI     48506‐1877
JAMES BROOKER        4411 OAKENGATES DR                                                                                YPSILANTI          MI     48197‐8892
JAMES BROOKHART      521 WOODBURY CT                                                                                   CANFIELD           OH     44406‐9632
JAMES BROOKINS       5652 LESTER GRANGER DR                                                                            FORT WORTH         TX     76112‐7628
JAMES BROOKS         1325 SPRINGWOOD LN                                                                                SHREVEPORT         LA     71107‐8363
JAMES BROOKS         13091 HIGHWAY 789                                                                                 KEITHVILLE         LA     71047‐8709
JAMES BROOKS         7310 MACEDAY LAKE RD                                                                              WATERFORD          MI     48329‐2622
JAMES BROOKS         2136 SCARBROUGH DR                                                                                STONE MTN          GA     30088‐4313
JAMES BROOKS         867 DEE KENNEDY RD                                                                                WINDER             GA     30680‐2738
JAMES BROOKS         1709 BOWERSOX RD                                                                                  MIDDLEBURG         PA     17842‐8297
JAMES BROOKS         1305 N JONES RD                                                                                   ESSEXVILLE         MI     48732‐9659
JAMES BROOKS         1079 HEMLOCK RD                                                                                   BEAVERTON          MI     48612‐8731
JAMES BROOKS         120 BARBER DR                                                                                     STOCKBRIDGE        GA     30281‐1419
JAMES BROOKS         103 PINE BLUSS LANE                                                                               SPRINGTOWN         TX     76082
JAMES BROOKS
JAMES BROOKS JR      2012 WHITTIER AVE                                                                                 BALTIMORE         MD      21217‐1327
JAMES BROOKS JR      365 BETSILL RD                                                                                    FAYETTEVILLE      GA      30215‐5025
JAMES BROOKS JR.     PO BOX 1811                                                                                       FREDERICKSBRG     VA      22402‐1811
JAMES BROOKSHIRE     1024 LAKESIDE DR                                                                                  JEFFERSON         TX      75657‐4720
JAMES BROOM          22333 EDGEWATER DR APT D1                                                                         PORT CHARLOTTE    FL      33980‐2048
JAMES BROTHERS       2752 WILLIAMSPORT PIKE                                                                            COLUMBIA          TN      38401‐7169
JAMES BROTHERS       596 STATE HIGHWAY 420                                                                             BRASHER FALLS     NY      13613‐4215
JAMES BROTHERS INC   23216 TELEGRAPH RD                                                                                BROWNSTONE        MI      48134
JAMES BROTHERS INC   ATTN: CORPORATE OFFICER/AUTHORIZED   23216 TELEGRAPH RD                                           BROWNSTOWN        MI      48134‐9531
                     AGENT
JAMES BROUKER        3411 W WILSON RD                                                                                  CLIO              MI      48420‐1955
JAMES BROUSSEAU      PO BOX 25                            4281 N FIRST ST                                              MCBRIDES          MI      48852‐0025
JAMES BROWN          2376 STEPPING STONE PASS                                                                          FLUSHING          MI      48433‐2588
JAMES BROWN          6629 PARK VALLEY DR                                                                               CLARKSTON         MI      48348‐4555
JAMES BROWN          573 HARLEM AVE                                                                                    HUEYTOWN          AL      35023‐1724
JAMES BROWN          3540 HATFIELD DR                                                                                  WATERFORD         MI      48329‐1733
JAMES BROWN          11004 TIMBERLINE DR                                                                               SHELBY TOWNSHIP   MI      48316‐4568
JAMES BROWN          20 FULTON                                                                                         HILLBURN          NY      10931
JAMES BROWN          3630 AGNES AVE                                                                                    LYNWOOD           CA      90262‐4308
JAMES BROWN          321 SUGAR RIDGE CT                                                                                FORT MILL         SC      29708‐6475
JAMES BROWN          158 BOWMAN ROAD                                                                                   HANOVER           PA      17331
JAMES BROWN          96 ONTARIO ST                                                                                     BUFFALO           NY      14207‐1437
JAMES BROWN          228 ARROWOOD BRANCH RD                                                                            CHESNEE           SC      29323‐9759
JAMES BROWN          4300 PENNLYN AVE APT 4                                                                            KETTERING         OH      45429‐2958
JAMES BROWN          4537 PENSACOLA BOULEVARD                                                                          MORAINE           OH      45439‐2825
JAMES BROWN          302 CHAMPION BRISTOLTOWN RD                                                                       WARREN            OH      44481
JAMES BROWN          1258 EAST AVE RT 18                                                                               TALLMADGE         OH      44278
JAMES BROWN          1524 MONROE MILL RD                                                                               BUCHANAN          GA      30113‐3432
JAMES BROWN          1211 W 23RD ST                                                                                    JACKSONVILLE      FL      32209‐4315
JAMES BROWN          3187 OLD CORNELIA HWY                                                                             GAINESVILLE       GA      30507‐7867
JAMES BROWN          249 FARLOW DR                                                                                     WINDER            GA      30680‐3535
JAMES BROWN          571 SHERWOOD AVE                                                                                  YOUNGSTOWN        OH      44511‐1753
JAMES BROWN          9342 DALE                                                                                         REDFORD           MI      48239‐1208
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Name          Address1                       Address2              Address3         Address4               City              State   Zip
JAMES BROWN   647 GALVIN AVE                                                                               ROSELLE            NJ     07203‐1546
JAMES BROWN   1882 WATAUGA RD                                                                              FRANKLIN           NC     28734‐2334
JAMES BROWN   PO BOX 295                                                                                   OTTO               NC     28763‐0295
JAMES BROWN   738 VIRGINIA AVE                                                                             AKRON              OH     44306‐2035
JAMES BROWN   151 DUNKLEY AVE                                                                              SOUTH HAVEN        MI     49090‐1488
JAMES BROWN   PO BOX 60364                                                                                 DAYTON             OH     45406‐0364
JAMES BROWN   295 ESSEX DR                                                                                 TIPP CITY          OH     45371‐2237
JAMES BROWN   321 S LEBANON ST                                                                             JAMESTOWN          IN     46147‐9786
JAMES BROWN   # 222                          4804 ROSWELL ROAD                                             ATLANTA            GA     30342‐2606
JAMES BROWN   9344 MILLINGTON RD                                                                           VASSAR             MI     48768‐9690
JAMES BROWN   17231 WESTLAND AVE                                                                           SOUTHFIELD         MI     48075‐4248
JAMES BROWN   3333 GREGORY RD                                                                              GREGORY            MI     48137‐9530
JAMES BROWN   207 E HICKORY BEND RD                                                                        ENTERPRISE         AL     36330‐1007
JAMES BROWN   3535 GOLFVIEW DR                                                                             HAZEL CREST         IL    60429‐2403
JAMES BROWN   3055 VESSY DR                                                                                SAGINAW            MI     48601‐5936
JAMES BROWN   6 PRESCOTT CT                                                                                SAGINAW            MI     48601‐4424
JAMES BROWN   33044 COWAN RD                                                                               WESTLAND           MI     48185‐2340
JAMES BROWN   520 JEAN LN                                                                                  BATTLE CREEK       MI     49015‐3730
JAMES BROWN   26030 PRINCETON ST                                                                           INKSTER            MI     48141‐2490
JAMES BROWN   1505 VANDERBILT DR                                                                           FLINT              MI     48503‐5246
JAMES BROWN   9805 W COUNTY ROAD 500 N                                                                     GASTON             IN     47342‐9308
JAMES BROWN   4894 W 850 N                                                                                 MIDDLETOWN         IN     47356
JAMES BROWN   4767 E 610 N                                                                                 ROANOKE            IN     46783‐8847
JAMES BROWN   5457 HOPKINS RD                                                                              FLINT              MI     48506‐1559
JAMES BROWN   1481 N RIMWOOD LN                                                                            BOISE              ID     83704‐9680
JAMES BROWN   49525 SHELBY RD                                                                              SHELBY TOWNSHIP    MI     48317‐1585
JAMES BROWN   5048 RIDGE RD                                                                                EAST JORDAN        MI     49727‐9587
JAMES BROWN   337 S MELBORN ST                                                                             DEARBORN           MI     48124‐1620
JAMES BROWN   36543 MALLORY ST                                                                             LIVONIA            MI     48154‐1629
JAMES BROWN   1032 ADRIAN ST                                                                               JACKSON            MI     49203‐3204
JAMES BROWN   11495 BUCKHORN LAKE RD                                                                       HOLLY              MI     48442‐8509
JAMES BROWN   2117 W 42ND ST                                                                               CLEVELAND          OH     44113‐3814
JAMES BROWN   4877 LYNN VIEW DR                                                                            TRINITY            NC     27370‐7374
JAMES BROWN   220 BURGARD PL                                                                               BUFFALO            NY     14211‐2010
JAMES BROWN   1588 S RIVER RD                                                                              YELLOW SPRINGS     OH     45387‐9639
JAMES BROWN   16160 INVERNESS ST                                                                           DETROIT            MI     48221‐3107
JAMES BROWN   1174 LENROOT RD                                                                              BETHEL             OH     45106‐8454
JAMES BROWN   609 WARD AVE                                                                                 LOUDON             TN     37774‐1322
JAMES BROWN   PO BOX 1023                                                                                  PULASKI            TN     38478‐1023
JAMES BROWN   232 SUMMERS ST                                                                               LEXINGTON          TN     38351‐1416
JAMES BROWN   1904 16TH AVE S                                                                              BIRMINGHAM         AL     35205‐5607
JAMES BROWN   15892 WASHINGTON LN                                                                          RAYVILLE           MO     64084‐9788
JAMES BROWN   2981 S WAVERLY HWY                                                                           LANSING            MI     48911‐5456
JAMES BROWN   1029A SE 7TH TER                                                                             LEES SUMMIT        MO     64063‐4471
JAMES BROWN   1428 ROMA LN                                                                                 FORT WORTH         TX     76134‐2304
JAMES BROWN   PO BOX 1783                                                                                  MONTICELLO         MS     39654‐1783
JAMES BROWN   19573 E 42ND AVE                                                                             DENVER             CO     80249‐6555
JAMES BROWN   3201 KING RD                                                                                 SAGINAW            MI     48601‐5831
JAMES BROWN   18001 E 16TH STREET TER N                                                                    INDEPENDENCE       MO     64058‐1040
JAMES BROWN   221 SIOUX CT                                                                                 NEWARK             DE     19702‐1915
JAMES BROWN   4414 N SHERIDAN AVE                                                                          INDIANAPOLIS       IN     46226‐3538
JAMES BROWN   10200 BURT RD                                                                                BIRCH RUN          MI     48415‐9339
JAMES BROWN   PO BOX 155                                                                                   GROVER             MO     63040‐0155
JAMES BROWN
                              09-50026-mg           Doc 7123-20       Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
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Name                          Address1                            Address2                       Address3                     Address4               City             State   Zip
JAMES BROWN                   4298 OAKLAWN DR.                                                                                                       JACKSON           MS     39206‐3972
JAMES BROWN                   BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                                         BOSTON HTS.       OH     44236
JAMES BROWN                   C/O PETWAY TUCKER & BARGANIER LLC   ATTN D BRUCE PETWAY ESQ        510 PARK PLACE TOWER, 2001                          BIRMINGHAM        AL     35203
                                                                                                 PARK PLACE NORTH
JAMES BROWN                   C/O COONEY AND CONWAY               120 NORTH LASALLE 30TH FLOOR                                                       CHICAGO           IL     60602
JAMES BROWN HANGER JR TRUST   C/O FIRST BANK & TRUST              PO BOX 2625                                                                        STAUNTON          VA     24402
JAMES BROWN JR                4 WOOLEY DR                                                                                                            ANNANDALE         NJ     08801‐3020
JAMES BROWN JR                1277 W JULIAH AVE                                                                                                      FLINT             MI     48505‐1409
JAMES BROWN JR                6215 VASSAR RD                                                                                                         GRAND BLANC       MI     48439‐9735
JAMES BROWN JR                RR 1 BOX 122                                                                                                           STRATFORD         OK     74872‐9715
JAMES BROWN JR                PO BOX 106                                                                                                             BRIDGEPORT        MI     48722‐0106
JAMES BROWN JR.               14324 DANTE AVE                                                                                                        DOLTON            IL     60419‐1326
JAMES BROWN, SR.
JAMES BROWNE                  51 MARSHALL CORNER WOODSVILLE RD                                                                                       HOPEWELL          NJ     08525‐2816

JAMES BROWNING                1201 HILLSIDE DR                                                                                                       ESKDALE          WV      25075‐9073
JAMES BROWNING                PO BOX 371690                                                                                                          DECATUR          GA      30037‐1690
JAMES BROWNING                4709 EAGLES WATCH LN                                                                                                   INDIANAPOLIS     IN      46254‐9529
JAMES BROWNING                PO BOX 4757                         C/O PUBLIC GUARDIAN                                                                CHATTANOOGA      TN      37405‐0757
JAMES BROWNLIE JR             132 SPARLING DR                                                                                                        SAGINAW          MI      48609‐5121
JAMES BROWNLIE SR             41564 WYE RD                                                                                                           MACOMB           OK      74852‐9041
JAMES BROYLES                 7265 N COUNTY ROAD 50 W                                                                                                LIZTON           IN      46149‐9493
JAMES BROYLES                 5009 HERMITAGE DR                                                                                                      ANDERSON         SC      29625‐6217
JAMES BROZOWSKI               29373 MOULIN AVE                                                                                                       WARREN           MI      48088‐8528
JAMES BRUCALE                 1167 N CARNEVALE TER                                                                                                   LECANTO          FL      34461‐7545
JAMES BRUCALE                 3105 DEER CHASE CT                                                                                                     SNELLVILLE       GA      30039‐6261
JAMES BRUCE                   340 N CEDAR ST                                                                                                         IMLAY CITY       MI      48444‐1178
JAMES BRUCE                   1012 RIDGE TRL                                                                                                         GOODLETTSVILLE   TN      37072‐8978
JAMES BRUCE                   2503 ANDRE AVE                                                                                                         JANESVILLE       WI      53545‐2215
JAMES BRUCE                   10203 RIDGE RD                                                                                                         MAHAFFEY         PA      15757‐8303
JAMES BRUCE                   122 HIGHLAND PL                                                                                                        SHEFFIELD        AL      35660‐7222
JAMES BRUCE                   2834 W 1000 S                                                                                                          PENDLETON        IN      46064‐8967
JAMES BRUCE                   1320 N BLAIR AVE                                                                                                       ROYAL OAK        MI      48067‐1436
JAMES BRUCE                   301 OVERLEASE ST                                                                                                       BRYAN            OH      43506‐9371
JAMES BRUCE                   BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                                         BOSTON HTS.      OH      44236
JAMES BRUECK                  6103 MIDDLE LAKE RD                                                                                                    CLARKSTON        MI      48346‐2048
JAMES BRUESEHOFF              4201 HILLCREST DR                                                                                                      WARREN           MI      48092‐4334
JAMES BRUGGER                 2102 BALSAM LANE                                                                                                       GRAND BLANC      MI      48439‐7390
JAMES BRUHN                   15533 GARFIELD AVE                                                                                                     ALLEN PARK       MI      48101‐2016
JAMES BRUMBAUGH               5052 EMERSON COURT SOUTH DR                                                                                            INDIANAPOLIS     IN      46218‐3136
JAMES BRUMMETT                5840 E COUNTY ROAD 800 N                                                                                               BROWNSBURG       IN      46112‐8818
JAMES BRUNDIGE                121 BINDON DR                                                                                                          NORTH BRANCH     MI      48461‐9662
JAMES BRUNETT                 148 COLONY LN                                                                                                          ROCHESTER        NY      14623‐5414
JAMES BRUNING                 963 LOCUST CT                                                                                                          MASON            OH      45040‐1467
JAMES BRUNSON                 6116 E SAN MARINO                                                                                                      TUCSON           AZ      85715‐3016
JAMES BRUNTON                 1896 HIGHLANDER DR                                                                                                     XENIA            OH      45385‐1464
JAMES BRUNZELLE               865 N STATE ST                                                                                                         LOCKPORT         IL      60441‐2228
JAMES BRUSH                   23947 AVENIDA CRESCENTA                                                                                                VALENCIA         CA      91355‐3101
JAMES BRUSKE                  3340 N JACKSON                                                                                                         CARROLLTON       MI      48724
JAMES BRYAN                   8935 E 206TH ST                                                                                                        NOBLESVILLE      IN      46060‐1004
JAMES BRYAN                   138 HUFFER RD                                                                                                          HILTON           NY      14468‐9514
JAMES BRYAN                   21701 FRANCIS ST                                                                                                       ST CLAIR SHRS    MI      48082‐1920
JAMES BRYAN JR.               27299 RONEY AVE                                                                                                        BROWNSTOWN TWP   MI      48183‐4848
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Name                Address1                          Address2                     Address3   Address4               City               State Zip
JAMES BRYANS JR     648 MINCEY WOODS CT                                                                              STONE MOUNTAIN      GA 30087‐5620
JAMES BRYANT        APT 658                           8160 NECTAR DRIVE                                              CANTON              MI 48187‐4184
JAMES BRYANT        2614 E L T TOWNLINE RD                                                                           BELOIT              WI 53511‐8942
JAMES BRYANT        22555 E 11 MILE RD                                                                               SAINT CLAIR SHORES MI 48081‐1385

JAMES BRYANT        6274 FAIRHAVEN RD                                                                                MAYFIELD HEIGHTS   OH   44124‐4109

JAMES BRYANT        9500 OAKHILL RD                                                                                  HOLLY              MI   48442‐8723
JAMES BRYANT        2471 PAULS PATH RD                                                                               KINSTON            NC   28504‐9034
JAMES BRYANT        PARK TERRACE APRT 1108            805 SCHOOL ST                                                  RAHWAY             NJ   07065
JAMES BRYANT        539 GUM TREE CORNER RD                                                                           BRIDGETON          NJ   08302‐6549
JAMES BRYANT        3821 KILBURN RD                                                                                  RANDALLSTOWN       MD   21133‐4655
JAMES BRYANT        1038 HILLWOOD DR                                                                                 LEWISVILLE         TX   75067‐5020
JAMES BRYANT        4420 PLACE PARK APT #4                                                                           FLINT              MI   48532
JAMES BRYANT        15020 LAKE DR                                                                                    IDLEWILD           MI   49642‐9642
JAMES BRYANT        805 SCHOOL ST APT 1108                                                                           RAHWAY             NJ   07065‐3569
JAMES BRYANT II     APT C                             1562 BEAVER RIDGE DRIVE                                        DAYTON             OH   45429‐4068
JAMES BRYANT JR     178 COUGAR TER                                                                                   HOT SPRINGS        AR   71913‐8084
JAMES BRYCE         6271 CADE RD                                                                                     BROWN CITY         MI   48416‐8938
JAMES BRYDE         2146 ALDWORTH ST                                                                                 PORT CHARLOTTE     FL   33980‐5742
JAMES BRYSON        2830 ORCHARD DR                                                                                  BLAIRSVILLE        GA   30512‐2850
JAMES BRZEZICKI     239 POINCIANA PKWY                                                                               CHEEKTOWAGA        NY   14225‐5211
JAMES BRZYCKI       6495 CARLISLE HWY # 5                                                                            CHARLOTTE          MI   48813
JAMES BUBB          1421 GOVERNORS RIDGE CT                                                                          FRANKLIN           TN   37064‐8933
JAMES BUCAN         11211 BAYBERRY DR                                                                                BRUCE TWP          MI   48065‐3740
JAMES BUCHANAN      926 ALCOMA ST                                                                                    SHARON             PA   16146‐3422
JAMES BUCHANAN      8235 TRAVIS CT                                                                                   CARLISLE           OH   45005‐4035
JAMES BUCHANAN      8938 GARLAND ST                                                                                  CARLISLE           OH   45005‐3008
JAMES BUCHANAN      591 ELM DR                                                                                       CARLISLE           OH   45005‐3341
JAMES BUCHANAN      340 GARRETT CIR                                                                                  CARROLLTON         GA   30117‐9151
JAMES BUCHANAN      1128 SW CROSSING DR                                                                              LEES SUMMIT        MO   64081‐3239
JAMES BUCHANAN      5604 S COUNTY ROAD 300 W                                                                         GREENCASTLE        IN   46135‐8606
JAMES BUCHER JR     33 OUTLOOK CIR                                                                                   SWANNANOA          NC   28778‐9233
JAMES BUCHER JR     15667 MEADOW CT                                                                                  PLATTE CITY        MO   64079‐7235
JAMES BUCHHOLZ JR   4334 OAK TREE CT                                                                                 FENTON             MI   48430‐9165
JAMES BUCK          4811 E 500 SOUTH                                                                                 MIDDLETOWN         IN   47356
JAMES BUCK          620 W MAIN ST                                                                                    CANFIELD           OH   44406‐9788
JAMES BUCK          PO BOX 573                                                                                       SPRING ARBOR       MI   49283‐0573
JAMES BUCK JR       10742 WOLCOTT HILL RD                                                                            CAMDEN             NY   13316‐3854
JAMES BUCK JR       BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH   44236
JAMES BUCKEL        13508 N CENTER RD                                                                                CLIO               MI   48420‐9199
JAMES BUCKEY        125 HOMEWOOD RD                                                                                  MANSFIELD          OH   44906‐1323
JAMES BUCKHEISTER   CASCINO MICHAEL P                 220 SOUTH ASHLAND AVE                                          CHICAGO            IL   60607
JAMES BUCKINGHAM    11466 NORRIS RD                                                                                  DEWITT             MI   48820‐7730
JAMES BUCKLAND      11762 ALPS RD                                                                                    LYNDONVILLE        NY   14098‐9607
JAMES BUCKLES       PO BOX 1393                                                                                      ELIZABETHTON       TN   37644‐1393
JAMES BUCKLEY       5351 CASE RD                                                                                     N RIDGEVILLE       OH   44039‐1017
JAMES BUCKLEY       43445 HILLCREST DR                                                                               STERLING HTS       MI   48313‐2367
JAMES BUCKLEY       3267 NEWARK RD                                                                                   ATTICA             MI   48412‐9605
JAMES BUCKNER       12939 115TH ST                                                                                   LARGO              FL   33778‐1804
JAMES BUCKNER,SR    7312 W SOMERSET RD                                                                               APPLETON           NY   14008‐9614
JAMES BUCKOSH       BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH   44236
JAMES BUCZKOWSKI    2 ZACHARY CIR                                                                                    WATERVILLE         OH   43566‐1095
JAMES BUDA          115 FILLMORE PL                                                                                  BAY CITY           MI   48708‐5562
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Name                     Address1                       Address2              Address3         Address4               City              State   Zip
JAMES BUDDE              7665 HIGHLAND DR                                                                             GASPORT            NY     14067‐9265
JAMES BUDROW             17 JEANNETTE ST                                                                              BRISTOL            CT     06010‐7035
JAMES BUEHLER            2759 W SID DR                                                                                SAGINAW            MI     48601‐9205
JAMES BUEHNER            RR 6 BOX 244                                                                                 EUFAULA            OK     74432‐9434
JAMES BUEKER             2225 BURNSIDE DR                                                                             W CARROLLTON       OH     45439‐2703
JAMES BUERKY             504 SHAWN DR                                                                                 BELTON             MO     64012‐3226
JAMES BUERSCHEN          3626 GREENBAY DR                                                                             DAYTON             OH     45415‐2017
JAMES BUGBEE             5269 HUNT RD                                                                                 ONONDAGA           MI     49264‐9712
JAMES BUGGIA             4144 E VERMONTVILLE HWY                                                                      POTTERVILLE        MI     48876‐9727
JAMES BUGGIA             9815 SONORA DR                                                                               FREELAND           MI     48623‐8820
JAMES BUGGS              2508 STINSON DR                                                                              FORT WAYNE         IN     46816‐4063
JAMES BUGGS              5180 HOTCHKISS RD                                                                            LOWELL             MI     49331‐8730
JAMES BUGOS              4564 N LEAVITT RD NW                                                                         WARREN             OH     44485‐1145
JAMES BUJAKI SR          408 MELROSE LN                                                                               MOUNT MORRIS       MI     48458‐8943
JAMES BUJOUVES           4330 PEBBLE CREEK CT                                                                         SAGINAW            MI     48603‐5210
JAMES BUKAWESKI          3532 HENSLER PL                                                                              SAGINAW            MI     48603‐7238
JAMES BUKOSKI            2214 VICKORY RD                                                                              CARO               MI     48723‐9696
JAMES BULEMORE           1057 LESTER AVE                                                                              YPSILANTI          MI     48198‐6435
JAMES BULIS              2736 W LINCOLN AVE APT 258                                                                   ANAHEIM            CA     92801‐7329
JAMES BULLARD            2268 ORE CREEK LN                                                                            BRIGHTON           MI     48114‐6907
JAMES BULLEN             8334 CHICKAMAUGA TRL                                                                         SHREVEPORT         LA     71107‐9508
JAMES BULLINGTON         4818 DEER LODGE RD                                                                           NEW PORT RICHEY    FL     34655‐4348
JAMES BULLOCK            7621 E BANNISTER RD                                                                          KANSAS CITY        MO     64134‐1612
JAMES BULLOCK            193 S ROBINSON DR                                                                            SOMERSET           KY     42503‐4204
JAMES BULLOCK            1865 WOODLAND DR                                                                             OWOSSO             MI     48867‐8902
JAMES BULLS              22105 FABIUS DR                                                                              LAKE ST LOUIS      MO     63367‐1999
JAMES BULLY              12851 CIMARRON DR                                                                            BIRCH RUN          MI     48415‐9315
JAMES BUMGARDNER         8670 HERBERT RD                                                                              CANFIELD           OH     44406‐9783
JAMES BUMGARNER          402 REGAL TOWERS                                                                             MARYVILLE          TN     37804‐5707
JAMES BUMGARNER          250 E NORTHFIELD DR #153                                                                     BROWNSBURG         IN     46112
JAMES BUNCH              765 CHERRY BOTTOM RD                                                                         CARYVILLE          TN     37714‐3624
JAMES BUNGER             15727 W MI 36                                                                                PINCKNEY           MI     48169‐9717
JAMES BUNKER             5386 CRESTWOOD DR                                                                            GRAND BLANC        MI     48439‐4318
JAMES BUNN               108 PATILLO RD                                                                               STOCKBRIDGE        GA     30281‐1416
JAMES BUNN               507 RAILROAD AVE                                                                             LEWES              DE     19958‐1442
JAMES BUNN               PO BOX 225                                                                                   SENOIA             GA     30276‐0230
JAMES BUNNELL            47870 BELLAGIO CT                                                                            NORTHVILLE         MI     48167‐9805
JAMES BUR                4030 RASPBERRY LN                                                                            BURTON             MI     48529‐2200
JAMES BURANDT            3462 LOWER MOUNTAIN RD                                                                       SANBORN            NY     14132‐9112
JAMES BURCH              677 ROCKY CRK E                                                                              BEDFORD            IN     47421‐6579
JAMES BURCH              430 GOWELI TRAIL                                                                             VONORE             TN     37885‐2691
JAMES BURCH              483 BAY ST                                                                                   PONTIAC            MI     48342‐1914
JAMES BURCHETTE          125 NANCY PT                                                                                 SPRING CITY        TN     37381‐6279
JAMES BURCHFIELD         18673 BEVERLY DR                                                                             NORTH BENTON       OH     44449‐9605
JAMES BURDETT            1065 N COUNTY ROAD 1050 E                                                                    INDIANAPOLIS       IN     46234‐9025
JAMES BURDINE            5220 HAYWOOD DR                                                                              KEITHVILLE         LA     71047‐7978
JAMES BURG JR            44 CAMDEN AVE                                                                                DAYTON             OH     45405‐2201
JAMES BURG TRUCKING CO   27275 MOUND RD                                                                               WARREN             MI     48092‐4554
JAMES BURGDORF           3744 KAREN PKWY APT 204                                                                      WATERFORD          MI     48328‐4683
JAMES BURGE              10119 BERESFORD CT                                                                           FISHERS            IN     46038‐5666
JAMES BURGE              224 ORCHARD AVE                                                                              KANKAKEE            IL    60901‐4317
JAMES BURGE JR           4601 KINSDALE DR SW                                                                          MABLETON           GA     30126‐5557
JAMES BURGER             1433 W TRASK LAKE RD                                                                         BARTON CITY        MI     48705‐9708
JAMES BURGESS            6721 CARNATION ST APT C                                                                      RICHMOND           VA     23225‐7922
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Name               Address1                     Address2               Address3         Address4               City           State   Zip
JAMES BURGESS      5360 MADISON HWY #34                                                                        VALDOSTA        GA     31501‐2384
JAMES BURGESS      2930 CENTRE CT                                                                              INDIANAPOLIS    IN     46203‐5517
JAMES BURGESS      240 E FRANKLIN ST                                                                           CIRCLEVILLE     OH     43113‐1720
JAMES BURGESS      1227 SEATON ROAD             T61                                                            DURHAM          NC     27713
JAMES BURGESS      5062 N CENTER RD                                                                            FLINT           MI     48506‐1042
JAMES BURGESS      36215 HARROUN CT                                                                            WAYNE           MI     48184‐2012
JAMES BURGESS      1399 TABOR LOOP                                                                             CROSSVILLE      TN     38571‐0556
JAMES BURGESS      422 OBED RIVER RD                                                                           CROSSVILLE      TN     38555‐6818
JAMES BURGESS      PO BOX 2625                                                                                 ANDERSON        IN     46018‐2625
JAMES BURGET       2 WHITAKER CT                                                                               BEAR            DE     19701‐2383
JAMES BURGETT      898 S RACEWAY RD                                                                            INDIANAPOLIS    IN     46231‐1690
JAMES BURGETT      3 S MILLER ST                                                                               SEBEWAING       MI     48759‐1333
JAMES BURGETTE     7020 WINBURN DR                                                                             GREENWOOD       LA     71033‐3218
JAMES BURGIO       2472 PARKER BLVD                                                                            TONAWANDA       NY     14150‐4506
JAMES BURGUNDER    5829 HATCHERY RD                                                                            WATERFORD       MI     48329‐3325
JAMES BURKART      605 RIVER ST                                                                                OSCEOLA         WI     54020‐8079
JAMES BURKART      3922 W HARBOR RD                                                                            PORT CLINTON    OH     43452‐9032
JAMES BURKE        15522 BEALFRED DR                                                                           FENTON          MI     48430‐1714
JAMES BURKE        2288 BIRD RD                                                                                ORTONVILLE      MI     48462‐9042
JAMES BURKE        1539 ROOSEVELT AVE                                                                          NILES           OH     44446‐4105
JAMES BURKE        10533 PINEVIEW CIR                                                                          KEITHVILLE      LA     71047‐9551
JAMES BURKE        161 RED MAPLE ROAD                                                                          SMYRNA          DE     19977‐5226
JAMES BURKE        1885 ASHBROOK DR                                                                            CINCINNATI      OH     45238‐4021
JAMES BURKE        2468 WESTSIDE DR                                                                            NORTH CHILI     NY     14514‐1041
JAMES BURKE        117 BERRY DR                                                                                CLINTON         MS     39056‐3101
JAMES BURKE        6700 CAINE RD                                                                               VASSAR          MI     48768‐9221
JAMES BURKE        23593 PORTAGE LAKE RD                                                                       MENDON          MI     49072‐9737
JAMES BURKE II     4345 ARCADIA DR                                                                             AUBURN HILLS    MI     48326‐1895
JAMES BURKETT JR   401 105TH AVE                                                                               PLAINWELL       MI     49080‐9575
JAMES BURKHARDT    5748 BARNUM RD                                                                              AKRON           NY     14001‐9462
JAMES BURKHART     3654 E 550 N                                                                                MARION          IN     46952‐9123
JAMES BURKHEART    1951 BRENTNELL AVE                                                                          COLUMBUS        OH     43219‐1215
JAMES BURKOWSKI    47695 7 MILE RD                                                                             NORTHVILLE      MI     48167‐9208
JAMES BURKS        110 DANIELS LN                                                                              ROCKINGHAM      NC     28379‐9113
JAMES BURKS        9048 HUNTERS RIDGE DR                                                                       OLIVE BRANCH    MS     38654‐5736
JAMES BURKS        6326 BARNES RD                                                                              MILLINGTON      MI     48746‐9553
JAMES BURLENSKI    15747 OCEANA AVE                                                                            ALLEN PARK      MI     48101‐1941
JAMES BURLESON     116 CHEROKEE DR                                                                             MOORESBURG      TN     37811‐2451
JAMES BURLINGAME   450 W CHERRY ST APT A                                                                       TROY            MO     63379‐1294
JAMES BURLOVICH    3273 TOWNSHIP ROAD 629                                                                      LOUDONVILLE     OH     44842‐9587
JAMES BURNAM       2335 WILBUR RD                                                                              MARTINSVILLE    IN     46151‐6812
JAMES BURNETT      179 OXFORD AVE                                                                              BUFFALO         NY     14209‐1213
JAMES BURNETT      4318 E COLDWATER RD                                                                         FLINT           MI     48506‐1054
JAMES BURNETT      27025 BRANTON                                                                               NOVI            MI     48377‐3768
JAMES BURNETT      212 PARK PL                                                                                 COLUMBIANA      OH     44408‐1153
JAMES BURNETT      8548 SPRINGTREE RD                                                                          JACKSONVILLE    FL     32210‐9602
JAMES BURNEY       2806 SPAULDING DR                                                                           WILMINGTON      NC     28405‐2033
JAMES BURNEY       3320 SANTA ROSA ST                                                                          JACKSON         MS     39209‐6107
JAMES BURNLEY      210 HAYES TRCE                                                                              HIRAM           GA     30141‐5804
JAMES BURNS        1716 N HANOVER AVE                                                                          INDEPENDENCE    MO     64056‐1425
JAMES BURNS        PO BOX 1434                                                                                 CLARKSTON       MI     48347‐1434
JAMES BURNS        298 N WILLOWLAWN PKWY                                                                       BUFFALO         NY     14206‐2431
JAMES BURNS        PO BOX 167                                                                                  YOUNGSTOWN      NY     14174
JAMES BURNS        27 ACRES DR                                                                                 RIDLEY PARK     PA     19078‐1707
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JAMES BURNS        10220 E EATON ALBANY PIKE                                                                       ALBANY              IN     47320‐9029
JAMES BURNS        1159 KINGSTON AVE                                                                               FLINT               MI     48507‐4741
JAMES BURNS        PO BOX 358                                                                                      CENTRAL LAKE        MI     49622‐0358
JAMES BURNS        1038 THE LOOP RD                                                                                WALLAND             TN     37886‐2448
JAMES BURNS        3688 OLD OAK TRL                                                                                PRUDENVILLE         MI     48651‐9205
JAMES BURNS        PO BOX 420                                                                                      CURTIS              MI     49820‐0420
JAMES BURNS        4091 N 300 E                                                                                    MARION              IN     46952‐6815
JAMES BURNS        436 BEAVER RD                                                                                   SOUTHAMPTON         PA     18966‐3503
JAMES BURNS        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.         OH     44236
JAMES BURR         PO BOX 262                                                                                      BYRON               MI     48418‐0262
JAMES BURR         4604 LAUREL RD                                                                                  BRUNSWICK           OH     44212‐3222
JAMES BURRELL      678 MOUNTAIN PARK RD                                                                            WOODSTOCK           GA     30188‐4773
JAMES BURRELL      616 CHERATON RD 900001                                                                          BROOKLYN            MD     21225
JAMES BURRELL      525 FALCON CRST W                                                                               PLANT CITY          FL     33565‐2855
JAMES BURRELL      720 WESTON ST                                                                                   LANSING             MI     48917‐4171
JAMES BURRIS       2412 BANCROFT WAY                                                                               BUFORD              GA     30519‐2213
JAMES BURRIS       1609 S M ST                                                                                     ELWOOD              IN     46036‐2846
JAMES BURRIS       1746 W COUNTY ROAD 400 N                                                                        NEW CASTLE          IN     47362‐9249
JAMES BURROUGHS    8244 FAIRHILL DR NE                                                                             WARREN              OH     44484‐1915
JAMES BURROW       636 SHADOWBROOK DR                                                                              COLUMBIA            TN     38401‐7765
JAMES BURRUS JR    122 HOBO RD                                                                                     DAVISVILLE          MO     65456‐4002
JAMES BURT         4394 SOUTHACRE LN                                                                               ROCHESTER           MI     48306‐4640
JAMES BURT         2044 SIFIELD GREENS WAY                                                                         SUN CITY CENTER     FL     33573‐7168
JAMES BURT         775 S HURD RD                                                                                   OXFORD              MI     48371‐2837
JAMES BURTCEL      9 MCCAY DR                                                                                      ROEBLING            NJ     08554‐1919
JAMES BURTON       3051 COURTZ ISLE                 BUILDING 9 APT3                                                FLINT               MI     48532
JAMES BURTON       41736 BROWNSTONE DR                                                                             NOVI                MI     48377‐4801
JAMES BURTON       13559 S WRIGHT RD                                                                               EAGLE               MI     48822‐9784
JAMES BURTON       17151 MALADY RD                                                                                 MOUNT ORAB          OH     45154‐9569
JAMES BURTON       2217 CHRISTOPHER ST                                                                             ADRIAN              MI     49221‐9475
JAMES BURTON       1023 BRISTOL DR                                                                                 RAYMORE             MO     64083‐9054
JAMES BURYA        2484 PALMER DR                                                                                  WILLOUGHBY HILLS    OH     44094‐9128

JAMES BURZYNSKI    2414 W GERMAN RD                                                                                BAY CITY           MI      48708‐9652
JAMES BUSH         7057 BOSTWICK RD                                                                                SHREVEPORT         LA      71107‐8947
JAMES BUSH         32710 LYNDON ST                                                                                 LIVONIA            MI      48154‐4104
JAMES BUSH         5276 SPRINGBORO RD                                                                              LEBANON            OH      45036‐9009
JAMES BUSH         14175 EUREKA RD                                                                                 COLUMBIANA         OH      44408‐9784
JAMES BUSH         75 ANN RD                                                                                       GRAYSON            KY      41143‐6725
JAMES BUSH         1041 TUSKEGEE ST                                                                                GRAND PRAIRIE      TX      75051‐2637
JAMES BUSH JR      650 MAXWELL HILL RD                                                                             PULASKI            TN      38478‐8162
JAMES BUSHELLE     4042 SARATOGA DR                                                                                JANESVILLE         WI      53546‐1439
JAMES BUSKIRK      2554 W STERLING RD                                                                              BURBANK            OH      44214‐9564
JAMES BUSKUS       7923 160TH ST                                                                                   TINLEY PARK        IL      60477‐6749
JAMES BUTCHER      14861 WILLIAMS CT                                                                               GIBRALTAR          MI      48173‐9419
JAMES BUTCHER      5919 TODD RD                                                                                    CROSWELL           MI      48422‐8794
JAMES BUTCHER JR   PO BOX 866                                                                                      WEST VAN LEAR      KY      41268
JAMES BUTKUS       12960 CREEKVIEW DR E                                                                            SHELBY TOWNSHIP    MI      48315‐4710
JAMES BUTLER       901 HILLCREST RD                                                                                HANOVER            MD      21076‐1503
JAMES BUTLER       524 W 53RD ST APT 301                                                                           ANDERSON           IN      46013‐1599
JAMES BUTLER       14835 TRACEY STREET                                                                             DETROIT            MI      48227‐3266
JAMES BUTLER       2624 TEMPLEWOOD DR                                                                              HOLIDAY            FL      34690‐3840
JAMES BUTLER       239 W CHESTNUT ST                                                                               PETERSBURG         MI      49270‐9399
JAMES BUTLER       9579 INDIANA ST                                                                                 FANNING SPRINGS    FL      32693‐9454
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Name                          Address1                      Address2                Address3       Address4               City              State   Zip
JAMES BUTLER                  2450 W WATER ST                                                                             YUMA               AZ     85364‐1130
JAMES BUTLER                  414 E 114TH ST                                                                              CARMEL             IN     46032‐4502
JAMES BUTLER                  586 LINDA VISTA DR                                                                          PONTIAC            MI     48342‐1648
JAMES BUTLER                  4514 CONNIE AVE                                                                             EIGHT MILE         AL     36613‐3403
JAMES BUTLER                  PO BOX 14681                                                                                SAGINAW            MI     48601‐0681
JAMES BUTLER                  PO BOX 276                                                                                  BRINKHAVEN         OH     43006‐0276
JAMES BUTLER                  CASCINO MICHAEL P             220 SOUTH ASHLAND AVE                                         CHICAGO             IL    60607
JAMES BUTLER JR               2066 WESTBROOK RD                                                                           EDGEMOOR           SC     29712‐6734
JAMES BUTLER JR               89 ORIOLE RD                                                                                PONTIAC            MI     48341‐1563
JAMES BUTT                    404 SUMMIT RD                                                                               ROSCOMMON          MI     48653‐8637
JAMES BUTTS                   294 QUARRY AVE                                                                              CAPITOL HEIGHTS    MD     20743
JAMES BUTTS                   13926 N SANFORD RD                                                                          MILAN              MI     48160‐9603
JAMES BUZBEE                  4241 DAN DR                                                                                 HARRISON           MI     48625‐8776
JAMES BYERLY                  3055 FELIX DR                                                                               SOUTH PARK         PA     15129‐9088
JAMES BYERS                   4628 BRASELTON HWY                                                                          HOSCHTON           GA     30548‐1705
JAMES BYINGTON                41 CLARE RD                                                                                 NEW FLORENCE       MO     63363‐2305
JAMES BYLICA                  5923 BROWN LN                                                                               SYLVANIA           OH     43560‐4501
JAMES BYRD                    4199 MCMICHAEL AVE                                                                          SHREVEPORT         LA     71119‐7517
JAMES BYRD                    46 SUSSEX DR                                                                                WILLINGBORO        NJ     08046‐1430
JAMES BYRD                    1780 WEST HUNTSVILLE ROAD                                                                   PENDLETON          IN     46064‐9487
JAMES BYRD                    381 BYRD RD                                                                                 OXFORD             GA     30054‐3876
JAMES BYRD                    1359 LOSEY RD                                                                               RIVES JCT          MI     49277‐9763
JAMES BYRD                    7675 THOMAS RD                                                                              CASS CITY          MI     48726‐9668
JAMES BYRD                    977 N UNION RD                                                                              FRANKFORT          IN     46041‐7113
JAMES BYRD                    1600 TREE TRUNK LN                                                                          CHAPEL HILL        TN     37034‐2064
JAMES BYRD                    4174 OLD SALEM RD                                                                           ENGLEWOOD          OH     45322
JAMES BYRD JR                 25061 STANFORD ST                                                                           DEARBORN HTS       MI     48125‐1621
JAMES BYRER                   44444 N SHANGRI LA LN                                                                       PHOENIX            AZ     85087‐7988
JAMES BYRNE                   8137 POWELL HWY                                                                             FENWICK            MI     48834‐9626
JAMES BYRNE                   PO BOX 3587                                                                                 WICHITA FALLS      TX     76301‐0587
JAMES BYRNES                  1405 NE MULBERRY ST                                                                         LEES SUMMIT        MO     64086‐5952
JAMES BYRNES                  11185 N BETHEL RD                                                                           MOORESVILLE        IN     46158‐6940
JAMES BYRUM                   902 S MERIDIAN RD                                                                           MASON              MI     48854‐9648
JAMES C ALEXANDER, PERSONAL   C/O BRAYTON PURCELL           222 RUSH LANDING RD                                           NOVATO             CA     94948‐6169
REPRESENTATIVE FOR JAMES D
ALEXANDER II
JAMES C AMBURGEY              183 DUNDEE                                                                                  HAZEL GREEN       AL      35750‐7004
JAMES C BANKS                 4208 LEWIS ST                                                                               MIDDLETOWN        OH      45044‐6145
JAMES C BARTON                260 CHRISTINA WAY                                                                           CARLISLE          OH      45005
JAMES C BECKETT               2814 EAST AVE                                                                               LEBANON           OH      45036‐1111
JAMES C BENNETT               1644 JOSELIN RD                                                                             DAYTON            OH      45432‐3648
JAMES C BLACK                 6104 KINGS BROOK CT                                                                         LAS VEGAS         NV      89149‐3205
JAMES C BLUEDORN              389 HAZELWOOD AVE SE                                                                        WARREN            OH      44483‐6137
JAMES C BOYD                  26585 SUMMERDALE DR                                                                         SOUTHFIELD        MI      48033‐2223
JAMES C BOYLE R/O IRA         FCC AS CUSTODIAN              PO BOX 147                                                    CAPTIVA           FL      33924‐0147
JAMES C BRANSON               790 BEACHLER DR                                                                             CARLISLE          OH      45005
JAMES C BROWN                 302 CHAMPION BRISTOLTOWN RD                                                                 WARREN            OH      44481‐‐ 94
JAMES C BULIS                 2736 W. LINCOLN AVE. #258                                                                   ANAHEIM           CA      92801‐7329
JAMES C CLEGG                 PO BOX 2237                                                                                 NAPA              CA      94558‐0223
JAMES C COLE                  564 MALLARD ST                                                                              ROCHESTER HILLS   MI      48309
JAMES C COOLEY‐MURDOCK        1141 E YALE AVE                                                                             FLINT             MI      48505‐1518
JAMES C COOPER                260 E LAKEVIEW DR                                                                           NINEVEH           IN      46164
JAMES C CORDRAY               6168 CARNATION RD                                                                           DAYTON            OH      45449‐3062
JAMES C COTTLE                880 FAWCETT DR                                                                              BEAVER CREEK      OH      45434‐6145
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Name                               Address1                      Address2              Address3         Address4               City           State   Zip
JAMES C COX                        129 KLEE AVE                                                                                DAYTON          OH     45403‐2933
JAMES C CULVER MD PC               PO BOX 320098                                                                               FLINT           MI     48532‐0002
JAMES C DAVIDSON                   6358 ROUTZONG RD                                                                            GREENVILLE      OH     45331
JAMES C DUNCAN                     310 S. LEAVITT                                                                              LEAVITTSBURG    OH     44430‐9714
JAMES C DUNCAN AND MARY M DUNCAN   131 TERRACE RD                                                                              SCOTT DEPOT     WV     25560‐8803

JAMES C EDELSTON                   55 FOX ST                                                                                   HUBBARD        OH      44425
JAMES C EVANS                      813 WILLIAMS AVE                                                                            WALNUTPORT     PA      18088
JAMES C EWING                      690 STATE ROUTE 88 NW                                                                       BRISTOLVILLE   OH      44402‐9731
JAMES C FAHRENHOLZ                 14928 KIEFER RD.                                                                            GERMANTOWN     OH      45327
JAMES C FAIR                       412 WEST JAMIESON STREET                                                                    FLINT          MI      48505‐6616
JAMES C FERGUSON                   PO BOX 915                                                                                  WAYNESVILLE    OH      45068
JAMES C FITZPATRICK                8015 BELMONT COURT                                                                          NAPLES         FL      34113‐2671
JAMES C FLANNERY                   41 MISSOURI AVE                                                                             DAYTON         OH      45410‐2013
JAMES C FLANNERY                   2037 HOMESITE DR                                                                            DAYTON         OH      45414‐4019
JAMES C FOX                        1440 OAK LEAF DR                                                                            COLUMBIA       TN      38401‐8803
JAMES C FRALEY                     2817 WHITEHORSE AVE                                                                         DAYTON         OH      45420‐3922
JAMES C FRAZIER                    3962 KEMP RD                                                                                BEAVERCREEK    OH      45431‐2310
JAMES C FRY                        2208 HOMESITE DRIVE                                                                         DAYTON         OH      45414
JAMES C FRYE                       76‐6230A PLUMERIA ST                                                                        KAILUA KONA    HI      96740
JAMES C GIBSON                     425 HAZELHURST ST                                                                           NEW LEBANON    OH      45345
JAMES C GIDDEON                    121 POLARIS ST                                                                              ROCHESTER      NY      14606
JAMES C GRAY                       4130 AUDUBON ST                                                                             SLIDELL        LA      70461‐1635
JAMES C GRIZZLE                    1855 BON REA DR                                                                             ROCK HILL      SC      29730‐3007
JAMES C HAKES                      219 DUPONT AVE                                                                              TONAWANDA      NY      14150‐7816
JAMES C HALSEY                     1901 POLARIS AVE                                                                            RACINE         WI      53404‐2254
JAMES C HAMILTON                   3383 HIGHWAY 78                                                                             RUSSELLVILLE   AL      35654
JAMES C HARGIS                     1152 SHOPVILLE RD                                                                           SOMERSET       KY      42503
JAMES C HARRIS                     25 FIELD RD                                                                                 MAPLEWOOD      NJ      07040‐3301
JAMES C HARROLD REV TRUST          330 FRANCIS AVE CT                                                                          TERRE HAUTE    IN      47804‐1080
JAMES C HENDERSON                  APT E                         6 SPANISH TRAIL                                               ROCHESTER      NY      14612‐4604
JAMES C HENDERSON JR               1330 W ALEXIS RD LOT 139                                                                    TOLEDO         OH      43612‐4267
JAMES C HILL                       2580 TRADEWINDS DR                                                                          ROSEVILLE      CA      95747‐7142
JAMES C HOWARD                     676 PALLISTER ST                                                                            DETROIT        MI      48202‐2419
JAMES C HOWARD                     400 N 8TH ST                                                                                GADSDEN        AL      35903‐1616
JAMES C IDZIOR                     356 W LINWOOD RD                                                                            LINWOOD        MI      48634‐9525
JAMES C JEWELL                     2452 RAND AVE                                                                               DAYTON         OH      45439‐2859
JAMES C JURICH                     3134 DORF DR                                                                                DAYTON         OH      45418‐2905
JAMES C KINSER                     59 CENTER STREET                                                                            CEDARVILLE     OH      45314‐9505
JAMES C KRISTANOFF SR              305 QUAIL RUN RD                                                                            MIDDLETOWN     OH      45042‐3839
JAMES C LAWS                       19829 SUNSET LN                                                                             APPLE VALLEY   CA      92308‐6167
JAMES C LEAVER                     3284 OAKWOOD DR                                                                             CUYAHOGA FLS   OH      44221‐1462
JAMES C LEBEAU                     29 SPICEWOOD LN                                                                             ROCHESTER      NY      14624‐3749
JAMES C LEFFEW                     115 W LOWERY AVE                                                                            W CARROLLTON   OH      45449‐1751
JAMES C LEWIS                      PO. BOX 420376                                                                              MIDDLETOWN     OH      45042
JAMES C LOMAGLIO                   92 ROSE DUST DR                                                                             ROCHESTER      NY      14626‐1091
JAMES C LOVE                       2110 N M65                                                                                  CURRAN         MI      48728
JAMES C LOWE                       210 WHISPERING PINES ST                                                                     SPRINGBORO     OH      45066‐9741
JAMES C LOYD                       202 APACHE CIR                                                                              PULASKI        TN      38478
JAMES C LUMLEY                     8267 JAMAICA                                                                                GERMANTOWN     OH      45327‐8760
JAMES C MALONEY                    2590 E CODY ESTEY RD                                                                        PINCONNING     MI      48650‐9728
JAMES C MARTIN                     BEATRICE G MARTIN JT TEN      435 MAPLEWOOD DR                                              VINTON         VA      24179
JAMES C MASTERS                    2848 WINTON DR                                                                              KETTERING      OH      45419‐2317
JAMES C MAURER                     7170 OAK HWY                                                                                CHARLOTTE      MI      48813‐9341
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Name                   Address1                         Address2                     Address3          Address4               City              State Zip
JAMES C MAYLE          37510 JEFFERSON AVE APT 101                                                                            HARRISON           MI 48045‐2672
                                                                                                                              TOWNSHIP
JAMES C MCCLAIN        2843 WYOMING DR                                                                                        XENIA             OH   45385‐4443
JAMES C MILLER         BOX 263 ROUTE 3                                                                                        ISANTI            MN   55040
JAMES C MILLER         NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD      TX   75638
JAMES C MITCHELL       530 ELEANOR DRIVE                                                                                      DAYTON            OH   45417‐2006
JAMES C MITCHELL       5120 OSCEOLA DR                                                                                        DAYTON            OH   45427‐2115
JAMES C MONTGOMERY     C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                            BOSTON HEIGHTS    OH   44236
JAMES C MOORE          4224 W HILL AVE.                                                                                       FULLERTON         CA   92833
JAMES C MOORE          360 HURON AVE                                                                                          DAYTON            OH   45417
JAMES C MOOREHEAD      1530 PRIMROSE AVE                                                                                      TOLEDO            OH   43612‐4029
JAMES C MORRIS SR      C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                             HOUSTON           TX   77007
                       BOUNDAS LLP
JAMES C MORTEN SR      1644 SARASOTA DR                                                                                       TOLEDO            OH   43612‐4057
JAMES C MORTON ESQ     SUITE 1350 TWO MIDTOWN PLAZA     1349 WEST PEACHTREE ST                                                ATLANTA           GA   30309
JAMES C NOLTE          17199 BROCKPORT HOLLEY RD                                                                              HOLLEY            NY   14470
JAMES C PARHAM         701 BURKE GLEN RD                                                                                      TOLEDO            OH   43607‐2505
JAMES C PARKER         1543 APPLE CREEK TRL                                                                                   GRAND BLANC       MI   48439‐4963
JAMES C PRICE          PO BOX 7512                                                                                            TYLER             TX   75711‐7512
JAMES C PYATT          1686 SELKIRK                                                                                           DAYTON            OH   45432
JAMES C PYLES          555 PARK DR                                                                                            CARLISLE          OH   45005‐3384
JAMES C REYNOLDS       2130 BOTT ST                                                                                           YOUNGSTOWN        OH   44505‐3807
JAMES C RIGGINS        1435 HOCKWALT AVENUE                                                                                   DAYTON            OH   45408‐1823
JAMES C RILEY          BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS        OH   44236
JAMES C ROBERTS        8517 CHAMBERSBURG RD                                                                                   DAYTON            OH   45424
JAMES C ROSSI          523 ROLLING GREEN DR                                                                                   BETHEL PARK       PA   15102‐3774
JAMES C ROUSH          9495 LAKESIDE DR                                                                                       YPSILANTI         MI   48197‐6173
JAMES C SCARNECCHIA    5748 LOUISE AVE NW                                                                                     WARREN            OH   44483‐‐ 11
JAMES C SEEDLE         366 BUENA VISTA AVE                                                                                    COLUMBUS          OH   43228‐1190
JAMES C SERGENT        4243 S ST RT 48                                                                                        WEST MILTON       OH   45383‐1926
JAMES C SIMS           216 TITHELO RD                                                                                         CANTON            MS   39046
JAMES C SPRINGFIELD    1513 LEWISON AVE NE                                                                                    GRAND RAPIDS      MI   49505‐5419
JAMES C STONER         1403 W. BROADWAAY #316           SPC 316                                                               APACHE JUNCTION   AZ   85120

JAMES C STONER         1403 W. BROADWAAY #316                                                                                 APACHE JUNCTION   AZ   85220‐5000

JAMES C STUART         501 RICOLD TER                                                                                         PORT CHARLOTTE    FL   33954‐2177
JAMES C STUCKEY        PO BOX 717                                                                                             SWARTZ            LA   71281‐0717
JAMES C TARDIFF JR     8401 LEWIS RD                                                                                          BIRCH RUN         MI   48415‐9611
JAMES C TENNY          176 RAINTREE LANE                                                                                      HILTON            NY   14468‐1454
JAMES C TERRY          6122 GREENFIELD RD                                                                                     FORT WORTH        TX   76135‐1307
JAMES C TOTTEN         2829 COUNTY LINE RD                                                                                    BATES CITY        MO   64011
JAMES C TUCKER         4824 E CRYSTAL LANE                                                                                    PARADISE VALLEY   AZ   85253
JAMES C TUCKER         2357 BROADMOOR DR                                                                                      KETTERING         OH   45419‐2816
JAMES C TYREE          7764 HYTHE CIR                                                                                         CENTERVILLE       OH   45459
JAMES C UHEN           PO BOX 343                                                                                             SHELBYVILLE       MI   49344‐0343
JAMES C VANWORMER      740 N JONES RD                                                                                         ESSEXVILLE        MI   48732‐9687
JAMES C VARNER         405 VANIMAN AVE                                                                                        TROTWOOD          OH   45426
JAMES C WATSON         3455 ERVA ST APT 102                                                                                   LAS VEGAS         NV   89117‐6348
JAMES C WEIKERT        200 WRIGHT AVENUE                                                                                      LEBANON           OH   45036‐2255
JAMES C WHITE          3825 WOODSIDE DR NW                                                                                    WARREN            OH   44483
JAMES C WHITEAKER      179 MARY GARDNER RD                                                                                    SPARTA            TN   38583‐2725
JAMES C WHITEAKER JR   179 MARY GARDNER RD                                                                                    SPARTA            TN   38583
JAMES C WHITTEKIEND    LYNN L WHITTEKIEND               13975 W ALASKA DR                                                     LAKEWOOD          CO   80228‐2305
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Name                         Address1                          Address2                         Address3   Address4               City            State Zip
JAMES C WILLIAMS SR          C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                          HOUSTON          TX 77007
                             BOUNDAS LLP
JAMES C WILSON               640 DELAWARE ST APT 408                                                                              DETROIT         MI   48202‐4407
JAMES C WINN                 PO BOX 1174                                                                                          CLEWISTON       FL   33440‐1774
JAMES C. AND JUNE R. HAUCK   6042 TERRACE DRIVE                                                                                   JOHNSTON        IA   50131
JAMES C. SALRIN
JAMES C. SCHMIESING          400 N TUSTIN AVE                  STE 290                                                            SANTA ANA       CA   92705‐3899
JAMES CABLE                  3894 ARTMAR DR                                                                                       AUSTINTOWN      OH   44515‐3301
JAMES CADA                   6397 GREAT OAKS TRL                                                                                  ALMONT          MI   48003‐9716
JAMES CADE                   RR 2 BOX 222                                                                                         ELMORE CITY     OK   73433‐9429
JAMES CADLE                  350 RUPARD RD                                                                                        STATESVILLE     NC   28625‐1528
JAMES CADY                   7299 RIDGE RD                                                                                        WADSWORTH       OH   44281‐9412
JAMES CAFFERY JR             PO BOX 1018                                                                                          STANDISH        MI   48658‐1018
JAMES CAFFIE                 PO BOX 1602                                                                                          WARREN          OH   44482‐1602
JAMES CAGALA                 5350 N RICH RD                                                                                       ALMA            MI   48801‐9532
JAMES CAGLE                  5155 UNION CHURCH RD                                                                                 FLOWERY BR      GA   30542‐5209
JAMES CAGLE                  5620 LASSITER MILL RD                                                                                ASHEBORO        NC   27205‐8021
JAMES CAHILL                 1778 NORTHEAST AVE                                                                                   KENT            OH   44240‐5100
JAMES CAHILL                 2337 BOUGHNER LAKE RD                                                                                PRESCOTT        MI   48756‐9371
JAMES CAHOON                 10580 GR RIVER AVENUE                                                                                LOWELL          MI   49331
JAMES CAHOURS                14083 SEYMOUR RD                                                                                     MONTROSE        MI   48457‐9773
JAMES CAIE JR                2670 COMFORT ST                                                                                      W BLOOMFIELD    MI   48323‐3707
JAMES CAIN                   5266 BAYVIEW STA                                                                                     NEWFANE         NY   14108‐9780
JAMES CAIN                   7203 AKRON RD                                                                                        LOCKPORT        NY   14094‐6205
JAMES CAIN                   5769 EMERSON AVE NW                                                                                  WARREN          OH   44483‐1119
JAMES CAIN                   1994 ALLEN RD                                                                                        SALEM           OH   44460‐1038
JAMES CAIN                   30 FAIRY DR                                                                                          HAMILTON        OH   45013‐4412
JAMES CAIN E (ESTATE OF)     EARLY LUDWICK & SWEENEY, L.L.C    ONE CENTRY TOWER, 11TH FLOOR,                                      NEW HAVEN       CT   06510
                                                               265 CHURCH
JAMES CAIN E ESTATE OF       EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                                     NEW HAVEN       CT   06510
                                                               265 CHURCH ST
JAMES CAIRNS                 2354 REGENCY HILLS DR                                                                                SHELBY TWP      MI   48316‐2060
JAMES CALABRIA               310 CHERRY AVE                                                                                       NILES           OH   44446‐2520
JAMES CALAI                  2503 KNOLLWOOD AVE                                                                                   POLAND          OH   44514‐1529
JAMES CALDWELL               5403 WESTLAKE AVE                                                                                    PARMA           OH   44129‐2337
JAMES CALDWELL               280 KERCHEVAL AVE                                                                                    GROSSE POINTE   MI   48236‐3106
                                                                                                                                  FARMS
JAMES CALDWELL               42 COUNTY ROAD 946                                                                                   LAKE CITY       AR   72437‐9084
JAMES CALDWELL               4091 WHITE OAK RD                                                                                    LONDON          KY   40741‐7315
JAMES CALDWELL               2572 RHODES DRIVE                                                                                    AUGUSTA         GA   30906‐2895
JAMES CALDWELL               2434 E STANLEY RD                                                                                    MOUNT MORRIS    MI   48458‐8979
JAMES CALDWELL               6741 WILLOW CREEK DR                                                                                 HUBER HEIGHTS   OH   45424‐2470
JAMES CALDWELL               5349 ALVA AVE NW                                                                                     WARREN          OH   44483‐1270
JAMES CALDWELL               3132 W 40TH ST                                                                                       CLEVELAND       OH   44109‐1222
JAMES CALDWELL               4916 HIGHWAY 178 N                                                                                   HODGES          SC   29653‐9621
JAMES CALDWELL               2939 LOWER MOUNTAIN RD                                                                               RANSOMVILLE     NY   14131‐9700
JAMES CALDWELL               4240 OAKHILL DR                                                                                      JACKSON         MS   39206
JAMES CALDWELL I I I         618 COLESCOTT ST                                                                                     SHELBYVILLE     IN   46176‐2304
JAMES CALHOUN                620 BRISTOL DR                                                                                       CHELSEA         MI   48118‐1615
JAMES CALHOUN SR             39 WARDER ST APT 2                                                                                   DAYTON          OH   45405‐4300
JAMES CALL                   1470 N 300 E                                                                                         ANDERSON        IN   46012‐9297
JAMES CALL                   205 SENECA ST                                                                                        DEFIANCE        OH   43512‐2277
JAMES CALLAHAN               702 SAMUEL AVE                                                                                       YOUNGSTOWN      OH   44502‐2235
JAMES CALLAHAN               30 WOODS RD                                                                                          SPRINGBORO      OH   45066‐1267
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Name               Address1                             Address2                   Address3     Address4               City             State   Zip
JAMES CALLAHAN     7041 HIGHLAND AVE SW                                                                                WARREN            OH     44481‐8633
JAMES CALLAHAN     513 PENNY LN                                                                                        PHILADELPHIA      PA     19111
JAMES CALLAWAY     2252 ROSE HILL DR                                                                                   TOLEDO            OH     43615‐2633
JAMES CALLAWAY     10 GRIESENAUER CT                                                                                   O FALLON          MO     63368‐8027
JAMES CALLERAME    11 THOMAS MARIA CIR                                                                                 WEBSTER           NY     14580‐2212
JAMES CALLIHAN     7215 PARKWOOD AVE                                                                                   CONNEAUT          OH     44030‐3261
JAMES CALLIS       4304 CLARKE DR                                                                                      TROY              MI     48085‐4959
JAMES CALLISON     10225 BUNTON RD                                                                                     WILLIS            MI     48191‐9738
JAMES CALMAR       THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET   22ND FLOOR                          BALTIMORE         MD     21201

JAMES CALPIN       21 MONTGOMERY CT                                                                                    CANFIELD         OH      44406‐1278
JAMES CALVERT      100 HILLTOP EST                                                                                     MOREHEAD         KY      40351‐7930
JAMES CALVIN       7710 CENTRAL ST                                                                                     DETROIT          MI      48210‐1082
JAMES CAMBRIC      4959 BEECHWOOD AVE                                                                                  GAYLORD          MI      49735‐7672
JAMES CAMENETI     3929 SOUTHWOOD DR SE                                                                                WARREN           OH      44484‐2655
JAMES CAMIOLO      1932 LATTA ROAD                                                                                     ROCHESTER        NY      14612‐3724
JAMES CAMP         12201 STATE ROUTE 13                                                                                MILAN            OH      44846‐9401
JAMES CAMP         3030 W CLARENCE RD                                                                                  HARRISON         MI      48625‐9516
JAMES CAMPANELLA   470 SCENIC LN                                                                                       SEVEN HILLS      OH      44131‐3866
JAMES CAMPBELL     329 STONEWALL DR                                                                                    COLUMBIA         TN      38401‐6508
JAMES CAMPBELL     937 FINEVIEW DR                                                                                     PENN HILLS       PA      15235‐2024
JAMES CAMPBELL     536 WILLOW DR SE                                                                                    WARREN           OH      44484‐2457
JAMES CAMPBELL     6762 SHAKER ROAD                                                                                    FRANKLIN         OH      45005‐2647
JAMES CAMPBELL     1308 ARDEN NOLLVILLE RD                                                                             INWOOD           WV      25428‐5928
JAMES CAMPBELL     1462 FAIRWAY DR                                                                                     BIRMINGHAM       MI      48009‐1861
JAMES CAMPBELL     105 DOWNING CT                                                                                      HENDERSONVLLE    TN      37075‐4559
JAMES CAMPBELL     505 RIDGEWOOD RD                                                                                    FRANKLIN         TN      37064‐5204
JAMES CAMPBELL     SENECA POINTS APARTMENTS             1187 ORCHARD PARK RD                                           WEST SENECA      NY      14224
JAMES CAMPBELL     3319 DEBRA DR                                                                                       ANDERSON         IN      46012‐9623
JAMES CAMPBELL     96 N 500 W                                                                                          ANDERSON         IN      46011‐1456
JAMES CAMPBELL     12501 N CHESTNUT ST                                                                                 EATON            IN      47338‐9539
JAMES CAMPBELL     37904 PALMA RD                                                                                      NEW BOSTON       MI      48164‐9516
JAMES CAMPBELL     9167 NICHOLS RD                                                                                     GAINES           MI      48436‐9790
JAMES CAMPBELL     971 PINE NEEDLES DR                                                                                 CENTERVILLE      OH      45458‐3332
JAMES CAMPBELL     120 LARKSPUR DR                                                                                     MOUNT STERLING   KY      40353‐1024
JAMES CAMPBELL     708 OAKRIDGE DR                                                                                     BOARDMAN         OH      44512‐3547
JAMES CAMPBELL     1918 FAUVER AVE                                                                                     DAYTON           OH      45420‐2507
JAMES CAMPBELL     705 MONTEGO RD W                                                                                    JACKSONVILLE     FL      32216‐9337
JAMES CAMPBELL     50 CARTER AVE                                                                                       BLACKSTONE       MA      01504‐1907
JAMES CAMPBELL     5228 BRIARCREST DR                                                                                  FLINT            MI      48532‐2307
JAMES CAMPBELL     19864 KIMZY CARR RD                                                                                 ATHENS           AL      35614‐6832
JAMES CAMPBELL     5 BRISTLECONE CT                                                                                    NEWARK           DE      19702‐3508
JAMES CAMPBELL     705 KIMBERLY AVE                                                                                    LEESBURG         FL      34788‐2429
JAMES CAMPBELL     8800 JENNINGS STATION RD                                                                            SAINT LOUIS      MO      63136‐6310
JAMES CAMPBELL     273 AUGUST DR                                                                                       BRANDON          MS      39042‐8474
JAMES CAMPBELL     3391 HIGHTOP RD                                                                                     CORBIN           KY      40701‐7504
JAMES CAMPBELL     2525 BLAKE ST                                                                                       SAGINAW          MI      48602‐3835
JAMES CAMPBELL     PO BOX 400                                                                                          HOLLOW ROCK      TN      38342‐0400
JAMES CAMPBELL     3975 BAYBERRY LN                                                                                    LANSING          MI      48911‐6173
JAMES CAMPBELL     7381 E POTTER RD                                                                                    DAVISON          MI      48423‐9565
JAMES CAMPBELL     4431 E OUTER DR                                                                                     DETROIT          MI      48234‐3126
JAMES CAMPBELL     3452 W COLDWATER RD                                                                                 MOUNT MORRIS     MI      48458‐9400
JAMES CAMPBELL     14259 LONGACRE ST                                                                                   DETROIT          MI      48227‐1356
JAMES CAMPBELL     PO BOX 31541                                                                                        JACKSON          MS      39286‐1541
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Name                                 Address1                             Address2                     Address3     Address4               City               State   Zip
JAMES CAMPBELL                       38 WHITNEY DRIVE                                                                                      GLEN COVE           NY     11542‐1316
JAMES CAMPBELL                       BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                       BOSTON HEIGHTS      OH     44236
JAMES CAMPBELL III                   6727 CONESTOGA DR                                                                                     LANSING             MI     48917‐8851
JAMES CAMPBELL JR                    1425 E ROBINSON ST                                                                                    N TONAWANDA         NY     14120‐4871
JAMES CAMPBELL JR                    11000 WATERMAN RD                                                                                     BROOKLYN            MI     49230‐8321
JAMES CAMPBELL SR                    125 N CHEROKEE SHORES DR                                                                              MABANK              TX     75156‐6314
JAMES CANAN                          10076 BRUSHWOOD DRIVE                                                                                 STREETSBORO         OH     44241‐4302
JAMES CANAN                          37 LAKEVIEW RD                                                                                        NILES               OH     44446‐2101
JAMES CANDY                          12077 SARA ST                                                                                         BROOKSVILLE         FL     34613‐5574
JAMES CANFIELD                       2448 GRANTWOOD DR                                                                                     TOLEDO              OH     43613‐3913
JAMES CANGEMI                        330 WILMORE PL                                                                                        SYRACUSE            NY     13208‐2456
JAMES CANNADY                        3205 CHIPPEWA RUN NW                                                                                  KENNESAW            GA     30152‐5875
JAMES CANNARELLA                     130 S STILES ST                                                                                       LINDEN              NJ     07036‐4342
JAMES CANNAROZZO                     23 AINSWORTH LN                                                                                       ROCHESTER           NY     14624‐2273
JAMES CANNON                         3344 BRILHART MILL RD                                                                                 HAMPSTEAD           MD     21074‐1567
JAMES CANNON                         4801 N LAFERN WAY                                                                                     MUNCIE              IN     47304‐6112
JAMES CANNON                         3113 SPRING DR                                                                                        ANDERSON            IN     46012‐9544
JAMES CANNON                         624 E MULBERRY ST APT B                                                                               KOKOMO              IN     46901‐8706
JAMES CANNON                         5206 GWYNN OAK AVE                                                                                    BALTIMORE           MD     21207‐6807
JAMES CANNON                         5566 GEORGE ST APT 3                                                                                  SAGINAW             MI     48603‐3677
JAMES CANNON                         2814 COSTA MESA RD                                                                                    WATERFORD           MI     48329‐2437
JAMES CANNON                         3511 GLOUCESTER ST                                                                                    FLINT               MI     48503‐4535
JAMES CANTRELL                       4331 S WAYNE RD                                                                                       WAYNE               MI     48184‐2114
JAMES CANTRELL                       101 VIEW POINT DR                    HORIZON HILLS                                                    SOMERSET            KY     42503‐9705
JAMES CANTRELL                       10721 RIVEREDGE DR                                                                                    PARMA               OH     44130‐1246
JAMES CANTRELL                       PO BOX 1369                                                                                           COVINGTON           GA     30015‐1369
JAMES CANTRELL                       218 WARD RD                                                                                           ELLENWOOD           GA     30294‐3148
JAMES CAPIZZI                        9340 W PASEO VERDE DR                                                                                 CASA GRANDE         AZ     85294‐7497
JAMES CAPLINGER                      410 N HARVEY RD                                                                                       GREENWOOD           IN     46143‐9735
JAMES CAPLIS                         4620 FIELDVIEW DR                                                                                     GRAND LEDGE         MI     48837‐8144
JAMES CAPOROSSO                      779 BURLINGTON RD                                                                                     CANTON              MI     48188‐1501
JAMES CAPP                           6360 CATON ST                                                                                         PITTSBURGH          PA     15217‐3031
JAMES CAPPELLO                       15557 BADGER LN                                                                                       HOMER GLEN           IL    60491‐9019
JAMES CAPUTO                         33 BROOKFIELD                                                                                         SWARTZ CREEK        MI     48473‐1297
JAMES CARACCIOLO/ NANCY CARACCIOLO   C/O NANCY CARACCIOLO                 750 GUY LOMBARDO AVE                                             FREEPORT            NY     11520

JAMES CARBARY                        24350 N LE BOST                                                                                       NOVI               MI      48375‐2834
JAMES CARBARY                        53083 WINDHAM DR                                                                                      CHESTERFIELD       MI      48051‐1795
JAMES CARBERRY                       THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET     22ND FLOOR                          BALTIMORE          MD      21201

JAMES CARCIONE                       1705 RIVA RIDGE DR                                                                                    MANSFIELD          OH      44904‐2013
JAMES CARD                           731 BRENNEMAN                                                                                         POTTERVILLE        MI      48876‐9546
JAMES CARDECCIA                      519 W TAYLOR ST SPC 337                                                                               SANTA MARIA        CA      93458‐1049
JAMES CARDEN                         46344 CANDLEBERRY DR                                                                                  CHESTERFIELD       MI      48047‐5264
JAMES CARDINAL JR                    4184 PINE ST                                                                                          GLADWIN            MI      48624‐8352
JAMES CARDWELL                       2036 S 300 W                                                                                          PERU               IN      46970‐7979
JAMES CARDWELL                       5008 N LAWN AVE                                                                                       KANSAS CITY        MO      64119‐3769
JAMES CARETHERS                      5901 MILLER WAY E                                                                                     BLOOMFIELD HILLS   MI      48301‐1940
JAMES CAREY                          1813 S PASADENA AVE                                                                                   YPSILANTI          MI      48198‐9212
JAMES CAREY                          1161 E HENRY ST                                                                                       LINDEN             NJ      07036‐2057
JAMES CAREY                          109 COQUENA CIR E                                                                                     SAVANNAH           GA      31410‐1333
JAMES CAREY                          1890 N KIRK RD                                                                                        FAIRGROVE          MI      48733‐9762
JAMES CAREY                          318 TOWN PARK RD                                                                                      NORMAN             OK      73072‐4578
JAMES CARL                           4809 TODD RD                                                                                          FRANKLIN           OH      45005‐5033
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Name                           Address1                        Address2                     Address3          Address4               City              State   Zip
JAMES CARL                     11714 MONET CT                                                                                        FORT WAYNE         IN     46845‐9670
JAMES CARL                     BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.        OH     44236
JAMES CARL JR                  3835 LAKE LANIER DR                                                                                   DULUTH             GA     30097‐7922
JAMES CARL TONEY JR            NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD       TX     75638
JAMES CARLEY                   104 ODESSA WAY                                                                                        NEWARK             DE     19711‐4123
JAMES CARLIN                   11471 E HUFFMAN RD APT 4                                                                              PARMA              OH     44130‐2234
JAMES CARLINI                  3989 FOREST PARK WAY APT 117                                                                          NORTH              NY     14120‐3742
                                                                                                                                     TONAWANDA
JAMES CARLISLE                 1308 MARJORIE DR                                                                                      MATTHEWS          NC      28105‐3845
JAMES CARLISLE                 PO BOX 3252                                                                                           ANDERSON          IN      46018‐3252
JAMES CARLISLE                 11920 LAKE 15 RD                                                                                      ATLANTA           MI      49709‐9072
JAMES CARLISLE                 374 ALBERTA ST                                                                                        AUBURN HILLS      MI      48326‐1106
JAMES CARLSEN (IRA ROLLOVER)   1958 COMMON WAY RD                                                                                    ORLANDO           FL      32814
JAMES CARLSON                  1038 BELOIT AVE                                                                                       JANESVILLE        WI      53546‐2639
JAMES CARLSON                  416 SIGNALFIRE DR                                                                                     DAYTON            OH      45458‐3637
JAMES CARLSON                  13460 E US HIGHWAY 23                                                                                 CHEBOYGAN         MI      49721‐8628
JAMES CARLSON                  2900 ARBORVIEW DR APT 26                                                                              TRAVERSE CITY     MI      49684‐7360
JAMES CARLSON                  9580 ARTHUR ST                                                                                        CANFIELD          OH      44406‐9115
JAMES CARLSON                  1405 CTA                                                                                              EDGERTON          WI      53534
JAMES CARLSON                  214 BENTLY PL                                                                                         EDGERTON          WI      53534‐1402
JAMES CARLSON
JAMES CARLTON                  9959 MAPLE VALLEY DR                                                                                  CLARKSTON         MI      48348‐4167
JAMES CARLTON                  12001 SE 91ST CIR                                                                                     SUMMERFIELD       FL      34491‐1618
JAMES CARLTON                  6644 N STATE ROAD 109                                                                                 WILKINSON         IN      46186‐9748
JAMES CARLTON JR               6320 WESTFORD RD                                                                                      TROTWOOD          OH      45426
JAMES CARMACK                  410 WINDING WAY                                                                                       COLUMBIA          TN      38401‐2547
JAMES CARMODY I I I            123 W MAIN ST #1                                                                                      OWOSSO            MI      48867
JAMES CARMONA                  6612 OLDGATE LN                                                                                       ARLINGTON         TX      76002‐5474
JAMES CARNAHAN                 2260 NE 1289 RD                                                                                       OSCEOLA           MO      64776‐2848
JAMES CARNES                   2910 N 043 W                                                                                          HUNTINGTON        IN      46750‐4086
JAMES CARNEY                   6495 OXBOW LN                                                                                         FLINT             MI      48506‐1136
JAMES CARNEY                   29461 TRAIL CREEK DR                                                                                  NEW BOSTON        MI      48164‐7830
JAMES CARPENTER                11943 NEW BOWLING GREEN RD                                                                            SMITHS GROVE      KY      42171‐9042
JAMES CARPENTER                935 COBBLESTONE CT                                                                                    ROCHESTER HILLS   MI      48309‐1627
JAMES CARPENTER                734 SONG BIRD ST                                                                                      ELYRIA            OH      44035‐8481
JAMES CARPENTER                536 KENNEDY DR                                                                                        WILLARD           OH      44890‐9404
JAMES CARPENTER                4352 E MAPLE AVE                                                                                      GRAND BLANC       MI      48439‐7901
JAMES CARPENTER                6283 SILVER LAKE RD                                                                                   LINDEN            MI      48451‐8706
JAMES CARPENTER                5102 BARNES RD                                                                                        MILLINGTON        MI      48746‐9051
JAMES CARPENTER                4720 JAMM RD                                                                                          ORION             MI      48359‐2216
JAMES CARPENTER                9451 BRIAR DR                                                                                         STREETSBORO       OH      44241‐5507
JAMES CARPENTER                6828 W 8TH STREET RD                                                                                  ANDERSON          IN      46011‐9709
JAMES CARPENTER                2922 S CHEROKEE RD                                                                                    MUNCIE            IN      47302‐5559
JAMES CARPENTER                PO BOX 34485                                                                                          DETROIT           MI      48234‐0485
JAMES CARPENTER                2905 S INTERSTATE 35 W                                                                                BURLESON          TX      76028‐1537
JAMES CARPENTER I I            5456 ROBIN DR                                                                                         GRAND BLANC       MI      48439‐7925
JAMES CARPENTER JR             2132 MONACO ST                                                                                        FLINT             MI      48532‐4424
JAMES CARPENTER SR             BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.       OH      44236
JAMES CARR                     6586 SCENIC PINES CT                                                                                  CLARKSTON         MI      48346‐4475
JAMES CARR                     1105 LONE PINE DR                                                                                     FAIRVIEW          MI      48621‐9727
JAMES CARR                     8878 WOODBINE                                                                                         REDFORD           MI      48239‐1228
JAMES CARR                     1201 W MOTT AVE                                                                                       FLINT             MI      48505‐2519
JAMES CARR                     18739 MOORE AVE                                                                                       ALLEN PARK        MI      48101‐1569
JAMES CARR                     5555 JAMES C JOHNSON RD                                                                               JACKSONVILLE      FL      32218‐7504
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Name               Address1                          Address2                       Address3   Address4               City             State Zip
JAMES CARR JR      125 LAKESIDE WAY SW                                                                                WARREN            OH 44481‐9608
JAMES CARREL       5749 SOUTHWOOD ST                                                                                  NORTH BRANCH      MI 48461‐9755
JAMES CARRIGAN     PO BOX 295                                                                                         LAKE              MI 48632‐0295
JAMES CARRIGAN     7823 CEDRELA DR                                                                                    PASADENA          MD 21122‐2362
JAMES CARRINGTON   PO BOX 576                                                                                         HAZEL PARK        MI 48030‐0576
JAMES CARROLL      3355 ALBIN FORD RD SE                                                                              ELIZABETH         IN 47117‐7948
JAMES CARROLL      5336 CARROLL DR                                                                                    DOUGLASVILLE      GA 30135‐4855
JAMES CARROLL      6544 ERRICK RD                                                                                     N TONAWANDA       NY 14120‐1150
JAMES CARROLL      345 CHESTNUT DR                                                                                    EATON             OH 45320‐9351
JAMES CARROLL      5482 EMERY RD                                                                                      PORTLAND          MI 48875‐9709
JAMES CARROTHERS   3521 N BALDWIN RD                                                                                  OWOSSO            MI 48867‐9418
JAMES CARSEY       13573 STATE ROUTE 347                                                                              MARYSVILLE        OH 43040‐9752
JAMES CARSON       503 SPRING ST                                                                                      GRAND LEDGE       MI 48837‐1403
JAMES CARSON       2541 NEWFOUND HARBOR DR                                                                            MERRITT IS        FL 32952‐2838
JAMES CARSON       390 E SAN DIEGO ST                                                                                 DETROIT           TX 75436‐1735
JAMES CARSTEN      1166 W REID RD                                                                                     FLINT             MI 48507‐4670
JAMES CARTER       1564 SIMMONS RD                                                                                    MASON             MI 48854‐9452
JAMES CARTER       4672 WOODHURST DR                                                                                  YOUNGSTOWN        OH 44515‐3731
JAMES CARTER       PO BOX 19596                                                                                       SHREVEPORT        LA 71149‐0596
JAMES CARTER       535 GENTRY CIR W                                                                                   RICHMOND HEIGHTS OH 44143‐2868

JAMES CARTER       23020 IRONWOOD DR                                                                                  PLAINFIELD         IL   60586‐6126
JAMES CARTER       23101 GIBRALTAR RD                                                                                 FLAT ROCK          MI   48134‐2735
JAMES CARTER       70 ABBOTT AVE                                                                                      ELMSFORD           NY   10523‐2104
JAMES CARTER       2707 SHAW HWY                                                                                      ROCKY POINT        NC   28457‐9304
JAMES CARTER       204 MARIEMONT AVE                                                                                  BUFFALO            NY   14220‐2255
JAMES CARTER       2066 GODDARD RD                                                                                    LINCOLN PARK       MI   48146‐3770
JAMES CARTER       24410 FARMINGTON RD                                                                                FARMINGTON HILLS   MI   48336‐1710

JAMES CARTER       1618 LENORE AVE                                                                                    LANSING            MI   48910‐2645
JAMES CARTER       8585 N LOXLEY RD                                                                                   ROSCOMMON          MI   48653‐8254
JAMES CARTER       324 DELZINGRO DR                                                                                   DAVISON            MI   48423‐1720
JAMES CARTER       5205 WAKEFIELD RD                                                                                  GRAND BLANC        MI   48439‐9186
JAMES CARTER       6218 W PENROD RD                                                                                   MUNCIE             IN   47304‐4625
JAMES CARTER       5114 W COUNTY ROAD 425 S                                                                           COATESVILLE        IN   46121‐9531
JAMES CARTER       101 N BRANDT ST                                                                                    INDIANAPOLIS       IN   46214‐3945
JAMES CARTER       11270 AVONDALE RD                                                                                  THORNVILLE         OH   43076‐9339
JAMES CARTER       5263 ROBINWOOD AVE                                                                                 DAYTON             OH   45431‐2835
JAMES CARTER       934 BAYNER CT                                                                                      ESSEX              MD   21221‐5900
JAMES CARTER       PO BOX 680                        TONEY EDITION                                                    HARTS              WV   25524
JAMES CARTER       4976 OAK GROVE DR                                                                                  SUGAR HILL         GA   30518‐4656
JAMES CARTER       5955 BUFFALO VALLEY RD                                                                             COOKEVILLE         TN   38501‐6674
JAMES CARTER       2016 MEDFORD AVE                                                                                   INDIANAPOLIS       IN   46222‐2747
JAMES CARTER       11626 E CREEK RD                                                                                   DARIEN             WI   53114‐1121
JAMES CARTER       72 S ARDMORE ST                                                                                    PONTIAC            MI   48342‐2800
JAMES CARTER       2410 PHOENIX ST                                                                                    SAGINAW            MI   48601‐2463
JAMES CARTER       5292 ROSAMOND LN #P4                                                                               WATERFORD          MI   48327
JAMES CARTER       C/O KATHLEEN BUCHANAN             CLARK COUNTY PUBLIC GUARDIAN                                     LAS VEGAS          NV   89106
JAMES CARTER       9911 NORTHBROOK VALLEY DR APT 6                                                                    FORT WAYNE         IN   46825‐2371
JAMES CARTER       3908 GREEN RD                                                                                      NEW HAVEN          IN   46774‐1929
JAMES CARTER       8220 WESTWOOD ST                                                                                   DETROIT            MI   48228‐3043
JAMES CARTER       BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.        OH   44236
JAMES CARTER JR    BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.        OH   44236
JAMES CARTER JR    2732 CARR ST                                                                                       FLINT              MI   48506‐1827
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Name                                   Address1                        Address2                       Address3   Address4               City             State   Zip
JAMES CARTER SR                        405 S HOLMES AVE                                                                                 INDIANAPOLIS      IN     46222‐4119
JAMES CARTHELL                         C/O JAMES WOODGETT              GOLDEN LIVING CENTER                                             MUNCIE            IN     47304
JAMES CARTLEDGE                        2040 SALUDA RD                                                                                   CHESTER           SC     29706‐7493
JAMES CARTWRIGHT                       5500 BELLE RIVER BLVD                                                                            EAST CHINA        MI     48054‐4108
JAMES CARTY                            140 FARMINGYON WOODS DR                                                                          SOMERSET          KY     42501‐4907
JAMES CARTY                            3646 THORNCREST DR                                                                               INDIANAPOLIS      IN     46234‐1447
JAMES CARUSO                           26 CHIMING RD                                                                                    NEW CASTLE        DE     19720‐2913
JAMES CARUSO                           1275 WATERWAY DR                                                                                 BAREFOOT BAY      FL     32976‐7095
JAMES CARVER                           4109 WEAVER AVE                                                                                  INDIANAPOLIS      IN     46227‐3729
JAMES CARWILE                          1261 CHATWELL DR                                                                                 DAVISON           MI     48423‐2711
JAMES CASADA                           4479 W CR 500 N                                                                                  PORTLAND          IN     47371
JAMES CASADA                           3475 E 300 S                                                                                     HARTFORD CITY     IN     47348‐9056
JAMES CASAREZ                          1305 MEADOWGREEN CT SE                                                                           CALEDONIA         MI     49316‐8281
JAMES CASE                             6372 1/2 MILE RD                                                                                 EAST LEROY        MI     49051
JAMES CASE                             C/O COONEY AND CONWAY           120 NORTH LASALLE 30TH FLOOR                                     CHICAGO            IL    60602
JAMES CASEY                            6905 LINDBERGH AVE                                                                               NIAGARA FALLS     NY     14304‐3273
JAMES CASEY                            PO BOX 2381                                                                                      SAGINAW           MI     48605‐2381
JAMES CASEY                            10714 OAKLAND DR                                                                                 PORTAGE           MI     49024‐6682
JAMES CASEY                            14929 HUBBELL ST                                                                                 DETROIT           MI     48227‐2982
JAMES CASEY                            116 ORCHARD LN                                                                                   ANDERSON          IN     46011‐2243
JAMES CASEY & JACQUELINE CASEY JTTEN   1160 SALOME                                                                                      TULARE            CA     93274

JAMES CASH                             1 CROMWELL DR                                                                                    CHESTERFIELD     NJ      08515‐1913
JAMES CASH                             18479 S COPPER POINT DR                                                                          GREEN VALLEY     AZ      85614‐5190
JAMES CASH JR                          5403 CRESTWOOD DR                                                                                GRAND BLANC      MI      48439‐4319
JAMES CASHEN                           1595 BENTON RD # 1                                                                               CHARLOTTE        MI      48813
JAMES CASHMAN II                       7214 E 10TH ST                                                                                   INDIANAPOLIS     IN      46219‐4962
JAMES CASKEY                           PO BOX 395                                                                                       NEW VIENNA       OH      45159‐0395
JAMES CASKEY                           P.O. BOX 395                                                                                     NEW VIENNA       OH      45159‐0395
JAMES CASPER                           1385 NICKVILLE RD                                                                                ELBERTON         GA      30635‐4316
JAMES CASPER                           BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.      OH      44236
JAMES CASPER JR                        1373 ARROW SHEATH DR                                                                             W CARROLLTON     OH      45449‐2308
JAMES CASS                             2117 HANCOCK LN                                                                                  JANESVILLE       WI      53545‐0515
JAMES CASSADA                          27380 60TH AVE                                                                                   MATTAWAN         MI      49071‐9586
JAMES CASSELL                          1957 DERBY RD                                                                                    BIRMINGHAM       MI      48009‐7531
JAMES CASSERLY                         6606 ROCKLEDGE DR                                                                                BRECKSVILLE      OH      44141‐1743
JAMES CASSIDY                          14 ONSET BAY LN                                                                                  BUZZARDS BAY     MA      02532‐5206
JAMES CASSIDY                          PO BOX 156                      C/O THOMAS J CASSIDY                                             SILVER SPRINGS   NY      14550‐0156
JAMES CASSIDY                          118 PARK VIEW ROAD NORTH                                                                         POUND RIDGE      NY      10576‐1212
JAMES CASSIN                           3517 ROCK CREEK DR                                                                               PORT CHARLOTTE   FL      33948‐7619
JAMES CASSIZZI                         6800 NE 109TH ST                                                                                 EDMOND           OK      73013‐8369
JAMES CASSTEVENS                       PO BOX 282                                                                                       MIDDLETOWN       IN      47356‐0282
JAMES CASTELLO                         64 SCHOOL ST                                                                                     CLARK            NJ      07066‐1424
JAMES CASTLE                           3987 E BEARD RD                                                                                  MORRICE          MI      48857‐9732
JAMES CASTLE                           3140 OFFICERS LAKE RD LOT 11                                                                     MERIDIAN         MS      39307‐9561
JAMES CASTLE                           11611 PEELMAN DR                                                                                 LENNON           MI      48449‐9656
JAMES CASTLE                           PO BOX 32                                                                                        NEW LEBANON      OH      45345‐0032
JAMES CASTLE                           2348 MORRISON DR                                                                                 PALMYRA          NY      14522‐9528
JAMES CASTLE                           1166 BELLFLOWER AVE                                                                              COLUMBUS         OH      43204‐2782
JAMES CASTLE JR                        10603 SOUTH DALZELL ROAD                                                                         TRAVERSE CITY    MI      49684‐8429
JAMES CASTLEBERRY                      6600 BURRUSS MILL RD                                                                             CUMMING          GA      30041‐1428
JAMES CASTOR                           984 S 625 E                                                                                      AVON             IN      46123
JAMES CASTOR                           2905 LAYTON RD                                                                                   ANDERSON         IN      46011‐4538
JAMES CASTOR                           2419 CHASE ST                                                                                    ANDERSON         IN      46016‐5038
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Name                 Address1                            Address2                     Address3   Address4               City           State Zip
JAMES CASWELL        10254 WADSWORTH RD                                                                                 REESE           MI 48757‐9345
JAMES CATANIA        531 GLASTONBERRY LN                                                                                MOORESVILLE     IN 46158‐1396
JAMES CATAROUCH      BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.     OH 44236
JAMES CATES          3233 TAYLOR AVE                                                                                    BRIDGETON       MO 63044‐3339
JAMES CATES          5133 WISHING WELL DR                                                                               GRAND BLANC     MI 48439‐4241
JAMES CATES          91 URBAN ST                                                                                        BUFFALO         NY 14211‐1310
JAMES CATHCART       165 W OYSTER RD                                                                                    ROSE CITY       MI 48654‐9735
JAMES CATHCART       910 E LEGGETT ST                                                                                   WAUSEON         OH 43567‐1551
JAMES CATINELLA      8 W CONRAD DR                                                                                      WILMINGTON      DE 19804‐2019
JAMES CATLETT        59 WALNUT DR                                                                                       WINCHESTER      TN 37398‐3932
JAMES CATO           3939 DALLY RD                                                                                      COVINGTON       GA 30014‐0668
JAMES CATON          1180 E DAVIS RD                                                                                    HOWELL          MI 48843‐8840
JAMES CATRON         2451 S COUNTY ROAD 125 W                                                                           NEW CASTLE      IN 47362‐8966
JAMES CAUDILL        1542 MALLARD CIR                                                                                   SHREVEPORT      LA 71106‐8508
JAMES CAUDILL        27154 WYATT AVE                                                                                    BROWNSTOWN TWP MI 48183‐4855

JAMES CAUDILL        1568 JOHNSONS FORT                                                                                 PREMIUM         KY   41845
JAMES CAUDLE         1161 WARM WINDS DR                                                                                 O FALLON        MO   63366‐6327
JAMES CAUDY          321 W GRAND LEDGE HWY                                                                              SUNFIELD        MI   48890‐9050
JAMES CAUFIELD       206 DAWN MIST LN                                                                                   FORT MILL       SC   29708‐6985
JAMES CAULEY         37 NORTON ST                                                                                       PONTIAC         MI   48341‐1429
JAMES CAUSEY         588 NW 1601ST RD                                                                                   KINGSVILLE      MO   64061‐9129
JAMES CAUTHON JR     102 E HULETT ST                                                                                    EDGERTON        KS   66021‐2213
JAMES CAVANAUGH      2760 CLEAR LAKE RD                                                                                 GRASS LAKE      MI   49240‐9277
JAMES CAVE           5335 FOSDICK RD                                                                                    ONTARIO         NY   14519‐9521
JAMES CAVENDISH      3449 BEACH RD                                                                                      TROY            MI   48084‐1309
JAMES CAVETT         14385 APPLETREE LANE                                                                               FENTON          MI   48430‐1430
JAMES CAWTHORN       2221 E 1750 N                                                                                      SUMMITVILLE     IN   46070‐8920
JAMES CEADER         1604 URBANA ST                                                                                     WESTVILLE       IL   61883‐1034
JAMES CECERE JR      135 ISLAND DR                                                                                      POLAND          OH   44514‐1604
JAMES CECH           348 N ROBERT CT                                                                                    OAK CREEK       WI   53154‐5736
JAMES CEGIELSKI      7086 SCHOEPF DR                                                                                    NORTHFIELD      OH   44067‐2840
JAMES CELMER         4085 CAPTAINS DR                                                                                   CASEVILLE       MI   48725‐9634
JAMES CERASI JR      153 PARKSIDE DR                                                                                    CRESTON         OH   44217‐9540
JAMES CERRETANI JR   4333 MALLARDS LNDG                                                                                 HIGHLAND        MI   48357‐2648
JAMES CESAL          6471 WAILEA DR                                                                                     GRAND BLANC     MI   48439‐8583
JAMES CESARZ         6875 WEST GRAND RIVER ROAD                                                                         FOWLERVILLE     MI   48836‐8506
JAMES CESTARY        227 S INGLEWOOD AVE                                                                                YOUNGSTOWN      OH   44515‐3931
JAMES CETLINSKI      43636 FORTNER DR                                                                                   STERLING HTS    MI   48313‐1743
JAMES CHADD          12 MILL BRIDGE DR                                                                                  SAINT PETERS    MO   63376‐7005
JAMES CHADWICK       1901 JOHN F KENNEDY BLVD APT 2307                                                                  PHILADELPHIA    PA   19103‐1519
JAMES CHAFFIN        24810 HAGEN RD                                                                                     MACOMB          MI   48042‐1566
JAMES CHAFFINCH      27421 MUD MILL RD                                                                                  HENDERSON       MD   21640‐1656
JAMES CHALKER        PO BOX 72                                                                                          W FARMINGTON    OH   44491‐0072
JAMES CHALKER        2497 E CELINA ST                                                                                   INVERNESS       FL   34453‐0554
JAMES CHAMBASIAN     6616 MEDLEY DRIVE                                                                                  RACINE          WI   53402‐9504
JAMES CHAMBERS       7749 CLEAR LAKE RD                                                                                 BROWN CITY      MI   48416‐9632
JAMES CHAMBERS       22295 ROUGEMONT DR                                                                                 SOUTHFIELD      MI   48033‐3667
JAMES CHAMBERS       6251 E MAPLE AVE                                                                                   GRAND BLANC     MI   48439‐9192
JAMES CHAMBERS       1905 CRESCENT DR                                                                                   MONROE          LA   71202‐3023
JAMES CHAMBERS       295 DINNER BELLE CT                                                                                HEDGESVILLE     WV   25427‐5866
JAMES CHAMBLEE       2464 WAYNE ST SW                                                                                   MARIETTA        GA   30060‐4676
JAMES CHAMNEY        18 OPAL LN                                                                                         EUSTIS          FL   32726‐6774
JAMES CHAMPA         54005 SHERWOOD LN                                                                                  SHELBY TWP      MI   48315‐1652
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Name                       Address1                          Address2                      Address3   Address4               City                 State   Zip
JAMES CHAMPION I I I       9511 GENE ST                                                                                      HUDSON                FL     34669‐3861
JAMES CHAMPLIN             PO BOX 9022                       C/O GM KOREA                                                    WARREN                MI     48090‐9022
JAMES CHANCEY              40 BENT TWIG DR APT 24                                                                            LAKE ST LOUIS         MO     63367‐2742
JAMES CHANDLER             38513 JINGO RD                                                                                    LACYGNE               KS     66040‐4003
JAMES CHANDLER             7133 LOUD DR                                                                                      OSCODA                MI     48750‐9674
JAMES CHANDLER             5655 WESTVIEW DR                                                                                  SYLVANIA              OH     43560‐2072
JAMES CHANDRA              25434 CAROLLTON DR                                                                                FARMINGTON HILLS      MI     48335‐1311

JAMES CHANEY               PO BOX 517                                                                                        PERRY                MI      48872‐0517
JAMES CHANEY               BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.          OH      44236
JAMES CHANNELL             5052 BROOKSDALE RD                                                                                MENTOR               OH      44060‐1212
JAMES CHANTELOIS           24376 HOPKINS ST                                                                                  DEARBORN HTS         MI      48125‐1928
JAMES CHAPIN JR.           1312 LOIS LN                                                                                      WATERLOO             IA      50702‐4242
JAMES CHAPMAN              3702 NE 95TH ST                                                                                   KANSAS CITY          MO      64156‐8917
JAMES CHAPMAN              2444 STONY POINT RD                                                                               GRAND ISLAND         NY      14072‐1831
JAMES CHAPMAN              623 DAKOTA PL                                                                                     DEFIANCE             OH      43512‐3683
JAMES CHAPMAN              4964 CREEK ROAD EXT                                                                               LEWISTON             NY      14092‐1837
JAMES CHAPMAN              4294 LAPEER RD                                                                                    BURTON               MI      48509‐1804
JAMES CHAPMAN              915 MARTHA ST                                                                                     SAGINAW              MI      48601‐2345
JAMES CHAPMAN              710 VERMONT ST                                                                                    SAGINAW              MI      48602‐1374
JAMES CHAPMAN              1905 WEBBER ST                                                                                    SAGINAW              MI      48601‐3530
JAMES CHAPMAN              206 E MCKENZIE RD                                                                                 GREENFIELD           IN      46140‐1105
JAMES CHAPMAN              751 TRINA AVE                                                                                     W CARROLLTON         OH      45449‐1315
JAMES CHAPMAN              308 S ANDERSON ST                                                                                 PLAINWELL            MI      49080‐1710
JAMES CHAPMAN              149 N AVERY RD                                                                                    WATERFORD            MI      48328‐2905
JAMES CHAPMAN
JAMES CHAPMAN II           24118 HARVARD SHORE DR                                                                            SAINT CLAIR SHORES    MI     48082‐2513

JAMES CHAPPELL             5354 S BRANCH RD                                                                                  LONG LAKE            MI      48743‐9701
JAMES CHAPPLE              5706 SUBURBAN CT                                                                                  FLINT                MI      48505‐2645
JAMES CHAPPLE              7222 HOUGHTON DR                                                                                  DAVISON              MI      48423‐2384
JAMES CHARBONNEAU          14559 HARRIS RD                                                                                   DEFIANCE             OH      43512‐6908
JAMES CHARLEBOIS           712 JENNISON ST                                                                                   BAY CITY             MI      48708‐7849
JAMES CHARLES H (493861)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK              VA      23510
                                                             STREET, SUITE 600
JAMES CHARLES JACKSON      C/O EDWARD O MOODY PA             801 WEST 4TH STREET                                             LITTLE ROCK          AR      72201
JAMES CHARLTON             BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.          OH      44236
JAMES CHARTRAU             426 W DRAYTON ST                                                                                  FERNDALE             MI      48220‐2735
JAMES CHASE                8611 MEADOWVISTA DR                                                                               INDIANAPOLIS         IN      46217‐5042
JAMES CHASE                4038 BANKER ST                    P O BOX 79                                                      NORTH BRANCH         MI      48461‐6101
JAMES CHASE                3644 LONGFORD LN                                                                                  ZEPHYRHILLS          FL      33541‐4144
JAMES CHASE                7212 NORMAN RD                                                                                    N TONAWANDA          NY      14120‐4909
JAMES CHASTEEN             2137 GRAND TETON CT                                                                               FAIRFIELD            OH      45014‐3837
JAMES CHATMAN              844 SCIOTO ST                                                                                     YOUNGSTOWN           OH      44505‐3752
JAMES CHATMAN              BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.          OH      44236
JAMES CHATTERLEY           61758 LANTERN CV                                                                                  WASHINGTON           MI      48094‐1411
JAMES CHAUVIN              28547 LANCASTER DR                                                                                CHESTERFIELD         MI      48047‐1781
JAMES CHAVOUSTIE JR        4342 ROHE RD                                                                                      SYRACUSE             NY      13215‐9692
JAMES CHEAPE               292 ORCHARD DR                                                                                    BUFFALO              NY      14223‐1039
JAMES CHEATHAM             168 HIGHLAND DR                                                                                   MOULTON              AL      35650‐4108
JAMES CHEATHAM             2016 W COIL ST                                                                                    INDIANAPOLIS         IN      46260‐4323
JAMES CHECK                3091 DURST CLAGG RD NE                                                                            WARREN               OH      44481‐9358
JAMES CHECKOSKY            458 SUMMERHAVEN DR N                                                                              EAST SYRACUSE        NY      13057‐3138
JAMES CHEEK                647 S C ST                                                                                        HAMILTON             OH      45013‐3328
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Name                   Address1                              Address2            Address3         Address4               City            State Zip
JAMES CHEELY
JAMES CHEERS           807 VANDERBER AVE                                                                                 WILMINGTON      DE    19802
JAMES CHELF            529 N SPALDING AVE                                                                                LEBANON         KY    40033‐1022
JAMES CHENE            230 W WILLIS RD                                                                                   SALINE          MI    48176‐9426
JAMES CHENEY           8223 FOSTORIA RD                                                                                  FOSTORIA        MI    48435‐9505
JAMES CHENEY           501 S POPLAR ST                                                                                   HARTFORD CITY   IN    47348‐2549
JAMES CHERICO          15906 ALTA VISTA DR UNIT F                                                                        LA MIRADA       CA    90638‐3205
JAMES CHERNESKI        13203 LAKE SHORE DR                                                                               FENTON          MI    48430‐1019
JAMES CHERRETTE        203 BLUE HERON LAKE CIR                                                                           ORMOND BEACH    FL    32174‐8149
JAMES CHERRY           8363 DUERS MILL RD                                                                                ORLINDA         TN    37141‐9016
JAMES CHERRY           4603 GRATIOT RD                                                                                   SAGINAW         MI    48638‐6240
JAMES CHERRY           5152 PLANET AVE                                                                                   TOLEDO          OH    43623‐2315
JAMES CHERVENY         4402 CALKINS RD                                                                                   FLINT           MI    48532‐3515
JAMES CHESKY           10 SUNBIRCH DR                                                                                    JEANNETTE       PA    15644‐1137
JAMES CHESMORE         538 S MAIN ST                                                                                     JANESVILLE      WI    53545‐4848
JAMES CHESSER JR       4218 COLES POINT WAY                                                                              GLEN ALLEN      VA    23060‐7242
JAMES CHESSER SR       2101 WHALEN AVE                                                                                   INDIAPOLIS      IN    46227‐8729
JAMES CHESTER          20708 DELTA DR                                                                                    GAITHERSBURG    MD    20882‐1121
JAMES CHETNEY          3026 GARY DR                                                                                      N TONAWANDA     NY    14120‐1436
JAMES CHEYNE           2894 144TH AVE                                                                                    DORR            MI    49323‐9708
JAMES CHICOSKY         8489 WOODRIDGE DR                                                                                 DAVISON         MI    48423‐8389
JAMES CHIESA           3243 WATERS MEADOW TRL                                                                            ANN ARBOR       MI    48103‐8321
JAMES CHILDERS         C/O LAW OFFICES OF MICHAEL BILBREY PC 8724 PIN OAK RD                                             EDWARDSVILLE    IL    62025

JAMES CHILDERS         2636 SUMMER GROVE DR                                                                              SHREVEPORT      LA    71118‐3245
JAMES CHILDERS         255 HICKORY FARMS DR                                                                              HAWK POINT      MO    63349‐2337
JAMES CHILDERS         PO BOX 257                                                                                        TONAWANDA       NY    14151‐0257
JAMES CHILDERS         PO BOX 43                                                                                         AMASA           MI    49903‐0043
JAMES CHILDERS         761 KNOLLWOOD CT                                                                                  SALINE          MI    48176‐1314
JAMES CHILDRES         208 JEWELL ST                                                                                     SOMERSET        KY    42501
JAMES CHILDS           2048 ALLEY RD                                                                                     OSCODA          MI    48750
JAMES CHILDS           321 SAINT ANDREWS DR                                                                              ROCHESTER       NY    14626‐3547
JAMES CHINN            12211 N EVERETT DR                                                                                ALEXANDRIA      IN    46001‐9081
JAMES CHIPMAN JR       682 DAVIDS LN                                                                                     MANSFIELD       OH    44905‐1937
JAMES CHIRA            6832 YOUNGSTOWN AVE                                                                               HUDSONVILLE     MI    49426‐9362
JAMES CHISLEY JR       9711 WINDSOR CIR                                                                                  FORT WORTH      TX    76140‐7921
JAMES CHISOLM          PO BOX 20484                                                                                      SUN VALLEY      NV    89433‐0484
JAMES CHISOLM          PO BOX 7273                                                                                       MERIDIAN        MS    39304‐7273
JAMES CHITWOOD         1026 E 53RD ST                                                                                    MARION          IN    46953‐5907
JAMES CHLUDIL          11252 BURT RD                                                                                     CHESANING       MI    48616‐9441
JAMES CHOATE           16533 W 146TH PL                                                                                  LOCKPORT        IL    60441‐2345
JAMES CHOATE JR        6151 WOODMOOR DR                                                                                  BURTON          MI    48509‐1646
JAMES CHOJNICKI        60 ROWLEY RD                                                                                      CHEEKTOWAGA     NY    14227‐1622
JAMES CHRENKO          7044 FAIRGROVE DR                                                                                 SWARTZ CREEK    MI    48473‐9408
JAMES CHRISCO          RT. 2 BOX 38C                                                                                     BUNKER          MO    63629
JAMES CHRISTIAN        5000 TOWN CTR APT 1603                                                                            SOUTHFIELD      MI    48075‐1115
JAMES CHRISTIAN        1306 N 17TH ST                                                                                    ATCHISON        KS    66002‐1172
JAMES CHRISTIANO       201 OUTBOARD AVE                                                                                  MANAHAWKIN      NJ    08050‐1937
JAMES CHRISTIE         9170 SHERIDAN DR LOT 41                                                                           CLARENCE        NY    14031‐1451
JAMES CHRISTOPHER      110 HIWONIHI TRL                                                                                  VONORE          TN    37885‐2697
JAMES CHRISTOPHER      149 PINEWOOD TRL                                                                                  DAWSONVILLE     GA    30534‐6757
JAMES CHRISTOPHER      708 E WALDEN ST                                                                                   LA FOLLETTE     TN    37766‐2639
JAMES CHRISTOPHER      10015 PLAINVIEW AVE                                                                               DETROIT         MI    48228‐1396
JAMES CHRISTOPHERSEN   5512 E COUNTY ROAD J                                                                              CLINTON         WI    53525‐8832
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Name                          Address1                             Address2                  Address3                  Address4                   City               State   Zip
JAMES CHRISTY                 1195 OAKLAWN DR                                                                                                     PONTIAC             MI     48341‐3601
JAMES CHRZ                    601 LONGSHORE DR                                                                                                    FLORENCE            AL     35634‐2749
JAMES CHRZANOWSKI             1708 PENNSYLVANIA AVE                                                                                               PALM HARBOR         FL     34683‐3653
JAMES CHRZANOWSKI             2205 TEGGERDINE RD                                                                                                  WHITE LAKE          MI     48386‐1757
JAMES CHUBAK                  916 BERLIN RD                                                                                                       HURON               OH     44839‐1914
JAMES CHUBB                   308 OLD OAK DR                                                                                                      CORTLAND            OH     44410‐1124
JAMES CHULLA                  50 WHITE ST APT 72                                                                                                  TARRYTOWN           NY     10591‐7614
JAMES CHURCH                  531 WALL RD                                                                                                         STATHAM             GA     30666‐2307
JAMES CHURCH                  6901 CLARK RD                                                                                                       BATH                MI     48808‐8720
JAMES CHURCH                  379 HIGHLAND AVE                                                                         ORILLIA ON L3V4E5 CANADA

JAMES CHURCHES                12410 NICHOLS RD                                                                                                    BURT               MI      48417‐2391
JAMES CHURCHWELL              3625 OLD PLANK RD                                                                                                   MILFORD            MI      48381‐3557
JAMES CHURCHWELL JR           1633 S LARCHMONT DR                                                                                                 SANDUSKY           OH      44870‐4322
JAMES CIARKOWSKI              21315 LITTLE RIVER BLVD                                                                                             CLINTON TWP        MI      48036‐1471
JAMES CICCHETTI               4390 RAYCO DR                                                                                                       METAMORA           MI      48455‐9385
JAMES CICCIO                  1114 SABAL PALM LN                                                                                                  BAREFOOT BAY       FL      32976‐6704
JAMES CICHEWICZ               28086 CHARLEMAGNE ST                                                                                                ROMULUS            MI      48174‐9771
JAMES CICHORACKI              3625 RUTHERFORD DR                                                                                                  SPRING HILL        TN      37174‐2176
JAMES CICHOWSKI               2841 MIDLAND RD                                                                                                     SAGINAW            MI      48603‐2760
JAMES CIESLINSKI              4905 CULVER RD                                                                                                      ROCHESTER          NY      14622‐1313
JAMES CIMINELLI JR.           325 ASH ST                                                                                                          SALEM              OH      44460‐2640
JAMES CIOLFI                  38276 LANA CT                                                                                                       FARMINGTON HILLS   MI      48335‐2745

JAMES CIOTTI                  2689 PEBBLE BEACH DR                                                                                                OAKLAND             MI     48363‐2450
JAMES CIPOLLONI               2409 W COLONIAL DR                                                                                                  UPPER CHICHESTER    PA     19061‐2025

JAMES CIPRIANO                47043 MALBURG WAY DR                                                                                                MACOMB              MI     48044‐3046
JAMES CIRAR                   PO BOX 1197                                                                                                         ROCHESTER           MI     48308
JAMES CIRAR
JAMES CISCO                   2072 HIGHWAY 166 N                                                                                                  MT PLEASANT         TN     38474‐2826
JAMES CISZEWSKI               PO BOX 179                                                                                                          LONG LAKE           MI     48743‐0179
JAMES CITY COUNTY                                                    103 TEWNING RD                                                                                   VA     23188
JAMES CITY COUNTY TREASURER   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 8701             M. ANN DAVIS, TREASURER                              WILLIAMSBURG        VA     23187‐8701

JAMES CITY COUNTY TREASURER   PO BOX 8701                          M. ANN DAVIS, TREASURER                                                        WILLIAMSBURG       VA      23187‐8701
JAMES CLACK                   10766 CHILDRESS CT                                                                                                  CINCINNATI         OH      45240‐3913
JAMES CLAGHORN                222 E KICKAPOO ST                                                                                                   HARTFORD CITY      IN      47348‐2117
JAMES CLAGHORN                618 N MULBERRY ST                                                                                                   HARTFORD CITY      IN      47348‐1718
JAMES CLANIN                  9205 N STATE R48                                                                                                    CENTERVILLE        OH      45458
JAMES CLANTON                 2412 E FAYETTE ST                                                                                                   SYRACUSE           NY      13224‐1023
JAMES CLARENCE                1071 NICHOLS RD                                                                                                     FLUSHING           MI      48433‐9725
JAMES CLAREY                  2801 E T AVE                                                                                                        PORTAGE            MI      49002‐7530
JAMES CLARK                   1572 GABEL RD                                                                                                       SAGINAW            MI      48601‐9339
JAMES CLARK                   21330 VAN HORN LN                                                                                                   WARRENTON          MO      63383‐4362
JAMES CLARK                   525 INDIANWOOD RD                                                                                                   LAKE ORION         MI      48362‐1518
JAMES CLARK                   17920 GULF BLVD APT 101                                                                                             REDINGTON SHORES   FL      33708‐1194

JAMES CLARK                   311 CRANBERRY BEACH BLVD                                                                                            WHITE LAKE         MI      48386‐1996
JAMES CLARK                   359 WARWICK AVE                                                                                                     BUFFALO            NY      14215‐3269
JAMES CLARK                   170 TWO MILE CREEK RD                                                                                               TONAWANDA          NY      14150‐7732
JAMES CLARK                   2554 JOHNSTOWN RD                                                                                                   COLUMBUS           OH      43219‐2211
JAMES CLARK                   12494 SE 88TH CT                                                                                                    BELLEVIEW          FL      34420‐5381
JAMES CLARK                   4705 WILBUR RD                                                                                                      MARTINSVILLE       IN      46151‐7020
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Name                        Address1                        Address2                       Address3             Address4                 City              State   Zip
JAMES CLARK                 12948 S US ROUTE 31 TRLR 98                                                                                  KOKOMO             IN     46901‐6046
JAMES CLARK                 883 TRIPLETON PIKE                                                                                           BEDFORD            IN     47421‐8601
JAMES CLARK                 5813 W HELLIS DR                                                                                             MUNCIE             IN     47304‐3439
JAMES CLARK                 9847 FARLEY LN                                                                                               OVERLAND PARK      KS     66212‐5209
JAMES CLARK                 12362 E FRANKLIN RD                                                                                          NORMAN             OK     73026‐8429
JAMES CLARK                 2160 E HILL RD APT 42                                                                                        GRAND BLANC        MI     48439‐5136
JAMES CLARK                 PO BOX 23328                                                                                                 SAINT LOUIS        MO     63156‐3328
JAMES CLARK                 PO BOX 2075                                                                                                  ANDERSON           IN     46018‐2075
JAMES CLARK                 369 COUNTY ROAD 3151                                                                                         HOUSTON            AL     35572‐2433
JAMES CLARK                 130 BEAR CREEK RD E                                                                                          TUSCALOOSA         AL     35405‐5926
JAMES CLARK                 RR 4 BOX 4021                                                                                                PIEDMONT           MO     63957‐9454
JAMES CLARK                 520 MICHAEL PL                                                                                               TIPP CITY          OH     45371‐1227
JAMES CLARK                 1003 FOXGLOVE LN                                                                                             DAVISON            MI     48423‐7905
JAMES CLARK                 8073 GALE RD                                                                                                 OTISVILLE          MI     48463‐9412
JAMES CLARK                 6389 LAKE RD                                                                                                 MILLINGTON         MI     48746‐9233
JAMES CLARK                 PO BOX 408E                                                                                                  MONTROSE           MI     48457
JAMES CLARK                 PO BOX 675                                                                                                   HASTINGS           MI     49058‐0675
JAMES CLARK                 6806 11 MILE RD                                                                                              BENTLEY            MI     48613‐9660
JAMES CLARK                 604 NEBRASKA AVE                                                                                             PONTIAC            MI     48341‐2547
JAMES CLARK                 RT 3 1027 OTTLAND SHORES                                                                                     LAKE ODESSA        MI     48849
JAMES CLARK                 608 E EVERLY BROTHERS BLVD                                                                                   CENTRAL CITY       KY     42330‐1712
JAMES CLARK                 3902 E COUNTY ROAD 700 S                                                                                     CLAYTON            IN     46118‐9468
JAMES CLARK                 4800 ELOISE LOOP RD                                                                                          WINTER HAVEN       FL     33884‐3071
JAMES CLARK                 59695 BARKLEY DR                                                                                             NEW HUDSON         MI     48165‐9661
JAMES CLARK                 600 HOLLY                                                                                                    ANGLETON           TX     77515
JAMES CLARK JR              948 CRESTMORE AVE                                                                                            DAYTON             OH     45402
JAMES CLARK SR              5905 NE CUBITUS AVENUE          LOT 212                                                                      ARCADIA            FL     34266
JAMES CLARKE                2061 S CANAL RD                                                                                              EATON RAPIDS       MI     48827‐9360
JAMES CLARKSON              6190 SILVER BEACH RD                                                                                         CHEBOYGAN          MI     49721‐9049
JAMES CLARKSON              2011 LARITA LN                                                                                               ANDERSON           IN     46017‐9517
JAMES CLARKSON              73 VIEWPOINT DR                                                                                              ALEXANDRIA         KY     41001
JAMES CLASPER               3340 N LAPEER RD                                                                                             LAPEER             MI     48446‐8766
JAMES CLASS                 3446 SELEWACH RD                                                                                             BRADFORD           NY     14815‐9687
JAMES CLAUNCH               28315 S FAMULINER RD                                                                                         GARDEN CITY        MO     64747‐8385
JAMES CLAUSEN
JAMES CLAUSS                6480 RADEWAHN RD                                                                                             SAGINAW           MI      48604‐9724
JAMES CLAY                  7695 W CALLA RD                                                                                              CANFIELD          OH      44406‐9455
JAMES CLAY                  106 LEATIE WAY                                                                                               INGALLS           IN      46048‐9694
JAMES CLAY                  373 S MARSHALL ST                                                                                            PONTIAC           MI      48342‐3434
JAMES CLAY                  15052 WHITCOMB ST                                                                                            DETROIT           MI      48227‐2608
JAMES CLAY HAGER            ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS       707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON        IL      62024
                                                            ANGELIDES & BARNERD LLC
JAMES CLAYTON               1643 CORNELIA ST                                                                                             SAGINAW           MI      48601‐2908
JAMES CLAYTON               457 WOLF RD                                                                                                  WEST ALEXANDRIA   OH      45381‐9347

JAMES CLAYTON               4519 N ELIZABETH ST                                                                                          INDIANAPOLIS       IN     46226‐3642
JAMES CLAYTON SUTTERFIELD   BARON & BUDD PC                 THE CENTRUM SUITE 1100         3102 OAK LAWN AVE                             DALLAS             TX     75219‐4281
JAMES CLEARY                C/O COONEY AND CONWAY           120 NORTH LASALLE 30TH FLOOR                                                 CHICAGO            IL     60602
JAMES CLEAVER               901 PALLISTER ST APT 1103                                                                                    DETROIT            MI     48202‐2676
JAMES CLEGG                 7996 S STATE ROAD 109                                                                                        MARKLEVILLE        IN     46056‐9782
JAMES CLEGHORN              33 PEMBERTON PL                                                                                              LAGUNA NIGUEL      CA     92677‐4753
JAMES CLEM                  973 W STATE ROAD 218                                                                                         BUNKER HILL        IN     46914‐9647
JAMES CLEMENS               993 MOUNTAINSIDE DR                                                                                          LAKE ORION         MI     48362‐3475
JAMES CLEMENT               2766 WEXFORD DR                                                                                              SAGINAW            MI     48603‐3234
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Name                  Address1                             Address2                    Address3     Address4               City              State   Zip
JAMES CLEMENT         171 INDIAN CAVE RD # 8176                                                                            ELLIJAY            GA     30536‐6817
JAMES CLEMENTS        229 SMITH ST                                                                                         PURYEAR            TN     38251‐3417
JAMES CLEMENTS        50 HUMMINGBIRD LN                                                                                    CELINA             TN     38551‐6161
JAMES CLEMENTS        1021 MEL AVE                                                                                         LANSING            MI     48911‐3619
JAMES CLEMENTZ        419 RIVER WOODS DR                                                                                   FLUSHING           MI     48433‐2174
JAMES CLEMMONS        6711 APPLETON AVE                                                                                    RAYTOWN            MO     64133‐6109
JAMES CLEMONS         385 3RD ST N                                                                                         OSCODA             MI     48750‐1247
JAMES CLENON DONALD   WEITZ & LUXENBERG P C                700 BROADWAY                                                    NEW YORK           NY     10003
JAMES CLEVELAND       597 KIRTS BLVD APT 103                                                                               TROY               MI     48084‐4113
JAMES CLEVELAND       13726 CODY ST                                                                                        OVERLAND PARK      KS     66221‐9381
JAMES CLEVELAND       1401 FOREST LAKE DR                                                                                  HINESVILLE         GA     31313‐5352
JAMES CLEVELAND       18 PALMER DR                                                                                         SANDUSKY           OH     44870‐4476
JAMES CLEVENGER       THE MADEKSHO LAW FIRM                8866 GULF FREEWAY STE 440                                       HOUSTON            TX     77017
JAMES CLEVENHAGEN     PO BOX 6                                                                                             HOPE               MI     48628‐0006
JAMES CLEVERSY        27077 GLENSIDE LN                                                                                    OLMSTED FALLS      OH     44138‐3170
JAMES CLEVINGER       4435 LAKEVIEW DR                                                                                     BEAVERTON          MI     48612‐8752
JAMES CLICK           317 E BALTIMORE BLVD                                                                                 FLINT              MI     48505‐3321
JAMES CLIFFORD        1919 STROBRIDGE RD                                                                                   MARTINSBURG        WV     25405‐6767
JAMES CLIFFORD        3951 HIGHWAY K                                                                                       BONNE TERRE        MO     63628‐3538
JAMES CLINE           606 RAMBLEWOOD CT                                                                                    BROOKVILLE         OH     45309‐1104
JAMES CLINE           1113 S SALFORD BLVD                                                                                  NORTH PORT         FL     34287‐4207
JAMES CLINE           10782 W PARMALEE RD                                                                                  MIDDLEVILLE        MI     49333‐8882
JAMES CLINE JR        6544 SUMMERDALE DR                                                                                   HUBER HEIGHTS      OH     45424‐2266
JAMES CLINTON         3609 TAUROMEE AVE                                                                                    KANSAS CITY        KS     66102‐3872
JAMES CLINTON         1708 CATTAIL CREEK DR                                                                                DESOTO             TX     75115‐1719
JAMES CLIPPERT        1821 EMERSON ST                                                                                      BELOIT             WI     53511‐5631
JAMES CLOCK           4922 E 700 N                                                                                         ALEXANDRIA         IN     46001‐8734
JAMES CLOOS           4330 CHISHOLM TRL                                                                                    HAMBURG            NY     14075‐1208
JAMES CLOS            17491 ROCCO DR                                                                                       MACOMB             MI     48044‐1692
JAMES CLOUD           4756 HAPLIN DR                                                                                       DAYTON             OH     45439‐2956
JAMES CLOUD           7310 SPRAGUE ST                                                                                      ANDERSON           IN     46013‐3941
JAMES CLOUM           1800 ROMAN DR                                                                                        MONROE             MI     48162‐4165
JAMES CLOUSE          7804 E 108TH ST                                                                                      KANSAS CITY        MO     64134‐2809
JAMES CLOYD           6251 N 102ND ST                                                                                      MILWAUKEE          WI     53225‐1515
JAMES CLUBB           1721 N 2ND ST                                                                                        EDWARDSVILLE        IL    62025‐1077
JAMES CLUTE           2395 BLARNEY DR                                                                                      DAVISON            MI     48423‐9503
JAMES CLYMER          1029 BURNS ST                                                                                        MOUNT MORRIS       MI     48458‐1107
JAMES CNOSSEN JR      2709 JOHN WARREN DR                                                                                  WEST BLOOMFIELD    MI     48324‐2139

JAMES COADY           THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET    22ND FLOOR                          BALTIMORE         MD      21201

JAMES COAKLEY         1971 WEAVER RD RR #3                                                                                 OXFORD            OH      45056
JAMES COAN            PO BOX 310374                                                                                        FLINT             MI      48531‐0374
JAMES COATS           PO BOX 605                                                                                           KILLEN            AL      35645‐0605
JAMES COBB            6901 TUSON BLVD APT 2B                                                                               CLARKSTON         MI      48346‐4301
JAMES COBB            1300 OLD FARM RD                                                                                     BEDFORD           IN      47421‐8467
JAMES COBB            1368 E HUMPHREY AVE                                                                                  FLINT             MI      48505‐1763
JAMES COBBETT         1303 OLD PALMETTO RD                                                                                 MURRELLS INLET    SC      29576‐8603
JAMES COBBS           7760 PEMBROKE AVE                                                                                    DETROIT           MI      48221‐1215
JAMES COBLEIGH        N1884 COUNTY ROAD D                                                                                  FORT ATKINSON     WI      53538‐9085
JAMES COBURN          PO BOX 4041                                                                                          CENTER LINE       MI      48015‐4041
JAMES COCHNAUER       709 N DILLON AVE                                                                                     MOORE             OK      73160‐3716
JAMES COCHRAN         1285 CLARK CT APT 1                                                                                  MANSFIELD         OH      44906‐2415
JAMES COCHRAN         4125 LAKEWOOD CT                                                                                     LULA              GA      30554‐2502
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Name               Address1                        Address2                     Address3   Address4               City               State   Zip
JAMES COCKERHAM    7790 KEISTER RD                                                                                MIDDLETOWN          OH     45042‐1023
JAMES COCKING      3223 RUSTIC LN                  P.O. BOX 944                                                   CROWN POINT         IN     46307‐8913
JAMES COCKING      3902 CHEYENNE AVE                                                                              FLINT               MI     48507‐2841
JAMES COCKRILL     836 TACKEN ST                                                                                  FLINT               MI     48532‐3868
JAMES CODDINGTON   15640 PIKE BLVD                                                                                BROOK PARK          OH     44142‐2339
JAMES CODY         8 APPLETREE CT APT 6                                                                           CHEEKTOWAGA         NY     14227‐1456
JAMES CODY         1761 E MUNGER RD                                                                               REESE               MI     48757‐9605
JAMES COE          2253 WOODLAND PARK DR                                                                          MANSFIELD           OH     44903‐8593
JAMES COE          1121 3RD ST                                                                                    SANDUSKY            OH     44870‐3841
JAMES COE          1697 COUNTY ROAD 2716                                                                          CADDO MILLS         TX     75135‐6197
JAMES COEN         4066 TEMPLETON RD NW                                                                           WARREN              OH     44481‐9130
JAMES COFFEE       8‐A STREET                                                                                     NEW LEBANON         OH     45345
JAMES COFFEY       5635 W 300 NORTH                                                                               MIDDLETOWN          IN     47356
JAMES COFFEY       7545 SCHOOL VIEW WAY                                                                           KNOXVILLE           TN     37938‐4369
JAMES COFFEY       112 JOHNSON RD                                                                                 MOORESBURG          TN     37811‐2616
JAMES COFFEY       3172 KY 3441                                                                                   BARBOURVILLE        KY     40906‐7802
JAMES COFFEY       1171 WESLEY DRIVE                                                                              LAPEER              MI     48446‐1255
JAMES COFFIN       1014 KENWOOD DR                                                                                LAFAYETTE           IN     47905‐4131
JAMES COFFMAN      475 W. COUNTY ROAD              1100N                                                          ROACHDALE           IN     46172
JAMES COFFMAN      119 E EL VALLE                                                                                 GREEN VALLEY        AZ     85614‐2901
JAMES COFFMAN      3558 E LOWER SPRINGBORO RD                                                                     WAYNESVILLE         OH     45068‐8791
JAMES COFFMAN      125 REESE CRAWFORD RD                                                                          BREMEN              GA     30110‐4607
JAMES COFFMAN      3324 E STATE HIGHWAY MM                                                                        HUME                MO     64752‐9120
JAMES COGGINS      15900 MANSFIELD ST                                                                             DETROIT             MI     48227‐1959
JAMES COGGINS JR   6838 DEER TRAIL LN                                                                             STONE MTN           GA     30087‐5497
JAMES COGSWELL     2191 TALL OAKS DR                                                                              DAVISON             MI     48423‐2131
JAMES COHEN        94 HILLSIDE AVE                                                                                MOUNT VERNON        NY     10553‐1334
JAMES COHOL        8765 DILLON DR SE                                                                              WARREN              OH     44484‐3105
JAMES COKER        3131 BRACKEN WOODS LN           APT 1                                                          CINCINNATI          OH     45211‐7222
JAMES COKER        603 MARTHA ST                                                                                  EULESS              TX     76040‐4533
JAMES COKLEY       31 YOUNG AVE                                                                                   HILLSIDE            NJ     07205‐1021
JAMES COLAPIETRO   62 MAYWOOD LN                                                                                  BRISTOL             CT     06010‐5919
JAMES COLBART      1300 LANE 201 BALL LK                                                                          HAMILTON            IN     46742‐9317
JAMES COLBERT      765 CUNNINGHAM RD                                                                              SALEM               OH     44460‐9405
JAMES COLBERT      520 VICTORY CIR                                                                                LOGANVILLE          GA     30052‐4062
JAMES COLBERT JR   270 VIRGINIA AVE APT 1L                                                                        JERSEY CITY         NJ     07304‐1464
JAMES COLBY        286 W SARATOGA ST                                                                              FERNDALE            MI     48220‐1846
JAMES COLBY        3711 N PARMA RD                                                                                PARMA               MI     49269‐9561
JAMES COLBY        432 S DALE AVE                                                                                 ARLINGTON HTS        IL    60004
JAMES COLE         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.         OH     44236
JAMES COLE         2505 FOXGROVE CT                                                                               HIGHLAND            MI     48356‐2472
JAMES COLE         21739 PARKLANE ST                                                                              FARMINGTON HILLS    MI     48335‐4223

JAMES COLE         5525 BLUEHILL ST                                                                               DETROIT            MI      48224‐2108
JAMES COLE         459 SE 17TH AVE                                                                                CAPE CORAL         FL      33990‐1649
JAMES COLE         1366 HENDON RD                                                                                 WOODSTOCK          GA      30188‐3076
JAMES COLE         217 ASHLAND DR                                                                                 STOCKBRIDGE        GA      30281‐1766
JAMES COLE         961 HARMONY RD                                                                                 TEMPLE             GA      30179‐5104
JAMES COLE         8644 W ST RD 36                                                                                MIDDLETOWN         IN      47356
JAMES COLE         821 CARLISLE AVE                                                                               DAYTON             OH      45410‐2901
JAMES COLE         11317 OUTER DR                                                                                 PINCKNEY           MI      48169‐9010
JAMES COLE         2224 S YERIAN RD                                                                               LENNON             MI      48449‐9676
JAMES COLE         564 MALLARD ST                                                                                 ROCHESTER HILLS    MI      48309‐3432
JAMES COLE         3223 MURPHY HARDY RD                                                                           DE KALB            MS      39328‐7300
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Name                  Address1                        Address2                     Address3   Address4               City               State   Zip
JAMES COLE            35 FESSENDEN ST                                                                                MOUNT CLEMENS       MI     48043‐5909
JAMES COLE            2487 VANDECARR RD                                                                              OWOSSO              MI     48867‐9129
JAMES COLE            4501 ASHLAND AVE                                                                               NORWOOD             OH     45212‐3214
JAMES COLE            36476 HAVERHILL ST                                                                             STERLING HTS        MI     48312‐2724
JAMES COLE            390 IVYLAWN                                                                                    WHITMORE LAKE       MI     48189‐9468
JAMES COLE JR         7116 HERMAN JARED DR                                                                           NORTH RICHLAND      TX     76180‐3659
                                                                                                                     HILLS
JAMES COLE JR         4072 N SHERIDAN AVE                                                                            INDIANAPOLIS       IN      46226‐4957
JAMES COLE JR.        4072 N SHERIDAN AVE                                                                            INDIANAPOLIS       IN      46226‐4957
JAMES COLEMAN         299 JESSIE LEE DR                                                                              LAPEER             MI      48446‐4115
JAMES COLEMAN         609 KARMADA ST                                                                                 PLYMOUTH           MI      48170‐1207
JAMES COLEMAN         166 GREEN ACRES RD                                                                             SAINT LOUIS        MO      63137‐1812
JAMES COLEMAN         519 DEER RUN                                                                                   MORO               IL      62067‐1743
JAMES COLEMAN         214 SW 20TH TER                                                                                OAK GROVE          MO      64075‐9248
JAMES COLEMAN         2880 DURST CLAGG RD NE                                                                         WARREN             OH      44481‐9357
JAMES COLEMAN         7205 MOSELLE DR                                                                                SHREVEPORT         LA      71108‐4728
JAMES COLEMAN         C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY, STE 600                                     HOUSTON            TX      77007
                      BOUNDAS, LLP
JAMES COLEMAN JR      979 BERWICK BLVD                                                                               PONTIAC            MI      48341‐2316
JAMES COLEMAN JR      809 E NORTHFIELD AVE                                                                           PONTIAC            MI      48340‐1334
JAMES COLEMAN JR      2876 ASPEN WOODS ENTRY                                                                         DORAVILLE          GA      30360‐2727
JAMES COLEMAN JR      18150 LINCOLN DR                                                                               LATHRUP VILLAGE    MI      48076‐4555
JAMES COLES           2504 JADA DR                                                                                   HENDERSON          NV      89044‐4444
JAMES COLES, BRENDA   KAHN & ASSOCIATES LLC           101 NE 3RD AVE STE 1500                                        FT LAUDERDALE      FL      33301‐1181
JAMES COLEY JR        528 KAMMER AVE                                                                                 DAYTON             OH      45417‐2308
JAMES COLIP           202 PASSAGE GATE WAY                                                                           WILMINGTON         NC      28412‐3161
JAMES COLLA           7680 HUNTINGTON DR                                                                             BOARDMAN           OH      44512‐4035
JAMES COLLARI         2449 WARFIELD AVE                                                                              JACKSONVILLE       FL      32218‐5128
JAMES COLLEY          27269 GROVELAND ST                                                                             ROSEVILLE          MI      48066‐4321
JAMES COLLEY          4040 CLARK RD RT‐6                                                                             ELLENWOOD          GA      30294
JAMES COLLIER         2188 VINEGAR HILL RD                                                                           BEDFORD            IN      47421‐7918
JAMES COLLIER         1224 ROSE BOWER AVE                                                                            KETTERING          OH      45429‐4727
JAMES COLLIER         608 FAIRFIELD DR                                                                               PARIS              TN      38242‐4583
JAMES COLLIER         3830 ROSEWOOD DR                                                                               FORT WAYNE         IN      46804‐6120
JAMES COLLINS         3133 W 22ND ST                                                                                 ANDERSON           IN      46011‐3908
JAMES COLLINS         1079 E SCHUMACHER ST                                                                           BURTON             MI      48529‐1547
JAMES COLLINS         4601 CURTIS LN                                                                                 SHREVEPORT         LA      71109‐6815
JAMES COLLINS         1906 PEMBROKE CE                                                                               INDEPENDENCE       MO      64057
JAMES COLLINS         28758 OAK POINT DR                                                                             FARMINGTON HILLS   MI      48331‐2769

JAMES COLLINS         21 KOCH ST                                                                                     TONAWANDA          NY      14150‐5304
JAMES COLLINS         582 NW 1061ST RD                                                                               HOLDEN             MO      64040‐1098
JAMES COLLINS         18216 MILLMORE STREET                                                                          CARSON             CA      90746
JAMES COLLINS         306 E AINSWORTH ST                                                                             YPSILANTI          MI      48197‐5338
JAMES COLLINS         2805 VANCE RD                                                                                  DAYTON             OH      45418‐2851
JAMES COLLINS         1624 HEARTHSTONE DR                                                                            DAYTON             OH      45410‐3345
JAMES COLLINS         803 BOSTON AVE                                                                                 ELYRIA             OH      44035‐6554
JAMES COLLINS         15 CATHERINE CT                                                                                GERMANTOWN         OH      45327‐9302
JAMES COLLINS         6829 JACKSON ST                                                                                INDIANAPOLIS       IN      46241‐1036
JAMES COLLINS         7380 N STATE ROAD 37                                                                           ELWOOD             IN      46036‐9088
JAMES COLLINS         PO BOX 456                                                                                     ENGLEWOOD          NJ      07631‐0456
JAMES COLLINS         9180 N COUNTY ROAD 800 W                                                                       MIDDLETOWN         IN      47356‐9305
JAMES COLLINS         800 E MAIN ST                                                                                  MANCHESTER         MI      48158‐8540
JAMES COLLINS         5299 WATSON RD                                                                                 BEAVERTON          MI      48612‐9745
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Name                Address1                        Address2              Address3         Address4               City             State Zip
JAMES COLLINS       27 COLLEGE ST ‐ BOX #222                                                                      KENT CITY         MI 49330
JAMES COLLINS       147 ANTOINETTE AVE                                                                            MCDONOUGH         GA 30252‐8810
JAMES COLLINS       G4198 RICHFIELD RD                                                                            FLINT             MI 48506
JAMES COLLINS       7369 ROBERTA LN                                                                               WATERFORD         MI 48327‐3771
JAMES COLLINS SR    8223 FAIRHILL DR NE                                                                           WARREN            OH 44484‐1913
JAMES COLLISON      5396 PATTERSON DR                                                                             TROY              MI 48085‐4006
JAMES COLLUM        725 SUTALLEE RIDGE TRL NE                                                                     WHITE             GA 30184‐3037
JAMES COLLYER       35922 GLENWOOD RD                                                                             WESTLAND          MI 48186‐5408
JAMES COLMER        C/O WILLIAM MONAGHAN            42657 GARFIELD                                                CLINTON TOWNSHIP MI 48038

JAMES COLN          1955 GERALD MILLER RD                                                                         PRESCOTT           MI   48756‐9226
JAMES COLSON        PO BOX 598                                                                                    MIO                MI   48647‐0598
JAMES COLSON        22395 FAIRFAX ST                                                                              TAYLOR             MI   48180‐2775
JAMES COLVARD       1639 SHEFFIELD DR                                                                             YPSILANTI          MI   48198‐3670
JAMES COLVARD II    1639 SHEFFIELD DR                                                                             YPSILANTI          MI   48198‐3670
JAMES COLWELL       1998 RIVER HILL CHURCH RD                                                                     EAST BERNSTADT     KY   40729‐7536
JAMES COMBS         1305 HEATHERDALE DR                                                                           KETTERING          OH   45429‐5109
JAMES COMBS         8414 DODGE RD                                                                                 MONTROSE           MI   48457‐9190
JAMES COMBS         2 APPLE DR                                                                                    STANTON            KY   40380‐9551
JAMES COMBS         3957 NEEDMORE RD                                                                              DAYTON             OH   45424‐5781
JAMES COMBS         5445 OLD COVE RD                                                                              CLARKSTON          MI   48346‐3826
JAMES COMBS         630 SOUTH AMOS AVENUE                                                                         SPRINGFIELD        IL   62704‐1619
JAMES COMBS         1448 SILVER POND                                                                              DAVISON            MI   48423‐8399
JAMES COMBS         295 MIDWAY AVE                                                                                PONTIAC            MI   48341‐3229
JAMES COMBS         1732 MULBERRY LN                                                                              LAPEER             MI   48446‐8608
JAMES COMBS         422 AVON OAK CT                                                                               NEW LEBANON        OH   45345‐1504
JAMES COMBS         753 TIMBERWOOD DR                                                                             DAYTON             OH   45430‐1439
JAMES COMBS         885 HATHAWAY DR                                                                               AUBURN HILLS       MI   48326‐3875
JAMES COMBS I I I   1501 E HOWELL ST                                                                              ALBANY             MO   64402‐2105
JAMES COMDEN        1075 WHALEN RD                                                                                PENFIELD           NY   14526‐1729
JAMES COMER         1403 CLARK ST                                                                                 NILES              OH   44446‐3837
JAMES COMER         1310 PALLISTER ST APT 710                                                                     DETROIT            MI   48202‐2651
JAMES COMMENT       6475 MERRY ST                                                                                 UNIONVILLE         MI   48767‐8613
JAMES COMMONS       5506 FLEMING RD                                                                               FLINT              MI   48504‐5000
JAMES COMPANY       1246 N 40TH ST                                                                                EAST SAINT LOUIS   IL   62204‐2518
JAMES COMPEAU SR    2384 COUNTY RD 55                                                                             BRASHER FALLS      NY   13613
JAMES COMPLIMENT    520 SWAN DR                                                                                   FORTVILLE          IN   46040‐1452
JAMES COMPTON       9791 CLIPNOCK RD                                                                              EAST BETHANY       NY   14054‐9761
JAMES COMPTON       2064 LAKEVIEW DR                                                                              LAPEER             MI   48446‐8084
JAMES CONANT        7481 W WHITE BIRCH DR                                                                         IRONS              MI   49644‐8849
JAMES CONARROE      139 S CHERRY ST                                                                               GERMANTOWN         OH   45327‐1311
JAMES CONARTON      10740 CHANDLER RD                                                                             DEWITT             MI   48820‐9787
JAMES CONATSER      199 NEW HOPE CHURCH LN                                                                        JAMESTOWN          TN   38556‐6464
JAMES CONCIARDO     3222 DURHAM RD                                                                                HAMBURG            NY   14075‐2030
JAMES CONDRAY       211 W PITMAN ST                                                                               O FALLON           MO   63366‐2820
JAMES CONERLY       12748 PROVIDENCE ROAD EXT                                                                     KEITHVILLE         LA   71047‐7699
JAMES CONFER        1210 WILD CHERRY DR                                                                           WILLIAMSTON        MI   48895‐9443
JAMES CONGEMI       6819 PAXTON RD                                                                                BOARDMAN           OH   44512‐4531
JAMES CONING        4836 S COUNTY ROAD 500 E                                                                      KOKOMO             IN   46902
JAMES CONKLIN       3206 PORTLAND ST                                                                              NIAGARA FALLS      NY   14305‐2245
JAMES CONKLIN       4340 W ROUNDHOUSE RD APT 4                                                                    SWARTZ CREEK       MI   48473‐1451
JAMES CONKLIN       PO BOX 273                                                                                    MERRILL            MI   48637‐0273
JAMES CONLEN        5559 MEADOW LN                                                                                SHELBY TOWNSHIP    MI   48316‐5216
JAMES CONLEY        231 N LAKE PLEASANT RD                                                                        ATTICA             MI   48412‐9301
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Name              Address1                      Address2                     Address3   Address4               City              State   Zip
JAMES CONLEY      170 SAXTON ST                                                                                LOCKPORT           NY     14094‐4912
JAMES CONLEY      3459 DODSON TER                                                                              EAST POINT         GA     30344‐5603
JAMES CONLEY      195 KATY LN                                                                                  ENGLEWOOD          OH     45322‐2434
JAMES CONLEY      202 HILLSIDE CT                                                                              JANESVILLE         WI     53545‐4342
JAMES CONLEY      PO BOX 51                                                                                    CLAYTON            OH     45315‐0051
JAMES CONLON      11S480 OAKWOOD AVE                                                                           LEMONT              IL    60439‐8004
JAMES CONNELLY    30 CLAIR HILL DR                                                                             ROCHESTER HILLS    MI     48309‐2105
JAMES CONNER      2533 MONTBELLO CIR                                                                           KETTERING          OH     45440‐2352
JAMES CONNER      17304 TOLEDO DR                                                                              OKLAHOMA CITY      OK     73170‐6641
JAMES CONNER      6875 E ARNOLD LAKE RD                                                                        HARRISON           MI     48625‐9396
JAMES CONNER      BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS     OH     44236
JAMES CONNER JR   12548 W 200 S                                                                                PARKER CITY        IN     47368‐9348
JAMES CONNERS     157 DUFFY DR                                                                                 TONAWANDA          NY     14150‐5126
JAMES CONNOR      5302 WABASH AVE                                                                              BALTIMORE          MD     21215‐4809
JAMES CONNOR JR   57 MOUNTAIN RD                                                                               PLAINS             MT     59859‐9323
JAMES CONNORS     321 EDWARD J ST                                                                              CLINTON            MI     49236‐9741
JAMES CONROY      PO BOX 38996                                                                                 CHARLOTTE          NC     28278‐1017
JAMES CONSLER     5373 COUNTY ROAD 36                                                                          HONEOYE            NY     14471‐9379
JAMES CONSTABLE   820 N HARDEMAN CIR                                                                           JUSTIN             TX     76247‐4242
JAMES CONSTANCE   2328 LAKECREST DR                                                                            MANSFIELD          OH     44903‐9264
JAMES CONTES      1101 E WARNER RD UNIT 131                                                                    TEMPE              AZ     85284‐3220
JAMES CONVERSE    7101 N MUSSON RD                                                                             SIX LAKES          MI     48886‐9512
JAMES CONWAY      PO BOX 32091                                                                                 EUCLID             OH     44132‐0091
JAMES CONWAY      4227 OAK SPRINGS DR                                                                          ARLINGTON          TX     76016‐4509
JAMES CONWAY      VIKING CT NW 8TH AVE NW                                                                      ROCHESTER          MN     55901
JAMES CONWAY      3002 8TH AVE NW                                                                              ROCHESTER          MN     55901
JAMES CONWELL     1315 N HICKORY LN                                                                            KOKOMO             IN     46901‐6426
JAMES CONZEMIUS   2893 COOLEY LAKE RD                                                                          HIGHLAND           MI     48356‐3311
JAMES COOK        3953 SUMMERS DR                                                                              ALLISON PARK       PA     15101‐3142
JAMES COOK        1609 PROSPECTOR TRL                                                                          WENTZVILLE         MO     63385‐4942
JAMES COOK        1393 BAYWOOD CIR                                                                             BRIGHTON           MI     48116‐6776
JAMES COOK        37 CEDAR FARMS DR                                                                            NEWARK             DE     19702‐3625
JAMES COOK        31 WOODCREST DR                                                                              OSSIPEE            NH     03864‐7003
JAMES COOK        4203 HOLT RD                                                                                 HOLT               MI     48842‐1717
JAMES COOK        6614 SALLY CT                                                                                FLINT              MI     48505‐1935
JAMES COOK        4804 SARONA DR TOWN ACRES                                                                    MUNCIE             IN     47303
JAMES COOK        9117 TWIN OAKS CT                                                                            FLUSHING           MI     48433‐1189
JAMES COOK        4392 N BEND RD                                                                               CINCINNATI         OH     45211‐2633
JAMES COOK        2240 S OUTER DR                                                                              SAGINAW            MI     48601‐6640
JAMES COOK        8188 DODGE RD                                                                                MONTROSE           MI     48457‐9133
JAMES COOK        1920 ROBINSON RD APT 704                                                                     GRAND PRAIRIE      TX     75051‐3965
JAMES COOK        16 DOGWOOD CT                                                                                SAINT PETERS       MO     63376‐2407
JAMES COOK        623 HIWASSEE RD                                                                              MADISONVILLE       TN     37354‐5808
JAMES COOK        765 ALLIE RD                                                                                 GREENVILLE         GA     30222‐2467
JAMES COOK        23580 VALLEY VIEW DR                                                                         SOUTHFIELD         MI     48033‐3130
JAMES COOK        2121 S PANTANO RD UNIT 226                                                                   TUCSON             AZ     85710‐6108
JAMES COOK        205 GREENBRIAR LN                                                                            DILLSBURG          PA     17019‐1372
JAMES COOK        508 OAKDALE DR                                                                               ENID               OK     73703‐3832
JAMES COOK        25 TREEBROOK DR                                                                              CRYSTAL CITY       MO     63019‐1409
JAMES COOK        18727 N ROD AND GUN RD                                                                       ATLANTA            MI     49709‐9326
JAMES COOK        G9070 N SAGINAW RD APT 134                                                                   MOUNT MORRIS       MI     48458
JAMES COOK        841 E MAPLE ST                                                                               HOLLY              MI     48442‐1752
JAMES COOK        5260 W DODGE RD                                                                              CLIO               MI     48420‐8535
JAMES COOK JR     325 EUCUTTA RD                                                                               SHUBUTA            MS     39360‐9649
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Name               Address1                      Address2                      Address3   Address4               City              State   Zip
JAMES COOKE SR     7113 LOCKSLEY LN                                                                              FAIRVIEW           TN     37062‐9110
JAMES COOL         2261 N 9TH ST                                                                                 KALAMAZOO          MI     49009‐8552
JAMES COOLE        925 LINCOLN AVE                                                                               NILES              OH     44446‐3165
JAMES COOLEY       1768 COOLEY DR                                                                                HASTINGS           MI     49058‐8269
JAMES COOMER       10440 RAMBLE RIDGE CT                                                                         WEEKI WACHEE       FL     34613‐6494
JAMES COON         1101 E JUDD RD                                                                                BURTON             MI     48529‐1918
JAMES COON         13130 HARRIS RD                                                                               CHESANING          MI     48616‐9420
JAMES COON         6765 W 675 S                                                                                  KNIGHTSTOWN        IN     46148
JAMES COONEY       4692 BAILEY RD                                                                                NORTH OLMSTED      OH     44070‐3310
JAMES COOPER       2920 N WRIGHT RD                                                                              JANESVILLE         WI     53546‐4311
JAMES COOPER       10504 E 66TH ST                                                                               RAYTOWN            MO     64133‐5335
JAMES COOPER       4688 W WOODLAND RD                                                                            ELLETTSVILLE       IN     47429‐9574
JAMES COOPER       18201 MARLOWE ST                                                                              DETROIT            MI     48235‐2763
JAMES COOPER       41 EULER RD                                                                                   CHURCHVILLE        NY     14428‐9340
JAMES COOPER       127 MILLWOOD RD                                                                               LEESBURG           FL     34788‐2673
JAMES COOPER       158 SECRET HARBOR DRIVE                                                                       MIRAMAR BEACH      FL     32550‐8255
JAMES COOPER       12323 S GREEN ST                                                                              CALUMET PARK        IL    60827‐6214
JAMES COOPER       6650 JAMAICA RD                                                                               MIAMISBURG         OH     45342‐1518
JAMES COOPER       1230 S ELM ST                                                                                 WEST CARROLLTON    OH     45449‐2263

JAMES COOPER       260 E LAKEVIEW DR                                                                             NINEVEH           IN      46164‐9743
JAMES COOPER       268 S MARSHALL ST                                                                             PONTIAC           MI      48342‐3243
JAMES COOPER       104 LAKEVIEW DR                                                                               LEESBURG          FL      34788‐2757
JAMES COOPER       2775 PENNYROYAL RD            C/O DIANE EDDY                                                  MIAMISBURG        OH      45342‐5029
JAMES COOPER       2745 BALTIMORE AVE                                                                            INDIANAPOLIS      IN      46218‐2631
JAMES COOPER       3341 STATE HIGHWAY WW                                                                         AURORA            MO      65605‐8366
JAMES COOPER       5967 TARA LN                                                                                  SAINT LOUIS       MO      63147‐1120
JAMES COOPER       113 S 19TH ST                                                                                 SAGINAW           MI      48601‐1442
JAMES COOPER       PO BOX 757                                                                                    EUPORA            MS      39744‐0757
JAMES COOPER       12 PAINTED PONY DR                                                                            O FALLON          MO      63366‐2991
JAMES COOPER       30954 NOB ROCK DR                                                                             GRAVOIS MILLS     MO      65037‐4504
JAMES COOPER       3486 E WATERVIEW DR                                                                           CHANDLER          AZ      85249‐3882
JAMES COOPER       2318 BARNARD ST                                                                               SAGINAW           MI      48602‐5064
JAMES COOPER       7238 S ELMS RD                                                                                SWARTZ CREEK      MI      48473‐9440
JAMES COOPER       4204 KEEWAHDIN RD                                                                             FORT GRATIOT      MI      48059‐3202
JAMES COOPER       178 S MERRIMAC ST                                                                             PONTIAC           MI      48340‐2540
JAMES COOPERWOOD   1523 TULEY ST                                                                                 CEDAR HILL        TX      75104‐4913
JAMES COPE         8 CUTTER CIR                  RIVERBEND                                                       BLUFFTON          SC      29909‐4309
JAMES COPE         PO BOX 59                                                                                     OAKVILLE          IN      47367‐0059
JAMES COPELAND     34836 CHERRY HILL RD                                                                          WESTLAND          MI      48185‐4300
JAMES COPELAND     10291 S 800 W                                                                                 FAIRMOUNT         IN      46928‐9266
JAMES COPELAND     3218 E BROWN RD                                                                               NEW CASTLE        IN      47362‐9323
JAMES COPELAND     1005 LAYTON RD                                                                                ANDERSON          IN      46011‐1526
JAMES COPENHAVER   5131 PIERCE RD NW                                                                             WARREN            OH      44481‐9308
JAMES COPLAN       C/O THE MADEKSHO LAW FIRM     8866 GULF FREEWAY SUITE 440                                     HOUSTON           TX      77017
JAMES COPLEY       648 TOTTYS BEND LOOP                                                                          DUCK RIVER        TN      38454‐3620
JAMES COPLEY       6753 KELSEYS OAK CT                                                                           CINCINNATI        OH      45248‐1094
JAMES COPP         5617 MILLRIDGE ST                                                                             SHAWNEE           KS      66218‐8409
JAMES COPPLE       PO BOX 873                                                                                    MOUNT VERNON      IL      62864‐0018
JAMES COPPLER      10494 WAKE ROBIN DR                                                                           GRAND BLANC       MI      48439‐9354
JAMES CORBETT      9914 HEYDEN ST                                                                                DETROIT           MI      48228‐1231
JAMES CORBIT       419 W LINCOLN N‐6                                                                             KOKOMO            IN      46902
JAMES CORBITT      2002 WILLOW POINTE DR                                                                         LAWRENCEVILLE     GA      30043‐5681
JAMES CORDA        81 FORESTVIEW DR                                                                              DEPEW             NY      14043‐1715
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Name                                Address1                       Address2                     Address3   Address4               City              State   Zip
JAMES CORDELL                       1530 BLUE LAKE DR                                                                             NORMAN             OK     73069‐8071
JAMES CORDRAY                       6168 CARNATION RD                                                                             DAYTON             OH     45449‐3062
JAMES COREY                         109 RIVERDALE AVE                                                                             BUFFALO            NY     14207‐1036
JAMES CORLEW CHEVROLET, INC.        JAMES CORLEW                   722 COLLEGE ST                                                 CLARKSVILLE        TN     37040‐3257
JAMES CORLEW CHEVROLET‐CADILLAC‐OLD 722 COLLEGE ST                                                                                CLARKSVILLE        TN     37040‐3257

JAMES CORLEW CHEVROLET‐CADILLAC‐    JAMES CORLEW                   722 COLLEGE ST                                                 CLARKSVILLE        TN     37040‐3257
OLDS
JAMES CORLEW CHEVROLET‐CADILLAC‐    722 COLLEGE ST                                                                                CLARKSVILLE        TN     37040‐3257
OLDSMOBILE
JAMES CORLEY                       9520 S BROWN RD                                                                                CHARDON           OH      44024‐9803
JAMES CORLEY, SR                   1631 PENTWOOD RD                                                                               BALTIMORE         MD      21239‐4038
JAMES CORN                         351 N GARBER DR                                                                                TIPP CITY         OH      45371‐1334
JAMES CORNACCHIA                   132 NEW YORK AVE                                                                               NEWARK            NJ      07105‐1221
JAMES CORNELL                      16414 OTHELLO LN                                                                               FOLEY             AL      36535‐8115
JAMES CORNETT                      255 W 14 MILE RD APT 1408                                                                      CLAWSON           MI      48017‐1954
JAMES CORNETT                      HC 73, BOX 774                                                                                 BARBOURVILLE      KY      40906
JAMES CORNWELL                     150 GLENWOOD AVE APT F1                                                                        YONKERS           NY      10703‐2650
JAMES CORPUS                       5150 MAPLE AVE                                                                                 MISSION           KS      66202‐1824
JAMES CORSI                        155 EASTHILL DR                                                                                BATTLE CREEK      MI      49014‐8813
JAMES CORSON                       8219 E OTERO CIR                                                                               CENTENNIAL        CO      80112‐3308
JAMES CORTEZ ACCT OF               SULLIVAN HAMILTON               PO BOX 532110                                                  LIVONIA           MI      48153‐2110
JAMES CORWIN                       G‐6288 E PIERSON RD                                                                            FLINT             MI      48506
JAMES CORWITH                      2624 CROSS PRAIRIE DR                                                                          JANESVILLE        WI      53546‐4340
JAMES COSBY                        4353 TELEGRAPH RD                                                                              ELKTON            MD      21921‐1936
JAMES COSBY                        4608 KUENDINGER AVE                                                                            DAYTON            OH      45417‐1138
JAMES COSENS                       48703 ROBIN CT                                                                                 PLYMOUTH          MI      48170‐3255
JAMES COSIMATI                     6237 ARROWBEND COURT                                                                           COLUMBUS          OH      43229‐9142
JAMES COSTAKIS                     39 GREENBRIAR ST                                                                               GROSSE POINTE     MI      48236‐1507
                                                                                                                                  SHORES
JAMES COSTANZO                     121 ALOHA TER                                                                                  PORT ORANGE       FL      32129‐3605
JAMES COSTELLO                     14019 S. KILPATRICK AVENUE                                                                     CRESTWOOD         IL      60445
JAMES COSTELLO                     127 FORBES RD                                                                                  WESTWOOD          MA      02090‐2223
JAMES COSTELLO                     2774 NORTH RD SE                                                                               WARREN            OH      44484‐3751
JAMES COSTELLO                     PO BOX 413                                                                                     CONNEAUT LAKE     PA      16316‐0413
JAMES COSTIGAN JR                  124 W JEFFERSON ST                                                                             DEWITT            MI      48820‐8824
JAMES COTE                         2345 E CALLE LUSTRE                                                                            TUCSON            AZ      85718‐4928
JAMES COTTLE                       880 FAWCETT DR                                                                                 DAYTON            OH      45434‐6145
JAMES COTTON                       15255 EDMORE DR                                                                                DETROIT           MI      48205‐1348
JAMES COTTONGIM                    8121 KEISTER RD                                                                                MIDDLETOWN        OH      45042‐1030
JAMES COTTONGIM                    79 S MICKLEY AVE                                                                               INDIANAPOLIS      IN      46241‐1201
JAMES COTTRELL                     6080 DEERVIEW LN                                                                               MEDINA            OH      44256‐8005
JAMES COTTRELL                     6769 ROSEMONT AVE                                                                              DETROIT           MI      48228‐3438
JAMES COTTRILL                     BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.       OH      44236
JAMES COUCH                        254 LAKEPOINTE DR                                                                              SOMERSET          KY      42503‐4794
JAMES COUCH                        673 ROSS AVE                                                                                   HAMILTON          OH      45013‐3230
JAMES COUCH                        608 PLUM ST                                                                                    FRANKTON          IN      46044
JAMES COUGHLIN                     BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.       OH      44236
JAMES COULS JR                     2470 FIVE FORKS TRL                                                                            THE VILLAGES      FL      32162‐1220
JAMES COULSON                      PO BOX 12                                                                                      KINGWOOD          WV      26537‐0012
JAMES COULTER                      126 ORCHARDALE DR.                                                                             ROCHESTER HILLS   MI      48309
JAMES COULTRIP                     11637 MANDARIN FOREST DR                                                                       JACKSONVILLE      FL      32223‐1716
JAMES COUNTRYMAN                   3103 SHADOW HILL RD                                                                            MIDDLETOWN        OH      45042‐3635
JAMES COURTADE                     3175 11 MILE RD NW                                                                             SPARTA            MI      49345‐8716
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Name                  Address1                        Address2                     Address3          Address4               City               State   Zip
JAMES COURTNEY        9188 SPRINGVIEW LOOP                                                                                  ESTERO              FL     33928‐3404
JAMES COURTNEY        2330 ECUADORIAN WAY APT 16                                                                            CLEARWATER          FL     33763‐3541
JAMES COURTNEY        PO BOX 156                                                                                            MILTON              WI     53563‐0156
JAMES COURTNEY        816 INDIAN LAKE RD                                                                                    LAKE ORION          MI     48362‐1650
JAMES COURTNEY        4606 STRANDWYCK RD                                                                                    WEST BLOOMFIELD     MI     48322‐4418

JAMES COURTRIGHT      2314 HOLLACE CHASTAIN RD                                                                              MITCHELL           IN      47446‐5977
JAMES COURTRIGHT      1805 SURFSIDE DR                                                                                      MANISTEE           MI      49660‐1075
JAMES COURTRIGHT JR   801 HURON ST                                                                                          TECUMSEH           MI      49286‐1780
JAMES COUSINS         586 HAMILTON ST                                                                                       MOUNT MORRIS       MI      48458‐8939
JAMES COUTURE         4394 LOTUS DR                                                                                         WATERFORD          MI      48329‐1236
JAMES COUTURE         2008 FREMONT ST                                                                                       BAY CITY           MI      48708‐8118
JAMES COVEY           6718 HARVEST CT                                                                                       SOUTH LYON         MI      48178‐9017
JAMES COWAN           4414 CYPRESS MILL RD                                                                                  KISSIMMEE          FL      34746‐2760
JAMES COWART          804 HINES RD                                                                                          MORELAND           GA      30259‐2950
JAMES COWELL          NIX, PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD       TX      75638
JAMES COWELL SR       1391 BEDFORD DR                                                                                       TEMPERANCE         MI      48182‐1260
JAMES COWLEY          746 HANLEY RD W                                                                                       LEXINGTON          OH      44904‐1560
JAMES COX             226 KAMAL PKWY                                                                                        CAPE CORAL         FL      33904‐2742
JAMES COX             8468 BENNETT LAKE RD                                                                                  FENTON             MI      48430‐9009
JAMES COX             151 FLORADALE AVE                                                                                     TONAWANDA          NY      14150‐9019
JAMES COX             1019 W ALKALINE SPRINGS RD                                                                            VANDALIA           OH      45377‐1101
JAMES COX             5201 W 350 S                                                                                          MUNCIE             IN      47302
JAMES COX             1920 S FAIRVIEW CT                                                                                    YORKTOWN           IN      47396‐1080
JAMES COX             7886 N RED HILL RD                                                                                    ELLETTSVILLE       IN      47429‐9761
JAMES COX             3206 MARVIN AVE                                                                                       SAINT LOUIS        MO      63114‐2913
JAMES COX             339 SW RANDOLPH CT                                                                                    FORT WHITE         FL      32038‐2811
JAMES COX             3819 PEACH ST                                                                                         SAGINAW            MI      48601‐5559
JAMES COX             7067 PORTER RD                                                                                        GRAND BLANC        MI      48439‐8505
JAMES COX             APT 3                           31611 KENDALL                                                         FRASER             MI      48026‐2524
JAMES COX             2401 E JOLLY RD APT 15                                                                                LANSING            MI      48910
JAMES COX             13955 CHERRY BLOSSOM LN                                                                               MILFORD            MI      48380‐1301
JAMES COX             7130 S M 52                                                                                           OWOSSO             MI      48867‐9264
JAMES COX             9092 NEFF RD                                                                                          CLIO               MI      48420‐1676
JAMES COX             9300 TORREY RD                                                                                        GRAND BLANC        MI      48439‐9324
JAMES COX             2533 BRANCH CREEK RD                                                                                  VENUS              TX      76084‐3304
JAMES COX             5405 WOODS DR                                                                                         SUN VALLEY         NV      89433‐7764
JAMES COX             APT 409                         7430 SOUTH ROCKWELL STREET                                            CHICAGO            IL      60629‐2180
JAMES COX             9001 W COUNTY ROAD 550 S                                                                              DALEVILLE          IN      47334‐9787
JAMES COX             145 ANTENNA RD                                                                                        TREZEVANT          TN      38258‐5007
JAMES COX             7000 DEER HOLLOW CT                                                                                   GRANBURY           TX      76049‐6454
JAMES COX             2706 YALE ST                                                                                          FLINT              MI      48503‐3461
JAMES COX             13489 N FENTON RD                                                                                     FENTON             MI      48430‐1178
JAMES COX             JAMES COX                       445 LIONSTONE DR APT J                                                COLORADO SPRINGS   CO      80916

JAMES COX JR          8468 BENNETT LAKE RD                                                                                  FENTON             MI      48430‐9009
JAMES COX JR          9114 NEFF RD                                                                                          CLIO               MI      48420‐1676
JAMES COX SR          3335 N DREXEL AVE                                                                                     INDIANAPOLIS       IN      46218‐2220
JAMES COY             3720 E 850 N                                                                                          KIRKLIN            IN      46050‐9549
JAMES COYLE           685 COUNTRY CLUB RD                                                                                   INDIANAPOLIS       IN      46234‐2631
JAMES COYLE           11850 CHASE BLVD                                                                                      LIVONIA            MI      48150‐5038
JAMES CRABTREE        1740 FALMOUTH AVE                                                                                     SPRINGFIELD        OH      45503‐1502
JAMES CRABTREE        3231 ALFRED AVE                                                                                       SAINT LOUIS        MO      63116‐1809
JAMES CRABTREE        330 HIGH ROCK RD                                                                                      STANTON            KY      40380‐9697
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Name                 Address1                    Address2              Address3         Address4               City              State   Zip
JAMES CRAFT          2001 S DOWNING ST                                                                         OLATHE             KS     66062‐2985
JAMES CRAFTS         26640 PEPPER RD                                                                           ATHENS             AL     35613‐6802
JAMES CRAIG          2053 W 600 S                                                                              ANDERSON           IN     46013‐9740
JAMES CRAIG          4220 SAINT CHARLES ST                                                                     ANDERSON           IN     46013‐2451
JAMES CRAIG          1226 OAK MANOR                                                                            BEDFORD            IN     47421‐2737
JAMES CRAIG          2493 WILLOWDALE DR                                                                        BURTON             MI     48509‐1358
JAMES CRAIG          305 BAHAR AVE                                                                             OXFORD             MI     48371‐3401
JAMES CRAIGER        2580 HOLMES RD UNIT 20                                                                    YPSILANTI          MI     48198‐4217
JAMES CRAIN          3491 HELEN AVE                                                                            LINCOLN PARK       MI     48146‐3457
JAMES CRAIN          505 N HARRISON ST                                                                         RUSHVILLE          IN     46173‐1526
JAMES CRAMER         203 OUIDA LN                                                                              COLUMBIA           TN     38401‐8930
JAMES CRAMER         1450 E WILLARD RD                                                                         CLIO               MI     48420‐7959
JAMES CRAN           203 BONA VISTA DR NW                                                                      GRAND RAPIDS       MI     49504‐5981
JAMES CRANE          3130 E MOUNT MORRIS RD                                                                    MOUNT MORRIS       MI     48458‐8992
JAMES CRANE          PO BOX 15                                                                                 LATHAM             OH     45646‐0015
JAMES CRANE          404 E ROSELAWN DR                                                                         LOGANSPORT         IN     46947‐2133
JAMES CRANE‐BAKER    27 W. ANAPAMU ST.           #140                                                          SANTA BARBARA      CA     93101
JAMES CRANER         1000 GREEN HILL CV                                                                        BRENTWOOD          TN     37027‐8710
JAMES CRAVALHO       3030 REPUBLIC AVE SE                                                                      WARREN             OH     44484‐3551
JAMES CRAVEY         184 ALLISON LN                                                                            SHARPSBURG         GA     30277‐2379
JAMES CRAW           1424 PANOLA RD                                                                            ELLENWOOD          GA     30294‐2929
JAMES CRAWFORD       54180 OCONEE DR                                                                           MACOMB             MI     48042‐6123
JAMES CRAWFORD       2938 SHAWNEE LN                                                                           WATERFORD          MI     48329‐4336
JAMES CRAWFORD       5990 EAGLE CREEK RD                                                                       LEAVITTSBURG       OH     44430‐9767
JAMES CRAWFORD       233 FENWAY DR                                                                             SYRACUSE           NY     13224‐1536
JAMES CRAWFORD       17677 BUZZARD RD                                                                          WELLSVILLE         OH     43968‐9724
JAMES CRAWFORD       142 BLOUNT ST                                                                             FORSYTH            GA     31029‐3372
JAMES CRAWFORD       8317 BELL STREET                                                                          CROWN POINT        IN     46307‐9648
JAMES CRAWFORD       PO BOX 183                                                                                ALPENA             MI     49707‐0183
JAMES CRAWFORD       601 MORRIS DR                                                                             VERMILION          OH     44089‐2369
JAMES CRAWFORD       191 N DIAMOND MILL RD                                                                     NEW LEBANON        OH     45345‐9629
JAMES CRAWFORD       7367 N CURHARKEN CT                                                                       EDGERTON           WI     53534‐9765
JAMES CRAWFORD       2915 MAIN ST                                                                              SURGOINSVILLE      TN     37873‐5116
JAMES CRAWFORD       3414 CLEMENT ST                                                                           FLINT              MI     48504‐2412
JAMES CRAWFORD       9705 S GREEN RD                                                                           SHEPHERD           MI     48883‐9531
JAMES CRAWFORD JR    2827 LYNDA PL                                                                             DECATUR            GA     30032‐5759
JAMES CRAWLEY        4824 DARBYSHIRE CT                                                                        CANFIELD           OH     44406‐9230
JAMES CRAWLEY        5170 BIRCH DR                                                                             LAKEVIEW           MI     48850‐9100
JAMES CRAYCRAFT      PO BOX 1052                                                                               VIVIAN             LA     71082‐1052
JAMES CRAYTON        1814 OXLEY DR                                                                             FLINT              MI     48504‐7098
JAMES CREECH         3588 DUST COMMANDER DR                                                                    HAMILTON           OH     45011‐8027
JAMES CREECH         1202 KATHERINE DR                                                                         BEAVERCREEK        OH     45434‐6326
JAMES CREEKBAUM      4625 OLYMPIA DR                                                                           MESQUITE           TX     75150‐3040
JAMES CREEKMORE JR   1623 NEW YORK AVE                                                                         LINCOLN PARK       MI     48146‐3811
JAMES CREIGHTON      3066 ELLIS ROAD                                                                           RICHMOND           KS     66080‐9194
JAMES CREMEAN        1648 S LARCHMONT DR                                                                       SANDUSKY           OH     44870‐4367
JAMES CREMONESI      393 COLDIRON DR                                                                           ROCHESTER HILLS    MI     48307‐3813
JAMES CRENSHAW       13210 DIXIE HWY                                                                           HOLLY              MI     48442‐9723
JAMES CRENSHAW       3930 N AVALON DR                                                                          MARION             IN     46952‐1068
JAMES CRESCENZO      139 SUGAR CANE DR                                                                         BOARDMAN           OH     44512‐5948
JAMES CRESCIMANO     3208 STONEWOOD DR                                                                         SANDUSKY           OH     44870‐5464
JAMES CRESS          22702 EAST 24 HWY                                                                         INDEPENDENCE       MO     64056
JAMES CREWS          PO BOX 27496                                                                              LANSING            MI     48909‐0496
JAMES CREWS          6132 PALMETTO DR                                                                          MOUNT MORRIS       MI     48458‐2830
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JAMES CREWS          THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                         HOUSTON               TX     77017
JAMES CRIBBINS       529 W SHERIDAN LINE RD                                                                               PECK                  MI     48466‐9616
JAMES CRIBBS         9159 W SCENIC LAKE DR                                                                                LAINGSBURG            MI     48848‐8785
JAMES CRICHTON       1915 S AVERILL AVE                                                                                   FLINT                 MI     48503‐4403
JAMES CRILE          46480 FRANKS LN                                                                                      SHELBY TOWNSHIP       MI     48315‐5310
JAMES CRIMI          PO BOX 39                                                                                            WATERPORT             NY     14571‐0039
JAMES CRISP          1321 JACKSBORO TRL                                                                                   MORRISON              TN     37357‐5239
JAMES CRISS          51 BRADLEY DR                                                                                        EDISON                NJ     08817‐3544
JAMES CRIST          358 LAWRENCE ST                                                                                      PERTH AMBOY           NJ     08861‐2111
JAMES CRISWELL       9109 WHITCOMB ST                                                                                     DETROIT               MI     48228‐2215
JAMES CRITSER        2218 WOOD ST                                                                                         EUREKA                CA     95501‐4755
JAMES CRITTENDEN     25542 WAGNER AVE                                                                                     WARREN                MI     48089‐1209
JAMES CROCKER        5740 SAM CT                                                                                          VENUS                 TX     76084‐4654
JAMES CROCKETT       19365 HARLOW ST                                                                                      DETROIT               MI     48235‐2238
JAMES CROCKETT       19431 HEIDEN DR                                                                                      BROWNSTOWN            MI     48174‐2537
JAMES CROCKETT       C/O COONEY AND CONWAY            120 NORTH LASALLE 30TH FLOOR                                        CHICAGO                IL    60602
JAMES CROFFORD       3983 STATE ROUTE 82                                                                                  NEWTON FALLS          OH     44444‐9554
JAMES CROFT          3041 GRAVEL SPRINGS RD                                                                               BUFORD                GA     30519‐4414
JAMES CROFT JR       4925 HICKORY FLAT HWY                                                                                CANTON                GA     30115‐9259
JAMES CROMER JR      1190 SUZYLINN AVE                                                                                    BOARDMAN              OH     44512‐3730
JAMES CRONIN         3271 NILE RD                                                                                         WHITTEMORE            MI     48770‐9790
JAMES CRONISER       5742 CRESTHAVEN LN                                                                                   TOLEDO                OH     43614‐1274
JAMES CRONK          72 STA CRUZ PUROK OZ PORAC       PAMPANGA 2000                  PHILLIPINES
JAMES CRONKHITE      5775 LEETE RD                                                                                        LOCKPORT              NY     14094‐1209
JAMES CRONOVER       1092 AMBER RIDGE DR SW                                                                               BYRON CENTER          MI     49315‐9000
JAMES CRONSHAW       4010 GROBE ST                                                                                        NORTH PORT            FL     34287‐1935
JAMES CROOM          C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                           HOUSTON               TX     77007
                     BOUNDAS LLP
JAMES CROSBY         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS.          OH      44236
JAMES CROSBY         9031 LISCOM RD                                                                                       GOODRICH             MI      48438‐8835
JAMES CROSBY         4834 N SKENES RD                                                                                     SANFORD              MI      48657‐9380
JAMES CROSBY         5301 SOUTHWAY DR                                                                                     SWARTZ CREEK         MI      48473‐8229
JAMES CROSBY I I I   6309 NORANDA DR                                                                                      DAYTON               OH      45415‐2026
JAMES CROSBY JR      3838 DENLINGER RD                                                                                    DAYTON               OH      45426‐2328
JAMES CROSBY JR      3838 DENLINGER RD                                                                                    DAYTON               OH      45426‐2328
JAMES CROSS          5019 HAYS DR                                                                                         COLUMBIA             TN      38401‐5018
JAMES CROSS          7392 SEYMOUR RD                                                                                      SWARTZ CREEK         MI      48473‐7652
JAMES CROSS          12165 FARRAND RD                                                                                     OTISVILLE            MI      48463‐9720
JAMES CROSS          1631 ASTOR ST APT 2E                                                                                 CALUMET CITY         IL      60409‐1583
JAMES CROSS          39510 HAZEL DELL RD                                                                                  SHAWNEE              OK      74804‐9548
JAMES CROSSNOE       28306 HUGHES ST                                                                                      SAINT CLAIR SHORES   MI      48081‐3606

JAMES CROSTHWAITE    2409 EDGEMOOR CREEK ST                                                                               PALATKA               FL     32177
JAMES CROUCH         2405 COPE RD                                                                                         MARTINSVILLE          IN     46151‐7951
JAMES CROUCH         PO BOX 432                                                                                           EATON                 IN     47338‐0432
JAMES CROUCH         501 EDGEMERE DR                                                                                      GARLAND               TX     75043‐5420
JAMES CROUSE         11021 KIOWA RD                                                                                       APPLE VALLEY          CA     92308‐7884
JAMES CROW           1804 RIDGESIDE DR                                                                                    ARLINGTON             TX     76013‐4248
JAMES CROW           420 FOREST DR                                                                                        WILMINGTON            DE     19804‐2320
JAMES CROW           PO BOX 271                                                                                           FLOWERY BRANCH        GA     30542‐0005
JAMES CROW           5850 N RITCHIE RD                                                                                    PINCONNING            MI     48650‐8473
JAMES CROW           1802 BAYBERRY LN                                                                                     FLINT                 MI     48507‐1430
JAMES CROWDER        1146 ORANGE BLOSSOM DR                                                                               MOUNT MORRIS          MI     48458‐2824
JAMES CROWDER        KELLER, FISHBACK & JACKSON LLP   18425 BURBANK BLVD, STE 610                                         TARZANA               CA     91356
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Name                Address1                      Address2              Address3         Address4               City             State   Zip
JAMES CROWE         306 N HILL DR                                                                               CARRIERE          MS     39426‐8183
JAMES CROWE         7863 KAVANAGH RD                                                                            BALTIMORE         MD     21222‐3304
JAMES CROWELL       4776 SYCAMORE DR                                                                            YPSILANTI         MI     48197‐8299
JAMES CROWLEY       4029 W MAPLE RD                                                                             WIXOM             MI     48393‐1713
JAMES CROWNOVER     PO BOX 593                                                                                  OLATHE            KS     66051‐0593
JAMES CROY          341 S ELLINGTON PKWY          APT 114D                                                      LEWISBURG         TN     37091‐3499
JAMES CRUCE         1555 THOMAS WOODS TRL                                                                       INDIANAPOLIS      IN     46260‐4447
JAMES CRUM          1869 E COUNTY LINE RD                                                                       MINERAL RIDGE     OH     44440‐9554
JAMES CRUM          4632 ELMER AVE                                                                              DAYTON            OH     45417‐1339
JAMES CRUM          4632 ELMER ST                                                                               DAYTON            OH     45417‐1339
JAMES CRUMLIN       9109 ANCHOR MARK DRIVE                                                                      INDIANAPOLIS      IN     46236‐8552
JAMES CRUMLISH      21 HEMLOCK RD                                                                               ASHEVILLE         NC     28803‐3046
JAMES CRUMP         3380 W COLDWATER RD                                                                         MOUNT MORRIS      MI     48458‐9400
JAMES CRUMP         7838 S HALLDALE AVE                                                                         LOS ANGELES       CA     90047‐2858
JAMES CRUMP         33273 BERNICE AVE                                                                           PAW PAW           MI     49079‐9504
JAMES CRUNKILTON    549 W RIVER ST                                                                              DEERFIELD         MI     49238‐9632
JAMES CRUPPE        286 SHARON DR                                                                               ROCHESTER         NY     14626‐1949
JAMES CRUSE         93 RIDGE CREEK DR                                                                           JANESVILLE        WI     53548‐5842
JAMES CRUTCHER      2134 WINCHESTER RD NW                                                                       HUNTSVILLE        AL     35810‐1643
JAMES CRUTCHFIELD   22118 SHADY LANE AVE                                                                        ST CLAIR SHRS     MI     48080‐3572
JAMES CRUTHERS      G4348 BRANCH RD                                                                             FLINT             MI     48506‐1344
JAMES CSER          5027 WILLOWBEND DR                                                                          MURFREESBORO      TN     37128‐3730
JAMES CUBBIN        85 INVERNESS DR                                                                             BLUFFTON          SC     29910‐4969
JAMES CUCCURELLO    405 HOMESTEAD DR                                                                            SELMA             NC     27576‐8703
JAMES CULBERT       9607 LENORE                                                                                 REDFORD           MI     48239‐1690
JAMES CULBERT       1816 FORKS RD                                                                               CARO              MI     48723‐9324
JAMES CULBERTSON    9449 WINGEIER AVE SE                                                                        ALTO              MI     49302‐9614
JAMES CULLEN        3434 E STATE CAMP RD                                                                        COLUMBIA CITY     IN     46725‐9340
JAMES CULLEN
JAMES CULLERS       7016 TOLUCA DR                                                                              EL PASO          TX      79912‐1517
JAMES CULLIFER      204 HILL ST                                                                                 PARIS            MO      65275‐1029
JAMES CULLIMORE     1781 SCHOOLCRAFT                                                                            HOLT             MI      48842
JAMES CULLIVAN      36129 HICKORY ST                                                                            FRUITLAND PARK   FL      34731‐5304
JAMES CULP          8305 DORR ST                                                                                TOLEDO           OH      43617‐1732
JAMES CULPEPPER     3681 BERNICE DR APT 6                                                                       SAGINAW          MI      48601‐5909
JAMES CULVER        3612 WOODSDALE RD                                                                           ABINGDON         MD      21009‐2004
JAMES CUMMEROW      3940 JACKMAN RD APT 28                                                                      TOLEDO           OH      43612‐1164
JAMES CUMMING       85 WHIMS LN                                                                                 ROCHESTER        MI      48306‐2663
JAMES CUMMINGS      5094 MILL WHEEL DR                                                                          GRAND BLANC      MI      48439‐4232
JAMES CUMMINGS      1150 OLD EAGLE WAY                                                                          GREENWOOD        IN      46143‐8326
JAMES CUMMINGS      2334 RUSTIC RD                                                                              DAYTON           OH      45406‐2136
JAMES CUMMINGS      2918 DAKOTA DR                                                                              ANDERSON         IN      46012‐1416
JAMES CUMMINGS      4755 IOWA ST                                                                                CLAYTON          IN      46118‐9081
JAMES CUMMINGS      437 NATHAN ST                                                                               BURLESON         TX      76028‐5918
JAMES CUMMINGS JR   4108 ALPINE DR                                                                              ANDERSON         IN      46013‐5006
JAMES CUMMINS       952 KERCHER ST                                                                              MIAMISBURG       OH      45342‐1826
JAMES CUNAGIN       124 CUNAGIN RD                                                                              MC KEE           KY      40447‐9484
JAMES CUNLIFFE      5707 SE 48TH ST APT 312                                                                     OKLAHOMA CITY    OK      73135‐4156
JAMES CUNNINGHAM    2270 HEATHERTON CIR                                                                         DACULA           GA      30019‐6633
JAMES CUNNINGHAM    32776 N STATE HIGHWAY 47                                                                    WARRENTON        MO      63383‐4986
JAMES CUNNINGHAM    1809 MACK BENDERMAN RD                                                                      CULLEOKA         TN      38451‐2034
JAMES CUNNINGHAM    26 YORKSHIRE RD                                                                             LEXINGTON        OH      44904‐9566
JAMES CUNNINGHAM    1618 OAK ST                                                                                 DANVILLE         IL      61832‐2366
JAMES CUNNINGHAM    1081 LAKE PARK CIR                                                                          GRAND BLANC      MI      48439‐8039
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Name                    Address1                        Address2                   Address3             Address4                 City             State   Zip
JAMES CUNNINGHAM        341 LAKE HURON DR                                                                                        MULBERRY          FL     33860‐8481
JAMES CUNNINGHAM        2908 SE 56TH ST                                                                                          OKLAHOMA CITY     OK     73129‐9330
JAMES CUNNINGHAM        5628 HUNTER RD                                                                                           BEAVERTON         MI     48612‐8572
JAMES CUNNINGHAM        613 GREEN BRIAR ROAD            APT 15                                                                   WARNER ROBINS     GA     31093
JAMES CUNNINGHAM        981 WEIKEL RD                                                                                            LANSDALE          PA     19446
JAMES CUNNINGHAM JR     1016 RICHIE AVE                                                                                          LIMA              OH     45805‐2052
JAMES CUNNINGHAM JR     4828 MADISON CANNING HOUSE RD                                                                            MADISON           MD     21648‐1122
JAMES CURLEE            24 FRONT ROYAL TER                                                                                       MONROE            LA     71203‐6601
JAMES CURLING           390 LEHIGH RD                                                                                            ROCHESTER HLS     MI     48307‐3741
JAMES CURMI             6643 N HIGHLAND ST                                                                                       DEARBORN HTS      MI     48127‐2273
JAMES CURNUTTE          6890 MOHICAN LN                                                                                          WESTLAND          MI     48185‐2811
JAMES CURRAN            5328 MIKEWOOD DR                                                                                         WATERFORD         MI     48327‐2033
JAMES CURRAN            2495 FRIENDSHIP BOULEVARD                                                                                KOKOMO            IN     46901‐4193
JAMES CURRIE            4620 HILLCREST AVE                                                                                       ROYAL OAK         MI     48073‐1704
JAMES CURRIE            2972 EWINGS RD                                                                                           NEWFANE           NY     14108‐9636
JAMES CURRIE JR         1405 CANTERBURY LN                                                                                       JACKSON           MS     39212‐3808
JAMES CURRY             252 BROOKSIDE TER                                                                                        TONAWANDA         NY     14150‐5902
JAMES CURRY             17981 COUNTY ROAD 8220                                                                                   ROLLA             MO     65401‐5267
JAMES CURRY             410 N SQUIRE ST                 PO BOX 23                                                                HOLGATE           OH     43527
JAMES CURRY             525 E STATE ROAD 28                                                                                      WILLIAMSPORT      IN     47993
JAMES CURRY             3233 VANDEVER RD                                                                                         CROSSVILLE        TN     38572‐3302
JAMES CURRY             2622 MISSION DR                                                                                          SAGINAW           MI     48603‐2866
JAMES CURRY             436 NORWOOD AVE                                                                                          YOUNGSTOWN        OH     44504‐1549
JAMES CURRY             PO BOX 728                                                                                               AVA               MO     65608
JAMES CURRY JR          183 CANTON ST                                                                                            TONAWANDA         NY     14150‐5403
JAMES CURTIS            5080 RIVER CHASE RDG                                                                                     WINSTON SALEM     NC     27104‐4490
JAMES CURTIS            52 AIRVIEW TER                                                                                           DEPEW             NY     14043‐1527
JAMES CURTIS            553 SCEPTRE RD                                                                                           FORISTELL         MO     63348‐1175
JAMES CURTIS            2631 EARL LAKE RD                                                                                        HOWELL            MI     48843‐8613
JAMES CURTIS            3379 HIGHWAY 36 W                                                                                        HARTSELLE         AL     35640‐7404
JAMES CURTIS            4100 DECKERVILLE RD                                                                                      CASS CITY         MI     48726‐9773
JAMES CURTIS FOWLER     ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON         IL    62024
                                                        ANGELIDES & BARNERD LLC
JAMES CURTIS HOLMAN     C/O FOSTER & SEAR, LLP          817 GREENVIEW DRIVE                                                      GRAND PRAIRIE     TX     75050
JAMES CURTIS SULLIVAN   WEITZ & LUXENBERG PC            700 BROADWAY                                                             NEW YORK CITY     NY     10003
JAMES CURTON            10106 PORTAGE RD                                                                                         PORTAGE           MI     49002‐7281
JAMES CURTS             1391 N COUNTY ROAD 725 W                                                                                 YORKTOWN          IN     47396‐9734
JAMES CURWOOD C.E.O.    32302 CAMINO CAPISTRANO                                                                                  SAN JUAN          CA     92675
                                                                                                                                 CAPISTRANO
JAMES CUSHENBERRY       3759 S BALDWIN RD # 102                                                                                  LAKE ORION       MI      48359‐1507
JAMES CUSMANO           27295 MAPLE WOOD DR                                                                                      ROMULUS          MI      48174‐9255
JAMES CUSTER            2912 GRAHAM AVE                                                                                          WINDBER          PA      15963‐2125
JAMES CUTTILL           8364 JENNINGS RD                                                                                         SWARTZ CREEK     MI      48473‐9107
JAMES CUYLER            59 FALCON TRL                                                                                            PITTSFORD        NY      14534‐2459
JAMES CVITKOVICH        2381 SPICER DR                                                                                           BEAVERCREEK      OH      45431‐2444
JAMES CWIKLINSKI        8111 CANADA RD                                                                                           BIRCH RUN        MI      48415‐8432
JAMES CYERS             7037 SUNSET DR S APT 202                                                                                 SOUTH PASADENA   FL      33707‐2867
JAMES CYPRET            5465 WILLOW DR                                                                                           STANDISH         MI      48658‐9773
JAMES CZAJA             333 THORNCLIFF RD                                                                                        BUFFALO          NY      14223‐1207
JAMES CZERNIAK          620 OPHELIA ST                                                                                           NEWTON FALLS     OH      44444‐1471
JAMES CZEWSKI           2438 JOHN R RD APT 107                                                                                   TROY             MI      48083‐2585
JAMES CZYZEWSKI         51 GOHR LN                                                                                               BAY CITY         MI      48708‐9116
JAMES D ALLEN           4261 LESTON AVE                                                                                          DAYTON           OH      45424
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Name                          Address1                          Address2                       Address3   Address4               City                 State Zip
JAMES D ALLEN IRA             C/O HILLARD LYONS CUSTODIAN FOR   148 EAST MAIN STREET STE 218                                     MIDLAND               MI 48640
                              JAMES D ALLEN IRA
JAMES D AMICO                 477 COMMODORE DR                                                                                   FORKED RIVER         NJ   08731‐4835
JAMES D ANDERS                6666 STATE ROUTE 48                                                                                SPRINGBORO           OH   45066‐8744
JAMES D ANDERSON              1955 RUGBY RD                                                                                      DAYTON               OH   45406
JAMES D ANDERSON JR           418 S BROMFIELD RD                                                                                 KETTERING            OH   45429‐2756
JAMES D ANTONIO               1014 OLD HILLS RD                                                                                  MCKEESPORT           PA   15135‐2134
JAMES D ARNETT                1858 JESSAMINE‐STATION                                                                             WILMORE              KY   40390
JAMES D ARRINGTON             7446 FOXDALE DR                                                                                    WAYNESVILLE          OH   45068
JAMES D BALL                  220 KATY LANE                                                                                      ENGLEWOOD            OH   45322
JAMES D BALL                  220 KATY LN                                                                                        ENGLEWOOD            OH   45322‐2435
JAMES D BARBEE JR             186 WEDGEWOOD PLACE                                                                                SPARTANBURG          SC   29302
JAMES D BEATY                 12009 HEMPLE ROAD                                                                                  FARMERSVILLE         OH   45325‐7209
JAMES D BERRY                 5535 WEIDNER RD.                                                                                   SPRINGBORO           OH   45066
JAMES D BEVER                 4028 BARONSMERE CT                                                                                 DAYTON               OH   45415
JAMES D BLEVINS               3722 9TH STREET WEST                                                                               LEHIGH ACRES         FL   33971‐5107
JAMES D BOND SR               C/O WEITZ & LUXENBERG PC          700 BROADWAY                                                     NEW YORK CITY        NY   10003
JAMES D BOOTH                 3341 TRAIL ON RD                                                                                   MORAINE              OH   45439‐1145
JAMES D BOWLING               935 PYRAMID HILL BLVD APT 19B                                                                      HAMILTON             OH   45013‐6419
JAMES D BOWLING               935 B PYRAMID HILL BLVD           APT 19                                                           HAMILTON             OH   45013‐‐ 00
JAMES D BRADLEY SR            7717 WOODWARD AVE                                                                                  DETROIT              MI   48202‐2819
JAMES D BRENNER               14157 MEADOW CT                                                                                    HOLLY                MI   48442‐8412
JAMES D BRETT IRA 3342‐2866   JAMES D BRETT                     1607 BANE WAY                                                    WEST CHESTER         PA   19380‐6466
JAMES D BROADWATER            64 PAULUS BLVD                                                                                     NEW BRUNSWICK        NJ   08901‐1522
JAMES D BROADWATER            54 PAULUS BLVD                                                                                     NEW BRUNSWICK        NJ   08901‐1522
JAMES D BROCK                 2525 LEHIGH PL                                                                                     MORAINE              OH   45439‐2809
JAMES D BROCK                 1016 STUMP BLUFF RD                                                                                BOWLING GREEN        KY   42101‐7838
JAMES D BROOKS                108 JACKSON ST.                                                                                    FARMERSVILLE         OH   45325
JAMES D BROWN                 P O BOX 60364                                                                                      DAYTON               OH   45406
JAMES D BROWN                 757 SPINNING ROAD                                                                                  DAYTON               OH   45431‐2843
JAMES D BROWN                 10200 BURT RD                                                                                      BIRCH RUN            MI   48415
JAMES D BROWN                 C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                        HOUSTON              TX   77007
                              BOUNDAS LLP
JAMES D BRUNTON               1896 HIGHLANDER DR                                                                                 XENIA                OH   45385‐1464
JAMES D BRYANT                22555 E 11 MILE RD                                                                                 SAINT CLAIR SHORES   MI   48081‐1385

JAMES D BUCHANAN              591 ELM DR                                                                                         CARLISLE             OH   45005‐3341
JAMES D BUNGER                920 SPINNING RD                                                                                    DAYTON               OH   45431
JAMES D BUSH                  420 EARLY DRIVE WEST                                                                               MIAMISBURG           OH   45342‐3304
JAMES D CAMPBELL              120 LARKSPUR DR.                                                                                   MOUNT STERLING       KY   40353
JAMES D CARR JR               194 POWER ST.                                                                                      NEW BRUNSWICK        NJ   08901
JAMES D CLARK                 9284 RIDINGS BLVD                                                                                  CENTERVILLE          OH   45458
JAMES D COCHNAUER             709 N DILLON AVE                                                                                   MOORE                OK   73160‐3716
JAMES D COMBS                 1305 HEATHERDALE DR                                                                                KETTERING            OH   45429‐5109
JAMES D COPENHAVER            5131 PIERCE ROAD                                                                                   WARREN               OH   44481‐9308
JAMES D CORTEZ                ACCT OF JOHN R SHERRARD           33580 5 MILE RD                                                  LIVONIA              MI   48154‐2862
JAMES D CORTEZ                ACCT OF MICHAEL P HOWERTON        33580 5 MILE RD                                                  LIVONIA              MI   48154‐2862
JAMES D CORTEZ                ACCT OF MICHAEL P HOWERTON        PO BOX 532110                                                    LIVONIA              MI   48153‐2110
JAMES D CORTEZ                ACCT OF CURTIS L NEWELL           33580 5 MILE RD                                                  LIVONIA              MI   48154‐2862
JAMES D CORTEZ                ACCT OF KENNETH D MC KINNON       33580 5 MILE RD                                                  LIVONIA              MI   48154‐2862
JAMES D CORTEZ                ACCT OF CHARLES A MARSHALL        33580 5 MILE RD                                                  LIVONIA              MI   48154‐2862
JAMES D CORTEZ                ACCT OF KELLI A HYDE              33580 5 MILE RD                                                  LIVONIA              MI   48154‐2862
JAMES D CUNNINGHAM            3210 OTTERBEIN AVE                                                                                 DAYTON               OH   45406‐3924
JAMES D DANIELS               5326 MALLET CLUB DR                                                                                DAYTON               OH   45439‐3276
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JAMES D DECUYPERE    4971 BROWN RD                                                                                 DURAND          MI     48429‐1816
JAMES D DILLOW       PO BOX 905                                                                                    ROUNDUP         MT     59072‐0905
JAMES D DODSON       323 S TELEGRAPH RD APT 7                                                                      PONTIAC         MI     48341‐1970
JAMES D DOUGLAS      PO BOX 524                                                                                    FAIRACRES       NM     88033‐0524
JAMES D DUFFY        1022 DERRINGER DR                                                                             ENGLEWOOD       OH     45322‐2419
JAMES D DURKOS       214 HEINBAUGH ST                                                                              CONFLUENCE      PA     15424
JAMES D DURSCH       15900 OXFORD ROAD                                                                             GERMANTOWN      OH     45327‐9739
JAMES D ELLIOTT      C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                      HOUSTON         TX     77007
                     BOUNDAS LLP
JAMES D ELLIS        16620 LAUDER ST                                                                               DETROIT        MI      48235‐4508
JAMES D ESTES        417 DEER PATH DR.                                                                             CARLISLE       OH      45005
JAMES D FALER        680 SILVERS DR                                                                                XENIA          OH      45385
JAMES D FARMER       807 BELEY AVE                                                                                 SYRACUSE       NY      13211‐1305
JAMES D FITCH        2014 LELAND AVE                                                                               BALTIMORE      MD      21220‐3928
JAMES D FLANNERY     103 SEDONA LANE                                                                               WYOMISSING     PA      19610
JAMES D FOGARTY      1545 KINGSTON COURT                                                                           MARCO ISLAND   FL      34145
JAMES D FORSHA       3196 STATE ROUTE 7                                                                            FOWLER         OH      44418
JAMES D FOX          4315 ROSEDALE RD                                                                              MIDDLETOWN     OH      45042
JAMES D FRANK        12318 N OAKLEAF AVE                                                                           TAMPA          FL      33612‐3919
JAMES D FREIER       122 SUNBURST DR.                                                                              FAIRBORN       OH      45324‐2533
JAMES D GABBARD JR   4711 WHITEWOOD CT                                                                             DAYTON         OH      45424
JAMES D GARRETT      560 VALENCIA ST                                                                               DAYTON         OH      45404‐2360
JAMES D GASSON       37650 S. BORDERS DRIVE                                                                        TUCSON         AZ      85739‐1314
JAMES D GERANT       6602 HALSEY ST                                                                                SHAWNEE        KS      66216‐2738
JAMES D GLIDEWELL    438 FACULTY                                                                                   FAIRBORN       OH      45324‐3934
JAMES D GORE         1052 STATE ROUTE 534 N W                                                                      NEWTON FALLS   OH      44444‐9514
JAMES D GORSKI       7620 W 325 N                                                                                  LARWILL        IN      46764‐9707
JAMES D GOWEN        808 BEAR BLUFF LN                                                                             ELIZABETH      AR      72531‐9173
JAMES D GRAHAM       5052 LAUDERDALE DR                                                                            MORAINE        OH      45439‐2927
JAMES D GRAHAM       2676 MOHICAN AVE                                                                              KETTERING      OH      45429
JAMES D GREER        PO BOX 802                                                                                    TAZEWELL       TN      37879‐0802
JAMES D GROUNDS      511 RAHKEWOOD DR                                                                              INDIANAPOLIS   IN      46217‐3653
JAMES D HACKLEY      7 GREENEVIEW DR                                                                               JAMESTOWN      OH      45335‐1536
JAMES D HAMPTON      639 W MARKET ST                                                                               GERMANTOWN     OH      45327
JAMES D HARDING      4928 PAULA AVE                                                                                CLARKSTON      MI      48346‐2663
JAMES D HARDY        5341 DUTCH RD                                                                                 LESLIE         MI      49251‐9717
JAMES D HARDY        1379 ROCKWELL DRIVE                                                                           XENIA          OH      45385‐3855
JAMES D HARRIS       1652 CEDAR CT                                                                                 BELLBROOK      OH      45305
JAMES D HARRIS       336 FALCON COURT                                                                              GRAND BLANC    MI      48439‐7043
JAMES D HATTON       113 TEXAS                                                                                     BELLEVILLE     MI      48111‐9030
JAMES D HAYNES       5610 N. MAIN ST.                                                                              DAYTON         OH      45415
JAMES D HEEDE        3616 BRIAN PL                                                                                 CARMEL         IN      46033
JAMES D HELLRIGEL    215 E. FAIRVIEW                                                                               DAYTON         OH      45405‐3416
JAMES D HENDERSON    C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                                     HOUSTON        TX      77007
                     BOUNDAS, LLP
JAMES D HERMAN       1906 SOITH LINCOLN STREET                                                                     BAY CITY       MI      48708
JAMES D HERMAN       1906 S LINCOLN ST                                                                             BAY CITY       MI      48708‐8169
JAMES D HOLT         48 WEST HIGH TERRACE                                                                          ROCHESTER      NY      14619‐1833
JAMES D HOOVER       4290 E COLDWATER RD                                                                           FLINT          MI      48506‐1052
JAMES D HOWARD       800 SOUTHFORD AVE                                                                             DAYTON         OH      45429‐2054
JAMES D HUFFMAN      955 RUIE RD                                                                                   NORTH          NY      14120‐1727
                                                                                                                   TONAWANDA
JAMES D HUNTER       300 S DIAMOND MILL RD                                                                         NEW LEBANON    OH      45345‐9145
JAMES D HUSCROFT     9090 RIDGE RD                                                                                 KINSMAN        OH      44428
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Name                                Address1                             Address2                      Address3                    Address4               City               State   Zip
JAMES D JACKSON                     3398 CRANDON DR                                                                                                       DAVISON             MI     48423‐8579
JAMES D JACKSON                     25144 LEROY ST                                                                                                        TAYLOR              MI     48180‐6401
JAMES D JOHNSON                     8832 MEADOWLARK DR                                                                                                    CARLISLE            OH     45005
JAMES D JONES                       21578 BOLENDER PONTIUS RD                                                                                             CIRCLEVILLE         OH     43113
JAMES D KASTER                      1023 LARKSTONE DRIVE                                                                                                  COLUMBUS            OH     43235‐3422
JAMES D KASTER                      1023 LAKESTONE DR.                                                                                                    COLUMBUS            OH     43235
JAMES D KEEN                        6200 PHILADELPHIA DR                                                                                                  DAYTON              OH     45415‐2656
JAMES D KESSELRING                  10455 GERONIMOS TRL                                                                                                   GAYLORD             MI     49735‐9675
JAMES D KESTER
JAMES D KIGER                       2415 ROYAL RIDGE DR                                                                                                   MIAMISBURG         OH      45342
JAMES D KIMMEL                      945 LINCOLN HEIGHTS AVE                                                                                               EPHRATA            PA      17522
JAMES D KLEINTANK                   9756 BOUCHER RD                                                                                                       OTTER LAKE         MI      48464‐9416
JAMES D KNOX                        1CHIPPEWA COURT                                                                                                       ARCANUM            OH      45304
JAMES D KRAUSE                      8830 NORMANDY CREEK DRIVE                                                                                             CENTERVILLE        OH      45458
JAMES D KREITNER                    1623 CATALPA PL                                                                                                       SIDNEY             OH      45365‐1002
JAMES D KUYKENDALL                  WEITZ & LUXENBERG PC                 700 BROADWAY                                                                     NEW YORK           NY      10003
JAMES D LA VESSER                   PO BOX696                                                                                                             CRIVTZ             WI      54114
JAMES D LAGALO                      3806 CHURCH ST                                                                                                        SAGINAW            MI      48604‐1735
JAMES D LAMAR                       633 FOX AVE                                                                                                           YPSILANTI          MI      48198‐6149
JAMES D LAVERY AND LINDA A LAVERY   325 ROSHON DR                                                                                                         MEDINA             OH      44256‐2021
JAMES D LEE                         2600 ALBRECHT AVE.                                                                                                    DAYTON             OH      45404
JAMES D LEWIS                       C/O BRAYTON PURCELL                  222 RUSH LANDING RD                                                              NOVATO             CA      94948‐6169
JAMES D LOPESTO                     C/O NICHOLAUS J DILLY                ANGELINA FRACCARO & HERRICK PC 1626 W COLONIAL PKWY                              LANSING            MI      48911
JAMES D LOUIS                       36 MELWOOD AVE                                                                                                        DAYTON             OH      45417
JAMES D MADEWELL                    15 SOUTH JAY ST                                                                                                       WEST MILTON        OH      45383‐1603
JAMES D MALIN                       ROBERT W PHILLIPS, SIMMONS BROWDER   707 BERKSHIRE BLVD            PO BOX 521                                         EAST ALTON         IL      62024
                                    GIANARIS ANGELIDES & BARNERD LLC

JAMES D MALLOY                      4448 WILLARD RD                                                                                                       BIRCH RUN          MI      48415‐8700
JAMES D MANN                        13070 HILLSBURY DR                                                                                                    FENTON             MI      48430‐2536
JAMES D MASSEY                      6550 INNSDALE PL                                                                                                      HUBER HEIGHTS      OH      45424
JAMES D MCCARTY                     9822 WOODLAND CT                                                                                                      YPSILANTI          MI      48197‐9739
JAMES D MCCARTY                     PO BOX 2018                                                                                                           KEYSTONE HEIGHTS   FL      32656‐2018

JAMES D MCCLELLAN                   806 W RIVER ST                                                                                                        OZARK              AR      72949
JAMES D MCCLOUD                     2770 AUDUBON DR.                     APT. C                                                                           MIDDLETOWN         OH      45044
JAMES D MCFADDEN                    1641 KNOB HILL DR                                                                                                     COSHOCTON          OH      43812
JAMES D MCGUIRE                     140 CHARLIE NEAL RD                                                                                                   BURNSIDE           KY      42519
JAMES D MEYER                       4534 HAMLET PL                                                                                                        MADISON            WI      53714‐1961
JAMES D MILLER                      796 JOBIN DR                                                                                                          WEST BRANCH        MI      48661‐8436
JAMES D MOFFETT                     C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY STE 600                                                        HOUSTON            TX      77007
                                    BOUNDAS LLP
JAMES D MONCREASE                   9946 METTETAL ST                                                                                                      DETROIT            MI      48227‐1639
JAMES D MONROE                      162 WESTHAFER RD                                                                                                      VANDALIA           OH      45377‐2837
JAMES D MORGAN                      340 N CHANTILLY RD                                                                                                    WINFIELD           MO      63389‐3650
JAMES D MORGAN                      605 GLENDALE AVE                                                                                                      TILTON             IL      61833‐7939
JAMES D MORRISON                    7745 BROOKWOOD ST NE                                                                                                  WARREN             OH      44484
JAMES D MUMFORD                     864 W STATE ROUTE 571                                                                                                 TIPP CITY          OH      45371‐9695
JAMES D MYERS                       ATTN ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD PO BOX                          EAST ALTON         IL      62024
                                                                         ANGELIDES & BARNERD LLC       521
JAMES D NEWPORT                     1008 HIGH RIDGE DR N                                                                                                  GOODLETTSVILLE     TN      37072
JAMES D NORMAN                      1057 EAST CENTRAL AVENUE                                                                                              MIAMISBURG         OH      45342‐2555
JAMES D O'BRIEN                     323 SINGLE DR                                                                                                         NORTH SYRACUSE     NY      13212
JAMES D OUSLEY                      744 CENTRAL AVE                                                                                                       CARLISLE           OH      45005‐3332
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Name                                 Address1                         Address2                         Address3   Address4               City            State   Zip
JAMES D OWENS                        381 CHERRYWOOD DRIVE                                                                                FAIRBORN         OH     45324‐4012
JAMES D PARKER                       #B                               8072 JONES COURT                                                   MTN HOME AFB     ID     83648‐1096
JAMES D PAYNE                        4190 S STATE ROUTE 721                                                                              LAURA            OH     45337‐9748
JAMES D PELFREY JR                   231 EAST MAIN STREET                                                                                WEST CARROLLT    OH     45449‐1417
JAMES D PERRY                        930 HAMPTON CT                                                                                      LEBANON          OH     45036
JAMES D PERRY                        4606 POWELL RD                                                                                      DAYTON           OH     45424‐5843
JAMES D PERRY II                     1701 LEO ST                                                                                         DAYTON           OH     45404
JAMES D PODLOGAR                     6108 ARNIES WAY                                                                                     MILTON           FL     32570
JAMES D PONT                         C/O EMBRY & NEUSNER              PO BOX 1409                                                        GROTON           CT     06340
JAMES D QUADE                        5123 51ST LANE W                                                                                    BRADENTON        FL     34210‐4701
JAMES D RAINEY                       777 HIGH OAKS CIR                                                                                   BEAVERCREEK      OH     45434‐6014
JAMES D RIDER                        141 DUNLOP AVE                                                                                      TONAWANDA        NY     14150‐7810
JAMES D ROBBINS                      PO BOX 246                                                                                          CEDARVILLE       OH     45314‐0246
JAMES D ROBERTS                      114 S SLATER ST                                                                                     LAKE ORION       MI     48362‐3265
JAMES D RUPERT                       8420 DAYTON GERMANTOWN PIKE                                                                         GERMANTOWN       OH     45327‐9337
JAMES D RUSHING                      P O BOX 965                                                                                         BOAZ             AL     35957
JAMES D SALUGA                       2752 ASPEN DR                                                                                       GIRARD           OH     44420
JAMES D SAUNDERS                     57 STRAND AVE                                                                                       DAYTON           OH     45427‐2830
JAMES D SCHAEFER                     503 E MCFARLAND ST                                                                                  GRANDVIEW        TX     76050‐2136
JAMES D SEWELL                       1 MARY LANE                                                                                         W. ALEXANDRIA    OH     45381‐9388
JAMES D SEXTON                       1416 58TH ST W                                                                                      BRADENTON        FL     34209‐4738
JAMES D SHANNON                      2549 BINGHAM AVE                                                                                    DAYTON           OH     45420‐3724
JAMES D SHANON                       100 W GALLATIN ST                                                                                   HAZLEHURST       MS     39083
JAMES D SHAVER                       1605 SOUTHLAWN DR                                                                                   FAIRBORN         OH     45324
JAMES D SHELTON                      24090 ROSEWOOD AVE                                                                                  TAYLOR           MI     48180‐4066
JAMES D SKAGGS                       BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS       OH     44236
JAMES D SKANDALARIS IRA              JAMES D SKANDALARIS              2485 WORCESTER                                                     ORCHARD LAKE     MI     48323
JAMES D SMITH                        173 GADDIS MYERS RD                                                                                 PELAHATCHIE      MS     39145
JAMES D SMITH                        5338 LINDBERGH BLVD                                                                                 W. CARROLLTON    OH     45449
JAMES D SNITGEN                      43304 ASHBURY DR                                                                                    NOVI             MI     48375‐4716
JAMES D SPRAGUE                      432 PIERCE PLACE DR                                                                                 MT PLEASANT      TN     38474
JAMES D STAHL II                     C/O W KELLEY CAUDILL             215 STANLEY REED COURT                                             MAYSVILLE        KY     41056‐1105
JAMES D STAHL II                     C/O W KELLY CAUDILL              215 STANLEY REED COURT                                             MAYSVILLE        KY     41056
JAMES D STIFFLER & OLMA D STIFFLER   C/O MR JAMES STIFFLER            4168 ARLINGTON RD                                                  UNIONTOWN        OH     44685
JAMES D SVESNIK                      87 BALTIMORE ST                                                                                     IRWIN            PA     15642‐8661
JAMES D TAYLOR                       542 WENLAN CT                                                                                       DAYTON           OH     45430
JAMES D THOMPSON                     12845 SHERIDAN RD                                                                                   BURT             MI     48417‐9773
JAMES D TULLEY                       120 WINTERGREEN CT                                                                                  HOT SPRINGS      AR     71913‐8294
JAMES D UTSEY                        5833 MCCLELLAN ST                                                                                   DETROIT          MI     48213‐3053
JAMES D WARD                         PO BOX 598                                                                                          PEEBLES          OH     45660‐0598
JAMES D WATTS                        2702 TROWBRIDGE DRIVE                                                                               PARAGOULD        AR     72450
JAMES D WESLEY                       C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                                LITTLE ROCK      AR     72201
JAMES D WHITE                        415 N. MAIN STREET                                                                                  UNION            OH     45322‐9744
JAMES D WILKERSON                    3223 BENDING BROOK DR                                                                               FLUSHING         MI     48433‐3013
JAMES D WILLIAMS                     110 1ST ST                                                                                          MILTON           WI     53563‐1125
JAMES D WILLIAMS SR                  C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS       OH     44236
JAMES D WOODARD                      2416 HARDING AVE                                                                                    DAYTON           OH     45414‐3212
JAMES D WORTHY                       PO BOX 901983                                                                                       KANSAS CITY      MO     64190‐1983
JAMES D YOUNG                        5117 HOOVER AVE                                                                                     DAYTON           OH     45427‐‐ 22
JAMES D'ARCY                         2716 SPAULDING RD                                                                                   ATTICA           MI     48412‐9314
JAMES D. CURRY                       COUNTY ADMINISTRATOR             1804 LEWIS TURNER BLVD STE 400                                     FORT WALTON      FL     32547‐1285
                                                                                                                                         BEACH
JAMES D. QUADE ‐ IRA                 FCC AS CUSTODIAN                 5123 51ST LN W                                                     BRADENTON       FL      34210‐4701
JAMES D. SWINNEY                     120 BOSWELL ST.                                                                                     KOSCIUSKO       MS      39090
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Name                                 Address1                        Address2                      Address3   Address4               City               State Zip
JAMES D. SWINNEY & LUCY B. SWINNEY   120 BOSWELL ST                                                                                  KOSCIUSKO           MS 39090

JAMES D. TURNBULL
JAMES DA BELLA                       5481 SALT RD                                                                                    MIDDLEPORT         NY   14105
JAMES DABBS                          307 DECATUR AVE                                                                                 PEEKSKILL          NY   10566‐2107
JAMES DABISCH                        2908 CODY CT                                                                                    WAUKESHA           WI   53188‐4521
JAMES DAFLER                         60 CENTRAL AVE                                                                                  WEST ALEXANDRIA    OH   45381‐1255

JAMES DAILEY                         1032 CEDAR ST                                                                                   OXFORD             MI   48371‐3583
JAMES DAILEY                         350 COLLINSWOOD DR                                                                              STONEWALL          LA   71078‐9517
JAMES DAILEY                         1113 AIRWAY                                                                                     WATERFORD          MI   48327‐1818
JAMES DAILEY                         216 N ELM ST                                                                                    COLUMBIANA         OH   44408‐1143
JAMES DAILEY                         14335 DRUMRIGHT DR                                                                              STERLING HTS       MI   48313‐4323
JAMES DAILY                          1739 PINE LN                                                                                    IUKA               MS   38852‐7489
JAMES DAINS                          399 DAYTONA RD                                                                                  COLUMBUS           OH   43228‐1909
JAMES DALBEC                         11515 W 143RD TER                                                                               OLATHE             KS   66062‐8400
JAMES DALDOS                         9322 48TH AVE                                                                                   HUDSONVILLE        MI   49426‐8617
JAMES DALDRUP                        708 W 8TH ST                                                                                    CAMERON            MO   64429‐1130
JAMES DALE                           4846 MALLARD VIEW DR                                                                            INDIANAPOLIS       IN   46226‐2188
JAMES DALESANDRO                     14812 BELOIT SNODES RD                                                                          BELOIT             OH   44609‐9537
JAMES DALEY                          8900 ARLETA AVE                                                                                 ARLETA             CA   91331‐4903
JAMES DALEY JR                       30130 WOODHAVEN LN                                                                              BEVERLY HILLS      MI   48025‐4963
JAMES DALLAS                         8124 N SERENE AVE                                                                               KANSAS CITY        MO   64152‐2046
JAMES DALLAS                         513 HARRIET ST                                                                                  DAYTON             OH   45408‐2025
JAMES DALLAS                         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.        OH   44236
JAMES DALSKY                         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.        OH   44236
JAMES DALTON                         2244 RABY RD                                                                                    EAST LANSING       MI   48823‐7759
JAMES DALTON                         29340 WOODPARK CIR                                                                              WARREN             MI   48092‐6305
JAMES DALTON                         PO BOX 9022                                                                                     WARREN             MI   48090‐9022
JAMES DALTON                         3101 W 775 S                                                                                    MUNCIE             IN   47302
JAMES DALTON                         17305 HANNA ST                                                                                  MELVINDALE         MI   48122‐1030
JAMES DALTON                         6401 N MORRISON RD                                                                              MUNCIE             IN   47304‐8830
JAMES DALTON                         1084 MCPHERSON RD                                                                               XENIA              OH   45385‐7327
JAMES DALTON                         1216 N SCATTERFIELD RD                                                                          ANDERSON           IN   46012‐1541
JAMES DALTON                         5289 WINDY POINT RD                                                                             CELINA             OH   45822‐8128
JAMES DALTON                         4008 W FRANKLIN ST                                                                              BELLBROOK          OH   45305‐1545
JAMES DALTON                         8017 NC 700                                                                                     RUFFIN             NC   27326
JAMES DALTON                         2791 2 MILE RD                                                                                  BAY CITY           MI   48706‐1247
JAMES DALY                           827 MEADOW DR                                                                                   DAVISON            MI   48423‐1047
JAMES DALY                           339 SHERMAN DRIVE                                                                               BATTLE CREEK       MI   49015‐3135
JAMES DALY                           202 W ROSWELL AVE                                                                               NEDROW             NY   13120‐1029
JAMES DALZELL                        115 HUNTER RD                                                                                   ROTONDA WEST       FL   33947‐2425
JAMES DAMATO                         6 DAVID LOOP                                                                                    WAPPINGERS FALLS   NY   12590‐4435

JAMES DAMONS                         THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                     HOUSTON            TX   77017
JAMES DAMPIER                        210 EAST PENN                   BOX 182                                                         LA FARGE           WI   54639
JAMES DAMSEN                         4330 BUSCH RD                                                                                   BIRCH RUN          MI   48415‐8733
JAMES DANAHY                         PO BOX 9022                                                                                     WARREN             MI   48090
JAMES DANCY SR                       4633 N MICHELLE ST                                                                              SAGINAW            MI   48601‐6630
JAMES DANDALIDES                     15900 TRUMBULL DR                                                                               MACOMB             MI   48044‐5021
JAMES DANIEL                         4560 FIRESTONE BLVD.            APT 9                                                           SOUTH GATE         CA   90280
JAMES DANIEL                         PO BOX 233                                                                                      STILESVILLE        IN   46180‐0233
JAMES DANIEL                         918 W 11TH ST                                                                                   MARION             IN   46953‐1726
JAMES DANIEL                         183 LAWRENCE DANIELS LN                                                                         COLUMBIA           MS   39429‐9492
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Name                    Address1                         Address2                       Address3   Address4               City             State Zip
JAMES DANIEL            406 S 3RD ST                                                                                      FERNANDINA BEACH  FL 32034‐4215

JAMES DANIEL            124 BENNETT ST                                                                                    WELLINGTON         OH   44090‐1203
JAMES DANIEL            23 ABBEY DR                                                                                       SPRINGBORO         OH   45066‐8321
JAMES DANIEL (469518)   ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                       BALTIMORE          MD   21202
                                                         CHARLES CENTER 22ND FLOOR
JAMES DANIELS           16252 WARD ST                                                                                     DETROIT            MI   48235‐4283
JAMES DANIELS           2793 HARRINGTON PL SW                                                                             ATLANTA            GA   30311‐2346
JAMES DANIELS           7801 REGENCY DR                                                                                   WALTON HILLS       OH   44146‐5373
JAMES DANIELS           5326 MALLET CLUB DR                                                                               DAYTON             OH   45439‐3276
JAMES DANIELS           1170 E LORADO AVE                                                                                 FLINT              MI   48505‐2330
JAMES DANIELS           26231 LINWOOD ST                                                                                  ROSEVILLE          MI   48066‐4954
JAMES DANIELS           1508 SHAGBARK LN APT G                                                                            PLEASANT HILL      MO   64080‐1766
JAMES DANIELS           260 ENGLEWOOD ST                                                                                  DETROIT            MI   48202‐1107
JAMES DANIELS JR        18508 FLEMING ST                                                                                  DETROIT            MI   48234‐1309
JAMES DANKENBRING       2110 N PONCA DR                                                                                   INDEPENDENCE       MO   64058‐1251
JAMES DANKS             PO BOX 514                                                                                        COLUMBIANA         OH   44408‐0514
JAMES DANN              2526 LOST CREEK DR                                                                                FLUSHING           MI   48433‐9438
JAMES DANNARD           21385 HIAWATHA TRL                                                                                SOUTHFIELD         MI   48075‐6137
JAMES DANSBY            259 POPLAR ST                                                                                     MANSFIELD          OH   44903‐2123
JAMES DAPORE            533 KENT RD                                                                                       TIPP CITY          OH   45371‐2520
JAMES DARBY             6367 E MOUNT MORRIS RD                                                                            MOUNT MORRIS       MI   48458‐9704
JAMES DARBY             120 DAMON ST                                                                                      FLINT              MI   48505‐3726
JAMES DARDEN            5331 PATHVIEW DR                                                                                  HUBER HEIGHTS      OH   45424‐2566
JAMES DARDEN            2164 PARKTON RD                                                                                   MOUNT MORRIS       MI   48458‐2652
JAMES DARIN             21759 WINSHALL ST                                                                                 ST CLAIR SHRS      MI   48081‐2779
JAMES DARLEY            6033 E COLDWATER RD                                                                               FLINT              MI   48506‐1207
JAMES DARLING           2582 SIEVER DR                                                                                    CANTON             MI   48188‐3289
JAMES DARLING           7296 PHELPS AVE                                                                                   WOLCOTT            NY   14590‐9387
JAMES DARMOFAL II       29754 ROSSLYN AVE                                                                                 GARDEN CITY        MI   48135‐3606
JAMES DARNELL           51 LAWTON AVE                                                                                     HAMILTON           NJ   08629‐1441
JAMES DARNELL           8009 BEEBE RD                                                                                     CHEBOYGAN          MI   49721‐8714
JAMES DARNELL           C/O COONEY & CONWAY              120 NORTH LASALLE 30TH FLOOR                                     CHICAGO            IL   60602
JAMES DARNEY            521 SHEETS ST                                                                                     UNION              OH   45322‐3126
JAMES DARROUGH          1408 CHISSOM TRL                                                                                  FLINT              MI   48532‐2310
JAMES DARST             12400 TROY RD                                                                                     NEW CARLISLE       OH   45344‐9546
JAMES DARTY             15318 WARWICK ST                                                                                  DETROIT            MI   48223‐1721
JAMES DASKY             11299 MANCHESTER DR                                                                               FENTON             MI   48430‐2539
JAMES DATINI            1359 AUSTIN AVE                                                                                   LINCOLN PARK       MI   48146‐2004
JAMES DATTE             30044 KINGSWAY DR                                                                                 FARMINGTON HILLS   MI   48331‐1708

JAMES DAUBENSPECK       1795 WALKER LAKE RD                                                                               MANSFIELD          OH   44906‐1417
JAMES DAUBERT           6118 ARENDES DR                                                                                   SAINT LOUIS        MO   63116‐3121
JAMES DAUBERT           9464 E PLANA AVE                                                                                  MESA               AZ   85212‐1488
JAMES DAUGHERTY         8434 CYPRESS TRL                                                                                  WAYNESVILLE        OH   45068‐8397
JAMES DAUGHERTY         143 PLEASANT PARK CT NW                                                                           WARREN             OH   44481‐9440
JAMES DAUGHERTY         670 FUHRER AVE                                                                                    MANSFIELD          OH   44904
JAMES DAUGHERTY         2345 ROSS ST                                                                                      GRAND BLANC        MI   48439‐4316
JAMES DAUGHERTY         101 N 17TH ST                                                                                     NOBLESVILLE        IN   46060‐2300
JAMES DAUGHERTY         25 FORESTERS LANE                                                                                 SPRINGFIELD        IL   62704
JAMES DAUGHHETEE        2218 E 5TH ST                                                                                     ANDERSON           IN   46012‐3618
JAMES DAULTON           3380 POPLAR GROVE RD                                                                              PEEBLES            OH   45660‐8921
JAMES DAVES             160 JENKINS DRIVE                                                                                 DALTON             GA   30721‐6485
JAMES DAVEY             48240 ORIOLE ST                                                                                   SHELBY TOWNSHIP    MI   48317‐2433
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Name                     Address1                         Address2              Address3         Address4               City               State Zip
JAMES DAVID              2502 S COMMERCE RD                                                                             WALLED LAKE         MI 48390‐2132
JAMES DAVID C
JAMES DAVID C (473090)   (NO OPPOSING COUNSEL)
JAMES DAVID GRAY         6334 HOLLANSBURG ARCANUM RD                                                                    ARCANUM            OH   45304‐9247
JAMES DAVIDSON           7364 COOK RD                                                                                   SWARTZ CREEK       MI   48473‐9109
JAMES DAVIDSON           5429 E BRISTOL RD                                                                              BURTON             MI   48519‐1509
JAMES DAVIDSON           6358 ROUTZONG RD                                                                               GREENVILLE         OH   45331‐8640
JAMES DAVIDSON           5115 HOPEWELL RD                                                                               CUMMING            GA   30028‐3363
JAMES DAVIDSON           19247 U S 23 NORTH                                                                             OCQUEOC            MI   49759
JAMES DAVIDSON JR        11173 PROVIDENCE RD                                                                            SHREVEPORT         LA   71129‐8512
JAMES DAVIES             PO BOX 7026                                                                                    NOVI               MI   48376‐7026
JAMES DAVIGNON           474 HOMESTEAD DR                                                                               N TONAWANDA        NY   14120‐1651
JAMES DAVIS              270 W FUNDERBURG RD                                                                            FAIRBORN           OH   45324‐2337
JAMES DAVIS              6832 BENITA ST                                                                                 NEWTON FALLS       OH   44444‐9212
JAMES DAVIS              3391 HIGH KNOLL DR                                                                             HIGHLAND           MI   48356‐1407
JAMES DAVIS              23105 KIPLING ST # 102                                                                         OAK PARK           MI   48237
JAMES DAVIS              6124 PEBBLESHIRE DR                                                                            GRAND BLANC        MI   48439‐4843
JAMES DAVIS              5404 FRUITPORT RD                                                                              FRUITPORT          MI   49415‐9625
JAMES DAVIS              499 EASY ST                                                                                    WEST UNION         IA   52175‐1265
JAMES DAVIS              3528 JULIE LN                                                                                  INDIANAPOLIS       IN   46228‐2043
JAMES DAVIS              2430 W HIGHFIELD ST                                                                            COLUMBUS           IN   47201‐4679
JAMES DAVIS              4471 2 MILE RD                                                                                 BAY CITY           MI   48706‐2327
JAMES DAVIS              9340 GRAND SUMMIT DR                                                                           FENTON             MI   48430‐4600
JAMES DAVIS              14411 MERCI AVE                                                                                STERLING HEIGHTS   MI   48313‐5629
JAMES DAVIS              13203 HEMLOCK RIDGE RD                                                                         ALBION             NY   14411‐9333
JAMES DAVIS              PO BOX 267                                                                                     PERRYOPOLIS        PA   15473‐0267
JAMES DAVIS              95 BIRCHWOOD DR                                                                                TROY               MI   48083‐1710
JAMES DAVIS              420 ABBE RD N                                                                                  ELYRIA             OH   44035‐3717
JAMES DAVIS              5116 N LAKE DR                                                                                 ROANOKE            VA   24019‐2727
JAMES DAVIS              3830 KILBURN RD                                                                                RANDALLSTOWN       MD   21133‐4656
JAMES DAVIS              2226 N IRISH RD                                                                                DAVISON            MI   48423‐9562
JAMES DAVIS              9252 JANE AVE                                                                                  MIAMISBURG         OH   45342‐5162
JAMES DAVIS              5823 PALMYRA RD SW                                                                             WARREN             OH   44481‐9712
JAMES DAVIS              530 INWOOD DR                                                                                  MANSFIELD          OH   44903‐7422
JAMES DAVIS              PO BOX 653                                                                                     HOMOSASSA          FL   34447‐0653
                                                                                                                        SPRINGS
JAMES DAVIS              PO BOX 537                                                                                     EAST ELLIJAY       GA   30539‐0009
JAMES DAVIS              72 WAKEFIELD AVE                                                                               BUFFALO            NY   14214‐2112
JAMES DAVIS              3750 READING RD APT 8                                                                          CINCINNATI         OH   45229‐1438
JAMES DAVIS              306 MILTON CT UNIT C                                                                           BLOOMINGDALE       IL   60108‐2067
JAMES DAVIS              3834 N 100 E                                                                                   MARION             IN   46952‐6758
JAMES DAVIS              4662 W 450 S                                                                                   CRAWFORDSVILLE     IN   47933‐8018
JAMES DAVIS              636 PERSHING DR                                                                                ANDERSON           IN   46011‐1832
JAMES DAVIS              2108 CRYSTAL ST                                                                                ANDERSON           IN   46012‐1722
JAMES DAVIS              3617 W 155TH ST                                                                                CLEVELAND          OH   44111‐3007
JAMES DAVIS              148 LONGWOOD DR                                                                                BUNKER HILL        WV   25413‐4049
JAMES DAVIS              2208 WESTDALE CT                                                                               KOKOMO             IN   46901‐5009
JAMES DAVIS              465 ART GALLERY RD                                                                             BEDFORD            IN   47421‐8190
JAMES DAVIS              103 N PARK ST                                                                                  YPSILANTI          MI   48198‐2923
JAMES DAVIS              7350 MORRCREST LN                                                                              FLUSHING           MI   48433‐8882
JAMES DAVIS              206 ARBOR CREEK BLVD                                                                           NASHVILLE          TN   37217‐5045
JAMES DAVIS              1721 VAN WAGONER DR                                                                            SAGINAW            MI   48638‐4416
JAMES DAVIS              908 PORT AUSTIN RD                                                                             PORT AUSTIN        MI   48467‐9626
JAMES DAVIS              PO BOX 431722                                                                                  PONTIAC            MI   48343‐1722
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Name              Address1                        Address2                     Address3   Address4               City               State   Zip
JAMES DAVIS       1830 PERSIMMON PATH                                                                            HOLT                MI     48842‐1549
JAMES DAVIS       65 RYERSON RD                                                                                  BENTON              MO     63736‐8267
JAMES DAVIS       3413 RACE ST                                                                                   FLINT               MI     48504‐2239
JAMES DAVIS       PO BOX 20264                                                                                   HOT SPRINGS         AR     71903‐0264
JAMES DAVIS       9123 N LEWIS RD                                                                                CLIO                MI     48420‐9772
JAMES DAVIS       3901 GRAND RIVER AVE APT 210                                                                   DETROIT             MI     48208‐2851
JAMES DAVIS       25815 SKYE DR                                                                                  FARMINGTON HILLS    MI     48336‐1679

JAMES DAVIS       600 W WALTON BLVD APT 114                                                                      PONTIAC            MI      48340
JAMES DAVIS       1470 W HUMPHREY AVE                                                                            FLINT              MI      48505‐1029
JAMES DAVIS       13149 HWY 273                                                                                  TELEPHONE          TX      75488
JAMES DAVIS       2023 REEVER ST                                                                                 ARLINGTON          TX      76010‐8028
JAMES DAVIS       1710 WESTOVER DR                                                                               ARLINGTON          TX      76015‐1332
JAMES DAVIS       PO BOX 430345                                                                                  PONTIAC            MI      48343‐0345
JAMES DAVIS       2805 LIBERTY LANDING CT                                                                        FLORISSANT         MO      63033‐7618
JAMES DAVIS       3087 SANTIAGO DR                                                                               FLORISSANT         MO      63033‐2618
JAMES DAVIS       12512 COLE LN                                                                                  LEXINGTON          MO      64067‐8158
JAMES DAVIS       7111 STATE ROUTE 104                                                                           LOCKBOURNE         OH      43137‐9712
JAMES DAVIS       18 MILLSPRINGS DRIVE                                                                           MONTICELLO         KY      42633‐9778
JAMES DAVIS       4637 N 39TH ST                                                                                 MILWAUKEE          WI      53209‐5859
JAMES DAVIS       1250 S MILLER RD                                                                               SAGINAW            MI      48609‐9586
JAMES DAVIS       17410 N LUCILLE CIR                                                                            NEW BOSTON         MI      48164‐8002
JAMES DAVIS       7749 HARDESTY CT                                                                               LAS VEGAS          NV      89139‐8701
JAMES DAVIS       6583 YAGER RD                                                                                  KIMBALL            MI      48074‐4211
JAMES DAVIS       G‐5100 N GALE RD                                                                               DAVISON            MI      48423
JAMES DAVIS       23450 TWINING DR                                                                               SOUTHFIELD         MI      48075‐3332
JAMES DAVIS       2034 CHURCH ST                                                                                 FLINT              MI      48503‐3942
JAMES DAVIS       276 SE JONATHAN WAY                                                                            LAKE CITY          FL      32025‐1944
JAMES DAVIS       115 W 44TH ST                                                                                  INDIANAPOLIS       IN      46208‐3737
JAMES DAVIS       75 COUNTY ROAD 425                                                                             HILLSBORO          AL      35643‐4327
JAMES DAVIS       46 NORTHWAY DR                                                                                 HUNTINGTON         IN      46750‐1374
JAMES DAVIS       14000 ALABAMA                                                                                  NEWALLA            OK      74857‐8172
JAMES DAVIS       3529 CHAMBERS ST                                                                               FLINT              MI      48507‐2134
JAMES DAVIS       BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH      44236
JAMES DAVIS JR    129 LOCKWOOD AVE APT 5J                                                                        NEW ROCHELLE       NY      10801‐5019
JAMES DAVIS JR    4242 KERRYBROOK DR                                                                             YOUNGSTOWN         OH      44511‐1033
JAMES DAVIS JR    PO BOX 653                                                                                     HOMOSASSA          FL      34447‐0653
                                                                                                                 SPRINGS
JAMES DAVIS JR    1225 E KING ST                                                                                 CORUNNA             MI     48817‐1530
JAMES DAVIS JR    19373 CHERRYLAWN ST                                                                            DETROIT             MI     48221‐1633
JAMES DAVIS JR    188 LOS ALTOS RD                                                                               WASKOM              TX     75692‐6610
JAMES DAVIS JR    PO BOX 14975                                                                                   SAGINAW             MI     48601‐0975
JAMES DAVIS JR.   PO BOX 14975                                                                                   SAGINAW             MI     48601‐0975
JAMES DAVIS SR    43 SHULL DR                                                                                    NEWARK              DE     19711‐7716
JAMES DAVISON     104 STARR DR                                                                                   TROY                MI     48083‐1648
JAMES DAVISON     1535 NESTER DR                                                                                 WINCHESTER          VA     22601‐3244
JAMES DAVISSON    20 CHEROKEE ACRES DR                                                                           CHEROKEE VILLAGE    AR     72529‐5008

JAMES DAVOREN     APT 108                         6016 LEAVENWORTH ROAD                                          KANSAS CITY        KS      66104‐1479
JAMES DAVY        24 HOLLEY RD                                                                                   BRISTOL            CT      06010‐5260
JAMES DAVY        2105 CASS AVENUE RD                                                                            BAY CITY           MI      48708‐9121
JAMES DAWES       1947 SHADY LN                                                                                  DAYTON             OH      45432‐2007
JAMES DAWKINS     3744 PROVIDENCE ST                                                                             FLINT              MI      48503‐4549
JAMES DAWKINS     65 MOURY AVE SE                                                                                ATLANTA            GA      30315‐4070
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Name                           Address1                       Address2                    Address3   Address4                   City            State   Zip
JAMES DAWN                     3827 MONTGALL AVE                                                                                KANSAS CITY      MO     64128‐2457
JAMES DAWSON                   5566 NORTHCREST VILLAGE DR                                                                       CLARKSTON        MI     48346‐2798
JAMES DAWSON                   37 GREEN ACRES DR                                                                                SPRINGFIELD      OH     45504‐3309
JAMES DAWSON                   5901 S. U.S. 35                                                                                  MUNCIE           IN     47302
JAMES DAWSON                   9610 BESSEMORE ST                                                                                DETROIT          MI     48213‐2719
JAMES DAWSON                   2297 EDWARDS ST                                                                                  GRAND BLANC      MI     48439‐5053
JAMES DAWSON                   5915 2ND ST                                                                                      ROMULUS          MI     48174‐1884
JAMES DAWSON                   2380 BARNSBURY                                                                                   EAST LANSING     MI     48823
JAMES DAWSON ENTERPRISES LTD   2970 RUE ANDRE                                                        DORVAL CANADA PQ H9P 2P2
                                                                                                     CANADA
JAMES DAWSON I I               4309 BENNETT DR                                                                                  BURTON          MI      48519‐1111
JAMES DAY                      5007 DURHAM CT                                                                                   CLARKSTON       MI      48348‐2193
JAMES DAY                      2509 KITTIWAKE DR                                                                                WILMINGTON      DE      19805‐1047
JAMES DAY                      9081 HIDDEN OAKS DR                                                                              GRAND BLANC     MI      48439‐8099
JAMES DAY                      949 KARLSLYLE DR                                                                                 COLUMBUS        OH      43228‐9260
JAMES DAY                      508 S HIGHWAY 19                                                                                 NEW FLORENCE    MO      63363‐3403
JAMES DAYS                     14383 BOICHOT RD                                                                                 LANSING         MI      48906‐1090
JAMES DAYS                     216 E RUNDELL ST                                                                                 PONTIAC         MI      48342
JAMES DE CHELLIS               418 W OMAR ST                                                                                    STRUTHERS       OH      44471‐1345
JAMES DE CLERCK                7301 TERRY RD                                                                                    SAGINAW         MI      48609‐5244
JAMES DE CLERCK                1016 CRESTWOOD DR                                                                                HANCOCK         MI      49930‐1135
JAMES DE GOOD                  8454 HUNTERS TRAIL                                                                               WARREN          OH      44484‐2407
JAMES DE HAAN                  1400 S SASHABAW RD                                                                               ORTONVILLE      MI      48462‐9163
JAMES DE LORE                  3317 E SNOVER RD                                                                                 MAYVILLE        MI      48744‐9513
JAMES DE MARCO                 PO BOX 896                     4595 WHITE RD                                                     HONEOYE         NY      14471‐0896
JAMES DE MOLA JR.              24 LE HAVRE DR                                                                                   CHEEKTOWAGA     NY      14227‐2412
JAMES DE NIKE                  4411 OAKWOOD DR                                                                                  OKEMOS          MI      48864‐2926
JAMES DE VAULT                 6006 WILD CHERRY CT                                                                              ANDERSON        SC      29626‐5247
JAMES DE WEEN                  6093 WARD RD                                                                                     SANBORN         NY      14132‐9366
JAMES DE WITT                  1148 REBECCA RD                                                                                  EAST LANSING    MI      48823‐5211
JAMES DEACONS                  5468 OREGON TRL                                                                                  LAPEER          MI      48446‐8061
JAMES DEAL                     155 MILL CREEK RD                                                                                COPPERHILL      TN      37317‐4207
JAMES DEAN                     PO BOX 354                                                                                       RIO VISTA       TX      76093‐0354
JAMES DEAN                     921 REVERDY RD                                                                                   BALTIMORE       MD      21212‐3222
JAMES DEAN                     93 MELROSE ST                                                                                    ROCHESTER       NY      14619‐1801
JAMES DEAN                     411 LONG POINT DR                                                                                HOUGHTON LAKE   MI      48629‐9450
JAMES DEAN                     1667 BURTON RD                                                                                   LITTLE ROCK     MS      39337‐9632
JAMES DEANGELO                 2534 NEWTON TOMLINSON RD                                                                         NEWTON FALLS    OH      44444‐9725
JAMES DEARDORFF                2501 FRIENDSHIP BLVD APT 46                                                                      KOKOMO          IN      46901‐7744
JAMES DEARDUFF                 8111 S ATLEE ST                                                                                  DALEVILLE       IN      47334‐8201
JAMES DEARING                  1085 WATERBURY CLOSE                                                                             POWDER SPGS     GA      30127‐4942
JAMES DEARING                  2213 BEACH RD                                                                                    PRESCOTT        MI      48756‐9386
JAMES DEARING                  90 TRUMAN DR                                                                                     FAIRBORN        OH      45324‐2234
JAMES DEARMITT                 31 SHADYSIDE DR                                                                                  BOARDMAN        OH      44512‐1528
JAMES DEATHE                   10546 N 200 E                                                                                    DECATUR         IN      46733‐7429
JAMES DEAVER                   13883 W 130TH TER                                                                                OLATHE          KS      66062‐1586
JAMES DEAVER                   7200 PALUXY HWY                                                                                  TOLAR           TX      76476‐6621
JAMES DEBARDLABON JR           C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                         HOUSTON         TX      77007
                               BOUNDAS LLP
JAMES DEBOARD                  6252 EDITH NANKIPOO RD LOT 5                                                                     RIPLEY           TN     38063‐6533
JAMES DEBOLT                   2206 CHANEY DR LOT 528                                                                           RUSKIN           FL     33570‐5926
JAMES DEBRA                    11217 NCR 2300                                                                                   LUBBOCK          TX     79403
JAMES DECK                     5 SHENANDOAH DR                                                                                  FLORENCE         KY     41042‐2117
JAMES DECK JR.                 2796 BLUEBIRD LN                                                                                 COLUMBUS         MI     48063‐4210
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Name                Address1                          Address2              Address3         Address4               City               State   Zip
JAMES DECKARD       1578 SUNNY ACRES DR                                                                             BEDFORD             IN     47421‐7828
JAMES DECKER        3235 SOUTH ELMS ROAD                                                                            SWARTZ CREEK        MI     48473‐7928
JAMES DECKER        11036 HANNAH JANE DR                                                                            FOWLERVILLE         MI     48836‐8708
JAMES DECKER        5731 FLEMINGS LAKE RD                                                                           CLARKSTON           MI     48348‐4729
JAMES DECKER        219 SOUTH AVE                                                                                   EDGERTON            WI     53534‐2147
JAMES DECKER        1125 W BANK RD APT 201                                                                          CELINA              OH     45822‐2485
JAMES DECUYPERE     4971 BROWN RD                                                                                   DURAND              MI     48429‐1816
JAMES DEDEAUX       854 WILNER DR                                                                                   UNIVERSITY CY       MO     63130‐3633
JAMES DEDENBACH     675 HOWELL RD                                                                                   ALLENTON            MI     48002‐3614
JAMES DEDERT        602 SUNSET DR                                                                                   SMITHVILLE          MO     64089‐8409
JAMES DEDON         119 BATES TRL                                                                                   WEST GREENWICH       RI    02817‐2555
JAMES DEE           2012 WHITEWOOD AVE                                                                              SPRING HILL         FL     34609‐6087
JAMES DEEMER        300 W PIER DR APR 309A                                                                          SAULT S MARIE       MI     49783
JAMES DEER          6445 EAST COUNTY RD               100 SOUTH                                                     AVON                IN     46123
JAMES DEER          PO BOX 4647                                                                                     FAIRVIEW HEIGHTS     IL    62208‐4647

JAMES DEERING       3430 S SEALE RD                                                                                 PHENIX CITY         AL     36869‐7951
JAMES DEERING       1890 63RD AVE S                                                                                 SAINT PETERSBURG    FL     33712‐5941

JAMES DEES          PO BOX 634                        313 WATER STREET                                              CECILTON           MD      21913‐0634
JAMES DEFFENBAUGH   9011 YALE RD                                                                                    DEERFIELD          OH      44411‐9732
JAMES DEFOE         132 ACACIA LN                                                                                   NEWBURY PARK       CA      91320‐4701
JAMES DEGEORGE      21626 STATLER ST                                                                                ST CLAIR SHRS      MI      48081‐3745
JAMES DEHART        191 SHAWNEE CT                                                                                  FRANKLIN           OH      45005‐7117
JAMES DEHART        3035 ELMBROOK WAY                                                                               DAYTON             OH      45431‐7708
JAMES DEHAVEN       1021 GREASY CREEK RD                                                                            WEST LIBERTY       KY      41472‐8554
JAMES DEHENNING     7503 MASON RD                                                                                   SANDUSKY           OH      44870‐9763
JAMES DEHN          1182 SHERMAN DR                                                                                 GREENWOOD          IN      46143‐1040
JAMES DEHOFF        139 GEORGETOWN PL                                                                               YOUNGSTOWN         OH      44515‐2220
JAMES DEICH         212 STATE ROAD 58 E                                                                             BEDFORD            IN      47421‐7692
JAMES DEIDUN        47546 BROCKMOR DR                                                                               SHELBY TOWNSHIP    MI      48315‐4945
JAMES DEIKE         10484 E G AVE                                                                                   RICHLAND           MI      49083‐9632
JAMES DEITRICK      5245 BUNK HOUSE LN                                                                              COLORADO SPRINGS   CO      80917‐2245

JAMES DEKKER        11484 HANDY LN                                                                                  PLAINWELL          MI      49080‐9027
JAMES DEL PINO      3625 W HOLIDAY ESTATES CT                                                                       GRANBURY           TX      76049‐6237
JAMES DELAIR        2022 HARDWOOD DR                                                                                DAVISON            MI      48423‐9517
JAMES DELAIR        4173 BETTY LEE BLVD                                                                             GLADWIN            MI      48624‐9616
JAMES DELANEY       23252 WICK RD                                                                                   TAYLOR             MI      48180‐3507
JAMES DELANEY       843 PINE TREE RD                                                                                LAKE ORION         MI      48362‐2555
JAMES DELANEY       1111 ELODIE DR                                                                                  FLINT              MI      48532‐3628
JAMES DELANG        14035 GOLDEN ARROW CT                                                                           SHELBY TWP         MI      48315‐2014
JAMES DELAPHIANO    6682 BOULTER RD                                                                                 SHELBYVILLE        MI      49344‐9440
JAMES DELARRE       9517 S BLACKWELDER AVE                                                                          OKLAHOMA CITY      OK      73139‐5548
JAMES DELAY         2533 S ELBA RD                                                                                  LAPEER             MI      48446‐9745
JAMES DELECKI       8190 DUFF RD                                                                                    FLUSHING           MI      48433‐1140
JAMES DELEO         1720 DENISON AVE NW                                                                             WARREN             OH      44485‐1717
JAMES DELGRECO      709 N HENRY ST                                                                                  CRESTLINE          OH      44827‐1036
JAMES DELKER        2322 E FALLING HEATH PL                                                                         MILWAUKEE          WI      53207‐3114
JAMES DELLADONNA    8798 EMMONS MERCANTILE                                                                          BREWERTON          NY      13029‐9817
JAMES DELOACH       106 BULLOCK ST                                                                                  COLUMBIA           TN      38401‐8304
JAMES DELONEY       980 STRAP HINGE TRL                                                                             STONE MOUNTAIN     GA      30083‐2522
JAMES DELONG        4415 NORTH LAKE ROAD                                                                            W FARMINGTON       OH      44491‐9743
JAMES DELONG        2021 BURTON AVE                                                                                 HOLT               MI      48842‐1310
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Name                    Address1                         Address2                      Address3          Address4               City               State   Zip
JAMES DELONG            27933 RUEHLE ST                                                                                         ST CLAIR SHRS       MI     48081‐3530
JAMES DELONG            1714 PLAZA DR                                                                                           STATE COLLEGE       PA     16801
JAMES DELORENZO         331 N BROAD ST                                                                                          PENNS GROVE         NJ     08069‐1017
JAMES DELOZIER          3245 FISHER RD                                                                                          COLUMBUS            OH     43204‐1410
JAMES DELP              318 W STATE ST                                                                                          PENDLETON           IN     46064‐1038
JAMES DELTON CASADA     WEITZ & LUXENBERG P C            700 BROADWAY                                                           NEW YORK CITY       NY     10003
JAMES DELUCA            7668 SOMERHILL LN                                                                                       CLARKSTON           MI     48348‐4381
JAMES DELUCA            36365 IDAHO DR                                                                                          STERLING HTS        MI     48312‐3151
JAMES DEMAS             52619 FOREST GRV                                                                                        SHELBY TOWNSHIP     MI     48315‐2320
JAMES DEMATES           2151 SE 131ST AVE                                                                                       MORRISTON           FL     32668‐2433
JAMES DEMERCURIO        55059 PACIFIC RIDGE DR                                                                                  MACOMB              MI     48042‐6167
JAMES DEMERS            45819 7 MILE RD                                                                                         NORTHVILLE          MI     48167‐1702
JAMES DEMINK            14135 E TYLER DR                                                                                        PLYMOUTH            MI     48170‐2376
JAMES DEMITRUS          8974 WOOD THRUSH DR                                                                                     STREETSBORO         OH     44241‐3908
JAMES DEMKO             2799 SEMINOLE CT                                                                                        BAY CITY            MI     48708‐8465
JAMES DEMMA             1138 CENTER RD                                                                                          WEST SENECA         NY     14224‐2321
JAMES DEMONACO          4457 LOON HARBOR LN                                                                                     LINDEN              MI     48451‐8430
JAMES DEMPSEY           2747 BRONSON HILL RD                                                                                    AVON                NY     14414‐9644
JAMES DEMPSEY           8166 SEALAWN DR                                                                                         SPRING HILL         FL     34606‐3041
JAMES DEMUZZIO          641 ADELE DR                                                                                            N HUNTINGDON        PA     15642‐2668
JAMES DEMYERS           4039 SHEFFIELD BLVD                                                                                     LANSING             MI     48911‐1922
JAMES DENBY             THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                            HOUSTON             TX     77017
JAMES DENEEN            3378 SIGNET DR                                                                                          WATERFORD           MI     48329‐4064
JAMES DENHAM            11308 E 53RD ST                                                                                         RAYTOWN             MO     64133‐2404
JAMES DENISON           7525 COURTLAND DR R#3                                                                                   ROCKFORD            MI     49341
JAMES DENISTON          2696 WILD PLUM VLY                                                                                      PACIFIC             MO     63069‐6073
JAMES DENMAN            909 BLANCHE DR                                                                                          W CARROLLTON        OH     45449‐1513
JAMES DENMAN JR         2900 N APPERSON WAY TRLR 302                                                                            KOKOMO              IN     46901‐1482
JAMES DENNEY            5200 E. 800 SOUTH                                                                                       MUNCIE              IN     47302
JAMES DENNIG            612 S CENTER ST APT 204                                                                                 ROYAL OAK           MI     48067‐3839
JAMES DENNIS            3333 5TH AVE UNIT 6I                                                                                    SOUTH MILWAUKEE     WI     53172‐3945

JAMES DENNIS            16845 RUTHERFORD ST                                                                                     DETROIT            MI      48235‐3519
JAMES DENNIS            4900 ESTEY RD                                                                                           RHODES             MI      48652‐9735
JAMES DENNIS            3211 MONROE ST                                                                                          BELLWOOD           IL      60104‐2245
JAMES DENNIS            1037 VALLEY DR                                                                                          CARO               MI      48723‐9509
JAMES DENNIS & HOLLY    24442 PIGEON ROOST RD                                                                                   THEBES             IL      62990‐2148
JAMES DENNIS CAMPBELL   NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT      205 LINDA DRIVE                          DAINGERFIELD       TX      75638
JAMES DENNIS JR         6504 NW TWIN SPRINGS RD                                                                                 KANSAS CITY        MO      64152‐3047
JAMES DENNISON          PO BOX 382                                                                                              COLUMBIA           TN      38402‐0382
JAMES DENNISON          101 CLARK ST                                                                                            ELKTON             MD      21921‐5703
JAMES DENNISON          5 14 MILE ROAD                                                                                          MARION             MI      49665‐8366
JAMES DENO              6059 LEE AVE                                                                                            DOWNERS GROVE      IL      60516‐1732
JAMES DENSMORE          1082 HEAVENRIDGE RD                                                                                     ESSEXVILLE         MI      48732‐1735
JAMES DENT              6122 RUNNYMEADE DR                                                                                      CANTON             MI      48187‐2842
JAMES DENT              4868 OAKSIDE DR                                                                                         STONE MOUNTAIN     GA      30088‐1005
JAMES DENT JR           444 WEBB DR                                                                                             BOWLING GREEN      KY      42101‐1185
JAMES DENTEL            6259 DOUGLAS RD                                                                                         IDA                MI      48140‐9514
JAMES DENTON            1900 130TH AVE                                                                                          HOPKINS            MI      49328‐9733
JAMES DENTON            30120 PIPERS LANE CT                                                                                    FARMINGTON HILLS   MI      48334‐4734

JAMES DEORING           11255 BEAVER CREEK RD                                                                                   SALEM              OH      44460‐9233
JAMES DEPEW             9103 RED CEDAR DR                                                                                       WEST CHESTER       OH      45069‐3671
JAMES DEPEW             3311 SPRINGDALE DR                                                                                      KOKOMO             IN      46902‐9576
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Name                    Address1                         Address2                     Address3   Address4               City           State   Zip
JAMES DEPOORTER         29879 NORMA DR                                                                                  WARREN          MI     48093‐3594
JAMES DERHODES          916 BROOKDALE AVE                                                                               E PALESTINE     OH     44413‐1081
JAMES DEROSE            4454 WOODRIDGE DR                                                                               YOUNGSTOWN      OH     44515‐5247
JAMES DERR              5005 GLEN SPRINGS TRL                                                                           FORT WORTH      TX     76137‐4177
JAMES DERR              PO BOX 237                                                                                      FARWELL         MI     48622‐0237
JAMES DERRICK           1426 FLAMINGO DR                                                                                MOUNT MORRIS    MI     48458‐2718
JAMES DERTIEN
JAMES DERUBBA           BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.    OH      44236
JAMES DERY
JAMES DES JARDINS JR.   26467 STOLLMAN DR                                                                               INKSTER        MI      48141‐1336
JAMES DESANTIS          1990 ORIEL RODGERS RD                                                                           GIRARD         OH      44420‐1155
JAMES DESANTIS          30 BANNARD AVE                                                                                  TONAWANDA      NY      14150‐6212
JAMES DESCHLER          311 N 3RD ST                                                                                    TIPP CITY      OH      45371‐1919
JAMES DESGRANGE         3017 WYOMING AVE                                                                                FLINT          MI      48506‐2465
JAMES DESHAW            2453 MARGARET DR                                                                                FENTON         MI      48430‐8842
JAMES DESIDERIO         144 HILLCREST AVE                                                                               CRANFORD       NJ      07016‐2667
JAMES DESIMORE          61942 BAYSHORE DR                                                                               STURGIS        MI      49091‐9327
JAMES DESKINS           PO BOX 865                                                                                      SANTA ROSA     TX      78593‐0865
JAMES DESOFF            PO BOX 502                                                                                      DEARBORN       MI      48121‐0502
JAMES DETERS            PO BOX 43                                                                                       WAYNESVILLE    OH      45068‐0043
JAMES DETRICK           4777 W VERSAILLES RD                                                                            PIQUA          OH      45356‐9308
JAMES DETWILER          404 PARK AVE                                                                                    ELIZABETH      PA      15037‐2146
JAMES DEULING           1851 SUNVALE DR SW                                                                              WYOMING        MI      49519‐6551
JAMES DEUPREE           214 BANBERRY N                                                                                  LANSING        MI      48906‐1530
JAMES DEVAULT           7910 WALTERS DR                                                                                 LAINGSBURG     MI      48848‐8794
JAMES DEVENGENCIE       6710 36TH AVE E LOT 165                                                                         PALMETTO       FL      34221‐8631
JAMES DEVER             38221 SAN MATEO AVE                                                                             PALMDALE       CA      93551‐4219
JAMES DEVEREAUX JR      5059 SHUNPIKE RD                                                                                LOCKPORT       NY      14094‐9715
JAMES DEVERGILIO        14323 DRUMRIGHT DR                                                                              STERLING HTS   MI      48313‐4323
JAMES DEVERICKS         313 CAROLINE                     BOX 115                                                        MIDDLETON      MI      48856
JAMES DEVINE            19811 HEYDEN ST                                                                                 DETROIT        MI      48219‐2035
JAMES DEVINE            4077 THORNAPPLE LN                                                                              LAPEER         MI      48446‐9620
JAMES DEVISSER          6195 W Q AVE                                                                                    KALAMAZOO      MI      49009‐8941
JAMES DEVITIS           37566 NORTHFIELD AVE                                                                            LIVONIA        MI      48150‐5416
JAMES DEVLIN            36849 BENNETT ST                                                                                LIVONIA        MI      48152‐2795
JAMES DEVLIN JR         PO BOX 54                                                                                       CORTLAND       OH      44410‐0054
JAMES DEVORE            PO BOX 108                                                                                      ORESTES        IN      46063‐0108
JAMES DEWALD            20 BENNETT ST                                                                                   DANVILLE       PA      17821
JAMES DEWEESE           1683 N SINGLETON AVE                                                                            TITUSVILLE     FL      32796‐1649
JAMES DEWEY             284 KINGSLEY RD                                                                                 MASSENA        NY      13662‐3127
JAMES DEWITT            3206 E IMPERIAL LN                                                                              MUNCIE         IN      47302‐7512
JAMES DEWITT            8816 W 250 S                                                                                    RUSSIAVILLE    IN      46979‐9799
JAMES DEWITT            2107 HAWTHORNE AVE                                                                              JANESVILLE     WI      53545‐2025
JAMES DEWYSE            843 S GREEN RD                                                                                  BAY CITY       MI      48708‐9622
JAMES DEXEL             5340 POTTER RD                                                                                  BURTON         MI      48509‐1345
JAMES DEXTER            2365 WALNUT RD                                                                                  AUBURN HILLS   MI      48326‐2555
JAMES DEYOUNG           5242 CLOVER LN                                                                                  TOLEDO         OH      43623‐2253
JAMES DEZELON           27601 MILLS AVE APT E                                                                           EUCLID         OH      44132‐3075
JAMES DI BICCARO        152 FAIRWAY PL NW                                                                               WARREN         OH      44483‐1752
JAMES DI CASOLO         4239 LOCKPORT RD                                                                                ELBA           NY      14058‐9723
JAMES DI CELLO          108 BENDING CREEK RD APT 4                                                                      ROCHESTER      NY      14624‐2149
JAMES DI FALCO          8567 N LAKE LOUISE RD R                                                                         HAWKS          MI      49743
JAMES DI SARNO          1808 ALAMO BOUND                                                                                LEANDER        TX      78641‐8685
JAMES DIAMOND           7440 BENNETT LAKE RD                                                                            FENTON         MI      48430‐9010
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Name               Address1                             Address2                     Address3   Address4               City             State   Zip
JAMES DIBBLE       845 LEDYARD ST                                                                                      WATERFORD         MI     48328‐4140
JAMES DICK         9646 UNION CEMETERY RD                                                                              LOVELAND          OH     45140‐9540
JAMES DICK         71 PLUM ST                                                                                          GREENVILLE        PA     16125‐1804
JAMES DICKENS      18653 WHITCOMB ST                                                                                   DETROIT           MI     48235‐2845
JAMES DICKENSON    APT 132                              300 KENNELY ROAD                                               SAGINAW           MI     48609‐7702
JAMES DICKERSON    6824 PULLTIGHT HILL RD                                                                              COLLEGE GROVE     TN     37046‐9224
JAMES DICKERSON    2120 LYONS RD                                                                                       CORUNNA           MI     48817‐9501
JAMES DICKERSON    523 E LINCOLN ST                                                                                    BOYNE CITY        MI     49712‐1304
JAMES DICKERSON    347 HARVEST LN                                                                                      LANSING           MI     48917‐3520
JAMES DICKERSON    147 W LIBERTY ST                                                                                    MC RAE            GA     31055‐4111
JAMES DICKEY       8502 TWIN BRIDGE RD                                                                                 GRAYLING          MI     49738‐9235
JAMES DICKEY       APT 10105                            3220 WEST INA ROAD                                             TUCSON            AZ     85741‐2167
JAMES DICKEY       1231 DR MARTIN LUTHER KING JR BLVD                                                                  ANDERSON          IN     46016‐4948
JAMES DICKIE       10306 OAKHILL RD                                                                                    HOLLY             MI     48442‐8856
JAMES DICKINSON    2914 CABOT DR                                                                                       LANSING           MI     48911‐2305
JAMES DICKINSON    19530 HANNA ST                                                                                      MELVINDALE        MI     48122‐1604
JAMES DICKINSON    3117 W DODGE RD                                                                                     CLIO              MI     48420‐1936
JAMES DICKISON     1709 N KING RD                                                                                      MARION            IN     46952‐8669
JAMES DICKMAN      10446 1ST AVE                                                                                       BROOKLYN          MI     49230‐9700
JAMES DICKNEITE    9951 HOLST RD                                                                                       BLOOMSDALE        MO     63627‐8928
JAMES DICKSON      2280 STONEGATE CIR                                                                                  PORT CHARLOTTE    FL     33948‐2029
JAMES DICKSON      1564 WOODHURST DR                                                                                   DEFIANCE          OH     43512‐3440
JAMES DICKSON      4562 W CEDAR LAKE RD                                                                                GREENBUSH         MI     48738‐9614
JAMES DICONCEZIO   6067 OAKES RD                                                                                       BRECKSVILLE       OH     44141‐2630
JAMES DIEBEL       306 E ADRIAN ST                                                                                     BLISSFIELD        MI     49228‐1304
JAMES DIEDERICHS   16430 PARK LAKE RD LOT 189                                                                          EAST LANSING      MI     48823‐9469
JAMES DIEFENBACH   3526 KLAM RD                                                                                        COLUMBIAVILLE     MI     48421‐9317
JAMES DIEGO JR     3439 ORCHARD HILL DR                                                                                CANFIELD          OH     44406‐9251
JAMES DIEHL        503 CORNWALL AVE                                                                                    TONAWANDA         NY     14150‐7105
JAMES DIEHL        207 HAWTHORNE DR                                                                                    BEDFORD           IN     47421‐3430
JAMES DIEM         10448 LAKE RD                                                                                       MONTROSE          MI     48457‐9709
JAMES DIESING      51705 DEBORAH CIR                                                                                   CHESTERFIELD      MI     48047‐3061
JAMES DIETLEIN     4363 11 MILE RD                                                                                     AUBURN            MI     48611‐9532
JAMES DIETLEIN     3078 N STARK RD                                                                                     MIDLAND           MI     48642‐9461
JAMES DIETRICH     1713 YARMOUTH LN                                                                                    MANSFIELD         TX     76063‐2923
JAMES DIETRICH     1241 BROOKVIEW DR                                                                                   HURON             OH     44839‐2602
JAMES DIETRICH     2728 QUEEN RIDGE DR                                                                                 INDEPENDENCE      MO     64055‐2263
JAMES DIETRICH     858 ARTHUR ST                                                                                       MARNE             MI     49435‐8737
JAMES DIETRICH     3750 N CHAPIN RD                                                                                    MERRILL           MI     48637‐9536
JAMES DIETZEN      396 E 360 N                                                                                         ANDERSON          IN     46012‐9659
JAMES DIFAZIO      1000 WOODLAND AVE                                                                                   GLENDORA          NJ     08029‐1274
JAMES DIFFENDAL    163 W DAY‐YELLOW SPNG RD                                                                            FAIRBORN          OH     45324
JAMES DIGENOVA     2123 E HOUGHTON LAKE DR                                                                             HOUGHTON LAKE     MI     48629‐7602
JAMES DIGGAN       9216 LANE RD                                                                                        MILLINGTON        MI     48746‐9648
JAMES DIGGLES      9730 LEMKE RD                                                                                       CRANDON           WI     54520‐8808
JAMES DIGLAW       7718 PEGOTTY DR NE                                                                                  WARREN            OH     44484‐1482
JAMES DIGLAW       BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.       OH     44236
JAMES DIKOS        7282 S ELMS RD                                                                                      SWARTZ CREEK      MI     48473‐9440
JAMES DILKS        1608 E SPRINGFIELD RD LOT 25                                                                        SULLIVAN          MO     63080‐1363
JAMES DILL         128 SUNRISE BLVD                                                                                    WILLIAMSVILLE     NY     14221‐4347
JAMES DILLARD      PO BOX 24                                                                                           GERRARDSTOWN      WV     25420‐0024
JAMES DILLER       3190 E MOUNT HOPE HWY                                                                               GRAND LEDGE       MI     48837‐9442
JAMES DILLER       45995 TOURNAMENT DR                                                                                 NORTHVILLE        MI     48168‐9633
JAMES DILLEY       557 N WEST ST                                                                                       PORTLAND          MI     48875‐1055
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Name                Address1                          Address2                        Address3   Address4               City                 State   Zip
JAMES DILLINGER     11268 REDGATE ST                                                                                    SPRING HILL           FL     34609‐3352
JAMES DILLMAN       213 NE 90TH TER                                                                                     KANSAS CITY           MO     64155‐2351
JAMES DILLON        PO BOX 793                                                                                          PRESTONSBURG          KY     41653‐0793
JAMES DILLON        5602 PATRICIA AVE                                                                                   SHELBY TOWNSHIP       MI     48317‐1218
JAMES DILLON        448 CALDWELL CIR                                                                                    NEW CARLISLE          OH     45344‐2830
JAMES DILLON        60 N ANDERSON AVE                                                                                   PONTIAC               MI     48342‐2902
JAMES DILLON        385 CHESTNUT LN SW                                                                                  BOGUE CHITTO          MS     39629‐9325
JAMES DILLON        1826 SHERMAN AVE                                                                                    NORWOOD               OH     45212‐2516
JAMES DILLON        5623 W SPICERVILLE HWY                                                                              CHARLOTTE             MI     48813‐8567
JAMES DILLOW        PO BOX 905                                                                                          ROUNDUP               MT     59072‐0905
JAMES DIMAIOLO      724 S SCHENLEY AVE                                                                                  YOUNGSTOWN            OH     44509‐3029
JAMES DIMMOCK       167 POUND ST                                                                                        LOCKPORT              NY     14094‐3923
JAMES DIMOND        287 MCMILLAN RD                                                                                     GROSSE POINTE         MI     48236‐3455
                                                                                                                        FARMS
JAMES DINEEN        COUNTY MANAGER                    ADMINISTRATION CENTER, 123 W.                                     DELAND                FL     32720
                                                      INDIANA AVE.
JAMES DINGESS       6675 CHESTNUT HILL RD                                                                               CROSSVILLE           TN      38571‐1046
JAMES DINGUS        25860 BEHRENS RD                                                                                    DEFIANCE             OH      43512‐8787
JAMES DINSMOORE     2452 BRUNKOW CT                                                                                     SAGINAW              MI      48601‐6726
JAMES DIO           4845 BEACH RIDGE RD                                                                                 LOCKPORT             NY      14094‐9641
JAMES DIPRIMA       1216 IMPERIAL DR                                                                                    KOKOMO               IN      46902‐5616
JAMES DIRSCHEDL     10509 S HEATHERHILL TER                                                                             INVERNESS            FL      34452‐9207
JAMES DISARNO       56 HILLTOP CTS                                                                                      BUFFALO              NY      14224‐4210
JAMES DISBROW       2135 CAMP ST                                                                                        SANDUSKY             OH      44870‐4621
JAMES DISHAW        3410 BEDFORD LN                                                                                     BAY CITY             MI      48706‐1562
JAMES DISRUD        2536 S NATURES RIDGE RD                                                                             BELOIT               WI      53511‐2079
JAMES DITTO         5465 OAK RIDGE DR                                                                                   WILLOUGHBY HILLS     OH      44094‐3140

JAMES DIVILBISS     4515 AVA LN                                                                                         CLARKSTON             MI     48348‐5174
JAMES DIXON         1990 FOUR OAKS                                                                                      COMMERCE              MI     48382‐4859
                                                                                                                        TOWNSHIP
JAMES DIXON         50 W OYSTER RD                                                                                      ROSE CITY            MI      48654‐9735
JAMES DIXON         3708 OLD MILFORD MILL RD                                                                            BALTIMORE            MD      21244‐3726
JAMES DIXON         4328 WYNDHAM PARK CIR                                                                               DECATUR              GA      30034‐5470
JAMES DIXON         170 FLICKER LN                                                                                      OCILLA               GA      31774‐4022
JAMES DIXON         1809 BASLIA LN                                                                                      SPRING HILL          TN      37174‐6124
JAMES DIXON         10345 CREEK RD                                                                                      PAVILION             NY      14525‐9718
JAMES DIXON         19 CABOT AVE                                                                                        ELMSFORD             NY      10523‐2701
JAMES DIXON         809 NE 111TH ST                                                                                     KANSAS CITY          MO      64155‐1343
JAMES DIXON         PO BOX 2738                                                                                         ANDERSON             IN      46018‐2738
JAMES DIXSON        722 SAINT PERPETUA DR                                                                               CORPUS CHRISTI       TX      78418‐5747
JAMES DOAK          2552 N OAKLEY ST                                                                                    SAGINAW              MI      48602‐5427
JAMES DOAN          5864 ISLAND DR                                                                                      CLEVES               OH      45002‐9349
JAMES DOAN          2717 MIX ST                                                                                         BAY CITY             MI      48708‐8682
JAMES DOBBEROWSKY   27560 LITTLE MACK AVE                                                                               SAINT CLAIR SHORES   MI      48081‐1845

JAMES DOBBS         4226 COMMODORE RD                                                                                   POWDER SPRINGS        GA     30127‐1913
JAMES DOBO          184 WAVERLY AVE                                                                                     KENMORE               NY     14217‐1028
JAMES DOBRINDT      788 LIPPERT HOLLOW RD                                                                               ALLEGANY              NY     14706
JAMES DOBSON        PO BOX 66                                                                                           MARKHAM               IL     60428‐0066
JAMES DOBSON        47586 CHEYENNE RD                                                                                   COARSEGOLD            CA     93614‐9720
JAMES DOBY          4897 M‐18                                                                                           ROSCOMMON             MI     48653
JAMES DOCHERTY      47 N SPRING AVE                                                                                     LA GRANGE             IL     60525‐5943
JAMES DOCKERY       9356 GUMLOG RD                                                                                      YOUNG HARRIS          GA     30582‐1400
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Name                  Address1                             Address2                     Address3          Address4               City              State   Zip
JAMES DOCKERY         2920 MALLERY ST                                                                                            FLINT              MI     48504‐3002
JAMES DODDATO         372 SODOM HUTCHINGS RD SE                                                                                  VIENNA             OH     44473‐9634
JAMES DODDER          7444 N STATE RD                                                                                            DAVISON            MI     48423‐9368
JAMES DODDS           5829 BAR DEL EAST DR                                                                                       INDIANAPOLIS       IN     46221‐4404
JAMES DODSON          115 KIMBERWICK RD                                                                                          LEXINGTON          OH     44904‐9633
JAMES DODSON          310 E SUPERIOR ST                                                                                          LEBANON            IN     46052‐2673
JAMES DODSON          3821 WHITE CLIFF WAY                                                                                       WHITESTOWN         IN     46075‐9746
JAMES DODSON          323 S TELEGRAPH RD APT 7                                                                                   PONTIAC            MI     48341‐1970
JAMES DODSON          99 JUDY LN                                                                                                 COLBERT            OK     74733‐2325
JAMES DODSON          11422 LARIMORE RD                                                                                          SAINT LOUIS        MO     63138‐2829
JAMES DODSON SR       68 S EDITH ST                                                                                              PONTIAC            MI     48342‐2939
JAMES DOEHRING        5060 RAY RD                                                                                                LINDEN             MI     48451‐9460
JAMES DOEPKER         4200 SIMPSON RD                                                                                            OWOSSO             MI     48867‐9334
JAMES DOHERTY         2863 BIDDLE AVE                                                                                            WYANDOTTE          MI     48192‐5211
JAMES DOHERTY         1309 SHENANDOAH DR                                                                                         ROCHESTER HILLS    MI     48306‐3854
JAMES DOHERTY         JAMES DOHERTY                        1401 E LAKE MITCHELL DR                                               CADILLAC           MI     49601
JAMES DOHERTY         1401 E. LK. MITCHELL DR.                                                                                   CADILLAC           MI     49601
JAMES DOLAN           7 WHISPERING PINES CT                                                                                      O FALLON           MO     63368‐6763
JAMES DOLAN           220 CLOVERLAND DR                                                                                          LANSING            MI     48910‐5376
JAMES DOLINGER        697 UNION GROVE CHURCH RD                                                                                  HURDLE MILLS       NC     27541‐7893
JAMES DOLL            11672 FREDERICK PIKE                                                                                       VANDALIA           OH     45377‐9790
JAMES DOLL            185 CHIPPEWA RD                                                                                            PONTIAC            MI     48341‐2006
JAMES DOLLAR          2618 JONATHAN DR                                                                                           STERLING HTS       MI     48310‐2847
JAMES DOLLENS         1011 RAIBLE AVE                                                                                            ANDERSON           IN     46011‐2538
JAMES DOLLINS         53103 REBECCA DR                                                                                           MACOMB             MI     48042‐5736
JAMES DOLOT           3750 EDINBOROUGH DR                                                                                        ROCHESTER HILLS    MI     48306‐3684
JAMES DOMANSKI        46 N MELODY LN                                                                                             WATERVILLE         OH     43566‐1002
JAMES DOMBECK         2614A E DENTON AVE                                                                                         SAINT FRANCIS      WI     53235‐5446
JAMES DOMINIQUE       8641 28TH AVENUE DR E                                                                                      PALMETTO           FL     34221‐1647
JAMES DOMKA           3003 MARTIN RD                                                                                             WARREN             MI     48092‐2403
JAMES DONAHEY         BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.        OH     44236
JAMES DONAHOE         111 MONUMENT CIR STE 3300                                                                                  INDIANAPOLIS       IN     46204
JAMES DONAHUE         307 MEADOWLAWN RD                                                                                          CHEEKTOWAGA        NY     14225‐5225
JAMES DONAHUE         81 CRESTWOOD AVE                                                                                           BUFFALO            NY     14216‐2721
JAMES DONAHUE         4305 OAKWOOD DR                                                                                            OKEMOS             MI     48864‐2924
JAMES DONAHUE         749 BRYN MAWR AVE                                                                                          WICKLIFFE          OH     44092‐2142
JAMES DONAHUE         THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET     22ND FLOOR                               BALTIMORE          MD     21201

JAMES DONALD AUSTIN   NIX PATTERSON & ROACH LLP            GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD      TX      75638
JAMES DONALDSON       5513 NW RAINTREE DR                                                                                        PARKVILLE         MO      64152‐3342
JAMES DONALDSON       2130 GARDNER RD                                                                                            ALVA              FL      33920‐3812
JAMES DONALDSON       23000 PITTS RD                                                                                             WELLINGTON        OH      44090‐9286
JAMES DONALDSON       4520 INEZ DR                                                                                               LAS VEGAS         NV      89130‐5121
JAMES DONALDSON       5905 NE CUBITIS AVE LOT 129                                                                                ARCADIA           FL      34266
JAMES DONALDSON JR    23000 PITTS RD                                                                                             WELLINGTON        OH      44090‐9286
JAMES DONALL          32248 FAIRCHILD ST                                                                                         WESTLAND          MI      48186‐8910
JAMES DONEGAN JR      713 N GEBHART CHURCH RD                                                                                    MIAMISBURG        OH      45342‐2708
JAMES DONELAN JR      BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.       OH      44236
JAMES DONLIN          12019 N CANTON CENTER RD                                                                                   PLYMOUTH          MI      48170‐3703
JAMES DONNELLY        13561 STRAT PLACE #103                                                                                     FORT MYERS        FL      33919
JAMES DONNELLY        3260 TAMARRON DR                                                                                           ROCHESTER         MI      48309‐1249
JAMES DONNER          2784 BEEBE RD                                                                                              NEWFANE           NY      14108‐9654
JAMES DONNETT         3202 DOVE DR SW                                                                                            WARREN            OH      44481‐9205
JAMES DONOVAN         BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.       OH      44236
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Name                  Address1                          Address2            Address3         Address4               City              State   Zip
JAMES DOOLAN          3104 ALCOTT AVE                                                                               FLINT              MI     48506‐2146
JAMES DOOLEY          687 LAUREL LICK RD                                                                            SOUTH WEBSTER      OH     45682‐9016
JAMES DOOLEY          3136 ROYAL ROAD                                                                               JANESVILLE         WI     53546
JAMES DOOLIN          3784 W MONROE RD                                                                              HARRISON           MI     48625‐9574
JAMES DOOLITTLE       4821 S MINER RD                                                                               CARSON CITY        MI     48811‐9531
JAMES DOPKINS         1713 MOLE AVE                                                                                 JANESVILLE         WI     53548‐1580
JAMES DORE            7 WASHINGTON ST                                                                               MILFORD            MA     01757‐2327
JAMES DORENBECKER     624 STERLING TERRACE DR                                                                       SAINT CHARLES      MO     63301‐4472
JAMES DORMER          PO BOX 73                                                                                     BURNS              TN     37029‐0073
JAMES DORSEY          2838 ASHLAND AVE                                                                              BALTIMORE          MD     21205‐1736
JAMES DORSEY          1978 JENNYDALE CT SE                                                                          GRAND RAPIDS       MI     49546‐7555
JAMES DORSEY          7903 BERTHA AVE                                                                               PARMA              OH     44129‐3111
JAMES DORSEY          2972 PINE HILL DR                                                                             MEDINA             OH     44256‐9200
JAMES DORSEY SR       4626 GUILFORD AVE                                                                             INDIANAPOLIS       IN     46205‐1954
JAMES DORTON          14805 OCONNOR AVE                                                                             ALLEN PARK         MI     48101
JAMES DORTON          6291 LUCAS RD                                                                                 FLINT              MI     48506‐1226
JAMES DOSS            4213 WESTMONT DR                                                                              AUSTINTOWN         OH     44515‐3513
JAMES DOSS I I I      112 BETHPOLAMY CT                                                                             DAYTON             OH     45415‐2511
JAMES DOSS JR         112 BETHPOLAMY CT                                                                             DAYTON             OH     45415‐2511
JAMES DOSTER JR       PO BOX 52                                                                                     BETHLEHEM          GA     30620‐0052
JAMES DOTALO JR.      400 VALLEY STREAM DR APT 109                                                                  NAPLES             FL     34113‐4151
JAMES DOTSON          446 YELLOWSTONE DR                                                                            FARMINGTON         MO     63640‐2127
JAMES DOTSON          5434 POTTER RD                                                                                BURTON             MI     48509‐1346
JAMES DOUBLE          3964 WESTLAKE RD                                                                              CORTLAND           OH     44410‐9314
JAMES DOUBMAN JR      PO BOX 124                                                                                    KENNARD            IN     47351‐0124
JAMES DOUCETTE        77 THOMAS ST                                                                                  ASHLAND            MA     01721‐1016
JAMES DOUCETTE JR     313 N SEYMOUR RD                                                                              FLUSHING           MI     48433‐1534
JAMES DOUGHERTY       3128 N BELSAY RD                                                                              FLINT              MI     48506‐2276
JAMES DOUGHERTY       16 MAIN AVE                                                                                   WILMINGTON         DE     19804‐1829
JAMES DOUGHERTY       15238 OUTER DR                                                                                LINDEN             MI     48451‐9715
JAMES DOUGLAS         4632 S BELL DR                                                                                MARION             IN     46953‐5345
JAMES DOUGLAS         4251 BURNING TREE DR                                                                          KETTERING          OH     45440‐1152
JAMES DOUGLAS         PO BOX 218                                                                                    PERCY               IL    62272‐0218
JAMES DOUGLAS         537 ASPEN GLEN DR APT 405                                                                     CINCINNATI         OH     45244‐1883
JAMES DOUGLAS         PO BOX 254                                                                                    DAVISON            MI     48423‐0254
JAMES DOUGLAS         914 ROCK CREEK RD                                                                             EVA                AL     35621‐7421
JAMES DOUGLAS         PO BOX 524                                                                                    FAIRACRES          NM     88033‐0524
JAMES DOUGLAS         7401 S COUNTY ROAD 400 W                                                                      MUNCIE             IN     47302‐8185
JAMES DOUGLAS         BAYS END MNR 321 3432 ST RD 580                                                               SAFETY HARBOR      FL     34695
JAMES DOUGLAS I I I   7725 PIRATE POINT CIR                                                                         ARLINGTON          TX     76016‐5336
JAMES DOUGLAS REED    WEITZ & LUXENBERG PC              700 BROADWAY                                                NEW YORK CITY      NY     10003
JAMES DOUGLAS REED    C/O WEITZ & LUXENBERG PC          700 BROADWAY                                                NEW YORK CITY      NY     10003
JAMES DOUGLASS        6331 FALCON LN                                                                                GAINESVILLE        GA     30506‐2428
JAMES DOUGLASS        2733 MURRAY RD                                                                                NEW LONDON         OH     44851‐9332
JAMES DOUGLASS JR     1411 N GRAY AVE                                                                               YOUNGSTOWN         OH     44505‐3858
JAMES DOURAS          1207 CANDLESTICK LN                                                                           ROCHESTER HILLS    MI     48306‐4211
JAMES DOVE            297 SOUTH BLVD W                                                                              PONTIAC            MI     48341‐2459
JAMES DOVER III       8423 OXFORD LN                                                                                GRAND BLANC        MI     48439‐7452
JAMES DOW             164 UPPER FLAT ROCK RD                                                                        MALONE             NY     12953‐2713
JAMES DOWDY           6 SUNNYSIDE DR                                                                                BELLEVILLE          IL    62226‐4816
JAMES DOWEN           5166 NW 181ST WAY                                                                             STARKE             FL     32091‐5586
JAMES DOWNHOUR II     804 TOMAHAWK BLVD                                                                             KOKOMO             IN     46902‐5596
JAMES DOWNING         1002 STOUGHTON RD                                                                             EDGERTON           WI     53534‐1171
JAMES DOWNING         1090 N ELLSWORTH AVE                                                                          SALEM              OH     44460‐1536
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JAMES DOWNING          25308 E 235TH ST                                                                                  HARRISONVILLE    MO     64701‐4195
JAMES DOWNING          208 W GRANVILLE AVE                                                                               ALBANY           IN     47320‐1106
JAMES DOWNING          PO BOX 122                                                                                        ORLEANS          IN     47452‐0122
JAMES DOWNING          10365 MARTZ RD                                                                                    YPSILANTI        MI     48197‐9421
JAMES DOWNS            3903 JEFFRY ST                                                                                    NEW CASTLE       IN     47362‐1412
JAMES DOWNS JR         310 PHILIP ST                                                                                     MINDEN           LA     71055‐9705
JAMES DOYLE            20099 COLLEEN CT                                                                                  STRONGSVILLE     OH     44149‐0931
JAMES DOYLE            509 E UNIVERSITY DR APT 506                                                                       ROCHESTER        MI     48307‐2161
JAMES DOYLE            27 W MAIN ST                                                                                      MACEDON          NY     14502‐8987
JAMES DOYLE            5855 BRYAN RD                                                                                     OREGON           OH     43618‐1205
JAMES DOYLE            2591 LANSDOWNE RD                                                                                 WATERFORD        MI     48329‐2939
JAMES DOYLE            3426 FIELD RD                                                                                     CLIO             MI     48420‐1165
JAMES DOYLE            445 ELK BRANCH RD                                                                                 HEDGESVILLE      WV     25427‐3019
JAMES DOYLE (445467)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD       OH     44067
                                                       PROFESSIONAL BLDG
JAMES DOZIER           13135 PINEHURST ST                                                                                DETROIT         MI      48238‐3020
JAMES DRAFT            15085 OCEANA AVE                                                                                  ALLEN PARK      MI      48101‐1858
JAMES DRAKE            2917 MCDONALD RD                                                                                  COOKEVILLE      TN      38501‐5753
JAMES DRAKE            4236 MARIANNE DR                                                                                  FLUSHING        MI      48433‐2329
JAMES DRAKE            536 KENDON DR                                                                                     LANSING         MI      48910‐5429
JAMES DRAKE            35972 EW 1230                                                                                     SEMINOLE        OK      74868‐6640
JAMES DRAKE            12194 TORREY RD                                                                                   FENTON          MI      48430‐9753
JAMES DRAKE JR         2917 TIKI TRL                                                                                     FORT WORTH      TX      76112‐6037
JAMES DRAKE JR         1714 JANES AVE                                                                                    SAGINAW         MI      48601‐1850
JAMES DRAMANN          1094 BRUNES BLVD                                                                                  BROWNSBURG      IN      46112‐7983
JAMES DRAPER           2279 MELODY LN                                                                                    BURTON          MI      48509‐1115
JAMES DRAVES           12103 WOODGLEN CIR                                                                                CLERMONT        FL      34711‐6782
JAMES DREES            8 HIGHFIELD CT                                                                                    SAINT CHARLES   MO      63304‐7172
JAMES DRENNAN          34135 W 207TH ST                                                                                  EDGERTON        KS      66021‐9476
JAMES DRENNAN          4149 BICKEL ST                                                                                    MILFORD         MI      48381‐4135
JAMES DRILLING CORP    PO BOX 337                      436 NEWPORT RD                                                    BLAIRSVILLE     PA      15717‐0337
JAMES DRISCOLL         1351 N SE BOUTELL                                                                                 ESSEXVILLE      MI      48732
JAMES DROGOSCH         4783 E SHAPINSAY DR                                                                               QUEEN CREEK     AZ      85240‐5041
JAMES DROSTE           1775 S SAINT CLAIR RD                                                                             SAINT JOHNS     MI      48879‐9017
JAMES DROWN            BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS.     OH      44236
JAMES DRUITT           120 WILLIAMS CIR                                                                                  WILLIAMSBURG    VA      23188‐1727
JAMES DRUMMOND         5319 MILLWOOD DR                                                                                  FLINT           MI      48504‐1129
JAMES DRYJA            651 WALL STREET                                                                                   NORTH           NY      14120
                                                                                                                         TONAWANDA
JAMES DUBAY            2116 REINHARDT ST                                                                                 SAGINAW         MI      48604‐2432
JAMES DUBORE           2024 FOUR CORNER LN                                                                               SAINT GERMAIN   WI      54558‐9056
JAMES DUBOSE           17202 SANTA ROSA DR                                                                               DETROIT         MI      48221‐2606
JAMES DUBUC            2278 MAJOR LN                                                                                     DAVISON         MI      48423‐2031
JAMES DUCE             1068 CHRISTINA LN                                                                                 GRAND BLANC     MI      48439‐8038
JAMES DUCHARME         6372 FLUSHING RD                                                                                  FLUSHING        MI      48433‐2549
JAMES DUCHSCHER        1079 GREYSTONE MANOR PKWY                                                                         CHESTERFIELD    MO      63005‐4946
JAMES DUDEK            5138 SHREEVES RD                                                                                  FAIRGROVE       MI      48733‐9564
JAMES DUDEWICZ         9055 S WEST BAY SHORE DR                                                                          TRAVERSE CITY   MI      49684‐9483
JAMES DUDLEY           4820 ELMHURST DR                                                                                  INDIANAPOLIS    IN      46226‐2619
JAMES DUDLEY           463 TRUESDALE RD                                                                                  CAMDEN          SC      29020‐8926
JAMES DUDLEY           1037 WOODSHIRE CIR                                                                                SHREVEPORT      LA      71107‐2850
JAMES DUDLEY
JAMES DUDLEY JR        PO BOX 24                                                                                         KENNARD          IN     47351‐0024
JAMES DUELL            5362 WASHINGTON BLVD                                                                              INDIANAPOLIS     IN     46220‐3063
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Name               Address1                        Address2                     Address3   Address4               City            State   Zip
JAMES DUES         8025 OAK RD                                                                                    MILLINGTON       MI     48746‐9606
JAMES DUFF         5122 W WILLOW HWY                                                                              LANSING          MI     48917‐1563
JAMES DUFF         52 SHAWNEE CT                                                                                  FRANKLIN         OH     45005‐7112
JAMES DUFF         3220 ADAMS RD                                                                                  EAST JORDAN      MI     49727‐9664
JAMES DUFFEY       21421 N CLOUDCROFT LN                                                                          SURPRISE         AZ     85387‐2732
JAMES DUFFIELD     2032 CHEDDAR RD                                                                                BELTON           SC     29627‐8223
JAMES DUFFY        11709 GLASGOW RD                                                                               SMITHS GROVE     KY     42171‐9116
JAMES DUFFY        47548 BEACON SQUARE DR                                                                         MACOMB           MI     48044‐2855
JAMES DUFFY        224 CAPE COD WAY                                                                               ROCHESTER        NY     14623‐5406
JAMES DUFFY        1022 DERRINGER DR                                                                              ENGLEWOOD        OH     45322‐2419
JAMES DUFFY        7708 FOX CHASE DR                                                                              ARLINGTON        TX     76001‐2907
JAMES DUFFY        2385 CEDAR PARK DR APT 121                                                                     HOLT             MI     48842‐3110
JAMES DUFFY JR     368 VERNON DR                                                                                  WEST NEWTON      PA     15089‐2701
JAMES DUFRESNE     898 CECELIA DR                                                                                 ESSEXVILLE       MI     48732‐2198
JAMES DUGENER      4628 STAFFORD AVE                                                                              LANSING          MI     48910‐7424
JAMES DUGGAN       PO BOX 9022                     C/O ADAM OPEL PKZ A4‐01                                        WARREN           MI     48090‐9022
JAMES DUGGER       4466 N 17TH ST                                                                                 TERRE HAUTE      IN     47805‐2418
JAMES DUGGER       121 E BLUE RIDGE TER                                                                           FAIRFIELD BAY    AR     72088‐4101
JAMES DUGGINS JR   5573 SAMVER RD                                                                                 CINCINNATI       OH     45239‐7148
JAMES DUGIC        2791 MILTON ST SE                                                                              WARREN           OH     44484‐5256
JAMES DUGSTAD      7476 SARATOGA DR                                                                               CHANHASSEN       MN     55317‐9771
JAMES DUHAIME      5121 FRAZHO RD                                                                                 WARREN           MI     48091‐3841
JAMES DUIS         41504 PAW PAW RD                                                                               PAW PAW          MI     49079‐9798
JAMES DUKES I V    PO BOX 68807                                                                                   INDIANAPOLIS     IN     46268‐0807
JAMES DULA         1811 ANDINA AVE                                                                                CINCINNATI       OH     45237‐6015
JAMES DULIN        8408 N STATE ROAD 59                                                                           BRAZIL           IN     47834‐7409
JAMES DUMAS        2009 WINANS AVE                                                                                FLINT            MI     48503‐4204
JAMES DUMAS        2430 TYTUS AVE                                                                                 MIDDLETOWN       OH     45042‐2357
JAMES DUMAS        2153 E 119TH ST                                                                                LOS ANGELES      CA     90059‐2619
JAMES DUMIT        6941 OAKSHADE RD                                                                               SYLVANIA         OH     43560‐3545
JAMES DUMMER       PO BOX 404                                                                                     PICKFORD         MI     49774‐0404
JAMES DUNBAR       8474 PIEDMONT ST                                                                               DETROIT          MI     48228‐3068
JAMES DUNBAR JR    30954 WHEATON APT 328                                                                          NEW HUDSON       MI     48165‐9466
JAMES DUNCAN       97 LARRISON RD                                                                                 WRIGHTSTOWN      NJ     08562‐2209
JAMES DUNCAN       2159 N DREXEL AVE                                                                              INDIANAPOLIS     IN     46218‐3839
JAMES DUNCAN       1600 ABERNATHY ST                                                                              FORDYCE          AR     71742‐2904
JAMES DUNCAN       310 S LEAVITT RD                                                                               LEAVITTSBURG     OH     44430‐9714
JAMES DUNCAN       W226N6037 AVON CT                                                                              SUSSEX           WI     53089‐3901
JAMES DUNCAN       4900 MYRTLE AVE                                                                                BLUE ASH         OH     45242‐6135
JAMES DUNCAN       4112 WINONA ST                                                                                 FLINT            MI     48504‐3741
JAMES DUNCAN       28485 JAMES ST                                                                                 GARDEN CITY      MI     48135‐2121
JAMES DUNCAN       518 N PROSPECT ST                                                                              CRESCENT CITY    FL     32112‐2232
JAMES DUNCAN       2432 SW 96TH ST                                                                                OKLAHOMA CITY    OK     73159‐6864
JAMES DUNCAN       10705 BELLER PL                                                                                MOORE            OK     73160‐9412
JAMES DUNCAN JR    16973 WETHERBY ST                                                                              BEVERLY HILLS    MI     48025‐5562
JAMES DUNDA        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.      OH     44236
JAMES DUNGY        BRAYTON PURCELL                 PO BOX 6169                                                    NOVATO           CA     94948‐6169
JAMES DUNHAM       11824 45TH RD SE                                                                               AGENCY           MO     64401‐9166
JAMES DUNKER       20143 MONROE ROAD 415                                                                          PARIS            MO     65275‐2357
JAMES DUNLAP       15315 NW 127TH ST                                                                              PLATTE CITY      MO     64079‐7278
JAMES DUNLAP       2313 PARKLAND WAY                                                                              NORMAN           OK     73069‐6536
JAMES DUNLAP       4535 JOHN PENN CIR APT I                                                                       CHARLOTTE        NC     28215‐1790
JAMES DUNLAP JR    1100 BELCHER RD S LOT 4                                                                        LARGO            FL     33771‐3325
JAMES DUNLAVY      8621 N 1000 E                                                                                  WILKINSON        IN     46186‐9785
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Name               Address1                         Address2                      Address3      Address4               City            State   Zip
JAMES DUNN         3708 GLENCREST ST                                                                                   SHREVEPORT       LA     71109‐4710
JAMES DUNN         1515 CENTER STAR RD                                                                                 COLUMBIA         TN     38401‐7750
JAMES DUNN         1462 HILLCREST AVE APT 1                                                                            NILES            OH     44446‐3761
JAMES DUNN         30 VALLEY RD                                                                                        DAWSONVILLE      GA     30534‐5377
JAMES DUNN         1136 N 200 E                                                                                        ANDERSON         IN     46012‐9671
JAMES DUNN         1534 BLAIR CT                                                                                       MIDDLETOWN       OH     45042‐1406
JAMES DUNN         1800 LONGCREEK DR                APT 4R                                                             COLUMBIA         SC     29210‐7164
JAMES DUNN         G7467 N CENTER RD                                                                                   MOUNT MORRIS     MI     48458
JAMES DUNN         427 W MILLINGTON RD                                                                                 FOSTORIA         MI     48435‐9709
JAMES DUNN         10380 STANLEY RD                                                                                    FLUSHING         MI     48433‐9247
JAMES DUNN         5197 WEST M‐18                                                                                      GLADWIN          MI     48624
JAMES DUNN         1445 HAGADORN RD                                                                                    MASON            MI     48854‐9337
JAMES DUNN         3140 PEGGY AVE                                                                                      PAHRUMP          NV     89048‐9430
JAMES DUNN         1989 US 42 ASHLAND ROAD                                                                             MANSFIELD        OH     44902
JAMES DUNN         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.      OH     44236
JAMES DUNN SR      2726 GRANDVIEW RD                                                                                   LAKE MILTON      OH     44429‐9778
JAMES DUNNE        1350 BARRINGTON DR                                                                                  BOWLING GREEN    KY     42103‐8757
JAMES DUNNIGAN     14079 ROSSINI DR                                                                                    DETROIT          MI     48205‐1857
JAMES DUNNING      1095 E MANDEVILLE ST                                                                                BURTON           MI     48529‐1124
JAMES DUPREE       13717 DUPREE WORTHEY RD                                                                             HARVEST          AL     35749‐7364
JAMES DUQUETTE     G10030 CENTER RD                                                                                    CLIO             MI     48420
JAMES DURAN        4272 GULL PRAIRIE DR APT 3B                                                                         KALAMAZOO        MI     49048‐3017
JAMES DURAND       39 CHESTNUT ST                                                                                      MARLBOROUGH      MA     01752‐2161
JAMES DURBIN       159 HIGHLAND CIR                                                                                    FLOVILLA         GA     30216‐2100
JAMES DURCAN       MOTLEY RICE LLC                  28 BRIDGESIDE BLVD            PO BOX 1792                          MT PLEASANT      SC     29465
JAMES DURHAM       C/O LEVY PHILLIPS & KONIGSBERG   800 3RD AVE ‐ 13TH FL                                              NEW YORK         NY     10022‐4213
JAMES DURHAM       7595 COUNTY ROAD 1023                                                                               WOLFE CITY       TX     75496‐3500
JAMES DURHAM       4108 CHARTER OAKS DR BLDG 4                                                                         DAVISON          MI     48423
JAMES DURHAM JR    3934 MONSOLS DR                                                                                     FLORISSANT       MO     63034‐2444
JAMES DURMAN       THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                        HOUSTON          TX     77017
JAMES DURNELL      4734 TOLEDO ST                                                                                      DETROIT          MI     48209‐1373
JAMES DURSO        3616 NASHVILLE HWY                                                                                  LEWISBURG        TN     37091‐6539
JAMES DUSHANE JR   17397 SE 82ND ROSLYN CT                                                                             THE VILLAGES     FL     32162‐2880
JAMES DUTTERER     112 STONEBROOK RD                                                                                   WINCHESTER       VA     22602‐6612
JAMES DUTTON       2749 KILGORE RD                                                                                     BUFORD           GA     30519‐4444
JAMES DUVALL       27799 FOUNTAIN ST                                                                                   ROSEVILLE        MI     48066‐4341
JAMES DUVALL       5504 RIVERWAY DR                                                                                    SEBRING          FL     33875‐9670
JAMES DUVERNOIS    210 HIGHLAND DR                                                                                     ROSCOMMON        MI     48653‐8780
JAMES DUZEK        916 RANDY LANE UNIT 8                                                                               SAINT JOHNS      MI     48879
JAMES DYAR         7777 DOUGLAS RD                                                                                     LAMBERTVILLE     MI     48144‐9628
JAMES DYAR         5684 WHITEHAVEN DR                                                                                  TROY             MI     48085‐3137
JAMES DYE          1496 AMESBURY RD                                                                                    TOLEDO           OH     43612‐2003
JAMES DYE          107 NW 114TH TER                                                                                    KANSAS CITY      MO     64155‐3461
JAMES DYE          2285 FOX LN                                                                                         BLANCHARD        OK     73010‐6623
JAMES DYE          5453 ROBIN DR                                                                                       GRAND BLANC      MI     48439‐7925
JAMES DYE          629 COSLER DR                                                                                       DAYTON           OH     45403‐3205
JAMES DYER         2225 N CONNECTICUT AVE                                                                              ROYAL OAK        MI     48073‐4284
JAMES DYER         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.      OH     44236
JAMES DYGERT       PO BOX 9022                      C/O SAAB‐TROLLHATTAN                                               WARREN           MI     48090‐9022
JAMES DYKAS        1939 W RUSSELL RD                                                                                   TECUMSEH         MI     49286‐9715
JAMES DYKES        26 JOHN HILL RD                                                                                     LAUREL           MS     39443‐8569
JAMES DYLE         35 NORTHWOOD SPRINGS DR                                                                             OXFORD           GA     30054‐4613
JAMES DYMEK        586 CRESCENT RD                                                                                     COLUMBUS         OH     43204‐2433
JAMES DYMOND       20705 BONZ BEACH HWY                                                                                ONAWAY           MI     49765‐9653
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Name                                   Address1                         Address2                       Address3   Address4               City            State   Zip
JAMES DYNES                            6649 SLOSSER RD                                                                                   HALE             MI     48739‐9056
JAMES DZIAK                            C/O COONEY AND CONWAY            120 NORTH LASALLE 30TH FLOOR                                     CHICAGO           IL    60602
JAMES E & DEBORAH K KAMMUELLER         11027 N BUCKSKIN CT                                                                               PEORIA            IL    61615‐1148
JAMES E & VIGDIS L SELL                JAMES E SELL                     609 AVENIDA TORTOGA                                              GREEN VALLEY     AZ     85614
JAMES E AIKINS                         21 BRENTWOOD BLVD.                                                                                NILES            OH     44446‐3227
JAMES E ALEXANDER                      4108 MEADOWLANE DR.                                                                               JACKSON          MS     39206
JAMES E ALLCOCK                        4136 CHURCHILL DR                                                                                 CONCORD          CA     94521‐3318
JAMES E ALLEN                          1367 DAVIS ST                                                                                     YPSILANTI        MI     48198‐5960
JAMES E ALTIER JR                      85 LAWNVIEW AVE.                                                                                  NILES            OH     44446
JAMES E AMOS                           727 BELL RD APT 1223                                                                              ANTIOCH          TN     37013‐8024
JAMES E AND BARBARA L YOUNG TRUST      JAMES E YOUNG                    5852 BARBANELL ST                                                LONG BEACH       CA     90815‐1303
DTD 8/24/88
JAMES E AND DEBORAH K KAMMUELLER       11027 N BUCKSKIN CT                                                                               PEORIA           IL     61615‐1148

JAMES E AND FRANCIS A WALBERT          MCKENNA & ASSOCIATES PC          436 BOULEVARD OF THE ALLIES                                      PITTSBURGH       PA     15219‐1331
                                                                        SUITE 500
JAMES E AND SUSALEE RULLMAN            2588 VINCENNES TRAIL                                                                              SALEM           IN      47167
JAMES E ANDERSON                       1702 CAROLYN DR                                                                                   MIAMISBURG      OH      45342‐2641
JAMES E ANDERSON JR                    413 E 40TH ST                                                                                     INDIANAPOLIS    IN      46205‐5605
JAMES E ARRINGTON                      P. O. BOX 44                                                                                      MARTINSVILLE    OH      45146‐0044
JAMES E AUGUST                         3322 WOLCOTT ST                                                                                   FLINT           MI      48504‐3200
JAMES E AVERY                          3262 TALL OAKS CT                                                                                 FLINT           MI      48532‐3752
JAMES E BAILEY                         5000 ANTHONY‐ANDERSON RD.                                                                         LEAVITTSBURG    OH      44430
JAMES E BALLARD                        1907 TYLER RD                                                                                     YPSILANTI       MI      48198‐6120
JAMES E BANKS                          PO BOX 64                                                                                         SUMMIT          MS      39666
JAMES E BARFAY                         PO BOX 565                                                                                        VIENNA          OH      44473‐0565
JAMES E BARNETT                        C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                        HOUSTON         TX      77007
                                       BOUNDAS LLP
JAMES E BARNHART                       319 S ADAMS ST                                                                                    NEW CARLISLE    OH      45344‐1901
JAMES E BASS                           262 BELKNAP ST                                                                                    ROCHESTER       NY      14606‐1457
JAMES E BAUMANN                        4850 HOGPATH RD                                                                                   GREENVILLE      OH      45331
JAMES E BELCHER                        373 SCOTT AVE                                                                                     VANDALIA        OH      45377‐2419
JAMES E BENBOW                         1767 E SPRING VALLEY PIKE                                                                         CENTERVILLE     OH      45458‐2752
JAMES E BERHOW                         6509 ALTER RD                                                                                     HUBER HEIGHTS   OH      45424‐3406
JAMES E BETZNER                        934 LINCOLN WAY WEST                                                                              MASSILLON       OH      44647‐6242
JAMES E BLACK PONTIAC CADILLAC         3929 ADMIRAL PEARY HWY                                                                            EBENSBURG       PA      15931‐3918
JAMES E BLAIR                          1300 EAST SOCIAL ROW ROAD                                                                         CENTERVILLE     OH      45458‐4718
JAMES E BLATTNER                       11721 PALATINE AVE N                                                                              SEATTLE         WA      98133
JAMES E BOLIN AND DOROTHY L BOLIN JT   15946 EASYGOER CT                                                                                 CLINTON TWP     MI      48035‐1045
TEN
JAMES E BOLIN AND DOROTHY L BOLIN JT   15964 EASYGOER CT                                                                                 CLINTON TWP      MI     48035‐1045
TEN
JAMES E BOOKHEIMER                     1393 RUSSELL ST                                                                                   YPSILANTI       MI      48198‐5952
JAMES E BRASSE                         1006 CHAMPION DR                                                                                  LUFKIN          TX      75901
JAMES E BRAY                           5807 KERWOOD LN                                                                                   BROWNSBURG      IN      46112‐8689
JAMES E BRENDTKE                       6138 TURNBURY PK DR #6102                                                                         SARASOTA        FL      34243‐6140
JAMES E BRIDGES                        3412 PONTIAC LAKE RD                                                                              WATERFORD       MI      48328‐2400
JAMES E BROUGH                         315 BRENTWOOD ST                                                                                  TILTON          IL      61833‐7520
JAMES E BROWN                          1226 OLD COOCHES BRIDGE RD                                                                        NEWARK          DE      19713
JAMES E BROWN                          6150 HAZEL DR                                                                                     JAMESTOWN       PA      16134
JAMES E BROWN                          4300 PENNLYN AVE APT 4                                                                            KETTERING       OH      45429
JAMES E BUCHANAN                       8938 GARLAND ST.                                                                                  CARLISLE        OH      45005‐3008
JAMES E BUERSCHEN                      3626 GREENBAY DR                                                                                  DAYTON          OH      45415‐2017
JAMES E BURGESS                        6105 A ARLINGTON BLVD                                                                             FALLS CHURCH    VA      22044‐2708
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JAMES E BURNETT                179 OXFORD AVE                                                                                                   BUFFALO         NY     14209‐1213
JAMES E BURNEY                 2806 SPAULDING DR                                                                                                WILMINGTON      NC     28405‐2033
JAMES E BURTON JR              128 E CORNELL AVE                                                                                                PONTIAC         MI     48340‐2632
JAMES E BUSH                   7057 BOSTWICK RD                                                                                                 SHREVEPORT      LA     71107‐8947
JAMES E BUSH                   75 ANN RD.                                                                                                       GRAYSON         KY     41143
JAMES E CALDWELL III           3736 EVANSVILLE AVE                                                                                              DAYTON          OH     45406
JAMES E CALVIN                 7710 CENTRAL ST                                                                                                  DETROIT         MI     48210‐1082
JAMES E CANFIELD               1183 DOWAGIAC AVE                                                                                                MOUNT MORRIS    MI     48458‐2577
JAMES E CANTRELL               3328 TERANIMAR                                                                                                   ANAHEIM         CA     92804‐3038
JAMES E CAPLAN                 1440 TICONDEROGA CT RONA V                                                                                       XENIA           OH     45385‐6960
JAMES E CARICO                 2029 COURTLAND AVENUE                                                                                            KETTERING       OH     45420‐2148
JAMES E CARTER                 PO BOX 19596                                                                                                     SHREVEPORT      LA     71149‐0596
JAMES E CASH JR                5403 CRESTWOOD DR                                                                                                GRAND BLANC     MI     48439‐4319
JAMES E CHADDOCK               ATTN ROBERT W PHILLIPS         C/O SIMMONS BROWDER GIANARIS 707 BERKSHIRE BLVD ‐ PO BOX                          EAST ALTON       IL    62024
                                                              ANGELIDES & BARNERD LLC      521
JAMES E CHIDESTER & FLORENCE   JAMES AND FLORENCE CHIDESTER   113 REVERE COURT                                                                  JACKSONVILLE    AR     72076
CHIDESTER
JAMES E CHISOLM                2110 43RD AVE                                                                                                    MERIDIAN       MS      39307‐5127
JAMES E CLACK                  10766 CHILDRESS CT                                                                                               CINCINNATI     OH      45240‐3913
JAMES E CLARK JR               1191 REID AVE.                                                                                                   XENIA          OH      45385
JAMES E CLAY                   15052 WHITCOMB ST                                                                                                DETROIT        MI      48227‐2608
JAMES E COFFEY                 3172 KY 3441                                                                                                     BARBOURVILLE   KY      40906‐7802
JAMES E COFFMAN                3558 E LOWER SPRINGBORO RD                                                                                       WAYNESVILLE    OH      45068‐8791
JAMES E COLLIER                1224 ROSE BOWER AVE                                                                                              KETTERING      OH      45429
JAMES E COLLINS SR             970 E. CENTRAL AVE.                                                                                              MIAMISBURG     OH      45342‐2554
JAMES E COLVILLE               2251 MORNING GLORY CIR APT B                                                                                     TROY           OH      45373‐2591
JAMES E COMBS                  6940 BELLEGLADE DR                                                                                               DAYTON         OH      45424
JAMES E COMBS                  422 AVON OAK CRT                                                                                                 NEW LEBANON    OH      45345‐1504
JAMES E CONSTANCE              2328 LAKECREST DRIVE                                                                                             MANSFIELD      OH      44903‐9264
JAMES E COOPER                 104 LAKEVIEW DR                                                                                                  LEESBURG       FL      34788
JAMES E COX JR                 8468 BENNETT LAKE RD                                                                                             FENTON         MI      48430‐9009
JAMES E CRABTREE               1740 FALMOUTH AVE                                                                                                SPRINGFIELD    OH      45503‐1502
JAMES E CRUTCHER               2134 WINCHESTER RD. N.W.                                                                                         HUNTSVILLE     AL      35810‐1643
JAMES E CUMMINGS               5515 N PARK AVENUE EXT                                                                                           WARREN         OH      44481
JAMES E CUNNINGHAM JR          1016 RICHIE AVE                                                                                                  LIMA           OH      45805‐2052
JAMES E DEE                    2012 WHITEWOOD AVE                                                                                               SPRING HILL    FL      34609‐6087
JAMES E DEGENNARO              803 SAVAGE RD                                                                                                    CHURCHVILLE    NY      14428‐9719
JAMES E DEHART                 3035 ELMBROOK WAY                                                                                                BEAVER CREEK   OH      45431
JAMES E DENNY JR               105 NORTHWOOD DR                                                                                                 SYRACUSE       NY      13211‐1313
JAMES E DESCHLER               311 NORTH 3RD STREET                                                                                             TIPP CITY      OH      45371‐1919
JAMES E DIGGS II               1612 BRIGNAL ROAD                                                                                                BROOKHAVEN     MS      39601‐2112
JAMES E DOUBLE                 3964 WESTLAKE DR                                                                                                 CORTLAND       OH      44410‐9314
JAMES E DRAMANN                1051 PLUM ST                                                                                                     BROWNSBURG     IN      46112‐7982
JAMES E DUKES                  5037 BALLARD DRIVE                                                                                               DAYTON         OH      45418‐2019
JAMES E DUNN                   1534 BLAIR CT                                                                                                    MIDDLETOWN     OH      45042‐1406
JAMES E DUNNY                  237 DEVONSHIRE ST                                                                                                YPSILANTI      MI      48198‐6022
JAMES E ELLIOTT                NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT       205 LINDA DRIVE                                    DAINGERFIELD   TX      75638
JAMES E ELLIOTT                9950 EBY RD                                                                                                      GERMANTOWN     OH      45327‐9776
JAMES E ELLIOTT                701 LAKE AVENUE                                                                                                  ROCHESTER      NY      14613
JAMES E EVANS                  2457 BREWER RD                                                                                                   CROSSVILLE     TN      38572‐1996
JAMES E FARRELL JR             PO BOX 224                                                                                                       BRISTOLVILLE   OH      44402‐0224
JAMES E FISCHER                11085 HILLVIEW TRL                                                                                               VANDERBILT     MI      49795‐8500
JAMES E FLETCHER               1503 W GRAND AVE                                                                                                 DAYTON         OH      45402
JAMES E FLINT                  6126 PREBLE COUNTY LINE RD                                                                                       BROOKVILLE     OH      45309‐7710
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Name                   Address1                               Address2                    Address3                  Address4               City               State   Zip
JAMES E FORTUNE, JR.   2373 W 6TH ST                                                                                                       MC DONALD           OH     44437‐1307
JAMES E FOX            8265 DAYTON GERMANTOWN PIKE                                                                                         GERMANTOWN          OH     45327
JAMES E FREDERICK      1854 CLARISSA AVE                                                                                                   DAYTON              OH     45429
JAMES E FREEMAN        301 E STONEQUARRY RD                                                                                                VANDALIA            OH     45377
JAMES E FUNK           3913 MEANDER DRIVE                                                                                                  MINERAL RIDGE       OH     44440
JAMES E FUNK           2845 E KETTLE PL                                                                                                    CENTENNIAL          CO     80122‐3326
JAMES E GALLOWAY       18130 BURTLESS RD                                                                                                   MANCHESTER          MI     48158‐9647
JAMES E GAMBRELL       1580 WILSON PARK DR                                                                                                 MIAMISBURG          OH     45342
JAMES E GAMBRELL       7035 JORDAN RD                                                                                                      LEWISBURG           OH     45338‐9752
JAMES E GIBSON         2955 REVELS AVE                                                                                                     DAYTON              OH     45408‐2228
JAMES E GLASS          3968 STATE ROUTE 82                                                                                                 NEWTON FALLS        OH     44444
JAMES E GOINS          2007 GIPSY DRIVE                                                                                                    DAYTON              OH     45414‐3337
JAMES E GOUDY          102 WALDWICK FARM CIRCLE                                                                                            UNION               OH     45322‐2943
JAMES E GRAYSON        C/O WILLIAMS KHERKHER HART &           8441 GULF FREEWAY STE 600                                                    HOUSTON             TX     77007
                       BOUNDAS LLP
JAMES E GRECO          C/O VALERIE QUINZI                     24 HARLESTON LANE                                                            EAST ROCHESTER     NY      14445
JAMES E GREEN          952 E STROOP RD                                                                                                     DAYTON             OH      45429
JAMES E GREEN          1150 S CENTRAL AVE                                                                                                  FAIRBORN           OH      45324‐3650
JAMES E GREENWOOD      695 NORTH EAST CAPITAL AVE. APT. 23B                                                                                BATTLE CREEK       MI      49017

JAMES E GRIFFIN        13171 NW 92ND CT                                                                                                    CHIEFLAND          FL      32626‐4637
JAMES E GRIFFIN JR     4703 BRAZOSWOOD CT                                                                                                  ARLINGTON          TX      76017‐2801
JAMES E HADLEY         105 ASHBROOK TRL                                                                                                    FARMERSVILLE       OH      45325‐1226
JAMES E HALL           514 12TH ST N                                                                                                       BESSEMER           AL      35020‐5557
JAMES E HAMILTON       11801 NELSON PARKMAN RD                                                                                             GARRETTSVILLE      OH      44231‐9621
JAMES E HAMMETT JR     C/O WILLIAMS KHERKHER HART &        8441 GULF FREEWAY STE 600                                                       HOUSTON            TX      77007
                       BOUNDAS LLP
JAMES E HARDY          C/O WILLIAMS KHERKHER HART & BONDAS 8441 GULF FREEWAY STE 600                                                       HOUSTON             TX     77007
                       LLP
JAMES E HARDY          PO BOX 995                                                                                                          SAGINAW            MI      48606‐0995
JAMES E HARLOW         6125 WINTHROP AVE                                                                                                   INDIANAPOLIS       IN      46220‐1943
JAMES E HARRIS         17300 INDIANA ST                                                                                                    DETROIT            MI      48221‐2403
JAMES E HARRIS         1004 RIDGE AVE                                                                                                      YOUNGSTOWN         OH      44502‐1665
JAMES E HARRIS         C/O WILLIAMS KHERKHER HART &        8441 GULF FREEWAY, STE 600                                                      HOUSTON            TX      77007
                       BOUNDAS, LLP
JAMES E HARRISON       916 CAMBRIDGE LANE                                                                                                  WILMETTE           IL      60091
JAMES E HARRISON       605 GARRETT PLACE APT #E36                                                                                          EVANSTON           IL      60201
JAMES E HARTZELL       5787 DURAND ST                                                                                                      DAYTON             OH      45414‐3015
JAMES E HAWES          9359 ERIE RD                                                                                                        ANGOLA             NY      14006‐9215
JAMES E HAZEL          922 PRINCETON RD                                                                                                    BERKLEY            MI      48072‐3031
JAMES E HAZER          P.O BOX 1487                        136 WESTWOOD LANE                                                               STEELVILLE         MO      65565‐1487
JAMES E HECKMAN        4861 BALDWINHILLS DR                                                                                                ENGLEWOOD          OH      45322‐3507
JAMES E HIGGINS        906 RAYBERTA DR                                                                                                     VANDALIA           OH      45377‐2629
JAMES E HILLS          C/O WILLIAMS KHERKHER HART &        8441 GULF FREEWAY STE 600                                                       HOUSTON            TX      77007
                       BOUNDAS LLP
JAMES E HINSON JR      C/O WILLIAMS KHERKHER HART &        8441 GULF FREEWAY STE 600                                                       HOUSTON             TX     77007
                       BOUNDAS LLP
JAMES E HODGSON        8467 NIGHTINGALE ST                                                                                                 DEARBORN HTS        MI     48127‐1203
JAMES E HOERIG         C/O JUDITH R HERMAN (P40477)        THE SAM BERNSTEIN LAW FIRM PLLC 31731 NORTHWESTERN HWY                          FARMINGTON HILLS    MI     48334
                                                                                           SUITE 333
JAMES E HOLLEY         1811 CORETTA CT                                                                                                     DAYTON             OH      45417
JAMES E HOLLEY         1964 PARKHILL DR                                                                                                    DAYTON             OH      45406‐2714
JAMES E HOOSER         302 BREMAN AVE                                                                                                      MATTYDALE          NY      13211‐1533
JAMES E HOWARD         BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                                      BOSTON HTS.        OH      44236
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Name                Address1                        Address2                      Address3                     Address4               City             State   Zip
JAMES E HOWARD      2201 TAYLORTOWN RD                                                                                                SHELBY            OH     44875‐8844
JAMES E HOWARD      594 ENTERPRISE RD.                                                                                                W ALEXANDRIA      OH     45381
JAMES E HOWARD SR   2565 TOD AVE NW                                                                                                   WARREN            OH     44485‐1923
JAMES E HOWELL      559 E PATERSON ST                                                                                                 FLINT             MI     48505‐4710
JAMES E HOWTON SR   C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                                         HOUSTON           TX     77007
                    BOUNDAS LLP
JAMES E HUTCHINS    2644 SAN RAE DRIVE                                                                                                KETTERING        OH      45419‐2766
JAMES E HUTTON      6270 E BRISTOL RD                                                                                                 BURTON           MI      48519‐1741
JAMES E ISOM        2050 STANFORD AVE                                                                                                 FLINT            MI      48503‐4011
JAMES E JACKSON     C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                                         HOUSTON          TX      77007
                    BOUNDAS LLP
JAMES E JACKSON     BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                                        BOSTON HEIGHTS   OH      44236
JAMES E JACKSON     387 ALPHONSE ST                                                                                                   ROCHESTER        NY      14621‐4915
JAMES E JACKSON     5399 OLIVE RD                                                                                                     DAYTON           OH      45426‐1427
JAMES E JACKSON     2090 RIDDLEBARGER RD                                                                                              PORTSMOUTH       OH      45662‐8978
JAMES E JAMISON     6017 LILLIAN AVE                                                                                                  TAFT             OH      45213‐2313
JAMES E JARDINE     927 LAKEVIEW DR                                                                                                   SHARPS CHAPEL    TN      37866
JAMES E JEFFREY     2445 LYNN AVENUE                                                                                                  DAYTON           OH      45406
JAMES E JEMISON     402‐A NORTH 6TH STREET                                                                                            GADSDEN          AL      35901‐3255
JAMES E JOHNSON     11269 ST RT 227                                                                                                   CAMDEN           OH      45311‐‐ 95
JAMES E JOHNSON     BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                        BOSTON HTS.      OH      44236
JAMES E JOHNSON     415 SMITH ST                                                                                                      DETROIT          MI      48202‐2833
JAMES E JOKINEN     335 ASPEN DR NW                                                                                                   WARREN           OH      44483
JAMES E JONES       1359 S WALNUT #4820                                                                                               ANAHEIM          CA      92802‐2204
JAMES E JONES       306 ANDREW JACKSON PL                                                                                             HERMITAGE        TN      37076‐2235
JAMES E JONES JR    C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY, STE 600                                                        HOUSTON          TX      77007
                    BOUNDAS, LLP
JAMES E JONES SR    C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                                         HOUSTON           TX     77007
                    BOUNDAS LLP
JAMES E JONES SR    GLASSER AND GLASSER             CROWN CENTER                  580 EAST MAIN STREET SUITE                          NORFOLK           VA     23510
                                                                                  600
JAMES E JORDAN      6224 APPLEGATE DR                                                                                                 TOLEDO           OH      43615‐2545
JAMES E JORDAN      724 PEGGY DR                                                                                                      EATON            OH      45320
JAMES E JOZWIAK     75 S WRIGHT AVE                                                                                                   DAYTON           OH      45403
JAMES E KAY         116 KAY RD                                                                                                        GRIFFIN          GA      30223
JAMES E KAZEE       241 E APPALOOSA COURT                                                                                             GILBERT          AZ      85296
JAMES E KEESLER     6485A MILLERS RUN BACK RUN RD                                                                                     LUCASVILLE       OH      45648‐‐ 87
JAMES E KELLY       BARON & BUDD P C                THE CENTRUM SUITE 1100        3102 OAK LAWN AVE                                   DALLAS           TX      75219‐4281
JAMES E KERNS       1405 IRONWORKS LN                                                                                                 TARPON SPGS      FL      34689‐2937
JAMES E KETCHEM     27 MARYLN LANE                                                                                                    HAWK POINT       MO      63349‐2070
JAMES E KINNEMORE   2316 N CHAMBERLAIN AVE                                                                                            CHATTANOOGA      TN      37406‐3813
JAMES E KIRCHNER    1509 N PARKER CT # 2                                                                                              JANESVILLE       WI      53545‐0767
JAMES E KLESS       168 BELMONT CT E                                                                                                  N TONAWANDA      NY      14120‐4809
JAMES E KNUCKLES    1085 E YALE AVE                                                                                                   FLINT            MI      48505‐1516
JAMES E KUHNELL     4042 NICHOLSON RD                                                                                                 CLARKSVILLE      OH      45113‐8651
JAMES E LAWSON      888 ANTIOCH SCHOOL RD                                                                                             VANDALIA         OH      45377‐9722
JAMES E LEE         3906 DUBLIN AVE                                                                                                   COLUMBIA         MO      65203
JAMES E LEE         1656 GLADSTONE ST                                                                                                 DETROIT          MI      48206‐2230
JAMES E LEVY        1165 RED COAT LN                                                                                                  SPARTA           MI      49345‐9472
JAMES E LEWIS       2722 W SAHUARO DR APT3‐201                                                                                        PHOENIX          AZ      85029‐4561
JAMES E LINN        12808 OAKFIELD AVE                                                                                                CLEVELAND        OH      44105‐1941
JAMES E LOCKHART    CANTERBURY PLACE                900 HIGHWAY 51 BYPASS NORTH                                                       DYERSBURG        TN      38024
JAMES E LONG        203 S H ST                                                                                                        TILTON           IL      61833‐7824
JAMES E LUEBKE      2350 ROSINA DR                                                                                                    MIAMISBURG       OH      45342
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Name                           Address1                            Address2                      Address3                Address4                  City               State   Zip
JAMES E LUNDEEN SR M           1430 S HIGH ST                                                                                                      COLUMBUS            OH     43207‐1045
JAMES E MACHER                 29 EAST HILLCREST AVE                                                                                               DAYTON              OH     45405
JAMES E MAHAN                  3700 S WESTPORT AVE #3827                                                                                           SIOUX FALLS         SD     57106
JAMES E MAHON                  3572 WILSON‐SHARPSVILLE                                                                                             CORTLAND            OH     44410‐9433
JAMES E MALLETTE JR            2165 MARENGO ST                     SUITE H                                                                         FLORENCE            AL     35630
JAMES E MANNING                5704 TRENTON‐FRANKLIN RD                                                                                            MIDDLETOWN          OH     45042
JAMES E MARION                 P.O. BOX 345                                                                                                        HENRIETTA           NY     14467
JAMES E MARKHAM                4015 MORSE RD SW                                                                                                    ALEXANDRIA          OH     43001
JAMES E MARLOW                 4771 CLAYTON RD                                                                                                     BROOKVILLE          OH     45309‐8313
JAMES E MASON                  C/O WILLIAMS KHERKHER HART &        8441 GULF FREEWAY STE 600                                                       HOUSTON             TX     77007
                               BOUNDAS LLP
JAMES E MASSINGILL             140 REDBUD DRIVE                                                                                                    SPRINGBORO         OH      45066‐1220
JAMES E MCCOBB & ROSEMARIE A   MCCOBB AND SUCCESSORS, TTEES        OF MCCOBB REV TRUST I UNDER   DECLAR OF TRUST DATED   65 COFFIN STREET          WEST NEWBURY       MA      01985
                                                                                                 7/21/08
JAMES E MCCOBB & ROSEMARIE A   TTEES OF MCCOBB REV TRUST I UNDER   DECLAR OF TRUST DTD 7/25/08   65 COFFIN STREET                                  WEST NEWBURY       MA      01985
MCCOBB AND SUCCESSORS
JAMES E MCCOBB (IRA)           FCC AS CUSTODIAN                    65 COFFIN STREET                                                                WEST NEWBURY       MA      01985
JAMES E MCCREARY               8467 JERUSALEM RD                                                                                                   TERPERANCEVLE      VA      23442‐2672
JAMES E MCDADE                 PO BOX 310651                                                                                                       FLINT              MI      48531‐0651
JAMES E MCDADE                 PO BOX 320635                                                                                                       FLINT              MI      48532‐0011
JAMES E MCDANIEL               2205 FAIRPORT AVE                                                                                                   DAYTON             OH      45406‐2537
JAMES E MCFADDEN               5231 WEIGOLD CT                                                                                                     DAYTON             OH      45426
JAMES E MCGUIRE                1453 EARLHAM DR                                                                                                     DAYTON             OH      45406‐4732
JAMES E MCKENNA                4439 POINTE TREMBLE RD                                                                                              ALGONAC            MI      48001‐4661
JAMES E MEREDITH               102 N KIMMEL RD BOX 205                                                                                             CLAYTON            OH      45315‐0205
JAMES E MERRICK                101 ASHFORD CT                                                                                                      SYRACUSE           NY      13211‐1801
JAMES E MICHEL                 21 FARNUM LN                                                                                                        PALM COAST         FL      32137‐4460
JAMES E MILLET                 4 W BEACH DR                                                                                                        HILTON             NY      14468‐9505
JAMES E MINTER                 5555 TOWN HILL DR                                                                                                   CANAL WINCHESTER   OH      43110‐9800

JAMES E MIRACLE                4148 KEAVY RD                                                                                                       LONDON             KY      40744‐7027
JAMES E MONROE                 209 JOHNSON ST                                                                                                      DAYTON             OH      45410‐1421
JAMES E MONTGOMERY             C/O G PATTERSON KEAHEY PC           ONE INDEPENDENCE PLAZA        SUITE 612                                         BIRMINGHAM         AL      35209
JAMES E MOODIE                 14 WESTERN DR                                                                                                       W ALEXANDRIA       OH      45381‐1126
JAMES E MORELAND               15951 BADEN ROAD                                                                                                    GERMAN TOWN        OH      45327
JAMES E MURRAY                 844 CLIFFSIDE DR                                                                                                    NEW CARLISLE       OH      45344‐2437
JAMES E NAPIER                 2018 CINCINNATI DAYTON RD                                                                                           MIDDLETOWN         OH      45044
JAMES E NEFF                   538 JODEE DR.                                                                                                       XENIA              OH      45385‐5912
JAMES E NEWPORT                7737 SALEM CEMETARY RD.                                                                                             DEGRAFF            OH      43318‐9531
JAMES E NUTTER                 10753 AMITY RD                                                                                                      BROOKVILLE         OH      45309‐9322
JAMES E ODA                    20 CLOVE CT.                                                                                                        SPRINGBORO         OH      45066‐1009
JAMES E OLDFIELD               2607 W LIBERTY ST                                                                                                   GIRARD             OH      44420‐3114
JAMES E OLIVER                 2020 SEQUOIA CT                                                                                                     WEIDMAN            MI      48893‐8833
JAMES E ONEY                   284 WINCHESTER ST.                                                                                                  NEW CARLISLE       OH      45344‐3028
JAMES E OSBORNE                POX BOX 214                                                                                                         MILFORD            MI      48381‐0214
JAMES E OSBORNE                PO BOX 214                                                                                                          MILFORD            MI      48381‐0214
JAMES E OSBORNE                6520 RAVENSWOOD RD                                                                                                  KIMBALL            MI      48074‐2900
JAMES E OUTLAW                 812 TULANE DR                                                                                                       FLINT              MI      48503‐5253
JAMES E OVERTON                96 WATERBURY PKWY                                                                                                   CORTLANDT MANOR    NY      10567‐1713

JAMES E OWENSBY                4912 BIDDISON AVE.                                                                                                  DAYTON             OH      45426‐2004
JAMES E OWSLEY                 6205 N STATE ROUTE 48                                                                                               LEBANON            OH      45036
JAMES E PACK                   4174 TAREYTON DRIVE                                                                                                 BELLBROOK          OH      45305‐1174
JAMES E PAGE                   65 E RUTGERS AVE                                                                                                    PONTIAC            MI      48340‐2749
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Name                      Address1                       Address2                     Address3                     Address4                 City            State   Zip
JAMES E PAPP              136 SAVOY AVE.                                                                                                    W. CARROLLTON    OH     45449‐1725
JAMES E PAPP JR           6315 COUNTRY ESTATES DR                                                                                           TIPP CITY        OH     45371
JAMES E PARKER            1250 DARRON COURT                                                                                                 DAYTON           OH     45432‐1506
JAMES E PARTIN            31 W 6TH ST                                                                                                       FRANKLIN         OH     45005
JAMES E PEEBLES III       6418 TANTAMOUNT LN                                                                                                W CARROLLTON     OH     45449‐3540
JAMES E PERKINS           27 OBERLIN AVE                                                                                                    DAYTON           OH     45427‐2642
JAMES E PETERS            PO BOX 19614                                                                                                      SHREVEPORT       LA     71149‐0614
JAMES E PETERS            2620 CENTENARY BLVD STE 200                                                                                       SHREVEPORT       LA     71104‐3350
JAMES E PHILLIPS          7321 SPRAGUE ST                                                                                                   ANDERSON         IN     46013‐3940
JAMES E PHILLIPS          165 S OPDYKE RD LOT 40                                                                                            AUBURN HILLS     MI     48326‐3145
JAMES E PICKETT           68 TINDALL LN SW                                                                                                  BROOKHAVEN       MS     39601
JAMES E PICKLESIMER       ROBERT W PHILLIPS              SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD           PO BOX 521               EAST ALTON        IL    62024
                                                         ANGELIDES & BARNERD LLC
JAMES E PLESS
JAMES E PURTY JR          37 S EDITH ST                                                                                                     PONTIAC         MI      48342‐2938
JAMES E PURYEAR           1610 GARY RD                                                                                                      MONTROSE        MI      48457‐9326
JAMES E PYBURN            34 WRIGHT ROAD                                                                                                    WEST MILTON     OH      45383‐1616
JAMES E PYLE              NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT     205 LINDA DR                                          DAINGERFIELD    TX      75638
JAMES E RAMSEY            1115 4TH ST                                                                                                       BAY CITY        MI      48708‐6021
JAMES E RANEY             12212 WAYNE TRACE RD                                                                                              SOMERVILLE      OH      45064‐9633
JAMES E REAHLE            1448 DEFOREST RD S E                                                                                              NILES           OH      44446
JAMES E REDBURN           4067 RIVER RD                                                                                                     FRANKFORT       MI      49635‐9378
JAMES E REESE             7971 EASTLAWN DR                                                                                                  FRANKLIN        OH      45005‐1968
JAMES E REEVES JR         1304 BOLT DR                                                                                                      ANDERSON        SC      29621
JAMES E REYNOLDS          212 FOX DR                                                                                                        MASON           OH      45040‐1914
JAMES E RICE              9273 RANDEL RD                                                                                                    HANOVERTON      OH      44423
JAMES E RICHTER           4365 S M52                                                                                                        OWOSSO          MI      48867
JAMES E RIGGS             PO OBX 1204                                                                                                       MIAMISBURG      OH      45343‐1204
JAMES E RIVARD            304 SHREWBURY LN                                                                                                  RIVERTON        NJ      08077
JAMES E ROBINSON          36 ARROWHEAD DR                                                                                                   BEREA           KY      40403
JAMES E ROGERS            2241 BELLSBURG DR                                                                                                 DAYTON          OH      45459‐3523
JAMES E ROGERS            320 N PARK VISTA ST SP. 59                                                                                        ANAHEIM         CA      92806‐3726
JAMES E ROSEBORO          ATTN: ROBERT W PHILLIPS        SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD, PO BOX                            EAST ALTON      IL      62024
                                                         ANGELIDES & BARNERD LLC      521
JAMES E ROSS              4370 POWDER HORN DR                                                                                               BEAVERCREEK     OH      45432
JAMES E SAYLOR            1823 GAWAIN CIRCLE                                                                                                W CARROLLTON    OH      45449‐2451
JAMES E SCHEFFLER         11875 SHAFTSBURG RD                                                                                               LAINGSBURG      MI      48848‐9732
JAMES E SCHEXNAYDER, SR   C/O WILLIAMS KHERKHER HART &   8447 GULF FREEWAY, STE 600                                                         HOUSTON         TX      77007
                          BOUNDAS, LLP
JAMES E SCHUETZ           11973 CALLE PARRAL                                                                                                SAN DIEGO       CA      92128
JAMES E SCOTT             4507 HOAGLAND BLACKSTUB RD     APT A                                                                              CORTLAND        OH      44410‐9576
JAMES E SHARPE            361 ROSELAKE DRIVE                                                                                                CENTERVILLE     OH      45458‐4015
JAMES E SHAW              40178 SHAW DR                                                                                                     EDWARDS         MO      65326‐3833
JAMES E SHILLINGLAW       146 WYNDCREST CT                                                                                                  MONROE          OH      45050‐1423
JAMES E SILLATO           144 FORGHAM RD                                                                                                    ROCHESTER       NY      14616‐3329
JAMES E SMIDA             52 VILLA CHRISTINA                                                                                                LA LUZ          NM      88337‐9539
JAMES E SMITH             7941 IRVINGTON AVE.                                                                                               DAYTON          OH      45415‐2317
JAMES E SMITH             954 GARD AVENUE                                                                                                   DAYTON          OH      45408‐1606
JAMES E SMITH             127 MINTY DR                                                                                                      DAYTON          OH      45415
JAMES E SMITH             5131 PHILIP AVE                                                                                                   MAPLE HEIGHTS   OH      44137‐1445
JAMES E SMOOT             1715 BANKER PL                                                                                                    DAYTON          OH      45408
JAMES E SNAVELY           9175 OLD TROY PIKE                                                                                                PHONETON        OH      45355
JAMES E SORRELS           8115 DEVENS DR                                                                                                    BRENTWOOD       TN      37027‐7131
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Name                                Address1                             Address2                     Address3                    Address4               City             State Zip
JAMES E SPANGLER                    ATTN ROBERT W PHILLIPS               C/O SIMMONS BROWDER GIANARIS 707 BERKSHIRE BLVD ‐ PO BOX                        EAST ALTON         IL 62024
                                                                         ANGELIDES & BARNERD LLC      521
JAMES E STAMPS                      48 PARKDALE AVE                                                                                                      PONTIAC          MI    48340‐2544
JAMES E STEWART                     891 HOUSEL CRAFT RD                                                                                                  BRISTOLVILLE     OH    44402
JAMES E STIERHEIM                   632 HANKEY FARMS DR                                                                                                  OAKDALE          PA    15071
JAMES E STUFFT                      28064 OAKHAVEN LANE                                                                                                  MENIFEE          CA    92584
JAMES E SUGGS                       1403 NORFOLK AVE                                                                                                     GRAND BLANC      MI    48439‐5173
JAMES E SULLIVAN                    114 FOLEY DR APT 9                                                                                                   RUSSELL SPRING   KY    42642‐4283
JAMES E SUNDERMEYER                 219 DELLWOOD DRIVE                                                                                                   FAIRBORN         OH    45324‐4224
JAMES E SWAFFORD                    647 SKYLES RD                                                                                                        UNION            OH    45322‐3231
JAMES E SWARTZ                      827 ELGIN CIR                                                                                                        PICKERINGTON     OH    43147‐8752
JAMES E SWORDS                      252 W KENNETT RD                                                                                                     PONTIAC          MI    48340‐2654
JAMES E TARPLEY                     RT 1                                                                                                                 LESTER           AL    35647
JAMES E TAYLOR                      1805 PARKWOOD AVE APT 1                                                                                              YPSILANTI        MI    48198‐6200
JAMES E TAYLOR                      25 GRAMONT AVE                                                                                                       DAYTON           OH    45417‐2254
JAMES E TEDDER                      740 WING ST                                                                                                          PONTIAC          MI    48340‐2674
JAMES E TERRY                       10701 S COUNTY ROAD 419 E                                                                                            MUNCIE           IN    47302‐8454
JAMES E THERRIAN                    212 INGERSOLL                                                                                                        GRAND LEDGE      MI    48837‐1030
JAMES E THOMAS                      250 EAST PARK BLVD.                                                                                                  AKRON            OH    44305‐3734
JAMES E THOMAS                      625 BARBEE FARM DR                                                                                                   MONROE           NC    28110‐5611
JAMES E THOMASON JR.                6014 OAK HILL DR                                                                                                     W FARMINGTON     OH    44491‐9751
JAMES E TIDERINGTON                 ACT C NEWELL 90‐40711‐CK‐4           PO BOX 6055                                                                     SAGINAW          MI    48608‐6055
JAMES E TIGGETT                     210 SOUTH ASPEN CT.                                                                                                  WARREN           OH    44484
JAMES E TILLEY                      4700 LANGE RD                                                                                                        BIRCH RUN        MI    48415‐8137
JAMES E TOOPS                       519 LAKENGREN DR                                                                                                     EATON            OH    45320‐2673
JAMES E TRENT                       17714 ST RT 24 RT5                                                                                                   DEFIANCE         OH    43512
JAMES E TRINKLEIN                   6028 MOORES JUNCTION RD                                                                                              STERLING         MI    48659‐9569
JAMES E TROTTER                     232 WATERBURY CT                                                                                                     MELBOURNE        FL    32934‐8017
JAMES E TUBBS                       3250 N ERIE ST                                                                                                       TOLEDO           OH    43611‐3213
JAMES E TURNER                      502 N 27TH ST                                                                                                        WEST MEMPHIS     AR    72301‐3602
JAMES E TURNER, SR.                 1700 MILLHAVEN RD                                                                                                    MONROE           LA    71201‐8914
JAMES E UTTER                       211 CARROUSEL CORNERS                                                                                                RAINBOW          AL    35906‐6175
JAMES E VARNER                      1411 NORTH LOWERY                                                                                                    SPRINGFIELD      OH    45504‐‐ 18
JAMES E VARNEY                      12 WOLF CREEK TRAIL                                                                                                  ST PETERS        MO    63376
JAMES E WAGONER                     630 NORTH ALEX ROAD                                                                                                  W CARROLLTON     OH    45449‐1330
JAMES E WALKER                      LAW OFFICES OF PETER G ANGELOS       100 NORTH CHARLES STREET       22ND FLOOR                                       BALTIMORE        MD    21201
JAMES E WALKER                      C/O LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES ST           22ND FLOOR                                       BALTIMORE        MD    21201

JAMES E WALL                        C/O WILLIAMS KHERKHER HART AND       8441 GULF FREEWAY STE 600                                                       HOUSTON           TX   77007
                                    BOUNDAS LLP
JAMES E WALLACE                     3688 WALES DR                                                                                                        DAYTON           OH    45405‐1845
JAMES E WALLACE                     3688 WALES DR                                                                                                        DAYTON           OH    45405‐1845
JAMES E WALLACE                     2370 RASCALS ROAST                                                                                                   BLAIRSVILLE      GA    30512‐3809
JAMES E WALTERS                     218 HIGH ST                                                                                                          IRVINE           KY    40336‐1241
JAMES E WARD                        1241 WINDSONG TRAIL                                                                                                  FAIRBORN         OH    45324‐9441
JAMES E WARNER                      NIX PATTERSON & ROACH LLP            GM BANKRUPTCY DEPARTMENT       205 LINDA DRIVE                                  DAINGERFIELD     TX    75638
JAMES E WATKINS                     72 NORTH COBBLE CREEK DRIVE                                                                                          HENDERSON        NC    27537‐4163
JAMES E WATSON                      781 HARCOURT RD                                                                                                      GROSSE POINTE    MI    48230‐1831
JAMES E WATSON                      235 FORRER BLVD                                                                                                      DAYTON           OH    45419
JAMES E WAUGH IRA E*TRADE CUSTODIAN 909 SUNNYBROOK COURT                                                                                                 STILLWATER       OK    74075‐7213

JAMES E WERTH                       P O BOX 1060                                                                                                         QUECHEE          VT    05059‐1060
JAMES E WEST                        30 BROOKFIELD COURT                                                                                                  SPRINGBORO       OH    45066‐9271
JAMES E WEYBRIGHT                   39 ARNOLD STREET                                                                                                     GERMANTOWN       OH    45327
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Name                              Address1                          Address2                    Address3            Address4               City            State   Zip
JAMES E WHETSELL                  9668 STATE ROUTE 224                                                                                     DEERFIELD        OH     44411
JAMES E WHITE                     3622 COURTWOOD AVE.                                                                                      DAYTON           OH     45407‐‐ 11
JAMES E WHITNEY                   9968 BELLBROOK RD                                                                                        WAYNESVILLE      OH     45068‐9637
JAMES E WICK                      109 CENTRAL AVE                                                                                          W ALEXANDRIA     OH     45381‐1203
JAMES E WIKE (FIDELITY IRA)       4283 PATRICIA AVE                                                                                        YOUNGSTOWN       OH     44511
JAMES E WILLIAMS                  PO BOX 94342                                                                                             OKLAHOMA CITY    OK     73143‐4342
JAMES E WILLIAMS                  730 CHESTNUT STREET                                                                                      XENIA            OH     45385‐5110
JAMES E WILLIAMS                  2407 WEST VIEW ROAD                                                                                      CORTLAND         OH     44410
JAMES E WILLIAMS                  8052 PARAGON RD.                                                                                         CENTERVILLE      OH     45458
JAMES E WILLIAMSON                73601 CHAPMAN DR D‐1                                                                                     ABITA SPRINGS    LA     70420
JAMES E WILLIAMSON                BARON & BUDD OC                   THE CENTRUM SUITE 1100      3102 OAK LAWN AVE                          DALLAS           TX     75219‐4281
JAMES E WINQUEST                  1315 2ND ST                                                                                              BAY CITY         MI     48708‐6008
JAMES E WOOD                      898 COLLIER RD                                                                                           AUBURN HILLS     MI     48326‐1416
JAMES E WOODARD                   C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                              HOUSTON          TX     77007
                                  BOUNDAS LLP
JAMES E WOOSLEY                   90 FERNWALD DR                                                                                           DAYTON          OH      45440‐3417
JAMES E WYATT                     4596 2ND ST                                                                                              CALEDONIA       MI      49316‐9627
JAMES E WYNN                      6998 MIAMIVIEW DR                                                                                        FRANKLIN        OH      45005
JAMES E WYSOCKI                   2459 E LEXINGTON RD                                                                                      EATON           OH      45320‐1344
JAMES E YATES                     C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                              HOUSTON         TX      77007
                                  BOUNDAS LLP
JAMES E YAUGER                    170 FAIRLAWN AVE                                                                                         NILES           OH      44446‐2042
JAMES E YAUGER                    170 FAIRLAWN                                                                                             NILES           OH      44446‐2042
JAMES E YEOMAN                    133 E. 2ND ST                                                                                            SPRINGFIELD     OH      45504‐1448
JAMES E YOUNG                     5852 BARBANELL ST                                                                                        LONG BEACH      CA      90815‐1303
JAMES E YUNKMAN                   6271 SHELDON ST                                                                                          YPSILANTI       MI      48197‐8229
JAMES E ZITNIK                    4091 PLEASANT VALLEY LANE                                                                                CANFIELD        OH      44406‐9308
JAMES E ZOGBY                     7019 N STRATTON CT                                                                                       PEORIA          IL      61615‐9293
JAMES E. BLACK PONTIAC‐CADILLAC   ALLEN JAMES BLACK                 3929 ADMIRAL PEARY HWY                                                 EBENSBURG       PA      15931‐3918
JAMES E. BLACK PONTIAC‐CADILLAC   3929 ADMIRAL PEARY HWY                                                                                   EBENSBURG       PA      15931‐3918
JAMES E. BOLIN                    C/O APPALOOSA MANAGEMENT LP       51 JFK PARKWAY, 2ND FLOOR                                              SHORT HILLS     NJ      07078
JAMES E. COLLINS SR               970 E. CENTRAL AVE.                                                                                      MIAMISBURG      OH      45342
JAMES E. GROSS
JAMES E. HOPSON                   C/O FOSTER & SEAR, LLP            817 GREENVIEW DRIVE                                                    GRAND PRAIRIE   TX      75050
JAMES E. RUSS                     1207 CLEMENT CIRCLE                                                                                      SOMERDALE       NJ      08083
JAMES E. STORY                    C/O MORGAN STANLEY                6410 POPULAR AV                                                        MEMPHIS         TN      38119
JAMES EAGLESON                    800 S 15TH ST APT 8301                                                                                   SEBRING         OH      44672‐2092
JAMES EAKER                       2765 GREENE ROAD 435                                                                                     MARMADUKE       AR      72443‐8572
JAMES EAKES                       10320 SE 55TH ST                                                                                         OKLAHOMA CITY   OK      73150‐4512
JAMES EAKIN                       4614 VERONA ST NW                                                                                        WARREN          OH      44483‐1739
JAMES EALY                        272 N GENESEE ST                                                                                         MONTROSE        MI      48457‐9752
JAMES EALY                        1047 W 133RD ST                                                                                          GARDENA         CA      90247‐1818
JAMES EAREGOOD                    2919 MEISNER AVE                                                                                         FLINT           MI      48506‐2433
JAMES EARL                        2885 S HACKER RD                                                                                         BRIGHTON        MI      48114‐8947
JAMES EARL                        PO BOX 58                                                                                                PICKFORD        MI      49774‐0058
JAMES EARL HENDERSON              WEITZ & LUXENBERG PC              700 BROADWAY                                                           NEW YORK CITY   NY      10003
JAMES EARL MAY                    MOTLEY RICE LLC                   28 BRIDGESIDE BLVD          PO BOX 1792                                MT PLEASANT     SC      29465
JAMES EARL VANN                   FOSTER & SEAR, LLP                817 GREENVIEW DR.                                                      GRAND PRAIRIE   TX      75050
JAMES EARL WALDRON                MOTLEY RICE LLC                   28 BRIDGESIDE BLVD          PO BOX 1792                                MT PLEASANT     SC      29465
JAMES EARLE                       53253 ZACHARY DR                                                                                         CHESTERFIELD    MI      48047‐6132
JAMES EARLEY                      1260 W REID RD                                                                                           FLINT           MI      48507‐4669
JAMES EARLEY                      7221 BURNING BUSH LN                                                                                     FLUSHING        MI      48433‐3701
JAMES EARLY                       13956 PROVIDENCE PIKE                                                                                    BROOKVILLE      OH      45309‐9760
JAMES EARNEST                     4445 CARMANWOOD DR                                                                                       FLINT           MI      48507‐5652
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Name                     Address1                      Address2                    Address3   Address4               City            State   Zip
JAMES EARNHART           2432 ALVARADO DR                                                                            KETTERING        OH     45420‐1010
JAMES EARNS              1488 E MCLEAN AVE                                                                           BURTON           MI     48529‐1614
JAMES EASLEY             1379 E KITCHEN RD                                                                           PINCONNING       MI     48650‐7484
JAMES EASON              5654 S STEPHAN BRIDGE RD                                                                    GRAYLING         MI     49738‐9501
JAMES EAST               1370 N COUNTY LINE RD                                                                       GENEVA           OH     44041‐9513
JAMES EAST               4032 TANGLEWOOD DR                                                                          FLOYDS KNOBS     IN     47119‐9222
JAMES EAST               249 KANSAS AVE                                                                              YPSILANTI        MI     48198‐6086
JAMES EAST JR            240 NORTHMILL PKWY                                                                          STOCKBRIDGE      GA     30281‐4869
JAMES EASTER             735 W ATHERTON RD                                                                           FLINT            MI     48507‐2408
JAMES EASTER             20099 GOULBURN ST                                                                           DETROIT          MI     48205‐1007
JAMES EASTER             703 ROSEWOOD CIR                                                                            MARSHALL         TX     75672‐5853
JAMES EASTERLING I I I   433 CARL CEDAR HILL RD                                                                      WINDER           GA     30680‐3450
JAMES EASTIN             956 REVERE COURT                                                                            ROCKLEDGE        FL     32955‐3523
JAMES EASTLAND           17 HILLARY CIR                                                                              NEW CASTLE       DE     19720‐8617
JAMES EASTMAN            15453 KINLOCH                                                                               REDFORD          MI     48239
JAMES EASTRIDGE          5220 CHERRY MILL CT                                                                         FAIRFIELD        OH     45014‐3250
JAMES EASTTEAM           THE MADEKSHO LAW FIRM         8866 GULF FREEWAY STE 440                                     HOUSTON          TX     77017
JAMES EASTWOOD           15681 W ALBAIN RD                                                                           PETERSBURG       MI     49270‐9536
JAMES EATON              3755 WOODMONT RD                                                                            TOLEDO           OH     43613‐4830
JAMES EATON              8101 E SPICERVILLE HWY                                                                      EATON RAPIDS     MI     48827‐9064
JAMES EATON              3791 E 1700 N                                                                               SUMMITVILLE      IN     46070‐9180
JAMES EATON              220 OPAL RD                   C/O CARRIE LYNN WORTMAN                                       EL PASO          AR     72045‐9797
JAMES EAVES              300 NE LAKEVIEW DR                                                                          BLUE SPRINGS     MO     64014‐2929
JAMES EAVES              25803 NE 161ST ST                                                                           KEARNEY          MO     64060‐9289
JAMES EBENGER            8411 WHITTINGTON DR                                                                         PARMA            OH     44129‐3515
JAMES EBERSOLE           11565 STATE HIGHWAY #120                                                                    LYONS            OH     43533
JAMES EBERT              2843 DEFOREST RD SE                                                                         WARREN           OH     44484‐4015
JAMES EBERT              10771 MURPHY RD                                                                             ROSCOMMON        MI     48653‐9658
JAMES EBERT              12552 MCKOUEN DR                                                                            DEWITT           MI     48820‐9340
JAMES ECCLES             4208 TAOS CT                                                                                GRANBURY         TX     76048‐7577
JAMES ECHELBARGER        318 W GRANT ST                                                                              GREENTOWN        IN     46936‐1105
JAMES ECKENROD           4248 REID RD                                                                                SWARTZ CREEK     MI     48473‐8879
JAMES ECKERT             6766 TALLADAY RD                                                                            MILAN            MI     48160‐8816
JAMES ECKERT             32037 FAIRCHILD ST                                                                          WESTLAND         MI     48186‐4909
JAMES ECKHARDT           7901 CHAMBERSBURG RD                                                                        HUBER HEIGHTS    OH     45424‐3931
JAMES ECKLAR             216 LYNESS AVE APT 92                                                                       HARRISON         OH     45030‐1568
JAMES ECKLUND            5945 WESTMINSTER WAY                                                                        EAST LANSING     MI     48823‐7749
JAMES ECKSTEIN           4 OAK BROOK DR                                                                              ORMOND BEACH     FL     32174‐7350
JAMES ECONOMY            1075 AVENIDA SONOMA                                                                         THE VILLAGES     FL     32159‐6437
JAMES EDDINGS            260 ROAN DR                                                                                 GRAND CANE       LA     71032‐6220
JAMES EDDINGTON          2530 MARFITT RD               INDEPENDENCE VILLAGE                                          EAST LANSING     MI     48823‐1398
JAMES EDDINS             2104 LAKE COUNTRY DR                                                                        ARLINGTON        TX     76012‐5713
JAMES EDDY               14 HAROLD ST APT 3F                                                                          HARWICH PORT    MA     02646
JAMES EDDY               113 HAMILTON ST                                                                             BUFFALO          NY     14207‐2741
JAMES EDEL               8321 WASHBURN RD                                                                            BLISS            NY     14024‐9500
JAMES EDELEN             5276 VINEYARD LANE                                                                          FLUSHING         MI     48433‐2438
JAMES EDELEN JR          PO BOX 5422                                                                                 FLINT            MI     48505‐0422
JAMES EDENS              10515 N GASBURG RD                                                                          MOORESVILLE      IN     46158‐6762
JAMES EDGAR              PO BOX 72                                                                                   IRONDALE         MO     63648‐0072
JAMES EDGEMON            PO BOX 236                                                                                  NEWARK           TX     76071‐0236
JAMES EDGESTON           520 COUNTY ROAD 556                                                                         RIPLEY           MS     38663‐8300
JAMES EDINGTON JR        46315 LITCHFIELD DR                                                                         PLYMOUTH         MI     48170‐3540
JAMES EDLUND             13274 19 MILE RD                                                                            GOWEN            MI     49326‐9765
JAMES EDMONDS            1213 N SEYMOUR RD                                                                           FLUSHING         MI     48433‐9405
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Name                               Address1                             Address2                      Address3             Address4                 City             State Zip
JAMES EDSON                        2168 S LORENZ RD                                                                                                 TAWAS CITY        MI 48763‐9594
JAMES EDWARD ABEL & VICKI          23965 ORANGEWOOD RD                                                                                              CORNING           CA 96021
CONSENTINO
JAMES EDWARD BLAYLOCK              WEITZ & LUXENBERG PC                 700 BROADWAY                                                                NEW YORK CITY    NY    10003
JAMES EDWARD BLAYLOCK              C/O WEITZ & LUXENBERG PC             700 BROADWAY                                                                NEW YORK         NY    10003
JAMES EDWARD BOWLING               MOTLEY RICE LLC                      28 BRIDGESIDE BLVD            P O BOX 1792                                  MT PLEASANT      SC    29465
JAMES EDWARD BROUSSARD JR          NIX PATTERSON & ROACH LLP            GM BANKRUPTCY DEPARTMENT      205 LINDA DRIVE                               DAINGERFIELD     TX    75638
JAMES EDWARD BROWN                 WEITZ & LUXENBERG PC                 700 BROADWAY                                                                NEW YORK CITY    NY    10003
JAMES EDWARD COMBS                 2 APPLE DRIVE                                                                                                    STANTON          KY    40380
JAMES EDWARD LIGHT                 THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES             22ND FLOOR                                    BALTIMORE        MD    21201

JAMES EDWARD MARTIN                ATTN ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON        IL   62024
                                                                        ANGELIDES & BARNERD LLC
JAMES EDWARD PENN                  C/O WEITZ & LUXENBERG PC             700 BROADWAY                                                                NEW YORK CITY    NY    10003
JAMES EDWARD RICHARDSON            C/O BARON & BUDD PC                  THE CENTRUM SUITE 1100        3102 OAK LAWN AVE                             DALLAS           TX    75219‐4281
JAMES EDWARD STARKEY               C/O WEITZ & LUXENBERG PC             700 BROADWAY                                                                NEW YORK CITY    NY    10003
JAMES EDWARDS                      1445 MONROE STREET                                                                                               AUGUSTA          GA    30901‐5300
JAMES EDWARDS                      3234 SHALLOWBROOK DR                                                                                             FORT WAYNE       IN    46814‐8814
JAMES EDWARDS                      8114 MELLOWWOOD DR                                                                                               JENISON          MI    49428‐8528
JAMES EDWARDS                      1933 TOMAHAWK RD                                                                                                 OKEMOS           MI    48864‐2128
JAMES EDWARDS                      528 SYCAMORE TRL                                                                                                 CORTLAND         OH    44410‐1128
JAMES EDWARDS                      2101 S FAIRWAY AVE                                                                                               SPRINGFIELD      MO    65804‐2405
JAMES EDWARDS                      7200 PAMELA DR                                                                                                   YPSILANTI        MI    48197‐1774
JAMES EDWARDS                      6508 LANCE CROSSING RD                                                                                           BLAIRSVILLE      GA    30512‐0528
JAMES EDWARDS                      418 BENSYL AVE                                                                                                   DANVILLE         IL    61832‐5528
JAMES EDWARDS                      7900 E BENNINGTON RD                                                                                             DURAND           MI    48429‐9764
JAMES EDWARDS                      PO BOX 572                                                                                                       POWDER SPRINGS   GA    30127‐0572
JAMES EDWARDS                      38 ENCLAVE                                                                                                       PARAGOULD        AR    72450‐6010
JAMES EDWARDS                      3256 FENCE RIVER RD                                                                                              REPUBLIC         MI    49879‐9193
JAMES EDWARDS                      1182 E RUTH AVE                                                                                                  FLINT            MI    48505‐2331
JAMES EDWARDS                      PO BOX 34                                                                                                        NOXAPATER        MS    39346‐0034
JAMES EDWARDS                      297 ROSE BRIER DR                                                                                                ROCHESTER HLS    MI    48309‐1124
JAMES EDWARDS                      19950 COOLEY ST                                                                                                  DETROIT          MI    48219‐1266
JAMES EDWARDS                      2812 JOY RD APT 83                                                                                               AUGUSTA          GA    30909‐3551
JAMES EDWARDS                      162 SHELBY LN                                                                                                    BIRCHLEAF        VA    24220‐7805
JAMES EDWARDS                      3162 N MILL RD                                                                                                   DRYDEN           MI    48428‐9341
JAMES EDWARDS                      531 DREAM ST                                                                                                     ANDERSON         IN    46013‐1162
JAMES EDWARDS                      1077 S ODEN DR                                                                                                   GREENFIELD       IN    46140‐8256
JAMES EDWARDS                      PO BOX 4928                                                                                                      AKRON            OH    44310‐0928
JAMES EDWARDS                      4818 W 400 N                                                                                                     PERU             IN    46970‐7678
JAMES EDWARDS I I I                19515 NORTHROP ST                                                                                                DETROIT          MI    48219‐1800
JAMES EDWARDS III                  12917 BEACON AVE                                                                                                 GRANDVIEW        MO    64030‐2634
JAMES EDWARDS JR                   9910 GRANDVILLE AVE                                                                                              DETROIT          MI    48228‐1317
JAMES EDWARDS JR                   4114 BLOSSOM TRL                                                                                                 ARLINGTON        TX    76016‐3730
JAMES EDWARDS JR                   1819 WHITTLESEY ST                                                                                               FLINT            MI    48503‐4344
JAMES EDWARDS JR                   11918 S RENE ST                                                                                                  OLATHE           KS    66062‐5693
JAMES EDWARDS JR                   4312 HERMOSA DR                                                                                                  SHREVEPORT       LA    71119‐7717
JAMES EDWIN ANSETH                 ROBERT W PHILLIPS                    SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON       IL    62024
                                                                        ANGELIDES & BARNERD LLC
JAMES EFRON BANARER REVOCABLE TR   JAMES EFRON BANARER TTEE             7302 LAURA LANE                                                             RESEDA           CA    91335‐2488

JAMES EGAN                         THE MADEKSHO LAW FIRM                8866 GULF FREEWAY SUITE 440                                                 HOUSTON          TX    77017
JAMES EGAN                         486 E GLASS RD                                                                                                   ORTONVILLE       MI    48462‐8878
JAMES EGBERT                       540 FORREST AVE                                                                                                  HOHENWALD        TN    38462‐1034
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Name                 Address1                         Address2                      Address3   Address4                 City            State   Zip
JAMES EGE            1131 EDDIE DR                                                                                      LANSING          MI     48917‐9242
JAMES EGERER         436 WILSON ST                                                                                      HEMLOCK          MI     48626‐9318
JAMES EGGLESTON IV   2992 CHILI AVE                                                                                     ROCHESTER        NY     14624‐4537
JAMES EHLE           461 GULF STREAM DR                                                                                 LAKE ALFRED      FL     33850‐9400
JAMES EHLERS         1464 BLUE HERON DR                                                                                 HIGHLAND         MI     48357‐3914
JAMES EHLMANN        46736 MILLPOINTE DR                                                                                MACOMB           MI     48042‐5903
JAMES EHRMANTRAUT    2425 N DUCK LAKE RD                                                                                HIGHLAND         MI     48356‐2405
JAMES EIBER          202 ARBOR HILL DR                                                                                  JANESVILLE       WI     53548‐3211
JAMES EICHLER        225 N UNION AVE                                                                                    SALEM            OH     44460‐2322
JAMES EICHORN        2510 E TYLER RD                                                                                    ALMA             MI     48801‐9732
JAMES EIDEMILLER     4417 BEECHER AVE                                                                                   DAYTON           OH     45420‐3122
JAMES EIGNER         411 W BORTON RD                                                                                    ESSEXVILLE       MI     48732‐8706
JAMES EILAND         10415 VISCOUNT DR                                                                                  JENNINGS         MO     63136‐5613
JAMES EIS            1820 AYERSVILLE AVE                                                                                DEFIANCE         OH     43512‐3611
JAMES EISENACHER     1411 W MAPLE AVE                                                                                   FLINT            MI     48507‐5613
JAMES EISENBRAUN     558 JACOB WAY APT 206                                                                              ROCHESTER        MI     48307‐2286
JAMES EISINGER       221 E NEWARK RD                                                                                    LAPEER           MI     48446‐9408
JAMES EISTER         5602 E BENNINGTON RD                                                                               DURAND           MI     48429‐9720
JAMES EKHARDT        1328 59TH ST                                                                                       PULLMAN          MI     49450‐9763
JAMES EKLEBERRY      3621 OAKBROOK LN                                                                                   PANAMA CITY      FL     32408‐3941
                                                                                                                        BEACH
JAMES ELAM           19473 PATTON ST                                                                                    DETROIT         MI      48219‐2020
JAMES ELAM           PO BOX 363                                                                                         GOSHEN          OH      45122‐0363
JAMES ELBERSON       3036 BARTON DR                                                                                     STERLING HTS    MI      48310‐3611
JAMES ELBERT         620 DAMON ST                                                                                       FLINT           MI      48505‐3734
JAMES ELDER          4113 ORCHARD ST                                                                                    HOLLY           MI      48442‐9142
JAMES ELDER          1612 BASS LAKE RD                                                                                  TRAVERSE CITY   MI      49684‐8196
JAMES ELDERKIN       1005 AMBER RIDGE DR SW                                                                             BYRON CENTER    MI      49315‐9000
JAMES ELDRED         4043 FAIRLANDS DR                                                                                  PLEASANTON      CA      94588‐3455
JAMES ELDRED         2124 BAYNES ST                                                                                     OSCODA          MI      48750‐9219
JAMES ELDREDGE JR    8221 MORRISH RD                                                                                    SWARTZ CREEK    MI      48473‐9163
JAMES ELDRIDGE       190 COUNTRY HILLS RD                                                                               BRANSON         MO      65616‐9104
JAMES ELDRIDGE       818 ROOT ST                                                                                        BELDING         MI      48809‐2422
JAMES ELDRIDGE JR    18323 HIGHLAND CENTER RD                                                                           DEFIANCE        OH      43512‐8925
JAMES ELFORD JR      14871 PIERCE RD                                                                                    BYRON           MI      48418‐8882
JAMES ELFTER         352 EAST SEAHAM RD                                                        EAST SEAHAM AUSTRALIA
                                                                                               2324
JAMES ELGAS          768 N WRIGHT RD                                                                                    JANESVILLE      WI      53546‐1807
JAMES ELI BARKLEY    WEITZ & LUXENBERG PC             700 BROADWAY                                                      NEW YORK CITY   NY      10003
JAMES ELIAS          5909 WYNKOOP RD                                                                                    LOCKPORT        NY      14094‐9370
JAMES ELKIN          1329 PRAYVIEW CT                                                                                   LOVELAND        OH      45140‐8707
JAMES ELKIN          2200 N VERMILION ST APT 710                                                                        DANVILLE        IL      61832‐1774
JAMES ELL            8241 S 100 E                                                                                       MARKLEVILLE     IN      46056‐9717
JAMES ELLENBERGER    PMB 10                           2681 NE 35TH ST                                                   OCALA           FL      34479‐3005
JAMES ELLER          4242 JONQUIL DR                                                                                    SAGINAW         MI      48603‐1129
JAMES ELLER          8321 COUNTY ROAD 612                                                                               MANSFIELD       TX      76063‐7016
JAMES ELLER          7592 LIGHT HOUSE CT                                                                                MENTOR          OH      44060‐3662
JAMES ELLER          25110 STATE ROAD 213                                                                               CICERO          IN      46034‐9720
JAMES ELLER          C/O THE MADEKSHO LAW FIRM        8866 GULF FREEWAY SUITE 440                                       HOUSTON         TX      77017
JAMES ELLINGER       7410 HARBOR VIEW DR                                                                                LEESBURG        FL      34788‐7524
JAMES ELLINGER JR    7000 SONNET PL                                                                                     HUBER HEIGHTS   OH      45424‐2324
JAMES ELLINGTON      31 COLECHESTER LN                                                                                  PALM COAST      FL      32137‐9058
JAMES ELLINGTON      462 SHAMROCK LN                                                                                    MANY            LA      71449‐5708
JAMES ELLIOTT        75 WHITING ST                                                                                      N TONAWANDA     NY      14120‐5513
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Name              Address1                          Address2                     Address3   Address4               City              State   Zip
JAMES ELLIOTT     8410 CHARTER OAK DR                                                                              INDIANAPOLIS       IN     46260‐2733
JAMES ELLIOTT     12631 SPICKLER RD                                                                                CLEAR SPRING       MD     21722‐1422
JAMES ELLIOTT     748 OLD FORGE ESTS                                                                               HIAWASSEE          GA     30546‐1952
JAMES ELLIOTT     9950 EBY RD                                                                                      GERMANTOWN         OH     45327‐9776
JAMES ELLIOTT     7724 EAGLE VALLEY PASS                                                                           INDIANAPOLIS       IN     46214‐1556
JAMES ELLIOTT     1006 E 25TH ST                                                                                   MUNCIE             IN     47302‐5349
JAMES ELLIOTT     4236 E LAKE RD                                                                                   CLIO               MI     48420‐9145
JAMES ELLIOTT     8489 BURPEE RD                                                                                   GRAND BLANC        MI     48439‐7420
JAMES ELLIOTT     422 LINDA VISTA DR                                                                               PONTIAC            MI     48342‐1743
JAMES ELLIOTT     1550 HEMMETER RD                                                                                 SAGINAW            MI     48638‐4628
JAMES ELLIOTT     1151 WILTSHIRE DR                                                                                LAPEER             MI     48446‐1589
JAMES ELLIOTT     411 WALNUT ST. #3987                                                                             GREEN COVE         FL     32043
                                                                                                                   SPRINGS
JAMES ELLIOTT     8252 ROOSEVELT AVE                                                                               MOUNT MORRIS      MI      48458‐1331
JAMES ELLIOTT     BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.       OH      44236
JAMES ELLIS       123 WALELU TRL                                                                                   VONORE            TN      37885‐6708
JAMES ELLIS       8320 E JEFFERSON PL                                                                              FAIRMOUNT         IN      46928‐9186
JAMES ELLIS       806 MAGNOLIA AVE                                                                                 ROYAL OAK         MI      48073‐5301
JAMES ELLIS       3700 WILSON AVE                                                                                  LANSING           MI      48906‐2426
JAMES ELLIS       34 HYLAND CT                                                                                     COLUMBIANA        OH      44408‐1507
JAMES ELLIS       PO BOX 31                                                                                        NEWPORT           IN      47966‐0031
JAMES ELLIS       16620 LAUDER ST                                                                                  DETROIT           MI      48235‐4508
JAMES ELLIS       606 SNOWSHOE LN                                                                                  CIMARRON          CO      81220‐9537
JAMES ELLIS JR    PO BOX 326                                                                                       ANDALUSIA         AL      36420‐1205
JAMES ELLIS JR    PO BOX 811                                                                                       COLUMBIA          TN      38402‐0811
JAMES ELLIS JR    17761 EGO AVE                                                                                    EASTPOINTE        MI      48021‐3115
JAMES ELLISON     1103 FOREST DR                                                                                   NEW CASTLE        IN      47362‐1910
JAMES ELLISON     3520 S 450 E                                                                                     ANDERSON          IN      46017‐9573
JAMES ELLISON     64 N HURON RD                                                                                    AU GRES           MI      48703‐9748
JAMES ELLISON     620 NORRIS AVE                                                                                   KINGSPORT         TN      37665‐1727
JAMES ELLISON     817 E PHILADELPHIA BLVD                                                                          FLINT             MI      48505‐3554
JAMES ELLISON     638 S 10TH ST                                                                                    SAGINAW           MI      48601‐1903
JAMES ELLISON     451 LYNCH AVE                                                                                    PONTIAC           MI      48342‐1954
JAMES ELLISON     266 S CHERRY ST                                                                                  GERMANTOWN        OH      45327‐1314
JAMES ELLOUT      PO BOX 431516                                                                                    PONTIAC           MI      48343‐1516
JAMES ELLSWORTH   105 LYNDHURST WAY                                                                                SHARPSBURG        GA      30277‐3474
JAMES ELMORE      4032 HERNER COUNTY LINE RD                                                                       SOUTHINGTON       OH      44470‐9551
JAMES ELMSLIE     1140 S BALDWIN RD                                                                                OXFORD            MI      48371‐5602
JAMES ELMY        386 E SHEFFIELD AVE                                                                              PONTIAC           MI      48340‐1971
JAMES ELROD       33069 MERRITT CT                  C/O LINDA K. LELENIEWSKI                                       WESTLAND          MI      48185‐1589
JAMES ELSEN       PO BOX 155                                                                                       CROTON            OH      43013‐0155
JAMES ELSER       16 LOWELL CT                                                                                     O FALLON          MO      63368‐3579
JAMES ELSER       125 CARE LN                                                                                      GREER             SC      29651‐5084
JAMES ELSHOFF     685 LYNNDALE CT                                                                                  ROCHESTER HLS     MI      48309‐2436
JAMES ELSIE       507 ASH ST                                                                                       CLARKSVILLE       MI      48815‐9703
JAMES ELSWICK     1961 HICKORY LN                                                                                  LONGS             SC      29568‐6501
JAMES ELWART      22011 NORMANDY AVE                                                                               EASTPOINTE        MI      48021‐2511
JAMES ELY         1438 PLANO RICHPOND RD                                                                           BOWLING GREEN     KY      42104‐7832
JAMES ELY         4250 SHELLY LYNN DR                                                                              NEW MIDDLETOWN    OH      44442‐7709

JAMES ELZEY       2165 DR BRAMBLETT RD                                                                             CUMMING            GA     30028‐5302
JAMES ELZINGA     2611 WESTBROOK DR NW                                                                             GRAND RAPIDS       MI     49504‐2346
JAMES EMANN       319 E SUNSET DR                                                                                  MILTON             WI     53563‐1389
JAMES EMBACH      1223 COBRIDGE CT                                                                                 ROCHESTER HILLS    MI     48306‐3718
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Name                 Address1                        Address2                   Address3    Address4               City            State Zip
JAMES EMBERTON       2885 W COUNTY ROAD 100 S                                                                      GREENCASTLE      IN 46135‐8489
JAMES EMENHISER      517 W JANE DR                                                                                 SHARPSVILLE      IN 46068‐9590
JAMES EMERSON        40173 BUCKINGHAM CT                                                                           NOVI             MI 48375‐3601
JAMES EMERSON        100 RIVER RD.                                                                                 POTSDAM          NY 13676
JAMES EMERSON        PO BOX 383                                                                                    PORT ISABEL      TX 78578‐0383
JAMES EMERSON        PO BOX 2461                                                                                   JANESVILLE       WI 53547
JAMES EMERSON        2256 BENJAMIN AVE                                                                             ROYAL OAK        MI 48073‐3711
JAMES EMMENDORFER    550 CHAMBERLAIN ST              APT 1005                                                      FLUSHING         MI 48433‐1785
JAMES EMMER          4551 LAFAYETTE LN E                                                                           ESTERO           FL 33928‐3615
JAMES EMMI           551 SUMMERCROFT DR                                                                            EXTON            PA 19341‐3049
JAMES EMMONS         1559 ARIANA ST                                                                                LAKELAND         FL 33803‐1739
JAMES EMMONS         3861 HAMMOND BLVD                                                                             HAMILTON         OH 45015‐2133
JAMES EMMONS         PO BOX 93                                                                                     GOWER            MO 64454‐0093
JAMES EMRICH         1125 HAYES AVE                                                                                FREMONT          OH 43420‐2818
JAMES EMRICK         11248 102ND LN                                                                                LARGO            FL 33773‐4019
JAMES EMRICK         3973 WESTMONT PL                                                                              DAYTON           OH 45414‐5250
JAMES ENDLER         831 LAKEHILL DR                                                                               LEWISBURG        TN 37091‐4023
JAMES ENDSLEY        2643 ROSEMONT RD                                                                              NORTH JACKSON    OH 44451‐9719
JAMES ENGARDIO       43677 GUNNISON DR                                                                             CLINTON TWP      MI 48038‐1339
JAMES ENGELMAN JR.   5325 ARCHER RD                                                                                BRETHREN         MI 49619‐9717
JAMES ENGELMANN      3413 EDGEWOOD CT                                                                              DAVISON          MI 48423‐8423
JAMES ENGINEERING    2380 W MIDWAY BLVD STE 1                                                                      BROOMFIELD       CO 80020‐7180
JAMES ENGLAND        9343 E BELLEVUE HWY                                                                           EATON RAPIDS     MI 48827‐8511
JAMES ENGLE          6222 COUNTRY WAY SOUTH                                                                        SAGINAW          MI 48603‐1096
JAMES ENGLEMAN       10496 OAKWOOD DR                                                                              BYRON            MI 48418‐9026
JAMES ENGLERT        2605 COLUMBUS AVE                                                                             SANDUSKY         OH 44870‐5549
JAMES ENGLISH        5293 LENNON RD                                                                                SWARTZ CREEK     MI 48473‐7902
JAMES ENGLISH        6175 RICKY DR                                                                                 FAIRFIELD        OH 45014‐4733
JAMES ENGR INC       PO BOX 522                                                                                    FENTON           MI 48430‐0522
JAMES ENLOW          225 RUSSELL LN                                                                                MANSFIELD        TX 76063‐3986
JAMES ENNIS          149 NIGHTINGALE AVE                                                                           STEPHENS CITY    VA 22655‐2448
JAMES ENOS           6056 BELMONT CT                                                                               GRAND BLANC      MI 48439‐8679
JAMES ENRIGHT        23 WOOD AVE                                                                                   ENGLISHTOWN      NJ 07726‐1643
JAMES ENSLEN         218 SUGAR PINE DR                                                                             MIDDLETOWN       DE 19709‐9774
JAMES ENTLER         594 WORLEYS RUN RD A                                                                          WEST PORTSMOUTH OH 45663

JAMES ENZOR          16801 CHARLESTON CIR                                                                          LOCKPORT         IL   60441‐3297
JAMES EPIFANO JR     4699 ENNISMORE DR                                                                             CLARKSTON        MI   48346‐3617
JAMES EPP            1620 BRANDON HALL DR                                                                          SANDY SPRINGS    GA   30350‐3703
JAMES EPPEL          2276 PONDBROOK DR                                                                             HILLSDALE        MI   49242‐9419
JAMES EPPERLY        906 HARRISON ST                                                                               FRANKTON         IN   46044‐9781
JAMES EPPERLY        2306 DONNA DR                                                                                 ANDERSON         IN   46017‐9513
JAMES EPPES          PO BOX 682                                                                                    MADISON          OH   44057‐0682
JAMES EPPLER         298 HYATT LN                                                                                  LINDEN           MI   48451‐8795
JAMES EPPS           2150 SANDGATE CIR                                                                             COLLEGE PARK     GA   30349‐4344
JAMES EPSTEIN        DISTRICT ATTORNEY               MERCER COUNTY COURTHOUSE                                      MERCER           PA   16137
JAMES ERBSKORN       8500 KROUSE RD                                                                                OVID             MI   48866‐9426
JAMES ERBSKORN       3620 BLUE RIVER DR                                                                            LANSING          MI   48911‐1933
JAMES ERDMANS        3309 BOONE AVE SW                                                                             GRAND RAPIDS     MI   49519‐3211
JAMES ERDOS          5051 STONESPRING CT                                                                           ANDERSON         IN   46012‐9713
JAMES ERIC HAYES     11359 MILE RD.                                                                                NEW LEBANON      OH   45345
JAMES ERICKSON       2447 E CATALINA AVE                                                                           MESA             AZ   85204‐3006
JAMES ERICKSON       5143 FENTON RD                                                                                FLINT            MI   48507
JAMES ERICSON        24506 GREENHILL RD                                                                            WARREN           MI   48091‐1671
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Name                         Address1                            Address2                     Address3   Address4               City            State   Zip
JAMES ERLENBAUGH             730 N DEQUINCY ST                                                                                  INDIANAPOLIS     IN     46201‐2941
JAMES ERLENBECK              4335 ARBELA RD                                                                                     MILLINGTON       MI     48746‐9317
JAMES ERNEST                 323 W POINSETTA AVE                                                                                TOLEDO           OH     43612‐2561
JAMES ERNEST                 14 FREDERICK RD                                                                                    TONAWANDA        NY     14150‐4213
JAMES ERNEST AND MARILYN L   33 WOODWARD LN                                                                                     PALM COAST       FL     32164
ALEXANDER
JAMES ERNEST GRABER          129 LAS BRISAS DR                                                                                  MONTERY          CA     93940
JAMES ERNST                  4176 GRAND BLANC RD                                                                                SWARTZ CREEK     MI     48473‐9111
JAMES ERSKINE                7759 OP AVE E                                                                                      SCOTTS           MI     49088‐9712
JAMES ERTHEIN                PO BOX 818                                                                                         NORTH            VT     05257
                                                                                                                                BENNINGTON
JAMES ERVIN                  9233 DUNWOODY LN                                                                                   INDIANAPOLIS    IN      46229‐1015
JAMES ERVIN                  2073 HUNTINGTON AVE                                                                                FLINT           MI      48507‐3575
JAMES ERVIN                  711 PETREL WAY                                                                                     VENICE          FL      34285‐6609
JAMES ERWAY                  2958 LAUREL PARK DR                                                                                SAGINAW         MI      48603‐2696
JAMES ERWIN                  6280 WINDFALL RD                                                                                   GALION          OH      44833‐8943
JAMES ERWIN                  3012 DOUGLASS ST                                                                                   SAGINAW         MI      48601‐4361
JAMES ESCH                   12055 WHITE LAKE RD                                                                                FENTON          MI      48430‐2563
JAMES ESHBAUGH               3132 SHERWOOD DR                                                                                   FLINT           MI      48503‐5415
JAMES ESKEW                  1219 WYOMING WAY                                                                                   ANDERSON        IN      46013‐2478
JAMES ESPINOZA               10021 E AVENUE R12                                                                                 LITTLEROCK      CA      93543‐1512
JAMES ESSEX                  406 E ELIZABETH ST                                                                                 ALMA            MI      48801‐2704
JAMES ESSEX                  3138 JANES AVE                                                                                     SAGINAW         MI      48601‐6315
JAMES ESTELL                 21003 HARVARD RD                                                                                   SOUTHFIELD      MI      48076‐5645
JAMES ESTEP                  129 GRANDVIEW                                                                                      GALESBURG       MI      49053‐8527
JAMES ESTEP                  10642 N CLARK AVE                                                                                  ALEXANDRIA      IN      46001‐9023
JAMES ESTERLY                1112 E PRYOR ST                                                                                    ATHENS          AL      35611‐2162
JAMES ESTES                  417 DEER PATH DR                                                                                   CARLISLE        OH      45005‐6346
JAMES ESTES                  9449 N ELMS RD                                                                                     CLIO            MI      48420‐8540
JAMES ESTES                  3043 BALDWIN RD                                                                                    ORTONVILLE      MI      48462‐9716
JAMES ESTES                  1000 E 26TH ST                                                                                     MUNCIE          IN      47302‐5373
JAMES ESTES
JAMES ETCHISON               619 ANSLEY ST                                                                                      DECATUR         GA      30030‐3611
JAMES ETHERTON               APT 209                             1590 WEST TIMBERVIEW DRIVE                                     MARION          IN      46952‐1607
JAMES ETHINGTON              8517 JENNINGS RD                                                                                   SWARTZ CREEK    MI      48473‐9140
JAMES ETHRIDGE               3548 TRACEY DR                                                                                     DULUTH          GA      30096
JAMES ETHRIDGE               16720 CHANDLER PARK DR                                                                             DETROIT         MI      48224‐2075
JAMES ETTER                  PO BOX 364                                                                                         BOYD            TX      76023‐0364
JAMES EUBANK                 629 RIDGELINE DR                                                                                   HURST           TX      76053‐4747
JAMES EUBANK                 7344 KIRKHAM DR                                                                                    DALLAS          TX      75252‐6338
JAMES EUBANK                 APT F                               7206 RIVER WALK DRIVE                                          INDIANAPOLIS    IN      46214‐4608
JAMES EUBANK                 C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.     OH      44236
JAMES EUBANKS                3981 PALISADES MAIN NW                                                                             KENNESAW        GA      30144‐6166
JAMES EUGENE                 165 SYCAMORE TRL                                                                                   BEDFORD         KY      40006‐8183
JAMES EUTSEY                 7365 KIPLING ST                                                                                    DETROIT         MI      48206‐2624
JAMES EVANOFF                8473 HUGH ST                                                                                       WESTLAND        MI      48185‐1840
JAMES EVANS                  PO BOX 1354                                                                                        OCEAN SHORES    WA      98569‐1354
JAMES EVANS                  4622 W MCINTOSH RD                                                                                 GRIFFIN         GA      30223‐6128
JAMES EVANS                  1649 SIOUX DR                                                                                      XENIA           OH      45385‐4238
JAMES EVANS                  363 1ST AVE N                                                                                      LAKE WALES      FL      33859‐8763
JAMES EVANS                  5830 SOUTHWARD AVE                                                                                 WATERFORD       MI      48329‐1577
JAMES EVANS                  4733 WAKEFIELD AVE NE                                                                              COMSTOCK PARK   MI      49321‐8958
JAMES EVANS                  12221 N ELMS RD                                                                                    CLIO            MI      48420‐9467
JAMES EVANS                  9 SOUTH DR                                                                                         ANDERSON        IN      46013‐4141
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Name                                 Address1                        Address2                          Address3                     Address4               City             State   Zip
JAMES EVANS                          2457 BREWER RD                                                                                                        CROSSVILLE        TN     38572‐1996
JAMES EVANS                          517 W LENAWEE ST                                                                                                      LANSING           MI     48933‐2203
JAMES EVANS                          566 EVERETT TRL                                                                                                       HALE              MI     48739‐9120
JAMES EVANS                          13512 W STATE ROAD 32                                                                                                 YORKTOWN          IN     47396‐9713
JAMES EVANS                          2909 S TAFT AVE                                                                                                       INDIANAPOLIS      IN     46241‐5923
JAMES EVANS                          101 ARCHER ROAD                                                                                                       FORT SCOTT        KS     66701‐2916
JAMES EVANS                          PO BOX 320635                                                                                                         KANSAS CITY       MO     64132‐0635
JAMES EVANS                          4366 S WASHINGTON RD                                                                                                  SAGINAW           MI     48601‐5178
JAMES EVANS                          1206 S HAMILTON ST                                                                                                    SAGINAW           MI     48602‐1423
JAMES EVANS                          15049 STRATHMOOR ST                                                                                                   DETROIT           MI     48227‐2933
JAMES EVANS                          681 EDGEWOOD DR SE                                                                                                    BROOKFIELD        OH     44403‐9720
JAMES EVANS                          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                            BOSTON HTS.       OH     44236
JAMES EVANS                          C/O WEITZ & LUXENBERG PC        700 BROADWAY                                                                          NEW YORK CITY     NY     10003
JAMES EVANS JR                       15741 PIEDMONT ST                                                                                                     DETROIT           MI     48223‐1718
JAMES EVERARD                        CASCINO MICHAEL P               220 SOUTH ASHLAND AVE                                                                 CHICAGO            IL    60607
JAMES EVERDING                       9301 DAYTON GREENVILLE PIKE                                                                                           BROOKVILLE        OH     45309‐9229
JAMES EVERETT                        15722 LAHSER RD                                                                                                       DETROIT           MI     48223‐1148
JAMES EVERLY                         17204 E 41ST ST S                                                                                                     INDEPENDENCE      MO     64055‐3906
JAMES EVERLY                         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                            BOSTON HTS.       OH     44236
JAMES EVERMAN                        246 FREEDOM WAY                                                                                                       ANDERSON          IN     46013‐1090
JAMES EVERS                          2785 MUSSON RD                                                                                                        HOWELL            MI     48855‐8052
JAMES EVERTS                         1555 COMER AVE                                                                                                        INDIANAPOLIS      IN     46203
JAMES EVES                           613 E MAIN ST                                                                                                         FLUSHING          MI     48433‐2007
JAMES EVICK                          2216 CLEARVIEW AVE NW                                                                                                 WARREN            OH     44483‐1336
JAMES EVITTS                         9361 TERRY ST                                                                                                         ROMULUS           MI     48174‐1542
JAMES EWALT                          7194 RYAN ST                                                                                                          WHITMORE LAKE     MI     48189‐9671
JAMES EWING                          3969 TANNERS MILL RD                                                                                                  GAINESVILLE       GA     30507‐8752
JAMES EWING                          11894 CROSS ROADS AVE                                                                                                 FELTON            PA     17322‐8762
JAMES EWING                          18106 PETOSKEY CIR                                                                                                    PORT CHARLOTTE    FL     33948‐9524
JAMES EXLINE                         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                            BOSTON HTS.       OH     44236
JAMES EYLER                          3941 HAINES RD                                                                                                        WAYNESVILLE       OH     45068‐9610
JAMES EYMAN                          4001 W WALTON BLVD                                                                                                    WATERFORD         MI     48329‐4175
JAMES EZELL                          436 CAMDEN AVE                                                                                                        ROMEOVILLE         IL    60446‐1310
JAMES EZELLE                         NIX, PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT          205 LINDA DRIVE                                     DAINGERFIELD      TX     75638
JAMES F & PATRICIA R GUCKES JTWROS   1477 GRASSHOPPER RD                                                                                                   HUNTINGDON        PA     19006‐5805
                                                                                                                                                           VALLEY
JAMES F ALLEN                        2224 ALLENWOOD CT                                                                                                     MUSKEGON         MI      49442‐1477
JAMES F ALLEN                        5850 CEDARWOOD DR                                                                                                     LEWISBURG        OH      45338‐9783
JAMES F ATER JR                      2658 FERNCLIFF AVE                                                                                                    DAYTON           OH      45420‐3362
JAMES F ATKINS                       3504 AUTUMN DR                                                                                                        FORT WORTH       TX      76109
JAMES F BAILEY                       139 NIMITZ DRIVE                                                                                                      DAYTON           OH      45431‐1366
JAMES F BAKER                        624 S GRAND TRAVERSE                                                                                                  FLINT            MI      48502
JAMES F BATESON                      3521 CLEVELAND AVE                                                                                                    DAYTON           OH      45410‐3201
JAMES F BISSET                       NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT          205 LINDA DRIVE                                     DAINGERFIELD     TX      75638
JAMES F BOLLIGER                     MCKENNA & ASSOCIATES, P.C.      436 BOULEVARD OF THE ALLIES                                                           PITTSBURGH       PA      15218‐1331
                                                                     SUITE 500
JAMES F BOLLINGER                    MCKENNA & ASSOCIATES PC         436 BOULEVARD OF THE ALLIES STE                                                       PITTSBURGH       PA      15219‐1331
JAMES F BROWN                        2036 PERSHING BLVD                                                                                                    DAYTON           OH      45420
JAMES F BROWN                        4537 PENSACOLA BLVD                                                                                                   MORAINE          OH      45439
JAMES F BURTON                       2028 E 55TH AVE                                                                                                       SPOKANE          WA      99223
JAMES F BUTLER                       41 OAKRIDGE DR                                                                                                        ROCHESTER        NY      14617
JAMES F CAMENETI                     3929 SOUTHWOOD DR. SE                                                                                                 WARREN           OH      44484‐2655
JAMES F CASE SR                      C/O GLASSER AND GLASSER         CROWN CENTER                      580 EAST MAIN STREET SUITE                          NORFOLK          VA      23510
                                                                                                       600
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Name                                  Address1                         Address2                    Address3                  Address4               City               State   Zip
JAMES F CHAPPLE                       5706 SUBURBAN CT                                                                                              FLINT               MI     48505‐2645
JAMES F CLARK JR & PATRICIA L CLARK   1128 TERRACE WAY                                                                                              BAKERSFIELD         CA     93304
JAMES F COKER                         1733 MEARS AVE APT 1                                                                                          CINCINNATI          OH     45230
JAMES F COLSON                        PO BOX 598                                                                                                    MIO                 MI     48647‐0598
JAMES F COLVARD II                    1639 SHEFFIELD DR                                                                                             YPSILANTI           MI     48198‐3670
JAMES F COOPER                        73 MONTGOMERY STREET                                                                                          PISCATAWAY          NJ     08854
JAMES F COPELAND                      7805 ASHMONT CIRCLE                                                                                           TAMARAC             FL     33321
JAMES F COTY                          663 KENBROOK DR                                                                                               VANDALIA            OH     45377
JAMES F CRAWFORD                      191 N DIAMOND MILL RD                                                                                         NEW LEBANON         OH     45345‐9629
JAMES F CURLEY SR IRA                 903 WINDEMERE BLVD                                                                                            ALEXANDRIA          LA     71303
JAMES F DAMATO                        6 DAVID LOOP                                                                                                  WAPPINGERS FALLS    NY     12590‐4435

JAMES F DORMINY SR                    142 PARKDALE AVE                                                                                              PONTIAC            MI      48340‐2548
JAMES F DUFFEY                        21421 N CLOUDCROFT LN                                                                                         SURPRISE           AZ      85387‐2732
JAMES F DUGIC                         2791 MILTON ST SE                                                                                             WARREN             OH      44484‐5256
JAMES F EDELEN JR                     5502 KERMIT ST                                                                                                FLINT              MI      48505‐2556
JAMES F EDMUNDS                       749 PALLISTER ST                                                                                              DETROIT            MI      48202‐2418
JAMES F EMRICK                        3973 WESTMONT                                                                                                 DAYTON             OH      45414‐5250
JAMES F FAIRBANKS                     WEITZ & LUXENBERG PC             700 BROADWAY                                                                 NEW YORK CITY      NY      10003
JAMES F FISH JR                       12182 COLDWATER RD                                                                                            COLUMBIAVILLE      MI      48421‐8809
JAMES F FISHER                        WEITZ & LUXENBERG PC             700 BROADWAY                                                                 NEW YORK CITY      NY      10003
JAMES F FLAHERTY                      167 HOWLAND AVE                                                                                               ROCHESTER          NY      14620
JAMES F FULLENKAMP                    330 TRAILS WAY                                                                                                MIAMISBURG         OH      45342
JAMES F GASSAWAY TTEE FBO             GASSAWAY FAMILY TRUST            601 TOWNE OAKS                                                               TULER              TX      75701‐9538
JAMES F GEORGE                        47 BEVERLY PL                                                                                                 XENIA              OH      45385
JAMES F GILL                          1017 HEATHWOOD DR.                                                                                            ENGLEWOOD          OH      45322‐2430
JAMES F GILL III                      605 KELLY LN                                                                                                  ENGLEWOOD          OH      45322‐2004
JAMES F GLEASON                       4839 MAIN ST                                                                                                  MILLINGTON         MI      48746‐9671
JAMES F GOODRICH, JR.                 7611 ANNE DR                                                                                                  CARLISLE           OH      45005‐3802
JAMES F GRILLS, DEC'D                 C/O EMBRY & NEUSNER              PO BOX 1409                                                                  GROTON             CT      06340
JAMES F GUY                           1170 SOUTHERN BLVD. N.W.                                                                                      WARREN             OH      44485‐2246
JAMES F HARRA                         PO BOX 1034                                                                                                   COLUMBIA           TN      38402‐1034
JAMES F HAWKEY                        1601 MERILINE AVE.                                                                                            DAYTON             OH      45410
JAMES F HEATHERLY                     81 QUINBY LANE                                                                                                DAYTON             OH      45432‐3413
JAMES F HOWARD                        265 COUNTY ROAD 1985                                                                                          YANTIS             TX      75497
JAMES F JACKSON                       4879 FREE PIKE                                                                                                TROTWOOD           OH      45416
JAMES F JACKSON                       CHARLES SCHWAB AND CO INC CUST   IRA CONTRIBUTORY            4560 GLEN KERNAN PKWY E                          JACKSONVILLE       FL      32224‐5627
JAMES F JOHNSON                       1485 ST RT 503                                                                                                ARCANUM            OH      45304‐9237
JAMES F KENDALL                       68 BASSWOOD DR                                                                                                BUFFALO            NY      14227‐2609
JAMES F KLINSKI                       4304 KUERBITZ DR                                                                                              BAY CITY           MI      48706‐2224
JAMES F KYGER                         13383 CR 1318                                                                                                 TROUP              TX      75789
JAMES F LAMBERT JR                    712 WEST MARKET STREET                                                                                        TROY               OH      45373
JAMES F LAWRENCE                      7360 CARIBOU TRAIL                                                                                            CENTERVILLE        OH      45459
JAMES F LEWIS                         5036 PRICE WEST RD                                                                                            NEWTON FALLS       OH      44444‐‐ 95
JAMES F LEWIS                         4611 CROSSCURRENT PL                                                                                          WILMINGTON         NC      28409
JAMES F LINDMEIER                     3628 MEADOWGLEN CT                                                                                            SAINT CHARLES      MO      63303‐6677
JAMES F LITTLEFIELD                   C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                                    HOUSTON            TX      77007
                                      BOUNDAS LLP
JAMES F LOFTIN                        234 PINERIDGRE RD                                                                                             MADISON             AL     35758‐1946
JAMES F MCCABE II                     97 FORD AVE                                                                                                   ROCHESTER           NY     14606‐3902
JAMES F MCCORMICK                     C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                                    HOUSTON             TX     77007
                                      BOUNDAS LLP
JAMES F MCCORRY                       425 DAYTON TOWER DR              APT 9G                                                                       DAYTON             OH      45410‐1129
JAMES F MCKINN/CA                     19002 ANTIOCH DR                                                                                              IRVINE             CA      92603‐3307
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Name                             Address1                       Address2             Address3         Address4               City              State   Zip
JAMES F MERK                     204S10369 NORTHSHORE LN                                                                     MUSKEGO            WI     53150
JAMES F MITCHELL                 3904HOOVER AVENUE                                                                           DAYTON             OH     45407‐1235
JAMES F MITCHELL COMPANY LLC     106 SEWALL ST                                                                               AUGUSTA            ME     04330‐6822
JAMES F MOLASKI                  8273 SEYMOUR RD                                                                             GAINES             MI     48436‐9799
JAMES F MOORE                    5078 HALDERMAN ROAD                                                                         W ALEXANDRIA       OH     45381‐9322
JAMES F MYERS                    1307 DEFOREST DR SE                                                                         WARREN             OH     44484‐3503
JAMES F NAPIER                   1747 SUGARCAMP RD                                                                           LONDON             KY     40741‐‐ 87
JAMES F NEFF                     2200 SHUMWAY CT                                                                             DAYTON             OH     45431
JAMES F NICOLAUS                 1383 MEADOWBROOK S.E.                                                                       WARREN             OH     44484‐4565
JAMES F PARIZEK                  8366 TOWSON BLVD APT B                                                                      MIAMISBURG         OH     45342‐3759
JAMES F PARKS                    5065 STATE ST                                                                               SAGINAW            MI     48603‐3709
JAMES F PATTERSON                532 KOERNER AVE                                                                             ENGLEWOOD          OH     45322‐2005
JAMES F RANCOURT                 12690 AVOCET DR                                                                             CARMEL             IN     46033‐8203
JAMES F ROGERS                   27 CENTRAL AVE APT 18                                                                       DAYTON             OH     45406‐5504
JAMES F ROLLER                   1153 JAY AVENUE                                                                             CAMARILLO          CA     93010‐2828
JAMES F ROSELL                   74 NORTH CLAYTON ROAD                                                                       NEW LEBANON        OH     45345‐9635
JAMES F ROSENDAHL                NANCY D ROSENDAHL              PO BOX 98                                                    DECATUR            TX     76234‐0098
JAMES F ROSENDAHL                PO BOX 98                                                                                   DECATUR            TX     76234‐0098
JAMES F SEBELA                   139 PARK DR                                                                                 GRAND JUNCTION     CO     81501‐2060
JAMES F SHEA                     WEITZ & LUXENBERG P C          700 BROADWAY                                                 NEW YORK           NY     10003
JAMES F SINGLETON                6491 E EDNA MILLS DR                                                                        CAMBY              IN     46113‐9699
JAMES F SMALL SR                 ANNIE LEE SMALL                PO BOX 635                                                   MADISON            GA     30650‐0635
JAMES F SMITH                    1339 WEST JOHNY LYPLE AVENUE                                                                SPRINGFIELD        OH     45506‐2370
JAMES F STEPHENS                 1359 NASH RD., N.W.                                                                         ATLANTA            GA     30331
JAMES F TAYLOR                   1392 FREDERICK CT                                                                           MANSFIELD          OH     44906‐2426
JAMES F TAYLOR JR                5900 BRIDGE RD APT 207                                                                      YPSILANTI          MI     48197‐7011
JAMES F THOMAS                   MOTLEY RICE LLC                28 BRIDGESIDE BLVD   PO BOX 1792                             MT PLEASANT        SC     29465
JAMES F THOMAS                   235 IRONWOOD DR                                                                             VICKSBURG          MS     39180‐0823
JAMES F THOMAS                   4027 CALDERWOOD DR                                                                          SHREVEPORT         LA     71119‐7603
JAMES F THOMAS                   2280 MONTEREY DR                                                                            XENIA              OH     45385
JAMES F TRILONE                  114 SO 17TH AVE                                                                             MANVILLE           NJ     08835
JAMES F TURTURICE                8347 SW 30TH AVE                                                                            BUSHNELL           FL     33513‐7951
JAMES F WAGEMAN                  25810 COCKLESHELL DR           #E213                                                        BONITA SPRINGS     FL     34135‐7715
JAMES F WALKER                   18246 MACARTHUR                                                                             REDFORD            MI     48240‐1945
JAMES F WASHINGTON               413 LINDALE ST                                                                              CLINTON            MS     39056‐4423
JAMES F WHITE                    738 E CHAIN OF ROCKS R                                                                      GRANITE CITY        IL    62040‐2810
JAMES F WILLEFORD                201 ST CHARLES AVENUE          SUITE 4208                                                   NEW ORLEANS        LA     70170
JAMES F WILLENBRINK              2002H BRUCEWOOD RD                                                                          HAW RIVER          NC     27258‐9750
JAMES F WILLIAMS JR              139 W TENNYSON AVE                                                                          PONTIAC            MI     48340‐2673
JAMES F WOODS                    936 LIVERMORE LN                                                                            ELYRIA             OH     44035‐3014
JAMES F. DAVIS (ROTH IRA)        FCC AS CUSTODIAN               7079 BISTIAN CT                                              WEEKI WACHEE       FL     34613
JAMES F. GRILLS, DEC'D           C/O EMBRY & NEUSNER            PO BOX 1409                                                  GROTON             CT     06340
JAMES F. MITCHELL COMPANY, LLC   JIM MITCHELL                   106 SEWALL ST                                                AUGUSTA            ME     04330‐6822
JAMES F. WATERS, JR.
JAMES FAASSE                     1946 MARTINDALE AVE SW                                                                      WYOMING           MI      49509‐1448
JAMES FACTORY                    5204 N STONEWALL DR                                                                         OKLAHOMA CITY     OK      73111‐6652
JAMES FADA                       616 EAST AVE                                                                                ELYRIA            OH      44035‐5819
JAMES FAGER                      1301 BROOKFIELD LN                                                                          MANSFIELD         TX      76063‐2519
JAMES FAHEY                      2615 W WASHTENAW ST                                                                         LANSING           MI      48917‐3867
JAMES FAHNENSTIEL                8097 WOODRIDGE POINTE DR                                                                    FORT MYERS        FL      33912‐0883
JAMES FAHRENBRUCH                1806 ALLEGAN ST                                                                             SAGINAW           MI      48602‐2619
JAMES FAHRNER                    1009 EAST SMITH STREET                                                                      BAY CITY          MI      48706‐3969
JAMES FAIKIS                     53424 BANCROFT DR                                                                           SHELBY TOWNSHIP   MI      48316‐2707
JAMES FAIR                       13 HAYES ST                                                                                 CRANFORD          NJ      07016‐3435
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Name                Address1                          Address2                     Address3   Address4               City               State Zip
JAMES FAIR          412 W JAMIESON ST                                                                                FLINT               MI 48505‐6616
JAMES FAIR          6561 ASKA RD                                                                                     BLUE RIDGE          GA 30513‐5516
JAMES FAIR          1231 NEW HOPE RD                                                                                 ROCKWOOD            TN 37854‐4741
JAMES FAIRCHILD     7921 N 100 E                                                                                     SPRINGPORT          IN 47386
JAMES FAIRCHILD     2308 RAINTREE DR                                                                                 ANDERSON            IN 46011‐2643
JAMES FAIRHURST     6115 FOOTHILLS DR                                                                                MURFREESBORO        TN 37129‐2646
JAMES FAIRRIS JR    29105 SHEEKS BLVD S                                                                              FLAT ROCK           MI 48134‐1268
JAMES FALCONBURY    6261 S 1050 E                                                                                    NEW ROSS            IN 47968‐8030
JAMES FALCONE       THE MADEKSHO LAW FIRM             8866 GULF FREEWAY STE 440                                      HOUSTONT            TX 77017
JAMES FALL          4444 DERRY RD                                                                                    BLOOMFIELD          MI 48302‐1836
JAMES FALLON        PO BOX 1121                                                                                      CUTCHOGUE           NY 11935‐0871
JAMES FALLON        27722 JOAN ST                                                                                    SAINT CLAIR SHORES MI 48081‐1426

JAMES FALLON        THE MADEKSHO LAW FIRM             8866 GULF FREEWAY STE 440                                      HOUSTON           TX   77017
JAMES FANCIL        128 HEMLOCK DR                                                                                   JAMESTOWN         TN   38556‐5482
JAMES FANIN         38785 PALMER RD                                                                                  WESTLAND          MI   48186‐3936
JAMES FANSLER       12957 NORTH 300 WEST                                                                             ALEXANDRIA        IN   46001‐8698
JAMES FANT          5006 IRVING ST                                                                                   PHILADELPHIA      PA   19139‐4111
JAMES FANTOZZ       5001 NORMANDY CT                                                                                 SANDUSKY          OH   44870‐5804
JAMES FARISS        PO BOX 12295                                                                                     PARKVILLE         MO   64152‐0295
JAMES FARKAS        8278 HITCHCOCK RD                                                                                YOUNGSTOWN        OH   44512‐5854
JAMES FARLEY        65 S LINKS DR                                                                                    COVINGTON         GA   30014‐3963
JAMES FARLEY        2327 OHIO PIKE                                                                                   AMELIA            OH   45102
JAMES FARLEY        6933 N 350 W                                                                                     MC CORDSVILLE     IN   46055‐9731
JAMES FARMER        4125 INGRAM DR                                                                                   JANESVILLE        WI   53546‐3432
JAMES FARMER        1525 OLD JELLICO CREEK RD                                                                        WILLIAMSBURG      KY   40769‐7510
JAMES FARMER        503 KENILWORTH AVE                                                                               PONTIAC           MI   48342‐1846
JAMES FARMER        4445 WESTWAY DR                                                                                  SWARTZ CREEK      MI   48473‐8228
JAMES FARMER        6376 ASPEN RIDGE BLVD                                                                            WEST BLOOMFIELD   MI   48322‐4435

JAMES FARQUER       6530 GOSHEN RD                                                                                   GOSHEN            OH   45122‐9245
JAMES FARQUHAR      1965 WHITE LAKE RD                                                                               HIGHLAND          MI   48356‐1330
JAMES FARRAR        31 MATT LN                                                                                       SHERIDAN          AR   72150‐8320
JAMES FARRAR        25190 FERN STREET                                                                                ROSEVILLE         MI   48066‐3680
JAMES FARRELL       2055 JAMES AVE                                                                                   OWOSSO            MI   48867‐3930
JAMES FARRELL       BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.       OH   44236
JAMES FARRELL JR    PO BOX 224                                                                                       BRISTOLVILLE      OH   44402‐0224
JAMES FARRIS        PO BOX 504                                                                                       TAYLOR            MI   48180‐0604
JAMES FARRIS        33685 SWICK RD                                                                                   MIDDLEPORT        OH   45760‐9726
JAMES FARRIS        22902 DUGAN DR                                                                                   HARTSHORN         MO   65479‐6726
JAMES FARROW        2301 CHATEAU DR                                                                                  FLINT             MI   48504‐1652
JAMES FAUCETT       30952 SPRINGLAKE BLVD APT 21207                                                                  NOVI              MI   48377‐3879
JAMES FAUGHNAN      1913 ARTHUR ST                                                                                   SAGINAW           MI   48602‐1092
JAMES FAULHABER     1009 WATSON RD                                                                                   DEERFIELD         OH   44411‐8750
JAMES FAULKENBERG   1641 WESLOW CT                                                                                   ANDERSON          IN   46011‐3138
JAMES FAULKNER      2147 WATERMAN AVE                                                                                GRANITE CITY      IL   62040‐4002
JAMES FAULKNER      PO BOX 2428 PMB 11879                                                                            PENSACOLA         FL   32513‐2428
JAMES FAULSTICH     1417 S ANDERSON ST                                                                               ELWOOD            IN   46036‐2828
JAMES FAUSON        8879 COCKROFT RD                                                                                 EATON RAPIDS      MI   48827‐9526
JAMES FAUSON        1612 ALPHA ST                                                                                    LANSING           MI   48910‐1802
JAMES FAUST         9228 KINGSWOOD RD                                                                                SOUTHPORT         FL   32409‐1867
JAMES FAUST         3288 BARBER RD                                                                                   HASTINGS          MI   49058‐8413
JAMES FAVORS        1595 LAFAYETTE RD                                                                                ROSSVILLE         GA   30741‐7738
JAMES FAWCETT       6524 ENCLAVE DR                                                                                  CLARKSTON         MI   48348‐4858
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JAMES FAWCETT JR    2 KING ARTHUR WAY APT 2                                                                         NEWINGTON          CT     06111‐2222
JAMES FEAGLEY       1209 TERRY LN                                                                                   SULPHUR SPRINGS    TX     75482‐3716
JAMES FEARON        10108 POTTER RD                                                                                 FLUSHING           MI     48433‐9722
JAMES FEARS         6507 GEORGIA AVE                                                                                BRADENTON          FL     34207‐5635
JAMES FEARS         5845 PARKVIEW DR                                                                                HILLSBORO          MO     63050‐3365
JAMES FEARS         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.        OH     44236
JAMES FEARSON JR    730 W 3RD ST                                                                                    HILLMAN            MI     49746‐9036
JAMES FEASTER       3304 S CANFIELD NILES RD                                                                        CANFIELD           OH     44406‐8694
JAMES FEASTER       8656 WOOD HOLLOW ROAD                                                                           NORTHFIELD         OH     44067‐1853
JAMES FEATHERS      57940 APPLE LN                                                                                  NEW HUDSON         MI     48165‐9558
JAMES FEATHERSTON   1094 PLEASURE VIEW LANE                                                                         PIGGOTT            AR     72454
JAMES FEDERICO      PO BOX 9022                     ADAM OPEL                                                       WARREN             MI     48090‐9022
JAMES FEDERSPIEL    7174 PETTIT RD                                                                                  BIRCH RUN          MI     48415‐8735
JAMES FEDEWA        PO BOX 80141                                                                                    LANSING            MI     48908‐0141
JAMES FEE           109 BRANDI WAY                                                                                  WINCHESTER         TN     37398‐1447
JAMES FEENEY        1822 HIGHGROVE DR                                                                               O FALLON           MO     63366‐4366
JAMES FEGGAN        21740 WELLINGTON AVE                                                                            WARREN             MI     48089‐2825
JAMES FEHRMAN       4138 BRADFORD DR                                                                                SAGINAW            MI     48603‐3047
JAMES FEINAUER      749 W SALZBURG RD                                                                               AUBURN             MI     48611‐8508
JAMES FEKETE        43682 ARLINGTON RD                                                                              CANTON             MI     48187‐2210
JAMES FELDPAUSCH    7072 N RIVER HWY                                                                                GRAND LEDGE        MI     48837‐9307
JAMES FELLER        82 LOBLOLLY LN                                                                                  BEAR               DE     19701‐2167
JAMES FELLER        7312 RUSTIC CREST ST                                                                            LAS VEGAS          NV     89149‐0125
JAMES FELLOWS       3436 W LYNDON AVE                                                                               FLINT              MI     48504‐6915
JAMES FELTNER       8453 CAHALAN ST                                                                                 DETROIT            MI     48209‐3450
JAMES FELTS         6211 SANCTUARY POINTE DR                                                                        GRAND BLANC        MI     48439‐9031
JAMES FELTY         013212 8TH AVE NW                                                                               GRAND RAPIDS       MI     49534
JAMES FEMMER        5740 STATE ROAD A J                                                                             WASHINGTON         MO     63090
JAMES FENDLEY       6176 OLD FARM CT                                                                                TOLEDO             OH     43612‐4235
JAMES FENNER        3400 OFFUTT RD                                                                                  RANDALLSTOWN       MD     21133‐3512
JAMES FENTON        935 UNION LAKE RD APT 118                                                                       WHITE LAKE         MI     48386‐4531
JAMES FENTON        333 VILLA DUSCHENE DR                                                                           WARRENTON          MO     63383‐3100
JAMES FERACK        941 RADCLIFF ST                                                                                 GARDEN CITY        MI     48135‐3063
JAMES FERGUSON      1793 LEXINGTON DR                                                                               PERRYSBURG         OH     43551‐5808
JAMES FERGUSON      16 NW BURR OAK DR                                                                               LAWTON             OK     73507‐8924
JAMES FERGUSON      3416 BROOKTREE LN                                                                               INDIAN TRAIL       NC     28079‐9440
JAMES FERGUSON      255 WELBORN DR                                                                                  GILLSVILLE         GA     30543‐4805
JAMES FERGUSON      3714 STILESBORO RD NW                                                                           KENNESAW           GA     30152‐3151
JAMES FERGUSON      2939 ROSETTA BLVD                                                                               NEWTON FALLS       OH     44444‐9719
JAMES FERGUSON      3952 W 250 N‐5                                                                                  UPLAND             IN     46989‐9500
JAMES FERGUSON      9271 E 450 N BOX 26                                                                             VAN BUREN          IN     46991
JAMES FERGUSON      6019 SALEM LN                                                                                   PORTAGE            MI     49002‐2910
JAMES FERGUSON      565 PLEASANT HILL RD                                                                            DECATUR            AL     35603‐3521
JAMES FERGUSON 66   3701 N HILLS DR                                                                                 AUSTIN             TX     78731‐3021
JAMES FERGUSON JR   117 SYCAMORE ST                                                                                 BUFFALO            NY     14204‐1415
JAMES FERNANDEZ     5880 NORTH LATSON ROAD                                                                          HOWELL             MI     48855‐9716
JAMES FERRAND       5142 MARVIN RD                                                                                  CLARKSTON          MI     48346‐3427
JAMES FERRANTE      6061 KIRK RD                                                                                    CANFIELD           OH     44406‐8613
JAMES FERREIRA      120 MARYS DR                                                                                    LOUISIANA          MO     63353‐2708
JAMES FERRELL       17119 LOUISE DR                                                                                 DAVISBURG          MI     48350‐3938
JAMES FERRELL       3306 YALE ST                                                                                    FLINT              MI     48503‐4636
JAMES FERRIL JR     24 RACE ST                                                                                      BUFFALO            NY     14207‐1827
JAMES FERRIS        9635 DUCK RD                                                                                    SAINT HELEN        MI     48656‐9753
JAMES FERRIS        THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                     HOUSTON            TX     77017
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JAMES FERRON       4716 KLEIN RD                                                                                  FILLMORE           NY     14735‐8795
JAMES FERRON       180 COLLINS AVE                                                                                WEST SENECA        NY     14224‐1110
JAMES FETTERLY     1595 DEERHURST LN                                                                              ROCHESTER HILLS    MI     48307‐3326
JAMES FETTING      7560 JOHN R CT                                                                                 LAKE               MI     48632‐9285
JAMES FEY          7210 SE 119TH PL                                                                               BELLEVIEW          FL     34420‐4611
JAMES FIEGEL       6480 CLOVERLEAF DR                                                                             LOCKPORT           NY     14094‐6121
JAMES FIELDS       6618 DAVIS HWY                                                                                 GRAND LEDGE        MI     48837‐9421
JAMES FIELDS       107 OAK ST                                                                                     TROTWOOD           OH     45426‐3519
JAMES FIELDS       723 C ST                                                                                       WASHOUGAL          WA     98671‐2241
JAMES FIELDS       145 SOUTHLAKE DR                                                                               CENTERVILLE        OH     45459‐4810
JAMES FIELDS       4699 CONTINENTAL DR LOT 226                                                                    HOLIDAY            FL     34690‐5607
JAMES FIELDS       110 BEACON POINT PKWY S                                                                        FLUSHING           MI     48433‐1888
JAMES FIELDS       3942 SUMMIT DR                                                                                 DOUGLASVILLE       GA     30135‐2437
JAMES FIELDS       935 PRESTWOOD RD                                                                               BALTIMORE          MD     21228‐1223
JAMES FIELDS       19 PARK CT                                                                                     FAIRBORN           OH     45324‐4436
JAMES FIELDS       3868 ADDISON AVE                                                                               DAYTON             OH     45405‐5129
JAMES FIELDS JR    4144 N CAPITOL AVE                                                                             INDIANAPOLIS       IN     46208‐3813
JAMES FIFELSKI     10560 CRESSEY RD                                                                               PLAINWELL          MI     49080‐9044
JAMES FIGGINS      3210 E DODGE RD                                                                                CLIO               MI     48420‐9702
JAMES FIGLEY       APT 52                          4237 WEST COURT STREET                                         FLINT              MI     48532‐4353
JAMES FIGLIOLA     3109 DUNCAN RD                                                                                 WILMINGTON         DE     19808‐2322
JAMES FIKE         211 E LANSING RD                                                                               MORRICE            MI     48857‐9802
JAMES FIKES        7501 W MOORESVILLE RD                                                                          CAMBY              IN     46113‐9274
JAMES FILARSKI     5875 RIVARD RD                                                                                 MILLINGTON         MI     48746‐9485
JAMES FILER        418 OLD MILL DR                                                                                FLUSHING           MI     48433‐2178
JAMES FILIAGGI     960 LIVERMORE LN                                                                               ELYRIA             OH     44035‐3014
JAMES FILIPIAK     7413 S SHERIDAN AVE                                                                            DURAND             MI     48429‐9301
JAMES FILKINS      11601 N MAIN ST                                                                                WHITMORE LAKE      MI     48189‐9117
JAMES FINCH        956 PINECONE DR                                                                                HOWELL             MI     48843‐8464
JAMES FINCH        21212 SKAGG CITY RD                                                                            TECUMSEH           OK     74873‐7201
JAMES FINCHAM      5302 PINECREST AVE                                                                             YOUNGSTOWN         OH     44515‐4046
JAMES FINDLAY      7497 TIMBERLANE DR                                                                             FISHERS            IN     46038‐1801
JAMES FINKLER      5334 FREDELIA DR                                                                               TOLEDO             OH     43623‐1528
JAMES FINLAYSON    1036 WINDYWOOD DR                                                                              SAINT HELEN        MI     48656‐9531
JAMES FINLAYSON    BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
JAMES FINLEY       190 COTTONWOOD LN                                                                              TROY               MO     63379‐2221
JAMES FINLEY       4024 OAKFIELD DR                                                                               INDIANAPOLIS       IN     46237‐3850
JAMES FINLEY       10801 S EMERALD AVE                                                                            CHICAGO             IL    60628‐3121
JAMES FINN         691 WHITNEY DR                                                                                 ROCHESTER HILLS    MI     48307‐2864
JAMES FINN         7495 N HIX RD                                                                                  WESTLAND           MI     48185‐1954
JAMES FINNEY       BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
JAMES FINUCAN      2523 SHERWOOD DR                                                                               JANESVILLE         WI     53545‐0426
JAMES FINZEL       27974 GAINES MILL WAY                                                                          FARMINGTN HLS      MI     48331‐3107
JAMES FIOLEK       7316 BEARDSLEY ST                                                                              ENGLEWOOD          FL     34224‐8557
JAMES FIORAVANTI   136 FILBERT AVE                                                                                WILMINGTON         DE     19805‐2538
JAMES FIORITA JR   4163 WOOD ACRE DR                                                                              BELLBROOK          OH     45305‐1342
JAMES FIREBAUGH    70 EGRET DR                                                                                    UNION HALL         VA     24176‐4122
JAMES FISCHER      1827 MENOMINEE DR SE                                                                           GRAND RAPIDS       MI     49506‐5213
JAMES FISCHER      460 ASH RDG                                                                                    MASON              MI     48854‐2540
JAMES FISCHER      585 WYNGATE DR                                                                                 ROCHESTER          MI     48307‐6014
JAMES FISCHER      11085 HILLVIEW TRAIL                                                                           VANDERBILT         MI     49795‐8500
JAMES FISCHER      14558 BALDWIN RD                                                                               CHESANING          MI     48616‐9557
JAMES FISETTE      224 MADISON ST                                                                                 VASSAR             MI     48768‐1220
JAMES FISH         562 SHALIMAR ST                                                                                THE VILLAGES       FL     32162‐1642
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JAMES FISH             722 CINDY LN                                                                                   WEST SENECA        NY     14224‐2428
JAMES FISH JR          12182 COLDWATER RD                                                                             COLUMBIAVILLE      MI     48421‐8809
JAMES FISHEL           14 BAR D DR                                                                                    PALM DESERT        CA     92260‐6402
JAMES FISHER           1 NORTHERN HILLS DR              WESTERN HILLS                                                 BEDFORD            IN     47421‐7498
JAMES FISHER           192 FISHER RD                                                                                  GROSSE POINTE      MI     48230‐1276
                                                                                                                      FARMS
JAMES FISHER           21513 PARKVIEW DR                                                                              DEFIANCE          OH      43512‐6815
JAMES FISHER           634 POWERS AVE                                                                                 GIRARD            OH      44420‐2348
JAMES FISHER           5902 GOLDRUSH AVE                                                                              GRANT             FL      32949‐8233
JAMES FISHER           4592 FITZGERALD AVE                                                                            AUSTINTOWN        OH      44515‐4427
JAMES FISHER           2361 STOCKMEYER BLVD                                                                           WESTLAND          MI      48186‐9326
JAMES FISHER           235 APOLLO BEACH BLV.            SUITE 248                                                     APOLLO BEACH      FL      33572
JAMES FISHER           277 LAKEWOOD LN                                                                                MARQUETTE         MI      49855‐9508
JAMES FISHER           302 ELMREST ST                                                                                 CADILLAC          MI      49601‐9255
JAMES FISHER           5280 S GRAHAM RD                                                                               SAINT CHARLES     MI      48655‐8528
JAMES FISHER           2433 ANNA CLARA CT                                                                             SWARTZ CREEK      MI      48473‐9792
JAMES FISHER           8750 EDGAR CT                                                                                  CLARKSTON         MI      48346‐1916
JAMES FISHER           201 RIDGECREST DR                                                                              TUTTLE            OK      73089‐8558
JAMES FISHER           9300 MILL CREEK RD                                                                             TILLAMOOK         OR      97141‐8275
JAMES FISHER           678 BUDLONG ST                                                                                 ADRIAN            MI      49221‐1408
JAMES FISS             PO BOX 58                                                                                      ROYALTON          IL      62983‐0058
JAMES FISTLER          48415 LAMPLIGHTER TRL                                                                          MACOMB            MI      48044‐1432
JAMES FITCH            2014 LELAND AVE                                                                                BALTIMORE         MD      21220‐3928
JAMES FITCH            1269 WYSONG RD                                                                                 WEST ALEXANDRIA   OH      45381‐9736

JAMES FITCH            28540 27 MILE RD                                                                               LENOX             MI      48048‐1707
JAMES FITCHETT         1544 HICKORY LN                                                                                CARO              MI      48723‐1327
JAMES FITTING BOWEN    26 FIELDCREST DR                                                                               PALMYRA           PA      17078‐9142
JAMES FITTRO           4916 WELBORN LN                                                                                KANSAS CITY       KS      66104‐2351
JAMES FITZGERALD       445 ELK LAKE RESORT RD LOT 15                                                                  OWENTON           KY      40359‐8107
JAMES FITZGERALD       12370 COSTER RD SW                                                                             FIFE LAKE         MI      49633‐9474
JAMES FITZGERALD III   6353 LAMPKINS BRIDGE RD                                                                        COLLEGE GROVE     TN      37046‐9152
JAMES FITZGERALD JR    PO BOX 238                                                                                     IRVINE            KY      40336‐0238
JAMES FITZPATRICK      8015 BELMONT CT                                                                                NAPLES            FL      34113‐2671
JAMES FITZSIMMONS      7808 BIRKENSTOCK DR                                                                            BRIGHTON          MI      48114‐7323
JAMES FITZSIMMONS      98 E VIOLETTE DR                                                                               NEW CASTLE        DE      19720‐7610
JAMES FITZWATER        APT 230                          610 CROWNPOINTE DRIVE                                         LEBANON           IN      46052‐8620
JAMES FIZELL           G6084 S DUFFIELD RD                                                                            SWARTZ CREEK      MI      48473
JAMES FLAGG            3180 S THORNAPPLE LN                                                                           NEW BERLIN        WI      53146‐2723
JAMES FLANAGAN         408 OXMOOR LAKE DR                                                                             MCDONOUGH         GA      30252‐4065
JAMES FLANEGAN         12609 ROSEMARY AVE                                                                             GRANT             MI      49327‐9632
JAMES FLANIGAN         8630 ANDERSONVILLE RD                                                                          CLARKSTON         MI      48346‐2520
JAMES FLANIGAN         7064 HILLSBORO RD                                                                              BONNE TERRE       MO      63628‐3489
JAMES FLANNERY         2037 HOMESITE DR                                                                               DAYTON            OH      45414‐4019
JAMES FLANNERY         41 MISSOURI AVE                                                                                DAYTON            OH      45410‐2013
JAMES FLANNERY         2374 TANDY DR                                                                                  FLINT             MI      48532‐4958
JAMES FLANNIGAN        8970 LISMORE CT                                                                                WEEKI WACHEE      FL      34613‐5147
JAMES FLASK            4331 STATE ROUTE 87                                                                            FARMDALE          OH      44417‐9732
JAMES FLATTERY         12 KINGSWAY DR                                                                                 WENTZVILLE        MO      63385‐4846
JAMES FLAVIN           1005 LAKEMONT DR                                                                               BRIDGEVILLE       PA      15017
JAMES FLECK            3454 S CADMIUM LOOP                                                                            TUCSON            AZ      85735‐9000
JAMES FLECKER          105 CARDINAL LN                                                                                ALEXANDRIA        IN      46001‐8104
JAMES FLEENOR          229 N 6TH ST                                                                                   ELWOOD            IN      46036‐1440
JAMES FLEES            13091 BLACKWOOD DR                                                                             DEWITT            MI      48820‐8111
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Name                Address1                        Address2                     Address3   Address4               City              State   Zip
JAMES FLEMING       7801 POORMAN RD                                                                                BATTLE CREEK       MI     49017‐9426
JAMES FLEMING       11205 DAVISBURG RD                                                                             DAVISBURG          MI     48350‐2619
JAMES FLEMING       10270 WHISTLER PKWY                                                                            HOLLY              MI     48442‐8588
JAMES FLEMING       1330 TWP RD 1536 R 1                                                                           ASHLAND            OH     44805
JAMES FLEMING       498 TAUNTON PL                                                                                 BUFFALO            NY     14216‐2022
JAMES FLEMING       9442 COLLINSVILLE MARTIN RD                                                                    COLLINSVILLE       MS     39325‐9376
JAMES FLEMING       BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
JAMES FLEMING JR    1134 N KNIGHT RD                                                                               ESSEXVILLE         MI     48732‐8600
JAMES FLEMING JR.   1137 JOHN DALY ST                                                                              INKSTER            MI     48141‐1991
JAMES FLESZAR       6104 ARDMORE PARK ST                                                                           DEARBORN HTS       MI     48127‐3928
JAMES FLETCHER      11167 ARLINGTON RD                                                                             BROOKVILLE         OH     45309‐9633
JAMES FLETCHER      223 TOM FLETCHER RD                                                                            CARROLLTON         GA     30117‐9666
JAMES FLETCHER      7001 11TH AVE W                                                                                BRADENTON          FL     34209‐4065
JAMES FLETCHER      1341 HOBBS DR                                                                                  ALPENA             MI     49707‐3917
JAMES FLETCHER      424 E COLUMBIA AVE                                                                             PONTIAC            MI     48340‐2860
JAMES FLICK         10216 E MAPLE AVE                                                                              DAVISON            MI     48423‐8723
JAMES FLINN         945 SOUTHERN HILLS DR                                                                          RICHMOND           NY     40475‐3410
JAMES FLINT         546 PLEASANT VALLEY RD                                                                         POTSDAM            NY     13676‐3213
JAMES FLINT         733 TERRYTOWN TR                                                                               PORT ORANGE        FL     32127
JAMES FLINT         6126 PREBLE COUNTY LINE RD                                                                     BROOKVILLE         OH     45309‐7710
JAMES FLISS         67254 HAVEN RIDGE RD                                                                           LENOX              MI     48050‐1224
JAMES FLISTER       419 S MILTON SHOPIERE RD                                                                       JANESVILLE         WI     53546‐9767
JAMES FLOATE        2034 VANDECARR RD                                                                              OWOSSO             MI     48867‐9756
JAMES FLOCK         2817 N EMERALD GROVE RD                                                                        MILTON             WI     53563‐8615
JAMES FLONOURY      405 WILDMILLER DR                                                                              BRUNDIDGE          AL     36010
JAMES FLOOD         330 N ELEVATOR RD                                                                              LINWOOD            MI     48634‐9467
JAMES FLOOD JR      727 GENEVA AVE                                                                                 ROMEOVILLE          IL    60446‐1153
JAMES FLOREA        7371 E 200 N                                                                                   MARION             IN     46952‐6740
JAMES FLORENTINE    3573 CEMETERY LN                                                                               WESTMINSTER        MD     21158‐2024
JAMES FLORES        1709 BORTON AVENUE                                                                             ESSEXVILLE         MI     48732‐1311
JAMES FLORIAN       6405 W. NORTH COUNTY LINE RD.                                                                  SHEPHERD           MI     48883
JAMES FLORO         5213 SKADDEN RD                                                                                SANDUSKY           OH     44870‐9758
JAMES FLOSDORF      2579 TAMPA DR                                                                                  WOLVERINE LAKE     MI     48390‐2165
JAMES FLOURNOY      PO BOX 1742                                                                                    SAGINAW            MI     48605‐1742
JAMES FLOWER        123 MANITOBA LN                                                                                MOORESVILLE        NC     28117‐5822
JAMES FLOWERS       4690 AMBER LN                                                                                  DIMONDALE          MI     48821‐9309
JAMES FLOWERS       8880 MAYO CT                                                                                   ONSTED             MI     49265‐9410
JAMES FLOWERS       605 N 26TH ST                                                                                  NEW CASTLE         IN     47362‐3731
JAMES FLOWERS       127 N COUNTY ROAD 600 W                                                                        NEW CASTLE         IN     47362‐8608
JAMES FLOWERS       915 PERSHING ST                                                                                FLINT              MI     48503‐3527
JAMES FLOWERS       RR 2 BOX 151                                                                                   OKEMAH             OK     74859‐9519
JAMES FLOWERS       418 PINEHURST DR                                                                               ROCHESTER HILLS    MI     48309‐1243
JAMES FLOWERS       BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
JAMES FLOWERS JR    1730 NEWPORT GAP PIKE                                                                          WILMINGTON         DE     19808‐6120
JAMES FLOWERS SR    9335 HILLSIDE CT                                                                               DAVISON            MI     48423‐8420
JAMES FLOYD         1829 KING GEORGE LN SW                                                                         ATLANTA            GA     30331‐4913
JAMES FLOYD         7845 W. 45TH PL.                                                                               LYONS               IL    60534
JAMES FLOYD         7308 CLARK RD                                                                                  ATWATER            OH     44201
JAMES FLY           708 CASPIAN WAY                                                                                GRAND PRAIRIE      TX     75052‐2554
JAMES FLYE          1801 E BUTLER ST                                                                               MUNCIE             IN     47303‐3213
JAMES FLYE JR       1765 S 700 W                                                                                   ANDERSON           IN     46011‐9441
JAMES FLYNN         29 ERNEST ST                                                                                   HOLBROOK           MA     02343‐1566
JAMES FLYNN         2602 JOLIET ST                                                                                 JANESVILLE         WI     53546‐5447
JAMES FOCHT         1945 JAMES ST                                                                                  NILES              OH     44446‐3919
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Name                                  Address1                         Address2                      Address3   Address4               City            State   Zip
JAMES FOERSTER                        PO BOX 102                                                                                       BIRCH RUN        MI     48415‐0102
JAMES FOGARTY                         1545 KINGSTON CT                                                                                 MARCO ISLAND     FL     34145‐4109
JAMES FOGLE JR                        2701 SENECA ST                                                                                   FLINT            MI     48504‐5106
JAMES FOLEY JR                        7116 W ANTON WAY                                                                                 NEW PALESTINE    IN     46163‐9562
JAMES FOLK                            10645 N BAY SHORE LN                                                                             MILTON           WI     53563‐8939
JAMES FOLLIS                          23229 CLEVELAND ST                                                                               DEARBORN         MI     48124‐2551
JAMES FOLTZ                           14318 GOOSENECK LAKE OO DR # 0                                                                   MANISTIQUE       MI     49854‐8500
JAMES FOLTZ                           30 ROGERS AVE                                                                                    LOCKPORT         NY     14094‐2520
JAMES FONCE                           25 S ABINGTON AVE                                                                                BALTIMORE        MD     21229‐3705
JAMES FONCE                           2631 STILLWAGON RD SE                                                                            WARREN           OH     44484‐3179
JAMES FONDAW                          1612 LA SALLE BLVD                                                                               HIGHLAND         MI     48356‐2746
JAMES FONGER                          5545 N SEYMOUR RD                                                                                FLUSHING         MI     48433‐1036
JAMES FONTAINE                        1182 PEEBLES DR                                                                                  SMYRNA           TN     37167‐5730
JAMES FONTANA                         11823 SENECA DR                                                                                  WARREN           MI     48093‐1805
JAMES FOOTE                           2796 NUGENT RD                                                                                   FRANKFORT        MI     49635‐9344
JAMES FORBES                          2608 NW ORDWAY AVE                                                                               BEND             OR     97701
JAMES FORBES                          857 ACORN WAY                                                                                    NAPA             CA     94558‐1226
JAMES FORBES                          840 MAPLE RD                                                                                     ORTONVILLE       MI     48462‐8810
JAMES FORBUS                          3981 BEECH HILL RD                                                                               PULASKI          TN     38478‐7217
JAMES FORD                            9815 PENNINE CT                                                                                  SHREVEPORT       LA     71118‐4841
JAMES FORD                            579 W HARRISON ST                                                                                CHANDLER         AZ     85225‐6749
JAMES FORD                            14 CREE CT                                                                                       RANDALLSTOWN     MD     21133‐1734
JAMES FORD                            PO BOX 380                                                                                       MONROE           LA     71210‐0380
JAMES FORD                            830 BAIRD ST                                                                                     HOLLY            MI     48442‐1705
JAMES FORD                            20444 AUDREY ST                                                                                  DETROIT          MI     48235‐1630
JAMES FORD                            411 E STATE ST                                                                                   CENTERVILLE       IA    52544‐1833
JAMES FORD                            2995 GLYNN CT                                                                                    DETROIT          MI     48206‐1619
JAMES FORD                            2214 W 1100 N‐90                                                                                 MARKLE           IN     46770‐9764
JAMES FORD                            THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                     HOUSTON          TX     77017
JAMES FORD JR                         PO BOX 103                                                                                       SHELDON          SC     29941‐0103
JAMES FOREHAND                        60 ELLSINORE ST                                                                                  ROCHESTER        NY     14606‐2006
JAMES FOREHAND                        23050 TOONE RD                                                                                   ELKMONT          AL     35620‐4926
JAMES FORLENZA                        42 LAKE VIEW TER                                                                                 COLUMBUS         NJ     08022‐1035
JAMES FORMBY                          PO BOX 251                                                                                       SILVER CREEK     GA     30173‐0251
JAMES FORMICA                         48226 BINGHAMPTON CT                                                                             NORTHVILLE       MI     48168‐8685
JAMES FORNASH                         19965 SALEM ST                                                                                   DETROIT          MI     48219‐1044
JAMES FORNY, MANAGER, CLOSED SITES,   3965 OKEMOS RD STE B4                                                                            OKEMOS           MI     48864‐4206
WASTE MANAGEMENT, INC.
JAMES FORREST                         9687 WOODBURY RD                                                                                 LAINGSBURG      MI      48848‐8727
JAMES FORREST                         9171 CHATWELL CLUB LN APT 15                                                                     DAVISON         MI      48423‐2836
JAMES FORREST                         5910 WILSON RD RT #3                                                                             LANCASTER       OH      43130
JAMES FORSTER                         527 PARK VW                                                                                      CLIO            MI      48420‐1473
JAMES FORSYTH                         1926 WINGATE WAY                                                                                 HAYWARD         CA      94541‐3133
JAMES FORSYTH                         14342 N GENESEE RD                                                                               CLIO            MI      48420‐9153
JAMES FORSYTH SR                      2494 BEECH ST                                                                                    GIRARD          OH      44420‐3101
JAMES FORSYTHE                        248 W MCLELLAN RD                                                                                BOWLING GREEN   KY      42101‐8891
JAMES FORSYTHE                        905 E KING ST                                                                                    OWOSSO          MI      48867‐2411
JAMES FORT JR                         2419 WILLARD ST                                                                                  SAGINAW         MI      48602‐3410
JAMES FORTE                           3421 SANTA CLARA CT                                                                              FLINT           MI      48504‐3234
JAMES FORTIN                          7200 W EMERY RD                                                                                  HOUGHTON LAKE   MI      48629‐9055
JAMES FORTNER                         4811 WESTCHESTER DR APT 201                                                                      AUSTINTOWN      OH      44515‐2504
JAMES FORTNEY JR                      26 SYLVAN DR                                                                                     MONROE          MI      48162‐3125
JAMES FORTON                          31170 GOLDEN OAK DR                                                                              CHESTERFIELD    MI      48047‐4695
JAMES FORTSON SR                      8325 ARDSLEY DR                                                                                  SAINT LOUIS     MO      63121‐4524
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Name              Address1                       Address2                      Address3     Address4               City              State   Zip
JAMES FORYSTEK    4655 BEECH CT                                                                                    CANFIELD           OH     44406‐8097
JAMES FOSS        241 GADUSI WAY                                                                                   LOUDON             TN     37774‐6823
JAMES FOSS        28479 ROSSLYN AVE                                                                                GARDEN CITY        MI     48135‐2763
JAMES FOSTER      ATTN MICHAEL C SHEPARD         THE SHEPARD LAW FIRM PC       10 HIGH ST                          BOSTON             MA     02110
JAMES FOSTER      586 STABLE ST                                                                                    PATASKALA          OH     43062‐7066
JAMES FOSTER      202 RIVERSIDE DR                                                                                 DETROIT            MI     48215‐3011
JAMES FOSTER      5900 OLD OCEAN BLVD APT B2                                                                       OCEAN RIDGE        FL     33435‐6228
JAMES FOSTER      2581 W KEMPER RD                                                                                 CINCINNATI         OH     45231‐1153
JAMES FOSTER      325 LAKE BREEZE CV                                                                               EASTLAKE           OH     44095‐1965
JAMES FOSTER      12514 UNION PLEASANT RD                                                                          VAN WERT           OH     45891‐9498
JAMES FOSTER      14668 DOHONEY RD                                                                                 DEFIANCE           OH     43512‐6963
JAMES FOSTER      1049 THOMAS RD                                                                                   GLEN BURNIE        MD     21060‐7368
JAMES FOSTER      7816 ACORN WAY                                                                                   MARYVILLE          TN     37801‐1556
JAMES FOSTER      2340 BERKLEY CT                                                                                  SAGINAW            MI     48601‐2064
JAMES FOSTER      4604 MANN RD                                                                                     INDIANAPOLIS       IN     46221‐3305
JAMES FOSTER      8305 CAMELOT CT                                                                                  MOUNT MORRIS       MI     48458
JAMES FOSTER      15401 W CTY RD 11 N                                                                              SUMMITVILLE        IN     46070
JAMES FOSTER      18292 GAYLORD                                                                                    REDFORD            MI     48240‐1903
JAMES FOSTER      10329 NIXON R 2                                                                                  GRAND LEDGE        MI     48837
JAMES FOSTER      123 CLUBHOUSE DR                                                                                 WEST COLUMBIA      SC     29172‐2587
JAMES FOSTER      1029 HIGHWAY EE                                                                                  WINFIELD           MO     63389‐2105
JAMES FOSTER      15409 PARKGROVE AVE                                                                              CLEVELAND          OH     44110‐1309
JAMES FOSTER      1983 JEFFERSON AVE                                                                               DEFIANCE           OH     43512
JAMES FOTI        73 LORELEE DR                                                                                    TONAWANDA          NY     14150‐4319
JAMES FOTI        13855 W THOMAS DR                                                                                NEW BERLIN         WI     53151‐5346
JAMES FOUNTAIN    1320 E 152ND ST                                                                                  E CLEVELAND        OH     44112‐2015
JAMES FOUNTAINE   19978 PREST ST                                                                                   DETROIT            MI     48235‐1807
JAMES FOUQUET     93 BROOKRIDGE DR                                                                                 ROCHESTER          NY     14616‐3530
JAMES FOUTS       5122 FOREST SIDE DR                                                                              FLINT              MI     48532‐2329
JAMES FOWBLE      785 KETTLE PATH                                                                                  SOUTHINGTON        CT     06489‐3405
JAMES FOWLER      807 RIDGELAWN AVE                                                                                HAMILTON           OH     45013‐2709
JAMES FOWLER      143 BRADY CREEK RD                                                                               BALDWIN            GA     30511‐3800
JAMES FOWLER      26 SUNRISE DR SE                                                                                 CARTERSVILLE       GA     30121‐5025
JAMES FOWLER      216 ELDON DR NW                                                                                  WARREN             OH     44483‐1344
JAMES FOWLER      2151 LEBOURDAIS RD                                                                               LINWOOD            MI     48634
JAMES FOWLER      11034 LAPEER RD                                                                                  DAVISON            MI     48423‐8118
JAMES FOWLER      367 FARMERS HOLLOW RD                                                                            CLINTON            TN     37716‐5913
JAMES FOWLKES     221 SHORT CT                                                                                     SNEADS FERRY       NC     28460‐9432
JAMES FOX         1440 OAK LEAF DR                                                                                 COLUMBIA           TN     38401‐8803
JAMES FOX         2518 KENTWOOD DR                                                                                 SHELBY TOWNSHIP    MI     48316‐3886
JAMES FOX         6491 ANSLOW DR                                                                                   TROY               MI     48098‐2165
JAMES FOX         7913 BELLE BRAE RD                                                                               IRA                MI     48023‐2703
JAMES FOX         2825 STOCKMAN CT                                                                                 LANSING            MI     48906‐2856
JAMES FOX         311 ORCHARD ST                                                                                   GRAND LEDGE        MI     48837‐1207
JAMES FOX         7619 PONTIAC LAKE RD                                                                             WATERFORD          MI     48327‐1428
JAMES FOX         8856 N 700 E                                                                                     SHERIDAN           IN     46069‐8854
JAMES FOX         263 WOODLAND RD                                                                                  WINDER             GA     30680‐1731
JAMES FOX         5610 E STATE BLVD                                                                                FORT WAYNE         IN     46815‐7477
JAMES FOX         19900 NEWSOM RD                                                                                  NEWALLA            OK     74857‐8064
JAMES FOX         THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                                       HOUSTON            TX     77017
JAMES FOX I I     1832 W ELLIS RD                                                                                  GRIFFIN            GA     30223‐7054
JAMES FOX JR      2093 BRIGGS ST                                                                                   WATERFORD          MI     48329‐3701
JAMES FOXWORTH    272 DAVIDSON AVE                                                                                 BUFFALO            NY     14215‐2335
JAMES FRACOL      5511 N LUCERNE AVE                                                                               KANSAS CITY        MO     64151‐3102
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Name                             Address1                       Address2                    Address3          Address4               City               State   Zip
JAMES FRALEY                     58128 DULWICH                                                                                       WASHINGTON          MI     48094‐2715
JAMES FRALEY                     PO BOX 449                                                                                          WHITE PINE          TN     37890‐0449
JAMES FRALEY                     2817 WHITEHORSE AVE                                                                                 DAYTON              OH     45420‐3922
JAMES FRAMPTON                   153 OAKHILL RD                                                                                      CARLISLE            PA     17015‐8929
JAMES FRANCE                     2011 TEGGERDINE RD                                                                                  WHITE LAKE          MI     48386‐1753
JAMES FRANCES                    PO BOX 2581                                                                                         GREENVILLE          NC     27836‐0581
JAMES FRANCIS                    1888 ARTHUR ST                                                                                      WESTLAND            MI     48185‐3574
JAMES FRANCIS                    17100 TAMIAMI TRL LOT 226                                                                           PUNTA GORDA         FL     33955‐7140
JAMES FRANCIS                    17635 STUBBS STATION RD                                                                             CAMDEN POINT        MO     64018‐9068
JAMES FRANCIS                    12556 OAK AVE                                                                                       GRANT               MI     49327‐8894
JAMES FRANCIS KENNEDY            8215 CYPRESSWOOD DR APT 3305                                                                        SPRING              TX     77379‐7766
JAMES FRANCIS NORFUL             C/O WEITZ AND LUXENBERG PC     700 BROADWAY                                                         NEW YORK CITY       NY     10003
JAMES FRANCIS NORFUL             WEITZ & LUXENBERG P C          700 BROADWAY                                                         NEW YORK CITY       NY     10003
JAMES FRANCIS WHITESEL (CHILD)   JAMES WHITESEL                 2650 SOLAR DRIVE                                                     LAKE ORION          MI     48360
JAMES FRANCISCO                  6119 GROVE AVE                                                                                      GRAND BLANC         MI     48439‐5047
JAMES FRANCKA                    6401 E CLINTON TRL                                                                                  EATON RAPIDS        MI     48827‐9004
JAMES FRANK                      4253 LIN DR                                                                                         STERLING HTS        MI     48310‐3352
JAMES FRANK                      743 W HAMLIN RD                                                                                     ROCHESTER HLS       MI     48307‐3434
JAMES FRANK                      PO BOX 385                                                                                          MAYVILLE            MI     48744‐0385
JAMES FRANK                      196 QUAIL LN                                                                                        GRAND BLANC         MI     48439‐7011
JAMES FRANK                      1046 HOLTON WHITEHALL RD                                                                            WHITEHALL           MI     49461‐9110
JAMES FRANK                      9208 PERE AVE                                                                                       LIVONIA             MI     48150‐3341
JAMES FRANK                      9800 FRDERICKSBURG ROAD                                                                             SAN ANTONIO         TX     78288‐0001
JAMES FRANK A (404422)           GUY WILLIAM S                  PO BOX 509                                                           MCCOMB              MS     39649‐0509
JAMES FRANKENBERGER              PO BOX 1353                                                                                         WALKER              MN     56484‐1353
JAMES FRANKLIN                   6078 NEFF RD                                                                                        MOUNT MORRIS        MI     48458‐2746
JAMES FRANKLIN                   2025 ALHAMBRA CT                                                                                    ANDERSON            IN     46013‐2533
JAMES FRANKLIN                   2834 PADDINGTON DR SE                                                                               KENTWOOD            MI     49512‐8088
JAMES FRANKLIN                   915 DUNCAN ST                                                                                       DENTON              TX     76205‐7909
JAMES FRANKLIN                   1333 BOGARD LN                                                                                      LEWISVILLE          TX     75077‐7678
JAMES FRANKLIN                   1108 HEARTHSTONE DR                                                                                 BURLESON            TX     76028‐0303
JAMES FRANKLIN ALEXANDER         MOTLEY RICE LLC                28 BRIDGESIDE BLVD          P O BOX 1792                             MT PLEASANT         SC     29465
JAMES FRANKLIN JR                C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                            HOUSTON             TX     77007
                                 BOUNDAS LLP
JAMES FRANKO                     8114 N W 100TH TRR                                                                                  TAMARAC            FL      33321
JAMES FRANKS                     3026 ROCKEFELLER RD                                                                                 WILLOUGHBY HILLS   OH      44092‐1428

JAMES FRANKS                     61 E MAIN ST                   PO BOX 153                                                           JEROMESVILLE       OH      44840‐9663
JAMES FRANKS JR                  22301 GUIDOT ST                                                                                     TAYLOR             MI      48180‐2485
JAMES FRANTJESKOS                1365 WESTCHESTER ST                                                                                 WESTLAND           MI      48186‐5346
JAMES FRANZEN                    2632 SENECA DR                                                                                      JACKSONVILLE       FL      32259‐2118
JAMES FRAS                       G 6160 W MT MORRIS RD                                                                               MOUNT MORRIS       MI      48458
JAMES FRASE                      2431 BRIAR CREEK LN                                                                                 BURTON             MI      48509‐1396
JAMES FRASER                     4614 UNITY LINE RD                                                                                  NEW WATERFORD      OH      44445‐9703
JAMES FRATERNALI                 53148 SHERWOOD LN                                                                                   SHELBY TOWNSHIP    MI      48315‐2040
JAMES FRAZER                     16916 NUCLEAR PLANT RD                                                                              ATHENS             AL      35611‐5922
JAMES FRAZIER                    4018 LOOP DR                                                                                        ENGLEWOOD          OH      45322‐2661
JAMES FRAZIER                    3962 KEMP RD                                                                                        DAYTON             OH      45431‐2310
JAMES FRAZIER                    330 BETHANY DR                                                                                      HASTINGS           MI      49058‐8282
JAMES FRAZIER                    344 MCKEES ROCK LN                                                                                  LAWRENCEVILLE      GA      30044‐5004
JAMES FRAZIER JR                 912 MIMOSA ST                                                                                       BURKBURNETT        TX      76354‐2625
JAMES FRAZON                     9443 E MICHIGAN AVE                                                                                 SUN LAKES          AZ      85248‐6543
JAMES FRED STANTON               WEITZ & LUXENBERG PC           700 BROADWAY                                                         NEW YORK CITY      NY      10003
JAMES FREDERIC                   NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT    205 LINDA DRIVE                          DAINGERFIELD       TX      75638
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Name                          Address1                           Address2            Address3         Address4               City              State   Zip
JAMES FREDERICK               8218 CLAY CT                                                                                   STERLING HTS       MI     48313‐4602
JAMES FREDERICK               1800 PARMENTER RD                                                                              CORUNNA            MI     48817‐9563
JAMES FREDERICK POE JR TTEE   JAMES FREDERICK POE JR REV TRUST   PO BOX 2576                                                 LITTLE ROCK        AR     72203‐2576
JAMES FREDERICKS              5528 MCLAIN DR                                                                                 SYLVANIA           OH     43560‐2512
JAMES FREDRYK                 30958 STONE RIDGE DR APT 13302                                                                 WIXOM              MI     48393‐3872
JAMES FREE                    2896 KINGS CORNERS RD E                                                                        LEXINGTON          OH     44904‐9535
JAMES FREEBURY                548 THOMPSON RD                                                                                UNIONVILLE         TN     37180‐8739
JAMES FREELAND                1121 S CRUZEN RD                                                                               HARRISVILLE        MI     48740‐9523
JAMES FREELAND                984 W BARNES RD                                                                                FOSTORIA           MI     48435‐9713
JAMES FREELAND                1833 SALEM RD                                                                                  MINFORD            OH     45653‐8710
JAMES FREELS                  5144 N DAYTON LAKEVIEW RD                                                                      NEW CARLISLE       OH     45344‐9489
JAMES FREEMAN                 1339 FROMM DR                                                                                  SAGINAW            MI     48638‐5420
JAMES FREEMAN                 2201 IVY DR                                                                                    ANDERSON           IN     46011‐3826
JAMES FREEMAN                 2407 BLACK FOREST TRL SW                                                                       ATLANTA            GA     30331‐2703
JAMES FREEMAN                 664 W GEORGIA AVE                                                                              SEBRING            OH     44672‐1817
JAMES FREEMAN                 314 RANDALL AVE                                                                                BELLEVUE           OH     44811‐1861
JAMES FREEMAN                 2832 N LOCKE ST                                                                                KOKOMO             IN     46901‐1512
JAMES FREEMAN                 5305 N HENDERSON RD                                                                            DAVISON            MI     48423‐8402
JAMES FREEMAN                 3029 128TH AVE                                                                                 ALLEGAN            MI     49010‐9227
JAMES FREEMAN JR              317 ELLENWOOD DR                                                                               WEST CARROLLTON    OH     45449‐2126

JAMES FREESE                  2638 ARMOUR ST                                                                                 PORT HURON        MI      48060‐2907
JAMES FREESE JR               2638 ARMOUR ST                                                                                 PORT HURON        MI      48060‐2907
JAMES FREIER                  122 SUNBURST DR                                                                                FAIRBORN          OH      45324‐2533
JAMES FREIER                  12490 E WASHINGTON RD                                                                          REESE             MI      48757‐9715
JAMES FREITAG                 7655 W PLEASANT VALLEY RD                                                                      PARMA             OH      44130‐6109
JAMES FREITAS                 15156 FLEMING ST                                                                               SAN LEANDRO       CA      94579‐1716
JAMES FREITUS                 2649 RIVER WAY                                                                                 SPRING BRANCH     TX      78070‐5990
JAMES FRELITZ                 PO BOX 52                                                                                      OAKLEY            MI      48649‐0052
JAMES FRENCH                  701 W MCCONNELL ST                                                                             SAINT JOHNS       MI      48879‐1743
JAMES FRENCH                  3801 S SCISCOE RD                                                                              MUNCIE            IN      47302‐9007
JAMES FRENCH JR               1950 ANDOVER DR                                                                                YPSILANTI         MI      48198‐9411
JAMES FRERICH                 9193 E LIPPINCOTT BLVD                                                                         DAVISON           MI      48423‐8330
JAMES FREUND                  205 PROSPECT AVE                                                                               MORRISVILLE       PA      19067‐1133
JAMES FREVERT                 3825 SW WINDSONG DR                                                                            LEES SUMMIT       MO      64082‐4049
JAMES FREY                    111 SHINING MOUNTAINS LOOP RD                                                                  ENNIS             MT      59729‐9153
JAMES FREY                    242 PARKVIEW RD                                                                                WARM SPRINGS      AR      72478‐9071
JAMES FRIEDL                  7935 RANCH ESTATES RD                                                                          CLARKSTON         MI      48348‐4026
JAMES FRIEL                   5653 LEISING RD                                                                                DAYTON            OH      45432‐3809
JAMES FRIEL                   5409 LIPIZZAN LN                                                                               PLAINFIELD        IN      46168‐8465
JAMES FRIES                   130 5TH AVE                                                                                    BALTIMORE         MD      21227‐3132
JAMES FRIIS                   1326 S WALNUT ST                                                                               JANESVILLE        WI      53546‐5545
JAMES FRITH                   21566 LIME HILL RD                                                                             BRISTOL           VA      24202‐1956
JAMES FRITTS                  3628 MILDRED AVE                                                                               ROCHESTER HILLS   MI      48309‐4264
JAMES FRITTS                  2813 TRIMBLE RD                                                                                TOLEDO            OH      43613‐2513
JAMES FRITTS                  8511 ALPINE ST                                                                                 DETROIT           MI      48204‐3306
JAMES FRITZ                   3554 CENTER DR                                                                                 GREENVILLE        OH      45331‐3004
JAMES FRITZ                   20121 AVALON ST                                                                                ST CLAIR SHRS     MI      48080‐1788
JAMES FRIZZELL                1309 N DORIS AVE                                                                               NEWCASTLE         OK      73065‐4044
JAMES FROBE                   33563 BEECHNUT ST                                                                              WESTLAND          MI      48186‐7828
JAMES FROEHNER                624 S US 23                                                                                    HARRISVILLE       MI      48740‐9584
JAMES FROLKA                  865 VIEWLAND DR                                                                                ROCHESTER HILLS   MI      48309‐2578
JAMES FROMAN                  PO BOX 58                                                                                      CEDAR SPRINGS     MI      49319‐0058
JAMES FRON                    270 SOUTHVIEW DR                                                                               DELRAN            NJ      08075‐1924
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Name                Address1                           Address2                     Address3   Address4               City             State   Zip
JAMES FROST         2472 VALLEY CHURCH DR                                                                             CLIO              MI     48420‐9722
JAMES FROST         1380 WIENEKE RD                                                                                   SAGINAW           MI     48638‐7372
JAMES FROST         1126 W WHITTEMORE AVE                                                                             FLINT             MI     48507‐3644
JAMES FROST         4844 MARSH FIELD RD                                                                               SARASOTA          FL     34235‐5613
JAMES FROST JR      1575 S FENMORE RD                                                                                 MERRILL           MI     48637‐8705
JAMES FRY           2208 HOMESITE DR                                                                                  DAYTON            OH     45414‐4024
JAMES FRY           4431 DARLA DR                                                                                     BAY CITY          MI     48706‐2520
JAMES FRYAR         115 FLORIDA ST LOWR                                                                               BUFFALO           NY     14208
JAMES FRYDENLUND    503 2ND ST                                                                                        ALBANY            WI     53502‐9506
JAMES FRYE          7054 W 300 N                                                                                      ANDERSON          IN     46011‐9129
JAMES FRYE          14222 N STATE ROAD 9                                                                              SUMMITVILLE       IN     46070‐9629
JAMES FRYE          76‐6230 PLUMERIA RD APT A                                                                         KAILUA KONA       HI     96740‐2248
JAMES FRYER         530 S CRESTLINE BLOOMINGGROVE RD                                                                  GALION            OH     44833‐9579
JAMES FRYMAN        3441 ROBIN AVE SW                                                                                 WYOMING           MI     49509‐3431
JAMES FRYMYER       BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.       OH     44236
JAMES FUCHS         34338 TONQUISH TRL                                                                                WESTLAND          MI     48185‐7041
JAMES FUCHS JR      1924 WOODBINE DR                                                                                  CANTON            MI     48188‐2654
JAMES FUDAY         13445 FOREST HILL RD                                                                              GRAND LEDGE       MI     48837‐9222
JAMES FUHR          3830 NW 82ND ST                                                                                   KANSAS CITY       MO     64151‐1822
JAMES FULCHER       3385 E DODGE RD                                                                                   CLIO              MI     48420‐9702
JAMES FULCHER       2711 MINTWOOD PL                                                                                  ARLINGTON         TX     76016‐1662
JAMES FULEKY        10042 JACKMAN RD                                                                                  TEMPERANCE        MI     48182‐9629
JAMES FULKERSON     404 SHORELINE DR                                                                                  DEWITT            MI     48820‐8753
JAMES FULKERSON     965 S JACKSON HWY                                                                                 HARDYVILLE        KY     42746‐8301
JAMES FULKS         4294 TUXEDO DR                                                                                    WARREN            MI     48092‐1119
JAMES FULKS         13600 SE 119TH ST                                                                                 OKLAHOMA CITY     OK     73165‐8802
JAMES FULLENKAMP    330 TRAILS WAY                                                                                    MIAMISBURG        OH     45342‐2784
JAMES FULLER        1806 E COUNTY ROAD 900 N                                                                          EATON             IN     47338‐9258
JAMES FULLER        12251 CARR RD ROUTE 2                                                                             SAINT CHARLES     MI     48655
JAMES FULLER        5949 WEISS ST APT 8                                                                               SAGINAW           MI     48603‐2873
JAMES FULLER        3740 COVE MEADOW LN                                                                               FORT WORTH        TX     76123‐2399
JAMES FULLER        200 MA COUNTY ROAD 3314                                                                           BIVINS            TX     75555‐5021
JAMES FULLER        640 JEAN RD                                                                                       TOLEDO            OH     43615‐4410
JAMES FULLER        32222 ANNAPOLIS ST                                                                                WAYNE             MI     48184‐2248
JAMES FULLMER       8100 N WAYLAND DR                                                                                 WEATHERBY LAKE    MO     64152‐1647
JAMES FULLWOOD JR   309 E TALL PINES CT                                                                               ABINGDON          MD     21009
JAMES FULSHER       1248 RIVER FOREST DRIVE                                                                           SAGINAW           MI     48638‐5976
JAMES FULTS         2779 E 600 S                                                                                      CRAWFORDSVILLE    IN     47933‐7997
JAMES FULTZ         225 ROUTE 36                                                                                      FRENCHBURG        KY     40322
JAMES FULTZ         2148 DOUBLE BRANCH RD                                                                             COLUMBIA          TN     38401‐6103
JAMES FUNK          3913 MEANDER DRIVE                                                                                MINERAL RIDGE     OH     44440‐9026
JAMES FUQUA JR      10800 LANDSEER DR                                                                                 SAINT LOUIS       MO     63136‐4506
JAMES FUREY         7008 BEAR RIDGE RD                                                                                NORTH             NY     14120‐9583
                                                                                                                      TONAWANDA
JAMES FURGESON      12228 W BASE RD                                                                                   PARKER CITY      IN      47368‐9123
JAMES FURLANO       306 HILLTOP DR                                                                                    MILTON           WI      53563‐1408
JAMES FURLEY        604 SHAH AVE                                                                                      FORT ATKINSON    WI      53538‐3115
JAMES FURNACE       12801 WEIDNER ST                                                                                  PACOIMA          CA      91331‐1140
JAMES FURST         4301 SWEDE AVE                                                                                    MIDLAND          MI      48642‐6251
JAMES FURSTENAU     844 N 6TH ST                                                                                      SAINT CLAIR      MI      48079‐4210
JAMES FUSCO         51 MAJESTIC CT                                                                                    CANFIELD         OH      44406‐1669
JAMES FUTCH         159 MONIQUE DR                                                                                    SHREVEPORT       LA      71106‐7335
JAMES FYFFE         7750 BELDALE AVE                                                                                  HUBER HEIGHTS    OH      45424‐3207
JAMES G ADKINS      812 PINE NEEDLES DR                                                                               CENTERVILLE      OH      45458‐3390
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Name                 Address1                          Address2                    Address3               Address4               City             State   Zip
JAMES G BERRY        2977 WESTCOTT DRIVE                                                                                         KETTERING         OH     45420‐1250
JAMES G BORRELLI     21 STROLLIS RD                                                                                              ROCHESTER         NY     14626‐1060
JAMES G BRANNAN      7009 PLAZA DR APT 4                                                                                         NIAGARA FALLS     NY     14304‐6609
JAMES G BUCHANAN     8235 TRAVIS CT                                                                                              CARLISLE          OH     45005
JAMES G CARLIN       13730 15TH NE F103                                                                                          SEATTLE           WA     98125
JAMES G CARR         5000 NORRIS DR                                                                                              DAYTON            OH     45414‐3710
JAMES G COBB         9669 HARBOUR COVE CT                                                                                        YPSILANTI         MI     48197‐6901
JAMES G COLEMAN      LYNNE KIZIS ESQ                   WILENTZ GOLDMAN & SPITZER   90 WOODBRIDGE CENTER                          WOODBRIDGE        NJ     07095
                                                                                   DRIVE
JAMES G COOPER       158 SECRET HARBOR DR                                                                                        MIRAMAR BEACH    FL      32550‐8255
JAMES G DARNEY       521 SHEETS ST                                                                                               UNION            OH      45322‐3126
JAMES G DENTON       1900 130TH AVE                                                                                              HOPKINS          MI      49328‐9733
JAMES G GADEBUSCH    711 JADE RD                                                                                                 YARDLEY          PA      19067‐3011
JAMES G GONNELLA     6539 MOSES RD                                                                                               W ALEXANDRIA     OH      45381
JAMES G GRAY         1210 COLLAR‐PRICE RD                                                                                        HUBBARD          OH      44425‐2955
JAMES G GREENWOOD    1311 DUNCAN AVE                                                                                             YPSILANTI        MI      48198‐5924
JAMES G HANNAH       7425 SALEM RD                                                                                               LEWISBURG        OH      45338
JAMES G HARPER       HC 81 BOX 19B                                                                                               SENECA ROCKS     WV      26884‐9001
JAMES G HARRIS       3204 RIVER DRIVE RD                                                                                         SPARROWS PT      MD      21219‐1124
JAMES G HOCKMAN      1605 RIDGE RD N                                                                                             HEDGESVILLE      WV      25427‐4952
JAMES G HOSMER       C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                                 HOUSTON          TX      77007
                     BOUNDAS LLP
JAMES G HOWARD       207 SUMMIT                                                                                                  LEBANON          OH      45036
JAMES G HRABAK       17070 SMITH AVE                                                                                             PORT CHARLOTTE   FL      33954‐2721
JAMES G HUTCHENS     PO BOX 601                                                                                                  ANSONIA          OH      45303‐0601
JAMES G INGRAM JR    2 LAWSON AVE                                                                                                NEW LEBANON      OH      45345‐1416
JAMES G JOSWIAK      1209 N MADISON AVE                                                                                          BAY CITY         MI      48708‐5928
JAMES G KERBY        3417 SPRINGBORO RD                                                                                          LEBANON          OH      45036‐9606
JAMES G KLEINHENN    9667 BAYVIEW DR APT 313                                                                                     YPSILANTI        MI      48197‐7027
JAMES G KOTCH        130 ELM ST.                                                                                                 STRUTHERS        OH      44471
JAMES G LARSON       209 YOUNGS DRIVE                                                                                            MIDLAND          MI      48640
JAMES G LEE          636 ONANDAGO ST                                                                                             YPSILANTI        MI      48198‐6179
JAMES G MAXWELL      598 BEAM DRIVE                                                                                              FRANKLIN         OH      45005‐2012
JAMES G MCDANIEL     C/O BEVERLY S RYAN PUB ADM 11 S                                                                             LIBERTY          MO      64068
                     WATER
JAMES G MCNALLY      1940 CORTINA DRIVE                                                                                          DAYTON           OH      45459
JAMES G MCNALLY JR   350 ETHEL AVE                                                                                               CARLISLE         OH      45005
JAMES G MOON JR      4056 VALACAMP S.E.                                                                                          WARREN           OH      44484‐3317
JAMES G NEFF         7541 NEW CARLISLE PIKE                                                                                      NEW CARLISLE     OH      45344
JAMES G PADDEN       9313 CRISPIN ST                                                                                             PHILADEPHIA      PA      19114
JAMES G PESCARA      13930 WATERPORT CARLTON ROAD                                                                                ALBION           NY      14411‐9167
JAMES G RALEY        36 WATERFIELD DR                                                                                            MEDFORD          NJ      08055
JAMES G REDD         11755 NORBOURNE DR APT 716                                                                                  CINCINNATI       OH      45240‐4445
JAMES G REEVES       9548 HACKER FARM LN                                                                                         DAYTON           OH      45458
JAMES G REISING      701 SAINT NICHOLAS AVE 8                                                                                    DAYTON           OH      45410
JAMES G REYNOLDS     1068 DOWAGIAC AVE                                                                                           MOUNT MORRIS     MI      48458‐2558
JAMES G ROBERSON     5109 PATRICIA ST                                                                                            INDIANAPOLIS     IN      46224‐2300
JAMES G ROSIER       305 BELLBROOK AVE APT 4                                                                                     XENIA            OH      45385‐‐ 36
JAMES G SADLER       300 BLUMEN LN                                                                                               DAYTON           OH      45418
JAMES G SIMPSON      1341 SENECA DR                                                                                              XENIA            OH      45385‐4339
JAMES G SINGLETON    6934 WALNUT HILL DR                                                                                         SHREVEPORT       LA      71129‐9487
JAMES G STANICH      4219 STANLEY CT                                                                                             WATERFORD        MI      48329‐4185
JAMES G STASICKY     MOTLEY RICE LLC                   28 BRIDGESIDE BLVD          PO BOX 1792                                   MT PLEASANT      SC      29465
JAMES G STEC         211 PURITAN AVE                                                                                             BIRMINGHAM       MI      48009‐4631
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Name                         Address1                        Address2                     Address3   Address4               City           State   Zip
JAMES G STONE JR             8131 N NEWBURGH RD APT 104                                                                     WESTLAND        MI     48185‐1115
JAMES G TROMBLEY             1672 VAN WAGONER DR                                                                            SAGINAW         MI     48638‐4487
JAMES G WAGERS               P O BOX 751231                                                                                 DAYTON          OH     45475‐1231
JAMES G WELLS                1489 FARISTON RD                                                                               LONDON          KY     40744‐8319
JAMES G WILLIAMS             4539 REDWOOD DRIVE                                                                             JACKSON         MS     39212
JAMES G. ELLIOTT CO., INC.   JAMES G. ELLIOTT                626 WILSHIRE BLVD STE 500                                      LOS ANGELES     CA     90017‐2902
JAMES GABBARD                2305 MEADOW WOOD CIR                                                                           GUNTERSVILLE    AL     35976‐2849
JAMES GABEL                  329 WITMER RD                                                                                  N TONAWANDA     NY     14120‐1642
JAMES GABLE                  10007 OLD 3 C                                                                                  CLARKSVILLE     OH     45113‐8694
JAMES GABOURY                604 CLARK AVE                                                                                  EDGERTON        MO     64444‐8906
JAMES GABRICK                10258 S CYCLONE AVE                                                                            YUMA            AZ     85365‐6173
JAMES GABRIEL                1111 CHASE ST                                                                                  BAY CITY        MI     48708‐6238
JAMES GADD JR                277 PLEASANT PARK CT NW                                                                        WARREN          OH     44481‐9443
JAMES GADDIS                 14221 W CORNER RD                                                                              DALEVILLE       IN     47334‐9471
JAMES GADSON                 814 W HURON ST                                                                                 PONTIAC         MI     48341‐1531
JAMES GAESCHKE JR            18972 GLEN CAIRN WAY                                                                           STRONGSVILLE    OH     44149‐0951
JAMES GAFFNEY                23 CALVIN CT S                                                                                 TONAWANDA       NY     14150‐8903
JAMES GAFFNEY                BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.     OH     44236
JAMES GAGEL                  15167 SEELEY DR                                                                                HOLLY           MI     48442‐1164
JAMES GAGER                  1708 HERRICK AVE NE                                                                            GRAND RAPIDS    MI     49505‐4865
JAMES GAGLE                  6384 ACACIA DR                                                                                 ALEXANDRIA      IN     46001‐8652
JAMES GAGLIANI               248 MAIN ST                                                                                    MEDWAY          MA     02053‐1626
JAMES GAGLIANO               16 LESLIE DR                                                                                   EDINBURG        PA     16116‐2226
JAMES GAGLIARDI              1215 GRATIOT AVE                                                                               SAGINAW         MI     48602‐2216
JAMES GAHAN JR               2279 ULA DR                                                                                    CLIO            MI     48420‐1065
JAMES GAHARA                 19210 PINE CONE DR                                                                             MACOMB          MI     48042‐4214
JAMES GAIER                  4812 SUNDIAL DR NE                                                                             GRAND RAPIDS    MI     49525‐9460
JAMES GAINES                 278 NORTON DR                                                                                  DALLAS          GA     30157‐7226
JAMES GAINES                 4341 STERLING FOREST DR                                                                        DECATUR         GA     30034‐2450
JAMES GAINES JR              111 EARL ST                                                                                    ROCHESTER       NY     14611‐3729
JAMES GAITHER                185 PINNACLE DR                                                                                DAYTON          TN     37321‐7274
JAMES GALARNO                7345 MCCARTY RD                                                                                SAGINAW         MI     48603‐9619
JAMES GALBRAITH              901 LONSVALE DR                                                                                ANDERSON        IN     46013‐3238
JAMES GALE                   7 VALENTINE COURT                                                                              SAGINAW         MI     48638‐5981
JAMES GALE                   4313 E ROLLING MDWS                                                                            DEFIANCE        OH     43512‐9666
JAMES GALEN                  76200 NORTH AVE                                                                                ARMADA          MI     48005‐2721
JAMES GALETTO                4271 LANCASHIRE                                                                                MILFORD         MI     48380‐1126
JAMES GALFORD I I I          1065 SUNSET RIDGE DR                                                                           CROSSVILLE      TN     38571‐0468
JAMES GALLAGHER              6 WHITE LN SWITCHBACK RIDGE                                                                    JIM THORPE      PA     18229
JAMES GALLAGHER              413 SAM ST                                                                                     MIDLAND         MI     48642‐5949
JAMES GALLEGOS               1276 E COOK RD                                                                                 GRAND BLANC     MI     48439‐8369
JAMES GALLERY                21 PRESCOTT CT                                                                                 SAGINAW         MI     48601‐4424
JAMES GALLEY                 1330 STURGEON POINT RD                                                                         DERBY           NY     14047‐9615
JAMES GALLICK                47885 JUSTICE CT                                                                               MACOMB          MI     48044‐2570
JAMES GALLION                3866 SEAGROVE LN                                                                               MELBOURNE       FL     32904‐9178
JAMES GALLIVAN               12284 WINNONA AVE                                                                              MEDWAY          OH     45341‐9605
JAMES GALLOWAY               7015 SHIPMAN RD                                                                                CORUNNA         MI     48817‐9535
JAMES GALLOWAY               HC 1 BOX 144                                                                                   ZALMA           MO     63787‐9701
JAMES GALLOWAY               621 ROBIN MEADOWS                                                                              DESOTO          TX     75115
JAMES GALLOWAY TTEE          DOROTHY GALLOWAY TTEE           PO BOX 450                                                     BLUE RIDGE      GA     30513
JAMES GALLT                  1880 N MERIDIAN RD                                                                             OVID            MI     48866‐9402
JAMES GALONSKA               7477 NEW HAMPSHIRE DR                                                                          DAVISON         MI     48423‐9512
JAMES GALOVICH               3088 DUPLEX RD                                                                                 SPRING HILL     TN     37174‐9216
JAMES GALVIN                 1605 CENTRAL PKWY                                                                              FLORISSANT      MO     63031‐2529
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Name                      Address1                        Address2                     Address3   Address4               City            State   Zip
JAMES GAMBRELL            7035 JORDAN RD                                                                                 LEWISBURG        OH     45338‐9752
JAMES GANAWAY             PO BOX 1002                                                                                    JOSHUA           TX     76058‐1002
JAMES GANCASZ             9825 SEAMAN RD                                                                                 MIDDLEPORT       NY     14105‐9718
JAMES GANHS JR            6195 COLD SPRING TRL                                                                           GRAND BLANC      MI     48439‐7926
JAMES GANKA               2135 NEWBORNE DR                                                                               DAYTON           OH     45414‐4115
JAMES GANN                PO BOX 1898                                                                                    WARREN           MI     48090‐1898
JAMES GANO                9669 W S AVE                                                                                   SCHOOLCRAFT      MI     49087‐8442
JAMES GANOTA              2457 BRADSHIRE RD                                                                              MIAMISBURG       OH     45342‐5245
JAMES GARBE               3965 S NEVADA TRL                                                                              JANESVILLE       WI     53546‐9402
JAMES GARBERG             3281 N HURRICANE HLS                                                                           PARAGON          IN     46166‐9244
JAMES GARBRECHT           3611 W ROLLINGWOOD DR                                                                          JANESVILLE       WI     53545‐8999
JAMES GARCIA              7053 ELMWOOD LN                                                                                ODESSA           MO     64076‐7412
JAMES GARCIA              129 N JEFFERY AVE                                                                              ITHACA           MI     48847‐1129
JAMES GARD                13 NORTHWOOD AVE                                                                               MARYVILLE         IL    62062‐6639
JAMES GARDELLA            33147 SEA SHELL LN                                                                             LEESBURG         FL     34788‐7571
JAMES GARDEN CTR          ATTN: ROLAND JAMES              4274 DAVISON RD                                                BURTON           MI     48509‐1406
JAMES GARDEN, JR.
JAMES GARDINER            2324 STEWART DR NW                                                                             WARREN          OH      44485‐2347
JAMES GARDINER            7461 COUNTRY MEADOW DR                                                                         SWARTZ CREEK    MI      48473‐1485
JAMES GARDNER             1067 COLUMBIA HWY                                                                              HOHENWALD       TN      38462‐2410
JAMES GARDNER             213 N GRAVEL RD                                                                                MEDINA          NY      14103‐1256
JAMES GARDNER             3241 PALMER ST                                                                                 LANSING         MI      48910‐2923
JAMES GARFIELD MARSHALL   C/O EDWARD O MOODY PA           801 WEST 4TH STREET                                            LITTLE ROCK     AR      72201
JAMES GARGAN              606 SYCAMORE SQ                                                                                LADY LAKE       FL      32159‐3276
JAMES GARGHILL            BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.     OH      44236
JAMES GARITO              6924 DEBORAH LN                                                                                NIAGARA FALLS   NY      14304‐3003
JAMES GARLAND             1229 W GREENBRIAR DR                                                                           GREENWOOD       IN      46142‐1221
JAMES GARLOCK             4173 PURDY RD                                                                                  LOCKPORT        NY      14094‐1031
JAMES GARMAN              1488 S GENEVIEVE ST                                                                            BURTON          MI      48509‐2402
JAMES GARMON              1471 CANOOCHEE DR NE                                                                           ATLANTA         GA      30319‐3471
JAMES GARMON              1719 W 9TH ST                                                                                  MARION          IN      46953‐1364
JAMES GARNER              4304 SUNNYBROOK DR SE                                                                          WARREN          OH      44484‐2240
JAMES GARNER              PO BOX 371                                                                                     KEITHVILLE      LA      71047‐0371
JAMES GARNER              598 WOODROW KAY RD                                                                             ROCKMART        GA      30153‐5205
JAMES GARNER              714 STONER DR                                                                                  ANDERSON        IN      46013‐3626
JAMES GARNER              9072 HEYDEN ST                                                                                 DETROIT         MI      48228‐1652
JAMES GARNER              4119 LAKEPOINT DR                                                                              TUSCALOOSA      AL      35405‐4614
JAMES GARNER JR           6258 KING ARTHUR DR                                                                            SWARTZ CREEK    MI      48473‐8855
JAMES GAROFOLA            PO BOX 232                                                                                     CRABTREE        PA      15624‐0232
JAMES GARRETT             3803 WAVERLY                                                                                   DETROIT         MI      48238
JAMES GARRETT             74 NEWBURGH AVE                                                                                BUFFALO         NY      14211‐1810
JAMES GARRETT             3717 MANOR RD                                                                                  ANDERSON        IN      46011‐2230
JAMES GARRETT             321 MANNINGS CROSSING RD                                                                       JAYESS          MS      39641‐8307
JAMES GARRETT             1276 MADISON 535                                                                               FREDERICKTOWN   MO      63645‐8368
JAMES GARRETT             19931 MACKAY ST                                                                                DETROIT         MI      48234‐1447
JAMES GARRETT             209 PLAINFIELD AVE                                                                             EDISON          NJ      08817‐3715
JAMES GARRETT             10201 W JACKSON ST                                                                             YORKTOWN        IN      47396‐9395
JAMES GARRETT             253 AL HIGHWAY 75                                                                              HIGDON          AL      35979‐9023
JAMES GARRETT             2904 N RICHMOND DR                                                                             MUNCIE          IN      47304‐2160
JAMES GARRETT JR          2609 BREWER RD                                                                                 HOWELL          MI      48855‐8758
JAMES GARRETT JR          4952 ARROWVIEW DR                                                                              DAYTON          OH      45424‐2557
JAMES GARRETT JR          1058 QUINDARO BLVD                                                                             KANSAS CITY     KS      66104‐5341
JAMES GARRIS              702 WILLIAMS RD                                                                                ROGERSVILLE     TN      37857‐6008
JAMES GARRISON            2991 MARLINGTON ROAD                                                                           WATERFORD       MI      48329‐3649
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Name                    Address1                      Address2                      Address3   Address4               City            State   Zip
JAMES GARRISON          1823 JORDAN ST                                                                                SAGINAW          MI     48602‐1182
JAMES GARRISON          16568 E 2750 ROAD                                                                             DANVILLE          IL    61834
JAMES GARRISON          33971 WINSLOW ST                                                                              WAYNE            MI     48184‐2430
JAMES GARRISON          127 W 600 N                                                                                   ALEXANDRIA       IN     46001‐8206
JAMES GARRISON          13 OAKDALE DR                                                                                 CARTERSVILLE     GA     30120‐2308
JAMES GARRISON          PO BOX 7746                                                                                   FLINT            MI     48507‐0746
JAMES GARRISON          716 3RD AVE                                                                                   PONTIAC          MI     48340‐2012
JAMES GARRISON          429 MILLSIDE CT                                                                               OSSIAN           IN     46777‐9245
JAMES GARRON            4600 KARA CT                                                                                  COMMERCE TWP     MI     48382‐1088
JAMES GARROW            6299 LAKE RD                                                                                  MILLINGTON       MI     48746‐9232
JAMES GARROW            28 GARY WAY                                                                                   PLATTSBURGH      NY     12901‐6246
JAMES GARTH JR          6156 NEFF RD                                                                                  MOUNT MORRIS     MI     48458‐2753
JAMES GARVIN            1087 RAYMOND ST NW                                                                            WARREN           OH     44485‐2431
JAMES GARY              12242 FRUIT RIDGE RD                                                                          DEFIANCE         OH     43512‐9097
JAMES GARY              22 OLYMPIC AVE                                                                                BUFFALO          NY     14215‐3214
JAMES GARY              372 E 87TH PL                                                                                 CHICAGO           IL    60619‐6764
JAMES GARY I I I        16245 MARLOWE ST                                                                              DETROIT          MI     48235‐4511
JAMES GARY L (660902)   ANGELOS PETER G LAW OFFICES   60 WEST BROAD ST                                                BETHLEHEM        PA     18018
JAMES GASPAROTTO        131 MADISON CT                                                                                CANTON           MI     48188‐4702
JAMES GASQUE JR         1169 E NORTHERN PKWY                                                                          BALTIMORE        MD     21239‐1932
JAMES GASSON            37650 S BORDER DR                                                                             TUCSON           AZ     85739‐1314
JAMES GASTON            2426 SOUTHWAY DR                                                                              FORT WAYNE       IN     46845‐1617
JAMES GASTON SR         4636 KENTFIELD DR                                                                             DAYTON           OH     45426‐1832
JAMES GATES             19996 N COYOTE LAKES PKWY                                                                     SURPRISE         AZ     85374‐2626
JAMES GATES             15910 SHORT ST                                                                                EAST LANSING     MI     48823‐9410
JAMES GATES             2707 E TILLMAN RD                                                                             FORT WAYNE       IN     46816‐4071
JAMES GATES             2524 E 127TH ST                                                                               CLEVELAND        OH     44120‐1023
JAMES GATLIN            3508 MERSINGTON AVE                                                                           KANSAS CITY      MO     64128
JAMES GATLIN            4213 TRUMBULL AVE                                                                             FLINT            MI     48504‐2167
JAMES GATLIN            C/O THE MADEKSHO LAW FIRM     8866 GULF FREEWAY SUITE 440                                     HOUSTON          TX     77017
JAMES GATZA JR          430 N MACKINAW RD                                                                             LINWOOD          MI     48634‐9533
JAMES GAUDIELLO         7213 DARROW RD                                                                                HURON            OH     44839‐9317
JAMES GAUKER            102 WILLOW WOOD DR                                                                            BUTLER           PA     16001‐2982
JAMES GAUNT             359 STONELEDGE TRAIL                                                                          ARDEN            NC     28704
JAMES GAUNT I I I       359 STONELEDGE TRL                                                                            ARDEN            NC     28704‐9018
JAMES GAUTHIER          15833 DELAPLATA LN                                                                            NAPLES           FL     34110
JAMES GAUTHIER          117 S HIGBY ST                                                                                JACKSON          MI     49203‐1520
JAMES GAVAGAN           10250 HASKELL LAKE RD                                                                         MARION           MI     49665‐9593
JAMES GAVAGHAN          5080 COMMANCHE TRL                                                                            STOW             OH     44224‐1270
JAMES GAVENDA           PO BOX 32                                                                                     MAPLE RAPIDS     MI     48853‐0032
JAMES GAVES I I         5459 RICHPOND RD                                                                              BOWLING GREEN    KY     42104‐8754
JAMES GAVIN             2760 VIRGINIA AVE SW                                                                          WARREN           OH     44481‐8639
JAMES GAVIN             20226 COUNTRY CLUB DRIVE                                                                      ESTERO           FL     33928
JAMES GAVORD            10404 HIGHWAY 27 LOT R 23                                                                     FROSTPROOF       FL     33843
JAMES GAWECKI           7716 LARME AVE                                                                                ALLEN PARK       MI     48101‐2486
JAMES GAY               17450 MILL RD                                                                                 BERLIN CENTER    OH     44401‐9791
JAMES GAYLOCK           7972 GREEN ST                                                                                 BELLAIRE         MI     49615‐9255
JAMES GAYLORD           191 PLAINVILLE AVE                                                                            UNIONVILLE       CT     06085‐1415
JAMES GAYTON            5550 HIGHWAY 136 W                                                                            DAWSONVILLE      GA     30534‐2413
JAMES GEARHART          PO BOX 181                                                                                    PUNXSUTAWNEY     PA     15767‐0181
JAMES GEARHART          9015 WASHBURN RD                                                                              OTISVILLE        MI     48463‐9634
JAMES GEARY             4615 LOUISE SAINT CLAIRE DR                                                                   DOYLESTOWN       PA     18902‐9036
JAMES GEBHART           305 ARLINGTON RD                                                                              BROOKVILLE       OH     45309‐1322
JAMES GECAN             104 S SPRING AVE                                                                              LA GRANGE         IL    60525‐2241
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Name                                   Address1                             Address2                      Address3   Address4               City              State   Zip
JAMES GECK                             125 ORCHID DR                                                                                        HOLLAND            OH     43528‐7014
JAMES GEDEON                           918 REED CANAL RD LOT 452                                                                            SOUTH DAYTONA      FL     32119‐4449
JAMES GEE                              2403 HAVEN COVE LN                                                                                   CHATTANOOGA        TN     37421‐2805
JAMES GEE                              342 GARDNER AVE                                                                                      TRENTON            NJ     08618‐2516
JAMES GEE                              6313 N LUNAR LN                                                                                      ALEXANDRIA         IN     46001‐8886
JAMES GEE                              10144 BARNES RD                                                                                      EATON RAPIDS       MI     48827‐9235
JAMES GEESLING                         288 ALLEN CHAPEL RD                                                                                  HILHAM             TN     38568‐5801
JAMES GEHL                             2968 RIVER TRAIL DR                                                                                  ROCHESTER HILLS    MI     48309‐3203
JAMES GEHRINGER                        4602 E HOLT RD                                                                                       WEBBERVILLE        MI     48892‐9205
JAMES GEHRLEIN                         1658 MEDINA AVE                                                                                      LADY LAKE          FL     32159‐9183
JAMES GEIGER                           1430 SYLVAN CIR                                                                                      ROCHESTER HILLS    MI     48307‐2969
JAMES GEIGER                           6075 LAYNE HILLS CT                                                                                  ENGLEWOOD          OH     45322‐3518
JAMES GEIGER                           1261 SHERWOOD FOREST DR                                                                              W CARROLLTON       OH     45449‐2247
JAMES GEIGER                           143 E BAY ST                                                                                         CHARLESTON         SC     29401‐2104
JAMES GEILE                            8336 S HIGHWAY 51                                                                                    PERRYVILLE         MO     63775‐8164
JAMES GEILING                          37 E LAKESHORE DR                                                                                    HOPE               MI     48628‐9727
JAMES GEISTER                          7825 N STATE RD                                                                                      ORLEANS            MI     48865‐9630
JAMES GELDERSMA                        12405 MCPHERSON ST NE                                                                                LOWELL             MI     49331‐9019
JAMES GELUSO                           907 CROSBY ST NW                     APT 1                                                           GRAND RAPIDS       MI     49504
JAMES GEMRINGER                        23 SIENNA CIRCLE                                                                                     WARMINSTER         PA     18974
JAMES GENERO JR                        730 N WATER ST                                                                                       PAULDING           OH     45879‐1027
JAMES GENEROUS                         38685 STACEY CT                                                                                      LIVONIA            MI     48154‐1025
JAMES GENIUSZ                          1520 WOLF LAKE RD                                                                                    GRASS LAKE         MI     49240‐9351
JAMES GENNINGER                        717 HAWLEY AVE                                                                                       SYRACUSE           NY     13203‐2923
JAMES GENOVESE                         6829 CANTERBURY CT                                                                                   DERBY              NY     14047‐9572
JAMES GENSEL                           2940 OLD HICKORY LN                                                                                  CHARLOTTE          MI     48813‐8338
JAMES GENSON                           1516 N HAYFORD AVE                                                                                   LANSING            MI     48912‐3438
JAMES GENSTERBLUM                      7081 MAYNARD RD                                                                                      PORTLAND           MI     48875‐9602
JAMES GENTILE                          39802 SUNDERLAND DR                                                                                  CLINTON TWP        MI     48038‐2689
JAMES GENTRY                           158 PR 2733                                                                                          WASKOM             TX     75692
JAMES GENTRY                           524 GRANITE HILLS ST                                                                                 SIMI VALLEY        CA     93065‐0614
JAMES GENTRY                           214 W RUSSELL AVE                                                                                    FLINT              MI     48505‐2692
JAMES GENTRY                           1090 VINEWOOD ST                                                                                     DETROIT            MI     48216‐1429
JAMES GENTRY C                         JAMES, CORNELIA                      PO BOX 190                                                      JONESBORO          LA     71251‐0190
JAMES GENTRY C                         JAMES, DON                           PO BOX 190                                                      JONESBORO          LA     71251‐0190
JAMES GENTRY C                         JAMES, DOUG                          PO BOX 190                                                      JONESBORO          LA     71251‐0190
JAMES GENTRY LLC                       8125 W 70TH ST                                                                                       GREENWOOD          LA     71033‐3125
JAMES GENUNG                           41502 W VILLAGE GREEN BLVD APT 107                                                                   CANTON             MI     48187‐3867
JAMES GENWRIGHT                        548 SHATTUCK RD APT 3                                                                                SAGINAW            MI     48604‐2381
JAMES GEORGE                           1334 TRIPLETON PIKE                                                                                  BEDFORD            IN     47421‐8606
JAMES GEORGE                           47 BEVERLY PL                                                                                        XENIA              OH     45385‐1101
JAMES GEORGE                           1704 TODD ST                                                                                         PLATTE CITY        MO     64079‐9356
JAMES GEORGE                           83 CENTER ST                                                                                         PONTIAC            MI     48342‐3022
JAMES GEORGE                           1552 INDIANA AVE                                                                                     FLINT              MI     48506‐3520
JAMES GEORGE                           165 COUNTY ROAD 429                                                                                  JONESBORO          AR     72404‐8624
JAMES GEPFREY                          2800 W CEDAR LAKE RD                                                                                 GRENNBUSH          MI     48738‐9632
JAMES GEPHART                          325 8TH AVE                                                                                          ELIZABETH          PA     15037‐1421
JAMES GERAK                            9 CREAMER DR                                                                                         SAYREVILLE         NJ     08872‐1955
JAMES GERALD A (451908)                ANGELOS PETER G                      100 N CHARLES STREET , ONE                                      BALTIMORE          MD     21201
                                                                            CHARLES CENTER
JAMES GERALD W (472075)                GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510
                                                                            STREET, SUITE 600
JAMES GERALDINE (ESTATE OF) (652435)   (NO OPPOSING COUNSEL)
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Name                                 Address1                        Address2                 Address3   Address4               City            State   Zip
JAMES GERANT                         6602 HALSEY ST                                                                             SHAWNEE          KS     66216‐2738
JAMES GERASIMEK                      477 WHITING RD                                                                             SHARPSVILLE      PA     16150‐9697
JAMES GERBER                         5030 S STATE ROAD 13                                                                       LAPEL            IN     46051‐9723
JAMES GERBIG                         15940 S FOREST HAVEN RD                                                                    MOLALLA          OR     97038‐8487
JAMES GERCHAK                        4876 E 96TH ST                                                                             GARFIELD HTS     OH     44125‐2116
JAMES GERKE                          1247 BLUFF ST                                                                              BELOIT           WI     53511‐4361
JAMES GERKE                          8200 WILD BRIAR DR APT 1412                                                                SHREVEPORT       LA     71108‐5919
JAMES GERKE                          PO BOX 215                                                                                 TRUFANT          MI     49347‐0215
JAMES GERKEN                         9363 CHAPMAN TRL                                                                           ROSCOMMON        MI     48653‐7719
JAMES GERKIN                         3940 RIDGE RD                                                                              ANDERSON         IN     46013‐1120
JAMES GERMAINE                       3506 S IRISH RD                                                                            DAVISON          MI     48423‐2442
JAMES GERMAN                         10576 E COUNTY ROAD 100 N                                                                  INDIANAPOLIS     IN     46234‐1273
JAMES GERSTMAN                       178 PEEK RD                                                                                HARTSELLE        AL     35640‐5329
JAMES GERZETICH                      1070 E VIENNA RD                                                                           CLIO             MI     48420‐1834
JAMES GESCHWENDER                    6201 SOMERSET DR                                                                           NORTH OLMSTED    OH     44070‐4843
JAMES GESEL                          255 AYER RD                                                                                WILLIAMSVILLE    NY     14221‐3851
JAMES GESKE                          6319 W LYNNE DR                                                                            JANESVILLE       WI     53548‐8811
JAMES GESSNER                        12979 OLD FARM CT                                                                          HARTLAND         MI     48353‐2221
JAMES GETCHELL                       53337 SHERWOOD LN                                                                          SHELBY TWP       MI     48315‐2045
JAMES GETTEL                         2683 GETTEL RD                                                                             SEBEWAING        MI     48759‐9724
JAMES GETTINGS                       PO BOX 734                                                                                 NEW CASTLE       PA     16103‐0734
JAMES GETZ                           8882 DUNHAM RD                                                                             LITCHFIELD       OH     44253‐9538
JAMES GETZ                           4629 WOODHURST DR APT 7                                                                    YOUNGSTOWN       OH     44515‐3735
JAMES GEUKES                         5573 HEATHDALE AVE                                                                         WARREN           MI     48092‐4523
JAMES GEVEDON                        1108 HARBOUR SHORE DR                                                                      KNOXVILLE        TN     37934‐7024
JAMES GEYER                          5441 E LANSING RD                                                                          DURAND           MI     48429‐9114
JAMES GEYER                          7401 DUNMANWAY APT A                                                                       BALTIMORE        MD     21222
JAMES GHIELMETTI, SIGNATURE          C/O SIGNATURE AT DURANT LLC V   4670 WILLOW RD STE 200                                     PLEASANTON       CA     94588‐8588
PROPERTIES, CHIEF EXECUTIVE OFFICE   GENERAL MOTORS
JAMES GIBBONS                        225 HIGHLAND MEADOWS DR                                                                    WENTZVILLE      MO      63385‐2670
JAMES GIBBONS                        524 WATERVLIET AVE APT B                                                                   DAYTON          OH      45420‐2500
JAMES GIBBS                          2443 WOODVALE TRL                                                                          BRIGHTON        MI      48114‐8149
JAMES GIBBS                          21520 SUNSET AVE                                                                           WARREN          MI      48091‐4583
JAMES GIBBS                          PO BOX 124                                                                                 CENTERVILLE     SD      57014‐0124
JAMES GIBBS                          5722 AMELIA AVE                                                                            SAINT LOUIS     MO      63120‐1802
JAMES GIBSON                         130 CLEARVIEW DR                                                                           LILY            KY      40740‐3007
JAMES GIBSON                         3650 OAKWOOD RD                                                                            ORTONVILLE      MI      48462‐9710
JAMES GIBSON                         2060 ADDALEEN RD                                                                           HIGHLAND        MI      48357‐3010
JAMES GIBSON                         3366 HANNAN RD                                                                             CANTON          MI      48188‐2804
JAMES GIBSON                         2439 MOORESVILLE PIKE                                                                      CULLEOKA        TN      38451‐2164
JAMES GIBSON                         1807 NW WESTBROOKE DR                                                                      BLUE SPRINGS    MO      64015‐7222
JAMES GIBSON                         ROUTE 1                         P O BOX 815                                                ROSE HILL       VA      24281
JAMES GIBSON                         276 FRANCES DR                                                                             BLANCHESTER     OH      45107‐8734
JAMES GIBSON                         296 E 293RD ST                                                                             WILLOWICK       OH      44095‐4650
JAMES GIBSON                         2955 REVELS AVE                                                                            DAYTON          OH      45408‐2228
JAMES GIBSON                         9565 STATE ROUTE DD                                                                        BLOOMSDALE      MO      63627‐8990
JAMES GIBSON                         1685 W BRONCO LN                                                                           COTTONWOOD      AZ      86326‐7337
JAMES GIBSON                         4316 FOXBERRY RUN                                                                          LOGANVILLE      GA      30052‐5173
JAMES GIBSON                         7775 S HURON RIVER DR                                                                      S ROCKWOOD      MI      48179‐9601
JAMES GIBSON                         5435 STATLER DR                                                                            BURTON          MI      48509‐1348
JAMES GIBSON                         1419 OAK ST                                                                                PORT HURON      MI      48060‐6111
JAMES GIBSON                         215 MILLER LN                                                                              LAWRENCEBURG    TN      38464‐6397
JAMES GIBSON                         15832 COYOTE HILL DR                                                                       FORT WORTH      TX      76177‐2132
JAMES GIBSON JR                      98 KINCARDINE DR                                                                           BELLA VISTA     AR      72715‐4503
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Name                Address1                     Address2            Address3         Address4               City              State   Zip
JAMES GIBSON JR     6821 S 150 W                                                                             PENDLETON          IN     46064‐9582
JAMES GIBSON JR     6309 W TAYLOR RD                                                                         MUNCIE             IN     47304‐4773
JAMES GIDCUMB       2224 BIG BUCK DR                                                                         LEWISTON           MI     49756‐9005
JAMES GIELDA        3826 KAWKAWLIN RIVER DR                                                                  BAY CITY           MI     48706‐1772
JAMES GIELDA        813 S SHERMAN ST                                                                         BAY CITY           MI     48708‐7430
JAMES GIFFIN        159 BALDWIN RD                                                                           BIRMINGHAM         MI     48009‐1357
JAMES GIFFORD       12234 BLOSSER RD                                                                         NORTH LIMA         OH     44452‐9503
JAMES GILBERT       17595 NW 130TH TER                                                                       PLATTE CITY        MO     64079‐7922
JAMES GILBERT       1089 PAUL BACON RD                                                                       JONESBOROUGH       TN     37659‐3421
JAMES GILBERT       5558 GIBBS RD                                                                            PLAINFIELD         IN     46168‐8395
JAMES GILBERT       250 SECTION LINE RD                                                                      SOMERVILLE         AL     35670‐4135
JAMES GILBERT       PO BOX 19081                                                                             DETROIT            MI     48219‐0081
JAMES GILBERT       9263 ELAINE DR                                                                           SWARTZ CREEK       MI     48473‐8529
JAMES GILBERT       520 LAKE JAMES DR                                                                        PRUDENVILLE        MI     48651‐8446
JAMES GILBERT       7079 N BRAY RD                                                                           MOUNT MORRIS       MI     48458‐8988
JAMES GILBERT       1011 DODGSON CT                                                                          DAYTON             OH     45404
JAMES GILBERT JR    10098 REID RD                                                                            SWARTZ CREEK       MI     48473‐8567
JAMES GILBERTSON    141 COUNTY ST APT 1                                                                      MILAN              MI     48160‐1387
JAMES GILBREATH     10815 LAWRENCE RIDGE RD                                                                  DE SOTO            WI     54624‐6146
JAMES GILCHRIESE    1226 E CERMAK ST                                                                         HERNANDO           FL     34442‐2620
JAMES GILCHRIST     3418 FM 2199 S                                                                           MARSHALL           TX     75672‐3148
JAMES GILES         1063 E YALE AVE                                                                          FLINT              MI     48505‐1516
JAMES GILES         724 CLOVERDALE RD                                                                        TOLEDO             OH     43612‐3215
JAMES GILKEY SR     24350 LONE EAGLE                                                                         WARRENTON          MO     63383‐5396
JAMES GILL          1017 HEATHWOOD DR                                                                        ENGLEWOOD          OH     45322‐2430
JAMES GILL          3360 GRAND RIVER DR NE                                                                   GRAND RAPIDS       MI     49525‐9725
JAMES GILL          G3187 HOGARTH AVE                                                                        FLINT              MI     48532‐5129
JAMES GILL          2236 E SCHUMACHER ST                                                                     BURTON             MI     48529‐2438
JAMES GILL JR       G 5170 GEORGE ST                                                                         FLINT              MI     48505
JAMES GILLAM        3914 INLAND DR                                                                           BAY CITY           MI     48706‐2009
JAMES GILLASPY      512 W 33RD ST                                                                            ANDERSON           IN     46013‐4104
JAMES GILLCRIST     1081 SCARLET OAK CIRCLE                                                                  ATHENS             GA     30606
JAMES GILLEN        16243 BEACH HWY                                                                          OCQUEOC            MI     49759‐9749
JAMES GILLENTINE    7912 LINDBERGH DR                                                                        YORKTOWN           IN     47396‐6857
JAMES GILLES        2194 1/2 MIDLAND RD                                                                      BAY CITY           MI     48706‐9485
JAMES GILLES        4544 CLOVER WAY W                                                                        SAGINAW            MI     48603‐1058
JAMES GILLESPIE     5237 REGIMENTAL BANNER DR                                                                GRAND BLANC        MI     48439‐8700
JAMES GILLESPIE     3633 S ADAMS RD APT 208                                                                  ROCHESTER HILLS    MI     48309‐5000
JAMES GILLESPIE     615 WOODGLEN CIR APT 302                                                                 AUBURN HILLS       MI     48326‐4527
JAMES GILLESPIE     RR 3                                                                                     LEIPSIC            OH     45856
JAMES GILLESPIE     3225 CASEY DR UNIT 203                                                                   LAS VEGAS          NV     89120‐5117
JAMES GILLESPIE     6225 HATHAWAY DR                                                                         FLINT              MI     48505‐2434
JAMES GILLESPIE     612 NE MAGELLAN AVE                                                                      LEES SUMMIT        MO     64063‐2546
JAMES GILLESPIE     17 TUSCANY COVE                                                                          JACKSON            TN     38305
JAMES GILLETT       10866 CINGANO DR                                                                         ROSCOMMON          MI     48653‐7920
JAMES GILLETTE      108 S PATTERSON PARK AVE                                                                 BALTIMORE          MD     21231‐2110
JAMES GILLETTE JR   13803 FRENCH LN                                                                          DAVISBURG          MI     48350‐2826
JAMES GILLEY        8543 STARLING CIR                                                                        FRANKLIN           OH     45005‐4133
JAMES GILLIAM       255 LAKE HURON DR                                                                        MULBERRY           FL     33860‐8551
JAMES GILLIAM       677 BANE ST SW                                                                           WARREN             OH     44485‐4007
JAMES GILLIAM       4343 COMANCHEE TRL                                                                       JAMESTOWN          OH     45335‐1406
JAMES GILLIAM       R 1 BOX 4702                                                                             MONTICELLO         KY     42633
JAMES GILLIAM       51 MONICA AVE                                                                            DECATUR            AL     35603‐5466
JAMES GILLIAM       6310 E WINDING WAY                                                                       SWANTON            OH     43558‐9584
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Name                         Address1                          Address2                        Address3        Address4               City            State Zip
JAMES GILLIES                4878 COTTRELL RD                                                                                         VASSAR           MI 48768‐9258
JAMES GILLIGAN               408 ELMONT RD                                                                                            VIRGINIA BCH     VA 23452‐4108
JAMES GILLIGAN
JAMES GILLILAND              2316 S LONG LAKE RD                                                                                      FENTON          MI   48430‐3265
JAMES GILLILAND              407 LEGRANDE ST                                                                                          HOLLY           MI   48442‐1523
JAMES GILLILAND              13948 SHELLY HUGHES RD                                                                                   BUHL            AL   35446‐9169
JAMES GILLINGS               5223 BRIDLE PATH LN                                                                                      LEWISTON        NY   14092‐2070
JAMES GILLOW                 2420 CURTIS RD                                                                                           NATIONAL CITY   MI   48748‐9630
JAMES GILLUM                 4160 E COUNTY ROAD 601 S                                                                                 CLAYTON         IN   46118‐9779
JAMES GILLUM                 4090 CO HWY 88                                                                                           GLEN ULLIN      ND   58631
JAMES GILMER                 5275 DUFFIELD RD                                                                                         SWARTZ CREEK    MI   48473‐8602
JAMES GILMORE                130 SOUTHVIEW DR                                                                                         TROY            MO   63379‐3737
JAMES GILMORE                1549 SOUTHERN DR                                                                                         BIRMINGHAM      AL   35242
JAMES GILPIN                 203 RED HAVEN CT                                                                                         BOWLING GREEN   KY   42103‐7011
JAMES GILYARD JR             1403 RANDOLPH ST                                                                                         SAGINAW         MI   48601‐3869
JAMES GINGO                  1903 E WATERBERRY DR                                                                                     HURON           OH   44839‐2298
JAMES GINGRICH               324 SUNBURST ST                                                                                          FLUSHING        MI   48433‐2148
JAMES GIORDANO               5383 N BRANDYWINE RD                                                                                     SHELBYVILLE     IN   46176‐9750
JAMES GIORGIS                1668 S HURON RD                                                                                          KAWKAWLIN       MI   48631‐9408
JAMES GIPSON                 1039 KINGDOM DR                                                                                          TALLAHASSEE     FL   32311‐1223
JAMES GIRTON P (ESTATE OF)   EARLY LUDWICK & SWEENEY LLC       ONE CENTURY TOWER 11TH FL       265 CHURCH ST                          NEW HAVEN       CT   06510
JAMES GIRTON P (ESTATE OF)   EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTRY TOWER, 11TH FLOOR,                                          NEW HAVEN       CT   06510
                                                               265 CHURCH
JAMES GISSENDANNER           815 N 25TH ST                                                                                            SAGINAW         MI   48601‐6108
JAMES GIST                   136 ROCKPORT WAY                                                                                         PACOLET         SC   29372‐3443
JAMES GIST                   3151 HIGHWAY 9                                                                                           SOLGOHACHIA     AR   72156‐8800
JAMES GIVAN                  7850 E COUNTY ROAD 600 N                                                                                 BROWNSBURG      IN   46112‐9704
JAMES GIVENS                 10245 LAKEPOINTE ST                                                                                      DETROIT         MI   48224‐2404
JAMES GIZZARELLI JR          4531 KAYNER RD                                                                                           GASPORT         NY   14067‐9273
JAMES GLADNEY                PO BOX 299                                                                                               CULLEN          LA   71021‐0299
JAMES GLADSTONE II           7425 GREENFIELD ST                                                                                       YPSILANTI       MI   48197‐1760
JAMES GLADSTONE JR.          1803 TELEGRAPH RD                                                                                        WILMINGTON      DE   19804‐4117
JAMES GLANS                  1833 SHETLAND RD                                                                                         NAPERVILLE      IL   60565‐1789
JAMES GLANTON                7384 NEW HAMPSHIRE DR                                                                                    DAVISON         MI   48423‐9543
JAMES GLASCO                 2556 HENRY RD                                                                                            LAPEER          MI   48446‐9037
JAMES GLASENER               1342 MANSFIELD WASHINGTON RD                                                                             MANSFIELD       OH   44903‐7624
JAMES GLASPER JR             5909 ORAN ST                                                                                             ALEXANDRIA      LA   71302‐2430
JAMES GLASS                  8242 N OAK RIDGE DR                                                                                      MILTON          WI   53563‐9354
JAMES GLASS                  51 SOUTH RINGLE STREET                                                                                   JANESVILLE      WI   53545
JAMES GLASS JR               51 S RINGOLD ST                                                                                          JANESVILLE      WI   53545‐2560
JAMES GLASSLEE               4856 HEPBURN RD                                                                                          SAGINAW         MI   48603‐2923
JAMES GLAZA                  10504 HICKORY TREE RD                                                                                    FORT WAYNE      IN   46845‐1024
JAMES GLAZIER                PO BOX 343                                                                                               MOUNT MORRIS    MI   48458‐0343
JAMES GLEASON                8709 PINE CT                                                                                             CLIO            MI   48420‐7716
JAMES GLEASON                861 HARETISON AVE                                                                                        THE VILLAGES    FL   32162‐3359
JAMES GLEASON                17387 KUECKEN ST                                                                                         CLINTON TWP     MI   48038‐1762
JAMES GLEASON                223 W THOMAS ST                                                                                          LANSING         MI   48906‐2958
JAMES GLEASON JR             11803 ALLEGANY CT                                                                                        SMITHSBURG      MD   21783‐2018
JAMES GLEICHAUF              1300 TUXFORD CT                                                                                          AUSTINTOWN      OH   44515
JAMES GLEN GRINDER           WEITZ & LUXENBERG P C             700 BROADWAY                                                           NEW YORK CITY   NY   10003
JAMES GLENDENNING JR         600 HOWARD RD                                                                                            ROCHESTER       NY   14624‐1756
JAMES GLENN                  PO BOX 431742                                                                                            PONTIAC         MI   48343‐1742
JAMES GLENN                  200 W NORTH ST                                                                                           MOORELAND       IN   47360‐9519
JAMES GLENN                  12201 S SHORTCUT RD                                                                                      MUNCIE          IN   47302‐8740
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Name                 Address1                        Address2                        Address3                     Address4                  City                 State   Zip
JAMES GLENN SR       2490 SHILOH DR                                                                                                         DECATUR               GA     30034‐2738
JAMES GLIDDEN        609 S MAIN ST                                                                                                          MARTINSVILLE          IN     46151‐2109
JAMES GLIDEWELL      9825 HIGHWAY 111                                                                                                       BYRDSTOWN             TN     38549‐6019
JAMES GLINIECKI      3800 KLAM RD                                                                                                           COLUMBIAVILLE         MI     48421‐9374
JAMES GLOSCH         4466 ALDER DR                                                                                                          FLINT                 MI     48506‐1462
JAMES GLOSSIP        219 E CENTER ST                                                                                                        FARMERSVILLE          OH     45325‐1128
JAMES GLOVACK        1030 RACE ST NE                                                                                                        GRAND RAPIDS          MI     49503‐1931
JAMES GLOVER         3444 LINCOLN ST                                                                                                        DEARBORN              MI     48124‐3508
JAMES GLOVER         8324 CLEARWATER COURT                                                                                                  KNOXVILLE             TN     37923‐1239
JAMES GLOVER         714 UPPER MIAMISBURG RD                                                                                                MIAMISBURG            OH     45342‐2250
JAMES GLOVER JR      1336 E MOUNT MORRIS RD                                                                                                 MOUNT MORRIS          MI     48458‐2912
JAMES GLOWACKI       BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                             BOSTON HTS.           OH     44236
JAMES GLYNN          C/O COONEY AND CONWAY           120 NORTH LASALLE 30TH FLOOR                                                           CHICAGO                IL    60602
JAMES GLYNN          3366 SUSSEX CT.                                                                                                        ROCHESTER HILLS       MI     48306
JAMES GLYNN          2385 SLOAN RD                                                                                                          BIRCH RUN             MI     48415‐8935
JAMES GOAD           11221 WILSON RD                                                                                                        OTISVILLE             MI     48463‐9733
JAMES GOAD           1134 CORONADO DR.                                                                                                      PUNTA GORDA           FL     33950
JAMES GOBART         2930 HIXON RD                                                                                                          ROCHESTER             MI     48306‐1228
JAMES GOBLE          3065 BLUE GRASS LN                                                                                                     SWARTZ CREEK          MI     48473‐7930
JAMES GOBLE          348 RANDY RD                                                                                                           ROANOKE               TX     76262‐6149
JAMES GOCHETT        1097 COUNTY ROAD 15                                                                                                    UNION SPRINGS         AL     36089‐4357
JAMES GODFREY        2813 COLLIN ST                                                                                                         INDEPENDENCE          MO     64052‐1342
JAMES GODI           945 DAYS LN                                                                                                            NORTH FORT MYERS      FL     33917‐6361

JAMES GODINA ET AL   C/O HOWIE SACKS & HENRY LLP     ATTN: DAVID LEVY & JAMES HOWIE 401 BAY ST STE 2800, PO BOX   TORONTO ONTARIO M5H 2Y4
                                                                                    4
JAMES GODINO         104 BREWSTER DR                                                                                                        GALLOWAY              NJ     08205‐6643
JAMES GODLESKY       106 BRIAN DR                                                                                                           HERMINIE              PA     15637‐1638
JAMES GODLEWSKI      24100 HARVARD SHORE DR                                                                                                 SAINT CLAIR SHORES    MI     48082‐2513

JAMES GODSEY         4837 CLAYBURY AVE                                                                                                      BALTIMORE            MD      21206‐7026
JAMES GODSEY         309 FACULTY DR                                                                                                         FAIRBORN             OH      45324‐3931
JAMES GODWIN         2762 BROWN HOLLOW RD                                                                                                   COLUMBIA             TN      38401‐7179
JAMES GOEBEL         35603 OAKDALE ST                                                                                                       LIVONIA              MI      48154‐2237
JAMES GOECKE         3769 WEAVER RD                                                                                                         WILLIAMSBURG         OH      45176‐9374
JAMES GOERGEN        10958 HENDERSON RD                                                                                                     CORUNNA              MI      48817‐9792
JAMES GOERS          511 HICKORY RD                                                                                                         STEELVILLE           MO      65565‐8140
JAMES GOERTEMILLER   34 TERRACE PARK BLVD                                                                                                   BROOKVILLE           OH      45309‐1630
JAMES GOFF           2641 CR 762                                                                                                            WEBSTER              FL      33597‐3801
JAMES GOFF           344 WHITTEMORE ST                                                                                                      PONTIAC              MI      48342‐3166
JAMES GOGGINS JR     3020 BERTHA AVE                                                                                                        FLINT                MI      48504‐1704
JAMES GOHR           3129 TITTABAWASSEE RD                                                                                                  HEMLOCK              MI      48626‐9523
JAMES GOIN           PO BOX 614                                                                                                             NEW TAZEWELL         TN      37824‐0614
JAMES GOINES JR      7806 WOODGREEN DR               C/O DEBORAH MILLER                                                                     WESTLAND             MI      48185‐2019
JAMES GOING I I I    1408 RANDOLPH CT                                                                                                       MCDONOUGH            GA      30252‐7205
JAMES GOINS          6911 AGENBROAD RD                                                                                                      TIPP CITY            OH      45371‐8755
JAMES GOINS          1140 MICHIGAN AVE                                                                                                      MONROE               MI      48162‐3012
JAMES GOINS JR       701 YELLOWCREEK DR                                                                                                     DAYTON               OH      45458‐3363
JAMES GOLBA          481 VINE LN                                                                                                            AMHERST              NY      14228‐1861
JAMES GOLD           126 W GRACELAWN AVE                                                                                                    FLINT                MI      48505‐2625
JAMES GOLDEN         5908 SUNSET TRACE DR                                                                                                   KEITHVILLE           LA      71047‐5403
JAMES GOLDEN         6777 RASBERRY LN APT 2712                                                                                              SHREVEPORT           LA      71129‐2569
JAMES GOLDEN         1125 RALPH RD                                                                                                          NEWARK               DE      19713‐3248
JAMES GOLDEN         522 NE 23RD ST                                                                                                         GRAND PRAIRIE        TX      75050‐4011
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JAMES GOLDEN         329 ANN MARIE DR                                                                               MILAN              MI     48160‐1637
JAMES GOLDEN         11705 HIDDEN VALLEY TRL                                                                        HOLLY              MI     48442‐8607
JAMES GOLDENBOGEN    8734 DIXIE HWY                                                                                 IRA                MI     48023‐2474
JAMES GOLDSMITH      2141 HUNTER DR                                                                                 LAPEER             MI     48446‐7731
JAMES GOLDTHWAITE    C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                       HOUSTON            TX     77007
                     BOUNDAS LLP
JAMES GOLEMATIS      17001 BERNBECK DR                                                                              BROWNSTOWN        MI      48193‐8503
JAMES GOLLIHUE       9727 MULLIGANS BLUFF RD RR1                                                                    DEFIANCE          OH      43512
JAMES GOLUB          3541 S 47TH ST                                                                                 GREENFIELD        WI      53220‐1509
JAMES GOMES          P.O. BOX 151                                                                                   SOQUEL            CA      95073
JAMES GOMEZ          6104 N MERCIER ST                                                                              KANSAS CITY       MO      64118‐9115
JAMES GOMOLL         2143 S BRANDON ST                                                                              WESTLAND          MI      48186‐3976
JAMES GONDEK         3016 TRACON DR                                                                                 WHITE HOUSE       TN      37188‐4050
JAMES GONSLER        12508 JOSEPH CT                                                                                GRAND BLANC       MI      48439‐1404
JAMES GONTKOVSKY     18 EAGLE POINTE DR                                                                             CORTLAND          OH      44410‐1921
JAMES GONYA          234 GOSPEL HILL CT                                                                             ORANGEBURG        SC      29115‐8433
JAMES GONYOU         805 N KING AVE                                                                                 MIDWEST CITY      OK      73130‐2321
JAMES GONZALES       258 LASSEIGNE ST                                                                               PONTIAC           MI      48341‐1077
JAMES GONZALEZ       3223 SHETLAND RD                                                                               LANSING           MI      48911‐1568
JAMES GONZALEZ       5661 SNOW CREEK RD                                                                             SANTA FE          TN      38482‐3156
JAMES GOOCH          3700 SHADY VALLEY DR                                                                           ARLINGTON         TX      76013‐2926
JAMES GOOD           26654 STANDLEY RD                                                                              DEFIANCE          OH      43512‐8948
JAMES GOOD           10571 S CEDAR RD                                                                               CEDAR             MI      49621‐9764
JAMES GOODALE        36023 W 130TH ST                                                                               RAYVILLE          MO      64084‐8232
JAMES GOODALL        7422 MORGAN CIR                                                                                KEWADIN           MI      49648‐8943
JAMES GOODALL        13665 HIBNER ROAD                                                                              HARTLAND          MI      48353‐2410
JAMES GOODE          2011 EASTRIDGE DR                                                                              EXCELSIOR SPG     MO      64024‐2805
JAMES GOODFELLOW     1336 THREADVALLY                                                                               HOLLY             MI      48442
JAMES GOODIN         3527 GOLDEN TEE LN                                                                             MISSOURI CITY     TX      77459‐4007
JAMES GOODIN         1373 VINEGAR HILL RD                                                                           BEDFORD           IN      47421‐7912
JAMES GOODING        6740 S NEW LOTHROP RD                                                                          DURAND            MI      48429‐9403
JAMES GOODLOW        4113 DOWNERS DR                                                                                DOWNERS GROVE     IL      60515‐1856
JAMES GOODLOW        G4112 BRANCH RD                                                                                FLINT             MI      48506‐1345
JAMES GOODMAN        101 KRUG DR                                                                                    UNION             OH      45322‐8723
JAMES GOODMAN        830 SHOTGUN SPUR ROAD                                                                          HALLS             TN      38040
JAMES GOODMAN        PO BOX 8056                                                                                    MADEIRA BEACH     FL      33738‐8056
JAMES GOODMAN        THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                                     HOUSTON           TX      77017
JAMES GOODMAN JR     810 PEBBLEWOOD RD                                                                              WEST CHESTER      PA      19380‐2017
JAMES GOODMAN JR     3733 JAY LN                                                                                    SPRING HILL       TN      37174‐2179
JAMES GOODNIGHT JR   5395 JILLIAN DR                                                                                BAY CITY          MI      48706‐3485
JAMES GOODROE        7456 N JENNINGS RD                                                                             MOUNT MORRIS      MI      48458‐9324
JAMES GOODSON        3360 CRESTWATER CT APT 1902                                                                    ROCHESTER HILLS   MI      48309‐2781
JAMES GOODSON        804 WILTSHIRE DR                                                                               OWOSSO            MI      48867‐1955
JAMES GOODWIN        5033 W FARRAND RD                                                                              CLIO              MI      48420‐8215
JAMES GOODWIN        4890 BOOTHVILLE RD                                                                             DOYLINE           LA      71023
JAMES GOOLD          2548 HEARTHSIDE DR                                                                             YPSILANTI         MI      48198‐9286
JAMES GOOLSBY        PO BOX 405                                                                                     CENTERVILLE       GA      31028‐0405
JAMES GORAM          PO BOX 05406                                                                                   DETROIT           MI      48205‐0406
JAMES GORBAN         6420 SHAWNEE RD                                                                                N TONAWANDA       NY      14120‐9561
JAMES GORDINEAR      7135 E ALLEN RD                                                                                FENTON            MI      48430‐9346
JAMES GORDON         3941 HUNTERS RIDGE DR APT 4                                                                    LANSING           MI      48911‐1129
JAMES GORDON         119 NYLER CT                                                                                   MONCKS CORNER     SC      29461‐8521
JAMES GORDON         15160 WEST DR                                                                                  LINDEN            MI      48451‐9711
JAMES GORDON         6919 WILLOW WOOD DR                                                                            SAINT LOUIS       MO      63121‐2727
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Name              Address1                        Address2                       Address3   Address4               City              State   Zip
JAMES GORDON      246 RIDGEMONT DR                                                                                 PONTIAC            MI     48340‐3056
JAMES GORE        PO BOX 889                                                                                       HIGHLAND           MI     48357‐0889
JAMES GORE        1052 STATE ROUTE 534 NW                                                                          NEWTON FALLS       OH     44444‐9514
JAMES GORIN       PO BOX 503                                                                                       SCOTTSVILLE        TX     75688‐0503
JAMES GORLESKI    511 BOURN ST                                                                                     VASSAR             MI     48768‐1401
JAMES GORMAN      2918 INDIAN PIPES TRL                                                                            FROSTPROOF         FL     33843‐5681
JAMES GORMAN      6551 PINE LAKE DR APT 4                                                                          TINLEY PARK         IL    60477‐5128
JAMES GORMAN      1062 LARAMIE LN                                                                                  JANESVILLE         WI     53546‐1851
JAMES GORNEY      42649 FLIS DR                                                                                    STERLING HTS       MI     48314‐2848
JAMES GORSKI      7620 W 325 N                                                                                     LARWILL            IN     46764‐9707
JAMES GOSA        C/O COONEY AND CONWAY           120 NORTH LASALLE 30TH FLOOR                                     CHICAGO             IL    60602
JAMES GOSCHKE     4755 S GRAHAM RD                                                                                 SAINT CHARLES      MI     48655‐8549
JAMES GOSCHKE     3725 N CHIPMAN RD                                                                                OWOSSO             MI     48867‐1178
JAMES GOSCIAK     157 S TRANSIT HILL DR                                                                            DEPEW              NY     14043‐4809
JAMES GOSLER      2669 BAYBERRY DR                                                                                 WATERFORD          MI     48329‐2405
JAMES GOSS        PO BOX 1697                                                                                      MABLETON           GA     30126‐1011
JAMES GOSSER      6885 EAST 800 N                                                                                  BROWNSBURG         IN     46112
JAMES GOSSER      11611 E 800 N                                                                                    SHIRLEY            IN     47384
JAMES GOSSUM      101 HAWTHORNE DR                                                                                 DIMONDALE          MI     48821‐9781
JAMES GOTH‐TEW    1654 WALNUT HEIGHTS DR                                                                           EAST LANSING       MI     48823‐2944
JAMES GOTSCHALL   625 S WALNUT ST                                                                                  FAIRMOUNT          IN     46928‐2052
JAMES GOUDY       102 WALDWICK FARM CIR                                                                            UNION              OH     45322‐2943
JAMES GOUGE       682 ANDOVER RD                                                                                   MANSFIELD          OH     44907‐1910
JAMES GOUGH       13304 N HORRELL RD                                                                               FENTON             MI     48430‐1009
JAMES GOULD       5995 N WILDWOOD ST APT 123                                                                       WESTLAND           MI     48185‐3057
JAMES GOULDER     56811 FOXCROFT CT                                                                                SHELBY TOWNSHIP    MI     48316‐4818
JAMES GOUPILL     39123 MIDWAY                                                                                     NEW BOSTON         MI     48164‐9033
JAMES GOURLEY     6015 STATE ROUTE 46 APT A                                                                        CORTLAND           OH     44410‐8631
JAMES GOUVELLIS   1240 BOYLES ST                                                                                   HOUSTON            TX     77020‐7535
JAMES GOWEN       808 BEAR BLUFF LN                                                                                ELIZABETH          AR     72531‐9173
JAMES GOWMAN      417 BAYFIELD RD                                                                                  ROCKTON             IL    61072‐3453
JAMES GOZA        1801 CLEMENT ST                                                                                  FLINT              MI     48504‐3109
JAMES GRABOWSKI   388 LAMARCK DR                                                                                   BUFFALO            NY     14225‐1106
JAMES GRACE       PO BOX 9022                     C/O GM KOREA                                                     WARREN             MI     48090‐9022
JAMES GRACZYK     PO BOX 90                                                                                        OLD MISSION        MI     49673‐0090
JAMES GRADY       15139 CAMROSE AVE                                                                                SPRING HILL        FL     34610‐6742
JAMES GRADY       15 CHIPPEWA DR                                                                                   MILAN              OH     44846‐9762
JAMES GRADY       10788 HIGHLAND RD                                                                                WHITE LAKE         MI     48386‐2144
JAMES GRAF        10224 HEATHER RIDGE CT                                                                           GOODRICH           MI     48438‐9063
JAMES GRAFF       70240 CHAUCER DR                                                                                 RICHMOND           MI     48062‐1084
JAMES GRAHAM      52 RUTH RD                                                                                       CORTLANDT MNR      NY     10567‐7318
JAMES GRAHAM      10021 E US HIGHWAY 40 TRLR 11                                                                    INDEPENDENCE       MO     64055‐6136
JAMES GRAHAM      2160 HOLLYWOOD ST NE                                                                             WARREN             OH     44483‐4222
JAMES GRAHAM      9213 GRAYTRAX RD                                                                                 GRAND BLANC        MI     48439‐8004
JAMES GRAHAM      240 LISA CT                                                                                      BOILING SPRINGS    SC     29316‐8013
JAMES GRAHAM      5308 W FRANCES RD                                                                                CLIO               MI     48420‐8570
JAMES GRAHAM      635 CROSS CREEK DR                                                                               HAMPSTEAD          NC     28443‐7953
JAMES GRAHAM      659 POWHATAN AVE                                                                                 COLUMBUS           OH     43204‐1860
JAMES GRAHAM      2975 SEDGEWICK ST NE APT 194                                                                     WARREN             OH     44483‐3637
JAMES GRAHAM      106 PEACH ORCHARD LN                                                                             WINCHESTER         VA     22602‐6611
JAMES GRAHAM      6772 W 13TH ST                                                                                   INDIANAPOLIS       IN     46214‐3447
JAMES GRAHAM      8054 DAVISON RD                                                                                  DAVISON            MI     48423‐2029
JAMES GRAHAM      728 NW 89TH ST                                                                                   OKLAHOMA CITY      OK     73114‐2818
JAMES GRAHAM      13264 FOLEY RD                                                                                   FENTON             MI     48430‐8408
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JAMES GRAHAM       6211 LUCAS RD                                                                                             FLINT            MI     48506‐1226
JAMES GRAHAM       2830 BRAEBURN CIR                                                                                         ANN ARBOR        MI     48108‐2608
JAMES GRAHAM       5855 N CARRIAGE LN                                                                                        ALEXANDRIA       IN     46001‐8618
JAMES GRALA        2660 GLENCAIRIN DR NW                                                                                     GRAND RAPIDS     MI     49504‐2371
JAMES GRALEWSKI    216 MOUNT PLEASANT BLVD                                                                                   IRWIN            PA     15642‐4727
JAMES GRAMS        20080 POLLYANNA DR                                                                                        LIVONIA          MI     48152‐1275
JAMES GRAMZA       6675 GREENBRIAR LN                                                                                        TEMPERANCE       MI     48182‐2223
JAMES GRAMZE       114/191 RATCHASIMA‐PAK THONG CHA                                                NAKHON RATCHASIMA 30000
                                                                                                   THAILAND
JAMES GRANDERSON   453 S 13TH ST                                                                                             SAGINAW         MI      48601‐1950
JAMES GRANDERSON   170 SOMERSET DR                                                                                           JACKSON         MS      39206‐2620
JAMES GRANGER      3720 N CRYSTAL SPRINGS RD                                                                                 JANESVILLE      WI      53545‐9683
JAMES GRANITTO     7141 OAK DR                                                                                               POLAND          OH      44514‐3765
JAMES GRANNEMAN    5213 DELTA DR                                                                                             INDIANAPOLIS    IN      46241‐5816
JAMES GRANT        29 UNIVERSITY ST                                                                                          AUBURN          ME      04210‐6126
JAMES GRANT        4350 VALLEY RIDGE LN                                                                                      MILFORD         MI      48380‐2782
JAMES GRANT        507 FENTON AVE                                                                                            ROMEOVILLE      IL      60446‐1203
JAMES GRANT        200 E MAPLE ST                                                                                            MONTROSE        MI      48457‐9155
JAMES GRANT        202 S CUMBERLAND ST                                                                                       FLINT           MI      48503‐2162
JAMES GRANT        820 FIGGS STORE RD                                                                                        SHELBYVILLE     KY      40065‐8204
JAMES GRANT        68 CLURE BROWN RD                                                                                         WESTMORELAND    TN      37186‐2595
JAMES GRANT        3509 MOUNTCASTLE DR                                                                                       FORT WORTH      TX      76119‐2139
JAMES GRANTNER     4759 FRANKLIN ST                                                                                          HALE            MI      48739‐8938
JAMES GRAPES       3836 S WILLIS CT                                                                                          INDEPENDENCE    MO      64055‐3153
JAMES GRAPP        727 OSWEGO AVE                                                                                            YPSILANTI       MI      48198‐8018
JAMES GRAVENS      6622 N US HIGHWAY 31                                                                                      WHITELAND       IN      46184‐9553
JAMES GRAVES       167 WELLINGTON WAY                                                                                        MIDDLETOWN      DE      19709‐9407
JAMES GRAVES       519 CASSVILLE RD                                                                                          KOKOMO          IN      46901‐5902
JAMES GRAVES       8411 W COVINGTON GETTYSBURG RD                                                                            COVINGTON       OH      45318‐1177
JAMES GRAVES       368 SIDDINGTON WAY                                                                                        LEXINGTON       SC      29073‐9722
JAMES GRAVES       PO BOX 75                                                                                                 PERRY           MI      48872‐0075
JAMES GRAVES       750 HUNTERS LANDING LN                                                                                    SMITHVILLE      TN      37166‐8431
JAMES GRAVES       3541 BAYBERRY PL                                                                                          OREGON          OH      43616‐2471
JAMES GRAVES       2104 GALEWOOD AVE SW                                                                                      WYOMING         MI      49509‐1910
JAMES GRAVES       821 SS CASSIDY RD                                                                                         BOWLING GREEN   KY      42104‐7722
JAMES GRAVES       1425 S MONTEBELLO ST                                                                                      OLATHE          KS      66062‐5708
JAMES GRAVES       NIX PATTERSON & ROACH LLP          GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                             DAINGERFIELD    TX      75638
JAMES GRAVINK      7158 FAIRVIEW AVE                                                                                         BROOKFIELD      OH      44403‐9754
JAMES GRAY         297 SUNRISE CT                                                                                            FAIRFIELD       OH      45014‐1018
JAMES GRAY         201 LOWER CREEK PASS                                                                                      MCDONOUGH       GA      30252‐7508
JAMES GRAY         2311 VILLAGEWOOD COURT                                                                                    MIAMISBURG      OH      45342‐5295
JAMES GRAY         14017 RIDGELEA AVE                                                                                        CULPEPER        VA      22701‐5380
JAMES GRAY         2 EAGLE ST                                                                                                ISELIN          NJ      08830‐1812
JAMES GRAY         5675 STATE ROAD 42                                                                                        MARTINSVILLE    IN      46151‐9622
JAMES GRAY         1210 COLLAR PRICE RD                                                                                      HUBBARD         OH      44425‐2955
JAMES GRAY         424 S 2ND ST                                                                                              MIAMISBURG      OH      45342‐2929
JAMES GRAY         5269 SEDALIA DR                                                                                           COLUMBUS        OH      43232‐6388
JAMES GRAY         1148 ANNABELLE ST                                                                                         MC DONALD       OH      44437‐1634
JAMES GRAY         4130 AUDUBON STREET                                                                                       SLIDELL         LA      70461‐1635
JAMES GRAY         2058 DADE CIR                                                                                             DICKSON         TN      37055‐6004
JAMES GRAY         221 S 25TH ST                                                                                             UNIONVILLE      MO      63565‐1025
JAMES GRAY         4754 MELISSA JO LN                                                                                        SAINT LOUIS     MO      63128‐3922
JAMES GRAY         210 HILLSIDE DR                                                                                           FARMINGTON      MO      63640‐1020
JAMES GRAY         104738 S 3520 RD                                                                                          PRAGUE          OK      74864‐1074
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JAMES GRAY         265 HOWARD DR                                                                                   GARDENDALE         AL     35071‐2386
JAMES GRAY         2039 YORKSHIRE DR                                                                               MIDWEST CITY       OK     73130‐8204
JAMES GRAY I I I   13379 GRAY ST                                                                                   CULPEPER           VA     22701‐5779
JAMES GRAY JR      1313 WINDEMERE AVE                                                                              BALTIMORE          MD     21218‐3016
JAMES GRAYCAR      279 COITSVILLE RD                                                                               CAMPBELL           OH     44405‐1104
JAMES GRAYS        202 3RD AVE                                                                                     JOLIET              IL    60433‐1823
JAMES GRAYSON      536 W GOLD CREEK RD                                                                             MOORESVILLE        IN     46158‐6452
JAMES GREANIA      2743 SUN TERRACE DR                                                                             HARTLAND           MI     48353‐2821
JAMES GREATHOUSE   1403 REBECCA LN                                                                                 ARLINGTON          TX     76014‐1457
JAMES GRECO        24 HARLESTON LN                                                                                 E ROCHESTER        NY     14445‐2043
JAMES GREEN        2161 HOME PARK AVE                                                                              DECATUR             IL    62526‐3064
JAMES GREEN        16729 ASHTON AVE                                                                                DETROIT            MI     48219‐4144
JAMES GREEN        643 BRIGHTON RD                                                                                 TONAWANDA          NY     14150‐7033
JAMES GREEN        1446 MORAY ST SW                                                                                ATLANTA            GA     30311‐3512
JAMES GREEN        3441 MINGER RD                                                                                  INDIANAPOLIS       IN     46222‐1039
JAMES GREEN        8819 YANKEE COVE CT                                                                             DAYTON             OH     45458‐6014
JAMES GREEN        2812 TETON TRL                                                                                  TALLAHASSEE        FL     32303‐1924
JAMES GREEN        48 W STEELS CORNERS RD                                                                          CUYAHOGA FALLS     OH     44223‐2632
JAMES GREEN        PO BOX 359                                                                                      ELIZABETH          LA     70638‐0359
JAMES GREEN        33110 ARMADA CT                                                                                 WESTLAND           MI     48186‐5451
JAMES GREEN        2504 SUNCREST DR                                                                                FLINT              MI     48504‐8416
JAMES GREEN        1435 W 34TH ST                                                                                  INDIANAPOLIS       IN     46208‐4550
JAMES GREEN        4800 N SAINT JAMES DR                                                                           MUNCIE             IN     47304‐6207
JAMES GREEN        5064 ANGELINA DR                                                                                DALLAS             NC     28034‐6639
JAMES GREEN        6429 SANTA FE TRL                                                                               FLINT              MI     48532‐2059
JAMES GREEN        4293 BALSAM CT                                                                                  LEWISTON           MI     49756‐8870
JAMES GREEN        39302 ROLAND DR                                                                                 STERLING HTS       MI     48310‐2769
JAMES GREEN        1198 N LINDEN RD                                                                                FLINT              MI     48532‐2341
JAMES GREEN        4501 W 6 MILE CREEK RD                                                                          HENDERSON          MI     48841‐9750
JAMES GREEN        22532 NEW YORK AVE                                                                              PORT CHARLOTTE     FL     33952‐7108
JAMES GREEN        2486 E COUNTY LINE RD                                                                           HALE               MI     48739‐9101
JAMES GREEN        1150 S CENTRAL AVE                                                                              FAIRBORN           OH     45324‐3650
JAMES GREEN        362 COTSWOLD DR                                                                                 DAYTON             OH     45459‐1722
JAMES GREEN        1335 BRADLEY ROAD 56                                                                            HERMITAGE          AR     71647‐8929
JAMES GREEN        3474 MOUNT OLIVET RD                                                                            DALLAS             GA     30132‐2830
JAMES GREEN        99 ASHLEY CIR                                                                                   SWARTZ CREEK       MI     48473‐1175
JAMES GREEN        1158 AMOS ST                                                                                    PONTIAC            MI     48342‐1802
JAMES GREEN        3416 HINSHAW FARM RD                                                                            CLIMAX             NC     27233‐8151
JAMES GREEN        THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                     HOUSTON            TX     77017
JAMES GREEN JR     704 DEACON HILL CT                                                                              BALTIMORE          MD     21225‐1256
JAMES GREEN JR     6632 HAMILTON MASON RD LOT 33                                                                   LIBERTY TWP        OH     45011‐9171
JAMES GREEN JR     PO BOX 420231                                                                                   PONTIAC            MI     48342‐0231
JAMES GREEN JR     1920 FRANCIS AVE                                                                                FLINT              MI     48505‐5012
JAMES GREENE       3364 N TIPSICO LAKE RD                                                                          HARTLAND           MI     48353‐2419
JAMES GREENE       2229 HARVEST LANN                                                                               BOWLING GREEN      KY     42104
JAMES GREENE       9521 WASHINGTON ST              P.O. BOX 212                                                    CLIFFORD           MI     48727‐5116
JAMES GREENE       836 HOCH AVE                                                                                    ADRIAN             MI     49221‐3816
JAMES GREENE       5405 LONG LEAF DR                                                                               WICHITA FALLS      TX     76310‐3458
JAMES GREENE       408 W GROVE AVE                                                                                 MUSCLE SHOALS      AL     35661‐3224
JAMES GREENE       4931 DINSMORE RD                                                                                WEST CARROLLTON    OH     45449‐2730

JAMES GREENE       11917 SE 152ND ST                                                                               OKLAHOMA CITY     OK      73165‐6819
JAMES GREENE       BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.       OH      44236
JAMES GREENE JR    BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.       OH      44236
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Name                                Address1                          Address2            Address3         Address4               City            State   Zip
JAMES GREENE JR                     292 OAK LEAF LN                                                                               HOWELL           MI     48855‐9706
JAMES GREENE JR                     3302 MAYFAIR RD                                                                               GWYNN OAK        MD     21207‐4563
JAMES GREENHILL                     1512 HWY. U.S. 31 SOUTH                                                                       GREENWOOD        IN     46143
JAMES GREENIA                       1515 N BLOCK RD                                                                               REESE            MI     48757‐9334
JAMES GREENLEAF                     321 VOLZ RD                                                                                   VASSAR           MI     48768‐9240
JAMES GREENLER                      18129 BUCKSKIN RD                                                                             DEFIANCE         OH     43512‐9716
JAMES GREENWAY                      2990 BAKER RD NW                                                                              ACWORTH          GA     30101‐3684
JAMES GREENWOOD                     695 NORTH EAST CAPITAL AVE.       APT. 23B                                                    BATTLE CREEK     MI     49017
JAMES GREER                         312 HEATHER KNOLL PL                                                                          FORT WAYNE       IN     46804‐6414
JAMES GREER                         265 REGIONAL DR                                                                               PENNS GROVE      NJ     08069‐2217
JAMES GREER                         5508 GETTYSBURG PITSBURG RD                                                                   GREENVILLE       OH     45331‐9625
JAMES GREER                         PO BOX 563                                                                                    OTTO             NC     28763‐0563
JAMES GREER                         12703 KINGSGATE WAY                                                                           GRAND LEDGE      MI     48837‐8945
JAMES GREER                         3618 MERRITT LAKE DR                                                                          METAMORA         MI     48455‐8981
JAMES GREER                         PO BOX 802                                                                                    TAZEWELL         TN     37879‐0802
JAMES GREER                         917 S 500 E                                                                                   SPRINGVILLE      UT     84663‐2553
JAMES GREER                         67 S 2ND AVE                                                                                  BEECH GROVE      IN     46107‐1802
JAMES GREER JR                      6360 TAMARA DR                                                                                FLINT            MI     48506‐1763
JAMES GREGG                         3728 3 MILE RD                                                                                BAY CITY         MI     48706‐9215
JAMES GREGG                         123 MALAGA PL                                                                                 PANAMA CITY      FL     32413‐1637
                                                                                                                                  BEACH
JAMES GREGG                         2519 SILVER KING DR                                                                           GRAYSON         GA      30017‐1466
JAMES GREGO                         4231 BRANDY LN                                                                                HAMILTON        MI      49419‐8510
JAMES GREGORY                       219 BRIAR RD                                                                                  ROGERSVILLE     MO      65742‐8147
JAMES GREGORY                       6245 CROOKED CREEK DR                                                                         MARTINSVILLE    IN      46151
JAMES GREGORY                       7300 E MOUNT MORRIS RD                                                                        OTISVILLE       MI      48463‐9468
JAMES GREGORY                       43 HIGHTOWER CT                                                                               BOWLING GREEN   KY      42103‐7043
JAMES GREGORY                       3924 RHINE CT                                                                                 SAINT CHARLES   MO      63304‐1465
JAMES GREGORY                       2942 CUNNINGTON LN                                                                            KETTERING       OH      45420‐3835
JAMES GREGORY                       4671 RED OAK DR                                                                               METAMORA        MI      48455‐9745
JAMES GREGORY                       1470 W COUNTY ROAD 50 N                                                                       NEW CASTLE      IN      47362‐9124
JAMES GREGORY                       2128 NW 155TH ST                                                                              EDMOND          OK      73013‐9100
JAMES GREGORY                       11371 DODGE RD                                                                                OTISVILLE       MI      48463‐9739
JAMES GREGORY & XIAOYONG ZHU HILL   J G & X HIL                       7535 SUMMIVIEW DR                                           IRVING          TX      75063

JAMES GREIWE                        PO BOX 345                                                                                    CONNERSVILLE    IN      47331‐0345
JAMES GRELL                         2333 S BROOKSIDE DR                                                                           MIDLAND         MI      48640‐9561
JAMES GREMMINGER                    107 N SCHOOL ST                                                                               DESLOGE         MO      63601‐3545
JAMES GRENIER                       10626 W MANZANITA DR                                                                          SUN CITY        AZ      85373‐1549
JAMES GRENNAY                       1231 ADAMS RD                                                                                 BURTON          MI      48509‐2359
JAMES GRIDER                        4715 N RITTER AVE                                                                             INDIANAPOLIS    IN      46226‐2215
JAMES GRIDER                        9330 SUMMERS RD                                                                               ROGERS          AR      72756‐8519
JAMES GRIEVES                       6128 S EMERSON RD                                                                             BELOIT          WI      53511‐9425
JAMES GRIFFIN                       33010 MAZARA                                                                                  FRASER          MI      48026‐5012
JAMES GRIFFIN                       10 POTOMAC DR                                                                                 FAIRVIEW HTS    IL      62208‐1816
JAMES GRIFFIN                       275 BOTANICAL RIDGE DR                                                                        WENTZVILLE      MO      63385‐4348
JAMES GRIFFIN                       13171 NW 92ND CT                                                                              CHIEFLAND       FL      32626‐4637
JAMES GRIFFIN                       PO BOX 383                        6 N WALNUT ST                                               CARTHAGE        IN      46115‐0383
JAMES GRIFFIN                       641 E BIRCH ST                                                                                HUACHUCA CITY   AZ      85616‐8120
JAMES GRIFFIN                       9415 BURR ST                                                                                  OAKLAND         CA      94605‐4709
JAMES GRIFFIN                       29333 BRIAR PATCH LN                                                                          ARDMORE         AL      35739‐8246
JAMES GRIFFIN III                   2754 N WISNER AVE                                                                             WHITE CLOUD     MI      49349‐9478
JAMES GRIFFIN JR                    UNIT 820                          501 HOLLAND LANE                                            ALEXANDRIA      VA      22314‐3569
JAMES GRIFFIN JR                    4703 BRAZOSWOOD CT                                                                            ARLINGTON       TX      76017‐2801
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Name                            Address1                      Address2                      Address3   Address4                  City              State   Zip
JAMES GRIFFIN JR                4098 TILLY MILL RD                                                                               ATLANTA            GA     30360‐3108
JAMES GRIFFITH                  6707 SCOTT HWY                                                                                   ROBBINS            TN     37852‐3102
JAMES GRIFFITH                  1915 N 29TH ST                                                                                   PARAGOULD          AR     72450‐9767
JAMES GRIFFITH                  507 CORRINE PL                                                                                   WASKOM             TX     75692‐5009
JAMES GRIFFITH                  169 FAIRHILL DR                                                                                  WILMINGTON         DE     19808‐4312
JAMES GRIFFITH                  11565 M 216                                                                                      MARCELLUS          MI     49067‐9388
JAMES GRIFFITH                  20738 TOLES LN                                                                                   GROSSE POINTE      MI     48236‐1425
                                                                                                                                 WOODS
JAMES GRIFFITHS                 30255 GEORGETOWN RD                                                                              SALEM             OH      44460‐9739
JAMES GRIFKA                    1745 PINE KNOLL LN                                                                               CARO              MI      48723‐9532
JAMES GRIGGS                    1680 BLUE GRASS RD                                                                               LANSING           MI      48906‐1334
JAMES GRIGSBY                   5066 WAYNE MADISON RD                                                                            TRENTON           OH      45067‐9717
JAMES GRIGSBY                   7717 B&A BLVD                                                                                    GLEN BURNIE       MD      21060
JAMES GRIGSBY                   392 GOING ST                                                                                     PONTIAC           MI      48342‐3427
JAMES GRILE                     4441 MOZART AVE                                                                                  HUBER HEIGHTS     OH      45424‐5967
JAMES GRIMES                    106 CIRCLE J CT                                                                                  COLMESNEIL        TX      75938‐2422
JAMES GRIMSLEY                  20975 BUCKSKIN RD                                                                                DEFIANCE          OH      43512‐9718
JAMES GRINNELL                  1129 PIUS ST                                                                                     SAGINAW           MI      48638‐6563
JAMES GRINSTEAD                 14886 OLD TOWN DR                                                                                RIVERVIEW         MI      48193‐7713
JAMES GRISCTI                   204‐1671 JALNA BLVD                                                    LONDON ON N6E3S3 CANADA

JAMES GRISSETT                  3043 DULUTH ST                                                                                   NIAGARA FALLS     NY      14305‐2301
JAMES GRISSOM                   4979 BLUFF DR NE                                                                                 GRAND RAPIDS      MI      49525‐1201
JAMES GRIZZLE                   1855 BON REA DR                                                                                  ROCK HILL         SC      29730‐3007
JAMES GROCE                     51342 OVERHILL RD                                                                                SHELBY TOWNSHIP   MI      48316‐4132
JAMES GROCE                     558 BUFFALO TRAIL CIR                                                                            INDIANAPOLIS      IN      46227‐2871
JAMES GRODZICKI                 1204 WICKFORD PL                                                                                 HURON             OH      44839‐1467
JAMES GROESSER                  11755 PRYOR RD                                                                                   PORTLAND          MI      48875‐9415
JAMES GROH                      1753 E WHITEFEATHER RD                                                                           PINCONNING        MI      48650‐8416
JAMES GRONDESKI                 2510 W RIVER RD                                                                                  NEWTON FALLS      OH      44444‐9468
JAMES GRONOSKE                  C/O THE MADEKSHO LAW FIRM     8866 GULF FREEWAY SUITE 440                                        HOUSTON           TX      77017
JAMES GRONSKEI                  3290 CLEARWATER ST NW                                                                            WARREN            OH      44485‐2218
JAMES GROOMBRIDGE               G6320 E CARPENTER RD                                                                             FLINT             MI      48506
JAMES GROOTERS                  PO BOX 97                     3530 SNOW SE                                                       LOWELL            MI      49331‐0097
JAMES GROOVER                   45 BEAVER CREEK RUN                                                                              SHARPSBURG        GA      30277‐2233
JAMES GROOVER                   892 FRIENDSHIP CH. RD                                                                            POWDER SPGS       GA      30127
JAMES GROSE                     206 TELLUS ST                                                                                    LAKEWAY           TX      78734‐3831
JAMES GROSH                     46210 ROCKLEDGE DR                                                                               PLYMOUTH          MI      48170‐3508
JAMES GROSS                     862 LATHAM ST                                                                                    DAYTON            OH      45408‐1924
JAMES GROSS                     6035 S TRANSIT RD LOT 149                                                                        LOCKPORT          NY      14094‐6324
JAMES GROSS                     2990 W MAPLE RAPIDS RD                                                                           SAINT JOHNS       MI      48879‐9499
JAMES GROSS                     1550 LA SALLE BLVD                                                                               HIGHLAND          MI      48356‐2744
JAMES GROSS JR                  4635 W SALISBURY DR                                                                              GLADWIN           MI      48624‐8643
JAMES GROSSHART                 4211 IMPERIAL DR                                                                                 SPRINGFIELD       OH      45503‐6214
JAMES GROTE                     1944 FISH LAKE RD                                                                                LAPEER            MI      48446‐8391
JAMES GROTE                     21956 ROAD N # 0                                                                                 CLOVERDALE        OH      45827
JAMES GROUP INTERNATIONAL       RONALD E. BUTLER              4335 W FORT ST                                                     DETROIT           MI      48209‐3221
JAMES GROUP INTERNATIONAL INC   DARNELL MILLER                4005 W FORT ST                                                     DETROIT           MI      48209‐3223
JAMES GROUP‐OHIO LLC            4335 W FORT ST                                                                                   DETROIT           MI      48209‐3221
JAMES GROUP‐OHIO LLC
JAMES GROUT                     327 MARKET ST                                                                                    LOCKPORT           NY     14094‐3022
JAMES GROUT                     9909 CHESTNUT RIDGE RD                                                                           MIDDLEPORT         NY     14105‐9681
JAMES GROVER                    3450 CLEGG DR                                                                                    SPRING HILL        TN     37174‐2827
JAMES GROVES                    3516 E HILL RD                                                                                   GRAND BLANC        MI     48439‐8106
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Name              Address1                             Address2                      Address3     Address4               City            State   Zip
JAMES GROVES      649 PARKER RD                                                                                          HAUGHTON         LA     71037‐7377
JAMES GROVES JR   2600 N MAPLEWOOD AVE                                                                                   MUNCIE           IN     47304‐2355
JAMES GRUBB       1359 ERIE CHURCH RD                                                                                    BEDFORD          IN     47421‐7599
JAMES GRUBBS      2786 MERRIWEATHER ST NW                                                                                WARREN           OH     44485‐2507
JAMES GRUNDY      856 PAWTUCKET DR                                                                                       HOPE             MI     48628‐9788
JAMES GRUVER      16 DOUGLAS ST                                                                                          TONAWANDA        NY     14150‐1203
JAMES GRUVER      75 N TURNER RD                                                                                         AUSTINTOWN       OH     44515‐2135
JAMES GUADALUPE   8348 NW 113TH TER                                                                                      OKLAHOMA CITY    OK     73162‐2140
JAMES GUALDONI    8236 GREENWICH CT                                                                                      FORT WAYNE       IN     46835‐8321
JAMES GUARNERA    9625 PROSPECT RD                                                                                       STRONGSVILLE     OH     44149‐2211
JAMES GUCK        5932 COUNTY ROAD 36                                                                                    HONEOYE          NY     14471‐9548
JAMES GUELZO      2433 FOX RUN RD SW APT 3                                                                               WYOMING          MI     49519‐4113
JAMES GUERCIO     861 RICHMOND AVE                                                                                       BUFFALO          NY     14222‐1117
JAMES GUESS       18778 WEBSTER AVE                                                                                      SOUTHFIELD       MI     48076‐1870
JAMES GUEST       2383 ORRIN DR                                                                                          QUINCY           MI     49082‐9600
JAMES GUEST       C/O THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                       HOUSTON          TX     77017
JAMES GUEVARA     3837 PRIMM ST                                                                                          SAINT LOUIS      MO     63123‐7730
JAMES GUEVARA     613 N CHARLES ST                                                                                       SAGINAW          MI     48602‐4804
JAMES GUFFEY      200 JANO WAY                                                                                           GLASGOW          KY     42141‐7713
JAMES GUGLIUZZA   684 WALNUT ST                                                                                          LOCKPORT         NY     14094‐3232
JAMES GUIGAR      329671 E DONNA JEAN CT                                                                                 WELLSTON         OK     74881‐5604
JAMES GUILLIAT    5300 MURLAND HOLW                                                                                      WHITE LAKE       MI     48383‐1342
JAMES GUINAN      THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET      22ND FLOOR                          BALTIMORE        MD     21201

JAMES GUINN       32676 BENSON DR                                                                                        WESTLAND         MI     48185‐9202
JAMES GUINN       5690 FORDHAM CIR APT 203                                                                               CANTON           MI     48187‐3352
JAMES GUINTHER    PO BOX 143                                                                                             BRAZIL           IN     47834‐0143
JAMES GUISE       620 W PIERSON RD                                                                                       FLINT            MI     48505‐6201
JAMES GULLEY      8841 FAYETTEVILLE RD                                                                                   JONESBORO        GA     30238‐4813
JAMES GUNKEL      14605 W 67TH ST                                                                                        SHAWNEE          KS     66216‐2104
JAMES GUNN
JAMES GUNNELL     7488 WICKLOW NORTH DR                                                                                  DAVISON         MI      48423‐8380
JAMES GUNNOE      BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS.     OH      44236
JAMES GUNTER      2725 SOUTH BLVD                                                                                        DAYTON          OH      45419‐2313
JAMES GUNTER      7903 W 500 S                                                                                           MORGANTOWN      IN      46160‐9667
JAMES GUNTLE      1372 E 400 N                                                                                           PORTLAND        IN      47371‐7924
JAMES GURIN       BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS.     OH      44236
JAMES GURLEY      5016 W SAN MIGUEL ST                                                                                   TAMPA           FL      33629‐5429
JAMES GURNEY      2241 DRUMMOND DR                                                                                       YUBA CITY       CA      95991‐8418
JAMES GURSKI      903 N CLINTON AVE                                                                                      SAINT JOHNS     MI      48879‐1039
JAMES GUSE        1102 EUGENIA DR                                                                                        MASON           MI      48854‐2035
JAMES GUSTAFSON   PO BOX 185                                                                                             DRUMMOND IS     MI      49726‐0185
JAMES GUSTAFSON   601 W FRONT ST                                                                                         GRAND LEDGE     MI      48837‐1023
JAMES GUSTAFSON   12729 AIRPORT RD                                                                                       DEWITT          MI      48820‐9219
JAMES GUSTIN      2284 E 900 S                                                                                           MARKLEVILLE     IN      46056‐9785
JAMES GUTCHAK     3555 WASHINGTON ST                                                                                     STANDISH        MI      48658‐9482
JAMES GUTOWSKI    10156 DUFFIELD RD                                                                                      MONTROSE        MI      48457‐9182
JAMES GUTT        PO BOX 299                                                                                             FAIRVIEW        MI      48621‐0299
JAMES GUTTING     5379 WYNDAM LN                                                                                         BRIGHTON        MI      48116‐4704
JAMES GUTZKE      4991 GULFGATE LN                                                                                       ST JAMES CITY   FL      33956‐2718
JAMES GUY         6310 HOAGLAND BLACKSTUB RD                                                                             CORTLAND        OH      44410‐9518
JAMES GUY         6644 MONTCLAIR DR                                                                                      TROY            MI      48085‐1626
JAMES GUY         1170 SOUTHERN BLVD NW                                                                                  WARREN          OH      44485‐2246
JAMES GUZAN       BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS.     OH      44236
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Name                               Address1                       Address2                       Address3     Address4               City             State   Zip
JAMES GUZDZIAL                     7111 RIVERTOWN RD                                                                                 SWARTZ CREEK      MI     48473‐8806
JAMES GUZMAN                       3844 W ALLEN RD                                                                                   QUEEN CREEK       AZ     85242‐9587
JAMES GWALTNEY                     3104 E 5TH ST                                                                                     ANDERSON          IN     46012‐3814
JAMES GWIZDALA                     1351 S NOLET RD                                                                                   MUNGER            MI     48747‐9744
JAMES GYURAN                       832 JOHNATHAN ROAD                                                                                POWELL            WY     82435
JAMES H AMOS                       3620 SIMKEN DR APT 2                                                                              LANSING           MI     48910
JAMES H ASHBY                      PO BOX 355                                                                                        WINDHAM           OH     44288‐0355
JAMES H AUSTIN                     777 ROOSEVELT ST NW                                                                               WARREN            OH     44483‐3141
JAMES H BATES                      368 ORCHARD LN                                                                                    CORTLAND          OH     44410
JAMES H BELL                       THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                                        HOUSTON           TX     77017
JAMES H BLANKENSHIP                13435 IRISH RD                                                                                    MILLINGTON        MI     48746‐9246
JAMES H BLOUGH                     581 MILLER PICKING RD                                                                             HOLSOPPLE         PA     15935
JAMES H BOHLMANN                   2160 BALTIMORE ST                                                                                 DEFIANCE          OH     43512
JAMES H BONE STANDING TRUSTEE      ACCT OF EDDIE HARLEMON         100 PEACHTREE ST NW STE 1100                                       ATLANTA           GA     30303‐1910
JAMES H BONE, STANDING TRUSTEE     ACCT OF SANDRA ANN SMITH       100 PEACHTREE ST NW                                                ATLANTA           GA     30303‐1901
JAMES H BONE, TRUSTEE              ACCT OF EUGENE CASH            100 PEACHTREE ST NW STE 1100                                       ATLANTA           GA     30303‐1910
JAMES H BOTZENHART                 1022 PERKINS‐JONES RD APT 6A                                                                      WARREN            OH     44483‐1842
JAMES H BRACKENRIDGE               5660 SW HIGHWAY DD                                                                                EL DORADO SPG     MO     64744‐7463
JAMES H BRADLEY                    351 COMMONWEALTH AVE                                                                              FLINT             MI     48503‐2110
JAMES H BRADY JR                   5872 PONTIAC LAKE RD                                                                              WATERFORD         MI     48327‐2117
JAMES H BRILE                      2273 BRUCE DR                                                                                     POTTSTOWN         PA     19464
JAMES H BRINKLEY                   11310 S AMINDA ST                                                                                 OLATHE            KS     66061‐7147
JAMES H BROWN                      1882 WATAUGA RD                                                                                   FRANKLIN          NC     28734‐2334
JAMES H BROWN                      1588 S. RIVER ROAD                                                                                YELLOW SPRINGS    OH     45387‐9639
JAMES H BROWN SR                   3996 BRUMBAUGH BLVD                                                                               TROWOOD           OH     45416
JAMES H BRUMBELOW                  WEITZ & LUXENBERG P C          700 BROADWAY                                                       NEW YORK CITY     NY     10003
JAMES H BRYANT                     C/O THE SUTTER LAW FIRM PLLC   1598 KANAWHA BLVD E                                                CHARLESTON        WV     25311
JAMES H BURNS                      899 DONHAM DR                                                                                     DAYTON            OH     45434
JAMES H CAFFIE                     PO BOX 1602                                                                                       WARREN            OH     44482‐1602
JAMES H CARROLL                    345 CHESTNUT DRIVE                                                                                EATON             OH     45320
JAMES H COAKLEY                    128 JORDON AVE                                                                                    ROCHESTER         NY     14606‐4138
JAMES H COLLINS                    197 LANDSDOWNE BLVD.                                                                              YOUNGSTOWN        OH     44506‐1136
JAMES H COLLINS                    1624 HEARTHSTONE DR.                                                                              DAYTON            OH     45410
JAMES H COTTEY                     1125 MEADOW CREEK RD                                                                              CLINTON           AR     72031
JAMES H COURTER                    1455 COBBLESTONE ST                                                                               DAYTON            OH     45432‐3406
JAMES H COX                        6622 EASTMONT DR                                                                                  FLINT             MI     48505‐2431
JAMES H COX JR                     901 PALLISTER ST APT 401                                                                          DETROIT           MI     48202‐2680
JAMES H CRAWLEY                    4824 DARBYSHIRE CT                                                                                CANFIELD          OH     44406‐9230
JAMES H DALTON                     5289 WINDY POINT RD                                                                               CELINA            OH     45822‐8128
JAMES H DARDEN                     5331 PATHVIEW DR                                                                                  HUBER HEIGHTS     OH     45424‐2566
JAMES H DARLING                    7296 PHELPS AVE                                                                                   WOLCOTT           NY     14590‐9387
JAMES H DAVIS JR                   799 FOX AVE                                                                                       YPSILANTI         MI     48198‐6197
JAMES H DAWSON                     37 GREENACRE DR.                                                                                  SPRINGFIELD       OH     45504‐3309
JAMES H DICKNEITE                  9951 HOLST RD                                                                                     BLOOMSDALE        MO     63627‐8928
JAMES H DIXON                      10345 CREEK RD                                                                                    PAVILION          NY     14525‐9718
JAMES H DONOGHUE                   ATTN MICHAEL C SHEPARD         THE SHEPARD LAW FIRM PC        10 HIGH ST                          BOSTON            MA     02110
JAMES H DOSS I I I                 112 BETHPOLAMY CT                                                                                 DAYTON            OH     45415‐2511
JAMES H DOUGLAS                    620 GRAMONT AVE                                                                                   DAYTON            OH     45407‐1439
JAMES H DRENNAN                    4149 BICKEL ST                                                                                    MILFORD           MI     48381
JAMES H EAST                       1128 NORTHVILLE DR                                                                                TOLEDO            OH     43612‐4234
JAMES H EVES                       613 E MAIN ST                                                                                     FLUSHING          MI     48433‐2007
JAMES H EYLER                      3941 HAINES RD                                                                                    WAYNESVILLE       OH     45068
JAMES H FAULKNER STATE COMMUNITY   1900 S US HIGHWAY 31                                                                              BAY MINETTE       AL     36507‐2619
COLLEGE
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Name                                 Address1                             Address2                      Address3                    Address4               City              State   Zip
JAMES H FLASK                        4331 S.R. 87                                                                                                          FARMDALE           OH     44417‐9732
JAMES H FRITTS                       8511 ALPINE ST                                                                                                        DETROIT            MI     48204‐3306
JAMES H FULTZ                        225 ROUTE 36                                                                                                          FRENCHBURG         KY     40322‐9632
JAMES H GANHS JR                     6195 COLD SPRING TRL                                                                                                  GRAND BLANC        MI     48439
JAMES H GEORGE                       104 ST ANDREWS                                                                                                        CORTLAND           OH     44410
JAMES H GLODDE                       4132 N LEAVITT RD NW                                                                                                  WARREN             OH     44485
JAMES H GORDON                       4821 EASTGATE AVE                                                                                                     DAYTON             OH     45420
JAMES H GOUGH                        2216 S NIAGARA ST                                                                                                     SAGINAW            MI     48602‐1245
JAMES H GREEN                        4293 BALSAM CT                                                                                                        LEWISTON           MI     49756‐8870
JAMES H GREENE                       4931 DINSMORE RD                                                                                                      WEST CARROLLTON    OH     45449‐2730

JAMES H GUY                          6644 MONTCLAIR DR                                                                                                     TROY              MI      48085‐1626
JAMES H HAMLETT                      1000 COUNTY ROAD 246                                                                                                  PARMA             MO      63870
JAMES H HANDRICH                     6231 AUTUMNVIEW STA                                                                                                   NEWFANE           NY      14108‐9787
JAMES H HARRIS                       40702 BABB ROAD                                                                                                       UMATTILA          FL      32784
JAMES H HASTY                        2332 FARMERSVILLE‐W. ALEX RD                                                                                          FARMERSVILLE      OH      45325
JAMES H HELZER                       4022 N CENTER RD                                                                                                      FLINT             MI      48506‐1436
JAMES H HENDERSON                    C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY, STE 600                                                       HOUSTON           TX      77007
                                     BOUNDAS, LLP
JAMES H HENDRICKS II                 911 TAYWOOD RD.                                                                                                       ENGLEWOOD         OH      45322
JAMES H HOOD, JR                     C/O WILLIAMS KHERKHER HART AND       8441 GULF FREEWAY STE 600                                                        HOUSTON           TX      77007
                                     BOUNDAS LLP
JAMES H HUDSON                       1753 COMMONWEALTH DR                                                                                                  XENIA             OH      45385‐4815
JAMES H HUDSON JR                    5914 HOMEDALE ST                                                                                                      W CARROLLTON      OH      45449
JAMES H HUDSON JR                    313 W PULASKI AVE                                                                                                     FLINT             MI      48505‐3350
JAMES H JENKINS                      4834 HOOVER AVE                                                                                                       DAYTON            OH      45427‐3161
JAMES H JOHNSON & CAROLYN W          JAMES H JOHNSON & CAROLYN W          2074 MADISON VILLAS WAY                                                          MADISON           AL      35758‐8805
JOHNSON                              JOHNSON JTWROS
JAMES H JORDAN JR.                   2215 BROUGHTON SPRING RD                                                                                              SOUTHSIDE         AL      35907‐5312
JAMES H JOROLEMON                    12 HIGHVIEW DR                                                                                                        HAMLIN            NY      14464‐9322
JAMES H JUNOD                        5373 PURCELL RD                                                                                                       HEMLOCK           NY      14466‐9609
JAMES H KERNS, JR.                   6108 TAYWOOD ROAD APT H                                                                                               INGLEWOOD         OH      45322
JAMES H KING, JR.                    4505 THISTLE DR.                                                                                                      DAYTON            OH      45427‐2837
JAMES H KLINK & MARY F KLINK TTEES   JAMES H KLINK & MARY F KLINK TRUST   U/A DTD 4/23/92               800 SOUTH 15TH STREET APT                          SEBRING           OH      44672
                                                                                                        7312
JAMES H KONING                       C/O KONING & JILEK PC                8080 MOORSBRIDGE RD STE 103                                                      PORTAGE           MI      49024
JAMES H KRAMER                       4649 KINGSWOOD DR                                                                                                     BRIGHTON          MI      48116‐9407
JAMES H LA RUE                       PO BOX 220                                                                                                            HOT SPRINGS       MT      59845
JAMES H LAWLESS                      PO BOX 71                                                                                                             ELYSIAN FLDS      TX      75642‐0071
JAMES H LEACH                        729 CLARK STREET                     CONDO #35                                                                        TECUMSEH          MI      49286
JAMES H LEDFORD                      7656 E DOWNING ST                                                                                                     MESA              AZ      85207‐5701
JAMES H LEMASTER                     922 CAMP CREEK RD                                                                                                     WAYNESVILLE       OH      45068‐9205
JAMES H LOCKHART                     375 N GARBER DRIVE                                                                                                    TIPP CITY         OH      45371‐1334
JAMES H LOCKHART JR                  375 GARBER DR.                                                                                                        TIPP CITY         OH      45371‐1334
JAMES H LOTTS                        1855 W WICKENBURG WAY                LOT #124                                                                         WICKENBURG        AZ      85390
JAMES H LYKINS                       5193 HORSESHOE DRIVE                                                                                                  LEWISBURG         OH      45338‐8922
JAMES H MAC EACHERN                  13037 HOUGH RD                                                                                                        MEMPHIS           MI      48041‐3411
JAMES H MAC FARLANE                  31744 CHESTER ST                                                                                                      GARDEN CITY       MI      48135‐1740
JAMES H MALINAK                      297 ROGERS AVE                                                                                                        TONAWANDA         NY      14150‐5240
JAMES H MARCUM                       862 JUNEAU RD                                                                                                         YPSILANTI         MI      48198‐6370
JAMES H MARTIN                       3534 LINGER LN                                                                                                        SAGINAW           MI      48601‐5621
JAMES H MARTIN                       611 BRENTWOOD ST                                                                                                      TILTON            IL      61833‐8006
JAMES H MASTERSON                    6281 WEYBRIDGE DR                                                                                                     TROTWOOD          OH      45426‐1441
JAMES H MEEKER                       116 FONTAINE WALK                                                                                                     WARNER ROBINS     GA      31088
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Name                                Address1                       Address2                     Address3          Address4               City            State   Zip
JAMES H MERCEL                      8 WINTER RDG                                                                                         SPENCERPORT      NY     14559
JAMES H MESSER                      6220 EAST BROADWAY RD          APT 132                                                               MESA             AZ     85206‐6051
JAMES H MIDDLETON                   PO BOX 1226                                                                                          NOBLE            OK     73068‐1226
JAMES H MOSS                        301 CHATHAM DRIVE                                                                                    FAIRBORN         OH     45324‐4117
JAMES H MUHS                        5997 SPRINGWATER RD                                                                                  DANSVILLE        NY     14437‐9772
JAMES H MULLET                      2681 GEORGETOWN‐VERONA RD                                                                            LEWISBURG        OH     45338
JAMES H MUSE                        3709 WEDGEWOOD DR                                                                                    LANSING          MI     48911‐2144
JAMES H NATHO                       12871 ORCARD ST                                                                                      SOUTHGATE        MI     48195‐1617
JAMES H NORTHROP                    19 DR MANNING DR                                                                                     LEBANON          CT     06249
JAMES H OLSON                       1280 S OVERLAND DR                                                                                   LENNON           MI     48449‐9673
JAMES H OMLOR                       37 ASHWOOD AVE                                                                                       DAYTON           OH     45405‐2640
JAMES H OWENS                       C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                             HOUSTON          TX     77007
                                    BOUNDAS LLP
JAMES H PATRZIK                     4856 E LECKIE LN                                                                                     SAGINAW         MI      48603‐9630
JAMES H PEYATT                      2219 STEWART DR NW                                                                                   WARREN          OH      44485
JAMES H PIERCE                      C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                             HOUSTON         TX      77007
                                    BOUNDAS LLP
JAMES H PINKNEY                     C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                             HOUSTON          TX     77007
                                    BOUNDAS LLP
JAMES H POTTS                       139 DAVID WATKINS RD                                                                                 SMITHS GROVE    KY      42171‐9100
JAMES H POWER                       3095 DEWEY AVE.                                                                                      ROCHESTER       NY      14616‐3733
JAMES H PRESLEY                     1804 PERSHING BLVD                                                                                   DAYTON          OH      45420‐2427
JAMES H PUGH                        901 PALLISTER ST APT 511                                                                             DETROIT         MI      48202‐2680
JAMES H QUILLIN JR                  NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT     205 LINDA DR                             DAINGERFIELD    TX      75638
JAMES H RAMSEY                      2501 PROVIDENCE CHURCH RD                                                                            ANDERSON        SC      29626
JAMES H RANDOLPH                    1111 DARLINGTON DR                                                                                   BEAVERCREEK     OH      45434
JAMES H REAVES                      OHIO VETRANS HOME              3416 COLUMBUS AVENUE                                                  SANDUSKY        OH      44870
JAMES H RICE                        8940 HOLCOMB ST                                                                                      DETROIT         MI      48213‐2247
JAMES H RICHARDSON                  19 HILL                                                                                              HIGHLAND PARK   MI      48203‐2756
JAMES H ROBBINS                     3523 NORTH ST ROUTE 42                                                                               WAYNESVILLE     OH      45068‐9505
JAMES H ROSS                        3116 PLAZA DR NE APT C7                                                                              GRAND RAPIDS    MI      49525‐2931
JAMES H ROY                         2100 BENDING WILLOW                                                                                  KETTERING       OH      45440
JAMES H RUDISILL SR                 4721 BERT DR                                                                                         MONROEVILLE     PA      15146
JAMES H RUSSELL                     NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD    TX      75638
JAMES H RUSSELL & DIANA M RUSSELL   5861 LAKE VICTORIA DRIVE                                                                             LAKELAND        FL      33813
JAMES H SAVELY                      PO BOX 43                                                                                            NEW PLYMOUTH    OH      45654‐0043
JAMES H SAYER                       PO BOX 1087                                                                                          FORKED RIVER    NJ      08731
JAMES H SCHARTOW                    5060 SO. TWO MILE                                                                                    BAY CITY        MI      48706‐3040
JAMES H SHAMBAUGH                   402 GOLF CLUB AVE                                                                                    DILLSBURG       PA      17019
JAMES H SIMMONS FAMILY LIMITED      195 BESFORD RD                                                                                       MOORESVILLE     NC      28117‐9697
PARTNERSHIP
JAMES H SINGLETON                   PO BOX 2337                                                                                          DETROIT         MI      48202‐0337
JAMES H SITZMAN                     9562 STATE ROUTE 571                                                                                 ARCANUM         OH      45304
JAMES H SMITH                       PO BOX 51747                                                                                         KNOXVILLE       TN      37950
JAMES H SMITH                       C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                                            HOUSTON         TX      77007
                                    BOUNDAS, LLP
JAMES H SNEAD                       7025 N BRAY RD                                                                                       MOUNT MORRIS     MI     48458‐8988
JAMES H SPENCER                     3957 S VAN NESS AVE                                                                                  LOS ANGELES      CA     90062‐1325
JAMES H STANKE                      8434 N ELMS RD                                                                                       FLUSHING         MI     48433‐8852
JAMES H STAWASZ                     1695 COMMERCE PINES CIR                                                                              COMMERCE         MI     48390‐1571
                                                                                                                                         TOWNSHIP
JAMES H STEPHENS                    APT 420                        800 ELM DRIVE                                                         EDGERTON        WI      53534‐1238
JAMES H STEVENSON                   7322 RIDGE RD                                                                                        LOCKPORT        NY      14094‐9458
JAMES H STRASCHEIM JR               1846 LANI DR                                                                                         EATON           OH      45320‐9706
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Name                Address1                        Address2                   Address3          Address4               City             State   Zip
JAMES H SWAIN       C/O WEITZ & LUXENBERG PC        70O BROADWAY                                                        NEW YORK CITY     NY     10003
JAMES H SWAIN       WEITZ & LUXENBERG PC            700 BROADWAY                                                        NEW YORK CITY     NY     10003
JAMES H TAYLOR      377 ORINOCO ST                                                                                      DAYTON            OH     45431
JAMES H TENNYSON    C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY          STE 600                                  HOUSTON           TX     77007
                    BOUNDAS L L P
JAMES H TURNER      5400 NORTHCUTT PL                                                                                   DAYTON           OH      45414‐3743
JAMES H TURNER      4 SHELLY CIR                                                                                        WICHITA FALLS    TX      76302
JAMES H VANCIL JR   4440 WOODCLIFF AVENUE                                                                               DAYTON           OH      45420‐3147
JAMES H WARD        7903 SHILOH ROAD                                                                                    ENGLEWOOD        OH      45322‐9606
JAMES H WEAVER      NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                          DAINGERFIELD     TX      75638
JAMES H WEBB        2115 KENO DRIVE                                                                                     CROSSVILLE       TN      38572‐3456
JAMES H WEBER       8107 MEADOWLARK DR                                                                                  CARLISLE         OH      45005‐4212
JAMES H WRIGHT JR   107 LENNOX AVE                                                                                      AMHERST          NY      14226‐4266
JAMES H YOUNG       PO BOX 14317                                                                                        SAGINAW          MI      48601‐0317
JAMES H YOUNG       132 SPRINGFIELD CIR                                                                                 JACKSON          MS      39209
JAMES H. SPANN      492 E. LEWISTON AVE. APT 2                                                                          FERNDALE         MI      49220‐1471
JAMES H. LOY JR.    131 GIRON ST.                                                                                       WEST LEECHBURG   PA      15301
JAMES H. PARNELL
JAMES HAAKE         103 BIRCH LN                                                                                        GERMANTOWN        IL     62245‐2003
JAMES HAAR          228 HUFFMAN ST                                                                                      BELLEVUE         OH      44811‐1018
JAMES HAAR          7 W CEDAR ST                                                                                        NEW BADEN         IL     62265‐1324
JAMES HAAS          352 MCBRIDE AVE                                                                                     DUPO              IL     62239‐1640
JAMES HAAS          2363 CASTLETON DR                                                                                   TROY             MI      48083‐2617
JAMES HAAS          1351 GRISSOM CT                                                                                     SAGINAW          MI      48609‐4215
JAMES HAASE         68519 OAK SPRING RD                                                                                 EDWARDSBURG      MI      49112‐9502
JAMES HABEREK       45954 CORTE CARMELLO                                                                                TEMECULA         CA      92592‐1277
JAMES HABERMAN      PO BOX 401                                                                                          FOOTVILLE        WI      53537‐0401
JAMES HABERMAN      9038 BAYVIEW CIR                                                                                    PLAINFIELD       IN      46160‐4735
JAMES HACKETT       25875 LEACH ST                                                                                      ROSEVILLE        MI      48066‐3668
JAMES HACKETT       115 WINDEMERE DR                                                                                    NEW CASTLE       PA      16105‐1655
JAMES HACKLER       1680 RANCH RD                                                                                       HOLLY            MI      48442‐8003
JAMES HACKLEY       7 GREENEVIEW DR                                                                                     JAMESTOWN        OH      45335‐1536
JAMES HACKWORTH     301 COLLEGE AVE                                                                                     KENNETT          MO      63857‐2010
JAMES HADDEN        2139 CRESTLINE DR                                                                                   BURTON           MI      48509‐1341
JAMES HADDIX        6127 PALMETTO DR                                                                                    MOUNT MORRIS     MI      48458‐2829
JAMES HADDON        9217 SHERIDAN RD                                                                                    GAINES           MI      48436‐8932
JAMES HADDRILL      96 W FAIRMOUNT AVE                                                                                  PONTIAC          MI      48340‐2734
JAMES HADLEY        7212 E MAPLE AVE                                                                                    GRAND BLANC      MI      48439‐9762
JAMES HAEFKE        1243 BEXLEY DR                                                                                      AUSTINTOWN       OH      44515‐4436
JAMES HAEHL         312 CHAPEL ST                                                                                       LOCKPORT         NY      14094‐2406
JAMES HAFDAHL       4100 TROY RD LOT 68                                                                                 SPRINGFIELD      OH      45502‐8852
JAMES HAFNER        10480 S GRAHAM RD                                                                                   SAINT CHARLES    MI      48655‐9505
JAMES HAGAMAN       33700 HURON RIVER DR                                                                                NEW BOSTON       MI      48164‐9777
JAMES HAGEN         644 CREST LOOP                                                                                      GASSVILLE        AR      72635‐8014
JAMES HAGEN         13 S MESA LOOP                                                                                      RATON            NM      87740‐9770
JAMES HAGEN         1299 W NIELSON RD                                                                                   SANFORD          MI      48657‐9605
JAMES HAGENS        3807 WESTBRIER TER                                                                                  MIDLAND          MI      48642
JAMES HAGER         7138 BRITTWOOD LN                                                                                   FLINT            MI      48507‐4622
JAMES HAGER         5731 N 100 E                                                                                        ALEXANDRIA       IN      46001‐8795
JAMES HAGERL        31 JUNIPER AVE                                                                                      LOS LUNAS        NM      87031‐7019
JAMES HAGERMAN      525 IRVING DR                                                                                       LEWISTON         NY      14092‐2135
JAMES HAGGART       6200 SWAINLAND RD                                                                                   OAKLAND          CA      94611‐1842
JAMES HAGOPIAN      227 HEMPSTEAD DR                                                                                    SOMERSET         NJ      08873‐3966
JAMES HAHN          117 APPIAN WAY                                                                                      ANDERSON         IN      46013‐4769
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Name                Address1                       Address2            Address3         Address4               City               State   Zip
JAMES HAHN          6663 DULCE REAL                                                                            FORT PIERCE         FL     34951‐4405
JAMES HAHN JR       2328 DISCOVERY DR                                                                          ANDERSON            IN     46017‐9528
JAMES HAIDUSEK      11378 PFLUMM RD                                                                            LENEXA              KS     66215‐4813
JAMES HAIGHT        34430 LAW RD                                                                               GRAFTON             OH     44044‐9264
JAMES HAINES        115 ASHWOOD WAY                                                                            ST SIMONS IS        GA     31522‐5704
JAMES HAINES        1265 E HUGHES LAKE RD                                                                      ROSE CITY           MI     48654‐9622
JAMES HAINES        20560 STATE ROUTE 34                                                                       STRYKER             OH     43557‐9430
JAMES HAINES        1345 W ARNOLD LAKE ROAD                                                                    HARRISON            MI     48625
JAMES HAINES IV     5631 N OLIVIA DR                                                                           ALEXANDRIA          IN     46001‐8605
JAMES HAIRFIELD     19408 GRAVE RUN RD                                                                         HAMPSTEAD           MD     21074‐2731
JAMES HAIRSTON      18023 OLYMPIA DR                                                                           COUNTRY CLUB         IL    60478‐5133
                                                                                                               HILLS
JAMES HAIRSTON      11601 E 51ST ST                                                                            RAYTOWN            MO      64133‐2505
JAMES HAIST         6158 WOODSDALE DR                                                                          GRAND BLANC        MI      48439‐8552
JAMES HAIST II      4324 WOODROW AVE                                                                           BURTON             MI      48509‐1126
JAMES HAJEK         4825 LAUDERDALE DR APT 8                                                                   MORAINE            OH      45439‐2850
JAMES HAKE          100 WEST FRANKLIN STREET                                                                   CLINTON            MO      64735
JAMES HALBACH       4953 CLOVERHILL DR                                                                         MURFREESBORO       TN      37128‐3702
JAMES HALBERSTADT   10827 153RD CT N                                                                           JUPITER            FL      33478‐6821
JAMES HALBERT       32672 MACKENZIE DR                                                                         WESTLAND           MI      48185‐1549
JAMES HALBERT       2308 HOPEWELL RD                                                                           CLEBURNE           TX      76031‐7826
JAMES HALCOMB       9128 N PENNINGTON RD                                                                       MOORESVILLE        IN      46158‐6670
JAMES HALDANE       26165 THOMAS ST                                                                            WARREN             MI      48091‐3967
JAMES HALE          6802 HAMPSTEAD AVE                                                                         PARMA              OH      44129‐3737
JAMES HALE          64 SEMINARY ST                                                                             GREENWICH          OH      44837‐1041
JAMES HALE          7377 NOBLE RD                                                                              WINDSOR            OH      44099‐9803
JAMES HALE          206 CROSS TIMBERS ST                                                                       OXFORD             MI      48371‐4704
JAMES HALE          3137 AVALON DR                                                                             FLINT              MI      48507‐3468
JAMES HALE          4406 N ELMS RD                                                                             FLUSHING           MI      48433‐1449
JAMES HALE          8051 MISTY TRL                                                                             FORT WORTH         TX      76123‐1955
JAMES HALE          PO BOX 723                                                                                 JACKSBORO          TN      37757‐0723
JAMES HALE          5484 MCNAMARA LN                                                                           FLINT              MI      48506‐2279
JAMES HALE          1902 MACKIN RD                                                                             FLINT              MI      48504‐3414
JAMES HALE JR       816 MARK DR                                                                                DEL CITY           OK      73115‐2922
JAMES HALES         2796 CLAYBURN RD                                                                           SAGINAW            MI      48603‐3118
JAMES HALES         16884 SUSSEX ST                                                                            DETROIT            MI      48235‐3718
JAMES HALEY         4586 SHATTUCK RD                                                                           SAGINAW            MI      48603‐2955
JAMES HALEY         2301 VOLNEY RD                                                                             YOUNGSTOWN         OH      44511‐1438
JAMES HALEY         1044 S 2ND ST                                                                              ELKHART            IN      46516‐3316
JAMES HALEY         PO BOX 5133                                                                                CANTON             GA      30114‐5243
JAMES HALEY         1210 MAIN ST                                                                               OSAWATOMIE         KS      66064‐1641
JAMES HALEY         675 W WILLIS ST STE 12                                                                     DETROIT            MI      48201‐1639
JAMES HALFMANN      9220 W PARKS RD                                                                            SAINT JOHNS        MI      48879‐9564
JAMES HALFMANN      437 N SORRELL ST                                                                           FOWLER             MI      48835‐9297
JAMES HALIBURTON    19311 BERKELEY RD                                                                          DETROIT            MI      48221‐1803
JAMES HALL          2108 NE 78TH ST                                                                            KANSAS CITY        MO      64118‐2024
JAMES HALL          4384 OAKVISTA AVE                                                                          CLARKSTON          MI      48346‐3813
JAMES HALL          829 ENGLEWOOD DR                                                                           ENGLEWOOD          OH      45322‐2810
JAMES HALL          3441 GERMAN CHURCH RD                                                                      MANSFIELD          OH      44904‐9312
JAMES HALL          5477 W 200 N                                                                               MARION             IN      46952‐6773
JAMES HALL          3851 E STATE ROAD 236                                                                      ANDERSON           IN      46017‐9788
JAMES HALL          8406 WAGON WHEEL CIR                                                                       NORTH FORT MYERS   FL      33917‐2659

JAMES HALL          1217 CALHOUN ST                                                                            GRAND BLANC         MI     48439‐9306
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JAMES HALL           506 PRINCE RUPPERT DR                                                                           O FALLON           MO     63366‐2216
JAMES HALL           5915 STATE ROUTE 790                                                                            SCOTTOWN           OH     45678‐9678
JAMES HALL           704 STATE RD APT 60                                                                             DAVISON            MI     48423
JAMES HALL           2421 CHARANN ST                                                                                 SAINT CHARLES      MO     63301‐2501
JAMES HALL           1624 TAMARACK DR                                                                                SAINT CHARLES      MO     63301‐0161
JAMES HALL           8401 CORONA AVE                                                                                 KANSAS CITY        KS     66112‐1726
JAMES HALL           204 OREGON TRL                                                                                  MONROE             LA     71202‐3722
JAMES HALL           3820 BLUE RIDGE BLVD                                                                            INDEPENDENCE       MO     64052‐2357
JAMES HALL           4926 LUKER RD SW                                                                                DECATUR            AL     35603‐5020
JAMES HALL           14457 WOODMONT AVE                                                                              DETROIT            MI     48227‐4710
JAMES HALL           3086 CONCORD ST                                                                                 TRENTON            MI     48183‐3492
JAMES HALL           4160 BERYL RD                                                                                   FLINT              MI     48504‐1453
JAMES HALL           3233 DONLEY AVE                                                                                 ROCHESTER HILLS    MI     48309‐4127
JAMES HALL           2795 N LAPEER RD                                                                                LAPEER             MI     48446‐8679
JAMES HALL           11311 N STATE ROAD 3                                                                            MUNCIE             IN     47303‐9705
JAMES HALL           PO BOX 327                                                                                      LAKE GEORGE        MI     48633‐0327
JAMES HALL           4880 ENNISMORE DR                                                                               CLARKSTON          MI     48346‐3621
JAMES HALL           8511 IRISH RD                                                                                   OTISVILLE          MI     48463‐9469
JAMES HALL           6453 LINDEN RD                                                                                  SWARTZ CREEK       MI     48473‐8848
JAMES HALL           2700 STATION ST                                                                                 ROCK CREEK         OH     44084‐9659
JAMES HALL           3535 N US HIGHWAY 23                                                                            OSCODA             MI     48750‐9529
JAMES HALL           PO BOX 138                                                                                      WHITTAKER          MI     48190‐0138
JAMES HALL           11580 LARES DR                                                                                  FLORISSANT         MO     63033‐7006
JAMES HALL           1720 WASHINGTON RD                                                                              ROCHESTER HILLS    MI     48306‐3550
JAMES HALL           2826 WINDY WAY                                                                                  THOMPSONS          TN     37179‐9263
                                                                                                                     STATION
JAMES HALL           632 FARNSWORTH ST                                                                               WHITE LAKE         MI     48386‐3128
JAMES HALL           3039 MILL RUN CT                                                                                DULUTH             GA     30097‐2139
JAMES HALL           11741 MORTENVIEW DR                                                                             TAYLOR             MI     48180‐4345
JAMES HALL           12244 W CORUNNA RD                                                                              LENNON             MI     48449‐9710
JAMES HALL           4225 LAPEER ST                                                                                  COLUMBIAVILLE      MI     48421‐9389
JAMES HALL
JAMES HALL JR        626 HUNT RUN DR                                                                                 O FALLON          MO      63366‐4855
JAMES HALL JR        22164 WOODWILL ST                                                                               SOUTHFIELD        MI      48075‐5817
JAMES HALLAUER       PO BOX 204                                                                                      PRESQUE ISLE      MI      49777‐0204
JAMES HALLER         PO BOX 441                                                                                      WEBBERVILLE       MI      48892‐0441
JAMES HALLER         3525 LOON LAKE CT                                                                               LINDEN            MI      48451‐9440
JAMES HALLER JR      11315 BROADSTREET AVE                                                                           DETROIT           MI      48204‐1646
JAMES HALLIWILL SR   5612 THORNAPPLE LAKE RD                                                                         NASHVILLE         MI      49073‐8763
JAMES HALLORAN III   57519 SUFFIELD DR                                                                               WASHINGTON        MI      48094‐3558
JAMES HALSELL        PO BOX 263                                                                                      MIDDLETOWN        IN      47356‐0263
JAMES HALSEY         717 CHAPEL CREEK LN                                                                             FULTONDALE        AL      35068‐6044
JAMES HALSTEAD       9105 LIKEN RD                                                                                   SEBEWAING         MI      48759‐9572
JAMES HALTERMAN      2777 JOHN R RD                                                                                  ROCHESTER HILLS   MI      48307‐4653
JAMES HALTOM         2710 E COUNTY ROAD 1050 S                                                                       CLOVERDALE        IN      46120‐9140
JAMES HALTOM JR      6453 BRIGHT MORNING ST                                                                          NORTH LAS VEGAS   NV      89084‐2053
JAMES HALVERSON      2521 N CHEVROLET AVE                                                                            FLINT             MI      48504‐2843
JAMES HALVERSON      408 HIGHWAY ST                                                                                  EDGERTON          WI      53534‐1906
JAMES HAM            801 HARTNER ST                                                                                  HOLLY             MI      48442‐1262
JAMES HAM            1323 CAROLINE CIR                                                                               FRANKLIN          TN      37064‐6740
JAMES HAMBLIN        177 STOVER RD                                                                                   WEST ALEXANDRIA   OH      45381‐9390

JAMES HAMBY          BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.       OH      44236
JAMES HAMELINK       6413 DALE RD                                                                                    NEWFANE           NY      14108‐9763
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Name                Address1                             Address2                     Address3     Address4               City            State   Zip
JAMES HAMILTON      705 S GREEN CIR                                                                                       VENICE           FL     34285‐2917
JAMES HAMILTON      205 GREENWOOD PLACE C.S.L.                                                                            NORTH VERNON     IN     47265
JAMES HAMILTON      11801 NELSON PARKMAN RD                                                                               GARRETTSVILLE    OH     44231‐9621
JAMES HAMILTON      371 PIONEER TRL                                                                                       CEDAR SPRINGS    MI     49319‐8672
JAMES HAMILTON      9137 S 50 W                                                                                           PENDLETON        IN     46064‐9348
JAMES HAMILTON      5959 N SHORE DR                                                                                       UNIONVILLE       IN     47468‐9513
JAMES HAMILTON      309 CLEMENT RD                                                                                        LANSING          MI     48917‐3646
JAMES HAMILTON      1349 RINGTAIL RD                                                                                      VENICE           FL     34293‐4814
JAMES HAMILTON      7559 BLOCKER RD                                                                                       MARSHALL         TX     75672‐1985
JAMES HAMILTON      3383 HIGHWAY 78                                                                                       RUSSELLVILLE     AL     35654‐9336
JAMES HAMILTON      700 YORK DR                                                                                           ROGERSVILLE      AL     35652‐7104
JAMES HAMILTON      PO BOX 3371                                                                                           WARREN           OH     44485‐0371
JAMES HAMILTON      2731 COURT LN N                                                                                       HOWELL           MI     48843‐6539
JAMES HAMILTON      2125 SOUTH BLUFFS WAY                                                                                 YUMA             AZ     85365‐1128
JAMES HAMILTON      2125 N SCATTERFIELD RD                                                                                ANDERSON         IN     46012‐1542
JAMES HAMILTON      BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.      OH     44236
JAMES HAMLIN        127 FERRIS DR                                                                                         BROOKLYN         MI     49230‐9776
JAMES HAMM          10015 TOWER RD                                                                                        GOSPORT          IN     47433‐9437
JAMES HAMM SR       7805 PENCE ROAD                                                                                       HILLSBORO        OH     45133‐9197
JAMES HAMMAN        25074 RIVERWALK DR                                                                                    LEESBURG         FL     34748‐7403
JAMES HAMMEL        509 WELLINGTON ST                                                                                     CHELSEA          MI     48118‐1337
JAMES HAMMERS       BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.      OH     44236
JAMES HAMMERSLEY    10090 DODGE RD                                                                                        MONTROSE         MI     48457‐9020
JAMES HAMMERSMITH   15918 DOHONEY RD RT 8                                                                                 DEFIANCE         OH     43512
JAMES HAMMOCK       5644 N 9 MILE RD                                                                                      PINCONNING       MI     48650‐7956
JAMES HAMMOCK       24325 S STATE HIGHWAY 47                                                                              WARRENTON        MO     63383‐6955
JAMES HAMMOCK       34145 PINEWOODS CIRCLE APT105 BL                                                                      ROMULUS          MI     48174
JAMES HAMMON        512 W 12TH ST                                                                                         FLINT            MI     48503‐3863
JAMES HAMMOND       89 BLAINE AVE                                                                                         BUFFALO          NY     14208‐1058
JAMES HAMMOND       THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET     22ND FLOOR                          BALTIMORE        MD     21201

JAMES HAMMONDS      79 S 10TH ST                                                                                          NEWARK          NJ      07107‐2114
JAMES HAMPTON       811 W SUNSET DR                                                                                       GLENWOOD        IL      60425‐1128
JAMES HAMPTON       24077 CURRIER ST                                                                                      DEARBORN HTS    MI      48125‐2035
JAMES HAMPTON       8233 OAKVILLE WALTZ RD                                                                                BELLEVILLE      MI      48111‐9502
JAMES HAMPTON       3615 WESTFIELD DR                                                                                     ANDERSON        IN      46011‐3856
JAMES HAMPTON       8404 S ELIZABETH ST                                                                                   CHICAGO         IL      60620‐4035
JAMES HAMPTON       1059 HIGHLAND AVE                                                                                     ANDALUSIA       PA      19020‐6422
JAMES HAMPTON       P.0. 517                                                                                              NOTTINGHAM      PA      19362
JAMES HAMPTON       410 NORMANDY RD                                                                                       LOUISBURG       NC      27549‐7539
JAMES HAMPTON       PO BOX 33                                                                                             BLACKWATER      VA      24221‐0033
JAMES HAMPTON       106 CUIVRE PARC                                                                                       TROY            MO      63379‐5403
JAMES HAMPTON SR    PO BOX 531901                                                                                         INDIANAPOLIS    IN      46253‐1901
JAMES HANCOCK       5438 COTTAGE GROVE LN                                                                                 NOBLESVILLE     IN      46062‐6098
JAMES HANCOCK       354 WYE RD                                                                                            ESSEX           MD      21221‐1546
JAMES HANCOCK I I   1789 ANDREA CIR                                                                                       BEAVERCREEK     OH      45432‐2370
JAMES HANCOCK JR    1058 HUNTER AVENUE                                                                                    TUPELO          MS      38804‐2726
JAMES HAND          5852 LITTLE DUTCH CREEK RD                                                                            CEDAR HILL      MO      63016‐1811
JAMES HANDEL        3915 EDENROCK AVE                                                                                     CANFIELD        OH      44406‐9383
JAMES HANDLEY       412 EVERETT DR SW                                                                                     DECATUR         AL      35601‐5822
JAMES HANDLEY       16430 PARK LAKE RD LOT 18                                                                             EAST LANSING    MI      48823‐9456
JAMES HANDLEY       7164 REID RD                                                                                          SWARTZ CREEK    MI      48473‐9464
JAMES HANDRICH      6231 AUTUMNVIEW STA                                                                                   NEWFANE         NY      14108‐9787
JAMES HANEK SR      4928 TIPPECANOE RD                                                                                    YOUNGSTOWN      OH      44511‐3654
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Name                                Address1                           Address2              Address3    Address4               City            State   Zip
JAMES HANEL                         5002 LOWER MOUNTAIN RD                                                                      LOCKPORT         NY     14094‐9750
JAMES HANEY                         4300 SE SAINT LUCIE BLVD LOT 215                                                            STUART           FL     34997‐6850
JAMES HANEY                         22030 NELSON RD                                                                             ELKMONT          AL     35620‐7500
JAMES HANEY                         2121 HILLCREST DR                                                                           JANESVILLE       WI     53545‐4313
JAMES HANEY                         6208 MUSKET LN                                                                              ARLINGTON        TX     76002‐2848
JAMES HANEY                         970 OLD ROUTE 146 LOOP                                                                      VIENNA            IL    62995‐2461
JAMES HANEY                         APT 2                              2119 FELSPAR STREET                                      SAN DIEGO        CA     92109‐3667
JAMES HANGER                        RR 4 BOX 1140                                                                               PIEDMONT         MO     63957‐9401
JAMES HANING                        213 N SMITHVILLE RD                                                                         DAYTON           OH     45403‐1623
JAMES HANKINS                       12307 NIXON RD R 2                                                                          GRAND LEDGE      MI     48837
JAMES HANKINS                       263 SUNSET VILLA LN                                                                         O FALLON         MO     63366‐2283
JAMES HANKINS                       13663 HIGHWAY 7                                                                             WARSAW           MO     65355‐5709
JAMES HANLEY                        19304 ASTER CT                                                                              SMITHVILLE       MO     64089‐7804
JAMES HANLON                        6300 E KLUG RD                                                                              MILTON           WI     53563‐9317
JAMES HANNAN                        5039 JAMESTOWN RD                                                                           COLUMBUS         OH     43220‐2524
JAMES HANNER                        3226 HIDDEN FOREST DR                                                                       SNELLVILLE       GA     30078‐7800
JAMES HANNEWALD                     271 OTTERBEIN DR                                                                            LEXINGTON        OH     44904‐1031
JAMES HANNON                        125 WILLIAM DURFEE DR                                                                       EATON RAPIDS     MI     48827‐9593
JAMES HANSARD SR                    1131 COTTONS DR NW                 C/O LINDA HODGE                                          CONYERS          GA     30012‐2052
JAMES HANSEL                        6286 STODDARD HAYES RD                                                                      FARMDALE         OH     44417‐9707
JAMES HANSEN                        7110 W HARRISON RD                                                                          ALMA             MI     48801‐9538
JAMES HANSEN                        5440 E MAPLE AVE                                                                            GRAND BLANC      MI     48439‐9121
JAMES HANSEN                        PO BOX 1133                                                                                 RIMROCK          AZ     86335‐1133
JAMES HANSON                        2234 WEST BLVD                                                                              HOLT             MI     48842‐1014
JAMES HANSON                        317 N 10TH ST                                                                               MIDDLETOWN       IN     47356‐1216
JAMES HANSON                        1802 BRIARWOOD DR                                                                           FLINT            MI     48507‐1436
JAMES HANSON                        2318 SHADYBROOK DR                                                                          FORT WAYNE       IN     46803‐2973
JAMES HANSON                        37889 SEAWAY CT                                                                             HARRISON TWP     MI     48045‐2760
JAMES HANSON                        18215 EAST 12 MILE ROAD                                                                     ROSEVILLE        MI     48066‐4242
JAMES HARBIN                        PO BOX 1553                                                                                 CLARKSTON        MI     48347‐1553
JAMES HARBIN                        19515 CATULPA ST                                                                            MOKENA            IL    60448‐8911
JAMES HARBISON                      7101 E EATON ALBANY PIKE                                                                    EATON            IN     47338‐8732
JAMES HARCOURT                      5472 W JAGGER RD                                                                            LUDINGTON        MI     49431‐8634
JAMES HARDAWAY                      28220 AL HIGHWAY 99                                                                         ELKMONT          AL     35620‐7914
JAMES HARDAWAY                      28408 AL HIGHWAY 99                                                                         ELKMONT          AL     35620‐7918
JAMES HARDEMAN, SHEQUILA SHAUNTAE

JAMES HARDEN                        G5500 HORTON ST                                                                             FLINT           MI      48505‐1744
JAMES HARDEN                        3383 W PIERSON RD                                                                           FLINT           MI      48504‐6982
JAMES HARDEN                        6466 GREENBROOK DR                                                                          DAYTON          OH      45426‐1308
JAMES HARDEN                        1198 NEAFIE AVE                                                                             PONTIAC         MI      48342‐1965
JAMES HARDEN III                    431 BOWENS MILL HWY                                                                         FITZGERALD      GA      31750‐6910
JAMES HARDER                        9861 LAKESIDE DR                                                                            BAY PORT        MI      48720‐9620
JAMES HARDESTY                      751 ANTALYA CT                                                                              PUNTA GORDA     FL      33950‐8001
JAMES HARDESTY                      PO BOX 63                                                                                   ELLSWORTH       OH      44416‐0063
JAMES HARDIN                        6049 MAD RIVER RD                                                                           CENTERVILLE     OH      45459‐1507
JAMES HARDIN                        989 WAYNE RD APT 7                                                                          WILMINGTON      OH      45177‐2000
JAMES HARDIN                        7259 HOWELL AVE                                                                             WATERFORD       MI      48327‐1535
JAMES HARDIN                        372 HABERSHAM HILLS CIR            # 326                                                    CORNELIA        GA      30531
JAMES HARDIN                        1102 SCHENECTADY RD                                                                         ARLINGTON       TX      76017‐6584
JAMES HARDIN                        70 COUNTY ROAD 11                                                                           SCOTTSBORO      AL      35768‐7014
JAMES HARDIN                        5507 COLUMBIAVILLE RD                                                                       COLUMBIAVILLE   MI      48421‐8980
JAMES HARDIN                        23300 PROVIDENCE DR APT 718                                                                 SOUTHFIELD      MI      48075‐3675
JAMES HARDIN                        1302 DOGWOOD TRL                                                                            LEWISVILLE      TX      75067‐3313
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Name                Address1                    Address2            Address3         Address4               City             State   Zip
JAMES HARDING       2315 SANDPIPER DR                                                                       LAPEER            MI     48446‐9007
JAMES HARDING       245 CARL CHANDLER RD                                                                    BUCHANAN          TN     38222‐4724
JAMES HARDING       4928 PAULA AVE                                                                          CLARKSTON         MI     48346‐2663
JAMES HARDWICK      520 W ELM ST                                                                            HOOPESTON          IL    60942‐1743
JAMES HARDY         PO BOX 995                                                                              SAGINAW           MI     48606‐0995
JAMES HARDY         PO BOX 351                                                                              AU GRES           MI     48703‐0351
JAMES HARDY         11 QUEEN AVE                                                                            NEW CASTLE        DE     19720‐1525
JAMES HARDY         270 E SHOOP RD                                                                          TIPP CITY         OH     45371‐2450
JAMES HARDY         5341 DUTCH RD                                                                           LESLIE            MI     49251‐9717
JAMES HARDY         2208 W HURON RD                                                                         STANDISH          MI     48658‐9222
JAMES HARE          14380 S CODY ST                                                                         OLATHE            KS     66062
JAMES HARE          4742 N 550 E                                                                            PORTLAND          IN     47371‐7956
JAMES HARE JR       14380 S CODY ST                                                                         OLATHE            KS     66062‐8100
JAMES HARENCHAR     PO BOX 542                                                                              CLIO              MI     48420‐0542
JAMES HARGETT       6627 SMITH RD                                                                           CLIFFORD          MI     48727‐9521
JAMES HARGROVE      14338 BUCK ST                                                                           TAYLOR            MI     48180‐4506
JAMES HARGROVE      1071 BAUGH RD                                                                           ARDMORE           TN     38449‐5254
JAMES HARKER        21531 AUDREY ST                                                                         DEARBORN          MI     48124‐2908
JAMES HARKES        9 PATTERSON ST                                                                          KEARNY            NJ     07032‐1917
JAMES HARKI         1312 BUCKINGHAM AVENUE                                                                  LINCOLN PARK      MI     48146‐3316
JAMES HARKNESS      112 E MINGLEWOOD DR                                                                     MIDDLETOWN        DE     19709‐2412
JAMES HARKNESS JR   2613 LEVERN ST                                                                          FLINT             MI     48506‐3432
JAMES HARLAN        333 EMMETT STONE LN                                                                     NORMANDY          TN     37360‐3134
JAMES HARLAN        5854 HIGHWAY 45 N           P O BOX # 133                                               BETHEL SPRINGS    TN     38315‐3542
JAMES HARLEY        3948 WAYFARER DR                                                                        TROY              MI     48083‐6418
JAMES HARLIN        3594 BROOKSIDE RD                                                                       CUYAHOGA FALLS    OH     44221‐1004
JAMES HARLOW        6125 WINTHROP AVE                                                                       INDIANAPOLIS      IN     46220‐1943
JAMES HARMON        877 FREEMAN ST                                                                          BRONX             NY     10459‐1509
JAMES HARMON        72 WILLOW WAY                                                                           CANFIELD          OH     44406‐9226
JAMES HARMON        4009 E 50TH ST                                                                          MOUNT MORRIS      MI     48458‐9436
JAMES HARMON        1627 PLEASANT WAY                                                                       BOWLING GREEN     KY     42104‐6323
JAMES HARMON        515 JEFFERSON AVE                                                                       DEFIANCE          OH     43512‐2611
JAMES HARMS         PO BOX 3511                                                                             MILTON            FL     32572‐3511
JAMES HARP          918 EVERGREEN ST                                                                        BAREFOOT BAY      FL     32976‐7320
JAMES HARPER        HC 81 BOX 19B                                                                           SENECA ROCKS      WV     26884‐9001
JAMES HARPER        208 MAYVILLE AVE                                                                        KENMORE           NY     14217‐1825
JAMES HARPER        PO BOX 2312                                                                             OCEANSIDE         CA     92051‐2312
JAMES HARPER        207 HARRINGTON DR                                                                       TROY              MI     48098‐3027
JAMES HARPER        5187 DEMPSTER DR APT C                                                                  COLUMBUS          OH     43228‐2623
JAMES HARPER        32 POINCIANA LN                                                                         PALM COAST        FL     32164‐6770
JAMES HARPER        3816 NOTTINGHAM TER                                                                     MIDLAND           MI     48642‐6216
JAMES HARPER        3717 MASON ST                                                                           FLINT             MI     48505‐4092
JAMES HARPER        2022 HARVARD BLVD                                                                       DAYTON            OH     45406‐4542
JAMES HARPER        6094 CYPRESS DR                                                                         MOUNT MORRIS      MI     48458‐2844
JAMES HARPER JR     1558 COUNTY ROAD 7703                                                                   RAMER             AL     36069‐5578
JAMES HARRA         PO BOX 1034                                                                             COLUMBIA          TN     38402‐1034
JAMES HARRELL       431 S 4TH AVE                                                                           MOUNT VERNON      NY     10550‐4401
JAMES HARRELL       31901 SHIAWASSEE RD                                                                     FARMINGTON        MI     48336‐3200
JAMES HARRIGER      12702 WARNER RD                                                                         LAINGSBURG        MI     48848‐8777
JAMES HARRILL       764 OLD CEMETERY RD                                                                     MADISONVILLE      TN     37354‐1579
JAMES HARRINGTON    915 BETHEL CHURCH RD                                                                    CARROLLTON        GA     30117‐5649
JAMES HARRINGTON    6128 REGER DR                                                                           LOCKPORT          NY     14094‐6304
JAMES HARRINGTON    4181 ELIZABETH LAKE RD                                                                  WATERFORD         MI     48328‐2911
JAMES HARRINGTON    2540 CHEYENNE PL                                                                        SAGINAW           MI     48603‐2912
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Name              Address1                       Address2                     Address3   Address4               City             State   Zip
JAMES HARRIS      1727 ORMOND RD                                                                                JACKSONVILLE      FL     32225‐4407
JAMES HARRIS      62 WALLER AVE                                                                                 VANDALIA          OH     45377‐3020
JAMES HARRIS      161 WYNNEHAVEN BEACH RD                                                                       MARY ESTHER       FL     32569‐2718
JAMES HARRIS      12725 SANDPEBBLE CIR APT 7                                                                    NEWPORT NEWS      VA     23606‐1824
JAMES HARRIS      98 FREUND ST                                                                                  BUFFALO           NY     14215‐3912
JAMES HARRIS      729 E. 229TH STREET                                                                           BRONX             NY     10466
JAMES HARRIS      1004 RIDGE AVE                                                                                YOUNGSTOWN        OH     44502‐1665
JAMES HARRIS      6405 SAN JUAN AVE                                                                             FORT WORTH        TX     76133‐5514
JAMES HARRIS      3231 PHILADELPHIA DR APT 2C                                                                   DAYTON            OH     45405‐1957
JAMES HARRIS      602 E MAIN ST                                                                                 GREENTOWN         IN     46936‐1305
JAMES HARRIS      395 S 500 E                                                                                   MARION            IN     46953‐9758
JAMES HARRIS      6034 N LAKESHORE DR                                                                           MACY              IN     46951‐8544
JAMES HARRIS      1350 KAEL DR APT 3                                                                            FLORISSANT        MO     63033‐1823
JAMES HARRIS      526 S 27TH ST                                                                                 SAGINAW           MI     48601‐6419
JAMES HARRIS      4732 GA HIGHWAY 135                                                                           AILEY             GA     30410‐2214
JAMES HARRIS      6253 HEADLEY HEIGHTS CT                                                                       GAHANNA           OH     43230‐1942
JAMES HARRIS      5451 MOORES RUN DR                                                                            BALTIMORE         MD     21206‐3702
JAMES HARRIS      PO BOX 130                                                                                    MINERAL BLUFF     GA     30559‐0130
JAMES HARRIS      3204 RIVER DRIVE RD                                                                           SPARROWS PT       MD     21219‐1124
JAMES HARRIS      1778 FERRELLS BRIDGE RD                                                                       LOUISBURG         NC     27549‐8957
JAMES HARRIS      25 FIELD RD                                                                                   MAPLEWOOD         NJ     07040‐3301
JAMES HARRIS      1291 ORCHARD RD                                                                               ESSEXVILLE        MI     48732‐1934
JAMES HARRIS      PO BOX 73                                                                                     VERNON            MI     48476‐0073
JAMES HARRIS      1261 HENRY LN                                                                                 GLADWIN           MI     48624‐8043
JAMES HARRIS      13072 VIRGINIA DR BOX 21                                                                      MONTROSE          MI     48457
JAMES HARRIS      17300 INDIANA ST                                                                              DETROIT           MI     48221‐2403
JAMES HARRIS      336 FALCON CT                                                                                 GRAND BLANC       MI     48439‐7043
JAMES HARRIS      N6447 PERCY RD                                                                                SHINGLETON        MI     49884‐9635
JAMES HARRIS      8965 BELSAY RD                                                                                MILLINGTON        MI     48746‐9542
JAMES HARRIS      810 E NORTHFIELD AVE                                                                          PONTIAC           MI     48340‐1333
JAMES HARRIS      1026 HOLLOWOOD CT                                                                             INDIANAPOLIS      IN     46234‐1928
JAMES HARRIS      8102 NORTHLAWN ST                                                                             DETROIT           MI     48204‐3286
JAMES HARRIS      6645 ROMI CIR                                                                                 CRESTVIEW         FL     32539‐8272
JAMES HARRIS      1297 W OREGON ST                                                                              LAPEER            MI     48446‐1239
JAMES HARRIS      218 WALNUT ST                                                                                 CRYSTAL CITY      MO     63019‐1919
JAMES HARRIS      12115 SOIKA AVE                                                                               CLEVELAND         OH     44120‐3158
JAMES HARRIS      2306 DELWOOD DR                                                                               CLIO              MI     48420‐9158
JAMES HARRIS      4718 OLIVE STREET                                                                             SAINT LOUIS       MO     63108‐1819
JAMES HARRIS      3950 W OUTER DR                                                                               DETROIT           MI     48221‐1429
JAMES HARRIS      7114 N COTTONWOOD LN                                                                          SPRINGPORT        IN     47386‐9741
JAMES HARRIS      PO BOX 24824                                                                                  HUBER HEIGHTS     OH     45424‐0824
JAMES HARRIS      2315 ROLLING RIDGE CT                                                                         HOLT              MI     48842‐8721
JAMES HARRIS      102 FAIRMONT DR                                                                               FRANKLIN          TN     37064‐2440
JAMES HARRIS      1045 W STANLEY RD                                                                             MOUNT MORRIS      MI     48458‐2311
JAMES HARRIS      BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS    OH     44236
JAMES HARRIS JR   C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                      HOUSTON           TX     77007
                  BOUNDAS LLP
JAMES HARRIS JR   6444 FIELD ST                                                                                 DETROIT           MI     48213‐2402
JAMES HARRIS JR   3182 S FORDNEY RD                                                                             HEMLOCK           MI     48626‐8703
JAMES HARRIS JR   1121 CALVIN AVE SE                                                                            GRAND RAPIDS      MI     49506‐3236
JAMES HARRISON    330 MOUNT MORIAH RD                                                                           AUBURN            GA     30011‐2926
JAMES HARRISON    605 GARRETT PL APT E36                                                                        EVANSTON          IL     60201‐2943
JAMES HARRISON    2498 PHILLIPS ROAD                                                                            ALLONS            TN     38541‐3031
JAMES HARRISON    3158 ESTHER DR                                                                                GAINESVILLE       GA     30504‐5531
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JAMES HARRISON     513 POOLE CREEK RD                                                                             LAUREL              MS     39443‐6207
JAMES HARRISON     3574 E GRAND RIVER RD                                                                          WILLIAMSTON         MI     48895‐8712
JAMES HARRISON     313 W YORK AVE                                                                                 FLINT               MI     48505‐5909
JAMES HARRISON     9351 COUNTY ROAD 489                                                                           ATLANTA             MI     49709‐9241
JAMES HARRISON     100 CATIE LN                                                                                   JOSHUA              TX     76058‐6205
JAMES HARRISON     4394 APACHE DR                                                                                 BURTON              MI     48509‐1414
JAMES HARRISON     1036 CANTERBURY DR                                                                             PONTIAC             MI     48341‐2338
JAMES HARRISON     4929 NW GATEWAY #18                                                                            RIVERSIDE           MO     64150
JAMES HARRISON     9427 ANDERSONVILLE RD                                                                          CLARKSTON           MI     48346‐1813
JAMES HARRISON     2076 HOOD RD                                                                                   COLUMBIA            TN     38401‐1317
JAMES HARRISON     4524 CLEVELAND AVE                                                                             SAN DIEGO           CA     92116
JAMES HARRISON     6836 ANNA DR                                                                                   BELLEVILLE          MI     48111‐5220
JAMES HARRISON     21829 MANCHESTER LN                                                                            FARMINGTON HILLS    MI     48335‐5435

JAMES HARRISON     401 MIDNIGHT SUN CIR                                                                           NASHVILLE          TN      37211‐6822
JAMES HARRISON     THE MADEKSHO LAW FIRM            8866 GULF FREEWAY STE 440                                     HOUSTON            TX      77017
JAMES HARROD       1200 ENON RD                                                                                   NEW CARLISLE       OH      45344‐8238
JAMES HARRY        509 COMPASS RD E                                                                               BALTIMORE          MD      21220‐3529
JAMES HARSHAW      12 ALDGATE CT                                                                                  PRINCETON          NJ      08540‐7015
JAMES HARSHMAN     4112 N GOLDCLIFF CIR                                                                           MESA               AZ      85207‐7211
JAMES HARSHMAN     12745 W TOWNLINE RD                                                                            SAINT CHARLES      MI      48655‐8716
JAMES HARSHMAN     5622 LINCOLN AVE                                                                               LISLE              IL      60532‐2608
JAMES HART         2242 FALCON CREEK DR                                                                           FRANKLIN           TN      37067‐4098
JAMES HART         802 N BROOKFIELD ST                                                                            DURAND             MI      48429‐1134
JAMES HART         1346 DALEY RD                                                                                  LAPEER             MI      48446‐8720
JAMES HART         789 E WASHINGTON ST                                                                            WHITE CLOUD        MI      49349‐8662
JAMES HART         1400 S NOVA RD APT 397                                                                         DAYTONA BEACH      FL      32114‐7332
JAMES HART         10424 W BASE LINE RD                                                                           PARAGON            IN      46166‐9586
JAMES HART         5504 WOODHALL ST                                                                               DETROIT            MI      48224‐2135
JAMES HART         2125 S GREENVILLE RD                                                                           GREENVILLE         MI      48838‐9261
JAMES HART         1911 ENGLEWOOD DR                                                                              BAY CITY           MI      48708‐6947
JAMES HART         208 MESQUITE TRL                                                                               WEATHERFORD        TX      76087‐7052
JAMES HART         16011 HAGGERTY RD                                                                              BELLEVILLE         MI      48111‐6006
JAMES HART         3574 BALDWIN RD                                                                                METAMORA           MI      48455‐8908
JAMES HART JR      PO BOX 77                                                                                      CARROLLTON         MI      48724‐0077
JAMES HART JR      4152 N GENESEE RD                                                                              FLINT              MI      48506‐1514
JAMES HARTFIELD    53046 RILL CREEK DR                                                                            CHESTERFIELD       MI      48047‐5956
JAMES HARTFORD     32251 OSCODA CT                                                                                WESTLAND           MI      48186‐4753
JAMES HARTLEY      9745 S 500 E‐92                                                                                ROANOKE            IN      46783‐9216
JAMES HARTLEY      334 N GREEN ST                                                                                 GREENTOWN          IN      46936‐1125
JAMES HARTLEY      7960 BUSCH RD                                                                                  BIRCH RUN          MI      48415‐8515
JAMES HARTLEY      3891 NW 91ST TER                                                                               SUNRISE            FL      33351‐8840
JAMES HARTMAN      6445 WOERNER TEMPLE RD                                                                         DUBLIN             OH      43016‐8605
JAMES HARTMAN      152 CENTER ST W                                                                                WARREN             OH      44481‐9313
JAMES HARTMAN      6155 MCCORDS AVE SE                                                                            ALTO               MI      49302‐9105
JAMES HARTMAN      2 CURWOOD CT                                                                                   TONAWANDA          NY      14150‐7929
JAMES HARTMAN      5619 KING RD                                                                                   HOWELL             MI      48843‐9439
JAMES HARTNETT     7381 BARBERRY LN                                                                               MANLIUS            NY      13104‐1321
JAMES HARTSFIELD   15775 FERGUSON ST                                                                              DETROIT            MI      48227‐1568
JAMES HARTSOCK     PO BOX 2‐8537                                                                                  MIAMI              FL      33102
JAMES HARTSOCK     2718 W HICKORY DR                                                                              ANDERSON           IN      46013‐9762
JAMES HARTUNG      6767 MILL RIDGE ROAD                                                                           GRANITE FALLS      NC      28630
JAMES HARTWICK     6435 WOLVERINE TRL                                                                             ALGER              MI      48610‐9424
JAMES HARTWIG      207 BOEHRINGER CT                                                                              BAY CITY           MI      48708‐6881
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Name                 Address1                             Address2                   Address3      Address4               City            State   Zip
JAMES HARTZOG        611 S SPRINGLAKE CIR                                                                                 TERRY            MS     39170‐7103
JAMES HARVELL        2689 TRACY ROAD                                                                                      ATOKA            TN     38004‐7239
JAMES HARVEY         PO BOX 755                                                                                           FOWLERVILLE      MI     48836‐0755
JAMES HARVEY         248 OCEANLINER DR                                                                                    WINDER           GA     30680‐8389
JAMES HARVEY         19700 MOUNTVILLE DR                                                                                  MAPLE HEIGHTS    OH     44137‐2361
JAMES HARVEY         170 RICK RD                                                                                          PARK CITY        KY     42160‐7549
JAMES HARVEY         3919 TENNYSON LN                                                                                     LANSING          MI     48911‐2167
JAMES HARVEY         504 W GROVE AVE                                                                                      RANTOUL           IL    61866‐2217
JAMES HARVEY         PO 50215                                                                                             INDIANAPOLIS     IN     46250
JAMES HARVEY         RICHARDSON PATRICK WESTBROOK &       1730 JACKSON STREET        PO BOX 1368                          BARNWELL         SC     29812
                     BRICKMAN LLC
JAMES HARVEY         THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET   22ND FLOOR                           BALTIMORE       MD      21201

JAMES HARVEY II      628 MAXWELL DR                                                                                       TITUSVILLE      PA      16354
JAMES HARVEY JR      21956 20 MILE RD                                                                                     TUSTIN          MI      49688‐8240
JAMES HARVILLE       224 W HERRICK RD                                                                                     FARWELL         MI      48622‐9234
JAMES HARWELL        6371 E POTTER RD                                                                                     DAVISON         MI      48423‐9566
JAMES HASBROUCK      1944 BATELLO DR                                                                                      VENICE          FL      34292‐4630
JAMES HASELBECK      4460 N PORTSMOUTH RD                                                                                 SAGINAW         MI      48601‐9685
JAMES HASH JR        1013 PAIGE CT                                                                                        NEWTON FALLS    OH      44444‐8774
JAMES HASHMAN        650 W ADRIAN ST LOT 200                                                                              BLISSFIELD      MI      49228‐1063
JAMES HASKELL        10095 TITTABAWASSEE TRL                                                                              GAYLORD         MI      49735‐8876
JAMES HASKELL        6001 E DECKER RD                                                                                     FRANKLIN        OH      45005‐2627
JAMES HASPER         12060 DIX HWY LOT B 25                                                                               SOUTHGATE       MI      48195
JAMES HASSAGE        5851 EVERETT EAST RD                                                                                 HUBBARD         OH      44425‐2831
JAMES HASSETT        7538 OLDE STURBRIDGE TRL                                                                             CLARKSTON       MI      48348‐4610
JAMES HASTINGS       239 SHOAL CREEK RD                                                                                   HARTSELLE       AL      35640‐7029
JAMES HASTINGS       328 HASTINGS TRL                                                                                     NORFORK         AR      72658‐8971
JAMES HASTY          2332 FARMERSVILLE W ALEX RD                                                                          FARMERSVILLE    OH      45325‐8281
JAMES HASTY          PO BOX 52                                                                                            DUBBERLY        LA      71024‐0052
JAMES HASTY          648 W 500 S                                                                                          ANDERSON        IN      46013‐5412
JAMES HATCH          934 WINDSOR TER                                                                                      IMPERIAL        MO      63052‐2541
JAMES HATCHER        2117 E OUTER DR                                                                                      DETROIT         MI      48234‐1703
JAMES HATCHER JR     3882 17TH ST                                                                                         ECORSE          MI      48229‐1342
JAMES HATCHETT       4741 LIVINGSTON RD                                                                                   ROSCOMMON       MI      48653‐9754
JAMES HATFIELD       PO BOX 217                                                                                           GALESBURG       MI      49053‐0217
JAMES HATFIELD       2345 HANNAN RD                                                                                       WESTLAND        MI      48186‐3773
JAMES HATFIELD       13352 N WEBSTER RD                                                                                   CLIO            MI      48420‐8250
JAMES HATFIELD III   323 STONEWALL DR                                                                                     COLUMBIA        TN      38401‐6508
JAMES HATFIELD JR    381 W 13TH ST                                                                                        PERU            IN      46970‐1553
JAMES HATMAKER       PO BOX 2192                                                                                          GREENEVILLE     TN      37744‐2192
JAMES HATTON         113 TEXAS                                                                                            BELLEVILLE      MI      48111‐9030
JAMES HATTON         7801 GORDON WAY                                                                                      INDIANAPOLIS    IN      46237‐9332
JAMES HATTON         3699 KINNARD DR                                                                                      ATLANTA         GA      30360‐1546
JAMES HATTON         3154 S 1150 E                                                                                        GREENTOWN       IN      46936‐8943
JAMES HAUGHN         12475 GRAHAM DR                                                                                      ORIENT          OH      43146‐9159
JAMES HAUK           119 E MAIN ST                        PO BOX 125                                                      PITTSBORO       IN      46167‐8800
JAMES HAUN           21539 LOWER SKANEE RD                                                                                SKANEE          MI      49962‐9013
JAMES HAUSER         7 PINEDALE DR WINDY HILLS                                                                            NEWARK          DE      19711
JAMES HAUSER         5625 FALLS CT APT C                                                                                  LANSING         MI      48917‐1953
JAMES HAUSER JR      86 ROSSLER AVE                                                                                       CHEEKTOWAGA     NY      14206‐2410
JAMES HAUT           971 N FRANCIS SHORES AVE                                                                             SANFORD         MI      48657‐9364
JAMES HAUTALA        5230 MORNINGSIDE DR                                                                                  GREENDALE       WI      53129‐1250
JAMES HAVEN          259 JEFFERSON ST                                                                                     HEMLOCK         MI      48626‐9106
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Name                          Address1                        Address2            Address3        Address4               City           State   Zip
JAMES HAVEN                   9235 STEEPHOLLOW CT                                                                        WHITE LAKE      MI     48386‐2066
JAMES HAVERLAND               1835 ROCHESTER RD                                                                          LEONARD         MI     48367‐3544
JAMES HAVLICHEK JR            14940 W CALAVAR RD                                                                         SURPRISE        AZ     85379‐6017
JAMES HAWES                   3430 LIBERTY ELLERTON RD                                                                   DAYTON          OH     45418‐1319
JAMES HAWES                   2726 FLINT RIVER RD                                                                        LAPEER          MI     48446‐9045
JAMES HAWES                   9359 ERIE RD                                                                               ANGOLA          NY     14006‐9215
JAMES HAWK                    3379 S COUNTY ROAD 101 E                                                                   CLAYTON         IN     46118‐9658
JAMES HAWKINS                 435 EASTLAWN AVE                                                                           WILMINGTON      DE     19802‐2823
JAMES HAWKINS                 PO BOX 321                                                                                 BEDFORD         IN     47421‐0321
JAMES HAWKINS                 2946 CIRCLE DR                                                                             FLINT           MI     48507‐1812
JAMES HAWKINS                 4930W‐1050S                                                                                AMBOY           IN     46911
JAMES HAWKINS                 17136 CHAPEL ST APT 2                                                                      DETROIT         MI     48219‐3279
JAMES HAWKINS                 105 4TH AVE                                                                                COLUMBIA        TN     38401‐2801
JAMES HAWKINS                 9351 WILKINSON RD                                                                          LENNON          MI     48449‐9610
JAMES HAWKINS JR              3182 COUNTY ROAD 317                                                                       MOULTON         AL     35650‐8067
JAMES HAWKINS RHODA HAWKINS   6904 117TH DE NE                                                                           KIRKLAND        WA     98033
JAMES HAWKINS SR              1238 W C AVE                                                                               KALAMAZOO       MI     49009‐6374
JAMES HAWLEY                  3776 OTTER LAKE RD                                                                         OTTER LAKE      MI     48464‐9679
JAMES HAWORTH                 6167 NORTHWOOD CIR                                                                         WHITE LAKE      MI     48383‐3566
JAMES HAWORTH                 785 W WILKINSON RD                                                                         OWOSSO          MI     48867‐1152
JAMES HAWTHORNE               1561 W PARK CT                                                                             CHANDLER        AZ     85224‐4065
JAMES HAY                     13030 RYAN RIDGE DR.                                                                       LOWELL          MI     49331
JAMES HAY                     3118 BEACH LAKE DR W                                                                       MILFORD         MI     48380‐2871
JAMES HAYES                   10352 HARDWOOD TRL                                                                         PERRINTON       MI     48871‐9612
JAMES HAYES                   42 PERENNIAL LN                                                                            WILLINGBORO     NJ     08046‐2623
JAMES HAYES                   9238 N COUNTY ROAD 500 W                                                                   MIDDLETOWN      IN     47356‐9459
JAMES HAYES                   1504 E HENDRIX ST                                                                          BRAZIL          IN     47834‐1544
JAMES HAYES                   2005 BROWNING ST                                                                           MADISON         WI     53704
JAMES HAYES                   PO BOX 32                       171 FEHER DR                                               MONTROSE        MI     48457‐0032
JAMES HAYES                   15140 SIEBERT ST                                                                           TAYLOR          MI     48180‐4826
JAMES HAYES JR                6169 BARKER CIR                                                                            WATERFORD       MI     48329‐3115
JAMES HAYES JR                2505 WINDMERE DR                                                                           NORCROSS        GA     30071‐4386
JAMES HAYES JR                10734 E 900 S                                                                              LADOGA          IN     47954‐7244
JAMES HAYGOOD                 PO BOX 172                                                                                 INGALLS         IN     46048‐0172
JAMES HAYLES                  1201 N PRAIRIE LN                                                                          RAYMORE         MO     64083‐9524
JAMES HAYNES                  1172 GENESEE RD                                                                            ARCADE          NY     14009‐9712
JAMES HAYNES                  7435 NOWHERE RD                                                                            HULL            GA     30646‐2521
JAMES HAYNES                  120 WILLOW LAKE DR                                                                         OXFORD          MI     48371‐6376
JAMES HAYNIE                  4664 STATE ROUTE 82                                                                        NEWTON FALLS    OH     44444‐9511
JAMES HAYS                    4535 JOHNSVILLE BROOKVILLE RD                                                              BROOKVILLE      OH     45309‐9305
JAMES HAYSER                  18 MELROSE TER                                                                             ELIZABETH       NJ     07208‐1706
JAMES HAYSLETT                5398 LAKEVIEW RD                                                                           CORTLAND        OH     44410‐9513
JAMES HAYWOOD                 3487 MILLS ACRES ST                                                                        FLINT           MI     48506‐2171
JAMES HAYWOOD                 3440 MAURA CT                                                                              INDIANAPOLIS    IN     46235‐2223
JAMES HAZARD                  2809 FIELDING ST                                                                           FLINT           MI     48503‐3072
JAMES HAZEL                   8256 ROUND LAKE RD                                                                         LAINGSBURG      MI     48848‐9479
JAMES HAZELL                  11181 RUNYAN LAKE RD                                                                       FENTON          MI     48430‐2453
JAMES HAZELL                  121 CREEKWOOD CIR                                                                          LINDEN          MI     48451‐8935
JAMES HAZELTINE               13542 CAMPBELLSVILLE RD                                                                    LYNNVILLE       TN     38472‐8167
JAMES HAZELWOOD               110 JEFFERSON VLY                                                                          COATESVILLE     IN     46121‐8936
JAMES HAZER                   PO BOX 1487                     136 WESTWOOD LANE                                          STEELVILLE      MO     65565‐1487
JAMES HEAD                    730 ROCHESTER ST                                                                           LAKE ORION      MI     48362‐2862
JAMES HEAD                    367 KAY DR                                                                                 WINDER          GA     30680‐3160
JAMES HEAD                    PO BOX 200353                                                                              CARTERSVILLE    GA     30120‐9006
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Name                 Address1                        Address2                     Address3   Address4               City             State Zip
JAMES HEAD           1111 S LAKE PLEASANT RD APT 1                                                                  ATTICA            MI 48412‐9633
JAMES HEAD           8172 S SHOREVIEW DR                                                                            TRAFALGAR         IN 46181‐8810
JAMES HEAD           136 N RHYNE RD                                                                                 NORTH WILKESBORO NC 28659‐8410

JAMES HEAD           BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.      OH   44236
JAMES HEADY          33211 FRANKLIN ST                                                                              WAYNE            MI   48184‐1822
JAMES HEADY JR       24038 BOSTON ST                                                                                DEARBORN         MI   48124‐3202
JAMES HEALY          7220 BLUEBILL ST                                                                               CLAY             MI   48001‐4104
JAMES HEANY          6672 CREYTS RD                                                                                 DIMONDALE        MI   48821‐9408
JAMES HEARN          1453 E DELAVAN AVE              LOWER                                                          BUFFALO          NY   14215‐3903
JAMES HEARN          7005 THUNDERBIRD DR                                                                            ARLINGTON        TX   76002‐3420
JAMES HEARN JR       458 MELROSE LN                                                                                 SEBASTIAN        FL   32958‐4984
JAMES HEARNE         250 ALPINE TRL                                                                                 KINGSPORT        TN   37663‐2994
JAMES HEATH          PO BOX 235                                                                                     BANCROFT         MI   48414‐0235
JAMES HEATH          310 EAGLE BLUFF DR                                                                             OAKWOOD          IL   61858
JAMES HEATH          10600 S MCVETY RD                                                                              FALMOUTH         MI   49632‐9781
JAMES HEATH          10555 MOSS BRANCH RD                                                                           BON AQUA         TN   37025‐3143
JAMES HEATH JR       118 ONEIDA TRL                                                                                 ALBRIGHTSVILLE   PA   18210‐3645
JAMES HEATHERLY      81 QUINBY LN                                                                                   DAYTON           OH   45432‐3413
JAMES HEATON         4402 SHERMAN DR                                                                                MARSHALL         TX   75672‐2542
JAMES HEATON         6 WIMBERLY WAY                                                                                 CONROE           TX   77385‐3441
JAMES HEBERT         1104 DOWNER AVE                                                                                LANSING          MI   48912‐4430
JAMES HEBERT         2718 BRANCH RD                                                                                 FLINT            MI   48506‐2919
JAMES HECK           9052 FRANCES RD                                                                                FLUSHING         MI   48433‐8846
JAMES HECK           7 ELMORE ST                                                                                    TROTWOOD         OH   45426‐3603
JAMES HECK           215 UNIVERSAL DR                                                                               SAINT PETERS     MO   63376‐4424
JAMES HECKMAN        W 2401 WEST US 2                                                                               SAINT IGNACE     MI   49781
JAMES HEDGE          PO BOX 123                                                                                     WINFIELD         MO   63389‐0123
JAMES HEDIN
JAMES HEDLUND        4796 BELL OAK RD                                                                               WEBBERVILLE      MI   48892‐9754
JAMES HEDRICH        7213 STANLEY RD                                                                                FLUSHING         MI   48433‐9001
JAMES HEDRICK        5630 LEESVILLE RD                                                                              BEDFORD          IN   47421‐7308
JAMES HEEBSH         3461 FAIRWOOD ST                                                                               LAMBERTVILLE     MI   48144‐9647
JAMES HEFFELFINGER   2201 ANGIE LN                                                                                  ANDERSON         IN   46017‐9795
JAMES HEFFERNAN      125 AUTUMN OAKS BLVD                                                                           NEW CASTLE       IN   47362‐2791
JAMES HEFFNER        2667 MARY JANE DR                                                                              GIRARD           OH   44420‐3122
JAMES HEFLIN         88 W LAKESIDE DR                SBEAC                                                          NORTH            IN   46962‐8502
                                                                                                                    MANCHESTER
JAMES HEFTY          6315 TIMBERLAND DR                                                                             DIMONDALE        MI   48821‐9755
JAMES HEGARTY        46048 CHATSWORTH DR                                                                            BELLEVILLE       MI   48111‐1217
JAMES HEHR           231 BANKO DR                                                                                   DEPEW            NY   14043‐1229
JAMES HEICHELBECH    4257 WEIDNER RD                                                                                SHELBY           OH   44875‐9029
JAMES HEID           1401 BONSAL ST                                                                                 BALTIMORE        MD   21224‐5934
JAMES HEIDEL         1201 ADAMS RD 1D                                                                               BURTON           MI   48509
JAMES HEIDELBERG     5922 ADELAIDE DR                                                                               TOLEDO           OH   43613‐1108
JAMES HEIDEMAN       2133 TERRAPIN BRANCH RD                                                                        MT PLEASANT      TN   38474‐1962
JAMES HEIDENBERGER   1065 JAMES ST                                                                                  VASSAR           MI   48768‐1543
JAMES HEIDENREICH    107 SLOBODA AVE                                                                                MANSFIELD        OH   44906‐1353
JAMES HEIDGER        4438 SPICEBUSH DR.                                                                             SAGINAW          MI   48603
JAMES HEILEMAN       49936 FULLER CRT                                                                               PLYMOUTH         MI   48170
JAMES HEINE          3330 WESTMINSTER RD                                                                            JANESVILLE       WI   53546‐9651
JAMES HEINRICH       7335 MADISON AVE                                                                               STANWOOD         MI   49346‐8347
JAMES HEINRICHS
JAMES HEINRITZ       262 COMDEN DR                                                                                  SIX LAKES        MI   48886‐8707
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Name                 Address1                      Address2            Address3         Address4               City               State   Zip
JAMES HEINZ          712 MCDONNELL ST                                                                          ESSEXVILLE          MI     48732‐1216
JAMES HEINZE         20406 N AUTUMN CT                                                                         SUN CITY WEST       AZ     85375‐5459
JAMES HEISER         1005 N PARK FOREST DR APT B                                                               MARION              IN     46952‐1763
JAMES HEISER         13439 45TH ST NE                                                                          SAINT MICHAEL       MN     55376‐1083
JAMES HEIST          3906 18TH ST                                                                              DORR                MI     49323‐9551
JAMES HEIST          340 RAYNES DR                                                                             CALEDONIA           MI     49316‐9647
JAMES HEISTAND       5950 JUNIPER AA LN                                                                        RAPID RIVER         MI     49878‐9267
JAMES HEITZHAUS      3553 SE CAMBRIDGE DRIVE                                                                   STUART              FL     34997
JAMES HEITZMAN       4964 PYRMONT RD                                                                           LEWISBURG           OH     45338‐9761
JAMES HELBING        6161 HAZELHATCH DR                                                                        INDIANAPOLIS        IN     46228‐1130
JAMES HELD           4522 OAKMONT CT                                                                           SHELBY TWP          MI     48317‐4030
JAMES HELDENBRAND    38603 SUMMERS ST                                                                          LIVONIA             MI     48154‐4924
JAMES HELDT          44810 KEMP ST                                                                             STERLING HEIGHTS    MI     48314‐1577
JAMES HELESKI        4485 FOX PAW TRL                                                                          SAND POINT          MI     48755‐9673
JAMES HELFRICH       10885 HARTEL RD                                                                           GRAND LEDGE         MI     48837‐9489
JAMES HELGESON       662 SKYVIEW DR                                                                            MILTON              WI     53563‐1657
JAMES HELLNER        4090 RAMSEY RD                                                                            OXFORD              MI     48371‐3941
JAMES HELM           1145 E BUTTERFIELD PL                                                                     OLATHE              KS     66062‐3138
JAMES HELMAN         4776 MILLS CREEK LN                                                                       N RIDGEVILLE        OH     44039‐2325
JAMES HELMHOLTZ      608 BARLEY RIDGE CT N                                                                     SAINT PETERS        MO     63376‐1978
JAMES HELMIC         540 JULIA ST                                                                              LANSING             MI     48910‐5426
JAMES HELMINIAK      2258 21ST ST                                                                              BAY CITY            MI     48708‐7407
JAMES HELMS          6986 MINNICK RD                                                                           LOCKPORT            NY     14094‐7947
JAMES HELMS          7097 BANKS                                                                                WATERFORD           MI     48327‐3701
JAMES HELMS          11340 WING DR                                                                             CLIO                MI     48420‐1588
JAMES HELPHENSTINE   6772 WILLOW CREEK DR                                                                      HUBER HEIGHTS       OH     45424‐2486
JAMES HELTON         30225 29 MILE RD                                                                          LENOX               MI     48050‐2302
JAMES HELTON         2672 FACTORY RD                                                                           SPRINGBORO          OH     45066‐7770
JAMES HELTON         3871 HOPPER HILL RD                                                                       CINCINNATI          OH     45255‐4942
JAMES HELTON         13809 EDMOND GARDENS DR                                                                   EDMOND              OK     73013‐7064
JAMES HELVIG         1210 S PURDUM ST                                                                          KOKOMO              IN     46902‐1757
JAMES HELZER         4022 N CENTER RD                                                                          FLINT               MI     48506‐1436
JAMES HEMBREE        PO BOX 322                                                                                SPICELAND           IN     47385‐0322
JAMES HEMBREE        253 MAXEY RD                                                                              LAUREL              MS     39443‐2936
JAMES HEMBREE        2475 NEWBERRY RD                                                                          WATERFORD           MI     48329‐2343
JAMES HEMGESBERG     429 S CHAPMAN ST                                                                          CHESANING           MI     48616‐1305
JAMES HEMIS          8120 ROLL RD                                                                              EAST AMHERST        NY     14051‐1973
JAMES HEMMES         7489 W MOUNT MORRIS RD                                                                    FLUSHING            MI     48433‐8833
JAMES HEMPEL         11 OAK RIDGE RD                                                                           SULLIVAN            MO     63080‐4100
JAMES HEMPHILL       2337 FERN DR                                                                              GAINESVILLE         GA     30507‐7417
JAMES HEMPHILL       5125 LONG BRANCH DR                                                                       MEMPHIS             TN     38109‐7201
JAMES HEMPHILL       3046 MONIKON CT               APT 5                                                       FLINT               MI     48532‐4235
JAMES HEMPHILL JR    2820 WINONA ST                                                                            FLINT               MI     48504‐2567
JAMES HENAGE         945 DRY RIDGE MOUNT ZION RD                                                               DRY RIDGE           KY     41035‐7807
JAMES HENDEE         2845 OAKDALE DR                                                                           ANN ARBOR           MI     48108‐1258
JAMES HENDERSON      9672 JACKSON ST                                                                           BELLEVILLE          MI     48111‐1462
JAMES HENDERSON      1320 BROADWAY AVE                                                                         OWOSSO              MI     48867‐4510
JAMES HENDERSON      3700 STILLWELL AVE                                                                        LANSING             MI     48911
JAMES HENDERSON      6331 N 800 W 27                                                                           CONVERSE            IN     46919‐9546
JAMES HENDERSON      158 COLORADO RD                                                                           ALPENA              MI     49707‐4308
JAMES HENDERSON      1517 NW 30TH ST APT 225                                                                   OKLAHOMA CITY       OK     73118‐3627
JAMES HENDERSON      1420 HARVARD BLVD                                                                         DAYTON              OH     45406‐5960
JAMES HENDERSON      2806 OLD STATE RD                                                                         HENRYVILLE          IN     47126‐9149
JAMES HENDERSON      119 KIOWA ST                                                                              MONROE              LA     71203‐8565
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JAMES HENDERSON       14255 WESTGATE DR                                                                         REDFORD         MI     48239‐2856
JAMES HENDERSON       84 W KALAMA AVE                                                                           MADISON HTS     MI     48071‐3948
JAMES HENDERSON       304 SMITH ST                                                                              DAYTON          OH     45408‐2041
JAMES HENDERSON       433 TOPAZ AVE                                                                             MANSFIELD       OH     44907‐1463
JAMES HENDERSON       21700 W MCNICHOLS RD APT 3                                                                DETROIT         MI     48219‐3270
JAMES HENDERSON       4635 KENSINGTON RD                                                                        MILFORD         MI     48380‐3013
JAMES HENDRICK        1477 BUTTERFIELD CIR                                                                      NILES           OH     44446‐3577
JAMES HENDRICK        8109 S 100 E                                                                              PENDLETON       IN     46064‐9330
JAMES HENDRICKS       4296 STAUNTON DR                                                                          SWARTZ CREEK    MI     48473‐8215
JAMES HENDRICKS       5888 PAR VIEW DR                                                                          YPSILANTI       MI     48197‐8974
JAMES HENDRICKS       247 ANDREWS ST APT 2                                                                      MASSENA         NY     13662‐1655
JAMES HENDRICKS       600 FORESTER CT                                                                           W CARROLLTON    OH     45449‐2216
JAMES HENDRICKS       515 BIG ELK CHAPEL RD                                                                     ELKTON          MD     21921‐2502
JAMES HENDRICKS III   23603 SUTTON DR APT 1224                                                                  SOUTHFIELD      MI     48033‐3351
JAMES HENDRICKSON     94 STATE RD                                                                               AVONDALE        PA     19311‐9305
JAMES HENDRICKSON     3307 TRILLIUM LANE                                                                        OXFORD          MI     48371‐5534
JAMES HENDRIX         4000 HILLMAN WAY APT 1                                                                    BOARDMAN        OH     44512‐1131
JAMES HENDRIX         3005 EDISON ST                                                                            DAYTON          OH     45417‐1605
JAMES HENDRIX         3005 EDISON ST                                                                            DAYTON          OH     45417‐1605
JAMES HENDRY          127 ACTON RD                                                                              LEBANON         IN     46052‐8607
JAMES HENGEL          71550 ELDRED RD                                                                           BRUCE TWP       MI     48065‐3611
JAMES HENLEY          2336 LEDYARD ST                                                                           SAGINAW         MI     48601‐2445
JAMES HENLEY          28873 CHERRYWOOD                                                                          FLAT ROCK       MI     48134‐9678
JAMES HENLEY
JAMES HENLEY JR       PO BOX 6183                                                                               GRAND RAPIDS   MI      49516‐6183
JAMES HENNINGS        560 DOAT ST                                                                               BUFFALO        NY      14211‐2151
JAMES HENRIS          9130 GREENWAY CT              APT L186                                                    SAGINAW        MI      48609‐6722
JAMES HENRY           2065 SPOTSWOOD DR                                                                         LOCUST GROVE   VA      22508‐2170
JAMES HENRY           648 LENER AVE SW                                                                          WARREN         OH      44485‐3372
JAMES HENRY           3253 WARREN RAVENNA RD                                                                    NEWTON FALLS   OH      44444‐8761
JAMES HENRY           435 S CO RD ‐ 400 E                                                                       KOKOMO         IN      46902
JAMES HENRY           19 SOUTHERN CT                                                                            WARREN         AR      71671‐2431
JAMES HENRY           16349 TIMBERVIEW DR                                                                       CLINTON TWP    MI      48036‐1658
JAMES HENRY           522 NORTHEAST ST BOX 32                                                                   PERRY          MI      48872
JAMES HENRY           PO BOX 99                                                                                 MESICK         MI      49668‐0099
JAMES HENRY           11218 BARE DR                                                                             CLIO           MI      48420‐1575
JAMES HENRY           6388 S COUNTY LINE RD                                                                     DURAND         MI      48429‐9410
JAMES HENRY           68325 GLENGARRY CT                                                                        WASHINGTON     MI      48095‐1238
JAMES HENRY           1906 CLARA MATHIS RD                                                                      SPRING HILL    TN      37174‐2547
JAMES HENRY III       210 N COATS RD                                                                            OXFORD         MI      48371‐3504
JAMES HENRY JR        2814 VICTOR AVE                                                                           LANSING        MI      48911‐1736
JAMES HENRY JR.       5984 HOLLOWAY RD                                                                          BRITTON        MI      49229‐8709
JAMES HENSEL          34156 ALGONQUIN ST                                                                        WESTLAND       MI      48185‐2731
JAMES HENSLEY         9 WHITEWOOD CT                                                                            BEECH GROVE    IN      46107‐2615
JAMES HENSLEY         3882 REINWOOD DR                                                                          DAYTON         OH      45414‐2446
JAMES HENSLEY         9733 MUELLER STREET                                                                       TAYLOR         MI      48180‐3573
JAMES HENSLEY         3212 N COUNTRY 50 W                                                                       ANDERSON       IN      46012
JAMES HENSLEY         3501 E 15TH ST                                                                            MUNCIE         IN      47302‐4818
JAMES HENSLEY         2904 W 25TH ST                                                                            ANDERSON       IN      46011‐4612
JAMES HENSLEY         6143 ATLAS VALLEY DR                                                                      GRAND BLANC    MI      48439‐7805
JAMES HENSLEY         2530 WALNUT ST                                                                            GIRARD         OH      44420‐3153
JAMES HENSLEY         717 JEROME ST                                                                             MONROE         MI      48161‐1101
JAMES HENSLEY         2539 GREENS MILL RD                                                                       COLUMBIA       TN      38401‐6182
JAMES HENSLEY         PO BOX 149                                                                                MANILLA        IN      46150‐0149
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Name                     Address1                        Address2                        Address3    Address4               City               State   Zip
JAMES HENSLEY            C/O JEFFREY S GOLDSTEIN P A     10320 LITTLE PATUXENT PARKWAY   SUITE 322                          COLUMBIA            MD     21044
JAMES HENSON             1550 BURNISON RD                                                                                   MANSFIELD           OH     44903‐8939
JAMES HENSON             PO BOX 93                                                                                          BLUE RIVER          KY     41607‐0093
JAMES HENSON             1547 ORTON RD                                                                                      MURPHY              NC     28906‐4367
JAMES HENSON             2602 R ST                                                                                          BEDFORD             IN     47421‐4934
JAMES HENSON             11358 PRICE RD                                                                                     DUNCANVILLE         AL     35456‐2305
JAMES HENSON             3141 HEMLOCK PL                                                                                    MANSFIELD           OH     44903‐8415
JAMES HENSON JR          7536 CYNTHIA DR                                                                                    INDIANAPOLIS        IN     46227‐2489
JAMES HENTSCHEL          6160 EASTMOOR RD                                                                                   BLOOMFIELD HILLS    MI     48301‐1440
JAMES HENZ               226 MILLER ST                                                                                      SOUTH BELOIT         IL    61080‐1245
JAMES HEPBURN            3948 BALD MOUNTAIN RD                                                                              LAKE ORION          MI     48360‐2410
JAMES HEPNER JR          540 BISCAYNE DR                                                                                    MANSFIELD           OH     44903‐9649
JAMES HERBERT            PO BOX 23                                                                                          MATTESON             IL    60443‐0023
JAMES HERBERT (492581)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD          OH     44067
                                                         PROFESSIONAL BLDG
JAMES HERBERT WARREN     C/O WEITZ & LUXENBERG PC        700 BROADWAY                                                       NEW YORK CITY      NY      10003
JAMES HERBERT WARREN     WEITZ & LUXENBERG PC            700 BROADWAY                                                       NEW YORK CITY      NY      10003
JAMES HERBERT WHITE      560 MICHIGAN AVE                                                                                   PONTIAC            MI      48342‐2539
JAMES HERBOLD            51449 FAIRLANE DR                                                                                  SHELBY TOWNSHIP    MI      48316‐4620
JAMES HERBST             4277 EASTLAWN AVE                                                                                  WAYNE              MI      48184‐1816
JAMES HERBST             3944 SHEPHERD RD                                                                                   SHREVEPORT         LA      71107‐8247
JAMES HERD               5193 TOKAY DRIVE                                                                                   FLINT              MI      48507‐2916
JAMES HERD               505 E HIGHLAND AVE APT 2                                                                           WILMINGTON         DE      19804‐2253
JAMES HERDA              9341 E CIRCLE DR                                                                                   CANADIAN LAKES     MI      49346‐9611
JAMES HERDMAN            10214 NORTH GARFIELD COURT                                                                         KANSAS CITY        MO      64155
JAMES HERITAGE           7335 CORNWELL DR                                                                                   DAVISON            MI      48423‐9514
JAMES HERLIHY            917 7TH AVE                                                                                        SAN BRUNO          CA      94066‐3228
JAMES HERMAN             1129 LANTERN LN                                                                                    NILES              OH      44446‐3554
JAMES HERMAN             1906 S LINCOLN ST                                                                                  BAY CITY           MI      48708‐8169
JAMES HERMANSON          1959 S BATES ST                                                                                    BIRMINGHAM         MI      48009‐1977
JAMES HERMANSON          9201 W SEEMAN RD                                                                                   EVANSVILLE         WI      53536‐8759
JAMES HERMILLER          20502 US 24 WEST                                                                                   DEFIANCE           OH      43512
JAMES HERN               BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.        OH      44236
JAMES HERNANDEZ          544 REVERE ST                                                                                      ANAHEIM            CA      92805‐4936
JAMES HERNDON            1355 HIGHWAY 68                                                                                    OTTAWA             KS      66067
JAMES HEROLD             17881 COURTNEY RD                                                                                  BELOIT             OH      44609‐9743
JAMES HERR & SONS        3204 LOUIS SHERMAN DR                                                                              STEGER             IL      60475‐1184
JAMES HERRALD            11555 W FM 471 LOT 66                                                                              SAN ANTONIO        TX      78253‐4896
JAMES HERRICK            9960 BRAY RD                                                                                       MILLINGTON         MI      48746‐9564
JAMES HERRIFORD          207 E CHURCH ST                                                                                    FARMLAND           IN      47340‐9412
JAMES HERRIMAN           2261 HOLLY TREE DR                                                                                 DAVISON            MI      48423‐2065
JAMES HERRIN             BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                         BOSTON HEIGHTS     OH      44236
JAMES HERRINGSHAW        8066 QUEEN PALM LN APT 518                                                                         FORT MYERS         FL      33966‐6475
JAMES HERRINGSHAW        2778 SARAH CT                                                                                      BAY CITY           MI      48708‐8464
JAMES HERRON             3608 LLOYD RD                                                                                      CLEVELAND          OH      44111‐4680
JAMES HERRON             283 JACQUALYN DR                                                                                   LAPEER             MI      48446‐4134
JAMES HERROSCHECK        61118 GREENWOOD DR                                                                                 SOUTH LYON         MI      48178‐1098
JAMES HERSHBERGER JR     324 CORNISH RD                                                                                     LAKE LYNN          PA      15451
JAMES HERTWECK           22170 SWEETGRASS DR                                                                                BEND               OR      97702‐9647
JAMES HERTZ              2071 W HENDERSON RD                                                                                HENDERSON          MI      48841‐9766
JAMES HERWALDT           2134 WILMONT DR SE                                                                                 KENTWOOD           MI      49508‐6598
JAMES HERZBERG           1201 SUMMER HAVEN CIR                                                                              FRANKLIN           TN      37069‐1869
JAMES HERZOG             12788 JULMAR DR                                                                                    BYRON              MI      48418‐9123
JAMES HESLEP             303 CORRINE ST                                                                                     PRINCETON          WV      24740‐8332
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JAMES HESS           85 EAST RD                                                                                     MARTINSBURG        WV     25404‐5197
JAMES HESS           2727 BENS BRANCH DR             APT 1110                                                       KINGWOOD           TX     77339‐3745
JAMES HESS           1255 MIDDLE BELLVILLE RD                                                                       MANSFIELD          OH     44904‐1914
JAMES HESS           3101 COUNTY ROAD 405                                                                           ALVARADO           TX     76009‐3054
JAMES HESS           BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
JAMES HESSELBROCK    1351 CLEVELAND AVE                                                                             HAMILTON           OH     45013‐1400
JAMES HESTER         9283 W 1300 N                                                                                  ELWOOD             IN     46036‐8701
JAMES HESTER         2512 BRAFFERTON AVE                                                                            HUDSON             OH     44236‐4126
JAMES HETHERINGTON   295 MAPLE ST                                                                                   MUIR               MI     48860‐9777
JAMES HETHERMAN      34408 STATE ROAD 54                                                                            ZEPHYRHILLS        FL     33543‐9108
JAMES HETTINGER      PO BOX 13                                                                                      MARCELLUS          NY     13108‐0013
JAMES HETTINGER      1774 W QUARRY                                                                                  LOGANSPORT         IN     46947‐6653
JAMES HETTLER        3507 S DEERFIELD AVE                                                                           LANSING            MI     48911
JAMES HETZER         476 RANCH DR                                                                                   MUSKEGON           MI     49441‐4940
JAMES HETZNER        3590 CALUMET DR                                                                                SAGINAW            MI     48603‐2516
JAMES HEUSI          4212 N STATE ROUTE 66                                                                          DEFIANCE           OH     43512‐9646
JAMES HEWELT         305 REYMONT RD                                                                                 WATERFORD          MI     48327‐2864
JAMES HEWITT         2728 DEL MAR DR                                                                                OKEMOS             MI     48864‐2402
JAMES HEWITT         406 CRAMER AVE                                                                                 BEVERLY            NJ     08010‐1004
JAMES HEWITT         730 WINCHELL ST SE                                                                             GRAND RAPIDS       MI     49507‐3246
JAMES HEWSON         5988 S 50 W                                                                                    PENDLETON          IN     46064‐9592
JAMES HEXAMER        417 W 600 N                                                                                    ALEXANDRIA         IN     46001‐8209
JAMES HIATT          19208 CYPRESS VIEW DR                                                                          FORT MYERS         FL     33967‐4825
JAMES HIATT          4408 NICHOL AVE                                                                                ANDERSON           IN     46011‐2910
JAMES HICKERSON JR   9963 COUNTY ROAD 10‐2                                                                          DELTA              OH     43515
JAMES HICKEY         32833 BEECHWOOD DR                                                                             WARREN             MI     48088‐1559
JAMES HICKEY SR      590 CHAMPION AVENUE WEST                                                                       WARREN             OH     44483‐1312
JAMES HICKMAN        924 JOHN BARBEE RD                                                                             RAY                OH     45672
JAMES HICKMAN        5116 MILLSBORO RD                                                                              GALION             OH     44833‐9525
JAMES HICKMAN JR     12680 SUMPTER RD                                                                               CARLETON           MI     48117‐9553
JAMES HICKOK         6255 EASTRIDGE DR                                                                              HUDSONVILLE        MI     49426‐8707
JAMES HICKS          3530 CONGER ST                                                                                 PORT HURON         MI     48060‐2227
JAMES HICKS          PO BOX 415                                                                                     BERGEN             NY     14416‐0415
JAMES HICKS          333 E WILLIAM ST                                                                               BATH               NY     14810‐1661
JAMES HICKS          9013 MARLEY DR                                                                                 RANDALLSTOWN       MD     21133‐4200
JAMES HICKS          5726 US HIGHWAY 50 W                                                                           MITCHELL           IN     47446‐5431
JAMES HICKS          6931 ROCKBRIDGE RD                                                                             STONE MOUNTAIN     GA     30087‐4706
JAMES HICKS          1890 BROOKFIELD DR                                                                             AKRON              OH     44313‐5459
JAMES HICKS          14180 NEFF RD                                                                                  CLIO               MI     48420‐8846
JAMES HICKS          17 INTER PARK AVE                                                                              BUFFALO            NY     14211‐1117
JAMES HICKS          1264 DARLENE AVE                                                                               MADISON HTS        MI     48071‐2971
JAMES HICKS          2448 W CHURCH ST                                                                               CEDAR CITY         UT     84720‐1973
JAMES HICKS          13685 BRIANA LN                                                                                SHELBY TOWNSHIP    MI     48315‐2059
JAMES HICKSON        902 HONEYTREE LN                                                                               CAMP               AR     72520‐9569
JAMES HIDY           PO BOX 443                                                                                     MASSENA            NY     13662‐0443
JAMES HIGGERSON      2341 E MAPLE AVE                                                                               BURTON             MI     48529‐2153
JAMES HIGGERSON      909 DELL AVE                                                                                   FLINT              MI     48507‐2806
JAMES HIGGINBOTHAM   1200 HAP RD                                                                                    BALDWIN            FL     32234‐1158
JAMES HIGGINS        10277 S STATE RD                                                                               GOODRICH           MI     48438‐8882
JAMES HIGGINS        906 RAYBERTA DR                                                                                VANDALIA           OH     45377‐2629
JAMES HIGGINS        535 JOYCE AVE                                                                                  LEWISBURG          TN     37091‐3644
JAMES HIGGINS        12914 S EGGLESTON AVE                                                                          CHICAGO             IL    60628‐7425
JAMES HIGGINS        3784 GOLF CIRCLE CT                                                                            DORR               MI     49323‐9576
JAMES HIGGS          1409 OAK VISTA DR                                                                              DALLAS             TX     75232‐1961
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JAMES HIGH                  10060 GREEN RD                                                                            GOODRICH          MI     48438‐8897
JAMES HIGHERS               411 N BALDWIN RESORT RD                                                                   EAST TAWAS        MI     48730‐9526
JAMES HIGHTOWER JR          1913 ROOT ST                                                                              FLINT             MI     48505‐4751
JAMES HIGNITE               1650 BIRCH DR                                                                             PINCONNING        MI     48650‐9519
JAMES HIGNITE               2370 WEATHERWOOD WAY                                                                      KINGMAN           AZ     86409‐0536
JAMES HILD                  8628 FAIR RD                                                                              STRONGSVILLE      OH     44149‐1227
JAMES HILER                 5208 E PRICE RD                                                                           SAINT JOHNS       MI     48879‐9151
JAMES HILL                  R021 COUNTY ROAD 17                                                                       NAPOLEON          OH     43545‐9596
JAMES HILL                  1069 BLUE RIDGE CIR                                                                       CLARKSTON         MI     48348‐5212
JAMES HILL                  24200 LATHRUP BLVD APT 109                                                                SOUTHFIELD        MI     48075‐2858
JAMES HILL                  187 DOGWOOD HILLS CLUB RD                                                                 GILBERTSVILLE     KY     42044‐9226
JAMES HILL                  1301 E AVENUE I SPC 58                                                                    LANCASTER         CA     93535‐2138
JAMES HILL                  1093 W COLDWATER RD                                                                       FLINT             MI     48505‐4814
JAMES HILL                  770 E AUSTIN AVE                                                                          FLINT             MI     48505‐2214
JAMES HILL                  10 CYCLAMEN CT W                                                                          HOMOSASSA         FL     34445‐6214
JAMES HILL                  3380 FIELD RD                                                                             CLIO              MI     48420‐1185
JAMES HILL                  15556 JOAN ST                                                                             SOUTHGATE         MI     48195‐2908
JAMES HILL                  90 S MERRIMAC ST                                                                          PONTIAC           MI     48340‐2536
JAMES HILL                  3595 GREGORY RD                                                                           ORION             MI     48359‐2016
JAMES HILL                  6205 ISAIAH ST                                                                            WESTON            WI     54476‐6606
JAMES HILL                  5328 SANDUSKY RD                                                                          PECK              MI     48466‐9791
JAMES HILL                  1913 BASIL LN                                                                             FLINT             MI     48504‐7069
JAMES HILL                  659 GARFIELD ST                                                                           VANDERBILT        MI     49795‐9300
JAMES HILL                  611 JUBILEE LN                                                                            AVON              IN     46123‐7649
JAMES HILL                  401 W INDIANA ST                                                                          SUMMITVILLE       IN     46070‐8908
JAMES HILL                  2858 S CANAL ST                                                                           NEWTON FALLS      OH     44444‐9476
JAMES HILL                  3673 N GRANDJEAN RD                                                                       ROSE CITY         MI     48654‐9788
JAMES HILL                  2204 OAKWOOD AVE                                                                          SAGINAW           MI     48601‐3567
JAMES HILL                  3301 BRANDON ST                                                                           FLINT             MI     48503‐3466
JAMES HILL                  25 BRIER ST                                                                               WOONSOCKET         RI    02895‐5007
JAMES HILL                  16726 S MILES RD                                                                          CLEVELAND         OH     44128‐3640
JAMES HILL                  35 ROCK GLENN RD                                                                          HAVRE DE GRACE    MD     21078‐2021
JAMES HILL                  452 E WILSON AVE                                                                          GIRARD            OH     44420‐2705
JAMES HILL                  5864 KING JAMES CT                                                                        HUBER HEIGHTS     OH     45424‐5426
JAMES HILL                  537 DELAWARE AVE                                                                          ELYRIA            OH     44035‐6662
JAMES HILL                  9501 W 99TH TER                                                                           OVERLAND PARK     KS     66212‐5216
JAMES HILL                  2580 TRADEWINDS DR                                                                        ROSEVILLE         CA     95747‐7142
JAMES HILL                  1313 WHITE ST                                                                             FREDERICKSBRG     VA     22401‐7152
JAMES HILL                  2824 RAVENGLASS RD                                                                        WATERFORD         MI     48329‐2645
JAMES HILL                  W4410 DUCK CREEK LN                                                                       WESTFIELD         WI     53964
JAMES HILL DBA VOCATIONAL   876 JEAN CIR                                                                              OREGON            WI     53575‐2657
JAMES HILL JR               9690 N RANSOM RD                                                                          WHEELER           MI     48662‐9707
JAMES HILL JR               5928 MARJA ST                                                                             FLINT             MI     48505‐2516
JAMES HILLA                 30233 SHARON LN                                                                           WARREN            MI     48088‐5865
JAMES HILLAKER              409 PENINSULA DR                                                                          COLUMBIAVILLE     MI     48421‐9774
JAMES HILLARD               7590 CHERRYWOOD DR                                                                        WESTLAND          MI     48185‐7120
JAMES HILLENBURG            1203 RIDGE RD                                                                             WILLIAMS          IN     47470‐8871
JAMES HILLER                6090 DOWNS ROAD                                                                           CHAMPION          OH     44484
JAMES HILLIARD              3490 W 20TH ST                                                                            INDIANAPOLIS      IN     46222‐2620
JAMES HILLIARD              3783 CHAMBERLAIN DR                                                                       LAMBERTVILLE      MI     48144‐9781
JAMES HILLIER               694 COLLIER LAKE CIR                                                                      SEBASTIAN         FL     32958‐3932
JAMES HILLIGOSS             6805 N RAIDER RD                                                                          MIDDLETOWN        IN     47356‐9751
JAMES HILLIGOSS JR          4019 BROWN ST                                                                             ANDERSON          IN     46013‐4369
JAMES HILLIKER              222 DEVONSHIRE DR                                                                         DIMONDALE         MI     48821‐9777
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JAMES HILLMAN              3076 W RATTALEE LAKE RD                                                                    HOLLY             MI     48442‐8685
JAMES HILLMAN JR           10966 W STATE ROAD 142                                                                     QUINCY            IN     47456‐9425
JAMES HILLS                PO BOX 327                                                                                 BIG BAY           MI     49808‐0327
JAMES HILTNER              23480 STATE ROUTE 613                                                                      CONTINENTAL       OH     45831‐8923
JAMES HILTON               9239 ROSEBUD CIR                                                                           PORT CHARLOTTE    FL     33981‐3208
JAMES HILTS                1610 BRALEY RD                                                                             YOUNGSTOWN        NY     14174‐9733
JAMES HILTS I I            PO BOX 480                                                                                 LILLIAN           TX     76061‐0480
JAMES HIMEBAUGH            5804 S COUNTY LINE RD                                                                      DURAND            MI     48429‐9409
JAMES HIMEBAUGH            7528 N STATE ROAD 135                                                                      MORGANTOWN        IN     46160‐8988
JAMES HINCHMAN             3536 N. 975 W.                                                                             SHIRLEY           IN     47384
JAMES HINDENLANG           38 BRADLEY AVE                                                                             SHELBY            OH     44875‐1844
JAMES HINES                200 TYSON ST                                                                               GREENVILLE        NC     27834‐1848
JAMES HINES                4602 BRITTANY RD                                                                           INDIANAPOLIS      IN     46222‐1364
JAMES HINES                2423 NORTHDALE DR                                                                          GRAND BLANC       MI     48439‐8511
JAMES HINES                3185 COUNTY ROAD 15200                                                                     PATTONVILLE       TX     75468‐3288
JAMES HINES                2816 MORNINGSIDE DR                                                                        SHREVEPORT        LA     71108‐3218
JAMES HINES JR             15977 ADDISON ST                                                                           SOUTHFIELD        MI     48075‐6902
JAMES HINKEL               1900 SE 12TH ST                                                                            MOORE             OK     73160‐8361
JAMES HINKINS              13240 W SHORE DR                                                                           MILLERSBURG       MI     49759‐9210
JAMES HINKLE               5821 KESHENA CT                                                                            LIBERTY TWP       OH     45011‐2345
JAMES HINKLE               5417 DUPONT ST                                                                             FLINT             MI     48505‐2650
JAMES HINKLE               2527 BROWNELL BLVD                                                                         FLINT             MI     48504‐2757
JAMES HINKLEY              301 WILDWOOD DR                                                                            PRUDENVILLE       MI     48651‐9415
JAMES HINSBERG             8156 FARRANT ST                                                                            COMMERCE          MI     48382‐2323
                                                                                                                      TOWNSHIP
JAMES HINSHAW              5346 W 8TH STREET RD                                                                       ANDERSON         IN      46011‐9104
JAMES HISER                851 G STEPHENS RD                                                                          ROUNDHILL        KY      42275‐9427
JAMES HISLOPE              23795 S STATE HIGHWAY 47                                                                   WARRENTON        MO      63383‐6949
JAMES HITE                 904 KAUFFMAN AVE                                                                           MARTINSBURG      WV      25401
JAMES HITE                 4018 SAMANTHA DR                                                                           BRITTON          MI      49229‐8724
JAMES HITMAR               4007 CARTER CREEK DR                                                                       AVON PARK        FL      33825‐6069
JAMES HITT                 404 NORTHVIEW CT                                                                           DE FOREST        WI      53532‐1222
JAMES HITZ                 3738 3 MILE RD                                                                             BAY CITY         MI      48706‐9215
JAMES HOADLEY              145 STANDARD WOODS APT G‐80                                                                AUBURN           NY      13021
JAMES HOAG                 8200 DUNGARVIN DR                                                                          GRAND BLANC      MI      48439‐8164
JAMES HOBBS                PO BOX 271                                                                                 SIDELL           IL      61876‐0271
JAMES HOBBS                12223 JASON DR                                                                             MEDWAY           OH      45341‐9667
JAMES HOBBS I I            2110 HAMPTON CT                                                                            FALLSTON         MD      21047‐2022
JAMES HOBGOOD              109 BROOKHAVEN DR                                                                          COLUMBIA         TN      38401‐8875
JAMES HOBSON               1222 VILLA CT S                                                                            WALLED LAKE      MI      48390‐3379
JAMES HOBZEK               PO BOX 361753                                                                              STRONGSVILLE     OH      44136‐0030
JAMES HOCK                 7793 ELMWOOD RD                                                                            PORTLAND         MI      48875‐8622
JAMES HOCK                 4228 BOSART RD                                                                             SPRINGFIELD      OH      45503‐6518
JAMES HOCK                 9515 COX RD                                                                                BELLEVUE         MI      49021‐9631
JAMES HOCK                 835 MEADOW RIDGE CIRCLE                                                                    AUBURN HILLS     MI      48326
JAMES HOCKMAN              1605 RIDGE RD N                                                                            HEDGESVILLE      WV      25427‐4952
JAMES HODGE                3214 PINE HAVEN LN                                                                         HAUGHTON         LA      71037‐9380
JAMES HODGE                5442 CIRCLE DR                                                                             ROSE CITY        MI      48654‐9502
JAMES HODGE MOTORS, INC.   JAMES HODGE                    5100 SE LOOP 286                                            PARIS            TX      75460‐6553
JAMES HODGE MOTORS, INC.   5100 SE LOOP 286                                                                           PARIS            TX      75460‐6553
JAMES HODGES               1410 HIGHWAY 15 S                                                                          WOODLAND         MS      39776‐9740
JAMES HODGES               2437 E 40TH ST                                                                             INDIANAPOLIS     IN      46205‐2905
JAMES HODGES               13004 E KENTUCKY RD                                                                        INDEPENDENCE     MO      64050‐1022
JAMES HODGES               5308 WESTERN RD                                                                            FLINT            MI      48506‐1358
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Name                Address1                      Address2           Address3         Address4               City           State   Zip
JAMES HODGES        10320 DRIVER AVE                                                                         OVERLAND        MO     63114‐2234
JAMES HODGES        12106 SEYMOUR RD                                                                         MONTROSE        MI     48457‐9783
JAMES HODGES        1665 MOUNT UNION CHURCH RD                                                               SMITHS GROVE    KY     42171‐9351
JAMES HODGES JR     1810 COOPER LAKES DR                                                                     GRAYSON         GA     30017‐1922
JAMES HODGES JR     394 LEE RD #850                                                                          PHENIX CITY     AL     36870
JAMES HODGSON       7877 COLUMBIANA CANFIELD RD                                                              CANFIELD        OH     44406‐9441
JAMES HODGSON       8467 NIGHTINGALE ST                                                                      DEARBORN HTS    MI     48127‐1203
JAMES HODGSON       PO BOX 468                                                                               DALEVILLE       IN     47334‐0468
JAMES HODO          6212 FLEMING RD                                                                          FLINT           MI     48504‐1629
JAMES HODSON        6825 N COUNTY ROAD 700 W                                                                 MIDDLETOWN      IN     47356‐9441
JAMES HODUPP        4391 E 350 N                                                                             MARION          IN     46952‐9627
JAMES HOESL         4620 W MICHIGAN AVE                                                                      LANSING         MI     48917‐3437
JAMES HOFER         412 FEDERAL DR                                                                           ANDERSON        IN     46013‐4710
JAMES HOFF          5628 W SPRING KNOLL DR                                                                   BAY CITY        MI     48706‐5614
JAMES HOFFER        825 N WASHINGTON AVE                                                                     CRESTLINE       OH     44827‐9473
JAMES HOFFMAN       APT H                         1712 MARION ROAD                                           BUCYRUS         OH     44820‐3600
JAMES HOFFMAN       464 CIRCLE DR                                                                            NEWTON FALLS    OH     44444‐1222
JAMES HOFFMAN       2301 BEVERLY ST                                                                          OVIEDO          FL     32765‐8071
JAMES HOFFMAN       PO BOX 520                                                                               DIANA           TX     75640‐0520
JAMES HOFFMAN       PO BOX 174                                                                               WELLINGTON      MO     64097‐0174
JAMES HOFFMAN       15654 CRAIG                                                                              FRASER          MI     48026‐2621
JAMES HOFFMAN       3195 STRATFORD DR SW                                                                     WYOMING         MI     49509‐3089
JAMES HOFFMAN       1688 W HIBBARD RD                                                                        OWOSSO          MI     48867‐4510
JAMES HOFFMAN       2861 GLENN AVE                                                                           SAINT HELEN     MI     48656‐9657
JAMES HOFFMASTER    1095 VINEWOOD ST                                                                         AUBURN HILLS    MI     48326‐1644
JAMES HOFFMEYER     20440 MACEL ST                                                                           ROSEVILLE       MI     48066‐1134
JAMES HOFFNER       15707 NORMAN RD                                                                          LYNN            MI     48097‐1707
JAMES HOFMEISTER    11050 HURON LINE RD                                                                      UNIONVILLE      MI     48767‐9628
JAMES HOFSTRA       2542 ANGELA ST                                                                           JENISON         MI     49428‐8178
JAMES HOGADONE      PO BOX 2586                                                                              PAHRUMP         NV     89041‐2586
JAMES HOGAN         2413 SCOTT RD                                                                            NORTH BRANCH    MI     48461‐9770
JAMES HOGAN         4B SALMON RUN B                                                                          HILTON          NY     14468
JAMES HOGAN         2915 COLUMBUS AVE                                                                        SANDUSKY        OH     44870‐8021
JAMES HOGAN         PO BOX 483                                                                               NEWARK          TX     76071‐0483
JAMES HOGAN         6403 GREENVIEW AVE                                                                       DETROIT         MI     48228‐4765
JAMES HOGARTH       6778 KELSEY HWY                                                                          IONIA           MI     48846‐9433
JAMES HOGGARD       PO BOX 13204                                                                             MESA            AZ     85216‐3204
JAMES HOGGARD       4765 HARPER RD                                                                           HOLT            MI     48842‐9671
JAMES HOGGATT       10380 VILLAGE DR E                                                                       FORISTELL       MO     63348‐2481
JAMES HOGLE         6164 SANCTUARY POINTE DR                                                                 GRAND BLANC     MI     48439‐9021
JAMES HOGSETT JR    3801 SHAFTSBURG RD                                                                       LAINGSBURG      MI     48848‐8731
JAMES HOGSTON       560 N 1100 E                                                                             MARION          IN     46952‐6607
JAMES HOGSTON       44833 ECORSE RD                                                                          BELLEVILLE      MI     48111‐1187
JAMES HOGSTON       4909 KIMPTON RD                                                                          BRITTON         MI     49229‐9402
JAMES HOGSTON       1241 DONITHON RD                                                                         LOUISA          KY     41230‐8571
JAMES HOGSTON       18368 DEXTER TRL                                                                         GREGORY         MI     48137‐9440
JAMES HOHREIN       206 WESTMINSTER AVE                                                                      O FALLON         IL    62269‐2646
JAMES HOLBEL        4116 PARK FOREST DR                                                                      FLINT           MI     48507‐2271
JAMES HOLBROOK      2795 E CODY ESTEY RD                                                                     PINCONNING      MI     48650‐9785
JAMES HOLBROOK      2044 HUNTINGTON AVE                                                                      FLINT           MI     48507‐3517
JAMES HOLBROOK      1276 ROSALIE DR                                                                          FENTON          MI     48430‐9642
JAMES HOLBROOK JR   3865 HURT BRIDGE RD                                                                      CUMMING         GA     30028‐9186
JAMES HOLBROOKS     2341 TALLY DR                                                                            CUMMING         GA     30041‐7216
JAMES HOLCOMB       8535 PLANK RD                                                                            MONTVILLE       OH     44064‐9796
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Name                               Address1                             Address2                     Address3                  Address4               City            State   Zip
JAMES HOLCOMB                      674 CHARWOOD DR                                                                                                    CINCINNATI       OH     45244‐1315
JAMES HOLCOMB                      611 BIMINI DR                                                                                                      SANDUSKY         OH     44870‐3992
JAMES HOLCOMB                      2401 LOOP ROAD                                                                                                     TUSCALOOSA       AL     35405‐2028
JAMES HOLDEN                       26837 LAKEVUE DR APT 5                                                                                             PERRYSBURG       OH     43551‐5316
JAMES HOLDEN                       5360 MAPLETREE DR                                                                                                  FLINT            MI     48532‐3332
JAMES HOLDEN                       5736 ATTICA RD                                                                                                     ATTICA           MI     48412‐9775
JAMES HOLDER                       1505 BARBARA DR                                                                                                    FLINT            MI     48505‐2502
JAMES HOLDER                       1378 E JULIAH AVE                                                                                                  FLINT            MI     48505‐1734
JAMES HOLE                         5103 E KARLSWAY DR                                                                                                 COLUMBUS         IN     47201‐8920
JAMES HOLIDAY                      4619 ONONDAGA BLVD                                                                                                 SYRACUSE         NY     13219‐3301
JAMES HOLIDAY JR                   401 ENGLEWOOD AVE APT 1                                                                                            BUFFALO          NY     14223‐2866
JAMES HOLINBAUGH                   7292 ELM ST                                                                                                        NEWTON FALLS     OH     44444‐9233
JAMES HOLKO                        5396 OLE BANNER TRL                                                                                                GRAND BLANC      MI     48439‐7705
JAMES HOLLAND                      422 INNWOOD RD                                                                                                     SIMI VALLEY      CA     93065‐6816
JAMES HOLLAND                      911 CORD ST                                                                                                        BALTIMORE        MD     21220‐4507
JAMES HOLLAND                      1340 MUIR DR                                                                                                       RENO             NV     89503‐2646
JAMES HOLLAND                      235 SHAW RD NW                                                                                                     HARTSELLE        AL     35640‐2137
JAMES HOLLAND                      1416 MONTCLAIR ST                                                                                                  ARLINGTON        TX     76015‐1400
JAMES HOLLAND                      214 S ALDER DR                                                                                                     ORLANDO          FL     32807‐4975
JAMES HOLLAND                      PO BOX 352                                                                                                         NEW LOTHROP      MI     48460‐0352
JAMES HOLLAND                      960 CENTRAL DR                                                                                                     LAKE ORION       MI     48362‐2321
JAMES HOLLAND                      2306 PARADISE DR APT 123                                                                                           RENO             NV     89512‐2799
JAMES HOLLAND                      BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS.      OH     44236
JAMES HOLLAND JR                   6343 BUCKINGHAM AVE                                                                                                ALLEN PARK       MI     48101‐2330
JAMES HOLLAND JR                   130 COUNTRY ROAD 3154                                                                                              DE BERRY         TX     75639
JAMES HOLLAR                       14669 HIGH ST                                                                                                      MT STERLING      OH     43143‐9407
JAMES HOLLEBECK JR AND KATHRYN E   JAMES HOLLEBECK JR AND KATHRYN E     TTEES U/A DTD. 07/01/1993    589 E. MITCHELL LAKE DR                          SHERIDAN         MI     48884‐9394
HOLLEBECK                          HOLLEBECK TRUST
JAMES HOLLENBACK                   13241 W TOWNLINE RD                                                                                                SAINT CHARLES   MI      48655‐9772
JAMES HOLLENBECK                   2304 S LINCOLN ST                                                                                                  BAY CITY        MI      48708‐3814
JAMES HOLLERBACH                   256 RIVERVIEW DR                                                                                                   COLDWATER       MI      49036‐9233
JAMES HOLLEY                       14363 KNAPPER RIDGE COVE                                                                                           HERRIMAN        UT      84096‐3556
JAMES HOLLIDAY                     3125 INDEPENDENCE DR S                                                                                             ELWOOD          IN      46036‐8999
JAMES HOLLIDAY                     201 SUMMIT ST                                                                                                      RIVER ROUGE     MI      48218‐1217
JAMES HOLLIDAY                     8787 W CHADWICK RD                                                                                                 DEWITT          MI      48820‐9119
JAMES HOLLINGER                    76 PECAN COURT                                                                                                     DOUGLAS         GA      31533
JAMES HOLLINGSWORTH                959 MISTLETOE RD                                                                                                   ABBEVILLE       GA      31001‐5605
JAMES HOLLINS                      49 WEDGEWOODE LN                                                                                                   PONTIAC         MI      48340‐2273
JAMES HOLLIS                       29731 ECORSE RD                                                                                                    ROMULUS         MI      48174‐3527
JAMES HOLLIS                       9420 SPENCER LAKE RD                                                                                               SPENCER         OH      44275‐9780
JAMES HOLLIS                       307 BERT LN                                                                                                        INKSTER         MI      48141‐1079
JAMES HOLLIS                       THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES            22ND FLOOR                                       BALTIMORE       MD      21201

JAMES HOLLISTER                    4605 AUSTIN DR                                                                                                     FORT WAYNE      IN      46806‐2583
JAMES HOLLOWAY                     17869 LAWNVIEW AVE                                                                                                 LAKE MILTON     OH      44429‐9567
JAMES HOLLOWAY                     2896 BETHANY CH RD HWY 264                                                                                         SNELLVILLE      GA      30039
JAMES HOLLOWAY                     2304 DORAL CT                                                                                                      ALBANY          GA      31707‐5056
JAMES HOLLOWAY                     PO BOX 1203                                                                                                        CANTON          GA      30169‐1203
JAMES HOLLOWAY                     2733 BRANDON ST                                                                                                    FLINT           MI      48503‐3469
JAMES HOLLOWAY                     2114 ARBUTUS ST                                                                                                    JANESVILLE      WI      53546‐6159
JAMES HOLLOWAY                     62 CARL CROLEY RD                                                                                                  WILLIAMSBURG    KY      40769‐9138
JAMES HOLLOWAY                     1510 E MORGAN ST                                                                                                   MARTINSVILLE    IN      46151‐1752
JAMES HOLLOWAY                     15836 CANDLE DR                                                                                                    MACOMB          MI      48042‐2232
JAMES HOLLOWELL                    PO BOX 768                                                                                                         MUNCIE          IN      47308‐0768
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Name                    Address1                       Address2            Address3         Address4               City               State   Zip
JAMES HOLLY             9085 GRENOBLE DR                                                                           MILAN               MI     48160‐9755
JAMES HOLLY             1692 SAN MARCO RD                                                                          MARCO ISLAND        FL     34145‐5163
JAMES HOLMAN            PO BOX 192                                                                                 HUDSONVILLE         MI     49426‐0192
JAMES HOLMAN            913 POSADOS DR                                                                             EDMOND              OK     73012‐4247
JAMES HOLMAN            2915 E 450 N                                                                               MARION              IN     46952‐9041
JAMES HOLMAN            118 E 8TH ST                                                                               GEORGETOWN           IL    61846‐1517
JAMES HOLMAN            130 INDUSTRY ROAD                                                                          TELLICO PLAINS      TN     37385
JAMES HOLMAN            186 RIVER CHASE                                                                            HOSCHTON            GA     30548‐1243
JAMES HOLMAN JR         118 DUSTY ROSE DR                                                                          O FALLON            MO     63368‐6878
JAMES HOLMBERG          9515 W COUNTY ROAD 300 N                                                                   MUNCIE              IN     47304‐8860
JAMES HOLMES            15 BOYDEN STREET EXT APT 7                                                                 WEBSTER             MA     01570‐2814
JAMES HOLMES            1651 ROBERT RD                                                                             COLUMBIA            TN     38401‐5425
JAMES HOLMES            223 E MACGREGOR CT                                                                         HIGHLAND            MI     48357‐3627
JAMES HOLMES            1147B FRANKLIN RD                                                                          SCOTTSVILLE         KY     42164
JAMES HOLMES            1749 ROOSEVELT AVE                                                                         NILES               OH     44446‐4109
JAMES HOLMES            5036 CRAWFORDSVILLE RD                                                                     SPEEDWAY            IN     46224‐5665
JAMES HOLMGREN          10320 WALNUT SHRS DR BOX 644                                                               FENTON              MI     48430
JAMES HOLSTINE          409 BENFIELD RD                                                                            DOTHAN              AL     36305‐5242
JAMES HOLT              6037 E ATHERTON RD                                                                         BURTON              MI     48519‐1601
JAMES HOLT              15063 NELSON RD                                                                            SAINT CHARLES       MI     48655‐9767
JAMES HOLT              906 COTTINGHAM RD                                                                          MAINEVILLE          OH     45039‐9685
JAMES HOLT              5342 N STATE ROAD 37                                                                       ORLEANS             IN     47452‐9259
JAMES HOLTMAN           1600 OSBORNE RD                                                                            DELTON              MI     49046‐7611
JAMES HOLTON            1740 BIRD ROAD                                                                             ORTONVILLE          MI     48462‐9082
JAMES HOLTZ             28445 KENDALLWOOD DR                                                                       FARMINGTON HILLS    MI     48334‐2632

JAMES HOLTZ             PO BOX 1289                                                                                GRIFFIN            GA      30224‐0032
JAMES HOLTZ             1 SUPERIOR TRL                                                                             SWARTZ CREEK       MI      48473‐1614
JAMES HOLZWORTH         5723 UP‐A‐WAY DRIVE                                                                        FREDERICKSBURG     VA      22407
JAMES HOMLISH           4576 S SUNSET DRIVE                                                                        COPPERSBURG        PA      18036
JAMES HOMOLA            5400 LAKE DR                                                                               OWOSSO             MI      48867‐8712
JAMES HOMRICH           5543 WOODS AVE                                                                             TOLEDO             OH      43623‐1501
JAMES HONAKER           24 W KAPOK DR                                                                              NEWARK             DE      19702‐6112
JAMES HONAKER           11869 W RIVER LANE RD                                                                      OAK HARBOR         OH      43449‐9407
JAMES HONDERICH         12255 RIETHMILLER RD                                                                       GRASS LAKE         MI      49240‐9252
JAMES HONEA             1028 E REID RD                                                                             GRAND BLANC        MI      48439‐8905
JAMES HONEMAN           586 IDLEWILD CT SW                                                                         BYRON CENTER       MI      49315‐8366
JAMES HONEYCUTT         5666 STUDEBAKER RD                                                                         TIPP CITY          OH      45371‐8705
JAMES HOOBLER           35 CHAMBERS AVE                                                                            GREENVILLE         PA      16125‐1863
JAMES HOOD              8051 SYLVESTER ST                                                                          DETROIT            MI      48214‐1132
JAMES HOOD              13919 COUNTY ROAD 7                                                                        MOULTON            AL      35650‐5904
JAMES HOOGEWIND         3738 RICHMOND ST NW                                                                        GRAND RAPIDS       MI      49534‐1213
JAMES HOOK              2879 COACHLITE DR                                                                          TECUMSEH           MI      49286‐7515
JAMES HOOKS             2702 CEDAR RD                                                                              CHESAPEAKE         VA      23323‐3903
JAMES HOOKS             856 JAMESTOWN AVE                                                                          ELYRIA             OH      44035‐1812
JAMES HOOP              2304 CARDINAL AVE                                                                          DAYTON             OH      45414‐3336
JAMES HOOPER            9174 LITTLEFIELD ST                                                                        DETROIT            MI      48228‐2548
JAMES HOOPER            918 DORNELL AVE                                                                            LANSING            MI      48910‐5362
JAMES HOOPER JR         535 S WARREN AVE APT 402                                                                   SAGINAW            MI      48607‐1690
JAMES HOOPINGARNER JR   6264 HILLSBORO RD                                                                          DAVISBURG          MI      48350‐3518
JAMES HOOVER            1829 LEMONT DR                                                                             POLAND             OH      44514‐1422
JAMES HOOVER            441 OLIVER DR                                                                              ELIZABETH          PA      15037‐1070
JAMES HOOVER            8064 JORDAN RD                                                                             GRAND BLANC        MI      48439‐9726
JAMES HOOVER            PO BOX 1648                                                                                ANDOVER            OH      44003‐1648
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Name              Address1                       Address2                     Address3   Address4               City               State   Zip
JAMES HOOVER      1130 E COUNTY RD 450 N                                                                        KOKOMO              IN     46901
JAMES HOOVER      3449 KROEHLER DR                                                                              HILLIARD            OH     43026‐1723
JAMES HOOVER      1006 COLUMBUS BLVD                                                                            KOKOMO              IN     46901‐1973
JAMES HOOVER      23 CAMELOT DR                                                                                 DANVILLE             IL    61832‐7320
JAMES HOOVER      4290 E COLDWATER RD                                                                           FLINT               MI     48506‐1052
JAMES HOOVER      4384 E ROLSTON RD                                                                             LINDEN              MI     48451‐8439
JAMES HOOVER      13203 STATE ROUTE 111                                                                         DEFIANCE            OH     43512‐9045
JAMES HOPE        2021 BURTON AVE                                                                               HOLT                MI     48842‐1310
JAMES HOPE        11501 S VILLA CT APT 1B                                                                       ALSIP                IL    60803‐4309
JAMES HOPKINS     755 TAKAMARAK TRL                                                                             HOPE                MI     48628‐9600
JAMES HOPKINS     7725 M 32 E                                                                                   JOHANNESBURG        MI     49751‐9762
JAMES HOPKINS     PO BOX 535                                                                                    KODAK               TN     37764‐0535
JAMES HOPKINS     121 HAGEN ST                                                                                  BUFFALO             NY     14211‐1911
JAMES HOPKINS     1251 10TH CT SW                                                                               LARGO               FL     33770‐4402
JAMES HOPKINS     11537 NORBOURNE DR                                                                            CINCINNATI          OH     45240‐2115
JAMES HOPKINS     APT 703                        4701 CHRYSLER DRIVE                                            DETROIT             MI     48201‐1468
JAMES HOPKINS     4725 HEMMETER CT APT 8                                                                        SAGINAW             MI     48603‐3838
JAMES HOPPER      1324 SILVERTREE DR                                                                            GALLOWAY            OH     43119‐9050
JAMES HOPSON      23 JOHNS WOODS DR                                                                             ROCKFORD             IL    61103‐1608
JAMES HOPWOOD     19770 MERRIMAN RD                                                                             LIVONIA             MI     48152‐1759
JAMES HORAK       640 CURWOOD RD                                                                                OWOSSO              MI     48867‐2172
JAMES HORAK       4379 CHABLIS DR                                                                               STERLING HEIGHTS    MI     48314‐1847
JAMES HORCHA      5503 NEWBERRY RD                                                                              DURAND              MI     48429‐9172
JAMES HORGAN      810 RIVER BEND RD                                                                             MAMMOTH SPRING      AR     72554‐9781

JAMES HORINE      1374 S 300 W                                                                                  HUNTINGTON         IN      46750‐9116
JAMES HORN        5514 WOODRUFF SHORE DR                                                                        BRIGHTON           MI      48116‐8379
JAMES HORN        4029 E COUNTY ROAD 67                                                                         ANDERSON           IN      46017‐9548
JAMES HORN        511 COLONIAL DR                                                                               DAYTON             OH      45434‐5809
JAMES HORN JR     300 SHADY SHORES DR                                                                           MABANK             TX      75156‐7506
JAMES HORNAK      11205 SHERIDAN RD                                                                             BURT               MI      48417‐9438
JAMES HORNBECK    427 SONG BIRD ST                                                                              ELYRIA             OH      44035‐8380
JAMES HORNE       PO BOX 497                                                                                    BLACK ROCK         AR      72415‐0497
JAMES HORNE       301 PARKER LN                                                                                 KINGSPORT          TN      37660‐6924
JAMES HORNE       3378 N BELSAY RD                                                                              FLINT              MI      48506‐2271
JAMES HORNE       3913 WALNUT GROVE LN                                                                          DAYTON             OH      45440‐3453
JAMES HORNER      7297 BRISTOL RD                                                                               SWARTZ CREEK       MI      48473‐7911
JAMES HORNER      630 UNDERWOOD RD                                                                              BEDFORD            IN      47421‐7901
JAMES HORNER      7975 PISGAH RD                                                                                TIPP CITY          OH      45371‐8408
JAMES HORNOCKER   208 20TH STREET                                                                               BEDFORD            IN      47421‐4432
JAMES HORSCHMAN   126 GIRKIN RD                                                                                 BOWLING GREEN      KY      42101‐8632
JAMES HORSTMAN    ROUTE 2                                                                                       CLOVERDALE         OH      45827
JAMES HORTON      1137 LEININGER DR                                                                             TIPTON             IN      46072‐9790
JAMES HORTON      1628 FOREST GLEN RD                                                                           RICHMOND           VA      23228‐2306
JAMES HORTON      1004 CELLANA CT                                                                               FORT MYERS         FL      33908‐1602
JAMES HORTON      PO BOX 126                                                                                    ADDISON            MI      49220‐0126
JAMES HORTON      1871 TAHYIO RD                                                                                OWOSSO             MI      48867‐1553
JAMES HORTON      5085 GRAYTON ST                                                                               DETROIT            MI      48224‐2147
JAMES HORTON      C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                                     HOUSTON            TX      77007
                  BOUNDAS, LLP
JAMES HORVAT      PO BOX 212                                                                                    SAINT LOUIS        MI      48880‐0212
JAMES HORVATH     10327 WHITE OAK DR                                                                            PERRYSBURG         OH      43551‐9420
JAMES HOSEY       155 SESAME ST                                                                                 SPRINGBORO         OH      45066‐3311
JAMES HOSIER      6509 S 50 W                                                                                   PENDLETON          IN      46064‐9009
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Name                Address1                        Address2                    Address3   Address4               City            State   Zip
JAMES HOSKIN        2325 MARKLE PL                                                                                SAGINAW          MI     48601‐2067
JAMES HOSKIN        834 S GRAY WAY                                                                                INVERNESS        FL     34450‐2833
JAMES HOSKINS       616 LORELEI DR                                                                                FAYETTEVILLE     OH     45118‐9433
JAMES HOSKINS       1500 WOLF CREEK ROAD                                                                          WILLIAMSBURG     KY     40769‐9709
JAMES HOSKINS       802 JARED DR                                                                                  GREENWOOD        IN     46143‐8291
JAMES HOSKINS       9378 TAYLORSVILLE RD                                                                          HUBER HEIGHTS    OH     45424‐6346
JAMES HOSKINS JR    11301 E 420 NORTH RD                                                                          INDIANOLA         IL    61850‐9535
JAMES HOSPODAR      3487 ORCHARD HILL DR                                                                          CANFIELD         OH     44406‐9251
JAMES HOTARY        5242 LETHBRIDGE RD                                                                            GRAND BLANC      MI     48439‐8730
JAMES HOTT I I I    10385 WILSON AVE SW                                                                           BYRON CENTER     MI     49315‐9712
JAMES HOTTENSTEIN   57 W MADISON ST                                                                               PETERSBURG       MI     49270‐9441
JAMES HOTTOIS       8818 WHITTEMORE RD                                                                            WHITTEMORE       MI     48770‐9722
JAMES HOUCK         330 ROSE CIR APT 5                                                                            CLAYTON          GA     30525‐4240
JAMES HOUCK         PO BOX 159                                                                                    CONTINENTAL      OH     45831‐0159
JAMES HOUGH         9965 WILLOW RD                                                                                CLINTON          MI     49236‐9619
JAMES HOUGH JR      11377 N LAKE DR                                                                               FENTON           MI     48430‐8813
JAMES HOUGHTALING   10031 SW 63RD AVE                                                                             OCALA            FL     34476‐8927
JAMES HOUGHTON      1075 JENNA DR                                                                                 DAVISON          MI     48423‐2899
JAMES HOULAHAN
JAMES HOUNAM        7365 HOLLOWAY DR                                                                              DAVISON         MI      48423‐9315
JAMES HOUSE         6050 W 700 S                                                                                  WARREN          IN      46792‐9795
JAMES HOUSEHOLDER   6283 KALE ADAMS RD                                                                            LEAVITTSBURG    OH      44430‐9734
JAMES HOUSER        12337 WILSON RD                                                                               MONTROSE        MI      48457‐9427
JAMES HOUSER        16844 N ALLIS HWY                                                                             ONAWAY          MI      49765‐8998
JAMES HOUSER        PO BOX 411                                                                                    CRESTONE        CO      81131‐0411
JAMES HOUSER        370 W SQUARE LAKE RD                                                                          TROY            MI      48098‐2968
JAMES HOUSMAN       PO BOX 258                                                                                    ANNISTON        MO      63820‐0258
JAMES HOUSTON       8650 ANTRIM CT                                                                                CINCINNATI      OH      45236‐1630
JAMES HOUSTON       219 SHORES DR                                                                                 SPEEDWELL       TN      37870‐8251
JAMES HOUSTON       10895 E BOYER RD                                                                              CARSON CITY     MI      48811‐9713
JAMES HOUSTON       41510 TOMPKINS ST                                                                             BELLEVILLE      MI      48111‐3442
JAMES HOUSTON JR    20 LOIS LN                                                                                    FRANKLIN        NC      28734‐5377
JAMES HOUSTON JR    C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                     HOUSTON         TX      77007
                    BOUNDAS LLP
JAMES HOUZE         284 LAKEWOOD DR                                                                               NEWNAN          GA      30263‐5562
JAMES HOVER         15817 W 62ND ST                                                                               SHAWNEE         KS      66217‐9667
JAMES HOWARD        23620 E SCOTT BLVD                                                                            CLINTON TWP     MI      48036‐3157
JAMES HOWARD        280 ROME DR                                                                                   AUSTINTOWN      OH      44515‐4161
JAMES HOWARD        800 SOUTHFORD AVE                                                                             DAYTON          OH      45429‐2054
JAMES HOWARD        265 COUNTY ROAD 1985                                                                          YANTIS          TX      75497
JAMES HOWARD        1165 SELDEN ST                  WOODRIDGE ESTATES                                             DETROIT         MI      48201‐1503
JAMES HOWARD        208 ROSS ST                                                                                   CLEBURNE        TX      76031‐4120
JAMES HOWARD        1020 BURNTWOOD DR                                                                             MEDINA          OH      44256‐2161
JAMES HOWARD        8123 NORMILE ST                                                                               DETROIT         MI      48204‐5210
JAMES HOWARD        11123 S NEW LOTHROP RD                                                                        DURAND          MI      48429‐9470
JAMES HOWARD        207 SUMMIT ST                                                                                 LEBANON         OH      45036‐1973
JAMES HOWARD        1321 SANLOR AVE                                                                               WEST MILTON     OH      45383‐1251
JAMES HOWARD        3591 PLYMOUTH SPRINGMILL RD                                                                   SHELBY          OH      44875‐9581
JAMES HOWARD        4620 EMERSON ST                                                                               FORT WORTH      TX      76119‐2130
JAMES HOWARD        2201 TAYLORTOWN RD                                                                            SHELBY          OH      44875‐8844
JAMES HOWARD        6125 DEER PARK PASS                                                                           GRAND BLANC     MI      48439‐9640
JAMES HOWARD        8029 DONET TERRACE DRIVE                                                                      CHARLOTTE       NC      28215‐7381
JAMES HOWARD        1103 SCHEIER RD                                                                               MANSFIELD       OH      44903
JAMES HOWARD        590 WILKERSON RD                                                                              FAIRBORN        OH      45324‐9610
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Name                      Address1                         Address2                          Address3   Address4               City             State Zip
JAMES HOWARD
JAMES HOWARD A (491637)   EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR ,                                     NEW HAVEN         CT   06510
                                                           265 CHURCH STREET
JAMES HOWARD I I I        5353 LEATHER STOCKING LN                                                                             STONE MTN        GA    30087‐1508
JAMES HOWARD II           25794 WATSON RD                                                                                      DEFIANCE         OH    43512‐8821
JAMES HOWARD JR           2923 COLUMBUS ST                                                                                     DETROIT          MI    48206‐2323
JAMES HOWARD JR           4694 JONES RD                                                                                        NORTH BRANCH     MI    48461‐8911
JAMES HOWARD REID         1357 RENSLAR AVE.                                                                                    DAYTON           OH    45432
JAMES HOWARD SR           2565 TOD AVE NW                                                                                      WARREN           OH    44485‐1923
JAMES HOWARTH             5041 SPARROWOOD DR                                                                                   WATERFORD        MI    48327‐1353
JAMES HOWCROFT            2428 PRINCTONE                                                                                       BERKLEY          MI    48072
JAMES HOWE                3507 MACARTHUR LN                                                                                    INDIANAPOLIS     IN    46224‐1336
JAMES HOWE                507 ELM ST                                                                                           MOUNT MORRIS     MI    48458‐1915
JAMES HOWE                254 WHITE OAK DR                                                                                     MEDFORD          OR    97504‐7736
JAMES HOWE JR.            507 ELM ST                                                                                           MOUNT MORRIS     MI    48458‐1915
JAMES HOWELL              505 22ND TER NE                                                                                      BIRMINGHAM       AL    35215‐3817
JAMES HOWELL              3914 N DEL REY AVE                                                                                   SANGER           CA    93657‐9356
JAMES HOWELL              32 ELIAS LN                                                                                          PALM COAST       FL    32164‐6249
JAMES HOWELL              5055 E WOODMILL DR                                                                                   WILMINGTON       DE    19808‐4081
JAMES HOWELL              224 ELVERNE AVE                                                                                      DAYTON           OH    45404‐2326
JAMES HOWELL              PO BOX 1427                                                                                          VIENNA           IL    62995‐1427
JAMES HOWELL              5656 LAWNDALE ST                                                                                     DETROIT          MI    48210‐1837
JAMES HOWELL              3837 STILLWELL AVE                                                                                   LANSING          MI    48911‐2184
JAMES HOWELL              2305 S CUSTER RD APT 901                                                                             MCKINNEY         TX    75070‐6221
JAMES HOWELL              559 E PATERSON ST                                                                                    FLINT            MI    48505‐4710
JAMES HOWELL              BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS.      OH    44236
JAMES HOWEY               PO BOX 11376                                                                                         NAPLES           FL    34101‐1376
JAMES HOWIE               5603 SEABREEZE LN.                                                                                   STERLING HTS     MI    48310‐7451
JAMES HOWIE               7911 MASON RD                                                                                        MERRILL          MI    48637‐9620
JAMES HOWIE               2812 SLOAN ST                                                                                        FLINT            MI    48504‐7510
JAMES HOWIE               3750 KIRKWOOD ST GEORGES RD                                                                          BEAR             DE    19701‐2263
JAMES HOWINGTON           106 GREEN VALE DR                                                                                    COLUMBIA         TN    38401‐6900
JAMES HOWLAND             831 MOWAT CIR                                                                                        HAMILTON         NJ    08690‐3224
JAMES HOWLAND             747 FRANKLIN SQUARE DR                                                                               CHAMBERSBURG     PA    17201‐1475
JAMES HOWLETT             1020 BOYNTON DR                                                                                      LANSING          MI    48917‐1760
JAMES HOWZE               PO BOX 79                                                                                            NEWARK           TX    76071‐0079
JAMES HOY                 1074 SW LIBERTY AVE                                                                                  PORT ST LUCIE    FL    34953‐3657
JAMES HOY                 1115 ARBOR OAKS LN                                                                                   GALLOWAY         OH    43119‐8507
JAMES HOYLE               738 BLACK AVE                                                                                        FLINT            MI    48505‐3564
JAMES HOYT                4305 CHATTERLEIGH DR                                                                                 MONROE           NC    28110‐8100
JAMES HOYT                7384 SAINT JOSEPH RD                                                                                 NIAGARA FALLS    NY    14304‐1337
JAMES HRABAK              17070 SMITH AVE                                                                                      PORT CHARLOTTE   FL    33954‐2721
JAMES HRDINA I I I        12 S 56 ROBERTS DR                                                                                   NAPERVILLE       IL    60564
JAMES HRESKO              8399 POTTER RD                                                                                       FLUSHING         MI    48433‐9413
JAMES HRIT                250 OTTAWA DR                                                                                        TROY             MI    48085‐1575
JAMES HROMEK              5015 SHADY OAK TRL                                                                                   FLINT            MI    48532‐2359
JAMES HRUSKA              106 BRENDEN LOOP                                                                                     DELAWARE         OH    43015‐3397
JAMES HRUSOVSKI           BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS.      OH    44236
JAMES HRYB                7007 CLINGAN RD UNIT 31                                                                              POLAND           OH    44514‐2480
JAMES HUBBARD             1101 BENNINGTON CT                                                                                   GREENWOOD        IN    46143‐7549
JAMES HUBBARD             603 JACKSON LN                                                                                       MIDDLETOWN       OH    45044‐4962
JAMES HUBBARD             41314 FORTUNA DR E                                                                                   CLINTON TWP      MI    48038‐2235
JAMES HUBBARD             11212 KAMLOOPS ST                                                                                    LAKE VIEW TER    CA    91342‐6620
JAMES HUBBLE              4908 GENESEE RD                                                                                      LAPEER           MI    48446‐3632
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Name                 Address1                      Address2                     Address3   Address4               City             State   Zip
JAMES HUBEL          31505 ALVIN ST                                                                               GARDEN CITY       MI     48135‐1322
JAMES HUBENSCHMIDT   8465 5 MILE RD                                                                               NORTHVILLE        MI     48168‐9434
JAMES HUBER          738 DOUGHERTY PL                                                                             FLINT             MI     48504‐4646
JAMES HUBERT         1953 CRESCENT TER                                                                            LAKE VIEW         NY     14085‐9725
JAMES HUBERTS        6964 MAPLE AVE                                                                               JENISON           MI     49428‐8111
JAMES HUBERTS JR.    5677 SCHOOL AVE                                                                              HUDSONVILLE       MI     49426‐1139
JAMES HUCKABAY       PO BOX 14                                                                                    LAKEVIEW          AR     72642‐0014
JAMES HUCZEK         PO BOX 118                                                                                   HADLEY            MI     48440‐0118
JAMES HUDDLESTON     1225 ELDORADO DR                                                                             FLINT             MI     48504‐3215
JAMES HUDECEK        6405 S GRAHAM RD                                                                             SAINT CHARLES     MI     48655‐9579
JAMES HUDEPOHL       7948 BURGUNDY LN                                                                             CINCINNATI        OH     45224‐1243
JAMES HUDGINS        PO BOX 693                                                                                   GATLINBURG        TN     37738‐0693
JAMES HUDGINS        1103 GREEN MEADOWS DRIVE                                                                     GRAND BLANC       MI     48439‐8903
JAMES HUDGINS        447 BELLERS CT                                                                               YPSILANTI         MI     48198‐3045
JAMES HUDSON         18528 ROYAL HAMMOCK BLVD                                                                     NAPLES            FL     34114‐8954
JAMES HUDSON         3911 NORTHWOOD LN                                                                            ANDERSON          IN     46012‐9458
JAMES HUDSON         1753 COMMONWEALTH DR                                                                         XENIA             OH     45385‐4815
JAMES HUDSON         16036 WORDEN RD                                                                              HOLLY             MI     48442‐9740
JAMES HUDSON         3720 MCCULLOCH RD             P.O. BOX 201                                                   BEAVERTON         MI     48612‐9201
JAMES HUDSON         11866 NASHVILLE ST                                                                           DETROIT           MI     48205‐3374
JAMES HUDSON         2893 MOSS HOLLOW DR                                                                          SAN JOSE          CA     95121‐1541
JAMES HUDSON         103 VALLEY RD                                                                                WILMINGTON        DE     19804‐1310
JAMES HUDSON         36659 HAZELWOOD ST                                                                           WESTLAND          MI     48186‐4034
JAMES HUDSON         PO BOX 2163                                                                                  SAGINAW           MI     48605‐2163
JAMES HUDSON JR      16665 LAUDER ST                                                                              DETROIT           MI     48235‐4509
JAMES HUDSON JR      1894 S RIVERSIDE DR                                                                          AU GRES           MI     48703‐9796
JAMES HUDSON JR      5914 HOMEDALE ST                                                                             W CARROLLTON      OH     45449‐2922
JAMES HUDSON JR      313 W PULASKI AVE                                                                            FLINT             MI     48505‐3350
JAMES HUEBNER        9148 THE BEND RD                                                                             SHERWOOD          OH     43556‐9765
JAMES HUELBIG        321 MIDDLEWOOD RD                                                                            MIDDLETOWN        NJ     07748‐1317
JAMES HUESKEN        1499 ROSEHEDGE DR                                                                            POLAND            OH     44514‐3611
JAMES HUETER         5151 MILLIS RD                                                                               NORTH BRANCH      MI     48461‐9604
JAMES HUFF           713 GENEVA RD                                                                                DAYTON            OH     45417‐1214
JAMES HUFF           11580 BELLETERRE ST                                                                          ERIE              MI     48133‐9753
JAMES HUFF           129 TUDOR RD                                                                                 CHEEKTOWAGA       NY     14215‐2923
JAMES HUFF           251 CARLWOOD DR                                                                              MIAMISBURG        OH     45342‐3579
JAMES HUFF           10633 ANABLE LN                                                                              GLEN ALLEN        VA     23059‐8012
JAMES HUFF           BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS    OH     44236
JAMES HUFFER         108 E 2ND ST                                                                                 TILTON             IL    61833‐7403
JAMES HUFFER         6162 N 50 E                                                                                  WINDFALL          IN     46076‐9381
JAMES HUFFMAN        955 RUIE RD                                                                                  N TONAWANDA       NY     14120‐1727
JAMES HUFFMAN        1028 LAUREL VALLEY RD                                                                        TROUTDALE         VA     24378‐2404
JAMES HUFFMAN        4981 BIRCH ACRES RD                                                                          OSCODA            MI     48750‐9301
JAMES HUFFMAN        1625 FOXMERE BOULEVARD                                                                       GREENWOOD         IN     46142‐4805
JAMES HUFFORD JR     106 DEUBNER DR                                                                               UNION             OH     45322‐8721
JAMES HUFNAGEL       PO BOX 11261                                                                                 YOUNGSTOWN        OH     44511‐0261
JAMES HUGET          PO BOX 8896                                                                                  HOT SPRINGS       AR     71910‐8896
                                                                                                                  VILLAGE
JAMES HUGHES         73 SUMMERHILL DR                                                                             MANAHAWKIN       NJ      08050‐5429
JAMES HUGHES         6618 DALE RD                                                                                 NEWFANE          NY      14108‐9715
JAMES HUGHES         PO BOX 1042                                                                                  PETERSBURG       WV      26847‐1042
JAMES HUGHES         PO BOX 87                     26 CROOK ST                                                    SENOIA           GA      30276‐0087
JAMES HUGHES         113 BEECHWOOD DR                                                                             YOUNGSTOWN       OH      44512‐1615
JAMES HUGHES         PO BOX 135                                                                                   HADLEY           MI      48440‐0135
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JAMES HUGHES          2609 CHERRYWOOD AVE                                                                            NEW CASTLE         IN     47362‐1849
JAMES HUGHES          690 N WILLIAMS RD APT 27                                                                       SAN BENITO         TX     78586
JAMES HUGHES          10101 S COUNTY ROAD 200 E                                                                      MUNCIE             IN     47302‐8727
JAMES HUGHES          1618 PINGREE AVE                                                                               FLINT              MI     48503‐4201
JAMES HUGHES          1732 WINCHESTER AVE                                                                            LINCOLN PARK       MI     48146‐3847
JAMES HUGHES          11318 BLACKBARK DR                                                                             RIVERVIEW          FL     33579‐7016
JAMES HUGHES          7179 MCDONALD RD                                                                               OLIVET             MI     49076‐9673
JAMES HUGHEY          C/O COONEY & CONWAY             120 N LA SALLE 30TH FL                                         CHICAGO             IL    60602
JAMES HUHN            BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
JAMES HUHN            5758 HUBBARDSTON RD                                                                            HUBBARDSTON        MI     48845‐9703
JAMES HUISKENS        2515 MASON ST                                                                                  BAY CITY           MI     48708‐9184
JAMES HUITT           1150 WINDSONG TRL                                                                              FAIRBORN           OH     45324‐9487
JAMES HUIZENGA        11714 HIDDEN FOREST LOOP                                                                       PARRISH            FL     34219‐1214
JAMES HULL            1225 S MONROE ST                                                                               MUNCIE             IN     47302‐3444
JAMES HULL            401D MAGNOLIA AVE                                                                              ROSCOMMON          MI     48653‐8744
JAMES HULL            4015 PINEHURST DR                                                                              WEST BLOOMFIELD    MI     48322‐2257

JAMES HULLETT         116 TOLER DR                                                                                   MESQUITE          TX      75149‐5867
JAMES HULSEBUS        3790 CHEYENNE DR SW                                                                            GRANDVILLE        MI      49418‐1828
JAMES HULTMAN         5885 LOCHLEVEN DR                                                                              WATERFORD         MI      48327‐1845
JAMES HUME            3153 SCRANTON RD                                                                               CLEVELAND         OH      44109‐1653
JAMES HUMERICKHOUSE   1911 SILVER ST                                                                                 ANDERSON          IN      46012‐2461
JAMES HUMES           PO BOX 1506                                                                                    LITTLE ELM        TX      75068‐1506
JAMES HUMMEL          3229 WILLOW GROVE HWY                                                                          ALLONS            TN      38541‐3011
JAMES HUMPHREY        2204 MARIPOSA AVE                                                                              PORT ORANGE       FL      32129‐9190
JAMES HUMPHREY        15636 WASHOAN RD                                                                               APPLE VALLEY      CA      92307‐3253
JAMES HUMPHREY JR     168 N HOLCOMB RD                                                                               CLARKSTON         MI      48346‐1308
JAMES HUMPHREYS       13563 N SAGINAW RD                                                                             CLIO              MI      48420‐8801
JAMES HUMPHREYS       14153 IROQUOIS WOODS DR                                                                        FENTON            MI      48430‐1639
JAMES HUMPHRIES       950 EAGLE LANDING, #111                                                                        STOCKBRIDGE       GA      30281
JAMES HUNAWILL        9531 LEWIS RD                                                                                  VANDERBILT        MI      49795‐9720
JAMES HUNDLEY         2250 SANTA FE AVE                                                                              TORRANCE          CA      90501‐4314
JAMES HUNDLEY         82 CADILLAC ST                                                                                 PONTIAC           MI      48342‐1222
JAMES HUNDLEY         6514 SALINE DR                                                                                 WATERFORD         MI      48329‐1249
JAMES HUNDT           2511 E FENWAY DR                                                                               OAK CREEK         WI      53154‐8516
JAMES HUNKINS         942 WHEELER RD                                                                                 BAY CITY          MI      48706‐9481
JAMES HUNSINGER       445 SCENIC HWY                                                                                 LAWRENCEVILLE     GA      30045‐5676
JAMES HUNSPERGER      318 PARKER AVE                                                                                 OSAWATOMIE        KS      66064‐1335
JAMES HUNT            7164 LUANA AVE                                                                                 ALLEN PARK        MI      48101‐2409
JAMES HUNT            110 PROSPECT ST                                                                                WELLINGTON        OH      44090‐1228
JAMES HUNT            1593 HOURAN ST                                                                                 FLINT             MI      48532‐5037
JAMES HUNT            25 CHRISTINA WOODS CT                                                                          NEWARK            DE      19702‐2724
JAMES HUNT            7389 RENIE RD                                                                                  BELLVILLE         OH      44813‐8914
JAMES HUNT            930 E 147TH ST                                                                                 CLEVELAND         OH      44110‐3706
JAMES HUNT I I I      335 MANSFIELD DR                                                                               LAPEER            MI      48446‐7772
JAMES HUNTER          316 AVENUE A                                                                                   ROCHESTER         NY      14621‐4450
JAMES HUNTER          14243 CLOVERLAWN ST                                                                            DETROIT           MI      48238‐2432
JAMES HUNTER          1081 BLUE SPRINGS CT                                                                           BUCKHEAD          GA      30625‐2034
JAMES HUNTER          300 S DIAMOND MILL RD                                                                          NEW LEBANON       OH      45345‐9145
JAMES HUNTER          613 MUNDELL CHURCH RD                                                                          HELTONVILLE       IN      47436‐8746
JAMES HUNTER          8727 S COUNTY ROAD 350 W                                                                       STILESVILLE       IN      46180‐9711
JAMES HUNTER          RIVIERA PARK #451               2038 PALM ST                                                   LAS VEGAS         NV      89104
JAMES HUNTER          316 ELM VIEW DR                                                                                CLINTON           TN      37716‐5946
JAMES HUNTER          8208 KENTUCKY ST                                                                               DETROIT           MI      48204‐3106
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Name                     Address1                        Address2          Address3         Address4               City                State   Zip
JAMES HUNTER             31040 STATE HWY W                                                                         WARRENTON            MO     63383‐4670
JAMES HUNTER             237 N PROSPECT RD                                                                         YPSILANTI            MI     48198‐2960
JAMES HUNTER             27325 ARLINGTON DR                                                                        SOUTHFIELD           MI     48076‐3177
JAMES HUNTER             5778 CHURCH RD                                                                            CASCO                MI     48064‐4204
JAMES HUNTER             503 BRADFORD CIRCLE                                                                       KOKOMO               IN     46902‐8421
JAMES HUNTER             C/O WEITZ AND LUXENBERG PC      700 BROADWAY                                              NEW YORK CITY        NY     10003
JAMES HUNTER JR          6395 TUTTLE HILL RD                                                                       YPSILANTI            MI     48197‐9723
JAMES HUNTER JR          7 KELLY CT                                                                                LONGVIEW             TX     75605‐6154
JAMES HUNTINGTON         10200 N BROOKLYN AVE                                                                      KANSAS CITY          MO     64155‐3238
JAMES HUNTLEY            699 GROVER AVE                                                                            MASURY               OH     44438‐9720
JAMES HUNTLEY            2339 LYNN PARK DR                                                                         TOLEDO               OH     43615‐2933
JAMES HUNTSMAN           117 HUDGINS LN                                                                            SUMMERTOWN           TN     38483‐7347
JAMES HURD               441 E MAIN ST                                                                             MAHAFFEY             PA     15757‐6512
JAMES HURD               25270 JAEG RD                                                                             JUNCTION CITY        OR     97448‐9331
JAMES HURD JR            15245 STATE ROUTE 725                                                                     GERMANTOWN           OH     45327‐9561
JAMES HURLEY             12023 EASTERN AVE                                                                         BALTIMORE            MD     21220‐1301
JAMES HURLEY             2510 PRIMROSE RD                                                                          ELMIRA               MI     49730‐9052
JAMES HURLEY             58 W S SAGINAW RD                                                                         BAY CITY             MI     48706
JAMES HURLEY             16405 NE 188TH ST                                                                         HOLT                 MO     64048‐8945
JAMES HURREN             8555 MARSHALL RD                                                                          BIRCH RUN            MI     48415‐8586
JAMES HURRLE             7332 LOCKWOOD LN APT D                                                                    INDIANAPOLIS         IN     46217‐5308
JAMES HURRY              4210 E BEAVERTON RD                                                                       CLARE                MI     48617‐9737
JAMES HURSEY             1429 WEYMOUTH CT                                                                          LANSING              MI     48911‐4819
JAMES HURST              12155 OAKWOOD SHORES ST                                                                   WAYLAND              MI     49348‐9058
JAMES HURT               4559 SUMMIT BRIDGE RD                                                                     MIDDLETOWN           DE     19709‐9590
JAMES HURT               5135 DEVON DR                                                                             INDIANAPOLIS         IN     46226‐3240
JAMES HUSAREK            1043 99TH ST                                                                              NIAGARA FALLS        NY     14304‐2840
JAMES HUSLIG             7901 OUTLOOK LANE                                                                         PRAIRIE VILLAGE      KS     66208
JAMES HUSS               10915 E GOODALL RD 105                                                                    DURAND               MI     48429
JAMES HUSTON             505 W FRANKLIN AVE                                                                        REED CITY            MI     49677‐1020
JAMES HUSTON             13873 120TH AVE                                                                           GRAND HAVEN          MI     49417‐8767
JAMES HUTCHENS           59 SAINT KITTS CIRCLE                                                                     WINTER HAVEN         FL     33884‐3505
JAMES HUTCHENS           1306 NICHOLSON SCHOOLHOUSE RD                                                             COLUMBIA             TN     38401‐6773
JAMES HUTCHERSON         900 E 8TH ST                                                                              MUNCIE               IN     47302‐3521
JAMES HUTCHESON          5997 S COUNTY ROAD 750 W                                                                  REELSVILLE           IN     46171‐8936
JAMES HUTCHINS           PO BOX 21                                                                                 WINGO                KY     42088‐0021
JAMES HUTCHINS           1160 OLD ROCK ISLAND RD                                                                   ROCK ISLAND          TN     38581‐3615
JAMES HUTCHINS II        2097 W RIDGE DR                                                                           DAVISON              MI     48423‐2128
JAMES HUTCHINSON         HC 1 BOX 189                                                                              BOIS BLANC ISLAND    MI     49775‐9809

JAMES HUTCHINSON         451 18TH ST                                                                               NIAGARA FALLS       NY      14303‐1613
JAMES HUTCHINSON         15104 BEELER AVE                                                                          HUDSON              FL      34567‐3839
JAMES HUTCHINSON         23 ELIOT CT                                                                               O FALLON            MO      63366‐7431
JAMES HUTCHINSON I I I   4070 FOREST GLEN CT                                                                       WATERFORD           MI      48329‐2309
JAMES HUTCHISON          2561 W CAMINO DEL DESEO                                                                   TUCSON              AZ      85742‐9212
JAMES HUTCHISON          7024 REID RD                                                                              SWARTZ CREEK        MI      48473‐9422
JAMES HUTCHISON          712 ALLENVIEW DR                                                                          MECHANICSBURG       PA      17055
JAMES HUTCHISON II       6632 HEATHER DR                                                                           LOCKPORT            NY      14094‐1112
JAMES HUTSON             9309 NW 59TH TER                                                                          PARKVILLE           MO      64152‐3535
JAMES HUTTON             6270 E BRISTOL RD                                                                         BURTON              MI      48519‐1741
JAMES HUTTON             124 SLIPPERY ELM DR                                                                       STEPHENS CITY       VA      22655‐3400
JAMES HUYSER             7267 PINE AIRE CT SW                                                                      JENISON             MI      49428‐7748
JAMES HY                 307 LOTUS POINT RD                                                                        IRVING              NY      14081‐9699
JAMES HYATT              12485 HAWKINS RD                                                                          BURT                MI      48417‐9750
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JAMES HYATT              G‐4237 W. COURT ST. APT 59                                                                     FLINT               MI     48532
JAMES HYDE               675 SYLVAN DR                                                                                  SAVANNAH            TN     38372‐8609
JAMES HYDE JR            809 W BROAD ST                                                                                 LINDEN              MI     48451‐8668
JAMES HYDEN              205 BLUEGRASS LN                                                                               MONROE              OH     45050‐2458
JAMES HYER               6551 AVON BELDEN RD                                                                            NORTH RIDGEVILLE    OH     44039‐2907

JAMES HYLAND             330 S GRANT ST                                                                                 PORTLAND           MI      48875‐1568
JAMES HYLAND             108 HOOVER LN                                                                                  SATSUMA            FL      32189‐2850
JAMES HYLTON             PO BOX 384                                                                                     BYRON              MI      48418‐0384
JAMES HYLTON             BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH      44236
JAMES HYMAN              467 PONTA HILLS RD                                                                             MERIDIAN           MS      39305‐9640
JAMES HYMER              5930 MINDY DR                                                                                  HAMILTON           OH      45011‐2210
JAMES HYNSON             738 HAZLETTVILLE RD                                                                            HARTLY             DE      19953‐2346
JAMES HYTEN              293 FERNBARRY DR                                                                               WATERFORD          MI      48328‐2505
JAMES HYTINEN            3051 HERITAGE DR                                                                               TROY               MI      48083‐5718
JAMES I BALLARD          4706 WOODBINE AVE                                                                              BEAVERCREEK        OH      45432
JAMES I BLAINE           2196 ORCHARD CREST ST                                                                          SHELBY TWP         MI      48317‐4536
JAMES I CANTRELL         146 T BERRY LANE N W                                                                           RINER              VA      24149
JAMES I CLARK            PO BOX 2075                                                                                    ANDERSON           IN      46018‐2075
JAMES I CLEVENHAGEN      PO BOX 6                                                                                       HOPE               MI      48628‐0006
JAMES I GEBHART          305 ARLINGTON RD                                                                               BROOKVILLE         OH      45309‐1322
JAMES I HARTSFIELD       8140 DEXTER AVE                                                                                DETROIT            MI      48206‐2310
JAMES I I I, WILLIAM I   4979 TWO OAKS DR                                                                               MARIANNA           FL      32448‐7113
JAMES I MCBRIDE          C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY, STE 600                                     HOUSTON            TX      77007
                         BOUNDAS, LLP
JAMES I MELTON           13504 SO CO RD 600W                                                                            WESTPORT           IN      47283‐9706
JAMES I POWELL JR        6365 WEBB DR                                                                                   FLINT              MI      48506‐1744
JAMES I SHORT JR         1353 DAVIS ST                                                                                  YPSILANTI          MI      48198‐5960
JAMES ICENHOUR           11031 ROSS ST                                                                                  LEESBURG           FL      34788‐8810
JAMES ICENOGLE           240 N ODELL ST                                                                                 BROWNSBURG         IN      46112‐2121
JAMES IDONI              PO BOX 878                                                                                     FENTON             MI      48430‐0878
JAMES IDZIOR             356 W LINWOOD RD                                                                               LINWOOD            MI      48634‐9525
JAMES IIAMS              524 STATE ROUTE 314 N                                                                          MANSFIELD          OH      44903‐9366
JAMES ILCISKO            BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH      44236
JAMES ILER               8053 S LUCE RD                                                                                 PERRINTON          MI      48871‐9725
JAMES IMMELL             163 CROSS TIMBERS ST                                                                           OXFORD             MI      48371‐4703
JAMES INBODY             468 HOUSEL CRAFT RD                                                                            BRISTOLVILLE       OH      44402‐9722
JAMES INGERSOLL          3120 LAKE OF PINES DRIVE                                                                       LAKE               MI      48632
JAMES INGLE              1401 MEADOWBROOK DR                                                                            KOKOMO             IN      46902‐5625
JAMES INGRAM             PO BOX 301                                                                                     WASHINGTON         OK      73093‐0301
JAMES INGRAM             2239 HOLLIS DR                                                                                 SAINT LOUIS        MO      63136‐5424
JAMES INGRAM             93 AUBURN AVE                                                                                  SHELBY             OH      44875‐1123
JAMES INGRAM             913 SCENIC LOOP                                                                                MARSHALL           TX      75672‐7341
JAMES INGRAM             504 N SAGINAW ST                                                                               PONTIAC            MI      48342‐1463
JAMES INGRAM JR          2 LAWSON AVE                                                                                   NEW LEBANON        OH      45345‐1416
JAMES INMAN              504 SEYMOUR LAKE RD                                                                            ELLIS GROVE        IL      62241‐1530
JAMES INSKEEP            1420 ALLANWOOD LN                                                                              DAYTON             OH      45432‐3220
JAMES IRBY               8369 CAMPGROUND CIR                                                                            ROGERS             AR      72756‐8095
JAMES IRCINK             634 E MAIN ST                                                                                  WATERFORD          WI      53185‐4431
JAMES IRMIS              2416 CLINTON AVE                                                                               BERWYN             IL      60402‐2209
JAMES IRVIN              17295 HANNAN RD                                                                                NEW BOSTON         MI      48164‐9362
JAMES IRVIN              1211 W FRANCISCAN CT                                                                           CANTON             MI      48187‐3250
JAMES IRVINE             622 PIN OAK LN                                                                                 FLINT              MI      48506‐5224
JAMES IRWIN              535 TOPEKA DR                                                                                  WICKENBURG         AZ      85390‐3340
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Name                                Address1                          Address2                  Address3     Address4               City              State   Zip
JAMES IRWIN                         3200 OXFORD ST                                                                                  KOKOMO             IN     46902‐1500
JAMES IRWIN                         3954 MAYVILLE RD                                                                                SILVERWOOD         MI     48760‐9778
JAMES IRWIN                         3617 BRUNSWICK AVE                                                                              FLINT              MI     48507‐1744
JAMES IRWIN                         3220 HATHERLY AVE                                                                               FLINT              MI     48504‐4315
JAMES IRWIN                         35458 MINTON ST                                                                                 LIVONIA            MI     48150‐2564
JAMES IRWIN                         3248 FRANCES LN                                                                                 KOKOMO             IN     46902‐9706
JAMES IRWIN                         15651 HAVEN DR                                                                                  MACOMB             MI     48042‐6156
JAMES IRWIN                         8514 HICKORY HILL DR                                                                            POLAND             OH     44514‐3288
JAMES ISAACS                        1658 PREBLE COUNTY LINE RD N                                                                    WEST ALEXANDRIA    OH     45381‐9601

JAMES ISAACSON                      4300 QUEBEC ST                                                                                  AUBURN HILLS      MI      48326‐4573
JAMES ISCHKUM                       14213 EUREKA RD                                                                                 COLUMBIANA        OH      44408‐9784
JAMES ISHERWOOD                     30219 BOCK ST                                                                                   GARDEN CITY       MI      48135‐2306
JAMES ISHMAN SR                     202 OAKWOOD PL                                                                                  SPRINGFIELD       OH      45506‐2143
JAMES ISOM                          2050 STANFORD AVE                                                                               FLINT             MI      48503‐4011
JAMES ISOM JR                       9194 CHEYENNE ST                                                                                DETROIT           MI      48228‐2607
JAMES ISON                          8199 SPRINGDALE DR                                                                              WHITE LAKE        MI      48386‐4544
JAMES ISON                          1700 KNOWLES ST                                                                                 YPSILANTI         MI      48198‐6681
JAMES ITELL                         820 MUNSTER RD                                                                                  PORTAGE           PA      15946‐6100
JAMES IVESTER                       204 MOYE ST                                                                                     BARNESVILLE       GA      30204‐1629
JAMES IVESTER                       412 WALNUT                                                                                      WINNETKA          IL      60093
JAMES IVEY                          1010 ARROW AVE                                                                                  ANDERSON          IN      46016‐2733
JAMES IVEY                          2787 TRYON PL NE                                                                                ATLANTA           GA      30319‐2962
JAMES IVEY                          2848 GRUBER RD                                                                                  MONROE            MI      48162‐9453
JAMES IVORY                         2464 HANCOCK AVE                                                                                DAYTON            OH      45406‐1729
JAMES IWANSKI                       1609 DEVONSHIRE DR                                                                              TROY              MI      48098‐4378
JAMES J & CAROL A REDMOND TTEES     18 MISSION HILLS LN                                                                             HOLIDAY ISLAND    AR      72631
JAMES J AIELLO TRUST DT 9/20/1996   JAMES J AIELLO TRUSTEE            189 CINDY ANN DR                                              EAST GREENWICH    RI      02818‐2400
JAMES J AND MARION MURPHY KENNEDY   3923 SUTTER ST                                                                                  VIRGINIA BEACH    VA      23462

JAMES J ANDRIANOS                   711 MATTY AVE                                                                                   SYRACUSE          NY      13211‐1309
JAMES J BERG                        1409 S HAMILTON ST                                                                              SAGINAW           MI      48602‐1313
JAMES J BLATHERS                    2020 SIDNEYWOOD RD., APT. C                                                                     WEST CARROLLTON   OH      45449

JAMES J BLONSKI                     725 PLAINFIELD                                                                                  SAGINAW           MI      48609
JAMES J BOESCH                      8606 LAKESHORE RD                                                                               BURTCHVILLE       MI      48059‐1113
JAMES J BOLAY                       859 EUGENE ST                                                                                   YPSILANTI         MI      48198‐6168
JAMES J BRANTLEY                    108 CHERRY DR                                                                                   BRANDON           MS      39042‐4032
JAMES J BURD                        12009 MAPLE RD                                                                                  MILAN             MI      48160‐9516
JAMES J CAHILL                      419 GRAFTON AVENUE                                                                              DAYTON            OH      45406‐5202
JAMES J CALKINS
JAMES J CANTWELL                    1560 BROOK LANE                                                                                 JAMISON           PA      18929
JAMES J CAPASSO III                 11 ROSEDALE CIRCLE                                                                              SHELTON           CT      06484‐2534
JAMES J CAPASSO III AND             FRANCES A CAPPASSO                11 ROSEDALE CIRCLE                                            SHELTON           CT      06484‐2534
JAMES J CARL                        4809 TODD RD                                                                                    FRANKLIN          OH      45005‐5033
JAMES J CARROLL                     ATTN MICHAEL C SHEPARD            THE SHEPARD LAW FIRM PC   10 HIGH ST                          BOSTON            MA      02110
JAMES J CARROLL                     401 GINGHAM                                                                                     PORTAGE           MI      49002‐7035
JAMES J CARTER                      204 MARIEMONT AVE                                                                               BUFFALO           NY      14220‐2255
JAMES J CIESZYNSKI                  298 SOUTH PARK AVENUE                                                                           FONDULAC          WI      54935
JAMES J CLEMENS                     993 MOUNTAINSIDE DR                                                                             LAKE ORION        MI      48362‐3475
JAMES J COX                         1019 ALKALINE SPRINGS                                                                           VANDALIA          OH      45377‐1101
JAMES J DEPETRES                    41 ROGERS DR.                                                                                   ROCHESTER         NY      14606
JAMES J DEROSA                      1200 APT.#6 WIND WILLOW WAY                                                                     ROCHESTER         NY      14624
JAMES J DIGH JR                     613 LYNCH ROAD                                                                                  LINCOLNTON        NC      28092
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Name                                Address1                         Address2                    Address3            Address4               City            State   Zip
JAMES J DONAHUE                     2245 LAKE RD                                                                                            HAMLIN           NY     14464
JAMES J DOUGLASS                    326 S WALNUT ST                                                                                         DAYTON           OH     45449‐1761
JAMES J ENGLE                       6222 COUNTRY WAY SOUTH                                                                                  SAGINAW          MI     48603‐1096
JAMES J ENOS                        6056 BELMONT CT                                                                                         GRAND BLANC      MI     48439‐8679
JAMES J ERB                         124 TWIN OAK DR                                                                                         LEVITTOWN        PA     19056‐1560
JAMES J ESTERLINE                   2553 CRAWFORD TOMS RUN RD                                                                               BROOKVILLE       OH     45309‐8775
JAMES J FILIPIAK                    7413 S SHERIDAN AVE                                                                                     DURAND           MI     48429‐9301
JAMES J FITZGERALD JR               PO BOX 238                                                                                              IRVINE           KY     40336‐0238
JAMES J FLEES                       13091 BLACKWOOD DR                                                                                      DEWITT           MI     48820‐8111
JAMES J FLEMING                     588 HAYES ST                                                                                            YPSILANTI        MI     48198‐6130
JAMES J FLICKINGER                  BARON & BUDD P C                 THE CENTRUM SUITE 1100      3102 OAK LAWN AVE                          DALLAS           TX     75219‐4281
JAMES J FRIEL                       5653 LEISING ROAD                                                                                       DAYTON           OH     45432‐3809
JAMES J GALVIN                      2542 SADDLE RIDGE DR                                                                                    FLORISSANT       MO     63031‐2014
JAMES J GARRETT JR                  4952 ARROWVIEW                                                                                          DAYTON           OH     45424‐2557
JAMES J GLOVER                      570 LAVERNE ST                                                                                          YPSILANTI        MI     48198‐6162
JAMES J GONTKOVSKY                  18 EAGLE POINTE DR.                                                                                     CORTLAND         OH     44410‐1921
JAMES J HALL                        2917 OLD SELLARS RD                                                                                     MORAINE          OH     45439‐1462
JAMES J HOLLEY                      6010 CULPEPPER CT.                                                                                      DAYTON           OH     45459‐2137
JAMES J HUITT                       1150 WINDSONG TR.                                                                                       FAIRBORN         OH     45324‐‐ 94
JAMES J HUNTER AND SUSAN S HUNTER   8401 SW BENT OAK CT                                                                                     STUART           FL     34997‐7084

JAMES J JACKSON                     103 PARKSIDE COURT                                                                                      SAGINAW         MI      48601‐4732
JAMES J JANCZEWSKI                  6080 STROEBEL RD                                                                                        SAGINAW         MI      48609‐5206
JAMES J JOHNSON                     1324 OAKDALE AVE                                                                                        DAYTON          OH      45420
JAMES J JONES JR                    236 SPRUCE AVENUE                                                                                       ROCHESTER       NY      14611
JAMES J JULIANO                     111 ENGLISH ROAD                                                                                        ROCHESTER       NY      14616
JAMES J KEADY JR                    170 ELVIRA ST                                                                                           ROCHESTER       NY      14606‐5310
JAMES J KELEMAN                     303 N MECCA ST                   APT 108                                                                CORTLAND        OH      44410‐1082
JAMES J KERMIS                      8030 WEST RIDGE ROAD                                                                                    BROCKPORT       NY      14420‐1731
JAMES J KOHLER                      5848 WOOLMAN CT 56                                                                                      PARMA           OH      44130‐1063
JAMES J KOPP                        1621 S W 64TH WAY                                                                                       BOCA RATON      FL      33428‐6755
JAMES J KUCZKA                      PO BOX 432                                                                                              SYRACUSE        NY      13211‐0432
JAMES J LASKOWSKI                   58 FULLER ST                                                                                            BUFFALO         NY      14207
JAMES J LEE                         999 WARNER RD. S.E.                                                                                     BROOKFIELD      OH      44403‐9742
JAMES J LEIGH                       5113 RETFORD DR.                                                                                        DAYTON          OH      45418
JAMES J LOBRUTTO                    19 TIMBER RIDGE DRIVE                                                                                   SPENCERPORT     NY      14559‐2247
JAMES J LUSAIN                      C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                              HOUSTON         TX      77007
                                    BOUNDAS LLP
JAMES J MADACSI                     163 S KIMBERLY AVE                                                                                      AUSTINTOWN      OH      44515‐2414
JAMES J MANNO                       16048 CARR RD                                                                                           KENDALL         NY      14476‐9729
JAMES J MARTONE                     151 SASAPEQUAN RD                                                                                       FAIRFIELD       CT      06824
JAMES J MATTEY                      76 ISUHDAVGA CT                                                                                         BREVARD         NC      28712‐9221
JAMES J MC DONOUGH III              20 UMBER RD                                                                                             LEVITTOWN       PA      19056‐2606
JAMES J MC GUIRE                    6201 ADDINGTON DR                                                                                       COMMERCE TWP    MI      48390‐4009
JAMES J MCBRIDE JR                  70 MIMOSA DRIVE                                                                                         RIO GRANDE      NJ      08242
JAMES J MCCARTHY TRUST              DONALD J MCCARTHY                808 WEST 11TH STREET                                                   AUSTIN          TX      78701
JAMES J MCCULLOUGH                  WEITZ & LUXENBERG PC             700 BROADWAY                                                           NEW YORK CITY   NY      10003
JAMES J MCINTYRE                    6308 N LE MAI AVE                                                                                       CHICAGO         IL      60640
JAMES J MCINTYRE                    296 PENNELS DR                                                                                          ROCHESTER       NY      14626
JAMES J MCNICHOLAS                  424 REED CT.                                                                                            GIRARD          OH      44420‐2249
JAMES J MEAD                        11 ASHLEY HALL DRIVE                                                                                    BLUFFTON        SC      29910
JAMES J MONROE                      1421 5TH ST APT 4                                                                                       BAY CITY        MI      48708‐6187
JAMES J MORWAY                      1105 MARION DR                                                                                          HOLLY           MI      48442‐1041
JAMES J MUEHL                       207 WRIGHT AVE                                                                                          MATTYDALE       NY      13211‐1637
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Name                       Address1                         Address2                       Address3             Address4                 City             State   Zip
JAMES J MURPHY             4931 MARSHALL RD                                                                                              KETTERING         OH     45429‐5724
JAMES J MYTYCH             611 KENT LN                                                                                                   WHITE LAKE        MI     48386‐3391
JAMES J NAIL               573 COVERT RD                                                                                                 NEW CASTLE        PA     16102‐3017
JAMES J O'CONNELL          19 CAMBRIDGE COURT                                                                                            TOMS RIVER        NJ     08753‐2206
JAMES J ORR                6715 MISTY DALE DRIVE                                                                                         KATY              TX     77449‐8438
JAMES J PARGOFF            40325 PLYMOUTH RD APT 204                                                                                     PLYMOUTH          MI     48170‐4220
JAMES J PAYAK              740 THOMAS BLUFF RD NE                                                                                        ROME              GA     30161
JAMES J PERRY              5902 BADAL DRIVE                                                                                              LOWELLVILLE       OH     44436‐1180
JAMES J PERRY              5902 BADAL DR                                                                                                 LOWELLVILLE       OH     44436‐1180
JAMES J PHILLIPS           7060 WHITE OAK DRIVE                                                                                          HUBBARD           OH     44425
JAMES J PHILLIPS           ACCT OF BERLETA BRANNON          302 DAVIDSON BLDG PO BOX 859                                                 BAY CITY          MI     48707
JAMES J POLLOCK            223 MASTERSON CT                                                                                              EWING             NJ     08618‐1438
JAMES J RIES               4268 APPLE ORCH                                                                                               ROOTSTOWN         OH     44272
JAMES J SHORT              PO BOX 19117                                                                                                  SAINT LOUIS       MO     63118‐9117
JAMES J SMIGIEL            7563 CHURCH ST                                                                                                SWARTZ CREEK      MI     48473‐1401
JAMES J SMRECAK            285 E MUNGER RD                                                                                               MUNGER            MI     48747‐9701
JAMES J SNOW               ATTN MICHAEL C SHEPARD           THE SHEPARD LAW FIRM PC        10 HIGH ST                                    BOSTON            MA     02110
JAMES J SOFRANEC           10590 CARROUSEL WOODS DR                                                                                      NEW MIDDLETOWN    OH     44442‐7735

JAMES J SPUHLER            N14 W24200 TOWER PLACE STE 202   MS 5116 WKW                                                                  WAUKESHA         WI      53188
JAMES J STAUB              56 ALDERBUSH LANE                                                                                             HAMLIN           NY      14464‐9326
JAMES J STEVENS            1182 MARIE DR                                                                                                 GIRARD           OH      44420‐2103
JAMES J STEVENS            PO BOX 253                                                                                                    STORMVILLE       NY      12582‐0253
JAMES J STILES             11311 PRYOR RD                                                                                                PORTLAND         MI      48875‐9415
JAMES J SULLIVAN           4316 PUEBLO TRAIL                                                                                             JAMESTOWN        OH      45335
JAMES J SURACI             348 WESTVIEW AVE                                                                                              HUBBARD          OH      44425‐1965
JAMES J TABOR JR           820 SMOKY CROSSING WAY                                                                                        SEYMOUR          TN      37865‐5098
JAMES J THOMAS             5045 S 23RD                                                                                                   BOON             MI      49618‐9758
JAMES J THOMSON            1484 SEDGEFIELD DR.                                                                                           MURRELLS INLET   SC      29576‐8653
JAMES J TWOMEY             LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET       22ND FLOOR                                    BALTIMORE        MD      21201
JAMES J VALENTINE          239 BALDWIN RD                                                                                                CARNEGIE         PA      15106
JAMES J VINNAY,JR.         4125 POMEROY AVE                                                                                              WATERFORD        MI      48329‐2051
JAMES J WALKER             4583 CORDELL DR                                                                                               DAYTON           OH      45439‐3062
JAMES J WARD               2016 CHATEAU LN                                                                                               SIERRA VISTA     AZ      85635
JAMES J WARGACKI           4875 WEAVER RD                                                                                                BERLIN CENTER    OH      44401
JAMES J WARMUTH            13215 PURITAS AVE                                                                                             CLEVELAND        OH      44135‐2927
JAMES J WHITE              66 BUCK HILL DR                                                                                               HOLLAND          PA      18966‐2803
JAMES J WICKERSHAM         2826 PICKERTOWN RD                                                                                            WARRINGTON       PA      18976‐1621
JAMES J WILD               19302 LYNDALEIGH LANE                                                                                         SPRING           TX      77388
JAMES J WOLFE              ROBERT W PHILLIPS                SIMMONS BROWDER GIANARIS       707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON       IL      62024
                                                            ANGELIDES & BARNERD LLC
JAMES J. BEYER             4798 E. 350 S.                                                                                                WALDRON           IN     46182‐9744
JAMES J. HERENDEEN TRUST   WILLIAM S ANTHONY AND            PAUL R. HERENDEEN TRUSTEES     22 MICKLER BLVD                               ST AUGUSTINE      FL     32080
JAMES J. JOHNSON
JAMES J. KOHLER            27925 ALVAREZ DRIVE                                                                                           RANCHOS PALOS     CA     90275
                                                                                                                                         VERDES
JAMES J. L. STEGMAIER      COUNTY ADMINISTRATOR             PO BOX 40                                                                    CHESTERFIELD      VA     23832‐0040
JAMES JABARA               28713 BOSTON ST                                                                                               ST CLAIR SHRS     MI     48081‐1095
JAMES JABCZENSKI           1088 ARBROAK WAY                                                                                              LAKE ORION        MI     48362‐2500
JAMES JABLONSKI            1822 N HURON RD                                                                                               TAWAS CITY        MI     48763‐9435
JAMES JABLONSKI            PO BOX 538                                                                                                    LAINGSBURG        MI     48848‐0538
JAMES JABURY               210 LOCHCARREN CT                                                                                             KALAMAZOO         MI     49006‐4358
JAMES JACK (496927)        PAUL REICH & MYERS P.C.          1608 WALNUT ST STE 500                                                       PHILADELPHIA      PA     19103‐5446
JAMES JACKETT              9612 KELLER RD                                                                                                CLARENCE CTR      NY     14032‐9742
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Name             Address1                        Address2            Address3         Address4               City              State   Zip
JAMES JACKS      7769 AMBASSADOR DR                                                                          SHELBY TOWNSHIP    MI     48316‐5366
JAMES JACKS JR   104 RITA CV                                                                                 COLUMBIA           TN     38401‐5579
JAMES JACKSON    3570 NEEDHAM RD                                                                             LEXINGTON          OH     44904‐9213
JAMES JACKSON    102 ALENA                                                                                   MONETTE            AR     72447‐8802
JAMES JACKSON    4108 PINEHURST LN                                                                           GRAND BLANC        MI     48439‐2608
JAMES JACKSON    62143 N 12TH ST                                                                             SLIDELL            LA     70460‐4501
JAMES JACKSON    103 PARKSIDE COURT                                                                          SAGINAW            MI     48601‐4732
JAMES JACKSON    11408 E PEERY ST                                                                            INDEPENDENCE       MO     64054‐1731
JAMES JACKSON    6302 BROWNS MILL RD                                                                         LITHONIA           GA     30038‐4209
JAMES JACKSON    23530 EDINBURGH ST                                                                          SOUTHFIELD         MI     48033‐4815
JAMES JACKSON    908 COUNTY ROAD 322                                                                         MOULTON            AL     35650‐7252
JAMES JACKSON    3364 S PERRY ST                                                                             MONTGOMERY         AL     36105‐1726
JAMES JACKSON    1013 BARRINGTON DR                                                                          FLINT              MI     48503‐2915
JAMES JACKSON    PO BOX 72                                                                                   HERSEY             MI     49639‐0072
JAMES JACKSON    5066 W DODGE RD                                                                             CLIO               MI     48420‐8503
JAMES JACKSON    25144 LEROY ST                                                                              TAYLOR             MI     48180‐6401
JAMES JACKSON    8880 BELL RD                                                                                BIRCH RUN          MI     48415‐9054
JAMES JACKSON    100 S JEFFERSON AVE STE 102                                                                 SAGINAW            MI     48607‐1274
JAMES JACKSON    2029 AITKEN AVE                                                                             FLINT              MI     48503‐4212
JAMES JACKSON    518 PAGE ST                                                                                 FLINT              MI     48505‐4734
JAMES JACKSON    3398 CRANDON DR                                                                             DAVISON            MI     48423‐8579
JAMES JACKSON    8181 LEWIS RD                                                                               BIRCH RUN          MI     48415‐9603
JAMES JACKSON    25205 LINDENWOOD LN                                                                         SOUTHFIELD         MI     48033‐6105
JAMES JACKSON    3246 GLYNN COURT                                                                            DETROIT            MI     48206‐1622
JAMES JACKSON    3429 CRAMER RD                                                                              BAY CITY           MI     48706‐1219
JAMES JACKSON    2938 KENMORE RD                                                                             BERKLEY            MI     48072‐1618
JAMES JACKSON    4421 MEADOWLANE CT                                                                          BURTON             MI     48519‐1193
JAMES JACKSON    2525 AMBER ST                                                                               MOORE              OK     73160‐8956
JAMES JACKSON    192 FAIRWAY DR                                                                              MOORESBURG         TN     37811‐5613
JAMES JACKSON    1415 HURON BLVD                                                                             MARYSVILLE         MI     48040‐1287
JAMES JACKSON    9828 GERALDINE ST # 245                                                                     YPSILANTI          MI     48197
JAMES JACKSON    610 BRANDON ST                                                                              LONDON             OH     43140‐8939
JAMES JACKSON    370 BALDWIN AVE APT 106                                                                     PONTIAC            MI     48342‐1386
JAMES JACKSON    198 MILL ST                                                                                 BARNESVILLE        GA     30204‐1220
JAMES JACKSON    27361 SIERRA HWY SPC 194                                                                    CANYON COUNTRY     CA     91351‐7404

JAMES JACKSON    4601 ROOT STATION ROAD                                                                      JACKSON           MI      49201‐9575
JAMES JACKSON    16495 N CTR RD 775 W                                                                        GASTON            IN      47342
JAMES JACKSON    228 DIAMOND RD                                                                              HELTONVILLE       IN      47436‐8561
JAMES JACKSON    PO BOX 125                                                                                  SHIRLEY           IN      47384‐0125
JAMES JACKSON    291 PETERS AVE                                                                              LANCASTER         OH      43130‐3661
JAMES JACKSON    4879 FREE PIKE                                                                              TROTWOOD          OH      45416‐1141
JAMES JACKSON    PO BOX 961                                                                                  DAYTON            OH      45401‐0961
JAMES JACKSON    2090 RIDDLEBARGER RD                                                                        PORTSMOUTH        OH      45662‐8978
JAMES JACKSON    5016 PATRICIA ST                                                                            INDIANAPOLIS      IN      46224‐2313
JAMES JACKSON    308 N RAIBLE AVE                                                                            ANDERSON          IN      46011‐1340
JAMES JACKSON    PO BOX 3814                                                                                 PHENIX CITY       AL      36868‐3814
JAMES JACKSON    3276 BEACHAM DR                                                                             WATERFORD         MI      48329‐4506
JAMES JACKSON    5399 OLIVE RD                                                                               DAYTON            OH      45426‐1427
JAMES JACKSON    1406 VICTOR AVE                                                                             LANSING           MI      48910‐2531
JAMES JACKSON    PO BOX 50127                                                                                BOWLING GREEN     KY      42102‐2727
JAMES JACKSON    1934 FOREST VIEW CT                                                                         COMMERCE          MI      48390‐3943
                                                                                                             TOWNSHIP
JAMES JACKSON    1627 SHERWOOD CT                                                                            DEARBORN           MI     48124‐4072
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Name               Address1                       Address2                     Address3   Address4               City                State   Zip
JAMES JACKSON      5916 FAIRGROVE WAY                                                                            TROTWOOD             OH     45426‐2112
JAMES JACKSON      5269 KNOLLWOOD DR APT 5                                                                       PARMA                OH     44129‐1026
JAMES JACKSON JR   537 DORCHESTER DR                                                                             SEVEN FIELDS         PA     16046‐4705
JAMES JACKSON JR   4634 NORTHWOOD DR                                                                             BALTIMORE            MD     21239‐3941
JAMES JACKSON JR   9077 NEWCASTLE DR                                                                             SHREVEPORT           LA     71129‐5123
JAMES JACKSON SR   BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS       OH     44236
JAMES JACOB        8784 SHORT CUT RD                                                                             IRA                  MI     48023‐2011
JAMES JACOB        2832 SPARKS WAY                                                                               HAYWARD              CA     94541‐3442
JAMES JACOBI       PO BOX 182                                                                                    NEW LOTHROP          MI     48460‐0182
JAMES JACOBS       16193 PREST ST                                                                                DETROIT              MI     48235‐3845
JAMES JACOBS       14977 LAKE SHORE DR                                                                           EXCELSIOR SPRINGS    MO     64024‐6302

JAMES JACOBS       4182 DILLON RD                                                                                FLUSHING            MI      48433‐9705
JAMES JACOBS       7430 E 625 S                                                                                  WOLCOTTVILLE        IN      46795‐9478
JAMES JACOBS       THE MADEKSHO LAW FIRM          8866 GULF FREEWAY STE 440                                      HOUSTON             TX      77017
JAMES JACOBS JR    183 LINCOLN AVE                                                                               LOCKPORT            NY      14094‐5525
JAMES JACOBSON     6803 W SAINT LAWRENCE AVE                                                                     BELOIT              WI      53511‐9276
JAMES JACOBSON     6518 N STURTEVANT RD                                                                          WHITEWATER          WI      53190‐3414
JAMES JACOT        5192 ROBERTS DR                                                                               FLINT               MI      48506‐1591
JAMES JACOT        929 3RD ST                                                                                    BELOIT              WI      53511‐4433
JAMES JACQUES      8232 E COLDWATER RD                                                                           DAVISON             MI      48423‐8965
JAMES JACQUES      5717 HARLOWE DR                                                                               SHELBY TWP          MI      48316‐3240
JAMES JAGER        8735 JUSTIN CT SW                                                                             BYRON CENTER        MI      49315‐9255
JAMES JAGGERS      2176 HILLSIDE DR                                                                              BEAVERTON           MI      48612‐9433
JAMES JAHNKE       9 MANOR LN                                                                                    MIDDLEPORT          NY      14105‐1216
JAMES JAINNINEY    273 BROOKDALE AVE                                                                             MARTINSBURG         WV      25401‐3295
JAMES JAKLICH      7005 NORDALE DR                                                                               FORT WAYNE          IN      46804‐1045
JAMES JAKUBOWSKI   6019 MARSHWOOD DR                                                                             SYLVANIA            OH      43560‐1019
JAMES JALSOVSKY    1010 MARION DR                                                                                HOLLY               MI      48442‐1038
JAMES JAMES        4855 BLISS RD                                                                                 ELWELL              MI      48832‐9722
JAMES JAMES        PO BOX 357                                                                                    ROGERSVILLE         AL      35652‐0357
JAMES JAMISON      10780 S WAYNE RD                                                                              WARREN              IN      46792‐9635
JAMES JAMISON      16094 ROSSINI DR                                                                              DETROIT             MI      48205‐2061
JAMES JAMISON      6017 LILLIAN AVE                                                                              TAFT                OH      45213‐2313
JAMES JAMISON
JAMES JANCZEWSKI   6080 STROEBEL RD                                                                              SAGINAW              MI     48609‐5206
JAMES JANDASEK     10337 GREENBRIER                                                                              BRIGHTON             MI     48114‐9662
JAMES JANICK       11068 PEMBERTON DR                                                                            STERLING HEIGHTS     MI     48312‐2062
JAMES JANISKEE     1502 S WARNER ST                                                                              BAY CITY             MI     48706‐5261
JAMES JANKER       2542 FERCHEN ST                                                                               NIAGARA FALLS        NY     14304‐4608
JAMES JANKOWSKE    6287 HENDERSON RD                                                                             COLUMBIAVILLE        MI     48421‐8803
JAMES JANKOWSKI    7449 CROSSCREEK DR                                                                            TEMPERANCE           MI     48182‐9269
JAMES JANKOWSKI    1901 W MEYER LN APT 4106                                                                      OAK CREEK            WI     53154‐4341
JAMES JANKOWSKI    39129 E ARCHER DR                                                                             HARRISON             MI     48045‐1807
                                                                                                                 TOWNSHIP
JAMES JANOWIAK     521 REGENCY XING                                                                              SOUTHLAKE            TX     76092‐9501
JAMES JANSANTE     BOX 3289 RT 40                                                                                FREDERICKTOWN        PA     15333
JAMES JANSEN       950 N 2ND ST                                                                                  BREESE               IL     62230‐1742
JAMES JANSON       30159 HATHAWAY ST                                                                             LIVONIA              MI     48150‐6003
JAMES JANSON JR.   31220 PURITAN ST                                                                              LIVONIA              MI     48154‐3255
JAMES JANUSZAK     7116 TOWNLINE RD                                                                              N TONAWANDA          NY     14120‐1349
JAMES JARECKI      2900 14 MILE RD NE                                                                            SPARTA               MI     49345‐8500
JAMES JARMAN       9121 EMILY DR                                                                                 DAVISON              MI     48423‐2894
JAMES JARMAN       11310 MOSHER RD                                                                               OTISVILLE            MI     48463‐9772
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Name                 Address1                        Address2                     Address3            Address4               City             State Zip
JAMES JARMON         45 BOGGS RUN                                                                                            DOVER             DE 19904‐1487
JAMES JARRARD        1414 W TROY ST                                                                                          FERNDALE          MI 48220‐1662
JAMES JARRELL        PO BOX 304                                                                                              PURGITSVILLE      WV 26852‐0304
JAMES JARRELL        BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                              BOSTON HEIGHTS    OH 44236
JAMES JARRETT        32 HOGARTH AVE                                                                                          NILES             OH 44446‐3422
JAMES JARRETT        2136 MOUNT PLEASANT RD                                                                                  VONORE            TN 37885‐3312
JAMES JARRETT        7566 E COUNTY ROAD 150 S                                                                                AVON              IN 46123‐8193
JAMES JARRETT        515 E PIERSON RD                                                                                        FLINT             MI 48505‐3331
JAMES JARRETT        505 E FLINT ST                                                                                          LAKE ORION        MI 48362‐3209
JAMES JARRETT        9153 WOODRIDGE DR                                                                                       DAVISON           MI 48423‐8392
JAMES JARUZEL        3403 ARBELA RD                                                                                          MILLINGTON        MI 48746‐9305
JAMES JARVIS         6258 OXFORD CT                                                                                          BEDFORD HTS       OH 44146‐3109
JAMES JARVIS         4625 HICKORY CT                                                                                         ZIONSVILLE        IN 46077‐9424
JAMES JARWOOD        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS.       OH 44236
JAMES JARZEBOSKI     42279                           EAST EDWARD                                                             CLINTON TOWNSHIP MI 48038

JAMES JASKIEWICZ     1900 S JOHNSON ST                                                                                       BAY CITY          MI   48708‐9112
JAMES JASMER         22208 HOFFMAN ST                                                                                        ST CLAIR SHRS     MI   48082‐1473
JAMES JASON          5667 SW 39TH ST                                                                                         OCALA             FL   34474‐9576
JAMES JASPER         1733 ARTHUR ST                                                                                          SAGINAW           MI   48602‐1003
JAMES JASTIFER       3349 34TH ST SW                                                                                         GRANDVILLE        MI   49418‐1906
JAMES JAUDON         48281 N RIDGE RD                                                                                        AMHERST           OH   44001‐9618
JAMES JAY            8945 BELSAY RD                                                                                          MILLINGTON        MI   48746‐9542
JAMES JEAN           1750 W NORTH UNION RD                                                                                   AUBURN            MI   48611‐9533
JAMES JEANNETTE      301 LOCKERBIE ST                                                                                        MOORESVILLE       IN   46158‐1717
JAMES JEFFCO         5127 BIRCHCREST DR                                                                                      YOUNGSTOWN        OH   44515‐3922
JAMES JEFFERS        508 W PALM ST                                                                                           ROODHOUSE         IL   62082‐1244
JAMES JEFFERS        PO BOX 572                                                                                              LINDEN            MI   48451‐0572
JAMES JEFFERS        30205 WESTLAWN DR                                                                                       BAY VILLAGE       OH   44140‐1608
JAMES JEFFERSON      937 WESTOVER CIR                                                                                        LANSING           MI   48917‐4025
JAMES JEFFERSON JR   7415 MARSLAND LN                                                                                        ARLINGTON         TX   76001‐7390
JAMES JEFFERY        26698 SHINDLER RD                                                                                       DEFIANCE          OH   43512‐8872
JAMES JEFFREY        4123 LEWIS AVE                                                                                          TOLEDO            OH   43612
JAMES JEFFREY        7030 CARLSON RD                                                                                         SHERIDAN          MI   48884‐9210
JAMES JEFFREY        23 PAULETTE DR                                                                                          ELIZABETH         PA   15037
JAMES JEFFRIES       115 W SOUTH ST                                                                                          RICHMOND          MO   64085‐2141
JAMES JELLISON       827 STATE ROUTE 503 N                                                                                   WEST ALEXANDRIA   OH   45381‐9729

JAMES JEM ATHYA      BARON & BUDD PC                 THE CENTRUM SUITE 1100       3102 OAK LAWN AVE                          DALLAS            TX   75219‐4281
JAMES JEMAIL         525 WINFRED DR                                                                                          RALEIGH           NC   27603‐7209
JAMES JENDRUSIK      8765 BAYVIEW CT                                                                                         PINCKNEY          MI   48169‐8507
JAMES JENKERSON      PO BOX 671                                                                                              PARK HILLS        MO   63601‐0671
JAMES JENKINS        3642 RUNNYMEDE BLVD                                                                                     CLEVELAND         OH   44121‐1366
JAMES JENKINS        25310 LYNDON                                                                                            REDFORD           MI   48239‐3337
JAMES JENKINS        10114 WOODTRAIL                                                                                         SAN ANTONIO       TX   78250‐3369
JAMES JENKINS        411 BLUEBERRY CT                                                                                        EDGEWOOD          MD   21040‐3538
JAMES JENKINS        10127 HARDWOOD DR                                                                                       KING GEORGE       VA   22485‐6533
JAMES JENKINS        4834 HOOVER AVE                                                                                         DAYTON            OH   45427‐3161
JAMES JENKINS        1608 ROLLING LN                                                                                         HICKORY           NC   28602‐9470
JAMES JENKINS        131 MOUNT TABOR RD                                                                                      HARTSELLE         AL   35640‐4709
JAMES JENKINS        251 N WALNUT ST                                                                                         MOUNT CLEMENS     MI   48043‐5842
JAMES JENKINS        5405 MAYBEE RD                                                                                          CLARKSTON         MI   48346‐3271
JAMES JENKINS        164 S PINECREST RD                                                                                      BOLINGBROOK       IL   60440‐3058
JAMES JENKINS        12410 W 100TH ST                                                                                        LENEXA            KS   66215‐1950
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Name                    Address1                         Address2                      Address3        Address4                 City              State Zip
JAMES JENKINS           1059 MARIAN CT                                                                                          GROSSE POINTE      MI 48236‐1254
                                                                                                                                WOODS
JAMES JENKINS           9 CONSTITUTION BLVD                                                                                     NEW CASTLE        DE   19720‐4403
JAMES JENKINS           527 W 500 N                                                                                             MARION            IN   46952‐9730
JAMES JENKINS JR        20169 COUNTY ROAD 445                                                                                   LINDALE           TX   75771‐3500
JAMES JENKINSON         6010 DVORAK ST                                                                                          CLARKSTON         MI   48346‐3227
JAMES JENKINSON         8998 WILD IRIS CT                                                                                       DAVISBURG         MI   48350‐1527
JAMES JENNINGS          3 MEETING ST                                                                                            ORANGE BEACH      AL   36561‐8303
JAMES JENNINGS          4129 EASTRIDGE DR                                                                                       JANESVILLE        WI   53546‐1725
JAMES JENNINGS          1231 N CASS LAKE RD                                                                                     WATERFORD         MI   48328‐1315
JAMES JENNINGS          19219 REDFERN ST                                                                                        DETROIT           MI   48219‐1854
JAMES JENNINGS          892 E 5TH ST                                                                                            ENGLEWOOD         FL   34223‐4411
JAMES JENNINGS          3912 BRIGGS RD                                                                                          OTTER LAKE        MI   48464‐9734
JAMES JENNINGS          9080 N RAIDER RD                                                                                        MIDDLETOWN        IN   47356‐9327
JAMES JENNINGS          5055 LAPEER RD                                                                                          BURTON            MI   48509‐2017
JAMES JENSEN            1713 RUSTIC LN                                                                                          KEEGO HARBOR      MI   48320‐1131
JAMES JENSEN            104 GARFIELD ST                                                                                         EDGERTON          WI   53534‐1716
JAMES JENSEN            1103 BEATRICE ST                                                                                        FLUSHING          MI   48433‐1720
JAMES JENSON
JAMES JERICHOW          3415 WOODRIDGE DR                                                                                       FLUSHING          MI   48433‐9789
JAMES JERNAGAN          1404 NE 4TH ST                                                                                          MOORE             OK   73160‐7871
JAMES JERRY             JAMES, JERRY                     GMAC INSURANCE                P.O. BOX 1429                            WINSTON SALEM     NC   27102
JAMES JERRY (512770)    BECKER GALANTI & SCHROADER PC    3673 HIGHWAY 11 P O BOX 488                                            GRANITE CITY      IL   62040
JAMES JERSEY            11330 DODGE RD                                                                                          MONTROSE          MI   48457‐9170
JAMES JESSIE            825 RIVER RD                                                                                            JACKSBORO         TN   37757‐3318
JAMES JETHROE           PO BOX 3677                                                                                             WARREN            OH   44485‐0677
JAMES JETT              12704 PRINCEWOOD CT                                                                                     TAMPA             FL   33626‐2356
JAMES JETT              3807 MISTY MEADOW LN                                                                                    AMELIA            OH   45102‐1260
JAMES JETT              4252 RISING SUN AVE                                                                                     KINGMAN           AZ   86401‐7327
JAMES JETT              521 N TOMAHAWK RD                                                                                       APACHE JUNCTION   AZ   85219‐4267

JAMES JEWELL            2452 RAND AVE                                                                                           MORAINE           OH   45439‐2859
JAMES JEWETT            416 DEER PATH DR                                                                                        CARLISLE          OH   45005‐6344
JAMES JEWETT            29700 WOLF RD                                                                                           BAY VILLAGE       OH   44140‐1864
JAMES JEZAK             7017 HUPFER RD                                                                                          FREELAND          MI   48623‐8906
JAMES JEZICH            7401 COCHISE ST                                                                                         WESTLAND          MI   48185‐2345
JAMES JIMOS             DROSI21                                                                        ATHENS 11474 GREECE
JAMES JIVIDEN           4060 FABER LN                                                                                           CLARENCE          NY   14031‐1905
JAMES JO ANN (655190)   LANDRY & SWARR                   1010 COMMON ST STE 2050                                                NEW ORLEANS       LA   70112‐2459
JAMES JOACHIM           3935 N COUNTY ROAD 950 E                                                                                BROWNSBURG        IN   46112‐8926
JAMES JOBE              810 W 27TH ST S                                                                                         INDEPENDENCE      MO   64052‐3218
JAMES JOBE              27722 US HIGHWAY 431                                                                                    GRANT             AL   35747‐9318
JAMES JOBIN             6142 N LINDEN RD                                                                                        MOUNT MORRIS      MI   48458‐9336
JAMES JODON             52 OLD BRIDGE TURNPIKE RD.                                                                              SOUTH RIVER       NJ   08882
JAMES JODON             BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                             BOSTON HTS.       OH   44236
JAMES JODWAY            27540 POWERS ST                                                                                         WESTLAND          MI   48186‐5149
JAMES JOHN & MAUREEN    2420 URAVAN ST                                                                                          AURORA            CO   80011‐3535
JAMES JOHNS             1247 SHARON ACRES RD                                                                                    FOREST HILL       MD   21050‐1223
JAMES JOHNSON           3040 GLENVIEW DR                                                                                        ANDERSON          IN   46012‐9102
JAMES JOHNSON           2432 BLUE SPRUCE LN                                                                                     AURORA            IL   60502‐6366
JAMES JOHNSON           PO BOX 24454                                                                                            INDIANAPOLIS      IN   46224‐0454
JAMES JOHNSON           22437 ENNISHORE                                                                                         NOVI              MI   48375‐4240
JAMES JOHNSON           16732 WARWICK ST                                                                                        DETROIT           MI   48219‐4043
JAMES JOHNSON           2768 ROCK RD                                                                                            SHELBY            OH   44875‐8703
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JAMES JOHNSON   480 CASTILLE DR                                                                          SPRING HILL      FL     34608‐8493
JAMES JOHNSON   32 CUMBERLAND AVE                                                                        TRENTON          NJ     08618‐5414
JAMES JOHNSON   2463 COUNTY RD 55                                                                        BRASHER FALLS    NY     13613
JAMES JOHNSON   10725 S OCEAN DR LOT 127                                                                 JENSEN BEACH     FL     34957‐7604
JAMES JOHNSON   200 OAK AVE                                                                              WEST BERLIN      NJ     08091‐9139
JAMES JOHNSON   1222 KEVIN RD                                                                            BALTIMORE        MD     21229‐1517
JAMES JOHNSON   3740 WILLOW VIEW DR                                                                      KINGSPORT        TN     37660‐7901
JAMES JOHNSON   5695 WEISS STREET                                                                        SAGINAW          MI     48603‐3762
JAMES JOHNSON   960 WESTWOOD DR                                                                          MONROE           MI     48161‐1886
JAMES JOHNSON   96 MEADOW LN                                                                             LAPEER           MI     48446‐2803
JAMES JOHNSON   610 BEAVER DAM RD                                                                        CAMDEN           TN     38320‐7590
JAMES JOHNSON   4734 RIDGE POINTE DR                                                                     PACE             FL     32571‐1334
JAMES JOHNSON   4154 LUCE RD                                                                             IONIA            MI     48846‐9756
JAMES JOHNSON   13583 W EATON HWY                                                                        GRAND LEDGE      MI     48837‐9640
JAMES JOHNSON   7606 RIVERSIDE DR                                                                        SAINT HELEN      MI     48656‐8219
JAMES JOHNSON   3009 OKEMOS DR SE                                                                        GRAND RAPIDS     MI     49546‐5645
JAMES JOHNSON   15011 CORAM ST                                                                           DETROIT          MI     48205‐1966
JAMES JOHNSON   7206 SOUTHSIDE RD                                                                        LEXINGTON        MI     48450‐9369
JAMES JOHNSON   1519 W 6TH ST                                                                            MUNCIE           IN     47302‐2106
JAMES JOHNSON   2421 HIDDEN WOODS DR                                                                     CANTON           MI     48188‐2473
JAMES JOHNSON   5840 W ADAMS ST                                                                          CHICAGO           IL    60644‐3802
JAMES JOHNSON   12943 N 164TH ST                                                                         BROCTON           IL    61917‐8103
JAMES JOHNSON   11275 DARRAUGH RD CO 571                                                                 MANCELONA        MI     49659
JAMES JOHNSON   4148 WESTERN RD                                                                          FLINT            MI     48506‐1802
JAMES JOHNSON   32 RIVERVIEW DR                                                                          MOUNT CLEMENS    MI     48043‐5915
JAMES JOHNSON   1816 SCOUT RD                                                                            EATON RAPIDS     MI     48827‐9384
JAMES JOHNSON   1066 RIDGE RD                                                                            LAWRENCEVILLE    GA     30043‐3807
JAMES JOHNSON   4702 BAYONNE AVE                                                                         BALTIMORE        MD     21206‐2836
JAMES JOHNSON   765 CRENSHAW RD                                                                          SHANNON          NC     28386‐6159
JAMES JOHNSON   3822 HOLLY AVE                                                                           FLINT            MI     48506‐3109
JAMES JOHNSON   126 FAIRVIEW DR                                                                          CARLISLE         OH     45005‐3054
JAMES JOHNSON   1485 STATE ROUTE 503                                                                     ARCANUM          OH     45304‐9237
JAMES JOHNSON   5459 BURNETT RD                                                                          LEAVITTSBURG     OH     44430‐9700
JAMES JOHNSON   303 W 7TH ST BOX 752                                                                     LAPEL            IN     46051
JAMES JOHNSON   425 VISTA WAY DR                                                                         SAGINAW          TX     76179‐1396
JAMES JOHNSON   3212 W 900 N                                                                             ALEXANDRIA       IN     46001‐8424
JAMES JOHNSON   813 SADDLE CT                                                                            ANDERSON         IN     46013‐4827
JAMES JOHNSON   1204 BEAVER CT                                                                           ANDERSON         IN     46013‐5502
JAMES JOHNSON   8900 W COUNTY ROAD 750 N                                                                 GASTON           IN     47342‐9716
JAMES JOHNSON   PO BOX 278                                                                               SWEETSER         IN     46987‐0278
JAMES JOHNSON   608 LAYNE DR                                                                             DUNKIRK          IN     47336‐1424
JAMES JOHNSON   2111 WILSON AVENUE NORTHEAST                                                             WARREN           OH     44483‐2919
JAMES JOHNSON   1941 N COLORADO AVE                                                                      INDIANAPOLIS     IN     46218‐4530
JAMES JOHNSON   10322 LYRIC DR                                                                           INDIANAPOLIS     IN     46235‐8205
JAMES JOHNSON   711 W 10TH ST                                                                            JONESBORO        IN     46938‐1235
JAMES JOHNSON   1152 GRANGER RD                                                                          MEDINA           OH     44256‐8478
JAMES JOHNSON   722 WESLEY DRIVE                                                                         BEREA            OH     44017‐1148
JAMES JOHNSON   2765 HOFFMAN CIR NE                                                                      WARREN           OH     44483‐3007
JAMES JOHNSON   3692 NEELEY HOLLOW RD                                                                    COLUMBIA         TN     38401‐8432
JAMES JOHNSON   11269 STATE ROUTE 227                                                                    CAMDEN           OH     45311‐9538
JAMES JOHNSON   45494 PARSONS RD                                                                         OBERLIN          OH     44074‐9604
JAMES JOHNSON   3284 SCOTTWOOD RD                                                                        COLUMBUS         OH     43227‐3506
JAMES JOHNSON   7370 NEW LOTHROP ROAD          BOX 95                                                    NEW LOTHROP      MI     48460
JAMES JOHNSON   16925 MANOR ST                                                                           DETROIT          MI     48221‐2888
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Name                  Address1                       Address2            Address3         Address4               City              State   Zip
JAMES JOHNSON         23535 WOHLFEIL ST                                                                          TAYLOR             MI     48180‐2356
JAMES JOHNSON         1955 BALL AVE NE                                                                           GRAND RAPIDS       MI     49505‐5623
JAMES JOHNSON         4324 N JENNINGS RD                                                                         FLINT              MI     48504‐1306
JAMES JOHNSON         3403 W MICHIGAN AVE                                                                        LANSING            MI     48917‐3705
JAMES JOHNSON         16931 MUSKRAT RD                                                                           THREE RIVERS       MI     49093‐9069
JAMES JOHNSON         2921 W GIER RD                                                                             ADRIAN             MI     49221‐9676
JAMES JOHNSON         7256 S FRANCIS RD                                                                          SAINT JOHNS        MI     48879‐9249
JAMES JOHNSON         517 DONSON DR                                                                              LANSING            MI     48911‐6543
JAMES JOHNSON         3488 WAKEFIELD RD                                                                          BERKLEY            MI     48072‐1400
JAMES JOHNSON         12040 N WEBSTER RD                                                                         CLIO               MI     48420‐8260
JAMES JOHNSON         811 S INDIANA AVE                                                                          ALEXANDRIA         IN     46001‐2216
JAMES JOHNSON         1002 LONG LAUREL RIDGE DR                                                                  LAKEMONT           GA     30552‐2918
JAMES JOHNSON         3259 TABLER STATION RD                                                                     MARTINSBURG        WV     25403‐5377
JAMES JOHNSON         2119 BLACK DIAMOND RD                                                                      CORBIN             KY     40701‐7992
JAMES JOHNSON         3615 W MURRAY ST                                                                           INDIANAPOLIS       IN     46221‐2263
JAMES JOHNSON         5211 STONETRACE DR                                                                         CINCINNATI         OH     45251‐4169
JAMES JOHNSON         PO BOX 164                                                                                 BAXTER             KY     40806‐0164
JAMES JOHNSON         6312 MARSCOT DR                                                                            LANSING            MI     48911‐6025
JAMES JOHNSON         194 3RD ST                                                                                 ROCHESTER          NY     14605‐2445
JAMES JOHNSON         33 S ELMA ST                                                                               ANDERSON           IN     46012‐3139
JAMES JOHNSON         4929 MARK TRAIL WAY APT 12 A                                                               DALLAS             TX     75232
JAMES JOHNSON         1135 MOUNTAINBROOK CIR                                                                     SHREVEPORT         LA     71118‐4829
JAMES JOHNSON         1928 LITTLETON COURT                                                                       COLUMBIA           TN     38401‐6940
JAMES JOHNSON         7460 FM 2208                                                                               JEFFERSON          TX     75657‐4348
JAMES JOHNSON         168 HIGH COUNTRY RD                                                                        SHERMAN            TX     75092‐6802
JAMES JOHNSON         2126 COLLINGWOOD AVE                                                                       SAGINAW            MI     48601‐3619
JAMES JOHNSON         1703 LOONEY ST                                                                             SHREVEPORT         LA     71103‐2847
JAMES JOHNSON         2050 N 6TH ST                                                                              MILWAUKEE          WI     53212‐3108
JAMES JOHNSON         5594 HOAGLAND BLACKSTUB RD                                                                 CORTLAND           OH     44410‐9523
JAMES JOHNSON         4604 BRODY DR                                                                              CULLEOKA           TN     38451‐3134
JAMES JOHNSON         537 E 35TH ST                                                                              WILMINGTON         DE     19802‐2817
JAMES JOHNSON         4321 4TH ST                                                                                WAYNE              MI     48184‐2130
JAMES JOHNSON         4311 MAHONEY ST                                                                            PORTAGE            MI     49002‐6587
JAMES JOHNSON         PO BOX 11036                                                                               LANSING            MI     48901‐1036
JAMES JOHNSON         1267 SHIELDS RD                                                                            YOUNGSTOWN         OH     44511‐3720
JAMES JOHNSON         2220 SW 19TH STREET TER                                                                    BLUE SPRINGS       MO     64015‐7105
JAMES JOHNSON         527 CLIFTON BLVD                                                                           TOLEDO             OH     43607‐2221
JAMES JOHNSON         PO BOX 1374                                                                                FLINT              MI     48501‐1374
JAMES JOHNSON         4344 MORRISH RD                                                                            SWARTZ CREEK       MI     48473‐1321
JAMES JOHNSON         18800 SAN JOSE BLVD                                                                        LATHRUP VILLAGE    MI     48076‐7803
JAMES JOHNSON         61385 ROARING BROOK DR                                                                     SOUTH LYON         MI     48178‐1591
JAMES JOHNSON
JAMES JOHNSON         2462 E 850 S                                                                               BUNKER HILL       IN      46914‐9594
JAMES JOHNSON         837 JAMESTOWN AVE                                                                          ELYRIA            OH      44035‐1811
JAMES JOHNSON         1851 PAINTER RD                                                                            FREDERICKTOWN     OH      43019‐9102
JAMES JOHNSON         1417 E SOUTHWAY BLVD                                                                       KOKOMO            IN      46902‐4437
JAMES JOHNSON         4550 OLIVE RD                                                                              TROTWOOD          OH      45426‐2202
JAMES JOHNSON         82 CLARKSTON RD                                                                            CLARKSTON         MI      48346‐1537
JAMES JOHNSON         11111 CANADA RD                                                                            BIRCH RUN         MI      48415‐9434
JAMES JOHNSON         6901 CHERRY VALLEY AVE SE                                                                  CALEDONIA         MI      49316‐8221
JAMES JOHNSON         20098 E DARTMOUTH DR                                                                       AURORA            CO      80013‐8432
JAMES JOHNSON         332 RED OAK TRAIL                                                                          SPRING HILL       TN      37174‐7505
JAMES JOHNSON I I     11454 N MASSACHUSETTS AVE                                                                  ALEXANDRIA        IN      46001‐8143
JAMES JOHNSON I I I   3913 LIAISON DR                                                                            SHREVEPORT        LA      71108‐4725
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Name                                Address1                          Address2            Address3         Address4               City              State   Zip
JAMES JOHNSON JR                    831 LAUREL CREST CT SW                                                                        MARIETTA           GA     30064‐3976
JAMES JOHNSON JR                    123 WALDORF DR                                                                                DAYTON             OH     45415‐2815
JAMES JOHNSON JR                    6106 E 108TH TER                                                                              KANSAS CITY        MO     64134‐2531
JAMES JOHNSON JR                    PO BOX 245                                                                                    BUTLER             MO     64730‐0245
JAMES JOHNSON JR                    10758 S 250 W                                                                                 SOUTH WHITLEY      IN     46787‐9240
JAMES JOHNSON SR.                   3080 LODWICK DR NW APT 5                                                                      WARREN             OH     44485‐1545
JAMES JOHNSTON                      61223 HERITAGE BOULEVARD                                                                      SOUTH LYON         MI     48178‐1033
JAMES JOHNSTON                      1831 JEANE AVE                                                                                PAHRUMP            NV     89048‐1402
JAMES JOHNSTON                      7939 E NATAL AVE                                                                              MESA               AZ     85209‐6165
JAMES JOHNSTON                      200 VILLAGE DR #340C                                                                          DOWNERS GROVE       IL    60516
JAMES JOHNSTON                      4735 W RANGER RD                                                                              PERRINTON          MI     48871‐9775
JAMES JOHNSTON                      PO BOX 353                                                                                    MILLSTADT           IL    62260‐0353
JAMES JOHNSTON                      3548 HAMMOND BLVD                                                                             COPLEY             OH     44321‐1925
JAMES JOHNSTON                      4307 GLENWOOD CT                                                                              GRANBURY           TX     76049‐5811
JAMES JOHNSTON                      500 W DRUEN RD                                                                                MAGNOLIA           KY     42757‐7615
JAMES JOHNSTON                      8041 BEECHER RD                                                                               FLUSHING           MI     48433‐9424
JAMES JOHNSTON                      9249 FAIRVIEW DR                                                                              NORTHVILLE         MI     48167‐8667
JAMES JOHNSTON                      2113 HAWTHORNE DR                                                                             DEFIANCE           OH     43512‐9670
JAMES JOHNSTON                      2709 CARROLL RD                                                                               FORT WAYNE         IN     46818‐9501
JAMES JOHNSTON                      2784 OAK GROVE RD                                                                             NORTH BRANCH       MI     48461‐8873
JAMES JOHNSTON                      1003 OAK HILL RD.                                                                             POPLARVILLE        MS     39470
JAMES JOHNSTON AND JOANN JOHNSTON   1003 OAK HILL RD                                                                              POPLARVILLE        MS     39470

JAMES JOHNSTON I I I                22455 BLOXOM SCHOOL RD                                                                        SEAFORD            DE     19973‐6647
JAMES JOHNSTONE
JAMES JOLLEY                        10030 W CO RD 950 S                                                                           LOSANTVILLE       IN      47354
JAMES JOLLY                         4591 N SHORE DR NE                                                                            KALKASKA          MI      49646‐9538
JAMES JOLLY                         606 KENSINGTON ST                                                                             BELLEVUE          OH      44811‐1906
JAMES JOLLY JR.                     2273 SCOTT RD                                                                                 NORTH BRANCH      MI      48461‐8112
JAMES JONES                         1527 N 85TH TER                                                                               KANSAS CITY       KS      66112‐1761
JAMES JONES                         2931 FARMERS CREEK RD                                                                         METAMORA          MI      48455‐9708
JAMES JONES                         2439 PIER DR                                                                                  RUSKIN            FL      33570‐6118
JAMES JONES                         16301 PINE RIDGE DR N                                                                         FRASER            MI      48026‐5007
JAMES JONES                         1204 SUNNYSIDE DR                                                                             CADILLAC          MI      49601‐8737
JAMES JONES                         13 BISBEE RD # REDMILL                                                                        NEWARK            DE      19711
JAMES JONES                         620 PROSPECT LN                                                                               PLYMOUTH          PA      18651
JAMES JONES                         251 PERRYTOWN RD                                                                              WARRENTON         NC      27589‐9578
JAMES JONES                         6731 GETTYSBURG DR                                                                            SYLVANIA          OH      43560‐3244
JAMES JONES                         PO BOX 258                                                                                    CASSTOWN          OH      45312‐0258
JAMES JONES                         8625 BAKER RD SW                                                                              STOUTSVILLE       OH      43154‐9580
JAMES JONES                         201 WINDING RIDGE DR                                                                          DAYTON            OH      45415‐2823
JAMES JONES                         PO BOX 888                                                                                    APACHE JUNCTION   AZ      85217‐0888

JAMES JONES                         1799 SUFFOLK DR                                                                               CLEARWATER        FL      33756‐1839
JAMES JONES                         5752 HILLCREST DR                                                                             ACWORTH           GA      30102‐1849
JAMES JONES                         4237 SHEPHERDSTOWN RD                                                                         MARTINSBURG       WV      25404‐0308
JAMES JONES                         6063 MIDDLEBROOK BLVD                                                                         BROOK PARK        OH      44142‐3221
JAMES JONES                         5 TINDELL CT                                                                                  COLUMBIA          SC      29229‐9172
JAMES JONES                         10600 W CLARK RD                                                                              EAGLE             MI      48822‐9713
JAMES JONES                         303 SUNCREST DR APT 3 BLD 300                                                                 FLINT             MI      48504
JAMES JONES                         PO BOX 14496                                                                                  SAGINAW           MI      48601‐0496
JAMES JONES                         2230 WOODROW WILSON BLVD APT 11                                                               WEST BLOOMFIELD   MI      48324‐1701

JAMES JONES                         6465 OSBORNE RD                                                                               DELTON             MI     49046‐9490
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Name              Address1                             Address2                     Address3     Address4               City           State   Zip
JAMES JONES       4316 WESTMINSTER DR                                                                                   ANDERSON        IN     46013‐4463
JAMES JONES       1433 SCARLETT DR                                                                                      ANDERSON        IN     46013‐2863
JAMES JONES       1201 W OLD KOKOMO RD                                                                                  MARION          IN     46953‐5841
JAMES JONES       5776 FAIRLEE RD                                                                                       ANDERSON        IN     46013‐9742
JAMES JONES       2311 FAIR OAKS DR APT C                                                                               INDIANAPOLIS    IN     46224‐3916
JAMES JONES       826 S 17TH ST                                                                                         NEW CASTLE      IN     47362‐2707
JAMES JONES       1550 OLIVER AVE                                                                                       PLAINFIELD      IN     46168‐2058
JAMES JONES       2466 APTOS CT                                                                                         UNION CITY      CA     94587‐1811
JAMES JONES       2697 PANTALL RD                                                                                       THOMPSONS       TN     37179‐9241
                                                                                                                        STATION
JAMES JONES       4101 HIGHLAND LAKE DR                                                                                 FORT WORTH     TX      76135‐2311
JAMES JONES       1744 COUNTY ROAD 1123                                                                                 GODLEY         TX      76044‐4336
JAMES JONES       PO BOX 2572                                                                                           MCCOMB         MS      39649‐2572
JAMES JONES       1014 W RANKIN ST                                                                                      FLINT          MI      48504‐2863
JAMES JONES       306 ANDREW JACKSON PL                                                                                 HERMITAGE      TN      37076‐2235
JAMES JONES       8305 W SMITH ST                                                                                       YORKTOWN       IN      47396‐1076
JAMES JONES       2401 CHARTWELL LN                                                                                     GRAHAM         NC      27253‐8471
JAMES JONES       7838 LUND RD SW                                                                                       FIFE LAKE      MI      49633‐9115
JAMES JONES       4133 COURTNEY DR                                                                                      FLINT          MI      48504‐1352
JAMES JONES       431 BADGER DR                                                                                         EVANSVILLE     WI      53536‐1210
JAMES JONES       1028 E PINE AVE                                                                                       MOUNT MORRIS   MI      48458‐1626
JAMES JONES       1462 WATCH HILL DR                                                                                    FLINT          MI      48507‐5661
JAMES JONES       3224 MYRTON ST                                                                                        BURTON         MI      48529‐1022
JAMES JONES       2312 PERKINS ST                                                                                       SAGINAW        MI      48601‐1518
JAMES JONES       1201 KATHY LN SW                                                                                      DECATUR        AL      35601‐3605
JAMES JONES       1452 VILLAGE LN APT 102                                                                               YPSILANTI      MI      48198‐6574
JAMES JONES       6107 E 109TH TER                                                                                      KANSAS CITY    MO      64134‐2649
JAMES JONES       1406 PLAZA STREET SOUTHEAST                                                                           DECATUR        AL      35603‐1522
JAMES JONES       1061 E PIERSON RD                                                                                     FLINT          MI      48505‐3046
JAMES JONES       1500 ETNA RD                                                                                          EUBANK         KY      42567‐7680
JAMES JONES       15 LYNHURST CIR                                                                                       CROSSVILLE     TN      38558‐6456
JAMES JONES       8600 BETHUEL RD                                                                                       MILLINGTON     TN      38053‐5525
JAMES JONES       11120 GRAND BLANC RD                                                                                  GAINES         MI      48436‐9744
JAMES JONES       3335 JANES AVE                                                                                        SAGINAW        MI      48601‐6365
JAMES JONES       215 N DENTON ST APT 101                                                                               WEATHERFORD    TX      76096‐2610
JAMES JONES       110 STANMORE CT                                                                                       ROSWELL        GA      30075‐1785
JAMES JONES       7424 W JEFFERSON BLVD                                                                                 FORT WAYNE     IN      46804‐4130
JAMES JONES       3122 AMELIA AVE                                                                                       FLUSHING       MI      48433‐2304
JAMES JONES       19436 TAYLOR LAKE RD                                                                                  HOLLY          MI      48442‐8926
JAMES JONES       9624 BRIDGE LAKE RD                                                                                   CLARKSTON      MI      48348‐1621
JAMES JONES       3982 N LAGRO RD                                                                                       MARION         IN      46952‐9661
JAMES JONES       3206 GORDON CT                                                                                        SPRING HILL    TN      37174‐7571
JAMES JONES       BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.    OH      44236
JAMES JONES       THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES            22ND FLOOR                          BALTIMORE      MD      21201

JAMES JONES III   C/O EDWARD O MOODY PA                801 WEST 4TH STREET                                              LITTLE ROCK     AR     72201
JAMES JONES III   PO BOX 1052                                                                                           WARREN          MI     48090‐1052
JAMES JONES JR    236 SPRUCE AVE                                                                                        ROCHESTER       NY     14611‐4043
JAMES JONES JR    5766 HURLBUT ST                                                                                       DETROIT         MI     48213‐3137
JAMES JONES JR    3800 KEYMAR LN APT 1614                                                                               ARLINGTON       TX     76014‐4251
JAMES JONES SR    3403 GORDON DR                                                                                        ANDERSON        IN     46012‐9633
JAMES JORDAN      5760 S COUNTY LINE RD                                                                                 DURAND          MI     48429‐9409
JAMES JORDAN      1450 E 10TH ST                                                                                        RENO            NV     89512‐2961
JAMES JORDAN      RR 3 BOX 360                                                                                          SOLSBERRY       IN     47459‐8309
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Name                    Address1                         Address2                    Address3             Address4                 City              State   Zip
JAMES JORDAN            PO BOX 4503                                                                                                AUSTINTOWN         OH     44515‐0503
JAMES JORDAN            1280 PINEHOLE RD                                                                                           LINEVILLE          AL     36266‐5902
JAMES JORDAN            2726 SOUTHBROOK RD                                                                                         DUNDALK            MD     21222‐2236
JAMES JORDAN            14 HUNT AVE                                                                                                MONTROSE           NY     10548‐1425
JAMES JORDAN            105 PARK PLZ N APT 13                                                                                      GARNETT            KS     66032‐1640
JAMES JORDAN            115 S CASTLE ST                                                                                            KNOXVILLE          TN     37914‐4629
JAMES JORDAN            618 VALENCIA DR                                                                                            PONTIAC            MI     48342‐1669
JAMES JORDAN            313 WEST PARKWAY AVENUE                                                                                    FLINT              MI     48505‐2635
JAMES JORDAN            220 SHANA ST                                                                                               CANTON             MI     48187‐3932
JAMES JORDAN            6224 APPLEGATE DR                                                                                          TOLEDO             OH     43615‐2545
JAMES JORDAN JR         287 DEANS RHODE HALL RD                                                                                    JAMESBURG          NJ     08831‐3005
JAMES JORDAN JR         346 WILTSHIRE BLVD                                                                                         DAYTON             OH     45419‐2636
JAMES JORGENSEN         1853 W LAPORTE RD                                                                                          BRECKENRIDGE       MI     48615‐9605
JAMES JORINSCAY         487 TITUS RD                                                                                               KENNERDELL         PA     16374‐5629
JAMES JORSKI            18876 NE 23RD ST                                                                                           HARRAH             OK     73045‐8108
JAMES JOSEPH            4496 NUTWOOD AVE NW                                                                                        WARREN             OH     44483‐1615
JAMES JOSEPH            PO BOX 412                                                                                                 ATLANTA            MI     49709‐0412
JAMES JOSEPH JANNISE    FOSTER & SEAR, LLP               817 GREENVIEW DRIVE                                                       GRAND PRAIRIE      TX     75050
JAMES JOSEPH MD         BEAUMONT EXECUTIVE HEALTH SVCS   3535 W 13 MILE RD STE 140                                                 ROYAL OAK          MI     48073
JAMES JOSEPH MURPHY     C/O ROBERT W PHILLIPS            SIMMONS BROWDER GIANARIS    707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON          IL    62024
                                                         ANGELIDES & BARNERD LLC
JAMES JOSEPH THOMPSON   MOTLEY RICE LLC                  28 BRIDGESIDE BLVD          PO BOX 1792                                   MT PLEASANT       SC      29465
JAMES JOSKA             2963 BOWER RD                                                                                              WINTER PARK       FL      32792‐4503
JAMES JOSLIN            3458 MILL ST                                                                                               AKRON             MI      48701‐2516
JAMES JOSLIN            5992 W 200 N                                                                                               ANDERSON          IN      46011
JAMES JOSSELYN          4370 S KESSLER FREDERICK RD                                                                                WEST MILTON       OH      45383‐9703
JAMES JOSWICK           32441 KNAPP AVE                                                                                            WARREN            MI      48093‐8101
JAMES JOY               2818 HEATHER LN NW                                                                                         WARREN            OH      44485‐1240
JAMES JOY               5161 TUSCARORA RD                                                                                          NIAGARA FALLS     NY      14304‐1171
JAMES JOY
JAMES JOYCE             547 SPRINGDALE DR                                                                                          PITTSBURGH        PA      15235‐1811
JAMES JOYCE             3518 HOLLY AVE                                                                                             FLINT             MI      48506‐4716
JAMES JOYCE             4466 E PINE LAKE RD                                                                                        NEW SPRINGFIELD   OH      44443‐9790
JAMES JOYNER            505 E BOSTON BLVD                                                                                          DETROIT           MI      48202‐1322
JAMES JOZWIAK           3300 N MAIN ST STE D                                                                                       ANDERSON          SC      29621‐4128
JAMES JOZWIAK           6311 BIRCHVIEW DR                                                                                          SAGINAW           MI      48609‐7062
JAMES JR NAGEL          18615 WAKENDEN                                                                                             REDFORD           MI      48240‐1842
JAMES JR, A D           15673 ARLINGTON RD                                                                                         ATHENS            AL      35611
JAMES JR, CECIL S       3411 WINONA ST                                                                                             FLINT             MI      48504‐2156
JAMES JR, COLON B       115 LIND AVE                                                                                               MANSFIELD         OH      44903‐2103
JAMES JR, COURTLAND M   109 W FERGUSON RD                                                                                          FORT WAYNE        IN      46819
JAMES JR, DAVID W       11241 BLOTT RD                                                                                             NORTH JACKSON     OH      44451‐9758
JAMES JR, EDWARD C      572 SAINT JOHN PL                                                                                          INGLEWOOD         CA      90301‐1318
JAMES JR, ERNEST E      4955 RIDGEWAY AVE                                                                                          KANSAS CITY       MO      64133‐2544
JAMES JR, GEORGE R      3223 ROLFE AVE                                                                                             DAYTON            OH      45414‐5148
JAMES JR, JOHNNIE       16576 GARFIELD                                                                                             REDFORD           MI      48240
JAMES JR, JOHNNIE       22122 HESSEL AVE                                                                                           DETROIT           MI      48219‐1251
JAMES JR, LEON          25112 SOUTHWOOD DR                                                                                         SOUTHFIELD        MI      48075‐2031
JAMES JR, LUTHER H      5505 ELSRODE AVE                                                                                           BALTIMORE         MD      21214‐1947
JAMES JR, MELVIN M      4361 KELLER RD                                                                                             HOLT              MI      48842‐1251
JAMES JR, MILTON        550 MONCEAU DR                                                                                             SAINT LOUIS       MO      63135‐1273
JAMES JR, NORMAN E      1054 WOODSTOCK AVE                                                                                         TONAWANDA         NY      14150‐4638
JAMES JR, NORMAN W      10882 HOLLY DR                                                                                             GARDEN GROVE      CA      92840‐3247
JAMES JR, PATRICK       105 S VINE ST                                                                                              NEW CASTLE        PA      16101‐3334
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Name                      Address1                         Address2                       Address3        Address4               City            State   Zip
JAMES JR, PERRY           40 PERRY PLACE DR                                                                                      PONTIAC          MI     48340‐2176
JAMES JR, ROBERT L        124 OTTAWA DR                                                                                          PONTIAC          MI     48341‐1634
JAMES JR, ROBERT W        1025 CARACARA CIR N                                                                                    LAKELAND         FL     33809‐7323
JAMES JR, ROY M           716 CRESCENT CT                                                                                        GREENCASTLE      IN     46135‐1176
JAMES JR, TERRY M         10411 N LINDEN RD                                                                                      CLIO             MI     48420‐8500
JAMES JR, TERRY MICHAEL   1300 WEST TOBIAS ROAD                                                                                  CLIO             MI     48420‐1772
JAMES JR, WAYNE           6631 CALDERO CT                                                                                        TROTWOOD         OH     45415‐1542
JAMES JR, WILLARD C       506 WELCOME WAY                                                                                        ANDERSON         IN     46013‐1166
JAMES JR, WILLIE E        11484 SANFORD ST                                                                                       DETROIT          MI     48205‐3724
JAMES JR., ALFRED D       2653 COUNTY STREET 2960                                                                                ALEX             OK     73002‐2225
JAMES JR., DEXTER B       70 MASSACHUSETTS ST                                                                                    HIGHLAND PARK    MI     48203‐3537
JAMES JR., JERRY P.       C/O GMAC INSURANCE               BIRGIT ROBERTS                 P.O. BOX 1429                          WINSTON SALEM    NC     27102‐1429
JAMES JUCKETT             5917 LEHIGH LN                                                                                         BATH             PA     18014
JAMES JUDD                2131 CEDAR CIRCLE DR                                                                                   BALTIMORE        MD     21228‐3749
JAMES JUDD                2001 GRAND AVE                                                                                         NEW CASTLE       IN     47362‐2569
JAMES JUDEFIND            2510 BELFORD DR                                                                                        WILMINGTON       DE     19808‐4506
JAMES JULY                8231 E CARPENTER RD                                                                                    DAVISON          MI     48423‐8962
JAMES JULY                21620 PEMBROKE AVE                                                                                     DETROIT          MI     48219‐1250
JAMES JUMP                2803 HINDE AVE                                                                                         SANDUSKY         OH     44870‐5924
JAMES JUNE                2231 S BENT LN                                                                                         ASTON            PA     19014‐2261
JAMES JUNGEBERG           22200 CRICKET LN                                                                                       STRONGSVILLE     OH     44149‐1158
JAMES JUPE                7180 HERITAGE PKWY                                                                                     WEST             TX     76691‐2316
JAMES JURA                3578 MILAM RD                                                                                          BATES CITY       MO     64011‐8398
JAMES JURD                9042 LUEA LANE                                                                                         SWARTZ CREEK     MI     48473‐1082
JAMES JURUMBO             414 MOORE ST                                                                                           GEORGETOWN        IL    61846
JAMES JUSTEN              847 SHERWOOD DR                                                                                        ELYRIA           OH     44035‐3015
JAMES JUSTICE             3892 ISLAND PARK DR                                                                                    WATERFORD        MI     48329‐1906
JAMES JUSTICE             800 STEWART RD                                                                                         ANDERSON         IN     46012‐9648
JAMES JUSTICE             143 OUTER BELLE RD APT B                                                                               TROTWOOD         OH     45426‐1527
JAMES JUSTUS              PO BOX 282                                                                                             CARNESVILLE      GA     30521‐0282
JAMES JW HARRIS, JR       LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET       22ND FLOOR                             BALTIMORE        MD     21201
JAMES K ALLARD            335 OLD OAK DR                                                                                         CORTLAND         OH     44410‐1123
JAMES K ANDERSON          44 KEMP                                                                                                PONTIAC          MI     48342‐1442
JAMES K ANDERSON          G PATTERSON KEAHEY PC            ONE INDEPENDENCE PLAZA SUITE                                          BIRMINGHAM       AL     35209
JAMES K BANKS             8915 U.S. 62 NORTH                                                                                     HILLSBORO        OH     45133‐6953
JAMES K BARRACKMAN        229 CRANBERRY CT NW                                                                                    WARREN           OH     44483‐1551
JAMES K BENDO             117 W CORNELL AVE                                                                                      PONTIAC          MI     48340‐2721
JAMES K BIBBS             4537 TULANE ROAD                                                                                       SPRINGFIELD      OH     45503
JAMES K BISHOP            1277 BROOKFIELD RD                                                                                     HUBBARD          OH     44425‐3067
JAMES K BRADEN            614 S FRONT ST                                                                                         BELDING          MI     48809‐1933
JAMES K CAMPBELL          6762 SHAKER RD.                                                                                        FRANKLIN         OH     45005
JAMES K COLLIER           683 RALDE CIRCLE                                                                                       RIDGELAND        MS     39157‐3922
JAMES K COURTNEY          9188 SPRINGVIEW LOOP                                                                                   ESTERO           FL     33928‐3404
JAMES K COYNE             295 HIDDEN VALLEY ROAD                                                                                 ROCHESTER        NY     14624‐2302
JAMES K DEHAVEN           1021 GREASY CREEK RD                                                                                   WEST LIBERTY     KY     41472‐8554
JAMES K DOAN              2840 S ATLEE ST                                                                                        BLOOMINGTON      IN     47401‐4528
JAMES K GAGLIANI          248 MAIN ST                                                                                            MEDWAY           MA     02053‐1626
JAMES K GIBSON            15832 COYOTE HILL DR                                                                                   FORT WORTH       TX     76177‐2132
JAMES K GIBSON            1361 EDINBURGH DRIVE                                                                                   TROY             OH     45373
JAMES K HALL              PO BOX 2276                                                                                            DETROIT          MI     48202‐0276
JAMES K HARDIN            6049 MAD RIVER RD                                                                                      CENTERVILLE      OH     45459‐1507
JAMES K HIGHTOWER         617 GREEN LANE                                                                                         TYLER            TX     75701
JAMES K JUPE              7180 HERITAGE PKWY                                                                                     WEST             TX     76691‐2316
JAMES K KASTNER           2500 ROVER CT                                                                                          W CARROLLTON     OH     45439‐2944
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JAMES K KASTNER               2500 ROVER CIR                                                                                      W CARROLLTON     OH     45449
JAMES K KELLEY                PO BOX 178                                                                                          JONES            OK     73049‐0178
JAMES K LAND                  2604 WENDOVER DR                                                                                    DAYTON           OH     45431
JAMES K LEE                   7604 N SWAN LAKE DR APT 2D                                                                          HUBER HEIGHTS    OH     45424‐2080
JAMES K LEONARD               WEITZ & LUXENBERG PC           700 BROADWAY                                                         NEW YORK CITY    NY     10003
JAMES K LUMPKIN SR            9905 GERALDINE ST                                                                                   YPSILANTI        MI     48197‐6926
JAMES K LYLE                  10101 WOODIRON DR                                                                                   DULUTH           GA     30097
JAMES K MARTIN                155 MILLCREEKRD                                                                                     NILES            OH     44446
JAMES K MCCARTHY              2193 OXMOOR DRIVE                                                                                   DAYTON           OH     45431‐3132
JAMES K MCNEAL                1310 COOLBAUGH ST                                                                                   STROUDSBURG      PA     18360
JAMES K MIDDLETON             640 DELAWARE ST APT 104                                                                             DETROIT          MI     48202‐2448
JAMES K NELSON                216 W BEVERLY AVE                                                                                   PONTIAC          MI     48340‐2623
JAMES K QUINN                 507 FLINT ST                                                                                        ROCHESTER        NY     14611‐3605
JAMES K REARDON               6720 GORSUCH RD                                                                                     FRANKLIN         OH     45005
JAMES K RELIHAN               210 E MOLLOY RD                                                                                     SYRACUSE         NY     13211‐1650
JAMES K RIDDELL               815 S RIVER ST                                                                                      FRANKLIN         OH     45005‐2744
JAMES K SHEA MD INC           300 N MILLS AVE                PHYSICAL MEDICINE PAIN CENTER                                        ORLANDO          FL     32803‐5720
JAMES K SHEPARD               1773 TUTTLE AVE.                                                                                    DAYTON           OH     45403
JAMES K SPANN                 7181 HAZELWOOD LN                                                                                   SAINT LOUIS      MO     63130‐1809
JAMES K TAYS                  335 GREEN ACRES DR                                                                                  DAYTON           OH     45414‐2147
JAMES K THOMAS                845 CORNELL                                                                                         YOUNGSTOWN       OH     44502‐2313
JAMES K TRZCIENSKI            442 W UPTON AVE                                                                                     REED CITY        MI     49677‐1152
JAMES K TURLEY                3031 W GRAND BLVD STE 300                                                                           DETROIT          MI     48202‐3046
JAMES K VEST & FREDA A VEST   C/O MCKENNA & ASSOCIATES PC    438 BOULEVARD OF THE ALLIES‐                                         PITTSBURGH       PA     15219‐1331
                                                             SUITE 500
JAMES K WALLACE SR            408 PLYMOUTH AVE                                                                                    SYRACUSE        NY      13211‐1539
JAMES K WALTERS               3170 E STROOP RD APT 210                                                                            DAYTON          OH      45440‐1365
JAMES K WARD                  13 LANCASTER                                                                                        FLORISSANT      MO      63033‐1512
JAMES K WHETSTONE             809 HUMMINGBIRD DR                                                                                  BROWNSBURG      IN      46112‐7457
JAMES K WIEMANN               MOTLEY RICE LLC                28 BRIDGESIDE BLVD              PO BOX 1792                          MT PLEASANT     SC      29465
JAMES K WRIGHT                4223 FOLEY RD                                                                                       CINCINNATI      OH      45238
JAMES K ZEHRING               408 EARLY DRIVE                                                                                     MIAMISBURG      OH      45342
JAMES K. HIGHTOWER            617 GREEN LANE                                                                                      TYLER           TX      75701
JAMES KAAKE                   2119 WINDEMERE AVE                                                                                  FLINT           MI      48503‐2237
JAMES KAAN                    PO BOX 531                                                                                          SUNRISE BEACH   MO      65079‐0531
JAMES KACER                   2400 N 9 MILE RD                                                                                    SANFORD         MI      48657‐9658
JAMES KACHMAN                 22711 ARCADIA ST                                                                                    ST CLAIR SHRS   MI      48082‐1839
JAMES KACZANOWSKI             48 MILSOM AVE                                                                                       BUFFALO         NY      14227‐1216
JAMES KACZMAR                 42672 E HURON RIVER DR                                                                              BELLEVILLE      MI      48111‐2881
JAMES KACZMARSKI              6782 BELLE HEIGHTS RD                                                                               DERBY           NY      14047‐9750
JAMES KACZOROWSKI             2290 SOLON                                                                                          CEDAR SPRINGS   MI      49319‐8472
JAMES KAFFENBERGER            6090 E BRISTOL RD                                                                                   BURTON          MI      48519‐1737
JAMES KAHLE                   7966 W LAKE POINTE DR                                                                               FRANKLIN        WI      53132‐8529
JAMES KAKUSKE                 7233 W BUTLER RD                                                                                    JANESVILLE      WI      53548‐8514
JAMES KALAHAR                 48770 CRESCENT DR                                                                                   MACOMB          MI      48044‐2118
JAMES KALAT                   10332 N LEWIS RD                                                                                    CLIO            MI      48420‐7938
JAMES KALBFLEISCH             7990 DEANVILLE RD                                                                                   BROWN CITY      MI      48416‐9654
JAMES KAM                     3677 HUMAN RD                                                                                       SANBORN         NY      14132‐9436
JAMES KAMINSKI                22524 SANDY LN                                                                                      FAIRVIEW PARK   OH      44126‐2558
JAMES KAMINSKI                PO BOX 72                                                                                           ESSEXVILLE      MI      48732‐0072
JAMES KAMINSKI                4005 W HILLCREST DR APT 106                                                                         GREENFIELD      WI      53221‐5713
JAMES KAMINSKI                1790 GREENBRIER DR                                                                                  MADISON HTS     MI      48071‐2235
JAMES KAMM                    PO BOX 276                                                                                          EAST LANSING    MI      48826‐0276
JAMES KAMPMANN                3350 ORCHARD                                                                                        PINCKNEY        MI      48169‐8523
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Name                 Address1                        Address2                     Address3   Address4               City               State   Zip
JAMES KAMRAD         3240 CURTIS RD                                                                                 BIRCH RUN           MI     48415‐9091
JAMES KANA           3920 SHIELDS RD                                                                                CANFIELD            OH     44406‐9058
JAMES KANAAR         11309 MILLER RD                                                                                SWARTZ CREEK        MI     48473‐8570
JAMES KANAVEL        2230 COUNTY RD E # F                                                                           SWANTON             OH     43558
JAMES KANE           1030 NEW BRIDGE RD                                                                             RISING SUN          MD     21911‐1134
JAMES KANE           3811 E 1400 N                                                                                  SUMMITVILLE         IN     46070‐9057
JAMES KANEASTER      8203 W DAY FOREST RD                                                                           EMPIRE              MI     49630‐9708
JAMES KANEASTER      8203 W. DAY FOREST RD.                                                                         EMPIRE              MI     49630
JAMES KANIGOWSKI     3534 ALDERDALE DR                                                                              STERLING HTS        MI     48310‐1796
JAMES KANOUS         G6179 E POTTER RD                                                                              DAVISON             MI     48423
JAMES KAPALA         5811 CROWBERRY TRL N                                                                           SAGINAW             MI     48603‐1668
JAMES KAPANOWSKI     5198 JAMERLEA LN                                                                               FOWLERVILLE         MI     48836‐9637
JAMES KAPELLEN       512 RIDGEWAY ST                                                                                EDGERTON            WI     53534‐1413
JAMES KAPP           2409 SECLUDED LN                                                                               FLINT               MI     48507
JAMES KARALUS        20 FAIROAKS LN                                                                                 CHEEKTOWAGA         NY     14227‐1325
JAMES KARASIEWICZ    88 HOMER LN                                                                                    COOPERSVILLE        MI     49404‐1146
JAMES KARCHER        204 LINWOOD DR                                                                                 COLUMBUS GRV        OH     45830‐1027
JAMES KARELL         12026 TALLTREE DR                                                                              PLYMOUTH            MI     48170‐3724
JAMES KARELL JR      12026 TALLTREE DR                                                                              PLYMOUTH            MI     48170‐3724
JAMES KARENKO        6564 E MICHIGAN AVE TRLR 95                                                                    SALINE              MI     48176‐9250
JAMES KARES          952 WILSHIRE DR                                                                                AMHERST             OH     44001‐1153
JAMES KARIGAN JR     17415 W 156TH TER                                                                              OLATHE              KS     66062‐6342
JAMES KARLAVAGE      41976 QUINCE DR                                                                                NOVI                MI     48375‐3361
JAMES KARLAVAGE JR   42864 ASHBURY DR                                                                               NOVI                MI     48375‐4725
JAMES KARNIS         14728 FAYETTE BLVD                                                                             BROOK PARK          OH     44142‐2408
JAMES KARNOSKY       38 HASKELL DR                                                                                  BRATENAHL           OH     44108‐1170
JAMES KARST          9766 KRUEGER RD                                                                                FRANKENMUTH         MI     48734‐9603
JAMES KASEMEYER      5081 HEIDI LN                                                                                  SAGINAW             MI     48604‐9553
JAMES KASPAREK       20234 POLLYANNA DR                                                                             LIVONIA             MI     48152‐1275
JAMES KASTER         1536 LENNOX ST                                                                                 ANDERSON            IN     46012‐4427
JAMES KASTER         1023 LARKSTONE DR                                                                              COLUMBUS            OH     43235‐3422
JAMES KASTING        9645 CLARENCE CENTER RD                                                                        CLARENCE CENTER     NY     14032‐9748
JAMES KASTNER        2500 ROVER CT                                                                                  W CARROLLTON        OH     45439‐2944
JAMES KASTNER JR     429 78TH ST                                                                                    NIAGARA FALLS       NY     14304‐3335
JAMES KASZYNSKI      6655 FREDMOOR DR                                                                               TROY                MI     48098‐1724
JAMES KATARO         1813 CIDER MILL RD                                                                             SALEM               OH     44460‐9560
JAMES KATCHER        54565 ROMEO PLANK RD                                                                           MACOMB              MI     48042‐2307
JAMES KATES          3222 NEIGHBOR RD                                                                               SAINT JOSEPH        MO     64506‐2043
JAMES KATICH         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.         OH     44236
JAMES KATKUS         8175 M33 SOUTH                                                                                 ATLANTA             MI     49709
JAMES KATYNSKI       1137 EMERALD FOREST LN                                                                         DAVISON             MI     48423‐9026
JAMES KAUFFER        4715 TARRYTON CT S                                                                             COLUMBUS            OH     43228‐6506
JAMES KAUFFMAN       7151 OTTERBEIN ITHACA RD                                                                       ARCANUM             OH     45304‐9467
JAMES KAUFMAN        13911 S DEER CREEK AVE                                                                         KOKOMO              IN     46901‐9438
JAMES KAUFMAN
JAMES KAULIG         424 N 5TH ST                                                                                   BREESE              IL     62230‐1424
JAMES KAUNE
JAMES KAUSS          2205 REFSET DR                                                                                 JANESVILLE          WI     53545‐0560
JAMES KAUTMAN        11354 N LAKE CT                                                                                FENTON              MI     48430‐8871
JAMES KAVANAGH       5052 GLEASON RD                                                                                EMMETT              MI     48022‐1908
JAMES KAVANAGH       35600 SHANGRI LA CT                                                                            CLINTON TWP         MI     48035‐2264
JAMES KAY            5225 BOWMAN SPRINGS TRL                                                                        FLOWERY BR          GA     30542‐5193
JAMES KAY            36725 CATALDO ST                                                                               CLINTON TOWNSHIP    MI     48035‐1914
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JAMES KAY            116 KAY RD                                                                                      GRIFFIN             GA     30223‐9201
JAMES KAZEE JR       1847 PINEWOOD DR                                                                                BRUNSWICK           OH     44212‐3947
JAMES KAZIJIAN       168 MAIN ST                                                                                     MEDWAY              MA     02053‐1570
JAMES KAZMIERSKI     2555 WINSLOW DR                                                                                 MIDLAND             MI     48642‐9246
JAMES KEACH          1320 ELIDA ST                                                                                   JANESVILLE          WI     53545‐1810
JAMES KEADY JR       170 ELVIRA ST                                                                                   ROCHESTER           NY     14606‐5310
JAMES KEALY          3412 AMHURST RD                                                                                 JANESVILLE          WI     53546‐8834
JAMES KEARNEY        32311 ANNAPOLIS ST                                                                              WAYNE               MI     48184‐2249
JAMES KEARNS         126 ESSEX RD                                                                                    LEXINGTON           OH     44904‐1008
JAMES KEARNS         161 JACKSON PARK AVE                                                                            DAVENPORT           FL     33897‐9683
JAMES KEATHLEY       41 MONKS ROAD                                                                                   FAYETTEVILLE        TN     37334‐6009
JAMES KEATON         5529 CLOSSER CT                                                                                 INDIANAPOLIS        IN     46221‐4100
JAMES KECK           3611 VILLAGE DR                                                                                 ANDERSON            IN     46011‐3881
JAMES KECK           6142 COLUMBIA ST                                                                                HASLETT             MI     48840‐8267
JAMES KEE            1145 MILLER RD                                                                                  LAKE ORION          MI     48362‐1943
JAMES KEEFER         26201 SW WYATT RD                                                                               BLUE SPRINGS        MO     64015‐1910
JAMES KEEGAN         4525 CULLEN RD RR 2                                                                             FENTON              MI     48430
JAMES KEEL           PO BOX 223                                                                                      BATH                MI     48808‐0223
JAMES KEELING JR.    11350 PENROD ST                                                                                 DETROIT             MI     48228‐1124
JAMES KEEN           7509 STATE ROUTE 99                                                                             SANDUSKY            OH     44870‐9796
JAMES KEEN           6200 PHILADELPHIA DR                                                                            DAYTON              OH     45415‐2656
JAMES KEEN           2582 S KEYSTONE AVE                                                                             INDIANAPOLIS        IN     46203‐4570
JAMES KEENAN         6945 KINGSLAND                                                                                  SHELBY TOWNSHIP     MI     48317‐6314
JAMES KEENAN         1861 OLD HOMESTEAD DR                                                                           ROCHESTER HILLS     MI     48306‐2927
JAMES KEENAN         THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                     HOUSTON             TX     77017
JAMES KEENE          1273 S ELMS RD                                                                                  FLINT               MI     48532‐5345
JAMES KEENE          9766 BARNES RD                                                                                  BIRCH RUN           MI     48415‐9601
JAMES KEENER         38692 ADKINS RD                                                                                 WILLOUGHBY          OH     44094‐7513
JAMES KEENER         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.         OH     44236
JAMES KEENUM         5032 ABBEY LN SW                                                                                LILBURN             GA     30047‐5402
JAMES KEENUM         3109 MALLARD CL                                                                                 ALTUS               OK     73521
JAMES KEESLER        6485A MILLERS RUN BACK RUN RD                                                                   LUCASVILLE          OH     45648‐8727
JAMES KEESLER        5068 HOGBACK RD                                                                                 FOWLERVILLE         MI     48836‐8784
JAMES KEGERREIS      5650 BEMIS RD                                                                                   YPSILANTI           MI     48197‐9357
JAMES KEHN           11585 KING RD                                                                                   FRANKENMUTH         MI     48734‐9750
JAMES KEHOE          4348 SASSE RD                                                                                   HEMLOCK             MI     48626‐9533
JAMES KEIL           PO BOX 6832                                                                                     TOLEDO              OH     43612‐0832
JAMES KEINATH        10226 W GULF HILLS DR                                                                           SUN CITY            AZ     85351‐1601
JAMES KEINATH        1454 WITT HWY                                                                                   DEERFIELD           MI     49238‐9778
JAMES KEISSER        2413 ROSEVIEW DR                                                                                TOLEDO              OH     43613‐2154
JAMES KEITH          1540 KILLDEER LN                                                                                JANESVILLE          WI     53546‐2953
JAMES KEITH          311 JERU BLVD                                                                                   TARPON SPRINGS      FL     34689‐6923
JAMES KEITH          JAMES, KEITH                    7837 VILLAGE LANE                                               MANSFIELD           TX     76063
JAMES KELEMAN        303 N MECCA ST APT 108                                                                          CORTLAND            OH     44410‐1082
JAMES KELESHIAN      224 WARREN BLVD                                                                                 BROOMALL            PA     19008‐3730
JAMES KELLAR         5622 SOUTH WALCOTT STREET                                                                       INDIANAPOLIS        IN     46227‐4787
JAMES KELLEHER       PO BOX 4475                                                                                     SARATOGA SPRINGS    NY     12866‐8026

JAMES KELLENBARGER   PO BOX 568                                                                                      LEWISBURG          OH      45338‐0568
JAMES KELLER         73 W 5TH ST                                                                                     NEW CASTLE         DE      19720‐5008
JAMES KELLER         PO BOX 2                                                                                        SHAUCK             OH      43349‐0002
JAMES KELLER         1811 GLENVIEW DR SW                                                                             ATLANTA            GA      30331‐2413
JAMES KELLER         33 BUFFALO ST                                                                                   BERGEN             NY      14416
JAMES KELLER         1472 N SHAYTOWN RD                                                                              VERMONTVILLE       MI      49096‐9541
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JAMES KELLER      310 WOODVIEW DR                                                                                TAVARES             FL 32778‐5142
JAMES KELLER      300 ELMWOOD DR                                                                                 DAVISON             MI 48423‐1450
JAMES KELLER      1497 MARS AVE                                                                                  LAKEWOOD            OH 44107‐3820
JAMES KELLER      BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.         OH 44236
JAMES KELLEY      2331 UPPER BETHANY RD                                                                          BALL GROUND         GA 30107‐2067
JAMES KELLEY      PO BOX 335                                                                                     THOMPSONS           TN 37179‐0335
                                                                                                                 STATION
JAMES KELLEY      C/O RONALD KELLEY               306 CURRY FORD LN                                              GAITHERSBURG        MD 20878‐2786
JAMES KELLEY      823 N INDEPENDENCE ST                                                                          TIPTON              IN 46072‐1036
JAMES KELLEY      633 N EIFERT RD                                                                                MASON               MI 48854‐9559
JAMES KELLEY      1250 BELMONT CIR                                                                               TAVARES             FL 32778‐2537
JAMES KELLEY      1090 E CHICAGO BLVD APT 13                                                                     TECUMSEH            MI 49286‐8634
JAMES KELLEY      213 N MORGAN DR                                                                                MOORE               OK 73160‐6942
JAMES KELLEY      10555 HILL RD                                                                                  SWARTZ CREEK        MI 48473‐7640
JAMES KELLEY      3165 VINE ST                                                                                   PASO ROBLES         CA 93446‐1125
JAMES KELLEY      PO BOX 178                                                                                     JONES               OK 73049‐0178
JAMES KELLEY      12292 BRISTOL RD                                                                               LENNON              MI 48449‐9446
JAMES KELLEY      10323 MERRIAM LN                                                                               TWINSBURG           OH 44087‐2640
JAMES KELLEY      1902 BLUEBIRD AVE NW                                                                           HUNTSVILLE          AL 35816‐1702
JAMES KELLEY      130 DAMON ST                                                                                   JACKSON             MI 49203‐4320
JAMES KELLEY      529 N EAST ST                                                                                  FENTON              MI 48430‐2723
JAMES KELLIE      2690 W BOSTON BLVD APT 217                                                                     DETROIT             MI 48206‐1762
JAMES KELLIHER    5301 RADCLIFF DR                                                                               GREENDALE           WI 53129‐2804
JAMES KELLMANN    18353 S FRONTIER RD                                                                            PEEPLES VALLEY      AZ 86332
JAMES KELLNER     PO BOX 97                                                                                      MINERAL RIDGE       OH 44440‐0097
JAMES KELLOGG     4804 W BROWNVIEW DR                                                                            JANESVILLE          WI 53545‐8322
JAMES KELLUM      52 LINDSEY RD                                                                                  LORETTO             TN 38469‐3019
JAMES KELLY       140 PARK CIR                                                                                   S ATTLEBORO         MA 02703‐7112
JAMES KELLY       1701 COURSIN ST                                                                                MCKEESPORT          PA 15132‐4658
JAMES KELLY       505 E BROOKS AVE                                                                               GRIFFIN             GA 30223‐4644
JAMES KELLY       W3721 RASBERRY LN                                                                              MORAN               MI 49760‐9808
JAMES KELLY       7085 DENMARK ST                                                                                ENGLEWOOD           FL 34224‐9501
JAMES KELLY       5410 GILMOUR RD                                                                                MORROW              OH 45152‐9731
JAMES KELLY       7060 SUNSET POINT DR                                                                           INDIANAPOLIS        IN 46259‐6783
JAMES KELLY       2338 DURAND ST                                                                                 SAGINAW             MI 48602‐5417
JAMES KELLY       4401 FIELDCREST DR                                                                             JANESVILLE          WI 53546‐3311
JAMES KELLY       5390 SPRUCEVIEW LN                                                                             FOWLERVILLE         MI 48836‐9654
JAMES KELLY       7283 ROLLING RD                                                                                NEWAYGO             MI 49337‐8702
JAMES KELLY       PO BOX 521                                                                                     HOUGHTON LAKE       MI 48629‐0521
JAMES KELLY       7470 N CENTER RD                                                                               SAGINAW             MI 48604‐9231
JAMES KELLY       2235 WATERFORD PARK DR                                                                         LAWRENCEVILLE       GA 30044‐2726
JAMES KELLY       12001 SE 38TH ST                                                                               CHOCTAW             OK 73020‐6106
JAMES KELLY       1535 ATLANTIC ST NE                                                                            WARREN              OH 44483‐4109
JAMES KELLY       2122 MATTIE LU DR                                                                              AUBURN HILLS        MI 48326‐2425
JAMES KELLY       23142 N ROSEDALE CT                                                                            SAINT CLAIR SHORES MI 48080‐2613

JAMES KELLY       5418 N GALE RD                                                                                 DAVISON           MI   48423‐8913
JAMES KELLY       2630 RIVER ROAD                                                                                SILVER CREEK      MS   39663
JAMES KELLY III   372 E MAPLEHURST ST                                                                            FERNDALE          MI   48220‐1373
JAMES KELLY SR.   PO BOX 36626                                                                                   CINCINNATI        OH   45236‐0626
JAMES KELM        PO BOX 82                                                                                      QULIN             MO   63961‐0082
JAMES KELSEY      384 KARTES DR                                                                                  ROCHESTER         NY   14616‐2127
JAMES KELTNER     7094 CROSSWINDS DR                                                                             SWARTZ CREEK      MI   48473‐9778
JAMES KEMMER      4670 W N00S                                                                                    MARION            IN   46953
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JAMES KEMP          4574 DERBY MANOR DR                                                                            BALTIMORE           MD     21215‐6539
JAMES KEMP          8410 W BUTTERNUT RD                                                                            MUNCIE              IN     47304‐9715
JAMES KEMP          13505 IRENE ST                                                                                 SOUTHGATE           MI     48195‐1855
JAMES KENDALL       4537 REDWOOD ST                                                                                WINTER HAVEN        FL     33880‐1634
JAMES KENDALL       APT 141H                        1500 WEST ELDORADO PARKWAY                                     MCKINNEY            TX     75069‐7903
JAMES KENDALL       68 BASSWOOD DR                                                                                 CHEEKTOWAGA         NY     14227‐2609
JAMES KENDALL       7755 SMITH RD                                                                                  GOSPORT             IN     47433‐7961
JAMES KENDALL       9400 FENWAY DR                                                                                 MCKINNEY            TX     75070‐8856
JAMES KENDRICK      5333 SPOKANE ST                                                                                DETROIT             MI     48204‐5026
JAMES KENDRICK      1438 BYRON AVE                                                                                 YPSILANTI           MI     48198‐3109
JAMES KENDRICK      3945 COUNTY ROAD 613                                                                           ALVARADO            TX     76009‐5157
JAMES KENDRICK JR   8239 OWOSSO RD                                                                                 FOWLERVILLE         MI     48836‐9748
JAMES KENDRO        16958 BRITTANY PL                                                                              STRONGSVILLE        OH     44136‐7267
JAMES KENGER        8404 N 86TH ST                                                                                 SCOTTSDALE          AZ     85258‐2508
JAMES KENNARD       46 WALKER DR                                                                                   PALM COAST          FL     32164‐7689
JAMES KENNEALLY     3157 SUNNYBROOKE DR                                                                            YOUNGSTOWN          OH     44511‐2823
JAMES KENNEDY       2816 DUNCAN TREE CIR                                                                           VALRICO             FL     33594‐4244
JAMES KENNEDY       4932 BREHOB RD                                                                                 INDIANAPOLIS        IN     46217‐3502
JAMES KENNEDY       1621 N 600 W                                                                                   MARION              IN     46952‐9154
JAMES KENNEDY       1611 ASHFORD LN                                                                                MIDLOTHIAN          TX     76065‐6353
JAMES KENNEDY       904 WILSON ST                                                                                  BAY CITY            MI     48708‐7774
JAMES KENNEDY       6692 WILLOW CREEK DR                                                                           HUBER HEIGHTS       OH     45424‐2485
JAMES KENNEDY       3934 HEATHER HOLW                                                                              WHITE LAKE          MI     48383‐1095
JAMES KENNEDY       2613 MCCOMAS AVE                                                                               DUNDALK             MD     21222‐2314
JAMES KENNEDY       645 AUSTIN CREEK DR                                                                            SUGAR HILL          GA     30518‐7211
JAMES KENNEDY       1203 N EXPRESSWAY 77 UNIT 445                                                                  HARLINGEN           TX     78552‐4644
JAMES KENNEDY       1961 MARY CATHERINE ST                                                                         YPSILANTI           MI     48198‐6246
JAMES KENNEDY       3094 BIG BUCK TRL                                                                              HALE                MI     48739‐8815
JAMES KENNEDY       7978 BROOKS RD                                                                                 BROWN CITY          MI     48416‐9048
JAMES KENNEDY       1400 RUTLEDGE LN                                                                               JASPER              AL     35503‐6306
JAMES KENNEDY       3033 HIGH POINTE RIDGE RD                                                                      LAKE ORION          MI     48359‐1176
JAMES KENNEDY       6140 RIDGEVIEW DR                                                                              HANOVERTON          OH     44423‐9729
JAMES KENNEDY       4875 EDGEWOOD DR                                                                               HAMBURG             NY     14075‐4033
JAMES KENNEDY       28645 HERNDONWOOD DR                                                                           FARMINGTON HILLS    MI     48334‐5234

JAMES KENNEDY
JAMES KENNEDY       7971 N NC HIGHWAY 150                                                                          LEXINGTON          NC      27295
JAMES KENNEL        1660 APPLE ORCHARD LN                                                                          WOLVERINE LAKE     MI      48390‐1805
JAMES KENNERLY      208 ORDIE DR                                                                                   REEVESVILLE        SC      29471‐4202
JAMES KENNEY        15350 PEACOCK RD                                                                               HASLETT            MI      48840‐9315
JAMES KENNEY        9110 N LIMA RD APT 13                                                                          POLAND             OH      44514‐3280
JAMES KENNEY        890 CANYON CREEK DR                                                                            HOLLY              MI      48442‐1560
JAMES KENNICOTT     10900 E BELLEVUE HWY                                                                           EATON RAPIDS       MI      48827‐8505
JAMES KENNY         3807 BUSH GARDENS LN                                                                           HOLT               MI      48842‐9401
JAMES KENOYER       1126 SHADY BOWER LN                                                                            SONORA             KY      42776‐9351
JAMES KENSINGER     2595 S FORREST HEIGHTS AVE                                                                     SPRINGFIELD        MO      65809‐3524
JAMES KENT          235 BOSTON AVE                                                                                 ELYRIA             OH      44035‐6203
JAMES KENT          5803 CAMBRIDGE CIR                                                                             SANDUSKY           OH      44870‐9792
JAMES KENT          1259 SHARON DR                                                                                 LAPEER             MI      48446‐3706
JAMES KENT          3425 BRADDOCK DR                                                                               DALE CITY          VA      22193
JAMES KERBY         3417 SPRINGBORO RD                                                                             LEBANON            OH      45036‐9606
JAMES KERBY         7682 E STATE ROAD 28                                                                           ELWOOD             IN      46036‐8445
JAMES KEREKES       80587 AYENDIA CAMARILLO                                                                        INDIO              CA      92203‐7522
JAMES KEREKES       80587 AVENIDA CAMARILLO                                                                        INDIO              CA      92203
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JAMES KERGAN        1440 CAVALCADE DR                                                                           AUSTINTOWN        OH 44515‐3845
JAMES KERKER        19 ISAAC DR                                                                                 WARRENTON         MO 63383‐3283
JAMES KERKMAZ       16464 EDINBURGH DR                                                                          CLINTON TOWNSHIP MI 48038‐2704

JAMES KERMAVNER     7764 LOUISE CT                                                                              WESTLAND         MI   48185‐2512
JAMES KERN          10862 MELISSA ANN DR                                                                        INDIANAPOLIS     IN   46234‐8908
JAMES KERN          9216 VAN GEISEN RD                                                                          REESE            MI   48757‐9537
JAMES KERNER        56 DUNNING AVE                                                                              BATTLE CREEK     MI   49037‐2046
JAMES KERNEY        1156 KINGSLAND AVE                                                                          SAINT LOUIS      MO   63130‐2612
JAMES KERNS         1405 IRONWORKS LN                                                                           TARPON SPGS      FL   34689‐2937
JAMES KERNS         PO BOX 26                                                                                   HORNER           WV   26372‐0026
JAMES KERR          3512 BLUEBELL LN APT 11                                                                     JACKSON          MI   49201‐7297
JAMES KERR          225 SE 63RD TER                                                                             OCALA            FL   34472‐7941
JAMES KERR          7076 LAKE AVE                                                                               ELYRIA           OH   44035‐2422
JAMES KERR          1776 E650 NORTH                                                                             ALEXANDRIA       IN   46001
JAMES KERR          3685 W BLUEWATER HWY                                                                        IONIA            MI   48846‐8559
JAMES KERRY         1101 E MANDEVILLE ST                                                                        BURTON           MI   48529‐1124
JAMES KERST         46277 JASMINE CT                                                                            CHESTERFIELD     MI   48047‐5258
JAMES KERSTETTER    320 FARRINGTON PL                                                                           FRANKLIN         TN   37069‐4306
JAMES KERTESZ       5401 S GENESEE RD                                                                           GRAND BLANC      MI   48439‐7640
JAMES KESEMEYER     4475 ANITA LN                                                                               AU GRES          MI   48703‐9639
JAMES KESLER        309 S HOWARD ST                PO BOX 117                                                   SUMMITVILLE      IN   46070‐9756
JAMES KESSELRING    10455 GERONIMOS TRL                                                                         GAYLORD          MI   49735‐9675
JAMES KESSLER       10133 N PARK AVE               STALEY FARMS‐THE RESERVE                                     KANSAS CITY      MO   64155‐2969
JAMES KESTERSON     181 COUNTY ROAD 1145                                                                        DAINGERFIELD     TX   75638‐3033
JAMES KETCHMARK     44 ARLINGTON DR                                                                             ROMEOVILLE       IL   60446‐1258
JAMES KETCHUM       1499 MICK RD                                                                                WELLSVILLE       OH   43968‐1823
JAMES KETNER        7387 PARKWOOD DR                                                                            FENTON           MI   48430‐9318
JAMES KETTEL        4485 W 156TH ST                                                                             CLEVELAND        OH   44135‐2723
JAMES KETTEMAN      401 SE 16TH ST                                                                              OAK GROVE        MO   64075‐9350
JAMES KETTINGER     1832 IMPERIAL DR                                                                            HIGHLAND         MI   48356‐1157
JAMES KEUSCH        9097 RATTALEE LAKE RD                                                                       CLARKSTON        MI   48348‐1635
JAMES KEVANY        3225 WALTER RD                                                                              NORTH OLMSTED    OH   44070‐1373
JAMES KEY           2642 DOUGLAS LN                                                                             THOMPSONS        TN   37179‐5008
                                                                                                                STATION
JAMES KEY           5763 LAKE CREST DR                                                                          COLUMBIAVILLE    MI   48421‐8942
JAMES KEYES         200 DAMON DR                                                                                EAST DUBLIN      GA   31027‐7351
JAMES KEYS          1334 SPRING ST                                                                              LATROBE          PA   15650‐2232
JAMES KEYS          202 TIMBER RIDGE CT                                                                         TROY             MO   63379‐5032
JAMES KEYSER        1372 DEROSIA TRL                                                                            EAST TAWAS       MI   48730‐9585
JAMES KEYTON        1711 ELIZABETH ST                                                                           LANSING          MI   48912‐2618
JAMES KHODL         1347 111TH AVE                                                                              OTSEGO           MI   49078‐9713
JAMES KIBLER        2409 VIKING DR                                                                              INDEPENDENCE     MO   64057‐1330
JAMES KICZENSKI     409 WALNUT ST                                                                               MOUNT MORRIS     MI   48458‐1950
JAMES KIDD          428 ELMHURST AVE                                                                            PARCHMENT        MI   49004‐1421
JAMES KIDDER        9173 220TH AVENUE                                                                           STANWOOD         MI   49346‐9506
JAMES KIDWELL       3 W FAIRFAX ST                                                                              BERRYVILLE       VA   22611‐1119
JAMES KIEFER        279 NELSON RD NW                                                                            MILLEDGEVILLE    GA   31061‐9788
JAMES KIELCZEWSKI   10395 CIRCLE J DR                                                                           FENTON           MI   48430‐9515
JAMES KIELING       5691 17 MILE RD NE                                                                          CEDAR SPRINGS    MI   49319‐9244
JAMES KIELPINSKI    1046 N MACKINAW RD                                                                          LINWOOD          MI   48634‐9542
JAMES KIFER         2614 US HIGHWAY 74 E                                                                        WADESBORO        NC   28170‐6108
JAMES KIFF          3373 E MOUNT MORRIS RD                                                                      MOUNT MORRIS     MI   48458‐8958
JAMES KIHM          708 ASHWORTH CIR                                                                            NASHVILLE        TN   37211‐6197
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Name                  Address1                        Address2                     Address3   Address4               City               State   Zip
JAMES KILBURN         573 W LOULA ST                                                                                 OLATHE              KS     66061‐4037
JAMES KILEY           3649 11TH ST NW                                                                                WASHINGTON          DC     20010‐1406
JAMES KILGORE         1778 HILLTOP DR                                                                                MILFORD             MI     48380‐3323
JAMES KILGORE         300 DECCA DR                                                                                   WHITE LAKE          MI     48386‐2121
JAMES KILGORE         475 WESTWOOD AVE                                                                               BRUNSWICK           OH     44212‐1811
JAMES KILGORE         73 NAVAJO TRL                                                                                  GIRARD              OH     44420‐3621
JAMES KILLEBREW       246 N LEAVITT RD                                                                               LEAVITTSBURG        OH     44430‐9799
JAMES KILLIAN         PO BOX 1719                                                                                    MABANK              TX     75147‐1719
JAMES KILLINGBECK     658 W LINWOOD RD                                                                               LINWOOD             MI     48634‐9714
JAMES KILLINGSWORTH   3038 225TH ST                                                                                  SAUK VILLAGE         IL    60411‐5846
JAMES KILLION         3957 GROOMS RD                                                                                 UNION CITY          TN     38261
JAMES KILLION         7434 OLD DYSINGER RD                                                                           LOCKPORT            NY     14094‐9324
JAMES KILLION JR      PO BOX 675                                                                                     DEFIANCE            OH     43512‐0675
JAMES KILROY          PO BOX 852                                                                                     ORLAND PARK          IL    60462‐0852
JAMES KILYANEK        7135 ELM ST                                                                                    TAYLOR              MI     48180‐2216
JAMES KIMBALL         PO BOX 1043                                                                                    BREMEN              GA     30110‐1043
JAMES KIMBALL         11361 AZALEA LN                                                                                FORT MYERS BEACH    FL     33931‐3198

JAMES KIMBEL          32524 MACKENZIE DR                                                                             WESTLAND           MI      48185‐1549
JAMES KIMBLE          220 HILBERT RD                                                                                 ROCKWELL           NC      28138‐9446
JAMES KIMBROUGH       5912 SALLY CT                                                                                  FLINT              MI      48505‐2566
JAMES KIMBROUGH       BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH      44236
JAMES KIMENER         1803 VERSAILLES DR                                                                             KOKOMO             IN      46902‐5960
JAMES KIMES           5525 SANDY LN                                                                                  COLUMBIAVILLE      MI      48421‐8967
JAMES KIMME           2711 BOYCE FAIRVIEW RD                                                                         ALVATON            KY      42122‐8697
JAMES KIMMEL          126 GWINNER ST                                                                                 ITHACA             MI      48847‐1514
JAMES KIMMET          159 HILLCREST BLVD                                                                             YPSILANTI          MI      48197‐4334
JAMES KIMPEL          PO BOX 202                                                                                     LAGRANGE           IN      46761‐0202
JAMES KINCAID         490 N LINCOLN ST                                                                               MARTINSVILLE       IN      46151‐1146
JAMES KINCAIDE        PO BOX 194                                                                                     GARDNER            KS      66030‐0194
JAMES KINDALL         118 PEARL ST                                                                                   MANISTIQUE         MI      49854‐1442
JAMES KINDE           1863 N CAMINO ALICANTE                                                                         TUCSON             AZ      85715‐4107
JAMES KINDER          6859 BALTIMORE ANNAPOLIS BLVD                                                                  LINTHICUM          MD      21090‐1601
JAMES KINDINIS        696 12TH STREET                                                                                CAMPBELL           OH      44405‐1144
JAMES KINER           383 SOUTH ST                                                                                   LOCKPORT           NY      14094‐3911
JAMES KING            1167 TERRY MOUNT RD.                                                                           MARTINSVILLE       VA      24112
JAMES KING            45163 LINDSEY DR                                                                               BELLEVILLE         MI      48111‐5340
JAMES KING            3926 S 450 E                                                                                   ANDERSON           IN      46017‐9706
JAMES KING            855 E ERIN CIR                                                                                 BELOIT             WI      53511‐6549
JAMES KING            6480 OLD MAYFIELD RD                                                                           PADUCAH            KY      42003‐9264
JAMES KING            1555 A1A S APT 8                                                                               SAINT AUGUSTINE    FL      32080‐5493
JAMES KING            531 BOSKER AVE                                                                                 KALAMAZOO          MI      49007‐2406
JAMES KING            11100 STATE RD 180                                                                             LAURELVILLE        OH      43135
JAMES KING            4505 THISTLE DR                                                                                DAYTON             OH      45427‐2837
JAMES KING            547 N UNION RD                                                                                 DAYTON             OH      45427‐1516
JAMES KING            6023 WILLIAMSBURG CT                                                                           INDIANAPOLIS       IN      46226‐3426
JAMES KING            694 KINGS RIDGE RD                                                                             MITCHELL           IN      47446‐5270
JAMES KING            2536 N C ST                                                                                    ELWOOD             IN      46036‐1624
JAMES KING            3946 RANDOLPH ST                                                                               SAGINAW            MI      48601‐4281
JAMES KING            4250 GROVELAND RD                                                                              ORTONVILLE         MI      48462‐8408
JAMES KING            2416 HARMONY DR                                                                                BURTON             MI      48509‐1161
JAMES KING            1970 LAURIA RD                                                                                 KAWKAWLIN          MI      48631‐9159
JAMES KING            490 EASTMAN RD                                                                                 BEULAH             MI      49617‐9773
JAMES KING            1155 SHABBONA RD                                                                               SNOVER             MI      48472‐9740
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Name                Address1                        Address2                      Address3            Address4               City                 State   Zip
JAMES KING          14432 APPLETREE LN                                                                                       FENTON                MI     48430‐1433
JAMES KING          327 PIPER BLVD                                                                                           DETROIT               MI     48215‐3037
JAMES KING          23845 VALLEY DR                                                                                          ROMULUS               MI     48174‐9503
JAMES KING          321 SELKIRK DR                                                                                           NORTH                 NY     14120‐2841
                                                                                                                             TONAWANDA
JAMES KING          8010 N HICKORY ST APT 922                                                                                KANSAS CITY          MO      64118‐8308
JAMES KING
JAMES KING          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS.          OH      44236
JAMES KING          BARON & BUDD P C                THE CENTRUM SUITE 1100        3102 OAK LAWN AVE                          DALLAS               TX      75219‐4281
JAMES KING          THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                              HOUSTON              TX      77017
JAMES KING          617 BRADLEY AVE                                                                                          FLINT                MI      48503‐5434
JAMES KING JR       7215 LANIER COVE CT                                                                                      CUMMING              GA      30041‐2196
JAMES KING JR       8145 WILDCAT RD                                                                                          TIPP CITY            OH      45371‐9278
JAMES KINGSLEY      4740 W BROWNVIEW DR                                                                                      JANESVILLE           WI      53545‐9041
JAMES KINLEY        1924 MCKINLEY ST                                                                                         ANDERSON             IN      46016‐4563
JAMES KINNETT       983 W 300 N                                                                                              NEW CASTLE           IN      47362
JAMES KINNEY        3549 CORNELL DR                                                                                          DAYTON               OH      45406‐4262
JAMES KINNEY        10432 WILSON RD                                                                                          MONTROSE             MI      48457‐9177
JAMES KINNEY        PO BOX 11                                                                                                IONIA                MI      48846‐0011
JAMES KINNEY        6129 LANSING RD                                                                                          PERRY                MI      48872‐9800
JAMES KINNEY        2167 E TOBIAS RD                                                                                         CLIO                 MI      48420‐7917
JAMES KINNIBRUGH    THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                              HOUSTON              TX      77017
JAMES KINSELLA      22437 CAROLINA ST                                                                                        SAINT CLAIR SHORES   MI      48080‐3830

JAMES KINSER        59 CENTER ST                                                                                             CEDARVILLE           OH      45314‐9505
JAMES KINSEY        112 FIDDLERS LN                                                                                          BUENA VISTA          GA      31803‐5241
JAMES KINSEY        49 TACOMA AVE. UPPER                                                                                     BUFFALO              NY      14216
JAMES KINZIE        3345 LAHRING RD                                                                                          LINDEN               MI      48451‐9434
JAMES KINZIE        1306 W CHAPEL PIKE                                                                                       MARION               IN      46952‐1839
JAMES KIPP          380 ANAHEIM HILLS ROAD                                                                                   ANAHEIM              CA      92807
JAMES KIRBY         7917 FLAJOLE RD                                                                                          BENTLEY              MI      48613‐9679
JAMES KIRBY         PO BOX 916                                                                                               YOUNG HARRIS         GA      30582‐0916
JAMES KIRBY         2220 OHIO AVE                                                                                            FLINT                MI      48506‐3864
JAMES KIRBY         12760 LUCAS FERRY RD                                                                                     ATHENS               AL      35611‐6030
JAMES KIRBY         1815 ZUBER RD                                                                                            GROVE CITY           OH      43123‐8902
JAMES KIRBY         8383 S SANDBAR DR                                                                                        CEDAR                MI      49621‐9548
JAMES KIRCHNER      1509 N PARKER CT # 2                                                                                     JANESVILLE           WI      53545‐0767
JAMES KIRK          3337 SOUTHWEST DR                                                                                        INDIANAPOLIS         IN      46241‐6542
JAMES KIRK          3264 N ARSENAL AVE                                                                                       INDIANAPOLIS         IN      46218‐1925
JAMES KIRK          5206 N PARK AVE                                                                                          KANSAS CITY          MO      64118‐5820
JAMES KIRK          6743 S 78TH AVE                                                                                          BRIDGEVIEW           IL      60455‐1008
JAMES KIRK          1081 E 360 N                                                                                             ANDERSON             IN      46012‐9212
JAMES KIRKEY        934 BENNETT RD                                                                                           BEDFORD              IN      47421‐7417
JAMES KIRKLAND      116 YUKON CT                                                                                             BOWLING GREEN        KY      42101‐0774
JAMES KIRKLAND      7135 SHELDON RD                                                                                          BELLEVILLE           MI      48111‐5107
JAMES KIRKLAND      829 EGGERT RD                                                                                            AMHERST              NY      14226‐4135
JAMES KIRKMAN       887 SUGAR HILL ADDN                                                                                      BEDFORD              IN      47421
JAMES KIRKPATRICK   2827 TALLMAN ST                                                                                          SANBORN              NY      14132‐9200
JAMES KIRKPATRICK   PO BOX 621                      419 E. AVENUE A                                                          ROSEBUD              TX      76570‐0621
JAMES KIRKWOOD      5013 CLINE HOLLOW RD                                                                                     EXPORT               PA      15632‐1705
JAMES KIRSCH        234 TUSCANY D. KINGS POINT                                                                               DELRAY BEACH         FL      33446
JAMES KIRT          1507 WESTWOOD DR                                                                                         ALBANY               GA      31721‐2938
JAMES KIRTLEY       895 PINE VALLEY LN                                                                                       CINCINNATI           OH      45245‐3324
JAMES KISER         154 PLANTATION DR                                                                                        MOORESVILLE          NC      28117‐5820
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JAMES KISER           103 N PINE ST                                                                               BRAZIL            IN     47834‐1558
JAMES KISER           BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS    OH     44236
JAMES KISH            11297 N WEBSTER RD                                                                          CLIO              MI     48420‐8235
JAMES KISH            515 LEITRAM ST                                                                              LANSING           MI     48915‐1951
JAMES KISH            PO BOX 394                                                                                  TECUMSEH          MI     49286‐0394
JAMES KISS            430 LEON AVE                                                                                PERTH AMBOY       NJ     08861‐2141
JAMES KISSICK         6002 SW 169 HWY                                                                             TRIMBLE           MO     64492
JAMES KISTLER         5055 HOAGLAND BLACKSTUB RD                                                                  CORTLAND          OH     44410‐9519
JAMES KITCHEN         PO BOX 135                                                                                  DEFORD            MI     48729‐0135
JAMES KITCHENS        16490 STATE ROAD 156                                                                        PATRIOT           IN     47038‐9216
JAMES KITKA           16430 CLARKSON DR                                                                           FRASER            MI     48026‐3585
JAMES KITKO           2622 MARLAND DR                                                                             HINCKLEY          OH     44233‐9114
JAMES KITTLE          4280 LEAVITT DR NW                                                                          WARREN            OH     44485‐1105
JAMES KITZMAN II      33250 FLANDERS ST                                                                           FARMINGTON        MI     48336‐5035
JAMES KIVLIN          35325 CHESTNUT ST                                                                           WAYNE             MI     48184‐1255
JAMES KLAMAN          909 S FORK CIR                                                                              MELBOURNE         FL     32901‐8431
JAMES KLASENER        604 LINCOLN CT                                                                              WARRENTON         MO     63383‐2819
JAMES KLASOVSKY       1867 CELESTE CIR                                                                            YOUNGSTOWN        OH     44511
JAMES KLEIBER         1253 DICKENS DR                                                                             TROY              MI     48083‐5206
JAMES KLEIN           9239 HERITAGE GLEN DR                                                                       MIAMISBURG        OH     45342‐7411
JAMES KLEIN           22210 COUNTY ROAD #628                                                                      HILLMAN           MI     49746
JAMES KLEIN           7450 FRIEND RD                                                                              PORTLAND          MI     48875‐8616
JAMES KLEIN           16335 WORDEN RD                                                                             HOLLY             MI     48442‐9785
JAMES KLEINTANK       6295 N ELMS RD                                                                              FLUSHING          MI     48433‐9002
JAMES KLEITCHES SR
JAMES KLEMANN         1986 CUNNINGHAM RD                                                                          SALEM            OH      44460‐9407
JAMES KLEMISH         5350 HERITAGE DR                                                                            SAGINAW          MI      48603‐1737
JAMES KLENOSKI        3030 SUGARMANS TRL                                                                          FORT WAYNE       IN      46804‐2449
JAMES KLEPOCH         5352 BARNES RD                                                                              MILLINGTON       MI      48746‐8709
JAMES KLESS           168 BELMONT CT E                                                                            N TONAWANDA      NY      14120‐4809
JAMES KLEYLA          4359 E 500 N                                                                                ALEXANDRIA       IN      45001‐8709
JAMES KLICK           1210 BAY RIDGE DR                                                                           BENTON           LA      71006‐3481
JAMES KLINE           4205 N HILL DR                                                                              SPRUCE           MI      48762‐9519
JAMES KLINE           3035 S PECK DR                                                                              INDEPENDENCE     MO      64055‐2844
JAMES KLINE           713 ELLSWORTH DR                                                                            TROTWOOD         OH      45426‐2515
JAMES KLINE           5078 PRESTONWOOD LN                                                                         FLUSHING         MI      48433‐1380
JAMES KLING           110 KENSINGTON PL                                                                           COLUMBIA         TN      38401‐8884
JAMES KLINGBEIL       6074 BRITTON RD                                                                             PERRY            MI      48872‐9752
JAMES KLINGLER        223 PUNTA ALTA CT                                                                           LEHIGH ACRES     FL      33936‐5836
JAMES KLINKENBERGER   3495 DECKERVILLE RD                                                                         CASS CITY        MI      48726‐9395
JAMES KLINSKI         4304 KUERBITZ DR                                                                            BAY CITY         MI      48706‐2224
JAMES KLOIBER         402 WRENLEIGH DR                                                                            BALTIMORE        MD      21228‐4257
JAMES KLONICA         14116 PEDDLERS FRD                                                                          FORT WAYNE       IN      46814‐9446
JAMES KLONOWSKI       4966 LORRAINE AVE                                                                           SAGINAW          MI      48604‐1010
JAMES KLOSINSKI       20037 SCHICK RD                                                                             DEFIANCE         OH      43512‐9758
JAMES KLUGHART        443 S BRIARCLIFF DR                                                                         CANFIELD         OH      44406‐1018
JAMES KNAPP           483 PARMA CENTER RD                                                                         HILTON           NY      14468‐9313
JAMES KNAPP           823 CANYON CREEK DR                                                                         HOLLY            MI      48442‐1560
JAMES KNAPP           2200 W OREGON ST                                                                            LAPEER           MI      48446‐1125
JAMES KNECHT          2767 W SHELBY LN                                                                            COVINGTON        IN      47932‐8067
JAMES KNEESHAW        6319 N MCKINLEY RD                                                                          FLUSHING         MI      48433‐2900
JAMES KNELL           304 WENTWORTH AVE                                                                           BATTLE CREEK     MI      49015‐3256
JAMES KNEPPER         1829 LARCHMONT AVE NE                                                                       WARREN           OH      44483‐3505
JAMES KNICK           8547 N PARK TRL                                                                             SHREVEPORT       LA      71107‐9528
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JAMES KNIGHT          2955 BUCK RUN DR                                                                               MARION           IN     46952‐9637
JAMES KNIGHT          164 BATH ST                                                                                    ELYRIA           OH     44035‐3502
JAMES KNIGHT          2999 HIGHWAY 496                                                                               MERIDIAN         MS     39301‐8994
JAMES KNIGHT          3920 DILL DR                                                                                   WATERFORD        MI     48329‐2136
JAMES KNIGHT          12381 E POTTER RD                                                                              DAVISON          MI     48423‐8189
JAMES KNIPP           8916 BARNSTABLE DR                                                                             BRIGHTON         MI     48116‐2003
JAMES KNISELY         17454 ELLSWORTH RD                                                                             LAKE MILTON      OH     44429‐9571
JAMES KNOFF           6655 JACKSON RD UNIT 779        C/O KATHLEEN PIERCE                                            ANN ARBOR        MI     48103‐9684
JAMES KNOFSKI         10450 HADLEY RD                                                                                GREGORY          MI     48137‐9672
JAMES KNOLL           100 LANE 650D                                                                                  FREMONT          IN     46737
JAMES KNOTT           1116 MEADOW RD.DR                                                                              TOWNVILLE        SC     29689
JAMES KNOTTS          8320 SURRY RD                                                                                  FREDERICKSBRG    VA     22407‐9412
JAMES KNOTTS          334 ERIE ST                                                                                    LAPEL            IN     46051‐9685
JAMES KNOTTS          48 GUNTHER STEVENS CV                                                                          BYHALIA          MS     38611‐7618
JAMES KNOTTS          4149 S HENDERSON RD                                                                            DAVISON          MI     48423‐8731
JAMES KNOWLES         10395 WILSON RD                                                                                MONTROSE         MI     48457‐9176
JAMES KNOX            1 CHIPPEWA CT                                                                                  ARCANUM          OH     45304‐1369
JAMES KNOX            8070 GRAND BLANC RD                                                                            SWARTZ CREEK     MI     48473‐7620
JAMES KNOX            2001 E HIGHLAND AVE                                                                            MUNCIE           IN     47303‐3229
JAMES KNOX            48597 LAFAYETTE DR                                                                             MACOMB           MI     48044‐5629
JAMES KNOX            2709 NEW LEWISBURG HWY                                                                         LEWISBURG        TN     37091‐6734
JAMES KNOX JR         3051 SHATTUCK ARMS BLVD APT 7                                                                  SAGINAW          MI     48603‐2114
JAMES KNOX JR         C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                      HOUSTON          TX     77007
                      BOUNDAS LLP
JAMES KNUCKLES        1085 E YALE AVE                                                                                FLINT           MI      48505‐1516
JAMES KOBIELSKI       15600 WINDEMERE ST                                                                             SOUTHGATE       MI      48195‐3822
JAMES KOBUS           1381 WAVERLY DRIVE                                                                             WHITE LAKE      MI      48386‐4549
JAMES KOCH            3312 ARBUTUS DR                                                                                SAGINAW         MI      48603‐1987
JAMES KOCH            493 FRANCONIAN DR E                                                                            FRANKENMUTH     MI      48734‐1001
JAMES KOCHIS          9408 MELBOURNE AVE                                                                             ALLEN PARK      MI      48101‐1452
JAMES KOCIENCKI       16 DARTWOOD DR                                                                                 CHEEKTOWAGA     NY      14227‐3120
JAMES KOCOT           102 IRENE ST                                                                                   BUFFALO         NY      14207‐1053
JAMES KOCSIS          4281 FRANKLIN TRL                                                                              STERLING        MI      48659‐9405
JAMES KOCSIS          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.     OH      44236
JAMES KOEBERL         4228 PARK VIEW DR                                                                              JANESVILLE      WI      53546‐2146
JAMES KOEBKE          3549 KRAFFT RD                                                                                 FORT GRATIOT    MI      48059‐3706
JAMES KOEHLER         376 TURNER DR                                                                                  LEBANON         OH      45036‐1031
JAMES KOEHLER         19039 ELSMERE AVE                                                                              EAST DETROIT    MI      48021‐2016
JAMES KOELLING        9019 NE 157TH ST                                                                               SMITHVILLE      MO      64089‐8108
JAMES KOENIG          5234 OTTAWA DR                                                                                 FAIRBORN        OH      45324‐1926
JAMES KOENIG          61 NEFF DR                                                                                     CANFIELD        OH      44406‐1344
JAMES KOENIGSKNECHT   PO BOX 244                                                                                     FOWLER          MI      48835‐0244
JAMES KOERNER         22015 RAYMOND ST                                                                               ST CLAIR SHRS   MI      48082‐1573
JAMES KOGER           1679 PENNS CHAPEL RD                                                                           BOWLING GREEN   KY      42101‐8619
JAMES KOHOUT          29647 OHMER DR                                                                                 WARREN          MI      48092‐3374
JAMES KOIS            8824 ALTURA DR NE                                                                              WARREN          OH      44484‐1728
JAMES KOKAI           915 HAMPTON DR                                                                                 ELYRIA          OH      44035‐0919
JAMES KOLACZ          5962 ROSSMAN RD                                                                                KINGSTON        MI      48741‐9707
JAMES KOLASA          7515 COUNTRY CLUB DR                                                                           BROOKSVILLE     FL      34613‐5716
JAMES KOLBE           81 NICHOLAS DR N                                                                               TONAWANDA       NY      14150‐6107
JAMES KOLESAR         88 WINCHESTER ST                                                                               ROCHESTER       NY      14615‐2334
JAMES KOLHOFF         11368 OREGON CIR                                                                               FENTON          MI      48430‐2496
JAMES KOLIS           335 GREENE ST                                                                                  BUFFALO         NY      14206‐1024
JAMES KOLLMAN         1410 MAIN ST                    P.O. BOX 1410                                                  SNOVER          MI      48472‐7704
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JAMES KOLODZIEJ      5514 WEST OTTO PLACE                                                                           OAK LAWN             IL    60453
JAMES KOLP           12281 MOCERI DR                                                                                GRAND BLANC         MI     48439‐1925
JAMES KOMOSINSKI     7614 HOPE FARM RD                                                                              FORT WAYNE          IN     46815‐6542
JAMES KONDOLIOS      776 BELVEDERE AVE NE                                                                           WARREN              OH     44483‐4228
JAMES KONDZIOLA      8963 FORESTVILLE RD                                                                            FAIRGROVE           MI     48733
JAMES KONEN          203 MAGNOLIA RD                                                                                PEMBERTON           NJ     08068‐1805
JAMES KONENSKI       9817 BEECH TREE LN                                                                             FRANKENMUTH         MI     48734‐9101
JAMES KONIECZKA      11089 CLAR EVE DR                                                                              OTISVILLE           MI     48463‐9434
JAMES KONIECZKA      6900 SHERIDAN RD                                                                               SAGINAW             MI     48601‐9767
JAMES KONIECZKA      2041 W HUCKLEBERRY RD                                                                          SANFORD             MI     48657‐9639
JAMES KONKLE         11407 CASA LOMA                                                                                BRIGHTON            MI     48114‐9080
JAMES KONOPKA        14964 STONEHAM LN                                                                              RIVERVIEW           MI     48193‐7720
JAMES KONRAD         4838 HOMERDALE AVE                                                                             TOLEDO              OH     43623‐2960
JAMES KONTRANOWSKI   2500 FITZHUGH ST                                                                               BAY CITY            MI     48708‐8673
JAMES KONTUR         2606 PARKWOOD VILLAGE LN                                                                       CENTRAL POINT       OR     97502‐3536
JAMES KOONS          6611 ROBINHOOD DR                                                                              ANDERSON            IN     46013‐9542
JAMES KOONS          120 E MAPLE TURN RD                                                                            MARTINSVILLE        IN     46151‐8040
JAMES KOONTZ         1216 WHITEHALL DR                                                                              BOSSIER CITY        LA     71112‐4546
JAMES KOPELOS        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.         OH     44236
JAMES KOPICKO        6536 SHARON ST                                                                                 GARDEN CITY         MI     48135‐2024
JAMES KOPP           1621 SW 64TH WAY                                                                               BOCA RATON          FL     33428‐6755
JAMES KOPSCHITZ      1120 PEET RD                                                                                   NEW LOTHROP         MI     48460‐9618
JAMES KORAL          9 WINDING WAY                                                                                  LANCASTER           NY     14086‐9693
JAMES KOREN          2869 HOPE RIDGE DR                                                                             EASTON              PA     18045‐8150
JAMES KORF           15030 S 6TH ST                                                                                 SCHOOLCRAFT         MI     49087‐8492
JAMES KORN           PO BOX 90074                                                                                   BURTON              MI     48509‐0074
JAMES KORNAS         427 YARMOUTH RD                                                                                BLOOMFIELD HILLS    MI     48301‐2748
JAMES KORTES         22413 REVERE ST                                                                                ST CLAIR SHRS       MI     48080‐2881
JAMES KORTGE         PO BOX 108                                                                                     FENTON              MI     48430‐0108
JAMES KORTGE         446 KENSINGTON AVE                                                                             FERNDALE            MI     48220‐2345
JAMES KORTH          PO BOX 115                                                                                     CAPAC               MI     48014‐0115
JAMES KOSAL          4352 S SHERIDAN RD                                                                             SHERIDAN            MI     48884‐8207
JAMES KOSBIE
JAMES KOSHAK         COON BRENT & ASSOCIATES PC      TWO PENN CENTER 1500 JFK                                       PHILADELPHIA        PA     19102
                                                     BOULEVARD SUITE 1301
JAMES KOSINSKI JR    28W415 MACK RD                                                                                 WEST CHICAGO       IL      60185‐4433
JAMES KOSISKO        3400 W 91ST ST                                                                                 CLEVELAND          OH      44102‐4836
JAMES KOSKY          4721 NANTUCKET CT                                                                              COMMERCE TWP       MI      48382‐1171
JAMES KOST           4424 WILSON SHARPSVILLE RD                                                                     CORTLAND           OH      44410‐9463
JAMES KOST           8425 EVELYN DR                                                                                 LYONS              MI      48851‐9616
JAMES KOSTELIC SR    320 BRADFORD DR                                                                                CANFIELD           OH      44406‐1003
JAMES KOSTER         1012 N CONSTITUTION DR                                                                         TUCSON             AZ      85748‐1976
JAMES KOTAJARVI      E3877 KENNEDY RD                                                                               SPRING GREEN       WI      53588‐9273
JAMES KOTARAK        7398 HUNTINGTON DR                                                                             OSCODA             MI      48750‐8750
JAMES KOTT           3168 CHESTNUT RD                                                                               SEVEN HILLS        OH      44131‐3616
JAMES KOTTERMAN      1457 E CO RD 550 N                                                                             PERU               IN      46970
JAMES KOURT          4117 WEBSTER WAY                                                                               BRITTON            MI      49229‐8725
JAMES KOUTNY         607 WALNUT ST APT 4                                                                            LEMONT             IL      60439‐4061
JAMES KOVACH         1023 E GARRISON RD                                                                             OWOSSO             MI      48867‐9714
JAMES KOVACS         705 PHEASANT WOODS RD                                                                          BRIARCLIFF MANOR   NY      10510‐2067

JAMES KOVALCIK       8442 GALLANT FOX TRL                                                                           FLUSHING           MI      48433‐8826
JAMES KOVAR          W3938 LAKE MARY DR N                                                                           VULCAN             MI      49892‐8454
JAMES KOVATCH        903 SUNSET DR                                                                                  MANSFIELD          OH      44905‐2565
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Name                  Address1                        Address2                     Address3   Address4               City               State   Zip
JAMES KOWALIK         28437 DAWSON ST                                                                                GARDEN CITY         MI     48135‐2441
JAMES KOWALKOWSKI     APT 603                         6105 CREEKWAY LANE                                             ARLINGTON           TX     76017‐6177
JAMES KOWALSKI        868 CLEVELAND DR                                                                               BUFFALO             NY     14225
JAMES KOWALSKI        918 S MACKINAW RD                                                                              KAWKAWLIN           MI     48631‐9471
JAMES KOWALSKI        7485 S STEEL RD                                                                                SAINT CHARLES       MI     48655‐9734
JAMES KOWALSKI        1010 MICHIGAN AVE                                                                              BAY CITY            MI     48708‐8765
JAMES KOZAK           6510 E WASHINGTON RD                                                                           SAGINAW             MI     48601‐9652
JAMES KOZAN           301 GUN CLUB RD                                                                                CARO                MI     48723‐9483
JAMES KOZEL           481 RIVER RIDGE DR                                                                             WATERFORD           MI     48327‐2886
JAMES KOZIELEC        116 PIMA LN                                                                                    LODA                 IL    60948‐9671
JAMES KOZLOWSKI       11958 BISHOP RD                                                                                SAINT CHARLES       MI     48655‐9628
JAMES KOZLOWSKY       20652 DONNY BROOK RD                                                                           MAPLE HEIGHTS       OH     44137‐3110
JAMES KRAEMER         712 N WESTERN AVE                                                                              MARION              IN     46952‐3402
JAMES KRAFT           36 CLEARFIELD DR                                                                               WILLIAMSVILLE       NY     14221‐2402
JAMES KRAFT           7044 FELIX DR                                                                                  CLARKSTON           MI     48346‐2614
JAMES KRAKOWIAK       9668 CARMELO CT                                                                                CLARENCE CENTER     NY     14032‐9159
JAMES KRALY           BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS      OH     44236
JAMES KRAMER          4649 KINGSWOOD DR                                                                              BRIGHTON            MI     48116‐9407
JAMES KRAMER          11220 PHYLLIS DR                                                                               CLIO                MI     48420‐1561
JAMES KRAMER JR       3388 FULS RD                                                                                   FARMERSVILLE        OH     45325‐9260
JAMES KRANS           236 S MAPLE ST                                                                                 ZEELAND             MI     49464‐1914
JAMES KRANTZ          3228 COVE RD                                                                                   UNION MILLS         NC     28167‐8618
JAMES KRATZER         979 S GEORGE RD                                                                                CLARKSVILLE         OH     45113‐9757
JAMES KRAUS           1323 OAKLAND AVE                                                                               JANESVILLE          WI     53545‐4242
JAMES KRAUS           501 HARBAUGH DR                                                                                COLDWATER           MI     49036‐7537
JAMES KRAUSE          606 SHADY LN                                                                                   CHINA               MI     48054‐4185
JAMES KRAUSE          8261 ROLLING HILL LN                                                                           GRAND LEDGE         MI     48837‐9251
JAMES KRAUSS          1403 WILSON CT                                                                                 COLUMBIA            TN     38401‐5267
JAMES KREBS           8797 CARRIAGE LN                                                                               PENDLETON           IN     46064‐9339
JAMES KREGER          381 MILLER LAKE RD                                                                             COLUMBIAVILLE       MI     48421‐9715
JAMES KREIDER         1160 ANSLEY AVE SW                                                                             VERO BEACH          FL     32968‐5080
JAMES KREIS           4591 E KINSEL HWY                                                                              CHARLOTTE           MI     48813‐9742
JAMES KREITNER        1539 CEDARBROOK PL                                                                             SIDNEY              OH     45365
JAMES KRENK           1248 BURNINGBUSH CT                                                                            TEMPERANCE          MI     48182‐1553
JAMES KREPEL          328 E PRAIRIE ST                                                                               VICKSBURG           MI     49097‐1253
JAMES KREUTZER        1390 KING TREE DR                                                                              DAYTON              OH     45405‐1401
JAMES KREY            1125 E HURON RIVER DR                                                                          VAN BUREN TWP       MI     48111‐2875
JAMES KRINER          608 ELLERDALE RD                                                                               CHESTERFIELD        IN     46017‐1426
JAMES KRING           1903 CLEBURN DR                                                                                ARLINGTON           TX     76012‐2029
JAMES KRISTANOFF SR   305 QUAIL RUN RD                                                                               MIDDLETOWN          OH     45042‐3839
JAMES KROEGER         12674 ROAD X                                                                                   LEIPSIC             OH     45856‐9296
JAMES KROLIK          10751 CHRISTINA DR                                                                             WRIGHT CITY         MO     63390‐4632
JAMES KROTZ           2377 FORMOSA RD                                                                                TROY                 IL    62294‐3173
JAMES KROUSE          3923 NE CHAUMIERE RD                                                                           KANSAS CITY         MO     64117‐2127
JAMES KRUCZEK         13425 WEBSTER RD                                                                               STRONGSVILLE        OH     44136‐4543
JAMES KRUEGER         1159 BIRCH RD                                                                                  SAGINAW             MI     48609‐4849
JAMES KRUEGER         9600 WOLF CREEK RD                                                                             HUBBARD LAKE        MI     49747‐9519
JAMES KRUGER          38927 PLUMBROOK DR                                                                             FARMINGTON HILLS    MI     48331‐2970

JAMES KRUKOWSKI       1420 S AIRPORT RD                                                                              SAGINAW             MI     48601‐9484
JAMES KRULL           5074 RAINBOW TROUT RD                                                                          TAVARES             FL     32778‐9142
JAMES KRUPA           3000 BRISTOL OXFORD VALLEY RD                                                                  LEVITTOWN           PA     19057‐3634
JAMES KRYS            1805 S BEYER RD                                                                                SAGINAW             MI     48601‐9443
JAMES KRZAK           7255 EDERER RD                                                                                 SAGINAW             MI     48609‐5381
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Name                         Address1                             Address2                     Address3          Address4               City              State   Zip
JAMES KRZEWSKI               383 WHITE TAIL CT SW                                                                                       GRANDVILLE         MI     49418‐9419
JAMES KRZYMINSKI             1472 CHARLES ST                                                                                            ESSEXVILLE         MI     48732‐1903
JAMES KUBCZAK                9815 W TITTABAWASSEE RD                                                                                    FREELAND           MI     48623‐8886
JAMES KUBIAK                 PO BOX 1671                                                                                                SPRING HILL        TN     37174‐1671
JAMES KUBINSKI               8681 LAKE RD                                                                                               GROSSE ILE         MI     48138‐1958
JAMES KUCHTA                 1627 EMPIRE RD                                                                                             WICKLIFFE          OH     44092‐1009
JAMES KUERBITZ               2874 N US HIGHWAY 23                                                                                       OSCODA             MI     48750‐9533
JAMES KUHL                   1140 FAIRWAYS BLVD                                                                                         TROY               MI     48085‐6112
JAMES KUHNELL                4042 NICHOLSON RD                                                                                          CLARKSVILLE        OH     45113‐8651
JAMES KUHNS                  3596 LOVELAND CT                                                                                           MORAINE            OH     45418‐2960
JAMES KUJAWSKI
JAMES KUKULA                 14255 EAST PLACITA ROCIANA                                                                                 TUCSON            AZ      85747‐9036
JAMES KULICH                 219 AERONICA DR                                                                                            ZWOLLE            LA      71486‐4026
JAMES KUMKOSKI               PO BOX 381                                                                                                 CASPIAN           MI      49915‐0381
JAMES KUNDINGER              2577 S RIVER RD                                                                                            SAGINAW           MI      48609‐5327
JAMES KUNESH                 4276 GLENBURG RD                                                                                           DEFIANCE          OH      43512‐8271
JAMES KUNKEL                 5751 WENGLER DR                                                                                            BROOK PARK        OH      44142‐2128
JAMES KUNTZ                  6106 WESTLAKE AVE                                                                                          PARMA             OH      44129‐2352
JAMES KUPETZ                 26700 RUSSELL RD                                                                                           BAY VILLAGE       OH      44140‐2226
JAMES KUPSKI                 51076 SIOUX DR                                                                                             MACOMB            MI      48042‐6035
JAMES KURANT                 26 SAINT LOUIS RD                                                                                          COLLINSVILLE      IL      62234‐1922
JAMES KURCHAK                712 LOESSEL CT                                                                                             BAY CITY          MI      48706‐4113
JAMES KURCHAK                3009 E BIRCH DR                                                                                            BAY CITY          MI      48706‐1201
JAMES KURIHARA               PO BOX 104                                                                                                 FORT MC COY       FL      32134‐0104
JAMES KURLINSKI              15237 WINTERPARK DR                                                                                        MACOMB            MI      48044‐3871
JAMES KURNCZ                 5188 N SCOTT RD                                                                                            SAINT JOHNS       MI      48879‐9408
JAMES KURNIK                 4220 CENTER RD                                                                                             LINDEN            MI      48451‐9665
JAMES KURTZ                  12456 2ND ST APT 105                                                                                       YUCAIPA           CA      92399‐4236
JAMES KURTZ                  516 MOUND AVE                        12456 2ND #105                                                        YUCAIPA           CA      92399
JAMES KURTZ                  516 MOUND AVE‐MIAMISBURG OHIO        12456 2ND #105 ( SECONDARY                                            YUCAIPA           CA      92399
                                                                  ADDRESS)
JAMES KUSHNER                48586 WATERFORD DR                                                                                         MACOMB            MI      48044‐1878
JAMES KUSMITS                11671 KIRKLAND ST                                                                                          CANAL FULTON      OH      44614‐8226
JAMES KUTER                  209 RIDGE CREEK DR                                                                                         JANESVILLE        WI      53548‐5825
JAMES KUZMA                  4075 E FARRAND RD                                                                                          CLIO              MI      48420‐9131
JAMES KUZMAN                 962 BROADACRES DR SE                                                                                       WARREN            OH      44484‐2664
JAMES KWAPIS                 37158 ALMONT DR W                                                                                          STERLING HTS      MI      48310‐4023
JAMES KWIATKOSKI             204 QUAIL DR                                                                                               CAPAC             MI      48014‐3740
JAMES KWIATKOWSKI            513 KENTUCKY DR                                                                                            ROCHESTER HILLS   MI      48307‐3736
JAMES KWIATKOWSKI            10171 FAETANO LN                                                                                           MILAN             MI      48160‐9015
JAMES KYLE                   58 WINDHAM RD                                                                                              NEWTON FALLS      OH      44444‐1251
JAMES KYLE                   1402 S CAGE BLVD                     NO 126                                                                PHARR             TX      78577‐6222
JAMES KYLE JR                859 LAKEPOINTE ST                                                                                          GROSSE POINTE     MI      48230‐1707
                                                                                                                                        PARK
JAMES KYLES                  4533 AVA LN                                                                                                CLARKSTON         MI      48348‐5174
JAMES KYLES                  3822 KIEST VALLEY PKWY                                                                                     DALLAS            TX      75233‐1628
JAMES KYSER                  1989 E BLANCHARD RD                                                                                        SHEPHERD          MI      48883‐9555
JAMES L & ELIZABETH WEAVER   REV LIV TR                           1314 CARPENTER FLETCHER RD                                            DURHAM            NC      27713
JAMES L & PATRICIA L DOLNY   1271 11TH AVE                                                                                              NATRONA HTS       PA      15065‐1110
JAMES L ALEXANDER            NIX PATTERSON & ROACH LLP            GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD      TX      75638
JAMES L ALEXANDER            C/O CONNIE A. SARGENT                4227 WILLOW RUN DRIVE                                                 BEAVERCREEK       OH      45430
JAMES L ALFORD               N CAPITOL AVE KENNETH G DEBOER 615                                                                         LANSING           MI      48933‐1232

JAMES L ALLARD               540 BRANBURY COURT                                                                                         BRANDON           MS      39047‐8019
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Name                                  Address1                             Address2                     Address3               Address4               City            State   Zip
JAMES L ANSON                         4081 WOODSIDE DR N.W.                                                                                           WARREN           OH     44483‐2160
JAMES L ARMON                         2422 WYNNDIKE CIRCLE                                                                                            JACKSON          MS     39209‐3723
JAMES L ARMSTRONG                     1833 WOODS DR                                                                                                   DAYTON           OH     45432‐2259
JAMES L ARNETT                        2215 WOODSTOCK CT                                                                                               TROY             OH     45373
JAMES L ARNOLD                        3231 PHILADELPHIA DRIVE UNIT 2                                                                                  DAYTON           OH     45406
JAMES L ASHE                          1018 BERTRAM AVE.                                                                                               DAYTON           OH     45406‐5711
JAMES L ASHER                         102 ELMWOOD DRIVE                                                                                               SPRINGBORO       OH     45066
JAMES L BAGWELL                       8468 WOODRIDGE DR                                                                                               DAVISON          MI     48423‐8389
JAMES L BAILEY                        C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY STE 600                                                  HOUSTON          TX     77007
                                      BOUNDAS LLP
JAMES L BARKER                        RR 3 BOX 366                                                                                                    OLIVE HILL      KY      41164‐9213
JAMES L BARNES                        2812 LAKEVIEW AVE                                                                                               DAYTON          OH      45408‐1655
JAMES L BATTON                        C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY, STE 600                                                 HOUSTON         TX      77007
                                      BOUNDAS, LLP
JAMES L BEARD                         6777 SELMA RD                                                                                                   SO CHARLESTON   OH      45368
JAMES L BECKWITH                      316 MADISON ST                                                                                                  JANESVILLE      WI      53548‐3638
JAMES L BELINSKY                      2479 WAYBURN AVE                                                                                                MOUNT MORRIS    MI      48458‐8203
JAMES L BENNETT                       2118 CRAIG DR                                                                                                   KETTERING       OH      45420
JAMES L BERGER                        8055 MARTZ RD                                                                                                   VERSAILLES      OH      45380
JAMES L BOOMERSHINE                   2903 PINEGROVE DR                                                                                               W. CARROLLTON   OH      45449‐3352
JAMES L BRADLEY                       627 W K ST                                                                                                      RUSSELLVILLE    AR      72801‐3440
JAMES L BRAXTON JR                    6614 CLAYTON ROAD‐SUITE 326                                                                                     SAINT LOUIS     MO      63117
JAMES L BROTZMAN                      804 S LINE ST                                                                                                   CHESANING       MI      48616‐1457
JAMES L BROWN                         178 EMERICK RD                                                                                                  WEST MILTON     OH      45383‐1362
JAMES L BROWN                         9918 E ST                                                                                                       OAKLAND         CA      94603‐2341
JAMES L BRYANT II                     2814 SHERER AVE.                                                                                                DAYTON          OH      45414
JAMES L BURKE                         2468 WEST SIDE DRIVE                                                                                            NORTH CHILI     NY      14514‐1041
JAMES L BUSH                          5276 SPRINGBORO RD                                                                                              LEBANON         OH      45036‐9009
JAMES L CALDWELL                      6741 WILLOW CREEK DR                                                                                            HUBER HEIGHTS   OH      45424‐2470
JAMES L CALLERAME                     11 THOMAS MARIA CIR                                                                                             WEBSTER         NY      14580‐2212
JAMES L CAMPBELL                      708 OAKRIDGE DR                                                                                                 BOARDMAN        OH      44512‐3547
JAMES L CARTER                        5955 BUFFALO VALLEY ROAD                                                                                        COOKEVILLE      TN      38501‐6674
JAMES L CARTER SR                     322 CHANDLER ST                                                                                                 DETROIT         MI      48202‐2846
JAMES L CELCER                        233 TAMARACK DR                                                                                                 UNION CITY      CA      94587‐1310
JAMES L CHOJNICKI                     60 ROWLEY RD                                                                                                    CHEEKTOWAGA     NY      14227‐1622
JAMES L CLANIN                        9205 N STATE R48                                                                                                CENTERVILLE     OH      45458‐‐ 00
JAMES L COHOL                         8765 DILLON DR. S.E.                                                                                            WARREN          OH      44484‐3105
JAMES L COLBERT AND MARIE K COLBERT   2003 JAMES L & MARIE K COLBERT REV   UA 05/27/03                  625 MARKET ST 7TH FL                          SAN FRANCISCO   CA      94105‐3302
TTEES                                 TRUST
JAMES L COLLINS                       15 CATHERINE CT                                                                                                 GERMANTOWN      OH      45327‐9302
JAMES L CONKLIN                       7125 S MERIDIAN RD                                                                                              MERRILL         MI      48637‐9628
JAMES L COOK                          8188 DODGE RD                                                                                                   MONTROSE        MI      48457‐9133
JAMES L COPELAND                      10291S.800WEST                                                                                                  FAIRMOUNT       IN      46928
JAMES L COSSIN                        141 DIANA LANE, W.                                                                                              FAIRBORN        OH      45324‐4207
JAMES L COTTON                        15255 EDMORE DR                                                                                                 DETROIT         MI      48205‐1348
JAMES L CREECH                        C/O NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                               DAINGERFIELD    TX      75638
JAMES L CREECH                        1202 KATHERINE DR                                                                                               BEAVERCREEK     OH      45434
JAMES L CRISP                         1321 JACKSBORO TRAIL                                                                                            MORRISON        TN      37357
JAMES L CROW                          420 FOREST DR                                                                                                   WILMINGTON      DE      19804‐2320
JAMES L CUMMINGS                      2334 RUSTIC RD                                                                                                  DAYTON          OH      45406‐2136
JAMES L CUYLER                        7 PINECLIFF DR                                                                                                  ROCHESTER       NY      14609‐3705
JAMES L DALTON                        4008 FRANKLIN                                                                                                   BELLBROOK       OH      45305‐1545
JAMES L DARST                         12400 TROY RD                                                                                                   NEW CARLISLE    OH      45344‐9546
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Name                   Address1                        Address2                         Address3   Address4               City               State Zip
JAMES L DAVIS          P.O. BOX 653                                                                                       HOMOSASSA           FL 34447‐0653
                                                                                                                          SPRINGS
JAMES L DAVIS JR       P O BOX 653                                                                                        HOMOSASSA           FL   34447‐0653
                                                                                                                          SPRINGS
JAMES L DE BOARD       6252 EDITH NANKIPOO RD LOT 5                                                                       RIPLEY             TN    38063‐6533
JAMES L DELONG         4415 NORTH LAKE ROAD                                                                               W FARMINGTON       OH    44491‐9743
JAMES L DEMENT         590 SAINT JOSEPH AVE                                                                               DAYTON             OH    45410‐2228
JAMES L DEPEW          9103 RED CEDAR DR                                                                                  WEST CHESTER       OH    45069‐3671
JAMES L DIKOS          7282 S ELMS RD                                                                                     SWARTZ CREEK       MI    48473‐9440
JAMES L DORTON         4438 ANNIE OAKLEY DR                                                                               LAS VEGAS          NV    89121‐6327
JAMES L DOUGLAS        4251 BURNING TREE DR                                                                               KETTERING          OH    45440‐1152
JAMES L DOUGLAS        7854 S COUNTY ROAD 25A                                                                             TIPP CITY          OH    45371
JAMES L DUNCAN         138 HAWTHORNE ST                                                                                   DAYTON             OH    45407‐3342
JAMES L DUNN           1462 HILLCREST AVE.             APT #1                                                             NILES              OH    44446
JAMES L ECK            2491 SANDROCK RD                                                                                   EDEN               NY    14057‐9574
JAMES L ELBERT         620 DAMON ST                                                                                       FLINT              MI    48505‐3734
JAMES L ELLISON        266 S. CHERRY STREET                                                                               GERMANTOWN         OH    45327‐1314
JAMES L ELLISON, JR.   17 BRADFORD ST                                                                                     DAYTON             OH    45410
JAMES L EMRICK         11248 102ND LN                                                                                     LARGO              FL    33773‐4019
JAMES L FELT           1604 GREYSTONE DR                                                                                  MOONTWP            PA    15108
JAMES L FERGUSON       PO BOX 14                                                                                          OAK RIDGE          PA    16245
JAMES L FINDLAY        PO BOX 5266                                                                                        PITTSBURG          CA    94565
JAMES L FIORAVANTI     136 FILBERT AVE                                                                                    WILMINGTON         DE    19805
JAMES L FLINT          733 TERRYTOWN TR                                                                                   PORT ORANGE        FL    32127‐4916
JAMES L FORTUNO        380 S MAPLE AVE                                                                                    COOKEVILLE         TN    38501‐3532
JAMES L FOSTER         81 CRAWFORD RD                                                                                     NEW LEBANON        OH    45345
JAMES L FRANKLIN       C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY, STE 600                                         HOUSTON            TX    77007
                       BOUNDAS, LLP
JAMES L FRANKLIN       BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.        OH    44236
JAMES L FREITAG        7655 W PLEASANT VALLEY RD                                                                          PARMA              OH    44130‐6109
JAMES L FRIERSON       598 ONANDAGO ST                                                                                    YPSILANTI          MI    48198‐6179
JAMES L GEE            2403 HAVEN COVE LN                                                                                 CHATTANOOGA        TN    37421‐2805
JAMES L GIBBS          PO BOX 2546                                                                                        DETROIT            MI    48202‐0546
JAMES L GIBBS JR       502 SMITH ST                                                                                       DETROIT            MI    48202‐2836
JAMES L GILLUM         4160 E COUNTY ROAD 601 S                                                                           CLAYTON            IN    46118‐9779
JAMES L GODSEY         309 FACULTY DR                                                                                     FAIRBORN           OH    45324‐3931
JAMES L GRANT          68 CLURE BROWN RD                                                                                  WESTMORELAND       TN    37186‐2595
JAMES L GRIFFIN        4417 SO UNION RD                                                                                   MIAMISBURG         OH    45342
JAMES L GRILE          4441 MOZART AVE                                                                                    HUBER HEIGHTS      OH    45424
JAMES L GUY            6310 HOAGLAND BLACKSTUB                                                                            CORTLAND           OH    44410‐9518
JAMES L HAMMOND        637 CARMACK AVE.                                                                                   CARTHAGE           TN    37030‐1140
JAMES L HAMPTON        24077 CURRIER ST                                                                                   DEARBORN HEIGHTS   MI    48125‐2035

JAMES L HANING         213 NORTH SMITHVILLE RD                                                                            DAYTON             OH    45403‐1623
JAMES L HARDEN         5329 DENLINGER ROAD                                                                                DAYTON             OH    45426
JAMES L HARRIS         P.O. BOX 24824                                                                                     HUBER HEIGHTS      OH    45424
JAMES L HARRISON       2076 HOOD RD                                                                                       COLUMBIA           TN    38401‐1317
JAMES L HAYES          108 BREMAN AVE                                                                                     MATTYDALE          NY    13211‐1626
JAMES L HEBERT         2718 BRANCH RD                                                                                     FLINT              MI    48506‐2919
JAMES L HEINZE         20406 AUTUMN CT                                                                                    SUN CITY W         AZ    85375‐5459
JAMES L HEITZMAN       4964 PYRMONT RD                                                                                    LEWISBURG          OH    45338‐9761
JAMES L HILL           5864 KING JAMES COURT                                                                              HUBER HEIGHTS      OH    45424‐5426
JAMES L HOBGOOD        C/O G PATTERSON KEHEY PC        ONE INDEPENDENCE PLAZA STE 612                                     BIRMINGHAM         AL    35209
JAMES L HOFFER         9302 HERITAGE GLEN DRIVE                                                                           MIAMISBURG         OH    45342‐4486
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Name                    Address1                         Address2                     Address3   Address4               City               State   Zip
JAMES L HOFFMASTER      1095 VINEWOOD ST                                                                                AUBURN HILLS        MI     48326‐1644
JAMES L HOLDER SR       1378 E JULIAH AVE                                                                               FLINT               MI     48505‐1734
JAMES L HOLINBAUGH      7292 ELM ST                                                                                     NEWTON FALLS        OH     44444‐9233
JAMES L HOLTZ           PO BOX 1289                                                                                     GRIFFIN             GA     30224‐0032
JAMES L HOPSON, JR.     PO BOX 5834                                                                                     YOUNGSTOWN          OH     44504
JAMES L HOSKINS         119 WICKHAM FARM DR                                                                             ENGLEWOOD           OH     45322
JAMES L HUCKABAY        188 COUNTY RD 175                                                                               MOUNT HOME          AR     72653‐8249
JAMES L HUFF            C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY, STE 600                                     HOUSTON             TX     77007
                        BOUNDAS, LLP
JAMES L HUNTER          316 AVENUE A                                                                                    ROCHESTER          NY      14621‐4450
JAMES L HYLAND          108 HOOVER LN                                                                                   SATSUMA            FL      32189‐2850
JAMES L HYMER           5930 MINDY DRIVE                                                                                HAMILTON           OH      45011‐2210
JAMES L ISON            1700 KNOWLES ST                                                                                 YPSILANTI          MI      48198‐6681
JAMES L JAGGERS         143 N CIRCLE DRIVE                                                                              CLARKSVILLE        AR      72830
JAMES L JOHNSON         126 FAIRVIEW DR                                                                                 CARLISLE           OH      45005‐3054
JAMES L JOHNSON         1301 RED BLUFF DR APT 1                                                                         W CARROLLTON       OH      45449‐3713
JAMES L JOHNSON         194 3RD ST                                                                                      ROCHESTER          NY      14605‐‐ 24
JAMES L JONES           PO BOX 258                                                                                      CASSTOWN           OH      45312
JAMES L JONES           195 W KENNETT RD APT 310                                                                        PONTIAC            MI      48340‐2683
JAMES L JONES           608 SW 158 TERRACE                                                                              OKLAHOMA CITY      OK      73170
JAMES L JORDAN          C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                      HOUSTON            TX      77007
                        BOUNDAS LLP
JAMES L JORDAN JR       346 WILTSHIRE BLVD.                                                                             DAYTON             OH      45419‐2636
JAMES L JOSEPH          4496 NUTWOOD N.W.                                                                               WARREN             OH      44483‐1615
JAMES L KAY             36725 CATALDO                                                                                   CLINTON TOWNSHIP   MI      48035‐1914

JAMES L KEENER          38692 ADKINS RD                                                                                 WILLOUGHBY         OH      44094‐7513
JAMES L KELLENBARGER    PO BOX 568                                                                                      LEWISBURG          OH      45338
JAMES L KELLER          451 SPRINGSIDE DR                                                                               KETTERING          OH      45440
JAMES L KELLNER         PO BOX 97                                                                                       MINERAL RIDGE      OH      44440‐0097
JAMES L KERR            7076 LAKE AVE                                                                                   ELYRIA             OH      44035‐2422
JAMES L KIDD            686 CENTRAL AVE                                                                                 CARLISLE           OH      45005‐3387
JAMES L KIDDER          9173 220TH AVENUE                                                                               STANWOOD           MI      49346‐9506
JAMES L KILGORE         73 NAVAJO TRAIL                                                                                 GIRARD             OH      44420‐3621
JAMES L KILLINGSWORTH   3038 225TH ST                                                                                   SAUK VILLAGE       IL      60411‐5846
JAMES L KOCOT           102 IRENE ST                                                                                    BUFFALO            NY      14207‐1053
JAMES L KURTEN          11 HINKLEYVILLE RD                                                                              SPENCERPORT        NY      14559‐1003
JAMES L LEDGER          3113 HENRYDALE ST                                                                               AUBURN HILLS       MI      48326‐3624
JAMES L LOUVIER         1820 66TH AVE E                                                                                 COTTONDALE         AL      35453‐1555
JAMES L LYONS           839 SOUTH SUMMIT STREET                                                                         DAYTON             OH      45408‐1331
JAMES L MABRY           C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                      HOUSTON            TX      77007
                        BOUNDAS LLP
JAMES L MAGINNIS        5589 BLUE RIBBON RD                                                                             HILLSBORO          OH      45133‐8127
JAMES L MAINE           1089 LYNN CT                                                                                    SAINT HELEN        MI      48656‐9529
JAMES L MANNING         100 W FAIRMOUNT AVE                                                                             PONTIAC            MI      48340‐2736
JAMES L MARSHALL        3547 W MI 36                                                                                    PINCKNEY           MI      48169‐9611
JAMES L MARTIN          228 SHEPARD ST.                                                                                 NEW CARLISLE       OH      45344‐2916
JAMES L MARX            6152 RIVERSIDE DR                                                                               WAKE FOREST        NC      27587
JAMES L MCCLELLAN       915 MCCLEARY AVE APT A                                                                          DAYTON             OH      45406‐‐ 28
JAMES L MCCONNELL       613 W TIGER PL                                                                                  GREEN VALLEY       AZ      85614
JAMES L MCCULLOUGH      2764 ATER DR                                                                                    BEAVERCREEK        OH      45434‐6543
JAMES L MCFETRICH       5130 PARKMAN N.W.                                                                               WARREN             OH      44481‐9147
JAMES L MCGHEE          5440 BASORE ROAD                                                                                DAYTON             OH      45415
JAMES L MCGHEE          5585 E PARADISE RD                                                                              BATTLE CREEK       MI      49014‐8351
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Name                    Address1                         Address2                      Address3             Address4                 City            State   Zip
JAMES L MCGHEE          5440 BASORE RD                                                                                               DAYTON           OH     45415‐2718
JAMES L MCKEAN          1253 CENTER ST W                                                                                             WARREN           OH     44481‐9455
JAMES L MCKEEVER        7093 SHAKER RD.                                                                                              FRANKLIN         OH     45005‐2544
JAMES L MERKISON        299 SUMMIT CT                                                                                                RIVERDALE        GA     30274‐4331
JAMES L MERKISON, JR.   299 SUMMIT CT                                                                                                RIVERDALE        GA     30274‐4331
JAMES L MITCHEM         MCKENNA & ASSOCIATES PC          436 BOULEVARD OF THE ALLIES   STE 500                                       PITTSBURGH       PA     15219‐1331
JAMES L MOLNAR          1304 POWELL VIEW DR                                                                                          DEFIANCE         OH     43512‐3037
JAMES L MOTLEY          1300 SANFORD DR                                                                                              DAYTON           OH     45432‐1535
JAMES L MOTLEY JR.      2807 N LUTHERAN CHURCH RD                                                                                    DAYTON           OH     45426
JAMES L MYERS           2715 DWIGHT AVE                                                                                              DAYTON           OH     45420‐2605
JAMES L NAPIER          9860 MILLARD RD                                                                                              TROTWOOD         OH     45426‐4337
JAMES L NEVILS          106 OAK CREEK LN                                                                                             PONTIAC          MI     48340‐2225
JAMES L NICHOLS         P.O. BOX 537                                                                                                 ALANSON          MI     49706‐0537
JAMES L NIESE           3971 DELMAR AVENUE                                                                                           CINCINNATI       OH     45211‐3531
JAMES L O'CONNOR        PO BOX 212                                                                                                   REESE            MI     48757‐0212
JAMES L O'CONNOR SR     C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                                   HOUSTON          TX     77007
                        BOUNDAS LLP
JAMES L OARD            4510 W MULBERRY RD                                                                                           MORENCI         MI      49256‐9515
JAMES L OGLETREE        4977 MAPLECREEK DR.              APT. H                                                                      DAYTON          OH      45426
JAMES L OSBORNE         55 HEMPLE RD                                                                                                 FARMERSVILLE    OH      45325‐1205
JAMES L OVERTOOM TTEE   219 CARLISLE DR                                                                                              S BETHANY       DE      19930
JAMES L OWENS           841 SOUTH MAIN ST                APT A                                                                       FRANKLIN        OH      45005
JAMES L PAINTER         50 W DAYTON ST                                                                                               WEST ALEXANDR   OH      45381‐1128
JAMES L PARKER          15284 COLLINGHAM DR                                                                                          DETROIT         MI      48205‐1343
JAMES L PARTLOW         27 E. WASHINGTON ST                                                                                          JAMESTOWN       OH      45335
JAMES L PAULIN          38654 GRANDON ST                                                                                             LIVONIA         MI      48150‐3379
JAMES L PAYTON          7610 ROSELAKE DR                                                                                             DAYTON          OH      45414‐2253
JAMES L PECK            241 ROUTE 127                                                                                                W. MANCHESTER   OH      45382‐9801
JAMES L PELFREY         2454 BRAHMS BLVD                                                                                             DAYTON          OH      45449‐3357
JAMES L PEPPER          3047 HOLLY SPRINGS RD                                                                                        MARIETTA        GA      30062‐6655
JAMES L PERRIN          9468 PUTTYGUT RD                                                                                             CASCO           MI      48064
JAMES L PEW             9764 LILAC                                                                                                   ST LOUIS        MO      63137‐3378
JAMES L PHELPS          5342 NORMANDIE AVE                                                                                           OAKLAND         CA      94619‐3319
JAMES L PIERCE          760 S CHILDREN HOME GRAYSON                                                                                  TROY            OH      45373
JAMES L REACH           6813 LAURELVIEW DR                                                                                           HUBER HEIGHTS   OH      45424‐2721
JAMES L REUBMAN         2818 O'HENRY CIRCLE                                                                                          LANCASTER       PA      17601
JAMES L RICHARD         4909 GRANDVIEW CIR                                                                                           MIDLAND         MI      48640‐2876
JAMES L RICHARDS        2815 LAKE SHORE PL                                                                                           DAYTON          OH      45420
JAMES L RICHARDSON      732 FOUNTAIN VIEW DR                                                                                         FLUSHING        MI      48433‐3002
JAMES L RICHENDOLLAR    2050 FAIRKNOLL DR                                                                                            BEVER CREEK     OH      45431‐‐ 32
JAMES L ROBERTS         4834 HOOVER AVE                                                                                              DAYTON          OH      45427‐3161
JAMES L ROBINSON        27 N. PLEASANT AVE                                                                                           FAIRBORN        OH      45324
JAMES L ROBINSON        1850 JERMAIN DR                                                                                              TOLEDO          OH      43606‐4038
JAMES L RODRIGUEZ       1279 HOWARD ST                                                                                               MOUNT MORRIS    MI      48458‐1719
JAMES L ROGERS          6229 SHELDON ST                                                                                              YPSILANTI       MI      48197‐8225
JAMES L ROUELLE         ROBERT W PHILLIPS                SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON      IL      62024
                                                         ANGELIDES & BARNERD LLC
JAMES L SAMORIAN        IRA FBO JAMES L SAMORIAN         HSBC BANK USA TRUSTEE         2024 FULTON AVE                               ROCKFORD        IL      61103‐3823
JAMES L SANDERS         2585 S TENAYA WAY 2051                                                                                       LAS VEGAS       NV      89117
JAMES L SANDS           920 GOLF HOUSE RD E                                                                                          STONEY CREEK    NC      27377
JAMES L SCANE           1258 TIMBER TRAIL DR                                                                                         WHITHALL        MI      49461
JAMES L SCANE           1258 TIMER TRAIL DR                                                                                          WHITEHALL       MI      49461
JAMES L SCHLEIGER       201 CENTRAL                                                                                                  W ALEXANDRIA    OH      45381‐1205
JAMES L SCHORAH         32 LAKESHORE DRIVE                                                                                           LEWES           DE      19958‐9102
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Name                                  Address1                         Address2              Address3       Address4               City            State   Zip
JAMES L SCHWAB                        4661 CADDINGTON ST                                                                           ENON             OH     45323‐1718
JAMES L SCOTT                         WEITZ & LUXENBERG PC             700 BROADWAY                                                NEW YORK CITY    NY     10003
JAMES L SCOTT JR                      3928 NEW SECTION ROAD                                                                        BALTIMORE        MD     21220
JAMES L SELBY                         4980 JEFFERSON                                                                               SMITHVILLE       TN     37166
JAMES L SELF, RUTH M SELF             391 SOUTH WEST MIRACLE COURT                                                                 LAKE CITY        FL     32024
JAMES L SEWELL                        848 RIVERVIEW TERRACE            APT 607                                                     DAYTON           OH     45402
JAMES L SHADD                         6855 KEATS DR                                                                                DAYTON           OH     45414‐3260
JAMES L SHAW                          1060 AARON DR APT 209                                                                        DEWITT           MI     48820‐7973
JAMES L SHEARER                       534 SANTA CRUZ AVE                                                                           DAYTON           OH     45410
JAMES L SHERRITT                      704 PINE NEEDLES DR                                                                          DAYTON           OH     45458
JAMES L SHOCK JR                      1020 ISABELLA VISTA                                                                          WEIDMAN          MI     48893‐9376
JAMES L SIMMONS                       497 COUNTY ROAD 176                                                                          MOULTON          AL     35650‐5707
JAMES L SIPPLE                        46 HOMEVIEW AVE                                                                              DAYTON           OH     45415‐3525
JAMES L SLYDER                        1831 KIMBERLY CT                                                                             MIAMISBURG       OH     45342
JAMES L SMEWING                       13592 CORDOVA DR                                                                             LARGO            FL     33774‐5432
JAMES L SMITH                         1856 RUTLAND DR.                                                                             DAYTON           OH     45406‐4619
JAMES L SMITH                         6136 UTICA RD                                                                                WAYNESVILLE      OH     45068‐9535
JAMES L SMITH                         260 WESTHAVEN BLVD.                                                                          JACKSON          MS     39209
JAMES L SORENSEN                      368 HARBOR DR UNIT 404                                                                       LUDINGTON        MI     49431‐9004
JAMES L STARKEY                       7156 WEST 200 SOUTH                                                                          SWAYZEE          IN     46986‐9745
JAMES L STEELE JR                     1766 EILEEN ST                                                                               YPSILANTI        MI     48198‐6238
JAMES L STOKES                        436 FRANKLIN BLVD                                                                            SOMERSET         NJ     08873‐3059
JAMES L STRINGER                      2104 ESMERALDA AVE                                                                           DAYTON           OH     45406‐2509
JAMES L SUNDERMAN                     1952 SHERWOOD DR                                                                             DEFIANCE         OH     43512‐3432
JAMES L SUTTON                        3232 S AUBURN DR                                                                             SAGINAW          MI     48601‐4504
JAMES L SWANEY                        515 1/2 CHESTNUT ST                                                                          XENIA            OH     45385
JAMES L TEAGUE                        MOTLEY RICE LLC                  28 BRIDGESIDE BLVD    PO BOX 1792                           MT PLEASANT      SC     29465
JAMES L TERRILL                       15682 PROVIDENCE RD # PD                                                                     BROOKVILLE       OH     45309‐9714
JAMES L THIRTYACRE                    3143 BECHTEL DRIVE                                                                           FRANKLIN         OH     45005‐4803
JAMES L THOMAS                        3340 PONEMAH DR                                                                              FENTON           MI     48430‐1349
JAMES L THORPE                        76 SYLVANIA RD                                                                               DAYTON           OH     45440‐3238
JAMES L TRUE                          3525 BLOCKER DR                                                                              KETTERING        OH     45420‐1017
JAMES L VANWINKLE                     225 IDDINGS SE                                                                               WARREN           OH     44483‐5915
JAMES L VIZI                          130 LIBERTY ST # 2                                                                           NORTH JACKSON    OH     44451‐8706
JAMES L VOLLMER                       4751 OLD SPRINGFIELD RD.                                                                     VANDALIA         OH     45377‐9441
JAMES L WASHINGTON                    1133 VERNON DR                                                                               DAYTON           OH     45402‐5713
JAMES L WATERS                        905 W KING ST                                                                                MARTINSBURG      WV     25401‐2218
JAMES L WATKINS                       1421 TULEY RD                                                                                HAMILTON         OH     45015‐1261
JAMES L WATTS                         PO BOX 381                                                                                   BRIGHTON          IL    62012‐0381
JAMES L WEAVER                        186 E MAIN ST                                                                                BRADFORD         PA     16701‐1617
JAMES L WELLMEIER                     1441 BAUER AVE                                                                               KETTERING        OH     45420‐3305
JAMES L WEST                          8702 SANTA BELLA DR                                                                          HAZELWOOD        MO     63042‐2918
JAMES L WHITMER                       2674 BIG HORN CIR                                                                            LAFAYETTE        CO     80026‐9094
JAMES L WILGUS                        15093 BALMORAL LOOP                                                                          FORT MYERS       FL     33919
JAMES L WILLIAMS                      2370 RUMFORD WAY                                                                             BEAVERCREEK      OH     45431‐5682
JAMES L WILLIAMS                      742 PRINCEWOOD AVE.                                                                          DAYTON           OH     45429
JAMES L WILLIAMS                      1914 ROCKCREEK LN                                                                            FLINT            MI     48507‐2275
JAMES L WILLIAMS                      9518 KNODELL ST                                                                              DETROIT          MI     48213‐1127
JAMES L WILLS PERSONAL                C/O BRAYTON PURCELL              222 RUSH LANDING RD                                         NOVATO           CA     94948‐6169
REPRESENTATIVE FOR FREDDIE WILLS SR

JAMES L WINCHESTER                    5580 OLIVE TREE DR                                                                           TROTWOOD        OH      45426‐1311
JAMES L WITHERSPOON                   2655 MIAMI VILLAGE DR                                                                        MIAMISBURG      OH      45342
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Name                               Address1                           Address2            Address3         Address4               City                 State Zip
JAMES L WRIGHT                     31775 LAKE SIDE DR BLDG 62 APT 3                                                               FARMINGTON HILLS      MI 48334

JAMES L WRIGHT                     31775 LAKESIDE DR APT 3                                                                        FARMINGTON HILLS     MI   48334‐1258

JAMES L YONTZ                      6021 MOORE ROAD                                                                                SANTE FE             TX   77517
JAMES L YOUNG                      1311 MEADOWVIEW DRIVE                                                                          MIAMISBURG           OH   45342
JAMES L. CAYTON ASSOCIATES, INC.                                      1906 HWY 70 E                                                                    NC   28560
JAMES L. HERRON                    5400 CHEVROLET BLVD                                                                            PARMA                OH   44130‐1451
JAMES L. UTEGG                     924 ROUTE 148                                                                                  KILLINGWORTH         CT   06419‐1022
JAMES LA COURSIER                  5015 LAUR RD                                                                                   NORTH BRANCH         MI   48461‐9782
JAMES LA DELIA                     17 LE MANZ DR                                                                                  ROCHESTER            NY   14606‐5825
JAMES LA FOREST                    9384 ELAINE CT                                                                                 TAYLOR               MI   48180‐3621
JAMES LA MOTHE                     11740 SHAWNEE PT                                                                               SHELBY TOWNSHIP      MI   48315‐1160
JAMES LA PRATT                     1541 BEVERLY BLVD                                                                              WALLED LAKE          MI   48390‐2521
JAMES LA VESSER                    PO BOX 696                                                                                     CRIVITZ              WI   54114‐0696
JAMES LAACK                        7238 W PLYMOUTH CHURCH RD                                                                      BELOIT               WI   53511‐9414
JAMES LABON                        74229 VAN DYKE RD                                                                              BRUCE TWP            MI   48065‐3209
JAMES LABRIE                       7380 CLINTONVILLE RD                                                                           CLARKSTON            MI   48348‐4926
JAMES LABS                         4717 N RIVER RD                                                                                FREELAND             MI   48623‐8858
JAMES LABUSHESKY                   1346 FORBES ST                                                                                 N TONAWANDA          NY   14120‐1861
JAMES LACEY                        5325 CARING CV                                                                                 INDIANAPOLIS         IN   46268‐4028
JAMES LACEY                        23161 ESSIG AVE                                                                                NOBLESVILLE          IN   46060‐9621
JAMES LACHAJEWSKI                  8936 SAN JOSE                                                                                  REDFORD              MI   48239‐2318
JAMES LACHCIK                      804 SAINT JAMES PARK AVE                                                                       MONROE               MI   48161‐9062
JAMES LACK                         7334 PARKWOOD DR                                                                               FENTON               MI   48430‐9318
JAMES LACKEY                       16866 WINDERMERE CIR                                                                           SOUTHGATE            MI   48195‐2144
JAMES LACKEY                       3151 CLEMMONS RD                                                                               BLOOMINGTON          TN   38545‐4520
                                                                                                                                  SPRINGS
JAMES LACKO SR                     31 TULIP LN                                                                                    SAYRE                PA   18840‐2653
JAMES LACLAIR                      210 EASTSIDE DR                                                                                LUPTON               MI   48635‐8712
JAMES LACY                         232 S PLANK RD                                                                                 TAWAS CITY           MI   48763‐9678
JAMES LACY                         528 E 4TH ST                                                                                   LOCKPORT             IL   60441‐3202
JAMES LADD                         23 WOODRUFF 271                                                                                NEWPORT              AR   72112‐7902
JAMES LADUKE                       540 S ONONDAGA RD                                                                              MASON                MI   48854‐9733
JAMES LAFATA                       21701 HOFFMAN ST                                                                               SAINT CLAIR SHORES   MI   48082‐2462

JAMES LAFFERTY                     11547 HYNE RD                                                                                  BRIGHTON             MI   48114‐8103
JAMES LAFFEY                       39039 RICHLAND ST                                                                              LIVONIA              MI   48150‐2472
JAMES LAFOND                       1537 ANDREW PL                                                                                 TRAVERSE CITY        MI   49686‐4969
JAMES LAFONTAINE                   9068 BUCKHORN LN                                                                               BRIGHTON             MI   48116‐8273
JAMES LAFRANCE                     817 CENTRAL AVE APT B                                                                          TILTON               IL   61833‐7980
JAMES LAFRENIERE                   9512 BARKLEY RD                                                                                MILLINGTON           MI   48746‐9761
JAMES LAGALO                       3806 CHURCH ST                                                                                 SAGINAW              MI   48604‐1735
JAMES LAGODZINSKI                  921 MIDLAND BLVD                                                                               ROYAL OAK            MI   48073‐2888
JAMES LAGRONE                      334 HEMLOCK AVE                                                                                ROMEOVILLE           IL   60446‐1657
JAMES LAGROW                       2216 S MICHIGAN AVE                                                                            SAGINAW              MI   48602‐1235
JAMES LAGUNA                       6305 HANNA ST                                                                                  FORT WAYNE           IN   46816‐1138
JAMES LAHR                         6847 SURREY LN                                                                                 RACINE               WI   53402‐1411
JAMES LAHR                         233 CLIFF DR                                                                                   LOGANSPORT           IN   46947‐4816
JAMES LAIDLER                      1877 GRAY RD                                                                                   LAPEER               MI   48446‐9027
JAMES LAIH SR                      146 PALM BLVD                                                                                  PARRISH              FL   34219‐9105
JAMES LAIR                         4022 DALLAS ST                                                                                 BURTON               MI   48519‐1751
JAMES LAIRD                        1509 BRADLEY AVE                                                                               FLINT                MI   48503‐3444
JAMES LAKE                         469 ARBOR RD                                                                                   CLEVELAND            OH   44108‐1758
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Name                 Address1                       Address2            Address3         Address4               City                 State   Zip
JAMES LAKE SR        27450 MARSHALL ST                                                                          SOUTHFIELD            MI     48076‐5141
JAMES LAKIES         1116 BURLINGAME ST                                                                         CADILLAC              MI     49601‐1241
JAMES LAKY           3540 BEAVERCREST DR APT 307                                                                LORAIN                OH     44053‐1764
JAMES LALONDE        6019 PLANTATION DR                                                                         GRAND BLANC           MI     48439‐9525
JAMES LAMB           4468 PEKIN RD                                                                              WAYNESVILLE           OH     45068‐9546
JAMES LAMB           1023 N COCHRAN AVE                                                                         CHARLOTTE             MI     48813‐1105
JAMES LAMBDIN        1061 NORTHWOOD DR                                                                          INKSTER               MI     48141‐1768
JAMES LAMBERMONT     108 GLEN MEADOWS DR                                                                        TROY                  MO     63379‐3482
JAMES LAMBERT        40 DONNA JANE COURT                                                                        WEST MILTON           OH     45383‐1931
JAMES LAMBERT        8845 N COUNTY ROAD F                                                                       EDGERTON              WI     53534‐8984
JAMES LAMBERT        13948 FRUIT RIDGE RD APT C                                                                 DEFIANCE              OH     43512‐3696
JAMES LAMKIN         904 SHADY SHORE DR                                                                         BAY CITY              MI     48706‐1962
JAMES LAMKIN         1704 WIDDICOMB AVE NW                                                                      GRAND RAPIDS          MI     49504‐2853
JAMES LAMORIA JR     5340 SKUNK HOLLOW DR                                                                       PRESCOTT              MI     48756‐9693
JAMES LAMPERT        2427 HARVARD RD                                                                            BERKLEY               MI     48072‐1783
JAMES LAMPKIN        4109 N SHERMAN DR                                                                          INDIANAPOLIS          IN     46226‐4407
JAMES LAMPKINS       4453 S LAWLER AVE                                                                          CHICAGO                IL    60638‐1953
JAMES LAMPLE         307 POCAHONTAS TRL                                                                         PINEY FLATS           TN     37686‐4581
JAMES LAMPMAN        243 THATCHER ST                                                                            WOODLAND              MI     48897‐9651
JAMES LANCASHIRE     332 CEDAR ST                                                                               JEANNETTE             PA     15644‐2520
JAMES LANCASTER      39650 WABASH ST                                                                            ROMULUS               MI     48174‐4802
JAMES LAND           8535 S 250 E                                                                               MARKLEVILLE           IN     46056‐9769
JAMES LAND           PO BOX 191                                                                                 GREENTOWN             IN     46936‐0191
JAMES LANDGRAFF      5193 KENNEDY RD                                                                            LOWELLVILLE           OH     44436‐9412
JAMES LANDIS         263 NEWPORT RD SW                                                                          LILBURN               GA     30047‐3947
JAMES LANDIS         1330 U S 42S R 1                                                                           ASHLAND               OH     44805
JAMES LANDIS         11615 S 700 E                                                                              LA FONTAINE           IN     46940‐9054
JAMES LANDIS         7272 E 1200 S 85                                                                           MARION                IN     46952‐9405
JAMES LANDIS         PO BOX 1594                                                                                HELENDALE             CA     92342‐1594
JAMES LANDON         11902 W STATE RD                                                                           EAGLE                 MI     48822‐9707
JAMES LANDON         11333 STONYBROOK DR                                                                        GRAND BLANC           MI     48439‐1009
JAMES LANDRIGAN SR   276 LOCK ST                                                                                LOCKPORT              NY     14094‐2255
JAMES LANDRUM        2036 ROCK BLUFF RD                                                                         HIXSON                TN     37343‐3133
JAMES LANDRUM        1440 BEAR CREEK RD                                                                         CULLEOKA              TN     38451‐8001
JAMES LANE           5689 BINGHAM DR                                                                            TROY                  MI     48085‐3842
JAMES LANE           111 BEAVERHEAD LN                                                                          DILLON                MT     59725‐8879
JAMES LANE           9385 W AIRPORT RD                                                                          SAINT HELEN           MI     48656‐9331
JAMES LANE           30169 MANOR DR                                                                             MADISON HEIGHTS       MI     48071‐2295

JAMES LANE           1155 N OAK RD                                                                              DAVISON               MI     48423‐9148
JAMES LANE           4943 CURTISS DR                                                                            LAPEER                MI     48446‐9783
JAMES LANE           2395 E BURT RD                                                                             BURT                  MI     48417‐9426
JAMES LANE           1541 MOUNTAIN LAUREL LN                                                                    DESOTO                TX     75115‐5394
JAMES LANE           30012 SUMAC LN                                                                             BLANCHARD             OK     73010‐7204
JAMES LANE           7210 TANBARK LN                                                                            FORT WAYNE            IN     46835‐1849
JAMES LANE           9041 GRAYTRAX RD                                                                           GRAND BLANC           MI     48439‐8328
JAMES LANEY          100 CLARKSTON RD                                                                           CLARKSTON             MI     48346‐1568
JAMES LANFORD JR     8760 W48 ROAD                                                                              WELLSTON              MI     49689
JAMES LANG           625 NEW HAMPSHIRE AVENUE                                                                   MARYSVILLE            MI     48040‐1227
JAMES LANG           222 SYCAMORE ST                                                                            BUFFALO               NY     14204‐1534
JAMES LANG           2471 FIRE TOWER RD                                                                         CHRISTIANBURG         VA     24073
JAMES LANG           3266 WEBBS MILL RD. NORTH                                                                  FLOYD                 VA     24091
JAMES LANGBEEN       23280 CLAIRWOOD ST                                                                         SAINT CLAIR SHORES    MI     48080‐3414
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Name                     Address1                       Address2                      Address3   Address4               City               State   Zip
JAMES LANGDON            157 SUBURBAN ST                                                                                DANVILLE            IN     46122‐9279
JAMES LANGDON            4041 GRANGE HALL RD            LOT 85                                                          HOLLY               MI     48442‐1922
JAMES LANGDON            15138 MEADOW LN                                                                                LINDEN              MI     48451‐9685
JAMES LANGE              43776 ROBSON RD                                                                                BELLEVILLE          MI     48111‐5300
JAMES LANGE              4416 N ARLINGTON AVE                                                                           INDIANAPOLIS        IN     46226‐3415
JAMES LANGE              1961 N TARRANT RD                                                                              MILTON              WI     53563‐9757
JAMES LANGENHEIM         429 MELBOURNE AVE                                                                              YOUNGSTOWN          OH     44512‐4411
JAMES LANGFORD           2003 MULLIKIN DR                                                                               CHAMPAIGN            IL    61822‐8587
JAMES LANGHAM            6721 US 35 SOUTH                                                                               MUNCIE              IN     47302
JAMES LANGHART           3245 ROWLEY RD                                                                                 WILLIAMSTON         MI     48895‐9532
JAMES LANGILL            28 GOEBEL PL                                                                                   ROCHESTER           NY     14620‐2136
JAMES LANGILL            7400 46TH AVE N LOT 154                                                                        ST PETERSBURG       FL     33709‐2548
JAMES LANGLEY            427 Q ST                                                                                       BEDFORD             IN     47421‐2018
JAMES LANGLEY            1402 FRIEL ST                                                                                  BURTON              MI     48529‐2014
JAMES LANGLEY            5674 TULANE AVE                                                                                AUSTINTOWN          OH     44515‐4224
JAMES LANGLEY JR         9110 S POINTE RIDGE LN                                                                         BLOOMINGTON         IN     47401‐9020
JAMES LANGSTON           6352 LAURENTIAN CT                                                                             FLINT               MI     48532‐2039
JAMES LANGTON            6457 HOPE LN                                                                                   LOCKPORT            NY     14094‐1113
JAMES LANHAM JR          430 MARY CT                                                                                    GREENWOOD           IN     46142‐9685
JAMES LANKFORD           4527 S KELLER RD                                                                               MINERAL WELLS       TX     76067‐1545
JAMES LANKFORD           262 SYCAMORE LN                                                                                SPRING CITY         TN     37381‐5489
JAMES LANKSTER           915 S MAIN ST                                                                                  PARIS                IL    61944‐2819
JAMES LANNIN             11670 DOWNING RD                                                                               BIRCH RUN           MI     48415‐9212
JAMES LANOS JR           4725 DAYTON LIBERTY RD                                                                         DAYTON              OH     45418‐1941
JAMES LANZ               4758 KEEFER HWY                                                                                LYONS               MI     48851‐9709
JAMES LANZON             16456 CARRIE LN                                                                                FENTON              MI     48430‐8002
JAMES LAPAN              585 LEDDY RD                                                                                   SAGINAW             MI     48609‐9425
JAMES LAPERNA            1845 VILLA ROSA DR                                                                             HOLIDAY             FL     34690‐6051
JAMES LAPLANTE           809 HORINE RD                                                                                  FESTUS              MO     63028‐1054
JAMES LAPLOW             7282 MELODY LN                                                                                 JENISON             MI     49428‐9741
JAMES LARIMER            1708 GORDON AVE                                                                                LANSING             MI     48910‐2609
JAMES LARIMER            870 E DALLAS AVE                                                                               MADISON HTS         MI     48071‐4311
JAMES LARKE              9630 E OAK CT                                                                                  FLORAL CITY         FL     34436‐3362
JAMES LARKIN             204 KAREN DR                                                                                   ELIZABETH           PA     15037‐2407
JAMES LARKIN             11170 ORANGEWOOD DR                                                                            BONITA SPRINGS      FL     34135‐5749
JAMES LARKINS            42015 MCBRIDE AVE                                                                              BELLEVILLE          MI     48111‐1473
JAMES LARONDE            1613 SW 33RD ST                                                                                MOORE               OK     73160‐2924
JAMES LAROSA             12164 UNITY RD                                                                                 NEW SPRINGFLD       OH     44443‐9720
JAMES LAROSE             2299 JERORE RD                                                                                 BENTLEY             MI     48613‐9641
JAMES LARRICK            4938 RICHMOND CIR                                                                              SANDUSKY            OH     44870‐5878
JAMES LARRY              600 W WALTON BLVD              APT 335                                                         PONTIAC             MI     48340‐3501
JAMES LARRY              5818 GLENN AVE                                                                                 FLINT               MI     48505‐5106
JAMES LARRY (665246)     SIMMONS FIRM                   PO BOX 521                                                      EAST ALTON           IL    62024‐0519
JAMES LARRY G (442236)   SIMMONS FIRM                   PO BOX 559                                                      WOOD RIVER           IL    62095‐0559
JAMES LARRY JR           3583 NORBERG DR                                                                                FLORISSANT          MO     63031‐1168
JAMES LARRY PUTMAN       935 RAVENWOOD WAY                                                                              CANTON              GA     30115
JAMES LARSEN             113 NW CHESTNUT ST                                                                             BLUE SPRINGS        MO     64014‐1509
JAMES LARSON             209 E YOUNGS CT                                                                                MIDLAND             MI     48640‐8698
JAMES LARSON             324 W MILL ST                                                                                  OSCODA              MI     48750‐1330
JAMES LARSON             6 LARKWOOD LN                                                                                  BURLESON            TX     76028‐3614
JAMES LARSON             THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                                     HOUSTON             TX     77017
JAMES LARTER             5 TALAHI CIR                                                                                   SAVANNAH            GA     31410‐1322
JAMES LASECKI            29721 MINGLEWOOD LN                                                                            FARMINGTON HILLS    MI     48334‐3023
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Name                      Address1                       Address2                       Address3   Address4               City               State   Zip
JAMES LASHBROOK           34711 CHANNING WAY                                                                              NEW BALTIMORE       MI     48047‐1085
JAMES LASICH              PO BOX 361                                                                                      NOLENSVILLE         TN     37135‐0361
JAMES LASKE SR.           5569 OLD MISSION ST                                                                             PORTAGE             MI     49024‐1156
JAMES LASKOWSKI           134 GRACE ST                                                                                    BUFFALO             NY     14207‐2056
JAMES LASTER              626 OLD BRENT RD                                                                                FORSYTH             GA     31029‐6930
JAMES LASWELL             516 W 4TH ST                                                                                    ANDERSON            IN     46016‐1111
JAMES LATTIMORE           3233 WINDHAM DR                                                                                 GREENWOOD           IN     46143‐7887
JAMES LAUBENTHAL          6372 SWARTOUT RD                                                                                CLAY                MI     48001‐3327
JAMES LAUCKNER            2243 ROLLINS ST                                                                                 GRAND BLANC         MI     48439‐4352
JAMES LAUDERBAUGH         5820 COLUMBUS AVE                                                                               ANDERSON            IN     46013‐3018
JAMES LAUDERDALE          7630 HERITAGE DR APT D                                                                          LANSING             MI     48917‐7859
JAMES LAUDICK             4942 E ST RD #46                                                                                GREENSBURG          IN     47240
JAMES LAUER               36783 GREENBUSH RD                                                                              WAYNE               MI     48184‐1153
JAMES LAUGHLIN            211 FOREST PARK DR                                                                              CHALFONT            PA     18914‐2139
JAMES LAUGHRIDGE          897 CROY CT                                                                                     MARIETTA            GA     30066‐2644
JAMES LAURENCELL          C/O COONEY AND CONWAY          120 NORTH LASALLE 30TH FLOOR                                     CHICAGO              IL    60602
JAMES LAURICELLA          30 MARILYN DR                                                                                   WEST SENECA         NY     14224‐4008
JAMES LAUTENSLAGER        10348 S 875 W                                                                                   WALDRON             IN     46182‐9627
JAMES LAVALLEE            PO BOX 46                                                                                       GARDEN              MI     49835‐0046
JAMES LAVAN               161 MOUNT AIRY HARBOURTON RD                                                                    LAMBERTVILLE        NJ     08530‐2805
JAMES LAVELLE             5 ESMOND RD                                                                                     N SMITHFIELD         RI    02896‐6806
JAMES LAVERY              1104 WARREN AVE                                                                                 ARNOLD              PA     15068‐4048
JAMES LAVIGNE             37 COLUMBIA DR                                                                                  KEARNEYSVILLE       WV     25430‐6401
JAMES LAVINE              APT A4                         100 KELLARS LANE                                                 LIVERPOOL           NY     13088‐6248
JAMES LAVINE              7222 AUTOMN BLUFF                                                                               RICHMOND            TX     77407‐1985
JAMES LAVIS               PO BOX 7512                                                                                     VAN NUYS            CA     91409‐7512
JAMES LAW                 44116 ARDMORE ST                                                                                CANTON              MI     48188‐1805
JAMES LAW SR              41333 WILLIS RD                                                                                 BELLEVILLE          MI     48111‐8717
JAMES LAWLESS             2469 DOWNING CIR               C/O ANDREW T LAWLESS                                             GURNEE               IL    60031‐1029
JAMES LAWLESS             PO BOX 71                                                                                       ELYSIAN FLDS        TX     75642‐0071
JAMES LAWRENCE            1021 CORONADO CT                                                                                MARCO ISLAND        FL     34145‐4519
JAMES LAWRENCE            90 PLATT ST APT 106                                                                             WATERBURY           CT     06704‐3045
JAMES LAWRENCE            7360 CARIBOU TRL                                                                                CENTERVILLE         OH     45459‐4899
JAMES LAWRENCE            660 LONGVALE DR                                                                                 DAYTON              OH     45427‐2221
JAMES LAWRENCE            5814 SOMERS DR                                                                                  INDIANAPOLIS        IN     46237‐2363
JAMES LAWRENCE            59 W POINSETTA AVE                                                                              TOLEDO              OH     43612‐2548
JAMES LAWRENCE            6209 N MCKINLEY RD                                                                              FLUSHING            MI     48433‐1166
JAMES LAWRENCE            1964 CHESTNUT ST                                                                                DEARBORN            MI     48124‐4312
JAMES LAWRENCE            676 HAMLET RD                                                                                   AUBURN HILLS        MI     48326‐3524
JAMES LAWRENCE            RR 3 BOX 80                                                                                     BUTLER              MO     64730‐9403
JAMES LAWRENCE            10516 PINE TREE LN                                                                              GOODRICH            MI     48438‐9452
JAMES LAWRENCE JR         154 VENTURE PATH                                                                                HIRAM               GA     30141‐2674
JAMES LAWRENCE JR         1512 CEDAR ST                                                                                   SAGINAW             MI     48601‐2835
JAMES LAWRENCE SMITH JR   WEITZ LUXENBERG PC             700 BROADWAY                                                     NEW YORK CITY       NY     10003
JAMES LAWRENCE SMITH JR   C/O WEITZ & LUXENBERG PC       700 BROADWAY                                                     NEW YORK CITY       NY     10003
JAMES LAWRIE              830 SUNGLOW CIR                                                                                 INDIANAPOLIS        IN     46231‐1179
JAMES LAWROSKI            PO BOX 572                                                                                      ISLAND HEIGHTS      NJ     08732‐0572
JAMES LAWRY               PO BOX 186                                                                                      CITRA               FL     32113‐0186
JAMES LAWS                19829 SUNSET LN                                                                                 APPLE VALLEY        CA     92308‐6167
JAMES LAWSON              477 LYON BLVD                                                                                   SOUTH LYON          MI     48178‐1235
JAMES LAWSON              PO BOX 852                                                                                      CHEROKEE VILLAGE    AR     72525‐0852

JAMES LAWSON              1151 BROOKSIDE CT                                                                               AVON               IN      46123‐7428
JAMES LAWSON              RR 3                                                                                            GREENFIELD         OH      45123
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Name                 Address1                            Address2                     Address3   Address4               City              State   Zip
JAMES LAWSON         5824 BERTHA ST                                                                                     INDIANAPOLIS       IN     46241‐0560
JAMES LAWSON         888 ANTIOCH SCHOOL RD                                                                              VANDALIA           OH     45377‐9722
JAMES LAWSON         102 GREEN HL                                                                                       CUMBERLAND GAP     TN     37724‐5334
JAMES LAWSON         2720 CLAYTON DR NW                                                                                 HUNTSVILLE         AL     35810‐4419
JAMES LAWSON         BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
JAMES LAY            1212 ATWATER ST                                                                                    SAGINAW            MI     48601‐2701
JAMES LAYCOCK        4100 STATE RT 5                     ROOM‐25                                                        NEWTON FALLS       OH     44444
JAMES LAYMAN         148 POSSUM RIDGE LN                                                                                ALLONS             TN     38541‐3034
JAMES LAYNE          2078 FONDULAC DR                                                                                   CINCINNATI         OH     45231‐3013
JAMES LAYNE JR       1057 LANDSDALE DR                                                                                  FAIRBORN           OH     45324‐5720
JAMES LAYTON         3120 ANDOVER MANOR CT                                                                              SAINT LOUIS        MO     63129‐5299
JAMES LAZENBY        5200 EASTVIEW RD                                                                                   CLARKSTON          MI     48346‐4102
JAMES LEA            2206 W WALL ST                                                                                     JANESVILLE         WI     53548‐3312
JAMES LEACH          9528 KESTRAL RIDGE DR                                                                              CHARLOTTE          NC     28269‐6214
JAMES LEACH          APT 35                              729 CLARK STREET                                               TECUMSEH           MI     49286‐1165
JAMES LEACH          12342 OAKLAND AVE                                                                                  MOUNT MORRIS       MI     48458‐1428
JAMES LEACH          BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
JAMES LEACH          C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
JAMES LEAK           9193 GREAT LAKES CIR                                                                               CENTERVILLE        OH     45458‐3680
JAMES LEAKE          119 SHERMAN ST                                                                                     LISBON             OH     44432‐1029
JAMES LEAMON         1878 JENNY LN                                                                                      ROCHESTER HILLS    MI     48309‐3381
JAMES LEANDRO        PO BOX 362                                                                                         SEEKONK            MA     02771‐0362
JAMES LEARY          202 SCOTSBURG DR                                                                                   WARNER ROBINS      GA     31088‐7997
JAMES LEARY          1826 EDGEMERE DR                                                                                   ROCHESTER          NY     14612‐1520
JAMES LEATHERBERRY   2998 GREENVILLE RD                                                                                 CORTLAND           OH     44410‐9650
JAMES LEAVELL        14933 TACOMA ST                                                                                    DETROIT            MI     48205‐1923
JAMES LEAVELL        802 MCKINLEY AVE                                                                                   FLINT              MI     48507‐2885
JAMES LEBEAU         16587 CAPRI PL                                                                                     ROSEVILLE          MI     48066‐3720
JAMES LEBECK         PO BOX 268                                                                                         ANCHORVILLE        MI     48004‐0268
JAMES LEBER          7322 VARIEL AVE APT 5                                                                              CANOGA PARK        CA     91303‐3435
JAMES LEBLEU         920 W ROGERS ST                                                                                    EL RENO            OK     73036‐2247
JAMES LECATO         2351 PIDDLER DR                                                                                    SPRING             TX     77373‐6259
JAMES LECHNIR        1904 S CHATHAM ST                                                                                  JANESVILLE         WI     53546‐6064
JAMES LECHOTA        3430 S DUFFIELD RD                                                                                 LENNON             MI     48449‐9418
JAMES LECLAIR        253 ABERDEEN CT                                                                                    FLUSHING           MI     48433‐2659
JAMES LEDBETTER      4275 HARDY BILLUP RD                LOT 6                                                          COLUMBUS           MS     39701
JAMES LEDBETTER      4275 HARDY BILLUP RD LOT 6                                                                         COLUMBUS           MS     39701
JAMES LEDERER        5608 CHARLOTTE ST                                                                                  KANSAS CITY        MO     64110‐2720
JAMES LEDFORD        7656 E DOWNING ST                                                                                  MESA               AZ     85207‐5701
JAMES LEDFORD        713 HECHT DR                                                                                       MADISON HTS        MI     48071‐2855
JAMES LEDFORD        7255 W BIRCH RUN RD                                                                                SAINT CHARLES      MI     48655‐9636
JAMES LEDGER         3113 HENRYDALE ST                                                                                  AUBURN HILLS       MI     48326‐3624
JAMES LEDINGTON      480 MORMAN RD                                                                                      HAMILTON           OH     45013‐4462
JAMES LEDTKE         13481 SEYMOUR RD                                                                                   MONTROSE           MI     48457‐9710
JAMES LEE            6518 CHARLOTTEVILLE RD                                                                             NEWFANE            NY     14108‐9711
JAMES LEE            3610 STARLING RD                                                                                   BETHEL             OH     45106‐8671
JAMES LEE            5828 ALKIRE RD                                                                                     GALLOWAY           OH     43119‐8895
JAMES LEE            1822 E TUMBLEWEED LN                                                                               ALEXANDRIA         IN     46001‐8854
JAMES LEE            1226 LAWRENCEVILLE HWY                                                                             LAWRENCEVILLE      GA     30045‐7464
JAMES LEE            1116 GOLDEN CIR SW                                                                                 LILBURN            GA     30047‐1914
JAMES LEE            2370 S TECUMSEH RD                                                                                 SPRINGFIELD        OH     45502‐9767
JAMES LEE            5840 WATERFRONT DR N                                                                               COLUMBIA           MO     65202‐9052
JAMES LEE            1117 W 6TH ST                                                                                      MARION             IN     46953‐1638
JAMES LEE            8246 FARRAND RD                                                                                    MONTROSE           MI     48457‐9725
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Name                 Address1                        Address2                       Address3   Address4               City               State   Zip
JAMES LEE            16851 MARLOWE ST                                                                                 DETROIT             MI     48235‐4042
JAMES LEE            724 ENSLEN ST SW                                                                                 HARTSELLE           AL     35640‐3614
JAMES LEE            2561 NEWPORT ST                                                                                  DETROIT             MI     48215‐2671
JAMES LEE            PO BOX 43                                                                                        CULLOM               IL    60929‐0043
JAMES LEE            4483 E STRANGE HWY                                                                               GRAND LEDGE         MI     48837‐9429
JAMES LEE            2104 POLK ST                                                                                     JANESVILLE          WI     53546‐3210
JAMES LEE            211 CARMEN AVE                                                                                   HAMILTON            OH     45013‐4616
JAMES LEE            819 LAKESHORE DR                                                                                 COLUMBIAVILLE       MI     48421‐9739
JAMES LEE            11268 MCKINLEY RD                                                                                MONTROSE            MI     48457‐9006
JAMES LEE            3019 E LAFAYETTE ST                                                                              DETROIT             MI     48207‐3899
JAMES LEE            1656 GLADSTONE ST                                                                                DETROIT             MI     48206‐2230
JAMES LEE            915 E MAPLE ST                                                                                   HOLLY               MI     48442‐1755
JAMES LEE            224 S CLEVELAND AVE                                                                              WILMINGTON          DE     19805‐1431
JAMES LEE            48742 DUNN CT                                                                                    MACOMB              MI     48044‐2229
JAMES LEE            3157 PACKARD STREET                                                                              ANN ARBOR           MI     48108
JAMES LEE            THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                      HOUSTON             TX     77017
JAMES LEE ABNER      C/O FOSTER & SEAR, LLP          817 GREENVIEW DRIVE                                              GRAND PRAIRIE       TX     75050
JAMES LEE ABNER      FOSTER & SEAR, LLP              817 GREENVIEW DRIVE                                              GRAND PRAIRIE       TX     75052
JAMES LEE GUTHRIE    PO BOX 698                                                                                       NEVADA              MO     64772
JAMES LEE HILBORN    WEITZ & LUXENBERG PC            700 BROADWAY                                                     NEW YORK            NY     10003
JAMES LEE I I        8327 TUBSPRING RD                                                                                ALMONT              MI     48003‐8218
JAMES LEE III        4409 WEBSTER LAPIDUM RD                                                                          HAVRE DE GRACE      MD     21078‐1337
JAMES LEE JR         13810 LONESOME PINE DR NE                                                                        FLINTSTONE          MD     21530‐3126
JAMES LEE JR         3144 VALLEY FORGE TRL                                                                            FOREST HILL         TX     76140‐1859
JAMES LEE JR         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.         OH     44236
JAMES LEE KIRK       G PATTERSON KEAHEY PC           ONE INDEPENDENCE PLAZA SUITE                                     BIRMINGHAM          AL     35209
JAMES LEE SR         645 STANLEY CIR                                                                                  DARLINGTON          SC     29532‐3661
JAMES LEE SR.        1363 SUNNYFIELD AVE NW                                                                           WARREN              OH     44481‐9133
JAMES LEE TERRY      WEITZ & LUXENBERG PC            700 BROADWAY                                                     NEW YORK CITY       NY     10003
JAMES LEECK          PO BOX 125                                                                                       CLIO                MI     48420‐0125
JAMES LEEPER         458 BRUNSTETTER RD SW                                                                            WARREN              OH     44481‐9639
JAMES LEEUW          5605 W GILLOW RD                                                                                 LAKE CITY           MI     49651‐9332
JAMES LEFFELER       484 FAIRVIEW CHURCH RD                                                                           HAWK POINT          MO     63349‐1942
JAMES LEFFEW         94 E NEWPORT AVE                                                                                 PONTIAC             MI     48340‐1255
JAMES LEFFLER        2900 W UNIVERSITY AVE                                                                            MUNCIE              IN     47304‐3962
JAMES LEFLER         6718 HOUGHTON ST                                                                                 CASS CITY           MI     48726‐1508
JAMES LEFLORE        2995 KNOX RD                                                                                     TOOMSUBA            MS     39364‐9509
JAMES LEHNER         5477 E MICHIGAN AVE                                                                              AU GRES             MI     48703‐9572
JAMES LEHR           10468 N CENTER RD                                                                                CLIO                MI     48420‐9758
JAMES LEIBY          1036 E BRENTWOOD DR                                                                              MORRISTOWN          TN     37814‐1265
JAMES LEIGH          503 GORDON ST                                                                                    JEFFERSON           GA     30549‐1537
JAMES LEIGH          326 GLENDOLA AVE NW                                                                              WARREN              OH     44483‐1249
JAMES LEINBERGER     10893 SCENIC DR                                                                                  HONOR               MI     49640‐9750
JAMES LEIS           321 S BARBOUR ST                                                                                 BEVERLY HILLS       FL     34465‐4056
JAMES LEISMER        4860 TULLAMORE DR                                                                                BLOOMFIELD HILLS    MI     48304‐3670
JAMES LEISTRA        81 VALEWOOD RUN                                                                                  PENFIELD            NY     14526‐2810
JAMES LELAND         114 W BERRY AVE                                                                                  LANSING             MI     48910‐2907
JAMES LELAND JR      4885 W BIS RD                                                                                    MIDLAND             MI     48642‐9258
JAMES LEMAN          193 WOODCREST DR                                                                                 AMHERST             NY     14226‐1225
JAMES LEMAN          6192 SANCTUARY POINTE DR                                                                         GRAND BLANC         MI     48439‐9021
JAMES LEMASTER       97 SEE CHAPEL RD                                                                                 LOUISA              KY     41230‐7675
JAMES LEMASTER       922 CAMP CREEK RD                                                                                WAYNESVILLE         OH     45068‐9205
JAMES LEMASTERS JR   33849 EAST ROYALTON ROAD                                                                         COLUMBIA STA        OH     44028‐8705
JAMES LEMAY          9130 GREENWAY CT APT L192                                                                        SAGINAW             MI     48609‐6730
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Name                      Address1                        Address2                     Address3             Address4                 City                 State   Zip
JAMES LEMERE              3639 BANGOR RD                                                                                             BAY CITY              MI     48706‐2210
JAMES LEMLEY              6121 W BENALEX DR                                                                                          TOLEDO                OH     43612‐4448
JAMES LEMLEY              3541 HEATHER RD                                                                                            FESTUS                MO     63028‐4998
JAMES LEMMIE              351 REARDON DR                                                                                             KIRKWOOD              MO     63122‐6452
JAMES LEMMON              7454 WESTVIEW DR                                                                                           YOUNGSTOWN            OH     44512‐5549
JAMES LEMMON              2910 LAFAYETTE CIR                                                                                         LANSING               MI     48906‐2412
JAMES LENHART JR          1646 ROSALYN CIR                                                                                           MINERAL RIDGE         OH     44440‐9514
JAMES LENNEN I I I        454 HICKORY LN                                                                                             HILHAM                TN     38568‐6186
JAMES LENNON              5937 N 700 W                                                                                               FRANKTON              IN     46044‐9534
JAMES LENOIR              3210 FLEMING RD                                                                                            FLINT                 MI     48504‐2510
JAMES LENOIR              1648 MASON BLVD                                                                                            MARION                IN     46953‐1507
JAMES LENOX SR            1705 E 25TH ST                                                                                             MUNCIE                IN     47302‐5919
JAMES LENTON              PO BOX 152                      307 DONNA DRIVE                                                            CLINTON               MI     49236‐0152
JAMES LENZ                632 4TH AVE SOUTH                                                                                          GLASGOW               MT     59230
JAMES LEO REGAL           ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON             IL    62024
                                                          ANGELIDES & BARNERD LLC
JAMES LEON                15855 S 222ND ST                                                                                           MESA                  AZ     85212‐7909
JAMES LEONARD             684 HARBOR DR N                                                                                            AZLE                  TX     76020‐2615
JAMES LEONARD             51 STATE ST                                                                                                PENNS GROVE           NJ     08069‐1621
JAMES LEONARD             1072 SUNNYDALE ST                                                                                          BURTON                MI     48509
JAMES LEONARD             8880 N PINE GROVE RD                                                                                       VESTABURG             MI     48891‐9536
JAMES LEONARD             313 MAPLE ST                                                                                               CHAPEL HILL           TN     37034‐3207
JAMES LEONARD             2420 SW 125TH ST                                                                                           OKLAHOMA CITY         OK     73170‐4833
JAMES LEONARD JR          1637 S HARVEY ST                                                                                           WESTLAND              MI     48186‐4120
JAMES LEONHARDT
JAMES LEPARD              20 N PALM ST APT 3                                                                                         JANESVILLE           WI      53548‐3585
JAMES LEPEAK              719 S. W. 47TH TERRACE          APARTMENT 201A                                                             CAPE CORAL           FL      33914
JAMES LEPPA               6486 KERNEYWOOD RD                                                                                         PARMA                OH      44129‐5386
JAMES LEPPEK              1206 CASS AVE                                                                                              BAY CITY             MI      48708‐8687
JAMES LEPPLA              1424 GRANT ST                                                                                              BELOIT               WI      53511‐3305
JAMES LEQUIN              300 WILLOW VALLEY LAKES DR      APT D103                                                                   WILLOW STREET        PA      17584
JAMES LERCH               BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS.          OH      44236
JAMES LERCH               3207 ELIZABETH CT                                                                                          TROY                 MO      63379‐6322
JAMES LESCH               6015 MARTINGALE LN                                                                                         BRENTWOOD            TN      37027‐5711
JAMES LESH                205 TERRANOVA BLVD                                                                                         WINTER HAVEN         FL      33884‐3423
JAMES LESLIE              2421 STANTON CT                                                                                            SHELBY TOWNSHIP      MI      48316‐1280
JAMES LESLIE              PO BOX 2                                                                                                   MIDDLETON            MI      48856‐0002
JAMES LESNIAK             30156 BLANCKE DR                                                                                           WARREN               MI      48093‐3090
JAMES LESPERANCE          822 NORTHSHORE DR                                                                                          SAINT CLAIR SHORES   MI      48080‐2830

JAMES LESS                15420 MURRAY RD                                                                                            BYRON                 MI     48418‐9049
JAMES LESSARD             8070 FAIRVIEW CT                                                                                           JACKSON               MI     49201‐9242
JAMES LESSLEY             PO BOX 1761                                                                                                ALMA                  AR     72921‐1761
JAMES LESTARGE            6220 W 1000 N                                                                                              HUNTINGTON            IN     46750‐9748
JAMES LESTARGE JR         2338 OPECHEE WAY                                                                                           FORT WAYNE            IN     46809‐1439
JAMES LESTER              135 BANNARD AVE                                                                                            TONAWANDA             NY     14150‐6213
JAMES LESTER              26860 CONSTANCE ST                                                                                         DEARBORN HEIGHTS      MI     48127‐1011

JAMES LESTER              12574 MAIDEN ST                                                                                            DETROIT              MI      48213‐1835
JAMES LESTER DARRINGTON   FOSTER & SEAR, LLP              817 GREENVIEW DRIVE                                                        GRAND PRAIRIE        TX      75050
JAMES LETAVIS             325 ELIZABETH DR                                                                                           OWOSSO               MI      48867‐9060
JAMES LETENDRE            8 CRESTWOOD AVE                                                                                            SPENCER              MA      01562‐2824
JAMES LETT                37375 CHESTNUT RIDGE RD                                                                                    ELYRIA               OH      44035‐8627
JAMES LEVELS              3510 HEBERT ST                                                                                             SAINT LOUIS          MO      63107‐2526
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Name                  Address1                       Address2             Address3        Address4               City             State   Zip
JAMES LEVI            4798 KOCHVILLE RD                                                                          SAGINAW           MI     48604‐9237
JAMES LEVINGSTON      112 W COOK RD                                                                              MANSFIELD         OH     44907‐2404
JAMES LEVINS          88 OLD TURNPIKE RD                                                                         BRISTOL           CT     06010‐2811
JAMES LEVY            1165 RED COAT LN                                                                           SPARTA            MI     49345‐9472
JAMES LEWALLEN        4374 LOUELLA DR                                                                            WATERFORD         MI     48329‐4025
JAMES LEWANDOWSKI     3416 90TH TER                                                                              PINELLAS PARK     FL     33782‐5938
JAMES LEWANDOWSKI     14 PAUL ST                                                                                 BRISTOL           CT     06010‐5577
JAMES LEWELLING       754 E JOSEPHINE CANYON DRIVE                                                               GREEN VALLEY      AZ     85614
JAMES LEWIS           1050 E HARVARD AVE                                                                         FLINT             MI     48505‐1508
JAMES LEWIS           12176 SPRING ST                                                                            KEITHVILLE        LA     71047‐8063
JAMES LEWIS           6509 TALLADAY RD                                                                           MILAN             MI     48160‐8814
JAMES LEWIS           SUNCREST DR APT 3505                                                                       FLINT             MI     48504
JAMES LEWIS           3508 W 30TH ST                                                                             INDIANAPOLIS      IN     46222‐2105
JAMES LEWIS           PO BOX 1744                                                                                STONE MTN         GA     30086‐1744
JAMES LEWIS           5110 CAMBORNE CT                                                                           FLINT             MI     48504‐1110
JAMES LEWIS           87 GENEVA ST                                                                               HIGHLAND PARK     MI     48203‐2732
JAMES LEWIS           4300 BAER RD                                                                               RANSOMVILLE       NY     14131‐9300
JAMES LEWIS           9480 WAYBURN ST                                                                            DETROIT           MI     48224‐2815
JAMES LEWIS           1855 BARKS ST                                                                              FLINT             MI     48503‐4301
JAMES LEWIS           11730 S THROOP ST                                                                          CHICAGO            IL    60643‐5125
JAMES LEWIS           PO BOX 202                                                                                 COALFIELD         TN     37719‐0202
JAMES LEWIS           600 HAMILTON RD                                                                            MOUNT MORRIS      MI     48458‐8908
JAMES LEWIS           1138 SPOTTSWOODE STREET                                                                    HENDERSON         NV     89002‐3387
JAMES LEWIS           1630 E FOSTER MAINEVILLE RD                                                                MORROW            OH     45152‐8567
JAMES LEWIS           6572 GLEANER HALL RD                                                                       NORTH BRANCH      MI     48461‐9341
JAMES LEWIS           1571 PLUNKETTS RD                                                                          BUFORD            GA     30519‐5069
JAMES LEWIS           806 CHARLES ST                                                                             YPSILANTI         MI     48198‐3006
JAMES LEWIS           702 N SYCAMORE ST                                                                          FAIRMOUNT         IN     46928‐1435
JAMES LEWIS           5036 PRICE WEST RD                                                                         NEWTON FALLS      OH     44444‐9512
JAMES LEWIS           PO BOX 420376                                                                              MIDDLETOWN        OH     45042
JAMES LEWIS           PO BOX 517                                                                                 SPRING HILL       TN     37174‐0517
JAMES LEWIS           215 E WILSON RD                                                                            SAINT JOHNS       MI     48879‐9604
JAMES LEWIS           406 MAGNOLIA DR                                                                            PRINCETON         KY     42445‐2311
JAMES LEWIS           28651 KATHRYN ST                                                                           GARDEN CITY       MI     48135‐2751
JAMES LEWIS           137 SHORELINE DRIVE EAST                                                                   PORT SANILAC      MI     48469‐9766
JAMES LEWIS           29553 CARLYSLE ST                                                                          INKSTER           MI     48141‐2712
JAMES LEWIS           5458 MEADOWCREST DR                                                                        FLINT             MI     48532‐4041
JAMES LEWIS           8733 E WALLEYE LN                                                                          WHITE CLOUD       MI     49349‐9305
JAMES LEWIS           225 E MOUNT HOPE AVE                                                                       LANSING           MI     48910‐9157
JAMES LEWIS           25666 ARCADIA DR                                                                           NOVI              MI     48374‐2441
JAMES LEWIS           10 BANQUO BRAE RD                                                                          BROOKFIELD        CT     06804‐3110
JAMES LEWIS           633 HUMMINGBIRD CT                                                                         JACKSONVILLE      FL     32259‐4319
JAMES LEWIS           8341 BURPEE RD                                                                             GRAND BLANC       MI     48439‐7420
JAMES LEWIS           5915 WAYBURN ST                                                                            DETROIT           MI     48224‐3042
JAMES LEWIS CHAPMAN
JAMES LEWIS JR        118 STOLZ DR                                                                               MIDDLETOWN       OH      45042‐3849
JAMES LEWIS JR        15196 HARRISON                                                                             ROMULUS          MI      48174‐3027
JAMES LEYERLE         33 NORWICH RD                                                                              PLEASANT RIDGE   MI      48069‐1027
JAMES LHOTAK          215 18TH ST SE                                                                             CLEVELAND        TN      37311‐3024
JAMES LICQUIA         6332 MEADOWWOOD LN                                                                         GRAND BLANC      MI      48439‐9197
JAMES LIDDLE          7352 KINGSVILLE ROAD                                                                       FARMDALE         OH      44417
JAMES LIDDLE          MOTLEY RICE LLC                28 BRIDGESIDE BLVD   PO BOX 1792                            MT PLEASANT      SC      29465
JAMES LIDGEY          5432 EVANS RD                                                                              HOLLY            MI      48442‐8431
JAMES LIEBRECHT       8092 S WEST BAY SHORE DR                                                                   TRAVERSE CITY    MI      49684‐9488
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JAMES LIED           3461 E WILSON RD                                                                                   CLIO               MI     48420‐9776
JAMES LIEN           NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                          DAINGERFIELD       TX     75638
JAMES LIETTE         38 CRESTON RD                                                                                      MANSFIELD          OH     44906‐2207
JAMES LIFFORD        3171 HARPER RD                                                                                     MASON              MI     48854‐9350
JAMES LIGGENS        533 FALLS AVE                                                                                      YOUNGSTOWN         OH     44502‐1607
JAMES LIGGINS        627 GILBERT AVE                                                                                    KALAMAZOO          MI     49048‐1722
JAMES LIGGINS        2041 SEYMOUR AVE                                                                                   FLINT              MI     48503‐4342
JAMES LIGHT          419 BUCKEYE DR                                                                                     SHEFFIELD LAKE     OH     44054‐1612
JAMES LIGHT          PO BOX 66                                                                                          FAIRVIEW           MI     48621‐0066
JAMES LIGHTFOOT      P.O.BOX 372 3898HWY43S                                                                             SAINT JOSEPH       TN     38481
JAMES LIGHTHALL      972 OXFORD ST                                                                                      BIRMINGHAM         MI     48009‐5630
JAMES LIGHTHILL      3249 ADAMS RIDGE RD                                                                                DEFIANCE           OH     43512‐9677
JAMES LIGHTNER       PO BOX 2252                                                                                        ALLIANCE           OH     44601‐0252
JAMES LIGNEY         702 WOODSIDE AVE                                                                                   ESSEXVILLE         MI     48732‐1288
JAMES LIGUORI        5282 BOYLE TER                                                                                     PT CHARLOTTE       FL     33981‐2202
JAMES LILLARD        4818 STATE ROUTE 225                                                                               DIAMOND            OH     44412‐9759
JAMES LILLY          13520 TERMINAL AVE                                                                                 CLEVELAND          OH     44135‐1651
JAMES LILLY          3418 TREETOP LN                                                                                    ATTICA             MI     48412‐9337
JAMES LIMBROCK       7126 MAPLE DR                                                                                      AVON               IN     46123‐8906
JAMES LIN            1905 PINE VALLEY CT                                                                                OAKLAND            MI     48363‐3048
JAMES LINCK          14467 W 140TH ST                                                                                   OLATHE             KS     66062‐5185
JAMES LINDELL        410 BENT OAK ST                                                                                    FENTON             MI     48430‐2287
JAMES LINDEN         5129 RUBY DR                                                                                       GLADWIN            MI     48624‐7702
JAMES LINDEN         423 HUNTER AVE                                                                                     NILES              OH     44446‐1624
JAMES LINDEN         673 CAMPUS RD                                                                                      ROCHESTER HILLS    MI     48309‐2164
JAMES LINDER         PO BOX 109                                                                                         WAYLAND            MI     49348‐0109
JAMES LINDERER       705 EDGEWOOD LN                                                                                    FESTUS             MO     63028‐1519
JAMES LINDMEIER      3628 MEADOWGLEN CT                                                                                 SAINT CHARLES      MO     63303‐6677
JAMES LINDNER        NIX, PATTERSON & ROACH, LLP    GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                          DAINGERFIELD       TX     75638
JAMES LINDSAY        11531 EAGLE RD                                                                                     DAVISBURG          MI     48350‐1411
JAMES LINDSAY        3121 POINT PLEASANT RD                                                                             NEWPORT            TN     37821‐8669
JAMES LINDSAY        109 STARLING DR                                                                                    MEDINA             NY     14103‐1333
JAMES LINDSAY JR     8012 MOSS GATE CT                                                                                  RICHMOND           VA     23227‐1673
JAMES LINDSEY        203 AUBURN AVE                                                                                     PONTIAC            MI     48342‐3010
JAMES LINDSEY        1850 E 650 N                                                                                       ALEXANDRIA         IN     46001‐8631
JAMES LINDSEY        7374 IRONWOOD DR                                                                                   SWARTZ CREEK       MI     48473‐9450
JAMES LINDSEY        2100 N HALIFAX DR                                                                                  MUNCIE             IN     47304‐9581
JAMES LINDSEY        2408 TIFT AVE N                C/O CYNTHIA E LINDSEY                                               TIFTON             GA     31794‐1825
JAMES LINDSEY        530 BIRCHTREE LN APT A                                                                             FORT WAYNE         IN     46807‐3655
JAMES LINDSEY        11070 LONGSHORE WAY W                                                                              NAPLES             FL     34119
JAMES LINGENFELTER   7855 SUTTON PL NE                                                                                  WARREN             OH     44484‐1459
JAMES LINGLE JR      3851 BEEBE RD                                                                                      NEWFANE            NY     14108‐9661
JAMES LINKOWSKI      7423 SOUTHWICK DR                                                                                  DAVISON            MI     48423‐9564
JAMES LINN           12808 OAKFIELD AVE                                                                                 CLEVELAND          OH     44105‐1941
JAMES LINTON         7147 PARTRIDGE DR                                                                                  FLUSHING           MI     48433‐8853
JAMES LINVILLE       8304 W 87TH ST                                                                                     INDIANAPOLIS       IN     46278‐1104
JAMES LINVILLE JR    3414 HEARDS FERRY DR                                                                               TAMPA              FL     33618‐2919
JAMES LIPKOVICH      3171 SAGINAW DR                                                                                    POLAND             OH     44514‐2110
JAMES LIPPS          116 FOWLER AVE                                                                                     KENMORE            NY     14217‐1504
JAMES LIPSCOMB       12750 E 65TH ST                                                                                    INDIANAPOLIS       IN     46236‐9726
JAMES LIPSCOMB       5075 FISHBURG RD                                                                                   DAYTON             OH     45424‐5308
JAMES LISS           4961 APPLE CT                                                                                      FREELAND           MI     48623‐8800
JAMES LISSKA         4868 LAMBERT RD                                                                                    GROVE CITY         OH     43123‐9668
JAMES LISSKA         1849 MYERS RD                                                                                      SHELBY             OH     44875‐8831
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JAMES LISTVAN       PO BOX 395                                                                                        FREELAND          MI     48623‐0395
JAMES LITTELL       7182 PARTRIDGE DR                                                                                 FLUSHING          MI     48433‐8853
JAMES LITTLE        35727 FLORANE ST                                                                                  WESTLAND          MI     48186‐8226
JAMES LITTLE        3 CHAPMAN PL                                                                                      TONAWANDA         NY     14150‐7919
JAMES LITTLE        396 COCHRAN DR                                                                                    NORCROSS          GA     30071‐2101
JAMES LITTLE        2518 FENTON CREEK LN                                                                              FENTON            MI     48430‐1396
JAMES LITTLE        213 TRIPLE OAKS DR                                                                                TUCKER            GA     30084‐2075
JAMES LITTLE        446 THORS ST                                                                                      PONTIAC           MI     48342‐1967
JAMES LITTLE        701 N MAIN ST                    LOT 61                                                           WELLINGTON        OH     44090‐1070
JAMES LITTLE        2 RIDGEMOOR RD                                                                                    BALTIMORE         MD     21221‐7032
JAMES LITTLE JR     9988 MOUNTAIN RD                                                                                  MIDDLEPORT        NY     14105‐9647
JAMES LITTLEJOHN    672 HUMBOLDT PKWY                                                                                 BUFFALO           NY     14211‐1114
JAMES LITTON        16520 PARK ST                                                                                     LIVONIA           MI     48154‐2204
JAMES LIVINGSTON    4267 GLENAYRE DR 82                                                                               ENGLEWOOD         OH     45322
JAMES LIVINGSTON    909 DRIPPING SPRINGS RD                                                                           GLASGOW           KY     42141‐9781
JAMES LIVINGSTON    C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                       BOSTON HEIGHTS    OH     44236
JAMES LLOYD         2280 WHITE LAKE RD                                                                                HIGHLAND          MI     48356‐1334
JAMES LLOYD         35 OLD MANOR RD                                                                                   NEWARK            DE     19711‐8011
JAMES LLOYD         410 W STATE ST                                                                                    PENDLETON         IN     46064‐1040
JAMES LLOYD         1285 W STONES CROSSING RD                                                                         GREENWOOD         IN     46143‐8554
JAMES LLOYD         9206 NASHUA TRL                                                                                   FLUSHING          MI     48433‐8838
JAMES LO DOLCE      7422 COUNTY LINE RD                                                                               ONTARIO           NY     14519‐9317
JAMES LOASCHING     336 BAYOU LOOP                                                                                    BOSSIER CITY      LA     71112‐9899
JAMES LOBDELL       101 HAMILTON PKWY                                                                                 SYRACUSE          NY     13214‐2329
JAMES LOBDELL       176 DRESDEN AVE                                                                                   PONTIAC           MI     48340‐2517
JAMES LOBODZINSKI   218 W NEBOBISH RD                                                                                 ESSEXVILLE        MI     48732‐9752
JAMES LOCAST        1720 S WILLARD AVE                                                                                JANESVILLE        WI     53546‐5731
JAMES LOCHRIDGE     PO BOX 578                                                                                        SCIENCE HILL      KY     42553‐0578
JAMES LOCHT         5025 WINIFRED ST                                                                                  WAYNE             MI     48184‐2637
JAMES LOCK          125 SPRINGWAY DR                                                                                  DAYTON            OH     45415‐2348
JAMES LOCKATON      651 E BROADWAY AVE                                                                                GIRARD            OH     44420‐2319
JAMES LOCKE         5113 S STATE AVE                                                                                  INDIANAPOLIS      IN     46227‐4264
JAMES LOCKER JR     600 EARL TOWNSEND RD                                                                              MINOR HILL        TN     38473‐5108
JAMES LOCKHART      3340 GLENDALE ST                                                                                  MONROE            MI     48162‐4416
JAMES LOCKHART      375 N GARBER DR                                                                                   TIPP CITY         OH     45371‐1334
JAMES LOCKHART      1 BEAVERDALE LN                                                                                   WILLINGBORO       NJ     08046‐1611
JAMES LOCKHART JR   375 N GARBER DR                                                                                   TIPP CITY         OH     45371‐1334
JAMES LOCKLEAR      1817 DUNDALK AVE                                                                                  DUNDALK           MD     21222‐2904
JAMES LOCKREY       2097 MILES RD                                                                                     LAPEER            MI     48446‐8080
JAMES LOCKSCHMIDT   228 STARLITE CIR                                                                                  BELLE VERNON      PA     15012‐4346
JAMES LOCKWOOD      PO BOX 651                                                                                        SCHOOLCRAFT       MI     49087‐0651
JAMES LOCKWOOD
JAMES LODL          C/O COONEY AND CONWAY            120 NORTH LASALLE 30TH FLOOR                                     CHICAGO           IL     60602
JAMES LOFTIN        769 E TENNYSON AVE                                                                                PONTIAC           MI     48340‐2963
JAMES LOFTIN JR     39 DOE CIR                                                                                        DUNLAP            TN     37327‐6657
JAMES LOFTUS
JAMES LOFTUS JR     1939 CRAMPTON CT                                                                                  CHESTERFIELD     MO      63017‐8038
JAMES LOGAN         2400 E 4TH ST                                                                                     LIMA             OH      45804‐4110
JAMES LOGAN         4260 COVERT RD                                                                                    LESLIE           MI      49251‐9710
JAMES LOGAN         APT 5                            7380 CRYSTAL LAKE DRIVE                                          SWARTZ CREEK     MI      48473‐8928
JAMES LOGAN         6905 ALBERICI AVE                                                                                 SAINT LOUIS      MO      63121‐3425
JAMES LOGAN         5341 HONEY COMB LN                                                                                INDIANAPOLIS     IN      46221‐3902
JAMES LOGAN JR      54335 MEADOW CT                                                                                   SOUTH LYON       MI      48178‐8039
JAMES LOGSDON       5036 HOWE RD                                                                                      WAYNE            MI      48184‐2417
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Name               Address1                         Address2                     Address3   Address4               City             State   Zip
JAMES LOMAN        20209 KARSCHNEY RD                                                                              LANSE             MI     49946‐8399
JAMES LOMAX        206 BUCKINGHAM ST                                                                               CATLIN             IL    61817‐9651
JAMES LOMBARDI     1048 N BRYS DR                                                                                  GROSSE POINTE     MI     48236‐1206
                                                                                                                   WOODS
JAMES LOMBARDI     13090 NORTH RD                                                                                  FENTON           MI      48430‐1076
JAMES LOMBARDO     1515 SKYHAWK PL                                                                                 WRIGHT CITY      MO      63390‐1417
JAMES LOMBARDO     156 N MERRIMAC ST                                                                               PONTIAC          MI      48340‐2532
JAMES LOMBARDO     142 W CORNELL AVE                                                                               PONTIAC          MI      48340‐2720
JAMES LOMBUS       4849 DANBI DR                                                                                   METAMORA         MI      48455‐9608
JAMES LOMMEL       10093 ARNOLD DR                                                                                 DEXTER           MI      48130‐9596
JAMES LONCZAK      29651 TEE SHOT DR                                                                               SAN ANTONIO      FL      33576‐4658
JAMES LONEY        9813 E 73RD ST APT C                                                                            RAYTOWN          MO      64133‐6562
JAMES LONG         11415 BLUFF ROAD                                                                                TRAVERSE CITY    MI      49686‐8177
JAMES LONG         192 ALLEN ST                                                                                    MASSENA          NY      13662‐1844
JAMES LONG         4241 W CANDY APPLE CT                                                                           NEW MIDDLETOWN   OH      44442‐7715

JAMES LONG         318 ARDEN RD W                                                                                  BALTIMORE        MD      21225‐2606
JAMES LONG         1630 S UNION ST                                                                                 KOKOMO           IN      46902‐2123
JAMES LONG         5153 S RANGELINE RD                                                                             WEST MILTON      OH      45383‐9604
JAMES LONG         4306 RD 15 RR 2                                                                                 LEIPSIC          OH      45856
JAMES LONG         6359 COUNTY ROAD 491                                                                            LEWISTON         MI      49756‐9172
JAMES LONG         3820 OLDS RD                                                                                    LESLIE           MI      49251‐9497
JAMES LONG         PO BOX 302                                                                                      HOWARD CITY      MI      49329‐0302
JAMES LONG         PO BOX 536                                                                                      WINDFALL         IN      46076‐0536
JAMES LONG         3114 LAMPLIGHTER LN                                                                             KOKOMO           IN      46902‐8127
JAMES LONG         8074 NORTHLAKE RD                                                                               MILLINGTON       MI      48746‐9610
JAMES LONG         2084 W KENT RD                                                                                  BRECKENRIDGE     MI      48615‐9628
JAMES LONG         4208 FARNER AVE                                                                                 WATERFORD        MI      48329‐4107
JAMES LONG         48 BLAKES FRK                                                                                   WILLIAMSBURG     KY      40769‐9611
JAMES LONG         21628 BEAN RD W                                                                                 ATHENS           AL      35614‐6915
JAMES LONG         PO BOX 405                                                                                      ORFORDVILLE      WI      53576‐0405
JAMES LONG         1105 WORCESTER AVE                                                                              INDIANAPOLIS     IN      46203‐2450
JAMES LONG         312 SAINT GEORGE DR                                                                             CROSSVILLE       TN      38558‐9030
JAMES LONG         4187 QUANICASSEE RD                                                                             FAIRGROVE        MI      48733‐9795
JAMES LONG         1544 S GRANT AVE                                                                                JANESVILLE       WI      53546‐5411
JAMES LONG         2225 CASTLEWOOD DR                                                                              FRANKLIN         TN      37064‐4912
JAMES LONG         3663 JIM WARREN RD                                                                              SPRING HILL      TN      37174‐2823
JAMES LONG         306 CLARK STREET                                                                                SOUTH ENGLISH    IA      52335‐8514
JAMES LONG         C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH      44236
JAMES LONG JR      4127 JENERA LN                                                                                  DAYTON           OH      45424‐5772
JAMES LONGFELLOW   1000 SOUTH PRAIRIE STREET                                                                       BROOKSTON        IN      47923‐8409
JAMES LONGSTRETH   BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH      44236
JAMES LONGWORTH    14833 REDCLIFF DR                                                                               NOBLESVILLE      IN      46062‐7101
JAMES LONGWORTH    18 CHESTNUT DR                                                                                  FENTON           MI      48430‐8775
JAMES LONSBERRY    10607 HARTEL RD                                                                                 GRAND LEDGE      MI      48837‐9489
JAMES LONSBURY     2503 FULTON RD                                                                                  WOOSTER          OH      44691‐9659
JAMES LOOK JR      2320 THORNWOOD DR                                                                               HOLT             MI      48842‐9705
JAMES LOOMIS       6759 PONDEROSA RD                                                                               HALE             MI      48739‐9076
JAMES LOONEY       51 APPLE RD                                                                                     LOCUST GROVE     GA      30248‐4205
JAMES LOONEY JR    618 BENT TREE DR                                                                                EULESS           TX      76039‐2118
JAMES LOOPER       12263 N 1840 RD                                                                                 SAYRE            OK      73662‐7000
JAMES LOOSENORT    1950 64TH ST SW                                                                                 BYRON CENTER     MI      49315‐8693
JAMES LOPER        12746 STOEPEL ST                                                                                DETROIT          MI      48238‐4208
JAMES LOPEZ        6794 LOFFREDA AVE                                                                               NORTH PORT       FL      34291‐4549
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Name                 Address1                               Address2                  Address3   Address4               City             State Zip
JAMES LOPRESTO       C/O ANGELINA FRACCARO & HERRICK P.C.   1626 W COLONIAL PARKWAY                                     INVERNESS          IL 60067

JAMES LORBIECKI      932 S 91ST ST                                                                                      WEST ALLIS       WI   53214‐2847
JAMES LORD           483 PLEASANT ST                                                                                    SOUTHINGTON      CT   06489‐2711
JAMES LOREE          7591                                                                                               CNETERVILLE      OH   45459‐5019
JAMES LOREE          762 N RENAUD RD                                                                                    GROSSE POINTE    MI   48236‐1722
                                                                                                                        WOODS
JAMES LORENZ         5096 DENNIS ST                                                                                     FLINT            MI   48506‐1116
JAMES LORIA          4452 REID RD                                                                                       SWARTZ CREEK     MI   48473
JAMES LORRAINE       905 N COMMERCIAL ST                                                                                BENTON           IL   62812‐2017
JAMES LOSEE          189 S KIRK RD                                                                                      FAIRGROVE        MI   48733‐9506
JAMES LOTHERY        479 RAEBURN ST                                                                                     PONTIAC          MI   48342‐3443
JAMES LOTT           6017 MCCANDLISH RD                                                                                 GRAND BLANC      MI   48439‐9538
JAMES LOTT           8133 S DEWITT RD                                                                                   DEWITT           MI   48820‐8042
JAMES LOTT           PO BOX 367                                                                                         FINLEY           TN   38030‐0367
JAMES LOTT           3712 GLOUCESTER ST                                                                                 FLINT            MI   48503‐4538
JAMES LOTTS          1855 W WICKENBURG WAY LOT 124                                                                      WICKENBURG       AZ   85390‐3239
JAMES LOUGHREY       11 ISLAND PARK CIR                                                                                 GRAND ISLAND     NY   14072‐3232
JAMES LOURIS         17 LESTER CT                                                                                       PONTIAC          MI   48341‐3021
JAMES LOUTHAN        5612 BELLAIRE DR S                     APT 204                                                     FORT WORTH       TX   76109‐3984
JAMES LOUTZENHISER   145 HILLTOP RD                                                                                     GREENVILLE       PA   16125‐9220
JAMES LOUVIER        1820 66TH AVENUE EAST                                                                              COTTONDALE       AL   35453‐1555
JAMES LOVASZ         5497 HIDDEN VALLEY TRL                                                                             LINDEN           MI   48451‐8832
JAMES LOVASZ         801 BARNEY AVE                                                                                     FLINT            MI   48503‐4920
JAMES LOVE           5567 CIDER MILL XING                                                                               YOUNGSTOWN       OH   44515‐4274
JAMES LOVE           4204 HUNTERS CT                                                                                    ARLINGTON        TX   76016‐4802
JAMES LOVE           906 RUCKS ST                                                                                       LAKE VILLAGE     AR   71653‐1737
JAMES LOVE           1145 EBENEZER CHURCH RD                                                                            TALBOTT          TN   37877‐3825
JAMES LOVE           2110 N M65                                                                                         CURRAN           MI   48728
JAMES LOVE           1609 NW 93RD ST                                                                                    KANSAS CITY      MO   64155‐7817
JAMES LOVE, JR.      290 BURGESS AVE                                                                                    DAYTON           OH   45415‐2630
JAMES LOVEGREEN      122 E CHURCH                                                                                       PALMYRA          MO   63461
JAMES LOVELACE       831 N PONTIAC TRL LOT 37                                                                           WALLED LAKE      MI   48390‐3204
JAMES LOVELACE       3710 W DIVISION RD                                                                                 BARGERSVILLE     IN   46106‐8952
JAMES LOVELACE       109 GLENWOOD DR                                                                                    AMERICUS         GA   31709‐4702
JAMES LOVELACE       2632 TWIN VALLEY RD                                                                                TROY             MO   63379‐4908
JAMES LOVELACE JR.   2632 TWIN VALLEY RD                                                                                TROY             MO   63379‐4908
JAMES LOVELESS       65 ANNA ST                                                                                         DAYTON           OH   45417‐2252
JAMES LOVELESS       151 WINDY LAKE RD                                                                                  BREMEN           GA   30110‐4119
JAMES LOVELESS       1250 VENICE CT                                                                                     WATERFORD        MI   48328‐4775
JAMES LOVELESS JR    2701 N GETTYSBURG AVE APT 9                                                                        DAYTON           OH   45406‐1609
JAMES LOVERN         1018 JAN DR                                                                                        BURKBURNETT      TX   76354‐3022
JAMES LOVIN          1618 INGLEWOOD ST                                                                                  FOREST GROVE     OR   97116‐3133
JAMES LOVING         2486 SHANKSDOWN RD                                                                                 GARRETTSVILLE    OH   44231‐9301
JAMES LOVINS JR      4475 ASHLAWN DR                                                                                    FLINT            MI   48507‐5655
JAMES LOVISCEK       1415 N MORRISH RD                                                                                  FLINT            MI   48532‐2046
JAMES LOW            5971 TIBET DR                                                                                      HUBER HEIGHTS    OH   45424‐5326
JAMES LOWE           48675 KINGS HWY                                                                                    BEALLSVILLE      OH   43716‐9348
JAMES LOWE           165 MORALLION HLS                                                                                  PEACHTREE CITY   GA   30269‐2770
JAMES LOWE           PO BOX 245                                                                                         GRAND MARAIS     MI   49839‐0245
JAMES LOWE           13479 W US 223                                                                                     MANITOU BEACH    MI   49253
JAMES LOWE           210 WHISPERING PINES ST                                                                            SPRINGBORO       OH   45066‐9741
JAMES LOWE           PO BOX 97                              230 3RD STREET                                              CLAY CENTER      OH   43408‐0097
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Name                Address1                             Address2                   Address3             Address4                 City            State Zip
JAMES LOWE          2607 MERCER PL                                                                                                THOMPSONS        TN 37179‐5063
                                                                                                                                  STATION
JAMES LOWE          101 N FORK DR                                                                                                 CHAPEL HILL     TN   37034‐7016
JAMES LOWE          12201 MCGINNIS ROAD                                                                                           DANVILLE        OH   43014‐9690
JAMES LOWE JR       1755 GILMAN ST                                                                                                GARDEN CITY     MI   48135‐3022
JAMES LOWELL        649 PLEASANT ST                                                                                               CHARLOTTE       MI   48813‐1942
JAMES LOWER         THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES          22ND FLOOR                                    BALTIMORE       MD   21201

JAMES LOWERY        PO BOX 182                                                                                                    CHOCTAW         OK   73020‐0182
JAMES LOWERY        1703 S MCLOUD RD                                                                                              MCLOUD          OK   74851‐8579
JAMES LOWERY        4901 N BUFFALO DR                                                                                             BEVERLY HILLS   FL   34465‐2755
JAMES LOWERY        1712 E 21ST ST                                                                                                MUNCIE          IN   47302‐5456
JAMES LOWN          13650 HEMLOCK RD                                                                                              CHESANING       MI   48616‐9540
JAMES LOWRIMORE     801 HILLCREST DR                                                                                              ARLINGTON       TX   76010‐3140
JAMES LOWRY         5707 STONINGTON AVE                                                                                           BALTIMORE       MD   21207‐6860
JAMES LOWTHER       402 CORNWALL AVE                                                                                              BUFFALO         NY   14215‐3159
JAMES LOYD          2612 S 11TH AVE                                                                                               BROADVIEW       IL   60155‐4816
JAMES LOYD          202 APACHE CIR                                                                                                PULASKI         TN   38478‐9548
JAMES LOYD          9251 DITCH RD                                                                                                 CHESANING       MI   48616‐9712
JAMES LOYD BARNET   ROBERT W PHILLIPS                    SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON      IL   62024
                                                         ANGELIDES & BARNERD LLC
JAMES LOYD HOYT     BARON & BUDD PC                      THE CENTRUM SUITE 1100     3102 OAK LAWN AVE                             DALLAS          TX   75219‐4281
JAMES LOZANO        4661 SLOAN ST                                                                                                 FREMONT         CA   94538‐1923
JAMES LUANA         2149 S VAN BUREN RD                                                                                           REESE           MI   48757‐9213
JAMES LUCAS         470 E 332ND ST                                                                                                EASTLAKE        OH   44095‐2722
JAMES LUCAS         56 WALNUT HALL DR                                                                                             INDEPENDENCE    KY   41051‐8640
JAMES LUCAS         3055 SADDLE CLUB RD                                                                                           GREENWOOD       IN   46143‐8879
JAMES LUCAS         30 BELLE AVE                                                                                                  ASHLAND         OH   44805‐1301
JAMES LUCAS         312 PALMER LN                                                                                                 BRYAN           OH   43506‐9362
JAMES LUCCHESI      PO BOX 402                                                                                                    KYBURZ          CA   95720‐0402
JAMES LUCCI
JAMES LUCIANO       559 N GREECE RD                                                                                               HILTON          NY   14468‐8975
JAMES LUCIER        4 SAMOSET CIR                                                                                                 MEDWAY          MA   02053‐1401
JAMES LUCKADOO      5586 CHOCTAW LN                                                                                               HAMILTON        OH   45011‐8275
JAMES LUCKE         2287 W ANDERSON RD                                                                                            LINWOOD         MI   48634‐9743
JAMES LUCKEY        PO BOX 1442                                                                                                   MARION          IN   46952‐7842
JAMES LUCKYADO      PO BOX 3498                                                                                                   SAGINAW         MI   48605‐3498
JAMES LUCY          4951 S HAGGERTY RD LOT 42                                                                                     CANTON          MI   48188‐2858
JAMES LUCZEK        PO BOX 958                                                                                                    MIDDLEBURY      IN   46540‐0958
JAMES LUDE JR       PO BOX 61                                                                                                     ELLSWORTH       OH   44416‐0061
JAMES LUDLOW        731 W COUNTY ROAD 950 N                                                                                       LIZTON          IN   46149‐9363
JAMES LUDWIG        9283 ASHPACHER RD                                                                                             DEFIANCE        OH   43512‐9702
JAMES LUECHTEFELD   5380 HIGHWAY 185                                                                                              LESLIE          MO   63056‐1118
JAMES LUECK         4280 CAHOKIA RDG                                                                                              LINDEN          MI   48451‐8435
JAMES LUECKE        4209 GREEN ACRES CIR                                                                                          ARLINGTON       TX   76017‐2305
JAMES LUECKE        3845 WEST COLLEGE AVE                                                                                         MILWAUKEE       WI   53221
JAMES LUKASIK       291 WITMER RD                                                                                                 N TONAWANDA     NY   14120‐1625
JAMES LUKETICH      1303 MEADOW GREEN LN                                                                                          LINDEN          MI   48451‐9402
JAMES LUKETICH      3402 HUGGINS AVE                                                                                              FLINT           MI   48506‐2602
JAMES LUKOMSKI      22229 MADISON ST                                                                                              DEARBORN        MI   48124‐3607
JAMES LUM           307 WEINLAND DR                                                                                               NEW CARLISLE    OH   45344‐2828
JAMES LUMBERT       5372 W LEHMAN RD                                                                                              DEWITT          MI   48820‐9151
JAMES LUMLEY        8267 JAMAICA RD                                                                                               GERMANTOWN      OH   45327‐8760
JAMES LUMSDEN       9246 WILLITS RD                                                                                               MAYVILLE        MI   48744‐9391
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Name                           Address1                       Address2                      Address3   Address4               City           State Zip
JAMES LUNA                     11833 E GOODALL RD                                                                             DURAND          MI 48429‐9782
JAMES LUNDY                    4227 E 163RD ST                                                                                CLEVELAND       OH 44128‐2405
JAMES LUNNY
JAMES LUNSFORD                 14880 STATE ROUTE 15                                                                           DEFIANCE       OH   43512‐8820
JAMES LUOMA                    710 COUNTRY PINES DR SW                                                                        WARREN         OH   44481‐9674
JAMES LUPIANI                  77 SANFORD ST                                                                                  ROCHESTER      NY   14620‐2224
JAMES LUPIEN                   46 GRIFFIN RD                                                                                  FRAMINGHAM     MA   01701‐3389
JAMES LUPLOW                   1140 SAUK LN                                                                                   SAGINAW        MI   48638‐5529
JAMES LUSCHER                  1845 W TUPPER HEIGHTS DR                                                                       LAKE ODESSA    MI   48849‐9460
JAMES LUSK                     8318 N LINDEN RD                                                                               MOUNT MORRIS   MI   48458‐9326
JAMES LUSTER JR                99 ISAAC DR                                                                                    BUNKER HILL    WV   25413‐3496
JAMES LUSZCZYNSKI              611 HEIDI LN                                                                                   MANSFIELD      OH   44904‐1681
JAMES LUTE                     991 GULTICE RD                                                                                 XENIA          OH   45385‐8427
JAMES LUTERZO                  5816 WINDING RIDGE WAY                                                                         FREDERICK      MD   21704‐6741
JAMES LUTH                     46320 JACKSON DR                                                                               MACOMB         MI   48044‐3177
JAMES LUTMAN                   9975 AVALON DR                                                                                 EAGLE          MI   48822‐9715
JAMES LUTTINEN                 10867 ARBOUR DR                                                                                BRIGHTON       MI   48114‐9064
JAMES LUTTON                   611 N MCKENZIE ST                                                                              MUNCIE         IN   47304‐3119
JAMES LUTZ                     3187 W STATE ROAD 18                                                                           KOKOMO         IN   46901‐7669
JAMES LUTZ                     10222 SAINT DANIEL LN                                                                          SAINT ANN      MO   63074‐3815
JAMES LUTZ                     5665 EAST RD                                                                                   SAGINAW        MI   48601‐9748
JAMES LUTZ                     52900 SEQUOIA TRL                                                                              CHESTERFIELD   MI   48047‐1491
JAMES LUTZKE                   41627 CARMEN ST                                                                                FREMONT        CA   94539‐4556
JAMES LUZIK                    PO BOX 5091                                                                                    POLAND         OH   44514‐0091
JAMES LYKINS                   5193 HORSESHOE DR                                                                              LEWISBURG      OH   45338‐8922
JAMES LYLE                     10101 WOODIRON DR                                                                              DULUTH         GA   30097‐3761
JAMES LYLE                     5321 PLANZ RD                                                                                  BAKERSFIELD    CA   93309‐8923
JAMES LYLE                     709 CALDER AVE                                                                                 YPSILANTI      MI   48198‐6190
JAMES LYLES                    THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                                     HOUSTON        TX   77017
JAMES LYNCH                    WEITZ & LUXENBERG P.C.         180 MAIDEN LANE                                                 NEW YORK       NY   10038
JAMES LYNCH                    5739 SUNCREST WAY CIR                                                                          SAINT LOUIS    MO   63129‐6719
JAMES LYNCH                    215 M.C. 8124                                                                                  PEEL           AR   72668
JAMES LYNCH                    809 S BALLENGER HWY APT 18B                                                                    FLINT          MI   48532‐3809
JAMES LYNCH                    425 1/2 JOHN ST                                                                                EAST NEWARK    NJ   07029‐2776
JAMES LYNCH                    37 DAWES DR                                                                                    NEWARK         DE   19702‐1428
JAMES LYNCH                    406 S MAIN ST                                                                                  LESLIE         MI   49251‐9402
JAMES LYNCH JR                 828 DAVEY COX RD                                                                               MITCHELL       IN   47446‐7410
JAMES LYNN                     PO BOX 1254                                                                                    CALAIS         ME   04619‐6254
JAMES LYON                     1312 LANDEROS LN                                                                               LADY LAKE      FL   32159‐8593
JAMES LYON                     1563 POORMAN RD                                                                                BELLVILLE      OH   44813‐8827
JAMES LYONS                    52 SEQUOIA DR                                                                                  ROCHESTER      NY   14624‐4550
JAMES LYONS                    3536 LYNCHESTER RD                                                                             BALTIMORE      MD   21215‐7415
JAMES LYONS                    73830 FREEPORT RD                                                                              FREEPORT       OH   43973‐9629
JAMES LYONS                    1252 NICHOLS RD                                                                                FLUSHING       MI   48433‐9725
JAMES LYONS                    3109 RAYBORN DR                                                                                LANSING        MI   48911‐1444
JAMES LYONS                    104 CREEKVIEW DR                                                                               COLUMBIA       TN   38401‐6917
JAMES LYONS
JAMES LYONS                    20967 SUFFOLK ST                                                                               CLINTON TWP    MI   48035‐2772
JAMES LYTLE                    5393 E 00 NS                                                                                   GREENTOWN      IN   46936‐8775
JAMES LYTLE                    10635 LONGSHORE WAY E                                                                          NAPLES         FL   34119‐7975
JAMES LYTLE                    4701 RIVERSIDE DR                                                                              LYONS          MI   48851‐8717
JAMES LYTLE                    603 W WALLACE ST                                                                               ASHLEY         MI   48806‐9702
JAMES M & BARBARA J GUADAGNI   8224 S FOUR OAKS DR                                                                            FRANKLIN       WI   53132‐8969
JAMES M & LORI L ROSENTRETER   C/O JAMES M ROSENTRETER        PO BOX 8771                                                     RED BLUFF      CA   96080
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Name                                Address1                           Address2                    Address3          Address4               City              State   Zip
JAMES M AND BERNADINE V HULT        JAMES HULT                         309 N BRADLEY DRIVE                                                  CHICAGO HEIGHTS     IL    60411
JAMES M AND SUZETTE D JURY TTEE     O/T JURY FAMILY TRUST UAD 8/1/97   PO BOX 309                                                           KEENE              CA     93531
JAMES M ANDERSON                    2078 SARATOGA AVE SW                                                                                    WARREN             OH     44485‐3960
JAMES M ARGENTO                     373 WOOD RD                                                                                             ROCHESTER          NY     14626‐3238
JAMES M ARMSTRONG                   909 N LINCOLN ST                                                                                        BAY CITY           MI     48708‐6156
JAMES M BARBATO                     26 COBLESKILL DRIVE                                                                                     ROCHESTER          NY     14626
JAMES M BARKER                      5238 WHEATON ST.                                                                                        DAYTON             OH     45429‐1950
JAMES M BARRIOS                     34538 BLACKFOOT ST                                                                                      WESTLAND           MI     48185‐2725
JAMES M BARTOSH                     NIX PATTERSON AND ROACH LLP        GM BANKRUPTCY DEPARTMENT    205 LINDA DRIVE                          DAINGERFIELD       TX     75638
JAMES M BETKE                       335 BLACK MOUNTAIN RD E                                                                                 DUNLAP             TN     37327‐6730
JAMES M BINKLEY                     5232 W COURT ST                                                                                         FLINT              MI     48532‐4115
JAMES M BLACK                       1956 HILLCREST DR                                                                                       LAKE               MI     48632‐9514
JAMES M BLEWITT                     9580 E.CENTER ST.                                                                                       WINDHAM            OH     44288‐1009
JAMES M BOOTH                       PO BOX 346                                                                                              ALGONAC            MI     48001‐0346
JAMES M BOUWENS                     1639 SHALLOW CREEK TRAIL                                                                                WEBSTER            NY     14580‐9604
JAMES M BRAWNER                     1631 TARPON AVE                                                                                         PLAINFIELD         IN     46168‐1945
JAMES M BRENNAN                     126 NOYA PLACE                                                                                          LOUDON             TN     37774
JAMES M BROCKINGTON                 2503 BIRCHWOOD COURT                                                                                    NO. BRUNSWICK      NJ     08902‐3925
JAMES M BROWNING                    1052 DUNAWAY STREET                                                                                     MIAMISBURG         OH     45342‐8810
JAMES M BRUNETTE                    1705 4TH ST                                                                                             BAY CITY           MI     48708‐6218
JAMES M BRYANT                      C/O WILLIAMS KHERKHER HART &       8441 GULF FREEWAY STE 600                                            HOUSTON            TX     77007
                                    BOUNDAS LLP
JAMES M BRYANT                      8 CANTERBURY DR                                                                                         NEWNAN            GA      30263
JAMES M BUCKEL                      13508 N CENTER RD                                                                                       CLIO              MI      48420‐9199
JAMES M BURR                        5260 NORTH UNION ROAD                                                                                   CLAYTON           OH      45315
JAMES M CAREY                       109 E COQUENA CIRCLE                                                                                    SAVANNAH          GA      31410‐1333
JAMES M CARR                        127 SEWARD ST APT 104                                                                                   DETROIT           MI      48202‐2435
JAMES M CARTER                      5263 ROBINWOOD AVENUE                                                                                   DAYTON            OH      45431‐2835
JAMES M CARTER SR                   C/O WILLIAMS KHERKHER HART &       8441 GULF FREEWAY STE 600                                            HOUSTON           TX      77007
                                    BOUNDAS LLP
JAMES M CASTLEBERRY &               JOETTE B CASTLEBERRY JTWROS        PO BOX 230972                                                        MONTGOMERY        AL      36123
JAMES M CHAMBASIAN                  6616 MEDLEY DR.                                                                                         RACINE            WI      53402
JAMES M CHENEY                      8223 FOSTORIA RD                                                                                        FOSTORIA          MI      48435‐9505
JAMES M CHITWOOD                    943 PRIMROSE DR                                                                                         WEST CARROLLT     OH      45449‐2027
JAMES M CLAXTON AND JANIE K CLAXTON 1630 OTTER CREEK RD                                                                                     NASHVILLE         TN      37215‐5219

JAMES M COCKERHAM                    7790 WEST KIESTER RD                                                                                   MIDDLETOWN        OH      45042‐1023
JAMES M COLVIN                       115 STEWART LANE                                                                                       GERMANTOWN        OH      45327‐9329
JAMES M COOK                         G9070 N SAGINAW RD APT 134                                                                             MOUNT MORRIS      MI      48458
JAMES M CORCORAN                     32 W DIXON AVE                                                                                         DAYTON            OH      45419
JAMES M CULP                         8305 DORR ST                                                                                           TOLEDO            OH      43617‐1732
JAMES M CUMMINS                      952 KERCHER ST                                                                                         MIAMISBURG        OH      45342‐1826
JAMES M DAILEY                       51 FINCH STREET                                                                                        ROCHESTER         NY      14613‐2236
JAMES M DAVIS                        270 W FUNDERBURG RD                                                                                    FAIRBORN          OH      45324‐2337
JAMES M DEHART                       191 SHAWNEE CT                                                                                         FRANKLIN          OH      45005
JAMES M DEMERS                       45819 7 MILE RD                                                                                        NORTHVILLE        MI      48167‐1702
JAMES M DESGRANGE                    3017 WYOMING AVE                                                                                       FLINT             MI      48506‐2465
JAMES M DEUPREE                      214 BANBERRY N                                                                                         LANSING           MI      48906‐1530
JAMES M DONEGAN JR                   713 N GEPHART CHURCH RD                                                                                MIAMISBURG        OH      45342‐2708
JAMES M DOUGLAS                      139 LAUREN LN                                                                                          LINCOLNTON        NC      28092
JAMES M DOWLING                      50 JOSIES LANE                                                                                         ROCHESTER         NY      14616
JAMES M DUFF                         903 POWELL AV                                                                                          MIAMISBURG        OH      45342
JAMES M EDWARDS                      PO BOX 4928                                                                                            AKRON             OH      44310‐0928
JAMES M ELAM                         6212 CARMIN AVE                                                                                        DAYTON            OH      45427
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Name                  Address1                        Address2                    Address3   Address4               City            State   Zip
JAMES M ELROD         33069 MERRITT CT                                                                              WESTLAND         MI     48185‐1589
JAMES M FARRIS        22902 DUGAN DR.                                                                               HEARTSHORN       MO     65479‐6726
JAMES M FEDERSPIEL    7174 PETTIT RD                                                                                BIRCH RUN        MI     48415‐8735
JAMES M FERGUSON      12105 NE 68TH PLACE                                                                           KIRKLAND         WA     98033‐8426
JAMES M FISHER        5902 GOLDRUSH AVE.                                                                            GRANT            FL     32949
JAMES M FITCH         1269 WYSONG RD                                                                                W. ALEXANDRIA    OH     45381‐9736
JAMES M FUHR          3830 NW 82ND ST                                                                               KANSAS CITY      MO     64151‐1822
JAMES M GEVEDON       1108 HARBOR SHORE DR                                                                          KNOXVILLE        TN     37934
JAMES M GILBERT       7079 N BRAY RD                                                                                MOUNT MORRIS     MI     48458‐8988
JAMES M GILBERT       1150 E CORNELL AVE                                                                            FLINT            MI     48505‐1614
JAMES M GILL JR       5170 GEORGE ST                                                                                FLINT            MI     48505‐1655
JAMES M GILLAM        100 COURT ST                                                                                  CANFIELD         OH     44406‐1408
JAMES M GIORGIS       1668 S HURON RD                                                                               KAWKAWLIN        MI     48631‐9408
JAMES M GLOSSIP       219 EAST CENTER STREET                                                                        FARMERSVILLE     OH     45325‐‐ 11
JAMES M GORMAN        6551 PINE LAKE DR               #4                                                            TINLEY PARK       IL    60477‐‐ 51
JAMES M GRIGSBY       5066 WAYNE‐MADISON RD                                                                         TRENTON          OH     45067‐9717
JAMES M GRIMSLEY JR   5018 PENSACOLA BLVD                                                                           MORAINE          OH     45439‐2941
JAMES M GRISHAM       BARBARA L GRISHAM               4010 DOUGLAS RD                                               ELDORADO          IL    62930
JAMES M HAMILTON      2014 WESTBURY CT.                                                                             XENIA            OH     45385‐4939
JAMES M HARRIS        1495 BIMNI DR.                                                                                CENTERVILLE      OH     45459‐5406
JAMES M HART          8861 WASHINGTON COLONY DR                                                                     DAYTON           OH     45458‐3376
JAMES M HART          70 LANSMERE WAY                                                                               ROCHESTER        NY     14624
JAMES M HAYS          4535 JOHNSVILL‐BROOKVILLE RD                                                                  BROOKVILLE       OH     45309
JAMES M HICKS         14180 NEFF RD                                                                                 CLIO             MI     48420‐8846
JAMES M HILLMAN JR    10966 W STATE ROAD 142                                                                        QUINCY           IN     47456‐9425
JAMES M HINES         4602 BRITTANY RD                                                                              INDIANAPOLIS     IN     46222‐1364
JAMES M HOLKO         5396 OLE BANNER TRL                                                                           GRAND BLANC      MI     48439‐7705
JAMES M HOLLOWAY      161 CHAPEL CLIFF DR                                                                           RAYMOND          MS     39154‐9571
JAMES M HOON JR.      1565 EDGEWOOD NE                                                                              WARREN           OH     44483‐4123
JAMES M HORNE         3913 WALNUT GROVE LN.                                                                         BEAVERCREEK      OH     45440
JAMES M HUNLEY        C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                     HOUSTON          TX     77007
                      BOUNDAS, LLP
JAMES M IRVINE        622 PIN OAK LN                                                                                FLINT           MI      48506‐5224
JAMES M IVORY         2464 HANCOCK AVE                                                                              DAYTON          OH      45406‐1729
JAMES M IVORY         2464 HANCOCK                                                                                  DAYTON          OH      45406‐1729
JAMES M JELLISON      827 STATE ROUTE 503 N                                                                         W. ALEXANDRIA   OH      45381‐9729
JAMES M JENKINS       C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                     HOUSTON         TX      77007
                      BOUNDAS LLP
JAMES M JERNAGAN      1404 NE 4TH ST                                                                                MOORE           OK      73160‐7871
JAMES M JOHNSON       3615 W MURRAY ST                                                                              INDIANAPOLIS    IN      46221‐2263
JAMES M JONES         247 W DTN YLW SPGS RD 256                                                                     FAIRBORN        OH      45324
JAMES M JORDAN JR     287 DEANS RHODE HALL RD                                                                       JAMESBURG       NJ      08831‐3005
JAMES M JURY          JAMES M JURY (IRA)              PO BOX 309                                                    KEENE           CA      93531
JAMES M JUSTICE       143 B OUTERBELLE RD                                                                           TROTWOOD        OH      45426‐1527
JAMES M JUSTICE       143 OUTER BELLE RD APT B                                                                      DAYTON          OH      45426
JAMES M KELLEY        894 FRANKLIN AVE                                                                              COLUMBUS        OH      43205
JAMES M KRANTZ        3228 COVE RD                                                                                  UNION MILLS     NC      28167‐8618
JAMES M KURTZ         12456 2ND ST APT 105                                                                          YUCAIPA         CA      92399‐4236
JAMES M KURTZ         12456 SECOND #105                                                                             YUCAIPA         CA      92399‐4236
JAMES M LAMONACO      235 BELMORE WAY                                                                               ROCHESTER       NY      14612
JAMES M LANIER        PO BOX 2102                                                                                   DETROIT         MI      48202‐0102
JAMES M LAWLOR
JAMES M LINVILLE      APT. F 452 BRIARWOOD                                                                          DAYTON          OH      45403
JAMES M LOVERN        15731 HAPPIE LOU LN                                                                           PIONEER         CA      95666‐9522
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Name                              Address1                       Address2                       Address3                    Address4               City               State   Zip
JAMES M MANUSAKIS                 2734 ROBERTSON RD                                                                                                SHARPSVILLE         PA     16150
JAMES M MARTIN                    C/O WEITZ & LUXENBERG PC       700 BROADWAY                                                                      NEW YORK CITY       NY     10003
JAMES M MATHIS                    39 CASCADE DR                                                                                                    PENFIELD            NY     14526‐1939
JAMES M MCCARTY                   32 KING BIRD DR                                                                                                  CLEVELAND           GA     30528‐6003
JAMES M MCGEE                     3365 FOREST HILL RD.                                                                                             JACKSON             MS     39212
JAMES M MCINERNEY                 1855 RATHMOR                                                                                                     BLOOMFIELD HILLS    MI     48304
JAMES M MEIKLEJOHN                6455 DELAND RD                                                                                                   FLUSHING            MI     48433‐1154
JAMES M MESSINEO                  836 ROLINS RUN                                                                                                   WEBSTER             NY     14580
JAMES M MILIOTO                   105 W RUTGERS AVE                                                                                                PONTIAC             MI     48340‐2759
JAMES M MILLER                    30 CLOVE CT                                                                                                      SPRINGBORO          OH     45066‐1009
JAMES M MINANK FAMILY REVOCABLE   JAMES M MINANK                 11496 WATERVIEW WAY                                                               WOODBURY            MN     55129
TRUST
JAMES M MOODY TTEE                JAMES M MOODY REV TRUST        600 W CAPITOL AVE                                                                 LITTLE ROCK        AR      72201‐3312
JAMES M MORRIS                    7730 E SR 124                                                                                                    LAFONTAINE         IN      46940‐9026
JAMES M MOUNT                     6569 TAYLORSVILLE RD                                                                                             HUBER HEIGHTS      OH      45424
JAMES M MULDROW                   C/O WEITZ & LUXENBERG PC       700 BROADWAY                                                                      NEW YORK CITY      NY      10003
JAMES M MULDROW                   WEITZ & LUXENBERG P C          700 BROADWAY                                                                      NEW YORK CITY      NY      10003
JAMES M NANGLE                    ATTN ROBERT W PHILLIPS         C/O SIMMONS BROWDER GIANARIS 707 BERKSHIRE BLVD ‐ PO BOX                          EAST ALTON         IL      62024
                                                                 ANGELIDES & BARNERD LLC      521
JAMES M NEALON                    R 225 BOLAND AVE                                                                                                 HANOVER TWSP       PA      18706
JAMES M NEELY                     5521 LIBERTY BELL CIRCLE                                                                                         CENTREVILLE        OH      45459
JAMES M NELSON                    PO BOX 91                                                                                                        SOUTH WALES        NY      14139‐0091
JAMES M NICHOLS                   JAMES M NICHOLS                1621 COBBLER DR                                                                   LUTZ               FL      33549‐3314
JAMES M NICKS                     1299 HAWTHORNE AVE                                                                                               YPSILANTI          MI      48198‐5943
JAMES M NOONAN                    181 E QUEEN ST                                                                                                   PENDLETON          SC      29670
JAMES M NOVARA                    65 SOUTHBOUND GRATIOT AVE                                                                                        MOUNT CLEMENS      MI      48043‐5545
JAMES M O'CONNOR                  1920 BONNIE BROOK LN                                                                                             WENTZVILLE         MO      63385‐3265
JAMES M OLENICK                   520 WINTER RD                                                                                                    NEW CASTLE         PA      16101
JAMES M OLMSTED                   7355 GARFIELD RD                                                                                                 FREELAND           MI      49623‐9049
JAMES M PACE                      2116 NAVAJO TRAIL                                                                                                PIQUA              OH      45356
JAMES M PALO                      18229 WEST MAUI LANE                                                                                             SURPRISE           AZ      85388
JAMES M PINE II                   909 CENTER AVE APT 1                                                                                             BAY CITY           MI      48708‐5102
JAMES M QUAERNA                   235 N PALM ST                                                                                                    JANESVILLE         WI      53548‐3595
JAMES M RAINS                     2003 HOWELL                                                                                                      COVINGTON          KY      41014‐1125
JAMES M RANKIN JR                 WEITZ & LUXENBERG PC           700 BROADWAY                                                                      NEW YORK CITY      NY      10003
JAMES M REBOULET                  1937 WARD HILL AVE                                                                                               DAYTON             OH      45420
JAMES M REECE                     6859 MEATH HUNT CIR                                                                                              TROY               MI      48098‐2175
JAMES M REID                      4925 CONCORDIA CIR.                                                                                              KETTERING          OH      45440
JAMES M REINERT                   1034 REGENT PARK DR                                                                                              CENTERVILLE        OH      45429‐6126
JAMES M RICHARDS                  8435 MARIE PL                                                                                                    CARLISLE           OH      45005‐4127
JAMES M RICKARD                   291 OLD Y ROAD                                                                                                   GOLDEN             CO      80401
JAMES M RIETH                     109 LYNNVIEW DR                                                                                                  MASON              OH      45040
JAMES M ROHRER                    374 W DAVID RD                                                                                                   KETTERING          OH      45429
JAMES M RUDDICK                   1449 EL SERENO                                                                                                   YUBA CITY          CA      95993
JAMES M RUMSEY                    JAMES RUMSEY                   2310 SANDSIDE COURT                                                               ONALASKA           WI      54650
JAMES M RUMSEY                    2310 SANDSIDE CT                                                                                                 ONALASKA           WI      54650
JAMES M RUSSELL                   11608 GLENN ABBEY LN                                                                                             INDIANAPOLIS       IN      46235‐9716
JAMES M SANDERS                   600 LITTLE MEADOW DR                                                                                             RIVERSIDE          OH      45404
JAMES M SCHELL                    152 BLACKSMITH RD                                                                                                CAMP HILL          PA      17011
JAMES M SCHULER                   10363 FOWLERVILLE RD                                                                                             FOWLERVILLE        MI      48836‐9315
JAMES M SEBASTIAN                 1725 GOODWIN PL #3                                                                                               MIAMISBURG         OH      45342‐3887
JAMES M SHACKLEFORD JR            C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                                         HOUSTON            TX      77007
                                  BOUNDAS LLP
JAMES M SHELTON                   6211 LAKE DR                                                                                                     YPSILANTI           MI     48197‐7052
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Name                         Address1                        Address2                     Address3                     Address4               City              State   Zip
JAMES M SHINER               4281 ABBOTT PKWY                                                                                                 BUFFALO            NY     14219‐2508
JAMES M SHROYER              4242 GARDENDALE AVE                                                                                              TROTWOOD           OH     45427
JAMES M SINKWITZ             9310 WILD CAT ROAD                                                                                               TIPP CITY          OH     45371
JAMES M SIZEMORE             3312 BULAH DR                                                                                                    KETTERING          OH     45429‐4014
JAMES M SIZEMORE             P.O. BOX 197                                                                                                     HYDEN              KY     41749‐0197
JAMES M SLAUGHTER            5493 N PARK EXT                                                                                                  WARREN             OH     44481‐9371
JAMES M SLY                  1258 ASCOT LN                                                                                                    FRANKLIN           TN     37064‐6731
JAMES M SMALLWOOD            32696 STATE RT. #172                                                                                             LISBON             OH     44432
JAMES M SMITHERMAN           C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                                        HOUSTON            TX     77007
                             BOUNDAS LLP
JAMES M SOMERVILLE           8433 S SHERMAN DR                                                                                                INDIANAPOLIS      IN      46237‐9551
JAMES M SPENCER              7918 BROOKWOOD ST NE                                                                                             WARREN            OH      44484‐1545
JAMES M STEVENS              6266 CYCLONE RD                                                                                                  OTTER LAKE        MI      48464‐9766
JAMES M STEVENSON            1096 RISECLIFF DR                                                                                                GRAND BLANC       MI      48439‐8939
JAMES M STROMQUIST           3585 BIG RIDGE ROAD                                                                                              SPENCERPORT       NY      14559‐1709
JAMES M SUGGS SR             C/O GLASSER AND GLASSER         CROWN CENTER                 580 EAST MAIN STREET SUITE                          NORFOLK           VA      23510
                                                                                          600
JAMES M SUTTON               1087 PECAN BLVD                                                                                                  JACKSON           MS      39209‐7145
JAMES M TAYLOR               C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                                        HOUSTON           TX      77007
                             BOUNDAS LLP
JAMES M THOMAS               C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY, STE 600                                                       HOUSTON            TX     77007
                             BOUNDAS, LLP
JAMES M THOMAS               323 N BROADWAY STREET                                                                                            DAYTON            OH      45407‐2613
JAMES M TUOHEY               10053 GLENMORE AVE                                                                                               BRADENTON         FL      34202‐4050
JAMES M ULINE                1532 CANTERBURY RD                                                                                               MARION            OH      43302
JAMES M WADE                 2909 CHEYENNE AVE                                                                                                FLINT             MI      48507‐1964
JAMES M WALLA                2727 SUNSWEPT DR                                                                                                 SAINT CHARLES     MO      63303‐5062
JAMES M WARREN               3165 DEL RIO DRIVE                                                                                               HIGH RIDGE        MO      63049
JAMES M WEBSTER              14802 GREENFIELD RD APT 305                                                                                      DETROIT           MI      48227‐2267
JAMES M WEEMS SR             C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                                        HOUSTON           TX      77007
                             BOUNDAS LLP
JAMES M WHEELER              2629 RHAPSODY DR                                                                                                 W CARROLLTON      OH      45449‐3358
JAMES M WHIRRETT             154 CANTERBURY CT                                                                                                COLUMBIANA        OH      44408‐8457
JAMES M WHITFIELD            3826 KITTYHAWK DR                                                                                                DAYTON            OH      45403
JAMES M WILLIAMS             201 TIMBERLAKE DR #MR91                                                                                          BRANDON           MS      39047
JAMES M WILLIAMS             390 HADLEIGH LANE                                                                                                NORTH BRUNSWICK   NJ      08902‐4234

JAMES M WILLIAMS             PO BOX 143                                                                                                       NEW LEBANON       OH      45345‐0143
JAMES M WILLIAMS             21301 S TAMIAMI TRAIL           STE 320 PMB 329                                                                  ESTERO            FL      33928
JAMES M WILSON SR            P.O. BOX 17406                                                                                                   DAYTON            OH      45417‐0406
JAMES M WOLVERTON JR         10055 RATHBUN WAY                                                                                                BIRCH RUN         MI      48415‐8415
JAMES M WRIGHT               480 E LOMAR AVE                                                                                                  CARLISLE          OH      45005‐3380
JAMES M WYMAN TRUSTEE        PO BOX 110                                                                                                       MEMPHIS           TN      38101‐0110
JAMES M YOCOM                C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                                        HOUSTON           TX      77007
                             BOUNDAS LLP
JAMES M YOUNG FAMILY TRUST   ALICE YOUNG TRUSTEE             5727 SW CLARION LANE                                                             TOPEKA            KS      66610‐1254
JAMES M YUKON                480 E MONTROSE ST                                                                                                YOUNGSTOWN        OH      44505‐1519
JAMES M ZABELNY              45 GOTHIC ST                                                                                                     ROCHESTER         NY      14621‐4903
JAMES M. BAKER
JAMES M. HALL, JR.
JAMES M. KACEY
JAMES M. VANKIRK             1144 RIVER OAKS DR                                                                                               DEWITT            MI      48820‐8328
JAMES MAAG                   844 S. M 291 HWY. SUITE 301                                                                                      LIBERTY           MO      64068
JAMES MAASS                  3266 LINDEN PL                                                                                                   CANFIELD          OH      44406‐8461
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Name                Address1                         Address2        Address3         Address4               City             State Zip
JAMES MABE          19394 CHERRY ST                                                                          MOKENA             IL 60448‐8333
JAMES MABREY        42003 TODDMARK LN                                                                        CLINTON TOWNSHIP MI 48038‐5401

JAMES MABRY         2289 S ELBA RD                                                                           LAPEER            MI   48446‐9746
JAMES MAC CAUGHAN   6095 TIPSICO LAKE RD                                                                     HOLLY             MI   48442‐9137
JAMES MAC CLEARY    4921 KIDDER RD                                                                           ALMONT            MI   48003‐8634
JAMES MAC CLOUD     21 BOCK BLVD                                                                             HOWELL            NJ   07731‐1343
JAMES MAC DONALD    2035 RIVERSIDE DR                                                                        TRENTON           MI   48183‐2116
JAMES MAC EACHERN   13037 HOUGH RD                                                                           MEMPHIS           MI   48041‐3411
JAMES MAC FARLANE   31744 CHESTER ST                                                                         GARDEN CITY       MI   48135‐1740
JAMES MAC LEOD      1191 BRADLEY DR                                                                          TROY              MI   48085‐4977
JAMES MAC MASTER    17107 NORWAY HTS                                                                         KENDALL           NY   14476‐9781
JAMES MAC NEIL      15 LINUS AVE                                                                             BROCKTON          MA   02301‐4624
JAMES MAC OWAN JR   172 ASPEN ST LOT 172                                                                     CEDAR SPRINGS     MI   49319
JAMES MACAULEY      20 BALDWIN STREET                                                                        MASSENA           NY   13662‐1034
JAMES MACBRIDE      521 WASHINGTON RD                                                                        RYE               NH   03870‐2357
JAMES MACDONALD     536 HANDY DR                                                                             BAY CITY          MI   48706‐4211
JAMES MACDONALD     124 EASTWOOD DR                                                                          SPRINGFIELD       OH   45504‐3204
JAMES MACDONALD     739 DANIEL SHAYS HWY APT B6                                                              ATHOL             MA   01331‐9326
JAMES MACDONALD     9100 ARBELA RD                                                                           MILLINGTON        MI   48746‐9576
JAMES MACDONALD     4081 CROCUS RD                                                                           WATERFORD         MI   48328‐2109
JAMES MACHAK        4900 RAAP RD                                                                             BRUCE TWP         MI   48065‐3548
JAMES MACHINSKI     10455 NORFOLK CT                                                                         COMMERCE CITY     CO   80022‐0506
JAMES MACIAG        116 ASHWOOD LN                                                                           ORCHARD PARK      NY   14127‐4844
JAMES MACIATEK      1417 E WEBB RD                                                                           DEWITT            MI   48820‐8392
JAMES MACIEJEWSKI   690 HEIM RD                                                                              GETZVILLE         NY   14068‐1322
JAMES MACIONSKI     99 EAGLE RIDGE RD                                                                        LAKE ORION        MI   48360‐2612
JAMES MACK          922 N 3RD AVE                                                                            SAGINAW           MI   48601‐1006
JAMES MACK          3040 WATERCHASE WAY SW APT 204                                                           WYOMING           MI   49519‐5952
JAMES MACK          1726 HAMLET DR                                                                           YPSILANTI         MI   48198‐3609
JAMES MACKALL       5307 KENILWORTH AVE                                                                      BALTIMORE         MD   21212‐4339
JAMES MACKENZIE     187 TIERNEY RD                                                                           BAY CITY          MI   48708‐9194
JAMES MACKEY        527 N HAWTHORNE ST                                                                       WESTLAND          MI   48185‐3692
JAMES MACKEY        500 OAK DR                                                                               CORINTH           KY   41010‐3283
JAMES MACKIEWICZ    4057 PLEASANT GATE LN                                                                    COLUMBIA          TN   38401‐7389
JAMES MACLACHLAN    4532 E 200 S                                                                             ANDERSON          IN   46017‐9733
JAMES MACLARY       418 ROCHELLE AVE                                                                         WILMINGTON        DE   19804‐2118
JAMES MACLEAN       4409 E CARPENTER RD                                                                      FLINT             MI   48506‐1000
JAMES MACMURRAY     2627 ELIZABETH DR SW                                                                     WARREN            OH   44481‐9621
JAMES MACPHERSON    17959 MYRON ST                                                                           LIVONIA           MI   48152‐3112
JAMES MACUGA        4401 GARDENIA DR                                                                         STERLING HTS      MI   48314‐1202
JAMES MADACSI       163 S KIMBERLY AVE                                                                       AUSTINTOWN        OH   44515‐2414
JAMES MADAJSKI      7064 NEWAYGO STREET              BOX N‐11                                                GAYLORD           MI   49735
JAMES MADARAS       23939 HAMMOND CT                                                                         VALENCIA          CA   91354‐1831
JAMES MADDEN        3617 CUBA ST                                                                             OWENSVILLE        MO   65066‐2734
JAMES MADDOX        3144 COBBLESTONE RDG                                                                     TECUMSEH          MI   49286‐7787
JAMES MADDOX        721 S COURTLAND AVE APT 2                                                                KOKOMO            IN   46901‐5791
JAMES MADDOX        2924 E DAY DR                                                                            ANDERSON          IN   46017‐9772
JAMES MADDOX        800 FAIRWAY DR                                                                           SAGINAW           MI   48638‐5879
JAMES MADDOX        1595 S GRANGE RD                                                                         FOWLER            MI   48835‐8216
JAMES MADDOX        8103 ENGELHURST DR                                                                       JENISON           MI   49428‐8553
JAMES MADDY         17491 BUNKERHILL DR                                                                      MACOMB            MI   48044‐2611
JAMES MADEWELL      15 S JAY ST                                                                              WEST MILTON       OH   45383‐1603
JAMES MADIGAN       36144 ALLEN ST                                                                           LIVONIA           MI   48154‐5295
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Name                       Address1                            Address2                   Address3   Address4               City            State   Zip
JAMES MADISON UNIVERSITY   OFFICE OF FINANCIAL AID             MSC 3519                                                     HARRISONBURG     VA     22807‐0001
JAMES MADONNA              4529 SCENIC DR                                                                                   ALIQUIPPA        PA     15001‐5221
JAMES MADSEN               4029 STATE ROAD 58 E                                                                             HELTONVILLE      IN     47436‐8689
JAMES MADZIA               2318 KEYSTONE RD                                                                                 PARMA            OH     44134‐3023
JAMES MAES                 6021 BERRYMOOR DR                                                                                GRAND BLANC      MI     48439‐3401
JAMES MAGBY JR             929 WINONA DR                                                                                    YOUNGSTOWN       OH     44511‐1404
JAMES MAGEE                1832 STANLEY STREET                                                                              SAGINAW          MI     48602‐1064
JAMES MAGERS               362 IMAGINATION DR                                                                               ANDERSON         IN     46013‐1095
JAMES MAGERS               3571 LINDSEY RD                                                                                  LEXINGTON        OH     44904‐9717
JAMES MAGINNIS             5589 BLUE RIBBON RD                                                                              HILLSBORO        OH     45133‐8127
JAMES MAGNER               500 N FIR TREE DR                                                                                MUNCIE           IN     47304‐9336
JAMES MAGUIRE              3591 W CARO RD                                                                                   CARO             MI     48723‐9619
JAMES MAGUIRE I I I        2238 DUDLEY ST                                                                                   BURTON           MI     48529‐2121
JAMES MAGYAR               6131 BAER RD                                                                                     SANBORN          NY     14132‐9264
JAMES MAHAFFEY             5368 S 450E                                                                                      MIDDLETOWN       IN     47356
JAMES MAHAN                3700 S WESTPORT AVE #3827                                                                        SIOUX FALLS      SD     57106
JAMES MAHAN JR             10535 CADY RD                                                                                    GRASS LAKE       MI     49240‐9757
JAMES MAHER                1100 BIRCHWOOD DR                                                                                BURT             MI     48417‐2000
JAMES MAHER                44501 LOUVERT CT                                                                                 NOVI             MI     48375‐3942
JAMES MAHMET               4219 BROOKWAY LN                                                                                 BROOKLYN         OH     44144‐1304
JAMES MAHON                3572 WILSON SHARPSVILLE RD                                                                       CORTLAND         OH     44410‐9433
JAMES MAHONEY              1610 REYNOLDS RD LOT 10                                                                          LAKELAND         FL     33801‐6958
JAMES MAHONEY              6636 W 800 S                                                                                     PENDLETON        IN     46064‐9761
JAMES MAHONEY              4639 ROUND LAKE RD                                                                               LAINGSBURG       MI     48848‐9485
JAMES MAHONEY              THE MADEKSHO LAW FIRM               8866 GULF FREEWA STE 440                                     HOUSTON          TX     77017
JAMES MAICHLE              2103 PASTERNAK PL                                                                                NEWARK           DE     19702
JAMES MAIN                 G4221 VAN SLYKE RD                                                                               FLINT            MI     48507‐3545
JAMES MAIN                 300 N PLUM                                                                                       FARMLAND         IN     47340
JAMES MAIN                 PO BOX 202                                                                                       PARKER CITY      IN     47368‐0202
JAMES MAIN                 166 N MAPLE DR                                                                                   WILLIAMSVILLE    NY     14221‐7221
JAMES MAINA                8717 W 70TH ST                                                                                   MERRIAM          KS     66204‐1107
JAMES MAINE                2228 SE 38TH TRL                                                                                 OKEECHOBEE       FL     34974‐7063
JAMES MAINES JR            382 TREMAINE AVE                                                                                 KENMORE          NY     14217‐2536
JAMES MAINOR               122 S SYMINGTON AVE                                                                              BALTIMORE        MD     21228‐2346
JAMES MAINPRIZE            122 RUSSELL AVE                                                                                  HOUGHTON LAKE    MI     48629‐9101
JAMES MAINVILLE            11 WILLIAMS ST                                                                                   MASSENA          NY     13662‐2415
JAMES MAIORANA             6893 LOTHROP RD                                                                                  IMLAY CITY       MI     48444‐8972
JAMES MAISON               3687 SUSSEX DR                                                                                   LAMBERTVILLE     MI     48144‐9512
JAMES MAJCHRZAK            1 SIMMONS RD                                                                                     PERRY            NY     14530‐9535
JAMES MAJESKA              204 N SILVERY LN                                                                                 DEARBORN         MI     48128‐1588
JAMES MAJOR                2712 S INTERNATIONAL BLVD UNIT 60                                                                WESLACO          TX     78596‐8403
JAMES MAKOWSKI             4875 COLE RD                                                                                     SAGINAW          MI     48601‐9335
JAMES MAKOWSKI             52605 STAG RIDGE DR                                                                              MACOMB           MI     48042‐3477
JAMES MALAY                8 LAKEVIEW DR                                                                                    LAKE ST LOUIS    MO     63367‐2222
JAMES MALCOM               4412 UNIT B                         KINGSGATE COVE                                               LOGANVILLE       GA     30052
JAMES MALEC                3621 MCKINLEY ST                                                                                 DEARBORN         MI     48124‐3676
JAMES MALECKI              PO BOX 197                                                                                       AUBURN           MI     48611‐0197
JAMES MALICOAT             121 S PELHAM PATH                                                                                RAYMORE          MO     64083‐8113
JAMES MALINAK              297 ROGERS AVE                                                                                   TONAWANDA        NY     14150‐5240
JAMES MALINAK              3940 SUNSET AVE                                                                                  MARKHAM           IL    60428‐4457
JAMES MALLIN               39 WERNER RD                                                                                     GREENVILLE       PA     16125‐9434
JAMES MALLISHAM JR         2819 BARNARD ST                                                                                  SAGINAW          MI     48602‐5061
JAMES MALLORY              1205 OAK ST SW                                                                                   WARREN           OH     44485‐3630
JAMES MALLORY              2431 ASBURY ST                                                                                   INDIANAPOLIS     IN     46203‐4413
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Name                   Address1                        Address2                      Address3   Address4               City             State   Zip
JAMES MALLORY          2694 W F AVE                                                                                    KALAMAZOO         MI     49009‐5469
JAMES MALLORY          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS        OH     44236
JAMES MALLOW           116 PINEGROVE DR                                                                                BATTLE CREEK      MI     49015‐4389
JAMES MALLOY           1472 JOLSON AVE                                                                                 BURTON            MI     48529‐2030
JAMES MALLOY           4448 WILLARD RD                                                                                 BIRCH RUN         MI     48415‐8700
JAMES MALLOY           351 PARK ST                     PO BOX 302                                                      CLIO              MI     48420‐1417
JAMES MALLOY           9353 S REGENCY DR                                                                               OAK CREEK         WI     53154‐4761
JAMES MALMGREN JR.     30132 UNDERWOOD DR                                                                              WARREN            MI     48092‐4857
JAMES MALNAR           9909 HATTERAS DR                                                                                PARRISH           FL     34219‐9605
JAMES MALONE           1909 WESTGATE AVE                                                                               ROYAL OAK         MI     48073‐4193
JAMES MALONE           4 OLD POUND HILL RD                                                                             N SMITHFIELD       RI    02896‐9589
JAMES MALONE           10331 RABBIT RD S                                                                               GREENCASTLE       PA     17225‐7304
JAMES MALONEY          2590 E CODY ESTEY RD                                                                            PINCONNING        MI     48650‐9728
JAMES MALONEY          40 FIELDCREST DRIVE                                                                             TRUMBULL          CT     06611
JAMES MALOTT           2343 TAYLOR HILL RD                                                                             MINFORD           OH     45653‐8534
JAMES MALOY            838 BEECHWOOD DR                                                                                GIRARD            OH     44420‐2135
JAMES MALUCHNIK        48799 PARK PLACE DR                                                                             MACOMB            MI     48044‐2255
JAMES MALY             2250 S PALMETTO AVE APT J5                                                                      SOUTH DAYTONA     FL     32119‐3050
JAMES MALY             20539 PRAIRIE HILLS DR                                                                          HARRAH            OK     73045‐9614
JAMES MANCIEL          14621 KENTUCKY                                                                                  DETROIT           MI     48238
JAMES MANDLECO I I I   1850 W COUNTY ROAD 1000 N                                                                       ROACHDALE         IN     46172‐9395
JAMES MANDUCA          1021 ISAAC JAMES AVE                                                                            CHICO             CA     95928‐9443
JAMES MANDZAK          PO BOX 334                                                                                      THORNBURG         VA     22565‐0334
JAMES MANES            24601 S 650 RD                                                                                  GROVE             OK     74344‐4402
JAMES MANESS           5041 POND RD                                                                                    CLOVERDALE        IN     46120‐8011
JAMES MANGAS           4399 GAULT RD                                                                                   NORTH JACKSON     OH     44451‐8728
JAMES MANGIAPANE       2690 WALKER RD                                                                                  CARSONVILLE       MI     48419‐9285
JAMES MANGOLD          3205 THOM ST                                                                                    FLINT             MI     48506‐2529
JAMES MANGOLD          9184 BIRCH RUN RD                                                                               MILLINGTON        MI     48746‐9569
JAMES MANGRUM          125 GREENE ROAD 742                                                                             PARAGOULD         AR     72450‐9493
JAMES MANIKA           9091 SHADY LN                                                                                   HICKORY HILLS      IL    60457‐1040
JAMES MANIS JR         16661 WINSTON ST                                                                                DETROIT           MI     48219‐3611
JAMES MANLEY           PO BOX 1656                                                                                     LUCERNE           CA     95458‐1656
JAMES MANLEY           192 JUDY DR                                                                                     MARTINSVILLE      IN     46151‐4317
JAMES MANLEY           410 CHIPPEWA TRL                                                                                PRUDENVILLE       MI     48651‐9648
JAMES MANLEY JR        212 KEARNEY ST                                                                                  LOUISBURG         NC     27549‐9516
JAMES MANN             13070 HILLSBURY DR                                                                              FENTON            MI     48430‐2536
JAMES MANN             2952 COUNTY ROAD 32                                                                             DOUBLE SPRINGS    AL     35553‐5674
JAMES MANN             C/O HELEN MANN                  455 CO ROAD 176                                                 DUTTON            AL     35744
JAMES MANN             884 8TH ST                                                                                      WYANDOTTE         MI     48192‐2816
JAMES MANN             4009 VERMONT DR                                                                                 ANDERSON          IN     46013‐2459
JAMES MANN             THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                     HOUSTON           TX     77017
JAMES MANN JR          16 GLENN MORRIS AVE                                                                             MOUNT MORRIS      NY     14510‐1304
JAMES MANN JR          104 DOVER PL                                                                                    MONROE            LA     71203‐2408
JAMES MANNING          86 FREDERIC ST                                                                                  YONKERS           NY     10703‐2241
JAMES MANNING          240 AQUI ESTA DR                                                                                PUNTA GORDA       FL     33950‐7162
JAMES MANNING          1113 COUNTY STREET 2972                                                                         BLANCHARD         OK     73010‐2886
JAMES MANNING          5060 ROCKAWAY LN                                                                                CLARKSTON         MI     48348‐5043
JAMES MANNING          473 KUHN ST                                                                                     PONTIAC           MI     48342‐1943
JAMES MANNING          5704 TRENTON FRANKLIN RD                                                                        MIDDLETOWN        OH     45042‐1450
JAMES MANNING JR       PO BOX 12834                                                                                    KANSAS CITY       KS     66112‐0834
JAMES MANNION          228 HOLLYWOOD AVE                                                                               YOUNGSTOWN        OH     44512‐1225
JAMES MANNO            16048 CARR RD                                                                                   KENDALL           NY     14476‐9729
JAMES MANNON           414 OAK RIDGE DR                                                                                MOUNT AIRY        NC     27030‐8766
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Name                 Address1                          Address2             Address3      Address4               City               State   Zip
JAMES MANNS          6653 GARDEN DR                                                                              MOUNT MORRIS        MI     48458‐2328
JAMES MANOS          2436 JEFFERSON AVE                                                                          NORWOOD             OH     45212‐4008
JAMES MANSER         2412 DAMMAN DR APT 204                                                                      MIDLAND             MI     48640‐4532
JAMES MANSFIELD      15450 OPORTO STREET                                                                         LIVONIA             MI     48154‐3245
JAMES MANSFIELD      3124 SHETLAND RD                                                                            LANSING             MI     48911‐1549
JAMES MANUS          6500 WELLESLEY TER                                                                          CLARKSTON           MI     48346‐2786
JAMES MAO            134 HAMILTON RD                                                                             LANDENBERG          PA     19350
JAMES MAPES          22 PARKSIDE ST                                                                              MAYVILLE            NY     14757‐9624
JAMES MARAS          380 ROGERS RD                                                                               VIENNA              OH     44473‐9638
JAMES MARCH          475 BERRY PATCH LANE                                                                        WHITE LAKE          MI     48386‐2004
JAMES MARCIA S       1941 W LEONARD RD                                                                           LEONARD             MI     48367‐1639
JAMES MARCISZEWSKI   2562 MURDOCK RD                                                                             MEDINA              NY     14103‐9450
JAMES MARCISZEWSKI   2994 LYNDONVILLE RD                                                                         MEDINA              NY     14103‐9211
JAMES MARCUM         4824 DOUGLAS DR                                                                             DRYDEN              MI     48428‐9367
JAMES MARCUM         7045 KIM CIR N                                                                              TIPP CITY           OH     45371‐2523
JAMES MARCUM         862 JUNEAU RD                                                                               YPSILANTI           MI     48198‐6370
JAMES MARCUM
JAMES MAREK          2834 HYDE PARK DR                                                                           BAY CITY           MI      48706
JAMES MARENTETTE     547 N BALDWIN RD                                                                            OXFORD             MI      48371‐3413
JAMES MARESCA        166 MONTGOMERY ST                                                                           PISCATAWAY         NJ      08854‐2908
JAMES MARGARET       JAMES, MARGARET                   299 SHADY GROVE RD                                        SCIENCE HILL       KY      42553‐8979
JAMES MARINO         9 SPRING CREEK DR UNIT A                                                                    CORTLAND           OH      44410‐1689
JAMES MARION         3894 FLINT RIVER RD                                                                         COLUMBIAVILLE      MI      48421‐9755
JAMES MARKER         10287 CONTINENTAL DR                                                                        TAYLOR             MI      48180‐3108
JAMES MARKER         1756 COTTER RD                                                                              MUNGER             MI      48747‐9746
JAMES MARKER         811 N GLENWOOD TRL                                                                          SOUTHERN PINES     NC      28387‐7322
JAMES MARKEY         36221 W LYMAN RD                                                                            FARMINGTON HILLS   MI      48331‐3820

JAMES MARKIN         3321 CADILLAC AVE                                                                           WAYNE              MI      48184‐1402
JAMES MARKLEY        1403 N 150TH ST                                                                             BASEHOR            KS      66007‐9377
JAMES MARKLEY        605 WALNUT ST                                                                               WYANDOTTE          MI      48192‐4336
JAMES MARKS          6263 MILAN OAKVILLE RD                                                                      MILAN              MI      48160‐9002
JAMES MARKS          7000 S HIBISCUS DR                                                                          MUNCIE             IN      47302‐8525
JAMES MARLATT        5159 W MOUNT HOPE HWY                                                                       MULLIKEN           MI      48861‐9728
JAMES MARLEY         645 S 700 E                                                                                 ELWOOD             IN      46036‐8403
JAMES MARLEY         1245 E 54TH ST                                                                              MARION             IN      46953‐6221
JAMES MARLING        17770 SE 86TH OAK LEAF TERRANCE                                                             THE VILLAGES       FL      32162
JAMES MARLOW         4771 CLAYTON RD                                                                             BROOKVILLE         OH      45309‐8313
JAMES MARLOW         4468 KIRK RD                                                                                VASSAR             MI      48768‐9789
JAMES MARLOW         PO BOX 494613                                                                               PORT CHARLOTTE     FL      33949‐4613
JAMES MARLOW         9271 BIG TREE RD.                                                                           HEMLOCK            NY      14466‐9662
JAMES MARMAS         1858 WHITE CAP CIR                                                                          N. FORT MYERS      FL      33903
JAMES MARPLE         2303 E ANCHOR DR                                                                            GILBERT            AZ      85234‐3872
JAMES MARQUESS       201 LINTON WAY APT 103                                                                      PRINCETON          KY      42445‐1272
JAMES MARRERO        2 HUMMING BIRD LN                                                                           STONY POINT        NY      10980‐2220
JAMES MARRIOTT       18 TERESA DR                                                                                LACKAWANNA         NY      14218‐2719
JAMES MARROW         12324 NANTUCKET DR                                                                          SOUTH LYON         MI      48178‐8517
JAMES MARS           10061 SHARP RD                                                                              SWARTZ CREEK       MI      48473‐9154
JAMES MARS           8275 BROADMOOR AVE SE                                                                       CALEDONIA          MI      49316‐8389
JAMES MARSH          3771 BRYANT DR                                                                              YOUNGSTOWN         OH      44511‐1151
JAMES MARSH          199 FRIENDSHIP RD                                                                           LAUREL             MS      39443‐9487
JAMES MARSHALL       8221 TEWKSBERRY PL                                                                          GRAND BLANC        MI      48439‐9755
JAMES MARSHALL       308 MEADOWBROOK RD                                                                          ROBBINSVILLE       NJ      08691‐2503
JAMES MARSHALL       1043 ALLENDALE AVE                                                                          AKRON              OH      44306‐2241
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Name                                Address1                            Address2                     Address3          Address4               City            State   Zip
JAMES MARSHALL                      83 BLUFF AVE                                                                                              LA GRANGE         IL    60525‐2507
JAMES MARSHALL                      7826 201ST ST SW                                                                                          EDMONDS          WA     98026‐6840
JAMES MARSHALL                      25626 LILAC CT                                                                                            BONITA SPGS      FL     34135‐6461
JAMES MARSHALL                      5225 PINE KNOB TRL                                                                                        CLARKSTON        MI     48346‐4131
JAMES MARSHALL
JAMES MARSHALL                      3547 W MI 36                                                                                              PINCKNEY        MI      48169‐9611
JAMES MARSHALL                      9501 HEMENGER CT                                                                                          CLAY            MI      48001‐4005
JAMES MARTELLE                      522 CORNELIA ST                                                                                           JANESVILLE      WI      53545‐2416
JAMES MARTENS                       PO BOX 250                                                                                                COOKSON         OK      74427‐0250
JAMES MARTIN                        910 85TH ST APT 123                                                                                       KENOSHA         WI      53143‐6562
JAMES MARTIN                        933 SILVER CREEK CIR                                                                                      PRATTVILLE      AL      36066‐6177
JAMES MARTIN                        404 HOLLOW SPRING CT                                                                                      BRENTWOOD       TN      37027‐7888
JAMES MARTIN                        7612 ANDREW TURN                                                                                          PLAINFIELD      IN      46168‐9384
JAMES MARTIN                        33 SIDNEY ST                                                                                              BUFFALO         NY      14211‐1134
JAMES MARTIN                        494 GREATHOUSE RD                                                                                         BOWLING GREEN   KY      42103‐9037
JAMES MARTIN                        226 HARRISON ST                                                                                           PORT CLINTON    OH      43452‐1005
JAMES MARTIN                        516 HICKORY LN                                                                                            SALEM           OH      44460‐1106
JAMES MARTIN                        1048 WOODLAND AVE                                                                                         TOLEDO          OH      43607‐4069
JAMES MARTIN                        1949 HAINES RD                                                                                            MADISON         OH      44057‐1718
JAMES MARTIN                        23811 CANERWELL ST                                                                                        NEWHALL         CA      91321‐3715
JAMES MARTIN                        115 SUMMERFIELD DR                                                                                        MCDONOUGH       GA      30253‐5305
JAMES MARTIN                        2281 UNITY CHURCH CIR                                                                                     MAYSVILLE       GA      30558‐2435
JAMES MARTIN                        214 CLARK RD                                                                                              GRIFFIN         GA      30224‐5113
JAMES MARTIN                        560 STIRLING ST                                                                                           PONTIAC         MI      48340‐3159
JAMES MARTIN                        952 JIMSON DR SE                                                                                          CONYERS         GA      30013‐2059
JAMES MARTIN                        117 MAGNOLIA DR                                                                                           PIEDMONT        MO      63957‐1054
JAMES MARTIN                        PO BOX 385                                                                                                STEELVILLE      MO      65565‐0385
JAMES MARTIN                        615 STOCKMAN LN                                                                                           LINCOLN         CA      95648‐8380
JAMES MARTIN                        131 CANE CREEK RD                                                                                         FARMERVILLE     LA      71241‐4037
JAMES MARTIN                        24 HUDSON AVENUE                                                                                          FRANKLIN        OH      45005‐2725
JAMES MARTIN                        228 SHEPARD ST                                                                                            NEW CARLISLE    OH      45344‐2916
JAMES MARTIN                        591 LONGFIELD RD                                                                                          LAKE CITY       TN      37769‐5310
JAMES MARTIN                        5660 E KINSEL HWY                                                                                         CHARLOTTE       MI      48813‐9324
JAMES MARTIN                        2145 DEER LAKE RD                                                                                         HARRISON        MI      48625‐8931
JAMES MARTIN                        3437 ARBELA RD                                                                                            MILLINGTON      MI      48746‐9305
JAMES MARTIN                        1313 VALLEY ISLAND RD                                                                                     SEBEWAING       MI      48759
JAMES MARTIN                        133353 S SHERIDAN RD                                                                                      MONTROSE        MI      48457‐9392
JAMES MARTIN                        3534 LINGER LN                                                                                            SAGINAW         MI      48601‐5621
JAMES MARTIN                        34162 BEACONSFIELD ST                                                                                     CLINTON TWP     MI      48035‐3302
JAMES MARTIN                        14534 FREELAND ST                                                                                         DETROIT         MI      48227‐2802
JAMES MARTIN                        6395 LEESVILLE RD                                                                                         BEDFORD         IN      47421‐7315
JAMES MARTIN                        1725 BRADSHAW RD                                                                                          GRAND CANE      LA      71032‐6084
JAMES MARTIN                        16700 WESTMORELAND RD                                                                                     DETROIT         MI      48219‐4040
JAMES MARTIN                        PO BOX 192                                                                                                LITHOPOLIS      OH      43136‐0192
JAMES MARTIN                        15 HARVEY CIR                                                                                             OKLAHOMA CITY   OK      73139‐7405
JAMES MARTIN
JAMES MARTIN                        C/O BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS      OH      44236
JAMES MARTIN CHEVROLET/GMAC OF DE   200 RENAISSANCE CTR # 482‐B10‐D66                                                                         DETROIT         MI      48265‐0001
LL
JAMES MARTIN I I                    2482 GRAND TRAVERSE CIR                                                                                   GRAND ISLAND    FL      32735‐9709
JAMES MARTIN JR                     8175 COON CLUB RD                                                                                         MEDINA          OH      44256‐9183
JAMES MARTIN JR                     687 TRUMBULL AVE SE                                                                                       WARREN          OH      44484‐4569
JAMES MARTIN PETER                  NIX PATTERSON & ROACH LLP           GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD    TX      75638
JAMES MARTIN SR                     7096 SUNNYDELL DR                                                                                         BROOKFIELD      OH      44403‐9618
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Name                  Address1                       Address2                     Address3   Address4               City              State   Zip
JAMES MARTINDALE      9334 RLMD RD                                                                                  CLIO               MI     48420
JAMES MARTINES        1514 PARKER DR                                                                                MAYFIELD HTS       OH     44124‐3623
JAMES MARTINEZ        2383 W LAKE RD                                                                                CLIO               MI     48420‐8838
JAMES MARTZKE         3313 W MOUNT HOPE AVE APT 30                                                                  LANSING            MI     48911‐1209
JAMES MARUS           606 N CENTER ST                                                                               ROYAL OAK          MI     48067‐1712
JAMES MARUSAK         38659 COVINGTON DR                                                                            WAYNE              MI     48184‐1079
JAMES MARVEL          95 LAKE SMART DR                                                                              WINTER HAVEN       FL     33881‐9653
JAMES MARVELL         2900 E 200 N                                                                                  ANDERSON           IN     46012‐9403
JAMES MARX            7925 LUANN ST                                                                                 SAGINAW            MI     48609‐4918
JAMES MARZLUFT        2405 S BRENNAN RD                                                                             HEMLOCK            MI     48626‐8748
JAMES MASCIO          10021 HARPFER DR                                                                              HARRISON           MI     48625‐8700
JAMES MASHBURN I V    1808 NORTHWOOD DR                                                                             ALBANY             GA     31721‐2169
JAMES MASI JR         70 NORTH HAMPTON LN.1B                                                                        PLAINVILLE         CT     06062
JAMES MASIAK          677 AUGUSTA DR                                                                                ROCHESTER HILLS    MI     48309‐1531
JAMES MASIAK          677 AUGUSTA DRIVE                                                      48309                  ROCHESTER HILLS    MI     48309
JAMES MASLOWSKI       2042 BIRCH DR NW                                                                              GRAND RAPIDS       MI     49504‐4769
JAMES MASLUK          125 ASPEN DR NW                                                                               WARREN             OH     44483‐1182
JAMES MASON           1308 PARKVIEW MEADOWS DR                                                                      BALLWIN            MO     63011‐4204
JAMES MASON           4055 HARALSON MILL RD NE                                                                      CONYERS            GA     30012‐1505
JAMES MASON           8205 US RT 40                                                                                 NEW CARLISLE       OH     45344
JAMES MASON           5837 KATHRYN LN                                                                               MATTESON            IL    60443‐1242
JAMES MASON           138 E 120TH ST                                                                                CHICAGO             IL    60628‐6251
JAMES MASON           G5464 W COURT ST                                                                              FLINT              MI     48532
JAMES MASON           17716 W PEET RD                                                                               OAKLEY             MI     48649‐9750
JAMES MASON           7473 COCHISE ST                                                                               WESTLAND           MI     48185‐2345
JAMES MASON           6545 STEADMAN ST                                                                              DEARBORN           MI     48126‐1752
JAMES MASON           BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
JAMES MASON JR        16162 ROLLING MEADOWS DR                                                                      LINDALE            TX     75771‐5497
JAMES MASS            223 GRANADA AVE                                                                               YOUNGSTOWN         OH     44504‐1819
JAMES MASSE           PO BOX 538                                                                                    LAKE               MI     48632‐0538
JAMES MASSENBERG      10220 CEDARHURST DR                                                                           SAINT LOUIS        MO     63136‐5616
JAMES MASSENGALE      1714 BARCLAY DR                                                                               RICHARDSON         TX     75081‐2002
JAMES MASSENGILL      301 KING JAMES DR                                                                             DALLAS             GA     30157‐5924
JAMES MASSENGILL JR   81 N PARKER RD                                                                                DEXTER             MI     48130‐9743
JAMES MASSEY          9427 N 800 W                                                                                  MIDDLETOWN         IN     47356
JAMES MASSEY          13875 GRATIOT RD                                                                              HEMLOCK            MI     48626‐9415
JAMES MASSEY          6361 SMITH RD                                                                                 BROOK PARK         OH     44142‐3712
JAMES MASSEY          525 E UNIVERSITY DR APT 1006                                                                  ROCHESTER          MI     48307‐2179
JAMES MASSIE          4106 GARDENVIEW DR                                                                            BEAVERCREEK        OH     45431‐1618
JAMES MASSIE          4405 E GALBRAITH RD                                                                           CINCINNATI         OH     45236‐2715
JAMES MASSIE          100 STAUNTON JASPER RD SW                                                                     WASHINGTON         OH     43160‐9674
                                                                                                                    COURT HOUSE
JAMES MASSIE          BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS    OH      44236
JAMES MASTEN          6102 GLADE AVE                                                                                CINCINNATI        OH      45230‐2709
JAMES MASTERNAK       3942 ANDERSON DR                                                                              ALBION            MI      49224‐8501
JAMES MASTERS         569 S GALLERY DR                                                                              EATON RAPIDS      MI      48827‐1762
JAMES MASTERS         2848 WINTON DR                                                                                KETTERING         OH      45419‐2317
JAMES MASTERS III     4208 N JANNEY AVE                                                                             MUNCIE            IN      47304‐1523
JAMES MASTERSON       4149 ROOSEVELT BLVD                                                                           DEARBORN HTS      MI      48125‐2532
JAMES MASTERSON       6281 WEYBRIDGE DR                                                                             TROTWOOD          OH      45426‐1441
JAMES MASTIN          20439 E 12 MILE RD                                                                            ROSEVILLE         MI      48066‐2203
JAMES MASTRORILLI     4109 SENECA PKWY                                                                              NIAGARA FALLS     NY      14304‐1140
JAMES MATACIA         3909 BUCKNER CT                                                                               BEDFORD           TX      76021‐2408
JAMES MATE            512 SW FIFER AVE                                                                              PORT ST LUCIE     FL      34953‐3870
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Name                     Address1                       Address2                      Address3   Address4                    City             State Zip
JAMES MATHERLEY          1342 MCEWEN ST                                                                                      BURTON            MI 48509‐2129
JAMES MATHERS            4012 LEBANON CHURCH RD                                                                              WEST MIFFLIN      PA 15122‐2715
JAMES MATHES JR          PO BOX 778                                                                                          EATON             OH 45320‐0778
JAMES MATHEWS            2040 DELHI STREET NORTHEAST                                                                         HOLT              MI 48842‐1840
JAMES MATHIAS            1448 OAKWOOD AVE                                                                                    NAPOLEON          OH 43545‐1065
JAMES MATHIS             10048 DUFFIELD RD                                                                                   GAINES            MI 48436‐9785
JAMES MATHIS             1010 WATER ST                                                                                       CAHOKIA            IL 62206‐1641
JAMES MATHIS             109 DONCASTER LN                                                                                    BLUFFTON          SC 29909‐6003
JAMES MATHIS             115 YAGER RD                                                                                        CLINTON           OH 44216‐9468
JAMES MATHIS             THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                                          HOUSTON           TX 77017
JAMES MATHISON           355 HOOK RD.                                                                                        PENNSVILLE        NJ 08070
JAMES MATISON            4704 GENOA DR                                                                                       FERNANDINA BEACH  FL 32034‐5507

JAMES MATNEY             2351 E 1100 S                                                                                       FAIRMOUNT         IN   46928‐9335
JAMES MATSKO             1525 SUZANNE CT                                                                                     FLUSHING          MI   48433‐1863
JAMES MATSON             4202 ROLLING GATE RD                                                                                FORT COLLINS      CO   80526‐3397
JAMES MATT               RUA JOAQUIM J ESTEVES,60       APTO 61                                  SAO PAULO BRAZIL 04740000

JAMES MATTHEW CALLAHAN
JAMES MATTHEWS           14807 PIERCE RD                                                                                     BYRON             MI   48418‐8882
JAMES MATTHEWS           3914 ARQUETTE DR                                                                                    INDIANAPOLIS      IN   46235‐1617
JAMES MATTHEWS           4197 MARR RD                                                                                        PULASKI           PA   16143‐3709
JAMES MATTHEWS           14269 BLUE SKIES ST                                                                                 LIVONIA           MI   48154‐4998
JAMES MATTHEWS           7733 S WOLCOTT AVE                                                                                  CHICAGO           IL   60620‐5230
JAMES MATTHEWS           533 S VERLINDEN AVE                                                                                 LANSING           MI   48915‐1153
JAMES MATTHEWS           17612 DEFOREST AVE                                                                                  CLEVELAND         OH   44128‐2606
JAMES MATTHEWS           4912 EASTBROOKE PL                                                                                  WILLIAMSVILLE     NY   14221‐4124
JAMES MATTHEWS           240 SMITH ST                                                                                        DETROIT           MI   48202‐2818
JAMES MATTHEWS JR        7111 EDINBOROUGH                                                                                    WEST BLOOMFIELD   MI   48322‐4027

JAMES MATTHEWS, INC.     RICHARD HARRIS                 1101 N BALDWIN AVE                                                   MARION            IN   46952‐2535
JAMES MATTHEWS, INC.     1101 N BALDWIN AVE                                                                                  MARION            IN   46952‐2535
JAMES MATTIES            11210 SHADY BROOK CT                                                                                SOUTH LYON        MI   48178‐6637
JAMES MATTISON           16541 CHESTNUT ST                                                                                   ROSEVILLE         MI   48066‐4328
JAMES MATTISON           45857 PURPLE SAGE CT                                                                                BELLEVILLE        MI   48111‐6431
JAMES MATTIVI            6904 RAYTOWN RD                                                                                     RAYTOWN           MO   64133‐6056
JAMES MATTOON            7040 WOODS WEST DR                                                                                  FLUSHING          MI   48433‐9463
JAMES MATTSON            PO BOX 653                                                                                          OVID              MI   48866‐0653
JAMES MATULA             N4291 9TH AVE                                                                                       MONTELLO          WI   53949‐8002
JAMES MATUSKY JR         2413 DIXIE LN                                                                                       FOREST HILL       MD   21050‐1616
JAMES MATUSZEWSKI        597 N SCHEURMANN RD                                                                                 BAY CITY          MI   48708‐9174
JAMES MATYAS             2211 CELESTIAL DR NE                                                                                WARREN            OH   44484‐3904
JAMES MATZKE             4456 W LAKE RD                                                                                      CLIO              MI   48420‐8829
JAMES MAUK               BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                           BOSTON HEIGHTS    OH   44236
JAMES MAUNUS             9995 N ROYSTON RD                                                                                   GRAND LEDGE       MI   48837‐9472
JAMES MAUNZ              54342 LONGNEEDLE DR                                                                                 SHELBY TOWNSHIP   MI   48315‐1442
JAMES MAURER             PO BOX 217                                                                                          CORUNNA           MI   48817‐0217
JAMES MAURER             304 GREEN AVE                                                                                       BAY CITY          MI   48708‐6887
JAMES MAURER             11085 N EVERGREEN DR                                                                                BIRCH RUN         MI   48415‐9712
JAMES MAURER             7170 OAK HWY                                                                                        CHARLOTTE         MI   48813‐9341
JAMES MAURER             50 PHEASANT GLN                                                                                     COLLINSVILLE      IL   62234‐5817
JAMES MAURNO             171 BEECH ST                                                                                        EASTCHESTER       NY   10709‐3845
JAMES MAVIS              5227 COLE RD                                                                                        SAGINAW           MI   48601‐9759
JAMES MAVRICK            1053 WATERWAY DR                                                                                    SEBASTIAN         FL   32976
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Name                  Address1                               Address2                     Address3   Address4               City             State   Zip
JAMES MAVRICK         3743 N 900 E                                                                                          GREENTOWN         IN     46936‐8836
JAMES MAXFIELD        3498 PARALLEL RD                                                                                      MORAINE           OH     45439‐1246
JAMES MAXFIELD        49670 BUTTERMERE CT # CT19                                                                            SHELBY TWP        MI     48315
JAMES MAXIE           5328 COTTON BAY DR W                                                                                  INDIANAPOLIS      IN     46254‐4519
JAMES MAXON           15021 MARSH CREEK RD                                                                                  KENT              NY     14477‐9758
JAMES MAXWELL         598 BEAM DR                                                                                           FRANKLIN          OH     45005‐2012
JAMES MAY             1409 EMBASSEY LN                                                                                      FORD HEIGHTS       IL    60411‐3046
JAMES MAY             19 0LDWICK RD                                                                                         WHITE HOUSE       NJ     08889
                                                                                                                            STATION
JAMES MAY             1230 S LAKES END DR APT A                                                                             FORT PIERCE      FL      34982‐5222
JAMES MAY             52 S CALCITE DR                                                                                       TUCSON           AZ      85745‐1709
JAMES MAY             111 COUNTY ROAD 422                                                                                   HILLSBORO        AL      35643‐4326
JAMES MAY             39316 ARMSTRONG LN                                                                                    WESTLAND         MI      48185‐1346
JAMES MAY             4330 HATTRICK RD                                                                                      ROOTSTOWN        OH      44272‐9770
JAMES MAY             1945 WHITE LAKE RD                                                                                    HIGHLAND         MI      48356‐1330
JAMES MAY             6304 YORKSHIRE NORTH RIDING RD                                                                        FLINT            MI      48532‐3235
JAMES MAY JR          917 5TH ST SW                                                                                         WARREN           OH      44485‐3820
JAMES MAYBARRY
JAMES MAYER           4150 JONQUIL DR                                                                                       SAGINAW           MI     48603‐1127
JAMES MAYERS          716 E 7TH ST                                                                                          PLAINFIELD        NJ     07062‐1806
JAMES MAYES JR        4570 E STRAWBERRY DR                                                                                  GILBERT           AZ     85298
JAMES MAYHEW          2438 NORTHDALE DR                                                                                     GRAND BLANC       MI     48439‐8511
JAMES MAYKOPET        C/O LAW OFFICES OF MICHAEL R BILBREY   8724 PIN OAK ROAD                                              EDWARDSVILLE      IL     62025
                      PC
JAMES MAYLE           816 N KENWOOD                                                                                         ROYAL OAK        MI      48067
JAMES MAYLE           37510 JEFFERSON AVE APT 101                                                                           HARRISON TWP     MI      48045‐2672
JAMES MAYNARD         2000 SPARKS CHAPEL RD                                                                                 BURKESVILLE      KY      42717‐9118
JAMES MAYNE           9466 BROOKWAY CT                                                                                      GOODRICH         MI      48438‐9427
JAMES MAYNUS          6838 LIBERTY FAIRFIELD RD                                                                             LIBERTY TWP      OH      45011‐5455
JAMES MAYO            206 BUTLER DR                                                                                         SATSUMA          FL      32189‐2103
JAMES MAYO            2618 CIRCLE PINE CT                                                                                   HOWELL           MI      48843‐7256
JAMES MAYOSKY         1654 DUVALL DR                                                                                        SAN JOSE         CA      95130‐1717
JAMES MAYS            PO BOX 6934                                                                                           ATLANTA          GA      30315‐0934
JAMES MAYS            94 TATTERSALL DR                                                                                      BURLINGTON       NJ      08016‐4322
JAMES MAZEY           BEVAN & ASSOCIATES LPA INC             6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH      44236
JAMES MAZUK           1210 MILDRED CIR                                                                                      EDGERTON         WI      53534‐1934
JAMES MAZZOLA III     5845 CELICO LN                                                                                        DRYDEN           MI      48428‐9302
JAMES MC AFEE         10268 DODGE RD                                                                                        MONTROSE         MI      48457‐9034
JAMES MC BEE          4281 ADEER DR                                                                                         CANFIELD         OH      44406‐9343
JAMES MC CARTHY       PO BOX 351                             884 FORREST                                                    LAKE GEORGE      MI      48633‐0351
JAMES MC CARTHY       20 GUILFORD LN APT 1                                                                                  WILLIAMSVILLE    NY      14221‐2522
JAMES MC CLARY        105 EDINBURGH ST                                                                                      ROCHESTER        NY      14608‐2402
JAMES MC CLELLAND     5592 BRIGHTWOOD RD                                                                                    BETHEL PARK      PA      15102‐3605
JAMES MC CLINTON      1902 MALLERY ST                                                                                       FLINT            MI      48504‐3132
JAMES MC CLOSKEY      22046 FENSTER ST                                                                                      BELLEVILLE       MI      48111‐8957
JAMES MC CLUNG        1396 S GRAHAM RD                                                                                      FLINT            MI      48532‐3537
JAMES MC CLUNG        915 RUSWOOD CIR                                                                                       ABILENE          TX      79601‐4653
JAMES MC CLURE        434 MILL ST                                                                                           BUFFALO          NY      14221‐5149
JAMES MC COLGIN       19626 WILDWOOD DR                                                                                     RAYMONDVILLE     MO      65555‐9160
JAMES MC CONICO       642 W KUMP ST                                                                                         BONNER SPRINGS   KS      66012‐1626
JAMES MC CONNAUGHEY   1420 LAKEVIEW DR                                                                                      SHARPS CHAPEL    TN      37866‐1795
JAMES MC CONNAUGHEY   9334 EAST ATHERTON ROAD                                                                               DAVISON          MI      48423‐8764
JAMES MC CORMICK      4483 RAVENWOOD CT                                                                                     CINCINNATI       OH      45244‐2183
JAMES MC CORMICK      PO BOX 4293                                                                                           TRENTON          NJ      08610‐0293
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Name                     Address1                       Address2            Address3         Address4               City             State   Zip
JAMES MC COURT           9527 NORBORNE                                                                              REDFORD           MI     48239‐2131
JAMES MC COWEN           19897 MAPLE HILL CT                                                                        PIERSON           MI     49339‐9682
JAMES MC COWN            3534 SCOTT DR                                                                              TROY              MI     48084‐1140
JAMES MC COY             944 MIDDLETON ST                                                                           FLINT             MI     48503‐3018
JAMES MC COY             5604 MAPLE PARK DR                                                                         FLINT             MI     48507‐3916
JAMES MC CRAE            1176 LOWER FERRY RD                                                                        EWING             NJ     08618‐1832
JAMES MC CREE            19043 THERESA BLVD                                                                         BROWNSTOWN        MI     48173‐8632
JAMES MC CURDY           32768                          LANCASTER                                                   WARREN            MI     48088
JAMES MC CUTCHEN         925 HILLSIDE MILL DR                                                                       GRAYSON           GA     30017‐1905
JAMES MC DANIEL          947 GREENE ROAD 528                                                                        LAFE              AR     72436‐9792
JAMES MC DAVITT          8743 MOBILE AVE                                                                            OAK LAWN           IL    60453‐1121
JAMES MC DEVITT          1700 21ST AVE W APT 302                                                                    BRADENTON         FL     34205‐5782
JAMES MC DILL JR         1175 BURNT LEAF LN                                                                         GRAND BLANC       MI     48439‐4969
JAMES MC DONALD          4848 HERNDON DR                                                                            COLUMBUS          OH     43221‐5803
JAMES MC DONALD          11186 S 34TH ST                                                                            VICKSBURG         MI     49097‐9523
JAMES MC DONALD          3416 BROWN RD                                                                              SAINT LOUIS       MO     63114‐4330
JAMES MC DONALD          55 MACSAIN RD                                                                              BUCHANAN          TN     38222‐4962
JAMES MC DONALD          4323 TORREY RD                                                                             FLINT             MI     48507‐3458
JAMES MC DONALD          3625 LINCOLNSHIRE RD                                                                       WATERFORD         MI     48328‐3538
JAMES MC DONALD          6243 N LONDON AVE APT L                                                                    KANSAS CITY       MO     64151‐4798
JAMES MC DONOUGH         7197 N GENESEE RD                                                                          GENESEE           MI     48437‐7714
JAMES MC DONOUGH I I I   20 UMBER RD                                                                                LEVITTOWN         PA     19056‐2606
JAMES MC DOWELL          RR 9 BOX 521                                                                               GATEWOOD          MO     63942‐9006
JAMES MC DOWELL          7112 RICHARDSON RD                                                                         HOWELL            MI     48843‐9444
JAMES MC ELROY           1857 CHATUGE SHORES ROAD                                                                   HIAWASSEE         GA     30546‐1635
JAMES MC FADDEN          343 WHISPERING WINDS                                                                       OXFORD            MI     48371‐5192
JAMES MC FARLAND         6710 36TH AVE E LOT 259                                                                    PALMETTO          FL     34221‐8611
JAMES MC GAHHEY          6790 BALFOUR AVE                                                                           ALLEN PARK        MI     48101‐2306
JAMES MC GAREY           3875 ZIMMER RD                                                                             WILLIAMSTON       MI     48895‐9365
JAMES MC GEE             231 S BLACKSTONE AVE                                                                       GLENWOOD           IL    60425‐2035
JAMES MC GEE             1100 WALKER LAKE ONTARIO RD                                                                HILTON            NY     14468‐9171
JAMES MC GHGHY           10617 N BALTIMORE AVE                                                                      KANSAS CITY       MO     64155‐1609
JAMES MC GILL            10180 BAXTER HERD RD                                                                       SILVER POINT      TN     38582‐6213
JAMES MC GINNIS          6147 DALMATION DR                                                                          BETHEL PARK       PA     15102‐4009
JAMES MC GINNIS          8922 WHITEHORN ST                                                                          ROMULUS           MI     48174‐4153
JAMES MC GINNIS          13294 COYLE ST                                                                             DETROIT           MI     48227‐2504
JAMES MC GINNIS          495 PARK AVE                                                                               EAST PALESTINE    OH     44413‐1590
JAMES MC GINNIS          5385 GERTRUDE ST                                                                           DEARBORN HTS      MI     48125‐2809
JAMES MC GINNIS JR       883 WHISPERWOOD TRL                                                                        FENTON            MI     48430‐2200
JAMES MC GLOTHIN         2213 RASKOB STREET                                                                         FLINT             MI     48504‐3486
JAMES MC GOWAN           20 FARWELL DR                                                                              BATAVIA           NY     14020‐2506
JAMES MC GRAW            19255 BEAVERLAND ST                                                                        DETROIT           MI     48219‐5504
JAMES MC GRAW            1970 BASELINE RD                                                                           GRAND ISLAND      NY     14072‐2015
JAMES MC GRENERA         8403 BUDINGEN LN                                                                           TINLEY PARK        IL    60487‐7644
JAMES MC GREW            1205 WOODRUFF RD                                                                           JOLIET             IL    60432‐1321
JAMES MC GUIRE           6201 ADDINGTON DR                                                                          COMMERCE          MI     48390‐4009
                                                                                                                    TOWNSHIP
JAMES MC HUGH JR         161 STANFORD RD                                                                            VENICE           FL      34293‐6546
JAMES MC INALLY          1020 SQUAW CREEK RD                                                                        FOSTORIA         MI      48435‐9415
JAMES MC INTOSH          1718 W OTTAWA ST                                                                           LANSING          MI      48915‐1773
JAMES MC INTOSH          54201 ARROWHEAD DR                                                                         SHELBY TWP       MI      48315‐1205
JAMES MC INTOSH          5181 BARRYWOOD DR                                                                          GOODRICH         MI      48438‐9755
JAMES MC INTOSH          8720 MARR RD                                                                               ALMONT           MI      48003‐9649
JAMES MC INTOSH          6893 KATAHDIN DR                                                                           POLAND           OH      44514‐2168
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JAMES MC INTOSH       1617 E MOORE RD                                                                                   MILFORD           MI 48381‐4083
JAMES MC INTYRE       677 WHITE OAK RD                                                                                  FALMOUTH          VA 22405‐5730
JAMES MC KAY JR       4623 W ISABELLA RD                                                                                SHEPHERD          MI 48883‐9632
JAMES MC KEAN         10604 QUIRK ROAD                                                                                  BELLEVILLE        MI 48111‐5213
JAMES MC KEE          1666 JOHN SHARP RD                                                                                SPRING HILL       TN 37174‐2534
JAMES MC KEE JR       4517 S LAMON AVE                                                                                  CHICAGO            IL 60638‐1957
JAMES MC KENDRICK     35700 GLEN ST                                                                                     WESTLAND          MI 48186‐4198
JAMES MC KENNA        4439 POINTE TREMBLE RD                                                                            ALGONAC           MI 48001‐4661
JAMES MC KENNA        720 ELMWOOD DR                                                                                    IONIA             MI 48846‐1043
JAMES MC KENNA        38977 MALLORN DR                                                                                  STERLING HEIGHTS  MI 48313‐5783
JAMES MC KENNA        28018 LITTLE MACK AVE                                                                             ST CLAIR SHRS     MI 48081‐1560
JAMES MC KENNA        112 SUNRISE AVE                                                                                   WILLOWBROOK        IL 60527‐6158
JAMES MC KINLEY       595 EGGERT RD                                                                                     BUFFALO           NY 14215‐1223
JAMES MC KINNEY       2815 W BYRON ST APT 418                                                                           CHICAGO            IL 60618
JAMES MC KNIGHT       10990 S MCVETY RD                                                                                 FALMOUTH          MI 49632‐9781
JAMES MC LEAN         358 BOYNE ST                                                                                      NEW HUDSON        MI 48165‐9780
JAMES MC LEISH I      1399 20 MILE RD                                                                                   BARRYTON          MI 49305‐9703
JAMES MC MAHON        5518 PARKWOOD BLVD                                                                                CLARKSTON         MI 48346‐3101
JAMES MC MANUS        4200 N HARDESTY AVE                                                                               KANSAS CITY       MO 64117‐2040
JAMES MC MILLIN       8115 E COLDWATER RD                                                                               DAVISON           MI 48423‐8938
JAMES MC MOIL         1206 S MAIN ST                                                                                    MEDINA            NY 14103‐1746
JAMES MC MULLEN       4369 PRATT LAKE RD                                                                                GLADWIN           MI 48624‐7603
JAMES MC NAMARA       432 PRIMROSE LN                                                                                   FLUSHING          MI 48433‐2610
JAMES MC NEELY        6806 CRANWOOD DR                                                                                  FLINT             MI 48505‐1957
JAMES MC NEES         685 MARSH RD                                                                                      PLAINWELL         MI 49080‐9541
JAMES MC NEIL         10127 FRANCES RD                                                                                  OTISVILLE         MI 48463‐9410
JAMES MC NEMAR JR     1608 MILLERSVILLE RD                                                                              MILLERSVILLE      MD 21108‐2118
JAMES MC PHERSON JR   1831 SUGAR RUN TRL                                                                                BELLBROOK         OH 45305‐1151
JAMES MC RAE          2409 S 11TH AVE                                                                                   BROADVIEW          IL 60155‐4812
JAMES MC VEIGH        6974 W FILLMORE RD                                                                                ITHACA            MI 48847‐9757
JAMES MC VICAR        15531 OPORTO ST                                                                                   LIVONIA           MI 48154‐3244
JAMES MC WILLIAMS     16256 KAREN DR                                                                                    CLINTON TOWNSHIP MI 48038‐2575

JAMES MCAFEE          1307 W EUCLID AVE                                                                                 MARION            IN   46952‐3450
JAMES MCALEES         MOTLEY RICE LLC                28 BRIDGESIDE BLVD            PO BOX 1792                          MT PLEASANT       SC   29465
JAMES MCALLISTER      THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                                        HOUSTON           TX   77017
JAMES MCALLISTER      4823 WYCLIFF EAST DR                                                                              INDIANAPOLIS      IN   46221‐3785
JAMES MCALLISTER      5034 QUEENS AVE                                                                                   SAINT LOUIS       MO   63115‐1341
JAMES MCALPINE        4526 THOMPSON AVE                                                                                 SEBRING           FL   33875‐4826
JAMES MCANNALLY       268 LINCOLN RD                                                                                    ONEONTA           AL   35121‐4314
JAMES MCARDLE         11518 SHEFFIELD RD                                                                                SPRING HILL       FL   34608‐2266
JAMES MCAVOY          16431 BELL CREEK LN                                                                               LIVONIA           MI   48154‐2936
JAMES MCBRIDE         14102 TIMBERVIEW DR                                                                               SHELBY TWP        MI   48315‐2068
JAMES MCBRIDE         N1572 BINGHAM RD                                                                                  EDGERTON          WI   53534‐9107
JAMES MCBRIDE         2678 CENTER CHURCH RD                                                                             ELWOOD CITY       PA   16117
JAMES MCBRYDE         1715 MILL OAK AVE                                                                                 LANSING           MI   48911‐7067
JAMES MCCAGUE         2126 STATE ROUTE 15                                                                               NEY               OH   43549‐9712
JAMES MCCAIN          PO BOX 136                                                                                        HARVIELL          MO   63945‐0136
JAMES MCCALL          6949 CLAREMORE DR                                                                                 SAINT LOUIS       MO   63121‐5201
JAMES MCCALL          700 HILLSDALE DR                                                                                  WEST JEFFERSON    OH   43162‐1019
JAMES MCCALLUM        1274 CREEK POINTE DR                                                                              ROCHESTER         MI   48307‐1725
JAMES MCCAMMON        3695 LORENA DR                                                                                    WATERFORD         MI   48329‐4239
JAMES MCCANN          3817 WHITTIER AVE                                                                                 FLINT             MI   48506‐3160
JAMES MCCARREN        6073 OREGONIA RD                                                                                  OREGONIA          OH   45054‐9737
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JAMES MCCART        2102 KEYS FERRY RD                                                                            MCDONOUGH           GA     30252‐6227
JAMES MCCARTER      5748 NE 1ST ST                                                                                FOREST              IN     46039‐9557
JAMES MCCARTER      7797 WOODLAWN CIR                                                                             TUSCALOOSA          AL     35405‐8700
JAMES MCCARTHY      PO BOX 307                     C/O DIANE MALOY                                                LITTLE RIVER        CA     95456‐0307
JAMES MCCARTHY      5704 N WEST ROTAMER RD                                                                        MILTON              WI     53563‐8513
JAMES MCCARTHY      1631 LANCASTER DR                                                                             YOUNGSTOWN          OH     44511‐1036
JAMES MCCARTHY      WEITZ & LUXENBERG PC           700 BROADWAY                                                   NEW YORK CITY       NY     10003
JAMES MCCARTT       372 CORBIN HILL RD                                                                            OLIVER SPRINGS      TN     37840‐3614
JAMES MCCARTY       32 KING BIRD DR                                                                               CLEVELAND           GA     30528‐6003
JAMES MCCARTY       170 ELIZABETH DR                                                                              ANDERSON            IN     46016‐5881
JAMES MCCARTY       PO BOX 2018                                                                                   KEYSTONE HEIGHTS    FL     32656‐2018

JAMES MCCARTY JR    10023 ALTAMONT CIR                                                                            FREDERICKSBURG     VA      22408‐9535
JAMES MCCARTY JR    1621 GLENDALE ST                                                                              JANESVILLE         WI      53546‐5898
JAMES MCCAULEY      803 VANNAH AVE                                                                                LOUISVILLE         KY      40223‐2746
JAMES MCCAULEY      3040 VALLEY FORGE TRL                                                                         FOREST HILL        TX      76140‐1853
JAMES MCCAUSEY      6018 ESSEX CENTER RD                                                                          SAINT JOHNS        MI      48879‐9735
JAMES MCCHRISTION   2223 E BOATFIELD AVE                                                                          BURTON             MI      48529‐1783
JAMES MCCLAIN       54 DEWEY AVE                                                                                  FAIRPORT           NY      14450‐2406
JAMES MCCLAIN       2843 WYOMING DR                                                                               XENIA              OH      45385‐4443
JAMES MCCLAIN       4306 OLD CARRIAGE RD                                                                          FLINT              MI      48507‐5648
JAMES MCCLAIN       16629 WHITBY ST                                                                               LIVONIA            MI      48154‐2508
JAMES MCCLAMMER     632 BROOKS DR                                                                                 FORTVILLE          IN      46040‐1119
JAMES MCCLARY       1100 GREENBRIAR RD                                                                            LEASBURG           MO      65535‐7151
JAMES MCCLARY       5235 E WILCOX RD                                                                              JANESVILLE         WI      53546‐9707
JAMES MCCLEE        1709 DOVER CT                                                                                 YPSILANTI          MI      48198‐3214
JAMES MCCLELLAN     3508 N ILLINOIS ST                                                                            INDIANAPOLIS       IN      46208‐4419
JAMES MCCLELLAN     2138 STONESTHROW DR                                                                           LAPEER             MI      48446
JAMES MCCLELLAN     BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH      44236
JAMES MCCLELLAND    3326 PALM AIRE DR                                                                             ROCHESTER HLS      MI      48309‐1048
JAMES MCCLELLAND    2757 UNIT 2‐3 OWENS ROAD                                                                      HOUGHTON LAKE      MI      48629
JAMES MCCLENATHAN   25 AMERICO CT                                                                                 LANCASTER          NY      14086‐3424
JAMES MCCLENDON     1441 TAYLORS MILL RD                                                                          TALLADEGA          AL      35160‐3078
JAMES MCCLEOD       3708 PARKFIELD RD                                                                             BALTIMORE          MD      21208‐2336
JAMES MCCLERKIN     4301 GARDEN PATH LN                                                                           MANSFIELD          TX      76063‐6811
JAMES MCCLINTHEN    52 LAKE EDDINS 16388A                                                                         PACHUTA            MS      39347‐5234
JAMES MCCLINTON     6408 E COURT ST S                                                                             BURTON             MI      48509‐2322
JAMES MCCLOSKEY     6268 WESTDALE DR                                                                              GRAND BLANC        MI      48439‐8529
JAMES MCCLOUD       2770 AUDUBON DR APT C                                                                         MIDDLETOWN         OH      45044‐7257
JAMES MCCLOUD       7924 BRIDGE AVE                                                                               BALTIMORE          MD      21237‐2703
JAMES MCCLOUD JR    5567 HUMMOCK RD                                                                               TROTWOOD           OH      45426‐1403
JAMES MCCLUNG       PO BOX 562                                                                                    COULTERVILLE       IL      62237‐0562
JAMES MCCLURE       49 BRIARCLIFF RD                                                                              GRIFFIN            GA      30223‐7010
JAMES MCCLURE       1207 PARK DR                                                                                  GREENWOOD          MO      64034‐9345
JAMES MCCONNELL     450 ONONDAGA ST                                                                               LEWISTON           NY      14092‐1204
JAMES MCCONNELL     5441 CASS ELIZABETH RD                                                                        WATERFORD          MI      48327‐3108
JAMES MCCONNON      2775 MACY LN                                                                                  HASTINGS           MI      49058‐8123
JAMES MCCONVILLE    111 KENSINGTON PL                                                                             COLUMBIA           TN      38401‐8885
JAMES MCCOOL        14165 SHERIDAN RD                                                                             MONTROSE           MI      48457‐9349
JAMES MCCORD        2357 COUNTY ROAD 1323                                                                         BLANCHARD          OK      73010‐3521
JAMES MCCORD        28 EMS D10 LN                                                                                 SYRACUSE           IN      46567‐9011
JAMES MCCORD JR     2613 N SCATTERFIELD RD                                                                        ANDERSON           IN      46012‐1521
JAMES MCCORKLE      609 W HARRISON ST                                                                             PAULDING           OH      45879‐1341
JAMES MCCORKLE      907 HARRISON ST                                                                               FRANKTON           IN      46044‐9781
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JAMES MCCORKLE          16329 N 300 W                                                                                                   SUMMITVILLE       IN     46070‐9334
JAMES MCCORMICK         719 OBERLIN PL                                                                                                  AUSTINTOWN        OH     44515‐4212
JAMES MCCORMICK         6272 FRIENDSHIP RD                                                                                              CATLETTSBURG      KY     41129‐8308
JAMES MCCORMICK         2428 HUNTERS RUN DR                                                                                             PLANO             TX     75025‐4766
JAMES MCCOSH            397 SUMMIT ST                                                                                                   HILLSDALE         MI     49242‐1034
JAMES MCCOWAN           1109 LOFTIN RD                                                                                                  COLUMBIA          TN     38401‐8017
JAMES MCCOWAN           9368 N CTY RD # 775                                                                                             LOSANTVILLE       IN     47354
JAMES MCCOWN            4195 S DAYTON BRANDT RD                                                                                         NEW CARLISLE      OH     45344‐7622
JAMES MCCOY             23650 CADILLAC HWY                                                                                              COPEMISH          MI     49625‐9717
JAMES MCCOY             17251 LUMPKIN ST                                                                                                DETROIT           MI     48212‐1579
JAMES MCCOY             5693 LOCUST STREET EXT                                                                                          LOCKPORT          NY     14094‐5928
JAMES MCCUE JR          411 CREEKTREE CT                                                                                                WENTZVILLE        MO     63385‐3425
JAMES MCCULLIGH         4135 MINERVA DR                                                                                                 FLINT             MI     48504‐1466
JAMES MCCUNE            508 W HIGH ST                                                                                                   ALBANY            IN     47320‐1632
JAMES MCCURDY           2031 S GILMAN AVE                                                                                               MUNCIE            IN     47302‐2063
JAMES MCCURDY           7102 GRAND BLANC RD                                                                                             SWARTZ CREEK      MI     48473‐9401
JAMES MCCURDY           C/O CASCINO, MICHAEL P               220 S ASHLAND AVE                                                          CHICAGO            IL    60607
JAMES MCCURDY SR        270 FOLSOM DR                                                                                                   DAYTON            OH     45405‐1110
JAMES MCCURRY           14400 E 13 MILE RD                                                                                              WARREN            MI     48088‐3284
JAMES MCCUTCHEON        618 MUBARAK ST                                                                                                  TOMAH             WI     54660
JAMES MCDADE            PO BOX 320635                                                                                                   FLINT             MI     48532‐0011
JAMES MCDANIEL          9669 W LEITER RD                                                                                                REMUS             MI     49340‐9412
JAMES MCDANIEL          11 SOUTH WATER                                                                                                  LIBERTY           MO     64068
JAMES MCDANIEL          406 ARLINGTON DR                                                                                                WEST MONROE       LA     71291‐9783
JAMES MCDANIEL          6002 FLY HOLLOW RD                                                                                              SANTA FE          TN     38482‐3101
JAMES MCDERMOTT         1139 N BEVILLE AVE                                                                                              INDIANAPOLIS      IN     46201‐1355
JAMES MCDIARMID         1310 W WILSON RD                                                                                                CLIO              MI     48420‐1689
JAMES MCDIVITT          2843 TRENTON RD                                                                                                 AKRON             OH     44312‐2744
JAMES MCDOLE            3049 DOWDEN DR                                                                                                  FRANKLIN          IN     46131‐9854
JAMES MCDOLE            4024 LAKEWOOD CT                                                                                                CLAYTON           IN     46118‐9369
JAMES MCDONALD          11318 BONASA DR NE                                                                                              ROCKFORD          MI     49341‐8154
JAMES MCDONALD          10801 BERLIN STATION RD                                                                                         CANFIELD          OH     44406‐9725
JAMES MCDONALD          4258 N CONCHO RD                                                                                                GOLDEN VALLEY     AZ     86413‐5951
JAMES MCDONALD          480 CUMINGS CT                                                                                                  SPARTA            MI     49345‐8417
JAMES MCDONALD          4838 BUCKTHORNE DR                                                                                              SAGINAW           MI     48603‐3840
JAMES MCDONALD          2700 GEERT CT                                                                                                   LANSING           MI     48910‐3747
JAMES MCDONALD          BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS        OH     44236
JAMES MCDONOUGH         THE MADEKSHO LAW FIRM                8866 GULF FREEWAY SUITE 440                                                HOUSTON           TX     77017
JAMES MCDONOUGH         6100 LITTLE PORTAGE LAKE RD                                                                                     LAND O LAKES      WI     54540‐9745
JAMES MCDOUGAL          NIX PATTERSON & ROACH LLP            GM BANKRUPTCY DEPARTMENT      205 LINDA DRIVE                              DAINGERFIELD      TX     75638
JAMES MCDOUGALL         14040 BURT RD                                                                                                   CHESANING         MI     48616‐9533
JAMES MCDOUGALL I I I   1116 BEDFORD DR                                                                                                 TEMPERANCE        MI     48182‐1255
JAMES MCDOWELL          5444 CRESTLINE RD                                                                                               WILMINGTON        DE     19808‐3654
JAMES MCDOWELL          100 WINDSOR DR                                                                                                  ELKTON            MD     21921‐6127
JAMES MCDOWELL          10253 WILLIAMS RD                                                                                               DIAMOND           OH     44412‐9768
JAMES MCDOWELL          5415 DELLBROOK DR                                                                                               FAIRFIELD         OH     45014‐3322
JAMES MCDOWELL          1960 S LEATHERWOOD RD                                                                                           BEDFORD           IN     47421‐8863
JAMES MCDOWELL          WIGINGTON RUMLEY DUNN LLP            800 N SHORELINE BLVD          14TH FL SOUTH TOWER                          CORPUS CHRISTI    TX     78401
JAMES MCDUFFIE          4055 W MICHIGAN AVE                  APT 63                                                                     SAGINAW           MI     48638‐6636
JAMES MCELFRESH         2273 W 1025 N                                                                                                   ALEXANDRIA        IN     46001‐8400
JAMES MCELHENY JR       2131 SWENSBERG AVE NE                                                                                           GRAND RAPIDS      MI     49505‐4063
JAMES MCELHINEY         THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES             22ND FLOOR                                   BALTIMORE         MD     21201

JAMES MCELREATH         PO BOX 180128                                                                                                   ARLINGTON         TX     76096‐0128
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Name                           Address1                          Address2                         Address3   Address4               City            State   Zip
JAMES MCELROY                  628 JAMESTOWN DR                                                                                     MIAMISBURG       OH     45342‐3944
JAMES MCELROY                  837 YOUNG ST                                                                                         PIQUA            OH     45356‐3234
JAMES MCELROY                  3759 E CHEROKEE DR                                                                                   CANTON           GA     30115‐9227
JAMES MCELROY                  3168 E MOUNT MORRIS RD                                                                               MOUNT MORRIS     MI     48458‐8992
JAMES MCELWAIN                 202 S AUSTIN ST                                                                                      BUTLER           MO     64730‐2206
JAMES MCEVOY                   4407 NAMBE ARCADE                                                                                    LAS CRUCES       NM     88011‐4270
JAMES MCEVOY                   170 KINGSTON ST                                                                                      N ANDOVER        MA     01845
JAMES MCFADDEN                 12415 RAILROAD RD                                                                                    CLIO             MI     48420‐8231
JAMES MCFARLAND                6682 FOREST HILL LN                                                                                  HAMILTON         OH     45011‐6415
JAMES MCFARLAND                119 LITTLEBROOK RD                                                                                   JOSHUA           TX     76058‐4816
JAMES MCFEELY                  13642 W CALLA RD                                                                                     SALEM            OH     44460‐9635
JAMES MCFETRICH                5130 PARKMAN RD NW                                                                                   WARREN           OH     44481‐9147
JAMES MCGAHA                   1038 SYCAMORE DR                                                                                     CANTON           GA     30115‐9488
JAMES MCGARR                   3963 MEANDER DR                                                                                      MINERAL RIDGE    OH     44440‐9012
JAMES MCGEE                    16714 MURRAY HILL ST                                                                                 DETROIT          MI     48235‐3638
JAMES MCGEE                    516 S GRANGER ST                                                                                     SAGINAW          MI     48602‐2101
JAMES MCGEE                    200 BURNSIDE RD                                                                                      NORTH BRANCH     MI     48461‐9774
JAMES MCGEE                    609 GREENWICH LN                                                                                     GRAND BLANC      MI     48439‐1078
JAMES MCGEE                    17792 TUSCARORA CREEK RD.                                                                            BLAIRS MILLS     PA     17213
JAMES MCGHEE                   336 PROSPECT ST                                                                                      LOCKPORT         NY     14094‐2712
JAMES MCGHEE                   PO BOX 132                                                                                           OSYKA            MS     39657‐0132
JAMES MCGHEE                   5585 E PARADISE RD                                                                                   BATTLE CREEK     MI     49014‐8351
JAMES MCGHEE                   5440 BASORE RD                                                                                       DAYTON           OH     45415‐2718
JAMES MCGHEE JR                76 SCHAUF AVE                     C/O F. MCGHEE                                                      BUFFALO          NY     14211‐1036
JAMES MCGILL JR                2382 BROOKS RD                                                                                       DACULA           GA     30019‐2536
JAMES MCGINN I I               131 DESANDER DR                                                                                      LANSING          MI     48906‐2320
JAMES MCGINNIS                 16 COTTAGE ST                                                                                        NORWOOD          NY     13668‐1206
JAMES MCGINNIS                 116 COLONIAL DR                                                                                      LEESBURG         GA     31763‐4701
JAMES MCGINNIS                 166 CLIFFBROOK DR                                                                                    MANSFIELD        OH     44907‐1777
JAMES MCGINNIS                 265 MILLSPINGS                                                                                       COATESVILLE      IN     46121
JAMES MCGINNIS R (ESTATE OF)   EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                                     NEW HAVEN        CT     06510
                                                                 265 CHURCH ST
JAMES MCGIVERN                 G3420 E CARPENTER RD                                                                                 FLINT           MI      48506
JAMES MCGLAUGHN                G PATTERSON KEAHEY P C            ONE INDEPENDENCE PLAZA SUITE                                       BIRMINGHAM      AL      35209
JAMES MCGLOTHIN                2121 HIGHLAND AVE                                                                                    CINCINNATI      OH      45219‐3119
JAMES MCGONIGLE                7937 DECKER CANYON DR UNIT 101                                                                       LAS VEGAS       NV      89128‐3625
JAMES MCGOODWIN                PO BOX 121181                                                                                        FORT WORTH      TX      76121‐1181
JAMES MCGOWAN                  913 FLORIDA AVE                                                                                      MARTINSBURG     WV      25401‐1723
JAMES MCGOWAN                  1044 LISA RUN DR                                                                                     KERNERSVILLE    NC      27284‐2384
JAMES MCGOWAN                  6075 CHESTNUT RIDGE RD                                                                               HUBBARD         OH      44425‐2812
JAMES MCGOWAN                  BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS      OH      44236
JAMES MCGRADY                  8949 NC HIGHWAY 113                                                                                  PINEY CREEK     NC      28663‐9079
JAMES MCGRATH                  2939 HALLOCK YOUNG RD SW                                                                             WARREN          OH      44481‐9278
JAMES MCGRATH                  10795 W REMUS RD                                                                                     REMUS           MI      49340‐9666
JAMES MCGRATH                  909 CALIB CT                                                                                         FRANKLIN        TN      37067‐1372
JAMES MCGRATH                  1263 NE TUDOR RD                                                                                     LEES SUMMIT     MO      64086‐6735
JAMES MCGRAW                   25 E BALBACH AVE                                                                                     NEW CASTLE      DE      19720‐4069
JAMES MCGREGOR                 383 AVANTI LN                                                                                        HIGHLAND        MI      48357‐4877
JAMES MCGUIRE                  6735 HAMMOCK RD                                                                                      PORT RICHEY     FL      34668‐2115
JAMES MCGUIRE                  20093 SHADY ACRES CIR                                                                                ATHENS          AL      35614‐6927
JAMES MCGUNNIGAL               3 ARCHER ST                                                                                          PLYMOUTH        MA      02360‐5702
JAMES MCHUGH                   1850 OLD FOUNTAIN RD                                                                                 LAWRENCEVILLE   GA      30043‐3929
JAMES MCILRATH                 19 PLEASANT VW                                                                                       LAKE PLACID     FL      33852‐7172
JAMES MCILREE                  7135 NEW HOPE RD                                                                                     FAIRVIEW        TN      37062‐8253
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Name                 Address1                         Address2                     Address3   Address4               City               State   Zip
JAMES MCILWAIN       229 ROSLYN ST                                                                                   BUFFALO             NY     14215‐3933
JAMES MCINDOO        12007 STILL MEADOW DR                                                                           CLERMONT            FL     34711‐6753
JAMES MCINERNEY      12469 BELL RD                                                                                   BURT                MI     48417‐9794
JAMES MCINTOSH       6422 DALTON DR                                                                                  FLUSHING            MI     48433‐2333
JAMES MCINTYRE       11180 WILSHIRE DR                                                                               SHELBY TWP          MI     48315‐6674
JAMES MCINTYRE       1535 CORAL AVE                                                                                  VERO BEACH          FL     32963‐2343
JAMES MCINTYRE       2192 BULLOCK RD                                                                                 BAY CITY            MI     48708‐9654
JAMES MCINTYRE       702 S MAIN ST                                                                                   HOLDEN              MO     64040‐1424
JAMES MCINTYRE       21634 THORNBUSH DR                                                                              WOODHAVEN           MI     48183‐5217
JAMES MCIVER         20 HAWTHORNE RD                                                                                 PICAYUNE            MS     39466‐9285
JAMES MCIVER         3117 W DEVON RD                                                                                 MUNCIE              IN     47304‐3844
JAMES MCKAY          9965 SHERIDAN RD                                                                                BURT                MI     48417‐2170
JAMES MCKAY          41 LAMOREAUX DR NE                                                                              COMSTOCK PARK       MI     49321‐9115
JAMES MCKAY          5172 LAKE DR                                                                                    OWOSSO              MI     48867‐8711
JAMES MCKEE          RR 1 BOX 7                                                                                      JASONVILLE          IN     47438‐9702
JAMES MCKEE          1338 HAYES RD                                                                                   MUIR                MI     48860‐9781
JAMES MCKEEVER       7093 SHAKER RD                                                                                  FRANKLIN            OH     45005‐2544
JAMES MCKEITHAN      2055 DEBAKELEER.                                                                                FARRELL             PA     16121
JAMES MCKENNA        1803 LUTON CT                                                                                   THOMPSONS           TN     37179‐5318
                                                                                                                     STATION
JAMES MCKENZIE       4570 SW 166TH COURT RD                                                                          OCALA              FL      34481‐8835
JAMES MCKENZIE       PO BOX 4932                                                                                     EAST LANSING       MI      48826‐4932
JAMES MCKENZIE       16721 MARSH RD                                                                                  EAST LANSING       MI      48823‐9602
JAMES MCKENZIE       5807 BOIS ILE DR                                                                                HASLETT            MI      48840‐9515
JAMES MCKEON         32600 COLONY HILL DR                                                                            FRANKLIN           MI      48025‐1016
JAMES MCKERNAN JR    127 BLANK RD                                                                                    NIAGARA FALLS      NY      14304‐1107
JAMES MCKINLEY       PO BOX 374                                                                                      NEWTON FALLS       OH      44444‐0374
JAMES MCKINLEY       1157 SULPHUR SPRINGS LN                                                                         MINERAL RIDGE      OH      44440‐9019
JAMES MCKINLEY       4408 JENNINGS FISH CAMP RD                                                                      LAKE WALES         FL      33898‐4805
JAMES MCKINLEY       113 STILLMEADOW DR                                                                              LIZTON             IN      46149‐9240
JAMES MCKINNEY       PO BOX 1071                                                                                     YOUNGSTOWN         OH      44501‐1071
JAMES MCKINNEY       PO BOX 2104                                                                                     ANDERSON           IN      46018‐2104
JAMES MCKINNIE       2090 PENNSYLVANIA AVE                                                                           ENGLEWOOD          FL      34224‐5654
JAMES MCKINNON       5101 STIMSON RD                                                                                 ONONDAGA           MI      49264‐9730
JAMES MCKISSACK      308 N DELAWARE ST                                                                               ALBANY             IN      47320‐1617
JAMES MCKNIGHT       1787 VANCOUVER DR                                                                               DAYTON             OH      45406‐4622
JAMES MCKNIGHT       15409 PALMYRA RD                                                                                DIAMOND            OH      44412‐9618
JAMES MCKNIGHT SR.   BEVAN & ASSOCIATES LPA INC.      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH      44236
JAMES MCKOUEN        1737 HAVENSHIRE LANE                                                                            BRIGHTON           MI      48114
JAMES MCKUEN         1847 W 4TH ST                                                                                   PRESCOTT           MI      48756‐8602
JAMES MCLAIN         3827 DEVTON DR                                                                                  COLUMBUS           OH      43228‐3109
JAMES MCLAIN         2528 N MORRISON RD                                                                              MUNCIE             IN      47304‐5069
JAMES MCLANE         613 JASON DR                                                                                    LADY LAKE          FL      32159‐2420
JAMES MCLAREN        302 N MACKINAW ST                                                                               DURAND             MI      48429‐1322
JAMES MCLAUGHLIN     236 RAPID RILL LN                                                                               BROWNSBURG         IN      46112‐2151
JAMES MCLAUGHLIN     340 WELCOME WAY                                                                                 CARLISLE           OH      45005‐3254
JAMES MCLAUGHLIN     4496 NEW CASTLE RD                                                                              LOWELLVILLE        OH      44436‐9707
JAMES MCLAUGHLIN     PO BOX 1028                                                                                     NOBLESVILLE        IN      46061‐1028
JAMES MCLAUGHLIN     BEVAN & ASSOCIATES LPA INC.      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH      44236
JAMES MCLEISH        2300 RICHWOOD RD                                                                                AUBURN HILLS       MI      48326‐2530
JAMES MCLELLAN       1571 HUNTERS RIDGE DR                                                                           BLOOMFIELD HILLS   MI      48304‐1029
JAMES MCLELLAN       2086 BLOMQUIST AVE                                                                              WHITE BEAR LAKE    MN      55110‐4702
JAMES MCLELLAN       416 E MANOGUE RD                                                                                MILTON             WI      53563‐9608
JAMES MCLEMORE       9216 STOUT ST                                                                                   DETROIT            MI      48228‐1660
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Name                   Address1                             Address2                     Address3              Address4               City              State Zip
JAMES MCLENDON SR.     6216 WOODCREST AVE                                                                                             BALTIMORE          MD 21209‐3935
JAMES MCLEOD           4025 YELLOW PINE CT                                                                                            MCDONOUGH          GA 30252‐1003
JAMES MCLEOD           3665 BRINKMORE RD                                                                                              CLEVELAND HEIGHTS OH 44121‐1370

JAMES MCLEOD           2612 JULIANNE DR                                                                                               SAGINAW           MI   48603‐3029
JAMES MCLIN            PO BOX 397                                                                                                     TANNER            AL   35671‐0397
JAMES MCLUCAS          418 CHALMERS ST                                                                                                FLINT             MI   48503‐2264
JAMES MCMAHAN          134 MERRYWOOD LN.                                                                                              SAN MARCOS        TX   78666
JAMES MCMANAMA         1620 W US 30 APT 1                                                                                             COLUMBIA CITY     IN   46725
JAMES MCMANIS          1313 QUARRY RD                                                                                                 CALEDONIA         NY   14423‐9727
JAMES MCMANUS          17118 AZALEA CT                                                                                                ROCKWOOD          MI   48173‐8779
JAMES MCMICHAEL        1025A WINGED FOOT CT                                                                                           CHESAPEAKE        VA   23320‐9482
JAMES MCMILLAN         220 HAWTHORNE ST                                                                                               ELYRIA            OH   44035‐3725
JAMES MCMILLAN         263 JW EDWARDS DR                                                                                              BYRON             GA   31008‐5820
JAMES MCMILLAN         BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                                BOSTON HTS        OH   44236
JAMES MCMILLAN SR      1612 CONGRESS AVE #2                                                                                           SAGINAW           MI   48602‐5101
JAMES MCMONAGLE        1766 KOKOMO DR                                                                                                 HUBBARD           OH   44425‐2840
JAMES MCMORRIS         42 GILLESPIE AVE                                                                                               PONTIAC           MI   48341‐2225
JAMES MCMORRIS         1151 N JEFFERSON ST UNIT 3                                                                                     MEDINA            OH   44256‐6623
JAMES MCMULLEN         36022 ROLF ST                                                                                                  WESTLAND          MI   48186‐8228
JAMES MCMURRAY         4041 GRANGE HALL RD LOT 127                                                                                    HOLLY             MI   48442‐1924
JAMES MCNAIR           207 ALICE ST                                                                                                   SAGINAW           MI   48602‐2704
JAMES MCNALLY          1616 DIFFORD DR                                                                                                NILES             OH   44446‐2845
JAMES MCNALLY          1940 CORTINA DR                                                                                                DAYTON            OH   45459‐1352
JAMES MCNALLY          THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES            22ND FLOOR                                   BALTIMORE         MD   21201

JAMES MCNAMARA         10617 N WESTLAKES DR                                                                                           FORT WAYNE        IN   46804‐8603
JAMES MCNEAL           21145 MAINE AVE                      TOLCHESTER                                                                CHESTERTOWN       MD   21620‐4348
JAMES MCNEELY          2672 KNOB CREEK RD                                                                                             COLUMBIA          TN   38401‐1428
JAMES MCNEIL           3911 AMY LN                                                                                                    RANDALLSTOWN      MD   21133‐3609
JAMES MCNERTNEY        1180 BEN FRANKLIN HWY E APT 319                                                                                DOUGLASSVILLE     PA   19518‐1577
JAMES MCNEW            2215 OAKWOOD DR W                                                                                              FRANKLIN          TN   37064‐4944
JAMES MCNICHOLAS       424 REED CT                                                                                                    GIRARD            OH   44420‐2249
JAMES MCPEAK           7920 LILA DR                                                                                                   HAZELWOOD         MO   63042‐3519
JAMES MCPETERS         1752 MARWELL BLVD                                                                                              HUDSON            OH   44236‐1324
JAMES MCPHAIL          7730 DURAIN DR                                                                                                 JENISON           MI   49428‐7916
JAMES MCQUAID          871 COMMONWEALTH ST                                                                                            SAGINAW           MI   48604‐1105
JAMES MCQUEEN          3108 COMANCHE AVE                                                                                              FLINT             MI   48507‐1877
JAMES MCQUEEN JR       4472 PARMELY ST APT A                                                                                          PORT CHARLOTTE    FL   33980‐3221
JAMES MCREYNOLDS, JR   C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY STE 600                                                 HOUSTON           TX   77007
                       BOUNDAS LLP
JAMES MCVEIGH          2386 JOE BROWN RD                                                                                              SPRING HILL       TN   37174‐2577
JAMES MCVEY            1454 BONAPART DR                                                                                               HOLT              MI   48842‐9679
JAMES MCWILLIAMS       PO BOX 492                                                                                                     ROMNEY            WV   26757‐0492
JAMES MCWILLIAMS       3246 KEAVY RD                                                                                                  LONDON            KY   40744‐8808
JAMES MCWILLIAMS       13600 PIERCE RD                                                                                                BYRON             MI   48418‐8872
JAMES MCWILLIAMS       20445 HAWTHORNE ST                                                                                             DETROIT           MI   48203‐1267
JAMES MCWILLIAMS IRA   C/O JOHN F CARBERRY                  CUMMINGS & LOCKWOOD LLC      SIX LANDMARK SQUARE                          STAMFORD          CT   06901
JAMES MEAD             PO BOX 1                                                                                                       BIG BAY           MI   49808‐0001
JAMES MEAD             9861 KROUSE RD                                                                                                 OVID              MI   48866‐9762
JAMES MEAD             PO BOX 246                                                                                                     OTTER LAKE        MI   48464‐0246
JAMES MEAD             1006 EATON GREEN DR                                                                                            CHARLOTTE         MI   48813‐9381
JAMES MEADE
JAMES MEADOWS          989 QUENTIN RD                                                                                                 EASTLAKE          OH   44095‐2837
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Name               Address1                      Address2            Address3         Address4               City              State   Zip
JAMES MEADOWS      3891 E CEDAR LAKE DR                                                                      GREENBUSH          MI     48738‐9722
JAMES MEADOWS      BOX 799 JOE'S CREEK ROAD                                                                  SOD                WV     25564
JAMES MEADOWS      1652 CORDOVA AVE                                                                          LAKEWOOD           OH     44107‐3606
JAMES MEANS        1525 N LINCOLN AVE                                                                        SALEM              OH     44460‐1338
JAMES MEANS        PO BOX 113                                                                                METCALF             IL    61940‐0113
JAMES MEARNIC      1860 1ST ST                                                                               SAINT HELEN        MI     48656‐9739
JAMES MEARS        121 BROWN ST                                                                              ELKTON             MD     21921‐5404
JAMES MEDDAUGH     4901 FREELAND RD                                                                          SAGINAW            MI     48604‐9785
JAMES MEDLEY       1730 WEYMOUTH LN NW                                                                       HUNTSVILLE         AL     35806‐3426
JAMES MEDLIN       606 N SUNSET DR                                                                           INDEPENDENCE       MO     64050‐3223
JAMES MEDORE       4611 E TRASK LAKE RD                                                                      HARRISVILLE        MI     48740‐9745
JAMES MEECE        214 E MOUNT EDEN RD                                                                       RUSSELL SPRINGS    KY     42642‐9781
JAMES MEEKER       116 FONTAINE WALK                                                                         WARNER ROBINS      GA     31088‐6740
JAMES MEEKER       4506 NW 50TH ST                                                                           KANSAS CITY        MO     64151‐3215
JAMES MEEKS        11525 JOHNSON DR                                                                          PARMA              OH     44130‐7362
JAMES MEEKS        7890 HIGHWAY 82 SPUR                                                                      MAYSVILLE          GA     30558‐3407
JAMES MEEKS        11000 HENNING DR                                                                          CHARDON            OH     44024‐9796
JAMES MEERDO       40 E SHARLEAR DR                                                                          ESSEXVILLE         MI     48732‐1249
JAMES MEERS        PO BOX 383                                                                                FAIRMOUNT           IL    61841‐0383
JAMES MEESE        G3434 CAMDEN AVE                                                                          BURTON             MI     48529‐1116
JAMES MEHALLOW     16962 FREYMAN RD                                                                          CYGNET             OH     43413‐9625
JAMES MEIKLEJOHN   6455 DELAND RD                                                                            FLUSHING           MI     48433‐1154
JAMES MEIL         9869 SW 59TH CIR                                                                          OCALA              FL     34476‐3657
JAMES MEINKE       90 CROYDON DR                                                                             DEPEW              NY     14043‐4419
JAMES MEISSNER     4164 KINGS ROW CT NW                                                                      GRAND RAPIDS       MI     49534‐3471
JAMES MELCHERT     10171 JOANNA K                                                                            WHITE LAKE         MI     48386‐2219
JAMES MELCHI       2653 N LAKEVIEW DR                                                                        SANFORD            MI     48657‐9547
JAMES MELE         WEITZ & LUXENBERG P C         700 BROADWAY                                                NEW YORK CITY      NY     10003
JAMES MELITO       9330 CAPE CHARLES AVE                                                                     NEW PORT RICHEY    FL     34655‐1538
JAMES MELLODGE     PO BOX 372                                                                                STOCKTON           NJ     08559‐0372
JAMES MELLON       635 REGINA CIR                                                                            OAKLAND            FL     34787‐8962
JAMES MELSON       1042 HIGHLAND ESTATES DR                                                                  WENTZVILLE         MO     63385‐5526
JAMES MELSON JR    4287 N 200 E                                                                              ANDERSON           IN     46012‐9517
JAMES MELTON       13504 SO CO RD 600W                                                                       WESTPORT           IN     47283
JAMES MELTON       535 E REID RD APT 10                                                                      GRAND BLANC        MI     48439‐1244
JAMES MELTON       1124 BAKEWELL DR                                                                          SAINT LOUIS        MO     63137‐2104
JAMES MELTON       3860 W WOODLAND ST                                                                        SPRINGFIELD        MO     65807‐5528
JAMES MELVILLE     4350 WIMBLEDON DR SW APT 1                                                                GRANDVILLE         MI     49418‐2815
JAMES MENAPACE     2205 HOLIDAY LN                                                                           LANSING            MI     48917‐1343
JAMES MENCH        203 HIGHWAY 8 W                                                                           ABERDEEN           MS     39730‐2103
JAMES MENDENHALL   10630 KAREN DR                                                                            INDIANAPOLIS       IN     46234‐9077
JAMES MENEAR       1694 NORTH M52                APT 211                                                     OWOSSO             MI     48867
JAMES MENSINGER    22 SENTRY LN                                                                              NEWARK             DE     19711‐6952
JAMES MENZEL       6610 FRENCH RD                                                                            UNIONVILLE         MI     48767‐9779
JAMES MERBACH      1548 3 LAKES DR                                                                           TROY               MI     48085‐1430
JAMES MERCER       8375 MCCARTY RD                                                                           SAGINAW            MI     48603‐9680
JAMES MEREDITH     102 N KIMMEL RD BOX 205                                                                   CLAYTON            OH     45315
JAMES MEREDITH     29 ONEIDA ST                                                                              PONTIAC            MI     48341‐1624
JAMES MEREDITH     95 CHEROKEE DR                                                                            WEST SENECA        NY     14224‐4720
JAMES MERIGOLD     50 BROOKVILLE DR                                                                          TONAWANDA          NY     14150‐7164
JAMES MERKISON     299 SUMMIT CT                                                                             RIVERDALE          GA     30274‐4331
JAMES MERKLE       3304 PARCHMOUNT AVE                                                                       KALAMAZOO          MI     49004‐2053
JAMES MERO         10559 S STATE RD                                                                          GOODRICH           MI     48438‐9449
JAMES MERRILL      90 RIVERSIDE DR APT 16D                                                                   NEW YORK           NY     10024‐5322
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Name                    Address1                       Address2                     Address3             Address4                 City            State   Zip
JAMES MERRILL           433 LONGFIELD ST                                                                                          EVANSVILLE       WI     53536‐1238
JAMES MERRILL           2465 SERVICE RD                                                                                           CLINTON          MI     49236‐9726
JAMES MERRILL JR        3517 RUTH                                                                                                 LASING           MI     48910
JAMES MERRIMAN          5047 STATE ROUTE 66 RR2                                                                                   OAKWOOD          OH     45873
JAMES MERRINER          BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS       OH     44236
JAMES MERRING           30 MORGAN CT                                                                                              BROCKPORT        NY     14420‐1129
JAMES MERRITT           2698 CAMINO PL E                                                                                          KETTERING        OH     45420‐3904
JAMES MERROW            8025 PARKWOOD DR                                                                                          FENTON           MI     48430‐9390
JAMES MERZKE            43 S SHORE DR                                                                                             ADDISON          MI     49220‐9739
JAMES MESHELL           241 HIGHVIEW DR                                                                                           BALLWIN          MO     63011‐3007
JAMES MESSER            1520 LAKE POINTE WAY APT 1                                                                                DAYTON           OH     45459
JAMES MESSINA           5117 MAMBO VISTA AVE                                                                                      LAS VEGAS        NV     89108‐6605
JAMES MESSINA           29641 RUSH ST                                                                                             GARDEN CITY      MI     48135‐3430
JAMES MESSISCO          3424 MARSHRUN DR                                                                                          GROVE CITY       OH     43123‐1878
JAMES MESZAROS          2457 ATLAS RD                                                                                             DAVISON          MI     48423‐8316
JAMES METCALF           7320 PECAN CT                                                                                             MANSFIELD        TX     76063‐4921
JAMES METCALF           1245 MASSAC CHURCH RD                                                                                     PADUCAH          KY     42001‐8758
JAMES METEVIA           330 47TH AVE N                                                                                            ST PETERSBURG    FL     33703‐3910
JAMES METEVIER          11895 SARA ANN DR                                                                                         DEWITT           MI     48820‐7764
JAMES METRO             242 MONRING STAR DR                                                                                       HUNTSVILLE       AL     35811‐7828
JAMES METZ              111 PIONEER WAY                                                                                           FOSS             OK     73647‐9029
JAMES METZ              9732 N COUNTY ROAD 300 E                                                                                  BRAZIL           IN     47834‐7640
JAMES METZGAR           136 HERITAGE DR                                                                                           BELOIT           OH     44609‐9602
JAMES METZGER           5909 GLASGOW RD                                                                                           SYLVANIA         OH     43560‐1412
JAMES METZLOFF
JAMES METZO
JAMES MEYER             676 RIDGE RD                                                                                              TROY            MO      63379‐5644
JAMES MEYER             64 NORFOLK RD                                                                                             TORRINGTON      CT      06790‐2716
JAMES MEYER             854 INVERNESS DR                                                                                          DEFIANCE        OH      43512‐8535
JAMES MEYER             10109 STATE ROUTE 613                                                                                     LEIPSIC         OH      45856‐8912
JAMES MEYER             1818 E ANDERSON RD                                                                                        LINWOOD         MI      48634‐9451
JAMES MEYER             5040 N ROCHESTER RD                                                                                       ROCHESTER       MI      48306‐1836
JAMES MEYER             5600 W BIRCH RUN RD                                                                                       SAINT CHARLES   MI      48655‐9627
JAMES MEYER             1416 ANGELA DR W                                                                                          SAGINAW         MI      48609‐4222
JAMES MEYER             4534 HAMLET PL                                                                                            MADISON         WI      53714‐1961
JAMES MEYER             1248 ASHWOOD LN                                                                                           HOWELL          MI      48843‐8380
JAMES MEYERS            205 WAINWOOD DR SE                                                                                        WARREN          OH      44484‐4649
JAMES MEYERS            6500 N WOODRUFF RD                                                                                        WEIDMAN         MI      48893‐9709
JAMES MEYERS            PO BOX 532                                                                                                CHELSEA         MI      48118‐0532
JAMES MEYERS            BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS      OH      44236
JAMES MEYLAN            1683 8 MILE RD                                                                                            KAWKAWLIN       MI      48631‐9725
JAMES MEYTHALER         2470 NANDI HILLS CT                                                                                       SWARTZ CREEK    MI      48473‐7908
JAMES MIAN              165 S OPDYKE RD LOT 70                                                                                    AUBURN HILLS    MI      48326‐3155
JAMES MIANO             60 CANTERBURY CIR                                                                                         BATESVILLE      AR      72501‐9185
JAMES MICELI            4 CREIGHTON CT                                                                                            FORDS           NJ      08863‐1302
JAMES MICHAEL           1090 WOODBINE RD                                                                                          SAGINAW         MI      48609‐5246
JAMES MICHAEL           8777 BIG STONE LAKE RD                                                                                    EVART           MI      49631‐7708
JAMES MICHAEL           728 SE 11TH ST                                                                                            LEES SUMMIT     MO      64081‐3046
JAMES MICHAEL GAHAN     ATTN ROBERT W PHILLIPS         SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON      IL      62024
                                                       ANGELIDES & BARNERD LLC
JAMES MICHAEL SCALLAN   8994 ELIZABETH LAKE RD                                                                                    WHITE LAKE      MI      48386‐2413
JAMES MICHAEL TUCKER    1645 PICCARD DRIVE                                                                                        ROCKVILLE       MD      20850
JAMES MICHAEL WIMBLEY   NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                               DAINGERFIELD    TX      75638
JAMES MICHAELS          331 DALE COUNTY 1                                                                                         DALEVILLE       AL      36322
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Name                   Address1                         Address2                     Address3   Address4               City            State   Zip
JAMES MICHALEK         4601 CHICAGO RD                                                                                 WARREN           MI     48092‐1442
JAMES MICHAUD          265 ROSIE ST                                                                                    BOWLING GREEN    KY     42103‐8428
JAMES MICHAUD          497 DOUGLAS RD                                                                                  NORWOOD          NY     13668‐3125
JAMES MICHEL           21 FARNUM LN                                                                                    PALM COAST       FL     32137‐4460
JAMES MICHELS          3117 OLD FARM RD                                                                                FLINT            MI     48507‐1250
JAMES MICHELS          1315 CRESCENT DR                                                                                DERBY            NY     14047‐9571
JAMES MICHETTI         1413 ROBERTSON RD                                                                               LYNNVILLE        TN     38472‐5130
JAMES MICK             314 VINONA TER                                                                                  COMMERCE TWP     MI     48382‐3274
JAMES MICKLEY          4630 GADSDEN ST                                                                                 INDIANAPOLIS     IN     46241‐5612
JAMES MIDBON           5719 OAK CHAPEL CT                                                                              FORT WAYNE       IN     46845‐1860
JAMES MIDDLEBROOK JR   BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH     44236
JAMES MIDDLETON        1140 N SMITH RD                                                                                 EATON RAPIDS     MI     48827‐9327
JAMES MIDDLETON        1257 W ROWLAND ST                                                                               FLINT            MI     48507‐4045
JAMES MIDDLETON        PO BOX 1226                                                                                     NOBLE            OK     73068‐1226
JAMES MIDDLETON        147 OLD STATE ROUTE 34 UNIT 12                                                                  JONESBOROUGH     TN     37659‐5583
JAMES MIDDLETON        1456 PROPER AVE                                                                                 BURTON           MI     48529‐2046
JAMES MIDKIFF          25178 OSBORNE RD                                                                                COLUMBIA STA     OH     44028‐9527
JAMES MIETELKA         3999 W TERRITORIAL RD                                                                           RIVES JCT        MI     49277‐8602
JAMES MIGHT            C/O THE LAW OFFICES OF PETER G   100 N CHARLES ST             22ND FL                           BALTIMORE        MD     21201
                       ANGELOS
JAMES MIGNACCA         27150 SHADEL RD SPC 184                                                                         SUN CITY        CA      92586‐3314
JAMES MIGNARD          527 ROSEWOOD ST                                                                                 GEORGETOWN      FL      32139‐2719
JAMES MIHALKO          C/O BRAYTON PURCELL              222 RUSH LANDING RD                                            NOVATO          CA      94948‐6169
JAMES MIHLHAUSER       727 REED ST                                                                                     LIBERTY         MO      64068‐2243
JAMES MIKEL            1910 WELLESLEY BLVD APT 110                                                                     INDIANAPOLIS    IN      46219‐8401
JAMES MIKLOS           BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS      OH      44236
JAMES MIKOLAIZIK       5524 226TH STREET NORTHWEST                                                                     STANWOOD        WA      98292‐6823
JAMES MIKULEC          796 ALYSA CT                                                                                    HIGHLAND        MI      48356‐1695
JAMES MIKUSKI          PO BOX 211                                                                                      CANON           GA      30520‐0211
JAMES MILAM            1501 CAMBRIDGE DR                                                                               SHREVEPORT      LA      71105‐5003
JAMES MILES            21 N SQUIRREL RD                                                                                AUBURN HILLS    MI      48326‐4002
JAMES MILES            PO BOX 2529                                                                                     CLEBURNE        TX      76033‐2529
JAMES MILEY            14536 S GREENWOOD ST                                                                            OLATHE          KS      66062‐9006
JAMES MILFORD          5 KRESS HILL DR                                                                                 SPENCERPORT     NY      14559‐2212
JAMES MILITELLO        1826 MIDLAND RD                                                                                 BAY CITY        MI      48706‐9471
JAMES MILKERIS         21225 MONTCLARE LAKE DR                                                                         CREST HILL      IL      60403‐8721
JAMES MILLARD          3216 SW 96TH ST                                                                                 OKLAHOMA CITY   OK      73159‐6505
JAMES MILLENDER        47707 ASHFORD DR S                                                                              CANTON          MI      48188‐6268
JAMES MILLER           8730 EDGAR CT                                                                                   CLARKSTON       MI      48346‐1916
JAMES MILLER           6550 TALLADAY RD                                                                                MILAN           MI      48160‐8814
JAMES MILLER           429 GRANADA AVE                                                                                 EL PASO         TX      79912‐5223
JAMES MILLER           9839 ARN DR                                                                                     CENTERVILLE     OH      45458‐4144
JAMES MILLER           2235 DEXTER RD                                                                                  AUBURN HILLS    MI      48326‐2307
JAMES MILLER           19321 AVON AVE                                                                                  DETROIT         MI      48219‐2748
JAMES MILLER           2432 N MAPLE GROVE HWY                                                                          HUDSON          MI      49247‐9730
JAMES MILLER           178 LENOX ST                                                                                    DETROIT         MI      48215‐3005
JAMES MILLER           1645 HILLSIDE ST                                                                                LAKE ORION      MI      48362‐2214
JAMES MILLER           9029 E GOODALL RD                                                                               DURAND          MI      48429‐9737
JAMES MILLER           9066 VIENNA RD                                                                                  OTISVILLE       MI      48463‐9703
JAMES MILLER           347 W GLOUCESTER DR                                                                             SAGINAW         MI      48609‐9609
JAMES MILLER           40751 GUALALA PL                                                                                FREMONT         CA      94539‐3748
JAMES MILLER           436 OSMUN ST                                                                                    PONTIAC         MI      48342‐3253
JAMES MILLER           3425 CLEMENT ST                                                                                 FLINT           MI      48504‐2472
JAMES MILLER           16630 PREST ST                                                                                  DETROIT         MI      48235‐3872
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Name                           Address1                      Address2                Address3              Address4               City            State   Zip
JAMES MILLER                   7 PRAIRIE CROSSING DR                                                                              SAINT PAUL       MO     63366‐4633
JAMES MILLER                   12089 MARIES COUNTY RD 611                                                                         BRINKTOWN        MO     65443
JAMES MILLER                   507 MORGAN ST                                                                                      CALIFORNIA       MO     65018‐1476
JAMES MILLER                   1110 BLUEGRASS CT                                                                                  MIDLOTHIAN       TX     76065‐5441
JAMES MILLER                   418 WATTS RD                                                                                       SHREVEPORT       LA     71106‐6408
JAMES MILLER                   3077 ROCHESTER RD                                                                                  LEONARD          MI     48367‐2411
JAMES MILLER                   1012 SOUTHPORT AVE                                                                                 LISLE             IL    60532‐1346
JAMES MILLER                   1337 BECK ST                                                                                       LEBANON          IN     46052‐2906
JAMES MILLER                   380 E UTICA ST                                                                                     BUFFALO          NY     14208‐2109
JAMES MILLER                   2443 N EAST DR                                                                                     TAWAS CITY       MI     48763‐8703
JAMES MILLER                   5752 WILSON RD                                                                                     COLUMBIAVILLE    MI     48421‐8969
JAMES MILLER                   119 LAKEVIEW AVE                                                                                   HOUGHTON LAKE    MI     48629‐9370
JAMES MILLER                   6063 TORREY RD                                                                                     FLINT            MI     48507‐3841
JAMES MILLER                   2376 E FRANCES RD                                                                                  CLIO             MI     48420‐9769
JAMES MILLER                   796 JOBIN DR                                                                                       WEST BRANCH      MI     48661‐8436
JAMES MILLER                   610 N JOHNSON ST                                                                                   BAY CITY         MI     48708‐6729
JAMES MILLER                   1222 CHURCH ST                                                                                     FLINT            MI     48502‐1032
JAMES MILLER                   9012 GARY RD                                                                                       CHESANING        MI     48616‐9425
JAMES MILLER                   G7357 ELMCREST AVE                                                                                 MOUNT MORRIS     MI     48458
JAMES MILLER                   431 S MORRICE RD                                                                                   MORRICE          MI     48857‐9795
JAMES MILLER                   8736 SAN MARCO BLVD                                                                                STERLING HTS     MI     48313‐4862
JAMES MILLER                   PO BOX 291                                                                                         GENESEE          MI     48437‐0291
JAMES MILLER                   7377 SMITH RD                                                                                      GAINES           MI     48436‐9728
JAMES MILLER                   32500 ALLEN CT                                                                                     LIVONIA          MI     48154‐4186
JAMES MILLER                   305 DUPONT AVE                                                                                     TONAWANDA        NY     14150‐7833
JAMES MILLER                   550 LIVE OAK TRL NE                                                                                CLEVELAND        TN     37323‐5532
JAMES MILLER                   253 OAK ORCHARD EST                                                                                ALBION           NY     14411‐1056
JAMES MILLER                   8283 CENTER RD                                                                                     HOLLAND          NY     14080‐9682
JAMES MILLER                   1997 W LAKE DR                                                                                     MARTIN           MI     49070‐9786
JAMES MILLER                   19634 HEALY ST                                                                                     DETROIT          MI     48234‐2158
JAMES MILLER                   5317 ROSE ST                                                                                       GLADWIN          MI     48624‐8928
JAMES MILLER                   920 S WASHINGTON AVE APT 8G                                                                        LANSING          MI     48910‐1664
JAMES MILLER                   7663 NW LENOX LN                                                                                   SILVERDALE       WA     98383‐7393
JAMES MILLER                   30 CLOVE CT                                                                                        SPRINGBORO       OH     45066‐1009
JAMES MILLER                   5465 TOWNSHIP ROAD 59                                                                              MOUNT GILEAD     OH     43338‐9761
JAMES MILLER                   885 W PIDGEON RD                                                                                   SALEM            OH     44460‐4135
JAMES MILLER                   739 BETNER DR                                                                                      MANSFIELD        OH     44907‐2707
JAMES MILLER                   1325 E 7TH ST                                                                                      MUNCIE           IN     47302‐3613
JAMES MILLER                   5463 STATE ROUTE 122                                                                               FRANKLIN         OH     45005‐9602
JAMES MILLER                   826 N 91ST WAY                                                                                     MESA             AZ     85207‐5102
JAMES MILLER                   PO BOX 9022                   C/O GM ZURICH                                                        WARREN           MI     48090‐9022
JAMES MILLER                   10261 ROSEWOOD DR                                                                                  OVERLAND PARK    KS     66207‐3456
JAMES MILLER                   6144 LAKE WALDON DR                                                                                CLARKSTON        MI     48346‐2293
JAMES MILLER                   1593 CHAPIN AVE                                                                                    BIRMINGHAM       MI     48009‐5169
JAMES MILLER                   5064 BEACONSFIELD ST                                                                               DETROIT          MI     48224‐3123
JAMES MILLER                   3602 SAINT ALBAN DR                                                                                SAINT CHARLES    MO     63301‐0350
JAMES MILLER                   17000 MIDWEST BLVD                                                                                 NORMAN           OK     73026‐7950
JAMES MILLER                   904 DIVISION ST                                                                                    HUNTINGTON       IN     46750‐2231
JAMES MILLER                   6364 BUCKINGHAM AVE                                                                                ALLEN PARK       MI     48101‐2330
JAMES MILLER                   CASCINO MICHAEL P             220 S ASHLAND AVE                                                    CHICAGO           IL    60607
JAMES MILLER                   511 SILVERY LANE                                                                                   MARTINSBURG      PA     16662
JAMES MILLER                   MICHAEL P CASCINO             220 S ASHLAND AVENUE                                                 CHICAGO           IL    60607
JAMES MILLER CHEVROLET, INC.   ATTN: DAVE MILLER             5355 MILLER CIRCLE DR   MILLER CONSOLIDATED                          MATTESON          IL    60443‐1483
JAMES MILLER CHEVROLET, INC.   JAMES MILLER                  5343 MILLER CIRCLE DR                                                MATTESON          IL    60443‐1483
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Name                                Address1                        Address2                     Address3   Address4               City              State   Zip
JAMES MILLER I I I                  1340 HUNT CREEK RD                                                                             LEWISTON           MI     49756‐9123
JAMES MILLER JR                     2275 DODGE RD                                                                                  EAST AMHERST       NY     14051‐1323
JAMES MILLER JR                     8201 MIDDLE ST                                                                                 WAYNESVILLE        OH     45068‐9725
JAMES MILLER JR                     11527 WILLIAM ST                                                                               TAYLOR             MI     48180‐4282
JAMES MILLER JR                     408 N STATE ST                                                                                 WESTVILLE           IL    61883‐1428
JAMES MILLER JR                     10421 MONARCH DR                                                                               LARGO              FL     33774‐5014
JAMES MILLER JR                     305 HAMPTON RIDGE DR                                                                           WENTZVILLE         MO     63385‐5336
JAMES MILLERTON                     1412 W GRAND AVE                                                                               DAYTON             OH     45402‐6057
JAMES MILLERWISE                    5775 PARADISE LANE                                                                             UNIONVILLE         MI     48767‐9319
JAMES MILLETTE                      1333 ANGELICA CT                                                                               BOWLING GREEN      KY     42104‐5572
JAMES MILLICAN                      6225 BUCK FEVER RD              P.O. BOX 537                                                   POLK CITY          FL     33868‐4011
JAMES MILLIGAN                      1112 W RIVIERA BLVD                                                                            OVIEDO             FL     32765‐5638
JAMES MILLIGAN                      6154 OLD MONTICELLO ST SE                                                                      COVINGTON          GA     30014‐3924
JAMES MILLIGAN                      21702 COUNTY A                                                                                 RICHLAND CENTER    WI     53581
JAMES MILLIKEN                      5015 RED TAIL RUN                                                                              WILLIAMSVILLE      NY     14221‐4177
JAMES MILLIKEN                      20 17TH AVE LOWER                                                                              N TONAWANDA        NY     14120
JAMES MILLIRON                      688 MEADOWBROOK DR                                                                             NORTH              NY     14120‐1980
                                                                                                                                   TONAWANDA
JAMES MILLONZI                      1345 76TH ST                                                                                   CALEDONIA         WI      53108‐9711
JAMES MILLS                         1029 W 39TH ST                                                                                 ANDERSON          IN      46013‐4031
JAMES MILLS                         1735 GORSUCH AVE                                                                               BALTIMORE         MD      21218‐4927
JAMES MILLS                         545 SEAWRIGHT ST                                                                               ORANGEBURG        SC      29115‐3040
JAMES MILLS                         3050 ANN ST                                                                                    HOLLY             MI      48442‐8009
JAMES MILLS                         6339 ROSEDALE RD                                                                               LANSING           MI      48911‐5616
JAMES MILLS                         1730 N GLEANER RD                                                                              SAGINAW           MI      48609‐9472
JAMES MILLS                         12659 LEEVILLE RD                                                                              COLLINSVILLE      MS      39325‐9721
JAMES MILLS                         23984 STONY CREEK DR                                                                           FARMINGTN HLS     MI      48336‐2234
JAMES MILLS                         1926 SPRINGHILL DR                                                                             O FALLON          MO      63366‐3933
JAMES MILLS                         1540 E CLEVELAND RD                                                                            ASHLEY            MI      48806‐9741
JAMES MILLS                         PO BOX 844                                                                                     PINE LAKE         GA      30072‐0844
JAMES MILLS                         507 S CENTER ST                                                                                ARLINGTON         TX      76010‐1663
JAMES MILLS
JAMES MILLS                         8075 FREDA ST                                                                                  DETROIT           MI      48204‐3125
JAMES MILNES                        1884 CALDWELL ST                                                                               SAGINAW           MI      48601‐6805
JAMES MILTHALER                     424 W BROADWAY ST                                                                              TIPP CITY         OH      45371‐1643
JAMES MILTON (ESTATE OF) (655709)   GOLDENBERG, MILLER, HELLER &    PO BOX 959                                                     EDWARDSVILLE      IL      62025‐0959
                                    ANTOGNOLI
JAMES MIMNAUGH                      2805 DEXTER RD                                                                                 ANN ARBOR          MI     48103‐2705
JAMES MINCEY                        412 THORNTON ST                                                                                NEWPORT            KY     41071‐1549
JAMES MINDY                         4243 ANN CT                                                                                    BAY CITY           MI     48706‐2465
JAMES MINER
JAMES MINERD, SR.                   BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH      44236
JAMES MINEWEASER                    1059 NASH RD                                                                                   N TONAWANDA       NY      14120‐3414
JAMES MINICH                        400 KLINGER AVE                                                                                ALLIANCE          OH      44601‐1545
JAMES MINK                          32941 WINNIE AVE                                                                               WARREN            MI      48093‐8153
JAMES MINNE                         22948 SAINT JOAN ST                                                                            ST CLAIR SHRS     MI      48080‐3871
JAMES MINNEAR                       1603 W PARKVIEW DR                                                                             MARION            IN      46952‐1428
JAMES MINNEKER JR                   377 WINRY DR                                                                                   ROCHESTER HILLS   MI      48307‐1163
JAMES MINNEMA                       3832 8TH AVE                                                                                   HUDSONVILLE       MI      49426‐9649
JAMES MINNERY                       BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH      44236
JAMES MINNICH                       2555 LARKMOOR ST                                                                               LORAIN            OH      44052‐3161
JAMES MINNICK                       144 N 7TH ST                                                                                   MIDDLETOWN        IN      47356‐1302
JAMES MINNICK                       PO BOX 111                                                                                     KNIGHTSVILLE      IN      47857‐0111
JAMES MINOR                         PO BOX 7126                                                                                    LONGVIEW          TX      75607‐7126
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Name                Address1                         Address2                     Address3      Address4               City              State   Zip
JAMES MINTON        PO BOX 32                        3030 HALLBROOK DRIVE                                              KNOXVILLE          TN     37901‐0032
JAMES MIONE         5 RYEGATE LN                                                                                       ENGLISHTOWN        NJ     07726‐8210
JAMES MIRA          6610 COUNTY ROAD 175                                                                               BELLEVUE           OH     44811‐9457
JAMES MIRACLE       4148 KEAVY RD                                                                                      LONDON             KY     40744‐7027
JAMES MIRACLE       7515 SENECA RD                                                                                     SHARPSVILLE        PA     16150‐8423
JAMES MIRAGLIA      4225 BRANCH RD                                                                                     FLINT              MI     48506‐1902
JAMES MISJAK        11329 COPAS RD                                                                                     LENNON             MI     48449‐9652
JAMES MISKO         35635 HATHERLY PL                                                                                  STERLING HTS       MI     48310‐5140
JAMES MISNER        4201 S LEONARD SPRINGS RD                                                                          BLOOMINGTON        IN     47403‐4039
JAMES MISTRETTA     4608 BROOKSIDE AVE                                                                                 BRISTOL            PA     19007‐2008
JAMES MITCHAM       20323 ASPENWILDE DR                                                                                CYPRESS            TX     77433‐5637
JAMES MITCHELL      1817 BIRCHWOOD DR                                                                                  OKEMOS             MI     48864‐2703
JAMES MITCHELL      1003 PERSHING DR                                                                                   COLLEGE STATION    TX     77840‐3083
JAMES MITCHELL      107 MEATH RD                                                                                       EATON RAPIDS       MI     48827‐1360
JAMES MITCHELL      14 MILL ST                                                                                         SPENCERPORT        NY     14559‐1210
JAMES MITCHELL      APT B                            4801 KINGSHILL DRIVE                                              COLUMBUS           OH     43229‐7203
JAMES MITCHELL      205 BROOKHAVEN DR                                                                                  COLUMBIA           TN     38401‐8872
JAMES MITCHELL      5361 TORREY RD                                                                                     FLINT              MI     48507‐5953
JAMES MITCHELL      1436 KIPLING DR                                                                                    DAYTON             OH     45406‐4223
JAMES MITCHELL      5120 OSCEOLA DR                                                                                    DAYTON             OH     45427‐2115
JAMES MITCHELL      127 S SPRING ST                                                                                    WILMINGTON         OH     45177‐2223
JAMES MITCHELL      PO BOX 682164                                                                                      FRANKLIN           TN     37068‐2164
JAMES MITCHELL      APT 312                          2730 GOLFSIDE DRIVE                                               ANN ARBOR          MI     48108‐1459
JAMES MITCHELL      43735 BANNOCKBURN DR                                                                               CANTON             MI     48187‐2821
JAMES MITCHELL      817 10TH ST                                                                                        BELOIT             WI     53511‐5251
JAMES MITCHELL      2718 VAN BUREN PL                                                                                  LOS ANGELES        CA     90007‐2130
JAMES MITCHELL      30 NE 61ST ST APT 2A                                                                               GLADSTONE          MO     64118‐4122
JAMES MITCHELL      2607 N PINGREE RD                                                                                  ALMA               MI     48801‐9588
JAMES MITCHELL      2721 SAINT JOSEPH ST                                                                               W BLOOMFIELD       MI     48324‐1979
JAMES MITCHELL      2068 PONDSVILLE KEPLER RD                                                                          SMITHS GROVE       KY     42171‐6226
JAMES MITCHELL      38128 CASTLE DR                                                                                    ROMULUS            MI     48174‐4706
JAMES MITCHELL      1219 W COLDWATER RD                                                                                FLINT              MI     48505‐4821
JAMES MITCHELL      5223 WABADA AVE                                                                                    SAINT LOUIS        MO     63113‐1121
JAMES MITCHELL      545 CR 1110 A                                                                                      CLEBURNE           TX     76031
JAMES MITCHELL      6097 SUGARLOAF DR                                                                                  GRAND BLANC        MI     48439‐9158
JAMES MITCHELL      PO BOX 431181                                                                                      LOS ANGELES        CA     90043‐9181
JAMES MITCHELL      990 COUNTY ROAD 65                                                                                 MOULTON            AL     35650‐6087
JAMES MITCHELL      733 TIMBEROAKS DRIVE                                                                               AZLE               TX     76020‐4832
JAMES MITCHELL      3212 JUDY LN                                                                                       JACKSON            MI     49202‐2624
JAMES MITCHELL      18507 CRACKLEWOOD DR                                                                               MACOMB             MI     48042‐6116
JAMES MITCHELL      7125 MULDER                                                                                        DEXTER             MI     48130‐8607
JAMES MITCHELL      3237 QUICK RD                                                                                      HOLLY              MI     48442‐1061
JAMES MITCHELL      27559 AUDREY AVE                                                                                   WARREN             MI     48092‐2681
JAMES MITCHELL      C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS         OH     44236
JAMES MITCHELL      C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY, STE 600                                        HOUSTON            TX     77007
                    BOUNDAS LLP
JAMES MITCHELL      MOTLEY RICE LLC                  28 BRIDGESIDE BLVD           PO BOX 1792                          MT PLEASANT       SC      29465
JAMES MITCHELL JR   241 ALHAMBRA ST                                                                                    PONTIAC           MI      48341‐1070
JAMES MITCHELL JR   2361 COREY DR                                                                                      VALDOSTA          GA      31601‐7942
JAMES MITCHEM       28 STRASSBURG CIR                                                                                  SHREWSBURY        PA      17361‐1827
JAMES MITCHEM       5516 BYRAMS FORD RD                                                                                KANSAS CITY       MO      64129‐2635
JAMES MITCHENER     303 N WILSON ST                                                                                    FAIRMOUNT         IN      46928‐1645
JAMES MITTS         31335 CHURCHILL DR                                                                                 BEVERLY HILLS     MI      48025‐5228
JAMES MITZEL        4280 SW 8TH WAY                                                                                    OKEECHOBEE        FL      34974‐7617
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JAMES MIXON                2703 AVONDALE CT SE                                                                           DECATUR             AL     35601‐6734
JAMES MIYASATO             PO BOX 8134                                                                                   LOS ANGELES         CA     90008‐0134
JAMES MIZE                 484 N HOWARD RD                                                                               GREENWOOD           IN     46142‐3837
JAMES MIZENER              704 GRANT ST                                                                                  PORT CLINTON        OH     43452‐2149
JAMES MIZNER               465 S COLONIAL DR                                                                             CORTLAND            OH     44410‐1305
JAMES MLODGENSKI           844 MIZZEN AVE                                                                                BEACHWOOD           NJ     08722‐4618
JAMES MOAK                 447 FELPS LN SW                                                                               BROOKHAVEN          MS     39601‐9233
JAMES MOBLEY               PO BOX 3                                                                                      HICKSVILLE          OH     43526‐0003
JAMES MOCCARDINE           82628 COUNTY ROAD F                                                                           BUTTERNUT           WI     54514‐8679
JAMES MOCHY                BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS          OH     44236
JAMES MOCK                 24723 WATSON RD                                                                               DEFIANCE            OH     43512‐8811
JAMES MOECKEL              132 TAYLOR WAY DR                                                                             HEBRON              OH     43025‐9482
JAMES MOENCH               8240 BARNES RD                                                                                MILLINGTON          MI     48746‐9548
JAMES MOFIELD              5881 S PROCTOR RD                                                                             MUNCIE              IN     47302‐8938
JAMES MOGFORD              4186 WHISPERING OAK DR                                                                        FLINT               MI     48507‐5554
JAMES MOHRE                216 S BRADLEY RD                                                                              CHARLOTTE           MI     48813‐9552
JAMES MOLASKI              8273 SEYMOUR RD                                                                               GAINES              MI     48436‐9799
JAMES MOLASKI              7361 WILLARD RD                                                                               MONTROSE            MI     48457‐9721
JAMES MOLNAR               1304 POWELL VIEW DR                                                                           DEFIANCE            OH     43512‐3037
JAMES MOLNAR               75 MYSTICAL CT                                                                                GARNER              NC     27529‐8340
JAMES MOLONEY              9226 MORNING MIST DR                                                                          CLARKSTON           MI     48348‐2880
JAMES MOLONEY              307 ALBERT CIR                                                                                FRANKLIN            TN     37064‐5401
JAMES MOMANY               827 HICKORY RIDGE TRL                                                                         COLUMBIA            TN     38401‐6753
JAMES MONAGHAN             4323 BUCKINGHAM RD                                                                            ROYAL OAK           MI     48073‐6221
JAMES MONCHILOV            3007 LAKEVIEW ST                                                                              HARRISON            MI     48625‐8019
JAMES MONCREASE JR         9946 METTETAL ST                                                                              DETROIT             MI     48227‐1639
JAMES MONGENE              106 COVAL CT                                                                                  FOLSOM              CA     95630‐5237
JAMES MONICA               10801 E OUTER DR                                                                              DETROIT             MI     48224‐2963
JAMES MONNICH              694 BOVARD LUXOR RD                                                                           GREENSBURG          PA     15601‐7775
JAMES MONROE               11722B ORIOLE DR                                                                              HAGERSTOWN          MD     21742‐4435
JAMES MONROE               1308 10TH ST APT 6                                                                            WICHITA FALLS       TX     76301‐3230
JAMES MONROE               162 WESTHAFER RD                                                                              VANDALIA            OH     45377‐2837
JAMES MONROE               425 6 MILE RD                                                                                 WHITMORE LAKE       MI     48189‐9560
JAMES MONROE               3331 LIBERTY STREET                                                                           SAINT LOUIS         MO     63111‐1455
JAMES MONROE HIGH SCHOOL   2300 WASHINGTON AVE                                                                           FREDERICKSBURG      VA     22401‐3340
JAMES MONROE JR            2811 BROWNING AVE                                                                             KNOXVILLE           TN     37921‐6657
JAMES MONTAGUE JR          20823 ORCHARD LAKE RD                                                                         FARMINGTON HILLS    MI     48336‐5224

JAMES MONTALVO             12121 W 136TH ST               APT 937                                                        OVERLAND PARK      KS      66221‐7584
JAMES MONTFORD             885 EDWIN ST NW                                                                               ATLANTA            GA      30318‐4816
JAMES MONTGOMERY           35700 RIDGE RD                                                                                RICHMOND           MI      48062‐1824
JAMES MONTGOMERY           231 SYDNEY RD                                                                                 HOLLAND            PA      18966‐2894
JAMES MONTGOMERY           8141 COOLEY RD                                                                                RAVENNA            OH      44266‐9760
JAMES MONTGOMERY           88 CARL ST                                                                                    BUFFALO            NY      14215‐4028
JAMES MONTGOMERY           2929 N COUNTY H                                                                               JANESVILLE         WI      53548
JAMES MONTGOMERY           1760 COUNTY ROAD 33                                                                           KILLEN             AL      35645‐7726
JAMES MONTGOMERY           10616 LINWOOD BLVD                                                                            INDEPENDENCE       MO      64052‐2659
JAMES MONTGOMERY           7787 W GILFORD RD                                                                             REESE              MI      48757‐9527
JAMES MONTUORO
JAMES MONVILLE             1873 CRANE POINT DR                                                                           PORT ORANGE        FL      32128‐2580
JAMES MOODIE               14 WESTERN DR                                                                                 W ALEXANDRIA       OH      45381‐1126
JAMES MOON                 1448 N EUCLID AVE                                                                             DAYTON             OH      45406‐5920
JAMES MOON                 2728 FIVE FORKS TRICKUM RD                                                                    LAWRENCEVILLE      GA      30044‐5865
JAMES MOON                 7220 N STATE ROAD 135                                                                         MORGANTOWN         IN      46160‐8819
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Name              Address1                        Address2                     Address3   Address4                   City               State   Zip
JAMES MOON        BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS          OH     44236
JAMES MOON        488 MATTY DR                                                                                       BELLE VERNON        PA     15012
JAMES MOON JR     4056 VALACAMP AVE SE                                                                               WARREN              OH     44484‐3317
JAMES MOONEY JR   83 MOCKINGBIRD DR                                                                                  MONTICELLO          GA     31064‐9259
JAMES MOOR        4010 HOUSEL CRAFT RD                                                                               WEST FARMINGTON     OH     44491‐9758

JAMES MOORE       8401 NORBORNE AVE                                                                                  DEARBORN HEIGHTS    MI     48127‐1125

JAMES MOORE       1129 LAKERIDGE RD                                                                                  DANVILLE           IL      61832‐1611
JAMES MOORE       105 AUTUMN CREEK LN APT A                                                                          EAST AMHERST       NY      14051‐2920
JAMES MOORE       691 ENGLAND CREAMERY RD                                                                            NORTH EAST         MD      21901‐1527
JAMES MOORE       87 OAK VALLEY DR                                                                                   SPRING HILL        TN      37174‐2597
JAMES MOORE       1230 BEAL RD                                                                                       MANSFIELD          OH      44903‐9217
JAMES MOORE       29316 OLD LOCUST ROAD                                                                              KENNEDYVILLE       MD      21645
JAMES MOORE       110 E. MACK STREET                                                                                 CORUNNA            MI      48817
JAMES MOORE       324 LEXINGTON BLVD                                                                                 BESSEMER           AL      35020‐2425
JAMES MOORE       318 LEWISBURG DR                                                                                   MCDONOUGH          GA      30253‐3385
JAMES MOORE       13 S FAIRWAY DR                                                                                    ALEXANDRIA         IN      46001‐2811
JAMES MOORE       2440 TIPTOP DR                                                                                     INDIANAPOLIS       IN      46239‐7790
JAMES MOORE       2915 BRIARFIELD DR                                                                                 SAN ANTONIO        TX      78230‐4413
JAMES MOORE       PO BOX 448                                                                                         CAYUGA             IN      47928‐0448
JAMES MOORE       510 N GIRLS SCHOOL RD                                                                              INDIANAPOLIS       IN      46214‐3656
JAMES MOORE       702 LYNWOOD CT                                                                                     UNION CITY         OH      45390‐1626
JAMES MOORE       5078 HALDERMAN RD                                                                                  W ALEXANDRIA       OH      45381‐9322
JAMES MOORE       850 SARGENT AVE SE                                                                                 ADA                MI      49301‐9041
JAMES MOORE       635 4TH AVE                                                                                        PONTIAC            MI      48340‐2025
JAMES MOORE       350 CROWN POINT EST                                                                                LONDON             KY      40741‐7531
JAMES MOORE       8252 VANADIA DR                                                                                    MOUNT MORRIS       MI      48458‐9732
JAMES MOORE       7172 11TH CONCESSION RD                                                 MAIDSTONE ON CANADA N0R‐
                                                                                          1K0
JAMES MOORE       8570 DYGERT DR SE                                                                                  ALTO               MI      49302‐9746
JAMES MOORE       1935 CALDWELL ST                                                                                   SAGINAW            MI      48601‐6870
JAMES MOORE       7118 DODGE RD                                                                                      MONTROSE           MI      48457‐9136
JAMES MOORE       8684 SW 62ND TER                                                                                   OCALA              FL      34476‐6003
JAMES MOORE       243 N WALNUT ST                                                                                    MOUNT CLEMENS      MI      48043‐5842
JAMES MOORE       2441 VAUGHN DR                                                                                     CLIO               MI      48420‐1067
JAMES MOORE       4555 LAKE SUPERIOR DR                                                                              STANDISH           MI      48658‐9752
JAMES MOORE       1222 BERKSHIRE ST                                                                                  WESTLAND           MI      48186‐5369
JAMES MOORE       6570 GRATIOT AVE                                                                                   SAINT CLAIR        MI      48079‐1700
JAMES MOORE       1745 LOGSDON RD                                                                                    BOWLING GREEN      KY      42101‐8531
JAMES MOORE       3400 WEST MORGAN LANE                                                                              QUEEN CREEK        AZ      85242‐3119
JAMES MOORE       405 ESTATE DR                                                                                      NEW IBERIA         LA      70563‐2307
JAMES MOORE       APT 4                           1115 DORCHESTER CIRCLE                                             LANSING            MI      48910‐5163
JAMES MOORE       PO BOX 353                                                                                         TOLEDO             OH      43697‐0353
JAMES MOORE       925 RIVERSIDE DR                                                                                   HARRODSBURG        KY      40330‐8642
JAMES MOORE       1518 CROSSBREEZE CT                                                                                BOWLING GREEN      KY      42104‐4730
JAMES MOORE       8740 KERCHEVAL ST                                                                                  DETROIT            MI      48214‐2841
JAMES MOORE       10225 WAKEFIELD CT                                                                                 MOBILE             AL      36695‐8447
JAMES MOORE       3535 FIVE POINTS HARTFORD RD.                                                                      FOWLER             OH      44410‐9766
JAMES MOORE       102 MEADOWBROOK DR                                                                                 EATON              OH      45320‐2268
JAMES MOORE       6944 OAK MANOR DRIVE                                                                               LIBERTY TWP        OH      45044‐9093
JAMES MOORE       1749 TANNOCK DR                                                                                    HOLLY              MI      48442‐9109
JAMES MOORE       146 HIGHLAND AVE                                                                                   BLOOMFIELD HILLS   MI      48302‐0649
JAMES MOORE       601 CURTIN LN                                                                                      SONOMA             CA      95476‐6403
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Name                Address1                           Address2                     Address3   Address4               City             State Zip
JAMES MOORE         7220 FARMINGTON ROAD                                                                              MIAMISBURG        OH 45342
JAMES MOORE         1015 S DELPHOS ST                                                                                 KOKOMO            IN 46902‐1730
JAMES MOORE         6144 TITAN RD                                                                                     MOUNT MORRIS      MI 48458‐2616
JAMES MOORE         BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH 44236
JAMES MOORE         212 AIOKOA ST                                                                                     KAILUA            HI 96734
JAMES MOORE I I I   2607 TRANSIT RD                                                                                   NEWFANE           NY 14108‐9505
JAMES MOORE JR      143 W GRAND                                                                                       HIGHLAND PARK     MI 48203‐3644
JAMES MOORE JR      1488 CLAIRWOOD DR                                                                                 BURTON            MI 48509‐1503
JAMES MOORE JR      3676 NEEDHAM RD                                                                                   LEXINGTON         OH 44904‐9211
JAMES MOORHEAD      606 N WASHINGTON ST                                                                               LOWELL            MI 49331‐1154
JAMES MOORHEAD      624 S ANNA ST                                                                                     MT PLEASANT       MI 48858‐2812
JAMES MOOSE JR      9608 CHERRYFIELD DR                                                                               SAINT LOUIS       MO 63136‐5210
JAMES MORABITO      6829 N EVANGELINE ST                                                                              DEARBORN HTS      MI 48127‐2031
JAMES MORALES       5213 CALLA AVE NW                                                                                 WARREN            OH 44483‐1221
JAMES MORAN         13800 165TH AVE                                                                                   LEROY             MI 49655‐8177
JAMES MORAN         2181 ORCHARD LAKE DR                                                                              FENTON            MI 48430‐1449
JAMES MORAN         10242 BELSAY RD                                                                                   MILLINGTON        MI 48746‐9751
JAMES MORAN         4921 THRUSH DR                                                                                    INDIANAPOLIS      IN 46224‐2440
JAMES MORAN         2625 N STATE HIGHWAY 360 APT 421                                                                  GRAND PRAIRIE     TX 75050
JAMES MORAN         11338 BROUGHAM RUN                                                                                FORT WAYNE        IN 46845‐2144
JAMES MOREEN JR     5607 BIRCH DR                                                                                     DAVISBURG         MI 48350‐3350
JAMES MORELAND      15951 BADEN RD                                                                                    GERMANTOWN        OH 45327‐9459
JAMES MORELAND      6036 DUNNIGAN RD                                                                                  LOCKPORT          NY 14094‐9539
JAMES MORELAND      71 PLEASANT HILL BLVD                                                                             FRANKLIN          OH 45005
JAMES MORELAND JR   3280 AMANDA DR                                                                                    DAYTON            OH 45406‐1101
JAMES MORELAND JR   3280 AMANDA DR                                                                                    DAYTON            OH 45406‐1101
JAMES MORELOCK      135 WALTON CIR                                                                                    MOSHEIM           TN 37818‐4091
JAMES MORENCY       3826 MAIDEN ST                                                                                    WATERFORD         MI 48329‐1042
JAMES MOREY         9150 LINDEN RD                                                                                    SWARTZ CREEK      MI 48473‐9152
JAMES MOREY         1298 N CUMMINGS RD                                                                                DAVISON           MI 48423‐8122
JAMES MORGAN        5024 CANDLEWOOD DR                                                                                GRAND BLANC       MI 48439‐2005
JAMES MORGAN        802 E 79TH ST                                                                                     INDIANAPOLIS      IN 46240‐2607
JAMES MORGAN        509 4TH ST SW                                                                                     WARREN            OH 44483‐6433
JAMES MORGAN        1066 NILES VIENNA RD                                                                              VIENNA            OH 44473‐9503
JAMES MORGAN        9108 W PETE DR                                                                                    MUNCIE            IN 47304‐9735
JAMES MORGAN        1354 BELLE ST SE                                                                                  WARREN            OH 44484‐4203
JAMES MORGAN        G14380 TAYLOR RD                                                                                  MILLINGTON        MI 48746
JAMES MORGAN        318 W 25TH ST                                                                                     MARION            IN 46953‐3104
JAMES MORGAN        11371 S 800 W                                                                                     FAIRMOUNT         IN 46928‐9363
JAMES MORGAN        4414 SWARTHOUT RD                                                                                 PINCKNEY          MI 48169‐9203
JAMES MORGAN        340 N CHANTILLY RD                                                                                WINFIELD          MO 63389‐3650
JAMES MORGAN        812 LAWNDALE AVE                                                                                  TILTON             IL 61833‐7966
JAMES MORGAN        384 E KELLER HILL RD                                                                              MOORESVILLE       IN 46158‐7271
JAMES MORGAN        4635 FLEMING ST                                                                                   DEARBORN HEIGHTS MI 48125‐3329

JAMES MORGAN        315 NW 111TH ST                                                                                   KANSAS CITY       MO   64155‐3656
JAMES MORGAN        481 PINE MEADOWS DR APT E                                                                         SPARKS            NV   89431
JAMES MORGAN        12026 CARNEY ST                                                                                   WARREN            MI   48089‐1296
JAMES MORGAN        7295 PERSHING                                                                                     WATERFORD         MI   48327‐3929
JAMES MORIARTY      7420 REED RD                                                                                      ONSTED            MI   49265‐9624
JAMES MORISETTE     6321 SPRINGDALE BLVD                                                                              GRAND BLANC       MI   48439‐8550
JAMES MORLEY        2680 HARDSCRABBLE RD               (300W)                                                         SPENCER           IN   47460‐5866
JAMES MORRELL       75 HALL CREEK RD                                                                                  HIAWASSEE         GA   30546‐2813
JAMES MORRILL       14143 CYGNET CT                                                                                   N ROYALTON        OH   44133‐5286
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Name                Address1                       Address2                     Address3   Address4               City             State   Zip
JAMES MORRIS        2354 GREENVILLE RD                                                                            CORTLAND          OH     44410‐9648
JAMES MORRIS        18 GARDENVILLE ON THE GRN                                                                     WEST SENECA       NY     14224‐6310
JAMES MORRIS        221 CABELL LN                                                                                 AMHERST           VA     24521‐4022
JAMES MORRIS        115 BRER RABBIT RD                                                                            EATONTON          GA     31024‐5857
JAMES MORRIS        2838 BALTIC RD                                                                                BLACKVILLE        SC     29817‐3622
JAMES MORRIS        140 LOVEJOY RD                                                                                HAMPTON           GA     30228‐3152
JAMES MORRIS        2255 FLOYD RD                                                                                 GAINESVILLE       GA     30507‐7437
JAMES MORRIS        10217 E 96TH TER                                                                              KANSAS CITY       MO     64134‐2313
JAMES MORRIS        PO BOX 33                                                                                     ARAGON            GA     30104‐0033
JAMES MORRIS        PO BOX 1264                                                                                   BATESVILLE        MS     38606‐1264
JAMES MORRIS        765 TYUS VEAL RD                                                                              BOWDON            GA     30108‐3702
JAMES MORRIS        352 SPLIT RAIL CR                                                                             NEWPORT NEWS      VA     23602
JAMES MORRIS        2419 TENNYSON DR                                                                              BELLBROOK         OH     45305‐1745
JAMES MORRIS        7730 E STATE ROAD 124                                                                         LA FONTAINE       IN     46940‐9026
JAMES MORRIS        223 DEERPATH DR                                                                               MANCHESTER        TN     37355‐3975
JAMES MORRIS        6004 POLK ST                                                                                  TAYLOR            MI     48180‐1352
JAMES MORRIS        11324 E MAPLE AVE                                                                             DAVISON           MI     48423‐8771
JAMES MORRIS        6987 E GREENSBURG RD                                                                          FRANKLIN          IN     46131‐8285
JAMES MORRIS        3257 ATLAS RD                                                                                 DAVISON           MI     48423‐8788
JAMES MORRIS        1343 ADAMS ST                                                                                 WABASH            IN     46992‐3602
JAMES MORRIS        2999 BUCKNER RD                                                                               LAKE ORION        MI     48362‐2015
JAMES MORRIS        799 RICHLAND ST                                                                               DEFIANCE          OH     43512‐2458
JAMES MORRIS        BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH     44236
JAMES MORRIS JR     1108 E LAYTON DR                                                                              OLATHE            KS     66061‐2936
JAMES MORRIS JR     22332 CRESTWOOD ST                                                                            WOODHAVEN         MI     48183‐5245
JAMES MORRIS JR     8308 E CLINTON TRL                                                                            EATON RAPIDS      MI     48827‐9085
JAMES MORRISETT     2029 FAIRWAY DR                                                                               GREENCASTLE       IN     46135‐9207
JAMES MORRISON      24 TRUESDALE RD                                                                               BUFFALO           NY     14223‐3127
JAMES MORRISON      170 MORNINGSIDE DR                                                                            CLARKESVILLE      GA     30523‐6022
JAMES MORRISON      370 WILSON AVE                                                                                JANESVILLE        WI     53548‐4739
JAMES MORRISON      1025 OTTLAND SHRS                                                                             LAKE ODESSA       MI     48849‐9428
JAMES MORRISON      250 W STATE ROUTE 122                                                                         LEBANON           OH     45036‐8211
JAMES MORRISON      20709 HILLGROVE AVE                                                                           MAPLE HEIGHTS     OH     44137‐2061
JAMES MORRISON      2886 SPIELMAN HEIGHTS DR                                                                      ADRIAN            MI     49221‐9228
JAMES MORRISON      533 OLD BRIDGE RD                                                                             GRAND BLANC       MI     48439‐1171
JAMES MORRISON JR   1097 LESLIE LN                                                                                GIRARD            OH     44420‐1441
JAMES MORRISSEY     11506 WATER POPPY TER                                                                         LAKEWOOD RANCH    FL     34202‐5122

JAMES MORROW        8990 TWIN LAKES DR                                                                            WHITE LAKE       MI      48386‐2090
JAMES MORROW        1333 W FAIRVIEW AVE APT 1A                                                                    DAYTON           OH      45406‐5739
JAMES MORROW        3131 KINGS BROOK DR                                                                           FLUSHING         MI      48433‐2408
JAMES MORROW        8104 MONROE RD                                                                                LAMBERTVILLE     MI      48144‐9715
JAMES MORROW        PO BOX 4                                                                                      COLFAX           IN      46035‐0004
JAMES MORSE         7115 WILLOW WOODS CIR                                                                         LANSING          MI      48917‐9649
JAMES MORSE         833 WATERLOO AVE                                                                              MONROE           MI      48161‐1662
JAMES MORSE         6045 LAKE RD                                                                                  MILLINGTON       MI      48746‐9209
JAMES MORSE         912 N HARVEY ST                                                                               URBANA           IL      61801‐1514
JAMES MORSE         4417 S MORRICE RD                                                                             OWOSSO           MI      48867‐9758
JAMES MORTEN        1644 SARASOTA DR                                                                              TOLEDO           OH      43612‐4057
JAMES MORTIMER      4025 LAKE OAKLAND SHORES DR                                                                   WATERFORD        MI      48329‐2162
JAMES MORTON        1201 SAINT CYR RD                                                                             SAINT LOUIS      MO      63137‐1223
JAMES MORWAY        1105 MARION DR                                                                                HOLLY            MI      48442‐1041
JAMES MOSBEY        NO. 1 NORTH LARAND DRIVE                                                                      HOLTS SUMMIT     MO      65043
JAMES MOSER         428 FRANKLIN ST                                                                               DEFIANCE         OH      43512‐2213
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Name                        Address1                       Address2               Address3      Address4               City            State   Zip
JAMES MOSES                 2448 MICHIGAN AVE                                                                          NIAGARA FALLS    NY     14305‐3114
JAMES MOSES                 3024 SPRING GARDEN AVE                                                                     NEW CASTLE       PA     16105‐1239
JAMES MOSES                 PO BOX 161                                                                                 EMLYN            KY     40730‐0161
JAMES MOSES                 1631 PEACOCK AVE                                                                           CLARKSDALE       MS     38614‐5817
JAMES MOSES                 4038 CANEY CREEK LN                                                                        CHAPEL HILL      TN     37034‐2075
JAMES MOSES SR.             530 CHANDLER ST                                                                            DETROIT          MI     48202‐2831
JAMES MOSHER                11873 VALLEY FALLS LOOP                                                                    SPRING HILL      FL     34609‐9271
JAMES MOSHER                5511 FIESTA PASS                                                                           GRAND BLANC      MI     48439‐9151
JAMES MOSHIER               23650 MAYFLOWER RD                                                                         HILLMAN          MI     49746‐8628
JAMES MOSIER                7320 STATE ROAD 158                                                                        BEDFORD          IN     47421‐8587
JAMES MOSIER                13129 TURNER RD                                                                            DEWITT           MI     48820‐9021
JAMES MOSIER                59 W WALNUT ST                                                                             MARTINSVILLE     IN     46151‐1940
JAMES MOSIER                413 CHESTERVILLE RD                                                                        LANDENBERG       PA     19350‐1545
JAMES MOSLEY                46191 RIVERWOODS DR                                                                        MACOMB           MI     48044‐5759
JAMES MOSLEY                1100 GILCREST CT                                                                           PARKVILLE        MD     21234‐5924
JAMES MOSLEY                APT 6                          1829 WOODHAVEN DRIVE                                        FORT WAYNE       IN     46819‐1047
JAMES MOSLEY                5818 EDWARDS AVE                                                                           FLINT            MI     48505‐5110
JAMES MOSS                  PO BOX 213                                                                                 FITZGERALD       GA     31750‐0213
JAMES MOSS                  1756 ORCHARD RD                                                                            CALERA           OK     74730‐5103
JAMES MOSS                  621 GRANDIN AVE                                                                            CINCINNATI       OH     45240‐2605
JAMES MOSS
JAMES MOSSNER               4210 BETTY LEE BLVD                                                                        GLADWIN         MI      48624‐7600
JAMES MOSSONEY              582 CHIPPEWA DR                                                                            DEFIANCE        OH      43512‐3339
JAMES MOSSONEY              1598 WOODHURST DR                                                                          DEFIANCE        OH      43512‐3440
JAMES MOTE                  1009 S COOPER ST                                                                           KOKOMO          IN      46902‐1836
JAMES MOTLEY                1300 SANFORD DR                                                                            DAYTON          OH      45432‐1535
JAMES MOTLEY                10209 E 95TH TER                                                                           KANSAS CITY     MO      64134‐2364
JAMES MOTON                 1201 TANGLEWOOD LANE                                                                       BURTON          MI      48529‐2229
JAMES MOTOR COMPANY, INC.   STANLEY DREILING               108 E 13TH ST                                               HAYS            KS      67601‐3612
JAMES MOTOR COMPANY, INC.   108 E 13TH ST                                                                              HAYS            KS      67601‐3612
JAMES MOTT                  1137 N MILLER RD                                                                           SAGINAW         MI      48609‐4864
JAMES MOTT                  378 BENEDICT ROAD                                                                          LEAVITTSBURG    OH      44430
JAMES MOTTL                 14143 CATHERINE DR                                                                         ORLAND PARK     IL      60462‐2046
JAMES MOUBRAY               16883 TURNER RD                                                                            LANSING         MI      48906‐2304
JAMES MOULDER               1486 BEACONFIELD CT                                                                        CARMEL          IN      46033‐8506
JAMES MOUNGER               276 MICHELLE CT                                                                            MANSFIELD       TX      76063‐5923
JAMES MOUNT                 6569 TAYLORSVILLE RD                                                                       HUBER HEIGHTS   OH      45424‐3161
JAMES MOUNTJOY              12407 W 52ND TER                                                                           SHAWNEE         KS      66216‐1453
JAMES MOUNTS                2130 N STATE ROAD 39 203                                                                   DANVILLE        IN      46122
JAMES MOWEN                 1335 WAKEFIELD AVE                                                                         DAYTON          OH      45406‐2926
JAMES MOWEN                 1705 HORLACHER AVE                                                                         KETTERING       OH      45420‐3236
JAMES MOWRY                 2811 MILTON AVE STE 110                                                                    JANEVILLE       WI      53545‐0252
JAMES MOY                   5212 CORTLAND AVE APT 5                                                                    ASHTABULA       OH      44004‐7254
JAMES MOYER                 319 CHURCHILL RD                                                                           GIRARD          OH      44420‐1934
JAMES MOYER                 1014 E CROWN POINTE BLVD                                                                   GREENSBURG      IN      47240‐7969
JAMES MOYER                 1123 CRANE CT                                                                              ANDERSON        IN      46016‐2746
JAMES MOYERS                6576 PALMYRA RD SW                                                                         WARREN          OH      44481‐9765
JAMES MRAVEC JR             11320 YOST RD                                                                              PITTSFORD       MI      49271‐9671
JAMES MRAVEC SR             1501 RED BUD DR                                                                            NORTHWOOD       OH      43619‐2409
JAMES MRDUTT                PO BOX 977                                                                                 PRUDENVILLE     MI      48651‐0977
JAMES MROCZEK               2053 CLARA MATHIS RD                                                                       SPRING HILL     TN      37174‐7575
JAMES MROWIEC               3440 PINE TRAIL DR                                                                         SHERIDAN        MI      48884‐8329
JAMES MROZINSKI             1804 S JEFFERSON ST                                                                        BAY CITY        MI      48708‐7971
JAMES MUCHLER               13786 DOW LANE P.O. 563                                                                    HONOR           MI      49640
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Name                Address1                         Address2                      Address3   Address4               City            State   Zip
JAMES MUDD          804 HENRY MEREDITH RD                                                                            BOWLING GREEN    KY     42101‐8078
JAMES MUDEL         1405 E DAWSON RD                                                                                 MILFORD          MI     48381‐3034
JAMES MUDGE         1001 24 MILE RD UNIT 106                                                                         HOMER            MI     49245‐9681
JAMES MUDRY         1520 SE 43RD ST                                                                                  CAPE CORAL       FL     33904‐7359
JAMES MUEHL         207 WRIGHT AVE                                                                                   MATTYDALE        NY     13211‐1637
JAMES MUELLER       681 LEDDY RD                                                                                     SAGINAW          MI     48609‐9425
JAMES MUELLER       4368 BRADFORD DR                                                                                 SAGINAW          MI     48603‐3048
JAMES MUELLER       6600 E ALLEN RD                                                                                  FENTON           MI     48430‐9220
JAMES MUELLER       423 SUNSET LN                                                                                    O FALLON         MO     63366‐2428
JAMES MUELLER       6124 DITCH RD                                                                                    CHESANING        MI     48616‐9716
JAMES MUELLER       PO BOX 142                                                                                       GLENDALE         KY     42740‐0142
JAMES MUELLER       15930 PETROS DR                                                                                  BROWNSTOWN       MI     48173‐8608
JAMES MUELLER
JAMES MUGRAGE JR    1443 GALENA RD                                                                                   BALTIMORE       MD      21221‐6007
JAMES MUHAMMAD      4400 NW 78TH TER APT 106                                                                         KANSAS CITY     MO      64151‐1309
JAMES MUHLITNER     25 WESTCEDAR LN                                                                                  PALM COAST      FL      32164‐7880
JAMES MUIR          4491 MCKINLEY ST                                                                                 DEARBORN HTS    MI      48125‐2508
JAMES MUIR JR       113 ANDERSON CV                                                                                  LODI            OH      44254‐1350
JAMES MULANIX       191 DENMARK DR                                                                                   ELLENTON        FL      34222‐3417
JAMES MULCARE       302 DALE AVE                                                                                     BALTIMORE       MD      21206‐1219
JAMES MULDROW       KELLER, FISHBACK & JACKSON LLP   18425 BURBANK BLVD, STE 610                                     TARZANA         CA      91356
JAMES MULDROW       KELLER FISHBACK & JACKSON LLP    18425 BURBANK BLVD STE 610                                      TARZANA         CA      91356
JAMES MULHERIN      3846 HAZELHURST AVE                                                                              TOLEDO          OH      43612‐1104
JAMES MULKEY        PO BOX 33                                                                                        BALL GROUND     GA      30107‐0033
JAMES MULL          4660 WAYNICK DR                                                                                  BRITTON         MI      49229‐9431
JAMES MULL          PO BOX 1245                                                                                      RINCON          GA      31326‐1245
JAMES MULLAN        7257 ABINGTON AVE                                                                                DETROIT         MI      48228‐3512
JAMES MULLANEY      12324 RISMAN DR # A‐201                                                                          PLYMOUTH        MI      48170
JAMES MULLENS       1541A RICHMOND RD                                                                                COLUMBIA        TN      38401‐9083
JAMES MULLET        2681 GEORGETOWN VERONA RD                                                                        LEWISBURG       OH      45338‐9564
JAMES MULLIGAN      515 WHIMS LN                                                                                     ROCHESTER       MI      48306‐2672
JAMES MULLIGAN JR   4865 N 775 E                                                                                     MANILLA         IN      46150‐9602
JAMES MULLIN        280 E GREENWOOD RD                                                                               ALGER           MI      48610‐9220
JAMES MULLINAX      PO BOX 274                                                                                       OAKWOOD         GA      30566‐0005
JAMES MULLINS       PO BOX 576                                                                                       SWITZER         WV      25647‐0576
JAMES MULLINS       7128 CAMP RD                                                                                     HOMERVILLE      OH      44235‐9742
JAMES MULLINS       817 JAMESTOWN AVE                                                                                ELYRIA          OH      44035‐1811
JAMES MULLINS       3554 RADTKA DR SW                                                                                WARREN          OH      44481‐9207
JAMES MULLINS       634 MORGAN CHAPEL RD                                                                             TRYON           NC      28782‐7660
JAMES MULLINS       117 CHURCH AVE                                                                                   ROSE BUD        AR      72137‐9728
JAMES MULLINS       PO BOX 76                                                                                        BAKERSFIELD     MO      65609‐0076
JAMES MULLINS       PO BOX 154                                                                                       LAKE CITY       TN      37769‐0154
JAMES MULLINS       515 BOULDER DR                                                                                   WEST MILTON     OH      45383‐1762
JAMES MULLINS       6458 DEERING ST                                                                                  GARDEN CITY     MI      48135‐2244
JAMES MULLINS       UNKNOWN
JAMES MUMBOWER      1827 W FAIRLAWN WAY                                                                              ANDERSON        IN      46011‐2646
JAMES MUMFORD       2101 WESTLAWN DR                                                                                 KETTERING       OH      45440‐1823
JAMES MUMFORD       864 W STATE ROUTE 571                                                                            TIPP CITY       OH      45371‐9695
JAMES MUMFORD       2101 WESTLAWN DR.                                                                                KETTERING       OH      45440‐1823
JAMES MUNCY         5764 N RAISIN CENTER HWY                                                                         TECUMSEH        MI      49286‐9581
JAMES MUNDELL       873 HIGH ST                                                                                      MIDDLETOWN      IN      47356‐1316
JAMES MUNDINGER     6992 S RUSSET SKY WAY                                                                            GOLD CANYON     AZ      85218‐2952
JAMES MUNGO         1114 NANCY DR                                                                                    CHARLOTTE       NC      28211‐1535
JAMES MUNN          10147 W STUART RD                                                                                ORFORDVILLE     WI      53576‐9432
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Name                 Address1                             Address2                     Address3     Address4                   City               State   Zip
JAMES MUNOFO         13784 ABBEY CT                                                                                            STERLING HEIGHTS    MI     48312‐4100
JAMES MUNOZ          226 BARRINGTON CIR                                                                                        LAKE ORION          MI     48360‐1330
JAMES MUNRO JR       3501 W STOLL RD                                                                                           LANSING             MI     48906‐9259
JAMES MUNSEY         THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES            22ND FLOOR                              BALTIMORE           MD     21201

JAMES MUNSIL         5680 NE 31ST TER                                                                                          OCALA               FL     34479‐6836
JAMES MURAWSKI       8701 S. KOLB RD #6‐219                                                                                    TUCSON              AZ     85756
JAMES MURCH          3329 BROCKPORT SPENCERPORT RD                                                                             SPENCERPORT         NY     14559‐2169
JAMES MURCH          419 JULIETTE CIR                                                                                          BRUNSWICK           GA     31525‐9501
JAMES MURCHIE        8174 CALKINS RD                                                                                           FLINT               MI     48532‐5519
JAMES MURCHISON      3219 SHETLAND RD                                                                                          LANSING             MI     48911‐1568
JAMES MURDEN         11031 CHRISTY ST                                                                                          DETROIT             MI     48205‐3746
JAMES MURDOCH        8927 MANOR AVE                                                                                            ALLEN PARK          MI     48101‐1421
JAMES MURDOCK        2604 LAYTON RD                                                                                            ANDERSON            IN     46011‐4534
JAMES MURDOCK        4287 HARBOUR TOWER DR                APT 3                                                                SAGINAW             MI     48603
JAMES MURDOCK        291 LINDSEY LOOP                                                                                          DALLAS              GA     30132‐1347
JAMES MURDOCK        5721 FAIRLEE RD                                                                                           ANDERSON            IN     46013‐9742
JAMES MURLEY         1250 CAMBRIDGE RD                                                                                         BERKLEY             MI     48072‐1930
JAMES MURLEY         51 CAIN RD RTE 1                                                                                          PINSON              TN     38366
JAMES MURPHY         15271 MARKESE AVE                                                                                         ALLEN PARK          MI     48101‐1908
JAMES MURPHY         499 HURON ST                                                                   WINDSOR ON N9J1J7 CANADA

JAMES MURPHY         1230 S GENESEE DR                                                                                         LANSING            MI      48915‐1920
JAMES MURPHY         5109 NW 85TH ST                                                                                           KANSAS CITY        MO      64154‐2793
JAMES MURPHY         2221 EAGLE PL                                                                                             LAKE WALES         FL      33859‐4846
JAMES MURPHY         8319 SUNBURST                                                                                             CENTER LINE        MI      48015‐1542
JAMES MURPHY         3648 CARSON SALT SPRINGS RD                                                                               NEWTON FALLS       OH      44444‐9718
JAMES MURPHY         4931 MARSHALL RD                                                                                          KETTERING          OH      45429‐5724
JAMES MURPHY         PO BOX 504                                                                                                AUBURN             GA      30011‐0504
JAMES MURPHY         5875 MILL CREEK LN                                                                                        WOODSTOCK          GA      30188‐1717
JAMES MURPHY         2820 W BIRCH RUN RD                                                                                       BURT               MI      48417‐9777
JAMES MURPHY         1501 N GAVIN ST                                                                                           MUNCIE             IN      47303‐3323
JAMES MURPHY         8554 CO RD 5255                                                                                           FRENCH LICK        IN      47432
JAMES MURPHY         295 COUNTY ROAD 3932                                                                                      ARLEY              AL      35541‐2353
JAMES MURPHY         3910 VAN BUREN ST                                                                                         BELLWOOD           IL      60104‐2330
JAMES MURPHY         8796 MCKEAN RD                                                                                            WILLIS             MI      48191‐9705
JAMES MURPHY         1200 SCHRADER ACRES DR               APT 204                                                              NASHVILLE          TN      37208‐1841
JAMES MURPHY         333 HARRISON ST                                                                                           INKSTER            MI      48141‐1139
JAMES MURPHY         1138 MEADOWLAWN DR                                                                                        PONTIAC            MI      48340‐1734
JAMES MURPHY         46470 JUDD RD                                                                                             BELLEVILLE         MI      48111‐8961
JAMES MURPHY         BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS         OH      44236
JAMES MURPHY I I I   11 COMPASS RD                                                                                             BALTIMORE          MD      21220‐4543
JAMES MURPHY JR      4514 VICKY LN                                                                                             FREDERICKSBURG     VA      22408‐2902
JAMES MURRAY         1284 FAIRVIEW AVE                                                                                         SALEM              OH      44460‐4011
JAMES MURRAY         7 WHISPERING WAY                                                                                          BROOKFIELD         CT      06804‐1344
JAMES MURRAY         440 BEUVALE LN                                                                                            DOVER              DE      19904‐5758
JAMES MURRAY         203 GEORGIAN LN                                                                                           LOGANSPORT         IN      46947‐2300
JAMES MURRAY         2216 MARKESE AVE                                                                                          LINCOLN PARK       MI      48146‐2586
JAMES MURRAY         4440 WAYBURN ST                                                                                           DETROIT            MI      48224‐3262
JAMES MURRELL        2309 ANOKA AVE                                                                                            BALTIMORE          MD      21215‐7809
JAMES MURRELL        584 W 300 N                                                                                               ANDERSON           IN      46011‐2052
JAMES MURTAGH SR     C/O WEITZ & LUXENBERG PC             700 BROADWAY                                                         NEW YORK CITY      NY      10003
JAMES MUSCARITILLO   3 MEMORY LN                                                                                               MILFORD            MA      01757‐2319
JAMES MUSE           3709 WEDGEWOOD DR                                                                                         LANSING            MI      48911‐2144
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Name                   Address1                       Address2                         Address3          Address4               City              State   Zip
JAMES MUSE SR          3850 STEVELY AVE APT 3                                                                                   LOS ANGELES        CA     90008‐1281
JAMES MUSELLA          1B STONEYBROOKE CT                                                                                       WHITING            NJ     08759
JAMES MUSGRAVE         8475 MUSEVILLE RD                                                                                        SANDY LEVEL        VA     24161‐2723
JAMES MUSGRAVE         431 WINDMILL POINT DR                                                                                    FLUSHING           MI     48433‐2156
JAMES MUSIC            PO BOX 397                                                                                               VAN LEAR           KY     41265‐0397
JAMES MUSICK           3613 SAN REMO DR                                                                                         GRAND PRAIRIE      TX     75052‐7227
JAMES MUSKELLY         THE MADESKO LAW FIRM           8866 GULF FREEWAY SUITE 440                                               HOUSTON            TX     77017
JAMES MUSTAIN          75 SOUTHGATE DR                                                                                          TROY               MO     63379‐2286
JAMES MUSTO            156 VENETIA VIEW CIR                                                                                     ROCHESTER          NY     14626‐1072
JAMES MUTTER           2150 KILDARE AVE                                                                                         DAYTON             OH     45414‐3219
JAMES MUXLOW           289 BATES DR                                                                                             LAPEER             MI     48446‐7726
JAMES MUZZIN           5166 VINCENT TRL                                                                                         SHELBY TWP         MI     48316‐5250
JAMES MYATOVICH        BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                                BOSTON HTS         OH     44236
JAMES MYERS            106 OWL CRK                                                                                              BEAUMONT           CA     92223‐7339
JAMES MYERS            7400 PORTER RD TRLR 10                                                                                   NIAGARA FALLS      NY     14304‐1622
JAMES MYERS            1307 DEFOREST RD SE                                                                                      WARREN             OH     44484‐3503
JAMES MYERS            2715 DWIGHT AVE                                                                                          DAYTON             OH     45420‐2605
JAMES MYERS            4429 VENOY RD                                                                                            WAYNE              MI     48184‐1871
JAMES MYERS            PO BOX 127                                                                                               RIVERDALE          MI     48877‐0127
JAMES MYERS            2866 W BIRCH RUN RD                                                                                      BURT               MI     48417‐9777
JAMES MYERS            33 BRYANT RD                                                                                             ELDON              MO     65026‐4602
JAMES MYERS            PO BOX 50356                                                                                             BOWLING GREEN      KY     42102‐2956
JAMES MYERS            5808 NW 50TH ST                                                                                          OKLAHOMA CITY      OK     73122‐5131
JAMES MYLES            7610 PARKMONT DR                                                                                         MEMPHIS            TN     38125‐4781
JAMES MYNY             73563 KANIE RD                                                                                           BRUCE TWP          MI     48065‐3354
JAMES MYORSKI          8656 ASHWOOD DR                                                                                          STRONGSVILLE       OH     44149‐1123
JAMES MYRICK           6716 HELMAN BLVD                                                                                         LANSING            MI     48911‐7030
JAMES MYSLIWIEC        347 E TERRA ALTA DR                                                                                      SAN ANTONIO        TX     78209‐2745
JAMES MYTYCH           611 KENT LN                                                                                              WHITE LAKE         MI     48386‐3391
JAMES N BOYD           7807 WATERTON CT                                                                                         TROTWOOD           OH     45426‐3833
JAMES N CALHOUN SR     39 WARDER STREET APT 2                                                                                   DAYTON             OH     45405‐4300
JAMES N CALHOUN, JR.   704 CHERRY BLOSSOM DR K                                                                                  DAYTON             OH     45449
JAMES N DAVIS          C/O WEITZ & LUXENBERG PC       700 BROADWAY                                                              NEW YORK CITY      NY     10003
JAMES N DETERS         P O BOX 43                                                                                               WAYNESVILLE        OH     45068
JAMES N DUMAS          2430 TYTUS AVE                                                                                           MIDDLETOWN         OH     45042‐2357
JAMES N DUNN           C/O G PATTERSON KEAHEY PC      ONE INDEPENDENCE PLAZA STE 612                                            BIRMINGHAM         AL     35209
JAMES N ELLIS          PO BOX 338                                                                                               HARBOR SPRINGS     MI     49740
JAMES N GILBERT        5109 PENSACOLA BLVD                                                                                      MORAINE            OH     45439‐2942
JAMES N JOBSON         NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT         205 LINDA DRIVE                          DAINGERFIELD       TX     75638
JAMES N MCCORD JR      2613 N SCATTERFIELD RD                                                                                   ANDERSON           IN     46012‐1521
JAMES N MIZE           3505 SHADY OAKS                                                                                          OLIVE BRANCH       MS     38654
JAMES N MURPHY         392 DAKOTA ST                                                                                            YPSILANTI          MI     48198‐6016
JAMES N PEFFLY         11270 HARBORSIDE DR                                                                                      LARGO              FL     33773‐4433
JAMES N RUEDIGER       6556 MCCARTY RD                                                                                          SAGINAW            MI     48603‐9621
JAMES N SAVELL         309 WINDY RIDGE DR                                                                                       BRANDON            MS     39042
JAMES N SCREWS         80 W WILDERNESS RD                                                                                       NATCHEZ            MS     39120‐8842
JAMES N TURNER         150 W FIRST ST # 97                                                                                      VERMONTVILLE       MI     49096
JAMES N WHITEHEAD II   202 FLORIDA RD N                                                                                         SYRACUSE           NY     13211‐1618
JAMES N WILEY          1282 E CORNELL AVE                                                                                       FLINT              MI     48505‐1751
JAMES N ZARR           13413 OWEN RD                                                                                            BROOKLYN           MI     49230‐9593
JAMES NABORS           10535 S CALUMET AVE                                                                                      CHICAGO             IL    60628‐2836
JAMES NABORS           7088 N CENTER RD                                                                                         MOUNT MORRIS       MI     48458‐8826
JAMES NACHTMAN         1086 E FAIRVIEW CT                                                                                       ROCHESTER HILLS    MI     48306‐4120
JAMES NAFFZIGER        10550 E BLUE LAKE DR                                                                                     MECOSTA            MI     49332‐9406
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Name                                  Address1                        Address2                 Address3            Address4                 City           State   Zip
JAMES NAGASHIMA                       16608 MOORBROOK AVE                                                                                   CERRITOS        CA     90703‐1407
JAMES NAGEL                           158 S ARTHUR ST                 P.O BOX 212                                                           CARSONVILLE     MI     48419‐7804
JAMES NAGEL                           1718 BRENNER ST                                                                                       SAGINAW         MI     48602‐3619
JAMES NAGEL                           10401 FOX GLEN DR                                                                                     BRIDGEVILLE     DE     19933‐4562
JAMES NAGLE                           44 W BURNSIDE RD                                                                                      FOSTORIA        MI     48435‐9644
JAMES NAGY                            1 KILKENNY PL                                                                GUELPH ON N1L 1H1
JAMES NAIL                            573 COVERT RD                                                                                         NEW CASTLE     PA      16102‐3017
JAMES NAKFOOR                         3400 BRISBANE DR                                                                                      LANSING        MI      48911‐1305
JAMES NALETT                          2280 MCCONNELL HWY                                                                                    CHARLOTTE      MI      48813‐9721
JAMES NALLS                           423 ALAMEDA PL                                                                                        DAYTON         OH      45406‐4509
JAMES NAMA                            1018 CANDELA LN                                                                                       GRAND LEDGE    MI      48837‐2256
JAMES NANCE                           33003 WALLACE ST                                                                                      WESTLAND       MI      48186‐4688
JAMES NANCE                           39 PANAMA DR                                                                                          WATERFORD      MI      48327‐3666
JAMES NANCE                           10411 E 39TH TERRACE 3                                                                                KANSAS CITY    MO      64133
JAMES NANKERVIS                       4452 CEDAR AVE                                                                                        W BLOOMFIELD   MI      48323‐1109
JAMES NAPIER                          10021 SW 99TH AVE                                                                                     OCALA          FL      34481‐9062
JAMES NAPIER                          2360 DEERFIELD LN                                                                                     MANSFIELD      OH      44906‐4017
JAMES NAPIER                          9860 MILLARD RD                                                                                       TROTWOOD       OH      45426‐4337
JAMES NAPIER                          6922 RED LION 5 POINTS RD                                                                             LEBANON        OH      45036‐9793
JAMES NAPIER                          254 KANSAS AVE                                                                                        YPSILANTI      MI      48198‐6027
JAMES NAPIERSKI                       8062 EAST ERDBANK ROAD                                                                                MERRITT        MI      49667
JAMES NAPOLITAN                       13 2ND AVE                                                                                            ROEBLING       NJ      08554‐1001
JAMES NASH                            4081 SWARTHOUT RD                                                                                     HOWELL         MI      48843‐9446
JAMES NASH                            13221 TECUMSEH                                                                                        REDFORD        MI      48239‐4618
JAMES NASH                            427 S 24TH ST                                                                                         SAGINAW        MI      48601‐6406
JAMES NASH                            5001 COUNTY ROAD 63                                                                                   KILLEN         AL      35645‐5401
JAMES NASH                            398 LIBERTY CHURCH RD                                                                                 BRIGHTON       TN      38011
JAMES NASH                            700 TOM MILLER RD                                                                                     WINDER         GA      30680‐3982
JAMES NATHAN PIKE                     BARON & BUDD PC                 THE CENTRUM SUITE 1100   3102 OAK LAWN AVE                            DALLAS         TX      75219‐4281
JAMES NATHO                           12871 ORCHARD ST                                                                                      SOUTHGATE      MI      48195‐1617
JAMES NAVAROLI                        14705 MULBERRY CT                                                                                     UTICA          MI      48315‐4313
JAMES NAVARRE                         5001 CRIDDLE DR                                                                                       COLUMBIA       TN      38401‐5023
JAMES NAVARRE                         4225 MILLER ROAD                # 122                                                                 FLINT          MI      48507
JAMES NAVE                            19232 MEADOWRIDGE DR                                                                                  LIVONIA        MI      48152‐6003
JAMES NAVIS                           1604 BRONSON RD                                                                                       GRAND ISLAND   NY      14072‐2967
JAMES NAWOJSKI                        320 ROWLEY RD                                                                                         DEPEW          NY      14043‐4112
JAMES NAWROCKI JR                     1433 CAPE SAINT CLAIRE RD                                                                             ANNAPOLIS      MD      21409‐5697
JAMES NAY JR                          187 CENTRE ST                                                                                         MORRISVILLE    PA      19067‐6248
JAMES NAYLOR                          9179 WINTERGREEN DR                                                                                   WEST CHESTER   OH      45069‐3658
JAMES NEAL                            5551 SHAW RD 6                                                                                        JACKSON        MS      39209
JAMES NEAL                            5710 S ADAMS ST                                                                                       MARION         IN      46953‐6143
JAMES NEAL                            203 PULASKI ST                                                                                        BEREA          OH      44017‐1839
JAMES NEAL                            3501 BAGSHAW DR                                                                                       SAGINAW        MI      48601‐5208
JAMES NEAL                            302 OBERRY RD                                                                                         KINGSTON       TN      37763‐4325
JAMES NEAL                            2620 BULLOCK RD                                                                                       BAY CITY       MI      48708‐8468
JAMES NEALE                           118 MILES ST                                                                                          YPSILANTI      MI      48198‐4033
JAMES NEALE                           2277 KOEBEL RD                                                                                        COLUMBUS       OH      43207‐2825
JAMES NEARY                           4313 FOREST VIEW AVE                                                                                  BALTIMORE      MD      21206‐1906
JAMES NEATE                           46712 COVINGTON DR                                                                                    MACOMB         MI      48044‐3570
JAMES NEAVES                          13243 ROLLIE RD E                                                                                     BISHOPVILLE    MD      21813‐1107
JAMES NED LINDSEY & SYBLE C LINDSEY   C/O JAMES NED LINDSEY           1412 FOX RUN                                                          SYLACAUGA      AL      35150
JAMES NEDROW                          346 POORMAN RD                                                                                        BELLVILLE      OH      44813‐9018
JAMES NEDWICK                         435 BLACKBIRD STATION RD                                                                              TOWNSEND       DE      19734‐9668
JAMES NEELEY                          13097 TROWBRIDGE ROAD                                                                                 WOLVERINE      MI      49799‐9588
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Name               Address1                          Address2                         Address3   Address4               City            State   Zip
JAMES NEELEY       17 SOLOMON JAMES LANE                                                                                LONDON           KY     40744‐8152
JAMES NEELEY       11441 PETERSON RD                                                                                    CLIO             MI     48420‐9464
JAMES NEELY        5521 LIBERTY BELL CIR                                                                                CENTERVILLE      OH     45459‐7925
JAMES NEELY        869 53RD ST                                                                                          OAKLAND          CA     94608‐3256
JAMES NEES         2000 10TH ST                                                                                         BAY CITY         MI     48708‐6751
JAMES NEFF         7541 NEW CARLISLE PIKE                                                                               NEW CARLISLE     OH     45344‐9245
JAMES NEFF         108 AURA ST                                                                                          ENGLEWOOD        FL     34223‐5704
JAMES NEFF         7947 FOREST CREEK CT                                                                                 WHITMORE LAKE    MI     48189‐9142
JAMES NEFF         538 JODEE DR                                                                                         XENIA            OH     45385
JAMES NEIBRAND     26806 JULIA ST                                                                                       WIND LAKE        WI     53185‐2022
JAMES NEIKART      689 INDIANA ST                                                                                       HOWELL           MI     48843‐1747
JAMES NELSON       1307 REGENCY CT                                                                                      SOUTHLAKE        TX     76092‐9514
JAMES NELSON       1690 WATERBURY DR SE                                                                                 KENTWOOD         MI     49508‐6340
JAMES NELSON       46966 ZAPOTEC DR                                                                                     FREMONT          CA     94539‐7213
JAMES NELSON       9341 E COLDWATER RD                                                                                  DAVISON          MI     48423‐8941
JAMES NELSON       7314 ROCHESTER RD                                                                                    LOCKPORT         NY     14094‐1628
JAMES NELSON       PO BOX 91                                                                                            SOUTH WALES      NY     14139‐0091
JAMES NELSON       2934 LEE ELLEN PL                                                                                    COLUMBUS         OH     43207‐3721
JAMES NELSON       249 AMELIA DR W                                                                                      MARTINEZ         GA     30907‐9376
JAMES NELSON       17022 W 130TH ST                                                                                     STRONGSVILLE     OH     44136‐4662
JAMES NELSON       37 DRYDEN ROAD, WHITE HALL                                                                           NEW CASTLE       DE     19720
JAMES NELSON       APT 10                            1987 PARKCREST DRIVE SOUTHWEST                                     WYOMING          MI     49519‐9303
JAMES NELSON       877 E 1000 N                                                                                         ALEXANDRIA       IN     46001‐8484
JAMES NELSON       1107 W 59TH ST                                                                                       CHICAGO           IL    60621‐1423
JAMES NELSON       PO BOX 372                                                                                           WINDFALL         IN     46076‐0372
JAMES NELSON       PO BOX 2584                                                                                          KOKOMO           IN     46904‐2584
JAMES NELSON       2116 MAPLE CREEK CIR                                                                                 ANN ARBOR        MI     48108‐9606
JAMES NELSON       3405 CORVAIR LN                                                                                      SAGINAW          MI     48602‐3408
JAMES NELSON       4543 NEWBERRY ST                                                                                     WAYNE            MI     48184‐2171
JAMES NELSON       512 S BEATY ST                                                                                       ATHENS           AL     35611‐3502
JAMES NELSON       2804 SW 10TH ST                                                                                      LEES SUMMIT      MO     64081‐2375
JAMES NELSON       29539 FM 47                                                                                          CANTON           TX     75103‐3751
JAMES NELSON       188 KRETTNER ST                                                                                      BUFFALO          NY     14212‐1108
JAMES NELSON       34328 TOMAHAWK DR                                                                                    WESTLAND         MI     48185‐7037
JAMES NELSON JR    2472 CASS LAKE RD                                                                                    KEEGO HARBOR     MI     48320‐1421
JAMES NELSON JR    2162 MCCALL DR                                                                                       GOLDSBY          OK     73093‐9209
JAMES NEMETH       600 N RIVER RD                                                                                       SAGINAW          MI     48609‐6824
JAMES NEPHEW       8928 NORTH ST                                                                                        VASSAR           MI     48768‐9487
JAMES NESBITT      10821 W HUTTON DR                                                                                    SUN CITY         AZ     85351‐1061
JAMES NESSAN       PO BOX 131                                                                                           BADGER           SD     57214‐0131
JAMES NESSER       9059 E PARKVIEW CT                                                                                   LAKESIDE         OH     43440‐1244
                                                                                                                        MARBLEHEAD
JAMES NESSNER      2453 PARKVIEW ST SW                                                                                  WYOMING         MI      49519‐4534
JAMES NESTER       PO BOX 307                                                                                           WHITTEMORE      MI      48770‐0307
JAMES NETHERLAND   8275 WOODVIEW RD                                                                                     CLARKSTON       MI      48348‐4061
JAMES NETTLES      639 PROSPECT RD                                                                                      ROCKMART        GA      30153‐3534
JAMES NEUMAIER     5750 AMALIE DR                                                                                       NASHVILLE       TN      37211‐5993
JAMES NEVEAU       523 HANDY DR                                                                                         BAY CITY        MI      48706‐4292
JAMES NEVELS       419 S 20TH ST                                                                                        LEXINGTON       MO      64067‐1843
JAMES NEVERS       3267 TUCKER RD                                                                                       ELMIRA          MI      49730‐8913
JAMES NEVILLE      PO BOX 108                                                                                           MEARS           MI      49436‐0108
JAMES NEVILS       106 OAK CREEK LN                                                                                     PONTIAC         MI      48340‐2225
JAMES NEVINS       2290 FAY ST                                                                                          HOLT            MI      48842‐1112
JAMES NEW          5113 OLD GRANT RD RT 5                                                                               ELLENWOOD       GA      30294
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Name                 Address1                         Address2                     Address3   Address4               City            State   Zip
JAMES NEWCOMB        7545 W IVY LN                                                                                   NEW PALESTINE    IN     46163‐9201
JAMES NEWELL         PO BOX 502                                                                                      BUFFALO          NY     14205‐0502
JAMES NEWELL         39201 JOY RD APT 306                                                                            WESTLAND         MI     48185‐7511
JAMES NEWELL         714 S SUNSET DR                                                                                 OLATHE           KS     66061‐4917
JAMES NEWLIN         10990 MAHOGANY RUN                                                                              FORT MYERS       FL     33913‐8151
JAMES NEWMAN         PO BOX 336                                                                                      NEW KINGSTON     NY     12459‐0336
JAMES NEWMAN         5227 W CRYSTAL ST                                                                               CHICAGO           IL    60651‐1467
JAMES NEWMAN         4801 FRENCH WOOD DR                                                                             ARLINGTON        TX     76016‐2920
JAMES NEWMAN         17508 S ROCK CREEK RD                                                                           SHAWNEE          OK     74801‐9542
JAMES NEWPORT        44 ROSE LN                                                                                      SCOTTSVILLE      KY     42164‐8389
JAMES NEWPORT        809 JOHNSON ST                                                                                  OWOSSO           MI     48867‐3822
JAMES NEWSOME        34440 BORDMAN RD                                                                                MEMPHIS          MI     48041‐4625
JAMES NEWSOME        4021 EASTWOOD LN                                                                                WARRENSVILLE     OH     44122‐7037
                                                                                                                     HEIGHTS
JAMES NEWSUM         2020 SAGE LAKE RD                                                                               PRESCOTT        MI      48756‐9330
JAMES NEWTON         12823 N ROUNDUP RD                                                                              PARKER          CO      80138‐8161
JAMES NEWTON         1835 STICHTER RD                                                                                LUDLOW FALLS    OH      45339‐9608
JAMES NEWTON         22294 CITY CENTER DR APT 5109                                                                   HAYWARD         CA      94541‐2810
JAMES NEWTON
JAMES NICCUM         1901 JAPONICA AVE APT 15                                                                        MCALLEN         TX      78501‐5088
JAMES NICELY         150 BETTS BRANCH RD                                                                             CAMPTON         KY      41301‐9775
JAMES NICELY         CASCINO MICHAEL P                220 S ASHLAND AVE                                              CHICAGO         IL      60607
JAMES NICHOLAS       1240 LAUREL LN                                                                                  NAPERVILLE      IL      60540‐7815
JAMES NICHOLAS       PO BOX 123                                                                                      GERRARDSTOWN    WV      25420
JAMES NICHOLAS       4948 AVON PARK CUTOFF RD                                                                        AVON PARK       FL      33825‐5628
JAMES NICHOLL        1411 22ND AVE NE                                                                                NAPLES          FL      34120‐3498
JAMES NICHOLLS       9109 SILVER LAKE RD                                                                             LINDEN          MI      48451‐9643
JAMES NICHOLS        17843 FAIRWOOD DR                                                                               CLINTON TWP     MI      48035‐2432
JAMES NICHOLS        701 SPANISH MAIN DR UNIT 222                                                                    CUDJOE KEY      FL      33042
JAMES NICHOLS        5271 KESSLER BOULEVARD NORTH                                                                    INDIANAPOLIS    IN      46228
JAMES NICHOLS        PO BOX 2404                                                                                     PIKEVILLE       KY      41502‐2404
JAMES NICHOLS        3343 ROLSTON RD                                                                                 FENTON          MI      48430‐1033
JAMES NICHOLS        PO BOX 873                                                                                      RAYVILLE        LA      71269‐0873
JAMES NICHOLS        PO BOX 537                                                                                      ALANSON         MI      49706‐0537
JAMES NICHOLS        PO BOX 6                                                                                        BANCROFT        MI      48414‐0006
JAMES NICHOLS        6059 HERBMOOR DR                                                                                TROY            MI      48098‐1827
JAMES NICHOLS        2700 WISNER                                                                                     WATERFORD       MI      48329‐2883
JAMES NICHOLS        4257 E VIENNA RD                                                                                CLIO            MI      48420‐9752
JAMES NICHOLS JR     PO BOX 521                                                                                      CASSVILLE       GA      30123‐0521
JAMES NICHOLSON      12455 DEVEREAUX RD                                                                              ALBION          MI      49224‐9114
JAMES NICHOLSON      1399 BELCHER RD S LOT 226                                                                       LARGO           FL      33771
JAMES NICHOLSON      7301 S SEELEY AVE                                                                               CHICAGO         IL      60636‐3731
JAMES NICHOLSON      18911 ROSELAWN ST                                                                               DETROIT         MI      48221‐2119
JAMES NICHOLSON      BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS      OH      44236
JAMES NICHOLSON JR   5548 PURDY RD                                                                                   CANANDAIGUA     NY      14424‐7905
JAMES NICKEL         3052 AUTUMN LN                                                                                  JANESVILLE      WI      53546‐4356
JAMES NICKENS        20472 NORTH OASIS VERDE WAY                                                                     SURPRISE        AZ      85374‐5074
JAMES NICKLES JR     1222 BRUIN LN                                                                                   JANESVILLE      WI      53545‐7806
JAMES NICKLOW        469 S FAWN CT                                                                                   MURFREESBORO    TN      37129‐4001
JAMES NICKLOW        28 MOHAWK RD                                                                                    PONTIAC         MI      48341‐1120
JAMES NICKOLAOU      8284 PEACEFUL VLY                                                                               CLARKSTON       MI      48348‐2644
JAMES NICODEMUS      372 PALMETTO RD                                                                                 LEWISBURG       TN      37091‐4931
JAMES NICOLAUS       1383 MEADOWBROOK AVE SE                                                                         WARREN          OH      44484‐4565
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Name                        Address1                          Address2                       Address3   Address4               City             State Zip
JAMES NICOSIA (ESTATE OF)   EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                                   NEW HAVEN         CT 06510
                                                              265 CHURCH STREET
JAMES NIEDECKEN             1437 MALLARD DR                                                                                    BURTON           MI   48509‐1560
JAMES NIEMAN                134 RED HAVEN ROAD                                                                                 NEW CUMBERLAND   PA   17070

JAMES NIEMEIER              2919 W COURT ST                                                                                    JANESVILLE       WI   53548‐3290
JAMES NIEMI                 44923 WEYMOUTH DR                                                                                  CANTON           MI   48188‐3267
JAMES NIEMI                 5153 CENTREVILLE                                                                                   GRAND BLANC      MI   48439‐8747
JAMES NIEMI                 1436 SARETA TER                                                                                    NORTH PORT       FL   34286‐6136
JAMES NIEMI                 1251 BALDWIN RD                                                                                    FENTON           MI   48430‐9729
JAMES NIESE                 RR 2                                                                                               LEIPSIC          OH   45856
JAMES NIETERT               6393 KINGS POINTE RD                                                                               GRAND BLANC      MI   48439‐8797
JAMES NIGHSWANDER           2905 RIDGE AVE SE                                                                                  WARREN           OH   44484‐3247
JAMES NIGHTINGALE           1803 WHITESTONE DR                                                                                 ROCKTON          IL   61072‐8007
JAMES NILSSON               8645 RACHAEL DR                                                                                    DAVISBURG        MI   48350‐1722
JAMES NIX                   282 WALL BRIDGE RD                                                                                 CLARKESVILLE     GA   30523‐4606
JAMES NIX                   C/O COONEY AND CONWAY             120 NORTH LASALLE 30TH FLOOR                                     CHICAGO          IL   60602
JAMES NIXON                 13575 RATTALEE LAKE RD                                                                             DAVISBURG        MI   48350‐1240
JAMES NIXON                 15 LAMPLIGHTER LN                                                                                  O FALLON         MO   63368‐7304
JAMES NIXON                 30971 MEADOWBROOK AVE                                                                              HAYWARD          CA   94544‐7543
JAMES NIXON I V             PO BOX 415                                                                                         LAINGSBURG       MI   48848‐0415
JAMES NIZNIK                9391 LATHERS ST                                                                                    LIVONIA          MI   48150‐4127
JAMES NOBLE                 1619 NORWOOD AVE                                                                                   TOLEDO           OH   43607‐1754
JAMES NODAY                 212 GRISWOLD DR                                                                                    YOUNGSTOWN       OH   44512‐2828
JAMES NODINE                445 OSAGE DR                                                                                       CANYON LAKE      TX   78133‐4710
JAMES NOE                   2176 S PLAIN RD                                                                                    CARO             MI   48723‐9467
JAMES NOE                   PO BOX 273                                                                                         FORT THOMAS      KY   41075
JAMES NOECKER               10338 ROSSMAN HWY                                                                                  EATON RAPIDS     MI   48827‐9337
JAMES NOEL                  22346 NORMAN AVE                                                                                   ALLIANCE         OH   44601‐8919
JAMES NOFFSINGER            11786 RIDGE VIEW DR                                                                                RAPID CITY       MI   49676‐9645
JAMES NOLAN                 327 E 280TH ST                                                                                     EUCLID           OH   44132‐1309
JAMES NOLAN                 10035 MULBERRY RD                                                                                  CHARDON          OH   44024‐9719
JAMES NOLAN                 6450 BIRCH RD                                                                                      HARRISON         MI   48625‐9620
JAMES NOLAN                 BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS       OH   44236
JAMES NOLAND                2306 DISCOVERY DR                                                                                  ANDERSON         IN   46017‐9528
JAMES NOLAND II             5039 SHORELINE BLVD                                                                                WATERFORD        MI   48329‐1664
JAMES NOLD                  403 CANAAN RD                                                                                      COLUMBIA         TN   38401‐6059
JAMES NOONAN I I I          2319 W ALVINA AVE                                                                                  MILWAUKEE        WI   53221‐4943
JAMES NOONON                1481 JACKSON DR                                                                                    OWOSSO           MI   48867‐2934
JAMES NORDENG               N8169 COUNTY RD E                                                                                  TOMAHAWK         WI   54487‐9771
JAMES NORDER                3640 W BENNINGTON RD                                                                               OWOSSO           MI   48867‐9286
JAMES NORDMANN              512 W FRANKLIN AVE                                                                                 NAPERVILLE       IL   60540‐4457
JAMES NORFORD               16730 GARNET RIDGE CT                                                                              FORT WAYNE       IN   46845‐8857
JAMES NORMAN                232 S PELHAM DR                                                                                    DAYTON           OH   45429‐1572
JAMES NORMAN                13626 CHULA RD                                                                                     AMELIA COURT     VA   23002‐4009
                                                                                                                               HOUSE
JAMES NORMAN                19300 HICKORY RIDGE RD                                                                             FENTON           MI   48430‐8529
JAMES NORMAN                1057 E CENTRAL AVE                                                                                 MIAMISBURG       OH   45342‐2555
JAMES NORMAND               2141 DUTCHER ST                                                                                    FLINT            MI   48532‐4410
JAMES NORRIS                2342 E LAKE RD                                                                                     CLIO             MI   48420‐9147
JAMES NORRIS                3401 AUSTIN ST                                                                                     GREENVILLE       TX   75402‐6503
JAMES NORRIS                608 E GRANT ST                                                                                     MARION           IN   46952‐2950
JAMES NORRIS                PO BOX 741                        114 W 3RD ST                                                     LAPEL            IN   46051‐0741
JAMES NORRIS                688 CAMINO DEL REY DR                                                                              LADY LAKE        FL   32159‐9155
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Name               Address1                       Address2                     Address3   Address4               City             State   Zip
JAMES NORRIS       PO BOX 178                                                                                    PRESQUE ISLE      MI     49777‐0178
JAMES NORRIS       8382 GRAND BLANC RD                                                                           SWARTZ CREEK      MI     48473‐7614
JAMES NORRIS       129 E SEAVER ST                                                                               ITHACA            MI     48847‐1155
JAMES NORRIS       3096 CHANGING SEASON CT                                                                       WESTMINSTER       MD     21157‐8372
JAMES NORSWORTHY   23066 CROSSLEY AVE                                                                            HAZEL PARK        MI     48030‐1602
JAMES NORTH        4321 SAMPSON RD                                                                               YOUNGSTOWN        OH     44505‐1305
JAMES NORTHAM      164 GRAY LN                                                                                   CHURCH HILL       TN     37642‐5114
JAMES NORTHROP     14838 SHIRE RD                                                                                WOLVERINE         MI     49799‐9637
JAMES NORTON       419 DORNOCH DR                                                                                PAWLEYS ISLAND    SC     29585‐6775
JAMES NORTON       PO BOX 256                                                                                    WELLSTON          MI     49689‐0256
JAMES NORTON       9956 W 900 S                                                                                  REDKEY            IN     47373‐9367
JAMES NORTON       3301 TOWERLINE RD                                                                             HALE              MI     48739‐9005
JAMES NORTON       6313 W STATE ROAD 44                                                                          MORGANTOWN        IN     46160‐8373
JAMES NORTON
JAMES NORTON       1820 S HAMILTON ST                                                                            SAGINAW          MI      48602‐1205
JAMES NORTON JR    16652 FORD OAKS LANE                                                                          JUSTIN           TX      76247
JAMES NORWOOD      2187 ROSS LN                                                                                  ESPYVILLE        PA      16424‐2949
JAMES NORWOOD      15440 PIEDMONT ST                                                                             DETROIT          MI      48223‐1717
JAMES NORWOOD      1200 SLAGTOWN RD                                                                              COWAN            TN      37318‐3805
JAMES NOTARIO      1508 W KNOLLWOOD ST                                                                           TAMPA            FL      33604‐5822
JAMES NOTENBAUM    2745 STONEBLUFF DR SW                                                                         WYOMING          MI      49519‐6101
JAMES NOVAK        29 SMITH DR                                                                                   LACKAWANNA       NY      14218‐3636
JAMES NOVAK        1302 ARBOR DR                                                                                 LEMONT           IL      60439‐7483
JAMES NOVAK        3192 N DOW RD                                                                                 WEST BRANCH      MI      48661‐9420
JAMES NOVAK        BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH      44236
JAMES NOVELLO      4930 SMITH STEWART RD                                                                         VIENNA           OH      44473‐8604
JAMES NOVEMBER     302 E BROAD ST                                                                                NEWTON FALLS     OH      44444‐1711
JAMES NOWACZYK     2320 KENNELY RD                                                                               SAGINAW          MI      48609‐9333
JAMES NOWACZYK     2325 DAVID ST                                                                                 SAGINAW          MI      48603‐4113
JAMES NOWACZYK     9730 BELL RD                                                                                  BIRCH RUN        MI      48415‐9041
JAMES NOWAK        3316 TYLER DR                                                                                 BRUNSWICK        OH      44212‐3726
JAMES NOWAK        2359 BULLOCK RD                                                                               BAY CITY         MI      48708‐9666
JAMES NOWAK        1498 WESTBURY DR                                                                              DAVISON          MI      48423‐8353
JAMES NOWAK        152 GLEN MARY LN                                                                              GAINESBORO       TN      38562‐5559
JAMES NOWAKOWSKI   434 SUPERIOR BLVD                                                                             WYANDOTTE        MI      48192‐5825
JAMES NOWAKOWSKI   736 LEONARD ST NE                                                                             GRAND RAPIDS     MI      49503‐1158
JAMES NOWC         25183 PATTOW ST                                                                               ROSEVILLE        MI      48066‐3911
JAMES NOWICKI      W1038 NORTH DR                                                                                BRODHEAD         WI      53520‐9621
JAMES NOWICKI      2210 FRASER ST                                                                                BAY CITY         MI      48708‐8632
JAMES NUCKELS      328 CALUMET CIR                                                                               KINGSPORT        TN      37660‐8067
JAMES NUGENT JR    4885 BROOK DR                                                                                 SAGINAW          MI      48638‐5651
JAMES NUMMER       885 RECTOR RD                                                                                 IONIA            MI      48846‐9577
JAMES NUNLEY       32859 ILLINOIS ST                                                                             LIVONIA          MI      48150‐3705
JAMES NUNN         APT 234‐B                      22800 CIVIC CENTER DRIVE                                       SOUTHFIELD       MI      48033‐7159
JAMES NURENBERG    PO BOX 162                                                                                    WESTPHALIA       MI      48894‐0162
JAMES NURNBERGER   4213 W SHAFFER RD                                                                             COLEMAN          MI      48618‐8520
JAMES NURSE        3910 BAYBROOK DR                                                                              WATERFORD        MI      48329‐3908
JAMES NUTTER       544 N 11TH ST                                                                                 POPLAR BLUFF     MO      63901‐4827
JAMES NUTTER       10753 AMITY RD                                                                                BROOKVILLE       OH      45309‐9322
JAMES NUVEMAN      5056 COLBY RD                                                                                 OWOSSO           MI      48867‐9715
JAMES NYKANEN      30932 PARDO ST                                                                                GARDEN CITY      MI      48135‐1846
JAMES O ALLEN      7018 E 51ST CT                                                                                TULSA            OK      74145
JAMES O BAKER      9390 MYERS LAKE AVE NE                                                                        ROCKFORD         MI      49341‐9505
JAMES O BOWIE II   5103 CALKINS RD                                                                               FLINT            MI      48532‐3404
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Name                  Address1                       Address2                     Address3                   Address4               City           State   Zip
JAMES O BRIDGES       725 HARVEYTOWN RD                                                                                             TYLERTOWN       MS     39667‐5928
JAMES O BRIEN         5221 WORCHESTER DR                                                                                            SWARTZ CREEK    MI     48473‐1267
JAMES O CARPENTER     GLASSER AND GLASSER            CROWN CENTER                 580 EAST MAIN ST STE 600                          NORFOLK         VA     23510
JAMES O COBURN        PO BOX 4041                                                                                                   CENTER LINE     MI     48015‐4041
JAMES O COCHRAN       4125 LAKEWOOD CT                                                                                              LULA            GA     30554‐2502
JAMES O COFFEE        8‐A STREET                                                                                                    NEW LABANON     OH     45345‐1146
JAMES O CONNOR        105 N SCOUGLE ST                                                                                              DURAND          MI     48429‐1131
JAMES O DIFFENDAL     163 W DAY‐YELLOW SPNG RD                                                                                      FAIRBORN        OH     45324‐‐ 00
JAMES O FOX           3408 OAKMONT AVENUE                                                                                           KETTERING       OH     45429‐3542
JAMES O GASTON SR     4636 KENTFIELD DR                                                                                             DAYTON          OH     45426‐1832
JAMES O GASTON, JR.   4510 COLBATH AVE               APT 3                                                                          SHERMAN OAKS    CA     91423‐5415
JAMES O HARDIN        8380 PEARL RD 514                                                                                             STRONGSVILLE    OH     44136
JAMES O HARRIS        8102 NORTHLAWN ST                                                                                             DETROIT         MI     48204‐3286
JAMES O HOBSON        1222 VILLA CT S                                                                                               WALLED LAKE     MI     48390‐3379
JAMES O HOOP          2304 CARDINAL AVE                                                                                             DAYTON          OH     45414‐3336
JAMES O KLINE         713 ELLSWORTH DR                                                                                              TROTWOOD        OH     45426‐2515
JAMES O LAMB          4468 E PEKIN RD                                                                                               WAYNESVILLE     OH     45068‐9546
JAMES O LEARY         9182 FRANCES RD                                                                                               OTISVILLE       MI     48463‐9411
JAMES O NEILL         16224 FIVE POINTS ST                                                                                          DETROIT         MI     48240‐2407
JAMES O NEWPORT       44 ROSE DR                                                                                                    SCOTTSVILLE     KY     42164
JAMES O PATTERSON     728 DENNISON AVE                                                                                              DAYTON          OH     45408
JAMES O ROGERS        4705 1ST CT W APT 189                                                                                         BRADENTON       FL     34207‐2174
JAMES O SHEA          30624 DOVER AVE                                                                                               WARREN          MI     48088‐3169
JAMES O SIMMONS       1495 MURTLAND RD                                                                                              LYNCHBURG       OH     45142‐8133
JAMES O SMILEY        244 E JEFFERSON ST                                                                                            GERMANTOWN      OH     45327‐1461
JAMES O SWIFT         128 RUGBY AVENUE                                                                                              ROCHESTER       NY     14619‐1138
JAMES O THOMPSON      5968 PINE RISE COURT                                                                                          COLUMBUS        OH     43231
JAMES O THOMPSON      PO BOX 298208                                                                                                 COLUMBUS        OH     43229‐4808
JAMES O WARNER        7138 STATE RT 35 W                                                                                            EATON           OH     45320‐9639
JAMES O WELCH         PO BOX 176                                                                                                    RAVENNA         OH     44266‐0176
JAMES O YOUMANS       7241 PORTER RD                                                                                                GRAND BLANC     MI     48439‐8546
JAMES O'BRIEN         DEAN & FULKERSON, P.C.         801 W. BIG BEAVER RD.        SUITE 500                                         TROY            MI     48084
JAMES O'BRIEN         14045 TRENTON RD                                                                                              SUNBURY         OH     43074‐8953
JAMES O'BRIEN         205 N 1ST ST                                                                                                  HOLLY           MI     48442‐1202
JAMES O'BRYANT        8850 N KREPPS RD                                                                                              ELSIE           MI     48831‐9790
JAMES O'CONNELL       2803 WOODLAND ST NE                                                                                           WARREN          OH     44483‐4419
JAMES O'CONNELL       PO BOX 1143                                                                                                   ORCHARD PARK    NY     14127‐8143
JAMES O'CONNOR        1920 BONNIE BROOK LN                                                                                          WENTZVILLE      MO     63385‐3265
JAMES O'CONNOR        915 E GARDENIA AVE                                                                                            MADISON HTS     MI     48071‐3431
JAMES O'CONNOR        PO BOX 212                     1946 EAST ST                                                                   REESE           MI     48757‐0212
JAMES O'DONNELL       42195 FAIRVIEW DR                                                                                             CANTON          MI     48187‐3741
JAMES O'DONNELL       3402 BRIGHTON ST                                                                                              PHILADELPHIA    PA     19149‐2006
JAMES O'DONNELL JR    10 SCOTTWAY                                                                                                   CARNEGIE        PA     15106
JAMES O'HARE          18 PINEGROVE PARK                                                                                             HAMBURG         NY     14075‐5870
JAMES O'KANE          12345 INDEPENDENCE AVE                                                                                        SHELBY TWP      MI     48315‐4633
JAMES O'KELLEY        4734 MIDLAND AVE                                                                                              WATERFORD       MI     48329‐1839
JAMES O'LAUGHLIN      3205 OUTDOOR RD                                                                                               MORAINE         OH     45439‐1315
JAMES O'LEARY         801 W ANN ARBOR TRL STE 310                                                                                   PLYMOUTH        MI     48170‐1680
JAMES O'MALLEY        63 LAFLIN RD                                                                                                  WILKES BARRE    PA     18702
JAMES O'NEAL          BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                                     BOSTON HTS      OH     44236
JAMES OAKLEY          45010 HARRIS RD                                                                                               BELLEVILLE      MI     48111‐8938
JAMES OAKLEY          125 WESTFIELD DR                                                                                              COLUMBIA        TN     38401‐6518
JAMES OAKS            6105 E 400 S                                                                                                  KOKOMO          IN     46902‐9212
JAMES OAKS            2630 CRESTWELL PL                                                                                             DAYTON          OH     45420‐3735
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Name                   Address1                             Address2            Address3     Address4               City              State   Zip
JAMES OARD             4510 W MULBERRY RD                                                                           MORENCI            MI     49256‐9515
JAMES OBERLEE          20192 RENFREW RD                                                                             DETROIT            MI     48221‐1334
JAMES OBERLIESEN       47352 MEADOWBROOK DR                                                                         MACOMB             MI     48044‐2748
JAMES OBERMILLER       PO BOX 335                                                                                   HARTLAND           MI     48353‐0335
JAMES OBERMILLER       4283 MONITOR RD                                                                              BAY CITY           MI     48706‐9211
JAMES OBERRY JR        PO BOX 89                            3041 3RD ST                                             SIX LAKES          MI     48886‐0089
JAMES OBREMSKI         11225 CALYPSO DR                                                                             ALPHARETTA         GA     30009‐7616
JAMES OBRIAN           2849 SPRING MEADE BOULEVARD                                                                  COLUMBIA           TN     38401‐7284
JAMES OBRIEN           15048 MILITARY RD SE                                                                         TENINO             WA     98589‐9673
JAMES OBYRNE           7366 ROCHESTER RD                                                                            LOCKPORT           NY     14094‐1628
JAMES OCHODNICKY       601 S NORTON ST APT C25                                                                      CORUNNA            MI     48817‐1241
JAMES OCKLETREE        6134 MARILYN RD                                                                              INDIANAPOLIS       IN     46226‐4941
JAMES ODA              20 CLOVE CT                                                                                  SPRINGBORO         OH     45066‐1009
JAMES ODELL            W8545 30TH ST                                                                                NEW LISBON         WI     53950‐9705
JAMES ODENDAHL         5425 ROSEWALL CIRCLE BOX 373                                                                 LEESBURG           FL     34748
JAMES ODIL             2660 LANSDOWNE RD                                                                            WATERFORD          MI     48329‐2942
JAMES ODLE             5217 FM 1840                                                                                 NEW BOSTON         TX     75570‐5512
JAMES ODOM             514 WISSAHICKON AVE                                                                          CEDARTOWN          GA     30125‐2532
JAMES ODOM             4333 UNION CHURCH RD                                                                         MCDONOUGH          GA     30252‐8132
JAMES ODOM             5108 STATE ROUTE 131                                                                         HICKORY            KY     42051‐8614
JAMES ODONNELL         222 MARENGO DR                                                                               TEMPERANCE         MI     48182‐9334
JAMES OERTEL           26 LAPIDARY LN                                                                               JANESVILLE         WI     53548‐9127
JAMES OESCH            12881 SHADY LANE DR                                                                          STERLING HTS       MI     48313‐1132
JAMES OESTERLE         7401 ROSEBAY ST                                                                              ERIE               PA     16509‐6636
JAMES OESTREICHER JR   955 MISSOURI RD # 104B                                                                       PRINCETON          KS     66078
JAMES OGBURN           3855 PHILIP ST                                                                               DETROIT            MI     48215‐2323
JAMES OGBURN           11 QUINCY MANOR LN                                                                           BURLINGTON         NJ     08016‐5117
JAMES OGDEN            1735 WHEELER RD                                                                              GULF BREEZE        FL     32563‐8823
JAMES OGLE             5541 E ROWLAND RD                                                                            TOLEDO             OH     43613‐2221
JAMES OGLES            8563 PONTIAC LAKE RD                                                                         WHITE LAKE         MI     48386‐1639
JAMES OGLESBEE         937 N DALE DR                                                                                LIMA               OH     45805‐1627
JAMES OGLESBY          1743 W CARIBAEA TRL SE                                                                       ATLANTA            GA     30316‐4441
JAMES OGLETREE         19675 SUNSET ST                                                                              DETROIT            MI     48234‐2066
JAMES OGOZALY          16515 HUFF ST                                                                                LIVONIA            MI     48154‐1263
JAMES OHARA            30400 THIEROFF RD                                                                            HOLGATE            OH     43527‐9600
JAMES OHARA            326 IDDINGS AVE SE                                                                           WARREN             OH     44483‐5918
JAMES OHLERT           21830 BORDMAN RD                                                                             ARMADA             MI     48005‐1400
JAMES OKELLEY          3225 LINCOLN PL                                                                              LAWRENCEVILLE      GA     30044‐5617
JAMES OKONIEWSKI       4067 RHEA ST                                                                                 BURTON             MI     48509‐1037
JAMES OLAH             15705 S MIDWAY AVE                                                                           ALLEN PARK         MI     48101‐1186
JAMES OLAH             THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES   22ND FLOOR                          BALTIMORE          MD     21201

JAMES OLDANI           913 MEDINAH DR                                                                               ROCHESTER HILLS   MI      48309‐1036
JAMES OLDENBURG        452 EAST WATTS SPRINGS ROAD                                                                  EDGERTON          WI      53534‐8926
JAMES OLDENBURG        10260 GRATIOT RD                                                                             SAGINAW           MI      48609‐9481
JAMES OLDFIELD         2607 W LIBERTY ST                                                                            GIRARD            OH      44420‐3114
JAMES OLDS             11357 S PRAIRIE AVE                                                                          CHICAGO           IL      60628‐5026
JAMES OLEARY           4210 N TARRANT RD                                                                            MILTON            WI      53563‐9754
JAMES OLEKSINSKI       11572 COLPAERT DR                                                                            WARREN            MI      48093‐1107
JAMES OLEXA            7015 W BLOOMFIELD RD                                                                         PEORIA            AZ      85381‐9544
JAMES OLIVAS           829 NW 38TH ST                                                                               OKLAHOMA CITY     OK      73118‐7113
JAMES OLIVER           854 BRISTOL PIKE                                                                             BENSALEM          PA      19020‐6358
JAMES OLIVER           9800 N STATE ROAD 39                                                                         ROSSVILLE         IN      46065‐9783
JAMES OLIVER           642 OAK CREEK DR                                                                             RENO              NV      89511‐1086
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Name                            Address1                          Address2                         Address3   Address4               City               State   Zip
JAMES OLIVER                    1184 PIPERS GAP RD                                                                                   MOUNT AIRY          NC     27030
JAMES OLIVER                    2764 SARDIS DR                                                                                       BUFORD              GA     30519‐4134
JAMES OLIVER                    3040 WILLOWBROOK WAY                                                                                 BEAVERCREEK         OH     45431‐7703
JAMES OLIVER                    2245 W FORK RD                                                                                       LAPEER              MI     48446‐8039
JAMES OLIVER                    2020 SEQUOIA CT                                                                                      WEIDMAN             MI     48893‐8833
JAMES OLIVER (477236)           ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                         BALTIMORE           MD     21202
                                                                  CHARLES CENTER 22ND FLOOR
JAMES OLLI                      59207 CONIFER CT                                                                                     WASHINGTON          MI     48094‐3757
JAMES OLLIE                     18239 STAHELIN AVE                                                                                   DETROIT             MI     48219‐2802
JAMES OLMSTED                   7355 GARFIELD RD                                                                                     FREELAND            MI     48623‐9049
JAMES OLSCHEFSKY                5234 SHELBYSHIRE DR                                                                                  SHELBY TWP          MI     48316‐4165
JAMES OLSEN                     912 GAINSBOROUGH DR                                                                                  EAST LANSING        MI     48823‐1836
JAMES OLSEN                     3911 EMBARCADERO ST                                                                                  WATERFORD           MI     48329‐2247
                                                                                                                                     TOWNSHIP
JAMES OLSEN                     1206 6TH ST W                                                                                        ASHLAND             WI     54806‐1214
JAMES OLSON                     1280 S OVERLAND DR                                                                                   LENNON              MI     48449‐9673
JAMES OLSON                     5503 ORTMAN DR.                                                                                      STERLING HEIGHTS    MI     48314
JAMES OLSZEWSKI P (ESTATE OF)   EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                                     NEW HAVEN           CT     06510
                                                                  265 CHURCH STREET
JAMES OLTHOFF                   5997 ASHWOOD CT                                                                                      CLARKSTON          MI      48346‐3181
JAMES OLVERSON                  621 H. DINSMORE DR                APT H                                                              CINCINNATI         OH      45240
JAMES OMARA                     5780 GLEN ORA DR                                                                                     BETHEL PARK        PA      15102‐2426
JAMES OMELIAN                   1608 N CONCORD DR                                                                                    JANESVILLE         WI      53545‐1218
JAMES ONEY                      284 WINCHESTER DR                                                                                    NEW CARLISLE       OH      45344‐3028
JAMES OPPERMAN                  10045 BLOCK RD                                                                                       BIRCH RUN          MI      48415‐9721
JAMES OR MARY HENDRICKS         C/O JAMES HENDRICKS               476 WEST MOUNTAIN VIEW DR                                          HOT SPRINGS        AR      71913
JAMES ORAVETZ                   16653 CREEK VALLEY LN                                                                                NEWALLA            OK      74857‐1208
JAMES ORCUTT                    11221 OCEANSPRAY BLVD                                                                                ENGLEWOOD          FL      34224‐9127
JAMES ORCUTT                    4609 MACK LAKE TRL                                                                                   SOUTH BRANCH       MI      48761‐9545
JAMES ORDO                      7221 KINGS CROSS ST                                                                                  AVON               IN      46123‐8402
JAMES ORDWAY                    3998 HEARTHSIDE DR                                                                                   HOLT               MI      48842‐9746
JAMES ORICK                     5237 N 100 W                                                                                         ANDERSON           IN      46011‐9285
JAMES ORLANDO                   43751 RIVERGATE DR                                                                                   CLINTON TOWNSHIP   MI      48038‐1359

JAMES ORLANDO                   25681 ARCADIA DR                                                                                     NOVI               MI      48374‐2440
JAMES ORLEMAN                   3254 NAPIER RD                                                                                       CANTON             MI      48187‐4694
JAMES ORNDORFF                  5777 ROCHESTER RD                                                                                    DRYDEN             MI      48428‐9312
JAMES OROS                      10108 DUFFIELD RD                                                                                    MONTROSE           MI      48457‐9182
JAMES ORR                       134 GARWOOD DR                                                                                       BEAR               DE      19701‐1501
JAMES ORR                       119 BRADLEY DR                                                                                       GERMANTOWN         OH      45327‐8330
JAMES ORR                       N3097 WILLING ROAD                                                                                   JEFFERSON          WI      53549‐9740
JAMES ORR                       PO BOX 32                                                                                            MARKLEVILLE        IN      46056‐0032
JAMES ORR                       6715 MISTY DALE DR                                                                                   KATY               TX      77449‐8438
JAMES ORR                       100 E MICHELLE LN                                                                                    PENDLETON          IN      46064‐9537
JAMES ORSBORNE                  204 KILLDEER CT                                                                                      JANESVILLE         WI      53546‐2959
JAMES ORTH                      9711 EE PT 25 RD                                                                                     RAPID RIVER        MI      49878
JAMES ORVIN R (406815)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK            VA      23510
                                                                  STREET, SUITE 600
JAMES OSBORN                    24087 SHAKE RAG RD                                                                                   DANVILLE           IL      61834‐6174
JAMES OSBORNE                   2525 HAMILTON PARC LN                                                                                BUFORD             GA      30519‐6205
JAMES OSBORNE                   55 HEMPLE RD                                                                                         FARMERSVILLE       OH      45325‐1205
JAMES OSBORNE                   26625 MANSFIELD RD                                                                                   DEFIANCE           OH      43512‐8911
JAMES OSBORNE                   1794 BASIL AVE                                                                                       YOUNGSTOWN         OH      44514‐1312
JAMES OSBORNE                   120 W TAMI CIRCLE APT#A302                                                                           WESTLAND           MI      48186
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Name                 Address1                         Address2                     Address3       Address4               City            State Zip
JAMES OSBORNE        2197 IRONWOOD RIDGE CT                                                                              DACULA           GA 30019‐2900
JAMES OSBORNE        POX BOX 214                                                                                         MILFORD          MI 48381
JAMES OSBORNE        6520 RAVENSWOOD RD                                                                                  KIMBALL          MI 48074‐2900
JAMES OSBORNE        1929 WHITTLESEY ST                                                                                  FLINT            MI 48503‐4346
JAMES OSBORNE        C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS       OH 44236
JAMES OSIER          4200 N MACKINAW RD                                                                                  PINCONNING       MI 48650‐8474
JAMES OSMAK          7550 POLK ST                                                                                        TAYLOR           MI 48180‐2552
JAMES OSMAN          3073 N STEWART RD                                                                                   CHARLOTTE        MI 48813‐9737
JAMES OSTERHOUT      5436 MICHAEL RD                                                                                     BAY CITY         MI 48706‐3004
JAMES OSTERMAN       22943 AVALON ST                                                                                     ST CLAIR SHRS    MI 48080‐2480
JAMES OSTRAND        26490 32 MILE RD                                                                                    LENOX            MI 48050‐1440
JAMES OSTRANDER      4550 FOREST ST                   P.O. BOX 62                                                        LEONARD          MI 48367‐1931
JAMES OSTRANDER      1448 STINSON ST                                                                                     OWOSSO           MI 48867‐1458
JAMES OSTRANDER      4621 CAMBERWELL CIR              C/O PATTI J OSTRANDER                                              CLARENCE         NY 14031‐2515
JAMES OSTROM         123 LANSING ST                                                                                      GAINES           MI 48436‐8938
JAMES OSTYN          2106 HUBBARD RD                                                                                     CHARLOTTE        MI 48813‐8648
JAMES OSWALD         187 SEMINOLE ST                                                                                     PONTIAC          MI 48341‐1643
JAMES OSWALD         1421 WHITE OAK DR NE                                                                                WARREN           OH 44484‐1651
JAMES OSWALD         18050 S TAMIAMI TRL LOT 100                                                                         FORT MYERS       FL 33908‐8602
JAMES OSWALT         5313 N STAR FORT LORAMIE RD                                                                         NEW WESTON       OH 45348‐9766
JAMES OSWALT         427 MAIN ST                                                                                         BELLVILLE        OH 44813‐1216
JAMES OTIS           122 GRAY RD                                                                                         LAPEER           MI 48446‐2853
JAMES OTT            6828 SALINE DR                                                                                      WATERFORD        MI 48329‐1255
JAMES OTT            11 MAPLEVIEW DR                                                                                     GLADSTONE        MI 49837‐2352
JAMES OTTEN          6937 GLEN CREEK DR SE                                                                               CALEDONIA        MI 49316‐9155
JAMES OTTERBINE      106 N MACOMB AVE                                                                                    EL RENO          OK 73036‐2820
JAMES OTTO           2612 IVERSON ROAD                                                                                   MIDLOTHIAN       VA 23112‐3758
JAMES OTTO           1414 CAMELOT DR                                                                                     JANESVILLE       WI 53548‐1403
JAMES OUDENDYK       5387 CARAVEL DR SW                                                                                  WYOMING          MI 49418‐9122
JAMES OUDERKIRK      2438 MERIDA CIR                                                                                     THE VILLAGES     FL 32162‐0165
JAMES OUTLAW         812 TULANE DR                                                                                       FLINT            MI 48503‐5253
JAMES OVER           2547 E 500 N                                                                                        GREENFIELD       IN 46140‐7973
JAMES OVERMYER       147 2ND ST                                                                                          BONITA SPRINGS   FL 34134‐7304
JAMES OVERMYER       5430 PAPAYA DR                                                                                      PUNTA GORDA      FL 33982‐1944
JAMES OVERSTREET     6225 ONYX DR N                                                                                      FORT WORTH       TX 76180‐8761
JAMES OVERTON        96 WATERBURY PKWY                                                                                   CORTLANDT MANOR NY 10567‐1713

JAMES OVERTON        88 PATRIOTS LNDG APT A                                                                              ROCHESTER        NY   14626‐3931
JAMES OVERTON        PO BOX 4756                                                                                         EAST LANSING     MI   48826‐4756
JAMES OVERTON        332 BASKET DR                                                                                       OXFORD           MI   48371‐6359
JAMES OVIST          28905 PICKFORD ST                                                                                   LIVONIA          MI   48152‐3566
JAMES OWEN           13725 SE 89TH ST                                                                                    OKLAHOMA CITY    OK   73150‐8405
JAMES OWEN MCCLAIN   NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT     205 LINDA DR                          DAINGERFIELD     TX   75638
JAMES OWENS          2120 KINGSWOOD DR                                                                                   FLINT            MI   48507‐3525
JAMES OWENS          8113 N MERIDIAN RD                                                                                  HUNTINGTON       IN   46750‐9650
JAMES OWENS          3912 HOLLETTS CORNER RD                                                                             CLAYTON          DE   19938‐3143
JAMES OWENS          10545 GODDARD ST APT 341                                                                            OVERLAND PARK    KS   66214‐3714
JAMES OWENS          1875 S GRAHAM RD                                                                                    SAGINAW          MI   48609‐9459
JAMES OWENS          10119 WELLINGTON DR                                                                                 CLARKSTON        MI   48348‐1556
JAMES OWENS          522 TIMBERMILL LN                                                                                   HOWELL           MI   48843‐7010
JAMES OWENS          4245 PLATT AVE                                                                                      LYNWOOD          CA   90262‐3820
JAMES OWENS          651 RILEY ST                                                                                        BUFFALO          NY   14211‐1221
JAMES OWENS          19777 RUTHERFORD ST                                                                                 DETROIT          MI   48235‐2351
JAMES OWENS          2142 WHITTIER ST                                                                                    SAGINAW          MI   48601‐2264
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Name                          Address1                         Address2            Address3         Address4               City            State   Zip
JAMES OWENS                   25005 CHERNICK ST                                                                            TAYLOR           MI     48180‐2005
JAMES OWENS                   5505 HIGHWAY 472                                                                             MANCHESTER       KY     40962‐4944
JAMES OWENS                   719 WATCH POINT DR                                                                           CINCINNATI       OH     45230‐3737
JAMES OWENS                   5157 ROSEWOOD PL                                                                             FAIRBURN         GA     30213‐5110
JAMES OWENS                   18044 FREELAND ST                                                                            DETROIT          MI     48235‐2571
JAMES OWENS                   872 CLOYDS CHURCH RD                                                                         GREENBACK        TN     37742‐3022
JAMES OWENS                   4812 FRANLOU AVE                                                                             DAYTON           OH     45432‐3118
JAMES OWENS                   7179 MANLIUS CENTER RD                                                                       EAST SYRACUSE    NY     13057‐9534
JAMES OWENS                   18054 STRASBURG ST                                                                           DETROIT          MI     48205‐2629
JAMES OWENS                   117 GARMON SUTHERLAND ST                                                                     HAYSI            VA     24256‐5208
JAMES OWENS                   24680 LARGES DR                                                                              SOUTHFIELD       MI     48033‐3220
JAMES OWENS                   5801 THOMAS DR UNIT 426                                                                      PANAMA CITY      FL     32408‐6721
                                                                                                                           BEACH
JAMES OWENS                   3691 S BELL CREEK RD                                                                         YORKTOWN        IN      47396‐9585
JAMES OWENS                   5574 NORQUEST BLVD                                                                           YOUNGSTOWN      OH      44515‐1939
JAMES OWENS                   841 S MAIN ST APT A                                                                          FRANKLIN        OH      54005‐2847
JAMES OWENS                   381 CHERRYWOOD DR                                                                            FAIRBORN        OH      45324‐4012
JAMES OWENS                   1984 OLIVESBURG RD                                                                           MANSFIELD       OH      44903‐9745
JAMES OWENS JR                4266 E OUTER DR                                                                              DETROIT         MI      48234‐3123
JAMES OWNSBY                  398 COUNTY ROAD 656                                                                          ATHENS          TN      37303‐6215
JAMES OXENRIDER               4435 ABOITE LAKE DR                                                                          FORT WAYNE      IN      46804‐4018
JAMES P ANELLO                5616 UTICA RD                                                                                WAYNESVILLE     OH      45068
JAMES P AVERY                 9204 SELLERS PLACE                                                                           PICAYUNE        MS      39466‐9708
JAMES P BAILEY                PO BOX 271                                                                                   LEEDS           AL      35094
JAMES P BEAMON                5377 FARMHILL RD                                                                             FLINT           MI      48505‐1007
JAMES P BERES DBA BERES AND   230 4TH AVE N STE 503            PO BOX 190461                                               NASHVILLE       TN      37219‐2134
ASSOCIATES
JAMES P BERGSTROM             123 RIDGE AVE                                                                                DAYTON          OH      45405
JAMES P BLOUNT                3540 CASTLE CT                                                                               HIGHLAND        MI      48356
JAMES P BLUE                  163 POINCIANA                                                                                ELLINGTON       FL      34222‐3618
JAMES P BOHYER                6269 BRADLEY BROWNLEE RD                                                                     BURGHILL        OH      44404
JAMES P BOOMERSHINE           415 BENNERT DR                                                                               VANDALIA        OH      45377
JAMES P BULAH                 15507 BSALM CT.                                                                              CHINO,          CA      91709‐2911
JAMES P BUNN                  108 PATILLO RD                                                                               STOCKBRIDGE     GA      30281‐1416
JAMES P CARDINAL JR           4184 PINE ST                                                                                 GLADWIN         MI      48624‐8352
JAMES P CARPENTER             1587 RIDGE RD WEST                                                                           ONTARIO         NY      14519‐9549
JAMES P CARTER                1618 LENORE AVE                                                                              LANSING         MI      48910‐2645
JAMES P CASEY                 306 EMMA ST                                                                                  NILES           OH      44446
JAMES P CHARON JR             PO BOX 283                                                                                   SYRACUSE        NY      13211‐0283
JAMES P CHRZANOWSKI           WEITZ & LUXENBERG                700 BROADWAY                                                NEW YORK        NY      10003
JAMES P DAMBROGIO DO          212 N MAIN ST                                                                                HUBBARD         OH      44425‐1656
JAMES P DESKI                 8521 CLEARCREEK RD                                                                           SPRINGBORO      OH      45066‐9725
JAMES P DINAPOLI              23 FOXSHIRE CIRCLE                                                                           ROCHESTER       NY      14606‐5352
JAMES P DIO                   4845 BEACH RIDGE RD                                                                          LOCKPORT        NY      14094‐9641
JAMES P DUGAN                 3302 COTTAGE RD                                                                              MORAINE         OH      45439‐1304
JAMES P DUNCAN                W226 N6037 AVON                                                                              SUSSEX          WI      53089
JAMES P EISENBRAUN            558 JACOB WAY APT 206                                                                        ROCHESTER       MI      48307‐2286
JAMES P FAASSE                1946 MARTINDALE AVE SW                                                                       WYOMING         MI      49509‐1448
JAMES P FIORITA JR            4163 WOODACRE DR                                                                             BELLBROOK       OH      45305‐1342
JAMES P FLANAGAN              7219 COHASSET DR                                                                             HUBER HEIGHTS   OH      45424
JAMES P FRANKS                PO BOX 153                                                                                   JEROMESVILLE    OH      44840‐0153
JAMES P GARY                  22 OLYMPIC AVE                                                                               BUFFALO         NY      14215‐3214
JAMES P GROOMS                274 LOWELL RD                                                                                XENIA           OH      45385
JAMES P HAWKINS               910 MADISON, APT. 6                                                                          JACKSON         MS      39202‐2777
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Name                              Address1                       Address2                    Address3                     Address4                 City            State   Zip
JAMES P HAYDEN BETTY ANN HAYDEN   C/O JAMES AND BETTY HAYDEN     93 LAUREL AVE                                                                     KEARNEY          NJ     07032
JAMES P HEICHELBECH               4257 WEIDNER RD                                                                                                  SHELBY           OH     44875‐9029
JAMES P HENNING                   818 BARKINS AVE.                                                                                                 ENGLEWOOD        OH     45322‐1725
JAMES P HILLYARD                  1355 W. PHILADELPHIA ST.                                                                                         YORK             PA     17404
JAMES P HOOD JR                   C/O GLASSER AND GLASSER        CROWN CENTER                580 EAST MAIN STREET SUITE                            NORFOLK          VA     23510
                                                                                             600
JAMES P HOWELL                    137 OLD CARRIAGE RD                                                                                              PONCE INLER     FL      32127
JAMES P HUBBARD                   603 JACKSON LN                                                                                                   MIDDLETOWN      OH      45044‐4962
JAMES P HUFFER                    108 E 2ND ST                                                                                                     TILTON          IL      61833‐7403
JAMES P HURD JR                   15245 STATE ROUTE 725                                                                                            GERMANTOWN      OH      45327‐9561
JAMES P JACKSON                   65 YORK AVENUE                                                                                                   DAYTON          OH      45403‐1146
JAMES P JOHNSON                   207 MC KENNEY AVE                                                                                                SYRACUSE        NY      13211‐1733
JAMES P KANE                      1030 NEW BRIDGE RD                                                                                               RISING SUN      MD      21911‐1134
JAMES P KELLEY                    1146 MARKET ST                                                                                                   RENOVO          PA      17764
JAMES P KELLY                     5410 GILMOUR RD                                                                                                  MORROW          OH      45152‐9731
JAMES P KENNEDY                   6692 WILLOW CREEK DR                                                                                             HUBER HEIGHTS   OH      45424‐2485
JAMES P KENOYER                   1126 SHADY BOWER LN                                                                                              SONORA          KY      42776
JAMES P KOREN                     2869 HOPE RIDGE DR                                                                                               EASTON          PA      18045‐8150
JAMES P KURLINSKI                 15237 WINTER PARK                                                                                                MACOMB          MI      48044
JAMES P LAWSON                    229 TAR PIKE RD                                                                                                  BLANCHESTER     OH      45107
JAMES P LEBLANC                   JAMES P LEBLANC                BARON & BUDD PC             THE CENTRUM SUITE 1100       3102 OAK LAWN AVE        DALLAS          TX      75219‐4281
JAMES P LEWIS                     345 WESTBROOK RD                                                                                                 DAYTON          OH      45415
JAMES P LIPSCOMB                  5075 FISHBURG                                                                                                    DAYTON          OH      45424‐5308
JAMES P MARTIN                    328 JORDAN BEACH RD                                                                                              WETAMPKA        AL      36092
JAMES P MC MURRY                  1733 MARABU WAY                                                                                                  FREMONT         CA      94539‐3684
JAMES P MEYERHOEFER               C/O WEITZ & LEXENBERG PC       700 BROADWAY                                                                      NEW YORK CITY   NY      10003
JAMES P MEYERHOEFER               WEITZ & LUXENBERG PC           700 BROADWAY                                                                      NEW YORK CITY   NY      10003
JAMES P MILLER                    6063 TORREY RD                                                                                                   FLINT           MI      48507‐3841
JAMES P NAPIER                    6922 RED LION 5 POINTS ROAD                                                                                      LEBANON         OH      45036‐9793
JAMES P NORRIS                    8382 GRAND BLANC RD                                                                                              SWARTZ CREEK    MI      48473‐7614
JAMES P OLLILA                    MOTLEY RICE LLC                28 BRIDGESIDE BLVD          PO BOX 1792                                           MT PLEASANT     SC      29465
JAMES P PEGONI                    423 GLENWOOD AVENUE                                                                                              ROCHESTER       NY      14613‐2209
JAMES P RAHIJA                    3748 N 124TH ST                                                                                                  KANSAS CITY     KS      66109‐4217
JAMES P REESE                     RT # 2 PO BOX 64‐62                                                                                              CRISSELD        MD      21817‐9802
JAMES P RESHEL                    S65 W27784 RIVER RD                                                                                              WAUKESHA        WI      53188
JAMES P ROBINSON                  C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                                         HOUSTON         TX      77007
                                  BOUNDAS LLP
JAMES P RUANE                     1408 CHESTNUT BLVD                                                                                               CUYAHOGA FLS    OH      44223‐2345
JAMES P SCHOULTEN                 3550 FLORAWOOD CT                                                                                                RIVERSIDE       CA      92505‐3517
JAMES P SESSLAR                   PO. BOX 359                                                                                                      WAYNESVILLE     OH      45068
JAMES P SMITH                     5517 ANNE LANE                                                                                                   DAYTON          OH      45459‐1603
JAMES P STIENS                    3270 STATE ROUTE 132                                                                                             CLARKSVILLE     OH      45113‐9682
JAMES P STUBBLEFIELD              155 MAIN ST                                                                                                      CADIZ           KY      42211
JAMES P SUDANO                    35 GEORGE ST                                                                                                     NILES           OH      44446‐2723
JAMES P SWANNER                   1027 SAGEWOOD LN                                                                                                 SALISBURY       NC      28146
JAMES P THOMPSON                  1113 GILMAN ST                                                                                                   RUSTON          LA      71270‐5529
JAMES P TIFFIN JR.                16670 THIBODAUX DR                                                                                               TYLER           TX      75703‐7795
JAMES P TROWBRIDGE                3915 WOBURN AVE # 3                                                                                              CLEVELAND       OH      44109‐‐ 38
JAMES P TRUPIANO                  1598 DETROIT AVE                                                                                                 LINCOLN PARK    MI      48146‐3217
JAMES P URIBE                     33121 KARIN APT #206                                                                                             STERLING HGTS   MI      48077
JAMES P VAUGHN                    367 STEWART ST.                                                                                                  WARREN          OH      44483
JAMES P VAUGHN JR                 328 N BASSLER ST                                                                                                 MARTINSBURG     PA      16662
JAMES P WENDEL                    457 LOWES ST                                                                                                     DAYTON          OH      45409‐2439
JAMES P WENDLING                  4302 LUTHERAN CHURCH RD                                                                                          GERMANTOWN      OH      45327‐9570
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Name              Address1                         Address2                       Address3    Address4               City            State   Zip
JAMES P WHITE     1616 BERWIN AVENUE                                                                                 KETTERING        OH     45429‐4811
JAMES P WYATT     68358 LAKE ANGELA DR                                                                               RICHMOND         MI     48062‐1692
JAMES P YOST      939 WESTMINSTER PLACE                                                                              DAYTON           OH     45419‐3760
JAMES P. HILL     C/O MARTIN E. JACOBS, INC.       3415 SO. SEPULVEDA BOULEVARD   SUITE 320                          LOS ANGELES      CA     90034
JAMES PAAS JR     6566 LONNEE CT NW                                                                                  COMSTOCK PARK    MI     49321‐9763
JAMES PACE        1815 MANSFIELD ST                                                                                  INDIANAPOLIS     IN     46202‐1043
JAMES PACE        2116 NAVAJO TRL                                                                                    PIQUA            OH     45356‐8285
JAMES PACE        398 BOYD ST                                                                                        PONTIAC          MI     48342‐1922
JAMES PACE        1220 51ST AVE APT 203                                                                              ROCK ISLAND       IL    61201‐6886
JAMES PACE        2330 FOREST HILL AVE                                                                               FLINT            MI     48504‐7187
JAMES PACE        PO BOX 317                                                                                         HARRISBURG       AR     72432‐0317
JAMES PACHECO     PO BOX 342                                                                                         WESTPORT         MA     02790‐0342
JAMES PACIOREK    13077 COUNTRY CLUB DR                                                                              CLIO             MI     48420‐8200
JAMES PACK        4174 TAREYTON DR                                                                                   BELLBROOK        OH     45305‐1174
JAMES PACK        6509 EDGEHURST DR                                                                                  BROOK PARK       OH     44142‐3725
JAMES PACTOR
JAMES PADDOCK     PO BOX 115                                                                                         BRONSTON        KY      42518‐0115
JAMES PADDOCK     2091 WALLER ROAD                                                                                   EPPS            LA      71237‐9349
JAMES PADGETT     1554 DALE CT                                                                                       GREENFIELD      IN      46140‐7113
JAMES PADGETTE    7105 FOX HOLLOW CIR                                                                                SHREVEPORT      LA      71107‐9018
JAMES PAEHLIG     6228 WHITE ACRE DR                                                                                 LAKE            MI      48632‐8927
JAMES PAGE        10631 N 24TH ST                                                                                    PLAINWELL       MI      49080‐8903
JAMES PAGE        BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS      OH      44236
JAMES PAIGE       14043 FENTON                                                                                       REDFORD         MI      48239‐2807
JAMES PAINTER     7150 BURLAT LN                                                                                     NOBLESVILLE     IN      46062‐8489
JAMES PAINTER     3359 SHANNON RD                                                                                    BURTON          MI      48529‐1830
JAMES PAJOT       2432 VENETIAN CT                                                                                   FENTON          MI      48430‐1046
JAMES PALASTY     28722 SQUIRE DR                                                                                    CHESTERFIELD    MI      48047‐3786
JAMES PALINSKY    3426 STEELE ST                                                                                     MCKEESPORT      PA      15132‐5511
JAMES PALMER      4800 DUVALL RD LOT 219           C/O DAVID STAFFORD                                                ASHVILLE        OH      43103‐9337
JAMES PALMER      5621 COTTAGE LN                                                                                    CLERMONT        GA      30527‐2236
JAMES PALMER      3318 HAROLD ST                                                                                     FLINT           MI      48503‐4106
JAMES PALMER      9306 HIGHWAY O                                                                                     ODESSA          MO      64076‐7402
JAMES PALMER      554 TWILLA TRL                                                                                     AZLE            TX      76020‐1324
JAMES PALMER      PO BOX 367                                                                                         SAGINAW         MI      48606‐0367
JAMES PALMER      1703 FITZHUGH ST                                                                                   BAY CITY        MI      48708‐7950
JAMES PALMER      PO BOX 481                                                                                         EUFAULA         AL      36072‐0481
JAMES PALMER      BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS      OH      44236
JAMES PALMERI     1852 LIVE OAK DR                                                                                   SHREVEPORT      LA      71118‐2216
JAMES PALMIERI    17701 HERON LN                                                                                     FORT MYERS      FL      33908‐6179
JAMES PALO        18229 W MAUI LN                                                                                    SURPRISE        AZ      85388‐7541
JAMES PALSO       11131 E POTTER RD                                                                                  DAVISON         MI      48423‐8154
JAMES PALUCH      40376 FOREST GROVE RIDGE RD                                                                        CALDWELL        OH      43724‐9597
JAMES PALUMBARO   17 GUARDIAN DR                                                                                     ROCHESTER       NY      14610‐2327
JAMES PALUMBO     314 REBECCA DR                                                                                     ALAMO           TX      78516‐2583
JAMES PANARETOS   1393 FAIRFAX ST                                                                                    BIRMINGHAM      MI      48009‐1081
JAMES PANESCON    927 BROOKLYN AVE                                                                                   SALEM           OH      44460‐1841
JAMES PANFILIO    17W465 EARL CT                                                                                     DARIEN          IL      60561‐5107
JAMES PANFILIO    C/O CONNEY AND CONWAY            120 NORTH LASALLE 30TH FLOOR                                      CHICAGO         IL      60602
JAMES PANGLE      129 OBERLIN RD                                                                                     PENNSVILLE      NJ      08070‐3344
JAMES PANIK       14541 EUCLID AVE                                                                                   ALLEN PARK      MI      48101‐2927
JAMES PANTEA      5482 W RADIO RD                                                                                    AUSTINTOWN      OH      44515‐1824
JAMES PANTER      4351 W MAPLE AVE                                                                                   FLINT           MI      48507‐3125
JAMES PANTER      C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS      OH      44236
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Name              Address1                        Address2                     Address3   Address4               City               State   Zip
JAMES PANUS       1137 NE DAVIDSON CT                                                                            KANSAS CITY         MO     64118‐5912
JAMES PAPARONE    BEVAN & ASSOCIATES & LPA INC    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS          OH     44236
JAMES PAPIEZ      9151 COOLEY LAKE RD                                                                            WHITE LAKE          MI     48386‐4033
JAMES PAPINEAU    PO BOX 436                                                                                     NAUBINWAY           MI     49762‐0436
JAMES PAPP        136 SAVOY AVE                                                                                  DAYTON              OH     45449‐1725
JAMES PAPPAS      1297 SPRINGWOOD CT                                                                             HOWELL              MI     48843‐7032
JAMES PARAMO      4477 BELSAY RD                                                                                 GRAND BLANC         MI     48439‐9120
JAMES PARDEE      1879 4TH ST                                                                                    SHELBYVILLE         MI     49344‐9722
JAMES PARELLA     35 RUTLEDGE CT                                                                                 E BRUNSWICK         NJ     08816‐4020
JAMES PARHAM      1317 VICTOR AVE                                                                                LANSING             MI     48910‐2571
JAMES PARHAM      701 BURKE GLEN RD                                                                              TOLEDO              OH     43607‐2505
JAMES PARISE      2685 OAK FOREST DR                                                                             NILES               OH     44446‐4460
JAMES PARISH      3437 LAKESIDE DR                                                                               MINERAL RIDGE       OH     44440‐9738
JAMES PARK        215 HARRISON AVE                                                                               BUFFALO             NY     14223‐1608
JAMES PARKER      27160 NEWBERRY BLVD                                                                            BROWNSTOWN          MI     48134‐6020
JAMES PARKER      1303 MEANWELL RD                                                                               DUNDEE              MI     48131‐9717
JAMES PARKER      34235 SANDPEBBLE DR                                                                            STERLING HEIGHTS    MI     48310‐5557
JAMES PARKER      389 N CHARLES AVE                                                                              INVERNESS           FL     34453‐8938
JAMES PARKER      16215 BRANDT ST                                                                                ROMULUS             MI     48174‐3212
JAMES PARKER      515 FAIRWAY WALK DR                                                                            LAWRENCEVILLE       GA     30043‐6035
JAMES PARKER      1100 E TAYLOR ST                                                                               KOKOMO              IN     46901‐4913
JAMES PARKER      1417 MAYBERRY LN                                                                               FRANKLIN            TN     37064‐9612
JAMES PARKER      5417 GREY DR                                                                                   SYLVANIA            OH     43560‐2411
JAMES PARKER      7602 PARKER RD                                                                                 CASTALIA            OH     44824‐9742
JAMES PARKER      3510 HYDE RD                                                                                   CARSONVILLE         MI     48419‐9222
JAMES PARKER      3318 N DECATUR BLVD UNIT 1004                                                                  LAS VEGAS           NV     89130‐3232
JAMES PARKER      181 E MARGARET ST                                                                              DETROIT             MI     48203‐4412
JAMES PARKER      63 SPRINGVIEW DR                                                                               BRANDON             MS     39042‐2308
JAMES PARKER      5687 SALEM RD                                                                                  LITHONIA            GA     30038‐1632
JAMES PARKER      278 VANSICKLE DR                                                                               CHARLOTTE           MI     48813‐8159
JAMES PARKER      15284 COLLINGHAM DR                                                                            DETROIT             MI     48205‐1343
JAMES PARKER      551 BOWMAN ST                                                                                  MANSFIELD           OH     44903‐1206
JAMES PARKER      5500 SEYMOUR LAKE RD                                                                           OXFORD              MI     48371‐4143
JAMES PARKER      9117 LAHRING RD                                                                                GAINES              MI     48436‐9769
JAMES PARKER      5517 EAGLE TRACE DR                                                                            SYLVANIA            OH     43560‐4224
JAMES PARKER      211 CHAPEL LN                                                                                  CANFIELD            OH     44406‐1206
JAMES PARKER      12134 SPRING ARBOR RD                                                                          CONCORD             MI     49237‐9722
JAMES PARKER      5172 MONTICELLO DR                                                                             SWARTZ CREEK        MI     48473‐8252
JAMES PARKER      BEVAN & ASSOCIATES, LPA, INC    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS          OH     44236
JAMES PARKER      15763 SNOWDEN ST                                                                               DETROIT             MI     48227
JAMES PARKER JR   173 AMY LN                                                                                     BENTON              LA     71006‐9690
JAMES PARKER JR   18897 DEAN ST                                                                                  DETROIT             MI     48234‐2025
JAMES PARKHURST   624 RIVER AVE                                                                                  ALEXANDRIA          IN     46001‐2225
JAMES PARKS       1496 NOBLE RD                                                                                  WILLIAMSTON         MI     48895‐9751
JAMES PARKS       4005 MAR MOOR DR                                                                               LANSING             MI     48917‐1611
JAMES PARKS       22925 BROOKDALE BLVD                                                                           ST CLAIR SHRS       MI     48082‐2137
JAMES PARKS       8127 TEACHOUT RD                                                                               OTISVILLE           MI     48463‐9418
JAMES PARKS       610 MORTON AVE APT A                                                                           MARTINSVILLE        IN     46151‐2779
JAMES PARKS       1019 W MCKAY RD                                                                                SHELBYVILLE         IN     46176‐3204
JAMES PARKS       4826 TENSHAW DR                                                                                DAYTON              OH     45418‐1932
JAMES PARKS       99 GRUMMAN AVE                                                                                 NEWARK              NJ     07112‐2218
JAMES PARKS       404 HICKORY LN                                                                                 WATERFORD           MI     48327‐2572
JAMES PARKS       4111 PEMBERTON CT                                                                              ELLICOTT CITY       MD     21043‐6060
JAMES PARKS JR    1600 SHAKER HEIGHTS DR                                                                         BLOOMFIELD          MI     48304‐1148
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Name                    Address1                         Address2            Address3         Address4               City               State   Zip
JAMES PARKS SR          #330 5065 STATE ST                                                                           SAGINAW             MI     48603
JAMES PARLOW            15 JOHNSON CHAPEL RD                                                                         TRENTON             TN     38382‐9718
JAMES PARMENTER         10037 E PALISADES RD                                                                         SUTTONS BAY         MI     49682‐8402
JAMES PARNELL           310 HEATHERTON RD                                                                            FLORENCE            AL     35633‐1596
JAMES PAROLINE          13 THISTLE LN                                                                                ESSEX JUNCTION      VT     05452‐2654
JAMES PARR              787 MOON PLACE RD                                                                            LAWRENCEVILLE       GA     30044‐5912
JAMES PARR              1607 BLUE RIDGE DR                                                                           LANSING             MI     48917‐9557
JAMES PARR              1201 KURTZ RD                                                                                HOLLY               MI     48442‐8314
JAMES PARR              315 DENISE RD                                                                                ROCHESTER           NY     14612‐4930
JAMES PARRISH           4690 GREENLEAF CIR SW                                                                        ATLANTA             GA     30331‐7142
JAMES PARRISH           1201 36TH ST                                                                                 EDGEWATER           FL     32141‐6711
JAMES PARRISH           705 APPLEWOOD DR                                                                             NEW CARLISLE        OH     45344‐1144
JAMES PARRISH           135 W FACTORY RD                                                                             SPRINGBORO          OH     45066‐1233
JAMES PARRITT & ASSOC   PO BOX 2851                                                                                  TOLEDO              OH     43606‐0851
JAMES PARROTT           PO BOX 3488                                                                                  CENTER LINE         MI     48015‐0488
JAMES PARROTT           PO BOX 99                                                                                    CALEDONIA           MO     63631‐0099
JAMES PARSACA           PO BOX 15704                                                                                 LAS VEGAS           NV     89114‐5704
JAMES PARSON            1001 W WASHINGTON ST                                                                         EAST PRAIRIE        MO     63845‐1000
JAMES PARSON JR         436 STAFFORD ST                                                                              WASHINGTON          MO     63090‐1940
JAMES PARSONS           37299 ROBINDALE CT                                                                           CLINTON TWP         MI     48036‐1640
JAMES PARSONS           201 W BIRCH ST                                                                               LITCHFIELD          MI     49252‐9637
JAMES PARSONS           3649 REVERE DR                                                                               TOLEDO              OH     43612‐1032
JAMES PARSONS           133 CROMWELL LN                                                                              CROSSVILLE          TN     38558‐7146
JAMES PARTIN            8446 AUSTIN BOTTOM RD                                                                        BAXTER              TN     38544‐4805
JAMES PARTIN            898 SPRING CREEK RD                                                                          LAFAYETTE           TN     37083‐4202
JAMES PARTIN            329 MAGOTHY BLVD                                                                             PASADENA            MD     21122‐5029
JAMES PARTIN            39770 LYNN ST                                                                                CANTON              MI     48187‐4220
JAMES PARTLOW           3485 S 975 W                                                                                 TIPTON              IN     46072‐9042
JAMES PARTLOW           4249 DILLON RD                                                                               FLUSHING            MI     48433‐9745
JAMES PARTLOW JR        133 NUTWOOD DR                                                                               TALLMADGE           OH     44278‐3016
JAMES PARTON            128 CASCADE SPRING RD                                                                        HOHENWALD           TN     38462‐2016
JAMES PARTRIDGE         5150 HORSTMAN RD                                                                             WILLIAMSTON         MI     48895‐9558
JAMES PARTYKA           862 HAWKSMOORE DR                                                                            CLARKSTON           MI     48348‐3632
JAMES PARUCKI           3682 WOODHAVEN CIR                                                                           HAMBURG             NY     14075‐2260
JAMES PASANELLO         WEITZ & LUXENBERG PC             700 BROADWAY                                                NEW YORK CITY       NY     10003
JAMES PASCHAL           3305 W TORQUAY RD                                                                            MUNCIE              IN     47304‐3238
JAMES PASCHALL          3037 BRIARCHASE CT                                                                           INDIANAPOLIS        IN     46268‐5049
JAMES PASK              2849 MARSHALL RD                                                                             MEDINA              NY     14103‐9638
JAMES PASSANTINO        5905 QUIVIRA RD                                                                              SHAWNEE             KS     66216‐2037
JAMES PASTORIA          13186 KINLOCK DR                                                                             STERLING HEIGHTS    MI     48312‐1564
JAMES PASTVA            PO BOX 38112                                                                                 OLMSTED FALLS       OH     44138‐0112
JAMES PATANIA           8131 BLACK OAK DR                                                                            LAMBERTVILLE        MI     48144‐9324
JAMES PATCH             2123 HAMSTEAD RD NW                                                                          GRAND RAPIDS        MI     49504‐4703
JAMES PATE SR           206 YOUNG DR                                                                                 LODI                OH     44254‐1230
JAMES PATEFIELD         1803 TENEYCK ST                                                                              JACKSON             MI     49203‐2058
JAMES PATERSON          1227 SEWARD ST                                                                               LOS ANGELES         CA     90038
JAMES PATNOUDE JR       10955 JORDAN CT                                                                              ALLENDALE           MI     49401‐7304
JAMES PATON             3405 WATTERSON ST                                                                            KINGSPORT           TN     37660‐1094
JAMES PATRICK           313 HAMILTON ST                                                                              FORTVILLE           IN     46040‐1012
JAMES PATRICK           325 BRIDGES RD                                                                               DOWNSVILLE          LA     71234‐4909
JAMES PATRICK           619 N CHESTNUT ST                                                                            OLATHE              KS     66061‐2605
JAMES PATRICK           4235 COMSTOCK AVE                                                                            FLINT               MI     48504
JAMES PATRICK           6485 N STATE RD                                                                              ORLEANS             MI     48865‐9623
JAMES PATRICK           6527 HILLIARD RD                                                                             LANSING             MI     48911‐5627
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Name                    Address1                        Address2                     Address3      Address4               City            State   Zip
JAMES PATRICK           PO BOX 171                                                                                        STOCKBRIDGE      MI     49285‐0171
JAMES PATRICK DUNLEVY   2681 DANZ AVE.                                                                                    KETTERING        OH     45420
JAMES PATRZIK           4856 E LECKIE LN                                                                                  SAGINAW          MI     48603‐9630
JAMES PATTERSON         131 LAUREL HILLS LN                                                                               CANFIELD         OH     44406‐7620
JAMES PATTERSON         728 DENNISON AVE                                                                                  DAYTON           OH     45408‐1221
JAMES PATTERSON         3067 ELK CREEK DR                                                                                 SWARTZ CREEK     MI     48473‐8629
JAMES PATTERSON         6992 OAKHURST RIDGE RD                                                                            CLARKSTON        MI     48348‐5054
JAMES PATTERSON         2601 N JOHN B DENNIS HWY        APT 1203                                                          KINGSPORT        TN     37660‐4792
JAMES PATTERSON         23411 STRATFORD CT APT 921                                                                        SOUTHFIELD       MI     48033‐3338
JAMES PATTERSON         4020 LEFEVRE DR                                                                                   KETTERING        OH     45429‐3218
JAMES PATTERSON         1649 E DOROTHY LN APT 19                                                                          DAYTON           OH     45429‐3834
JAMES PATTERSON         1341 CARVER PL                                                                                    HAMILTON         OH     45011‐3303
JAMES PATTERSON         532 KOERNER AVE                                                                                   ENGLEWOOD        OH     45322‐2005
JAMES PATTERSON         2317 N VASSAR RD                                                                                  BURTON           MI     48509‐1382
JAMES PATTERSON         56 GAIN LN                                                                                        NORMAN           AR     71960‐8668
JAMES PATTERSON         493 HIGHVIEW RD                                                                                   BAYFIELD         CO     81122‐9321
JAMES PATTERSON         BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS       OH     44236
JAMES PATTERSON JR      3112 S OPECHEE DR                                                                                 MUNCIE           IN     47302‐5528
JAMES PATTMAN           3210 SOUTHRIDGE                                                                                   STOCKBRIDGE      GA     30281‐5665
JAMES PATTON            10446 CANFIELD DR                                                                                 SAINT LOUIS      MO     63136‐5736
JAMES PATTON            9350 S 82ND AVE                                                                                   HICKORY HILLS     IL    60457‐1912
JAMES PATTON            105 HELTONVILLE RD W                                                                              BEDFORD          IN     47421‐9384
JAMES PATTON            7276 CREEKSIDE CT                                                                                 RAVENNA          OH     44266‐8942
JAMES PATTON            1430 TENNYSON AVE                                                                                 DAYTON           OH     45406‐4259
JAMES PATTON            725 S WOLFE ST                                                                                    MUNCIE           IN     47302‐2639
JAMES PATTON            1370 BELLEVIEW DR                                                                                 IONIA            MI     48846
JAMES PATTON            PO BOX 68                                                                                         TOWNLEY          AL     35587‐0068
JAMES PATZER            4937 SPRING MEADOW DR                                                                             CLARKSTON        MI     48348‐5157
JAMES PAUL              4413 TACOMA BLVD                                                                                  OKEMOS           MI     48864‐2737
JAMES PAUL              3536 RED MINE LN                                                                                  GRAND PRAIRIE    TX     75052‐8801
JAMES PAUL              13420 DUNHAM RD                                                                                   HARTLAND         MI     48353‐2311
JAMES PAUL              102 CONFEDERATE ST                                                                                FITZGERALD       GA     31750‐8600
JAMES PAUL              1005 LESLIE LN                                                                                    GIRARD           OH     44420‐1441
JAMES PAUL              1659 DOUGLAS RD                                                                                   WICKLIFFE        OH     44092‐1003
JAMES PAUL              37 EWER AVE                                                                                       ROCHESTER        NY     14622‐1613
JAMES PAUL              5232 VIA HACIENDA CIR APT 217                                                                     ORLANDO          FL     32839‐2193
JAMES PAUL              BRENT COON & ASSOCIATES         215 ORLEANS                                                       BEAUMONT         TX     77701
JAMES PAUL LEE          MOTLEY RICE LLC                 28 BRIDGESIDE BLVD           PO BOX 1792                          MT PLEASANT      SC     29465
JAMES PAULEY            10132 N UNION RD                                                                                  HILLSBORO        OH     45133‐7820
JAMES PAULI             753 SAINT JAMES PARK AVE                                                                          MONROE           MI     48161‐9064
JAMES PAULIN            38654 GRANDON ST                                                                                  LIVONIA          MI     48150‐3379
JAMES PAULUN            22680 BAYVIEW DR                                                                                  ST CLR SHORES    MI     48081‐2447
JAMES PAVAL             29714 CURTIS RD                                                                                   LIVONIA          MI     48152‐4514
JAMES PAVELEC           500 MAPLE AVE                                                                                     BRISTOL          CT     06010‐2697
JAMES PAVELKA           11568 BREYMAN HWY                                                                                 TIPTON           MI     49287‐9735
JAMES PAVICH            2178 N CENTER RD                                                                                  BURTON           MI     48509‐1041
JAMES PAVLICA           11388 S MORRICE RD                                                                                MORRICE          MI     48857‐8711
JAMES PAVLIK            102 WALPER AVE                                                                                    CLAWSON          MI     48017‐2221
JAMES PAWLOWSKI         2095 TIMBERLINE CT                                                                                MARILLA          NY     14102‐9712
JAMES PAWNELL           1106 RICHARD DR                                                                                   CAHOKIA           IL    62206‐2243
JAMES PAXTON            2431 VANCEVILLE RD                                                                                BOSSIER CITY     LA     71111‐6313
JAMES PAXTON            2534 KOEHLER AVE                                                                                  TOLEDO           OH     43613‐2619
JAMES PAXTON            306 3RD ST HOLLAWAY TERR                                                                          NEW CASTLE       DE     19720
JAMES PAXTON            11690 COYLE ST                                                                                    DETROIT          MI     48227‐2426
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JAMES PAYNE           45100 W 10 MILE RD                                                                               NOVI                 MI     48375‐3011
JAMES PAYNE           808 JOSEPH ST                                                                                    BAY CITY             MI     48706‐5508
JAMES PAYNE           3390 E MOUNT MORRIS RD                                                                           MOUNT MORRIS         MI     48458‐8958
JAMES PAYNE           52 BRADFORD ST                                                                                   JACKSONVILLE         AL     36265‐5900
JAMES PAYNE           4190 S STATE ROUTE 721                                                                           LAURA                OH     45337‐9748
JAMES PAYNE           4035 RELIANT CIR                                                                                 OWENSBORO            KY     42301‐0024
JAMES PAYNE           660 E LAKE LN                                                                                    CINCINNATI           OH     45244‐1364
JAMES PAYNE           103 DALTON AVE                                                                                   ROSCOMMON            MI     48653‐7669
JAMES PAYNE JR        31306 HEATHERSTONE DR                                                                            WESLEY CHAPEL        FL     33543‐6812
JAMES PAYTON          7610 ROSELAKE DR                                                                                 DAYTON               OH     45414‐2253
JAMES PAYTON          7133 SANDALWOOD DR                                                                               INDIANAPOLIS         IN     46217‐4143
JAMES PAYTON          4126 STERLING ST                                                                                 FLINT                MI     48504‐2290
JAMES PAYTON          6108 PALMETTO DR                                                                                 MOUNT MORRIS         MI     48458‐2830
JAMES PAZIENZA        C/O COONEY AND CONWAY           120 NORTH LASALLE 30TH FLOOR                                     CHICAGO               IL    60602
JAMES PEABODY         175 IONIA ST                    BOX 131                                                          MUIR                 MI     48860
JAMES PEABODY         10518 SUNFIELD RD                                                                                SUNFIELD             MI     48890‐9040
JAMES PEACE           2243 SALT SPRINGS ROAD                                                                           MC DONALD            OH     44437‐1115
JAMES PEACO           10292 STUEBENVILLE PIKE RD                                                                       LISBON               OH     44432
JAMES PEACOCK         157 POLK LN                                                                                      FITZGERALD           GA     31750‐6302
JAMES PEACOCK I I I   2586 CORVUS ST                                                                                   HENDERSON            NV     89044‐1594
JAMES PEAPHON         2239 W CURTIS RD                                                                                 SAGINAW              MI     48601‐9775
JAMES PEARCE          PO BOX 21502                                                                                     ST PETERSBURG        FL     33742‐1502
JAMES PEARCE          6840 GAHONA AVE                                                                                  ALLEN PARK           MI     48101‐2544
JAMES PEARCE          4583 HILLVIEW SHRS                                                                               CLARKSTON            MI     48348‐2326
JAMES PEARCE          4807 RIVERVIEW AVE                                                                               MIDDLETOWN           OH     45042‐3048
JAMES PEARCY          2314 GRIFFIN LN                                                                                  INDIANAPOLIS         IN     46234‐1100
JAMES PEARISO         7234 SHERWOOD LN                                                                                 DAVISON              MI     48423‐2355
JAMES PEARSON         122 COUNTY ROAD 405                                                                              OXFORD               MS     38655‐9205
JAMES PEARSON         1345 LOCK 5 RD                                                                                   ROUNDHILL            KY     42275
JAMES PEARSON         15017 W 71ST TER                                                                                 SHAWNEE              KS     66216‐4012
JAMES PEARSON         G 9333 WEST POTTER RD                                                                            FLUSHING             MI     48433
JAMES PEARSON         401 DILDINE RD                                                                                   IONIA                MI     48846‐9564
JAMES PEARSON         325 NORTHDALE DR                                                                                 TOLEDO               OH     43612‐3674
JAMES PEAVLER         8731 WHISPERING WOODS DR                                                                         FORT WAYNE           IN     46804‐6710
JAMES PECK            11801 WOODBURY RD                                                                                LAINGSBURG           MI     48848‐9384
JAMES PECK            1118 W CROSS ST APT 134                                                                          ANDERSON             IN     45011‐9535
JAMES PECK            241 ROUTE 127                                                                                    WEST MANCHESTER      OH     45382

JAMES PECORARO        1465 C ST UNIT 3614                                                                              SAN DIEGO           CA      92101‐5742
JAMES PEEK            2436 MONTEREY DR                                                                                 KALAMAZOO           MI      49004‐1009
JAMES PEEK            608 ASHWOOD DR                                                                                   FLUSHING            MI      48433‐1331
JAMES PEEL            216 N 16TH ST                                                                                    ELWOOD              IN      46036‐1501
JAMES PEEL            11398 GRAND BLANC RD                                                                             GAINES              MI      48436‐9744
JAMES PEERY           2419 FAYETTE ST                                                                                  NORTH KANSAS CITY   MO      64116‐3054

JAMES PEET JR         924 POLO PL                                                                                      AUBURN HILLS        MI      48326‐3679
JAMES PEGG            805 TRUMBULL DR                                                                                  NILES               OH      44446‐2125
JAMES PEGUESE JR      3752 11TH ST                                                                                     ECORSE              MI      48229‐1302
JAMES PEIFFER         4649 SYCAMORE ST                                                                                 HOLT                MI      48842‐1573
JAMES PEIRSON         1108 E MARSHALL ST                                                                               MARION              IN      46952‐3049
JAMES PEITZ           1279 OBIE ST                                                                                     DAYTON              OH      45432‐1562
JAMES PEITZ           1279 OBIE ST.                                                                                    DAYTON              OH      45432‐1562
JAMES PELACCIO        8970 KINLOCH                                                                                     REDFORD             MI      48239‐1827
JAMES PELFREY         2454 BRAHMS BLVD                                                                                 DAYTON              OH      45449‐3357
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JAMES PELIKAN      7137 GILLETTE RD                                                                                 FLUSHING           MI     48433‐9207
JAMES PELLERIN     2086 ANOKA ST                                                                                    FLINT              MI     48532‐4511
JAMES PELLOW SR    405 BALSAM DR                                                                                    DAVISON            MI     48423‐1801
JAMES PELOSI       11 MCKINLEY AVE                                                                                  COLONIA            NJ     07067‐2309
JAMES PELTIER      9802 NORMAN RD                                                                                   GREENWOOD          MI     48006‐2204
JAMES PELTIER      11848 CURWOOD DR                                                                                 GRAND BLANC        MI     48439‐1158
JAMES PELTON       4162 MANCELONA RD                                                                                MANCELONA          MI     49659‐9181
JAMES PEMBROKE     2870 MIDLAND RD                                                                                  BAY CITY           MI     48706‐9266
JAMES PENDER       MOTLEY RICE LLC                28 BRIDGESIDE BLVD           PO BOX 1792                          MT PLEASANT        SC     29465
JAMES PENIX        5415 CARLETON ROCKWOOD RD                                                                        SOUTH ROCKWOOD     MI     48179‐9761

JAMES PENN         1409 WEBSTER ST                                                                                  BAY CITY          MI      48708‐8359
JAMES PENNA        8959 W WANETA LAKE RD                                                                            HAMMONDSPORT      NY      14840‐9570
JAMES PENNEY       445 N KING ST                                                                                    XENIA             OH      45385‐2207
JAMES PENNINGTON   4312 SPRINGFIELD ST                                                                              BURTON            MI      48509‐1842
JAMES PENNINGTON   5980 BURT RD                                                                                     BIRCH RUN         MI      48415‐8778
JAMES PENNINGTON   3316 FERNBIRD LN                                                                                 NORTH LAS VEGAS   NV      89084‐2449
JAMES PENNINGTON   4367 BAKER RD                                                                                    ALGER             MI      48610‐9518
JAMES PENNINGTON   5251 DARBY ST                                                                                    FLINT             MI      48532‐4150
JAMES PENNINGTON   12348 CANADA RD                                                                                  BIRCH RUN         MI      48415‐9726
JAMES PENNY        8849 JENNINGS STATION RD                                                                         SAINT LOUIS       MO      63136‐6312
JAMES PENNYCOOK    425 LONGWOOD DR                                                                                  JANESVILLE        WI      53548‐3232
JAMES PENROD       880 NASH RD                                                                                      N TONAWANDA       NY      14120‐3423
JAMES PENSON       5728 GRAYTON ST                                                                                  DETROIT           MI      48224‐2052
JAMES PEOPLES      742 23RD ST NW                                                                                   FAYETTE           AL      35555‐1029
JAMES PEPPER       3047 HOLLY SPRINGS RD                                                                            MARIETTA          GA      30062‐6655
JAMES PEPPIN       7152 CALKINS RD                                                                                  FLINT             MI      48532‐3008
JAMES PERANDER     613 W LINCOLN AVE                                                                                ROYAL OAK         MI      48067‐3135
JAMES PERDEW       9618 CONMAR RD                                                                                   MIDDLE RIVER      MD      21220‐1711
JAMES PERDUE       1041 US 224                                                                                      NOVA              OH      44859
JAMES PEREIDA      PO BOX 80585                                                                                     LANSING           MI      48908‐0585
JAMES PERIGO       D‐10011SPRINGFIELD CR                                                                            DAVISBURG         MI      48350
JAMES PERILLO      46 EAST UNION STREET                                                                             BORDENTOWN        NJ      08505‐2073
JAMES PERISO       2569 CLARK RD                                                                                    LAPEER            MI      48446‐9300
JAMES PERKEY       4051 PARK AVE WEST RD RT 12                                                                      MANSFIELD         OH      44903
JAMES PERKINS      2547 DRIFTWOOD DR                                                                                WATERFORD         MI      48329‐4809
JAMES PERKINS      5 ANDERSON RD                                                                                    ATKINSON          ME      04426‐6037
JAMES PERKINS      2266 GOVERNMENT RD                                                                               PROVIDENCE        KY      42450‐9434
JAMES PERKINS      11325 LAWRENCE HWY                                                                               NASHVILLE         MI      49073‐9101
JAMES PERKINS      PO BOX 680162                                                                                    PRATTVILLE        AL      36068‐0162
JAMES PERKINS      113 CRESCENT DR                                                                                  NOCONA            TX      76255‐9376
JAMES PERKINS      737 WALLACE DEAN RD                                                                              WEST MONROE       LA      71291‐7752
JAMES PERKINS      1876 NORTHWOOD PLZ                                                                               FRANKLIN          IN      46131‐1037
JAMES PERKINS      6231 BURNING TREE LN                                                                             SPRING HILL       FL      34606‐3661
JAMES PERKINS      BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS        OH      44236
JAMES PERKINS JR   1384 TRUMBULL AVE SE                                                                             WARREN            OH      44484‐4580
JAMES PERREAULT    3012 NICCOLET PL                                                                                 BAY CITY          MI      48706‐2730
JAMES PERRIN       11820 JARVIS ST                                                                                  LIVONIA           MI      48150‐2451
JAMES PERRIN       9468 PUTTYGUT RD                                                                                 CASCO             MI      48064‐1811
JAMES PERRIN       4276 ESCAPE DR APT 302                                                                           KALAMAZOO         MI      49006‐6760
JAMES PERRINE      1412 PIERCE AVE                                                                                  SHARPSVILLE       PA      16150‐1053
JAMES PERRY        5902 BADAL DR                                                                                    LOWELLVILLE       OH      44436‐1180
JAMES PERRY        74 STEMMERS RUN RD                                                                               BALTIMORE         MD      21221‐3630
JAMES PERRY        235 S LEXINGTON AVE APT 6P                                                                       WHITE PLAINS      NY      10606‐2527
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Name                 Address1                             Address2                     Address3     Address4               City            State   Zip
JAMES PERRY          5206 JOHNSON ST                                                                                       GREENWOOD        IN     46143‐8965
JAMES PERRY          1027 COREY LN                                                                                         PLAINFIELD       IN     46168‐2388
JAMES PERRY          2464 CASS LAKE RD                                                                                     KEEGO HARBOR     MI     48320‐1421
JAMES PERRY          8016 CORBIN CT                                                                                        MOUNT MORRIS     MI     48458‐9370
JAMES PERRY          217 S DOBSON ST                                                                                       WESTLAND         MI     48186‐4336
JAMES PERRY          906 W HIBBARD RD                                                                                      OWOSSO           MI     48867‐8900
JAMES PERRY          3822 HICKORY HILL DR                                                                                  SOMERSET         KY     42503‐9107
JAMES PERRY          1001 PEMBURY PL                                                                                       TROY             OH     45373‐1158
JAMES PERRY          15624 HELEN ST                                                                                        SOUTHGATE        MI     48195‐2019
JAMES PERRY
JAMES PERRY JR       493 COUNTY ROAD 247                                                                                   WEDOWEE         AL      36278‐4065
JAMES PERRYMAN       903 N WOODRIDGE LN                                                                                    LIBERTY         MO      64068‐1372
JAMES PERRYMAN       8003 ARCADIAN SHORES DR                                                                               SHREVEPORT      LA      71129‐4105
JAMES PERRYMOND      4183 E OUTER DR APT 2                                                                                 DETROIT         MI      48234
JAMES PERSICKETTI    374 ELLISDALE RD                                                                                      CHESTERFIELD    NJ      08515‐9660
JAMES PERSON         PO BOX 3361                                                                                           MUNCIE          IN      47307‐3361
JAMES PESSEACKEY
JAMES PETERKIN       THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES            22ND FLOOR                          BALTIMORE       MD      21201

JAMES PETERS         BEVAN & ASSOCIATES, LPA, INC         6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS      OH      44236
JAMES PETERS         11893 GRAFTON RD                                                                                      CARLETON        MI      48117‐9028
JAMES PETERS         6439 HARTWOOD DR                                                                                      FENTON          MI      48430‐8939
JAMES PETERS         1607 S N ST                                                                                           ELWOOD          IN      46036‐2850
JAMES PETERS         PO BOX 19614                                                                                          SHREVEPORT      LA      71149‐0614
JAMES PETERS         4354 E ATHERTON RD                                                                                    BURTON          MI      48519‐1440
JAMES PETERS         6310 E PIERSON RD                                                                                     FLINT           MI      48506‐2256
JAMES PETERS         12939 M 50                                                                                            BROOKLYN        MI      49230‐8339
JAMES PETERS         3606 N RIVER DR                                                                                       NEWAYGO         MI      49337‐8168
JAMES PETERS         11050 BALDWIN RD                                                                                      CHESANING       MI      48616‐9415
JAMES PETERS         1001 SOMERVILLE DR                                                                                    COTTONTOWN      TN      37048‐4801
JAMES PETERS         10282 STANLEY DR                                                                                      CLIO            MI      48420‐7714
JAMES PETERS         2533 WATERSCAPE TRL                                                                                   SNELLVILLE      GA      30078‐7730
JAMES PETERSON       183 TIMBERVIEW DR                                                                                     TROY            MI      48084‐1741
JAMES PETERSON       104 RAINBOW DR PMB 490                                                                                LIVINGSTON      TX      77399‐1004
JAMES PETERSON       4513 NE 20TH ST                                                                                       OKLAHOMA CITY   OK      73121‐7219
JAMES PETERSON       2108 TICE DR                                                                                          CULLEOKA        TN      38451‐2719
JAMES PETERSON       PO BOX 145                                                                                            SWARTZ CREEK    MI      48473‐0145
JAMES PETERSON       1919 CARLTON AVE NE                                                                                   GRAND RAPIDS    MI      49505‐5443
JAMES PETERSON       1910 MAPLE ST                                                                                         SAGINAW         MI      48602‐1042
JAMES PETERSON       4502 DAVISON ROAD                                                                                     HASTINGS        MI      49058‐9154
JAMES PETERSON       5651 FERRET DR                                                                                        BULLHEAD CITY   AZ      86426‐8849
JAMES PETHERS        20621 COUNTRY WALK WAY                                                                                ESTERO          FL      33928‐2200
JAMES PETHERS        9242 DAVISON RD                                                                                       DAVISON         MI      48423‐1042
JAMES PETIO          461 CONANT AVE                                                                                        UNION           NJ      07083‐7722
JAMES PETIPRIN       8107 JENNINGS RD                                                                                      SWARTZ CREEK    MI      48473‐9148
JAMES PETIPRIN I I   12107 E BRISTOL RD                                                                                    DAVISON         MI      48423‐9102
JAMES PETITT         1632 CLEMSON CIR                                                                                      CINCINNATI      OH      45255‐3208
JAMES PETITTI        7249 RIEGLER ST                                                                                       GRAND BLANC     MI      48439‐8516
JAMES PETREE         BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS      OH      44236
JAMES PETRICK        513 W MADISON ST                                                                                      SANDUSKY        OH      44870‐2478
JAMES PETRICK        6568 STATE ROUTE 225                                                                                  RAVENNA         OH      44266‐9295
JAMES PETRIE         473 W 900 N                                                                                           UNIONDALE       IN      46791‐9723
JAMES PETRILLO       33969 MILLS RD                                                                                        N RIDGEVILLE    OH      44039‐2021
JAMES PETRIMOULX     5978 RED FEATHER DR                                                                                   BAY CITY        MI      48706‐3490
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Name                Address1                        Address2                     Address3   Address4               City             State   Zip
JAMES PETRUCELLI    34 QUINCY TER                                                                                  BARNEGAT          NJ     08005‐3318
JAMES PETTI         427 CROSS RD                                                                                   ABERDEEN          NJ     07747‐2874
JAMES PETTIBONE     PO BOX 628                                                                                     LEWISTON          MI     49756‐0628
JAMES PETTIGREW     2712 SHAWNEE DR                                                                                ANDERSON          IN     46012‐1332
JAMES PETTUS        4313 MEADOWBROOK CT                                                                            GRAND BLANC       MI     48439‐7322
JAMES PETTUS        20487 EL NIDO AVE                                                                              PERRIS            CA     92571‐8700
JAMES PETTUS        9308 CRAFTON DR                 C/O JANICE MORLEY                                              SWARTZ CREEK      MI     48473‐9710
JAMES PETTY         3543 NEEDHAM RD                                                                                WAYCROSS          GA     31503‐9381
JAMES PETTY         2708 ELLIS RD NW                                                                               KENNESAW          GA     30152‐3214
JAMES PETTY         8380 MISTY MDWS                                                                                GRAND BLANC       MI     48439‐7427
JAMES PETTY         1184 BETH DR                                                                                   LAPEER            MI     48446‐3014
JAMES PETTY         2386 EUGENE ST                                                                                 BURTON            MI     48519‐1354
JAMES PETTY         3407 ERHARDT DR                                                                                MOUNT MORRIS      MI     48458‐9404
JAMES PETTY         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH     44236
JAMES PETTYES       7571 WOODCLIFF DR                                                                              HUDSONVILLE       MI     49425‐9156
JAMES PETTYJOHN
JAMES PEW           42476 PROCTOR RD                                                                               CANTON            MI     48188‐1150
JAMES PEW           514 N SALIDA DEL SOL                                                                           CHANDLER          AZ     85224‐4242
JAMES PEWITT        1915 MEADOW RIDGE DR                                                                           COMMERCE          MI     48390‐2655
                                                                                                                   TOWNSHIP
JAMES PEYTON        32 STECHER ST                                                                                  STATEN ISLAND    NY      10312‐4410
JAMES PEYTON        4510 MANCHESTER RD                                                                             MIDDLETOWN       OH      45042‐3816
JAMES PEZOR         218 RUMSEY RD                                                                                  COLUMBUS         OH      43207‐3866
JAMES PFAFF         3624 MAPLE DR                                                                                  YPSILANTI        MI      48197‐3783
JAMES PFEIFFER      762 HAWICK CIRCLE                                                                              MOUNT MORRIS     MI      48458‐8718
JAMES PFLEGER       32 WOODSIDE PARK BLVD                                                                          PLEASANT RIDGE   MI      48069‐1041
JAMES PHEGLEY       701 MARY CT                                                                                    FENTON           MI      48430‐1416
JAMES PHELPS        3837 WILLOW CREEK DR                                                                           DAYTON           OH      45415‐2036
JAMES PHELPS        115 TIMBER TRL                                                                                 BROOKLYN         MI      49230‐9380
JAMES PHELPS        1534 N GEECK RD                                                                                CORUNNA          MI      48817‐9765
JAMES PHELPS        5324 VINEYARD LN                                                                               FLUSHING         MI      48433‐2438
JAMES PHELPS        1107 S FULLHART DR                                                                             MUNCIE           IN      47302‐2768
JAMES PHELPS        10661 W DIVISION RD                                                                            YORKTOWN         IN      47396‐9660
JAMES PHELPS        THE MADEKSHO LAW FIRM           8866 GULF FREEWAY STE 440                                      HOUSTON          TX      77017
JAMES PHILBECK JR   4009 W 400 S                                                                                   HUNTINGTON       IN      46750‐9164
JAMES PHILBECK SR   4177 E 900 S                                                                                   LA FONTAINE      IN      46940‐8935
JAMES PHILBERT II   312 W 29TH ST                                                                                  ANDERSON         IN      46016‐5902
JAMES PHILIP        14019 BERKSHIRE ST                                                                             RIVERVIEW        MI      48193‐7517
JAMES PHILLIP D     14131 MARE LN                                                                                  VICTORVILLE      CA      92394‐7528
JAMES PHILLIPS      15 RIDGE BLVD                                                                                  WILMINGTON       DE      19808‐1033
JAMES PHILLIPS      173 MCGINNIS RD                                                                                SCOTTSVILLE      NY      14546‐9734
JAMES PHILLIPS      3371 MARIGOLD CIR                                                                              COSTA MESA       CA      92626‐1724
JAMES PHILLIPS      5225 S GENESEE RD                                                                              GRAND BLANC      MI      48439‐7914
JAMES PHILLIPS      1431 LEDGEWOOD DR                                                                              CANTON           MI      48188‐1134
JAMES PHILLIPS      5857 S WEST BIRCH POINT LOOP                                                                   BRIMLEY          MI      49715‐9282
JAMES PHILLIPS      335 OLD FARM RD                                                                                FAYETTEVILLE     GA      30215‐5808
JAMES PHILLIPS      1681 GREGORY AVE                                                                               LINCOLN PARK     MI      48146‐3511
JAMES PHILLIPS      333 DAVIS MEMORIAL DR                                                                          CASTLEWOOD       VA      24224‐6217
JAMES PHILLIPS      49 HEDLEY PL                                                                                   BUFFALO          NY      14208‐1062
JAMES PHILLIPS      64 CLINTON ST                                                                                  ALDEN            NY      14004‐8901
JAMES PHILLIPS      7321 SPRAGUE ST                                                                                ANDERSON         IN      46013‐3940
JAMES PHILLIPS      813 W 5TH ST                                                                                   MUNCIE           IN      47302‐2206
JAMES PHILLIPS      8511 CARRIE LN                                                                                 SARASOTA         FL      34238‐3004
JAMES PHILLIPS      PO BOX 412                                                                                     REDKEY           IN      47373‐0412
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Name                 Address1                        Address2                     Address3            Address4               City            State   Zip
JAMES PHILLIPS       2400 SHIPMAN RD                                                                                         OXFORD           MI     48371‐2933
JAMES PHILLIPS       538 SARALVO RD                                                                                          MIDLOTHIAN       TX     76065‐5778
JAMES PHILLIPS       3095 COUNTY ROAD 89                                                                                     LEXINGTON        AL     35648‐4115
JAMES PHILLIPS       3822 PETTY LN                                                                                           COLUMBIA         TN     38401‐7316
JAMES PHILLIPS       4655 HESS RD                                                                                            SAGINAW          MI     48601‐6922
JAMES PHILLIPS       1236 FOX HOLLOW DR                                                                                      LEBANON          OH     45036‐7847
JAMES PHILLIPS       154 SADDLEBROOK LN UNIT 411                                                                             FLORENCE         KY     41042‐7189
JAMES PHILLIPS       506 W NORTH ST                                                                                          OWOSSO           MI     48867‐1205
JAMES PHILLIPS       501 SUPERIOR ST                                                                                         HOUGHTON LAKE    MI     48629‐9760
JAMES PHILLIPS       165 S OPDYKE RD LOT 40                                                                                  AUBURN HILLS     MI     48326‐3145
JAMES PHILLIPS       2731 PINE LAKES DR W                                                                                    LAPEER           MI     48446‐4508
JAMES PHILLIPS       8471 BELLECHASSE DR                                                                                     DAVISON          MI     48423‐2123
JAMES PHILLIPS       BARON & BUDD PC                 THE CENTRUM SUITE 1100       3102 OAK LAWN AVE                          DALLAS           TX     75219‐4281
JAMES PHILLIPS JR    3321 W 2ND ST                                                                                           DAYTON           OH     45417‐1745
JAMES PHILLIPS JR    3321 W SECOND ST                                                                                        DAYTON           OH     45417‐1745
JAMES PHILLIPS V     8801 DEERCROSSING                                                                                       FORT WAYNE       IN     46818‐8404
JAMES PHILO          6278 SUNHOLLOW LN                                                                                       HASLETT          MI     48840‐8279
JAMES PHIPPS         26024 HOFFMAN RD                                                                                        DEFIANCE         OH     43512‐8934
JAMES PIANGA         4087 RAY RD                                                                                             GRAND BLANC      MI     48439‐9309
JAMES PIAZZA         1016 1ST NORTH ST                                                                                       SYRACUSE         NY     13208‐2138
JAMES PICCINETTI     6732 DRUID HILLS ST                                                                                     LAS VEGAS        NV     89149‐3238
JAMES PICCOLA JR     2813 QUEEN CITY AVE APT 7                                                                               CINCINNATI       OH     45238‐2566
JAMES PICKARD        5 HOLLY LN                                                                                              BUFFALO          NY     14227‐2300
JAMES PICKEL         1117 W DURHAM ST                                                                                        BROKEN ARROW     OK     74011‐3214
JAMES PICKELHEIMER   3960 NORLEDGE DR                                                                                        DAYTON           OH     45414‐5031
JAMES PICKELSIMER    8801 GRAVEL HILL RD                                                                                     ALBANY           GA     31705‐6832
JAMES PICKENS        148 NURSERY RD                                                                                          ANDERSON         IN     46012‐3122
JAMES PICKENS        1102 WILLIAMSON CIR                                                                                     PONTIAC          MI     48340‐3315
JAMES PICKENS        7636 S EUCLID AVE                                                                                       CHICAGO           IL    60649‐4014
JAMES PICKENS        6463 N ELMS RD                                                                                          FLUSHING         MI     48433‐9039
JAMES PICKETT        9045 S ALTMAN RD                                                                                        DOWLING          MI     49050‐9785
JAMES PICKETT        68 TINDALL LN SW                                                                                        BROOKHAVEN       MS     39601‐8202
JAMES PICKETT        632 BENSON ST                                                                                           PONTIAC          MI     48342‐2504
JAMES PICNON         THE MADEKSHO LAW FIRM           8866 GULF FREEWAY STE 440                                               HOUSTON          TX     77017
JAMES PIERCE         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS       OH     44236
JAMES PIERCE         KEYES LAW FIRM                  PO BOX 7480                                                             BALTIMORE        MD     21227‐0480
JAMES PIERCE
JAMES PIERCE         822 LAKERIDGE PL                                                                                        FORT WAYNE      IN      46819‐1468
JAMES PIERCE         11766 TRINITY CH RD                                                                                     LISBON          OH      44432
JAMES PIERCE         1021 E RAHN RD                                                                                          KETTERING       OH      45429‐6107
JAMES PIERCE         811 1/4 ROSEDALE AVE                                                                                    ROSEDALE        MD      21237‐2722
JAMES PIERCE         749 SUNSET BLVD                                                                                         GAINESVILLE     GA      30501‐2729
JAMES PIERCE         760 S CHILDREN HOME GRAYSON                                                                             TROY            OH      45373
JAMES PIERCE         2943 WILDER RD                                                                                          METAMORA        MI      48455‐9368
JAMES PIERCE         PO BOX 391                                                                                              ADRIAN          MO      64720‐0391
JAMES PIERCE JR      1812 POWERS ST                                                                                          MCKEESPORT      PA      15132‐5149
JAMES PIERCE JR      230 WETLAND WAY                                                                                         ANDERSON        SC      29621‐2673
JAMES PIERCE JR      8749 MOONLIGHT DR                                                                                       CINCINNATI      OH      45231‐4173
JAMES PIERCE JR      1414 KIMMEL LN                                                                                          DAYTON          OH      45418‐2037
JAMES PIERCY         1570 REESE HURT RD                                                                                      EDMONTON        KY      42129‐7833
JAMES PIERFELICE     PO BOX 281                                                                                              EASTPOINTE      MI      48021‐0281
JAMES PIERPAOLI      168 TOWNLINE RD                                                                                         ELMA            NY      14059‐9709
JAMES PIERRIE        5744 E HOLLAND RD                                                                                       SAGINAW         MI      48601‐9403
JAMES PIERSON        HC 81 BOX 34A1                                                                                          LINDSIDE        WV      24951‐9433
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Name                 Address1                       Address2             Address3        Address4               City               State Zip
JAMES PIERSON        5042 WINTHROP DR                                                                           YOUNGSTOWN          OH 44515‐3851
JAMES PIERSON        6749 SPRINGTREE LN                                                                         LANSING             MI 48917‐8814
JAMES PIERSON        4008 LONG LAKE DR S                                                                        ELLENTON            FL 34222‐4427
JAMES PIERSON        201 CEDAR LN                                                                               WATERVILLE          OH 43566‐1102
JAMES PIETON         300 DAKOTA AVE                                                                             MC DONALD           OH 44437‐1511
JAMES PIETRYKOWSKI   34100 30 MILE RD                                                                           LENOX               MI 48050‐1900
JAMES PIETRZAK       1016 W KEM RD                                                                              MARION              IN 46952‐2049
JAMES PIFER          1080 GAYLE CT                                                                              ASHLAND             OH 44805‐2930
JAMES PIFKO          6 KAHKWA TRL                                                                               PINEHURST           NC 28374‐6801
JAMES PIGGOTT        12355 W M21                                                                                FOWLER              MI 48835
JAMES PIKE           0‐10941 14TH AVE NW                                                                        GRAND RAPIDS        MI 49534
JAMES PIKE           PO BOX 145                                                                                 GRAND LEDGE         MI 48837‐0145
JAMES PIKEY          G2494 HOWE RD                                                                              BURTON              MI 48519
JAMES PILARSKI       10627 HALSEY RD                                                                            GRAND BLANC         MI 48439‐8002
JAMES PILINYI        101 CHESTNUT WAY                                                                           LINDEN              MI 48451‐8826
JAMES PILKINGTON     230 CREST CT                                                                               NORMAN              OK 73071‐3025
JAMES PILLAR         158 CINDY ST                                                                               OLD BRIDGE          NJ 08857‐3086
JAMES PILLARS        21225 STANLEY ST                                                                           SAINT CLAIR SHORES MI 48081‐3551

JAMES PILUK          610 MOUNTAIN RD                                                                            FALLSTON           MD   21047‐2832
JAMES PINCKNEY       5513 ALEXIS FOREST LN                                                                      JACKSONVILLE       FL   32258‐1541
JAMES PINDELL        4424 BUCKS SCHOOL HOUSE RD                                                                 ROSEDALE           MD   21237‐3311
JAMES PINGLETON      RR 7 BOX 623                                                                               BLOOMFIELD         IN   47424‐8714
JAMES PINKNEY        218 OLYMPIC AVE                                                                            BUFFALO            NY   14215‐3234
JAMES PINKOWSKI      3231 REDDIN RD                                                                             WISCONSIN RAPIDS   WI   54495‐1753

JAMES PINNELL        3768 S SHERMAN AVE                                                                         FREMONT            MI   49412‐8707
JAMES PINNELL        1821 S NIAGARA ST                                                                          SAGINAW            MI   48602‐1242
JAMES PION           5614 MARSHALL RD                                                                           OLIVET             MI   49076‐9452
JAMES PIORKOWSKI     2537 THOMPSON DR                                                                           BOWLING GREEN      KY   42104‐4374
JAMES PIORUNEK       8305 CHARTER OAKS DR                                                                       DAVISON            MI   48423‐3288
JAMES PIPER          4519 HALL RD                                                                               HOLLEY             NY   14470‐9725
JAMES PIPER          7221 CAPRI DR                                                                              WHITE LAKE         MI   48383‐2829
JAMES PIPES          501 E STURGIS ST                                                                           SAINT JOHNS        MI   48879‐2045
JAMES PIPKIN         2143 E SCOTTWOOD AVE                                                                       BURTON             MI   48529‐1751
JAMES PIRIE          323 CARDINAL AVE                                                                           ROSCOMMON          MI   48653‐8798
JAMES PIRKLE         PO BOX 908315                                                                              GAINESVILLE        GA   30501‐0920
JAMES PIROCHTA       6765 MILLER RD                                                                             BANCROFT           MI   48414‐9712
JAMES PIROLLI JR.    2348 ROBINWOOD AVE                                                                         TOLEDO             OH   43620‐1022
JAMES PIRTLE         1090 CURTRIGHT PL                                                                          GREENSBORO         GA   30642‐7432
JAMES PISELLO        816 FOWLER CIR                                                                             BIRMINGHAM         AL   35215‐7714
JAMES PITCHER        25455 DENNISON RD                                                                          FRANKLIN           MI   48025‐1142
JAMES PITCHER        10115 NW TIFFANY SPRINGS RD                                                                KANSAS CITY        MO   64153‐1503
JAMES PITCOCK        11911 S WHEELING PIKE                                                                      FAIRMOUNT          IN   46928‐9142
JAMES PITCOX         7004 LEWISBURG OZIAS RD                                                                    LEWISBURG          OH   45338‐7736
JAMES PITT           11855 BURT RD                                                                              CHESANING          MI   48616‐9441
JAMES PITTA          84 SPENCER WAY                                                                             BRENTWOOD          CA   94513‐6003
JAMES PITTINGER      1140 T R 2156 RT 4                                                                         ASHLAND            OH   44805
JAMES PITTMAN        11588 SILICA RD                                                                            NORTH JACKSON      OH   44451‐9605
JAMES PITTMAN        39698 W HURON RIVER DR                                                                     ROMULUS            MI   48174‐1184
JAMES PITTMAN        4007 MOTORWAY DR                                                                           WATERFORD          MI   48328‐3544
JAMES PITTMAN        9156 S THORNTON RD                                                                         CASA GRANDE        AZ   85293‐9706
JAMES PITTMAN        288 SEWARD ST                                                                              PONTIAC            MI   48342‐3355
JAMES PITTMAN        SOUTHWEST SECURITIES INC.      3114 LOMBARD DRIVE                                          WICHITA FALLS      TX   76309
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Name                Address1                       Address2                     Address3   Address4               City             State   Zip
JAMES PITTS         6701 E RAINEY RD N                                                                            SYRACUSE          IN     46567‐9790
JAMES PITTS         PO BOX 552                                                                                    BUFFALO           NY     14209‐0552
JAMES PITTSER       883 HICKORY DRIVE                                                                             ANDERSON          IN     46011‐1504
JAMES PIWONSKI      38271 SLEIGH DR                                                                               STERLING HTS      MI     48310‐3063
JAMES PIWOWARSKI    7103 TUCKER RD                                                                                HOLLY             MI     48442‐8863
JAMES PIXLEY        8188 MURPHY RD                                                                                LYONS             MI     48851‐9676
JAMES PLACE         13110 BUNKER CT                                                                               CLIO              MI     48420‐8270
JAMES PLANTY        3043 MALIBU DR SW                                                                             WARREN            OH     44481‐9272
JAMES PLANTZ        215 COVEY CT                                                                                  ELIZABETH         PA     15037‐2373
JAMES PLARSKE       902 PINE ST                                                                                   ESSEXVILLE        MI     48732‐1434
JAMES PLATT         4440 N ELMS RD                                                                                FLUSHING          MI     48433‐1449
JAMES PLAXCO        43 E YOUNGS CT                                                                                MIDLAND           MI     48640‐8635
JAMES PLESS         10078 LORETTA LN                                                                              GOODRICH          MI     48438‐9222
JAMES PLESZ         6055 TOD AVE SW                                                                               WARREN            OH     44481‐9768
JAMES PLITT         8601 MONROE BLVD                                                                              TAYLOR            MI     48180‐7211
JAMES PLOEGERT      4954 N RIVER RD                                                                               JANESVILLE        WI     53545‐9044
JAMES PLOOSTER      4668 22ND AVE                                                                                 HUDSONVILLE       MI     49426‐9427
JAMES PLOUFFE       8527 DIXIE HWY                                                                                IRA               MI     48023‐2431
JAMES PLOURDE       2458 WILL JO LN                                                                               FLINT             MI     48507‐3555
JAMES PLUME         215 ROBERTS ST                                                                                NILES             OH     44446‐2022
JAMES PLUMMER       9230 CASE RD                                                                                  BROOKLYN          MI     49230‐9516
JAMES PLUNKETT      14290 GREENVIEW DR                                                                            GREENCASTLE       PA     17225‐9458
JAMES POAGE         2033 OXFORD CIR                                                                               GRAND PRAIRIE     TX     75051‐3758
JAMES POCHYLSKI     626 CINDY LN                                                                                  BUFFALO           NY     14224‐2403
JAMES POE           270 HOSS RD                                                                                   INDIANAPOLIS      IN     46217‐3426
JAMES POE JR        9052 DITCH RD                                                                                 CHESANING         MI     48616‐9712
JAMES POEDER        10545 MAPLE VIEW AVE                                                                          ALLENDALE         MI     49401‐9734
JAMES POGGIALI      9704 WIKEL RD                                                                                 HURON             OH     44839‐9369
JAMES POGUE         327 LESA LN                                                                                   STONEWALL         LA     71078‐4405
JAMES POHLMANN      1284 KINGS HWY                                                                                HERMANN           MO     65041‐4725
JAMES POIRIER       1633 S TUSCOLA RD                                                                             MUNGER            MI     48747‐9705
JAMES POLAND        15114 N LIBERTY RD                                                                            MOUNT VERNON      OH     43050‐8140
JAMES POLANOWSKI    14 VERMONT PL                                                                                 WEST SENECA       NY     14224‐4415
JAMES POLGLAZE      3720 STONE RIDGE DR                                                                           JANESVILLE        WI     53548‐5826
JAMES POLHAMUS JR   2300 E SPICERVILLE HWY                                                                        CHARLOTTE         MI     48813‐9141
JAMES POLI          79 BRIANNA DR                                                                                 EAST SETAUKET     NY     11733‐4117
JAMES POLICASTRO    1543 LEONA AVE                                                                                SOUTH PARK        PA     15129‐9730
JAMES POLIDAN       14001 SQUAW LAKE DR                                                                           LINDEN            MI     48451‐9451
JAMES POLIDORI      1402 CAMBRIDGE DR                                                                             DEARBORN          MI     48124‐1703
JAMES POLING        176 CYPRESS LN                                                                                TOLEDO            OH     43612‐5213
JAMES POLING        1701 N INTERNATIONAL BLVD                                                                     WESLACO           TX     78596‐9018
JAMES POLING        BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH     44236
JAMES POLITTE       302 COGSHALL ST                                                                               HOLLY             MI     48442‐1717
JAMES POLK          8228 CARDINAL ST                                                                              AVON              IN     46123
JAMES POLK          1648 FILLMORE AVE                                                                             BUFFALO           NY     14211‐1141
JAMES POLKOWSKI     25274 ANDOVER DR                                                                              DEARBORN HTS      MI     48125‐1606
JAMES POLLACK       1110 N LAKESHORE DR            38TH FLOOR                                                     CHICAGO            IL    60611
JAMES POLLICK       239 POLLICK LN                                                                                NEW KENSINGTON    PA     15068‐9529
JAMES POLLICK       570 CHURCHGROVE RD                                                                            FRANKENMUTH       MI     48734‐9736
JAMES POLLOCK       223 MASTERSON CT                                                                              EWING             NJ     08618‐1438
JAMES POLLOCK       9446 NORWOOD DR                                                                               BRENTWOOD         TN     37027‐8657
JAMES POLLOK        215 ASH RDG                                                                                   MASON             MI     48854‐2510
JAMES POLLVOGT      10216 SURF DR                                                                                 SAINT LOUIS       MO     63137‐1566
JAMES POLZIN        5196 2 MILE RD                                                                                BAY CITY          MI     48706‐3063
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Name               Address1                         Address2                     Address3   Address4               City              State   Zip
JAMES POMERSON     2718 LYNN DR                                                                                    SANDUSKY           OH     44870‐5650
JAMES POMINVILLE   315 NW 2ND ST                                                                                   WALNUT RIDGE       AR     72476‐1912
JAMES PONDER       2042 WERNER RD                                                                                  COLUMBUS           MI     48063‐3725
JAMES POOL         121 PREWITT BEND RD                                                                             WILLIAMSBURG       KY     40769‐8702
JAMES POOLE        6337 COULSON CT                                                                                 LANSING            MI     48911‐5630
JAMES POOLE        3969 NELSON DR                                                                                  NEWPORT            MI     48166‐9007
JAMES POOLE        C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
JAMES POORE        14007 STRATFORD ST                                                                              RIVERVIEW          MI     48193‐7544
JAMES POPE         3623 CHESTERFIELD DR                                                                            LAPEER             MI     48446‐8902
JAMES POPIEL       7915 MOONWOOD PL                                                                                WESTLAND           MI     48185‐9418
JAMES POPLAR       3921 WINONA ST                                                                                  FLINT              MI     48504‐3734
JAMES POPLAWSKI    6126 E IVY ST                                                                                   MESA               AZ     85205‐3647
JAMES POPP         3845 HOPPER HILL RD                                                                             CINCINNATI         OH     45255‐5055
JAMES PORCHA       PO BOX 26277                                                                                    TROTWOOD           OH     45426‐0277
JAMES PORTARO      53565 MOUND RD                                                                                  SHELBY TOWNSHIP    MI     48316‐2433
JAMES PORTELL      9160 SPRING VALLEY RD                                                                           ENGLEWOOD          FL     34224‐7759
JAMES PORTER       817 E HOLLAND AVE                                                                               SAGINAW            MI     48601‐2621
JAMES PORTER       17226 WOODBINE STREET                                                                           DETROIT            MI     48219‐5809
JAMES PORTER       2121 WATKINS LAKE RD                                                                            WATERFORD          MI     48328‐1435
JAMES PORTER       3224 SPRUNICA RD                                                                                NINEVEH            IN     46164‐9371
JAMES PORTER       5725 PRINCETON PL                                                                               YPSILANTI          MI     48197‐7122
JAMES PORTER       4475 OREN DR                                                                                    TROTWOOD           OH     45415‐1847
JAMES PORTER       2501 CULKIN RD APT A6                                                                           VICKSBURG          MS     39183‐8703
JAMES PORTER       3357 BROOKGATE DR                                                                               FLINT              MI     48507‐3210
JAMES PORTER       7701 N POTTAWATOMIE RD                                                                          HARRAH             OK     73045‐8986
JAMES PORTER       4911 GEORGIA AVE                                                                                KANSAS CITY        KS     66104‐3260
JAMES PORTER DR
JAMES PORTER JR    PO BOX 3174                                                                                     ANDERSON          IN      46018‐3174
JAMES PORTH        5856 HENRY RUFF RD                                                                              GARDEN CITY       MI      48135‐1964
JAMES PORTIS JR    8225 CARLIN ST                                                                                  DETROIT           MI      48228‐2734
JAMES POSEY        24 FLYNTWOOD DR                                                                                 ANDERSON          IN      46012‐1812
JAMES POST         55 OAK GROVE RD                                                                                 COVINGTON         GA      30014‐3640
JAMES POST         276 LAKESHORE LN                 C/O TOM POST                                                   BLOOMINGDALE      IL      60108‐1952
JAMES POST         7282 FRANCES RD                                                                                 FLUSHING          MI      48433‐8834
JAMES POST         106 PARKSIDE LN                                                                                 TROY              MO      63379‐5636
JAMES POSTEN       1229 OGDEN PARMA TOWN LINE RD                                                                   SPENCERPORT       NY      14559‐9517
JAMES POTASH       149 MATILDA ST                                                                                  ROCHESTER         NY      14606‐5556
JAMES POTEAT       PO BOX 65                                                                                       MAYO              SC      29368‐0065
JAMES POTEET       25522 ORCHARD CT                                                                                FLAT ROCK         MI      48134‐6015
JAMES POTERBIN     1405 EAST 15TH ST.                                                                              SEDALIA           MO      65301
JAMES POTTER       10329 WALNUT SHORES DR                                                                          FENTON            MI      48430‐2465
JAMES POTTER       1288 VAN SICKLE DR                                                                              HILLSDALE         MI      49242‐9513
JAMES POTTER       1887 COMO PARK BLVD                                                                             LANCASTER         NY      14086‐2958
JAMES POTTER       1420 BONNIE LN                                                                                  DEFIANCE          OH      43512‐3009
JAMES POTTER       3700 S WESTPORT AVE                                                                             SIOUX FALLS       MO      57106‐6360
JAMES POTTKER      1550 BRADMORE DR                                                                                TOLEDO            OH      43612‐2013
JAMES POTTS        139 DAVID WATKINS RD                                                                            SMITHS GROVE      KY      42171‐9100
JAMES POTTS        502 W SHERMAN ST                                                                                CARO              MI      48723‐1496
JAMES POTTS        602 BEACH BUGGY LN                                                                              LINDEN            MI      48451‐9705
JAMES POTTS JR     14912 HOYLE RD                                                                                  BERLIN CENTER     OH      44401‐9746
JAMES POUGNET      224 CEDARWOOD DR                                                                                FLUSHING          MI      48433‐1804
JAMES POUILLON     2450 KROUSE ROAD                 SITE 321                                                       OWOSSO            MI      48867
JAMES POULOS       1294 HIGHLAND CV                                                                                BEAVERTON         MI      48612‐8506
JAMES POULS        1140 DOLLIVER DR                                                                                ROCHESTER HLS     MI      48306‐3920
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Name              Address1                       Address2                Address3    Address4               City               State   Zip
JAMES POUNDS      44 LAVENDON CIRCLE DR                                                                     BELLA VISTA         AR     72714‐3130
JAMES POUNDS      838 YUMA CIR                                                                              BOWLING GREEN       KY     42104‐4267
JAMES POUNDS JR   2009 KETNER AVE                                                                           TOLEDO              OH     43613‐2809
JAMES POVICK      1200 POVICK LN                                                                            UHRICHSVILLE        OH     44683‐1240
JAMES POWELL      10142 E MOUNT MORRIS RD                                                                   DAVISON             MI     48423‐9333
JAMES POWELL      5692 SEMINOLE ST                                                                          DETROIT             MI     48213‐2528
JAMES POWELL      5142 COBBLERS CT                                                                          BLOOMFIELD HILLS    MI     48304‐3730
JAMES POWELL      2135 NOBLE AVE                                                                            HAMILTON            OH     45015‐1120
JAMES POWELL      627 GARNER AVE                                                                            E LIVERPOOL         OH     43920‐1442
JAMES POWELL      4221 W LAKE RD                                                                            PINCKNEYVILLE        IL    62274‐3028
JAMES POWELL      355 WASHINGTON AVE N                                                                      BATTLE CREEK        MI     49037‐2837
JAMES POWELL      151 DALE DR                                                                               HOUGHTON LAKE       MI     48629‐9320
JAMES POWELL      16952 STATE ROUTE 15                                                                      DEFIANCE            OH     43512‐8955
JAMES POWELL      29814 CAREY RD                                                                            SALEM               OH     44460‐9744
JAMES POWELL      495 NEWLAND RD                                                                            ROPER               NC     27970‐9347
JAMES POWELL      3813 LOUBERTA ST                                                                          MONROE              LA     71203
JAMES POWELL      PO BOX 342                     210 CLARENCE ST                                            HOUGHTON LAKE       MI     48630‐0342
                                                                                                            HEIGHTS
JAMES POWELL      3900 N WALDO RD                                                                           MIDLAND            MI      48642‐9739
JAMES POWELL      3010 S MORRICE RD                                                                         OWOSSO             MI      48867‐9749
JAMES POWELL      52482 BELLE ARBOR                                                                         SHELBY TWP         MI      48316‐2907
JAMES POWELL      850 NOEVILLE HOLLOW RD                                                                    BARBOURVILLE       KY      40906‐7574
JAMES POWELL      5451 CARLETON LAKE DR                                                                     LOCKPORT           NY      14094‐5375
JAMES POWELL JR   PO BOX 2711                                                                               ANDERSON           IN      46018‐2711
JAMES POWELL JR   3625 GLOUCESTER ST                                                                        FLINT              MI      48503‐4535
JAMES POWER       6024 N VASSAR RD                                                                          FLINT              MI      48506‐1236
JAMES POWERS      1497 GREERVIEW CIR                                                                        FRANKLIN           TN      37064‐9621
JAMES POWERS      55340 AUTUMN RIDGE DR                                                                     NORTHVILLE         MI      48167‐9360
JAMES POWERS      1366 COUNTY ROAD 225                                                                      MOULTON            AL      35650‐7444
JAMES POWERS      2046 CAMPS AIRPORT RD                                                                     STARKVILLE         MS      39759‐7660
JAMES POWERS      10808 S ROSS AVE                                                                          OKLAHOMA CITY      OK      73170‐2460
JAMES POWERS SR   501 W CHURCH ST                                                                           MASON              OH      45040‐1613
JAMES PRAHIN      5625 KOCHVILLE RD                                                                         SAGINAW            MI      48604‐9459
JAMES PRAIRIE     9769 N LICK CREEK RD                                                                      MORGANTOWN         IN      46160‐9410
JAMES PRATER      10474 STATE ROUTE 28                                                                      LEESBURG           OH      45135‐9603
JAMES PRATER      231 ARMSTRONG ST                                                                          FENTON             MI      48430‐1728
JAMES PRATHER     573 RALEIGH PL                                                                            WILMINGTON         OH      45177‐2615
JAMES PRATHER     25115 BIARRITZ CIR APT A                                                                  OAK PARK           MI      48237‐4022
JAMES PRATHER     1704 PARKWAY DR                                                                           MOORE              OK      73160‐8126
JAMES PRATHER     CASCINO MICHAEL P              220 SOUTH ASHLAND AVE                                      CHICAGO            IL      60607
JAMES PRATT       6289 POINTE NORTH DR                                                                      GRAND BLANC        MI      48439‐9582
JAMES PRATT       1219 NORWAY DR                                                                            HOPE               MI      48628‐9630
JAMES PRATT       8691 WOOD ST                                                                              MECOSTA            MI      49332‐9727
JAMES PRATT       1289 MEADOWLANDS CIR                                                                      SEVIERVILLE        TN      37876‐0273
JAMES PRATT       3185 PHALANX MILLS HERNER RD                                                              SOUTHINGTON        OH      44470‐9517
JAMES PRATT       5616 E US 224                                                                             OSSIAN             IN      46777
JAMES PRATT       6310 STONE RIVER RD                                                                       BRADENTON          FL      34203‐7823
JAMES PRAY        430 BENITA DR                                                                             BROCKPORT          NY      14420‐9447
JAMES PRCHLIK     2985 WOODLAND DR                                                                          METAMORA           MI      48455‐9794
JAMES PRECHT      11007 W 69TH ST                                                                           SHAWNEE            KS      66203‐3819
JAMES PREKOP      14365 HYLAND DR                                                                           BROOKFIELD         WI      53005‐2313
JAMES PREKOSKI    143 RAINBOW DR #4361                                                                      LIVINGSTON         TX      77399‐1043
JAMES PRENZLER    10288 S BRENNAN RD                                                                        BRANT              MI      48614‐9705
JAMES PRESBY      465 HEIDI LN                                                                              MANSFIELD          OH      44903‐9018
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Name                Address1                           Address2               Address3                Address4                   City            State   Zip
JAMES PRESCOTT      7183 TIMBERWOOD DR                                                                                           DAVISON          MI     48423‐9550
JAMES PRESCOTT JR   5001 S WASHINGTON RD APT 31                                                                                  SAGINAW          MI     48601‐7216
JAMES PRESLAR       270 MEADOW CT                                                                                                BOWLING GREEN    KY     42104‐6446
JAMES PRESLEY       1804 PERSHING BLVD                                                                                           DAYTON           OH     45420‐2427
JAMES PRESLEY       9325 ORCHARD CT                                                                                              DAVISON          MI     48423‐8464
JAMES PRESLEY       4534 WATER ST                                                                                                COLUMBIAVILLE    MI     48421‐9128
JAMES PRESNALL      1801 SHAMROCK LN                                                                                             FLINT            MI     48504‐5405
JAMES PRESSNELL     238 LITTLE COVE CREEK RD                                                                                     CARYVILLE        TN     37714‐3149
JAMES PRESSWOOD     9334 TIGER RUN TRL                                                                                           DAVISON          MI     48423‐8430
JAMES PRESTON       C/O SMOCKUM ZARNETT PERCIVAL LLP   ATTN WILLIAM JESSEAU   800‐120 ADELAIDE ST W   TORONTO, ONTARIO M5H 1T1

JAMES PRESTON       4775 E M‐71                                                                                                  CORUNNA         MI      48817
JAMES PRESTON       1030 MITCHELL DR                                                                                             WINDER          GA      30680‐3882
JAMES PRESTON       1208 GOOSEBERRY CT                                                                                           BURTON          MI      48529‐2256
JAMES PRESTON       7541 YALE RD                                                                                                 GREENWOOD       MI      48006‐1519
JAMES PRESTON       4005 NW 26TH ST                                                                                              OKLAHOMA CITY   OK      73107‐1443
JAMES PRESTON       PO BOX 374                                                                                                   W MIDDLESEX     PA      16159‐0374
JAMES PRETO         601 PARK ST APT 3I                                                                                           BORDENTOWN      NJ      08505‐1429
JAMES PREVICH       12062 W SHORE DR                                                                                             HOUGHTON LAKE   MI      48629‐8646
JAMES PREVO         1277 GRAM ST                                                                                                 BURTON          MI      48529‐2021
JAMES PRICE         538 NOTRE DAME AVE                                                                                           YOUNGSTOWN      OH      44515‐4114
JAMES PRICE         5477 DUKE CT                                                                                                 WARREN          MI      48091‐3820
JAMES PRICE         5213 HODSON DR                                                                                               INDIANAPOLIS    IN      46241‐6112
JAMES PRICE         4385 DURST CLAGG RD                                                                                          CORTLAND        OH      44410‐9503
JAMES PRICE         1194 COLLINGWOOD CT                                                                                          MARYSVILLE      OH      43040‐9009
JAMES PRICE         38376 LAURENWOOD ST                                                                                          WAYNE           MI      48184‐1032
JAMES PRICE         2997 US HIGHWAY 50 E                                                                                         BEDFORD         IN      47421‐3481
JAMES PRICE         25560 WOODVILLA PL                                                                                           SOUTHFIELD      MI      48075‐2047
JAMES PRICE         11370 S US HIGHWAY 27                                                                                        DEWITT          MI      48820‐8376
JAMES PRICE         111 CENTER ST                                                                                                OTISVILLE       MI      48463‐9610
JAMES PRICE         411 BENTWOOD DR                                                                                              LEESBURG        FL      34748‐7262
JAMES PRICE         42 HAMLIN RD                                                                                                 BUFFALO         NY      14208‐1536
JAMES PRICE         1763 RIBBLE ST                                                                                               SAGINAW         MI      48601‐6855
JAMES PRICE         2919 CHICAGO BLVD                                                                                            FLINT           MI      48503‐3472
JAMES PRICE         6116 WARES FERRY RD                                                                                          MONTGOMERY      AL      36117‐3216
JAMES PRICE         3204 HIGHWAY 182                                                                                             LINCOLNTON      NC      28092‐1754
JAMES PRICE         PO BOX 7512                                                                                                  TYLER           TX      75711‐7512
JAMES PRICE         914 PINEY GR CH RD #20                                                                                       KNOXVILLE       TN      37909
JAMES PRICE         10141 LOCUST LN                                                                                              MELBA           ID      83641‐4243
JAMES PRICE         770 S PALM AVE APT 502                                                                                       SARASOTA        FL      34236
JAMES PRICHARD      3655 STATE ROUTE 222                                                                                         BATAVIA         OH      45103‐8932
JAMES PRIDE         825 N BELL ST                                                                                                KOKOMO          IN      46901‐3018
JAMES PRIESS        7821 BRYCE RD                                                                                                KENOCKEE        MI      48006‐3907
JAMES PRIEST        PO BOX 2019                                                                                                  HILLSVILLE      VA      24343‐7019
JAMES PRIEST        PO BOX 54                          826 SILVER STREET                                                         LAKE CITY       CO      81235
JAMES PRIETO        PO BOX 1046                                                                                                  SPRING HILL     TN      37174‐1046
JAMES PRIMM         1538 12TH ST                                                                                                 MARTIN          MI      49070‐9710
JAMES PRINCE        2101 E CHURCH ST                                                                                             BOONEVILLE      MS      38829‐7644
JAMES PRINCE        9589 US 50 WEST                                                                                              MITCHELL        IN      47446
JAMES PRINGLE       8790 OAKLAND RD                                                                                              OAKLAND         AR      72661‐9028
JAMES PRINGLE       1608 HARVEST LN                                                                                              YPSILANTI       MI      48198‐3318
JAMES PRINGLE       521 MORGAN RD                                                                                                RAVENNA         OH      44266‐1457
JAMES PRITCHETT     45 DONALDSON RD                                                                                              BUFFALO         NY      14208‐1540
JAMES PRITCHETT     308 W MCKEE ST                                                                                               DESLOGE         MO      63601‐3414
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Name                           Address1                        Address2                      Address3   Address4               City            State   Zip
JAMES PRITT                    9 IMMACULATA                    C/O VIRGINIA MCNAMARA                                           ELVERSON         PA     19520‐9462
JAMES PRIVETT                  603 E LINDA LAYNE                                                                               MUNCIE           IN     47303‐2046
JAMES PROCHASKA                N364 LINCOLN ST                                                                                 BRIGGSVILLE      WI     53920‐8913
JAMES PROCK                    7812 HARRISON AVE                                                                               CINCINNATI       OH     45231‐3112
JAMES PROCK JR                 4859 CEDAR SPRINGS RD APT 361                                                                   DALLAS           TX     75219‐6137
JAMES PROCTOR                  BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS       OH     44236
JAMES PROCUNIER                9532 GRAY FOX DR                                                                                WEEKI WACHEE     FL     34613‐3977
JAMES PROEN                    PO BOX 1646                                                                                     ROYAL OAK        MI     48068‐1646
JAMES PROFETA                  534 SADDLE LN                                                                                   GROSSE POINTE    MI     48236‐2729
                                                                                                                               WOODS
JAMES PROFFITT                 1697 GUISE CT                                                                                   READING         OH      45215‐3704
JAMES PROFFITT                 2523 E MONROE PIKE                                                                              MARION          IN      46953‐2704
JAMES PROHASKA                 3097 S US HIGHWAY 23                                                                            GREENBUSH       MI      48738‐9656
JAMES PROKOPENKO               6366 DICKERSON RD                                                                               AKRON           MI      48701‐9610
JAMES PROPER                   3590 PALMER RD                                                                                  RANSOMVILLE     NY      14131‐9527
JAMES PROSISE                  5803 MELISSA LN                                                                                 POPLAR BLUFF    MO      63901‐9638
JAMES PROUDFIT                 8560 BEECHWOOD DR SE                                                                            CALEDONIA       MI      49316‐9457
JAMES PROUT                    8550 E VERMONTVILLE HWY                                                                         DIMONDALE       MI      48821‐9637
JAMES PROVANCE                 11496 TIMBER RIDGE DR                                                                           KEITHVILLE      LA      71047‐9005
JAMES PROVITT                  1130 ORLO DR NW                                                                                 WARREN          OH      44485‐2428
JAMES PRUETT                   660 BOYD ST                                                                                     PONTIAC         MI      48342‐1926
JAMES PRUETT                   4859 NW MISTY LN                                                                                KANSAS CITY     MO      64151‐3147
JAMES PRUETT                   2040 JOY RD                                                                                     AUBURN HILLS    MI      48326‐2612
JAMES PRUETT
JAMES PRUETT                   10044 S OCEAN DR APT 304                                                                        JENSEN BEACH    FL      34957‐2447
JAMES PRUIETT                  10135 BEERS RD                                                                                  SWARTZ CREEK    MI      48473‐9160
JAMES PRUITT                   2687 BUFORD HWY                                                                                 CUMMING         GA      30041‐8212
JAMES PRUITT                   104 BRIARWOOD LN                                                                                CUMMING         GA      30040‐2044
JAMES PRUITT & JUDITH PRUITT   MCKENNA & ASSOCIATES PC         436 BOULEVARD OF THE ALLIES   STE 500                           PITTSBURGH      PA      15219
JAMES PRUSAK                   15600 TIGHT PINCH RD                                                                            PLEASANTVILLE   PA      16341‐2122
JAMES PRUSHA                   16233 MOCK RD                                                                                   BERLIN CENTER   OH      44401‐9795
JAMES PRUSINOWSKI              1830 BLACKBURN LN                                                                               SPRING HILL     TN      37174‐2528
JAMES PRYDE                    6531 LINVILLE DR RTE 2                                                                          BRIGHTON        MI      48116
JAMES PRZEPIORA                128 18TH ST                                                                                     CORBIN          KY      40701‐2404
JAMES PUCKETT                  2302 CHATEAU DR                                                                                 LAWRENCEVILLE   GA      30043‐2894
JAMES PUCKETT                  718 ROBERT WAY                                                                                  POWDER SPGS     GA      30127‐4461
JAMES PUDNEY                   303 W SENECA AVE                APT 1                                                           SHERRILL        NY      13461
JAMES PUERTAS                  4095 SOLVAY DR                                                                                  WATERFORD       MI      48329‐4261
JAMES PUFAHL                   PO BOX 72                                                                                       HEMLOCK         MI      48626‐0072
JAMES PUFAHL JR                3660 S HEMLOCK RD                                                                               HEMLOCK         MI      48626‐9785
JAMES PUFF                     19031 IRONRIVER TRL                                                                             LAKEVILLE       MN      55044‐4405
JAMES PUFFENBARGER             1970 S BROADWAY                                                                                 GENEVA          OH      44041‐8117
JAMES PUGH                     1362 KIMBALL AVE                                                                                KANSAS CITY     KS      66104‐4952
JAMES PUGH                     1065 E NORTH ST APT 8B                                                                          OWOSSO          MI      48867‐1981
JAMES PUGH                     10006 CARR RD                                                                                   SAINT CHARLES   MI      48655‐8629
JAMES PUGH                     548 PHILLIPS DR SW                                                                              WARREN          OH      44485‐3363
JAMES PUGH                     2405 SAWTOOTH OAK DRIVE                                                                         LAWRENCEVILLE   GA      30043‐3461
JAMES PUGH                     301 DOVER AVE                                                                                   SHEFFIELD       AL      35660‐3207
JAMES PUGMIRE                  7325 E BRISTOL RD                                                                               DAVISON         MI      48423‐2461
JAMES PULLEY                   704 SIR WINSTON PL                                                                              FRANKLIN        TN      37064‐5437
JAMES PULLEY                   610 GREEN RIVER DR                                                                              WAYNESBORO      TN      38485‐2510
JAMES PULLIS                   6393 SALINE DR                                                                                  WATERFORD       MI      48329‐1375
JAMES PUMPERA                  3709 W 121ST PL                                                                                 ALSIP           IL      60803‐1211
JAMES PUMPERA                  2305 26TH ST                                                                                    BAY CITY        MI      48708‐3801
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Name              Address1                       Address2                      Address3   Address4                     City              State Zip
JAMES PURCELL     2881 MARIETTA AVE                                                                                    WATERFORD          MI 48329‐3448
JAMES PURCELL     1861 WEXPORT LN                                                                                      COMMERCE           MI 48382‐4865
                                                                                                                       TOWNSHIP
JAMES PURDUE      17351 HUNTINGTON ROAD                                                                                DETROIT           MI   48219‐3521
JAMES PURDY       1140 S MORRISH RD                                                                                    FLINT             MI   48532‐3034
JAMES PURKEY      3883 RT 42 N                                                                                         WAYNESVILLE       OH   45068
JAMES PURKEY      126 TOM GRIFFIN RD                                                                                   BYRDSTOWN         TN   38549‐4836
JAMES PURKISS     18703 MACARTHUR                                                                                      REDFORD           MI   48240‐1950
JAMES PURTY JR    37 S EDITH ST                                                                                        PONTIAC           MI   48342‐2938
JAMES PURYEAR     1610 GARY RD                                                                                         MONTROSE          MI   48457‐9326
JAMES PUTANSU     28075 RUBY CT                                                                                        CHESTERFIELD      MI   48047‐5253
JAMES PUTNAM      PO BOX 521                                                                                           NEWTON FALLS      OH   44444‐0521
JAMES PUTNAM      1906 NUECES TRL                                                                                      ARLINGTON         TX   76012‐3028
JAMES PUTNAM      8726 SWAN RD                                                                                         ONAWAY            MI   49765‐8820
JAMES PUTNAM      9815 RENTSMAN NE                                                                                     CEDAR SPRINGS     MI   49319‐9769
JAMES PYBURN      34 WRIGHT RD                                                                                         WEST MILTON       OH   45383‐1616
JAMES PYE         BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS        OH   44236
JAMES PYGON       4757 MCKINLEY PKWY                                                                                   HAMBURG           NY   14075‐1013
JAMES PYKE        3204 COUNTRY CLUB DR E                                                                               ROCHESTER         IN   46975‐8975
JAMES PYLE        126TH O8 NORTH 175 E                                                                                 ALEXANDRIA        IN   46001
JAMES PYLE        8238 HARDY ST                                                                                        OVERLAND PARK     KS   66204‐3616
JAMES PYLES       265 LAKESIDE DR                                                                                      PROTEM            MO   65733‐6324
JAMES PYLES       555 PARK DR                                                                                          CARLISLE          OH   45005‐3384
JAMES PYRA        2711 FOREST AVE                                                                                      NIAGARA FALLS     NY   14301‐1439
JAMES PYSZ        5025 AINTREE RD                                                                                      ROCHESTER         MI   48306‐2710
JAMES PYTLESKI    736 W HAMLIN RD                                                                                      ROCHESTER HILLS   MI   48307‐3430
JAMES PYWELL      51537 SANDSHORES DR                                                                                  SHELBY TOWNSHIP   MI   48316‐3850
JAMES PYZIK       1430 LIVINGSTON HWY                                                                                  BYRDSTOWN         TN   38549‐4417
JAMES Q GILMORE   62864 FRUITDALE LN                                                                                   LABRADNE          OR   97850
JAMES QUADERER    2033 E MCLEAN AVE                                                                                    BURTON            MI   48529‐1737
JAMES QUAERNA     235 N PALM ST                                                                                        JANESVILLE        WI   53548‐3595
JAMES QUANDT      32505 WARNER DR                                                                                      WARREN            MI   48092‐3287
JAMES QUARANTO    2117 BAYSIDE CT                                                                                      FORT WAYNE        IN   46804‐7346
JAMES QUARLES     20304 WOODBEND DR                                                                                    NORTHVILLE        MI   48167‐3004
JAMES QUARLS SR   BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIALS PARKWAY                                           BOSTON HTS        OH   44236
JAMES QUEEN       59 WICKLOW DR                                                                                        HILTON HEAD       SC   29928‐3354
JAMES QUEEN       1426 CRESTBROOK LN                                                                                   FLINT             MI   48507‐2322
JAMES QUEEN       PO BOX 63                                                                                            ADOLPHUS          KY   42120‐0063
JAMES QUEEN       1059 HART RD                                                                                         COLUMBUS          OH   43223‐3830
JAMES QUICK       R ITAPAIUNA , 1800             ED DOPPIO SPAZIO                         SAO PAULO 05707‐000 BRAZIL

JAMES QUILLEN     517 S HIGHAM ST                                                                                      PEWAMO            MI   48873‐9797
JAMES QUILLIN     2441 FLICKER PLACE                                                                                   MELBOURNE         FL   32904‐8014
JAMES QUINA
JAMES QUINANOLA   2207 STONE RIDGE CIRCLE                                                                              BEREA             OH   44017‐3105
JAMES QUINN       1746 DUTCHESS LOOP                                                                                   THE VILLAGES      FL   32162‐2330
JAMES QUINN       3210 VICTOR LN                                                                                       FORT WAYNE        IN   46818‐1665
JAMES QUINN       6883 EMERALD SHORES DR                                                                               TROY              MI   48085‐1439
JAMES QUINN       507 FLINT ST                                                                                         ROCHESTER         NY   14611‐3605
JAMES QUINN       10 HEMLOCK RADIAL PASS                                                                               OCALA             FL   34472‐6192
JAMES QUINN       140 MULBERRY RD                                                                                      CHESTERFIELD      IN   46017‐1719
JAMES QUINN       664 1/2 CHESTNUT STREET EXT                                                                          LEETONIA          OH   44431‐9703
JAMES QUINN       312 WOLF CREEK WAY                                                                                   ROUND ROCK        TX   78664‐4068
JAMES QUINN JR    451 E 123RD ST                                                                                       CLEVELAND         OH   44108‐1869
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Name                          Address1                      Address2                       Address3                    Address4               City            State   Zip
JAMES QUINTANA                15137 OCONNOR AVE                                                                                               ALLEN PARK       MI     48101‐2937
JAMES QUINTANILLA             2739 W LASKEY RD                                                                                                TOLEDO           OH     43613‐3258
JAMES QUINTON                 1585 BISCHOFF RD                                                                                                EAST TAWAS       MI     48730‐9741
JAMES QUINTON                 120 NE COVE RD                                                                                                  DAWSONVILLE      GA     30534‐5706
JAMES QUINTON JR              410 ONTARIO AVENUE                                                                                              PARK CITY        UT     84060
JAMES QUISENG                 2100 SEVILLE DR                                                                                                 TRACY            CA     95377‐8957
JAMES R & LINDA S GEVOCK      C/O JAMES GEVOCK              2414 HWY 1                                                                        FAIRFIELD         IA    52556
JAMES R & PATRICIA B ONEILL   6716 LANDON LANE                                                                                                BETHESDA         MD     20817
JAMES R ACKERMAN              4426 CORDELL DR                                                                                                 DAYTON           OH     45459
JAMES R ADAMS                 2412 BLARNEY DR                                                                                                 DAVISON          MI     48423‐9503
JAMES R ALDEN                 CGM IRA ROLLOVER CUSTODIAN    77 VISTA CIRCLE DR                                                                SIERRA MADRE     CA     91024‐1436
JAMES R ALLEN                 2209 CRESTMONT DR.                                                                                              GIRARD           OH     44420‐1166
JAMES R ALLEN                 7749 STOCKHOLM DR                                                                                               HUBER HEIGHTS    OH     45424‐2253
JAMES R AMBURGEY              PO BOX 210                                                                                                      BLACKEY          KY     41804‐‐ 02
JAMES R ANDERSON              576 EMERSON RD                                                                                                  MIDDLETOWN       OH     45042‐1414
JAMES R ARNETT JR             GLASSER AND GLASSER           CROWN CENTER                   580 EAST MAIN ST STE 600                           NORFOLK          VA     23510
JAMES R ASHBAUGH              3001 N ELM ST                                                                                                   MUNCIE           IN     47303‐2005
JAMES R BACON                 7110 MAHONING AVE. NE                                                                                           WARREN           OH     44481‐9469
JAMES R BAILEY                24 BAILEY LN                                                                                                    MERCER           PA     16137
JAMES R BALL                  6410 LEAWOOD DR                                                                                                 DAYTON           OH     45424‐3042
JAMES R BARNHART              309 ABERDEEN AVENUE                                                                                             DAYTON           OH     45419‐3205
JAMES R BEAN                  2774 LONE PINE RD                                                                                               GAYLORD          MI     49735‐8601
JAMES R BECHTEL               9368 MADISON ROAD                                                                                               MONTVILLE        OH     44064‐8721
JAMES R BECKHAM               7672 SEBRING DR                                                                                                 DAYTON           OH     45424‐2228
JAMES R BENNEFIELD            3415 W. MEIGHAN BLVD.                                                                                           GADSDEN          AL     35904
JAMES R BENSON                3209 OUTDOOR RD                                                                                                 MORAINE          OH     45439‐1315
JAMES R BERRY                 571 LAKENGREN DR                                                                                                EATON            OH     45320‐2672
JAMES R BILLINGSLEY           4129 MISTY SHRS                                                                                                 DEFIANCE         OH     43512‐9624
JAMES R BISHOP                795 ABUNDANCE LANE                                                                                              AVON             IN     46123
JAMES R BLANTON               2547 PENNINGTON RD.                                                                                             WAVERLY          OH     45690‐9414
JAMES R BLYTHE, JR            645 TYRON AVE                                                                                                   DAYTON           OH     45404‐2460
JAMES R BOAG                  4337 HAYES RD                                                                                                   DORSET           OH     44032‐8728
JAMES R BOOKER                232 WALTON AVENUE                                                                                               DAYTON           OH     45417‐1668
JAMES R BOREK                 5819 PHILLIPS RD                                                                                                CLIFFORD         MI     48727‐9561
JAMES R BOURGEOIS             2080 BURNSIDE RD                                                                                                NORTH BRANCH     MI     48461‐9629
JAMES R BOWDEN                202 BRAUN ST                                                                                                    NEW CARLISLE     OH     45344‐2905
JAMES R BRANCH                2494 S FORDNEY RD                                                                                               HEMLOCK          MI     48626‐9777
JAMES R BREWER                7785 W TWIN CANAL LN                                                                                            HOMOSASSA        FL     34448‐5839
JAMES R BREWER                ATTN ROBERT W PHILLIPS        C/O SIMMONS BROWDER GIANARIS 707 BERKSHIRE BLVD ‐ PO BOX                          EAST ALTON        IL    62024
                                                            ANGELIDES & BARNERD LLC      521
JAMES R BREWSTER              5258 ROBINWOOD DR                                                                                               DAYTON          OH      45431‐2836
JAMES R BRIAN                 1638 APPLE RD                                                                                                   SAINT PARIS     OH      43072
JAMES R BRIDGE                4744 THOMASON RD                                                                                                SHARPSVILLE     PA      16150‐9295
JAMES R BRINING               6379 BURKWOOD DR                                                                                                CLAYTON         OH      45315‐9601
JAMES R BRIXEY                115 UPPER HILLSIDE DR                                                                                           BELLBROOK       OH      45305
JAMES R BROCKLEBANK           2163 COUNTY RD 28                                                                                               CANANDAIGUA     NY      14424‐8076
JAMES R BROOKS                5124 RETFORD DR                                                                                                 DAYTON          OH      45418‐2047
JAMES R BROOKS JR             365 BETSILL RD                                                                                                  FAYETTEVILLE    GA      30215‐5025
JAMES R BROWN                 914 S SIXTH APT B REAR                                                                                          ST CHARLES      MO      63301
JAMES R BRYANT                1713 SOUTH STREET                                                                                               PIQUA           OH      45356‐2755
JAMES R BURG JR               44 CAMDEN AVE                                                                                                   DAYTON          OH      45405
JAMES R BURNETT               8548 SPRINGTREE RD                                                                                              JACKSONVILLE    FL      32210‐9602
JAMES R BURNS                 865 SOUTH ALABAMA AVE                                                                                           MONROEVILLE     AL      36460
JAMES R CALDWELL              2434 E STANLEY RD                                                                                               MOUNT MORRIS    MI      48458‐8979
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Name                       Address1                        Address2                 Address3    Address4               City            State   Zip
JAMES R CALDWELL           5349 ALVA AVE NW                                                                            WARREN           OH     44483‐1270
JAMES R CAMERON            2750 VINELAND TRAIL                                                                         BEAVERCREEK      OH     45430
JAMES R CAMPBELL           971 PINE NEEDLES DR                                                                         CENTERVILLE      OH     45458‐3332
JAMES R CARSON             503 SPRING ST                                                                               GRAND LEDGE      MI     48837‐1403
JAMES R CARSONE            254 WARNER RD.                                                                              HUBBARD          OH     44425
JAMES R CASPER JR          1373 ARROW SHEATH DR                                                                        W CARROLLTON     OH     45449
JAMES R CHALKER
JAMES R CHRISTNER          136 VILLAGE LANE                                                                            ROCHESTER       NY      14610‐3043
JAMES R CLARY              1960 AMERICAN WAY                                                                           HERMITAGE       PA      16148
JAMES R CLINE              606 RAMBLEWOOD CT                                                                           BROOKVILLE      OH      45309‐1104
JAMES R COBB               3806 CORNICE FALLS DRIVE        UNIT 2                                                      HOLT            MI      48842‐8809
JAMES R COLE               821 CARLISLE AVE.                                                                           DAYTON          OH      45410‐2901
JAMES R COLLINS            5 NELSON STREET                                                                             JAMESTOWN       OH      45335‐1613
JAMES R CONARROE           139 S CHERRY ST                                                                             GERMANTOWN      OH      45327‐1311
JAMES R CONE               640 INTERLAKEN RD                                                                           FAIRMONT        MN      56031
JAMES R CONLEY             451 CLINTON ST                                                                              CLAYTON         OH      45315‐8965
JAMES R CORN               351 N GARBER DR                                                                             TIPP CITY       OH      45371‐1334
JAMES R CUNNINGHAM         824 NE RT 7                                                                                 BROOKFIELD      OH      44403
JAMES R DANIEL             4815 BOTTOM LANE                                                                            HILLSBORO       OH      45133
JAMES R DAPORE             533 KENT RD                                                                                 TIPP CITY       OH      45371‐2520
JAMES R DAULTON            3380 POPLAR GROVE RD.                                                                       PEEBLES         OH      45660‐8921
JAMES R DAVIS              403 LOWDEN PT ROAD                                                                          ROCHESTER       NY      14612‐1221
JAMES R DAVIS              C/O WEITZ & LUXENBERG PC        700 BROADWAY                                                NEW YORK        NY      10003
JAMES R DAVIS JR           1225 E KING ST                                                                              CORUNNA         MI      48817‐1530
JAMES R DAYS               216 E RUNDELL ST                                                                            PONTIAC         MI      48342
JAMES R DEL PINO           3625 W HOLIDAY ESTATES CT                                                                   GRANBURY        TX      76049‐6237
JAMES R DELPH              286 ORCHARD HILL DR                                                                         W CARROLLTON    OH      45449
JAMES R DISHER, IRA        1923 COBBLESTONE DRIVE                                                                      FINDLAY         OH      45840
JAMES R DOUGLAS            137 KASTNER AVENUE APT B                                                                    DAYTON          OH      45410‐1570
JAMES R EARLY              13956 PROVIDENCE RD                                                                         BROOKVILLE      OH      45309‐9760
JAMES R ELMY               386 E SHEFFIELD AVE                                                                         PONTIAC         MI      48340‐1971
JAMES R ESTES              3043 BALDWIN RD                                                                             ORTONVILLE      MI      48462‐9716
JAMES R EWER               360 DEVONSHIRE ST                                                                           YPSILANTI       MI      48198‐7816
JAMES R FARRIS             PO BOX 604                                                                                  TAYLOR          MI      48180‐0604
JAMES R FAULKNER           3641 TEABERRY DR                                                                            DAYTON          OH      45424
JAMES R FAULKNER           PMB 11879 P O BOX 2428                                                                      PENSACOLA       FL      32513
JAMES R FIELDS ESTATE OF   484 MOORE ST                                                                                PONTIAC         MI      48342‐1961
JAMES R FIGLEY             G4234 W. COURT ST. APT. 52                                                                  FLINT           MI      48504
JAMES R FISCUS             143 LONGMOUNT DR                                                                            PITTSBURGH      PA      15214
JAMES R FISHER             505 LITTLE LEAGUE DR                                                                        EATON           OH      45320‐‐ 12
JAMES R FLINN              946 SOUTHERN HILLS DR                                                                       RICHMOND        KY      40475‐3410
JAMES R FOWLER             807 RIDGELAWN AVE                                                                           HAMILTON        OH      45013‐2709
JAMES R FRASHER            308 FAIRWOOD CT                                                                             OLDSMAR         FL      34677
JAMES R FREELS             5144 N DAYTON LAKEVIEW RD                                                                   NEW CARLISLE    OH      45344‐9489
JAMES R FRERICH            9193 E LIPPINCOTT BLVD                                                                      DAVISON         MI      48423‐8330
JAMES R FYFFE              7750 BELDALE DRIVE                                                                          HUBER HEIGHTS   OH      45424‐3207
JAMES R GADD JR            277 PLEASANT PARK CT NW                                                                     WARREN          OH      44481‐9443
JAMES R GALLOWAY           5711 CEDARWOOD DR                                                                           LEWISBURG       OH      45338
JAMES R GATES              THE SUTTER LAW FIRM, PLLC       1598 KANAWHA BLVD EAST                                      CHARLESTON      WV      25311
JAMES R GAVORD JR          1000 CENTER AVE APT 8                                                                       BAY CITY        MI      48708‐6191
JAMES R GAYLORD            20 GOOD WIN CIRCLE BOX 91                                                                   MUMFORD         NY      14511‐0091
JAMES R GEEKIE             CHAPTER 13 TRUSTEE              PO BOX 1133                                                 MEMPHIS         TN      38101‐1133
JAMES R GETZ               8882 DUNHAM RD                                                                              LITCHFIELD      OH      44253‐9538
JAMES R GLOVER             350 FAIRVIEW DR                                                                             CARLISLE        OH      45005
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Name                               Address1                          Address2                    Address3              Address4               City            State   Zip
JAMES R GOEBEL                     35603 OAKDALE ST                                                                                           LIVONIA          MI     48154‐2237
JAMES R GRAY                       C/O WEITZ & LUXENBERG PC          700 BROADWAY                                                             NEW YORK CITY    NY     10003
JAMES R GRAY                       WEITZ & LUXENBERG PC              700 BROADWAY                                                             NEW YORK CITY    NY     10003
JAMES R GREER                      5508 GETTYSBURG‐PITSBURG RD                                                                                GREENVILLE       OH     45331‐9625
JAMES R GRINNELL                   1129 PIUS ST                                                                                               SAGINAW          MI     48638‐6563
JAMES R HAFDAHL                    4100 TROY RD                      LOT 68                                                                   SPRINGFEILD      OH     45502‐‐ 88
JAMES R HAJEK                      PO BOX 84                                                                                                  WEST MILTON      OH     45383
JAMES R HALES                      2796 CLAYBURN RD                                                                                           SAGINAW          MI     48603‐3118
JAMES R HARDY                      270 E SHOOP RD                                                                                             TIPP CITY        OH     45371‐2450
JAMES R HARRIS                     3231 PHILADELPHIA DRIVE           UNIT 2C                                                                  DAYTON           OH     45405
JAMES R HART                       1911 ENGLEWOOD DR                                                                                          BAY CITY         MI     48708‐6947
JAMES R HART                       2242 FALCON CREEK DR                                                                                       FRANKLIN         TN     37067‐4098
JAMES R HAUN                       3293 SODOM HUTCHINGS RD                                                                                    FOWLER           OH     44418‐9703
JAMES R HAYNES                     REGINA RD RT 4 BOX 352                                                                                     HILLSBORO        MO     63050‐9804
JAMES R HEDRICK                    5630 LEESVILLE RD                                                                                          BEDFORD          IN     47421‐7308
JAMES R HEFTY                      6315 TIMBERLAND DR                                                                                         DIMONDALE        MI     48821‐9755
JAMES R HELPHENSTINE               6772 WILLOW CREEK DR                                                                                       HUBER HEIGHTS    OH     45424‐2486
JAMES R HESS                       2727 BENS BRANCH DR APT 1110                                                                               KINGWOOD         TX     77339‐3745
JAMES R HICKMAN &                  VIVIAN L HICKMAN                  JT TEN                      11610 HEARTHWOOD DR                          WAYNESBORO       PA     17268‐9388
JAMES R HICKMAN & VIVIAN HICKMAN   JAMES R HICKMAN                   VIVIAN L HICKMAN            11610 HEARTHWOOD DR                          WAYNESBORO       PA     17268‐9388

JAMES R HILL                       1114 NORMANDY TERRACE DR                                                                                   FLINT           MI      48532‐3550
JAMES R HILL                       1525 MAIN STREET                                                                                           WARREN          OH      44483‐6519
JAMES R HOBBS                      12223 JASON DR                                                                                             MEDWAY          OH      45341‐9667
JAMES R HOCK                       4228 BOSART RD                                                                                             SPRINGFIELD     OH      45503‐6518
JAMES R HODGE                      14 SUTTON PLACE SOUTH                                                                                      NEW YORK        NY      10022
JAMES R HODGE IRA                  C/O JAMES R HODGE                 14 SUTTON PLACE SOUTH                                                    NEW YORK        NY      10022
JAMES R HOFFMAN                    ACCT OF MELISSA A HOFFMAN         3824 COOMER RD                                                           NEWFANE         NY      14108‐9652
JAMES R HOOPS                      208 MILLWOOD RD                                                                                            REIDSVILLE      NC      27320
JAMES R HOOVER                     1844 CRASE DR.                                                                                             XENIA           OH      45385‐4918
JAMES R HOPKINS                    121 HAGEN ST                                                                                               BUFFALO         NY      14211‐1911
JAMES R HORNING                    1212 LARRIWOOD AVE.                                                                                        KETTERING       OH      45429‐4719
JAMES R HOSKIN                     834 SOUTH GREY WAY                                                                                         INVERNESS       FL      34450
JAMES R HOWARD                     590 WILKERSON RD                                                                                           FAIRBORN        OH      45324‐9610
JAMES R HOWELL                     111 BIG PINE RD                                                                                            DAYTON          OH      45431
JAMES R HUESKEN                    1499 ROSE HEDGE DR                                                                                         POLAND          OH      44514‐3611
JAMES R HUMPHREY                   437 AYRAULT RD                                                                                             FAIRPORT        NY      14450‐2903
JAMES R HUMPHREY                   42 CREEKVIEW DRIVE                                                                                         ROCHESTER       NY      14624‐5205
JAMES R HUMPHREY                   2950 MANOR RD                                                                                              OSHKOSH         WI      54904‐9253
JAMES R HUNDLEY JR                 283 LAIRWOOD DR                                                                                            DAYTON          OH      45458‐9443
JAMES R ISCHKUM                    14213 EUREKA RD                                                                                            COLUMBIANA      OH      44408‐9784
JAMES R ISON                       8199 SPRINGDALE DR                                                                                         WHITE LAKE      MI      48386‐4544
JAMES R JACKSON                    5916 FAIRGROVE WAY                                                                                         TROTWOOD        OH      45426‐2112
JAMES R JOHNSON                    136 RICHARD AVE                                                                                            CORTLAND        OH      44410
JAMES R JONES                      PO BOX 173                                                                                                 HARVEYSBURG     OH      45032‐‐ 01
JAMES R JONES                      C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                                HOUSTON         TX      77007
                                   BOUNDAS LLP
JAMES R JONES JR                   2696 PANTALL RD                                                                                            THOMPSONS        TN     37179
                                                                                                                                              STATION
JAMES R JORDAN                     4804 E WEBB RD                                                                                             YOUNGSTOWN      OH      44515‐1221
JAMES R KEMPLIN                    7100 ULMERTON RD LOT 662                                                                                   LARGO           FL      33771
JAMES R KIDD                       10331 HILLGROVE FORT RECOVER RD                                                                            UNION CITY      OH      45390‐8651
JAMES R KIELING                    5691 17 MILE RD NE                                                                                         CEDAR SPRINGS   MI      49319‐9244
JAMES R KIMES                      5525 SANDY LN                                                                                              COLUMBIAVILLE   MI      48421‐8967
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Name                              Address1                        Address2                        Address3         Address4               City           State   Zip
JAMES R KING JR                   8145 WILDCAT RD                                                                                         TIPP CITY       OH     45371‐9278
JAMES R KITTLE                    773 ADELAIDE AVE NE                                                                                     WARREN          OH     44483
JAMES R KLEINSASSER               819 KANSAS AVE NE                                                                                       HURON           SD     57350
JAMES R KNOX III                  C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                               HOUSTON         TX     77007
                                  BOUNDAS LLP
JAMES R KOEHLER                   376 TURNER DR                                                                                           LEBANON        OH      45036‐1031
JAMES R KOENIG                    5234 OTTAWA DR                                                                                          FAIRBORN       OH      45324‐1926
JAMES R KRATZER                   979 S GEORGE RD                                                                                         CLARKSVILLE    OH      45113‐9757
JAMES R KYZAR                     781 FOX RD SE                                                                                           BOGUE CHITTO   MS      39629
JAMES R LAMBERT                   1297 LAMBERT LN SE                                                                                      BROOKHAVEN     MS      39601
JAMES R LASICH                    PO BOX 361                                                                                              NOLENSVILLE    TN      37135‐0361
JAMES R LAYCOCK                   4100 STATE RT 5                 ROOM‐25                                                                 NEUTON FALLS   OH      44444‐‐ 97
JAMES R LAYNE JR                  1057 LANDSDALE DRIVE                                                                                    FAIRBORN       OH      45324‐5720
JAMES R LECHNER                   4915 LAUDERDALE DR                                                                                      MORAINE        OH      45439‐2803
JAMES R LEIGH                     326 GLENDOLA AVE NW                                                                                     WARREN         OH      44483‐1249
JAMES R LEONARD PENSION           PO BOX 82367                                                                                            LAFAYETTE      LA      70598
JAMES R LIDDLE                    7352 KINGSVILLE ROAD                                                                                    FARMDALE       OH      44417
JAMES R LINVILLE JR               3414 HEARDS FERRY DR                                                                                    TAMPA          FL      33618‐2919
JAMES R LISS                      4961 APPLE CT                                                                                           FREELAND       MI      48623‐8800
JAMES R LITTLE MD                 PO BOX 479                                                                                              KEEGO HARBOR   MI      48320‐0479
JAMES R LIVERMORE                 3853 JEANETTE DRIVE SOUTHEAST                                                                           WARREN         OH      44484
JAMES R LIVINGSTON                4267 GLENAYRE DR 82                                                                                     ENGLEWOOD      OH      45322
JAMES R LOCK                      125 SPRINGWAY DR                                                                                        DAYTON         OH      45415‐2348
JAMES R LONG‐5601 GRANDE MARKET   5735 W SPENCER ST                                                                                       APPLETON       WI      54914‐9115
JAMES R LOOK                      3800 NEWPORT LN                                                                                         BOULDER        CO      80304
JAMES R LUTE                      991 GULTICE RD                                                                                          XENIA          OH      45385‐8427
JAMES R MARTIN                    2127 CASA RIO CIR                                                                                       DICKINSON      TX      77539‐6784
JAMES R MASSEY                    568 ONANDAGO ST                                                                                         YPSILANTI      MI      48198‐6179
JAMES R MATHES JR                 PO BOX 778                                                                                              EATON          OH      45320
JAMES R MC PHERSON JR             1831 SUGAR RUN TRL                                                                                      BELLBROOK      OH      45305‐1151
JAMES R MCCLAIN                   56 FINCH STREET                                                                                         ROCHESTER      NY      14613‐2237
JAMES R MCDOWELL                  102 GOLDEN ROD LANE                                                                                     ROCHESTER      NY      14623‐3606
JAMES R MCELROY                   628 JAMESTOWN DR                                                                                        MIAMISBURG     OH      45342‐3944
JAMES R MCGOODWIN                 PO BOX 121181                                                                                           FORT WORTH     TX      76121‐1181
JAMES R MCGOWAN                   4557 NW TAM O'SHANTER WAY                                                                               PORTLAND       OR      97229
JAMES R MCKNIGHT                  1787 VANCOUVER DR                                                                                       DAYTON         OH      45406‐4622
JAMES R MCPHERSON JR              2486 BENT OAK TRL                                                                                       SNELLVILLE     GA      30078‐2283
JAMES R MCSPADDEN                 8522 MILLGATE LN                                                                                        CENTERVILLE    OH      45450
JAMES R MERRICK                   3408 CLEARVIEW AVE                                                                                      MORAINE        OH      45439‐1112
JAMES R MESSER                    2088 HILLRISE CIR                                                                                       BELLBROOK      OH      45305
JAMES R MILLER                    PO BOX 2853                                                                                             DETROIT        MI      48202‐0853
JAMES R MILLER, III               1809 SHADY HILL LN                                                                                      WAKE FOREST    NC      27587‐6294
JAMES R MILLSON                   177 STATE RD                                                                                            VALENCIA       PA      16059
JAMES R MITCHELL                  1436 KIPLING DRIVE                                                                                      DAYTON         OH      45406‐4223
JAMES R MOON                      1448 N EUCLID AVE                                                                                       DAYTON         OH      45406‐5920
JAMES R MORRIS                    352 SPLIT RAIL CR                                                                                       NEWPORT NEWS   VA      23602
JAMES R MORROW                    1333 WEST FAIRVIEW AVE          APT 1A                                                                  DAYTON         OH      45406
JAMES R MOSLEY                    2921 LAKEHURST ST                                                                                       MORAINE        OH      45439‐1406
JAMES R MURLIN                    1100 LAVERN AVE                                                                                         DAYTON         OH      45429
JAMES R NEAL                      5551 SHAW RD 6                                                                                          JACKSON        MS      39209
JAMES R NELSON, JR.               1813 OAKRIDGE DR                                                                                        DAYTON         OH      45417‐2341
JAMES R NIGRO JR                  53 FLOREN DR                                                                                            ROCHESTER      NY      14612
JAMES R O'NEILL                   CHARLES SCHWAB TRUST CO TTEE    DICKSTEIN SHAPIRO PS/401K FBO   1825 EYE ST NW                          WASHINGTON     DC      20006
                                                                  JAMES R O'NEILL
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Name                                Address1                            Address2                            Address3              Address4               City               State   Zip
JAMES R OHARA                       30400 THIEROFF RD                                                                                                    HOLGATE             OH     43527‐9600
JAMES R OPPERMAN                    10045 BLOCK RD                                                                                                       BIRCH RUN           MI     48415‐9721
JAMES R ORICK                       5237 N 100 W                                                                                                         ANDERSON            IN     46011‐9285
JAMES R OROS                        10108 DUFFIELD RD                                                                                                    MONTROSE            MI     48457‐9182
JAMES R OSWALT                      5313 N STAR FORT LORAMIE RD                                                                                          NEW WESTON          OH     45348‐9766
JAMES R PALMER                      2033 S. HADLEY RD                                                                                                    SPRINGFIELD         OH     45505
JAMES R PARKER                      110 MCCARTY RD                                                                                                       JACKSON             MS     39212‐9635
JAMES R PAUL                        13420 DUNHAM RD                                                                                                      HARTLAND            MI     48353‐2311
JAMES R PEARCE                      4807 RIVERVIEW AVE                                                                                                   MIDDLETOWN          OH     45042‐3048
JAMES R PERLICH & KAREN J PERLICH   416 E SIMPSON CHAPEL RD                                                                                              BLOOMFIELD          IN     47424‐5191
JAMES R PERRINE                     1412 PIERCE AVE                                                                                                      SHARPSVILLE         PA     16150‐1053
JAMES R PIERSON                     1021 WILHELMINA DR                                                                                                   VANDALIA            OH     45377
JAMES R POUR                        1710 BEECHWOOD DR                                                                                                    TROY                OH     45373
JAMES R POWELL                      C/O WILLIAMS KHERKHER HART AND      8441 GULF FREEWAY STE 600                                                        HOUSTON             TX     77007
                                    BOUNDAS LLP
JAMES R PRICE                       4385 DURST CLAGG RD.                                                                                                 CORTLAND           OH      44410‐9503
JAMES R PRUITT & JUDITH L PRUITT    C/O MCKENNA & ASSOCIATES PC         436 BOULEVARD OF THE ALLIES ‐ STE                                                PITTSBURGH         PA      15219‐1331
                                                                        500
JAMES R PURKEY                      3883 RT 42 N                                                                                                         WAYNESVILLE        OH      45068‐9539
JAMES R RAWLINGS                    7902 SUTTON PL NE                                                                                                    WARREN             OH      44484
JAMES R REDD                        4681 VILLAGE DR                                                                                                      JACKSON            MS      39206
JAMES R REDDEN TTEE                 GERALDINE REDDEN TTEE               FAMILY TRUST ‐ REDDEN               6529 COACHLIGHT WAY                          WEST CHESTER       OH      45069
JAMES R REED                        G 3399 W DAYTON STREET                                                                                               FLINT              MI      48504
JAMES R RICE                        1421 BALSAM DR                                                                                                       DAYTON             OH      45432‐3231
JAMES R RICHARDS                    1265 UPPER BELLBROOK RD                                                                                              XENIA              OH      45385‐8911
JAMES R RISNER                      353 S BICKETT RD                                                                                                     XENIA              OH      45385
JAMES R RIST                        1470 SCENERY DR                                                                                                      ELIZABETH          PA      15037
JAMES R ROBERTS                     5851 SHADY COVE LANE                                                                                                 TROTWOOD           OH      45426‐2117
JAMES R ROSE                        5839 LYNN ST                                                                                                         FRANKLIN           OH      45005
JAMES R ROSENBROCK                  8647 BUCK RD                                                                                                         FREELAND           MI      48623‐9735
JAMES R ROWLAND                     GLASSER AND GLASSER, CROWN CENTER   580 EAST MAIN STREET SUITE 600                                                   NORFOLK            VA      23510

JAMES R RUNNELS                     5120 MARSHALL LN                                                                                                     WHITE LAKE          MI     48383‐3348
JAMES R RUSH                        33250 FREEDOM RD APT 1                                                                                               FARMINGTON          MI     48336‐4675
JAMES R RUTLEDGE
JAMES R SATTERFIELD                 127 E MAIN ST                                                                                                        W CARROLLTON       OH      45449‐1415
JAMES R SCHAFFER JR                 569 PENN ESTATES                                                                                                     EAST STROUDSBURG   PA      18301

JAMES R SCHULTE                     14475 PECAN HILL CIR                                                                                                 NOBLE              OK      73068‐5251
JAMES R SCHUMAN                     1162 BRADFORD NW                                                                                                     WARREN             OH      44485‐1960
JAMES R SCHUYLER                    863 SOUTHPARK DR 12                                                                                                  MYRTLE BEACH       SC      29577
JAMES R SEMRAU                      263 BRAY RD                                                                                                          ARCADE             NY      14009‐9425
JAMES R SHEALY                      1404 CARTER ST                                                                                                       COLUMBIA           SC      29204
JAMES R SHELDON                     194 CROOKED LIMB DR                                                                                                  LAPEER             MI      48446
JAMES R SIMS                        749 SHREWSBURY RD                                                                                                    LEITCHFIELD        KY      42754‐9213
JAMES R SLATER                      3825 MAXINE ST                                                                                                       FT MYERS           FL      33901‐8522
JAMES R SLIFE                       532 SPRUCE AVE                                                                                                       COOKEVILLE         TN      38501‐‐ 16
JAMES R SMITH                       5608 FORESTHILL                                                                                                      DAYTON             OH      45414‐4106
JAMES R SMITH                       1532 ROCKLEIGH RD                                                                                                    CENTERVILLE        OH      45458‐6036
JAMES R SMITH                       209 FLORIDA RD S                                                                                                     MATTYDALE          NY      13211‐1814
JAMES R SPANG                       64 WOODLAWN STREET                                                                                                   ROCHESTER          NY      14607‐3736
JAMES R SPITLER                     3716 FOWLER RD                                                                                                       SPRINGFIELD        OH      45502‐9729
JAMES R STACKS                      C/O WILLIAMS KHERKHER HART &        8441 GULF FREEWAY, STE 600                                                       HOUSTON            TX      77007
                                    BOUNDAS, LLP
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Name                                Address1                          Address2                   Address3          Address4               City             State   Zip
JAMES R STAFFORD                    1280 S 13TH ST APT 4                                                                                  ELWOOD            IN     46036‐2766
JAMES R STALKER                     12949 E. M‐68                                                                                         MILLERSBURG       MI     49759
JAMES R STANTON                     99 EDGEWOOD DRIVE EXT                                                                                 TRANSFER          PA     16154
JAMES R STATHAM                     339 LOCH LOMOND DR                                                                                    FARMERVILLE       LA     71241‐5673
JAMES R STEARNS                     1904 HAYWOOD ST                                                                                       FARRELL           PA     16121
JAMES R STEVENS                     1972 RYAN ROAD                                                                                        SPRINGBORO        OH     45066
JAMES R STORIE                      7181 UNION SCHOOLHOUSE RD                                                                             DAYTON            OH     45424‐5225
JAMES R SUTTON                      8045 BETHESDA RD                                                                                      CRYSTAL SPGS      MS     39059
JAMES R SWANTON                     14462 LAKE SHORE ROAD                                                                                 KENT              NY     14477
JAMES R SYGAR                       2426 NORTHVIEW DR.                                                                                    CORTLAND          OH     44410‐1744
JAMES R SYGAR                       2426 NORTHVIEW DR                                                                                     CORTLAND          OH     44410‐1744
JAMES R SYMONS                      1112 N TRUMBULL ST                                                                                    BAY CITY          MI     48708‐6359
JAMES R TALBOT                      2321 W CAROL DRIVE                                                                                    FULLERTON         CA     92833‐2901
JAMES R TERDOEST                    4720 GLENDALE AVE APT 210                                                                             TOLEDO            OH     43614
JAMES R THACKER                     121 E COTTAGE AVE                                                                                     W CARROLLTON      OH     45449‐1456
JAMES R THOMAS                      15 BROOKHAVEN DR                                                                                      TROTWOOD          OH     45426‐3102
JAMES R THOMAS I I                  220 S WALNUT                                                                                          FLETCHER          OH     45326
JAMES R THORNTON                    CGM IRA CUSTODIAN                 141 CALLE ALTA                                                      ORANGE            CA     92869
JAMES R THUMA                       236 WOODSIDE DR                                                                                       W ALEXANDRIA      OH     45381‐9306
JAMES R TINCH                       795 W MARKET ST                                                                                       SPRINGBORO        OH     45066‐1121
JAMES R TINCH, II                   795 W MARKET ST                                                                                       SPRINGBORO        OH     45066
JAMES R TOLER                       PO BOX 1073                                                                                           NEW ALBANY        MS     38652‐1073
JAMES R TOOTHMAN                    2602 S ARAGON AVE                                                                                     KETTERING         OH     45420‐3510
JAMES R TREMAIN                     1252 EDDY RD                                                                                          BEAVERTON         MI     48612‐8574
JAMES R VALOT & KATHERINE L VALOT   VALOT FAMILY TRUST DTD 07‐06‐93   2055 WEST 250TH STREET                                              LOMITA            CA     90717‐1705
TTEES OF THE
JAMES R VANDERPOOL                  619 E 4TH ST                                                                                          MONROE           MI      48161‐1207
JAMES R VANKUYCK                    3267 EDGEMERE DR                                                                                      ROCHESTER        NY      14612‐1114
JAMES R VERDICK                     6425 RICE CT                                                                                          LINO LAKES       MN      55014‐1408
JAMES R WALDEN                      1422 LAKES BLVD APT D302                                                                              COLUMBIA         TN      38401‐4696
JAMES R WALKER                      523 OAK HILL RD                                                                                       POPLARVILLE      MS      39470
JAMES R WALTERS                     2752 TRIBBLE RD                                                                                       FORT VALLEY      GA      31030‐8571
JAMES R WASCZENSKI                  33828 SANDWOOD DR                                                                                     WESTLAND         MI      48185‐9404
JAMES R WATERCUTTER                 5775 E. STATE ROUTE 571                                                                               TIPP CITY        OH      45371‐8324
JAMES R WATTERSON                   1956 OLD HICKORY BLVD                                                                                 BRENTWOOD        TN      37027
JAMES R WELLS                       NIX PATTERSON & ROACH LLP         GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                          DAINGERFIELD     TX      75638
JAMES R WELLS                       602 STATE ROUTE 121 N                                                                                 NEW PARIS        OH      45347‐9128
JAMES R WHEELER                     175 FRANCIS                                                                                           PORT CHARLOTTE   FL      33952
JAMES R WHITAKER                    517 CAREY ST                                                                                          LANSING          MI      48915‐1905
JAMES R WHITE                       133 GEORGETOWN PL                                                                                     YOUNGSTOWN       OH      44515‐2220
JAMES R WHITE                       309 N J ST                                                                                            TILTON           IL      61833‐7448
JAMES R WHITWORTH                   3514 W 58TH STREET                                                                                    CLEVELAND        OH      44102‐5640
JAMES R WIEMELS
JAMES R WIGGINTON TOD W NIELSEN     V NIELSEN, C WIGGINTON            SUBJECT TO STA RULES       PO BOX 397                               NORDMAN          ID      83848
JAMES R WILLCOX                     297 E BETHUNE ST                                                                                      DETROIT          MI      48202‐2812
JAMES R WILLIAMS JR                 5618 HAMILTON AVE                                                                                     JENNINGS         MO      63136‐3506
JAMES R WILSON                      665 CARSON SALTSPRING RD                                                                              MINERAL          OH      44440‐‐ 93
JAMES R WILSON                      360 OLD BART JONES                                                                                    DEER LODGE       TN      37726‐3034
JAMES R WOODWARD                    14032 PLACID DR                                                                                       HOLLY            MI      48442
JAMES R WOODY                       49716 MCCLURE RD                                                                                      E PALESTINE      OH      44413‐8758
JAMES R WREN                        265 LESLIE DR                                                                                         WILMINGTON       OH      45177
JAMES R WRIGHT JR                   10185 N COUNTY ROAD 25 W                                                                              FARMERSBURG      IN      47850‐8208
JAMES R YETTER                      254 NORTHVIEW AVENUE                                                                                  CRESTLINE        OH      44827‐1051
JAMES R YOUNG                       9799 TAMALPAIS PLACE                                                                                  MARENO VALLEY    CA      92557‐3516
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Name                  Address1                          Address2         Address3         Address4               City           State Zip
JAMES R. AMLING
JAMES R. HAWKINS MD   415 STRAIGHT STREET               3RD FLOOR                                                CINCINNATI     OH    45219
JAMES R. HEBDEN
JAMES R. MC CARTHY
JAMES R. POOLE
JAMES R. SHEALY       1404 CARTER ST.                                                                            COLUMBIA       SC    29204
JAMES R. WEISNER      108 MELODY ROAD                   P.O. BOX 245                                             SAINT MARYS    PA    15857‐0245
JAMES RAAB            PO BOX 420                                                                                 MORLEY         MI    49336‐0420
JAMES RABE            1222 E PINCONNING RD                                                                       PINCONNING     MI    48650‐8911
JAMES RABIDEAU        S77W20298 WOOD BERRY LN                                                                    MUSKEGO        WI    53150‐8257
JAMES RABIDEAU        2125 HOBART RD                                                                             GAGETOWN       MI    48735‐9745
JAMES RABY            7368 SUGARLOAF DR                                                                          ANTIOCH        TN    37013‐4616
JAMES RABY            1109 W PARKWOOD AVE                                                                        FLINT          MI    48507‐3631
JAMES RACE            996 HEARTHSIDE ST                                                                          SOUTH LYON     MI    48178‐2041
JAMES RACHAR          12386 GALE RD                                                                              OTISVILLE      MI    48463‐9432
JAMES RACKNOR         695 ROLLING HILLS LN APT 1                                                                 LAPEER         MI    48446‐4719
JAMES RACZKOWSKI      33 CENTENNIAL CT                                                                           WEST SENECA    NY    14224‐3724
JAMES RADABAUGH       7050 STAR LANE RD                                                                          NEWPORT        MI    48166‐9758
JAMES RADCLIFFE       14625 S GARDNER RD                                                                         GARDNER        KS    66030‐9316
JAMES RADEMACHER      10820 W PARKS RD                                                                           FOWLER         MI    48835‐9108
JAMES RADEMACHER      12740 W LEHMAN RD                                                                          WESTPHALIA     MI    48894‐9756
JAMES RADEMACHER      476 ALBION RD                                                                              EDGERTON       WI    53534‐9376
JAMES RADER           127 PASADENA AVE                                                                           COLUMBUS       OH    43228‐6112
JAMES RADFORD         2318 CHESNING AVE                                                                          JACKSON        MI    49202‐2930
JAMES RADLEY          19026 LAUREL DR                                                                            LIVONIA        MI    48152‐4809
JAMES RAE             3117 MARGARET ST                                                                           AUBURN HILLS   MI    48326‐3631
JAMES RAGLAND         556 LOCUST CORNER RD                                                                       CINCINNATI     OH    45245‐3106
JAMES RAGSDALE        522 SOUTH LAS UVAS                                                                         GREEN VALLEY   AZ    85614‐2237
JAMES RAGSDALE        3601 TURTLE CREEK BLVD APT 1001                                                            DALLAS         TX    75219‐5547
JAMES RAGSTON         7408 VASSAR RD                                                                             OTISVILLE      MI    48463‐9467
JAMES RAHIJA          3748 N 124TH ST                                                                            KANSAS CITY    KS    66109‐4217
JAMES RAHMBERG        385 CAMPBELL CT                                                                            TROY           MO    63379‐1804
JAMES RAINE           113 FAWNS REST ROAD                                                                        SILER CITY     NC    27344‐9429
JAMES RAINEY          901 HOLLYWOOD DR                                                                           OWOSSO         MI    48867‐1141
JAMES RAINEY          16209 N 200 W                                                                              SUMMITVILLE    IN    46070‐9375
JAMES RAINEY          1942 TRIPP RD                                                                              WOODSTOCK      GA    30188‐1916
JAMES RAINEY          777 HIGH OAKS CIR                                                                          BEAVERCREEK    OH    45434‐6014
JAMES RAINEY JR       2904 N TIMBER LN                                                                           MUNCIE         IN    47304‐5432
JAMES RAINS           660 OAKLAWN CIR                                                                            CORBIN         KY    40701‐2927
JAMES RAINS           14995 W PINCHOT AVE                                                                        GOODYEAR       AZ    85395
JAMES RAINS JR        14995 W PINCHOT AVE                                                                        GOODYEAR       AZ    85395‐8676
JAMES RAINWATER       25745 MOUNT PLEASANT RD                                                                    ARCADIA        IN    46030‐9555
JAMES RALEIGH         PO BOX 21                                                                                  WITHEE         WI    54498‐0021
JAMES RALEIGH         5080 TREAT HWY                                                                             ADRIAN         MI    49221‐9648
JAMES RALPH           3440 S JEFFERSON ST APT 717                                                                FALLS CHURCH   VA    22041
JAMES RALPH           11 S TRANSIT HILL DR                                                                       DEPEW          NY    14043‐4803
JAMES RALPH           11535 PLAZA DR APT 207E                                                                    CLIO           MI    48420‐1794
JAMES RALPH           4160 W LAKESIDE DR                                                                         WEST BRANCH    MI    48661‐9639
JAMES RALPH           1134 N PARKER AVE                                                                          INDIANAPOLIS   IN    46201‐2270
JAMES RALSTON         22460 KLINES RD. LOT 269                                                                   THREE RIVERS   MI    49093
JAMES RALSTON         4725 MORRISON RD                                                                           ALGER          MI    48610‐9358
JAMES RAMALHO         107 TYLER RD                                                                               WOODBINE       NJ    08270‐9627
JAMES RAMEY           1400 S RIVERVIEW DR                                                                        YORKTOWN       IN    47396‐1067
JAMES RAMEY           732 COBBLER LN W                                                                           MT STERLING    KY    40353‐1385
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Name                          Address1                         Address2                       Address3                  Address4               City            State   Zip
JAMES RAMEY                   4105 WABANINGO RD                                                                                                OKEMOS           MI     48864‐3438
JAMES RAMEY                   42 WINFOUGH ST. BOX 61                                                                                           COALTON          OH     45621
JAMES RAMEY                   112 ASHLAND DR                                                                                                   LA FONTAINE      IN     46940‐9248
JAMES RAMIREZ                 1829 DRIFTWOOD DR                                                                                                EL CENTRO        CA     92243‐4157
JAMES RAMM                    5121 BRANDON RD                                                                                                  TOLEDO           OH     43615‐4707
JAMES RAMSEY                  8032 JORDAN RD                                                                                                   GRAND BLANC      MI     48439‐9726
JAMES RAMSEY                  715 HIGH ST                                                                                                      MIDDLETOWN       IN     47356‐1314
JAMES RAMSEY                  PO BOX 301                                                                                                       MOUNT VERNON     NY     10550
JAMES RAMSEY                  2501 PROVIDENCE CHURCH RD                                                                                        ANDERSON         SC     29626‐6440
JAMES RAMSEY                  THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                                     HOUSTON          TX     77017
JAMES RANCEFUL                PO BOX 844                                                                                                       TYLERTOWN        MS     39667‐0844
JAMES RANCOURT                12690 AVOCET DR                                                                                                  CARMEL           IN     46033‐8203
JAMES RANDALE                 3626 GERALD LN                                                                                                   HAMILTON         OH     45015‐2044
JAMES RANDALL                 4561 MICHAEL AVE                                                                                                 NORTH OLMSTED    OH     44070‐2918
JAMES RANDALL                 1140 JADE DR                                                                                                     MOSCOW MILLS     MO     63362‐1906
JAMES RANDALL JACKSON TRUST   U/A 09‐13‐1999                   JAMES RANDALL JACKSON, TRUSTEE 5250 MANZ PLACE APT 112                          SARASOTA         FL     34232
JAMES RANDAZZO                3511 MASSINI AVE                                                                                                 NORTH PORT       FL     34286‐2412
JAMES RANDELL                 6241 LORRAINE AVE                                                                                                SAINT LOUIS      MO     63121‐5623
JAMES RANDLES                 350 E GUNN RD                                                                                                    ROCHESTER        MI     48306‐1807
JAMES RANDOLPH                9036 GEMSTONE DR                                                                                                 LAS VEGAS        NV     89134‐8558
JAMES RANDOLPH                1494 E OOLITIC RD                                                                                                BEDFORD          IN     47421‐8625
JAMES RANDOLPH                19184 WARRINGTON DR                                                                                              DETROIT          MI     48221‐1821
JAMES RANDOLPH                C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                                      BOSTON HTS       OH     44236
JAMES RANEY                   12212 WAYNE TRACE RD                                                                                             SOMERVILLE       OH     45064‐9633
JAMES RANGER                  5527 WHITFIELD DR                                                                                                TROY             MI     48098‐5105
JAMES RANKEY                  1085 EAST BEAVER ROAD                                                                                            KAWKAWLIN        MI     48631‐9164
JAMES RAPER                   3218 E 6TH ST                                                                                                    ANDERSON         IN     46012‐3828
JAMES RAPP                    3441 INDIAN CREEK RDG NW                                                                                         WALKER           MI     49544‐9429
JAMES RAPTOSH                 16860 CORAL LN                                                                                                   MACOMB           MI     48042‐1117
JAMES RAQUEPAW                110 E CENTER ST                  NUMBER 584                                                                      MADISON          SD     57042‐2908
JAMES RASBERRY                5101 ELYRIA LN                                                                                                   DAYTON           OH     45406
JAMES RASE                    4178 BRADYLEIGH BLVD                                                                                             ROCHESTER        MI     48306‐4710
JAMES RASHED                  5547 MAHONING AVE                                                                                                AUSTINTOWN       OH     44515‐2316
JAMES RASMUSSEN               810 W MCCONNELL ST                                                                                               SAINT JOHNS      MI     48879‐1746
JAMES RASNICK                 1209 E SECOND ST                                                                                                 GREENFIELD       IN     46140‐2638
JAMES RATH                    174 BERKSHIRE AVE                                                                                                BUFFALO          NY     14215‐1504
JAMES RATH                    4348 STATE ROUTE 18                                                                                              HICKSVILLE       OH     43526‐9245
JAMES RATHBUN                 141 LOCKWOOD ST                                                                                                  SAGINAW          MI     48602‐3025
JAMES RATHKE                  2254 RICHMAND DR                                                                                                 NORTHWOOD        OH     43619‐1125
JAMES RATKOVICH               747 FAYETTEVILLE OWEN RD                                                                                         BEDFORD          IN     47421‐8443
JAMES RATLIFF                 498 N SAGINAW ST                                                                                                 PONTIAC          MI     48342‐1462
JAMES RATLIFF                 10580 E CALLE DEL ESTE                                                                                           TUCSON           AZ     85748‐6841
JAMES RATYNSKI                320 AGNES DR                                                                                                     BAY CITY         MI     48708‐8425
JAMES RAU                     1083 STAMM DR                                                                                                    ALGER            MI     48610‐9628
JAMES RAUSCHENBERGER          9483 E MOUNT MORRIS RD                                                                                           OTISVILLE        MI     48463‐9413
JAMES RAVE                    1363 W 61ST ST                                                                                                   CLEVELAND        OH     44102‐2103
JAMES RAVICCHIO               884 TUPPER CT                                                                                                    LINDEN           MI     48451‐8509
JAMES RAWLINGS                636 MADDOX RD                                                                                                    ALEXANDRIA       KY     41001‐9422
JAMES RAWLS                   845 E 7TH ST                                                                                                     FLINT            MI     48503‐2740
JAMES RAY                     10219 TIDEWATER TRL                                                                                              FORT WAYNE       IN     46845‐8918
JAMES RAY                     1317 CHIPPEWA AVE                                                                                                AKRON            OH     44305‐2703
JAMES RAY                     1024 SPRINGMEADOW LN                                                                                             TROTWOOD         OH     45426‐4719
JAMES RAY                     7732 WYKES ST                                                                                                    DETROIT          MI     48210‐1026
JAMES RAY                     PO BOX 360173                                                                                                    DECATUR          GA     30036‐0173
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Name                   Address1                       Address2                       Address3                    Address4               City            State   Zip
JAMES RAY              58 ENOLA AVE                                                                                                     KENMORE          NY     14217‐1708
JAMES RAY              2109 TULANE DR                                                                                                   LANSING          MI     48912‐3545
JAMES RAY              5980 VERNON ST                                                                                                   BELLEVILLE       MI     48111‐5010
JAMES RAY              2275 BATES RD                                                                                                    MOUNT MORRIS     MI     48458‐2603
JAMES RAY              1241 SW 81ST ST                                                                                                  OKLAHOMA CITY    OK     73139‐2526
JAMES RAY              1437 SW 129TH ST                                                                                                 OKLAHOMA CITY    OK     73170‐6918
JAMES RAY              4511 DEBRA AVE                                                                                                   DAYTON           OH     45420‐3307
JAMES RAY              1359 PRESIDENTS LANDING DR                                                                                       O FALLON         MO     63366‐8484
JAMES RAY REED         NIX, PATTERSON & ROACH, LLP    GM BANKRUPTCY DEPARTMENT       205 LINDA DRIVE                                    DAINGERFIELD     TX     75638
JAMES RAYFORD JR.      70 BIRCKHEAD PL                                                                                                  TOLEDO           OH     43608‐2321
JAMES RAYL             6215 FENTON RD                                                                                                   FLINT            MI     48507‐4787
JAMES RAYLES I I       7160 W GLENDALE LN                                                                                               GREENFIELD       IN     46140‐9659
JAMES RAYMENT          323 SWAMP FOX DR                                                                                                 FORT MILL        SC     29715‐6701
JAMES RAYMO            3677 BLUEBUSH RD                                                                                                 MONROE           MI     48162‐9449
JAMES RAYMOND          6575 SUNNYSIDE DR                                                                                                LEESBURG         FL     34748‐9537
JAMES RAYMOND SOLDAT   ATTN ROBERT W PHILLIPS         C/O SIMMONS BROWDER GIANARIS 707 BERKSHIRE BLVD ‐ PO BOX                          EAST ALTON        IL    62024
                                                      ANGELIDES & BARNERD LLC      521
JAMES RAYNER           8265 KIMBLE DR                                                                                                   PINCKNEY        MI      48169‐8259
JAMES REA              105 CRESWELL AVE                                                                                                 ELKTON          MD      21921‐6105
JAMES REA              47121 W MAIN ST                                                                                                  NORTHVILLE      MI      48167‐1763
JAMES READ             5300 BIANCA DR                                                                                                   GRAND BLANC     MI      48439‐7651
JAMES READING          12200 HIGH MEADOW CT                                                                                             OKLAHOMA CITY   OK      73170‐6001
JAMES REAGAN           275 ANN ST                     MILLSTONE                                                                         HILLSBOROUGH    NJ      08844‐5105
JAMES REAGAN           PO BOX 88                                                                                                        MILTON          KY      40045‐0088
JAMES REAGOR           551 E PATERSON ST                                                                                                FLINT           MI      48505‐4710
JAMES REAHLE           1448 DEFOREST RD                                                                                                 NILES           OH      44446‐1278
JAMES REAMER           80 RIVIERA TER                                                                                                   WATERFORD       MI      48328‐3463
JAMES REAMS            ROCKINGHAM COUNTY ATTORNEY'S   PO BOX 1209                                                                       KINGSTON        NH      03848‐1209
                       OFFICE
JAMES REARDON          6720 GORSUCH RD                                                                                                  FRANKLIN        OH      45005‐4545
JAMES REAUME           3752 S BERN RD                                                                                                   BAY CITY        MI      48706‐9235
JAMES REAVES           3416 COLUMBUS AVE              OHIO VETRANS HOME                                                                 SANDUSKY        OH      44870‐5557
JAMES REBER            1387 W 350 S                                                                                                     HUNTINGTON      IN      46750‐9181
JAMES REBIC            PO BOX 202                                                                                                       MANCHESTER      MI      48158‐0202
JAMES REBMAN           PO BOX 679                                                                                                       PENNS GROVE     NJ      08069‐0679
JAMES REBURN           1809 GREENBRIAR LN                                                                                               FLINT           MI      48507‐2219
JAMES RECKLEY          9500 WOLF LAKE RD                                                                                                BROOKLYN        MI      49230‐8980
JAMES RECKNAGEL        6222 ZIRKELS CIR                                                                                                 BROOKSVILLE     FL      34604‐8576
JAMES RECTOR           3812 MCELROY RD APT D12                                                                                          DORAVILLE       GA      30340‐2319
JAMES RECTOR           9333 S ORCA CRICLE DR                                                                                            BALDWIN         MI      49304
JAMES REDBURN          4067 RIVER RD                                                                                                    FRANKFORT       MI      49635‐9378
JAMES REDD             11755 NORBOURNE DR APT 716                                                                                       CINCINNATI      OH      45240‐4445
JAMES REDDEN           16 SUMMERVILLE DR                                                                                                ROCHESTER       NY      14617‐1131
JAMES REDDEN           8442 SW RIVIERA DR                                                                                               ARCADIA         FL      34269‐6856
JAMES REDDING          300 CARO LN                                                                                                      GAHANNA         OH      43230‐3215
JAMES REDDING          3589 TRUMAN ST                                                                                                   CONKLIN         MI      49403‐8739
JAMES REDDING          PO BOX 3123                                                                                                      ANDERSON        IN      46018‐3123
JAMES REDDING II       1828 HANFORD RD                                                                                                  ROSEDALE        MD      21237‐1744
JAMES REDDY            6416 BIRCH RUN RD                                                                                                MILLINGTON      MI      48746‐9725
JAMES REDIC JR         1333 BROOKE PARK DR APT 1                                                                                        TOLEDO          OH      43612‐4146
JAMES REDMOND          13692 UPTON RD                                                                                                   BATH            MI      48808‐9445
JAMES REDNOUR          6203 EGRET DR                                                                                                    LAKELAND        FL      33809‐4603
JAMES REDUMSKI         5243 E CARPENTER RD                                                                                              FLINT           MI      48506‐4517
JAMES REDWINE          6138 NEFF RD                                                                                                     MOUNT MORRIS    MI      48458‐2753
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JAMES REECE       2064 OLD DRAKETOWN TRL                                                                            TEMPLE          GA     30179‐3003
JAMES REECE       9456 WEST BART COURT                                                                              DAVISBURG       MI     48350‐3918
JAMES REED        6253 WESTVIEW DR                                                                                  GRAND BLANC     MI     48439‐9748
JAMES REED        5154 MARK DAVID DR                                                                                SWARTZ CREEK    MI     48473‐8500
JAMES REED        239 E CHESTNUT HILL RD                                                                            NEWARK          DE     19713‐3734
JAMES REED        PO BOX 1002                                                                                       ELGIN           SC     29045‐1002
JAMES REED        1205 MAYROSE DR                                                                                   DAYTON          OH     45449‐2024
JAMES REED        3115 STATE ROUTE 603                                                                              LUCAS           OH     44843‐9323
JAMES REED        816 CARTWRIGHT ST                                                                                 E LIVERPOOL     OH     43920‐1252
JAMES REED        2295 MYERS RD                                                                                     SHELBY          OH     44875‐9347
JAMES REED        322 S WATER ST                                                                                    ANDERSON        IN     46017‐1638
JAMES REED        4416 SAINT CHARLES ST                                                                             ANDERSON        IN     46013‐2455
JAMES REED        433 ILLINOIS ST                                                                                   PARKER CITY     IN     47368‐9509
JAMES REED        8381 S SHADY TRAIL DR                                                                             PENDLETON       IN     46064‐8652
JAMES REED        3088 AVONLEA KNOLL WAY                                                                            WEBBERVILLE     MI     48892‐8726
JAMES REED        11360 N MASON RD                                                                                  WHEELER         MI     48662‐9716
JAMES REED        6905 HAREWOOD PARK DR                                                                             BALTIMORE       MD     21220‐1028
JAMES REED        4201 S 900 W                                                                                      DALEVILLE       IN     47334
JAMES REED        555 FILDEW AVE                                                                                    PONTIAC         MI     48341‐2632
JAMES REED        706 MADRID DR                                                                                     DUNCANVILLE     TX     75116‐3916
JAMES REED        12914 KEENE AVE                                                                                   LOS ANGELES     CA     90059‐3441
JAMES REED        13208 TERMINAL AVE                                                                                CLEVELAND       OH     44135‐4814
JAMES REED        PO BOX 477                                                                                        BULAN           KY     41722‐0477
JAMES REED        734 PARK LAWN                                                                                     CLIO            MI     48420‐1478
JAMES REED        G 3399 W DAYTON ST                                                                                FLINT           MI     48504
JAMES REED        218 BELLE VILLA BLVD                                                                              BELLEVILLE      MI     48111‐4906
JAMES REED        2538 SE KIMBROUGH LN                                                                              LEES SUMMIT     MO     64063‐3442
JAMES REED        5314 MISTY OAKS TRL                                                                               SWARTZ CREEK    MI     48473‐1083
JAMES REED        BARON & BUDD PC              THE CENTRIUM SUITE 1100   3102 OAK LAWN AVE                          DALLAS          TX     75219‐4281
JAMES REED JR     569 THORNHILL CT                                                                                  BELLEVILLE      MI     48111‐4929
JAMES REED SR     1832 BROOKLINE AVE                                                                                DAYTON          OH     45420‐1954
JAMES REEDER      4401 MINERS CREEK RD                                                                              LITHONIA        GA     30038‐3821
JAMES REEDER      3563 PATTERSON RD                                                                                 BETHEL          OH     45106‐9406
JAMES REEDER      12518 LOWE RD                                                                                     MARYSVILLE      OH     43040‐9424
JAMES REEDER JR   3217 PINEVIEW TRL                                                                                 HOWELL          MI     48843‐6487
JAMES REEDY       865 MILLER LN                                                                                     LAWRENCEBURG    TN     38464‐6399
JAMES REESE       509 W. HILLCREST AVE                                                                              DAYTON          OH     45406
JAMES REESE       25 WHISPERING MEADOWS RD                                                                          SHAWNEE         OK     74804‐9709
JAMES REESE       18504 NADOL DR                                                                                    SOUTHFIELD      MI     48075‐5883
JAMES REESE       173 MARTHA AVE                                                                                    BUFFALO         NY     14215‐2828
JAMES REESE       7971 EASTLAWN DR                                                                                  FRANKLIN        OH     45005‐1968
JAMES REESE       4381 HELAINE DR                                                                                   FRANKLIN        OH     45005‐1923
JAMES REESE       17587 W WINDSLOWDR                                                                                GRAYSLAKE        IL    60030
JAMES REESING     4128 LAKEWOOD DR                                                                                  FORT WORTH      TX     76135‐2721
JAMES REEVES      11483 OLEN DR                                                                                     JUSTIN          TX     76247‐8744
JAMES REEVES      3093 HATFIELD CT                                                                                  COLUMBUS        OH     43232‐5846
JAMES REEVES      7340 S 100 E                                                                                      PENDLETON       IN     46064‐9398
JAMES REEVES      890 PRIEMER DR                                                                                    BEAVERTON       MI     48612‐8901
JAMES REEVES      2235 STATE ROUTE 1935                                                                             BARDWELL        KY     42023‐8627
JAMES REEVES      1110 E 3RD ST                                                                                     COAL CITY        IL    60416‐1325
JAMES REEVES JR   15920 BRAMELL ST                                                                                  DETROIT         MI     48223‐1057
JAMES REFOUR      5372 EASTPORT AVE                                                                                 DAYTON          OH     45427‐2732
JAMES REHE        19831 HUNTINGTON AVE                                                                              HARPER WOODS    MI     48225‐1829
JAMES REHERMAN    2740 WATERS EDGE DR                                                                               GAINESVILLE     GA     30504‐3960
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JAMES REHIL         2730 HARRISON ST                                                                                 PADUCAH            KY     42001‐3722
JAMES REHMEL        1718 LORA ST                                                                                     ANDERSON           IN     46013‐2742
JAMES REHMER        1147 CHURCHILL RD                                                                                LYNDHURST          OH     44124‐1303
JAMES REICHENBACH   46520 SCHOENHERR RD                                                                              SHELBY TWP         MI     48315‐5351
JAMES REID          57 DECKER ST                                                                                     BUFFALO            NY     14215‐3222
JAMES REID          1103 CLAYTON AVE                                                                                 NASHVILLE          TN     37204‐2912
JAMES REID          4520 LAWRENCE RD                                                                                 NASHVILLE          MI     49073‐9216
JAMES REID          BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS     OH     44236
JAMES REIDY JR      3362 SAINT LUCIA CT                                                                              TAVARES            FL     32778‐9226
JAMES REIGHARD      BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
JAMES REILLY        2813 CUMBERLAND DR                                                                               JANESVILLE         WI     53546‐4315
JAMES REILLY        8 LANDMARK DR APT 101                                                                            CORNWALL           NY     12518‐2159
JAMES REILLY        2304 WEST BLVD                                                                                   HOLT               MI     48842‐1016
JAMES REIMAN        112 SOUTH BALL STREET                                                                            CHEBOYGAN          MI     49721‐1615
JAMES REINECK       63 STATE ROUTE 61                                                                                NORWALK            OH     44857‐9701
JAMES REINERT       1034 REGENT PARK DR                                                                              KETTERING          OH     45429‐6126
JAMES REINERT       1810 COLONIAL VILLAGE WAY APT 2                                                                  WATERFORD          MI     48328‐1927
JAMES REIS          8028 EVERGREEN PARK DR                                                                           SAGINAW            MI     48609‐4205
JAMES REISCHLING    4459 GRAND LIN ST                                                                                SWARTZ CREEK       MI     48473‐9113
JAMES REISEN        956 S PERRY PKWY                                                                                 OREGON             WI     53575‐3663
JAMES REISINGER     3616 63RD ST W                                                                                   BRADENTON          FL     34209‐7531
JAMES REITER        193 E HARRIS RD                                                                                  BETHPAGE           TN     37022‐8530
JAMES RELISH        2023 WOODBOURNE AVE                                                                              BALTIMORE          MD     21239‐3641
JAMES REMBERT       3060 BUENAVIEW BLVD                                                                              NASHVILLE          TN     37218‐1640
JAMES REMBERT       691 SILVERGLADE DR SE                                                                            KENTWOOD           MI     49548‐0873
JAMES REMER         2324 N ROHERTY RD                                                                                EVANSVILLE         WI     53536‐9537
JAMES REMICK        5201 MAGNOLIA DR # A                                                                             LOCKPORT           NY     14094‐6815
JAMES REMIJAN       41677 MAGNOLIA CT                                                                                NOVI               MI     48377‐4529
JAMES REMINGTON     3490 BATH RD                                                                                     PERRY              MI     48872‐9190
JAMES REMPE         1382 E COUNTY ROAD 1000 S                                                                        CLOVERDALE         IN     46120‐8895
JAMES REMY          1568 MILAN DR                                                                                    SIMI VALLEY        CA     93065‐3028
JAMES RENFORD       6236 CARRIAGE LANE                                                                               MABLETON           GA     30126
JAMES RENFRO        1020 E 500 N                                                                                     ANDERSON           IN     46012‐9513
JAMES RENFRO        2533 W PARK PL                                                                                   OKLAHOMA CITY      OK     73107‐5431
JAMES RENFROE       16176 BIRWOOD ST                                                                                 DETROIT            MI     48221‐2802
JAMES RENFROW       129 COUNTY ROAD 443                                                                              OXFORD             MS     38655‐6303
JAMES RENNERS       5579 ECHO SPRINGS DR                                                                             HAMILTON           OH     45011‐8252
JAMES RENNO         BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
JAMES RENTON        1929 N 450 W                                                                                     SHELBYVILLE        IN     46176‐9016
JAMES RENTZ         3207 S 350 E                                                                                     KOKOMO             IN     46902‐9255
JAMES RENZI         31140 GROVE                                                                                      FRASER             MI     48026‐2781
JAMES REPASKY       34138 BEACONSFIELD ST                                                                            CLINTON TWP        MI     48035‐3302
JAMES REPINSKI      550 HARROW CT                                                                                    ROCHESTER HILLS    MI     48307‐4537
JAMES RESCHLEIN     9332 W LOOMIS RD UNIT 3                                                                          FRANKLIN           WI     53132‐8273
JAMES RESHEL        S65W27784 RIVER RD                                                                               WAUKESHA           WI     53189‐9791
JAMES RESKE         54256 SHERWOOD LN                                                                                SHELBY TWP         MI     48315‐1534
JAMES RETTMANN      3140 COLLIER RD                                                                                  TRAVERSE CITY      MI     49684
JAMES REVETTE       43 WEBER RD                                                                                      CENTRAL SQUARE     NY     13036‐2109
JAMES REWALT        68655 STOECKER LN                                                                                RICHMOND           MI     48062‐7002
JAMES REYNOLDS      4995 OLD BEEBE RD                                                                                LOCKPORT           NY     14094‐9717
JAMES REYNOLDS      120 BIRGE PARK RD                                                                                HARWINTON          CT     06791‐1909
JAMES REYNOLDS      33463 GALENA SASSAFRAS RD                                                                        GALENA             MD     21635‐1906
JAMES REYNOLDS      1492 WOODSCLIFF DR                                                                               ANDERSON           IN     46012‐9725
JAMES REYNOLDS      1435 ROBIN WOODS LN                                                                              TUNNEL HILL         IL    62972‐3429
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Name                 Address1                       Address2                       Address3                    Address4               City            State   Zip
JAMES REYNOLDS       2529 THOMAN PL                                                                                                   TOLEDO           OH     43613‐3840
JAMES REYNOLDS       4301 DELINA RD                                                                                                   CORNERSVILLE     TN     37047‐5237
JAMES REYNOLDS       13 EASTDELL RD NE                                                                                                ROME             GA     30161‐2117
JAMES REYNOLDS       1068 DOWAGIAC AVE                                                                                                MOUNT MORRIS     MI     48458‐2558
JAMES REYNOLDS       2808 REESE DR                                                                                                    STERLING HTS     MI     48310‐3649
JAMES REYNOLDS       4168 THOMPSON RD                                                                                                 LINDEN           MI     48451‐9425
JAMES REYNOLDS       PO BOX 3164                                                                                                      SOUTHFIELD       MI     48037‐3164
JAMES REYNOLDS       1600 SOUTHVIEW DR TRLR 12                                                                                        LIBERTY          MO     64068‐9129
JAMES REYNOLDS       543 COUNTY ROAD 330                                                                                              DE BERRY         TX     75639‐2606
JAMES REYNOLDS       3085 N GENESSE APT‐314                                                                                           FLINT            MI     48505
JAMES REYNOLDS       6114 LINWOOD ST                                                                                                  DETROIT          MI     48208‐1108
JAMES REYNOLDS       11395 MEMORIAL ST                                                                                                DETROIT          MI     48227‐1058
JAMES REYNOLDS       945 E BUNDY AVE                                                                                                  FLINT            MI     48505‐2289
JAMES REYNOLDS       1830 S ELBA RD                                                                                                   LAPEER           MI     48446‐9787
JAMES REYNOLDS       1265 ROSEDALE ST                                                                                                 MAUMEE           OH     43537‐3249
JAMES REYNOLDS       212 FOX DR                                                                                                       MASON            OH     45040‐1914
JAMES REZMER         7199 12TH ST SE                                                                                                  PINGREE          ND     58476‐9628
JAMES RHAMA          607 W BOONESLICK RD                                                                                              WARRENTON        MO     63383‐1906
JAMES RHODES         7418 SHOREWARD TRL                                                                                               SOUTH BRANCH     MI     48761‐9613
JAMES RHODES         833 42ND ST                                                                                                      ALLEGAN          MI     49010‐9343
JAMES RHODES         334 E PULASKI AVE                                                                                                FLINT            MI     48505‐3355
JAMES RHODES         5430 RAWLINGS DR                                                                                                 DAYTON           OH     45432‐3624
JAMES RHODES         9863 GLEN LN                                                                                                     BETHANY          LA     71007‐9567
JAMES RHOTON         2465 CHIPMAN RIDGE RD                                                                                            WILLIAMSTOWN     KY     41097‐3221
JAMES RIBLEY         PO BOX 187                                                                                                       SPRING HILL      TN     37174‐0187
JAMES RICCI          1941 DIVINE HWY                                                                                                  LYONS            MI     48851‐9776
JAMES RICE           11652 MASON RD                                                                                                   WEBBERVILLE      MI     48892‐9501
JAMES RICE           9273 RANDEL RD                                                                                                   HANOVERTON       OH     44423‐9704
JAMES RICE           773 CRANSBERRY DR                                                                                                W CARROLLTON     OH     45449‐1519
JAMES RICE           11850 FAR RD                                                                                                     MILAN            MI     48160‐9248
JAMES RICE           1501 W 3RD ST                                                                                                    MARION           IN     46952‐3551
JAMES RICE           2908 AIRPORT RD                                                                                                  WATERFORD        MI     48329‐3309
JAMES RICE           293 TWIN CHURCH RD                                                                                               BEAN STATION     TN     37708‐6522
JAMES RICE           909 SELWYN RD                                                                                                    CLEVELAND HTS    OH     44112‐2345
JAMES RICE           22122 KELLY RD                                                                                                   EASTPOINTE       MI     48021‐2711
JAMES RICE           9373 ZUBER RD                                                                                                    ALEXANDER        AR     72002‐9008
JAMES RICE           9901 VAUGHAN ST                                                                                                  DETROIT          MI     48228‐1376
JAMES RICE           BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                                        BOSTON HTS       OH     44236
JAMES RICE JR        228 SUNNYSIDE RIDGE DR                                                                                           GREENEVILLE      TN     37743‐4187
JAMES RICH           60300 PONTIAC TRL                                                                                                NEW HUDSON       MI     48165‐9538
JAMES RICHARD        4909 GRANDVIEW CIR                                                                                               MIDLAND          MI     48640‐2876
JAMES RICHARD        21463 SICHESTER CT                                                                                               NORTHVILLE       MI     48167‐1022
JAMES RICHARD        6241 GULLEY ST                                                                                                   TAYLOR           MI     48180‐1285
JAMES RICHARD PEIL   ATTN ROBERT W PHILLIPS         C/O SIMMONS BROWDER GIANARIS 707 BERKSHIRE BLVD ‐ PO BOX                          EAST ALTON        IL    62024
                                                    ANGELIDES & BARNERD LLC      521
JAMES RICHARDS       14668 WESTWIND CT                                                                                                WASHINGTON      MI      48094‐3236
JAMES RICHARDS       783 BOYCE RD                                                                                                     SHELBY          OH      44875‐9354
JAMES RICHARDS       7161 SLAYTON SETTLEMENT RD                                                                                       LOCKPORT        NY      14094‐9413
JAMES RICHARDS       413 WALNUT ST #5046                                                                                              GREEN COVE      FL      32043
                                                                                                                                      SPRINGS
JAMES RICHARDS       114 OAK TREE LN SE                                                                                               WARREN          OH      44484‐5612
JAMES RICHARDS       974 PORTAGE EASTERLY RD                                                                                          CORTLAND        OH      44410‐9538
JAMES RICHARDS       1265 UPPER BELLBROOK RD                                                                                          XENIA           OH      45385‐8911
JAMES RICHARDS       770 LANGLEY BLVD                                                                                                 CLAWSON         MI      48017‐1386
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JAMES RICHARDS        1337 AUDREY ST                                                                                 BURTON            MI     48509‐2102
JAMES RICHARDS        106 3RD AVE                                                                                    TAWAS CITY        MI     48763‐9399
JAMES RICHARDS        4874 N WASHINGTON ST                                                                           DANVILLE          IN     46122‐9302
JAMES RICHARDS        5947 FERRIS AVE                                                                                SAINT LOUIS       MO     63120‐1427
JAMES RICHARDS        PO BOX 8                                                                                       GRIMSLEY          TN     38565‐0008
JAMES RICHARDS        49 E ARIZONA                                                                                   BELLEVILLE        MI     48111‐9026
JAMES RICHARDS        15280 EGO AVE                                                                                  EASTPOINTE        MI     48021‐2804
JAMES RICHARDSON      435 MEADOW CIR                                                                                 GREENWOOD         IN     46142‐1228
JAMES RICHARDSON      27 VALMONT LN                                                                                  HARPERS FERRY     WV     25425‐5912
JAMES RICHARDSON      13850 W OUTER DR                                                                               DETROIT           MI     48239‐1381
JAMES RICHARDSON      3546 BARRY PATH                                                                                MASON             MI     48854‐9324
JAMES RICHARDSON      3357 HEWITT GIFFORD RD SW                                                                      WARREN            OH     44481‐9706
JAMES RICHARDSON      16303 LOCH KATRINE LANE                                                                        HOUSTON           TX     77084‐2758
JAMES RICHARDSON      254 BANK ST                                                                                    MOUNT GILEAD      OH     43338‐1370
JAMES RICHARDSON      924 BARBARA ANN DR                                                                             HURST             TX     76053‐5039
JAMES RICHARDSON      6618 MELROSE LN                                                                                SHAWNEE           KS     66203‐3937
JAMES RICHARDSON      PO BOX 20652                                                                                   OKLAHOMA CITY     OK     73156‐0652
JAMES RICHARDSON      16542 SPRINGFIELD RD                                                                           WARSAW            MO     65355‐4020
JAMES RICHARDSON      10536 EDGEFIELD DR                                                                             SAINT LOUIS       MO     63136‐5750
JAMES RICHARDSON      3245 FIELDSTONE DR SW                                                                          DECATUR           AL     35603‐3173
JAMES RICHARDSON      781 MAPLE WOODS CIR                                                                            PENSACOLA         FL     32534‐4183
JAMES RICHARDSON      732 FOUNTAIN VIEW DR                                                                           FLUSHING          MI     48433‐3002
JAMES RICHARDSON      5347 BRADMORE LN                                                                               WARREN            MI     48092‐6323
JAMES RICHARDSON      3 PEDROTTI LN                                                                                  O FALLON          MO     63366‐2905
JAMES RICHARDSON      140 MERCEDES TRL                                                                               FAYETTEVILLE      GA     30214‐3700
JAMES RICHARDSON      409 RENDALE PL                                                                                 TROTWOOD          OH     45426‐2827
JAMES RICHARDSON      150 VICTORIA DR                                                                                HAINES CITY       FL     33844‐6244
JAMES RICHARDSON      3150 NE 36TH AVE LOT 259                                                                       OCALA             FL     34479‐3160
JAMES RICHARDSON      4465 MAPLE CREEK DR                                                                            GRAND BLANC       MI     48439‐9054
JAMES RICHARDSON      PO BOX 731                                                                                     WARREN            MI     48090‐0731
JAMES RICHARDSON      1214 N DEWITT ST                                                                               BAY CITY          MI     48706‐3624
JAMES RICHARDSON      5341 E 40TH ST                                                                                 INDIANAPOLIS      IN     46226‐4785
JAMES RICHARDSON      1811 MORA LN                                                                                   SAINT LOUIS       MO     63136‐3720
JAMES RICHARDSON      THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                                     HOUSTON           TX     77017
JAMES RICHARDSON JR   23411 AVON RD                                                                                  OAK PARK          MI     48237‐2442
JAMES RICHARDSON JR   1460 FOXMOOR DR                                                                                FENNIMORE         WI     53809‐1959
JAMES RICHENDOLLAR    2050 FAIRKNOLL DR                                                                              DAYTON            OH     45431‐3213
JAMES RICHEY          9363 N COUNTY ROAD 400 W                                                                       MIDDLETOWN        IN     47356‐9463
JAMES RICHEY          PO BOX 241                                                                                     TELLICO PLAINS    TN     37385‐0241
JAMES RICHEY          PO BOX 264                                                                                     CASSVILLE         GA     30123‐0264
JAMES RICHMOND        36895 CHESTNUT RIDGE RD                                                                        N RIDGEVILLE      OH     44039‐8617
JAMES RICHMOND        8301 S BROWN SCHOOL RD                                                                         VANDALIA          OH     45377‐9423
JAMES RICHMOND        1403 ALGER ST                                                                                  SAGINAW           MI     48601‐3017
JAMES RICHMOND        4164 RIVERSHELL LN                                                                             LANSING           MI     48911‐1907
JAMES RICHMOND        1110 SHORT MAIN ST                                                                             COVINGTON         KY     41011
JAMES RICHMOND        8340 W EIGHT POINT LAKE RD                                                                     LAKE              MI     48632‐9077
JAMES RICHMOND JR     831 E KITTLE RD                                                                                MIO               MI     48647‐9746
JAMES RICHTER         4365 S M52                                                                                     OWOSSO            MI     48867
JAMES RICHTER         4511 COUNTRY WAY W                                                                             SAGINAW           MI     48603‐1073
JAMES RICHTER         BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS        OH     44236
JAMES RICK O'NEILL    1825 EYE ST NW                                                                                 WASHINGTON        DC     20006
JAMES RICKABAUGH      37855 CARPATHIA BLVD                                                                           STERLING HTS      MI     48310‐3860
JAMES RICKER          22255 WOODLAWN AVE                                                                             BROOKSVILLE       FL     34601‐2702
JAMES RICKER          8492 STATE ROUTE 613                                                                           LEIPSIC           OH     45856‐9420
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Name               Address1                          Address2                     Address3                     Address4                 City             State   Zip
JAMES RICKERT      427 GOLDIE RD                                                                                                        YOUNGSTOWN        OH     44505‐1951
JAMES RICKETTS     760 FULBROOK RD                                                                                                      BALTIMORE         MD     21222‐1314
JAMES RICKNER      595 S MERIDIAN RD LOT 70                                                                                             HUDSON            MI     49247‐9340
JAMES RIDDEL       C/O BEACHES PARA LEGAL SERVICES   345 KINGSTON ROAD            PICKERING, ON                L1V 1A1 CANADA
JAMES RIDDELL      815 S RIVER ST                                                                                                       FRANKLIN         OH      45005‐2744
JAMES RIDDELL      1453 MELBOURNE DR                                                                                                    GIRARD           OH      44420‐1333
JAMES RIDDLE       80 W SPENCER AVE                                                                                                     UPLAND           IN      46989‐9174
JAMES RIDDLE       3491 RAY RD                                                                                                          GRAND BLANC      MI      48439‐9321
JAMES RIDEOUT JR   1158 PEACHTREE DR                                                                                                    MOUNT MORRIS     MI      48458‐2834
JAMES RIDER        625 HAZELTON ST                                                                                                      FLINT            MI      48503‐5512
JAMES RIEF         1724 N LELAND AVE                                                                                                    INDIANAPOLIS     IN      46218‐4776
JAMES RIESEN       C/O BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                                                         BOSTON HTS       OH      44236
JAMES RIETH        109 LYNNVIEW DR                                                                                                      MASON            OH      45040‐1819
JAMES RIETHMEIER   6884 WOLVERINE RD                                                                                                    WOLVERINE        MI      49799‐9679
JAMES RIFE         794 MICHIGAN DR                                                                                                      FALLING WATERS   WV      25419‐3991
JAMES RIFE         3110 JOHN HURD RD                                                                                                    FELTON           DE      19943‐3222
JAMES RIFE         882 RUMA RD                                                                                                          COLUMBUS         OH      43207‐4210
JAMES RIFFE        1192 W HURD RD                                                                                                       CLIO             MI      48420‐1869
JAMES RIFFE II     317 CHESTNUT TER                                                                                                     SPRING HILL      TN      37174‐2598
JAMES RIFFEL       4827 GREENBURG DR                                                                                                    SAINT PETERS     MO      63304‐7554
JAMES RIGAS        913 IRVING AVE                                                                                                       ROYAL OAK        MI      48067‐3396
JAMES RIGAS        1317 BLUE MARLIN BLVD                                                                                                HOLIDAY          FL      34691‐9810
JAMES RIGDON       5417 S GENESEE RD                                                                                                    GRAND BLANC      MI      48439‐7640
JAMES RIGGINS      750 CHENE ST APT 1105                                                                                                DETROIT          MI      48207‐3996
JAMES RIGGLE       PO BOX 126                                                                                                           ONONDAGA         MI      49264‐0126
JAMES RIGGS        208 SOUTH ST                                                                                                         CHESTERFIELD     IN      46017‐1740
JAMES RIGGS        8248 BUCKS RUN CT                                                                                                    TOLEDO           OH      43617‐1850
JAMES RIGGS        7241 HIDDEN VALLEY DR                                                                                                LAMBERTVILLE     MI      48144‐9444
JAMES RIGOULOT     1245 S KERBY RD                                                                                                      CORUNNA          MI      48817‐9545
JAMES RIGOULOT     5445 CARUTH HAVEN LN              APT 321                                                                            DALLAS           TX      75225‐9056
JAMES RIGSBY       2009 LULLWATER RD                                                                                                    ALBANY           GA      31707‐3150
JAMES RIGSBY       1314 W GREEN HILL RD                                                                                                 MC MINNVILLE     TN      37110‐7860
JAMES RIISE
JAMES RILEY        210 W WALL ST                                                                                                        PAULDING         OH      45879‐1160
JAMES RILEY        590 S 800 E                                                                                                          GREENTOWN        IN      46936‐8783
JAMES RILEY        719 S 400 E                                                                                                          ANDERSON         IN      46017‐9622
JAMES RILEY        5510 N WABASH RD                                                                                                     MARION           IN      46952‐9066
JAMES RILEY        1872 FOSTER AVE                                                                                                      MEMPHIS          TN      38114‐1929
JAMES RILEY        5536 HAZELBROOK CT                                                                                                   ANTIOCH          CA      94531‐8618
JAMES RILEY BELL   ATTN: ROBERT W PHILLIPS           SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD, PO BOX                            EAST ALTON       IL      62024
                                                     ANGELIDES & BARNERD LLC      521
JAMES RILEY JR     3184 MOROCCO RD                                                                                                      IDA              MI      48140‐9730
JAMES RIMAR        419 WILLARD AVE NE                                                                                                   WARREN           OH      44483‐5531
JAMES RIMMER       2008 S 625 E                                                                                                         PERU             IN      46970‐7141
JAMES RINAUDO      7590 W LAKESHORE DR                                                                                                  SHREVEPORT       LA      71107‐9494
JAMES RING         12851 MAPLE AVE                                                                                                      BLUE ISLAND      IL      60406‐1952
JAMES RING         11561 PALM DR                                                                                                        FORT MYERS       FL      33908‐3852
JAMES RINGLEY      3521 BOLD BIDDER DR                                                                                                  LEXINGTON        KY      40517‐3521
JAMES RINGROSE     2877 IROQUOIS DR                                                                                                     THOMPSONS        TN      37179‐5010
                                                                                                                                        STATION
JAMES RINKENBERG   1137 PARADISE ALLEY ROAD                                                                                             FELTON            DE     19943‐4025
JAMES RINKUS       11877 STONEY RIDGE DR                                                                                                BRIGHTON          MI     48114‐9222
JAMES RINN         28 LINCOLN DR                                                                                                        LOCKPORT          NY     14094‐5527
JAMES RIPPEY       106 DEER LN                                                                                                          HOPEWELL JCT      NY     12533‐5039
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Name                             Address1                          Address2                      Address3                   Address4                  City                State   Zip
JAMES RISCH                      433 IMY LN                                                                                                           ANDERSON             IN     46013‐3872
JAMES RISE                       570 W ARNOLD LAKE RD                                                                                                 HARRISON             MI     48625‐8582
JAMES RISE                       19830 HICKORY RD                                                                                                     MILAN                MI     48160‐9286
JAMES RISHER AS PR OF ESTATE     OF STACEY RISHER (DEC)            ATTN: RONNIE L CROSBY, ESQ    PETERS MURDAUGH PARKER     PO BOX 457 101 MULBERRY   HAMPTON              SC     29924
                                                                                                 ELTZROTH & DETRICK         ST E

JAMES RISINGER                   3057 LONGVIEW LN                                                                                                     NORTH FORT MYERS     FL     33917‐1570

JAMES RISLEY                     3136 EASTPOINTE DR                                                                                                   FRANKLIN            IN      46131‐9824
JAMES RISNER                     353 S BICKETT RD                                                                                                     XENIA               OH      45385‐9608
JAMES RITCHIE                    7302 W SUNCREST ST                                                                                                   WICHITA             KS      67212‐1594
JAMES RITCHIE                    7100 HOUGHTON DR                                                                                                     DAVISON             MI      48423‐2336
JAMES RITTENHOUSE                3930 S 575 E                                                                                                         BRINGHURST          IN      46913‐9448
JAMES RITTER                     102 PIGEON RUN DR                                                                                                    BEAR                DE      19701‐1510
JAMES RITTER                     1138 E MAHALASVILLE RD                                                                                               MARTINSVILLE        IN      46151‐6573
JAMES RITTER                     6947 MEESE DR                                                                                                        LANSING             MI      48911‐6551
JAMES RITTER                     ATTN: ANDREW MCENANEY             HISSEY KRENTZ & HERRON PLLC   9442 CAPITAL OF TX HWY N                             AUSTIN              TX      78759
                                                                                                 STE 420
JAMES RITZERT                    7228 AUDUBON ST                                                                                                      CLAY                 MI     48001‐4100
JAMES RIVARD                     320 W SUNNYBROOK DR                                                                                                  ROYAL OAK            MI     48073‐5125
JAMES RIVARD BUICK PONTIAC GMC   9740 E ADAMO DR                                                                                                      TAMPA                FL     33619‐2614
JAMES RIVARD PONTIAC GMC         9740 E ADAMO DR                                                                                                      TAMPA                FL     33619‐2614
JAMES RIVARD PONTIAC‐GMC, INC.   ROGER RIVARD                      9740 E ADAMO DR                                                                    TAMPA                FL     33619‐2614
JAMES RIVER/ELK GROV             1563 CARMEN DR                    P.O. BOX 1553                                                                      ELK GROVE VILLAGE    IL     60007‐6501

JAMES RIVERS                     19410 GREENVIEW AVE                                                                                                  DETROIT             MI      48219‐2168
JAMES RIVERS                     9819 LORNA LN                                                                                                        SAINT LOUIS         MO      63136‐1908
JAMES RIX                        APT 246                           3900 ASPEN DRIVE                                                                   PORT HURON          MI      48060‐8621
JAMES RIZZI                      13417 ROME DR                                                                                                        HUDSON              FL      34667‐6930
JAMES RIZZO                      13 WOODPECKER RD                                                                                                     NEWARK              DE      19711‐8333
JAMES RIZZO                      516 COUNTRY HILL DR                                                                                                  N LAS VEGAS         NV      89031‐1726
JAMES RIZZUTO                    207 COLEMAN DR                                                                                                       WATERFORD           MI      48328‐3613
JAMES ROACH                      7657 SPRUCEWOOD AVE                                                                                                  WOODRIDGE           IL      60517‐2820
JAMES ROACH                      PO BOX 626                        320 SOUTH 3RD STREET                                                               CAYUGA              IN      47928‐0626
JAMES ROACH                      24976 FRONT AVE                                                                                                      MATTAWAN            MI      49071
JAMES ROACH                      34086 BURTON LN                                                                                                      LIVONIA             MI      48154‐2556
JAMES ROACHE                     48 KINGS GRANT RD                                                                                                    HOCKESSIN           DE      19707‐1204
JAMES ROADS                      413 JOELLEN PL                                                                                                       UNION               OH      45322‐3113
JAMES ROALIN                     278 HILLENDALE DR                                                                                                    GREENWOOD           IN      46142‐7433
JAMES ROAN                       6487 SANDY KNOLL DR.                                                                                                 LINDEN              MI      48451
JAMES ROAN                       888 BARNETT CH RD.                                                                                                   HARTSELLE           AL      35640
JAMES ROARK                      2638 S HOLT RD                                                                                                       INDIANAPOLIS        IN      46241‐5737
JAMES ROARK                      26137 MCCANN RD                                                                                                      GUILFORD            IN      47022‐9743
JAMES ROBACK                     12018 GREGORY DR SW                                                                                                  BRAINERD            MN      56401‐2046
JAMES ROBARR                     2001 GLENRIDGE WAY APT 23                                                                                            WINTER PARK         FL      32792‐5428
JAMES ROBB                       7541A LE CONTE DR                                                                                                    EL PASO             TX      79912‐7156
JAMES ROBBINS                    1824 N MACKINAW RD                                                                                                   PINCONNING          MI      48650‐9465
JAMES ROBBINS                    949 RIVER RD                                                                                                         AUBURN              MI      48611‐9726
JAMES ROBBINS                    3523 N STATE ROUTE 42                                                                                                WAYNESVILLE         OH      45068‐9301
JAMES ROBBINS                    421 W COXTON RD                                                                                                      BEDFORD             IN      47421‐8383
JAMES ROBBINS                    1205 HASTEY AVE                                                                                                      MENA                AR      71953‐7828
JAMES ROBERSON                   4151 BURGESS HILL DR                                                                                                 SAINT CHARLES       MO      63304‐6951
JAMES ROBERSON                   3055 S 600 W                                                                                                         NEW PALESTINE       IN      46163‐9121
JAMES ROBERSON                   5109 PATRICIA ST                                                                                                     INDIANAPOLIS        IN      46224‐2300
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Name                      Address1                             Address2                   Address3     Address4               City            State   Zip
JAMES ROBERSON            PO BOX 980415                                                                                       YPSILANTI        MI     48198‐0415
JAMES ROBERT              2666 S COUNTY LINE RD                                                                               LENNON           MI     48449‐9302
JAMES ROBERT              JAMES, ROBERT                        3 SUMMIT PARK DR STE 100                                       INDEPENDENCE     OH     44131‐2598
JAMES ROBERT (665247)     BIFFERATO GENTILOTTI & BIDEN         PO BOX 2165                                                    WILMINGTON       DE     19899‐2165
JAMES ROBERT CAMPBELL     ROBERT W PHILLIPS, SIMMONS BROWDER   707 BERKSHIRE BLVD         PO BOX 521                          EAST ALTON        IL    62024
                          GIANARIS ANGELIDES & BARNERD LLC

JAMES ROBERT DOUGLAS JR   WEITZ & LUXENBERG PC                 700 BROADWAY                                                   NEW YORK CITY   NY      10003
JAMES ROBERT DOUGLAS JR   C/O WEITZ & LUXENBERG PC             700 BROADWAY                                                   NEW YORK CITY   NY      10003
JAMES ROBERTS             138 BUTTERNUT RD                                                                                    SHAVERTOWN      PA      18708
JAMES ROBERTS             2212 OAKBRANCH CIR                                                                                  FRANKLIN        TN      37064‐7407
JAMES ROBERTS             10 PITMAN AVE                                                                                       OCEAN GROVE     NJ      07756‐1623
JAMES ROBERTS             1226 SIGNATURE DR                                                                                   YOUNGSTOWN      OH      44515‐3861
JAMES ROBERTS             PO BOX 2                                                                                            BOYNTON         PA      15532
JAMES ROBERTS             6351 BLOSSOM PARK DR                                                                                DAYTON          OH      45449‐3020
JAMES ROBERTS             38580 E RIVER RD                                                                                    ELYRIA          OH      44035‐8416
JAMES ROBERTS             76 JUNIPER HILL RD                                                                                  WHITE PLAINS    NY      10607‐2119
JAMES ROBERTS             15205 S PERRY RD                                                                                    LAURELVILLE     OH      43135‐9708
JAMES ROBERTS             PO BOX 872                                                                                          DERBY           OH      43117‐0872
JAMES ROBERTS             14503 WINTERS RD                                                                                    ROANOKE         IN      46783‐9644
JAMES ROBERTS             5968 OBERLIES WAY                                                                                   PLAINFIELD      IN      46168‐7322
JAMES ROBERTS             5851 SHADY COVE LN                                                                                  TROTWOOD        OH      45426‐2117
JAMES ROBERTS             219 PONDEROSA DR                                                                                    LONDON          KY      40741‐8332
JAMES ROBERTS             20611 E CO HWY22 PO 120                                                                             SAINT DAVID     IL      61563
JAMES ROBERTS             41 ORIOLE RD                                                                                        MATTESON        IL      60443‐1014
JAMES ROBERTS             305 CARSON DR                                                                                       WESTLAND        MI      48185‐9658
JAMES ROBERTS             114 S SLATER ST                                                                                     LAKE ORION      MI      48362‐3265
JAMES ROBERTS             501 DELLWOOD ST                                                                                     TILTON          IL      61833‐8016
JAMES ROBERTS             122 S JADDEN RD                                                                                     MARION          IN      46953
JAMES ROBERTS             3808 MATTHES AVE                                                                                    SANDUSKY        OH      44870‐5446
JAMES ROBERTS             6565 ROBB RD                                                                                        FOWLERVILLE     MI      48836‐9755
JAMES ROBERTS             7429 GROVELAND RD                                                                                   HOLLY           MI      48442‐9493
JAMES ROBERTS             17045 SNEED ST                                                                                      ATHENS          AL      35614‐5267
JAMES ROBERTS             1725 MASON RD                                                                                       SAINT JOSEPH    MO      64504‐2254
JAMES ROBERTS             14424 MAGNOLIA BLVD APT 215                                                                         SHERMAN OAKS    CA      91423‐1048
JAMES ROBERTS             5435 LINGER LONGER RD                                                                               CUMMING         GA      30041‐9091
JAMES ROBERTS             252 NEWBERRY LN                                                                                     HOWELL          MI      48843‐9564
JAMES ROBERTS             511 RUSHMORE DR                                                                                     COLUMBIA        TN      38401‐6124
JAMES ROBERTS             9066 ROCKHILL LN                                                                                    NEWPORT         MI      48166‐7817
JAMES ROBERTS SR          107 LLOYD ST                                                                                        WILMINGTON      DE      19804‐2821
JAMES ROBERTSON           2544 JULIE DR                                                                                       COLUMBIAVILLE   MI      48421‐8911
JAMES ROBERTSON           60 WEST POST RD                                                                                     WHITE PLAINS    NY      10606
JAMES ROBERTSON           28831 MAPLE ST                                                                                      ROSEVILLE       MI      48066‐2590
JAMES ROBERTSON           1023 KNOX AVE                                                                                       MONESSEN        PA      15062‐1012
JAMES ROBERTSON           6421 CHARLOTTEVILLE RD                                                                              NEWFANE         NY      14108‐9756
JAMES ROBERTSON           4091 QUILLEN AVE                                                                                    WATERFORD       MI      48329‐2053
JAMES ROBERTSON           1369 BOYD ST                                                                                        TROY            MI      48083‐5405
JAMES ROBERTSON           3761 CRYSTAL WATERS LN NE                                                                           GRAND RAPIDS    MI      49525‐9431
JAMES ROBERTSON           2899 E 450 N                                                                                        ANDERSON        IN      46012‐9290
JAMES ROBERTSON           525 W WALNUT ST                                                                                     KOKOMO          IN      46901‐4412
JAMES ROBERTSON           12731 CREST DR                                                                                      KEITHVILLE      LA      71047‐8091
JAMES ROBERTSON           8908 HUISKAMP AVE                                                                                   SAINT LOUIS     MO      63136‐1525
JAMES ROBERTSON           1213 CREEK VIEW DR                                                                                  ROCHESTER       MI      48307‐1701
JAMES ROBERTSON JR        9759 MATZON RD                                                                                      BALTIMORE       MD      21220‐1721
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Name                           Address1                          Address2                      Address3            Address4               City               State   Zip
JAMES ROBILLARD                2270 COOLEY LAKE RD                                                                                        MILFORD             MI     48381‐1354
JAMES ROBIN                    26632 SHIAWASSEE LN                                                                                        FLAT ROCK           MI     48134‐2818
JAMES ROBINETTE                7360 MCKEAN RD                                                                                             YPSILANTI           MI     48197‐9413
JAMES ROBINSON                 1655 BOYNTON DR                                                                                            LANSING             MI     48917‐1758
JAMES ROBINSON                 PO BOX 2302                                                                                                YOUNGSTOWN          OH     44509‐0302
JAMES ROBINSON                 13364 BEACH BLVD UNIT 806                                                                                  JACKSONVILLE        FL     32224‐0271
JAMES ROBINSON                 633 HUMBOLDT PKWY                                                                                          BUFFALO             NY     14208‐1627
JAMES ROBINSON                 921 BEECHWOOD DR                                                                                           HAGERSTOWN          MD     21742‐3139
JAMES ROBINSON                 7656 MANNING RD                                                                                            MIAMISBURG          OH     45342‐1551
JAMES ROBINSON                 7525 E DECKERVILLE RD                                                                                      DEFORD              MI     48729‐9706
JAMES ROBINSON                 PO BOX 134                                                                                                 PENNS GROVE         NJ     08069‐0134
JAMES ROBINSON                 426 N HIGHLAND AVE                                                                                         INDIANAPOLIS        IN     46202‐3724
JAMES ROBINSON                 221 EPPIRT ST                                                                                              EAST ORANGE         NJ     07018‐2425
JAMES ROBINSON                 4156 MURRAY LAKE CIR                                                                                       FOREST PARK         GA     30297‐3617
JAMES ROBINSON                 1850 JERMAIN DR                                                                                            TOLEDO              OH     43606‐4038
JAMES ROBINSON                 5090 STRATFORD WAY                                                                                         POWDER SPRINGS      GA     30127‐3189
JAMES ROBINSON                 900 GRAY GIRLS RD                                                                                          SENOIA              GA     30276‐2838
JAMES ROBINSON                 8863 WHITCOMB ST                                                                                           DETROIT             MI     48228‐2213
JAMES ROBINSON                 20200 BLACKSTONE STREET                                                                                    DETROIT             MI     48219‐1315
JAMES ROBINSON                 3376 GREBE ST                                                                                              ARCADIA             MI     49613‐9638
JAMES ROBINSON                 1364 2ND ST                                                                                                LAPEER              MI     48446‐1222
JAMES ROBINSON                 9427 E EATON HWY                                                                                           MULLIKEN            MI     48861‐9647
JAMES ROBINSON                 18111 80TH AVE                                                                                             MARION              MI     49665‐8303
JAMES ROBINSON                 8447 CANADA RD                                                                                             BIRCH RUN           MI     48415‐8429
JAMES ROBINSON                 2333 HUMBOLDT AVE                                                                                          FLINT               MI     48504‐7119
JAMES ROBINSON                 9908 S HOMAN AVE                                                                                           EVERGREEN PK         IL    60805‐3435
JAMES ROBINSON                 219 BABSON DR                                                                                              BABSON PARK         FL     33827‐9525
JAMES ROBINSON                 25113 FAWN DR                                                                                              NORTH OLMSTED       OH     44070‐1258
JAMES ROBINSON                 890 HOPKINS RD                                                                                             MURRAY              KY     42071‐7720
JAMES ROBINSON                 4914 MIAMI LN                                                                                              FLINT               MI     48504‐2054
JAMES ROBINSON                 10195 FARRAND RD                                                                                           OTISVILLE           MI     48463‐9721
JAMES ROBINSON                 6523 CIRCLE DR                                                                                             HARRISON            MI     48625‐9068
JAMES ROBINSON                 1203 S TAXIWAY KING                                                                                        LAKE CITY           MI     49651‐9429
JAMES ROBINSON                 4301 VIN ROSE DR                                                                                           FLINT               MI     48507‐2918
JAMES ROBINSON                 16391 CHEROKEE BEND PKWY                                                                                   MOUNDVILLE          AL     35474‐6245
JAMES ROBINSON                 300 HOLLIFIELD DR                                                                                          JACKSBORO           TN     37757‐3617
JAMES ROBINSON                 612 S 31ST ST                                                                                              SAGINAW             MI     48601‐6552
JAMES ROBINSON                 5610 PRINCETON DR                                                                                          KOKOMO              IN     46902‐5246
JAMES ROBINSON                 6052 COLORADO ST                                                                                           ROMULUS             MI     48174‐1818
JAMES ROBINSON                 101 NORTH ST                                                                                               PLYMOUTH            OH     44865‐1206
JAMES ROBINSON                 2132 N MCKINLEY RD                                                                                         FLUSHING            MI     48433‐9475
JAMES ROBINSON                 18235 SHAFTSBURY AVE                                                                                       DETROIT             MI     48219‐2811
JAMES ROBINSON                 BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS          OH     44236
JAMES ROBINSON                 WEITZ & LUXENBERG PC              700 BROADWAY                                                             NEW YORK CITY       NY     10003
JAMES ROBINSON E (ESTATE OF)   EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FLOOR 265 CHURCH STREET                          NEW HAVEN           CT     06510
JAMES ROBINSON I I I           868 VZCR 3910                                                                                              WILLS POINT         TX     75169
JAMES ROBINSON JR              11416 NOTTINGHAM RD                                                                                        DETROIT             MI     48224‐1125
JAMES ROBINSON JR              3951 GLENBURNE BLVD                                                                                        LANSING             MI     48911‐2532
JAMES ROBISON                  861 TERRACE AVE                                                                                            WESTON              WV     26452‐1541
JAMES ROBY                     1456 W 73RD PL                                                                                             CHICAGO              IL    60636‐4043
JAMES ROCCO                    2442 WHITNEY AVE                                                                                           MANSFIELD           OH     44906‐1199
JAMES ROCHE                    G6059 DETROIT ST .                                                                                         MOUNT MORRIS        MI     48458
JAMES ROCHE                    608 WOODSIDE LN                                                                                            BAY CITY            MI     48708‐5555
JAMES ROCHON                   2164 HIDDEN TRAIL DR                                                                                       STERLING HEIGHTS    MI     48314‐3723
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Name                   Address1                             Address2                     Address3     Address4               City              State   Zip
JAMES ROCHON           13560 N SHORE DR                                                                                      MILLERSBURG        MI     49759‐9389
JAMES ROCK             PO BOX 44                                                                                             HIGHLAND           MI     48357‐0044
JAMES ROCK             4226 CIRCLE DR                                                                                        FLINT              MI     48507‐2723
JAMES ROCKENFELDER     7331 BEECH ST                                                                                         NEWTON FALLS       OH     44444‐9224
JAMES ROCKER           115 SHADOW LAKE DR                                                                                    CONYERS            GA     30094‐4129
JAMES ROCKOW           9803 EDGERTON RD                                                                                      N ROYALTON         OH     44133‐5532
JAMES ROCKS            THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES            22ND FLOOR                          BALTIMORE          MD     21201

JAMES ROCKWELL         4037 RIDGEVIEW RD                                                                                     ANDERSON          IN      46013‐9703
JAMES RODANHISLER      304 LINCOLN ST                                                                                        YALE              MI      48097‐2943
JAMES RODDEN JR        15871 EDROSE SHR                                                                                      KENT              NY      14477‐9602
JAMES RODERICK         904 EAST DUNN AVENUE                                                                                  MUNCIE            IN      47303‐2077
JAMES RODGERS          8176 SASHABAW RIDGE DR                                                                                CLARKSTON         MI      48348‐2942
JAMES RODGERS          3740 COOK RD                                                                                          OWOSSO            MI      48867‐8938
JAMES RODGERS          7406 STARVATION LAKE RD NE                                                                            MANCELONA         MI      49659‐9594
JAMES RODGERS          1014 MOUNT WHITNEY DR                                                                                 SUMMERVILLE       SC      29483‐3318
JAMES RODGERS          BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS        OH      44236
JAMES RODGERS JR       1033 S DEACON ST                                                                                      DETROIT           MI      48217‐1610
JAMES RODNEY           13 LAKEVIEW DR                                                                                        ASTATULA          FL      34705‐9726
JAMES RODRIGUEZ        1279 HOWARD ST                                                                                        MOUNT MORRIS      MI      48458‐1719
JAMES RODRIGUEZ        2613 N.E. 5TH PL                                                                                      RENTON            WA      98056
JAMES RODRIGUEZ SR     14081 SAYRE ST                                                                                        SYLMAR            CA      91342‐4159
JAMES ROE              701 RUTGERS RD                                                                                        ROCHESTER HILLS   MI      48309‐2546
JAMES ROE              115 NORWALK DR                                                                                        ROSCOMMON         MI      48653‐8987
JAMES ROE              2948 LOOKOUT TRL                                                                                      PEVELY            MO      63070‐1117
JAMES ROEBUCK          PO BOX 223                                                                                            WALKERVILLE       MI      49459‐0223
JAMES ROEBUCK          15292 MURRAY ROAD                                                                                     BYRON             MI      48418‐9006
JAMES ROECKNER         3201 BEAVER AVE                                                                                       KETTERING         OH      45429‐4055
JAMES ROEDER           21020 GEORGE HUNT CIR APT 905                                                                         WAUKESHA          WI      53186‐2031
JAMES ROEHL            3318 HEMMINGWAY DR                                                                                    JANESVILLE        WI      53545‐8814
JAMES ROELL            5570 DELMAS RD                                                                                        CLARKSTON         MI      48348‐3000
JAMES ROEPER           2265 GIRKIN RD                                                                                        BOWLING GREEN     KY      42101‐8611
JAMES ROESSLER         4263 E 700 S                                                                                          WABASH            IN      46992‐9113
JAMES ROETHLISBERGER   260 SWANSON RD                                                                                        SAGINAW           MI      48609‐6925
JAMES ROFF             693 GARDEN ST                                                                                         ELIZABETH         NJ      07202‐3503
JAMES ROGAL            1917 CLOVERDALE DR                                                                                    ROCHESTER         MI      48307‐6041
JAMES ROGAN            PO BOX 153                                                                                            ROMEO             MI      48065‐0153
JAMES ROGERS           111 NORTH ROSEMONT AVENUE                                                                             MARTINSBURG       WV      25401‐2328
JAMES ROGERS           1665 NORTON ESTATES DR                                                                                SNELLVILLE        GA      30078‐2769
JAMES ROGERS           1724 PITTMAN ST                                                                                       MOUNT AIRY        NC      27030‐5552
JAMES ROGERS           6823 DAN FORTH WAY                                                                                    ST MTN            GA      30087
JAMES ROGERS           7430 BAYFRONT RD                                                                                      BALTIMORE         MD      21219‐2117
JAMES ROGERS           PO BOX 31                                                                                             DEFIANCE          PA      16633‐0031
JAMES ROGERS           PO BOX 584                                                                                            ANDERSON          IN      46015‐0584
JAMES ROGERS           308 E PLEASANT CENTER RD                                                                              FORT WAYNE        IN      46819‐9777
JAMES ROGERS           2037 FOREST HEIGHTS DR                                                                                FLINT             MI      48507‐3507
JAMES ROGERS           2241 BELLSBURG DR                                                                                     DAYTON            OH      45459‐3523
JAMES ROGERS           5710 BERKSHIRE TRCE                                                                                   BRASELTON         GA      30517‐1614
JAMES ROGERS           1178 INVITATIONAL DRIVE                                                                               METAMORA          MI      48455‐8766
JAMES ROGERS           272 VERY OLD BARTON TRAIL                                                                             DANDRIDGE         TN      37725‐6773
JAMES ROGERS           5086 DUNBAR CT                                                                                        GLADWIN           MI      48624‐8520
JAMES ROGERS           6545 RIVER ST                        P O BOX 1766                                                     CASEVILLE         MI      48725‐9538
JAMES ROGERS           2074 N COUNTY ROAD 275 E                                                                              LOGANSPORT        IN      46947‐8068
JAMES ROGERS           1136 JANET DR                                                                                         SAGINAW           MI      48609‐5230
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Name                   Address1                         Address2                      Address3   Address4                 City              State   Zip
JAMES ROGERS           910 WARREN ST                                                                                      CHARLOTTE          MI     48813‐1979
JAMES ROGERS           180 ELWOOD DR                                                                                      MC KENZIE          TN     38201‐1309
JAMES ROGERS           3492 DALLAS ST                                                                                     BURTON             MI     48519‐1647
JAMES ROGERS           2807 RED LION COURT                                                                                DAYTON             OH     45440‐2322
JAMES ROGERS           586 RICHARD DR                                                                                     XENIA              OH     45385‐2632
JAMES ROGERS           16365 PINE LAKE RD                                                                                 BELOIT             OH     44609‐9739
JAMES ROGERS           320 N PARK VISTA ST SPC 59                                                                         ANAHEIM            CA     92806‐3726
JAMES ROGERS           229 GREENLEAF ST                                                                                   CANTON             MI     48187‐3914
JAMES ROGERS           PO BOX 388                                                                                         NORTHPORT          MI     49670‐0388
JAMES ROGERS           THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                       HOUSTON            TX     77017
JAMES ROGOZINSKI       1116 RIDGE RD N                                                           RIDGEWAY ON L0S1N0
                                                                                                 CANADA
JAMES ROHEN            802 LAFAYETTE ST APT 1                                                                             TOLEDO            OH      43604‐8284
JAMES ROHL             5418 CLAYBROOKE DR                                                                                 INDIANAPOLIS      IN      46221‐3792
JAMES ROHN             6925 TUSON BLVD APT 1D                                                                             CLARKSTON         MI      48346‐4313
JAMES ROHRBACK         862 LORETTA ST                                                                                     TONAWANDA         NY      14150‐8739
JAMES ROLAND           4673 SAINT ALBANS DR                                                                               STERLING HTS      MI      48314‐1970
JAMES ROLL             1305 BALDWIN AVE                                                                                   ANN ARBOR         MI      48104‐3624
JAMES ROLLINS          PO BOX 173                                                                                         NEWBERRY          IN      47449‐0173
JAMES ROLLINS          313 N MILL ST                                                                                      FAIRMOUNT         IN      46928‐1636
JAMES ROLLINS          347 HOUSTON AVE                                                                                    JACKSON           MS      39209‐5206
JAMES ROLLISON         3703 DEVON DR SE                                                                                   WARREN            OH      44484‐2629
JAMES ROLLISON         PO BOX 226                                                                                         FAIRVIEW          MI      48621‐0226
JAMES ROMAIN           PO BOX 12                                                                                          CARO              MI      48723‐0012
JAMES ROMES            15689 BUCKSKIN RD                                                                                  SHERWOOD          OH      43556‐9732
JAMES ROMITO           821 BLACK CHERRY DR S                                                                              JACKSONVILLE      FL      32259‐7002
JAMES RONALD           390 46TH ST                                                                                        COPIAGUE          NY      11726‐1021
JAMES RONALD           371 S HARRIS RD                                                                                    YPSILANTI         MI      48198‐5937
JAMES RONALD COLE SR   WEITZ & LUXENBERG PC             700 BROADWAY                                                      NEW YORK CITY     NY      10003
JAMES RONALD COLE SR   C/O WEITZ & LUXENBERG PC         700 BROADWAY                                                      NEW YORK CITY     NY      10003
JAMES ROOF             8582 W CENTERLINE RD                                                                               SAINT JOHNS       MI      48879‐9227
JAMES ROOP             5949 SNOW CREEK RD                                                                                 COLUMBIA          TN      38401‐1465
JAMES ROOSEN           628 S CAMINO SAGUARO                                                                               APACHE JUNCTION   AZ      85219‐8300

JAMES ROOT             825 N 5TH ST                                                                                       FREMONT           OH      43420‐3907
JAMES ROOT             11140 MULLIKEN RD                                                                                  MULLIKEN          MI      48861‐9792
JAMES ROOT             3805 FOSTER RD                                                                                     MT PLEASANT       MI      48858‐9156
JAMES ROPER            3175 SWINSON NEUMAN RD                                                                             RHODES            MI      48652‐9542
JAMES ROSE             1516 S LANSING ST                                                                                  SAINT JOHNS       MI      48879‐2102
JAMES ROSE             6852 HATCHERY RD                                                                                   WATERFORD         MI      48327‐1122
JAMES ROSE             204 WESTWOOD DR                                                                                    EULESS            TX      76039‐3835
JAMES ROSE             1350 CHESTNUT LN                                                                                   TEMPERANCE        MI      48182‐9412
JAMES ROSE             10280 W M AVE                                                                                      KALAMAZOO         MI      49009‐7985
JAMES ROSE             206 3RD NORTH ST                                                                                   LAINGSBURG        MI      48848‐9604
JAMES ROSE
JAMES ROSE             2337 LARNIE LN                                                                                     INDIANAPOLIS      IN      46219‐1406
JAMES ROSE             3724 HIGH GROVE WAY                                                                                LAKE ORION        MI      48360
JAMES ROSELL           74 N CLAYTON RD                                                                                    NEW LEBANON       OH      45345‐9635
JAMES ROSEN            811 SNOWMASS DR                                                                                    ROCHESTER HLS     MI      48309‐1367
JAMES ROSENBROCK       8647 BUCK RD                                                                                       FREELAND          MI      48623‐9735
JAMES ROSENCRANTS      11314 N SAGINAW RD                                                                                 CLIO              MI      48420‐1622
JAMES ROSIN            9466 MILLER RD # B                                                                                 SWARTZ CREEK      MI      48473‐8538
JAMES ROSOLOWSKI       67 ROWLEY HOLW                                                                                     CHEEKTOWAGA       NY      14227‐1629
JAMES ROSS             4370 POWDER HORN DR                                                                                BEAVERCREEK       OH      45432‐4026
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Name                  Address1                         Address2                     Address3       Address4               City            State   Zip
JAMES ROSS            466 S RACCOON RD APT 41                                                                             YOUNGSTOWN       OH     44515‐3513
JAMES ROSS            605 THORPE DR                                                                                       SANDUSKY         OH     44870‐1623
JAMES ROSS            #2 PARKLYNN COURT APT #1                                                                            ELSMERE          DE     19805
JAMES ROSS            2160 ROSEWOOD MILL CT                                                                               LOGANVILLE       GA     30052‐5107
JAMES ROSS            360 BRIAR HILL DR                                                                                   WHITELAND        IN     46184‐1706
JAMES ROSS            8528 VIBURNUM CT                                                                                    PORT ST LUCIE    FL     34952‐3375
JAMES ROSS            3116 PLAZA DR NE APT C7                                                                             GRAND RAPIDS     MI     49525‐2931
JAMES ROSS            5113 REYNOLDS RD                                                                                    CHEBOYGAN        MI     49721‐8002
JAMES ROSS            2344 GATESBORO DR W                                                                                 SAGINAW          MI     48603‐3769
JAMES ROSS            901 E 14TH ST                                                                                       GEORGETOWN        IL    61846‐6042
JAMES ROSS            11104 DELPHINIUM DR                                                                                 FENTON           MI     48430‐3541
JAMES ROSS            19715 ANNCHESTER RD                                                                                 DETROIT          MI     48219‐2191
JAMES ROSS            18500 LINCOLN RD                                                                                    NEW LOTHROP      MI     48460‐9642
JAMES ROSS            18030 HUBBELL ST                                                                                    DETROIT          MI     48235‐2709
JAMES ROSS            2281 S OAK RD                                                                                       DAVISON          MI     48423‐9152
JAMES ROSS            BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS       OH     44236
JAMES ROSS SR         3901 MAXWELL RD                                                                                     TOLEDO           OH     43613‐4307
JAMES ROSSER          12037 OAKRIDGE LN                                                                                   SAINT CHARLES    MI     48655‐9504
JAMES ROSSI           523 ROLLING GREEN DR                                                                                BETHEL PARK      PA     15102‐3774
JAMES ROTH            309 ROGERS ST                                                                                       FORT ATKINSON    WI     53538‐1241
JAMES ROUDEBUSH       3931 LAYTON RD                                                                                      ANDERSON         IN     46011‐9451
JAMES ROUSE           1157 LENROOT RD                                                                                     BETHEL           OH     45106‐8404
JAMES ROUSE           6097 SALT LICK CIR                                                                                  GRAND BLANC      MI     48439‐7921
JAMES ROUSE           1285 RIVER FOREST DR                                                                                FLINT            MI     48532‐2821
JAMES ROUSER          6919 OMAHA CT                                                                                       FORT WAYNE       IN     46804‐5624
JAMES ROUSER          5902 OXLEY DR                                                                                       FLINT            MI     48504‐7077
JAMES ROUSH           10034 TIFFANY DR                                                                                    FORT WAYNE       IN     46804‐3958
JAMES ROUSH           4152 SWALLOW DR                                                                                     FLINT            MI     48506‐1618
JAMES ROVITO          6191 JAMESTOWN DR                                                                                   PARMA            OH     44134‐4035
JAMES ROWDEN          1411 SUMMIT RIDGE DR                                                                                SAINT LOUIS      MO     63146‐4335
JAMES ROWE            4902 DRESDEN WAY                                                                                    SAINT PETERS     MO     63304‐7523
JAMES ROWE            221 WORTHINGTON ST                                                                                  TOLEDO           OH     43605‐1654
JAMES ROWE            419 N WHEELER ST                                                                                    SAGINAW          MI     48602‐2755
JAMES ROWE            6027 RAMBO LN                                                                                       TOLEDO           OH     43623‐1311
JAMES ROWE            2305 WOOD CRK                                                                                       BURTON           MI     48519‐1707
JAMES ROWE            5020 PALISADE DR                                                                                    LANSING          MI     48917‐1577
JAMES ROWLAND         9356 BAKER RD                                                                                       GREENVILLE       MI     48838‐8729
JAMES ROWLAND         24726 COPELAND RD                                                                                   ATHENS           AL     35613‐5358
JAMES ROWLAND         380 HILLVIEW RD                                                                                     HAMPTON          GA     30228‐2520
JAMES ROWLETTE        8566 E 700 S                                                                                        UPLAND           IN     46989‐9410
JAMES ROY SALISBURY   NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPT           205 LINDA DR                          DAINGERFIELD     TX     75638
JAMES ROY WELCH       MOTLEY RICE LLC                  28 BRIDGESIDE BLVD           P O BOX 1792                          MT PLEASANT      SC     29465
JAMES ROYER           8172 POTTER RD                                                                                      FLUSHING         MI     48433‐9445
JAMES ROYSE           2701 BENEDICT LN                                                                                    SHELBY TWP       MI     48316‐2011
JAMES ROYSTER         1401 PEGGY LN                                                                                       KENNEDALE        TX     76060‐5832
JAMES ROYSTER         PO BOX 2943                                                                                         HENDERSON        NC     27536‐6943
JAMES ROYSTON         8839 PARTRIDGE AVE                                                                                  SAINT LOUIS      MO     63147‐1613
JAMES ROZANSKI        895 FAIRLEDGE ST                                                                                    LAKE ORION       MI     48362‐2695
JAMES ROZELL          6307 E COLDWATER RD                                                                                 FLINT            MI     48506‐1213
JAMES ROZENBLAD       C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS       OH     44236
JAMES ROZNOWSKI       3721 E BURT RD                                                                                      BURT             MI     48417‐9791
JAMES ROZSA           368 MAIN ST                                                                                         MOUNT MORRIS     MI     48458‐1160
JAMES RUARK           2622 WINDING WAY RD                                                                                 CULLEOKA         TN     38451‐2620
JAMES RUARK           20110 100TH AVE                                                                                     TUSTIN           MI     49688‐8671
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Name                     Address1                      Address2            Address3         Address4               City             State   Zip
JAMES RUBADEAU           PO BOX 267                                                                                FORT COVINGTON    NY     12937‐0267
JAMES RUBEN ASSOCIATES   9415 N FITZGERALD WAY                                                                     MISSOURI CITY     TX     77459‐6246
JAMES RUBENS             2511 N LA SALLE GDNS                                                                      DETROIT           MI     48206‐2506
JAMES RUBIS              515 AARONS WAY                                                                            ORTONVILLE        MI     48462‐8561
JAMES RUBLE JR           5547 LONDON DR                                                                            YOUNGSTOWN        OH     44515‐4146
JAMES RUBRITIUS          13980 E ERIE RD                                                                           ALBION            MI     49224‐9620
JAMES RUBY               53 TIMBERLEA DR                                                                           MERIDEN           CT     06450‐6640
JAMES RUBY               3952 SODOM HUTCHINGS RD                                                                   CORTLAND          OH     44410‐8709
JAMES RUCH               122 BROOKSIDE TER W                                                                       TONAWANDA         NY     14150‐5906
JAMES RUCKER             1541 CUTTERS RUN LN                                                                       KNOXVILLE         TN     37932‐2496
JAMES RUCKER             12317 GLENFIELD ST                                                                        DETROIT           MI     48213‐1481
JAMES RUCKER JR          46831 PICKFORD ST                                                                         NORTHVILLE        MI     48168‐3510
JAMES RUDD               1581 LUDEAN DR                                                                            HIGHLAND          MI     48356‐1750
JAMES RUDDER             516 KELLEY BLVD                                                                           N ATTLEBORO       MA     02760‐4118
JAMES RUDDY              5977 ROLLING RIDGE DRIVE                                                                  TRENTON           MI     48183‐5815
JAMES RUDE               9649 STATE RD                                                                             MILLINGTON        MI     48746‐9482
JAMES RUDNITZKI          245 GRAF RD                                                                               EDGERTON          WI     53534‐9341
JAMES RUDOCK             206 KINSEYVILLE RD                                                                        NOTTINGHAM        PA     19362‐9006
JAMES RUEDA              6046 DELAND RD                                                                            FLUSHING          MI     48433‐1135
JAMES RUEDIGER           6556 MACARDY RD                                                                           SAGINAW           MI     48603
JAMES RUES               9122 W 61ST ST                                                                            MERRIAM           KS     66202
JAMES RUFFIN             13962 GARFIELD                                                                            REDFORD           MI     48239‐2833
JAMES RUGENSTEIN         5235 JON PAUL DRIVE                                                                       WHITE LAKE        MI     48383‐2626
JAMES RUGGLES            3722 DARCEY LN                                                                            FLINT             MI     48506‐2694
JAMES RUISSEN            7214 WILSON AVE SW                                                                        BYRON CENTER      MI     49315‐8752
JAMES RULE               3438 S GLENCOE ST                                                                         DENVER            CO     80222‐7522
JAMES RULEY              6730 WHEELING PIKE                                                                        JONESBORO         IN     46938‐9703
JAMES RUMBLE             358 SHIN BR                                                                               OXFORD            MI     48371‐6364
JAMES RUNNELS            5120 MARSHALL LN                                                                          WHITE LAKE        MI     48383‐3348
JAMES RUNSKE JR          533 10TH AVE                                                                              PROSPECT PARK     PA     19076‐1301
JAMES RUPARD             2690 BRISTOL RD                                                                           IMLAY CITY        MI     48444‐9770
JAMES RUPERT             9329 LISA ST                                                                              ROMULUS           MI     48174‐1574
JAMES RUPERT             2317 S TUTTLE RD                                                                          SCOTTVILLE        MI     49454‐9759
JAMES RUPLE              9406 EAGLE HILL DR                                                                        CLARKSTON         MI     48346‐1828
JAMES RUPP               239 HEIM RD                                                                               WILLIAMSVILLE     NY     14221‐1351
JAMES RUPPE              109 VALLEY CT                                                                             STOCKBRIDGE       GA     30281
JAMES RUPPERT            6630 S OLD BALD HILL RD                                                                   SPRINGWATER       NY     14560‐9602
JAMES RUSCHKEWICZ        8727 AMBLE RD                                                                             HOWARD CITY       MI     49329‐9590
JAMES RUSH               6294 GAMBLE RD                                                                            LISBON            OH     44432‐9457
JAMES RUSH               33250 FREEDOM RD APT 1                                                                    FARMINGTON        MI     48336‐4675
JAMES RUSH               2605 PIN OAK RD                                                                           EDGEWOOD          MD     21040‐1013
JAMES RUSHTON            1727 HIGHWAY 171                                                                          STONEWALL         LA     71078‐9411
JAMES RUSHTON            6855 S HARMONY RD                                                                         BLOOMINGTON       IN     47403‐9530
JAMES RUSIN              15318 OROGRANDE DR                                                                        OAK FOREST         IL    60452‐1736
JAMES RUSK               331 BARTMER DR                                                                            BETHALTO           IL    62010‐1006
JAMES RUSNELL            123 BRYNFORD AVE                                                                          LANSING           MI     48917‐2923
JAMES RUSS               PO BOX 14532                                                                              SAGINAW           MI     48601‐0532
JAMES RUSSELL            5114 BOBWHITE ST NW                                                                       NORTH CANTON      OH     44720‐7061
JAMES RUSSELL            16623 80TH AVE                                                                            COOPERSVILLE      MI     49404‐9461
JAMES RUSSELL            PO BOX 774                                                                                WASKOM            TX     75692‐0774
JAMES RUSSELL            277 SAINT ANDREWS DR                                                                      FRANKLIN          TN     37069‐7048
JAMES RUSSELL            14062 DRURY CT                                                                            GRANDVIEW         MO     64030‐3944
JAMES RUSSELL            211 WESTWOOD AVE                                                                          DAYTON            OH     45417‐1625
JAMES RUSSELL            18276 WOODINGHAM DR                                                                       DETROIT           MI     48221‐2154
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Name                        Address1                        Address2                   Address3             Address4                 City             State   Zip
JAMES RUSSELL               3096 S BELSAY RD                                                                                         BURTON            MI     48519‐1618
JAMES RUSSELL               13514 KINGSVILLE DR                                                                                      STERLING HTS      MI     48312‐4132
JAMES RUSSELL               11608 GLENN ABBEY LN                                                                                     INDIANAPOLIS      IN     46235‐9716
JAMES RUSSELL               185 KELLY AVE                                                                                            BELLVILLE         OH     44813‐1121
JAMES RUSSELL               4402 TRUMBULL DR                                                                                         FLINT             MI     48504‐3755
JAMES RUSSELL               405 E CO RD 360 N                                                                                        ANDERSON          IN     46011
JAMES RUSSELL               553 OTT DR                                                                                               CLINTON           OH     44216‐9460
JAMES RUSSELL               3076 BEECH HILL DR                                                                                       SPRING VALLEY     OH     45370‐9722
JAMES RUSSELL               733 MALLARD BAYE                                                                                         RUTLEDGE          TN     37861‐5947
JAMES RUSSELL               4894 COFFEY HOLLOW RD                                                                                    MACKS CREEK       MO     65786‐8359
JAMES RUSSELL               3200 S OVERTON AVE                                                                                       INDEPENDENCE      MO     64052‐1028
JAMES RUSSELL               211 WESTWOOD                                                                                             DAYTON            OH     45417‐1625
JAMES RUSSELL               210 E THRUSH AVE                                                                                         CRESTLINE         OH     44827‐1172
JAMES RUSSELL GILES         NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                               DAINGERFIELD      TX     75638
JAMES RUSSELL JR            264 W WALTON BLVD                                                                                        PONTIAC           MI     48340‐1167
JAMES RUSSELL SMITH         ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON         IL    62024
                                                            ANGELIDES & BARNERD LLC
JAMES RUSSEY JR.            306 E PULASKI AVE                                                                                        FLINT            MI      48505‐3355
JAMES RUSSO                 31041 LOUISE CT                                                                                          WARREN           MI      48088‐2005
JAMES RUSSO                 59620 STERLING DR                                                                                        NEW HUDSON       MI      48165‐9686
JAMES RUSSOM                2 JEFFREY WAYNE DR                                                                                       SAINT PETERS     MO      63376‐1910
JAMES RUTHERFORD            4290 STATE ROUTE 82                                                                                      NEWTON FALLS     OH      44444‐9555
JAMES RUTLEDGE              3524 HERMOSA DR                                                                                          DAYTON           OH      45416‐1116
JAMES RUTLEDGE              3524 HERMOSA DR                                                                                          DAYTON           OH      45416‐1116
JAMES RUTLEDGE              2933 LEGENDS DR                                                                                          SOUTHPORT        NC      28461‐8125
JAMES RYAN                  8723 CRESTON DR                                                                                          PINCKNEY         MI      48169‐9120
JAMES RYAN                  4174 ARLINGTON DR                                                                                        ROYAL OAK        MI      48073‐6302
JAMES RYAN                  33 ROOSEVELT CIR W                                                                                       RED BANK         NJ      07701‐5825
JAMES RYAN                  877 SNELL RD                                                                                             LEWISBURG        TN      37091‐6934
JAMES RYAN                  PO BOX 233                                                                                               BRASHER FALLS    NY      13613‐0233
JAMES RYAN                  46 ROCHESTER ST                                                                                          LOCKPORT         NY      14094‐3215
JAMES RYAN                  10229 BIRCH RUN RD                                                                                       BIRCH RUN        MI      48415‐9440
JAMES RYAN                  1615 MEADOWBROOK LN                                                                                      PORTAGE          MI      49024‐5707
JAMES RYAN                  10414 N 300 W                                                                                            ALEXANDRIA       IN      46001‐8419
JAMES RYAN                  802 WAKEFIELD # 9                                                                                        HOUSTON          TX      77018
JAMES RYAN III              168 AMHERSTON DR                                                                                         BUFFALO          NY      14221‐7004
JAMES RYANS                 225 CARTER AVE APT 1                                                                                     DEFIANCE         OH      43512‐4502
JAMES RYLAK                 11 HARWICK DR                                                                                            TRENTON          NJ      08619‐3010
JAMES RYLANDS               1007 SADDLEBROOK DR                                                                                      HENDERSONVILLE   NC      28739‐6066
JAMES RYPKEMA               2167 HERITAGE AVE                                                                                        OKEMOS           MI      48864‐3613
JAMES RYSZKIEWICZ           9275 GREINER RD                                                                                          CLARENCE         NY      14031‐1208
JAMES S & JULIA ANN TOTH    2705 OSCEOLA DR                                                                                          WHITE OAK‐       PA      15131
                                                                                                                                     MCKEESPORT
JAMES S & SUSAN J ENGLAND   1507 ARGYLE                                                                                              HAMBURY          IA      51640‐1401
JAMES S ALEXANDER           4108 MEADOWLANE DR                                                                                       JACKSON          MS      39206‐3805
JAMES S ALLEN               4610 SUPERIOR ST                                                                                         NEWTON FALLS     OH      44444‐1753
JAMES S ANDERSON            2728 BRANDT PIKE                                                                                         DAYTON           OH      45404‐1468
JAMES S ANNIS               321 W. S. COLLEGE STREET                                                                                 YELLOW SPRNGS    OH      45387‐1413
JAMES S BALL JR             323 18TH ST                                                                                              ELYRIA           OH      44035‐7623
JAMES S BARNARD             6600 SWISSWAY DRIVE                                                                                      W CARROLTON      OH      45459
JAMES S BRANNON             105 ROCK MEADOW TRL                                                                                      MANSFIELD        TX      76063‐4845
JAMES S BRUSKE              3340 N JACKSON                                                                                           CARROLLTON       MI      48724
JAMES S CART                4852 E LOWER SPRINGBORO RD                                                                               WAYNESVILLE      OH      45068‐‐ 86
JAMES S CARWILE             1261 CHATWELL DR                                                                                         DAVISON          MI      48423‐2711
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Name                  Address1                         Address2                     Address3            Address4               City           State   Zip
JAMES S DAVIS         291 GREENWOOD ESTATES DR                                                                                 CUMMING         GA     30040
JAMES S DOLL          11672 FREDERICK PIKE                                                                                     VANDALIA        OH     45377‐9790
JAMES S EYLES         2166 W BROADWAY # 712                                                                                    ANAHEIM         CA     92804
JAMES S FARKAS        1610 JOHNSON PLANK RD                                                                                    CORTLAND        OH     44410
JAMES S FARLESS       28 WHITE OAK VILLAGE                                                                                     RAINBOW CITY    AL     35906‐6716
JAMES S FORD          609 LAWNDALE AVE                                                                                         TILTON           IL    61833‐7961
JAMES S GARRETT       209 PLAINFIELD AVE                                                                                       EDISON          NJ     08817‐3715
JAMES S GOODMAN       101 KRUG DR.                                                                                             UNION           OH     45322‐8723
JAMES S GRAY          345 WELCOME WAY                                                                                          CARLISLE        OH     45005
JAMES S GREENE        836 HOCH AVE                                                                                             ADRIAN          MI     49221‐3816
JAMES S HARRIS JR     3182 S FORDNEY ROAD                                                                                      HEMLOCK         MI     48626
JAMES S HAYFORD       125 WEST PLUMER STREET                                                                                   TOLEDO          OH     43605‐3327
JAMES S HENDERSON     C/O DAVID W EDGAR                EDGAR LAW FIRM LLC           1032 PENNSYLVANIA                          KANSAS CITY     MO     64105
JAMES S HOCK          835 MEADOW RIDGE CIR APT 205                                                                             AUBURN HILLS    MI     48326‐4551
JAMES S HODGE         4275 S DAYTON BRANDT RD                                                                                  NEW CARLISLE    OH     45344‐7621
JAMES S HUTCHISON     206 MOYER ST                                                                                             CANAJOHARIE     NY     13317
JAMES S JACOBS        802 E TRIPP AVE                                                                                          PEORIA           IL    61603‐1312
JAMES S JONES         201 WINDING RIDGE DRIVE                                                                                  DAYTON          OH     45415
JAMES S JONES         62 OLD YELLOW SPRING APT 8                                                                               FAIRBORN        OH     45324‐2451
JAMES S KURIHARA      PO BOX 104                                                                                               FORT MCCOY      FL     32134
JAMES S MACKEY        500 OAK DRIVE                                                                                            CORINTH         KY     41010
JAMES S MARTIN        C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS      OH     44236
JAMES S MASSIE        4106 GARDENVIEW DR                                                                                       BEAVERCREEK     OH     45431‐1618
JAMES S MASSIE        4106 GARDERVIEW                                                                                          BEAVERCREEK     OH     45432
JAMES S MASSINGILL    8969 OAK ST                                                                                              HUNTSVILLE      OH     43324
JAMES S MILLER        7663 NW LENOX LN                                                                                         SILVERDALE      WA     98383‐7393
JAMES S MIRACLE       8094 SHARON CT                                                                                           FRANKLIN        OH     45005‐4064
JAMES S MOORE         1749 TANNOCK DR                                                                                          HOLLY           MI     48442‐9109
JAMES S NAKFOOR       3400 BRISBANE DR                                                                                         LANSING         MI     48911‐1305
JAMES S NEELEY        1297 E DOWNEY AVE                                                                                        FLINT           MI     48505‐1709
JAMES S NELSON        C/O BRAYTON PURCELL              222 RUSH LANDING RD                                                     NOVATO          CA     94948‐6169
JAMES S NELSON        408 N BERRY PINE RD                                                                                      RAPID CITY      SD     57702
JAMES S OGINSKY       PO BOX 320321                                                                                            FLINT           MI     48532‐0006
JAMES S POLLARD       1362 CHARLES AVE                                                                                         FLINT           MI     48505‐1749
JAMES S POST          106 PARKSIDE LN                                                                                          TROY            MO     63379‐5636
JAMES S POTASH        149 MATILDA ST                                                                                           ROCHESTER       NY     14606‐5556
JAMES S QUIGLEY INC   BRIAN QUIGLEY                    326 MAIN ST                                                             BALLY           PA     19503‐9626
JAMES S RELYEA        706 EARL AVE                                                                                             SYRACUSE        NY     13211‐1518
JAMES S RIMAR         419 WILLARD AVE. N. E.                                                                                   WARREN          OH     44483‐5531
JAMES S ROBB          1334 PRIMROSE AVE APT 1                                                                                  TOLEDO          OH     43612‐4072
JAMES S SAUM          3541 NORTH DRIVE WAYNE LAKES                                                                             GREENVILLE      OH     45331‐3074
JAMES S SCHEFFER      219 N FRANCISCO RD                                                                                       GRASS LAKE      MI     49240‐9216
JAMES S SISLEY        428 VERMILION DR                                                                                         YORK            SC     29745‐‐ 74
JAMES S SWANNER       3519 SARATOGA DR                                                                                         HAMILTON        OH     45011‐5546
JAMES S SYMANSKI      20033 12 MILE RD                                                                                         ROSEVILLE       MI     48066
JAMES S THOMPSON      1491 FRANKLIN ST                                                                                         CARLYLE          IL    62231‐1722
JAMES S WEIDIG        208 S L ST                                                                                               TILTON           IL    61833‐7833
JAMES S WILLIAMS      404 DEER CREEK RD                                                                                        EVERMAN         TX     76140‐4110
JAMES S WILLIAMS JR   6867 #9 RD.                                                                                              BROOKVILLE      OH     45309‐‐ 00
JAMES S WOODWARD      1595 S BALDWIN RD                                                                                        OXFORD          MI     48371‐5611
JAMES S ZAUCHA        705 N ERIE ST                                                                                            BAY CITY        MI     48706‐4413
JAMES S ZAWACKI       86 FOSTER HOLLOW RD                                                                                      BRADFORD        PA     16701
JAMES S. ZISCHKE      44 BAYBERRY DRIVE                                                                                        LEESBURG        FL     34788
JAMES SABISCH JR      406 LYNCH AVE                                                                                            PONTIAC         MI     48342‐1952
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JAMES SADLER            338 W 4TH ST                                                                                   DELPHOS          OH     45833‐1404
JAMES SADOWSKI          14 JUDY DR                                                                                     HERMINIE         PA     15637‐1606
JAMES SAFRIET           295 TURNER SUBDIVISION RD                                                                      CORBIN           KY     40701‐9586
JAMES SAGE              6293 DRAKE SETTLEMENT RD                                                                       BURT             NY     14028‐9718
JAMES SAHOL             1309 WALL AVE                                                                                  BURLINGTON       NJ     08016‐4617
JAMES SAIZ              9950 OAKHURST RD                                                                               HOLLY            MI     48442‐8534
JAMES SAK               116 LANE VIEW DR                                                                               HARRINGTON       DE     19952‐2557
JAMES SALGOT            1357 MOLL ST                                                                                   N TONAWANDA      NY     14120‐2229
JAMES SALGOT            PO BOX 2034                                                                                    PAYSON           AZ     85547‐2034
JAMES SALISBURY         10595 36TH ST S                                                                                SCOTTS           MI     49088‐8311
JAMES SALLEE            4807 RIDGE ROAD                                                                                KOKOMO           IN     46901‐3640
JAMES SALLEE            4456 N STATE ROAD 75                                                                           THORNTOWN        IN     46071‐9219
JAMES SALLER            114 BAKERDALE RD                                                                               ROCHESTER        NY     14616‐3810
JAMES SALLY             3728 WHITNEY ST                                                                                DETROIT          MI     48206‐2320
JAMES SALMONS           734 ROUND HILL RD                                                                              INDIANAPOLIS     IN     46260‐2918
JAMES SALMONS           2602 SOFTWIND ST                                                                               NORTH BRANCH     MI     48461‐9763
JAMES SALONE JR         BEVAN & ASSOCIATES, LPA, INC    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH     44236
JAMES SALTSMAN          133 MARTELLAGO DR                                                                              NORTH VENICE     FL     34275‐6603
JAMES SALVADOR          1205 WOODBINE AVE                                                                              LANSING          MI     48910‐2674
JAMES SALYER            7459 MARTZ PAULIN RD                                                                           CARLISLE         OH     45005‐4005
JAMES SALYER            6309 HILLCROFT DR                                                                              FLINT            MI     48505‐5732
JAMES SAMAN             18‐627 RD T RT 4                                                                               NAPOLEON         OH     43545
JAMES SAMMONS           14578 BEAR BRANCH RD                                                                           DILLSBORO        IN     47018‐5153
JAMES SAMMONS           149 E VILLAGE CIR                                                                              LA FOLLETTE      TN     37766‐7334
JAMES SAMOROS           25 SPARKLEBERRY CT                                                                             GREER            SC     29651‐7411
JAMES SAMPSON           2100 ADRIENNE DR                                                                               TROY             MI     48085‐3802
JAMES SAMPSON           5026 WATERFORD ROAD                                                                            CLARKSTON        MI     48346‐3459
JAMES SAMUEL (507533)   COON BRENT W                    PO BOX 4905                                                    BEAUMONT         TX     77704‐4905
JAMES SAMUEL JR         447 E WILSON AVE                                                                               PONTIAC          MI     48341‐3335
JAMES SAMYN             996 E WARNER RD                                                                                ESSEXVILLE       MI     48732‐9772
JAMES SANAREY           10 EWING STREET                                                                                OAKDALE          PA     15071
JAMES SANBORN           1055 S GEECK RD                                                                                CORUNNA          MI     48817‐9547
JAMES SANDER            501 SHADY LN                                                                                   OSSIAN           IN     46777‐9312
JAMES SANDERS           508 DUNN STORE RD                                                                              MORGANTOWN       KY     42261‐8268
JAMES SANDERS           8190 HILL RD                                                                                   SWARTZ CREEK     MI     48473‐7615
JAMES SANDERS           6425 GLENOAK AVE                                                                               BALTIMORE        MD     21214‐1412
JAMES SANDERS           728 NURSERY RD                                                                                 ANDERSON         IN     46012‐3513
JAMES SANDERS           SUNSHINE CHRISTIAN HOME         5250 WHIPPORWILL DR                                            HOLIDAY          FL     34690
JAMES SANDERS           13650 E STATE FAIR ST                                                                          DETROIT          MI     48205‐1863
JAMES SANDERS           1801 CHASEWOOD DR APT 6                                                                        CHARLOTTE        NC     28212‐8012
JAMES SANDERS           2303 WRIGHT LN                                                                                 PINE BLUFF       AR     71601‐9757
JAMES SANDERS           5323 N JENNINGS RD                                                                             FLINT            MI     48504‐1119
JAMES SANDERS           12056 SCHORNVORN PLACE                                                                         CLIO             MI     48420
JAMES SANDERS           5544 WATERMAN BLVD                                                                             SAINT LOUIS      MO     63112‐1834
JAMES SANDERS JR        512 DAYTONA PKWY APT 6                                                                         DAYTON           OH     45406‐2021
JAMES SANDERSON         531 BRENDA DR                                                                                  MADISON          AL     35758‐1361
JAMES SANDERSON         349 BRIGHTMOOR ST                                                                              TEMPERANCE       MI     48182‐1195
JAMES SANDLIN           5940 OAK HILL RD                                                                               ORTONVILLE       MI     48462‐8913
JAMES SANDRA            4205 HEATHGATE LN                                                                              RALEIGH          NC     27613‐2502
JAMES SANDUSKY          7272 NICHOLS RD                                                                                GAINES           MI     48436‐9714
JAMES SANETICK          1518 CENTER RD                                                                                 WEST SENECA      NY     14224‐3286
JAMES SANFORD           240 RIVER RUN DR                                                                               BALL GROUND      GA     30107‐7804
JAMES SANTA             11469 RUNNELLS DR                                                                              CLIO             MI     48420‐8232
JAMES SANTANGELO        WEITZ & LUXENBERG PC            700 BROADWAY                                                   NEW YORK CITY    NY     10003
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Name                 Address1                         Address2            Address3         Address4               City               State   Zip
JAMES SARGENT        638 BRYAN ST SE                                                                              ATLANTA             GA     30312‐3309
JAMES SARGINSON      9474 HAMILL RD                                                                               OTISVILLE           MI     48463‐9785
JAMES SARILLE        10905 KINGSGATE DR                                                                           OKLAHOMA CITY       OK     73170‐4239
JAMES SARKA          21430 SWITZER RD                                                                             DEFIANCE            OH     43512‐8467
JAMES SARKA          10486 COLDWATER RD                                                                           FLUSHING            MI     48433‐9752
JAMES SARNA          999 SUGARLOAF LAKE RD                                                                        CHELSEA             MI     48118‐9425
JAMES SARNE          13061 AMBROSE DR                                                                             PALOS PARK           IL    60464‐1661
JAMES SARTI          11360 WILSHIRE DR                                                                            SHELBY TWP          MI     48315‐6676
JAMES SARTOR         415 VILLAGE DR                                                                               LANSING             MI     48911‐3763
JAMES SASSER         1339 N CASS LAKE RD                                                                          WATERFORD           MI     48328‐1317
JAMES SASSER
JAMES SATAWA         539 N BROADWAY ST                                                                            LAKE ORION         MI      48362‐3119
JAMES SATTERFIELD    127 E MAIN ST                                                                                W CARROLLTON       OH      45449‐1415
JAMES SATTERFIELD    910 THELMA AVE                                                                               MIAMISBURG         OH      45342‐3851
JAMES SATTERFIELD    1700 HIGHLAND WAY APT C                                                                      BOWLING GREEN      KY      42104‐1009
JAMES SATTLER        44424 ECORSE RD                                                                              BELLEVILLE         MI      48111‐1108
JAMES SATTLER        8109 COTTAGE DR                                                                              UNIONVILLE         MI      48767‐9764
JAMES SAUDER         1109 FLEMING FALLS RD                                                                        MANSFIELD          OH      44905‐1340
JAMES SAUER          1402 SILVER SPRINGS CT SE                                                                    CALEDONIA          MI      49316‐8445
JAMES SAUM           3541 NORTH DRIVE WAYNE LAKES                                                                 GREENVILLE         OH      45331
JAMES SAUNDERS       1060 FROST RD                                                                                STREETSBORO        OH      44241‐4855
JAMES SAUNDERS       1629 W OAKLEY PARK RD                                                                        COMMERCE           MI      48390‐1146
                                                                                                                  TOWNSHIP
JAMES SAUNDERS       31453 ALCONA CT                                                                              WESTLAND           MI      48186‐4701
JAMES SAUVE          7906 N BEAD PT                                                                               HERNANDO           FL      34442‐2401
JAMES SAUVE          1650 MICHAELANE DR                                                                           SAGINAW            MI      48604‐9270
JAMES SAVAGE         6498 BAY MEADOW CT                                                                           YOUNGSTOWN         OH      44515‐5585
JAMES SAVAGE         4106 MILBOURNE AVE                                                                           FLINT              MI      48504‐3553
JAMES SAVAGE         2946 BUCKINGHAM AVE                                                                          BERKLEY            MI      48072‐1318
JAMES SAVAGE         5492 NASHVILLE HWY                                                                           CHAPEL HILL        TN      37034‐2069
JAMES SAVALLE        24485 30 MILE RD                                                                             RAY                MI      48096‐2113
JAMES SAVESKI        35400 RYAN RD                                                                                STERLING HEIGHTS   MI      48310‐4428
JAMES SAVICKAS       6030 GLENBEIGH DR                                                                            SYLVANIA           OH      43560‐1234
JAMES SAVOCA         19 BELRIDGE RD                                                                               NEW BRITAIN        CT      06053‐1007
JAMES SAVOY          1205 HAYWOOD CREEK RD                                                                        PULASKI            TN      38478‐9576
JAMES SAWADE         5445 S BRINTON RD                                                                            BLANCHARD          MI      49310‐9760
JAMES SAWTELL        516 NE 14TH ST                                                                               MOORE              OK      73160‐5735
JAMES SAWVEL         11359 MOSHER RD                                                                              OTISVILLE          MI      48463‐9772
JAMES SAWYER         PO BOX 117                                                                                   KEEGO HARBOR       MI      48320‐0117
JAMES SAWYER         2010 OTTAWA ST                                                                               SAGINAW            MI      48602‐2745
JAMES SAWYER         16932 N OLD MACKINAW RD                                                                      CHEBOYGAN          MI      49721‐9353
JAMES SAWYER         8766 CABOT DR                                                                                MOUNT HEALTHY      OH      45231‐4533
JAMES SAXBURY        1041 WATERSEDGE DR                                                                           LAKELAND           FL      33801‐6776
JAMES SAYE           2352 GEORGE AVE                                                                              YPSILANTI          MI      48198‐6615
JAMES SAYLOR         218 PATRIOT CIR                                                                              SCOTTSVILLE        KY      42164‐6371
JAMES SAYLOR         1609 CREEKSTONE DR                                                                           COLUMBIA           TN      38401‐6769
JAMES SAYRE          2630 WINDING WAY RD                                                                          CULLEOKA           TN      38451‐2620
JAMES SCALIA I I I   5000 LIMESTONE RD                                                                            WILMINGTON         DE      19808‐1229
JAMES SCALIA, JR     5115 W WATERBERRY DR                                                                         HURON              OH      44839‐2267
JAMES SCAMEHORN      2810 E CROWN DR                                                                              TRAVERSE CITY      MI      49684‐7126
JAMES SCANLON        513 S GRANGER ST                                                                             SAGINAW            MI      48602‐2102
JAMES SCARBRO        1070 COUNTY ROAD 1418                                                                        QUITMAN            TX      75783‐4513
JAMES SCARPACE       33141 PALMETTO DR                                                                            CHESTERFIELD       MI      48047‐1428
JAMES SCATES         2691 BECK ST SE                                                                              WARREN             OH      44484‐5023
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Name                 Address1                      Address2                       Address3   Address4               City             State Zip
JAMES SCAVONE        4012 ROGER AVE                                                                                 ALLEN PARK        MI 48101‐3526
JAMES SCEHOVIC       5636 S MOODY AVE                                                                               CHICAGO            IL 60638‐3546
JAMES SCHAALE        13319 N BRAY RD                                                                                CLIO              MI 48420‐9151
JAMES SCHABEL        211 MILL SPGS                                                                                  COATESVILLE       IN 46121‐8948
JAMES SCHADENFROH    118 ROUNDUP RD                                                                                 BALTIMORE         MD 21220‐2143
JAMES SCHAEFER       503 E MCFARLAND ST                                                                             GRANDVIEW         TX 76050‐2136
JAMES SCHAEFER       632 GREEN TREE MEADOWS DR     DRIVE                                                            LAKE SAINT LOUIS  MO 63367‐2571
JAMES SCHAEFER       W164S7690 BAY LANE TER                                                                         MUSKEGO           WI 53150‐9786
JAMES SCHAEFERLE     12068 TOWNLINE RD                                                                              GRAND BLANC       MI 48439‐1632
JAMES SCHAFER        262 N MCDERMOTT RD                                                                             FAWN GROVE        PA 17321‐9671
JAMES SCHAFF         620 WILLIAMS DR                                                                                CEDARBURG         WI 53012‐9364
JAMES SCHAFFER       1076 WESTERN WOODS DR                                                                          FLINT             MI 48532‐2048
JAMES SCHAFFER JR    569 PENN EST                                                                                   EAST STROUDSBURG PA 18301‐9062

JAMES SCHAICH        3721 SURFSIDE BLVD                                                                             CAPE CORAL        FL   33914‐4814
JAMES SCHANCK        4243 GARFIELD RD                                                                               AUBURN            MI   48611‐9704
JAMES SCHANCK I I    645 TULANE ST                                                                                  SAGINAW           MI   48604‐2250
JAMES SCHARFENKAMP   1951 CHANCERY DR                                                                               TROY              MI   48085‐1432
JAMES SCHARTNER      RTE #1 1333 HENKE RD                                                                           JANESVILLE        WI   53546
JAMES SCHARTOW       5060 SO. TWO MILE                                                                              BAY CITY          MI   48706
JAMES SCHATZLEY      6244 LAKEVIEW S                                                                                SAGINAW           MI   48603‐4251
JAMES SCHAUER        2813 DAKOTA DR                                                                                 JANESVILLE        WI   53545‐2296
JAMES SCHEADLER      84 SHAWNEE DR                                                                                  SARDINIA          OH   45171‐8105
JAMES SCHEELE        #A                            984 MCDONALD DRIVE NORTHEAST                                     SUGARCREEK        OH   44681‐7692
JAMES SCHEFFER       219 N FRANCISCO RD                                                                             GRASS LAKE        MI   49240‐9216
JAMES SCHEFFLER      11875 SHAFTSBURG RD                                                                            LAINGSBURG        MI   48848‐9732
JAMES SCHEFFLER      5328 WILSON BURT RD                                                                            BURT              NY   14028‐9732
JAMES SCHEI          352 FIELDS RD                                                                                  DANSVILLE         MI   48819‐9792
JAMES SCHEIFFLEE     3465 BARBER RD                                                                                 OXFORD            MI   48371‐1909
JAMES SCHELL         10 W HAZELCROFT AVE                                                                            NEW CASTLE        PA   16105
JAMES SCHEMEL        2888 RAVENGLASS RD                                                                             WATERFORD         MI   48329‐2645
JAMES SCHENCK        6247 ROWLEY BLVD                                                                               WATERFORD         MI   48329‐3042
JAMES SCHEPLER       11541 ORCHARDVIEW DR                                                                           FENTON            MI   48430‐2545
JAMES SCHEPPER       119 BERKLEY                                                                                    TERRE HAUTE       IN   47803‐1707
JAMES SCHERPING      4965 BUSCH RD                                                                                  BIRCH RUN         MI   48415‐8555
JAMES SCHEY          2310 DENMARK ST APT 26                                                                         CLEARWATER        FL   33763‐3530
JAMES SCHEYKO        2407 WEISS ST                                                                                  SAGINAW           MI   48602‐3875
JAMES SCHIEFELBEIN   1236 E COURT ST                                                                                JANESVILLE        WI   53545‐2565
JAMES SCHIEMAN       206 WHITTINGTON DR                                                                             CENTERVILLE       OH   45459‐2132
JAMES SCHIFO         105 KENNEDY DR                                                                                 WESTVILLE         IL   61883‐1203
JAMES SCHILL         193 N COLONIAL DR                                                                              CORTLAND          OH   44410‐1105
JAMES SCHILLING      20 WHITE TAIL TRL                                                                              GLADWIN           MI   48624‐9732
JAMES SCHINDLER      616 S MOUNTAIN ST                                                                              BAY CITY          MI   48706‐4259
JAMES SCHIPANSKY     1015 GRANGER ST                                                                                FENTON            MI   48430‐1566
JAMES SCHLAIRE       4277 ARBELA RD                                                                                 MILLINGTON        MI   48746‐9317
JAMES SCHLEA         1327 ALLINGTON LN                                                                              COLUMBUS          OH   43240‐6100
JAMES SCHLEBEN       10789 KNOCKADERRY DRIVE                                                                        GRAND LEDGE       MI   48837‐8168
JAMES SCHLEE         8458 FLETCHER RD                                                                               GRAND BLANC       MI   48439‐8908
JAMES SCHLEGEL       17540 GOLDFINCH DR                                                                             BUHL              AL   35446‐9535
JAMES SCHLEIGER      201 S CENTRAL AVE                                                                              W ALEXANDRIA      OH   45381‐1205
JAMES SCHLENK        3118 GRIESMER AVE                                                                              HAMILTON          OH   45015‐1729
JAMES SCHLENKERT     4285 STISON VIEW CT                                                                            WHITE LAKE        MI   48383‐3803
JAMES SCHMENK        9721 HAMILTON ST                                                                               BELLEVILLE        MI   48111‐4325
JAMES SCHMER         5921 W 86TH ST                                                                                 OVERLAND PARK     KS   66207
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Name                            Address1                        Address2            Address3         Address4               City              State   Zip
JAMES SCHMER                    5921 WEST 86TH STREET                                                                       OVERLAND PARK      KS     66207
JAMES SCHMER                    5921 WEST 86TH ATREET           OVERLAND PARK       KANSAS 66207                            OVERLAND PARK      KS     66207
JAMES SCHMIDT                   4307 W 23RD ST                                                                              YUMA               AZ     85364‐6302
JAMES SCHMIDT                   470 22 MILE RD                                                                              KENT CITY          MI     49330‐9416
JAMES SCHMIDT                   3032 E STATE HIGHWAY 76                                                                     BRANSON            MO     65616‐8312
JAMES SCHMIDT                   1713 MARSAC ST                                                                              BAY CITY           MI     48708‐8558
JAMES SCHMIDT                   3120 SUNDOWN LN                                                                             SAGINAW            MI     48603‐6198
JAMES SCHMIDT                   608 ADELYNN CT S                                                                            FRANKLIN           TN     37064‐6728
JAMES SCHMIDT                   8108 SPANISH OAK DR                                                                         SPRING HILL        FL     34606‐6947
JAMES SCHMIDT                   2225 SANDLEWOOD WAY                                                                         SHELBY TOWNSHIP    MI     48316‐1177
JAMES SCHMIT                    3081 KINNEVILLE RD                                                                          LESLIE             MI     49251‐8700
JAMES SCHNEIDER                 11430 W HOWE RD                                                                             EAGLE              MI     48822‐9799
JAMES SCHNEIDER                 8432 REESE LN                                                                               ANN ARBOR          MI     48103‐9354
JAMES SCHNEIDER                 8804 S BLAIR RD                                                                             ASHLEY             MI     48806‐9707
JAMES SCHNEIDER                 796 QUIMBY RD                                                                               COLDWATER          MI     49036‐9522
JAMES SCHNEIDER                 5 WOODSFORD LN                                                                              SPENCERPORT        NY     14559‐9776
JAMES SCHNEIDER                 317 COLLEGE AVE E                                                                           CARTHAGE           TN     37030‐1423
JAMES SCHNEIDER                 394 LEAR RD                                                                                 AVON LAKE          OH     44012‐2079
JAMES SCHNEIDER                 141 HOMESTEAD DR                                                                            COLUMBIANA         OH     44408‐9559
JAMES SCHNEIDER                 6106 CRABTREE LN                                                                            BURTON             MI     48519‐1304
JAMES SCHNELL                   14510 ABBEY LN APT B3                                                                       BATH               MI     48808‐7724
JAMES SCHNEPF PHOTOGRAPHY INC   N34W5543 HAMILTON RD                                                                        CEDARBURG          WI     53012‐2532
JAMES SCHNETZER                 5938 CHIMNEY ROCK DR                                                                        HOSCHTON           GA     30548‐4123
JAMES SCHNUERER                 933 UNITY DR                                                                                MANSFIELD          OH     44905‐2246
JAMES SCHNURPEL                 785 ROSE HARBOUR CT                                                                         TERRE HAUTE        IN     47803‐2859
JAMES SCHOENBORN                0‐11901 8TH AVE.                                                                            GRAND RAPIDS       MI     49534
JAMES SCHOENENBERGER            312 W LIBERTY ST                                                                            EVANSVILLE         WI     53536‐1224
JAMES SCHOENFELD                3271 HIGHWAY 19                                                                             OWENSVILLE         MO     65066‐2401
JAMES SCHOENOW                  11885 AYRE LN                                                                               FRANKENMUTH        MI     48734‐9769
JAMES SCHOETTLE                 8210 CHRISTIAN LN                                                                           INDIANAPOLIS       IN     46217‐5427
JAMES SCHOMERS                  4721N TOPAZ LANE                                                                            GRANBURY           TX     76049
JAMES SCHOONOVER                720 E RUSSELL RD                                                                            JANESVILLE         WI     53545‐9648
JAMES SCHORAH                   32 LAKESHORE DR                                                                             LEWES              DE     19958‐9102
JAMES SCHORB                    15 WINTER WOODS DR                                                                          LOUISBURG          NC     27549‐6425
JAMES SCHORNACK                 54838 ASHLEY LAUREN DR                                                                      MACOMB             MI     48042‐2323
JAMES SCHOTT                    11604 E NEWBURG RD                                                                          DURAND             MI     48429‐9446
JAMES SCHOWE                    4101 N MANCHESTER RD                                                                        MUNCIE             IN     47304‐1316
JAMES SCHRAM                    5059 LUCINDA DR                                                                             PRESCOTT           MI     48756‐9650
JAMES SCHRANK                   3816 WALDO AVE                                                                              MIDLAND            MI     48642‐6688
JAMES SCHRANK                   9174 WINDSONG LN                                                                            CADILLAC           MI     49601‐9769
JAMES SCHREEL                   3104 CATALPA DR                                                                             DAYTON             OH     45405‐1746
JAMES SCHREMS                   2320 AMELITH RD                                                                             BAY CITY           MI     48706‐9320
JAMES SCHRIBER                  12521 MARSHALL RD                                                                           BIRCH RUN          MI     48415‐8718
JAMES SCHROEDER                 5703 E VUELTA DE                LADRILLO AMARILLO                                           TUCSON             AZ     85706
JAMES SCHROEDER                 6546 ELKRUN CT                                                                              CLARKSTON          MI     48348‐2812
JAMES SCHROTH                   6011 ELMOOR DR                                                                              TROY               MI     48098‐1820
JAMES SCHROYER                  16474 COWLEY RD                                                                             GRAFTON            OH     44044‐9209
JAMES SCHUBERT                  1185 CLEVELAND DR                                                                           CHEEKTOWAGA        NY     14225‐1234
JAMES SCHUBERT                  955 PADRE LN                                                                                GREENWOOD          IN     46143‐2604
JAMES SCHUCHTER                 2041 E U S 22 & 3                                                                           MORROW             OH     45152
JAMES SCHUERMAN                 8312 NORTHERN DR                                                                            AVON               IN     46123‐7215
JAMES SCHULER                   11 STARLING CT                                                                              NORTH              NY     14120‐1381
                                                                                                                            TONAWANDA
JAMES SCHULTE                   14475 PECAN HILL CIR                                                                        NOBLE              OK     73068‐5251
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Name                   Address1                           Address2       Address3         Address4               City             State   Zip
JAMES SCHULTZ          8120 S BLOOMER ST                                                                         CARSON CITY       MI     48811‐8505
JAMES SCHULTZ          8323 RANCH ESTATES RD                                                                     CLARKSTON         MI     48348‐4034
JAMES SCHULTZ          1132 ELM ST                                                                               BELOIT            WI     53511‐4321
JAMES SCHULTZ          2431 MOLE AVE                                                                             JANESVILLE        WI     53548‐1442
JAMES SCHULTZ          725 JOLSON AVE                                                                            AKRON             OH     44319‐2724
JAMES SCHULTZ          917 CAMBRIDGE DR                                                                          JANESVILLE        WI     53548‐6707
JAMES SCHUMACHER       6071 ANGLEVIEW DR                                                                         SYLVANIA          OH     43560‐1209
JAMES SCHUMAN          1162 BRADFORD ST NW                                                                       WARREN            OH     44485‐1960
JAMES SCHUMANN         3334 NORTHWAY DR                                                                          BAY CITY          MI     48706‐3335
JAMES SCHUSTER         621 FOUNDERS DRIVE                                                                        KISSIMMEE         FL     34744‐5951
JAMES SCHUSTER         1118 E 9TH ST                                                                             SALEM             OH     44460‐1716
JAMES SCHUTT           3929 GRANDVIEW CT                                                                         TOLEDO            OH     43614‐3339
JAMES SCHUYLER         206 N AMERICAN BLVD                                                                       VANDALIA          OH     45377‐2231
JAMES SCHUYLER         606 FLETCHER ST                                                                           OWOSSO            MI     48867‐3410
JAMES SCHWAB           4661 CADDINGTON ST                                                                        ENON              OH     45323‐1718
JAMES SCHWAB           348 S BRIANT ST                                                                           HUNTINGTON        IN     46750‐3405
JAMES SCHWANGER        5024 HOMEGARDNER RD                                                                       CASTALIA          OH     44824‐9708
JAMES SCHWARTZ         5431 MEADOWBROOK DR                                                                       BAY CITY          MI     48706‐3027
JAMES SCHWARTZ         12950 WADSWORTH RD                                                                        REESE             MI     48757‐9329
JAMES SCHWARTZLOW JR   12943W GLACIER DR                                                                         EVANSVILLE        WI     53536
JAMES SCHWENT          1712 WINTER HILL DR                                                                       O FALLON          MO     63366‐3935
JAMES SCHWIND          6918 CRESTVIEW DR                                                                         FORT WAYNE        IN     46835‐1526
JAMES SCIOCCO          483 EWINGVILLE RD                                                                         EWING             NJ     08638‐1533
JAMES SCIPIONI         100 IVY FARM CT                                                                           ALVATON           KY     42122‐9691
JAMES SCOFIELD         2124 N VASSAR RD                                                                          DAVISON           MI     48423‐9515
JAMES SCOGGINS         6858 JEROME RD                                                                            JEROME            MI     49249‐9722
JAMES SCOTT            63 BUFF RD                                                                                TENAFLY           NJ     07670‐1453
JAMES SCOTT            2503 W WOODROW ST                                                                         DURHAM            NC     27705‐3171
JAMES SCOTT            4507 HOAGLAND BLACKSTUB RD APT A                                                          CORTLAND          OH     44410‐9576
JAMES SCOTT            1771 TRACY RD                                                                             FOUNTAIN RUN      KY     42133‐9625
JAMES SCOTT            428 WEST ST                                                                               NILES             OH     44446‐2650
JAMES SCOTT            80 S DORSET RD                                                                            TROY              OH     45373‐2606
JAMES SCOTT            11701 FRONT ST                                                                            QUINCY            IN     47456‐8655
JAMES SCOTT            19210 CHARTER OAKS DR                                                                     DAVISON           MI     48423‐3249
JAMES SCOTT            PO BOX 547                                                                                DAVISON           MI     48423‐0547
JAMES SCOTT            27 GRAVES AVE                                                                             BATTLE CREEK      MI     49037‐2203
JAMES SCOTT            15075 FAIRFIELD ST                                                                        DETROIT           MI     48238‐2130
JAMES SCOTT            495 DOG CREEK RD                                                                          LAWRENCEBURG      TN     38464‐5931
JAMES SCOTT            5737 FURNAS RD                                                                            INDIANAPOLIS      IN     46221‐4132
JAMES SCOTT            62 MORELAND AVE                                                                           PONTIAC           MI     48342‐2321
JAMES SCOTT            1585 SAWMILL CREEK LN                                                                     CORDOVA           TN     38016‐7641
JAMES SCOTT            1294 CEDAR CREEK RD                                                                       HARTSELLE         AL     35640‐8476
JAMES SCOTT            119 S 19TH ST                                                                             SAGINAW           MI     48601‐1442
JAMES SCOTT            165 S OPDYKE RD LOT 119                                                                   AUBURN HILLS      MI     48326‐3163
JAMES SCOTT            3614 STOCKTON RD                                                                          PORT CHARLOTTE    FL     33953‐5721
JAMES SCOTT            12153 LAKE RD                                                                             OTISVILLE         MI     48463‐9754
JAMES SCOTT            7875 RAVENSWOOD ROAD                                                                      WALES             MI     48027‐3312
JAMES SCOTT            14717 W 90TH TER                                                                          LENEXA            KS     66215‐2923
JAMES SCOTT            232 HALLBROOK DRIVE                                                                       FORT WORTH        TX     76134‐3932
JAMES SCOTT            401 E MOORE ST                                                                            FLINT             MI     48505‐5373
JAMES SCOTT
JAMES SCOTT            12322 S ELIZABETH ST                                                                      CALUMET PARK      IL     60827‐5808
JAMES SCOTT            7693 W WILLIAMSWOOD DR                                                                    NEW PALESTINE     IN     46163‐9009
JAMES SCOTT            1476 LAKE NEPESSING RD                                                                    LAPEER            MI     48446‐2927
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Name                  Address1                        Address2                     Address3                     Address4               City               State Zip
JAMES SCOTT           BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                       BOSTON HTS          OH 44236
JAMES SCOTT           THOMAS M WILSON ESQ             KELLEY & FERRARO LLP         127 PUBLIC SQUARE 2200 KEY                          CLEVELAND           OH 44114
                                                                                   TOWER
JAMES SCOTT JR        38142 LAURENWOOD ST                                                                                              WAYNE              MI   48184‐1017
JAMES SCOTT JR        17240 CEDARCROFT PL                                                                                              SOUTHFIELD         MI   48076‐4779
JAMES SCOTT JR        9765 SOUTHERN BELLE CT                                                                                           CENTERVILLE        OH   45458‐2881
JAMES SCOTT JR        1223 HANCOCK AVE                                                                                                 MITCHELL           IN   47446‐8065
JAMES SCOVEL          615 SHULTZ DR                                                                                                    HAMILTON           OH   45013‐1467
JAMES SCRAMLIN        4722 FRANK DR                                                                                                    COMINS             MI   48619‐9713
JAMES SCREWS          80 W WILDERNESS RD                                                                                               NATCHEZ            MS   39120‐8842
JAMES SCRIMGER        8864 JE NE BE DR NE                                                                                              ROCKFORD           MI   49341‐8313
JAMES SCRIMGER        6054 TREE LINE DR                                                                                                GRAND BLANC        MI   48439‐9790
JAMES SCROGGINS       1075 BEAR CREEK PIKE                                                                                             COLUMBIA           TN   38401‐6732
JAMES SCRUGGS JR      9415 ARTESIAN ST                                                                                                 DETROIT            MI   48228‐1705
JAMES SCRUGGS JR      150 KAPPLINGER DR               P O BOX 351                                                                      FARWELL            MI   48622‐9405
JAMES SCULLEY         873 NW SARRIA CT                                                                                                 PORT SAINT LUCIE   FL   34986‐1700
JAMES SCULLY          307 CLAYTON MANOR DR                                                                                             MIDDLETOWN         DE   19709‐8859
JAMES SEAGRAVES       PO BOX 597                                                                                                       BOLIVAR            MO   65613‐0597
JAMES SEAGRAVES III   25143 DALLAS DR                                                                                                  GROSSE ILE         MI   48138‐1755
JAMES SEALE           2226 ADAMS AVE                                                                                                   FLINT              MI   48505‐5010
JAMES SEALEY          2400 HIGH MEADOWS DR                                                                                             ORTONVILLE         MI   48462‐9128
JAMES SEALY           313 SHELDON AVE                                                                                                  FAIRCHANGE         PA   15436‐1073
JAMES SEAMON          1023 OAK ST                                                                                                      MEDINA             OH   44256‐2529
JAMES SEAMON          9906 N LONG LAKE RD                                                                                              TRAVERSE CITY      MI   49684‐9635
JAMES SEARCY          7159 BURNING BUSH LN                                                                                             FLUSHING           MI   48433‐2292
JAMES SEARFOSS        PO BOX 494                                                                                                       EAST LIVERPOOL     OH   43920‐5494
JAMES SEARLES JR      11433 LAING ST                                                                                                   DETROIT            MI   48224‐1554
JAMES SEARS           345 DARK HEAD RD                                                                                                 BALTIMORE          MD   21220‐4824
JAMES SEARS           5499 MCKEACHIE RD                                                                                                WHITE LAKE         MI   48383‐1338
JAMES SEARS           10371 DAR LN                                                                                                     GOODRICH           MI   48438‐9405
JAMES SEATON          5074 W 150TH ST                                                                                                  BROOK PARK         OH   44142‐1731
JAMES SEAY            3500 LUCIE ST                                                                                                    LANSING            MI   48911‐2824
JAMES SEBELA          139 PARK DR                                                                                                      GRAND JUNCTION     CO   81501‐2060
JAMES SEBREE          1420 STANLEY RD                                                                                                  PLAINFIELD         IN   46168‐2330
JAMES SECONDER        3486 YARNEY RD                                                                                                   WATERFORD          MI   48329‐2780
JAMES SECOR           181 VISTA DR                                                                                                     ELKTON             MD   21921‐3514
JAMES SEDLARIK        2091 DEERFIELD DR                                                                                                FLINT              MI   48532‐4019
JAMES SEDLOCK         8362 TINDALL RD                                                                                                  DAVISBURG          MI   48350‐1650
JAMES SEDLOCK         44137 BALMORAL CT                                                                                                STERLING HEIGHTS   MI   48314‐1965
JAMES SEEDLE          366 BUENA VISTA AVE                                                                                              COLUMBUS           OH   43228‐1190
JAMES SEEDS           PO BOX 416                                                                                                       NEWPORT            ME   04953‐0416
JAMES SEEGE JR        6354 STERLING WOODS DR                                                                                           CLAYTON            OH   45315‐9671
JAMES SEEGERT         4308 S ATLANTIC AVE                                                                                              NEW SMYRNA         FL   32169‐4002
                                                                                                                                       BEACH
JAMES SEELEY          870 MAPLETREE LN                                                                                                 FENTON             MI   48430‐4200
JAMES SEGEDY          13222 W MARBLE DR                                                                                                SUN CITY WEST      AZ   85375‐4522
JAMES SEIDEL          10512 RAY RD                                                                                                     GAINES             MI   48436‐9607
JAMES SEIDELMAN       1261 GIDNER RD                                                                                                   CHARLOTTE          MI   48813‐9743
JAMES SEIFERT         PO BOX 205                      1805 JACKSON AVE                                                                 LAKE GEORGE        MI   48633‐0205
JAMES SEIFFERLY       1840 MORIN DR                                                                                                    BAY CITY           MI   48708‐6956
JAMES SEINKNER        8 WORTHINGTON AVE                                                                                                NEW CASTLE         PA   16105‐2806
JAMES SEIVERS         24381 POWERS AVE                                                                                                 DEARBORN HTS       MI   48125‐2019
JAMES SELBY           4980 JEFFERSON RD                                                                                                SMITHVILLE         TN   37166‐5420
JAMES SELF            4251 E CAMP DR                                                                                                   GUTHRIE            OK   73044‐7019
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Name                  Address1                        Address2                 Address3    Address4               City               State   Zip
JAMES SELIG           3422 PRAIRIE AVE                                                                            BROOKFIELD           IL    60513‐1411
JAMES SELINGO         826 BEVERLY DR                                                                              PLYMOUTH            PA     18651
JAMES SELLERS I I I   11137 COBBLESTONE LN                                                                        GRAND LEDGE         MI     48837‐9116
JAMES SEMAN           2828 WYNES ST                                                                               SAGINAW             MI     48602‐3730
JAMES SEMPLE          2734 ELDORA DR                                                                              TOLEDO              OH     43613‐2622
JAMES SEMPLE JR       20 BANBURY DR                                                                               YOUNGSTOWN          OH     44511‐3602
JAMES SEMPLINSKI      4816 HIDDEN HARBOUR BLVD                                                                    FORT MYERS          FL     33919‐3325
JAMES SEMRAU          263 BRAY RD                                                                                 ARCADE              NY     14009‐9425
JAMES SENA            11 EMPRESS CT                                                                               FREEHOLD            NJ     07728‐4303
JAMES SENEY           172 HUXLEY DR                                                                               SNYDER              NY     14226‐4816
JAMES SENNETT         3601 HILL AVE LOT 46                                                                        TOLEDO              OH     43607‐4705
JAMES SENOPOLE        5008 SW 25TH CT                                                                             CAPE CORAL          FL     33914‐6613
JAMES SENSKA          2580 CHANTERELL DR                                                                          TROY                MI     48083‐2482
JAMES SENSTOCK        31698 SAN JUAN ST                                                                           HARRISON TWP        MI     48045‐5902
JAMES SENTERS         2747 CYPRESS WAY APT 2                                                                      NORWOOD             OH     45212‐1771
JAMES SENTERS         16557 REPUBLIC AVE                                                                          BERLIN CENTER       OH     44401‐9760
JAMES SERAFINO        6120 SANDSHORES DR                                                                          TROY                MI     48085‐1342
JAMES SERGEANT JR     20 WATERVIEW DR                                                                             LAKE ORION          MI     48362‐1543
JAMES SERGENT         4243 STATE ROUTE 48                                                                         WEST MILTON         OH     45383‐1926
JAMES SERVEN          PO BOX 1                        364 BARNS RD                                                FOSTORIA            MI     48435‐0001
JAMES SERVISS         PO BOX 1226                                                                                 NORTHPORT           AL     35476‐6226
JAMES SESSLAR         PO BOX 359                                                                                  WAYNESVILLE         OH     45068‐0359
JAMES SETTLE          357 PUTTER CIR                  LK HENRY GOLF & TENNIS                                      WINTER HAVEN        FL     33881‐8750
JAMES SETTLES III     200 RIVERFRONT DR #27J                                                                      DETROIT             MI     48226‐4525
JAMES SEVERN          13275 BLOCK RD                                                                              BIRCH RUN           MI     48415‐9419
JAMES SEWARD          PO BOX 350755                                                                               PALM COAST          FL     32135‐0755
JAMES SEWELL          2554 BENDER AVE                                                                             WATERFORD           MI     48329‐3404
JAMES SEWELL          2846 MCCULLOCH RD                                                                           BEAVERTON           MI     48612‐9708
JAMES SEWELL          1 MARY LN                                                                                   WEST ALEXANDRIA     OH     45381‐9388

JAMES SEWELL          848 RIVERVIEW TER APT 607                                                                   DAYTON             OH      45402‐6460
JAMES SEWELL          709 BRENDA AVE                                                                              LORETTO            TN      38469‐2380
JAMES SEXTON          1194 BLUE BROOK LN              JAMES L SEXTON                                              PORTAGE            MI      49002‐4424
JAMES SEXTON          105 RIDGELAKE CIR                                                                           PEACHTREE CITY     GA      30269‐1475
JAMES SEXTON          1416 58TH ST W                                                                              BRADENTON          FL      34209‐4738
JAMES SEYFRIED        8429 E CARPENTER RD                                                                         DAVISON            MI      48423‐8915
JAMES SEYMOUR         44199 ORION DR                                                                              STERLING HEIGHTS   MI      48314‐3177
JAMES SEYMOUR         13633 HARVEST LN                                                                            BATH               MI      48808‐8485
JAMES SGAMBELLONE     2011 TULIPWOOD DR                                                                           MANSFIELD          OH      44906‐3334
JAMES SGRO            11135 MOSHIE LN                                                                             SAN ANTONIO        FL      33576‐7851
JAMES SHADD           6855 KEATS DR                                                                               DAYTON             OH      45414‐3260
JAMES SHADDOCK        11269 SE STEVENS RD APT 105                                                                 HAPPY VALLEY       OR      97086‐4518
JAMES SHADLEY         8337 RIDGE RD                                                                               GOODRICH           MI      48438‐9482
JAMES SHADOW          PO BOX 176                                                                                  PAW PAW            MI      49079‐0176
JAMES SHAFFER         191 ACADIA AVE                                                                              FRANKLIN           TN      37064‐4848
JAMES SHAFFER         PO BOX 253                                                                                  MILTON             IL      62352‐0253
JAMES SHAFFER         13258 SPORTSMAN RIDGE                                                                       GRASS LAKE         MI      49240‐9384
JAMES SHAFT           733 N SHELDON ST                                                                            CHARLOTTE          MI      48813‐1230
JAMES SHAHAN          2260 PERKINS JONES CT NE                                                                    WARREN             OH      44483‐1859
JAMES SHAKIR          717 MABEL ST                                                                                KALAMAZOO          MI      49007‐2484
JAMES SHANK           6325 R1THORNAPPLE LK RD                                                                     NASHVILLE          MI      49073
JAMES SHANKIE         13668 CHARRINGTON DR                                                                        STERLING HEIGHTS   MI      48313‐3521
JAMES SHANKS
JAMES SHANN           14071 WASHBURN RD                                                                           OTTER LAKE          MI     48464‐9108
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Name               Address1                          Address2            Address3         Address4               City           State   Zip
JAMES SHANNON      PO BOX 494                                                                                    BIG SANDY       TX     75755‐0494
JAMES SHANNON      1804 S HEMLOCK RD                                                                             MUNCIE          IN     47302‐1988
JAMES SHANNON      2549 BINGHAM AVE                                                                              DAYTON          OH     45420‐3724
JAMES SHANTZ       5911 MABLEY HILL RD                                                                           FENTON          MI     48430‐9418
JAMES SHARAK       707 E SANTA PAULA ST                                                                          SANTA PAULA     CA     93060‐2063
JAMES SHARAR       5163 COTTRELL RD                                                                              VASSAR          MI     48768‐9499
JAMES SHARE        703 E 7TH AVE                                                                                 BRODHEAD        WI     53520‐1257
JAMES SHARKEY      5614 OAK VALLEY ROAD                                                                          DAYTON          OH     45440‐2314
JAMES SHARP        11115 OAKSPRING CT                                                                            INDIANAPOLIS    IN     46239‐8804
JAMES SHARP        3627 CORNELL RD                                                                               CINCINNATI      OH     45241‐2604
JAMES SHARP        4426 VAN VLEET RD                                                                             SWARTZ CREEK    MI     48473‐8574
JAMES SHARP        14008 W 147TH ST                                                                              OLATHE          KS     66062‐9032
JAMES SHARPE       361 ROSELAKE DR                                                                               CENTERVILLE     OH     45458‐4015
JAMES SHARPE       4945 HARDING ST                                                                               WAYNE           MI     48184‐2215
JAMES SHARPE       476 NORTHFIELD DR                                                                             YOUNGSTOWN      NY     14174‐1146
JAMES SHARPLEY     1211 23RD AVENUE                                                                              DECATUR         AL     35601
JAMES SHARRARD     7244 CYPRESS GARDENS LN                                                                       LAS VEGAS       NV     89119‐4550
JAMES SHARROW      301 BREAKER COVE DR                                                                           BAY CITY        MI     48708‐8811
JAMES SHARROW      1503 W MONTROSE ST                                                                            YOUNGSTOWN      OH     44505‐1427
JAMES SHATTUCK     4830 PECK LAKE RD                                                                             PORTLAND        MI     48875‐8668
JAMES SHATTUCK     3474 N CEDAR RD                                                                               FOWLERVILLE     MI     48836‐9232
JAMES SHAULL       929 GRENOBLE DR UNIT E                                                                        LANSING         MI     48917‐3930
JAMES SHAVER       PO BOX 23                                                                                     BRECKENRIDGE    MI     48615‐0023
JAMES SHAVER       7299 N WHEATON RD                                                                             CHARLOTTE       MI     48813‐8612
JAMES SHAVER JR    200 SUTER RD                                                                                  BALTIMORE       MD     21228‐3115
JAMES SHAVER JR    2031 S CHESTER RD                                                                             CHARLOTTE       MI     48813‐9546
JAMES SHAVRNOCH    719 RIVERSIDE DR                                                                              LINDEN          MI     48451‐8957
JAMES SHAW         1060 AARON DR APT 209                                                                         DEWITT          MI     48820‐7973
JAMES SHAW         5524 CHALFONTE PASS DR                                                                        GRAND BLANC     MI     48439‐9145
JAMES SHAW         5403 OREGON TRL                                                                               LAPEER          MI     48446‐8015
JAMES SHAW         PO BOX 26031                                                                                  TROTWOOD        OH     45426‐0031
JAMES SHAW         30 E SHANNON AVE                                                                              DAYTON          OH     45449‐1230
JAMES SHAW         185 S WALNUT ST                                                                               LONDON          OH     43140‐1569
JAMES SHAW         1303 BELLVIEW DR                                                                              MANSFIELD       OH     44905‐1613
JAMES SHAW         178 AMBERLY DR UNIT K                                                                         MANALAPAN       NJ     07726‐2523
JAMES SHAW         2906 WYOMING AVE                                                                              FLINT           MI     48506‐2464
JAMES SHAW         1461 RAYDEAN DR                                                                               GRANTS PASS     OR     97527‐6330
JAMES SHAW         608 2ND ST                                                                                    FENTON          MI     48430‐1924
JAMES SHAW         373 GREEN                                                                                     PERRY           MI     48872‐9502
JAMES SHAW         4733 UPSHAW ST                                                                                SAINT LOUIS     MO     63121‐3037
JAMES SHAW         40178 SHAW DR                                                                                 EDWARDS         MO     65326‐3833
JAMES SHAW         91 WESTWOOD DR                                                                                EUPORA          MS     39744‐3085
JAMES SHAW         3315 SPRING CT                                                                                NORTH           NY     14120‐1256
                                                                                                                 TONAWANDA
JAMES SHAWANIBIN   533 BRYNFORD AVE                                                                              LANSING        MI      48917‐2927
JAMES SHAWYER      1339 TABLER STATION RD                                                                        INWOOD         WV      25428‐4575
JAMES SHAYNA       3261 LEIX RD                                                                                  CARO           MI      48723‐9544
JAMES SHEA         11850 ROSE TER                                                                                HOLLY          MI      48442‐8608
JAMES SHEAR        1698 BRALEY RD                                                                                YOUNGSTOWN     NY      14174‐9733
JAMES SHEARD       8707 DUNMORE LN                                                                               FORT WAYNE     IN      46804‐3433
JAMES SHEARER      13121 S 8TH ST                                                                                SCHOOLCRAFT    MI      49087‐9446
JAMES SHEARER      217 ABBOTT RD                                                                                 LAINGSBURG     MI      48848‐8805
JAMES SHEDLOWSKY   3033 SHAWNEE LN                                                                               WATERFORD      MI      48329‐4341
JAMES SHEEDY       11580 S 700 W                                                                                 FAIRMOUNT      IN      46928‐9752
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Name                Address1                        Address2                     Address3   Address4                City             State Zip
JAMES SHEEHAN       3114 59TH ST S APT 312                                                                          GULFPORT          FL 33707‐5756
JAMES SHEEHAN       5769 LOCUST STREET EXT APT 1                                                                    LOCKPORT          NY 14094‐6546
JAMES SHEEHAN       5120 CLEARVIEW DR                                                                               WILLIAMSVILLE     NY 14221‐4108
JAMES SHEELER       10372 PINEWAY DR                                                                                BROWNSBURG        IN 46112‐8631
JAMES SHEETS        PO BOX 271541                                                                                   OKLAHOMA CITY     OK 73137‐1541
JAMES SHEFFIELD     PO BOX 152                                                                                      BROADDUS          TX 75929‐0152
JAMES SHELBY        4067 LOTUS DR                                                                                   WATERFORD         MI 48329‐1231
JAMES SHELBY        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS        OH 44236
JAMES SHELDON       519 4TH ST                                                                                      LEMONT             IL 60439‐4111
JAMES SHELDON       315 BJ'S LANDING                                                                                ESTILL SPRINGS    TN 37330
JAMES SHELDON       808 VILLAGE DR                                                                                  DAVISON           MI 48423‐1049
JAMES SHELDON       194 CROOKED LIMB DR                                                                             LAPEER            MI 48446‐3137
JAMES SHELDON       12355 OAK ALY                                                                                   GUTHRIE           OK 73044‐8662
JAMES SHELL         353 S 31ST ST                                                                                   SAGINAW           MI 48601‐6349
JAMES SHELLEY       14269 DUFFIELD RD                                                                               BYRON             MI 48418‐9004
JAMES SHELTERS      710 IRWIN AVE                                                                                   ALBION            MI 49224‐2053
JAMES SHELTON       1948 S CO RD 300 E                                                                              PERU              IN 46970
JAMES SHELTON       2411 LAWNWOOD CIR                                                                               BALTIMORE         MD 21207‐8102
JAMES SHELTON       3419 LORAL DR                                                                                   ANDERSON          IN 46013‐2222
JAMES SHELTON       1437 MENDELL DR                                                                                 SAINT LOUIS       MO 63130‐1213
JAMES SHELTON       3232 WINDSOR AVE                                                                                KANSAS CITY       MO 64123‐1135
JAMES SHELTON       8289 WESTWOOD ST                                                                                DETROIT           MI 48228‐3042
JAMES SHELTON       4127 CLOTHIER RD                                                                                KINGSTON          MI 48741‐9731
JAMES SHELTON       24090 ROSEWOOD AVE                                                                              TAYLOR            MI 48180‐4066
JAMES SHELTON       2009 W WHEELER AVE LOT 20                                                                       ARANSAS PASS      TX 78336‐4742
JAMES SHELTON       4519 WESTCHESTER GLEN DRIVE                                                                     GRAND PRAIRIE     TX 75052‐3550
JAMES SHELTON JR    2114 ARMITAGE DR                                                                                SAINT LOUIS       MO 63136‐6105
JAMES SHEPARD       1444 FLAMINGO DR                                                                                MOUNT MORRIS      MI 48458‐2718
JAMES SHEPARD       618 N MASON ST                                                                                  SAGINAW           MI 48602‐4569
JAMES SHEPHERD      1919 LOWELL AVE                                                                                 ANDERSON          IN 46011‐2129
JAMES SHEPPARD      PO BOX 5                                                                                        DEFIANCE          OH 43512‐0005
JAMES SHEPPARD      18600 COUNTY ROAD 218                                                                           DEFIANCE          OH 43512‐9312
JAMES SHEPPARD JR   2260 S VASSAR RD                                                                                VASSAR            MI 48768‐9711
JAMES SHERARD       2055 ROSELAKE CIR                                                                               SAINT PETERS      MO 63376‐7768
JAMES SHERIDAN      23410 JOY RD                                                                                    REDFORD           MI 48239‐1118
JAMES SHERIDAN      13 SAINT MARKS ST                                                                               LE ROY            NY 14482‐1023
JAMES SHERIDAN      11121 MAGDALA DR                                                                                PARMA             OH 44130‐1547
JAMES SHERIDAN      40682 RUGGERO ST                                                                                CLINTON TOWNSHIP MI 48038‐4145

JAMES SHERIDAN      1385 LISGAR DR                                                          WINDSOR ON N9J3N2
                                                                                            CANADA
JAMES SHERLEY       PO BOX 748                                                                                      SAGINAW           MI   48606‐0748
JAMES SHERLOCK      23001 OAK ST                                                                                    DEARBORN          MI   48128‐1366
JAMES SHERMAN       7985 W CLARKSVILLE RD           PO BOX 23                                                       CLARKSVILLE       MI   48815‐9666
JAMES SHERMAN       2185 ANDERSON RD                                                                                SAGINAW           MI   48603‐3820
JAMES SHERMAN       1030 SIESTA ST                                                                                  GLADWIN           MI   48624‐8374
JAMES SHERMAN JR.   4482 NANTUCKET CV                                                                               STONE MOUNTAIN    GA   30083‐4826
JAMES SHERRIL       398 OZONE RD                                                                                    ROCKWOOD          TN   37854‐7209
JAMES SHERRILL      27 CREPE MYTRLE PRIVE DR                                                                        SOMERVILLE        AL   35670
JAMES SHERRILL      APT 102                         6140 RAYTOWN ROAD                                               RAYTOWN           MO   64133‐4016
JAMES SHERRY        4040 W 204TH ST                                                                                 FAIRVIEW PARK     OH   44126‐1535
JAMES SHETENHELM    8263 SEYMOUR RD                                                                                 GAINES            MI   48436‐9799
JAMES SHEUFELT      916 JENNISON ST                                                                                 BAY CITY          MI   48708‐8645
JAMES SHEWELL       6236 MCCLINTOCKSBURG RD                                                                         NEWTON FALLS      OH   44444‐9247
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Name                 Address1                         Address2                 Address3   Address4                   City            State   Zip
JAMES SHIARLA        14830 COUNTY ROAD C2                                                                            NEW BAVARIA      OH     43548‐9736
JAMES SHIELDS        7717 BROOK BLVD                                                                                 ZOLFO SPRINGS    FL     33890‐3405
JAMES SHIELDS        1226 BAYVIEW RD                                                                                 MIDDLETOWN       DE     19709‐2150
JAMES SHIELDS        6281 CHRISTMAN DR                                                                               NORTH OLMSTED    OH     44070‐4869
JAMES SHIELDS        16 GREENWOOD RD                                                      INGERSOLL ON CANADA N5C‐
                                                                                          3N1
JAMES SHIETS         123 LINCOLN DR                                                                                  PORT CLINTON    OH      43452‐1248
JAMES SHIFFLETT      35 BLISTER ST                                                                                   BALTIMORE       MD      21220‐4604
JAMES SHIFFLETT      9391 ZACHARY TAYLOR HWY          HIGHWAY                                                        UNIONVILLE      VA      22567‐2124
JAMES SHIFLER        11217 GREENBERRY RD                                                                             HAGERSTOWN      MD      21740‐7091
JAMES SHIFLETT       C/O THE LAW OFFICES OF PETER G   100 N CHARLES ST         22ND FL                               BALTIMORE       MD      21201
                     ANGELOS
JAMES SHILEN         107 HAMILTON DR                                                                                 SNYDER          NY      14226‐4740
JAMES SHILLING       1900 W WASHINGTON RD                                                                            FARWELL         MI      48622‐9324
JAMES SHILLINGLAW    146 WYNDCREST CT                                                                                MONROE          OH      45050
JAMES SHIMSHOCK      15941 PRINCETON CT                                                                              FRASER          MI      48026‐2348
JAMES SHINAVER       1626 BLUE GRASS RD                                                                              LANSING         MI      48906‐1334
JAMES SHIPP          167 ANDY LN                                                                                     MANCHESTER      TN      37355‐3648
JAMES SHIPPEY        1382 TYRELL ST                                                                                  SNOVER          MI      48472‐9357
JAMES SHIREY         768 VALLEYWOOD HEIGHTS DR                                                                       HOWARD          OH      43028‐9691
JAMES SHIVES         APT V108                         1000 SOUTH COAST DRIVE                                         COSTA MESA      CA      92626‐1766
JAMES SHOCK          411 BROWN ST                                                                                    SAINT LOUIS     MI      48880‐1102
JAMES SHOCK          1288 BYRNWYCK CT                                                                                DEFIANCE        OH      43512‐8853
JAMES SHOCK JR       1020 ISABELLA VIS                                                                               LAKE ISABELLA   MI      48893‐9376
JAMES SHOCKENCY      5936 GROUSE DR                                                                                  LAKELAND        FL      33809‐7312
JAMES SHOCKLEY       2200 E SHOCKLEY RD                                                                              MUNCIE          IN      47302‐8856
JAMES SHOECRAFT      5055 WAY ST                                                                                     BURTON          MI      48509‐1536
JAMES SHOEMAKER      1179 LACY RD                                                                                    CANTON          GA      30115‐6621
JAMES SHOEMAKER      2719 BRITTANY OAKS BLVD                                                                         HILLIARD        OH      43026‐8575
JAMES SHOEMAKER      2702 FAUNN ST                                                                                   WINONA LAKE     IN      46590‐1930
JAMES SHOEMAKER      4995 MAYFAIR ST                                                                                 DEARBORN HTS    MI      48125‐3021
JAMES SHOEMAKER      1547 GRACE ST                                                                                   MANSFIELD       OH      44905‐2743
JAMES SHOEMAKER      4201 STISON CREST CT                                                                            WHITE LAKE      MI      48383‐3805
JAMES SHOENFELT      2828 SUMMERVIEW CT                                                                              LEXINGTON       OH      44904‐1352
JAMES SHOLTE         1771 ORCHID ST                                                                                  WATERFORD       MI      48328‐1407
JAMES SHOOK          12967 STEUBENVILLE PIKE                                                                         LISBON          OH      44432‐9790
JAMES SHOPE          166 HICKORY HOLLOW DRIVE                                                                        JEFFERSON       GA      30549‐6641
JAMES SHORE          1851 DOWNHAM DR                                                                                 WIXOM           MI      48393‐1188
JAMES SHORKEY        3196 CONNECTICUT ST                                                                             BURTON          MI      48519‐1546
JAMES SHORT          615 KELLY BRANCH RD                                                                             LONDON          KY      40741‐8776
JAMES SHORT          711 IRWIN AVE                                                                                   ALBION          MI      49224‐2052
JAMES SHORT          PO BOX 19117                                                                                    SAINT LOUIS     MO      63118‐9117
JAMES SHORT          21 RANSOM ST                                                                                    N TONAWANDA     NY      14120‐7326
JAMES SHORT          609 BUSH ST                                                                                     LINDEN          MI      48451‐8905
JAMES SHORT JR.      608 N CHERRY WOOD LN                                                                            MUNCIE          IN      47304‐8921
JAMES SHORT SR       6105 E ROBERT ST                                                                                MUNCIE          IN      47303‐4476
JAMES SHORTER        601 CATALPA AVE                                                                                 LIMA            OH      45804‐2025
JAMES SHORTER        4103 EAGLE DR                                                                                   MANSFIELD       TX      76063‐5476
JAMES SHORTER JR     116 WOODED CREEK DR                                                                             RED OAK         TX      75154‐6234
JAMES SHORTT         4381 S SHERIDAN RD                                                                              LENNON          MI      48449‐9403
JAMES SHOTWELL I I   32 KING GEORGE III DR                                                                           FLINT           MI      48507‐5935
JAMES SHOVLIN        4 CRESTHILL AVE                                                                                 TONAWANDA       NY      14150‐7108
JAMES SHOW           2489 BRANDYWINE DR                                                                              DAVISON         MI      48423‐2390
JAMES SHOWERS        112 YORK RD                                                                                     EDGERTON        WI      53534‐1602
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Name                      Address1                         Address2                      Address3   Address4               City             State   Zip
JAMES SHRECK              2216 SW 85TH ST                                                                                  OKLAHOMA CITY     OK     73159‐6106
JAMES SHREVE              9541 SYLVIA ST                                                                                   TAYLOR            MI     48180‐3081
JAMES SHREVE              300 TREALOUT DR APT 16                                                                           FENTON            MI     48430‐3287
JAMES SHREVE JR           215 N 25TH AVE                                                                                   BEECH GROVE       IN     46107‐1489
JAMES SHREWSBURY          2762 GROVENBURG RD                                                                               LANSING           MI     48911‐6459
JAMES SHRIPKA             2888 NOTTINGHAM DR E                                                                             SAGINAW           MI     48603‐2832
JAMES SHRIVER             BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS        OH     44236
JAMES SHROAT              206 S CARLSON ST                                                                                 WESTLAND          MI     48186‐4002
JAMES SHROUT              1719 E MAIN ST                                                                                   GREENFIELD        IN     46140‐8125
JAMES SHRUM               3267 HERD RD                                                                                     METAMORA          MI     48455‐9654
JAMES SHRUM               9202 W WOLF MOUNTAIN RD                                                                          GOSPORT           IN     47433‐9503
JAMES SHUBERT             626 FAIRFIELD DR                                                                                 FLUSHING          MI     48433‐1426
JAMES SHUCK               951 WILL JACKSON RD                                                                              CADIZ             KY     42211‐8925
JAMES SHUEMAKER           11209 S DENKER AVE                                                                               LOS ANGELES       CA     90047‐4833
JAMES SHULTZ              664 MOHICAN WAY                                                                                  WESTERVILLE       OH     43081‐3048
JAMES SHUMAKER            185 SNOW APPLE LN                                                                                DAVISON           MI     48423‐9139
JAMES SHUMAKER            5121 HIGHPOINT DR                                                                                SWARTZ CREEK      MI     48473‐8903
JAMES SHUMAN              506 KENTUCKY AVE                                                                                 WESTVILLE          IL    61883‐1722
JAMES SHUMPERT            223 CLINTON ST                                                                                   ROMEO             MI     48065‐4712
JAMES SHUPPERD            1400 S COURTLAND AVE                                                                             KOKOMO            IN     46902‐6209
JAMES SHUPTAR             125 WAHL RD                                                                                      ROCHESTER         NY     14609‐1708
JAMES SHUPTAR             125 WAHL RD                                                                                      ROCHESTER         NY     14609‐1708
JAMES SHURMACK            8610 DYGERT DR SE                                                                                ALTO              MI     49302‐9386
JAMES SHURTE              3514 ARLENE AVE                                                                                  FLINT             MI     48503‐3298
JAMES SHUSTOCK            1346 HOWE RD                                                                                     BURTON            MI     48509‐1706
JAMES SHY                 BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS        OH     44236
JAMES SIBERT              9602 COUNTY ROAD 50                                                                              FYFFE             AL     35971‐4245
JAMES SIBINSKI            4735 S HUNTER LN                                                                                 NEW BERLIN        WI     53151‐7475
JAMES SIBOLE              710 GERRARDSTOWN RD                                                                              GERRARDSTOWN      WV     25420‐4315
JAMES SICKLES             PO BOX 389                                                                                       LAKE GEORGE       MI     48633‐0389
JAMES SICOLI              4086 6 MILE RD                                                                                   SOUTH LYON        MI     48178‐9630
JAMES SIDDENS             3902 US HIGHWAY 50 W                                                                             MITCHELL          IN     47446‐5417
JAMES SIDEBOTTOM          14203 LEATHERMAN LN                                                                              VERSAILLES        MO     65084‐5110
JAMES SIDES               8514 E TATE RIDGE RD                                                                             MADISON           IN     47250‐8760
JAMES SIDES               PO BOX 841                                                                                       CANTON            TX     75103‐0841
JAMES SIDNEY C (404609)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA     23510
                                                           STREET, SUITE 600
JAMES SIEFKES             2837 SPAULDING AVE                                                                               JANESVILLE       WI      53546‐1169
JAMES SIERING             3613 S BLISSFIELD HWY                                                                            BLISSFIELD       MI      49228‐9578
JAMES SIFLING             1264 E 342ND ST                                                                                  EASTLAKE         OH      44095‐3011
JAMES SIGELKO             2427 N BERKSHIRE DR                                                                              SAGINAW          MI      48603‐3407
JAMES SIGLER              1779 S 450 E                                                                                     ANDERSON         IN      46017‐9579
JAMES SIGLER              30 S FAIRWAY DR                                                                                  ALEXANDRIA       IN      46001‐2812
JAMES SIGMAN              10391 CHURCH RD                                                                                  NORTH ADAMS      MI      49262‐9725
JAMES SIGMON              1228 ALPINE DR                                                                                   DEWITT           MI      48820‐9525
JAMES SIGNORELLO          4876 SMALLHOUSE RD                                                                               BOWLING GREEN    KY      42104‐7588
JAMES SIGSBY              2141 W DORAL CT                                                                                  CITRUS SPRINGS   FL      34434‐5186
JAMES SILBAUGH            1768 FAYETTE AVE                                                                                 BELOIT           WI      53511‐3665
JAMES SILVERNAIL          4333 QUAIL RUN DR                                                                                DORR             MI      49323‐9395
JAMES SILVERS             PO BOX 68                                                                                        SELMA            IN      47383‐0068
JAMES SILVERTHORNE        935 DRUID HILL AVE                                                                               PASADENA         MD      21122‐4110
JAMES SILVERWOOD          719 GEARHART AVE                                                                                 CRESTLINE        OH      44827‐1009
JAMES SILVESTRO           106 BURRIS ST                                                                                    CATLIN           IL      61817‐9604
JAMES SILVEUS             6133 HAVERFORD AVE                                                                               INDIANAPOLIS     IN      46220‐2009
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Name                Address1                         Address2                     Address3   Address4               City            State   Zip
JAMES SILVIS        175 SCHOOL ST                                                                                   BUFALO           NY     14217‐1133
JAMES SILVIS        202 KATHERYN ST                                                                                 MASON            MI     48854‐1408
JAMES SIMBECK       PO BOX 162                                                                                      STUMP CREEK      PA     15863‐0162
JAMES SIMEK         3046 BEECHTREE LN                                                                               FLUSHING         MI     48433‐1941
JAMES SIMISON       701 S SMITH RD RT 4                                                                             OWOSSO           MI     48867
JAMES SIMITACOLOS   BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH     44236
JAMES SIMKINS       737 FOREST RIDGE DR                                                                             BOARDMAN         OH     44512‐3517
JAMES SIMKO         6450 OWOSSO RD                                                                                  FOWLERVILLE      MI     48836‐8724
JAMES SIMMERMAN     PO BOX 543                                                                                      MITCHELL         IN     47446‐0543
JAMES SIMMONS       PO BOX 282                                                                                      GREGORY          MI     48137‐0282
JAMES SIMMONS       515 S KENWOOD AVE                                                                               BALTIMORE        MD     21224‐3819
JAMES SIMMONS       1495 MURTLAND RD                                                                                LYNCHBURG        OH     45142‐8133
JAMES SIMMONS       11968 CATT RD                                                                                   COAL CITY        IN     47427‐8038
JAMES SIMMONS       497 COUNTY ROAD 176                                                                             MOULTON          AL     35650‐5707
JAMES SIMMONS       19793 SUSSEX ST                                                                                 DETROIT          MI     48235‐2054
JAMES SIMMONS       PO BOX 1334                                                                                     GROVETON         TX     75845‐1334
JAMES SIMMONS       2560 CHARLES AVE                                                                                BURLESON         TX     76028‐2250
JAMES SIMMONS       3611 BURTON PL                                                                                  ANDERSON         IN     46013‐5247
JAMES SIMMONS       2929 MEADOWVIEW AVE                                                                             BOWLING GREEN    KY     42101‐0770
JAMES SIMMONS       4925 LINDHOLM DR                                                                                WHITE LAKE       MI     48383‐1567
JAMES SIMMONS       C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH     44236
JAMES SIMMONS JR    3224 MOOREWOOD DR                                                                               NASHVILLE        TN     37207‐2414
JAMES SIMMS         127 SMOTHERMAN CT                                                                               MURFREESBORO     TN     37129‐2670
JAMES SIMON
JAMES SIMON         8878 W SCHOOL SECTION LAKE DR                                                                   MECOSTA         MI      49332‐9580
JAMES SIMON         10171 DIXIE HWY                                                                                 IRA             MI      48023‐2823
JAMES SIMON         3920 MEADOWOOD LN SW                                                                            GRANDVILLE      MI      49418‐2036
JAMES SIMON         309 S WYNDEMERE SPGS                                                                            MOORE           OK      73160‐8147
JAMES SIMONDS       217 PINEHILL                                                                                    GALESBURG       MI      49053‐9661
JAMES SIMONS        7557 WHEELER RD                                                                                 GASPORT         NY      14067‐9313
JAMES SIMONS        4933 APPLEWOOD DR                                                                               LANSING         MI      48917‐1568
JAMES SIMONS        11063 HEMLOCK AVE                                                                               LAKE            MI      48632‐9711
JAMES SIMPKINS      19 HEARTHSTONE BOULEVARD                                                                        PEMBERTON       NJ      08068‐1557
JAMES SIMPKINS      212 W DAYTON ST                                                                                 FLINT           MI      48505‐4144
JAMES SIMPSON       39756 MEADOWOOD LOOP                                                                            ZEPHYRHILLS     FL      33542‐6778
JAMES SIMPSON       PO BOX 172                                                                                      NILES           OH      44446‐0172
JAMES SIMPSON       821 BRUNSWICK DR                                                                                VIENNA          OH      44473‐8617
JAMES SIMPSON       6223 WATCHCREEK WAY APT 104                                                                     MILFORD         OH      45150‐5607
JAMES SIMPSON       4627 GILHOUSE RD                                                                                TOLEDO          OH      43623‐2043
JAMES SIMPSON       1800 BUICK CT                                                                                   KOKOMO          IN      46902‐2525
JAMES SIMPSON       4443 RISKE DR                    APT 2                                                          FLINT           MI      48532‐4253
JAMES SIMPSON       2343 BRIGGS ST                                                                                  WATERFORD       MI      48329‐3708
JAMES SIMPSON       10403 GULLEY ST                                                                                 TAYLOR          MI      48180‐3228
JAMES SIMPSON       6878 WILD CHERRY DR                                                                             FISHERS         IN      46038‐2438
JAMES SIMPSON       20 W BONOMO DR                                                                                  FAIRBORN        OH      45324‐3408
JAMES SIMPSON       12750 FILBERT ST                                                                                DETROIT         MI      48205‐3937
JAMES SIMPSON       3986 OTTER LAKE RD                                                                              OTTER LAKE      MI      48464‐9680
JAMES SIMPSON       6605 PIED PIPER PKWY                                                                            HILLSBORO       OH      45133‐9388
JAMES SIMPSON       310 CLINTON RIVER DR                                                                            MOUNT CLEMENS   MI      48043‐2441
JAMES SIMPSON       2327 W TRAIL DR                                                                                 OLATHE          KS      66061‐5039
JAMES SIMPSON       284 ROME DR                                                                                     AUSTINTOWN      OH      44515‐4161
JAMES SIMPSON       6908 E MCGALLIARD RD                                                                            MUNCIE          IN      47303‐9238
JAMES SIMPSON
JAMES SIMPSON       1160 WINTERGREEN CV                                                                             CORDOVA          TN     38018‐8828
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Name                Address1                        Address2                    Address3   Address4               City            State   Zip
JAMES SIMPSON       11331 COMMON RD                                                                               WARREN           MI     48093‐2548
JAMES SIMPSON JR    PO BOX 420329                                                                                 PONTIAC          MI     48342‐0329
JAMES SIMPSON JR    6889 SERENA DR                                                                                UNIONVILLE       MI     48767‐9772
JAMES SIMPSON JR    127 BONNIE BRAE AVE NE                                                                        WARREN           OH     44483‐5208
JAMES SIMS          348 S CENTER ST                                                                               ORANGE           NJ     07050‐3302
JAMES SIMS          2745 BIRCHCREST DR SE APT 118                                                                 GRAND RAPIDS     MI     49506‐5456
JAMES SIMS          1616 MONA CT                                                                                  TOOL             TX     75143‐1362
JAMES SIMS          749 SHREWSBURY RD                                                                             LEITCHFIELD      KY     42754‐9213
JAMES SIMS          344 COUNTY ROAD 49                                                                            BANKSTON         AL     35542‐2100
JAMES SIMS          PO BOX 141350                                                                                 CINCINNATI       OH     45250‐1350
JAMES SIMS          530 SIMS AND HARRIS RD                                                                        GILLSVILLE       GA     30543
JAMES SIMS          30 INTERNATIONAL LN                                                                           GRAND ISLAND     NY     14072‐1432
JAMES SIMS          767 LINCOLN CT                                                                                LANSING          MI     48917‐9261
JAMES SIMS          THE MADEKSHO LAW FIRM           8866 GULF FREEWAY STE 440                                     HOUSTON          TX     77017
JAMES SIMS JR       25028 BRIGADE LANE                                                                            PLAINFIELD        IL    60544‐2669
JAMES SINAY         907 SW FOXTAIL DR                                                                             GRAIN VALLEY     MO     64029‐9111
JAMES SINCISSEN     15413 OAKLEY RD                                                                               CHESANING        MI     48616‐9560
JAMES SINCLAIR      4776 LITTLE CEDAR DRIVE                                                                       ATTICA           MI     48412
JAMES SINCLAIR      1228 N MCKINLEY RD                                                                            FLUSHING         MI     48433
JAMES SINDERS       8241 TROTTER RD                                                                               CAMBY            IN     46113‐9422
JAMES SINES         389 CLARK DR APT 23                                                                           CIRCLEVILLE      OH     43113‐1870
JAMES SINGER        3478 E 400 S                                                                                  TIPTON           IN     46072‐9279
JAMES SINGER        RR 1 BOX 239                                                                                  GOLCONDA          IL    62938‐9733
JAMES SINGER        900 S DOGWOOD DR                                                                              BEREA            KY     40403‐9564
JAMES SINGER        15594 BRADSHAW RD               RR#1                                                          NEY              OH     43549‐9763
JAMES SINGER        54993 MALHEUR DR                                                                              MACOMB           MI     48042‐6130
JAMES SINGKOFER     290 N JANESVILLE ST                                                                           MILTON           WI     53563‐1307
JAMES SINGLETON     20943 112TH RD                                                                                QUEENS VLG       NY     11429‐2303
JAMES SINGLETON     3510 CORNELL DR                                                                               ARLINGTON        TX     76015‐3248
JAMES SINGLETON     6934 WALNUT HILL DR                                                                           SHREVEPORT       LA     71129‐9487
JAMES SINGLETON     6491 E EDNA MILLS DR                                                                          CAMBY            IN     46113‐9699
JAMES SINN          1400 CARSON SALT SPRINGS RD                                                                   LORDSTOWN        OH     44481
JAMES SINSEL        12946 VIA CATHERINA DR                                                                        GRAND BLANC      MI     48439‐1532
JAMES SIPE          32253 OSCODA CT                                                                               WESTLAND         MI     48186‐4753
JAMES SIPES         4149 BURNS RD                                                                                 LINDEN           MI     48451‐9609
JAMES SIPPLE        46 HOMEVIEW DR                                                                                DAYTON           OH     45415‐3525
JAMES SIRIANNI      456 WINTERGREEN DR                                                                            BROOKFIELD       OH     44403‐9662
JAMES SIRMEYER JR   294 HARWOOD RD                                                                                BEULAH           MI     49617‐9740
JAMES SISCO         2835 W FLECK RD                                                                               SIX LAKES        MI     48886‐9528
JAMES SISCO         359 FLORENCE AVE                                                                              FAIRBORN         OH     45324‐4341
JAMES SISCO SR      4514 KINGVIEW AVE                                                                             DAYTON           OH     45420‐3340
JAMES SISLEY        428 VERMILLON DR                                                                              YORK             SC     29745‐7499
JAMES SITZE         909 COCHRANE RD                                                                               PARK HILLS       MO     63601‐8204
JAMES SIVECZ        3867 N MILLGROVE RD                                                                           ALDEN            NY     14004‐9632
JAMES SIVER         16498 WINDY KNOLL DR                                                                          HOLLY            MI     48442‐8864
JAMES SIVEY         21920 SWAN CREEK RD                                                                           MERRILL          MI     48637‐9634
JAMES SIVILS        34 APPALOOSA WAY                                                                              WRIGHT CITY      MO     63390‐3700
JAMES SIVYER        1661 RAY BLVD                                                                                 TRAVERSE CITY    MI     49686‐4942
JAMES SIWEK         453 ALGENE ST                                                                                 LAKE ORION       MI     48362‐2701
JAMES SIXTA         15200 NW 136TH ST                                                                             PLATTE CITY      MO     64079‐8116
JAMES SIZEMORE      148 BRIAN LN                                                                                  EFFORT           PA     18330‐9012
JAMES SIZEMORE      PO BOX 552                                                                                    DAVISON          MI     48423‐0552
JAMES SIZEMORE      6834 RIVER RD                                                                                 CINCINNATI       OH     45233‐1108
JAMES SIZEMORE      156 WARREN AVE                                                                                ELYRIA           OH     44035‐6236
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Name                 Address1                      Address2                      Address3   Address4               City           State   Zip
JAMES SIZEMORE       13444 PAINE AVE                                                                               KENT CITY       MI     49330‐9033
JAMES SJOBERG        3438 W TOWNSEND RD                                                                            SAINT JOHNS     MI     48879‐9552
JAMES SJOSTROM       3392 HORRELL CT                                                                               FENTON          MI     48430‐1099
JAMES SKAGGS         705 CAPRICORN DR                                                                              FRANKLIN        IN     46131‐7389
JAMES SKAZIS         3914 PINEWOOD AVE                                                                             BALTIMORE       MD     21206‐1505
JAMES SKELTON        16612 ROSEMARY                                                                                FRASER          MI     48026‐3230
JAMES SKILLMAN       5343 HILLTOP TRL                                                                              PERRY           MI     48872‐9169
JAMES SKINNER        6 COTTAGE ST                                                                                  SPENCERPORT     NY     14559‐1208
JAMES SKINNER        SAILORS MOBIL PARK            3350 AIRPORT RD                                                 ALLENTOWN       PA     18109
JAMES SKINNER        3350 MURPHY LAKE RD                                                                           MILLINGTON      MI     48746‐9137
JAMES SKINNER JR.    PO BOX 91                                                                                     CRUMPTON        MD     21628‐0091
JAMES SKLUZAK        14435 GULLEY ST                                                                               TAYLOR          MI     48180‐4530
JAMES SKORIK         3226 WILSON CAMBRIA RD                                                                        WILSON          NY     14172‐9716
JAMES SKORZEWSKI     3515 HAWTHORNE TRL                                                                            BROADVIEW       OH     44147‐3915
                                                                                                                   HEIGHTS
JAMES SKOWER         339 W HURON AVE                                                                               VASSAR         MI      48768‐1211
JAMES SKRIBA         2440 W PARKS RD                                                                               SAINT JOHNS    MI      48879‐8906
JAMES SLABACK        1515 WOLCOTT ST                                                                               JANESVILLE     WI      53546‐5587
JAMES SLACK          1206 HUNTINGTON WAY                                                                           NORMAN         OK      73069‐5311
JAMES SLADE          2106 ROBERT T LONGWAY BLVD                                                                    FLINT          MI      48503‐2122
JAMES SLADE          5540 HARVARD RD                                                                               DETROIT        MI      48224‐2164
JAMES SLAGOR         5505 ALEXANDER ST                                                                             GRAND BLANC    MI      48439‐4372
JAMES SLATE          18716 WOODINGHAM DR                                                                           DETROIT        MI      48221‐4109
JAMES SLATER         819 EASTERLING STREET                                                                         MOBILE         AL      36610‐4209
JAMES SLATER         13564 MCDOUGALL ST                                                                            DETROIT        MI      48212‐1662
JAMES SLATER         6203 LANMAN DR                                                                                WATERFORD      MI      48329‐3025
JAMES SLATER         109 HAMILTON LN                                                                               MC CORMICK     SC      29835‐3126
JAMES SLATTERY       2527 E LYNN ST                                                                                ANDERSON       IN      46016‐5541
JAMES SLAUGHTER      5493 N PARK EXT                                                                               WARREN         OH      44481
JAMES SLAUGHTER      944 AUTUMN ST                                                                                 JACKSON        MS      39212‐3957
JAMES SLAUGHTER      35246 ELM ST                                                                                  WAYNE          MI      48184‐1214
JAMES SLAWNIKOWSKI   22486 YATES AVE                                                                               SAUK VILLAGE   IL      60411‐5645
JAMES SLAYDON        THE MADEKSHO LAW FIRM         8866 GULF FREEWAY SUITE 440                                     HOUSTON        TX      77017
JAMES SLAYMAN        PO BOX 318                                                                                    CHARLESTOWN    MD      21914‐0318
JAMES SLAYTON        8905 HARRISON PKWY                                                                            FISHERS        IN      46038‐3594
JAMES SLEBODNIK      3705 SHERRY DR                                                                                FLINT          MI      48506‐2698
JAMES SLEDGE         11975 MACK RD                                                                                 ATHENS         AL      35611‐6808
JAMES SLEE           10781 LAKE DR                                                                                 EVART          MI      49631‐7805
JAMES SLEEPER        3280 STATE STREET RD                                                                          BAY CITY       MI      48706‐1867
JAMES SLEESEMAN SR   13443 GASPER RD                                                                               CHESANING      MI      48616‐9459
JAMES SLEIGHT        1068 EATON GREEN DR                                                                           CHARLOTTE      MI      48813‐9381
JAMES SLEMP          2500 W CAROLINA AVE                                                                           CHICKASHA      OK      73018‐6233
JAMES SLENO          11501 HENDERSON RD                                                                            FLUSHING       MI      48433‐9601
JAMES SLIDER         2110 HOLLY WAY                                                                                LANSING        MI      48910‐2545
JAMES SLIEFF         5069 HURDS CORNER RD                                                                          GAGETOWN       MI      48735‐9734
JAMES SLIEMERS       257 SCARLETT DR                                                                               BEAVERCREEK    OH      45434‐6240
JAMES SLIFE          532 SPRUCE AVE                                                                                COOKEVILLE     TN      38501‐1682
JAMES SLIWINSKI      20373 CROMLEY RD                                                                              DEFIANCE       OH      43512‐8044
JAMES SLOAN          7070 SLOAN TRL                                                                                LEWISTON       MI      49756‐9011
JAMES SLOAN          2552 EATON GATE RD                                                                            LAKE ORION     MI      48360‐1849
JAMES SLOCUM         PO BOX 420                                                                                    WATERS         MI      49797‐0420
JAMES SLOMA          6904 BLISS CT SW                                                                              GRANDVILLE     MI      49418‐2104
JAMES SLONE          1504 PARK AVE                                                                                 ELYRIA         OH      44035‐7146
JAMES SLOSS          35 SUNNYBROOK CT                                                                              DAYTON         OH      45426‐3444
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Name              Address1                           Address2         Address3         Address4               City             State   Zip
JAMES SLOSSER     549 1ST AVE                                                                                 HALE              MI     48739‐9158
JAMES SLOWEY      348 BREE DR                                                                                 MILTON            WI     53563‐1056
JAMES SLUSHER     2032 BROAD LN                                                                               FALLING WATERS    WV     25419‐3511
JAMES SLUSS       413 E NORTH A ST                                                                            GAS CITY          IN     46933‐1506
JAMES SLY         3170 MEYER PL                                                                               SAGINAW           MI     48603‐2322
JAMES SLY         5233 MILL WHEEL DR                                                                          GRAND BLANC       MI     48439‐4253
JAMES SLY         1258 ASCOT LN                                                                               FRANKLIN          TN     37064‐6731
JAMES SLYE        5890 ALOUETTE CT                                                                            GALLOWAY          OH     43119‐8515
JAMES SMAGALSKI   3811 S 21ST ST                                                                              MILWAUKEE         WI     53221‐1527
JAMES SMALL       PO BOX 85                                                                                   SELMA             IN     47383‐0085
JAMES SMALL       2413 SILVER STREET                                                                          ANDERSON          IN     46012‐1621
JAMES SMALLEY     9 LINCOLN ST                                                                                OXFORD            MI     48371‐3623
JAMES SMALLWOOD   32696 STATE RT. #172                                                                        LISBON            OH     44432
JAMES SMALLWOOD   1910 NE 67TH ST                                                                             OKLAHOMA CITY     OK     73111‐7953
JAMES SMARTT      6349 BEECH DALY RD                                                                          TAYLOR            MI     48180‐1157
JAMES SMARTT      30415 PURITAN ST                                                                            LIVONIA           MI     48154‐3263
JAMES SMAZENKA    871 E PINE RIVER RD                                                                         MIDLAND           MI     48640‐8209
JAMES SMEDLEY     4 GAMEWELL GARTH                                                                            NOTTINGHAM        MD     21236‐2512
JAMES SMELTZER    6347 DEPOT RD                                                                               LISBON            OH     44432‐9452
JAMES SMEWING     6834 113TH ST                                                                               SEMINOLE          FL     33772‐6818
JAMES SMIGEL      8210 SELWICK DR                                                                             PARMA             OH     44129‐6053
JAMES SMIGIEL     7563 CHURCH ST                                                                              SWARTZ CREEK      MI     48473‐1401
JAMES SMILEY      244 E JEFFERSON ST                                                                          GERMANTOWN        OH     45327‐1461
JAMES SMILLIE     5770 COLUMBIA RD                                                                            NORTH OLMSTED     OH     44070‐4641
JAMES SMIRAGLIA   4528 SHARON DR                                                                              LOCKPORT          NY     14094‐1314
JAMES SMITH       PO BOX 2370                                                                                 TRENTON           NJ     08607‐2370
JAMES SMITH       1601 JAMIE DR                                                                               COLUMBIA          TN     38401‐5433
JAMES SMITH       1637 KENMORE DR                                                                             MANSFIELD         OH     44906‐2337
JAMES SMITH       25120 LINDENWOOD LN                                                                         SOUTHFIELD        MI     48033‐6103
JAMES SMITH       3960 N MONTGOMERY COUNTY LINE RD                                                            UNION             OH     45322‐9720

JAMES SMITH       4445 S HILLCREST CIR                                                                        FLINT             MI     48506‐1451
JAMES SMITH
JAMES SMITH       598 ENSMINGER DR                                                                            JACOBUS          PA      17407‐1348
JAMES SMITH       380 CTY RT #41                                                                              MASSENA          NY      13662
JAMES SMITH       410 W CAMINO DEL ORO                                                                        TUCSON           AZ      85704‐6516
JAMES SMITH       2007 LINDY DR                                                                               LANSING          MI      48917‐9726
JAMES SMITH       8505 OLD PLANK RD                                                                           GRAND BLANC      MI      48439‐2044
JAMES SMITH       9197 E BRISTOL RD                                                                           DAVISON          MI      48423‐8718
JAMES SMITH       6899 CROFOOT RD                                                                             FOWLERVILLE      MI      48836‐9237
JAMES SMITH       4483 N LARKIN ST                                                                            SHOREWOOD        WI      53211‐1541
JAMES SMITH       1983 JEFFERSON ST                                                                           COURTLAND        AL      35618‐3425
JAMES SMITH       575 HOMESTEAD LN                                                                            HENDERSON        TN      38340‐3459
JAMES SMITH       1328 DUFFIELD RD                                                                            FLUSHING         MI      48433‐9707
JAMES SMITH       8203 STANLEY RD                                                                             FLUSHING         MI      48433‐1178
JAMES SMITH       101 COUNTY ROAD 67                                                                          LEXINGTON        AL      35648‐4602
JAMES SMITH       1010 HENDERSON RD                  BLDG 6 APT D                                             HUNTSVILLE       AL      35816
JAMES SMITH       6015 EDMUND ST                                                                              ROMULUS          MI      48174‐4450
JAMES SMITH       360 WYOMING AVE                                                                             BUFFALO          NY      14215‐3120
JAMES SMITH       1897 BURR ST                                                                                GARY             IN      46406‐2603
JAMES SMITH       624 N WEST ST                                                                               XENIA            OH      45385‐2338
JAMES SMITH       91 LOU ELLEN DR                                                                             MANCHESTER       TN      37355‐3216
JAMES SMITH       235 DYKES LN                                                                                LA FOLLETTE      TN      37766‐5017
JAMES SMITH       1339 WEST JOHNY LYPLE AVENUE                                                                SPRINGFIELD      OH      45506
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Name          Address1                          Address2                Address3   Address4               City              State   Zip
JAMES SMITH   7825 W 82ND ST                                                                              BRIDGEVIEW          IL    60455‐1638
JAMES SMITH   2524 LEGENDS ROW                                                                            MOBILE             AL     36618‐4827
JAMES SMITH   4327 LILA ST                                                                                BURTON             MI     48509‐1111
JAMES SMITH   PO BOX 1243                                                                                 CHAMPAIGN           IL    61824‐1243
JAMES SMITH   9026 MARVA DR                                                                               SHREVEPORT         LA     71118‐2415
JAMES SMITH   2626 CLIO RD                                                                                FLINT              MI     48504‐7136
JAMES SMITH   53 NIAGARA MOBILE PARK                                                                      TONAWANDA          NY     14150‐6524
JAMES SMITH   107 CREST BREEZE MNR                                                                        CRESCENT CITY      FL     32112‐3909
JAMES SMITH   9861 PIERCE ST                                                                              ZEELAND            MI     49464‐9762
JAMES SMITH   444 WEBB RIDGE RD                                                                           RUSSELL SPRINGS    KY     42642‐7759
JAMES SMITH   10737 CAROLINA PINES DR                                                                     HARRISON           OH     45030‐4936
JAMES SMITH   15423 CHAMPAIGN RD                                                                          ALLEN PARK         MI     48101‐1774
JAMES SMITH   159 COLONIAL DR                                                                             AUGUSTA            MI     49012‐9501
JAMES SMITH   36 BAPTIST LANE                                                                             ARDMORE            TN     38449‐3077
JAMES SMITH   1401 N WALNUT ST                                                                            MUNCIE             IN     47303‐2911
JAMES SMITH   5307 N WAVERLY DR                                                                           MILTON             WI     53563‐8869
JAMES SMITH   5950 HAVERHILL ST                                                                           DETROIT            MI     48224‐3249
JAMES SMITH   203 RAPID ST                                                                                PONTIAC            MI     48341‐2254
JAMES SMITH   510 E INMAN PKWY                                                                            BELOIT             WI     53511‐6523
JAMES SMITH   6207 RIPTIDE WAY                                                                            FORT WAYNE         IN     46845‐9413
JAMES SMITH   10435 N. COUNTY RD.               825 EAST                                                  ROACHDALE          IN     46172
JAMES SMITH   200 PECAN ST                                                                                ROANOKE            TX     76262‐8687
JAMES SMITH   937 WALNUT ST                                                                               CHETOPA            KS     67336‐8966
JAMES SMITH   1106 SUNCREST DR                                                                            FLINT              MI     48504‐8111
JAMES SMITH   3039 N 1100 W                                                                               PENNVILLE          IN     47369‐9473
JAMES SMITH   4136 GANO AVE                                                                               SAINT LOUIS        MO     63107‐1734
JAMES SMITH   13306 S VERNON AVE                                                                          CHICAGO             IL    60827‐1359
JAMES SMITH   1321 ARBOR AVE                                                                              MONROE             MI     48162‐3019
JAMES SMITH   4096 4TH ST                                                                                 WAYNE              MI     48184‐1719
JAMES SMITH   3331 E NYE HWY                                                                              CHARLOTTE          MI     48813‐9135
JAMES SMITH   7300 PACKER DR NE                                                                           BELMONT            MI     49306‐9713
JAMES SMITH   311 VANSICKLE DR                                                                            CHARLOTTE          MI     48813‐8149
JAMES SMITH   11717 JACKSON ST                                                                            TAYLOR             MI     48180‐4335
JAMES SMITH   6085 CRAMLANE DR                                                                            CLARKSTON          MI     48346‐2402
JAMES SMITH   1073 W SCHUMACHER AVE                                                                       FLINT              MI     48507‐3636
JAMES SMITH   1072 FENTON HILLS DR                                                                        FLINT              MI     48507‐4706
JAMES SMITH   2900 W SUPERSTITION BLVD LOT 10                                                             APACHE JCT         AZ     85220‐2992
JAMES SMITH   577 MELROSE LN                                                                              MOUNT MORRIS       MI     48458‐8925
JAMES SMITH   207 E MCNEIL ST                                                                             CORUNNA            MI     48817‐1711
JAMES SMITH   4684 SCENIC RIVER DR                                                                        ALGER              MI     48610‐9341
JAMES SMITH   CARSON CITY                       CORRECTIONAL FACILITY                                     CARSON CITY        MI     48811
JAMES SMITH   5340 SPRING CREEK DR                                                                        PRESCOTT           MI     48756‐9694
JAMES SMITH   3838 ARBELA RD                                                                              MILLINGTON         MI     48746‐9316
JAMES SMITH   4690 IRWINDALE DR                                                                           WATERFORD          MI     48328‐2004
JAMES SMITH   5538 BURT RD                                                                                BIRCH RUN          MI     48415‐8717
JAMES SMITH   575 PEACOCK AVE                                                                             PONTIAC            MI     48340‐2068
JAMES SMITH   25153 KOTHS ST                                                                              TAYLOR             MI     48180‐3221
JAMES SMITH   2509 N BRANCH RD                                                                            NORTH BRANCH       MI     48461‐8052
JAMES SMITH   7115 RIVERWOOD DR                                                                           BELDING            MI     48809‐8574
JAMES SMITH   PO BOX 375                        5977 S FOREST HAVEN                                       GLEN ARBOR         MI     49636‐0375
JAMES SMITH   3244 CEDAR KEY DR                                                                           LAKE ORION         MI     48360‐1555
JAMES SMITH   6136 UTICA RD                                                                               WAYNESVILLE        OH     45068‐9535
JAMES SMITH   611 RICHMAN RD                                                                              KIMBALL            MI     48074‐3411
JAMES SMITH   7366 CARRIAGE CREEK DR                                                                      WASHINGTON         MI     48094‐2809
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Name          Address1                       Address2           Address3         Address4               City            State   Zip
JAMES SMITH   912 MCINTOSH DR                                                                           BRANDON          FL     33510‐3240
JAMES SMITH   529 RAINBOW DR                                                                            KOKOMO           IN     46902‐3723
JAMES SMITH   5804 E 550 N                                                                              VAN BUREN        IN     46991‐9723
JAMES SMITH   3862 RED BUD LN                                                                           CLARKSTON        MI     48348‐1454
JAMES SMITH   1022 BEMENT ST                                                                            LANSING          MI     48912‐1702
JAMES SMITH   416 CEDAR LANE BOX 153                                                                    WESTPHALIA       MI     48894
JAMES SMITH   1104 W HAMPTON RD                                                                         ESSEXVILLE       MI     48732‐3201
JAMES SMITH   459 WITT RD                                                                               BOWLING GREEN    KY     42101‐9636
JAMES SMITH   17 E ASHWOOD DR                                                                           MUNCIE           IN     47303‐1052
JAMES SMITH   301 COUNTY ROAD 499                                                                       WATER VALLEY     MS     38965‐2943
JAMES SMITH   709 HARTNER ST                                                                            HOLLY            MI     48442‐1264
JAMES SMITH   9157 LAWNCREST RD                                                                         CLIO             MI     48420‐9762
JAMES SMITH   6832 PELHAM RD                                                                            TAYLOR           MI     48180‐1980
JAMES SMITH   1409 MEADOWBROOK DR                                                                       KOKOMO           IN     46902‐5625
JAMES SMITH   4808 W STATE ROAD 234                                                                     NEW CASTLE       IN     47362‐9758
JAMES SMITH   1615 1ST ST                                                                               BEDFORD          IN     47421‐1603
JAMES SMITH   9908 E COUNTY ROAD 100 N                                                                  AVON             IN     46123‐5314
JAMES SMITH   304 LARAMIE LN                                                                            KOKOMO           IN     46901‐4048
JAMES SMITH   1614 HILL ST                                                                              ANDERSON         IN     46012‐2426
JAMES SMITH   2332 W 850 N                                                                              RIDGEVILLE       IN     47380‐9183
JAMES SMITH   11545 DRY RUN RD                                                                          BURNSVILLE       VA     24487‐2042
JAMES SMITH   1089 STATE ROUTE 3308                                                                     SOUTH SHORE      KY     41175‐8994
JAMES SMITH   7025 CHADWICK DR                                                                          CANTON           MI     48187‐1633
JAMES SMITH   7941 IRVINGTON AVE                                                                        DAYTON           OH     45415‐2317
JAMES SMITH   10160 STATE ROUTE 111                                                                     PAULDING         OH     45879‐8745
JAMES SMITH   5131 PHILIP AVE                                                                           MAPLE HEIGHTS    OH     44137‐1445
JAMES SMITH   209 ELMHURST RD                                                                           DAYTON           OH     45417‐1420
JAMES SMITH   431 MAXWELL RD                                                                            PONTIAC          MI     48342‐1752
JAMES SMITH   5428 FLORITA DR                                                                           TOLEDO           OH     43615‐3616
JAMES SMITH   4931 ESTERO PL                                                                            TOLEDO           OH     43623‐3778
JAMES SMITH   1532 ROCKLEIGH RD                                                                         CENTERVILLE      OH     45458‐6036
JAMES SMITH   571 ALLEN AVE                                                                             CLAWSON          MI     48017‐2161
JAMES SMITH   PO BOX 655                                                                                WAXAHACHIE       TX     75168‐0655
JAMES SMITH   3819 CRESTLYN RD                                                                          BALTIMORE        MD     21218‐2122
JAMES SMITH   1319 MAPLE AVE                                                                            BALTIMORE        MD     21221‐6028
JAMES SMITH   6798 FROGTOWN RD                                                                          HERMITAGE        PA     16148‐4810
JAMES SMITH   528 FRIENDSHIP DR                                                                         MCKEESPORT       PA     15135‐2204
JAMES SMITH   957 MARTIN RD                                                                             BALTIMORE        MD     21221‐5206
JAMES SMITH   229 NAVAHO TRL                                                                            WILMINGTON       NC     28409‐3227
JAMES SMITH   3212 AZALEA CIR                                                                           LYNN HAVEN       FL     32444‐5633
JAMES SMITH   5 HERITAGE DR                                                                             LANCASTER        NY     14086‐1012
JAMES SMITH   2175 CEDAR AVE APT 1F                                                                     BRONX            NY     10468‐5571
JAMES SMITH   565 RANSOM RD                                                                             LANCASTER        NY     14086‐9642
JAMES SMITH   1982 PARIS KARR RD                                                                        KEAVY            KY     40737‐2647
JAMES SMITH   PO BOX 222                                                                                SPRING HILL      TN     37174‐0222
JAMES SMITH   2303 SHERYL DR                                                                            DECATUR          GA     30032‐6465
JAMES SMITH   1033 NORTH PARK FOREST DRIVE                                                              MARION           IN     46952‐1745
JAMES SMITH   1516 WEST MOTT AVENUE                                                                     FLINT            MI     48505‐2528
JAMES SMITH   2004 CHERRY RD                                                                            EDGEWOOD         MD     21040‐2412
JAMES SMITH   1802 KATHY LN                                                                             MIAMISBURG       OH     45342‐2628
JAMES SMITH   3316 HILLSMERE RD                                                                         BALTIMORE        MD     21207‐5606
JAMES SMITH   945 HAMILTON BLVD                                                                         GRIFFIN          GA     30223‐4430
JAMES SMITH   3367 PENDLEY RD                                                                           AUSTELL          GA     30106‐1641
JAMES SMITH   16200 HILL RD                                                                             DEFIANCE         OH     43512‐8927
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Name                Address1                         Address2                       Address3   Address4               City             State Zip
JAMES SMITH         352 JENNY ANN CT                                                                                  HAMPTON           GA 30228‐5902
JAMES SMITH         1049 SCHULTZ ST                                                                                   DEFIANCE          OH 43512‐2944
JAMES SMITH         4001 MIDWAY AVE                                                                                   DAYTON            OH 45417‐1309
JAMES SMITH         95519 WILDER BLVD                                                                                 FERNANDINA BEACH  FL 32034‐9489

JAMES SMITH         820 WILLIS GLENN ROAD                                                                             HULL                 GA   30646‐3008
JAMES SMITH         2586 HIGHWAY 101 S                                                                                VILLA RICA           GA   30180‐3539
JAMES SMITH         585 PROSPECT RD                                                                                   ROCKMART             GA   30153‐3532
JAMES SMITH         106 W FELTON RD                                                                                   CARTERSVILLE         GA   30120‐2114
JAMES SMITH         202 SPLIT ROCK TER                                                                                OVILLA               TX   75154‐8753
JAMES SMITH         541 BUCKINGHAM RD                                                                                 CANTON               MI   48188‐1579
JAMES SMITH         2127 BETSY ROSS DR                                                                                BENSALEM             PA   19020‐3639
JAMES SMITH         169 INDIAN CREEK LN                                                                               HOSCHTON             GA   30548‐3137
JAMES SMITH         13119 SEYMOUR RD                                                                                  GAINES               MI   48436‐9735
JAMES SMITH         412 COLORADO RIVER DR                                                                             ADRIAN               MI   49221‐3758
JAMES SMITH         101 TIMBER TRACE XING                                                                             WENTZVILLE           MO   63385‐2124
JAMES SMITH         2316 DORCHESTER DR N APT 204                                                                      TROY                 MI   48084‐3734
JAMES SMITH         24101 BEVERLY ST                                                                                  OAK PARK             MI   48237‐1941
JAMES SMITH         8306 EHLERBROOK RD                                                                                INDIANAPOLIS         IN   46237‐9547
JAMES SMITH         50395 HEATHERWOOD LN                                                                              SHELBY TOWNSHIP      MI   48317‐1438
JAMES SMITH         23917 TALBOT ST                                                                                   SAINT CLAIR SHORES   MI   48082‐2566

JAMES SMITH         BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS           OH   44236
JAMES SMITH         THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                      HOUSTON              TX   77017
JAMES SMITH         C/O COONEY AND CONWAY            120 NORTH LASALLE 30TH FLOOR                                     CHICAGO              IL   60602
JAMES SMITH         70 MOUNT VERNON ST                                                                                DETROIT              MI   48202‐2518
JAMES SMITH JR      804 W MONROE ST                                                                                   ALEXANDRIA           IN   46001‐1547
JAMES SMITH JR      149 ELMVIEW DR                                                                                    TONAWANDA            NY   14150‐7879
JAMES SMITH JR      6271 SPOUT SPRINGS RD                                                                             FLOWERY BR           GA   30542‐5032
JAMES SMITH JR      4780 OAK ST                                                                                       LOWELLVILLE          OH   44436‐9744
JAMES SMITH JR      2910 N CANAL RD                                                                                   EATON RAPIDS         MI   48827‐8361
JAMES SMITH JR      125 S INTERMEDIATE LAKE RD                                                                        CENTRAL LAKE         MI   49622‐9560
JAMES SMITH JR      314 OTTAWA DR                                                                                     OSCODA               MI   48750‐1460
JAMES SMITH JR      1939 SQUIRREL VALLEY DR                                                                           BLOOMFIELD HILLS     MI   48304‐1167
JAMES SMITH JR      20075 WINSTON STREET                                                                              DETROIT              MI   48219‐1022
JAMES SMITH JR      178 CRYSTAL LAKE DR                                                                               PONTIAC              MI   48341‐2405
JAMES SMITH JR      1094 HASLETT RD                                                                                   HASLETT              MI   48840‐9702
JAMES SMITH JR      5741 BISHOP ST                                                                                    DETROIT              MI   48224‐2045
JAMES SMITH JR      9 IOTA PL                                                                                         SAGINAW              MI   48638‐5907
JAMES SMITH JR      PO BOX 515                                                                                        DAYTON               OH   45405‐0515
JAMES SMITH JR      628 SPARROW BRANCH CIR                                                                            JACKSONVILLE         FL   32259‐4566
JAMES SMITH SR      1615 W BOSTON BLVD                                                                                DETROIT              MI   48206‐1726
JAMES SMITH SR      60 W LONG MEADOW DR                                                                               SPRINGBORO           OH   45066‐8109
JAMES SMITH SR      C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS           OH   44236
JAMES SMITH, JR.    2517 ROSEDALE PL                                                                                  BOSSIER CITY         LA   71111‐3456
JAMES SMITHERMAN    29408 WEDGEWOOD                                                                                   FLAT ROCK            MI   48134‐9664
JAMES SMITHERS      PO BOX 2118                                                                                       MUSCLE SHOALS        AL   35662‐2118
JAMES SMITHES       1518 HOEFGEN ST                                                                                   INDIANAPOLIS         IN   46203‐4324
JAMES SMITHWICK     13096 GRANT CIR                                                                                   CLIO                 MI   48420‐8100
JAMES SMITTERBERG   3981 ALLEN DR                                                                                     NORTH BRANCH         MI   48461‐8891
JAMES SMOLINSKI     90 PARAGON DR                                                                                     TROY                 MI   48098‐4645
JAMES SMOLKA        BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS           OH   44236
JAMES SMOOT         1715 BANKER PL                                                                                    DAYTON               OH   45408
JAMES SMOOT         14015 WYANDOTTE DR SW                                                                             HUNTSVILLE           AL   35803‐2536
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JAMES SMOOT        1320 OLD FALLSTON RD                                                                                  FALLSTON           MD     21047‐1838
JAMES SMOTHERS     3400 W RIGGIN RD                UNIT 52                                                               MUNCIE             IN     47304‐5169
JAMES SMOTHERS     3378 CRANDON DR                                                                                       DAVISON            MI     48423‐8579
JAMES SMOTRILA     42926 APPLES WAY DR                                                                                   LEETONIA           OH     44431‐9623
JAMES SMRECAK      285 E MUNGER RD                                                                                       MUNGER             MI     48747‐9701
JAMES SMYERS       23000 STRUWIN RD                                                                                      BATTLE CREEK       MI     49017‐9496
JAMES SMYKOWSKI    6932 S CHAMPIONSHIP DR                                                                                CHANDLER           AZ     85249‐8754
JAMES SNEAD        PO BOX 14730                                                                                          SAGINAW            MI     48601‐0730
JAMES SNEAR        9246 YOUNG DR                                                                                         SWARTZ CREEK       MI     48473‐1042
JAMES SNEED        1325 N STATE RD                                                                                       OWOSSO             MI     48867‐9699
JAMES SNELSON      6041 WISE RD                                                                                          LANSING            MI     48911‐4506
JAMES SNIDER       15870 CONSTITUTION DR                                                                                 MACOMB             MI     48044‐1908
JAMES SNIDER JR    250 COUNTY ROAD 991                                                                                   CULLMAN            AL     35057‐5781
JAMES SNIPES       26121 JOY RD                                                                                          DEARBORN HTS       MI     48127‐1178
JAMES SNITGEN      43304 ASHBURY DR                                                                                      NOVI               MI     48375‐4716
JAMES SNODGRASS    14566 ASBURY PARK                                                                                     DETROIT            MI     48227‐1459
JAMES SNODGRASS    656 COUNTY ROAD 432                                                                                   POPLAR BLUFF       MO     63901‐8251
JAMES SNOVER       17050 RUST RD                                                                                         MILFORD            DE     19963‐3620
JAMES SNOW         81 HAMMOND ST                                                                                         PONTIAC            MI     48342‐1509
JAMES SNOW         3960 18TH ST                                                                                          ECORSE             MI     48229‐1312
JAMES SNOW         996 ATHENS STREET                                                                                     SAGINAW            MI     48601‐1466
JAMES SNOW SR      5959 FAIRWAY PINES              SUN'N LAKE BLVD APT C301                                              SEBRING            FL     33872
JAMES SNYDER       2510 MOYER RD                                                                                         CONNELLSVILLE      PA     15425‐9358
JAMES SNYDER       425 BARRINGER RD                                                                                      CHERRY VALLEY      NY     13320‐3526
JAMES SNYDER       2322 MOYER RD                                                                                         CONNELLSVILLE      PA     15425‐9336
JAMES SNYDER       1O HUNTINGTON LANE                                                                                    CAMILLUS           NY     13031
JAMES SNYDER       607 ROCKWAY PL                                                                                        DANVILLE            IL    61832‐8603
JAMES SNYDER       4277 MAPLE ST                   PO BOX 310                                                            BROWN CITY         MI     48416‐8013
JAMES SNYDER       3706 W SUMNER LAKE DR                                                                                 ANDERSON           IN     46012‐9416
JAMES SNYDER       4062 CANEY CREEK LN                                                                                   CHAPEL HILL        TN     37034‐2075
JAMES SNYDER       3750 SHIERSON HWY                                                                                     MANITOU BEACH      MI     49253‐9722
JAMES SNYDER       C/O BARON & BUDD PC             THE CENTRUM SUITE 1100     3102 OAK LAWN AVE                          DALLAS             TX     75219‐4281
JAMES SNYDER JR    17 BROWNS CT                                                                                          GIRARD             OH     44420‐1814
JAMES SOBIESKI     156 DICKINSON ST                                                                                      MOUNT CLEMENS      MI     48043‐5927
JAMES SOBOL        722 BUNGO LAKE RD                                                                                     HARRISON           MI     48625‐9463
JAMES SOCHA        27 RUMSEY RD                                                                                          YONKERS            NY     10705‐1623
JAMES SOCHOCKI     40350 SUNBURY RD                                                                                      NORTHVILLE         MI     48167‐8514
JAMES SOCKO        1483 COX RD                                                                                           GRAND ISLAND       NY     14072‐3013
JAMES SODA         4667 LAKE SHORE RD                                                                                    HAMBURG            NY     14075‐3307
JAMES SOKOL        733 CEMETERY RD                                                                                       PERRYOPOLIS        PA     15473‐1087
JAMES SOKOL        247 WINDING BRK                                                                                       COMMERCE           MI     48390‐3963
                                                                                                                         TOWNSHIP
JAMES SOKOL        52807 FAWN DR                                                                                         MACOMB             MI     48042‐3494
JAMES SOKOLOWSKI   3112 6TH AVE                                                                                          SOUTH MILWAUKEE    WI     53172‐3900

JAMES SOLESBEE     3898 SALEM VALLEY RD                                                                                  RINGGOLD           GA     30736‐4432
JAMES SOLOMON      PO BOX 13                                                                                             CONGRESS           AZ     85332‐0013
JAMES SOLOMON      20845 BLACKMAR AVE                                                                                    WARREN             MI     48091‐4381
JAMES SOLOMON      620 N OXFORD RD                                                                                       GROSSE POINTE      MI     48236‐1806
                                                                                                                         WOODS
JAMES SOMERVILLE   8433 S SHERMAN DR                                                                                     INDIANAPOLIS       IN     46237‐9551
JAMES SOMERVILLE   PO BOX 9022                                                                                           WARREN             MI     48090‐9022
JAMES SONDAY       3229 PEPPERKORN DR                                                                                    GRAND LEDGE        MI     48837‐9452
JAMES SONDREAL     3201 REID RD                                                                                          SWARTZ CREEK       MI     48473‐8813
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Name                Address1                         Address2                     Address3   Address4               City               State   Zip
JAMES SONSMITH      6144 N BIG PINE DR                                                                              IRONS               MI     49644‐8914
JAMES SOOY          5 CEDAR COURT HEATHERWOOD                                                                       NEWARK              DE     19702
JAMES SOPER         1079 N CORNELL AVE                                                                              FLINT               MI     48505‐1332
JAMES SORBIE        13615 S BEAVER POND RD           PO BOX 471                                                     EMPIRE              MI     49630‐9622
JAMES SORENSEN      UNIT 404                         368 HARBOR DRIVE                                               LUDINGTON           MI     49431‐9004
JAMES SORENSEN      349 MEADOWLARK DR                                                                               MANSFIELD           OH     44903‐8540
JAMES SORENSON      65 E FAIRMOUNT AVE                                                                              PONTIAC             MI     48340‐2727
JAMES SOUDERS       2522 RIO TIBER DR                                                                               PUNTA GORDA         FL     33950‐6324
JAMES SOULE         305 CAROM CIR                                                                                   MASON               MI     48854‐9371
JAMES SOUPAL        503 SHERIDAN DR                                                                                 ROSCOMMON           MI     48653‐8146
JAMES SOUTH         1350 NICHOLAS LN                                                                                CHARLOTTE           MI     48813‐8797
JAMES SOUTHARD      299 S CUSTER ST                                                                                 SANDUSKY            MI     48471‐1208
JAMES SOUTHER       PO BOX 90304                                                                                    LOS ANGELES         CA     90009‐0304
JAMES SOUTHERLAND   14 EDWARD DR                                                                                    SAINT CHARLES       MO     63304‐5522
JAMES SOUVA         53217 VILLA CIR                                                                                 SHELBY TWP          MI     48316‐2464
JAMES SOWASH        2267 BURNING TREE CIR                                                                           OWOSSO              MI     48867‐1089
JAMES SOWERS        6131 W 8 RD                                                                                     MESICK              MI     49668‐9336
JAMES SPADE         G4237 W COURT ST APT 83                                                                         FLINT               MI     48532
JAMES SPAGNOLA      51 COLLINS PLACE PVT DR                                                                         DANVILLE            AL     35619‐6248
JAMES SPAHR         14428 SE 204TH TER                                                                              HAWTHORNE           FL     32640‐7945
JAMES SPANGLER      1508 FAIR OAKS DR                                                                               SIDNEY              OH     45365‐1009
JAMES SPANGLER      1005 SEAPORT DR                                                                                 CICERO              IN     46034‐9570
JAMES SPANGLER JR   2304 RUTLEDGE AVE                                                                               JANESVILLE          WI     53545‐2129
JAMES SPANJER       4360 CROOKED TREE RD SW                                                                         WYOMING             MI     49519
JAMES SPANN         7181 HAZELWOOD LN                                                                               SAINT LOUIS         MO     63130‐1809
JAMES SPANN         7410 DARIEN LN                                                                                  DARIEN               IL    60561‐4109
JAMES SPANNAGEL     4644 W GILFORD RD                                                                               FAIRGROVE           MI     48733‐9513
JAMES SPARKS        2790 PATRICK HENRY ST APT 723                                                                   AUBURN HILLS        MI     48326‐2262
JAMES SPARKS        1328 TULL DR                                                                                    WATERFORD           MI     48327‐1417
JAMES SPARKS        12769 PARKER LN                                                                                 HILLSBORO           OH     45133‐5803
JAMES SPARKS        3700 S WESTPORT AVE # 2443                                                                      SIOUX FALLS         SD     57106
JAMES SPARKS        5958 MASON RD                                                                                   OWOSSO              MI     48867‐9398
JAMES SPARKS        7922 DESERT ROSE CT                                                                             ARLINGTON           TX     76002‐4436
JAMES SPARKS        BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS          OH     44236
JAMES SPARTZ        6228 E OXBOW LOOP                                                                               BOSSIER CITY        LA     71112‐5018
JAMES SPAULDING     6044 GINAFRED SHORES DR SW                                                                      FIFE LAKE           MI     49633‐9187
JAMES SPAULDING     18781 WIGEON DR                                                                                 CLINTON TWP         MI     48038‐1168
JAMES SPAULDING     5617 CLIFFSIDE DR                                                                               TROY                MI     48085‐3844
JAMES SPAUR         10042 N BALFER DR W                                                                             FORTVILLE           IN     46040‐9335
JAMES SPAYD         27143 WESTLAND RD                                                                               REDFORD             MI     48240‐2352
JAMES SPEAKER I I   1012 WILDWOOD DR                                                                                ARLINGTON           TX     76011‐5054
JAMES SPEAR         201 MARION BLVD                                                                                 COVINGTON           IN     47932‐1720
JAMES SPEAROT       135 W HICKORY GROVE RD                                                                          BLOOMFIELD HILLS    MI     48304‐2115
JAMES SPEARS        224 DARRELL DR                                                                                  ELIZABETHTOWN       KY     42701‐5521
JAMES SPEARS        742 MISTY LN                                                                                    HASTINGS            MI     49058‐9628
JAMES SPEARS        25596 TAROCCO DR                                                                                BONITA SPRINGS      FL     34135‐6403
JAMES SPEARS        1811 DUSTY RD                                                                                   DANVILLE            IN     46122‐9680
JAMES SPEARS JR     1566 N COUNTY ROAD 300 E                                                                        DANVILLE            IN     46122‐9354
JAMES SPECHT        C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS          OH     44236
JAMES SPECKHALS     502 PORTRUSH PASS                                                                               BEAR                DE     19701‐1984
JAMES SPEED         2203 NORTH BOND STREET                                                                          SAGINAW             MI     48602‐5402
JAMES SPEIGHT       220 ADGER CT                                                                                    LAWRENCEVILLE       GA     30043‐3079
JAMES SPEIGHTS      PO BOX 3022                                                                                     ELIZABETH           NJ     07207‐3022
JAMES SPENCE        55 W SLOCUM BLVD                                                                                LA FONTAINE         IN     46940‐9101
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Name                Address1                      Address2                      Address3   Address4               City             State   Zip
JAMES SPENCE        920 STEFAN WALK                                                                               CUMMING           GA     30040‐3560
JAMES SPENCE        270 SUGAR MILL DR                                                                             BOWLING GREEN     KY     42104‐7462
JAMES SPENCE        3444 FIELD RD                                                                                 CLIO              MI     48420‐1165
JAMES SPENCER       51 LANHAM RD                                                                                  ARAGON            GA     30104‐2232
JAMES SPENCER       19677 EARNEST RD                                                                              FREDERICKTOWN     OH     43019‐9745
JAMES SPENCER       7918 BROOKWOOD ST NE                                                                          WARREN            OH     44484‐1545
JAMES SPENCER       1861 RYAN RD                                                                                  CARO              MI     48723‐9564
JAMES SPENCER       224 OLD 99 CIR                                                                                HOHENWALD         TN     38462‐2012
JAMES SPENCER       483 HUBBARD ST NE                                                                             GRAND RAPIDS      MI     49525‐2533
JAMES SPENCER       6928 HURDS CORNER RD                                                                          MAYVILLE          MI     48744‐9505
JAMES SPENCER       2949 N ST RT #48                                                                              LEBANON           OH     45036
JAMES SPENCER       3957 S VAN NESS AVE                                                                           LOS ANGELES       CA     90062‐1325
JAMES SPENCER       5815 PARK AVE                                                                                 KANSAS CITY       MO     64130‐3450
JAMES SPENCER       2873 SCENIC CT APT 107                                                                        LAKE ORION        MI     48360‐2371
JAMES SPENCER       4975 BAY CIR                                                                                  CUMMING           GA     30041‐5456
JAMES SPENCLEY      7500 W ROLSTON RD                                                                             LINDEN            MI     48451‐9766
JAMES SPERA         1406 LINDEN DR                                                                                NEW CASTLE        IN     47362‐1728
JAMES SPERK         153 DORLAND AVE                                                                               BEREA             OH     44017‐2803
JAMES SPERLING      8696 MEISNER RD                                                                               CASCO             MI     48064‐3102
JAMES SPICER        874 MIAMI DR                                                                                  MASON             MI     48854‐9613
JAMES SPICER        6326 CEDAR LAKE RD                                                                            PINCKNEY          MI     48169‐8807
JAMES SPIDELL       14724 LABRADOR ST                                                                             SEPULVEDA         CA     91343‐2417
JAMES SPIKER        7000 W 900 S‐90                                                                               WARREN            IN     46792‐9568
JAMES SPIKER        4667 PRESTON RD                                                                               HOWELL            MI     48855‐9368
JAMES SPILLMAN      THE MADEKSHO LAW FIRM         8866 GULF FREEWAY SUTIE 440                                     HOUSTON           TX     77017
JAMES SPINNEY       420 OLD ORCHARD DR APT 3                                                                      ESSEXVILLE        MI     48732‐9642
JAMES SPITLER       3716 FOWLER RD                                                                                SPRINGFIELD       OH     45502‐9729
JAMES SPIVEY        1846 KENVIEW RD                                                                               COLUMBUS          OH     43209‐3241
JAMES SPLAN         3760 WILDFLOWER LN                                                                            JANESVILLE        WI     53548‐8532
JAMES SPLAN         PO BOX 183                                                                                    JANESVILLE        WI     53547‐0183
JAMES SPOERR        4401 TOWNLINE ROAD 79                                                                         GREENWICH         OH     44837‐9312
JAMES SPOHN         13470 IRISH RD                                                                                MILLINGTON        MI     48746‐9246
JAMES SPOOR         13750 WOODEND RD                                                                              BONNER SPRINGS    KS     66012‐1368
JAMES SPRADLIN JR   1205 DONLEY DR                                                                                EULESS            TX     76039‐2609
JAMES SPRAGUE       2414 BROADWAY BLVD                                                                            FLINT             MI     48506‐3617
JAMES SPRAGUE       432 PIERCE PLACE DR                                                                           MT PLEASANT       TN     38474
JAMES SPRAGUE       47843 CARD RD                                                                                 MACOMB            MI     48044‐3016
JAMES SPRAY         4450 E STATE ROAD 47                                                                          LEBANON           IN     46052‐8901
JAMES SPRIGGS JR    445 BARNSBY CT                                                                                EDGEWOOD          MD     21040‐3100
JAMES SPRING        19395 KNOWLTON PKWY APT 301                                                                   STRONGSVILLE      OH     44149‐9030
JAMES SPRINGER      363 DURST DR NW                                                                               WARREN            OH     44483‐1105
JAMES SPRINGER      330 DEEPDALE DRIVE                                                                            NORWALK           OH     44857‐9796
JAMES SPRINGER      240 PRESTWICK LN                                                                              NEW CASTLE        DE     19720‐3034
JAMES SPRINGER      3107 FAIRHAVEN CT                                                                             ANN ARBOR         MI     48105‐9665
JAMES SPRINGFIELD   1513 LEWISON AVE NE                                                                           GRAND RAPIDS      MI     49505‐5419
JAMES SPROUL        12524 STATE ROUTE 110                                                                         NAPOLEON          OH     43545‐9011
JAMES SPROUL        5808 HILLIARD RD                                                                              LANSING           MI     48911‐4925
JAMES SPROUSE       5053 N BELSAY RD                                                                              FLINT             MI     48506‐1669
JAMES SPROWL        790 S DIAMOND MILL RD                                                                         NEW LEBANON       OH     45345‐9149
JAMES SPRUNG        340 3RD AVE                                                                                   PONTIAC           MI     48340‐2843
JAMES SPUNG         526 BELMONT DR                                                                                ROMEOVILLE         IL    60446‐1415
JAMES SPURGEON      10945 NW RIDGE RD                                                                             PORTLAND          OR     97229‐4033
JAMES SPURR
JAMES SPYHALSKI     1500 S WARNER ST                                                                              BAY CITY          MI     48706‐5261
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Name                                 Address1                         Address2                     Address3   Address4               City              State Zip
JAMES SQUILLETS                      1275 CITY LAKE RD                                                                               JAMESTOWN          TN 38556‐6010
JAMES SR SAMUEL R (459934) ‐ JAMES   DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                                NORTH OLMSTED      OH 44070
SAMUEL R
JAMES SR, HENRY D                    50 CONISTON DR                                                                                  ROCHESTER         NY   14610‐2116
JAMES SR, OTHA L                     682 JAMESTOWN RD                                                                                AUBURN HILLS      MI   48326‐3415
JAMES SR, VINCENT L                  20313 WALTHAM ST                                                                                DETROIT           MI   48205‐1081
JAMES SROKA                          25388 POTOMAC DR                                                                                SOUTH LYON        MI   48178‐1084
JAMES SROKA                          2656 APACHE TRL                                                                                 WIXOM             MI   48393‐2118
JAMES ST ANTOINE JR                  95 CARMELL ST                                                                                   BELLEVILLE        MI   48111‐2948
JAMES ST CLAIR                       8489 HOGAN RD                                                                                   FENTON            MI   48430‐9049
JAMES ST CLAIR                       5501COUNTYLINE TURNPIKE RD                                                                      WEST FARMINGTON   OH   44491

JAMES ST JOHN                        13443 BLUE SHORE DR                                                                             TRAVERSE CITY     MI   49686‐8765
JAMES ST ONGE                        PO BOX 412                                                                                      ALANSON           MI   49706‐0412
JAMES STACEY                         5175 PERRY RD                                                                                   MARTINSVILLE      IN   46151‐8261
JAMES STACHOWSKI                     585 HILLCLIFF DR                                                                                WATERFORD         MI   48328
JAMES STACK                          470 CALDWELL RD                                                                                 MIO               MI   48647‐9769
JAMES STACK                          110 E COUNTRY LN                                                                                COLLINSVILLE      IL   62234‐4801
JAMES STACK                          9800 LEE DR                                                                                     EDEN PRAIRIE      MN   55347‐4800
JAMES STACK                          251 S WILSON HEIGHTS RD                                                                         COLLINSVILLE      IL   62234‐5117
JAMES STACK                          12434 ROHN RD                                                                                   FENTON            MI   48430‐9574
JAMES STACY                          8210 LINDEN RD                                                                                  SWARTZ CREEK      MI   48473‐9151
JAMES STACY                          778 GREYHOUND DR                                                                                NEW LEBANON       OH   45345‐1678
JAMES STADEL                         795 MALENA DR                                                                                   ANN ARBOR         MI   48103‐9360
JAMES STAFFORD                       1280 S 13TH ST APT 4                                                                            ELWOOD            IN   46036‐2766
JAMES STAFFORD                       34028 FERNWOOD ST                                                                               WESTLAND          MI   48186‐4508
JAMES STAFFORD                       558 E MERRIFIELD RD                                                                             EDGERTON          WI   53534‐9010
JAMES STAFFORD                       2579 CASPER                      FLOOR 1                                                        DETROIT           MI   48209
JAMES STAFFORD                       27264 GILBERT DR                                                                                WARREN            MI   48093‐4446
JAMES STAFFORD                       3289 KNIARD DR                                                                                  OXFORD            MI   48370‐3025
JAMES STAFFORD                       801 SPENCER LN                                                                                  LINDEN            MI   48451‐8505
JAMES STAFFORD I I                   4238 LAURA MARIE DR                                                                             WAYNESVILLE       OH   45068‐9618
JAMES STAGGS JR                      145 JUSTIN DR                                                                                   MOORESVILLE       IN   46158‐7686
JAMES STAHL                          6608 NORTHWOODS RD                                                                              ARCADE            NY   14009‐9795
JAMES STAHL                          22523 STATE ROUTE 613                                                                           OAKWOOD           OH   45873‐9522
JAMES STAHL                          2253 E SAINT CHARLES RD                                                                         ITHACA            MI   48847‐9722
JAMES STAKER                         981 W HIGHLAND DR                                                                               SHELBYVILLE       IN   46176‐9649
JAMES STALEY                         6990 MARCY CT                                                                                   PLAINFIELD        IN   46168‐9326
JAMES STALEY                         9315 LYLE MEADOW LN                                                                             CLIO              MI   48420‐9730
JAMES STALEY I I                     2180 WILLOT RD                                                                                  AUBURN HILLS      MI   48326‐2668
JAMES STALKER                        12949 M 68                                                                                      MILLERSBURG       MI   49759‐9554
JAMES STALL                          33 NEW ST                                                                                       GREENWICH         OH   44837‐1001
JAMES STALSBERG                      2879 CAMPBELL RD                                                                                ROSE CITY         MI   48654‐9724
JAMES STAMBAUGH                      3515 MELODY LN E                                                                                KOKOMO            IN   46902‐3983
JAMES STAMM                          555 W M61                                                                                       STANDISH          MI   48658
JAMES STAMPER                        18627 ROYAL CT                                                                                  HUDSON            FL   34667‐6265
JAMES STAMPER                        10538 SPRINGWOOD DR                                                                             PORT RICHEY       FL   34668‐3044
JAMES STANDARD                       1230 TEMPLE PL                                                                                  SAINT LOUIS       MO   63112‐2906
JAMES STANEC                         411 RUSSELL AVE                                                                                 NILES             OH   44446‐3731
JAMES STANFEL                        2834 MANCHESTER RD                                                                              BIRMINGHAM        MI   48009‐7500
JAMES STANFORD                       32 MADDOX LN                                                                                    ARDMORE           TN   38449‐3034
JAMES STANFORD                       BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH   44236
JAMES STANGE                         5992 DUBOIS RD                                                                                  VASSAR            MI   48768‐9608
JAMES STANHOPE                       8511 CENTRALIA ST                                                                               DEARBORN HTS      MI   48127‐1186
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JAMES STANICH       4219 STANLEY CT                                                                                    WATERFORD          MI     48329‐4185
JAMES STANICK       3161 GREENSPRING LN                                                                                ROCHESTER HILLS    MI     48309‐2742
JAMES STANKE        8434 N ELMS RD                                                                                     FLUSHING           MI     48433‐8852
JAMES STANLEY       581 W MIDDLE CREEK RD                                                                              OTTO               NC     28763‐9532
JAMES STANLEY       474 W 500 N                                                                                        ANDERSON           IN     46012‐9500
JAMES STANLEY       464 W NORTHFIELD AVE                                                                               PONTIAC            MI     48340‐1323
JAMES STANLEY       PO BOX 192                                                                                         LAKETON            IN     46943‐0192
JAMES STANLEY       7731 W 200 S                                                                                       LAPEL              IN     46051‐9610
JAMES STANLEY       C/O WILLIAMS KHERKHER HART AND      8441 GULF FREEWAY STE 600                                      HOUSTON            TX     77007
                    BOUNDAS LLP
JAMES STANTON       1535 CARSWELL TER                                                                                  ARLINGTON         TX      76010‐4510
JAMES STANTON       10950 UNION HILLS DR. LOT 1326                                                                     SUN CITY          AZ      85373
JAMES STANTON       2028 GLENN DR NE                                                                                   WARREN            OH      44483‐4316
JAMES STANTON       7606 STICKNEY AVE                                                                                  BRIDGEVIEW        IL      60455‐1260
JAMES STANTON       4889 GATE POST LN                                                                                  KENT              OH      44240‐5605
JAMES STANTON       166 KAYWOOD DR                                                                                     ROCHESTER         NY      14626‐3767
JAMES STAPP         4212 NW 51ST ST                                                                                    OKLAHOMA CITY     OK      73112‐2108
JAMES STARICH       28 STAGECOACH CT                                                                                   SAINT PETERS      MO      63376‐2665
JAMES STARK         345 W SOUTH BOUNDARY ST                                                                            PERRYSBURG        OH      43551‐1761
JAMES STARK         200 SONTAG DR                                                                                      FRANKLIN          TN      37064‐5762
JAMES STARKE        113 STILLMEADOW DR                                                                                 JOPPA             MD      21085‐4748
JAMES STARKEL       6464 ROYAL CLUB DR                                                                                 FLUSHING          MI      48433‐3536
JAMES STARKEY       7156 W 200 S                                                                                       SWAYZEE           IN      46986‐9745
JAMES STARKEY       415 E 2ND NORTH ST                                                                                 LAINGSBURG        MI      48848‐9687
JAMES STARKS        1186 LATHRUP AVE                                                                                   SAGINAW           MI      48638‐4785
JAMES STARKS JR     15883 APPOLINE ST                                                                                  DETROIT           MI      48227‐4011
JAMES STARNES       7630 BIRCH RUN RD                                                                                  MILLINGTON        MI      48746‐9531
JAMES STARNES       6188 BALMORAL TER                                                                                  CLARKSTON         MI      48346‐3339
JAMES STARR         RR 1 BOX 1448                                                                                      NICHOLSON         PA      18446‐9459
JAMES STARR         431 N CHIPMAN ST                                                                                   OWOSSO            MI      48867‐2139
JAMES STARR         476 E 127TH ST                                                                                     CLEVELAND         OH      44108‐1804
JAMES STARR         C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH      44236
JAMES STARR JR      1550 BRECKENRIDGE RD                                                                               BEDFORD           IN      47421‐1512
JAMES STASA         2222 MORRISH RD                                                                                    SWARTZ CREEK      MI      48473‐9755
JAMES STATHAM       339 LOCH LOMOND DR                                                                                 FARMERVILLE       LA      71241‐5673
JAMES STATON        1001 GRACELAWN DR                                                                                  BRENTWOOD         TN      37027‐5510
JAMES STAUBER       305 GLASSCOCK RD                                                                                   LIBERTY HILL      TX      78642‐5765
JAMES STAUDACHER    5871 SUNSET DR                                                                                     DAVISON           MI      48423‐8003
JAMES STAUFENEGER   2747 LEETONIA RD                                                                                   LEETONIA          OH      44431‐9725
JAMES STAVESKI      BEVAN & ASSOCIATES LPA INC          6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH      44236
JAMES STAWASZ       1695 COMMERCE PINES CIR                                                                            COMMERCE TWP      MI      48390‐1571
JAMES STEARLEY      2758 E STATE ROAD 42                                                                               BRAZIL            IN      47834‐7681
JAMES STEARNS       8374 JACLYN ANN DR                                                                                 FLUSHING          MI      48433‐2908
JAMES STEARNS       310 WESLEY WAY                                                                                     BRYANT            AR      72022
JAMES STEBBINS      2162 WINDING WAY DR                                                                                DAVISON           MI      48423‐2025
JAMES STEC          211 PURITAN AVE                                                                                    BIRMINGHAM        MI      48009‐4631
JAMES STECKEL       75 HOCKANUM BLVD                    UNIT 1736                                                      NERNON            CT      06066‐4069
JAMES STEED         11517 SPRUCE RD                                                                                    LAKEVIEW          MI      48850‐9800
JAMES STEELE        4705 FRANKFORD AVE                                                                                 BALTIMORE         MD      21206‐5244
JAMES STEELE        4410 NEWARK RD                                                                                     ATTICA            MI      48412‐9647
JAMES STEELE        1155 ROY SELLERS RD                                                                                COLUMBIA          TN      38401‐8886
JAMES STEELE        14294 S RIVERSIDE DR                                                                               DAFTER            MI      49724‐9514
JAMES STEELE        1002 112TH AVE                                                                                     MARTIN            MI      49070‐9724
JAMES STEELE        214 COUNTY ROAD 204                                                                                DANVILLE          AL      35619‐9431
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Name                Address1                        Address2                     Address3   Address4               City              State   Zip
JAMES STEELE        760 CAMPBELL LN                 STE 106                                                        BOWLING GREEN      KY     42104‐1086
JAMES STEELE        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
JAMES STEELE JR     3663 IARGO RD                                                                                  HALE               MI     48739‐9033
JAMES STEELMAN      48615 ADAMS DR                                                                                 MACOMB             MI     48044‐4949
JAMES STEELMAN JR   4345 THORNVILLE RD                                                                             METAMORA           MI     48455‐9254
JAMES STEEN         1812 N HINES RD                                                                                INDEPENDENCE       MO     64058‐1554
JAMES STEFAN        45977 ASHFORD CIR                                                                              NOVI               MI     48374‐3650
JAMES STEFANIC      6126 CLINGAN ROAD                                                                              YOUNGSTOWN         OH     44514‐2124
JAMES STEFANO       3855 PENNEMITE RD                                                                              LIVONIA            NY     14487‐9607
JAMES STEFANOVSKI   38318 CAMERON DR                                                                               STERLING HTS       MI     48310‐3007
JAMES STEFFENS      10724 SOUTH CHRISTINA COURT                                                                    OAK CREEK          WI     53154‐7077
JAMES STEGALL       357 EASTWYCK CIR                                                                               DECATUR            GA     30032‐6661
JAMES STEHLE        317 N MARTHA ST                                                                                LOMBARD             IL    60148‐2016
JAMES STEIN         1659 ADAMS LN N                                                                                STANDISH           MI     48658‐9600
JAMES STEIN         2226 BREEZEWOOD DR                                                                             YOUNGSTOWN         OH     44515‐5101
JAMES STEIN         3939 18TH ST                                                                                   DORR               MI     49323‐9385
JAMES STEIN         4760 HUMMER LAKE RD                                                                            ORTONVILLE         MI     48462‐9437
JAMES STEINHAGEN    1633 HAMLET DR                                                                                 TROY               MI     48084‐5704
JAMES STEINHAUER    508 JAMES ST                                                                                   BAY CITY           MI     48706‐3932
JAMES STELMA        3705 BASSWOOD DR SW                                                                            GRANDVILLE         MI     49418‐2003
JAMES STELTER       2750 W AVALON RD                                                                               JANESVILLE         WI     53546‐8918
JAMES STELZER       39765 EDGEMONT DR                                                                              STERLING HTS       MI     48310‐2326
JAMES STENKE        5010 ALGONQUIN BLVD                                                                            CLARKSTON          MI     48348‐3303
JAMES STEPHAN       8819 PHEASANT VALLEY WAY                                                                       LAS VEGAS          NV     89123‐3644
JAMES STEPHENS      481 MCGARITY RD                                                                                MCDONOUGH          GA     30252‐2770
JAMES STEPHENS      1004 W 86TH TER                                                                                KANSAS CITY        MO     64114‐2733
JAMES STEPHENS      8131 7TH ST N                                                                                  ST PETERSBURG      FL     33702‐3633
JAMES STEPHENS      116 ASH‐HILLERY                                                                                DANVILLE            IL    61832
JAMES STEPHENS      7002 MCLAIN DR                                                                                 INDIANAPOLIS       IN     46217‐4057
JAMES STEPHENS      1014 WOODVIEW BLVD                                                                             FORT WAYNE         IN     46806‐4226
JAMES STEPHENS      1025 NOME AVE                                                                                  AKRON              OH     44320‐2621
JAMES STEPHENS      2909 OKLAHOMA AVE                                                                              FLINT              MI     48506‐2930
JAMES STEPHENS      7175 PLUM ORCHARD RD RT !2                                                                     MUNITH             MI     49259
JAMES STEPHENS      5855 OBERLIES WAY                                                                              PLAINFIELD         IN     46168‐7302
JAMES STEPHENS      987 WOOD CREEK PL                                                                              GREENWOOD          IN     46142‐7280
JAMES STEPHENS      1916 HOSLER ST                                                                                 FLINT              MI     48503‐4416
JAMES STEPHENS      1359 NASH RD NW                                                                                ATLANTA            GA     30331‐1015
JAMES STEPHENS      9300 E EATON HWY                                                                               LAKE ODESSA        MI     48849‐9309
JAMES STEPHENS      APT 420                         800 ELM DRIVE                                                  EDGERTON           WI     53534‐1238
JAMES STEPHENS      28314 JAMES DR                                                                                 WARREN             MI     48092‐5611
JAMES STEPHENS      404 EAST RD                                                                                    DIMONDALE          MI     48821‐8717
JAMES STEPHENS      10488 E COLDWATER RD                                                                           DAVISON            MI     48423‐8598
JAMES STEPHENS      545 SUNLIGHT DR                                                                                ROCHESTER HILLS    MI     48309‐1331
JAMES STEPHENS      52682 WILDWOOD DR                                                                              MACOMB             MI     48042‐3571
JAMES STEPHENSON    N64W24174 IVY AVENUE                                                                           SUSSEX             WI     53089‐3032
JAMES STEPHENSON    1704 MOULIN AVE                                                                                MADISON HTS        MI     48071‐4837
JAMES STEPULKOSKI   17330 S HEMLOCK RD                                                                             OAKLEY             MI     48649‐9744
JAMES STERLING      5122 SCHOOL ST                                                                                 SWARTZ CREEK       MI     48473‐1221
JAMES STERLING      4937 HADDINGTON DR                                                                             TOLEDO             OH     43623‐3960
JAMES STERNBERG     2104 HERON DR                                                                                  LAKE WALES         FL     33859‐4822
JAMES STEURER       10305 W GROVE SCHOOL RD                                                                        BELOIT             WI     53511‐8353
JAMES STEURI        602 1ST ST                                                                                     BRODHEAD           WI     53520‐1096
JAMES STEVENS       2419 SOUTH AVE                                                                                 NIAGARA FALLS      NY     14305‐3119
JAMES STEVENS       PO BOX 253                                                                                     STORMVILLE         NY     12582‐0253
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JAMES STEVENS      2380 PRAGUE LN                                                                                    PUNTA GORDA      FL     33983‐8650
JAMES STEVENS      658 DEMOREST RD                                                                                   COLUMBUS         OH     43204‐1112
JAMES STEVENS      80 KEYS DR                                                                                        BRASELTON        GA     30517‐3256
JAMES STEVENS      6061 SE 240TH ST                                                                                  LATHROP          MO     64465‐8602
JAMES STEVENS      6145 QUAIL AVE TRLR 511                                                                           EL PASO          TX     79924‐4328
JAMES STEVENS      3044 RIDGELAWN DR                                                                                 CLIO             MI     48420‐9718
JAMES STEVENS      1245 NOKOMIS DR                                                                                   GLADWIN          MI     48624‐8385
JAMES STEVENS      8435 NONO GLEANER RD                                                                              FREELAND         MI     48623
JAMES STEVENS      12373 N JENNINGS RD                                                                               CLIO             MI     48420‐8245
JAMES STEVENS      6266 CYCLONE RD                                                                                   OTTER LAKE       MI     48464‐9766
JAMES STEVENS      595 COUNTY ROAD 225                                                                               OXFORD           MS     38655‐8835
JAMES STEVENS      29908 RUTHDALE ST                                                                                 ROSEVILLE        MI     48066‐2120
JAMES STEVENS      202 S BLACK ST                                                                                    ALEXANDRIA       IN     46001‐1926
JAMES STEVENS      1182 MARIE DRIVE                                                                                  GIRARD           OH     44420‐2103
JAMES STEVENS      5401 LIZ LN                                                                                       ANDERSON         IN     46017‐9672
JAMES STEVENS      BOX 589 YOUNGER RD                                                                                BEDFORD          IN     47421
JAMES STEVENS      1237 KEBLE LN                                                                                     OXFORD           MI     48371‐5905
JAMES STEVENS      C/O WILENTZ GOLDMAN AND SPITZER   ATTN: D PACHECO   90 WOODBRIDGE CENTER                          WOODBRIDGE       NJ     07095
                                                                       DRIVE
JAMES STEVENS JR   BX 1055POCKET RD                                                                                  BRASELTON       GA      30517
JAMES STEVENS SR   3567 WHEATLEYS POND RD                                                                            SMYRNA          DE      19977‐3742
JAMES STEVENSON    7322 RIDGE RD                                                                                     LOCKPORT        NY      14094‐9458
JAMES STEVENSON    13200 W COUNCIL RD                                                                                YORKTOWN        IN      47396‐9782
JAMES STEVENSON    1531 HOWARD ST                                                                                    SAGINAW         MI      48601‐2843
JAMES STEVENSON    1096 RISECLIFF DR                                                                                 GRAND BLANC     MI      48439‐8939
JAMES STEWARD      6907 EVANSTON AVE                                                                                 MUSKEGON        MI      49442‐9446
JAMES STEWARD      540 HILLCREST DR                                                                                  RADCLIFF        KY      40160‐2802
JAMES STEWARD      636 N MAIN ST                                                                                     OMER            MI      48749‐9755
JAMES STEWART      2108 MOHR DR                                                                                      KOKOMO          IN      46902‐2561
JAMES STEWART      2334 KING CT                                                                                      GREEN BROOK     NJ      08812‐1722
JAMES STEWART      209 FAULKNER CT APT 102                                                                           CARMEL          IN      46032‐5462
JAMES STEWART      PO BOX 340481                                                                                     COLUMBUS        OH      43234‐0481
JAMES STEWART      318 N 11TH ST                                                                                     FRANKTON        IN      46044‐9346
JAMES STEWART      8418 S WALNUT ST                                                                                  DALEVILLE       IN      47334‐9634
JAMES STEWART      22 EVANS ST                                                                                       NILES           OH      44446‐2632
JAMES STEWART      891 HOUSEL CRAFT RD                                                                               BRISTOLVILLE    OH      44402‐9752
JAMES STEWART      426 S UNION AVE                                                                                   SALEM           OH      44460‐2347
JAMES STEWART      2499 SUNRIDGE AVE SE                                                                              ATLANTA         GA      30315‐8425
JAMES STEWART      PO BOX 145                                                                                        JACKSONVILLE    FL      32220‐0145
JAMES STEWART      276 WENCHRIS DR                                                                                   CINCINNATI      OH      45215‐3508
JAMES STEWART      200 WOODSIDE DR                                                                                   RADCLIFF        KY      40160‐9650
JAMES STEWART      13554 ARGYLE ST                                                                                   SOUTHGATE       MI      48195‐1251
JAMES STEWART      3411 MILFORD MILL RD                                                                              WINDSOR MILL    MD      21244‐2928
JAMES STEWART      5405 W MOUNT MORRIS RD                                                                            MOUNT MORRIS    MI      48458‐9483
JAMES STEWART      3304 SNOWGLEN LN                                                                                  LANSING         MI      48917‐1733
JAMES STEWART      13230 N ELMS RD                                                                                   CLIO            MI      48420‐8230
JAMES STEWART      251 STARR AVE                                                                                     PONTIAC         MI      48341‐1861
JAMES STEWART      4091 HAWK DR                                                                                      DAVISON         MI      48423‐8522
JAMES STEWART      2315 S TERM ST                                                                                    BURTON          MI      48519‐1032
JAMES STEWART      5118 EC AVE                                                                                       RICHLAND        MI      49083
JAMES STEWART      22616 LAKELAND ST                                                                                 ST CLAIR SHRS   MI      48081‐2317
JAMES STEWART      4959 TALBOT LN APT 172                                                                            RENO            NV      89509‐6517
JAMES STEWART      201 LYNN LN APT 13                                                                                STARKVILLE      MS      39759‐3931
JAMES STEWART      RR 2 BOX 173                                                                                      BOONEVILLE      KY      41314‐8988
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JAMES STEWART        23010 NORFOLK ST                                                                              DETROIT          MI     48219‐1184
JAMES STEWART        313 S 1ST ST                                                                                  CASEYVILLE        IL    62232‐1505
JAMES STEWART        709 S KINGSWOOD ST                                                                            DURAND           MI     48429‐1735
JAMES STEWART        210 RIVER RIDGE DR                                                                            PENDERGRASS      GA     30567‐3439
JAMES STEWART        617 HERITAGE CIR                                                                              FENTON           MI     48430‐2317
JAMES STEWART        1536 OVERCREEK DR                                                                             NASHVILLE        TN     37217‐4066
JAMES STEWART        W7125 BLACKHAWK ISLAND RD                                                                     FORT ATKINSON    WI     53538‐9570
JAMES STEWART        104 MAIN ST                                                                                   GREENSBORO       AL     36744‐2108
JAMES STEWART        29608 FADE COURT                                                                              SAN ANTONIO      FL     33576‐4604
JAMES STEWART        1310 S LANSING ST                                                                             SAINT JOHNS      MI     48879‐2154
JAMES STEWART        6583 S COUNTY ROAD 400 E                                                                      CLAYTON          IN     46118‐9441
JAMES STEWART JR     2340 N M 52                                                                                   OWOSSO           MI     48867‐1143
JAMES STEWART JR     14009 WILSON ST                                                                               GRAND BLANC      MI     48439‐9398
JAMES STEWART SR     1894 S FRANCISCO RD                                                                           GRASS LAKE       MI     49240‐9739
JAMES STIDHAM JR     888 TOWNSHIP ROAD 53                                                                          WEST SALEM       OH     44287
JAMES STIDHAM, JR.   888 TOWNSHIP ROAD 53                                                                          WEST SALEM       OH     44287
JAMES STIENS         3270 STATE ROUTE 132                                                                          CLARKSVILLE      OH     45113‐9682
JAMES STIERWALT      PO BOX 273                                                                                    CHESTERFIELD     IN     46017‐0273
JAMES STIGALL        315 WILSON BLVD                                                                               RICHMOND         MO     64085‐1351
JAMES STILES         11311 PRYOR RD                                                                                PORTLAND         MI     48875‐9415
JAMES STILL          1315 E MCVICAR AVE                                                                            KINGMAN          AZ     86409‐1368
JAMES STILLI         2917 ADY RD                                                                                   FOREST HILL      MD     21050‐1801
JAMES STILLINGS      BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH     44236
JAMES STILTNER       BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH     44236
JAMES STILWELL       PO BOX 214101                                                                                 AUBURN HILLS     MI     48321‐4101
JAMES STIMA          1019 BIG SWAN CREEK RD                                                                        HAMPSHIRE        TN     38461‐5157
JAMES STIMAC JR.     13028 NEW JERSEY AVE                                                                          KANSAS CITY      KS     66109‐3395
JAMES STIMSON        730 VALEWOOD DR                                                                               LEWISBURG        TN     37091‐4063
JAMES STINNETT       20146 SW 1150TH RD                                                                            WELDA            KS     66091‐9139
JAMES STINSON        1906 BOYSENBERRY CT                                                                           CHARLOTTE        NC     28216‐8919
JAMES STITH          APT A                          1334 WICKLOW COURT                                             CARY             NC     27511‐5325
JAMES STOCK          1975 LAKE RANCH RD                                                                            KISSEE MILLS     MO     65680‐8460
JAMES STOCKS         5251 SPRUCEVIEW LN                                                                            FOWLERVILLE      MI     48836‐9653
JAMES STOCKTON       6108 N WHEELING AVE                                                                           MUNCIE           IN     47304‐8528
JAMES STOCKWELL
JAMES STODDARD       1825 WARNER AVE                                                                               MINERAL RIDGE   OH      44440‐9551
JAMES STODDARD       918 E STEWART AVE                                                                             FLINT           MI      48505‐5344
JAMES STODDARD       14329 WEIR RD                                                                                 CLIO            MI      48420‐8832
JAMES STODGHILL      827 LEE ANDREWS AVE SE                                                                        ATLANTA         GA      30315‐6813
JAMES STOEBICK       4432 SWEETWATER DR                                                                            CLEVELAND       OH      44141‐4103
JAMES STOJSIH        17971 VERONICA AVE                                                                            EASTPOINTE      MI      48021‐3210
JAMES STOKES         7847 OAKLAND DR                                                                               PORTAGE         MI      49024‐4933
JAMES STOKES         4900 GENERAL EWELL DR                                                                         BOSSIER CITY    LA      71112‐4728
JAMES STOKES         436 FRANKLIN BLVD                                                                             SOMERSET        NJ      08873‐3059
JAMES STOKES         31 TOWALIGA RD                                                                                FORSYTH         GA      31029‐4055
JAMES STOKOSZYNSKI   8331 N JENNINGS RD                                                                            MOUNT MORRIS    MI      48458‐8212
JAMES STOLL          4227 S S R 9                                                                                  ALBION          IN      46701
JAMES STOLLER        1425 N TROY AVE                                                                               MARION          IN      46952‐9264
JAMES STOMA          1195 FARNSWORTH RD                                                                            WATERVILLE      OH      43566‐1036
JAMES STONE          950 RIVERBEND DR APT 17                                                                       GADSDEN         AL      35901‐2578
JAMES STONE          11092 GRAND BLANC RD                                                                          GAINES          MI      48436‐9744
JAMES STONE          1560 STONEY POINT RD                                                                          CUMMING         GA      30041‐6750
JAMES STONE          6727 S DUNE HWY                                                                               EMPIRE          MI      49630‐9446
JAMES STONE          1019 FORT PARK BLVD                                                                           LINCOLN PARK    MI      48146‐1517
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Name                Address1                        Address2            Address3         Address4               City              State   Zip
JAMES STONE         1113 W MILLER RD                                                                            LANSING            MI     48911‐4852
JAMES STONE JR      8131 N NEWBURGH RD APT 104                                                                  WESTLAND           MI     48185‐1115
JAMES STONER        5584 HAMMON DR                                                                              BROWNSBURG         IN     46112‐8677
JAMES STONER        1403 W. BROADWAAY #316                                                                      APACHE JUNCTION    AZ     85220

JAMES STOPJIK       1126 CHESANING ST                                                                           SAINT CHARLES     MI      48655‐1808
JAMES STOREY        4280 W. FORD CITY DR.#507                                                                   CHICAGO           IL      60652
JAMES STORK         1839 SCHUST RD                                                                              SAGINAW           MI      48604‐1613
JAMES STORM         301 N 81ST TER                                                                              KANSAS CITY       KS      66112‐2647
JAMES STORY         PO BOX 143                                                                                  SELMAN CITY       TX      75689‐0143
JAMES STORY         9970 BALFOUR RD                                                                             DETROIT           MI      48224‐2591
JAMES STORY JR      2602 RUSH VALLEY CT                                                                         ARLINGTON         TX      76016‐1345
JAMES STOTLER       214 CONCORD AVE                                                                             BERKELEY SPGS     WV      25411‐1204
JAMES STOTT         14043 PLACID DR                                                                             HOLLY             MI      48442‐8308
JAMES STOTTLEMIRE   17 BONANZA LN                                                                               VERO BEACH        FL      32960‐1935
JAMES STOUDT        764 ARBOUR DR                                                                               NEWARK            DE      19713‐1221
JAMES STOUT         29485 STATE HIGHWAY #53                                                                     HOLCOMB           MO      63852
JAMES STOUT         51 DEPOT RD                                                                                 OXFORD            MA      01540‐1233
JAMES STOVALL       5101 GRAND AVE                                                                              KANSAS CITY       MO      64112
JAMES STOVER        322 LEANING TREE RD                                                                         GREENWOOD         IN      46142‐7465
JAMES STOVER        1170 CRYSTAL SPRINGS CT                                                                     RENO              NV      89519‐0655
JAMES STOVER        8908 S EAST END AVE                                                                         CHICAGO           IL      60617‐2807
JAMES STOWERS       6073 RIDGE RD                                                                               CORTLAND          OH      44410‐9761
JAMES STRACHAN      12 HIDDEN BROOK RD                                                                          HAMDEN            CT      06518‐1765
JAMES STRACK        8323 HAYES RD                                                                               MECOSTA           MI      49332‐9521
JAMES STRADER       575 W BUTTERFIELD HWY                                                                       OLIVET            MI      49076‐9630
JAMES STRADLEY      524 CLEVE WRIGHT RD                                                                         DAWSONVILLE       GA      30534‐3002
JAMES STRAHLE       3915 N VIRGINIA AVE                                                                         MUNCIE            IN      47304‐1550
JAMES STRAIT        9370 MOON RD                                                                                SALINE            MI      48176‐9411
JAMES STRANG        10 DIANA RDG                                                                                HIGHLAND          NY      12528‐1542
JAMES STRANGE       245 HERRING GULL CT                                                                         MONTICELLO        GA      31064‐3618
JAMES STRANIERO
JAMES STRASEL       4630 FEHN RD                                                                                HEMLOCK           MI      48626‐9673
JAMES STRATTON      4201 STANDISH DR                                                                            INDIANAPOLIS      IN      46221‐2440
JAMES STRAUSBURG    1054 WEDGE CREEK PL                                                                         CENTERVILLE       OH      45458‐3986
JAMES STRECKER      540 MAPLE AVE                                                                               BRISTOL           CT      06010‐2697
JAMES STREEKY       4167 CLARIDGE DR                                                                            YOUNGSTOWN        OH      44511‐1009
JAMES STREET        3421 HICKORY ST                                                                             INKSTER           MI      48141‐2239
JAMES STREET        30940 ARDMORE RIDGE RD                                                                      ARDMORE           TN      38449‐3181
JAMES STREETER      2747 S EDGAR RD R#6                                                                         MASON             MI      48854
JAMES STREETS       32 TALISTER CT                                                                              BALTIMORE         MD      21237‐4029
JAMES STREETS       4134 E TATHAM RD                                                                            SAGINAW           MI      48601‐6864
JAMES STREK         1053 PULAWSKI ST SW                                                                         GRAND RAPIDS      MI      49504‐6108
JAMES STRICKER      9515 ELMS RD                                                                                BIRCH RUN         MI      48415‐8480
JAMES STRICKLAND    2056 N 41ST ST                                                                              KANSAS CITY       KS      66104‐3535
JAMES STRICKLAND    398 S MAIN ST                                                                               ALPHARETTA        GA      30009‐1956
JAMES STRICKLAND    152 2ND ST                                                                                  MORROW            OH      45152‐1224
JAMES STRICKLAND    494 RYALL RD                                                                                BARNEY            GA      31625‐4032
JAMES STRICKLER     177 CEMETERY RD                                                                             VANDERBILT        PA      15486‐1165
JAMES STRICKLING    349 RINEHART RD                                                                             BELLVILLE         OH      44813‐9175
JAMES STRINGER      2104 ESMERALDA AVE                                                                          DAYTON            OH      45406‐2509
JAMES STRINGER      316 E 650 N                                                                                 ALEXANDRIA        IN      46001‐8622
JAMES STRINGER      56325 COPPERFIELD DR                                                                        SHELBY TWP        MI      48316‐4809
JAMES STRINGHAM     2852 N CANAL ST                                                                             LUDINGTON         MI      49431‐9463
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JAMES STRIPE         C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS          OH     44236
JAMES STROCK         3856 SMITH STEWART RD                                                                           NILES               OH     44446‐4429
JAMES STROHSACK      1471 E ERIE AVE                                                                                 LORAIN              OH     44052‐2228
JAMES STROMBERG JR   3200 EAGLE RIDGE DR                                                                             PLATTE CITY         MO     64079‐7261
JAMES STRONG JR      6910 E TORRENCE ST                                                                              MUNCIE              IN     47303‐6500
JAMES STROOP         2111 STATE ROUTE 131                                                                            HILLSBORO           OH     45133‐9159
JAMES STROUD         1717 S75E                                                                                       WASHINGTON          IN     47501
JAMES STROUD         134 FOUGERON ST                                                                                 BUFFALO             NY     14211‐1318
JAMES STROUD         9422 PINEVIEW DR                                                                                OLIVET              MI     49076‐9735
JAMES STROUD JR      4700 BIRCHCREST DR                                                                              HOUGHTON LAKE       MI     48629‐9795
JAMES STROUD JR      611 E 90TH PL                                                                                   CHICAGO              IL    60619‐7518
JAMES STROUP         6375 HIGHLAND AVE SW                                                                            WARREN              OH     44481‐8611
JAMES STROUP         126 W EDINBURGH DR                                                                              NEW CASTLE          DE     19720‐2317
JAMES STROUP         2010 CAROL DR                                                                                   LAPEER              MI     48446‐7608
JAMES STROUP         1018 N PARK FOREST DR APT A                                                                     MARION              IN     46952‐1752
JAMES STROUP         2004 GREAT PUMPKIN LN                                                                           KOKOMO              IN     46902‐2817
JAMES STROUP         C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS          OH     44236
JAMES STRUBLE        5116 REGENCY DR                                                                                 TOLEDO              OH     43615‐2947
JAMES STRUNK         3588 S 500 E                                                                                    KOKOMO              IN     46902‐9221
JAMES STRUNZ         612 N RANDALL AVE                LUTHERAN SOCIAL SERVICES                                       JANESVILLE          WI     53545‐1958
JAMES STUART         501 RICOLD TER                                                                                  PORT CHARLOTTE      FL     33954‐2177
JAMES STUART         6405 S CAMERON AVE                                                                              TAMPA               FL     33616‐1603
JAMES STUART         2096 ORR RD                                                                                     CUMMING             GA     30041‐6866
JAMES STUCKEY        3100 AURELIUS RD                                                                                LANSING             MI     48910‐4834
JAMES STUCKEY        PO BOX 234                                                                                      CARROLLTON          MI     48724‐0234
JAMES STUCKEY        PO BOX 717                                                                                      SWARTZ              LA     71281‐0717
JAMES STUCKEY        4201 WILLOW RD                                                                                  WILSON              NY     14172‐9712
JAMES STUDEBAKER     PO BOX 191                                                                                      AHMEEK              MI     49901‐0191
JAMES STUDEBAKER     PO BOX 396                                                                                      AHMEEK              MI     49901
JAMES STUENKEL       1350 CLEARWATER ST                                                                              WHITE LAKE          MI     48386‐3928
JAMES STUFFT         28064 OAKHAVEN LN                                                                               MENIFEE             CA     92584‐8098
JAMES STULL          12 COLONY DR                                                                                    BUTLER              KY     41006‐9083
JAMES STUMBO         7400 46TH AVE N LOT 104                                                                         SAINT PETERSBURG    FL     33709‐2533

JAMES STUMP          PO BOX 1707                                                                                     WASKOM             TX      75692‐1707
JAMES STUMP          4385 SCHWINN DR                                                                                 DAYTON             OH      45404‐1340
JAMES STUMP          614 BACON AVE                                                                                   PORTAGE            MI      49002‐7197
JAMES STURDIVANT     3170 S 475 E                                                                                    LOGANSPORT         IN      46947
JAMES STURDIVANT     1341 MAUREEN AVE                                                                                MADISON HEIGHTS    MI      48071‐2934

JAMES STURDIVANT     530 COUNTRY CLUB RD                                                                             YORK               AL      36925‐2029
JAMES STURGILL       3822 NE 86TH TER                                                                                KANSAS CITY        MO      64156‐1304
JAMES STURGILL       1224 NE 84TH TER                                                                                KANSAS CITY        MO      64155‐2804
JAMES STUTESMAN      1527 N CLINTON ST                                                                               SAGINAW            MI      48602‐4816
JAMES STUTESMAN      2906 S ELBA RD                                                                                  LAPEER             MI      48446‐9628
JAMES STYE           18233 PRAIRIE ST                                                                                DETROIT            MI      48221‐2137
JAMES SUBLER         127 S LUDLOW ST                                                                                 COVINGTON          OH      45318‐1530
JAMES SUBLET         2743 12TH ST                                                                                    CUYAHOGA FLS       OH      44223‐2207
JAMES SUCHY          1406 HIDDEN GROVE CIR                                                                           JOLIET             IL      60435‐1103
JAMES SUDANO         35 GEORGE ST                                                                                    NILES              OH      44446‐2723
JAMES SUDDUTH        4321 WALLINGTON DR                                                                              DAYTON             OH      45440‐1235
JAMES SUFFERN        35 ROBIN DR                                                                                     WASHINGTON         PA      15301
JAMES SUGGS          452 COUNTY ROAD 111                                                                             MOULTON            AL      35650‐6867
JAMES SUGGS          2658 N COLE ST                                                                                  LIMA               OH      45801‐1726
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Name                  Address1                          Address2                Address3   Address4               City           State Zip
JAMES SUGGS           1403 NORFOLK AVE                                                                            GRAND BLANC     MI 48439‐5173
JAMES SULLEN          5226 BROADMOOR PLZ                                                                          INDIANAPOLIS    IN 46228‐2021
JAMES SULLENGER       721 WESTCOMBE AVE                                                                           FLINT           MI 48503
JAMES SULLENGER       7194 BREWER RD                                                                              FLINT           MI 48507‐4674
JAMES SULLENS         4929 ELIZABETH WAY NW                                                                       LILBURN         GA 30047‐5017
JAMES SULLIS          P.O. 2994                                                                                   WEST MONROE     LA 71294
JAMES SULLIS JR       1213 PAINTED TURTLE CT                                                                      ANDERSON        IN 46013‐1205
JAMES SULLIVAN        2937 PEARL ST                                                                               SAGINAW         MI 48604‐2428
JAMES SULLIVAN        45 BOXWOOD LN                                                                               BRIDGEWATER     MA 02324‐2260
JAMES SULLIVAN        105 JACKSON ROAD EXT                                                                        PENFIELD        NY 14526‐1252
JAMES SULLIVAN        2370 COLVIN BOULEVARD EXT APT 4                                                             TONAWANDA       NY 14150‐4433
JAMES SULLIVAN        1389 VAILWOOD COURT                                                                         PLEASANTON      CA 94566‐6059
JAMES SULLIVAN        511 JAMESON ST                                                                              SAGINAW         MI 48602‐3239
JAMES SULLIVAN        2789 GROVENBURG RD                                                                          LANSING         MI 48911‐6451
JAMES SULLIVAN        2067 NOBLE AVE                                                                              FLINT           MI 48532‐3915
JAMES SULLIVAN        APT 9                             114 FOLEY DRIVE                                           RUSSELL SPGS    KY 42642‐4283
JAMES SULLIVAN JR     5713 DAYBREAK TER                                                                           BALTIMORE       MD 21206‐3017
JAMES SUMA            961 S BROADWAY                                                                              PERU            IN 46970‐3027
JAMES SUMMERS         3761 E. COUNTY ROAD, 150 N                                                                  ANDERSON        IN 46012
JAMES SUMMERS         PO BOX 375                                                                                  CONVERSE        IN 46919‐0375
JAMES SUMMERS         1503 DALEY RD                                                                               LAPEER          MI 48446‐8700
JAMES SUMMERS         195 W DAVISBURG RD                                                                          HOLLY           MI 48442‐8660
JAMES SUMMERS         3701 BUCKINGHAM DRIVE                                                                       NORMAN          OK 73072‐1735
JAMES SUMMERS         7355 LAKESIDE DR                                                                            INDIANAPOLIS    IN 46278‐1618
JAMES SUMMERVILLE     APT B                             909 WEST IONIA STREET                                     LANSING         MI 48915‐2803
JAMES SUMNER          2418 S YERIAN RD                                                                            LENNON          MI 48449‐9636
JAMES SUMNER          8175 N MASON RD                                                                             WHEELER         MI 48662‐9742
JAMES SUMPTER         19377 WINTHROP ST                                                                           DETROIT         MI 48235‐2031
JAMES SUNDERMAN       1952 SHERWOOD DR                                                                            DEFIANCE        OH 43512‐3432
JAMES SUPLICKI        5560 BIG TREE RD                                                                            ORCHARD PARK    NY 14127‐2207
JAMES SUPPES          251 N. ELM ST.                    P.O. BOX 195                                              HEMLOCK         MI 48626
JAMES SURACI          80 STONEYBROOK VILLAGE DR                                                                   HUBBARD         OH 44425
JAMES SURACI          348 WESTVIEW AVE                                                                            HUBBARD         OH 44425‐1965
JAMES SURDEJ          71 HANDY RD                                                                                 ELMA            NY 14059‐9433
JAMES SUROWIEC        TRLR 130                          8400 SOUTH 4000 WEST                                      WEST JORDAN     UT 84088‐5028
JAMES SUSON           PO BOX 365                                                                                  BOWIE           TX 76230‐0365
JAMES SUTE            19080 PARKWOOD LN                                                                           BROWNSTOWN TWP MI 48183‐6804

JAMES SUTHERLAND      2588 ISLAND LAKE RD                                                                         COMINS          MI   48619‐9732
JAMES SUTHERLAND      5600 W COLUMBIA RD                                                                          MASON           MI   48854‐9515
JAMES SUTHERLAND II   1248 WEISER AVE                                                                             AKRON           OH   44314‐1463
JAMES SUTHERLIN       4160 S COUNTY ROAD 800 E                                                                    COATESVILLE     IN   46121‐9648
JAMES SUTTER          508 FOXBOROUGH DR                                                                           BRUNSWICK       OH   44212‐4342
JAMES SUTTERFIELD     1114 WALLACE DEAN RD                                                                        WEST MONROE     LA   71291‐7761
JAMES SUTTON          2 BURNSIDE BLVD                                                                             WILMINGTON      DE   19804‐2630
JAMES SUTTON          6 CORNWALL DR                                                                               NEWARK          DE   19711‐7732
JAMES SUTTON          8461 CANVASBACK LN                                                                          DALLAS          TX   75249‐2215
JAMES SUTTON          5471 MAPLETON RD                                                                            LOCKPORT        NY   14094‐9295
JAMES SUTTON          455 W SARATOGA AVE                                                                          AUSTINTOWN      OH   44515‐4071
JAMES SUTTON          6134 BETHESDA WAY                                                                           INDIANAPOLIS    IN   46254‐5060
JAMES SUTTON          338 N 3RD ST                                                                                TIPP CITY       OH   45371‐1920
JAMES SUTTON          3232 S AUBURN DR                                                                            SAGINAW         MI   48601‐4504
JAMES SUTTON          5 MYERS RD                                                                                  NEWARK          DE   19713‐2316
JAMES SUTTON          8045 BETHESDA RD                                                                            CRYSTAL SPGS    MS   39059‐9545
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Name                   Address1                        Address2                     Address3   Address4               City               State   Zip
JAMES SUTTON           6705 E JACKSON ST                                                                              MUNCIE              IN     47303‐4532
JAMES SUTTON           1155 HIGHWAY CC ST                                                                             PIEDMONT            MO     63957‐9676
JAMES SUZAK            7821 HIGH RIDGE CT                                                                             CLARKSTON           MI     48348‐2971
JAMES SVESNIK          87 BALTIMORE ST                                                                                IRWIN               PA     15642‐8661
JAMES SVOBODA          BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS          OH     44236
JAMES SWADLING         8561 FOSTORIA RD                                                                               FOSTORIA            MI     48435‐9708
JAMES SWAFFORD         3645 NORWOOD RD                                                                                SHAKER HEIGHTS      OH     44122‐4911
JAMES SWAFFORD JR      2106 W 10TH ST                                                                                 MARION              IN     46953‐1210
JAMES SWAIM            2804 FOX KNOB RD                                                                               JONESVILLE          NC     28642‐9119
JAMES SWAIN            15178 BECKER DR                                                                                MECOSTA             MI     49332‐9602
JAMES SWAIN            2968 CAMBAY TRL                                                                                GRAYLING            MI     49738‐8268
JAMES SWAIN            3502 MAPLE AVE                                                                                 CASTALIA            OH     44824‐9444
JAMES SWAIN JR         9419 NEWGATE CT                                                                                NEW HAVEN           IN     46774‐2729
JAMES SWAN             3733 LAKE PLEASANT RD                                                                          NORTH BRANCH        MI     48461‐8928
JAMES SWAN             PO BOX 710                                                                                     HYMERA              IN     47855‐0710
JAMES SWAN             25067 SKYE DR                                                                                  FARMINGTN HLS       MI     48336‐1671
JAMES SWANGER          14258 STONE JUG RD                                                                             BATTLE CREEK        MI     49015‐7619
JAMES SWANGO           CASCINO MICHAEL P               220 SOUTH ASHLAND AVE                                          CHICAGO              IL    60607
JAMES SWANN            5801 DUNNIGAN RD                                                                               LOCKPORT            NY     14094‐7965
JAMES SWANNER          3519 SARATOGA DR                                                                               HAMILTON            OH     45011‐5546
JAMES SWANSON          2504 MALLARD LN                                                                                MCALESTER           OK     74501‐7325
JAMES SWANTEK          3943 CASTLE DR                                                                                 BAY CITY            MI     48706‐2007
JAMES SWARTHOUT        1409 MAYBERRY LN                                                                               FRANKLIN            TN     37064‐9612
JAMES SWARTZ           827 ELGIN CIR                                                                                  PICKERINGTON        OH     43147‐8752
JAMES SWARTZELL        4475 POMMORE                                                                                   MILFORD             MI     48380‐1141
JAMES SWARTZENDRUBER   10760 OAKLEY RD                                                                                SAINT CHARLES       MI     48655‐9514
JAMES SWEARINGEN       5311 SPRINGDALE BLVD                                                                           HILLIARD            OH     43026‐9236
JAMES SWEARINGEN       8279 GALE RD                                                                                   OTISVILLE           MI     48463‐8401
JAMES SWEAT            BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS      OH     44236
JAMES SWEENEY          11464 WILLIAM ST                                                                               TAYLOR              MI     48180‐4278
JAMES SWEENEY          244 ADELINE PL                                                                                 LANGHORNE           PA     19047‐1458
JAMES SWEENEY SR       4823 SNOW ROAD                  REAR HOUSE                                                     PARMA               OH     44134
JAMES SWEET            2215 N 75TH ST                                                                                 KANSAS CITY         KS     66109‐2303
JAMES SWEET
JAMES SWEETEN SR       1966 GREENFIELD CT                                                                             LAPEER              MI     48446‐9720
JAMES SWENSON          2529 N COUNTY RD E                                                                             JANESVILLE          WI     53548‐8931
JAMES SWENSON          413 QUAIL BLVD                                                                                 ROSCOMMON           MI     48653‐9255
JAMES SWIERCZ          2783 S BARRIE RD                                                                               BAD AXE             MI     48413‐9391
JAMES SWILLEY          2573 BALDWIN ST                                                                                SAGINAW             MI     48601‐6712
JAMES SWINEA           THE MADEKSHO LAW FIRM           8866 GULF FREEWAY STE 440                                      HOUSTON             TX     77017
JAMES SWINNEY          2414 DALTON ST                                                                                 POCAHONTAS          AR     72455‐2597
JAMES SWINNEY JR       51 DASHER AVE                                                                                  BEAR                DE     19701‐1176
JAMES SWINSON JR       3412 SHIRE COURTE                                                                              NAPERVILLE          IL     60564
JAMES SWINTON          5203 MONTICELLO DR                                                                             SWARTZ CREEK        MI     48473‐8249
JAMES SWIRPLE          25617 RIDGEWAY ST                                                                              DEARBORN HEIGHTS    MI     48127‐1127

JAMES SWOFFORD         563 VREELAND RD                                                                                HILLSBORO          MO      63050‐5049
JAMES SWOISH           2741 JUDAH RD                                                                                  LAKE ORION         MI      48359‐2255
JAMES SWOISH           6619 SOHN RD                                                                                   VASSAR             MI      48768‐9490
JAMES SWOPE            4136 E TU AVE                                                                                  VICKSBURG          MI      49097‐8438
JAMES SWORTHWOOD       7465 S DURAND RD                                                                               DURAND             MI      48429‐9401
JAMES SWYRTEK          12271 COLDWATER RD                                                                             FLUSHING           MI      48433‐3402
JAMES SY               3170 N EUCLID AVE                                                                              BAY CITY           MI      48706‐1310
JAMES SYDENSTRICKER    16209 HILL FOREST DR                                                                           LINDEN             MI      48451‐8929
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Name                               Address1                         Address2                     Address3       Address4               City             State   Zip
JAMES SYGAR                        2426 NORTHVIEW DR                                                                                   CORTLAND          OH     44410‐1744
JAMES SYKES                        845 E 9TH ST                                                                                        FLINT             MI     48503‐2734
JAMES SYKORA                       10576 CHATHAM RD                                                                                    SPENCER           OH     44275‐9332
JAMES SYLVESTER                    326 LAKEWAY TER                                                                                     SPRING HILL       TN     37174‐7551
JAMES SYLVESTER                    1380 MORTON ST                                                                                      NOBLESVILLE       IN     46060‐2043
JAMES SYLVESTER                    4502 RITA ST                                                                                        YOUNGSTOWN        OH     44515‐3828
JAMES SYLVESTER                    C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS        OH     44236
JAMES SYMONS                       4105 BOYNTON DR                                                                                     SYLVANIA          OH     43560‐3822
JAMES SYMONS                       1112 N TRUMBULL ST                                                                                  BAY CITY          MI     48708‐6359
JAMES SYRJALA                      1949 DIVINE HWY                                                                                     LYONS             MI     48851‐9776
JAMES SZABO                        7079 W PARKVIEW DR                                                                                  PARMA             OH     44134‐4721
JAMES SZATKOWSKI                   16965 MARTIN RD                                                                                     ROSEVILLE         MI     48066‐4329
JAMES SZATKOWSKI                   PO BOX 1638                                                                                         LOCKPORT          NY     14095‐1638
JAMES SZCZEPANSKI                  127 CEDARWOOD RD                                                                                    ROCHESTER         NY     14617‐3851
JAMES SZCZEPANSKI                  1233 MICHIGAN AVE                                                                                   BAY CITY          MI     48708‐8782
JAMES SZCZEPANSKI                  1613 S LINCOLN ST                                                                                   BAY CITY          MI     48708‐8121
JAMES SZCZESNIAK                   822 BRINTON DR                                                                                      TOLEDO            OH     43612‐2410
JAMES SZTORC                       6949 BEAR RIDGE RD                                                                                  N TONAWANDA       NY     14120‐9518
JAMES SZYMANSKI                    9009 BUNKER HILL DR                                                                                 MUNSTER           IN     46321‐3202
JAMES SZYMANSKI                    5800 LAYTON RD                                                                                      FOWLERVILLE       MI     48836‐8980
JAMES SZYNWELSKI                   937 OAKVIEW DR                                                                                      SAGINAW           MI     48604‐2172
JAMES T & GLADYS P STRICKLAND      1935 EAST LAKE SHORE DR                                                                             WILMINGTON        NC     28401‐6618
JAMES T ADKINS                     BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.       OH     44236
JAMES T ALEXANDER                  238 E RUSSELL AVE                                                                                   FLINT             MI     48505‐2745
JAMES T BARRY CO RETIREMENT PLAN   1232 N EDISON ST                                                                                    MILWAUKEE         WI     53202‐2502
JAMES T BENNETT                    9315 SHAWHAN DR                                                                                     CENTERVILLE       OH     45458
JAMES T BILLETT                    1312 1B COLUMBIA AVE                                                                                MIDDLETOWN        OH     45042
JAMES T BILLONE                    1765 GLORIA DR                                                                                      FAIRPORT          NY     14450‐9137
JAMES T BLACKBURN                  9938 LINDA DR                                                                                       YPSILANTI         MI     48197‐6916
JAMES T BOGLE JR                   131 KANSAS AVE                                                                                      YPSILANTI         MI     48198‐6026
JAMES T BROWN                      PO BOX 2642                                                                                         DETROIT           MI     48202‐0642
JAMES T BROWN                      1601 AZALEA DRIVE                                                                                   DAYTON            OH     45427
JAMES T CANTRILL                   330 GREENLAWN ST                                                                                    YPSILANTI         MI     48198‐5931
JAMES T CARPENTER JR               2915 HUDSON AVE                                                                                     YOUNGSTOWN        OH     44511‐3109
JAMES T CASH                       18479 S COPPER POINT DR                                                                             GREEN VALLEY      AZ     85614‐5190
JAMES T CASTLE                     PO BOX 32                                                                                           NEW LEBANON       OH     45345‐0032
JAMES T CAUDILL                    72 PANORAMA                                                                                         TRABUCO CANYON    CA     92679

JAMES T CLACK JR                   1311 ALCOTT AVENUE                                                                                  DAYTON           OH      45406‐4204
JAMES T CLARK                      75 DOBBIN CT                                                                                        MONROE           OH      45050
JAMES T COLBERT                    5921 HILLARY                                                                                        TROTWOOD         OH      45426
JAMES T COMER                      1310 PALLISTER ST APT 710                                                                           DETROIT          MI      48202‐2651
JAMES T CRABTREE                   330 HIGH ROCK RD.                                                                                   STANTON          KY      40380‐9697
JAMES T CROSBY I I I               6309 NORANDA DR                                                                                     DAYTON           OH      45415
JAMES T EARNHART                   2432 ALVARADO DR                                                                                    KETTERING        OH      45420‐1010
JAMES T EDWARDS                    511 STERNBRIDGE DRIVE                                                                               CONCORD          NC      28025‐6922
JAMES T ELSNER                     7116 N MAIN STREET                                                                                  DAYTON           OH      45415‐2538
JAMES T FAN                        C/O SCOTTRADE INC CUST FBO       JAMES FAN ROLLOVER IRA       PO BOX 11407                          ZEPHYR COVER     NV      89448‐3407
JAMES T FARMER                     1121 HOLLY AVENUE                                                                                   DAYTON           OH      45410‐2624
JAMES T FINCH JR                   10126 DENNISON ASHTABULA RD                                                                         EAST ORWELL      OH      44076‐9618
JAMES T FLETCHER                   1344 KEMPER AVE                                                                                     DAYTON           OH      45420‐2270
JAMES T FRANCIS                    72 PARKWOOD ROAD                                                                                    ROCHESTER        NY      14615‐2126
JAMES T GILROY JR                  4607 W. 2ND ST                                                                                      DAYTON           OH      45417‐1359
JAMES T GLOVER                     714 UPPER MIAMISBURG RD                                                                             MIAMISBURG       OH      45342‐2250
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Name                               Address1                       Address2                     Address3              Address4               City             State Zip
JAMES T GRACE AND KAREN A GRACE,   JAMES AND KAREN A GRACE        TRUST DATED 7/16/2007        1587 WHITE HORSE LN                          ST GERMAIN        WI 54558
TTEES
JAMES T GREEN                      255 PINE ST                                                                                              BUFFALO          NY   14204‐1461
JAMES T GREENE                     2229 HARVEST LANN                                                                                        BOWLING GREEN    KY   42104
JAMES T GREGORY                    PO BOX 448                                                                                               ELIZABETH CITY   NC   27907
JAMES T GROSS                      862 LATHAM ST                                                                                            DAYTON           OH   45408‐1924
JAMES T GWINN                      6119 STERRETTANIA RD                                                                                     FAIRVIEW         PA   16415
JAMES T HAMPTON                    8233 OAKVILLE WALTZ RD                                                                                   BELLEVILLE       MI   48111‐9502
JAMES T HARDIN                     989 WAYNE ROAD                 APT#7                                                                     WILMINGTON       OH   45177
JAMES T HARRIS                     270 S 250 W                                                                                              KAYSVILLE        UT   84037
JAMES T HORN                       511 COLONIAL DRIVE                                                                                       BEAVER CREEK     OH   45434‐5809
JAMES T HOWARD                     4620 EMERSON ST                                                                                          FORT WORTH       TX   76119‐2130
JAMES T HOWARD JR                  4694 JONES RD                                                                                            NORTH BRANCH     MI   48461‐8911
JAMES T JACKSON JR                 9828 GERALDINE ST                                                                                        YPSILANTI        MI   48197‐6921
JAMES T JEFFCO                     5127 BIRCHCREST DR                                                                                       YOUNGSTOWN       OH   44515‐‐ 39
JAMES T JODON                      52 OLD BRIDGE TURNPIKE RD.                                                                               SOUTH RIVER      NJ   08882
JAMES T KIPP                       380 ANAHEIM HILLS ROAD                                                                                   AHAHEIM          CA   92807
JAMES T KOLESAR                    88 WINCHESTER STREET                                                                                     ROCHESTER        NY   14615‐2334
JAMES T KRIZ                       PO BOX 320268                                                                                            FLINT            MI   48532‐0005
JAMES T LA PLANTE                  809 HORINE RD                                                                                            FESTUS           MO   63028‐1054
JAMES T LEE                        2370 S. TECUMSEH RD                                                                                      SPRINGFIELD      OH   45502‐9767
JAMES T LEWALLEN                   4374 LOUELLA DR                                                                                          WATERFORD        MI   48329‐4025
JAMES T LONG                       PO BOX 536                                                                                               WINDFALL         IN   46076‐0536
JAMES T MAPLE                      MOTLEY RICE LLC                28 BRIDGESIDE BLVD           PO BOX 1792                                  MOUNT PLEASANT   SC   29465
JAMES T MAURER                     1000 WILMORE RD                                                                                          EBENSBURG        PA   15931
JAMES T MCCARTHY                   1631 LANCASTER DRIVE                                                                                     YOUNGSTOWN       OH   44511‐1036
JAMES T MCCOMBS                    736 CRESTMORE AVE                                                                                        DAYTON           OH   45402
JAMES T MCDONALD SR                1255 DAVIS ST                                                                                            YPSILANTI        MI   48198‐5907
JAMES T MENG                       228 BRAYTON RD                                                                                           ROCHESTER        NY   14616
JAMES T MITCHELL                   2221 MOUNTAIN VIEW DR                                                                                    BIRMINGHAM       AL   35216
JAMES T MOORE                      1518 CROSSBREEZE CT                                                                                      BOWLING GREEN    KY   42104‐4730
JAMES T MORGAN                     812 LAWNDALE AVE                                                                                         TILTON           IL   61833‐7966
JAMES T MORRIS JR                  22332 CRESTWOOD ST                                                                                       WOODHAVEN        MI   48183‐5245
JAMES T MORRISON                   250 WEST ST RT 122                                                                                       LEBANON          OH   45036‐8211
JAMES T NELSON                     249 AMELIA DR W                                                                                          MARTINEZ         GA   30907‐‐ 93
JAMES T PHIPPS                     35 N MAPLE                                                                                               FAIRBORN         OH   45324‐5061
JAMES T PORTER                     4475 OREN DR                                                                                             CLAYTON          OH   45415‐1847
JAMES T PRIMM                      6163 BROWN RD                                                                                            VERMONTVILLE     MI   49096‐9742
JAMES T REED                       1205 MAYROSE DR                                                                                          W. CARROLLTON    OH   45449‐2024
JAMES T REED SR                    1832 BROOKLINE AVE                                                                                       DAYTON           OH   45420‐1954
JAMES T RHYEE                      5039 VILLA LINDE PKWY STE 30                                                                             FLINT            MI   48532‐3450
JAMES T RHYEE MD                   ATTN: JAMES T RHYEE            5039 VILLA LINDE PKWY # 30                                                FLINT            MI   48532‐3450
JAMES T RUDRIK                     4803 DIMOND WAY                                                                                          DIMONDALE        MI   48821
JAMES T RUEDA                      6046 DELAND RD                                                                                           FLUSHING         MI   48433‐1135
JAMES T SCHMIED                    BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                                BOSTON HTS       OH   44236
JAMES T SCOTT                      499 3RD ST SW                                                                                            WARREN           OH   44483
JAMES T SEMONS                     118 HAYNES ST                                                                                            DAYTON           OH   45410‐1820
JAMES T SINN                       1400 CARSON SALT SPRINGS RD                                                                              LORDSTOWN        OH   44481
JAMES T SLOSS                      35 SUNNYBROOK CT                                                                                         DAYTON           OH   45426
JAMES T SNEDECOR                   PO BOX 642                                                                                               MATAGORDA        TX   77457
JAMES T STACY                      931 GIBSON RD                                                                                            MARTINSVILLE     OH   45146
JAMES T STAMPER                    6610 POST TOWN RD                                                                                        TROTWOOD         OH   45426‐3132
JAMES T SUHR                       6631 CEDAR CREST TRAIL                                                                                   CENTERVILLE      OH   45459‐1351
JAMES T THOMPSON JR                51 ASHBROOK RD                                                                                           CLAYTON          OH   45415‐2209
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JAMES T TITUS          839 SHAWHAN RD                                                                                               MORROW            OH 45152‐9625
JAMES T VINSON         509 PICKENS LN                                                                                               COLUMBIA          TN 38401‐3960
JAMES T VINSON         563 OVERHEAD BRIDGE RD                                                                                       HAMPSHIRE         TN 38461‐5139
JAMES T WALTERS        5172 SUGAR MAPLE DR                                                                                          DAYTON            OH 45440
JAMES T WASHINGTON     5611 E OUTER DR                                                                                              DETROIT           MI 48234
JAMES T WEBB           396 S 7TH AVE                                                                                                HIGHLAND PARK     NJ 08904‐2808
JAMES T WELLS          PO BOX 209                                                                                                   SAINT HELEN       MI 48656‐0209
JAMES T WINN           2333 S TERM ST                                                                                               BURTON            MI 48519‐1032
JAMES T WOODS          BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS        OH 44236
JAMES T YATES          1403 ITAWAMBA TRAIL                                                                                          LONDON            OH 43140
JAMES T YOUNG          736 E LINDEN                                                                                                 MIAMISBURG        OH 45342‐2452
JAMES T YUNKER         2232 VAN BLARICUM RD                                                                                         CINCINNATI        OH 45233‐4328
JAMES T. MELLON, ESQ   2301 W. BIG BEAVER ROAD                                                                                      TROY              MI 48084
JAMES TABAK            1229 LANDOVER RD                                                                                             BALTIMORE         MD 21237‐2921
JAMES TABLER           100 PIT LN                                                                                                   MARTINSBURG       WV 25404‐0496
JAMES TABOR            327 BRECKENRIDGE OVAL                                                                                        ELYRIA            OH 44035‐8989
JAMES TABOR JR         820 SMOKY CROSSING WAY                                                                                       SEYMOUR           TN 37865‐5098
JAMES TACKABERRY       9702 AVOCA RD                                                                                                KENOCKEE          MI 48006‐2802
JAMES TACKABURY        156 S HAAS ST                                                                                                FRANKENMUTH       MI 48734‐1720
JAMES TACKETT          BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS        OH 44236
JAMES TADDEO           BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS        OH 44236
JAMES TADRA            PO BOX 9022                    C/O GMAP‐THAILAND‐RAYONG                                                      WARREN            MI 48090‐9022
JAMES TADROWSKI        8228 MIDDLEBURY AVE                                                                                          WOODRIDGE          IL 60517‐7724
JAMES TAGGART          3535 S SUNRISE LN                                                                                            LAKE LEELANAU     MI 49653‐9525
JAMES TAGGART          4545 VARNEY AVE                                                                                              DAYTON            OH 45420‐3136
JAMES TAHON            17901 E RD 950 N RD                                                                                          GEORGETOWN         IL 61846
JAMES TAKACS           17 RIDGEVIEW ST                                                                                              DEPEW             NY 14043‐2427
JAMES TALBERT          3497 N SHORE DR                                                                                              SEARS             MI 49679‐8125
JAMES TALICSKA         4682 MYRA LEE DR                                                                                             AUBURN            MI 48611‐9513
JAMES TALLENGER        4052 LAMONT DR                                                                                               WATERFORD         MI 48329‐2021
JAMES TALLEY           346 KEY COVE RD                                                                                              SPRING CITY       TN 37381‐8202
JAMES TALLEY           2094 CRESCENT LAKE RD                                                                                        WATERFORD         MI 48329‐3729
JAMES TALLMAN          13893 DIAGONAL RD                                                                                            LAGRANGE          OH 44050‐9524
JAMES TAMIKA           JAMES, TAMIKA                  2436 KENNARD RD                                                               CLEVELAND         OH 44104
JAMES TANERI           1326 OLD FORGE RD                                                                                            NILES             OH 44446‐3240
JAMES TANFERNO         6613 COUNTRY RIDGE AVE                                                                                       AUSTINTOWN        OH 44515‐5556
JAMES TANG             13055 DAVISBURG RD                                                                                           DAVISBURG         MI 48350‐2411
JAMES TANN             201 MIAMI PL                                                                                                 HURON             OH 44839‐1718
JAMES TANNEHILL        6986 ANTHONY LN                                                                                              CLEVELAND         OH 44130‐4657
JAMES TANNER           5952 BURGER ST                                                                                               DEARBORN HEIGHTS MI 48127‐2412

JAMES TANNER           1300 SANDWOOD DR                                                                                             LOVELAND           OH   45140‐6058
JAMES TANNER           14863 ATWATER DR APT 11                                                                                      STERLING HEIGHTS   MI   48313
JAMES TANURY/TROY      1795 MAPLELAWN DR                                                                                            TROY               MI   48084‐4609
JAMES TANYA R          JAMES, TANYA R                 USAA INSURANCE               9800 FREDERICKSBURG RD.                          SAN ANTONIO        TX   78288
JAMES TAP              812 LAKESHORE DR                                                                                             COLUMBIAVILLE      MI   48421‐9739
JAMES TAPP             28703 MINTON CT                                                                                              LIVONIA            MI   48150‐3132
JAMES TAPPEN           1047 FOXGLOVE LN                                                                                             DAVISON            MI   48423‐7905
JAMES TARAPCZYNSKI     7657 N GARFIELD AVE                                                                                          GLADSTONE          MO   64118‐2055
JAMES TARCHINE SR      PO BOX 8168                                                                                                  TUCSON             AZ   85738‐0168
JAMES TARCHINSKI       3135 PRIMROSE DR                                                                                             ROCHESTER HILLS    MI   48307‐5241
JAMES TARDIFF JR       8401 LEWIS RD                                                                                                BIRCH RUN          MI   48415‐9611
JAMES TARKOWSKI        1445 E LINWOOD RD                                                                                            LINWOOD            MI   48634‐9519
JAMES TARPLEY          30210 WALNUT GROVE RD                                                                                        LESTER             AL   35647‐3034
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Name                Address1                         Address2                     Address3   Address4               City              State   Zip
JAMES TARR JR       10184 BRIGHTON CIR                                                                              TWINSBURG          OH     44087‐2736
JAMES TARRANT       1120 HIGHWAY 53                                                                                 HOSCHTON           GA     30548‐2600
JAMES TASCIONE      120 GILLIS RD                                                                                   MAYSVILLE          NC     28555‐9436
JAMES TASSIN        2132 65TH AVE                                                                                   OAKLAND            CA     94621‐3818
JAMES TATARCZUK     778 KING CIR                                                                                    LAKE ORION         MI     48362‐2782
JAMES TATE          427 E BROADWAY HWY                                                                              CHARLOTTE          MI     48813‐8562
JAMES TATE          14923 GRANDVILLE AVE                                                                            DETROIT            MI     48223‐2285
JAMES TATE          3919 SOMERSET AVE                                                                               DETROIT            MI     48224‐3466
JAMES TATE          9421 N 900 W                                                                                    HUNTINGTON         IN     46750‐8841
JAMES TATE          BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
JAMES TATUM         1321 RIVERENE WAY                                                                               ANDERSON           IN     46012‐9712
JAMES TATUM         191 HAMPTON CREEK RD                                                                            COMMERCE           GA     30529‐5149
JAMES TATUM         212 13TH AVE NW                                                                                 DECATUR            AL     35601‐2024
JAMES TAULBEE       PO BOX 3563                                                                                     NORTH BRANCH       MI     48461‐0563
JAMES TAULBEE III   8580 SPRINGBROOK LN                                                                             PORTLAND           MI     48875‐9664
JAMES TAYLOR        2415 CROMWELL DR                                                                                MINNEAPOLIS        MN     55410‐2523
JAMES TAYLOR        2970 WHISTLEWOOD WAY                                                                            LANSING            MI     48911‐6167
JAMES TAYLOR        6142 GEORGIA AVE                                                                                KANSAS CITY        KS     66104
JAMES TAYLOR        1070 W GUNN RD                                                                                  ROCHESTER HILLS    MI     48306‐1020
JAMES TAYLOR        1987 NW 370TH RD                                                                                KINGSVILLE         MO     64061‐9185
JAMES TAYLOR        5415 S BRYANT ST                                                                                INDEPENDENCE       MO     64055‐6803
JAMES TAYLOR        1052 VZ COUNTY ROAD 4823                                                                        BEN WHEELER        TX     75754‐5404
JAMES TAYLOR        28309 FRANKLIN RD APT C216                                                                      SOUTHFIELD         MI     48034‐5559
JAMES TAYLOR        PO BOX 237                                                                                      IMBODEN            AR     72434‐0237
JAMES TAYLOR        123 WEST PHILADELPHIA BLVD                                                                      FLINT              MI     48505‐3264
JAMES TAYLOR        6318 JERSEY GOLD RD                                                                             KEITHVILLE         LA     71047‐7956
JAMES TAYLOR        5050 ASPEN DR                                                                                   LANSING            MI     48917‐4030
JAMES TAYLOR        1311 BAYSHORE DR                                                                                HASLETT            MI     48840‐9731
JAMES TAYLOR        359 MADDOX LN                                                                                   NEW TAZEWELL       TN     37825‐4809
JAMES TAYLOR        1835 MAPLE AVE                                                                                  NORWOOD            OH     45212‐2011
JAMES TAYLOR        1392 FREDERICK CT                                                                               MANSFIELD          OH     44906‐2426
JAMES TAYLOR        PO BOX 1111                                                                                     ELKHORN CITY       KY     41522‐1111
JAMES TAYLOR        202 PARK AVE                                                                                    HOLLY              MI     48442‐1424
JAMES TAYLOR        419 FRANKLIN ST                                                                                 PENDLETON          IN     46064‐1337
JAMES TAYLOR        9613 E 39TH PL                                                                                  INDIANAPOLIS       IN     46235‐1609
JAMES TAYLOR        2923A OVERHILL ST                                                                               SOUTH PARK         PA     15129‐9308
JAMES TAYLOR        313 HILLSIDE CT                                                                                 WINDER             GA     30680‐3485
JAMES TAYLOR        437 N MAIN ST                                                                                   GREENSBURG         PA     15601‐1812
JAMES TAYLOR        310 LANTIS DR                                                                                   CARLISLE           OH     45005‐3251
JAMES TAYLOR        PO BOX 104                                                                                      MUNCIE             IN     47308‐0104
JAMES TAYLOR        300 S WASHINGTON AVE LOT 225                                                                    FORT MEADE         FL     33841‐1909
JAMES TAYLOR        1422 E 7TH ST                                                                                   MUNCIE             IN     47302‐3614
JAMES TAYLOR        4411 BALDWIN DR                                                                                 EAST BERNARD       TX     77435‐9134
JAMES TAYLOR        2581 S PINEVIEW RD                                                                              SUTTONS BAY        MI     49682‐9258
JAMES TAYLOR        1748 W OLD STATE RD                                                                             EAST JORDAN        MI     49727‐9251
JAMES TAYLOR        4065 LESTER ST                                                                                  OSCODA             MI     48750‐9527
JAMES TAYLOR        9468 SYLVESTER ST                                                                               TAYLOR             MI     48180‐3525
JAMES TAYLOR        10183 MULLIKEN RD                                                                               MULLIKEN           MI     48861‐9722
JAMES TAYLOR        508 LAUREL CT                                                                                   WIXOM              MI     48393‐3971
JAMES TAYLOR        C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
JAMES TAYLOR JR     116 FRONTIER TRL                                                                                MERIDIANVILLE      AL     35759‐1000
JAMES TAYLOR JR     86 RACHEL DR                                                                                    TARPON SPRINGS     FL     34689‐5020
JAMES TAYLOR JR     11214 S MAPLEWOOD AVE                                                                           CHICAGO             IL    60655‐1421
JAMES TAYLOR SR     1270 SALT SPRINGS RD                                                                            WARREN             OH     44481‐8624
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Name                Address1                         Address2                     Address3   Address4               City               State   Zip
JAMES TAYS          335 GREEN ACRES DR                                                                              DAYTON              OH     45414‐2147
JAMES TEAGLE        39 HALL DR                                                                                      NEWNAN              GA     30263‐5541
JAMES TEAGUE        4755 N ROAD 500 W                                                                               BARGERSVILLE        IN     46106‐9755
JAMES TEASDALE      1507 VALLEY VIEW RD                                                                             LANSING             MI     48906‐1496
JAMES TEBBE         2184 CLINTON VIEW CIR                                                                           ROCHESTER HILLS     MI     48309‐2986
JAMES TEBO          330 PINE ST                                                                                     HARRISON            MI     48625‐8528
JAMES TEDESCHI      29385 CHARDON RD                                                                                WILLOUGHBY HILLS    OH     44092‐1449

JAMES TEEGARDEN     2358 W 800 S                                                                                    PONETO             IN      46781‐9706
JAMES TEEGARDEN     400 SLEEPY HOLLOW RD                                                                            PULASKI            TN      38478‐6648
JAMES TEETS         5703 REYNOLDS RD                                                                                IMLAY CITY         MI      48444‐9708
JAMES TENEYCK       6875 BREWER AVE NE                                                                              ROCKFORD           MI      49341‐8582
JAMES TENNEY        1220 E RIVER ST                                                                                 ELYRIA             OH      44035‐6068
JAMES TENNEY        BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS     OH      44236
JAMES TENNIS        6507 BARKSDALE BLVD LOT 45                                                                      BOSSIER CITY       LA      71112‐8633
JAMES TEPASTTE      7488 WESTLANE AVE                                                                               JENISON            MI      49428‐8920
JAMES TEREAU        10223 N JENNINGS RD                                                                             CLIO               MI      48420‐1962
JAMES TERHUNE       15083 FAIRFIELD ST                                                                              LIVONIA            MI      48154‐3079
JAMES TERMOTE       4300 PETERSBURG RD                                                                              DUNDEE             MI      48131‐9683
JAMES TERNET        6186 N 100 E                                                                                    OSSIAN             IN      46777‐8941
JAMES TERRAGO       126 GEORGETOWN PL                                                                               AUSTINTOWN         OH      44515‐2219
JAMES TERRANOVA     16996 PEACH RIDGE AVE                                                                           KENT CITY          MI      49330‐9756
JAMES TERRELL       630 LAKE ELIZABETH DR                                                                           WINTER HAVEN       FL      33884‐1434
JAMES TERRILL       15682 PROVIDENCE RD # PD                                                                        BROOKVILLE         OH      45309
JAMES TERRILLION    225 GRANTVILLE RD                                                                               NORFOLK            NY      13667‐3265
JAMES TERRIS        204 TOWNE OVERLOOK DR                                                                           CANTON             GA      30114‐7239
JAMES TERRY         10701 S COUNTY ROAD 419 E                                                                       MUNCIE             IN      47302‐8454
JAMES TERRY         6122 GREENFIELD RD                                                                              FORT WORTH         TX      76135‐1307
JAMES TERRY         4050 RED WING DR                                                                                FLINT              MI      48532‐4564
JAMES TERRY         385 SE 200 RD                                                                                   OSCEOLA            MO      64776‐8316
JAMES TERRY         PO BOX 5360                                                                                     PLYMOUTH           MI      48170‐5360
JAMES TERRY         8611 ENGLISH SADDLE DR                                                                          FAYETTEVILLE       NC      28314
JAMES TERRY         4610 RUGBY PIKE                                                                                 ALLARDT            TN      38504‐5007
JAMES TERRY         2804 POINSETTE DR                                                                               FORT WAYNE         IN      46808
JAMES TERRY         2674 WINDEMERE                                                                                  NORTH BRANCH       MI      48461‐9758
JAMES TERRY JR      PO BOX 05727                                                                                    DETROIT            MI      48205‐0727
JAMES TERWILLIGER   5483 WHITEHALL RD                                                                               MUSKEGON           MI      49445‐9349
JAMES TESCHKER      14055 SUNBURY ST                                                                                LIVONIA            MI      48154‐4549
JAMES TESNER        3446 E NORTH UNION RD                                                                           BAY CITY           MI      48706‐2533
JAMES TESONE JR     3729 NEW RD                                                                                     AUSTINTOWN         OH      44515‐4623
JAMES TESSMAN       3816 TEAL LN                                                                                    JANESVILLE         WI      53546‐1189
JAMES TESTA         13 ELMLEAF DR                                                                                   CHEEKTOWAGA        NY      14227‐2372
JAMES TESTORELLI    43900 ECORSE RD                                                                                 BELLEVILLE         MI      48111‐1185
JAMES THACKER       3132 GREENS MILL RD                                                                             SPRING HILL        TN      37174‐2114
JAMES THACKER       465 WHITE RIVER RD BOX 89                                                                       ARAGON             GA      30104
JAMES THARP         24 ASPEN ST                                                                                     MINOOKA            IL      60447‐9521
JAMES THAYER        152 PECAN HILLS DR                                                                              MOORESVILLE        NC      28115‐7186
JAMES THAYER        5253 IMLAY CITY RD                                                                              ATTICA             MI      48412‐9788
JAMES THEAKER       11999 KLINGER AVE NE             JAMES W THEAKER                                                ALLIANCE           OH      44601‐1116
JAMES THEESFELD     4666 KEDRON RD                                                                                  SPRING HILL        TN      37174‐2260
JAMES THEISEN       7879 KAISER ST                                                                                  CANTON             MI      48187‐4264
JAMES THELEN        1921 FERROL ST                                                                                  LANSING            MI      48910‐4312
JAMES THELMA        BOGT, ORVILE                     35460 TENNESSEE RD. S.                                         ALBANY             OR
JAMES THELMA        JAMES, THELMA                    44626 HWY 226                                                  STAYTON            OR      97383
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Name               Address1                        Address2           Address3         Address4               City               State Zip
JAMES THEOFANIS
JAMES THEOLET      604 E 3RD ST                                                                               DAVISON            MI    48423‐1473
JAMES THERIAULT    PO BOX 15756                                                                               SCOTTSDALE         AZ    85267‐5756
JAMES THEURER      7180 CROCKER RD                                                                            VALLEY CITY        OH    44280‐9548
JAMES THEYS        350 BROWNSVILLE RD                                                                         FAYETTE CITY       PA    15438‐1120
JAMES THIBODEAU    517 TICKNER ST                                                                             LINDEN             MI    48451‐9008
JAMES THIBODEAUX   565 E PIKE                                                                                 PONTIAC            MI    48342
JAMES THIELE       4319 GREENBRIAR LN                                                                         RACINE             WI    53403‐3947
JAMES THIERY       517 S ELM ST                                                                               MONTPELIER         IN    47359‐1413
JAMES THIMLAR      3320 WEATHERED WOOD CT                                                                     FENTON             MI    48430‐2498
JAMES THIRTYACRE   3143 BECHTEL DR                                                                            FRANKLIN           OH    45005‐4803
JAMES THOM         7681 TRINKLEIN RD                                                                          SAGINAW            MI    48609‐5309
JAMES THOMAS       2804 KENSINGTON DR                                                                         SAGINAW            MI    48601‐4567
JAMES THOMAS       4249 W 211TH ST                                                                            CLEVELAND          OH    44126‐1506
JAMES THOMAS       4919 APPLEWOOD DR                                                                          LANSING            MI    48917‐1502
JAMES THOMAS       4027 CALDERWOOD DR                                                                         SHREVEPORT         LA    71119‐7603
JAMES THOMAS       44102 GREENVIEW LN                                                                         NORTHVILLE         MI    48168‐8450
JAMES THOMAS       10033 BRAWLEY LN                                                                           CHARLOTTE          NC    28215‐5003
JAMES THOMAS       2310 BLUEBALL AVE                                                                          UPPER CHICHESTER   PA    19061‐3622

JAMES THOMAS       12039 ROSEMONT AVE                                                                         DETROIT            MI    48228‐1150
JAMES THOMAS       159‐44 HARLEM RIVER DR APT 8G                                                              NEW YORK           NY    10039‐1136
JAMES THOMAS       625 BARBEE FARM DR                                                                         MONROE             NC    28110‐5611
JAMES THOMAS       2455 JEFFRIES CROSS RD                                                                     BURLINGTON         NC    27217‐8528
JAMES THOMAS       5154 BOWER AVE                                                                             DAYTON             OH    45431‐1203
JAMES THOMAS       282 RAINTREE DR                                                                            DANVILLE           IN    46122‐1452
JAMES THOMAS       268 LISBON ST                                                                              CANFIELD           OH    44406‐1418
JAMES THOMAS       1 ROME ROCK CREEK RD                                                                       ROAMING SHORES     OH    44085‐9711
JAMES THOMAS       845 CORNELL ST                                                                             YOUNGSTOWN         OH    44502‐2313
JAMES THOMAS       928 SODOM HUTCHINGS RD SE                                                                  VIENNA             OH    44473‐9625
JAMES THOMAS       1089 MARION AVENUE RD N                                                                    MANSFIELD          OH    44903‐9223
JAMES THOMAS       149 SKULL SHOALS RD                                                                        WASHINGTON         GA    30673‐5524
JAMES THOMAS       5701 THOMAS RD                                                                             GAINESVILLE        GA    30506‐2472
JAMES THOMAS       15 BROOKHAVEN DR                                                                           TROTWOOD           OH    45426‐3102
JAMES THOMAS       6775 MEADOWBROOK RD                                                                        BENTON HARBOR      MI    49022‐9624
JAMES THOMAS       3934 CANYON CREEK DR SW                                                                    WALKER             MI    49534‐6687
JAMES THOMAS       3340 PONEMAH DR                                                                            FENTON             MI    48430‐1349
JAMES THOMAS       6266 E FRANCES RD                                                                          MOUNT MORRIS       MI    48458‐9728
JAMES THOMAS       210 OAK ST                                                                                 FLUSHING           MI    48433‐2636
JAMES THOMAS       3818 KIM DR                                                                                ZEPHYRHILLS        FL    33543‐5032
JAMES THOMAS       3682 AQUARINA ST                                                                           WATERFORD          MI    48329‐2107
JAMES THOMAS       5045 S 23RD                                                                                BOON               MI    49618‐9758
JAMES THOMAS       9901 N STATE ROAD 3 LOT 42                                                                 MUNCIE             IN    47303‐9596
JAMES THOMAS       50 S COUNTY ROAD 200 W                                                                     DANVILLE           IN    46122‐9106
JAMES THOMAS       PO BOX 2256                                                                                SAGINAW            MI    48605‐2256
JAMES THOMAS       510 GARFIELD ST                                                                            GEORGETOWN         IL    61846‐1813
JAMES THOMAS       PO BOX 708                                                                                 CATLIN             IL    61817‐0708
JAMES THOMAS       1234 MCINTOSH DR                                                                           FLINT              MI    48503‐1265
JAMES THOMAS       1608 15TH ST                                                                               PARKERSBURG        WV    26101
JAMES THOMAS       5253 LETHBRIDGE RD                                                                         GRAND BLANC        MI    48439‐8738
JAMES THOMAS       8964 BRUNS RD                                                                              RICHMOND           MO    64085‐8593
JAMES THOMAS       PO BOX 75                                                                                  POWELL             TX    75153‐0075
JAMES THOMAS       235 IRONWOOD DR                                                                            VICKSBURG          MS    39180‐0823
JAMES THOMAS       3665 JEFFERSON ST                                                                          KANSAS CITY        MO    64111‐2814
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Name                              Address1                            Address2                        Address3            Address4               City             State Zip
JAMES THOMAS                      76 OLD CASTLE RD                                                                                               GORDONVILLE       TX 76245‐2548
JAMES THOMAS                      28926 WALNUT GROVE LN                                                                                          SOUTHFIELD        MI 48034‐1562
JAMES THOMAS                      9801 RENO AVE                                                                                                  CLEVELAND         OH 44105‐2723
JAMES THOMAS                      5029 LAWN AVE                                                                                                  KANSAS CITY       MO 64130‐2845
JAMES THOMAS                      14622 E 36TH ST S                                                                                              INDEPENDENCE      MO 64055‐3421
JAMES THOMAS                      PO BOX 15201                                                                                                   DETROIT           MI 48215‐0201
JAMES THOMAS                      9405 S EASTERN AVE APT 2053                                                                                    LAS VEGAS         NV 89123‐3996
JAMES THOMAS                      3042 SUBLIMITY SPRINGS RD                                                                                      LONDON            KY 40744‐9197
JAMES THOMAS                      913 HAWTHORNE ST                                                                                               MEMPHIS           TN 38107‐4510
JAMES THOMAS                      208 HORIZON RD                                                                                                 WHITE LAKE        MI 48386‐2432
JAMES THOMAS                      12788 GARY RD                                                                                                  CHESANING         MI 48616‐9431
JAMES THOMAS                      C/O THOMAS AUTOMOTIVE GROUP         PMB 119                         5021 VERNON AVE S                          EDINA             MN 55436‐2102
JAMES THOMAS                      165 LAKEVIEW DR                                                                                                DEFIANCE          OH 43512‐8046
JAMES THOMAS                      17007 CORAL GABLES ST                                                                                          SOUTHFIELD        MI 48076‐4782
JAMES THOMAS                      1008 PAR 4 CIR                                                                                                 KALAMAZOO         MI 49008‐2916
JAMES THOMAS                      3409 ELMWOOD DR                                                                                                CLIO              MI 48420‐2903
JAMES THOMAS                      BEVAN & ASSOCIATES LPA INC          6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS        OH 44236
JAMES THOMAS                      ROBERT W PHILLIPS, SIMMONS, ET AL   707 BERKSHIRE BLVD             PO BOX 521                                  EAST ALTON         IL 62024
JAMES THOMAS BURNS INH IRA        BENE OF PAUL C BURNS                CHARLES SCHWAB AND CO INC CUST 28 N 4TH ST                                 FERNANDINA BEACH  FL 32034‐4181

JAMES THOMAS MARION (ESTATE OF)   SAVILLE EVOLA & FLINT LLC           322 EAST BROADWAY P O BOX 602                                              ALTON             IL   62002‐0602
(651416)
JAMES THOMAS MARION (ESTATE OF)   (NO OPPOSING COUNSEL)
(651416) ‐ JAMES GEORGIE V
JAMES THOMAS SR                   C/O BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS       OH    44236
JAMES THOMAS W (336024)           ANGELOS PETER G LAW OFFICES OF      100 N CHARLES STREET , ONE                                                 BALTIMORE        MD    21202
                                                                      CHARLES CENTER 22ND FLOOR
JAMES THOMAS ZIMMERMAN            C/O WEITZ & LUXENBERG P C           700 BROADWAY                                                               NEW YORK         NY    10003
JAMES THOMASON                    457 HAWKINS ST                                                                                                 YPSILANTI        MI    48197‐5350
JAMES THOMASON                    2009 BETTY ST                                                                                                  SHREVEPORT       LA    71108‐5805
JAMES THOMASON                    PO BOX 167                                                                                                     FOWLERTON        IN    46930‐0167
JAMES THOMASON                    49090 HIDDEN WOODS LANE                                                                                        SHELBY TWP       MI    48317‐2644
JAMES THOMASON JR                 336 SUNNYSIDE DR                                                                                               FLUSHING         MI    48433‐1805
JAMES THOMPKINS                   4311 ELIZABETH ST                                                                                              WAYNE            MI    48184‐2153
JAMES THOMPSETT JR                45547 GLENGARRY BLVD                                                                                           CANTON           MI    48188‐3010
JAMES THOMPSON                    2653 SPIELMAN HEIGHTS DR                                                                                       ADRIAN           MI    49221‐9277
JAMES THOMPSON                    11711 LONGVIEW ST                                                                                              DETROIT          MI    48213‐1647
JAMES THOMPSON                    402A UNION ST                                                                                                  GRAND BLANC      MI    48439‐1235
JAMES THOMPSON                    PO BOX 301303                                                                                                  ARLINGTON        TX    76007‐1303
JAMES THOMPSON                    485 BIRCHINGTON LN                                                                                             MELBOURNE        FL    32940‐2114
JAMES THOMPSON                    116 LINDSEY LEE LN                                                                                             SHELBY           NC    28152‐0509
JAMES THOMPSON                    3879 SHADY DR NW                                                                                               LILBURN          GA    30047‐2641
JAMES THOMPSON                    235 EVERGREEN DR SE                                                                                            MARIETTA         GA    30060‐7027
JAMES THOMPSON                    789 S FORDTOWN RD                                                                                              LAKE VIEW        SC    29563‐5123
JAMES THOMPSON                    4551 SALEM RD                                                                                                  COVINGTON        GA    30016‐7905
JAMES THOMPSON                    91 JOANS CT                                                                                                    LAWRENCEVILLE    GA    30045‐4519
JAMES THOMPSON                    120 SANBORN AVE                                                                                                BATTLE CREEK     MI    49037‐1043
JAMES THOMPSON                    2316 HARTWICK HWY                                                                                              LINCOLN PARK     MI    48146‐2580
JAMES THOMPSON                    28532 FRANKLIN RIVER DR APT 206                                                                                SOUTHFIELD       MI    48034‐5425
JAMES THOMPSON                    1071 CAMBRIA DR                                                                                                EAST LANSING     MI    48823‐2394
JAMES THOMPSON                    840 GERALD H. MILLER ROAD                                                                                      WEST BRANCH      MI    48661
JAMES THOMPSON                    7026 WOODLEA RD W                                                                                              OSCODA           MI    48750‐8763
JAMES THOMPSON                    126 N 5TH AVE                                                                                                  SAGINAW          MI    48607‐1409
JAMES THOMPSON                    379 N BIRCHWOOD DR                                                                                             HENDERSONVILLE   TN    37075‐2567
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Name                       Address1                      Address2                       Address3   Address4               City             State   Zip
JAMES THOMPSON             1029 MEADOWLAWN DR                                                                             PONTIAC           MI     48340‐1731
JAMES THOMPSON             452 HUBERT WILLIAMS RD                                                                         JUDSONIA          AR     72081‐8828
JAMES THOMPSON             N6260 SCHNEEBERGER RD                                                                          ALBANY            WI     53502‐9734
JAMES THOMPSON             PO BOX 113                                                                                     SHIRLEY           IN     47384‐0113
JAMES THOMPSON             10027 BEERS RD                                                                                 SWARTZ CREEK      MI     48473‐9159
JAMES THOMPSON             4362 MILLIS RD                                                                                 NORTH BRANCH      MI     48461‐9788
JAMES THOMPSON             6768 SAN JUAN                                                                                  ALANSON           MI     49706‐8205
JAMES THOMPSON             1491 FRANKLIN ST                                                                               CARLYLE            IL    62231‐1722
JAMES THOMPSON             5120 GOLFVIEW DR                                                                               FORT WAYNE        IN     46818‐9341
JAMES THOMPSON             5221 FAWN VLY                                                                                  BATH              MI     48808‐9403
JAMES THOMPSON             311 WOODBRIDGE CT                                                                              FOLEY             AL     36535‐2237
JAMES THOMPSON             3636 SEVILLE LN                                                                                SAGINAW           MI     48604‐9580
JAMES THOMPSON             12392 LAKE RD                                                                                  OTTER LAKE        MI     48464‐9106
JAMES THOMPSON             8904 CO503CC RD                                                                                RAPID RIVER       MI     49878
JAMES THOMPSON             12845 SHERIDAN RD                                                                              BURT              MI     48417‐9773
JAMES THOMPSON             6555 S KIMBERLY DR                                                                             HOLLY             MI     48442‐8742
JAMES THOMPSON             PO BOX 298208                                                                                  COLUMBUS          OH     43229‐4808
JAMES THOMPSON             31 MILTON ST                                                                                   BEREA             OH     44017‐2820
JAMES THOMPSON             118 RAINBOW DR # 1866                                                                          LIVINGSTON        TX     77399‐1018
JAMES THOMPSON             2213 NW COVE CT                                                                                BLUE SPRINGS      MO     64015‐7019
JAMES THOMPSON             7626 ASHCREST LN                                                                               DALLAS            TX     75249‐1059
JAMES THOMPSON             1028 OUCHITA 2                                                                                 STEPHENS          AR     71764
JAMES THOMPSON             127 22ND AVE APT 3                                                                             SEATTLE           WA     98122‐6078
JAMES THOMPSON
JAMES THOMPSON             452 SLOCUM DR                                                                                  AUBURN HILLS     MI      48326‐3838
JAMES THOMPSON             PO BOX 80024                                                                                   SIMPSONVILLE     SC      29680‐0001
JAMES THOMPSON             ACCT OF ROBERT SICKLER        6225 PARK RIDGE RD                                               LOVES PARK       IL      61111‐4070
JAMES THOMPSON             C/O COONEY AND CONWAY         120 NORTH LASALLE 30TH FLOOR                                     CHICAGO          IL      60602
JAMES THOMPSON JR          51 ASHBROOK RD                                                                                 TROTWOOD         OH      45415‐2209
JAMES THOMPSON JR          9080 TIMBERBROOK LANE                                                                          FLORENCE         KY      41042
JAMES THOMSEN              701 SALEM DR                                                                                   DAVISON          MI      48423‐1737
JAMES THOMSON              6176 WINDFALL RD                                                                               BELMONT          NY      14813
JAMES THOMSON              1484 SEDGEFIELD DR                                                                             MURRELLS INLET   SC      29576‐8653
JAMES THOMSON              242 E PARKER AVE                                                                               MADISON HTS      MI      48071‐2842
JAMES THORNBURG            7435 DODGE RD                                                                                  MONTROSE         MI      48457‐9193
JAMES THORNELL             PO BOX 34                                                                                      COVINGTON        TX      76636‐0034
JAMES THORNTON             270 PEBBLEVIEW DR                                                                              ROCHESTER        NY      14612‐4143
JAMES THORNTON             868 BRANSCOMB RD                                                                               GREEN CV SPGS    FL      32043‐9588
JAMES THORNTON             3825 BEAL RD                                                                                   FRANKLIN         OH      45005‐4621
JAMES THORNTON             236 STANLEY DR                                                                                 CORUNNA          MI      48817‐1155
JAMES THORNTON             2313 MASON STREET                                                                              FLINT            MI      48505‐4115
JAMES THORNTON             21016 DWYER RD                                                                                 WARSAW           MO      65355‐4495
JAMES THORPE               5513 THRUSH DR                                                                                 GRAND BLANC      MI      48439‐7940
JAMES THORPE               4449 ISLAND VIEW DR                                                                            FENTON           MI      48430‐9146
JAMES THORPE               790 BAVENO DR                                                                                  VENICE           FL      34285‐4401
JAMES THORPE               76 SYLVANIA DR                                                                                 DAYTON           OH      45440‐3238
JAMES THORPE               9215 W 3RD ST                                                                                  DAYTON           OH      45427‐1122
JAMES THORPE ASSOCIATION   PO BOX 270716                                                                                  OKLAHOMA CITY    OK      73137‐0716
JAMES THORSEN              1456 S ARCH ST                                                                                 JANESVILLE       WI      53546‐5562
JAMES THORSTENSON          5675 WEBSTER ST                                                                                DAYTON           OH      45414
JAMES THREET               410 PLANTATION DR                                                                              CROSSVILLE       TN      38572‐7077
JAMES THRIFT               31114 WHITE OAK DR                                                                             BANGOR           MI      49013‐9521
JAMES THROCKMORTON         6214 MCCLEAN BLVD                                                                              BALTIMORE        MD      21214‐1539
JAMES THROOP               428 S EXETER AVE                                                                               INDIANAPOLIS     IN      46241‐1602
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Name                Address1                       Address2                     Address3   Address4               City               State   Zip
JAMES THUME         1203 N WENONA ST                                                                              BAY CITY            MI     48706‐3571
JAMES THURMOND      PO BOX 103                                                                                    STANTON             MO     63079‐0103
JAMES THURSTON      2585 E BROCKER RD                                                                             METAMORA            MI     48455‐9360
JAMES TIBBITTS      9827 VIA SONOMA                                                                               CYPRESS             CA     90630‐3437
JAMES TICHENOR      5463 LAKE BOGGS ST                                                                            INDIANAPOLIS        IN     46254‐6907
JAMES TIDD          5861 ROGERS RD                                                                                JAMESTOWN           OH     45335‐8713
JAMES TIDWELL       115 TENNESSEE CIRCLE                                                                          WESTPOINT           TN     38486
JAMES TIDWELL       243 MILFORD DR                                                                                MIDDLETOWN          DE     19709‐9469
JAMES TIDWELL       2343 TALLAVANA TRL                                                                            HAVANA              FL     32333‐5648
JAMES TIDWELL JR    134 WHISPERING PINES CIR                                                                      LOUISVILLE          KY     40245‐5324
JAMES TIEDE         1209 GEORGETOWN PKWY                                                                          FENTON              MI     48430‐3271
JAMES TIERNEY       1845 GROVE                                                                                    HIGHLAND            MI     48356‐2807
JAMES TIFFIN JR     16670 THIBODAUX DR                                                                            TYLER               TX     75703‐7795
JAMES TIGGETT       210 SOUTH ASPEN CT.                                                                           WARREN              OH     44484
JAMES TILLEY        4700 LANGE RD                                                                                 BIRCH RUN           MI     48415‐8137
JAMES TILLEY        4401 W MAPLE AVE                                                                              FLINT               MI     48507‐3127
JAMES TILLIA        2563 COLUMBIA RD                                                                              WESTLAKE            OH     44145‐5505
JAMES TILLMAN III   3729 BOSK LN                                                                                  COLLEGE GROVE       TN     37046‐9318
JAMES TIMM          860 EDISON RD                                                                                 SAGINAW             MI     48604‐1119
JAMES TIMM          10397 WASHBURN RD                                                                             COLUMBIAVILLE       MI     48421‐8816
JAMES TIMMONS       2761 GOLDENSTRAND DRIVE                                                                       HILLIARD            OH     43026‐8079
JAMES TIMMRECK      9118 PONTIAC LAKE RD                                                                          WHITE LAKE          MI     48386‐1630
JAMES TINCH         318 CHOATE LN                                                                                 MONROE              TN     38573‐5401
JAMES TINCHER JR    685 STATE ROUTE 725 E                                                                         CAMDEN              OH     45311‐8902
JAMES TINDALL JR    316 CLARK ST                                                                                  CLINTON             MI     49236‐9562
JAMES TINDER JR     5 COUNTRYWOOD DR                                                                              SAINT PETERS        MO     63376‐1232
JAMES TINDERA       PO BOX 33243                                                                                  INDIANAPOLIS        IN     46203‐0243
JAMES TINGLE        1526 TERRAWENDA DR                                                                            DEFIANCE            OH     43512‐3725
JAMES TINKIS        13333 N COTTONWOOD AVE                                                                        REED CITY           MI     49677‐9405
JAMES TINKLE        24411 MARIE DR                                                                                HAYWARD             CA     94542‐1019
JAMES TINSLEY       4606 E 104TH ST                                                                               KANSAS CITY         MO     64137‐1546
JAMES TINSLEY       4955 CENTURY DR APT 3                                                                         SAGINAW             MI     48638‐5614
JAMES TINSLEY JR.   3361 DALE RD                                                                                  SAGINAW             MI     48603‐3284
JAMES TIPPETT       4305 MORGAN RD                                                                                MARLETTE            MI     48453‐8917
JAMES TIPPETT       1701 BUNCH DR                                                                                 FORT WORTH          TX     76112‐7744
JAMES TIPTON        679 E PEKIN RD                                                                                LEBANON             OH     45036‐9406
JAMES TIPTON        7384 ELMCREST AVE                                                                             MOUNT MORRIS        MI     48458‐1807
JAMES TISDALE       21978 FRAZER AVENUE                                                                           SOUTHFIELD          MI     48075‐3853
JAMES TITER         BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS      OH     44236
JAMES TITSWORTH     21924 ARBOR LN                                                                                FARMINGTON HILLS    MI     48336‐5118

JAMES TITUS         839 SHAWHAN RD                                                                                MORROW             OH      45152‐9625
JAMES TITUS         5841 SHAUN RD                                                                                 WEST BLOOMFIELD    MI      48322‐1626

JAMES TOBBE         1232 BRIGHTON LAKE RD                                                                         BRIGHTON           MI      48116‐1733
JAMES TOBEY         12749 N 500 E                                                                                 ALEXANDRIA         IN      46001‐8986
JAMES TOBIAS        210 RANDOLPH ST                                                                               HOLGATE            OH      43527‐9580
JAMES TOBIN         6915 HUBBARD                                                                                  CLARKSTON          MI      48348
JAMES TOBIN         244 COACHLIGHT SQ                                                                             MONTROSE           NY      10548‐1255
JAMES TOBIN         31 S MAIN ST                                                                                  MIDDLETOWN         DE      19709‐9443
JAMES TOCZYNSKI     440 CREEKSIDE CT                                                                              ROSWELL            GA      30076‐2512
JAMES TODD          5550 GEORGETOWN VERONA RD                                                                     LEWISBURG          OH      45338‐8985
JAMES TODD          402 E COURT ST                                                                                LUDINGTON          MI      49431‐1827
JAMES TODD          6008 STRASBOURG                                                                               LANSING            MI      48917‐3090
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Name               Address1                         Address2                     Address3   Address4               City             State   Zip
JAMES TODD I I I   6368 N DORT HWY                                                                                 MOUNT MORRIS      MI     48458‐2561
JAMES TODD JR      37083 VARGO ST                                                                                  LIVONIA           MI     48152‐2717
JAMES TOLAND       218 HOMBERG AVE                                                                                 BALTIMORE         MD     21221‐3738
JAMES TOLEN        17333 TOLEN DR                                                                                  MANCHESTER        MI     48158‐9740
JAMES TOLES        510 LELAND ST                                                                                   KERRVILLE         TX     78028‐3046
JAMES TOLFREE      1879 CIRCLE DR                                                                                  FAIRGROVE         MI     48733‐9702
JAMES TOLLEFSON    1215 BINGHAM AVE                                                                                JANESVILLE        WI     53546‐2642
JAMES TOLLEY       5986 AVON LAKE RD                                                                               SPENCER           OH     44275‐9718
JAMES TOLLIVER     PO BOX 406                                                                                      STONEWALL         LA     71078‐0406
JAMES TOLSON       BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS    OH     44236
JAMES TOMAZIC      BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH     44236
JAMES TOMAZIN      8363 ABBEY RD                                                                                   N ROYALTON        OH     44133‐1109
JAMES TOMINSKY     431 MARION AVE                                                                                  WATERFORD         MI     48328‐3233
JAMES TOMLINSON    425 SUMMIT BLVD                                                                                 LAKE ORION        MI     48362‐2668
JAMES TOMORY       6980 TAMARACK DR                                                                                HUBBARD           OH     44425‐3050
JAMES TOMPKINS     BOX 397 52 A ST                                                                                 WILKINSON         IN     46186
JAMES TOMPKINS     PO BOX 234                                                                                      FORTVILLE         IN     46040‐0234
JAMES TOMPKINS     33340 BOULDER DR                                                                                N RIDGEVILLE      OH     44039‐2614
JAMES TOMS         3680 N SYCAMORE DR                                                                              MARION            IN     46952‐9707
JAMES TONDREAU     2053 KNOLLWOOD DR                                                                               CANTON            MI     48188‐2250
JAMES TONEY        1113 WILLOW TRCE                                                                                GRAYSON           GA     30017‐1109
JAMES TONEY        12364 MARSHALL RD                                                                               MONTROSE          MI     48457‐8803
JAMES TONYA        JAMES, TONYA                     2919 SPRING FALLS DR                                           DAYTON            OH     45449
JAMES TOOLE        414 70TH ST                                                                                     NIAGARA FALLS     NY     14304‐3228
JAMES TOOMBS       125 HESKELL ONEY RD                                                                             HARLETON          TX     75651‐4027
JAMES TOOMER       5305 LARITA LN                                                                                  ANDERSON          IN     46017‐9523
JAMES TOOMEY       PO BOX 1266                                                                                     DESERT HOT        CA     92240‐0937
                                                                                                                   SPRINGS
JAMES TOOPS        519 LAKENGREN DR                                                                                EATON            OH      45320‐2673
JAMES TOOR         29224 ALVIN ST                                                                                  GARDEN CITY      MI      48135‐2780
JAMES TOOTHMAN     2602 S ARAGON AVE                                                                               KETTERING        OH      45420‐3510
JAMES TOPLIN       24506 US 23 N                                                                                   MILLERSBURG      MI      49759
JAMES TORBERT JR   471 PARKCLIFFE AVE                                                                              YOUNGSTOWN       OH      44511‐3145
JAMES TORCELLINI   4165 JACKDAW ST                                                                                 SAN DIEGO        CA      92103
JAMES TORNINCASA   8 WILLOW BEND DR                                                                                CANFIELD         OH      44406‐8752
JAMES TORNINCASA   1630 SHANNON RD                                                                                 GIRARD           OH      44420‐1121
JAMES TORSON       BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS   OH      44236
JAMES TOSCANO JR   PO BOX 2754                                                                                     BRISTOL          CT      06011‐2754
JAMES TOSTEVIN     3525 CAMINO RD                                                                                  HARRISON         MI      48625‐8000
JAMES TOTH         3431 HERITAGE BLVD                                                                              SWARTZ CREEK     MI      48473‐7941
JAMES TOTH         1468 KRA NUR DR                                                                                 BURTON           MI      48509‐1635
JAMES TOTORO       1445 MAYBERRY LN                                                                                FRANKLIN         TN      37064‐9613
JAMES TOTTEN       2829 COUNTY LINE RD                                                                             BATES CITY       MO      64011‐8218
JAMES TOUCHETTE    5209 BOHLEYSVILLE RD                                                                            MILLSTADT        IL      62260‐2311
JAMES TOURVILLE    562 12TH TRL                                                                                    COTOPAXI         CO      81223‐9726
JAMES TOUT         4712 N TEMPLIN RD                                                                               MARTINSVILLE     IN      46151‐6323
JAMES TOVTIN       8386 HILLTOP DR                                                                                 POLAND           OH      44514‐2985
JAMES TOVTIN       3044 DENVER DR                                                                                  POLAND           OH      44514‐2435
JAMES TOWER        44293 CRANBERRY DR                                                                              CANTON           MI      48187‐1947
JAMES TOWERY       2895 W 18 RD                                                                                    MESICK           MI      49668‐9505
JAMES TOWLER       6573 DELCROSS CT                                                                                BRIGHTON         MI      48114‐7418
JAMES TOWNS        532 STANFORD AVE                                                                                ELYRIA           OH      44035‐6639
JAMES TOWNS        780 CAYO GRANDE CT                                                                              NEWBURY PARK     CA      91320‐1942
JAMES TOWNS        C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH      44236
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Name               Address1                            Address2                       Address3                Address4                   City               State   Zip
JAMES TOWNSEND     C/O COONEY AND CONWAY               120 NORTH LASALLE 30TH FLOOR                                                      CHICAGO              IL    60602
JAMES TOWNSEND     223 ELMHURST ROAD                                                                                                     DAYTON              OH     45417‐1420
JAMES TOWNSEND     223 ELMHURST RD                                                                                                       DAYTON              OH     45417‐1420
JAMES TOWNSLEY     1788 LORAN DR                                                                                                         GENEVA               IL    60134‐2953
JAMES TOWNSON      6540 NADETTE                                                                                                          CLARKSTON           MI     48346‐1119
JAMES TOY          11315 INKSTER RD                                                                                                      LIVONIA             MI     48150‐3232
JAMES TRACE        11319 FEIGHNER RD                                                                                                     ROANOKE             IN     46783‐8712
JAMES TRACY        5880 BUTLER GRANGE RD                                                                                                 SALEM               OH     44460‐8922
JAMES TRAILER      16222 MIDDLEBELT RD                                                                                                   ROMULUS             MI     48174‐3166
JAMES TRAINOR      20 BAYBERRY CIR                                                                                                       ROCKPORT            TX     78382‐7808
JAMES TRAMEL JR    1546 ZARIEDA ST                                                                                                       ORTONVILLE          MI     48462‐8817
JAMES TRAN         3030 BELGIAN DR                                                                                                       LANSING             MI     48906‐9085
JAMES TRAN         PO BOX 204                                                                                                            PEWAMO              MI     48873‐0204
JAMES TRANTHAM     85 JF MORRIS DR                                                                                                       WAYNESVILLE         NC     28786‐4665
JAMES TRASK        7430 OLD MILL RD                                                                                                      BLOOMFIELD HILLS    MI     48301‐3938
JAMES TRAUTMAN     PO BOX 594                                                                                                            PARKER CITY         IN     47368‐0594
JAMES TRAVER       12 BUNKER LN                                                                                                          ROTONDA WEST        FL     33947‐2112
JAMES TRAVERS JR   178 HIGHLAND AVE                                                                                                      WESTPORT            MA     02790‐2207
JAMES TRAVIS       1061 ARAPAHO DR                                                                                                       FLINT               MI     48509‐1415
JAMES TRAVIS       67 LINDA ST                                                                                                           INGLIS              FL     34499‐9765
JAMES TRAYLOR      805 W ROSELAWN ST                                                                                                     DANVILLE             IL    61832‐1608
JAMES TRAYLOR      2638 RAPTOR DR                                                                                                        ODENTON             MD     21113‐3846
JAMES TREADWAY     1623 W 1650 N                                                                                                         SUMMITVILLE         IN     46070‐9678
JAMES TREDWAY      50030 HELFER BLVD                                                                                                     WIXOM               MI     48393‐3228
JAMES TREGO JR.    40 GRANITE DR                                                                                                         PORT DEPOSIT        MD     21904‐1272
JAMES TREHARN      983 BENTON RD                                                                                                         SALEM               OH     44460‐1405
JAMES TREICHLER    8344 COUNTY RT 16                                                                                                     ANGELICA            NY     14709
JAMES TRELOAR      WEST 324 NORTH 8243 NORTHCREST DR                                                                                     HARTLAND            WI     53029

JAMES TREMAIN      1252 EDDY RD                                                                                                          BEAVERTON           MI     48612‐8574
JAMES TRENCH       25 PEACEDALE ST                                                                                                       BRISTOL             CT     06010‐2388
JAMES TRENDEL      15850 FLORENCE ST                                                                                                     LANSING             MI     48906‐1144
JAMES TRENT        213 BURGANDY HILL RD                                                                                                  NASHVILLE           TN     37211‐6834
JAMES TRENT        10925 SOUTHERN HIGHLANDS PKWY APT                                                                                     LAS VEGAS           NV     89141
                   1003
JAMES TRENT        411 TAMARA CIR                                                                                                        NEWARK              DE     19711‐6930
JAMES TREONIS      561 NORTON ST                                                                                                         LONGBOAT KEY        FL     34228‐1432
JAMES TREWYN       1623 E INMAN PKWY APT 6                                                                                               BELOIT              WI     53511‐6542
JAMES TREZIL JR    9895 PARDEE RD                                                                                                        TAYLOR              MI     48180‐3557
JAMES TRICE        4993 CRABAPPLE CT                                                                                                     W BLOOMFIELD        MI     48324‐1291
JAMES TRICIA L     JAMES, NICHOLAS J                   MCCOY TURNAGE & ROBERTSON      16496 BERNARDO CENTER                              SAN DIEGO           CA     92128
                                                                                      DRIVE SUITE 101
JAMES TRICIA L     JAMES, TRICIA L                     16496 BERNARDO CENTER DRIVE                                                       SAN DIEGO           CA     92128
                                                       SUITE 101
JAMES TRIETLEY     1042 PARKER BLVD                                                                                                      TONAWANDA          NY      14223‐2547
JAMES TRINKLEIN    6028 MOORES JUNCTION RD                                                                                               STERLING           MI      48659‐9569
JAMES TRIPLETT     16468 LOCK DAM RD                                                                                                     SPIRO              OK      74959
JAMES TRIPP        5760 ELIAS LLOYD RD                                                                                                   NORTH JACKSON      OH      44451‐8722
JAMES TRIPP        2737 BRUNE RD                                                                                                         FARMINGTON         MO      63640‐7153
JAMES TRIPPEL      36965 S STONEY CLIFF DR                                                                                               TUCSON             AZ      85739‐1409
JAMES TROGLOUR     11‐630 ALBERT ST                                                                           FORT ERIE ON CANADA L2A‐
                                                                                                              6R7
JAMES TROLL        3645 DIEHL RD                                                                                                         METAMORA            MI     48455‐9734
JAMES TROMBLEY     6285 ROBINSON RD APT 13                                                                                               LOCKPORT            NY     14094‐9572
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JAMES TROMBLEY     1672 VAN WAGONER DR                                                                           SAGINAW            MI     48638‐4487
JAMES TROOP        10035 W PIERSON RD                                                                            FLUSHING           MI     48433‐9718
JAMES TROSEN       7155 CURTIS RD                                                                                NORTHVILLE         MI     48168‐9406
JAMES TROST        4149 HAZELHURST CT                                                                            PLEASANTON         CA     94566‐4708
JAMES TROTH        107 S MUSTIN DR                                                                               ANDERSON           IN     46012‐3155
JAMES TROTTER      1595 ALEXIS TER SE                                                                            PALM BAY           FL     32909‐8866
JAMES TROTTER      3325 ASHGROVE DR                                                                              INDIANAPOLIS       IN     46268‐3532
JAMES TROUB        520 W FULTON ST                                                                               PERRINTON          MI     48871‐5160
JAMES TROUP        3858 KENMORE RD                                                                               BERKLEY            MI     48072‐1652
JAMES TROUP        724 52ND AVENUE LN W                                                                          BRADENTON          FL     34207‐2934
JAMES TROUT        20727 E SUPERSTITION DR                                                                       QUEEN CREEK        AZ     85242‐9765
JAMES TROUT        1122 S REISNER ST                                                                             INDIANAPOLIS       IN     46221‐1116
JAMES TROUT        1155 NORTON STREET                                                                            BURTON             MI     48529‐1156
JAMES TROXELL      2368 CEDARVILLE RD                                                                            GOSHEN             OH     45122‐9426
JAMES TROXELL      2217 RIDGE WAY                                                                                SHELBYVILLE        KY     40065‐8975
JAMES TROY         31 CHIPPEWA RD                                                                                PONTIAC            MI     48341‐1507
JAMES TROYER       6240 ORIOLE DR                                                                                FLINT              MI     48506‐1738
JAMES TRUCKEY      23209 RIVER RUN RD                                                                            MENDON             MI     49072‐9599
JAMES TRUCKSIS     PO BOX 9022                                                                                   WARREN             MI     48090‐9022
JAMES TRUDEAU      4421 SEEDEN ST                                                                                WATERFORD          MI     48329‐4060
JAMES TRUDELL      37564 WESTVALE ST                                                                             ROMULUS            MI     48174‐1043
JAMES TRUDGEON     15012 OLD IRISH RD                                                                            MILLINGTON         MI     48746‐9235
JAMES TRUE         3525 BLOCKER DR                                                                               KETTERING          OH     45420‐1017
JAMES TRUEX        405 E HALE LAKE RD                                                                            WARRENSBURG        MO     64093‐3026
JAMES TRULBY       1723 WENSLEY DRIVE                                                                            CHARLOTTE          NC     28210
JAMES TRUMBLE      1632 WAKEFIELD CT                                                                             ROCHESTER HILLS    MI     48306‐3670
JAMES TRUMBLE      374 HAUXWELL DR                                                                               LAKE ORION         MI     48362‐3632
JAMES TRUMPY       5417 N RIVER RD                                                                               JANESVILLE         WI     53545‐8923
JAMES TRUNICK      310 BROADWAY AVE SE                                                                           WARREN             OH     44484‐4606
JAMES TRUNK        BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS     OH     44236
JAMES TRUPIANO     1598 DETROIT AVE                                                                              LINCOLN PARK       MI     48146‐3217
JAMES TRUSCIO      7501 CONGRESSIONAL DR                                                                         LOCKPORT           NY     14094‐9073
JAMES TRZCIENSKI   442 W UPTON AVE                                                                               REED CITY          MI     49677‐1152
JAMES TSANGARIS    BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
JAMES TUBBS        3250 N ERIE ST                                                                                TOLEDO             OH     43611‐3213
JAMES TUBIOLO      7 PARK AVE                                                                                    OAKFIELD           NY     14125‐1025
JAMES TUCKER       119 ZEER BLVD                                                                                 CLARKSTON          MI     48348‐1486
JAMES TUCKER       6490 BROWNSVILLE RD                                                                           LITHIA SPRINGS     GA     30122‐1003
JAMES TUCKER       4824 E CRYSTAL LN                                                                             PARADISE VALLEY    AZ     85253‐2955
JAMES TUCKER       3003 LORANCE RD                                                                               CLINTON            MS     39056‐9574
JAMES TUCKER       2357 BROADMOOR DR                                                                             KETTERING          OH     45419‐2816
JAMES TUCKER       PO BOX 12                                                                                     OTISVILLE          MI     48463‐0012
JAMES TUCKER       22504 80TH AVE                                                                                EVART              MI     49631‐8908
JAMES TUCKER       848 SHADY CREEK LN                                                                            YUKON              OK     73099‐7143
JAMES TUCKER       BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
JAMES TUDOR        4246 SLATER AVE                                                                               BALTIMORE          MD     21236‐2723
JAMES TUINSTRA     1134 122ND AVE                                                                                MARTIN             MI     49070‐9734
JAMES TULLAR JR    PO BOX 210112                                                                                 AUBURN HILLS       MI     48321‐0112
JAMES TULLEY       120 WINTERGREEN CT                                                                            HOT SPRINGS        AR     71913‐8294
JAMES TULLY        1260 SHAFFER RD APT 6202                                                                      SANTA CRUZ         CA     95060
JAMES TULPA        802 CHATHAM DR                                                                                MILFORD            MI     48381‐2783
JAMES TUOHEY       790 WALNUT ST                                                                                 LOCKPORT           NY     14094‐3307
JAMES TUOHEY       10053 GLENMORE AVE                                                                            BRADENTON          FL     34202‐4050
JAMES TUREK        31556 SCONE ST                                                                                LIVONIA            MI     48154‐4234
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Name               Address1                        Address2                      Address3   Address4               City              State   Zip
JAMES TURGEON      6748 ERRICK RD                                                                                  N TONAWANDA        NY     14120‐1106
JAMES TURLEY       THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                     HOUSTON            TX     77017
JAMES TURNBOUGH    RR# 1                           708 NO VERMONT                                                  COLUMBUS           KS     66725
JAMES TURNBOW      PO BOX 672                                                                                      HIGHLAND           MI     48357‐0672
JAMES TURNBULL     BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                      BOSTON HEIGHTS     OH     44236
JAMES TURNER       C/O THE MADEKSHO LAW FIRM       8866 GULF FREEWAY SUITE 440                                     HOUSTON            TX     77017
JAMES TURNER       141 FRANKLIN BLVD                                                                               PONTIAC            MI     48341‐1707
JAMES TURNER       1314 210TH ST                                                                                   AUDUBON             IA    50025‐7340
JAMES TURNER       7346 WINBERT DR                                                                                 NORTH              NY     14120‐1491
                                                                                                                   TONAWANDA
JAMES TURNER       19709 HOLKE RD                                                                                  INDEPENDENCE      MO      64057‐1465
JAMES TURNER       361 N MAIN ST                                                                                   MARINE CITY       MI      48039‐3437
JAMES TURNER       1109 HIGHLAND AVE                                                                               SHREVEPORT        LA      71101‐4104
JAMES TURNER       5400 NORTHCUTT PL                                                                               DAYTON            OH      45414‐3743
JAMES TURNER       1505 EVERGREEN DR                                                                               STREETSBORO       OH      44241‐5426
JAMES TURNER       955 E CLARK RD                                                                                  YPSILANTI         MI      48198‐7501
JAMES TURNER       2991 S WHITE OAK ST                                                                             YORKTOWN          IN      47396‐9704
JAMES TURNER       4711 BISHOP MING BLVD APT 207                                                                   STONE MTN         GA      30088‐5704
JAMES TURNER       4114 TRIER RD                                                                                   FORT WAYNE        IN      46815‐4844
JAMES TURNER       G4433 N.VASSAR RD                                                                               FLINT             MI      48506
JAMES TURNER       141 WOOD RD                                                                                     ROCKMART          GA      30153‐3622
JAMES TURNER       2489 MCGUFFEY RD                                                                                COLUMBUS          OH      43211‐1232
JAMES TURNER       355 LINE CREEK RD                                                                               LONDON            KY      40741‐9741
JAMES TURNER       6110 EAST CONCOURSE COURT                                                                       CAMBY             IN      46113‐8345
JAMES TURNER       PO BOX 2644                                                                                     ANDERSON          IN      46018‐2644
JAMES TURNER       668 LINDA VISTA DR                                                                              PONTIAC           MI      48342‐1650
JAMES TURNER       1700 MILLHAVEN RD                                                                               MONROE            LA      71201‐8914
JAMES TURNER       502 N 27TH ST                                                                                   WEST MEMPHIS      AR      72301‐3602
JAMES TURNER       7409 MOUNT MORIAH RD                                                                            NINEVEH           IN      46164‐9472
JAMES TURNER       3843 MONTCLAIR ST                                                                               DETROIT           MI      48214
JAMES TURNER       19270 W BRANT RD                                                                                BRANT             MI      48614‐8721
JAMES TURNER       623 PIN OAK LN                                                                                  FLINT             MI      48506‐5224
JAMES TURNER       3924 CRYSTAL ST                                                                                 ANDERSON          IN      46012‐1110
JAMES TURNER JR    5949 SUMMIT PL                                                                                  SAINT LOUIS       MO      63147‐1118
JAMES TURNER JR    1622 HILL ST                                                                                    ANDERSON          IN      46012‐2426
JAMES TUROWICZ     247 OAK ST                                                                                      MONTROSE          MI      48457‐9101
JAMES TURPIN JR    10198 CASTANEDO CT                                                                              KEITHVILLE        LA      71047‐8901
JAMES TURRELL      9744 RIDGE RD                                                                                   MIDDLEPORT        NY      14105‐9709
JAMES TURTURICE    8347 SW 30TH AVE                                                                                BUSHNELL          FL      33513‐7951
JAMES TUTMAN       20411 SANTA ROSA DR                                                                             DETROIT           MI      48221‐1244
JAMES TUTOR        HC R BOX 124BB                                                                                  WARSAW            MO      65355
JAMES TUTTLE       4618 STATE ROAD 550                                                                             SHOALS            IN      47581‐7125
JAMES TUTTLE       2595 ABINGTON CT                                                                                ROCHESTER HILLS   MI      48306‐3002
JAMES TUTTLE       212 S WASHINGTON ST                                                                             CHESTERFIELD      IN      46017‐1627
JAMES TUTTLE       2912 WOODWARD AVE SW                                                                            WYOMING           MI      49509‐2932
JAMES TUTTLE       3998 US HIGHWAY 23 N                                                                            ROGERS CITY       MI      49779‐9529
JAMES TUTTLE       6762 BISON ST                                                                                   WESTLAND          MI      48185‐2804
JAMES TVARDOS      3923 WINN RD                                                                                    GLENNIE           MI      48737‐9408
JAMES TVERDALE     221 4TH ST                                                                                      FENTON            MI      48430‐2774
JAMES TWARDZICKI   31492 DOVER ST                                                                                  GARDEN CITY       MI      48135‐1744
JAMES TWEDT        1800 NW 169TH PL STE C700                                                                       BEAVERTON         OR      97006‐8121
JAMES TWIGG        282 HORIZON RD                                                                                  WHITE LAKE        MI      48386‐2434
JAMES TWIST        4239 WILLIAMS RD                                                                                RANSOMVILLE       NY      14131‐9751
JAMES TWITCHELL    38616 N 22ND DRT.                                                                               PHOENIX           AZ      85086
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Name                               Address1                       Address2                   Address3       Address4               City            State   Zip
JAMES TYE                          809 S 2ND STREET TER                                                                            ODESSA           MO     64076‐1514
JAMES TYLER                        16155 IRONSTONE LN                                                                              ROMULUS          MI     48174‐2984
JAMES TYLER                        25146 WATSON RD                                                                                 DEFIANCE         OH     43512‐6843
JAMES TYLER                        828 HOLGATE AVE                                                                                 DEFIANCE         OH     43512‐2042
JAMES TYLER                        6601 CRANWOOD DR                                                                                FLINT            MI     48505‐1950
JAMES TYLER                        4439 RAINBOW LN                                                                                 FLINT            MI     48507‐6232
JAMES TYNER                        15855 FERGUSON ST                                                                               DETROIT          MI     48227‐1570
JAMES TYREE                        4032 GROVE AVE                                                                                  NORWOOD          OH     45212‐4036
JAMES TYREE JR                     66 N COLUMBUS AVE              APT 2                                                            MOUNT VERNON     NY     10553‐1064
JAMES TYRRELL                      798 CLARA AVE                                                                                   PONTIAC          MI     48340‐2038
JAMES TYSVER                       7124 DRIFTWOOD DR                                                                               FENTON           MI     48430‐4320
JAMES U RADEMAKERS                 1702 RUSSWOOD DR                                                                                ARLINGTON        TX     76012
JAMES U VAUGHN                     NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT   205 LINDA DR                          DAINGERFIELD     TX     75638
JAMES UHEN                         PO BOX 343                                                                                      SHELBYVILLE      MI     49344‐0343
JAMES ULANSKI                      2445 CLAYWARD DR                                                                                BURTON           MI     48509‐1057
JAMES ULDRICH                      5005 NBU                                                                                        PRAGUE           OK     74864‐2042
JAMES ULEZELSKI                    504 ADELYNN CT N                                                                                FRANKLIN         TN     37064‐6729
JAMES ULLERY                       85 BEECHVIEW DR                                                                                 BROOKVILLE       OH     45309‐9262
JAMES ULREY                        1418 N. BOWMAN                                                                                  DANVILLE          IL    61832
JAMES ULRICH                       11488 KRUSE RD                                                                                  PETERSBURG       MI     49270‐9788
JAMES ULRICH                       2900 ALLEN RD                                                                                   ORTONVILLE       MI     48462‐8415
JAMES UMPHREY                      2447 OAK LANE RD                                                                                KAWKAWLIN        MI     48631‐9441
JAMES UNDERHEIM                    PO BOX 188                                                                                      MELROSE          WI     54642‐0188
JAMES UNDERHILL                    7536 CORRINE CT                                                                                 ROSCOE            IL    61073‐8401
JAMES UNDERWOOD                    213 MAPLE RUN ESTATES BLVD                                                                      SPRINGVILLE      IN     47462‐5418
JAMES UNDERWOOD                    11385 US HIGHWAY 129 N                                                                          TALMO            GA     30575‐1459
JAMES UNDERWOOD                    5290 FAIRFIELD RD                                                                               ORIENT           OH     43146‐9143
JAMES UNDERWOOD                    12350 WISCONSIN ST                                                                              DETROIT          MI     48204‐1048
JAMES UNDERWOOD                    1309 FALKE DR                                                                                   DAYTON           OH     45432‐3115
JAMES UNGER                        PO BOX 146                                                                                      W MIDDLETON      IN     46995‐0146
JAMES UNRATH                       100 RENFREW AVE                                                                                 MOUNT MORRIS     MI     48458‐8893
JAMES UNSEL                        1005 ARTHUR AVE                                                                                 LEHIGH ACRES     FL     33936‐6831
JAMES UPCHURCH                     PO BOX 2176                                                                                     MUNCIE           IN     47307‐0176
JAMES UPCHURCH                     4680 E COUNTY ROAD 650 SOUTH                                                                    MUNCIE           IN     47302‐8510
JAMES UPCHURCH                     PO BOX 53                                                                                       YORKTOWN         IN     47396‐0053
JAMES UPCHURCH                     217 E AVENUE B                                                                                  NEWBERRY         MI     49868‐1524
JAMES UPLEGGER                     113 DANTE DR                                                                                    ROSCOMMON        MI     48653‐9251
JAMES UPSHAW                       505 W NORTHERN AVE                                                                              LIMA             OH     45801‐2624
JAMES UPSHAW                       6921 RUNNYMEADE TRL                                                                             FREDERICKSBRG    VA     22407‐6248
JAMES UPTON                        218 W 14TH ST                                                                                   LAPEL            IN     46051‐9527
JAMES URBAN                        40336 COLONY DR                                                                                 STERLING HTS     MI     48313‐3804
JAMES URBAN                        210 TRENIER DR                                                                                  HENDERSON        NV     89002‐9229
JAMES URBANAWIZ                    20 HUNDLEY DR                                                                                   DAVENPORT        FL     33837‐2700
JAMES URISH                        1724 SW 18TH ST                                                                                 OKLAHOMA CITY    OK     73108‐6838
JAMES USCHAN                       5139 S HOLDEN RD                                                                                ORFORDVILLE      WI     53576‐9684
JAMES USHER                        2993 BARCELONA WAY                                                                              CONYERS          GA     30012‐2778
JAMES USIAK                        5254 MAPLETON RD                                                                                LOCKPORT         NY     14094‐9293
JAMES UTSEY                        5833 MCCLELLAN ST                                                                               DETROIT          MI     48213‐3053
JAMES UTTER
JAMES UZL                          10188 KESWICK DR                                                                                CLEVELAND       OH      44130‐2047
JAMES V & NANCY L MARTIN           171 RAY ST                                                                                      HINCKLEY        IL      60520
JAMES V ALLEN                      40 ELBA ST                                                                                      ROCHESTER       NY      14608‐2919
JAMES V AND LANOR M KANEY JT TEN   JAMES V AND LANOR M KANEY      342 CARTWRIGHT                                                   HAMILTON        MT      59840
JAMES V BELLOMO                    6106 MAHONING AVE NW                                                                            WARREN          OH      44481‐9401
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Name                                Address1                           Address2                       Address3             Address4                 City               State   Zip
JAMES V BISHOP                      P.O.BOX 8                                                                                                       LEAVITTSBURG        OH     44430‐0008
JAMES V CANCELLARO                  WEITZ & LUXENBERG P C              700 BROADWAY                                                                 NEW YORK            NY     10003
JAMES V CASH                        57 E BEVERLY AVE                                                                                                PONTIAC             MI     48340‐2611
JAMES V CRAVALHO                    3030 REPUBLIC AVE                                                                                               WARREN              OH     44484‐3551
JAMES V CUMMINS                     3401 WOODMAN DR APT 109                                                                                         DAYTON              OH     45429
JAMES V DAVIS                       6265 GLENBURN COURT                                                                                             CENTERVILLE         OH     45459‐2113
JAMES V DETRICK                     4777 VERSAILLES RD.                                                                                             PIQUA               OH     45356‐9308
JAMES V DEVINE                      752 LAIRD AVE NE                                                                                                WARREN              OH     44483
JAMES V ELLIS                       203 E MAIN ST                                                                                                   NEW LEBANON         OH     45345‐1226
JAMES V GODBY                       4951 GEORGIAN DRIVE                                                                                             DAYTON              OH     45429
JAMES V GRABOWSKI                   388 LAMARCK DR                                                                                                  BUFFALO             NY     14225‐1106
JAMES V HAGA                        214 W 6TH ST                                                                                                    TILTON               IL    61833‐7802
JAMES V HARRISON SR                 C/O G PATTERSON KEAHEY PC          ONE INDEPENDENCE PLAZA SUITE                                                 BIRMINGHAM          AL     35209
JAMES V HEDRICK                     2558 GALEWOOD ST                                                                                                KETTERING           OH     45420‐3580
JAMES V HEDRICK                     809 PATTERSON RD APT A                                                                                          DAYTON              OH     45419
JAMES V KANEY                       342 CARTWRIGHT                                                                                                  HAMILTON            MT     59840
JAMES V KETCHESON                   2001 ADDISON NEW CARLISLE RD R                                                                                  NEW CARLISLE        OH     45344
JAMES V LONG                        5153 S RANGELINE RD                                                                                             WEST MILTON         OH     45383‐9604
JAMES V LYNCH                       WEITZ & LUXENBERG P C              700 BROADWAY                                                                 NEW YORK CITY       NY     10003
JAMES V OLAS                        24 TERESA CIRCLE                                                                                                ROCHESTER           NY     14624‐1114
JAMES V PARUCKI                     3682 WOODHAVEN CIR                                                                                              HAMBURG             NY     14075‐2260
JAMES V PAYNE                       163 LEXINGTON FARM RD                                                                                           UNION               OH     45322‐3410
JAMES V PEYTON                      4510 MANCHESTER RD                                                                                              MIDDLETOWN          OH     45042‐3816
JAMES V POMERSON                    MSGT USAF (RET)                    2718 LYNN DR                                                                 SANDUSKY            OH     44870‐5650
JAMES V RADEMAKERS                  1702 RUSSWOOD DR                                                                                                ARLINGTON           TX     76012
JAMES V RICE                        5952 CULZEAN DR APT 1419                                                                                        DAYTON              OH     45426‐1243
JAMES V RUSAW                       313 GORDON AVE                                                                                                  MATTYDALE           NY     13211‐1841
JAMES V RYAN PARAMEDIC FOUNDATION   1835 SHERIDAN DRIVE                                                                                             KENMORE             NY     14223

JAMES V SECATELLO                   ROBERT W PHILLIPS                  SIMMONS BROWDER GIANARIS       707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON          IL     62024
                                                                       ANGELIDES & BARNERD LLC
JAMES V SHERIDAN                    13 ST MARKS ST                                                                                                  LEROY              NY      14482‐1023
JAMES V SMALLWOOD                   302 CROSSWINDS DR                                                                                               PALM HARBOR        FL      34683
JAMES V STEFANO                     3855 PENNIMITE RD.                                                                                              LIVONIA            NY      14487‐9607
JAMES V THOMAS                      88 MOUNTAIR DR.                                                                                                 VANDALIA           OH      45377
JAMES V WALCZAK                     4050 ALLEN CT                                                                                                   BAY CITY           MI      48706‐2464
JAMES V WARD JR                     1609 ELYSIAN FIELDS AVE                                                                                         MARSHALL           TX      75670‐5530
JAMES V. THOMAS                     707 WAGNER RD                                                                                                   YOUNGWOOD          PA      15697
JAMES VACCA                         9506 SHOREWOOD TRL                                                                                              FORT WAYNE         IN      46804‐5993
JAMES VACCARO                       1920 COLE RD                                                                                                    NUNDA              NY      14517‐9665
JAMES VACKETTA                      4265 ARCADIA DR                                                                                                 AUBURN HILLS       MI      48326‐1894
JAMES VALDERRAMA                    15425 HOLLAND RD                                                                                                BROOK PARK         OH      44142‐3343
JAMES VALICEVIC                     77702 FOXRIDGE LN                                                                                               BRUCE TWP          MI      48065‐1805
JAMES VALLANCE                      23530 CANFIELD AVE                                                                                              FARMINGTON HILLS   MI      48336‐2822

JAMES VALLAR                        616 FLORENCE ST                                                                                                 KALAMAZOO           MI     49007‐2457
JAMES VALLEM                        2837 RENFREW ST                                                                                                 ANN ARBOR           MI     48105‐1451
JAMES VALLEY                        1532 KENSINGTON ST                                                                                              JANESVILLE          WI     53546‐5832
JAMES VALLONE JR                    2500 EAST AVE APT 6S                                                                                            ROCHESTER           NY     14610‐3142
JAMES VALLONE JR                    2500 EAST AVE #6‐S                                                                                              ROCHESTER           NY     14610‐3142
JAMES VALOS JR                      1915 E 21ST ST                                                                                                  MUNCIE              IN     47302‐5461
JAMES VALTMAN                       3304 MADISON AVE                                                                                                BROOKFIELD          IL     60513‐1231
JAMES VAN AANHOLD                   67 W MIDLAND RD                                                                                                 AUBURN              MI     48611‐9311
JAMES VAN BELLE                     41850 UTICA RD                                                                                                  STERLING HTS        MI     48313‐3148
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Name                      Address1                      Address2            Address3         Address4               City           State   Zip
JAMES VAN BLARICUM        PO BOX 281                                                                                TAYLORSVILLE    IN     47280‐0281
JAMES VAN BOVEN           16 41ST ST SW                                                                             GRAND RAPIDS    MI     49548‐3136
JAMES VAN DE VELDE        48075 TONAWONDA DR                                                                        MACOMB          MI     48044‐5612
JAMES VAN DE WEGE I I I   562 CLAN ALPINE ST                                                                        PLAINWELL       MI     49080‐1016
JAMES VAN DER PLAATS
JAMES VAN DEUSEN          76 SALEM CT                                                                               HINCKLEY       OH      44233‐9679
JAMES VAN DYKE            13111 PINE MEADOW DR                                                                      FENTON         MI      48430‐9556
JAMES VAN DYKE            754 PHILLIPS AVE                                                                          CLAWSON        MI      48017‐1458
JAMES VAN GILDER          19220 SW 97TH ST                                                                          DUNNELLON      FL      34432‐4295
JAMES VAN HOOSER          10105 CLARK RD                                                                            DAVISBURG      MI      48350‐2710
JAMES VAN HORN            13870 CAMBRIDGE ST APT 221                                                                SOUTHGATE      MI      48195‐1680
JAMES VAN HORN            2828 S WHITNEY BEACH RD                                                                   BEAVERTON      MI      48612‐8200
JAMES VAN HORN SR         310 PARSHALL ST                                                                           OAKLEY         MI      48649‐2522
JAMES VAN HOVE            9630 WEBER RD                                                                             HOLLY          MI      48442‐8602
JAMES VAN LUVEN           12033 WILSON RD                                                                           OTISVILLE      MI      48463‐9700
JAMES VAN ORDEN           5657 HARVEST LN                                                                           TOLEDO         OH      43623‐1728
JAMES VAN OVERBEKE        9436 BEECHCREST ST                                                                        WHITE LAKE     MI      48386‐3206
JAMES VAN TASSAL          17733 OLD HOUSE RD                                                                        WELLSTON       MI      49689‐9796
JAMES VAN TIL             4908 TURNBACK ST                                                                          LAGO VISTA     TX      78645‐6038
JAMES VAN WICKLIN         505 LOCKE CT                                                                              BRENTWOOD      TN      37027‐5767
JAMES VANASDAL            671 N THORN DR                                                                            ANDERSON       IN      46011‐1483
JAMES VANBELLE            31 ALPINE LN                                                                              PONTIAC        MI      48340‐1200
JAMES VANBRANDT           9325 SYLVANIA PETERSBURG RD                                                               OTTAWA LAKE    MI      49267‐9757
JAMES VANBUREN            2438 GEORGETOWN AVE                                                                       TOLEDO         OH      43613‐4423
JAMES VANCE               1309 W HURD RD                                                                            CLIO           MI      48420‐1817
JAMES VANCE               3875 N 58TH BLVD                                                                          MILWAUKEE      WI      53216‐2228
JAMES VANCE               1020 BURKHARDT AVE                                                                        AKRON          OH      44301‐1543
JAMES VANCE               2539 E HIGHWOOD DR                                                                        FAIRFIELD      OH      45014‐4897
JAMES VANCE               3551 TYLERSVILLE RD APT 9A                                                                HAMILTON       OH      45011‐5570
JAMES VANCE               5929 STERLING AVE                                                                         RAYTOWN        MO      64133‐4256
JAMES VANCE               1030 ACORN BAY DR                                                                         GALLOWAY       OH      43119‐8505
JAMES VANCE               2698 GOLF RD                                                                              JOLIET         IL      60432‐0703
JAMES VANCE               621 S ADAMS ST                                                                            MC GREGOR      TX      76657‐2350
JAMES VANCIL JR           4440 WOODCLIFFE AVE                                                                       DAYTON         OH      45420‐3147
JAMES VANDECAR            2894 TOMLINSON RD                                                                         MASON          MI      48854‐9716
JAMES VANDENBOSS          499 H DR S                                                                                CLIMAX         MI      49034‐9623
JAMES VANDENDRIESSCHE     4625 N CHARLTON PARK RD                                                                   HASTINGS       MI      49058‐7703
JAMES VANDER MOLEN        2077 SANDY COVE DR                                                                        KALAMAZOO      MI      49048‐9219
JAMES VANDER WEIDE        6543 SUNFLOWER DR SW                                                                      BYRON CENTER   MI      49315‐9435
JAMES VANDERBUR           647 E 1000 N                                                                              ALEXANDRIA     IN      46001‐8480
JAMES VANDERGRIFT         4500 DENISE DR                                                                            ANDERSON       IN      46017‐9743
JAMES VANDERHONING        3900 SUMMIT CT NE                                                                         ROCKFORD       MI      49341‐9781
JAMES VANDERHOOF          PO BOX 735                                                                                SANDUSKY       OH      44871‐0735
JAMES VANDERINK           1100 THORNWOOD DR LOT 72                                                                  HEATH          OH      43056‐9511
JAMES VANDERPOOL          619 E 4TH ST                                                                              MONROE         MI      48161‐1207
JAMES VANDERPOOL          2315 PEBBLE CREEK DR                                                                      FLUSHING       MI      48433‐3504
JAMES VANDERWALL          166 PLEASANT DR                                                                           SIX LAKES      MI      48886‐9795
JAMES VANDERWERP          17188 N MOCCASIN TRL                                                                      SURPRISE       AZ      85374‐9628
JAMES VANDEVENTER         PO BOX 351                                                                                FRISCO         TX      75034‐0006
JAMES VANDEWATER JR       12165 SE 91ST AVE                                                                         SUMMERFIELD    FL      34491‐8244
JAMES VANDIVER            240 KANSAS AVE                                                                            YPSILANTI      MI      48198‐6027
JAMES VANDORPE            235 N STINE RD                                                                            CHARLOTTE      MI      48813‐8857
JAMES VANHOLDER           10970 N CHIPPEWA RD                                                                       COLEMAN        MI      48618‐9202
JAMES VANHOOSE            4929 LIBERTY AVE                                                                          LORAIN         OH      44055‐3919
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Name                      Address1                       Address2                     Address3   Address4               City             State   Zip
JAMES VANHORN             11109 IRISH RD                                                                                OTISVILLE         MI     48463‐9428
JAMES VANMEER             26236 DENNING RD                                                                              NEW BOSTON        MI     48164‐9210
JAMES VANN                5870 TEAL RD                                                                                  PETERSBURG        MI     49270‐9307
JAMES VANNATTER           7308 W 500 N                                                                                  MUNCIE            IN     47304
JAMES VANNORSDALL         38 NORDALE AVE                                                                                DAYTON            OH     45420‐1764
JAMES VANOCHTEN           10189 WEBBER RD                                                                               MUNGER            MI     48747‐9509
JAMES VANOVER             306 BOONE DR                                                                                  HARROGATE         TN     37752‐6929
JAMES VANOVER             12219 JENNINGS RD                                                                             LINDEN            MI     48451‐9477
JAMES VANSCOYOC           PO BOX 1233                                                                                   GAYLORD           MI     49734‐5233
JAMES VANSLAMBROUCK       1102 HENRY ST                                                                                 SAINT CLAIR       MI     48079‐4978
JAMES VANT
JAMES VANWINKLE           225 IDDINGS AVE SE                                                                            WARREN           OH      44483‐5915
JAMES VANWORMER           740 N JONES RD                                                                                ESSEXVILLE       MI      48732‐9687
JAMES VARGO               4431 DUNLOE CT                                                                                TOLEDO           OH      43615‐6032
JAMES VARGO               18645 SANDBORN RD                                                                             MANCHESTER       MI      48158‐9610
JAMES VARGO               BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS   OH      44236
JAMES VARION              4040 RICH DR                                                                                  WATERFORD        MI      48329‐1130
JAMES VARNADOE            175 PIRKLE RD                                                                                 GRIFFIN          GA      30223‐6288
JAMES VARNER              1411 N LOWRY AVE                                                                              SPRINGFIELD      OH      45504‐1809
JAMES VARNEY              17122 PARK AVE                                                                                RIVERVIEW        MI      48193‐4588
JAMES VASQUEZ             5212 SANDRA DR                                                                                TOLEDO           OH      43613‐2536
JAMES VASSAL              1309 BANBURY PLACE                                                                            FLINT            MI      48505‐1901
JAMES VAUGHAN             1492 E RIDGEVIEW DR                                                                           LAPEER           MI      48446‐1455
JAMES VAUGHAN             1601 CHEROKEE RD E                                                                            CROSSVILLE       TN      38572‐3434
JAMES VAUGHN              367 STEWART AVE NW                                                                            WARREN           OH      44483‐2135
JAMES VAUGHN              50606 GRIMMS BRIDGE RD                                                                        EAST LIVERPOOL   OH      43920‐9627
JAMES VAUGHN              1965 EDISON ST                                                                                DETROIT          MI      48206‐2040
JAMES VAUGHN              302 S MCLELLAN ST                                                                             BAY CITY         MI      48708‐7570
JAMES VAUGHN              G4291 FENTON RD                                                                               BURTON           MI      48529‐1908
JAMES VAUGHN              1406 BENT DR                                                                                  FLINT            MI      48504‐1925
JAMES VAUGHN              3452 E 100 S                                                                                  ANDERSON         IN      46017‐9643
JAMES VAUGHN              8149 S 100 E                                                                                  PENDLETON        IN      46064‐9330
JAMES VAUGHN JR           328 BASSLER ST                                                                                MARTINSBURG      PA      16662‐1417
JAMES VAUGHN TRUST        1006 FAIRWAY CR                                                                               JONESBORO        AR      72401
JAMES VAUGHT              BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH      44236
JAMES VAUTAW              13405 800 E                                                                                   ELWOOD           IN      46036
JAMES VEAL                5046 N JENNINGS RD                                                                            FLINT            MI      48504‐1139
JAMES VEAL                3362 CLEAR WATER DR                                                                           HAMILTON         OH      45011‐0951
JAMES VEAL                2715 R ST                                                                                     BEDFORD          IN      47421‐5319
JAMES VEAL JR             48674 RATTLE RUN DR                                                                           MACOMB           MI      48044‐2319
JAMES VEDDER              329 CHARLOTTE ST                                                                              MULLIKEN         MI      48861‐8746
JAMES VEDRODE             2285 AVON ST                                                                                  SAGINAW          MI      48602‐3813
JAMES VEGA                8097 W 200 S                                                                                  RUSSIAVILLE      IN      46979‐9732
JAMES VEITH               533 S MERIDIAN RD                                                                             HUNTINGTON       IN      46750‐9242
JAMES VELING              6595 BYRON RD                                                                                 ZEELAND          MI      49464‐9611
JAMES VENCE               6869 VIRGINIA RD                                                                              ATWATER          OH      44201‐9526
JAMES VENIA               3735 JACKMAN RD                                                                               TOLEDO           OH      43612‐1079
JAMES VENNETTI            7661 E PARKSIDE DR                                                                            BOARDMAN         OH      44512‐5309
JAMES VENS                2025 COUNTRY WAY LN                                                                           WHITE LAKE       MI      48383‐1793
JAMES VENTIMIGLIA         4640 BUNNY TRL                                                                                CANFIELD         OH      44406‐9387
JAMES VENTIMIGLIA         48492 DECLARATION DR                                                                          MACOMB           MI      48044‐1920
JAMES VENTIMIGLIA         9958 KING RD                                                                                  DAVISBURG        MI      48350‐1944
JAMES VENTURES LLC GREG   NO ADVERSE PARTY
JAMES VERDEN              1221 3RD ST                                                                                   COVINGTON         IN     47932‐1017
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Name                 Address1                      Address2                       Address3          Address4               City               State   Zip
JAMES VERNIER        9297 E LIPPINCOTT BLVD                                                                                DAVISON             MI     48423‐8331
JAMES VERNIER        8601 BRIDGE LAKE RD                                                                                   CLARKSTON           MI     48348‐2562
JAMES VERNON         2009 SAINT CHRISTOPHER WAY                                                                            ARNOLD              MO     63010‐3981
JAMES VERNON         7924 S VERNON RD                                                                                      DURAND              MI     48429‐9143
JAMES VERYSER        26051 LEHNER ST                                                                                       ROSEVILLE           MI     48066‐3172
JAMES VESSELL        1170 W DODGE RD                                                                                       CLIO                MI     48420‐1655
JAMES VEST           2300 S P ST                                                                                           ELWOOD              IN     46036‐3432
JAMES VEST           2324 S P ST                                                                                           ELWOOD              IN     46036‐3432
JAMES VESTAL         22345 MITCHEL RD                                                                                      TONGANOXIE          KS     66086‐4342
JAMES VETSCHER       210 LAKE ST E                                                                                         COLOGNE             MN     55322‐9334
JAMES VETTESE        9010 PINE COVE DR                                                                                     WHITMORE LAKE       MI     48189‐9473
JAMES VIA            25 N NORWICH RD                                                                                       TROY                OH     45373‐2435
JAMES VIANO JR       745 SABRINA DR                                                                                        BOARDMAN            OH     44512‐5325
JAMES VIANO JR       BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS          OH     44236
JAMES VIARS          PO BOX 176                                                                                            MENA                AR     71953‐0176
JAMES VICK           4332 LYNTZ RD                                                                                         WARREN              OH     44481
JAMES VICK           349 ANGIE CIR                                                                                         BENTON              LA     71006‐9484
JAMES VICKERS        1773 SANDTOWN RD SW                                                                                   MARIETTA            GA     30060‐4353
JAMES VICKERS        4716 CURRIE LAKE RD                                                                                   HARSHAW             WI     54529‐9719
JAMES VICKERS        9105 WEBSTER RD                                                                                       FREELAND            MI     48623‐9018
JAMES VICKERS        3775 MARINER ST                                                                                       WATERFORD           MI     48329‐2273
JAMES VICZAY         362 JOHNSTON PL                                                                                       POLAND              OH     44514
JAMES VIDRICKSEN     12079 N HOLLY RD                                                                                      HOLLY               MI     48442‐9498
JAMES VIELBIG        2158 NE IRWIN RD                                                                                      WEATHERBY           MO     64497‐9164
JAMES VIGGIANO       625 MALLARD CT                                                                                        AUSTINTOWN          OH     44515‐5801
JAMES VIGNERO        3350 NEWTON TOMLINSON RD SW                                                                           WARREN              OH     44481‐9218
JAMES VILLARREAL     12609 AIRPORT RD                                                                                      DEWITT              MI     48820‐9216
JAMES VINCENT        PO BOX 5243                                                                                           NEWPORT NEWS        VA     23605‐0243
JAMES VINCENT        1025 INDIAN RD                                                                                        LAPEER              MI     48446‐8050
JAMES VINCENT        1508 W BRAVO TAXIWAY STE 5                                                                            PAYSON              AZ     85541‐3572
JAMES VINCENT JR.    3762 S 200 W                                                                                          HARTFORD CITY       IN     47348‐9740
JAMES VINES          18220 LITTLEFIELD ST                                                                                  DETROIT             MI     48235‐1457
JAMES VINNAY JR      4125 POMEROY AVE                                                                                      WATERFORD           MI     48329‐2051
JAMES VINSON         563 OVERHEAD BRIDGE RD                                                                                HAMPSHIRE           TN     38461‐5139
JAMES VINSON         5 SHADOWBROOK DR                                                                                      POPLAR BLUFF        MO     63901‐8753
JAMES VINYARD        30538 MARIES ROAD 209                                                                                 VIENNA              MO     65582‐8801
JAMES VINZ           1505 BOBWHITE LN                                                                                      JANESVILLE          WI     53546‐2948
JAMES VIRAG          8425 ERICSON DR                                                                                       WILLIAMSVILLE       NY     14221‐6226
JAMES VIRGIL WELLS   NIX PATTERSON & ROACH LLP     GM BANKRUPTCY DEPARTMENT       205 LINDA DRIVE                          DAINGERFIELD        TX     75638
JAMES VISAGE JR      36701 REEVES RD                                                                                       EASTLAKE            OH     44095‐1635
JAMES VISGA          410 S ALLEN RD                                                                                        SAINT CLAIR         MI     48079‐1400
JAMES VISGAR         244 N AUSTIN RD                                                                                       JANESVILLE          WI     53548‐8667
JAMES VISNAW         9450 DENTON HILL RD                                                                                   FENTON              MI     48430‐8404
JAMES VISNY          23043 S BIG RUN DR                                                                                    FRANKFORT            IL    60423‐7952
JAMES VISSER         3000 E LAKE RD                                                                                        CLIO                MI     48420‐7907
JAMES VISZLER        29682 CANTERBURY CT                                                                                   FARMINGTON HILLS    MI     48331‐1855

JAMES VISZLER        6622 104TH ST                                                                                         HOWARD CITY        MI      49329‐9076
JAMES VITALE         7 KATHLEEN PL                                                                                         BRIDGEWATER        NJ      08807‐1815
JAMES VITEZ          686 N HAZELWOOD AVE                                                                                   YOUNGSTOWN         OH      44509‐1706
JAMES VITTONO        C/O COONEY AND CONWAY         120 NORTH LASALLE 30TH FLOOR                                            CHICAGO            IL      60602
JAMES VITULLO        3316 SUNNYBROOKE DR                                                                                   YOUNGSTOWN         OH      44511‐2828
JAMES VIZI           130 LIBERTY ST # 2                                                                                    NORTH JACKSON      OH      44451
JAMES VLADU          371 S HARRIS RD                                                                                       YPSILANTI          MI      48198‐5937
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Name                              Address1                       Address2             Address3              Address4               City              State   Zip
JAMES VODICKA                     2164 SAINT JOHN AVE                                                                              DYERSBURG          TN     38024‐2212
JAMES VOGAN                       100 NE MCALISTER RD                                                                              BURLESON           TX     76028‐2576
JAMES VOGEL                       27905 BLOSSOM LN                                                                                 NORTH OLMSTED      OH     44070‐1724
JAMES VOGEL                       3044 CREEKSIDE DR                                                                                WESTLAKE           OH     44145‐4647
JAMES VOGEL                       987 23 1/2 ST                                                                                    CHETEK             WI     54728‐9777
JAMES VOGEL                       11604 CIRCLE DR                                                                                  SUGAR CREEK        MO     64054‐1508
JAMES VOHWINKEL                   899 N STAR RD                                                                                    EAST AURORA        NY     14052‐9448
JAMES VOILES                      5008 SOUTHFIELD DR                                                                               FORT WAYNE         IN     46804‐1770
JAMES VOJIR                       6006 CHAMPAGNE SHRS                                                                              MEDINA             OH     44256‐7452
JAMES VOKOVIAK                    45 DANIEL ST SE                                                                                  KENTWOOD           MI     49548‐7611
JAMES VOLLMER                     4751 OLD SPRINGFIELD RD                                                                          VANDALIA           OH     45377‐9441
JAMES VOLPE                       97 NORTHRIDGE DR                                                                                 WEST SENECA        NY     14224‐4408
JAMES VOLTZ                       2495 WILLIAMSON RD                                                                               SAGINAW            MI     48601‐5228
JAMES VON INS                     380 E ASH ST                                                                                     GLADWIN            MI     48624‐8322
JAMES VONDRAN                     11500 JOHNS LANDING RD                                                                           CARLTON            OR     97111‐9634
JAMES VORHEES                     3833 KAELEAF RD                                                                                  LAKE ORION         MI     48360‐2619
JAMES VOSICKY                     2231 S 11TH AVE                                                                                  NORTH RIVERSIDE     IL    60546‐1122
JAMES VRABLE                      6225 CHESANING RD                                                                                CHESANING          MI     48616‐9464
JAMES VRANICH                     41807 N CLUB POINTE DR                                                                           ANTHEM             AZ     85086‐1994
JAMES VROMAN                      4021 SPRING HUE LN                                                                               DAVISON            MI     48423‐8900
JAMES VUILLEMOT                   7488 JENNINGS RD                                                                                 SWARTZ CREEK       MI     48473‐8865
JAMES VUNCANNON                   1053 PAUL ST                                                                                     MOUNT MORRIS       MI     48458‐1112
JAMES VURPILLAT                   87 STANTON LN                                                                                    GROSSE POINTE      MI     48236‐3743
                                                                                                                                   FARMS
JAMES W & HARRIETTE A SALLEY      3724 MILAM ROAD                                                                                  BATES CITY        MO      64011‐8278
JAMES W & HARRIETTE SALLEY        3724 MILAM ROAD                                                                                  BATES CITY        MO      64011‐8278
JAMES W ADKINS                    3536 CLAWSON AVE                                                                                 TOLEDO            OH      43623‐3906
JAMES W ADKISON                   PO BOX 163                                                                                       BLANCHARD         LA      71009‐0163
JAMES W ALBERT                    6376 JORDAN RD                                                                                   LEWISBURG         OH      45338
JAMES W AND KATHLEEN BASSETT      JAMES W BASSETT                KATHLEEN BASSETT     11521 VERSAILLES LN                          PORT RICHEY       FL      34668
JAMES W ANDERSON                  18938 AYRSHIRE CIR                                                                               PORT CHARLOTTE    FL      33948‐9673
JAMES W APPERSON SR               100 OAKMONT DR                                                                                   MADISON           MS      39110
JAMES W ARMSTRONG                 717 SUFFOLK DR                                                                                   JANESVILLE        WI      53546
JAMES W BACH                      432 DELLWOOD AVENUE                                                                              DAYTON            OH      45419‐3525
JAMES W BAKER                     180 JOLLY CREEK RD.                                                                              BRYDSTOWN         TN      38549‐4762
JAMES W BENNING                   100 12TH AVE NW                                                                                  NEW BRIGHTON      MN      55112
JAMES W BENSON                    8365 JAMAICA                                                                                     GERMANTOWN        OH      45327‐‐ 87
JAMES W BENSON II                 102 REDWOOD AVE                                                                                  DAYTON            OH      45405
JAMES W BERGEY                    401 16TH AVE                                                                                     BETHLEHEM         PA      18018
JAMES W BERST                     1945 SCOTTSVILLE RD            STE B2                                                            BOWLING GREEN     KY      42104‐5836
JAMES W BLACK                     116 E BEECHWOOD AVE                                                                              DAYTON            OH      45405
JAMES W BLACKSHEAR                253 POTOMAC                                                                                      YOUNGSTOWN        OH      44507‐‐ 19
JAMES W BLANKENSHIP               195 ETHELROB CIRCLE                                                                              CARLISLE          OH      45005
JAMES W BOND                      5803 BEECHAM DR                                                                                  HUBER HEIGHTS     OH      45424
JAMES W BRIGGS                    201 GORDON AVE                                                                                   MATTYDALE         NY      13211‐1819
JAMES W BRITTON                   MOTLEY RICE LLC                28 BRIDGESIDE BLVD   PO BOX 1792                                  MT PLEASANT       SC      29465
JAMES W BROCK                     70 MEAKER LANE                                                                                   WINCHESTER        TN      37398
JAMES W BROWN                     295 ESSEX DR                                                                                     TIPP CITY         OH      45371‐2237
JAMES W BROWN                     307 WAYNE ST APT 2                                                                               SAGINAW           MI      48602‐1400
JAMES W BULEMORE                  1057 LESTER AVE                                                                                  YPSILANTI         MI      48198‐6435
JAMES W BULLINGTON                4818 DEER LODGE RD                                                                               NEW PT RICHEY     FL      34655‐4348
JAMES W BURLEY                    850 LINDBERG AVE. #V2                                                                            JACKSON           MS      39209‐6036
JAMES W BUTCHER                   713 FOSTER STREET                                                                                FRANKLIN          OH      45005‐2143
JAMES W BYE AND LINDA BY JTWROS   PO BOX 306                                                                                       ENGLISH           IN      47118‐0306
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Name                   Address1                         Address2                     Address3                   Address4               City             State   Zip
JAMES W CAHILL         323 LONGBOW DRIVE                                                                                               FRANKLIN LAKES    NJ     07417‐2124
JAMES W CALDWELL       4091 WHITE OAK RD                                                                                               LONDON            KY     40741
JAMES W CARROLL        GLASSER AND GLASSER              CROWN CENTER                 580 EAST MAIN ST STE 600                          NORFOLK           VA     23510
JAMES W CLAYTON        457 WOLF RD                                                                                                     WEST ALEX         OH     45381
JAMES W CLAYTON JR     8500 PIQUA‐LOCKINGTON RD.                                                                                       PIQUA             OH     45355
JAMES W COLE           7 E COACH LANE                                                                                                  MT LAUREL         NJ     08054
JAMES W COLEMAN JR     2876 ASPEN WOODS ENTRY                                                                                          ATLANTA           GA     30360‐2727
JAMES W COMER          1403 CLARK ST.                                                                                                  NILES             OH     44446‐3837
JAMES W CONNER         2533 MONTBELLO CIRCLE                                                                                           KETTERING         OH     45440‐2352
JAMES W COUNTRYMAN     3103 SHADOW HILL ROAD                                                                                           MIDDLETOWN        OH     45042‐3635
JAMES W CRAIN          148 S WESTVIEW AVE                                                                                              DAYTON            OH     45403
JAMES W DANIEL         454 ABERNATHY RD                                                                                                FLORA             MS     39071
JAMES W DEARING        90 TRUMAN AVE                                                                                                   FAIRBORN          OH     45324‐2234
JAMES W DILL           840 COTTAGE AVE                                                                                                 MIAMISBURG        OH     45342‐1804
JAMES W DRISKILL       923 OAKVIEW AVE                                                                                                 GADSDEN           AL     35901‐5138
JAMES W DUNLAP         9620 SHAWNEE TRAIL                                                                                              CENTERVILLE       OH     45458‐4058
JAMES W DUSHANE JR     10337 MEADOWVIEW DR                                                                                             KEITHVILLE        LA     71047‐9561
JAMES W ELY            22 DIANA DR                                                                                                     SCOTTSVILLE       NY     14546‐1253
JAMES W EMMONS         3861 HAMMOND BLVD                                                                                               HAMILTON          OH     45015‐2133
JAMES W EVERDING       9301 DAYTON GREENVILLE PIKE                                                                                     BROOKVILLE        OH     45309‐9229
JAMES W FREER          260 MIDLAND AVENUE                                                                                              SOUTH AMBOY       NJ     08879‐2505
JAMES W FUREY          7008 BEAR RIDGE RD                                                                                              NO TONAWANDA      NY     14120‐9583
JAMES W GABLE          10007 OLD 3C HIGHWAY                                                                                            CLARKSVILLE       OH     45113
JAMES W GIBBONS        524 WATERVLIET AVE               #B                                                                             DAYTON            OH     45420
JAMES W GOERTEMILLER   34 TERRACE PARK BLVD                                                                                            BROOKVILLE        OH     45309‐1630
JAMES W GOULDER        56811 FOXCROFT CT                                                                                               SHELBY TWP        MI     48316‐4818
JAMES W GRAVES         2104 GALEWOOD AVE SW                                                                                            WYOMING           MI     49509‐1910
JAMES W GREGORY        2942 CUNNINGTON LN                                                                                              KETTERING         OH     45420‐3835
JAMES W HAGGERTY       4307 FOXTON CT.                                                                                                 DAYTON            OH     45414‐3930
JAMES W HALE           7634 OLD STAGE RD                                                                                               WAYNESVILLE       OH     45068
JAMES W HALL           4152 PENNYWOOD DR                                                                                               BEAVERCREEK       OH     45430‐1803
JAMES W HALVERSON      408 HIGHWAY ST                                                                                                  EDGERTON          WI     53534‐1906
JAMES W HAMILTON       7758 BROOKVILLE‐SALEM RD.                                                                                       BROOKVILLE        OH     45309‐9205
JAMES W HAMM SR        7805 PENCE ROAD                                                                                                 HILLSBORO         OH     45133
JAMES W HARLAN         5854 NORTH HIGHWAY 45            P O BOX # 133                                                                  BETHEL SPRINGS    TN     38315‐3542
JAMES W HARRIS, JR     LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET     22ND FLOOR                                        BALTIMORE         MD     21201
JAMES W HARTMAN        152 CENTER ST. WEST                                                                                             WARREN            OH     44481‐9313
JAMES W HARVELL        2689 TRACY RD                                                                                                   ATOKA             TN     38004‐7239
JAMES W HARVELL        2689 TRACY ROAD                                                                                                 ATOKA             TN     38004‐7239
JAMES W HASTINGS       328 HASTINGS TR                                                                                                 NORFORK           AR     72658‐‐ 89
JAMES W HASTINGS JR    15124 HAMLIN AVE                                                                                                MIDLOTHIAN         IL    60445
JAMES W HERRING        853 HWY 550 NW                                                                                                  BROOK HAVEN       MS     39601
JAMES W HOLCOMB        2401 LOOP ROAD                                                                                                  TUSCALOOSA        AL     35405‐2028
JAMES W HOLCOMB        2401 LOOP RD                                                                                                    TUSCALOOSA        AL     35405‐2028
JAMES W HOLT           906 COTTINGHAM DR                                                                                               MAINVILLE         OH     45039‐9685
JAMES W HOSKINS        1500 WOLF CREEK RD                                                                                              WILLIAMSBURG      KY     40769‐9709
JAMES W HOWARD         1321 SANLOR AVE                                                                                                 WEST MILTON       OH     45383‐1251
JAMES W HUDSON         C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY, STE 600                                                     HOUSTON           TX     77007
                       BOUNDAS, LLP
JAMES W HUNTER         5482 FAIRFORD CT                                                                                                DAYTON           OH      45414
JAMES W IRVIN          2180 E STATE ROUTE 55                                                                                           TROY             OH      45373
JAMES W JEANNETTE      301 LOCKERBIE ST                                                                                                MOORESVILLE      IN      46158‐1717
JAMES W JENKINS        10114 WOOD TRAIL                                                                                                SAN ANTONIO      TX      78250
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Name                                   Address1                          Address2                     Address3   Address4               City                 State Zip
JAMES W JENKINS & VERA E JENKINS TEN   85382 HWY 25                                                                                     FRANKLINTON           LA 70438‐4626
IN COMMON
JAMES W JOYNT                          106 MEDFORD RD                                                                                   SYRACUSE             NY   13211‐1828
JAMES W KAZMIRSKI                      509 BREMAN AVE                                                                                   SYRACUSE             NY   13211‐1229
JAMES W KHOENLE                        37326 TURNER DR                                                                                  UMATILLA             FL   32784‐9229
JAMES W KINDALL                        PO BOX 970932                                                                                    YPSILANTI            MI   48197‐0816
JAMES W KING                           547 N UNION RD                                                                                   DAYTON               OH   45427‐1516
JAMES W KLEIN                          9239 HERITAGE GLEN DR                                                                            MIAMISBURG           OH   45342‐7411
JAMES W LESPERANCE                     822 NORTHSHORE DR                                                                                SAINT CLAIR SHORES   MI   48080‐2830

JAMES W LOWE                           5654 ENRIGHT AVE                                                                                 RIVERSIDE            OH   45431
JAMES W LYONS                          1027 N DAVIS                                                                                     HELENA               MT   59601
JAMES W MANOS                          3507 KATHLEEN AVE. B                                                                             DAYTON               OH   45405‐2527
JAMES W MARLING                        17770 SE 86TH OAK LEAF TERRANCE                                                                  THE VILLAGES         FL   32162‐4833
JAMES W MARSHALL                       N 9462 STATE HWY 102                                                                             RIB LAKE             WI   54470‐9419
JAMES W MARTIN                         5161 LEE STREET                                                                                  ALBANY               OH   45710
JAMES W MASHBURN I V                   1808 NORTHWOOD DR                                                                                ALBANY               GA   31721‐2169
JAMES W MASLUK                         125 ASPEN DR NW                                                                                  CHAMPION             OH   44483
JAMES W MC CRAE                        1176 LOWER FERRY RD                                                                              EWING                NJ   08618‐1832
JAMES W MCCLEE                         1709 DOVER CT                                                                                    YPSILANTI            MI   48198‐3214
JAMES W MCCRAE                         1176 LOWER FERRY RD                                                                              EWING                NJ   08618‐1832
JAMES W MCKENZIE                       PO BOX 4932                                                                                      EAST LANSING         MI   48826‐4932
JAMES W MCLERNON                       3510 SE CAMBRIDGE DR                                                                             STUART               FL   34997
JAMES W MERRITT                        2698 CAMINO PL E                                                                                 KETTERING            OH   45420‐3904
JAMES W MIFFLIN                        113 MARCO LN                                                                                     CENTERVILLE          OH   45458
JAMES W MILLER                         2731 LATONIA AVE                                                                                 DAYTON               OH   45439‐2924
JAMES W MILLER                         C/O WILLIAMS KHERKHER HART AND    8441 GULF FREEWAY, STE 600                                     HOUSTON              TX   77007
                                       BOUNDAS, LLP
JAMES W MISNER                         4201 S LEONARD SPRINGS RD                                                                        BLOOMINGTON          IN   47403‐4039
JAMES W MITCHELL                       127 S. SPRING ST.                                                                                WILMINGTON           OH   45177‐2223
JAMES W NEFF                           404 WILLIAMS AVENUE                                                                              RAINBOW CITY         AL   35906‐6554
JAMES W NIGHSWANDER                    2905 RIDGE AVE SE                                                                                WARREN               OH   44484‐3247
JAMES W NILSSON                        8645 RACHAEL DR                                                                                  DAVISBURG            MI   48350‐1722
JAMES W OLIVER                         3040 WILLOWBROOK WAY                                                                             BEAVERCREEK          OH   45431
JAMES W OWENS                          18044 FREELAND                                                                                   DETROIT              MI   48235‐2571
JAMES W OWENS                          704 VERMONT ST                                                                                   SAGINAW              MI   48602‐1374
JAMES W PALMER, JR                     C/O WILLIAMS KHERKER HART &       8441 GULF FREEWAY, STE 600                                     HOUSTON              TX   77007
                                       BOUNDAS, LLP
JAMES W PATRICK                        PO BOX 171                                                                                       STOCKBRIDGE          MI   49285‐0171
JAMES W PATTERSON                      1649 E DOROTHY LANE APT 19                                                                       DAYTON               OH   45429‐3834
JAMES W PETTIE                         81 KIRK RD                                                                                       ROCHESTER            NY   14612‐3301
JAMES W PFISTER                        10830 S SACRAMENTO AVE                                                                           MERRIONETTE PARK     IL   60655‐‐ 21

JAMES W REBMAN                         PO BOX 679                                                                                       PENNS GROVE          NJ   08069‐0679
JAMES W REDDEN                         16 SUMMERVILLE DR                                                                                ROCHESTER            NY   14617‐1131
JAMES W RHODES                         5430 RAWLINGS DR                                                                                 DAYTON               OH   45432‐3624
JAMES W RICHARD                        1555 BEASLEY ROAD                                                                                JACKSON              MS   39206‐2022
JAMES W RICHARDS                       114 OAKTREE LANE SE                                                                              WARREN               OH   44484‐5612
JAMES W RICHARDS                       P. O. BOX 8                                                                                      GRIMSLEY             TN   38565‐0008
JAMES W RIDDELL                        5268 MANCHESTER RD                                                                               DAYTON               OH   45449‐1935
JAMES W RILEY TRUST                    JAMES W RILEY TTEE                5189 W ELLSWORTH RD                                            ANN ARBOR            MI   48103
JAMES W ROAN                           888 BARNETT CH RD                                                                                HARTSELLE            AL   35640
JAMES W ROECKNER                       3201 BEAVER AVE                                                                                  KETTERING            OH   45429‐4055
JAMES W ROHR                           869 POOL AVE                                                                                     VANDALIA             OH   45377‐1418
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Name                                    Address1                       Address2                       Address3                    Address4               City            State   Zip
JAMES W SALTERS                         851 BELLOWS DR                                                                                                   NEW CARLISLE     OH     45344
JAMES W SATTERFIELD                     1700 HIGHLAND WAY APTC                                                                                           BOWLING GREEN    KY     42104
JAMES W SHAW                            30 E. SHANNON AVE                                                                                                W. CARROLLTON    OH     45449‐1230
JAMES W SHAW                            P. O. BOX 26031                                                                                                  TROTWOOD         OH     45426
JAMES W SHORT                           21 RANSOM ST                                                                                                     N TONAWANDA      NY     14120‐7326
JAMES W SIEFKES                         2837 SPAULDING AVE                                                                                               JANESVILLE       WI     53546‐1169
JAMES W SISCO                           359 FLORENCE AVENUE                                                                                              FAIRBORN         OH     45324‐4341
JAMES W SMALLEY                         PO BOX 263                                                                                                       WASHINGTON       OH     43160‐0263
                                                                                                                                                         COURT HOUSE
JAMES W SMITH                           PO BOX 94                                                                                                        SYRACUSE        NY      13211‐0094
JAMES W SMITH                           202B LAKE AVE                                                                                                    HILTON          NY      14468‐1103
JAMES W SMITH                           209 ELMHURST RD.                                                                                                 DAYTON          OH      45417‐1420
JAMES W SPANGLER                        6501 GERMANTOWN RD. LOT 43                                                                                       MIDDLETOWN      OH      45042‐1264
JAMES W SPENCER                         2949 N ST RT #48                                                                                                 LEBANON         OH      45036‐2417
JAMES W STEMPLE                         6251 OLD DOMINION DR APT 109                                                                                     MC LEAN         VA      22101‐4804
JAMES W STEMPLE REV TRUST               ATTN JAMES W STEMPLE           6521 OLD DOMINION DR APT 109                                                      MC LEAN         VA      22101‐4804
JAMES W STEPHENSON                      N64W24174 IVY AVE                                                                                                SUSSEX          WI      53089
JAMES W STOVER                          PO BOX 576                                                                                                       CARLSBORG       WA      98324
JAMES W STUART, JR.                     2096 ORR ROAD                                                                                                    CUMMING         GA      30041‐6866
JAMES W TANERI JR.                      1326 OLD FORGE RD                                                                                                NILES           OH      44446‐3240
JAMES W TAYLOR                          202 PARK AVE                                                                                                     HOLLY           MI      48442‐1424
JAMES W TIRRELL                         3865 S 176TH                                                                                                     SEATTLE         WA      98188
JAMES W UNDERWOOD                       1309 FALKE DR                                                                                                    DAYTON          OH      45432‐3115
JAMES W WARD                            101 HIGHLAWN AVE                                                                                                 MORROW          OH      45152‐1007
JAMES W WEBB JR
JAMES W WHITE                           7420 HARDY AVE                                                                                                   RAYTOWN         MO      64133‐6728
JAMES W WOLF                            SARAH B WOLF                   2007 CLINTON ST                                                                   ROCKFORD        IL      61103‐4809
JAMES W YOUNG                           103 GILBERT AVE                                                                                                  TERRE HAUTE     IN      47807‐4023
JAMES W YOUNG                           PO BOX 221                                                                                                       MATTHEWS        MO      63867
JAMES W YOUNG                           10301 COMANCHE                                                                                                   RIVERSIDE       CA      92503‐5349
JAMES W. GIDDENS, AS TRUSTEE FOR SIPA   HUGHES HUBBARD & REED LLP      ONE BATTERY PARK PLAZA                                                            NEW YORK        NY      10004
LIQUID. OF LEHMAN BROS.
JAMES W. LOVELL                         ATTN: E. TODD TRACY            THE TRACY FIRM                 5473 BLAIR RD., SUITE 200                          DALLAS          TX      75231
JAMES WAACK                             455 SE FALLON DR                                                                                                 PORT ST LUCIE   FL      34983‐2634
JAMES WABLE                             3318 A ST                                                                                                        NIAGARA FALLS   NY      14303‐2101
JAMES WACLAWIK                          1588 BIRCHWOOD CIR                                                                                               FRANKLIN        TN      37064‐6871
JAMES WADDELL                           5481 MAYFAIR CROSSING DR                                                                                         LITHONIA        GA      30038‐1184
JAMES WADDELL                           2101 MUD TAVERN RD SW                                                                                            DECATUR         AL      35603‐3409
JAMES WADDY                             3913 SOUTHERN CROSS DR                                                                                           BALTIMORE       MD      21207‐6428
JAMES WADE                              2909 CHEYENNE AVE                                                                                                FLINT           MI      48507‐1964
JAMES WADE                              6307 BARKER DR                                                                                                   WATERFORD       MI      48329‐3111
JAMES WADE                              2723 HARTWICK PINES DR                                                                                           HENDERSON       NV      89052‐7000
JAMES WADE                              2005 NUGENT DR                                                                                                   MANSFIELD       TX      76063‐5129
JAMES WADE                              82 S SHIRLEY ST                                                                                                  PONTIAC         MI      48342‐2848
JAMES WADE                              2921 SW 39TH ST                                                                                                  CAPE CORAL      FL      33914‐4895
JAMES WADE                              752 S PIONEER RD                                                                                                 BEULAH          MI      49617‐9441
JAMES WADE                              1989 CORTLAND ST                                                                                                 DETROIT         MI      48206‐1225
JAMES WADE                              4094 KLEIN AVE                                                                                                   STOW            OH      44224‐2727
JAMES WADE JR                           3333 N CLARWIN AVE                                                                                               GLADWIN         MI      48624‐9521
JAMES WAGAR                             107 NEWCASTLE ST                                                                                                 VICTORIA        TX      77905‐5425
JAMES WAGENHOFFER                       219 S STILES ST                                                                                                  LINDEN          NJ      07036‐4344
JAMES WAGERS                            PO BOX 751231                                                                                                    DAYTON          OH      45475‐1231
JAMES WAGNER                            8735 WAR BONNET DR                                                                                               COMMERCE TWP    MI      48382‐3441
JAMES WAGNER                            9720 SILICA SAND RD                                                                                              GARRETTSVILLE   OH      44231‐9016
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Name                Address1                       Address2                  Address3   Address4               City             State   Zip
JAMES WAGNER        18040 KALVIN DR                                                                            BROOK PARK        OH     44142‐3462
JAMES WAGNER        6208 ROYALTON CENTER RD                                                                    AKRON             NY     14001‐9006
JAMES WAGNER        6718 SIERRA TERRACE                                                                        NEW PRT RCHY      FL     34652‐1569
JAMES WAGNER        24080 DEFIANCE PIKE                                                                        CUSTAR            OH     43511‐9736
JAMES WAGNER        8780 WISE RD                                                                               COMMERCE TWP      MI     48382‐3313
JAMES WAGNER        2994 CADILLAC DR                                                                           BAY CITY          MI     48706‐3102
JAMES WAGNER        19903 E STREET RD                                                                          NEW LOTHROP       MI     48460‐9611
JAMES WAGNER        1619 GILBERT ST                                                                            SAGINAW           MI     48602‐1030
JAMES WAIBEL        205 E ERICKSON RD                                                                          PINCONNING        MI     48650‐9457
JAMES WAITES        4737 W REGENT ST                                                                           INDIANAPOLIS      IN     46241‐4741
JAMES WAITES JR     705 S MCCANN ST                                                                            KOKOMO            IN     46901‐6325
JAMES WAITS         3917 GREENBUSH EAST RD                                                                     MOUNT ORAB        OH     45154‐9742
JAMES WAKEFIELD     2967 S SUNNY BEACH ST                                                                      BAY CITY          MI     48706‐1926
JAMES WAKEFORD      3864 CEDAR LOOP                                                                            CLARKSTON         MI     48348‐1412
JAMES WAKELY JR     9660 GRANDMONT AVE                                                                         DETROIT           MI     48227‐1073
JAMES WALCZAK       4050 ALLEN CT                                                                              BAY CITY          MI     48706‐2464
JAMES WALDECKER     13151 IRENE ST                                                                             SOUTHGATE         MI     48195‐1853
JAMES WALDEN        1422 LAKES BLVD APT D302                                                                   COLUMBIA          TN     38401‐4696
JAMES WALDEN        1824 N 1100 E                                                                              MARION            IN     46952‐6609
JAMES WALDEN        163 WESTON AVE                                                                             BUFFALO           NY     14215‐3538
JAMES WALDEN        10141 CARPENTER RD                                                                         FLUSHING          MI     48433‐1047
JAMES WALDEN        14505 E KENTUCKY RD                                                                        INDEPENDENCE      MO     64050‐1359
JAMES WALDEN        1982 WHITE POND DR APT 2                                                                   AKRON             OH     44313‐7265
JAMES WALDEN        2569 MARCHAR DR                                                                            WOLVERINE LAKE    MI     48390‐2036
JAMES WALDEN        BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PKWY                                     BOSTON HEIGHTS    OH     44236
JAMES WALDEN I I    3835 PORTRUSH WAY                                                                          AMELIA            OH     45102‐2374
JAMES WALDER        350 BELMONT AVE                                                                            KENMORE           NY     14223‐1519
JAMES WALDO         42908 WOODHILL DR                                                                          ELYRIA            OH     44035‐2055
JAMES WALDO         47 W BURDICK ST                                                                            OXFORD            MI     48371‐4610
JAMES WALDON        6826 ORANGE LN                                                                             FLINT             MI     48505‐1943
JAMES WALDREP       10 HIGHLAND ST                                                                             GAINESVILLE       GA     30501‐8927
JAMES WALDREP       1720 LAKE POINTE DR SW                                                                     DECATUR           AL     35603‐4448
JAMES WALDRON       3624 BROKEN ARROW                                                                          SEBRING           FL     33872‐9251
JAMES WALDRON JR    25977 WATSON RD                                                                            DEFIANCE          OH     43512‐8731
JAMES WALDROP JR.   13335 KERR ST                                                                              SOUTHGATE         MI     48195‐1107
JAMES WALEK         154 FOX RUN RD                                                                             CELINA            TN     38551
JAMES WALENCZAK     2634 INVITATIONAL DR                                                                       OAKLAND           MI     48363‐2455
JAMES WALEND        48411 N RIDGE RD                                                                           AMHERST           OH     44001‐9644
JAMES WALENGA       5126 DEEP POINT DR                                                                         PORTAGE           MI     49002‐5920
JAMES WALK          10741 HIGHWAY C                                                                            LINCOLN           MO     65338‐2254
JAMES WALKER        164 S MARSHALL ST                                                                          PONTIAC           MI     48342‐3242
JAMES WALKER        10505 SOMERSET AVE                                                                         DETROIT           MI     48224‐1731
JAMES WALKER        47688 NOLA DR                                                                              MACOMB            MI     48044‐2691
JAMES WALKER        94 CASTLE RD                   P.O. BOX 92396                                              ROCHESTER         NY     14623‐4018
JAMES WALKER        7224 W MARKET ST LOT 108                                                                   MERCER            PA     16137‐6653
JAMES WALKER        126 VICTORY ST                                                                             ROSELLE           NJ     07203‐2628
JAMES WALKER        500 CASS PINE LOG RD                                                                       RYDAL             GA     30171‐1401
JAMES WALKER        12387 BRISTOL RD                                                                           LENNON            MI     48449‐9417
JAMES WALKER        1619 SHERIDAN ST                                                                           ANDERSON          IN     46016‐3545
JAMES WALKER        823 MARVEL AVE                                                                             CLAYMONT          DE     19703‐1010
JAMES WALKER        4233 HIGHWAY 503                                                                           ROSE HILL         MS     39356‐5266
JAMES WALKER        5320 MARY SUE AVE                                                                          CLARKSTON         MI     48346‐3928
JAMES WALKER        4583 CORDELL DR                                                                            DAYTON            OH     45439‐3062
JAMES WALKER        70 LINE DR                                                                                 HARTSELLE         AL     35640‐7241
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Name                         Address1                       Address2                         Address3   Address4                  City              State   Zip
JAMES WALKER                 13919 INDIANA ST                                                                                     DETROIT            MI     48238‐2309
JAMES WALKER                 7505 US 287 HWY                                                                                      ARLINGTON          TX     76001‐6959
JAMES WALKER                 1805 ARBOR LANE                APT 105C                                                              CREST HILL          IL    60403
JAMES WALKER                 1285 NEILSON RD                                                                                      STEENS             MS     39766‐9677
JAMES WALKER                 HC 1 BOX 64                                                                                          EMINENCE           MO     65466‐9704
JAMES WALKER                 322 STATE ST                                                                                         BOWLING GREEN      KY     42101‐1239
JAMES WALKER                 18246 MACARTHUR                                                                                      REDFORD            MI     48240‐1945
JAMES WALKER                 1221 DUFRAIN AVE                                                                                     PONTIAC            MI     48342‐1932
JAMES WALKER                 1001 DELL AVE                                                                                        FLINT              MI     48507‐2850
JAMES WALKER                 738 QUINLAN DR                                                                                       WILLIAMSTON        MI     48895‐1069
JAMES WALKER                 2764 DEERFIELD RUN BLVD                                                                              ANDERSON           IN     46017‐9336
JAMES WALKER                 6660 TEETERS LN                                                                                      MARTINSVILLE       IN     46151‐9103
JAMES WALKER                 4335 WYATT RD                                                                                        CLEVELAND          OH     44128‐3374
JAMES WALKER                 260 RHINE DR                                                                                         ALPHARETTA         GA     30022‐6806
JAMES WALKER JR              236 FREEPORT RD                                                                                      NEW KENSINGTON     PA     15068‐5421
JAMES WALL                   5140 W HERBISON RD                                                                                   DEWITT             MI     48820‐7893
JAMES WALL                   9450 WILSON RD                                                                                       EATON RAPIDS       MI     48827‐9523
JAMES WALLA                  2727 SUNSWEPT DR                                                                                     SAINT CHARLES      MO     63303‐5062
JAMES WALLACE                1859 COUNTRYSIDE DR                                                                                  AUSTINTOWN         OH     44515‐5572
JAMES WALLACE                1072 HUNTER CT                                                                                       MILFORD            MI     48381‐3179
JAMES WALLACE                3688 WALES DR                                                                                        DAYTON             OH     45405‐1845
JAMES WALLACE                11646 FREDRICK RD                                                                                    VANDALIA           OH     45377
JAMES WALLACE                2710 ALPHA WAY                                                                                       FLINT              MI     48506‐1833
JAMES WALLACE                PO BOX 267                                                                                           WINTER             WI     54896‐0267
JAMES WALLACE                102 NORTH ST                                                                                         YALE               MI     48097‐2952
JAMES WALLACE                2370 RASCALS ROOST                                                                                   BLAIRSVILLE        GA     30512‐3809
JAMES WALLACE                3414 CANADAY DR                                                                                      ANDERSON           IN     46013‐2217
JAMES WALLACE                840 ROOSEVELT ST                                                                                     ARLINGTON          TX     76011‐5818
JAMES WALLACE                PO BOX 494                                                                                           SUMMIT              IL    60501‐0494
JAMES WALLACE                10143 HAWTHORNE LN                                                                                   CANADIAN LAKES     MI     49346‐8807
JAMES WALLACE                2598 PINEVIEW                                                                                        W BLOOMFIELD       MI     48324‐1970
JAMES WALLACE JR             3075 HONOR DR                                                                                        ROCHESTER HILLS    MI     48309‐4013
JAMES WALLE                  2576 HAVERFORD DR                                                                                    TROY               MI     48098‐2334
JAMES WALLEN                 9058 N RAIDER RD                                                                                     MIDDLETOWN         IN     47356‐9327
JAMES WALLEN                 10642 HORSESHOE RD                                                                                   LYNCHBURG          OH     45142‐9443
JAMES WALLER JR              13573 WISCONSIN ST                                                                                   DETROIT            MI     48238‐2356
JAMES WALLEY                 27545 W PORTO LN                                                                                     CHANNAHON           IL    60410‐5702
JAMES WALLIS                 167 ALBERTA ST                                                                                       AUBURN HILLS       MI     48326‐1103
JAMES WALLS                  18653 STOEPEL ST                                                                                     DETROIT            MI     48221‐2250
JAMES WALLS                  7152 JORDAN RD                                                                                       GRAND BLANC        MI     48439‐9760
JAMES WALLS                  PO BOX 52                      4224 BAZA                                                             LEONARD            MI     48367‐0052
JAMES WALMSLEY               PO BOX 174                                                                                           ATLAS              MI     48411‐0174
JAMES WALRAVEN JR            3508 WINDFIELD TER                                                                                   MONROE             GA     30655‐8516
JAMES WALSH                  11706 GILDAS RD                                                                                      ALDEN              MI     49612‐9748
JAMES WALSH                  117 REMINGTON WOODS DR                                                                               WAKE FOREST        NC     27587‐2165
JAMES WALSH SALES LTD.       163 MAIN ST. P O BOX 119                                                   AILSA CRAIG ON N0M 1A0
                                                                                                        CANADA
JAMES WALSINGHAM             1810 MOUNT ZION RD                                                                                   OXFORD            GA      30054‐2623
JAMES WALTER                 4209 WINCREST LN                                                                                     ROCHESTER         MI      48306‐4772
JAMES WALTER                 1126 ANGEL FIRE LN                                                                                   ARLINGTON         TX      76001‐7897
JAMES WALTER                 BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS        OH      44236
JAMES WALTER (445469)        BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD        OH      44067
                                                            PROFESSIONAL BLDG
JAMES WALTER L SR (508101)   SUTTER & ENSLEIN               1598 KANAWHA BLVD EAST , SUITE                                        CHARLESTON        WV      25311
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Name                    Address1                         Address2            Address3       Address4               City              State   Zip
JAMES WALTER LOCKHART   FOSTER & SEAR, LLP               817 GREENVIEW DR.                                         GRAND PRAIRIE      TX     75050
JAMES WALTER PHIPPS     FOSTER & SEAR, LLP               817 GREENVIEW DR.                                         GRAND PRAIRIE      TX     75050
JAMES WALTERS           526 TENNYSON                                                                               ROCHESTER HILLS    MI     48307‐4245
JAMES WALTERS           10542 TAMRYN BLVD                                                                          HOLLY              MI     48442‐8571
JAMES WALTERS           313 BROWN BOTTOM LN                                                                        CEDAR BLUFF        VA     24609‐8937
JAMES WALTERS           328 PEARHILL DR                                                                            DAYTON             OH     45449‐1549
JAMES WALTERS           2752 TRIBBLE ROAD                                                                          FORT VALLEY        GA     31030‐8571
JAMES WALTERS           2552 NE TURNER AVE LOT 11                                                                  ARCADIA            FL     34266
JAMES WALTON            12490 SILVER CREEK CT                                                                      CLIO               MI     48420‐8872
JAMES WALTON            19494 NEWTON AVE                                                                           STILWELL           KS     66085‐9546
JAMES WALTON            7556 S WENTWORTH AVE                                                                       CHICAGO             IL    60620‐1030
JAMES WALTON            1174 OLD STATE ROAD 46                                                                     NASHVILLE          IN     47448‐9211
JAMES WALTON            1448 KETTERING ST                                                                          BURTON             MI     48509‐2406
JAMES WALTON            10372 FOREST BROOK LN APT C                                                                SAINT LOUIS        MO     63146‐5836
JAMES WALTON, JR.       1004 HEATHWOOD DR                                                                          ENGLEWOOD          OH     45322
JAMES WALTZ             590 CENTENNIAL RD                                                                          MARTINSVILLE       IN     46151‐9011
JAMES WALWORTH          301 ARTHUR ST P O 137                                                                      PINCONNING         MI     48650
JAMES WALZ              1304 CARTER ROAD                                                                           MIDLAND            MI     48642‐9621
JAMES WANDEL            12770 PRINE RD                                                                             SPRINGPORT         MI     49284‐9729
JAMES WANG              2073 CONNOLLY DR                                                                           TROY               MI     48098‐2417
JAMES WANG              3833 RIVERVIEW AVE                                                                         EL MONTE           CA     91731‐1921
JAMES WANGELIN          3812 POINTE TREMBLE RD TRLR 14                                                             ALGONAC            MI     48001‐4805
JAMES WANSLEY           221 ROBERTS ST                                                                             BUFORD             GA     30518‐2519
JAMES WARD              39876 WOODSIDE DR S                                                                        NORTHVILLE         MI     48168‐3425
JAMES WARD              28161 GRAHAM DR                                                                            CHESTERFIELD       MI     48047‐4822
JAMES WARD              44 LAKE DR                                                                                 HOWELL             NJ     07731‐1508
JAMES WARD              137 FROST AVE                                                                              ROCHESTER          NY     14608‐2520
JAMES WARD              1804 HELIX PLACE                                                                           SPRING VALLEY      CA     91977‐3605
JAMES WARD              2531 MANN RD                                                                               WATERFORD          MI     48329‐2332
                                                                                                                   TOWNSHIP
JAMES WARD              220 ONYX CIR                                                                               CANONSBURG        PA      15317‐6087
JAMES WARD              7903 S SHILOH RD                                                                           ENGLEWOOD         OH      45322‐9606
JAMES WARD              1241 WINDSONG TRL                                                                          FAIRBORN          OH      45324‐9441
JAMES WARD              1890 HUSAK RD                                                                              OMER              MI      48749‐9723
JAMES WARD              33 BURBANK ST GLSGO TRL PK                                                                 NEWARK            DE      19702
JAMES WARD              2052 BLUE BALL RD                                                                          ELKTON            MD      21921‐3325
JAMES WARD              1822 CHERRYLAWN DR                                                                         FLINT             MI      48504‐2018
JAMES WARD              PO BOX 598                                                                                 PEEBLES           OH      45660‐0598
JAMES WARD              8604 ORCHARDVIEW DR                                                                        WASHINGTON        MI      48095‐1352
JAMES WARD              419 E 4TH ST                                                                               GREENVILLE        OH      45331‐2042
JAMES WARD              6734 CASCADE CT                                                                            CLARKSTON         MI      48348‐4855
JAMES WARD I I          5390 WARWICK TRL                                                                           GRAND BLANC       MI      48439‐9578
JAMES WARD I I          1820 E PERRY ST                                                                            INDIANAPOLIS      IN      46237‐1045
JAMES WARD JR           925 MEL AVE                                                                                LANSING           MI      48911‐3617
JAMES WARE              3227 NORTHWEST BLVD NW                                                                     WARREN            OH      44485‐2239
JAMES WARE              2131 GRANGE RD                                                                             TRENTON           MI      48183‐1771
JAMES WARFIELD          344 STEVENS N‐4                                                                            BRISTOL           CT      06010
JAMES WARFLE            PO BOX 304                                                                                 OVID              MI      48866‐0304
JAMES WARGA             2762 ASPEN DR                                                                              GIRARD            OH      44420‐3172
JAMES WARING            131 JENNETTE DR                                                                            BOARDMAN          OH      44512‐1548
JAMES WARJU             1313 CAMERON RD                                                                            CARO              MI      48723‐9305
JAMES WARMBIER          1453 HOTCHKISS RD                                                                          FREELAND          MI      48623‐9742
JAMES WARMUTH           13215 PURITAS AVE                                                                          CLEVELAND         OH      44135‐2927
JAMES WARNER            7138 US ROUTE 35 W                                                                         EATON             OH      45320‐9639
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JAMES WARNER            1221 W 11TH ST                                                                                ANDERSON           IN     46016‐2921
JAMES WARNER            205 PARKWAY ST                                                                                LAPEER             MI     48446‐2386
JAMES WARNER            5222 SCENICVUE DR                                                                             FLINT              MI     48532‐2356
JAMES WARNER            1144 MC30                                                                                     DODDRIDGE          AR     71834
JAMES WARNER JR         431 WOODLAND DR                                                                               OAKLAND            MI     48363‐1365
JAMES WARNTZ            5929 SOUTHWARD AVE                                                                            WATERFORD          MI     48329‐1580
JAMES WARREN            4418 N RIDGE RD                                                                               LOCKPORT           NY     14094‐9775
JAMES WARREN            1235 MAPLE AVE                                                                                WILMINGTON         DE     19805‐5034
JAMES WARREN            5262 E COLDWATER RD                                                                           FLINT              MI     48506‐4506
JAMES WARREN            220 GRANGER RD                                                                                ORTONVILLE         MI     48462‐8631
JAMES WARREN            449 RED HILL CENTER RD                                                                        LAWRENCEBURG       TN     38464‐6850
JAMES WARREN            292 S CAROLYN DR                                                                              LAKE CITY          MI     49651‐8501
JAMES WARREN            231 ROSEWOOD DR                                                                               FORTSON            GA     31808‐6036
JAMES WARRIX            6531 LUND RD SW                                                                               FIFE LAKE          MI     49633‐9112
JAMES WARSOP            106 HARRIET LN                                                                                BATTLE CREEK       MI     49017‐5318
JAMES WASCZENSKI        33828 SANDWOOD DR                                                                             WESTLAND           MI     48185‐9404
JAMES WASHINGTON        1927 FLEETWOOD DR                                                                             TROY               MI     48098‐2556
JAMES WASHINGTON        220 KING AVE                                                                                  EWING              NJ     08638‐2226
JAMES WASHINGTON        18299 LESURE ST                                                                               DETROIT            MI     48235‐2521
JAMES WASHINGTON        1133 VERNON DR                                                                                DAYTON             OH     45402‐5713
JAMES WASHINGTON        1479 E MYRTLE ST                                                                              FORT WORTH         TX     76104‐5763
JAMES WASHINGTON        5611 E OUTER DR                                                                               DETROIT            MI     48234‐3778
JAMES WASHINGTON        6141 BUNCOMBE RD                                                                              SHREVEPORT         LA     71129‐4109
JAMES WASHINGTON        124 E BALTIMORE BLVD                                                                          FLINT              MI     48505‐3320
JAMES WASHINGTON        6133 BERMUDA LN                                                                               MOUNT MORRIS       MI     48458‐2600
JAMES WASHINGTON        2506 TAUSEND ST                                                                               SAGINAW            MI     48601‐4572
JAMES WASHINGTON        3324 ARGYLL DR                                                                                LANSING            MI     48911‐1504
JAMES WASHINGTON        6032 HITT LAKE TRL                                                                            STONE MOUNTAIN     GA     30087‐6525
JAMES WASHINGTON        5204 KINGS LN                                                                                 BURTON             MI     48529‐1134
JAMES WASHINGTON        3117 S CO RD 67                                                                               MIDLAND CITY       AL     36350
JAMES WASHINGTON HALE   C/O FOSTER & SEAR, LLP         817 GREENVIEW DR                                               GRAND PRAIRIE      TX     75050
JAMES WASSAM            2103 URBANDALE ST                                                                             SHREVEPORT         LA     71118‐3326
JAMES WASSON            737 W 6TH ST                                                                                  ANDERSON           IN     46016‐1048
JAMES WASWICK           PO BOX 233                                                                                    CHESANING          MI     48616‐0233
JAMES WATCHORN          7914 ROTHMAN RD                                                                               FORT WAYNE         IN     46835‐9757
JAMES WATERCUTTER       5775 E STATE ROUTE 571                                                                        TIPP CITY          OH     45371‐8324
JAMES WATERS            14451 W BEECHER RD                                                                            HUDSON             MI     49247‐8204
JAMES WATERS            4084 S MAPLE VALLEY RD                                                                        SAINT HELEN        MI     48656‐8551
JAMES WATERS            20133 CONE RD                                                                                 MILAN              MI     48160‐9226
JAMES WATERS            905 W KING ST                                                                                 MARTINSBURG        WV     25401‐2218
JAMES WATERS            922 CANTERBURY DR                                                                             PONTIAC            MI     48341‐2332
JAMES WATERS            672 BROOKWOOD LN E                                                                            ROCHESTER HILLS    MI     48309‐1540
JAMES WATERS JR         2073 CANAL DR 37                                                                              BRADENTON          FL     34207
JAMES WATKINS           72 N COBBLE CREEK DR                                                                          HENDERSON          NC     27537‐4163
JAMES WATKINS           4979 WOODBRIAR PL                                                                             COLUMBUS           OH     43229‐5523
JAMES WATKINS           1421 TULEY RD                                                                                 INDIAN SPRINGS     OH     45015‐1261
JAMES WATKINS           3570 OHIO TRL                                                                                 YOUNGSTOWN         OH     44505‐1934
JAMES WATKINS           121 E RESTFUL HOMES RD                                                                        WEST MONROE        LA     71291‐2061
JAMES WATKINS           610 S TEXAS AVE                                                                               MIDWEST CITY       OK     73130‐5020
JAMES WATKINS           4446 MAPLE CREEK DR                                                                           GRAND BLANC        MI     48439‐9054
JAMES WATKINS           3570 OHIO TRAIL                                                                               YOUNGSTOWN         OH     44505
JAMES WATKINS           BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
JAMES WATKINS JR        1160 MARTINE AVE                                                                              PLAINFIELD         NJ     07060‐2635
JAMES WATSON            463 SPAYDE RD                                                                                 BELLVILLE          OH     44813‐8967
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Name                Address1                           Address2                     Address3   Address4               City             State   Zip
JAMES WATSON        4422 SEDGEMOOR AVE                                                                                ROYAL OAK         MI     48073‐1707
JAMES WATSON        221 ALLENDALE DR                                                                                  MORRISVILLE       PA     19067‐4807
JAMES WATSON        3455 ERVA ST APT 102                                                                              LAS VEGAS         NV     89117‐6348
JAMES WATSON        3502 MORGAN DR                                                                                    GREENVILLE        MI     48838‐9217
JAMES WATSON        9039 DIAMOND MILL ROAD                                                                            BROOKVILLE        OH     45309‐9227
JAMES WATSON        9107 WYNDMOOR DR                                                                                  FORT WAYNE        IN     46825‐1100
JAMES WATSON        16941 W. DETRES ARROYOS                                                                           MARANA            AZ     85653
JAMES WATSON        35455 CURTIS RD                                                                                   LIVONIA           MI     48152‐2812
JAMES WATSON        PO BOX 13068                                                                                      FLINT             MI     48501‐3068
JAMES WATSON        463 MILLERBURG RD                                                                                 CHARLOTTE         MI     48813‐8858
JAMES WATSON        1618 W COURT ST                                                                                   FLINT             MI     48503‐3574
JAMES WATSON        1392 E FANNIN ST                                                                                  GOLIAD            TX     77963‐4237
JAMES WATSON        235 FORRER BLVD                                                                                   DAYTON            OH     45419‐3236
JAMES WATSON        1453 TERRAWENDA DR                                                                                DEFIANCE          OH     43512‐3701
JAMES WATSON        7702 PERKINS 30 PT 5 RD                                                                           RAPID RIVER       MI     49878
JAMES WATSON        781 HARCOURT RD                                                                                   GROSSE POINTE     MI     48230‐1831
JAMES WATSON        3501 N MICHIGAN AVE                                                                               SAGINAW           MI     48604‐2148
JAMES WATSON        5930 PARHAM RD                                                                                    FRANKLIN          TN     37064‐9220
JAMES WATSON        367 LIVE OAK TRL NE                                                                               CLEVELAND         TN     37323‐5529
JAMES WATSON        BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS    OH     44236
JAMES WATT          1866 ANCHORWAY                                                                                    CAMDEN            MI     49232‐9644
JAMES WATT          5092 SOUTHLAWN DR                                                                                 STERLING HTS      MI     48310‐6557
JAMES WATTERS       1034 N 19TH ST                                                                                    ELWOOD            IN     46036‐1360
JAMES WATTS         PO BOX 381                                                                                        BRIGHTON           IL    62012‐0381
JAMES WATTS         20611 BALFOUR ST APT 1                                                                            HARPER WOODS      MI     48225‐1574
JAMES WATTS         1465 FAIRVIEW BOILING SPRINGS RD                                                                  BOWLING GREEN     KY     42101‐8445
JAMES WATTS         1133 E LINDSEY AVE                                                                                MIAMISBURG        OH     45342‐2533
JAMES WATTS         524 MARINERS RIDGE CT                                                                             FORT WAYNE        IN     46819‐2421
JAMES WATTS         1206 RICHARD ST                                                                                   MIAMISBURG        OH     45342‐1950
JAMES WATTS         321 STOLL RD                                                                                      LANSING           MI     48917‐3418
JAMES WAY           741 YALE AVE LOT 57                                                                               MANSFIELD         OH     44905‐1574
JAMES WAY           402 W DOWELL RD                                                                                   MCHENRY            IL    60051‐9447
JAMES WAYT          22439 BUCK RD                                                                                     ALLIANCE          OH     44601‐9054
JAMES WDZENCZNY     10334 SUNFIELD HWY                                                                                PORTLAND          MI     48875‐9736
JAMES WEADGE        8432 N HURD RD                                                                                    EDGERTON          WI     53534‐9760
JAMES WEAKLAND JR   1460 WELCH RD                                                                                     COMMERCE          MI     48390‐2871
                                                                                                                      TOWNSHIP
JAMES WEATHERBEE    C/O COONEY & CONWAY                120 N LA SALLE 30TH FL                                         CHICAGO          IL      60602
JAMES WEAVER        1185 MAIN DR                                                                                      GREENVILLE       OH      45331‐3116
JAMES WEAVER        6729 NORTON DR                                                                                    TROY             MI      48085‐1619
JAMES WEAVER        710 N AUGUSTINE ST                                                                                WILMINGTON       DE      19804‐2606
JAMES WEAVER        5325 FAIRTREE RD                                                                                  BEDFORD HTS      OH      44146‐1521
JAMES WEAVER        20144 RENFREW RD                                                                                  DETROIT          MI      48221‐1334
JAMES WEAVER        3323 DAWN DR                                                                                      MIDLAND          MI      48642‐4093
JAMES WEAVER        6 KNOBB HILL DR                                                                                   PITTSFORD        NY      14534‐2222
JAMES WEAVER        186 E MAIN ST                                                                                     BRADFORD         PA      16701‐1617
JAMES WEAVER        PO BOX 93                                                                                         TUCKER           GA      30085‐0093
JAMES WEAVER        4145 TUDOR AVE                                                                                    BRUNSWICK        OH      44212‐2931
JAMES WEAVER        PO BOX 972                                                                                        YOUNGSTOWN       OH      44501‐0972
JAMES WEAVER        1825 CAROL ANN AVE                                                                                YPSILANTI        MI      48198‐6273
JAMES WEAVER        PO BOX 143                                                                                        BANCROFT         MI      48414‐0143
JAMES WEAVER        1011 E MICHIGAN AVE                                                                               ALBION           MI      49224‐1932
JAMES WEAVER        2047 S DEXTER ST                                                                                  FLINT            MI      48503‐4572
JAMES WEAVER JR     1034 WAYNE AVENUE                                                                                 GREENVILLE       OH      45331‐1141
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Name              Address1                        Address2            Address3         Address4               City              State   Zip
JAMES WEBB        6403 THISTLE DR                                                                             INDIANAPOLIS       IN     46224‐2040
JAMES WEBB        503 ANTRIM RD                                                                               PLAIN DEALING      LA     71064‐4483
JAMES WEBB        2500 MANN RD LOT 172                                                                        CLARKSTON          MI     48346‐4251
JAMES WEBB        3601 ROBIN ST                                                                               FLINT              MI     48505‐4028
JAMES WEBB        2115 KENO DR                                                                                CROSSVILLE         TN     38572‐3456
JAMES WEBB        1550 E UNIVERSITY DR APT 213                                                                AUBURN             AL     36830‐6367
JAMES WEBB        8268 VALLEYVIEW DR                                                                          YPSILANTI          MI     48197‐8362
JAMES WEBB        40 HICKORY COVE LN                                                                          CROSSVILLE         TN     38558‐7001
JAMES WEBB        32452 W 111TH ST                                                                            OLATHE             KS     66061‐8451
JAMES WEBB        25545 CURRIER ST                                                                            DEARBORN HTS       MI     48125‐1717
JAMES WEBB        560 JAMES LN                                                                                LAKE ORION         MI     48362‐2143
JAMES WEBB JR     2 HARFORD VIEW DR                                                                           PORT DEPOSIT       MD     21904‐1033
JAMES WEBBER      53100 N FOSTER RD                                                                           CHESTERFIELD       MI     48051‐3912
JAMES WEBBER      1316 MOLL ST                                                                                N TONAWANDA        NY     14120‐2230
JAMES WEBBER      1283 MOLL ST                                                                                N TONAWANDA        NY     14120‐2229
JAMES WEBBER      7996 BEECH RUN RD                                                                           WAYNESVILLE        OH     45068‐9556
JAMES WEBBER      5120 LIN HILL DR                                                                            SWARTZ CREEK       MI     48473‐8837
JAMES WEBBER      803 CLEVELAND ST                                                                            SAGINAW            MI     48602
JAMES WEBER       6430 BARNES RD                                                                              MILLINGTON         MI     48746‐9517
JAMES WEBER       10814 ARBOUR DR                                                                             BRIGHTON           MI     48114‐9064
JAMES WEBER       4690 LOGSDONS MEADOW DR                                                                     LIBERTY TWP        OH     45011‐0704
JAMES WEBER       PO BOX 214                                                                                  WILLIAMSVILLE      NY     14231‐0214
JAMES WEBER       6449 RAPTOR CT                                                                              NORTH LAS VEGAS    NV     89084‐2919
JAMES WEBER       8107 MEADOWLARK DR                                                                          CARLISLE           OH     45005‐4212
JAMES WEBER       1440 S MILLER RD                                                                            SAGINAW            MI     48609‐9588
JAMES WEBER       1113 MCCAMERON AVE                                                                          LOCKPORT            IL    60441‐2751
JAMES WEBER       1895 MERIDIAN ST                                                                            REESE              MI     48757‐9456
JAMES WEBER       6063 STATE ROUTE 380                                                                        WILMINGTON         OH     45177‐9017
JAMES WEBER       16821 SANDSTONE CIR                                                                         MACOMB             MI     48042‐1126
JAMES WEBER       536 CLAYTON AVE NW                                                                          WALKER             MI     49534‐3510
JAMES WEBER JR    14260 BRIARFIELD LN                                                                         GRAND HAVEN        MI     49417‐9791
JAMES WEBLEY      3105 ROYAL RD                                                                               JANESVILLE         WI     53546‐2219
JAMES WEBSTER     2424 HUNTER RD                                                                              LEWISBURG          TN     37091‐6322
JAMES WEBSTER     12945 BURNINGWOOD DR                                                                        WASHINGTON         MI     48094‐1738
                                                                                                              TOWNSHIP
JAMES WEBSTER     5219 CHALMERS ST                                                                            DETROIT           MI      48213‐3728
JAMES WEBSTER     608 SW GATEWAY                                                                              GRAIN VALLEY      MO      64029‐8431
JAMES WEBSTER     3285 NORTH 400 WEST                                                                         SHARPSVILLE       IN      46068‐9170
JAMES WEBSTER     319 PATRICK RD                                                                              NATCHITOCHES      LA      71457‐2935
JAMES WEED        244 COOLIDGE DR                                                                             BAY CITY          MI      48706‐1437
JAMES WEEDEN      2069 STATE ROUTE 603                                                                        ASHLAND           OH      44805‐8601
JAMES WEEDEN      2336 N IRISH RD                                                                             DAVISON           MI      48423‐9563
JAMES WEEKS       183 JAMES RD                                                                                HARTSELLE         AL      35640‐7638
JAMES WEEKS       110 MANGRUM DR                                                                              COLUMBIA          TN      38401‐6159
JAMES WEEMES      3450 MELODY LN                                                                              SAGINAW           MI      48601‐5629
JAMES WEEMS       5026 HARTLEY DR                                                                             LYNDHURST         OH      44124‐1025
JAMES WEGMULLER   2652 W FINLEY RD                                                                            BELOIT            WI      53511‐8726
JAMES WEGNER      888 LUCAS LN                                                                                JEFFERSON         WI      53549‐1181
JAMES WEHRLE      2142 W SQUARE LAKE RD                                                                       TROY              MI      48098‐5224
JAMES WEIDIG      1800 PERRYSVILLE RD LOT 4                                                                   DANVILLE          IL      61834‐7768
JAMES WEIER       6184 CRABTREE LN                                                                            BURTON            MI      48519‐1304
JAMES WEIGL       2909 WITTERS ST                                                                             SAGINAW           MI      48602‐3567
JAMES WEIKERT     200 WRIGHT AVE                                                                              LEBANON           OH      45036‐2255
JAMES WEIKLE      4918 COLUMBUS AVE                                                                           SANDUSKY          OH      44870‐5814
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Name                Address1                         Address2          Address3         Address4               City              State   Zip
JAMES WEILAND       17757 ELLSWORTH RD                                                                         LAKE MILTON        OH     44429‐9512
JAMES WEILER        5650 M‐18 NORTH                                                                            ROSCOMMON          MI     48653
JAMES WEILER        2450 JASON CT                                                                              ATTICA             MI     48412‐9604
JAMES WEINERT       418 N BAILEY ST                                                                            ROMEO              MI     48065‐4708
JAMES WEIR III      2081 E WILLIAMS CIR                                                                        WESTLAND           MI     48186‐9390
JAMES WEIRTS        727 DONALD AVE                                                                             ROYAL OAK          MI     48073‐2084
JAMES WEISBESKI     9685 GIROUX ST                                                                             CLARKSTON          MI     48348‐1560
JAMES WELBAUM       13220 STEELECROFT PKWY APT 201                                                             CHARLOTTE          NC     28278‐7523
JAMES WELBES        274 CHESTNUT AVE                                                                           ORANGE CITY        FL     32763‐6021
JAMES WELBORN       2522 E 10TH ST                                                                             ANDERSON           IN     46012‐4410
JAMES WELCH         1519 SILVER POND                                                                           DAVISON            MI     48423‐7800
JAMES WELCH         PO BOX 176                                                                                 RAVENNA            OH     44266‐0176
JAMES WELCH         9827 PRINCESS LN                                                                           HUDSON             FL     34667‐3855
JAMES WELCH         2430 OAKWOOD DR                                                                            ANDERSON           IN     46011‐2848
JAMES WELCH         PO BOX 6                                                                                   FRANKENMUTH        MI     48734‐0006
JAMES WELCH         9285 CASTLE CT                                                                             OTISVILLE          MI     48463‐9408
JAMES WELCH         1017 OTTER AVE                                                                             WATERFORD          MI     48328‐3925
JAMES WELCH         800 PRAIRIE RUN APT 49                                                                     SUN PRAIRIE        WI     53590‐4184
JAMES WELCH         5740 WOODLAND VW                                                                           CLARKSTON          MI     48346‐2637
JAMES WELCH         61845 SURREY LN                                                                            WASHINGTON         MI     48094‐1450
JAMES WELCH JR      6339 TAMARA DR                                                                             FLINT              MI     48506‐1760
JAMES WELDIN        25 SUNDOME CT                                                                              BLUFFTON           SC     29909‐5092
JAMES WELDON        530 CLUB COURSE DR                                                                         FORT WAYNE         IN     46814‐8956
JAMES WELFLE        6 PATRICIAN DR                                                                             NORWALK            OH     44857‐2465
JAMES WELKER        5500 W HIGGINS LAKE DR                                                                     ROSCOMMON          MI     48653‐9520
JAMES WELLER        2009 5TH ST                                                                                BAY CITY           MI     48708‐6232
JAMES WELLING       1582 E CLINTON TRL                                                                         CHARLOTTE          MI     48813‐9334
JAMES WELLINGHOFF   418 S G ST                                                                                 HAMILTON           OH     45013‐3217
JAMES WELLINGTON    2036 S TURNER RD                                                                           YOUNGSTOWN         OH     44515‐5517
JAMES WELLMAN       3568 MASON RD                                                                              HOWELL             MI     48843‐8994
JAMES WELLMAN       6143 MONROVIA DR                                                                           WATERFORD          MI     48329‐3156
JAMES WELLMEIER     1441 BAUER AVE                                                                             KETTERING          OH     45420‐3305
JAMES WELLNER       5877 N DOWLING ST                                                                          WESTLAND           MI     48185
JAMES WELLS         6337 MERLE WAY                                                                             ELKRIDGE           MD     21075‐5310
JAMES WELLS         3920 WALTON DR                                                                             LANSING            MI     48910‐4367
JAMES WELLS         2211 SPICE VALLEY RD                                                                       MITCHELL           IN     47446‐5366
JAMES WELLS         739 AUGUSTA DR                                                                             ROCHESTER HILLS    MI     48309‐1532
JAMES WELLS         16244 BIRD RD                                                                              LINDEN             MI     48451‐8534
JAMES WELLS         16191 ARCHDALE ST                                                                          DETROIT            MI     48235‐3414
JAMES WELLS         1489 FARISTON RD                                                                           LONDON             KY     40744‐8319
JAMES WELLS         246 STRATFORD LN                                                                           LAKE ORION         MI     48360‐1352
JAMES WELLS         5090 S HURON RD                                                                            STANDISH           MI     48658‐9470
JAMES WELLS         5431 SYCAMORE LN                                                                           FLINT              MI     48532‐2263
JAMES WELLS         1605 MAHAN HWY                                                                             CHARLOTTE          MI     48813‐9115
JAMES WELLS         615 S ITHACA ST                                                                            ITHACA             MI     48847‐1825
JAMES WELLS         6201 BARKER ST                                                                             LANSING            MI     48911‐5502
JAMES WELLS         PO BOX 209                                                                                 SAINT HELEN        MI     48656‐0209
JAMES WELLS         5316 HORNEY AVE                                                                            SAINT LOUIS        MO     63120
JAMES WELLS         622 NAKOMA DR                                                                              JACKSON            MS     39206‐3354
JAMES WELLS
JAMES WELLS JR      218 PERRY ST                                                                               NEW LEBANON       OH      45345‐1132
JAMES WELLS JR      3306 DANBURY CROSSROAD STREET                                                              LANSING           MI      48911‐4412
JAMES WELSH         12 FIELD TRL                                                                               FAIRFIELD         PA      17320‐8241
JAMES WELSH         51 COUNTY ROAD 457                                                                         MOUNTAIN HOME     AR      72653‐8133
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JAMES WELSH            1528 ROYAL OAKS DR                                                                             JANESVILLE          WI     53548‐1479
JAMES WELTER           15627 DINAMEE LN                                                                               ROANOKE             IN     46783‐9673
JAMES WELTON           800 PEACH TREE LN                                                                              ROCHESTER HILLS     MI     48306‐3359
JAMES WELTON           800 PEACHTREE LANE                                                                             ROCHESTER HILLS     MI     48306
JAMES WENDEL           150 HIGH ST                                                                                    WAYNESVILLE         NC     28786‐3371
JAMES WENDT            1304 PEARL ST                                                                                  SANDUSKY            OH     44870‐3033
JAMES WENGER           11473 BUCHANAN ST                                                                              GRAND HAVEN         MI     49417‐9730
JAMES WENTA            PO BOX 224                                                                                     FOSTORIA            MI     48435‐0224
JAMES WENZEL           3559 EMERALD AVE                                                                               SAINT JAMES CITY    FL     33956‐2204
JAMES WENZLICK         15486 COUNTY RD 25 N                                                                           CLOVERDALE          OH     45827
JAMES WENZLICK         5348 W MAPLE RAPIDS RD                                                                         SAINT JOHNS         MI     48879‐9743
JAMES WENZLICK         9800 FERDEN RD                                                                                 CHESANING           MI     48616‐9702
JAMES WERLING
JAMES WERNER           4451 TRENTON OXFORD RD                                                                         HAMILTON           OH      45011‐9616
JAMES WERNER           5966A SODOM HUTCHINGS RD                                                                       FARMDALE           OH      44417‐9787
JAMES WERNER           462 BRIDGE POINTE LN          P.O.BOX 243                                                      BRUNSWICK          OH      44212
JAMES WERNER           462 BRIDGE POINTE LANE        PO BOX 243                                                       BRUNSWICK          OH      44212
JAMES WERT             53 KENNEDY DR                                                                                  FAIRLESS HLS       PA      19030‐2008
JAMES WERTZ            5324 SPRINGBORO PIKE                                                                           MORAINE            OH      45439‐2969
JAMES WESS             108 STEWART ST                                                                                 HUBBARD            OH      44425‐1719
JAMES WESS             646 SAUL DR                                                                                    HUBBARD            OH      44425‐1253
JAMES WESSIC JR        412 DARDENNE DR                                                                                O FALLON           MO      63366‐2718
JAMES WESSON           1213 CARRIAGE PARK DR                                                                          FRANKLIN           TN      37064‐5703
JAMES WEST             9238 OAKCLIFFE DR                                                                              PLYMOUTH           MI      48170‐4714
JAMES WEST             592 NEW DURHAM RD                                                                              METUCHEN           NJ      08840‐1754
JAMES WEST             1191 LONG POND RD                                                                              ROCHESTER          NY      14626‐1161
JAMES WEST             2301 SANTA BARBARA DR                                                                          FLINT              MI      48504‐2027
JAMES WEST             8702 SANTA BELLA DR                                                                            HAZELWOOD          MO      63042‐2918
JAMES WEST             19180 CLARK RD                                                                                 BELLEVILLE         MI      48111‐9112
JAMES WEST             PO BOX 212                                                                                     DANSVILLE          MI      48819‐0212
JAMES WEST             810 SUNNYCREEK DR                                                                              CENTERVILLE        OH      45458‐2104
JAMES WEST             10253 LISBON RD                                                                                CANFIELD           OH      44406‐9414
JAMES WEST             30 BROOKFIELD CT                                                                               SPRINGBORO         OH      45066‐9271
JAMES WEST             2436 S WILD BLOSSOM CT                                                                         EAST LANSING       MI      48823‐7202
JAMES WEST             BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS         OH      44236
JAMES WEST             C/O COONEY AND CONWAY         120 NORTH LASALLE 30TH FLOOR                                     CHICAGO            IL      60602
JAMES WESTFALL         PO BOX 142                                                                                     SWEETSER           IN      46987‐0142
JAMES WESTFALL         U 289 RD 8                                                                                     LIBERTY CTR        OH      43532
JAMES WESTFALL         10721 MIDDLE AVE                                                                               ELYRIA             OH      44035‐7815
JAMES WESTFALL         2458 FLORENTINE WAY APT 66                                                                     CLEARWATER         FL      33763‐3216
JAMES WESTLUND         15134 TURNER RD                                                                                DEWITT             MI      48820‐9612
JAMES WESTMORELAND     PO BOX 3311                                                                                    LEBANON            TN      37088‐3311
JAMES WESTMORELAND     1932 HAVERHILL DR                                                                              LAPEER             MI      48446‐9793
JAMES WESTNESS         1185 MISSISSIPPI DR                                                                            DAKOTA             MN      55925‐7153
JAMES WESTON           3395 CREEK RD                                                                                  YOUNGSTOWN         NY      14174‐1312
JAMES WESTON           2393 MIDDLECROFT DR                                                                            BURTON             MI      48509‐1371
JAMES WESTON           13312 E PEONE VALLEY LN                                                                        MEAD               WA      99021‐8711
JAMES WESTRICK         3104 RUGER AVE                                                                                 JANESVILLE         WI      53546‐1936
JAMES WESTVELD         1028 OLD BARN LN                                                                               FREEPORT           MI      49325‐9476
JAMES WETHERELL        1420 HAPPY ROAD                                                                                BEAVERTON          MI      48612‐8836
JAMES WETHINGTON I I   PO BOX 346                                                                                     FRANKTON           IN      46044‐0346
JAMES WETMORE          34999 UNIVERSITY ST                                                                            WESTLAND           MI      48185‐3638
JAMES WETZEL           C/O CASCINO, MICHAEL P        220 S ASHLAND AVE                                                CHICAGO            IL      60607
JAMES WETZLER
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Name                  Address1                          Address2                     Address3   Address4               City               State   Zip
JAMES WEYANT          2202 STANFORD AVE                                                                                CLOVIS              CA     93611‐4031
JAMES WEYBRIGHT       39 ARNOLD AVE                                                                                    GERMANTOWN          OH     45327‐1001
JAMES WHALEN          6229 LAKOTA DR                                                                                   MADEIRA             OH     45243‐2950
JAMES WHALEN JR       18 S PERCH CREEK DR                                                                              NEWARK              DE     19702‐3944
JAMES WHALEY          5970 FALCON LN SW                                                                                MABLETON            GA     30126‐4126
JAMES WHATELEY        28751 FELICAN ST                  W NORTH POINT VILLAGE                                          ROSEVILLE           MI     48066‐7442
JAMES WHEATLEY        3505 KELBEN LN                                                                                   SPRING HILL         TN     37174‐2831
JAMES WHEATLEY        136 S TILDEN AVE                                                                                 WATERFORD           MI     48328‐3870
JAMES WHEATLEY        527 LAIRD LAKE RD                                                                                HALE                MI     48739‐9164
JAMES WHEATLEY        470 WALTER AVE                                                                                   FAIRFIELD           OH     45014‐1654
JAMES WHEELER         237 SW RAND DR                                                                                   BURLESON            TX     76028‐3735
JAMES WHEELER         7225 HIDDEN VALLEY DR                                                                            LAMBERTVILLE        MI     48144‐9444
JAMES WHEELER         3813 JONES RD                                                                                    DIAMOND             OH     44412‐9752
JAMES WHEELER         443 W 93RD ST                                                                                    INGLEWOOD           CA     90301‐3145
JAMES WHEELER         4500 FAYETTE DR                                                                                  BRISTOL             PA     19007‐2815
JAMES WHEELER         2629 RHAPSODY DR                                                                                 W CARROLLTON        OH     45449‐3358
JAMES WHEELER         360 LYNHURST DR SW                                                                               ATLANTA             GA     30311‐1944
JAMES WHEELER         907 SPANNWOOD ST                                                                                 INDIANAPOLIS        IN     46228‐1344
JAMES WHEELER         1144 E APPLE LAKE DR                                                                             GREENFIELD          IN     46140‐8070
JAMES WHEELER         PO BOX 372                                                                                       WILLIAMSTON         MI     48895‐0372
JAMES WHEELER         35 LEE ROAD 2010                                                                                 PHENIX CITY         AL     36870‐9142
JAMES WHEELER         125 MAIN ST                                                                                      MC EWEN             TN     37101‐4518
JAMES WHEELER         213 W HOME AVE                                                                                   FLINT               MI     48505‐2631
JAMES WHEELER I I I   1304 ARTISTS LN                                                                                  BEL AIR             MD     21015‐8616
JAMES WHEELER JR      PO BOX 565                                                                                       LOGANVILLE          GA     30052‐0565
JAMES WHEELER SR      2775 ATKINSON RD                                                                                 LOGANVILLE          GA     30052‐4348
JAMES WHEELIS         1601 VILLE CECELIA LN                                                                            HAZELWOOD           MO     63042‐1636
JAMES WHERRY          5816 AMY BOYLE RD NE                                                                             BROOKFIELD          OH     44403‐8719
JAMES WHETSTONE       809 HUMMINGBIRD DR                                                                               BROWNSBURG          IN     46112‐7457
JAMES WHIRRETT        154 CANTERBURY CT                                                                                COLUMBIANA          OH     44408‐8457
JAMES WHITAKER        498 TRIP ST                                                                                      GRAYSON             GA     30017‐7860
JAMES WHITAKER        10 THELM RD                                                                                      NEW CASTLE          DE     19720‐1732
JAMES WHITAKER        9492 N COUNTY 250 E                                                                              ROACHDALE           IN     46172
JAMES WHITAKER        231 LEO GILLILAND RD                                                                             SOMERSET            KY     42503‐5430
JAMES WHITAKER        2800 MARLINGTON RD                                                                               WATERFORD           MI     48329‐3646
JAMES WHITAKER        PO BOX 231                                                                                       LEWISBURG           KY     42256‐0231
JAMES WHITAKER        517 CAREY ST                                                                                     LANSING             MI     48915‐1905
JAMES WHITAKER        BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS          OH     44236
JAMES WHITCOMB        21620 GEORGETOWN RD                                                                              WOODHAVEN           MI     48183‐1656
JAMES WHITE           3757 NOTTINGHAM AVE                                                                              YOUNGSTOWN          OH     44511‐1107
JAMES WHITE           4134 N CHIPPING NORTON DR                                                                        SAGINAW             MI     48603‐9335
JAMES WHITE           7420 HARDY AVE                                                                                   RAYTOWN             MO     64133‐6728
JAMES WHITE           184 NW AA HWY                                                                                    KINGSVILLE          MO     64061‐9265
JAMES WHITE           16740 MARK WOOD DR                                                                               MACOMB              MI     48042‐2879
JAMES WHITE           44159 KENDYL                                                                                     STERLING HEIGHTS    MI     48314‐1983
JAMES WHITE           4248 ROYALTON CENTER RD                                                                          GASPORT             NY     14067‐9333
JAMES WHITE           745 PAULINE DR                                                                                   LAPEER              MI     48446‐3355
JAMES WHITE           3831 MONTFORD DR                                                                                 CHAMBLEE            GA     30341‐1839
JAMES WHITE           737 BRIDGEBORO ANDERSON CITY RD                                                                  SYLVESTER           GA     31791‐6216
JAMES WHITE           4081 S BOGAN RD                                                                                  BUFORD              GA     30519‐4361
JAMES WHITE           3425 JOHNSTON RD                                                                                 WINSTON             GA     30187‐1056
JAMES WHITE           556 WARD AVE                                                                                     NILES               OH     44446‐1468
JAMES WHITE           3570 WILLIAMSON RD                                                                               STOW                OH     44224‐4030
JAMES WHITE           688 N 9TH ST                                                                                     NOBLESVILLE         IN     46060‐1953
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Name                             Address1                       Address2                     Address3   Address4               City               State Zip
JAMES WHITE                      10200 N GASBURG RD                                                                            MOORESVILLE         IN 46158‐6765
JAMES WHITE                      4831 WALFORD RD APT 11                                                                        WARRENSVILLE        OH 44128‐5127
                                                                                                                               HEIGHTS
JAMES WHITE                      3825 WOODSIDE DR NW                                                                           WARREN             OH   44483‐2147
JAMES WHITE                      415 N MAIN ST                                                                                 UNION              OH   45322‐9744
JAMES WHITE                      3082 H DR S                                                                                   EAST LEROY         MI   49051‐7707
JAMES WHITE                      133 GEORGETOWN PL                                                                             YOUNGSTOWN         OH   44515‐2220
JAMES WHITE                      1209 N BALSAM DR                                                                              MUNCIE             IN   47304‐9767
JAMES WHITE                      4411 40TH STREET                                                                              NEWAYGO            MI   49337‐9056
JAMES WHITE                      7349 FIELDING ST                                                                              DETROIT            MI   48228‐4616
JAMES WHITE                      6026 VERMONT ST                                                                               DETROIT            MI   48208‐1614
JAMES WHITE                      317 NEBOBISH AVE                                                                              BAY CITY           MI   48708‐5582
JAMES WHITE                      2224 KOSTA ST                                                                                 BURTON             MI   48529‐2147
JAMES WHITE                      1616 BERWIN AVE                                                                               KETTERING          OH   45429‐4811
JAMES WHITE                      2453 LAKE SILVER RD                                                                           CRESTVIEW          FL   32536‐9306
JAMES WHITE                      1877 SHORE ACRES BLVD NE                                                                      SAINT PETERSBURG   FL   33703‐3355

JAMES WHITE                      1511 OAK GROVE BLVD                                                                           SHEFFIELD          AL   35660‐3612
JAMES WHITE                      615 W SCHOOL ST                                                                               COMPTON            CA   90220‐1922
JAMES WHITE                      819 COUNTRY RIDGE RD                                                                          GRENADA            MS   38901‐8513
JAMES WHITE                      5809 DUPONT ST                                                                                FLINT              MI   48505‐2680
JAMES WHITE                      3833 FOREST AVE                                                                               KANSAS CITY        MO   64109‐2646
JAMES WHITE                      421 NORTH LAZY BEN RD                                                                         MILLSAP            TX   76066
JAMES WHITE                      6738 HIGH RD                                                                                  DARIEN             IL   60561‐3951
JAMES WHITE                      BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH   44236
JAMES WHITE JR                   C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                      HOUSTON            TX   77007
                                 BOUNDAS LLP
JAMES WHITE JR                   890 MAIN ST APT 96                                                                            SANTA CLARA        CA   95050‐5455
JAMES WHITE JR                   816 CORNELL DR                                                                                LIMA               OH   45805‐1863
JAMES WHITEAKER                  179 MARY GARDNER RD                                                                           SPARTA             TN   38583‐2725
JAMES WHITED                     1821 S ARMSTRONG ST                                                                           KOKOMO             IN   46902‐2031
JAMES WHITED                     1506 E 24TH ST                                                                                MUNCIE             IN   47302‐5906
JAMES WHITEHEAD                  PO BOX 453                                                                                    WINDFALL           IN   46076‐0453
JAMES WHITEHEAD                  1536 COUNTY LINE DR                                                                           BONNE TERRE        MO   63628‐3799
JAMES WHITEHEAD                  6275 SEEGER RD                                                                                CASS CITY          MI   48726‐9672
JAMES WHITEHEAD                  11636 MILLER DR                                                                               GALESBURG          MI   49053‐9650
JAMES WHITEMAN JR                5953 BUCHANAN DR                                                                              TOLEDO             OH   43623‐1327
JAMES WHITENER                   507 CRISFIELD RD                                                                              BALTIMORE          MD   21220‐3007
JAMES WHITESEL                   2650 SOLAR DR                                                                                 LAKE ORION         MI   48360‐1980
JAMES WHITESEL                   2650 SOLAR DRIVE                                                                              LAKE ORION         MI   48360
JAMES WHITESEL DEPENDENT SON     2650 SOLAR DRIVE                                                                              LAKE ORION         MI   48360
JAMES WHITESEL DEPENDENT CHILD   JAMES WHITESEL                 2650 SOLAR DRIVE                                               LAKE ORION         MI   48360
JAMES WHITESELL                  227 GREENWOOD DRIVE            APT# 4                                                         HARTFORD CITY      IN   47348
JAMES WHITFIELD                  808 JEFF DR                                                                                   KOKOMO             IN   46901‐3770
JAMES WHITING                    3115 W BIRCH RUN RD                                                                           BURT               MI   48417‐9693
JAMES WHITING                    RT 526 HOPE RD                                                                                COMO               MS   38619
JAMES WHITKOPF                   1395 W BROCKER RD                                                                             METAMORA           MI   48455‐8965
JAMES WHITLEY                    143 ROLLING MEADOWS DR                                                                        BOWLING GREEN      KY   42101‐0760
JAMES WHITLEY                    8848 REDSTONE DR                                                                              PINCKNEY           MI   48169‐8290
JAMES WHITLEY                    3234 OLD TROY PIKE                                                                            DAYTON             OH   45404‐1308
JAMES WHITLOW                    PO BOX 332                                                                                    MOUNT MORRIS       MI   48458‐0332
JAMES WHITLOW                    8117 RAINFALL RD                                                                              ALVARADO           TX   76009‐4505
JAMES WHITMAN                    5811 RALSTON AVE                                                                              INDIANAPOLIS       IN   46220‐2729
JAMES WHITMORE                   21520 APT. 106 KELLY ROAD                                                                     EASTPOINTE         MI   48021
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Name               Address1                           Address2                     Address3   Address4               City              State   Zip
JAMES WHITNEY      9968 BELLBROOK RD                                                                                 WAYNESVILLE        OH     45068‐9637
JAMES WHITNEY      PO BOX 1476                                                                                       BOWLING GREEN      KY     42102‐1476
JAMES WHITNEY      745 GRANT CIR                                                                                     LINDEN             MI     48451‐9006
JAMES WHITSON      1924 HOGAN DRIVE                                                                                  KOKOMO             IN     46902‐5082
JAMES WHITT        7836 S STATE ROUTE 123                                                                            BLANCHESTER        OH     45107‐9330
JAMES WHITT        BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
JAMES WHITT JR     12641 MANSFIELD ST                                                                                DETROIT            MI     48227‐1237
JAMES WHITTAKER    106 LITTLE JOHN DR                                                                                ROSCOMMON          MI     48653‐9473
JAMES WHITTIMORE   865 COTHRAN RD                                                                                    COLUMBIA           TN     38401‐6756
JAMES WHITTLE      2265 MOORESVILLE HWY                                                                              LEWISBURG          TN     37091‐6457
JAMES WHITTON      2077 HOLLY BERRY LN                                                                               COMMERCE           MI     48390‐2733
                                                                                                                     TOWNSHIP
JAMES WHITWORTH    4155 N GENESEE RD                                                                                 FLINT             MI      48506‐1545
JAMES WHITWORTH    874 WHITE OAK CT                                                                                  LAWRENCEVILLE     GA      30045‐6228
JAMES WHOOLERY     451 CARLIN DR                                                                                     SAGAMORE HLS      OH      44067‐2109
JAMES WIBORG       32 BEMIS WAY                                                                                      HENRIETTA         NY      14467‐9345
JAMES WICK         109 CENTRAL AVE                                                                                   W ALEXANDRIA      OH      45381‐1203
JAMES WICKER       415 TERRE HAUTE RD                                                                                WORTHINGTON       IN      47471‐1913
JAMES WICKER JR    PO BOX 163                                                                                        PINEOLA           NC      28662‐0163
JAMES WICKLINE     6490 E H AVE                                                                                      KALAMAZOO         MI      49048‐6136
JAMES WICKSON      614 SOUTHCENTRE AVE                                                                               GAYLORD           MI      49735
JAMES WICOFF       3535 TRIBUNE DR APT 104                                                                           DALLAS            TX      75224‐4034
JAMES WIECK        4577 3 MILE RD                                                                                    BAY CITY          MI      48706‐9401
JAMES WIEDYK       44 E RITCHIE RD                                                                                   LINCOLN           MI      48742‐9701
JAMES WIEFERICH    PO BOX 564                                                                                        MACKINAW CITY     MI      49701‐0564
JAMES WIELAND      40 HOKES RUN                                                                                      INWOOD            WV      25428‐4089
JAMES WIELINSKI    3345 PINE RIVER RD                                                                                STANDISH          MI      48658‐9662
JAMES WIEMELS      743 WILCOX ST                                                                                     ROCHESTER         MI      48307‐1445
JAMES WIER         1690 HALL RD                                                                                      ELMA              NY      14059‐9770
JAMES WIERDAK      3839 JOHNSON AVE                                                                                  WESTERN SPRGS     IL      60558‐1138
JAMES WIESE        904 N YORK DR APT 7                                                                               ESSEXVILLE        MI      48732‐1858
JAMES WIESEN       4192 RICHMARK LN                                                                                  BAY CITY          MI      48706‐2258
JAMES WIGAL        39 HILLVIEW DR                                                                                    MARTINSVILLE      IN      46151‐1357
JAMES WIGGINS      2310 E MICHIGAN AVE                                                                               LANSING           MI      48912‐4018
JAMES WIGINTON     2456 CHESAPEAKE DR                                                                                ADRIAN            MI      49221‐1672
JAMES WILBER       9147 BARNES RD                                                                                    VASSAR            MI      48768‐9646
JAMES WILBER       16274 VASQUEZ CANYON RD SPC 35                                                                    CANYON CNTRY      CA      91351‐6876
JAMES WILCHER      BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH      44236
JAMES WILCOX       2117 MAPLE CREEK DR                                                                               FLINT             MI      48532‐2264
JAMES WILCOX       1124 SHADY ELM CT                                                                                 BEDFORD           TX      76021‐4419
JAMES WILCOX       8608 WICKLOW AVE                                                                                  CINCINNATI        OH      45236‐1652
JAMES WILCOX       746 BOWEN MILL ROAD                                                                               FITZGERALD        GA      31750
JAMES WILCOX       5595 E IRLO BRONSON MEMORIAL HWY                                                                  SAINT CLOUD       FL      34771‐8892
                   LOT 38
JAMES WILCOX       7790 DAWN DR                                                                                      PORTLAND           MI     48875‐1904
JAMES WILCOX       124 ROGERS DR                                                                                     BLUFF CITY         TN     37618‐2004
JAMES WILCOX       PO BOX 269                                                                                        NASHVILLE          MI     49073‐0269
JAMES WILDER       124 CHARIOT DR                                                                                    GRIFFIN            GA     30224‐8414
JAMES WILDER       4732 NORTH COLLEGE AVENUE                                                                         INDIANAPOLIS       IN     46205‐1962
JAMES WILEMON      25 SAINT AMBROSE DR                                                                               CAHOKIA            IL     62206‐1616
JAMES WILES        3764 HIGH GROVE WAY                                                                               LAKE ORION         MI     48360‐1572
JAMES WILES        1867 BEAVER CREEK DR                                                                              ROCHESTER          MI     48307‐6018
JAMES WILES        442 PLEASANT ST                                                                                   IONIA              MI     48846‐1218
JAMES WILES        48597 SANDIFER CT                                                                                 SHELBY TOWNSHIP    MI     48317‐2768
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Name                            Address1                            Address2                      Address3             Address4                 City              State   Zip
JAMES WILEY                     357 MCGREGGOR ROAD SOUTH                                                                                        PONTOTOC           MS     38863
JAMES WILEY                     3926 COLBROOK RD                                                                                                ANDERSON           IN     46012‐9441
JAMES WILEY                     26 SCHULER LN                                                                                                   CORAOPOLIS         PA     15108‐3308
JAMES WILEY                     633 S 15TH ST                                                                                                   SAGINAW            MI     48601‐2010
JAMES WILEY                     1282 E CORNELL AVE                                                                                              FLINT              MI     48505‐1751
JAMES WILEY                     1070 PATIENCE DR                                                                                                FLORISSANT         MO     63034‐2060
JAMES WILFONG                   3143 LONGVIEW AVE                                                                                               ROCHESTER HLS      MI     48307‐5575
JAMES WILFONG                   210 CORYELL DR                                                                                                  OXFORD             MI     48371‐4256
JAMES WILHOITE                  1322 GREENWAY DR                                                                                                ANDERSON           IN     46011‐1126
JAMES WILINSKI                  1409 N WENONA ST                                                                                                BAY CITY           MI     48706‐3581
JAMES WILKERSON                 109 JOHNSON ST                                                                                                  BUCKNER            MO     64016‐9741
JAMES WILKERSON                 33430 ANASTASIA ST                                                                                              BROWNSTOWN         MI     48173‐9324
JAMES WILKERSON                 3223 BENDING BROOK DR                                                                                           FLUSHING           MI     48433‐3013
JAMES WILKERSON                 C/O BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                                  BOTSON HTS         OH     44236
JAMES WILKES                    50220 CARROLL RD                                                                                                E LIVERPOOL        OH     43920‐9515
JAMES WILKIE                    3307 S SHADY LN                                                                                                 ARLINGTON          TX     76001‐7729
JAMES WILKIN                    3832 WALDEN WAY                                                                                                 DALLAS             TX     75287‐4915
JAMES WILKINS                   101 CRESENT DR                                                                                                  LAWRENCEVILLE      VA     23868‐2119
JAMES WILKINS                   9760 LOST CANYON DR                                                                                             STANWOOD           MI     49346‐9056
JAMES WILKINSON                 54100 SHELBY RD                                                                                                 SHELBY TWP         MI     48316‐1423
JAMES WILKINSON                 100 GOBBELL AVE                                                                                                 MT PLEASANT        TN     38474‐5007
JAMES WILKINSON                 2458 S MORRICE RD                                                                                               OWOSSO             MI     48867‐8982
JAMES WILKINSON                 608 HAMILTON PL                                                                                                 MIDDLETOWN         DE     19709‐1508
JAMES WILKINSON                 3415 DARBYSHIRE DR                                                                                              CANFIELD           OH     44406‐9233
JAMES WILKINSON                 OFC                                 4715 KISSIMMEE PARK ROAD                                                    SAINT CLOUD        FL     34772‐7497
JAMES WILKINSON                 11735 NICHOLS RD                                                                                                BURT               MI     48417‐9660
JAMES WILKINSON                 3318 S THOMAS ST                                                                                                VISALIA            CA     93292‐4502
JAMES WILKS                     7244 COLONIAL ST                                                                                                DEARBORN HTS       MI     48127‐1742
JAMES WILL                      6054 DORCHESTER CIR                                                                                             KEITHVILLE         LA     71047‐9212
JAMES WILLARD                   3891 W M 61                                                                                                     GLADWIN            MI     48624‐9470
JAMES WILLARD                   9 COLGATE DR                                                                                                    MASSENA            NY     13662
JAMES WILLCOX                   14998 CADILLAC DR                                                                                               SHELBY TOWNSHIP    MI     48315‐2513
JAMES WILLEFORD JR              2126 TIMBER COVE CT                                                                                             WEATHERFORD        TX     76087‐3830
JAMES WILLENBRINK               2002H BRUCEWOOD RD                                                                                              HAW RIVER          NC     27258‐9750
JAMES WILLETT                   5229 SAVANNAH SPRINGS DR                                                                                        LOUISVILLE         KY     40219‐4570
JAMES WILLETTS                  703 PARKVIEW DR                                                                                                 MILTON             WI     53563‐1714
JAMES WILLHOITE                 9739 S 400 E                                                                                                    MARKLEVILLE        IN     46056‐9731
JAMES WILLIAM BURDETTE          5921 EAST HASKELLL LAKE ROAD                                                                                    HARRISON           MI     48625
JAMES WILLIAM DAVIS             MOTLEY RICE LLC                     28 BRIDGESIDE BLVD            PO BOX 1792                                   MT PLEASANT        SC     29465
JAMES WILLIAM ELGER             3969 COUNTRY LN NW                                                                                              BREMERTON          WA     98312‐1635
JAMES WILLIAM ELGER
JAMES WILLIAM H ‐ MI (426494)   LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                                  BIRMINGHAM         MI     48009‐5394
JAMES WILLIAM L (429174)        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA     23510
                                                                    STREET, SUITE 600
JAMES WILLIAM MORONEY           C/O ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON         IL     62024
                                                                    ANGELIDES & BARNERD LLC
JAMES WILLIAM PARHAM            BARON & BUDD PC                     THE CENTRUM SUITE 1100        3102 OAK LAWN AVE                             DALLAS             TX     75219‐4281
JAMES WILLIAM ROEDER            21020 GEORGE HUNT CR.#905                                                                                       WAUKESHA           WI     53186‐2031
JAMES WILLIAMS
JAMES WILLIAMS                  PO BOX 5428                                                                                                     PINEHURST         NC      28374‐5428
JAMES WILLIAMS                  1101 PRENTICE RD NW                                                                                             WARREN            OH      44481‐9415
JAMES WILLIAMS                  12652 BRIARMEAD LN                                                                                              JACKSONVILLE      FL      32258‐1701
JAMES WILLIAMS                  31649 MADISON ST                                                                                                WAYNE             MI      48184‐1976
JAMES WILLIAMS                  3104 GRACE RD                                                                                                   BALTIMORE         MD      21219‐1111
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Name             Address1                          Address2            Address3         Address4               City              State   Zip
JAMES WILLIAMS   10010 FOREMAN ST SE                                                                           ADA                MI     49301‐8912
JAMES WILLIAMS   326 ALLEN AVE                                                                                 SHREVEPORT         LA     71101‐2502
JAMES WILLIAMS   3811 NW 85TH TER APT G                                                                        KANSAS CITY        MO     64154‐3790
JAMES WILLIAMS   6393 TARA BROOKE CT                                                                           HAMILTON           OH     45011‐7160
JAMES WILLIAMS   1001 BERKSHIRE RD                                                                             GROSSE POINTE      MI     48230‐1310
                                                                                                               PARK
JAMES WILLIAMS   1231 CALUMET AVE                                                                              NIAGARA FALLS     NY      14305‐2008
JAMES WILLIAMS   6960 OLD AKRON RD                                                                             LOCKPORT          NY      14094
JAMES WILLIAMS   2618 ALLSBROOK DR                                                                             FAYETTEVILLE      NC      28301‐3821
JAMES WILLIAMS   9347 FOREST KNOLL DR                                                                          JONESBORO         GA      30238‐5785
JAMES WILLIAMS   3900W BROWN DEER RD #206                                                                      BROWN DEER        WI      53209
JAMES WILLIAMS   45 W 139TH ST APT 3A                                                                          NEW YORK          NY      10037‐1403
JAMES WILLIAMS   846 TURNER RD                                                                                 TRYON             NC      28782‐8854
JAMES WILLIAMS   1408 SHANKSDOWN RD                                                                            WINDHAM           OH      44288‐9606
JAMES WILLIAMS   7301 GREENFIELD AVE                                                                           BALTIMORE         MD      21244‐2825
JAMES WILLIAMS   8130 MARTIN DR                                                                                JAMESTOWN         PA      16134‐6346
JAMES WILLIAMS   5675 UNION CORNER RD                                                                          ROSE CITY         MI      48654
JAMES WILLIAMS   1007 WASHINGTON ST                                                                            NEW CASTLE        DE      19720‐6051
JAMES WILLIAMS   307 MEADOW LN                                                                                 SANDUSKY          OH      44870‐7319
JAMES WILLIAMS   3435 COMPTON DR                                                                               COLUMBUS          OH      43219‐3322
JAMES WILLIAMS   3307 WALDECK PL                                                                               DAYTON            OH      45405‐2050
JAMES WILLIAMS   2579 TOLBERT TOWN RD                                                                          ROCKMART          GA      30153‐4468
JAMES WILLIAMS   911 HADLEY RD                                                                                 ROCHESTER HILLS   MI      48307‐2840
JAMES WILLIAMS   1320 FLAT ROCK RD                                                                             VILLA RICA        GA      30180‐3785
JAMES WILLIAMS   10543 S WABASH AVE                                                                            CHICAGO           IL      60628‐2709
JAMES WILLIAMS   12100 W OUTER DR                                                                              DETROIT           MI      48223‐2584
JAMES WILLIAMS   17576 INDIANA ST                                                                              DETROIT           MI      48221‐2405
JAMES WILLIAMS   1015 CORUNNA AVE                                                                              OWOSSO            MI      48867‐3733
JAMES WILLIAMS   6271 FOX GLEN DR                  APT 361                                                     SAGINAW           MI      48638‐4335
JAMES WILLIAMS   1915 W JOLLY RD                                                                               LANSING           MI      48910‐5151
JAMES WILLIAMS   100 W 1850 N                                                                                  SUMMITVILLE       IN      46070‐9079
JAMES WILLIAMS   55 E KELLER HILL RD                                                                           MOORESVILLE       IN      46158‐7272
JAMES WILLIAMS   35 WARWICK RD                                                                                 HAMILTON          OH      45013‐9704
JAMES WILLIAMS   PO BOX 143                                                                                    NEW LEBANON       OH      45345‐0143
JAMES WILLIAMS   627 W GRAND AVE                                                                               LIMA              OH      45801‐3503
JAMES WILLIAMS   8052 PARAGON RD                                                                               CENTERVILLE       OH      45458‐2129
JAMES WILLIAMS   841 STATON PLACE EAST DR                                                                      INDIANAPOLIS      IN      46234‐2165
JAMES WILLIAMS   3700 S BURLINGTON DR                                                                          MUNCIE            IN      47302‐8497
JAMES WILLIAMS   8418 THORN BEND DR                                                                            INDIANAPOLIS      IN      46278‐5051
JAMES WILLIAMS   2407 WESTVIEW RD                                                                              CORTLAND          OH      44410‐9468
JAMES WILLIAMS   2370 RUMFORD WAY                                                                              BEAVERCREEK       OH      45431‐5682
JAMES WILLIAMS   838 CAROL DR                                                                                  CINCINNATI        OH      45245‐2605
JAMES WILLIAMS   674 COLUMBUS AVE                                                                              AKRON             OH      44306‐2018
JAMES WILLIAMS   144 SHARP LN                                                                                  SPRING CITY       TN      37381‐2865
JAMES WILLIAMS   PO BOX 412                                                                                    NEWALLA           OK      74857‐0412
JAMES WILLIAMS   3724 MELBA PL                                                                                 SAINT LOUIS       MO      63121‐3406
JAMES WILLIAMS   9972 CHATHAM                                                                                  DETROIT           MI      48239‐1308
JAMES WILLIAMS   604 PIXLEY ST                                                                                 DANVILLE          IL      61832‐4130
JAMES WILLIAMS   305 DEER CREEK RD                                                                             EVERMAN           TX      76140‐4107
JAMES WILLIAMS   6108 BIRCHER ST                                                                               SAINT LOUIS       MO      63120‐1314
JAMES WILLIAMS   PO BOX 94342                                                                                  OKLAHOMA CITY     OK      73143‐4342
JAMES WILLIAMS   7437 NW 31ST TER                                                                              BETHANY           OK      73008‐3750
JAMES WILLIAMS   1316 KATHRYN ST                                                                               HURST             TX      76053‐5209
JAMES WILLIAMS   2806 W KINGSBURY ST                                                                           SEGUIN            TX      78155‐6608
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Name                Address1                            Address2                     Address3       Address4               City             State Zip
JAMES WILLIAMS      2613 GOOSE HOLLOW RD                                                                                   GENEVA            AL 36340‐6225
JAMES WILLIAMS      22199 W VILLAGE DR                                                                                     DEARBORN          MI 48124‐2286
JAMES WILLIAMS      4836 SPRINGLE ST                                                                                       DETROIT           MI 48215‐2049
JAMES WILLIAMS      4625 VENDOME PL APT 5                                                                                  CINCINNATI        OH 45227‐2244
JAMES WILLIAMS      2520 S ETHEL ST                                                                                        DETROIT           MI 48217‐2301
JAMES WILLIAMS      8603 WARD ST                                                                                           DETROIT           MI 48228‐4058
JAMES WILLIAMS      19155 BURT RD                                                                                          DETROIT           MI 48219‐1953
JAMES WILLIAMS      PO BOX 552                                                                                             CARAWAY           AR 72419‐0552
JAMES WILLIAMS      1914 ROCKCREEK LN                                                                                      FLINT             MI 48507‐2275
JAMES WILLIAMS      8304 CUTTER HILL AVE                                                                                   FORT WORTH        TX 76134‐3417
JAMES WILLIAMS      1742 94TH AVE                                                                                          OAKLAND           CA 94603‐1610
JAMES WILLIAMS      4315 PEBBLE RIDGE CIR APT 134                                                                          COLORADO SPRINGS CO 80906‐6527

JAMES WILLIAMS      4121 STILLWATER PT                                                                                     ELLENWOOD         GA   30294‐1565
JAMES WILLIAMS      49343 W CENTRAL PARK                                                                                   SHELBY TOWNSHIP   MI   48317‐6355
JAMES WILLIAMS      110 1ST ST                                                                                             MILTON            WI   53563‐1125
JAMES WILLIAMS      5402 N CONSOLIDATED SCHOOL RD                                                                          JANESVILLE        WI   53545‐9672
JAMES WILLIAMS      918 VANDERBURGH PL                                                                                     PORT HURON        MI   48060‐6500
JAMES WILLIAMS      PO BOX 2283                                                                                            INDIANAPOLIS      IN   46206‐2283
JAMES WILLIAMS      3910 N KENWOOD AVE                                                                                     INDIANAPOLIS      IN   46208‐3906
JAMES WILLIAMS      12418 BENHAM AVE                                                                                       CLEVELAND         OH   44105‐1914
JAMES WILLIAMS      1657 MEADOW DR                                                                                         MONROE            MI   48162‐4153
JAMES WILLIAMS      32744 NORTHWOODS LN                                                                                    BREEZY POINT      MN   56472‐3525
JAMES WILLIAMS      2135 RUSSELL ST                                                                                        GRAND BLANC       MI   48439‐4215
JAMES WILLIAMS      6839 TROY ST                                                                                           TAYLOR            MI   48180‐1632
JAMES WILLIAMS      5284 SCHOLL RD                                                                                         MANCELONA         MI   49659‐8665
JAMES WILLIAMS      1141 CALVERT ST                                                                                        DETROIT           MI   48202‐1209
JAMES WILLIAMS      5070 COATS GROVE RD                                                                                    HASTINGS          MI   49058‐9451
JAMES WILLIAMS      5264 SOMERSET AVE                                                                                      DETROIT           MI   48224‐3143
JAMES WILLIAMS      5006 FREMANTLE CT                                                                                      SPRING HILL       TN   37174‐8539
JAMES WILLIAMS      134 OXFORD AVE                                                                                         DAYTON            OH   45402‐6149
JAMES WILLIAMS      48561 S I94 SERVICE DR              APT 303                                                            BELLEVILLE        MI   48111
JAMES WILLIAMS      4738 GRACE CHAPEL RD                                                                                   GRANITE FALLS     NC   28630‐9535
JAMES WILLIAMS      2041 LOCHNAYNE LN                                                                                      DAVISON           MI   48423‐8375
JAMES WILLIAMS      2170 MEADOWVIEW DR                                                                                     DYERSBURG         TN   38024‐2302
JAMES WILLIAMS      C/O BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS        OH   44236
JAMES WILLIAMS      C/O WILLIAMS KHERKHER HART &        8441 GULF FREEWAY STE 600                                          HOUSTON           TX   77007
                    BOUNDAS LLP
JAMES WILLIAMS      315 S DOGWOOD LN                                                                                       BYRAM             MS   39272‐9444
JAMES WILLIAMS JR   126 N SHIAWASSEE ST                                                                                    OWOSSO            MI   48867‐2753
JAMES WILLIAMS JR   5618 HAMILTON AVE                                                                                      JENNINGS          MO   63136‐3506
JAMES WILLIAMS JR   18930 BEVERLY RD                                                                                       BEVERLY HILLS     MI   48025‐4015
JAMES WILLIAMS JR   6867 #9 RD.                                                                                            BROOKVILLE        OH   45309
JAMES WILLIAMS JR   14168 ARCHDALE ST                                                                                      DETROIT           MI   48227‐1351
JAMES WILLIAMS JR   50 HAMILTON DR                                                                                         NEWNAN            GA   30263‐4604
JAMES WILLIAMS JR   5901 FAIRFIELD AVE                                                                                     FORT WAYNE        IN   46807‐3611
JAMES WILLIAMS JR   902 E ATHERTON RD                                                                                      FLINT             MI   48507‐2815
JAMES WILLIAMS JR   1705 N MARTIN LUTHER KING JR BLVD                                                                      LANSING           MI   48915‐1548
JAMES WILLIAMS JR   6224 YOLANDA DR                                                                                        FORT WORTH        TX   76112‐4068
JAMES WILLIAMS JR   5445 SCARFF RD                                                                                         NEW CARLISLE      OH   45344‐7659
JAMES WILLIAMS SR   PO BOX 335                                                                                             FAIRFIELD         CA   94533
JAMES WILLIAMSON    NIX PATTERSON & ROACH LLP           GM BANKRUPTCY DEPARTMENT     205 LINDA DR                          DAINGERFIELD      TX   75638
JAMES WILLIAMSON    73601 CHAPMAN DR APT D1                                                                                ABITA SPRINGS     LA   70420‐2854
JAMES WILLIAMSON    82 WILLIAMSON LN                                                                                       RAYVILLE          LA   71269‐4180
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Name                   Address1                         Address2         Address3             Address4               City               State   Zip
JAMES WILLIAMSON       3609 W 50TH ST                                                                                CLEVELAND           OH     44102‐5813
JAMES WILLIAMSON       2895 BEDFORD ST                                                                               SAGINAW             MI     48601‐6904
JAMES WILLIAMSON       5323 GLENWOOD CREEK DR                                                                        CLARKSTON           MI     48348
JAMES WILLIAMSON       1236 WALTHALL CREEK DR                                                                        COLONIAL HEIGHTS    VA     23834‐6842

JAMES WILLIAMSON       26 DUNBAR AVE                                                                                 PISCATAWAY         NJ      08854‐5703
JAMES WILLIAMSON III   301 BRIDGEPOINT CIR                                                                           BOSSIER CITY       LA      71111‐8163
JAMES WILLIE           JAMES, WILLIE                    ALLSTATE         1111 MARCUS AVENUE                          LAKE SUCCESS       NY      11042
JAMES WILLIFORD        RR 3                                                                                          NEW CARLISLE       OH      45344
JAMES WILLING          9519 WHIPPLE SHORES DR                                                                        CLARKSTON          MI      48348‐2165
JAMES WILLING JR       7310 S FOSSUM RD                                                                              BRODHEAD           WI      53520‐8880
JAMES WILLINGHAM       11470 COLONIAL WOODS DR                                                                       CLIO               MI      48420‐1594
JAMES WILLINGHAM       PO BOX 43061                                                                                  ATLANTA            GA      30336‐0061
JAMES WILLIS           110 BRUNSWICK BLVD                                                                            BUFFALO            NY      14208‐1547
JAMES WILLIS           785 WOLCOTT AVE                                                                               BEACON             NY      12508‐4169
JAMES WILLIS           6271 MANILA RD                                                                                GOSHEN             OH      45122‐9411
JAMES WILLIS           2691 ELIZABETH DR SW                                                                          WARREN             OH      44481‐9621
JAMES WILLIS           5260 MARVIN RD                                                                                CLARKSTON          MI      48346‐3428
JAMES WILLIS           1808 DE WINTON PL                                                                             LAWRENCEVILLE      GA      30043‐5020
JAMES WILLIS
JAMES WILLIS           1736 SHANNON CIR                                                                              MINERAL RIDGE      OH      44440‐9512
JAMES WILLIS JR        421 W MARKET ST                                                                               GERMANTOWN         OH      45327‐1224
JAMES WILLITS          PO BOX 234                                                                                    DEWITT             MI      48820‐0234
JAMES WILLNEFF JR      20133 FINLEY ST                                                                               CLINTON TWP        MI      48035‐3470
JAMES WILLOUGHBY       5602 S COUNTY ROAD 125 W                                                                      CLAYTON            IN      46118‐9283
JAMES WILLOUGHBY       2752 WELLS RD                                                                                 PETERSBURG         MI      49270‐9596
JAMES WILLOUGHBY       4704 PARVIEW DR                                                                               CLARKSTON          MI      48346‐2747
JAMES WILLS            400 E 41ST ST                    # 2707                                                       CHICAGO            IL      60653‐3071
JAMES WILLSON          16 CULBERT DR                                                                                 HASTINGS           MI      49058‐9461
JAMES WILSON           3962 WARREN HILL RD                                                                           ELIZABETH          PA      15037‐3222
JAMES WILSON           7424 BAER RD                                                                                  FORT WAYNE         IN      46809‐2511
JAMES WILSON           981 MEADOW DR                                                                                 YOUNGSTOWN         NY      14174‐1130
JAMES WILSON           306 OAKWOOD DR                                                                                SEVIERVILLE        TN      37876‐4974
JAMES WILSON           6277 KILGOUR ST                                                                               MARLETTE           MI      48453‐1362
JAMES WILSON           14198 WILLIAMSBURG ST                                                                         RIVERVIEW          MI      48193‐7603
JAMES WILSON           8951 S CORNELL AVE                                                                            CHICAGO            IL      60617‐2804
JAMES WILSON           2204 HICKORY RD                                                                               DANVILLE           IL      61834‐7037
JAMES WILSON           2481 CLEAVER RD                                                                               CARO               MI      48723‐9746
JAMES WILSON           6124 NORTHWOOD CIR                                                                            WHITE LAKE         MI      48383‐3565
JAMES WILSON           6837 NE CUBITIS AVE LOT 2                                                                     ARCADIA            FL      34266
JAMES WILSON           2851 BLAKE RD                                                                                 WADSWORTH          OH      44281‐8323
JAMES WILSON           360 OLD BART JONES RD                                                                         DEER LODGE         TN      37726‐3034
JAMES WILSON           665 CARSON SALT SPRINGS RD                                                                    MINERAL RIDGE      OH      44440‐9334
JAMES WILSON           420 PICKET FENCE DR                                                                           WENTZVILLE         MO      63385‐5554
JAMES WILSON           3126 BOUDINOT AVE                                                                             CINCINNATI         OH      45211‐7006
JAMES WILSON           4051 WILLETT RD                                                                               PITTSBURGH         PA      15227‐4543
JAMES WILSON           1494 EMERY STEPHEN RD BOX 1494                                                                MURRAYVILLE        GA      30564
JAMES WILSON           PO BOX 211                                                                                    MORGANTON          GA      30560‐0211
JAMES WILSON           15505 COYLE ST                                                                                DETROIT            MI      48227‐2621
JAMES WILSON           4397 W DODGE RD                                                                               CLIO               MI      48420‐8555
JAMES WILSON           11920 HOWELL AVE APT 4                                                                        MOUNT MORRIS       MI      48458‐1454
JAMES WILSON           7134 GRAND BLANC RD                                                                           SWARTZ CREEK       MI      48473‐9401
JAMES WILSON           1127 REMINGTON TRL                                                                            COLUMBIA           TN      38401‐9052
JAMES WILSON           6992 64TH AVE                                                                                 HUDSONVILLE        MI      49426‐9544
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Name                  Address1                        Address2                       Address3   Address4               City           State Zip
JAMES WILSON          5846 PINKERTON RD                                                                                VASSAR          MI 48768‐9668
JAMES WILSON          1505 MCCOY ST                                                                                    COMMERCE        MI 48390‐2255
                                                                                                                       TOWNSHIP
JAMES WILSON          2049 MAYBURY AVE                                                                                 FLINT          MI   48503‐4207
JAMES WILSON          1797 COUNTY ROAD 379                                                                             MERIDIAN       MS   39301‐9679
JAMES WILSON          811 E PINE ST                                                                                    VIENNA         GA   31092‐1329
JAMES WILSON          PO BOX 581                                                                                       AUSTELL        GA   30168‐1049
JAMES WILSON          63 METROPOLITAN OVAL APTMB                                                                       BRONX          NY   10462
JAMES WILSON          2202 LANCELOT DR SW                                                                              DECATUR        AL   35603‐1123
JAMES WILSON          176 CHARLYA DR                                                                                   BULLARD        TX   75757‐9746
JAMES WILSON          PO BOX 37645                                                                                     JACKSONVILLE   FL   32236‐7645
JAMES WILSON          1920 GLYNN CT                                                                                    DETROIT        MI   48206‐1743
JAMES WILSON          1033 FROST ST                                                                                    FLINT          MI   48504‐3406
JAMES WILSON          4910 BEAVER DAM RD                                                                               MORGANTOWN     KY   42261‐8918
JAMES WILSON          537 NORTHWYCK WAY                                                                                EL PASO        TX   79928‐7222
JAMES WILSON          15391 NORBORNE                                                                                   REDFORD        MI   48239‐3813
JAMES WILSON          2809 PEDIGO PL                                                                                   THOMPSONS      TN   37179‐9267
                                                                                                                       STATION
JAMES WILSON          287 ORVILLE STREET                                                                               FAIRBORN       OH   45324‐6606
JAMES WILSON          7959 THORNHILL DR                                                                                YPSILANTI      MI   48197‐6159
JAMES WILSON          2923 GULFSTREAM DR                                                                               SAGINAW        MI   48603‐6191
JAMES WILSON          2942 N 75TH TER                                                                                  KANSAS CITY    KS   66109‐1607
JAMES WILSON          4122 UPPER GLADE CT                                                                              ANN ARBOR      MI   48103‐9031
JAMES WILSON          845 ABBOT DR                                                                                     FAIRFIELD      OH   45014‐4474
JAMES WILSON          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS     OH   44236
JAMES WILSON          C/O COONEY AND CONWAY           120 NORTH LASALLE 30TH FLOOR                                     CHICAGO        IL   60602
JAMES WILSON          THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                      HOUSTON        TX   77017
JAMES WILSON II       21863 MERIDIAN LN                                                                                NOVI           MI   48375‐4945
JAMES WILSON JR       9423 QUINCY ST                                                                                   DETROIT        MI   48204‐5705
JAMES WILSON JR       319 E 7TH ST                                                                                     STAUNTON       IL   62088‐2142
JAMES WILSON JR       C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                        HOUSTON        TX   77007
                      BOUNDAS LLP
JAMES WILSON SR       PO BOX 17406                                                                                     DAYTON         OH   45417‐0406
JAMES WILTBERGER      6985 MINNICK RD                                                                                  LOCKPORT       NY   14094‐7947
JAMES WILTSE          215 GRAND ST                                                                                     EATON RAPIDS   MI   48827‐1717
JAMES WILTSEE         6047 N QUINELLA WAY                                                                              CENTERVILLE    OH   45459‐2446
JAMES WINCHESTER      3540 CHURCH ST                                                                                   INDIANAPOLIS   IN   46234‐1538
JAMES WINDOM JR       5515 E HILL RD                                                                                   GRAND BLANC    MI   48439‐9101
JAMES WINEBARGER JR   1228 BAREFOOT TRL                                                                                GREENWOOD      IN   46142‐5111
JAMES WINEBARGER SR   11121 BOMBAY LN                                                                                  FORT MYERS     FL   33908‐3333
JAMES WINFIELD
JAMES WING            3127 N DURAND RD                                                                                 CORUNNA        MI   48817‐9735
JAMES WINGER          9529 W GIBBS LAKE RD                                                                             EDGERTON       WI   53534‐8847
JAMES WINGROVE        PO BOX 75                                                                                        BRADLEY        WV   25818‐0075
JAMES WINIGER         1716 RANIER BLVD                                                                                 CANTON         MI   48187‐3438
JAMES WINKELMAN       12865 SW HWY 17 LOT#383                                                                          ARCADIA        FL   34269
JAMES WINKLER         1449 GLENN AVE                                                                                   WABASH         IN   46992‐3620
JAMES WINN            2333 S TERM ST                                                                                   BURTON         MI   48519‐1032
JAMES WINNIE          14349 STATE ROUTE 249                                                                            NEY            OH   43549‐9739
JAMES WINNINGHAM      3311 W CORNBREAD RD                                                                              MUNCIE         IN   47302‐8977
JAMES WINNINGTON      2627 TURNSTONE DR # DR                                                                           WILMINGTON     DE   19808
JAMES WINSTEAD SR     103 LEE LAWRENCE CT                                                                              BALTIMORE      MD   21222‐6240
JAMES WINSTON         430 BENJAMIN CIR                                                                                 FAYETTEVILLE   GA   30214‐3345
JAMES WINSTON         209 SHERMAN ST                                                                                   JOLIET         IL   60433‐1853
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Name                   Address1                         Address2                     Address3   Address4               City              State   Zip
JAMES WINSTON JR       358 BOLIVAR HWY                                                                                 JACKSON            TN     38301‐7858
JAMES WINTER           328 DANBY ST                                                                                    PORTLAND           MI     48875‐1864
JAMES WINTERLEE        PO BOX 419                                                                                      LEWISTON           MI     49756‐0419
JAMES WINTERROWD       15628 ALDERBROOK DR                                                                             HAYMARKET          VA     20169‐6127
JAMES WINTERS          3606 S VALLEY AVE                                                                               MARION             IN     46953‐3421
JAMES WINTERS          2804 ELLIOTT ST                                                                                 BALTIMORE          MD     21224‐4856
JAMES WINTERS          19100 BRIARWOOD RD                                                                              HARRAH             OK     73045‐6372
JAMES WINTERSMITH JR   G6051 DETROIT ST                                                                                MOUNT MORRIS       MI     48458
JAMES WIREBAUGH        337 MINNESOTA AVE                                                                               SAINT CLOUD        FL     34769‐2235
JAMES WISE             1708 N OLD MILL RD                                                                              MUNCIE             IN     47304‐9734
JAMES WISE             467 S LOUISVILLE ST ROUTE 2                                                                     ACKERMAN           MS     39735
JAMES WISE             735 FISHER DR                                                                                   LANSING            MI     48911‐6518
JAMES WISE             30223 SPAIN CT                                                                                  ROMULUS            MI     48174‐3148
JAMES WISE             367 ALEXANDER RD                                                                                BELLVILLE          OH     44813‐9422
JAMES WISEHART         2696 E STATE ROAD 28                                                                            ALEXANDRIA         IN     46001‐9116
JAMES WISEK            904 S DUNCAN ST                                                                                 MARION              IL    62959‐2119
JAMES WISEMAN          520 SKYLINE DR                                                                                  BEDFORD            IN     47421‐9363
JAMES WISEMAN          1395 BENNETT RD                                                                                 LANSING            MI     48906‐1872
JAMES WISEMAN          C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
JAMES WISHART          1019 WELLESLEY ST                                                                               ALMA               MI     48801‐1423
JAMES WISKIA           2104 RIVERVIEW DR                                                                               JANESVILLE         WI     53546‐5382
JAMES WISNESKI         1239 ILLINI DR                                                                                  LOCKPORT            IL    60441‐3801
JAMES WISNESKI         4984 ARNOLD CT                                                                                  BAY CITY           MI     48706‐3151
JAMES WISNIEWSKI       895 STAG RIDGE RD                                                                               ROCHESTER HLS      MI     48309‐2553
JAMES WISNIEWSKI       1893 ADAMS DR                                                                                   HILLSDALE          MI     49242‐9194
JAMES WISNIEWSKI       28626 WOODLAND PL                                                                               PERRYSBURG         OH     43551‐3687
JAMES WISNIEWSKI       1435 CRANBROOK DR                                                                               SAGINAW            MI     48638‐5471
JAMES WISNIEWSKI       9502 EVIEDALE RD                                                                                SYLVANIA           OH     43560‐9250
JAMES WISTNER          448 MEADOW DR                                                                                   WEST SENECA        NY     14224‐1518
JAMES WITHERS          3493 MILLS ACRES ST                                                                             FLINT              MI     48506‐2171
JAMES WITHERS          PO BOX 21314                                                                                    DETROIT            MI     48221‐0314
JAMES WITHERSPOON      2655 MIAMI VILLAGE DR                                                                           MIAMISBURG         OH     45342‐4567
JAMES WITHERSPOON      13809 ROCKY RDG                                                                                 HARTLAND           MI     48353‐1705
JAMES WITHEY           1130 HOLLYHOCK DR                                                                               GRAND BLANC        MI     48439‐8877
JAMES WITKOP           5482 UPPER MOUNTAIN RD                                                                          LOCKPORT           NY     14094‐1835
JAMES WITKOWSKI        12765 BRUCKER RD                                                                                AKRON              NY     14001‐9619
JAMES WITKOWSKI        6115 S FORDNEY RD                                                                               SAINT CHARLES      MI     48655‐8747
JAMES WITMER           38190 BUTCHER RD                                                                                LEETONIA           OH     44431‐9746
JAMES WITT             11948 MCMANIS RD                                                                                MOUNT VERNON       OH     43050‐9253
JAMES WITTBRODT        4515 CHURCH RD                                                                                  RHODES             MI     48652‐9737
JAMES WITTBRODT JR     C/O LINDA WATSON                 PROBATE COURT                                                  CORUNNA            MI     48817
JAMES WITZERMAN        53901 SCARBORO WAY                                                                              SHELBY TOWNSHIP    MI     48316‐5603
JAMES WITZMAN          827 GERALD ST                                                                                   FLUSHING           MI     48433‐1740
JAMES WOBSER           3416 MAPLE AVE                                                                                  CASTALIA           OH     44824‐9445
JAMES WODAREK          5454 GRAND RIVER DR NE                                                                          GRAND RAPIDS       MI     49525‐1039
JAMES WOERN            721 E BROWN RD                                                                                  MAYVILLE           MI     48744‐9532
JAMES WOHLEBER         11451 HOLSHOE RD                                                                                HOMERVILLE         OH     44235‐9772
JAMES WOHLFERT         1515 CANNON PKWY APT 715                                                                        ROANOKE            TX     76262‐6456
JAMES WOHLFORD         906 S LAKESHORE RD                                                                              HARBOR BEACH       MI     48441‐8977
JAMES WOHLHIETER       3625 CANDY CANE DR                                                                              INDIANAPOLIS       IN     46227‐7801
JAMES WOJCIECHOWSKI    5923 WEST MICHIGAN AVE           A4                                                             SAGINAW            MI     48638
JAMES WOJCIK           1403 N DEWITT ST                                                                                BAY CITY           MI     48706‐3542
JAMES WOLAK            3566 SOUTH BLVD                                                                                 BLOOMFIELD         MI     48304‐1157
JAMES WOLF             5146 LOGANBERRY DR                                                                              SAGINAW            MI     48603‐1138
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Name                                Address1                      Address2                     Address3   Address4               City              State   Zip
JAMES WOLF                          1321 E 153RD ST                                                                              OLATHE             KS     66062‐2834
JAMES WOLF                          13060 SE 93RD CIR                                                                            SUMMERFIELD        FL     34491‐9330
JAMES WOLF JR                       506 DELLVIEW DR                                                                              FINKSBURG          MD     21048‐1019
JAMES WOLFE                         216 SOUTH COUNTY LINE ROAD                                                                   WINDSOR            MO     65360‐2008
JAMES WOLFE                         4073 N MAPLECREST DR                                                                         SANFORD            MI     48657‐9359
JAMES WOLFE                         8359 GEDDES RD                                                                               SAGINAW            MI     48609‐9528
JAMES WOLFE                         3427 N EUCLID AVE                                                                            BAY CITY           MI     48706‐1636
JAMES WOLFE JR                      2649 SANTA FE PIKE                                                                           SANTA FE           TN     38482‐3320
JAMES WOLFF                         214 TACOMA AVE                                                                               DEFIANCE           OH     43512‐2364
JAMES WOLFF                         195 JACKSON STATION RD                                                                       PERRYVILLE         MD     21903‐1616
JAMES WOLFF                         7316 KINGS DR                                                                                ELLENTON           FL     34222
JAMES WOLFGANG                      5934 SUNRISE CIR N                                                                           SYLVANIA           OH     43560‐1597
JAMES WOLFGANG JR                   8330 N WEBSTER RD                                                                            CLIO               MI     48420‐8520
JAMES WOLFORD                       979 PARALLEL ST                                                                              FENTON             MI     48430‐2212
JAMES WOLFORD                       4305 S MAIN ST                                                                               INDEPENDENCE       MO     64055‐4735
JAMES WOLGEMUTH                     PO BOX 5093                   3001 LITITZ PIKE                                               LANCASTER          PA     17606‐5093
JAMES WOLICKI                       320 S 7 MILE RD                                                                              LINWOOD            MI     48634‐9707
JAMES WOLLENWEBER                   4715 VALLEY RIDGE CT                                                                         TOLEDO             OH     43614‐1956
JAMES WOLVERTON                     5565 W GRAND RIVER RD                                                                        LAINGSBURG         MI     48848‐8707
JAMES WOMACK
JAMES WONG
JAMES WOOD
JAMES WOOD                          1037 LEISURE DR                                                                              FLINT             MI      48507‐4058
JAMES WOOD                          3693 STONEBROOK DR                                                                           NORMAN            OK      73072‐9111
JAMES WOOD                          1642 VALLEY QUAIL DR                                                                         RIVER FALLS       WI      54022‐2173
JAMES WOOD                          116 KIM LN                                                                                   ROCHESTER         NY      14626‐1140
JAMES WOOD                          16085 COUNTY ROAD 14                                                                         WATERLOO          AL      35677‐3603
JAMES WOOD                          7203 RIVERWALK WAY S                                                                         NOBLESVILLE       IN      46062‐7018
JAMES WOOD                          3136 PINCH HWY                                                                               POTTERVILLE       MI      48876‐9718
JAMES WOOD                          898 COLLIER RD                                                                               AUBURN HILLS      MI      48326‐1416
JAMES WOOD                          1169 LEXA LN                                                                                 FLINT             MI      48507‐4637
JAMES WOOD                          2660 EAST DR                                                                                 MIO               MI      48647‐9418
JAMES WOOD                          23693 WALDEN RD                                                                              ABINGDON          VA      24210‐7707
JAMES WOOD                          413 LOVELACE RD                                                                              CLARKESVILLE      GA      30523‐2844
JAMES WOOD                          RR 9 BOX 1000                                                                                GATEWOOD          MO      63942‐9023
JAMES WOOD                          13246 PINE VALLEY DR                                                                         CLIO              MI      48420‐9159
JAMES WOOD                          38452 W 136TH ST                                                                             RICHMOND          MO      64085‐8766
JAMES WOOD                          303 WOODSON TRAIL DR                                                                         WENTZVILLE        MO      63385‐2985
JAMES WOOD                          201 SMOKEY DR                                                                                COLUMBIA          TN      38401‐6125
JAMES WOOD                          5151 BLOSSOM DR                                                                              FLUSHING          MI      48433‐9024
JAMES WOOD                          1992 FAIRFIELD DR                                                                            ROCHESTER HILLS   MI      48306‐3114
JAMES WOOD                          BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH      44236
JAMES WOOD AUTOPARK, INC.           JAMES WOOD                    3906 I 35E S                                                   DENTON            TX      76210
JAMES WOOD AUTOPARK, INC.           JAMES WOOD                    3906 I35E S                                                    DENTON            TX      76210
JAMES WOOD AUTOPARK, INC/HERTZ      3906 I‐35 E SOUTH                                                                            DENTON            TX      76210
JAMES WOOD BUICK, PONTIAC, GMC TRUC 3906 I 35E S                                                                                 DENTON            TX

JAMES WOOD BUICK, PONTIAC, GMC      JAMES WOOD                    3906 I 35E S                                                   DENTON             TX     76210
TRUCK
JAMES WOOD BUICK, PONTIAC, GMC      3906 I 35E S                                                                                 DENTON             TX     76210
TRUCK
JAMES WOOD CHEV OLDS/THE HERTZ      2111 S HIGHWAY 287                                                                           DECATUR            TX     76234‐2722
CORP
JAMES WOOD CHEV, CAD, OLDS                                                                                                       DENTON             TX     76210
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Name                               Address1                           Address2                     Address3   Address4               City               State Zip
JAMES WOOD CHEV.CAD/THE HERTZ CORP HIGHWAY 287 SOUTH                                                                                 DECATUR             TX 76234

JAMES WOOD CHEV/CAD/THE HERTZ CORP 3906 I35E S                                                                                       DENTON             TX   76210

JAMES WOOD CHEVROLET                3906 I35E S                                                                                      DENTON             TX   76210
JAMES WOOD CHEVROLET, CADILLAC, OLD 3906 I35E S                                                                                      DENTON             TX

JAMES WOOD CHEVROLET, CADILLAC,      JAMES WOOD                       3906 I35E S                                                    DENTON             TX   76210
OLDS
JAMES WOOD CHEVROLET, CADILLAC,      3906 I35E S                                                                                     DENTON             TX   76210
OLDSMOBILE
JAMES WOOD CHEVROLET‐OLDSMOBILE      2111 S HIGHWAY 287                                                                              DECATUR            TX   76234‐2722

JAMES WOOD I I I                     6332 GOLF LAKES COURT A                                                                         BAY CITY           MI   48706‐9364
JAMES WOOD MOTOR BPG/THE HERTZ       14501 HERTZ QUAIL SPRINGS PKWY                                                                  OKLAHOMA CITY      OK   73134‐2628
CORP
JAMES WOOD MOTORS BPG/THE HERTZ      14501 HERTZ QUAIL SPRINGS PKWY                                                                  OKLAHOMA CITY      OK   73134‐2628

JAMES WOOD MOTORS BPG/THE HERTZ      14501 HERTZ QUAIL SPRINGS PKWY                                                                  OKLAHOMA CITY      OK   73134‐2628
CORP
JAMES WOOD MOTORS, INC.              2111 S HIGHWAY 287                                                                              DECATUR            TX   76234‐2722
JAMES WOOD MOTORS,INC.               JAMES WOOD                       2111 S HIGHWAY 287                                             DECATUR            TX   76234‐2722
JAMES WOOD MOTORS/ALAMO              3906 I‐35 E SOUTH                                                                               DENTON             TX   76210
JAMES WOOD MOTORS/ALAMO RENTAL       2111 S HIGHWAY 287                                                                              DECATUR            TX   76234‐2722

JAMES WOOD MOTORS/HERTZ           2111 S HIGHWAY 287                                                                                 DECATUR            TX   76234‐2722
CORPORATION
JAMES WOOD MOTORS/NATIONAL RENTAL 2111 S HIGHWAY 287                                                                                 DECATUR            TX   76234‐2722

JAMES WOOD P‐B‐G/ALAMO               US 81‐287 LOOP SOUTH                                                                            DECATUR            TX   76234
JAMES WOOD P‐B‐G/FLT ACTIVITY        US 81‐287 LOOP SOUTH                                                                            DECATUR            TX   76234
JAMES WOOD P‐B‐G/HERTZ               US 81‐287 LOOP SOUTH                                                                            DECATUR            TX   76234
JAMES WOOD P‐B‐G/NCR                 US 81‐287 LOOP SOUTH                                                                            DECATUR            TX   76234
JAMES WOOD PONTIAC‐BUICK‐GMC         2111 S HIGHWAY 287                                                                              DECATUR            TX   76234‐2722
JAMES WOODARD                        3927 W HERBISON RD                                                                              DEWITT             MI   48820‐9221
JAMES WOODARD                        RR 2 BOX 499                                                                                    PENNINGTON GAP     VA   24277‐9605
JAMES WOODARD                        9339 OLD LEBANON RD                                                                             CAMPBELLSVILLE     KY   42718‐8018
JAMES WOODARD                        275 STEWARTS LN                                                                                 CAMPBELLSVILLE     KY   42718‐7360
JAMES WOODARD                        2416 HARDING AVE                                                                                DAYTON             OH   45414‐3212
JAMES WOODARD                        6552 CANNON FARMS DR NE                                                                         ROCKFORD           MI   49341‐8283
JAMES WOODBURN                       C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH   44236
JAMES WOODBURY                       1622 CIRCULAR RD                                                                                TOLEDO             OH   43614‐4201
JAMES WOODGET                        12020 WESTWOOD ST                                                                               DETROIT            MI   48228‐1357
JAMES WOODGETT                       616 S BROTHERTON ST                                                                             MUNCIE             IN   47302‐2816
JAMES WOODINGTON                     3876 BOEING DR                                                                                  SAGINAW            MI   48604‐1806
JAMES WOODLEY                        13023 KINLOCK DR                                                                                STERLING HEIGHTS   MI   48312
JAMES WOODRING                       3922 OLD CORNELIA HWY                                                                           GAINESVILLE        GA   30507‐7781
JAMES WOODRUFF                       PO BOX 190151                                                                                   BURTON             MI   48519‐0151
JAMES WOODRUFF                       4724 PLUM VALLEY RD NW                                                                          RAPID CITY         MI   49676‐9502
JAMES WOODRUM                        6718 CHAPEL XING                                                                                ZIONSVILLE         IN   46077‐7844
JAMES WOODS                          1624 FRUITLAND AVE                                                                              MAYFIELD HTS       OH   44124‐3404
JAMES WOODS                          936 LIVERMORE LN                                                                                ELYRIA             OH   44035‐3014
JAMES WOODS                          610 W TICHENOR ST                                                                               COMPTON            CA   90220‐4414
JAMES WOODS                          6661 WESTFIELD DR                                                                               RIVERDALE          GA   30274‐2742
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Name                         Address1                       Address2                       Address3   Address4               City               State   Zip
JAMES WOODS                  1645 VALDOSTA CIR                                                                               PONTIAC             MI     48340‐1083
JAMES WOODS                  1913 ANDOVER DR                                                                                 YPSILANTI           MI     48198‐9554
JAMES WOODS                  4281 W ALLEN RD                                                                                 HOWELL              MI     48855‐8735
JAMES WOODS                  2703 BEDFORD RD                                                                                 LANSING             MI     48911‐1706
JAMES WOODS                  54045 WHITBY WAY                                                                                SHELBY TOWNSHIP     MI     48316‐1242
JAMES WOODS                  BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS          OH     44236
JAMES WOODS                  780 FOX AVE                                                                                     YPSILANTI           MI     48198‐6196
JAMES WOODS AUTOPARK/NAT'L   3906 I‐35 E SOUTH                                                                               DENTON              TX     76210
JAMES WOODS JR               118 E IROQUOIS RD                                                                               PONTIAC             MI     48341‐2017
JAMES WOODSON                835 S 26TH ST                                                                                   SAGINAW             MI     48601‐6533
JAMES WOODWARD               1595 S BALDWIN RD                                                                               OXFORD              MI     48371‐5611
JAMES WOODWARD               11321 HAROLD DR                                                                                 LUNA PIER           MI     48157‐9706
JAMES WOODWARD JR            1417 KURTZ RD                                                                                   HOLLY               MI     48442‐8377
JAMES WOODWORTH SR           6840 ISLAND HWY                                                                                 EATON RAPIDS        MI     48827‐9352
JAMES WOODY                  49716 MCCLURE RD                                                                                E PALESTINE         OH     44413‐8758
JAMES WOODY                  27539 HANOVER BLVD                                                                              WESTLAND            MI     48186‐5153
JAMES WOODY                  NOT AVAILABLE
JAMES WOOFTER                1472 LAKEWOOD AVE                                                                               LAKEWOOD           OH      44107
JAMES WOOLDRIDGE             720 GLENWAY DR                                                                                  LOGANSPORT         IN      46947
JAMES WOOLDRIDGE             226 SLEEPY HOLLOW RD                                                                            NOTTINGHAM         PA      19362‐9008
JAMES WOOLFOLK               11426 GREINER ST                                                                                DETROIT            MI      48234‐3805
JAMES WOOLNER                256 W STRATHMORE AVE                                                                            PONTIAC            MI      48340‐2778
JAMES WOOLSON                175 WHEELER ST                                                                                  TONAWANDA          NY      14150‐3835
JAMES WOOLWORTH              4718 OAK RD                                                                                     VASSAR             MI      48768‐9547
JAMES WOOSLEY                90 FERNWALD DR                                                                                  DAYTON             OH      45440‐3417
JAMES WOOSTER                15553 DAVIS DR                                                                                  ADDISON            MI      49220‐9338
JAMES WOOTEN                 249 INGERSOLL ST                                                                                ALBION             NY      14411‐1028
JAMES WORKMAN                1715 HIGHWAY 707                                                                                LOUISA             KY      41230
JAMES WORKMAN                2140 137TH AVE                                                                                  DORR               MI      49323‐9357
JAMES WORKMAN                8880 E SPICERVILLE HWY                                                                          EATON RAPIDS       MI      48827‐8903
JAMES WORLEY                 5780 AHO DR                                                                                     AVON               IN      46123‐8071
JAMES WORLEY                 4165 MANSON AVE SE                                                                              SMYRNA             GA      30082‐3725
JAMES WORLEY                 1705 POSSUM TRACK RD                                                                            ALGER              MI      48610‐9320
JAMES WORLEY                 PO BOX 1727                                                                                     SANTA ROSA BEACH   FL      32459‐1727

JAMES WORLEY                 675 PORTIS ST APT 13                                                                            STE GENEVIEVE      MO      63670‐1852
JAMES WORLEY JR              2850 ARBOR HILL RD                                                                              CANTON             GA      30115‐7776
JAMES WORRELL                84 BURTON LN                                                                                    MITCHELL           IN      47446‐6622
JAMES WORTHAM                1451 FAVELL DRIVE                                                                               MEMPHIS            TN      38116‐5115
JAMES WORTHEY                G PATTERSON KEAHY PC           ONE INDEPENDENCE PLAZA SUITE                                     BIRMINGHAM         AL      35209
JAMES WORTHING               338 PORTAGE LAKE RD                                                                             MUNITH             MI      49259‐9605
JAMES WORTHINGTON            602 BURTMAN DR                                                                                  TROY               MI      48083‐1041
JAMES WORTHINGTON JR         2513 NE 1ST TER                                                                                 BLUE SPRINGS       MO      64014‐1337
JAMES WORTHY                 PO BOX 901983                                                                                   KANSAS CITY        MO      64190‐1983
JAMES WORTS                  BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS         OH      44236
JAMES WOTTLE                 BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS         OH      44236
JAMES WOZNIAK                64 NASH ST                                                                                      WEST SENECA        NY      14206‐3320
JAMES WOZNIAK                911 N JONES RD                                                                                  ESSEXVILLE         MI      48732‐9600
JAMES WRAY                   22851 DAVID AVE                                                                                 EASTPOINTE         MI      48021‐4616
JAMES WREN                   4421 HIGH STREET                                                                                LOGANSPORT         IN      46947‐2307
JAMES WREN                   265 LESLIE DR                                                                                   WILMINGTON         OH      45177‐8627
JAMES WREN                   PO BOX 489                                                                                      GENESEE            MI      48437‐0489
JAMES WREN                   574 SHERIDAN DR APT 1                                                                           TONAWANDA          NY      14150‐7875
JAMES WREN JR                14785 WESTPOINT DR                                                                              STERLING HTS       MI      48313‐3678
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Name               Address1                       Address2                     Address3   Address4               City               State   Zip
JAMES WRESSELL     4141 SCARLET OAK DR                                                                           SAGINAW             MI     48603‐1159
JAMES WRESSELL     1055 SAUK LN                                                                                  SAGINAW             MI     48638‐5530
JAMES WRIGHT       5410 GLENRIDGE DR                                                                             TOLEDO              OH     43614‐1608
JAMES WRIGHT       7728 BAY POINT DR                                                                             WESLEY CHAPEL       FL     33544
JAMES WRIGHT       125 E HARWOOD AVE                                                                             MADISON HTS         MI     48071‐4069
JAMES WRIGHT       3401 NONETTE DR                                                                               LANSING             MI     48911‐3366
JAMES WRIGHT       2 ROY CT. CHAPEL WOODS                                                                        NEWARK              DE     19711
JAMES WRIGHT       19 MAILLY DR                                                                                  TOWNSEND            DE     19734‐2207
JAMES WRIGHT       559 COMPASS RD E                                                                              BALTIMORE           MD     21220‐3543
JAMES WRIGHT       13901 CHATHAM ST                                                                              DETROIT             MI     48223‐2551
JAMES WRIGHT       3702 E TULIP LN                                                                               MUNCIE              IN     47302‐9269
JAMES WRIGHT       6315 AKRON AVE NW                                                                             CANAL FULTON        OH     44614‐8752
JAMES WRIGHT       1114 BRUNES BLVD                                                                              BROWNSBURG          IN     46112‐7985
JAMES WRIGHT       709 BERKLEY DR                                                                                CLEBURNE            TX     76033‐4637
JAMES WRIGHT       20579 STATE HIGHWAY 6                                                                         GALLATIN            MO     64640‐7312
JAMES WRIGHT       1212 N CHESTER RD                                                                             CHARLOTTE           MI     48813‐8866
JAMES WRIGHT       846 E NORTHFIELD AVE                                                                          PONTIAC             MI     48340‐1333
JAMES WRIGHT       4330 TOWNLINE RD                                                                              BIRCH RUN           MI     48415‐8932
JAMES WRIGHT       1655 STEINHILBER DR                                                                           PIQUA               OH     45356‐9582
JAMES WRIGHT       10591 W ROSEBUSH RD                                                                           LAKE                MI     48632‐9651
JAMES WRIGHT       598 TOMOKA AVE                                                                                ORMOND BEACH        FL     32174‐6184
JAMES WRIGHT       31775 LAKE SIDE DR.            BLDG 62 APT 3                                                  FARMINGTON HILLS    MI     48334

JAMES WRIGHT       613 W BALDWIN RD                                                                              BALDWIN            MI      49304‐8071
JAMES WRIGHT       3504 RIDGEWAY DR                                                                              ANDERSON           IN      46012
JAMES WRIGHT       4457 E 575 S                                                                                  MARKLEVILLE        IN      46056‐9746
JAMES WRIGHT       26173 CABANA RD                                                                               BONITA SPRINGS     FL      34135‐6508
JAMES WRIGHT       4223 FOLEY RD                                                                                 CINCINNATI         OH      45238‐5501
JAMES WRIGHT       480 E LOMAR AVE                                                                               CARLISLE           OH      45005‐3380
JAMES WRIGHT       797 CARROLL CHUNN RD                                                                          WOODBURY           GA      30293‐2503
JAMES WRIGHT       278 KING ARTHUR DR                                                                            LAWRENCEVILLE      GA      30045‐4701
JAMES WRIGHT       17352 PREST ST                                                                                DETROIT            MI      48235‐3730
JAMES WRIGHT       4011 OLD ATLANTA RD                                                                           SUWANEE            GA      30024‐1335
JAMES WRIGHT       17420 W ALBAIN RD                                                                             PETERSBURG         MI      49270‐9546
JAMES WRIGHT       11099 BARE DR                                                                                 CLIO               MI      48420‐1537
JAMES WRIGHT       157 POPLAR RIDGE RD                                                                           CANAAN             IN      47224‐9538
JAMES WRIGHT       5572 COPLIN ST                                                                                DETROIT            MI      48213‐3706
JAMES WRIGHT       2727 E RIVER RD                                                                               NEWTON FALLS       OH      44444‐9790
JAMES WRIGHT       549 E RANDALL ST                                                                              COOPERSVILLE       MI      49404‐9649
JAMES WRIGHT       1427 MAXFIELD RD                                                                              HARTLAND           MI      48353‐3631
JAMES WRIGHT       BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH      44236
JAMES WRIGHT       24 CENTRE ST                                                                                  NUTLEY             NJ      07110
JAMES WRIGHT JR    107 LENNOX AVE                                                                                AMHERST            NY      14226‐4266
JAMES WRIGHT JR    9235 PIEDMONT LN                                                                              RHOADESVILLE       VA      22542‐8721
JAMES WRIGHT JR    1639 COURTFIELD LN                                                                            COLLIERVILLE       TN      38017‐3293
JAMES WROBLESKI    1268 TULBERRY CIR                                                                             ROCHESTER          MI      48306‐4821
JAMES WROBLEWSKI   2575 ARMSTRONG DR                                                                             LAKE ORION         MI      48360‐1916
JAMES WURTS        4811 ALPHA WAY                                                                                FLINT              MI      48506‐1837
JAMES WYATT        921 HIGHWOODS TRL                                                                             FORT WORTH         TX      76112‐2704
JAMES WYATT        1390 DOGWOOD DR                                                                               ERIN               TN      37061‐5115
JAMES WYATT        2823 TOME HWY                                                                                 COLORA             MD      21917‐1217
JAMES WYATT        6741 W B AVE                                                                                  PLAINWELL          MI      49080‐9741
JAMES WYLIE        126 RAILROAD ST                                                                               DEERFIELD          MI      49238‐9738
JAMES WYMER        1707 LIBERTY GROVE RD                                                                         COLORA             MD      21917‐1324
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Name              Address1                         Address2                     Address3   Address4               City               State   Zip
JAMES WYNIEMKO    16362 OAK HILL DR                                                                               FENTON              MI     48430‐9091
JAMES WYNN        14211 SE FAIROAKS LN                                                                            MILWAUKIE           OR     97267‐1068
JAMES WYNNS       PO BOX 431808                                                                                   PONTIAC             MI     48343‐1808
JAMES WYSOCKI     1656 TAMARACK AVE NW                                                                            GRAND RAPIDS        MI     49504‐2860
JAMES WYSOCKI     2459 E LEXINGTON RD                                                                             EATON               OH     45320‐1344
JAMES YAGIELO     C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS          OH     44236
JAMES YAKICIC     3 WYNDMOOR WAY                                                                                  EDISON              NJ     08820‐2733
JAMES YAKLIC      25354 SAINT CHRISTOPHER ST                                                                      HARRISON            MI     48045‐3727
                                                                                                                  TOWNSHIP
JAMES YAKLIN      7887 VERNON RD                                                                                  NEW LOTHROP        MI      48460‐9500
JAMES YAKLIN      PO BOX 9022                      C/O GM KOREA                                                   WARREN             MI      48090‐9022
JAMES YANCEY      2140 MACDONALD RD                                                                               SCOTTSBURG         VA      24589‐3196
JAMES YANCHO      5422 DELAND RD                                                                                  FLUSHING           MI      48433‐2902
JAMES YANCI       3273 MILEAR RD                                                                                  CORTLAND           OH      44410‐9421
JAMES YANKOVICH   7338 N GULLEY RD                                                                                DEARBORN HTS       MI      48127‐3843
JAMES YANT        43 BRENTWOOD DR                                                                                 WHITE LAKE         MI      48386‐1910
JAMES YAO IRA     JAMES YAO                        1247 CHESTNUT                                                  WILMETTE           IL      60091
JAMES YARBROUGH   220 OAK HILL DR                                                                                 ROCKMART           GA      30153‐3554
JAMES YARYAN      828 SORRELL CT                                                                                  LEBANON            IN      46052‐1995
JAMES YATES       1403 ITAWAMBA TRL                                                                               LONDON             OH      43140‐9007
JAMES YATES       1801 FAIRGROUND RD                                                                              ELWOOD             IN      46036‐1358
JAMES YATES       1451 NW 800TH RD                                                                                HOLDEN             MO      64040‐8419
JAMES YATES       5886 SCOTTSDALE AVE                                                                             MEMPHIS            TN      38115‐3159
JAMES YATES       5104 SIMPSON LN                                                                                 COLUMBIA           TN      38401‐9515
JAMES YATES       1220 BORG AVE                                                                                   TEMPERANCE         MI      48182‐2606
JAMES YATSON      380 STABLE DR                                                                                   LAGRANGE           OH      44050‐9614
JAMES YAUGER      170 FAIRLAWN AVE                                                                                NILES              OH      44446‐2042
JAMES YEARBY JR   PO BOX 5144                                                                                     FLINT              MI      48505‐0144
JAMES YEARGIN     1325 UNIVERSITY DR                                                                              PONTIAC            MI      48342‐1972
JAMES YEARTA      2110 WINDY HILL CT                                                                              OAKLAND            MI      48363‐2939
JAMES YEDNAK      1201 MCDONOUGH ST                                                                               S PLAINFIELD       NJ      07080‐1617
JAMES YEE         34635 SAN PAULO DR                                                                              STERLING HEIGHTS   MI      48312‐5733
JAMES YEOMAN      133 E 2ND ST                                                                                    SPRINGFIELD        OH      45504‐1448
JAMES YEOMAN      28973 HUGHES ST                                                                                 ST CLR SHORES      MI      48081‐1013
JAMES YERGIN
JAMES YETTER      254 NORTHVIEW AVE                                                                               CRESTLINE          OH      44827‐1051
JAMES YETTER      525 MELANIE DR                                                                                  GASSVILLE          AR      72635‐8509
JAMES YEVTICH     15730 E CENTIPEDE DR                                                                            FOUNTAIN HILLS     AZ      85268‐1533
JAMES YODER       865 MARIDON CT                                                                                  VANDALIA           OH      45377‐3038
JAMES YODER       9255 LAPEER RD                                                                                  DAVISON            MI      48423‐1756
JAMES YODER JR    1405 BEACHLAND BLVD                                                                             WATERFORD          MI      48328‐4733
JAMES YOHN        7650 MEAD0WOOD DR                                                                               CANFIELD           OH      44406
JAMES YONTS       522 N 700 W                                                                                     SWAYZEE            IN      46986‐9763
JAMES YONTZ       6021 MOORE RD                                                                                   SANTA FE           TX      77517‐3211
JAMES YORK        10921 SE 68TH ST                                                                                OKLAHOMA CITY      OK      73150‐6012
JAMES YORK        PO BOX 51533                                                                                    BOWLING GREEN      KY      42102‐5833
JAMES YORK        8400 W 1600 N                                                                                   ELWOOD             IN      46036‐8792
JAMES YORK        3580 STARLING RD                                                                                BETHEL             OH      45106‐9708
JAMES YORK        3113 SHERMAN ST                                                                                 ANDERSON           IN      46016‐5921
JAMES YORK        10332 WALNUT SHORESIVE                                                                          FENTON             MI      48430
JAMES YORK        12884 ANN LYNN DR                                                                               SOUTH LYON         MI      48178‐9363
JAMES YORK        1420 COON HOLLOW RD                                                                             SUNBRIGHT          TN      37872‐3206
JAMES YOST        C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH      44236
JAMES YOUMANS     25148 MADDEN ST                                                                                 TAYLOR             MI      48180‐3279
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Name                  Address1                             Address2                     Address3               Address4               City              State   Zip
JAMES YOUMANS         7241 PORTER RD                                                                                                  GRAND BLANC        MI     48439‐8546
JAMES YOUNG           8500 DUNN RD                                                                                                    MUNITH             MI     49259‐9766
JAMES YOUNG           251 LUTHER AVE                                                                                                  PONTIAC            MI     48341‐2778
JAMES YOUNG           RICHARDSON PATRICK WESTBROOK &       1730 JACKSON STREET          POST OFFICE BOX 1368                          BARNWELL           SC     29812
                      BRICKMAN LLC
JAMES YOUNG           4314 WARREN RAVENNA RD                                                                                          NEWTON FALLS      OH      44444‐8786
JAMES YOUNG           883 TRINITY CHURCH RD                                                                                           TOBACCOVILLE      NC      27050‐9118
JAMES YOUNG           4122 NAPLES AVE                                                                                                 ERIE              PA      16509‐1530
JAMES YOUNG           12452 E 100 S                                                                                                   GREENTOWN         IN      46936‐9175
JAMES YOUNG           1311 MEADOWVIEW DR                                                                                              MIAMISBURG        OH      45342‐3209
JAMES YOUNG           467 KARL DR                                                                                                     RICHMOND HTS      OH      44143‐2541
JAMES YOUNG           160 LN 280C                                                                                                     HAMILTON          IN      46742
JAMES YOUNG           221 N AINGER RD                                                                                                 CHARLOTTE         MI      48813‐8859
JAMES YOUNG           1030 JORDAN LAKE ST                                                                                             LAKE ODESSA       MI      48849‐1211
JAMES YOUNG           205 MASSOIT ST                                                                                                  CLAWSON           MI      48017‐2044
JAMES YOUNG           10645 ONSTED HWY                                                                                                BROOKLYN          MI      49230‐8606
JAMES YOUNG           420 BEECHWOOD DR                                                                                                WESTMONT          IL      60559‐2836
JAMES YOUNG           103 GILBERT AVE                                                                                                 TERRE HAUTE       IN      47807‐4023
JAMES YOUNG           9799 TAMALPAIS PL                                                                                               MORENO VALLEY     CA      92557‐3516
JAMES YOUNG           PO BOX 1022                                                                                                     GLEN ROSE         TX      76043‐1022
JAMES YOUNG           PO BOX 14317                                                                                                    SAGINAW           MI      48601‐0317
JAMES YOUNG           6241 OTOOLE LN                                                                                                  MOUNT MORRIS      MI      48458‐2617
JAMES YOUNG           208 E RANKIN ST                                                                                                 FLINT             MI      48505‐4977
JAMES YOUNG           463 NOD RD                                                                                                      BENTON            MS      39039‐8301
JAMES YOUNG           18221 EUCLID AVE                     APT # 206                                                                  CLEVELAND         OH      44112‐1012
JAMES YOUNG           6209 HILLCROFT DR                                                                                               FLINT             MI      48505‐2436
JAMES YOUNG           6403 E BRISTOL RD                                                                                               BURTON            MI      48519‐1744
JAMES YOUNG           6152 MACKVILLE RD                                                                                               SPRINGFIELD       KY      40069‐9703
JAMES YOUNG           5339 BELPRE DR                                                                                                  TOLEDO            OH      43611‐1162
JAMES YOUNG           517 ROCK PRAIRIE LN                                                                                             FORT WORTH        TX      76140‐6563
JAMES YOUNG           2187 S LONG LAKE RD                                                                                             FENTON            MI      48430‐1488
JAMES YOUNG           BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS        OH      44236
JAMES YOUNG           THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES            22ND FLOOR                                    BALTIMORE         MD      21201

JAMES YOUNG JR        3740 BALDWIN ST                                                                                                 DETROIT           MI      48214‐1000
JAMES YOUNG JR        123 BRIGHAM CIR                                                                                                 CANTON            GA      30115‐4633
JAMES YOUNG JR        2009 NE WYNDHAM PL                                                                                              BLUE SPRINGS      MO      64029‐8283
JAMES YOUNG SR        6428 TRUMAN DR                                                                                                  FORT WORTH        TX      76112‐8030
JAMES YOUNG‐EL        2309 N MORRISON RD                                                                                              MUNCIE            IN      47304‐5066
JAMES YOUNGBLOOD      3616 BELLEVALE AVE                                                                                              BALTIMORE         MD      21206‐1651
JAMES YOUNGLOVE       1781 SOUTH BELL SCHOOL ROAD                                                                                     CHERRY VALLEY     IL      61016‐9338
JAMES YOUNGMAN JR     870 GENEVA AVE                                                                                                  COLUMBUS          OH      43223‐2509
JAMES YOUTSEY         BOX 82A RR 1                                                                                                    WINSTON           MO      64689
JAMES YUHAS           59834 BEECHWOOD DR                                                                                              WASHINGTON        MI      48094‐3766
                                                                                                                                      TOWNSHIP
JAMES YUHAS SR.       723 FORD BLVD                                                                                                   LINCOLN PARK      MI      48146‐4398
JAMES YUKON           480 E MONTROSE ST                                                                                               YOUNGSTOWN        OH      44505‐1519
JAMES YUNKER          2232 VAN BLARICUM RD                                                                                            CINCINNATI        OH      45233‐4328
JAMES YURGIL          18435 BAINBRIDGE AVE                                                                                            LIVONIA           MI      48152‐3321
JAMES YURKOVICH       27376 DARTMOUTH ST                                                                                              MADISON HEIGHTS   MI      48071‐3238

JAMES Z LOVELESS      65 ANNA STREET                                                                                                  DAYTON            OH      45417‐2252
JAMES Z LOVELESS JR   2701 N GETTYSBURG AVE APT 9                                                                                     DAYTON            OH      45406‐1609
JAMES ZABIELSKI       8185 W RIDGE DR                                                                                                 BROADVIEW HTS     OH      44147‐1030
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Name                 Address1                             Address2                     Address3     Address4               City              State   Zip
JAMES ZACCARINE      3368 LAKEVIEW RD                                                                                      HAMBURG            NY     14075‐6115
JAMES ZACHARY        PO BOX 176                                                                                            BYRDSTOWN          TN     38549‐0176
JAMES ZACHARY        13095 NW HAWTHORNE DR                                                                                 PLATTE CITY        MO     64079‐7900
JAMES ZACHERY        49 FLETCHER CT                                                                                        MARTINSBURG        WV     25404‐5484
JAMES ZACHRICH       18812 ROAD B13                                                                                        CONTINENTAL        OH     45831‐9715
JAMES ZAMARELLI      1085 NORTH RD SE                                                                                      WARREN             OH     44484‐2702
JAMES ZAMBON         22625 HAYES RD                                                                                        BIG RAPIDS         MI     49307‐9437
JAMES ZAMBRI
JAMES ZAMJAHN        1901 ARCHERS POINTE                                                                                   ROCHESTER HLS     MI      48306‐3215
JAMES ZAMPELLA       426 N 17TH ST                                                                                         SEBRING           OH      44672‐1210
JAMES ZANN           3804 W 137TH ST                                                                                       CLEVELAND         OH      44111‐4443
JAMES ZARRELLO       1006 SPRING LN                                                                                        ABSECON           NJ      08201‐4337
JAMES ZASOWSKI       66 ALLENDALE RD                                                                                       WEST SENECA       NY      14224‐3902
JAMES ZATKO          5783 WELLS RD                                                                                         PETERSBURG        MI      49270‐9534
JAMES ZAUCHA         705 N ERIE ST                                                                                         BAY CITY          MI      48706‐4413
JAMES ZAVATSKY       5205 WHIPPLE LAKE RD                                                                                  CLARKSTON         MI      48348‐3054
JAMES ZAWACKI        4607 296TH ST                                                                                         TOLEDO            OH      43611‐1956
JAMES ZAZZARINO      2666 DOUGLAS LN                                                                                       THOMPSONS STN     TN      37179‐5008
JAMES ZBIKOWSKI      15238 COOPER ST                                                                                       TAYLOR            MI      48180‐7707
JAMES ZEBRON JR.     7623 HILLENDALE RD APT G                                                                              BALTIMORE         MD      21234‐6058
JAMES ZEDER          206 N TRUMBULL ST                                                                                     BAY CITY          MI      48708‐6837
JAMES ZEEK           PO BOX 476                           1497 FOREST GROVE RD                                             FOREST GROVE      PA      18922‐0476
JAMES ZEIGLER        807 19TH ST SW                                                                                        BIRMINGHAM        AL      35211‐3620
JAMES ZELLNER        346 ROBINSON ST                                                                                       N TONAWANDA       NY      14120‐7019
JAMES ZELLNER        39 ARLINGTON DR                                                                                       FORDS             NJ      08863‐1313
JAMES ZELMER         509 E BELL ST                                                                                         SAINT CHARLES     MI      48655
JAMES ZERVAN         14450 LINCOLN RD                                                                                      CHESANING         MI      48616‐8425
JAMES ZIEGENFELDER   5521 FARLEY RD                                                                                        CLARKSTON         MI      48346‐1738
JAMES ZIEGENFUS      THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES            22ND FLOOR                          BALTIMORE         MD      21201

JAMES ZIEGLER JR     1175 OAK ST SW                                                                                        WARREN            OH      44485‐3629
JAMES ZIELINSKI      710 S MONROE ST                                                                                       BAY CITY          MI      48708‐7279
JAMES ZIELINSKI      73 JUDITH DR                                                                                          CHEEKTOWAGA       NY      14227‐3427
JAMES ZIELINSKI      1602 QUIN ST                                                                                          BOSSIER CITY      LA      71112‐2742
JAMES ZIELINSKI JR   6570 MAPLE GROVE ROAD                                                                                 NASHVILLE         MI      49073‐9536
JAMES ZIEMINSKI      1482 17TH ST                                                                                          WYANDOTTE         MI      48192‐3347
JAMES ZIMMERMAN      PO BOX 48                                                                                             CLEVELAND         MO      64734‐0048
JAMES ZIMMERMAN      988 E NORTHFIELD AVE                                                                                  PONTIAC           MI      48340‐1456
JAMES ZIMMERMAN      1533 S MERIDIAN RD                                                                                    YOUNGSTOWN        OH      44511‐1140
JAMES ZIMMERMAN      9641 MUSIC ST                                                                                         NOVELTY           OH      44072‐9682
JAMES ZIMMERMAN      330 HILL DR                                                                                           BEDFORD           IN      47421‐9365
JAMES ZIMMERMAN      233 E BIGGS RD                                                                                        PORTLAND          TN      37148‐4896
JAMES ZINK           10105 WELLINGTON DR                                                                                   CLARKSTON         MI      48348‐1556
JAMES ZIOLA          5131 N FRIEGEL RD                                                                                     ELSIE             MI      48831‐9440
JAMES ZIOLA          414 PORTIA ST                                                                                         SOUTH AMBOY       NJ      08879‐1554
JAMES ZION           2420 WESTVIEW RD                                                                                      CORTLAND          OH      44410‐9466
JAMES ZIRKELBACH     3927 DELAWARE ST                                                                                      ANDERSON          IN      46013‐4337
JAMES ZISCHKE        44 BAYBERRY DR                                                                                        LEESBURG          FL      34788‐7928
JAMES ZITNIK         4091 PLEASANT VALLEY LN                                                                               CANFIELD          OH      44406‐9308
JAMES ZITO           768 SHELLEY DR                                                                                        ROCHESTER HILLS   MI      48307‐4243
JAMES ZKIAB          3420 WOOSTER RD APT 219                                                                               ROCKY RIVER       OH      44116‐4151
JAMES ZMIKLY         1605 S JOHN HIX ST                                                                                    WESTLAND          MI      48186‐3768
JAMES ZOELLER        2115 PRINCETON AVE                                                                                    SCOTCH PLAINS     NJ      07076‐4685
JAMES ZOKY           BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                       BOSOTN HTS        OH      44236
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Name                   Address1                         Address2                  Address3   Address4               City               State   Zip
JAMES ZOLADKIEWICZ     2002 BEECHWOOD DR                                                                            WILMINGTON          DE     19810‐4357
JAMES ZOLI             36620 ORCHARD LAKE DR                                                                        NEW BALTIMORE       MI     48047‐5550
JAMES ZONAVETCH        PO BOX 530                                                                                   CEDAR SPRINGS       MI     49319‐0530
JAMES ZOOK             2447 N 900 W 27                                                                              CONVERSE            IN     46919‐9334
JAMES ZORZI            1909 KING DR                                                                                 HERMITAGE           PA     16148‐4131
JAMES ZSIGO            5949 HICKORY TRL                                                                             N RIDGEVILLE        OH     44039‐2652
JAMES ZUBRICKY         600 RICHMOND AVE                                                                             BUFFALO             NY     14222‐1321
JAMES ZUCCO            29 SOUTH BUTLER AVENUE                                                                       NILES               OH     44446‐1536
JAMES ZUIDEMA          63 FOXPOINTE COURT                                                                           SWARTZ CREEK        MI     48473‐8282
JAMES ZUKER            1375 N OLSON RD                                                                              SUMNER              MI     48889‐9775
JAMES ZUMBO            1601 WILSON RD                                                                               PITTSBURGH          PA     15236‐3628
JAMES ZUNICH           10250 CEDAR ISLAND RD                                                                        WHITE LAKE          MI     48386‐2911
JAMES ZUNK             17571 W WALBRIDGE EAST RD                                                                    GRAYTOWN            OH     43432‐9619
JAMES ZURICK           7829 SAINT BONIFACE LN                                                                       BALTIMORE           MD     21222‐3526
JAMES ZWYGHUIZEN       7510 64TH AVE                                                                                HUDSONVILLE         MI     49426‐8937
JAMES ZYNDA            167 WILLOW GREEN DR                                                                          AMHERST             NY     14228‐3424
JAMES, AARON           4000 E 141ST ST                                                                              CLEVELAND           OH     44128‐1804
JAMES, AARON C         PO BOX 10401                                                                                 JACKSON             MS     39289‐0401
JAMES, ADAM R          755 RENAISSANCE DR.APT C218                                                                  WILLIAMSVILLE       NY     14221
JAMES, ADRIAN L        35756 GRANDVIEW CT                                                                           FARMINGTON HILLS    MI     48335‐2463

JAMES, AGNES T         12277 COUNTY ROAD 4003                                                                       TEBBETTS           MO      65080‐1211
JAMES, AHRONDA D       4768 S COUNTY ROAD 200 W                                                                     KOKOMO             IN      46902
JAMES, ALBERT          3901 BLANKS ST                                                                               MONROE             LA      71203‐4405
JAMES, ALBERT L        32252 W 12 MILE RD # 6                                                                       FARMINGTON HILLS   MI      48334

JAMES, ALBERT L        1937 ECKLEY AVE                  C/O DORETHA BREED                                           FLINT              MI      48503‐4527
JAMES, ALEXANDER       718 MONROE ST                                                                                NEW CASTLE         PA      16101‐4547
JAMES, ALFRED W        25 1/2 S EDITH STREET                                                                        PONTIAC            MI      48342‐2938
JAMES, ALICE M         3460 SUNBURY LN                                                                              CINCINNATI         OH      45251‐2393
JAMES, ALLEN           764 N E MAIN                                                                                 PAOLI              IN      47454‐7454
JAMES, ALLEN           162 ARMSTRONG RD                                                                             BROOKLYN           MS      39425‐9657
JAMES, ALLEN           764 NE MAIN ST                                                                               PAOLI              IN      47454‐9236
JAMES, ALVIS W         29195 SPRING ST                                                                              FARMINGTON HILLS   MI      48334‐4139

JAMES, AMANDA          5302 FLEMING RD                                                                              FLINT              MI      48504‐7080
JAMES, ANDERSON/OKEM   2123 UNIVERSITY PARK DRIVE                                                                   OKEMOS             MI      48864
JAMES, ANDREW          1202 CHESTNUT ST                                                                             VICKSBURG          MS      39183‐2710
JAMES, ANGELYN S       755 PATTERNS DR SW                                                                           MABLETON           GA      30126‐1664
JAMES, ANITA D         17911 WOOD ST                                                                                MELVINDALE         MI      48122‐1430
JAMES, ANITA D         PO BOX 109                                                                                   CLEVELAND          NY      13042
JAMES, ANN
JAMES, ANNA J          984 SOUTH HAGUE AVENUE                                                                       COLUMBUS           OH      43204‐2308
JAMES, ANNA J          984 S HAGUE AVE                                                                              COLUMBUS           OH      43204‐2308
JAMES, ANTHONY D       4224 PINE RIDGE                                                                              BURTON             MI      48519‐2817
JAMES, ANTHONY S       40750 TURNBERRY CT                                                                           PALMDALE           CA      93551
JAMES, ANTONETTE       265 S BECKWITH RD SPC 81A                                                                    SANTA PAULA        CA      93060‐4481
JAMES, ANTONIO         PO BOX 961588                                                                                EL PASO            TX      79996‐1588
JAMES, APRYL           201 EUCLID AVE APT 2                                                                         MANSFIELD          OH      44903‐1874
JAMES, ARNOLD R        2713 SE RAWLINGS RD                                                                          PORT ST LUCIE      FL      34952‐6655
JAMES, ARTHUR          304 TANGELO DR                                                                               JEFFERSON HILLS    PA      15025‐3419
JAMES, ARTHUR J        1807 W 42ND ST                                                                               LORAIN             OH      44053‐2613
JAMES, AUDREY C        C/O CECILIA M. MEHAFFIE          2835 TARA TRAIL                                             BEAVERCREEK        OH      45434‐6250
JAMES, AUDREY C        2835 TARA TRL                    C/O CECILIA M. MEHAFFIE                                     BEAVERCREEK        OH      45434‐6250
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JAMES, AUGUSTER      5490 VICTORY BLVD                                                                         MORROW              GA     30260
JAMES, AUTHER L      LEBLANC & WADDELL               5353 ESSEN LN STE 420                                     BATON ROUGE         LA     70809‐0500
JAMES, AVA G         RR 4 BOX 375                                                                              GREENFIELD          IN     46140
JAMES, BARBARA E     25 CONCHO CIR                                                                             SEDONA              AZ     86351‐8744
JAMES, BARBARA J     4104 GLENBURNE BLVD                                                                       LANSING             MI     48911‐2536
JAMES, BARBARA J     3328 N WOODLAKE CIR APT 3                                                                 MEMPHIS             TN     38118‐5866
JAMES, BARBARA K     5524 STATE ROUTE 305                                                                      SOUTHINGTON         OH     44470‐9712
JAMES, BARBARA K     5524 STATE RT.305                                                                         SOUTHINGTON         OH     44470‐9712
JAMES, BENJAMIN      191 14 WOODHULL AVE                                                                       HOLLIS              NY     11423
JAMES, BENNETT H     1260 HIGHWAY 768 RD E                                                                     COLUMBIA            KY     42728‐7833
JAMES, BERNICE       700 E FOX HILLS DR                                                                        BLOOMFIELD HILLS    MI     48304‐1360
JAMES, BETTIE L      1511 BASSETT ST                                                                           LANSING             MI     48915‐1503
JAMES, BETTY         26993 WIDEN WAY                                                                           GEORGETOWN          DE     19947‐9801
JAMES, BETTY J       PO BOX 231                                                                                VALDOSTA            GA     31603‐0231
JAMES, BETTY J       1711 LAKE CHAPMAN DR UNIT 101                                                             BRANDON             FL     33510‐4092
JAMES, BETTY J       475 VALENCIA DR                                                                           PONTIAC             MI     48342‐1770
JAMES, BETTY M       2308 GREENHILL DR                                                                         MESQUITE            TX     75150‐5217
JAMES, BETTYE J      5208 DEWEY ST                                                                             WICHITA FALLS       TX     76306‐1345
JAMES, BETTYE JEAN   C/O MOODY                       801 WEST FOURTH ST                                        LITTLE ROCK         AR     72201
JAMES, BEULAH E      1059 THORNHILL DR                                                                         EAST CLEVELAND      OH     44108‐2316
JAMES, BEVERLY       3730 W DEPUTY LANE                                                                        TUCSON              AZ     85742‐9174
JAMES, BEVERLY A     665 DEVANSHAE CT                                                                          HAMILTON            OH     45013‐5301
JAMES, BEVERLY J     6295 NEWCASTLE AVE                                                                        GOLETA              CA     93117‐2032
JAMES, BEVERLY J     1419 E 49TH ST                                                                            CHICAGO              IL    60615‐2001
JAMES, BILLY R       9221 N COUNTY ROAD 500 W                                                                  MUNCIE              IN     47304‐9032
JAMES, BILLY W       3459 UPPER PLATTIN RD                                                                     DE SOTO             MO     63020‐4570
JAMES, BLANCHE       721 GENTRY                                                                                MOUNTAIN HOME       AR     72653
JAMES, BOBBIE L      4220 TAYLOR RD                                                                            BATAVIA             OH     45103‐9774
JAMES, BOBBIE L      16400 N PARK DR APT 704                                                                   SOUTHFIELD          MI     48075‐4727
JAMES, BOBBY G       50 STACIA DR                                                                              COVINGTON           GA     30016‐4748
JAMES, BOBBY J       5315 N SEYMOUR RD                                                                         FLUSHING            MI     48433‐1085
JAMES, BOBBY L       14852 PLYMOUTH XING                                                                       PLYMOUTH            MI     48170‐2554
JAMES, BOLDEN E      744 GENEVA RD.                                                                            DAYTON              OH     45417‐1215
JAMES, BOLDEN E      744 GENEVA RD                                                                             DAYTON              OH     45417‐1215
JAMES, BONITA G      3690 GOLFSIDE DR                                                                          YPSILANTI           MI     48197‐3764
JAMES, BONNIE J      1245 RIVER OAKS DR                                                                        FLINT               MI     48532‐2830
JAMES, BRADLEY A     8079 GREEN VALLEY DR                                                                      GRAND BLANC         MI     48439‐8146
JAMES, BRADLEY B     6282 SNOW APPLE DR                                                                        CLARKSTON           MI     48346‐2450
JAMES, BRIAN L       PO BOX 11243                                                                              INDIANAPOLIS        IN     46201‐0243
JAMES, BRUCE         711 BERLIN RD                                                                             HURON               OH     44839‐1911
JAMES, BRUCE A       8948 FERNWOOD PATH                                                                        WASHINGTON TWP      MI     48094‐1511

JAMES, BRUCE D       3605 CAMBREY DR                                                                           LANSING            MI      48906‐3516
JAMES, BRYAN E       13017 BERESFORD DR                                                                        STERLING HEIGHTS   MI      48313‐4117
JAMES, C J           HC 3 BOX 3442                                                                             WAPPAPELLO         MO      63966‐9758
JAMES, CARL          SHANNON LAW FIRM                100 W GALLATIN ST                                         HAZLEHURST         MS      39083‐3007
JAMES, CARLET N      2000 PEACH ST APT 68                                                                      MONROE             LA      71202‐2406
JAMES, CAROLYN L     2102 SOUTHWEST VIXEN COURT                                                                PORT ST. LUCIE     FL      34953
JAMES, CAROLYN L     PO BOX 6219                                                                               BELLEVUE           WA      98008‐0219
JAMES, CAROLYN S     3811 QUIVERA CIR                                                                          CARROLLTON         TX      75007‐6273
JAMES, CAROLYN V     14836 PRAIRIE LAKE DR                                                                     PERRYSBURG         OH      43551‐8852
JAMES, CATHRYN E     137 BROOKSIDE DR                                                                          FLUSHING           MI      48433‐2658
JAMES, CEDRIC J      1306 ROGERS AVE                                                                           BROOKLYN           NY      11210‐1432
JAMES, CHARLENE      1000 CLEO ST                                                                              LANSING            MI      48915‐1438
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Name                    Address1                         Address2                      Address3   Address4               City              State   Zip
JAMES, CHARLES A        1471 NE LIVINGSTON ST                                                                            ARCADIA            FL     34266‐8817
JAMES, CHARLES A        2726 MCCALL ST                                                                                   DAYTON             OH     45417‐2028
JAMES, CHARLES D        4973 TIMBERLAWN COURT                                                                            GREENVILLE         OH     45331‐7707
JAMES, CHARLES D        13326 WEST RD                                                                                    WESTFIELD          IN     46074‐8490
JAMES, CHARLES E        405 WHITE POND DR                                                                                AKRON              OH     44320‐1137
JAMES, CHARLES E        830 JACKSON ST                                                                                   BOWLING GREEN      KY     42101‐5174
JAMES, CHARLES F        511 E 8TH ST                                                                                     KEARNEY            MO     64060‐7511
JAMES, CHARLES F        400 HAWTHORNE TRL                                                                                CORTLAND           OH     44410‐1176
JAMES, CHARLES H        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510‐2212
                                                         STREET, SUITE 600
JAMES, CHARLES L        6108 LUCY ST                                                                                     PENSACOLA          FL     32503‐7219
JAMES, CHARLES L        5227 HARRISBURG RD                                                                               JONESBORO          AR     72404‐8440
JAMES, CHARLES R        5003 W 69TH TER                                                                                  SHAWNEE MISSION    KS     66208‐2036

JAMES, CHARLES R        190 VILLA DR                                                                                     BROWNSVILLE       KY      42210‐9417
JAMES, CHARLES W        1848 SEAGRAPE STREET NORTHEAST                                                                   PALM BAY          FL      32905‐3313
JAMES, CHARLIE          3433 HALEH CIR SE APT J                                                                          GRAND RAPIDS      MI      49546‐5959
JAMES, CHARLIE H        4494 BAYBERRY CT                                                                                 WARREN            MI      48092‐4170
JAMES, CHENITA          742 MELVILLE AVE                                                                                 BALTIMORE         MD      21218‐2553
JAMES, CHERYL A         11411 BELLAMY RD                                                                                 BERLIN HTS        OH      44814‐9437
JAMES, CHERYL A         2231 STAFFORD AVE SW                                                                             GRAND RAPIDS      MI      49507‐2352
JAMES, CHRISTOPHER E    152 FENTON RD                                                                                    ROCHESTER         NY      14624‐3948
JAMES, CHRISTOPHER L    15760 WESTCOTT DR                                                                                SOUTHGATE         MI      48195‐3021
JAMES, CLARENCE         3025 ORMOND RD                                                                                   WHITE LAKE        MI      48383‐1825
JAMES, CLARENCE L       3071 COURTZ ISLE APT 4                                                                           FLINT             MI      48532‐4209
JAMES, CLARENCE SONNY   GUY WILLIAM S                    PO BOX 509                                                      MCCOMB            MS      39649‐0509
JAMES, CLAYTON G        6634 N M65                                                                                       HALE              MI      48739
JAMES, CLETUS O         177 APOLLO CIR                                                                                   FLUSHING          MI      48433‐9322
JAMES, CLYDE E          2428 CENTRAL AVE                                                                                 ANDERSON          IN      46016‐5122
JAMES, CLYDE E          417 CORRAL PATH                                                                                  LANSING           MI      48917‐2727
JAMES, COLON B          1525 BROOKPARK DR                                                                                MANSFIELD         OH      44906‐3503
JAMES, CONNIE S         1901 S PARK RD APT H215                                                                          KOKOMO            IN      46902‐6156
JAMES, CORA             328 WEST CENTRAL                 UNIT #1                                                         BLUFFTON          IN      46714
JAMES, CORA             328 W CENTRAL AVE APT 1                                                                          BLUFFTON          IN      46714‐2400
JAMES, CORA MAE         945 HENRY AVE                                                                                    COLUMBUS          GA      31906
JAMES, CORNELIA         BOWMAN CHRIS L LAW OFFICES OF    PO BOX 190                                                      JONESBORO         LA      71251‐0190
JAMES, COTUS            20763 STATE HIGHWAY AB                                                                           BLOOMFIELD        MO      63825‐8600
JAMES, COURTLAND M      109 W FERGUSON RD                                                                                FORT WAYNE        IN      46819
JAMES, COURTNEY L       2112 HOLLANDALE CIRCLE                                                                           COLUMBIA          TN      38401‐5692
JAMES, CRAIG            10630 HAWKHURST WAY                                                                              DULUTH            GA      30097‐7191
JAMES, CYNTHIA          55 ALEXANDER ST                                                                                  LOCKPORT          NY      14094‐3206
JAMES, CYNTHIA A        2653 COUNTY STREET 2960                                                                          ALEX              OK      73002‐2225
JAMES, CYNTHIA A        PO BOX 82                                                                                        ALEX              OK      73002‐0082
JAMES, DAN J            4950 HAVERSTICK WAY                                                                              ANDERSON          IN      46012‐9560
JAMES, DANA A           4950 HAVERSTICK WAY                                                                              ANDERSON          IN      46012‐9560
JAMES, DANA M           800 RAINBOW HVN                                                                                  RAINBOW CITY      AL      35906‐8550
JAMES, DANIEL           ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                       BALTIMORE         MD      21202
                                                         CHARLES CENTER 22ND FLOOR
JAMES, DANIEL E         748 CHARLOTTE AVE NW                                                                             GRAND RAPIDS      MI      49504‐4643
JAMES, DANIEL ERNEST    748 CHARLOTTE AVE NW                                                                             GRAND RAPIDS      MI      49504‐4643
JAMES, DANIEL F         5803 CAROLYN DR                                                                                  N RIDGEVILLE      OH      44039‐2141
JAMES, DANIEL W         1372 KENSINGTON AVE                                                                              GROSSE POINTE     MI      48230‐1104
                                                                                                                         PARK
JAMES, DARREN R         1013 BRIAN CT                                                                                    ENGLEWOOD         OH      45322‐2346
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JAMES, DARRIN H         7914 WESTERVILLE DR                                                                               CLAYTON             IN     46118‐9368
JAMES, DARWIN C         16230 GORDON                                                                                      FRASER              MI     48026‐3220
JAMES, DAVID            PO BOX 205                                                                                        DORR                MI     49323‐0205
JAMES, DAVID            4174 WYNCOTE RD                                                                                   SOUTH EUCLID        OH     44121‐3114
JAMES, DAVID            471 PEARSALL AVE                                                                                  PONTIAC             MI     48341‐2660
JAMES, DAVID A          PO BOX 452                                                                                        CARO                MI     48723‐0452
JAMES, DAVID C
JAMES, DAVID E          1308 PEARL ST                                                                                     CARROLLTON         MO      64633
JAMES, DAVID E          901 N MILDRED ST                                                                                  DEARBORN           MI      48128‐1785
JAMES, DAVID K          APT 230                          2241 SOUTH STATE HIGHWAY 121                                     LEWISVILLE         TX      75067‐3759
JAMES, DAVID L          1785 HOPEWELL AVE                                                                                 DAYTON             OH      45418‐2244
JAMES, DAVID L          PO BOX 3065                                                                                       BOSWELL            OK      74727
JAMES, DAVID W          433 MAPLE RD                                                                                      LONGMEADOW         MA      01106‐3119
JAMES, DEBORAH L        31 ODLIN AVE                                                                                      DAYTON             OH      45405
JAMES, DEBRA            1613 HIMROD AVE                                                                                   YOUNGSTOWN         OH      44506‐4506
JAMES, DEBRA K          8308 ROOT RD                                                                                      N RIDGEVILLE       OH      44039‐4222
JAMES, DEBRA L          1891 KNOLLWOOD BND                                                                                YPSILANTI          MI      48198‐9551
JAMES, DEBRA L.         PO BOX 2041                                                                                       CAREFREE           AZ      85377‐2041
JAMES, DELORES M        2531 PINE HOLLOW DR                                                                               TIONESTA           PA      16353‐3313
JAMES, DENNIS G         869 PORTERFORD RD                                                                                 UNION              MO      63084‐3908
JAMES, DENNIS L         4209 WINTERFIELD RUN                                                                              FORT WAYNE         IN      46804‐4840
JAMES, DENNIS LEE       4209 WINTERFIELD RUN                                                                              FORT WAYNE         IN      46804‐4840
JAMES, DENNIS M         7211 WITMER RD                                                                                    N TONAWANDA        NY      14120‐1013
JAMES, DENNIS MICHAEL   7211 WITMER RD                                                                                    N TONAWANDA        NY      14120‐1013
JAMES, DEXTER B         70 MASSACHUSETTS ST                                                                               HIGHLAND PARK      MI      48203‐3537
JAMES, DIANE W          7362 N WEBSTER RD                                                                                 MOUNT MORRIS       MI      48458‐8400
JAMES, DIANE WILMA      7362 N WEBSTER RD                                                                                 MOUNT MORRIS       MI      48458‐8400
JAMES, DICKIE R         3101 BRYAN ST                                                                                     KOKOMO             IN      46902‐4618
JAMES, DON              BOWMAN CHRIS L LAW OFFICES OF    PO BOX 190                                                       JONESBORO          LA      71251‐0190
JAMES, DONALD
JAMES, DONALD A         4343 HAZEL ST                                                                                     CLARKSTON          MI      48348‐1434
JAMES, DONALD E         730 LAKESTONE CT                                                                                  ROSWELL            GA      30076‐2958
JAMES, DONALD E         1276 WARREN DR                                                                                    BRUNSWICK          OH      44212‐3012
JAMES, DONALD L         15 SUN AND SAND DRIVE                                                                             LAWRENCEVILLE      IL      62439‐9677
JAMES, DONALD W         5350 CEMETERY RD                                                                                  NOBLE              OK      73068‐8601
JAMES, DONNA            17 CYPRESS PARK                                                                                   MELROSE            MA      02176‐2603
JAMES, DONNIE R         32241 OLD FORGE LN                                                                                FARMINGTON HILLS   MI      48334‐3530

JAMES, DORA E           1026 CHERRYLAWN                                                                                   PONTIAC            MI      48340‐1700
JAMES, DORIS            2226 WELCH BLVD                                                                                   FLINT              MI      48504‐2919
JAMES, DORIS            1635 CALLE CANDELA                                                                                LA JOLLA           CA      92037‐7109
JAMES, DOROTHY          1805 OLIVER JACKSON RD                                                                            STARKVILLE         MS      39759‐9634
JAMES, DOROTHY G        26412 DUNNING ST                                                                                  INKSTER            MI      48141‐2450
JAMES, DOROTHY M        4126 VERDIMONT COURT                                                                              FORT WAYNE         IN      46806
JAMES, DOROTHY Y        12839 BIDELMAN RD                                                                                 THREE RIVERS       MI      49093‐9552
JAMES, DOUG             BOWMAN CHRIS L LAW OFFICES OF    PO BOX 190                                                       JONESBORO          LA      71251‐0190
JAMES, DOUGLAS E        748 CHARLOTTE AVE NW                                                                              GRAND RAPIDS       MI      49504‐4643
JAMES, DOUGLAS ERNEST   748 CHARLOTTE AVE NW                                                                              GRAND RAPIDS       MI      49504‐4643
JAMES, DOUGLAS H        7251 ROYSTON HWY                                                                                  CANON              GA      30520‐4647
JAMES, DOYLE            BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD         OH      44067
                                                         PROFESSIONAL BLDG
JAMES, DOYLE L          11144 WILDLIFE DR SE                                                                              LOWELL              MI     49331‐8821
JAMES, DUKE             5924 CRUMBLING RIDGE ST                                                                           HENDERSON           NV     89011
JAMES, EARL D           5398 NE 61ST AVENUE RD                                                                            SILVER SPRINGS      FL     34488‐1328
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Name                 Address1                           Address2             Address3     Address4               City            State   Zip
JAMES, EARLEEN D     348 BON AIR DR                                                                              DAYTON           OH     45415‐2625
JAMES, EARLY         1956 WESTLEY DR                                                                             RIVERDALE        GA     30296‐2458
JAMES, EARNESTINE    14131 MARE LN                                                                               VICTORVILLE      CA     92394‐7528
JAMES, EARNESTINE    PO BOX 89                                                                                   VICTORVILLE      CA     92393‐0089
JAMES, EDDIE B       13041 LAKERIDGE DR                                                                          SAINT LOUIS      MO     63138‐3307
JAMES, EDDIE B       PO BOX 121                                                                                  NIAGARA FALLS    NY     14305‐0121
JAMES, EDDIE L       PO BOX 24398                                                                                HUBER HEIGHTS    OH     45424‐0398
JAMES, EDDIE M       APT 186                            9850 BERMUDA ROAD                                        LAS VEGAS        NV     89183‐3561
JAMES, EDDIE M       9850 BERMUDA RD                    APT 186                                                  LAS VEGAS        NV     89183‐3561
JAMES, EDNA L        5938 GRETNA CT                                                                              REX              GA     30273
JAMES, EDNA V        1934 ORIEL RODGERS RD                                                                       GIRARD           OH     44420‐1109
JAMES, EDWARD C      3500 W MANCHESTER BLVD UNIT 466                                                             INGLEWOOD        CA     90305‐4466
JAMES, EDWARD D      PO BOX 392                                                                                  BELOIT           WI     53512‐0392
JAMES, EDWARD D      1834 S MILLARD                                                                              CHICAGO           IL    60623
JAMES, EDWARD J      1702 MOLE AVE                                                                               JANESVILLE       WI     53548‐1533
JAMES, EDWARD M      64 TIMBER TRL                                                                               WARRENTON        MO     63383‐7805
JAMES, EDWIN A       1519 HOLLY DR                                                                               JANESVILLE       WI     53546‐1479
JAMES, EILEEN H      8948 FERNWOOD PATH                                                                          WASHINGTON       MI     48094
                                                                                                                 TOWNSHIP
JAMES, ELDON R       764 W VALHALLA ST                                                                           UPLAND          IN      46989‐9001
JAMES, ELEANOR       10744 STRATMAN ST.                                                                          DETROIT         MI      48224
JAMES, ELEANOR J     522 W 5TH ST                                                                                FLINT           MI      48503‐3651
JAMES, ELIJAH R      10321 ROXBURY ST                                                                            DETROIT         MI      48224‐2411
JAMES, ELIZABETH     933 EAST HELMER LAKE RD                                                                     MIO             MI      48647
JAMES, ELIZABETH     933 E HELMER LAKE RD                                                                        MIO             MI      48647‐9719
JAMES, ELIZABETH C   8401 NW HARBOUR PL                                                                          PARKVILLE       MO      64152
JAMES, ELIZABETH C   8401 N HARBOUR PL                                                                           PARKVILLE       MO      64152‐4364
JAMES, ELIZABETH H   21138 MEDICINE SPRINGS RD                                                                   COURTLAND       VA      23837‐2468
JAMES, ELIZABETH S   7350 WATER OAKS                                                                             ORCHARD LAKE    MI      48324
JAMES, ELLEN         10671 ANDREW LN                                                                             LARGO           FL      33777‐1223
JAMES, ELLEN B       2655 CIMARRON DR                                                                            RED BLUFF       CA      96080‐5102
JAMES, ELLEN M       1244 TRAVIS STREET NORTHEAST                                                                GRAND RAPIDS    MI      49505‐5456
JAMES, ELLIOTT       2109 TURNBERRY LN                                                                           CORONA          CA      92881
JAMES, ELMER C       1613 HIMROD AVE                                                                             YOUNGSTOWN      OH      44506‐1603
JAMES, ELOISE R      5358 FISHER CORINTH RD                                                                      FARMDALE        OH      44417‐9767
JAMES, ELSIE C       19668 GALLAGHER                                                                             DETROIT         MI      48234‐1612
JAMES, EMILIO G      914 E ST                                                                                    UNION CITY      CA      94587‐2327
JAMES, EMILY K       75 PADEN ST                                                                                 COVINGTON       GA      30016
JAMES, EMILY M       80 PUMPKIN HILL ROAD                                                                        LEVITTOWN       PA      19056‐3529
JAMES, EMMITT W      2198 W JASON RD                                                                             DEWITT          MI      48820‐9759
JAMES, ERNEST F      1007 RODA DR                                                                                FLORENCE        SC      29501‐8488
JAMES, ERNEST V      1019 CO. ROAD 1528                                                                          CULLMAN         AL      35058
JAMES, ESSENCE D     1009 PERSHING ST                                                                            FLINT           MI      48503‐3530
JAMES, ESTHER M      768 VILLAGE CIRCLE CAPRI WEST #1                                                            VENICE          FL      34292
JAMES, ETHEL B       1087 W JACKSON ST                                                                           RIALTO          CA      92376‐8745
JAMES, EVELYN R      2090 W COUNTY ROAD 400 S           C/O THOMAS R JAMES                                       CLAYTON         IN      46118‐9058
JAMES, EVON          1710 E CORK ST APT 1D                                                                       KALAMAZOO       MI      49001‐5064
JAMES, FLORENCE E    512 LENNON LANE                                                                             GLADWIN         MI      48624‐1834
JAMES, FRANCES H     1001 E EVELYN TER APT 155                                                                   SUNNYVALE       CA      94086‐6790
JAMES, FRANCES M     1898 WIKEL RD                                                                               ELDORADO        OH      45321‐9778
JAMES, FRANCES M     PO BOX 1553                                                                                 BRANDON         MS      39043‐1553
JAMES, FRANCIS H     1158 RICHARDSON ST                                                                          JANESVILLE      WI      53545‐1074
JAMES, FRANK         GUY WILLIAM S                      PO BOX 509                                               MCCOMB          MS      39649‐0509
JAMES, FRANK         404 EOLA DR                                                                                 ALEXANDRIA      LA      71303‐3419
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Name                 Address1                         Address2                       Address3   Address4               City            State Zip
JAMES, FRANK
JAMES, FRANK D       1703 CASPIAN DR                                                                                   CULLEOKA         TN   38451‐2080
JAMES, FRANK DAVIS   1703 CASPIAN DR                                                                                   CULLEOKA         TN   38451‐2080
JAMES, FRANK T
JAMES, FREDDIE E     1209 S RANGELINE RD                                                                               ANDERSON        IN    46012‐4623
JAMES, FREDDIE L     904 SUMMERCOURT DRIVE                                                                             JONESBORO       GA    30236‐1516
JAMES, FREEMAN F     1600 S MONROE                                                                                     BAY CITY        MI    48708
JAMES, G I           1244 TRAVIS ST NE                                                                                 GRAND RAPIDS    MI    49505‐5456
JAMES, GARY D        PO BOX 1190                                                                                       CRESCENT CITY   CA    95531‐1190
JAMES, GARY L        ANGELOS PETER G LAW OFFICES      60 WEST BROAD ST                                                 BETHLEHEM       PA    18018‐5737
JAMES, GARY N        65 E PINE ST                                                                                      FALKVILLE       AL    35622‐5213
JAMES, GARY W        26 S FLEMING ST                                                                                   INDIANAPOLIS    IN    46241‐1304
JAMES, GENEVA O      1232 GOVERNORS SQUARE DR                                                                          CENTERVILLE     OH    45458‐2004
JAMES, GENTRY
JAMES, GEORGE D      13319 GOLDEN VALLEY DR                                                                            CYPRESS         TX    77429‐3575
JAMES, GEORGE E      40205 6 MILE RD                                                                                   NORTHVILLE      MI    48168‐2369
JAMES, GEORGIA E     5310 STANDISH DR                                                                                  FORT WAYNE      IN    46806‐3370
JAMES, GEORGIE V     C/O SAVILLE EVOLA & FLINT LLC    PO BOX 602                                                       ALTON           IL    62002‐0602
JAMES, GERALD A      ANGELOS PETER G                  100 N CHARLES STREET, ONE                                        BALTIMORE       MD    21201‐3812
                                                      CHARLES CENTER
JAMES, GERALD D      13102 NEFF RD                                                                                     CLIO             MI   48420‐1812
JAMES, GERALD W      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA   23510‐2212
                                                      STREET, SUITE 600
JAMES, GERALDINE     770 E CARPENTER RD                                                                                FLINT           MI    48505‐2209
JAMES, GLADYS J      205 DERBY CT                                                                                      JOELTON         TN    37080‐9439
JAMES, GLENDALE      783 WILLOWDALE AVE                                                                                KETTERING       OH    45429‐3141
JAMES, GLORIA        3453 TIMBERLINE DR                                                                                CLYDE           MI    48049‐4569
JAMES, GLORIA E      1702 MOLE AVE                                                                                     JANESVILLE      WI    53548‐1533
JAMES, GODNA         901 S A ST                                                                                        RICHMOND        IN    47374‐5521
JAMES, GORDON E      6714 BROOKWOOD DR SW                                                                              GRANDVILLE      MI    49418‐2118
JAMES, GORDON R      7321 RIVIERA DR                                                                                   FORT WORTH      TX    76180‐8215
JAMES, GRAY          8 BIRCHWOOD LN                                                                                    MIDDLETOWN      NY    10940‐6688
JAMES, GREGORY L     5160 N. BUNKERHILL RD                                                                             BUTLER          OH    44822
JAMES, GREGORY R     4710 MOUNDS RD                                                                                    ANDERSON        IN    46017‐1845
JAMES, HANNA J       19604 SHAKERWOOD RD                                                                               WARRENSVILLE    OH    44122‐6614
JAMES, HARDY         PORTER & MALOUF PA               4670 MCWILLIE DR                                                 JACKSON         MS    39206‐5621
JAMES, HAROLD V      5304 BARRETT RD                                                                                   SANDUSKY        OH    44870‐1565
JAMES, HARRIET R     763 WILLOW RIDGE DRIVE                                                                            KOKOMO          IN    46901‐7044
JAMES, HARRIET R     763 WILLOWRIDGE DR                                                                                KOKOMO          IN    46901‐7044
JAMES, HARRISON      8455 MOTT DRIVE                                                                                   JACKSON         MI    49201
JAMES, HARRY L       20433 RAINTREE RD                                                                                 WARSAW          MO    65355‐6719
JAMES, HARVEY L      3190 DILLON LN                                                                                    TOMS RIVER      NJ    08755‐2316
JAMES, HATTIE        271 S SANFORD                                                                                     PONTIAC         MI    48342‐3150
JAMES, HATTIE        271 S SANFORD ST                                                                                  PONTIAC         MI    48342‐3150
JAMES, HELEN         1420 CHATHAM DR                                                                                   FLINT           MI    48505‐2584
JAMES, HELEN         40626 HARRIS RD                                                                                   BELLEVILLE      MI    48111‐9179
JAMES, HELEN M       2939 S EDSEL ST                                                                                   DETROIT         MI    48217‐1024
JAMES, HELEN M       2939 S. EDSEL                                                                                     DETROIT         MI    48217‐1024
JAMES, HELEN P       1613 S 12TH ST                                                                                    MONROE          LA    71202
JAMES, HENRY         3797 E 155TH ST                                                                                   CLEVELAND       OH    44128‐1238
JAMES, HENRY G       6481 CEDAR ST                                                                                     GLADWIN         MI    48624‐9012
JAMES, HERBERT       BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD      OH    44067
                                                      PROFESSIONAL BLDG
JAMES, HERMAN        NIX PATTERSON & ROACH            205 LINDA DR                                                     DAINGERFIELD     TX   75638‐2107
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Name                  Address1                            Address2                         Address3   Address4               City            State Zip
JAMES, HERMAN P       23961 DEVOE AVE                                                                                        EUCLID           OH 44123‐2221
JAMES, HOWARD A       EARLY LUDWICK & SWEENEY L.L.C.      ONE CENTURY TOWER, 11TH FLOOR,                                     NEW HAVEN        CT 06508‐1866
                                                          265 CHURCH STREET
JAMES, HOWARD N       4722 BEECHGROVE AVE                                                                                    GARFIELD HTS    OH   44125‐1813
JAMES, HUBERT M       72 MOOSEWOOD DR                                                                                        CLEVELAND       GA   30528‐8979
JAMES, IAN L          371 CROSBY AVE                                                                                         KENMORE         NY   14217‐2456
JAMES, ILA L          2818 S SCHENLEY AVE                                                                                    YOUNGSTOWN      OH   44511‐2102
JAMES, ILLINOIS       2959 S LIDDESDALE ST                                                                                   DETROIT         MI   48217‐1112
JAMES, INA C          8481 OAKDALE AVENUE                                                                                    WINNETKA        CA   91306‐1439
JAMES, INGEBORG       3835 GARDINER FERRY RD.             #52                                                                CORNING         CA   96021‐9231
JAMES, INGEBORG       3835 GARDINER FERRY RD SPC 52                                                                          CORNING         CA   96021‐9231
JAMES, IRENE          1131 RIVER FOREST DR APT 1132                                                                          FLINT           MI   48532‐2800
JAMES, IRENE          1131 RIVER FOREST DRIVE             APT # 1132                                                         FLINT           MI   48532
JAMES, JACK           PAUL REICH & MYERS P.C.             1608 WALNUT ST STE 500                                             PHILADELPHIA    PA   19103‐5446
JAMES, JACQUELINE M   3439 IROQUOIS ST                                                                                       DETROIT         MI   48214‐1839
JAMES, JAMES C        4855 BLISS RD                                                                                          ELWELL          MI   48832‐9722
JAMES, JAMES H        PO BOX 357                                                                                             ROGERSVILLE     AL   35652‐0357
JAMES, JANET F        190 VILLA DR                                                                                           BROWNSVILLE     KY   42210‐9417
JAMES, JANET FAYE     190 VILLA DR DR                                                                                        BROWNSVILLE     KY   42210
JAMES, JANET L        3652 GREEN GARDEN RD                                                                                   ALIQUIPPA       PA   15001‐1028
JAMES, JANICE L       807 S 13TH ST                                                                                          WILMINGTON      NC   28401‐6001
JAMES, JANICE L       807 SOUTH 13TH STREET                                                                                  WILMINGTON      NC   28401‐6001
JAMES, JAY            241 S BROADWAY ST                                                                                      PENDLETON       IN   46064‐1203
JAMES, JAY E          241 S BROADWAY ST                                                                                      PENDLETON       IN   46064‐1203
JAMES, JEAN           PORTER & MALOUF PA                  4670 MCWILLIE DR                                                   JACKSON         MS   39206‐5621
JAMES, JEANETTA M     9 CHINOOK COURT                                                                                        RANDALLSTOWN    MD   21133
JAMES, JEANNE M       215 LADYBIRD LN                                                                                        AZLE            TX   76020‐6323
JAMES, JEFFREY        676 ECKSTEIN RD                                                                                        CRESTLINE       OH   44827‐9690
JAMES, JEFFREY D      4850 KALAMAZOO AVE SE                                                                                  KENTWOOD        MI   49508‐4876
JAMES, JEFFREY S      231 PAULETTE DR                                                                                        ELIZABETH       PA   15037‐2412
JAMES, JEROME P       224 15TH ST                                                                                            ELYRIA          OH   44035‐7608
JAMES, JERRY          2834 HIDDEN TRAIL LN                                                                                   CHATTANOOGA     TN   37421‐5040
JAMES, JERRY          GMAC INSURANCE                      PO BOX 1429                                                        WINSTON SALEM   NC   27102‐1429
JAMES, JERRY          2226 WELCH BLVD                                                                                        FLINT           MI   48504‐2919
JAMES, JERRY DALE     C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                             EDWARDSVILLE    IL   62025
                      ROWLAND PC
JAMES, JERRY G        475 H B GRAHAM RD                                                                                      BOWLING GREEN   KY   42103‐9081
JAMES, JERRY L        18475 MARLOWE ST                                                                                       DETROIT         MI   48235‐2765
JAMES, JERRY L        2431 BARRON RD                                                                                         POPLAR BLUFF    MO   63901‐1911
JAMES, JESSE          PO BOX 432023                                                                                          PONTIAC         MI   48343‐2023
JAMES, JESSE R        2382 TANDY DR                                                                                          FLINT           MI   48532‐4958
JAMES, JESSICA J      1415 CAMELOT DR                                                                                        JANESVILLE      WI   53548‐6816
JAMES, JESSIE         834 OAKCREST LN                     A‐1 COTTONWOOD                                                     JENISON         MI   49428‐8354
JAMES, JESSIE B       262 HARRISON ST                                                                                        PONTIAC         MI   48341‐2440
JAMES, JESSIE V       PO BOX 223                                                                                             JACKSON         GA   30233‐0006
JAMES, JIMMIE E       701 N ALEXANDER AVE                                                                                    ROYAL OAK       MI   48067‐1945
JAMES, JO ANN         LANDRY & SWARR                      1010 COMMON ST STE 2050                                            NEW ORLEANS     LA   70112‐2459
JAMES, JOANN          71 DR SAMUEL MCCREE WAY                                                                                ROCHESTER       NY   14608‐2354
JAMES, JOANN          636 WEST ST                                                                                            NILES           OH   44446‐2654
JAMES, JOEY M         14563 FM 56                                                                                            KOPPERL         TX   76652‐4617
JAMES, JOHN A         7102 N DELANEY RD                                                                                      HENDERSON       MI   48841‐9763
JAMES, JOHN D         547 SWEET HOME RD                                                                                      AMHERST         NY   14226‐2221
JAMES, JOHN D         13626 KENTUCKY                                                                                         DETROIT         MI   48238
JAMES, JOHN E         26916 HIGHWAY 36 SPC 6                                                                                 CHESHIRE        OR   97419‐9748
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Name                    Address1                           Address2         Address3         Address4               City              State   Zip
JAMES, JOHN E           25 CONCHO CIR                                                                               SEDONA             AZ     86351‐8744
JAMES, JOHN E           12769 SPANISH VILLAGE DR                                                                    BRIDGETON          MO     63044‐3710
JAMES, JOHN H           3415 WOODLAND PARK RD                                                                       DURHAM             NC     27703‐2538
JAMES, JOHN M           5976 W SCHOOL RD                                                                            MT PLEASANT        MI     48858‐9476
JAMES, JOHN S           15803 VAUGHAN ST                                                                            DETROIT            MI     48223‐1250
JAMES, JOHN S           24440 EASTER FERRY RD                                                                       ELKMONT            AL     35620‐6518
JAMES, JOHN T           1480 N ARLINGTON PARK DR APT 702                                                            BLOOMINGTON        IN     47404‐2881
JAMES, JOHN W           4608 W PETTY RD                                                                             MUNCIE             IN     47304‐2830
JAMES, JOHNNIE L        8116 NORTHLAWN ST                                                                           DETROIT            MI     48204‐3286
JAMES, JOSE             1306 ROGERS AVE                                                                             BROOKLYN           NY     11210‐1432
JAMES, JOSEPH A         1151 E ALMA AVE                                                                             FLINT              MI     48505‐2313
JAMES, JOSEPH E         1415 CAMELOT DR                                                                             JANESVILLE         WI     53548‐6816
JAMES, JOSEPH W         PO BOX 9165                                                                                 RANCHO SANTA FE    CA     92067‐4165

JAMES, JOSEPHINE        944 CURTIS DR                                                                               MANSFIELD         OH      44907‐2620
JAMES, JOSEPHINE        6099 CHERRYWOOD DR                                                                          YPSILANTI         MI      48197‐6215
JAMES, JOSEPHINE        944 CURTIS DRIVE                                                                            MANSFIELD         OH      44907‐2620
JAMES, JOY
JAMES, JOYCE C          5495 MCNAMARA LN                                                                            FLINT             MI      48506‐2280
JAMES, JR.,A D          15673 ARLINGTON RD                                                                          ATHENS            AL      35611‐3997
JAMES, JUDITH           4883 N.E. 37TH ST                                                                           KANSAS CITY       MO      64117‐2719
JAMES, JUDITH           4883 NE 37TH ST                                                                             KANSAS CITY       MO      64117‐2719
JAMES, JUDITH A         3025 ORMOND RD                                                                              WHITE LAKE        MI      48383‐1825
JAMES, JUNIOR A         1674 E WINNERLINE RD                                                                        EATON             OH      45320‐9715
JAMES, KAREN            5200 SANTA ROSA DR                                                                          HALTOM CITY       TX      76117‐5179
JAMES, KAREN L          4200 CHERRYWOOD DR                                                                          TROY              MI      48098‐4261
JAMES, KAREN L          8005 BARLOW RD                                                                              PLEASANT VALLEY   MO      64068‐9377
JAMES, KAREN L          1870 LEBLANC ST                                                                             LINCOLN PARK      MI      48146‐3916
JAMES, KAREN S          910 LAWRENCE ST                                                                             MITCHELL          IN      47446‐1629
JAMES, KAREN S          4330 BRIAR HILL DR                                                                          GRAND PRAIRIE     TX      75052‐4348
JAMES, KAREN V
JAMES, KATHA W          1579 MARSHBANK DR                                                                           PONTIAC           MI      48340‐1073
JAMES, KATHA WILLIAMS   1579 MARSHBANK DR                                                                           PONTIAC           MI      48340‐1073
JAMES, KATHERINE J      269 CURTIS DR                                                                               WILMINGTON        OH      45177‐1538
JAMES, KATHERINE S      54 CONCORD ST                                                                               ROCHESTER         NY      14605‐2260
JAMES, KATIE            3733 THE FONTAINEBLEAU SW                                                                   ATLANTA           GA      30331‐2722
JAMES, KEARNEY          BOONE ALEXANDRA                    205 LINDA DR                                             DAINGERFIELD      TX      75638‐2107
JAMES, KEITH            7837 VILLAGE LN                                                                             MANSFIELD         TX      76063‐7137
JAMES, KEITH A          SHORT TRACK RD                                                                              HUNT              NY      14846
JAMES, KELLY R          10411 N LINDEN RD                                                                           CLIO              MI      48420‐8500
JAMES, KEN P            6331 WALDON CENTER DR                                                                       CLARKSTON         MI      48346‐4812
JAMES, KENNETH          1208 W 52ND ST                                                                              CHICAGO           IL      60609
JAMES, KENNETH E        113 PHILLIPSBURG RD                                                                         UNION             OH      45322
JAMES, KENNETH F        1215 PULASKI ST                                                                             LANSING           MI      48910‐1266
JAMES, KENNETH F        6465 MISSION RDG                                                                            TRAVERSE CITY     MI      49686‐1800
JAMES, KENNETH L        6115 SHARP RD                                                                               SWARTZ CREEK      MI      48473‐9462
JAMES, KENNETH O        1412 ARIZONA AVE                                                                            FORT WORTH        TX      76104‐5006
JAMES, KENNETH R        5103 DORCHESTER CIR                                                                         BRENTWOOD         TN      37027‐6815
JAMES, KEVIN M          4412 PALMETTO CT                                                                            GRAND BLANC       MI      48439‐8690
JAMES, KEVIN MAURICE    4412 PALMETTO CT                                                                            GRAND BLANC       MI      48439‐8690
JAMES, KEVIN T          928 WALTON AVE                                                                              DAYTON            OH      45402‐5333
JAMES, KOERNER
JAMES, LA TOSCIA R      2308 COLDWATER CREEK DRIVE                                                                  WAUKESHA           WI     53188‐8000
JAMES, LARRY            SIMMONS FIRM                       PO BOX 521                                               EAST ALTON         IL     62024‐0519
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Name                      Address1                        Address2            Address3         Address4               City                 State   Zip
JAMES, LARRY              GUY WILLIAM S                   PO BOX 509                                                  MCCOMB                MS     39649‐0509
JAMES, LARRY A            9728 S COUNTY ROAD 0                                                                        CLAYTON               IN     46118‐9204
JAMES, LARRY D            2151 ISAAC LN                                                                               EAST LANSING          MI     48823‐9226
JAMES, LARRY G            SIMMONS FIRM                    PO BOX 559                                                  WOOD RIVER             IL    62095‐0559
JAMES, LARRY J            6599 S 200 E                                                                                MARKLEVILLE           IN     46056‐9704
JAMES, LARRY O            998 EMGE RD                                                                                 O FALLON              MO     63366‐2121
JAMES, LARRY ORVILLE      998 EMGE RD                                                                                 O FALLON              MO     63366‐2121
JAMES, LARRY P            818 BRIAN RD                                                                                ANDERSON              IN     46013‐1444
JAMES, LARRY W            5642 LAKESHORE RD                                                                           BUFORD                GA     30518‐1385
JAMES, LARTHELL           1303 NOTTINGHAM RD                                                                          GROSSE POINTE         MI     48230‐1026
JAMES, LAURA              6880 W 100 N                                                                                GREENFIELD            IN     46140‐9614
JAMES, LAURA K            3658 KIPP CT                                                                                DAYTON                OH     45416‐2108
JAMES, LAURIE A           408 WASHINGTON ST NW                                                                        WARREN                OH     44483‐4739
JAMES, LAVERNE A          1752 MAIN ST                                                                                DALTON                NY     14836‐9653
JAMES, LAWRENCE           29413 SANDBURG WAY                                                                          HAYWARD               CA     94544‐6452
JAMES, LEILA
JAMES, LEMMIE M           140 VALLEY BROOK DR                                                                         COVINGTON            GA      30016‐3200
JAMES, LEMUEL R           535 E 35TH ST                                                                               WILMINGTON           DE      19802‐2817
JAMES, LEON               25112 SOUTHWOOD DR                                                                          SOUTHFIELD           MI      48075‐2031
JAMES, LEONA A            1962 N 600E                                                                                 AVON                 IN      46123
JAMES, LEONARD            19962 PATTON ST                                                                             DETROIT              MI      48219‐2051
JAMES, LEONARD I          1941 W LEONARD RD                                                                           LEONARD              MI      48367‐1639
JAMES, LEONEL             13250 SW 4 CT.                  UNIT G 201                                                  PEMBROKE PINES       FL      33027
JAMES, LEOPOLD B          9456 E BENCH MARK LOOP                                                                      TUCSON               AZ      85747‐5643
JAMES, LEROY A            5961 NW 61ST AVENUE             BUILDING 17         APT #112                                TAMARAC              FL      33319
JAMES, LEROY M            5886 NORTH 65                                                                               HALE                 MI      48739
JAMES, LESTER W           PO BOX 379                                                                                  OTSEGO               MI      49078‐0379
JAMES, LIDA J             3025 ORMOND ROAD                                                                            WHITE LAKE           MI      48383‐1825
JAMES, LILLIAN            738 BLAINE                                                                                  DETROIT              MI      48202‐2041
JAMES, LILLIAN            738 BLAINE ST                                                                               DETROIT              MI      48202‐2041
JAMES, LINDA F            25076 W 8 MILE RD APT 608                                                                   SOUTHFIELD           MI      48033‐4070
JAMES, LINDA L            3312 KATHERINE ST                                                                           DEARBORN             MI      48124‐3646
JAMES, LISA A             3638 RAYMONT BLVD                                                                           UNIVERSITY HEIGHTS   OH      44118‐2617

JAMES, LISA D             34162 JEROME ST                                                                             CHESTERFIELD         MI      48047‐4454
JAMES, LISA M             3944 ROUNDTREE STREET                                                                       SHREVEPORT           LA      71109‐4834
JAMES, LIZA DOLE          512 NW 36TH TER                                                                             OKLAHOMA CITY        OK      73118‐7017
JAMES, LOIS E             820 TRADEWIND DR                                                                            WESTERVILLE          OH      43081‐3505
JAMES, LORRAINE B         37253 WEEPING BRANCH STREET                                                                 PALMDALE             CA      93550‐6956
JAMES, LOUIE C            40 THORNE HTS                                                                               EMINENCE             KY      40019‐1043
JAMES, LOUIS F            12117 CAMELOT DR                                                                            OKLAHOMA CITY        OK      73120‐6718
JAMES, LOUISE             615 FERN CT                                                                                 CINCINNATI           OH      45244‐1407
JAMES, LOWAYNE            6507 BOWDOIN PL                                                                             BRADENTON            FL      34207‐5529
JAMES, LUCY M             18671 HARLOW ST                                                                             DETROIT              MI      48235‐3276
JAMES, LUEDELPHIE         3257 MILLER COUNTY 30                                                                       DODDRIDGE            AR      71834‐1492
JAMES, LYNN W             15085 HICKORY ST                                                                            SPRING LAKE          MI      49456‐1121
JAMES, LYNWOOD K          8093 KENSINGTON BLVD APT 499                                                                DAVISON              MI      48423‐2985
JAMES, MACHELLE A         6113 DEXTER ST                                                                              ROMULUS              MI      48174‐1829
JAMES, MACHELLE ANNETTE   6113 DEXTER ST                                                                              ROMULUS              MI      48174‐1829
JAMES, MACKENZIE ANNE     3126 MAPLE DR APT 208                                                                       LA CROSSE            WI      54601
JAMES, MARCELLA           6096 E DODGE RD                                                                             MOUNT MORRIS         MI      48458‐9720
JAMES, MARCIA S           1941 W LEONARD RD                                                                           LEONARD              MI      48367‐1639
JAMES, MARESA L           225 RENTZ PLACE CIR                                                                         WEATHERFORD          TX      76086‐5585
JAMES, MARGARET           299 SHADY GROVE RD                                                                          SCIENCE HILL         KY      42553‐8979
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Name                         Address1                       Address2                       Address3   Address4               City               State   Zip
JAMES, MARGARET              PO BOX 7623                                                                                     BLOOMFIELD HILLS    MI     48302
JAMES, MARGARET E            120 W NATIONAL AVE APT 306                                                                      BRAZIL              IN     47834‐2569
JAMES, MARGARETTE            2208 BELMONT                                                                                    JOLIET               IL    60432‐2210
JAMES, MARGARETTE            2208 BELMONT AVE                                                                                JOLIET               IL    60432‐2210
JAMES, MARION L              7262 ANDREA CT                                                                                  GRAND BLANC         MI     48439‐9656
JAMES, MARION M              1766 OAK ST SW                                                                                  WARREN              OH     44485‐3570
JAMES, MARJORIE H            4636 SENECA RD                                                                                  SHARPSVILLE         PA     16150‐9686
JAMES, MARK D                1309 E. MAPLE ROAD                                                                              BURTON              MI     48529
JAMES, MARK M                5200 SANTA ROSA DRIVE                                                                           HALTOM CITY         TX     76117‐5179
JAMES, MARLIN H              14745 DUNN RD                                                                                   HASLETT             MI     48840‐9232
JAMES, MARQUETTE C           150 WILDWOOD DR                                                                                 DESOTO              TX     75115‐7560
JAMES, MARTHA J              102 WOODHAVEN DR                                                                                GREENCASTLE         IN     45135‐2283
JAMES, MARVIN L              1420 CARAWAY ST                                                                                 LEBANON             IN     46052‐3307
JAMES, MARY A                90 ACHILLA TER                                                                                  MARTINSBURG         WV     25404‐3457
JAMES, MARY A                78 BERLIN ST                                                                                    ROCHESTER           NY     14621‐4708
JAMES, MARY ANN              2757 OWENS RD.                 UNIT 2 BOX 5                                                     HOUGHTON LAKE       MI     48629
JAMES, MARY B                715 COUNTRY LN                                                                                  ANDERSON            IN     46013‐1529
JAMES, MARY C                229 E MULBERRY ST                                                                               ANDERSON            IN     46012‐2427
JAMES, MARY L                2012 S WINDING WAY                                                                              ANDERSON            IN     46011‐3865
JAMES, MARY M                213 PINEWOOD CIR                                                                                PLYMOUTH            MI     48170‐1888
JAMES, MARY R                33 ROCA LN                     APT 6                                                            MARTINSBURG         WV     25401‐2809
JAMES, MATTHEW D             1420 LYNETTE ST                                                                                 LIBERTY             MO     64068‐9111
JAMES, MATTHEW DAVID         1420 LYNETTE ST                                                                                 LIBERTY             MO     64068‐9111
JAMES, MATTHEW S             9399 W PIERSON RD                                                                               FLUSHING            MI     48433‐9717
JAMES, MATTHEW SCOTT         9399 W PIERSON RD                                                                               FLUSHING            MI     48433‐9717
JAMES, MATTIE L              5324 TIMBERWOOD POINT DR                                                                        FLINT               MI     48532‐2266
JAMES, MAXINE W              6507 BOWDOIN PL                                                                                 BRADENTON           FL     34207‐5529
JAMES, MCELROY & DIEHL, PA   RICHARD B. FENNELL             600 S. COLLEGE ST.                                               CHARLOTTE           NC     28202
JAMES, MCKINLEY              3232 S CIVIC GREEN DR                                                                           SAINT CHARLES       MO     63301‐8203
JAMES, MEGAN                 HOWIE & SWEENEY L.L.P.         SUITE 1400 PARK PLACE , 2911                                     DALLAS              TX     75219
                                                            TURTLE CREEK BLVD
JAMES, MELVIN L              5302 FLEMING RD                                                                                 FLINT              MI      48504‐7080
JAMES, MELVIN LEROY          5302 FLEMING RD                                                                                 FLINT              MI      48504‐7080
JAMES, MELVIN W              2501 SE 48TH ST                                                                                 OKLAHOMA CITY      OK      73129‐8731
JAMES, MERRY A               210 E PULASKI AVE                                                                               FLINT              MI      48505‐3314
JAMES, MICHAEL A             511 W STEWART AVE                                                                               FLINT              MI      48505‐3207
JAMES, MICHAEL B             522 MELODY CT                                                                                   ROYAL OAK          MI      48073‐5501
JAMES, MICHAEL E             1620 HAYES DENTON RD                                                                            COLUMBIA           TN      38401‐8199
JAMES, MICHAEL J             327 STORMY RIDGE PL                                                                             FORT WAYNE         IN      46804‐6430
JAMES, MICHAEL J             1310 BIRD RD                                                                                    EARLVILLE          NY      13332‐2626
JAMES, MICHAEL J             49505 HELMSLEY DR                                                                               MACOMB             MI      48044‐1761
JAMES, MICHAEL L             7804 S COUNTRY CLUB DR                                                                          OKLAHOMA CITY      OK      73159‐4916
JAMES, MICHAEL M             1029 LORENE AVE                                                                                 MOUNT MORRIS       MI      48458‐2111
JAMES, MICHAEL MARTIN        1029 LORENE AVE                                                                                 MOUNT MORRIS       MI      48458‐2111
JAMES, MICHAEL R             5816 WEDGWORTH RD                                                                               FORT WORTH         TX      76133‐3627
JAMES, MICHAEL T             6209 LITTLE RICHMOND RD                                                                         DAYTON             OH      45426‐3231
JAMES, MICHAEL T             5699 DEPAUW AVE                                                                                 YOUNGSTOWN         OH      44515
JAMES, MICHAEL T             26153 ANNAPOLIS ST                                                                              DEARBORN HEIGHTS   MI      48125‐1434

JAMES, MICHAEL T             5599 DEPAUW AVE                                                                                 YOUNGSTOWN         OH      44511‐4111
JAMES, MICHAEL W             PO BOX 203                                                                                      AU GRES            MI      48703‐0203
JAMES, MICHAEL W             1501 BRADSHAW DR                                                                                COLUMBIA           TN      38401
JAMES, MICHAEL W             PO BOX 123                     118 MCINTOSH LN                                                  REELSVILLE         IN      46171‐0123
JAMES, MICHAEL W             6113 DEXTER ST                                                                                  ROMULUS            MI      48174‐1829
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JAMES, MIKE          2301STONEY RUN TRAIL APT 1                                                                             BROADVIEW HGTS      OH     44147‐2558
JAMES, MILDRED C     7 MASONIC DR APT 2C                                                                                    SPRINGFIELD         OH     45504‐3679
JAMES, MILTON        SHANNON LAW FIRM                 100 W GALLATIN ST                                                     HAZLEHURST          MS     39083‐3007
JAMES, MILTON        GOLDENBERG, MILLER, HELLER &     PO BOX 959                                                            EDWARDSVILLE         IL    62025‐0959
                     ANTOGNOLI
JAMES, MINNIE        4422 MCGRAW ST                                                                                         DETROIT            MI      48210
JAMES, MURIEL D      1733 LINDEN AVE SE                                                                                     GRAND RAPIDS       MI      49507‐2647
JAMES, MURRAY        3612 TALLMAN AVE SE                                                                                    GRAND RAPIDS       MI      49508‐5544
JAMES, MURRAY E      W277N2784 CHICORY LN                                                                                   PEWAUKEE           WI      53072‐4395
JAMES, MYREICE       11046 N GARDEN DR                APT B                                                                 ST LOUIS           MO      63138
JAMES, MYREICE       11046 N GARDEN DR APT B                                                                                SAINT LOUIS        MO      63138‐2035
JAMES, NANCY C       2132 PAMELA DR                                                                                         HOLIDAY            FL      34690‐4449
JAMES, NANCY I       2035 POST DR NE                                                                                        BELMONT            MI      49306‐8864
JAMES, NANCY LYNN    3552 SOUTH ST                                                                                          LUPTON             MI      48635‐9626
JAMES, NARADAIN O    544 HEIDI LN                                                                                           MANSFIELD          OH      44904‐1686
JAMES, NATHANIEL C   2366 TUXEDO ST                                                                                         DETROIT            MI      48206‐1287
JAMES, NEKILIA L     4224 PINE RDG                                                                                          BURTON             MI      48519‐2817
JAMES, NELLIE D      2428 CENTRAL AVE                                                                                       ANDERSON           IN      46016‐5122
JAMES, NICHOLAS J    MCCOY TURNAGE & ROBERTSON        16496 BERNARDO CENTER DRIVE                                           SAN DIEGO          CA      92128
                                                      SUITE 101
JAMES, NOAH C        416 CREEK VALLEY DR                                                                                    WOODSTOCK           GA     30188‐3906
JAMES, NOEL R        3 FARRELL LANE BELMONT                                                    PORT OF SPAIN TRINIDAD, WI

JAMES, NOLLAN        PO BOX 2020                                                                                            ANAHUAC            TX      77514‐2020
JAMES, NORMA         1218 QUAKER RD                                                                                         BARKER             NY      14012‐9538
JAMES, NORMA         1218 QUAKER ROAD                                                                                       BARKER             NY      14012‐9538
JAMES, NORMA J       1276 WARREN DR                                                                                         BRUNSWICK          OH      44212‐3012
JAMES, NORMAN J      1069 DEVONSHIRE DR                                                                                     SAN DIEGO          CA      92107‐4039
JAMES, NORMAN R      305 E VAN BECK AVE                                                                                     MILWAUKEE          WI      53207‐4455
JAMES, NORTHERN E    10801 E OUTER DR                                                                                       DETROIT            MI      48224‐2963
JAMES, O'DELL        29195 SPRING ST                                                                                        FARMINGTON HILLS   MI      48334‐4139

JAMES, OLGA N        40205 6 MILE RD                                                                                        NORTHVILLE         MI      48168‐2369
JAMES, OLIVER        ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                             BALTIMORE          MD      21202
                                                      CHARLES CENTER 22ND FLOOR
JAMES, OLLIE B       5551 RICHARDSON ST                                                                                     FORT WORTH         TX      76119‐1707
JAMES, OMA E         635 FAIRDALE AVE                                                                                       BOWLING GREEN      KY      42103‐1637
JAMES, OREAN W       327 BUNGALOW RD                                                                                        DAYTON             OH      45417‐1303
JAMES, ORVIN R       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA      23510‐2212
                                                      STREET, SUITE 600
JAMES, OTHELLO U     134 RUTH AVE                                                                                           PONTIAC             MI     48341‐1928
JAMES, OTIS          23046 MIDDLEBELT RD APT 103                                                                            FARMINGTON HILLS    MI     48336

JAMES, PAMELA        835 NASH AVE                                                                                           YPSILANTI          MI      48198‐6127
JAMES, PAMELA C      1113 BROOKSIDE DR                                                                                      GADSDEN            AL      35901‐2349
JAMES, PARIS B       3510 BALLINGER RD                                                                                      MARTINSVILLE       IN      46151‐8105
JAMES, PATRICIA A    12100 LAWNVIEW AVE APT 7                                                                               SPRINGDALE         OH      45246‐3032
JAMES, PATRICIA E    115 ALEXANDRIA BLVD                                                                                    MCDONOUGH          GA      30253‐3383
JAMES, PATRICIA J    5300 N OCEANSHORE BLVD                                                                                 PALM COAST         FL      32137‐3213
JAMES, PATRICIA J    3320 LODWICK DR NW APT 4                                                                               WARREN             OH      44485‐1570
JAMES, PATRICIA J    3320 LODWICK N W APT‐4                                                                                 WARREN             OH      44485‐1570
JAMES, PATRICK C     494 ROSEWOOD CIR                                                                                       JONESBORO          GA      30238‐8864
JAMES, PATRICK D     8276 KENYON DR SE                                                                                      WARREN             OH      44484‐3021
JAMES, PAUL          10191 KEITHSHIRE CT                                                                                    MIAMISBURG         OH      45342‐7264
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JAMES, PAUL E            3868 24TH ST                   P.O BOX 152                                                  DORR               MI     49323‐9110
JAMES, PAUL L            928 ROLLING MEADOW DR                                                                       BURLESON           TX     76028‐7476
JAMES, PAUL R            8616 RIDGEWAY CT                                                                            RAYTOWN            MO     64138‐5170
JAMES, PEGGY C           460 AUBURN AVE NE              PARKVIEW MANNER NURSING                                      ATLANTA            GA     30312‐1504
JAMES, PEGGY R           2500 JEWETTA AVE SPC 67                                                                     BAKERSFIELD        CA     93312‐9311
JAMES, PHILIP D          14131 MARE LN                                                                               VICTORVILLE        CA     92394‐7528
JAMES, PHILLIP L         PO BOX 353                                                                                  BRITTON            MI     49229‐0353
JAMES, PHILLIP O         1730 E HAMBLEN DR                                                                           INDIANAPOLIS       IN     46231‐1379
JAMES, PHILLIP R         1456 FAIRFIELD DR                                                                           N TONAWANDA        NY     14120‐2249
JAMES, PHILLIP RUSSELL   1456 FAIRFIELD DR                                                                           N TONAWANDA        NY     14120‐2249
JAMES, PHYLLIS           4561 BIG OTTER HIGHWAY                                                                      IVYDALE            WV     25113‐8227
JAMES, PHYLLIS J         5350 CEMENTARY RD                                                                           NOBLE              OK     73068
JAMES, PINKIE            948 KETTERING AVE                                                                           PONTIAC            MI     48340‐3257
JAMES, POLLY E           11774 QUIGLEY RD                                                                            DEXTER             MI     48130‐9576
JAMES, PONICE A          40 HALLER CRES                                                                              SPRING VALLEY      NY     10977
JAMES, PRENTICE J        1113 BURLINGTON DR                                                                          FLINT              MI     48503‐2928
JAMES, PRISCILLA J       733 TICKNER ST                                                                              LINDEN             MI     48451‐8917
JAMES, RACHAEL Z         3025 BLUE RIDGE BLVD                                                                        INDEPENDENCE       MO     64052
JAMES, RACHEL J          C/O CRAIG E JAMES              2052 NATURE PARK DRIVE                                       NORTH LAS VEGAS    NV     89084
JAMES, RACHEL J          2052 NATURE PARK DR            C/O CRAIG E JAMES                                            NORTH LAS VEGAS    NV     89084‐3153
JAMES, RALPH O           5859 WABADA AVE                                                                             SAINT LOUIS        MO     63112‐3811
JAMES, RALPH R           7120 PARTRIDGE DR                                                                           FLUSHING           MI     48433‐8853
JAMES, RANDALL L         22824 PARK LN                                                                               WOODBURN           IN     46797‐9654
JAMES, RAQUEL L          12400 ROJAS DR TRLR 183                                                                     EL PASO            TX     79928‐5218
JAMES, RASHAY L          9209 OAKLAND AVE                                                                            KANSAS CITY        MO     64138‐4226
JAMES, RAYMOND           GUY WILLIAM S                  PO BOX 509                                                   MCCOMB             MS     39649‐0509
JAMES, RAYMOND E         792 CLEAR SPRINGS RD                                                                        RUSSELL SPGS       KY     42642‐8859
JAMES, RENE M            866 JERRY DR                                                                                HUBBARD            OH     44425‐3801
JAMES, REX V             2409 E 39TH ST                                                                              ANDERSON           IN     46013‐2605
JAMES, RICHARD D         1074 SORRENTO WOODS BLVD                                                                    NOKOMIS            FL     34275‐4516
JAMES, RICHARD H         23554 W LINK LN                                                                             PLAINFIELD          IL    60586‐8051
JAMES, RICHARD K         14802 NE 188TH ST                                                                           HOLT               MO     64048‐8940
JAMES, RICHARD L         3120 FLETCHER ST                                                                            ANDERSON           IN     46016‐5347
JAMES, RICHARD L         1035 156TH AVENUE, NE UN       IT 5                                                         BELLEVUE           WA     98007
JAMES, RICHARD L         901 S A ST                                                                                  RICHMOND           IN     47374‐5521
JAMES, RICHARD M         50 S HALLOWAY ST                                                                            DAYTON             OH     45417‐1802
JAMES, RICHARD N         1510 NW 96TH AVE                                                                            PLANTATION         FL     33322‐4230
JAMES, RICK W            2106 DUNCANSBY DR SW                                                                        DECATUR            AL     35603‐1141
JAMES, ROBERT            PORTER & MALOUF PA             4670 MCWILLIE DR                                             JACKSON            MS     39206‐5621
JAMES, ROBERT            KROHN & MOSS                   3 SUMMIT PARK DR STE 100                                     INDEPENDENCE       OH     44131‐2598
JAMES, ROBERT            BIFFERATO GENTILOTTI & BIDEN   PO BOX 2165                                                  WILMINGTON         DE     19899‐2165
JAMES, ROBERT A          906 CAMERON AVE                                                                             PONTIAC            MI     48340‐3208
JAMES, ROBERT B          1280 ELIZABETH DR                                                                           HAMILTON           OH     45013
JAMES, ROBERT C          5454 LINNEHILL LN                                                                           CINCINNATI         OH     45238‐3206
JAMES, ROBERT E          3643 HAMPTON HEIGHTS DR                                                                     CUYAHOGA FALLS     OH     44223‐2623
JAMES, ROBERT E          13825 KERMAN RD                                                                             MONTROSE           MI     48457‐9325
JAMES, ROBERT E          13322 LITCHFIELD RD                                                                         MONTROSE           MI     48457‐9364
JAMES, ROBERT E          1731 VERONA CANEY RD                                                                        LEWISBURG          TN     37091‐6403
JAMES, ROBERT L          PO BOX 1234                                                                                 FLINT              MI     48501‐1234
JAMES, ROBERT L          737 BIRCH RD                                                                                VASSAR             MI     48768
JAMES, ROBERT S          2752 MAPLE ST                                                                               ANDERSON           IN     46013‐9766
JAMES, ROBERT W          108 SLOAN AVE E                                                                             TALLADEGA          AL     35160‐1506
JAMES, ROBIN L           6841 GLENDALE AVE                                                                           BOARDMAN           OH     44512‐4527
JAMES, ROLAND N          3329 E WESCOTT DR                                                                           PHOENIX            AZ     85050‐2645
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JAMES, RONALD C         11788 LAWRENCE HWY                                                                            NASHVILLE           MI     49073‐9101
JAMES, RONALD D         307 S RANGELINE RD                                                                            ANDERSON            IN     46012‐3801
JAMES, RONALD D         PO BOX 491                                                                                    BOSWELL             OK     74727‐0491
JAMES, RONALD E         29504 N SEAWAY CT                                                                             HARRISON TWP        MI     48045‐2770
JAMES, RONALD F         3624 BRIARWOOD DR                                                                             FLINT               MI     48507‐1458
JAMES, RONALD L         75 PARKWAY                                                                                    NORTH CHILI         NY     14514‐1225
JAMES, RONALD M         9558 FERRY RD                                                                                 WAYNESVILLE         OH     45068‐9075
JAMES, RONALD T         9317 N AUTUMN RD                                                                              OKLAHOMA CITY       OK     73151‐9544
JAMES, RONALD W         2503A KIRBY RD                                                                                MILTON              WV     25541‐1015
JAMES, RONNIE G         60 SHOEMAKER AVE                                                                              SCHUYLKILL HAVEN    PA     17972

JAMES, ROOSEVELT        909 LEGRAND DR                                                                                LANSING            MI      48910‐4360
JAMES, ROOSEVELT N      PO BOX 1306                                                                                   MUNCIE             IN      47308‐1306
JAMES, ROSALYN B        24678 AIRPORT ROAD                                                                            SHELL KNOB         MO      65747‐7700
JAMES, ROSEMARY         4909 FAWNDALE WAY                                                                             BAYTOWN            TX      77521‐1971
JAMES, ROSETTA          PORTER & MALOUF PA                4670 MCWILLIE DR                                            JACKSON            MS      39206‐5621
JAMES, ROSEVELT         WEITZ & LUXENBERG                 180 MAIDEN LANE                                             NEW YORK           NY      10038
JAMES, ROXANNA          602 WESTVIEW DRIVE                                                                            ASHLAND            KY      41102‐3332
JAMES, ROXANNE E        4376 MELISSA LN                                                                               ROSCOMMON          MI      48653‐7634
JAMES, ROXIE            1306 S 51ST AVE                                                                               CICERO             IL      60804‐1342
JAMES, ROY D            402 SYCAMORE LN                                                                               MARTINSBURG        WV      25401‐2406
JAMES, RUFORD E         7362 N WEBSTER RD                                                                             MOUNT MORRIS       MI      48458‐8400
JAMES, RUNELL HILL      208 LEXINGTON DR                                                                              ALBANY             GA      31705‐2515
JAMES, RUTH L           PO BOX 694                                                                                    PETOSKEY           MI      49770‐0694
JAMES, RUTH M           700 GREYSTONE PARK NE                                                                         ATLANTA            GA      30324‐5297
JAMES, SABRINA J        1725 COLEMAN AVE                                                                              LANSING            MI      48910‐1424
JAMES, SALLIE           8201 16TH BLAIR HOUSE APT 214                                                                 SILVER SPRING      MD      20910
JAMES, SAMMIE J         C/O GLORIA SYKES                  PO BOX 4006                                                 DETROIT            MI      48204
JAMES, SAMMIE J         PO BOX 4006                       C/O GLORIA SYKES                                            DETROIT            MI      48204‐0006
JAMES, SAMMY M          4249 LEAPING DEER LN                                                                          JACKSONVILLE       FL      32259‐4293
JAMES, SAMMY M          4357 DAVIS RD SW                                                                              VALDOSTA           GA      31501
JAMES, SAMUEL           12033 S EGGLESTON AVE                                                                         CHICAGO            IL      60628‐6303
JAMES, SAMUEL           COON BRENT W                      PO BOX 4905                                                 BEAUMONT           TX      77704‐4905
JAMES, SAMUEL R         10713 LOVERS LN NW                                                                            GRAND RAPIDS       MI      49534
JAMES, SANDRA D         PO BOX 2820                                                                                   COLUMBIA           MD      21045‐0820
JAMES, SANDRA DELORES   PO BOX 2820                                                                                   COLUMBIA           MD      21045‐0820
JAMES, SARAH J          22098 DALE                                                                                    BROWNSTOWN TWP     MI      48183‐1447

JAMES, SAUL O           6473 COBURN AVE                                                                               INDIANAPOLIS       IN      46260‐4493
JAMES, SCOTT RYAN       9733 BERKSHIRE LN                                                                             FORT WAYNE         IN      46804‐4301
JAMES, SEAN M           3809 CLAIRMONT ST                                                                             FLINT              MI      48532‐5227
JAMES, SEAN MICHAEL     3809 CLAIRMONT ST                                                                             FLINT              MI      48532‐5227
JAMES, SHANNON R        5152 MORRISH RD APT 31                                                                        SWARTZ CREEK       MI      48473‐1801
JAMES, SHANNON R        5333 NORTHWAY DR                                                                              SWARTZ CREEK       MI      48473‐8227
JAMES, SHARON K         233 NAPLES DR                                                                                 ELYRIA             OH      44035
JAMES, SHAUN M          8694 E CAROL WAY                                                                              SCOTTSDALE         AZ      85260‐5335
JAMES, SHELDON L        5135 PLEASANT DR                                                                              BEAVERTON          MI      48612‐8543
JAMES, SHELLEY L        PO BOX 251                                                                                    WAPPINGERS FALLS   NY      12590

JAMES, SHERYL L         5654 HIGHWAY 104 E                                                                            DYERSBURG          TN      38024‐7730
JAMES, SHIRLEY A        1033 LAKEVIEW ST                                                                              WATERFORD          MI      48328‐3818
JAMES, SHIRLEY W        3691A CURTIS AVE SE                                                                           WARREN             OH      44484‐4484
JAMES, SHIRLEY W        3691 CURTIS AVE SE APT A                                                                      WARREN             OH      44484‐3609
JAMES, SHIRREL T        8916 KENTUCKY AVE                                                                             KANSAS CITY        MO      64138‐4469
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Name                      Address1                          Address2                      Address3   Address4               City            State Zip
JAMES, SIDNEY C           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA 23510‐2212
                                                            STREET, SUITE 600
JAMES, SPENCER            PO BOX 1381                                                                                       MILLBROOK       AL   36054‐0030
JAMES, STANLEY E          6025 LANCASTER DR                                                                                 FLINT           MI   48532‐3214
JAMES, STANLEY W          5009 S BY PASS TER                                                                                OKLAHOMA CITY   OK   73119‐4227
JAMES, STEFANIE A         4545 GROVER DR                                                                                    YOUNGSTOWN      OH   44512‐1602
JAMES, STEFANIE ANN       4545 GROVER DR                                                                                    YOUNGSTOWN      OH   44512‐1602
JAMES, STEPHANIE R        2025 PINE FOREST DRIVE                                                                            MIAMISBURG      OH   45342‐7635
JAMES, STEPHEN A          2445 KAOLIN RD                                                                                    COBDEN          IL   62920
JAMES, STEVEN             1730 CONTINENTAL DR                                                                               ZIONSVILLE      IN   46077‐8706
JAMES, STEVEN F           1730 CONTINENTAL DR                                                                               ZIONSVILLE      IN   46077‐8706
JAMES, STEVEN P           10191 KEITHSHIRE CT                                                                               MIAMISBURG      OH   45342‐7264
JAMES, STEVEN P           2163 BRIAR LN                                                                                     BURTON          MI   48509‐1232
JAMES, SUE A              8516 JIB CT                                                                                       INDIANAPOLIS    IN   46236‐9597
JAMES, TALMADGE L         2950 SWEET HOME RD                                                                                AMHERST         NY   14228‐1337
JAMES, TAMIKA             NOT IN FILE
JAMES, TANYA R
JAMES, TANYA R            USAA INSURANCE                    9800 FREDERICKSBURG RD                                          SAN ANTONIO     TX   78288‐0001
JAMES, TAWN L             471 KING OAK LANE                                                                                 DAYTON          OH   45415‐1377
JAMES, TERESA J           1039 COMMONWEALTH AVE                                                                             YPSILANTI       MI   48198‐3119
JAMES, TERRANCE B         5699 DEPAUW AVE                                                                                   AUSTINTOWN      OH   44515‐4111
JAMES, TERRY D            1314 RIVER FOREST DR                                                                              FLINT           MI   48532‐2823
JAMES, TERRY DWAYNE       1314 RIVER FOREST DR                                                                              FLINT           MI   48532‐2823
JAMES, TERRY G            507 DUDLEY ST # A                                                                                 BLANCHESTER     OH   45107‐1355
JAMES, TERRY G            507 A DUDLEY ST.                                                                                  BLANCHESTER     OH   45107‐1355
JAMES, TERRY M            G3376 CONCORD ST                                                                                  FLINT           MI   48504‐2453
JAMES, TERRY R            2766 BELLE MEADE PL                                                                               COLUMBIA        TN   38401‐7289
JAMES, TERRY R            4636 SENECA RD                                                                                    SHARPSVILLE     PA   16150‐9686
JAMES, TERRY W            1505 SAINT GEORGE LN                                                                              JANESVILLE      WI   53545‐1368
JAMES, THELMA             12735 S MORGAN ST                                                                                 CHICAGO         IL   60643‐6611
JAMES, THELMA             44626 HIGHWAY 226 SE                                                                              STAYTON         OR   97383‐9736
JAMES, THEODORE R         8558 E CYPRESS POINT CT                                                                           BATON ROUGE     LA   70809‐2279
JAMES, THOMAS A           ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                       BALTIMORE       MD   21202
                                                            CHARLES CENTER 22ND FLOOR
JAMES, THOMAS D           6189 HIGHLAND AVE SW                                                                              WARREN          OH   44481‐8609
JAMES, THOMAS E           7101 DITCH RD                                                                                     CHESANING       MI   48616‐9736
JAMES, THOMAS E           1724 WINFIELD AVE                                                                                 INDIANAPOLIS    IN   46222‐2769
JAMES, THOMAS E           701 FLOWER ST                                                                                     THREE RIVERS    MI   49093‐1355
JAMES, THOMAS EUGENE      7101 DITCH RD                                                                                     CHESANING       MI   48616‐9736
JAMES, THOMAS G           7141 DOMINICAN DR                                                                                 TROTWOOD        OH   45415‐1206
JAMES, THOMAS MARION      SAVILLE EVOLA & FLINT LLC         PO BOX 602                                                      ALTON           IL   62002‐0602
JAMES, THOMAS N           733 TICKNER ST                                                                                    LINDEN          MI   48451‐8917
JAMES, THOMAS R           2090 WEST COUNTY RD               400 SOUTH                                                       CLAYTON         IN   46118
JAMES, THOMAS R           431 BUCKINGHAM AVE                                                                                FLINT           MI   48507‐2706
JAMES, TIAJUANA C         PO BOX 487                                                                                        SUWANEE         GA   30024‐0487
JAMES, TIBERIA L          2710 DIANE MARIE CT                                                                               WATERFORD       MI   48329‐4834
JAMES, TIJUANA
JAMES, TIM M              2553 ECKERT RD                                                                                    LEXINGTON       OH   44904‐8731
JAMES, TINA J             1601 MANDARIN COURT                                                                               FOREST PARK     OH   45240‐2125
JAMES, TINA J             1601 MANDARIN DR                                                                                  CINCINNATI      OH   45240‐2125
JAMES, TOBY C             617 LONSVALE DR                                                                                   ANDERSON        IN   46013‐3216
JAMES, TOBY CHRISTOPHER   617 LONSVALE DR                                                                                   ANDERSON        IN   46013‐3216
JAMES, TOMMIE A           7278 NICHOLS RD                                                                                   FLUSHING        MI   48433‐9273
JAMES, TOMMIE ARTHUR      7278 NICHOLS RD                                                                                   FLUSHING        MI   48433‐9273
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Name               Address1                            Address2                        Address3               Address4               City           State   Zip
JAMES, TOMMY L     1736 E FRANKFORT ST                                                                                               COLUMBUS        OH     43206‐1826
JAMES, TONYA       2915 PRINCETON DR                                                                                                 DAYTON          OH     45406‐4343
JAMES, TRACY       1029 LORENE AVE                                                                                                   MOUNT MORRIS    MI     48458‐2111
JAMES, TRICIA L    MCCOY TURNAGE & ROBERTSON           16496 BERNARDO CENTER DRIVE                                                   SAN DIEGO       CA     92128
                                                       SUITE 101
JAMES, TRINA R     2901 BROWNELL BLVD                                                                                                FLINT          MI      48504‐2598
JAMES, TROY G      5718 WEBSTER DR                                                                                                   SYLVANIA       OH      43560‐2054
JAMES, TROY GENE   5718 WEBSTER DR                                                                                                   SYLVANIA       OH      43560‐2054
JAMES, VALERIE M   3329 S 12TH ST                                                                                                    MILWAUKEE      WI      53215‐5005
JAMES, VELDA J     5932 CULZEAN DR APT 701                                                                                           DAYTON         OH      45426
JAMES, VERONICA    6276 ROBINSON RD                                                                                                  LOCKPORT       NY      14094‐9234
JAMES, VINCENT L   20313 WALTHAM ST                                                                                                  DETROIT        MI      48205‐1081
JAMES, VIRGINIA    624 S GRAND TRAVERSE ST                                                                                           FLINT          MI      48502
JAMES, VIRTIOUS    ROBBINS & GREEN                     PO BOX 40186                                                                  MESA           AZ      85274‐0186
JAMES, VONNIE P    415 VALLEY OAKS RD                  C/O RUTH A DOOM                                                               GREENWOOD      IN      46143‐2552
JAMES, WALTER      16970 SUMPTER RD                                                                                                  BELLEVILLE     MI      48111‐2971
JAMES, WALTER      BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                                                  NORTHFIELD     OH      44067
                                                       PROFESSIONAL BLDG
JAMES, WALTER      16 TERRACE CIR                                                                                                    MONROE         LA      71202‐5820
JAMES, WALTER L    SUTTER & ENSLEIN                    1598 KANAWHA BLVD EAST, SUITE                                                 CHARLESTON     WV      25311
JAMES, WAYNE D     8002 YELLOWSTONE RD                                                                                               KINGSVILLE     MD      21087‐1511
JAMES, WAYNE F     5238 BROMWICK DRIVE                                                                                               TROTWOOD       OH      45426‐5426
JAMES, WILLARD     C/O LYNNE KIZIS ESQ                 WILENTZ GOLDMAN AND SPITZER     90 WOODBRIDGE CENTER                          WOODBRIDGE     NJ      07095
                                                                                       DRIVE
JAMES, WILLARD D   17355 LOUISVILLE RD                                                                                               SMITHS GROVE   KY      42171‐8868
JAMES, WILLIAM     6173 CAROLOT CV                                                                                                   BARTLETT       TN      38135‐6165
JAMES, WILLIAM E   6880 W 100 N                                                                                                      GREENFIELD     IN      46140‐9614
JAMES, WILLIAM G   2048 VAN OSS DRIVE                                                                                                BEAVERCREEK    OH      45431‐3324
JAMES, WILLIAM G   12400 ROJAS DR TRLR 183                                                                                           EL PASO        TX      79928‐5218
JAMES, WILLIAM H   LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                                    BIRMINGHAM     MI      48009‐5394
JAMES, WILLIAM J   4632 VANDALIA AVE                                                                                                 INDIANAPOLIS   IN      46241‐3541
JAMES, WILLIAM K   19917 BURGESS                                                                                                     DETROIT        MI      48219‐1368
JAMES, WILLIAM K   1820 APPLEDORE PL                                                                                                 TOLEDO         OH      43606‐4001
JAMES, WILLIAM L   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                   NORFOLK        VA      23510‐2212
                                                       STREET, SUITE 600
JAMES, WILLIAM M   415 DUNN ST                                                                                                       PLAINFIELD     IN      46168‐2005
JAMES, WILLIAM R   316 N LENFESTY AVE                                                                                                MARION         IN      46952‐6201
JAMES, WILLIAM R   6982 W COOK RD                                                                                                    MONROVIA       IN      46157‐9204
JAMES, WILLIAM R   916 HY42 SOUTH                                                                                                    JACKSON        GA      30233
JAMES, WILLIAM R   8995 ROAD 177                                                                                                     OAKWOOD        OH      45873
JAMES, WILLIAM R   PO BOX 694                                                                                                        YOUNGSTOWN     OH      44501‐0694
JAMES, WILLIAM T   6185 MOUNT ZION BLVD                                                                                              MORROW         GA      30260‐1535
JAMES, WILLIAM T   916 HAROLD ST                                                                                                     ANDERSON       IN      46013‐1630
JAMES, WILLIAM T   926 W POST RD                                                                                                     ANDERSON       IN      46012‐2756
JAMES, WILLIAM T   15790 LAKEVIEW DR                                                                                                 WOLVERINE      MI      49799‐9710
JAMES, WILLIE      VARAS & MORGAN                      PO BOX 886                                                                    HAZLEHURST     MS      39083‐0886
JAMES, WILLIE      ALLSTATE                            1111 MARCUS AVENUE                                                            LAKE SUCCESS   NY      11042
JAMES, WILLIE
JAMES, WILLIE      316 ALLEN ST                                                                                                      LANSING         MI     48912‐2711
JAMES, WILLIE C    9379 JAMESON ST                                                                                                   DETROIT         MI     48214‐2015
JAMES, WILLIE C    4465 ACORNE CT                                                                                                    MILAN           MI     48160‐9749
JAMES, WILLIE F    310 E GENESEE ST                                                                                                  FLINT           MI     48505‐4201
JAMES, WILLIE H    4749 MIGALDI DR                                                                                                   MEMPHIS         TN     38125‐3598
JAMES, WILLIE L    3231 BALTIMORE AVE                                                                                                INDIANAPOLIS    IN     46218‐2012
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Name                                 Address1                         Address2                      Address3                    Address4               City            State   Zip
JAMES, WILLIE M                      726 W WILLOW ST                                                                                                   LANSING          MI     48906‐4781
JAMES, WILLIS C                      3806 BRANCH RD                                                                                                    FLINT            MI     48506‐2416
JAMES, WILMA C                       2339 RAYMOND BOLTON RD                                                                                            RAYMOND          MS     39154
JAMES, WILMA J                       1900 LYNN DR                                                                                                      MARTINSVILLE     IN     46151‐8451
JAMES, WILMA J                       1900 LYNN DRIVE                                                                                                   MARTINSVILLE     IN     46151
JAMES, WILMA J                       2412 W 400 N                     C/O MICHAEL A JAMES                                                              GREENFIELD       IN     46140‐8484
JAMES, WINFORD W                     65379 COUNTY ROAD 652                                                                                             MATTAWAN         MI     49071‐9537
JAMES, YOLANDA D                     3770 PINNACLE RD APT E                                                                                            MORAINE          OH     45418‐2973
JAMES, ZELMA                         665 E PHILADELPHIA                                                                                                FLINT            MI     48505‐3386
JAMES,MARK                           1311 N 64TH DR                                                                                                    KANSAS CITY      KS     66102‐1121
JAMES‐CASE, BRENDA M                 4450 RIDGE RD                                                                                                     LOCKPORT         NY     14094‐9731
JAMES‐JESTER, MAXINE W               1020 SHANGRI LA LN                                                                                                OVIEDO           FL     32765‐6440
JAMES‐MARTIN CHEVROLET, INC.         PHILLIP LARGE                    6250 WOODWARD AVE                                                                DETROIT          MI     48202‐3521
JAMES‐MARTIN CHEVROLET‐BUICK, INC.   6250 WOODWARD AVE                                                                                                 DETROIT          MI     48202‐3521

JAMES‐RIVARD PONTIAC‐GMC, INC.       9740 E ADAMO DR                                                                                                   TAMPA           FL      33619‐2614
JAMES‐WALKER, LORETTA B              3576 MIDDLEBELT RD                                                                                                INKSTER         MI      48141‐2059
JAMESENA COX                         8507 TITCHFIELD CT APT B         APT#B FIRST FLOOR SOUTH                                                          SAINT LOUIS     MO      63123‐1250
JAMESENA MCCREARY                    1783 QUIGLEY RD                                                                                                   COLUMBUS        OH      43227‐3435
JAMESETTA N RAINEY                   5110 WOODMERE DR                                                                                                  HUBER HEIGHTS   OH      45424
JAMESINA BUTLER                      221 WILLOW AVE                                                                                                    SCOTCH PLAINS   NJ      07076‐1044
JAMESON COLLINS                      8552 PARKRIDGE DR                                                                                                 DEXTER          MI      48130‐9399
JAMESON DAVID                        JAMESON, APRIL                   CALIFORNIA LEMON LAWYERS      1400 COLEMAN AVENUE SUITE                          SANTA CLARA     CA      95050
                                                                                                    F21
JAMESON DAVID                        JAMESON, DAVID                   1400 COLEMAN AVE STE F21                                                         SANTA CLARA     CA      95050‐4359
JAMESON ENOCH                        37460 LADYWOOD ST                                                                                                 LIVONIA         MI      48154‐1447
JAMESON JODY C                       JAMESON, JODY C                  89 N HADDON AVE                                                                  HADDONFIELD     NJ      08033‐2423
JAMESON JOHN                         PO BOX 488                                                                                                        DAVIS           OK      73030‐0488
JAMESON JR, ANDREW L                 2276 BURWELL DR                                                                                                   SAINT LOUIS     MO      63136‐4510
JAMESON LAWRENCE                     4541 HEPBURN PL                                                                                                   SAGINAW         MI      48603‐2926
JAMESON MARK                         71 OLD LN                                                                                                         TOWACO          NJ      07082‐1228
JAMESON OLSON                        1055 HENRY ST                                                                                                     HUNTINGTON      IN      46750‐3746
JAMESON RAY H (626585)               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                      NORFOLK         VA      23510
                                                                      STREET, SUITE 600
JAMESON ROOFING CO                   106 EVANS ST STE H                                                                                                HAMBURG         NY      14075‐6169
JAMESON ROOFING CO INC               106 EVANS ST                                                                                                      HAMBURG         NY      14075
JAMESON ROOFING CO INC               3761 LAKE SHORE DR E             REMOVE PER LTR 6‐18‐01 JA                                                        DUNKIRK         NY      14048‐9738
JAMESON, APRIL                       CALIFORNIA LEMON LAWYERS         1400 COLEMAN AVE STE F21                                                         SANTA CLARA     CA      95050‐4359
JAMESON, CHARLES J                   6246 N 750 W                                                                                                      FRANKTON        IN      46044‐9692
JAMESON, DANNY J                     2555 MASTERS RD                                                                                                   SULPHUR         OK      73086‐9066
JAMESON, DAVID                       CALIFORNIA LEMON LAWYERS         1400 COLEMAN AVE STE F21                                                         SANTA CLARA     CA      95050‐4359
JAMESON, DOROTHY S                   5688 S LORENE AVE                                                                                                 MILWAUKEE       WI      53221‐4022
JAMESON, EDNA M                      221 CAPE SABLE DR                                                                                                 NAPLES          FL      33942‐4118
JAMESON, GARY J                      2644 JOSEPH ST                                                                                                    AVON            OH      44011‐1910
JAMESON, GEORGE H                    7200 E EVANS AVE APT 615                                                                                          DENVER          CO      80224‐2446
JAMESON, HELEN L                     PO BOX 1163                                                                                                       PORT ARANSAS    TX      78373‐1163
JAMESON, JACK H                      13013 TURNER RD                                                                                                   DEWITT          MI      48820‐9061
JAMESON, JOHN C                      3724 LANSDOWNE AVE                                                                                                CINCINNATI      OH      45236‐3050
JAMESON, KIMBERLY A                  1169 CARLA JOE DRIVE SOUTHWEST                                                                                    LILBURN         GA      30047‐4201
JAMESON, LARRY O                     185 ELIZABETH DR                                                                                                  OWOSSO          MI      48867‐9062
JAMESON, LEONARD L                   PO BOX 850086                                                                                                     YUKON           OK      73085‐0086
JAMESON, LINDA J                     2555 MASTERS RD                                                                                                   SULPHUR         OK      73086‐9066
JAMESON, LINDA K                     538 E MCARTHUR ST                                                                                                 CORUNNA         MI      48817‐1740
JAMESON, LOUANN H                    6364 PHEASANT CT                                                                                                  PENDLETON       IN      46064
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Name                            Address1                          Address2                      Address3   Address4               City               State   Zip
JAMESON, MARGIE R               PO BOX 850086                                                                                     YUKON               OK     73085‐0086
JAMESON, MARK S                 2322 ROLLINS ST                                                                                   GRAND BLANC         MI     48439‐4351
JAMESON, MARVIENE L             PO BOX 634                                                                                        WENTZVILLE          MO     63385‐0634
JAMESON, MAX W                  23175 RANCH HILL DR E                                                                             SOUTHFIELD          MI     48033‐3114
JAMESON, PAMELA J               PO BOX 271865                                                                                     OKLAHOMA CITY       OK     73137‐1865
JAMESON, PATRICIA               196 AMSDEN DR                                                                                     ROCHESTER           NY     14623‐5320
JAMESON, PAUL W                 19246 MACKAY ST                                                                                   DETROIT             MI     48234‐1486
JAMESON, PHYLLIS L              837 MANCHESTER WOODS DR                                                                           SUN CITY CENTER     FL     33573‐7007
JAMESON, RAMONA J.              2500 MANN RD LOT 45                                                                               CLARKSTON           MI     48346‐4243
JAMESON, RAY H                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                                  STREET, SUITE 600
JAMESON, RICHARD D              351 NTH SQUIRREL RD               LOT 192                                                         AUBURN HILLS       MI      48326
JAMESON, RICHARD L              1202 WEST HAVENS STREET                                                                           KOKOMO             IN      46901‐2600
JAMESON, ROBERT E               2101 S MARKET ST                                                                                  YORKTOWN           IN      47396‐1217
JAMESON, ROBERT J               4018 WESTERN DR                                                                                   ANDERSON           IN      46012
JAMESON, ROBERT L               2747 LIMERICK DR                                                                                  BAY CITY           MI      48706‐8337
JAMESON, ROBERT L               538 E MCARTHUR ST                                                                                 CORUNNA            MI      48817‐1740
JAMESON, ROBERT LEE             538 E MCARTHUR ST                                                                                 CORUNNA            MI      48817‐1740
JAMESON, ROBERT R               1060 CHERRY GROVE ROAD                                                                            YANCEYVILLE        NC      27379‐9177
JAMESON, ROBERT W               1610 BRITEWAY CT                                                                                  BOWLING GREEN      KY      42103‐1445
JAMESON, RONALD C               415 ROCK MEADOW TRL                                                                               MANSFIELD          TX      76063‐7542
JAMESON, RONALD W               6513 ELK CANYON RD                                                                                OKLAHOMA CITY      OK      73162‐6727
JAMESON, RONALD W.              6513 ELK CANYON RD                                                                                OKLAHOMA CITY      OK      73162‐6727
JAMESON, SHARON A               1149 BILLETTER DR                                                                                 HURON              OH      44839
JAMESON, STEVEN K               6364 PHEASANT CT                                                                                  PENDLETON          IN      46064
JAMESON, STEVEN K               524 IMY LN                                                                                        ANDERSON           IN      46013‐3823
JAMESON, SUMMER L               JOHNSON CLIFTON LARSON & CORSON   975 OAK ST STE 1050                                             EUGENE             OR      97401‐3124

JAMESON, SUMMER L
JAMESON, VEESTER                452 S 20TH ST                                                                                     SAGINAW             MI     48601‐1527
JAMESON, WILLIAM M              2390 W MARION AVE                                                                                 PUNTA GORDA         FL     33950‐5151
JAMESON, ZONA                   2616 E SERENDIPITY CIR                                                                            COLORADO SPRINGS    CO     80917‐3905

JAMESON,CHRISTOPHER             1709 WINDSOR LN                                                                                   LIBERTY            MO      64068‐3241
JAMESTON HALE                   3280 CENTENNIAL RD                                                                                FOREST HILL        TX      76119‐7103
JAMESTOWN AUTO CENTER           1513 BUSINESS LOOP E                                                                              JAMESTOWN          ND      58401‐5950
JAMESTOWN COLLEGE               6080 COLLEGE LN                                                                                   JAMESTOWN          ND      58405‐0001
JAMESTOWN COMMUNITY COLLEGE     525 FALCONER ST                   P O BOX 20                                                      JAMESTOWN          NY      14701‐1920
JAMESTOWN INDUSTRIES INC        2210 ARBOR BLVD #210                                                                              MORAINE            OH      45439‐1506
JAMESTOWN INDUSTRIES INC        2290 ARBOR BLVD                                                                                   MORAINE            OH      45439‐1522
JAMESTOWN MOR/MORAIN            2210 ARBOR BLVD # 210                                                                             MORAINE            OH      45439‐1506
JAMESTOWN MORAINE INC           2210 ARBOR BLVD # 210                                                                             MORAINE            OH      45439‐1506
JAMESTOWN MOTOR CORPORATION     JOHN ALEXANDER                    18475 5TH AVE                                                   JAMESTOWN          CA      95327
JAMESTOWN PAINT & VARNISH CO    108 MAIN ST                                                                                       JAMESTOWN          PA      16134‐8510
JAMESTOWN PL/OH                 4940 COTTONVILLE RD                                                                               JAMESTOWN          OH      45335‐1522
JAMESTOWN PLASTIC MOLDERS INC   4940 COTTONVILLE RD                                                                               JAMESTOWN          OH      45335‐1522
JAMESTOWN PLASTICS
JAMESTOWN PLASTICS INC          8806 HIGHLAND AVE                 PO BOX U                                                        BROCTON            NY      14716
JAMESTOWN‐MORAINE INC           2210 ARBOR BLVD #210                                                                              MORAINE            OH      45439‐1506
JAMEY C MCCURRY                 707 ST RT 725 #145                                                                                CENTERVILLE        OH      45459
JAMEY CARPENTER                 4841 WESTCHESTER DR A 306                                                                         AUSTINTOWN         OH      44515
JAMEY FORTY
JAMEY HOUCK                     1137 E SPICERVILLE HWY                                                                            CHARLOTTE          MI      48813‐9140
JAMEY MADDOX                    2570 BAYWOOD ST                                                                                   DAYTON             OH      45406
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Name                    Address1                           Address2          Address3         Address4               City            State   Zip
JAMEY MCCURRY           707 ST RT 725 #145                                                                           CENTERVILLE      OH     45459
JAMEY P JOHNSON         8303 ST. RT.380                                                                              WILMINGTON       OH     45177
JAMEY P JOHNSON         8303 STATE ROUTE 380                                                                         WILMINGTON       OH     45177‐9055
JAMEY STEWART           2218 EDWARD DR                                                                               KOKOMO           IN     46902‐6503
JAMEY TRIMMER           7040 WAYLAND DR                                                                              INDIANAPOLIS     IN     46239‐9502
JAMEYFIELD, CYNTHIA     2823 STATION SOUTH DR                                                                        THOMPSONS        TN     37179‐5233
                                                                                                                     STATION
JAMEYSON, HOWARD A      243 FOREST ST EXT                                                                            WELLINGTON      OH      44090
JAMGOTCHIAN, MIRIAM M   103 LAKE HARDIN RD                                                                           GADSDEN         AL      35904
JAMI C KOPF             240 MATTY AVE                                                                                SYRACUSE        NY      13211‐1633
JAMI ROZANSKI           4198 POLLY LN                                                                                HAMBURG         NY      14075‐1327
JAMI S WREN             938 W MAIN STREET                                                                            HILLSBORO       OH      45133‐7484
JAMI SMITH              5827 BILLWOOD HWY                                                                            POTTERVILLE     MI      48876‐8733
JAMI WALLACE            408 OLD MOUNT PLEASANT SCHOOL RD                                                             ALVATON         KY      42122‐8622

JAMI WARNER
JAMIA COLLIER           2941 GREENVIEW DR                                                                            JACKSON         MS      39212‐2919
JAMIA R SMITH           1103 RANDOLPH ST                                                                             DAYTON          OH      45417
JAMIE A ANGEL           P O BOX 49203                                                                                DAYTON          OH      45449‐0203
JAMIE A HARRIS          4148 ANNAPOLIS AVE                                                                           DAYTON          OH      45416‐1505
JAMIE A JONES           31 READ AVE                                                                                  WILMINGTON      DE      19804‐2033
JAMIE A SMITH           203 GROVER CLEVELAND CIR                                                                     JACKSON         MS      39213‐3119
JAMIE A VINCENT         911 W WOOLWICK CT                                                                            SAINT CHARLES   MO      63304‐6956
JAMIE A WEST            502 FLORIDA RD                                                                               SYRACUSE        NY      13211‐1221
JAMIE AMAN BURLENSKI    15747 OCEANA AVE                                                                             ALLEN PARK      MI      48101‐1941
JAMIE AREVALO           1102 CARLSON DR                                                                              BURTON          MI      48509‐2343
JAMIE B ELKINS          2301 HILL AVE                                                                                GADSDEN         AL      35904‐2522
JAMIE BIRD              2716 SPYGLASS HILL RD                                                                        EDMOND          OK      73034‐8342
JAMIE BIRT              3710 STERLING STREET                                                                         FLINT           MI      48504‐2269
JAMIE BOYER             4443 DUFFIELD RD                                                                             FLUSHING        MI      48433‐9710
JAMIE BREWER            449 ALGENE ST                                                                                LAKE ORION      MI      48362‐2701
JAMIE BROOKS            PO BOX 345                                                                                   FLORENCE        MS      39073‐0345
JAMIE BROWN             1314 E PRINCETON AVE                                                                         FLINT           MI      48505‐1755
JAMIE BUCKLEY           1000 LINCOLN DR                                                                              BRIGHTON        MI      48116‐3794
JAMIE BURNELL           5587 LUM RD                                                                                  LUM             MI      48412‐9384
JAMIE C KINDELL         740 BILTMORE PL                                                                              DAYTON          OH      45431
JAMIE C SHANNON         2493 BYERS RIDGE DRIVE                                                                       MIAMISBURG      OH      45342
JAMIE CARPENTER         14528 RACCOON TRL                                                                            FORT WAYNE      IN      46814‐9746
JAMIE CARTWRIGHT        317 SUNSET LN                                                                                BEDFORD         IN      47421‐9097
JAMIE CHAMARRO          5427 HOWE RD                                                                                 GRAND BLANC     MI      48439‐7910
JAMIE CLARK             30581 ANGELA MARIE CT                                                                        CHESTERFIELD    MI      48051‐1250
JAMIE CLARK             730 FOX RD SE                                                                                BOGUE CHITTO    MS      39629‐3009
JAMIE CLARK             PO BOX 223                                                                                   RAYMONDVILLE    NY      13678‐0223
JAMIE COLDEN            W2464 MOHNS RD                                                                               JUDA            WI      53550‐9713
JAMIE CONN              50526 ROSE TER                                                                               NORTHVILLE      MI      48168‐6807
JAMIE COX               512 SPRING LN                                                                                FLUSHING        MI      48433‐1929
JAMIE CRAFT             304 CAROM CIR                                                                                MASON           MI      48854‐9371
JAMIE CURTIS            PO BOX 93D                                                                                   DAVISON         MI      48423
JAMIE D HARRIS          2912 PRESCOTT AVE                                                                            DAYTON          OH      45406‐‐ 27
JAMIE D NEWPORT         330 E MELFORD AVE                                                                            DAYTON          OH      45405‐2313
JAMIE D SANDERS‐HICKS   717 CATHAY ST                                                                                SAGINAW         MI      48601‐1371
JAMIE D STRUNK          636 15TH ST                                                                                  BEDFORD         IN      47421‐3806
JAMIE D YOST            7221 KIRKVIEW DR                                                                             DAYTON          OH      45424
JAMIE DAVIS             421 VANCIL RD                                                                                WEST MONROE     LA      71292‐0119
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Name                               Address1                      Address2            Address3         Address4               City              State   Zip
JAMIE DAVIS‐CHUPP                  11840 LANSDOWNE ST                                                                        DETROIT            MI     48224‐4700
JAMIE DEBORDE                      300 WOODLAWN DR                                                                           FAIRBORN           OH     45324‐4137
JAMIE DIEFENDERFER                 204 E 13TH ST EXT                                                                         GREENVILLE         PA     16125
JAMIE DWYER                        3919 EVANS RD                                                                             CUMMING            GA     30040‐4982
JAMIE E COLLER                     61 BRIDGES AVE                                                                            MASSENA            NY     13662‐1855
JAMIE E WIESMAN                    2820 STONE MILL WAY                                                                       HAMILTON           OH     45011
JAMIE EMERICK                      1309 N HOMER ST                                                                           LANSING            MI     48912‐5041
JAMIE FARR OWENS CORNING CLASSIC   4405 DORR ST                                                                              TOLEDO             OH     43607‐2139
JAMIE FRY                          10853 E BEARDSLEY RD                                                                      CARSON CITY        MI     48811‐9640
JAMIE G BROOKS                     PO BOX 345                                                                                FLORENCE           MS     39073
JAMIE GIBBS                        5462 COUNTRY ROSE CIR                                                                     GRAND BLANC        MI     48439‐9182
JAMIE GRECO                        5628 PONDEROSA DR                                                                         SHELBY TOWNSHIP    MI     48316‐4247
JAMIE GUEHRING                     2903 GERMAN CHURCH RD                                                                     LEXINGTON          OH     44904‐9310
JAMIE H BEACH                      225 CAIN ST                                                                               NEW LEBANON        OH     45345
JAMIE H CLARK                      PO BOX 223                                                                                RAYMONDVILLE       NY     13678‐0223
JAMIE HAMILTON                     2125 N SCATTERFIELD RD                                                                    ANDERSON           IN     46012‐1542
JAMIE HART                         304 WHITTEMORE ST                                                                         AUBURN             MI     48611‐9405
JAMIE HASSINGER                    1010 N RANDALL AVE                                                                        JANESVILLE         WI     53545‐1964
JAMIE HICKS                        PO BOX 645                                                                                WADDINGTON         NY     13694‐0645
JAMIE HORN                         1513 FOX RUN                                                                              TECUMSEH           MI     49286‐1608
JAMIE HORNSBY                      4511 NEWELL RD                                                                            MERIDIAN           MS     39301‐1138
JAMIE HOWARD                       4697 BYRON RD                                                                             FAIRBORN           OH     45324‐9731
JAMIE HSU                          1956 CONNOLLY DR                                                                          TROY               MI     48098‐2419
JAMIE J HARRIS                     6902 HOP CLOVER RD                                                                        CORONA             CA     92880‐9161
JAMIE J HARRIS                     919 14TH ST                                                                               BEDFORD            IN     47421‐3327
JAMIE J RAFFA                      163 GENESEE ST 2                                                                          AVON               NY     14414
JAMIE J SIEFRING                   132 E JAMES                                                                               BRADFORD           OH     45308‐1316
JAMIE J WASCHER                    1498 E SCHUMACHER ST                                                                      BURTON             MI     48529‐1622
JAMIE JACKSON                      1714 BERNSTEIN DR                                                                         MONROE             LA     71202
JAMIE JENKINS                      1312 P ST                                                                                 BEDFORD            IN     47421‐3128
JAMIE JOHNSTON                     22053 STATE ROUTE 637                                                                     OAKWOOD            OH     45873‐9044
JAMIE JORDAN                       104 STATE ROUTE 314 S                                                                     MANSFIELD          OH     44903‐8679
JAMIE K STIGER                     1125 REX AVE                                                                              FLINT              MI     48505‐1638
JAMIE KERNODLE                     182 S COUNTY RD 550 E         APT 328                                                     AVON               IN     46123‐7054
JAMIE KILLIAN                      124 CRAPE MYRTLE LN                                                                       WINSBORO           LN     71295‐4733
JAMIE KING                         6853 KLAM RD                                                                              OTTER LAKE         MI     48464‐9707
JAMIE KIRK                         1211 BONO RD                                                                              MITCHELL           IN     47446‐5943
JAMIE KORMAN                       7375 MARTIN RD                                                                            SAINT CHARLES      MI     48655‐9673
JAMIE L BERG                       1402 S MICHIGAN AVE                                                                       SAGINAW            MI     48602‐1326
JAMIE L CLAWSON                    105 COLE AVE                                                                              MIAMISBURG         OH     45342
JAMIE L CRAVALHO                   2451 ALLYSON DR.                                                                          WARREN             OH     44484‐3708
JAMIE L CURTIS                     5900 BRIDGE RD APT 303                                                                    YPSILANTI          MI     48197‐7011
JAMIE L FRY                        11744 CAMDEN ST                                                                           LIVONIA            MI     48150‐2362
JAMIE L GLASGOW                    255 EYTH RD                                                                               BUTLER             PA     16002
JAMIE L HARRIS                     PO BOX 3342                                                                               WARREN             OH     44485‐0342
JAMIE L HICKS                      PO BOX 645                                                                                WADDINGTON         NY     13694‐0645
JAMIE L MCGHEE                     5438 BASORE RD                                                                            TROTWOOD           OH     45415
JAMIE L PRINCE                     4328 RED ROOSTER LN                                                                       MYRTLE BEACH       SC     29579‐3478
JAMIE L QUERRY                     2323 LAKEWOOD DRIVE                                                                       HERBER SPRINGS     AR     72543
JAMIE L ROBINSON                   6215 LAKE DR                                                                              YPSILANTI          MI     48197‐7053
JAMIE L ROSENBERGER                202 STAHL AVE                                                                             CORTLAND           OH     44410
JAMIE LAMB                         1125 1/2 N MORRISON ST                                                                    KOKOMO             IN     46901‐2763
JAMIE LAWSON                       350 NAUVOO CT NE                                                                          CARBON HILL        AL     35549‐4800
JAMIE LIZZET                       804 N OAK ST                                                                              FENTON             MI     48430‐3704
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Name                                Address1                       Address2                        Address3              Address4                  City            State   Zip
JAMIE M ADAMS                       885 COUNTY ROAD 28                                                                                             CORUNNA          IN     46730
JAMIE M LANCASTER                   506 WILSON ST.                                                                                                 GADSDEN          AL     35904
JAMIE M ROGERS                      3289 DREXEL AVE                                                                                                FLINT            MI     48506‐1934
JAMIE M RYAN                        3467 DUNSTAN DR. NW                                                                                            WARREN           OH     44485
JAMIE M SISCO                       621 PERRY ST                                                                                                   SAGINAW          MI     48602‐1450
JAMIE M WENZEL                      210 BRADDOCK ST                                                                                                BAY CITY         MI     48708
JAMIE MANTOOTH                      5101 S MORGAN RD                                                                                               OKLAHOMA CITY    OK     73179‐1617
JAMIE MARZETT                       1801 E 16TH ST                                                                                                 KANSAS CITY      MO     64127‐2513
JAMIE MCCORMICK                     1935 W MILLER RD                                                                                               LANSING          MI     48911‐4639
JAMIE MEYER                         7393 ALPINE VIEW DR                                                                                            WHITE LAKE       MI     48383‐2447
JAMIE MINNEFIELD‐JENKINS            8984 MARISA DR                                                                                                 FISHERS          IN     46038‐5274
JAMIE MITCHELL HUGHES               710 N 12TH ST                                                                                                  ELWOOD           IN     46036‐1208
JAMIE MORRISON                      27409 TOWNLEY STREET                                                                                           MADISON HTS      MI     48071‐3382
JAMIE N OLIVER                      801 COLLINS PLACE APT.#48                                                                                      ATTALLA          AL     35954‐3344
JAMIE NEWMAN                        1430 E 10TH ST                                                                                                 SALEM            OH     44460‐1816
JAMIE PAPAGEORGIOU                  158 SUNSET LN                                                                                                  TENAFLY          NJ     07670‐1613
JAMIE PENFIELD                      3115 W WESTERN RESERVE RD                                                                                      CANFIELD         OH     44406‐8108
JAMIE PENKINS                       497 MARION OAKS DR                                                                                             OCALA            FL     34473‐3218
JAMIE PICKETT                       48652 PIN OAK DR                                                                                               MACOMB           MI     48044‐1426
JAMIE POULIN                        1393 CROSSWINDS DR                                                                   BELLE RIVER ON N0R1A0
                                                                                                                         CANADA
JAMIE PRAHLER                       3648 LAWRENCE AVE                                                                                              WATERFORD       MI      48329‐2167
JAMIE PULIDO                        21706 NEVADA AVE                                                                                               EAST POINTE     MI      48021
JAMIE PUZJAK                        4372 N GALE RD                                                                                                 DAVISON         MI      48423‐8912
JAMIE R DEBORDE                     300 WOODLAWN DR                                                                                                FAIRBORN        OH      45324
JAMIE R HOWARD                      4697 BYRON RD                                                                                                  FAIRBORN        OH      45324
JAMIE R PECK                        633 N. MAIN ST                                                                                                 GERMANTOWN      OH      45327
JAMIE RECOLLET                      207 WASHINGTON ST                                                                                              DIMONDALE       MI      48821‐9799
JAMIE RICH                          10330 TIMBER LINE DR SE                                                                                        ALTO            MI      49302‐9593
JAMIE RILEY                         PO BOX 23                                                                                                      FREDONIA        KY      42411‐0023
JAMIE ROGERS                        3289 DREXEL AVE                                                                                                FLINT           MI      48506‐1934
JAMIE ROSENCRANTZ                   5792 WOODFIELD PARKWAY                                                                                         GRAND BLANC     MI      48439‐9426
JAMIE ROWELL                        233 STEAMBOAT LANE                                                                                             BALLWIN         MO      63011‐3203
JAMIE SANDERS‐HICKS                 717 CATHAY ST                                                                                                  SAGINAW         MI      48601‐1371
JAMIE SANKS AND CHENITA SANKS       C/O JOHN W ROPER               5353 VETERANS PARKWAY SUITE A                                                   COLUMBUS        GA      31904
JAMIE SCHAFER                       7028 HUBBARD DR                                                                                                HUBER HEIGHTS   OH      45424‐3420
JAMIE SCHMELING                     518 WINDWOOD CIR                                                                                               EDGERTON        WI      53534‐9569
JAMIE SEALS                         4088 LINK DR                                                                                                   BRIGHTON        MI      48114‐8696
JAMIE SHOWS                         153 KEENELAND CT                                                                                               BOWLING GREEN   KY      42104‐7592
JAMIE SKAAR                         2603 AFFIRMED DR                                                                                               JANESVILLE      WI      53546‐4414
JAMIE SMITH                         261 ROCKWELL AVE                                                                                               PONTIAC         MI      48341‐2454
JAMIE STERK                         2702 W STATE ST                                                                                                JANESVILLE      WI      53546‐5400
JAMIE STEVENSON                     818 N HICKORY RIDGE RD                                                                                         HIGHLAND        MI      48357‐4125
JAMIE STEWART                       115 W EVERGREEN AVE                                                                                            YOUNGSTOWN      OH      44507‐1331
JAMIE STILES                        2921 WEBSTER RD                                                                                                LANSING         MI      48906‐9047
JAMIE STRUNK                        83 WALNUT HEIGHTS RD                                                                                           BEDFORD         IN      47421‐9122
JAMIE SUZETTE HAWKEY                1 LORI LN                                                                                                      W CARROLLTON    OH      45449
JAMIE TOWNSEND                      3621 BROWNELL BOULEVARD                                                                                        FLINT           MI      48504
JAMIE TUTTLE, PERSONAL              JAMIE TUTTLE                   C/O BRAYTON PURCELL             222 RUSH LANDING RD                             NOVATO          CA      94948‐6169
REPRESENTATIVE FOR ALFRED J LODAK
JAMIE UPSHAW                        20201 CONLEY ST                                                                                                DETROIT         MI      48234‐2257
JAMIE UTLEY                         6736 OAK ST                                                                                                    TAYLOR          MI      48180‐1741
JAMIE VAUGHN                        1104 BROADVIEW BLVD                                                                                            DAYTON          OH      45419‐3703
JAMIE WEST                          1607 CALGARY WAY                                                                                               BOWLING GREEN   KY      42101‐6504
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Name                            Address1                         Address2                       Address3   Address4                   City            State   Zip
JAMIE WHITE                     5470 N SCHOOL RD                                                                                      SPRUCE           MI     48762‐9732
JAMIE WIDNER                    8545 PINEVIEW LAKE DR                                                                                 LINDEN           MI     48451‐9765
JAMIE WRIGHT                    3726 LYNN ST                                                                                          FLINT            MI     48503‐4542
JAMIE ZELINSKY                  607 W 20TH ST                                                                                         WILMINGTON       DE     19802‐3901
JAMIE'S COMPLETE AUTO SERVICE   59 CARLTON ST                                                              ST CATHARINES ON L2R 1P9
                                                                                                           CANADA
JAMIEL STEPHENS                 23105 PROVIDENCE DR APT 103                                                                           SOUTHFIELD      MI      48075‐3622
JAMIEN LONDON                   5828 N MARSH BANK LN APT 201                                                                          CLARKSTON       MI      48346‐4700
JAMIERSON, MARVIN D             11908 E 63RD TER                                                                                      KANSAS CITY     MO      64133‐7525
JAMIESON CRAIG                  101 HIGH RIDGE ROAD                                                                                   LEROY           MI      49655‐9509
JAMIESON II, DOUGLAS J          8391 20TH AVE                                                                                         SEARS           MI      49679‐8048
JAMIESON JR, WILLIAM            4121 TULANE ST                                                                                        DEARBORN HTS    MI      48125‐2245
JAMIESON, CAROL A               1309 SHOEMAKER                                                                                        WESTLAND        MI      48185‐7700
JAMIESON, CRAIG T               101 HIGH RIDGE RD                                                                                     LEROY           MI      49655‐9509
JAMIESON, DANIEL B              17459 GLEN RD                                                                                         GAMBIER         OH      43022‐9710
JAMIESON, DEREK R               10375 MENDOTA DR                                                                                      SOUTH LYON      MI      48178‐8871
JAMIESON, G B                   248 FREEPORT DR                                                                                       SARASOTA        FL      34233‐3367
JAMIESON, GARY F                29736 MONTMORENCY DR                                                                                  NOVI            MI      48377‐2138
JAMIESON, GINA S                2 GREEN PINE LN                                                                                       WEBSTER         NY      14580‐8963
JAMIESON, MARK A                4719 SMITH‐STEWART RD                                                                                 VIENNA          OH      44473‐4473
JAMIESON, MARK A                4719 SMITH STEWART RD                                                                                 VIENNA          OH      44473‐9621
JAMIESON, PAMELA M              417 MCKINLEY AVE                                                                                      GROSSE POINTE   MI      48236‐3241
                                                                                                                                      FARMS
JAMIESON, PATSY A               1370 ORIOLE CT SW                                                                                     WYOMING          MI     49509‐4339
JAMIESON, PAULINE C             544 N SAGINAW                    RIVERVIEW TOWERS A 307                                               LAPEER           MI     48446‐4005
JAMIESON, QUENTIN T             513 TWIN SILO DR                                                                                      BLUE BELL        PA     19422‐4213
JAMIESON, RONN E                4080 PLUM LN                                                                                          OAKLAND          MI     48306‐4780
                                                                                                                                      TOWNSHIP
JAMIESON, RONN EUGENE           4080 PLUM LN                                                                                          OAKLAND          MI     48306‐4780
                                                                                                                                      TOWNSHIP
JAMIESON, RUSSELL M             526 N LAKE ST LOT 13                                                                                  BOYNE CITY      MI      49712‐1149
JAMIESON, SHARON L              318 PEFFER AVE                                                                                        NILES           OH      44446‐3313
JAMIESON, SHARON LYNN           318 PEFFER AVE                                                                                        NILES           OH      44446‐3313
JAMIESON, TERRY D               252 CHEYENNE DR                                                                                       BEAR            DE      19701‐2179
JAMIESON, THOMAS A              46175 HULL RD                                                                                         BELLEVILLE      MI      48111‐3507
JAMIESON, THOMAS E              8855 PEARSON RD                                                                                       MIDDLEPORT      NY      14105‐9749
JAMIESON, WILLIAM L             59 STORM ST                                                                                           TARRYTOWN       NY      10591‐3310
JAMIESON/TORRINGTON             2500 SOUTH MAIN STREET                                                                                TORRINGTON      CT      06790
JAMIEVARRASO                    JAMIE VARRASO                    1806 N FLAMINGO RD SUITE 100
JAMIKA ASPHY                    2814 RIEGLE AVE                                                                                       FLINT           MI      48506‐3177
JAMIL F NASSAR                  4321 VAN SLYKE RD                                                                                     FLINT           MI      48507
JAMIL FIELDS                    17573 MONICA ST                                                                                       DETROIT         MI      48221‐2659
JAMIL H FORBES                  812 GATES AVE                                                                                         YPSILANTI       MI      48198‐6150
JAMIL MIKHAEL WAKIM             JAMIL M WAKIM                    963 HOLMES STREET                                                    CALIMESA        CA      92320
JAMIL NASSAR                    4321 VAN SLYKE RD                                                                                     FLINT           MI      48507
JAMILA A BRAGGS                 6 PALLISTER ST                                                                                        DETROIT         MI      48202‐2417
JAMILA FOWLER                   7415 WILD HORSE MESA DR                                                                               LAS VEGAS       NV      89131‐3241
JAMILA I COPPAGE                543 W FAIRVIEW AVE                                                                                    DAYTON          OH      45405
JAMILA K HORTON                 215 ELLIS ST.                                                                                         FORT            MO      65473
                                                                                                                                      LEONARDWOOD
JAMILA K HORTON                 300 BROOKLYN AVENUE                                                                                   DAYTON          OH      45417‐2354
JAMILETH AGUINAGA               1674 NE 177TH ST                                                                                      NORTH MIAMI     FL      33162‐1404
                                                                                                                                      BEACH
JAMILLA L SCOTT‐WILLIAMS        1656 PARKWOOD AVE                                                                                     YPSILANTI        MI     48198‐6036
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Name                              Address1                              Address2                         Address3            Address4               City               State   Zip
JAMILLA WREN                      6433 75TH ST                                                                                                      SACRAMENTO          CA     95824
JAMIN M ADAMS                     518 NORTH ST                                                                                                      WAYNESVILLE         OH     45068
JAMINA D POWELL                   110 HARPER AVE APT 4                                                                                              DETROIT             MI     48202‐3570
JAMINEZ LUCIA                     218 GOBLE LANE                                                                                                    SAN JOSE            CA     95111
JAMIOL, COLETTE                   19116 DAVINWOOD DRIVE                                                                                             CLEVELAND           OH     44135‐1010
JAMIOLKOWSKI, EDWARD              1409 ALIMA TERRANCE                                                                                               LA GRANGE PK         IL    60526
JAMIOLKOWSKI, MARYANNE            92 MIRAGE BLVD.                                                                                                   BARNEGAT            NJ     08005‐5535
JAMIOLKOWSKI, MARYANNE            92 MIRAGE BLVD                                                                                                    BARNEGAT            NJ     08005‐5535
JAMISON ARTHUR                    260 ROYAL TOWER DR                                                                                                IRMO                SC     29063‐2322
JAMISON ASHLEY                    JAMISON, ASHLEY                       2285 S LEE AVE 101                                                          FRESNO              CA     93706‐4184
JAMISON CHARLES LESTER (429175)   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                 NORFOLK             VA     23510
                                                                        STREET, SUITE 600
JAMISON CLARK                     28809 STANDLEY RD                                                                                                 DEFIANCE           OH      43512‐8952
JAMISON DOOR CO                   55 JV JAMISON DR                                                                                                  HAGERSTOWN         MD      21740
JAMISON DOOR COMPANY              55 J V JAMISON DRIVE                                                                                              HAGERSTOWN         MD      21740
JAMISON DRAKE                     8612 KIRK LN                                                                                                      N RICHLAND HILLS   TX      76182‐7422
JAMISON JOHNSON                   1115 HILAND ST                                                                                                    SAGINAW            MI      48601‐3429
JAMISON JR, RAYMOND               6522 FAIRLANE DR                                                                                                  BOSTON             NY      14025‐9637
JAMISON K DILLON                  1509 HARVEST AVE.                                                                                                 KETTERING          OH      45429
JAMISON KARL MICHAEL              JAMISON, JOYCE                        2912 W IRONCROSS DR                                                         PEORIA             IL      61615
JAMISON LAW FIRM                  MS. MONA JAMISON                      POWER BLOCK BUILDING, SUITE 4G   7 WEST 6TH AVENUE                          HELENA             MT      59601
JAMISON LEROY                     4730 VILLAGE DRIVE                                                                                                JACKSON            MS      39206‐3211
JAMISON MARGARET G (424887)       GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                                PITTSBURGH         PA      15219

JAMISON MARGARET G (424887) ‐     GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                                PITTSBURGH          PA     15219
JAMISON WILLIAM J
JAMISON MONA F                    DBA JAMISON LAW FIRM                  POWER BLOCK BLDG 7W 6TH AVE                                                 HELENA             MT      59601
JAMISON PECK                      16276 STATE ROUTE 18                                                                                              DEFIANCE           OH      43512‐9767
JAMISON ROBERT E SR               C/O GOLDBERG, PERSKY & WHITE, PC      1030 FIFTH AVENUE                                                           PITTSBURGH         PA      15219
JAMISON RONALD B SR (470141)      ANGELOS PETER G LAW OFFICES OF        100 N CHARLES STREET , ONE                                                  BALTIMORE          MD      21202
                                                                        CHARLES CENTER 22ND FLOOR
JAMISON RUDNITZKI                 601 PARKVIEW DR                                                                                                   MILTON             WI      53563‐1712
JAMISON RYAN                      7203 FAIRBANKS DR NE                                                                                              RIO RANCHO         NM      87144‐5395
JAMISON SCHROEDER                 2124 PEMBROKE RD                                                                                                  BIRMINGHAM         MI      48009‐7504
JAMISON SR, JERRY                 6269 PRESIDENTIAL GTWY                                                                                            COLUMBUS           OH      43231‐1696
JAMISON THEODORE E (463189)       WEITZ & LUXENBERG P.C.                180 MAIDEN LANE                                                             NEW YORK           NY      10038
JAMISON VEENHUIS                  5223 BLOSS DR                                                                                                     SWARTZ CREEK       MI      48473‐8867
JAMISON WIEMUTH                   1725 S OSBORNE AVE                                                                                                JANESVILLE         WI      53546‐5719
JAMISON'S TOWING                  TINA                                  541 FLINT HILL RD                                                           KING OF PRUSSIA    PA      19406‐2727
JAMISON, ALAN J                   822 S ROANOKE                                                                                                     MESA               AZ      85206‐2742
JAMISON, ALFRED R                 8245 MEADOWLARK DR                                                                                                CARLISLE           OH      45005‐4214
JAMISON, ANDREA C.S               17515 MUIRLAND ST                                                                                                 DETROIT            MI      48221‐2710
JAMISON, ANDREA C.S.              17515 MUIRLAND ST                                                                                                 DETROIT            MI      48221‐2710
JAMISON, ANGEL S                  12673 DAYLIGHT TRL                                                                                                JACKSONVILLE       FL      32218‐8032
JAMISON, ASHLEY                   2285 S LEE AVE # 101                                                                                              FRESNO             CA      93706‐4184
JAMISON, BARBARA J                984 MEADOW THRUSH DR                                                                                              CLAYTON            OH      45315‐8718
JAMISON, BERNARD E                624 W FLINT PARK BLVD                                                                                             FLINT              MI      48505‐6323
JAMISON, BERNICE E                100 HAZELCREST PL APT 506                                                                                         HAZEL PARK         MI      48030‐1358
JAMISON, BETTY M                  4398 STONNYBROOK DR.                                                                                              WARREN             OH      44484‐2234
JAMISON, BETTY M                  4398 STONEYBROOK DR SE                                                                                            WARREN             OH      44484‐2234
JAMISON, BILLY L                  2107 JONES MABRY RD                                                                                               SHREVEPORT         LA      71107‐5040
JAMISON, BILLY LEE                2107 JONES MABRY RD                                                                                               SHREVEPORT         LA      71107‐5040
JAMISON, BRIAN K                  282 BUCYRUS DR                                                                                                    AMHERST            NY      14228‐1951
JAMISON, BRUCE E                  10619 BARNES RD                                                                                                   EATON RAPIDS       MI      48827‐9233
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Name                      Address1                          Address2                      Address3   Address4               City            State   Zip
JAMISON, CARL A           124 ROLLING HILL DR                                                                               WILLIAMSON       GA     30292‐3679
JAMISON, CHARLES F        2633 SOUTH ST SE APT A                                                                            WARREN           OH     44483‐6249
JAMISON, CHARLES LESTER   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                            STREET, SUITE 600
JAMISON, DAN R            13808 QUEENSWAY RD                                                                                HOLT            MO      64048‐9100
JAMISON, DANIEL K         88 CHARBONIER BLUFFS DR                                                                           FLORISSANT      MO      63031‐5659
JAMISON, DANIEL KEITH     88 CHARBONIER BLUFFS DR                                                                           FLORISSANT      MO      63031‐5659
JAMISON, DARNELL E        12673 DAYLIGHT TRL                                                                                JACKSONVILLE    FL      32218‐8032
JAMISON, DARRELL M        5830 S 425 W                                                                                      PENDLETON       IN      46064‐9546
JAMISON, DAVID P          1438 ROBINHOOD DR                                                                                 W CARROLLTON    OH      45449‐2330
JAMISON, DIANE            175 ESSER STREET                                                                                  BUFFALO         NY      14207‐1137
JAMISON, DIANE            175 ESSER AVE                                                                                     BUFFALO         NY      14207‐1137
JAMISON, DONALD           PORTER & MALOUF PA                4670 MCWILLIE DR                                                JACKSON         MS      39206‐5621
JAMISON, DONALD E         1610 FUNDERBURG ROAD                                                                              NEW CARLISLE    OH      45344‐9557
JAMISON, DONALD M         2707 BEN MIL DR                                                                                   ATTICA          MI      48412‐9400
JAMISON, DONALD R         364 BRECK DR                                                                                      CARO            MI      48723‐1202
JAMISON, DONNA L          9221 E 107TH PL                                                                                   HENDERSON       CO      80640‐8970
JAMISON, DWIGHT C         13503 NORTHLAND DR                                                                                CEDAR SPRINGS   MI      49319‐9404
JAMISON, ELIJAH           21711 GARDNER ST                                                                                  OAK PARK        MI      48237‐2681
JAMISON, ELWYN D          1186 E MURPHY LAKE RD                                                                             MAYVILLE        MI      48744
JAMISON, ELWYN D          PO BOX 127                                                                                        MAYVILLE        MI      48744‐0127
JAMISON, ERNEST           860 33RD ST APT 2                                                                                 OAKLAND         CA      94608‐4340
JAMISON, ETHEL S          5830 S. 425 W.                    C/O DARRELL JAMISON                                             PENDLETON       IN      46064‐9546
JAMISON, ETHEL S          5830 S 425 W                      C/O DARRELL JAMISON                                             PENDLETON       IN      46064‐9546
JAMISON, EVA              6083 FALKENBURY RD                                                                                NORTH BRANCH    MI      48461‐9722
JAMISON, FAYE E           15812 DANMAR DR                                                                                   WILLIAMSPORT    MD      21795‐2029
JAMISON, FREDERICK K      5835 WOODLAND AVE                                                                                 SAINT LOUIS     MO      63120‐1814
JAMISON, FREDERICK K      620 PARK CT                                                                                       SAINT CHARLES   MO      63303‐2706
JAMISON, GARY C           2918 MARIMONT DRIVE                                                                               DAYTON          OH      45410‐3227
JAMISON, GEORGE H         APT 308                           655 RIVERSIDE DRIVE                                             MEMPHIS         TN      38103‐4629
JAMISON, GLENN E          6011 FALKENBURY RD                                                                                NORTH BRANCH    MI      48461‐9722
JAMISON, HARRY L          15065 TURNER RD                                                                                   LYNN            MI      48097‐1515
JAMISON, ISIAH Q          1420 PERRY RD APT 6‐22                                                                            GRAND BLANC     MI      48439‐1741
JAMISON, ISIAH Q          2847 SPRING HILL DR                                                                               MEMPHIS         TN      38127
JAMISON, JAMES            16094 ROSSINI DR                                                                                  DETROIT         MI      48205‐2061
JAMISON, JAMES E          6017 LILLIAN AVE                                                                                  TAFT            OH      45213‐2313
JAMISON, JAMES L          10780 S WAYNE RD                                                                                  WARREN          IN      46792‐9635
JAMISON, JANICE E         675 EGGERT RD                                                                                     BUFFALO         NY      14215‐1201
JAMISON, JANICE K.        10 MARLENE DR                                                                                     WILLIAMSBURG    OH      45176‐9363
JAMISON, JAY R            1722 MCELHINNY AVE                                                                                PITTSBURGH      PA      15207‐2448
JAMISON, JERRY D          6077 FALKENBURY RD                                                                                NORTH BRANCH    MI      48461‐9722
JAMISON, JEWELL L         4138 IDLE HOUR CIR APT J                                                                          DAYTON          OH      45415
JAMISON, JOHN C           208 BRANTLEY ST                                                                                   KOSCIUSKO       MS      39090‐3908
JAMISON, JOHN T           403 TURNBERRY CT NE                                                                               WARREN          OH      44484‐5541
JAMISON, JONATHAN E       111 ADKINS PLACE DRIVE                                                                            HAMERSVILLE     OH      45130
JAMISON, JOYCE
JAMISON, JOYCE            2912 W IRON CROSS DR                                                                              PEORIA          IL      61615‐8818
JAMISON, KAREN SUE        5578 COPLEY SQUARE RD                                                                             GRAND BLANC     MI      48439‐8746
JAMISON, KARL             2912 W IRON CROSS DR                                                                              PEORIA          IL      61615‐8818
JAMISON, KENNETH W        1302 LABROSSE ST                                                                                  DETROIT         MI      48226‐1014
JAMISON, KIRBY G          361 S LINDA ST                                                                                    PAHRUMP         NV      89048‐4590
JAMISON, LARRY A          412 WINCHESTER AVE                                                                                NORWAY          SC      29113
JAMISON, LARRY R          1334 WEEDEN RD                                                                                    CARO            MI      48723‐8912
JAMISON, LELAND R         29077 AMETHYST CIR                                                                                WARSAW          MO      65355‐4368
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Name                      Address1                              Address2                        Address3   Address4               City               State   Zip
JAMISON, LESLIE DALE      SHANNON LAW FIRM                      100 W GALLATIN ST                                                 HAZLEHURST          MS     39083‐3007
JAMISON, LILLIAN G        101 DELAND DR                                                                                           EATON               OH     45320‐1606
JAMISON, LILLIAN G        101 DELAND AVENUE                                                                                       EATON               OH     45320‐1606
JAMISON, LINNIE G         222 CAMDEN AVE                                                                                          BUCKHANNON          WV     26201‐2304
JAMISON, LISA M           APT 202                               3304 SOUTH CREEK DR SOUTHEAST                                     GRAND RAPIDS        MI     49512‐8382
JAMISON, LONNIE E         770 PREBLE COUNTY LINE RD N                                                                             W ALEXANDRIA        OH     45381‐9601
JAMISON, LOU R            5744 TURKEY RD                                                                                          PENSACOLA           FL     32526‐3354
JAMISON, LULA B           6139 NEFF RD                                                                                            MOUNT MORRIS        MI     48458
JAMISON, MARGARET C       GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                      PITTSBURGH          PA     15219

JAMISON, MARGARET I       1980 VICTOR PLACE                                                                                       COLORADO SPRING     CO     80915‐0915

JAMISON, MARGARET I       1980 VICTOR PL                                                                                          COLORADO SPRINGS    CO     80915‐1501

JAMISON, MARY             4045 MERRIMAC AVE                                                                                       DAYTON             OH      45405‐2317
JAMISON, MARY K           3487 W DEFFENBAUGH RD‐50 S                                                                              KOKOMO             IN      46902
JAMISON, MICHAEL W        317 CREEK POINT LN                                                                                      ARLINGTON          TX      76002‐3329
JAMISON, NANCY E          917 PERKINS JONES RD NE                                                                                 WARREN             OH      44483‐1853
JAMISON, NITA M           392 N LAUREL AVE                                                                                        BERKELEY SPRINGS   WV      25411‐5321
JAMISON, RICHARD S        928 NW 10TH ST                                                                                          MOORE              OK      73160‐1814
JAMISON, RICKEY L         6300 LENNON RD                                                                                          SWARTZ CREEK       MI      48473‐7916
JAMISON, RICKEY LEN       6300 LENNON RD                                                                                          SWARTZ CREEK       MI      48473‐7916
JAMISON, ROBERT           1345 SYCAMORE AVE                                                                                       WILMINGTON         DE      19805‐5042
JAMISON, ROBERT C         1092 JENNA DR                                                                                           DAVISON            MI      48423‐2896
JAMISON, ROBERT E         1787 HUNTLEY RD                                                                                         GOSHEN             OH      45122‐9738
JAMISON, ROBERT E         1787 E HUNTLEY RD                                                                                       GOSHEN             OH      45122‐9738
JAMISON, ROBERT F         39 STATEN DR                                                                                            HOCKESSIN          DE      19707‐1338
JAMISON, ROBERT L         566 GREENLEAF AVE NE                                                                                    WARREN             OH      44484‐1919
JAMISON, ROBERT R         11402 S CARPENTER ST                                                                                    CHICAGO            IL      60643‐4629
JAMISON, ROBERT T         P.O B0X 2565                                                                                            IDAHO FALLS        ID      83403
JAMISON, ROBERTA          5521 TUMBERRY LANE                                                                                      LEXINGTON          NC      27295
JAMISON, RODNEY A         4414 PITT ST                                                                                            ANDERSON           IN      46013‐2446
JAMISON, RONALD B         ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET, ONE                                          BALTIMORE          MD      21202
                                                               CHARLES CENTER 22ND FLOOR
JAMISON, RONALD E         123 E RANKIN ST                                                                                         FLINT              MI      48505‐4931
JAMISON, RONALD EUGENE    123 E RANKIN ST                                                                                         FLINT              MI      48505‐4931
JAMISON, RONALD L         14010 FOLEY RD                                                                                          MUSSEY             MI      48014‐2000
JAMISON, RUBY K           3241 ROCK CREEK DRIVE                                                                                   REX                GA      30273‐2450
JAMISON, SAMUEL D         4741 REXWOOD DR                                                                                         DAYTON             OH      45439‐3133
JAMISON, SAMUEL L         229 BAYSHORE DR                                                                                         CICERO             IN      46034‐9732
JAMISON, SAMUEL LEE       229 BAYSHORE DR                                                                                         CICERO             IN      46034‐9732
JAMISON, SAMUEL P         3690 PIN OAK RD                                                                                         GILMER             TX      75645‐7132
JAMISON, SAMUEL PHILLIP   3690 PIN OAK RD                                                                                         GILMER             TX      75645‐7132
JAMISON, SARELL J         15710 STRATHMOOR ST                                                                                     DETROIT            MI      48227‐2963
JAMISON, SHARON V         21711 GARDNER ST                                                                                        OAK PARK           MI      48237‐2681
JAMISON, SHIRLEY J        6306 LENNON RD                                                                                          SWARTZ CREEK       MI      48473‐7916
JAMISON, STERLING E       2500 GAULT RD                                                                                           NORTH JACKSON      OH      44451‐9710
JAMISON, SUSAN M          6835 BLIND PATH RD APT1                                                                                 LAKEWOOD           NJ      08701
JAMISON, TEDDY L          407 N MAPLE ST                                                                                          PITTSBORO          IN      46167‐9166
JAMISON, TERRY G          3209 ARIZONA AVE                                                                                        FLINT              MI      48506‐2546
JAMISON, THEODORE E       24 HOMESTEAD AVE                                                                                        BRADFORD           PA      16701‐1605
JAMISON, THEODORE E       WEITZ & LUXENBERG P.C.               180 MAIDEN LANE                                                    NEW YORK           NY      10038
JAMISON, TONY D           4255 S. BUCKLEY RD #168                                                                                 AURORA             CO      80013
JAMISON, VERDELL          21 STEVENS AVE                                                                                          BUFFALO            NY      14215‐4039
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Name                         Address1                              Address2                       Address3   Address4                 City               State   Zip
JAMISON, VIRGINIA            13808 QUEENSWAY ROAD                                                                                     HOLT                MO     64048‐9100
JAMISON, WANDA E             9617 HIGHGATE CIRCLE NORTH                                                                               INDIANAPOLIS        IN     46250‐3106
JAMISON, WILLIAM             508 TALLMAN ST                                                                                           SYRACUSE            NY     13204‐4130
JAMISON, WILLIAM J           GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                       PITTSBURGH          PA     15219

JAMKOWSKI, ELEANOR V         3221 MCKINLEY ST                                                                                         HOLLYWOOD          FL      33021‐5028
JAMMER TRUCKING              4007 WOODLAND RD                                                                                         ROSHOLT            WI      54473‐9533
JAMMER WILLIE                1004 PENNSYLVANIA AVE                                                                                    SAINT LOUIS        MO      63130‐2325
JAMMER, FREDERICK            1262 RIVER RD                                                                                            AUBURN             MI      48611‐9728
JAMMER, JOHN H               1888 PINEWOOD DR                                                                                         ALGER              MI      48610‐9365
JAMMER, KEITH F              9191 JUNCTION RD                                                                                         FRANKENMUTH        MI      48734‐9539
JAMMER, KENNETH G            5242 HART RD                                                                                             VASSAR             MI      48768‐9461
JAMMER, SANDRA J             267 N TRUMBULL RD                                                                                        BAY CITY           MI      48708‐9219
JAMMIE
JAMMIE CHERRY                PO BOX                                                                                                   BALTIMORE          MD      21216
JAMMIE COULTER               247 WINESAP CT                                                                                           JANESVILLE         WI      53548‐5810
JAMMIE DEAN                  4412 CHEYENNE AVE                                                                                        FLINT              MI      48507‐2824
JAMMIE E COMBS               101 HIGHRIDGE COURT                                                                                      FRANKLIN           OH      45005
JAMMIE M HILLIAN             10816 COREYS WAY                                                                                         FREDERICKSBRG      VA      22408‐2065
JAMMS HOLDING CO LLC         42850 GARFIELD RD STE 101                                                                                CLINTON TWP        MI      48038‐5026
JAMNA AUTO INDSTRS PVT LTD   SUNIL LAROIYA +91                     U27‐U29 MALANPUR INDUSTRIAL               MILTON KEYNES GREAT
                                                                                                             BRITAIN
JAMNA AUTO INDUSTRIES        21650 W 11 MILE RD STE 104            C\O WAGERSON & ASSOCIATES                                          SOUTHFIELD          MI     48076‐3776
JAMNA AUTO INDUSTRIES LTD    SUNIL LAROIYA +91                     U27‐U29 MALANPUR INDUSTRIAL               MILTON KEYNES GREAT
                                                                                                             BRITAIN
JAMNICK, STEPHEN M           50333 WILLIS RD 406                                                                                      BELLEVILLE         MI      48111
JAMROCK, FRANK R             PO BOX 828                                                                                               DANIELS            WV      25832‐0828
JAMROG, CAROLYN L            4477 LONG MEADOW BLVD WEST                                                                               SAGINAW            MI      48603
JAMROG, CHESTER C            4800 CLUNIE ST                                                                                           SAGINAW            MI      48638‐6401
JAMROG, DANIEL A             1024 TIMBERRIDGE RD                                                                                      HARRAH             OK      73045‐8830
JAMROG, ELAINE P             1322 MANN AVE                                                                                            FLINT              MI      48503‐3244
JAMROG, JOHN                 980 PIONEER TRL                                                                                          SAGINAW            MI      48604‐2223
JAMROG, KATHLEEN M           2938 N SHADY BEACH ROAD                                                                                  BAY CITY           MI      48706‐1938
JAMROG, MARGARET M           1563 DUBLIN LN                                                                                           ESCONDIDO          CA      92027‐1284
JAMROG, PETER S              3011 S 24TH ST                                                                                           SAGINAW            MI      48601‐6703
JAMROG, PETER S              4622 REED BARK LANE                                                                                      JACKSONVILLE       FL      32246‐1874
JAMROG, ROBERT H             5 FOUNTAIN OF YOUTH BLVD APT B                                                                           ST AUGUSTINE       FL      32080‐6409
JAMROG, STANLEY A            2310 26TH ST                                                                                             BAY CITY           MI      48708‐3803
JAMROZ, CINDY                30928 ISLAND DR                                                                                          GIBRALTAR          MI      48173‐9548
JAMROZ, FREDERICK C          30742 BURLINGTON ST                                                                                      WESTLAND           MI      48186‐5338
JAMROZ, LAURIE L             48033 91ST ST W                                                                                          LANCASTER          CA      93536‐9324
JAMROZ, LUCILLE              370 BLACKHAWK LANE                                                                                       LAFAYETTE          CO      80026
JAMROZ, MADELINE J           1281 HORIZON DR                                                                                          LAPEER             MI      48446‐8665
JAMROZ, MARK G               47742 93RD ST W                                                                                          LANCASTER          CA      93536‐9329
JAMROZ, THEOPHIL             38135 SADDLE LN                                                                                          CLINTON TOWNSHIP   MI      48036

JAMROZ, VIRGINIA             26223 MIDWAY ST                                                                                          DEARBORN HTS        MI     48127‐2907
JAMROZ‐SPARROW, DEBRA A      29997 ADORNE DR                                                                                          NOVI                MI     48377‐2101
JAMROZEK, ROBERT P           9557 E FAIRWAY BLVD                                                                                      SUN LAKES           AZ     85248‐6576
JAMROZEK, ROBERT PAUL        2453 HESSING ST                                                                                          RIVER GROVE         IL     60171‐1725
JAMROZIK, KRYSTYNA H         921 MOHAWK DR                                                                                            BURKBURNETT         TX     76354
JAMROZIK, STEFANIA MARIA     507 GARLAND STREET                                                                                       DAVISON             MI     48423‐1328
JAMROZIK, TADEUSZ            356 E CLARK ST APT 1                                                                                     DAVISON             MI     48423
JAMS                         PO BOX 512850                                                                                            LOS ANGELES         CA     90051‐0850
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Name                      Address1                         Address2           Address3        Address4                  City               State   Zip
JAMS ENDISPUTE            PO BOX 8857                                                                                   LOS ANGELES         CA     90084‐0001
JAMS ENTERPRISES LLC      ATTN: MELISSA ABERNATHY          31 OAKLAND AVE                                               PONTIAC             MI     48342‐2019
JAMSEK, ALBINA            24622 SURREY CIR                                                                              WESTLAKE            OH     44145‐4956
JAMSEK‐TEHLIRIAN          251 MERRILL, STE 230                                                                          BIRMINGHAM          MI     48009
JAMSEK‐TEHLIRIAN MD       251 MERRILL                                                                                   BIRMINGHAM          MI     48009
JAMSHID ARIAN ASSL
JAMSHIDI, NADER N         PO BOX 838                                                                                    TUTTLE              OK     73089‐0838
JAMUEL PEREZ
JAMZADEH, FEREYDOON       7407 SHADOW WOOD DR                                                                           INDIANAPOLIS        IN     46254‐9611
JAN A BRUSSOW‐ROSS        8335 MAIN ST                                                                                  BIRCH RUN           MI     48415‐9260
JAN AASE                  4805 CRESTONE WAY                                                                             OAKLAND             MI     48306‐1680
                                                                                                                        TOWNSHIP
JAN ABELA                 255 E BENNINGTON RD                                                                           OWOSSO             MI      48867‐9712
JAN AND MARLA KOCIAN      JAN KOCIAN                       1396 E MANOR WAY                                             FREELAND           WA      98249
JAN ANDERSON              PO BOX 189                                                                                    ROSCOMMON          MI      48653‐0189
JAN ANSTATT IRRA          603 GUNSTON LANE                                                                              WILMINGTON         NC      28405‐5317
JAN AULT                  3423 REDWOOD RD                                                                               ANDERSON           IN      46011‐3840
JAN BACHMAN               6511 N 100 E                                                                                  MARION             IN      46952‐6778
JAN BAIRD                 10133 CUMBERLAND POINTE BLVD                                                                  NOBLESVILLE        IN      46060‐4755
JAN BANAZWSKI             598 MAHAR ST                                                                                  MEDINA             NY      14103‐1612
JAN BENSON                1883 VINSETTA BLVD                                                                            ROYAL OAK          MI      48073‐3969
JAN BERGHOLD              TENNENLOHER STRASSE 38                                              ERLANGEN 91058 GERMANY                               91058

JAN BERGMANS              SIJSJESSTRAAT 4                                                     B‐3620 LANAKEN BELGIUM
JAN BIERNACZONEK          16890 EDLOYTOM WAY APT 135                                                                    CLINTON TOWNSHIP    MI     48038‐5452

JAN BODE                  PO BOX 1258                                                                                   OAKHURST           CA      93644‐1258
JAN BOURCIER              11256 WILSON RD                                                                               OTISVILLE          MI      48463‐9733
JAN BRODA                 31395 LYONS CIR W                                                                             WARREN             MI      48092‐1726
JAN BROWN                 10457 E SEVEN GENERATIONS WAY                                                                 TUCSON             AZ      85747‐5807
JAN BROWNING              24045 LAING RD                                                                                BEDFORD HTS        OH      44146‐4027
JAN BRUNETTE‐HUNYADY      6326 TORREY RD                                                                                FLINT              MI      48507‐3825
JAN BRUSSOW‐ROSS          8335 MAIN ST                                                                                  BIRCH RUN          MI      48415‐9260
JAN BUDEK                 FULTON GDNS,CNTY CTR RD, C10                                                                  WHITE PLAINS       NY      10607
JAN BUZAN                 1205 JASON LEE DR                                                                             OWOSSO             MI      48867‐9028
JAN C ELLIOTT             2868 BEAVER TRL                                                                               CORTLAND           OH      44410‐1834
JAN CALKA                 40260 SPITZ DR                                                                                STERLING HTS       MI      48313‐4059
JAN CALLENDER             298 DICKINSON DR                                                                              BOWLING GREEN      VA      22427‐9443
JAN CHAMBERS              1318 S ANDERSON ST                                                                            ELWOOD             IN      46036‐2825
JAN CHAPPELL
JAN CHRISTIAN SCHLUETER   MARSCHBLICK 5                                                       25866 MILDSTEDT GERMANY

JAN COLLINS               2019 LAKEVIEW RD                                                                              SPRING HILL        TN      37174‐2300
JAN COOK                  8209 S EDWARDS AVE                                                                            DALEVILLE          IN      47334‐9653
JAN CYPHERS               824 GROVE AVE                                                                                 GREENVILLE         OH      45331‐2431
JAN CZEKAJ                239 SLADE CT                                                                                  ROCHESTER HLS      MI      48307‐3864
JAN D KEELING             C/O GOLDBERG PERSKY & WHITE PC   1030 FIFTH AVE                                               PITTSBURGH         PA      15219
JAN DE BAUW               LINDENDRIES 102                  1730 ASSE          BELGUIM
JAN DE BECKER             55 AVENUE BOURGYS                                                   B 1410 WATERLOO BELGIUM

JAN DEAN                  998 HONDO AVE                                                                                 FORT WALTON         FL     32547
                                                                                                                        BEACH
JAN DEFORD                829 LINDBERG RD                                                                               ANDERSON            IN     46012‐2627
JAN DELACRUZ              4492 HARRIS RD                                                                                WILLIAMSTON         MI     48895‐9150
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Name                               Address1                         Address2             Address3        Address4                   City               State Zip
JAN DOBBINS                        109 GAYWOOD DR                                                                                   CHESTERFIELD        IN 46017‐1321
JAN DOELITZSCHER                   AN DER ALTEN SCHULE 2                                                 D‐07768 HUMMELSHAIN
                                                                                                         GERMANY
JAN DUDAS                          2378 S SMITH RD                                                                                  EATON RAPIDS       MI   48827‐9359
JAN DUNN                           5333 JACKSON ST                                                                                  INDIANAPOLIS       IN   46241‐1219
JAN E HONDUSKY                     4 GARFIELD AVE                                                                                   MASSENA            NY   13662‐1239
JAN E OLMSTEAD                     1029 OTTAWAS LN                                                                                  EAST TAWAS         MI   48730‐9448
JAN E PHINISEE                     4235 WISNER ST                                                                                   FLINT              MI   48504‐2160
JAN E. FOELLER                     KUNIGUNDENSTR. 25                                                     53179 BONN GERMANY
JAN EHEMANN                        2428 LAKESHORE DR                                                                                SPRING HILL        TN   37174‐2327
JAN ELLIOTT                        2868 BEAVER TRL                                                                                  CORTLAND           OH   44410‐1834
JAN EYLES                          1355 LAKE SHORE DR                                                                               BROOKLYN           MI   49230‐8589
JAN FICK                           6218 E DIABLO SUNRISE RD                                                                         TUCSON             AZ   85756‐8514
JAN FRANCK                         304 N FAIRVIEW AVE                                                                               LANSING            MI   48912‐3110
JAN FROSCHHEUSER                   235 W ASPEN DR UNIT 10                                                                           OAK CREEK          WI   53154‐4483
JAN FULTON                         215 N CANAL RD LOT 115                                                                           LANSING            MI   48917‐8670
JAN G AUSTIN                       1006 COLMENA DRIVE                                                                               CHICO              CA   95926‐7750
JAN GATOWSKI                       18240 DEVONSHIRE ST                                                                              BEVERLY HILLS      MI   48025‐4018
JAN GAWEL                          38462 LAGAE ST                                                                                   NEW BALTIMORE      MI   48047‐1614
JAN GILMORE                        3470 KLAM RD                                                                                     COLUMBIAVILLE      MI   48421‐9370
JAN GLOWACZ                        801 PRIMROSE DR                                                                                  SEVEN HILLS        OH   44131‐3045
JAN GOODWIN                        928 LINCOLN DR                                                                                   TIPTON             IN   46072‐9714
JAN GRABOWSKI                      3872 RAINIER DR                                                                                  HOWELL             MI   48843‐9212
JAN GRIFFIN                        10926 WOODS RD                                                                                   MERIDIAN           MS   39305‐9755
JAN GROUNDS                        4233 N CARLAND RD                                                                                ELSIE              MI   48831‐9466
JAN HALL                           3266 SHERWOOD ST                                                                                 SAGINAW            MI   48603‐2060
JAN HAMILTON                       CHAPTER 13 TRUSTEE               507‐9 SW JACKSON     PO BOX 3527                                TOPEKA             KS   66603
JAN HANEY                          81 FREY RD                                                                                       VERMONTVILLE       MI   49096‐8580
JAN HANSON
JAN HARD                           316 MAPLE LN                                                                                     SEBRING            FL   33876‐6315
JAN HARMON                         PO BOX 190243                                                                                    BURTON             MI   48519‐0243
JAN HARRISON                       20 STIRLING DR                                                                                   NEWARK             DE   19702‐2049
JAN HENDRIKSEN                     39627 CATHER ST                                                                                  CANTON             MI   48187‐4203
JAN HERBST                         780 CANTERBURY RD                                                                                GROSSE POINTE      MI   48236‐1280
                                                                                                                                    WOODS
JAN HIEDEMANN                      WESTERNMAUER 62                                                       33098 PADERBORN, GERMANY

JAN HILGERT                        2110 LANIER DR                                                                                   SILVER SPRING      MD   20910‐2142
JAN HOLCOMB                        PO BOX 906                                                                                       CANTON             TX   75103‐0906
JAN HOLLON
JAN HONDUSKY                       4 GARFIELD AVE                                                                                   MASSENA            NY   13662‐1239
JAN HOPKINS                        2077 PEPPER RIDGE DR                                                                             SHREVEPORT         LA   71115‐9412
JAN HUBBELL                        1080 GLASER DR                                                                                   TROY               MI   48085‐4941
JAN HULL                           10274 S 300 E                                                                                    MARKLEVILLE        IN   46056‐9762
JAN J CRAWFORD                     815 FLORIDA AVE                                                                                  MC DONALD          OH   44437
JAN J PATTERSON                    409 W 8TH ST                                                                                     MUNCIE             IN   47302‐3110
JAN JAAP WEVE                      421 9TH ST                                                                                       ROYAL OAK          MI   48067‐3113
JAN JANIUK                         1425 S CENTER RD                                                                                 SAGINAW            MI   48638‐6337
JAN JAWORSKI                       4279 ECHO RD                                                                                     BLOOMFIELD HILLS   MI   48302‐1944
JAN JENKINS                        8520 GULF BLVD APT 7                                                                             NAVARRE            FL   32566‐7249
JAN JEZIORO                        495 STARIN AVE                                                                                   BUFFALO            NY   14216‐2025
JAN JUHAS AND AGATA JUHAS JTWROS   JAN JUHAS                        2 PENNINGTON COURT   CHELTEHHAM      GLOVCESTERSHIRE GL510FD
                                                                                                         ENGLAND
JAN K ADAMSKI                      1100 3RD ST                                                                                      BAY CITY           MI   48708‐6014
                                  09-50026-mg            Doc 7123-20 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
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Name                              Address1                        Address2                         Address3   Address4                     City               State   Zip
JAN K RANDOLPH                    9695 BAYVIEW DR APT 117                                                                                  YPSILANTI           MI     48197‐7025
JAN K REID                        2296 WICK ST SE                                                                                          WARREN              OH     44484
JAN KAPLA                         7363 CROSS CREEK DR                                                                                      SWARTZ CREEK        MI     48473‐1712
JAN KEMP                          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS.         OH     44236
JAN KENDALL                       1554 W 500 N                                                                                             ANDERSON            IN     46011‐9223
JAN KIS                           1605 ANNIE LN                                                                                            COLUMBIA            TN     38401‐5423
JAN KLOWAT                        PERTHESWEG 12                   20535 HAMBURG                    GERMANY
JAN KNEFELKAMP                    PO BOX 386                                                                                               HOHENWALD           TN     38462‐0386
JAN KOLECKI                       2018 GRASMERE LN                                                                                         WIXOM               MI     48393‐1174
JAN KOLINKO                       2020 JARABEC RD                                                                                          SAGINAW             MI     48609‐9505
JAN KOWALSKI                      THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                              HOUSTON             TX     77017
JAN KRZYSZTALOWICZ                11757 SORRENTO BLVD                                                                                      STERLING HEIGHTS    MI     48312‐1357
JAN L & PAULA J VAN WAARDENBERG   C/O JAN VAN WAARDENBERG         130 SANDPIPER LN                                                         APTOS               CA     95003
TRUST
JAN L BRADFIELD                   617 N DEERFIELD AVE                                                                                      LANSING            MI      48917‐2989
JAN LAFOND                        3284 BOOKER FARM RD                                                                                      MT PLEASANT        TN      38474‐3017
JAN LAMBERT                       5340 N CARYLWOOD DR                                                                                      COLUMBIA CITY      IN      46725‐9359
JAN LAWALIN                       9057 ROCKVILLE RD                                                                                        INDIANAPOLIS       IN      46234‐2555
JAN LAWRENCE                      1469 LAKESIDE DR                                                                                         HARBOR BEACH       MI      48441‐8962
JAN LEE                           2068 TRIPLETON PIKE                                                                                      BEDFORD            IN      47421‐8613
JAN LESZKIEWICZ                   646 KIRKWOOD DR                                                                                          VANDALIA           OH      45377‐1314
JAN LESZKIEWICZ                   646 KIRKWOOD DR                                                                                          VANDALIA           OH      45377‐1314
JAN LILES                         2055 S FLORAL AVE LOT 140                                                                                BARTOW             FL      33830‐7160
JAN LIPSCOMB                      2535 146TH AVE SW                                                                                        BYRON CENTER       MI      49315‐9603
JAN LONSKI                        89 METACOMET RD                                                                                          PLAINVILLE         CT      06062‐1424
JAN LORI‐SKLAR JACOBS             31180 NORTH PARK DR                                                                                      FARMINGTON HILLS   MI      48331

JAN LU                            6436 SHORELINE DR                                                                                        TROY               MI      48085‐1048
JAN M DELACRUZ                    4492 HARRIS RD                                                                                           WILLIAMSTON        MI      48895‐9150
JAN M HALSTEAD                    1415 Q ST                                                                                                BEDFORD            IN      47421‐3640
JAN M HARMON                      PO BOX 190243                                                                                            BURTON             MI      48519‐0243
JAN M LIPSCOMB                    2535 146TH AVE SW                                                                                        BYRON CENTER       MI      49315‐9603
JAN M NIX                         333 CHESTER TODD RD.                                                                                     BOAZ               AL      35956
JAN M ROMAN                       8430 CRESTWAY DRIVE                                                                                      CLAYTON            OH      45315‐9762
JAN MAGNUSSEN                     HYRDEHOEJ BYGADE 262                                                        ROSKILDE DK‐0400 DENMARK

JAN MAGNUSSEN RACING LIMITED      PO BOX 48 SIR WALTER RALEIGH    48‐50 ESPLANADE ST HELIER JERS              JE48NX GREAT BRITAIN GREAT
                                                                                                              BRITAIN
JAN MCCOY                         17125 WILLIS DR                                                                                          NOBLESVILLE         IN     46062‐8553
JAN MESCHEDE                      EGENHOFENSTR 39C                                                            82152 PLANEGG GERMANY
JAN MIKRUT                        VIALE LEONARDO DA VINCI N. 83
JAN MILLER                        2155 DARLINGTON DR                                                                                       THE VILLAGES       FL      32162‐7724
JAN MILLER                        3275 SNODGRASS RD                                                                                        MANSFIELD          OH      44903‐8933
JAN MINER                         820 N MONROE ST                                                                                          BAY CITY           MI      48708‐5931
JAN MOENCH                        1830 HIGHWAY Y                                                                                           O FALLON           MO      63366‐5110
JAN MONK                          174 N EDWARD ST                                                                                          OREGON             OH      43616‐1927
JAN MOORE                         421 UPTON ST                                                                                             HOLGATE            OH      43527‐9543
JAN MURRAY
JAN NAPIER                        49770 SANDRA DR                                                                                          SHELBY TWP          MI     48315‐3539
JAN NEAL                          2606 DARGAN CIR                                                                                          CONWAY              SC     29526‐3918
JAN NICHOLS                       1422 CARMAN ST                                                                                           BURTON              MI     48529‐1208
JAN NICOLE REYNOLDS               2960 EAGLE ST                                                                                            CARSON CITY         NV     89704
JAN NOWAK                         27430 LIBERTY DR                                                                                         WARREN              MI     48092‐3571
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Name                          Address1                        Address2            Address3         Address4                 City                 State Zip
JAN NYGREN                    NACKAGATAN 20                                                        STOCKHOLM SE‐116 47
                                                                                                   SWEDEN
JAN OLMSTEAD                  1029 OTTAWAS LN                                                                               EAST TAWAS           MI    48730‐9448
JAN PARK                      2117 PINWOOD CIR                                                                              ARLINGTON            TX    76001‐5652
JAN PARKER                    8148 OAK ST                                                                                   IDA                  MI    48140‐9766
JAN PARNELL                   5602 EDWARDS DR                                                                               ARLINGTON            TX    76017‐4306
JAN PASER                     889 DOLLAR BAY DR                                                                             LAKE ORION           MI    48362‐2509
JAN PATTERSON                 415 W 8TH ST                                                                                  MUNCIE               IN    47302‐3110
JAN PEER                      7340 S ELMS RD                                                                                SWARTZ CREEK         MI    48473‐9402
JAN PETRO                     11005 SUNNYBAY LN                                                                             INDIANAPOLIS         IN    46236‐8753
JAN PHINISEE                  4235 WISNER ST                                                                                FLINT                MI    48504‐2160
JAN POWROZNIK                 31518 MERRIWOOD PARK DR                                                                       LIVONIA              MI    48152‐4232
JAN PRINTZ                    3879 CHERRY ST                                                                                CLARKSTON            MI    48348‐1417
JAN PRIOR                     4490 MARYKRIS LN                                                                              TRAVERSE CITY        MI    49684‐7054
JAN PRZYWOJSKI                817 SPRINTERS ROW DR                                                                          FLORISSANT           MO    63034‐3371
JAN R SHOECRAFT               1523 COSTELLO DR                                                                              ANDERSON             IN    46011‐3106
JAN R SNYDER                  2292 GORDON LANDIS RD.                                                                        ARCANUM              OH    45304‐8805
JAN REID                      2296 WICK ST SE                                                                               WARREN               OH    44484‐5439
JAN S HARRISON                20 STIRLING DR                                                                                NEWARK               DE    19702‐2049
JAN SAVRDA                    LAMACOVA 840/18                 152 00 PRAGUE 5
JAN SAVRDA                    LAMACOVA 840/18                                                      15200 PRAGUE 5 CZECH
                                                                                                   REPUBLIC
JAN SCHMERHEIM                22601 RIDGEWAY ST                                                                             SAINT CLAIR SHORES    MI   48080‐1477

JAN SCHMITZ                   GEIBELSTR. 6                    10961 BERLIN        GERMANY
JAN SELEWONIUK                581 SW SAINT JOHNS BAY                                                                        PORT SAINT LUCIE     FL    34986‐3410
JAN SHOECRAFT                 1523 COSTELLO DR                                                                              ANDERSON             IN    46011‐3106
JAN SILVA                     3949 N ROSEBUD CT SE APT 9                                                                    GRAND RAPIDS         MI    49512‐9560
JAN SITEK                     2007 W MADERO AVE                                                                             MESA                 AZ    85202‐6407
JAN SMITH                     1165 CARMAN ST                                                                                BURTON               MI    48529‐1117
JAN SMITH                     902 RIVER ACRES DR                                                                            TECUMSEH             MI    49286‐1141
JAN SOVIA                     5377 SEIDEL RD                                                                                SAGINAW              MI    48638‐7185
JAN SPECKING                  4464 E LINDA LN                                                                               ROBERTSVILLE         MO    63072‐2825
JAN STEFFE                    37 COTESWORTH PL                                                                              HILTON HEAD          SC    29926‐2272
                                                                                                                            ISLAND
JAN STREIT                    WEUE BAHNHOFSTR 24                                                   10245 BERLIN GERMANY
JAN SZARAFINSKI               14371 HARRIS RD                                                                               MILLINGTON           MI    48746‐9219
JAN T TARZIERS                3990 CHERRY GROVE RD.                                                                         JAMESTOWN            OH    45335
JAN TEFFT                     5563 N IONIA RD                                                                               VERMONTVILLE         MI    49096‐8764
JAN THEISEN                   9852 ROSE ST                                                                                  TAYLOR               MI    48180‐3031
JAN THOMAS                    951 WHEATFIELD DR                                                                             LAKE ORION           MI    48362‐3496
JAN TRIPP                     3260 BLUETT RD                                                                                ANN ARBOR            MI    48105‐1528
JAN TRUCKING & RIGGING CO     PO BOX 448                                                                                    DOVER                NJ    07802‐0448
JAN TURNER                    3400 W HOWE RD                                                                                DEWITT               MI    48820‐9792
JAN URBANIAK                  14423 EDSHIRE DR                                                                              STERLING HTS         MI    48312‐4349
JAN V WILLIAMS                305 VERDON PL                                                                                 TROTWOOD             OH    45426
JAN VANDERVELDE               DEXIA BANK                      MARKT 60‐62                          B‐1780 WEMMEL BELGIUM
JAN VANDERVELDE               MARKT 60‐62                     B‐1780 WEMMEL
JAN VANDONGEN                 4343 W BARNES LAKE RD                                                                         COLUMBIAVILLE        MI    48421‐9339
JAN VANTASSELL                PO BOX 653                                                                                    OWOSSO               MI    48867‐0653
JAN VANZELFDEN                181 SUMMER SANDS CT                                                                           HOLLAND              MI    49424‐2389
JAN VOLK                      3201 BENEVA RD UNIT 103                                                                       SARASOTA             FL    34232‐4513
JAN W LEUEBERGER LAW OFFICE   510 SW 10TH AVE                                                                               TOPEKA               KS    66612‐1606
JAN W SALLAZ                  3494 IVY HILL CIR UNIT C                                                                      CORTLAND             OH    44410
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Name                 Address1                           Address2                   Address3   Address4                   City               State   Zip
JAN WAGNER           2323 BINGHAM RD                                                                                     CLIO                MI     48420‐1954
JAN WALKER           5390 TIMBERWOOD POINT DRIVE                                                                         FLINT               MI     48532‐2266
JAN WALKUSKI         7815 N CHARLESWORTH ST                                                                              DEARBORN HTS        MI     48127‐1611
JAN WESLEY           PO BOX 506                                                                                          ELSIE               MI     48831‐0506
JAN WEST             1122 S SENATOR RD                                                                                   CRYSTAL             MI     48818‐9744
JAN WHEELER          4533 E TITTABAWASSEE RD                                                                             FREELAND            MI     48623‐9102
JAN WHEELER          13416 S COUNTY ROAD 1000 E                                                                          GALVESTON           IN     46932‐9022
JAN WHITE            870 E BOMBAY RD                                                                                     HOPE                MI     48628‐9760
JAN WILLIAMS         RR 2 BOX 1628                                                                                       WHEATLAND           MO     65779‐9706
JAN WILLIAMS         305 VERDON PL                                                                                       TROTWOOD            OH     45426‐2754
JAN WINES
JAN WISNIEWSKI       14 VILLAGE LN                                                                                       SLOAN              NY      14212‐2124
JAN WITMER           1286 E LAKE RD                                                                                      CLIO               MI      48420‐8814
JAN WOOD             7026 S ELMS RD                                                                                      SWARTZ CREEK       MI      48473‐9423
JAN WRIGHT           2900 DADE AVE                                                                                       YOUNGSTOWN         OH      44505‐2124
JAN WUICIK           PO BOX 3956                                                                                         MANSFIELD          OH      44907‐3956
JAN ZEVENBERGEN      52 SPRAY DR                                                                                         MUNROE FALLS       OH      44262‐1323
JAN ZIEBA            7301 SHABBONA RD                                                                                    DEFORD             MI      48729‐9711
JAN ZIMPEL           OTTO‐DIX‐RING 42                                                         01219 DRESDEN GERMANY
JAN‐NIKLAS KESSLER   SCHUMANNSTR. 1                                                           76669 BAD SCHOENBORN
                                                                                              GERMANY
JANA A SNYDER        108 1/2 N L ST APT A                                                                                TILTON             IL      61833‐7456
JANA ALLEN           3018 SEERLEY CREEK CIR                                                                              INDIANAPOLIS       IN      46241‐6104
JANA BAILEY          4150 ARCH DR APT 211                                                                                STUDIO CITY        CA      91604‐3205
JANA BURGESS         2625 SW 93RD ST                                                                                     OKLAHOMA CITY      OK      73159‐6714
JANA BURTON          3452 COLONY LAKE CT                                                                                 CANAL WINCHESTER   OH      43110‐8719

JANA CASTLE          15307 W DESERT MIRAGE DR                                                                            SURPRISE           AZ      85379‐5352
JANA CREW            1029 N CHISHOLM RD                                                                                  OKLAHOMA CITY      OK      73127‐5418
JANA DOWLER          1120 LAKEVIEW DR                                                                                    GREENVILLE         OH      45331‐3017
JANA DUMEY           HC 1 BOX 9                                                                                          PATTON             MO      63662‐9600
JANA DURRETT         2521 BEGOLE ST                                                                                      FLINT              MI      48504‐7357
JANA FAKHOURY        2000 N LAFAYETTE ST                                                                                 DEARBORN           MI      48128‐1148
JANA FREYBERGER      HAUPTSTRASSE 17                                                          D 95709 TROESTAU GERMANY

JANA FREYBERGER      HAUPTSTRASSE 17                    D 95709 TR╓STAU GERMANY
JANA FREYBERGER      HAUPTSTRASSE 17                    D 95709 TROESTAU GERMANY
JANA G WATSON        1013 TERRACEWOOD DRIVE                                                                              ENGLEWOOD          OH      45322‐2457
JANA HANDELMANN      SCHLAWER STR. 2                    38518 GIFHORN
JANA HANDELMANN      SCHLAWER STR. 2                                                          38518 GIFHORN GERMANY
JANA J BLUE          4836 LAUDERDALE DR                                                                                  MORAINE            OH      45439‐2802
JANA L DIEHL         575 CHAPEL CREEK RD                                                                                 CHILLICOTHE        OH      45601‐9440
JANA M CASTLE        10781 LA BATISTA AVE                                                                                FOUNTAIN VALLEY    CA      92708‐3940
JANA M LONG          3820 N BENNINGTON AVE                                                                               KANSAS CITY        MO      64117‐7800
JANA M WATERCUTTER   8884 MANN RD                                                                                        TIPP CITY          OH      45371
JANA MITCHELL        1210 W OWEN K GARRIOTT RD APT A2                                                                    ENID               OK      73703‐5863
JANA OSTRANDER       1578 IRONWOOD DRIVE                                                                                 ADRIAN             MI      49221‐9118
JANA THOMAS          777 N AIR DEPOT BLVD APT 3110                                                                       MIDWEST CITY       OK      73110‐3777
JANA THOMPSON        117 NIKITA DR                                                                                       PORTLAND           TN      37148‐9723
JANA V THOMAS        777 N AIR DEPOT BLVD APT 3110                                                                       OKLAHOMA CITY      OK      73110‐3777
JANA WATERS          9350 HILLS COVE DR                                                                                  GOODRICH           MI      48438‐9407
JANA Y DURRETT       2521 BEGOLE ST                                                                                      FLINT              MI      48504‐7357
JANA, DONALD T       8455 BARRINGTON DR                                                                                  YPSILANTI          MI      48198‐9400
JANA, JUNE M         515 BERRY AVE                                                                                       BELLEVUE           KY      41073‐1308
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Name                     Address1                         Address2                 Address3   Address4               City              State   Zip
JANACEK, SHIRLEY L       2223 5TH AVE                                                                                NORTH RIVERSIDE     IL    60546‐1216
JANACRA HORD             509 HILLSDALE CT                                                                            KOKOMO             IN     46901‐3650
JANAI P RAMSEY           514 NEWMAN RD. APT.#16                                                                      GADSDEN            AL     35903
JANAIRE L CROOM          715 HARLEM STREET                                                                           YOUNGSTOWN         OH     44510‐1638
JANAIS GILLARD           11428 RUTHERFORD ST                                                                         DETROIT            MI     48227‐1653
JANAISHA ROBESON         426 BURTON CT                                                                               YPSILANTI          MI     48197‐5344
JANAKIEVSKI, ZIVKO       233 HARPINGTON DR                                                                           ROCHESTER          NY     14624‐2638
JANAKIRAMA SASTRY        724 WEYBRIDGE DR                                                                            BLOOMFIELD         MI     48304‐1084
JANAKIRAMAN, NANDINI     24540 CAVENDISH AVE E                                                                       NOVI               MI     48375‐2361
JANAKKUMAR PATEL         APT M9                           180 BPW CLUB ROAD                                          CARRBORO           NC     27510‐2560
JANALEE GRAHAM           412 LINDENWOOD DR                                                                           LINDEN             MI     48451‐8943
JANAS I I I, WILLIAM L   47 CREEKSIDE DR. CONTRY CR                                                                  NEWARK             DE     19702
JANAS III, WILLIAM L     47 CREEKSIDE DR. CONTRY CR                                                                  NEWARK             DE     19702
JANAS, BRIAN F           5375 COUNTYLINE RD                                                                          MIDDLEPORT         NY     14105‐9644
JANAS, ELSIE W           7207 ELLICOTT RD                                                                            LOCKPORT           NY     14094‐9484
JANAS, JAMES W           47322 BEN FRANKLIN DR                                                                       SHELBY TOWNSHIP    MI     48315‐4611
JANAS, LEONARD N         5130 FOXHUNT DR                                                                             WESLEY CHAPEL      FL     33543‐4240
JANAS, MARTIN J          8541 SHARI DR                                                                               WESTLAND           MI     48185‐1617
JANASIK, JEANETTE A      23818 FRIAR ST                                                                              WOODLAND HILLS     CA     91367‐1234
JANASIK, PAUL R          3100 CANTERBURY DR                                                                          BAY CITY           MI     48706‐9252
JANASIK, RONALD S        2796 AGNES DR                                                                               BAY CITY           MI     48708‐8476
JANASIK, VIRGINIA        1120 25TH ST                                                                                BAY CITY           MI     48708‐7909
JANASZEK, GARY J         1422 W VAN NORMAN AVE                                                                       MILWAUKEE          WI     53221‐2349
JANATOWSKI GREG          JANATOWSKI, GREG                 1801 E 9TH ST STE 1710                                     CLEVELAND          OH     44114‐3198
JANATOWSKI, GREG         KROHN & MOSS ‐ OH                1801 E 9TH ST STE 1710                                     CLEVELAND          OH     44114‐3198
JANAVIS GREEN            600 LAKE BREEZE RD APT I                                                                    SHEFFIELD LAKE     OH     44054‐1138
JANAY BANKS              3513 EAGLES RIDGE DR                                                                        BELOIT             WI     53511‐9108
JANAY GARNER             1036 METTEN AVENUE                                                                          PITTSBURG          CA     94565
JANAY M JACKSON          119 VIRGINIA PARK ST                                                                        DETROIT            MI     48202‐2000
JANAZZO, FANNY M         67 CARTER LN                                                                                PLANTSVILLE        CT     06479‐1501
JANCA, CHARLES J         8616 40TH ST                                                                                LYONS               IL    60534‐1004
JANCA, EDWARD J          1824 HAMPTON PL                                                                             BILLINGS           MT     59102‐8126
JANCA, JOHN J            6940 LEFFINGWELL RD                                                                         CANFIELD           OH     44406‐9189
JANCA, JOYCE             4840 S MT TOM RD                                                                            ROSE CITY          MI     48654‐9611
JANCA, JOYCE             4840 S MOUNT TOM RD                                                                         ROSE CITY          MI     48654‐9611
JANCA, RICHARD A         30 ALEXANDER WAY                                                                            ORCHARD PARK       NY     14127‐4442
JANCA, RICHARD J         11 PEPPERMILL LN                                                                            ORCHARD PARK       NY     14127‐4509
JANCA, SHERYL A          3155 E WILKINSON RD                                                                         OWOSSO             MI     48867‐9623
JANCAR, STEVE            10245 S BRAY RD                                                                             CLIO               MI     48420‐7712
JANCARIK, GEORGE A       8503 SHIPMAN RD                                                                             CORUNNA            MI     48817‐9733
JANCARIK, IRENE H        6501 N DURAND RD                                                                            NEW LOTHROP        MI     48460‐9744
JANCARIK, IRENE H        6501 DURAND RD                                                                              NEW LOTHROP        MI     48460‐9744
JANCARIK, JANIS L        PO BOX 522                                                                                  LAKE CITY          MI     49651‐0522
JANCASZ, NEDA F          407 E MICHIGAN AVE                                                                          WHITE PIGEON       MI     49099‐9716
JANCASZ, RICHARD J       407 E MICHIGAN AVE                                                                          WHITE PIGEON       MI     49099‐9716
JANCAUSKAS, JANE W       5574 OAKSHIRE PL                                                                            DAYTON             OH     45440‐2328
JANCE, CAROL L           13300 VILLAGE PARK DR APT 1092                                                              SOUTHGATE          MI     48195‐2739
JANCEK, JOHN F           2911 RIVERSIDE DR                                                                           ORION              MI     48359‐1593
JANCESKI, DAVOR          16346 GRANDVIEW DR                                                                          MACOMB             MI     48044‐4068
JANCETIC, JOSEPH J       2105 PLATEAU PT                                                                             FORT WAYNE         IN     46808‐3580
JANCETIC, THOMAS A       5699 DUNNIGAN RD                                                                            LOCKPORT           NY     14094‐9537
JANCEWICZ, JOSEPH        885 E MILTON AVE                                                                            RAHWAY             NJ     07065‐5810
JANCEWICZ, THOMAS        110 BUCHANAN STREET                                                                         LINDEN             NJ     07036‐3506
JANCEWSKI, HENRY F       7933 LANSDALE RD                                                                            BALTIMORE          MD     21224‐2122
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Name                       Address1                         Address2                        Address3   Address4                 City              State   Zip
JANCI RONALD               6905 CONESTOGA PL                                                                                    UNIVERSITY PARK    FL     34201‐2108
JANCI, RICHARD T           4320 NEW CASTLE RD                                                                                   LOWELLVILLE        OH     44436‐8721
JANCI, STEPHEN             20 BROWNTOWN RD                                                                                      AVELLA             PA     15312‐2708
JANCICH MARY C (439175)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA     23510
                                                            STREET, SUITE 600
JANCICH, MARY C            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA     23510‐2212
                                                            STREET, SUITE 600
JANCICH, TED T             7878 SE RICHEY LN                                                                                    HOLT              MO      64048‐8395
JANCIGAR, HELEN            216 MARILYN LN                                                                                       EASTLAKE          OH      44095‐1558
JANCIK, OTTO P             7040 DAVISON RD                                                                                      DAVISON           MI      48423‐2006
JANCO, NICOLE              175 HULL RUN RD                                                                                      WAYNESBURG        PA      15370‐2695
JANCOVEK, JEAN O           16650 LAKE CIR # B                                                                                   BROOKFIELD        WI      53005‐5736
JANCOX/ETOBICOKE           185 CLAIREPORT CR.                                                          ETOBICOKE ON N9W 6P7
                                                                                                       CANADA
JANCSEK THOMAS (169470)    WYSOKER GLASSNER & WEINGARTNER   340 GEORGE ST                                                       NEW BRUNSWICK     NJ      08901‐2011
JANCSEK, THOMAS            WYSOKER GLASSNER & WEINGARTNER   340 GEORGE ST                                                       NEW BRUNSWICK     NJ      08901‐2011
JANCSEK, THOMAS J          17 KESTER DR                                                                                         EDISON            NJ      08817‐2364
JANCSIN, WILLIAM C         11333 DOUGLAS RD                                                                                     TEMPERANCE        MI      48182‐9770
JANCSIN, WILLIAM CLAYTON   11333 DOUGLAS RD                                                                                     TEMPERANCE        MI      48182‐9770
JANCZA, ANNA               921 LANNING AVE                                                                                      LAWRENCEVILLE     NJ      08648‐4521
JANCZAK GEORGE (441890)    WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                     NEW YORK          NY      10038
JANCZAK, DOROTHY           91 HOWEDALE DR.                                                                                      ROCHESTER         NY      14616
JANCZAK, GEORGE            WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                     NEW YORK          NY      10038
JANCZAK, GEORGE F          66 LYDIA LN                                                                                          CHEEKTOWAGA       NY      14225‐3606
JANCZAK, JEROME J          91 HOWEDALE DR                                                                                       ROCHESTER         NY      14616‐1532
JANCZAK, JOHN J            4929 TRIWOOD DR                                                                                      COMMERCE TWP      MI      48382‐1358
JANCZAK, TIMOTHY A         913 BEADLE RD                                                                                        BROCKPORT         NY      14420‐9770
JANCZAREK, DENNIS P        5588 BERKLEY DR                                                                                      WATERFORD         MI      48327‐2706
JANCZEWSKI JACK            JANCZEWSKI, JACK                 30928 FORD RD                                                       GARDEN CITY       MI      48135‐1803
JANCZEWSKI, JAMES J        6080 STROEBEL RD                                                                                     SAGINAW           MI      48609‐5206
JANCZEWSKI, JEANETTE A     1103 29TH                                                                                            BAY CITY          MI      48708‐7947
JANCZEWSKI, JEANETTE A     1103 29TH ST                                                                                         BAY CITY          MI      48708‐7947
JANCZEWSKI, MICHAEL E      2069 REINHARDT ST                                                                                    SAGINAW           MI      48604‐2431
JANCZURA, MIECZYSLAW A     5802 ALBER AVE                                                                                       PARMA             OH      44129‐3333
JANDA BASS                 5209 OJIBWAY DR                                                                                      KOKOMO            IN      46902‐5352
JANDA, JADWIGA             4601 RIVER RD APT 311                                                                                EAST CHINA        MI      48054‐3512
JANDA, MICHAEL A           430 MAIN ST                                                                                          TONAWANDA         NY      14150‐3816
JANDA, PATRICIA A          6244 LEIGHLAND DR                                                                                    GRAND BLANC       MI      48439‐9044
JANDA, ROBERT I            N97W17907 MULBERRY CT                                                                                GERMANTOWN        WI      53022‐4642
JANDA, RODNEY D            6244 LEIGHLAND DR                                                                                    GRAND BLANC       MI      48439‐9044
JANDASEK, JAMES D          10337 GREENBRIER                                                                                     BRIGHTON          MI      48114‐9662
JANDECKA CLYDE (445472)    BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD        OH      44067
                                                            PROFESSIONAL BLDG
JANDERNOA, LAWRENCE R      R #1 11990 KINLEY ROAD                                                                               FOWLER             MI     48835
JANDERWSKI, ROBERT D       PO BOX 642                                                                                           TAWAS CITY         MI     48764‐0642
JANDERWSKI, STEPHEN R      3130 E RIVERVIEW DR                                                                                  BAY CITY           MI     48706‐1321
JANDESKA JR, WILLIAM F     1061 W SNELL RD                                                                                      ROCHESTER          MI     48306‐1740
JANDESKA, CAROL J          1061 W SNELL RD                                                                                      ROCHESTER          MI     48306‐1740
JANDLA, BARRY L            9663 SANTA MONICA BLVD APT 167                                                                       BEVERLY HILLS      CA     90210
JANDO JR, JULIUS P         3354 N GENESEE RD                                                                                    FLINT              MI     48506‐2166
JANDO, FRANK A             1305 CYPRESS AVE APT 105                                                                             VIRGINIA BEACH     VA     23451
JANDO, FRANK J             13281 NORTH BRAY ROAD                                                                                CLIO               MI     48420‐9151
JANDO, GERALD L            12193 N STATE RD                                                                                     OTISVILLE          MI     48463‐9794
JANDO, PAUL J              12193 N STATE RD                                                                                     OTISVILLE          MI     48463‐9794
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Name                                  Address1                        Address2                     Address3   Address4               City             State Zip
JANDO, STEVEN                         8060 CREEKWOOD LN                                                                              GOODRICH          MI 48438
JANDO, STEVEN                         8060 CREELWOOD LN                                                                              GOODRICH          MI 48438‐8755
JANDREAN, JOEL
JANDREAU HARVEY (455774)              MERRITT JACK W                  355 W VENICE AVE                                               VENICE           FL   34285‐2004
JANDREAU, DUDLEY                      43 SHERBROOK ST                                                                                BRISTOL          CT   06010‐7251
JANDREAU, HARVEY                      MERRITT JACK W                  355 W VENICE AVE                                               VENICE           FL   34285‐2004
JANDREAU, RITA                        43 SHERBROOK ST                                                                                BRISTOL          CT   06010‐7251
JANDRESKI, GARY E                     352 LAKEMONT CIR                                                                               FRANKLIN         TN   37067‐5839
JANDREW, DOROTHY M                    3096 STATE HIGHWAY 11B                                                                         NICHOLVILLE      NY   12965‐9709
JANDRON, MICHAEL R                    670 MEISNER RD                                                                                 EAST CHINA       MI   48054‐4131
JANDRON, ROBERT L                     604 MEISNER RD                                                                                 EAST CHINA       MI   48054‐4131
JANDRUCKO, JOHN D                     2 JUNIPER HILL RD                                                                              GARRISON         NY   10524‐3035
JANDRUCKO, LOUISE M                   9564 TRITON CT                                                                                 BOCA RATON       FL   33434‐5622
JANDZINSKI, DAVID E                   135 SPRUCEWOOD DR                                                                              CHEEKTOWAGA      NY   14227‐3229
JANE
JANE E. TROSEN                        7155 CURTIS RD                                                                                 NORTHVILLE       MI   48168
JANE ( LEE                            2327 EASTVIEW AVENUE                                                                           DAYTON           OH   45405‐3403
JANE A BAAS PERSONAL REPRESENTATIVE   C/O BRAYTON PURCELL             222 RUSH LANDING RD                                            NOVATO           CA   94948‐6169
FOR DONALD L BAAS
JANE A BLAKE                          8400 ST FRANCIS DRIVE                                                                          CENTERVILLE      OH   45458
JANE A FARMER                         420 VICTORIA BLVD                                                                              KENMORE          NY   14217‐2219
JANE A HINTON                         RR #1 BOX 182                                                                                  W MANCHESTER     OH   45382‐9801
JANE A KAPLAN                         812 MATTY AVE                                                                                  SYRACUSE         NY   13211‐1312
JANE A KELLS‐PARKER                   11445 OLD MILL RD                                                                              UNION            OH   45322
JANE A MURRAY                         332 NW 42ND ST                                                                                 BOCA RATON       FL   33431
JANE A NIMPHIE                        PO BOX 640                                                                                     MACKINAW CITY    MI   49701‐0640
JANE A SIMMONS                        1061 PRINCEWOOD AVE                                                                            DAYTON           OH   45429
JANE A SMITH                          243 AULLWOOD RD                                                                                DAYTON           OH   45414‐1304
JANE A SPRINGER                       3527 OAKHORNE                                                                                  SAN ANTONIO      TX   78247
JANE A WARD                           3310 KNOLL AVENUE                                                                              TOLEDO           OH   43615‐1319
JANE ABLER                            2158 NORTH RD NE                                                                               WARREN           OH   44483‐3061
JANE ADAMS                            5517 STATE HIGHWAY T                                                                           BRANSON          MO   65616‐9341
JANE ANDERSON                         405 E CARTER ST                                                                                KOKOMO           IN   46901‐5475
JANE ARLINGTON                        7182 ROCHESTER RD                                                                              LOCKPORT         NY   14094‐1641
JANE ARMSTRONG                        PO BOX 81                       5534 OAK                                                       KINGS MILLS      OH   45034‐0081
JANE ARMSTRONG                        312 E BAY AVE APT 216                                                                          MANAHAWKIN       NJ   08050‐3354
JANE ARNOLD                           1003 APLIN BEACH                                                                               BAY CITY         MI   48706
JANE ATWELL                           18805 N UPLAND CT                                                                              SURPRISE         AZ   85387‐7581
JANE B SIMMONS                        493 P.O. BOX                                                                                   STEELE           AL   35987
JANE B TALLON                         625 RUSHMORE DR                                                                                GRAND JCT        CO   81507
JANE B WILSON                         310 ALLEN STREET                                                                               GADSDEN          AL   35903
JANE BABALA                           29669 HIVELEY ST                                                                               INKSTER          MI   48141‐3411
JANE BABULA                           5149 CALYX LN                                                                                  TOLEDO           OH   43623‐2212
JANE BAILEY                           5718 BERWICK AVE NE                                                                            CANTON           OH   44721
JANE BAKER                            3119 APPLE BLOSSOM ST                                                                          INDIAN RIVER     MI   49749‐9722
JANE BANDY                            228 ASH RDG                                                                                    MASON            MI   48854‐2511
JANE BANGERT                          11226 NORTH BRINTON ROAD                                                                       LAKE             MI   48632‐9744
JANE BARBOLINE                        11055 SE FEDERAL HWY LOT 99                                                                    HOBE SOUND       FL   33455‐5165
JANE BARNETT                          865 GILL ST                                                                                    OXFORD           MI   48371‐4528
JANE BARNOWSKY                        32176 SAINT ANNES DR                                                                           WARREN           MI   48092‐3849
JANE BARTHELME                        717 HARDSCUFFLE CT                                                                             BOWLING GREEN    KY   42103‐7931
JANE BARTLETT                         5617 YORKTOWN LN                                                                               YOUNGSTOWN       OH   44515
JANE BASSETT                          8045 PELHAM RD                                                                                 ALLEN PARK       MI   48101‐2244
JANE BECKHAM                          BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS   OH   44236
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Name               Address1                       Address2                   Address3   Address4               City            State   Zip
JANE BELL          7836 EMERY RD                                                                               PORTLAND         MI     48875‐8727
JANE BELL          2375 PARKVIEW DR                                                                            GROVE CITY       OH     43123‐1859
JANE BENSON        6259 ORIOLE DR                                                                              FLINT            MI     48506‐1720
JANE BERHALTER     815 RUIE RD                                                                                 N TONAWANDA      NY     14120‐1725
JANE BERRY         6662 STATE ROAD 32 W           C/O JIMMIE W JOHNSON                                         ANDERSON         IN     46011‐8745
JANE BIESTEK       24164 ROSS ST                                                                               DEARBORN         MI     48124‐3268
JANE BINGER        5930 ROUND LAKE RD                                                                          LAINGSBURG       MI     48848‐9454
JANE BISHOP        1147 GARWOOD DR                                                                             TROY             MI     48085‐5730
JANE BLAKE         8400 SAINT FRANCIS DR          APT 144                                                      DAYTON           OH     45450
JANE BLUME         514 SEQUOIA DR                                                                              DAVISON          MI     48423‐1960
JANE BODRIE        35395 ERIE DR                                                                               ROCKWOOD         MI     48173‐9672
JANE BONIFACIO     13510 ANGELA DR                                                                             WARREN           MI     48088‐6600
JANE BONNETT       6056 CO. RD. 41                                                                             FARMINGTON       NY     14425
JANE BOURBONNAIS   5232 NORTH GLEANER ROAD                                                                     FREELAND         MI     48623‐9243
JANE BOWLIN        271 MARKDALE CT                                                                             BOWLING GREEN    KY     42103‐9781
JANE BOWMAN        8011 VANDEN DR                                                                              WHITE LAKE       MI     48386‐2546
JANE BRADLEY       6331 DALE RD                                                                                NEWFANE          NY     14108‐9762
JANE BRAUER        10622 S FRANCIS RD                                                                          DEWITT           MI     48820
JANE BROCKETT      32774 N RIVER RD                                                                            HARRISON TWP     MI     48045‐1488
JANE BROSHAR       2216 BRAMBLE WAY                                                                            ANDERSON         IN     46011‐2833
JANE BROWN         16474 MARTINSVILLE RD                                                                       BELLEVILLE       MI     48111‐3044
JANE BROWN         15275 S DIXIE HWY APT 406                                                                   MONROE           MI     48161‐3740
JANE BROWN         5308 W TARO LN                                                                              GLENDALE         AZ     85308‐4963
JANE BROWN         209 WEST SPRUCE STREET                                                                      E ROCHESTER      NY     14445‐1820
JANE BROZOWSKI     2840 ASHTON CIR                                                                             HAMILTON         OH     45011‐7868
JANE BUDDE         2283 QUAKER RD                                                                              GASPORT          NY     14067‐9462
JANE BUFFONE       11804 WESTERN RESERVE RD                                                                    SALEM            OH     44460‐7619
JANE BUNSE         3518 94TH PL NE                                                                             MARYSVILLE       WA     98270‐9109
JANE BURKHART      4940 LINCOLN RD                                                                             MACEDON          NY     14502‐9315
JANE BURKHEIMER    6402 S COUNTY ROAD G                                                                        JANESVILLE       WI     53546‐9459
JANE BURNETT       PO BOX 344                                                                                  TARRYTOWN        NY     10591‐0344
JANE C BRADLEY     773 LONGVIEW DR                                                                             GREENBACK        TN     37742
JANE C HUGHES      BOX 194                                                                                     STANFORD         MT     59479
JANE C NORTHCOTT   12313 NS 351                                                                                SEMINOLE         OK     74868
JANE C SMITH       205 N COLONIAL DR                                                                           CORTLAND         OH     44410‐1107
JANE C SPRAGUE     1124 NW 9TH AVE                                                                             CAPE CORAL       FL     33993
JANE CALHOUN       420 S WASHINGTON AVE                                                                        WAUKESHA         WI     53188‐5007
JANE CALMYCA       29 BEECHWOOD DR                                                                             MADISON          CT     06443‐1819
JANE CAMERON       133 CAMINO DEL RIO             SPANISH LAKES RIVERFRONT                                     PORT ST LUCIE    FL     34952‐2374
JANE CARDILLO      1926 BONNIEVIEW DR                                                                          ROYAL OAK        MI     48073‐3812
JANE CARLSON       4352 REDBUSH DR SW                                                                          GRANDVILLE       MI     49418‐3013
JANE CARROLL       3002 PEARL ST                                                                               ANDERSON         IN     46016‐5362
JANE CASSIS        3502 MELODY LN E                                                                            KOKOMO           IN     46902‐3982
JANE CHAFFINS      3839 HERBERT ST                                                                             MOGADORE         OH     44260‐1414
JANE CHARREY       37516 HOWELL ST                                                                             LIVONIA          MI     48154‐4829
JANE CHEN          16528 PARK LANE CIR                                                                         LOS ANGELES      CA     90049‐1145
JANE CHRISTENSEN   5401 S CAMBRIDGE LN                                                                         GREENFIELD       WI     53221‐3237
JANE CHURCH        2502 MERCURY DR                                                                             LAKE ORION       MI     48360‐1962
JANE CLARK         4875 CASON COVE DR             HEALTH CENTER WINDMERE                                       ORLANDO          FL     32811‐6302
JANE CLINE         2038 STATE ST                                                                               ANDERSON         IN     46012‐1742
JANE CLOUD         7505 SOMERSET BAY APT A                                                                     INDIANAPOLIS     IN     46240‐3443
JANE COLLINS       8064 STEVEN DAVID DRIVE                                                                     STRONGSVILLE     OH     44149‐1015
JANE COMBS         1088 JASPER LAKE DR                                                                         BURNSIDE         KY     42519‐9231
JANE CONNER        14 KIMBERLY DR                                                                              MENTOR           OH     44060‐4456
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Name                     Address1                       Address2                   Address3         Address4               City               State   Zip
JANE COOLICAN            221 MARSHALL DR                                                                                   FOREST HILL         MD     21050‐3016
JANE COREY               5208 PALENA BLVD                                                                                  NORTH PORT          FL     34287‐2419
JANE COUMES              6001 LEDGEVIEW DR                                                                                 PENINSULA           OH     44264‐9540
JANE COVRETT             6720 FORTUNA DR                                                                                   TEMPERANCE          MI     48182‐1317
JANE COYLE               307 HANNAM RD                                                                                     WILMINGTON          DE     19808‐2263
JANE CREASEY             5780 MCKEE RD                                                                                     NEWFANE             NY     14108‐9612
JANE CROCKER             3002 MATTHEW LANE APT. 9B                                                                         KOKOMO              IN     46902
JANE CROWE               15 VIRGINIA CT                                                                                    LOCKPORT            NY     14094‐5723
JANE CURRAN              502 ELIZABETH RD               GLEN BURNIE PARK                                                   GLEN BURNIE         MD     21061‐4638
JANE CURTIS              APT B                          365 AUDINO LANE                                                    ROCHESTER           NY     14624‐5641
JANE CZARNY              3321 143RD ST                                                                                     FLUSHING            NY     11354‐3139
JANE CZARNY              33‐21 143 STREET                                                                                  FLUSHING            NY     11354
JANE D FARKAS            5911 CHERRYWOOD DR                                                                                YOUNGSTOWN          OH     44512
JANE D JAMES             820 GATES AVE                                                                                     YPSILANTI           MI     48198‐6150
JANE D KENNEDY           479 RIDGE ROAD                 APT D 1                                                            NEWTON FALLS        OH     44444
JANE D STEINER           312 WEST VIEW                                                                                     HUBBARD             OH     44425‐1965
JANE D STEWART           6456 SHAFER RD                                                                                    WARREN              OH     44481‐‐ 94
JANE D THOMPSON TRUST    629 OAKRIDGE DR                                                                                   WILMINGTON          OH     45177
JANE D TOLES             22 DEFOREST DR                                                                                    N BRANFORD          CT     06471‐1258
JANE DAW                 14 HERITAGE FARM DR                                                                               NEW FREEDOM         PA     17349‐9313
JANE DEGAN               7512 CONGRESSIONAL DR                                                                             LOCKPORT            NY     14094‐9071
JANE DELLINGER           5266 E 100 S                                                                                      TIPTON              IN     46072‐8710
JANE DENMAN              G6200 CALKINS RD                                                                                  FLINT               MI     48532
JANE DETERS              5460 BRISTOL PARKE DR                                                                             CLARKSTON           MI     48348‐4800
JANE DIPIETRO            8775 20TH ST LOT 414                                                                              VERO BEACH          FL     32966‐6915
JANE DOKE                4821 DEL VIEW DR                                                                                  DEL CITY            OK     73115‐4450
JANE DOLAN               2187 MIDLAND ROAD                                                                                 BAY CITY            MI     48706‐9485
JANE DORAN               851 N HIGHLAND AVE                                                                                GIRARD              OH     44420‐2023
JANE DRENNEN             2520 PAMELA CT                                                                                    ANDERSON            IN     46012‐4431
JANE DRYSDALE            1160 INDIAN CHURCH RD APT 5                                                                       WEST SENECA         NY     14224‐1357
JANE DWORAK              133 MICHIGAN AVE                                                                                  LAWRENCEVILLE       NJ     08648‐4643
JANE E DOKE              4821 DEL VIEW DR                                                                                  DEL CITY            OK     73115‐4450
JANE E ELLIS             5676 TROY VILLA BLVD                                                                              HUBER HEIGHTS       OH     45424‐2646
JANE E FARVER            10940 BLOCK RD                                                                                    BIRCH RUN           MI     48415
JANE E GAMBILL           206 S GREENLEE RD                                                                                 TROY                OH     45373‐9481
JANE E HALSTEAD          8452 CANDLEWOOD RD                                                                                LARGO               FL     33777‐2054
JANE E KEELER            1162 NORMANDY TERRACE DR                                                                          FLINT               MI     48532‐3550
JANE E MCCREA            1909 EAGLE POINTE                                                                                 BLOOMFIELD HILLS    MI     48304‐3805
JANE E MERRILL           8425 GOLSE DR                                                                                     BOISE               ID     83704‐4460
JANE E MILLER            1847 RUSSELL AVE.                                                                                 SPRINGFIELD         OH     45506‐2948
JANE E PETRACK           41 DUNNINGTON CT                                                                                  SPRINGBORO          OH     45066
JANE E SCHURZ            1555 WILLIAM ST                                                                                   HUNTINGTON          IN     46750‐3159
JANE E THOMAS            1153 PATTERSON RD.                                                                                DAYTON              OH     45420‐1523
JANE E TOMICH            KNIGHT & TOMICH                PO BOX 953 118 N MAIN ST                                           ST CHARLES          MO     63302
JANE E WHITEMAN (IRA)    JANE E WHITEMAN                FCC AS CUSTODIAN           8424 REGAL WAY                          PALMETTO            FL     34221‐9564
JANE E WINKFEIN          1518 POTTER DR                                                                                    COLUMBIA            TN     38401‐9120
JANE E WISEMAN           4004 MARICARR DRIVE                                                                               KETTERING           OH     45429‐3204
JANE EARLING             11449 126TH AVE APT B                                                                             LARGO               FL     33778‐2602
JANE EBERHART            1861 CENTER RD                                                                                    HINCKLEY            OH     44233‐9556
JANE EDWARDS             2656 VIRGINIA WAY                                                                                 ONTARIO             CA     91761‐6926
JANE EDWINS              409 N BRIDGE ST                                                                                   DE WITT             MI     48820‐8907
JANE ELLEN MARAN TRUST   C/O JAMES J MARAN TRUSTEE      3150 SUGARLOAF CLUB DR                                             DULUTH              GA     30097
JANE ELLER               31177 GEORGETOWN RD                                                                               SALEM               OH     44460‐9740
JANE ELLIS               5676 TROY VILLA BLVD                                                                              HUBER HEIGHTS       OH     45424‐2646
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Name                              Address1                          Address2                 Address3   Address4               City               State   Zip
JANE ENGISCH                      5250 OWOSSO RD                                                                               FOWLERVILLE         MI     48836‐9742
JANE ESSMANN                      3287 PIN OAK DR                                                                              LAKE ORION          MI     48359‐1169
JANE ESTES                        308 HEATHERWOOD DR                                                                           IRVING              TX     75063‐4292
JANE F KENDZORA                   OBRIEN LAW FIRM                   815 GEYER AVE                                              SAINT LOUIS         MO     63104‐4047
JANE F MANNON                     1500 OTTAWA DR                                                                               XENIA               OH     45385
JANE F THORPE                     222 PENNSYLVANIA AVE.                                                                        MCDONALD            OH     44437‐1936
JANE F. NORDYKE                   31 BURLINGTON AVE.                                                                           DAYTON              OH     45403
JANE FARIS                        PO BOX 85                                                                                    CALEDONIA           MO     63631‐0085
JANE FARMER                       420 VICTORIA BLVD                                                                            KENMORE             NY     14217‐2219
JANE FARVER                       10940 BLOCK RD                                                                               BIRCH RUN           MI     48415‐9431
JANE FEARNOW                      811 MELODY LN                                                                                KOKOMO              IN     46902‐3939
JANE FELTS                        719 40TH AVE N                                                                               SAINT PETERSBURG    FL     33703‐4628

JANE FERGUSON                     1115 E SHERMAN AVE                                                                           FLINT              MI      48505‐2938
JANE FIEBELKORN                   7021 HOUGH RD                                                                                ALMONT             MI      48003‐8901
JANE FINLEY                       1617 WAKEFIELD AVE                                                                           YOUNGSTOWN         OH      44514‐1062
JANE FLEMING                      1361 NEW LIFE LN                                                                             ROCHESTER HILLS    MI      48309‐1738
JANE FORTMAN                      11475 IRONHEAD TRL                                                                           LAKELAND           FL      33809‐8001
JANE FOSTER                       837 BETHANY ST                                                                               SAGINAW            MI      48601‐1419
JANE FRANCES MONTGOMERY DOWELL    3845 GROSVENOR RD                                                                            SOUTH EUCLID       OH      44118

JANE FRANKS                       820 OAK KNOLL AVE SE                                                                         WARREN             OH      44484‐4259
JANE FRIDAY                       3997 HURON CITY RD                                                                           PORT HOPE          MI      48468‐9729
JANE GAEDKE                       239 MEADE DR                                                                                 LANSING            MI      48917‐9605
JANE GALLAGHER                    935A THORNHILL CT LEISURE VILLA   LEISURE VILLAGE EAST                                       LAKEWOOD           NJ      08701
JANE GALLOWAY                     2657 E 100 N                                                                                 KOKOMO             IN      46901‐3461
JANE GARNER                       1728 MARCY AVE                                                                               LANSING            MI      48917‐9593
JANE GARRITY                      3892 W 146TH ST                                                                              CLEVELAND          OH      44111‐4318
JANE GENSLER                      5750 JACKMAN RD                                                                              TOLEDO             OH      43613‐2333
JANE GHAN                         2300 REDHAWK LN                                                                              SALINA             KS      67401‐7154
JANE GIBSON                       8400 N CALVERTS DR                                                                           MONTICELLO         IN      47960‐8052
JANE GNOTEK                       612 N WEBSTER ST                                                                             SAGINAW            MI      48602‐4534
JANE GORDON                       529 WASHINGTON AVE                                                                           GIRARD             OH      44420‐2266
JANE GRAY                         CIC                               4 RUE GALLION            PARIS
JANE GREEN                        6133 GERMANTOWN PIKE                                                                         DAYTON             OH      45418‐1631
JANE GREIG                        978 S ROYS AVE                                                                               COLUMBUS           OH      43204‐2335
JANE GRIFFIN                      5603 COLONIAL DR                  PO BOX 825                                                 BELLAIRE           MI      49615‐5134
JANE GRIGGS                       729 CLARK ST APT 68                                                                          TECUMSEH           MI      49286‐1113
JANE GRISHAM                      2321 COUNTY ROAD 165                                                                         ROGERSVILLE        AL      35652‐5618
JANE GROMBIR‐PRATER               4874 ORCHARD LN                                                                              OWOSSO             MI      48867‐9450
JANE GUNTA                        71 CLAY ST                        C/O MICHAEL OLESINSKIE                                     MILLTOWN           NJ      08850‐1514
JANE H GARLICK & DEAN F GARLICK   716 JAMES AVENUE                                                                             ROCKFORD           IL      61107
JANE H MATHER                     60 QUESADA DR                                                                                ROCHESTER          NY      14612‐3720
JANE HAAPAPURO                    30833 WEST RD                                                                                NEW BOSTON         MI      48164‐9710
JANE HAAS                         1675 N MARKET STREET ROAD                                                                    GALION             OH      44833
JANE HALSTEAD                     8452 CANDLEWOOD RD                                                                           LARGO              FL      33777‐2054
JANE HARDIN                       1781 STATE ROUTE 534                                                                         SOUTHINGTON        OH      44470‐9538
JANE HARKER                       APT 25                            715 EAST RACE STREET                                       EATON              IN      47338‐9305
JANE HARLOW                       541 JOHNS LN                                                                                 GREENVILLE         MI      48838‐9256
JANE HARRIS                       7887 NW ROANRIDGE RD APT A                                                                   KANSAS CITY        MO      64151‐5253
JANE HARTFELDER                   2167‐14 MILE ROAD                                                                            STERLING HEIGHTS   MI      48310
JANE HARTLEY                      4735 PELTON RD                                                                               CLARKSTON          MI      48346‐3653
JANE HARTMAN                      1220 LEWIS RD                     C/O JACQUELINE A DUNN                                      MANSFIELD          OH      44903‐8948
JANE HASLINGER                    6321 TONAWANDA CREEK RD                                                                      LOCKPORT           NY      14094‐9524
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Name                      Address1                        Address2                     Address3              Address4               City             State   Zip
JANE HAUENSTEIN           PO BOX 2535                                                                                               BRANCHVILLE       NJ     07826‐2535
JANE HAYMAN               11110 W GATES ST                                                                                          BRUCE TWP         MI     48065‐4372
JANE HAYWARD              6370 APPOLD DR                                                                                            OSCODA            MI     48750‐9228
JANE HEFLEN               664 RUNNING BROOK WAY                                                                                     MANSFIELD         OH     44903‐7578
JANE HELMICK              2217 PERKINS JONES CT NE                                                                                  WARREN            OH     44483‐1860
JANE HERMANN              4615 INDEPENDENCE DR                                                                                      CLARKSTON         MI     48346‐3731
JANE HETRICK              202 FALCONER ST                                                                                           NORTH             NY     14120‐5506
                                                                                                                                    TONAWANDA
JANE HILEMAN              PO BOX 675                                                                                                NORTH APOLLO     PA      15673‐0675
JANE HITCHCOCK            PO BOX 261                                                                                                DAVISON          MI      48423‐0261
JANE HLAD                 1330 RIVERVIEW ST NW                                                                                      WARREN           OH      44485‐2442
JANE HOFF                 3240 N CENTER RD                                                                                          SAGINAW          MI      48603‐1864
JANE HONERLAW             649 S MASON MONTGOMERY RD                                                                                 MASON            OH      45040‐1725
JANE HOSIER               4416 E 200 S                                                                                              ANDERSON         IN      46017‐9728
JANE HOVLAND
JANE HUMMEL               3605 N MILFORD RD                                                                                         HIGHLAND          MI     48357‐2823
JANE HUNLEY               41766 BROQUET DR                                                                                          NORTHVILLE        MI     48167‐2402
JANE HUTTON               1806 E SAGEBRUSH AVE                                                                                      ALEXANDRIA        IN     46001‐8857
JANE HYDE                 APT 1B                          1027 STREAMWOOD DRIVE                                                     LANSING           MI     48917‐8916
JANE J HIRSHMAN           IRA STANDARD                    145 WOODSTONE RD                                                          BULL SHOALS       AR     72619
JANE JAKES                300 KENNELY RD APT 230                                                                                    SAGINAW           MI     48609‐7705
JANE JELKS MCGILL TRUST   AMY MCGILL TRUSTEE              14 WYNDEMERE VALE                                                         MONTEREY          CA     93940
JANE JENKINS              3128 MCKEEN LAKE ROAD                                                                                     LAPEER            MI     48446‐9051
JANE JENKINS              153 WEST AVE                                                                                              BROCKPORT         NY     14420‐1228
JANE JOHNSON              413 CHAMBERLAIN PARK LN                                                                                   FRANKLIN          TN     37069‐6527
JANE JONES                2928 SHARON DR                  APT C                                                                     KOKOMO            IN     46902‐3532
JANE JONES                102 CAMDEN RD                                                                                             SYRACUSE          NY     13219‐2520
JANE JONES                8263 CAINE RD                                                                                             MILLINGTON        MI     48746‐9131
JANE K MURPHY PERSONAL    FOR JAMES P KEARNEY             C/O BRAYTON PURCELL          222 RUSH LANDING RD                          NOVATO            CA     94948‐6169
REPRESENTATIVE
JANE K SELON              239A FRANKLIN AVE                                                                                         BROOKVILLE       IN      47012
JANE KAHN                 242 VINCENT AVE                                                                                           METAIRIE         LA      70005
JANE KALMAN               21810 N PAMPUS CT                                                                                         SUN CITY WEST    AZ      85375‐2119
JANE KAMRAD               3240 CURTIS RD                                                                                            BIRCH RUN        MI      48415‐9091
JANE KARR                 1446 VISTAVIEW DR                                                                                         ROCHESTER HLS    MI      48306‐4355
JANE KEELER               1162 NORMANDY TERRACE DR                                                                                  FLINT            MI      48532‐3550
JANE KEKIC                904 BOON ST                                                                                               TRAVERSE CITY    MI      49686‐4305
JANE KELLY                292 PLANTATION CIR SW                                                                                     SMYRNA           GA      30082‐3041
JANE KELLY                17374 FOREMOST LN                                                                                         PORT CHARLOTTE   FL      33948‐2444
JANE KELLY                1127 PINEVILLE RD                                                                                         CHATTANOOGA      TN      37405‐2658
JANE KENDZORA             OBRIEN LAW FIRM                 1 METROPOLITAN SQ STE 1500                                                SAINT LOUIS      MO      63102‐2799
JANE KENGER               5189 LELAND ST                                                                                            BRIGHTON         MI      48116‐1921
JANE KENNEDY              479 RIDGE RD APT D1                                                                                       NEWTON FALLS     OH      44444‐1270
JANE KIFNER               101 JAMESTOWN ST                                                                                          GOWANDA          NY      14070‐1413
JANE KINZIE               3345 LAHRING RD                                                                                           LINDEN           MI      48451‐9434
JANE KLOSKA               122 SHARON DR APT 2                                                                                       BAD AXE          MI      48413‐1058
JANE KNAPP                7388 RUOFF DR                                                                                             GROVE CITY       OH      43123‐9751
JANE KNOX                 1431 INDIAN RD                                                                                            LAPEER           MI      48446‐8083
JANE KODLOWSKI            606 WILLIAMS ST                                                                                           ROYAL OAK        MI      48067
JANE KOPILCHACK           6102 BENTWOOD CIR E                                                                                       WHITE LAKE       MI      48383‐1089
JANE KOTH                 W145N7508 NORTHWOOD DRIVE                                                                                 MENOMONEE FLS    WI      53051‐4652
JANE KOZIOL               935 UNION LAKE RD APT 524                                                                                 WHITE LAKE       MI      48386‐4539
JANE KREUGER              4885 CASTLE HILL CT NE                                                                                    ROCKFORD         MI      49341‐7636
JANE KRIPAS               11700 E 10 MILE RD                                                                                        WARREN           MI      48089‐3903
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JANE KROHMER           PO BOX 924                                                                                 BUFFALO             NY     14201‐0924
JANE KRZYZANSKI        17G FERNWOOD DR                                                                            BOLINGBROOK          IL    60440‐2923
JANE KUBELSKY          3776 E COUNTY ROAD 700 S                                                                   CLAYTON             IN     46118‐9464
JANE KUZMA             38572 ROYCROFT ST                                                                          LIVONIA             MI     48154‐1318
JANE L ACTON           2613 PINEGROVE DRIVE                                                                       DAYTON              OH     45449
JANE L CIEGOTURA       50251 JIM DR                                                                               NEW BALTIMORE       MI     48047‐1812
JANE L FRANKS          820 OAK KNOLL S.E.                                                                         WARREN              OH     44484‐4259
JANE L GREEN           6133 GERMANTOWN                                                                            DAYTON              OH     45418‐1631
JANE L HOUSTON         28966 STEINMAIER RD                                                                        DEFIANCE            OH     43512‐8747
JANE L KARKLIN         3418 HIGHLANDS BRIDGE RD                                                                   SARASOTA            FL     34235
JANE L LOGAR           240 HERITAGE LANE                                                                          CORTLAND            OH     44410‐1118
JANE L MRUS            2158 FIRESTONE WAY                                                                         LAKELAND            FL     33810
JANE LA VICTOIRE       7328 ELMCREST AVE                                                                          MOUNT MORRIS        MI     48458‐1835
JANE LAPRATT           4634 FIELDCREST DR                                                                         LANSING             MI     48917‐2082
JANE LARKINS           123 NORTON ST                                                                              PONTIAC             MI     48341‐1432
JANE LECOUNT           14366 VENICE DR                                                                            STERLING HTS        MI     48313‐4341
JANE LEE               1651 SUNNY CREEK ST SE                                                                     KENTWOOD            MI     49508‐4968
JANE LEIFHEIT          4775 VILLAGE DR                                                                            GRAND LEDGE         MI     48837
JANE LEPKOSKE          154 CORINTHIA ST                                                                           LOCKPORT            NY     14094‐2010
JANE LEWELLYN          3711 QUINCY DR                                                                             ANDERSON            IN     46011‐4742
JANE LEWIS             APT 302                        2244 UNION ROAD                                             WEST SENECA         NY     14224‐1482
JANE LEWIS             44 HOFFMAN PLACE                                                                           BUFFALO             NY     14207‐2723
JANE LIST              17373 OLD STATE RD                                                                         MIDDLEFIELD         OH     44062‐9121
JANE LITWIN WILLIAMS   8120 TROUT LILY DR                                                                         OOLTEWAH            TN     37363‐5780
JANE LOGAR             240 HERITAGE LN                                                                            CORTLAND            OH     44410‐1118
JANE LONG              5339 E 150 S                                                                               LOGANSPORT          IN     46947
JANE LORAINY           6991 EMERALD SPRINGS LN        C/O KAREN MYERS                                             LAS VEGAS           NV     89113‐1366
JANE LOVE              1167 MAURER AVE                                                                            PONTIAC             MI     48342‐1958
JANE LUECK             5110 W MILES RD                                                                            JANESVILLE          WI     53545‐9081
JANE M FINLEY          1617 WAKEFIELD AVE                                                                         YOUNGSTOWN          OH     44514‐1062
JANE M STUENZI         127 MEDFORD RD                                                                             SYRACUSE            NY     13211‐1827
JANE MAC KILLOP        223 SURREY LN                                                                              CLARKSTON           MI     48346‐1460
JANE MAC KILLOP        223 SURREY ST                                                                              CLARKSTON           MI     48346
JANE MACFADDEN         7276 S 200 E                                                                               MARKLEVILLE         IN     46056‐9650
JANE MALICKI           218 N WHITING DR                                                                           PAYSON              AZ     85541‐4252
JANE MALONEY           200 UPPER MOUNTAIN RD                                                                      LOCKPORT            NY     14094‐1819
JANE MANSFIELD         3575 WALDON RD                                                                             LAKE ORION          MI     48360‐1626
JANE MARCELLI          78 LILMONT DR                                                                              SWISSVALE           PA     15218‐2229
JANE MARKHAM           7151 W 500 S                                                                               SWAYZEE             IN     46986‐9783
JANE MARTIN            1352 S PEARL ST                                                                            JANESVILLE          WI     53546‐5578
JANE MARTIN            14815 WYNDHAM AVE                                                                          WAYNESBORO          PA     17268
JANE MARYE             9690 N PLEASANT DR                                                                         FAIRLAND            IN     46126‐9555
JANE MATHER            60 QUESADA DR                                                                              ROCHESTER           NY     14612‐3720
JANE MATTHEWS          836 KENDAL DR                                                                              BROADVIEW HTS       OH     44147‐4430
JANE MATTHEWS          3487 E COOK RD                                                                             GRAND BLANC         MI     48439‐8378
JANE MATTHEWS
JANE MAURER            9639 BRUNSWICK DR                                                                          BRENTWOOD          TN      37027‐8464
JANE MC ELROY          831 WHITCOMB ST ‐ UPPER                                                                    CLEVELAND          OH      44110
JANE MC FARLAND        16689 LAKEWOOD DR                                                                          HOLLY              MI      48442‐8208
JANE MC QUAID          2615 RIO TIBER DR                                                                          PUNTA GORDA        FL      33950‐6388
JANE MCCREA            1909 EAGLE POINTE                                                                          BLOOMFIELD HILLS   MI      48304‐3805
JANE MCNEAL            4315 MONARCH DR                                                                            ANDERSON           IN      46013‐4436
JANE MCROBERTS         811 WELLS DR                                                                               SOUTH DAYTONA      FL      32119‐2634
JANE MELILLO           9404 N CHURCH DR APT 214                                                                   PARMA HEIGHTS      OH      44130‐4723
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JANE MILLER            2037 SPENCER RD                                                                            STERLING         MI     48659‐9720
JANE MILLER            5002 MEYERS HILL RD                                                                        SANBORN          NY     14132‐9317
JANE MILLIKEN          525 W PALM ST                                                                              LANTANA          FL     33462‐2817
JANE MINCH             109 W NORTH D ST                                                                           GAS CITY         IN     46933‐1122
JANE MOBLEY            918 CYPRESS ST                                                                             JUNCTION CITY    KS     66441‐4052
JANE MORGAN            1313 RHETT LN                                                                              FAIRBORN         OH     45324‐5552
JANE MORGAN            114 BRUMBAUGH CT                                                                           UNION            OH     45322‐2966
JANE MUNLEY            12128 NORTHWEST 30TH STREET                                                                CORAL SPRINGS    FL     33065‐3216
JANE MURRAY            2014 S CROSBY AVE                                                                          JANESVILLE       WI     53546‐5620
JANE N HELMICK         2217 PERKINS JONES COURT                                                                   WARREN           OH     44483‐1860
JANE NAST              2702 REGENCY DR                                                                            LAKE ORION       MI     48359‐1150
JANE NEW               102 RIVERSIDE DR APT 802                                                                   COCOA            FL     32922‐7857
JANE NEWCOMB           PO BOX 971131                                                                              YPSILANTI        MI     48197‐0819
JANE NICHOLS           2700 WISNER                                                                                WATERFORD        MI     48329‐2883
JANE NIMPHIE           PO BOX 640                                                                                 MACKINAW CITY    MI     49701‐0640
JANE NOVAK             26902 SANDY HILL CT APT 3                                                                  NEW HUDSON       MI     48165‐9603
JANE NUBY              106 CARVER ST                                                                              UNION            MS     39365‐2613
JANE NURENBURG         16253 WORDEN RD                                                                            HOLLY            MI     48442‐9783
JANE O'LOUGHLIN BIRD   PO BOX 5985                                                                                BRADENTON        FL     34281‐5985
JANE O'NEILL           66 SPRING LAKE BLVD                                                                        WARETOWN         NJ     08758‐2657
JANE O'REILLY          33 PERRY RD                                                                                PENNELLVILLE     NY     13132‐3212
JANE OLEKSIUK          1620 PRICE RD                                                                              YOUNGSTOWN       OH     44509‐1938
JANE OLSEN             2250 N CAROLINA ST                                                                         SAGINAW          MI     48602‐3869
JANE ONKS              976 BREEZY WOODS DR                                                                        RUSSIAVILLE      IN     46979‐9447
JANE ORIOLA            39 FALKLAND ST                                                                             BBIGHTON         MA     02135‐1840
JANE OSBORNE           36 JOHN BRIAN LN                                                                           BUFFALO          NY     14227‐3616
JANE P VESTAL          PO BOX 87                                                                                  ARCADIA          IN     46030‐0087
JANE PAKUSCH           64 E MAIN ST APT 3                                                                         DRYDEN           NY     13053‐9500
JANE PALCISKO          4199 W 144TH ST                                                                            CLEVELAND        OH     44135‐2053
JANE PALMER            2989 ISLAND LAKE DR                                                                        NATIONAL CITY    MI     48748‐9308
JANE PARKER            244 HEDGES ST                                                                              MANSFIELD        OH     44902‐8612
JANE PARTRIDGE         8463 LINDEN RD                                                                             FENTON           MI     48430‐9357
JANE PASZENSKI         248 BARMONT DR                                                                             ROCHESTER        NY     14626‐1506
JANE PATZKE            35 DEL TER                                                                                 MERIDEN          CT     06450‐4420
JANE PEARSON           PO BOX 243                                                                                 RUSSIAVILLE      IN     46979‐0243
JANE PECK              1010 RIDGE CREST DR                                                                        GAHANNA          OH     43230‐4539
JANE PECK              3355 HOAG AVE NE                                                                           GRAND RAPIDS     MI     49525‐9741
JANE PEELER            3115 FARRIS AVE                                                                            CERES            CA     95307‐3503
JANE PEREZ             1440 1ST ST                                                                                ADRIAN           MI     49221‐1015
JANE PERRAULT          8310 SEYMOUR RD                                                                            GAINES           MI     48436‐9774
JANE PERRY             888 PALLISTER ST APT 314                                                                   DETROIT          MI     48202‐2671
JANE PHILLIPS          4503 ALEXANDER PINES DR                                                                    CLARKSTON        MI     48346‐4135
JANE PIOTROWSKI        2560 N LATHROP RD                                                                          SWANTON          OH     43558‐9675
JANE PLAKE             206 E WASHINGTON ST                                                                        TIPTON           IN     46072‐1727
JANE PLIETH            885 N RENAUD RD                                                                            GROSSE POINTE    MI     48236‐1723
                                                                                                                  WOODS
JANE POMERLEAU         64 IROQUOIS RD                                                                             BRISTOL         CT      06010‐7114
JANE PORTER            12428 SNOW RD                                                                              BURTON          OH      44021‐9771
JANE POUST             6445 BARTZ RD                                                                              LOCKPORT        NY      14094‐9507
JANE POWELL            9000 SASHABAW RD                                                                           CLARKSTON       MI      48348‐2928
JANE POZEGA            36754 SPANISH OAK DR                                                                       WESTLAND        MI      48186‐3407
JANE PRICE             1033 LADYS LN                                                                              ANDERSON        SC      29621‐2320
JANE PROJETTI          27 FLORENCE TOLLGATE PL UNIT 1                                                             FLORENCE        NJ      08518‐3201
JANE PURO              3813 CHURCHILL AVE                                                                         LANSING         MI      48911‐2210
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Name               Address1                      Address2                     Address3   Address4               City               State   Zip
JANE R SKELTON     616 FURNACE RD                                                                               AIRVILLE            PA     17302
JANE R WILLEY      6424 SUGAR CREEK DR N                                                                        MOBILE              AL     36695
JANE RALEIGH       129 E 3RD ST                  P.O.BOX 644                                                    PERRY               MI     48872‐8178
JANE RAPPLEY       3050 CHATFIELD ST                                                                            FLINT               MI     48504‐4460
JANE RATHBUN       3728 CECIL RD                                                                                CADILLAC            MI     49601‐9588
JANE RAY           PO BOX 164                                                                                   ANDERSON            IN     46015‐0164
JANE RECTOR        350 S EAST ST                                                                                PENDLETON           IN     46064‐1214
JANE REED          26812 GLENDALE                                                                               REDFORD             MI     48239‐2725
JANE REED          6704 STATE ROUTE 5                                                                           KINSMAN             OH     44428‐9781
JANE REED          BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS          OH     44236
JANE REID          2895 BRIDGESTONE CIR                                                                         KOKOMO              IN     46902‐7007
JANE RICCIO        624 MOWAT CIR                                                                                HAMILTON            NJ     08690‐3222
JANE RICHEY        1217 FETZNER RD                                                                              ROCHESTER           NY     14626‐1856
JANE RIDENOUR      252 S LIBERTY ST                                                                             RUSSIAVILLE         IN     46979‐9134
JANE RIEGER        143 N WELLSPRING DR                                                                          GREEN VALLEY        AZ     85614
JANE RILEY         5203 MCCARTNEY RD                                                                            SANDUSKY            OH     44870‐1529
JANE ROBERTS       156 HOBBY HILL RD                                                                            SYLVESTER           GA     31791‐4006
JANE ROBISON       30123 WILT RD                                                                                LONDONDERRY         OH     45647‐8950
JANE RODGERS       1015 FABIAN WAY                                                                              SHARON              PA     16146‐2431
JANE ROGERS        207 N CHURCH ST                                                                              MC COLL             SC     29570‐2301
JANE ROMANKOWSKI   12890 W PLEASANT VALLEY RD                                                                   PARMA               OH     44130‐5068
JANE ROMANO        702 PALMER DR                                                                                N SYRACUSE          NY     13212‐2122
JANE ROONEY        20701 VISTA DEL NORTE                                                                        YORBA LINDA         CA     92886‐3121
JANE ROSS          8716 CHAPEL GLEN DR                                                                          INDIANAPOLIS        IN     46234‐2620
JANE RUGENSTEIN    3081 N EUCLID AVE                                                                            BAY CITY            MI     48706‐1309
JANE RUTHERFORD    552 RATTLESNAKE LODGE RD                                                                     SHELBYVILLE         TN     37160‐7616
JANE S HUNLEY      41766 BROQUET DR 197                                                                         NORTHVILLE          MI     48167
JANE S ORIEL       417 HAYDON ST                                                                                HEALDSBURG          CA     95448
JANE S PETERS      216 DUNLOP AVE                                                                               TONAWANDA           NY     14150‐7840
JANE S REED        6704 ST. RT. 5                                                                               KINSMAN             OH     44428‐9781
JANE SABOSIK       25 RANDOLPH AVE                                                                              OLD BRIDGE          NJ     08857‐1114
JANE SAKALOS       71 GARFIELD PL                                                                               PARLIN              NJ     08859‐1572
JANE SAMMONS       4906 S HICKORY ST                                                                            BEAVERTON           MI     48612‐8898
JANE SANDERS       6118 N 930 E                                                                                 FOREST              IN     46039
JANE SARACELLI     51 HOLLAND AVE                                                                               SLEEPY HOLLOW       NY     10591‐1913
JANE SAWICKI       300 KENNELY RD APT 239                                                                       SAGINAW             MI     48609‐7706
JANE SCHIERUP      8460 PONTIAC DR                                                                              HOWARD CITY         MI     49329‐9352
JANE SCHNEIT       8 CHESTNUT HILL                                                                              ROSLYN              NY     11576‐2804
JANE SCHOONOVER    5030 OAK LN                                                                                  STANDISH            MI     48658‐9611
JANE SCHULTZ       14424 W SENTINEL DR                                                                          SUN CITY WEST       AZ     85375‐5998
JANE SCHURZ        1555 WILLIAM ST                                                                              HUNTINGTON          IN     46750‐3159
JANE SCOTT         3304 STILLCORN RIDGE RD                                                                      COLUMBIA            TN     38401‐5975
JANE SEAGRAVES     1485 FAMA DR NE                                                                              ATLANTA             GA     30329‐3307
JANE SEE           851 BRICKER BLVD                                                                             COLUMBUS            OH     43221‐1639
JANE SEICHEPINE    32 TUCKAHOE RD                                                                               NEW CASTLE          DE     19720‐4433
JANE SEMERTZIDES   10 MALSTORME RD                                                                              WAPPINGERS FALLS    NY     12590‐3014

JANE SERWATKA      6282 APPLERIDGE ROAD                                                                         PLYMOUTH           MI      48170‐5099
JANE SEYLER        185 PIKE ROAD                                                                                HOWARD             PA      16841
JANE SHEATS        13855 SUPERIOR RD APT 501                                                                    CLEVELAND          OH      44118‐1039
JANE SHROSBREE     637 FLANDERS ST                                                                              CHELSEA            MI      48118‐1120
JANE SHUE          3216 SOUTHWEST 103RD PLACE                                                                   OKLAHOMA CITY      OK      73159‐6028
JANE SHULL         2006 WABASH RD                                                                               LANSING            MI      48910‐4848
JANE SIBLEY        5777 SW 60TH PL                                                                              OCALA              FL      34474‐7604
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JANE SIEBOLD      332 DENROSE DR                                                                                       AMHERST            NY     14228‐2658
JANE SIME         3975 W SUNWIND DR                                                                                    OKEMOS             MI     48864‐5231
JANE SIMKINS      3220 TWIN SILO DRIVE                                                                                 BLUEBELL           PA     19422
JANE SIMMONS      1061 PRINCEWOOD AVE                                                                                  DAYTON             OH     45429‐5864
JANE SITKO        9507 WHIPPLE SHORES DR                                                                               CLARKSTON          MI     48348‐2165
JANE SLEDD        1822 W HOUSTONIA AVE                                                                                 ROYAL OAK          MI     48073‐3994
JANE SLOAT        2625 N OVID RD                                                                                       OVID               MI     48866‐9729
JANE SLOPPY       PO BOX 356                                                                                           BUFFALO            NY     14207‐0356
JANE SMART        EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR ,                                     NEW HAVEN          CT     06510
                                                   265 CHURCH STREET
JANE SMITH        123 MADISON ST                                                                                       CHICAGO           IL      60606
JANE SMITH        6747 BEARD RD BOX 168                                                                                SHAFTSBURG        MI      48882
JANE SMITH        719 HAWTHORNE LN LOT #187                                                                            TRAVERSE CITY     MI      49686
JANE SMITH        205 N COLONIAL DR                                                                                    CORTLAND          OH      44410‐1107
JANE SMITH        243 AULLWOOD RD                                                                                      DAYTON            OH      45414‐1304
JANE SMITH        PO BOX 111                                                                                           VERSAILLES        IN      47042‐0111
JANE SMOLINSKI    7901 40TH AVE N LT105                                                                                ST PETERSBURG     FL      33709
JANE SOBLOTNE     325 RAINBOW DRIVE                                                                                    KOKOMO            IN      46902‐3868
JANE SPEELMAN     39100 ELMITE ST                                                                                      HARRISON          MI      48045‐2041
                                                                                                                       TOWNSHIP
JANE SPENCER      2342 GUERNSEY RD                                                                                     BEAVERTON         MI      48612‐9125
JANE SPILMAN      4781 COUNTY ROAD 22              PO BOX 92                                                           LITTLEFORK        MN      56653‐9432
JANE SPRAGUE      1124 NW 9TH AVE                                                                                      CAPE CORAL        FL      33993‐7216
JANE STANLEY      3225 STONE RD                                                                                        MIDDLEPORT        NY      14105‐9750
JANE STARKEL      5309 DON SHENK DR                                                                                    SWARTZ CREEK      MI      48473‐1103
JANE STAVER       5343 S RANGELINE RD                                                                                  WEST MILTON       OH      45383‐9624
JANE STEIN        4257 ALLEGHENY DR                                                                                    TROY              MI      48085‐3668
JANE STEINER      312 WESTVIEW AVE                                                                                     HUBBARD           OH      44425‐1965
JANE STEPHENS     771 OAK BROOK RIDGE DR                                                                               ROCHESTER HILLS   MI      48307‐1043
JANE STERNEMANN   9056 TINDALL RD                                                                                      DAVISBURG         MI      48350‐1638
JANE STEVENSON    3172 S WAVERLY RD                                                                                    EATON RAPIDS      MI      48827‐9738
JANE STEWART      6456 SHAFFER RD NW                                                                                   WARREN            OH      44481‐9475
JANE STEWART      397 LAND OR DR                                                                                       RUTHER GLEN       VA      22546‐1232
JANE STRAUSS      794 SHORE RD                                                                                         NORTHPORT         ME      04849‐4226
JANE STRENG       5490 FERDEN RD                                                                                       CHESANING         MI      48616‐9719
JANE SWINFORD     4223 S 100 W                                                                                         ANDERSON          IN      46013‐3631
JANE T TINK       120 JENNERS POND RD              APT 3320                                                            WEST GROVE        PA      19390
JANE TAKESHTA     7547 FULTON ST                                                                                       SAN DIEGO         CA      92111‐6123
JANE TAYLOR       182 NEW WICKHAM DR                                                                                   PENFIELD          NY      14526‐2739
JANE TERRY        4240 S CENTER RD                                                                                     BURTON            MI      48519‐1450
JANE THATCHER     5008 INDEPENDENCE DR                                                                                 KOKOMO            IN      46902‐4919
JANE THORPE       222 PENNSYLVANIA AVE                                                                                 MC DONALD         OH      44437‐1936
JANE TORMA        3861 HUMPHREY RD                                                                                     RICHFIELD         OH      44286‐9507
JANE TRAGESSER    1700 ZARTMAN RD                                                                                      KOKOMO            IN      46902‐3259
JANE TRAVIS       1840 CROMPOND RD APT 6B4         CROMPTOND RD.                                                       PEEKSKILL         NY      10566‐4151
JANE TROSEN       7155 CURTIS RD                                                                                       NORTHVILLE        MI      48168
JANE TURNER       1616 TWIN LAKES BLVD                                                                                 OXFORD            MI      48371‐5834
JANE TUTTLE       2138 HILLSDALE DR                                                                                    DAVISON           MI      48423‐2308
JANE TYLENDA      2373 ANDRUS                                                                                          HAMTRAMCK         MI      48212
JANE UNTERBRINK   8735 N CARLAND RD                                                                                    ELSIE             MI      48831‐9459
JANE V ABLER      2158 NORTH ROAD NE                                                                                   WARREN            OH      44483‐3061
JANE VAN ARUM     1314 MESQUITE ROAD                                                                                   CEDAR PARK        TX      78613‐5107
JANE VAN ESS      PO BOX 663                                                                                           NEWAYGO           MI      49337‐0663
JANE VANBUSKIRK   4353 E TOWNLINE LAKE RD RT 2                                                                         HARRISON          MI      48625
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Name                           Address1                        Address2            Address3         Address4                 City             State   Zip
JANE VERDI                     276 OVERBROOK AVE                                                                             TONAWANDA         NY     14150‐7429
JANE VESTAL                    PO BOX 87                                                                                     ARCADIA           IN     46030‐0087
JANE VILLEGAS                  12515 CROCKETT HWY                                                                            BLISSFIELD        MI     49228‐9743
JANE VOGEL                     7204 N LAWN AVE                                                                               KANSAS CITY       MO     64119‐7634
JANE VOGLER                    51517 HICKORY LN                                                                              MACOMB            MI     48042‐3525
JANE VOYTASEK                  59 DOHERTY DR                                                                                 MIDDLETOWN        NJ     07748‐3303
JANE W HARDIN                  1781 SR 534                                                                                   SOUTHINGTON       OH     44470
JANE W REILLY                  1409 JOYCE ST                                                        CORNWALL ON K6J1Y4
                                                                                                    CANADA
JANE WAINSCOTT                 2632 E QUAIL RUN                                                                              MARION           IN      46953‐4728
JANE WALLS                     315 HICKORY LN                                                                                WATERFORD        MI      48327‐2576
JANE WARD                      3659 PECK LAKE RD                                                                             SARANAC          MI      48881‐9652
JANE WELLS                     946 MOORE ST                                                                                  BELOIT           WI      53511‐5040
JANE WENDT                     5231 TOWNLINE RD                                                                              SANBORN          NY      14132‐9399
JANE WESCOAT                   238 LIST ST                                                                                   FRANKENMUTH      MI      48734‐1908
JANE WEST                      818 POXSON AVE                                                                                LANSING          MI      48910‐2735
JANE WHEELER                   7905 HARRINGTON AVE                                                                           DAYTON           OH      45415‐2312
JANE WHITTINGTON               46 PLEASANT ST                                                                                PLYMOUTH         OH      44865‐1128
JANE WILLARD                   910 N HENRY ST                                                                                BAY CITY         MI      48706‐3637
JANE WILLIAMS                  8809 WITHERSFIELD CT                                                                          SPRINGBORO       OH      45066‐9657
JANE WINKFEIN                  1518 POTTER DR                                                                                COLUMBIA         TN      38401‐9120
JANE WISEMAN                   4004 MARICARR DR                                                                              KETTERING        OH      45429‐3204
JANE WORKMAN                   470 ASHLEY DR                                                                                 GRAND BLANC      MI      48439‐1553
JANE WYLIE                     16 OVINGTON DR                                                                                TRENTON          NJ      08620‐1510
JANE WYSIENSKI                 12 ORNE AVE                                                                                   EWING            NJ      08638‐2840
JANE Y KELLY                   17374 FOREMOST LN.                                                                            PORT CHARLOTTE   FL      33948‐2444
JANE YANKE                     1975 W CLARK RD                                                                               DEWITT           MI      48820‐9639
JANE YONKEY                    1238 W PERRY ST                                                                               SALEM            OH      44460‐3550
JANE ZDANSKY                   5643 BARRETT DR                                                                               DAYTON           OH      45431‐2211
JANE ZEVENBERGEN               52 SPRAY DR                                                                                   MUNROE FALLS     OH      44262‐1323
JANE ZIMMER                    1708 HANCHETT ST                                                                              SAGINAW          MI      48602‐5326
JANE, CHRISTOPHER
JANE, ISAAC A                  1765 DOROTHY CIRCLE             LOT 1                                                         ESSEXVILLE       MI      48732
JANE, PATRICA A                1765 DOROTHY CIRCLE             LOT 1                                                         ESSEXVILLE       MI      48732‐9725
JANE, ROBERT T                 3470 ASHLEY DR                                                                                ORION            MI      48359‐1104
JANE, RUTHHOLLIS               301 PLEASANT ST                                                                               CHARLOTTE        MI      48813‐1625
JANE, THOMAS G                 2736 BULLOCK RD                                                                               BAY CITY         MI      48708‐4915
JANE, WILLIAM L                2844 W BRITTON RD APT 8                                                                       PERRY            MI      48872‐9609
JANEAN KOWALKOWSKI             50592 LIVINGSTON DR                                                                           NORTHVILLE       MI      48168‐6803
JANEAN MARTZEN                 10395 NORTHLAND DR APT 2                                                                      BIG RAPIDS       MI      49307‐8718
JANEANE BASTIEN‐ROSEBROUGH     G‐3137 WEST PASADENA AVE                                                                      FLINT            MI      48504
JANEANE L BASTIEN‐ROSEBROUGH   G‐3137 WEST PASADENA AVE                                                                      FLINT            MI      48504
JANEASE HARMS                  HC 89 BOX 205                                                                                 WINONA           MO      65588‐9511
JANECE A. MITCHELL             629 LAURA ROAD                                                                                LAKELAND         FL      33815
JANECEK, EILEEN J              8306 MAPLEWOOD CT                                                                             SAYNER           WI      54560‐9659
JANECH, GREGORY M              3627 BAYBROOK DR                                                                              WATERFORD        MI      48329‐3903
JANECKA, HENRY V               2222 CALEDONIAN ST                                                                            CLERMONT         FL      34711‐6496
JANECKE, ROBERT E              2727 ROWLEY RD                                                                                WILLIAMSTON      MI      48895‐9531
JANECZEK, JOSEPH J             714 INDEPENDENCE AVE                                                                          TRENTON          NJ      08610‐4204
JANECZKO, MICHAEL A            PO BOX 389240                                                                                 CHICAGO          IL      60638‐9240
JANECZKO, MICHAEL A            6233 S MASON AVE                                                                              CHICAGO          IL      60638‐4425
JANECZKO, SCOTT T              29544 MARQUETTE ST                                                                            GARDEN CITY      MI      48135‐2696
JANEE MCMILLAN                 2652 POSSUM RUN RD                                                                            MANSFIELD        OH      44903‐9131
JANEELLIOTT DOT COM            ATTN S A GOLENBOCK              28 TWIN FAWN LN                                               POUND RIDGE      NY      10576‐1437
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Name                   Address1                         Address2          Address3         Address4               City               State   Zip
JANEEN C MCMASTER      5179 CAMBRIA RD                                                                            SANBORN             NY     14132‐9412
JANEEN CLARK           6535 RICHFIELD RD                                                                          FLINT               MI     48506‐2213
JANEEN FLORES          3835 S LIVERNOIS RD                                                                        ROCHESTER HILLS     MI     48307‐4929
JANEEN MC MASTER       5179 CAMBRIA RD                                                                            SANBORN             NY     14132‐9412
JANEEN MOTTERN         511 CRESCENT HEIGHTS DRIVE                                                                 CREEDMOOR           NC     27522
JANEEN N RABIDEAU      109 W RUTGERS AVE                                                                          PONTIAC             MI     48340‐2759
JANEEN WAGNER          4800 E ALLEN RD                                                                            WEBBERVILLE         MI     48892‐9783
JANEGO, CHARLES G      419 CORUNNA AVE                                                                            OWOSSO              MI     48867‐3601
JANEGO, RONALD S       PO BOX 172                                                                                 ALDEN               MI     49612‐0172
JANEIL KELLY           7523 DYKE RD                                                                               IRA                 MI     48023‐2726
JANEIRA, JOSE          1321 MOOSEHEAD STREET                                                                      FORKED RIVER        NJ     08731‐4112
JANEIRA, JOSE          172 HAYWARD ST                                                                             YONKERS             NY     10704‐1807
JANEKIA L KING         1016 E TOMAHAWK TRAIL                                                                      GADSDEN             AL     35903‐3649
JANEL BELTON           10634 TARRAGON ST                                                                          FISHERS             IN     46038‐2248
JANEL RINEHART         600 MARYLAND AVE                                                                           SAINT CLOUD         FL     34769‐2941
JANEL, ANNA            1219 MANITOU RD                                                                            HILTON              NY     14468‐9371
JANELL BLACKSTOCK      4617 MIAMI SHORES DR                                                                       MORAINE             OH     45439‐1311
JANELL BROWN           490 SMOKEY CORNER RD                                                                       PEEBLES             OH     45660‐9572
JANELL CREAMENS        1018 S WINMERE AVE                                                                         SELMA               IN     47383‐9432
JANELL F BROWN         490 SMOKEY CORNER RD                                                                       PEEBLES             OH     45660
JANELL F BROWN         10680 HIAWATHA DR                                                                          HILLSBORO           OH     45133‐7349
JANELL L PAKKA         643 CAMEO ST                                                                               LANSING             MI     48911‐5113
JANELL M SMITH         3501 STATION CT APT 203                                                                    VIRGINIA BEACH      VA     23462
JANELL MASON           285 WELLINGTON AVE                                                                         ROCHESTER           NY     14611‐3039
JANELL MOSES           57 WINNEBAGO ST                                                                            EDGERTON            WI     53534‐9312
JANELL PAKKA           643 CAMEO ST                                                                               LANSING             MI     48911‐5113
JANELL RAIDL‐DAURIO    18962 N 94TH WAY                                                                           SCOTTSDALE          AZ     85255‐5504
JANELL SIMMONS         4136 HIGHWAY 34                                                                            DODSON              LA     71422‐3744
JANELL SNIDER          501 BOURLAND RD APT 3101                                                                   KELLER              TX     76248‐3578
JANELL TURNER          323 HATCH ST                                                                               SYRACUSE            NY     13205‐1655
JANELLE A STILSON      312 S MILL ST                                                                              CLIO                MI     48420‐1436
JANELLE CLAY           1025 STATE ROUTE 534 NW                                                                    NEWTON FALLS        OH     44444‐9514
JANELLE CUSENZA        5466 OLEKSYN RD                                                                            FLINT               MI     48504‐1016
JANELLE D HOWARD       3001 WALBROOK AVE                                                                          CLEVELAND           OH     44109
JANELLE D LEE          3829 DELPHOS AVE                                                                           DAYTON              OH     45417‐1537
JANELLE DEWOLF         13081 CALLAWAY CT                                                                          FISHERS             IN     46037‐8153
JANELLE DOWDALL        7074 E PIERSON RD                                                                          DAVISON             MI     48423‐8916
JANELLE EDWARDS        108 DUPONT ST                                                                              BUFFALO             NY     14208‐1839
JANELLE FOERSTER       88 PARK ST                                                                                 OXFORD              MI     48371‐4840
JANELLE FORD           6137 GEORGIA AVE                                                                           KANSAS CITY         KS     66104‐1956
JANELLE FOX            6601 SUNSHINE VALLEY DR                                                                    ARLINGTON           TX     76016‐4211
JANELLE FROST          9609 MONROVIA ST APT 205                                                                   LENEXA              KS     66215‐1551
JANELLE HYLTON‐COLE    6123 SHANNON                                                                               CHEYENNE            WY     82009‐3536
JANELLE IRBY           2733 DOUGLAS LN                                                                            THOMPSONS           TN     37179‐5002
                                                                                                                  STATION
JANELLE JACKSON        5313 SPRING CANYON CT                                                                      BAKERSFIELD        CA      93308‐6565
JANELLE KANE ROLANDO   5710 CEDAR ISLAND RD                                                                       WHITE LAKE         MI      48383‐3318
JANELLE L BERRY        2901 SOLDIERS HOME WEST CAR RD                                                             DAYTON             OH      45417‐6448
JANELLE L BOYER        PO BOX 871                                                                                 TROY               OH      45373‐0871
JANELLE L WESTERMAN    117 CALVIN CT S                                                                            TONAWANDA          NY      14150‐8803
JANELLE MCCAMMON       3249 BRADWAY BLVD                                                                          BLOOMFIELD         MI      48301‐2507
JANELLE NOH BRACKEN    2001 N MACARTHUR BLVD STE 340                                                              IRVING             TX      75061‐2253
JANELLE PETEE          4740 PINE HILL DR                                                                          POTTERVILLE        MI      48876‐8609
JANELLE SAYLOR         C/O DANIEL SAYLOR                11182 FORRER DR                                           STERLING HEIGHTS   MI      48312
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JANELLE SAYLOR         DANIEL SAYLOR                    11182 FORRER DR                                                                   STERLING HEIGHTS      MI     48312
JANELLE STEWART        2404 NED DR                                                                                                        MORAINE               OH     45439‐2824
JANELLE STILSON        312 S MILL ST                                                                                                      CLIO                  MI     48420‐1436
JANELLEN PALMER        809 HAWKS NEST RD                                                                                                  MANNINGTON            WV     26582‐6385
JANENE A EMSWILLER     1188 S WILLIAMS LAKE RD                                                                                            WHITE LAKE            MI     48386‐3532
JANENE EMSWILLER       1188 S WILLIAMS LAKE RD                                                                                            WHITE LAKE            MI     48386‐3532
JANENE LAPRATT‐SKIBA   580 MONA RD                                                                                                        CARO                  MI     48723‐9036
JANENT VILLAREAL       6200 GRAND POINTE DR             MC 484‐392‐220                                                                    GRAND BLANC           MI     48439‐5501
JANES ALVIN & VIVIAN   10075 SHELBY RD                                                                                                    BRENHAM               TX     77833‐1761
JANES ERICH (358006)   ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                                               NEW YORK              NY     10006‐1638
JANES JR, DELMAR F     2650 N BARD RD                                                                                                     GLADWIN               MI     48624‐9694
JANES LAWRENCE G       JANES, TERESA J                  MCGEE WILLIAM R LAW OFFICES OF 16855 WEST BERNARDO DRIVE                          SAN DIEGO             CA     92127
                                                                                        SUITE 380
JANES LAWRENCE G       JANES, LAWRENCE G                16855 WEST BERNARDO DRIVE SUITE                                                   SAN DIEGO             CA     92127
                                                        380
JANES MICHAEL          7273 VOLLEY DR N                                                                                                   JACKSONVILLE          FL     32277
JANES NIGEL            45 STERLING WAY 45                                                                                                 BOWLING GREEN         KY     42104
JANES SR, DONALD J     22211 STEPHENS ST                                                                                                  SAINT CLAIR SHORES    MI     48080‐3972

JANES, ALAN J          4012 CONCORD ST                                                                                                    MIDLAND              MI      48642‐3516
JANES, ANTHONY M       2417 BLACK RD                                                                                                      JOLIET               IL      60435‐2971
JANES, BASIL P         5325 W ALLAN RD                                                                                                    HENDERSON            MI      48841‐9745
JANES, BETTY L         175 E NAWAKWA RD UNIT 102                                                                                          ROCHESTER HILLS      MI      48307‐5271
JANES, BILLIE G        PO BOX 2270                                                                                                        HOWELL               MI      48844‐2270
JANES, BILLIE J        1859 W HENDERSON RD                                                                                                HENDERSON            MI      48841‐9769
JANES, CHARLES A       1859 W HENDERSON RD                                                                                                HENDERSON            MI      48841‐9769
JANES, DARLENE L       PO BOX 203                                                                                                         RUSSIAVILLE          IN      46979‐0203
JANES, DONALD J        6784 FULLER RD                                                                                                     GREENVILLE           MI      48838‐9226
JANES, DOROTHY C       859 LAKESIDE DR                                                                                                    OWOSSO               MI      48867‐9447
JANES, DOUGLAS L       5920 GREEN RD                                                                                                      HASLETT              MI      48840‐9784
JANES, EDWIN R         4615 WESTRIDGE DR                                                                                                  WICHITA FALLS        TX      76302
JANES, ERIC D          2404 GARDEN DR                                                                                                     JANESVILLE           WI      53546‐6198
JANES, ERICH           ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                                               NEW YORK             NY      10006‐1638
JANES, GARY A          18303 BELINDA DR                                                                                                   SMITHVILLE           MO      64089‐3702
JANES, GAYLORD P       611 SCHOOLCRAFT ST                                                                                                 GRAND LEDGE          MI      48837‐1352
JANES, GERALD L        930562 S 3330 RD                                                                                                   WELLSTON             OK      74881‐7047
JANES, GORDON J        9224 HALF ACRE DR                                                                                                  WHITE LAKE           MI      48386‐3326
JANES, JERRY D         1761 HIGHGROVE DR                                                                                                  O FALLON             MO      63366‐4365
JANES, JOHN J          501 MELODY LANE                                                                                                    MANSFIELD            OH      44905‐2751
JANES, KATHLEEN A      10540 S 82ND CT                                                                                                    PALOS HILLS          IL      60465‐1847
JANES, KENDELL
JANES, LARRY L         226 S HEDGES ST                                                                                                    DAYTON               OH      45403‐2749
JANES, LAWRENCE G      MCGEE WILLIAM R LAW OFFICES OF   16855 W BERNARDO DR STE 380                                                       SAN DIEGO            CA      92127‐1626
JANES, LENORA M        27150 SHADEL SP 162                                                                                                SUN CITY             CA      92586‐3325
JANES, LISA MARIE      5315 MICK AVE SE                                                                                                   KENTWOOD             MI      49548‐5815
JANES, MARY A          909 N GOULD ST                                                                                                     OWOSSO               MI      48867‐1960
JANES, MARY F          1234 S 300 E                                                                                                       ANDERSON             IN      46017‐1908
JANES, MICHAEL J       4835 PLANTATION ST                                                                                                 ANDERSON             IN      46013‐2895
JANES, PATRICIA        2737 S 53RD TER                                                                                                    KANSAS CITY          KS      66106‐3203
JANES, PAUL W          126 PERRY ST                                                                                                       GRAND LEDGE          MI      48837‐1341
JANES, ROBERT M        UNIT 102                         175 EAST NAWAKWA ROAD                                                             ROCHESTER HLS        MI      48307‐5271
JANES, RUBY B          510 SLONAKER LN                                                                                                    MARTINSBURG          WV      25405‐3967
JANES, TERESA J        MCGEE WILLIAM R LAW OFFICES OF   16855 W BERNARDO DR STE 380                                                       SAN DIEGO            CA      92127‐1626
JANES, TERRY D         332 J MARK COURT                                                                                                   O FALLON             MO      63366‐3073
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Name                              Address1                              Address2                 Address3   Address4               City             State   Zip
JANES, TERRY D                    26 CIVIC PARK CT                                                                                 O FALLON          MO     63366
JANES, THERESA H                  N2975 BUENA VISTA RD                                                                             FT ATKINSON       WI     53538‐9666
JANES, VERA B                     2410 EUNICE                                                                                      CARLSBAD          NM     88220‐3400
JANES, VICTORIA H                 PO BOX 510377                                                                                    NEW BERLIN        WI     53151‐0377
JANES, WARREN L                   1668 FARM LN                                                                                     REESE             MI     48757‐9545
JANES, WILLIAM E                  12027 FORMOSA ST                                                                                 BROOKSVILLE       FL     34613‐5540
JANES, WILLIAM L                  308 N 4TH AVE                                                                                    PRINCETON         IN     47670‐1019
JANES, WILLIAM L                  917 GLEN ST                                                                                      JANESVILLE        WI     53545‐3149
JANES, WILMA H                    1800 E 650 N                                                                                     ALEXANDRIA        IN     46001‐8631
JANESHEK, BILL J                  1509 MONTCLAIR CIRCLE                                                                            MCKINNEY          TX     75071‐7523
JANESHESKI, ROSE R                4012 CONCORD STREET                                                                              MIDLAND           MI     48642
JANESKI, LEON JOSEPH              7734 RINGNECK WAY                                                                                GREGORY           MI     48137‐9591
JANESKO, EUGENE                   163 VOLEK RD                                                                                     SMITHFIELD        PA     15478‐1351
JANESSA ROBINSON                  2150 FOX HILL DR                                                                                 GRAND BLANC       MI     48439
JANESVILLE ACOUSTICS              JA ‐ NORWALK                          22687 NETWORK PLACE                                        CHICAGO            IL    60673‐0001
JANESVILLE AUTO TRANSPORT CO      RYDER AUTO CARRIER DIV                PO BOX 77385                                               DETROIT           MI     48277‐0385
JANESVILLE CRAIG HIGH SCHOOL      401 S RANDALL AVE                                                                                JANESVILLE        WI     53545‐4223
JANESVILLE DESIGN & DEVELOPMENT   18 S JACKSON ST                                                                                  JANESVILLE        WI     53548‐3838
CENTER
JANESVILLE DOOR CO LTD            3108 MCCORMICK DR                                                                                JANESVILLE       WI      53546‐9642
JANESVILLE PERFORMING ARTS CTR    PO BOX 8104                                                                                      JANESVILLE       WI      53547‐8104
JANESVILLE PHYSICAL               PO BOX 3497                                                                                      STURTEVANT       WI      53177‐0300
JANESVILLE PLANT                  HOLD FOR RECONSIGNMENT                                                                           JANESVILLE       WI      53542
JANESVILLE PRODUCTS               12406 US HIGHWAY 250 N                STE B                                                      MILAN            OH      44846‐9260
JANESVILLE ROTARY CLUB            C/O M J EREY                          1957 EASTWOOD AVE                                          JANESVILLE       WI      53545‐2607
JANESVILLE WAREHOUSE LLC          C\O WOW LOGISTICS                     3040 W WISCONSIN AVE                                       APPLETON         WI      54914‐1707
JANESVILLE WATER (CITY OF)        18 NORTH JACKSON ST                                                                              JANESVILLE       WI      53547‐5005
JANESVILLE WATER (CITY OF)        18 N JACKSON ST                       PO BOX 5005                                                JANESVILLE       WI      53548‐2928
JANESVILLE WINAIR CO (DEL) INC    PO BOX 125                            4303 CAPTIAL CIRCLE DR                                     JANESVILLE       WI      53547‐0125
JANESVILLE WINAIR COMPANY         4303 CAPITAL CIR                                                                                 JANESVILLE       WI      53546‐8302
JANESVILLE‐BELOIT KENNEL CLUB     102 W DELAVAN DR                                                                                 JANESVILLE       WI      53546‐2553
JANET & GREGORY WILLIAMS          JANET WILLIAMS                        21202 BUDLONG AVE                                          TORRANCE         CA      90502
JANET A CHRISTON                  5257 OSCEOLA DRIVE                                                                               DAYTON           OH      45427‐2118
JANET A DINKINS                   474 BAY ST                                                                                       PONTIAC          MI      48342‐1912
JANET A HORNE                     1430 N WESTERN #7                                                                                DAYTON           OH      45407‐1458
JANET A JONES                     13715 WOODWARD DR                                                                                HUDSON           FL      34667‐6573
JANET A KIRBY                     8258 WESTLAWN DR                                                                                 FRANKLIN         OH      45005‐1936
JANET A KURY                      12330 STATE RD                                                                                   LAKE ODESSA      MI      48849‐9551
JANET A MACHINGO                  P.O. BOX 837                                                                                     CANFIELD         OH      44406
JANET A SCHNEIDER                 2255 HENN HYDE RD.                                                                               WARREN           OH      44484
JANET A. ERGLE                    327 24TH STREET SW                                                                               WINTER HAVEN     FL      33880
JANET ABBOTT                      446 LONGSPUR RD                                                                                  HIGHLAND HGTS    OH      44143‐3716
JANET ABRON‐TOWNSEND              3843 KESSLER BOULEVARD NORTH DR APT                                                              INDIANAPOLIS     IN      46228‐3188
                                  3018
JANET ADKINS                      603 SAWYER ST                                                                                    EAST TAWAS       MI      48730‐1224
JANET AKE                         68 ARCHERY RANGE RD                                                                              SHAWNEE          OK      74801‐5685
JANET ALDREN                      405 MARSEILLES AVE                                                                               ELYRIA           OH      44035‐4045
JANET ALDRIDGE                    4900 PIERSONVILLE RD                                                                             COLUMBIAVILLE    MI      48421‐9379
JANET ALLEN                       2025 JUHL RD                                                                                     MARLETTE         MI      48453‐8996
JANET ALLEY                       3860 E THENDARA DR                                                                               GLADWIN          MI      48624‐9265
JANET ANDALORA                    306 GROVEVIEW LN                                                                                 SENECA           SC      29672
JANET ANDERSON                    1905 WOODLYN DR APT 103                                                                          FREDERICKSBRG    VA      22401‐5143
JANET ANDERSON                    16500 N PARK DR APT 1604                                                                         SOUTHFIELD       MI      48075‐4768
JANET ANDERSON                    7 KING ST                                                                                        FENWICK ISLAND   DE      19944‐4426
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JANET ANDERSON         3243 REDWOOD DR                                                                             INDIANAPOLIS      IN 46227‐7060
JANET ANGLIN           PO BOX 266                                                                                  MARSING           ID 83639‐0266
JANET ARCH             63381 41ST ST LOT 7                                                                         PAW PAW           MI 49079‐9774
JANET ARLINE           5123 PEARL ST                                                                               ANDERSON          IN 46013‐4865
JANET ARMAND           3857 MERWIN ST                                                                              SHREVEPORT        LA 71109‐4741
JANET ARMENTROUT       199 CAMERON RIDGE DR                                                                        COLUMBUS          OH 43235‐6480
JANET ARTHUR           1751 PENTLAND CT                                                                            FOLSOM            CA 95630‐6230
JANET ARTIS            12555 PENNOCK AVE APT 216                                                                   APPLE VALLEY      MN 55124‐6071
JANET ARVIN            263 W 550 N                                                                                 KOKOMO            IN 46901‐8540
JANET ATCHISON         3012 LERA LN                                                                                LAKE HAVASU CITY  AZ 86404‐9611
JANET ATKINS           4026 W SAGUARO PARK LN                                                                      GLENDALE          AZ 85310‐3261
JANET AUSTERMAN        2804 ARROWWOOD CT                                                                           STERLING HEIGHTS  MI 48314‐1828
JANET AUSTIN           8519 RIVERWALK DR                                                                           FENTON            MI 48430‐9286
JANET AUSTIN           29425 WOODHAVEN LN                                                                          SOUTHFIELD        MI 48076‐5280
JANET AVIGNE           23432 LAKEWOOD ST                                                                           CLINTON TOWNSHIP MI 48035‐4348

JANET B COOPER         4051 WOOD LOOP                                                                              ALAMOGORDO        NM   88310
JANET B HEBERLING      6678 TWITCHELL RD                                                                           ANDOVER           OH   44003‐9488
JANET B HEETER         42 11TH ST                                                                                  NILES             OH   44446‐4316
JANET B JORDAN         1249 WILLARD SE                                                                             WARREN            OH   44484‐4441
JANET B PEASE          1340 STERLING DR.                                                                           CORTLAND          OH   44410‐9222
JANET BAILEY           614 LESHER PL                                                                               LANSING           MI   48912‐1509
JANET BAILEY           474 WHITE WILLOW DR                                                                         FLINT             MI   48506‐5235
JANET BALCH            389 VICTORIA BLVD                                                                           KENMORE           NY   14217‐2216
JANET BANKARD          4308 FAR HILLS AVE APT 2                                                                    DAYTON            OH   45429‐2430
JANET BARLOW ‐ BJORK   515 LINCOLN ST                                                                              JANESVILLE        WI   53548‐5109
JANET BARNETT          172 MARCH LN                                                                                BRODHEAD          KY   40409‐8216
JANET BARON            338 BOISMIER LN                                                                             COLDWATER         MI   49036
JANET BARRON           6767 WELLESLEY TER                                                                          CLARKSTON         MI   48346‐2769
JANET BASCO            4305 BRAYAN DR                                                                              SWARTZ CREEK      MI   48473‐8823
JANET BATES            1880 N KING RD                                                                              MARION            IN   46952‐8669
JANET BAUER            301 MCCOSH DR                                                                               CHESAPEAKE        VA   23320‐6107
JANET BAUTISTA         25775 TIMBERLINE DR                                                                         WARREN            MI   48091‐6017
JANET BEATY            302 TOUCAN ST                                                                               ROCHESTER HILLS   MI   48309‐4612
JANET BEAUDRY          359 CROSS RD                                                                                BENTON            KY   42025‐6516
JANET BEBEE            1033 N CREYTS RD                                                                            LANSING           MI   48917‐9719
JANET BEDFORD          1568 DULONG AVE                                                                             MADISON HTS       MI   48071‐2607
JANET BEERS            177 SUMMIT DR                                                                               MOCKSVILLE        NC   27028‐7262
JANET BELL             7043 CHADBOURNE DR                                                                          DAYTON            OH   45424‐2628
JANET BENARD           1341 SUNNYSIDE ST NE                                                                        GRAND RAPIDS      MI   49525‐2337
JANET BENEDICT         2852 S TOWNLINE RD                                                                          SANDUSKY          MI   48471‐9325
JANET BENEFIELD        PO BOX 637                                                                                  PORT AUSTIN       MI   48467‐0637
JANET BENNETT          378 LORA AVE                                                                                YOUNGSTOWN        OH   44504‐1518
JANET BENTLEY          1102 TEPEE DRIVE                                                                            KOKOMO            IN   46902‐5459
JANET BENZINGER        5403 LONG BOW DR                                                                            KOKOMO            IN   46902‐5496
JANET BERRY            472 W MILL ST                                                                               MIDDLETOWN        IN   47356‐9301
JANET BERTRAM          1728 S ARMSTRONG ST                                                                         KOKOMO            IN   46902‐2034
JANET BESSER‐RUST      2318 DOG LEG CT                                                                             BROOKSVILLE       FL   34604‐9240
JANET BEST             7984 N 50 E                                                                                 FORTVILLE         IN   46040‐9790
JANET BETTS            3703 DAVIS PECK RD                                                                          FARMDALE          OH   44417‐9740
JANET BEUTLER          45590 JEFFERSON AVE                                                                         CHESTERFIELD      MI   48047
JANET BEVELHIMER       1148 W 550 S                                                                                ANDERSON          IN   46013‐9775
JANET BEWLEY           4719 WEXMOOR DR                                                                             KOKOMO            IN   46902
JANET BICKLE           9426 LAKEVIEW CT                                                                            SPRING HILL       FL   34608‐3517
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Name                 Address1                       Address2            Address3         Address4               City               State   Zip
JANET BIENASH        9211 W LAIRD RD                                                                            BELOIT              WI     53511‐8363
JANET BIERLEIN       757 ANDREW DR                                                                              FRANKENMUTH         MI     48734‐9316
JANET BILLINGSLEY    3564 LAKEWOOD CT                                                                           HAMILTON            OH     45011‐7186
JANET BIRO           435 AMBER DR SE                                                                            WARREN              OH     44484‐5809
JANET BISHOP         1025 SW 96TH ST                                                                            OKLAHOMA CITY       OK     73139‐2736
JANET BLACKMER       111 E LIVINGSTON DR                                                                        FLINT               MI     48503‐4124
JANET BLAND          126 TULIP ST                   LOT 79                                                      DAVENPORT           FL     33837
JANET BLANKENSHIP    7174 S MEADOW LN                                                                           MOUNT MORRIS        MI     48458‐9300
JANET BLOOM          1500 E OKLAHOMA AVE                                                                        MILWAUKEE           WI     53207‐2433
JANET BOSTIAN        1329 HILLSIDE DR                                                                           COLUMBIAVILLE       MI     48421‐9741
JANET BOTTING        5583 RIDGE RD                                                                              LOCKPORT            NY     14094‐9442
JANET BOURBEAU       42534 PARK RIDGE RD                                                                        NOVI                MI     48375‐2657
JANET BOWERS         3520 BAKER RD                                                                              OLIVET              MI     49076‐9422
JANET BRANAM         195 E SUNNY SLOPES DR                                                                      BLOOMINGTON         IN     47401‐7319
JANET BRANDT         7036 FAIRGROVE DR                                                                          SWARTZ CREEK        MI     48473‐9408
JANET BREGAR         1739 WARRENSVILLE CENTER RD                                                                SOUTH EUCLID        OH     44121‐2634
JANET BREITER
JANET BREMER         206 S WHEELER ST                                                                           SAGINAW            MI      48602‐1859
JANET BRESSMAN       441 MOUSETAIL LNDG RD                                                                      LINDEN             TN      37096
JANET BRETTI         16 LEON RD                                                                                 PITTSBURGH         PA      15220
JANET BRINK          1311 DARLENE AVE                                                                           MADISON HTS        MI      48071‐2984
JANET BRITTON        4604 RITTER RD                                                                             MANSFIELD          OH      44904‐9579
JANET BRIZENTINE     6425 W US HIGHWAY 36                                                                       MIDDLETOWN         IN      47356‐9743
JANET BROCKMAN       1745 SACRAMENTO ST                                                                         LAS CRUCES         NM      88001‐2123
JANET BROWN          26310 WESTPHAL ST APT 108                                                                  DEARBORN HEIGHTS   MI      48127‐3767

JANET BROWN          2188 HOLLETTS CORNER RD                                                                    CLAYTON            DE      19938‐3118
JANET BROWN          2786 SHADLEY ST                                                                            STREETSBORO        OH      44241‐5151
JANET BROWNSTEIN     PO BOX 511                                                                                 COLUMBIA           SC      29202
JANET BRUNING        6490 COLONIAL DR                                                                           LOCKPORT           NY      14094‐6123
JANET BUDD           333 KINGSBROOK                                                                             NEWPORT            MI      48166‐9433
JANET BUEHLER        416 S EIFERT RD                                                                            MASON              MI      48854‐9511
JANET BULLOCK        806 PROSPECT ST                                                                            CRAWFORDSVILLE     IN      47933‐3540
JANET BURD           3473 TALL OAKS LN YOUNGSTOWN                                                               YOUNGSTOWN         OH      44511
JANET BURGESS        9078 N STATE RD                                                                            OTISVILLE          MI      48463‐9407
JANET BURKE          1053 CHESTNUT LN                                                                           SOUTH LYON         MI      48178
JANET BURKE          212 W MICHIGAN AVE                                                                         JACKSON            MI      49201‐2236
JANET BURKE
JANET BUTCHER        1920 E CENTRE AVE                                                                          PORTAGE            MI      49002‐4416
JANET BUTLER         554 TIMBERLEA DR                                                                           ROCHESTER HILLS    MI      48309‐2679
JANET BUTTS          8510 OWLSWICK LN                                                                           MEMPHIS            TN      38125‐4416
JANET BUXTON         7887 MILAN OAKVILLE RD                                                                     MILAN              MI      48160‐9004
JANET BYRD           2465 ONTARIO AVE                                                                           NIAGARA FALLS      NY      14305‐3129
JANET BYRNE          611 GILL HALL RD                                                                           JEFFERSON HILLS    PA      15025
JANET C BEVELHIMER   1148 W 550 S                                                                               ANDERSON           IN      46013‐9775
JANET C DAVIS        1217 SIMONTON                                                                              MIAMISBURG         OH      45342‐2545
JANET C DICKHERBER   1035 S CALLAHAN RD                                                                         WENTZVILLE         MO      63385‐4701
JANET C FAIR         218 MCDONALD AVE.                                                                          NILES              OH      44446‐3926
JANET C GREGGS       PO BOX 165431                                                                              KANSAS CITY        MO      64116‐5431
JANET C HENDLEY      2700 WESTMEADE RD                                                                          ALBANY             GA      31721‐1552
JANET C MORRIS       2395 SPENCERPORT RD                                                                        SPENCERPORT        NY      14559‐2028
JANET C SMOLEN       211 E MOLLOY RD APT 124                                                                    SYRACUSE           NY      13211‐1678
JANET CAHILL         395 N QUINCY ST                                                                            ABINGTON           MA      02351‐1074
JANET CALDWELL       1709 GLENEAGLES DR                                                                         KOKOMO             IN      46902‐3194
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Name                Address1                       Address2             Address3        Address4                City               State   Zip
JANET CAMPBELL      2600 MAUTE RD                                                                               GRASS LAKE          MI     49240‐9328
JANET CAMPBELL      2530 DOVER CENTER RD                                                                        WESTLAKE            OH     44145‐3107
JANET CANNON        3755 TENNYSON ST APT 119                                                                    DENVER              CO     80212‐1974
JANET CARDINAL      7816 COUNTY ROAD 42            RR 2                                 WINDSOR ON N8N2M1
                                                                                        CANADA
JANET CARDWELL      2653 E 50 N                                                                                 KOKOMO             IN      46901‐5718
JANET CARNELL       1280 HEATHERWOODE RD                                                                        FLINT              MI      48532‐2337
JANET CARNEY        190 PERRYDALE ST                                                                            ROCHESTER HILLS    MI      48306‐3445
JANET CARNEY        3626 WHALEN AVE                                                                             INDIANAPOLIS       IN      46227‐7082
JANET CARRIERE      9277 GRAYTRAX RD                                                                            GRAND BLANC        MI      48439‐8004
JANET CARTER        4226 DAVISON RD                                                                             LAPEER             MI      48446‐2840
JANET CARTER        29867 JULIUS BLVD                                                                           WESTLAND           MI      48186‐7332
JANET CASCADDEN     512 DEAVILLE LN                                                                             BLOOMFIELD         MI      48304‐1450
JANET CASTEEL       155 CHEROKEE CIR                                                                            BUCHANAN           GA      30113‐5188
JANET CAULKINS      15 MADISON AVE                                                                              MADISON            CT      06443
JANET CAVENDER      720 ROBBINS AVE                                                                             NILES              OH      44446‐2416
JANET CHAMBERLAIN   490 4 MILE RD S                                                                             TRAVERSE CITY      MI      49686‐8412
JANET CHAN          35751 MAUREEN DR                                                                            STERLING HEIGHTS   MI      48310‐4776
JANET CHAPMAN       49264 PROSPECT CT                                                                           MACOMB             MI      48042‐4855
JANET CHARIKER      4 BERLANGA CIR                                                                              HOT SPRINGS        AR      71909‐4434
                                                                                                                VILLAGE
JANET CHRISTIAN     1040 OXFORD ST N                                                                            SAINT PAUL         MN      55103‐1246
JANET CLANCY        6438 W LEXINGTON DR                                                                         CRYSTAL RIVER      FL      34429‐9357
JANET CLARK         1148 E DRIVE WAYNE LAKES                                                                    GREENVILLE         OH      45331
JANET CLARK‐VERUS   443 S WAVERLY RD                                                                            EATON RAPIDS       MI      48827‐9753
JANET CLARKE        11064 PALEIS CIR                                                                            CLIO               MI      48420‐2315
JANET CLARY         1215 N IRVING HEIGHTS DR                                                                    IRVING             TX      75061‐5442
JANET CLAY          918 CANDELA LN                                                                              GRAND LEDGE        MI      48837‐2239
JANET CLEMENTS      205 PEACH ST                                                                                AVENEL             NJ      07001‐1004
JANET COBURN        10423 HILL RD                                                                               SWARTZ CREEK       MI      48473‐8569
JANET COLE          6725 PONTIAC LAKE RD                                                                        WATERFORD          MI      48327‐1759
JANET COLE          145 SASSAFRAS LN                                                                            SYLVESTER          GA      31791‐7511
JANET COLLAR        2173 S CENTER RD               APT 238                                                      CLIO               MI      48420‐1987
JANET COLLIER       1018 FLETCHER ST                                                                            OWOSSO             MI      48867‐3418
JANET COLLINS       4475 BERKSHIRE RD                                                                           INDIANAPOLIS       IN      46226‐3139
JANET COMBS         35200 SIMS ST APT 713                                                                       WAYNE              MI      48184‐1287
JANET CONFER        3105 W GRAND RIVER RD                                                                       OWOSSO             MI      48867‐9241
JANET COOK          2380 HENN HYDE RD NE                                                                        WARREN             OH      44484‐1244
JANET COOK          1955 RIFLE RIVER DR                                                                         WEST BRANCH        MI      48661‐9747
JANET COOK          110 FLORWOOD CV                                                                             BRANDON            MS      39042‐8240
JANET COOK‐FIRMIN   602 LAFAYETTE ST                                                                            FLINT              MI      48503‐5332
JANET COOMBS        1518 N CO RD 550 W                                                                          KOKOMO             IN      46901
JANET COONCE        115 LAUREL PARK PL                                                                          PEARL              MS      39208‐5540
JANET COONS         136 ROCKY BEND ROAD                                                                         CLEARFIELD         PA      16830
JANET COOPER        1526 N RICHARD RD                                                                           MARION             IN      46952‐1859
JANET COOPER        4051 WOOD LOOP                                                                              ALAMOGORDO         NM      88310‐5499
JANET CORLEY
JANET CORTRECHT     PO BOX 578                                                                                  CAVE JUNCTION      OR      97523‐0578
JANET COSSINS       25525 BAKER ST                                                                              TAYLOR             MI      48180‐3124
JANET COTTON        7174 KINGS WAY                                                                              FLUSHING           MI      48433‐2288
JANET COWDREY       11971 SCHAVEY RD                                                                            DEWITT             MI      48820‐8720
JANET COX           APT 7                          1320 CAMP HILL WAY                                           DAYTON             OH      45449‐3141
JANET COX           1838 STATE ROUTE 28                                                                         BLANCHESTER        OH      45107‐7841
JANET CRABTREE      906 W SPENCER AVE                                                                           MARION             IN      46952‐3421
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Name                   Address1                     Address2            Address3         Address4               City             State   Zip
JANET CRANE            G‐6480 W COURT ST                                                                        FLINT             MI     48532
JANET CRIPPEN          1278 FLAMINGO                                                                            WIXOM             MI     48393‐1505
JANET CROOM            414 LAWRENCE ST                                                                          SANDUSKY          OH     44870‐2318
JANET CUMMINGS         5275 PINE KNOB TRL                                                                       CLARKSTON         MI     48346‐4131
JANET CURELL           3319 BARNES RD                                                                           NORTH BRANCH      MI     48461‐9357
JANET CZAJA            333 THORNCLIFF RD                                                                        KENMORE           NY     14223‐1207
JANET CZARZASTY        836 HEATHER CT                                                                           VANDALIA          OH     45377‐1619
JANET D ALI            382 FERNWOOD AVE                                                                         ROCHESTER         NY     14609‐3448
JANET D ANGELO         11204 N JENNINGS RD                                                                      CLIO              MI     48420‐1540
JANET D CZARZASTY      836 HEATHER CT.                                                                          VANDALIA          OH     45377‐1619
JANET D GREAR          809 WALLIS AVE.                                                                          SHARON            PA     16146‐1960
JANET D JENKINS        7098 FAIRVIEW AVE.                                                                       BROOKFIELD        OH     44403‐9754
JANET D RICHARDS       31 N 12TH ST APT 2S                                                                      ALLENTOWN         PA     18101
JANET D SHUGARTS       3511 BRADLEY BROWNLEE RD                                                                 CORTLAND          OH     44410‐8716
JANET D WHITESIDE      1200 ALEXA DR                                                                            WINTER PARK       FL     32789
JANET D'AGOSTINO       5285 CLOISTER DR                                                                         TROY              MI     48085‐4090
JANET D'ANNUNZIO       26 GALERIA WAY                                                                           PORT ST LUCIE     FL     34952‐2325
JANET DALLAS           6520 SAND HILL AVE                                                                       SHREVEPORT        LA     71107‐8108
JANET DALRYMPLE        4201 WHITETAIL DR SE                                                                     KALKASKA          MI     49646‐9156
JANET DALY             4116 DARTMOOR CT                                                                         FREDERICKSBURG    VA     22408‐7743
JANET DAMON            165 VANCE RD                                                                             BRISTOL           CT     06010‐3746
JANET DARNELL          10581 CREEKTREE LN                                                                       FISHERS           IN     46038‐6501
JANET DAUGHERTY        PO BOX 735                                                                               LAKE CITY         TN     37769‐0735
JANET DAVIS            1109 W NATIONAL AVE                                                                      MARION            IN     46952‐2529
JANET DAVIS            15448 MURRAY RD                                                                          BYRON             MI     48418‐9049
JANET DAVIS            2505 MORRISH RD                                                                          FLUSHING          MI     48433‐9411
JANET DAVIS            5203 OTTER DR                                                                            LANSING           MI     48917‐4077
JANET DAVIS            9705 LAKE BESS RD LOT 767                                                                WINTER HAVEN      FL     33884
JANET DEATHERAGE       2255 TEALBRIAR                                                                           BURLINGTON        KY     41005
JANET DEBUSK           129 BOWMAN AVE                                                                           TIPP CITY         OH     45371‐1404
JANET DECKER           1043 LAKEVIEW ST                                                                         WATERFORD         MI     48328‐3818
JANET DEFONZO          36 WYNDWOOD DR                                                                           BRISTOL           CT     06010‐3064
JANET DEGYANSKY        4153 SHELLEY DR                                                                          NORTH OLMSTED     OH     44070‐1949
JANET DELEKTA          242 E WARDLOW RD                                                                         HIGHLAND          MI     48356‐2531
JANET DELEO‐NOLSHEIM   8968 WHITEMARSH AVE                                                                      SARASOTA          FL     34238‐3332
JANET DEMERY           85 NEWPORT AVENUE                                                                        SOMERSET          NJ     08873‐3242
JANET DEMPS            5250 ALEXANDER DR                                                                        BRITTON           MI     49229‐9430
JANET DENICOLO         6024 CREEKSIDE DR                                                                        SWARTZ CREEK      MI     48473‐8235
JANET DENISON          2275 MARK AVE                                                                            LINCOLN PARK      MI     48146‐2550
JANET DENNINGTON       4456 VIA DEL VILLETTI DR                                                                 VENICE            FL     34293‐7064
JANET DEWEY            2225 141ST AVE                                                                           DORR              MI     49323‐9568
JANET DEZEE            3110 LYNN RD                                                                             CANFIELD          OH     44406‐9121
JANET DICKERSON        4221 FULTON AVE                                                                          MORAINE           OH     45439‐2123
JANET DICKERSON        825 COUNTY STREET 2920                                                                   TUTTLE            OK     73089‐3022
JANET DICKEY           714 WESTMINSTER LN                                                                       KOKOMO            IN     46901‐1883
JANET DICKSON          3661 STATE RD.                                                                           BAY CITY          MI     48706
JANET DIEHL            116 N MAPLE ST                                                                           GALVESTON         IN     46932‐8790
JANET DIENES           PO BOX 402                                                                               NEW LENOX          IL    60451‐0402
JANET DIESING          PO BOX 513                                                                               SOUTH BELOIT       IL    61080‐0513
JANET DILISIO          17 LINN PL                                                                               YONKERS           NY     10705‐2509
JANET DILL             3859 NEEDHAM RD                                                                          LEXINGTON         OH     44904‐9505
JANET DILL             301 E 10TH ST                                                                            GEORGETOWN         IL    61846‐1106
JANET DINA             5386 KNOLLWOOD DR APT 1                                                                  PARMA             OH     44129‐1632
JANET DINKINS          474 BAY ST                                                                               PONTIAC           MI     48342‐1912
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JANET DIXON            196 PIONEER CIR                                                                             PICKERINGTON      OH     43147‐7829
JANET DIXON            3677 MERWIN 10 MILE RD MILE                                                                 CINCINNATI        OH     45245
JANET DONAHUE          1185 HIGH ST NE                                                                             WARREN            OH     44483‐5859
JANET DONALDSON        6444 GILLIS DR                                                                              JACKSON           MI     49201‐8504
JANET DONCHESS         2300 VENLOE DR                                                                              POLAND            OH     44514‐1745
JANET DONNELLON        56795 INLAND CT                                                                             MACOMB            MI     48042‐1189
JANET DOOLIN           844 N MAIN ST                                                                               MILFORD           MI     48381‐1527
JANET DOTSON           PO BOX 321                                                                                  SUGAR GROVE       NC     28679‐0321
JANET DOUGHERTY        211 BRIGHTON RD                                                                             CAPE MAY COURT    NJ     08210‐2101
                                                                                                                   HOUSE
JANET DOWD             G5458 E CARPENTER RD                                                                        FLINT            MI      48506
JANET DOWDLE           600 W WALTON BLVD APT 204                                                                   PONTIAC          MI      48340‐1097
JANET DOWELL           2418 HOFF ST                                                                                FLINT            MI      48506‐3479
JANET DOWLING          5581 PLAIN RD                                                                               SILVERWOOD       MI      48760‐9717
JANET DRAKE            66 LINDA AVE                                                                                FRAMINGHAM       MA      01701‐4061
JANET DRAKE‐HELDER     340 S JOHNSON RD                                                                            GOWEN            MI      49326‐9615
JANET DUBE             806 RICHARD ST                                                                              HOLLY            MI      48442‐1285
JANET DUDOCK           APT 3                           9160 CHATWELL CLUB LANE                                     DAVISON          MI      48423‐2855
JANET DUFFEY           1050 W HIGHWAY 78 APT 136                                                                   VILLA RICA       GA      30180‐2260
JANET DULEY            297 LAKE FOREST DR                                                                          SPARTANBURG      SC      29307‐3757
JANET DUNCAN           39260 NORTHAMPTON STREET                                                                    WESTLAND         MI      48186‐3715
JANET DUNHAM           3509 TEMPLETON RD NW                                                                        WARREN           OH      44481‐9151
JANET DUPON            3 MAGNOLIA LN                                                                               ORMOND BEACH     FL      32174‐2658
JANET DWIGHT           3022 STABLER ST                                                                             LANSING          MI      48910‐3024
JANET DYER             879 SOUTH 450 WEST CO. RD.                                                                  GREENCASTLE      IN      46135
JANET E BUTCHER        1920 E CENTRE AVE                                                                           PORTAGE          MI      49002‐4416
JANET E JONES          4408 HALLOCK YOUNG RD                                                                       NEWTON FALLS     OH      44444
JANET E LAKE           2119 ASHFORD DR                                                                             DAVISON          MI      48423‐8382
JANET E LENDALL        6 LAUREL STREET                                                                             PEABODY          MA      01960
JANET E LOGGINS        2130 CHIP DRIVE                                                                             LK HAVASU CTY    AZ      86406‐7559
JANET E LUTZ           JANET E LUTZ & JACK L LUTZ      1177 N MIDDLE DR                                            GREENVILLE       OH      45331‐3066
JANET E MAYER          38 TWIN CIRCLE                                                                              ROCHESTER        NY      14624‐3315
JANET E MORING         1614 DAYTONA DR                                                                             TOLEDO           OH      43612‐4005
JANET E NIX            9907 JULIE DR                                                                               YPSILANTI        MI      48197‐7095
JANET E PORTER         9907 JULIE DR                                                                               YPSILANTI        MI      48197‐7095
JANET E PRICE          PO BOX 19117                                                                                EVANSPORT        OH      43519‐0117
JANET E RIKE           410 HORN ST BOX 331                                                                         LEWISBURG        OH      45338
JANET E WEAVER         4857 GEAUGA PORTAGE EAST                                                                    W. FARMINGTON    OH      44491‐‐ 97
JANET EAGAN            714 O ST                                                                                    BEDFORD          IN      47421‐2128
JANET EASTMAN          PO BOX 624                                                                                  LOCKPORT         NY      14095‐0624
JANET ECKENROD         4248 REID RD                                                                                SWARTZ CREEK     MI      48473‐8879
JANET ECKHOFF          911 EDGEMONT PARK                                                                           GROSSE POINTE    MI      48230‐1854
                                                                                                                   PARK
JANET EDMUNDS          4266 ISLAND PARK DR                                                                         WATERFORD        MI      48329‐1915
JANET EGGERT           1669 SPRUCE ST                                                                              HAMILTON         NJ      08610‐2230
JANET EILEEN DAMERON   2151 HELIX ST                                                                               SPRING VALLEY    CA      91977
JANET EILERMAN         3 SOUSA PL                                                                                  KETTERING        OH      45420‐2930
JANET EKEL             9255 LOIS DR                                                                                PIGEON           MI      48755‐9605
JANET ELAM             PO BOX 162                                                                                  LYNCHBURG        OH      45142‐0162
JANET ELDER            4113 ORCHARD ST                                                                             HOLLY            MI      48442‐9142
JANET ELLIOTT          16 PEACH TREE DR                                                                            DAVISON          MI      48423‐9123
JANET ELLIS            5013 KEITH DR                                                                               OKLAHOMA CITY    OK      73135‐2229
JANET ELSON            4226 W STATE ROAD 18                                                                        KOKOMO           IN      46901‐7663
JANET ELY              319 S ADAMS ST                                                                              MONTPELIER       IN      47359‐1300
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Name                                Address1                       Address2                      Address3   Address4               City              State   Zip
JANET EMERSON                       14650 ARLINGTON AVE                                                                            ALLEN PARK         MI     48101‐2902
JANET ENDRIS                        2445 H ST                                                                                      BEDFORD            IN     47421‐5121
JANET EPPS                          6760 MERRIMAN RD APT 168                                                                       ROMULUS            MI     48174‐1929
JANET ERDMAN                        121 LAKE ST                                                                                    SAINT CHARLES      MI     48655‐1646
JANET ESENWEIN                      250 WELTON WAY                                                                                 MOORESVILLE        NC     28117‐8161
JANET ETCHISON                      76 EMS B8 LN                                                                                   PIERCETON          IN     46562‐9142
JANET EVANCIK                       910 ADA ST                                                                                     PARAGOULD          AR     72450‐5624
JANET EVANS                         2113 LAKEFIELD DR                                                                              HURON              OH     44839‐2071
JANET F DALY                        741 CAMP HOLLOW RD APT C101                                                                    WEST MIFFLIN       PA     15122‐3352
JANET F DALY                        4116 DARTMOOR CT                                                                               FREDERICKSBURG     VA     22408‐7743
JANET F HUDDLESTON                  2030 S AVERILL AVE APT 3A                                                                      FLINT              MI     48503‐4440
JANET F KUMHER                      8973 KINGSVILLE RD.                                                                            FARMDALE           OH     44417
JANET F NAPPIER                     6321 BLUE STONE DR                                                                             LANSING            MI     48917‐1288
JANET F OLIVER                      33 RINGGOLD STREET                                                                             DAYTON             OH     45403
JANET F PAYNTER                     3219 OLD FARM RD                                                                               KALAMAZOO          MI     49004‐4318
JANET F SMITH                       121 RAINBOW DR                 PMB 2129                                                        LIVINGSTON         TX     77399‐1021
JANET FACKELMAN‐ADM OF THE ESTATE   HILBORN & HILBORN PC           999 HAYNES STREET SUITE 205                                     BIRMINGHAM         MI     48009
OF CHARLES L FACKELMAN DEC
JANET FACKELMAN‐ADM OF THE ESTATE   C/O HILBORN & HILBORN PC       999 HAYNES STREET SUITE 205                                     BIRMINGHAM         MI     48009
OF CHARLES L FACKELMAN, DEC

JANET FAIR                          218 MCDONALD AVE                                                                               NILES             OH      44446‐3926
JANET FANNING                       1128 LEEDS ROAD                                                                                ELKTON            MD      21921‐3615
JANET FARLESS                       18491 NORBORNE                                                                                 REDFORD           MI      48240‐1834
JANET FARMER                        7511 FAIRVIEW CT                                                                               GOODRICH          MI      48438‐9294
JANET FARMER                        5375 E 400 S                                                                                   KOKOMO            IN      46902‐9217
JANET FAUBERT                       800 HOOVER AVE                                                                                 ROSCOMMON         MI      48653‐8950
JANET FAUNCE                        119 W NORTH G ST                                                                               GAS CITY          IN      46933‐1132
JANET FENDER                        1006 N CEDAR ST                                                                                LANSING           MI      48906‐5211
JANET FERCANA                       542 E WESTERN RESERVE RD                                                                       POLAND            OH      44514‐3351
JANET FERGUSON                      1094 HAVEN ST                                                                                  MOUNT MORRIS      MI      48458‐1642
JANET FIFIELD                       232 S VALLEY ST APT 211                                                                        WEST BRANCH       MI      48661‐1459
JANET FINN                          15296 ANN DR                                                                                   BATH              MI      48808‐9792
JANET FINNEY                        17 BRADBURY RD                                                                                 NEW CASTLE        DE      19720‐2349
JANET FLEISHANS                     1304 RUFFNER AVE                                                                               BIRMINGHAM        MI      48009‐7172
JANET FLEMING                       1 TUDOR LN APT 4                                                                               LOCKPORT          NY      14094‐3985
JANET FOGG                          5839 PHEASANT AVE                                                                              LANSING           MI      48911‐4562
JANET FOLKMAN                       19311 KEWANEE AVE                                                                              CLEVELAND         OH      44119
JANET FORGACS                       9 STATE ROUTE 14                                                                               NORTH BENTON      OH      44449‐9723
JANET FORNER                        1401 N ROCHESTER RD UNIT 254                                                                   ROCHESTER HILLS   MI      48307‐7101
JANET FOX                           706 COOLIDGE DR                                                                                MIDLAND           MI      48642‐3020
JANET FRAHM                         4495 KLAIS DR                                                                                  CLARKSTON         MI      48348‐2373
JANET FRANKLIN                      4150 NW ALDER AVE                                                                              ALBANY            OR      97321‐9331
JANET FRASER                        33 DENTON DRIVE                                                                                GLENMOORE         PA      19343‐1909
JANET FRAVER                        1321 ROSE BOWER AVE                                                                            KETTERING         OH      45429‐5123
JANET FRAZIER                       1009 WINDSOR CROSSING LN                                                                       TIPP CITY         OH      45371‐1575
JANET FREIHEIT                      12409 FIELD RD                                                                                 CLIO              MI      48420‐8246
JANET FRENCH                        891 GULF SHORE BLVD                                                                            KOKOMO            IN      46902‐5099
JANET FREW                          2127 N MAIN ST                                                                                 KOKOMO            IN      46901‐5827
JANET FREY                          PO BOX 494966                                                                                  PORT CHARLOTTE    FL      33949‐4966
JANET FRIEND                        233 ROLLING ACRES DR                                                                           TIPP CITY         OH      45371‐1180
JANET FUGATE                        PO BOX 205                                                                                     ALVIN             IL      61811‐0205
JANET FULLER                        2570 LISA DR                                                                                   COLUMBIAVILLE     MI      48421‐8910
JANET FURGUILE                      1243 COBBLEWOOD DR                                                                             BETHEL PARK       PA      15102
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Name                        Address1                        Address2            Address3         Address4               City              State   Zip
JANET G GLANCY              3848 EDWARD ST                                                                              MINERAL RIDGE      OH     44440
JANET G HARPER              75 THOMAS ST                                                                                BRENTWOOD          NY     11717‐1216
JANET G JAINSCHIGG REV TR   GERALD KRAWITZ TRUSTEE          176 CANNON RD                                               WILTON             CT     06897
JANET G00D                  3250 W EPTON RD                                                                             HENDERSON          MI     48841‐9731
JANET GAINES                2212 STONE ST                                                                               SAGINAW            MI     48602‐5666
JANET GALLO                 PO BOX 368                                                                                  DAVISON            MI     48423‐0368
JANET GAMBLE                7707 HERITAGE DR UNIT 1                                                                     LANSING            MI     48917‐5815
JANET GARDNER               2309 COUNTY ROAD 4680                                                                       BOYD               TX     76023‐4439
JANET GARDOCKI              48429 LINDON CT                                                                             SHELBY TOWNSHIP    MI     48317‐2632
JANET GARRETT               1838 SCHMIDT DRIVE                                                                          ALPENA             MI     49707‐9339
JANET GARRETT               560 VALENCIA ST                                                                             DAYTON             OH     45404‐2360
JANET GATES                 524 E SCOTT ST                                                                              GRAND LEDGE        MI     48837‐1740
JANET GENSEL                1520 CEDARWOOD DR APT 101                                                                   FLUSHING           MI     48433‐1856
JANET GENSTERBLUM           400 RIVERS EDGE LN                                                                          PORTLAND           MI     48875‐1266
JANET GENTRY                8428 JOHN ROBERT DR                                                                         OKLAHOMA CITY      OK     73135‐6070
JANET GERKE                 2861 S CYPRESS DR                                                                           CAMP VERDE         AZ     86322‐6517
JANET GIBSON                125 WALNUT DR                                                                               CHRISTIANSBURG     VA     24073‐5733
JANET GIFFORD               424 E 3RD ST                                                                                DAVISON            MI     48423‐1452
JANET GILBERT               7545 W RIKE RD                                                                              COVINGTON          OH     45318‐9648
JANET GILLESPIE             4199 MILLER RD                                                                              STERLING           MI     48659‐9445
JANET GILLISPIE             2463 HEMLOCK RD                                                                             QUINCY             MI     49082‐9631
JANET GIOVANNI              2743 WOOD ST                                                                                COOLVILLE          OH     45723‐9089
JANET GIRONDA               3174 BROOKSIDE DR                                                                           WATERFORD          MI     48328‐2596
JANET GOCHENOUR             203 N RED HILL RD                                                                           MARTINSBURG        WV     25401‐2013
JANET GOFF                  855 QUARRY RD                                                                               JAMESTOWN          OH     45335‐1442
JANET GOINGS                3528 RAVINEWOOD CT                                                                          COMMERCE           MI     48382‐1647
                                                                                                                        TOWNSHIP
JANET GOINGS                3099 S BEECHGROVE RD                                                                        WILMINGTON        OH      45177‐9175
JANET GOLE                  4197 ELEANOR DR                                                                             TROY              MI      48085‐5030
JANET GOLUB                 3995 SEEDEN ST                                                                              WATERFORD         MI      48329‐4162
JANET GOODE                 505 LENNOX RD                                                                               WILMINGTON        DE      19809‐2116
JANET GOODENOUGH            720 E SHERMAN ST                                                                            HOLLY             MI      48442‐1732
JANET GORDON                20437 ARDMORE ST                                                                            DETROIT           MI      48235‐1510
JANET GORMAN                460 BERESFORD ST                                                                            IONIA             MI      48846‐1429
JANET GORMAN                1323 PINTO RD                                                                               BOULDER CITY      NV      89005‐3111
JANET GORNEY                3049 ALCOTT AVE                                                                             FLINT             MI      48506‐2145
JANET GOUCHER               510 GREENWICH ST APT F                                                                      HOWELL            MI      48843‐1478
JANET GOVER                 13632 EUCLID STREET                                                                         GARDEN GROVE      CA      92843‐3542
JANET GRABOWSKI             4315 BAILEY AVE                                                                             AMHERST           NY      14226‐2134
JANET GRAHAM                9914 WEST MISSION MAIN                                                                      SUN CITY          AZ      85351
JANET GRAMES                3878 W WALTON BLVD                                                                          WATERFORD         MI      48329‐4269
JANET GRANGER               4504 COLUMBUS AVE                                                                           ANDERSON          IN      46013‐5100
JANET GREAR                 809 WALLIS AVE                                                                              SHARON            PA      16146‐1960
JANET GREGGS                PO BOX 165431                                                                               KANSAS CITY       MO      64116‐5431
JANET GREGORY               9166 MILLINGTON RD                                                                          VASSAR            MI      48768‐9641
JANET GREGSON               318 PEACH BLOSSOM CT                                                                        OTISVILLE         MI      48463‐9604
JANET GRIFFOR               PO BOX 992                                                                                  INTERLACHEN       FL      32148‐0992
JANET GRISCEL               1210 BUNKER HILL RD APT C                                                                   TROY              OH      45373‐1673
JANET GROSS                 4454 LITTLE COOSA RD                                                                        BLAIRSVILLE       GA      30512‐6242
JANET GUENZI                361 CENTER ST E                                                                             WARREN            OH      44481‐9304
JANET GULLIFORD             PO BOX 360764                                                                               STRONGSVILLE      OH      44136‐0013
JANET GUNTHNER              39674 SOUTHWIND LN                                                                          NORTHVILLE        MI      48168‐3494
JANET H LANGE‐STUMPF        4792 ARDMORE AVE                                                                            OKEMOS            MI      48864‐1629
JANET H MAGGARD             1200 LARREL LANE                                                                            W MILTON          OH      45383‐1151
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Name                 Address1                       Address2            Address3         Address4               City              State   Zip
JANET HABERMAN       640 STARLIGHT DR                                                                           SEVEN HILLS        OH     44131‐4042
JANET HALE           3718 MOUNT VERNON CT                                                                       HIGHLAND           MI     48356‐1641
JANET HALL           1224 BOWERS RD                                                                             MANSFIELD          OH     44903‐8656
JANET HALUSKA        303 WILLOW GROVE LN                                                                        ROCHESTER HILLS    MI     48307‐2562
JANET HAMBURG        114 E CALICO DR                                                                            RAYMORE            MO     64083‐8529
JANET HAMILTON       1956 JACKSON RD                                                                            VANDALIA           OH     45377‐9527
JANET HAMLIN         3972 BACON AVE                                                                             BERKLEY            MI     48072‐1179
JANET HAMMOND        100 W WALNUT ST APT 101                                                                    PARAGOULD          AR     72450‐3042
JANET HARBOUR        1011 SHELLBARK RD                                                                          ANDERSON           IN     46011‐2424
JANET HARENCHAR      G4282 W DODGE RD                                                                           CLIO               MI     48420
JANET HARMAN         1162 MOUNTAIN SPRINGS RD                                                                   TANNERSVILLE       VA     24377
JANET HARNESS        4789 W 700 N                                                                               SHARPSVILLE        IN     46068‐8909
JANET HARP           215 E OAK ST                                                                               BAINBRIDGE         IN     46105‐8500
JANET HARRIS         530 RANDLER AVE                                                                            VANDALIA           OH     45377‐1405
JANET HARRIS         4275 W 124TH ST                                                                            GRANT              MI     49327‐9633
JANET HARRIS         PO BOX 145                                                                                 MOUNT MORRIS       MI     48458‐0145
JANET HARRIS         6141 HACKETT                                                                               WATERFORD          MI     48327‐1744
JANET HARRIS         399 CALEDON RD                                                                             KING GEORGE        VA     22485‐7601
JANET HART           7540 PONTIAC LAKE RD                                                                       WATERFORD          MI     48327‐1425
JANET HARTING        277 PLACID CT                                                                              ANDERSON           IN     46013‐1050
JANET HARTMAN        12209 AUTUMN BREEZE DR                                                                     FORT WAYNE         IN     46845‐9128
JANET HARTWAY        62540 HAVENRIDGE RD                                                                        LENOX              MI     48048‐1229
JANET HATALA         1658 STONEHENGE AVE NE                                                                     WARREN             OH     44483‐2944
JANET HAWN           4015 KURTIS CT                                                                             KOKOMO             IN     46902‐4400
JANET HEALEY         842 E FOREST AVE                                                                           YPSILANTI          MI     48198‐3821
JANET HEBERLING      6678 TWITCHELL RD                                                                          ANDOVER            OH     44003‐9488
JANET HECHT          4516 MAIN ST                                                                               MILLINGTON         MI     48746‐9603
JANET HEETER         42 11TH ST                                                                                 NILES              OH     44446‐4316
JANET HEHR           26980 GARY AVE                                                                             EUCLID             OH     44132‐2019
JANET HELLEMS        32121 FAIRCHILD ST                                                                         WESTLAND           MI     48186‐4909
JANET HENDERSON      1880 SW COUNTY ROAD 778                                                                    FORT WHITE         FL     32038‐3164
JANET HENDERSON      3274 OAK BROOK RD                                                                          BALDWINSVILLE      NY     13027‐3513
JANET HENDLEY        2700 WESTMEADE RD                                                                          ALBANY             GA     31721‐1552
JANET HENSLEY        1402 YOULL ST                                                                              NILES              OH     44446‐3836
JANET HERNIAK        312 N BUCKEYE ST                                                                           FAIRMOUNT          IN     46928‐1414
JANET HEROLD
JANET HERREMA        725 BALDWIN #3008                                                                          JENISON           MI      49428
JANET HERRICK        10810 TOURNAMENT LN                                                                        INDIANAPOLIS      IN      46229‐4323
JANET HERSHBERGER    1006 HENRY ST                                                                              HUNTINGTON        IN      46750‐3745
JANET HEUSTED        PO BOX 351                                                                                 RUTHER GLEN       VA      22546‐0351
JANET HICKS          170 HUNTINGTON TRL                                                                         CORTLAND          OH      44410‐1600
JANET HICKS          25224 FILMORE ST                                                                           TAYLOR            MI      48180‐2079
JANET HILL           100 RIVERFRONT DR APT 1902                                                                 DETROIT           MI      48226‐4540
JANET HILLS          11181 STEPHAN BRIDGE RD                                                                    ROSCOMMON         MI      48653‐8429
JANET HOLDER         20624 ROSEDALE DR                                                                          CLINTON TWP       MI      48036‐2280
JANET HOLLIDAY       2155 TWILIGHT PASS                                                                         HOLT              MI      48842‐7708
JANET HOLLINGSHEAD   2909 RONAN ST APT 4                                                                        MIDLAND           MI      48642‐4648
JANET HOLMES         O‐425 LAKE MICHIGAN DR NW                                                                  GRAND RAPIDS      MI      49534‐3353
JANET HOOKER         11104 DELPHINIUM DR                                                                        FENTON            MI      48430‐3541
JANET HOOL           2387 4 MILE RD                                                                             KAWKAWLIN         MI      48631‐9120
JANET HOOVER         2615 W 18TH ST                                                                             ANDERSON          IN      46011‐4024
JANET HOPKINS        6313 CARNATION RD                                                                          DAYTON            OH      45449‐3057
JANET HOSANG         35417 JEFFERS CT                                                                           HARRISON TWP      MI      48045‐3225
JANET HOSLEY         3415 CARDINAL DR                                                                           SAGINAW           MI      48601‐5712
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Name                   Address1                              Address2                      Address3   Address4               City             State Zip
JANET HOWARD           1931 MIAMI ST                         P.O BOX 151                                                     KINGS MILLS       OH 45034‐1733
JANET HOWARD‐SAVAGE    707 SILVER LAKE RD                                                                                    LINDEN            MI 48451‐9135
JANET HUDDLESTON       2030 S AVERILL AVE APT 3A                                                                             FLINT             MI 48503‐4440
JANET HULET            3106 ORLEANS CT                                                                                       KOKOMO            IN 46902‐3948
JANET HUNT             5314 PATTERSON LN                                                                                     ANDERSON          IN 46017‐9754
JANET HUNT             3285 ARBUTUS DR                                                                                       SAGINAW           MI 48603‐1906
JANET HUNT             11342 RIVERSIDE DR                                                                                    STANWOOD          MI 49346‐9094
JANET HUNTER           3103 BETHLEHEM CHURCH ROAD                                                                            BUFORD            GA 30518
JANET HUNTER           41820 KING EDWARD CT                                                                                  CLINTON TOWNSHIP MI 48038‐4530

JANET HURT             1111 ELMWOOD RD APT 2027                                                                              LANSING              MI   48917‐2095
JANET HUTCHINS         2115 N BAXTER RD                                                                                      DAVISON              MI   48423‐8152
JANET I HUECKEL TTEE   FBO JANET I HUECKET TR U/A/D 8/1/74   15210 ROYAL WINDSOR LN #802                                     FORT MYERS           FL   33919
JANET I LEPORE         C/O EDWARD JONES C/F                  1198 TUNEBERG PKY                                               BELVIDERE            IL   61008‐7935
JANET I STOCKSLAGER    7000 N. VALLEY ST                                                                                     DALTON GARDENS       ID   83815‐7727
JANET ISAAC            5476 KELLY ANNE WAY                                                                                   NOBLESVILLE          IN   46062‐8494
JANET ISON             21400 DIX TOLEDO HWY APT 236                                                                          BROWNSTOWN TWP       MI   48183‐1367

JANET J GIBSON         2416 NORTHVIEW DR.                                                                                    CORTLAND             OH   44410‐1744
JANET J HILLARD        552 ADRIAN COURT                                                                                      BROOKVILLE           OH   45309
JANET J WHITE          1202 W STATE LINE RD                                                                                  TOLEDO               OH   43612‐4239
JANET JACKSON          1619 LINCOLN AVE                                                                                      PANAMA CITY          FL   32405‐3147
JANET JACKSON          5968 DOWNS RD NW                                                                                      WARREN               OH   44481‐9417
JANET JACOB            7040 WEBSTER RD                                                                                       IMLAY CITY           MI   48444‐9789
JANET JACOBS           G3275 AUGUSTA STREET                                                                                  FLINT                MI   48532‐5107
JANET JAMES            190 VILLA DR                                                                                          BROWNSVILLE          KY   42210‐9417
JANET JAMES            3652 GREEN GARDEN RD                                                                                  ALIQUIPPA            PA   15001‐1028
JANET JANKOWIAK        1513 WILLIAMSBURG RD                                                                                  FLINT                MI   48507‐5639
JANET JANKOWSKI        3118 PINEGATE DR                                                                                      FLUSHING             MI   48433‐2427
JANET JARVIS           821 OAKBROOK DR                                                                                       ASHLAND              OH   44805‐3690
JANET JENKINS          7098 FAIRVIEW AVE                                                                                     BROOKFIELD           OH   44403‐9754
JANET JENKINS          APT 7                                 2 TUDOR LANE                                                    LOCKPORT             NY   14094‐3987
JANET JENKS            PO BOX 475                                                                                            HOLLEY               NY   14470‐0475
JANET JEWELL           3095 W CASS AVE                                                                                       FLINT                MI   48504‐1209
JANET JOHNSON          8008 LAKESHORE DR                                                                                     ELLENTON             FL   34222‐4453
JANET JOHNSON          PO BOX 223                                                                                            BALDWIN              MI   49304‐0223
JANET JOHNSON          223 BRIARWOOD DR                                                                                      LAPEER               MI   48446‐3702
JANET JOHNSON          84 SPRUCE IN THE WOOD                                                                                 PORT ORANGE          FL   32129‐8929
JANET JOHNSON          4506 WHITING DR                                                                                       SEBRING              FL   33870‐8440
JANET JOHNSON          4644 FLAMINGO DR                                                                                      ZEPHYRHILLS          FL   33541‐7114
JANET JOHNSON          10120 N FENTON RD                                                                                     FENTON               MI   48430‐9603
JANET JOHNSON          51 WHITE ASH DRIVE                                                                                    ASHEVILLE            NC   22803
JANET JOHNSTON         11344 CARPENTER RD                                                                                    FLUSHING             MI   48433‐9772
JANET JONES            3036 S CENTER RD                                                                                      BURTON               MI   48519‐1412
JANET JONES            1257 GUNSMITH SCHOOL RD                                                                               BEDFORD              IN   47421‐8730
JANET JONES            13715 WOODWARD DR                                                                                     HUDSON               FL   34667‐6573
JANET JONES            6000 WESTSHORE DR                                                                                     OSCODA               MI   48750‐9683
JANET JONES            1303 60TH ST                                                                                          LA GRANGE            IL   60525‐3809
                                                                                                                             HIGHLANDS
JANET JONES            326 SOMERSET CT                                                                                       NEKOOSA              WI   54457‐9030
JANET JORDAN           1249 WILLARD AVE SE                                                                                   WARREN               OH   44484‐4441
JANET JORDAN           30002 ROSEBRIAR ST                                                                                    SAINT CLAIR SHORES   MI   48082‐2657

JANET JUNEAU           12 CLOISTER LN                                                                                        WEBSTER              NY   14580‐8839
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Name                  Address1                        Address2               Address3      Address4               City               State   Zip
JANET K DONAHUE       1185 HIGH ST NE                                                                             WARREN              OH     44483‐5859
JANET K JACKSON       5968 DOWNS RD NW                                                                            WARREN              OH     44481
JANET K MOORE         777 ROUTE 28 E                                                                              GREENFIELD          OH     45123
JANET K PHILLIPS      20665 TELEGRAPH RD              TRLR 155                                                    TRENTON             MI     48183‐1362
JANET K ROBINSON MD   ATTN: JANET K ROBINSON          1023 S JEFFERSON AVE                                        SAGINAW             MI     48601‐2525
JANET K SIMMER        3960 SILVER VALLEY DR                                                                       ORION               MI     48359‐1650
JANET KAMM            10735 E LANSING RD                                                                          DURAND              MI     48429‐1812
JANET KANEDY          10180 NORTH REYNARD ROAD                                                                    ALBANY              IN     47320‐9106
JANET KAPLAN          3581 TEXTILE RD                                                                             SALINE              MI     48176‐9791
JANET KARDOS          10434 N GENESEE RD                                                                          MOUNT MORRIS        MI     48458‐9722
JANET KAY             205 GEORGETOWN DR                                                                           WEST MEMPHIS        AR     72301‐3865
JANET KEANE           32343 SYLVAN LN                                                                             BEVERLY HILLS       MI     48025‐2926
JANET KEATON          238 LOCHMOOR                                                                                TEMPERANCE          MI     48182‐2308
JANET KEATON          2696 FACTORY RD                                                                             SPRINGBORO          OH     45066‐7770
JANET KEESEE          111 AARON DR                                                                                SOUTH POINT         OH     45680‐7121
JANET KELLER          8243 TRAFFORD CT                                                                            CANTON              MI     48187‐4450
JANET KELLER          1941 W STERNS RD                                                                            TEMPERANCE          MI     48182‐1542
JANET KEMP            1233 W HILLSDALE ST                                                                         LANSING             MI     48915‐1647
JANET KEMP            812 LAREDO CT                                                                               GRAND PRAIRIE       TX     75052‐3117
JANET KEMP            5844 RAVINE CREEK DR                                                                        GROVE CITY          OH     43123‐8597
JANET KIDWELL         469 MONROE ST                                                                               MAYNARDVILLE        TN     37807‐3426
JANET KIEFFER         2075 W FRENCH RD                                                                            SAINT JOHNS         MI     48879‐9416
JANET KIES            7733 NW ROANRIDGE RD APT C                                                                  KANSAS CITY         MO     64151‐1352
JANET KING            40 EDGEMONT ROAD                                                                            ROCHESTER           NY     14620‐4520
JANET KING
JANET KINGERY         205 HOLIDAY DR 173                                                                          GREENTOWN          IN      46936
JANET KINGSLEY        2527 BELLVILLE CT                                                                           CAPE CORAL         FL      33991‐3144
JANET KIRBY           1719 S MARKET ST                                                                            KOKOMO             IN      46902‐2234
JANET KIRBY           8258 WESTLAWN DR                                                                            FRANKLIN           OH      45005‐1936
JANET KIRKLAND        915 W WILSON ST                                                                             SALEM              OH      44460‐2022
JANET KLEIN           8117 BEECHER RD                                                                             FLUSHING           MI      48433‐9424
JANET KLENOTIC        2652 STIEGLER RD                                                                            VALLEY CITY        OH      44280‐9584
JANET KLEYA           380 W HARTFORD AVE                                                                          UXBRIDGE           MA      01569‐1122
JANET KLINSKI         445 W SALZBURG RD                                                                           AUBURN             MI      48611‐9553
JANET KLUCKMAN        2373 HWY A                                                                                  FORT ATKINSON      WI      53538
JANET KLUESENER       21 CROSBY RD APT A                                                                          MOORESVILLE        IN      46158‐7125
JANET KNIEPER         8002 ALLAN RD                                                                               NEW LOTHROP        MI      48460‐9718
JANET KOCH            726 WOODCHESTER DR                                                                          BLOOMFIELD HILLS   MI      48304‐1968
JANET KOCH            2137 AUDUBON CT                                                                             GROVE CITY         OH      43123‐1592
JANET KOCHER          2018 OHIO AVE                                                                               ANDERSON           IN      46016‐2158
JANET KOKALY          295 JACKSON ST                                                                              NEWPORT            VT      05855‐5744
JANET KOMAR           11053 CARR RD                                                                               DAVISON            MI      48423‐9317
JANET KOSINSKI        819 N HAGGERTY RD                                                                           CANTON             MI      48187‐3877
JANET KOSTECKI        5773 KENSINGTON LOOP                                                                        FORT MYERS         FL      33912‐2044
JANET KOWALCZYK       4997 BOYD AVE NE                                                                            GRAND RAPIDS       MI      49525‐1274
JANET KOWITZ          2533 BARNES RD                                                                              MILLINGTON         MI      48746‐9024
JANET KRAHN           3510 BARBERRY CIR                                                                           WIXOM              MI      48393‐1100
JANET KRAMER          3198 ERHART RD                                                                              LITCHFIELD         OH      44253‐9120
JANET KRETZ           5801 CRESCENT RD                                                                            WATERFORD          MI      48327‐2625
JANET KRUEGER         17 W HIGH ST                                                                                MILTON             WI      53563‐1625
JANET KRUSE           7242 TOTTENHAM RD                                                                           TOLEDO             OH      43617‐2200
JANET KRZESZEWSKI     11151 DAISY LN                                                                              SAGINAW            MI      48609‐9442
JANET KUKLIK          14270 OAKWOOD DR                                                                            SHELBY TOWNSHIP    MI      48315‐1450
JANET KUMHER          8973 KINGSVILLE RD.                                                                         FARMDALE           OH      44417
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Name                                  Address1                           Address2                     Address3   Address4               City            State   Zip
JANET KUMNER                          C/O BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH     44236
JANET KURY                            12330 STATE RD                                                                                    LAKE ODESSA      MI     48849‐9551
JANET KYES                            6380 N LAKESHORE DR                                                                               MACY             IN     46951‐8547
JANET KYTE                            1109 KAREN LN                                                                                     DOUGLAS          GA     31533‐3405
JANET L ALLISON TRUST DTE 2/20/2002   JANET L ALLISON TRUST              320 E 9TH ST                                                   STANBERRY        MO     64489
JANET L ANDREWS                       548 GREENLAWN ST                                                                                  YPSILANTI        MI     48198‐6158
JANET L BARKER                        7517 WILLOW GROVE RD                                                                              WYOMING          DE     19934
JANET L BARRON                        6767 WELLESLEY TER                                                                                CLARKSTON        MI     48346‐2769
JANET L BAUER                         301 MCCOSH DR                                                                                     CHESAPEAKE       VA     23320‐6107
JANET L BEASLEY                       28116 PALOMINO DR                                                                                 WARREN           MI     48093
JANET L BENNING                       3164 E SPRING VALLEY PAINTERS RD                                                                  XENIA            OH     45385‐‐ 97
JANET L BOWERS                        3520 BAKER RD                                                                                     OLIVET           MI     49076‐9422
JANET L BRADY                         1203 RICHARD ST                                                                                   MIAMISBURG       OH     45342‐1949
JANET L BULLOCK                       4913 WOODMAN PARK DR               APT 9                                                          DAYTON           OH     45432‐1125
JANET L CARTER                        15393 CHICKEN BRISTLE                                                                             FARMERSVILLE     OH     45325
JANET L CARTER                        2005 3RD AVENUE N                                                                                 GREAT FALLS      MT     59401
JANET L CORNWELL                      337 W RAVENWOOD AVE                                                                               YOUNGSTOWN       OH     44511
JANET L COX                           1050 HAVERHILL DR.                                                                                HAMILTON         OH     45013
JANET L DAMICO                        11 TWIN OAK DRIVE                                                                                 ROCHESTER        NY     14606‐4405
JANET L DOTSON                        PO BOX 321                                                                                        SUGAR GROVE      NC     28679‐0321
JANET L DYE                           1165 RIVER FOREST DRIVE                                                                           SAGINAW          MI     48638
JANET L EVANS                         800 N PLEASANT VALLEY AVE                                                                         DAYTON           OH     45404
JANET L FRAZIER                       1009 WINDSOR CROSSING LN                                                                          TIPP CITY        OH     45371‐1575
JANET L HAESSLER                      2335 DELAWARE DR                                                                                  ANN ARBOR        MI     48103
JANET L HARMAN                        80 N MIRAGE                                                                                       NAMPA            ID     83651
JANET L HOOKER                        4335 BLUEBERRY AVE APT F                                                                          DAYTON           OH     45406‐3305
JANET L JOHNSON                       30 NORTH CLINTON                   C/O CATHOLIC FAMILY CTR                                        ROCHESTER        NY     14604
JANET L KEMP                          812 LAREDO CT                                                                                     GRAND PRAIRIE    TX     75052‐3117
JANET L KNAB                          9590 PUTNAM RD                                                                                    BATAVIA          NY     14020
JANET L KOSTECKI                      5773 KENSINGTON LOOP                                                                              FORT MYERS       FL     33912‐2044
JANET L LAVERTY                       4035 S HEMLOCK LN LOT 307                                                                         MOUNT MORRIS     MI     48458
JANET L LEGUTKO                       PO BOX 546                                                                                        DAVISON          MI     48423‐0546
JANET L LIPP                          8160 CREEKWOOD DR                                                                                 DAVISON          MI     48423
JANET L LUNEKE                        1305 MASSACHUSETTS DRIVE                                                                          XENIA            OH     45385‐4750
JANET L MCFADDEN TTEE                 U/W MARY C FOSLER                  530 DUDALA CIRCLE                                              LOUDON           TN     37774‐6817
JANET L MITCHELL                      10818 W TROPICANA CIR                                                                             SUN CITY         AZ     85351‐2141
JANET L MORRIS                        41 OPEN COUNTRY CT                                                                                WENTZVILLE       MO     63385‐3652
JANET L NASTASI                       1719 DIFFORD DRIVE                                                                                NILES            OH     44446‐2833
JANET L OVERHOLSER                    7072 TIPP‐COWLESVILLE ROAD                                                                        TIPP CITY        OH     45371‐8334
JANET L OWENS                         440 BROOKHOLLOW DR                                                                                OXFORD           MI     48371‐6144
JANET L PRUITT                        933 S 4TH AVE                                                                                     SAGINAW          MI     48601‐2139
JANET L REESE                         50 PERRINE ST.                                                                                    DAYTON           OH     45410
JANET L RICHARDSON                    2823 PRESTON AVE                                                                                  DAYTON           OH     45417‐1617
JANET L RUPPERT                       8777 DEARDOFF RD                                                                                  FRANKLIN         OH     45005‐1455
JANET L SEARS                         PO BOX 5223                                                                                       TUCSON           AZ     85703‐0223
JANET L SHADLEY                       4509 LEWISBURG WESTERN RD                                                                         LEWISBURG        OH     45338‐9557
JANET L SHADLEY                       4509 LEWISBURG WESTERN RD                                                                         LEWISBURG        OH     45338‐9557
JANET L SHIVES                        5133 CHERRYWOOD CT                                                                                MINERAL RIDGE    OH     44440‐9426
JANET L STEPHENS                      518 EAST LINDEN AVENUE                                                                            MIAMISBURG       OH     45342
JANET L TIPTON                        769 SPARTAN AVE                                                                                   VANDALIA         OH     45377
JANET L VICKERS                       9459 KROETZ DR                                                                                    SHREVEPORT       LA     71118‐4042
JANET L WARD                          34 WILLIAM ST.                                                                                    W CARROLLTON     OH     45449
JANET L WATSON                        3500 NE 79TH ST                                                                                   KANSAS CITY      MO     64119‐4334
JANET L WHITNEY                       200 LEWIS ST                                                                                      TROY             MO     63379‐1618
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JANET L WILSON         405 SE DELAWARE #105                                                                       ANKENY               IA    50021‐6414
JANET L WOOD           4908 ELTER DR                                                                              MORAINE             OH     45439‐1134
JANET L WOODSON        3533 LYNN ST                                                                               FLINT               MI     48503‐4539
JANET LAFLEUR‐HUNKER   2893 GRAVEL RIDGE DR                                                                       ROCHESTER HILLS     MI     48307‐4649
JANET LAKE             2119 ASHFORD DR                                                                            DAVISON             MI     48423‐8382
JANET LAMB             13560 WARNER RD                                                                            PERRY               MI     48872‐8539
JANET LANCUSKI         4413 HEDGETHORN CIR                                                                        BURTON              MI     48509‐1248
JANET LANE             4943 CURTISS DR                                                                            LAPEER              MI     48446‐9783
JANET LANG             1122 MEADOWSWEET LN                                                                        VICKSBURG           MI     49097‐9487
JANET LANGE‐STUMPF     4792 ARDMORE AVE                                                                           OKEMOS              MI     48864‐1629
JANET LASSITER         G3207 HERRICK ST                                                                           FLINT               MI     48532‐5125
JANET LAUTENSCHLAGER   416 BOGER BOULEVARD SOUTH                                                                  LAKELAND            FL     33803‐4435
JANET LAVERTY          4035 S HEMLOCK LN LOT 307                                                                  MOUNT MORRIS        MI     48458
JANET LAVKO            10912 S KENNETH AVE                                                                        OAK LAWN             IL    60453‐5727
JANET LAWSON           2974 ASBURY CT                                                                             MIAMISBURG          OH     45342‐4433
JANET LAWSON           2063 E BUDER AVE                                                                           BURTON              MI     48529‐1731
JANET LEATHERMAN       2 AMY LYNE DR                                                                              SMITHFIELD          PA     15478‐1734
JANET LEE              PO BOX 399                                                                                 CHIPPEWA LAKE       OH     44215‐0399
JANET LEE
JANET LEGUTKO          PO BOX 546                                                                                 DAVISON            MI      48423
JANET LEININGER        PO BOX 463                                                                                 GALVESTON          IN      46932‐0463
JANET LEMEK            2101 NORTHWEST 56TH TERRACE                                                                OCALA              FL      34482‐4291
JANET LEMONS           1906B BENTON AVENUE                                                                        NICEVILLE          FL      32578‐2949
JANET LENSS            2453 REMINGTON RD              UNIT 2                                                      GREEN BAY          WI      54302‐4477
JANET LEVASSEUR        1514 S MONROE ST                                                                           BAY CITY           MI      48708‐8076
JANET LILLJEDAHL       PO BOX 173                                                                                 JONESBORO          TX      76538‐0173
JANET LINZEY           9500 JUDDVILLE RD                                                                          CORUNNA            MI      48817‐9795
JANET LIPOR            5607 COUNTY ROAD V                                                                         CALEDONIA          WI      53108‐9764
JANET LIPP             8160 CREEKWOOD DR                                                                          DAVISON            MI      48423
JANET LISTER           200 WHITE HAMPTON LN APT 306                                                               PITTSBURGH         PA      15236‐1547
JANET LOGGINS          2130 CHIP DR                                                                               LAKE HAVASU CITY   AZ      86406‐7559
JANET LONDON           978 CRESTLINE DR                                                                           AKRON              OH      44312‐3170
JANET LONGFELLOW       13177 E COUNTY ROAD 450 S                                                                  SHERIDAN           IN      46069‐9430
JANET LOOMIS           5421 CASCADE ROAD LOT 50                                                                   GREENSBORO         NC      27406
JANET LORENZ           8358 BLETZER RD                                                                            DUNDALK            MD      21222‐2829
JANET LOUDERMILK       106 CAYCE VALLEY DR                                                                        COLUMBIA           TN      38401‐5102
JANET LOUGHREY         2455 SILVER SPRINGS DR                                                                     STOW               OH      44224‐1553
JANET LOWELL           10236 E KIMBALL RD                                                                         CRYSTAL            MI      48818‐9768
JANET LOWERY‐PICKENS   12919 W BENT TREE DR                                                                       PEORIA             AZ      85383‐3933
JANET LOWREY           1714 MYRA LN                                                                               BLUFFTON           IN      46714‐1156
JANET LOYA             4705 ARCHMERE AVE                                                                          CLEVELAND          OH      44109‐5268
JANET LUCAS            16320 HIGHVIEW DR                                                                          CLEVELAND          OH      44128‐3804
JANET LUCE             8457 GIBSON RD                                                                             CANFIELD           OH      44406‐9745
JANET LUPO             1969 NEW SIGHT DR NE                                                                       BROOKHAVEN         MS      39601‐8682
JANET M AMICK          45166 GEDDES RD                                                                            CANTON             MI      48188‐2426
JANET M CATLIN         5891 N PARK AVE                                                                            BRISTOLVILLE       OH      44402
JANET M CAUSLEY        5099 HURON BREEZE DR.                                                                      AU GRES            MI      48703‐9600
JANET M CHARIKER       4 BERLANGA CIR                                                                             HOT SPRINGS        AR      71909‐4434
                                                                                                                  VILLAGE
JANET M CLARY          1215 N IRVING HEIGHTS DR                                                                   IRVING             TX      75061‐5442
JANET M COLLINS        4475 BERKSHIRE RD                                                                          INDIANAPOLIS       IN      46226‐3139
JANET M CREAN          2802 IVY CIR A                                                                             CORTLAND           OH      44410
JANET M DEZEE          3110 LYNN RD                                                                               CANFIELD           OH      44406‐9121
JANET M DYER           879 SOUTH 450 WEST CO. RD.                                                                 GREENCASTLE        IN      46135
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Name                                 Address1                       Address2            Address3         Address4               City             State   Zip
JANET M FREY                         PO BOX 494966                                                                              PORT CHARLOTTE    FL     33949‐4966
JANET M GIFFORD                      424 E 3RD ST                                                                               DAVISON           MI     48423‐1452
JANET M GOINGS                       3099 S BEECHGROVE RD                                                                       WILMINGTON        OH     45177‐9175
JANET M GORDON                       20437 ARDMORE ST                                                                           DETROIT           MI     48235‐1510
JANET M HATALA                       1658 STONEHENGE AVE NE                                                                     WARREN            OH     44483
JANET M HICKS                        25224 FILMORE ST                                                                           TAYLOR            MI     48180‐2079
JANET M HOLMES                       O‐425 LAKE MICHIGAN DR NW                                                                  GRAND RAPIDS      MI     49534‐3353
JANET M HOPKINS                      6313 CARNATION RD                                                                          DAYTON            OH     45449‐3057
JANET M JOHNSON                      84 SPRUCE IN THE WOOD                                                                      PORT ORANGE       FL     32129‐8929
JANET M KEESEE                       25550 PENNIE ST                                                                            DEARBORN HTS      MI     48125‐1557
JANET M KITCHEN                      PO BOX 135                                                                                 DEFORD            MI     48729‐0135
JANET M LASSITER                     G3207 HERRICK ST                                                                           FLINT             MI     48532‐5125
JANET M LORENZ                       8358 BLETZER RD                                                                            BALTIMORE         MD     21222‐2829
JANET M MACOMBER‐KOCH                556 GILMORE ROAD                                                                           BROCKPORT         NY     14420‐9409
JANET M MARTIN                       7545 FENNER RD                                                                             LAINGSBURG        MI     48848‐9711
JANET M MARTIN                       1798 E MOORE RD                                                                            SAGINAW           MI     48601‐9353
JANET M MILLER                       303 CRESTWOOD ST                                                                           TILTON             IL    61833‐7526
JANET M MITCHEL                      204 MYRTLE RD                                                                              PORT TOWNSEND     WA     98368‐9094
JANET M MORRIS                       505 E MOLLOY RD                                                                            MATTYDALE         NY     13211‐1643
JANET M MULLEN                       8003 BOUNDARY DR                                                                           FORESTVILLE       MD     20747
JANET M OZVATH                       993 PRINCEWOOD AVE                                                                         DAYTON            OH     45429‐5859
JANET M POWERS                       2083 FALLING FOREST LANE                                                                   KEMAH             TX     77565
JANET M POWERS                       581 HOWLAND WILSON RD SE                                                                   WARREN            OH     44484‐2545
JANET M RANIEWICZ                    29 HUTTON CIRCLE                                                                           CHURCHVILLE       NY     14428‐9107
JANET M REED                         85 MAPLE AVE                                                                               PATCHOGUE         NY     11772
JANET M REED                         938 RITSHER ST                                                                             BELOIT            WI     53511‐4845
JANET M RHOADS                       7692 GOLDEN HILL CT                                                                        CLARKSTON         MI     48348‐4752
JANET M RUSCH                        311 26TH AVE                                                                               MONROE            WI     53566
JANET M SAHL                         12835 MAYFLOWER DR                                                                         NEVADA CITY       CA     95959
JANET M SCHROERING                   15740 SOUTHERN GARDEN LN                                                                   CHARLOTTE         NC     28278‐7247
JANET M SEIBER                       4889 CORDELL DRIVE                                                                         DAYTON            OH     45439‐3113
JANET M SISCO                        1330 W ALEXIS RD LOT 102                                                                   TOLEDO            OH     43612‐4283
JANET M USHER                        7103 SHELDON RD                                                                            BELLEVILLE        MI     48111‐5107
JANET M WEBBER                       8217 LORAIN STREET                                                                         MASURY            OH     44438
JANET M. HOSIER
JANET M. MULLEN                      8003 BOUNDARY DR                                                                           FORESTVILLE      MD      20747
JANET MAC INTOSH                     2168 GOLFCREST DR                                                                          COMMERCE         MI      48382‐1256
                                                                                                                                TOWNSHIP
JANET MACGIRR                        1261 WHEATLEY FOREST DR                                                                    BRENTWOOD        TN      37027‐8343
JANET MACHINGO                       PO BOX 837                                                                                 CANFIELD         OH      44406‐0837
JANET MACINTOSH                      6374 GOLF VIEW DR                                                                          CLARKSTON        MI      48346‐3082
JANET MAHAN                          3888 SECTION RD                                                                            NASHVILLE        MI      49073‐9134
JANET MANGAS                         363 PATTI LN                                                                               LEIPSIC          OH      45856‐1361
JANET MANNING                        1650 S STATE ROUTE 721                                                                     LAURA            OH      45337‐9785
JANET MARIE GROCHOCINSKI REVOCABLE   VINCENT A GROCHOCINSKI         607 S WILLIAM ST                                            MT PROSPECT      IL      60056
TRUST
JANET MARSHALL                       3102 BROWNELL BLVD                                                                         FLINT            MI      48504‐2504
JANET MARTIN                         190 QUARRY HILL EST                                                                        AKRON            NY      14001‐9788
JANET MARTIN                         602 KNOLL WOOD LN                                                                          GREENTOWN        IN      46936‐9617
JANET MARTIN                         706 BROADWAY ST                                                                            YOUNGSTOWN       OH      44510‐1414
JANET MARTIN                         1798 E MOORE RD                                                                            SAGINAW          MI      48601‐9353
JANET MARZETT                        1801 E 16TH ST                                                                             KANSAS CITY      MO      64127‐2513
JANET MASER                          7790 SAUNDERS RD                                                                           BENTLEY          MI      48613‐9622
JANET MASON                          1737 BROADWAY ST                                                                           ANDERSON         IN      46012‐2446
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JANET MASON          5007 W COUNTRY CLUB DR                                                                         SARATOGA         FL     34243‐4716
JANET MATHENIA       232 HIGH ST                                                                                    GRAND BLANC      MI     48439‐1337
JANET MAXSON         4095 TRIWOOD RD                                                                                BRIDGEPORT       MI     48722‐9576
JANET MAXWELL        9000 E JEFFERSON AVE APT 17‐8                                                                  DETROIT          MI     48214‐4199
JANET MC ALPINE      4482 BURLINGTON BOX 5                                                                          CLIFFORD         MI     48727
JANET MC CARTER      1669 SALT RD                                                                                   PENFIELD         NY     14526‐1829
JANET MC CLELLAN     4027 STONEBRIDGE                                                                               HOLLY            MI     48442‐9529
JANET MC CLURE       3756 MENNONITE RD                                                                              MANTUA           OH     44255‐9296
JANET MC GINNIS      13001 NW 78TH TER                                                                              PARKVILLE        MO     64152‐1384
JANET MC LEAN DAME   10110 MILDRED DR                                                                               HAGERSTOWN       MD     21740‐9547
JANET MC PHERSON     1335 WINDWARD CIR                                                                              NICEVILLE        FL     32578‐4310
JANET MCARTHUR       5731 W 18TH ST                                                                                 SPEEDWAY         IN     46224‐5314
JANET MCCLUNG        119 OAKWOOD DR                                                                                 WEST MONROE      LA     71291‐6954
JANET MCCLUNG        BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH     44236
JANET MCCOY          35 ALLEN AVE                                                                                   NEW HOLLAND      OH     43145‐9640
JANET MCCULLOUGH     4419 MOUNDS RD                                                                                 ANDERSON         IN     46017‐1840
JANET MCDANIEL       2087 ROLAND AVE                                                                                FLINT            MI     48532‐3920
JANET MCDANIEL       125 S MUSTIN DR                                                                                ANDERSON         IN     46012‐3155
JANET MCFALL         12296 NATIONAL DR                                                                              GRAFTON          OH     44044‐9542
JANET MCGEE          4168 MCCANDLISH RD                                                                             GRAND BLANC      MI     48439‐1802
JANET MCGEE          1847 STANLEY CREEK RD                                                                          ONEIDA           TN     37841‐7443
JANET MCGILL
JANET MCGUIRE        4546 HEARTHRIDGE DR                                                                            JANESVILLE      WI      53546‐2171
JANET MCINTOSH       3109 EAST OAKLAWN DRIVE                                                                        MUNCIE          IN      47303‐9437
JANET MCKIMMY        915 WAXEN WAY                                                                                  GRAND LEDGE     MI      48837‐2247
JANET MCKIMMY        16878 LOCH CIR                                                                                 NOBLESVILLE     IN      46060‐4483
JANET MCKINNEY       161 CHESTNUT AVE                                                                               CARLISLE        OH      45005‐5801
JANET MCKINNEY       845 WESTGATE DR                                                                                ANDERSON        IN      46012‐9246
JANET MCNALLY        912 CHASE ST                                                                                   BAY CITY        MI      48708‐6235
JANET MCNIEL         9407 APPLE BLOSSOM CT                                                                          DAVISON         MI      48423‐1197
JANET MCROBB         10200 GIBBS RD                                                                                 CLARKSTON       MI      48348‐1516
JANET MEISTER        APT 2206                        1725 35TH STREET                                               OAK BROOK       IL      60523‐2647
JANET MERRYMAN       2800 S TURNER RD                                                                               CANFIELD        OH      44406‐8623
JANET MILANOWSKI     386 MEADOWBROOK CIR                                                                            LIVINGSTON      TN      38570‐6018
JANET MILLER         303 CRESTWOOD ST                                                                               TILTON          IL      61833‐7526
JANET MILLER         24 DI FRANCO LN                                                                                O FALLON        MO      63366‐2722
JANET MILLER         3555 DIAMONDALE DR W                                                                           SAGINAW         MI      48601‐5808
JANET MILLER         2 ELIZABETH AVE APT 4                                                                          MASSENA         NY      13662‐3505
JANET MILLER         4701 HILLTOP DR                                                                                OCEAN SPRINGS   MS      39564‐6008
JANET MILLER         14242 LANDINGS WAY                                                                             FENTON          MI      48430‐1318
JANET MILLER         HC 89 BOX 1972                                                                                 BARBOURVILLE    KY      40906
JANET MILLER         793 MCPHERSON ST                                                                               MANSFIELD       OH      44903‐7138
JANET MILLER         2618 ANDREW CT                                                                                 MUNCIE          IN      47302‐5513
JANET MILLS          1709 NORTH ST                                                                                  STERLING        IL      61081‐3043
JANET MINCE          931 TACKEN ST                                                                                  FLINT           MI      48532‐5073
JANET MINCE          612 STONE CREEK PASS                                                                           CLIO            MI      48420‐2029
JANET MINER          3855 KLAM RD                                                                                   COLUMBIAVILLE   MI      48421‐9374
JANET MINOR          UPPR                            3469 EAST 119TH STREET                                         CLEVELAND       OH      44120‐4315
JANET MIRACLE        19775 NEGAUNEE                                                                                 REDFORD         MI      48240‐1643
JANET MITCHELL       33 OAK ST APT 5G                                                                               WHITE PLAINS    NY      10603‐2632
JANET MITCHELL       10818 W TROPICANA CIR                                                                          SUN CITY        AZ      85351‐2141
JANET MITZEL         12 LILA LN                                                                                     FLORISSANT      MO      63033‐5406
JANET MOHR           BX55                                                                                           BERKEY          OH      43504
JANET MOLLEMA        4200 ANGELS PASS                                                                               PINCKNEY        MI      48169‐9005
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JANET MOODY             13201 SPRECHER AVE                                                                         CLEVELAND       OH     44135‐5045
JANET MOON              1635 HERON DR S                                                                            LORIDA          FL     33857‐9753
JANET MOORE             777 ROUTE 28 E                                                                             GREENFIELD      OH     45123
JANET MOORE             2000 N BLUE BLUFF RD                                                                       MARTINSVILLE    IN     46151‐7436
JANET MOORE             4415 CAMPBELL AVE                                                                          INDIANAPOLIS    IN     46226‐3326
JANET MOORE             246 SOUTHERLY HILLS DR                                                                     ENGLEWOOD       OH     45322‐2336
JANET MOORE             39 MURDOCK ST LOT H                                                                        FRANKLIN        PA     16323‐2540
JANET MOORE             165 CHESTERTON RD                                                                          ROCHESTER       NY     14626‐2141
JANET MOORE             21990A CREEK RD                                                                            GULF SHORES     AL     36542‐9059
JANET MORAN             133 SOUTHWOOD DR                                                                           BOSSIER CITY    LA     71111‐6050
JANET MOREY‐ABBOTT      4810 CAREFREE DR                                                                           LAS VEGAS       NV     89122‐7551
JANET MORRIS            41 OPEN COUNTRY CT                                                                         WENTZVILLE      MO     63385‐3652
JANET MORRIS            2395 SPENCERPORT RD                                                                        SPENCERPORT     NY     14559‐2028
JANET MORRIS            3540 ARGONNE FOREST LN                                                                     DUNCANVILLE     AL     35456‐2139
JANET MORRIS            108 N 8TH AVE APT B                                                                        DILLON          SC     29536‐3530
JANET MORRIS‐HARROLD    1382 W MOUNT MORRIS RD                                                                     MOUNT MORRIS    MI     48458‐1830
JANET MOSS              54 WOOD AV.                                                                                TRUMBULL        CT     06611
JANET MOTZ              7652 WILLOW RDG                                                                            FISHERS         IN     46038‐2297
JANET MUELLER           5231 MADISON AVE               APT 86                                                      OKEMOS          MI     48854‐1172
JANET MURPHY            1322 VALLEY ST                                                                             DAYTON          OH     45404‐2272
JANET MURPHY            4237 REGAL AVE                                                                             BRUNSWICK       OH     44212‐2960
JANET MYERS             10071 N NARROWS RD                                                                         MARSHALL        IN     47859‐8872
JANET MYERS             HC 6 BOX 123                                                                               DONIPHAN        MO     63935‐9004
JANET N JENKINS         2023 SHERMAN AVENUE                                                                        MIDDLETOWN      OH     45044
JANET N ROMEYN IRA      1275 PINE EDGE DR                                                                          LA HABRA        CA     90631‐8505
JANET NADOLNY           359 KEARNY ROAD                                                                            BURLINGTON      WI     53105
JANET NAPIER            1017 SUMMER ST                                                                             HAMILTON        OH     45013‐2831
JANET NAPPIER           6321 BLUE STONE DR                                                                         LANSING         MI     48917‐1288
JANET NAUYOKAS          37705 N CAPITOL CT                                                                         LIVONIA         MI     48150‐5002
JANET NELSON            861 S ROYSTON RD                                                                           EATON RAPIDS    MI     48827‐9095
JANET NELSON            7006 DOUGLAS RD                                                                            LAMBERTVILLE    MI     48144‐9486
JANET NEMETH            2731 WEST ROBIN DRIVE          LOT 276                                                     SAGINAW         MI     48601
JANET NESBIT            11507 COASTAL WAY                                                                          INDIANAPOLIS    IN     46229‐5216
JANET NEUBERGER         1560 WAKEFIELD AVE                                                                         YOUNGSTOWN      OH     44514‐1059
JANET NEVILLE           7101 SW 93RD STREET RD                                                                     OCALA           FL     34476‐9231
JANET NEWBOLD           2220 W BLACKMORE RD                                                                        MAYVILLE        MI     48744‐9783
JANET NEWBY             923 N COTTONWOOD ST                                                                        FAIRMOUNT       IN     46928‐1035
JANET NICKERSON         1369 HORNBEAM COURT                                                                        N FT MYERS      FL     33917‐3477
JANET NIEMESCH‐KAMBER   5900 SEQUOIA DR                                                                            PARMA           OH     44134‐6018
JANET NINK              3571 GREENVIEW CT S.E.#100                                                                 GRAND RAPIDS    MI     49546
JANET NOEL              20984 GEORGETOWN RD                                                                        LAWRENCEBURG    IN     47025‐7458
JANET NOEL              7421 S COUNTY ROAD 400 W                                                                   MUNCIE          IN     47302‐8185
JANET NORDNESS          PO BOX 296                                                                                 GRABILL         IN     46741‐0296
JANET NUCKLES           3625 N WINDSOR PL                                                                          MARTINSVILLE    IN     46151‐5987
JANET O LUCE            8457 GIBSON ROAD                                                                           CANFIELD        OH     44406‐9745
JANET O'SHAUGHNESSEY    14420 LIMERICK                                                                             SOMERSET        MI     49281
JANET OAKLEY            11136 WOODFIELD PKWY                                                                       GRAND BLANC     MI     48439‐9452
JANET OAKS              42647 REDFERN ST                                                                           CANTON          MI     48187‐3453
JANET OAKS              1766 E M‐30                                                                                ALGER           MI     48610
JANET OPILA             11281 E LIPPINCOTT BLVD                                                                    DAVISON         MI     48423‐9127
JANET ORNDORF           5677 MAYVILLE DR                                                                           DAYTON          OH     45432‐1762
JANET OSHEA             304 EARLSFIELD LN                                                                          SAINT LOUIS     MO     63125‐3311
JANET OSTRANDER         14670 S MERRILL RD                                                                         ELSIE           MI     48831‐9227
JANET OTT               4486 CLARK SHAW RD                                                                         POWELL          OH     43065‐9715
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Name                               Address1                       Address2              Address3              Address4               City              State   Zip
JANET OVERALL                      13374 LAKE POINT BLVD                                                                             BELLEVILLE         MI     48111‐2286
JANET OVERLEY                      250 S COATS RD                                                                                    OXFORD             MI     48371‐4209
JANET OWEN                         504 FRANKLYNN DR                                                                                  LANSING            MI     48917‐2403
JANET OWENS                        440 BROOKHOLLOW DR                                                                                OXFORD             MI     48371‐6144
JANET OWENS                        1340 GAHAN DR                                                                                     FLORISSANT         MO     63031‐7808
JANET OWENS                        742 SPENCER LN                                                                                    LINDEN             MI     48451‐8507
JANET OYLER                        135 SCOTT ST                                                                                      HOLLISTER          MO     65672‐5188
JANET OZVATH                       993 PRINCEWOOD AVE                                                                                DAYTON             OH     45429‐5859
JANET P CASSIDY                    428 LAIRD AVE                                                                                     WARREN             OH     44483
JANET PACHELL                      1815 CANFIELD RD                                                                                  YOUNGSTOWN         OH     44511‐3024
JANET PACK                         BOX 584                                                                                           MINATARE           NE     69656
JANET PAGEL                        1316 LAPHAM ST                                                                                    JANESVILLE         WI     53546‐5511
JANET PAHMAN                       6112 W COLDWATER RD                                                                               FLUSHING           MI     48433‐9007
JANET PAPIEZ                       212 N GATES RD                                                                                    SANDUSKY           MI     48471‐9778
JANET PARKER                       5191 FLAGLER ST                                                                                   FLINT              MI     48532‐4139
JANET PARTIN                       325 PARK ST                                                                                       CLIO               MI     48420‐1417
JANET PATE                         3223 N LOCKWOOD RIDGE RD       LOT 129‐D                                                          SARASOTA           FL     34234
JANET PATELLA                      4881 RIDGLEA AVE                                                                                  BUENA PARK         CA     90621‐1434
JANET PATTERSON                    6740 SARA COURT                                                                                   PLAINFIELD         IN     46168‐7892
JANET PAULSON                      9058 N ARROWHEAD SHORES RD                                                                        EDGERTON           WI     53534‐8971
JANET PAYNTER                      3219 OLD FARM RD                                                                                  KALAMAZOO          MI     49004‐4318
JANET PAYTON                       1721 ANITA AVE                                                                                    GROSSE POINTE      MI     48236‐1439
                                                                                                                                     WOODS
JANET PAYTON                       737 N NORMAN AVE                                                                                  MOORE             OK      73160‐1928
JANET PEASE                        1340 STERLING DR                                                                                  CORTLAND          OH      44410‐9222
JANET PERRY                        11086 EMBASSY DR                                                                                  CINCINNATI        OH      45240‐3029
JANET PETERFI                      12057 S SAGINAW ST APT 23                                                                         GRAND BLANC       MI      48439‐1431
JANET PETERS                       309 GLENWOOD AVE                                                                                  YPSILANTI         MI      48198‐5981
JANET PETO                         326 NORTH DR                                                                                      DAVISON           MI      48423‐1627
JANET PFEIL                        523 BROOKDALE DR                                                                                  WEST JEFFERSON    OH      43162‐1001
JANET PHILLIPS                     1244 BAY HL                                                                                       WATERFORD         MI      48327‐1480
JANET PICCIANO                     10068 HAWLEY DR                                                                                   NORTH ROYALTON    OH      44133‐1418
JANET PIOVESANA                    37261 GREGORY DR                                                                                  STERLING HTS      MI      48312‐1921
JANET PISKUN                       13915 PINE LAKE AVE                                                                               CEDAR SPRINGS     MI      49319‐9389
JANET PITCOCK                      7227 SWALLOW LN                                                                                   PLAINFIELD        IN      46168‐1881
JANET PLUMLEY                      291 NEWPORT T                                                                                     DEERFIELD BEACH   FL      33442‐2670
JANET PLUSKWA                      969 WHIPORWILL DR                                                                                 PORT ORANGE       FL      32127‐5990
JANET POLK                         4092 EASTSIDE CT                                                                                  WINSTON SALEM     NC      27127‐1010
JANET POLSTON                      1975 E CHADWICK RD                                                                                DEWITT            MI      48820‐8438
JANET PORTIS                       5755 HARTLE DR                                                                                    INDIANAPOLIS      IN      46216‐2134
JANET POWERS                       2083 FALLING FOREST LN                                                                            KEMAH             TX      77565‐3241
JANET PRATHER                      224 SW 148TH ST                                                                                   OKLAHOMA CITY     OK      73170‐7274
JANET PRICE                        PO BOX 19117                                                                                      EVANSPORT         OH      43519‐0117
JANET PRIVETT                      2605 W LINCOLNSHIRE DR                                                                            MUNCIE            IN      47304‐1314
JANET PRUITT                       933 S 4TH AVE                                                                                     SAGINAW           MI      48601‐2139
JANET PULLEN                       8845 S COUNTY ROAD 1000 E                                                                         GALVESTON         IN      46932‐8926
JANET PYNE                         560 ECHO HOLLOW DR                                                                                HARRISON          MI      48625‐9451
JANET PYTKO                        13 NORTHGATE DR                                                                                   HOWELL            NJ      07731‐1837
JANET QUATE                        502 LITTLE RIVER PATH                                                                             THE VILLAGES      FL      32162‐6027
JANET QUIRK                        PO BOX 155                                                                                        SHARPSVILLE       IN      46068‐0155
JANET R DURHAM PERSONAL            JANET R DURHAM                 C/O BRAYTON PURCELL   222 RUSH LANDING RD                          NOVATO            CA      94948‐6169
REPRESENTATIVE FOR JACK L DURHAM
JANET R GENTRY                     8428 JOHN ROBERT DR                                                                               OKLAHOMA CITY     OK      73135‐6070
JANET R HENSLEY                    1402 YOULL ST.                                                                                    NILES             OH      44446‐3836
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Name                         Address1                       Address2            Address3         Address4               City            State   Zip
JANET R HILLS                11181 STEPHAN BRIDGE RD                                                                    ROSCOMMON        MI     48653‐8429
JANET R MCKINNEY             161 CHESTNUT AVENUE                                                                        CARLISLE         OH     45005‐5801
JANET R MINOFF               650 BUCKEYE DR                                                                             SHARPSVILLE      PA     16150‐8316
JANET R OYLER                135 SCOTT STREET                                                                           HOLISTER         MO     65672
JANET R SAVU                 545 WATERSEDGE DRIVE                                                                       EDGEMONT         AR     72044
JANET R SIMPSON              914 WOODLAND AVE                                                                           PONTIAC          MI     48340‐2568
JANET R SMITH                6511 WOODRIDGE WAY SW                                                                      WARREN           OH     44481‐9626
JANET R SOWINSKI             PO BOX 11267                                                                               ST PAUL          MN     55111
JANET R. SOWINSKI            PO BOX 11267                                                                               ST PAUL          MN     55111
JANET RADKE                  4414 OZARK AVE                                                                             NORTH PORT       FL     34287‐3946
JANET RAMSAY                 9640 ELIZABETH LAKE RD                                                                     WHITE LAKE       MI     48386‐2723
JANET RANEY                  218 VALENTI COUNTRY EST                                                                    ONEIDA           NY     13421‐2603
JANET RATCLIFF               2805 DORAL PARK CT                                                                         KOKOMO           IN     46901‐7022
JANET REARDON                1 NICHOLAS RD                                                                              MILFORD          MA     01757‐1861
JANET REAUME                 2001 ELVA ST APT 702                                                                       MT PLEASANT      MI     48858‐4456
JANET REED                   11427 SEYMOUR RD                                                                           BURT             MI     48417‐2152
JANET REED                   174 THOMAS RD                                                                              LIVINGSTON       TN     38570‐4106
JANET REED                   938 RITSHER ST                                                                             BELOIT           WI     53511‐4845
JANET REED                   467 S GEBHART CHURCH RD                                                                    MIAMISBURG       OH     45342‐3606
JANET REGAN                  6691 TIMARU CIR                                                                            CYPRESS          CA     90630‐5760
JANET RHOADS                 7692 GOLDEN HILL COURT                                                                     CLARKSTON        MI     48348‐4752
JANET RICHARDSON             PO BOX 124                                                                                 FOSTORIA         MI     48435‐0124
JANET RICHARDSON             16470 DUSKLIGHT DR                                                                         FENTON           MI     48430‐8953
JANET RICHARDSON‐REININGER   19028 CRAIG ST                                                                             NEW BOSTON       MI     48164‐9500
JANET RICHMOND               2307 W AIRPORT RD                                                                          PERU             IN     46970‐7235
JANET RIESER                 245 ROSEGARDEN DR NE                                                                       WARREN           OH     44484‐1826
JANET RIETH                  777 S HADLEY RD                                                                            ORTONVILLE       MI     48462‐8662
JANET RIKE                   410 HORN ST BOX 331                                                                        LEWISBURG        OH     45338
JANET RINGLEIN               1013 LEISURE DR                                                                            FLINT            MI     48507‐4043
JANET RINKE                  12200 WHITE LAKE RD                                                                        FENTON           MI     48430‐2571
JANET RITENBURGH             4304 BRAYAN DR                                                                             SWARTZ CREEK     MI     48473‐8823
JANET ROBERTS                3520 NW 70TH ST                                                                            KANSAS CITY      MO     64151‐2000
JANET ROBERTS                24454 PENNIE ST                                                                            DEARBORN HTS     MI     48125‐2016
JANET ROBINSON               4113 MCCLAY RD                                                                             SAINT CHARLES    MO     63304‐7917
JANET ROBINSON               3134 SOMERSET GREEN CT                                                                     SAINT LOUIS      MO     63136‐2413
JANET ROBINSON               8809 ROYAL GRAND                                                                           REDFORD          MI     48239‐1741
JANET ROCKENFELDER           2590 ST RT 96 R1                                                                           ASHLAND          OH     44805
JANET ROCKWOOD               98 PROSPECT ST                                                                             LOCKPORT         NY     14094‐4247
JANET RODRIGUEZ              6428 W COURT ST                                                                            FLINT            MI     48532‐5334
JANET RONDERS                2185 TALL OAKS DR                                                                          DAVISON          MI     48423‐2131
JANET RONDO                  24 HUNTERS WOODS CT                                                                        HARPERS FERRY    WV     25425‐5069
JANET ROOT                   4217 STONY AVE                                                                             KALAMAZOO        MI     49004‐9190
JANET ROSCOE                 8111 AUTUMN WOODS TRL                                                                      YPSILANTI        MI     48198‐3291
JANET ROSE                   395 MILL ST APT C                                                                          FARWELL          MI     48622‐9330
JANET ROSEGART               4324 RURAL ST                                                                              WATERFORD        MI     48329‐1653
JANET ROSENCRANTZ            4835 S BILL RD                                                                             DURAND           MI     48429‐9787
JANET ROSS                   350 CAROLINA AVE APT 206                                                                   WINTER PARK      FL     32789‐3152
JANET ROZUMNY                3322 S PLAIN RD                                                                            CARO             MI     48723‐9427
JANET RUARK                  33318 W NORTH SHORE DR                                                                     ECKERMAN         MI     49728‐9468
JANET RULE                   2918 SEEBALDT AVENUE                                                                       WATERFORD        MI     48329‐4143
JANET RUNYON                 13748 MARTIN RD                                                                            WARREN           MI     48088‐4365
JANET RUSH                   6634 ERVIN ST                                                                              MARLETTE         MI     48453‐1201
JANET RYBURN                 8183 LENORE ST                                                                             DEARBORN HTS     MI     48127‐1339
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Name                                    Address1                        Address2                           Address3   Address4               City               State Zip
JANET S CARR LIVING TRUST U/A DTD 02‐   CATHERINE FUNK TTEE             309 CR 3633                                                          LAMAR               AR 72846
22‐84
JANET S DUNHAM                          3509 TEMPLETON RD NW                                                                                 WARREN             OH   44481‐9151
JANET S FERGUSON                        59 CENTRAL AVENUE                                                                                    WEST ALEXANDRIA    OH   45381

JANET S FORGACS                         9 SR 14                                                                                              NORTH BENTON       OH   44449‐9723
JANET S HAMILTON                        1956 JACKSON RD                                                                                      VANDALIA           OH   45377
JANET S ISON                            21400 DIX TOLEDO HWY APT 236                                                                         BROWNSTOWN TWP     MI   48183‐1367

JANET S JACKSON                         59 SEWARD ST APT 401                                                                                 DETROIT            MI   48202‐2452
JANET S JONES                           849 FOLEY DR                                                                                         VANDALIA           OH   45377
JANET S LACKEY                          3621 BLACK RD                                                                                        RAINBOW CITY       AL   35906‐8628
JANET S LUPO                            1969 NEW SIGHT DR. NE                                                                                BROOKHAVEN         MS   39601‐8682
JANET S MCCORMICK                       4044 US ROUTE 422                                                                                    SOUTHINGTON        OH   44470
JANET S MERCANDINO                      6338 DOWNS RD NW                                                                                     WARREN             OH   44481
JANET S NEUBERGER                       1560 WAKEFIELD AVE.                                                                                  YOUNGSTOWN         OH   44514‐1059
JANET S NEVILLE                         7101 SW 93RD ST RD                                                                                   OCALA              FL   34476‐9231
JANET S QUIRK                           BOX 155 107 EAST ST                                                                                  SHARPSVILLE        IN   46068
JANET S REEVES                          2897 SHAR PEI LN SW                                                                                  BOGUE CHITTO       MS   39629
JANET S ROSS                            2116 HENRY STREET                                                                                    FAIRBORN           OH   45324
JANET S SORIANO                         2705 ROSEWAE DR.                                                                                     YOUNGSTOWN         OH   44511‐2248
JANET S STAHL                           114 W DEFENBAUGH ST                                                                                  KOKOMO             IN   46902
JANET S TAYLOR                          422 W LIBERTY ST                                                                                     HUBBARD            OH   44425
JANET SAGE                              8197 IRISH RD                                                                                        MILLINGTON         MI   48746‐8718
JANET SAGERT                            14572 EMERSON DR                                                                                     STERLING HEIGHTS   MI   48312‐5755
JANET SALTER                            2906 NORTHVIEW BLVD APT 1                                                                            YOUNGSTOWN         OH   44504
JANET SALYER                            105 HERITAGE GREEN AVENUE                                                                            MONROE             OH   45050
JANET SANCHEZ                           9844 S COUNTY LINE RD                                                                                GAINES             MI   48436‐8801
JANET SANDERS                           9335 SOUTHEASTERN ST                                                                                 WHITE LAKE         MI   48386‐3157
JANET SANSOTE                           1009 W MILLINGTON RD                                                                                 FOSTORIA           MI   48435‐9731
JANET SANTAMOUR                         4013 ARNST WAY                                                                                       SPRING HILL        TN   37174‐9265
JANET SAPP                              695 N MORRISON RD                                                                                    WEST BRANCH        MI   48661‐9517
JANET SARRETT                           13179 GRAPE CT                                                                                       THORNTON           CO   80241‐2319
JANET SAVU                              545 WATERSEDGE DR                                                                                    EDGEMONT           AR   72044‐9602
JANET SAWTELLE                          3957 RIDGE RD                                                                                        CORTLAND           OH   44410‐9704
JANET SBIHLI                            2111 KINGS PINE DR                                                                                   JOHNS ISLAND       SC   29455‐6212
JANET SCHEIDERER                        410 ONTARIO ST                                                                                       HURON              OH   44839‐1727
JANET SCHNEEBERGER                      PO BOX 251                                                                                           BEAR LAKE          MI   49614‐0251
JANET SCHNIPKE & STATE FARM MUTUAL      C/O ZEEHANDELAR SABATINO &      471 EAST BROAD STREET SUITE 1200                                     COLUMBUS           OH   43215
AUTOMOBILE INSURANCE COMPANY            ASSOCIATES LLC

JANET SCHULTE                           51 FRONT ST APT 3                                                                                    OLD TOWN           ME   04468‐1181
JANET SCHWAB                            1201 E HOTCHKISS RD                                                                                  BAY CITY           MI   48706‐9726
JANET SCOTT                             1020 ALTON RD                                                                                        PORT CHARLOTTE     FL   33952‐1736
JANET SEARS                             PO BOX 5223                                                                                          TUCSON             AZ   85703‐0223
JANET SEEDORF                           4512 ROAD F                                                                                          DESHLER            OH   43516
JANET SEIBER                            4889 CORDELL DR                                                                                      DAYTON             OH   45439‐3113
JANET SEIBERT                           PO BOX 48                                                                                            WHITTAKER          MI   48190‐0048
JANET SELLECK                           720 W 4TH ST                                                                                         PINCONNING         MI   48650‐7020
JANET SETTIMO                           180 N CANFIELD NILES RD                                                                              AUSTINTOWN         OH   44515‐1902
JANET SHADLEY                           4509 LEWISBURG WESTERN RD                                                                            LEWISBURG          OH   45338‐9557
JANET SHANK                             126 OAKDALE RD                                                                                       N VERSAILLES       PA   15137‐1903
JANET SHANNON                           271 CHANDLER ST                                                                                      PONTIAC            MI   48342‐2805
JANET SHARP                             10925 HARRISON ST                                                                                    KANSAS CITY        MO   64131‐3535
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Name                 Address1                           Address2              Address3   Address4               City               State Zip
JANET SHEA P         76 ELDERWOOD VILLAGE BUFFALO STR                                                           HAMBURG             NY 14075
JANET SHEARER        30110 FINK AVE                                                                             FARMINGTON HILLS    MI 48336‐3414

JANET SHELTON        PO BOX 459                                                                                 DAVISON            MI   48423‐0459
JANET SHEPARD        500 TRANSIT ST                                                                             BAY CITY           MI   48706‐4160
JANET SHERMER        4009 ROBINHOOD RD                                                                          WINSTON SALEM      NC   27106‐4736
JANET SHIVES         5133 CHERRYWOOD CT                                                                         MINERAL RIDGE      OH   44440‐9426
JANET SHKORUPA       1290 W DIAMOND VALLEY DR                                                                   SAINT GEORGE       UT   84770‐6008
JANET SHUGARTS       3511 BRADLEY BROWNLEE RD                                                                   CORTLAND           OH   44410‐8716
JANET SIBOLSKI       18 WILSON PKWY                                                                             LOCKPORT           NY   14094‐3927
JANET SIEDMIORKA     31216 E WIND DR                                                                            FRASER             MI   48026‐2412
JANET SIEGEL         300 N. LASALLE STREET                                                                      CHICAGO            IL   60654
JANET SILVEY         100 EMS C17 LN                                                                             WARSAW             IN   46582
JANET SIMMER         3960 SILVER VALLEY DR                                                                      ORION              MI   48359‐1650
JANET SIMMONS        824 OAKWOOD AVE                                                                            BRYAN              OH   43506‐1560
JANET SIMOLARI       4172 VALLARTA CT 3034                                                                      SARASOTA           FL   34233
JANET SIMONYE        4269 N HENDERSON RD                                                                        DAVISON            MI   48423‐8401
JANET SIMPSON        3884 BALMORAL CT                                                                           MYRTLE BEACH       SC   29588‐6768
JANET SLAYTON        6008 E MAPLE AVE                                                                           GRAND BLANC        MI   48439‐9110
JANET SMALL          15719 NELSON RD                                                                            SAINT CHARLES      MI   48655‐9767
JANET SMART          1590 WILEY DR                                                                              PIGGOTT            AR   72454‐3111
JANET SMITH          544 STONYLICK RD                                                                           MARTINSBURG        WV   25401
JANET SMITH          121 RAINBOW DR PMB 2129                                                                    LIVINGSTON         TX   77399‐1021
JANET SMITH          5761 CAMBROOKE CT                                                                          DUBLIN             OH   43016‐3537
JANET SMITH          4279 OAKGUARD CT                                                                           WHITE LAKE         MI   48383‐1577
JANET SMITH          6511 WOODRIDGE WAY SW                                                                      WARREN             OH   44481‐9626
JANET SMITHSON       5645 S PEORIA PL APT B                                                                     TULSA              OK   74105‐7867
JANET SMOOT          1087 SARDIS COVE DR                                                                        CHARLOTTE          NC   28270‐2192
JANET SNY            237 NORTHWEST VALENCIA ROAD                                                                MELBOURNE          FL   32904‐3330
JANET SOKOLOWSKI     292 E CENTER ST                                                                            ELYSBURG           PA   17824‐7108
JANET SOLOMON        3208 CRESTON AVENUE                                                                        LANSING            MI   48906‐3105
JANET SORIANO        2705 ROSEWAE DR                                                                            YOUNGSTOWN         OH   44511‐2248
JANET SOWINSKI       POX BOX 11267                                                                              SAINT PAUL         MN   55111
JANET SPARROW        8339 FOX BAY DR                                                                            WHITE LAKE         MI   48386‐2505
JANET SPLINTER       1515 ARBUTUS ST                                                                            JANESVILLE         WI   53546‐6141
JANET STACY          4982 N 800 E                                                                               WINDFALL           IN   46076‐9311
JANET STAHL          114 W DEFENBAUGH ST                                                                        KOKOMO             IN   46902
JANET STANLEY        392 ENCHANTED DR                                                                           ANDERSON           IN   46013‐1071
JANET STANTON        5382 WARWICK TRL                                                                           GRAND BLANC        MI   48439‐9578
JANET STARK          1668 FAIRLAWN ST                                                                           DEFIANCE           OH   43512‐4013
JANET STCLAIR        2320 E 9TH ST                                                                              ANDERSON           IN   46012‐4309
JANET STEINBECK      1200 DUANE SWIFT PKWY APT C22                                                              JEFFERSON CITY     MO   65109‐5501
JANET STEINMAN       15 SOUTHWIND DR                                                                            ENGLEWOOD          FL   34223‐3131
JANET STEPHEN        1834 TOWNER RD                                                                             SAINT HELEN        MI   48656‐9465
JANET STEPHEN        LOT 45                             13318 DIXIE HIGHWAY                                     HOLLY              MI   48442‐9759
JANET STERK          PO BOX 749                                                                                 JANESVILLE         WI   53547‐0749
JANET STEVENSON      5794 N RIVER RD                                                                            JANESVILLE         WI   53545‐9042
JANET STEWART        11115 ABBEYWOOD                                                                            OKLAHOMA CITY      OK   73170‐3208
JANET STEWART        1514 AVOCA EUREKA RD                                                                       BEDFORD            IN   47421‐8406
JANET STINSON        2620 JENNY LIND ST APT 1                                                                   MCKEESPORT         PA   15132‐5036
JANET STOCKSLAGER    7000 N VALLEY ST                                                                           DALTON GARDENS     ID   83815‐7727
JANET STOKES         6710 S DIXIE HWY                                                                           ERIE               MI   48133‐9659
JANET STOLLSTEIMER   22735 EDERER RD                    P O BOX 58                                              MERRILL            MI   48637‐8745
JANET STORK          645 N ADELAIDE ST                                                                          FENTON             MI   48430‐1828
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Name                Address1                           Address2           Address3      Address4               City              State Zip
JANET STOTT         501 S PINE ST                                                                              DESHLER            OH 43516‐1314
JANET STOTTLEMYER   5301 E COUNTY ROAD 1200 N                                                                  EATON              IN 47338‐8860
JANET STRATTON      6228 GERDTS DR                                                                             SAN JOSE           CA 95135
JANET STRONG        6810 DESMOND RD                                                                            WATERFORD          MI 48329‐2812
JANET STROUD        4700 BIRCHCREST DR                                                                         HOUGHTON LAKE      MI 48629‐9795
JANET SULLIVAN      16588 E AUGUSTA DR                                                                         AUGUSTA            MI 49012‐9630
JANET SUMMERS       1008 FENLEY DR                                                                             LEBANON            IN 46052‐1410
JANET SUMMERS       7226 W 700 N                                                                               FRANKTON           IN 46044‐9671
JANET SUMMITT       118 E 29TH ST                                                                              ANDERSON           IN 46016‐5203
JANET SWANEY        56 GREENPOINT CIR                  # 56                                                    UNIONTOWN          PA 15401‐3093
JANET SWANEY        3102 ELDORA DR                                                                             YOUNGSTOWN         OH 44511‐1250
JANET SWANSON       5370 DEVON CT                                                                              FLINT              MI 48532‐4020
JANET SZWEC         17 BOBCAT TRL                                                                              WILDWOOD           FL 34785‐9051
JANET T BIRO        435 AMBER DRIVE SE                                                                         WARREN             OH 44484
JANET T FREY        JANET T FREY PROFIT SHARING PLAN   1 LORRAINE DRIVE                                        PARK RIDGE         NJ 07656
JANET T GUISINGER   1101 CENTER AVE                                                                            BAY CITY           MI 48708‐6103
JANET T RIESER      245 ROSE GARDEN N.E.                                                                       WARREN             OH 44484‐1826
JANET T SOHN        PO BOX 188                                                                                 GROSSE ISLE        MI 48138
JANET TABLER        341 CUMBO RD                                                                               MARTINSBURG        WV 25403‐2364
JANET TANIS         936 RED PINE ST                                                                            SPARTA             MI 49345‐9477
JANET TARRANT       6140 BALFOUR DR 51                                                                         LANSING            MI 48911
JANET TARRANT       3844 SNOW MASS AVE NW                                                                      GRAND RAPIDS       MI 49544‐9448
JANET TAYLOR        732 LOGGERS CIR                                                                            ROCHESTER          MI 48307‐6022
JANET TAYLOR        422 W LIBERTY ST                                                                           HUBBARD            OH 44425‐1742
JANET TEGELER       23 KENWORTH DR                                                                             SAINT PETERS       MO 63376‐4014
JANET TENNEY        1753 WAYNE TRACE RD                                                                        EATON              OH 45320‐9479
JANET THOMAS        7100 RESCUE RD                                                                             OWENDALE           MI 48754‐9769
JANET THOMAS        517 LOU ALICE DR                                                                           COLUMBIAVILLE      MI 48421‐9706
JANET THOMAS        PO BOX 143                                                                                 NORTH JACKSON      OH 44451‐0143
JANET THOMPSON      702 E TIMBER ST                                                                            PONTIAC             IL 61764‐2227
JANET THOMPSON      99 UNIVERSITY AVE APT A                                                                    DEPEW              NY 14043‐2831
JANET THURMAN       1328 BROOKLINE RD APT E107                                                                 CLEVELAND HEIGHTS OH 44121‐2588

JANET TIDD          5040 PIN OAK DR                                                                            VIENNA            OH   44473‐9629
JANET TILLEY        4420 SUNSET BLVD                                                                           GRAND BLANC       MI   48439‐9055
JANET TIMMONS       1170 OTTER AVE                                                                             WATERFORD         MI   48328‐4755
JANET TIRONE        32 MUSKINGUM ST                                                                            DEPEW             NY   14043‐3312
JANET TODD          6037 CADILLAC DR                                                                           SPEEDWAY          IN   46224‐5328
JANET TOENJES       279 KENWOOD CT                                                                             GROSSE POINTE     MI   48236‐3452
                                                                                                               FARMS
JANET TOOMBS        911 NORTH 900 WEST                                                                         ANDERSON          IN   46011‐9773
JANET TOURVILLE     3662 SAINT MARYS ST                                                                        AUBURN HILLS      MI   48326‐1442
JANET TRAINOR       34557 ROUTE D                                                                              SANTA FE          MO   65282‐2034
JANET TRAXLER       4650 E CAREY AVE TRLR 58                                                                   LAS VEGAS         NV   89115‐4415
JANET TRIANCE       36609 LAKEWOOD DR                                                                          ZEPHYRHILLS       FL   33542
JANET TRINDER       2900 S MEEKER AVE                                                                          MUNCIE            IN   47302‐4650
JANET TRUELOVE      RR 4 BOX 54A                                                                               GAP MILLS         WV   24941
JANET TUCK          639 SOUTH GRAHAM STREET                                                                    MARTINSVILLE      IN   46151‐2208
JANET TUCKER        103 SUNRISE LN                                                                             LIZTON            IN   46149‐9241
JANET UNDERWOOD     4301 W TANGLEWOOD RD                                                                       BLOOMINGTON       IN   47404‐9231
JANET USHER         7103 SHELDON RD                                                                            BELLEVILLE        MI   48111‐5107
JANET VAIR          539 N EAST ST                                                                              TIPTON            IN   46072‐1430
JANET VAN DAHM      PO BOX 7122                                                                                ROMEOVILLE        IL   60446‐7022
JANET VAN DAMME     14761 CROFTON DRIVE                                                                        SHELBY TWP        MI   48315‐4421
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JANET VANDEZANDE     4263 S 23RD ST                                                                                MILWAUKEE          WI     53221‐2209
JANET VANMETER       1310 W COUNTY ROAD 300 S                                                                      FRANKFORT          IN     46041‐7696
JANET VANOVER        10220 N LINDEN RD                                                                             CLIO               MI     48420‐8559
JANET VARGO          51 BARILOCHE DR                                                                               PUNTA GORDA        FL     33983‐5331
JANET VARLOTTA       506 THOMPSON RUN RD                                                                           PENN HILLS         PA     15235
JANET VAUGHN         465 W GRAND AVE APT 208                                                                       DAYTON             OH     45405‐4725
JANET VELEZ          2058 MAPLE AVE APT AC3‐7                                                                      HATFIELD           PA     19440‐1538
JANET VICKERS        9459 KROETZ DR                                                                                SHREVEPORT         LA     71118‐4042
JANET VILLARREAL     913 NORTH RD                                                                                  FENTON             MI     48430‐1821
JANET VINCENT        1425 ST JAMES ST                                                                              BURTON             MI     48529
JANET VOLLENHALS     110 W SCHOOL ST                                                                               ANDERSON           IN     46012‐1631
JANET VROMAN         4021 SPRING HUE LN                                                                            DAVISON            MI     48423‐8900
JANET W BETTS        3703 DAVIS PECK RD                                                                            FARMDALE           OH     44417‐9740
JANET WADDELL        51287 SUNNY HILL DR                                                                           SHELBY TOWNSHIP    MI     48316‐4547
JANET WALDROP        21375 HIGHWAY 13                                                                              LYNN               AL     35575‐2901
JANET WALKER         421 WATSON ST                                                                                 COOPERSVILLE       MI     49404‐1017
JANET WALKER         5790 TEFT RD                                                                                  SAINT CHARLES      MI     48655‐8538
JANET WALLACE        2816 FOREST AVE                                                                               NEW CASTLE         PA     16101‐6228
JANET WALLACE        4473 CAREN ST                                                                                 FREMONT            CA     94538‐3356
JANET WALSTON        4670 HERITAGE DR                                                                              CANFIELD           OH     44406‐9210
JANET WARE           507 WILDER AVE                                                                                HURON              OH     44839‐2533
JANET WARNER         11668 SCHRAM ST                                                                               GRAND BLANC        MI     48439‐1318
JANET WARNER‐HAYES   403 NORFOLK DR                                                                                ALEXANDRIA         IN     46001‐1256
JANET WARSTLER       4853 BARNETT AVE                                                                              SHARPSVILLE        IN     46068‐9606
JANET WASHINGTON     31350 ZOAR RD                                                                                 LOCUST GROVE       VA     22508‐2503
JANET WASHINGTON     1846 TYLER RD                                                                                 YPSILANTI          MI     48198‐6154
JANET WATKINS        25176 MAPLEBROOKE DR                                                                          SOUTHFIELD         MI     48033‐5282
JANET WATSON         8450 HARRISON PKWY                                                                            FISHERS            IN     46038‐3493
JANET WATSON         3500 NE 79TH ST                                                                               KANSAS CITY        MO     64119‐4334
JANET WATSON         549 APOSTLE DR                                                                                HENDERSON          NV     89002‐9639
JANET WATSON         6264 GAY RD                                                                                   ORIENT             OH     43146‐9420
JANET WAUD           4949 E 10 MILE RD APT 4                                                                       WARREN             MI     48091‐1525
JANET WEARING        263 W LITTLE CANYON DR                                                                        SPRUCE             MI     48762‐9748
JANET WEATHERBE      54 THACHER SHORE RD                                                                           YARMOUTH PORT      MA     02675‐1124
JANET WEAVER         30 TUCKER RIDGE CT                                                                            HILTON HEAD        SC     29926‐2773
JANET WEAVER         4857 GEAUGA PORTAGE EAST                                                                      WEST FARMINGTON    OH     44491

JANET WEBB           4224 W ORANGEWOOD AVE                                                                         PHOENIX           AZ      85051‐7349
JANET WEBBER         8217 LORAIN ST SE                                                                             MASURY            OH      44438‐1167
JANET WEBER          2528 DESMOND                                                                                  WATERFORD         MI      48329‐2820
JANET WEEKS          BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH      44236
JANET WEIR           8449 PERSHING                                                                                 CENTER LINE       MI      48015‐1738
JANET WELCH          247 S CHASE ST                                                                                SIERRA VISTA      AZ      85635‐8263
JANET WELCH          3443 E BALDWIN RD                                                                             GRAND BLANC       MI      48439‐8300
JANET WELLS          2521 W IRONWOOD DR                                                                            JANESVILLE        WI      53545‐9061
JANET WESCOAT        13450 ELMS RD                                                                                 BIRCH RUN         MI      48415‐8516
JANET WEST           6016 S JOHNSON RD                                                                             BELOIT            WI      53511‐9401
JANET WESTFIELD      8792 E KARON ST                                                                               WHITE CLOUD       MI      49349‐9593
JANET WESTON         8870 JASON RD                                                                                 LAINGSBURG        MI      48848‐9227
JANET WHEELER        4478 S MOREY RD                                                                               LAKE CITY         MI      49651‐8001
JANET WHITACRE       1519 S ARMSTRONG ST                                                                           KOKOMO            IN      46902‐2037
JANET WHITAKER       9160 WILBUR HWY                                                                               EATON RAPIDS      MI      48827‐9322
JANET WHITE          APT E3                         2320 NORTH FREMONT AVENUE                                      SPRINGFIELD       MO      65803‐4177
JANET WHITE          1202 W STATE LINE RD                                                                          TOLEDO            OH      43612‐4239
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Name                  Address1                       Address2                      Address3   Address4               City             State   Zip
JANET WHITE           2501 MIAMI BEACH DR                                                                            FLINT             MI     48507‐1032
JANET WHITNEY         200 LEWIS ST                                                                                   TROY              MO     63379‐1618
JANET WHITNEY         604 CHARIOT LN                                                                                 INDIANAPOLIS      IN     46227‐2510
JANET WHITTED         5405 N LESLIE DR                                                                               MUNCIE            IN     47304‐5936
JANET WHITTINGTON     661 EMERSON AVE                                                                                PONTIAC           MI     48340‐3218
JANET WILCOX          4499 E GRESHAM HWY                                                                             POTTERVILLE       MI     48876‐8765
JANET WILCOX          1228 N JACKSON ST                                                                              LAPEER            MI     48446‐1208
JANET WILD            6420 BROOKVILLE RD                                                                             SOUTH LYON        MI     48178‐7004
JANET WILLIAMS        3021 WICKLOW RD                                                                                COLUMBUS          OH     43204‐2555
JANET WILLIAMS        81 KENMAR CT                                                                                   YOUNGSTOWN        OH     44515‐3012
JANET WILLIAMS        3193 S STRAWTOWN PIKE                                                                          PERU              IN     46970‐9063
JANET WILSON          PO BOX 701                                                                                     SPRING HILL       TN     37174‐0701
JANET WISE            PO BOX 243                                                                                     GREENTOWN         IN     46936‐0243
JANET WOJCIECHOWSKI   223 CUBA LAKE WEST SHORE                                                                       CUBA              NY     14727
JANET WOLBERT         9084 DEL RIO DR                                                                                GRAND BLANC       MI     48439‐8383
JANET WONDERO         1815 CARNOUSTIE CT                                                                             OXFORD            MI     48371‐5850
JANET WOOD            3155 W 300 S                                                                                   KOKOMO            IN     46902‐4761
JANET WOODSON         3533 LYNN ST                                                                                   FLINT             MI     48503‐4539
JANET WORKMAN         4157 OPTIMIST DR                                                                               NEWTON            NC     28658‐9693
JANET WRIGHT          285 CHARLOTTE ST                                                                               MULLIKEN          MI     48861‐9739
JANET WRIGHT          2390 N LAKESHORE RD                                                                            HARBOR BEACH      MI     48441‐8200
JANET WRIGHT          C/O CHARLES E. LAUFFER, JR.    821 ESE LOOP 323, SUITE 530                                     TYLER             TX     75701
JANET WRIGHT          C/O CHARLES E LAUFFER JR       821 ESE LOOP 323 STE 530                                        TYLER             TX     75701
JANET WYNINGS         3447 LATTA RD                                                                                  ROCHESTER         NY     14612‐2823
JANET WYSONG          2850 E SOUTHWAY BLVD                                                                           KOKOMO            IN     46902‐4112
JANET Y JOPPY         4704 GREENWICH VILLAGE AVE                                                                     DAYTON            OH     45406
JANET YORK            558 FAIRWAY ST                                                                                 HAYWARD           CA     94544‐7456
JANET YOUNG           1950 MILLBRIDGE RD                                                                             SALEM             VA     24153‐4677
JANET YOUNG           722 DEWEY ST                                                                                   ROYAL OAK         MI     48067‐1357
JANET YOUNT           PO BOX 64                                                                                      BARNHART          MO     63012‐0064
JANET Z BROWN         2188 HOLLETTS CORNER RD                                                                        CLAYTON           DE     19938‐3118
JANET ZANGARA         844 SWALLOW ST SW                                                                              WARREN            OH     44485‐3653
JANET ZICKAFOOSE      17744 ROBERT ST                                                                                MELVINDALE        MI     48122‐1064
JANET ZUHORSKI        764 S MILL ST APT 8                                                                            PLYMOUTH          MI     48170‐1880
JANET, ELAINE B       150 ARBOR GATE CIR APT E                                                                       PICAYUNE          MS     39466‐6007
JANETHER MYERS        18 FAY ST                                                                                      WEST HAVEN        CT     06516‐2511
JANETSKY, ALBERT M    4885 E BROOKS RD                                                                               FREELAND          MI     48623‐9433
JANETSKY, CAROL ANN   4885 E BROOKS RD                                                                               FREELAND          MI     48623‐9433
JANETT BLOOMFIELD     6239 ELRO ST                                                                                   BURTON            MI     48509‐2449
JANETT COOPER         10100 W BETHEL AVE                                                                             GASTON            IN     47342‐9780
JANETT HORTON         24080 W 265TH ST                                                                               PAOLA             KS     66071‐5491
JANETTA MOSES         2481 S GENESEE RD                                                                              BURTON            MI     48519‐1235
JANETTA VCULEK        1200 NE 21ST CT                                                                                MOORE             OK     73160‐6309
JANETTE A PHILIPPON   HC 33 BOX 3055C                                                                                PETERBURG         WV     26847
JANETTE AMICK         45166 GEDDES RD                                                                                CANTON            MI     48188‐2426
JANETTE BROWN         2331 CLIFTON AVE                                                                               LANSING           MI     48910‐3536
JANETTE BUCHANAN      14091 BARKWOOD ST                                                                              FORT MYERS        FL     33905‐8695
JANETTE BURNS         10104 S CALIFORNIA AVE                                                                         EVERGREEN PARK     IL    60805‐3830
JANETTE BURTON        2146 MARKER AVE                                                                                DAYTON            OH     45414‐4030
JANETTE BURTON        2146 MARKER AVE                                                                                DAYTON            OH     45414‐4030
JANETTE CAPONE        11441 IRVINGTON DR                                                                             WARREN            MI     48093‐2610
JANETTE CLARK         19308 ANGLING ST                                                                               LIVONIA           MI     48152‐2538
JANETTE CLELLAND      1770 N 24TH                                                                                    FRUITLAND         ID     83619
JANETTE COLLIER       5301 S LINCOLN BLVD                                                                            MARION            IN     46953‐6202
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Name                      Address1                       Address2              Address3       Address4               City                State   Zip
JANETTE DODD              7907 RIDGE RD                                                                              FARMDALE             OH     44417‐9754
JANETTE EVANS             PO BOX 20371                                                                               KALAMAZOO            MI     49019‐1371
JANETTE FUOCO             419 SENECA CREEK RD                                                                        WEST SENECA          NY     14224‐2376
JANETTE HOLLAND           18675 PARKLAND DR APT 503                                                                  SHAKER HEIGHTS       OH     44122‐3468
JANETTE JACKS             611 S SAVIDGE ST                                                                           REED CITY            MI     49677‐9741
JANETTE JEAKLE            71 HUNTERS RILL                                                                            LAPEER               MI     48446‐4100
JANETTE KLEMP             40 MILDRED AVE                                                                             EDGERTON             WI     53534‐1941
JANETTE KUTT              20974 LARKSPUR ST                                                                          FARMINGTON           MI     48336‐5041
JANETTE L BANKS‐WIGGINS   C/O JOYCE BANKS                55 BEDFORD AVE                                              MIDDLETOWN           NY     10940‐6414
JANETTE L UTORKA          1200 CABANA RD, APT #2                                                                     SINGER ISLAND        FL     33404
JANETTE M ANDERSON        1227 N JACKSON ST                                                                          BAY CITY             MI     48708‐5922
JANETTE M MAGLIOCCO       11 WALDO STREET                                                                            ROCHESTER            NY     14606‐1941
JANETTE M ROBINSON        441 S 22ND ST                                                                              SAGINAW              MI     48601‐1538
JANETTE MACKEY            287 LARKSPUR LN                                                                            MARTINSBURG          WV     25403‐2175
JANETTE MATHEWSON         3455 S 200 E                                                                               ALBION               IN     46701‐9639
JANETTE MCGOWAN           1984 MOUNT SHASTA DR                                                                       SAN PEDRO            CA     90732‐1528
JANETTE MEAD              4658 LAMPLIGHT LN SE APT 19                                                                GRAND RAPIDS         MI     49546‐6391
JANETTE MURPHY            5667 SANDPIPER LN                                                                          DAYTON               OH     45424
JANETTE N VERSTRAETE      209 MC KENNEY AVE                                                                          MATTYDALE            NY     13211‐1733
JANETTE OWENS             33511 FLORENCE ST                                                                          GARDEN CITY          MI     48135‐1097
JANETTE P MICHALOVIC      2847 MAHAN DENMAN RD NW                                                                    BRISTOLVILLE         OH     44402
JANETTE PALMA             6790 MARSHALL ST               C/O WALTER PALMA JR                                         CANTON               MI     48187‐1663
JANETTE R DODD            7907 RIDGE RD. N.E.                                                                        FARMDALE             OH     44417‐9754
JANETTE R DODD            7907 RIDGE RD                                                                              FARMDALE             OH     44417‐9754
JANETTE RAINWATER         1150 TELLEM DR                                                                             PACIFIC PALISADES    CA     90272

JANETTE ROBINSON          441 S 22ND ST                                                                              SAGINAW             MI      48601‐1538
JANETTE RONDERS           11768 SHARON VALLEY RD                                                                     BROOKLYN            MI      49230‐9527
JANETTE S CALLAHAN        93 MARTIN ST                                                                               SOMERSET            NJ      08873
JANETTE SPRING            5424 HIDDEN RIDGE TRL                                                                      LINDEN              MI      48451‐8816
JANETTE STORY             126 S DUTCHER ST                                                                           CORUNNA             MI      48817‐1512
JANETTE STOUDEMIRE        360 LONGFORD AVE                                                                           ELYRIA              OH      44035‐4038
JANETTE STURK             4392 LAWNWOOD LN                                                                           BURTON              MI      48529‐1931
JANETTE SUTHERLAND        306 W MAIN ST                                                                              BUTLER              IN      46721‐1326
JANETTE THACKER           1434 BARNHART RD                                                                           TROY                OH      45373‐8700
JANETTE UTORKA            1200 CABANA ROAD               APT #2                                                      SINGER ISLAND       FL      33404
JANETTE VAUGHN            2108 BROOKSHIRE ST                                                                         ARLINGTON           TX      76010‐3127
JANETZKE RANDALL C        5661 N CANAL RD                                                                            DIMONDALE           MI      48821‐9729
JANETZKE, BARRY K         5093 BENTON RD                                                                             CHARLOTTE           MI      48813‐8619
JANETZKE, MARY L          2521 DUNBAR DR                                                                             LANSING             MI      48906‐3423
JANETZKE, PAUL R          215 N CANAL RD LOT 34                                                                      LANSING             MI      48917‐8665
JANETZKE, RANDALL C       5661 N CANAL RD                                                                            DIMONDALE           MI      48821‐9729
JANEVA SHOEMAKER          5652 LEISURE SOUTH DR SE                                                                   KENTWOOD            MI      49548‐6852
JANEVA SMITH              11700 N BLACK CEMETERY RD                                                                  ALBANY              IN      47320‐9524
JANEVIEVE BAILEY          10 BOST CT                                                                                 TAYLORSVILLE        NC      28681‐2070
JANEVIEVE E BAILEY        PO BOX 372                                                                                 TAYLORSVILLE        NC      28681‐0372
JANEWAY, BETTY S          8918 BELLEFONTAINE RD                                                                      DAYTON              OH      45424‐1557
JANEWAY, CHARMIAN         311 TEPOTO RD                                                                              TOOL                TX      75143‐2252
JANEWAY, CHARMIAN         311 TETOTO ROAD                                                                            TOOL                TX      75143
JANEWAY, MATTHEW J        4371 KINNEVILLE RD                                                                         ONONDAGA            MI      49264‐9765
JANEWAY, SWAN O           8918 BELLEFONTAINE RD                                                                      DAYTON              OH      45424‐1557
JANEY ALAJI               PO BOX 5661                                                                                DEARBORN            MI      48128‐0661
JANEY GRIGGS              5 RIVERWOOD ESTATES                                                                        SAINT LOUIS         MO      63031
JANEY HARMON              4224 COASTAL PKWY                                                                          WHITE LAKE          MI      48386‐1100
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Name                           Address1                             Address2                     Address3                    Address4               City              State   Zip
JANEY MALLOY                   1007 E PRAIRIE ST                                                                                                    LITCHFIELD          IL    62056‐2863
JANEZIC, STANISLAV             8118 W COLDSPRING RD                                                                                                 GREENFIELD         WI     53220‐2825
JANG, JAEHYUK                  2530 EMPIRE CT                                                                                                       ROCHESTER HILLS    MI     48309‐4090
JANG, JIHOON                   20710 AMIE AVE APT 221                                                                                               TORRANCE           CA     90503‐3688
JANG, KHI‐YOUNG                1949 CANARY CT                                                                                                       TROY               MI     48084‐1409
JANG, KHI‐YOUNG                1949 CANART CT.                                                                                                      TROY               MI     48084‐1409
JANG, KWANG S                  PO BOX 301194                                                                                                        DRAYTON PLAINS     MI     48330‐1194
JANG, SEOK JOO                 74 SANDPIPER                                                                                                         IRVINE             CA     92604‐3668
JANI ANA                       11035 DOOGAN AVE                                                                                                     WILLOW SPRINGS      IL    60480‐1111
JANI L WHITE                   1442 LINCOLN DR                                                                                                      FLINT              MI     48503‐3556
JANI, ANA                      11035 DOOGAN AVE                                                                                                     WILLOW SPGS         IL    60480‐1111
JANI, STEVEN                   110 DAY ST APT 101                                                                                                   BLOOMINGDALE        IL    60108‐2945
JANI, SUJAL S                  810 DAKOTA                                                                                                           ROCHESTER HILLS    MI     48307‐2877
JANI‐KING INTERNATIONAL INC    16885 DALLAS PKWY                                                                                                    ADDISON            TX     75001‐5215
JANI‐KING INTERNATIONAL INC.   JERRY CRAWFORD                       16885 DALLAS PKWY                                                               ADDISON            TX     75001‐5215
JANI‐KING/TROY                 5700 CROOKS RD STE 107                                                                                               TROY               MI     48098‐2809
JANIAK, CATHERINE              250 AMERICA BOULEVARD                                                                                                ASHLAND            MA     01721‐1876
JANIAK, JAN
JANICA A PIERCE                2188 DEERING AVE                                                                                                     DAYTON            OH      45406‐2505
JANICE
JANICE & ROGER BARTELS TTEES   JANICE BARTELS REV LIVING TR ROGER   C/O ROGER & JANICE BARTELS   5203 S WILLOW BROOK PLACE                          SIOUX FALLS        SD     57108
                               BARTELS REV LIVING TR DTD 7/3/97
JANICE A BURNS                 1140 E HARVARD AVE                                                                                                   FLINT             MI      48505‐1524
JANICE A CRAFT                 4640 MARSHALL RD APT C                                                                                               DAYTON            OH      45429
JANICE A CRANFIELD             1600 ROBERTS ST.                                                                                                     GADSDEN           AL      35903
JANICE A DEPRATT               116 W 4TH ST                                                                                                         TILTON            IL      61833‐7419
JANICE A FUGETT                8537 PEACHWOOD DR                                                                                                    DAYTON            OH      45458‐3249
JANICE A HEISER                372 WEATHERSFIELD DR.                                                                                                KETTERING         OH      45440‐4448
JANICE A HOWARD                106 W PLUM ST                                                                                                        TIPP CITY         OH      45371‐1884
JANICE A KISH                  18890 GENTIAN AVE                                                                                                    RIVERSIDE         CA      92508
JANICE A KNIGHT                4416 FREE PIKE                                                                                                       DAYTON            OH      45416‐1237
JANICE A LAWRENCE              1593 SASSAFRAS DR                                                                                                    MANSFIELD         OH      44905‐2378
JANICE A SATER                 1108 N BIRNEY ST                                                                                                     BAY CITY          MI      48708‐6152
JANICE A SULLIVAN              5303 E TWAIN AVE SPC 9                                                                                               LAS VEGAS         NV      89122‐4647
JANICE ABBATE                  22460 KLINES RESORT RD LOT 165                                                                                       THREE RIVERS      MI      49093‐8617
JANICE ADAMS                   3218 RASKOB ST                                                                                                       FLINT             MI      48504‐3270
JANICE ADAMS                   7010 WOODS WEST DR                                                                                                   FLUSHING          MI      48433‐9463
JANICE ALDERSON                163 BLUE BEARD DRIVE                                                                                                 N FT MYERS        FL      33917‐2912
JANICE ALEXANDER               PO BOX 300                                                                                                           LAKELAND          MI      48143‐0300
JANICE ALFORD                  30 KERRI CT                                                                                                          WETUMPKA          AL      36093‐2572
JANICE ALLEN                   28675 FRANKLIN RD APT 425                                                                                            SOUTHFIELD        MI      48034‐1605
JANICE ALLRED                  308 W 1ST ST APT D                                                                                                   LIVINGSTON        TN      38570‐1403
JANICE ANDERSON                329 INDEPENDENCE WAY                                                                                                 WOODSTOCK         GA      30188‐4153
JANICE ANDERSON                14 BROOKSIDE DR                                                                                                      HUBBARD           OH      44425‐1001
JANICE ANDERSON                5379 PEACOCK DR                                                                                                      HOLIDAY           FL      34690‐2942
JANICE ANGERS                  2190 E WHITTEMORE AVE                                                                                                BURTON            MI      48529‐1728
JANICE ARTHER                  6816 WOMACK CT                                                                                                       ATLANTA           GA      30360‐1533
JANICE ATHEY                   6231 SHARP RD                                                                                                        SWARTZ CREEK      MI      48473‐9463
JANICE AUSTIN                  26200 DOVER LINE RD                                                                                                  WATERFORD         WI      53185‐4723
JANICE AUSTIN                  2540 MARCUS DR                                                                                                       TROY              MI      48083‐2414
JANICE B DEVENGENCIE           1502 KEARNEY ST                                                                                                      NILES             OH      44446‐3844
JANICE B JUBAK                 546 OBERMIYER RD                                                                                                     BROOKFIELD        OH      44403‐9703
JANICE B PARKER                1452 CATALPA DR                                                                                                      DAYTON            OH      45406‐4705
JANICE B WAMER                 1538 ROOSEVELT AVE                                                                                                   NEWTON FALLS      OH      44444‐9756
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Name                  Address1                         Address2                  Address3     Address4               City              State Zip
JANICE B WILL         14106 ANN'S CHOICE WAY                                                                         WARMINSTER         PA 18974‐3329
JANICE BADALAMENTI    1104 NANTUCKET DR                                                                              BAY CITY           MI 48706‐3984
JANICE BAILEY         6424 SHERIDAN RD                                                                               VASSAR             MI 48768‐9599
JANICE BAISDEN        149 N BROADLEIGH RD                                                                            COLUMBUS           OH 43209‐1507
JANICE BALDWIN        625 DELAWARE AVE                                                                               YOUNGSTOWN         OH 44510‐1246
JANICE BALDWIN        26021 RUSTIC LN                                                                                WESTLAKE           OH 44145
JANICE BANKS          1608 RONDO DR                                                                                  GREENVILLE         NC 27858‐5338
JANICE BANKS          PO BOX 785                                                                                     SPRING HILL        TN 37174‐0785
JANICE BARNES         18477 KENTUCKY ST                                                                              DETROIT            MI 48221‐2029
JANICE BARNETT        8506 LATHROP AVE                                                                               KANSAS CITY        KS 66109‐1051
JANICE BATES          2715 MILLER GRABER RD                                                                          NEWTON FALLS       OH 44444‐8721
JANICE BATES          9815 WESTMORE ST                                                                               LIVONIA            MI 48150‐5700
JANICE BATTIATO       594 KINGS HWY                                                                                  SALEM              NJ 08079
JANICE BAX            4590 NORTH ST                                                                                  ATTICA             MI 48412‐9714
JANICE BAYHA          6108 KEENEY DR                                                                                 SIX LAKES          MI 48886‐9775
JANICE BEALES         6861 LOCK HAVEN DR                                                                             LOCKPORT           NY 14094‐6183
JANICE BEALORE        1077 SUSSEX LN                                                                                 FLINT              MI 48532‐2655
JANICE BEARDSLEY      2242 CASTLE CT                                                                                 SIMI VALLEY        CA 93063‐3712
JANICE BEAVERS        374 GALLOWAY ST                                                                                EPWORTH            GA 30541‐2411
JANICE BECK           1659 IVYDALE RD                                                                                CLEVELAND HEIGHTS OH 44118‐1858

JANICE BEHM           123 W PARK PL                                                                                  NEWARK               DE   19711‐4567
JANICE BELFIELD       3920 BUENA VISTA DR S                                                                          ELLENTON             FL   34222‐4740
JANICE BELL           3392 TARRAGON DR                                                                               DECATUR              GA   30034‐6209
JANICE BENCE          707 W 10TH ST                                                                                  JONESBORO            IN   46938‐1235
JANICE BENDER         2404 HIGH STREET                                                                               LOGANSPORT           IN   46947‐1636
JANICE BENNETT        51193 UNION ST                                                                                 BELLEVILLE           MI   48111‐4426
JANICE BENSON         ATTN MICHAEL C SHEPARD           THE SHEPARD LAW FIRM PC   10 HIGH ST                          BOSTON               MA   02110
JANICE BERNARD        20241 BERKSHIRE CIR                                                                            STRONGSVILLE         OH   44149‐6781
JANICE BERRY          14200 ABINGTON AVE                                                                             DETROIT              MI   48227‐1384
JANICE BEST           PO BOX 303                                                                                     THOMPSONS STN        TN   37179‐0303
JANICE BINKOWSKI      376 S ROCHESTER RD                                                                             OAKLAND              MI   48363‐1548
JANICE BIVENS         2051 PARK AVENUE WEST                                                                          MANSFIELD            OH   44906‐2234
JANICE BLAIR          PO BOX 10706                                                                                   FORT MOHAVE          AZ   86427‐0706
JANICE BLAKE          10016 N ASHINGTON RD                                                                           GARRETTSVILLE        OH   44231‐9450
JANICE BOGDANIK       1869 HALL ST                                                                                   HOLT                 MI   48842‐1722
JANICE BOHLEY         1701 MIDLAND RD                                                                                BAY CITY             MI   48706‐9470
JANICE BOLDT          22505 BAYVIEW DR                                                                               SAINT CLAIR SHORES   MI   48081‐2464

JANICE BOLES          12030 KENNEBEC ST                                                                              DETROIT              MI   48205‐3252
JANICE BOLTON         113 LOGAN CT                                                                                   STATHAM              GA   30666‐2465
JANICE BOSCARELLO     6454 CROSSVIEW RD                                                                              SEVEN HILLS          OH   44131‐3107
JANICE BOWEN          2029 NEBRASKA DR                                                                               XENIA                OH   45385‐4658
JANICE BRACE          13642 LARKSPUR LN                                                                              CEDAR SPRINGS        MI   49319‐9141
JANICE BRADLEY        217 JOSHUA DR                                                                                  BROOKFIELD           OH   44403‐9619
JANICE BRAGGS         109 SKILTON DR                                                                                 TRAVELERS REST       SC   29690‐8479
JANICE BRAY           241 EMERALD CIR                                                                                DUNDEE               MI   48131‐2012
JANICE BRIGHTMAN      PO BOX 5253                                                                                    BRADENTON            FL   34281‐5253
JANICE BRIMMER        148 LONGVIEW DR                                                                                ELKTON               MD   21921‐7591
JANICE BROCKLEHURST   3976 KELLY LN                                                                                  MEDINA               OH   44256‐8395
JANICE BRONNENBERG    4130 CAMELOT BLVD                                                                              ANDERSON             IN   46011‐9041
JANICE BROOKS         46025 SPRING LN APT 104                                                                        SHELBY TOWNSHIP      MI   48317‐4864
JANICE BROWN          7619 W 600 N                                                                                   FRANKTON             IN   46044‐9674
JANICE BROWN          1851 S LEXINGTON SPRINGMILL RD                                                                 MANSFIELD            OH   44904‐9515
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Name                    Address1                        Address2                      Address3   Address4               City             State   Zip
JANICE BROWNLEE         470 N CAWSTON AVE                                                                               HEMET             CA     92545‐2341
JANICE BRUNETT          613 OTTER LAKE BOX 117 A                                                                        FOSTORIA          MI     48435
JANICE BRYANT           PO BOX 2146                                                                                     WARREN            OH     44484‐0146
JANICE BUCHANAN         19631 SEXTON ST                                                                                 ROCKWOOD          MI     48173‐9309
JANICE BUCZEK           6707 CARDWELL ST                                                                                GARDEN CITY       MI     48135‐2584
JANICE BULLARD          437 SELKIRK DR                                                                                  MOUNT MORRIS      MI     48458‐8917
JANICE BURCH            2715 FIELDING DR                                                                                LANSING           MI     48911‐2328
JANICE BURGESS          835 ALABAMA WOODS LN                                                                            ORLANDO           FL     32824‐8891
JANICE BURNETTE         1841 FREEMAN RD                                                                                 JONESBORO         GA     30236‐6705
JANICE BYNUM‐SIMPSON    1575 BOULDER LAKE DR                                                                            MILFORD           MI     48380‐3243
JANICE C ADAMS          700 7TH ST SW APT 506                                                                           WASHINGTON        DC     20024
JANICE C CLARK          2400 MCCLAIN AVE                                                                                GADSDEN           AL     35901
JANICE C CLAYTON        431 FRANKLIN ST.                                                                                SHARPSVILLE       PA     16150‐1835
JANICE C DERBY          2023 COLVIN BLVD                                                                                TONAWANDA         NY     14150‐6905
JANICE C EVERSOLE       6225 WILKIE ST                                                                                  TAYLOR            MI     48180‐1211
JANICE C FIGGINS        4400 SWAFFER RD                                                                                 VASSAR            MI     48768‐9289
JANICE C PHILLIPS       145 SOUTH ST                                                                                    CHESTERFIELD      IN     46017‐1725
JANICE C STEINBRUGGE    146 CHURCH STREET                                                                               DAYTON            OH     45410‐1802
JANICE C WOLFE          146 CHURCH ST                                                                                   DAYTON            OH     45410‐1802
JANICE CAIRNS           21 HOPKINS POINT RD                                                                             FORT COVINGTON    NY     12937‐2107
JANICE CALLOWAY         5954 MORNAY DR                                                                                  INDIANAPOLIS      IN     46254‐5176
JANICE CALLOWAY         4436 ST JAMES CT BLDG 12 6                                                                      FLINT             MI     48532
JANICE CALVIN           1416 MOUNT ZION AVE                                                                             JANESVILLE        WI     53545‐1100
JANICE CANNON           616 RALEY STREET                                                                                EAST GADSDEN      AL     35903‐1828
JANICE CARD             445 W LINWOOD RD                                                                                LINWOOD           MI     48634‐9764
JANICE CARL             3125 OLD CARRIAGE TRL                                                                           BRIGHTON          MI     48116‐7404
JANICE CARNEY           2613 HOLMAN ST                                                                                  MORAINE           OH     45439‐1631
JANICE CARNS            2036 WOOD ST                                                                                    LATROBE           PA     15650‐2262
JANICE CAROL            STE A                           827 UNION PACIFIC BOULEVARD                                     LAREDO            TX     78045‐9485
JANICE CARPENTER        207 WEST ST                                                                                     ARCHBOLD          OH     43502‐1463
JANICE CARROLL          3013 SHERMAN ST                                                                                 ANDERSON          IN     46016‐5919
JANICE CARTIER          169 ARBUTUS AVE                                                                                 CADILLAC          MI     49601‐9614
JANICE CASBERG          1255 W 18TH AVE APT 222                                                                         OSHKOSH           WI     54902‐6668
JANICE CASE             1418 AUTUMN DR                                                                                  FLINT             MI     48532‐2603
JANICE CASS             78595 HIDDEN PALMS DR                                                                           PALM DESERT       CA     92211‐1415
JANICE CASTER           1421 ROMANE DR                                                                                  SAGAMORE HILLS    OH     44067‐1665
JANICE CHAMPA           54005 SHERWOOD LN                                                                               SHELBY TWP        MI     48315‐1652
JANICE CHANEY           3808 MISTY MEADOW LN                                                                            AMELIA            OH     45102‐1259
JANICE CHAO             4951 CRESTONE WAY                                                                               ROCHESTER         MI     48306‐1682
JANICE CHAPMAN          186 GLEN ESTE BLVD                                                                              HAINES CITY       FL     33844‐2800
JANICE CHAPMAN          8501 CHAPMAN RD                                                                                 GASPORT           NY     14067‐9419
JANICE CHAPPELL         8900 A. DAVY DRIVE                                                                              HALE              MI     48739
JANICE CHEERS           151 BUTTERNUT STAGE DR                                                                          SAINT PETERS      MO     63376‐4242
JANICE CHILDS           PO BOX 2393                                                                                     BRANDON           MS     39043‐2393
JANICE CHOATE           5340 POTTER RD                                                                                  BURTON            MI     48509‐1345
JANICE CLARK            2310 FIELDING DR                                                                                LANSING           MI     48911‐2458
JANICE CLARK            800 SMITH RD APT 24                                                                             TEMPERANCE        MI     48182‐1087
JANICE CLARK            10553 VALETTE CIR N                                                                             MIAMISBURG        OH     45342‐4856
JANICE CLAY             32229 ANNAPOLIS ST                                                                              WAYNE             MI     48184‐2247
JANICE CLAY             1017 MALLORY LN                                                                                 SPRING HILL       TN     37174‐5147
JANICE CLAYTON          431 FRANKLIN ST                                                                                 SHARPSVILLE       PA     16150‐1835
JANICE COALTER‐WALLER   35 W CLARK ST                                                                                   KENT CITY         MI     49330‐9466
JANICE COHAN            BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.       OH     44236
JANICE COHEN            1080 BRACEVILLE ROBINSON RD.                                                                    NEWTON FALLS      OH     44444
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Name                     Address1                      Address2            Address3         Address4               City            State   Zip
JANICE COKLEY            2814 DAKOTA DR                                                                            ANDERSON         IN     46012‐1414
JANICE COLE              201 N 10TH ST                                                                             ELWOOD           IN     46036‐1550
JANICE COLE              1320 WINTERVIEW DR                                                                        JACKSON          MS     39211‐3234
JANICE COLEY             3105 SHAWNEE AVE                                                                          FLINT            MI     48507‐1901
JANICE COLLINS           8873 APPLETON                                                                             REDFORD          MI     48239‐1233
JANICE CONRAD            3033 BARDIN RD APT 718                                                                    GRAND PRAIRIE    TX     75052‐3869
JANICE COOK              106 HILLSIDE CT                                                                           COLLINSVILLE      IL    62234‐6820
JANICE COOK              129 COOK RD                                                                               HOGANSBURG       NY     13655
JANICE COOK              7095 E 100 S                                                                              GREENTOWN        IN     46936
JANICE COOK              5429 RAWLINGS DR                                                                          DAYTON           OH     45432‐3623
JANICE COOK              172 THOMAS BLVD                                                                           HAMILTON         OH     45013‐1654
JANICE COOPER            202 S OSAGE AVE                                                                           SHAWNEE          OK     74801‐8042
JANICE COOPER            1757 MYERS RD                                                                             SHELBY           OH     44875‐9346
JANICE COOPER            1328 NE 20TH PL                                                                           MOORE            OK     73160‐6408
JANICE COUTAIN           9605 TIMBER WAGON DR                                                                      MCKINNEY         TX     75070‐4975
JANICE COX               213 MARCIA DR                                                                             CLINTON          TN     37716‐3905
JANICE COYLE             11850 CHASE BLVD                                                                          LIVONIA          MI     48150‐5038
JANICE CRAIG             9581 W. 975 N.                                                                            MIDDLETOWN       IN     47356
JANICE CRANSTON          74 REMICK PKWY APT A                                                                      LOCKPORT         NY     14094‐3975
JANICE CRUMPTON          18027 OHIO ST                                                                             DETROIT          MI     48221‐2517
JANICE CUNDIFF           71 BUISDALE DR                                                                            INDIANAPOLIS     IN     46214‐3911
JANICE CUNNINGHAM        7268 SHARP RD                                                                             SWARTZ CREEK     MI     48473‐9445
JANICE CUSMANO           46870 FARMALL TRL                                                                         MACOMB           MI     48044‐3787
JANICE CZOLGOSZ‐COOPER   5984 W FREELAND RD                                                                        FREELAND         MI     48623‐8912
JANICE D ALEXANDER       5000 RIDGEWOOD RD APT 1304                                                                JACKSON          MS     39211
JANICE D CALLOWAY        5954 MORNAY DR                                                                            INDIANAPOLIS     IN     46254‐5176
JANICE D HANNER          326 NEWPORT DR APT 1702                                                                   NAPLES           FL     34114‐9676
JANICE D HOSFELT         1267 BROADWAY AVE.                                                                        MASURY           OH     44438
JANICE D MC NABB         1307 BENT DR                                                                              FLINT            MI     48504‐1903
JANICE D THOMAS          411 C NORTH 4TH PLACE                                                                     GADSDEN          AL     35901‐2480
JANICE D WASHINGTON      649 CALDER AVE                                                                            YPSILANTI        MI     48198‐8031
JANICE DAILEY            569 EUGENE ST                                                                             YPSILANTI        MI     48198‐6172
JANICE DALEY             1941 SUGARTREE CIR 1941                                                                   NEW SMYRNA       FL     32168
                                                                                                                   BEACH
JANICE DALTON            12624 ANTIOCH RD              PO BOX 420                                                  LEESBURG        OH      45135‐9451
JANICE DALTON            8430 BLAKE ST                                                                             GREENWOOD       LA      71033‐3322
JANICE DAMM              955 E DECKERVILLE RD                                                                      CARO            MI      48723‐9371
JANICE DANKERT           5421 S 45TH ST                                                                            GREENFIELD      WI      53220‐5131
JANICE DAVIS             PO BOX 535                                                                                LINCOLN PARK    MI      48146‐0535
JANICE DAVIS             3813 PROVIDENCE ST                                                                        FLINT           MI      48503‐4550
JANICE DAVIS             5070 COHOCTAH RD                                                                          LINDEN          MI      48451‐8546
JANICE DAVIS             305 W HARVARD AVE                                                                         MUNCIE          IN      47303‐1132
JANICE DAVIS             1810 W NORFOLD DR APT 5                                                                   ESSEXVILLE      MI      48732‐1810
JANICE DE COURCY         5008 NW PENNINGTON LN                                                                     BLUE SPRINGS    MO      64015‐2328
JANICE DE GEER           31409 MOUND ROAD                                                                          WARREN          MI      48092
JANICE DEAN              269 W VILLA DR                                                                            BOWLING GREEN   KY      42101‐9045
JANICE DEAN              1376 N HOSPITAL RD                                                                        WATERFORD       MI      48327‐1524
JANICE DECKER            2718 PROSPECT ST                                                                          FLINT           MI      48504‐3347
JANICE DEMPSEY           612 HENDRICKS ST                                                                          ANDERSON        IN      46016‐1061
JANICE DENNY             PO BOX 8014                                                                               CARLISLE        OH      45005‐8014
JANICE DENSON            19335 APPLETON ST                                                                         DETROIT         MI      48219‐5603
JANICE DERBY             2023 COLVIN BLVD                                                                          TONAWANDA       NY      14150‐6905
JANICE DEVENGENCIE       1502 KEARNEY ST                                                                           NILES           OH      44446‐3844
JANICE DIETRICH          225 SOUTHTOWNE DR APT C101                                                                S MILWAUKEE     WI      53172‐4130
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Name                 Address1                         Address2          Address3         Address4               City               State   Zip
JANICE DILLINDER     705 RAINBOW DR                                                                             MILTON              WI     53563‐1649
JANICE DILLON        5600 BROOK RD NW                                                                           LANCASTER           OH     43130‐9167
JANICE DINKINS       598 CONTRY ROAD 3772                                                                       QUEEN CITY          TX     75572
JANICE DIVERGILIO    47093 HUNTERS CHASE DR                                                                     MACOMB              MI     48042‐5124
JANICE DOEDEN        328 OSCEOLA AVE                                                                            DEFIANCE            OH     43512‐2427
JANICE DONALDSON     7356 CRYSTAL LAKE DR APT 9                                                                 SWARTZ CREEK        MI     48473‐8945
JANICE DORTON        5317 HARRINGTON ST                                                                         BROOKSVILLE         FL     34601‐2357
JANICE DOTY          8400 BENNETT LAKE ROAD                                                                     FENTON              MI     48430‐9009
JANICE DOWDY         354 MARIE CT                                                                               ATHENS              GA     30607‐3691
JANICE DOWELL        1091 PERSHING ST SW                                                                        WARREN              OH     44485‐3053
JANICE DUENGEL       2186 OXLEY DR                                                                              WATERFORD           MI     48328‐1831
JANICE DUFF          3206 E FRANCES RD                                                                          CLIO                MI     48420‐9760
JANICE DUNCAN        1222 ROSCOE RD                                                                             NEWNAN              GA     30263‐5586
JANICE DURHAM        1225 SHOMAN ST                                                                             WATERFORD           MI     48327‐1860
JANICE DYPSKI        7457 EMBASSY DR                                                                            CANTON              MI     48187‐1543
JANICE DZICKOWSKI    5473 NORTHLAWN DR                                                                          STERLING HTS        MI     48310‐6628
JANICE E BENDER      54 H SOUTH POINT DR                                                                        SANDWICH            MA     02563
JANICE E DENNY       PO BOX 8014                                                                                CARLISLE            OH     45005‐8014
JANICE E EUCKER      6538 ROUTE 305 NE                                                                          FOWLER              OH     44418‐9717
JANICE E KAYLOR      7797DEFIANCE‐PAULDING CO LI RD                                                             ANTWERP             OH     45813
JANICE E KOLKER      2323 TRINITY DR                                                                            MIDDLETOWN          OH     45044
JANICE E SCHARBA     635 GREENVILLE ROAD                                                                        HADLEY              PA     16130
JANICE E UNDERWOOD   705 HARVEY ST                                                                              GADSDEN             AL     35901
JANICE E WILLIAMS    5142 N JENNINGS RD                                                                         FLINT               MI     48504‐1114
JANICE ECKER         3700 CHEVEL DR                                                                             BRIDGEPORT          MI     48722‐9556
JANICE EDMONSON      1637 LONGBOW LN                                                                            WEST CARROLLTON     OH     45449‐2344

JANICE EDWARDS       1705 N DUANE RD                                                                            MUNCIE             IN      47304‐2647
JANICE ELDRIDGE      PO BOX 2892                                                                                ANDERSON           IN      46018‐2892
JANICE ELFERS        2714 E PLEASANT RD                                                                         MILTON             WI      53563‐9471
JANICE ELLIOTT       11548 BARONWOOD CT                                                                         HUDSON             FL      34667‐5579
JANICE ENDRESZ       4910 GUY YOUNG RD                                                                          BREWERTON          NY      13029‐9764
JANICE ENGELHART     3010 PONEMAH DR                                                                            FENTON             MI      48430‐1343
JANICE EPPERSON      6614 E WOODSIDE RD                                                                         ALBANY             IN      47320‐9160
JANICE ESSER         7200 JOY MARIE LN                                                                          WATERFORD          WI      53185‐1867
JANICE EUCKER        6538 ROUTE 305 NE                                                                          FOWLER             OH      44418
JANICE EVANS         PO BOX 941                                                                                 BOLINGBROOK        IL      60440‐1083
JANICE EVERSOLE      1442 GOFF MILL RD                                                                          MC MINNVILLE       TN      37110‐7886
JANICE F ADAMS       3218 RASKOB ST                                                                             FLINT              MI      48504‐3270
JANICE F HAYNES      RR 2 BOX 223                                                                               WANETTE            OK      74878‐9765
JANICE F HUFF        4348 POST RAIL LN                                                                          FRANKLIN           OH      45005‐4951
JANICE F PARSONS     119 JADE CIRCLE                                                                            CANFIELD           OH      44406‐9662
JANICE F ROBBINS     303 W OLIVER ST                                                                            CORUNNA            MI      48817‐1635
JANICE F SIPE        2233 MANTON DR                                                                             MIAMISBURG         OH      45342‐3979
JANICE FEENEY        1412 S CLINTON ST                                                                          DEFIANCE           OH      43512‐3201
JANICE FENN          6749 LAGRANGE DR                                                                           CANAL WINCHESTER   OH      43110‐8206

JANICE FERRIS        3710 BRANCH RD                                                                             FLINT               MI     48506‐2414
JANICE FIGGINS       4400 SWAFFER RD                                                                            VASSAR              MI     48768‐9289
JANICE FINDLEY       2258 FAIRWAY PINES COURT 4 4                                                               BAY CITY            MI     48706
JANICE FIORINO       60 CHERRY TREE CIR                                                                         LIVERPOOL           NY     13090‐2447
JANICE FISCHER       1404 CARRIAGE DR                                                                           TECUMSEH            MI     49286‐7736
JANICE FISHER        11595 UPTON RD                                                                             GRAND LEDGE         MI     48837‐9187
JANICE FITZPATRICK   4502 CLOVERLAWN DR                                                                         FLINT               MI     48504‐2058
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Name                                Address1                          Address2                   Address3   Address4               City             State Zip
JANICE FORCINA                      119 JOHNSON AVE                                                                                CUYAHOGA FALLS    OH 44221‐1731
JANICE FORDHAM                      UNIT A                            19213 AVENUE OF THE OAKS                                     SANTA CLARITA     CA 91321
JANICE FORSTER                      153 HALSTON PKWY                                                                               EAST AMHERST      NY 14051‐1891
JANICE FOWLER                       299 LANDING RD SE                                                                              BOLIVIA           NC 28422‐7709
JANICE FRAZIER                      PO BOX 634                                                                                     LOCUST GROVE      GA 30248‐0634
JANICE FUGATE                       2865 MOUNTAIN RANCH DR                                                                         DANDRIDGE         TN 37725‐4031
JANICE FUGETT                       8537 PEACHWOOD DR                                                                              DAYTON            OH 45458‐3249
JANICE FULLER                       83 HUNTER'S RILL                                                                               LAPEER            MI 48446
JANICE FULLUM                       56 COVEYTOWN RD                                                                                CONSTABLE         NY 12926‐2812
JANICE G BANKS                      1608 RONDO DR                                                                                  GREENVILLE        NC 27858‐5338
JANICE G BLAKE                      10016 N. ASHINGTON ST.                                                                         GARRETTSVILLE     OH 44231‐9450
JANICE G BRADLEY                    217 JOSHUA DR.                                                                                 BROOKVILLE        OH 44403‐9619
JANICE G TERNA                      9833 KENNETH LN                                                                                HUDSON            FL 34667‐3853
JANICE G THOMAS                     6600 STATE ROUTE 46                                                                            CORTLAND          OH 44410
JANICE GACIOCH                      8189 TIMBER TRL                                                                                WHITE LAKE        MI 48386‐3597
JANICE GARCIA                       425 CARRIE DR                                                                                  FLUSHING          MI 48433‐1937
JANICE GARLAND                      4240 FULTON AVE                                                                                MORAINE           OH 45439‐2124
JANICE GARRETT                      1808 N 16TH ST                                                                                 NEW CASTLE        IN 47362‐4324
JANICE GARRISON                     8123 W ASHFORD LN                                                                              MUNCIE            IN 47304‐9500
JANICE GARTH                        PO BOX 410914                                                                                  KANSAS CITY       MO 64141‐0914
JANICE GATRELL                      912 GREENFIELD DR                                                                              MANSFIELD         OH 44904‐2116
JANICE GEARHART                     1029 BARR AVE                                                                                  LANSING           MI 48911‐4017
JANICE GELINAS                      32 LANTERN LN                                                                                  HOOKSETT          NH 03106‐2147
JANICE GENEROUS                     38685 STACEY CT                                                                                LIVONIA           MI 48154‐1025
JANICE GENSBURG                     PO BOX 44                                                                                      VIENNA            OH 44473‐0044
JANICE GIBBONS                      209 SHEPARD ST                                                                                 LANSING           MI 48912‐2714
JANICE GIROUX                       27316 MICHELE ST                                                                               DEARBORN HEIGHTS MI 48127‐1809

JANICE GIVENS                       40339 RIVERBEND DR                                                                             STERLING HTS       MI   48310‐7809
JANICE GIVENS                       5578 TELLURIDE BLF                                                                             WESTERVILLE        OH   43081‐6716
JANICE GODDARD                      85 MELODY DR                                                                                   COVINGTON          GA   30014‐3619
JANICE GOLDSBERRY                   70 S MICKLEY AVE                                                                               INDIANAPOLIS       IN   46241‐1202
JANICE GOLDSWORTHY                  7031 LINDEN RD                                                                                 FENTON             MI   48430‐9324
JANICE GONZALES                     9584 PINE VALLEY DR                                                                            GRAND BLANC        MI   48439‐2676
JANICE GRANT                        1444 N RECKER RD APT 137                                                                       MESA               AZ   85205‐4421
JANICE GRASS                        705 WEST ST                                                                                    OCEANSIDE          CA   92054‐5021
JANICE GRAY                         8163 W GRAND RIVER RD                                                                          LAINGSBURG         MI   48848‐8710
JANICE GREEN                        8636 STABLEMILL LN                                                                             CORDOVA            TN   38016‐6154
JANICE GREEN                        2504 EDGEWOOD DR                                                                               BELOIT             WI   53511‐7031
JANICE GREENE                       4225 FORBES ST                                                                                 FORT WORTH         TX   76105‐5018
JANICE GREGORY                      315 S 29TH ST                                                                                  SAGINAW            MI   48601‐6345
JANICE GRILL                        1375 270TH AVE                                                                                 FOSSTON            MN   56542‐9676
JANICE GROVER                       3131 WILDER RD                                                                                 BAY CITY           MI   48706‐2361
JANICE GRZYBOWSKI                   36740 N SCHAFER ST                                                                             CLINTON TOWNSHIP   MI   48035‐1883

JANICE GUIKEMA                      5095 76TH ST SE                                                                                CALEDONIA          MI   49316‐7911
JANICE GUMMEL                       805 PLUM ST                                                                                    TRENTON            NJ   08638‐3352
JANICE GUYNN                        5049 BRADDOCK RD                                                                               WOODBINE           MD   21797‐9705
JANICE H BATES                      2715 MILLER GRABER RD.                                                                         NEWTON FALLS       OH   44444‐8721
JANICE H COOK                       5429 RAWLINGS DR                                                                               DAYTON             OH   45432‐3623
JANICE H HENDERSON                  169 MERLIN ST                                                                                  ROCHESTER          NY   14613‐2149
JANICE H LOW                        8442 S 750 W                                                                                   PENDLETON          IN   46064‐8744
JANICE H SCHURY/ARNO B SCHURY CO‐   C/O ARNO SCHURY                   720 W TUSCOLA                                                FRANKENMUTH        MI   48734
TRUSTEES
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Name                 Address1                       Address2            Address3         Address4               City            State   Zip
JANICE HADDIX        523 SIESTA DR                                                                              LODI             OH     44254‐1102
JANICE HALL          621 SUNSET DR                                                                              AZLE             TX     76020‐2347
JANICE HALL          7773 OLD DAYTON RD                                                                         DAYTON           OH     45427‐1412
JANICE HALLMARK      PO BOX 14065                                                                               HALTOM CITY      TX     76117‐0065
JANICE HAMILTON      3417 BELLEVUE RD                                                                           TOLEDO           OH     43606‐2055
JANICE HAMILTON      108 DRAYTON CT                                                                             FRANKLIN         TN     37067‐1353
JANICE HAMMER        5378 N 550 W                                                                               SHARPSVILLE      IN     46068‐9312
JANICE HANNER        326 NEWPORT DR APT 1702                                                                    NAPLES           FL     34114‐9676
JANICE HARDEN        1149 RIVER HILL DR                                                                         FLINT            MI     48532‐2871
JANICE HARPER        14116 RUTLAND ST                                                                           DETROIT          MI     48227‐1316
JANICE HARRIS        2518 HOLLY BROOK LN APT 901                                                                ARLINGTON        TX     76006‐5179
JANICE HARTMAN       840 E GILKEY RD                                                                            BURLINGTON       WA     98233‐3024
JANICE HARTMAN       562 GAMEWELL DR                                                                            MIAMISBURG       OH     45342‐2786
JANICE HARTZELL      12443 PRESCOTT ST                                                                          SPRING HILL      FL     34609‐1740
JANICE HARWOOD       263 MAIN ST                                                                                LINCOLNVILLE     ME     04849‐5654
JANICE HAWKINS       1002 DALTON ST                                                                             COLUMBIA         TN     38401‐3820
JANICE HAYNES        RR 2 BOX 223                                                                               WANETTE          OK     74878‐9765
JANICE HAYNIE        5200 28TH ST N                 LOT 600                                                     ST PETERSBURG    FL     33714‐2592
JANICE HEINTZELMAN   3705 DUNBAR AVE SW                                                                         WYOMING          MI     49509‐3902
JANICE HEINZE        1423 FIELD STREET                                                                          DETROIT          MI     48214‐2321
JANICE HEISER        372 WEATHERSFIELD DR                                                                       KETTERING        OH     45440‐4448
JANICE HEIT          2173 E JUDD RD                                                                             BURTON           MI     48529‐2404
JANICE HENDERSON     129 E CENTRAL AVE                                                                          RAVENNA          OH     44266‐2201
JANICE HENNESSY      805 CENTREAL AVE                                                                           CROYDON          PA     19021
JANICE HERMAN        3602 HUGHES HWY                                                                            CLAYTON          MI     49235‐9604
JANICE HIGLEY        681 S WAYNE AVE                                                                            COLUMBUS         OH     43204‐2930
JANICE HILEWSKY      10324 DIAMOND PARK RD                                                                      INTERLOCHEN      MI     49643‐9591
JANICE HILL          7307 MORRISH RD                                                                            SWARTZ CREEK     MI     48473‐7624
JANICE HILL          4155 E BLUE RIDGE RD                                                                       SHELBYVILLE      IN     46176‐5000
JANICE HILLIARD      13180 WESTMINISTER ST                                                                      SOUTHGATE        MI     48195‐3023
JANICE HINSON        20612 LOCKWOOD ST                                                                          TAYLOR           MI     48180‐2976
JANICE HOCKEY        6315 WILLIAMS LAKE RD                                                                      WATERFORD        MI     48329‐3064
JANICE HODGES        1856 NORTHGATE DR              APT 208                                                     BELOIT           WI     53511‐2604
JANICE HOFFMAN       210 W NORTH UNION ST APT 7                                                                 BAY CITY         MI     48706‐3586
JANICE HOFFMAN       1638 BROADWAY BLVD                                                                         FLINT            MI     48506‐3577
JANICE HOLLAND       1530 E CRONK RD                                                                            OWOSSO           MI     48867‐9471
JANICE HOLLIS        10015 MOODY AVE                                                                            OAK LAWN          IL    60453‐3721
JANICE HOOKS         806 MOUNT OLIVET RD                                                                        KANNAPOLIS       NC     28083‐7211
JANICE HORTON        6458 W STATE ROAD 42                                                                       MONROVIA         IN     46157‐9393
JANICE HOSFELT       1267 BROADWAY STREET                                                                       MASURY           OH     44438‐1453
JANICE HOUSTON       807 WEST AVE APT 3213                                                                      ELYRIA           OH     44035‐9200
JANICE HUFF          4348 POST RAIL LN                                                                          FRANKLIN         OH     45005‐4951
JANICE HUMBLE        6470 BIRCH ST APT 201                                                                      NORTH BRANCH     MN     55056‐6044
JANICE HUMPHREY      434 GOLDSBERRY CIR                                                                         SHREVEPORT       LA     71106‐8346
JANICE HUNNICUTT     PO BOX 1325                                                                                CLARKSTON        MI     48347‐1325
JANICE HUNTER        921 MAY DR                                                                                 MONROE           MI     48161‐1266
JANICE HURLEY        1707 MCKINLEY ST                                                                           BAY CITY         MI     48708‐6733
JANICE HURLOCK       1000 CEDAR AVE                                                                             SAINT CLOUD      FL     34769‐4081
JANICE HURST         28 COGNAC DR                                                                               LAKE ST LOUIS    MO     63367‐1702
JANICE HURST         5601 DEVONSHIRE RD                                                                         DETROIT          MI     48224‐3234
JANICE HUSS          429 VILLAGE GREEN CIR                                                                      MURFREESBORO     TN     37128‐5860
JANICE HYTEN         3415 INDIANWOOD RD                                                                         LAKE ORION       MI     48362‐1039
JANICE I CURINGTON   240 FIELDSTONE DR APT 1                                                                    DAYTON           OH     45426‐8812
JANICE I DE COURCY   5008 NW PENNINGTON LN                                                                      BLUE SPRINGS     MO     64015‐2328
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Name                   Address1                            Address2                         Address3            Address4               City              State   Zip
JANICE I SMITH         38 KENDALL MILLS RD RD 2                                                                                        HOLLEY             NY     14470‐9206
JANICE IENNA           9691 MULBERRY CT                                                                                                FREELAND           MI     48623‐8635
JANICE ISKERKA         16515 GRACE CT APT 100                                                                                          SOUTHGATE          MI     48195‐3611
JANICE IVY             606 S MAIN ST                                                                                                   MANSFIELD          OH     44907‐1362
JANICE J GADON         JANICE J GADON & HAROLD GADON CO‐   JANICE J GADON TRUST DTD 6/16/87 51 TUPELO HILL DR                          CRANSTON            RI    02920‐3723
                       TTEES
JANICE J HEPNER        35 INVERRARY RD                                                                                                 PINEHURST         NC      28374
JANICE J NEWKIRK IRA   C/O JANICE J NEWKIRK                1200 HIDDEN OAKS DR                                                         DAYTON            OH      45459
JANICE J PATRICK       3390 TANYA, N.W.                                                                                                WARREN            OH      44485‐1321
JANICE J WOLFE         PO BOX 2203                                                                                                     FULTON            TX      78358‐2203
JANICE JACKSON         312 SCOTT ST APT 1B                                                                                             BREWTON           AL      36426‐2728
JANICE JACKSON         15204 ADRI CIR                                                                                                  COMMERCE TWP      MI      48390‐5863
JANICE JACKSON BOYD    350 JESSELIN DR                                                                                                 LEXINGTON         KY      40503
JANICE JAMISON         675 EGGERT RD                                                                                                   BUFFALO           NY      14215‐1201
JANICE JAMISON         10 MARLENE DR                                                                                                   WILLIAMSBURG      OH      45176‐9363
JANICE JEFFERSON       1003 BERWICK BLVD                                                                                               PONTIAC           MI      48341‐2318
JANICE JETT            7216 REGISTRY DR                                                                                                INDIANAPOLIS      IN      46217‐7478
JANICE JOHNS           1826 S ARMSTRONG ST                                                                                             KOKOMO            IN      46902‐2032
JANICE JOHNSON         7127 HILLSIDE DR                                                                                                WEST BLOOMFIELD   MI      48322‐2847

JANICE JOHNSON         2638 GATELY DR. E39                                                                                             WEST PALM BEACH    FL     33415

JANICE JOHNSON         204 VANCE LN                                                                                                    BOWLING GREEN     KY      42101‐7443
JANICE JOHNSON         471 EAST ST                         UPPR APTS                                                                   BUFFALO           NY      14207
JANICE JOHNSTON        9508 LYTHAM DR                                                                                                  SHREVEPORT        LA      71129‐4826
JANICE JOHNSTON        1610 PIPER LN APT 103                                                                                           DAYTON            OH      45440‐5051
JANICE JONES           573 S ROGERS DR                                                                                                 PUEBLO WEST       CO      81007‐1693
JANICE JONES           8109 S 350 E                                                                                                    JONESBORO         IN      46938‐9753
JANICE JONES           9 ROSE CIR                                                                                                      DRASCO            AR      72530‐9321
JANICE JONES JR        1845 W 85TH ST                                                                                                  CHICAGO           IL      60620‐4718
JANICE JUBAK           546 OBERMIYER RD                                                                                                BROOKFIELD        OH      44403‐9703
JANICE JUDD            37547 BINGO BLVD                                                                                                ZEPHYRHILLS       FL      33541‐4139
JANICE JUNE            211 W 2ND ST                                                                                                    DAVISON           MI      48423‐1313
JANICE K CAMPBELL      9840 GERALDINE ST                                                                                               YPSILANTI         MI      48197‐6922
JANICE K GRAY          1205 JUPITER ST                                                                                                 GADSDEN           AL      35901
JANICE K HALL          7773 OLD DAYTON RD                                                                                              DAYTON            OH      45417
JANICE K OSBORNE       313 MOUNTAIN CREST DR                                                                                           LA FOLLETTE       TN      37766
JANICE K SCHLYTTER     8526 OLD PLANK RD                                                                                               GRAND BLANC       MI      48439‐2045
JANICE K ZAREMBA       20404 MALLORY SQUARE CIR                                                                                        REHOBOTH BEACH    DE      19971
JANICE KARLS           896 PLANTATION DR                                                                                               SAGINAW           MI      48638‐7159
JANICE KAYA            12855 HIDDEN CREEK DR                                                                                           PLYMOUTH          MI      48170‐2982
JANICE KAYLOR          7797 DEFIANCE PAULDING C L RD                                                                                   ANTWERP           OH      45813‐9006
JANICE KAZMERSKI       6335 N MICHIGAN RD                                                                                              SAGINAW           MI      48604‐9208
JANICE KEM             1612 E 56TH ST                                                                                                  ANDERSON          IN      46013‐3003
JANICE KEMPKER         230 WATERFORD CROSSING DR                                                                                       O FALLON          MO      63368‐7119
JANICE KENNEDY         9465 CADDO LAKE RD                                                                                              MOORINGSPORT      LA      71060‐9045
JANICE KIEL            1130 ALPINE AVE NW                                                                                              GRAND RAPIDS      MI      49504‐4142
JANICE KILLIAN         9101 SHORELINE DR                                                                                               WADESVILLE        IN      47638‐9006
JANICE KIMMEL          1120 OLD ROSWELL RD                                                                                             ROSWELL           GA      30076‐1629
JANICE KINSEY          1007 SANDUSKY ST                                                                                                PLYMOUTH          OH      44865‐1167
JANICE KIPP            5363 SYRACUSE RD                                                                                                VENICE            FL      34293‐6475
JANICE KIRK            454 SUMMIT VIEW PL                                                                                              STONE MOUNTAIN    GA      30087‐6316
JANICE KIZER           1549 MAPLE LN                                                                                                   BENTON HARBOR     MI      49022‐9503
JANICE KNAPP           PO BOX 91                                                                                                       OLD MONROE        MO      63369‐0091
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Name                                 Address1                       Address2            Address3         Address4               City               State   Zip
JANICE KNIGHT                        2115 MORNINGSIDE DR NW                                                                     HUNTSVILLE          AL     35810‐4025
JANICE KNIGHT                        4416 FREE PIKE                                                                             DAYTON              OH     45416‐1237
JANICE KRAPOHL                       1181 W PRINCETON AVE                                                                       FLINT               MI     48505‐1218
JANICE KUDERNA                       7280 NORMANDY DR                                                                           PARMA               OH     44134‐5436
JANICE KUMLIEN                       PO BOX 3008                                                                                JANESVILLE          WI     53547‐3008
JANICE KWIATKOWSKI                   6141 MACKERSIE AVE                                                                         WARREN              MI     48091‐4129
JANICE L BENNETT                     51193 UNION ST                                                                             BELLEVILLE          MI     48111‐4426
JANICE L BROWNLEE                    470 N CAWSTON AVE                                                                          HEMET               CA     92545‐2341
JANICE L BURCH                       2715 FIELDING DR                                                                           LANSING             MI     48911‐2328
JANICE L CARD                        445 W LINWOOD RD                                                                           LINWOOD             MI     48634‐9764
JANICE L COLE                        1320 WINTERVIEW DRIVE                                                                      JACKSON             MS     39211
JANICE L CZOLGOSZ‐COOPER             5984 W FREELAND RD                                                                         FREELAND            MI     48623‐8912
JANICE L DIXON                       5144 TUCSON DR                                                                             DAYTON              OH     45418‐2248
JANICE L FINNEY‐ADAMS                120 YULAN DR APT A                                                                         WILMINGTON          NC     28412
JANICE L HARDY TTEE JANICE L HARDY   13463 MICHIGAN AVE                                                                         HUNTLEY              IL    60142‐7565
TRUST 2/20/09
JANICE L KEETON                      209 MAGNOLIA DR                                                                            FAIRBORN           OH      45324‐3514
JANICE L LINTON                      606 W HIGHLAND ST                                                                          TECUMSEH           OK      74873‐3828
JANICE L MARS                        2355 UTLEY RD                                                                              FLINT              MI      48532‐4966
JANICE L NAGY                        2717 MILDA COURT                                                                           BEAVERCREEK        OH      45430
JANICE L NORRIS                      1576 EDENDALE RD                                                                           DAYTON             OH      45432‐3644
JANICE L POWERS                      410 PAMELA                                                                                 DAYTON             OH      45415‐3026
JANICE L ROKUS                       311 NILES VIENNA                                                                           VIENNA             OH      44473‐9501
JANICE L SABO                        3192 N IRISH RD                                                                            DAVISON            MI      48423‐9582
JANICE L SCHMUNK                     PO BOX 375                                                                                 FRANKENMUTH        MI      48734‐0375
JANICE L SMITH                       6676 CORWIN AVE                                                                            WAYNESVILLE        OH      45068‐8957
JANICE L THOMAS                      1864 EILEEN ST                                                                             YPSILANTI          MI      48198‐6240
JANICE L WELLS                       6540 MARINO LN                                                                             DAYTON             OH      45424
JANICE L WILLIAMS                    1337 INVERNESS AVE                                                                         YOUNGSTOWN         OH      44502
JANICE L ZAMBELLI                    1108 HARVEST DR                                                                            LEBANON            PA      17046
JANICE L. JENNINGS                   ATTY FOR RUDOLPH TOWNS         PO BOX 1013                                                 WEST PALM BEACH    FL      33402

JANICE LA FRANCE‐MCGINNIS            6345 SHAPPIE RD                                                                            CLARKSTON           MI     48348‐1959
JANICE LADD‐HORKEY                   5017 W 35TH AVE                                                                            DENVER              CO     80212‐1820
JANICE LANE                          1316 PEERLESS RD                                                                           BEDFORD             IN     47421‐8100
JANICE LAURENTIUS                    22605 COLGATE ST                                                                           FARMINGTON HILLS    MI     48336‐3617

JANICE LAWRENCE                      1593 SASSAFRAS DR                                                                          MANSFIELD          OH      44905‐2378
JANICE LAWRENCE                      3417 N 9TH AVE                                                                             PENSACOLA          FL      32503
JANICE LAWSON                        11333 MERRIMAN RD                                                                          LIVONIA            MI      48150‐2848
JANICE LAYNE                         10 PARKER LANE                                                                             JASPER             GA      30143‐5451
JANICE LEBIECKI                      46398 BENTLEY CIR W                                                                        MACOMB             MI      48044‐3924
JANICE LEGERE                        2729 WEDGEWOOD WAY                                                                         AUDUBON            PA      19403‐1985
JANICE LEWIS                         2512 EDGECOMBE CIR N APT E                                                                 BALTIMORE          MD      21215‐6850
JANICE LILE                          PO BOX 647                                                                                 LATHROP            MO      64465‐0647
JANICE LINDEMIER                     1215 KENWOOD ST                                                                            BELDING            MI      48809
JANICE LINTON                        606 W HIGHLAND ST                                                                          TECUMSEH           OK      74873‐3828
JANICE LISCOMBE                      1820 BEACH DR                                                                              CRYSTAL            MI      48818‐9780
JANICE LISENBEE                      127 PINETREE LN                                                                            FLINT              MI      48506‐1064
JANICE LIVSEY                        49131 RAINBOW LN N                                                                         NORTHVILLE         MI      48168‐8522
JANICE LOCKETT                       5006 E 42ND ST                                                                             KANSAS CITY        MO      64130‐1650
JANICE LOCKHART                      123 S MCKINLEY RD                                                                          FLUSHING           MI      48433‐2037
JANICE LOGAN                         PO BOX 54                                                                                  WARRENTON          MO      63383‐0054
JANICE LOPEZ                         415 SEA RIM DR                                                                             ARLINGTON          TX      76018‐2297
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Name                               Address1                       Address2                   Address3   Address4               City               State   Zip
JANICE LOVE                        1831 DOGWOOD RIDGE RD APT D                                                                 WHEELERSBURG        OH     45694‐9240
JANICE LOW                         8442 S 750 W                                                                                PENDLETON           IN     46064‐8744
JANICE LOWE                        249 NEW BURG ST                                                                             BUFFALO             NY     14215
JANICE LOWE                        7 PICKENS ST                                                                                BEAUFORT            SC     29907‐1925
JANICE LOYD                        310 W CARSON ST                                                                             CARSON CITY         MI     48811‐9595
JANICE LUBITZ                      7053 JORDAN RD                                                                              WOODLAND            MI     48897‐9600
JANICE M ALEXANDER                 PO BOX 300                                                                                  LAKELAND            MI     48143‐0300
JANICE M ANDERSON                  14 BROOKSIDE DRIVE                                                                          HUBBARD             OH     44425
JANICE M BRUGMAN, PERSONAL         C/O BRAYTON PURCELL            222 RUSH LANDING RD                                          NOVATO              CA     94948‐6169
REPRESENTATIVE FOR KEITH BRUGMAN

JANICE M DANIEL                    2729 MELBOURNE STREET                                                                       DAYTON             OH      45417‐1659
JANICE M DILLON                    5600 BROOK RD NW                                                                            LANCASTER          OH      43130
JANICE M DIXON                     1978 EVANS LOOP SE                                                                          RUTH               MS      39662
JANICE M DORTON                    5317 HARRINGTON STREET                                                                      BROOKSVILLE        FL      34601‐2357
JANICE M GIVENS                    40339 RIVERBEND DR                                                                          STERLING HEIGHTS   MI      48310‐7809
JANICE M GRENGA                    104 MOHAWK DR                                                                               SYRACUSE           NY      13211‐1832
JANICE M HARRIS                    APT 901                        2518 HOLLY BROOK LANE                                        ARLINGTON          TX      76006‐5179
JANICE M JENSEN                    29220 SCARBOROUGH DR                                                                        WARREN             MI      48088
JANICE M LEE                       700 CAYUGA ST                                                                               YPSILANTI          MI      48198‐6166
JANICE M LOWE                      249 NEW BERG ST.                                                                            BUFFALO            NY      14215
JANICE M MCINERNEY                 1855 RATHMOR                                                                                BLOOMFIELD HILLS   MI      48304
JANICE M NOBBS                     3590 RIDGE RD. N.E.                                                                         CORTLAND           OH      44410‐9481
JANICE M SCHULTZ AND STATE FARM    C/O ZEEHANDELAR, SABATINO &    471 E BROAD ST, STE 1200                                     COLUMBUS           OH      43215
MUTUAL AUTOMOBILE INSURANCE        ASSOCIATES, LLC
COMPANY
JANICE M SIMPSON                   668 MAPLE ST.                                                                               WARREN             OH      44485‐3869
JANICE M STAPLETON                 1132 SESSIONS DR                                                                            DAYTON             OH      45459
JANICE M TANTALO                   71 CRYSTAL COMMONS DR                                                                       ROCHESTER          NY      14624
JANICE M VANDECAR                  880 TERRY AVE                                                                               PONTIAC            MI      48340‐2565
JANICE M VOEHRINGER                858 SANDBAR ST                                                                              MESQUITE           NV      89027
JANICE M ZICCARDI                  4720 KENNEDY RD                                                                             LOWELLVILLE        OH      44436‐9527
JANICE MAGGART                     4631 WOODWARD ST                                                                            WAYNE              MI      48184‐2042
JANICE MALLERNEE                   2204 ASHBOURNE RD                                                                           ANDERSON           IN      46011‐2600
JANICE MANZ                        6361 ALDEN DR                                                                               WEST BLOOMFIELD    MI      48324‐2002

JANICE MARCOUX                     1255 N FROST DR                                                                             SAGINAW            MI      48638‐5454
JANICE MARS                        2355 UTLEY RD                                                                               FLINT              MI      48532‐4966
JANICE MARSHALL                    6510 MERTZ RD                                                                               MAYVILLE           MI      48744‐9548
JANICE MARSHALL                    442 DRISKILL CIR                                                                            NEWPORT            TN      37821‐4523
JANICE MARTIN                      8070 COUNTRY PINE DR SE                                                                     ALTO               MI      49302‐9142
JANICE MASON                       225 THE RANCH RD                                                                            DEL VALLE          TX      78617‐5654
JANICE MASON                       34841 AVONDALE ST                                                                           WESTLAND           MI      48186‐4342
JANICE MATTHEWS                    3204 OHIO AVE                                                                               MIDDLETOWN         OH      45042‐2621
JANICE MATTUCCI                    PO BOX 35                                                                                   GENESEE            MI      48437‐0035
JANICE MAXHEIMER                   124 CRAIGHTON CT                                                                            FLINT              MI      48503‐4118
JANICE MAYES                       PO BOX 321                                                                                  KENDALL            NY      14476‐0321
JANICE MAYO                        30691 CREST FRST                                                                            FARMINGTON HILLS   MI      48331‐1067

JANICE MC COURY                    3451 DUNNING RD                                                                             ROCHESTER HILLS     MI     48309‐3959
JANICE MC NABB                     1307 BENT DR                                                                                FLINT               MI     48504‐1903
JANICE MCCLEAN                     397 LAKE RD                                                                                 INMAN               SC     29349‐9688
JANICE MCCOY                       3127 MATTHEW DR APT D                                                                       KOKOMO              IN     46902‐4082
JANICE MCCRANDALL                  10058 SHADYHILL LN                                                                          GRAND BLANC         MI     48439‐8319
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Name                               Address1                           Address2                    Address3          Address4                  City             State   Zip
JANICE MCCREEDY                    174 W CLYDESDALE ST                                                                                        MOUNT MORRIS      MI     48458‐8913
JANICE MCDONALD                    1809 CRICKET HILL DR                                                                                       KOKOMO            IN     46902‐4508
JANICE MCKINNEY                    9026 STATE ROUTE 700                                                                                       WINDHAM           OH     44288‐9571
JANICE MCLAUGHLIN                  3731 TACOMA AVE                                                                                            LORAIN            OH     44055‐2219
JANICE MCMILLAN                    4064 E 300 S                                                                                               MARION            IN     46953‐9203
JANICE MCMURDO                     108 KIDD AVE                                                                                               STONEWOOD         WV     26301‐4832
JANICE MCNAIR                      8421 RUTHERFORD DR                                                                                         DUNCANVILLE       AL     35456
JANICE MCQUEEN                     53 PEARL ST                                                                                                OXFORD            MI     48371‐4964
JANICE MEELER                      3474 S HENDERSON RD                                                                                        DAVISON           MI     48423‐9113
JANICE MERCER                      22021 PRESTIGE DR S                                                                                        HOLT              MO     64048‐8781
JANICE MIINCH                      25140 ELMER LADNER RD                                                                                      PASS CHRISTIAN    MS     39571‐9693
JANICE MIKE                        6213 SUNSET DR                                                                                             BEDFORD HTS       OH     44146‐3161
JANICE MILLER                      1702 SHAMROCK LN                                                                                           FLINT             MI     48504‐2013
JANICE MILLER                      93 PARADISE VALLEY DR                                                                                      CONROE            TX     77304‐1254
JANICE MILLER                      207 E MAY ST APT 4                                                                                         GLADWIN           MI     48624‐2100
JANICE MILLS                       240 PARLIAMENT LN                                                                                          FLINT             MI     48507‐5930
JANICE MILODROWSKI                 46730 COUNTRY LN                                                                                           MACOMB            MI     48044‐3331
JANICE MINNIX                      APT 42                             1125 NORTHWEST WASHINGTON                                               HAMILTON          OH     45013‐6365
JANICE MITCHELL                    107 MARSHS LN                                                                                              ELYRIA            OH     44035‐8999
JANICE MLINAR                      2208 THOMAS RD                                                                                             WILMINGTON        DE     19803‐3043
JANICE MOELLER                     3000 N APPERSON WAY TRLR 366                                                                               KOKOMO            IN     46901‐1301
JANICE MONROE                      1600 GLENEAGLES DR                                                                                         KOKOMO            IN     46902‐3181
JANICE MOORE                       507 S LOCUST ST                                                                                            SWEET SPRINGS     MO     65351‐1310
JANICE MORRIS                      425 BOUNDARY BLVD                                                                                          ROTONDA WEST      FL     33947‐2002
JANICE MORRIS                      208 BENT RIDGE DR N                                                                                        DAWSONVILLE       GA     30534‐3324
JANICE MOSS                        5707 LILY LN                                                                                               DAYTON            OH     45414‐3001
JANICE MOUTON, INDIVIDUALLY & AS   ALCEE G MOUOTON, DECEASED          C/O SEAN BROON              HOWRY BROON LLP   1900 PEARL STREET         AUSTIN            TX     78705
EXECUTRIX OF THE ESTATE OF
JANICE MOWREY                      1820 DOUBLE SPRINGS CHURCH RD SW                                                                           MONROE           GA      30656‐4628
JANICE MULLIN                      1539 FIRST AVE                                                                                             HOWELL           MI      48843
JANICE MUNSON                      666 E GRAND LEDGE HWY                                                                                      GRAND LEDGE      MI      48837‐9735
JANICE MURPHY                      10563 SPRINGRIDGE RD                                                                                       TERRY            MS      39170
JANICE MURPHY                      2175 N STATE HIGHWAY 360 APT 516                                                                           GRAN PRAIRIE     TX      75050‐1078
JANICE MURPHY                      0‐11830 BRISBEN LN NW                                                                                      GRAND RAPIDS     MI      49534
JANICE MURRAY                      290 PATRICE TER                                                                                            WILLIAMSVILLE    NY      14221‐3922
JANICE MURRELL                     584 W 300 N                                                                                                ANDERSON         IN      46011‐2052
JANICE NAPIERALSKI                 17142 BIG FALLS RD                                                                                         MONKTON          MD      21111‐1127
JANICE NELSON                      248 GLENGARY DR                                                                                            BOLINGBROOK      IL      60440‐2811
JANICE NEUENFELDT                  503 MACDUFF DR                                                                                             MOUNT MORRIS     MI      48458‐8941
JANICE NEUROHR                     11398 GRAND BLANC RD                                                                                       GAINES           MI      48436‐9744
JANICE NEWSON                      1640 SHADY LN                                                                                              SHREVEPORT       LA      71118‐2225
JANICE NICHOLS                     209 BRIAR HILL DR                                                                                          WHITELAND        IN      46184‐1703
JANICE NICKEL                      104 SUNSET DR                                                                                              TITUSVILLE       FL      32780‐2562
JANICE NOBBS                       3590 RIDGE RD                                                                                              CORTLAND         OH      44410‐9481
JANICE NORRIS                      1576 EDENDALE RD                                                                                           DAYTON           OH      45432‐3644
JANICE O CONNOR                    15924 MORGAN CT                                                                                            CLINTON TWP      MI      48035‐1015
JANICE O'KEEFE                     2075 GULLIVER DR                                                                                           TROY             MI      48085‐1031
JANICE OLSCHEWSKI                  837A LIVERPOOL CIR                                                                                         MANCHESTER       NJ      08759‐5224
JANICE OLSEN                       12016 RACHAEL                                                                                              MONTROSE         MI      48457‐8911
JANICE OLSON                       1820 MARQUETTE ST                                                                                          SAGINAW          MI      48602‐1737
JANICE ORLOP                       16680 PINE DUNES CT                                                                                        GRAND HAVEN      MI      49417‐8807
JANICE ORTON                       10125 STATE ST                                                                                             DALTON           NY      14836‐9603
JANICE P CRIDER                    3204 OUTDOOR RD                                                                                            MORAINE          OH      45439‐1316
JANICE P GENSBURG                  P O BOX 44                                                                                                 VIENNA           OH      44473‐0044
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Name                      Address1                        Address2                     Address3   Address4               City             State   Zip
JANICE P GILLIAM          1128 REPUBLIC AVE.                                                                             YOUNGSTOWN        OH     44505
JANICE P HARDY            4444 OWENS DR                                                                                  DAYTON            OH     45406
JANICE P MURRY            6297 HIGHLAND AVE SW                                                                           WARREN            OH     44481
JANICE P WARD             2576 MIAMI VILLAGE DR 432                                                                      MIAMISBURG        OH     45342
JANICE P WILLIAMS         6614 BELLTREE LN                                                                               FLINT             MI     48504‐1649
JANICE PADAVONIA          2918 SUNNYSIDE AVE                                                                             WESTCHESTER        IL    60154‐5330
JANICE PALMA              104 WEBBER DR                                                                                  ROCHESTER         NY     14626‐4024
JANICE PARENT             53 W CHICAGO AVE                                                                               PONTIAC           MI     48340‐1130
JANICE PARISH             12511 E 39TH ST S                                                                              INDEPENDENCE      MO     64055‐4361
JANICE PARKER             8027 FILLY LN                                                                                  PLAINFIELD        IN     46168‐8500
JANICE PARKINSON          PO BOX 4282                                                                                    WARREN            OH     44482‐4282
JANICE PARLIER            PO BOX 278                                                                                     OLCOTT            NY     14126‐0278
JANICE PARRISH            913 PARK AVE                                                                                   ANDERSON          IN     46012‐4010
JANICE PARSONS            119 JADE CIR                                                                                   CANFIELD          OH     44406‐9662
JANICE PATRICK            3390 TANYA AVE NW                                                                              WARREN            OH     44485‐1321
JANICE PATTERSON          4828 CEDAR DR                                                                                  GLADWIN           MI     48624‐9500
JANICE PEARSON            BEVAN & ASSOCIATES, LPA, INC    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH     44236
JANICE PELCHER            176 PEARSON LN                                                                                 ROCHESTER         NY     14612‐3538
JANICE PEPLOSKI           9270 BAYWOOD DR                                                                                PLYMOUTH          MI     48170‐3916
JANICE PEREZ              1167 TANGLEWOOD DR                                                                             HEMLOCK           MI     48626‐9204
JANICE PERRY              114 HUNTING CREEK RD                                                                           CANONSBURG        PA     15317‐2322
JANICE PERRY              3428 KEMP RD                                                                                   DAYTON            OH     45431‐2517
JANICE PERRY‐WILLIAMSON   10524 CROSSINGS DR                                                                             REMINDERVILLE     OH     44202‐9098
JANICE PETRIK             1442 MENDELSSOHN DR                                                                            WESTLAKE          OH     44145‐2345
JANICE PHILLIPS           12104 ALTON DR                                                                                 GRAFTON           OH     44044‐9529
JANICE PHILLIPS           PO BOX 224                                                                                     LUDINGTON         MI     49431‐0224
JANICE PHILLIPS           145 SOUTH ST                                                                                   CHESTERFIELD      IN     46017‐1725
JANICE PHILO              314 STRATFORD DR                                                                               PRUDENVILLE       MI     48651‐9316
JANICE PHIPPS             30904 SMITH AVE                                                                                ARDMORE           TN     38449‐3254
JANICE PIERCE             9247 SPRING LAKES DR                                                                           INDIANAPOLIS      IN     46260‐1284
JANICE PIETEREK           424 CRANDALL ST                                                                                MILTON            WI     53563‐1112
JANICE PILERI             16530 CURTIS ST                                                                                ROSEVILLE         MI     48066‐3758
JANICE PITCH              614 BARFIELD DR APT 2                                                                          HASTINGS          MI     49058‐2596
JANICE PODLAS             3 CREEKSIDE DR                                                                                 ORCHARD PARK      NY     14127‐1203
JANICE POLI               PO BOX 207                                                                                     CLIO              MI     48420
JANICE PORTER             1605 LEROY AVE                                                                                 LEHIGH ACRES      FL     33972‐1801
JANICE POWELL             918 ROLLING HILLS LN APT 1                                                                     LAPEER            MI     48446‐4786
JANICE POWERS             4586 SUNFLOWER CIRCLE                                                                          CLARKSTON         MI     48346‐4956
JANICE PRATT              18334 LAFAYETTE WAY                                                                            LAKEVILLE         MN     55044‐4726
JANICE PRIMM              8101 HAZELTON ST                                                                               DEARBORN HTS      MI     48127‐1580
JANICE PYSCHER            6247 SPRINGDALE BLVD                                                                           GRAND BLANC       MI     48439‐8524
JANICE QUINTANA           3672 E WYATT WAY                                                                               GILBERT           AZ     85297‐7815
JANICE R BEAVERS          374 GALLOWAY ST                                                                                EPWORTH           GA     30541‐2411
JANICE R DYPSKI           7457 EMBASSY DR                                                                                CANTON            MI     48187‐1543
JANICE R HENDERSON        129 E CENTRAL AVE                                                                              RAVENNA           OH     44266‐2201
JANICE R HURST            28 COGNAC DR                                                                                   LAKE ST LOUIS     MO     63367‐1702
JANICE R POHLMAN          48 KRYSCH LANE                                                                                 WYCKOFF           NJ     07481
JANICE R SCHLOSSER        687 NOTRE DAME AVE                                                                             YOUNGSTOWN        OH     44515‐4202
JANICE R SHANNON          2659 WILLOW GLEN CIR                                                                           INDIANAPOLIS      IN     46229‐3660
JANICE R SMITH            340 ELLICOTT STREET                                                                            ROCHESTER         NY     14619‐2020
JANICE R WAGSTAFF         1910 WOODHAVEN DR APT 2                                                                        FORT WAYNE        IN     46819‐1030
JANICE RADABAUGH          7050 STAR LANE RD                                                                              NEWPORT           MI     48166‐9758
JANICE RADFORD            6340 S 425 W                                                                                   PENDLETON         IN     46064‐8758
JANICE RADFORD            1756 W HIGHWAY 1376                                                                            EAST BERNSTADT    KY     40729‐6910
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JANICE RAGSDALE        140 BARBARA TRL                                                                             SOCIAL CIRCLE       GA     30025‐4920
JANICE RALSTON         2201 ALEXANDRIA CT                                                                          O FALLON            MO     63368‐8584
JANICE RALSTON         1230 SPRINGWOOD CIR NW                                                                      CONYERS             GA     30012‐4229
JANICE RANDLE          901 E HAVENS ST                                                                             KOKOMO              IN     46901‐3121
JANICE RANDOLPH        1716 CHERRY HILL LN                                                                         KOKOMO              IN     46902‐3128
JANICE RASEGAN         PO BOX 966                                                                                  FOWLERVILLE         MI     48836‐0966
JANICE RAY             200 HILLTOPPER DR                                                                           BOWLING GREEN       KY     42101‐0513
JANICE REALE           8352 N M52                                                                                  HENDERSON           MI     48841
JANICE REDA            5 JODI LN                                                                                   WILTON              NY     12831‐2534
JANICE REED            13127 MERGANZER CT                                                                          LINDEN              MI     48451‐8413
JANICE REESE           PO BOX 77                                                                                   FRANKSVILLE         WI     53126‐0077
JANICE REGAN           4718 HARBORD DR                                                                             TOLEDO              OH     43623‐3933
JANICE RENS            1391 RED OAK LN NE                                                                          BELMONT             MI     49306‐9405
JANICE RETZ            PO BOX 314                                                                                  WINDFALL            IN     46076‐0314
JANICE RICH            67 FALCON CV                                                                                SHERWOOD            AR     72120‐1631
JANICE RICHARDSON      62180 ARLINGTON CIR UNIT 4                                                                  SOUTH LYON          MI     48178‐1757
JANICE RICKSGERS       3678 HUNT RD                                                                                LAPEER              MI     48446‐2943
JANICE RIDER           1613 QUAKER RD                                                                              BARKER              NY     14012‐9601
JANICE RIEBE           2020 JUSTICE LN                                                                             KOKOMO              IN     46902‐3198
JANICE RIGGLE          714 E. WALKER ST.              UNIT 8                                                       SAINT JOHNS         MI     48879
JANICE ROBBINS         303 W OLIVER ST                                                                             CORUNNA             MI     48817‐1635
JANICE ROBBINS         PO BOX 47020                                                                                INDIANAPOLIS        IN     46247‐0020
JANICE ROBERT LAWSON   FOR ACCT OF D R ROBERTS        CHILD SUPPT UNIT DOM REL                                     CINCINNATI          OH     00000
JANICE ROBERTS         2044 SIFIELD GREENS WAY                                                                     SUN CITY CENTER     FL     33573‐7168
JANICE ROBINSON MICK   3963 RAYMOND RD                                                                             FRANKFORT           MI     49635‐9727
JANICE ROERSMA         3915 FOX DR                                                                                 GRANT               MI     49327‐9041
JANICE ROGERS          7255 BLUEWATER DR APT 78                                                                    CLARKSTON           MI     48348‐4225
JANICE ROKUS           311 NILES VIENNA RD                                                                         VIENNA              OH     44473‐9501
JANICE ROLSTON         4418 CLOVERLAWN DR                                                                          FLINT               MI     48504‐2056
JANICE ROSE            8713 INVERNESS PL                                                                           TUSCALOOSA          AL     35405‐8958
JANICE ROSS            PO BOX 303                                                                                  BIRCH RUN           MI     48415‐0303
JANICE ROUPE           5303 LONG CREEK LN                                                                          HOUSTON             TX     77088‐4404
JANICE ROVNER          944 ROBIN RD                                                                                AMHERST             NY     14228‐1029
JANICE ROWE            2649 CLARK DR                                                                               GROVE CITY          OH     43123‐3549
JANICE ROY             905 S WARREN RD                                                                             OVID                MI     48866‐9594
JANICE ROY             PO BOX 249                                                                                  SARDINIA            OH     45171‐0249
JANICE RUKS            4243 BERKSHIRE DR                                                                           STERLING HEIGHTS    MI     48314‐1215
JANICE RUSSELL         5507 STONE RD                                                                               LOCKPORT            NY     14094‐9467
JANICE RUTTKOFSKY      2058 CONKLIN ST                                                                             TECUMSEH            MI     49286‐9772
JANICE S BREEDING      807 EAST CENTER STREET                                                                      GERMANTOWN          OH     45327‐1456
JANICE S CHILDS        P O BOX 2393                                                                                BRANDON             MS     39043
JANICE S HEIT          2173 E JUDD RD                                                                              BURTON              MI     48529‐2404
JANICE S JANOWICZ      1212 N JACKSON ST                                                                           BAY CITY            MI     48708‐5921
JANICE S MORRIS        5510 WINDSWEPT TRCE                                                                         SUGAR HILL          GA     30518‐6952
JANICE S OWENS         54 MADDOX ROAD                                                                              PIEDMONT            AL     36272
JANICE S PERRY         3428 KEMP RD                                                                                DAYTON              OH     45431‐2517
JANICE S SHAW          67 GLASGOW ST                                                                               ROCHESTER           NY     14608‐2419
JANICE SABO            3192 N IRISH RD                                                                             DAVISON             MI     48423‐9582
JANICE SANDERS         1894 BEAL RD                                                                                MANSFIELD           OH     44903‐9174
JANICE SANDERS         14445 KENT ST                                                                               DETROIT             MI     48213‐2042
JANICE SANDLIN         466 COUNTY ROAD 534                                                                         MOULTON             AL     35650‐7589
JANICE SANECKI         1557 LEROY ST                                                                               FERNDALE            MI     48220‐1656
JANICE SARKA           52917 WICKERSHAM DR                                                                         SHELBY TOWNSHIP     MI     48315‐2550
JANICE SARVER          PO BOX 42                                                                                   LAKE MILTON         OH     44429‐0042
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JANICE SASS          16010 RUSSELL AVE                                                                                           ALLEN PARK        MI     48101‐2726
JANICE SAWMA         5920 PORTER RD                                                                                              NIAGARA FALLS     NY     14304‐1574
JANICE SCHIELE       135 DOGWOOD DR                                                                                              OAKLAND           MI     48363‐1313
JANICE SCHIVER       PO BOX 850173                                                                                               YUKON             OK     73085‐0173
JANICE SCHLOSSER     687 NOTRE DAME AVE                                                                                          YOUNGSTOWN        OH     44515‐4202
JANICE SCHLYTTER     8526 OLD PLANK RD                                                                                           GRAND BLANC       MI     48439‐2045
JANICE SCHMITT       16 HILLTOP DR                                                                                               DANVILLE          IN     46122‐1334
JANICE SCHMUNK       PO BOX 375                                                                                                  FRANKENMUTH       MI     48734‐0375
JANICE SCHOMP        53 S MAIN ST                                                                                                BETHEL            VT     05032
JANICE SCHONS        1203 MEADOWLARK DR                                                                                          WATERFORD         MI     48327‐2957
JANICE SCHRAH        3405 GREENVIEW DR                                                                                           GARLAND           TX     75044‐6933
JANICE SCHULTER      30725 NORMAL ST                                                                                             ROSEVILLE         MI     48066‐1608
JANICE SCOTT         1792 CADILLAC AVE                                                                                           YPSILANTI         MI     48198‐9203
JANICE SCOVEL        129 SUGARWOOD LN                                                                                            THOMASVILLE       GA     31792‐8026
JANICE SCROGGINS     165 SOUTH SCOTT STREET                                                                                      ADRIAN            MI     49221‐2532
JANICE SECHLER       91 CORTVIEW DR                                                                                              CORTLAND          OH     44410‐1401
JANICE SERGENT       1282 JOAN DR                                                                                                HAMILTON          OH     45013‐9616
JANICE SHAFFER       5330 CGSHEN RD                                                                                              FORT WAYNE        IN     46818‐9640
JANICE SHANNON       2659 WILLOW GLEN CIR                                                                                        INDIANAPOLIS      IN     46229‐3660
JANICE SHARON        1160 HARTMAN ST                                                                                             MOUNT MORRIS      MI     48458‐2521
JANICE SHEPPARD      6029 N RAIDER RD                                                                                            MIDDLETOWN        IN     47356‐9792
JANICE SHERRILL      11336 CAPE COD ST                                                                                           TAYLOR            MI     48180‐6203
JANICE SHEVELL       C/O MARC D MICELI ESQ         CARELLA BYRNE BAIN GILFILLAN ET   5 BECKER FARM ROAD                          ROSELAND          NJ     07068
JANICE SHIMMONS      10361 STANLEY RD                                                                                            FLUSHING          MI     48433‐9247
JANICE SHOOK         136 WESTMORELAND DR W                                                                                       KOKOMO            IN     46901‐5108
JANICE SIMPSON       668 MAPLE ST SW                                                                                             WARREN            OH     44485‐3869
JANICE SINAUSKAS     5915 HUMMINGBIRD LN                                                                                         CLARKSTON         MI     48346‐2934
JANICE SLAUSON       6380 WEST MANGO LANE                                                                                        CRYSTAL RIVER     FL     34429‐5628
JANICE SLOSAR        2049 W BROWN RD                                                                                             MAYVILLE          MI     48744‐9608
JANICE SMITH         1088 W ANDERSON RD                                                                                          LINWOOD           MI     48634‐9819
JANICE SMITH         3705 DONNELLY ST                                                                                            FLINT             MI     48504‐2274
JANICE SMITH         6676 CORWIN AVE                                                                                             WAYNESVILLE       OH     45068‐8957
JANICE SMITH         38 KENDALL MILLS RD RD 2                                                                                    HOLLEY            NY     14470
JANICE SMITH         PO BOX 382                                                                                                  LIBERAL           KS     67905‐0382
JANICE SMITH         13324 6TH ST                                                                                                GRANDVIEW         MO     64030‐2963
JANICE SMITH         3630 N LESLEY AVE                                                                                           INDIANAPOLIS      IN     46218‐1856
JANICE SMITH         104 CONCORD DR                                                                                              COLUMBIA          TN     38401‐7200
JANICE SMITH         1913 S NEBO RD                                                                                              YORKTOWN          IN     47396‐9596
JANICE SMITH         400 E HOGAN CIR                                                                                             AVON PARK         FL     33825‐8988
JANICE SNYDER        2243 CROOKS ST                                                                                              ASHLAND           KY     41101‐3903
JANICE SOMMERVILLE   3535 PINE CREEK RD                                                                                          METAMORA          MI     48455‐9602
JANICE SOULE         3435 HANCHETT ST                                                                                            SAGINAW           MI     48604‐2112
JANICE SOUTHERLING   1548 WAVERLY RD                                                                                             HOLT              MI     48842‐9657
JANICE SPEAR         PO BOX 863                                                                                                  WESTFIELD         IN     46074‐0863
JANICE SPEARS        25596 TAROCCO DR                                                                                            BONITA SPRINGS    FL     34135‐6403
JANICE SPENS         423 DAN DR                                                                                                  IMLAY CITY        MI     48444
JANICE SPIKES        3132 MORNING SPRINGS DR                                                                                     HENDERSON         NV     89074‐6941
JANICE SPRONG        12156 E 300 N                                                                                               GREENTOWN         IN     46936‐8704
JANICE STADLER       5320 N LINDEN RD                                                                                            FLINT             MI     48504‐1108
JANICE STAHL         8718 CAMBRIDGE DR                                                                                           VERSAILLES        OH     45380‐9569
JANICE STAMBAUGH     204 CHURCH ST                                                                                               TONGANOXIE        KS     66085‐9002
JANICE STANIS        5091 BORDMAN RD                                                                                             DRYDEN            MI     48428‐9311
JANICE STAPLETON     1132 SESSIONS DR                                                                                            DAYTON            OH     45459‐8713
JANICE STAPLETON     604 SW 5TH ST                                                                                               OAK GROVE         MO     64075‐9752
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JANICE STAVALE       400 ABBEY WOOD DR                                                                          ROCHESTER        MI     48306‐2603
JANICE STEINBRUGGE   146 CHURCH ST                                                                              DAYTON           OH     45410‐1802
JANICE STEVENS       4185 ENGLAND BEACH RD                                                                      WHITE LAKE       MI     48383‐1720
JANICE STINSON       4934 BETHESDA DUPLEX RD                                                                    COLLEGE GROVE    TN     37046‐9258
JANICE STOCKMAN      442 PASADENA BLVD                                                                          TOLEDO           OH     43612‐2521
JANICE STOWE         252 STAHL AVE                                                                              CORTLAND         OH     44410‐1138
JANICE STREETER      6492 E HOLLY ST                                                                            INVERNESS        FL     34452‐7693
JANICE STUDEBAKER    1620 HORLACHER AVE                                                                         KETTERING        OH     45420‐3235
JANICE SULLIVAN      1247 STYER DR                                                                              NEW CARLISLE     OH     45344‐2723
JANICE SULLIVAN      5303 E TWAIN AVE SPC 9                                                                     LAS VEGAS        NV     89122‐4647
JANICE SUTTLES       4639 TRIPLE OAKS LN                                                                        CHATTANOOGA      TN     37416‐1922
JANICE SWAN          9272 S 96TH ST                                                                             FRANKLIN         WI     53132‐9518
JANICE SWARTS        1256 N. 400 WEST               STE. 143                                                    MARION           IN     46952
JANICE SWARTZ        6430 ALMOND LN                                                                             CLARKSTON        MI     48346‐2204
JANICE SWINFORD      18 W 37TH ST                                                                               ANDERSON         IN     46013‐4202
JANICE SYPIEN        25041 HAYES ST                                                                             TAYLOR           MI     48180‐2104
JANICE TASMA         154 ROSEMARY ST SE                                                                         GRAND RAPIDS     MI     49507‐3450
JANICE TAYLOR        19141 GREENLAWN ST                                                                         DETROIT          MI     48221‐1635
JANICE TAYLOR        15198 SPRING LAKE DR                                                                       ATHENS           AL     35614‐4946
JANICE TAYLOR        208 COTTONWOOD DR                                                                          ANDERSON         IN     46012‐1006
JANICE TAYLOR        1947 E RIVER DR                                                                            BEAVERTON        MI     48612‐9474
JANICE TEEPLE        36 PEARL ST                                                                                OXFORD           MI     48371‐4963
JANICE TEETERS       3259 DAWES AVE SE                                                                          GRAND RAPIDS     MI     49508
JANICE TERNA         9833 KENNETH LN                                                                            HUDSON           FL     34667‐3853
JANICE TERRELL       893 SCOTT RD                                                                               RIVERDALE        GA     30296‐1553
JANICE TERRY         18603 FENMORE ST                                                                           DETROIT          MI     48235‐3063
JANICE TERRY         1269 HUBBARD CT                                                                            SPRING HILL      FL     34608‐7450
JANICE TESSNER       5043 SUNSET DR                                                                             COLUMBIAVILLE    MI     48421‐8922
JANICE THOMPSON      1014 LEE ST SW                                                                             WYOMING          MI     49509‐1360
JANICE THORINGTON    3814 E SAINT ANDREWS RD                                                                    MIDLAND          MI     48642‐6157
JANICE THRASHER      31814 GABLE ST                                                                             LIVONIA          MI     48152‐1556
JANICE TIPTON        1304 ASH ST                                                                                HUNTINGTON       IN     46750
JANICE TOBIAS        3243 CHENOA STREET                                                                         COMMERCE TWP     MI     48382‐4108
JANICE TOLBERT       2837 W 18TH ST                                                                             ANDERSON         IN     46011‐4069
JANICE TORBERT       397 W PRINCETON AVE                                                                        YOUNGSTOWN       OH     44511‐2414
JANICE TRADOR        1380 BALDWIN AVE                                                                           PONTIAC          MI     48340‐1918
JANICE TRAVIS        7966 REEDS CORNERS RD                                                                      DANSVILLE        NY     14437‐8906
JANICE TRICE         7717 S RIDGELAND AVE                                                                       CHICAGO           IL    60649‐4505
JANICE TRIPP         388 QUINNIPIAC AVE                                                                         NORTH HAVEN      CT     06473‐3754
JANICE TUGGLE        2992 CASCADE MANOR DR                                                                      DECATUR          GA     30034‐3254
JANICE TURLEY        21253 YONTZ RD LOT 27                                                                      BROOKSVILLE      FL     34601‐1646
JANICE TURNER        2117 S 47TH ST                                                                             KANSAS CITY      KS     66106‐2424
JANICE TURNPAUGH     6593 CROSSBRIDGE DR                                                                        NOBLESVILLE      IN     46062‐7370
JANICE TYLER         2603 SAUGUS CIR                                                                            COLUMBUS         OH     43224‐3747
JANICE TYSON         30 FORD RD S                                                                               MANSFIELD        OH     44905‐2932
JANICE UHLIG         2676 ASHBURTON CT                                                                          OAKLAND          MI     48306‐4927
                                                                                                                TOWNSHIP
JANICE UNDERWOOD     5518 EAST TIMBERVIEW CT                                                                    WILMINGTON       DE     19805
JANICE UNGER         3300 WICKLOW CT APT 4                                                                      SAGINAW          MI     48603‐7416
JANICE UNGUREAN      1035 E MADGE AVE                                                                           HAZEL PARK       MI     48030‐2164
JANICE VAUGHN        119 FAIRWAY TRACE                                                                          CADIZ            KY     42211‐6521
JANICE VESSELS       17414 N 125TH AVE                                                                          SUN CITY WEST    AZ     85375‐5110
JANICE VIGIL         11660 CHESAPEAKE DR                                                                        RENO             NV     89506‐9493
JANICE VIVIANO       835 OLD 30 RD APT 3                                                                        JACKSONVILLE     NC     28546‐9787
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Name                 Address1                      Address2                      Address3   Address4               City              State Zip
JANICE VOEHRINGER    858 SANDBAR ST                                                                                MESQUITE           NV 89027‐7008
JANICE W DUCKWORTH   139 PINE ISLAND DR                                                                            JACKSON            MS 39206
JANICE W HOES
JANICE WADE          13863 E STATE FAIR ST                                                                         DETROIT           MI   48205‐1864
JANICE WAGNER        5195 RHINE DR                                                                                 FLINT             MI   48507‐2914
JANICE WAGSTAFF      1910 WOODHAVEN DR APT 2                                                                       FORT WAYNE        IN   46819‐1030
JANICE WALDNER       2849 N SHOLES AVE                                                                             MILWAUKEE         WI   53210‐1360
JANICE WALLACE       403 ASPEN CT                                                                                  WARSAW            IN   46580‐3100
JANICE WAMER         1538 ROOSEVELT AVE                                                                            NEWTON FALLS      OH   44444‐9756
JANICE WARD          6456 E BENNINGTON RD                                                                          DURAND            MI   48429‐9792
JANICE WARD          2576 MIAMI VILLAGE DR.                                                                        MIAMISBURG        OH   45342‐5210
JANICE WARD          808 WOODLAKE DR                                                                               JACKSON           MS   39206‐2220
JANICE WARE          2307 ASHDOWN DRIVE                                                                            BOSSIER CITY      LA   71111‐5917
JANICE WARNER        6177 CLOVERDALE DR                                                                            GREENTOWN         IN   46936‐9708
JANICE WARREN        913 E RICHMOND ST                                                                             KOKOMO            IN   46901‐3117
JANICE WASHBURN      214 WILLA CIR                                                                                 PULASKI           TN   38478‐3150
JANICE WATSON        531 KIBBEE RD                                                                                 MCDONOUGH         GA   30252‐3920
JANICE WATTERSON     15256 CYNTHIA STREET                                                                          SOUTHGATE         MI   48195‐2011
JANICE WATTS         100 JEPSON ST                                                                                 FALL RIVER        MA   02723‐3016
JANICE WAYMIRE       1603 E 400 N                                                                                  ANDERSON          IN   46012‐9397
JANICE WEBB          ROUTE 4 BOX 4010 L                                                                            PIEDMONT          MO   63957
JANICE WEEDEN        107 MARKHAM LN                                                                                CROSSVILLE        TN   38558‐2647
JANICE WELCH         8055 BURT RD                                                                                  BIRCH RUN         MI   48415‐8713
JANICE WELLS         6540 MARINO                                                                                   DAYTON            OH   45424‐8122
JANICE WELTER        236 COOLIDGE DR                                                                               BAY CITY          MI   48706‐1438
JANICE WESLEY        4817 LATHROP AVE                                                                              RACINE            WI   53403‐9706
JANICE WESTCOTT      1322 SABRA RD                                                                                 TOLEDO            OH   43612‐2128
JANICE WHEELER       460 MIDDLE LEESVILLE RD                                                                       BEDFORD           IN   47421‐7333
JANICE WHITE         1850 BELDEN AVE SW                                                                            WYOMING           MI   49509‐1321
JANICE WHITE         515 W MARKLAND AVE                                                                            KOKOMO            IN   46901‐6109
JANICE WHITE         6149 TREND ST                                                                                 MAYVILLE          MI   48744‐9138
JANICE WHITEHEAD     9324 TERRY ST                                                                                 ROMULUS           MI   48174‐1543
JANICE WHITEHOUSE    18305 CLAIRMONT CIR E                                                                         NORTHVILLE        MI   48168‐8533
JANICE WILBORN       200 LIBERTY CREEK DR                                                                          CLARKESVILLE      GA   30523‐2203
JANICE WILLIAMS      5223 WOODBROOK DR APT B                                                                       INDIANAPOLIS      IN   46254‐3529
JANICE WILLIAMS      6614 BELLTREE LN                                                                              FLINT             MI   48504‐1649
JANICE WILLIAMS      4101 NEW RD                                                                                   YOUNGSTOWN        OH   44515‐4630
JANICE WILLIAMS      372 E ATHERTON RD                                                                             FLINT             MI   48507‐2733
JANICE WILLIAMS      5142 N JENNINGS RD                                                                            FLINT             MI   48504‐1114
JANICE WILLIAMSON    700 REYNOLDS DR                                                                               WATERFORD         MI   48328‐2036
JANICE WILLING       1804 W BURBANK AVE                                                                            JANESVILLE        WI   53546‐5958
JANICE WILLINGHAM    560 COUNTY ROAD 521                                                                           RIPLEY            MS   38663‐7761
JANICE WILSON        6799 HIGH PINE DR                                                                             DAVISBURG         MI   48350‐2957
JANICE WIMPEY        PO BOX 1134                                                                                   LAWRENCEVILLE     GA   30046‐1134
JANICE WITHROW       2024 S MARION AVE                                                                             JANESVILLE        WI   53546‐5993
JANICE WITTY         THE MADEKSHO LAW FIRM         8866 GULF FREEWAY SUITE 440                                     HOUSTON           TX   77017
JANICE WOLF          1304 MIRAMAR ST APT 204                                                                       CAPE CORAL        FL   33904‐9784
JANICE WOLFE         PO BOX 2203                                                                                   FULTON            TX   78358‐2203
JANICE WOLFE         320 RAINBOW DR                                                                                KOKOMO            IN   46902‐3796
JANICE WOOLLEY       8377 FLEMMING PKWY                                                                            GOODRICH          MI   48438‐9043
JANICE WRONA         15409 S UNION PL                                                                              PLAINFIELD        IL   60544‐3149
JANICE WURTZ         124 CALUMET CT                                                                                CRESTVIEW HILLS   KY   41017‐2220
JANICE Y BROOKS      46025 SPRING LN APT 104                                                                       SHELBY TOWNSHIP   MI   48317‐4864
JANICE Y COLVIN      PO BOX 277                                                                                    CRAWFORDVILLE     FL   32326‐0277
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Name                         Address1                         Address2                     Address3   Address4               City               State Zip
JANICE Y SHEPARD‐NELSON      820 AUDREY PLACE                                                                                DAYTON              OH 45406
JANICE YERIGIAN              18241 HURON RIVER DR                                                                            NEW BOSTON          MI 48164‐9355
JANICE YORK                  51 S ANDERSON AVE                                                                               PONTIAC             MI 48342‐2909
JANICE YOUNG                 19381 RENSELLOR ST                                                                              LIVONIA             MI 48152‐2524
JANICE YOUNG                 5874 DVORAK ST                                                                                  CLARKSTON           MI 48346‐3222
JANICE YOUNG                 4445 BURNHAM AVE                                                                                TOLEDO              OH 43612‐1919
JANICE ZACHARIAS             9506 FARRAND RD                                                                                 OTISVILLE           MI 48463‐9776
JANICE ZAIFERT IRA BOA       16127 EMERALD ESTATE DR                                                                         WESTON              FL 33331
JANICE ZALEWSKI              20751 STAFFORD ST                                                                               CLINTON TWP         MI 48035‐4070
JANICE ZAREMBA               20404 MALLORY SQUARE CIR                                                                        REHOBOTH BCH        DE 19971‐7008
JANICE ZEZULKA               22521 ENGLEHARDT ST                                                                             SAINT CLAIR SHORES MI 48080‐2199

JANICE ZICCARDI              4720 KENNEDY RD                                                                                 LOWELLVILLE        OH   44436‐9527
JANICE ZIEGLER               13931 FARLEY                                                                                    REDFORD            MI   48239‐2828
JANICE ZIMMER                2514 RUTLEDGE AVE                                                                               JANESVILLE         WI   53545‐1382
JANICE, PAUL D               800 EDENBOUGH CIR APT 207                                                                       AUBURN HILLS       MI   48326‐4546
JANICEK JR, STEVE F          4927 LYTLE RD                                                                                   CORUNNA            MI   48817‐9593
JANICEK, ELEANOR B           APT 18                           3001 NORTHLAND ROAD                                            MOUNT DORA         FL   32757‐2331
JANICEK, ELEANOR B           3001 NORTHLAND ROAD              APARTMENT 18                                                   MOUNT DORA         FL   32757
JANICEK, ROBERT J            5235 CORUNA CT                                                                                  SANTA BARBARA      CA   93111‐2413
JANICK, JAMES J              11068 PEMBERTON DR                                                                              STERLING HEIGHTS   MI   48312‐2062
JANICK, JAMES P              63 GREER ROAD                                                                                   BURLINGTON         CT   06013‐2112
JANICK, LAURIE T             11068 PEMBERTON DR                                                                              STERLING HEIGHTS   MI   48312‐2062
JANICK, LAURIE TWARDOKUS     11068 PEMBERTON DR                                                                              STERLING HEIGHTS   MI   48312‐2062
JANICK, RONALD J             15331 BURR OAK RD                                                                               PLANO              IL   60545‐9620
JANICKE, HARRIET             1056 RIPPLE RDG                                                                                 DARIEN             IL   60561‐5497
JANICKI RAYMOND T (467620)   ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                     BALTIMORE          MD   21202
                                                              CHARLES CENTER 22ND FLOOR
JANICKI, GEORGE C            PO BOX 510                                                                                      DAYTON             OH   45405‐0510
JANICKI, GEORGIA L           11722 HAMILTON PL                                                                               WHITE MARSH        MD   21162‐1116
JANICKI, GERTRUDE S          32 BAHAMA LN                                                                                    CHEEKTOWAGA        NY   14225‐4804
JANICKI, JANET M             32243 CAMBORNE LN                                                                               LIVONIA            MI   48154‐3176
JANICKI, RAYMOND T           ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                      BALTIMORE          MD   21202
                                                              CHARLES CENTER 22ND FLOOR
JANICKI, RICHARD L           1453 YUCCA PL                                                                                   GLENDORA           CA   91740‐5827
JANICKI, ROBERT M            832 GREAT BEND DR                                                                               DIAMOND BAR        CA   91765‐2049
JANICKI, STELLA              11696 KLINGER                                                                                   HAMTRAMCK          MI   48212‐3160
JANICKI, STELLA              11696 KLINGER ST                                                                                HAMTRAMCK          MI   48212‐3160
JANICZEK ANNE M              1110 STONE HOUSE RD                                                                             LOWER GWYNEDD      PA   19002‐2174
JANIE A ELKINS               826 BUFFINGTON WAY                                                                              CANTON             GA   30115‐8565
JANIE A SHOCK‐YOUNGER        4444 MEADOWBROOK DR                                                                             FLINT              MI   48506‐2005
JANIE ACREE                  4901 FOX RIDGE CT                                                                               COLUMBUS           OH   43228‐2215
JANIE ALT                    97 JUNIPER RD                                                                                   DELTA              PA   17314‐8616
JANIE ANDERSON               100 PARSONS ST APT 808                                                                          DETROIT            MI   48201‐2077
JANIE ARAFAT                 2568 CHANTERELL DR                                                                              TROY               MI   48083‐2482
JANIE B BURGESS              7 MAUREEN DR                                                                                    ROCHESTER          NY   14624‐4513
JANIE BAILEY                 5604 OAK GROVE RD                                                                               FORT WORTH         TX   76134‐2327
JANIE BAILEY                 29736 ELKWOOD SECTION RD                                                                        ARDMORE            AL   35739‐8634
JANIE BAKER                  2710 TANGLEWOOD TRL                                                                             EAST POINT         GA   30344‐6631
JANIE BELCHER                5605 AUTUMNWOOD CT                                                                              CLARKSTON          MI   48346‐3107
JANIE BENTANCUR              PO BOX 723                                                                                      HOLGATE            OH   43527‐0723
JANIE BIBBS                  635 E 71ST STREET                                                                               CHICAGO            IL   60619‐1251
JANIE BOARDS                 4385 BATON ROUGE DR                                                                             HERMITAGE          TN   37076‐2329
JANIE BOONE                  8478 PINE RD                                                                                    CINCINNATI         OH   45236‐1965
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Name                Address1                      Address2                     Address3   Address4               City              State   Zip
JANIE BRADLEY       28 GLEN AVE                                                                                  NEW CASTLE         DE     19720‐2008
JANIE BROWN         306 EAST CHERRY ST BOX 12                                                                    ADVANCE            IN     46102
JANIE BROWNING      27599 LAHSER RD APT 237                                                                      SOUTHFIELD         MI     48034‐6263
JANIE BRYANT        15829 ARCHDALE ST                                                                            DETROIT            MI     48227‐1509
JANIE BURGESS       7 MAUREEN DR                                                                                 ROCHESTER          NY     14624‐4513
JANIE CARLSON       1408 N SCOTT RD                                                                              SAINT JOHNS        MI     48879‐8006
JANIE CARSON        796 MILLER ST SW                                                                             WARREN             OH     44485‐4150
JANIE CHAMPION      3120 MARYLAND AVENUE                                                                         FLINT              MI     48506‐3031
JANIE CHILDRESS     BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS     OH     44236
JANIE CHRISTIE      5825 LAKEVIEW CIR                                                                            LITHONIA           GA     30058‐1843
JANIE CLICK         1121 ELM DR                                                                                  KENNETT            MO     63857‐3705
JANIE COLE          541 S SANTEE RD                                                                              MC CLELLANVILLE    SC     29458‐9639
JANIE COOLEY        16535 STEEL ST                                                                               DETROIT            MI     48235‐4215
JANIE D MCMANIOUS   13331 BLACK MEADOW RD                                                                        SPOTSYLVANIA       VA     22553‐4142
JANIE D VAUGHN      735 ALMOND AVE                                                                               DAYTON             OH     45417‐1206
JANIE DIMMICK       2439 APRIL DR                                                                                MOUNT MORRIS       MI     48458‐8205
JANIE DOORN         2410 BYRUM BLVD                                                                              JOLIET              IL    60431‐1004
JANIE DOVER         18014 REED ST                                                                                MELVINDALE         MI     48122‐1561
JANIE E CHAMPION    3120 MARYLAND AVE                                                                            FLINT              MI     48506‐3031
JANIE ELKINS        PO BOX 13151                                                                                 LAS VEGAS          NV     89112‐1151
JANIE ENGLE         4995 N RAISIN CENTER HWY                                                                     TECUMSEH           MI     49286‐9551
JANIE EWING         6003 DEVLIN AVE                                                                              NIAGARA FALLS      NY     14304‐3127
JANIE FELOSKY       14 TURTLE CRK                                                                                PITTSFORD          NY     14534‐9711
JANIE FLEMING       7610 S INDIANA AVE                                                                           CHICAGO             IL    60619‐2329
JANIE FONT          10020 ROAD I9                                                                                OTTAWA             OH     45875‐9664
JANIE FOSTER        5221 E VIENNA RD                                                                             CLIO               MI     48420‐9770
JANIE FREEMAN       556 BEST ST. APT. 2                                                                          BUFFALO            NY     14208
JANIE GARNER        8309 SUSSEX ST                                                                               DETROIT            MI     48228‐2248
JANIE GARVIN        2335 JOSWICK RD                                                                              AUBURN HILLS       MI     48326‐2318
JANIE GETER         174 CARR ST                                                                                  PONTIAC            MI     48342‐1609
JANIE GIGER         4551 HOLCOMB ST                                                                              DETROIT            MI     48214‐1388
JANIE GLENN         175 EASTON AVE                                                                               BUFFALO            NY     14215‐3532
JANIE GUAJARDO      5937 SAINT LAWRENCE ST                                                                       DETROIT            MI     48210‐3712
JANIE HADDOCK       45 ARMSTRONG ST                                                                              FLUSHING           MI     48433‐9238
JANIE HALL          2821 ARTHUR K BOLTON PKWY                                                                    GRIFFIN            GA     30223‐7702
JANIE HAMILTON      5032 CHESHAM DR                                                                              DAYTON             OH     45424‐3770
JANIE HAMILTON      5032 CHESHAM DR                                                                              DAYTON             OH     45424‐3770
JANIE HEATHMAN      1820 MAPLEWOOD ST NE                                                                         WARREN             OH     44483‐4172
JANIE HILLER        8842 HEMLOCK DR                                                                              OVERLAND PARK      KS     66212‐2946
JANIE HINDS         2262 E 200 N                                                                                 WINDFALL           IN     46076‐9431
JANIE HORNOR        17 NORTH PARKER ST                                                                           WARREN             PA     16365
JANIE HUDLER        192 GARDEN STATION RD                                                                        AVONDALE           PA     19311‐9366
JANIE I HUGHES      1258 W LONE PILGRIM RD                                                                       FOREST             MS     39074‐7774
JANIE J NIX         64 HERMITAGE HILLS BLVD                                                                      HERMITAGE          PA     16148
JANIE JACKSON       9655 WARD ST                                                                                 DETROIT            MI     48227‐3734
JANIE JACKSON       6210 DETROIT ST                                                                              MOUNT MORRIS       MI     48458‐2736
JANIE JACKSON       7630 TIERRA ARBOR WAY                                                                        SACRAMENTO         CA     95828‐2311
JANIE KELLER        5110 MAYBEE RD                                                                               CLARKSTON          MI     48346‐4336
JANIE KINCAID       2044 BROWN ST                                                                                FORT WAYNE         IN     46802‐6714
JANIE KIRK          9222 CACTUS LN                                                                               LOVELAND           OH     45140‐9342
JANIE KOONCE        16767 OAKFIELD ST                                                                            DETROIT            MI     48235‐3412
JANIE L DAVIS       155 SALINA ST                                                                                ROCHESTER          NY     14619‐1013
JANIE L DIMMICK     2439 APRIL DR                                                                                MOUNT MORRIS       MI     48458‐8205
JANIE L FOSTER      5221 E VIENNA RD                                                                             CLIO               MI     48420‐9770
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Name                     Address1                       Address2                        Address3   Address4               City               State   Zip
JANIE L MOORE            1063 TERRY AVE                                                                                   MOUNT MORRIS        MI     48458‐2539
JANIE L PASCHAL          9297 ESSEX ST                                                                                    ROMULUS             MI     48174‐1579
JANIE LARUE              213 W 4TH ST APT 30                                                                              KEENE               TX     76059‐1717
JANIE LOWE               11119 SHANNON CIR                                                                                HAMPTON             GA     30228‐1563
JANIE M COLE             541 SOUTH SANTEE ROAD                                                                            MCCLELLANVLE        SC     29458‐9639
JANIE M KESLING          RR #2 BOX 315                                                                                    GERMANTOWN          OH     45327‐9802
JANIE M LARKINS          356 ST PAUL STREET #B                                                                            ROCHESTER           NY     14605‐1748
JANIE M PROUDFOOT        2531 GRIFFITH DR                                                                                 CORTLAND            OH     44410‐9657
JANIE MACK               1811 JANES AVE                                                                                   SAGINAW             MI     48601‐1853
JANIE MC COY             4011 REDWOOD ARBOR LN                                                                            FRESNO              TX     77545‐8858
JANIE MCGOWAN            1281 NORTH AVE                                                                                   PLAINFIELD          NJ     07062‐1724
JANIE MCMANIOUS          13331 BLACK MEADOW RD                                                                            SPOTSYLVANIA        VA     22553‐4142
JANIE MILAM              THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                                       HOUSTON             TX     77017
JANIE NEALY              14397 RUTHERFORD ST            C/O GENETTE CYNTHIA STOWERS                                       DETROIT             MI     48227‐1833
JANIE NIX                64 HERMITAGE HILLS BLVD                                                                          HERMITAGE           PA     16148‐5714
JANIE PASCHAL            9297 ESSEX ST                                                                                    ROMULUS             MI     48174‐1579
JANIE PECK               4106 ADA CREEK DR                                                                                GAINESVILLE         GA     30506‐2625
JANIE PROUDFOOT          2531 GRIFFITH DR                                                                                 CORTLAND            OH     44410‐9657
JANIE PROUDFOOT          2531 GRIFFITH DR., N.E.                                                                          CORTLAND            OH     44410‐9657
JANIE R BUTLER           PO BOX 50473                                                                                     ALBANY              GA     31703
JANIE REDDING            4235 RIDGETOP DR                                                                                 ELLENWOOD           GA     30294‐1910
JANIE REED               1599 SARASOTA TRL                                                                                PORTAGE             MI     49002‐3940
JANIE ROBINSON           6081 SUMMIT ST                                                                                   SYLVANIA            OH     43560‐1277
JANIE RODRIGUEZ          1606 COLONNADE DR                                                                                ARLINGTON           TX     76018‐1828
JANIE ROSS               109 W 7TH ST                                                                                     TILTON               IL    61833‐7805
JANIE SHELBY             18958 SUSSEX ST                                                                                  DETROIT             MI     48235‐2840
JANIE SHOCK‐YOUNGER      4444 MEADOWBROOK DR                                                                              FLINT               MI     48506‐2005
JANIE STARK              3280 POMME DE TERRE CIR                                                                          FLEMINGTON          MO     65650‐9552
JANIE STARR              10 NIMITZ DR                                                                                     DAYTON              OH     45431‐1312
JANIE THARPE             PO BOX 5                                                                                         HAZEL               KY     42049‐0005
JANIE THOMPSON           3748 LEESBURG RD                                                                                 HOPKINS             SC     29061‐9060
JANIE TREJO              1076 RIVER VALLEY DR                                                                             LAKE ORION          MI     48362‐3485
JANIE VALDEZ             6364 E HILL RD                                                                                   GRAND BLANC         MI     48439‐9125
JANIE WALKER             17357 HARTWELL ST                                                                                DETROIT             MI     48235‐4138
JANIE WALKER             1522 TEAL DR                                                                                     LAWRENCEVILLE       GA     30043‐3295
JANIE WALLER             12077 UNIT 90 INA DR                                                                             STERLING HEIGHTS    MI     48313
JANIE WALLS              1714 ELMWOOD LN                                                                                  KOKOMO              IN     46902‐3265
JANIE WARE               C/O JON B MUNGER CONSERVATOR   7152 GATEWAY PARK DR                                              CLARKSTON           MI     48346‐2574
JANIE YOUNG              4241 S VASSAR RD                                                                                 DAVISON             MI     48423‐2422
JANIE YOUNG              868 NORTHLAND AVE                                                                                BUFFALO             NY     14215‐3731
JANIE YOUNG              3450 CLOVERTREE LN APT 5                                                                         FLINT               MI     48532‐4718
JANIE YOUNG              18134 GREELEY ST                                                                                 DETROIT             MI     48203‐2473
JANIE YOUNT              7025 HILLVIEW DR                                                                                 CEDAR HILL          MO     63016‐2608
JANIECE BURHORN          3493 W 400 N                                                                                     ANDERSON            IN     46011‐9250
JANIECE DULING           11653 S 550 E                                                                                    FAIRMOUNT           IN     46928‐9524
JANIECE MARIE ACRES      1365 SURREY RD.                                                                                  VANDALIA            OH     45377‐1646
JANIECE MICHELIS         947 HIGHLAND AVE                                                                                 LINCOLN PARK        MI     48146‐4201
JANIECE R CAMPBELL       7147 CRONK DR                                                                                    DAYTON              OH     45424
JANIECE VIVERETTE        PO BOX 1318                                                                                      FLINT               MI     48501‐1318
JANIES, KUMIKO T         3107 HEDGEWOOD LN                                                                                ROCHESTER HILLS     MI     48309‐4510
JANIEVE ROCKETT          PO BOX 67                      6120 MT MARIA RD                                                  HUBBARD LAKE        MI     49747‐0067
JANIFER SIMS             15082 VAUGHAN ST                                                                                 DETROIT             MI     48223‐2135
JANIGA I I I, MARTIN V   36226 POTEREK DR                                                                                 STERLING HTS        MI     48310‐7500
JANIGA STEVEN & ALEX     SIMANOVSKY ASSOC               2300 HENDERSON MILL RD NE STE                                     ATLANTA             GA     30345‐2704
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Name                       Address1                       Address2            Address3         Address4                City               State   Zip
JANIGA, GERALD J           7986 BACK CREEK RD                                                                          HAMBURG             NY     14075‐7208
JANIGA, JUDY E             79 S TRACIE LN                                                                              MARQUETTE           MI     49855‐8957
JANIGA, MARGARET P         PO BOX 273586                                                                               BOCA RATON          FL     33427‐3586
JANIGA, PATRICIA A         19013 LAUREN DR                                                                             CLINTON TWP         MI     48038‐2266
JANIGA, PAUL G             435 CHESTNUT ST                                                                             WYANDOTTE           MI     48192
JANIJAN COURSER            3710 PITKIN AVE                                                                             FLINT               MI     48506‐4221
JANIK HOFFMAN              SAUERBRUCHSTRASSE 20                                                56566 NEUWIED GERMANY
JANIK HOFFMANN             SAUERBRUCHSTRASSE 20
JANIK HOFFMANN             SAUERBRUCHSTRASSE 20           56566 NEUWIED
JANIK I I I, JOHN J        3699 SHADY BEACH BLVD                                                                       ORCHARD LAKE       MI      48324‐3060
JANIK III, JOHN J          3699 SHADY BEACH BLVD                                                                       ORCHARD LAKE       MI      48324‐3060
JANIK JR, EDWIN S          2266 SAGE LAKE RD                                                                           LUPTON             MI      48635‐9777
JANIK, CHRISTOPHER J       45611 EMERALD FOREST DR                                                                     NOVI               MI      48374‐3126
JANIK, EUGENE F            24579 EDEN AVE                                                                              HAYWARD            CA      94545‐2301
JANIK, EVELYN C            45611 EMERALD FOREST DR                                                                     NOVI               MI      48374‐3126
JANIK, GERALD              343 APPLEWOOD DR                                                                            LOCKPORT           NY      14094‐9152
JANIK, JOSEPH M            1239 S ELMS RD                                                                              FLINT              MI      48532‐5345
JANIK, JOSEPHINE           545 CHAMPAIGN RD                                                                            LINCOLN PARK       MI      48146‐3005
JANIK, MARY T              75 CRESTHAVEN DR                                                                            CHEEKTOWAGA        NY      14225‐1119
JANIK, MAUREEN A           257 FAREWAY LN                                                                              GRAND ISLAND       NY      14072‐2530
JANIK, MICHAEL A           5601 GOLDEN GLOW                                                                            BOUGERE            LA      71112
JANIK, ROBERT J            101 OLD BARNSTABLE RD                                                                       MASHPEE            MA      02649‐3252
JANIK, ROSE A              5601 GOLDENGLOW LN                                                                          BOSSIER CITY       LA      71112‐8630
JANIK, THOMAS S            11778 W SHORE DR                                                                            HOUGHTON LAKE      MI      48629‐8643
JANIK, WILLIAM             323 FAIRVIEW AVE                                                                            CANFIELD           OH      44406‐1638
JANIK, WILLIAM L           773 GLEN PARK RD                                                                            YOUNGSTOWN         OH      44512‐2706
JANILYN ANDREW             1415 E CRESTVIEW DR                                                                         COTTONWOOD         AZ      86326‐4563
JANINA BABECKY             13917 WASHINGTON ST                                                                         WOODSTOCK          IL      60098‐9458
JANINA BARANCEWICZ         1523 N EVANGELINE ST                                                                        DEARBORN HTS       MI      48127‐3406
JANINA BELARSKI            3600 N LUCILLE DR                                                                           BEVERLY HILLS      FL      34465‐3373
JANINA BRYK                3039 ELPHIN DR                                                                              STERLING HTS       MI      48310‐1726
JANINA CHECKEROSKI         37241 MARION DRIVE                                                                          STERLING HEIGHTS   MI      48312‐1961
JANINA CHOJNOWSKI          13577 SPRUCE ST                                                                             SOUTHGATE          MI      48195‐1329
JANINA CLARK               1075 FULTON AVE                APT 118                                                      SACRAMENTO         CA      95825‐4276
JANINA GUZOWSKI            20051 CARRIE ST                                                                             DETROIT            MI      48234‐3073
JANINA KOSTRUBIEC          18461 RENWICK ST                                                                            LIVONIA            MI      48152‐2837
JANINA KOT                 2818 N MASON AVE                                                                            CHICAGO            IL      60634‐5134
JANINA KRAJEWSKI           7418 STOCK RANCH RD APT 1210                                                                CITRUS HEIGHTS     CA      95621‐5604
JANINA KUMOR               38 ROOSEVELT ST                                                                             YONKERS            NY      10701‐5819
JANINA KUSTRZYK            36215 LA MARRA DR                                                                           STERLING HEIGHTS   MI      48310‐4565
JANINA LENARTOWICZ         981 GARFIELD AVE                                                                            LINCOLN PARK       MI      48146‐2705
JANINA LEWICKA‐SKOPINSKI   PO BOX 1235                                                                                 HAMTRAMCK          MI      48212
JANINA LUBINSKY            7653 WISCONSIN ST                                                                           DEARBORN           MI      48126‐1217
JANINA MORAN               381 RIDGEBURY DR                                                                            XENIA              OH      45385‐3954
JANINA NELSON              7340 STOCK RANCH RD APT 205                                                                 CITRUS HEIGHTS     CA      95621‐5568
JANINA NIEC                6292 W COURT ST                                                                             FLINT              MI      48532‐5333
JANINA NOWOSLAWSKI         40816 GULLIVER DR                                                                           STERLING HEIGHTS   MI      48310‐1740
JANINA OMILION             7116 THORNCLIFFE BLVD                                                                       PARMA              OH      44134‐5365
JANINA PAWELEC             47 ROSSITER AVE                                                                             YONKERS            NY      10701‐5008
JANINA REMBOWSKA           12 CHAMBORD CT                                                                              HAMILTON           NJ      08619‐4702
JANINA RICHARDS            2600 ARBOR GLEN DR APT 305                                                                  TWINSBURG          OH      44087‐3062
JANINA URUSKI              15413 THERESA CT                                                                            CLINTON TWP        MI      48038‐4175
JANINA ZARCZYNSKI          260 BARBADOS DR                                                                             CHEEKTOWAGA        NY      14227‐2530
JANINA ZUREK               6925 W SEWARD ST                                                                            NILES              IL      60714‐3018
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Name                            Address1                            Address2                      Address3       Address4                    City              State   Zip
JANINE A DINKEL                 5231 GLEN STEWART WAY                                                                                        INDIANAPOLIS       IN     46254‐9774
JANINE A GORDON                 4446 COUNTY ROAD 489                                                                                         ONAWAY             MI     49765‐9561
JANINE BLAKE                    6106 WEDGEWOOD DR                                                                                            GRAND BLANC        MI     48439‐4874
JANINE BOWSER                   105 MUIRFIELD DR SE                                                                                          WARREN             OH     44484‐5606
JANINE CALHOUN                  434 TORRINGTON DR                                                                                            TOLEDO             OH     43615‐5435
JANINE COOL                     3497 N VASSAR RD                                                                                             FLINT              MI     48506‐2226
JANINE COURTNEY                 1032 NOKOMIS WAY DR                                                                                          WATERFORD          MI     48328
JANINE DAUGHERTY                4395 SHERWOOD RD                                                                                             ORTONVILLE         MI     48462‐9273
JANINE DINKEL                   5231 GLEN STEWART WAY                                                                                        INDIANAPOLIS       IN     46254
JANINE DOUGLAS                  7742 PARK PL                                                                                                 MASURY             OH     44438‐9702
JANINE F TAYLOR                 1900 ARLENE AVENUE                                                                                           DAYTON             OH     45406
JANINE FALSETTA                 157 IRONWOOD DR                                                                  AMHERSTBURG ON N9V3V3
                                                                                                                 CANADA
JANINE FAVRE DE LANNELONGUE     MONTE CAUCASO 1635‐A                MEXICO, D.F.                  11000 MEXICO
JANINE FAVRE DE LANNELONGUE     MONTE CAUCASO 1635‐A                                                             MEXICO D F 11000
JANINE FRUEHAN                  43247 SANDSTONE DR                                                                                           NOVI               MI     48377‐2719
JANINE JOHNSON
JANINE K COOL                   3497 N VASSAR RD                                                                                             FLINT             MI      48506‐2226
JANINE L BERUBE                 111 MAGEE AVENUE                                                                                             ROCHESTER         NY      14613‐1112
JANINE L ERNEST                 1051 E HARVARD AVE                                                                                           FLINT             MI      48505‐1507
JANINE LAMORE                   PO BOX 1513                                                                                                  BIRMINGHAM        MI      48012‐1513
JANINE M BOBCO                  5037 COPELAND AVE NW                                                                                         WARREN            OH      44483‐1274
JANINE M POUGET                 50600 NEWCASTLE DR                                                                                           CHESTERFIELD      MI      48047‐1717
JANINE M TROVATO                66 HICKORY MANOR DR                                                                                          ROCHESTER         NY      14606‐4511
JANINE M TROVATO                464 HARWICK RD                                                                                               ROCHESTER         NY      14609‐4425
JANINE MATHIS                   48611 DEQUINDRE RD                                                                                           ROCHESTER HILLS   MI      48307‐4309
JANINE MIDGETT                  4100 PHILLIPS RD                                                                                             METAMORA          MI      48455‐9604
JANINE NAGLE                    13073 GOLFSIDE CT                                                                                            CLIO              MI      48420‐8281
JANINE NOVAK                    11603 EAGLE WAY                                                                                              BRIGHTON          MI      48114‐9089
JANINE O BRIEN                  14 DARBY RD                                                                                                  MASSAPEQUA        NY      11758‐5955
JANINE PETZOLD                  8100 FULMER RD                                                                                               MILLINGTON        MI      48746‐9776
JANINE POUGET                   50600 NEWCASTLE DR                                                                                           CHESTERFIELD      MI      48047‐1717
JANINE RAGAN                    3690 MAIN ST APT 20                                                                                          MINERAL RIDGE     OH      44440‐9770
JANINE RICHARD                  6596 MELLOW WOOD LN                                                                                          W BLOOMFIELD      MI      48322‐3763
JANINE SCHMITZ                  3368 N EUCLID AVE                                                                                            BAY CITY          MI      48706‐1329
JANINE T COOK                   33 ATWELL ST                                                                                                 ROCHESTER         NY      14612‐4801
JANINE VANDERLINDEN             RUE DE MONTIGNY 38 BTE 10                                                        BE‐6000 CHARLEROI BELGIUM

JANINE WALLACE                  4801 N MAPLEWOOD AVE                                                                                         MUNCIE            IN      47304‐1155
JANINE WICKLUND                 ONE WORLD FINANCIAL CENTER          RICHARDS KIBBE & ORBE LLP                                                NEW YORK          NY      10281
JANINE WIECZOREK                4404 ELM AVE                                                                                                 BROOKFIELD        IL      60513‐2304
JANINE YIANAKOPOLOS             73 MEADOW LN                                                                                                 MANCHESTER        NH      03109‐4818
JANIS A COREY                   162 W TENNYSON AVE                                                                                           PONTIAC           MI      48340‐2672
JANIS A WHEELER                 RR1 BOX 133 C                                                                                                GALVESTON         IN      46932
JANIS A WYMAN                   184 GARDNERS GROVE DR                                                                                        MCDONOUGH         GA      30252‐7663
JANIS ACKERSON                  5258 LYTLE RD                                                                                                CORUNNA           MI      48817‐9598
JANIS AIVARS                    465 PARKLAND TER                                                                                             PORTAGE           MI      49024‐6100
JANIS ALEX                      2314 MONTEITH ST                                                                                             FLINT             MI      48504‐4658
JANIS ALLEN                     4227 MYRTLE AVE                                                                                              CINCINNATI        OH      45236‐2409
JANIS ANDERSON                  PO BOX 932                                                                                                   MONTICELLO        MS      39654‐0932
JANIS ANDERSON                  LAW OFFICES OF PAUL T. BENTON       181 MAIN STREET                                                          BILOXI            MS      39533
JANIS ANDERSON & ALL WRONGFUL   BENEFICIARIES OF JESSE J ANDERSON   LAW OFFICE OF PAUL T BENTON   PO BOX 1341                                BILOXI            MS      39533
DEATH
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Name                              Address1                           Address2                        Address3      Address4               City               State Zip
JANIS ANDERSON AND ALL WRONGFUL   OF JESSE J ANDERSON JR, DECEASED   C/O LAW OFFICE OF PAUL T BENTON PO BOX 1341                          BILOXI              MS 39533
DEATH BENEFICIARIES
JANIS BALTPUTNIS                  13156 GARFIELD RD                                                                                       SALEM              OH   44460‐9101
JANIS BARTCH                      110 TROY RD                                                                                             WARRENTON          MO   63383‐1518
JANIS BLADES
JANIS BLAZEI                      5025 TENSAS DR                                                                                          BOSSIER CITY       LA   71111‐2538
JANIS BOBIER                      1649 WITT HILL DR                                                                                       SPRING HILL        TN   37174‐2467
JANIS BRADY                       104 HARDWOOD AVE                                                                                        HOUGHTON LAKE      MI   48629‐9338
JANIS BROWN                       1260 W 300 N                                                                                            ANDERSON           IN   46011‐9265
JANIS BUCKNER                     RR 1                                                                                                    RUSSIAVILLE        IN   46979
JANIS CARYL LOWERY                4997 HACKETT DR                                                                                         DAYTON             OH   45418‐‐ 22
JANIS CLAEYS                      6260 S SKOCELAS RD                                                                                      MANISTEE           MI   49660
JANIS CRAWFORD                    100 QUAIL HOLLOW CIR SE                                                                                 WARREN             OH   44484‐2323
JANIS D MITCHELL                  2517 JANELLE DR                                                                                         SPARKS             NV   89431‐2441
JANIS D PEARCE                    367 RIVER ISLES                                                                                         BRADENTON          FL   34208‐9048
JANIS DAVIS                       1678 SW LEXINGTON DR                                                                                    PORT ST LUCIE      FL   34953‐1629
JANIS DEWITT                      16217 SILVERCREST DR                                                                                    FENTON             MI   48430‐9155
JANIS DOUGLAS                     7404 N LIBERTY ST                                                                                       KANSAS CITY        MO   64118‐6496
JANIS DZIRNIS                     4411 N THOMAS RD                                                                                        FREELAND           MI   48623‐8925
JANIS ELAM                        69 JORDIE DR                                                                                            CORBIN             KY   40701‐8944
JANIS ESTELLE                     3407 MAJESTIC OAK CIR                                                                                   COTTONWOOD         CA   96022‐9570
JANIS EVERIDGE                    2530 N LOCKE ST                                                                                         KOKOMO             IN   46901‐1575
JANIS F LITTLE                    6680 EAST STATE ST.                                                                                     HERMITAGE          PA   16148‐9418
JANIS FABOK                       RR 2 BOX 2523                                                                                           CRESCO             PA   18326‐9558
JANIS FIELD                       8112 SMITH RD                                                                                           GAINES             MI   48436‐9732
JANIS FILIPCICH                   3551 SHERIDAN RD                                                                                        YOUNGSTOWN         OH   44502‐3048
JANIS GEORGE                      2761 MOUNTAIN VIEW RD                                                                                   STAFFORD           VA   22556‐6205
JANIS GEORGEN                     37349 MARIANO DR                                                                                        STERLING HEIGHTS   MI   48312‐2057
JANIS GREENLICK                   2613 ROCK CREEK DR                                                                                      PORT CHARLOTTE     FL   33948‐3523
JANIS HAMILTON                    3001 SW 24TH AVE APT 704                                                                                OCALA              FL   34471‐7824
JANIS HARPER                      3565 BEECHWOOD DR                                                                                       HUBBARD            OH   44425‐1907
JANIS HATCHER                     521 MARLAY RD                                                                                           DAYTON             OH   45405‐1950
JANIS HAWKINS‐CLARK               8762 AMARANTH LN                                                                                        YPSILANTI          MI   48197‐1072
JANIS HENDERSON                   215 S MCKINLEY AVE                                                                                      MUNCIE             IN   47303‐4860
JANIS HOLLEY                      9133 WINTON RD APT 24                                                                                   CINCINNATI         OH   45231‐3840
JANIS HOSLER                      2104 EASTBROOK DR                                                                                       KOKOMO             IN   46902‐4513
JANIS HOYLES                      1211 WILSON AVE                                                                                         VICKERY            OH   43464‐9642
JANIS HULME                       8031 WOODSTONE DR                                                                                       GRAND BLANC        MI   48439‐7096
JANIS HUNT                        12140 NORTHLAWN ST                                                                                      DETROIT            MI   48204‐5404
JANIS I WAGNER                    11520 EMBER                                                                                             DAVISBURG          MI   48350‐3505
JANIS J FLETCHER                  705 CRESTWOOD ST                                                                                        TILTON             IL   61833‐8014
JANIS JASTER                      915 PACIFIC AVE                                                                                         KANSAS CITY        KS   66101‐3624
JANIS JOHNSON                     PO BOX 13                                                                                               TONTOGANY          OH   43565‐0013
JANIS JOHNSON                     625 HALBAR DR                                                                                           CAMBRIDGE          OH   43725‐2143
JANIS K PHILLABAUM                310 PAGETT DR                                                                                           GERMANTOWN         OH   45327‐9332
JANIS KEENE                       23 AARON DR                                                                                             DECATUR            AL   35603‐3912
JANIS KING                        5179 WINSHALL DR                                                                                        SWARTZ CREEK       MI   48473‐1222
JANIS KLAVINS                     1028 PICCADILLY RD                                                                                      KALAMAZOO          MI   49006‐2623
JANIS L OBRIEN                    PO BOX 320602                                                                                           FLINT              MI   48532‐0011
JANIS L PETERSON                  5134 CICERO DR                                                                                          NEW PORT RICHEY    FL   34652‐6214
JANIS L TRIPP                     262 WENDHURST DRIVE                                                                                     ROCHESTER          NY   14616‐3645
JANIS LANE                        2121 ROCKWELL DRIVE                                                                                     MIDLAND            MI   48642‐9316
JANIS LAUDAHN                     3244 JOPLIN LN                                                                                          CHESAPEAKE         VA   23323‐1199
JANIS LEE                         3511 PARENT AVE                                                                                         WARREN             MI   48092‐4111
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Name                 Address1                        Address2                Address3     Address4                  City              State Zip
JANIS LEWIS          836 GARDEN POINTE DR                                                                           SIMPSONVILLE       KY 40067‐5431
JANIS LINDZY         7550 N 600 W                                                                                   FRANKTON           IN 46044‐9566
JANIS LITTLE         6680 E STATE ST                                                                                HERMITAGE          PA 16148‐9418
JANIS LOWERY         4997 HACKETT DR                                                                                DAYTON             OH 45418‐2262
JANIS LUTZ           250 SAINT ANDREWS DR                                                                           PINEHURST          NC 28374‐9506
JANIS M BARTCH       110 TROY RD                                                                                    WARRENTON          MO 63383‐1518
JANIS M HOSLER       PO BOX 320278                                                                                  FLINT              MI 48532‐0005
JANIS M JASTER       915 PACIFIC AVE                                                                                KANSAS CITY        KS 66101‐3624
JANIS M KEENE        23 AARON LN PVT DR                                                                             DECATUR            AL 35603
JANIS M KEENE        23 AARON DR                                                                                    DECATUR            AL 35603‐3912
JANIS M LAUDAHN      3244 JOPLIN LANE                                                                               CHESAPEAKE         VA 23323‐1199
JANIS MASON          13723 HARVEST LN                                                                               BATH               MI 48808‐8492
JANIS MASSENGILL     3030 ALBRIGHT RD                                                                               KOKOMO             IN 46902‐3909
JANIS MAY            4725 CHARLIE MELTON RD                                                                         ALLONS             TN 38541
JANIS MAYNARD        PO BOX 163                                                                                     EAST TAWAS         MI 48730‐0163
JANIS MCFAUL         22210 CHASE DR                                                                                 NOVI               MI 48375‐4782
JANIS MEDNIS         294 HOWLAND AVE                                                                                ROCHESTER          NY 14620‐3170
JANIS MILES          2303 BELLFIELD AVE APT 4                                                                       CLEVELAND HEIGHTS OH 44106‐3158

JANIS MITCHELL       2517 JANELLE DR                                                                                SPARKS            NV   89431‐2441
JANIS MUCKENTHALER   12055 E BRISTOL RD                                                                             DAVISON           MI   48423‐9135
JANIS MULLINIX       29 LEGRANDE AVE                                                                                PONTIAC           MI   48342‐1134
JANIS OGLESBY        3744 TRENT RD                                                                                  RANDALLSTOWN      MD   21133‐2807
JANIS OSTIPOW        8995 N FRIEGEL RD                                                                              HENDERSON         MI   48841‐9738
JANIS P HATCHER      521 MARLAY RD                                                                                  DAYTON            OH   45405
JANIS PEARSON        CARR. CHAPALA MEZCALA #8        SAN NICOLAS DE IBARRA                JALISCO 45940 MEXICO
JANIS PEIZE          200 NORTH ELIZABETH ST          APT 11                                                         HILLMAN           MI   49746
JANIS PELNIS         12348 J & L TOWNLINE RD                                                                        WHITEWATER        WI   53190
JANIS PHILLABAUM     310 PAGETT DR                                                                                  GERMANTOWN        OH   45327‐9332
JANIS PRIEBE         6437 COTTAGE DR                                                                                BELLAIRE          MI   49615‐9375
JANIS PULLEN         2814 89TH AVE E                                                                                PARRISH           FL   34219‐8326
JANIS R CARRADO      67 BAYARD WAY                                                                                  ROCHESTER         NY   14626
JANIS R MURPHY       801 LAWNDALE AVE                                                                               TILTON            IL   61833‐7965
JANIS REKIS          1420 CHEBOYGAN RD                                                                              OKEMOS            MI   48864‐3402
JANIS RICHARDS       6352 MEADOWOOD DR                                                                              GRAND BLANC       MI   48439
JANIS ROBBINS        106 KENSINGTON PL                                                                              COLUMBIA          TN   38401‐8884
JANIS ROGERS         2689 WILLIAMSBURG CIR                                                                          AUBURN HILLS      MI   48326‐3548
JANIS SCHOENINGER    5692 MABLEY HILL RD                                                                            FENTON            MI   48430‐9427
JANIS SHANKS         40333 TROTTER LANE                                                                             DADE CITY         FL   33525‐1486
JANIS SKABARDIS      3630 CURTIS RD                                                                                 BIRCH RUN         MI   48415‐9018
JANIS SMITH          99 CHEROKEE RD                                                                                 PONTIAC           MI   48341‐1502
JANIS SOUTHWELL      196 E SCOFIELD RD                                                                              LESLIE            MI   49251‐9514
JANIS STRICKLAND     5704 SOUTHWARD AVE                                                                             WATERFORD         MI   48329‐1565
JANIS TAYLOR         3063 N CO RD ‐ 800 W                                                                           KOKOMO            IN   46901
JANIS THEAMAN        3185 WILBUR RD                                                                                 MARTINSVILLE      IN   46151‐6820
JANIS VANVLERAH      501 BURT ST                                                                                    OAKWOOD           OH   45873‐8902
JANIS VILLARREAL     3732 ROLLING RIDGE CT                                                                          ORION             MI   48359‐1464
JANIS W. KAMPKA
JANIS WALLACE        1100 BELCHER RD S APT 308                                                                      LARGO             FL   33771
JANIS WICKHAM        124 W MAIN ST                                                                                  MAYVILLE          MI   48744‐8609
JANIS WILSON‐TODD    7401 LONG AVE                                                                                  SHAWNEE           KS   66216‐3607
JANIS WOLSEY
JANIS WORKMAN        3360 PAXTON CT                                                                                 HILLIARD          OH   43026‐1821
JANIS WYMAN          184 GARDNERS GROVE DR                                                                          MCDONOUGH         GA   30252‐7663
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Name                                   Address1                        Address2                  Address3   Address4               City               State   Zip
JANIS YOUNG                            2960 PARMENTER RD                                                                           CORUNNA             MI     48817‐9568
JANIS, BETTY J                         117 LEEDS ST                                                                                HARROGATE           TN     37752‐7419
JANIS, ESTHER J                        314 ARTHUR ST                                                                               DE LEON SPRINGS     FL     32130‐3026
JANIS, HELEN                           21245 WOODMONT ST                                                                           HARPER WOODS        MI     48225‐1817
JANIS, HELEN G                         21245 WOODMONT ST                                                                           HARPER WOODS        MI     48225‐1817
JANIS, KENNETH P                       3284 MEANDERWOOD DR                                                                         CANFIELD            OH     44406‐8633
JANIS, LARRY L                         3065 FISH LAKE RD                                                                           LAPEER              MI     48446‐8335
JANIS, MARGARET                        405 BURNS ST                                                                                ESSEXVILLE          MI     48732‐1664
JANIS, MARY K                          13527 ANGELA                                                                                WARREN              MI     48088‐6668
JANIS, MARY K                          13527 ANGELA DR                                                                             WARREN              MI     48088‐6668
JANIS, PAUL H                          54 WHEELOCK ST                                                                              BUFFALO             NY     14206‐3333
JANIS, RICHARD C                       2110 BEAUFAIT DR                                                                            GROSSE POINTE       MI     48236‐1643
                                                                                                                                   WOODS
JANIS, ROBERT A                        7685 N COYOTE SPRINGS RD                                                                    PRESCOTT VALLEY     AZ     86315‐4133
JANIS, ROBERT C                        2849 CLOISTER ST                                                                            NORTH FORT MYERS    FL     33917‐6027

JANIS, RONALD P                        12091 CLINTON ST                                                                            ALDEN               NY     14004‐9493
JANIS, SHARON Y                        3065 FISH LAKE RD                                                                           LAPEER              MI     48446‐8335
JANIS, STEVEN E                        2882 FAUSSETT RD                                                                            HOWELL              MI     48855‐8236
JANIS, THOMAS E                        PO BOX 2428 PMB 11316                                                                       PENSACOLA           FL     32513‐2428
JANIS, VERA C                          101 E SIOUX RD UNIT 1266                                                                    PHARR               TX     78577‐1738
JANISCH LORRAINE JOSEPHINE (ESTATE OF) SIMMONS FIRM                    PO BOX 521                                                  EAST ALTON          IL     62024‐0519
(491638)
JANISCH, HARLEY E                      1027 S WASHINGTON ST                                                                        JANESVILLE         WI      53546‐5328
JANISCH, LORRAINE JOSEPHINE            SIMMONS FIRM                    PO BOX 521                                                  EAST ALTON         IL      62024‐0519
JANISE BRIDGES                         4565 TURNER ST.                 APT. 6                                                      TRENTON            MI      40183‐4035
JANISE GARZA                           621 SWEETLEAF DRIVE                                                                         FLINT              MI      48506‐5222
JANISE M BRIDGES                       4565 TURNER ST.                 APT. 6                                                      TRENTON            MI      48103‐4036
JANISE ROSE                            9510 BEECH ST BOX 34                                                                        NEW LOTHROP        MI      48460
JANISEWSKI, IRVIN L                    42341 AMBOY CT                                                                              NORTHVILLE         MI      48167‐1914
JANISH, JOANNE M                       4 KINGSBURY LN                                                                              TONAWANDA          NY      14150‐7204
JANISH, MICHELLE C                     141 W BUELL RD                                                                              OAKLAND            MI      48363‐2303
JANISH, THOMAS A                       1800 N BLACK RD                                                                             TWINING            MI      48766‐9753
JANISKEE, JAMES L                      1502 S WARNER ST                                                                            BAY CITY           MI      48706‐5261
JANISKI, BERNICE J                     6365 W FRANCES RD                                                                           CLIO               MI      48420‐8549
JANISKI, HARRY A                       2182 W MAPLE AVE                                                                            FLINT              MI      48507‐3504
JANISKI, JOSEPH P                      531 W VIENNA ST                                                                             CLIO               MI      48420‐5000
JANISKI, STEVEN J                      2385 SEDER RD                                                                               ALGER              MI      48610
JANISSE, ANDRE D                       340 WINDSOR SPRING DR                                                                       SAINT LOUIS        MO      63122‐7125
JANISSE, JASON D                       33530 PARDO ST                                                                              GARDEN CITY        MI      48135‐1168
JANISSE, JOHN D                        1810 SAN SILVESTRO DR                                                                       VENICE             FL      34285‐4571
JANISSE, LAWRENCE G                    586 WOODSIDE LN                                                                             GAYLORD            MI      49735‐8927
JANISSE, MARK W                        649 BUCKINGHAM RD                                                                           CANTON             MI      48188‐1518
JANISSE, RONALD O                      29706 AUTUMN LN                                                                             WARREN             MI      48088‐3779
JANISSE, STEPHEN I                     585 HUNTWICK PL                                                                             ROSWELL            GA      30075‐4347
JANISSE, STEPHEN J                     585 HUNTWICK PL                                                                             ROSWELL            GA      30075‐4347
JANISZESKI, GERALD J                   8 NORTH ST                                                                                  LE ROY             NY      14482‐1108
JANISZEWSKI, CHARLES A                 4901 S 153RD ST APT 215         WALNUT GROVE RETIREMENT                                     OMAHA              NE      68137‐5054
JANISZEWSKI, HELENA                    1400 E UNIVERSITY DR APT 2216                                                               DENTON             TX      76209‐2246
JANISZEWSKI, ROBERT A                  5878 S HONEY CREEK DR APT 2                                                                 GREENFIELD         WI      53221‐4085
JANISZEWSKI, ROBERT E                  S67W12685 LARKSPUR RD                                                                       MUSKEGO            WI      53150‐3518
JANITA WELBORN                         PO BOX 1106                                                                                 MINNEOLA           FL      34755‐1106
JANITH C SHERLOCK                      1720 RUGG ST.                                                                               KENT               OH      44240
JANITH FURRY                           2715 S WALNUT ST                                                                            MUNCIE             IN      47302‐5065
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Name                         Address1                            Address2                         Address3   Address4               City             State   Zip
JANITH MCCLISH               2400 BUNKER DR                                                                                         MISSION           TX     78572‐8909
JANITH SHERLOCK              1720 RUGG ST                                                                                           KENT              OH     44240‐2953
JANITORIAL SPECIALISTS INC   429 E 109TH AVE                                                                                        NORTHGLENN        CO     80233‐3308
JANIUK, JAN                  1425 S CENTER RD                                                                                       SAGINAW           MI     48638‐6337
JANIV BLEDSOE                259 BRAY RD                                                                                            SURGOINSVILLE     TN     37873‐6027
JANJA GALIC                  8170 SPRINGER DR                                                                                       KIRTLAND          OH     44094‐9538
JANJA MARKOTIC               8608 NOBLE AVE                                                                                         SEPULVEDA         CA     91343‐6011
JANK C SANCHEZ               252 W LONGFELLOW AVE                                                                                   PONTIAC           MI     48340‐1834
JANK, FRANK J                11546 CAVES RD                                                                                         CHESTERLAND       OH     44026‐1322
JANK, MATTHEW J              6127 SILKWORTH BLVD                                                                                    JACKSON           MI     49201
JANK, PAUL F                 8344 N SELKIRK CT                                                                                      HAYDEN LAKE       ID     83835‐9046
JANKA, MARY P                2132 NO OAKLEY AVE                                                                                     CHICAGO            IL    60647‐3268
JANKA, MARY P                2132 N OAKLEY AVE                                                                                      CHICAGO            IL    60647‐3268
JANKA, SHIRLEY A             7572 S PINE AVE                                                                                        OAK CREEK         WI     53154‐2341
JANKALSKI, SHIRLEY A         216 NORRIS CREST DR                                                                                    LA FOLLETTE       TN     37766‐8522
JANKE AUTO COMPANY           120 MC CABE ST                                                                                         PENDER            NE     68047
JANKE JR, ALBERT F           10 MAIDENBUSH CT W                                                                                     HOMOSASSA         FL     34446‐4417
JANKE, DENNIS P              7735 DORWOOD RD                                                                                        BIRCH RUN         MI     48415‐8903
JANKE, GREG T                N1674 LOTUS RD                                                                                         GENOA CITY        WI     53128‐1572
JANKE, GREG THOMAS           N1674 LOTUS RD                                                                                         GENOA CITY        WI     53128‐1572
JANKE, ISABELLE M            6020 S BUCKHORN AVE UNIT 204                                                                           CUDAHY            WI     53110‐3175
JANKE, LUCRECIA              955 S HIGHLAND AVE                                                                                     LOS ANGELES       CA     90036‐4983
JANKE, MARILYN M             6 OAKLAND CT                                                                                           ESSEXVILLE        MI     48732‐1248
JANKE, MAVITY G              RR 5                                                                                                   GREENWOOD         IN     46142
JANKE, MICHAEL C             4618 ELROSE                                                                                            ST GEORGE         UT     84790‐4911
JANKE, NORMAN P              15990 SW COLONY CT                                                                                     TIGARD            OR     97224‐1020
JANKE, NORMAN R              8054 MANOR CIR                                                                                         MILWAUKEE         WI     53223
JANKE, RICHARD C             N7560 BELL SCHOOL RD                                                                                   BURLINGTON        WI     53105‐2548
JANKE, RICHARD D             3051 W RATTALEE LAKE RD                                                                                HOLLY             MI     48442‐8685
JANKE, ROBERT E              9827 COOPER RD                                                                                         GOSPORT           IN     47433‐8029
JANKE, ROGER K               1235 ELEANOR AVE                                                                                       SAINT PAUL        MN     55116‐1707
JANKE, TIMOTHY M             PO BOX 490                                                                                             BRIDGEPORT        MI     48722‐0490
JANKE, WARREN D              GLASSER AND GLASSER, CROWN CENTER   580 EAST MAIN STREET SUITE 600                                     NORFOLK           VA     23510

JANKENS JR, ARTHUR W         2275 MELODY LN                                                                                         WEST BRANCH      MI      48661‐8457
JANKENS, CHRISTOPHER A       131 WEST RIVER ROAD                                                                                    KAWKAWLIN        MI      48631‐9724
JANKENS, ROBERT D            3108 HIDDEN RD                                                                                         BAY CITY         MI      48706‐1203
JANKER, JAMES W              2542 FERCHEN ST                                                                                        NIAGARA FALLS    NY      14304‐4608
JANKER, JAMES WILLIAM        2542 FERCHEN ST                                                                                        NIAGARA FALLS    NY      14304‐4608
JANKER, MARK J               6754 OMPHALIUS RD                                                                                      COLDEN           NY      14033‐9764
JANKIEWICZ, GENEVIEVE M      136 TEXAS AVE                                                                                          LAWRENCEVILLE    NJ      08648
JANKIEWICZ, IRENE F          920 STATE STREET                                                                                       BRIGHTON         MI      48116‐1341
JANKIEWICZ, IRENE F          920 STATE ST                                                                                           BRIGHTON         MI      48116‐1341
JANKIEWICZ, ISABEL C         5769 AUGUSTA CIR                                                                                       SARASOTA         FL      34238‐5119
JANKIEWICZ, JOHN J           907 SIDNEY TER NW                                                                                      PORT CHARLOTTE   FL      33948‐3741
JANKIEWICZ, ROSEMARY C       36 BEECHWOOD AVENUE                                                                                    WHEATLAND        PA      16161
JANKO SANDREV                5487 REVERE DR                                                                                         NORTH OLMSTED    OH      44070‐4469
JANKO WALTER J (429176)      GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA      23510
                                                                 STREET, SUITE 600
JANKO, DEBRA D               1804 MELTON DRIVE                                                                                      CARROLLTON        TX     75010‐2019
JANKO, WALTER J              GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                        NORFOLK           VA     23510‐2212
                                                                 STREET, SUITE 600
JANKOVIAK, MARK A            6365 BISHOP RD                                                                                         LANSING           MI     48911‐6212
JANKOVIAK, MICHAEL L         4576 CHURCHHILL DR                                                                                     LESLIE            MI     49251
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Name                      Address1                        Address2            Address3         Address4               City            State   Zip
JANKOVIC, GENE R          909 DINGWALL DR                                                                             OWOSSO           MI     48867‐1846
JANKOVIC, JOHN E          4087 N SMITH RD                                                                             OWOSSO           MI     48867‐9440
JANKOVIC, JOHN EDWARD     4087 N SMITH RD                                                                             OWOSSO           MI     48867‐9440
JANKOVIC, MARK S          1019 DURANT ST                                                                              LANSING          MI     48915‐1443
JANKOVICH, DONNA J        226 EDITH DR                                                                                MIDDLETOWN       OH     45042‐3903
JANKOVICH, STEPHEN W      3932 GLENDALE MILFORD RD                                                                    CINCINNATI       OH     45241‐3206
JANKOVICH, WILLIAM S      226 EDITH DR                                                                                MIDDLETOWN       OH     45042‐3903
JANKOVSKY, PAUL G         45 RIM TRAIL CIR                                                                            SEDONA           AZ     86351‐7350
JANKOWIAK, AGATHA         121 SALZBURG RD                                                                             BAY CITY         MI     48706‐3118
JANKOWIAK, ALAN D         817 S VAN BUREN ST                                                                          BAY CITY         MI     48708‐7316
JANKOWIAK, DAVID R        1170 AMELITH RD                                                                             BAY CITY         MI     48706‐9380
JANKOWIAK, ELWOOD R       1513 WILLIAMSBURG RD                                                                        FLINT            MI     48507‐5639
JANKOWIAK, HARLAN R       PO BOX 99                                                                                   BELMONT          MI     49306‐0099
JANKOWIAK, HENRIETTA      2203 S GRANT ST                                                                             BAY CITY         MI     48708‐8165
JANKOWIAK, JANET I        1513 WILLIAMSBURG RD,                                                                       FLINT            MI     48507
JANKOWIAK, JEROME R       22501 HANSON CT                                                                             ST CLAIR SHRS    MI     48080‐4024
JANKOWIAK, JOANN          PO BOX 6583                                                                                 SAGINAW          MI     48608‐6583
JANKOWIAK, JOHN T         376 BARBADOS DR                                                                             CHEEKTOWAGA      NY     14227‐2533
JANKOWIAK, PAUL J         54421 JACK DR                                                                               MACOMB           MI     48042‐2247
JANKOWIAK, RICHARD S      33 S WHISPERING LN                                                                          HAMBURG          NY     14075‐1838
JANKOWIAK, TIM R          3138 CANTERBURY DR                                                                          BAY CITY         MI     48706‐9250
JANKOWSKE, JAMES L        6287 HENDERSON RD                                                                           COLUMBIAVILLE    MI     48421‐8803
JANKOWSKE, JAMES LEROY    6287 HENDERSON RD                                                                           COLUMBIAVILLE    MI     48421‐8803
JANKOWSKE, MILDRED M      5975 LAUR RD                                                                                NORTH BRANCH     MI     48461
JANKOWSKI, ALBERT J       42774 PHEASANT RUN DR                                                                       STERLING HTS     MI     48313‐2664
JANKOWSKI, ALFONS E       5280 BROOKSIDE DR                                                                           SHELBY TWP       MI     48316‐3128
JANKOWSKI, ARTHUR         4108 LEITH ST                                                                               BURTON           MI     48509‐1033
JANKOWSKI, BONNIE L       10516 HOGAN RD                                                                              SWARTZ CREEK     MI     48473‐9119
JANKOWSKI, DAVID L        200 E FISHER ST                                                                             BAY CITY         MI     48706‐4602
JANKOWSKI, DELPHINE       748 W PARISH RD                                                                             KAWKAWLIN        MI     48631‐9715
JANKOWSKI, DENNIS A       7539 BENEKE                                                                                 MANISTEE         MI     49660‐9766
JANKOWSKI, DOLORES V      88 SILVER LN                                                                                CARSON CITY      NV     89706‐0723
JANKOWSKI, EDWARD S       9055 DOWNING RD                                                                             BIRCH RUN        MI     48415‐9287
JANKOWSKI, EDWARD STEVE   9055 DOWNING RD                                                                             BIRCH RUN        MI     48415‐9287
JANKOWSKI, FLOYD A        1224 HEAVENRIDGE RD                                                                         ESSEXVILLE       MI     48732‐1738
JANKOWSKI, GERALD         1204 S TRUMBULL ST                                                                          BAY CITY         MI     48708‐7671
JANKOWSKI, GERALD R       440 N ELM GROVE RD                                                                          LAPEER           MI     48446‐3547
JANKOWSKI, GERARD T       6597 ROYAL PKWY N                                                                           LOCKPORT         NY     14094‐6631
JANKOWSKI, GORDON L       16014 PENN DR                                                                               LIVONIA          MI     48154‐1040
JANKOWSKI, HELEN A        16 TRACEWAY                                                                                 LANCASTER        NY     14086‐1460
JANKOWSKI, HELEN M        3308B WEST SANTIAGO STREET                                                                  TAMPA            FL     33629‐7148
JANKOWSKI, JAMES A        7449 CROSSCREEK DR                                                                          TEMPERANCE       MI     48182‐9269
JANKOWSKI, JAMES H        1901 W MEYER LN APT 4106                                                                    OAK CREEK        WI     53154‐4341
JANKOWSKI, JAMES J        39129 E ARCHER DR                                                                           HARRISON         MI     48045‐1807
                                                                                                                      TOWNSHIP
JANKOWSKI, JAMIE L.       106 TENNESSEE TRAIL                                                                         BROWNS MILLS     NJ     08015‐5671
JANKOWSKI, JANET M        3118 PINEGATE DR                                                                            FLUSHING         MI     48433‐2427
JANKOWSKI, JEANNE B       45922 RIVIERA DR                                                                            NORTHVILLE       MI     48168‐8583
JANKOWSKI, JEROME L       1843 PLYMOUTH TER SE                                                                        GRAND RAPIDS     MI     49506‐4148
JANKOWSKI, JOHN Z         57 MONTROSE CT                                                                              BRENTWOOD        CA     94513‐2936
JANKOWSKI, JUSTIN         1641 CABOT AVE                                                                              WHITING          NJ     08759‐3303
JANKOWSKI, KAREN L        5039 MERIT DR                                                                               FLINT            MI     48506‐2187
JANKOWSKI, KAREN LOU      5039 MERIT DR                                                                               FLINT            MI     48506‐2187
JANKOWSKI, KENNETH A      10176 GRAND BLVD                                                                            LUNA PIER        MI     48157‐9772
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Name                       Address1                             Address2                       Address3   Address4               City               State   Zip
JANKOWSKI, LARRY R         5039 MERIT DR                                                                                         FLINT               MI     48506‐2187
JANKOWSKI, LAURA           34 RAILROAD ST                                                                                        BAYPORT             NY     11705‐1756
JANKOWSKI, LAURA           34 RAILROAD STREET                                                                                    BAYPORT             NY     11705‐1756
JANKOWSKI, LINDA M         412 RIVER ST                                                                                          ADRIAN              MI     49221‐2051
JANKOWSKI, MARGARET A      11595 ADAMS DR                                                                                        WARREN              MI     48093‐1136
JANKOWSKI, MARK A          3038 RIVERSHYRE PKWY                                                                                  DAVISON             MI     48423‐8623
JANKOWSKI, MICHAEL G       801 JOSEPH ST                                                                                         BAY CITY            MI     48706‐5507
JANKOWSKI, MICHAEL J       405 E ROBERT RD                                                                                       OAK CREEK           WI     53154‐5739
JANKOWSKI, NICOLE M        22070 E SUNSET DR                                                                                     MACOMB              MI     48044‐3716
JANKOWSKI, PAUL E          1826 S RIVERSIDE DR                                                                                   AU GRES             MI     48703‐9796
JANKOWSKI, PAUL J          501 E LIBERTY ST                                                                                      GIRARD              OH     44420‐2307
JANKOWSKI, PAUL R          1431 CEDARWOOD DR                                                                                     FLUSHING            MI     48433‐1875
JANKOWSKI, RICHARD E       1104 BURNS RD                                                                                         MILFORD             MI     48381‐1264
JANKOWSKI, RICHARD P       2459 TRAFALGAR DR                                                                                     ORLANDO             FL     32837‐9151
JANKOWSKI, ROBERT M        700 S FRANKLIN ST                                                                                     WILMINGTON          DE     19805
JANKOWSKI, ROBIN R         3038 RIVERSHYRE PKWY                                                                                  DAVISON             MI     48423‐8623
JANKOWSKI, RONALD          461 GOLF VILLA DR                                                                                     OXFORD              MI     48371‐3693
JANKOWSKI, SHEILA A        6385 COHOCTAH RD                                                                                      FENTON              MI     48430‐8951
JANKOWSKI, SHIRLEY A       95 N TUSCOLA RD                                                                                       BAY CITY            MI     48708‐6974
JANKOWSKI, SOPHIE A        26907 FOREST HILLS ST                                                                                 LEESBURG            FL     34748‐7718
JANKOWSKI, STANLEY R       2351 VALEWAY DR                                                                                       TOLEDO              OH     43613‐1525
JANKOWSKI, STEPHANIA       300 DIAMOND AVE NE                                                                                    GRAND RAPIDS        MI     49503‐3625
JANKOWSKI, SUSAN M         42774 PHEASANT RUN DR                                                                                 STERLING HTS        MI     48313‐2664
JANKOWSKI, TED A           1 HARBOR POINTE                                                                                       KEY BISCAYNE        FL     33149
JANKOWSKI, THEODORE A      131 JOHANSON AVENUE                                                                                   HILLSBOROUGH        NJ     08844‐4238
JANKOWSKI, THEODORE P      8099 JENNINGS RD                                                                                      SWARTZ CREEK        MI     48473‐9147
JANKOWSKI, THOMAS J        33 GOLFSIDE DR                                                                                        SAINT CLAIR         MI     48079‐3577
JANKOWSKI, VLADIMIRA J     785 OAKLEAF PLANTATION PKWY UNIT 814                                                                  ORANGE PARK         FL     32065

JANKOWSKI, WALTER L        1641 CABOT AVE                                                                                        WHITING            NJ      08759‐3303
JANKOWSKI, WILLIAM R       665 SPRINGDALE TER                                                                                    YARDLEY            PA      19067‐3424
JANKOWSKY, ALEXANDER S     PO BOX 279                                                                                            DRAKESBORO         KY      42337‐0279
JANKOWSKY, EDWARD          880 MAXWELL DR                       C/O EDWARD M JANKOWSKY                                           EASTON             PA      18040‐7851
JANKOWSKY, VIVIAN          C/O MICHAEL J JANKOWSKY              23 JASMINE DRIVE                                                 PISCATAWAY         NJ      08854
JANKOWSKY, VIVIAN          23 JASMINE DR                        C/O MICHAEL J JANKOWSKY                                          PISCATAWAY         NJ      08854‐2224
JANKS, ROBERT C            619 E BROWN RD                                                                                        MAYVILLE           MI      48744‐9532
JANKS, WAYNE C             6021 KITTIWAKE DR                                                                                     LAKELAND           FL      33809‐7315
JANLE, WERNER              PO BOX 403                                                                                            WARTBURG           TN      37887‐0403
JANMEY, JEAN E.            1815 STONE MANOR CIR                                                                                  BRUNSWICK          OH      44212‐4829
JANN DAGG                  26270 HOPE                                                                                            REDFORD            MI      48239‐3113
JANN MAYFIELD              6969 W YALE AVE UNIT 22                                                                               DENVER             CO      80227‐3582
JANN MICHAEL               32138 BEACHFRONT LN                                                                                   WESTLAKE VILLAGE   CA      91361‐3604

JANN REIS                  1387 N WEST TORCH LAKE DR                                                                             KEWADIN             MI     49648‐9240
JANN, TIMOTHY G            28427 FOREST DALE ST                                                                                  ROMULUS             MI     48174‐3047
JANN, WAYNE M              1680 LARAWAY LAKE DR SE                                                                               GRAND RAPIDS        MI     49546‐6601
JANNA
JANNA COUNTRYMAN ACCT OF   R M JACKSON 96‐40134‐S               500 N CTR EXPRESSWAY STE 350                                     PLANO              TX      45378
JANNA SERGUEEVA            2311 SOMERSET BLVD                                                                                    TROY               MI      48084‐4077
JANNAMAN, EDWARD R         11022 BIG LAKE RD                                                                                     DAVISBURG          MI      48350‐3640
JANNAROSA WEBB             750 E 118TH ST                                                                                        CLEVELAND          OH      44108‐2369
JANNE SCHRAW               3900 HAINES RD                                                                                        ATTICA             MI      48412‐9230
JANNECK, RUSSELL P         1254 FLYNN RD                                                                                         ROCHESTER          NY      14612‐2920
JANNENGA'S AUTO            2500 GLADE ST                                                                                         MUSKEGON           MI      49444‐1318
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Name                               Address1                         Address2            Address3         Address4               City            State   Zip
JANNENGA, JOEL V                   3274 MCCABE RD R#2                                                                           ADA              MI     49301
JANNENGA, NATHANAEL J              4477 LAKE MICHIGAN DR APT A1                                                                 ALLENDALE        MI     49401‐9104
JANNER, DONNA M                    4154 SHEFFIELD CIR                                                                           KOKOMO           IN     46902‐9411
JANNER, KAREN M                    3106 BIRCHFIELD DRIVE                                                                        MIDLAND          MI     48642‐4010
JANNER, WAYNE                      4154 SHEFFIELD CIR                                                                           KOKOMO           IN     46902‐9411
JANNET ANDREWS                     8703 W 1050 S                                                                                FORTVILLE        IN     46040‐9267
JANNETT LOOS                       10032 MEADOWFIELD LN                                                                         SAINT LOUIS      MO     63128‐1211
JANNETT, CATHERINE M               8301 GOLD FINCH CT                                                                           CENTERVILLE      OH     45458‐2779
JANNETTA MILLER                    202 APPIAN WAY                                                                               ANDERSON         IN     46013‐4776
JANNETTA SMITH                     1525 WESTMONT PL                                                                             SAINT LOUIS      MO     63130‐1306
JANNETTA, CATHERINE F              2125 NE 62ND CT                                                                              FT LAUDERDALE    FL     33308‐1361
JANNETTE JONES                     PO BOX 981149                                                                                YPSILANTI        MI     48198‐1149
JANNETTE MILLIRON                  6322 KELLEY DR                                                                               MILLERSBURG      MI     49759‐9502
JANNETTE SLANE                     856 CANNES CT                                                                                LOVELAND         OH     45140‐6401
JANNETTE SNEAD                     228 S 10TH ST                                                                                SAGINAW          MI     48601‐1807
JANNETTE V ALLAC                   1521 HAMPTON RD                                                                              PITTSBURG        KS     66762
JANNETTE, DANIEL A                 1321 GROSBECK RD                                                                             LAPEER           MI     48446‐3444
JANNETTE, JERRY P                  5447 SCOTCH SETTLEMENT RD                                                                    ALMONT           MI     48003‐8728
JANNETTE, LINDA S                  1321 GROSBECK ROAD                                                                           LAPEER           MI     48446‐3444
JANNETTE, ROBERT C                 2110 COUNTRY CLUB DR                                                                         GROSSE POINTE    MI     48236‐1606
                                                                                                                                WOODS
JANNEY DAVID L (514359)            JACOBS & CRUMPLAR P.A.           PO BOX 1271         2 EAST 7TH ST                           WILMINGTON       DE     19801‐3707
JANNEY ELMER H (473353) ‐ ELMER    ANGELOS PETER G LAW OFFICES      60 WEST BROAD ST                                            BETHLEHEM        PA     18018
JANNEY H
JANNEY HARRIS                      301 SMITH ST APT 19                                                                          CLIO             MI     48420‐2053
JANNEY MONTGOMERY SCOTT LLC        SMEDLEY L CRAIG (IRA)            1801 MARKET ST                                              PHILADELPHIA     PA     19103
JANNEY MOTGOMERY SCOTT CUSTODIAN   3479 E THOMPSON ST                                                                           PHILADELPHIA     PA     19134‐5413
FOR ALBERT KISLOW
JANNEY, B O                        2432 MERIDIAN ST                                                                             ANDERSON        IN      46016‐5160
JANNEY, BENJAMIN M                 115 STADIA DR                                                                                FRANKLIN        OH      45005‐1501
JANNEY, BONNIE J                   11505 WEIMAN DR                                                                              PINCKNEY        MI      48169‐8016
JANNEY, HELEN E                    906 SAINT ANDREWS DR                                                                         AVON            IN      46123‐9283
JANNEY, JOHN B                     9901 OLDE PARK DR                                                                            TIPP CITY       OH      45371‐8120
JANNEY, MERRELL C                  906 SAINT ANDREWS DR                                                                         AVON            IN      46123‐9283
JANNEY, MERRELL CRAIG              906 SAINT ANDREWS DR                                                                         AVON            IN      46123‐9283
JANNEY, MICHAEL ANTHONY            4101 W PICKELL ST                                                                            MUNCIE          IN      47303‐9344
JANNEY, NICK
JANNEY, ROBERT H                   15283 BEAM ST                                                                                NOBLESVILLE     IN      46060‐4694
JANNEY, WILLIAM E                  7962 PREBLEWOOD DR.                                                                          MIDDLETOWN      OH      45042‐9002
JANNI, ALBERT                      2323 MONTANA AVE                                                                             SAGINAW         MI      48601‐5320
JANNI, VERA M                      7190 FRANKENMUTH RD                                                                          VASSAR          MI      48768‐9498
JANNICE SCHNETZLER                 213 COUNTRY CLUB DR APT 15                                                                   SIMI VALLEY     CA      93065‐6620
JANNIE BURKHAMER                   7025 CORLINE ST                                                                              FORT WAYNE      IN      46819‐1315
JANNIE CHRISTEN                    92 MICHIGAN AVE                                                                              WILLMINGTON     OH      45177
JANNIE DANIELS                     1304 BERWICK AVE                                                                             YOUNGSTOWN      OH      44505‐3727
JANNIE ELDER                       288 E COAL CITY RD                                                                           BRAIDWOOD       IL      60408‐1356
JANNIE ELLIS                       388 E 600 N                                                                                  ALEXANDRIA      IN      46001‐8611
JANNIE GOMOLL                      17836 COUNTRY CLUB DR                                                                        MACOMB          MI      48042‐1165
JANNIE GOREE                       15073 MARK TWAIN ST                                                                          DETROIT         MI      48227‐2917
JANNIE GRANT                       PO BOX 1182                                                                                  NIAGARA FALLS   NY      14303‐0182
JANNIE HALLIBURTON                 23071 HARDING ST                                                                             OAK PARK        MI      48237‐2446
JANNIE HILL                        48 SCHUELE AVE                                                                               BUFFALO         NY      14215‐4036
JANNIE HILL                        782 VASSAR DR                                                                                FENTON          MI      48430‐2232
JANNIE JANSEN                      3288 E PIERSON RD                                                                            FLINT           MI      48506‐1479
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Name                             Address1                        Address2                     Address3   Address4                 City           State   Zip
JANNIE MOSLER                    3910 GRESHAM ST #2                                                                               SAN DIEGO       CA     92109‐5804
JANNIE PATTERSON                 3402 SANTA CRUZ DR                                                                               FLINT           MI     48504‐3236
JANNIE PIETROSKI                 26724 PALMER ST                                                                                  MADISON HTS     MI     48071‐3527
JANNIE POLSTON                   7027 W STATE ROAD 38                                                                             NEW CASTLE      IN     47362‐9799
JANNIE RICHARDSON                166 GRANDVIEW BLVD                                                                               PONTIAC         MI     48342‐2414
JANNIE STERLING                  PO BOX 5454                                                                                      FLINT           MI     48505‐0454
JANNIE STORY                     1655 WELLESLEY ST                                                                                INKSTER         MI     48141‐1576
JANNIE WHITING                   183 HUGHES AVE                                                                                   PONTIAC         MI     48341‐2445
JANNIE WILCOXSON                 44 S FAIRGREEN AVE                                                                               DAYTON          OH     45416‐1602
JANNIFER JOHNSON                 1020 LEA AVE                                                                                     MIAMISBURG      OH     45342‐3414
JANNIFER R JOHNSON               1020 LEA AVE                                                                                     MIAMISBURG      OH     45342
JANNIN, GARY V                   11 GARONNE CT                                                                                    O FALLON        MO     63368‐6947
JANNING, MATTHEW H               755 HERRMAN CT                                                                                   LIBERTY         MO     64068‐3190
JANNING, RONALD H                5415 N WAYNE AVE                                                                                 KANSAS CITY     MO     64118‐5755
JANNIS BALES                     2191 E 266TH ST                                                                                  ARCADIA         IN     46030‐9662
JANNIS CLINE                     12151 MCMANIS RD                                                                                 MOUNT VERNON    OH     43050‐8278
JANNIS E BALES                   2191 E 266TH ST                                                                                  ARCADIA         IN     46030‐9662
JANNIS SAUNDERS                  5080 FAIRMONT ST                                                                                 PAHRUMP         NV     89061‐7775
JANNISCH, DOUGLAS G              1155 N HURON DR                                                                                  JANESVILLE      WI     53545‐1317
JANNISCH, STEVE W                4505 SUMPTER DRIVE                                                                               MILTON          WI     53563‐8418
JANNISCH, WILLIAM F              2628 OHARA DR                                                                                    MILTON          WI     53563‐8857
JANNONE, CATHERINE G             230 SLEEPY HOLLOW RD                                                                             CANFIELD        OH     44406‐1059
JANNOTTA BRAY & ASSOCIATES INC   77‐5508 DEPT                                                                                     CHICAGO          IL    60678‐0001
JANNOTTA BRAY/STHFLD             30 OAK HOLLOW ST STE 100                                                                         SOUTHFIELD      MI     48033‐7467
JANNUSCH, MARILYN                989 OSWEGO RD                                                                                    NAPERVILLE       IL    60540‐6264
JANNUZZI, MATTHEW A              4502 W BUFFALO ST                                                                                CHANDLER        AZ     85226‐4828
JANOCH, HELEN                    4226 ELM AVENUE                                                                                  BROOKFIELD       IL    60513‐1904
JANOCH, HELEN                    4225 ELM AVE                                                                                     BROOKFIELD       IL    60513‐1904
JANOCH, JAMES M                  1001 WEST MISHAWAKA ROAD                                                                         ELKHART         IN     46517‐1734
JANOCKO, MARK W                  PO BOX 417                                                                                       AVENEL          NJ     07001‐0417
JANOCKO, MICHAEL J               95 CORNELL ST                                                                                    AVENEL          NJ     07001‐1830
JANOCKO, THOMAS                  179 SAWMILL LAKES BLVD                                                                           PONTE VEDRA     FL     32082‐4388
JANORA, PETER C                  13 PINE GROVE AVE PERRY LK                                                                       MANAHAWKIN      NJ     08050
JANORSCHKE JOSEF                 KAMPENWANDSTRA▀E 13                                                                              WASSERBURG             83512
JANOS GECSE                      7901 NW SUNSET DR                                                                                PARKVILLE      MO      64152‐6048
JANOS KATRUS                     4742 LONGFORD DR                                                                                 MIDDLETOWN     OH      45042
JANOS KOVACS                     BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.    OH      44236
JANOS KOVACS                     WIENER STR. 59                  D‐60599 FRANKFURT/M          GERMANY
JANOS KOVACS                     WIENER STR 59                                                           D‐60599 FRANKFURT
                                                                                                         GERMANY
JANOS LAKATOS                    35220 WESTLAND EST DR‐C106                                                                       WESTLAND       MI      48185
JANOS LISKANY                    2136 BELVO RD                                                                                    MIAMISBURG     OH      45342‐3904
JANOS POLLAK                     43 NASSAU LN                                                                                     CHEEKTOWAGA    NY      14225‐4815
JANOS S LISKANY                  2136 BELVO RD                                                                                    MIAMISBURG     OH      45342
JANOS SORES                      11625 E HUFFMAN RD              APT 1                                                            CLEVELAND      OH      44130‐2239
JANOS SZABADOS                   5291 PIONEER AVE APT 203                                                                         LAS VEGAS      NV      89146‐6994
JANOS TOTH                       31201 OLMSTEAD RD                                                                                ROCKWOOD       MI      48173‐9774
JANOS, ALFRED C                  3431 AMBLESIDE DR                                                                                FLUSHING       MI      48433‐9775
JANOS, BARBARA A                 11908 HIGHWAY 28 E                                                                               PINEVILLE      LA      71360
JANOS, CATHERINE                 5090 FOXBERRY LANE                                                                               ROSWELL        GA      30075‐6209
JANOS, CRAIG J                   31405 WILLOW CT                                                                                  WARREN         MI      48093‐7946
JANOS, EDWARD                    11908 HIGHWAY 28 E                                                                               PINEVILLE      LA      71360‐0721
JANOS, EDWARD J                  3333 RINGLE RD                                                                                   VASSAR         MI      48768‐9735
JANOS, EMMA                      33647 FLORENCE                                                                                   GARDEN CITY    MI      48135‐1097
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Name                               Address1                         Address2                Address3     Address4               City                State   Zip
JANOS, EUGENE E                    8005 FLAGSTAFF ST                                                                            COMMERCE TWP         MI     48382‐2330
JANOS, FRANCES S                   16 REVERE RD                                                                                 FISHKILL             NY     12524‐1424
JANOS, JOHN                        4102 REGENCY PARK APTS N N                                                                   QUEENSBURY           NY     12804
JANOS, JOSEPH                      G6042 N LINDEN ROAD                                                                          MOUNT MORRIS         MI     48458
JANOS, JOSEPH E                    6241 S SAWGRASS DR                                                                           CHANDLER             AZ     85249‐4031
JANOS, JOSEPH J                    33647 FLORENCE ST                                                                            GARDEN CITY          MI     48135‐1097
JANOS, MARGARET ANN                4721 BALDWIN RD                                                                              PERRY                OH     44081‐9641
JANOS, MARIE B                     121 HOLLYWOOD RD                                                                             AMSTERDAM            NY     12010‐1839
JANOS, MICHAEL E                   36905 GLENWOOD RD                                                                            WAYNE                MI     48184‐1171
JANOS, PAUL P                      212 WILLOWGROVE S                                                                            TONAWANDA            NY     14150‐4517
JANOS, RANDY A                     5103 E JUDDVILLE RD                                                                          OWOSSO               MI     48867‐9673
JANOS, RANDY ALLEN                 5103 E JUDDVILLE RD                                                                          OWOSSO               MI     48867‐9673
JANOS, STEPHEN
JANOS, WILLIAM P                   YORKRIGDE APTS. #3B                                                                          YORKTOWN HGTS       NY      10598
JANOS, WILLIAM P                   8 AZURE DR                                                                                   QUEENSBURY          NY      12804‐9771
JANOSE, LARETHA J                  4100 20 MILE RD                                                                              KENT CITY           MI      49330‐9753
JANOSE, MARK L                     4100 20 MILE RD                                                                              KENT CITY           MI      49330‐9753
JANOSE, MARK L.                    4100 20 MILE RD                                                                              KENT CITY           MI      49330‐9753
JANOSIK JOHN P (459935)            DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                             NORTH OLMSTED       OH      44070
JANOSIK, DANIEL J                  2601 MESA DR                                                                                 NASHVILLE           TN      37217‐3901
JANOSIK, IRMA J                    806 MANLEY DR                                                                                SAN GABRIEL         CA      91776‐2327
JANOSIK, JOHN P                    DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                             NORTH OLMSTED       OH      44070
JANOSIK, MARY                      PO BOX 850                                                                                   RENSSELAER          IN      47978‐0850
JANOSIK, MARY                      302 W SUSAN ST                                                                               RENSSELAER          IN      47978
JANOSIK, ROSALIE M                 104 DALE COURT                                                                               COLUMBIA            TN      38401‐5569
JANOSIK, ROSALIE M                 104 DALE CT                                                                                  COLUMBIA            TN      38401‐5569
JANOSKA, HAZEL M                   PO BOX 302                                                                                   HIGHLAND            MI      48357‐0302
JANOSKA, ROBERT L                  PO BOX 302                                                                                   HIGHLAND            MI      48357‐0302
JANOSKEY, PATRICIA JILL            2638 BAYBERRY CT                                                                             BROOKLYN            MI      49230‐9218
JANOSKI PATRICIA A TAX COLLECTOR   PO BOX 294                                                                                   CHESWICK            PA      15024‐0294
JANOSO, JOHN R                     5342 LOGAN ARMS DR                                                                           GIRARD              OH      44420‐1632
JANOSSY MARIA                      JANOSSY, MARIA                   3607 FAIRMOUNT BLVD                                         CLEVELAND HEIGHTS   OH      44118

JANOSSY, MARIA                     3607 FAIRMOUNT BLVD                                                                          CLEVELAND HEIGHTS   OH      44118‐4340

JANOT KIND                         717 TOBEN TER                                                                                LAWRENCEBURG        TN      38464‐5322
JANOTA CRANE, GEORGIA L            PO BOX 7697                                                                                  MOORE               OK      73153‐1697
JANOTT, ROBERT H                   5042 WESTFORD CT                                                                             FLUSHING            MI      48433‐1385
JANOTTA, STEPHEN A                 241 WILLOW WAY                                                                               FLORA               MS      39071
JANOUSEK, ALFRED C                 3981 MARIMBA RD                                                                              HOLT                MI      48842‐8786
JANOUSEK, JACKIE R                 3474 N CEDAR RD                                                                              FOWLERVILLE         MI      48836‐9232
JANOUSEK, JACKIE R                 3474 NORTH CEDAR ROAD                                                                        FOWLERVILLE         MI      48836‐9232
JANOUSEK, MARK R                   17521 V DR N                                                                                 OLIVET              MI      49076‐9504
JANOUSEK, MARK ROY                 17521 V DR N                                                                                 OLIVET              MI      49076‐9504
JANOUSEK, RICHARD C                8271 E CHESTER AVE SW                                                                        BYRON CENTER        MI      49315‐9328
JANOUSEK, RONALD J                 N3158 JUTE RD                                                                                LAKE GENEVA         WI      53147‐3238
JANOVIC, ELIZABETH J               1499 SUTTER STREET               SUITE 332                                                   SAN FRANCISCO       CA      94109
JANOVICH, DAVID M                  10620 RATHBUN WAY                                                                            BIRCH RUN           MI      48415‐8438
JANOVICK, SANDRA N                 5359 PIERCE RD NW                                                                            WARREN              OH      44481‐9377
JANOVICZ, MICHAEL A                12373 CHARING CROSSROAD                                                                      CARMEL              IN      46033
JANOVITS, KARL M                   PO BOX 2467                                                                                  LIVINGSTON          MT      59047‐4715
JANOVITS, KARL M                   1222 CHICAGO AVE APT 706                                                                     EVANSTON            IL      60202‐6508
JANOVITS, PETE W                   APT 103                          36775 MCKINNEY AVENUE                                       WESTLAND            MI      48185‐1386
JANOVYAK, JOHN R                   2470 BRAYTON AVE APT M3                                                                      ALLIANCE            OH      44601‐4994
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Name                         Address1                         Address2            Address3         Address4               City             State Zip
JANOW, HAROLD B              2522 OME AVE                                                                                 DAYTON            OH 45414‐5113
JANOWAK, GREGORY J           3164 DORAL CT                                                                                ROCHESTER HILLS   MI 48309‐1237
JANOWIAK, ANTHONY R          8522 HARBORTOWNE CIR                                                                         CLARKSTON         MI 48348‐2426
JANOWIAK, ELIZABETH C        925 N KAISER TOWER RD                                                                        LINWOOD           MI 48634‐9460
JANOWIAK, FLORIAN E          3024 NICCOLET PL                                                                             BAY CITY          MI 48706‐2730
JANOWIAK, JAMES N            521 REGENCY XING                                                                             SOUTHLAKE         TX 76092‐9501
JANOWIAK, JEROME J           6001 OAKWOOD LN                                                                              GREENDALE         WI 53129‐2528
JANOWIAK, MELISSA A          1111 N WESTGATE RD                                                                           MT PROSPECT        IL 60056‐1461
JANOWIAK, RICHARD F          3201 WESTSHORE DR                                                                            BAY CITY          MI 48706‐5394
JANOWIAK, ROBERT A           60339 CREEKSIDE CT                                                                           WASHINGTON        MI 48094‐2122
JANOWIAK, ROBERT J           19850 SW 93RD LN                                                                             DUNNELLON         FL 34432‐4170
JANOWIAK, SYLVIA C           1909 S VAN BUREN ST                                                                          BAY CITY          MI 48708‐8790
JANOWIAK, WILLIAM            803 SOUTHEAST BLVD                                                                           SALEM             OH 44460‐3831
JANOWICH JR, JOHN J          5514 LINK AVE                                                                                BALTIMORE         MD 21227‐2807
JANOWICZ, EUGENE             21613 SUNNYVIEW ST                                                                           CLINTON TOWNSHIP MI 48035‐6035

JANOWICZ, JOSEPH M           1298 N PINE RD                                                                               ESSEXVILLE        MI   48732‐1923
JANOWICZ, JOSEPHINE M        715 S BIRNEY STREET                                                                          BAY CITY          MI   48708‐7538
JANOWIECKI, ALOYSIUS         6804 SECOR RD                                                                                LAMBERTVILLE      MI   48144‐9733
JANOWIECKI, MARK A           2743 W 17TH ST LOT 41                                                                        MARION            IN   46953‐9425
JANOWIECKI, PAUL L           11722 BRINT RD                                                                               BERKEY            OH   43504‐9739
JANOWITZ, JOANN              5307 W 148TH ST                                                                              BROOK PARK        OH   44142‐1722
JANOWSKI JR, JOHN A          1618 ZEPHYR CT                                                                               MUNSTER           IN   46321‐5103
JANOWSKI, BETTY L            500 N BUCKINGHAM CT                                                                          ANDERSON          IN   46013‐4469
JANOWSKI, CHRIS              11035 DOOGAN AVENUE                                                                          WILLOW SPGS       IL   60480‐1111
JANOWSKI, DONALD J           5668 FIRETHORNE DR                                                                           BAY CITY          MI   48706‐5636
JANOWSKI, FRANK C            38117 MEDVILLE DR                                                                            STERLING HTS      MI   48312‐1258
JANOWSKI, GREGG M            3886 WILLAGE CENTER DR                                                                       HANOVER           AL   35226
JANOWSKI, JAMES M            38 GOLDWOOD PLACE                                                                            SPRING            TX   77382‐2765
JANOWSKI, JOSEPH E           9749 ARIADNE TRL                                                                             DAYTON            OH   45458‐4123
JANOWSKI, JOSEPH F           500 N BUCKINGHAM CT                                                                          ANDERSON          IN   46013‐4469
JANOWSKI, LEOPOLDINE V       39 CAROLINE AVE                                                                              TRENTON           NJ   08610‐6531
JANOWSKI, PATRICIA           11 SPECKER CIR                                                                               MARQUETTE         MI   49855‐9448
JANOWSKI, RICHARD            8429 HIBMA RD                                                                                MARION            MI   49665‐8038
JANOWSKI, STANLEY            3799 QUARRY RD                                                                               DU BOIS           IL   62831‐1421
JANOWSKI, STEPHANIE E        1971 WEATHERHILL DR                                                                          DEXTER            MI   48130‐9592
JANOWSKI, STEVEN             427 WILLETT ST                                                                               BUFFALO           NY   14206‐3234
JANOWSKY, BETTY              170 FOURTEENTH ST                                                                            NO TONAWANDA      NY   14120‐3226
JANOWSKY, BETTY              170 14TH AVE                                                                                 NORTH             NY   14120‐3226
                                                                                                                          TONAWANDA
JANOWSKY, IRENE H            1377 FORBES ST                                                                               NORTH             NY   14120‐1860
                                                                                                                          TONAWANDA
JANOWSKY, IRENE H            1377 FORBES ST.                                                                              N. TONAWANDA      NY   14120‐1860
JANROSE WAHL                 184 EBB DR                                                                                   BURNSIDE          KY   42519‐9183
JANS, KIMBERLY S             6453 E SIERRA MORENA ST                                                                      MESA              AZ   85215‐7705
JANSAN SOLUTIONS LLC         ATTN: JOSEPH DIMARCO             522 LEXINGTON AVE                                           CRANFORD          NJ   07016‐2732
JANSANTE, GEORGETTE M        302 KETCHUM DR                                                                               CANONSBURG        PA   15317‐9736
JANSANTE, JAMES J            BOX 3289 RT 40                                                                               FREDERICKTOWN     PA   15333
JANSEN BROS. GARAGE, INC     204 N MAIN ST                                                                                SIGEL             IL   62462
JANSEN CHEVROLET CO., INC.   MICHAEL JANSEN                   116 MUNSTER ST                                              GERMANTOWN        IL   62245‐1000
JANSEN CHEVROLET CO., INC.   116 MUNSTER ST                                                                               GERMANTOWN        IL   62245‐1000
JANSEN JOHN                  10704 WHITEWOOD RD                                                                           PINCKNEY          MI   48169‐8436
JANSEN JR, ROBERT H          3420 PONEMAH DR                                                                              FENTON            MI   48430‐1393
JANSEN JR, ROBERT W          32 AMESBURY CIR                                                                              CROSSVILLE        TN   38558‐4401
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Name                      Address1                       Address2            Address3         Address4               City               State   Zip
JANSEN JR, WALTER E       4143 SHADY GROVE LN                                                                        INTERLOCHEN         MI     49643‐9521
JANSEN KENNETH (507534)   COON BRENT W                   PO BOX 4905                                                 BEAUMONT            TX     77704‐4905
JANSEN LAURA              67 HEARTHSIDE LN                                                                           GREENCASTLE         PA     17225‐9204
JANSEN, ANNA J            6519 ONE MILE ROAD                                                                         LAKEVIEW            MI     48850
JANSEN, ANNA J            6519 1 MILE RD                                                                             LAKEVIEW            MI     48850‐9457
JANSEN, BERNARD J         4963 HUMMINGBIRD TRL                                                                       LOVES PARK           IL    61111‐1969
JANSEN, DANIEL M          4200 N OCEAN DR APT 1805‐2                                                                 RIVIERA BEACH       FL     33404‐2805
JANSEN, DAVID H           14750 LAKESIDE CIR APT 426                                                                 STERLING HEIGHTS    MI     48313‐1381
JANSEN, DONALD F          1716 GARDEN DR                                                                             JANESVILLE          WI     53546‐5626
JANSEN, EDGAR P           306 ASTOR AVE                                                                              DAYTON              OH     45449‐2002
JANSEN, ELIZABETH J       146 CARRIAGE LN                                                                            GEORGETOWN          KY     40324‐8836
JANSEN, FRANK R           4194 MEIGS AVE                                                                             WATERFORD           MI     48329‐2030
JANSEN, GREGG L           795 GLENARBOR CIR                                                                          LONGMONT            CO     80504
JANSEN, JACK J            7513 AMESTOY AVE                                                                           VAN NUYS            CA     91406‐2517
JANSEN, JAMES A           950 N 2ND ST                                                                               BREESE               IL    62230‐1742
JANSEN, JAMES D           PO BOX 832                                                                                 O FALLON            MO     63366‐0832
JANSEN, JANNIE M          3288 E PIERSON RD                                                                          FLINT               MI     48506‐1479
JANSEN, JEANETTE          1163 FAIRFIELD DR                                                                          HUDSONVILLE         MI     49426‐9489
JANSEN, JEFFRY H          8036 KATHERINE AVE                                                                         PANORAMA CITY       CA     91402
JANSEN, JOHN C            6944 PARK RD                                                                               ANN ARBOR           MI     48103‐9512
JANSEN, JOHN CHARLES      6944 PARK RD                                                                               ANN ARBOR           MI     48103‐9512
JANSEN, JOHN E            15 TOURNAMENT TEE DR                                                                       O FALLON            MO     63368‐9606
JANSEN, JOHN G            146 CARRIAGE LN                                                                            GEORGETOWN          KY     40324‐8836
JANSEN, JOHN R            10704 WHITEWOOD RD                                                                         PINCKNEY            MI     48169‐8436
JANSEN, JOHN RAYMOND      10704 WHITEWOOD RD                                                                         PINCKNEY            MI     48169‐8436
JANSEN, JOHN U            16123 TREE LINE DR                                                                         HUDSON              FL     34667
JANSEN, JOSEPH A          109 PRICE ST                                                                               LOCKPORT            NY     14094‐4934
JANSEN, JOSEPH P          75 SANDROCK ROAD                                                                           SEDONA              AZ     86351‐8683
JANSEN, JOSEPH P          75 SANDROCK RD                                                                             SEDONA              AZ     86351‐8683
JANSEN, KATHLEEN M        6623 ENGLISH OAKS STA                                                                      LIBERTY TOWNSHIP    OH     45044‐9262

JANSEN, KENNETH           COON BRENT W                   PO BOX 4905                                                 BEAUMONT           TX      77704‐4905
JANSEN, KENNETH G         11142 POGY LAKE DR                                                                         EVART              MI      49631‐7802
JANSEN, KENNETH M         28W577 MAIN ST                                                                             WARRENVILLE        IL      60555‐3421
JANSEN, LEROY L           1266 OLD GALLATIN RD                                                                       SCOTTSVILLE        KY      42164‐7200
JANSEN, LOIS A            10842 E NAVAJO DR                                                                          SUN LAKES          AZ      85248‐9262
JANSEN, LULA M            460 JEAN ST                                                                                CRYSTAL            MI      48818‐9624
JANSEN, LULA M            40703 STEWART RD APT 159                                                                   DADE CITY          FL      33525
JANSEN, MANFRED           1511 IMPALA PL                                                                             THE VILLAGES       FL      32159‐9568
JANSEN, MARGARETHA        240 S PERKINS BLVD                                                                         BURLINGTON         WI      53105‐1910
JANSEN, MARION H          1467 BRANDYWINE DR                                                                         ROCKFORD           IL      61108‐4382
JANSEN, MARLENE R         13782 JOBIN ST                                                                             SOUTHGATE          MI      48195‐1817
JANSEN, MARLENE RUTH      13782 JOBIN ST                                                                             SOUTHGATE          MI      48195‐1817
JANSEN, MERLE E           3208 NW CANTERBURY PL                                                                      BLUE SPRINGS       MO      64015‐2819
JANSEN, MICHAEL J         2664 MICAWBER DR                                                                           SHELBY TOWNSHIP    MI      48316‐4875
JANSEN, MOLLY             1774 PALACE AVENUE                                                                         SAINT PAUL         MN      55105‐2139
JANSEN, MOLLY             W5878 EASTER LILY DR                                                                       APPLETON           WI      54915‐7273
JANSEN, PATRICIA A        146 CARRIAGE LN                                                                            GEORGETOWN         KY      40324‐8836
JANSEN, PATRICIA E        75 SANDROCK RD                                                                             SEDONA             AZ      86351‐8683
JANSEN, PATRICIA E        75 SANDROCK ROAD                                                                           SEDONA             AZ      86351‐8683
JANSEN, ROBERT F          29 E CURHARKEN DR                                                                          EDGERTON           WI      53534‐9759
JANSEN, ROBERT L          6623 ENGLISH OAKS STA                                                                      LIBERTY TOWNSHIP   OH      45044‐9262

JANSEN, SHARON L          1576 AVERY RD                                                                              SAINT JOHNS         MI     48879‐9044
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Name                           Address1                        Address2                    Address3   Address4                   City               State Zip
JANSEN, WALTER F               6737 COPPER CREEK DR                                                                              WASHINGTON TWP      MI 48094‐2817

JANSEN, WENDY L                24506 OLDE ORCHARD ST                                                                             NOVI               MI   48375‐2976
JANSEN, WILLEM G               7612 AMBERWOOD CT                                                                                 W BLOOMFIELD       MI   48323‐4007
JANSEN, WILLIAM E              6575 1 MILE RD                                                                                    LAKEVIEW           MI   48850‐9457
JANSEN, WILLIAM H              1704 NE 68TH TER                                                                                  KANSAS CITY        MO   64118‐2819
JANSEN, WILLIAM J              19138 ELKHART ST                                                                                  HARPER WOODS       MI   48225‐2108
JANSEN, WILLIAM L              5124 REYMONT RD                                                                                   WATERFORD          MI   48327‐2865
JANSEN, YVONNE A               2655 NEBRASKA AVE APT 317                                                                         PALM HARBOR        FL   34684‐2606
JANSENS, BARBARA A             11057 SKYWAY LANE DR                                                                              ALLENDALE          MI   49401
JANSKY, STEPHEN M.             176 KEIBER CT                                                                                     STATEN ISLAND      NY   10314‐2347
JANSMA, EVELYN B               2066 DUNNIGAN AVE NE                                                                              GRAND RAPIDS       MI   49525‐9705
JANSMA, THOMAS                 PO BOX 53                                                                                         BYRON CENTER       MI   49315‐0053
JANSON E MILNICKEL             15 WAINWRIGHT                                                                                     RIVERSIDE          OH   45431
JANSON JR, CARL H              150 BRISCOE BLVD                                                                                  WATERFORD          MI   48327‐2502
JANSON JR., JAMES J            31220 PURITAN ST                                                                                  LIVONIA            MI   48154‐3255
JANSON JR., JAMES JOSEPH       31220 PURITAN ST                                                                                  LIVONIA            MI   48154‐3255
JANSON, JAMES J                30159 HATHAWAY ST                                                                                 LIVONIA            MI   48150‐6003
JANSON, KATHLEEN L             5681 HANES                                                                                        VASSAR             MI   48768‐9216
JANSON, KATHLEEN L             5681 HANES RD                                                                                     VASSAR             MI   48768‐9216
JANSON, MARK E                 8637 CRESSMOOR CT                                                                                 INDIANAPOLIS       IN   46234‐1786
JANSON, MARLYN                 686 8 MILE RD                                                                                     CINCINNATI         OH   45255‐4623
JANSON, PATRICIA L             39418 PATRINA DR                                                                                  CLINTON TOWNSHIP   MI   48038‐4023

JANSON, SCOTT D                7411 MCCANDLISH RD                                                                                GRAND BLANC        MI   48439‐7421
JANSON, WILLIAM M              PO B0X 1303                                                                                       DILLON             CO   80435
JANSONS, JANIS                 408 S ALEXANDER ST                                                                                SAGINAW            MI   48602
JANSSEN                        PO BOX 268981                                                                                     OKLAHOMA CITY      OK   73126‐8981
JANSSEN KATHY                  43 CREEKSIDE COURT                                                                                MASON CITY         IA   50401‐8913
JANSSEN REFRIGERATION CO INC   26725 BUNERT RD                                                                                   WARREN             MI   48089‐3651
JANSSEN SR, BILLIE J           4805 N WALLACE AVE                                                                                KANSAS CITY        MO   64119‐4248
JANSSEN, BRETT L               1600 POPLAR AVE                                                                                   KANSAS CITY        MO   64127‐2850
JANSSEN, BRETT LOGAN           1600 POPLAR AVE                                                                                   KANSAS CITY        MO   64127‐2850
JANSSEN, DAVID J               8422 MENGE                                                                                        CENTER LINE        MI   48015‐1613
JANSSEN, DELIA A               2205 SIBONEY CT                                                                                   ROCHESTER HILLS    MI   48309‐3749
JANSSEN, JAMES R               1901 N 50TH TER                                                                                   KANSAS CITY        KS   66102‐1523
JANSSEN, JOHN F                6845 WOODLAND HEIGHTS DR                                                                          AVON               IN   46123‐9239
JANSSEN, JOHN F                786 MC CUTCHEON ROAD                                                                              HUDSON             WI   54016‐7631
JANSSEN, JOLENE A              3842 KNOLLTON RD                                                                                  INDIANAPOLIS       IN   46228‐3329
JANSSEN, MARY E                32325 RED CLOVER RD                                                                               FARMINGTON HLS     MI   48394‐3555
JANSSEN, WILLIAM M             11245 SW 76TH AVE                                                                                 OCALA              FL   34476‐9140
JANSSEN,DONNIE                 1867 QUAIL RIDGE DR                                                                               LIBERTY            MO   64068‐8457
JANSSENS, GREGORY S            1617 E MCMILLAN ST APT 406                                                                        CINCINNATI         OH   45206
JANSSENS, JOHN M               3936 RALEIGH DR                                                                                   OKEMOS             MI   48864‐3642
JANSSENS, MAURICE B            7031 SARAH ST                                                                                     TEMPERANCE         MI   48182‐1291
JANSSENS, MEL TRUCKING INC     RR 1                                                                   PUTNAM ON N0L 2B0 CANADA

JANSSON, PENNY SUE             APT 206                         1695 BEDFORD SQUARE DRIVE                                         ROCHESTER HLS      MI   48306‐4436
JANSSON, RONALD A              5275 BALDWIN RD                                                                                   SWARTZ CREEK       MI   48473‐9175
JANSSON, RONALD ALLEN          5275 BALDWIN RD                                                                                   SWARTZ CREEK       MI   48473‐9175
JANTOS JR, EUGENE              28 WAGNER RD                                                                                      STOCKTON           NJ   08559‐1411
JANTOS, DAVID E                14939 MARION RD                                                                                   CHESANING          MI   48616‐8521
JANTOSZ, HENRY A               18951 CARMELO DR N                                                                                CLINTON TWP        MI   48038‐2208
JANTSON, DELORES G             988 CENTER ST. E.                                                                                 WARREN             OH   44481‐9306
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Name                          Address1                             Address2      Address3         Address4               City            State   Zip
JANTSON, DELORES G            988 CENTER ST E                                                                            WARREN           OH     44481‐9306
JANTZ GARY                    316 RIO PECOS RD                                                                           AZTEC            NM     87410‐1661
JANTZ JR, EMIL L              2824 SW 107TH ST                                                                           OKLAHOMA CITY    OK     73170‐2464
JANTZ JR, MICHAEL J           8580 BRIAR PATCH DR                                                                        DENTON           MD     21629‐2849
JANTZ, CATHERINE              7916 FOUNTAINHEAD PLACE                                                                    FORT WAYNE       IN     46835‐4776
JANTZ, DARIA                  399 ARROWHEAD DR                                                                           PERRYSBURG       OH     43551‐6355
JANTZ, ELMER E                9073 SHANNON DR                                                                            STERLING HTS     MI     48314‐2533
JANTZ, FRED E                 PO BOX 272                                                                                 NAUBINWAY        MI     49762‐0272
JANTZ, GLEN                   23603 COLUMBUS AVE                                                                         WARREN           MI     48089‐4440
JANTZ, JANET                  9951 BETTY LN                                                                              ELYRIA           OH     44035‐8105
JANTZ, JEFFREY L              399 ARROWHEAD DR                                                                           PERRYSBURG       OH     43551‐6355
JANTZ, LANA J                 2824 SW 107TH ST                                                                           OKLAHOMA CITY    OK     73170‐2464
JANTZ, ROGER J                4185 SILVER BIRCH DR                                                                       WATERFORD        MI     48329‐3868
JANTZ, ROGER JAY              4185 SILVER BIRCH DR                                                                       WATERFORD        MI     48329‐3868
JANTZ, WANDA                  1436 CAMBRIDGE RD                                                                          LANSING          MI     48911‐1005
JANTZEN, RICHARD M            1131 MAYROSE DR                                                                            W CARROLLTON     OH     45449‐2022
JANTZEN,RICHARD M             1131 MAYROSE DR                                                                            W CARROLLTON     OH     45449‐2022
JANTZI, GERALD A              1036 N JONES RD                                                                            ESSEXVILLE       MI     48732‐9692
JANUALE JR, EUGENE R          1308 RIDGEWOOD DR                                                                          LOCKPORT         NY     14094‐7160
JANUARI LINDSEY               41502 W VILLAGE GREEN BLVD APT 108                                                         CANTON           MI     48187‐3867
JANUARY JR, FRED              2512 MEADOWCROFT DR                                                                        BURTON           MI     48519‐1268
JANUARY, APRIL L              16208 SKYLINE LANE NORTHEAST                                                               ATLANTA          GA     30345‐7916
JANUARY, APRIL LATASHA        5474 OAKLEY INDUSTRIAL BLVD          APT 831                                               FAIRBURN         GA     30213‐4473
JANUARY, DOROTHY M            1201 RIVER FOREST DR A 1202                                                                FLINT            MI     48532
JANUARY, DOUGLAS A            715 CANTER ST                                                                              RAYMORE          MO     64083‐8483
JANUARY, DOUGLAS A.           715 CANTER ST                                                                              RAYMORE          MO     64083‐8483
JANUARY, JEAN                 8415 OVERLOOK PKWY                                                                         INDIANAPOLIS     IN     46260‐2250
JANUARY, JOHN                 522 KUHN ST                                                                                PONTIAC          MI     48342‐1945
JANUARY, JUNE L               7623 BAYMEADOWS CIR W # 2075                                                               JACKSONVILLE     FL     32256‐1815
JANUARY, JURDINE              2920 MCDOWELLS ROAD EXTENSION APT                                                          JACKSON          MS     39204
                              3C
JANUARY, SHERRI M             6136 ELDON RD                                                                              MOUNT MORRIS    MI      48458‐2716
JANUARY, VERA M               4907 DRUMMOND SQ                                                                           FLINT           MI      48504‐6708
JANUCHOWSKI, EUGENE J         109 DANBURY DR                                                                             CHEEKTOWAGA     NY      14225‐2002
JANUCHOWSKI, FRANCES          11697 HIGHWAY 17                                                                           SUCCESS         MO      65570‐9728
JANUCHOWSKI, HENRY F          8821 HILLSIDE DR                                                                           HICKORY HILLS   IL      60457‐1357
JANUCHOWSKI, JEANETTE M       473 LILLIAN AVE                                                                            SYRACUSE        NY      13206‐2160
JANUCHOWSKI, JOHN V           4332 WHEELER RD                                                                            BAY CITY        MI      48706‐1836
JANUCHOWSKI, SHARON L         6088 CROWN PT                                                                              FLINT           MI      48506‐1647
JANUCHOWSKI, STELLA H         16 ROLLING HILLS                                                                           ORCHARD PARK    NY      14127
JANUIK, BRUCE E               59 PARKERS POINT BLVD                                                                      FORKED RIVER    NJ      08731‐4808
JANUIK, BRUCE E.              59 PARKERS POINT BLVD                                                                      FORKED RIVER    NJ      08731‐4808
JANULAVICH, KENNETH R         2345 ROCK RD                                                                               GRANITE CITY    IL      62040‐1927
JANULEWICZ, ANNA H            14 POPLAR AVE                                                                              BORDENTOWN      NJ      08505‐1919
JANUS JR, EDWARD T            23099 BARWOOD LN N APT 305                                                                 BOCA RATON      FL      33428‐6703
JANUS REMOTE COMMUNICATIONS   2111 COMPREHENSIVE DR                                                                      AURORA          IL      60505‐1345
DEPARTMENT 20‐3053
JANUS, DANIEL J               15000 ROOSEVELT HWY                                                                        KENT            NY      14477‐9779
JANUS, DAVID L                14325 BAY VIEW DR                                                                          FENTON          MI      48430‐3303
JANUS, GEORGE M               3338 MCKINLEY RD                                                                           CHINA           MI      48054‐1121
JANUS, HAROLD E               2419 MEAD BLVD                                                                             HIGHLAND        MI      48357‐3759
JANUS, JOSEPH J               10745 KADER DR                                                                             PARMA           OH      44130‐7236
JANUS, JOSEPHINE              3 HIGH ST BOX 51                                                                           WATERPORT       NY      14571
JANUS, LAWRENCE A             353 LIGUORI RD                                                                             EDGERTON        WI      53534‐9331
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Name                           Address1                       Address2               Address3      Address4                 City               State   Zip
JANUS, LOIS E                  1429 WHISPERING WOODS LN                                                                     MARYSVILLE          MI     48040‐1773
JANUS, NEAL H                  2789 POWDERHORN RIDGE RD                                                                     ROCHESTER HILLS     MI     48309‐1339
JANUS, PATRICIA E              42787 LILLEY POINTE DR                                                                       CANTON              MI     48187‐5315
JANUS, ROBERT L                9S323 FLORENCE AVE                                                                           DOWNERS GROVE        IL    60516‐5005
JANUS, ROSE M                  3672 HIGH MEADOW DR                                                                          CANFIELD            OH     44406‐9211
JANUSCZAK, MARILYN M           3997 W 23RD ST                                                                               CLEVELAND           OH     44109‐2968
JANUSIK, GRIGORI               1307 W 89TH ST                                                                               CLEVELAND           OH     44102‐1827
JANUSIS, IPOLITAS L            6300 COUGAR RUN DRIVE C‐102                                                                  FT MYERS            FL     33908
JANUSKA, EDWARD                4521 VANDEMARK RD                                                                            LITCHFIELD          OH     44253‐9112
JANUSZ J UMBREWICZ             401 FALCON CT                                                                                COLLEYVILLE         TX     75034‐8593
JANUSZ JR, EDDIE B             137 MANANZA CT                 APT 2A                                                        GRAND RAPIDS        MI     49544
JANUSZ KRUPA                   117 COACHLAMP RD                                                                             ROCHESTER           MI     48306‐2721
JANUSZ LEWONIEWSKI             202 MINT LN                                                                                  EULESS              TX     76039‐7961
JANUSZ SZULC                   44 HEDGEWOOD RD                                                                              HOWELL              NJ     07731‐2206
JANUSZ UMBREWICZ               401 FALCON CT                                                                                COLLEYVILLE         TX     75034‐8693
JANUSZ WITKOWSKI               RODGAUSTR 24                                                        63128 DIETZENBACH
                                                                                                   GERMANY
JANUSZ, EDWARD A               2485 S US HIGHWAY 23                                                                         GREENBUSH          MI      48738‐9618
JANUSZ, EUGENIA                3711 FLORAMAR TERRACE                                                                        NEW PORT RICHEY    FL      34652‐3155
JANUSZ, FRANK J                1049 HESS LAKE DR                                                                            GRANT              MI      49327‐9308
JANUSZ, KENNETH A              4338 S NICHOLSON AVE APT 121                                                                 SAINT FRANCIS      WI      53235‐5831
JANUSZ, S                      2648 FAIRFAX                                                                                 STREETSBORO        OH      44241‐5113
JANUSZ, STANLEY                11995 ANGUS CIR                                                                              STERLING HTS       MI      48312‐1303
JANUSZ, WALTER J               206 GLEN BERNE DR                                                                            WILMINGTON         DE      19804‐3410
JANUSZ‐SIBLEY, DELPHINE T      4029 KNOLL DR APT 6                                                                          HAMBURG            NY      14075‐2985
JANUSZAK, JAMES                7116 TOWNLINE RD                                                                             N TONAWANDA        NY      14120‐1349
JANUSZCZAK, VIRGINIA           50785 JEFFERSON AVE APT 100                                                                  NEW BALTIMORE      MI      48047‐4373
JANUSZCZAK, VIRGINIA           50785 JEFFERSON AVE            APT #100                                                      NEW BALTIMORE      MI      48047‐4373
JANUSZEWSKI, BERNICE T         41255 POND VIEW DR APT 106                                                                   STERLING HEIGHTS   MI      48314‐3848
JANUSZEWSKI, DEBORAH J         1125 HWY 91 SOUTH                                                                            COLQUITT           GA      39837
JANUSZEWSKI, FRED              40 FOREST PARK TER                                                                           MONROE TWP         NJ      08831‐8547
JANUSZKIEWICZ, EDWARD          2413 PULASKI ST                                                                              HAMTRAMCK          MI      48212‐2993
JANUSZKIEWICZ, THOMAS          3916 EVALINE ST                                                                              HAMTRAMCK          MI      48212‐3378
JANUSZKOWSKI, ANTOINETTE       27660 TRAILBROOKE CIR                                                                        WESTLAND           MI      48185‐1864
JANUTOLO, PHILIP E             251 PINE DR                                                                                  KENANSVILLE        FL      34739‐9104
JANUZZI, GERALD F              7271 SNOW GOOSE CIR                                                                          GAYLORD            MI      49735
JANVEJA, SALONI                2255 LEXINGTON CIR S                                                                         CANTON             MI      48188‐5905
JANVIER GREG                   JANVIER, GREG                  NATIONWIDE INSURANCE   PO BOX 2655                            HARRISBURG         PA      17105
JANVIER, ANDRE D               995 EASTERN PKWY APT 3J                                                                      BROOKLYN           NY      11213‐4676
JANVIER, GREG                  NATIONWIDE INSURANCE           PO BOX 2655                                                   HARRISBURG         PA      17105‐2655
JANVIER, GREG                  C/O NATIONWIDE INSURANCE       PO BOX 730                                                    LIVERPOOL          NY      13088‐0730
JANVIER, WILDA                 995 EASTERN PKWY APT 3J                                                                      BROOKLYN           NY      11213‐4676
JANVRIN, LEE J                 33 MAVERICK ST                                                                               DEDHAM             MA      02026‐2410
JANWAL INDUSTRIAL DESIGN INC   310 S REYNOLDS RD                                                                            TOLEDO             OH      43615
JANYCE A CHAMPION              3829 DELPHOS AVE                                                                             DAYTON             OH      45417‐1537
JANYCE A MORRISON              3829 DELPHOS AVE                                                                             DAYTON             OH      45417
JANYCE BOUSMAN                 821 W 1ST ST                                                                                 ALBANY             IN      47320‐1503
JANYCE C SAUSMAN               2608 BAYSHORE DR                                                                             CAPE CORAL         FL      33993‐9789
JANYCE CHAMPION                3829 DELPHOS AVE                                                                             DAYTON             OH      45417‐1537
JANYCE HARNED                  PO BOX 232                                                                                   CROYDON            PA      19021‐0232
JANYCE SAUSMAN                 2608 BAYSHORE DR                                                                             MATLACHA           FL      33993‐9789
JANYTH KEEVEY                  950 KIRWAN DR                                                                                YOUNGSTOWN         OH      44515‐3341
JANZ, DAVID C                  10705 N BAY SHORE LN                                                                         MILTON             WI      53563‐8924
JANZ, LARRY H                  5266 SPRINGPORT RD                                                                           EATON RAPIDS       MI      48827‐9066
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Name                             Address1                        Address2                        Address3   Address4                    City               State   Zip
JANZ, LUCILLE                    1105 CLARK ST                                                                                          LANSING             MI     48906‐5428
JANZ, PEGGY J                    5266 SPRINGPORT RD                                                                                     EATON RAPIDS        MI     48827‐9066
JANZ, WILLIAM C                  2525 DAVIS RANCH RD                                                                                    BELLVUE             CO     80512‐6328
JANZEN GMC TRUCK                 2602 N VAN BUREN ST                                                                                    ENID                OK     73703‐1712
JANZEN OLDSMOBILE CADILLAC INC   DBA JANZEN OLDS CAD TOYOTA      4900 W 6TH AVE                                                         STILLWATER          OK     74074‐6700
JANZEN, ANISE C                  6123 GULLSTRAND ST                                                                                     SAN DIEGO           CA     92122‐3823
JANZEN, INC.                     JERRY JANZEN                    2602 N VAN BUREN ST                                                    ENID                OK     73703‐1712
JANZEN, MAREN S
JANZER, WILLIAM M                234 CHERRY RUN RD                                                                                      HEDGESVILLE        WV      25427‐5710
JANZEWSKI, RONALD J              27105 STACY ST                                                                                         TAYLOR             MI      48180‐4823
JANZSO, LELIA N                  41985 STATE RT 18                                                                                      WELLINGTON         OH      44090‐9677
JANZSO, LELIA N                  41985 STATE ROUTE 18                                                                                   WELLINGTON         OH      44090‐9677
JAO, ANTONIO D                   2242 RIDGEWOOD CIR                                                                                     ROYAL PALM BEACH   FL      33411‐6156

JAO, SHYH‐YEU                    3911 FRANKLIN RD                                                                                       BLOOMFIELD HILLS    MI     48302‐0965
JAONA BARDONNER                  159 APPIAN WAY                                                                                         ANDERSON            IN     46013‐4769
JAOQUIAN A BUTTS                 303 HORTON ST                                                                                          DETROIT             MI     48202‐3113
JAPALUCCI CHRIS                  41173 PRIMROSE DR                                                                                      STERLING HEIGHTS    MI     48313‐3276
JAPALUCCI, CHRISTOPHER J         41173 PRIMROSE DR                                                                                      STERLING HEIGHTS    MI     48313‐3276
JAPAN AUTOMOBILE STANDARDS       3 F SHOEI‐ ROKUBANCHO BLDG 6    ROKUBANCHO CHIYODA‐KU 102‐                 0085 TOKYO JAPAN JAPAN
INTERNATIONALIZATION CENTER
JAPAN AUTOMOBILE STANDARDS       1015 18TH ST NW STE 505                                                                                WASHINGTON          DC     20036‐5213
INTERNATIONALZATION CENTER
JAPAN SOCIETY                    333 E 47TH ST                                                                                          NEW YORK            NY     10017‐2313
JAPAN VILENE CO LTD              87 PARK TOWER RD                                                                                       MANCHESTER          TN     37355
JAPAN VILENE CO LTD              VILENE BLDG                                                                CHIYODA‐KU TOKYO 101‐0021
                                                                                                            JAPAN
JAPCINSKI, JAMES D               10647 CANADA WAY                                                                                       BIRCH RUN          MI      48415‐8430
JAPEL, RICHARD A                 3147 STONEY RIDGE RD                                                                                   AVON               OH      44011‐2203
JAPEL, RICHARD J                 1523 DOCK ROAD                                                                                         MADISON            OH      44057‐2221
JAPENGA, MOLLY L                 25513 MCALLISTER ST                                                                                    SOUTHFIELD         MI      48033‐5230
JAPES, PATRICK R                 19490 NORTHRIDGE DR APT E                                                                              NORTHVILLE         MI      48167‐3130
JAPOWICZ, MICHAEL S              21710 LANSE ST                                                                                         ST CLAIR SHRS      MI      48081‐2756
JAPP, WILLIAM E                  29035 94TH AVE                                                                                         MARCELLUS          MI      49067‐9779
JAPPSEN, WILLIAM R               171 MORNINGSIDE DR                                                                                     PORT CLINTON       OH      43452‐1469
JAPPY, CHRISTINE M               17725 ROBERT ST                                                                                        MELVINDALE         MI      48122‐1065
JAPSEN, ESTELLA A                APT 804                         215 EAST SHORELINE DRIVE                                               SANDUSKY           OH      44870‐2592
JAPUNCHA, MARY R                 8174 ENGLEWOOD N.E.                                                                                    WARREN             OH      44484‐1967
JAPUNCHA, NICK M                 1388 WESTOVER DR SE                                                                                    WARREN             OH      44484‐2813
JAPUNCHA, SAMUEL                 376 CHARLES AVENUE                                                                                     CORTLAND           OH      44410‐1204
JAPUNCHA, SAMUEL R               5032 STATE ROUTE 305                                                                                   FOWLER             OH      44418‐9701
JAQUA & WHEATLEY PC              825 E PARK ST                                                                                          EUGENE             OR      97401‐2909
JAQUA JOHN (459936)              KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                          CLEVELAND          OH      44114
                                                                 BOND COURT BUILDING
JAQUA, CONNIE J                  3315 W 900 N                                                                                           ALEXANDRIA         IN      46001‐8425
JAQUA, DAVID L                   8‐839 RD P‐3                                                                                           NAPOLEON           OH      43545
JAQUA, DAVID LYNN                8‐839 RD P‐3                                                                                           NAPOLEON           OH      43545
JAQUA, JOHN                      KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                           CLEVELAND          OH      44114
                                                                 BOND COURT BUILDING
JAQUA, ROGER C                   720 TRAIL DR APT 7                                                                                     NAPOLEON           OH      43545‐1074
JAQUAN C ALLEN                   436 CANVAS CT                                                                                          CROWLEY            TX      76036‐4335
JAQUAN SMITH                     5707 RIVIERA BLVD                                                                                      PLAINFIELD         IL      60586‐5487
JAQUAY WALTER & GLADYS           6 MILL ST                                                                                              HAMILTON           NY      13346‐1006
JAQUAY, EUGENE A                 341 POWHATAN AVE                                                                                       COLUMBUS           OH      43204‐1916
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Name                          Address1                        Address2                         Address3                Address4               City            State   Zip
JAQUAYS, WILLIAM E            57200 SYCAMORE DR                                                                                               WASHINGTON       MI     48094‐3396
JAQUELINE LAHAR               8243 COLDWATER RD                                                                                               FLUSHING         MI     48433‐1121
JAQUELINE MASON               817 JULIA ST                                                                                                    RAYVILLE         LA     71269‐2609
JAQUELINE REESE               5957 CULDEAN DR APT 1222                                                                                        TROTWOOD         OH     45426
JAQUELINE RITCHEY             29477 CHERRY HILL RD APT 311                                                                                    INKSTER          MI     48141‐1074
JAQUELINE S BOSTWICK          2 E NORTHWOOD DR                APT A                                                                           LEBANON          OH     45036
JAQUES, CHRISTINE             2734 TRAVERSE AVE                                                                                               NORTH PORT       FL     34286‐4286
JAQUES, ELSIE M               G3353 AUGUSTA ST                                                                                                FLINT            MI     48532‐4804
JAQUES, ESTELLA B             1133 CUBA ST                                                                                                    TOLEDO           OH     43615‐4313
JAQUES, FREDERIC A            31154 SENECA LN                                                                                                 NOVI             MI     48377‐1526
JAQUES, JAMES R               21 HAMPI CT                                                                                                     SWARTZ CREEK     MI     48473‐1613
JAQUES, JOHN R                1172 N DYE RD                                                                                                   FLINT            MI     48532‐2215
JAQUES, MARYLYNN R            6370 LOCUST ST EXT                                                                                              LOCKPORT         NY     14094
JAQUES, RAYMOND               6370 LOCUST STREET EXT                                                                                          LOCKPORT         NY     14094‐6512
JAQUES, RICHARD L             1133 CUBA ST                                                                                                    TOLEDO           OH     43615‐4313
JAQUES, VICKIE S              4327 DYE RD                                                                                                     SWARTZ CREEK     MI     48473‐8226
JAQUETTE, CONNIE M            1899 DEETER RD                                                                                                  LUZERNE          MI     48636‐9772
JAQUETTE, JACK L              191 LINGOLD RD NW                                                                                               MILLEDGEVILLE    GA     31061‐8141
JAQUETTE, ROGER R             3524 BACK VALLEY RD                                                                                             DAYTON           TN     37321‐7943
JAQUEZ JR, DOMINGO M          1474 W MOORE RD                                                                                                 SAGINAW          MI     48601‐9712
JAQUEZ, CELIA B               1611 KNOX ST                                                                                                    SAN FERNANDO     CA     91340‐1135
JAQUEZ, RICARDO M             PO BOX 694                                                                                                      BOWLING GREEN    FL     33834‐0694
JAQUILLARD, DENNIS G          6255 TELEGRAPH RD LOT 294                                                                                       ERIE             MI     48133‐8401
JAQUILLARD, DENNIS GENE       6112 NORTH 132ND AVENUE                                                                                         LITCHFIELD PK    AZ     85340‐7323
JAQUILLARD, RONALD E          151 N GOODYEAR ST                                                                                               OREGON           OH     43616‐1932
JAQUILLARD, RONALD EDWARD     151 N GOODYEAR ST                                                                                               OREGON           OH     43616‐1932
JAQUIN, CHERYL                APT 105                         10400 ASHLAND GATE DRIVE                                                        RALEIGH          NC     27617‐8448
JAQUIN, FRED P                APT 105                         10400 ASHLAND GATE DRIVE                                                        RALEIGH          NC     27617‐8448
JAQUIN, FRED P                10400 ASHLAND GATE DR           APT 105                                                                         RALEIGH          NC     27617‐9448
JAQUIS JR, MARSTON A          654 S IVY WAY                                                                                                   DENVER           CO     80224‐1259
JAQUISH JR, PAUL E            14093 SIERRA WOODLANDS COURT                                                                                    NEVADA CITY      CA     95959‐8207
JAQUISH, ROGER E              1231 COUNTRYSIDE DR                                                                                             MONDOVI          WI     54755‐5007
JAQUITA M BURTON              3 ROLLING HILL DR                                                                                               SOMERSET         NJ     08873
JAQUITH, WENDELL D            3480 LINDA LN                                                                                                   BALDWINSVILLE    NY     13027‐9217
JAQUITTA J TERRELL            680 DELAWARE ST APT C4                                                                                          DETROIT          MI     48202‐4413
JAQULINE QUAERNA              1314 PURVIS AVE                                                                                                 JANESVILLE       WI     53548‐1583
JAR, PAULINE R                63300 W CHARLESTON DR                                                                                           WASHINGTN TWP    MI     48095‐2431
JAR, RONALD J                 16905 ROSE POINTE DR                                                                                            MACOMB           MI     48044‐5606
JAR/RIVERVIEW                 18614 FORT ST                                                                                                   RIVERVIEW        MI     48193‐7443
JARA SCIALOJA                 VIA E.Q. VISCONTI 55            ROME
JARA, BRUNETTA                687 SANFORD ST SW                                                                                               PALM BAY         FL     32908‐3363
JARA, MARY T                  1903 COLUMBUS AVE                                                                                               FORT WORTH       TX     76164‐8659
JARABEK, BERNARD J            2415 TOWNLINE RD                                                                                                BIRCH RUN        MI     48415‐8900
JARACZ, LAWRENCE M            7800 ARCHDALE ST                                                                                                DETROIT          MI     48228‐4207
JARAE, WILLIAM J              5532 GINA DR                                                                                                    SWARTZ CREEK     MI     48473‐8829
JARAKI JULIE                  602 CANTERBURY ROAD                                                                                             GROSSE POINTE    MI     48236‐1200
JARAKI MOHAMAD                602 CANTERBURY ROAD                                                                                             GROSSE POINTE    MI     48236‐1200
JARAKI, JULIE D               602 CANTERBURY RD                                                                                               GROSSE POINTE    MI     48236‐1200
                                                                                                                                              WOODS
JARAMILLO ANDRES C (481811)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                     NORFOLK          VA     23510
                                                              STREET, SUITE 600
JARAMILLO AUGUSTINE           JARAMILLO, AUGUSTINE            640 S SAN VICENTE BLVD STE 230                                                  LOS ANGELES      CA     90048‐4654
JARAMILLO AUGUSTINE           JARAMILLO, GUADALUPE            ROMANO STANCROFF MIKHOV PC       640 SOUTH SAN VICENTE                          LOS ANGELES      CA     90048
                                                                                               BLVD. SUITE 230
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Name                                   Address1                         Address2                      Address3        Address4               City               State Zip
JARAMILLO CHRISTOBAL Z (466984)        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK             VA 23510
                                                                        STREET, SUITE 600
JARAMILLO LEO T (ESTATE OF) (626586)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK            VA   23510
                                                                        STREET, SUITE 600
JARAMILLO LUCARIO G (481812)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK            VA   23510
                                                                        STREET, SUITE 600
JARAMILLO MAYELA                       5537 PENTAIL CIR                                                                                      TAMPA              FL   33625
JARAMILLO, ANDRES C                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK            VA   23510‐2212
                                                                        STREET, SUITE 600
JARAMILLO, CHRISTOBAL Z                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK            VA   23510‐2212
                                                                        STREET, SUITE 600
JARAMILLO, EDWARD                      1921 W HEMLOCK ST                                                                                     OXNARD             CA   93035‐3427
JARAMILLO, ELISEO J                    250 E TELEGRAPH RD SPC 236                                                                            FILLMORE           CA   93015‐2164
JARAMILLO, JOE                         PO BOX 408                                                                                            LYONS              IL   60534‐0408
JARAMILLO, JOHN P                      3523 S UNION AVE                                                                                      CHICAGO            IL   60609‐1629
JARAMILLO, LEO T                       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK            VA   23510‐2212
                                                                        STREET, SUITE 600
JARAMILLO, LIBERTY B                   3830 FINCH DR                                                                                         TROY               MI   48084‐1667
JARAMILLO, LUCARIO G                   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK            VA   23510‐2212
                                                                        STREET, SUITE 600
JARAMILLO, OSCAR                       4006 GIVERNY CT                                                                                       CONVERSE           TX   78109‐3650
JARAMILLO, PATRICIA D                  3501 MESQUITE CHASE                                                                                   SCHERTZ            TX   78154‐1970
JARAMILLO, ROY D                       545 COVEY LN                                                                                          TRACY              CA   95376‐4675
JARANOWSKI, THOMAS D                   26730 FERNWOOD ST                                                                                     ROSEVILLE          MI   48066‐3497
JARAS, VICTOR V                        921 29TH ST                                                                                           BAY CITY           MI   48708‐7819
JARATHA WALKER                         7241 CREEKSIDE DR                                                                                     LANSING            MI   48917‐9691
JARAY REEVES                           107 E 4TH ST                                                                                          TILTON             IL   61833‐7414
JARBER, HORACE L                       14611 WARWICK STREET                                                                                  DETROIT            MI   48223‐2246
JARBOE RONALD (459132)                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK            VA   23510
                                                                        STREET, SUITE 600
JARBOE SR, THOMAS A                    1655 NORTH RD                                                                                         DAYVILLE           CT   06241‐1308
JARBOE, CLAUDE L                       604 SOMERSET DR                                                                                       FLUSHING           MI   48433‐1906
JARBOE, DENNIS D                       1436 E HORSESHOE BEND DR                                                                              ROCHESTER HILLS    MI   48306‐4142
JARBOE, ELLEN E                        18191 RED OAKS DR                                                                                     MACOMB             MI   48044‐2776
JARBOE, KAY M                          1004 BERKSHIRE RD                                                                                     GROSSE POINTE      MI   48230‐1311
                                                                                                                                             PARK
JARBOE, LLOYD A                        2571 BIRCH POINT DR                                                                                   LUPTON             MI   48635‐9615
JARBOE, NINA M                         3072 BARTON DRIVE                                                                                     STERLING HEIGHTS   MI   48310‐3611
JARBOE, RONALD                         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK            VA   23510‐2212
                                                                        STREET, SUITE 600
JARBOE, RONALD J                       1224 ELMHURST DR                                                                                      INDIANAPOLIS       IN   46219‐3623
JARC, JOSEPH                           29111 CHARDON RD                                                                                      WILLOUGHBY HILLS   OH   44092‐1407

JARCHOW, LEROY W                       1861 BRAEBURN PARK DR                                                                                 EUCLID             OH   44117‐1803
JARCHOW, THOMAS A                      935 N 75TH ST                                                                                         WAUWATOSA          WI   53213‐3137
JARCO, STEPHEN M                       5176 SANDALWOOD DR                                                                                    GRAND BLANC        MI   48439‐4263
JARCON INDUSTRIES INC                  14342 PARK DR                                                                                         BROOK PARK         OH   44142‐3848
JARCZYK, JOHN M                        3515 BAYARD DR                                                                                        CINCINNATI         OH   45208
JARCZYNSKI, BRENDA K                   PO BOX 58                                                                                             SAN YGNACIO        TX   78067‐0058
JARCZYNSKI, RICHARD A                  2378 HATLEY RD SE                                                                                     FIFE LAKE          MI   49633‐8231
JARCZYNSKI, ROBERT P                   18797 COUNTY ROAD 628                                                                                 ATLANTA            MI   49709‐9563
JARDINE FOSTER                         1996 DEARING ST                                                                                       DETROIT            MI   48212‐2143
JARDINE JAMES P                        JARDINE, JAMES P                 STATE FARM INSURANCE          P.O. BOX 2350                          BLOOMINGTON        IL   61702
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Name                                 Address1                       Address2            Address3                   Address4               City               State Zip
JARDINE JAMES P                      WOODWARD, ANNETTE              AMICA MUTUAL INS    2443 WARRENVILLE RD STE.                          LISLE                IL 60532
                                                                                        510
JARDINE STEPHENSON BLEWETT &         300 CENTRAL AVE STE 7000                                                                             GREAT FALLS        MT   59401
WEAVER PC
JARDINE, DONNA R                     14900 FAIRGROVE ST                                                                                   SOUTHGATE          MI   48195‐2533
JARDINE, EDMUND H                    2985 N BEACH RD UNIT C6‐1                                                                            ENGLEWOOD          FL   34223‐8100
JARDINE, GERALD E                    1757 HUIZENGA ST                                                                                     MUSKEGON           MI   49442‐5940
JARDINE, JAMES E                     927 LAKEVIEW DR                                                                                      SHARPS CHAPEL      TN   37866‐1790
JARDINE, JAMES P                     STATE FARM INSURANCE           PO BOX 2350                                                           BLOOMINGTON        IL   61702‐2350
JARDINE, JOHN R                      1610 NE OAK TREE DR                                                                                  LEES SUMMIT        MO   64086‐3391
JARDINES ETERNOS DE SAN JOSE, S.A.   5767 MIRA GRANDE DR.                                                                                 EL PASO            TX   79912
JARDINEZ, KEN
JARDON, JESUS G                      37704 HIGHWAY 145                                                                                    MADERA             CA   93636‐9206
JARDON, JESUS G                      37704 HWY 145                                                                                        MADERA             CA   93638‐9206
JARDOT JR, ALFRED                    5301 MILLS HWY                                                                                       EATON RAPIDS       MI   48827‐9024
JARDUS WALKER                        1051 GREENSBORO RD                                                                                   MADISON            GA   30650
JARECKI, CHRISTINE                   3022 W MALLORY AVE                                                                                   GREENFIELD         WI   53221‐3311
JARECKI, DEBORAH L                   3323 WARWICK DR                                                                                      SHREVEPORT         LA   71118‐4323
JARECKI, JAMES W                     2900 14 MILE RD NE                                                                                   SPARTA             MI   49345‐8500
JARECKI, JENNIFER L                  364 ATLANTIC AVE                                                                                     SHREVEPORT         LA   71105‐2910
JARECKI, JENNIFER LYNN               364 ATLANTIC AVE                                                                                     SHREVEPORT         LA   71105‐2910
JARECKI, MARK R                      7235 DORCHESTER LN                                                                                   GREENDALE          WI   53129‐2219
JARECKI, PATRICK A                   2313 BROWNLEE RD                                                                                     BOSSIER CITY       LA   71111‐2007
JARECKI, PATRICK ALAN                2313 BROWNLEE RD                                                                                     BOSSIER CITY       LA   71111‐2007
JARECKI, WANDA                       2215 BELMONT                                                                                         DEARBORN           MI   48128‐1424
JARECKI, WANDA                       2215 BELMONT ST                                                                                      DEARBORN           MI   48128‐1424
JARED
JARED A HUBBARTT                     338 DAKOTA ST                                                                                        YPSILANTI          MI   48198‐6016
JARED ALAMAT                         PO BOX 9022                    C/O JAPAN                                                             WARREN             MI   48090‐9022
JARED B ADAMS                        12821 BECKELHEIMER RD                                                                                SARDINIA           OH   45171‐9789
JARED BAILEY                         100 SW GLADSTONE DR                                                                                  BLUE SPRINGS       MO   64014‐3912
JARED BAILEY                         1088 STATE ROAD 446                                                                                  BEDFORD            IN   47421‐7666
JARED BEAIRD                         10235 IMLAY CITY RD                                                                                  KENOCKEE           MI   48006‐3415
JARED CULVER                         2453 E STANLEY RD                                                                                    MOUNT MORRIS       MI   48458‐8979
JARED F WHITE                        407 NIES AVE                                                                                         ENGLEWOOD          OH   45322
JARED FITZPATRICK                    18971 FLAMINGO BLVD                                                                                  LIVONIA            MI   48152‐3331
JARED HARGRAVE                       4175 NE 63RD TER                                                                                     GLADSTONE          MO   64119‐5024
JARED HAWLEY                         9278 CHESTERFIELD DR                                                                                 SWARTZ CREEK       MI   48473‐1010
JARED J NEISLER                      9692 GREENWICH LANE                                                                                  ANAHEIM            CA   92804
JARED JOHNSON                        905 RANDY LN APT 11                                                                                  SAINT JOHNS        MI   48879‐8738
JARED JR, CLARENCE A                 709 BAYWOOD LN                                                                                       DAVISON            MI   48423‐1234
JARED K MINOR                        200 SHADOWLAKE DR                                                                                    CLINTON            MS   39056
JARED K REVIEA                       1541 BROOK PARK DR                                                                                   TROY               OH   45373‐4615
JARED KIRBY                          3309 VAN CAMPEN RD                                                                                   FLINT              MI   48507‐3346
JARED L EDENS                        2125 S TECUMSEH RD LOT 59                                                                            SPRINGFIELD        OH   45502
JARED L MURPHY                       5308 PARKS W.RD.                                                                                     MIDDLEFIELD        OH   44062‐9352
JARED L PREECE                       1690 SCENIC DR                                                                                       DAYTON             OH   45414
JARED LEGGETT                        37500 CARSON ST                                                                                      FARMINGTON HILLS   MI   48331‐9704

JARED LOHRMANN                       PO BOX 9220                                                                                          BACLIFF            TX   77518‐9220
JARED M MCLAUGHLIN                   6227 LAKE DR                                                                                         YPSILANTI          MI   48197‐7052
JARED MC DADE                        3830 PURCHASE ST                                                                                     PURCHASE           NY   10577‐1116
JARED MOHR
JARED MURPHY                         5308 PARKS WEST RD                                                                                   MIDDLEFIELD        OH   44062‐9352
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Name                  Address1                           Address2                 Address3    Address4                  City              State Zip
JARED NUVEMAN         419 MILL POND DR                                                                                  FENTON             MI 48430‐2335
JARED P COLE          367 N LIMESTONE                    APT 4                                                          LEXINGTON          KY 40508‐1805
JARED PARKER IRVING   5080 20 AVE NE SUITE 15                                                 SALMON ARM, BC V1E 1C4,
                                                                                              CANADA
JARED PRATT           4956 CYPRESS CREEK LN                                                                             KALAMAZOO         MI   49004‐3716
JARED RAWLS           1485 S IRISH RD                                                                                   DAVISON           MI   48423‐8313
JARED REINHARDT       1880 RUBY AVE                                                                                     ROCHESTER HLS     MI   48309‐4228
JARED RICHARDSON      734 AUBURN AVE APT #5                                                                             BUFFALO           NY   14222
JARED SANDIFER        301 HEREFORD RD LOT 1                                                                             MONROE            LA   71202‐8112
JARED SHORTER
JARED SHULTZ          809 N GUINIVERE DR                                                                                MARION            IN   46952‐2413
JARED THIELE          14343 THIELE RD                                                                                   FORT WAYNE        IN   46819
JARED WANGLER         4423 TRAPANI LN                                                                                   SWARTZ CREEK      MI   48473‐8824
JARED WEKENMAN        1947 N CANAL RD                                                                                   EATON RAPIDS      MI   48827‐9329
JARED WHITFORD        3249 E CLEVELAND RD                                                                               ASHLEY            MI   48806‐9712
JARED, DONNIE A       1465 HARRY ST                                                                                     YPSILANTI         MI   48198‐6621
JARED, J B            7050 SUNSET DR S APT 1505                                                                         S PASADENA        FL   33707‐6411
JARED, JERRY S        1076 WOODGLEN AVE                                                                                 YPSILANTI         MI   48198‐6216
JARED, OLIVE L        115 4TH AVE S                                                                                     BAXTER            TN   38544‐5150
JARED, OLIVE L        115 4TH AVE SOUTH                                                                                 BAXTER            TN   38544‐5150
JARED, RONALD R       5525 N 975 W                                                                                      MIDDLETOWN        IN   47356
JARED, WILMA C        1688 GILSTRAP ROAD                                                                                MORGANTOWN        KY   42261‐9169
JAREMA JR, DONALD R   3600 QUANICASSEE RD                                                                               FAIRGROVE         MI   48733‐9700
JAREMA, ALAN L        2650 BUSCH RD                                                                                     BIRCH RUN         MI   48415‐8918
JAREMA, ALAN LLOYD    2650 BUSCH RD                                                                                     BIRCH RUN         MI   48415‐8918
JAREMA, CARL H        465 SANDEHURST DR                                                                                 GRAND BLANC       MI   48439‐1576
JAREMA, DOLORES       635 MEADOWLAWN                                                                                    SAGINAW           MI   48604‐2234
JAREMA, DONALD R      6201 MASTERS AVE                                                                                  SAGINAW           MI   48604‐9573
JAREMA, KENNETH L     PO BOX 150034                                                                                     ARLINGTON         TX   76015‐6034
JAREMA, LAURENCE G    817 SE 13TH ST                                                                                    OKLAHOMA CITY     OK   73160‐7257
JAREMA, MARGARET      WALTON WOODS                       3250 WALTON BLVD RM120                                         ROCHESTER HILLS   MI   48309‐1277
JAREMA, MARGARET      3250 WALTON BLVD APT 120           WALTON WOODS                                                   ROCHESTER HILLS   MI   48309‐1277
JAREMA, MARK G        1310 AVALON AVE                                                                                   SAGINAW           MI   48638‐4730
JAREMA, MARK J        1769 KINGSBURY DR                                                                                 LAPEER            MI   48446‐9794
JAREMA, MARY J        817 SE 13TH ST                                                                                    MOORE             OK   73160‐7257
JAREMA, ROBERT C      9029 ORCHARD VIEW DR                                                                              GRAND BLANC       MI   48439‐8364
JAREMA, TERRENCE E    882 COMMONWEALTH ST                                                                               SAGINAW           MI   48604‐1106
JAREMA, THOMAS A      7433 VASSAR RD                                                                                    GRAND BLANC       MI   48439‐7417
JAREMA, THOMAS ALAN   7433 VASSAR RD                                                                                    GRAND BLANC       MI   48439‐7417
JAREMA, THOMAS E      9103 S KESTREL RIDGE RD                                                                           BRIGHTON          MI   48116‐5150
JAREMA, TODD A        4484 STANLEY RD                                                                                   COLUMBIAVILLE     MI   48421‐9366
JAREMA, TODD ALLEN    4484 STANLEY RD                                                                                   COLUMBIAVILLE     MI   48421‐9366
JAREMBA, CECELIA      3938 CHURCH ST                                                                                    SAGINAW           MI   48604‐1736
JAREMBA, JOHN         3938 CHURCH ST                                                                                    SAGINAW           MI   48604‐1736
JAREMBA, MARIAN S     208 LIBERTY ST                                                                                    SOUTH AMBOY       NJ   08879‐2244
JAREMBA, NANCY J      3020 N. HENDERSON RD. EAST                                                                        LUPTON            MI   48635‐9311
JAREMBA, NANCY J      3020 N HENDERSON RD E                                                                             LUPTON            MI   48635‐9311
JAREMBO, DENNIS E     5264 TOWER HILL RD                                                                                HOUGHTON LAKE     MI   48629‐9248
JAREMKO NISSAN SAAB   6901 E SPRAGUE AVE                                                                                SPOKANE VALLEY    WA   99212‐0624
JAREMKO SAAB          JAREMKO, PAUL                      6901 E SPRAGUE AVE                                             SPOKANE VALLEY    WA   99212‐0624
JAREMKO SAAB          6901 E SPRAGUE AVE                                                                                SPOKANE VALLEY    WA   99212‐0624
JAREMKO, DMYTRO       41 GREELEY ST                                                                                     BUFFALO           NY   14207‐2203
JAREMKO, MARK S       15113 PARALLEL RD                                                                                 BASEHOR           KS   66007‐3012
JAREMSKI, HIROKO      9217 COLUMBIA                                                                                     REDFORD           MI   48239‐1913
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Name                        Address1                         Address2                     Address3   Address4               City              State   Zip
JAREMY, ALEXANDER           1325 LILY WAY                                                                                   SOUTHAMPTON        PA     18966‐3313
JARENDA GARNER              4301 RUBY AVE                                                                                   YUKON              OK     73099‐0714
JARENT, JOSEPH J            215 LINDBERGH ST                                                                                MASSAPEQUA PARK    NY     11762‐2239

JARFAS, RICHARD E           9170 RYNN RD                                                                                    KENOCKEE          MI      48006‐4112
JARIC DANIEL M              14817 MACKLIN RD                                                                                NEW SPRINGFIELD   OH      44443‐9749
JARIC, DANIEL M             14817 MACKLIN RD                                                                                NEW SPRINGFIELD   OH      44443‐9749
JARIC, KACIE L              14817 MACKLIN RD                                                                                NEW SPRINGFIELD   OH      44443‐9749
JARIE D CUFF                4099 N. SNYDER RD.                                                                              TROTWOOD          OH      45426
JARILYNN WARD               2346 DRUID RD E LOT 134                                                                         CLEARWATER        FL      33764‐4104
JARIOUS SLENTZ JR           2904 S ROYSTON RD                                                                               EATON RAPIDS      MI      48827‐9026
JARIS THOMAS                814 CATALPA DR                                                                                  DAYTON            OH      45402‐5903
JARJOSA, JOSEPH             2695 BEACON HILL DR APT 102                                                                     AUBURN HILLS      MI      48326‐3751
JARJOSA, JOSEPH L           7029 CARLYLE CROSSING                                                                           W BLOOMFIELD      MI      48322‐3083
JARJOSA, JOSEPH L           7029 CARLYLE XING                                                                               WEST BLOOMFIELD   MI      48322‐3083

JARJOSA, LOUIS F            5466 W BLOOMFIELD LAKE RD                                                                       W BLOOMFIELD      MI      48323‐2412
JARJOURA, GEORGE            32 ALLEN AVE                                                                                    PAWTUCKET         RI      02860‐2302
JARKA, ARTHUR J             229 BENNETT RD                   RM 273                                                         CHEEKTOWAGA       NY      14227
JARKE, DONALD C             1180 N 400 E                                                                                    KOKOMO            IN      46901‐3625
JARKE, JUDITH A             1180 N COUNTY RD 400 E                                                                          KOKOMO            IN      46901
JARKOWIEC JOHN M (644699)   ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                     BALTIMORE         MD      21202
                                                             CHARLES CENTER 22ND FLOOR
JARKOWIEC, JOHN M           ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                      BALTIMORE         MD      21202
                                                             CHARLES CENTER 22ND FLOOR
JARL BENGTSON               3342 N COUNTY RD E                                                                              JANESVILLE        WI      53548‐8993
JARL JOSEPH                 1436 W SAGINAW RD 615                                                                           MAYVILLE          MI      48744
JARLATH QUINN JR            2436 CEDAR KEY DR                                                                               LAKE ORION        MI      48360‐1822
JARLINSKI, DALE S           3625 TWO ROD RD                                                                                 EAST AURORA       NY      14052‐9608
JARLIS, WILLIAM V           13 HILLCREST RD                                                                                 CANTON            MA      02021‐1147
JARLOCK, EDWARD S           4876 WEST MICHIGAN AVENUE                                                                       SAGINAW           MI      48638
JARLOCK, EDWARD S           4876 W MICHIGAN AVE                                                                             SAGINAW           MI      48638‐6312
JARLOCK, MARGARET B         4876 W MICHIGAN AVE                                                                             SAGINAW           MI      48638‐6312
JARLSBERG, TERRY W          1530 E LINDSEY ST APT D                                                                         NORMAN            OK      73071‐2274
JARM, SHARON                1401 E OCEAN BLVD APT‐22                                                                        LONG BEACH        CA      90802‐5857
JARMAN CONSULTING GROUP     1845 YORKSHIRE RD                                                                               BIRMINGHAM        MI      48009‐7421
JARMAN TRAVEL INC           425 CALIFORNIA ST                STE 1310                                                       SAN FRANCISCO     CA      94104‐2115
JARMAN, ALBERT R            4100 40TH ST APT 49                                                                             MERIDIAN          MS      39305‐3525
JARMAN, ALBERT R            APT 49                           4100 40TH STREET                                               MERIDIAN          MS      39305‐3525
JARMAN, ALONZO J            16509 E 29TH TER S                                                                              INDEPENDENCE      MO      64055‐2238
JARMAN, BRENT D             4962 KEDRON RD                                                                                  COLUMBIA          TN      38401‐7513
JARMAN, DORIS N             P O BOX 514                                                                                     FELICITY          OH      45120‐0514
JARMAN, DORIS N             PO BOX 343                                                                                      FELICITY          OH      45120‐0343
JARMAN, GLEN M              3367 GARBETT TER                                                                                NORTH PORT        FL      34288‐9753
JARMAN, JAMES G             9121 EMILY DR                                                                                   DAVISON           MI      48423‐2894
JARMAN, JAMES T             11310 MOSHER RD                                                                                 OTISVILLE         MI      48463‐9772
JARMAN, JOELLA R            RT 1, BOX 133                                                                                   GAINESVILLE       MO      65655
JARMAN, LARRY J             3407 BRIDLEGATE DR                                                                              ARLINGTON         TX      76016‐3210
JARMAN, LESTER O            2355 RANEY CAMP RD                                                                              CUMBERLAND        TN      37051
                                                                                                                            FURNACE
JARMAN, MARY M              1845 YORKSHIRE RD                                                                               BIRMINGHAM        MI      48009‐7421
JARMAN, MICHAEL T           1845 YORKSHIRE RD                                                                               BIRMINGHAM        MI      48009‐7421
JARMAN, MONA L.             PO BOX 7571                                                                                     KANSAS CITY       MO      64116‐0271
JARMAN, RANDALL J           3620 HIGHTREE AVE SE                                                                            WARREN            OH      44484‐3730
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Name                               Address1                       Address2                      Address3   Address4               City             State   Zip
JARMAN, ROBERT                     1004 FRONT ST                                                                                  ALLIANCE          OH     44601‐2669
JARMAN, ROBERT L                   5401 N BENNINGTON AVE                                                                          KANSAS CITY       MO     64119‐3228
JARMAN, RONALD W                   96 SYLVAN DR                                                                                   INDEPENDENCE      KY     41051‐9234
JARMAN, THOMAS K                   7636 LEVY ACRES CIR W                                                                          BURLESON          TX     76028‐2814
JARMAN, WALTER R                   417 TULIP CT                                                                                   PLAINFIELD        IN     46168‐1851
JARMAN, WILLIAM C                  4179 SILVER LAKE RD                                                                            LINDEN            MI     48451‐9017
JARMEL CAMPBELL                    1325 EDISON ST                                                                                 DAYTON            OH     45417‐‐ 24
JARMIL VOYTKO                      280 VASSAR ST                                                                                  SOMERSET          NJ     08873‐2536
JARMILA CREED                      1000 KINGS HWY UNIT 92                                                                         PORT CHARLOTTE    FL     33980‐4205
JARMINSKI                          PO BOX 51740                                                                                   OXNARD            CA     93031‐1740
JARMOLUK, WOLODIMIR S              78850 MCKAY RD                                                                                 BRUCE TWP         MI     48065‐2125
JARMOLUK, WOLODIMIR STANISLAW      78850 MCKAY RD                                                                                 BRUCE TWP         MI     48065‐2125
JARMON GLORIA & WESLEY             2212 BERMONDSEY DR                                                                             BOWIE             MD     20721‐4217
JARMON, DORIS J                    1017 HILLWOOD DR SW                                                                            DECATUR           AL     35601‐3956
JARMON, JAMES E                    45 BOGGS RUN                                                                                   DOVER             DE     19904‐1487
JARMON, JAMES EDWARD               45 BOGGS RUN                                                                                   DOVER             DE     19904‐1487
JARMON, LILLIE                     575 WALDEN AVE                                                                                 BUFFALO           NY     14211‐2421
JARMON, LOREN O                    11308 ALEXANDRIA DR                                                                            FRISCO            TX     75035‐8391
JARMON, RICHARD H                  38217 HURON POINT DRIVE                                                                        MOUNT CLEMENS     MI     48045
JARMON, SAMUEL L                   7427 S OGLESBY AVE                                                                             CHICAGO            IL    60649‐3311
JARMON, WILLIE M                   4131 EAST 148TH STREET                                                                         CLEVELAND         OH     44128‐1919
JARMON, WILLIE M                   4131 E 140TH ST                                                                                CLEVELAND         OH     44128‐1919
JARMOSCO, SHEILA A                 2019 BLUE BELLWAY DR NW                                                                        GRAND RAPIDS      MI     49504
JARMOSZKA, EDWIN V                 9048 BARBERRY LN                                                                               HICKORY HILLS      IL    60457‐1212
JARMULA, LORRAINE                  5999 ENGLISH AVE                                                                               COMSTOCK PARK     MI     49321‐8201
JARMUZ, RUTH F                     2115 IRVING PL                                                                                 WAUKESHA          WI     53188‐2237
JARMY JOSEPH T SR (626587)         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA     23510
                                                                  STREET, SUITE 600
JARMY, JOSEPH T                    GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA     23510‐2212
                                                                  STREET, SUITE 600
JARNAGIN JR, EVERETT               2431 SPECK AVENUE CT                                                                           INDEPENDENCE     MO      64057‐2419
JARNAGIN, BARRY J                  435 WINTERGREEN DR                                                                             WADSWORTH        OH      44281‐8621
JARNAGIN, BARRY JOSEPH             435 WINTERGREEN DR                                                                             WADSWORTH        OH      44281‐8621
JARNAGIN, TAMMY J                  1375 LOWER BELLBROOK RD                                                                        XENIA            OH      45385‐5385
JARNAGIN, TAMMY J                  126 CATO DR                                                                                    XENIA            OH      45385‐3814
JARNAGIN, THOMAS E                 1324 N WALNUT ST                                                                               MUNCIE           IN      47303‐2908
JARNECKI, KAROL                    75 BRADFORD CREEK RD                                                                           ARDEN            NC      28704‐6532
JARNIGIN JR, LLOYD W               19861 10TH AVE                                                                                 BARRYTON         MI      49305‐9723
JARNIGIN, LONNEY W                 2151 ALGONAC DR                                                                                FLINT            MI      48532‐4401
JARNIGIN, LONNEY WAYNE             2151 ALGONAC DR                                                                                FLINT            MI      48532‐4401
JARNON, DEONDRAYE                  5413 DOWNS DR                                                                                  AUSTIN           TX      78721‐2207
JARO POSPISEK                      3216 PITCHER DR                                                                                DARIEN           IL      60561‐1712
JARO TRANSPORTATION SERVICES INC   PO BOX 2187                                                                                    WARREN           OH      44484‐0187
JAROCH, PAUL N                     117 SANTA FE CT                                                                                ELYRIA           OH      44035‐8858
JAROCKI, ELIZABETH M               37575 LAKEVILLE ST                                                                             HARRISON TWP     MI      48045‐2880
JAROD L NEWPORT                    4210 LOTZ ROAD                                                                                 KETTERING        OH      45429
JAROD UPCHURCH                     9225 S COUNTY ROAD 200 E                                                                       MUNCIE           IN      47302‐8316
JARODE THORNTON                    517 W HOME AVE                                                                                 FLINT            MI      48505‐2669
JAROFF, MARY                       208 WALNUT ST                                                                                  PEEKSKILL        NY      10566‐3410
JAROH, ALAN P                      31036 PARKWOOD ST                                                                              WESTLAND         MI      48186‐5317
JAROIS, DIANNE E                   107 KA DR                                                                                      KULA             HI      96790‐8507
JAROIS, DONALD S                   5635 TETON TRL                                                                                 WHITE LAKE       MI      48383‐4017
JAROIS, ROBERT N                   107 KA DR                                                                                      KULA             HI      96790‐8507
JAROLD EYER                        6192 LILLYPOND WAY                                                                             ONTARIO          NY      14519‐8620
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Name                      Address1                        Address2                        Address3   Address4                    City                 State   Zip
JAROLD STUBER             1087 S LAKE VALLEY DR                                                                                  FENTON                MI     48430‐1243
JAROLD VAIL I I           7413 CARROLL                                                                                           SWARTZ CREEK          MI     48473‐8944
JAROLIM, STEVEN A         14509 PINEWOOD CT                                                                                      ORLAND PARK            IL    60467‐7109
JAROMA, FRANK             64350 WOLCOTT RD                C/O DANIEL JAROMA                                                      RAY                   MI     48096‐2435
JAROMA, MARGARET          64350 WOLCOTT                                                                                          RAY                   MI     48096
JAROMA, RITA N            3982 E HOHNKE RD                                                                                       CEDAR                 MI     49621‐9644
JAROMA, RITA N            1421 CEDAR DR                                                                                          TRAVERSE CITY         MI     49684‐8104
JAROME BROWN              BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                             BOSTON HTS.           OH     44236
JAROME BROWN              PO BOX 4113                                                                                            WARREN                OH     44482‐4113
JAROMIN, MORBERT
JARON GARZA               6495 GARDEN RD                                                                                         MAUMEE               OH      43537‐1201
JARON, ROSE M             X‐9 1900 RICHARD JONES RD                                                                              NASHVILLE            TN      37215
JARONEK, MICHAEL L        2721 SW 116TH ST                                                                                       OKLAHOMA CITY        OK      73170‐2644
JARONEK, VICTOR W         5427 NW STEED DR                                                                                       NORMAN               OK      73072‐1227
JARONESKI, DANIEL D       6224 N HUBBARD LAKE RD                                                                                 SPRUCE               MI      48762‐9777
JARONIEWSKI, JOSEPH L     3161 BARNES RD                                                                                         MILLINGTON           MI      48746‐9652
JARONIEWSKI, JOSEPH LEE   3161 BARNES RD                                                                                         MILLINGTON           MI      48746‐9652
JAROPAMEX                 2A FAWCETT DR                                                                                          DEL RIO              TX      78842
JAROPAMEX                 PO BOX 421117                   2A FAWCETT DR                                                          DEL RIO              TX      78842‐1117
JAROPAMEX SA DE CV        MEXICO 1405                                                                ED ACUNA, CZ 26220 MEXICO

JAROPAMEX SA DE CV        MEXICO 1405                     COL PARQUE INDUSTRIAL AMISTAD              ED ACUNA CZ 26220 MEXICO

JAROS SUSAN K             TOWN CLERK                      5583 MAIN STREET                                                       WILLIAMSVILLE         NY     14221
JAROS, ANTHONY            23029 FRANCIS ST                                                                                       SAINT CLAIR SHORES    MI     48082‐1728

JAROS, CHARLOTTE          1628 BOULDER COURT                                                                                     ROCHESTER            MI      48306‐4810
JAROS, CHARLOTTE          1628 BOULDER CT                                                                                        ROCHESTER            MI      48306‐4810
JAROS, DAVID C            1531 SPRINGPLACE RD                                                                                    LEWISBURG            TN      37091‐4435
JAROS, DAVID E            8352 SUFFOLK DR                                                                                        CHANHASSEN           MN      55317‐8706
JAROS, DONALD E           4256 N HAVEN AVE                                                                                       TOLEDO               OH      43612‐1754
JAROS, ELIZABETH M        3844 BAYMAR DR                                                                                         YOUNGSTOWN           OH      44511‐3445
JAROS, ELIZABETH M        3844 BAYMAR                                                                                            YOUNGSTOWN           OH      44511‐3445
JAROS, FRANK J            18399 MULBERRY ST                                                                                      RIVERVIEW            MI      48193‐7609
JAROS, FRANK J.           18399 MULBERRY ST                                                                                      RIVERVIEW            MI      48193‐7609
JAROS, JOANNA J           142 SOUTH ST                                                                                           DUNDEE               MI      48131‐1037
JAROS, LESTER A           1032 MADGE CT                                                                                          CONWAY               SC      29526‐9417
JAROS, MARJORIE J         14555 E HAMPDEN AVE APT 345                                                                            AURORA               CO      80014‐5061
JAROS, MARY J             482 PRITCHETT LN                                                                                       DANVILLE             IN      46122‐1170
JAROS, RODNEY A           482 PRITCHETT LN                                                                                       DANVILLE             IN      46122‐1170
JAROS, RODNEY ALLAN       482 PRITCHETT LN                                                                                       DANVILLE             IN      46122‐1170
JAROS, RONALD J           11311 BALSAM CT                                                                                        WASHINGTON           MI      48094‐3747
JAROSCH, JAROSLAW A       105 PARK LANE CIR                                                                                      LOCKPORT             NY      14094‐4748
JAROSCH, JUNE A           2738 WELLSPRING CT NW                                                                                  GRAND RAPIDS         MI      49504‐8106
JAROSEK, DANIEL J         10430 COLWORTH PL                                                                                      KEITHVILLE           LA      71047‐9063
JAROSEK, DANIEL JOE       10430 COLWORTH PL                                                                                      KEITHVILLE           LA      71047‐9063
JAROSH, MYTRO             1740 PALO DURO BOULEVARD                                                                               N FT MYERS           FL      33917‐7732
JAROSH, MYTRO             C/O MARIAN V WRIGHT             1740 PALO DURO BLVD                                                    NORTH FORT MYERS     FL      33917

JAROSIEWICZ, VICTOR J     5044 N MONITOR AVE                                                                                     CHICAGO              IL      60630‐4615
JAROSINSKI, JOHN M        2012 LINCOLN ROAD                                                                                      SPRING HILL          TN      37174‐4536
JAROSLAV SVEC             535 CHESLEY DR                                                                                         LANSING              MI      48917‐3452
JAROSLAVA KARBULKA        2722 N MAIN ST                                                                                         RACINE               WI      53402‐4250
JAROSLAVA TUMA            9 MAYFLOWER DR                                                                                         SCARBOROUGH          ME      04074
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Name                      Address1                     Address2                       Address3   Address4                 City               State   Zip
JAROSLAW CHOMIAK          151 OAKGROVE CT                                                                                 ELMA                NY     14059‐9650
JAROSLAW COGIEL           47735 JEFFRY                                                                                    SHELBY TWP          MI     48317‐2932
JAROSLAW HANYPSIAK        985 OAK FOREST DR                                                                               THE VILLAGES        FL     32162‐7455
JAROSLAW LISOWSKY         C/O COONEY AND CONWAY        120 NORTH LASALLE 30TH FLOOR                                       CHICAGO              IL    60602
JAROSLAW MRAKA            PO BOX 57                                                                                       ACWORTH             GA     30101‐0057
JAROSLAW PUKALUK          5 EAGLE CT                                                                                      SAYREVILLE          NJ     08872‐2308
JAROSLAW SEDLARCZUK       14 DENISE DR                                                                                    BUFFALO             NY     14227‐3104
JAROSLAW WILCHIVSKY       38284 MALLAST ST                                                                                HARRISON TWP        MI     48045‐2723
JAROSLAW WITTEK           JOSEFSTR 64                                                            51143 KOELN GERMANY
JAROSLAW ZARYCKYJ         4844 MARTIN ST                                                                                  DETROIT            MI      48210‐2347
JAROSLAW, ALFRED P        7324 CASTANEA DR                                                                                PORT RICHEY        FL      34668‐3996
JAROSLAWA ROSTKOWYCZ      4569 BROCKHAM WAY            C/O JURIY ROSTKOWYCZ                                               STERLING HEIGHTS   MI      48310‐5033
JAROSLAWA ZDANIW          7403 DIBROVA DR                                                                                 BRIGHTON           MI      48116‐8809
JAROSS, KATHLEEN A        2887 CONTINENTAL DR                                                                             TROY               MI      48083‐5755
JAROSZ JR, MATTHEW F      225 INDIAN CHURCH RD                                                                            WEST SENECA        NY      14210‐1925
JAROSZ, CAROLYN J         122 N STRATTON LN                                                                               MT PROSPECT        IL      60056‐2618
JAROSZ, DENNIS J          99 MIRIAM AVE APT 4                                                                             BLASDELL           NY      14219‐1170
JAROSZ, DENNIS P          65 FRONTIER DR.UE                                                                               BLASDELL           NY      14219
JAROSZ, ELIZABETH A       10133 JAMES HARBIN AVE                                                                          LAS VEGAS          NV      89129‐5014
JAROSZ, FRED J            4204 TALMADGE WOODS                                                                             TOLEDO             OH      43623‐2164
JAROSZ, JOHN J            7401 NW 75TH ST                                                                                 KANSAS CITY        MO      64152‐2351
JAROSZ, KAREN E           28505 BEACH DR                                                                                  WATERFORD          WI      53185‐2635
JAROSZ, KEN J             3758 BARLEYTON CIR                                                                              SYLVANIA           OH      43560‐3540
JAROSZ, LAWRENCE M        10133 JAMES HARBIN AVE                                                                          LAS VEGAS          NV      89129‐5014
JAROSZ, MICHAEL JOSEPH    2140 CABIN LN. PO 63                                                                            SAINT HELEN        MI      48656
JAROSZ, RICHARD           825 ELLERY AVE                                                                                  JACKSON            MI      49202‐3430
JAROSZ, ROBERT            15226 MURRAY RD                                                                                 BYRON              MI      48418‐9006
JAROSZ, ROBERTA A         225 INDIAN CHURCH RD                                                                            WEST SENECA        NY      14210‐1925
JAROSZEWSKI, ANTHONY M    830 BLOSSOM LEA DR                                                                              ALDEN              NY      14004‐8833
JAROSZEWSKI, DOROTHY J    2218 COUNTY LINE ROAD                                                                           ALDEN              NY      14004‐9712
JAROSZEWSKI, RANDY M      1515 GOWANS ROAD                                                                                ANGOLA             NY      14006‐9503
JAROSZEWSKI, SHERRI L     8305 WESSON RD                                                                                  ARLINGTON          TX      76002‐4262
JAROSZEWSKI, WALLACE      1515 GOWANS RD                                                                                  ANGOLA             NY      14006‐9503
JAROSZYK, FLORENCE F      3036 STERLING RD                                                                                OMER               MI      48749‐9722
JAROSZYK, MICHAEL R       3036 STERLING RD                                                                                OMER               MI      48749‐9722
JAROSZYNSKI, ERIC M       79552 HIPP RD                                                                                   BRUCE TWP          MI      48065‐1311
JAROTH INC                DBA PTS                      2175 N CALIFORNIA BLVD         STE 400                             WALNUT CREEK       CA      94595‐7103
JAROU, RAMONA L           7376 SILVER COVE CT                                                                             LINDEN             MI      48451‐8798
JAROUS, MATILDA           716 MAYCROFT RD                                                                                 LANSING            MI      48917‐2051
JAROUS, MICHAEL T         10747 NIXON RD                                                                                  GRAND LEDGE        MI      48837‐8404
JAROZEWSKI, CHARLOTTE T   2563 S 9TH ST                                                                                   MILWAUKEE          WI      53215‐3421
JAROZYNSKI TOM            JAROZYNSKI, TOM              105 HARTNER AVE                                                    SOMERDALE          NJ      08083‐1124
JAROZYNSKI, TOM           105 HARTNER AVE                                                                                 SOMERDALE          NJ      08083‐1124
JARQUIN, LUIS A           1436 UNDERHILL CT                                                                               BEAUMONT           CA      92223‐3156
JARRAD, ANNA M            34095 MULVEY                                                                                    FRASER             MI      48026‐1919
JARRAD, DOUGLAS C         4760 OLD PLANK RD                                                                               ONONDAGA           MI      49264‐9759
JARRAD, ELIJAH            4758 COVERT RD                                                                                  ONONDAGA           MI      49264
JARRAD, JENNIFER B        2192 DEAN AVE                                                                                   HOLT               MI      48842‐1382
JARRAD, JOHN R            17754 EVANS TRL                                                                                 ORLANDO            FL      32833‐3207
JARRAD, JOYCE E           17754 EVANS TRAIL                                                                               ORLANDO            FL      32833
JARRAD, RUTH A            912 CLEO ST                                                                                     LANSING            MI      48915‐1325
JARRAD, SCOTT E           PO BOX 190036                                                                                   BURTON             MI      48519‐0036
JARRAD, SHIRLEY ANN       3422 MORRISH RD              C/O JEFFERY JARRAD                                                 SWARTZ CREEK       MI      48473‐9756
JARRAD, WARREN S          304 N BELGRADE RD                                                                               ROSCOMMON          MI      48653‐8216
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Name                                   Address1                              Address2                       Address3   Address4               City              State   Zip
JARRAD, WARREN STEVEN                  304 N BELGRADE RD                                                                                      ROSCOMMON          MI     48653‐8216
JARRAH, YOUSEF M                       9967 E NICARAGUA LN                                                                                    TUCSON             AZ     85730‐3166
JARRARD ALAN                           JARRARD CHEVROLET                     415 COTTON AVE                                                   MILLEN             GA     30442‐1676
JARRARD CHEVROLET BUICK PONTIAC INC.   415 COTTON AVE                                                                                         MILLEN             GA     30442‐1676

JARRARD ELWOOD W (429177)              GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA     23510
                                                                             STREET, SUITE 600
JARRARD, CAROL A                       28531 NORTHLINE RD                                                                                     ROMULUS            MI     48174
JARRARD, DAVID J                       3206 BRACKETT DR                                                                                       GAINESVILLE        GA     30506‐2009
JARRARD, DONALD R                      4701 OTTAWA CREEK DR                                                                                   ALLENDALE          MI     49401‐9201
JARRARD, EDDIE R                       889 PINEDALE TER                                                                                       SUGAR HILL         GA     30518‐4574
JARRARD, ELBERT R                      63 BROGDON RD                                                                                          DAWSONVILLE        GA     30534‐8486
JARRARD, ELWOOD W                      GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA     23510‐2212
                                                                             STREET, SUITE 600
JARRARD, EUGENE G                      7970 GOULD RD                                                                                          NASHVILLE         MI      49073‐9428
JARRARD, HOMER T                       602 SW NATURA BLVD APT D                                                                               DEERFIELD BEACH   FL      33441‐3200
JARRARD, JAMES J                       1414 W TROY ST                                                                                         FERNDALE          MI      48220‐1662
JARRARD, JEAN M                        8504 SPLIT RAIL LN                                                                                     BAYONET POINT     FL      34667‐2681
JARRARD, JULIE                         2857 TRADDSPRINGS CT                                                                                   SNELLVILLE        GA      30039‐4951
JARRARD, KENNETH R                     715 ROBERT JARRARD RD                                                                                  CLEVELAND         GA      30528‐1672
JARRARD, MARTHA W                      354 HARRISON CIR                                                                                       HIAWASSEE         GA      30546‐3918
JARRARD, MARTIN F                      1014 WOODSIDE DR                                                                                       FLINT             MI      48503‐2732
JARRARD, MARY E                        134 ABBY LN                           C/O FREDDA COLLINS                                               BYRDSTOWN         TN      38549‐4466
JARRARD, MARY E                        134 ABBY LANE                         C/O FREDDA COLLINS                                               BYRDSTOWN         TN      38549
JARRARD, MICHAEL A                     68 MELINDA PL                                                                                          BEDFORD           IN      47421‐9281
JARRARD, MILDRED A                     613 ROBERT JARRARD RD                                                                                  CLEVELAND         GA      30528‐1670
JARRARD, PATRICIA A                    3047 OLD US 78                                                                                         SNELLVILLE        GA      30078‐2901
JARRARD, ROBERT E                      3939 TEASLEY LN LOT 19                                                                                 DENTON            TX      76210‐8431
JARRARD, WALTER D                      1104 HENRY SCOTT RD                                                                                    BALL GROUND       GA      30107‐4883
JARRATT, CLARA F                       14310 BIRNAM WOODS DRIVE                                                                               MIDLOTHIAN        VA      23112‐4141
JARRATT, JANE S                        3944 THISTLE LN                                                                                        FORT WORTH        TX      76109‐3425
JARREAU, LYNDA M                       799 PACIFIC ST                                                                                         PLYMOUTH          MI      48170‐1180
JARRED RICHARDSON                      1826 GRAFTON PL                                                                                        FORT WAYNE        IN      46808‐3526
JARRED SAMUELS                         2304 SW FEATHER RIDGE RD                                                                               LEES SUMMIT       MO      64082‐4085
JARREL WAYMIRE                         2133 N A ST                                                                                            ELWOOD            IN      46036‐1731
JARRELI TIM                            230 S LAKE HEIGHTS AVE                                                                                 CARBONDALE        IL      62901‐3437
JARRELL JOHN (653313)                  SIMMONS FIRM                          PO BOX 521                                                       EAST ALTON        IL      62024‐0519
JARRELL JOHNSON                        1432 CARL BETHELEM RD                                                                                  AUBURN            GA      30011
JARRELL JR, CHARLES C                  PO BOX 32                                                                                              COAL CITY         WV      25823‐0032
JARRELL JR, ROY C                      7477 LATHERS ST                                                                                        WESTLAND          MI      48185‐2633
JARRELL MAHON                          2405 STARLIGHT DR                                                                                      ANDERSON          IN      46012‐1947
JARRELL ROGER                          5599 FOX HILL DR                                                                                       STERLING HTS      MI      48310‐4150
JARRELL SMITH                          1100 AMELIA RD                                                                                         LOCUST GROVE      GA      30248‐4217
JARRELL SR, ROY C                      40555 E ANN ARBOR TRL                                                                                  PLYMOUTH          MI      48170‐4401
JARRELL VINSON (ESTATE OF) (490536)    GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                     PITTSBURGH        PA      15219

JARRELL, ARLENE                        PO BOX 161                                                                                             ADRIAN            MO      64720‐0161
JARRELL, ARLEY L                       4155 DAWNCLIFF DR                                                                                      BROOKLYN          OH      44144‐1220
JARRELL, CANDICE L                     4428 WEST 56TH STREET                                                                                  CLEVELAND         OH      44144‐2977
JARRELL, CARL V                        4100 WESTBROOK DR APT 309                                                                              BROOKLYN          OH      44144‐1256
JARRELL, CARRIE J                      6400 DUFFY RD                                                                                          DELAWARE          OH      43015‐7930
JARRELL, CARROLL D                     710 LINCOLN AVE                                                                                        FLINT             MI      48507‐1752
JARRELL, CHARLENE                      428 NORTH 10THT STREET                                                                                 ELWOOD            IN      46036
JARRELL, CHARLES M                     PO BOX 717 CHELYAN                                                                                     CABIN CREEK       WV      25035
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Name                         Address1                              Address2                          Address3   Address4               City             State   Zip
JARRELL, CHARLES W           270 OHIO ST                                                                                               YPSILANTI         MI     48198‐6030
JARRELL, CONNIE S            710 LINCOLN AVE.                                                                                          FLINT             MI     48507‐1752
JARRELL, DAVID M             41 CADET DR                                                                                               N RIDGEVILLE      OH     44039‐4070
JARRELL, DEANNA              1478 HUNTERS CHASE DR                                                                                     CHAPEL HILL       TN     37034
JARRELL, DENNIS G            332 EGYPT RUN RD                                                                                          LANDENBERG        PA     19350‐9332
JARRELL, DOUGLAS             GUY WILLIAM S                         PO BOX 509                                                          MCCOMB            MS     39649‐0509
JARRELL, DOUGLAS E           3708 ALTA MONTE AVE NORTHEAST                                                                             ALBUQUERQUE       NM     87110‐1608
JARRELL, ELEANOR             162 WITTMAN DR                                                                                            PETERSBURG        MI     49270‐9502
JARRELL, HARRY D             14414 PARK DR                                                                                             BROOK PARK        OH     44142‐3851
JARRELL, JACQUELINE M        1130 DUNKIRK AVE                                                                                          MOUNT MORRIS      MI     48458‐2570
JARRELL, JAMES A             PO BOX 304                                                                                                PURGITSVILLE      WV     26852‐0304
JARRELL, JOE B               8751 LAKESIDE DR                                                                                          N RIDGEVILLE      OH     44039‐3943
JARRELL, JOHN                SIMMONS FIRM                          PO BOX 521                                                          EAST ALTON         IL    62024‐0519
JARRELL, JOHN D              62 TOWNSHIP ROAD 1525                                                                                     PROCTORVILLE      OH     45669‐8056
JARRELL, JOHN W              26850 WEDGEWOOD DR APT 101                                                                                BONITA SPRINGS    FL     34134‐2652
JARRELL, JOHN W              2217 CENTERVILLE RD                                                                                       WILMINGTON        DE     19808‐3337
JARRELL, L S EARL            3229 LORAL DR                                                                                             ANDERSON          IN     46013‐2218
JARRELL, L S EARL            3229 LORAL DR                                                                                             ANDERSON          IN     46013‐2218
JARRELL, LARRY D             318 CENTER ST                                                                                             SANDUSKY          OH     44870‐3327
JARRELL, LORRAINE G          4725 WINDSOR ST                                                                                           METAIRIE          LA     70001‐2468
JARRELL, LOWANA D            8953 SPRING CREST DR                                                                                      BROOKLYN          OH     44144‐1241
JARRELL, LOWANA DENISE       8953 SPRING CREST DR                                                                                      BROOKLYN          OH     44144‐1241
JARRELL, MARGARET A          40555 E ANN ARBOR TRL                                                                                     PLYMOUTH          MI     48170‐4401
JARRELL, OREDA F             10496 STATE ROUTE 2                                                                                       GREENUP           KY     41144‐7894
JARRELL, PATRICIA P          245 CONGAREE RD APT 702                                                                                   GREENVILLE        SC     29607‐2731
JARRELL, PAUL D              1402 CATHERINE DR APT B                                                                                   PHENIX CITY       AL     36867‐1598
JARRELL, ROBERT C            3717 VILLAGE TRL                                                                                          SNOW HILL         MD     21863‐3062
JARRELL, ROBERT L            1749 ROSEMONT BOULEVARD                                                                                   DAYTON            OH     45420‐2508
JARRELL, ROGER               5599 FOX HILL DR                                                                                          STERLING HTS      MI     48310‐4150
JARRELL, SANDRA K            PO BOX 249                                                                                                ZEPHYRHILLS       FL     33539‐0249
JARRELL, SANDRA K            P O BOX 249                                                                                               ZEPHYRHILLS       FL     33539‐0249
JARRELL, SHARON M            10518 KOLB AVE                                                                                            ALLEN PARK        MI     48101‐1114
JARRELL, TIMOTHY J           651 N SLEIGHT ST                                                                                          NAPERVILLE         IL    60563‐3239
JARRELL, VERNON P            10496 STATE ROUTE 2                                                                                       GREENUP           KY     41144‐7894
JARRELL, VINSON              GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                        PITTSBURGH        PA     15219

JARRELL, WILLIAM P           2315 LINCOLN ST                                                                                           ANDERSON         IN      46016‐5057
JARRELLS NANCY (459937)      DUFFY & ASSOCS JOHN J                 23823 LORAIN RD                                                     NORTH OLMSTED    OH      44070
JARRELLS WALTER E (459938)   DUFFY & ASSOCS JOHN J                 23823 LORAIN RD                                                     NORTH OLMSTED    OH      44070
JARRELLS, NANCY              DUFFY & ASSOCS JOHN J                 23823 LORAIN RD                                                     NORTH OLMSTED    OH      44070
JARRELLS, WALTER E           DUFFY & ASSOCS JOHN J                 23823 LORAIN RD                                                     NORTH OLMSTED    OH      44070
JARRELLS, WILLIAM K          21619 OLIVIA AVE                                                                                          SAUK VILLAGE     IL      60411‐4426
JARRESS L TURNER             361 MARTIN LUTHER KING JR. BLVD                                                                           GEORGETOWN       KY      40324
JARRET TEAMER                30988 WHEATON APT 224                                                                                     NEW HUDSON       MI      48165‐9473
JARRETT A LEWIS              818 FISK DRIVE                                                                                            FLINT            MI      48503
JARRETT EARL K (462955)      ANGELOS PETER G LAW OFFICES OF        100 N CHARLES STREET , ONE                                          BALTIMORE        MD      21202
                                                                   CHARLES CENTER 22ND FLOOR
JARRETT ENGINEERING CO INC   ATTN: CORPORATE OFFICER/AUTHORIZED    1011 N PENNSYLVANIA ST                                              INDIANAPOLIS      IN     46204‐1022
                             AGENT
JARRETT ENGINEERING CO INC   1011 N PENNSYLVANIA ST                                                                                    INDIANAPOLIS      IN     46204‐1022
JARRETT FREDERICK (639373)   COONEY & CONWAY                       120 NORTH LASALLE STREET , 30TH                                     CHICAGO           IL     60602
                                                                   FLOOR
JARRETT GARRETT              465 SANDY VALLEY RD                                                                                       ROGERSVILLE       TN     37857‐7201
                                    09-50026-mg             Doc 7123-20 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
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Name                                Address1                         Address2                          Address3               Address4                City            State Zip
JARRETT GEORGE R (429178)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                      NORFOLK          VA 23510
                                                                     STREET, SUITE 600
JARRETT GLEN (ESTATE OF) (503739)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                                    NORTHFIELD      OH   44067
                                                                     PROFESSIONAL BLDG
JARRETT HILYARD                     6073 RICHMOND DR                                                                                                  HILLSBORO       MO   63050‐5112
JARRETT I I I, SILAS J              PO BOX 1029                                                                                                       FLINT           MI   48501‐1029
JARRETT I, DANIEL R                 2926 S ANNABELLE ST                                                                                               DETROIT         MI   48217‐1102
JARRETT III, FOSTER L               619 DIAMOND HILL CH. RD.                                                                                          MAYSVILLE       GA   30558
JARRETT III, SILAS JEROME           PO BOX 1029                                                                                                       FLINT           MI   48501‐1029
JARRETT INSCO                       109 CODY ST NW                                                                                                    CLEVELAND       TN   37312‐6352
JARRETT JR, HENRY                   PO BOX 5513                                                                                                       FLINT           MI   48505‐0513
JARRETT JR, ROBERT W                1217 E 24TH AVE                                                                                                   N KANSAS CITY   MO   64116‐3323
JARRETT JR, SAM                     220 ADAMS ST                                                                                                      BUFFALO         NY   14206‐1506
JARRETT LEWIS                       818 FISK DR                                                                                                       FLINT           MI   48503‐5249
JARRETT MEADOWS                     780 S. M‐13                                                                                                       LENNON          MI   48449
JARRETT OUSTERHOUT                  2224 SOUTH CROSBY AVENUE                                                                                          JANESVILLE      WI   53546‐5622
JARRETT SHALANDA LANA               7349 N SEELEY                                                                                                     CHICAGO         IL   60645
JARRETT STEPHEN M                   JARRETT, HEIDI L                 LAW & KOLAKOWSKI                  10085 CARROLL CANYON                           SAN DIEGO       CA   92131
                                                                                                       ROAD SUITE 100
JARRETT STEPHEN M                   JARRETT, STEPHEN M               10085 CARROLL CANYON RD STE 100                                                  SAN DIEGO       CA   92131‐1100
JARRETT SWEENEY                     25 MOUNT VERNON DR                                                                                                CLAYMONT        DE   19703‐2461
JARRETT, A O                        104 HI HILL DR                                                                                                    LAKE ORION      MI   48360‐2425
JARRETT, ALBERTA M                  215 WASHINGTON ST.                                                                                                VASSAR          MI   48768‐1233
JARRETT, ALONDA R                   1360 AUTUMN DR                                                                                                    FLINT           MI   48532‐2601
JARRETT, ANGELA MARIE               6175 MYRTLE AVE                                                                                                   FLUSHING        MI   48433‐2361
JARRETT, BARBARA A.                 2116 HOLLYLANE DR                                                                                                 BROADVIEW       OH   44147‐1112
                                                                                                                                                      HEIGHTS
JARRETT, BARBARA L                  PO BOX 1844                                                                                                       CRYSTAL RIVER   FL   34423‐1844
JARRETT, BERTHA B                   2496 YELL RD                                                                                                      LEWISBURG       TN   37091‐5343
JARRETT, BESSIE M                   501 W FLINT PARK BLVD                                                                                             FLINT           MI   48505‐3203
JARRETT, BILLY B                    5 MEMORY LN                                                                                                       MURPHY          NC   28906‐3688
JARRETT, BILLY I                    1371 S BROOKFIELD DR                                                                                              LECANTO         FL   34461‐8375
JARRETT, BLAKE & CO INC             293 LESMILL RD                                                                            TORONTO ON M3B 2V1
                                                                                                                              CANADA
JARRETT, BOBBIE J                   2634 PEYTON WOODS TRL SW                                                                                          ATLANTA         GA   30311‐2140
JARRETT, BRENDA L                   830 SAINT JOHN AVE                                                                                                TOLEDO          OH   43608
JARRETT, BRENDA M                   4045 W CROSS ST                                                                                                   ANDERSON        IN   46011‐9030
JARRETT, CALVIN J                   1764 LITTRELL LN                                                                                                  MCKINNEY        TX   75071‐7982
JARRETT, CARL J                     161 COACHMAN CT APT D                                                                                             BOWLING GREEN   KY   42103‐8586
JARRETT, CATHERINE A                1619 ORCHARD WAY                                                                                                  PLEASANTON      CA   94566‐5515
JARRETT, CHRISTAL I                 32326 HAMILTON PL                                                                                                 WAYNE           MI   48184‐2600
JARRETT, CORETHA W                  2536 ATHENS DR SE                                                                                                 WARREN          OH   44484‐3440
JARRETT, CORINNA J                  818 E LAKESHORE CV                                                                                                JONESBORO       AR   72401‐4378
JARRETT, CRYSTAL L                  161 COUNTY ROAD 1284                                                                                              VINEMONT        AL   35179‐6291
JARRETT, DAVID L                    4322 NORTH 635 WEST                                                                                               HUNTINGTON      IN   46750‐8918
JARRETT, DEAN S                     2871 ROBAL CT                                                                                                     SALINE          MI   48176‐9242
JARRETT, DEXTER J                   310 HERSHEY BLVD                                                                                                  WATERFORD       MI   48327‐2434
JARRETT, DIANE
JARRETT, DONALD M                   1169 W COUNTY ROAD 800 N                                                                                          LIZTON          IN   46149‐9336
JARRETT, DONNA R                    3206 THORNEYCROFT DR                                                                                              INDIANAPOLIS    IN   46268‐2037
JARRETT, DOUGLAS A                  14158 EASTVIEW DR                                                                                                 FENTON          MI   48430‐1304
JARRETT, DWIGHT D                   3000 CORONET LN APT 103                                                                                           JACKSONVILLE    FL   32207‐5139
JARRETT, EARL K                     ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                                        BALTIMORE       MD   21202
                                                                     CHARLES CENTER 22ND FLOOR
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Name                   Address1                         Address2                          Address3   Address4                City           State Zip
JARRETT, EARLIE C      8523 S MARSHFIELD AVE                                                                                 CHICAGO          IL 60620‐4717
JARRETT, ELLEN         14 THE DELL LALESTON                                                          BRIDGEND MID GLAMORG
                                                                                                     UNITED KINGDOM CF32
JARRETT, ELOISE A      6714 RUSSETT CT                                                                                       FLINT          MI   48504‐1675
JARRETT, EUGENE K      2730 SENECA ST                                                                                        FLINT          MI   48504‐7133
JARRETT, FLORENCE E    6866 WOOD ST                                                                                          BROOKFIELD     OH   44403‐9527
JARRETT, FRANK R       1229 HARVARD BLVD                                                                                     DAYTON         OH   45406‐5928
JARRETT, FREDA M       15314 WILSHIRE DR                                                                                     ORLAND PARK    IL   60462‐4677
JARRETT, GENE F        1115 BEECHWOOD DR                                                                                     ANDERSON       IN   46012‐4515
JARRETT, GENEVA L      1008 ALDEN DR                                                                                         FORTVILLE      IN   46040‐1110
JARRETT, GEORGE R      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK        VA   23510‐2212
                                                        STREET, SUITE 600
JARRETT, GLEN          BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                         NORTHFIELD     OH   44067
                                                        PROFESSIONAL BLDG
JARRETT, GLENN H       61 CLARK RD                                                                                           BRYSON CITY    NC   28713‐6697
JARRETT, GLORIA J      3485 BAGSHAW DR                                                                                       SAGINAW        MI   48601‐5208
JARRETT, GWENDOLYN E   4318 LINDENWOOD DR                                                                                    SWARTZ CREEK   MI   48473‐8212
JARRETT, HARVEY S      6469 E 650 N                                                                                          WILKINSON      IN   46186‐9746
JARRETT, HEIDI L       LAW & KOLAKOWSKI                 10085 CARROLL CANYON RD STE 100                                      SAN DIEGO      CA   92131‐1100
JARRETT, INEZ M        8523 S MARSHFIELD AVE                                                                                 CHICAGO        IL   60620‐4717
JARRETT, JACK W        2642 CHERRY CT                                                                                        ANDERSON       IN   46013‐9608
JARRETT, JAMES B       32 HOGARTH AVE                                                                                        NILES          OH   44446‐3422
JARRETT, JAMES E       2136 MOUNT PLEASANT RD                                                                                VONORE         TN   37885‐3312
JARRETT, JAMES L       505 E FLINT ST                                                                                        LAKE ORION     MI   48362‐3209
JARRETT, JAMES M       7566 E COUNTY ROAD 150 S                                                                              AVON           IN   46123‐8193
JARRETT, JAMES W       515 E PIERSON RD                                                                                      FLINT          MI   48505‐3331
JARRETT, JAMES W.      515 E PIERSON RD                                                                                      FLINT          MI   48505‐3331
JARRETT, JAY A         5259 E 550 S                                                                                          ATLANTA        IN   46031‐9539
JARRETT, JOHN E        8751 RANCH ACRES DR                                                                                   NOBLE          OK   73068‐5403
JARRETT, JOHN E        PO BOX 423                                                                                            NOBLE          OK   73068‐0423
JARRETT, JOHN H        8832 BECKFORD DR                                                                                      INDIANAPOLIS   IN   46234‐2208
JARRETT, JOHN L        6132 12TH ST EXT                                                                                      MINERVA        OH   44657
JARRETT, KATHERYN D    614 BOWMAN ST                                                                                         MANSFIELD      OH   44903‐1237
JARRETT, KENNETH E     4045 W CROSS ST                                                                                       ANDERSON       IN   46011‐9030
JARRETT, KERRY         4487 BURGUNDY DR                                                                                      FLINT          MI   48506‐1039
JARRETT, KEVIN D       627 ARDEN AVENUE                                                                                      STEUBENVILLE   OH   43952‐3237
JARRETT, LANA K        4690 E ARMSTRONG RD                                                                                   LEESBURG       IN   46538‐9588
JARRETT, LANELL        G5485 DETROIT ST                 APT #1                                                               FLINT          MI   48505
JARRETT, LATONNE       32326 HAMILTON PL                                                                                     WAYNE          MI   48184‐2600
JARRETT, LUCILLE       24230 MORTON                                                                                          OAK PARK       MI   48237
JARRETT, LYLE W        7666 LIONS GATE PARKWAY                                                                               DAVISON        MI   48423‐3710
JARRETT, LYLE W        2290 E NUNNELEY CT                                                                                    GILBERT        AZ   85296‐3925
JARRETT, MARK A        9153 WOODRIDGE DR                                                                                     DAVISON        MI   48423‐8392
JARRETT, MARY M        4406 COUNTY LINE                                                                                      LENOX          MI   48050‐2606
JARRETT, MARY M        6469 E 650 N                                                                                          WILKINSON      IN   46186‐9746
JARRETT, MARY S        150 CEDAR CIR                                                                                         CORTLAND       OH   44410‐1365
JARRETT, MICHAEL W     1902 HOUSEL CRAFT RD                                                                                  BRISTOLVILLE   OH   44402‐9650
JARRETT, MICHAEL W.    1902 HOUSEL CRAFT RD                                                                                  BRISTOLVILLE   OH   44402‐9650
JARRETT, MILLARD C     750 GRANT CIR                                                                                         LINDEN         MI   48451‐9006
JARRETT, MURIEL R      9192 WHITCOMB ST                                                                                      DETROIT        MI   48228‐2216
JARRETT, NADINE        PO BOX 5284                                                                                           FLINT          MI   48505‐0284
JARRETT, NELDA FAYE    296 HARMONY LAKE DRIVE                                                                                CANTON         GA   30115
JARRETT, PATRICIA      616 WOODLAND ST                                                                                       DETROIT        MI   48202‐1151
JARRETT, PAULA E       3135 STANTON ROAD                                                                                     LAKE ORION     MI   48362‐1141
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Name                     Address1                            Address2                        Address3   Address4               City               State   Zip
JARRETT, PEGGY L         1930 E. CO. RD. 400 S                                                                                 KOKOMO              IN     46902
JARRETT, RALPH R         1207 SPRUCE ST                      P.O. BOX 579                                                      EUDORA              KS     66025‐9317
JARRETT, RICHARD A       4700 MEADOWBROOK AVE                                                                                  CLARKSTON           MI     48348‐3545
JARRETT, RICHARD J       78650 BLOOMING CT                                                                                     PALM DESERT         CA     92211‐1401
JARRETT, ROBERT C        3700 TIGERBELLE DR APT A                                                                              NASHVILLE           TN     37209‐1515
JARRETT, ROBERT E        412 DANGERFIELD DR                                                                                    BEECH GROVE         IN     46107
JARRETT, ROBERT E        NORTH CROSSLAKE CIRCLE APT H                                                                          ANDERSON            IN     46012
JARRETT, ROBERT J        3109 BOWERS RD                                                                                        ATTICA              MI     48412‐9347
JARRETT, ROBERT L        6003 S 125 W                                                                                          TRAFALGAR           IN     46181‐9105
JARRETT, ROBERT W        28591 WATERLINE DR                                                                                    GRAVOIS MILLS       MO     65037‐4049
JARRETT, RODNEY R        8084 W STATE ROAD 128 128                                                                             ELWOOD              IN     46036
JARRETT, RODNEY R        29 WARSEN AVENUE                                                                                      WENTZVILLE          MO     63385‐4812
JARRETT, RONALD E        PO BOX 131                                                                                            UPLAND              IN     46989‐0131
JARRETT, RONALD EUGENE   PO BOX 131                                                                                            UPLAND              IN     46989‐0131
JARRETT, RONALD G        1806 FAIRWAY DR                                                                                       KOKOMO              IN     46901
JARRETT, ROY E           4700 COVE CIR APT 302                                                                                 ST PETERSBURG       FL     33708‐2867
JARRETT, SANDRA          1655 CORLETT WAY                                                                                      ANDERSON            IN     46011‐1101
JARRETT, SANDRA M        1655 CORLETT WAY                                                                                      ANDERSON            IN     46011‐1101
JARRETT, SANDRA S        1229 HARVARD BLVD                                                                                     DAYTON              OH     45406‐5406
JARRETT, SARAH           511 ATWATER                                                                                           SAGINAW             MI     48601
JARRETT, STANLEY         GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                      SAGINAW             MI     48604‐2602
                                                             260
JARRETT, STANLEY S       7932 VANITY FAIR DR, APT T3                                                                           GREENBELT          MD      20770
JARRETT, STANLEY S       296 HARMONY LAKE DR                                                                                   CANTON             GA      30115‐4788
JARRETT, STEPHEN C       7861 HOTZE ST                                                                                         ACTON              IN      46259‐1519
JARRETT, STEPHEN M       LAW & KOLAKOWSKI                    10085 CARROLL CANYON RD STE 100                                   SAN DIEGO          CA      92131‐1100
JARRETT, STEVEN D        1502 BRISTOL CHAMPION TWP. R                                                                          WARREN             OH      44481
JARRETT, STEVEN D.       1502 BRISTOL CHAMPION TWP. R                                                                          WARREN             OH      44481
JARRETT, SUELLEN K       PO BOX 423                                                                                            NOBLE              OK      73068‐0423
JARRETT, SUELLEN K       8751 RANCH ACRES DR                                                                                   NOBLE              OK      73068‐5403
JARRETT, SUZANNE         1806 FAIRWAY DR                                                                                       KOKOMO             IN      46901‐9545
JARRETT, TERRY           167 APPLEWOOD DR                                                                                      DANVILLE           VA      24541‐6011
JARRETT, TERRY D         1655 CORLETT WAY                                                                                      ANDERSON           IN      46011‐1101
JARRETT, THELMA W        2138 KAYHILL DRIVE                                                                                    ANDERSON           IN      46012‐2812
JARRETT, THEODORE R      9522 GATUN ST                                                                                         NEW PT RICHEY      FL      34654‐4111
JARRETT, THOMAS W        17575 STATION RD                                                                                      COLUMBIA STATION   OH      44028‐8711

JARRETT, TOBY A          3854 E 54TH ST                                                                                        CLEVELAND          OH      44105‐3350
JARRETT, VALERIA M       1115 BEECHWOOD DR                                                                                     ANDERSON           IN      46012‐4515
JARRETT, VAUGHAN F       37628 HIGHWAY 65                                                                                      WARSAW             MO      65355‐5333
JARRETT, WILLIAM C       559 WESLEY ST                                                                                         HUNTINGTON         IN      46750‐2245
JARRETT, WILLIAM C       PO BOX 381                                                                                            COULTERVILLE       IL      62237‐0381
JARRETT, WORDA           7513 S LANGLEY AVE                                                                                    CHICAGO            IL      60619‐2224
JARRETTE, MARY S         2821 RED FOX RUN DRIVE              NW                                                                WARREN             OH      44485‐4485
JARRETTE, SCOTT          467 E MONTROSE AVE                                                                                    WOOD DALE          IL      60191‐2163
JARROD D MORRIS          165 COUSINS DR                                                                                        CARLISLE           OH      45005
JARROD DOTSON            154 BARNESVILLE RD                                                                                    SUMMERTOWN         TN      38483‐7222
JARROD E BAYLESS         757 ERNROE DRIVE                                                                                      DAYTON             OH      45408‐1507
JARROD E HALL            3522 HIGHLAND DR                                                                                      FORT COLLINS       CO      80524
JARROD FARLEY            8420 DUDLEY ST                                                                                        TAYLOR             MI      48180‐2836
JARROD HUMPHRIES         4632 E SPRAGUE RD                                                                                     BROADVIEW HTS      OH      44147‐1546
JARROD JASPER            19910 LICHFIELD RD                                                                                    DETROIT            MI      48221‐1363
JARROD LESPERANCE        413 BOSTON RD                                                                                         MATTYDALE          NY      13211‐1513
JARROD W BELIVEAU        9781 STONEYBROOK                                                                                      ANAHEIM            CA      92804
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Name                                   Address1                          Address2                     Address3   Address4               City               State   Zip
JARROD WHITE                           40566 SAAL RD                                                                                    STERLING HEIGHTS    MI     48313‐4364
JARROUS, NELLIE M                      5455 VILLAS DR                                                                                   BONSALL             CA     92003‐5209
JARROW HARRY JR (ESTATE OF) (644133)   BIFFERATO GENTILOTTI & BIDEN      PO BOX 2165                                                    WILMINGTON          DE     19899‐2165

JARROW, HARRY                          BIFFERATO GENTILOTTI & BIDEN      PO BOX 2165                                                    WILMINGTON          DE     19899‐2165
JARSKI, WILLIAM C                      951 MAPLE COVE DR                                                                                LEONARD             MI     48367‐3415
JARSON, MICHAEL J                      111 S MELLON AVE                                                                                 DONORA              PA     15033
JARSTAD, ARTHUR E                      1327 MONTEREY LN                                                                                 JANESVILLE          WI     53546‐5566
JARSTAD, DARROLD A                     1914 W BURBANK AVE                                                                               JANESVILLE          WI     53546‐5960
JARSTAD, JONATHAN C                    316 CORNELIA ST                                                                                  JANESVILLE          WI     53545‐3121
JARSTFER, LORENE E                     1007 WEST ST                      C/O NANCY MORGRIDGE                                            GAYLORD             MI     49735‐8309
JARSTFER, LORENE E                     C/O NANCY MORGRIDGE               1007 WEST ST                                                   GAYLORD             MI     49735
JARSULIC, HELEN M                      C/O JUDITH ORTH                   3507 WEST 49TH ST                                              ROELAND PARK        KS     66205
JARSULIC, HELEN M                      3507 W 49TH ST                    C/O JUDITH ORTH                                                ROELAND PARK        KS     66205‐1526
JARSULIC, STELLA A.                    36725 UTICA ROAD                                                                                 CLINTON TOWNSHIP    MI     48035

JARSULIC, STELLA A.                    46471 HAYES RD 227                                                                               SHELBY TOWNSHIP    MI      48315
JARUGA, ZOFIA                          7400 W LAWRENCE AVE #333                                                                         HARWOOD HGTS       IL      60706
JARULLAH KHALILI                       BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH      44236
JARUS JR, JOSEPH                       1616 CANAL CT                                                                                    TAVARES            FL      32778‐2102
JARUSIEWIC, LARRY D                    5266 POCONO DR                                                                                   HUBER HEIGHTS      OH      45424‐6019
JARUSINSKI, THOMAS A                   2169 7 LKS S                                                                                     WEST END           NC      27376‐9613
JARUSZEWSKI, JAMES D                   43 ATKINS AVE                                                                                    TRENTON            NJ      08610‐4401
JARUZEL, ADAM J                        13201 FRANCES WAY                                                                                HOLLY              MI      48442‐8399
JARUZEL, CHRISTINE P                   3469 ARBELA RD                                                                                   MILLINGTON         MI      48746‐9305
JARUZEL, JAMES W                       3403 ARBELA RD                                                                                   MILLINGTON         MI      48746‐9305
JARUZEL, ROBERT                        3701 MILLINGTON RD                                                                               MILLINGTON         MI      48746‐9607
JARUZEL, WILLIAM                       13201 FRANCES WAY                                                                                HOLLY              MI      48442‐8399
JARVAE M FRANKLIN                      5900 BRIDGE RD APT 111                                                                           YPSILANTI          MI      48197‐7010
JARVAIS, ROBERT R                      19 OLD LOCUST HILL ROAD                                                                          TRAVELERS RST      SC      29690‐9130
JARVELA, DAVID V                       33945 MARQUETTE ST                                                                               WESTLAND           MI      48185‐3544
JARVELA, DAVID VINCENT                 33945 MARQUETTE ST                                                                               WESTLAND           MI      48185‐3544
JARVELA, GERALD R                      7436 CHARRINGTON DR                                                                              CANTON             MI      48187‐1819
JARVELA, GERALD ROSS                   7436 CHARRINGTON DR                                                                              CANTON             MI      48187‐1819
JARVEN, LINDA A                        26 EDGEWOOD DR                                                                                   GRAFTON            OH      44044‐1506
JARVENPAA, L JOHNSON                   15744 LENORE                                                                                     REDFORD            MI      48239‐3512
JARVER, JACK H                         3901 LESLEY AVE APT 115                                                                          INDIANAPOLIS       IN      46226‐4800
JARVEY, JOAN J                         9651 W BELOIT RD APT 13                                                                          MILWAUKEE          WI      53227‐4364
JARVI, CARLA R                         1945 JAN ECHO TRL                                                                                EAGAN              MN      55122‐2451
JARVI, DENNIS J                        964 PARALLEL ST                                                                                  FENTON             MI      48430‐2213
JARVI, GALE A                          22492 S MACKINAC TRL                                                                             RUDYARD            MI      49780‐9248
JARVI, LAURA M                         1317 WESTWOOD DR                                                                                 HOLLY HILL         FL      32117‐2923
JARVI, ROBERT J                        9416 W 122ND ST                                                                                  OVERLAND PARK      KS      66213‐4241
JARVI, RONALD W                        70 W GRANET AVE                                                                                  HAZEL PARK         MI      48030
JARVI, WILLIAM A                       3270 VALLEY DR                                                                                   ANN ARBOR          MI      48103‐2760
JARVICE JOHNSON                        405 E HUNT ST                                                                                    SALEM              MO      65560‐1825
JARVIE, FLORENCE E                     749 PUTNAM AVE                                                                                   LAWRENCEVILLE      NJ      08648
JARVIE, HERBERT E                      3384 WESTWIND DR                                                                                 COMMERCE           MI      48390‐1268
                                                                                                                                        TOWNSHIP
JARVIE, RICHARD C                      5 FAIRFAX CT                                                                                     BORDENTOWN          NJ     08505‐3132
JARVINE METCALF                        1482 FANNIN                                                                                      ABILENE             TX     79603
JARVINE METCALF                        1482 FANNIN STREET                                                                               ABILENE             TX     79603
JARVINEN, DIANE                        6403 NIGHTINGALE DRIVE                                                                           FLINT               MI     48506
JARVINEN, ROBERT W                     PO BOX 304                                                                                       COHOCTAH            MI     48816‐0304
                                       09-50026-mg            Doc 7123-20 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                                   Address1                         Address2                        Address3   Address4               City               State   Zip
JARVINEN, TERRENCE K                   3421 CRANDON DR                                                                                    DAVISON             MI     48423‐8407
JARVIS A SANDIFER                      3018 PINE TRAIL CT                                                                                 DALLAS              TX     75241‐5814
JARVIS AUTO                            7465 RAYTHEON RD                                                                                   SAN DIEGO           CA     92111‐1505
JARVIS BILLIE HOLMES (439176)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA     23510
                                                                        STREET, SUITE 600
JARVIS BONNER                          9320 PALM ST                                                                                       BELLFLOWER          CA     90706‐6212
JARVIS CALVIN E (439177)               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA     23510
                                                                        STREET, SUITE 600
JARVIS CAROL (459940)                  BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH      44067
                                                                        PROFESSIONAL BLDG
JARVIS CARTER                          PO BOX 1792                                                                                        COLUMBIA           TN      38402‐1792
JARVIS CHAPPUS                         732 WINFIELD DR                                                                                    O FALLON           IL      62269‐7521
JARVIS COMPUTER SOFTWARE               902 E 2ND ST STE 320                                                                               WINONA             MN      55987‐6510
JARVIS D CHOYCE                        2224 S NIAGARA ST                                                                                  SAGINAW            MI      48602‐1245
JARVIS DICKSON                         20855 LAHSER RD APT 104                                                                            SOUTHFIELD         MI      48033‐4419
JARVIS FRANKLIN & NORMA                RR 1 BOX 207B                                                                                      BELINGTON          WV      26250‐9760
JARVIS FREEMAN                         649 JAMESTOWN RD                                                                                   AUBURN HILLS       MI      48326‐3416
JARVIS HUDSON                          1310 AVENUE B                                                                                      FLINT              MI      48503‐1432
JARVIS HUNT III                        255 LONE PINE CT                                                                                   BLOOMFIELD HILLS   MI      48304‐3428
JARVIS JAMES SR (ESTATE OF) (462962)   ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                        BALTIMORE          MD      21202
                                                                        CHARLES CENTER 22ND FLOOR
JARVIS JEFFREY A                       DBA BUZZMACHINE LLC              141 DEER RIDGE RD                                                 BASKING RIDGE      NJ      07920‐3406
JARVIS JR, HAROLD H                    77 CONVERSE DR                                                                                     LAPEER             MI      48446‐3319
JARVIS JR, RONALD E                    9 BOTHWELL GARTH                                                                                   NOTTINGHAM         MD      21236‐2569
JARVIS JR, RONALD EDWARDS              9 BOTHWELL GARTH                                                                                   NOTTINGHAM         MD      21236‐2569
JARVIS JR, SHERMAN                     340 MOUNTAIN LAKE DR                                                                               BOOMER             NC      28606‐8005
JARVIS JR, WILLIE                      17133 CORNELL AVE                                                                                  SOUTH HOLLAND      IL      60473‐3630
JARVIS L HUDSON                        1310 AVENUE B                                                                                      FLINT              MI      48503‐1432
JARVIS N YOUNG SR                      1622 RUST AVE                                                                                      SAGINAW            MI      48601‐2802
JARVIS NOAH C (ESTATE OF) (472076)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA      23510
                                                                        STREET, SUITE 600
JARVIS ROBERT                          373 FOREST RD                                                                                      ELLENBURG DEPOT    NY      12935‐2212
JARVIS SANDIFER                        3018 PINE TRAIL CT                                                                                 DALLAS             TX      75241‐5814
JARVIS SANDRA                          12749 STATE ROUTE 181 N                                                                            BREMEN             KY      42325‐9703
JARVIS SCOTT                           735 CHIPPEWA DR                                                                                    DEFIANCE           OH      43512‐3367
JARVIS STANFORD                        PO BOX 5552                                                                                        MANSFIELD          OH      44901‐5552
JARVIS TERRY                           5611 CORVIN LN                                                                                     SOUTHAVEN          MS      38671‐8975
JARVIS TRANSPORTATION INC              PO BOX 129                                                                                         FRANKLIN           MA      02038‐0129
JARVIS VAN (445476)                    BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH      44067
                                                                        PROFESSIONAL BLDG
JARVIS VIRLEN (445477)                 BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH      44067
                                                                        PROFESSIONAL BLDG
JARVIS, ALFRED C                       PO BOX 1348                                                                                        BANDON              OR     97411‐1348
JARVIS, AMBER S                        9300 E. COUNTY RD. 1200 N.                                                                         DUNKIRK             IN     47336
JARVIS, AMBER SKY                      9300 E. COUNTY RD. 1200 N.                                                                         DUNKIRK             IN     47336
JARVIS, ARILLA M                       1023 GREBE ST                                                                                      FOSTER CITY         CA     94404‐1442
JARVIS, AUDREY J                       118 RIDGEWOOD LN.                                                                                  CARYVILLE           TN     37714‐3423
JARVIS, AUSTIN L                       1834 CATON AVE APT 5M                                                                              BROOKLYN            NY     11226‐2815
JARVIS, BARBARA S                      1215 SHORT HAZLETT                                                                                 ANDERSON            IN     46011
JARVIS, BETTY L                        907 E GRAND AVE                                                                                    CARTERVILLE         IL     62918‐5181
JARVIS, BEVERLY J                      210 WOODWORTH LOT 8                                                                                FRANKTON            IN     46044
JARVIS, BEVERLY J                      210 N WOODWORTH AVE LOT 8                                                                          FRANKTON            IN     46044‐9614
JARVIS, BILLIE HOLMES                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA     23510‐2212
                                                                        STREET, SUITE 600
                       09-50026-mg           Doc 7123-20 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                   Address1                       Address2                       Address3   Address4               City             State Zip
JARVIS, BRIAN K
JARVIS, BRUCE M        616 HORTON ST                                                                                   GREENWOOD         IN   46142‐4022
JARVIS, CALVIN E       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA   23510‐2212
                                                      STREET, SUITE 600
JARVIS, CAROL          BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD       OH    44067
                                                      PROFESSIONAL BLDG
JARVIS, CARSON K       8515 GRETA DR E                                                                                 INDIANAPOLIS     IN    46239‐9135
JARVIS, CELIA E        1312 FLETCHER ST                                                                                ANDERSON         IN    46016‐1843
JARVIS, CHARLENE E     5743 SW 59TH LN                                                                                 OCALA            FL    34474‐7635
JARVIS, CHARLES A      3801 RIATA DR                                                                                   BAY CITY         MI    48706‐2147
JARVIS, CHARLES S      7608 ENGLEWOOD AVE                                                                              RAYTOWN          MO    64138‐2443
JARVIS, CHRIS          112 GRAND OAKS BLVD                                                                             MADISON          AL    35758
JARVIS, CONSTANCE I.   706 CARDINAL CT                                                                                 HOWELL           MI    48843‐2353
JARVIS, CRAIG S        2907 TREASURE CIRCLE                                                                            PANAMA CITY      FL    32408‐6853
JARVIS, CYNTHIA A      27090 LANSE CREUSE ST                                                                           SELFRIDGE ANGB   MI    48045‐2590
JARVIS, DARLENE R      1594 CLEARWATER TRL                                                                             GRAYLING         MI    49738‐9083
JARVIS, DARROL A       2029 KENTMORE LN                                                                                CHESTERFIELD     MO    63017‐8111
JARVIS, DAVID M        3733 GAINSBOROUGH                                                                               ORION            MI    48359‐1620
JARVIS, DELBERT N      342 RUCKEL RD                                                                                   AKRON            OH    44305‐3452
JARVIS, DELLA D        3720 JEFFERSON HIGHWAY                                                                          GRAND LEDGE      MI    48837‐9780
JARVIS, DENNIS E       3141 WILDWOOD DR                                                                                SAGINAW          MI    48603‐1643
JARVIS, DONALD M       1106 MEL AVE                                                                                    LANSING          MI    48911‐3620
JARVIS, DONALD W       3344 N EUCLID AVE                                                                               BAY CITY         MI    48706
JARVIS, DONALD W       3123 WYATT DR                                                                                   BOWLING GREEN    KY    42101‐0765
JARVIS, DOROTHY M      70831 BODEN RD                                                                                  KIMBOLTON        OH    43749‐9510
JARVIS, DOROTHY M      70831 BODEN ROAD                                                                                KIMBOLTON        OH    43749‐9510
JARVIS, DORRIS D       3624 WINDSOR WAY                                                                                ANDERSON         IN    46011‐3055
JARVIS, DOYAL D        6610 LEAR NAGLE RD LOT 288                                                                      N RIDGEVILLE     OH    44039‐3283
JARVIS, DUANE A        707 W HENRY ST                                                                                  CHARLOTTE        MI    48813‐1709
JARVIS, ELIZABETH      5412 UNION CHAPEL RD                                                                            FORT WAYNE       IN    46845‐9221
JARVIS, EMILY W        6200 DRAPER                                                                                     JACKSON          MI    49201‐8731
JARVIS, EMILY W        6200 DRAPER RD                                                                                  JACKSON          MI    49201‐8731
JARVIS, ESTHER L       442 FOREST DR                                                                                   BRIGHTON         MI    48116‐1160
JARVIS, ESTHER L       1114 INDIANA AVE                                                                                ANDERSON         IN    46012‐2324
JARVIS, EVELYN I       10319 FINLEY LAKE ROAD                                                                          HARRISON         MI    48625‐8663
JARVIS, EVELYN I       10319 N FINLEY LAKE AVE                                                                         HARRISON         MI    48625‐8579
JARVIS, FLORENCE R     5351 BROOKWAY DR                                                                                BAY CITY         MI    48706‐3384
JARVIS, FRANKLIN D     RR 1 BOX 207B                                                                                   BELINGTON        WV    26250‐9760
JARVIS, GAIL           5045 TEAL TRAIL                                                                                 CUMMING          CA    30028
JARVIS, GAIL           5045 TEAL TRL                                                                                   CUMMING          GA    30028‐4900
JARVIS, GAIL F         1725 STATE ROUTE 60                                                                             ASHLAND          OH    44805‐9375
JARVIS, GALE L         525 E COUNTY ROAD 1200 N                                                                        BRAZIL           IN    47834‐6843
JARVIS, GERALD L       7313 TROY MANOR RD                                                                              DAYTON           OH    45424‐2618
JARVIS, GERTRUDE       2300 S MONROE ST                                                                                BAY CITY         MI    48708‐8779
JARVIS, GERTRUDE       2300 S MONROE                                                                                   BAY CITY         MI    48708‐8779
JARVIS, GLENN W        4220 TIMBERLANE DR                                                                              ALLISON PARK     PA    15101
JARVIS, GLENNA J       1251 DEFOREST RD SE                                                                             WARREN           OH    44484‐3562
JARVIS, GUY            3720 JEFFERSON HWY                                                                              GRAND LEDGE      MI    48837‐9780
JARVIS, H G            29 EXTON RD. BOSCOMBE          BOURNEMOUTH ,DORSET BH56QF                BOURNEMOUTH ENGLAND
JARVIS, HARRY L        4649 BONNETT CIR                                                                                BIRMINGHAM       AL    35235‐1997
JARVIS, HARVEY L       42130 OBERLIN RD                                                                                ELYRIA           OH    44035
JARVIS, HEATHER S      16945 N STATE ROAD 9                                                                            SUMMITVILLE      IN    46070‐9517
JARVIS, HELEN          14 E 24TH ST N                                                                                  BIG STONE GAP    VA    24219‐3526
JARVIS, HENRY L        8C75 BOX 125 B                                                                                  NEBO             WV    25141
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Name                     Address1                           Address2                      Address3   Address4               City               State   Zip
JARVIS, HUBERT C         611A TENNESSEE SHORT CUT RD                                                                        ALBANY              KY     42602‐1048
JARVIS, JACK D           1342 S DURBIN DR                                                                                   ANDERSON            IN     46012‐9699
JARVIS, JACKIE E         705 COOLIDGE ST APT 22                                                                             YADKINVILLE         NC     27055‐7777
JARVIS, JAMES            ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET, ONE                                       BALTIMORE           MD     21202
                                                            CHARLES CENTER 22ND FLOOR
JARVIS, JAMES B          4625 HICKORY CT                                                                                    ZIONSVILLE         IN      46077‐9424
JARVIS, JAMES R          6258 OXFORD CT                                                                                     BEDFORD HTS        OH      44146‐3109
JARVIS, JANET L          821 OAKBROOK DR                                                                                    ASHLAND            OH      44805‐3690
JARVIS, JEFFREY T        70605 CAMPGROUND RD                                                                                BRUCE TWP          MI      48065‐4332
JARVIS, JEFFREY THOMAS   70605 CAMPGROUND RD                                                                                BRUCE TWP          MI      48065‐4332
JARVIS, JOAN L           PO BOX 498                                                                                         CATLIN             IL      61817‐0498
JARVIS, KATHLEEN         18432 DOCKSEY                                                                                      NORTHVILLE         MI      48167‐9571
JARVIS, KAY              13 PARK AVE. WEST, #605                                                                            MANSFIELD          OH      44902‐1745
JARVIS, KAY              13 PARK AVE W STE 605                                                                              MANSFIELD          OH      44902‐1745
JARVIS, KENNETH L        324 AMETHYST WAY                                                                                   SENECA             SC      29672‐6863
JARVIS, KEVIN A          6625 GILMAN ST                                                                                     GARDEN CITY        MI      48135‐2281
JARVIS, KEVIN ALAN       6625 GILMAN ST                                                                                     GARDEN CITY        MI      48135‐2281
JARVIS, KEVIN G          1 RIVERCREST RD                                                                                    MASSENA            NY      13662‐3226
JARVIS, KEVIN P          21610 KENDYL CT                                                                                    MACOMB             MI      48044‐2281
JARVIS, LAWRENCE M       18432 DOCKSEY                                                                                      NORTHVILLE         MI      48168‐9571
JARVIS, LEONARD E        3751 23 MILE RD                                                                                    SHELBY TOWNSHIP    MI      48316‐4001
JARVIS, LEWIS B          2438 MAPLELAWN DR                                                                                  BURTON             MI      48519‐1361
JARVIS, LISA M           1864 VIOLA DR                                                                                      ORTONVILLE         MI      48462‐8847
JARVIS, LOIS E           4550 N FLOWING WELLS RD UNIT 238                                                                   TUCSON             AZ      85705‐2388
JARVIS, LOIS E           4550 NORTH FLOWING WELLS           APT 238                                                         TUSCON             AZ      85705
JARVIS, MARCUS D         1619 PORTSMOUTH LAKE DR                                                                            BRANDON            FL      33511‐1877
JARVIS, MARCUS D         APT 203                            2210 KENDALL SPRINGS COURT                                      BRANDON            FL      33510‐2474
JARVIS, MARGARET E       1496 N COUNTY ROAD 300 E                                                                           KOKOMO             IN      46901
JARVIS, MARIANNE G       24381 MEADOWBRIDGE DR                                                                              CLINTON TOWNSHIP   MI      48035‐3012

JARVIS, MARIANNE G       24381 MEADOW BRIDGE DR                                                                             CLINTON TOWNSHIP    MI     48035‐3012

JARVIS, MARIE E          1328 POPLAR STREET                                                                                 FLINT              MI      48503‐4809
JARVIS, MARIE E          1328 POPLAR ST                                                                                     FLINT              MI      48503‐4809
JARVIS, MARJORIE C       5511 CUNNINGHAM CT                                                                                 EVANSVILLE         IN      47711‐2575
JARVIS, MARY ANN         901 MARTINTOWN RD                                                                                  NEW ALBANY         MS      38652‐1905
JARVIS, MARY S           223 SHADY LN                                                                                       GORDONVILLE        TX      76245
JARVIS, MELVIN L         5296 S STATE ROAD 13                                                                               LAPEL              IN      46051‐9634
JARVIS, MICHAEL D        94 DURHAM RD                                                                                       DEDHAM             MA      02026‐5328
JARVIS, MICHAEL E        2755 MILLVILLE RD                                                                                  LAPEER             MI      48446‐9052
JARVIS, MINNIE B         1223 N EDMONDSON AVE APT B2                                                                        INDIANAPOLIS       IN      46219
JARVIS, MINNIE B         APT B2                             1223 NORTH EDMONDSON AVENUE                                     INDIANAPOLIS       IN      46219‐3529
JARVIS, MONICA A         3751 23 MILE RD                                                                                    SHELBY TWP         MI      48316‐4001
JARVIS, MONTY L          1844 E WOODCREST DR                                                                                MARTINSVILLE       IN      46151‐5997
JARVIS, NOAH C           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA      23510‐2212
                                                            STREET, SUITE 600
JARVIS, NORMA S          RR 1 BOX 207B                                                                                      BELINGTON          WV      26250‐9760
JARVIS, NORMAN J         3017 ARTESIAN LN                                                                                   NORTH FORT MYERS   FL      33917‐1529

JARVIS, OCTAVIA          215 HARALSON LANE                                                                                  ATKINS              AR     72823
JARVIS, OCTAVIA          215 HARALSON LN                                                                                    ATKINS              AR     72823‐7585
JARVIS, PATRICIA W       147 TOWN FARM RD                                                                                   FARMINGTON          CT     06032‐1505
JARVIS, PATRICK C        947 WOODRUFF ST                                                                                    SOUTHINGTON         CT     06489‐2902
JARVIS, PATSY L          1434 PEPPERMILL RD                                                                                 LAPEER              MI     48446‐3240
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Name                     Address1                          Address2                        Address3   Address4               City               State   Zip
JARVIS, PATSY M          4324 VAN SLYKE RD                                                                                   FLINT               MI     48507
JARVIS, PAUL L           882 RANDALL DR                                                                                      TROY                MI     48085‐4842
JARVIS, PERRY J          3816 N HUNTINGTON RD                                                                                MARION              IN     46952‐1267
JARVIS, PHYLLIS C        4316 SAINT JAMES CT                                                                                 ANDERSON            IN     46013‐4441
JARVIS, RALPH E          10 MICHAEL RD                                                                                       LAPEER              MI     48446‐9406
JARVIS, REBA V           PO BOX 773                                                                                          GAMBIER             OH     43022‐0773
JARVIS, REGINALD W       12668 79TH COURT NORTH                                                                              WEST PALM BCH       FL     33412‐2215
JARVIS, RICHARD          GORI JULIAN & ASSOCIATES PC       156 N MAIN ST                                                     EDWARDSVILLE         IL    62025
JARVIS, RICHARD          KIMMEL & SILVERMAN PC             1930 E MARLTON PIKE SUITE Q29                                     CHERRY HILL         NJ     08003
JARVIS, RICHARD A        5420 E 300 S                                                                                        MARION              IN     46953‐9519
JARVIS, RICHARD D        33869 TWICKINGHAM DR                                                                                STERLING HTS        MI     48310‐6359
JARVIS, RICHARD G        3720 JEFFERSON HWY                                                                                  GRAND LEDGE         MI     48837‐9780
JARVIS, RICHARD H        2104 7TH ST                                                                                         BROWNWOOD           TX     76801‐4805
JARVIS, ROBERT           147 MEADOW FLOWER CIR                                                                               BELLEFONTE          PA     16823‐8512
JARVIS, ROBERT A         1114 INDIANA AVE                                                                                    ANDERSON            IN     46012‐2324
JARVIS, ROBERT ALLEN     1114 INDIANA AVE                                                                                    ANDERSON            IN     46012‐2324
JARVIS, ROBERT D         147 MEADOW FLOWER CIR                                                                               BELLEFONTE          PA     16823‐8512
JARVIS, ROBERT G         1434 PEPPERMILL RD                                                                                  LAPEER              MI     48446‐3240
JARVIS, RONALD G         5066 JAMIESON DR APT B6                                                                             TOLEDO              OH     43613‐2888
JARVIS, RONALD L         5025 S INNER LOOP DR                                                                                CUSTER              MI     49405‐8772
JARVIS, ROY              6080 AUTUMN BREEZE CIR                                                                              FORT WORTH          TX     76140‐9699
JARVIS, RUBY             7355 MORRIS RD                                                                                      HAMILTON            OH     45011
JARVIS, SHERI            KIMMEL & SILVERMAN PC             1930 E MARLTON PIKE SUITE Q29                                     CHERRY HILL         NJ     08003
JARVIS, STARLIN J        2090 CACTUS LN                                                                                      CUMMING             GA     30040‐4483
JARVIS, STEPHEN P        4292 COVEY LN                                                                                       GRAND BLANC         MI     48439‐9625
JARVIS, STEPHEN PAUL     4292 COVEY LN                                                                                       GRAND BLANC         MI     48439‐9625
JARVIS, TAMMIE D         10125 LEATHERWOOD DR                                                                                FORT WORTH          TX     76108‐4150
JARVIS, THOMAS A         411 N 6TH ST # 2857                                                                                 EMERY               SD     57332
JARVIS, THOMAS A         411 NORTH 6TH ST #2857                                                                              EMERY               SD     57332
JARVIS, THOMAS H         212 THOMPSON ST                                                                                     ESSEXVILLE          MI     48732‐1173
JARVIS, THOMAS J         14562 NEW HAMPTON PL                                                                                FORT MYERS          FL     33912‐7010
JARVIS, THOMAS J         1000 LAKE RIDGE RD                APT 104                                                           HAMPTON             VA     23666‐3666
JARVIS, THOMAS J         APT 104                           1000 LAKERIDGE ROAD                                               HAMPTON             VA     23666‐6041
JARVIS, VAN              BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD          OH     44067
                                                           PROFESSIONAL BLDG
JARVIS, VIRGIE           RT # 1 BOX 325                                                                                      MILLSTONE          WV      25261
JARVIS, WENDELL N        PO BOX 493                                                                                          BURKESVILLE        KY      42717‐0493
JARVIS, WILLIAM E        3432 STATE ROAD 580 LOT 350                                                                         SAFETY HARBOR      FL      34695
JARVIS, WILLIAM H        2306 DONCASTER DR                                                                                   ALBANY             GA      31707‐2412
JARY DAWSON              4901 S PROCTOR RD                                                                                   MUNCIE             IN      47302‐8968
JARY ROTTMAN             5060 OLD TOWN RD                                                                                    MARSHALL           TX      75672‐1917
JARYN ROBERTSON          2002 ELMHURST ST                                                                                    CANTON             MI      48187‐3119
JARZABEK, IRENE P        95NO RIDGELAND RD                                                                                   WALLINGFORD        CT      06492‐2927
JARZABKOWSKI, KEITH A    1530 SHORT RD                                                                                       SAGINAW            MI      48609‐9230
JARZABKOWSKI, RONALD J   3646 CANYON DR                                                                                      SAGINAW            MI      48603‐1962
JARZABKOWSKI, THOMAS J   5539 SHERMAN RD                                                                                     SAGINAW            MI      48604‐1138
JARZEBOSKI, JAMES M      7 INDIAN RIVER AVE APT 905                                                                          TITUEVILLE         FL      32796‐2992
JARZEBOSKI, JAMES M      42279                             EAST EDWARD                                                       CLINTON TOWNSHIP   MI      48038

JARZEMBEK, CHRISTINE J   135 MONTROSE AVENUE                                                                                 BUFFALO             NY     14214‐1254
JARZOMBEK, BERNARD E     22195 MADISON ST                                                                                    ST CLR SHORES       MI     48081‐3727
JARZOMBEK, CAROLINE W    14926 MARSHA ST.                                                                                    LIVONIA             MI     48154
JARZYNIECK, FRED         2330 MAPLE ROAD                   APT 306                                                           WILLIAMSVILLE       NY     14221
JARZYNIECKI, PHILIP      2702 CHURCH DR STE 103                                                                              DORAVILLE           GA     30340‐6111
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Name                            Address1                          Address2               Address3      Address4                   City              State   Zip
JARZYNKA, IRENE                 45 BARNARD STREET                                                                                 BUFFALO            NY     14206‐3502
JARZYNKA, IRENE                 45 BARNARD ST                                                                                     BUFFALO            NY     14206‐3502
JARZYNKA, RICHARD J             3006 SPANISH MOSS LN                                                                              KISSIMMEE          FL     34746
JARZYNSKI RAYMOND (ESTATE OF)   WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                                 NEW YORK           NY     10038
(466132)
JARZYNSKI, DIANE L              22714 PINE ARBOR DR APT 2A                                                                        ELKHART            IN     46516‐9575
JARZYNSKI, RAYMOND              WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                                 NEW YORK           NY     10038
JAS AUTO REPAIR                 #16A 7823‐132ND STREET                                                 SURREY BC V3W 4M8 CANADA

JASBIR SINGH                    6821 MAPLE CREEK BLVD                                                                             WEST BLOOMFIELD    MI     48322‐4559

JASCHKE HAROLD                  3710 PLUMB ST                                                                                     HOUSTON            TX     77005‐2810
JASCHUK, JOSEPH J               1054 BYRON DR                                                                                     MILFORD            MI     48381‐2818
JASCO INTERNATIONAL             22300 HAGGERTY RD                                                                                 NORTHVILLE         MI     48167‐8987
JASCO INTERNATIONAL             MIKE ROTH                         26679 LOUISVILLE RD                  SAO PAULO BRAZIL
JASCO INTERNATIONAL             22679 LOUISVILLE RD                                                                               PARK CITY          KY     42160‐9344
JASCO INTERNATIONAL LLC         22899 LOUISVILLE RD                                                                               PARK CITY          KY     42160‐9380
JASCO INTERNATIONAL LLC         4335 W FORT ST                                                                                    DETROIT            MI     48209‐3221
JASCO INTERNATIONAL LLC         22679 LOUISVILLE RD                                                                               PARK CITY          KY     42160‐9344
JASCO INTERNATIONAL LLC         MIKE ROTH                         26679 LOUISVILLE RD                  SAO PAULO BRAZIL
JASCO/PARK CITY                 22300 HAGGERTY RD                                                                                 NORTHVILLE        MI      48167‐8987
JASCOE, GERALD A                19393 NEGAUNEE                                                                                    REDFORD           MI      48240‐1687
JASCOE, JANET                   36955 MCKINNEY AVE # A                                                                            WESTLAND          MI      48185
JASDEEP RANDHAWA                50481 KOSS DR                                                                                     MACOMB            MI      48044‐6320
JASDEEP SINGH                   4903 CARLSON PARK DR                                                                              TROY              MI      48098‐4647
JASE JOSHUA III                 529 ROLAND ST                                                                                     PONTIAC           MI      48341‐3606
JASEK, ANTHONY G                5041 TUSCARORA RD                                                                                 NIAGARA FALLS     NY      14304‐1169
JASEK, MELVIN D                 1306 W LAVENDER LN                                                                                ARLINGTON         TX      76013‐5018
JASEN STEVENS                   5588 MAPLE PARK DR                                                                                FLINT             MI      48507‐3915
JASEN, MARLENE                  18730 EMERALD CIR UNIT E                                                                          BROOKFIELD        WI      53045‐3696
JASEN, MARLENE R                18730 EMERALD CIR UNIT E                                                                          BROOKFIELD        WI      53045‐3696
JASENSKY, OTTO J                7305 N US HIGHWAY 51                                                                              EDGERTON          WI      53534‐9762
JASENSKY, VIOLET J              7305 US HWY 51                                                                                    EDERGTON          WI      53534
JASENSKY, VIOLET J              7305 N US HIGHWAY 51                                                                              EDGERTON          WI      53534‐9762
JASETTE WRIGHT                  PO BOX 251984                                                                                     W BLOOMFIELD      MI      48325‐1984
JASHAUN A KELLY                 3638 MANDALAY DR                                                                                  TROTWOOD          OH      45416‐1122
JASIAK, AUDRA
JASIAK, CHARLES T               MEEHAN BOYLE & COHEN PC           2 CENTER PLZ STE 600                                            BOSTON            MA      02108‐1908
JASIAK, CHARLES T               RICHARD GOODKIN
JASIENSKI, ANTHONY J            221 NIAGARA ST                                                                                    BAY CITY          MI      48706‐5355
JASIENSKI, LOIS M               221 NIAGARA ST                                                                                    BAY CITY          MI      48706‐5355
JASIEWICZ, JEAN                 316 BECKMAN DR                                                                                    MCKEESPORT        PA      15132‐7407
JASIN, CAS F                    2426 BEACH RD                                                                                     WALLED LAKE       MI      48390‐4504
JASIN, MARTIN E                 14333 BRENTWOOD ST                                                                                LIVONIA           MI      48154‐4547
JASINA, JAMES P                 25 HUNTINGTON RD                                                                                  EDISON            NJ      08820‐3110
JASINA, JEROME F                PO BOX 304                                                                                        HAMBURG           MI      48139‐0304
JASINA, JEROME FLOYD            PO BOX 304                                                                                        HAMBURG           MI      48139‐0304
JASINA, RONALD E                3021 N. M‐52                                                                                      STOCKBRIDGE       MI      49285
JASINKIEWICZ, PAUL              41200 ALDEA DR                                                                                    NORTHVILLE        MI      48168‐3219
JASINOWSKI, RONALD K            12849 PLEASANT AVE                                                                                IRVING            NY      14081‐9671
JASINSKI JR, BRUNO J            16048 LARKSPUR ST                                                                                 ROSEVILLE         MI      48066‐1417
JASINSKI JR, KEITH F            5695 S ABERDEEN DR                                                                                NEW BERLIN        WI      53146‐4702
JASINSKI MARK J                 DBA MJ FITNESS REPAIR             15 W 730 72ND ST                                                BURR RIDGE        IL      60527
JASINSKI, ALOYSIUS J            1608 AVONDALE AVE                                                                                 TOLEDO            OH      43607‐3908
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Name                       Address1                        Address2                        Address3   Address4               City               State   Zip
JASINSKI, ANGELINE         237 CLINTON ST.                                                                                   COWLESVILLE         NY     14037‐9746
JASINSKI, ANGELINE         237 CLINTON ST                                                                                    COWLESVILLE         NY     14037‐9746
JASINSKI, CECILIA          1500 EAGLE TRL                                                                                    OXFORD              MI     48371‐6063
JASINSKI, CECILIA          1500 EAGLE TRAIL                                                                                  OXFORD              MI     48371‐6063
JASINSKI, CONSTANCE A      2411 E BRANDENBERRY CT APT 2O                                                                     ARLINGTON            IL    60004‐5181
                                                                                                                             HEIGHTS
JASINSKI, DAVID L          2634 GRACEWOOD RD                                                                                 TOLEDO             OH      43613‐3341
JASINSKI, DAVID LAWRENCE   2634 GRACEWOOD RD                                                                                 TOLEDO             OH      43613‐3341
JASINSKI, ELSIE M          226 JUNIPER CREEK BLVD                                                                            PINEHURST          NC      28374‐6819
JASINSKI, GARY J           1762 DEER HAVEN RD                                                                                ALGER              MI      48610‐9520
JASINSKI, GREGORY A        1895 LEXINGTON ONTARIO RD                                                                         MANSFIELD          OH      44904‐9762
JASINSKI, JOSEPH M         56501 DEQUINDRE RD                                                                                ROCHESTER HILLS    MI      48306‐4519
JASINSKI, KENNETH J        1715 33RD ST                                                                                      BAY CITY           MI      48708‐8712
JASINSKI, LEONARD B        1405 HENRY CT                                                                                     FLUSHING           MI      48433‐1586
JASINSKI, MILDRED I        4734 W MAPLE LEAF CIR                                                                             GREENFIELD         WI      53220‐2781
JASINSKI, RAYMOND A        619 HOME RD S                                                                                     MANSFIELD          OH      44906‐3363
JASINSKI, REENE            4591 SINGH DR                                                                                     STERLING HEIGHTS   MI      48310‐5197
JASINSKI, RICHARD V        741 CYNTHIA LN                                                                                    WHITELAND          IN      46184‐9780
JASINSKI, RONALD L         226 JUNIPER CREEK BLVD                                                                            PINEHURST          NC      28374‐6819
JASINSKI, SHIRLEY A        2145 HATCHERS CHAPEL ROAD                                                                         CLAUDVILLE         VA      24076‐3450
JASINSKI, STEFAN F         42 NASSAU LN                                                                                      CHEEKTOWAGA        NY      14225‐4816
JASINSKI, STEVEN R         1415 DIANA AVE                                                                                    MADISON HTS        MI      48071‐2988
JASINSKI, SUZANNE          15706 SCRIMSHAW DR                                                                                TAMPA              FL      33624‐1569
JASINSKI, THADDEUS J       3533 OAKMONTE BLVD                                                                                OAKLAND            MI      48306‐4790
                                                                                                                             TOWNSHIP
JASINSKI, THOMAS J         1918 W ALEXIS RD APT K301                                                                         TOLEDO             OH      43613‐2291
JASINSKI, TROY D           5903 W BENALEX DR                                                                                 TOLEDO             OH      43612‐4411
JASINSKI, WALTER B         5210 LONG PRAIRIE RD APT 514                                                                      FLOWER MOUND       TX      75028‐2274
JASINSKI, WILLIAM          30187 PIERCE ST                                                                                   SOUTHFIELD         MI      48076‐7613
JASIONOWICZ, HENRY S       23210 POWER ROAD                                                                                  FARMINGTON         MI      48336‐3130
JASIONOWSKI JIM (445479)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH      44067
                                                           PROFESSIONAL BLDG
JASIONOWSKI, JIM           BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD         OH      44067
                                                           PROFESSIONAL BLDG
JASIORKOWSKI, PHYLLIS K    6586 CAMINO VENTUROSO                                                                             GOLETA             CA      93117‐1527
JASKA JR, DAVID H          282 GREENVIEW WAY                                                                                 BOWLING GREEN      KY      42103‐8724
JASKA, CHRIS H             323 MALIBU CANYON DR                                                                              COLUMBIA           TN      38401‐6802
JASKA, DOLORES A           281 LOST RIVER LN                                                                                 BOWLING GREEN      KY      42104‐0830
JASKARAN DHINDSA           45605 FOX LN E APT 106                                                                            SHELBY TWP         MI      48317‐5055
JASKEN EVA & GEORGE        2071 118TH AVENUE NORTHEAST                                                                       MINNEAPOLIS        MN      55449‐5447
JASKET, CHESTER            73 STANDISH DR                                                                                    CLIFTON            NJ      07013‐2542
JASKI, BENJAMIN B          1138 CYMAR DR E                                                                                   BEAVERCREEK        OH      45434‐6361
JASKI, BENJAMIN B          3157 SUNNYSIDE CT                                                                                 LAKE ORION         MI      48360‐1743
JASKI, GREGORY C           5128 MANGROVE DR                                                                                  SAGINAW            MI      48603‐1141
JASKI, MARK D              2056 LAURELWOOD ST                                                                                DEFIANCE           OH      43512‐3418
JASKIER, MARY              92 W ROUEN DR                                                                                     BUFFALO            NY      14227
JASKIER, PATRICIA          4 CROYDEN DRIVE                                                                                   DEPEW              NY      14043‐4417
JASKIER, PATRICIA          4 CROYDON DR                                                                                      DEPEW              NY      14043‐4417
JASKIER, THOMAS F          92 W ROUEN DR                                                                                     CHEEKTOWAGA        NY      14227‐2414
JASKIERNY, JACOB T         415 W COMMERCE ST                                                                                 MILFORD            MI      48381‐1823
JASKIEWICZ, DONALD J       PO BOX 30381                                                                                      LAUGHLIN           NV      89028‐0381
JASKIEWICZ, JAMES V        1900 S JOHNSON ST                                                                                 BAY CITY           MI      48708‐9112
JASKIEWICZ, JUNE E         18409 SE 18TH STREET RD                                                                           SILVER SPRINGS     FL      34488‐6431
JASKIEWICZ, LORETTA C      705 STEVENS DR                                                                                    OWOSSO             MI      48867‐1944
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Name                          Address1                         Address2                     Address3   Address4                City               State   Zip
JASKIEWICZ, LORETTA C         705 STEVENS DRIVE                                                                                OWOSSO              MI     48867
JASKIEWICZ, MICHAEL J         6701 N WELLING RD                                                                                SAINT JOHNS         MI     48879‐8442
JASKIEWICZ, MICHAEL T         10131 E RICHFIELD RD                                                                             DAVISON             MI     48423‐8418
JASKIEWICZ, VICTOR M          710 PATTERSON AVE                                                                                BAY CITY            MI     48706‐4194
JASKO, NICHOLAS C             3540 LOON LAKE RD                                                                                WIXOM               MI     48393‐1133
JASKO, WILLIAM                1940 PRINCETON RD                                                                                BERKLEY             MI     48072‐3902
JASKOLSKI, HENRY J            42 LESTER ST                                                                                     BUFFALO             NY     14210‐1620
JASKOLSKI, HENRY M            124 ROSE DUST DR                                                                                 ROCHESTER           NY     14626‐1087
JASKOLSKI, JOHN V             2836 N 49TH ST                                                                                   MILWAUKEE           WI     53210‐1651
JASKOLSKI, MICHAEL N          51164 SHELBY RD                                                                                  SHELBY TOWNSHIP     MI     48316‐4051
JASKOLSKI, PAUL L             724 W MAPLE RD                                                                                   MILFORD             MI     48381‐3814
JASKOLSKI, PAUL LARRY         724 W MAPLE RD                                                                                   MILFORD             MI     48381‐3814
JASKOLSKI, ROBERT E           4401 S OCQUEOC RD                                                                                MILLERSBURG         MI     49759‐9715
JASKOLSKI, ROSINA M           16266 E 12 MILE RD APT 8         DYMMELL APTS                                                    ROSEVILLE           MI     48066‐5063
JASKOT, ANNA                  73 STANDISH DR                                                                                   CLIFTON             NJ     07013‐2542
JASKOT, THADDEUS J            5060 KENDAL                                                                                      DEARBORN            MI     48126‐3154
JASKOT, THADDEUS J            5060 KENDAL ST                                                                                   DEARBORN            MI     48126‐3154
JASKOWIAK, CHARLES F          780 RICHARDSON RD                                                                                OWOSSO              MI     48867‐9754
JASKOWIAK, ELEANOR            76 WABASH AVE                                                                                    CHEEKTOWAGA         NY     14206‐2639
JASKOWIAK, ELEANOR            76 WABASH AVENUE                                                                                 CHEEKTOWAGA         NY     14206‐2639
JASKOWIAK, RUTH E             539 E GARRISON RD                                                                                OWOSSO              MI     48867‐9760
JASKOWSKI, NATASHA A          39222 CHESTNUT RIDGE RD                                                                          ELYRIA              OH     44035‐8238
JASKOWSKI, NATASHA AMY        39222 CHESTNUT RIDGE RD                                                                          ELYRIA              OH     44035‐8238
JASKULA, JOHN J               18 GLENWOOD TER                                                                                  CLARK               NJ     07066‐1911
JASKULA, JOHN V               2101 SUMMIT TER                                                                                  LINDEN              NJ     07036‐3735
JASKULA, SOPHIE               331 POTOMAC DR                                                                                   BASKING RIDGE       NJ     07920‐3114
JASKULA, THOMAS P             1816 CRESCENT PKWY                                                                               LINDEN              NJ     07036‐5419
JASKULA, WILLIAM J            331 POTOMAC DR                                                                                   BASKING RIDGE       NJ     07920‐3114
JASKULKA, LEONARD A           3083 N 7 MILE RD                                                                                 PINCONNING          MI     48650‐8997
JASKULKA, LEONARD A           3083 NORTH 7 MILE ROAD                                                                           PINCONNING          MI     48650‐8997
JASKULSKI CASMIR C (516473)   ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                      BALTIMORE           MD     21202
                                                               CHARLES CENTER 22ND FLOOR
JASKULSKI, CASMIR C           ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                       BALTIMORE          MD      21202
                                                               CHARLES CENTER 22ND FLOOR
JASKULSKI, EDMUND P           3 WHITMAN PL                                                                                     TONAWANDA          NY      14150‐8040
JASLYN N MOODY                1216 IDAHO RD                                                                                    AUSTINTOWN         OH      44515
JASMA M MOTLEY                93 SEWARD ST APT 203                                                                             DETROIT            MI      48202‐4419
JASMAN JR, BUDDIE P           PO BOX 278                       108 E CENTER                                                    LINWOOD            MI      48634‐0278
JASMAN, JOSEPH W              3319 WHEELER RD                                                                                  BAY CITY           MI      48706‐1647
JASMAN, JOYCE A               1796 E COTTAGE GROVE RD                                                                          LINWOOD            MI      48634‐9404
JASMAN, JOYCE A               1796 COTTAGE GROVE RD                                                                            LINWOOD            MI      48634‐9404
JASMAN, KEVIN B               14553 S LOWELL RD                                                                                LANSING            MI      48906‐9379
JASMAN, RICHARD A             25146 OBELISK CT                                                                                 PUNTA GORDA        FL      33983‐5944
JASMAN, SHIRL                 25146 OBELISK CT                                                                                 PORT CHARLOTTE     FL      33983‐5944
JASMAN, WAYNE A               885 W NEWBERG RD                                                                                 PINCONNING         MI      48650‐9442
JASMER, JAMES A               22208 HOFFMAN ST                                                                                 ST CLAIR SHRS      MI      48082‐1473
JASMIN EBERHARDT              EMSSTR. 3                        89231 NEU‐ULM                GERMANY
JASMIN EBERHARDT              EMSSTR. 3                                                                89231 NEU‐ULM GERMANY
JASMIN G YOUNG                40 CAMBRIDGE AVE                                                                                 DAYTON             OH      45406‐5001
JASMIN JIJINA SINKULAR        30887 COUNTRY RIDGE CIR                                                                          FARMINGTON HILLS   MI      48331‐5962

JASMIN OWENS                  3318 ASH DR APT 11308                                                                            ORION              MI      48359‐1067
JASMIN ROLAND W (501716)      THORNTON EARLY & NAUMES          100 SUMMER ST LBBY 3                                            BOSTON             MA      02110‐2104
JASMIN ROLAND W (666567)      THORNTON EARLY & NAUMES          100 SUMMER ST LBBY 3                                            BOSTON             MA      02110‐2104
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Name                     Address1                         Address2                 Address3        Address4                 City             State   Zip
JASMIN, ARTHUR I         6716 FOX MEADOW RD                                                                                 GWYNN OAK         MD     21207‐5682
JASMIN, LINDA J          20 MEADOW RD                                                                                       UXBRIDGE          MA     01569‐1428
JASMIN, ROLAND W         THORNTON EARLY & NAUMES          100 SUMMER ST LBBY 3                                              BOSTON            MA     02110‐2104
JASMINA SIMON            MEISTERSINGERSTRASSE 25                                                   95444 BAYREUTH GERMANY
JASMINA ZENKIC           C/O EMIRA RIZVIC                 WILHELM‐KUHNERT STR 2A                   81543 MUNCHEN, GERMANY

JASMINA ZENKIC           C/O ADEM RIZVIC                  WILHELM‐KUHNER‐STR. 2A   81543 M▄NCHEN   GERMANY                  MUNICH
JASMINE
JASMINE ALVAREZ          345 ELM ST                                                                                         VILLA PARK       IL      60181‐2214
JASMINE BOSQUEZ          614 E HIGHLAND AVE                                                                                 MARION           IN      46952‐2119
JASMINE D GROSS          1380 STATE RT. 534 S.W.                                                                            NEWTON FALLS     OH      44444‐9520
JASMINE GROSS            1380 STATE ROUTE 534 SW                                                                            NEWTON FALLS     OH      44444‐9520
JASMINE JOHNSON          18848 BLOOM ST                                                                                     DETROIT          MI      48234‐2427
JASMINE M CARR           888 PALLISTER ST APT 1111                                                                          DETROIT          MI      48202‐2674
JASMINE M HOFFMAN        1710 RAVENWOOD AVE.                                                                                DAYTON           OH      45406‐4557
JASMINE MONAREZ          9912 QUAY WAY                                                                                      WESTMINSTER      CO      80021‐5420
JASMINE NELSON           1621 DUSSIEOD                                                                                      COLUMBUS         OH      43227
JASMINE P PACE           888 PALLISTER ST APT 1001                                                                          DETROIT          MI      48202‐2673
JASMINE S JOHNSON        1415 W EUCLID ST                                                                                   DETROIT          MI      48206‐2412
JASMINE WILLIAMSON       3500 PALMILLA DR 5026                                                                              SAN JOSE         CA      95134
JASMINE WORTHY           59 EDGEBROOK EST APT 8                                                                             CHEEKTOWAGA      NY      14227‐2021
JASMUND, DAVID L         8679 KINGSTON CT                                                                                   YPSILANTI        MI      48198‐3220
JASMUND, DAVID LYNN      8679 KINGSTON CT                                                                                   YPSILANTI        MI      48198‐3220
JASMUND, JEFFERY P       36134 PALMER RD                                                                                    WESTLAND         MI      48186‐4266
JASNA RICHARD (513413)   BRAYTON PURCELL                  PO BOX 6169                                                       NOVATO           CA      94948‐6169
JASNA WENZ
JASNA WENZEL             GAILBACHER STR 73                                                         63743 ASCHAFFENBURG
                                                                                                   GERMANY
JASNA, RICHARD           BRAYTON PURCELL                  PO BOX 6169                                                       NOVATO            CA     94948‐6169
JASO JR, GREGORY         2261 OXLEY DR                                                                                      WATERFORD         MI     48328‐1834
JASO, ISABEL             2338 OSTRUM DR                                                                                     WATERFORD         MI     48328‐1827
JASO, ISABEL             2338 OSTRUM                                                                                        WATERFORD         MI     48328‐1827
JASON
JASON A BLANKENSHIP      P.O. BOX 1264                                                                                      MIAMISBURG       OH      45343
JASON A CARTER           2061 W. WHIPP RD                                                                                   KETTERING        OH      45440‐‐ 30
JASON A CLARK            3645 CLEARVIEW AVE.                                                                                MORAINE          OH      45439
JASON A DAVIS            6801 FIELDS ERTEL RD                                                                               CINCINNATI       OH      45241
JASON A DOYLE            4827 MAYS AVE                                                                                      MORAINE          OH      45439‐2817
JASON A ELLIS            904 RIVERVIEW DR                                                                                   GADSDEN          AL      35903‐1226
JASON A FISHER           8991 WILLOWGATE LN                                                                                 DAYTON           OH      45424‐6416
JASON A GRIFFIN          1226 CASE AVE                                                                                      MIAMISBURG       OH      45342‐2542
JASON A LOMBARDO         56 APPLEGROVE DRIVE                                                                                ROCHESTER        NY      14612‐2830
JASON A LUNSFORD         709 WALDEN WAY                                                                                     SUGARCREEK TWP   OH      45440
JASON A MILLS            85 KATHIE CT                                                                                       GERMANTOWN       OH      45327
JASON A PUGH             424 VANIMAN AVE                                                                                    TROTWOOD         OH      45426‐2551
JASON A REKER            7800 SHAMROCK CT                                                                                   DAYTON           OH      45424
JASON A ROBINSON         1536 HICKORY GLENN DR                                                                              MIAMISBURG       OH      45342‐2012
JASON A SCHNEDER         1818 GUMMER AVE                                                                                    DAYTON           OH      45403
JASON A STEVENS          8045 E DESERT PINE DR                                                                              ANAHEIM          CA      92808‐2414
JASON A WALLACE          2980 SPRING FALLS DR                                                                               DAYTON           OH      45449‐3464
JASON A WALTZ            90 S MERRIMAC ST                                                                                   PONTIAC          MI      48340‐2536
JASON A WELLS            4 CENTER ST A                                                                                      GERMANTOWN       OH      45327
JASON A YOUNGS           530 MILLER AVE                                                                                     ANN ARBOR        MI      48103‐3342
JASON ABRAHAM            45413 CYPRESS CT                                                                                   CANTON           MI      48188‐1091
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Name                              Address1                         Address2                        Address3                  Address4                  City             State   Zip
JASON ADAIR                       6162 ORIOLE DR                                                                                                       FLINT             MI     48506‐1715
JASON ADAMS                       3863 MORGAN ROAD                                                                                                     LAKE ORION        MI     48359‐1914
JASON ADAMS                       2769 GUELPH CT                                                                                                       NORTH BRANCH      MI     48461‐7927
JASON ADDIE                       814 S 132ND ST                                                                                                       BONNER SPRINGS    KS     66012‐9616
JASON ADKINS                      9129 WILLIAMS CENTER CECIL RD                                                                                        SHERWOOD          OH     43556‐9758
JASON ALLEN                       1104 SAYLER DR                                                                                                       SAGINAW           MI     48603‐1560
JASON ALLEN                       1883 HOLLOW CREEK DR SE                                                                                              CALEDONIA         MI     49316‐7805
JASON ALLISON                     42462 LYNDA DR                                                                                                       CLINTON TWP       MI     48038‐3627
JASON ANDERSON V GENERAL MOTORS   ATTN: ELIZABETH C. PRITZKER      GIRARD GIBBS LLP                601 CALIFORNIA ST FL 14                             SAN FRANCISCO     CA     94108‐2819
CORPORATION
JASON ANDREWS
JASON ARVEY                       4910 E TOWNSEND RD                                                                                                   SAINT JOHNS      MI      48879‐8038
JASON ASSOCIATES                  1714 COMMERCE BUILDING                                                                                               FORT WORTH       TX      76102
JASON AUSTIN                      21633 HAYDEN CT                                                                                                      MACOMB           MI      48044‐2283
JASON B AGLIETTI                  131 PEARSON LANE                                                                                                     ROCHESTER        NY      14612‐3537
JASON B BLEVINS                   7650 HINKLE RD                                                                                                       MIDDLETOWN       OH      45042
JASON B BROWN                     7103 COUNTRY WALK DR                                                                                                 FRANKLIN         OH      45005
JASON B DAVIS                     2338 MARTIN AVE                                                                                                      DAYTON           OH      45414
JASON B FEW                       736 RESIDENZ PKWY                                                                                                    KETTERING        OH      45429‐6265
JASON B HARRELSON                 6036 LAY SPRINGS ROAD                                                                                                GADSDEN          AL      35904
JASON B HARRIS                    317 E 5TH ST                                                                                                         FRANKLIN         OH      45005‐2407
JASON B HILL                      658 ROSE BLVD                                                                                                        CAMDEN           OH      45311‐9581
JASON B MOORE                     1073 MARCELLUS                                                                                                       VANDALIA         OH      45377‐1129
JASON B ROBINSON                  1002 CAMBRIDGE STATION RD                                                                                            CENTERVILLE      OH      45458
JASON BAILEY                      305 FRANKLIN LAKE CIR                                                                                                OXFORD           MI      48371‐6708
JASON BAIRD                       C/O JOHN J. KALO, ESQ.           4500 E COURT ST                                                                     BURTON           MI      48509
JASON BAKER                       1612 AUTUMN VIEW LN                                                                                                  HOWELL           MI      48843‐7689
JASON BALCOM                      256 HINDS ST                                                                                                         TONAWANDA        NY      14150‐3708
JASON BALL                        125 LAKELAND DR                                                                                                      SANDUSKY         OH      44870‐5415
JASON BALL                        2212 NE CHIPMAN RD                                                                                                   LEES SUMMIT      MO      64086‐1727
JASON BANKO                       819 FLORIDA AVE                                                                                                      MC DONALD        OH      44437‐1609
JASON BARNETT                     PO BOX 9022                      C/O ZURICH                                                                          WARREN           MI      48090‐9022
JASON BARTAK                      20044 SUNBURY ST                                                                                                     LIVONIA          MI      48152‐2029
JASON BAUMANN                     PO BOX 9022                      C/O GM KOREA                                                                        WARREN           MI      48090‐9022
JASON BAUMGART                    219 BJ BLVD.                                                                                                         BEDFORD          IN      47421
JASON BEAZLEY & ICBC ET AL        C/O BARRY KIRKHAM PC FOR THE     29TH FLOOR THREE BENTALL CENTRE 595 BURRARD ST / PO BOX   VANCOUVER BRITISH
                                  PLAINTIFFS OWEN BIRD LLP                                         49130                     COLUMBIA CANADA V7X 1J5

JASON BEEMAN                      16472 CROSSWIND LN                                                                                                   MACOMB           MI      48042‐5768
JASON BELCHER                     30984 STATE ROUTE 281                                                                                                HOLGATE          OH      43527‐9606
JASON BELL                        92 ROUGH WAY UNIT 2                                                                                                  LEBANON          OH      45036‐8186
JASON BELLINGAR                   5736 COULSON CT                                                                                                      LANSING          MI      48911‐5018
JASON BELLINGER                   8074 FLINTLOCK RD                                                                                                    MOUNT MORRIS     MI      48458‐9345
JASON BENNETT                     48191 PHEASANT ST                                                                                                    CHESTERFIELD     MI      48047‐2292
JASON BIEHL                       475 DEXTER AVE                                                                                                       YPSILANTI        MI      48197‐1958
JASON BIRTHA                      62 DUBOIS CT APT C                                                                                                   ENGLEWOOD        NJ      07631‐3401
JASON BLACK                       909 LONDON DR                                                                                                        LANSING          MI      48917‐4154
JASON BLACK                       807 CAMILLA                                                                                                          IRVING           TX      75039‐3069
JASON BLACK CHEVROLET             JAMES BLACK                      12 E MAIN ST                                                                        SHARPSVILLE      PA      16150‐1237
JASON BLACK CHEVROLET             12 E MAIN ST                                                                                                         SHARPSVILLE      PA      16150‐1237
JASON BLAIR                       21009 SHERMAN AVE                                                                                                    SOUTHFIELD       MI      48033‐6664
JASON BLANTON                     10480 US HIGHWAY 50 W                                                                                                BEDFORD          IN      47421‐8328
JASON BONE                        3153 WILLET AVE                                                                                                      ROCHESTER HLS    MI      48309‐3540
JASON BOOK                        135 E WILSON AVE                                                                                                     GIRARD           OH      44420‐2912
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Name               Address1                        Address2                     Address3   Address4               City              State   Zip
JASON BOWENS       1642 RIVERBANK ST                                                                              LINCOLN PARK       MI     48146‐3838
JASON BOWMAN       29813 LINDA ST                                                                                 LIVONIA            MI     48154‐3721
JASON BOYD         3915 ALEX CT                                                                                   OXFORD             MI     48371‐1456
JASON BOYEA        4408 LAWNWOOD CT                                                                               BURTON             MI     48529‐1923
JASON BOYLAN       BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
JASON BRAUN        594 N ELM ST                                                                                   FOWLER             MI     48835‐9705
JASON BRAUN        4827 LAKESIDE DR                                                                               PERRINTON          MI     48871‐9744
JASON BREEDLOVE    1021 W VINE ST                                                                                 ALBANY             IN     47320‐1528
JASON BRETZLAFF    3143 HARVEY LAKE RD                                                                            HIGHLAND           MI     48356‐1774
JASON BRILL
JASON BROCK        6753 CHILHAM DR                                                                                FLORISSANT        MO      63033‐5114
JASON BROOKS
JASON BROWN        10240 MILL POINTE DRIVE                                                                        GOODRICH           MI     48438‐9312
JASON BROWN        6642 GOLDFINCH LN                                                                              CLARKSTON          MI     48346‐2984
JASON BROWN        PO BOX 442                                                                                     ZANESVILLE         IN     46799‐0442
JASON BROWNING
JASON BRUBAKER
JASON BRYANT       15074 FAIRFIELD ST                                                                             DETROIT            MI     48238‐2131
JASON BUCHANAN     55459 RHINE AVE                                                                                MACOMB             MI     48042‐6189
JASON BUCKNER      18784 BRIGHTON DR                                                                              MACOMB             MI     48042‐6227
JASON BUECHE       9361 SHERIDAN RD                                                                               NEW LOTHROP        MI     48460‐9639
JASON BUGHER       400 MILLWOOD CT                                                                                BOWLING GREEN      KY     42104‐6448
JASON BULSA
JASON BURNETT      1091 CROSS ST                                                                                  OXFORD            MI      48371‐3582
JASON BUXTON       PO BOX 9022                     C/O GM RAYONG                                                  WARREN            MI      48090‐9022
JASON C BOYEA      4408 LAWNWOOD CT                                                                               BURTON            MI      48529‐1923
JASON C CAMPBELL   1832 BURGUNDY LN.                                                                              DAYTON            OH      45459‐3401
JASON C CURTIS     330 SANTA CRUZ DR                                                                              MOSCOW MILLS      MO      63362‐1404
JASON C HALL       26 VIRGINIA AVE                                                                                WASHINGTON        OH      45458
                                                                                                                  TOWNSHIP
JASON C JONES      1327 LUDLOW RD                                                                                 XENIA             OH      45385‐9511
JASON C LUCY       855 WARDS CORNER RD                                                                            LOVELAND          OH      45140
JASON C PATE       6517 WINSDALE ST N                                                                             MINNEAPOLIS       MN      55427
JASON C REINOSO    610 INDIAN TRAIL CT                                                                            SMITHVILLE        MO      64089‐9405
JASON CARDINAL     2415 N LONG LAKE RD                                                                            FENTON            MI      48430‐8839
JASON CARMICHAEL   4357 W MOSS LN                                                                                 BLOOMINGTON       IN      47403‐9040
JASON CARPENTER    4936 OAK PARK DR                                                                               CLARKSTON         MI      48346‐3936
JASON CASAREZ      903 5TH AVE                                                                                    LAKE ODESSA       MI      48849‐1007
JASON CASTLE       1335 DAYTON GERMANTOWN PIKE                                                                    GERMANTOWN        OH      45327‐1149
JASON CAVE         833 MANZANO DR                                                                                 WOLVERINE LAKE    MI      48390‐2032
JASON CHALFANT     405 STILLWELL AVE                                                                              MICHIGAN CTR      MI      49254‐1063
JASON CHURCHILL    701 FRANK ST                                                                                   FLINT             MI      48504‐5207
JASON CICOTTE      22258 OUTER DR                                                                                 DEARBORN          MI      48124‐4255
JASON CLAY         806 PARK RD                                                                                    ANDERSON          IN      46011‐2312
JASON CLAY         115 CRYSTAL CROSSING CT                                                                        WENTZVILLE        MO      63385‐3658
JASON CLINE        3520 NW 70TH ST                                                                                KANSAS CITY       MO      64151‐2000
JASON CLOOS        533 DRIFTWOOD AVE                                                                              ROCHESTER HILLS   MI      48307‐2335
JASON COBURN       224 W YALE AVE                                                                                 PONTIAC           MI      48340‐1866
JASON COE          6378 THISTLE DR                                                                                SAGINAW           MI      48638‐4372
JASON COFFER       3498 HAZELTON AVE                                                                              ROCHESTER HILLS   MI      48307‐5009
JASON COLEMAN      C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                      HOUSTON           TX      77007
                   BOUNDAS LLP
JASON CONNOLLY     5920 COUNTRY TRL                                                                               AUSTINTOWN        OH      44515‐5608
JASON COOK         11320 LAWRENCE HWY                                                                             NASHVILLE         MI      49073‐9101
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Name                                 Address1                      Address2                       Address3                  Address4                  City              State   Zip
JASON COOK                           1704 GEORGETOWN PKWY                                                                                             FENTON             MI     48430‐3235
JASON COOPER                         39 PINE                                                                                                          HIGHLAND           MI     48357‐5037
JASON COOPER                         51000 MOTT RD TRLR 157                                                                                           CANTON             MI     48188‐2147
JASON COOPER
JASON COPELAND AS GUARDIAN AD LITEM ATTN LAMAR B BROWN             C/O ROBINSON CALCAGNIE &       620 NEWPORT CENTER DR                               NEWPORT BEACH      CA     92630
TO LANDON COPELAND                                                 ROBINSON                       SUITE 700
JASON COPELAND, AS GUARDIAN AD LITEM LAMAR B BROWN                 ROBINSON, CALCAGNIE & ROBINSON 620 NEWPORT CENTER DRIVE,                           NEWPORT BEACH      CA     92630
TO AURORA COPELAND                                                                                SUITE 700
JASON COPELAND, INDIVIDUALLY AND AS ESTATE OF HOLLY COPELAND       LAMAR B BROWN                  ROBINSON, CALCAGNIE &     620 NEWPORT CENTER DRIVE, NEWPORT BEACH      CA     92630
SUCCESSOR IN INTEREST TO THE                                                                      ROBINSON                  SUITE 700
JASON CORYELL                        1438 TERNBURY DR                                                                                                 ROCHESTER HILLS   MI      48307‐3536
JASON CRONKRIGHT                     5108 N VASSAR RD                                                                                                 FLINT             MI      48506‐1753
JASON CROSBY                         868 E THOMAS L PKWY                                                                                              LANSING           MI      48917‐2116
JASON CRUM                           6730 MEANDER RUN                                                                                                 AUSTINTOWN        OH      44515‐2134
JASON CUMMINGS                       1391 HAGADORN ROAD                                                                                               MASON             MI      48854‐9338
JASON CURBOY                         11309 W 64TH TER APT 914                                                                                         SHAWNEE           KS      66203‐3387
JASON CURTIS                         330 SANTA CRUZ DR                                                                                                MOSCOW MILLS      MO      63362‐1404
JASON CUTTING                        1651 NEWGATE LN                                                                                                  HOWELL            MI      48843‐7107
JASON D . CICHOCKI D                 345 DICK RD                                                                                                      DEPEW             NY      14043
JASON D BOLEN                        6219 LAKE DR                                                                                                     YPSILANTI         MI      48197‐7052
JASON D BORST                        402 DELLWOOD ST                                                                                                  TILTON            IL      61833‐7532
JASON D CANTRELL                     941 ASHCREEK DR.                                                                                                 CENTERVILLE       OH      45458‐3334
JASON D CHAMBERS                     516 TRINITY MARSH                                                                                                COLUMBUS          OH      43228‐8910
JASON D COLLINS                      217 W 5TH ST                                                                                                     TILTON            IL      61833‐7429
JASON D HILL                         10293 BATH RD                                                                                                    BYRON             MI      48418‐9701
JASON D HORNADAY                     R.R.#2 BOX 231                                                                                                   MIDDLETOWN        IN      47356‐9802
JASON D LOTRIDGE                     1200 CURWOOD RD                                                                                                  SAGINAW           MI      48609‐5224
JASON D MCINTURFF                    4254 DAYTON‐XENIA RD                                                                                             BEAVERCREEK       OH      45432‐1802
JASON D MICHAEL                      341 REEDY CIRCLE                                                                                                 BOAZ              AL      35957‐2146
JASON D MOYER                        3850 RANDEE LN                                                                                                   SPRINGFIELD       OH      45502
JASON D WACKLER                      11820 HORATIO RD                                                                                                 BRADFORD          OH      45308‐9709
JASON D WINFIELD                     102 SHADYBROOK DR                                                                                                CENTERVILLE       OH      45459
JASON D WOLFINGER                    590 FAIRFIELD AVE NE                                                                                             WARREN            OH      44483‐4904
JASON D YANCEY                       11 VICKERS PL                                                                                                    W CARROLLTON      OH      45449
JASON DALEY                          2056 ARBOR MEADOWS DR                                                                                            DEWITT            MI      48820‐8842
JASON DAVIS                          9938 N 850 W                                                                                                     DALEVILLE         IN      47334
JASON DAVIS                          1882 LIVE OAK TRL                                                                                                WILLIAMSTON       MI      48895‐9500
JASON DAVIS                          4319 N 22                                                                                                        MILWAUKEE         WI      53209
JASON DAVIS                          448 CATHERINE ST                                                                                                 YOUNGSTOWN        OH      44505‐1508
JASON DELONG                         PO BOX 476                                                                                                       ELSIE             MI      48831‐0476
JASON DELOR                          2450 MARX AVE                                                                                                    WATERFORD         MI      48328‐3234
JASON DELOSSANTOS
JASON DICK                           4261 STABLE PATH DR                                                                                              MAUMEE            OH      43537‐9173
JASON DICKSON                        573 CANDLELITE CT                                                                                                FORT WAYNE        IN      46807‐3601
JASON DIEHL                          41722 CLAYTON ST                                                                                                 CLINTON TWP       MI      48038‐1832
JASON DITMAN                         3230 DIETZ RD                                                                                                    WILLIAMSTON       MI      48895‐9516
JASON DOBSON                         PO BOX 9022                   C/O GM KOREA                                                                       WARREN            MI      48090‐9022
JASON DOERR                          2428 PARK ST                                                                                                     LANSING           MI      48917‐4424
JASON DOUGHERTY
JASON DREW                           6511 WASHBURN RD                                                                                                 VASSAR             MI     48768‐9532
JASON DREWS                          125 GIRARD AVE                                                                                                   ROYAL OAK          MI     48073‐3425
JASON DUBOIS                         5166 HESS RD                                                                                                     VASSAR             MI     48768‐9263
JASON DUFFY WALLACE
JASON DUMAIS                         4265 BUDD RD                                                                                                     LOCKPORT           NY     14094‐9711
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Name                        Address1                      Address2               Address3          Address4               City               State   Zip
JASON DUMAS                 1648 DANCER DR                                                                                ROCHESTER HILLS     MI     48307‐3311
JASON DUNCAN                159 W FLORIDA AVE                                                                             YOUNGSTOWN          OH     44507‐1604
JASON DURM                  1925 N B ST                                                                                   ELMWOOD             IN     46035‐1745
JASON DYE                   1475 SUNNY ESTATES DR                                                                         NILES               OH     44446‐4148
JASON E BARKER              4050 GATEWAY DR                                                                               ENGLEWOOD           OH     45322
JASON E CASTLE              1335 GERMANTOWN DAYTON PIKE                                                                   GERMANTOWN          OH     45327
JASON E ECKERT              160 MAPLE ST APT 72                                                                           VANDALIA            OH     45377‐2332
JASON E FRY                 2016 WILDING AVE                                                                              DAYTON              OH     45414
JASON E HARDIN              2067 LOEB DR                                                                                  LEBANON             OH     45036
JASON E HOLT                1263 GRAYSTONE DR.                                                                            TROTWOOD            OH     45426
JASON E HOPPER              11039 REYNOLDS RD                                                                             LEWISBURG           OH     45338
JASON E INK                 1171 E HANLEY RD                                                                              MANSFIELD           OH     44903‐9454
JASON E KEAGY               2635 BLANCHARD AVE                                                                            MORAINE             OH     45439‐2131
JASON E LANDIS              127 OVERBROOK DR.                                                                             MONROE              OH     45050
JASON E MAXSON              1304 N BIRNEY ST                                                                              BAY CITY            MI     48708‐6116
JASON E NEWMAN              1617 LYNNFIELD DR                                                                             DAYTON              OH     45429
JASON E NUTTER              10753 AMITY ROAD                                                                              BROOKVILLE          OH     45309‐9322
JASON E PERRY               2953 JAYSVILLE ST JOHNS RD                                                                    ARCANUM             OH     45304
JASON E PRUITT              102 S RANDOLPH ST                                                                             UNION               OH     45322‐3347
JASON E PUZIO               23391 DEANHURST                                                                               ST CLAIR SHRS       MI     48035‐4305
JASON E RIHM                8521 ADAMS RD                                                                                 HUBER HEIGHTS       OH     45424
JASON E SEWARD              359 FLINTRIDGE DR                                                                             FAIRBORN            OH     45324
JASON E SMITH               4601 INDIANA AVE                                                                              FORT WAYNE          IN     46807‐2906
JASON E WALTON              617 COLERIDGE AVE                                                                             DAYTON              OH     45426‐2533
JASON E ZARN                109 E 8TH ST                                                                                  TILTON               IL    61833‐7809
JASON EADS                  1956 W 375 N                                                                                  ANDERSON            IN     46011‐9221
JASON ELLIOTT               5624 SPRING ST                                                                                ALVARADO            TX     76009‐6360
JASON ELWARTOSKI            11180 SUMMERFIELD RD                                                                          PETERSBURG          MI     49270‐9406
JASON ELY AND ANDREW DODD   C/O STEVENSONS LLP            144 FRONT ST STE 400   TORONTO ONTARIO   M5J 2L7
JASON EMINGER               6018 E 400 S                                                                                  LAOTTO             IN      46763‐9772
JASON EPLING                RR 1 BOX 151                                                                                  HINTON             WV      25951‐9719
JASON EVANS                 41821 KENTVALE DR                                                                             CLINTON TOWNSHIP   MI      48038‐1980

JASON EVERY                 3062 EDEN RD                                                                                  LESLIE             MI      49251‐9390
JASON EWALD                 2240 COMPTON ST                                                                               SAGINAW            MI      48602‐3534
JASON F JORDAN              8237 RHINEWAY                                                                                 CENTERVILLE        OH      45458‐3013
JASON F MILLER              1695 S DIAMOND MILL RD                                                                        NEW LEBANON        OH      45345
JASON F WALKER              1605 MARSANNE TER NW 30                                                                       KENNESAW           GA      30152
JASON FEENEY                23006 MASTICK RD APT 102                                                                      NORTH OLMSTED      OH      44070‐3702
JASON FESSENDEN             2514 SHERER AVE.                                                                              DAYTON             OH      45414
JASON FISCHER               34442 MUNGER STREET                                                                           LIVONIA            MI      48154‐2574
JASON FISHER                363 BARTLETTSVILLE RD                                                                         BEDFORD            IN      47421‐7948
JASON FOCO                  2341 E CODY ESTEY RD                                                                          PINCONNING         MI      48650‐9608
JASON FOGELBERG             2172 FOX HILL DR APT 2                                                                        GRAND BLANC        MI      48439‐5209
JASON FORD                  2724W, 300 N                                                                                  BLUFFTON           IN      46714
JASON FRIEDMAN              3335 LAKE SEMINOLE PL                                                                         BUFORD             GA      30519‐1300
JASON FUDALA                31315 TAMARACK ST APT 1213                                                                    WIXOM              MI      48393‐2520
JASON FULK                  19209 E 34TH TER S                                                                            INDEPENDENCE       MO      64057
JASON FULLEN                1300 S COUNTY ROAD 900 W                                                                      DALEVILLE          IN      47334‐9348
JASON G FRISCH              1062 SHEPHERDS WAY                                                                            CLARKSVILLE        OH      45113
JASON G HOPSON              PO BOX 26184                                                                                  DAYTON             OH      45426
JASON G ROGERS              2770 W DEVONSHIRE AVE         APT M3                                                          HEMET              CA      92545‐5064
JASON G ROSE                305 CRANEWOOD DR                                                                              TRENTON            OH      45067
JASON G WYATT               2906 W FLORENCE AVE APT #1                                                                    LOS ANGELES        CA      90043‐5137
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Name                   Address1                         Address2           Address3         Address4               City               State Zip
JASON GALLOWAY         4182 COOLIDGE AVE                                                                           LINCOLN PARK        MI 48146‐4028
JASON GAMMO            776 GRANDVIEW DR                                                                            COMMERCE            MI 48390‐5931
                                                                                                                   TOWNSHIP
JASON GARRISON         PO BOX 391                                                                                  RAYMORE            MO   64083‐0391
JASON GATICA           6161 BRIGGS AVE                                                                             BURTON             MI   48509‐2331
JASON GEIST            30804 PALMER ST                                                                             MADISON HTS        MI   48071‐5119
JASON GFELLER          5781 WEAVER RD                                                                              BERLIN CENTER      OH   44401‐8722
JASON GLASS            13‐11 JACKSON AVENUE             5B                                                         LONG ISLAND CITY   NY   11101
JASON GLOGOWSKI        32164 DOVER ST                                                                              GARDEN CITY        MI   48135‐1748
JASON GOLD             16 STONEHENGE RD                                                                            GREAT NECK         NY   11023
JASON GOODMAN          1200 S PARK AVE                                                                             ALEXANDRIA         IN   46001‐2722
JASON GRAHAM           4246 MULLIKEN RD                                                                            CHARLOTTE          MI   48813‐8810
JASON GRAVENMIER       367 S CHRISTINE                                                                             WESTLAND           MI   48186‐8403
JASON GREENE           7000 GREENLEAF AVE                                                                          CLEVELAND          OH   44130‐5017
JASON GREENWAY         8251 DARTMOUTH DR                                                                           WARREN             MI   48093‐2814
JASON GRILL            4400 BADGER RD                                                                              LYONS              MI   48851‐9758
JASON GRIMALDI         PO BOX 396                                                                                  GIRARD             OH   44420‐0396
JASON GRIMES           8500 RHODES RD                                                                              GOODRICH           MI   48438‐9788
JASON GROOT            7677 DEER TRACK RUN                                                                         HUDSONVILLE        MI   49426‐9753
JASON GUENZEL          2643 GENERAL MOTORS RD                                                                      MILFORD            MI   48380‐3807
JASON H. BRAJER, M.D   PO BOX 199                                                                                  RIDLEY PARK        PA   19078‐0199
JASON HAFER            11209 HOGAN RD                                                                              GAINES             MI   48436‐9729
JASON HAIMERL          6 TUCKAHOE COURT                                                                            FAIRFIELD          OH   45014
JASON HAKES            725 CLOVERLEAF CT                                                                           MANSFIELD          OH   44904‐1805
JASON HALL             280 RIVARD BOULEVARD                                                                        WATERFORD          MI   48327‐2659
JASON HALL             6310 EWALT RD                                                                               IMLAY CITY         MI   48444‐8831
JASON HALL             24571 SENECA ST                                                                             OAK PARK           MI   48237‐1777
JASON HALVERSON        8183 YOUNGSTOWN KINGSVILLE RD                                                               FARMDALE           OH   44417‐9749
JASON HAMANN
JASON HAMBURGER        209 BUCHANAN CT 1                                                                           DOWNINGTOWN        PA   19335
JASON HAMILTON         5025 N LISTER AVE                                                                           KANSAS CITY        MO   64119‐3759
JASON HARBAUGH         1003 PERSIMMON DR                                                                           TROY               MO   63379‐3213
JASON HARLEY           115 CROSSING CT                                                                             WHITMORE LAKE      MI   48189‐9489
JASON HARNS            4426 YARROW DR                                                                              HOLT               MI   48842‐8781
JASON HARPER           4518 EVERGREEN DRIVE                                                                        VADNAIS HEIGHTS    MN   55127
JASON HARRIS           7329 CRABAPPLE CV                                                                           WHITEHOUSE         OH   43571‐9841
JASON HARRIS           2406 JUDITH CT                                                                              MIDLAND            MI   48642‐4751
JASON HARRISON         3133 E M H TOWNLINE RD                                                                      MILTON             WI   53563‐9601
JASON HART             1515 GEORGETOWN PARKWAY                                                                     FENTON             MI   48430‐3296
JASON HAYSLIP          78 EASTLAND AVE                                                                             ROCHESTER          NY   14618‐1030
JASON HEATH            106 W 7TH ST APT B                                                                          TILTON             IL   61833‐7844
JASON HECKERT
JASON HEITMAN          398 ARBOR DR                                                                                CARMEL             IN   46032‐5813
JASON HELFRICH         1103 PARK CT                                                                                GRAND LEDGE        MI   48837‐2219
JASON HEMBREE          2125 PARK SPRINGS CIR APT 1051                                                              ARLINGTON          TX   76013‐6820
JASON HENRY            173 BLUE SPRUCE LN                                                                          FLINT              MI   48506‐5305
JASON HENRY LITTLE     31 BURCHWOOD ST.                                                                            TROTWOOD           OH   45426
JASON HENSON           68 EASTERN AVE                                                                              TOLEDO             OH   43609‐2609
JASON HERRELL          1370 SHERMAN AVE                                                                            LEAVENWORTH        KS   66048‐2380
JASON HETHERINGTON     507 DAISY DR                                                                                SAINT JOHNS        MI   48879‐8247
JASON HILL             1208 LEE LN                                                                                 RAYMORE            MO   64083‐9013
JASON HILL             10293 BATH RD                                                                               BYRON              MI   48418‐9701
JASON HIVELY           672 MULBERRY AVE                                                                            SELMER             TN   38375‐3241
JASON HOBSON           11305 VAN NATTER RD                                                                         OTISVILLE          MI   48463‐9723
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Name                  Address1                        Address2                     Address3                    Address4               City              State   Zip
JASON HOFFMAN         12732 ROAD 16                                                                                                   OTTAWA             OH     45875‐9222
JASON HOLDING INC I   PO BOX 120                                                                                                      OLD FORT           NC     28762
JASON HOLDING INC I   205 REPUBLIC ST                                                                                                 NORWALK            OH     44857‐1157
JASON HOLDING INC I   405 INDUSTRIAL PKWY                                                                                             NORWALK            OH     44857‐3101
JASON HOLDING INC I   411 E WISCONSIN AVE STE 2120                                                                                    MILWAUKEE          WI     53202‐4467
JASON HOLDING INC I   BILL LEEDER                     JANESVILLE ACOUSTICS DIV.    56 ST. MARYS ST                                    GREENVILLE         SC     29615
JASON HOLDING INC I   ELANIA DILL                     2700 PATTERSON AVE SE                                                           MUNDELEIN           IL
JASON HOLDING INC I   TIM DEADY                       ADVANCE WIRE PRODUCTS INC.   201 S SWIFT RD.                                    TROY               MI     48084
JASON HOLDING INC I   WILLIAM LEEDER X223             405 INDUSTRIAL PKWY          JANESVILLE ACOUSTICS DIV.                          NORWALK            OH     44857‐3101

JASON HOLDING INC I   WILLIAM LEEDER XT223            JANESVILLE ACOUSTICS DIV     205 REPULIC                                        IMLAY CITY         MI     48444
JASON HOLDWICK        3666 WASHINGTON ST                                                                                              SNOVER             MI     48472‐9701
JASON HOLLIS          37165 ELIZABETH LN                                                                                              NEW BOSTON         MI     48164‐9672
JASON HOLM
JASON HOOTMAN         119 EAST SMITH STREET                                                                                           HICKSVILLE        OH      43526‐1110
JASON HOPPE           2839 CEDAR LN                                                                                                   BAY CITY          MI      48706‐2612
JASON HOPPER          11039 REYNOLDS RD                                                                                               LEWISBURG         OH      45338‐9724
JASON HOST            315 COLLINDALE AVE SW                                                                                           WALKER            MI      49534‐5820
JASON HOUT            26305 COOLIDGE HWY                                                                                              OAK PARK          MI      48237‐1112
JASON HUBBS           30732 PIERCE ST                                                                                                 GARDEN CITY       MI      48135‐1452
JASON HUCKEBY         PO BOX 258                                                                                                      SULPHUR SPRINGS   IN      47388‐0258
JASON HUDSON          1805 OAKWOOD DR                                                                                                 ANDERSON          IN      46011‐1032
JASON HULBURT         7600 DAUS RD                                                                                                    CASS CITY         MI      48726‐9714
JASON HUMITZ          1867 CLOVER RIDGE DR                                                                                            HOWELL            MI      48843‐8013
JASON HUNT            1204 STREAMWOOD DR N APT 1B                                                                                     LANSING           MI      48917‐8909
JASON HUSBAND         2187 TAMARACK DR                                                                                                OKEMOS            MI      48854‐3911
JASON I BLAKE         1005 ANSEL DR                                                                                                   KETTERING         OH      45419‐2302
JASON INC             PO BOX 726                                                                                                      OLD FORT          NC      28762‐7758
JASON INC             205 REPUBLIC ST                                                                                                 NORWALK           OH      44857‐1157
JASON INC             405 INDUSTRIAL PKWY                                                                                             NORWALK           OH      44857‐3101
JASON INC.            BILL LEEDER                     JANESVILLE ACOUSTICS DIV.    56 ST. MARYS ST                                    GREENVILLE        SC      29615
JASON INC.            WILLIAM LEEDER X223             405 INDUSTRIAL PKWY          JANESVILLE ACOUSTICS DIV.                          NORWALK           OH      44857‐3101

JASON INC.            WILLIAM LEEDER X223             JANESVILLE ACOUSTICS DIV.    405 INDUSTRIAL PARKWAY                             SALTSBURG         PA      15681
JASON INC/ROCHESTER   2573 S. ROCHESTER               SUITE 100                                                                       ROCHESTER HILLS   MI      48307
JASON INK             1171 E HANLEY RD                                                                                                MANSFIELD         OH      44903‐9454
JASON J EGLOFF        80 WESCOTT RD.                                                                                                  HILLSBOROUGH      NJ      08844
JASON J KLINK         224 BELEY AVE                                                                                                   SYRACUSE          NY      13211‐1528
JASON J PALO          4800 PALMYRA RD SW                                                                                              WARREN            OH      44481
JASON J PARKS         4826 TENSHAW DR                                                                                                 DAYTON            OH      45418‐1932
JASON J SCHIELY       126 FIG ST                                                                                                      FAIRBORN          OH      45324‐3628
JASON JABLONSKI       4112 4TH ST                                                                                                     WAYNE             MI      48184‐2129
JASON JACKSON
JASON JAKOVICH        124 NANTERRE ST                                                                                                 DANVILLE          CA      94506‐1939
JASON JANISSE         33530 PARDO ST                                                                                                  GARDEN CITY       MI      48135‐1168
JASON JENSEN          3336 S COUNTY ROAD H                                                                                            ORFORDVILLE       WI      53576‐9439
JASON JEX             6261 CHARLOTTEVILLE RD                                                                                          NEWFANE           NY      14108‐9709
JASON JOHNSON         4913 BOLERO CT                                                                                                  FORT WORTH        TX      76135‐2546
JASON JOHNSON         3408 BOILING SPRINGS RD                                                                                         BOWLING GREEN     KY      42101‐8453
JASON JONES           358 W RACINE ST                                                                                                 JANESVILLE        WI      53545
JASON JOUSMA          1024 NORTH PARK                                                                                                 HIGHLAND          MI      48356‐2628
JASON JOYE            46916 FOX RUN DR                                                                                                MACOMB            MI      48044‐3466
JASON JURMANN         12741 KING ST                                                                                                   OVERLAND PARK     KS      66213‐4447
JASON K DURHAM        2701 ODIN CT                                                                                                    DAYTON            OH      45439
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Name                  Address1                         Address2            Address3         Address4               City                State   Zip
JASON K KADVAN        4279 LAURA AVE                                                                               VIENNA               OH     44473‐9523
JASON K RIDDLE        3350 FLEETWOOD DR                                                                            JACKSON              MS     39212
JASON K TACKETT       438 N FOURTH ST                                                                              TIPP CITY            OH     45371
JASON K TIPTON        31 LISA DR                                                                                   GERMANTOWN           OH     45327
JASON K WHITE         4331 FOXTON CT                                                                               DAYTON               OH     45414
JASON K WORLEY        187 FINLAND DR                                                                               EATON                OH     45320‐2735
JASON KADY            5638 GIBBING RD                                                                              SHELBY TOWNSHIP      MI     48317‐1200
JASON KAGY            5229 NORTH WAYNE AVENUE                                                                      KANSAS CITY          MO     64118‐5751
JASON KAGY            5229 N WAYNE AVE                                                                             KANSAS CITY          MO     64118‐5751
JASON KARPUSHENKOFF   6508 CRANBERRY LAKE RD                                                                       CLARKSTON            MI     48348‐4519
JASON KAUFFMAN        308 VIRGINIA RD                                                                              EXCELSIOR SPRINGS    MO     64024‐1227

JASON KECK            3330 BATH RD                                                                                 PERRY                MI     48872‐9190
JASON KEESLING        109 S LOCKE ST                                                                               KOKOMO               IN     46901‐4817
JASON KELLEY          2273 SCENIC HOLLOW DR                                                                        GRAND BLANC          MI     48439‐2548
JASON KELLY           W5809 SKIPPERS LANE                                                                          APPLETON             WI     54915‐8771
JASON KENNEDY         35651 BUXTON DR                                                                              STERLING HEIGHTS     MI     48310‐4799
JASON KERLEY
JASON KEY             8084 W STATE ROAD 128                                                                        ELWOOD              IN      46036‐9056
JASON KIRKPATRICK     224 W JEFFERSON ST                                                                           FRANKENMUTH         MI      48734‐1806
JASON KLINE           3076 TALON CIR                                                                               LAKE ORION          MI      48360‐2608
JASON KOEBEL          25 JONATHAN LANE                                                                             YOUNGSTOWN          OH      44511
JASON KOLK            11364 DIANA CT                                                                               WHITE LAKE          MI      48386‐3663
JASON KOLKA           9266 LANGE RD                                                                                BIRCH RUN           MI      48415‐8470
JASON KOTAS           19372 NORWAY PINE DRIVE                                                                      MACOMB              MI      48044‐6920
JASON KUBICKI         5908 W 153RD TER                                                                             OVERLAND PARK       KS      66223‐3642
JASON KULSZAN         2631 CLAYTON ARNOLD RD                                                                       THOMPSONS           TN      37179‐5260
                                                                                                                   STATION
JASON L ADKINS        6191 SPIRES DR                                                                               LOVELAND            OH      45140
JASON L BARBOZA       130 CRICKETT LANE                                                                            CORTLAND            OH      44410‐1212
JASON L BEIREIS       618 E. MAIN ST                                                                               BRADFORD            OH      45308‐1118
JASON L BLYTHE        1394 DARREL RD                                                                               TOLEDO              OH      43612‐4212
JASON L BOEHMER       22 W OAK ST                                                                                  W ALEXANDRIA        OH      45381‐1111
JASON L BOOKER        3220 YOSEMITE DR                                                                             LAKE ORION          MI      48360‐1034
JASON L BRADFORD      7761 REDMAPLE CT                                                                             HUBER HEIGHTS       OH      45424‐1920
JASON L CAUDILL       1849 N LAKEMAN DR                                                                            BELLBROOK           OH      45305‐1207
JASON L COOK          2184 ALPENA AVE                                                                              DAYTON              OH      45406‐2634
JASON L DANIEL        3383 TURTLE SHELL DR                                                                         DAYTON              OH      45414‐1780
JASON L FOX           701 1/2KERCHER ST                                                                            MIAMISBURG          OH      45342
JASON L GRUBBS        136 S PALM AVE                                                                               VIRGINIA BEACH      VA      23452
JASON L KNOTTS        74 TACKETT DR                                                                                XENIA               OH      45385
JASON L MCCOMIS       1303 S FAYETTE ST                                                                            WSHNGTN CT HS       OH      43160‐2555
JASON L PELATH        190 W CLARKSTON RD                                                                           LAKE ORION          MI      48362‐2808
JASON L RALEY         1800 PIEDMONT AVENUE                                                                         GADSDEN             AL      35904
JASON L SIMONTON      56 GLORIA AVE                                                                                NEW LEBANON         OH      45345
JASON L SMITH         1221 BARTLEY RD.                                                                             DAYTON              OH      45414
JASON L SOUTHERN      1083 E GRAND BLVD                                                                            FLINT               MI      48505‐1505
JASON L ST PIERRE     669 W HIGH                                                                                   WAYNESVILLE         OH      45068‐9792
JASON L STEPP         3732 MARY ANN DR                                                                             LEBANON             OH      45036
JASON L WARD          4828 LAUDERDALE DR                                                                           MORAINE             OH      45439‐2802
JASON L WARRELL       901 GARDNER RD                                                                               KETTERING           OH      45429
JASON L WILSON        4980 DIALTON RD                                                                              ST PARIS            OH      43072
JASON L ZELLERS       55 SPRINGWOOD DR                                                                             SPRINGBORO          OH      45066
JASON LA CHANCE
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Name                  Address1                      Address2                  Address3                   Address4                 City            State   Zip
JASON LAMBRECHT       3915 E BRIGHTON CRST                                                                                        BLOOMINGTON      IN     47401‐8030
JASON LAMPHIER        3463 S BELSAY RD                                                                                            BURTON           MI     48519‐1680
JASON LANG            234 BLANCH MANOR ST                                                                                         WHITE LAKE       MI     48386‐1909
JASON LAPOINTE        40634 BUTTERNUT RIDGE RD                                                                                    ELYRIA           OH     44035‐7914
JASON LAUER           5156 N 750 W                                                                                                ANDREWS          IN     46702‐9572
JASON LAWS            29841 ROBERT DR                                                                                             LIVONIA          MI     48150‐3045
JASON LEATHERMAN      1520 S CLINTON ST                                                                                           DEFIANCE         OH     43512‐3216
JASON LEDGERWOOD      503 NW ORION DR                                                                                             GRAIN VALLEY     MO     64029‐7708
JASON LEE             1735 WARNER AVE                                                                                             MINERAL RIDGE    OH     44440‐9551
JASON LEE
JASON LEEN            ATTN: E TODD TRACY            THE TRACY FIRM            5473 BLAIR RD, SUITE 200                            DALLAS          TX      75231
JASON LEEPER          458 BRUNSTETTER RD SW                                                                                       WARREN          OH      44481‐9639
JASON LEIST           628 E OXHILL DR                                                                                             WHITE LAKE      MI      48386‐2338
JASON LEITMAN         340 ROGER‐PILON               DLOLLARD DES ORMEAUX QC   H9G 2W2
JASON LENGER          15343 FOLLOW DR                                                                                             NOBLESVILLE     IN      46060‐7942
JASON LEON            3004 OAK PARK AVE                                                                                           CLEVELAND       OH      44109‐5468
JASON LEWIS           PO BOX 421                    1216 KRISTINA DR                                                              CHARLOTTE       MI      48813‐0421
JASON LEWIS           2800 ARGELLA AVE                                                                                            DAYTON          OH      45410‐3107
JASON LINE LLC        109 REBEKAH LN                                                                                              TROUTMAN        NC      28166‐7721
JASON LINES           112 S HAVANA ST                                                                                             BUTLER          MO      64730‐2070
JASON LIPKA           7227 BRITTWOOD LN                                                                                           FLINT           MI      48507‐4623
JASON LOCKHART        2010 HARDWOOD DR                                                                                            DAVISON         MI      48423‐9517
JASON LONG            1704 GRIFFIN LN                                                                                             MANSFIELD       TX      76063‐8560
JASON LOTRIDGE        1200 CURWOOD RD                                                                                             SAGINAW         MI      48609‐5224
JASON LOUDENBECK      4861 S CROSSINGS                                                                                            SAGINAW         MI      48603‐8709
JASON LUCIER          12142 APPLETREE CRESCENT                                                           TECUMSEH ON CANADA N8N
                                                                                                         4A5
JASON LUCY            855 WARDS CORNER RD                                                                                         LOVELAND        OH      45140‐5926
JASON LUPIENSKI       106 LEGACY OAK TRL                                                                                          PITTSFORD       NY      14534‐4658
JASON M COCHRAN DO    2815 S PENNSYLVANIA AVE                                                                                     LANSING         MI      48910
JASON M COLLINS       6334 SIENA ST                                                                                               CENTERVILLE     OH      45459
JASON M CUMMINGS      4443 SAINT JAMES AVE                                                                                        DAYTON          OH      45406‐‐ 23
JASON M DIETZ         8437 ORA LN                                                                                                 MIDDLETOWN      OH      45042
JASON M FEARING       2953 W FACTORY RD                                                                                           SPRINGBORO      OH      45066‐7446
JASON M FRAZIER       1233 DAVIS ST                                                                                               YPSILANTI       MI      48198‐5907
JASON M GRANT         9691 CAIN DR. N.E.                                                                                          WARREN          OH      44484‐1719
JASON M JACKSON       6541 MANNING RD                                                                                             MIAMISBURG      OH      45342
JASON M KLOPF         4330 MEADOWCROFT ROAD                                                                                       KETTERING       OH      45429‐5129
JASON M MYERS         4661 NOWAK AVE                                                                                              HUBER HEIGHTS   OH      45424
JASON M PRESLEY       304 HOLLINGSWORTH AVE APT.O                                                                                 RAINBOW CITY    AL      35906‐3147
JASON M RANNEBARGER   ATTN: E TODD TRACY            THE TRACY FIRM            5473 BLAIR RD, SUITE 200                            DALLAS          TX      75231
JASON M SCOTT         1539 GILSEY AVE                                                                                             DAYTON          OH      45418
JASON M SHANKS        405 BRENTWOOD ST                                                                                            TILTON          IL      61833‐7522
JASON M SHIRLEY       4145 COLEMERE CIR                                                                                           DAYTON          OH      45415‐‐ 19
JASON M SHOPE         6815 PABLO DR                                                                                               HUBER HEIGHTS   OH      45424
JASON M SPENCER       249 KINSEY RD APT A15                                                                                       XENIA           OH      45385
JASON M STANLEY       5221 STONERIDGE DR                                                                                          SPRINGFIELD     OH      45503
JASON M WAIT          335 MITCHELL AVE                                                                                            MATTYDALE       NY      13211‐1741
JASON M WARZECHA      22 W BETHUNE ST                                                                                             DETROIT         MI      48202‐2707
JASON M WOODYARD      721 1/2MCKAIG                                                                                               TROY            OH      45373‐2949
JASON MAC DONALD      171 SAGEWOOD TER                                                                                            WILLIAMSVILLE   NY      14221‐4717
JASON MACCO           5064 MEADOW CREST CIR                                                                                       HOLLY           MI      48442‐9341
JASON MAKLEY          5311 BROWN RD                                                                                               LAKE ODESSA     MI      48849‐9609
JASON MALLORY         11035 ARDEN ST                                                                                              LIVONIA         MI      48150‐2876
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Name                 Address1                        Address2            Address3         Address4               City                 State   Zip
JASON MANDEL         1121 CADIZ CT                                                                               OXNARD                CA     93035‐2610
JASON MARKOVICH      7352 WEST BLVD APT 103                                                                      YOUNGSTOWN            OH     44512‐5212
JASON MARTINEZ       2011 COE CT                                                                                 PERRYSBURG            OH     43551‐5601
JASON MARVICSIN      8807 ANTIOCH RD                                                                             OVERLAND PARK         KS     66212‐3653
JASON MASSE          4183 CHARTER OAK DR                                                                         FLINT                 MI     48507‐5551
JASON MATTHAI        805 RAMBIN RD                                                                               STONEWALL             LA     71078‐4407
JASON MAYOL          42660 SAVAGE RD                                                                             BELLEVILLE            MI     48111‐3096
JASON MCBRIDE        2954 ALOUETTE DR APT 1215                                                                   GRAND PRAIRIE         TX     75052‐8156
JASON MCBRIDE        6067 CONCORD PASS                                                                           FLINT                 MI     48506‐1642
JASON MCCARTY        9808 ALLEGHENY DR                                                                           CINCINNATI            OH     45251‐1612
JASON MCCARTY        9995 DELORES DR APT G                                                                       STREETSBORO           OH     44241‐4822
JASON MCCOOL
JASON MCINTYRE       109 ROYAL CT                                                                                TULLAHOMA            TN      37388‐4847
JASON MCKELVEY       6220 SAPPHIRE CT                                                                            GRAND BLANC          MI      48439‐7807
JASON MELDRUM        556 HARROW COURT 10                                                                         ROCHESTER HILLS      MI      48307
JASON MELECOSKY      814 INVERNESS DR                                                                            OXFORD               MI      48371‐6507
JASON MEREDITH       676 LAKENGREN DR                                                                            EATON                OH      45320‐2664
JASON MICHAEL        2047 E 550 S                                                                                ANDERSON             IN      46017‐9552
JASON MICHAEL KATZ   25505 W 12 MILE RD STE 2650                                                                 SOUTHFIELD           MI      48034‐8326
JASON MICK           2850 HEMMETER RD                                                                            SAGINAW              MI      48603‐3025
JASON MICKUS         8217 E COLDWATER RD                                                                         DAVISON              MI      48423‐8965
JASON MIHALKO        25134 HAZELNUT CT                                                                           GROSSE ILE           MI      48138‐2314
JASON MILLER         6163 PINE CONE CT S             SOUTH                                                       BRIGHTON             MI      48116‐5163
JASON MILLER         21715 COLONY ST                                                                             SAINT CLAIR SHORES   MI      48080‐2913

JASON MILLER         1600 AIRPORT DR                                                                             MECHANICSBURG        PA      17050‐2101
JASON MILLS          85 KATHIE CT                                                                                GERMANTOWN           OH      45327‐8326
JASON MOORE          PO BOX 9022                     C/O GM KOREA                                                WARREN               MI      48090‐9022
JASON MOORE          6024 ALLENDALE COURT                                                                        FORT WAYNE           IN      46809‐2127
JASON MOORE          215 N RIDGE RD W                                                                            LORAIN               OH      44053‐3777
JASON MORAD
JASON MOREHART       149 AARON CT                                                                                TROY                 MO      63379‐4603
JASON MORSE          2515 E DODGE RD                                                                             CLIO                 MI      48420‐9748
JASON MORSE          224 INGRAHAM ST                                                                             BAY CITY             MI      48708‐8352
JASON MOTEN          11303 ALFORD AVE                                                                            NORTHPORT            AL      35475‐4528
JASON MUDD           22439 EUCLID ST                                                                             SAINT CLAIR SHORES   MI      48082‐2445

JASON MUENCHOW       1509 LA SALLE CT                                                                            JANESVILLE            WI     53546‐2456
JASON MULLINS        2916 N HUGHES RD                                                                            HOWELL                MI     48855‐6825
JASON MULLINS
JASON MURPHY         2760 E WALTON BLVD                                                                          AUBURN HILLS         MI      48326‐1962
JASON MUSSER         1906 CARTER RIDGE CT                                                                        AUBURN               MI      48611‐8524
JASON MYERS          2553 SHANNON LN                                                                             KOKOMO               IN      46901‐5884
JASON N CLEMENTS     1533 W GRAND AVE                                                                            DAYTON               OH      45402‐5837
JASON N HUART        1109 DEXTER AVE                                                                             KETTERING            OH      45419
JASON N REEVES       7685 WASHINGTON PARK DR                                                                     DAYTON               OH      45459‐3662
JASON NASSAR         488 VILLAGE LN                                                                              MILFORD              MI      48381‐5103
JASON NEAR           8618 S KREPPS                                                                               LAINGSBURG           MI      48848
JASON NOEL           2516 JACOBS CREEK RUN                                                                       FORT WAYNE           IN      46825‐3192
JASON NOIROT         851 WASHINGTON AVE                                                                          DEFIANCE             OH      43512‐2850
JASON NOLTE          2910 WHEAT VALLEY DR                                                                        HOWELL               MI      48843‐7051
JASON O BRYANT       15074 FAIRFIELD ST                                                                          DETROIT              MI      48238‐2131
JASON O EDMONDSON    4529 W SHADY KNOLL PL                                                                       LECANTO              FL      34461‐8791
JASON O LEWIS        2800 ARGELLA AVE.                                                                           DAYTON               OH      45410
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Name                Address1                        Address2           Address3         Address4               City               State   Zip
JASON O'CONNOR      116 E WATERBURY RD                                                                         INDIANAPOLIS        IN     46227‐2472
JASON O'NEAL        4309 GLENDALE ST                                                                           DETROIT             MI     48238‐3224
JASON ONEIL         3092 CULVER RD                                                                             ROCHESTER           NY     14622‐2636
JASON OPOLKA        7900 W COON LAKE RD                                                                        HOWELL              MI     48843‐7640
JASON ORAVETS       1338 CAVALCADE DR                                                                          AUSTINTOWN          OH     44515‐3844
JASON P BAKER       305 E PEARL ST                                                                             MIAMISBURG          OH     45342
JASON P CRONIN      PO BOX 643                                                                                 BOLTON              MS     39041‐0643
JASON P DAVIS       11322 KENSHIRE DR                                                                          FOREST PARK         OH     45240‐2337
JASON P DULL        6287 MILLBANK DR                                                                           DAYTON              OH     45459
JASON P HOOVER      5900 BRIDGE RD APT 213                                                                     YPSILANTI           MI     48197‐7010
JASON P HUGHES      2046 ATLANTIC ST NE                                                                        WARREN              OH     44483‐4246
JASON P IVEY        16813 EAST SOUTH SAILSBURY RD                                                              INDEPENDENT         MO     64056
JASON P KRUG        1019 S ALEX RD                                                                             DAYTON              OH     45449
JASON P RISH        5538 DOROTHY CT                                                                            CARLISLE            OH     45005
JASON P SIPPLE      4482 FOXTON CT                                                                             DAYTON              OH     45414‐3959
JASON PACE          77 E LONGFELLOW AVE                                                                        PONTIAC             MI     48340‐2743
JASON PARKS         8106 SPRINGDALE DR                                                                         WHITE LAKE          MI     48386‐4543
JASON PARROTT       656 SUNSET BLVD                                                                            MANSFIELD           OH     44907
JASON PAUL HOGG     206 12TH ST                                                                                ALLIANCE            OH     44601
JASON PEGRAM        6332 ALMOND LN                                                                             CLARKSTON           MI     48346‐2200
JASON PELATH        190 W CLARKSTON RD                                                                         LAKE ORION          MI     48362‐2808
JASON PENCE         180 CANTERBURY ST                                                                          ADRIAN              MI     49221‐1853
JASON PEREZ         6 WHITTIER PLACE                3B                                                         BOSTON              MA     02114
JASON PERRY         2953 JAYSVILLE SAINT JOHNS RD                                                              ARCANUM             OH     45304‐9261
JASON PETRIC        56657 HONEY CT                                                                             MACOMB              MI     48042‐1183
JASON PETTS         24664 LAKE MEADOW DR                                                                       HARRISON TWP        MI     48045‐3126
JASON PIEPER        693 KEATS DR                                                                               ROCHESTER HILLS     MI     48307‐4218
JASON PIEPHO        612 KIMBALL ST                                                                             HOWELL              MI     48855‐6829
JASON PIETRZYK      9358 BLOM BLVD                                                                             SHREVEPORT          LA     71118‐3502
JASON PIOTROWSKI    5158 ALLISON DR                                                                            TROY                MI     48085‐3468
JASON POOTA
JASON QUYE          1508 MARIA ST                                                                              FLINT              MI      48507‐5528
JASON R BOLTON      9629 LAKESIDE DR                                                                           YPSILANTI          MI      48197‐3031
JASON R COCHRON     2002 GREENFIELD                                                                            MIDDLETOWN         OH      45044
JASON R COMBS       3461 GREYCLIFF CT                                                                          FRANKLIN           OH      45005‐9414
JASON R COTTERMAN   2279 UPPER BELLBROOK RD.                                                                   XENIA              OH      45385
JASON R ERB         14 LEE DR                                                                                  YOUNGSTOWN         OH      44514‐1963
JASON R FOWLER      2766 ROSS RD                                                                               TIPP CITY          OH      45371‐9189
JASON R GREENE      1047 PRIMROSE DR                                                                           WEST CARROLLTON    OH      45449‐2028

JASON R HALE        PO BOX 320751                                                                              FLINT              MI      48532‐0013
JASON R HALE        1417 3RD ST                                                                                BAY CITY           MI      48708‐6127
JASON R HANNIBAL    304 CRANFORD AVE                                                                           LINDEN             NJ      07036‐1932
JASON R HATTON      280 CHAMBERLAIN ROAD                                                                       CARLISLE           OH      45005
JASON R OSBORNE     400 S FAIRGROUND ST                                                                        LIBERTY            IN      47353‐1457
JASON R RECK        11100 HORATIO RD                                                                           BRADFORD           OH      45308‐9709
JASON R SANDO       5678 WALKER CORNERS ROAD                                                                   ELBA               NY      14058‐9744
JASON R SHAFER      9886 HOLLOW TREE DRIVE                                                                     TIPP CITY          OH      45371
JASON R STEELE      251 IDLEWOOD RD                                                                            AUSTINTOWN         OH      44515
JASON RAINEY        159 BEREHAVEN DRIVE                                                                        BUFFALO            NY      14228‐1837
JASON RALPH         3130 TIDEWIND CT                                                                           MANVEL             TX      77578‐7830
JASON RATLIFF       42797 RICHMOND DR                                                                          STERLING HEIGHTS   MI      48313‐2930
JASON RATLIFF       3610 TURF LN                                                                               FORT WAYNE         IN      46804‐3962
JASON RAY           6224 N DRURY AVE                                                                           KANSAS CITY        MO      64119‐1651
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JASON REED           39494 STATE ROUTE 517                                                                     LISBON              OH     44432‐9357
JASON REED           36236 TULANE DR                                                                           STERLING HTS        MI     48312‐2857
JASON REINOSO        610 INDIAN TRAIL CT                                                                       SMITHVILLE          MO     64089‐9405
JASON RHIEW          4066 WASHINGTON CRESCENT DR                                                               TROY                MI     48085‐3654
JASON RICHMOND       PO BOX 55014                                                                              LITTLE ROCK         AR     72215‐5014
JASON ROARK
JASON ROBBINS        PO BOX 291                                                                                ORLEANS             IN     47452‐0291
JASON ROBERT ALLEN   22303 12 MILE RD                                                                          ST CLAIR SHORES     MI     48081
JASON ROBERTS        APT 201                       3885 LONE PINE ROAD                                         W BLOOMFIELD        MI     48323‐2935
JASON ROCHA          130 GOETZ ST                                                                              SAGINAW             MI     48602‐3058
JASON ROSS           4420 PINEDALE AVE                                                                         CLARKSTON           MI     48346‐3833
JASON ROUSELL        5140 STRICKLER RD                                                                         CLARENCE            NY     14031‐1545
JASON RUANE
JASON S ANGEL        1707 E DOROTHY LN APT 2                                                                   DAYTON             OH      45429
JASON S BLEVINS      930 SHARON DR.                                                                            LEBANON            OH      45036
JASON S FULLEN       1300 S COUNTY ROAD 900 W                                                                  DALEVILLE          IN      47334
JASON S KRESSBACH    136 W MANSFIELD AVE                                                                       PONTIAC            MI      48340‐2658
JASON S LAKES        223 MAPLE ST                                                                              FRANKLIN           OH      45005‐3631
JASON S LITTLE       5931 NO MANS ROAD                                                                         MIDDLETOWN         OH      45042‐9204
JASON S MCINTOSH     1340 RENSTAR AVE                                                                          DAYTON             OH      45432
JASON S PERKINS      396 THORNAPPLE RD.                                                                        NEW LEBANON        OH      45345
JASON S PULASKI      2200 ONTARIO AVE                                                                          DAYTON             OH      45414‐5634
JASON S RICHARDSON   408 MAPLESTONE LANE                                                                       CENTERVILLE        OH      45458
JASON S RIGHTMIRE    2907 PRENTICE DR                                                                          DAYTON             OH      45420
JASON SACHS          625 BLACK BROOK RD                                                                        GOFFSTOWN          NH      03045
JASON SAVAET         31048 DORCHESTER APT 169                                                                  NEW HUDSON         MI      48165‐9442
JASON SAWIN          682 TRENT DR                                                                              GREENWOOD          IN      46143‐7422
JASON SCHAITEL       11530 N WALNUT LN                                                                         FORT ATKINSON      WI      53538‐9222
JASON SCHOEFF        720 WESTVIEW DR APT 3                                                                     OSSIAN             IN      46777‐9076
JASON SCHONS         1203 MEADOWLARK DR                                                                        WATERFORD          MI      48327‐2957
JASON SCHROEDER      APT 1A                        829 THORNTON COURT                                          SCHAUMBURG         IL      60193‐4850
JASON SCHUG          147 N MILITARY ST                                                                         DEARBORN           MI      48124‐1034
JASON SCHWABAUER     8070 OHARA DR                                                                             DAVISON            MI      48423‐9531
JASON SEINKNER       282 CAROLEWOOD CIR NW                                                                     WARREN             OH      44483‐1658
JASON SHAFFER        8523 ROAD 263                                                                             CONTINENTAL        OH      45831‐8605
JASON SHREVES        12767 N INTERURBAN ST                                                                     EATON              IN      47338‐8920
JASON SICKLER        351 TAMMERY DR                                                                            TALLMADGE          OH      44278‐3034
JASON SIEFKER        523 OLD ORCHARD DR                                                                        OTTAWA             OH      45875‐1145
JASON SILVA          21 MILKWEED CRESENT                                                                       BRAMPTON
JASON SIMCOKE        3827 PALL DR                                                                              WARREN             MI      48092‐1976
JASON SKUFCA         4420 RIDGE RD                                                                             BROOKLYN           OH      44144‐3353
JASON SLIFKO         60 PROSPECT ST                                                                            BEREA              OH      44017‐2502
JASON SLUSHER        8949 CHAFFEE DODGEVILLE RD                                                                NORTH BLOOMFIELD   OH      44450‐9752

JASON SMITH          11640 S MORRICE RD                                                                        MORRICE             MI     48857‐9786
JASON SMITH          4601 INDIANA AVE                                                                          FORT WAYNE          IN     46807‐2906
JASON SMITH
JASON SO‐SURMA       2038 HAMELON ST                                                                           LANSING            MI      48910‐4836
JASON SOLOMON        6473 LAKE MEADOW DRIVE                                                                    WATERFORD          MI      48327‐1782
JASON SPAIN          3841NORTH WOODS CT                                                                        WARREN             OH      44483
JASON SPITZLEY       11775 DURHAM WAY                                                                          DE WITT            MI      48820‐8213
JASON STACY          320 LINDDER DR                                                                            SEVIERVILLE        TN      37876‐1196
JASON STANEK         PO BOX 9022                                                                               WARREN             MI      48090‐9022
JASON STARK          APT 8                         1871 OAKBROOKE DRIVE                                        HOWELL             MI      48843‐6323
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Name                 Address1                       Address2            Address3         Address4               City               State   Zip
JASON STATOM         4056 RESTIN CT                                                                             GREENWOOD           IN     46142‐8581
JASON STERN          10185 PAMONA CT                                                                            FISHERS             IN     46038‐5515
JASON STEVENS        PO BOX 117                                                                                 ONTARIO             OH     44862‐0117
JASON STURGILL       347 E CASTLE RD                                                                            FOSTORIA            MI     48435‐9663
JASON SWAFFORD       150 GREEN LOOP NW                                                                          ADAIRSVILLE         GA     30103‐4751
JASON SWEARNGIN      1312 NE BALL DR                                                                            LEES SUMMIT         MO     64086‐6755
JASON SYMONS         31350 HATHAWAY ST                                                                          LIVONIA             MI     48150‐2976
JASON SZYMCZAK       22714 W 72ND TER                                                                           SHAWNEE             KS     66227‐2635
JASON T BLANTON      875 BLANCHE DR                                                                             W CARROLLTON        OH     45449
JASON T BUGHER       400 MILLWOOD CT                                                                            BOWLING GREEN       KY     42104‐6448
JASON T CANTRELL     25 S STATE ROUTE 721                                                                       LAURA               OH     45337
JASON T CLOOS        533 DRIFTWOOD AVE                                                                          ROCHESTER HILLS     MI     48307‐2335
JASON T COMBS        203 WORTHINGTON DR                                                                         GERMANTOWN          OH     45327
JASON T HAYS         310 LAWVER LN                                                                              RIVERSIDE           OH     45431‐2236
JASON T RICHARDSON   1040 GEORGIAN DR                                                                           KETTERING           OH     45429‐5632
JASON T STINSON      204 HIGHLAND AVE                                                                           LEBANON             OH     45036
JASON T WELLS        204 PARK DR. PO BOX 384                                                                    PHILLIPSBURG        OH     45354‐‐ 03
JASON TAIT           8700 PETRIEVILLE HWY                                                                       EATON RAPIDS        MI     48827‐9203
JASON TANG           13363 S SHORE DR APT 202                                                                   STERLING HEIGHTS    MI     48312‐6369
JASON TAYLOR         25 CROSS COUNTRY LN                                                                        SHELBY              OH     44875‐9315
JASON TAYLOR         779 APOPKA ST                                                                              WATERFORD           MI     48327‐4345
JASON TEAGUE         6465 CASPIANA LN                                                                           KEITHVILLE          LA     71047‐8974
JASON TEAGUE         5553 FOREST GREEN DR                                                                       TOLEDO              OH     43615‐6779
JASON TERAN          8470 FAWN VALLEY DR                                                                        CLARKSTON           MI     48348‐4550
JASON THOMAS         4602 PLAZA DR                                                                              FORT WAYNE          IN     46806‐4979
JASON THOMAS         1703 BAYLISS AVE                                                                           BELOIT              WI     53511‐3720
JASON THOMAS         19329 TAYLOR LAKE RD                                                                       HOLLY               MI     48442‐8925
JASON THOMPSON       4707 NE 103RD TER                                                                          KANSAS CITY         MO     64156‐3010
JASON THOMPSON       9649 BAYVIEW DR APT 310                                                                    YPSILANTI           MI     48197‐7029
JASON TONKEL
JASON TOYE           12444 E LIPPINCOTT BLVD                                                                    DAVISON             MI     48423‐9143
JASON TRAUB          14534 MORAVIAN MANOR CIR                                                                   STERLING HEIGHTS    MI     48312‐5799
JASON TREECE         57037 STONEBRIAR DR                                                                        WASHINGTON          MI     48094‐3167
                                                                                                                TOWNSHIP
JASON TROMBLY        850 WILKINSON TRCE APT 54                                                                  BOWLING GREEN       KY     42103‐2492
JASON TRUMBLE        1198 WOODFIELD TRL                                                                         HEMLOCK             MI     48626‐9236
JASON TRUMPY         1130 N LEXINGTON DR                                                                        JANESVILLE          WI     53545‐2123
JASON TUCKER         1621 BAUCOM DR                                                                             COLUMBIA            TN     38401‐5471
JASON TUNG           1789 GOLF RIDGE DR S                                                                       BLOOMFIELD HILLS    MI     48302‐1733
JASON TUREY
JASON TWEHUES        533 STONEGATE DR.                                                                          SYCAMORE           IL      60178‐8907
JASON TYNER          270 HARVARD DR                                                                             HOWELL             MI      48843‐1740
JASON TZAFAROGLOU    51728 JULIES DR                                                                            CHESTERFIELD       MI      48047‐3036
JASON VALENTINE      3313 SE ADAMS DR                                                                           BLUE SPRINGS       MO      64014‐5405
JASON VANBOCXLAER    8875 CROOKED CREEK DR                                                                      SAGINAW            MI      48609‐9568
JASON VANCE          501 WOODCREST DR                                                                           MANSFIELD          OH      44905‐2316
JASON VERBELLI       2646 PONCE AVE                                                                             BELMONT            CA      94002‐1541
JASON VERSLUIS       18402 STATE ROUTE 33                                                                       HOLT               MO      64048
JASON VICKERY        6975 ROBY                                                                                  WATERFORD          MI      48327‐3862
JASON W BARBER       1329 BRISTOL CHAMPION TOWN                                                                 BRISTOLVILLE       OH      44402
JASON W CHAMBERS     PO BOX 367                                                                                 HELENWOOD          TN      37755‐0367
JASON W DECKER       8B DEY STREET                                                                              ENGLISHTOWN        NJ      07726
JASON W FORE         887 BRANDE DR                                                                              EATON              OH      45320‐‐ 25
JASON W GREEN        610 OXFORD ST. RD.                                                                         MIDDLETOWN         OH      45044
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Name                   Address1                     Address2               Address3      Address4               City               State Zip
JASON W NEITMAN        203 E CENTER ST                                                                          FARMERSVILLE        OH 45325‐1128
JASON W. POWELL
JASON WALKER           5455 KLAM RD                                                                             COLUMBIAVILLE      MI   48421‐9322
JASON WARDYNSKI        204 HIGH ST                                                                              BAY CITY           MI   48708‐8611
JASON WATSON           65 CAMELOT CT                                                                            CANFIELD           OH   44406‐9602
JASON WEAVER           2231 S TERRACE PL                                                                        PERU               IN   46970‐7254
JASON WELDY            17789 MARSAL DR                                                                          MACOMB             MI   48042‐1187
JASON WEST             24236 CONGRESS                                                                           NOVI               MI   48375‐1758
JASON WHITE            11034 W GLEN                                                                             CLIO               MI   48420‐1989
JASON WHITE            8498 STOUT ST                                                                            DETROIT            MI   48228‐2859
JASON WHITEHEAD        6171 WOODMOOR DR                                                                         BURTON             MI   48509‐1646
JASON WIEDYK           853 BOUTELL DR                                                                           GRAND BLANC        MI   48439‐1942
JASON WILLIAMS         8017 PARK AVE                                                                            ALLEN PARK         MI   48101‐1717
JASON WILLIAMS         1602 E 5TH AVE                                                                           BRODHEAD           WI   53520‐1726
JASON WILLIAMS         5911 FORDHAM DRIVE                                                                       AMARILLO           TX   79109‐6635
JASON WILLIAMS         38994 COMMONS DR                                                                         ROMULUS            MI   48174‐5307
JASON WILLMAN          306 E RIVER RD                                                                           FLUSHING           MI   48433‐2140
JASON WILLS            16870 WARD ST                                                                            DETROIT            MI   48235‐4235
JASON WISCHOW          21 PATTON DRIVE                                                                          PITTSBURGH         PA   15241‐1370
JASON WITT             9712 SIGLER RD                                                                           NEW CARLISLE       OH   45344‐8522
JASON WITZELING        5908 N WATERMAN DR                                                                       MILTON             WI   53563‐8445
JASON WLADISCHKIN      259 FAIR ST                                                                              PLYMOUTH           MI   48170‐1964
JASON WOLSKI           1316 PERRY ST                                                                            E LIVERPOOL        OH   43920‐1841
JASON WONG             #244                         51194 ROMEO PLANK RD                                        MACOMB             MI   48042
JASON WONG             253 SLADE CT                                                                             ROCHESTER HILLS    MI   48307‐3864
JASON WORKMAN          12157 RIVERBEND DR                                                                       GRAND BLANC        MI   48439‐1771
JASON WRIGHT           9429 SHARP RD                                                                            SWARTZ CREEK       MI   48473‐9139
JASON WYLIE            7348 GREGORY RD                                                                          DEXTER             MI   48130‐9603
JASON YOUNG            2431 E 33RD ST                                                                           LORAIN             OH   44055‐2133
JASON ZARINS           12339 N CLIO RD                                                                          CLIO               MI   48420‐1046
JASON ZELLERS          55 SPRINGWOOD DR                                                                         SPRINGBORO         OH   45066‐1038
JASON ZIMMERMAN        PO BOX 201                   138 W FRONT ST                                              OVID               MI   48866‐0201
JASON ZIMMERMAN        2184 W INDIAN CREEK RD       ROAD                                                        TRAFALGAR          IN   46181‐9091
JASON'S AUTO SERVICE   2424 BROADWAY                                                                            OAKLAND            CA   94612‐2417
JASON, ALFRED R        24407 TAMARACK CIR                                                                       SOUTHFIELD         MI   48075‐6184
JASON, CLARA M         8442 BETTY LEE AVE                                                                       SAINT LOUIS        MO   63114‐4562
JASON, ELEANOR R       PO BOX 30572                                                                             CLEVELAND          OH   44130‐0572
JASON, GEORGE E        23850 GILL RD                                                                            FARMINGTON         MI   48335‐3408
JASON, JUDITH A        15451 WESTLAKE ST                                                                        TAYLOR             MI   48180‐5137
JASON, LINDA L         1700 CEDARWOOD DR APT 227                                                                FLUSHING           MI   48433
JASON, MAGARET E       544 GREEDALE DR                                                                          JANESVILLE         WI   53546
JASON, MAGARET E       544 GREENDALE DR                                                                         JANESVILLE         WI   53546‐1943
JASON, MARK A          174 PARKER LAKE DRIVE                                                                    OXFORD             MI   48371‐5245
JASON, MARY L          3601 S ADAMS RD APT 209      C/O JOHN DUNNE                                              ROCHESTER HILLS    MI   48309‐5004
JASON, MICHALINE       7330 COLEMAN                                                                             DEARBORN           MI   48126‐1378
JASON, MICHALINE       7330 COLEMAN ST                                                                          DEARBORN           MI   48126‐1378
JASON, PATRICIA L      182 ALHAMBRA DR                                                                          ROCHESTER          NY   14622‐3104
JASON, RICHARD L       1626 W DONNER DR                                                                         PHOENIX            AZ   85041‐6900
JASON, ROBERT S        15451 WESTLAKE ST                                                                        TAYLOR             MI   48180‐5137
JASON, ROBIN R         10126 GORDON RD                                                                          FENTON             MI   48430‐9246
JASON, THOMAS M        13556 ASCOT DR                                                                           STERLING HEIGHTS   MI   48312‐4104
JASON, VERONICA        4902 TORRINGTON AVE                                                                      PARMA              OH   44134‐2172
JASON, VICTOR F        2062 BROWN RD                                                                            LAKEWOOD           OH   44107‐6013
JASONS AUTO EXTREME    363 CHATUM DIGBY RD                                                                      CHATOM             AL   36518
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Name                               Address1                      Address2                      Address3   Address4               City            State   Zip
JASPER AHKEE                       P. O. BOX 1084                                                                                WATERFLOW        NM     87421‐1084
JASPER AHKEE                       PO BOX 1084                                                                                   WATERFLOW        NM     87421‐1084
JASPER ARMSTRONG                   24080 GENEVA ST                                                                               OAK PARK         MI     48237‐2116
JASPER ASBURY                      2261 GRASSY SPUR RD                                                                           BANDY            VA     24602‐9339
JASPER B GILMORE JR                321 GLENWOOD AVE                                                                              PIQUA            OH     45356‐2613
JASPER BAKER                       104 EARL ANGEL RD                                                                             CORBIN           KY     40701‐8852
JASPER BROOKS JR                   3601 HALSELL ST                                                                               MONROE           LA     71203‐5331
JASPER BRYANT                      2142 CHAMPAGNE DR                                                                             ANN ARBOR        MI     48108‐2563
JASPER BRYANT JR                   7023 N 300 W 5                                                                                MARION           IN     46952‐8905
JASPER BYNUM                       19963 HUBBELL ST                                                                              DETROIT          MI     48235‐1604
JASPER CARR                        11365 WILLOW                                                                                  SOUTHGATE        MI     48195‐7335
JASPER COLLIER                     2766 OLDKNOW DR NW                                                                            ATLANTA          GA     30318‐7241
JASPER COMBS                       411 CALMES BLVD                                                                               WINCHESTER       KY     40391‐8709
JASPER CONERLY                     11435 S YALE AVE                                                                              CHICAGO           IL    60628‐4118
JASPER COOTER                      101 LINDSEY LN                                                                                PENDLETON        IN     46064‐8830
JASPER COPE                        2028 TARTAN RD                                                                                ANDERSON         IN     46012‐9438
JASPER COUCH                       1002 HINE ST N                                                                                ATHENS           AL     35611‐4842
JASPER COUNTY APPRAISAL DISTRICT   PO BOX 1300                                                                                   JASPER           TX     75951‐0013
JASPER COUNTY TAX COLLECTOR        PO BOX 1970                                                                                   JASPER           TX     75951‐0021
JASPER COUNTY TAX COLLECTOR        PO BOX 372                                                                                    BAY SPRINGS      MS     39422‐0372
JASPER DAIDONE                     3101 WYNDHAM DR                                                                               FLUSHING         MI     48433‐2290
JASPER DEKONING                    1734 STONEGATE DR                                                                             HUDSONVILLE      MI     49426‐8724
JASPER DUNCAN                      8595 GENEVIEVE CHURCH RD                                                                      STE GENEVIEVE    MO     53670‐8559
JASPER E HUTTO JR.                 29058 LONGVIEW AVE                                                                            WARREN           MI     48093‐5220
JASPER EASON                       1265 UPPER CALDWELL RD                                                                        BOWDON           GA     30108‐3641
JASPER ETTER                       1022 E CIRCLE DR                                                                              ROSSVILLE        GA     30741‐5147
JASPER EVANS                       13985 ASHTON RD                                                                               DETROIT          MI     48223‐3531
JASPER FIELDS                      1204 E LYONS ST                                                                               SWAYZEE          IN     46986‐9525
JASPER FITZPATRICK                 4518 CLOVERLAWN DR                                                                            FLINT            MI     48504‐2058
JASPER FREDERICK                   48 N MERRIMAC ST                                                                              PONTIAC          MI     48340‐2528
JASPER FREER                       1647 S ROYSTON RD                                                                             EATON RAPIDS     MI     48827‐9093
JASPER GAIL M                      6231 MCCALLUM ST                                                                              PHILADELPHIA     PA     19144‐2605
JASPER GATSON SR                   5229 W MICHIGAN AVE                                                                           YPSILANTI        MI     48197‐9005
JASPER GILMORE JR                  321 GLENWOOD AVE                                                                              PIQUA            OH     45356‐2613
JASPER GWINN                       1401 N H ST                                                                                   ELWOOD           IN     46036‐1200
JASPER HALCOMB                     10376 DEER RUN RD                                                                             POLAND           IN     47868‐7471
JASPER HARRY (360550)              GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510
                                                                 STREET, SUITE 600
JASPER HASTY                       2010 DUBLOON CT                                                                               EDWARDSVILLE    IL      62025‐5223
JASPER HORVATH                     2660 4TH ST R4                                                                                WAYLAND         MI      49348
JASPER HOWARD                      3506 BEVIS AVE                                                                                CINCINNATI      OH      45207‐1329
JASPER HUTTO JR.                   29058 LONGVIEW AVE                                                                            WARREN          MI      48093‐5220
JASPER HYDE                        633 MADISON DR                                                                                ARNOLD          MO      63010‐1667
JASPER IRBY JR                     5410 WINTHROP BLVD                                                                            FLINT           MI      48505‐5167
JASPER JACKSON                     17531 NORTHLAWN ST                                                                            DETROIT         MI      48221
JASPER JR, NEMIAH                  17101 BECKER RD                                                                               NEWALLA         OK      74857‐1732
JASPER JR, WESLEY                  5421 JOSHUA TRL                                                                               DAYTON          OH      45427‐2279
JASPER JR, WESLEY                  5421 JOSHUA TRAILS                                                                            DAYTON          OH      45427‐5427
JASPER L ADAMS                     1916 YORK ST                                                                                  JACKSON         MS      39213‐6443
JASPER LAWSON                      1801 TURNBULL RD                                                                              DAYTON          OH      45432‐2323
JASPER LEDBETTER                   7000 W CHURCH ST                                                                              CLARKSTON       MI      48346‐1416
JASPER LIPSCOMB                    909 HARMONY WAY                                                                               COLUMBIA        TN      38401‐2476
JASPER LOYD                        4903 BLANCO DR                                                                                ZEPHYRHILLS     FL      33541‐2281
JASPER M COMBS                     411 CALMES BLVD                                                                               WINCHESTER      KY      40391
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Name                                  Address1                          Address2                          Address3   Address4                 City               State   Zip
JASPER M KINGERY                      605 W ELM ST                                                                                            WASHINGTON CH       OH     43160‐2427
JASPER MELTON                         2723 OWEN ST                                                                                            SAGINAW             MI     48601‐3845
JASPER MOON                           6211 BROMLEY CT                                                                                         WEST BLOOMFIELD     MI     48322‐3242

JASPER MURPHY                         1330 E MAIN ST                                                                                          KALAMAZOO          MI      49048‐1829
JASPER OBERRY                         764 IVES RD                                                                                             MASON              MI      48854‐9614
JASPER P PARSONS                      1419 1/2 OAKWOOD AVE                                                                                    LOUISVILLE         KY      40215
JASPER PENTICUFF                      2490 E COUNTY ROAD 250 N                                                                                NEW CASTLE         IN      47362‐9363
JASPER PRESNELL                       379 MARTIN DAIRY RD                                                                                     MILNER             GA      30257‐3772
JASPER RUBBER PRODUCTS                LEE MINCEY                        PO BOX 706                                                            BELLEFONTAINE      OH      43311
JASPER RUBBER PRODUCTS INC            1010 1ST AVE W                                                                                          JASPER             IN      47546‐3201
JASPER RUBBER PRODUCTS INC            LEE MINCEY                        PO BOX 706                                                            JASPER             IN      47547‐0706
JASPER SCOTT JR                       616 W 2ND ST                                                                                            FLORENCE           NJ      08518‐1102
JASPER SENTELL JR                     3215 ROBERTS ST                                                                                         SAGINAW            MI      48601‐3137
JASPER SHIPMAN                        266 GADDIS RD                                                                                           CANTON             GA      30115‐7128
JASPER SMITH                          13195 N RIGGS LN                                                                                        LEAD HILL          AR      72644‐9437
JASPER STINSON                        2078 NORTH AVE NW                                                                                       ATLANTA            GA      30318‐6352
JASPER TAYLOR                         509 CEDARHURST AVE.                                                                                     DAYTON             OH      45407‐1511
JASPER TOSH                           804 GRAPEVINE DR                                                                                        PRINCETON          KY      42445‐2295
JASPER VALENTINO                      GUTENBERGSTR 22                                                                65232 TAUNUSSTEIN
                                                                                                                     GERMANY
JASPER WALDON                         2060 RIVER DR                                                                                           MAINEVILLE         OH      45039‐9715
JASPER WATT                           247 TOM AVE                                                                                             PONTIAC            MI      48341‐1053
JASPER WESTMORELAND                   10991 FF HWY                                                                                            MAYVIEW            MO      64071
JASPER WHITNEY                        3042 N WEST RIVER RD                                                                                    SANFORD            MI      48657‐9463
JASPER WILLIAM (ESTATE OF) (643671)   COONEY & CONWAY                   120 NORTH LASALLE STREET , 30TH                                       CHICAGO            IL      60602
                                                                        FLOOR
JASPER WILLIAMS                       2922 ALOUETTE DR APT 322                                                                                GRAND PRAIRIE      TX      75052‐8139
JASPER WILLIAMS                       404 W HIGHLAND AVE                                                                                      KINSTON            NC      28501‐2824
JASPER, CHARLES M                     1424 1ST AVE                                                                                            ATCHISON           KS      66002‐1104
JASPER, CITY OF                       WEINER ROBERT E LAW OFFICE        141 TREMONT ST FL 4                                                   BOSTON             MA      02111‐1288
JASPER, CITY OF
JASPER, CLARA B                       1008 WASHINGTON ST                                                                                      THREE RIVERS        MI     49093‐1050
JASPER, CLARENCE J                    4385 MILLIS RD                                                                                          NORTH BRANCH        MI     48461‐9788
JASPER, CLIFTON K                     PO BOX 109                                                                                              SKANDIA             MI     49885‐0109
JASPER, GAIL M                        6231 MCCALLUM ST                                                                                        PHILADELPHIA        PA     19144
JASPER, GARY M                        1908 BRIDGESTONE DR                                                                                     CORINTH             TX     76210‐2191
JASPER, GERALD L                      1449 BOWERS RD                                                                                          LAPEER              MI     48446‐3124
JASPER, HARRY                         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                           NORFOLK             VA     23510‐2212
                                                                        STREET, SUITE 600
JASPER, JAMES A                       1733 ARTHUR ST                                                                                          SAGINAW             MI     48602‐1003
JASPER, JAMES F                       127 ACACIA CIR APT 209                                                                                  INDIAN HEAD PARK    IL     60525‐9049

JASPER, JAMES F                       APT 209                           127 ACACIA CIRCLE                                                     IND HEAD PARK      IL      60525‐9049
JASPER, JARROD E                      19910 LICHFIELD RD                                                                                      DETROIT            MI      48221‐1363
JASPER, JEANNE A                      1043 CARLSON DR                                                                                         BURTON             MI      48509‐2325
JASPER, JEANNE ANN                    1043 CARLSON DR                                                                                         BURTON             MI      48509‐2325
JASPER, JOHN L                        722 S BOND ST                                                                                           SAGINAW            MI      48602‐2221
JASPER, KENNETH W                     214 RED BUD CIR                                                                                         CAMDENTON          MO      65020‐4089
JASPER, LARRY D                       8500 BARNES DR                                                                                          JONES              OK      73049‐7305
JASPER, MARY                          127 ACACIA CIR APT 209                                                                                  INDIAN HEAD PARK   IL      60525‐9049

JASPER, MARY                          18504 HARVARD AVE                                                                                       CLEVELAND          OH      44122‐6842
JASPER, RANDALL D                     PO BOX 320616                                                                                           FLINT              MI      48532‐0011
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Name                       Address1                        Address2                         Address3                 Address4               City               State   Zip
JASPER, RANDALL D          PO BOX 320516                                                                                                    FLINT               MI     48532
JASPER, RICHARD F          510 HILL ST                                                                                                      GALENA               IL    61036‐1719
JASPER, RICHARD F          6244 157TH PL                                                                                                    OAK FOREST           IL    60452‐2712
JASPER, SIDNEY             C/O THE LIPMAN LAW FIRM         5915 PONCE DE LEON BLVD          SUITE 44                                        CORAL GABLES        FL     33146
JASPER, VELDA R            214 RED BUD CIR                 C/O JAMES F JASPER                                                               CAMDENTON           MO     65020‐4089
JASPER, WARREN R           8123 SUNRISE BLVD APT 226                                                                                        CITRUS HEIGHTS      CA     95610
JASPER, WARREN R           7511 FAIRWAY TWO AVE APT T                                                                                       FAIR OAKS           CA     95628‐4633
JASPER, WILLIAM            COONEY & CONWAY                 120 NORTH LASALLE STREET, 30TH                                                   CHICAGO              IL    60602
                                                           FLOOR
JASPERSEN, LAURIE A        2401 OAKWOOD DR                                                                                                  BURNSVILLE         MN      55306‐4854
JASQUELLA JONES            686 PROVINCETOWN RD                                                                                              AUBURN HILLS       MI      48326‐3442
JASS, CHAD M               APT 15304                       1007 ASHFORD LANE                                                                ARLINGTON          TX      76006‐3811
JASS, DAVID L              1642 GARDEN DR                                                                                                   JANESVILLE         WI      53546‐5624
JASS, DENNIS G             E8920 HALL RD                                                                                                    READSTOWN          WI      54652‐8042
JASS, GERALD L             3202 SHAG BARK CT                                                                                                JANESVILLE         WI      53545‐8840
JASS, LESTER W             4236 DERBY LN                                                                                                    RAPID CITY         SD      57701‐2125
JASS, NATALIE M            413 S JACKSON ST                                                                                                 JANESVILLE         WI      53548‐4720
JASS, NIKKI S              311 LONDONDERRY LN                                                                                               MANSFIELD          TX      76063‐7674
JASS, NIKKI S              337 N CROSBY AVE                                                                                                 JANESVILLE         WI      53548‐3337
JASS, ROBERT A             1146 LARKSPUR LN                                                                                                 BATAVIA            IL      60510‐3318
JASS, ROY D SR             GORI JULIAN & ASSOCIATES P C    156 N MAIN ST                                                                    EDWARDSVILLE       IL      62025
JASSO, CAROL L             9963 PALMER RD                                                                                                   GREENVILLE         MI      48838‐9454
JASSO, CHRISTINA JUANITA   221 N BALDWIN ST                                                                                                 BLUFFTON           IN      46714‐1702
JASSO, JUAN C              705 THOMAS CHAPEL DR                                                                                             ARLINGTON          TX      76014‐3031
JASSO, JUAN J              725 THOMAS CHAPEL DR                                                                                             ARLINGTON          TX      76014‐3031
JASSO, JUAN JOSE           725 THOMAS CHAPEL DR                                                                                             ARLINGTON          TX      76014‐3031
JASSO, NATIVIDAD H         520 BELLEMEADE ST SW                                                                                             DECATUR            AL      35601‐6328
JASSO, NATIVIDAD H         1302 6TH AVE SW                                                                                                  DECATUR            AL      35601
JASTATT, TERRI L           2799 BEAVER TRL                                                                                                  CORTLAND           OH      44410‐1831
JASTER, BENITA             3312 S. SEYMOUR RD.                                                                                              SWARTZ CREEK       MI      48473‐9746
JASTER, EDWARD H           7303 REID RD                                                                                                     SWARTZ CREEK       MI      48473‐9465
JASTER, ERNEST L           16303 INDIAN CREEK PKWY                                                                                          OLATHE             KS      66062‐1373
JASTER, GLENN P            502 W SCHAFER RD                                                                                                 HOWELL             MI      48843‐8951
JASTER, GLENN PAUL         502 W SCHAFER RD                                                                                                 HOWELL             MI      48843‐8951
JASTER, HELMUT E           3312 SEYMOUR RD                                                                                                  SWARTZ CREEK       MI      48473‐9746
JASTER, JANIS M            915 PACIFIC AVE                                                                                                  KANSAS CITY        KS      66101‐3624
JASTER, JANIS MARIE        915 PACIFIC AVE                                                                                                  KANSAS CITY        KS      66101‐3624
JASTER, JOHN E             17210 STATE AVE                                                                                                  BASEHOR            KS      66007‐7149
JASTER, JOSEPH F           4146 CONNIE DR                                                                                                   STERLING HEIGHTS   MI      48310‐3833
JASTER, SIEGFRIED          7131 ALDREDGE DR                                                                                                 SWARTZ CREEK       MI      48473‐9742
JASTER, TODD A             14345 W 116TH ST APT 1722                                                                                        OLATHE             KS      66062‐3769
JASTIFER, JAMES R          3349 34TH ST SW                                                                                                  GRANDVILLE         MI      49418‐1906
JASTRID LIMITED            C/O GUZOV OFSINK, LLC           600 MADISON AVENUE, 14TH FLOOR ATTN: PATRICK MANASSE                             NEW YORK           NY      10022
JASTRID LIMITED            C/O GUZOV OFSINK, LLC           ATTN: PATRICK MANASSE          600 MADISON AVE, 14TH FL                          NEW YORK           NY      10022
JASTROW, JOLEEN M          3350 E KENDER LN                                                                                                 OAK CREEK          WI      53154‐4750
JASTRZEBSKI, ELZBIETA M    3122 CANDLEWOOD DR                                                                                               JANESVILLE         WI      53546‐8863
JASTRZEMBOWSKI, CHARLENE   11710 LAKEFIELD RD                                                                                               ST CHARLES         MI      48655‐8575
JASTRZEMSK, REATHA         3630 BROADWAY                                                                                                    SAGINAW            MI      48601‐5407
JASTRZEMSKI, LISA M        23205 GRATIOT AVE                                                                                                EASTPOINTE         MI      48021‐1641
JASTRZEMSKI, LISA MARIE    23205 GRATIOT AVE                                                                                                EASTPOINTE         MI      48021‐1641
JASUDOWICA, FLORENCE       520 FOXON RD                                                                                                     NORTH BRANFORD     CT      06471

JASUDOWICZ FLORENCE        JASUDOWICZ, FLORENCE            520 FOXON ROAD                                                                   NORTH BRANFORD      CT     06471
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Name                          Address1                       Address2                      Address3   Address4               City             State Zip
JASUDOWICZ, FLORENCE          520 FOXON ROAD                                                                                 NORTH BRANFORD    CT 06471

JASUDOWICZ, FLORENCE          520 FOXON RD                                                                                   NORTH BRANFORD   CT   06471‐1139

JASULAVICH I I I, JOHN J      2527 DAVID DR                                                                                  NIAGARA FALLS    NY   14304‐4617
JASULAVICH III, JOHN JOSEPH   2527 DAVID DR                                                                                  NIAGARA FALLS    NY   14304‐4617
JASURA, JEROME A              719 RHODES ST                                                                                  PINCONNING       MI   48650
JASURA, JOHN                  524 JANE ST                                                                                    PINCONNING       MI   48650‐7516
JASUTIS, DOROTHY A            7131 BARRETT ST                                                                                DOWNERS GROVE    IL   60516‐3306
JASZCZ, CECELIA               2300 NORWALK                                                                                   HAMTRAMCK        MI   48212‐3417
JASZCZ, VICTOR L              6283 MERRITT RD                                                                                YPSILANTI        MI   48197‐9371
JASZCZAK, CATHERINE M         1326 218TH AVE                                                                                 NEW RICHMOND     WI   54017‐6047
JASZCZAK, CATHERINE MARIE     1326 218TH AVE                                                                                 NEW RICHMOND     WI   54017‐6047
JASZCZAK, DANIEL B            1326 218TH AVE                                                                                 NEW RICHMOND     WI   54017‐6047
JASZCZAK, MARION              9611 PINE POINT DR                                                                             LAKELAND         TN   38002‐8408
JASZEK, THERESA               8616 BERWICK                                                                                   WESTLAND         MI   48185‐2985
JASZEK, THERESA               8616 BERWICK DR                                                                                WESTLAND         MI   48185‐2985
JAT OF FORT WAYNE             5031 INDUSTRIAL RD                                                                             FORT WAYNE       IN   46825‐5213
JATALA, LAGLENDA L            10895 BOULDER HILL DR                                                                          GRASS VALLEY     CA   95949
JATCZAK, ARTHUR J             124 ESMOND RD                                                                                  EAST TAWAS       MI   48730‐9680
JATCZAK, JEFFREY A            1244 HARDING RD                                                                                ESSEXVILLE       MI   48732‐1713
JATCZAK, RICHARD B            5225 ROBERTS DR                                                                                GREENDALE        WI   53129‐2819
JATHER MAXWELL                9105 ARTESIAN ST                                                                               DETROIT          MI   48228‐1701
JATIN DESAI                   48100 CHESTERFIELD DR S                                                                        CANTON           MI   48187‐1237
JATKOWSKI, BARDIE             570 BODLE RD                                                                                   WYOMING          PA   18644‐6022
JATO DYNAMICS INC             764 LINCOLN RD                                                                                 GROSSE POINTE    MI   48230‐1222
JATO DYNAMICS INC             2851 HIGH MEADOW CIR STE 220                                                                   AUBURN HILLS     MI   48326‐2790
JAUCH, HAROLD L               29971 ORANGE STREET                                                                            SHAFTER          CA   93263‐9751
JAUCH, JOHN E                 1449 NOTTINGHAM RD                                                                             GROSSE POINTE    MI   48230‐1028
JAUCH, ROBERT A               710 DEAUVILLE DR                                                                               PUNTA GORDA      FL   33950‐8725
JAUCHIUS, CHRISTINA M         4385 RIVERWAY CT                                                                               NEW ALBANY       OH   43054‐9677
JAUDON ROBERT W (340484)      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA   23510
                                                             STREET, SUITE 600
JAUDON, JAMES W               48281 N RIDGE RD                                                                               AMHERST          OH   44001‐9618
JAUDON, JAMES W.              48281 N RIDGE RD                                                                               AMHERST          OH   44001‐9618
JAUDON, ROBERT W              GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA   23510‐2212
                                                             STREET, SUITE 600
JAUMOT JR, FRANK E            1000 GARLANDS LN UNIT 1228                                                                     BARRINGTON       IL   60010‐3360
JAUN GIL                      212 W 30TH ST                                                                                  MARION           IN   46953‐3603
JAUN OVEN CLEANING            29041 ETON ST                                                                                  WESTLAND         MI   48186‐5154
JAUNICE MCPHEARSON            904 MEADOW LN                                                                                  ALEXANDRIA       IN   46001‐2336
JAUNIECE MCDANIEL             3634 E 61ST ST                                                                                 KANSAS CITY      MO   64130‐4429
JAUNITA ARTHUR                4016 S DEERFIELD AVE                                                                           LANSING          MI   48911‐2323
JAUNITA BENNETT               PO BOX 15128                                                                                   DETROIT          MI   48215‐0128
JAUNITA COLEMAN               833 MAPLE ST SW                                                                                WARREN           OH   44485‐3854
JAUNITA GREEN                 5064 ANGELINA DR                                                                               DALLAS           NC   28034‐6639
JAUNITA KNIAT                 1191 E CORNELL AVE                                                                             FLINT            MI   48505‐1617
JAUNITA M COLEMAN             833 MAPLE ST SW                                                                                WARREN           OH   44485‐3854
JAUNITA MURRAY                3203 VERNON DR                                                                                 ARLINGTON        TX   76015‐2023
JAUNITA PARKINSON             3375 OLD KAWKAWLIN RD                                                                          BAY CITY         MI   48706‐1616
JAUNITA WESEMANN              225 JESI ST                                                                                    HARRISONVILLE    MO   64701‐3947
JAUREGUI CYNTHIA              JAUREGUI, CYNTHIA              1135 VICTOR ST                                                  EL CAJON         CA   92021‐4619
JAUREGUI, ADELA               2697 NEW PORT ROYAL RD                                                                         THOMPSONS        TN   37179
                                                                                                                             STATION
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Name                         Address1                        Address2                      Address3   Address4               City              State   Zip
JAUREGUI, ARMANDO            2109 W JONQUIL AVE                                                                              MCALLEN            TX     78501‐6051
JAUREGUI, CHARLES D          4524 E 1100 N                                                                                   DECATUR            IN     46733‐8182
JAUREGUI, CYNTHIA            1135 VICTOR ST                                                                                  EL CAJON           CA     92021‐4619
JAUREGUI, CYNTHIA            1135 VICTOR STREET                                                                              EL CAJON           CA     92021‐4619
JAUREGUI, DAVID R            5115 EL RANCHO CT                                                                               ARLINGTON          TX     76017‐2008
JAUREGUI, FRANCISCA R        6512 STETTER DRIVE                                                                              ARLINGTON          TX     76001
JAUREGUI, IGNACIO            13630 TRENTON RD                                                                                SOUTHGATE          MI     48195‐1828
JAUREGUI, JESUS              9600 BOWMAN AVE                                                                                 SOUTH GATE         CA     90280‐5028
JAUREGUI, MARIA D            554 E YALE ST                                                                                   ONTARIO            CA     91764‐1815
JAUREGUI, MICHAEL            3224 ANGELENO PL                                                                                PALMDALE           CA     93551‐3533
JAUREGUI, REFUGIO            THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD       SUITE 44                          CORAL GABLES       FL     33146
JAUREGUI, RENE I             6512 STETTER DR                                                                                 ARLINGTON          TX     76001‐7555
JAUREGUI, RENE IRINEO        6512 STETTER DR                                                                                 ARLINGTON          TX     76001‐7555
JAUREQUI JR, ADOLPH          POST OFFICE BOX 194                                                                             ALPINE             AZ     85920‐0194
JAUREQUI JR, ADOLPH          PO BOX 194                                                                                      ALPINE             AZ     85920‐0194
JAURIGE, PETER               3217 SE 56TH ST                                                                                 OKLAHOMA CITY      OK     73135
JAUSS, WALTER J              PO BOX 1093                                                                                     LEWISTON           MI     49756‐1093
JAUSS, WILLIAM T             3535 WEST RD                                                                                    METAMORA           MI     48455‐9390
JAUSSI, AUDREY V             346 N MAIN ST                                                                                   MALAD CITY         ID     83252‐1266
JAUW LIM                     6145 W MEADOW FARM LN                                                                           LORAIN             OH     44053‐1892
JAUW, PETER A                4544 BURGIS AVE SE                                                                              KENTWOOD           MI     49508‐4549
JAVA EXCHANGE CAFE           ATTN: RAMONE CROWE              440 BURROUGHS ST # 140                                          DETROIT            MI     48202‐3429
JAVA, DOUGLAS B              PO BOX 145                                                                                      SOUTHINGTON        OH     44470‐0145
JAVAD
JAVAD AMIRMOHAMMADFI.
JAVAD AMIRMOHAMMADI.
JAVAD KATIBAI                1586 SUGAR MAPLE WAY                                                                            WEST BLOOMFIELD    MI     48324‐4006

JAVAD MARAHAMATI & ELEANOR   931 HOMESTEAD AVE                                                                               MAYBROOK           NY     12543
MARHAMATI
JAVADI, MATTHEW              500 TROMBLEY DR                                                                                 TROY              MI      48083
JAVAHERIAN, HOSSEIN          3115 SALEM DR                                                                                   ROCHESTER HILLS   MI      48306‐2932
JAVAID NASAR                 45599 FOUNTAIN VIEW DR                                                                          CANTON            MI      48188‐3082
JAVAID, IMRAN                3595 BELLOWS CT                                                                                 TROY              MI      48083‐5617
JAVAIN WEBB                  1618 N LARCHMONT DR                                                                             SANDUSKY          OH      44870‐4319
JAVARRE LEE                  20231 RIOPELLE ST                                                                               DETROIT           MI      48203‐1251
JAVAUGHN MODEST              16588 PRAIRIE ST                                                                                DETROIT           MI      48221‐2915
JAVED SHAMIM                 2717 FOREST VIEW CT                                                                             ROCHESTER HILLS   MI      48307‐5905
JAVEED SHAIK MOHAMMAD        1651 HILLER RD                                                                                  WEST BLOOMFIELD   MI      48324‐1128

JAVERNICK GREGORY            JAVERNICK, GREGORY
JAVERT, WILLIAM E            2861 LEICESTER TER                                                                              THE VILLAGES      FL      32162‐6377
JAVERY, LARRY F              39934 SHORELINE DR                                                                              HARRISON TWP      MI      48045‐1640
JAVERY, RICHARD P            31279 WELLSTON DR                                                                               WARREN            MI      48093‐7642
JAVES WILLIAMS JR            19160 ILENE ST                                                                                  DETROIT           MI      48221‐3212
JAVICK, HELEN T              19 CHARLES ST                                                                                   PLAINS            PA      18705‐1909
JAVIEL MORALES               2885 PEASE DR                                                                                   ROCKY RIVER       OH      44116
JAVIER ALCAZAR               4605 COOLIDGE HWY APT 3                                                                         ROYAL OAK         MI      48073‐1653
JAVIER ALONSO                59681 WOODLAND TER                                                                              SAINT HELENS      OR      97051‐3511
JAVIER ASCENCIO              11124 DE GARMO AVENUE                                                                           PACOIMA           CA      91331‐1909
JAVIER AYALA                 2603 HAMPSHIRE ST                                                                               SAGINAW           MI      48601‐4571
JAVIER BAZAN                 C/O THE MADEKSHO LAW FIRM       8866 GULF FREEWAY SUITE 440                                     HOUSTON           TX      77017
JAVIER BERGARA               5201 LIVERMORE DR                                                                               ARLINGTON         TX      76017‐6224
JAVIER CHAPA
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Name                             Address1                          Address2                       Address3                      Address4                 City            State Zip
JAVIER CIFUENTES                 JAVIER CIFUENTES                  CARDENAL BELARMINO 1214 A                                    SANTIAGO CHILE
JAVIER CORTES                    7219 AUTUMN PARK                                                                                                        SAN ANTONIO     TX    78249‐4272
JAVIER DELEON                    2809 E 96TH ST                                                                                                          CHICAGO         IL    60617‐5009
JAVIER DOMINGUEZ                 535 ROBERT STREET                                                                                                       LANSING         MI    48910‐5432
JAVIER ECHEVAMA                  BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                                            BOSTON HTS.     OH    44236
JAVIER ESCOBAR                   3834 WESTLYN DR                                                                                                         ORION           MI    48359‐1456
JAVIER FAJARDO                   14817 AZTEC ST                                                                                                          SYLMAR          CA    91342‐5402
JAVIER FLORES                    8705 TINDALL RD                                                                                                         DAVISBURG       MI    48350‐1636
JAVIER FLORES                    417 CARRIAGE LN                                                                                                         SAGINAW         TX    76179‐6308
JAVIER FUENTES                   2783 GOLF MEADOWS CT                                                                                                    SIMI VALLEY     CA    93063‐2472
JAVIER GOMEZ                     5922 E 6TH ST                                                                                                           LOS ANGELES     CA    90022‐3502
JAVIER GOMEZ                     5541 W 64TH ST                                                                                                          CHICAGO         IL    60638‐5610
JAVIER GONZALEZ                  161 LORA LN                                                                                                             FILLMORE        CA    93015‐2112
JAVIER GONZALEZ                  876 TERRY AVE                                                                                                           PONTIAC         MI    48340‐2565
JAVIER GONZ┴LEZ
JAVIER GUEVARA                   8777 FROST ROAD                                                                                                         SAGINAW          MI   48609‐9332
JAVIER HERNANDEZ                 13581 GAGER ST                                                                                                          PACOIMA          CA   91331‐3844
JAVIER HINOJOS                   954 BAY CROSSING DR                                                                                                     WATERFORD        MI   48327‐4601
JAVIER L RODRIGUEZ               213 MEG LN                                                                                                              FORNEY           TX   75126‐4049
JAVIER LEONARDO
JAVIER MADRIGAL                  1465 MORRELL ST                                                                                                         DETROIT          MI   48209‐2466
JAVIER MANDUJANO                 2333 EAGLE CREEK LN                                                                                                     OXNARD           CA   93036‐7771
JAVIER MARTINEZ                  345 PLANET ST                                                                                                           ROCHESTER        NY   14606‐3044
JAVIER MATA                      3055 LANNING DR                                                                                                         FLINT            MI   48506‐2050
JAVIER MATUTE                    APT C6                            360 WASHINGTON AVENUE                                                                 BELLEVILLE       NJ   07109‐3262
JAVIER MEDRANO                   4000 DEER CREEK BLVD STE H2                                                                                             SPRING HILL      TN   37174‐5142
JAVIER MORENO
JAVIER PAGAN                     216 WESTFIELD AVE                                                                                                       DEFIANCE        OH    43512‐1436
JAVIER PRECIADO                  29658 MASON ST                                                                                                          LIVONIA         MI    48154‐4460
JAVIER RODRIGUEZ                 213 MEG LN                                                                                                              FORNEY          TX    75126‐4049
JAVIER RODRIGUEZ                 3446 MELWOOD DR                                                                                                         MELVINDALE      MI    48122‐1267
JAVIER ROSADO                    9809 FLAG STONE PL                                                                                                      FORT WAYNE      IN    46804‐5977
JAVIER SANDOVAL                  18225 COLCHESTER WAY                                                                                                    NORTHRIDGE      CA    91326‐2030
JAVIER URTEAGA                   7118 WESTPORT ST                                                                                                        RIVERSIDE       CA    92506‐6162
JAVIER VAZQUEZ LANOS             MICHAEL J MCNALLY ESQ.            BARNHART EKKAR & MCNALLY LLP   7887 E BELLEVIEW SUITE 1200                            ENGLEWOOD       CO    80111

JAVIER VAZQUEZ MEZA              C/O MICHAEL J. MCNALLY ESQ        BARNHART EKKER & MCNALLY LLP   7887 E BELLEVIEW SUITE 1200                            ENGLEWOOD        CO   80111

JAVIER VERTIZ                    4931 BROOKVIEW ROAD                                                                                                     ROCKFORD        IL    61107
JAVIER'S AUTOS UNLIMITED         9443 CLAY RD                                                                                                            HOUSTON         TX    77080‐1445
JAVIER, FLORINDA                 2251 NW 1ST ST                                                                                                          BOYNTON BEACH   FL    33435‐1719
JAVIER, MARTIN                   43844 GOSHEN FARM CT                                                                                                    LEESBURG        VA    20176
JAVINS ROSCOE (464865)           EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                                               NEW YORK        NY    10017‐6530
JAVINS, ROSCOE                   EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                                               NEW YORK        NY    10017‐6530
JAVITCH BLOCK & RATHBONE         602 MAIN ST STE 500                                                                                                     CINCINNATI      OH    45202‐2555
JAVITCH BLOCK & RATHBONE         1100 SUPERIOR AVE E FL 19                                                                                               CLEVELAND       OH    44114‐2521
JAVITCH BLOCK EISEN & RATHBONE   1300 E 9TH ST                     BOND COURT BLDG 14TH FL                                                               CLEVELAND       OH    44114‐1508
JAVIUS, EDWIN L                  C/O LAVONDIA ENDURA BYRD          P O BOX 272                                                                           LA VERGNE       TN    37086‐0272
JAVIUS, EDWIN L                  6575 CABOT DR                                                                                                           NASHVILLE       TN    37209
JAVIUS, VICTORIA                 901 W 5TH ST                                                                                                            DICKSON         TN    37055‐1116
JAVOIS, CLIFFORD E               8551 KENNETH CLYDE STREET                                                                                               LAS VEGAS       NV    89143‐2320
JAVON A MORROW                   4972 HACKETT DR                                                                                                         DAYTON          OH    45418
JAVON D FRIERSON                 5520 AUTUMN WOODS DR APT 4                                                                                              TROTWOOD        OH    45426‐1337
JAVON HARRISON                   1996 LOGAN AVE                                                                                                          HAMILTON        OH    45015‐1021
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Name                           Address1                           Address2                     Address3   Address4                City               State   Zip
JAVON PRINGLE                  220 W NEWALL ST                                                                                    FLINT               MI     48505‐4153
JAVON REED                     3215 KNIGHT ST APT 278                                                                             SHREVEPORT          LA     71105‐2712
JAVONAVICH, ANDREW F           15077 FAIRLANE ST                                                                                  LIVONIA             MI     48154‐5134
JAVONDE TALLINGTON             73 ALMA AVE                                                                                        BUFFALO             NY     14215‐3217
JAVONUIA COLEMAN               9007 GRIGGS ST                                                                                     DETROIT             MI     48204‐2690
JAVOR TIFFANY                  JAVOR, MICHAEL                     4381 E. CLYDE RD                                                HOWELL              MI     48855
JAVOR TIFFANY                  JAVOR, TIFFANY                     4381 E. CLYDE RD                                                HOWELL              MI     48855
JAVOR, INGRID D.               2374 E BERGIN                                                                                      BURTON              MI     48529‐2304
JAVOR, INGRID D.               2374 E BERGIN AVE                                                                                  BURTON              MI     48529‐2304
JAVOR, JOSEPH L                1200 CALHOUN ST                                                                                    GRAND BLANC         MI     48439‐9306
JAVOR, JOSEPH LEE              1200 CALHOUN ST                                                                                    GRAND BLANC         MI     48439‐9306
JAVOR, MICHAEL
JAVOR, MICHAEL                 4381 E CLYDE RD                                                                                    HOWELL              MI     48855‐9769
JAVOR, MICHAEL S               4749 HARPETH PEYTONSVILLE RD                                                                       THOMPSONS           TN     37179‐9206
                                                                                                                                  STATION
JAVOR, RICHARD J               1200 FROMAN ST                                                                                     GRAND BLANC        MI      48439‐9303
JAVOR, RICHARD JOHN            1200 FROMAN ST                                                                                     GRAND BLANC        MI      48439‐9303
JAVOR, TIFFANY                 4381 E CLYDE RD                                                                                    HOWELL             MI      48855‐9769
JAVORNICKY, MICHAEL J          406 MCDONALD AVE                                                                                   MC DONALD          OH      44437‐1539
JAVORSKY, MARK D               1763 CHERRY LN                                                                                     HUBBARD            OH      44425‐3013
JAVORSKY, MARTIN J             2419 STATE ROUTE 7                                                                                 FOWLER             OH      44418‐9772
JAW SHYRHWA                    1713 CAMAS AVE NE                                                                                  RENTON             WA      98056
JAW, SHYR‐HWA                  1713 CAMAS AVE NE                                                                                  RENTON             WA      98056
JAWAD, M ALI                   CALLE 121 NO 3A‐20 TORRE 1 NA AP   APT 305                                 BOGATA COLOMBIA
JAWAHAR KESARI                 607 CHASSEUR DR                                                                                    GRAND BLANC        MI      48439‐2311
JAWANA EARLS                   2014 ZETUS RD NW                                                                                   BROOKHAVEN         MS      39601‐8374
JAWANA RUSSELL                 2014 ZETUS RD NW                                                                                   BROOKHAVEN         MS      39601
JAWANDA JOHNSTON               31 W COULTER RD                                                                                    LAPEER             MI      48446‐8716
JAWANDA, BALJINDER S           888 RAMBLEWOOD DR                                                                                  ROCHESTER          MI      48307‐6065
JAWANDA, BARINDER S            40623 RIVERBEND DR                                                                                 STERLING HEIGHTS   MI      48310‐6995
JAWATHA H BACON
JAWISH, LEEANN                 PO BOX 1034                                                                                        BLOOMFIELD HILLS   MI      48303‐1034
JAWOOD MANAGEMENT ASSOCIATES   2265 LIVERNOIS RD STE 900                                                                          TROY               MI      48083‐1669
JAWOREK, ANN S                 198 WABASH AVE                                                                                     BUFFALO            NY      14217‐2304
JAWOROWICZ, CASIMIR S          5700 STARVILLE RD                                                                                  CHINA              MI      48054‐4206
JAWOROWICZ, CHESTER            234 CHAPEL AVE                                                                                     CHEEKTOWAGA        NY      14225‐3558
JAWOROWICZ, DANIEL K           267 CURTISS ST APT UPPER                                                                           BUFFALO            NY      14212
JAWOROWSKI, MILDRER R          309 RAFFEL RD                                                                                      WOODSTOCK          IL      60098
JAWOROWSKI, RALPH M            32451 FIRWOOD DR                                                                                   WARREN             MI      48088‐6220
JAWORS, ALLAN                  3830 GROVELAND RD                                                                                  ORTONVILLE         MI      48462‐9048
JAWORSKI JEFFREY J             21178 EQUESTRIAN TRAIL                                                                             NORTHVILLE         MI      48167‐0400
JAWORSKI ROBERT (664882)       ANGELOS PETER G                    100 N CHARLES STREET , ONE                                      BALTIMORE          MD      21201
                                                                  CHARLES CENTER
JAWORSKI, AGNES M              7178 HITCHINGHAM RD                                                                                YPSILANTI           MI     48197‐8927
JAWORSKI, DENNIS A             11840 INA DRIVE #59                                                                                STERLING HEIGHTS    MI     48312
JAWORSKI, DENNIS E             4719 CEDAR LAKE RD                                                                                 HOWELL              MI     48843‐7620
JAWORSKI, DONALD D             424 ANDREWS ST                                                                                     MUKWONAGO           WI     53149
JAWORSKI, EDWARD J             5159 WINSOR WAY                                                                                    GLADWIN             MI     48624‐8501
JAWORSKI, ELEANOR A            1660 CHESTNUT AVENUE                                                                               TRENTON             NJ     08611‐2604
JAWORSKI, FRANCIS S            4279 ECHO RD                                                                                       BLOOMFIELD HILLS    MI     48302‐1944
JAWORSKI, GERALD D             215 WILLOW GREEN DR                                                                                AMHERST             NY     14228‐3470
JAWORSKI, JAN F                4279 ECHO RD                                                                                       BLOOMFIELD HILLS    MI     48302‐1944
JAWORSKI, JEFFREY              21178 EQUESTRIAN TRL                                                                               NORTHVILLE          MI     48167‐0400
JAWORSKI, JEROME J             909 SW LAKE CHARLES CIR                                                                            PORT ST LUCIE       FL     34986‐3421
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Name                                     Address1                          Address2                    Address3   Address4               City               State   Zip
JAWORSKI, JOHN                           11351 GRAND OAK DR                                                                              GRAND BLANC         MI     48439‐2204
JAWORSKI, LEO W                          PO BOX 102                                                                                      MT PLEASANT         PA     15666‐0102
JAWORSKI, LORETTA                        5159 WINSOR WAY                                                                                 GLADWIN             MI     48624
JAWORSKI, LOUIS A                        5663 ARGYLE DR                                                                                  PARSONSBURG         MD     21849‐2077
JAWORSKI, MICHAEL                        24005 NOBLE DR                                                                                  FARMINGTON HILLS    MI     48336‐2737

JAWORSKI, MICHAEL O                      PO BOX 2195                                                                                     ANNA MARIA         FL      34216‐2195
JAWORSKI, MITCHELL S                     4211 GRAYSTONE DR                                                                               OKEMOS             MI      48864‐5213
JAWORSKI, MITCHELL S.                    4211 GRAYSTONE DR                                                                               OKEMOS             MI      48864‐5213
JAWORSKI, RICHARD W                      5634 STAHELIN AVE                                                                               DETROIT            MI      48228‐3829
JAWORSKI, RICHARD W                      5620 ILLUMINATION LN                                                                            LEESBURG           FL      34748‐8394
JAWORSKI, ROBERT                         ANGELOS PETER G                   100 N CHARLES STREET, ONE                                     BALTIMORE          MD      21201
                                                                           CHARLES CENTER
JAWORSKI, ROBERT                         4292 COMMANCHEE RD                                                                              INDIAN RIVER       MI      49749‐9534
JAWORSKI, RONALD R                       1056 E MOON VISTA ST                                                                            APACHE JCT         AZ      85219‐9630
JAWORSKI, SOPHIE                         30815 IROQUOIS                                                                                  WARREN             MI      48088‐5043
JAWORSKI, STANLEY F                      1410 LINVILLE DR                                                                                WATERFORD          MI      48328‐1233
JAWORSKI, TERRY A                        5874 PICKARD DR                                                                                 TOLEDO             OH      43613‐1714
JAWORSKI, TERRY ANTHONY                  5874 PICKARD DR                                                                                 TOLEDO             OH      43613‐1714
JAWORSKI, THOMAS                         2339 2ND ST                                                                                     KENOSHA            WI      53140‐1049
JAWORSKI,JEFFREY                         21178 EQUESTRIAN TRL                                                                            NORTHVILLE         MI      48167‐0400
JAWORSKYJ, BOHDAN I                      7400 AUGUST AVE                                                                                 WESTLAND           MI      48185‐2504
JAWORSKYJ, BOHDAN IWAN                   7400 AUGUST AVE                                                                                 WESTLAND           MI      48185‐2504
JAWWAD KHAN                              8510 15 MILE RD APT F                                                                           STERLING HTS       MI      48312‐3668
JAX CORPORATION
JAX, RICHARD C                           27620 30 MILE RD                                                                                LENOX              MI      48050‐1521
JAX, RICHARD C.                          27620 30 MILE RD                                                                                LENOX              MI      48050‐1521
JAXTHEIMER, JANET N                      5512 CHENAULT AVE                                                                               ORLANDO            FL      32839‐2916
JAXTHEIMER, JUDITH S                     1016 EAST AVE SE                                                                                WARREN             OH      44484‐4904
JAXTHEIMER, RICHARD C                    47796 CONCORD RD                                                                                MACOMB             MI      48044‐2544
JAXTHEIMER, VICKIE A                     5690 PARKMAN RD NW                                                                              WARREN             OH      44481‐9438
JAY
JAY & GABRIELE MAZO                      1301 BELLA VISTA DRIVE                                                                          SIERRA VISTA        AZ     85635‐2013
JAY & KAY MANUFACTURING                  72 LOUISE ST                                                                                    CROSWELL            MI     48422‐1043
JAY & KAY MANUFACTURING INC              72 LOUISE ST                                                                                    CROSWELL            MI     48422
JAY & KAY MFG
JAY A COOK                               1247 39TH AVENUE                                                                                KENOSHA            WI      53144
JAY A FAVORITE                           118 S BEECH                                                                                     EATON              OH      45320‐2308
JAY A HARRIS                             62 WALLER                                                                                       VANDALIA           OH      45377‐3020
JAY A PIORIER                            N8435 KNUTES ROAD                                                                               PITTSVILLE         WI      54466‐9133
JAY A TEFFER                             16150 S 1325 RD                                                                                 STOCKTON           MO      65785‐7242
JAY ABRAM                                G3234 W SHERMAN AVE                                                                             FLINT              MI      48504
JAY ADAMS                                3260 DEVON BROOK DR                                                                             BLOOMFIELD HILLS   MI      48302‐1426
JAY ALFERINK                             5145 JONFIELD AVE SE                                                                            KENTWOOD           MI      49548‐7618
JAY ALIX & ASSOCIATES                    2000 TOWN CTR STE 2400                                                                          SOUTHFIELD         MI      48075‐1250
JAY ALIX & ASSOCIATES, P.C. / NATIONAL   4000 TOWN CENTER, SUITE 100                                                                     SOUTHFIELD         MI      48075
CAR RENTAL SYSTEMS, INC.
JAY ALLEN                                618 ABERDEEN WAY                                                                                SOUTHLAKE           TX     76092‐9553
JAY AMOROSE                              9348 PARKVIEW CIR                                                                               GRAND BLANC         MI     48439‐8058
JAY ANCEL                                409 N MCLELLAN ST                                                                               BAY CITY            MI     48708‐6772
JAY AND BARBARA KAPLAN                   JAY KAPLAN                        56 VOORHIS AVE                                                ROCKVILLE CENTRE    NY     11570

JAY AUSTIN                               4922 N ROYSTON RD                                                                               POTTERVILLE         MI     48876‐9705
JAY AUTOMOTIVE GROUP IV, INC.            JAMES STELZENMULLER               1661 WHITTLESEY RD                                            COLUMBUS            GA     31904‐3645
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Name                             Address1                           Address2                  Address3                  Address4               City            State Zip
JAY AVERY                        7037 YAGER RD                                                                                                 SAINT CLAIR      MI 48079‐1018
JAY B BAKEWELL AND ALEXANDRA B   17630 SNOHOMISH AVE                                                                                           SNOHOMISH        WA 98296
BAKEWELL
JAY B GOFF                       4011 61ST ST W                                                                                                BRADENTON       FL    34209‐6631
JAY B SMITH                      7409 2ND AVE                                                                                                  DETROIT         MI    48202‐2700
JAY BAKER                        ATTN: RICHARD J BARNES, ESQ        C/O CELLINO & BARNES PC   350 MAIN ST, 25TH FLOOR                          BUFFALO         NY    14202
JAY BAKER                        1884 S LEATHERWOOD RD                                                                                         BEDFORD         IN    47421‐8862
JAY BALDWIN                      2482 FRIEND DR                                                                                                FLINT           MI    48507‐3234
JAY BALLARD                      14 STILLWELL DR                                                                                               DAYTON          OH    45431‐1314
JAY BANCROFT                     3117 YALE ST                                                                                                  FLINT           MI    48503‐4611
JAY BARNABY                      9430 KALAMAZOO AVE SE                                                                                         CALEDONIA       MI    49316‐9707
JAY BARTOW                       805 SHORE RD                                                                                                  UNION BEACH     NJ    07735‐3231
JAY BECHTEL                      227 SIPPLE AVE                                                                                                BALTIMORE       MD    21236‐4227
JAY BECHTEL                      4322 HAMPTON HALL CT                                                                                          BELCAMP         MD    21017‐1341
JAY BELLOWS                      7890 BIRCH RUN RD                                                                                             MILLINGTON      MI    48746‐9531
JAY BERKEBILE                    14743 PARIS ST                                                                                                ALLEN PARK      MI    48101‐3511
JAY BERKSHIRE                    5303 N 100 W                                                                                                  KOKOMO          IN    46901‐8536
JAY BETTY DEARING                C/O EDWARD O MOODY P A             801 W 4TH ST                                                               LITTLE ROCK     AR    72201
JAY BIERENS                      411 E KALKASKA                                                                                                LAKE CITY       MI    49651‐9173
JAY BILLBROUGH                   66 LONDONWOOD DR                                                                                              DAVISON         MI    48423‐8130
JAY BISMACK                      1456 MAIN ST                                                                                                  MINDEN CITY     MI    48456‐9412
JAY BLACK                        2617 BEDFORD RD                                                                                               LANSING         MI    48911‐1704
JAY BLACKMORE                    7369 MCCREERY DR                                                                                              PRESQUE ISLE    MI    49777‐8657
JAY BLAZEK                       7290 WILMINGTON PIKE                                                                                          CENTERVILLE     OH    45459‐5216
JAY BLEVINS                      2456 NW 38TH ST                                                                                               OKLAHOMA CITY   OK    73112‐7528
JAY BOONE                        10056 MEYERS RD                                                                                               EAST OTTO       NY    14729‐9705
JAY BRANTINGHAM                  1880 NORTHFIELD AVE NW                                                                                        WARREN          OH    44485‐1731
JAY BRONSING                     1592 VINEWOOD ST                                                                                              AUBURN HILLS    MI    48326‐1657
JAY BROOKS                       29004 SHERIDAN ST                                                                                             GARDEN CITY     MI    48135‐2722
JAY BROSKI                       4115 HAGERMAN RD                                                                                              LEONARD         MI    48367‐1919
JAY BRYAN                        828 TREMONT AVE                                                                                               DAVENPORT       IA    52806
JAY BUCKNER                      PO BOX 91                                                                                                     BOYNE CITY      MI    49712‐0091
JAY BURDEN                       4410 DODGE AVE                                                                                                FORT WAYNE      IN    46815‐6927
JAY BURGESS                      6045 LAKEVIEW PARK DR                                                                                         LINDEN          MI    48451‐9097
JAY BURNETT                      2321 BALMORAL BLVD                                                                                            KOKOMO          IN    46902‐3156
JAY BURRILL                      5221 PAUL MEYER LANE                                                                                          PLANT CITY      FL    33566
JAY BUSWELL                      1052 MORNINGSIDE DRIVE                                                                                        JANESVILLE      WI    53546
JAY BUXBAUM                      601 ‐ 108TH AVENUE NE, STE 2100                                                                               BELLEVUE        WA    98004
JAY C BRANTINGHAM                1880 NORTHFIELD N.W.                                                                                          WARREN          OH    44485‐1731
JAY C BROWN                      PO BOX 2815                                                                                                   DETROIT         MI    48202‐0815
JAY C JOHNSON MD                 4200 W MEMORIAL RD STE 101                                                                                    OKLAHOMA CITY   OK    73120‐8305
JAY C LAKINS                     2363 S DAYTON LAKEVIEW RD APT B8                                                                              NEW CARLISLE    OH    45344
JAY C MCCARREN                   6314 OLIVE BRANCH RD                                                                                          OREGONIA        OH    45054
JAY C SMITH                      5014 COULSON DR                                                                                               DAYTON          OH    45418
JAY CALLISON                     4179 CANTABURY LN                                                                                             JACKSON         MI    49203‐5116
JAY CAMPBELL                     10340 DAVISBURG RD                                                                                            DAVISBURG       MI    48350‐2050
JAY CARLISLE                     6118 HUGH ST                                                                                                  BURTON          MI    48509‐1668
JAY CARLISLE                     1264 HATFIELD DR                                                                                              EVANSVILLE      IN    47714‐0719
JAY CARLO AZURIN
JAY CARNEY JR                    1104 CHAUCER CIR                                                                                              AKRON           OH    44312‐4699
JAY CASEY                        1177 BRIAR DOWNS LN                                                                                           BURTON          MI    48529‐2224
JAY CEE SALES CO                 GREG WEITZMAN                      32861 CHESLEY DRIVE                                                        PLYMOUTH        MI    48170
JAY CHANEY
JAY CHAPMAN                      BARON & BUDD PC                    THE CENTRUM SUITE 1100    3102 OAK LAWN AVE                                DALLAS           TX   75219‐4281
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Name                           Address1                         Address2                 Address3                  Address4               City              State   Zip
JAY CHERRY                     4435 JACKMAN RD APT 37                                                                                     TOLEDO             OH     43612‐1565
JAY CHESHIRE                   1042 ASH ST                                                                                                POPLAR BLUFF       MO     63901‐7127
JAY CHEVROLET                  319 ANN ST                                                                                                 PICKENS            SC     29671‐2240
JAY CHEVROLET, INC.            JAY FELDMAN                      3372 W HIGHLAND RD                                                        HIGHLAND           MI     48357‐4000
JAY CHEVROLET, INC.            3372 W HIGHLAND RD                                                                                         HIGHLAND           MI     48357‐4000
JAY CIEMINSKI                  2767 MEADOWS DR                                                                                            RIVER FALLS        WI     54022‐4278
JAY CLONTZ                     167 DELRAY AVE                                                                                             WEST SENECA        NY     14224‐1842
JAY COFFMAN                    8491 CRABB RD                                                                                              TEMPERANCE         MI     48182‐9555
JAY COLEY                      351 BILL WEST RD                                                                                           LIMESTONE          TN     37681‐3163
JAY COOK                       1247 39TH AVE                                                                                              KENOSHA            WI     53144‐2909
JAY COVEY                      1664 WOODSIDE WAY                                                                                          XENIA              OH     45385‐7618
JAY CRESSMAN                   108 LEWIS ST                                                                                               SAINT JOHNS        MI     48879‐1056
JAY D ASKEW                    110 TWO MILE CREEK RD                                                                                      TONAWANDA          NY     14150‐7733
JAY D BOOTH                    4417 POPPY DR                                                                                              MIDDLETOWN         OH     45044
JAY D BUELOW                   9717 HARBOUR COVE CT                                                                                       YPSILANTI          MI     48197‐6902
JAY D COVEY                    1664 WOODSIDE WAY                                                                                          XENIA              OH     45385‐7618
JAY D HULBERT                  246 LEHIGH STATION RD                                                                                      W HENRIETTA        NY     14586‐9751
JAY D KING                     860 ASPEN                                                                                                  NEW CARLISLE       OH     45344‐3002
JAY D LAGREE & ENID S LAGREE   7 PROSPECT ST                                                                                              REHOBOTH BCH       DE     19971‐2913
JAY D NOBLE                    2714 STATE ROUTE 232                                                                                       BETHEL             OH     45106‐9451
JAY DALLAIRE                   3777 PERCY KING RD                                                                                         WATERFORD          MI     48329‐1362
JAY DARLING SR                 PO BOX 217                                                                                                 VERNON             MI     48476‐0217
JAY DAVIS                      647 LAFFERTY DR                                                                                            ROCHESTER HILLS    MI     48307‐2431
JAY DAVIS                      5858 NORTHAMPTON DR                                                                                        MEDINA             OH     44256‐6317
JAY DEBANDT                    4717 NE 139TH ST                                                                                           VANCOUVER          WA     98686‐2205
JAY DEE CONTRACTORS INC        ATTN: TOM DI PONIO               38881 SCHOOLCRAFT RD                                                      LIVONIA            MI     48150‐1095
JAY DEFORD                     809 LINDBERG RD                                                                                            ANDERSON           IN     46012‐2627
JAY DERTINGER                  837 SEYMOUR AVE                                                                                            LINDEN             NJ     07036‐2973
JAY DIENER                     4150 SWAFFER RD                                                                                            VASSAR             MI     48768‐9286
JAY DILLMAN                    178 ERIE CHURCH RD                                                                                         BEDFORD            IN     47421‐7590
JAY DILLON                     9500 W LONE BEECH DR                                                                                       MUNCIE             IN     47304‐8931
JAY DIXON                      4011 SOMERSET DR                                                                                           ANDERSON           IN     46012‐9460
JAY DOWLING                    1218 ALMOND DR                                                                                             PLAINFIELD         IN     46168‐9354
JAY DUKES                      11468 N HIGHWAY 99                                                                                         SEMINOLE           OK     74868‐6821
JAY DUNLAP                     PO BOX 281                       603 E WALNUT                                                              SUMMITVILLE        IN     46070‐0281
JAY E JAMES                    C/O WILLIAMS N IVERS             HARRISON & MOBERLY LLP   10 W MARKET ST, STE 700                          INDIANAPOLIS       IN     46024
JAY E JEFFCO                   4681 WARREN SHARON                                                                                         VIENNA             OH     44473‐9667
JAY E MCDONALD                 34 WELDON ST                                                                                               ROCHESTER          NY     14611‐4026
JAY EARICH                     149 W PINEWOOD AVE                                                                                         DEFIANCE           OH     43512‐3580
JAY EDMONDS                    153 ORANGE BLOSSOM LN                                                                                      LEESBURG           FL     34748‐9238
JAY EDWARDS                    3901 N AVERILL AVE APT 5I                                                                                  FLINT              MI     48506‐2586
JAY EINERSON                   15804 PARK LN                                                                                              EXCLSOR SPRGS      MO     64024‐9716
JAY ENGINEERING CO             STE 210                          8344 HALL ROAD                                                            UTICA              MI     48317‐5554
JAY ENN CORPORATION            33943 DEQUINDRE RD                                                                                         TROY               MI     48083‐4632
JAY ENN/TROY                   33943 DEQUINDRE RD                                                                                         TROY               MI     48083‐4632
JAY EPPLE                      260 LAKEVIEW DR                                                                                            DEFIANCE           OH     43512‐8047
JAY ESSLINGER                  1322 W 50 N                                                                                                WABASH             IN     46992‐8362
JAY EURICH                     1873 MILES RD                                                                                              LAPEER             MI     48446‐8042
JAY EVANS                      4145 W 50 S                                                                                                KOKOMO             IN     46901‐9702
JAY EWING                      411 DONEGAL DR                                                                                             ROCHESTER HILLS    MI     48309‐1228
JAY F WILLIAMS                 5 DELAWARE ST                                                                                              DETROIT            MI     48202‐2423
JAY FAST                       4023 NW SOUTH DR                                                                                           RIVERSIDE          MO     64150‐3386
JAY FERGUSON                   537 W JEFFERSON ST P O B                                                                                   EVART              MI     49631
JAY FEWLESS                    340 BRIAN DAVID RD                                                                                         STONEWALL          LA     71078‐9686
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Name                                  Address1                        Address2                 Address3    Address4               City            State   Zip
JAY FISHER PONTIAC‐GMC, L.L.C.        JAY FISHER                      415 CHESTNUT ST                                             ELMER            NJ     08318‐2119
JAY FISHER PONTIAC‐GMC, L.L.C.        415 CHESTNUT ST                                                                             ELMER            NJ     08318‐2119
JAY FLAHERTY                          3037 SHADOW HILL CIR                                                                        THOUSAND OAKS    CA     91360‐1060
JAY FLYNN
JAY FORD                              11210 EASLEY DR                                                                             LEES SUMMIT     MO      64086‐9012
JAY FORDING                           1931 BUCKSKIN DR                                                                            FORT WAYNE      IN      46804‐1312
JAY FRANKLIN                          3580 KAREN PKWY APT 303                                                                     WATERFORD       MI      48328‐4630
JAY FRUTH                             4527 E 950 S                                                                                AMBOY           IN      46911‐9302
JAY FULKROAD & SONS                                                   RR 1 BOX 3060                                                               PA      17049
JAY GARBER                            8532 N 400 W                                                                                HUNTINGTON      IN      46750‐9720
JAY GASSEL                            2831 LESLIE PARK CIR                                                                        ANN ARBOR       MI      48105‐9254
JAY GEGENHEIMER                       PO BOX 2                                                                                    CHESTERFIELD    IN      46017‐0002
JAY GLAZIER                           3283 E PIERSON RD                                                                           FLINT           MI      48506‐1478
JAY GOLDSMITH                         PO BOX 178                      220 FOREST ST                                               LAGRANGE        OH      44050‐0178
JAY GOODWIN                           5392 MAXINE CT                                                                              BAY CITY        MI      48706‐9742
JAY GREENUP                           1414 GOURDNECK RD NW                                                                        TULLAHOMA       TN      37388‐6300
JAY GRIESBAUER                        990 MAE LYNN DR                                                                             FENTON          MO      63026‐5312
JAY GUSS                              4651 REDFIELD CT APT 1B                                                                     SAINT LOUIS     MO      63121‐2232
JAY H ALFERINK                        5145 JONFIELD AVE SE                                                                        KENTWOOD        MI      49548‐7618
JAY H HINES                           6116 D FIRESIDE DR.                                                                         CENTERVILLE     OH      45459‐2032
JAY H VADER                           1300 N 78TH ST STE 202                                                                      KANSAS CITY     KS      66112‐2406
JAY HALL                              PO BOX 60                                                                                   GERMANTOWN      OH      45327‐0060
JAY HAMPTON                           60807 BATES RD                                                                              LENOX           MI      48048‐1780
JAY HANKS                             115 W WILLOW ST                 P.O. BOX 353                                                PERRY           MI      48872‐8132
JAY HARDMAN                           5404 JEROME LN                                                                              GRAND BLANC     MI      48439‐4324
JAY HARRIS                            18176 BUCKSNORT RD                                                                          RICHMOND        MO      64085‐8010
JAY HART                              2239 E FRANCES RD                                                                           CLIO            MI      48420‐9768
JAY HATFIELD CHEVROLET BUICK PONTIA   200 S EAST AVE                                                                              COLUMBUS        KS      66725‐1955

JAY HATFIELD CHEVROLET BUICK PONTIAC 200 S EAST AVE                                                                               COLUMBUS         KS     66725‐1955
INC
JAY HATFIELD CHEVROLET BUICK PONTIAC, JAY HATFIELD                    200 S EAST AVE                                              COLUMBUS         KS     66725‐1955
INC.
JAY HATFIELD CHEVROLET BUICK PONTIAC, 200 S EAST AVE                                                                              COLUMBUS         KS     66725‐1955
INC.
JAY HAYES                             18513 W VOGEL AVE                                                                           WADDELL         AZ      85355‐4428
JAY HAYES                             7500 BOULDER BLUFF DR APT 10                                                                JENISON         MI      49428‐8946
JAY HENDERSON                         215 S MCKINLEY AVE                                                                          MUNCIE          IN      47303‐4860
JAY HENGES ENTERPRISES                4133 SHORELINE DR                                                                           EARTH CITY      MO      63045‐1211
JAY HEPP                              635 PATRICIA CT                                                                             OXFORD          MI      48371‐4356
JAY HO                                24633 NAPLES DR                                                                             NOVI            MI      48374‐2982
JAY HOLLEMAN                          5533 SHERINGTON RD                                                                          FORT WAYNE      IN      46814‐7513
JAY HOLMES                            128 OLIVER ST                                                                               PONTIAC         MI      48342‐1551
JAY HORTON JR                         6815 ANDERSON RD                                                                            HALE            MI      48739‐8515
JAY HUDSON                            2077 THISTLEWOOD DR                                                                         BURTON          MI      48509‐1218
JAY HYLTON                            6894 W VANAMAN CT                                                                           CRYSTAL RIVER   FL      34429‐5638
JAY IND/MANSFIELD                     150 LONGVIEW AVE E                                                                          MANSFIELD       OH      44903‐4206
JAY INDUSTRIES                        150 LONGVIEW AVE E.                                                                         MANSFIELD       OH      44903‐4205
JAY INDUSTRIES INC                    150 LONGVIEW AVE E                                                                          MANSFIELD       OH      44903‐4206
JAY INDUSTRIES INC                    150 E LONGVIEW AVE                                                                          MANSFIELD       OH      44903
JAY INDUSTRIES INC                                                    150 E LONGVIEW AVE                                          MANSFIELD       OH      44903‐4206
JAY INDUSTRIES INC                    515 NEWMAN ST                                                                               MANSFIELD       OH      44902‐1160
JAY INDUSTRIES INC                    MIKE SZUCH                      150 E. LONGVIEW AVENUE                                      LOVES PARK      IL
JAY INDUSTRIES INC                    MIKE SZUCH                      150 LONGVIEW AVE E                                          MANSFIELD       OH      44903‐4206
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JAY INDUSTRIES INC        TIM RICE                         JAY INDUSTRIES                    1595 W LONGVIEW AVENUE                          BEREA               KY     40403
JAY IRWIN                 1498 MARK ST                                                                                                       FLINT               MI     48507‐5530
JAY JACKSON               C/O THE LAW OFFICES OF PETER G   100 N CHARLES ST                  22ND FL                                         BALTIMORE           MD     21201
                          ANGELOS
JAY JAMES                 241 S BROADWAY ST                                                                                                  PENDLETON          IN      46064‐1203
JAY JAMISON               1722 MCELHINNY AVE                                                                                                 PITTSBURGH         PA      15207‐2448
JAY JARRETT               5259 E 550 S                                                                                                       ATLANTA            IN      46031‐9539
JAY JEFFCO                4681 WARREN SHARON RD                                                                                              VIENNA             OH      44473‐9667
JAY JOHN                  1484 UNION HILL RD                                                                                                 LACEYS SPRING      AL      35754‐7351
JAY JOHNSON               109 TALL TIMBERS RD                                                                                                UNION              OH      45322‐3447
JAY JOHNSON               5473 MOCERI LN                                                                                                     GRAND BLANC        MI      48439‐4369
JAY JOHNSON               10700 LINCOLN ST                                                                                                   CHISAGO CITY       MN      55013‐9506
JAY JONES                 101 E HEGELER LN                                                                                                   DANVILLE           IL      61832‐8434
JAY JOUNG
JAY JR, LLOYD W           6908 PHILLIPSBURG ROAD                                                                                             ENGLEWOOD          OH      45322
JAY JUDD                  2720 REED RD                                                                                                       LAPEER             MI      48446‐8371
JAY K CHAPMAN             WEITZ & LUXENBERG PC             700 BROADWAY                                                                      NEW YORK CITY      NY      10003
JAY KAPLAN ROLLOVER IRA   JAY KAPLAN                       56 VOORHIS AVE                                                                    ROCKVILLE CENTRE   NY      11570

JAY KELLOGG               211 W BERRY AVE                                                                                                    LANSING            MI      48910‐2964
JAY KEMPINGER             5050 SAND LAKE RD                                                                                                  EAGLE RIVER        WI      54521
JAY KENDALL               21267 GERTRUDE AVE APT 109                                                                                         PORT CHARLOTTE     FL      33952‐5020
JAY KERRICK               11048 BROOKS LN                                                                                                    PLYMOUTH           MI      48170‐3474
JAY KEY                   6939 S 500 E                                                                                                       JONESBORO          IN      46938‐9713
JAY KING                  23014 MAPLE AVE                                                                                                    FARMINGTON         MI      48336‐3957
JAY KING JR               2357 FOREST LAKE DR                                                                                                NASHVILLE          TN      37211‐7027
JAY KLEIN                 7627 STONES RIVER CT                                                                                               INDIANAPOLIS       IN      46259‐6727
JAY KNOLL                 3189 HICKORY STONE LN                                                                                              HOLLY              MI      48442‐8123
JAY KNUTH                 3532 S QUINCY AVE                                                                                                  MILWAUKEE          WI      53207‐3436
JAY KOGLE                 N2791 COUNTY ROAD C                                                                                                CAMBRIDGE          WI      53523‐9793
JAY KOLK                  1503 HONEY LN                                                                                                      KOKOMO             IN      46902‐3977
JAY KREGER                361 MILLER LAKE RD                                                                                                 COLUMBIAVILLE      MI      48421‐9715
JAY KUGLER                3433 PEBBLE BROOK DR                                                                                               BILLINGS           MT      59101‐8006
JAY KUSSMAUL              8489 GLEN HAVEN DR                                                                                                 HOWELL             MI      48843‐8110
JAY L ELSTON              1141 E HARVARD AVE                                                                                                 FLINT              MI      48505‐1523
JAY L HOLMES              128 OLIVER ST                                                                                                      PONTIAC            MI      48342‐1551
JAY L IRWIN               1498 MARK ST                                                                                                       FLINT              MI      48507‐5530
JAY L JOHNSON             109 TALL TIMBERS RD                                                                                                UNION              OH      45322‐3447
JAY L STUHLDREHER         713 PEFFER ST.                                                                                                     NILES              OH      44446‐3320
JAY LA PALM               2110 LEBLANC ST                                                                                                    LINCOLN PARK       MI      48146‐3774
JAY LA VIGNE              3650 SCHOLAR LN                                                                                                    HOLT               MI      48842‐9417
JAY LEBLANC               23837 FOREST ST                                                                                                    OAK PARK           MI      48237‐1804
JAY LEE                   3228 BOWMAN RD                                                                                                     BAY CITY           MI      48706‐1720
JAY LINKENHELT            3527 SW 92ND ST                                                                                                    GAINESVILLE        FL      32608‐8673
JAY LOCKARD               3733 YOUNGSTOWN KINGSVILLE RD                                                                                      CORTLAND           OH      44410‐9791
JAY LOPEZ
JAY LOWE                  101 ACORN PL                                                                                                       SPRING HILL        TN      37174‐2586
JAY M GIRARDOT            3079 VINELAND TR                                                                                                   BEAVERCREEK        OH      45430
JAY M MIZELL              115 MOHAWK DR                                                                                                      MATTYDALE          NY      13211‐1831
JAY M RHOTON              0873 E 1200 S                                                                                                      MONTPELIER         IN      47359‐9553
JAY M RICHMAN IRRA        7023 LANCASTER CT                                                                                                  UNIVERSITY PARK    FL      34201
JAY M RICHMAN IRRA        JAY M RICHMAN                    7023 LANCASTER CT                                                                 UNIVERSITY PARK    FL      34201
JAY M SCHWAMM             1775 BROADWAY ‐ SUITE 617        (3 COLUMBUS CIRCLE ‐ SUITE 617)                                                   NEW YORK           NY      10019
JAY M TINCHER             6291 BROWNS RUN RD.                                                                                                MIDDLETOWN         OH      45042
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Name               Address1                        Address2                Address3     Address4               City               State   Zip
JAY M WATTS        ACCT OF SANDRA LIVINGSTON       6401 RAINTREE PL                                            SPRINGFIELD          IL    62712
JAY MALOTT         5443 BRISTOL PARKE DR                                                                       CLARKSTON           MI     48348‐4801
JAY MANOR          879 REGENTS PARK DR                                                                         MONROE              MI     48161‐9037
JAY MARTIN         108 W 3RD ST                                                                                TILTON               IL    61833‐7411
JAY MATHENA        941 MEADOWCREST RD                                                                          LA GRANGE PARK       IL    60526‐1530
JAY MAY            2030 37TH ST                                                                                BEDFORD             IN     47421‐5604
JAY MAYHORN        4130 HIGHWAY 77                                                                             NEWBERN             TN     38059‐6320
JAY MAYO           726 MAPLE HILL DR                                                                           WEST CARROLLTON     OH     45449‐1604

JAY MCCALLUM       PO BOX 224                                                                                  SOUTH WAYNE         WI     53587‐0224
JAY MCCARROLL JR   326 WALNUT ST                                                                               CHESTERFIELD        IN     46017‐1556
JAY MCLAUGHLIN     3625 WOODGLEN WAY                                                                           ANDERSON            IN     46011‐1675
JAY MEYERS         171 DERSAM RD                                                                               ALDEN               NY     14004
JAY MIER           114 PICK AVE A                                                                              CHESTERFIELD        IN     46017‐1708
JAY MILLER         1600 AIRPORT DR                                                                             MECHANICSBURG       PA     17050‐2101
JAY MILLER         4571 W 400 S                                                                                MARION              IN     46953‐9738
JAY MITTAL
JAY MODEN          19 CHESTNUT DR                                                                              HAMLIN              NY     14464‐9501
JAY MOELIS         8684 E 148TH CIRCLE                                                                         THORNTON            CO     80602
JAY MOORE
JAY MORGAN         3181 LES CHAPPELL RD                                                                        SPRING HILL         TN     37174‐2513
JAY MORRIS
JAY MOSELEY        803 CASTLEWOOD CT                                                                           CONWAY             SC      29526‐9187
JAY MUNCY          17066 MURPHY RD                                                                             AMESVILLE          OH      45711‐9307
JAY NANAVATY       29 BROOKSHIRE LANR                                                                          PENFIELD           NY      14526
JAY NAZARIJCHUK    12122 CRAWFORD RD                                                                           OTISVILLE          MI      48463
JAY NEISIUS        23460 ARGYLE ST                                                                             NOVI               MI      48374‐3696
JAY NETTLETON      3028 WHITE PEAKS CT                                                                         CASTLE ROCK        CO      80104‐7508
JAY NEWCOMB        30706 HENNEPIN ST                                                                           GARDEN CITY        MI      48135‐1445
JAY NEWCOMB JR     24425 HELENE DR                                                                             BROWNSTOWN         MI      48183‐2580
JAY NEWELL         3233 SW 93RD ST                                                                             OKLAHOMA CITY      OK      73159‐6530
JAY NEWTON         1887 HICKORY LN                                                                             LONGS              SC      29568‐6519
JAY NEWVINE        1617 MACKINAW ST                                                                            SAGINAW            MI      48602‐2561
JAY NIGHTINGALE    10857 JACKSON MEADOWS AVE                                                                   NORTH JACKSON      OH      44451‐8725
JAY NOBLE          2714 STATE ROUTE 232                                                                        BETHEL             OH      45106‐9451
JAY NORMAN         APT E5                          16 NORTH MAPLE STREET                                       WOODBURY           NJ      08096‐2586
JAY NORTON         2154 N BOSART AVE                                                                           INDIANAPOLIS       IN      46218‐3836
JAY NUDDS          514 W KEMPER RD                                                                             CINCINNATI         OH      45246‐2202
JAY OLSEN          PO BOX 460                                                                                  ASHLAND            OH      44805‐0460
JAY ONISCH         3033A N BARTLETT AVE                                                                        MILWAUKEE          WI      53211‐3215
JAY OPIE           12 GRANDVIEW AVE                                                                            OSSINING           NY      10562‐2614
JAY OSBORN         3265 STATE ST                                                                               CALEDONIA          NY      14423‐1231
JAY OSTAHOWSKI     3515 SUTTON PL                                                                              BLOOMFIELD HILLS   MI      48301‐2050
JAY OSTER          1013 BROADWAY ST                                                                            ANDERSON           IN      46012‐2526
JAY OVENSHIRE      493 SPRINGVIEW DR                                                                           ROCHESTER          MI      48307‐1738
JAY PACKARD        25 LOGAN AVE APT 10                                                                         KENMORE            NY      14223‐1540
JAY PARSLEY        26670 ARMSTRONG RD                                                                          LAURELVILLE        OH      43135‐9730
JAY PATE           3761 BARBERRY CIR                                                                           WIXOM              MI      48393‐1106
JAY PERDUE         5177 E CENTENARY RD                                                                         MOORESVILLE        IN      46158‐6862
JAY PERRY          3405 S ARROWHEAD CT                                                                         INDEPENDENCE       MO      64057‐1276
JAY PHIFER         1177 WEST NEEDMORE HIGHWAY                                                                  CHARLOTTE          MI      48813‐8628
JAY PIORIER        N8435 KNUTES RD                                                                             PITTSVILLE         WI      54466‐9133
JAY PISTANA        928 JOSHUA DR                                                                               HIGHLAND           MI      48356‐2962
JAY PITZER         5773 CALICO LN                                                                              CANFIELD           OH      44406‐9736
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Name                          Address1                             Address2                      Address3   Address4               City               State   Zip
JAY PLASTICS DIVISION         MIKE SZUCH                           150 LONGVIEW AVE E                                              MANSFIELD           OH     44903‐4206
JAY PLASTICS DIVISION         MIKE SZUCH                           150 E. LONGVIEW AVENUE                                          LOVES PARK           IL
JAY PONTIAC, INC.             MARC JACOBSON                        18800 ROCKSIDE RD                                               BEDFORD             OH     44146‐2054
JAY PONTIAC‐BUICK             MARC JACOBSON                        18800 ROCKSIDE RD                                               BEDFORD             OH     44146‐2054
JAY PONTIAC‐BUICK‐GMC         18800 ROCKSIDE RD                                                                                    BEDFORD             OH     44146‐2054
JAY PONTIAC‐BUICK‐GMC, INC.   JAMES STELZENMULLER                  1661 WHITTLESEY RD                                              COLUMBUS            GA     31904‐3645
JAY PONTIAC‐BUICK‐GMC, INC.   1661 WHITTLESEY RD                                                                                   COLUMBUS            GA     31904‐3645
JAY POTTER                    5978 N BELLEFONTAINE AVE                                                                             GLADSTONE           MO     64119‐2110
JAY PRESEAU                   5478 WILLARD RD                                                                                      BIRCH RUN           MI     48415‐8770
JAY PRESTAGE                  30285 CASCADE CT                                                                                     SOUTHFIELD          MI     48076‐2065
JAY PROCTOR                   1090 DERRYBERRY CEMETERY RD                                                                          COLUMBIA            TN     38401‐9539
JAY PURDEY                    2450 MIAMI BEACH DR                                                                                  FLINT               MI     48507‐1058
JAY R BURRILL                 5221 PAUL MEYER LANE                                                                                 PLANT CITY          FL     33567
JAY R MAYO                    726 MAPLE HILL DRIVE                                                                                 WEST CARROLLTON     OH     45449‐1604

JAY R SMITH                   108 MAPLE RD.                                                                                        OIL CITY           PA      16301‐7112
JAY R SMITH                   108 MAPLE RD                                                                                         OIL CITY           PA      16301‐7112
JAY RAY JR                    130 N EMERSON ST                                                                                     KANSAS CITY        MO      64119‐3157
JAY RAYL                      PO BOX 263                                                                                           LAINGSBURG         MI      48848‐0263
JAY RAYLS                     7924 MOUNT SHASTA CIR                                                                                LAS VEGAS          NV      89145‐4983
JAY REICH                     2832 KENFORD RD                                                                                      WATERFORD          MI      48329‐2923
JAY REIDSMA                   811 HIDDEN PINE RD                                                                                   BLOOMFIELD HILLS   MI      48304‐2410
JAY RHOADES                   349 3RD AVE                                                                                          MANSFIELD          OH      44905‐1929
JAY RHOTON                    0873 E 1200 S                                                                                        MONTPELEIER        IN      47359‐9553
JAY RICE                      2001 PHILPOT RD                                                                                      WEST MONROE        LA      71292‐2666
JAY RICE                      25255 BIRCHWOODS DR                                                                                  NOVI               MI      48374‐2106
JAY RICHEZ                    3012 WINDSOR DR                                                                                      COLUMBIA           TN      38401‐4952
JAY ROBB                      4180 18 1/2 MILE RD                                                                                  STERLING HTS       MI      48314‐2902
JAY ROBSON                    324 N COUNTY ROAD 325 W                                                                              DANVILLE           IN      46122
JAY ROGERS                    450 PRICE RD                                                                                         NASHVILLE          MI      49073‐8736
JAY ROSZATYCKI                800 W BORTON RD                                                                                      ESSEXVILLE         MI      48732‐9656
JAY S HOPKINS JR              1269 E PRINCETON AVE                                                                                 FLINT              MI      48505‐1754
JAY S LOWE                    101 ACORN PL                                                                                         SPRING HILL        TN      37174‐2586
JAY SANDERS                   2063 SIESTA LN                                                                                       SAINT LOUIS        MO      63138‐1245
JAY SARGENT                   9255 FRANCES RD                                                                                      OTISVILLE          MI      48463‐8404
JAY SARTOR                    11315 N ELMS RD                                                                                      CLIO               MI      48420‐9468
JAY SAWYER
JAY SCHOLTEN                  6595 CEDARGROVE TRL                                                                                  JENISON             MI     49428‐7131
JAY SCOTT                     PO BOX 1023                                                                                          JAMESTOWN           TN     38556‐1023
JAY SEBELA                    16210 ASPEN HOLLOW CT                                                                                FENTON              MI     48430
JAY SEGER                     8090 ROUND LAKE RD                                                                                   LAINGSBURG          MI     48848‐9458
JAY SHOP INC                  197 CESAR E CHAVEZ AVE                                                                               PONTIAC             MI     48342‐1036
JAY SHROFF                    45564 BALDWIN CT                                                                                     CANTON              MI     48187‐5263
JAY SHULTZ                    149 S FREMONT ST                                                                                     JANESVILLE          WI     53545‐4259
JAY SIM                       5370 KELLEN LN                                                                                       BLOOMFIELD          MI     48302‐2740
JAY SKEWES                    C/O CLAPPER, PATTI, SCHWEIZER & MASON 2330 MARINSHIP WAY STE 140                                     SAUSALITO           CA     94965

JAY SLUSS                     824 MCALLISTER DR                                                                                    LOWER BURRELL      PA      15068‐3733
JAY SMALLWOOD                 2368 REEVES CREEK RD                                                                                 JONESBORO          GA      30236‐7229
JAY SMITH                     14 WOODLAND CHASE BLVD                                                                               NILES              OH      44446‐5350
JAY SMITH                     108 MAPLE RD                                                                                         OIL CITY           PA      16301‐7112
JAY SMITH                     50553 JIM DR                                                                                         CHESTERFIELD       MI      48047‐4633
JAY SMITH                     6250 S PITTSFORD RD                                                                                  PITTSFORD          MI      49271‐9609
JAY SMITH                     5075 W HAZELRIGG RD                                                                                  THORNTOWN          IN      46071‐9253
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Name                    Address1                       Address2            Address3         Address4               City               State   Zip
JAY SNOW                75 W SMILEY AVE                                                                            SHELBY              OH     44875‐1025
JAY SNYDER              315 OXFORD CT                                                                              MAUMEE              OH     43537‐4310
JAY SPENCER             2032 S 950 W                                                                               ANDREWS             IN     46702‐9734
JAY SPENCHIAN           2477 HERONWOOD DR                                                                          BLOOMFIELD HILLS    MI     48302‐0838
JAY SPRAGUE             3093 SOLAR DR NW                                                                           WARREN              OH     44485‐1611
JAY SR, ROBERT M        2215 S 500 W                                                                               TIPTON              IN     46072‐9123
JAY STANISZEWSKI        6327 GOLF VIEW DR                                                                          CLARKSTON           MI     48346
JAY STARBODY            106 SUNRISE LN                                                                             BRYAN               OH     43506‐8720
JAY STARK               4221 MARGATE LN                                                                            BLOOMFIELD          MI     48302‐1627
JAY STEPHENSON          7 JENNINGS TER                                                                             BRISTOL             CT     06010‐4904
JAY STERLING PLUGGE
JAY STRAUGH             1516 COUNTY ROAD 546                                                                       PIGGOTT            AR      72454‐8101
JAY STUCKEY             9023 BACK CREEK VALLEY RD                                                                  HEDGESVILLE        WV      25427‐3027
JAY STUMP               97 E PRINCETON AVE                                                                         PONTIAC            MI      48340‐1952
JAY SURRATT             6633 BOTICELLI DR                                                                          LAKE WORTH         FL      33467‐7037
JAY SUTTON              50745 HADLEY RD                                                                            E PALESTINE        OH      44413‐9738
JAY SWATON              1507 6TH ST                                                                                BAY CITY           MI      48708‐6701
JAY T HALL              PO BOX 60                                                                                  GERMANTOWN         OH      45327‐0060
JAY T KELL              801 FERNDALE AVE                                                                           TILTON             IL      61833‐7931
JAY T ZIMMERMAN         2282 US ROUTE 40                                                                           TIPP CITY          OH      45371
JAY TALBOTT             6473 CLUB CT E                                                                             GRAND BLANC        MI      48439‐9455
JAY TAYLOR              7107 TALNUCK CT                                                                            CLARKSTON          MI      48348‐5055
JAY TEFFER              16150 S 1325 RD                                                                            STOCKTON           MO      65785‐7242
JAY THOMPSON            2300 CHRISTOPHER ST                                                                        ADRIAN             MI      49221‐9475
JAY THRIFT              5097 BISHOP RD                                                                             DRYDEN             MI      48428‐9225
JAY TINDALL             2297 ACADEMY RD                                                                            HOLLY              MI      48442‐8385
JAY TOLSMA              6645 WILLOW HWY                                                                            GRAND LEDGE        MI      48837‐8973
JAY TOMASIC             5260 WEAVER RD                                                                             BERLIN CENTER      OH      44401‐9797
JAY TOWNSEND            35711 CLARKSTON LN                                                                         RICHMOND           MI      48062‐8910
JAY TREGO               1208 RAPPS DAM ROAD                                                                        PHOENIXVILLE       PA      19460
JAY TUKHI               1060 MORADA                                                                                ORANGE             CA      92869‐1506
JAY TURNER              16082 BELL AVE                                                                             EASTPOINTE         MI      48021‐1137
JAY TURNER              2008 N BURDICK RD                                                                          JANESVILLE         WI      53548‐9058
JAY VANLANDINGHAM       2683 ROYAL OAK DR                                                                          BAY CITY           MI      48706‐3029
JAY VAUGHN
JAY VOS                 5429 E SWEDE RD                                                                            CEDARVILLE          MI     49719‐9423
JAY VREDEVELD           3532 TEAROSE DR                                                                            HUDSONVILLE         MI     49426‐8863
JAY W PORTNOY           77 PHILA ST                                                                                SARATOGA SPRINGS    NY     12866

JAY W SHRODE JR         6830 NEWBURGH RD                                                                           EVANSVILLE         IN      47715‐4410
JAY WAKEFIELD           7393 KINLEY RD                                                                             OVID               MI      48866‐9670
JAY WALLACE             8392 OLD HARBOR                                                                            GRAND BLANC        MI      48439‐8060
JAY WALTERHOUSE         1485 HILLSDALE DR                                                                          DAVISON            MI      48423‐2325
JAY WALTON AUTOMOTIVE   9401 CENTRAL AVE NE                                                                        ALBUQUERQUE        NM      87123‐2613
JAY WALTZ               9055 CEDAR LN                                                                              ALANSON            MI      49706‐9740
JAY WARD
JAY WARNER              829 TOWNSHIP ROAD 974                                                                      ASHLAND            OH      44805‐8828
JAY WARREN              13486 PENINSULA DR                                                                         TRAVERSE CITY      MI      49686‐9717
JAY WATKINS             3727 WORCHESTER DR                                                                         FLINT              MI      48503‐4576
JAY WEICHEL             313 STAPLES DR                                                                             ROLESVILLE         NC      27571‐9464
JAY WESENICK            PO BOX 233                                                                                 GREENBUSH          MI      48738‐0233
JAY WETZ                11090 S 875 W                                                                              DALEVILLE          IN      47334
JAY WHITED              3131 HEMINGWAY DR                                                                          MONTGOMERY         TX      77356‐8966
JAY WILBER              4650 GATEHOUSE CT                                                                          ROCHESTER          MI      48306‐4946
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Name                                  Address1                            Address2              Address3        Address4                City               State   Zip
JAY WILLIS                            15091 PORTAGE ST LOT 22                                                                           DOYLESTOWN          OH     44230‐1144
JAY WILSON                            1115 SPRUCE ST                                                                                    EUDORA              KS     66025‐9654
JAY WILSON                            653 E PULASKI AVE                                                                                 FLINT               MI     48505‐3382
JAY WILSON                            9432 SYLVESTER ST                                                                                 TAYLOR              MI     48180‐3525
JAY WINTER                            29703 SIERRA POINT CIR                                                                            FARMINGTON HILLS    MI     48331‐1493

JAY WIREMAN                          HC 88 BOX 806                                                                                      HUEYSVILLE          KY     41640‐9800
JAY WOLFE CHEVROLET‐OLDSMOBILE, INC. PO BOX 12010                                                                                       KANSAS CITY         KS     66112‐0010

JAY WOLFE ENDOWED FUND FOR PED        C/O CHILDRENS MERCY HOSPITAL        2401 GILLHAM RD       ATTN RESOURCE                           KANSAS CITY        MO      64108‐4619
                                                                                                DEPARTMENT
JAY WOLFE IMPORTS OF SPRINGFIELD, INC. JEFFREY WOLFE                      3140 S CAMPBELL AVE                                           SPRINGFIELD        MO      65807‐4911

JAY WOLGAST                           6600 CONSTITUTION BLVD APT 613                                                                    PORTAGE            MI      49024‐8904
JAY WOOLWORTH                         6440 WILLARD RD                                                                                   BIRCH RUN          MI      48415‐8517
JAY WYNNE                             16 FOREST HILLS DR                                                                                WASHINGTON         MO      63090‐5600
JAY YOUNG                             1675 RAMBLEWOOD DR                                                                                LEWISBURG          TN      37091‐4038
JAY YOUNG                             3951 W THENDARA DR                                                                                GLADWIN            MI      48624‐9291
JAY ZACH                              5589 BRIDGES CV                                                                                   METAMORA           MI      48455‐9666
JAY ZELEZNY                           ATTN: JAY ZELEZNY                   77 CENTRAL AVE                                                CLARK              NJ      07066‐1441
JAY'S AUTO CENTRE                     95 LAKESHORE DR.                                                          NORTH BAY ON P1A 2A5
                                                                                                                CANADA
JAY'S AUTO SERVICES INC.              19 FLAMBORO ST. BOX 1091                                                  WATERDOWN ON L0R 2H0
                                                                                                                CANADA
JAY'S CAR REPAIR                      1504 AVENIDA DE LA ESTRELLA STE E                                                                 SAN CLEMENTE       CA      92672‐3861
JAY'S MOTOR CAR CO.                   JAMES HISCOCK                       595 W CHICAGO ST                                              COLDWATER          MI      49036‐9189
JAY'S MOTOR CAR CO.                   595 W CHICAGO ST                                                                                  COLDWATER          MI      49036‐9189
JAY'S TIRE & AUTOMOTIVE REPAIR        301 S MAIN ST STE B                                                                               ELGIN              TX      78621‐2943
JAY, ALBIN V                          PO BOX 370                                                                                        ALLEN PARK         MI      48101‐0370
JAY, BETTY DEARING                    MOODY EDWARD O                      801 W 4TH ST                                                  LITTLE ROCK        AR      72201‐2107
JAY, BEVERLY E                        108 GREENMOOR DR                                                                                  ARCANUM            OH      45304‐1422
JAY, DON                              22 MIDDLESEX RD                                                                                   DEPEW              NY      14043‐1626
JAY, DONALD                           2313 OAK PARK DR                                                                                  RICHMOND           IN      47374‐1674
JAY, DONALD E                         5333 DELOACHE AVENUE                                                                              DALLAS             TX      75220‐2215
JAY, GARY L                           4433 WAGON WHEEL LN                                                                               LANSING            MI      48917‐1663
JAY, GERALD N                         8919 RUTH AVE                                                                                     ALLEN PARK         MI      48101‐1550
JAY, JACQUELINE V                     9688 STATE ROUTE 368                                                                              HUNTSVILLE         OH      43324‐9639
JAY, JAMES                            PORTER & MALOUF PA                  4670 MCWILLIE DR                                              JACKSON            MS      39206‐5621
JAY, JAMES H                          8945 BELSAY RD                                                                                    MILLINGTON         MI      48746‐9542
JAY, JERRY D                          440 CHEATHAM RD                                                                                   ACWORTH            GA      30101‐7989
JAY, JOSEPH W                         6325 HIGHWAY 2                                                                                    FARMERVILLE        LA      71241‐6147
JAY, KYLE L                           1160 HONEYSUCKLE DR                                                                               WHEELING           IL      60090‐5728
JAY, LA VERN L                        2448 HYTHE LN                                                                                     CLERMONT           FL      34711‐6973
JAY, MILDRED A                        290 WINNERS CR DR                                                                                 RED LION           PA      17356
JAY, NORMAN A                         703 STRAWBRIDGE LN                                                                                WAYNE              PA      19087‐2067
JAY, PATRICIA                         4244 E SOUTH FORK DR                                                                              PHOENIX            AZ      85044‐3736
JAY, PEGGY A                          6908 PHILLIPSBURG ROAD                                                                            ENGLEWOOD          OH      45322
JAY, ROBERT L                         740 COUNTY ROAD 848                                                                               MENTONE            AL      35984‐6119
JAY, ROBERTA S                        123 S CLEARVIEW DR                                                                                NEW CASTLE         IN      47362‐9128
JAY, ROGER R                          6748 LOCUST DR                                                                                    TROY               MI      48098‐1925
JAY, ROY                              3790 HOOPER STATION RD                                                                            SHELBYVILLE        KY      40065‐9419
JAY, SCOTT T                          5904 PRINCETON DR                                                                                 KOKOMO             IN      46902‐5284
JAY, THELMA E                         PO BOX 1964                                                                                       LITTLE RIVER       SC      29566‐1964
JAY, THEODORE L                       1258 WOODLAND CHURCH RD                                                                           WAKE FOREST        NC      27587
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Name                           Address1                          Address2                     Address3   Address4                   City               State   Zip
JAY, VIVIAN S                  2448 HYTHE LN                                                                                        CLERMONT            FL     34711‐6973
JAY, WAYNE H                   1905 NEBOBISH AVE                                                                                    ESSEXVILLE          MI     48732‐3200
JAY‐CEE SALE/FRMNGTN           P. O. BOX 419                                                                                        FARMINGTON          MI     48332
JAY‐CEE SALES & RIVET INC      GREG WEITZMAN                     32861 CHESLEY DRIVE                                                PLYMOUTH            MI     48170
JAYA HIND INDUSTRIES LIMITED   MUMBAI PUNE ROAD                  AKURDI PUNE MAHARASTRA                  PIN‐411 035 INDIA INDIA
JAYAN PATEL                    16443 TRES BEAU LN                                                                                   EAST LANSING        MI     48823‐9221
JAYANT DESHMUKH
JAYANT MUJUMDAR                21183 E CHIGWIDDEN ST                                                                                NORTHVILLE          MI     48167‐1012
JAYANT MUJUMDAR                21183 E. CHIGWIDDEN                                                                                  NORTHVILLE          MI     48167
JAYANT SUBHEDAR                5594 LARKINS DR                                                                                      TROY                MI     48085‐3852
JAYAPRAKAS NAVNEETHA           44431 WHITE PINE CIR W                                                                               NORTHVILLE          MI     48168‐4349
JAYAPRAKASH KRISHNASWAMY       2047 REAGAN DR                                                                                       ROCHESTER HILLS     MI     48309‐2979
JAYARAM, REKHA E               2624 SADDLEBROOK DR                                                                                  NAPERVILLE          IL     60564
JAYARAM, SANJAY TUM U          2624 SADDLEBROOK DR                                                                                  NAPERVILLE          IL     60564‐4623
JAYARAMAN MURALI               DBA THE CHETTINAD                 2079 15 MILE RD                                                    STERLING HEIGHTS    MI     48310‐4804
JAYARAMAN SIVAKUMAR            570 CHASSEUR DR                                                                                      GRAND BLANC         MI     48439‐2308
JAYARAMAN, SOWMYALATHA         4974 CARLSON PARK DR                                                                                 TROY                MI     48098‐7102
JAYASRI CHARI                  5252 WYNDHAM PL                                                                                      FENTON              MI     48430‐9160
JAYASUNDERA, AJITH             39841 ROCKCREST CIR                                                                                  NORTHVILLE          MI     48168‐3967
JAYCE BARRON                   8363 CHADSWORTH DR S                                                                                 MOUNT MORRIS        MI     48458‐8841
JAYCEE MARION                  35 MOHAWK RD                                                                                         PONTIAC             MI     48341‐1121
JAYCEE MURLIDAR                6022 HEARTHSIDE DR                                                                                   TROY                MI     48098‐5363
JAYCO INC                      555 S COURT ST                                                                                       LAPEER              MI     48446‐2552
JAYCO, INC.                    903 S MAIN ST                                                                                        MIDDLEBURY          IN     46540‐8529
JAYCO, INC.                    DERAL BONTRAGER                   PO BOX 460                                                         MIDDLEBURY          IN     46540‐0460
JAYCO, INC.
JAYCOX EDWARD F (440955)       ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                         BALTIMORE          MD      21202
                                                                 CHARLES CENTER 22ND FLOOR
JAYCOX, EDWARD                 ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                          BALTIMORE          MD      21202
                                                                 CHARLES CENTER 22ND FLOOR
JAYCOX, ERIC L                 PO BOX 212                                                                                           RAGLEY             LA      70657‐0212
JAYCOX, LAWRENCE L             434 GREENWOOD CT                                                                                     ELYRIA             OH      44035‐8373
JAYCOX, RANDY L                479 PRENTICE DR                                                                                      SAINT PETERS       MO      63376‐4544
JAYCOX, ROBERT J               25001 GOLDCREST DR                                                                                   BONITA SPRINGS     FL      34134‐7952
JAYCOX, WAYNE N                4528 MANUKA TRL                                                                                      GAYLORD            MI      49735‐9674
JAYCOX, ZANA L                 4528 MANUKA TRL                                                                                      GAYLORD            MI      49735‐9674
JAYCOX‐STVRTECKY, BLANCH V.    30507 N. 168TH STREET                                                                                RIO VERDE          AZ      85263
JAYCOX‐STVRTECKY, BLANCH V.    30507 N 168TH ST                                                                                     RIO VERDE          AZ      85263‐5095
JAYDEE BLAIR                   5335 S. COUNTY ROAD                                                                                  TIPP CITY          OH      45371‐‐ 00
JAYE BURCH                     109 W 21ST ST                                                                                        HUNTINGTON         NY      11746‐3150
                                                                                                                                    STATION
JAYE CHASE                     107 SUSAN LN                                                                                         BRANDON            MS      39042‐3178
JAYE GUEST                     2109 PEACHTREE DR                                                                                    WILMINGTON         DE      19805‐1049
JAYE RICHARDSON                1160 OXFORD MIDDLETOWN RD                                                                            HAMILTON           OH      45013‐9677
JAYE, CHRIS J                  7238 LINDEN AVE                                                                                      LAS VEGAS          NV      89110‐4210
JAYE, KAREN L                  1212 EDDIE DR                                                                                        LANSING            MI      48917‐9243
JAYE‐ARO, WANDA J              107 AUTUMN DR                                                                                        LONGWOOD           FL      32779‐4961
JAYEE, SHELLY S                45132 OAK FOREST DR                                                                                  NORTHVILLE         MI      48168‐4441
JAYENDRA PARIKH                2087 ROOKERY DR                                                                                      ROCHESTER HILLS    MI      48309‐4519
JAYES, DENNIS J                27 JASMINE AVE                                                                                       WEST SENECA        NY      14224‐2725
JAYESH PATEL                   7481 OAKMONT                                                                                         CANTON             MI      48187
JAYETTA LEWIS                  4905 OAKS CT.                                                                                        MIDDLETOWN         OH      45042‐4921
JAYKO, ROBERT G                19363 CHALK DR                                                                                       MACOMB             MI      48044‐6900
JAYKOWSKI, JOAN M              1651 HORIZON TRL                                                                                     WAUKESHA           WI      53189‐8236
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Name                           Address1                       Address2                      Address3   Address4               City               State Zip
JAYLYN MIZE                    1990 GARDEN DR                                                                                 GAINESVILLE         GA 30507‐5016
JAYME BERNARD                  19727 ELIZABETH ST                                                                             SAINT CLAIR SHORES MI 48080‐3351

JAYME BURRIS                   1210 W 15TH ST                                                                                 MUNCIE            IN   47302‐3070
JAYME MCMAHON                  3219 STEELE RD                                                                                 KANSAS CITY       KS   66106‐4263
JAYME R GORSUCH                480 DAVID BLVD                                                                                 FRANKLIN          OH   45005‐2135
JAYME SHICK                    3690 N MILFORD RD                                                                              HIGHLAND          MI   48357‐2837
JAYME VAN AUKEN                36835 ECORSE RD                                                                                ROMULUS           MI   48174‐1382
JAYME WOLFENBARGER             26448 SIBLEY RD                                                                                ROMULUS           MI   48174‐9221
JAYMES F PLESS                 3714 E COON LAKE RD                                                                            HOWELL            MI   48843‐9431
JAYMES PLESS                   3714 E COON LAKE RD                                                                            HOWELL            MI   48843‐9431
JAYMES WESLEY                  3542 PINGREE AVE                                                                               FLINT             MI   48503‐4545
JAYMETTE KELLEY                9057 S CRAWFORD RD                                                                             SHEPHERD          MI   48883‐8505
JAYMI J JENDON                 561 GREENLAWN ST                                                                               YPSILANTI         MI   48198‐8016
JAYMIE SHOEMAKER               275 WILLOW LN                                                                                  BAGLEY            WI   53801‐9634
JAYNARD CLINKSCALES            4939 SHADWELL DR                                                                               DAYTON            OH   45416‐1132
JAYNARD CLINKSCALES            4939 SHADWELL DR.                                                                              DAYTON            OH   45416‐1132
JAYNE A ZIELINSKI              1111 N VAN BUREN ST                                                                            BAY CITY          MI   48708‐6077
JAYNE ALVIN G (466985)         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA   23510
                                                              STREET, SUITE 600
JAYNE BEAVERS                  441 DAVES RD                                                                                   MORGANTON         GA   30560‐4201
JAYNE BERGER & HOWARD BERGER   JAYNE BERGER                   39 CLUBSIDE DRIVE                                               WOODMERE          NY   11598
JAYNE BONDS                    188 NAPIER RD                                                                                  LAWRENCEBURG      TN   38464‐6777
JAYNE C ROTH                   27 E WOODLAND AVE                                                                              NILES             OH   44446‐1940
JAYNE D RILEY                  35 SUE DR                                                                                      GERMANTOWN        OH   45327‐1628
JAYNE E MAXWELL                104 FENOFF CIR                                                                                 ST JOHNSBURY      VT   05819
JAYNE EARL                     543 GREENWAY ST                                                                                DAVISON           MI   48423‐1232
JAYNE ELLSWORTH                510 RIVERSIDE DR                                                                               LINDEN            MI   48451‐9026
JAYNE FISCHER                  2586 SINCLAIR AVE                                                                              WATERFORD         MI   48328‐2746
JAYNE GRIFFIS                  210 BROOKHAVEN DR                                                                              COLUMBIA          TN   38401‐8871
JAYNE HARRIS                   57 GROSSE PINES DR                                                                             ROCHESTER HILLS   MI   48309‐1827
JAYNE HOOKS                    10347 ATABERRY DR                                                                              CLIO              MI   48420‐1904
JAYNE JOHNSON                  3481 PORTER CENTER RD                                                                          RANSOMVILLE       NY   14131‐9641
JAYNE KASTEL                   14241 E HORTON RD                                                                              RIGA              MI   49276‐9797
JAYNE KOWALSKI                 3941 PIERCE DR                                                                                 SHELBY TOWNSHIP   MI   48316‐1101
JAYNE KUSHNER                  27893 MORAN ST                                                                                 HARRISON TWP      MI   48045‐2932
JAYNE LARION                   2459 POLLOCK RD                                                                                GRAND BLANC       MI   48439‐8332
JAYNE LOYDA                    2630 S AMES WAY                                                                                LAKEWOOD          CO   80227‐4004
JAYNE LUCAS                    39820 US HIGHWAY 19 N APT 35                                                                   TARPON SPRINGS    FL   34689
JAYNE M DITTBERNER             615 LAUREL LAKE DRIVE          APT A204                                                        COLUMBUS          NC   28722
JAYNE MAXWELL                  104 FENOFF CIRCLE                                                                              ST. JOHNSBURY     VT   05819
JAYNE MC CLELLAND              949 BOLTON FARMS LN                                                                            GRAND LEDGE       MI   48837‐9796
JAYNE MILLER                   106 TANGLEWOOD DR                                                                              ANDERSON          IN   46012‐1023
JAYNE MOORE                    4901 WICKFORD DR E                                                                             SYLVANIA          OH   43560
JAYNE MOTE                     244 ROMAIN RD APT 104                                                                          CARO              MI   48723‐9153
JAYNE NOON                     107 S MAIN ST                                                                                  UNIONVILLE        CT   06085‐1254
JAYNE O'NEAL                   1417 WHITE DAISY WAY                                                                           NORTH LAS VEGAS   NV   89081‐6765
JAYNE RAY LEWIS (476460)       OSHEA ROBERT LAW OFFICES OF    1818 MARKET ST STE 3520                                         PHILADELPHIA      PA   19103‐3636
JAYNE ROTH                     27 E WOODLAND AVE                                                                              NILES             OH   44446‐1940
JAYNE SAEGER                   1740 WESTWOOD DR                                                                               TROY              MI   48083‐1890
JAYNE SCHANK                   10525 N MERIDIAN RD                                                                            PLEASANT LAKE     MI   49272‐9773
JAYNE SHEFFIELD                PO BOX 191                     7520 OLD TIMBER COURT                                           NEW LOTHROP       MI   48460‐0191
JAYNE TUOHIMA                  26601 COOLIDGE HWY             C/O GUARDIAN CARE, INC                                          OAK PARK          MI   48237‐1135
JAYNE W O'NEAL                 1417 WHITE DAISY WAY                                                                           NORTH LAS VEGAS   NV   89081
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Name                     Address1                         Address2                      Address3   Address4               City              State   Zip
JAYNE W ZETTERQUIST      4198 N. LEAVITT RD.                                                                              WARREN             OH     44485‐1140
JAYNE WEILER             305 SANSON STREET                                                                                BAY CITY           MI     48706‐3852
JAYNE ZETTERQUIST        4198 N LEAVITT RD NW                                                                             WARREN             OH     44485‐1140
JAYNE, ALVIN G           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510‐2212
                                                          STREET, SUITE 600
JAYNE, DIANE M           13864 VILLAGE CREEK DR TUG                                                                       FORT MYERS        FL      33908
JAYNE, GARY S            317 N CEDAR AVE                                                                                  NILES             OH      44446‐2541
JAYNE, KENNETH R         2720 BAGLEY DR W                                                                                 KOKOMO            IN      46902‐3229
JAYNE, RAY LEWIS         OSHEA ROBERT LAW OFFICES OF      1818 MARKET ST STE 3520                                         PHILADELPHIA      PA      19103‐3636
JAYNE, WILLIAM J         13864 VILLAGE CREEK DRIVE                                                                        FORT MYERS        FL      33908‐3908
JAYNEE SHANKS            1253 CALLAWAY CT                                                                                 HOWELL            MI      48843‐5202
JAYNEL FAIR              5511 WHITE HALL CIR                                                                              WEST BLOOMFIELD   MI      48323‐3462

JAYNELL BURLEY           LEVY PHILLIPS & KONIGSBERG       800 3RD AVE 13TH FL                                             NEW YORK          NY      10022‐4213
JAYNELL SNIPES           26121 JOY RD                                                                                     DEARBORN HTS      MI      48127‐1178
JAYNES CORPORATION                                        2906 BROADWAY BLVD NE                                                             NM      87107
JAYNES GEORGE C          JAYNES, GEORGE C                 425 CALIFORNIA ST STE 2025                                      SAN FRANCISCO     CA      94104‐2213
JAYNES GEORGE C          JAYNES, JANE A                   425 CALIFORNIA ST STE 2025                                      SAN FRANCISCO     CA      94104‐2213
JAYNES GEORGE C          WEADER, JILLIAN R                425 CALIFORNIA ST STE 2025                                      SAN FRANCISCO     CA      94104‐2213
JAYNES, ANN M            1206 CATTUS ISLAND BLVD                                                                          TOMS RIVER        NJ      08753‐3911
JAYNES, ARCHIE W         3741 DEIBEL DR                                                                                   SAGINAW           MI      48603‐7229
JAYNES, CAROL ANN        3032 CARLSBAD LANE                                                                               INDIANAPOLIS      IN      46241‐6211
JAYNES, CHERYL C         7346 CENTRAL 2                                                                                   WESTLAND          MI      48185
JAYNES, CHERYL C         7346 CENTRAL ST APT 2                                                                            WESTLAND          MI      48185‐2548
JAYNES, DALE A           5229 MAPLE GROVE RD                                                                              SILVERWOOD        MI      48760‐9706
JAYNES, DAVID L          1530 TWIN VALLEY TRL                                                                             LITHONIA          GA      30058‐6363
JAYNES, DIANE E          7217 NICOLE DR                                                                                   SOUTH BRANCH      MI      48761‐9654
JAYNES, DOROTHY E        4301 STONER DR APT 116           GROVEWOOD PLACE                                                 GROVE CITY        OH      43123‐3397
JAYNES, ELSE M           5428 SEA LEOPARD ST                                                                              TAVARES           FL      32778‐9144
JAYNES, EZRA W           15701 W 650 S                                                                                    ANDERSON          IN      46017‐9318
JAYNES, GEORGE C         BERMAN DEVALERIO PEASE TABACCO   425 CALIFORNIA ST STE 2025                                      SAN FRANCISCO     CA      94104‐2213
                         BURT & PUCILLO
JAYNES, GERALD F         354 W PARMETER RD                                                                                IONIA              MI     48846‐9511
JAYNES, HENRY J          226 NOBLE ST                                                                                     MILFORD            MI     48381‐2059
JAYNES, JANE A           BERMAN DEVALERIO PEASE TABACCO   425 CALIFORNIA ST STE 2025                                      SAN FRANCISCO      CA     94104‐2213
                         BURT & PUCILLO
JAYNES, JEANETTE J       1902 32ND ST                                                                                     BAY CITY          MI      48708‐8711
JAYNES, JEANETTE J       1902 32 ST                                                                                       BAY CITY          MI      48708‐8711
JAYNES, JEFFERY L        2187 TERRYLYNN AVE                                                                               DAYTON            OH      45439‐2739
JAYNES, JOE A            1119 LINDBERG RD                                                                                 ANDERSON          IN      46012‐2633
JAYNES, KATHLEEN E       1187 GRIFFITH CT                                                                                 ESTES PARK        CO      80517‐8214
JAYNES, KEITH A          1010 CONSTITUTION DR                                                                             XENIA             OH      45385‐1353
JAYNES, LA VAUGHN        364 IMAGINATION DR                                                                               ANDERSON          IN      46013‐1095
JAYNES, LINDA L          3100 PINE MANOR BLVD                                                                             GROVE CITY        OH      43123‐4840
JAYNES, MARGARET         2001 33RD ST                                                                                     BAY CITY          MI      48708‐3804
JAYNES, MELVIN W         2209 CREEKSIDE DR                                                                                LAKE WALES        FL      33859‐4862
JAYNES, MILTON E         5944 DUBOIS RD                                                                                   VASSAR            MI      48768‐9608
JAYNES, NANCY S          426 W 4TH ST                                                                                     ANDERSON          IN      46016‐1109
JAYNES, PAULINE A        305 W MAPLE AVE                                                                                  SHIREMANSTOWN     PA      17011‐6524
JAYNES, RICHARD L        2551 ORCHARD RUN RD.                                                                             W CARROLLTON      OH      45449‐5449
JAYNES, ROBERT L         3140 E SPG VLLY‐PNTRSVLLE RD                                                                     JAMESTOWN         OH      45335
JAYONTAY ALLEN‐BRADLEY   2135 OSTRUM DR                                                                                   WATERFORD         MI      48328‐1824
JAYRAJ SHETH             18412 ADMIRALTY DR                                                                               STRONGSVILLE      OH      44136
JAYRAY LLC               1023 SE 7TH ST                                                                                   LEES SUMMIT       MO      64063‐4443
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Name                            Address1                             Address2                        Address3   Address4                  City                 State Zip
JAYROE, LAWRENCE D              1883 JAYROE DR                                                                                            JACKSON               MS 39272‐9603
JAYROE, RICHARD E               1531 CHEVY CIRCUIT                                                                                        ROCHESTER HILLS       MI 48306‐3907
JAYS CARE FOUNDATION            3200‐1 BLUE JAYS WAY                 ROGER CENTRE SUITE 3200                    TORONTO ON M5V 1J1
                                                                                                                CANADA
JAYS CHEVROLET
JAYS SEPTIC TANK SERVICE        2787 GREENWOOD RD                                                                                         LAPEER               MI   48446‐9488
JAYSHREE SHAH                   1580 SPRING GATE DR                  UNIT 4206                                                            MCLEAN               VA   22102‐3445
JAYSKA, ELIZABETH               6148 N GLOBE ST                                                                                           WESTLAND             MI   48185‐8115
JAYSKA, WILLIAM C               35824 FARRAGUT ST                                                                                         WESTLAND             MI   48186‐4209
JAYSON CHILDS                   3747 E BURT RD                                                                                            BURT                 MI   48417‐9791
JAYSON COLLINS                  2257 FINLAND DR                                                                                           DAYTON               OH   45439‐2709
JAYSON E HATFIELD               629 JEFFERSON ST                                                                                          MIAMISBURG           OH   45342
JAYSON E LUCAS                  24 N JERSEY ST                                                                                            DAYTON               OH   45403
JAYSON HANSON                   1134 CHURCH ST                                                                                            JANESVILLE           WI   53548‐1484
JAYSON J GANN                   4654 RIDDLES BEND RD                                                                                      RAINBOW CITY         AL   35906‐7682
JAYSON JOHNS                    8143 OLD WHITE LAKE RD                                                                                    WHITE LAKE           MI   48386‐1153
JAYSON P FIELDER                136 W MANSFIELD AVE                                                                                       PONTIAC              MI   48340‐2658
JAYSON SCHWALM                  25245 ARDEN PARK DR                                                                                       FARMINGTON HILLS     MI   48336‐1617

JAYSON T COLLINS                2257 FINLAND                                                                                              MIAMI TWP            OH   45439
JAYSON TIEDEMAN                 177 RAYMOND ST                                                                                            PONTIAC              MI   48342‐2550
JAYSON, CHARLES M               11523 NORWAY DR                                                                                           HARTLAND             MI   48353‐3438
JAYYUSI, TALAT S                11311 HARRY HINES BLVD STE 303                                                                            DALLAS               TX   75229
JAZBEC, DAVID A                 930 JETTON ST                        UNIT 30                                                              DAVIDSON             NC   28036‐6203
JAZINSKI, MARY K                5400 NO 31                                                                                                MCALLEN              TX   78504
JAZMA ASPHY                     1207 SOMERSET LN                                                                                          FLINT                MI   48503‐2924
JAZMIN PTAK                     1186 TONAWANDA ST                                                                                         BUFFALO              NY   14207‐1047
JAZWINSKI, ALBERT               4541 RICKOVER CT                                                                                          NEW PORT RICHEY      FL   34652‐3172
JAZWINSKI, PATRICK              14556 DIVISION AVE NE                                                                                     CEDAR SPRINGS        MI   49319‐9151
JAZZ AT LINCOLN CENTER          JAMES E GROOMS                       33 WEST 60TH STREET, NEW YORK                                        NEW YORK             NY   10023
JAZZ AT LINCOLN CENTER          BRET SILVER                          33 WEST 60TH STREET, NEW YORK                                        NEW YORK             NY   10023
JAZZ AT LINCOLN CENTER          ATTN ANIKA DILL                      33 WEST 60TH ST                                                      NEW YORK             NY   10023
JB & CR INC                     2736 LAURENS RD                                                                                           GREENVILLE           SC   29607‐3820
JB & DORIS COX                  601 SLEEPY FALLS                                                                                          EVANSVILLE           IN   47712‐3142
JB AUTO & TRUCK                 801 N COLLEGE AVE STE B                                                                                   COLUMBIA             MO   65201‐4967
JB AUTO GROUP LLC               ERIC MCCAULEY                        2307 US HIGHWAY 52 N                                                 ALBEMARLE            NC   28001‐8507
JB COMMODITIES (OVERSEAS) LTD   2777 SUMMER ST                       STE 28                                                               STAMFORD             CT   06905‐4383
JB COMMODITIES (OVERSEAS) LTD   ATTN: CORPORATE OFFICER/AUTHORIZED   2777 SUMMER ST STE 28                                                STAMFORD             CT   06905‐4383
                                AGENT
JB COMMODITIES OVERSEAS LTD     2777 SUMMER ST STE 28                                                                                     STAMFORD             CT   06905‐4383
JB CONTROLS                     24026 TALBOT ST                                                                                           ST CLAIR SHORES      MI   48082‐2564
JB CONTROLS/FRASER              24026 TALBOT ST                                                                                           SAINT CLAIR SHORES   MI   48082‐2564

JB HADJIPRODROMOU EP            TRIANTAPHILLOU & PARTNERS            8 PATR IARCHOU LOAKIM STREET               ATHENS 106 75 GREECE
JB HIX                          6626 OAK HILL DR                                                                                          ENON                 OH   45323
JB HUNT TRANSPORT               CHRIS SANDOR                         615 J.B. HUNT CORPRATE DRIVE                                         LOWELL               AR   72745
JB HUNT TRANSPORT INC           PO BOX 847977                        FILE 98545                                                           DALLAS               TX   75284‐7977
JB II FUNDING INC               1705 S SANTA ANITA AVE               STE B                                                                ARCADIA              CA   91006
JB II FUNDING INC               ATTN: CORPORATE OFFICER/AUTHORIZED   1705 S SANTA ANITA AVE, STE B                                        ARCADIA              CA   91006
                                AGENT
JB JOHNSON                      3018 BEGOLE ST                                                                                            FLINT                MI   48504‐2916
JB MARTIN                       390 HWY 51 SOUTH                                                                                          CRYSTAL SPRNG        MS   39059‐2902
JB PREMIUM LTD                  77 E MAIN ST                                                                                              NEW ROCHELLE         NY   10801‐5321
JB PREMIUM, LTD                 77 E MAIN ST                                                                                              NEW ROCHELLE         NY   10801‐5321
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Name                                Address1                            Address2                       Address3                Address4                      City               State Zip
JB WEBB/FRMGNTN HILL                WEBB DRIVE                                                                                                               FARMINGTN HLS       MI 48331
JBARA, JUDY M                       4872 TOMPANGA CANYON BLVD           #131                                                                                 WOODLAND HILLS      CA 91364
JBB FOOTWEAR D/B/A COASTAL BOOT
AND/OR CORVETTE FOOTWEAR
JBC MANAGED EVENTS                  THE JANE BLALOCK COMPANY            43 THORNDIKE STREET                                                                  CAMBRIDGE          MA    02141
JBF EXPRESS INC                     PO BOX 1634                                                                                                              BUFFALO            NY    14225‐8634
JBH ASSOCIATES                      4329 BELL BLVD                                                                                                           BAYSIDE            NY    11361‐2864
JBH ASSOCIATES                      TANENBAUM ASSOCIATES                4329 BELL BLVD                                                                       BAYSIDE            NY    11361‐2864
JBH BRUNAUD JACQUES                 DOMAINE LE TERTRE                                                                          CIRON 36300 LE BLANC
                                                                                                                               FRANCE
JBI CORP                            22325 STATE ROUTE 51 W                                                                                                   GENOA              OH    43430‐1123
JBI CORPORATION                     22325 STATE ROUTE 51 W                                                                                                   GENOA              OH    43430‐1123
JBL ENTERPRISES LTD                 PO BOX 279                                                                                                               DAVISON            MI    48423‐0279
JBL INC                             HARMAN CONSUMER GROUP               8400 BALBOA BLVD                                                                     NORTHRIDGE         CA    91329‐0001
JBL INC                             HARMAN CONSUMER GROUP               1950 SAWTELLE BLVD STE 200                                                           LOS ANGELES        CA    90025‐7074
JBL INC EFT HARMAN CONSUMER GROUP   8400 BALBOA BLVD                                                                                                         NORTHRIDGE         CA    91329‐0001

JBL SYSTEMS                         51935 FILOMENA DR                   AD UPTD PER LTR 05/10/06 GJ                                                          SHELBY TOWNSHIP    MI    48315‐2950
JBL SYSTEMS INC                     51935 FILOMENA DR                                                                                                        SHELBY TOWNSHIP    MI    48315‐2950
JBMAYTON
JBP INC                             7190 PEBBLE PARK DR                                                                                                      WEST BLOOMFIELD    MI    48322‐3505

JBS SWIFT & COMPANY                 DAVE KEISS                          1770 PROMONTORY CIR                                                                  GREELEY            CO    80634‐9039
JBS VENTURES                        8A GEORGETOWN AVE                                                                                                        ROSEMARY BEACH     FL    32461
JBS WINDOW CLEANING                 PO BOX 3952                                                                                                              WESTLAKE VILLAGE   CA    91359‐0952

JBT CORPORATION                     ANGELA MAS                          400 FAIRWAY AVE                                                                      LAKELAND            FL   33801‐2468
JBVHJTFZU FTGHRTDUZD                FTZHFUZ 345                                                                                                              DRYGDFGT                 ghcjg
JC AND AP VICK TRUST                JOHN VICK TTEE                      ANITA VICK TTEE                835 N ALAMO AVE                                       TUCSON             AZ    85711
JC AUTO SERVICE                     120 WHITMORE RD UNIT 23                                                                    WOODBRIDGE ON L4L 6A5
                                                                                                                               CANADA
JC DECEAUX NORTH AMERICA            JEAN DECAUX                         3 PARK AVENUE                  33 FLOOR                                              NEW YORK           NY    10016
JC GIBBONS MANUFACTURING INC        35055 GLENDALE ST                                                                                                        LIVONIA            MI    48150‐1230
JC GREEN
JC MOILES                           1785 PARMENTER RD                                                                                                        CORUNNA            MI    48817‐9563
JC WILLIAMS                         105 MARTINDALE RD                                                                                                        WINSTON SALEM      NC    27107‐1705
JC'S AUTO REPAIR                    219 LEXINGTON ST                                                                                                         VERSAILLES         KY    40383‐1231
JC'S AUTO SERVICE                   2311 5TH AVE N                                                                                                           MOORHEAD           MN    56560‐2468
JC3 CADD LLC                        9045 RIVERDALE                                                                                                           REDFORD            MI    48239‐1122
JCA INDUSTRIAL SA                   AV SANTA MARINA 1423 SALA 03 LAPA                                                          SAO PAULO, 05036 BRAZIL
JCA INDUSTRIAL SA                   ATTN: LUIS MOURAO                   3336 PRIMROSE LANE                                                                   YPSILANTI          MI    48197
JCA INDUSTRIAL SA                                                       AV SANTA MARINA 1423 SALA 03                           SAO PAULO,BR,05036‐
                                                                        LAPA                                                   001,BRAZIL
JCA INDUSTRIAL SA                   5820 E NEVADA ST                                                                                                         DETROIT            MI    48234‐2500
JCA INDUSTRIAL SA                   LUIS MOURAO                         RUE MATTEO FORTE 216 ‐ LAPA                            SAO PAULO, 05038 160 BRAZIL

JCA INDUSTRIAL SA                   MARCOS SANTANNA X205                SABO LTDA                      12613 UNIVERSAL DRIVE   NEUSS GERMANY
JCA INDUSTRIAL SA                   RUA MATEO FORTE 216                                                                        SAO PAULO SP 05038‐160
                                                                                                                               BRAZIL
JCA INDUSTRIAL SA                   RUA MATEO FORTE 216                 LAPA DE BAIXO                                          SAO PAULO SP 05038‐160
                                                                                                                               BRAZIL
JCA INDUSTRIAL SA                   RUA MATTEO FORTE 216                                                                       SAO PAULO SP 05038 160
                                                                                                                               BRAZIL
JCHON BAHL                          9155 E VERMONTVILLE HWY                                                                                                  DIMONDALE          MI    48821‐8755
                     09-50026-mg            Doc 7123-20 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
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Name                 Address1                          Address2                         Address3   Address4                      City                State Zip
JCI INDUSTRIES INC   1161 SE HAMBLEN RD                                                                                          LEES SUMMIT          MO 64081‐2939
JCI/CREUTZWALD       7 RUE DE GRENOBLE                                                             CREUTZWALD FR 57150
                                                                                                   FRANCE
JCI/CZECH REPUBLIC   DUBICKA 1800                                                                  CESCA LIPA CS CZ47001 CZECH
                                                                                                   REPUBLIC
JCI/GEEL             BELL TELEPHONELAAN 2                                                          GEEL BL 2440 BELGIUM
JCI/GREFATH          MUELHAUSENER STR 35               GREFATH (NORDRHEIN‐WESTFALEN)               NORDRHEIN‐WESTF GE 47929
                                                                                                   GERMANY
JCI/LAISD                                              1104 N EASTERN AVE                                                                            CA   90063
JCI/LASD                                               1104 N EASTERN AVE                                                                            CA   90063
JCI/LUENEBURG        LUENER RENNBAHN 13                                                            LUENEBURG NI 21339
                                                                                                   GERMANY
JCI/OBJEKT BOCHUM    HUETTENSTRASSE 40                                                             BOCHUM GE 44795 GERMANY

JCI/WUPPERTAL        KONSUMSTRASSE 45                                                              WUPPERTAL GE 43385
                                                                                                   GERMANY
JCIM                                                   45000 HEML ST                                                             PLYMOUTH            MI   48170‐6046
JCIM LLC             2133 PETIT ST                                                                                               PORT HURON          MI   48060‐6433
JCIM LLC             2200 REVARD RD                                                                                              MONROE              MI   48162‐5229
JCIM LLC             4500 HELM STREET                                                                                            PLYMOUTH            MI   48170
JCIM LLC             515 N POPLAR ST                                                                                             KENTON              TN   38233‐1034
JCIM LLC             6900 JEFFERSON METROPOLITAN PKY                                                                             MC CALLA            AL   35111
JCIM LLC             7111 TRADE PORT DR                                                                                          LOUISVILLE          KY   40258‐1882
JCIM LLC             8161 NATIONAL TPKE                                                                                          LOUISVILLE          KY   40214‐5301
JCIM LLC             JOE DAKROUB                       1502 OLD 23, P.O. BOX 450                                                 STERLING HEIGHTS    MI   48311
JCIM LLC             JOE DAKROUB                       515 POPLAR STREET                                                         FOWLERVILLE         MI   48836
JCIM LLC             JOE DAKROUB                       45000 HELM ST                                                             PLYMOUTH            MI   48170‐6046
JCIM LLC             JOE DEKROUP                       309 EDDY LANE                                                             HAYWARD             CA   94544
JCIM LLC             SCOTT NEWMAN                                                                                                LANSING             MI   48917
JCIM LLC             JOE DAKROUB                       5020 WHITE LAKE ROAD                                                      SHEFFIELD VILLAGE   OH   44054

JCIM LLC             JOE DAKROUB                       7474 VAN RIPER RD                                                         PORTLAND            TN   37148
JCIM LLC             ANTHONY AZIZI                     6900 JEFFERSON METROPOLITAN PK                                            DELAWARE            OH   43015
JCIM LLC             MARK ROBERTSON                    9800 INKSTER RD                                                           ROMULUS             MI   48174‐2616
JCIM LLC             MARK ROBERTSON                    9800 INKSTER ROAD                                                         MARION              NY   14505
JCIM LLC             JOE DAKROUB                       7111 TRADE PORT DR                                                        LOUISVILLE          KY   40258‐1882
JCIM LLC             JOE DAKROUB                       7111 TRADEPORT DRIVE                                                      PHARR               TX   78577
JCIM LLC             JOE DAKROUB                       8161 NATIONAL TURNPIKE                                                    GREENSBORO          NC   27409
JCIM LLC             45000 HELM ST                     STE 200                                                                   PLYMOUTH            MI   48170‐5040
JCIM LLC             838 INDUSTRIAL DR                                                                                           OWENSBORO           KY   42301‐8708
JCIM LLC             JOE DAKROUB                       2233 PETIT ST                                                             PORT HURON          MI   48060‐6431
JCIM LLC             JOE DAKROUB                       7009 W MOUNT HOPE HWY                                                     LANSING             MI   48917‐9561
JCIM LLC             JOE DAKROUB                       PO BOX 568                                                                BRYAN               OH   43506‐0568
JCIM LLC             MARK ROBERTSON                    45000 HELM ST                    STE 100                                  PLYMOUTH            MI   48170‐6040
JCIM LLC             9630 INTERPORT DR                                                                                           SHREVEPORT          LA   71118‐4465
JCIM LLC             1833 FRENCHTOWN CTR DR                                                                                      MONROE              MI   48162‐9375
JCIM LLC             7009 W MOUNT HOPE HWY                                                                                       LANSING             MI   48917‐9561
JCIM LLC             45000 HELM ST STE 200                                                                                       PLYMOUTH            MI   48170‐6040
JCIM LLC             JOE DAKROUB                       2233 PETIT STREET                                                         LANSING             MI   48911
JCIM LLC             JOE DAKROUB                       838 INDUSTRIAL DR                                                         ABBEVILLE           SC
JCIM LLC             918 S UNION ST                                                                                              BRYAN               OH   43506‐2246
JCIM LLC             45000 HELM ST                                                                                               PLYMOUTH            MI   48170‐6045
JCIM LLC             MARK ROBERTSON                    45000 HELM ST STE 100                                                     PLYMOUTH            MI   48170‐5040
JCIM LLC             MARK ROBERTSON                    100 SELTZER ROAD                                                          MACOMB              IL   61455
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Name          Address1                          Address2                         Address3                   Address4               City                State Zip
JCIM LLC      JOE DAKROUB                       2701 S COLISEUM BLVD STE 1158    C/O CREATIVE LIQUID                               FORT WAYNE           IN 46803‐2999
                                                                                 COATING IN
JCIM LLC      JOE DAKROUB                       C/O CREATIVE LIQUID COATING IN   2701 S COLISEUM BLVD STE                          LAREDO               TX   78045
                                                                                 1158
JCIM LLC      JOE DAKROUB                       7009 WEST MOUNT HOPE HIGHWAY                                                       THREE RIVERS        MI    49093
JCIM LLC      JOE DAKROUB                       918 S. UNION PO BOX 568                                                            WELLINGTON          OH    44090
JCIM LLC      JOE DAKROUB                       1833 FRENCHTOWN CTR DRIVE                                                          MADISON HEIGHTS     MI    48071

JCIM LLC      JOE DEKROUP                       4741 TALON COURT., SE                                                              PANAMA CITY         FL    32404
JCIM LLC      JOE DAKROUB                       2200 REVARD RD                                                                     MONROE              MI    48162‐5229
JCIM LLC      JOE DAKROUB                       2200 REVARD DRIVE                                                                  LEXINGTON           KY    40509
JCIM LLC      JOE DAKROUB                       1111 S COLLING RD                                                                  MT PROSPECT         IL    60056
JCIM LLC      JOE DAKROUB                       535 W. LINFOOT ST./POB 519                                                         RUSSELLVILLE        KY    42276
JCIM LLC      JOE DAKROUB                       PO BOX 519                                                                         WAUSEON             OH    43567‐0519
JCIM US LLC   45000 HELM ST                                                                                                        PLYMOUTH            MI    48170
JCIM US LLC   539 N BELVEDERE DR                                                                                                   GALLATIN            TN    37066‐5409
JCIM US LLC   9800 INKSTER RD                                                                                                      ROMULUS             MI    48174‐2616
JCIM US LLC   45000 HELM ST                     STE 200                                                                            PLYMOUTH            MI    48170‐6040
JCIM US LLC
JCIM US LLC                                     45000 HELM ST                                                                      PLYMOUTH            MI    48170
JCIM US LLC   1111 S COLLING RD                                                                                                    CARO                MI    48723‐9238
JCIM US LLC   1833 FRENCHTOWN CTR DR                                                                                               MONROE              MI    48162‐9375
JCIM US LLC   2133 PETIT ST                                                                                                        PORT HURON          MI    48060‐6433
JCIM US LLC   2200 REVARD RD                                                                                                       MONROE              MI    48162‐5229
JCIM US LLC   2500 EXECUTIVE HILLS DR                                                                                              AUBURN HILLS        MI    48326‐2983
JCIM US LLC   38100 ECORSE RD                                                                                                      ROMULUS             MI    48174‐5306
JCIM US LLC   535 W LINFOOT ST                                                                                                     WAUSEON             OH    43567‐9558
JCIM US LLC   6900 JEFFERSON METROPOLITAN PKY                                                                                      MC CALLA            AL    35111
JCIM US LLC   7009 W MOUNT HOPE HWY                                                                                                LANSING             MI    48917‐9561
JCIM US LLC   705 E VAN RIPER RD                                                                                                   FOWLERVILLE         MI    48836‐8971
JCIM US LLC   7111 TRADE PORT DR                                                                                                   LOUISVILLE          KY    40258‐1882
JCIM US LLC   8161 NATIONAL TPKE                                                                                                   LOUISVILLE          KY    40214‐5301
JCIM US LLC   838 INDUSTRIAL DR                                                                                                    OWENSBORO           KY    42301‐8708
JCIM US LLC   918 S UNION ST                                                                                                       BRYAN               OH    43506‐2246
JCIM US LLC   9630 INTERPORT DR                                                                                                    SHREVEPORT          LA    71118‐4465
JCIM US LLC   ANTHONY AZIZI                     6900 JEFFERSON METROPOLITAN PK                                                     MC CALLA            AL    35111
JCIM US LLC   JOE DAKROUB                       1111 S COLLING RD                                                                  MT PROSPECT         IL    60056
JCIM US LLC   JOE DAKROUB                       1833 FRENCHTOWN CTR DRIVE                                                          MADISON HEIGHTS     MI    48071

JCIM US LLC   JOE DAKROUB                       2200 REVARD DRIVE                                                                  LEXINGTON           KY    40509
JCIM US LLC   JOE DAKROUB                       2200 REVARD RD                                                                     MONROE              MI    48162‐5229
JCIM US LLC   JOE DAKROUB                       2233 PETIT ST                                                                      PORT HURON          MI    48060‐6431
JCIM US LLC   JOE DAKROUB                       2233 PETIT STREET                                                                  LANSING             MI    48911
JCIM US LLC   JOE DAKROUB                       2701 S COLISEUM BLVD STE 1158    C/O CREATIVE LIQUID                               FORT WAYNE          IN    46803‐2999
                                                                                 COATING IN
JCIM US LLC   JOE DAKROUB                       5020 WHITE LAKE ROAD                                                               SHEFFIELD VILLAGE   OH    44054

JCIM US LLC   JOE DAKROUB                       7009 W MOUNT HOPE HWY                                                              LANSING             MI    48917‐9561
JCIM US LLC   JOE DAKROUB                       7009 WEST MOUNT HOPE HIGHWAY                                                       THREE RIVERS        MI    49093
JCIM US LLC   JOE DAKROUB                       7111 TRADE PORT DR                                                                 LOUISVILLE          KY    40258‐1882
JCIM US LLC   JOE DAKROUB                       7111 TRADEPORT DRIVE                                                               PHARR               TX    78577
JCIM US LLC   JOE DAKROUB                       7474 VAN RIPER RD                                                                  PORTLAND            TN    37148
JCIM US LLC   JOE DAKROUB                       8161 NATIONAL TURNPIKE                                                             GREENSBORO          NC    27409
JCIM US LLC   JOE DAKROUB                       838 INDUSTRIAL DR                                                                  OWENSBORO           KY    42301‐8708
                                   09-50026-mg              Doc 7123-20 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
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Name                               Address1                             Address2                         Address3                   Address4                City               State Zip
JCIM US LLC                        JOE DAKROUB                          918 S. UNION PO BOX 568                                                             WELLINGTON          OH 44090
JCIM US LLC                        JOE DAKROUB                          C/O CREATIVE LIQUID COATING IN   2701 S COLISEUM BLVD STE                           LAREDO              TX 78045
                                                                                                         1158
JCIM US LLC                        JOE DAKROUB                          PO BOX 568                       918 S UNION                                        BRYAN              OH   43506‐0568
JCIM US LLC                        JOE DEKROUP                          4741 TALON COURT., SE                                                               PANAMA CITY        FL   32404
JCIM US LLC                        KIMBERLY FORBES                      38100 ECORSE RD                  ROMULUS PLT                                        ROMULUS            MI   48174‐5306
JCIM US LLC                        KIMBERLY FORBES                      ROMULUS PLT                      38100 ECORSE RD                                    MARYVILLE          TN
JCIM US LLC                        MARK ROBERTSON                       100 SELTZER RD                                                                      CROSWELL           MI   48422‐9179
JCIM US LLC                        MARK ROBERTSON                       100 SELTZER ROAD                                                                    MACOMB             IL   61455
JCIM US LLC                        MARK ROBERTSON                       9800 INKSTER RD                                                                     ROMULUS            MI   48174‐2616
JCIM US LLC                        MARK ROBERTSON                       9800 INKSTER ROAD                                                                   MARION             NY   14505
JCIM US LLC                        45000 HELM ST STE 200                                                                                                    PLYMOUTH           MI   48170‐6040
JCIM US LLC                        45000 HELM ST. STE 100                                                                                                   PLYMOUTH           MI   48170‐6040
JCIM US LLC                        MARK ROBERTSON                       45000 HELM ST                    STE 100                                            PLYMOUTH           MI   48170‐6040
JCIM, LLC                          45000 HELM ST                        STE 100                                                                             PLYMOUTH           MI   48170‐6040
JCIM, LLC                          45000 HELM ST                                                                                                            PLYMOUTH           MI   48170
JCIM, LLC                          ATTN: CORPORATE OFFICER/AUTHORIZED   45000 HELM ST                                                                       PLYMOUTH           MI   48170
                                   AGENT
JCIM/LOUISVILLE                    4500 HELM STREET                                                                                                         PLYMOUTH           MI   48170
JCJ ASSOCIATES INC                 3069 TONAWANDA CREEK RD                                                                                                  AMHERST            NY   14228‐1554
JCJ ASSOCIATES/CJ TOOLING          DIV OF JCJ ASSOCIATES INC            3069 TONAWANDA CREEK RD                                                             AMHERST            NY   14228‐1554
JCJ ENTERPRIZES UNLIMITED          515 N FAYETTE ST                                                                                                         SAGINAW            MI   48602‐4344
JCJ GREENFIELD HOLDINGS LLC        C/O GREENFIELD PONTIAC‐BUICK         3615 S 108TH ST                  ATTN JOHN P JONES                                  GREENFIELD         WI   53228‐1205
JCJ GREENFIELD HOLDINGS, LLC C/O   ATTN: JOHN P. JONES                  3615 S 108TH ST                                                                     GREENFIELD         WI   53228‐1205
GREENFIELD PONTIAC‐BUICK, INC.
JCK ASSOCIATES INC                 STE 100                              8615 RICHARDSON ROAD                                                                COMMERCE TWP       MI   48390‐1325
JCL INCORPORATED                   PO BOX 247                           1608 HAVEN'S MOOR                                                                   SAUK RAPIDS        MN   56379‐0247
JCM ENTERPRISES                    1104 MANOR RD                                                                                                            COLUMBIA           TN   38401‐5140
JCMC, INC.                         JAMES CLARK                          911 GOLDENBELT BLVD                                                                 JUNCTION CITY      KS   66441‐3963
JCS INDUSTRIES LLC                 4615 N GRAND RIVER AVE               PO BOX 80205                                                                        LANSING            MI   48906‐2535
JCSI CLEANING                      ATTN: BRIAN JOHNSON                  39293 PLYMOUTH RD # 107B                                                            LIVONIA            MI   48150‐1060
JD & MA SULLIVAN                   COMM/PROP                            422 NE 88TH ST                                                                      SEATTLE            WA   98115
JD BAXTER                          1569 WADE DR                                                                                                             LAPEER             MI   48446‐8705
JD CLARK LOGISTICS                 JOHN CLARK                           22357 THOMSON ST                                                                    CLINTON TOWNSHIP   MI   48035‐4917

JD DUNN TRANS/FRNKLN               1228 LAKEVIEW DR                                                                                                         FRANKLIN           TN   37067‐3073
JD FACTORS CORPORATION             2671 TEEDIE CR                                                                                   WINDSOR CANADA ON N8R
                                                                                                                                    2K5 CANADA
JD NORMAN INDUSTRIES               GEORGE BRACE                         BELDEN PLANT                     787 BELDEN AVE                                     COLUMBUS           OH   43216
JD NORMAN INDUSTRIES INC           JD NORMAN METAL TECHNOLOGIES         10435 ARGONNE WOODS DR           PO BOX 87618                                       WOODRIDGE          IL   60517
JD NORMAN INDUSTRIES INC           787 W BELDEN AVE                                                                                                         ADDISON            IL   60101‐4942
JD NORMAN INDUSTRIES INC           GEORGE BRACE                         BELDEN PLANT                     787 BELDEN AVE                                     COLUMBUS           OH   43216
JD POWER                           FINNBAR O'NEILL                      2625 TOWNSGATE RD STE 100                                                           WESTLAKE VILLAGE   CA   91361‐5737

JD POWER & ASSOCIATES              2625 TOWNSGATE                                                                                                           WESTLAKE VILLAGE   CA   91361

JD POWER & ASSOCIATES              5435 CORPORATE DR STE 300                                                                                                TROY               MI   48098‐2624
JD POWER AND/TROY                  5435 CORPORATE DR STE 300                                                                                                TROY               MI   48098‐2624
JD POWER*                          STEPHAN SCHROEDER                    5435 CORPORATE DR STE 300                                                           TROY               MI   48098‐2624
JD POWER/AGOURA HILL               30401 AGOURA ROAD                                                                                                        AGOURA HILLS       CA   91301
JD POWER/TROY                      2690 CROOKS                          SUITE 214                                                                           TROY               MI   48084
JD SANDERS JR                      3142 BROADWAY ST                                                                                                         INDIANAPOLIS       IN   46205‐3952
JD SOLUTIONS LLC                   2905 BAYTREE CT                      PO BOX 80040                                                                        ROCHESTER          MI   48306‐2303
JD'S AUTO SERVICE                  625 SE CENTRAL DR                                                                                                        BLUE SPRINGS       MO   64014‐3311
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Name                                 Address1                             Address2                     Address3   Address4                     City               State   Zip
JD'S AUTOMOTIVE, INC                 603 1/2 US HIGHWAY 79 N                                                                                   HENDERSON           TX     75652‐2681
JDA ASSOCIATES                       ATTN: JOSEPH G WEIST                 1018 N JOHNSON ST                                                    BAY CITY            MI     48708‐6252
JDC CONSOLIDATED INC                 PO BOX 559                                                                                                REVERE              MA     02151‐0005
JDC LOGISTICS INC                    330 E KILBOURN AVE STE 1085                                                                               MILWAUKEE           WI     53202
JDCR SERVICES INC \ CUSTOM CRATING   31537 GROESBECK HWY                                                                                       FRASER              MI     48026‐2550

JDE EQUIPMENT COMPANY                56555 PONTIAC TRL                                                                                         NEW HUDSON          MI     48165‐9731
JDF RD\RA TRUST FUND CITY OF         PO BOX 5005                                                                                               JANESVILLE          WI     53547‐5005
JANESVILLE
JDH ENGINEERING INC                  3000 IVANREST AVE SW STE B                                                                                GRANDVILLE          MI     49418‐2943
JDH ENGINEERING INC                  ATTN: CORPORATE OFFICER/AUTHORIZED   3000 IVANREST AVE SW STE B                                           GRANDVILLE          MI     49418‐2943
                                     AGENT
JDI GROUP                            1545 TIMBERWOLF DR STE G 101                                                                              HOLLAND            OH      43528
JDI GROUP INC, THE                   1545 TIMBERWOLF DR STE G 101                                                                              HOLLAND            OH      43528
JDJ FAMILY HOLDINGS, LTD             9400 N CENTRAL EXPWY #910                                                                                 DALLAS             TX      75231
JDJ PROPERTIES INC                   C\O WASATCH PROP MGMT INC            PO BOX 30750                                                         SALT LAKE CITY     UT      84189‐0001
JDK CONTROLS INC                     424 CROWN POINT CIR                                                                                       GRASS VALLEY       CA      95945‐9089
JDK WAREHOUSING INC
JDK WAREHOUSING INC                  363 ARVIN AVENUE                                                             STONEY CREEK CANADA ON
                                                                                                                  L8E 2M8 CANADA
JDM SYSTEMS CONSULTANTS INC          33117 HAMILTON CT STE 200                                                                                 FARMINGTON HILLS    MI     48334‐3355

JDM SYSTEMS CONSULTANTS INC.         33117 HAMILTON CT STE 200                                                                                 FARMINGTON HILLS    MI     48334‐3355

JDPD, INC.                           PAUL DAGENAIS                        501 STEPHENSON AVE                                                   ESCANABA            MI     49829‐1413
JDR MICRO/SAN JOSE                   2233 BRANHAM LANE                                                                                         SAN JOSE            CA     95124
JDS TRANSPORTATION LTD               ATTN: CORPORATE OFFICER/AUTHORIZED   1963 MILL STREET                        INNISFIL ON L9S 2A2 CANADA
                                     AGENT
JDS TRANSPORTATION LTD               1963 MILL STREET                                                             INNISFIL CANADA ON L9S 2A2
                                                                                                                  CANADA
JDS UNIPHASE CORPORATION             SCOTT JOHNSON                        430 N MCCARTHY BLVD                                                  MILPITAS            CA     95035‐5112
JDV ENGINEER/FAIR LA                 2‐05 BANTA PL                                                                                             FAIR LAWN           NJ     07410‐3002
JDY INC                              106 BISHOP LAKE LN                                                                                        BALL GROUND         GA     30107‐3737
JE PISTON                            TODD MILLAM X230                     15312 CONNECTOR LANE                                                 FARMINGTON HILLS    MI     48335

JE PISTONS INC                       15312 CONNECTOR LN                                                                                        HUNTINGTON          CA     92649‐1120
                                                                                                                                               BEACH
JE PISTONS INC                       TODD MILLAM X230                     15312 CONNECTOR LANE                                                 FARMINGTON HILLS    MI     48335

JE THOMSON & CO INC                  2135 HUNTINGTON DR STE 101                                                                                SAN MARINO          CA     91108‐2045
JE'MEL PERDUE                        3220 MORAINE DR                                                                                           BRIGHTON            MI     48114‐9223
JEA GATE HOLDINGS SRL                VIA ANDREA DORIA 15                                                          TORINO 10123 ITALY
JEAKLE, DAVID M                      19914 LIVERPOOL DR                                                                                        MACOMB             MI      48044
JEAKLE, JANETTE A                    71 HUNTERS RILL                                                                                           LAPEER             MI      48446‐4100
JEAKLE, JEAN Y                       1130 JEFFERSON                                                                                            LAPEER             MI      48446‐1316
JEAKLE, JOSEPH D                     490 N LAKE GEORGE RD                                                                                      ATTICA             MI      48412‐9743
JEAKLE, KATHLEEN A                   8810 CHERRYLAWN                                                                                           STERLING HGTS      MI      48313‐4829
JEAKLE, PAUL R                       109 SUGAR PINE RD                                                                                         ROCHESTER HLS      MI      48309‐2233
JEAN & DELMAS ROGERS                 JEAN D & DELMAS (JD) ROGERS          PO BOX 221                                                           SCREVEN            GA      31560
JEAN A ALBERTSON                     10363 COMANCHE                                                                                            RIVERSIDE          CA      92503‐5349
JEAN A BODA                          150 BOWNE ST NE                                                                                           GRAND RAPIDS       MI      49505‐4014
JEAN A CASSAVAUGH                    93 STONERIDGE DR                                                                                          ROCHESTER          NY      14615‐1456
JEAN A CONNOLLY                      15 DELAWARE AVE                                                                                           PITTSFIELD         MA      01201
JEAN A EVANS                         1205 DANNER AVENUE                                                                                        DAYTON             OH      45408‐1832
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Name                    Address1                      Address2             Address3            Address4               City              State   Zip
JEAN A HOWELL TRUSTEE   U/A DTD 02/21/2002            BY JEAN A HOWELL     9817 PINE LEAF LN                          DADE CITY          FL     33525‐9608
JEAN A HUTTON           1904 COLTON DRIVE                                                                             KETTERING          OH     45420
JEAN A KELLER           4860 E MAIN ST T ‐ 181                                                                        MESA               AZ     85205‐‐ 80
JEAN A MUELLER          1509 BRENTWOOD STREET                                                                         MIDDLETOWN         OH     45044‐6369
JEAN A PENLEY           2601 JOHNSON RD                                                                               GADSDEN            AL     35901‐8446
JEAN A SCHLEICHER       830 E HOWARD AVE.                                                                             MYRTLE BEACH       SC     29577
JEAN A THROCKMORTON     6989 EAST 100 NORTH                                                                           DANVILLE           IN     46122
JEAN A TIMMS            303 W 3RD ST                                                                                  NILES              OH     44446‐1421
JEAN A WITTCOP          8793 RIDGE RD                                                                                 GASPORT            NY     14067‐9414
JEAN A WOOLER           3226 QUENTIN DR                                                                               YOUNGSTOWN         OH     44511‐1204
JEAN ABEL               295 MILKY WAY DR                                                                              PULASKI            TN     38478‐7560
JEAN ADAMS              8678 W DECKERVILLE RD                                                                         REESE              MI     48757‐9521
JEAN ADAMS              1375 E 19TH AVE                                                                               APACHE JUNCTION    AZ     85219‐7714

JEAN ADAMS              3818 PROVIDENCE ST                                                                            FLINT              MI     48503‐4551
JEAN ADKINS             2624 SILVER LAKE RD                                                                           HANCOCK            NY     13783
JEAN AIKENS             409 CALIBRE BROOKE WAY SE                                                                     SMYRNA             GA     30080‐2986
JEAN AIKINS             241 FAIRFIELD AVE                                                                             TONAWANDA          NY     14223‐2847
JEAN ALLEN              4509 PEARSONS CORNER RD                                                                       DOVER              DE     19904‐5035
JEAN ALLEN              4557 S 44TH ST                                                                                CLIMAX             MI     49034‐9702
JEAN ALMASY             105 ARLINGTON DR                                                                              CANONSBURG         PA     15317‐1821
JEAN AMOROSO            58 MELWEX ST                                                                                  BELLEVILLE         NJ     07109‐1838
JEAN AMTABLIAN          6137 N SILVERY LN                                                                             DEARBORN HTS       MI     48127‐3128
JEAN ANDRIE             2802 MILLER RD                                                                                FLINT              MI     48503‐4618
JEAN ANN VEACH          308 TREELINE RD                                                                               TERRE HAUTE        IN     47802
JEAN ANTHONY            1204 N GAVIN ST                                                                               MUNCIE             IN     47303‐3318
JEAN ANTHONY‐BELL       2018 W STEWART AVE                                                                            FLINT              MI     48504‐3738
JEAN ARGUMEDO           3867 CLUTIER RD                                                                               SAGINAW            MI     48601‐7139
JEAN ARMSTRONG          4086 MEIGS AVE                                                                                WATERFORD          MI     48329‐2171
                                                                                                                      TOWNSHIP
JEAN ARMSTRONG          239 HAMILTON AVE                                                                              WESTERVILLE       OH      43081‐1517
JEAN ARNESON            15074 ROBERTS DR                                                                              FENTON            MI      48430‐1352
JEAN ARNETT             634 MARTIN ST                                                                                 OWOSSO            MI      48867‐3318
JEAN ARNOLD             418 E CRAVATH ST                                                                              WHITEWATER        WI      53190‐1412
JEAN ATKINS             4122 BUCKINGHAM RD                                                                            BALTIMORE         MD      21207‐4612
JEAN AUGUSTINSKY        1414 YOUNGSTOWN‐KINGSVILLE                                                                    VIENNA            OH      44473
JEAN B COREY            138 TRABOLD RD                                                                                ROCHESTER         NY      14624
JEAN B JENSEN           5603 BAYLOR AVE.                                                                              YOUNGSTOWN        OH      44515‐4105
JEAN B JUCHNEWICH       3855 ESTHER LN                                                                                HERMITAGE         PA      16148
JEAN B MILLIGAN         2266 SALT SPRINGS RD.                                                                         MCDONALD          OH      44437‐1114
JEAN B PIERRE           9143 219TH ST                                                                                 QUEENS VILLAGE    NY      11428‐1342
JEAN B SHAPIRO          1705 N SHADY BROOK DR                                                                         FULLERTON         CA      92831‐1850
JEAN BACKUS             32910 BROOKSIDE CIR                                                                           LIVONIA           MI      48152‐1419
JEAN BAILEY             6143 RABBIT CREEK RD                                                                          BUCHANAN          TN      38222‐4039
JEAN BAILEY             9121 E.                       1150 S. COUNTY RD.                                              GALVESTON         IN      46932
JEAN BAIRD              333 BEDE ST                                                                                   FLINT             MI      48507‐2614
JEAN BAKELAAR           2701 GLASGOW ST                                                                               JOLIET            IL      60435‐1336
JEAN BALAGNA            4143 MCKINLEY AVE                                                                             WARREN            MI      48091‐4049
JEAN BALAGNA            4143 MC KINLEY                                                                                WARREN            MI      48091‐4049
JEAN BALASH             504 CAYUGA RD                                                                                 CHEEKTOWAGA       NY      14225‐1332
JEAN BANASIAK           249 HABERLE PL                                                                                RAHWAY            NJ      07065‐2213
JEAN BANKS              1305 BOLAN DR                                                                                 FLINT             MI      48505‐2501
JEAN BANTZ              5169 S 1000 W                                                                                 REDKEY            IN      47373‐9504
JEAN BANYAS             11146 FARRAND RD                                                                              OTISVILLE         MI      48463‐9753
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Name                       Address1                         Address2             Address3        Address4               City               State   Zip
JEAN BAPTISTE, ARI         WILSON KEHOE & WININGHAM         PO BOX 1317                                                 INDIANAPOLIS        IN     46206‐1317
JEAN BAPTISTE, SARADGENE   WILSON KEHOE & WININGHAM         PO BOX 1317                                                 INDIANAPOLIS        IN     46206‐1317
JEAN BARAL                 5560 W ALLWOOD DR                                                                            FRANKLIN            WI     53132‐9001
JEAN BARBER                11331 MERCEDES                                                                               REDFORD             MI     48239‐2377
JEAN BARDWELL              5207 LAPEER RD                                                                               BURTON              MI     48509‐2021
JEAN BARHAM                1872 VALLEY WOODS DR                                                                         RIVERDALE           GA     30296‐1863
JEAN BARKEWITZ             51 WILLIAMSTOWNE CT APT 7                                                                    CHEEKTOWAGA         NY     14227‐2038
JEAN BARRERE               231 FAIRCREST DR                                                                             ARLINGTON           TX     76018‐4027
JEAN BARTEK                1832 N DUCK CREEK RD                                                                         NORTH JACKSON       OH     44451‐9613
JEAN BARWELL               151 CROWLEY AVENUE                                                                           BUFFALO             NY     14207‐1557
JEAN BATES                 4028 W ALAMO DR                                                                              BEVERLY HILLS       FL     34465‐2141
JEAN BATIAN                417 PENNSYLVANIA AVE                                                                         MC DONALD           OH     44437‐1941
JEAN BEAMAN                650 GOIST LN                                                                                 GIRARD              OH     44420‐1401
JEAN BEDNARSKI             4305 MERTZ RD                                                                                MAYVILLE            MI     48744‐9787
JEAN BEESLEY               22070 RIVER RIDGE TRL                                                                        FARMINGTON HILLS    MI     48335‐4666

JEAN BELARDO               500 WALKER AVE                                                                               EWING              NJ      08628‐2820
JEAN BENTHAL               8784 LINKSWAY DR                                                                             POWELL             OH      43065‐8108
JEAN BENTOSKI              3241 W PARKWAY AVE                                                                           FLINT              MI      48504‐6924
JEAN BERESFORD             69 SPRINGFIELD AVE                                                                           TONAWANDA          NY      14150‐9117
JEAN BIFANO                402 E WIND DR                                                                                DOVER              DE      19901‐6692
JEAN BIGLER                16 TAMARA TRL                                                                                IUKA               MS      38852
JEAN BIRCH                 1005 NORTHWOOD DR                                                                            ROCKVILLE          IN      47872‐1234
JEAN BITTINGER             R 3 1394 SPRINGMILL R                                                                        MANSFIELD          OH      44903
JEAN BLANKENSHIP           702 COUNTRY CLUB RD                                                                          FULTON             MS      38843‐9702
JEAN BODA                  150 BOWNE ST NE                                                                              GRAND RAPIDS       MI      49505‐4014
JEAN BODWIN                6304 E ENSENADA ST                                                                           MESA               AZ      85205‐5916
JEAN BOGGS                 540 ALL AMERICAN DR                                                                          MANSFIELD          OH      44903‐7786
JEAN BOLYARD               5453 VANALLEO DR                                                                             SAGINAW            MI      48638
JEAN BOOMER                1031 HEATHWOOD DR                                                                            ENGLEWOOD          OH      45322
JEAN BOVE                  42 WILLIAM ST                                                                                SOUTH RIVER        NJ      08882‐1067
JEAN BOWEN                 254 ROBERT ST                                                                                W CARROLLTON       OH      45449‐1226
JEAN BOWERS                42350 W BRAVO DR                 RANCHO EL DORADO                                            MARICOPA           AZ      85238‐2297
JEAN BOWIE                 1708 HUNTERS WAY                                                                             SANDUSKY           OH      44870‐7941
JEAN BRADFIELD             10939 APPLETON DR                                                                            PARMA HEIGHTS      OH      44130‐4451
JEAN BRADFORD              9317 WOODSIDE TRL                                                                            SWARTZ CREEK       MI      48473‐8534
JEAN BRADY                 2377 SALT POINT TPKE                                                                         CLINTON CORNERS    NY      12514‐2031

JEAN BRANTLEY              613 FOREST ST                                                                                WYANDOTTE          MI      48192‐6822
JEAN BREINER TRUST         IRVING LIEBERMAN C/O TRUSTEES    JEAN BREINER TRUST   7729 DAVIS ST                          MORTON GROVE       IL      60053‐1816
JEAN BRIGHT                15 BOEHM DR                                                                                  LEBANON            NJ      08833‐3000
JEAN BRINKER               24224 TALLMAN AVE                                                                            WARREN             MI      48089‐1874
JEAN BRODOWSKI             1296 CRANBROOK CIR NE                                                                        WARREN             OH      44484‐1562
JEAN BROWN                 2021 FAWNDALE DR                                                                             RALEIGH            NC      27612‐2860
JEAN BROWN                 2050 N UNION ST APT 206                                                                      SPENCERPORT        NY      14559‐1168
JEAN BROWN                 3315 WARNER RD                                                                               CASS CITY          MI      48726‐8916
JEAN BROWN                 5213 HARWOOD                                                                                 MOUNT MORRIS       MI      48458
JEAN BROWN                 78 BRUNSWICK BLVD                                                                            BUFFALO            NY      14208‐1541
JEAN BROWN                 5501 HUNTER ST                                                                               RAYTOWN            MO      64133‐3249
JEAN BROWN                 2034 JOLSON AVE                                                                              BURTON             MI      48529‐2032
JEAN BROWNING              18505 SUSSEX ST                                                                              DETROIT            MI      48235‐2882
JEAN BRUMMELL              1921 N WASHINGTON ST                                                                         WILMINGTON         DE      19802‐4716
JEAN BRYANT                2012 FLAMINGO WAY                                                                            FRANKLIN           IN      46131‐7971
JEAN BUCHANAN              730 REHOBOTH DR NE               REST HAVEN HOME                                             GRAND RAPIDS       MI      49505‐5184
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Name                                Address1                     Address2                   Address3   Address4                 City            State   Zip
JEAN BUCHHOLTZ                      140 EAST 83RD ST APT 5A                                                                     NEW YORK         NY     10028
JEAN BUDD                           225 N 8TH ST                                                                                ELWOOD           IN     46036‐1410
JEAN BUJACK                         5221 LAKESHORE                                                                              FORT GRATIOT     MI     48059
JEAN BUNN                           1014 38TH ST SW                                                                             WYOMING          MI     49509‐3901
JEAN BURDZY                         363 JUNGERMANN RD APT 351                                                                   SAINT PETERS     MO     63376‐5374
JEAN BURHANS                        830 CALDER AVE                                                                              YPSILANTI        MI     48198‐8032
JEAN BURNETT                        1309R N MAIN ST                                                                             PIEDMONT         MO     63957‐1229
JEAN BURNS                          1202 W MAPLE AVE                                                                            FLINT            MI     48507‐3734
JEAN BUSHA                          743 BOUND LINE RD                                                                           WOLCOTT          CT     06716‐1541
JEAN BUTTLER                        10147 NICHOLS RD                                                                            GAINES           MI     48436‐8907
JEAN C ADKINS                       106 DARTMOUTH ST                                                                            TRENTON          OH     45067
JEAN C BLACKSTONE                   1814 SALEM AVE                                                                              DAYTON           OH     45406‐4926
JEAN C BOGGS                        2208 WELLESLEY AVE                                                                          CHARLOTTE        NC     28207
JEAN C ESPOSITO                     8 KETTLE CIR                                                                                LAFAYETTE        IN     47905‐0779
JEAN C MACHACEK & JOSEPH F MACHACEK 9619 PALMER RD                                                                              BLOOMINGTON      MN     55437‐2018
JTWROS
JEAN CADET                          8786 SW 221ST TER                                                                           CUTLER BAY      FL      33190‐1117
JEAN CAIN                           7648 HIGHLAND DR                                                                            GASPORT         NY      14067‐9264
JEAN CALDWELL                       1900 SIDNEY DR                                                                              MOORE           OK      73160‐6050
JEAN CALL                           9401 MEADOWGREEN RD                                                                         RICHMOND        VA      23294‐5416
JEAN CALLAHAN                       15279 PINE HILL TRL                                                                         MIDDLEBRG HTS   OH      44130‐5514
JEAN CAMERON                        208 S CLEVELAND AVE                                                                         NILES           OH      44446‐3706
JEAN CAMERON                        919 OLD CANYON RD                                                                           FREMONT         CA      94536‐1731
JEAN CAMMARANO                      26639 EVERT ST                                                                              LEESBURG        FL      34748‐8012
JEAN CANOLE                         263 LYNDOL ST                                                                               LAKELAND        FL      33815‐7420
JEAN CARAMAGNO                      218 1ST ST                                                                                  MIDDLESEX       NJ      08846‐2114
JEAN CARMEL                         1739 STAGECOACH CT                                                                          POWELL          OH      43065‐9283
JEAN CARON                          400 PLYMOUTH RD APT I8                                                                      PLYMOUTH        MI      48170‐1460
JEAN CARPENTER                      3402 BROOKGATE DR                                                                           FLINT           MI      48507‐3213
JEAN CARRIZALES                     126 OVERLOOK PL                                                                             COLUMBIA        TN      38401‐4976
JEAN CARRON                         1100 AMERICAN ELM ST                                                                        LAKE ORION      MI      48360‐1449
JEAN CARSON                         2481 OATES RD                                                                               TAWAS CITY      MI      48763‐9558
JEAN CARTER                         1191 N OXFORD RD                                                                            GROSSE POINTE   MI      48236‐1858
                                                                                                                                WOODS
JEAN CARTER                        6900 S OCCIDENTAL RD                                                                         TECUMSEH        MI      49286‐9783
JEAN CASE                          PO BOX 3613                                                                                  BROOKHAVEN      MS      39603‐7613
JEAN CASSAVAUGH                    93 STONERIDGE DR                                                                             ROCHESTER       NY      14615‐1456
JEAN CASSIZZI                      361 ELRINO ST                                                                                BALTIMORE       MD      21224‐2721
JEAN CAUFIELD                      504 S ALTADENA AVE                                                                           ROYAL OAK       MI      48067‐2824
JEAN CAVANAUGH                     2701 ROANOKE AVE                                                                             DAYTON          OH      45419‐1355
JEAN CAVITT                        APT 109                       525 EAST WOODRUFF AVENUE                                       TOLEDO          OH      43604‐5348
JEAN CEUPPENS                      GERAARDSBERGSESTRAAT 42                                             SCHEPDAAL 1703 BELGIUM
JEAN CHAPMAN                       37 PINDO PALM ST W                                                                           LARGO            FL     33770‐7404
JEAN CHAPMAN                       29318 ORVYLLE DR                                                                             WARREN           MI     48092‐2355
JEAN CHAPMAN                       852 COUNTY ROAD 2285                                                                         CLEVELAND        TX     77327‐0457
JEAN CHARTERS                      909 HUNTINGTON DR                                                                            OWOSSO           MI     48867‐1907
JEAN CHRISTIE                      4724 EAST GRESHAM HIGHWAY                                                                    POTTERVILLE      MI     48876‐9739
JEAN CHRISTIE                      10568 N ROYSTON RD                                                                           GRAND LEDGE      MI     48837‐9423
JEAN CHRISTMAN                     1331 SUNSET BLVD                                                                             FLINT            MI     48507‐4061
JEAN CHURCH                        1682 E MOORE RD                                                                              SAGINAW          MI     48601‐9353
JEAN CLABEAUX                      15 ROYAL AVE                                                                                 BUFFALO          NY     14207‐1408
JEAN CLAPPER                       55 CEDAR AVE                                                                                 GETTYSBURG       PA     17325
JEAN CLAPS                         413 S RIVERSIDE DR                                                                           VILLA PARK       IL     60181‐2737
JEAN CLARK                         2456 GARDEN TERRACE #307      SEAGROSS CONDO                                                 PORT ST LUCIE    FL     34952
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Name                          Address1                              Address2                          Address3                Address4                City           State Zip
JEAN CLARK                    108 MAGNOLIA DR                                                                                                         ANDERSON        IN 46012‐1015
JEAN CLARK                    365 HAYNES CREEK CIR                                                                                                    OXFORD          GA 30054‐2619
JEAN CLARK                    5321 RIDGEBEND DR                                                                                                       FLINT           MI 48507‐6345
JEAN CLAUD CADORET            20426 BOURASSA AVE                                                                                                      BROWNSTOWN TWP MI 48183‐5057

JEAN CLAUDE BALLAND           UTA CHARLES SCHWAB & CO INC           IRA ROLLOVER DTD 08/30/93         15350 NW OAK HILLS DR                           BEAVERTON         OR   97006
JEAN CLAUDE JOSEPH BRUCKNER   34, RUE PHILIPPE II                                                                             L‐2340 LUXEMBOURG
JEAN CLAUDE PAERMENTIER       BRANSART 159                          B 5020 MALONNE              BELGIUM
JEAN CLEMENTS                 APT 247                               200 WEST EDGEWOOD BOULEVARD                                                       LANSING           MI   48911‐5675
JEAN CLIFFORD                 8271 E HILLVIEW TRL                                                                                                     REED CITY         MI   49677‐9215
JEAN CLINGAN                  PO BOX 688                                                                                                              LESLIE            WV   25972‐0688
JEAN CLINTON                  260 KIRKWOOD RD                                                                                                         ROCHESTER         NY   14612‐1807
JEAN CLOUD                    508 S 31ST ST                                                                                                           ELWOOD            IN   46036‐2646
JEAN CLOWER                   210 AMSTERDAM DR SW                                                                                                     LILBURN           GA   30047‐5193
JEAN CLUNIE                   4685 CLUNIE ST                                                                                                          SAGINAW           MI   48638‐6521
JEAN COCKING                  2658 W ELM BLOSSOM ST                                                                                                   BEVERLY HILLS     FL   34465‐3037
JEAN COLE                     811 COUNTRY LN                                                                                                          ANDERSON          IN   46013‐1531
JEAN COLLIER                  PO BOX 4712                                                                                                             NAPERVILLE        IL   60567‐4712
JEAN COLLINS                  7810 BURLINGAME AVE SW                                                                                                  BYRON CENTER      MI   49315‐8512
JEAN CONIGLIO                 193 CALVIN CT N                                                                                                         TONAWANDA         NY   14150‐8801
JEAN CONLEY                   9063 PERRY RD                                                                                                           ATLAS             MI   48411‐7708
JEAN CONNON                   2337 EMMET ST                                                                                                           ALPENA            MI   49707‐3427
JEAN COOK                     8444 N MCKINLEY RD                                                                                                      FLUSHING          MI   48433‐8845
JEAN CORKUM                   12205 GOSHEN RD LOT 54                                                                                                  SALEM             OH   44460‐9147
JEAN COTE                     31714 LONNIE BLVD                                                                                                       WESTLAND          MI   48185‐1665
JEAN COY                      402 COUNTRY CLUB LN                                                                                                     ANDERSON          IN   46011‐3402
JEAN COZZI                    1812 HYDE SHAFFER RD                                                                                                    BRISTOLVILLE      OH   44402‐9708
JEAN CRAIG‐MATHEWS            184 E 600 S                                                                                                             ANDERSON          IN   46013‐9502
JEAN CRAMTON                  PO BOX 53                                                                                                               WILMINGTON        OH   45177
JEAN CRAPOL                   210 KELLER AVE                                                                                                          KENMORE           NY   14217‐2508
JEAN CROCKER                  653 HOLLY PT                                                                                                            FENTON            MI   48430‐2316
JEAN CROSNO                   1401 WALDMAN AVE                                                                                                        FLINT             MI   48507‐1550
JEAN CRUISE                   2876 CHAISE LN                                                                                                          MAINEVILLE        OH   45039‐9036
JEAN CUNDIFF                  2863 RAVENGLASS RD                                                                                                      WATERFORD         MI   48329‐2646
JEAN CURELL                   771 BARNES RD                                                                                                           MAYVILLE          MI   48744‐9329
JEAN CURTISS                  107 GANEGA TRAIL                                                                                                        VONORE            TN   37885‐2654
JEAN CYGANIK                  2103 E PATRICK LN                                                                                                       PHOENIX           AZ   85024‐7511
JEAN D FITCH                  1125 LOGAN AVE.                                                                                                         MCDONALD          OH   44437‐1649
JEAN D MC CALDEN              67 MEADOW WOOD DR                                                                                                       ROCHESTER HILLS   MI   48307‐3087
JEAN D MOORE                  4641 5TH AVE                                                                                                            YOUNGSTOWN        OH   44505‐1204
JEAN D OLSON                  538 REGAL AVE                                                                                                           DAYTON            OH   45449
JEAN D SMITH                  560 COHASSET DR                                                                                                         YOUNGSTOWN        OH   44511‐1551
JEAN D VALERY                 TIM MURPHY OF LYTAL, REITER, CLARK,   515 NO FLAGLER DRIVE SUITE 1000                                                   WEST PALM BEACH   FL   33401
                              FOUNTAY & WILLIAMS
JEAN D. KLEIN                 3500 WEST CHESTER PIKE                CH‐123                                                                            NEWTOWN SQUARE    PA   19073

JEAN DALE                     73 LEUCKEL AVE                                                                                                          TRENTON           NJ   08619‐3926
JEAN DALICKAS                 138 FREEMAN ST                                                                                                          WOODBRIDGE        NJ   07095‐3125
JEAN DASCH                    884 HIGHWOOD DRIVE                                                                                                      BLOOMFIELD        MI   48304
JEAN DAVIS                    4381 SOUTH US HIGHWAY 23                                                                                                GREENBUSH         MI   48738‐9743
JEAN DAVIS                    9371 EVERGREEN DR                                                                                                       LINDEN            MI   48451‐8748
JEAN DEAN                     1202 HOLLOW DR                                                                                                          CARO              MI   48723‐1213
JEAN DEAN                     6649 LINCOLN AVE                                                                                                        LOCKPORT          NY   14094‐6156
JEAN DEATON                   619 MOORING LN                                                                                                          EDGEWATER         FL   32141‐5934
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Name                             Address1                             Address2                   Address3   Address4                   City               State   Zip
JEAN DEGRAFFENREID               958 S CO RD 560 W                                                                                     RUSSIAVILLE         IN     46979
JEAN DEIEN                       11 N 8TH ST                                                                                           NEW BADEN            IL    62265‐1416
JEAN DELEEL                      1977 COUNTY RD 38                                                                                     NORFOLK             NY     13667
JEAN DELK                        1700 E 17TH ST                                                                                        MUNCIE              IN     47302‐4539
JEAN DELONG                      40 OXBOW CREEK LN                                                                                     LAGUNA HILLS        CA     92653‐4494
JEAN DELORES MAHER TTEE OF THE   JEAN DELORES MAHER TRUST DTD 5/13/91 7521 FLOWER MEADOW DRIVE                                         SAN DIEGO           CA     92126‐1045

JEAN DERAEDT                     RUE HAUTEBOIS 27                                                           BE‐6230 THIMEON, BELGIUM

JEAN DEVERELL                    1224 N JACKSON ST                                                                                     LAPEER             MI      48446‐1208
JEAN DIMET                       3711 MACON AVE                                                                                        LANSING            MI      48917‐2243
JEAN DIRMEYER                    10985 DOUGLAS DR                                                                                      ALLENDALE          MI      49401‐7404
JEAN DITTMER                     279 N MOREY RD                                                                                        LAKE CITY          MI      49651‐8776
JEAN DIXON                       1522 HUGHES AVE                                                                                       FLINT              MI      48503‐3270
JEAN DOLA                        2380 AURORA POND #2365                                                                                WYOMING            MI      49519
JEAN DOMINAS                     670 HOWARD RD                                                                                         ROCHESTER          NY      14624‐1721
JEAN DOMORSKY                    2818 BRANDON ST                                                                                       FLINT              MI      48503‐3451
JEAN DONALDSON                   150 E CONGRESS ST                                                                                     CARO               MI      48723‐1814
JEAN DONNELLY                    PO BOX 3948                                                                                           SPRING HILL        FL      34611‐3948
JEAN DONOVAN                     648 OAK FARM CT                    C/O M BRIDGET SHEEHEY                                              TIMONIUM           MD      21093‐7004
JEAN DORSEY                      405 BREEZY ST                                                                                         DELAVAN            WI      53115‐3061
JEAN DOUGLAS                     164 EDWARDS ST                                                                                        COTTAGE HILLS      IL      62018‐1123
JEAN DOW                         2 OVERTON RD                                                                                          TRENTON            NJ      08690‐1513
JEAN DOWELL                      2008 WESTKENDAL LN                                                                                    ARLINGTON          TX      76015‐1145
JEAN DOWNES                      360 CONCORD AVE                                                                                       CAMBRIDGE          MA      02138‐1212
JEAN DRUMGOLD                    25 HUNTINGTON CIR                                                                                     PEEKSKILL          NY      10566‐2557
JEAN DUNCAN                      284 LAWTHORN ST                                                                                       THE VILLAGES       FL      32162‐5097
JEAN DUNICA                      917 N MONROE ST                                                                                       HARTFORD CITY      IN      47348‐1622
JEAN DUQUETTE                    907 W INDIANA ST                                                                                      BAY CITY           MI      48706‐4235
JEAN E BRODEUR                   4128 HILDRING DR EAST                                                                                 FORTH WORTH        TX      76109
JEAN E CARNES                    1032 NORMANDY TERRACE DR                                                                              FLINT              MI      48532‐3547
JEAN E CAVANAUGH                 2701 ROANOKE AVE.                                                                                     DAYTON             OH      45419‐1355
JEAN E FROST                     2136 HEATHER WAY                                                                                      GLADWIN            MI      48624‐8608
JEAN E GRAY                      1517 LOWELL ST                                                                                        ELYRIA             OH      44035‐4868
JEAN E HALE                      ALAN D HALE JT TEN                 12031 S FAIRHOLLOW LN                                              HOUSTON            TX      77043‐1009
JEAN E LISUM                     25 W. NINTH ST.                                                                                       NEWTON FALLS       OH      44444‐1553
JEAN E LUNEKE                    311 MINTY DR                                                                                          DAYTON             OH      45415‐3016
JEAN E MOORE                     5503 ST RT 73                                                                                         WAYNESVILLE        OH      45068‐9578
JEAN E PIZZI                     1210 RUGBY CIRCLE                                                                                     BLOOMFIELD HILLS   MI      48302
JEAN E SCHMIDT                   6240 LAKE DR                                                                                          YPSILANTI          MI      48197‐7054
JEAN E SCRIPTER                  307 SCIOTA ST                                                                                         LAINGSBURG         MI      48848‐9735
JEAN E STRAUSS                   9349 HAMILTON BLVD                                                                                    BREINGSVILLE       PA      18031
JEAN E WARD                      508 SMITH AVE                                                                                         SHARON             PA      16146
JEAN EARP                        149 IRELAND ST                                                                                        SPRINGDALE         AR      72762
JEAN EDWARDS                     936 BLAINE AVE                                                                                        JANESVILLE         WI      53545‐1736
JEAN EDWARDS                     2930 EPSILON TRL                                                                                      FLINT              MI      48506‐1836
JEAN ELLENWOOD                   2109 2ND AVE E                                                                                        PALMETTO           FL      34221‐3309
JEAN ELLIOTT                     9806 BLUE SPRUCE RD                                                                                   WISE               VA      24293‐4425
JEAN ELLIS                       1292 BRISTOL CHMPN TWNLN RD NW                                                                        WARREN             OH      44481‐9406
JEAN ELLIS                       29311 FIELDSTONE                                                                                      FARMINGTON HILLS   MI      48334‐4103

JEAN EMBRY                       4449 BROADBUSH DR                                                                                     TROTWOOD           OH      45426‐1905
JEAN ENGQUIST                    9635 MERRIMAC AVE                                                                                     OAK LAWN           IL      60453‐2720
JEAN ERWIN                       22140 GARDNER ST                                                                                      OAK PARK           MI      48237‐2684
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Name                       Address1                       Address2                   Address3                     Address4               City               State   Zip
JEAN ESPOSITO              8 KETTLE CIR                                                                                                  LAFAYETTE           IN     47905‐0779
JEAN ESPOSITO              169 ADMIRAL DR                                                                                                EASTLAKE            OH     44095‐1750
JEAN ESTATE OF PRISCILLA   2125 SPRING HILL CIR                                                                                          SPRING HILL         TN     37174‐8228
JEAN ESTEP                 1517 ELM ST                                                                                                   SAINT HELEN         MI     48656‐9554
JEAN EVANS                 1205 DANNER AVE                                                                                               DAYTON              OH     45408‐1832
JEAN EVANS                 APT 502                        15160 HARBOUR ISLE DRIVE                                                       FORT MYERS          FL     33908‐6843
JEAN F KITTLE              3264 DURST CLAGG                                                                                              WARREN              OH     44481‐9325
JEAN F LURPIN              ATTN: ROBERT W PHILLIPS        SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD, PO BOX                          EAST ALTON           IL    62024
                                                          ANGELIDES & BARNERD LLC    521
JEAN F TOCICKI             73 STANTON                                                                                                    YOUNGSTOWN         OH      44512‐2216
JEAN F. LINKHORST          34 GREAT OAKS                                                                                                 NESQUEHONING       PA      18240
JEAN FAIRCHILD             871 GLEN ST                                                                                                   JANESVILLE         WI      53545‐3168
JEAN FARGO                 3085 N GENESEE RD APT 111                                                                                     FLINT              MI      48506‐2190
JEAN FARMER                251 OVERLAND TRL                                                                                              MIAMISBURG         OH      45342‐2226
JEAN FINAN                 249 N 13TH ST APT 4                                                                                           ELWOOD             IN      46036‐1598
JEAN FINEIS                2210 RABY RD                                                                                                  EAST LANSING       MI      48823‐7759
JEAN FIOLICH               413 NORRIDGEWOCK ST                                                                                           HENDERSON          NV      89074‐5719
JEAN FISHER                27731 JOY RD                                                                                                  WESTLAND           MI      48185‐5525
JEAN FITCH                 1125 LOGAN AVE                                                                                                MC DONALD          OH      44437‐1649
JEAN FLAGG                 1301 WHITEHAVEN CT                                                                                            OWOSSO             MI      48867‐1948
JEAN FORD                  1029 S OHIO ST                                                                                                KOKOMO             IN      46902‐1867
JEAN FORD                  404 P LINDSEY RD                                                                                              LINDSEYVILLE       KY      42210‐4098
JEAN FORMOSA               8416 BAYTES DR                                                                                                BRIGHTON           MI      48116‐8539
JEAN FORTUNE               668 GREENVILLE RD                                                                                             N SMITHFIELD       RI      02896‐9553
JEAN FOX                   185 MCCALL RD                                                                                                 ROCHESTER          NY      14616‐5268
JEAN FRAKES                16539 HI LAND TRL                                                                                             LINDEN             MI      48451‐9089
JEAN FRANCOIS NAVARRE      118 UNION ST APT 10B                                                                                          BROOKLYN           NY      11231‐2973
JEAN FRECHETTE             1716 ZUMBACH WAY                                                                                              CARY               NC      27513‐2945
JEAN FRECHETTE             5331 SEYMOUR RD                                                                                               SWARTZ CREEK       MI      48473‐1031
JEAN FREDERICK             PO BOX 317                                                                                                    NORFOLK            NY      13667‐0317
JEAN FRIEND                251 PATTERSON RD LOT A34                                                                                      HAINES CITY        FL      33844
JEAN FUNK                  40 LINWOOD AVE                                                                                                TONAWANDA          NY      14150‐4018
JEAN FURLONG               643 E 305TH ST                                                                                                WILLOWICK          OH      44095‐4861
JEAN G ASENATO             25 RETIREMENT DR                                                                                              HORSEHEADS         NY      14845
JEAN G SENTZ               4803 S HUBBARD ST                                                                                             WAYNE              MI      48184‐2515
JEAN GABRIEL               13952 SW 156TH AVE                                                                                            MIAMI              FL      33196‐6063
JEAN GAGNON                PO BOX 47                                                                                                     NEW BOSTON         IL      61272‐0047
JEAN GALLUP                729 LOUISA ST                                                                                                 MOUNT MORRIS       MI      48458‐1734
JEAN GARRISON              PO BOX 95                                                                                                     LILLIAN            TX      76061‐0095
JEAN GASCHO                11881 PIGEON CT                                                                                               CALDWELL           ID      83605‐6756
JEAN GASPAROVIC            1185 SCENIC WAY                                                                                               SAINT LEONARD      MD      20685‐2102
JEAN GATEWOOD              PO BOX 2207                                                                                                   FLORISSANT         MO      63032‐2207
JEAN GAUTHIER              1289 CINCINNATI BATAVIA PK                                                                                    BATAVIA            OH      45103
JEAN GAUTHIER              127 MILL ST                                                                                                   WORCESTER          MA      01603‐2030
JEAN GEIGER                11 ALBEMARLE RD                                                                                               TRENTON            NJ      08690‐2135
JEAN GEORGE                335 CATIVO DR SW                                                                                              ATLANTA            GA      30311‐2103
JEAN GEPPERT               5164 SE 37TH AVE                                                                                              OCALA              FL      34480‐8521
JEAN GERLACH               2313 HAWLEY RD                                                                                                MASON              MI      48854‐9674
JEAN GERTH                 1116 S LESLIE ST                                                                                              INDEPENDENCE       MO      64050‐4529
JEAN GIACIN                8‐23 FOREST ST                                                                                                FAIR LAWN          NJ      07410‐1509
JEAN GIBBS                 526 SOMERSET DR                                                                                               FLUSHING           MI      48433‐1918
JEAN GIBSON HUELSMAN       256 87TH AVE N                                                                                                SAINT PETERSBURG   FL      33702‐3712

JEAN GILBERT               316 NEW SALEM ST.                                                                                             PARK FOREST         IL     60466
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Name                                  Address1                       Address2              Address3       Address4                City             State Zip
JEAN GILLESPIE                        250 PLAZA BLVD APT F2                                                                       MORRISVILLE       PA 19067‐7623
JEAN GILLIS                           6730 TOWNVIEW                                                                               CLARKSTON         MI 48346‐1461
JEAN GILSON                           CHEMIN DES BARAQUES 15         1380 LASNE
JEAN GILSON                           CHEMIN DE PLANCENOIT 10        1380 LASNE
JEAN GIORDANO                         2956 193RD ST                                                                               LANSING          IL   60438‐3732
JEAN GLASS                            12702 W HOWE RD                                                                             EAGLE            MI   48822‐9760
JEAN GLOR                             53 SANDRA DR                                                                                CHEEKTOWAGA      NY   14225‐2333
JEAN GODFREY                          9075 E OLIVE LN S                                                                           SUN LAKES        AZ   85248‐6926
JEAN GODIN                            6654 GAVIOTA                                                                                FORT PIERCE      FL   34951‐4358
JEAN GODLEY                           8 GARDNER PL                                                                                PARLIN           NJ   08859‐1606
JEAN GOFFAR                           4892 WHITEFISH CRESCENT                                             WINDSOR CANADA N9G3E1
JEAN GOODWIN                          1416 ROSELAWN AVE                                                                           LANSING          MI   48915‐2244
JEAN GORDON                           875 VICTOR AVE APT 233                                                                      INGLEWOOD        CA   90302‐3570
JEAN GORMAN                           15566 BELMONT AVE                                                                           ALLEN PARK       MI   48101‐1742
JEAN GORRIE                           4068 S HEMLOCK LN                                                                           MOUNT MORRIS     MI   48458‐9319
JEAN GOULD                            309W.15TH STREET                                                                            LINDEN           NJ   07036
JEAN GOWARD                           6195 S CHAPIN RD                                                                            SAINT CHARLES    MI   48655‐9795
JEAN GRANT                            2714 ROCKFORD CT N                                                                          KOKOMO           IN   46902‐3206
JEAN GRAPPIN                          4382 GREGOR ST                                                                              GENESEE          MI   48437‐7701
JEAN GRAVES                           1517 S ARCH ST                                                                              JANESVILLE       WI   53546‐5732
JEAN GREEN                            7730 METZ DR                                                                                SHELBY TWP       MI   48316‐1846
JEAN GREENWOOD JOWERS                 5498 CLEAR CREEK BLVD                                                                       FAYETTEVILLE     AR   72704
JEAN GREER                            7108 S VASSAR RD                                                                            VASSAR           MI   48768‐9660
JEAN GRIFFIN                          8621 S DANTE AVE                                                                            CHICAGO          IL   60619‐6530
JEAN GRIFFITH                         35 S OUTER DR                                                                               VIENNA           OH   44473‐9777
JEAN GRIFFITH                         3090 COIN ST                                                                                BURTON           MI   48519‐1536
JEAN GRUCHALA                         1633 BRENTFORD DR              C/O WALTER GRUCHALA                                          NAPERVILLE       IL   60563‐1348
JEAN GRUET                            192 AUBURN AVE                                                                              ROCHESTER        NY   14606‐4134
JEAN GRZESIAK                         6443 BOUGAINVILLA AVE S                                                                     ST PETERSBURG    FL   33707‐2301
JEAN GRZYWA                           8213 43RD PL                                                                                LYONS            IL   60534‐1136
JEAN GUIFFANT                         ERNST‐REUTER‐STRASSE 5                                                                      LEHRTE                31275
JEAN GUIFFANT                         ERNST‐REUTER STRASSE 5                                                                      LEHRTE                31275
JEAN GUST                             25250 EUREKA RD APT 131                                                                     TAYLOR           MI   48180
JEAN GUY TREMBLAY TTEE                JEAN GUY TREMBLAY              PO BOX 3822                                                  NASHUA           NH   03061
JEAN H KLINGERMAN                     26850 SOUTH BAY DRIVE          APT 317                                                      BONITA SPRINGS   FL   34134
JEAN H LINDSEY TRUST                  JOHN J LINDSEY TTEE            4730 NE 26 AVE                                               FT LAUDERDALE    FL   33308
JEAN H SAYERS                         3 CERES DR                                                                                  VIENNA           OH   44473‐9762
JEAN H SPENCER                        12814 GALAXY DR                                                                             SUN CITY WEST    AZ   85375‐4535
JEAN H STOVER                         16101 N EL MIRAGE RD APT 334                                                                EL MIRAGE        AZ   85335
JEAN H TEIPHER                        4445 DANT BLVD                                                                              RENO             NV   89509
JEAN H WILKINS                        4051 WEST LAKE DR                                                                           COURTLAND        OH   44410
JEAN HALCOMB                          28644 HAZELWOOD ST                                                                          INKSTER          MI   48141‐1695
JEAN HALEY                            620 SPRING AVE                                                                              FRANKLIN         OH   45005‐3571
JEAN HALL                             2452 W 4TH ST                                                                               MANSFIELD        OH   44906‐1207
JEAN HALL                             883 WOODSPOINTE DR SW                                                                       BYRON CENTER     MI   49315‐8221
JEAN HANMER                           WEITZ & LUXENBERG PC           700 BROADWAY                                                 NEW YORK CITY    NY   10003
JEAN HANN                             2506 OAK MANOR RD                                                                           BALTIMORE        MD   21219‐1924
JEAN HANSEN                           635 N CEDAR RD                                                                              MASON            MI   48854‐9543
JEAN HARE                             6712 SUMMIT DR                                                                              CANFIELD         OH   44406‐9092
JEAN HARLOW‐BILES, PERSONAL REP FOR   C/O BRAYTON PURCELL            222 RUSH LANDING RD                                          NOVATO           CA   94948‐6169
RONALD C BILES SR
JEAN HARPER
JEAN HARRIS                           6654 SCHOLL ROAD                                                                            MANCELONA        MI   49659‐9191
JEAN HARRIS                           422 S BACHUS ST                                                                             CORUNNA          MI   48817‐1614
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Name              Address1                       Address2              Address3       Address4               City              State Zip
JEAN HARRIS       83 KAUFMAN AVE                                                                             TONAWANDA          NY 14150‐7704
JEAN HART         9715 COOLEY LAKE RD                                                                        COMMERCE           MI 48382‐3630
                                                                                                             TOWNSHIP
JEAN HARTMAN      2212 PROVIDENCE CIR                                                                        ROCHESTER         NY   14616‐4351
JEAN HARTWIG      3400 HARRISON AVE                                                                          ROCHESTER HILLS   MI   48307‐5628
JEAN HARTZELL     8400 CLEARVISTA PL             BUILDING B, APT 105                                         INDIANAPOLIS      IN   46256‐3700
JEAN HAUGHT       159 N THISTLE WAY                                                                          NEWARK            DE   19702‐4082
JEAN HAUSER       1139 LESTER RD NW                                                                          RINER             VA   24149‐3565
JEAN HAUSER       7501 CHURCH RD                                                                             SAINT JOHNS       MI   48879‐9235
JEAN HAVINGA      C/O MIKE BECKSVOORT            400 35TH ST                                                 HOLLAND           MI   49423
JEAN HAWKINS      4930 W 1050 S                                                                              AMBOY             IN   46911‐9655
JEAN HAYWARD      PO BOX 25                                                                                  BREEDSVILLE       MI   49027‐0025
JEAN HAYWOOD      1585 N OXFORD RD                                                                           OXFORD            MI   48371‐2533
JEAN HEATER       6719 COUNTRY LN                                                                            BELLEVILLE        MI   48111‐4435
JEAN HEATH        23010 THORNHILL COURT                                                                      DEER PARK         IL   60010‐6708
JEAN HELIAS       124 S VAN RD                                                                               HOLLY             MI   48442‐9476
JEAN HELMLING     40564 BUTTERNUT RIDGE RD                                                                   ELYRIA            OH   44035‐7912
JEAN HELSEL
JEAN HERMAN       PO BOX 7544                                                                                TALLEYVILLE       DE   19803‐0544
JEAN HERWICK      7917 E MAIN ST                                                                             KALAMAZOO         MI   49048‐8521
JEAN HIDDE        5575 N NAVAJO AVE                                                                          MILWAUKEE         WI   53217‐5040
JEAN HIERHOLZER   3015 WELLINGTON DR                                                                         DAYTON            OH   45410‐3135
JEAN HIGGINS      6616 SHILOH WAY                                                                            LANSING           MI   48917‐9612
JEAN HILL         5639 LEETE RD                                                                              LOCKPORT          NY   14094‐1207
JEAN HILLER       29705 VAN LAAN DR                                                                          WARREN            MI   48092‐4254
JEAN HILLIARD     3295 WATKINS LAKE RD APT 109                                                               WATERFORD         MI   48328‐1546
JEAN HINESLEY     3204 E 236TH ST                                                                            CICERO            IN   46034‐9483
JEAN HINKEL       2001 WESLEY AVE APT 106                                                                    JANESVILLE        WI   53545‐2681
JEAN HISER        191 BERKSHIRE LOOP                                                                         CROSSVILLE        TN   38558‐7150
JEAN HODGE        6333 WOODSDALE DR                                                                          GRAND BLANC       MI   48439‐8543
JEAN HODGE        18987 STEEL ST                                                                             DETROIT           MI   48235‐1330
JEAN HOFFMAN      36 S GARFIELD RD                                                                           LINWOOD           MI   48634‐9812
JEAN HOGAN        421 OGDEN PARMA TOWN LINE RD                                                               SPENCERPORT       NY   14559‐1151
JEAN HOGLUND      20750 MAYBURY PARK DR                                                                      NORTHVILLE        MI   48167‐0139
JEAN HOLLIDAY     5130 ABC RD LOT 24                                                                         LAKE WALES        FL   33859
JEAN HOLLIS       PO BOX 430375                                                                              PONTIAC           MI   48343‐0375
JEAN HOLMES       3669 BOSTON AVE SE                                                                         WARREN            OH   44484‐3714
JEAN HOLT         804 NW 15TH ST                                                                             BLUE SPRINGS      MO   64015‐2910
JEAN HOLZ         80 N PORTAGE PATH APT 1B4                                                                  AKRON             OH   44303‐1102
JEAN HOPKINS      160 72ND ST                                                                                NIAGARA FALLS     NY   14304‐4022
JEAN HOVLEY
JEAN HOWARD       2540 MURPHY LAKE RD                                                                        SILVERWOOD        MI   48760‐9509
JEAN HOWARD       17725 MANDERSON RD             APT 103                                                     HIGHLAND PARK     MI   48203‐4016
JEAN HOWE         PO BOX 38369                                                                               SAINT LOUIS       MO   63138‐0369
JEAN HOWEY        9184 RICHFIELD RD                                                                          SAINT HELEN       MI   48656‐9708
JEAN HUARD
JEAN HUDSON       792 WEBBER CT                                                                              LINDEN            MI   48451‐8602
JEAN HUGGINS      10461 EAGLE RD APT A1                                                                      DAVISBURG         MI   48350‐2158
JEAN HULL         1678 SW LEXINGTON DR                                                                       PORT ST LUCIE     FL   34953‐1629
JEAN HUNN         309 LISMORE LN                                                                             COVINGTON         LA   70433‐5135
JEAN HUNT         3851 HUMMER LAKE RD                                                                        ORTONVILLE        MI   48462‐9788
JEAN HURST        1001 E OREGON RD                                                                           LITITZ            PA   17543‐9205
JEAN I LIPPA      11 WOOD RUN COMMONS                                                                        ROCHESTER         NY   14612‐2265
JEAN IRRER        410 S KIESEL ST                                                                            BAY CITY          MI   48706‐4359
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Name                             Address1                         Address2                     Address3                  Address4               City             State Zip
JEAN J DESANGES & FRANCOIS J     ATTN: RAYMOND R REID, JR, ESQ    PAJCIC & PAJCIC, P A         ONE INDEPENDENT DR, SUITE                        JACKSONVILLE      FL 32202
DESANGES, HIS WIFE                                                                             1900
JEAN J DESANGES AND FRANCOIS J   ATTN RAYMOND R REID JR ESQ       C/O PAJCIC AND PAJCIC PA     ONE INDEPENDENT DR STE                           JACKSONVILLE      FL   32202
DESANGES HIS WIFE                                                                              1900
JEAN J DOMINAS                   670 HOWARD RD                                                                                                  ROCHESTER        NY    14624
JEAN J PROTHRO                   PO BOX 179                                                                                                     MANNING          SC    29102
JEAN J SPOHN                     5767 ZENITH NW                                                                                                 PORT ST. LUCIE   FL    34986‐3529
JEAN JACKSON                     9702 AVIATION BLVD                                                                                             MARATHON         FL    33050‐2944
JEAN JACKSON                     1466 KING BENJAMIN COURT                                                                                       SOUTH JORDAN     UT    84095
JEAN JACQUES LAMOUREUX
JEAN JANCOVEK                    16650 LAKE CIR # B                                                                                             BROOKFIELD       WI    53005‐5736
JEAN JANMEY                      1815 STONE MANOR CIR                                                                                           BRUNSWICK        OH    44212‐4829
JEAN JASIEWICZ                   316 BECKMAN DR                                                                                                 MCKEESPORT       PA    15132‐7407
JEAN JEAKLE                      1130 JEFFERSON ST                                                                                              LAPEER           MI    48446‐1316
JEAN JEFFERS                     18526 DOG LEG RD                                                                                               MARYSVILLE       OH    43040‐9273
JEAN JENSEN                      729 N RINGOLD ST                                                                                               JANESVILLE       WI    53545‐2558
JEAN JENSEN                      5603 BAYLOR AVE                                                                                                YOUNGSTOWN       OH    44515‐4105
JEAN JERNIGAN                    24441 MULBERRY DR                                                                                              SOUTHFIELD       MI    48033‐3156
JEAN JOHNSON                     275 ESSJAY RD APT 416                                                                                          BUFFALO          NY    14221‐5747
JEAN JOHNSON                     4217 HILLBORN LANE                                                                                             LANSING          MI    48911‐2155
JEAN JOHNSON                     1510 RANDY CT                                                                                                  FLINT            MI    48505‐2523
JEAN JOHNSON                     815 DALEWOOD PLACE                                                                                             TROTWOOD         OH    45426‐2209
JEAN JOHNSON                     19 E WASHINGTON ST                                                                                             JAMESTOWN        OH    45335‐1620
JEAN JOHNSON                     8591 SANFORD DR                                                                                                WESTLAND         MI    48185‐1568
JEAN JOHNSON                     815 DALEWOOD PL                                                                                                TROTWOOD         OH    45426‐2209
JEAN JOHNSTON                    5793 N CRESTWOOD BLVD                                                                                          MILWAUKEE        WI    53209‐4309
JEAN JONES                       ESSEX CO‐OP APARTMENT            1000 FRANKLIN AVE                                                             ESSEX            MD    21221
JEAN JONES                       25501 TROST BLVD #11‐40                                                                                        BONITA SPRINGS   FL    34135
JEAN JOSEY                       340 ENGLISH RD                                                                                                 WEXFORD          PA    15090‐8526
JEAN JR, LEE A                   PO BOX 382                                                                                                     AUBURN           MI    48611‐0382
JEAN JR., CYRIL R                36331 GRANDON ST                                                                                               LIVONIA          MI    48150‐3401
JEAN JUCHNEWICH                  3855 ESTHER LN                                                                                                 HERMITAGE        PA    16148‐3740
JEAN JUSTICE                     5132 FRANKWILL AVE                                                                                             CLARKSTON        MI    48346‐3718
JEAN JUSTICE                     701 SUTTON DR                                                                                                  GREENWOOD        IN    46143‐8999
JEAN K CHRISTOFF                 3510 CREED ST                                                                                                  HUBBARD          OH    44425‐9768
JEAN K LUKEY TRUST               FBO THE JEAN LUKEY TRUST U/A/D   6854 WATERVIEW WAY                                                            SACRAMENTO       CA    95831
                                 10/5/1994
JEAN K TERBUSH                   1401 E SANILAC RD                                                                                              CARO             MI    48723‐8901
JEAN KABAT                       413 PRAIRIE AVE                                                                                                CALUMET CITY     IL    60409‐2113
JEAN KACMAR                      4100 N RIVER RD NE # 1215                                                                                      WARREN           OH    44484‐1041
JEAN KAISER                      395 WINDSOR RD                                                                                                 ROCHESTER        NY    14612‐4232
JEAN KALISTA                     901 ERNSTON RD                   THE BRIARWOOD NURSING HOME                                                    SOUTH AMBOY      NJ    08879‐2000
JEAN KAMRADA                     8075 112TH ST APT 208                                                                                          SEMINOLE         FL    33772
JEAN KANIZAI                     1723 GANGWAY LOOP                                                                                              RUSKIN           FL    33570‐2751
JEAN KASH                        2118 MELODY DR                                                                                                 FRANKLIN         TN    37067‐4085
JEAN KASK                        199 HAMLIN AVE                                                                                                 EAST AURORA      NY    14052‐1325
JEAN KELLER                      4860 E MAIN ST T ‐ 181                                                                                         MESA             AZ    85205
JEAN KELLEY                      215 JACKSON ST                                                                                                 NILES            MI    49120‐1156
JEAN KELLEY                      500 PEASE DR                                                                                                   NEW CARLISLE     OH    45344‐1345
JEAN KELLEY                      44 COUCHMAN AVE                                                                                                ROCHESTER        NY    14617‐2611
JEAN KELLICK                     2219 HARBORVIEW BLVD                                                                                           LORAIN           OH    44052‐1128
JEAN KENDALL                     3630 BUTTERNUT LN                                                                                              SAGINAW          MI    48604‐9505
JEAN KERBY                       12470 S COUNTY ROAD 700 E                                                                                      GALVESTON        IN    46932‐8719
JEAN KINDER                      2024 BUCKINGHAM CT                                                                                             DEFIANCE         OH    43512‐9074
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Name                 Address1                        Address2                     Address3   Address4                  City             State   Zip
JEAN KING            251 HOYT ST                                                                                       KEARNY            NJ     07032‐3910
JEAN KIRCHER         155 PEAKVIEW DR                                                                                   HENRIETTA         NY     14467‐9008
JEAN KIRKEENG        13326 PICADILLY DR                                                                                STERLING HTS      MI     48312‐1517
JEAN KITTLE          3264 DURST CLAGG RD NE                                                                            WARREN            OH     44481‐9325
JEAN KLINGERMAN      26850 SOUTH BAY DRIVE           APT 317                                                           BONITA SPRINGS    FL     34134
JEAN KNIGHT          10079 SPRINGFIELD CIR                                                                             DAVISBURG         MI     48350‐1190
JEAN KNOX            5549 RIVA RIDGE DR                                                                                INDIANAPOLIS      IN     46237‐2191
JEAN KOENIGSKNECHT   10831 E 3RD ST                  P O BOX 163                                                       FOWLER            MI     48835‐5138
JEAN KOLODGIE        PO BOX 1403                                                                                       BRIGHTON          MI     48116‐7903
JEAN KOSINSKI        3028 BAMBOO CT                                                                                    PUNTA GORDA       FL     33950‐8652
JEAN KOTTKE          15657 OPORTO ST                                                                                   LIVONIA           MI     48154‐6227
JEAN KOVACS          14511 DADE PINE AVE                                                                               MIAMI LAKES       FL     33014‐2623
JEAN KRAFT           1080 SMITH RD                                                                                     EAST AMHERST      NY     14051‐1112
JEAN KREV            4221 WISCONSIN AVE              OF WILBUR W KREV                                                  STICKNEY           IL    60402‐4249
JEAN KRUEGER         3835 WHEELER RD                                                                                   SNOVER            MI     48472‐9318
JEAN KRUPA           5814 GREENWOOD CIRCLE                                                                             NAPLES            FL     34112‐8302
JEAN KRUPP           9416 PEET RD                                                                                      CHESANING         MI     48616‐9758
JEAN KSIAZEK         31441 BEECHWOOD DR                                                                                WARREN            MI     48088‐2083
JEAN KUSCHEL         1918 ROOSEVELT AVE                                                                                JANESVILLE        WI     53546‐5971
JEAN L BARTEK        1832 N. DUCK‐CREEK RD.                                                                            N. JACKSON        OH     44451‐9613
JEAN L CHRISTY       309 W. LAWNDALE AVE                                                                               LEBANON           OH     45036‐1333
JEAN L HALL          7300 PORCHER AVE                APT 3                                                             MYRTLE BEACH      SC     29572‐3865
JEAN L HARGRAVES     123 LA GARDINIA                                                                                   EDGEWATER         FL     32141
JEAN L HARTNETT      #129 BLDG 7                     6610 GASPARILLA PINES BLVD                                        ENGLEWOOD         FL     34224
JEAN L KOSINSKI      3028 BAMBOO CT                                                                                    PUNTA GORDA       FL     33950‐8652
JEAN L MEEK          442 ISAAC ST.                                                                                     NILES             OH     44446‐3440
JEAN L ROBINETTE     9935 JOAN CIR                                                                                     YPSILANTI         MI     48197‐6904
JEAN L WILLIAMS      1461 TRIPODI CIRCLE                                                                               NILES             OH     44446‐3564
JEAN LA VALLEY       4966 E DOVER RD                                                                                   CLARE             MI     48617‐9441
JEAN LACOSTE         15825 VILLA DR                                                                                    HUDSON            FL     34667‐4010
JEAN LANE            PO BOX 8                                                                                          MT STERLING       OH     43143‐0008
JEAN LAPADURA        46 PRINCESS ST                                                          FORT ERIE ON L2A1V9
                                                                                             CANADA
JEAN LARKIN          210 TURNER LN APT D1                                                                              HEMLOCK          MI      48626‐9718
JEAN LAW             325 S GRANT ST                                                                                    WESTMONT         IL      60559‐1911
JEAN LAWRENCE        489 W MAIN ST LOT 2                                                                               PLAIN CITY       OH      43064‐1089
JEAN LAWSON          132 N TELEGRAPH RD                                                                                PONTIAC          MI      48341‐1168
JEAN LEACH           5911 AUTOMOBILE RD                                                                                TWIN LAKE        MI      49457‐9576
JEAN LECLAIR         1417 N VIENNA RD                                                                                  CLIO             MI      48420‐1732
JEAN LEE             341 W INDIANOLA AVE                                                                               YOUNGSTOWN       OH      44511‐2452
JEAN LEES            21104 W CYPRESS CT                                                                                PLAINFIELD       IL      60544‐6333
JEAN LEMANSKI        22237 LONG BLVD                                                                                   DEARBORN         MI      48124‐1146
JEAN LENK            57 BARBARA PL                                                                                     CHEEKTOWAGA      NY      14225‐2830
JEAN LESPERANCE      3705 S 68TH ST                                                                                    MILWAUKEE        WI      53220‐1828
JEAN LETURGEY        8408 FOREST RD                                                                                    GASPORT          NY      14067‐9213
JEAN LEWANDOWSKI     400 FERN BROOK LN                                                                                 MOUNT LAUREL     NJ      08054‐9542
JEAN LEWIS           405 N ROGERS ST                                                                                   POOLER           GA      31322‐2012
JEAN LEWIS           1238 SHRINE RD                                                                                    SPRINGFIELD      OH      45504‐3942
JEAN LEWIS           2800 WHITE OAK DR                                                                                 DAYTON           OH      45420‐2250
JEAN LIGHT           5979 GLEN EAGLE TRL                                                                               HUDSONVILLE      MI      49426‐8764
JEAN LIGHT           309 JACKSON AVE                                                                                   MANVILLE         NJ      08835‐2029
JEAN LIGHTFOOT
JEAN LIGONDE         904 BROOK HOLLOW PL                                                                               JACKSONVILLE      FL     32259‐4322
JEAN LIMBAUGH        505 49TH AVENUE DR E                                                                              BRADENTON         FL     34203‐4564
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Name                           Address1                         Address2                      Address3                    Address4                  City               State   Zip
JEAN LIPPA                     11 WOOD RUN COMMONS                                                                                                  ROCHESTER           NY     14612‐2265
JEAN LISUM                     25 W 9TH ST                                                                                                          NEWTON FALLS        OH     44444‐1553
JEAN LIVINGSTON                5893 MARBLE DR                                                                                                       TROY                MI     48085‐3920
JEAN LOCKHART                  12946 GREENVIEW RD               C/O DONNA LOCKHART WILLIAMS                                                         DETROIT             MI     48223‐3510
JEAN LONGACRE                  410 HOLMES LN                                                                                                        FOSTORIA            OH     44830‐1614
JEAN LONGMORE                  PO BOX 765                                                                                                           SWANSEA             SC     29160‐0765
JEAN LOSBY                     7402 LAKE BREEZE DRIVE           APT 316‐ BUILDING 22                                                                FORT MYERS          FL     33907
JEAN LOUIS MARTENS             SG PRIVATE BANKING               ATTN ANN GELAUDE              KORTRIJKSESTEENWEG 302      B‐9000 GENT BELGIUM
JEAN LOVE                      638 LAMAR DR                                                                                                         MILTON             WI      53563‐1024
JEAN LUBONSKI                  13129 MONTEGO DR                                                                                                     STERLING HTS       MI      48312‐3269
JEAN LUKASIAK                  2350 ADOBE RD LOT 68                                                                                                 BULLHEAD CITY      AZ      86442‐4440
JEAN LUNDQUIST                 624 SOUTH GRAND TRAVERSE                                                                                             FLINT              MI      48502
JEAN LYONS                     7823 HAROLD RD                                                                                                       BALTIMORE          MD      21222‐3302
JEAN M AMORT                   200 ROYAL GRANT WAY                                                                                                  DOVER              DE      19901‐6112
JEAN M ANTHONY                 97 DUPONT AVE                                                                                                        TONAWANDA          NY      14150‐7814
JEAN M CLARKE                  125 FLORIDA RD S                                                                                                     SYRACUSE           NY      13211‐1812
JEAN M COZZI                   1812 HYDE SHAFFER RD                                                                                                 BRISTOLVILLE       OH      44402‐9708
JEAN M GOFF REV LIVING TRUST   JEAN M GOFF                      3600 HANOVER RD                                                                     LOUISVILLE         KY      40207
JEAN M HOGAN                   421 OGDEN PARMA TL RD                                                                                                SPENCERPORT        NY      14559‐1151
JEAN M HOMAN                   ROBERT P HOLMAN                  JEAN M HOMAN                  W5692 COUNTY RD P                                     MONROE             WI      53566
JEAN M LANEY                   180 BEN HORTON DRIVE                                                                                                 MCDONOUGH          GA      30253
JEAN M MCENERY                 9601 BAYVIEW DR APT 202                                                                                              YPSILANTI          MI      48197‐7033
JEAN M PORT                    8178 DUOMO CIR                                                                                                       BOYNTON BEACH      FL      33437
JEAN M PROFANCHIK              326 W STATE ST                                                                                                       NILES              OH      44446
JEAN M ROGENSKI                1993 COUNTY LINE RD                                                                                                  MINERAL RIDGE      OH      44440‐‐ 95
JEAN M SALWAY                  7314 RIDGE RD. N.E.                                                                                                  CORTLAND           OH      44410‐8608
JEAN M SCHMIEDER               3313 S STATE RD                                                                                                      DAVISON            MI      48423‐8751
JEAN M SEBBEN                  2839 WOODLAND ST NE                                                                                                  WARREN             OH      44483‐4419
JEAN M SHARRAH                 13531 CLAIRMONT WAY              #131                                                                                OREGON CITY        OR      97045‐4255
JEAN M SNEERINGER              4458 ARBOR DR                                                                                                        OKEMOS             MI      48864
JEAN M STEARNS                 929 VILLA GRANDE WAY                                                                                                 BOULDER CITY       NV      89005‐1262
JEAN M VOUGHT                  5503 18TH WAY SOUTH APT. #D                                                                                          ST. PITTURSBURGH   FL      33712
JEAN MAC ARTHUR                9325 VIENNA RD                                                                                                       OTISVILLE          MI      48463‐9613
JEAN MACKIEWICZ                2816 TIMBER CREEK DR N                                                                                               CORTLAND           OH      44410‐1783
JEAN MADDOX                    29901 WOODHAVEN LN                                                                                                   SOUTHFIELD         MI      48076‐5285
JEAN MAKSIMOWICZ               2080 BOCK RD                                                                                                         SAGINAW            MI      48603‐3831
JEAN MANNING                   5060 ROCKAWAY LN                                                                                                     CLARKSTON          MI      48348‐5043
JEAN MAQUIGNAZ                 PO BOX 9022                      C/O GM KOREA                                                                        WARREN             MI      48090‐9022
JEAN MARC FLUET                MOTLEY RICE LLC                  28 BRIDGESIDE BLVD            PO BOX 1792                                           MT PLEASANT        SC      29465
JEAN MARIE ANGELL              ATTN ROBERT W PHILLIPS           SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD PO BOX                             EAST ALTON         IL      62024
                                                                ANGELIDES & BARNERD LLC       521
JEAN MARIE CECCALDI            44 RUE GINOUX                                                                              F 75015 PARIS FRANCE
JEAN MARIE MATHIS TRUST        JEAN MARIE MATHIS                10096 STATE ROUTE 945                                                               BOAZ                KY     42027
JEAN MARINO                    2875 HARTLINE DR                                                                                                     ROCHESTER HILLS     MI     48309‐4314
JEAN MARK                      6336 N SEYMOUR RD                                                                                                    FLUSHING            MI     48433‐1086
JEAN MARKEY                    9024 STOURBRIDGE DR                                                                                                  HUNTERSVILLE        NC     28078‐9791
JEAN MAROLDT                   68, RUE MICHEL‐ANGE                                                                        PARIS 75016 FRANCE
JEAN MARTELL                   145 APPLEWOOD CT                                                                                                     DAVISON            MI      48423‐9137
JEAN MARTHAGE                  355 N PARK DR APT 213                                                                                                ROCHESTER          NY      14609‐1021
JEAN MARTIN                    15 BERGERON ST                                                                                                       SEEKONK            MA      02771‐4201
JEAN MARTIN                    10390 MORNING SUN RD                                                                                                 COLLEGE CORNER     OH      45003‐9276
JEAN MARTIN                    3110 PEACHTREE ST                                                                                                    JANESVILLE         WI      53548‐3243
JEAN MARTIN                    492 LAKES CT                                                                                                         WESTMINSTER        MD      21158‐4197
JEAN MAYER                     06217 MILES RD                                                                                                       EAST JORDAN        MI      49727
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Name                Address1                          Address2            Address3         Address4                 City               State   Zip
JEAN MAZUR          11138 ARMSTRONG DR N              EDGEWOOD VILLAGE                                              SAGINAW             MI     48609‐9466
JEAN MAZZA          574 PASSAIC AVE                                                                                 KEARNY              NJ     07032‐1304
JEAN MC ALLISTER    4255 W VIKING RD                  APT 630                                                       LAS VEGAS           NV     89103‐5910
JEAN MC CALDEN      67 MEADOW WOOD DR                                                                               ROCHESTER HILLS     MI     48307‐3087
JEAN MC DOWELL      16400 N PARK DR APT 718                                                                         SOUTHFIELD          MI     48075‐4727
JEAN MC GILL        13703 RING RD                                                                                   SAINT CHARLES       MI     48655‐8502
JEAN MC MORRIS      10775 BYRON RD                                                                                  BYRON               MI     48418‐9124
JEAN MC RAVEN       1100 CHARLES LN                                                                                 UNIONTOWN           PA     15401‐6637
JEAN MCARTHUR       4329 BRIGHTON DR                                                                                GRAND BLANC         MI     48439‐8086
JEAN MCATEER        5457 FROLONA RD                                                                                 FRANKLIN            GA     30217‐4632
JEAN MCCLUNG        9580 W HOWE RD                                                                                  EAGLE               MI     48822‐9501
JEAN MCCOMBS        1821 CRANBERRY LN NE A 246                                                                      WARREN              OH     44483
JEAN MCCOMBS        PO BOX 44                                                                                       WAYNESBURG          OH     44688‐0044
JEAN MCELROY        89 CROOKED TREE LN APT 106                                                                      VERO BEACH          FL     32962‐3024
JEAN MCGREEVY       1100 PERSIMMON DR                                                                               PALM HARBOR         FL     34683‐5525
JEAN MCKIM          521 GALLOWAY DR APT 125                                                                         MANCHESTER          MI     48158‐8674
JEAN MEEK           442 ISAAC AVE                                                                                   NILES               OH     44446‐3440
JEAN MEES           1219 E PERKINS AVE APT K5                                                                       SANDUSKY            OH     44870‐5039
JEAN MERRELLI       43707 HAYES RD APT 77                                                                           STERLING HEIGHTS    MI     48313‐2274
JEAN MERVYN         31 MOCKINGBIRD DR                                                                               LAKE ORION          MI     48359‐1845
JEAN MESSER         5165 NE TORCHWOOD DR              LOT 73                                                        PLAIN CITY          OH     43064
JEAN MIASEK         58 FAIRMOUNT AVE                                                                                NORTH ARLINGTON     NJ     07031‐6137

JEAN MICHAEL        8777 BIG STONE LAKE RD                                                                          EVART               MI     49631‐7708
JEAN MICHEL DONIN   RUE SAINT MARTIN 71                                                    6120 HAM SUR HEURE
                                                                                           BELGIUM
JEAN MIKLEWICZ      4 DARRYL DR                                                                                     MORGANVILLE        NJ      07751‐9720
JEAN MILAVEC        206 MACE AVE                                                                                    BALTIMORE          MD      21221‐6622
JEAN MILDES         17679 W ARCADIA DR                PO BOX 8356                                                   SURPRISE           AZ      85374
JEAN MILDES         17679 W ARCADIA DR                PO BOX 9356                                                   SURPRISE           AZ      85374
JEAN MILLER         49571 ASH CT                                                                                    PLYMOUTH           MI      48170‐6380
JEAN MILLER         641 LOCUST ST                                                                                   LOCKPORT           NY      14094‐5920
JEAN MILLER         819 S BALL ST                                                                                   OWOSSO             MI      48867‐4402
JEAN MILLER         30245 W 13 MILE RD APT 264                                                                      FARMINGTON HILLS   MI      48334

JEAN MILLIGAN       2266 SALT SPRINGS RD                                                                            MC DONALD          OH      44437‐1114
JEAN MILLS          630 SAGINAW ST                                                                                  VASSAR             MI      48768‐1133
JEAN MINNIE         1602 NEW YORK AVE                                                                               FLINT              MI      48506‐3331
JEAN MOESSNER       6240 ARDIS DRIVE                                                                                WINNEMUCCA         NV      89445‐4743
JEAN MOON           3420 MELODY LN W                                                                                KOKOMO             IN      46902‐3946
JEAN MOORE          5503 E STATE ROUTE 73                                                                           WAYNESVILLE        OH      45068‐9578
JEAN MOORE          741 BELL RD                                                                                     OTTO               NC      28763‐7001
JEAN MOORE          12309 N DOUGLAS BLVD                                                                            JONES              OK      73049‐3439
JEAN MOORE          1119 PERSHING ST                                                                                BAKERSFIELD        CA      93304‐1638
JEAN MORAN          7550 SEVILLE AVE                                                                                NEW PORT RICHEY    FL      34653‐4161
JEAN MORLEY         18331 AUDETTE ST                                                                                DEARBORN           MI      48124‐4220
JEAN MORRISON       13540 CAPERNALL RD                                                                              CARLETON           MI      48117‐9591
JEAN MURPHY         46550 DOGWOOD CIR                                                                               NEW WATERFORD      OH      44445‐9607
JEAN MURPHY         92 BAY AVE                                                                                      ATLANTIC           NJ      07716‐1051
                                                                                                                    HIGHLANDS
JEAN MYATT          PO BOX 380                                                                                      LINDEN              MI     48451‐0380
JEAN MYERS          700 VOLZ CT                                                                                     SEBEWAING           MI     48759‐1626
JEAN NADRATOWSKI    1013 ARLINGTON ST                                                                               INKSTER             MI     48141‐1845
JEAN NEFFKE         5212 SUBBERA RD                                                                                 LOCKPORT            NY     14094‐9636
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Name                             Address1                         Address2                      Address3   Address4                 City             State   Zip
JEAN NELSON                      2436 KAREN DR                                                                                      HOWELL            MI     48855‐8777
JEAN NELSON                      739 N CHANNEL DR                                                                                   HARSENS ISLAND    MI     48028‐9510
JEAN NICHOLSON                   519 S MAXINE MNR                                                                                   BROWNSBURG        IN     46112‐1534
JEAN NOBLE                       1420 MULBERRY ST                                                                                   PIQUA             OH     45356‐2855
JEAN NOE                         2501 BAXTER RD                                                                                     KOKOMO            IN     46902‐2761
JEAN NOEL, RUSSELL
JEAN NOEL, RUTH
JEAN NOEL, ST LUC,               LUBELL & ROSEN                   18250 NW 2ND AVENUE ‐ 2ND                                         MIAMI            FL      33169
JEAN NOGA                        9404 SNOW RD                                                                                       PARMA            OH      44130‐2127
JEAN NORTON                      16100 SE 89TH ST                                                                                   CHOCTAW          OK      73020‐3938
JEAN O MEALIA                    214 LONGVIEW AVE                                                                                   HASBROUCK        NJ      07604‐2313
                                                                                                                                    HEIGHTS
JEAN OGLESBY                     4032 N MAIN ST                   BROOKVIEW PL                                                      DAYTON           OH      45405
JEAN OHSE                        968 S DANTE DR                                                                                     PUEBLO WEST      CO      81007‐3035
JEAN OLSEN                       104 N RAUM ST                                                                                      LAWSON           MO      64062‐9389
JEAN OSTANEK                     2250 GREEN RIDGE DR                                                                                WICKLIFFE        OH      44092‐2013
JEAN OVERHOLSER                  207 PEPPERMINT LN APT 4                                                                            NAPLES           FL      34112‐5118
JEAN P PAPPAS                    2838 MONTGOMERY AVENUE NW                                                                          WARREN           OH      44485‐1430
JEAN PAHL                        514 DIXON SCHOOL RD # 2          C/O JENNIFER J CHANDLER                                           KINGS MOUNTAIN   NC      28086‐8206
JEAN PAOLELLA                    54161 CAMBRIDGE DR                                                                                 SHELBY TWP       MI      48315‐1669
JEAN PAOLINELLI                  1106 KELLY DR                                                                                      NEWARK           DE      19711‐2423
JEAN PAPPAS                      2838 MONTGOMERY AVE NW                                                                             WARREN           OH      44485‐1430
JEAN PARKER                      6572 NORTHVIEW DR                                                                                  CLARKSTON        MI      48346‐1528
JEAN PARKER                      PO BOX 2395                                                                                        DETROIT          MI      48202‐0395
JEAN PARMETER                    323 GENESEE ST                                                                                     ONEIDA           NY      13421
JEAN PARSONS                     7310 WEST MUSTANG DRIVE                                                                            ELLETTSVILLE     IN      47429‐1277
JEAN PATALSKI                    527 OGDEN AVE                                                                                      PITTSBURGH       PA      15221‐4351
JEAN PATRICK                     400 NORTH DR                                                                                       ROCHESTER        NY      14612‐1210
JEAN PATRICK                     BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS       OH      44236
JEAN PAUL H (629564)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA      23510
                                                                  STREET, SUITE 600
JEAN PAUL NARDECCHIA STAROWICZ   63 RUE DE LA GARE                                                         L 4571 OBERKORN
MARIANNE LOUISE                                                                                            LUXEMBOURG (EUROPE)
JEAN PAURIS                      5924 N MAROON WAY                                                                                  BEVERLY HILLS    FL      34465‐2470
JEAN PERKINS                     6512 TRACE DR                                                                                      JACKSON          MS      39213‐2307
JEAN PESTER                      13411 POCONO CT                                                                                    HERNDON          VA      20170‐4045
JEAN PETERMAN                    332 43RD ST SE                                                                                     KENTWOOD         MI      49548‐3358
JEAN PETERS                      11452 SW SHROPE CT                                                                                 TIGARD           OR      97223‐4071
JEAN PETTIGREW                   4612 REED DR                                                                                       ANDERSON         IN      46013‐1330
JEAN PETTINEO                    38188 HURON POINTE DR                                                                              HARRISON         MI      48045‐2833
                                                                                                                                    TOWNSHIP
JEAN PHILIPPE SCHEIBER           OTTO‐WELS‐STR.62                                                          D‐26133 OLDENBURG        .                        .
                                                                                                           GERMANY
JEAN PHIPPS                      4399 WICKFIELD DR                                                                                  FLINT             MI     48507‐3756
JEAN PICKENS                     404 CAMELOT DR                                                                                     COLLINSVILLE      IL     62234‐4715
JEAN PIERCE                      1217 HUNTINGTON DR                                                                                 OWOSSO            MI     48867‐1911
JEAN PIERCE                      APT 163                          2460 GLEBE STREET                                                 CARMEL            IN     46032‐7160
JEAN PIERCE                      11282 MAIN RD                                                                                      FENTON            MI     48430‐9717
JEAN PIERRE                      9143 219TH ST                                                                                      QUEENS VILLAGE    NY     11428‐1342
JEAN PIERRE ALBERT BONIFAS       20 AVENUE PASTEUR                                                         L‐2310 LUXEMBOURG
JEAN PIERRE BECKERS              WAVERSEBAAN 243                                                                                    HEVERLEE                 3001
JEAN PIERRE DAURY                RUE DES PAIREES, 56
JEAN PIERRE DAURY                56, RUE DES PAIREES
JEAN PIERRE DAURY                56 RUE DES PAIREES                                                        BELGIUM
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Name                 Address1                        Address2                       Address3   Address4                 City            State   Zip
JEAN PLUCKNETTE      23 CORAN CIR                                                                                       ROCHESTER        NY     14616‐3449
JEAN POLLIE          13982 ADELINE DR                                                                                   LANSING          MI     48906‐9397
JEAN PORTER          1446 SEYMOUR AVE NW                                                                                GRAND RAPIDS     MI     49504‐2607
JEAN PORTLOCK        PO BOX 8222                                                                                        FLINT            MI     48501‐8222
JEAN POTOCKI         129 GREYSTONE AVE                                                                                  BRISTOL          CT     06010‐7233
JEAN POUCHER         25 NORTH ST                                                                                        WOLCOTT          CT     06716‐1317
JEAN POWELL          27277 SAN MARINO DR                                                                                PUNTA GORDA      FL     33983‐3154
JEAN POWERS          75 MAPLE AVE APT 9                                                                                 UNIONVILLE       CT     06085
JEAN PREFONTAINE     1836 CROTON DR                                                                                     NEWAYGO          MI     49337‐8352
JEAN PRESLEY         5314 TILMANN LN                                                                                    WEIDMAN          MI     48893‐8202
JEAN PRESNELL        3175 DARLINGTON OAK DR                                                                             DORAVILLE        GA     30340‐1308
JEAN PRESTON         41645 KENILWORTH LN                                                                                NOVI             MI     48377‐1597
JEAN PRICE           18 CHATHAM CT                                                                                      BERLIN           MD     21811‐3348
JEAN PRICE           1545 LOCUST ST                                                                                     DENVER           CO     80220‐1627
JEAN PROUTY          1844 NOTTINGHAM CT                                                                                 MANSFIELD        OH     44904‐1796
JEAN PULASKI         590 AVENUE E                                                                                       BAYONNE          NJ     07002‐4847
JEAN PUSKAR          618 HOMESTEAD AVE                                                                                  PEEKSKILL        NY     10566‐5410
JEAN QUEEN           2589 LEMONDS RD                                                                                    SOCIAL CIRCLE    GA     30025‐3108
JEAN QUESNEL         56 BASCOM ST
JEAN QUICK           8276 SOUTHWIND BAY CIR                                                                             FORT MYERS       FL     33908‐6028
JEAN QUOILIN         AVENUE E. CAMBIER, 39 BOX 11                                              B1160 BRUSSELS BELGIUM
JEAN R COGAR         RT 2 BOX 375                                                                                       SUMMERSVILLE    WV      26651‐9615
JEAN R EMBRY         4449 BROADBUSH DR                                                                                  TROTWOOD        OH      45426‐1905
JEAN R PADGETT       208 GOLF CLUB DR                                                                                   NEW SMYRNA      FL      32168
                                                                                                                        BEACH
JEAN R PREFONTAINE   1836 CROTON DR                                                                                     NEWAYGO         MI      49337‐8352
JEAN RACZKA          10500 CAMBRIDGE COURT                                                                              GREAT FALLS     VA      22066‐4215
JEAN RADOWICK        8501 HUNTERS TRACE LN                                                                              PLANO           TX      75024‐7706
JEAN RAINEY          3507 EVAN BROOKE DR SOUTHWEST                                                                      GRANDVILLE      MI      49418‐9274
JEAN RANSHAW         G4233 W COURT ST APT 2                                                                             FLINT           MI      48532
JEAN RATLIFF         2675 LONE OAK DR                                                                                   ANN ARBOR       MI      48103‐9266
JEAN RAUCH           8881 S COUNTRY DR APT 103                                                                          OAK CREEK       WI      53154‐3887
JEAN RAYNIAK         13278 COMMON RD                                                                                    WARREN          MI      48088‐6802
JEAN REASEY          26070 CRYSTAL AVE                                                                                  WARREN          MI      48091‐1140
JEAN REDMOND         6042 4TH AVE                                                                                       LOS ANGELES     CA      90043‐4208
JEAN REED            3905 BIPPLEY RD                                                                                    SUNFIELD        MI      48890‐9721
JEAN REESE           APT 1411                        42951 NORTHVILLE PLACE DRIVE                                       NORTHVILLE      MI      48167‐2920
JEAN REICHENBACH     200 MEADOW LAKE DR APT 407                                                                         MOORESVILLE     IN      46158‐1838
JEAN REIMER          6978 B SY RD                                                                                       NIAGARA FALLS   NY      14304
JEAN REMY            1360 N STEWART RD                                                                                  MANSFIELD       OH      44903‐9786
JEAN REYES           1039 CHERRY HILL LANE                                                                              WEBSTER         NY      14580‐1809
JEAN RIBOUX          RUE DE NOECHAMPS BIESME 32                                                BE‐5640 METTET BELGIUM
JEAN RICE            143 MONARCH DR                                                                                     AMHERST         NY      14226‐1517
JEAN RICHARDS        127 SAINT ANDREWS                                                                                  CORTLAND        OH      44410‐8721
JEAN RICHEY          801 TURNBULL ST                                                                                    NEW SMYRNA      FL      32168‐6458
                                                                                                                        BEACH
JEAN RINGER          27705 DENOON RD                                                                                    WATERFORD       WI      53185‐1338
JEAN RIVERS          14190 ARNOLD                                                                                       REDFORD         MI      48239‐2819
JEAN RIZZUTO         1005 N FRANKLIN ST APT 210                                                                         WILMINGTON      DE      19806
JEAN ROBERSON        1523 BOSHER DR                                                                                     CEDAR HILL      TX      75104‐1302
JEAN ROBERTS         2307 SOWELL MILL PIKE                                                                              COLUMBIA        TN      38401‐8028
JEAN RODERER         726 LITTLE JOHN CT                                                                                 MIAMISBURG      OH      45342‐2723
JEAN RODGERS         6763 N BARIVISTA DR                                                                                VERONA          PA      15147‐1930
JEAN ROGENSKI        1993 E COUNTY LINE RD                                                                              MINERAL RIDGE   OH      44440‐9555
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JEAN ROGERS                 67 CHESTNUT WAY CIR                                                                               BARNEGAT            NJ     08005‐2001
JEAN ROGERS                 4077 STATE ST BOX 24                                                                              BRIDGEPORT          MI     48722
JEAN ROGOSZWESKI            7636 BRADENTON ST                                                                                 BRIDGEPORT          MI     48722‐9756
JEAN ROHRBACHER             1022 PERRY ST                                                                                     SANDUSKY            OH     44870‐3723
JEAN ROLL                   5950 S MORRICE RD                                                                                 PERRY               MI     48872‐9306
JEAN ROMES                  1040 S PERRY ST APT 3              BAVARIAN VILLAGE                                               NAPOLEON            OH     43545‐2115
JEAN ROONEY                 1862 HOPKINS DR                                                                                   WIXOM               MI     48393‐1233
JEAN ROSE                   32589 WOODVALE                                                                                    FARMINGTON HILLS    MI     48334‐4322

JEAN ROSENBECK              362 GREEN ST                                                                                      LOCKPORT           NY      14094‐2014
JEAN ROSS                   PO BOX 184                                                                                        ALVORDTON          OH      43501‐0184
JEAN ROSS                   BL.80A, ET6, AP.41, BLD. MARESAL   ALEXANDRU AVERESCU NR.12              BUCHAREST 80000
                                                               SECTOR 1
JEAN ROUSE                  100 DEKFUIF PL APT 28 G                                                                           BRONX              NY      10475
JEAN RUFFINO                2519 JUNIPER DR                                                                                   EDGEWATER          FL      32141‐5011
JEAN RUTHERFORD             11326 W 550 N                                                                                     FLORA              IN      46929‐9565
JEAN RYAN                   PO BOX 208                                                                                        OXFORD             NY      13830‐0208
JEAN RYAN                   100 LONGFELLOW CT                                                                                 TONAWANDA          NY      14150‐8017
JEAN RYKERT                 89 BERING AVE                                                                                     BUFFALO            NY      14223‐2001
JEAN S STEPHENS FAMILY TR   JEAN S STEPHENS                    1500 HIGHLAND COVE C‐8                                         SALT LAKE CITY     UT      84106
JEAN S WARE                 3061 TOD AVE. N.W.                                                                                WARREN             OH      44485‐1354
JEAN S WINLAND              5501 BELLEFONTAINE                                                                                DAYTON             OH      45424‐4132
JEAN SAFE                   82 FORT COVINGTON ST APT 2                                                                        MALONE             NY      12953
JEAN SALKO                  406 PENN RD W                                                                                     LEHIGH ACRES       FL      33936‐6255
JEAN SALWAY                 7314 RIDGE RD                                                                                     CORTLAND           OH      44410‐8608
JEAN SANDERS                108 ROBINSON DR                                                                                   NEW CASTLE         DE      19720‐1824
JEAN SANDY                  79 RENOUF DR                                                                                      ROCHESTER          NY      14624‐2921
JEAN SARGENT                2700 EATON RAPIDS RD               # 222 STONEGATE                                                LANSING            MI      48911
JEAN SAUM                   4631 HIGHWAY 30 W                                                                                 JACKSON            KY      41339‐7879
JEAN SAYERS                 3 CERES DR                                                                                        VIENNA             OH      44473‐9762
JEAN SCHEURER               1007 DELWOOD DRIVE APT 3                                                                          MANSFIELD          OH      44905
JEAN SCHEURER               1007 DELWOOD DR                    APT 3                                                          MANSFIELD          OH      44905
JEAN SCHIELKE               3079 OAK GROVE RD                                                                                 HOWELL             MI      48855‐9379
JEAN SCHLEICHER             830 E HOWARD AVE.                                                                                 MYRTLE BEACH       SC      29577
JEAN SCHLICKER              11588 CLUBMOSS DR                                                                                 FREELAND           MI      48623‐8420
JEAN SCHMIDT                4390 S 116TH ST                                                                                   GREENFIELD         WI      53228‐2573
JEAN SCHMIEDER              3313 S STATE RD                                                                                   DAVISON            MI      48423‐8751
JEAN SCHREIBER              327 HORNEL ST                                                                                     BALTIMORE          MD      21224‐2806
JEAN SCHWEITZER             2148 DENBY DR                                                                                     WATERFORD          MI      48329‐3803
JEAN SCOTT                  516 E JEFFERSON ST                                                                                KOKOMO             IN      46901‐4724
JEAN SCRIPTER               307 SCIOTA ST                                                                                     LAINGSBURG         MI      48848‐9735
JEAN SEAMAN                 100 PUTNAM ST                                                                                     BRISTOL            CT      06010‐4989
JEAN SEAVER                 10068 LAKEWOOD DR                                                                                 SAGINAW            MI      48609‐9702
JEAN SECKEL                 5020 S MILL RD                                                                                    DRYDEN             MI      48428‐9338
JEAN SEDAR                  157 LAUREL HEIGHTS RD                                                                             LANDENBERG         PA      19350‐9306
JEAN SEFL                   5727 BAVARIA AVE                                                                                  PARMA              OH      44129‐2835
JEAN SENTZ                  4803 S HUBBARD ST                                                                                 WAYNE              MI      48184‐2515
JEAN SHAFER                 3053 CLARICE ST                                                                                   BURTON             MI      48529‐1076
JEAN SHAFFER                32517 NW EAGLE CREST DR                                                                           RIDGEFIELD         WA      98642‐9157
JEAN SHANNON                14 METTEN RD                                                                                      NEWARK             DE      19713‐1563
JEAN SHERIDAN               3 SALISBURY COURT                                                                                 PALM COAST         FL      32137‐8884
JEAN SHERWOOD               2205 CHASE POINT CT                                                                               FLUSHING           MI      48433‐2283
JEAN SHINE                  2201 WAVERLY DR                                                                                   KOKOMO             IN      46902‐7809
JEAN SHOFFNER               121 WINTERDALE DR                                                                                 LAKE ALFRED        FL      33850‐9447
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Name               Address1                       Address2                      Address3   Address4               City              State   Zip
JEAN SHOFNER       8545 CONGRESS ST APT 3                                                                         PORT RICHEY        FL     34668‐5411
JEAN SHOMPER       1007 OREMS RD                                                                                  BALTIMORE          MD     21220‐4622
JEAN SHOPTAW       200 W YALE AVE                                                                                 PONTIAC            MI     48340‐1866
JEAN SHURLOW       5279 GLENFIELD DR                                                                              SAGINAW            MI     48638‐5426
JEAN SHURYAN       35200 SIMS ST APT 610                                                                          WAYNE              MI     48184‐1290
JEAN SIENKIEWICZ   405 MAPLE RIDGE RD                                                                             BRASHER FALLS      NY     13613‐3266
JEAN SIMCOCK       1599 6TH ST                                                                                    EWING              NJ     08638‐3001
JEAN SIMMONS       85 MANHART ST                                                                                  BUFFALO            NY     14215‐3224
JEAN SIMON         2844 APACHE PASS                                                                               WAUKESHA           WI     53188‐5400
JEAN SIRCEY        42743 RIGGS RD                                                                                 BELLEVILLE         MI     48111‐3037
JEAN SISK          1921 ORCHARD BLVD                                                                              ALTON               IL    62002‐4837
JEAN SISSON        27128 ELIAS AVE                                                                                SAUGUS             CA     91350‐2131
JEAN SITZES        1667 S ELIZABETH ST                                                                            KOKOMO             IN     46902‐2457
JEAN SKRINE        7328 ARBOR TRL APT 101                                                                         WATERFORD          MI     48327‐4500
JEAN SLAUGHTER     16920 CEDARCROFT PL                                                                            SOUTHFIELD         MI     48076‐4710
JEAN SMARTT        2466 N SMITH ST                                                                                SANFORD            MI     48657‐9480
JEAN SMITH         3361 W WALTON BLVD                                                                             WATERFORD          MI     48329‐4373
JEAN SMITH         5724 CLINTON RIVER DR                                                                          WATERFORD          MI     48327‐2527
JEAN SMITH         PO BOX 313                                                                                     RICE               TX     75155‐0313
JEAN SMITH         560 COHASSET DR                                                                                YOUNGSTOWN         OH     44511‐1551
JEAN SMITH         1250 WINELEAF LN                                                                               DEWITT             MI     48820‐7797
JEAN SMITH         2026 SETON DR                                                                                  CLEARWATER         FL     33763‐4149
JEAN SMITH         12 GLENBOURNE CT                                                                               WILLIAMSVILLE      NY     14221‐3205
JEAN SMITH         818 SALT SPRINGS RD APT 216    BRICK SCHOOL TERRACE                                            SYRACUSE           NY     13224‐1687
JEAN SMITH         435 W HODGE AVE                                                                                LANSING            MI     48910‐2952
JEAN SMITH         C/O THE MADEKSHO LAW FIRM      8866 GULF FREEWAY SUITE 440                                     HOUSTON            TX     77017
JEAN SNIDER        3863 16TH ST                                                                                   WYANDOTTE          MI     48192‐6423
JEAN SNOW          1950 COUNTRYSIDE DR                                                                            SALEM              OH     44460‐1079
JEAN SOCACIU       6413 N 84TH LN                                                                                 GLENDALE           AZ     85305‐2542
JEAN SOROKA        4450 FREDRO ST                                                                                 DETROIT            MI     48212‐2837
JEAN SOVERN        21833 PRINCE WILLIAM CT                                                                        LEESBURG           FL     34748‐7528
JEAN SPANGLER      7118 E 26TH ST N                                                                               WICHITA            KS     67226‐1723
JEAN SPENCER       12814 W GALAXY DR                                                                              SUN CITY WEST      AZ     85375‐4535
JEAN SPENCER       36 PINE VALLEY CIR                                                                             ORMOND BEACH       FL     32174‐3826
JEAN SPOHN         5767 NW ZENITH DR                                                                              PORT ST LUCIE      FL     34986‐3529
JEAN STACEY        272 STATE ROUTE 176                                                                            HANNIBAL           NY     13074‐2245
JEAN STANSFIELD    305 E 305TH ST                                                                                 WILLOWICK          OH     44095‐3740
JEAN STARK         APT 1‐A MIDDLESEX VILLAGE                                                                      MIDDLESEX          NJ     08846
JEAN STEFFEY       8531 BRIDGE LAKE RD                                                                            CLARKSTON          MI     48348‐2560
JEAN STEPHEN       G5146 E. CARPENTER ROAD                                                                        FLINT              MI     48506
JEAN STEWART       5038 BONNIE BRAE ST                                                                            INDIANAPOLIS       IN     46228‐3034
JEAN STIDAM        23 E JEFFERSON AVE                                                                             SHELBY             OH     44875‐1609
JEAN STONER        1108 BROOKSIDE DR                                                                              LANSING            MI     48917‐9214
JEAN STOVER        1384 WEST AVE                                                                                  HILTON             NY     14468‐9172
JEAN STRANGE       327 E BROADWAY ST              P O BOX 4102                                                    WINCHESTER         KY     40391‐2100
JEAN STROPKO       201 PRUITT DR                                                                                  WESTMINSTER        SC     29693‐1527
JEAN SULLINGER     6030 BEACH SMITH RD                                                                            KINSMAN            OH     44428‐9749
JEAN SULLIVAN      3402 BETHEL CONCORD RD 1                                                                       WILLIAMSBURG       OH     45176
JEAN SULLIVAN      2844 MAIN ST                                                                                   NEWFANE            NY     14108‐1233
JEAN SUTTON        7400 GETTYSBURG DR                                                                             NEW PORT RICHEY    FL     34653‐2338
JEAN SWANTEK       3455 EDISON ST                                                                                 DEXTER             MI     48130‐1221
JEAN SWING         1309 CADY ST                                                                                   MAUMEE             OH     43537‐3131
JEAN SWITZER       15455 GLENOAKS BLVD SPC 49                                                                     SYLMAR             CA     91342
JEAN SYMONDS       8709 HUNTINGTON DR                                                                             LANSING            MI     48917‐6844
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Name                          Address1                         Address2                     Address3   Address4                  City               State   Zip
JEAN SZYMANSKI                7322 KEMPA ST                                                                                      ROMULUS             MI     48174‐2125
JEAN T ROSSI                  2030 CHESTER BLVD                                                                                  RICHMOND            IN     47374
JEAN TALLMAN                  4302 HEDGETHORN CIR                                                                                BURTON              MI     48509‐1257
JEAN TARPLEY                  338 E HARRIET ST                                                                                   WHITEWATER          WI     53190‐1420
JEAN TAYLOR                   711 MCKEIGHAN AVE                                                                                  FLINT               MI     48507‐2856
JEAN TAYLOR                   804 BEECHLAWN CT                                                                                   EAST LANSING        MI     48823‐2102
JEAN TAYLOR                   26321 HOPKINS ST                                                                                   INKSTER             MI     48141‐3224
JEAN TEAR                     5570 E CAREY AVE                                                                                   LAS VEGAS           NV     89156‐5706
JEAN TECHENTINE               32819 PEAR TREE CT                                                                                 LEWES               DE     19958‐3724
JEAN TEEFEY                   25245 DODGE ST                                                                                     ROSEVILLE           MI     48066‐3779
JEAN TERBUSH                  1401 E SANILAC RD                                                                                  CARO                MI     48723‐8901
JEAN TERENZI                  198 CORYELL DR                                                                                     OXFORD              MI     48371‐4255
JEAN TERRELL                  5423 DELTA RIVER DR                                                                                LANSING             MI     48906‐9012
JEAN THODE                    7233 ARBOR LN                                                                                      JUSTICE              IL    60458‐1179
JEAN THOMAS                   900 OSWALT RD                                                                                      MANSFIELD           OH     44903‐9166
JEAN THOMAS                   8125 112TH ST APT 203                                                                              SEMINOLE            FL     33772‐4651
JEAN THOMAS                   RR 1 BOX 107                                                                                       MEEKER              OK     74855‐9744
JEAN THOMAS                   756 E MALLORY AVE                                                                                  MEMPHIS             TN     38106‐7528
JEAN THOMAS                   2224 BARNARD ST                                                                                    SAGINAW             MI     48602‐5003
JEAN THORNTON                 546 TURRILL AVE                                                                                    LAPEER              MI     48446‐2545
JEAN THORSBERG                3 ROEPER DR                                                                                        SAINT PETERS        MO     63376‐1416
JEAN THROCKMORTON             6989 E 100 NORTH                                                                                   DANVILLE            IN     46122
JEAN THURLER                  1810 N PARKER DR                                                                                   JANESVILLE          WI     53545‐0771
JEAN THYNE                    231 EAST AVENUE                                                                                    HILTON              NY     14468‐1333
JEAN TILBURG                  6332 MIDLAND ST                                                                                    ZEPHYRHILLDS        FL     33542‐2739
JEAN TINGLE                   3124 ENCLAVE CT                                                                                    KOKOMO              IN     46902‐8129
JEAN TOCICKI                  73 STANTON AVE                                                                                     YOUNGSTOWN          OH     44512‐2216
JEAN TODD                     3188 HERMITAGE ROAD                                                                                WARSAW              NY     14569‐9718
JEAN TOINS                    2008 DARON PL                                                                                      FLINT               MI     48505‐1002
JEAN TONON                    1389 STAFFORD AVE APT 112                                                                          BRISTOL             CT     06010‐9139
JEAN TORRENS                  2600 S FINLEY RD APT 3106                                                                          LOMBARD              IL    60148
JEAN TOTT                     663 NIAGARA BLVD                                                         FORT ERIE ON L2A3H9
                                                                                                       CANADA
JEAN TREMBLAY AUTO ELECTRIC   831 RUE VERCHERES                                                        LONGUEUIL QC J4K 2Y8
                                                                                                       CANADA
JEAN TRIPLETT                 810 PARK AVE                                                                                       LEAVENWORTH        KS      66048‐5548
JEAN TRUDEAU                  PO BOX 444                                                                                         HOUGHTON LAKE      MI      48629‐0444
JEAN TRUEAX                   709 BROOKWOOD LN E                                                                                 ROCHESTER HLS      MI      48309‐1514
JEAN TRUYENS                  7281 CATALINA ISLE DR                                                                              LAKE WORTH         FL      33467‐7746
JEAN TURNER                   1872 KEPPEN BLVD                                                                                   LINCOLN PARK       MI      48146‐1428
JEAN TURNER                   12407 STONE VALLEY DR                                                                              MILFORD            MI      48380‐2880
JEAN ULLMER                   224 PORTER DR                                                                                      ENGLEWOOD          OH      45322‐2452
JEAN URSCHEL                  343 S SNYDER RD                                                                                    NEW LEBANON        OH      45345‐9355
JEAN USSELMAN                 BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS         OH      44236
JEAN UTACHT                   5125 PENSACOLA BLVD              C/O SARA N. FUSON                                                 MORAINE            OH      45439‐2942
JEAN V DELIA                  8943 E RUSTY SPUR PLACE                                                                            SCOTTSDALE         AZ      85255‐9165
JEAN V WAHL                   121 WILDBRIAR RD                                                                                   ROCHESTER          NY      14623‐3906
JEAN VALEAD                   460 PARADISE ISLE BLVD APT 202                                                                     HALLANDALE BEACH   FL      33009‐5849

JEAN VALLEY                   4042 E PIERSON RD                                                                                  FLINT              MI      48506‐1438
JEAN VAUGHAN                  2305 DAKOTA AVE                                                                                    FLINT              MI      48506‐4900
JEAN VELLOSO                  42‐0 CONCORD LANE                                                                                  MONROE TWP         NJ      08831
JEAN VENEZIANO                361 SPRING RD                                                                                      MORRISDALE         PA      16858‐8064
JEAN VERBINSKI                3027 INGLESIDE DR                                                                                  PARMA              OH      44134‐2921
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Name               Address1                         Address2              Address3   Address4               City               State   Zip
JEAN VERGAIN       36 HARRINGTON AVE                                                                        LINDENHURST         NY     11757
JEAN VERONNEAU     335 HIGHTOWER RD                                                                         SOUTHINGTON         CT     06489‐2450
JEAN VIEIRA        7 HURON DRIVE                                                                            HUDSON              MA     01749‐3118
JEAN VIELHABER     33218 VICEROY DR                                                                         STERLING HEIGHTS    MI     48310‐5907
JEAN VINCENT       4935 ITA CT APT 312                                                                      SWARTZ CREEK        MI     48473‐1386
JEAN VINCENT       2951 BENEDICT LN                                                                         SHELBY TOWNSHIP     MI     48316‐2013
JEAN W BRODOWSKI   1296 CRANBROOK CIR NE                                                                    WARREN              OH     44484‐1562
JEAN W ELLIS       1292 BRISTOL CHAMPION TOWNLINE                                                           WARREN              OH     44481‐9406
JEAN W SHAFER      911 GLENDALE AVE                                                                         TILTON               IL    61833‐7945
JEAN W SULLINGER   6030 BEACH SMITH RD.                                                                     KINSMAN             OH     44428‐9749
JEAN WADE          102 THORPE ST                                                                            PONTIAC             MI     48341‐1370
JEAN WAGNER        926 ROLLING HILLS LN 1                                                                   LAPEER              MI     48446
JEAN WAGNER        34950 HIDDEN PINE DR APT 212                                                             FRASER              MI     48026‐2051
JEAN WAHL          121 WILDBRIAR RD                                                                         ROCHESTER           NY     14623‐3906
JEAN WAKEFORD      1881 COTTRILL LN                                                                         WESTLAND            MI     48186‐4227
JEAN WALKER        1236 LINDA LN                                                                            BEAVERTON           MI     48612‐8842
JEAN WALKER        8112 RAINFALL RD                                                                         ALVARADO            TX     76009‐4502
JEAN WALKOWICZ     35805 IMPALA DR                                                                          STERLING HTS        MI     48312‐3967
JEAN WALTER        3256 INDIANWOOD RD                                                                       LAKE ORION          MI     48362‐1034
JEAN WALTERS       811 PLANTATION BLVD APT B                                                                SIKESTON            MO     63801‐5744
JEAN WARE          3061 TOD AVE NW                                                                          WARREN              OH     44485‐1354
JEAN WATSON        18 MARTA DR                                                                              WILMINGTON          DE     19808‐4854
JEAN WEBSTER       919 PINE RIDGE DR                                                                        LAKELAND            FL     33809‐3758
JEAN WEEKLEY       406 E LIBERTY ST                                                                         ASHLAND             OH     44805‐3337
JEAN WEEKS         7909 FLORIDA ST                                                                          SHELBY              MI     49455‐8661
JEAN WEIKEL        1351 BATTLE CREEK RD                                                                     CHARLOTTE           MI     48813‐9573
JEAN WEIST         5779 WEST ST                                                                             SANBORN             NY     14132‐9206
JEAN WENTZ         125 CHESTNUT WAY                                                                         NORTH PRAIRIE       WI     53153‐9799
JEAN WHEELER       425 LATONA RD                                                                            ROCHESTER           NY     14626‐2712
JEAN WHEELER       3749 FRENCH RD                                                                           DETROIT             MI     48214‐1551
JEAN WHITE         774 N LAKE RD                                                                            NEW CARLISLE        OH     45344‐8704
JEAN WHITMAN       2227 CADWALLADER SONK RD                                                                 CORTLAND            OH     44410‐1759
JEAN WILKINS       4051 WESTLAKE RD                                                                         CORTLAND            OH     44410‐9224
JEAN WILLIAMS      43 OAK VALLEY DR                                                                         SPRING HILL         TN     37174‐2597
JEAN WILLIAMS      1461 TRIPODI CIR                                                                         NILES               OH     44446‐3564
JEAN WILLIAMS      18670 HUNTER AVE                                                                         HAYWARD             CA     94541‐2217
JEAN WILSON        PO BOX 90                                                                                CARYVILLE           TN     37714‐0090
JEAN WILSON        9471 KRAFT AVE SE                C/O GIUSEPPE LICARI                                     CALEDONIA           MI     49316‐8166
JEAN WILSON        1500 ELENA DR                                                                            MCDONOUGH           GA     30253‐7396
JEAN WIMMER        5306 MCCARTNEY RD                                                                        SANDUSKY            OH     44870‐1530
JEAN WIMMERS       2717 HEMPHILL RD                                                                         KETTERING           OH     45440‐1414
JEAN WIMMERS       2717 HEMPHILL RD                                                                         KETTERING           OH     45440‐1414
JEAN WINDSOR       2499 FRIENDSHIP BLVD                                                                     KOKOMO              IN     46901‐4193
JEAN WINLAND       5501 BELLEFONTAINE RD                                                                    DAYTON              OH     45424‐4132
JEAN WINTERS       6214 CORWIN STA                                                                          NEWFANE             NY     14108‐9745
JEAN WISELEY       5297 GREENLEAF DR                                                                        SWARTZ CREEK        MI     48473‐1164
JEAN WITCZAK       11525 VALE RD                    C/O MARK WITCZAK                                        OAKTON              VA     22124‐1336
JEAN WITTCOP       8793 RIDGE RD                                                                            GASPORT             NY     14067‐9414
JEAN WITTKE        647 JEFFERSON AVE                                                                        RAHWAY              NJ     07065‐2505
JEAN WOLFE         172 SAXTON ST                                                                            LOCKPORT            NY     14094‐4912
JEAN WOLSCHLAGER   3846 WESSON ST                                                                           DETROIT             MI     48210‐3060
JEAN WOLTERS       444 3RD AVE                                                                              WOONSOCKET           RI    02895‐2804
JEAN WOOLER        3226 QUENTIN DR                                                                          YOUNGSTOWN          OH     44511‐1204
JEAN WRASSE        1094 BEAL RD                                                                             MANSFIELD           OH     44905‐1610
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Name                  Address1                        Address2                      Address3   Address4                  City              State   Zip
JEAN WRIGHT           60 E EUCLID ST                                                                                     DETROIT            MI     48202‐2210
JEAN WRIGHT           PO BOX 90422                                                                                       BURTON             MI     48509‐0422
JEAN YEE              1223 KIRTS BLVD UNIT D                                                                             TROY               MI     48084‐4866
JEAN YERKES           1515 MICHIGAN AVE                                                                                  PALM HARBOR        FL     34683‐4536
JEAN YIROVEC          119 E WINDEMERE AVE                                                                                ROYAL OAK          MI     48073‐2616
JEAN YOUNG            8806 ASHWYNE LN                                                                                    LA PORTE           TX     77571‐3676
JEAN ZAICEK           PO BOX 1828                                                                                        MONCKS CORNER      SC     29461‐1828
JEAN ZALZAL           C/O WEHBE                       PO BOX 165702 ‐ ACHRAFIEH                11002060 BEIRUT LEBANON
JEAN ZIMMERMANN       426 HOMESTEAD RD APT 2                                                                             LA GRANGE PARK     IL     60526‐2155
JEAN ZUBALIK          10174 HAWTHORNE RIDGE RD                                                                           GOODRICH           MI     48438‐9061
JEAN ZWIRECKI         915 W TAYLOR ST                                                                                    APPLETON           WI     54914‐2610
JEAN, ALLEN J         1195 FLAJOLE RD                                                                                    MIDLAND            MI     48642‐9602
JEAN, BONNIE F        702 N WARNER ST                                                                                    BAY CITY           MI     48706‐4543
JEAN, DAVID R         944 APLIN BEACH                                                                                    BAY CITY           MI     48706
JEAN, DEBORAH         11696 E 13 MILE RD                                                                                 WARREN             MI     48093
JEAN, DEMPSEY L       504 HCR 1364                                                                                       HILLSBORO          TX     76645‐5112
JEAN, DENNIS H        322 S 7 MILE RD                                                                                    LINWOOD            MI     48634
JEAN, DOUGLAS K       3125 MACKEY LN                                                                                     SHREVEPORT         LA     71118‐2490
JEAN, DUANE B         3690 STATE STREET RD                                                                               BAY CITY           MI     48706‐2150
JEAN, DUANE R         105 W FISHER ST                                                                                    BAY CITY           MI     48706‐4543
JEAN, ELIZABETH J     611 S WILLIAMS ST                                                                                  BAY CITY           MI     48706‐4687
JEAN, ELOISE C        10799 ALLIANCE DRIVE                                                                               CAMBY              IN     46113
JEAN, FLORENCE I      302 W MAIN ST                                                                                      OTISVILLE          MI     48463‐9481
JEAN, FLORENCE I      302 W MAIN STREET                                                                                  OTISVILLE          MI     48463‐9481
JEAN, GARY D          6284 TUNNELTON RD                                                                                  BEDFORD            IN     47421‐7853
JEAN, HAROLD V        5913 BENT PINE DR APT 307                                                                          ORLANDO            FL     32822‐3359
JEAN, HUGH R          623 DAVEY COX RD                                                                                   MITCHELL           IN     47446‐7408
JEAN, JAMES C         1750 W NORTH UNION RD                                                                              AUBURN             MI     48611‐9533
JEAN, JAMES F         8685 9 MILE RD NE                                                                                  ROCKFORD           MI     49341
JEAN, JEAN W
JEAN, JEAN W          1016 ALMERIA RD                                                                                    WEST PALM BEACH    FL     33405‐1106

JEAN, JOHN D          1188 SUMMERSET DR                                                                                  GRAND BLANC       MI      48439‐9236
JEAN, JOSEPH E        14000 BROUGHAM CT APT 4                                                                            PLYMOUTH          MI      48170‐3116
JEAN, JOSEPH F        3008 GARFIELD AVE                                                                                  BAY CITY          MI      48708‐8432
JEAN, JOSEPH G        25410 DEER CREEK DR                                                                                FLAT ROCK         MI      48134‐2800
JEAN, KAREN L         505 DAYTON AVE                                                                                     KALAMAZOO         MI      49048‐2106
JEAN, KATHLEEN C      6483 S ADRIAN HWY                                                                                  ADRIAN            MI      49221‐9663
JEAN, KENNETH B       6483 S ADRIAN HWY                                                                                  ADRIAN            MI      49221‐9663
JEAN, KENNETH BRYAN   6483 S ADRIAN HWY                                                                                  ADRIAN            MI      49221‐9663
JEAN, KENNETH J       2125 SPRING HILL CIRCLE                                                                            SPRING HILL       TN      37174
JEAN, KENNETH L       PO BOX 312                                                                                         LAKE              MI      48632‐0312
JEAN, LAVERNE         7748 BARCLAY RD                                                                                    DARIEN            IL      60561‐4342
JEAN, LAWRENCE R      10199 GRAND BLANC RD                                                                               GAINES            MI      48436‐9775
JEAN, MARY B          11633 BRADLEY DR                                                                                   JEROME            MI      49249‐9829
JEAN, MARY BETH       11633 BRADLEY DR                                                                                   JEROME            MI      49249‐9829
JEAN, MC NALLY,       2703 WILLOWICK WAY                                                                                 ANDERSON          IN      46012‐9552
JEAN, MICHAEL T       21 PIERCE LANE                                                                                     REHOBOTH          MA      02769‐1611
JEAN, OLIVE           17743 LENNANE                                                                                      REDFORD           MI      48240‐2163
JEAN, OLIVER          10586 FAULKNER RIDGE CIR                                                                           COLUMBIA          MD      21044
JEAN, PAUL H          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                        NORFOLK           VA      23510‐2212
                                                      STREET, SUITE 600
JEAN, PRISCILLA A     2125 SPRING HILL CIR                                                                               SPRING HILL        TN     37174‐8228
JEAN, RICKEY D        11633 BRADLEY DR                                                                                   JEROME             MI     49249‐9829
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JEAN, RUSSELL L            4448 NIMS RD                                                                                                         LESLIE              MI     49251‐9759
JEAN, RUTH                 6100 BLUE LAKE ROAD NE                                                                                               KALKASKA            MI     49646‐9352
JEAN, SHARON M             36331 GRANDON ST                                                                                                     LIVONIA             MI     48150‐3401
JEAN, SHARON MARIE         36331 GRANDON ST                                                                                                     LIVONIA             MI     48150‐3401
JEAN, SHIRLEY M            218 DEENS LANE                                                                                                       BAY CITY            MI     48706‐3539
JEAN, SHIRLEY M            218 DEENS LN                                                                                                         BAY CITY            MI     48706‐3539
JEAN, THOMAS D             169 STATE PARK DR                                                                                                    BAY CITY            MI     48706‐2135
JEAN, TIM R                657 DAVEY COX RD                                                                                                     MITCHELL            IN     47446‐7408
JEAN, TROY A               PO BOX 263                                                                                                           PAULSBORO           NJ     08066‐0263
JEAN, TROY AARON           PO BOX 263                                                                                                           PAULSBORO           NJ     08066‐0263
JEAN‐BAPTISTE, FRANTZ      17 1ST AVE                                                                                                           WESTBURY            NY     11590‐2553
JEAN‐CYRIL LEMAIRE         THE LEMAIRE FAMILY TRUST          C/O J.C. LEMAIRE, TRUSTEE   57 DOUGLAS RD                                          NEEDHAM             MA     02492
JEAN‐DENIS LACHAPELLE      816 STANFORD CIR                                                                                                     ROCHESTER HILLS     MI     48309‐2332
JEAN‐FRANCOIS BUCZKOWSKI   ELBINGER STRASSE 3B                                                                        76139 KARLSRUHE GERMANY

JEAN‐GUY BOLDUC            177 6E AVENUE                                                                              G5X 1Y5 BEAUCEVILLE QC
                                                                                                                      CANADA
JEAN‐JACQUES CLOQUETTE     RUE DE LA HAUTE FOLIE 55                                                                   7062 NAAST BELGIUM
JEAN‐LOUIS, RENE           1964 RIVERVIEW DR                                                                                                    DEFIANCE           OH      43512‐2526
JEAN‐LUC ALARIE
JEAN‐MARIE LAPEYRE         4749 HEDGEWOOD DR                                                                                                    BLOOMFIELD HILLS    MI     48301‐1033
JEAN‐MARIE PAEME           MEENSESTEENWEG 365                8800 ROESELARE
JEAN‐MICHEL STEINMETZ      4444 COMANCHE DR                                                                                                     OKEMOS              MI     48864‐2443
JEAN‐PAUL PILETTE          4115 STONE POST RD                                                                                                   NEWPORT             MI     48166‐7830
JEAN‐PAUL VILLEMINEY       3275 W BUNO RD                                                                                                       MILFORD             MI     48380‐4430
JEAN‐PIERRE GUEDES         19040 LIVERY CT                                                                                                      CLINTON TOWNSHIP    MI     48038‐5532

JEAN‐PIERRE HENGELS        RUE DE LA LASNE, 30               1380 LASNE
JEAN‐PIERRE HENGELS        RUE DE LA LASNE, 30
JEAN‐PIERRE LALONDE        733 SECRET LONDON AVE                                                                                                LAS VEGAS           NV     89178‐1279
JEAN‐PIERRE NAHIRNYJ       41616 STONEHENGE MANOR DR                                                                                            CLINTON TWP         MI     48038‐4642
JEAN‐PIERRE TERNYNCK       AV DE VILLEFRANCHE, 1 BIS                                                                  1330 RIXENSART BELGIUM
JEAN‐PIERRE TERNYNCK       AV DE VILLEFRANCHE, 1 BIS         1330 RIXENSART
JEAN‐PIERRE WAGNER         20 BOULEVARD JOSEPH II
JEAN‐PIERRE, LYONEL        2221 NORTHEAST 26TH STREET                                                                                           CAPE CORAL          FL     33909‐3220
JEAN‐PIERRE, LYONEL        2221 NE 26TH ST                                                                                                      CAPE CORAL          FL     33909‐3220
JEAN‐PIERRE, MARC H        7937 MADEIRA ST, APT 116                                                                                             MIRAMAR             FL     33023
JEAN‐REMI HAASSER          5 PLACE DES HALLES                67000 STRASBOURG            FRANCE
JEAN‐REMY HERLEDAN         128 ALBERTSON ST                                                                                                     ROCHESTER           MI     48307‐1407
JEAN‐RICHARD BACHOLNIK     25615 TIREMAN ST                                                                                                     DEARBORN HTS        MI     48127‐1129
JEAN‐THERESE JOYEN
JEAN‐WILMOTH, NICHOLE      10273 CARRIAGE LN                                                                                                    PLEASANT GRV        UT     84062‐0658
JEAN‐WILMOTH, NICHOLE      14962 SYCAMORE HILL STREET                                                                                           DRAPER              UT     84020‐3408
JEAN‐YVES LAVALLEE         29175 ELDON ST                                                                                                       FARMINGTON HILLS    MI     48336‐2827

JEANA M MANOLESCU          ATTN: ROBERT W PHILLIPS            SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD, PO BOX                             EAST ALTON          IL     62024
                                                              ANGELIDES & BARNERD LLC    521
JEANA M MANOLESOU          ROBERT W PHILLIPS, SIMMONS BROWDER 707 BERKSHIRE BLVD         PO BOX 521                                             EAST ALTON          IL     62024
                           GIANARIS ANGELIDES & BARNERD LLC

JEANA M RANDALL            PO BOX 1022                                                                                                          TWAIN HARTE         CA     95383‐1022
JEANA SEIDELMAN            709 VERNON AVE                                                                                                       LANSING             MI     48910‐4636
JEANA WATTS                151 HUXLEY DRIVE                                                                                                     SAN ANTONIO         TX     78218‐1817
JEANA YANG                 5416 HEATHERLAND DR                                                                                                  SAN RAMON           CA     94582‐5054
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Name                     Address1                           Address2        Address3         Address4               City            State   Zip
JEANAMARIE PORTER        PO BOX 124                                                                                 SHARPSVILLE      IN     46068‐0124
JEANANNE STEINGASS       1789 WILDWOOD DR                                                                           DEFIANCE         OH     43512‐2542
JEANE BARNES             1007 EASTFIELD ROAD                                                                        LANSING          MI     48917‐2301
JEANE BEAVERS            415 HARPER ST                                                                              WEST MONROE      LA     71292‐6401
JEANE BURT               LOT 203 CRANMER                                                                            CHARLOTTE        MI     48813
JEANE GREEN              28665 W. 207TH ST                                                                          EDGERTON         KS     66021
JEANE HENRY              3588 DOWNING ST                                                                            MARIETTA         GA     30066‐4561
JEANE HUGUNIN            7815 E 87TH TER                                                                            KANSAS CITY      MO     64138‐4112
JEANE L LAWSON           3352 QUENTIN DR                                                                            YOUNGSTOWN       OH     44511‐1206
JEANE LAWSON             3352 QUENTIN DR                                                                            YOUNGSTOWN       OH     44511‐1206
JEANE LILLIS             1006 WARDENSVILLE GRADE                                                                    WINCHESTER       VA     22602‐2049
JEANE M HENRY            3588 DOWNING ST                                                                            MARIETTA         GA     30066
JEANE MASLEN             84 HENDRICKS BLVD                                                                          BUFFALO          NY     14226‐3217
JEANE MCDOWELL           207 ECHO ST 426                                                                            EAST JORDAN      MI     49727
JEANE NELSON             1837 WILLOWBROOK CIR                                                                       FLINT            MI     48507‐1412
JEANE R BEACH            3468 MILEAR RD                                                                             CORTLAND         OH     44410
JEANE RICHARDSON         7104 HARRIS DR                                                                             MORRISVILLE      PA     19067‐5148
JEANE ROCKWELL           725 BOWES RD APT C4                                                                        LOWELL           MI     49331‐1681
JEANE ROYALE             1110 W NORTHRUP ST                                                                         LANSING          MI     48911‐3643
JEANEA LASSETER          6979 BILL LUNDY ROAD                                                                       LAUREL HILL      FL     32567‐8305
JEANEAN CHAPMAN          13023 LOCKMOOR DR                                                                          GRAND BLANC      MI     48439‐1577
JEANEEN STEPHANSKY       818 COWLEY AVE                                                                             EAST LANSING     MI     48823‐3012
JEANELLA BROWN           2121 HOWARD AVE                                                                            FLINT            MI     48503‐5808
JEANELLA M BROWN         2121 HOWARD AVE                                                                            FLINT            MI     48503‐5808
JEANENE BROCK            1706 RICHMOND AVE                                                                          LINCOLN PARK     MI     48146‐3547
JEANENE COLLINS          13321 W COUNTY ROAD 850 N                                                                  GASTON           IN     47342‐9009
JEANENE COPPERSMITH      707 BONNYCASTLE AVE                                                                        ENGLEWOOD        OH     45322‐1808
JEANENE F VAUGHN         160 MAPLE WOOD CIR                                                                         URBANA           OH     43078
JEANENE M MALONE         9890 MAIN ST                                                                               BAY PORT         MI     48720‐9782
JEANENE MALONE           9890 MAIN ST                                                                               BAY PORT         MI     48720‐9782
JEANENE MCQUADE          3648 SHEFFIELD DR                                                                          JANESVILLE       WI     53546‐9381
JEANENE ROOT             6051 SPRINGDALE BLVD                                                                       GRAND BLANC      MI     48439‐8521
JEANENE SPENCER          1425 PALMNOLD CIR E                                                                        FORT WORTH       TX     76120‐4705
JEANENE WINSETT          RT 1 24 CHESTNUT DR                                                                        NINNEKAH         OK     73067
JEANENNE JENKINS         23670 CARRIAGE HILL RD APT 302                                                             SOUTHFIELD       MI     48075‐3633
JEANES HOSPITAL          7600 CENTRAL AVE                                                                           PHILA            PA     19111‐2442
JEANET ARMSTRONG         828 HEATHER KNOLL DR                                                                       DESOTO           TX     75115‐4614
JEANETTA ARBUCKLE        PO BOX 705                                                                                 ANDERSON         IN     46015‐0705
JEANETTA BIRKENMEIER     8580 CANADA RD                                                                             BIRCH RUN        MI     48415‐8429
JEANETTA BRIDGES         7641 HIGHWAY 297                                                                           PIONEER          TN     37847‐4113
JEANETTA CHAMPION        3160 MYRTLE AVE                                                                            GRANITE CITY      IL    62040
JEANETTA FLEMING         7480 E 10TH ST                                                                             INDIANAPOLIS     IN     46219‐5003
JEANETTA GREER           708 E COUNTY ROAD 500 S 500 SOUT                                                           MUNCIE           IN     47302
JEANETTA GRIFFAW         1802 W JEFFERSON ST                                                                        SANDUSKY         OH     44870‐2177
JEANETTA JAMES           9 CHINOOK CT                                                                               RANDALLSTOWN     MD     21133‐1716
JEANETTA MCQUEARY        846 E 8TH ST                                                                               FLINT            MI     48503‐2779
JEANETTA MILLER          6408 S KELLEY AVE                                                                          OKLAHOMA CITY    OK     73149‐2310
JEANETTA REED            PO BOX 1622                                                                                MCCOMB           MS     39649‐1622
JEANETTA REED            9940 S COUNTY ROAD 400 E                                                                   WALTON           IN     46994‐8985
JEANETTA RIGDON          1086 RR 4302                                                                               LITTLE ROCK      MS     39337
JEANETTA SHEEDY          177 PR 4308                                                                                BIG SANDY        TX     75755
JEANETTE A GONZALES      704 CROCKETT DR                                                                            MANSFIELD        TX     76063‐3418
JEANETTE A KELLERBAUER   1609 DAYTONA DR                                                                            TOLEDO           OH     43612‐4030
JEANETTE ABLES           31014 FERNWOOD ST                                                                          WESTLAND         MI     48186‐5096
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Name                             Address1                       Address2               Address3              Address4               City                State Zip
JEANETTE ABRAHAM                 29875 STANHURST RD                                                                                 FARMINGTON HILLS     MI 48331‐1934

JEANETTE ABRAHAMSO               1631 S LADDIE CT                                                                                   BEAVERCREEK         OH   45432‐2458
JEANETTE ADKINS                  291 DAVIS AVE                                                                                      KEARNY              NJ   07032‐3417
JEANETTE AINSCOUGH               10200 BARAGA ST                                                                                    TAYLOR              MI   48180‐3731
JEANETTE ALBERT                  1032 2ND ST                                                                                        SANDUSKY            OH   44870‐3830
JEANETTE ALEKSIAK                30 MIDDLESEX RD                                                                                    MATAWAN             NJ   07747‐3549
JEANETTE ALLIS                   11073 HENDERSON RD                                                                                 OTISVILLE           MI   48463‐9727
JEANETTE ALWIN                   2001 WESLEY AVE APT 306                                                                            JANESVILLE          WI   53545‐2682
JEANETTE ANDERSEN                17195 PALISADES CIRCLE                                                                             PACIFIC PALISADES   CA   90272

JEANETTE ATWELL                  2433 S PERKEY RD               C/O CHARLENE LUMSDEN                                                CHARLOTTE           MI   48813‐9368
JEANETTE AUTOMOTIVE REPAIR LLC   11119 WATERTOWER CT                                                                                HOLLAND             MI   49424
JEANETTE B FENN                  80 LININGER RD                                                                                     GREENVILLE          PA   16125‐9255
JEANETTE B WYRICK                8860 CANDY CT                                                                                      HUBER HEIGHTS       OH   45424
JEANETTE BAEDER                  NORTH 67 WEST 22208            LOT E MCLAUGHLAN                                                    SUSSEX              WI   53089
JEANETTE BAILEY                  APT 203                        1115 EAGLE DRIVE                                                    WAYLAND             MI   49348‐1727
JEANETTE BANASZAK                PO BOX 281                     1860 S JACKSON                                                      LAKE GEORGE         MI   48633‐0281
JEANETTE BARANACK                7260 FARNHAM DR                                                                                    MENTOR              OH   44060‐4658
JEANETTE BEACHNAU                10845 S TALLMAN RD                                                                                 EAGLE               MI   48822‐9750
JEANETTE BELLINGAR               2265 W PARKS RD LOT 424                                                                            SAINT JOHNS         MI   48879‐8920
JEANETTE BERGE                   5160 LAURA LN                                                                                      GREENDALE           WI   53129‐1939
JEANETTE BERNINGER               41110 FOX RUN RD #T02                                                                              NOVI                MI   48377
JEANETTE BLUE                    3922 SOUTH MORGAN STREET                                                                           SEATTLE             WA   98118‐3252
JEANETTE BODINE                  4402 WATSON RD                                                                                     CARLETON            MI   48117‐9520
JEANETTE BOGER PERSONAL          JEANETTE BOGER                 C/O BRAYTON PURCELL    222 RUSH LANDING RD                          NOVATO              CA   94948‐6169
REPRESENTATIVE FOR WILLIAM
KRAUSMANN
JEANETTE BOWDEN                  5021 S ASPEN DR                                                                                    BATTLEFIELD         MO   65619‐9596
JEANETTE BOYER‐ WINTERS          555 KIMBERLY LN                                                                                    COUNCE              TN   38326‐2897
JEANETTE BRADY                   150 CHAMBERLAIN ST                                                                                 PONTIAC             MI   48342‐1411
JEANETTE BROADIE                 36 FRANKLIN CORNER RD                                                                              LAWRENCEVILLE       NJ   08648‐2102
JEANETTE BROGE                   222 S MADISON ST                                                                                   MONTICELLO          WI   53570‐9634
JEANETTE BUNN                    1675 PIEDMONT RD                                                                                   GRIFFIN             GA   30224‐3954
JEANETTE BURCHARD                12276 SOUTHWEST 10TH STREET                                                                        YUKON               OK   73099‐7020
JEANETTE BURKMYRE                4073 COVENTRY DR               HAWTHORN FOREST                                                     AUBURN HILLS        MI   48326‐1897
JEANETTE BURNELL                 1731 JOY ST                                                                                        SAGINAW             MI   48601‐6823
JEANETTE BURNETT                 1454 S JACKSON AVE                                                                                 DEFIANCE            OH   43512‐3209
JEANETTE BURNETTE                2110 COBBLESTONE DR                                                                                KOKOMO              IN   46902‐5864
JEANETTE BUSH                    3806 WALTON DR                                                                                     LANSING             MI   48910‐4365
JEANETTE BYRNS                   6080 MEADOWBREEZE ST                                                                               NORTH BRANCH        MI   48461‐9760
JEANETTE C CAMERON               965 GINGHAMSBURG RD.                                                                               TIPP CITY           OH   45371‐9262
JEANETTE C MILLER                PO BOX 1325                                                                                        YOUNGSTOWN          OH   44501
JEANETTE CALDWELL                6680 POCKLINGTON RD                                                                                BRITTON             MI   49229‐8701
JEANETTE CALLARD                 1649 SQUAW CREEK DR                                                                                GIRARD              OH   44420‐3658
JEANETTE CERES                   1129 BOYNTON AVE APT 3035                                                                          WESTFIELD           NJ   07090‐1697
JEANETTE CHILDS                  202 WOODS CIRCLE               APT 43                                                              ALPENA              MI   49707‐1451
JEANETTE CHOUINARD               203 FRANKLIN ST                                                                                    GRAND LEDGE         MI   48837‐1940
JEANETTE CHRISTENSEN             282 MAIN ST APT 24                                                                                 TERRYVILLE          CT   06786‐5932
JEANETTE CLARK                   58 1/2 MCCLURE ST                                                                                  STRUTHERS           OH   44471‐2085
JEANETTE CLARK                   201 NATIONAL AVE                                                                                   LANGHORNE           PA   19047‐1611
JEANETTE CLEM                    PO BOX 494434                                                                                      PORT CHARLOTTE      FL   33949‐4434
JEANETTE COLE                    2220 S MARION AVE                                                                                  JANESVILLE          WI   53546‐5939
JEANETTE COLE                    2505 FOXGROVE CT                                                                                   HIGHLAND            MI   48356‐2472
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Name                              Address1                       Address2            Address3         Address4               City            State   Zip
JEANETTE COLEMAN                  1482 W HUMPHREY AVE                                                                        FLINT            MI     48505‐1029
JEANETTE CONRAD                   5320 S CATHERINE AVE                                                                       COUNTRYSIDE       IL    60525‐2840
JEANETTE COOK                     PO BOX 1425                                                                                WARREN           MI     48090‐1425
JEANETTE COOK                     1424 DOROTHY DR                                                                            GAINESVILLE      GA     30501‐4118
JEANETTE COOK                     2318 N APPERSON WAY                                                                        KOKOMO           IN     46901‐1418
JEANETTE CORSON                   235 NEWFIELD ST                                                                            BUFFALO          NY     14207‐1201
JEANETTE COTTON                   3211 MEADOWCREST DR                                                                        ANDERSON         IN     46011‐2309
JEANETTE COUCHMAN                 1055 PETER SMITH RD                                                                        KENT             NY     14477‐9729
JEANETTE CRANDELL                 2121 RAYBROOK ST SE RM 336                                                                 GRAND RAPIDS     MI     49546
JEANETTE CREEACH                  417 ASH BURY DR                                                                            SPARTA           TN     38583‐3109
JEANETTE CRIFFIELD                11285 W DR N                                                                               BELLEVUE         MI     49021‐9501
JEANETTE CRUSE                    349 7TH ST SW                                                                              WARREN           OH     44485‐4054
JEANETTE CRUTCHFIELD              3424 FARNSWORTH RD                                                                         LAPEER           MI     48446‐8651
JEANETTE CURRY                    134 N YARROW ST                                                                            OREGON           OH     43616‐1628
JEANETTE CUSIMANO                 PO BOX 302                                                                                 PITTSFORD        NY     14534
JEANETTE D BULLION                4400 ARROWROCK AVE                                                                         DAYTON           OH     45424
JEANETTE D CALLARD                1649 SQUAW CREEK DRIVE                                                                     GIRARD           OH     44420‐3658
JEANETTE D SERFOSS AND WALTER A   1943 W 2ND AVE                                                                             DURANGO          CO     81301
SERFOSS
JEANETTE D SHEPHERD               203 E BRUCE AVE                                                                            DAYTON          OH      45405‐2607
JEANETTE DAFFERN                  1180 S OCEAN BLVD #18D                                                                     BOCA RATON      FL      33432
JEANETTE DANIEL                   540 SO NINTH                                                                               SAGINAW         MI      48601
JEANETTE DANLEY                   153 W CORNELL AVE                                                                          PONTIAC         MI      48340‐2721
JEANETTE DAVENPORT                5157 SPINNING WHEEL DR                                                                     GRAND BLANC     MI      48439‐4229
JEANETTE DAVIS                    4068 OLD GLENN COVE ST                                                                     FAIRBURN        GA      30213
JEANETTE DEAN                     PO BOX 5163                                                                                FLINT           MI      48505‐0163
JEANETTE DEMPSEY                  6683 BAUMHOFF AVE NW                                                                       COMSTOCK PARK   MI      49321‐9723
JEANETTE DEVINE                   12012 E 1325 N                                                                             ODON            IN      47562‐5434
JEANETTE DICKSON                  807 HILLSIDE DR                                                                            DANVILLE        IL      61832‐1914
JEANETTE DIEHL                    9275 E PROSPECT RD                                                                         HILLSBORO       OH      45133‐9060
JEANETTE DIMOCK                   248 HARDING ST                                                                             DEFIANCE        OH      43512‐1358
JEANETTE DOUGLAS                  9130 GREENWAY CT APT L194                                                                  SAGINAW         MI      48609‐6730
JEANETTE DRIVER                   PO BOX 422                                                                                 ALAMO           GA      30411‐0422
JEANETTE DUNCAN                   566 PEYTON RD SW                                                                           ATLANTA         GA      30311‐2303
JEANETTE DUNN                     3706 EDGAR AVE                                                                             ROYAL OAK       MI      48073‐2273
JEANETTE DURBIN                   209 E BUCHANAN ST                                                                          SAINT JOHNS     MI      48879‐2205
JEANETTE DUTTON                   6235 CRESTVIEW DR SE                                                                       COVINGTON       GA      30014‐3211
JEANETTE DYER                     3730 REAGAN AVE                                                                            KNOXVILLE       TN      37919‐4534
JEANETTE E ABRAHAMSON             1631 S LADDIE CT                                                                           DAYTON          OH      45432‐2458
JEANETTE E BOSCO                  1014 N SHERIDAN ST                                                                         BAY CITY        MI      48708‐6057
JEANETTE E GOODEN                 683 EUGENE ST                                                                              YPSILANTI       MI      48198‐6170
JEANETTE E MCDANIEL               PO BOX 2046                                                                                PONTIAC         MI      48343
JEANETTE E REID                   15144 PENROD ST                                                                            DETROIT         MI      48223‐2360
JEANETTE EARLYWINE                9137 N IVANHOE ST                                                                          PORTLAND        OR      97203‐2921
JEANETTE ELDERKIN                 4695 ELDUN RIDGE NW APT 211                                                                COMSTOCK PARK   MI      49321
JEANETTE ELKINS                   5702 GRAY RD                                                                               INDIANAPOLIS    IN      46237‐2451
JEANETTE ENGLISH                  18891 MOENART ST                                                                           DETROIT         MI      48234‐2351
JEANETTE EUSTACHE                 1216 SUPERIOR CT                                                                           SIDNEY          OH      45365‐8179
JEANETTE F JANUS                  46 WINDHAM RD.                                                                             NEWTON FALLS    OH      44444‐1251
JEANETTE FAWCETT                  4713 PALMETTO RD                                                                           BENTON          LA      71006‐9712
JEANETTE FENN                     80 LININGER RD                                                                             GREENVILLE      PA      16125‐9255
JEANETTE FISCHER                  6041 SAN GABRIEL APT C                                                                     KALAMAZOO       MI      49009‐9684
JEANETTE FLETCHER                 3875 ROOT RD                                                                               GASPORT         NY      14067‐9402
JEANETTE FOLTZ                    6 AUGUSTA CT                                                                               TOMS RIVER      NJ      08757
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Name                    Address1                                  Address2                    Address3   Address4               City               State Zip
JEANETTE FOSTER         21831 BELLWOOD ST                                                                                       WOODHAVEN           MI 48183‐1505
JEANETTE FOURMAN        204 SOUTH ALBRIGHT STREET                                                                               ARCANUM             OH 45304‐1204
JEANETTE FRANKLIN       580 DOLORO DR                                                                                           MORRISVILLE         PA 19067‐6833
JEANETTE FRIZZELL       11523 BENTON RD                                                                                         GRAND LEDGE         MI 48837‐9728
JEANETTE FULTON         34 WEST MCKINLEY STREET                                                                                 BROOKVILLE          OH 45309‐1607
JEANETTE FULTON         34 W MCKINLEY ST                                                                                        BROOKVILLE          OH 45309‐1607
JEANETTE G SPENCER      1943 SHIRE CT                                                                                           DAYTON              OH 45414‐1841
JEANETTE GAGNON         24910 MINNETONKA DR                                                                                     KANSASVILLE         WI 53139‐9539
JEANETTE GALLASPEY      4035 WOODMERE DR                                                                                        WATERFORD           MI 48329‐1973
JEANETTE GANZAR         55 SPAR CT                                                                                              PLEASANT HILL       CA 94523‐1213
JEANETTE GARD           1404 RUNNYMEADE WAY                                                                                     XENIA               OH 45385‐7066
JEANETTE GARRETT        2817 S DIXON RD                                                                                         KOKOMO              IN 46902‐2926
JEANETTE GENIAC         5554 W GENESEE ST APT 21                                                                                CAMILLUS            NY 13031‐1339
JEANETTE GERNER         4932 33RD ST                                                                                            DETROIT             MI 48210‐2507
JEANETTE GERRITSEN      29219 GRANT ST                                                                                          SAINT CLAIR SHORES MI 48081‐3214

JEANETTE GILBERT        417 E RIVER ST                                                                                          JONESBORO         IN    46938‐1611
JEANETTE GILBERT        701 BIRCH CT                                                                                            KOKOMO            IN    46902‐5509
JEANETTE GOODE          603 OSMOND AVE                                                                                          DAYTON            OH    45417‐1557
JEANETTE GORDON         606 TANNER RD                                                                                           DACULA            GA    30019‐1413
JEANETTE GRADY          4057 HALF TRINITY ST                                                                                    LOS ANGELES       CA    90011
JEANETTE GRANT          1539 BRANDON AVE                                                                                        CINCINNATI        OH    45230‐1878
JEANETTE GRAY           2110 BRIAR LN                                                                                           BURTON            MI    48509‐1233
JEANETTE GRIMM          2906 SEDGEWICK ST NE                                                                                    WARREN            OH    44483‐3628
JEANETTE GRISWOLD       2627 BELMONT AVE                                                                                        NEW SMYRNA        FL    32168‐5706
                                                                                                                                BEACH
JEANETTE GRITZMAKER     729 CLARK ST APT 60                                                                                     TECUMSEH          MI    49286‐1194
JEANETTE GUNNETT        9798 S ARMSTRONG PL                                                                                     TERRE HAUTE       IN    47802‐9779
JEANETTE H KNOTH        42 FERNWOOD AVENUE                                                                                      DAYTON            OH    45405‐2615
JEANETTE H WILSON       337 W EARLE AVE                                                                                         YOUNGSTOWN        OH    44511
JEANETTE HARDER         225 MEIGS ST                                                                                            SANDUSKY          OH    44870‐2836
JEANETTE HARPER         3645 BIRDSONG LN                                                                                        JANESVILLE        WI    53548‐8505
JEANETTE HARRIS         8633 HONEYTREE STREET                     BUILDING #7 APARTMENT 189                                     CANTON            MI    48187
JEANETTE HASCHER        621 FLORENCE AVE                                                                                        PORT HUENEME      CA    93041‐2842
JEANETTE HAUGH          5225 AUXSABLE RD RT 2                                                                                   MORRIS            IL    60450
JEANETTE HAWKINS        6309 MELINDA DR                                                                                         FOREST HILL       TX    76119‐7655
JEANETTE HAYES          5636 GREER AVE                                                                                          SAINT LOUIS       MO    63120‐1605
JEANETTE HEDGECOCK      719 E 3RD ST                                                                                            BELVIDERE         IL    61008‐4525
JEANETTE HENRY          2828 BIRCHWOOD DR                                                                                       WATERFORD         MI    48329‐3492
JEANETTE HERRING        56928 SILVERSTONE DR                                                                                    THREE RIVERS      MI    49093‐9002
JEANETTE HILL           3002 MICHAEL AVE SW                                                                                     WYOMING           MI    49509‐2760
JEANETTE HOEVE          A‐3951 142ND AVE                                                                                        HOLLAND           MI    49423‐9042
JEANETTE HOFFMAN        31289 CARROLL AVE                                                                                       HAYWARD           CA    94544‐7573
JEANETTE HOLDER         PO BOX 158                                                                                              ALVATON           KY    42122‐0158
JEANETTE HOLMER         8305 PENNSYLVANIA AVE                                                                                   SAINT LOUIS       MO    63111‐3743
JEANETTE HOWARD‐DAVIS   14863 BRAILE ST                                                                                         DETROIT           MI    48223‐2003
JEANETTE HOWELL         318 FOREST AVE                                                                                          CINCINNATI        OH    45229‐2406
JEANETTE HOWZE          26140 WEST 12 MILE RD                     BUILDING 2 APT 210                                            SOUTHFIELD        MI    48034
JEANETTE HOWZE          26140 W. 12 MILE RD. BLDG. 2, APT. #210                                                                 SOUTHFIELD        MI    48034

JEANETTE HUGHES         819 E 24TH AVE                                                                                          NEW SMYRNA         FL   32169‐3607
                                                                                                                                BEACH
JEANETTE HUGHES         4255 SMOKECREEK PKWY LOT 27A                                                                            SNELLVILLE        GA    30039‐6789
JEANETTE HUNTER         82198 E ST                                                                                              PINELLAS PARK     FL    33781‐1754
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Name                                Address1                        Address2              Address3       Address4               City               State   Zip
JEANETTE HUNTER                     10 DORBETH RD                                                                               ROCHESTER           NY     14621‐3214
JEANETTE HUTCHINS                   901 PALLISTER ST APT 1411                                                                   DETROIT             MI     48202‐2677
JEANETTE IMLER                      2729 HATCHER MOUNTAIN RD                                                                    SEVIERVILLE         TN     37862‐8644
JEANETTE J ZATVARNICKY              50 WASHINGTON AVE                                                                           NILES               OH     44446
JEANETTE JANASIK                    23818 FRIAR ST                                                                              WOODLAND HILLS      CA     91367‐1234
JEANETTE JANCZEWSKI                 1103 29TH ST                                                                                BAY CITY            MI     48708‐7947
JEANETTE JANSEN                     1163 FAIRFIELD DR                                                                           HUDSONVILLE         MI     49426‐9489
JEANETTE JAYNES                     1902 32ND ST                                                                                BAY CITY            MI     48708‐8711
JEANETTE JOHNSON                    20409 MAJESTIC DRIVE                                                                        APPLE VALLEY        CA     92308‐5049
JEANETTE JONES                      PO BOX 11987                                                                                SPRING              TX     77391‐1987
JEANETTE JONES                      3501 W 29TH ST                                                                              MUNCIE              IN     47302‐6509
JEANETTE JORDAN                     104 SAGEBRUSH DR                                                                            FLINT               MI     48505‐2756
JEANETTE JURASEK                    8126 GAGE CRES                                                                              STERLING HTS        MI     48314‐3305
JEANETTE KACZMAREK                  2210 32ND ST                                                                                BAY CITY            MI     48708‐8142
JEANETTE KACZOR                     905 OAKVIEW DR                                                                              SAGINAW             MI     48604‐2172
JEANETTE KASHIAN                    28771 LEONA ST                                                                              GARDEN CITY         MI     48135‐2795
JEANETTE KAUFFMAN                   201 LEGION RD                                                                               MILLINGTON          MD     21651‐1537
JEANETTE KING                       10702 SMOKY ROW RD                                                                          GEORGETOWN          OH     45121‐9527
JEANETTE KITT                       234 KARTES DR                                                                               ROCHESTER           NY     14616‐2123
JEANETTE KOESTER                    2763 E WHITEFEATHER RD                                                                      PINCONNING          MI     48650‐8407
JEANETTE KOHLER                     8422 STANLEY RD                                                                             FLUSHING            MI     48433‐1175
JEANETTE KUGLEY                     25652 SHOAL CREEK DR                                                                        MONEE                IL    60449‐8568
JEANETTE KURNIK                     4220 CENTER RD                                                                              LINDEN              MI     48451‐9665
JEANETTE L FENTON                   PO BOX 460                                                                                  PHILLIPSBURG        OH     45354‐0460
JEANETTE L FRAZIER IRA              PO BOX 158807                                                                               NASHVILLE           TN     37215‐8807
JEANETTE L PATTERSON                5976 LIBERTY VIEW CT                                                                        LIBERTY TOWNSHIP    OH     45044

JEANETTE L RAPP                     133 SKYVIEW DRIVE                                                                           VANDALIA           OH      45377‐2234
JEANETTE LATHAM                     7350 RALEIGH WAY                                                                            BETHLEHEM          GA      30620‐4821
JEANETTE LAUZON                     304 EAST UNIVERSITY STREET                                                                  LIVINGSTON         TN      38570‐1510
JEANETTE LAWRENCE                   2086 OAKDALE DR                                                                             WATERFORD          MI      48329‐3855
JEANETTE LEE                        34655 LYNN DR                                                                               ROMULUS            MI      48174‐1509
JEANETTE LETOURNEAU                 717 N CATHERINE ST                                                                          BAY CITY           MI      48706‐4766
JEANETTE LIMBOCKER PERSONAL         C/O BRAYTON PURCELL             222 RUSH LANDING RD                                         NOVATO             CA      94948‐6169
REPRESENTATIVE FOR JOHN W RIGGINS

JEANETTE LIS                        46946 BARBARA DR                                                                            MACOMB             MI      48044‐3118
JEANETTE LOASCHING                  4095 W BALDWIN RD                                                                           GRAND BLANC        MI      48439‐9378
JEANETTE LUTZE                      3347 SHERWOOD RD                                                                            BAY CITY           MI      48706‐1527
JEANETTE M AINSCOUGH                10200 BARAGA ST                                                                             TAYLOR             MI      48180‐3731
JEANETTE M CASEL                    MRS JEANETTE M CASEL            932 JUNE DR                                                 DUBUQUE            IA      52003
JEANETTE M COTTRELL                 220 LOVERS LANE APT 3                                                                       WARREN             OH      44485‐2506
JEANETTE M DANLEY                   48 W FAIRMOUNT AVE                                                                          PONTIAC            MI      48340‐2732
JEANETTE M DAVIS                    4207 WILL‐O‐RUN DR                                                                          JACKSON            MS      39212‐3421
JEANETTE M FOURMAN                  204 S ALBRIGHT ST                                                                           ARCANUM            OH      45304‐1204
JEANETTE M GARD                     1404 RUNNYMEAD WAY                                                                          XENIA              OH      45385‐7066
JEANETTE M JORDON                   104 SAGEBRUSH DR                                                                            FLINT              MI      48505‐2756
JEANETTE M KNIPFER                  7040 DAYTON LIBERTY RD                                                                      DAYTON             OH      45418
JEANETTE M MCCASLIN                 630 PEPER DR                                                                                LEBANON            IN      46052‐2387
JEANETTE M SANDERSON                693 S LEAVITT RD                                                                            LEAVITTSBURG       OH      44430‐9726
JEANETTE M TAORMINO                 907 E RUSSELL RD                                                                            JANESVILLE         WI      53545‐9580
JEANETTE M THIBAULT                 169 KINMONT DR                                                                              ROCHESTER          NY      14612‐3352
JEANETTE M WALKER                   1164 E CORNELL AVE                                                                          FLINT              MI      48505‐1614
JEANETTE M WINELAND                 110 E CENTER ST PMB 363                                                                     MADISON            SD      57042‐2908
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JEANETTE MAENZA            2547 SE 25TH AVE                                                                         CAPE CORAL         FL     33904‐3317
JEANETTE MALUCHNIK         1485 WOODHAVEN CT APT 3                                                                  WATERFORD          MI     48327‐4216
JEANETTE MAMONE            14613 REGENCY DR                                                                         STRONGSVILLE       OH     44149‐4981
JEANETTE MARCHAND          3210 OTIS AVE                                                                            WARREN             MI     48091‐3496
JEANETTE MARSHALL          1295 CAMPBELL ST                                                                         JACKSON            TN     38301‐3554
JEANETTE MATNEY            4173 MISSION TRACE BLVD                                                                  TALLAHASSEE        FL     32303‐1739
JEANETTE MAURER            8277 ALPINE AVE                                                                          SPARTA             MI     49345‐9413
JEANETTE MAYER             1820 NARCISSUS LN                                                                        PORT ROYAL         SC     29935‐1624
JEANETTE MAZENIS           1123 N EDMONDSON AVE APT D18                                                             INDIANAPOLIS       IN     46219‐3527
JEANETTE MC ALISTER        901 S ANDERSON AVE                                                                       GIDEON             MO     63848‐9220
JEANETTE MC DANIEL         PO BOX 2046                                                                              PONTIAC            MI     48343
JEANETTE MC PHERSON        28 WARD PL                                                                               MONTCLAIR          NJ     07042‐3106
JEANETTE MCCASLIN          630 PEPER DR                                                                             LEBANON            IN     46052‐2387
JEANETTE MCGILL            5009 E FLOWER AVE                                                                        MESA               AZ     85206‐2838
JEANETTE MCINTOSH          3520 LAURISTON DR                                                                        NEW CASTLE         IN     47362‐1720
JEANETTE MEE               2126 MUSTANG DR                                                                          MOHAVE VALLEY      AZ     86440‐9383
JEANETTE MEISTER           10809 MASON AVE                                                                          CHICAGO RIDGE       IL    60415‐2235
JEANETTE MILLER            8570 OLD TOWNE WAY                                                                       BOCA RATON         FL     33433‐6202
JEANETTE MILLER            2213 LEIGHTON DR                                                                         SHELBY TOWNSHIP    MI     48317‐2792
JEANETTE MOORE             932 GLENEAGLES RD                                                                        BEAUMONT           CA     92223‐8524
JEANETTE MOREAU            6454 POTTER RD                                                                           BURTON             MI     48509‐1394
JEANETTE MORROW            1009 STELLA MAE DR                                                                       BURLESON           TX     76028‐6956
JEANETTE MREEN             9719 CRAYFORD RD APT A                                                                   SAINT LOUIS        MO     63123‐5484
JEANETTE MUILENBURG        710 TANGLEWOOD DRIVE                                                                     SENECA             SC     29672‐6656
JEANETTE MURILLO           10204 E AVENUE R12                                                                       LITTLEROCK         CA     93543‐1514
JEANETTE MYERS             7726 S CLYDE AVE                                                                         CHICAGO             IL    60649‐4106
JEANETTE N RAKESTRAW       107 CROWN AVE                                                                            DAYTON             OH     45417‐9019
JEANETTE NEITZEL           8001 S 86TH AVE                                                                          JUSTICE             IL    60458‐1438
JEANETTE NEITZEL           1204 S FARRAGUT ST                                                                       BAY CITY           MI     48708‐8014
JEANETTE NEUMEISTER        36 PARK RD                                                                               DAYTON             OH     45419‐3001
JEANETTE NICK              38699 ANN ARBOR TRL                                                                      LIVONIA            MI     48150‐2460
JEANETTE NORTON            212 S COLFAX STREET                                                                      WEST POINT         NE     68788‐1813
JEANETTE OLIVER            1513 FOSTER AVE                                                                          JANESVILLE         WI     53545‐1042
JEANETTE OWEJAN            5185 COUNTY ROAD 36                                                                      HONEOYE            NY     14471‐9375
JEANETTE PAIR              5180 FLINT HILL RD                                                                       AUSTELL            GA     30106‐2706
JEANETTE PALOMARES         1656 W LANCASTER BLVD                                                                    LANCASTER          CA     93534‐2131
JEANETTE PATRICK ASHFORD   1012 LUCAS ST                                                                            ATHENS             AL     35611‐3146
JEANETTE PAYNE             2124 HYDE PARK RD                                                                        DETROIT            MI     48207‐3823
JEANETTE PECORA            10953 96TH ST N.RTH                                                                      LARGO              FL     33773
JEANETTE PEGGS             1203 ABBE RD S                                                                           ELYRIA             OH     44035‐7249
JEANETTE PEOPLES           20100 WINFRED DR                                                                         TANNER             AL     35671‐3537
JEANETTE PEREZ             C/O MERCURY INSURANCE          PO BOX 997195                                             SACRAMENTO         CA     95899
JEANETTE PHENO             11056 104TH PL N               624 2ND AVE NW                                            OSSEO              MN     55369
JEANETTE PHENOW            11056 104TH PL N               624 2ND AVE NW                                            OSSEO              MN     55369
JEANETTE PHENOW            624 2ND AVE NW                                                                           OSSEO              MN     55369
JEANETTE PIERRO            77 OAK ST                                                                                AVENEL             NJ     07001‐1849
JEANETTE PLUMMER           2526 TOMLINSON RD                                                                        CARO               MI     48723‐9325
JEANETTE POHL              11785 GOODWIN RD.                                                                        PEWAMO             MI     48873
JEANETTE PORTER            30024 HALIFAX ST                                                                         WICKLIFFE          OH     44092‐1704
JEANETTE POULIOT           330 N MAIN ST                                                                            WHITINSVILLE       MA     01588‐1855
JEANETTE PRATHER           613 S MAPLE ST                                                                           GREENTOWN          IN     46936‐1654
JEANETTE PREUTH            7926 INCLINE RD                                                                          RUSSELLVILLE       OH     45168‐9751
JEANETTE PRICE             59 GREEN VALLEY ROAD                                                                     FLINT              MI     48506‐5285
JEANETTE PRITCHARD         124 HILLSIDE CT                                                                          JANESVILLE         WI     53545‐4342
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JEANETTE PURSEL         5111 BENNETT ROAD                                                                           TOLEDO            OH     43612‐3443
JEANETTE R COLEMAN      1482 W HUMPHREY AVE                                                                         FLINT             MI     48505‐1029
JEANETTE R ROSE         2846 BOBBIE PLACE                APT 2C                                                     KETTERING         OH     45429
JEANETTE R SINGER       15825 BERLIN STATION RD                                                                     BERLIN CENTER     OH     44401‐8721
JEANETTE RAGSDALE       2840 GRANDVIEW BLVD                                                                         WATERFORD         MI     48329‐2918
JEANETTE RAMEY          2451 WHEELER RD                                                                             BAY CITY          MI     48706‐9484
JEANETTE REAVES         230 AUTUMN GLEN CIR                                                                         FAYETTEVILLE      GA     30215‐6888
JEANETTE REEB           907 CHESTNUT ST                                                                             JONESBORO         AR     72401‐3802
JEANETTE REED           PO BOX 34                                                                                   OAKWOOD           GA     30566‐0001
JEANETTE REID           15144 PENROD ST                                                                             DETROIT           MI     48223‐2360
JEANETTE RIGIERO        2831 BRIDGESIDE DR SE                                                                       CALEDONIA         MI     49316‐8926
JEANETTE ROBB           7422 CROSS CREEK DR                                                                         SWARTZ CREEK      MI     48473‐1497
JEANETTE ROBERSON       2309 SUNNYSIDE DR                                                                           ANDERSON          IN     46013‐2236
JEANETTE ROBIDOU        7368 PINE ST                                                                                TAYLOR            MI     48180‐2273
JEANETTE ROGERS         531 WATERS EDGE DR                                                                          ESTILL SPRINGS    TN     37330‐1606
JEANETTE ROSENTHAL      RIGAER STR. 29                   10247 BERLIN
JEANETTE ROSKOWSKI      38971 KILIMANJARO DR                                                                        PALM DESERT      CA      92211‐7005
JEANETTE RUFFIN         536 W MIDLOTHIAN BLVD                                                                       YOUNGSTOWN       OH      44511‐3262
JEANETTE RUSSELL        452 LINDA VISTA DR                                                                          PONTIAC          MI      48342‐1743
JEANETTE S HARRIS       3550 GINGHAMSBURG FREDERICK RD                                                              TIPP CITY        OH      45371
JEANETTE S WASHINGTON   2136 OIL FIELD LN NW                                                                        BROOKHAVEN       MS      39601
JEANETTE SALTER         1659 THRUSH AVE                                                                             SAN LEANDRO      CA      94578‐2047
JEANETTE SCHATZ         1405 WOODFIELD DR                                                                           NASHVILLE        TN      37211‐6856
JEANETTE SCHMITZ        2701 DONNA AVE                                                                              RACINE           WI      53404‐1815
JEANETTE SCOTT          16315 POPLAR ST                                                                             SOUTHGATE        MI      48195‐2195
JEANETTE SHIPP          1824 KENSINGTON AVE                                                                         YOUNGSTOWN       OH      44505‐2647
JEANETTE SINGER         15825 BERLIN STATION RD                                                                     BERLIN CENTER    OH      44401‐8721
JEANETTE SLIGH          3160 BOOKHAM CIR                                                                            AUBURN HILLS     MI      48326‐2300
JEANETTE SMINK          184 POTOMAC AVE                                                                             TALLMADGE        OH      44278‐2715
JEANETTE SMITH          12809 7TH ST                                                                                GRANDVIEW        MO      64030‐2313
JEANETTE SMITH          5006 NORTHCREST DR                                                                          DAYTON           OH      45414‐3714
JEANETTE SMITH          24841 ORCHARD ST                                                                            TAYLOR           MI      48180‐5194
JEANETTE SMITH          4500 POMMORE                                                                                MILFORD          MI      48380‐1138
JEANETTE SOLOMON        18245 FENTON ST                                                                             DETROIT          MI      48219‐3067
JEANETTE SPANARKEL      80 W 37TH ST                                                                                BAYONNE          NJ      07002‐2908
JEANETTE SPEECH         4690 NORDELL DR                                                                             JACKSON          MS      39206‐3346
JEANETTE SPURY          47 HERITAGE WAY                                                                             MANCHESTER       NH      03104‐5764
JEANETTE STAROSTANKO    595 CHERRY RIDGE DRIVE                                                                      TRAVERSE CITY    MI      49686‐9399
JEANETTE STEPPER        KELTERSTRASSE 80                                                  D‐75217 BIRKENFELD
                                                                                          GERMANY
JEANETTE STEPPER        KELTERSTR. 80                    75217 BIRKENFELD
JEANETTE STEVENSON      30 KLEIN ST                                                                                 ROCHESTER        NY      14621‐3508
JEANETTE STOMBER        15587 SUMMIT PLACE CIR                                                                      NAPLES           FL      34119‐4127
JEANETTE STUMP          500 MILLWOOD MEADOWS DR                                                                     ENGLEWOOD        OH      45322‐2573
JEANETTE SWAFFORD       216 BRIMK ST                                                                                GRANT            MI      49327
JEANETTE SWIFT          1543 CLEVELAND AVE                                                                          LINCOLN PARK     MI      48146‐2336
JEANETTE SWOL           8012 INTERLAKE RD                                                                           HATTON           ND      58240‐9058
JEANETTE T BEAN         228 BLUE SPRUCE DR                                                                          PAGOSA SPRINGS   CO      81147
JEANETTE TAGGET         6363 COLE RD                                                                                SAGINAW          MI      48601‐9718
JEANETTE TAORMINO       907 E RUSSELL RD                                                                            JANESVILLE       WI      53545‐9580
JEANETTE TAYLOR         1252 FAIRFAX ST                                                                             BIRMINGHAM       MI      48009‐1084
JEANETTE THARP          3206 PRATTE RD                                                                              BONNE TERRE      MO      63628‐3743
JEANETTE THIBAULT       169 KINMONT DR                                                                              ROCHESTER        NY      14612‐3352
JEANETTE THOMAS         129 E 70TH ST                                                                               CHICAGO          IL      60637‐4505
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Name                     Address1                            Address2                     Address3   Address4               City               State Zip
JEANETTE THOMAS          1721 E HOLLAND AVE                                                                                 SAGINAW             MI 48601‐3001
JEANETTE THOMAS          6485 SALINE DR                                                                                     WATERFORD           MI 48329‐1377
JEANETTE THOMASON        485 LA VISTA RD W                   PINE VILLA                                                     LODI                OH 44254‐1118
JEANETTE THOMPSON        1104 HOLMAN DRIVE                                                                                  MARION              IN 46952‐1524
JEANETTE THURMAN         2320 N BULLIS RD                                                                                   COMPTON             CA 90221‐1240
JEANETTE TINKER          10576 GLENN AVE                                                                                    SAINT HELEN         MI 48656‐9608
JEANETTE TOFIL           208 STRUTHERS LIBERTY RD                                                                           CAMPBELL            OH 44405‐1967
JEANETTE TOLERSON        701 E NORTH ST                                                                                     KOKOMO              IN 46901‐3052
JEANETTE TOLLEFSON       600 W WALTON BLVD APT 353                                                                          PONTIAC             MI 48340‐3502
JEANETTE TROTT           1730 NEWFIELD RD                                                                                   COLUMBUS            OH 43209‐3276
JEANETTE TRUE            4327 RUTGERS DRIVE                                                                                 ANDERSON            IN 46013‐4440
JEANETTE TSUTSUI         9574 TARBERT DR                                                                                    ELK GROVE           CA 95758
JEANETTE TUCKER          5009 DECKERVILLE RD                                                                                LUPTON              MI 48635‐8731
JEANETTE TURNER          2204 STATE ROUTE 133                                                                               BETHEL              OH 45106‐8507
JEANETTE V MATNEY        PO BOX 181394                                                                                      TALLAHASSEE         FL 32318‐0013
JEANETTE VAN OOSTERWYK   3100 NORTH DR                                                                                      SAINT CLAIR SHORES MI 48082‐3043

JEANETTE VANSCODER       4221 E MCDOWELL RD APT 2027                                                                        PHOENIX            AZ   85008‐7413
JEANETTE VAUGHAN         1130 LAKE MEADOW LN                                                                                BRUNSWICK          OH   44212‐5304
JEANETTE W WALKER        1095 E GRAND BLVD                                                                                  FLINT              MI   48505‐1505
JEANETTE WALKER          G1164 EAST CORNELL AVE                                                                             FLINT              MI   48505
JEANETTE WALTERS         1701 KENWOOD AVE                                                                                   FLINT              MI   48503‐4710
JEANETTE WALTON          PO BOX 153                                                                                         ORFORDVILLE        WI   53576‐0153
JEANETTE WARD            13355 CHIPPEWA TRL                                                                                 JOHANNESBURG       MI   49751‐9610
JEANETTE WARNER          4015 ELDERON AVE                                                                                   BALTIMORE          MD   21215‐4901
JEANETTE WARRUM          510 S BRACKNEY ST                                                                                  BROOKSTON          IN   47923‐8424
JEANETTE WASCHER         300 NORBERT                                                                                        HINSDALE           IL   60527
JEANETTE WATSON          PO BOX 323                                                                                         CATLIN             IL   61817‐0323
JEANETTE WATTS           164 ARCHIE DR                                                                                      ALBANY             GA   31707‐1238
JEANETTE WEBB            1127 ELKHART CIR                                                                                   TAVARES            FL   32778‐2532
JEANETTE WELLS           2505 LYNNWOOD DR APT 107                                                                           ARLINGTON          TX   76013‐6716
JEANETTE WELLS           BEVAN & ASSOCIATES LPA INC          6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH   44236
JEANETTE WEST            1109 BLUEWILLOW CT                                                                                 ANTIOCH            TN   37013‐1607
JEANETTE WEST            7927 GLACIER CLUB DR                                                                               WASHINGTON         MI   48094‐2226
JEANETTE WHITE           3514 N DENNY ST                                                                                    INDIANAPOLIS       IN   46218‐1418
JEANETTE WIESZCHOLEK     4586 CAMP RD                                                                                       HAMBURG            NY   14075‐2506
JEANETTE WILLIAMS        317 BROOKE LYN WAY                                                                                 PLEASANT GROVE     AL   35127
JEANETTE WILSON          927 BUTLER ST                                                                                      TOLEDO             OH   43605‐2911
JEANETTE WILSON          4404 S ELMS RD                                                                                     SWARTZ CREEK       MI   48473‐1565
JEANETTE WINELAND        110 E CENTER ST PMB 363                                                                            MADISON            SD   57042‐2908
JEANETTE WINKLE          APT 404                             980 WILMINGTON AVENUE                                          DAYTON             OH   45420‐1620
JEANETTE WINKLE          1500 NC HIGHWAY 101 TRLR 23                                                                        HAVELOCK           NC   28532‐9207
JEANETTE WITHEROW        4238 W HAWTHORNE TRACE RD APT 106                                                                  BROWN DEER         WI   53209‐1026

JEANETTE WOLFE           3309 N HARRISON RD                                                                                 MUNCIE             IN   47304‐9512
JEANETTE WOLFGANG        543 WHITE RD                                                                                       GLADWIN            MI   48624‐8481
JEANETTE WOLFORD         8904 WOESTBOUL ST                                                                                  EAST SAINT LOUIS   IL   62203‐2220
JEANETTE X BOLES         1784 EILEEN ST                                                                                     YPSILANTI          MI   48198‐6238
JEANETTE YOUNG           3930 AUGUSTA ST                                                                                    FLINT              MI   48532‐5274
JEANETTE YOUNG           1425 NEUBERT AVE                                                                                   FLINT              MI   48507‐1528
JEANETTE ZIELINSKI       2737 BULLOCK RD                                                                                    BAY CITY           MI   48708‐4916
JEANETTIA BRONNENBERG    4314 HEATHROW DR                                                                                   ANDERSON           IN   46013‐4428
JEANFREAU, RENE P        PO BOX 1981                                                                                        LAUREL             MS   39441‐1981
JEANI ANDERSON           C/O JEANI'S DESIGN                  6080 S. HULEN #298                                             FORT WORTH         TX   76132
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Name                         Address1                      Address2                      Address3                 Address4               City            State   Zip
JEANIE CYPRET‐TRETHEWEY      PO BOX 20                                                                                                   ORTONVILLE       MI     48462‐0020
JEANIE DENSTEDT              6800 WOONSOCKET ST                                                                                          CANTON           MI     48187‐2752
JEANIE FOOTE                 5232 SHERRILL DR                                                                                            FORT WAYNE       IN     46806‐3546
JEANIE M DENSTEDT            6800 WOONSOCKET ST                                                                                          CANTON           MI     48187‐2752
JEANIE PALMER                5140 SWEET HOME RD                                                                                          NIAGARA FALLS    NY     14305‐3601
JEANIE PRICE                 1738 LAURIE DR                                                                                              YOUNGSTOWN       OH     44511‐1045
JEANIE RODENBERG             3030 AUTUMN LN                                                                                              JANESVILLE       WI     53546‐4356
JEANIE RUNNING               3210 LAWNDALE ROAD                                                                                          ROANOKE          VA     24018‐3112
JEANIE SARGENT               2 PRISCILLA LN                                                                                              LOCKPORT         NY     14094‐3313
JEANIE WOBSER                12520 ETCHWATER DR APT 405                                                                                  LAKEWOOD         OH     44107
JEANIE YOUNG                 1717 RING ST                                                                                                SAGINAW          MI     48602‐1142
JEANINE A BINIASZEWSKI       6372 GREENFIELD WAY                                                                                         HUBER HEIGHTS    OH     45424
JEANINE A LUZZI              130 PLYMOUTH AVE S                                                                                          SYRACUSE         NY     13211‐1836
JEANINE A MILLER             501 ROSEGARDEN DR. NE.                                                                                      WARREN           OH     44484
JEANINE A SHONK              6714 TEAL CT                                                                                                ORIENT           OH     43146‐9237
JEANINE BROWN                809 ROXHOLLY LN                                                                                             BUFORD           GA     30518‐8519
JEANINE BUCKLEY              175 WEST 90TH STREET, #5C                                                                                   NEW YORK         NY     10024
JEANINE CHAMBERS             4122 SANDFORT RD                                                                                            PHENIX CITY      AL     36869‐3204
JEANINE DIEWALD              163 ALLENHURST AVE                                                                                          ROYAL OAK        MI     48067‐3269
JEANINE EMERY                5167 OLD COLONY RD NW                                                                                       WARREN           OH     44481‐9154
JEANINE F SILBAUGH           922 PERKINS JONES RD NE                                                                                     WARREN           OH     44483
JEANINE FISETTE              PO BOX 563                                                                                                  BIRCH RUN        MI     48415‐0563
JEANINE FOSTER               404 TRUMAN AVE                                                                                              CLINTON          MO     64735‐2960
JEANINE HARTON‐SOMA          7234 LAKE FOREST GLN                                                                                        BRADENTON        FL     34202‐7903
JEANINE KROGULECKI           39325 RICHLAND ST                                                                                           LIVONIA          MI     48150‐2474
JEANINE L RICE               3597 LOCKPORT OLCOTT RD                                                                                     LOCKPORT         NY     14094‐1146
JEANINE LEWIS                1900 DEERFIELD CT APT 2                                                                                     LANCASTER        OH     43130‐3481
JEANINE LEWIS                20798 SUMMIT RD               PINEKNOLL ESTATES                                                             NOBLESVILLE      IN     46062‐8304
JEANINE M BROWN              809 ROXHOLLY LN                                                                                             BUFORD           GA     30518‐8519
JEANINE M SIBBLE             211 E MOLLOY RD APT 202                                                                                     SYRACUSE         NY     13211‐1667
JEANINE O LEWIS              1900 DEERFIELD COURT          APT #2                                                                        LANGCASTER       OH     43130
JEANINE P OCONNOR            847 EUGENE ST                                                                                               YPSILANTI        MI     48198‐6168
JEANINE PALACIOS             908 MAPLE ST                                                                                                EATON RAPIDS     MI     48827‐1838
JEANINE R BROWN              1662 PARKWOOD AVE                                                                                           YPSILANTI        MI     48198‐6036
JEANINE RICE                 3597 LOCKPORT OLCOTT RD                                                                                     LOCKPORT         NY     14094‐1146
JEANINE S WARREN             PO BOX 559                                                                                                  NEWTON FALLS     OH     44444‐0559
JEANINE SCOZZARO             PO BOX 152                                                                                                  CONTINENTAL      OH     45831‐0152
JEANINE SHARPE               6470 FARMINGTON CIR                                                                                         CANFIELD         OH     44406‐9057
JEANINE SHONK                6714 TEAL CT                                                                                                ORIENT           OH     43146‐9237
JEANINE SMITH                1933 GREENBRIAR LN                                                                                          FLINT            MI     48507‐2283
JEANINE TERRANOVA            143 IMPERIAL DR                                                                                             AMHERST          NY     14226‐1538
JEANINE THIEKE               1304 RUHL MEADOWS CT                                                                                        KOKOMO           IN     46902‐9771
JEANINE WAKEFIELD            PO BOX 788                                                                                                  FLORENCE         AZ     85232‐0788
JEANINE WARREN               PO BOX 559                                                                                                  NEWTON FALLS     OH     44444‐0559
JEANINNE BELLANGER‐GLEASON   4235 W LAKE RD                                                                                              CLIO             MI     48420‐8852
JEANIS, LEWIS G              4864 MATTERHORN DR                                                                                          WICHITA FALLS    TX     76310‐2447
JEANLOR MARIE                JEANLOR, MARIE                ADAM HURTIG                   8751 WEST BROWARD BLVD                          PLANTATION       FL     33324
                                                                                         STE 410
JEANLOR MARIE                MIGNANO TREE CARE             ADAM HURTIG                   8751 WEST BROWARD BLVD                          PLANTATION       FL     33324
                                                                                         STE 410
JEANLOR MARIE                MONTE, VICKI                  ADAM HURTIG                   8751 WEST BROWARD BLVD                          PLANTATION       FL     33324
                                                                                         STE 410
JEANLOR, MARIE               ADAM HURTIG                   8751 W BROWARD BLVD STE 410                                                   PLANTATION       FL     33324‐2632
JEANLOR, MARIE
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Name                             Address1                               Address2                   Address3   Address4               City            State   Zip
JEANMARIE WAGNER                 1812 E ELMDALE CT                                                                                   SHOREWOOD        WI     53211‐2338
JEANMENNE, ROBERT A              106 BLYTHE RD                                                                                       CHARLEROI        PA     15022‐3305
JEANNA ALMASHY                   6820 STATE ROUTE 225                                                                                RAVENNA          OH     44266‐9299
JEANNA JOHNSON                   380 ROCKY SPRINGS DR                                                                                BLACKLICK        OH     43004‐9618
JEANNE A CARGES‐ARIENO           16 TIMBER TRAIL                                                                                     BROCKPORT        NY     14420‐2522
JEANNE A JASPER                  1043 CARLSON DR                                                                                     BURTON           MI     48509‐2325
JEANNE A KEISTER                 525 GLENN AVENUE                                                                                    NEW CARLISLE     OH     45344‐1544
JEANNE A SCHISLER                7745 BROOKWOOD ST NE                                                                                WARREN           OH     44484
JEANNE ADAMS                     18238 KENTFIELD ST                                                                                  DETROIT          MI     48219‐5703
JEANNE ANGERS                    133 S DOHENY DR APT 407                                                                             LOS ANGELES      CA     90048‐2900
JEANNE AREHART                   3036 S P ST                                                                                         ELWOOD           IN     46036‐9625
JEANNE AUMAUGHER                 7347 ADELLE CT                                                                                      FLUSHING         MI     48433‐8819
JEANNE B DAY                     8479 N 400 W                                                                                        MIDDLETOWN       IN     47356
JEANNE B EISSMAN                 4451 WINDING OAKS CIRCLE                                                                            MULBERRY         FL     33860
JEANNE BAITY                     5608 RIDGELINE AVE                                                                                  LAS VEGAS        NV     89107‐1510
JEANNE BANNON                    1354 PRATT DR                                                                                       LAPEER           MI     48446‐2933
JEANNE BARON                     1205 JAY ST                                                                                         WATERFORD        MI     48327‐2929
JEANNE BARRETT                   2679 PEBBLE BEACH DR                                                                                OAKLAND          MI     48363‐2450
JEANNE BAYLES                    327 N PINE AVE                                                                                      WHITE CLOUD      MI     49349‐9559
JEANNE BECKER                    22951 STATE ROAD 4                                                                                  LAKEVILLE        IN     46536
JEANNE BEEBE                     9490 N WEBSTER RD                                                                                   CLIO             MI     48420‐8546
JEANNE BERTLANEY                 PO BOX 516                                                                                          LAKE HELEN       FL     32744‐0516
JEANNE BISH                      1629 WOODHILL DR                                                                                    ROSEVILLE        CA     95661‐5129
JEANNE BITTER                    2112 ARBOR OAKS DR                                                                                  MARIETTA         GA     30062‐7761
JEANNE BOYLE                     22711 CLINTON ST                                                                                    TAYLOR           MI     48180‐4102
JEANNE BRANZOLEWSKI              27131 LONG LAKE RD                                                                                  WIND LAKE        WI     53185‐2034
JEANNE BREMER                    7754 SUNSHINE LN                                                                                    ZOLFO SPRINGS    FL     33890‐3406
JEANNE BROAD                     194 CHARLEVOIX AVE                                                                                  GROSSE POINTE    MI     48236‐3545
                                                                                                                                     FARMS
JEANNE BROBST                    PO BOX 261                                                                                          FRANKTON         IN     46044‐0261
JEANNE BROOKS                    31734 ROBINHOOD DR                                                                                  BEVERLY HILLS    MI     48025‐3535
JEANNE BROWN                     2905 SENECA ST                                                                                      FLINT            MI     48504‐2561
JEANNE BRYANT                    4205 EPPERLY DR                                                                                     DEL CITY         OK     73115‐3725
JEANNE BUCHER                    12685 E 79TH ST                                                                                     INDIANAPOLIS     IN     46236‐8536
JEANNE BURGESS                   3502 CLAIRMONT ST                                                                                   FLINT            MI     48503‐6608
JEANNE BURK                      7817 S RIVER RD                                                                                     DALEVILLE        IN     47334‐9137
JEANNE BURNS                     2766 PALMER DR                                                                                      DAVISON          MI     48423‐7823
JEANNE BYRD                      4483 SUNSET BLVD                                                                                    GRAND BLANC      MI     48439‐9055
JEANNE C JIRUSKA SUPPORT TRUST   RODNEY JIRUSKA & DAVID JIRUSKA TTEES   4349 FOX MEADOW DR SE                                        CEDAR RAPIDS     IA     52403

JEANNE CAMPBELL                  7977 W WACKER RD UNIT 188                                                                           PEORIA          AZ      85381‐4067
JEANNE CAMPBELL                  6498 DALTON DR                                                                                      FLUSHING        MI      48433‐2333
JEANNE CANDIA                    390 REISLING DR                                                                                     BRASELTON       GA      30517‐5316
JEANNE CAOUETTE                  29 PRAIRIE AVE                                                                                      BELLINGHAM      MA      02019‐1941
JEANNE CAREY                     2301 DOVER ST                                                                                       ANDERSON        IN      46013‐3125
JEANNE CASE                      2361 BINGHAM RD                                                                                     CLIO            MI      48420‐1954
JEANNE CASPER                    769 S FREMONT ST                                                                                    JANESVILLE      WI      53545‐4917
JEANNE CHANDLEE                  801 E MAIN ST APT 21                                                                                ROGERSVILLE     TN      37857‐2768
JEANNE CHAVEZ                    18428 LEMARSH ST UNIT 61                                                                            NORTHRIDGE      CA      91325‐1080
JEANNE CHIMINSKI                 4891 FAIRGROVE LN                                                                                   COMMERCE        MI      48382‐1573
                                                                                                                                     TOWNSHIP
JEANNE CLARK                     116 ANASTASIA LAKES DR                 C/O MARY KATHLEEN RUCKER                                     ST AUGUSTINE    FL      32080‐6104
JEANNE COLLEY                    7475 MORROW COZADDALE RD                                                                            MORROW          OH      45152‐8445
JEANNE COOMBS                    691 5TH ST                                                                                          NILES           OH      44446‐1011
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Name                  Address1                         Address2               Address3      Address4               City               State   Zip
JEANNE CRAIG          1343 IRWIN DR                                                                                WATERFORD           MI     48327‐2025
JEANNE D SOMERVILLE   580 PERKINS DRIVE NW             APT 4                                                       WARREN              OH     44483
JEANNE DALTON         837 OXFORD ST S                                                                              AUBURN              MA     01501‐1844
JEANNE DARIN          2366 JOHN R RD APT 103                                                                       TROY                MI     48083‐2573
JEANNE DAY            8479 N 400 W                                                                                 MIDDLETOWN          IN     47356
JEANNE DECKER         42399 WINDY GAP DR                                                                           AHWAHNEE            CA     93601‐9666
JEANNE DOROTHY        APT B                            6719 CREEK BAY DRIVE                                        INDIANAPOLIS        IN     46217‐3070
JEANNE DUGAN          PO BOX 86                                                                                    BRIDGEPORT          NY     13030‐0086
JEANNE DUVAL          61 BELLEVUE AVE                                                                              BRISTOL             CT     06010‐5815
JEANNE E MOORE        19727 DEAN ST                                                                                DETROIT             MI     48234‐2005
JEANNE EAKINS         560 PIERCE DR                                                                                YOUNGSTOWN          OH     44511
JEANNE EHLERT         6564 TEXAS PRAIRIE RD 42B                                                                    ODESSA              MO     64076
JEANNE ELAM           390 KACHINA CIR                                                                              LAS VEGAS           NV     89123‐2200
JEANNE ENGLE          8092 BUCKLEY RD                                                                              LE ROY              NY     14482‐9326
JEANNE FARMER         4125 INGRAM DR                                                                               JANESVILLE          WI     53546‐3432
JEANNE FLEES          4008 W KIEHNAU AVE                                                                           MILWAUKEE           WI     53209‐3023
JEANNE FRAZIER        37069 BRADFORD DR APT 219                                                                    STERLING HEIGHTS    MI     48312‐2439
JEANNE G PETERS       1285 BEDFORD RD                                                                              MASURY              OH     44438‐1402
JEANNE GARD           PO BOX 1843                                                                                  FRAZIER PARK        CA     93225
JEANNE GAROFALO       4 OCEANS WEST BLVD APT 806D                                                                  DAYTONA BEACH       FL     32118‐5979
                                                                                                                   SHORES
JEANNE GENTILE        532 CONCORD DR                                                                               WHITE LAKE          MI     48386‐4360
JEANNE GIFFORD        8432 BELLECHASSE DR                                                                          DAVISON             MI     48423‐2121
JEANNE GOMBOS
JEANNE GORAL          26342 FALLING LEAF DR                                                                        WARRENTON          MO      63383‐7132
JEANNE GOULD          6102 BOB DR                                                                                  YPSILANTI          MI      48197‐8284
JEANNE H ENGLE        8092 BUCKLEY RD                                                                              LEROY              NY      14482
JEANNE HANNAN         1000 HOLLYWOOD AVE                                                                           GROSSE POINTE      MI      48236‐1368
                                                                                                                   WOODS
JEANNE HARRELL        132 CHERRY LN                                                                                IVANHOE            VA      24350‐3008
JEANNE HAYDEN         1404 JEFFREY DR                                                                              ANDERSON           IN      46011‐1579
JEANNE HEATH          7415 MCFARLAND RD                                                                            INDIANAPOLIS       IN      46227‐7959
JEANNE HEIDENREICH    4360 MAPLEWOOD MEADOWS AVE                                                                   GRAND BLANC        MI      48439‐8799
JEANNE HEINEMANN      104 OLD RTE 518 E                                                                            LAMBERTVILLE       NJ      08530‐2619
JEANNE HENDERSON      4524 SHOREVIEW DR                                                                            CANTON             MI      48188‐2391
JEANNE HICKS          2121 FISHER AVE                                                                              SPEEDWAY           IN      46224‐5030
JEANNE HOFFMAN        1541 POLK DR                                                                                 BRUNSWICK          OH      44212‐3713
JEANNE HORNE          56 PLEASANT ST                                                                               WHITMAN            MA      02382‐2118
JEANNE HOWARD         1500 PALISADE AVENUE                                                                         FORT LEE           NJ      07024
JEANNE HUDAK          20151 BONNIE BANK BLVD                                                                       ROCKY RIVER        OH      44116‐4118
JEANNE IVERSEN        13241 TAYLOR RD                                                                              MILLINGTON         MI      48746‐9214
JEANNE JASPER         1043 CARLSON DR                                                                              BURTON             MI      48509‐2325
JEANNE JONES          13289 W SOUTH RANGE RD                                                                       SALEM              OH      44460‐9661
JEANNE K GARD         6172 SANDBURY DR                                                                             HUBER HEIGHTS      OH      45424
JEANNE KESSLER        4343 WINTERWOOD LN                                                                           SAGINAW            MI      48603‐8672
JEANNE KIDLE          4495 SAINT MARTINS DR                                                                        FLINT              MI      48507‐3726
JEANNE KINSLEY        10405 SW 92ND CT                                                                             OCALA              FL      34481‐9515
JEANNE KISCHKAU       323 W GRAMERCY AVE                                                                           TOLEDO             OH      43612‐2560
JEANNE KLEIN          4928 CHURCH RD                                                                               TRAVERSE CITY      MI      49684‐9699
JEANNE KLEINFELD      4407 STATE ST                    C/O SANDRA PERRY                                            SAGINAW            MI      48603‐4031
JEANNE KORDUS         26724 OAK LN                                                                                 WIND LAKE          WI      53185‐2108
JEANNE KOZLOWSKI      7618 W NORWOOD LN                                                                            FRANKLIN           WI      53132‐9202
JEANNE KUTZKO         4 EMILY DR                                                                                   WEST BOYLSTON      MA      01583‐2122
JEANNE L CAMPBELL     7977 WEST WACKER RD              APT 188                                                     PEORIA             AZ      85381
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Name                Address1                       Address2            Address3         Address4               City               State   Zip
JEANNE L LINDSEY    101 N BROWNSCHOOL RD                                                                       VANDALIA            OH     45377
JEANNE LAPINE       5620 MACKINAW RD                                                                           SAGINAW             MI     48604‐9769
JEANNE LEWIS        1169 COUNTY STREET 2955                                                                    TUTTLE              OK     73089‐3138
JEANNE LINDSAY      714 MARQUETTE DR SW                                                                        POPLAR GROVE         IL    61065‐8950
JEANNE LINDSEY      101 N BROWN SCHOOL RD                                                                      VANDALIA            OH     45377‐2807
JEANNE LIUZZI       7465 CHESTNUT RIDGE RD                                                                     LOCKPORT            NY     14094‐3505
JEANNE LOBERT       6398 VALLEY TRL                                                                            DIMONDALE           MI     48821‐9517
JEANNE LUDEMAN      2405 S COUNTRY LN                                                                          BELOIT              WI     53511‐8438
JEANNE M BLAKE      7199 CHULA VISTA LN                                                                        BLOOMFIELD HILLS    MI     48301
JEANNE M BURNS      2766 PALMER DR                                                                             DAVISON             MI     48423‐7823
JEANNE M NORRIS     10500 LAKE SHORE DR                                                                        FENTON              MI     48430‐2424
JEANNE M WIMPEY     186 RIVERS EDGE DR                                                                         HAYESVILLE          NC     28904
JEANNE M WOLF       14758 ELROND DR                                                                            STERLING HTS        MI     48313‐5625
JEANNE MARBLE       16983 NORBORNE                                                                             REDFORD             MI     48240‐2484
JEANNE MAXEY        150 BEE BR                                                                                 BRANCHLAND          WV     25506‐9757
JEANNE MAY          825 FRASHIER RD                                                                            CARROLLTON          GA     30116‐7434
JEANNE MAYAN        PO BOX 524                     602 MELZE                                                   MERRILL             MI     48637‐0524
JEANNE MCCLOSKEY    2535 CORONADO FL                                                                           VISTA               CA     92081
JEANNE MERCHANT     909 LANGLEY RD                                                                             ROCHESTER HILLS     MI     48309‐1504
JEANNE MILICIC      700 WOODROW AVE                                                                            WICKLIFFE           OH     44092‐2159
JEANNE MONTGOMERY   1977 STRUBLE RD                                                                            CINCINNATI          OH     45231‐1945
JEANNE MOORE        19727 DEAN ST                                                                              DETROIT             MI     48234‐2005
JEANNE MORRIS       77 HOMESTEAD DR                                                                            N TONAWANDA         NY     14120‐2451
JEANNE MORRISON     370 WILSON AVE                                                                             JANESVILLE          WI     53548‐4739
JEANNE NEIDBALSON   6310 ARCHWOOD RD                                                                           INDEPENDENCE        OH     44131‐4904
JEANNE NORRIS       10500 LAKE SHORE DR                                                                        FENTON              MI     48430‐2424
JEANNE O'NEAL       1105 S MASONIC ST                                                                          DELPHI              IN     46923‐1625
JEANNE OLES         2340 GOLDEN ST SW                                                                          WYOMING             MI     49519‐3232
JEANNE PARKER       2190 HASLETT RD                                                                            WILLIAMSTON         MI     48895‐9624
JEANNE PARKS        PO BOX 4189                                                                                ARIZONA CITY        AZ     85223‐2680
JEANNE PETERS       1285 BEDFORD RD                                                                            MASURY              OH     44438‐1402
JEANNE PETRICK      3208 STARKWEATHER ST                                                                       FLINT               MI     48506‐2620
JEANNE PETRU        PO BOX 508                                                                                 CHESANING           MI     48616‐0508
JEANNE PFEIFFER     501 SPRING LN                                                                              FLUSHING            MI     48433‐1928
JEANNE PICKEL       9164 S 750 W                                                                               PENDLETON           IN     46064‐9756
JEANNE PIECUCH      203 ROXBURY PARK                                                                           EAST AMHERST        NY     14051‐1775
JEANNE PIORO        58684 WALLINGTON                                                                           WASHINGTON          MI     48094‐2776
JEANNE POLAN        54591 COVENTRY LN                                                                          SHELBY TOWNSHIP     MI     48315‐1621
JEANNE POLLOCK      9039 LOWELL LN                                                                             NORTHFIELD          OH     44067‐2655
JEANNE POTVIN       1502 W YALE AVE                                                                            FLINT               MI     48505‐1122
JEANNE PUTNAM       160 QUARRY HILL EST 160                                                                    AKRON               NY     14001
JEANNE R GILLIS     6464 STATE ROUTE 305                                                                       FOWLER              OH     44418‐9716
JEANNE R MORGAN     4419 FILBURN LN                                                                            TROTWOOD            OH     45426
JEANNE RAMIREZ      4201 BRUNSWICK AVE                                                                         FLINT               MI     48507‐2528
JEANNE REIMBOLD     138 HAZELWOOD DR                                                                           PRUDENVILLE         MI     48651‐9579
JEANNE RITTER       1800 PERRYSVILLE RD LOT 45                                                                 DANVILLE             IL    61834‐7756
JEANNE ROSE         1155 E STANLEY RD                                                                          MOUNT MORRIS        MI     48458‐2549
JEANNE ROSE         3000 MEADOW LN NE APT 206                                                                  WARREN              OH     44483‐2625
JEANNE ROWLAND      1734 PUEBLO DR                                                                             XENIA               OH     45385‐4227
JEANNE S LICARI     28838 DIESING DRIVE                                                                        MADISON HGTS        MI     48071‐4540
JEANNE S ZIELKE     21 ROTH ST                                                                                 BATTLE CREEK        MI     49015‐2015
JEANNE SALINAS      2207 TAFT STREET                                                                           SAGINAW             MI     48602‐3856
JEANNE SALMEN       822 TOPAZ ST                                                                               NEW ORLEANS         LA     70124
JEANNE SCHERER      11005 FUMAR LN                                                                             KELLER              TX     76248‐4826
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Name                         Address1                        Address2                        Address3                   Address4               City            State   Zip
JEANNE SCOTT                 268 W FOREST AVE                                                                                                  ENGLEWOOD        NJ     07631‐3804
JEANNE SLATE                 22906 LAKE WAY                                                                                                    FARMINGTON       MI     48336‐3212
JEANNE SMITH                 3723 E 116TH ST                                                                                                   CARMEL           IN     46033‐3378
JEANNE SMITH                 PO BOX 9163                                                                                                       BOSSIER CITY     LA     71113‐9163
JEANNE SMITH                 42985 RIVER BEND DRIVE                                                                                            PLYMOUTH         MI     48170‐3683
JEANNE SOCWELL               PO BOX 387                      422 N GILBERT ST                                                                  FOOTVILLE        WI     53537‐0387
JEANNE SOMERVILLE            580 PERKINS DR NW APT 4                                                                                           WARREN           OH     44483‐4634
JEANNE SPENCER‐GRAHAM        42394 KINGSLEY DR                                                                                                 CLINTON TWP      MI     48038‐1672
JEANNE STEPHENS DAVIS TTEE   819 ARGUELLO RD                                                                                                   SANTA BARBARA    CA     93103
JEANNE STRITTMATTER          1234 REYNOLDS RD LOT 138                                                                                          LAKELAND         FL     33801‐6449
JEANNE SWISHER               122 CEDARWOOD RD                                                                                                  ROCHESTER        NY     14617‐3853
JEANNE T CREAGH              34435 N OLD WALNUT #206                                                                                           GURNEE            IL    60031
JEANNE TAYLOR                433 HOLLAND STREET                                                                                                MARINE CITY      MI     48039‐3425
JEANNE TERRANA               229 SUN SWEPT DR                                                                                                  TROY             MO     63379‐3909
JEANNE TOKARCZYK             927 RIVERVIEW BLVD                                                                                                TONAWANDA        NY     14150‐7865
JEANNE TURNER                11514 DELVIN DR                                                                                                   STERLING HTS     MI     48314‐2609
JEANNE TWASKAS               450 GULF OF MEXICO DR 205B      BAY HARBOUR                                                                       LONGBOAT KEY     FL     34228
JEANNE W PETERMANN           N7448 COUNTY ROAD J                                                                                               PLYMOUTH         WI     53073
JEANNE WALKOWIAK             2189 BLAMER RD                                                                                                    FAIRVIEW         MI     48621‐9771
JEANNE WARWICK               9851 LOGAN LN                                                                                                     FISHERS          IN     46037
JEANNE WASHBURN              320 S 3RD AVE APT 610                                                                                             SIOUX FALLS      SD     57104‐5064
JEANNE WEBSTER               PO 294                                                                                                            PINCKNEYVILLE     IL    62274
JEANNE WICKS                 502 TANIA TRL                                                                                                     LINDEN           MI     48451‐8839
JEANNE WICKS                 7227 GREENWOOD RD                                                                                                 GLADWIN          MI     48624‐9116
JEANNE WILLIAMS              PO BOX 18                                                                                                         CONSTABLE        NY     12926‐0018
JEANNE WILSON                4115 BIRCH DR                                                                                                     HONOR            MI     49640‐9753
JEANNE WOLF                  14758 ELROND DR                                                                                                   STERLING HTS     MI     48313‐5625
JEANNE WONDERGEM             3741 MILAN AVE SW                                                                                                 GRAND RAPIDS     MI     49509‐3935
JEANNE WYAR                  437 LARCHWOOD DR                                                                                                  BEREA            OH     44017
JEANNE ZELLERS               22364 RIVER CHASE LN                                                                                              DEFIANCE         OH     43512‐6867
JEANNELLE CLARK              8073 GALE RD                                                                                                      OTISVILLE        MI     48463‐9412
JEANNELLE M REED             1510 AZALEA DR                                                                                                    DAYTON           OH     45427
JEANNEMARI WITTMAN           42 W RIDGE RD                                                                                                     ROCHESTER        NY     14615‐3031
JEANNERET, DANIEL C          3216 STONEMAN LOOP                                                                                                LAND O LAKES     FL     34638‐4395
JEANNERETT, STEPHEN
JEANNET, LAZELL              4307 W. HWY 154                                                                                                   YANTIS          TX      75497
JEANNET, LAZELL              4307 W STATE HIGHWAY 154                                                                                          YANTIS          TX      75497‐4695
JEANNETT JOHNSON             PO BOX 2873                                                                                                       DETROIT         MI      48202‐0873
JEANNETTA A UNDERWOOD        804 RALEY ST                                                                                                      GADSDEN         AL      35903‐1832
JEANNETTA COLE               378 NORTH WEST STREET                                                                                             CANTON          MS      39046
JEANNETTA FISHER             20 CLOVE CT                                                                                                       SPRINGBORO      OH      45066‐1009
JEANNETTA HOLLOWAY           PO BOX 253                                                                                                        FARRELL         PA      16121‐0253
JEANNETTA PURDUE             ROBERT ALAN SHEINBEIN, ESQ.     ATTORNEY AT LAW, ATTORNEY FOR   9440 SANTA MONICA BLVD.,                          BEVERLY HILLS   CA      90210‐4608
                                                             CREDITOR                        SUITE 500
JEANNETTA PURDUE             C/O ROBERT ALAN SHEINBEIN ESQ   ATTORNEY AT LAW, ATTORNEY FOR   9440 SANTA MONICA BLVD                            BEVERLY HILLS    CA     90210
                                                             CREDITOR                        SUITE 500
JEANNETTA R STONEKING        2210 PHALANX MILLS HERNER RD                                                                                      SOUTHINGTON     OH      44470‐9515
JEANNETTA S HOLLOWAY         P. O. BOX 253                                                                                                     FARRELL         PA      16121‐0253
JEANNETTA STONEKING          2210 PHALANX MILLS HERNER RD                                                                                      SOUTHINGTON     OH      44470‐9515
JEANNETTE ( DANCY            2790 W. ST. RT. 122                                                                                               FRANKLIN        OH      45005‐9475
JEANNETTE A BARRY            8101 CANTRELL RD APT 1404                                                                                         LITTLE ROCK     AR      72227‐2435
JEANNETTE ALLEGREZZA         91 PURCHASE ST                                                                                                    MILFORD         MA      01757‐1152
JEANNETTE ANDROSEK           7629 E PARKSIDE DR                                                                                                YOUNGSTOWN      OH      44512‐5309
JEANNETTE B DUDLEY           2204 LYNNWOOD AVE                                                                                                 SAGINAW         MI      48601‐3665
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JEANNETTE BAILEY        2003 HIAWATHA BLVD                                                                        WICHITA FALLS    TX     76309‐1903
JEANNETTE BARCINIAK     37 MAHOGANY DR                                                                            WILLIAMSVILLE    NY     14221‐2420
JEANNETTE BARRY         8101 CANTRELL RD APT 1404                                                                 LITTLE ROCK      AR     72227‐2435
JEANNETTE BARTON        11379 E BRISTOL RD                                                                        DAVISON          MI     48423‐8733
JEANNETTE BEARD         1621 LIBERTY ST                                                                           FLINT            MI     48503
JEANNETTE BEASLEY       620 COLLEGE AVE SE                                                                        GRAND RAPIDS     MI     49503‐5306
JEANNETTE BRIDGES       2816 GREENBRIAR AVE                                                                       LANSING          MI     48912‐3605
JEANNETTE BROWN         1536 NATALIE ST                                                                           SHREVEPORT       LA     71108‐3533
JEANNETTE BUTLER        561 LEXINGTON ONTARIO RD                                                                  MANSFIELD        OH     44903‐8792
JEANNETTE C WANCHECK    1615 DIFFORD DR.                                                                          NILES            OH     44446‐2832
JEANNETTE CAMERON       1924 HADLEY RD                                                                            LAPEER           MI     48446‐9708
JEANNETTE CAMPION       180 WALTON LN                                                                             NORTH EAST       MD     21901‐2423
JEANNETTE CARROLL       5 CLINTON PL                                                                              WALLINGFORD      CT     06492‐3018
JEANNETTE CHALMERS      693 MARSTON RD                                                                            WHITINSVILLE     MA     01588‐3007
JEANNETTE DARMOFALSKI   3509 E 37TH PLZ APT F                                                                     PANAMA CITY      FL     32404‐9276
JEANNETTE DEMYDA        47 HERITAGE CIR                                                                           ROCHESTER        NY     14615‐1107
JEANNETTE DI FIORE      29181 CAMPBELL DR                                                                         WARREN           MI     48093‐2465
JEANNETTE DICKEY        4879 N 1350 E 34                                                                          CONVERSE         IN     46919‐9632
JEANNETTE DICKSON       990 SAINT CHARLES RD                                                                      BISHOPVILLE      SC     29010‐1539
JEANNETTE DION          3319 MONZA DR                                                                             SEBRING          FL     33872‐2014
JEANNETTE DIXON         414 FIR                                                                                   JENKS            OK     74037
JEANNETTE DOWD          10231 ALLEN DR                                                                            MONTROSE         MI     48457‐9732
JEANNETTE DRENNON       146 BISCAYNE DR                                                                           CEDAR HILL       TX     75104‐1361
JEANNETTE DUDLEY        2204 LYNNWOOD AVE                                                                         SAGINAW          MI     48601‐3665
JEANNETTE E WHITE       215 NORTHWOOD DR                                                                          MATTYDALE        NY     13211‐1315
JEANNETTE EDWARDS       2509 SANTA CLARA CT SE                                                                    CONYERS          GA     30013‐2007
JEANNETTE ELLASHEK      5217 NASHUA DR                                                                            YOUNGSTOWN       OH     44515‐5141
JEANNETTE ELSER         3433 HARLEM RD                 BLDG 5 UNIT 2                                              CHEEKTOWAGA      NY     14225
JEANNETTE ETCHISON      4073 PARSON DR                                                                            CHAMBLEE         GA     30341‐1624
JEANNETTE EVANS         11 BRATTLE AVE                                                                            EWING            NJ     08638‐2201
JEANNETTE FOLK          2009 CRESTVIEW ST                                                                         JANESVILLE       WI     53546‐5742
JEANNETTE G LAVIGNE     6123 LAKE DR                                                                              YPSILANTI        MI     48197‐7048
JEANNETTE GILLIAM       245 N GRANT ST                                                                            BAY CITY         MI     48708‐6562
JEANNETTE GOULET        1906 MARSAC ST                                                                            BAY CITY         MI     48708‐8526
JEANNETTE H ELLASHEK    5217 NASHUA DR                                                                            YOUNGSTOWN       OH     44515
JEANNETTE HABONY        42 TACOMA CT                                                                              PONTIAC          MI     48342‐1288
JEANNETTE HAFELY        1842 RESTFUL DR K‐3                                                                       BRADENTON        FL     34207
JEANNETTE HAGENBUCH     309 N SEYMOUR RD                                                                          FLUSHING         MI     48433‐1534
JEANNETTE HALDERSON     4357 PHEASANT RUN                                                                         JANESVILLE       WI     53546‐9324
JEANNETTE HALL          641 AVERILL AVE                                                                           MANSFIELD        OH     44906‐2016
JEANNETTE HARRIS        821 W THOMAS ST                                                                           BROWNSVILLE      TN     38012‐1823
JEANNETTE HENLEY        72 ROOSEVELT DR                                                                           LOCKPORT         NY     14094‐5134
JEANNETTE HESSELL       13833 21 MILE RD                                                                          SHELBY TWP       MI     48315‐4805
JEANNETTE HILLAKER      7119 E PIERSON RD                                                                         DAVISON          MI     48423‐8977
JEANNETTE HOLLAND       5038 TREEHILL RD                                                                          GRAND BLANC      MI     48439‐2052
JEANNETTE HOWARD        3856 E DONNER AVE                                                                         FRESNO           CA     93726‐2511
JEANNETTE INGERSOLL     720 MCCLARAN AVE                                                                          AURORA            IL    60506‐5618
JEANNETTE JENKS         639 WATSON ST                                                                             TOCCOA           GA     30577‐1960
JEANNETTE JOSEPH        5283 HIGHLAND SHORE DR                                                                    FLUSHING         MI     48433‐2448
JEANNETTE L MCDAVID     1120 EMINENCE ROW                                                                         JACKSON          MS     39213‐5628
JEANNETTE L TUCKER      3381 WHITE WALNUT CT APT 412                                                              MIAMISBURG       OH     45342
JEANNETTE LAWMAN        2100 E VAILE AVE                                                                          KOKOMO           IN     46901‐5609
JEANNETTE LITTLE        4137 MILDRED ST                                                                           WAYNE            MI     48184‐2201
JEANNETTE M EDWARDS     2509 SANTA CLARA CT SE                                                                    CONYERS          GA     30013‐2007
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JEANNETTE M TYLER      35 E HILLCREST AVE                                                                           DAYTON              OH     45405‐2825
JEANNETTE MARRIOTT     46 CONCORD LN                                                                                PONTIAC             MI     48340‐1212
JEANNETTE MARTIN       1815 TAYLOR CREEK DR                                                                         FRESNO              TX     77545‐9541
JEANNETTE MCDAVID      1120 EMINENCE ROW                                                                            JACKSON             MS     39213‐5628
JEANNETTE MCDERMOTT    19 WEST WRENTHAM ROAD                                                                        CUMBERLAND           RI    02864
JEANNETTE MOSS         2521 E 5TH ST                                                                                ANDERSON            IN     46012‐3708
JEANNETTE MOTEN        205 MENTOR DR                                                                                ARLINGTON           TX     76002‐5435
JEANNETTE MYOS         7734 LAKEVIEW LN NE                                                                          SPRING LAKE PARK    MN     55432‐2834
JEANNETTE NASH         6400 TEMPEST DR                                                                              ARLINGTON           TX     76001‐7437
JEANNETTE NEWTON       PO BOX 10                                                                                    HEIDELBERG          KY     41333‐0010
JEANNETTE NICHOLAS     300 W 3RD ST                                                                                 HILLMAN             MI     49746‐9032
JEANNETTE PATTERSON    2633 PENDERS RIDGE TRL                                                                       ELLENWOOD           GA     30294‐6233
JEANNETTE PATY         2915 NORTHWAY DR                                                                             FORT WAYNE          IN     46845‐1658
JEANNETTE PELTON       6525 N 34TH ST                                                                               MCALLEN             TX     78504
JEANNETTE PETHERS      1433 N DYE RD                                                                                FLINT               MI     48532‐2219
JEANNETTE POLINSKI     68 BEAR CREEK PATH                                                                           ORMOND BEACH        FL     32174‐2942
JEANNETTE PREMOE       1392 VONDEL AVE                                                                              HOLT                MI     48842‐9628
JEANNETTE R RUSSELL    176 SPRINGFIELD ST                                                                           SPRINGFIELD         MA     01107‐1279
JEANNETTE RECTOR       1010 14 MILE RD NE                                                                           SPARTA              MI     49345‐9553
JEANNETTE REED         27 MARIO DR                                                                                  TROTWOOD            OH     45426‐2914
JEANNETTE REED         27 MARIO DR.                                                                                 TROTWOOD            OH     45426
JEANNETTE ROY          412 SAINT LAURENT ST                                               SAINT JEAN RICHELIEU QC
                                                                                          J3B1H3 CANADA
JEANNETTE S FERGUSON   62 EDINBURGH VILLAGE DR                                                                      CENTERVILLE        OH      45458‐4168
JEANNETTE SABLAK       29154 CAMPBELL DR                                                                            WARREN             MI      48093‐2466
JEANNETTE SHARP        715 68TH AVE SO                                                                              ST PETERSBURG      FL      33705
JEANNETTE SHELTON      108 RHODES LN                                                                                HENDERSONVILLE     TN      37075‐8404
JEANNETTE STROZIER     917 WOODFORD AVE                                                                             YOUNGSTOWN         OH      44511‐2335
JEANNETTE THURMAN      4221 S 6TH ST LOT D18                                                                        MILWAUKEE          WI      53221‐1770
JEANNETTE TIMKO        1975 TIBBETTS WICK RD                                                                        GIRARD             OH      44420‐1224
JEANNETTE UZARSKI      124 SAN CARLOS ST                                                                            TOMS RIVER         NJ      08757‐6219
JEANNETTE VANDERMEI    36753 KAY AVE                                                                                ZEPHYRHILLS        FL      33542‐3030
JEANNETTE WANCHECK     1615 DIFFORD DR                                                                              NILES              OH      44446‐2832
JEANNETTE WOLFRAM      SCHUBARTWEG 45                                                     73447 OBERKOCHEN
                                                                                          GERMANY
JEANNETTE WORRICK      PO BOX 112                                                                                   DUDLEY             MA      01571‐0112
JEANNETTE, JAMES W     301 LOCKERBIE ST                                                                             MOORESVILLE        IN      46158‐1717
JEANNETTE, JUDITH K    301 LOCKERBIE ST                                                                             MOORESVILLE        IN      46158‐1717
JEANNETTE, ROBERT W    13238 N MILLER DR                                                                            CAMBY              IN      46113‐8462
JEANNETTEA FLORES      1400 SUNCREST CT                                                                             ARLINGTON          TX      76002‐3576
JEANNETTEA W FLORES    1400 SUNCREST CT                                                                             ARLINGTON          TX      76002‐3576
JEANNIE BANKO          1680 RUSTIC RUN RD SW                                                                        WARREN             OH      44481‐9756
JEANNIE BRIDGEMAN      67 FIVE MILE RD                                                                              MORRILTON          AR      72110‐9045
JEANNIE DICKENSON      26475 LORENZ ST                                                                              MADISON HTS        MI      48071‐3755
JEANNIE DREW           19130 N TERRITORIAL RD                                                                       CHELSEA            MI      48118‐9110
JEANNIE DUGGINS        4822 AIRPORT DR                                                                              STOVER             MO      65078‐2025
JEANNIE DUNN           4727 ALPHA ST                                                                                LANSING            MI      48910‐5619
JEANNIE INABNITT       2620 E NORTH ST                                                                              INDIANAPOLIS       IN      46201‐2124
JEANNIE JONASSEN       21125 W LINWOOD DR NE                                                                        WYOMING            MN      55092‐9477
JEANNIE JONES          6045 N MAIN ST APT 139                                                                       DAYTON             OH      45415‐3194
JEANNIE K CLARK        1625 ROSLYN AVENUE                                                                           KETTERING          OH      45429‐5031
JEANNIE LALONDE        13197 LINDA VISTA AVE                                                                        BELLEVILLE         MI      48111
JEANNIE LAPOINTE       59 MAPLE DR                                                                                  BOARDMAN           OH      44512‐1521
JEANNIE M GRANT        357 MT VERNON                                                                                JACKSON            MS      39209‐3916
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JEANNIE M ROUNDTREE      6728 PYRAMID AVE                                                                                 DAYTON              OH     45414
JEANNIE MCGREGOR         1434 S VERNON RD                                                                                 CORUNNA             MI     48817‐9555
JEANNIE MCNEW            PO BOX 1400                                                                                      FLINT               MI     48501‐1400
JEANNIE MENDOZA          1826 ENSLEN AVE                                                                                  MODESTO             CA     95350‐3113
JEANNIE MONROE           2005 MARICOPA DR                                                                                 LOUISVILLE          KY     40223‐1159
JEANNIE MOUSIGIAN        8271 MAYFAIR ST                                                                                  TAYLOR              MI     48180‐2921
JEANNIE PATTERSON        7751 JIB LN                                                                                      NAPLES              FL     34109‐7619
JEANNIE T VANTOL         1009 N SHERMAN ST                                                                                BAY CITY            MI     48708‐6066
JEANNIE V JONES          6045 NORTH MAIN ST                  APT# 139                                                     DAYTON              OH     45415
JEANNIE W STEFANIC       1204 NORMANDY TERRACE DR                                                                         FLINT               MI     48532‐3550
JEANNIE WATSON           41515 GARDEN WAY DR                                                                              STERLING HTS        MI     48314‐3831
JEANNIE WILLINGHAM       181 PINEHURST DR                                                                                 BOWLING GREEN       KY     42103‐1324
JEANNIN, GLENDA C        7626 E 67TH ST                                                                                   KANSAS CITY         MO     64133‐4640
JEANNIN, GLENDA C        7626 E 67TH                                                                                      KANSAS CITY         MO     64133‐4640
JEANNIN, NORMAN S        12513 E 58TH TER                                                                                 KANSAS CITY         MO     64133
JEANNINE A COLEMAN JR.   304 FAIRHAVEN CT                                                                                 ARLINGTON           TX     76018‐5211
JEANNINE BARIBEAU        645 LENGARY                         APT 216                            CORNWALL ONTARIO CANADA
                                                                                                K6H6S1
JEANNINE COLE            7800 BEECH ST                                                                                    LAKE               MI      48632‐9017
JEANNINE COLEMAN JR      304 FAIRHAVEN CT                                                                                 ARLINGTON          TX      76018‐5211
JEANNINE DOYLE           1399 MINTOLA AVE                                                                                 FLINT              MI      48532‐4044
JEANNINE FORTIER         13610 ROYAL SADDLE DR                                                                            CARMEL             IN      46032‐9028
JEANNINE HERGET          4219 14TH ST E                                                                                   ELLENTON           FL      34222‐2613
JEANNINE JACKSON         6148 ELDON RD                                                                                    MOUNT MORRIS       MI      48458‐2716
JEANNINE JEWELL          201 WARREN ST                                                                                    CHARLOTTE          MI      48813‐1911
JEANNINE JOHNSON         604 S JEFFERSON ST                                                                               BROWNSBURG         IN      46112‐1617
JEANNINE KEMP            4480 PELHAM ST                                                                                   DEARBORN HTS       MI      48125‐3123
JEANNINE L HALL          6394 NEWTOWN DR                                                                                  COLUMBUS           OH      43231
JEANNINE L MADISON       3760 OLD WINCHESTER TRL                                                                          XENIA              OH      45385‐8739
JEANNINE LEGER           5324 COUNTY ROAD #8                                                                              AVOCA              NY      14809
JEANNINE M SLATER        801 SIMCOE AVE                                                                                   FLINT              MI      48507‐1680
JEANNINE M WRIGHT        13500 MCCRACKEN RD                                                                               GARFIELD HTS       OH      44125‐1966
JEANNINE MURNANE         4 DENALI CT                         C/O DENISE D MITCHELL                                        SOUTH BARRINGTON   IL      60010‐1061

JEANNINE PIPER           5718 N AMORET AVE                                                                                KANSAS CITY        MO      64151‐2758
JEANNINE RICHARD         26115 FALMOUTH DR                                                                                WARREN             MI      48089‐3559
JEANNINE RITTER          77 CYPRESS ST                                                                                    BRISTOL            CT      06010‐3539
JEANNINE S CAMPBELL      937 FINEVIEW DR                                                                                  PENN HILLS         PA      15235‐2024
JEANNINE SCHJOLIN        1015 HICKORY RIDGE RT 4                                                                          MILFORD            MI      48380
JEANNINE SLATER          801 SIMCOE AVE                                                                                   FLINT              MI      48507‐1680
JEANNINE SMITH           728 SCOTT DR                                                                                     MANSFIELD          OH      44906‐4003
JEANNINE STEMM           301 E FLINT ST                                                                                   DAVISON            MI      48423‐1210
JEANNINE THOMPSON        7426 IVANREST AVE SW                                                                             BYRON CENTER       MI      49315‐8463
JEANNINE THURMAN         17757 ROLLING WOODS CIRCLE                                                                       NORTHVILLE         MI      48168
JEANNINE TREMBLAY TTEE   JEANNINE TREMBLAY                   PO BOX 3822                                                  NASHUA             NH      03061
JEANNINE TRIPLETT        102 CLARKSON ST                     TRIPLETT                                                     HOT SPRINGS        AR      71901‐3342
JEANNINE WAGNER          1013 SCHULTZ ST                                                                                  DEFIANCE           OH      43512‐2944
JEANNINE WILLIAMS        1387 MARY JO DR                                                                                  GARDNERVILLE       NV      89460‐8434
JEANNONT, DONALD J       1508 BRECKENRIDGE DR                                                                             EDMOND             OK      73013‐7651
JEANNOT DIONNE           48 FORSHAW AVE                                                                                   PLAINVILLE         CT      06062‐2531
JEANPIERE, ANTHONY B     9191 N LIMA RD APT 29A                                                                           POLAND             OH      44514‐5259
JEANPIERE, ANTHONY B     2200 BUSINESS CENTER DR APT 10206                                                                PEARLAND           TX      77584‐1357
JEANS, DONNA S           1801 MEADOW ST                                                                                   MARSHALL           TX      75670‐6821
JEANS, RANDY L           3830 CRAMTON RD                                                                                  METAMORA           MI      48455‐9629
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JEANSONNE, SUSAN D              7424 DEER TRL                                                                              SHREVEPORT           LA     71107‐5627
JEANTET, EDITH R                27439 SILVER DR                                                                            PIONEER              CA     95666‐9629
JEARIDEAN O'BANNON              129 KELTINGHAM CT                                                                          RIDGELAND            MS     39157‐1212
JEARL BREWER                    PO BOX 7                                                                                   DUNLOW               WV     25511‐0007
JEARL WEDDLE                    9910 N CR 1050 W                                                                           REDKEY               IN     47373
JEARLDEAN AULT                  2109 S STONEHAVEN DR                                                                       YORKTOWN             IN     47396‐9556
JEARLDINE MCCOY                 11301 N COUNTY ROAD 450 W                                                                  GASTON               IN     47342
JEARLEAN REED                   3743 BOBBITT PL                                                                            SHREVEPORT           LA     71107‐3801
JEARLENE FARMER                 1615 W HOME AVE                                                                            FLINT                MI     48504‐1617
JEARLINE JOHNSTON               PO BOX 204                                                                                 BALLARD              WV     24918‐0204
JEARLINE LOVE                   217 SOUTHEIGHT STREET           APT #1                                                     LANSING              MI     48912
JEAVONS SONJA                   PO BOX 41974                                                                               FREDERICKSBURG       VA     22404‐1974
JEAVONS, SONJA                  PO BOX 41974                                                                               FREDERICKSBRG        VA     22404‐1974
JEB SPAULDING VERMONT STATE     109 STATE ST                                                                               MONTPELIER           VT     05609‐0002
TREASURER
JEBB, ARLENE                    73 DOGWOOD WAY                                                                             HOLLYWOOD            FL     33026‐1118
JEBB, ERNEST                    73 DOGWOOD WAY                                                                             HOLLYWOOD            FL     33026‐1118
JEBB, ERNEST A                  73 DOGWOOD WAY                                                                             HOLLYWOOD            FL     33026‐1118
JEBB, LAWRENCE W                31014 HARPER BRANCH PL                                                                     WESLEY CHAPEL        FL     33543‐7123
JEBB, LOUIS A                   2654 FAIRFIELD DR                                                                          BAY CITY             MI     48706‐3016
JEBCO CLOCKS
JEBOVIDA INCORPORATED           JEROME VITZTHUM                 111 N DIVISION ST                                          STUART              IA      50250‐7720
JEBREN, INC                     DOUG MIGHT                      1580 WILLIAMS RD                                           COLUMBUS            OH      43207‐5183
JEBSEN, FREDERICK P             1032 RADIO RD                                                                              LITTLE EGG HARBOR   NJ      08087‐1517
                                                                                                                           TWP
JEC COUNSELING                  ATTN: JOESPH MOJET              91 N SAGINAW ST # 101                                      PONTIAC              MI     48342‐2165
JECHA, VIRGINIA J               18954 LEILA DR                                                                             MOKENA               IL     60448‐8473
JECHA, VIRGINIA J               18954 LEILA DRIVE                                                                          MOKENA               IL     60448‐8473
JECHURA, CARL M                 7794 BEECHWOOD FARMS DR                                                                    AVON                 IN     46123‐9027
JECKELL JR, FRANK E             114 PENN PL                                                                                LINDEN               NJ     07036‐4361
JECKELL, BERNARD P              13 COVENTRY CIR                                                                            BELVIDERE            NJ     07823‐3212
JECKEWICZ, JOHN J               32759 AVONDALE STREET                                                                      WESTLAND             MI     48186‐8905
JECKIL PROMOTIONS INC           4675 N SHALLOWFORD RD STE 201                                                              ATLANTA              GA     30338‐6309
JECKLIN DOREEN                  JECKLIN, DOREEN                 1135 CENTER PLACE                                          DUBUQUE              IA     52001
JECKLIN, DOREEN                 1135 CENTER PL                                                                             DUBUQUE              IA     52001
JECKS, DANIEL W                 3979 W MAPLE RD                                                                            WIXOM                MI     48393‐1711
JECKS, NANCY J                  11924 VALDO RD                                                                             EATON RAPIDS         MI     48827‐8759
JECO PLASTIC PRODUCTS INC       885 ANDICO RD                   PO BOX 26                                                  PLAINFIELD           IN     46168‐9659
JECO PLASTIC PRODUCTS INC       885 ANDICO RD                                                                              PLAINFIELD           IN     46168‐9659
JED
JED BROWN                       11883 N 750 W                                                                              ELWOOD              IN      46036‐8635
JED CALVERT                     6885 STATE ROUTE 66                                                                        OAKWOOD             OH      45873‐9529
JED ESSEX                       4108 E 37TH ST                                                                             ANDERSON            IN      46017‐2006
JED FOLSOM                      11673 WILVERN LN                                                                           REDDING             CA      96003‐7591
JED OBOYLE                      10950 N REID RD                                                                            ALMA                MI      48801‐9576
JED R BRADELL                   3408 S 149TH E AVE                                                                         TULSA               OK      74134
JED WAUGH                       72 PINE PLACE DR                                                                           BERKELEY SPGS       WV      25411‐3816
JED, HELEN                      530 ORCHARDALE DR                                                                          ROCHESTER HILLS     MI      48309‐2248
JEDA SCREEN PRINTING & DESIGN   1479 MARQUETTE ST                                                                          JANESVILLE          WI      53546‐2420
JEDAV/UTICA                     51400 BELLESTRI CT                                                                         SHELBY TOWNSHIP     MI      48315‐2749
JEDDELOH INC.                   LARRY JEDDELOH                  1783 OPAL AVE                                              SIBLEY              IA      51249‐7500
JEDDELOH INC.                   1783 OPAL AVE                                                                              SIBLEY              IA      51249‐7500
JEDDIE BERRY                    6344 LAURENTIAN CT                                                                         FLINT               MI      48532‐2039
JEDELE, MARY                    109 ENGELHARDT DR.                                                                         BAY CITY            MI      48706‐2838
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JEDELE, NEIL F               4632 BRAYWICK CT                                                                                                     VIERA             FL     32955‐6663
JEDELE, SCOTT F              8217 BURLEIGH RD                                                                                                     GRAND BLANC       MI     48439‐9764
JEDERLINIC, JOHN S           16529 29 MILE RD                                                                                                     RAY               MI     48096‐2216
JEDLICK, CHRISTINE           1765 KING'S HWY                                                                                                      LINCOLN PARK      MI     48146‐3825
JEDLICK, CHRISTINE           1765 KINGS HWY                                                                                                       LINCOLN PARK      MI     48146‐3825
JEDLICKI, LAURI J            6701 COLUMBUS AVE                                                                                                    RICHFIELD         MN     55423‐2526
JEDLINSKI, KENNETH E         34 WHITFIELD CT                                                                                                      BRASELTON         GA     30517‐5002
JEDLOWSKI, DENNIS M          6361 WOLVERINE TRAIL                                                                                                 GAYLORD           MI     49735‐8700
JEDLOWSKI, IRENE             3030 NEWPORT DR. APT 8                                                                                               FLINT             MI     48532‐4240
JEDLOWSKI, MARY A            6361 WOLVERINE TRL                                                                                                   GAYLORD           MI     49735‐8700
JEDLOWSKI, RAYMOND T         12907 YOST ST                                                                                                        WAYLAND           MI     49348
JEDLOWSKI, VAUGHN E          PO BOX 39                                                                                                            LAMBERTVILLE      MI     48144‐0039
JEDREY CLAYTON               33031 MAPLE ST                                                                                                       PINEHURST         TX     77362‐3826
JEDREZAK, ANTHONY            351 SUNSET HILLS AVE NW                                                                                              GRAND RAPIDS      MI     49534‐5847
JEDRYK, WALTER A             21249 M ST                                                                                                           REHOBOTH BEACH    DE     19971‐8441
JEDRZEJAS, DAVID L           10247 BENNETT LAKE RD                                                                                                FENTON            MI     48430‐8767
JEDRZEJAS, GLORIA J          10247 BENNETT LAKE RD                                                                                                FENTON            MI     48430‐8767
JEDRZEJCZAK PATRICIA & BOB   48150 MORONGO RD                                                                                                     BANNING           CA     92220‐6962
JEDRZEJCZAK, DAVID A         8767 CAPAC RD                                                                                                        BROWN CITY        MI     48416‐8515
JEDRZEJCZAK, EDWARD A        8965 CAPAC RD                                                                                                        BROWN CITY        MI     48416‐8517
JEDRZEJEK, JOSEPH P          2318 BYRNES RD                                                                                                       LANSING           MI     48906‐3478
JEDWILL, RICHARD A           3 NICOLE LN                                                                                                          WEAVERVILLE       NC     28787‐8200
JEDYNAK, ANNE R              APT 12                           3540 COUNTRYBROOK LANE                                                              PALM HARBOR       FL     34684‐4815
JEDYNAK, ANNE R              3540 COUNTRYBROOK LANE           APT D‐12                                                                            PALM HARBOR       FL     34684
JEEN KNIVETON                115 ELIOT ST                                                                                                         ASHLAND           MA     01721‐2419
JEEWANKUMAR KAPALE           2222 GROVE PARK RD                                                                                                   FENTON            MI     48430‐1440
JEF CONSULTANTS INC          ATTN: JOE FERRIS                 8501 BECK RD                                                                        BELLEVILLE        MI     48111‐1295
JEFCOAT TYLOR                JEFCOAT, TYLOR                   STATE FARM                    1080 RIVER OAKS DR, STE B100                          FLOWOOD           MS     39232‐7644

JEFCOAT, LARRY R             2842 HIGHWAY 29 N                                                                                                    SOSO             MS      39480‐5024
JEFCOAT, TYLOR               STATE FARM                       1080 RIVER OAKS DR STE B100                                                         FLOWOOD          MS      39232‐7644
JEFCOAT, TYLOR
JEFF
JEFF & ELIZABETH LECROY      WATTS GUERRA CRAFT LLP           2402 DUNLAVY ST               SUITE 300                                             HOUSTON          TX      77006
JEFF & KRISTEN JOHNSON       8393 S MILL AVE                                                                                                      TEMPE            AZ      85284
JEFF A GARTEN                2975 MAUREEN CT                                                                                                      LOVELAND         OH      45140
JEFF A KESLING               7621 BRAMS HILL DR                                                                                                   CENTERVILLE      OH      45459‐4142
JEFF A LAUTZENHEISER         1359 N. CHIPPEWA                                                                                                     GREENVILLE       OH      45331‐2712
JEFF A LEISHER               1623 SAINT LAWRENCE AVE                                                                                              BELOIT           WI      53511‐4934
JEFF A MALESKY               819 N SHERMAN ST                                                                                                     BAY CITY         MI      48708‐6062
JEFF A ROMAIN                1941 N LIPKEY RD                                                                                                     NORTH JACKSON    OH      44451‐9607
JEFF A SIMPSON               8788 TOURNAMENT DR                                                                                                   WASHINGTON       MI      48094‐1566
JEFF A SIMPSON               809 S JAY ST                                                                                                         WEST MILTON      OH      45383
JEFF A SIZER                 3020 DAHLIA                                                                                                          W CARROLLTON     OH      45449
JEFF ADLER                   1404 CHESAPEAKE DR                                                                                                   ARLINGTON        TX      76014‐3482
JEFF ALDERDYCE               3362 BALTOUR DR                                                                                                      DAVISON          MI      48423‐8578
JEFF ALDRIDGE
JEFF ALEXANDER JR            BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                                          BOSTON HTS.      OH      44236
JEFF ALLEN
JEFF ANDERSON REGION         2124 14TH ST                                                                                                         MERIDIAN         MS      39301‐4040
JEFF ANTHONY                 9097 WARM SPRINGS CIR                                                                                                STOCKTON         CA      95210‐4487
JEFF AREHART                 1140 N 19TH ST                                                                                                       ELWOOD           IN      46036‐1361
JEFF ATKINS                  20800 WYOMING                                                                                                        FERNDALE         MI      48220
JEFF B RHODES                2623 CONSEAR RD                                                                                                      LAMBERTVILLE     MI      48144‐9632
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Name                                  Address1                         Address2             Address3              Address4               City            State Zip
JEFF BAGGETT
JEFF BAILEY                           280 DAVIS LAKE DR                                                                                  OXFORD           MI   48371‐4706
JEFF BAITY
JEFF BAKER
JEFF BARKER
JEFF BARNES CHEVROLET‐OLDSMOBILE, I   6110 SYKESVILLE RD                                                                                 SYKESVILLE      MD    21784‐6407

JEFF BARNES CHEVROLET‐OLDSMOBILE,     JEFFREY BARNES                   6110 SYKESVILLE RD                                                SYKESVILLE      MD    21784‐6407
INC.
JEFF BARNES CHEVROLET‐OLDSMOBILE,     6110 SYKESVILLE RD                                                                                 SYKESVILLE      MD    21784‐6407
INC.
JEFF BARTRAM                          1018 LEHIGH AVE                                                                                    MANSFIELD       OH    44905‐1507
JEFF BATES                            20291 MYERS RD                                                                                     ATHENS          AL    35614‐5413
JEFF BELZER'S TODD CHEVROLET, INC.    JEFFREY BELZER                   21111 CEDAR AVE                                                   LAKEVILLE       MN    55044‐9089
JEFF BELZER'S TODD CHEVROLET, INC.    21111 CEDAR AVE                                                                                    LAKEVILLE       MN    55044‐9089
JEFF BENNETT                          96 WILDERNESS PT                                                                                   EVERGREEN       CO    80439‐4367
JEFF BISEL                            711 S JOHNSON ST                                                                                   BAY CITY        MI    48708‐7627
JEFF BISHOP                           2945 MOUNTAIN VW APT 306                                                                           LAKE ORION      MI    48360‐2606
JEFF BISHOP                           9447 JENNINGS RD                                                                                   GRAND BLANC     MI    48439‐9360
JEFF BLACK
JEFF BRETHAUER                        ATTN: PATRICK M ARDIS            WOLFF ARDIS, P C     5810 SHELBY OAKS DR                          MEMPHIS          TN   38134
JEFF BRINKMAN
JEFF BUDD                             208 E HARMON ST                                                                                    OAKWOOD         OH    45873‐9669
JEFF BURDO
JEFF C EDWARDS                        15445 LANDING CREEK LN                                                                             WESTLAKE        TX    76262‐3348
JEFF C JACOBUS                        1815 E WESTWOOD DR                                                                                 MARYVILLE       TN    37803
JEFF C WATSON                         410 BRENTWOOD ST                                                                                   TILTON          IL    61833‐7523
JEFF C WILSON                         337 W. EARLE AVE                                                                                   YOUNGSTOWN      OH    44511‐1718
JEFF CALDWELL
JEFF CARBARY                          5867 MIDDLE BRANCH DR                                                                              SHELBY TWP       MI   48316‐3200
JEFF CARPENTER
JEFF CARR                             3422 70TH AVE E                                                                                    ELLENTON        FL    34222‐7302
JEFF CENTER                           3140 CREEKSIDE DR                                                                                  BEAVERCREEK     OH    45434‐6006
JEFF CHARPENTIER
JEFF CHEESMAN                         829 N PARK AVE                                                                                     IOWA PARK        TX   76367‐1741
JEFF CHOP
JEFF CHRISTENSEN                      15510 BROOKSTONE DR                                                                                CLINTON TWP     MI    48035‐1060
JEFF CISCO                            3151 BOURBON STREET                                                                                ENGLEWOOD       FL    34224‐9724
JEFF CLEVENGER                        108 S MULBERRY ST                                                                                  FARMLAND        IN    47340‐9109
JEFF COOPER                           800 E MAIN ST                                                                                      CRESTLINE       OH    44827‐1126
JEFF COVINGTON                        1241 SW 117TH ST                                                                                   OKLAHOMA CITY   OK    73170‐4416
JEFF COX                              3441 GRAFTON ST                                                                                    LAKE ORION      MI    48359‐1129
JEFF CROSBY
JEFF CURTIS
JEFF CUSON                            PO BOX 121                                                                                         DANSVILLE        MI   48819‐0121
JEFF CZAPOR
JEFF D ADKINS                         119 SPEEDWAY DR                                                                                    SOMERSET         KY   42503
JEFF D CUSON                          PO BOX 121                                                                                         DANSVILLE        MI   48819‐0121
JEFF D TAYLOR                         2021 RIDGEVIEW LN                                                                                  SENECA           SC   29678
JEFF D UNTERBORN                      16816 KENMOR ROAD                                                                                  KENDALL          NY   14476‐9768
JEFF DAHLKE
JEFF DAY SALES & CO LLC               2051 SHENANDOAH AVE                                                                                CHARLOTTE       NC    28205‐5007
JEFF DEANGELIS                        2517 STILLWATER DR                                                                                 O FALLON        MO    63368‐6903
JEFF DEARDURFF                        6876 ROAD 163 W                                                                                    LIBERTY         OH    43357
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Name                                  Address1                          Address2                         Address3             Address4                 City            State   Zip
JEFF DEC                              8866 E STONEY FIELD DR                                                                                           DEXTER           MI     48130‐9599
JEFF DELOACH                          107 BACKSHELL RD                                                                                                 SAVANNAH         GA     31404‐1401
JEFF DILL                             2244 SARATOGA CT                                                                                                 MANSFIELD        OH     44904‐1675
JEFF DOBBIN'S AUTO SERVICE                                              1847 E M 79 HWY                                                                                 MI     49058
JEFF DOLLER                           1077 NW SOUTH SHORE DR                                                                                           LAKE WAUKOMIS    MO     64151‐1441
JEFF DOMHOFF                          1630 HAINES RD                                                                                                   ORWELL           OH     44076‐9607
JEFF DONAHUE                          716 WOODCREEK CT                                                                                                 GREENWOOD        IN     46142‐7271
JEFF DRAKE                            81 KLEBER AVE                                                                                                    AUSTINTOWN       OH     44515‐1734
JEFF DULEY                            12030 FORRER ST                                                                                                  DETROIT          MI     48227‐1762
JEFF DUNLAP                           3444 DARBYSHIRE DR                                                                                               CANFIELD         OH     44406‐9233
JEFF E ALLEN                          3209 ANDREW ST.                                                                                                  MIDDLETOWN       OH     45042
JEFF EAKINS                           2027 N WRIGHT RD                                                                                                 JANESVILLE       WI     53546‐1302
JEFF EARNEST FORRESTER                ROBERT W PHILLIPS                 SIMMONS BROWDER GIANARIS         707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON        IL    62024
                                                                        ANGELIDES & BARNERD LLC
JEFF EBEL                             5175 BARRYWOOD DR                                                                                                GOODRICH         MI     48438‐9755
JEFF EDWARDS                          15445 LANDING CREEK LN                                                                                           WESTLAKE         TX     76262‐3348
JEFF ESTES                            3150 W 1000 S                                                                                                    WABASH           IN     46992‐9029
JEFF F RACOUILLAT                     4469 VALLE VIS                                                                                                   PITTSBURG        CA     94565‐6081
JEFF FENDER BUICK PONTIAC GMC CADIL   736 2ND ST W                                                                                                     TIFTON           GA     31794‐4202

JEFF FENDER BUICK PONTIAC GMC         736 2ND ST W                                                                                                     TIFTON           GA     31794‐4202
CADILLAC
JEFF FERNANDEZ                        112 HEARTHWOOD DRIVE                                                                                             COPPELL          TX     75019
JEFF FISHWICK                         950 HENRY ORR PKWY APT 401                                                                                       SPARKS           NV     89436‐4013
JEFF FOSTER                           6939 CHAUNCEY DR                                                                                                 INDIANAPOLIS     IN     46221‐4813
JEFF FOX
JEFF FRAELICH                         14311 STONEBRIAR CV                                                                                              FORT WAYNE      IN      46814‐9027
JEFF FREY                             1600 S KERBY RD                                                                                                  CORUNNA         MI      48817‐9102
JEFF FROMM                            10929 LOOKOUT ST                                                                                                 PINCKNEY        MI      48169‐8840
JEFF FYVIE                            3189 E MOUNT MORRIS RD                                                                                           MOUNT MORRIS    MI      48458‐8992
JEFF GALLEGOS                         1921 REDWOOD DR                                                                                                  DEFIANCE        OH      43512‐3475
JEFF GAMERL
JEFF GARDNER                          1760 S FORCE RD                                                                                                  ATTICA           MI     48412‐9670
JEFF GARNER
JEFF GORDON CHEVROLET                 228 S COLLEGE RD                                                                                                 WILMINGTON       NC     28403‐1610
JEFF GORDON INC                       4345 PAPA JOE HENDRICK BLVD                                                                                      CHARLOTTE        NC     28262‐5701
JEFF GORDON, INC.                     JOHN BICKFORD                     4345 PAPA JOE, HENDRICK BLVD.,                                                 CHARLOTTE        NC     28262
                                                                        CHARLOTTE
JEFF GRANT                            11211 NICKLE PLATE RD                                                                                            PEWAMO          MI      48873
JEFF GRASS                            2035 OBRIEN RD                                                                                                   MOUNT MORRIS    MI      48458‐2637
JEFF GRAY                             657 STATE ROUTE 534 SW                                                                                           NEWTON FALLS    OH      44444‐9560
JEFF GRAY                             245 8TH AVE                                                                                                      NEW YORK        NY      10011‐1607
JEFF GREENWALD
JEFF GRIFFITH                         2626 FORESTDALE AVE                                                                                              KNOXVILLE        TN     37917
JEFF GUCYSKI
JEFF GULLO                            WEITZ & LUXENBERG PC              700 BROADWAY                                                                   NEW YORK CITY   NY      10003
JEFF HALL                             1‐ 1451 COUNTY RD. B                                                                                             SWANTON         OH      43558
JEFF HAMME                            2960 FAIRLANE DR                                                                                                 BAY CITY        MI      48706‐1313
JEFF HANIG
JEFF HANSON                           6001 OLD HICKORY BLVD APT 221                                                                                    HERMITAGE       TN      37076
JEFF HARBACH                          6569 DAWN ST                                                                                                     FRANKLIN        OH      45005‐2609
JEFF HARMER
JEFF HELMER                           41539 HAMLIN ST                                                                                                  BELLEVILLE       MI     48111‐1465
JEFF HENSON                           3549 SMOKETREE AVE                                                                                               CARSON CITY      NV     89705‐8015
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Name                                  Address1                          Address2                   Address3     Address4               City             State Zip
JEFF HESTON
JEFF HIGHTOWER                        316 SOUTHLEA DR                                                                                  KOKOMO            IN   46902‐3682
JEFF HOLMBERG                         2520 E 750 S                                                                                     FAIRMOUNT         IN   46928‐9706
JEFF HOSTETLER                        200 JAY ST                                                                                       COLDWATER         MI   49036‐2175
JEFF HUGGETT                          2410 N HACKER RD                                                                                 HOWELL            MI   48855‐9079
JEFF HULGAN
JEFF HURST
JEFF IMBER                            5619 NATHAN DR                                                                                   CLEVELAND        OH    44130
JEFF J WILLIAMS                       4646 EVERETT HULL RD.                                                                            CORTLAND         OH    44410
JEFF JACKSON                          80 SEWARD ST APT D8                                                                              DETROIT          MI    48202‐4433
JEFF JACKSON‐LONERGAN                 1201 CHESTNUT WEST APT 2D                                                                        RANDOLPH         MA    02368
JEFF JENKINS                          JEFF JENKINS                      5608 MIRAMAR LN                                                COLLEYVILLE      TX    76034‐5562
JEFF JENKINS                          55 HARRIS HOLW                                                                                   DALLAS           GA    30132‐3028
JEFF JENKS                            7255 TUTTLE HILL RD                                                                              YPSILANTI        MI    48197‐9725
JEFF JOCSAK                           1015 N KENWOOD AVE                                                                               ROYAL OAK        MI    48067‐1505
JEFF JOHNSON CHEVROLET, INC.          SHARON JOHNSON                    2533 CARROLLTON PIKE                                           WOODLAWN         VA    24381
JEFF JOHNSON CHEVROLET, INC.          2533 CARROLLTON PIKE                                                                             WOODLAWN         VA    24381
JEFF JOHNSON JR                       4935 AUGUSTA BLVD                                                                                MONEE            IL    60449‐8909
JEFF JONES CHEVROLET‐PONTIAC‐BUICK,   176 FRANKFORT ST                                                                                 VERSAILLES       KY    40383‐1164

JEFF JONES CHEVROLET‐PONTIAC‐BUICK,   JEFFREY JONES                     176 FRANKFORT ST                                               VERSAILLES        KY   40383‐1164
INC.
JEFF JONES CHEVROLET‐PONTIAC‐BUICK,   176 FRANKFORT ST                                                                                 VERSAILLES        KY   40383‐1164
INC.
JEFF K BURROUGHS SR                   1825 EILEEN ST                                                                                   YPSILANTI        MI    48198‐6239
JEFF KAROW                            10375 S RAUCHOLZ RD                                                                              SAINT CHARLES    MI    48655‐9522
JEFF KELLEY                           11486 MOHAWK PATH                                                                                LAKEVIEW         OH    43331‐9244
JEFF KELLEY                           730 17TH STREET                   SUITE 650                                                      DENVER           CO    80202
JEFF KENDALL                          30235 WOODGATE DR                                                                                SOUTHFIELD       MI    48076‐5382
JEFF KESLING                          7621 BRAMS HILL DR                                                                               CENTERVILLE      OH    45459‐4142
JEFF KINGSLEY                         3129 CARSON HWY                                                                                  ADRIAN           MI    49221‐1118
JEFF KIRBY                            85 AMANDA CT                                                                                     STOCKBRIDGE      GA    30281‐2504
JEFF KLEIN                            2364 N BERKSHIRE DR                                                                              SAGINAW          MI    48603‐3406
JEFF KLOPF                            PO BOX 156                                                                                       CHIPPEWA LAKE    MI    49320‐0156
JEFF KLUSMEIER                        ATTY FOR STATE OF MISSOURI        ATTN: ASSISTANT ATTORNEY   PO BOX 899                          JEFFERSON CITY   MO    65102
JEFF KNIGHT
JEFF KOCANYAR                         8521 HUXLEY RD                                                                                   BERLIN CENTER    OH    44401‐9626
JEFF KOHUT
JEFF KOTEL                            5193 NASHUA DR                                                                                   YOUNGSTOWN       OH    44515‐5165
JEFF KRANZ                            85 S MERIDIAN RD                                                                                 MASON            MI    48854‐9648
JEFF L CENTER                         3140 CREEKSIDE DR                                                                                BEAVERCREEK      OH    45434‐6006
JEFF L SARRINGAR                      8511 BIRCH CREEK                                                                                 CENTERVILLE      OH    45458‐3204
JEFF L SHANK                          1392 STEVENSON RD                                                                                MASURY           OH    44438‐1419
JEFF L WATKINS                        109 PRINCE ALBERT BLVD                                                                           DAYTON           OH    45404‐2522
JEFF L'HEUREUX
JEFF LACHARITE                        53865 MEADOW VIEW LN                                                                             NEW BALTIMORE    MI    48047‐5846
JEFF LAUGHNER                         6910 WINTERPARK AVE                                                                              YOUNGSTOWN       OH    44515‐5606
JEFF LEDOUX                           5 BECK RD                                                                                        POUGHKEEPSIE     NY    12601‐6410
JEFF LEISHER                          1623 SAINT LAWRENCE AVE                                                                          BELOIT           WI    53511‐4934
JEFF LEWIS
JEFF LICHTENBERG
JEFF LIGNITZ                          404 SEQUOIA DR                                                                                   DAVISON           MI   48423‐1902
JEFF LONDON                           2404 HILLMEAOR DRIVE                                                                             NASHVILLE         TN   37221
JEFF LOSHNOWSKY                       1015 W 6TH ST                                                                                    PERU              IN   46970‐1757
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Name                                  Address1                         Address2           Address3        Address4                    City               State Zip
JEFF LOVE                             3174 S 750 W                                                                                    RUSSIAVILLE         IN 46979‐9716
JEFF LOWERY
JEFF LUNGREN CHEVROLET, INC.          HERBERT LUNGREN                  801 E 3RD ST                                                   GROVE              OK    74344‐7973
JEFF LUNGREN CHEVROLET, INC.          801 E 3RD ST                                                                                    GROVE              OK    74344‐7973
JEFF M HAMME                          2960 FAIRLANE DR                                                                                BAY CITY           MI    48706‐1313
JEFF M MILLER                         10112 MIAMISBURG SPRINGBORO RD                                                                  MIAMISBURG         OH    45342
JEFF M YARATCH                        18053 HILLCREST DR                                                                              LAKE MILTON        OH    44429‐9728
JEFF MADDEN                           608 NE BRYANT                                       608 NE BRYANT   608 NE BRYANT               LEES SUMMIT        MO    64086
JEFF MANNING                          5009 MILLRIDGE ST                                                                               SHAWNEE            KS    66226‐9716
JEFF MARTIN                           6303 N AKRON DR                                                                                 ALEXANDRIA         IN    46001‐8639
JEFF MASSEY
JEFF MAXIMOVICH                       JEFF MAXIMOVICH                  2737 EATON RD NW                                               CANTON             OH    44708‐1725
JEFF MCCLOUD                          5698 N RIVER HWY                                                                                GRAND LEDGE        MI    48837‐9319
JEFF MCFADDEN                         SAME AS SUBMITTER                9330 CORWIN CT                                                 ELK GROVE          CA    95758‐6535
JEFF MCFADDEN
JEFF MELLO                            341 TENNYSON RD                                                                                 HAYWARD            CA    94544‐5463
JEFF MEYER                            N72W23820 CRAVEN DR                                                                             SUSSEX             WI    53089‐5166
JEFF MILLER
JEFF MILLER                           12626 RUST LN                                                                                   KEITHVILLE         LA    71047‐9216
JEFF MILLER                           10112 MIAMISBURG SPRINGBORO RD                                                                  MIAMISBURG         OH    45342‐4755
JEFF MILLNER                          7521 GENESEO LN                                                                                 ARLINGTON          TX    76002‐3332
JEFF MIZENER                          2818 CALGARY LN                                                                                 JANESVILLE         WI    53545‐0642
JEFF MORRIS                           7096 REDMOND ST                                                                                 WATERFORD          MI    48327‐3852
JEFF MUSGRAVES JR                     18480 APPOLINE ST                                                                               DETROIT            MI    48235‐1313
JEFF NAHAS                            1940 HAVEN GLN                                                                                  WHITE LAKE         MI    48383‐3339
JEFF NANCE                            236 BERKSHIRE DR                                                                                YOUNGSTOWN         OH    44512‐1250
JEFF NASCA                            4671 HEDGEWOOD DR                                                                               BLOOMFIELD HILLS   MI    48301‐1145
JEFF NAVARRO                          11361 WESTERN RESERVE RD                                                                        SALEM              OH    44460‐9645
JEFF NESTER                           424 E FEDRAL HWY                                                                                ROSCOMMON          MI    48653
JEFF NEVINS                           706 E 18TH ST                                                                                   KEARNEY            MO    64060‐8749
JEFF NEWMAN
JEFF OKULY                            28194 AYERSVILLE/PLES BEND RD                                                                   DEFIANCE           OH    43512
JEFF OLDS                             11245 WEST SHORE DRIVE                                                                          HOUGHTON LAKE      MI    48629‐9782
JEFF OLIVER                           JEFF OLIVER                      RR#1                               LUCAN ON N0M 2J0 CANADA

JEFF P BOWMAN                         35 WAGNER ROAD                                                                                  W MILTON           OH    45383‐1613
JEFF P NIEZNANSKI                     6713 PHEASANT LANE                                                                              BATH               NY    14810
JEFF PARSONS
JEFF PATRICK                          49757 LEYLAND CIR                                                                               NOVI               MI    48374‐2144
JEFF PERRY BUICK PONTIAC CADILLAC G   HWY ROUTE 251 NORTH                                                                             PERU               IL

JEFF PERRY BUICK PONTIAC CADILLAC GMC HWY ROUTE 251 NORTH                                                                             PERU                IL   61354

JEFF PFAB                             21614 BERNICE                                                                                   TORRANCE           CA    90503‐6312
JEFF PLATT
JEFF PLUCHINSKY                       3300 LINDEN PL                                                                                  CANFIELD           OH    44406‐8470
JEFF POGUE                            9521 WEST 300 NORTH                                                                             CONVERSE           IN    46919
JEFF POLIDAN                          12085 BROWN ST                                                                                  FENTON             MI    48430‐8814
JEFF PORTER GILLEN                    C/O WEITZ & LUXENBERG PC         700 BROADWAY                                                   NEW YORK CITY      NY    10003
JEFF PORTER GILLEN                    WEITZ & LUXENBERG PC             700 BROADWAY                                                   NEW YORK CITY      NY    10003
JEFF PULLIAM                          1647 GARFIELD AVE                                                                               BELOIT             WI    53511‐3330
JEFF R PALMA                          70 SHADOW LN APT 8                                                                              ORCHARD PARK       NY    14127‐2257
JEFF R VANZANT                        304 N SALEM                                                                                     BOSTON             IN    47324
JEFF RECKER
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Name                                   Address1                        Address2                      Address3             Address4                 City               State Zip
JEFF REPASS
JEFF RHODES                            2623 CONSEAR RD                                                                                             LAMBERTVILLE        MI   48144‐9632
JEFF RIVARD                            8803 SWAFFER RD                                                                                             VASSAR              MI   48768‐9638
JEFF ROBBERS
JEFF ROBERTS
JEFF ROCK
JEFF ROLAND                            43288 MARINER CT                                                                                            CLINTON TOWNSHIP    MI   48038‐5553

JEFF ROMAIN                            3139 MALIBU DR SW                                                                                           WARREN             OH    44481‐9244
JEFF S AKERS                           364 TRUNK DRIVE                                                                                             RIVERSIDE          OH    45431
JEFF S FISHER                          8018 MARTZ PAULIN RD                                                                                        CARLISLE           OH    45005‐4016
JEFF S GOINGS                          3099 S BEECHGROVE RD                                                                                        WILMINGTON         OH    45177‐9175
JEFF SACHS AUTO PARK                   JEFFREY SACHS                   1220 VERSAILLES RD                                                          FRANKFORT          KY    40601‐9259
JEFF SACHS AUTO PARK                   1220 VERSAILLES RD                                                                                          FRANKFORT          KY    40601‐9259
JEFF SACHS CHEVROLET‐CADILLAC‐BUICK‐   JEFFREY SACHS                   1220 VERSAILLES RD                                                          FRANKFORT          KY    40601‐9259
PONTIAC‐GMC, INC.
JEFF SALTZMAN
JEFF SAYERS                            7326 STATE ROUTE 19 UNIT 5509                                                                               MOUNT GILEAD       OH    43338‐9350
JEFF SCHMITT AUTO GROUP INC            D/B/A JEFF SCHMITT CADILLAC     631 ORCHARD LN                                                              BEAVERCREEK        OH    45434‐6163
JEFF SCHMITT AUTO GROUP, INC.          JEFFREY SCHMITT                 1001 N BROAD ST                                                             FAIRBORN           OH    45324‐5248
JEFF SCHMITT AUTO GROUP, INC.          1001 N BROAD ST                                                                                             FAIRBORN           OH    45324‐5248
JEFF SCHMITT AUTOGROUP, INC            JEFFREY SCHMITT                 631 ORCHARD LN                                                              BEAVERCREEK        OH    45434‐6163
JEFF SCHMITT BUICK GMC LLC             PO BOX 152                                                                                                  FAIRBORN           OH    45324‐0152
JEFF SCHMITT CADILLAC                  631 ORCHARD LN                                                                                              BEAVERCREEK        OH    45434‐6163
JEFF SCHOOL                            1035 E COSTELLO ST                                                                                          MOUNT MORRIS       MI    48458‐2240
JEFF SCHOOLER                          3217 N CEDAR ST                                                                                             LANSING            MI    48906‐3211
JEFF SCHREIBER                         3911 COGGINS AVE                                                                                            FLINT              MI    48506‐2469
JEFF SCHWAB
JEFF SEIDL
JEFF SERAFINI
JEFF SHEPARD                           808 E 2ND STREET EXT                                                                                        NORTH               IN   46952‐9386
                                                                                                                                                   MANCHESTER
JEFF SHUMWAY                           8700 CARPENTER RD                                                                                           MILAN              MI    48160‐9545
JEFF SIMPSON                           8788 TOURNAMENT DR                                                                                          WASHINGTON         MI    48094‐1566
JEFF SIREN                             29643 HOY ST                                                                                                LIVONIA            MI    48154‐3703
JEFF SIZER                             3020 DAHLIA DR                                                                                              W CARROLLTON       OH    45449‐2906
JEFF SMITH                             6240 KING AUTHOR COURT                                                                                      SWARTZ CREEK       MI    48473
JEFF SMITH                             7223 KALKASKA DR                                                                                            DAVISON            MI    48423‐2385
JEFF SPILLERS                          15125 HIGHWAY 20                                                                                            FLORENCE           AL    35633‐2003
JEFF SPORRE                            8515 GERMANTOWN RD                                                                                          WEST ALEXANDRIA    OH    45381‐9505

JEFF STALTER                           2025 W MUSGROVE HWY                                                                                         LAKE ODESSA         MI   48849‐8506
JEFF STEED                             THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                                 HOUSTON             TX   77017
JEFF STEPHENS                          PO BOX 7373                                                                                                 FLINT               MI   48507‐0373
JEFF SWAIN                             492 HUT WEST DR                                                                                             FLUSHING            MI   48433‐1317
JEFF SWEET                             1154 JARVIS LN                                                                                              LANSDALE            PA   19446
JEFF T CURRY                           ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON          IL   62024
                                                                       ANGELIDES & BARNERD LLC
JEFF T SMITH & MARGARET R SMITH        416 CADDIE DRIVE                                                                                            DEBARY              FL   32713
JEFF TAYLOR
JEFF TEAGUE CHEVROLET GEO, INC.        JEFFERY TEAGUE                  1830 W HILLSBORO ST                                                         EL DORADO          AR    71730‐6900
JEFF TEGELER                           23 KENWORTH DR                                                                                              SAINT PETERS       MO    63376‐4014
JEFF THOMAS                            915 N LOREL AVE                                                                                             CHICAGO            IL    60651‐2841
JEFF THOMPSON                          8945 WILLITS RD                                                                                             MAYVILLE           MI    48744‐9534
                                         09-50026-mg               Doc 7123-20 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
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Name                                     Address1                           Address2                         Address3               Address4               City            State Zip
JEFF THOMPSON
JEFF THORPE                              PO BOX 3951                                                                                                       CENTER LINE     MI    48015‐0951
JEFF TOBIAS                              572 TULANE ST                                                                                                     SAGINAW         MI    48604‐2249
JEFF TROYER                              21982 STATE ROUTE 613                                                                                             CONTINENTAL     OH    45831‐9004
JEFF TURNER                              205 BOLLINGER RD                                                                                                  BELLVILLE       OH    44813‐9069
JEFF TURNER                              4638 VINEGAR HILL RD                                                                                              BEDFORD         IN    47421‐7932
JEFF VACHON                              1110 26TH ST                                                                                                      BAY CITY        MI    48708‐7985
JEFF VALLEY                              2450 SAND RD                                                                                                      ARGYLE          WI    53504‐9716
JEFF VANDERWALL                          4355 18 MILE RD                                                                                                   CASNOVIA        MI    49318‐9703
JEFF VANEK                               284 S INGLEWOOD AVE                                                                                               AUSTINTOWN      OH    44515‐3932
JEFF W KISTLER & DAVID J GORBERG &       32 PARKING PLZ STE 700                                                                                            ARDMORE         PA    19003‐2440
ASSOCIATES P C
JEFF WATKINS
JEFF WATSON                              29405 MURRAY CRESCENT DR                                                                                          SOUTHFIELD      MI    48076‐5252
JEFF WEBEL                               355 TOWNVIEW CIRCLE NORTH                                                                                         MANSFIELD       OH    44907‐1137
JEFF WEIDENHAMMER                        4367 TOMMY ARMOUR DR                                                                                              FLINT           MI    48506‐1466
JEFF WEINER                              C/O BRYAN BRODY                    17295 CHESTERFIELD AIRPORT RD.   SUITE 200                                     CHESTERFIELD    MO    63005
JEFF WEINER                              ATTN: BRYAN BRODY                  17295 CHESTERFIELD AIRPORT RD,                                                 CHESTERFIELD    MO    63005
                                                                            STE 2
JEFF WHITE                               3718 DEIBEL DR                                                                                                    SAGINAW          MI   48603‐7229
JEFF WILKINS
JEFF WILLIAMS                            637 LOFTWOOD DR                                                                                                   BOWLING GREEN    KY   42104‐5515
JEFF WINKLER
JEFF WINN                                THE MADEKSHO LAW FIRM              8866 GULF FREEWAY SUITE 440                                                    HOUSTON          TX   77017
JEFF WISE                                6409 W TAYLOR RD                                                                                                  MUNCIE           IN   47304‐4761
JEFF WRIGHT                              2854 S 45TH TER                                                                                                   KANSAS CITY      KS   66106‐3724
JEFF WYLER ALEXANDRIA INC                1154 BURLINGTON PIKE                                                                                              FLORENCE         KY   41042‐1249
JEFF WYLER ALEXANDRIA, INC D/B/A JEFF    JEFF WYLER ALEXANDRIA, INC.        JEFFREY WYLER                    1154 BURLINGTON PIKE                          FLORENCE         KY   41042‐1249
WYLER BUICK PONTIAC GMC
JEFF WYLER ALEXANDRIA, INC.              JEFFREY WYLER                      1154 BURLINGTON PIKE                                                           FLORENCE         KY   41042‐1249
JEFF WYLER ALEXANDRIA, INC. D/B/A JEFF   ATT: JOHN COLLINS JR               1154 BURLINGTON PIKE                                                           FLORENCE         KY   41042
WYLER BUICK PONTIAC GMC
JEFF WYLER BUICK PONTIAC GMC             1154 BURLINGTON PIKE                                                                                              FLORENCE        KY    41042‐1249
JEFF WYLER BUICK‐PONTIAC‐GMC             ATTN: JOHN COLLINS, JR.            1154 BURLINGTON PIKE                                                           FLORENCE        KY    41042‐1249
JEFF WYLER CADILLAC                      5815 DIXIE HWY                                                                                                    FAIRFIELD       OH    45014‐4205
JEFF WYLER CHEVROLET                     JEFFREY WYLER                      1501 HILLCREST AVE                                                             SPRINGFIELD     OH    45504‐1571
JEFF WYLER CHEVROLET                     1501 HILLCREST AVE                                                                                                SPRINGFIELD     OH    45504‐1571
JEFF WYLER CHEVROLET‐BUICK‐PONTIAC       1117 STATE ROUTE 32                                                                                               BATAVIA         OH    45103‐2380

JEFF WYLER EASTGATE, INC.             JEFFREY WYLER                         1117 STATE ROUTE 32                                                            BATAVIA         OH    45103‐2380
JEFF WYLER FAIRFIELD, INC.            JEFFREY WYLER                         5815 DIXIE HWY                                                                 FAIRFIELD       OH    45014‐4205
JEFF WYLER SPRINGFIELD, INC.          JEFFREY WYLER                         1501 HILLCREST AVE                                                             SPRINGFIELD     OH    45504‐1571
JEFF YAHN                             4599 LOCKWOOD BLVD                                                                                                   YOUNGSTOWN      OH    44511‐3739
JEFF YARATCH                          18053 HILLCREST DR                                                                                                   LAKE MILTON     OH    44429‐9728
JEFF ZIFF                             15163A BEVERLY DR                                                                                                    PHILADELPHIA    PA    19116‐1410
JEFF'S AUTO & TOWING CENTER           11547 AVON BELDEN RD                                                                                                 GRAFTON         OH    44044‐9441
JEFF'S AUTO BODY AND COLLISION CENTER                                       5446 SNYDERTOWN RD                                                                             PA    17860

JEFF'S AUTO PARTS                        22 QUICK RD                                                                                                       ELKVIEW         WV    25071‐9529
JEFF'S AUTO REPAIR                       351 E MAIN ST                                                                                                     FARMINGTON      AR    72730‐3031
JEFF'S AUTO SERVICE INC.                 526 2ND AVE SE                                                                                                    DYERSVILLE      IA    52040‐1903
JEFF'S PRO SHOP & TROPHIES               ATTN: JEFF STORRS                  1205 WASHINGTON AVE                                                            BAY CITY        MI    48708‐5744
JEFF'S REPAIR                            421 E CYPRESS ST                                                                                                  BRINKLEY        AR    72021‐2920
JEFF'S SERVICE CENTER                    N17799 US HIGHWAY 53                                                                                              GALESVILLE      WI    54630‐8563
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Name                           Address1                         Address2                        Address3                  Address4               City             State   Zip
JEFF, JEAN P                   11 PARKVIEW RD                                                                                                    CLINTON           MS     39056‐3550
JEFFCO                         812 E TAYLOR AVE                                                                                                  SAINT LOUIS       MO     63147‐2819
JEFFCO, GRACE B                4681 WARREN SHARON ROAD                                                                                           VIENNA            OH     44473‐9667
JEFFCO, JAMES T                5127 BIRCHCREST DR                                                                                                YOUNGSTOWN        OH     44515‐3922
JEFFCO, JAY E                  4681 WARREN SHARON                                                                                                VIENNA            OH     44473‐9667
JEFFCOAT, JOHN R               240 MARSH HAWK DR                                                                                                 VONORE            TN     37885‐5324
JEFFCOAT, TRAVIS E             2409 WESTCHESTER DR                                                                                               MOORE             OK     73160‐6255
JEFFCOTT, DENNIS A             4887 OAKHURST LN                                                                                                  FRISCO            TX     75034
JEFFERA BEASLEY                5450 S ACRES DR                                                                                                   HOUSTON           TX     77048‐1121
JEFFERDS CORP/NASHVL           1855 AIR LANE DR                                                                                                  NASHVILLE         TN     37210‐3811
JEFFERDS CORPORATION           RICHARD SINCLAIR                 652 WINFIELD RD                                                                  SAINT ALBANS      WV     25177‐1554
JEFFERDS, JANET K              9103 N UNION ST LOT 108                                                                                           TECUMSEH          MI     49286‐1071
JEFFEREY ARNOLD                3208 HEPFER RD                                                                                                    LANSING           MI     48911‐2215
JEFFEREY CZUCHAJ               33477 CRESTWELL DR                                                                                                STERLING HTS      MI     48310‐6021
JEFFEREY GARMAN                8021 WASHBURN RD                                                                                                  GOODRICH          MI     48438‐9600
JEFFEREY R JORDAN              403 BARRY ROAD                                                                                                    ROCHESTER         NY     14617‐4708
JEFFERIES I I I, BURTON J      2836 SEMPLE AVE                                                                                                   SAINT LOUIS       MO     63120‐2019
JEFFERIES WILLIAM J (481226)   KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                                    CLEVELAND         OH     44114
                                                                BOND COURT BUILDING
JEFFERIES, DENNIS E            86 BEEKMAN AVE STE 1                                                                                              SLEEPY HOLLOW    NY      10591‐7737
JEFFERIES, EDNA M              1190 E BOCOCK RD                                                                                                  MARION           IN      46952‐8798
JEFFERIES, LARRY D             724 WINDING CREEK DR                                                                                              WENTZVILLE       MO      63385‐3395
JEFFERIES, MARLON K            2025 BARKS ST                                                                                                     FLINT            MI      48503‐4305
JEFFERIES, MARLON KEITH        2025 BARKS ST                                                                                                     FLINT            MI      48503‐4305
JEFFERIES, MARTHA SUE          1421 N UNIVERSITY AVE APT S201                                                                                    LITTLE ROCK      AR      72207‐5162
JEFFERIES, RICHARD A           1533 S MARION AVE                                                                                                 JANESVILLE       WI      53546‐5422
JEFFERIES, SHIRLEY             5613 SINCLAIR LN APT G                                                                                            BALTIMORE        MD      21206‐4580
JEFFERIES, SHIRLEY             5613 SINCLAIR LANE               APT G                                                                            BALTIMORE        MD      21206
JEFFERIES, WESLEY              5410 LITANY LN                                                                                                    BALTIMORE        MD      21237‐4522
JEFFERIES, WILLIAM J           KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                                     CLEVELAND        OH      44114
                                                                BOND COURT BUILDING
JEFFERIS, DENNIS W             7238 AIRY VIEW DRIVE                                                                                              LIBERTY TWP      OH      45044‐8777
JEFFERIS, DONALD L             3490 BALLYBRIDGE CIR APT 103                                                                                      BONITA SPRINGS   FL      34134‐0920
JEFFERIS, HARRIETT L           680 FRANKLIN STREET                                                                                               ALBANY           IN      47320‐1321
JEFFERIS, HARRIETT L           680 E FRANKLIN ST                                                                                                 ALBANY           IN      47320‐1323
JEFFERIS, JANET E              223 HARMAN BLVD                                                                                                   DAYTON           OH      45419‐3528
JEFFERIS, LORI                 JEFFREY MATTHEWS ‐ MATTHEWS &    9610 LONG POINT RD STE 360                                                       HOUSTON          TX      77055‐4258
                               EASLEY
JEFFERS DESTER C (429179)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                      NORFOLK           VA     23510
                                                                STREET, SUITE 600
JEFFERS II, EDWARD L           145 ARMENTROUT LANE                                                                                               JONESBOROUGH     TN      37659‐4251
JEFFERS JOHN                   18645 AUBURN GLEN DR                                                                                              CHAGRIN FALLS    OH      44023‐9094
JEFFERS JR, LAWTON E           4008 OAKFIELD DR                                                                                                  INDIANAPOLIS     IN      46237‐3850
JEFFERS JR, PAUL L             12008 N PAR CT                                                                                                    SUN CITY         AZ      85351‐3733
JEFFERS JR, RALPH E            8698 S COUNTY ROAD 925 E                                                                                          PLAINFIELD       IN      46168‐9170
JEFFERS JR, WILLIAM A          451 SWAN CIR                                                                                                      ELSMERE          KY      41018‐1939
JEFFERS LLOYD                  JEFFERS, LLOYD                   120 WEST MADISON STREET 10TH                                                     CHICAGO          IL      60602
                                                                FLOOR
JEFFERS LLOYD                  JEFFERS, MEGAN                   KROHN & MOSS ‐ IN               120 WEST MADISON STREET                          CHICAGO           IL     60602
                                                                                                10TH FLOOR
JEFFERS PATRICIA AND           ALEX SIMANOVSKY AND ASSOCIATES   2300 HENDERSON MILL RD NE STE                                                    ATLANTA           GA     30345‐2704
JEFFERS RICHARD                JEFFERS, RICHARD                 5152 NORWOOD AVE                                                                 JACKSONVILLE      FL     32208‐5032
JEFFERS ROBERT                 JEFFERS, ROBERT                  1950 SAWTELLE BLVD STE 245                                                       LOS ANGELES       CA     90025‐7017
JEFFERS ROBERT F               400 BERRYFIELD LN APT K                                                                                           BLACKSBURG        VA     24060‐4885
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JEFFERS TEDDY B (459941)     DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                                 NORTH OLMSTED     OH 44070
JEFFERS WALLACE C (429180)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA 23510
                                                              STREET, SUITE 600
JEFFERS WAYNE                JEFFERS, WAYNE                   1138 KING STREET                                                CHRISTIANSTED    VI   00820
JEFFERS WENDELL P (485705)   GEORGE & SIPES                   151 N DELAWARE ST             STE 1700                          INDIANAPOLIS     IN   45204‐2503
JEFFERS, ALVIN M             76 ORCHARD AVE                                                                                   HAZEL PARK       MI   48030‐1338
JEFFERS, AMBERLY J           4611 WHITEGATE DR                                                                                BEAVERCREEK      OH   45430‐1923
JEFFERS, ANDREW J            6113 WINDSTONE LN                                                                                CLARKSTON        MI   48346‐5012
JEFFERS, ANGELE M            11601 E CORUNNA RD                                                                               LENNON           MI   48449‐9654
JEFFERS, ANN V               9084 STEAMBOAT WAY                                                                               WEST CHESTER     OH   45069‐7018
JEFFERS, ARCHIE D            6100 AFTON DR                                                                                    DAYTON           OH   45415‐1828
JEFFERS, BRET                BISNAR & CHASE                   1301 DOVE ST STE 760                                            NEWPORT BEACH    CA   92660‐2476
JEFFERS, CAROL A             437 W SCHLEIER ST APT 18                                                                         FRANKENMUTH      MI   48734‐1094
JEFFERS, CAROLYN J           874 MOUNTAIN VIEW RD                                                                             ROBBINS          TN   37852
JEFFERS, CAROLYN J           874 MT VIEW RD                                                                                   ROBBINS          TN   37852‐3340
JEFFERS, CAROLYN S           489 S. LINCOLN STREET                                                                            MARTINSVILLE     IN   46151‐2212
JEFFERS, CAROLYN S           489 S LINCOLN ST                                                                                 MARTINSVILLE     IN   46151‐2212
JEFFERS, CHARLES W           5300 E DESERT INN RD UNIT 256                                                                    LAS VEGAS        NV   89122‐4073
JEFFERS, CLIFTON M           PO BOX 1307                                                                                      HARLAN           KY   40831‐1307
JEFFERS, DENNIS E            11478 MARKLEY RD                                                                                 GAINES           MI   48436‐8903
JEFFERS, DENNIS ERNOLD       11478 MARKLEY RD                                                                                 GAINES           MI   48436‐8903
JEFFERS, DESTER C            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA   23510‐2212
                                                              STREET, SUITE 600
JEFFERS, DON                 3168 ROCKLAND MILLS RD                                                                           CENTER           KY   42214‐9516
JEFFERS, DON L               3303 N OSAGE ST                                                                                  INDEPENDENCE     MO   64050‐1132
JEFFERS, DONALD L            3484 LOON LAKE CT                                                                                LINDEN           MI   48451‐9440
JEFFERS, DOREEN J            2035 MORRISH RD                                                                                  SWARTZ CREEK     MI   48473‐9753
JEFFERS, GALE                4512 WOODLYNN CT                                                                                 FORT WAYNE       IN   46816‐4157
JEFFERS, GEORGE G            125 WINSON AVE                                                                                   ENGLEWOOD        FL   34223‐3135
JEFFERS, GLENDA J            3913 EISENHOWER DR                                                                               INDIANAPOLIS     IN   46254‐2800
JEFFERS, HENRY J             4939 HICKORY WOODS TRL                                                                           DAYTON           OH   45432‐3223
JEFFERS, HILLERY O           2636 DONORA AVE NE                                                                               WARREN           OH   44483‐2506
JEFFERS, JACK L              601 SPANISH MOSS DR                                                                              WILDWOOD         FL   34785‐5353
JEFFERS, JAMES B             508 W PALM ST                                                                                    ROODHOUSE        IL   62082‐1244
JEFFERS, JAMES F             PO BOX 572                                                                                       LINDEN           MI   48451‐0572
JEFFERS, JAMES R             30205 WESTLAWN DR                                                                                BAY VILLAGE      OH   44140‐1608
JEFFERS, JAMES R             1272 MATHEWS AVE                                                                                 LAKEWOOD         OH   44107‐3123
JEFFERS, JAMES V             MACLEAN LESLIE                   3219 MCKINNEY AVE                                               DALLAS           TX   75204‐2472
JEFFERS, JEAN L              18526 DOG LEG RD                                                                                 MARYSVILLE       OH   43040‐9273
JEFFERS, JEREMY L            8148 HARRISON DR                                                                                 INDIANAPOLIS     IN   46226‐2029
JEFFERS, JIMMY W             298 MORTON RD                                                                                    LAFOLLETTE       TN   37766‐7412
JEFFERS, JOE E               4611 WHITEGATE DR                                                                                BEAVERCREEK      OH   45430‐1923
JEFFERS, JOSEPH A            11486 VISTA DR                                                                                   FENTON           MI   48430‐2492
JEFFERS, JOSEPH ANTHONY      11486 VISTA DR                                                                                   FENTON           MI   48430‐2492
JEFFERS, JOSEPH E            106 S 1ST AVE                                                                                    LANETT           AL   36863‐2424
JEFFERS, KAREN L             4623 E 100 N                                                                                     BLUFFTON         IN   46714‐9346
JEFFERS, KENNETH E           1009 WATERFORD RD                                                                                EAST PALESTINE   OH   44413‐9722
JEFFERS, LARRY L             3814 SW LIDO DR                                                                                  LEES SUMMIT      MO   64082‐4778
JEFFERS, LOMAN               819 VINNEDGE AVE                                                                                 FAIRFIELD        OH   45014‐1751
JEFFERS, MADONNA H           133 TOPAZ TRAIL                                                                                  CORTLAND         OH   44410‐1349
JEFFERS, MADONNA H           133 TOPAZ TRL                                                                                    CORTLAND         OH   44410‐1349
JEFFERS, MARIELLEN           3141 WHISPER BLVD                                                                                DELAND           FL   32724‐8247
JEFFERS, MAROLYN             14458 N 790 EAST RD                                                                              FAIRMOUNT        IL   61841‐6329
JEFFERS, MARY A              6113 WINDSTONE LN                                                                                CLARKSTON        MI   48346‐5012
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Name                              Address1                              Address2                      Address3                Address4               City               State   Zip
JEFFERS, MARY ANN                 6113 WINDSTONE LN                                                                                                  CLARKSTON           MI     48346‐5012
JEFFERS, MELBA J                  405 PEEPLES FARM RD                                                                                                SYLANIA             GA     30467‐0901
JEFFERS, MICHAEL F                17179 HOLLY SHORES DR                                                                                              HOLLY               MI     48442‐1842
JEFFERS, MICHAEL L                6300 WOODBERRY DR                     #208                                                                         ZANESVILLE          OH     43701
JEFFERS, MILDRED M                832 CHESTER ST                                                                                                     ANDERSON            IN     46012‐4326
JEFFERS, MONIKA L                 3 LAKE VILLAGE DR                                                                                                  DURHAM              NC     27713‐8952
JEFFERS, PATRICIA M               414 LYNNWOOD                                                                                                       FRANKLIN            KY     42134
JEFFERS, PATRICIA M               414 LYNWOOD DR                                                                                                     FRANKLIN            KY     42134‐1511
JEFFERS, PAUL L                   5964 N CARROLL RD                                                                                                  INDIANAPOLIS        IN     46235‐7993
JEFFERS, REBECCA M                16546 DIXIE HWY                                                                                                    DAVISBURG           MI     48350‐1045
JEFFERS, RICHARD D                2326 BAY WOODS CT                                                                                                  BAY CITY            MI     48706‐9347
JEFFERS, RICHARD L                486 PEARL ST                                                                                                       LEETONIA            OH     44431‐1246
JEFFERS, RICHARD L                486 PEARL STREET                                                                                                   LEETONIA            OH     44431‐1246
JEFFERS, ROBERT                   CONSUMER LEGAL SERVICES               1950 SAWTELLE BLVD STE 245                                                   LOS ANGELES         CA     90025‐7017
JEFFERS, ROBERT L                 PO BOX 2265                                                                                                        MONROE              MI     48161‐7265
JEFFERS, ROSALEA                  2690 DONORA AVE NE                                                                                                 WARREN              OH     44483‐2506
JEFFERS, ROSE                     201 S CAMINO SECO APT 3101                                                                                         TUCSON              AZ     85710‐4491
JEFFERS, ROY L                    3409 MARYVALE RD                                                                                                   BALTIMORE           MD     21244‐3664
JEFFERS, SETH
JEFFERS, STEPHEN M                7760 REDMAPLE CT                                                                                                   HUBER HEIGHTS      OH      45424‐1920
JEFFERS, THOMAS W                 650 LAKEVIEW AVE                                                                                                   BIRMINGHAM         MI      48009‐3829
JEFFERS, VANESSA R                145 WEBBER ST                                                                                                      BATTLE CREEK       MI      49015‐2423
JEFFERS, VANESSA ROSE             145 WEBBER ST                                                                                                      BATTLE CREEK       MI      49015‐2423
JEFFERS, VERONICA                 HERTLIN HOUSE                         675 PORTION RD                                                               LAKE RONKONKOMA    NY      11779‐1887

JEFFERS, VICKI L                  611 N BRIDGE ST                                                                                                    LINDEN              MI     48451‐9651
JEFFERS, VIRGLE L                 1235 W GOURLEY PIKE                                                                                                BLOOMINGTON         IN     47404‐2136
JEFFERS, WALLACE C                GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                  NORFOLK             VA     23510
                                                                        STREET, SUITE 600
JEFFERS, WAYNE                    COLIANNI & COLIANNI                   1138 KING STREET                                                             CHRISTIANSTED ST    VI     00820
                                                                                                                                                     CROIX
JEFFERS, WAYNE                    45 MARS HL                                                                                                         FREDERIKSTED        VI     00840‐3775
JEFFERS, WENDELL P                GEORGE & SIPES                        151 N DELAWARE ST STE 1700                                                   INDIANAPOLIS        IN     46204‐2503
JEFFERS, WILLIAM Q                4623 E 100 N                                                                                                       BLUFFTON            IN     46714‐9346
JEFFERS, WILLIAM QUENTIN          4623 E 100 N                                                                                                       BLUFFTON            IN     46714‐9346
JEFFERS, YOUFORD E                874 MT VIEW RD                                                                                                     ROBBINS             TN     37852‐3340
JEFFERSON A AHKEE                 1091 LANCEWOOD AVE                                                                                                 RIALTO              CA     92376‐3914
JEFFERSON AUTOMOTIVE DBA DURBIN   1009 N ELM ST                                                                                                      JEFFERSON           IA     50129‐1144
AUTOMOTIVE
JEFFERSON CHEVROLET               ATTN BRIAN TELLIER                    PO BOX 7460                                                                  DETROIT             MI     48207‐0450
JEFFERSON CHEVROLET COMPANY       JAMES TELLIER                         PO BOX 7450                                                                  DETROIT             MI     48207‐0460
JEFFERSON CHEVROLET COMPANY       PO BOX 7460                                                                                                        DETROIT             MI     48207‐0450
JEFFERSON CHEVROLET COMPANY       15175 E JEFFERSON AVE                                                                                              GROSSE POINTE       MI     48230‐1312
                                                                                                                                                     PARK
JEFFERSON CITY TAX COLLECTOR      PO BOX 530                                                                                                         JEFFERSON CITY     TN      37760‐0530
JEFFERSON COCHRAN                 7050 GLENMORE DR                                                                                                   LAMBERTVILLE       MI      48144‐9540
JEFFERSON COLLEGE CONTINUING      1000 VIKING DR                                                                                                     HILLSBORO          MO      63050‐2440
EDUCATION
JEFFERSON COMMUNITY COLLEGE       4000 SUNSET BLVD                                                                                                   STEUBENVILLE       OH      43952‐3512
JEFFERSON COUNTY                  ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 830710                DEPARTMENT OF REVENUE                          BIRMINGHAM         AL      35283‐0710

JEFFERSON COUNTY                  PO BOX 830710                         DEPARTMENT OF REVENUE                                                        BIRMINGHAM          AL     35283‐0710
JEFFERSON COUNTY                  DEPT OF REVENUE                       PO BOX 830710                                                                BIRMINGHAM          AL     35283
JEFFERSON COUNTY ATTORNEY         100 JEFFERSON COUNTY PKWY                                                                                          GOLDEN              CO     80419‐0001
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JEFFERSON COUNTY AUTO PARTS           1000 CAMERA AVE STE F                                                                                          SAINT LOUIS        MO     63126‐1037
JEFFERSON COUNTY COLLECTOR            PO BOX 100                                                                                                     HILLSBORO          MO     63050‐0100
JEFFERSON COUNTY DEPARTMENT OF        PO BOX 830710                                                                                                  BIRMINGHAM         AL     35283‐0710
REVENUE
JEFFERSON COUNTY DEPT OF REVENUE      PO BOX 830710                                                                                                  BIRMINGHAM         AL     35283‐0710
JEFFERSON COUNTY FLEET                                                       21401 GOLDEN GATE CANYON RD                                                                CO     80403
JEFFERSON COUNTY KENTUCKY             PO BOX 70300                           SHERIFF DEPT.                                                           LOUISVILLE         KY     40270‐0300
JEFFERSON COUNTY KENTUCKY             ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 70300                  SHERIFF DEPT.                             LOUISVILLE         KY     40270‐0300

JEFFERSON COUNTY PUBLIC SCHOOLS       809 QUAIL ST BLDG 1 TRANSPORTATION                                                                             LAKEWOOD           CO     80215
                                      DEPT
JEFFERSON COUNTY SHERIFFS OFFICE      PO BOX 70300                                                                                                   LOUISVILLE         KY     40270‐0300
JEFFERSON COUNTY SUPPORT OFF          ACCOUNT OF MC KINLEY BOATNER          JEFFERSON CTY COURTHOUSE                                                 BEAUMONT           TX     46406
JEFFERSON COUNTY TAX COLLECTOR        PO BOX 2112                                                                                                    BEAUMONT           TX     77704‐2112
JEFFERSON COUNTY TAX COLLECTOR        ROOM 201 COURTHOUSE                                                                                            BESSEMER           AL     35020
JEFFERSON COUNTY TAX COLLECTOR        J.T. SMALLWOOD                        716 RICHARD ARRINGTON JR.                                                BIRMINGHAM         AL     35203
JEFFERSON COUNTY TAX COLLECTOR        PO BOX 1190                           GROVER DUNN, ASSISTANT TAX                                               BESSEMER           AL     35021‐1190
                                                                            COLLECTOR
JEFFERSON COUNTY TREASURER            220 N MAIN ST RM 104                                                                                           WAURIKA           OK      73573‐2235
JEFFERSON COUNTY TREASURER            134 NORTH CLARK                                                                                                RIGBY             ID      83442
JEFFERSON COUNTY TREASURER            DEPT 2075                                                                                                      DENVER            CO      80256‐0001
JEFFERSON COUNTY TREASURER            411 4TH ST.                                                                                                    FAIRBURY          NE      68352
JEFFERSON COUNTY TREASURER            3OO EAST MAIN ST. ROOM 105                                                                                     MADISON           IN      47250
JEFFERSON COUNTY TREASURER            PO BOX 398                                                                                                     STEUBENVILLE      OH      43952‐5398
JEFFERSON COUNTY TRUSTEE              PO BOX 38                                                                                                      DANDRIDGE         TN      37725‐0038
JEFFERSON COUNTY TX                   SE TEXAS REGIONAL AIRPORT             4875 PARKER DR                                                           BEAUMONT          TX      77705‐7649
JEFFERSON COUNTY, AL                  DEPT OF REVENUE
JEFFERSON COUNTY, TEXAS               PO BOX 1366                           ATTN: AIRPORT MANAGER                                                    NEDERLAND         TX      77627‐1366
JEFFERSON CTY COURT CLERK             ACCT OF LAWRENCE WARREN               100 JEFFERSON COUNTY PKWY                                                GOLDEN            CO      80401‐6000
JEFFERSON D PAYNE                     245 E PEASE AVE                                                                                                WEST CARROLLTON   OH      45449‐1462

JEFFERSON DANIELS                     5110 PATTERSON LAKE RD                                                                                         PINCKNEY           MI     48169‐9742
JEFFERSON DAVIS PARISH                PO BOX 1161                                                                                                    JENNINGS           LA     70546‐1161
JEFFERSON DAVIS PARISH                ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 1161                                                             JENNINGS           LA     70546‐1161

JEFFERSON DAVIS PARISH SCHOOL BOARD PO BOX 1161                             SALES TAX DEPARTMETN                                                     JENNINGS           LA     70546‐1161

JEFFERSON DAVIS TAX COLLECTOR         PO BOX 547                                                                                                     PRENTISS          MS      39474‐0547
JEFFERSON DONALDSON                   1228 SHORT STREET                                                                                              BLYTHEVILLE       AR      72315‐5444
JEFFERSON EAST BUSINESS ASSOCIATION   14628 E JEFFERSON AVE                                                                                          DETROIT           MI      48215‐2967

JEFFERSON ELORA CORP                  CATHY COPELAND                        60 FIRST LINE ROAD                                                       ADEL               GA     31620
JEFFERSON ELORA CORPORATION           60 FIRST LINE                                                                        ELORA CANADA ON N0B 1S0
                                                                                                                           CANADA
JEFFERSON FULLHART                    4049 E 900 N                                                                                                   ALEXANDRIA        IN      46001‐8274
JEFFERSON HARBIN                      212 BROOKE DR                                                                                                  ALPHARETTA        GA      30009‐1524
JEFFERSON HATTIE M (662536)           PARKER DUMLER & KIELY                 111 S CALVERT ST STE 1705                                                BALTIMORE         MD      21202‐6137
JEFFERSON I I, FORD C                 3371 US HIGHWAY 50 E                                                                                           BEDFORD           IN      47421‐8567
JEFFERSON II, FORD CHARLES            3371 US HIGHWAY 50 EAST                                                                                        BEDFORD           IN      47421‐8667
JEFFERSON II, THOMAS G                23157 RIVERSIDE DR                                                                                             SOUTHFIELD        MI      48033‐7301
JEFFERSON INDUSTRIES CORP             CATHY COPELAND                        60 FIRST LINE ROAD                                                       ADEL              GA      31620
JEFFERSON JANICE                      1251 JOSLYN AVE                                                                                                PONTIAC           MI      48340‐2064
JEFFERSON JR, ALBERT                  15287 CARLISLE ST                                                                                              DETROIT           MI      48205‐1336
JEFFERSON JR, AMOS                    20173 SORRENTO ST                                                                                              DETROIT           MI      48235‐1130
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Name                                    Address1                             Address2                        Address3         Address4               City                 State   Zip
JEFFERSON JR, ANSLEY                    18966 ROSEMONT AVE                                                                                           DETROIT               MI     48219
JEFFERSON JR, CLEOPHUS                  1266 ST EDMUNDS WAY                                                                                          BRENTWOOD             CA     94513‐6959
JEFFERSON JR, DENNIS C                  586 LINTON HILL RD                                                                                           NEWTOWN               PA     18940‐1204
JEFFERSON JR, JAMES R                   7415 MARSLAND LN                                                                                             ARLINGTON             TX     76001‐7390
JEFFERSON JR, JAMES RICARDO             7415 MARSLAND LN                                                                                             ARLINGTON             TX     76001‐7390
JEFFERSON JR, JOHN                      5418 BLAINE AVE SE                                                                                           KENTWOOD              MI     49508‐6033
JEFFERSON JR, NOAH T                    404 GERONIMO CT                                                                                              FREDERICK             MD     21701‐4716
JEFFERSON JR, OLLIE                     3943 168TH PL                                                                                                CNTRY CLB HLS          IL    60478‐2133
JEFFERSON JR, WILEY                     18604 GRUEBNER ST                                                                                            DETROIT               MI     48234‐3722
JEFFERSON KEARNEY                       831 LOYOLA DR                                                                                                ANN ARBOR             MI     48103‐3026
JEFFERSON KING                          105 BELVEDERE DR                                                                                             BIRMINGHAM            AL     35242‐6625
JEFFERSON LEROY                         2965 CALVERT ST                                                                                              DETROIT               MI     48206‐1405
JEFFERSON LEROY (438417) ‐ CZELADYN     WILENTZ GOLDMAN & SPITZER            88 PINE STREET , WALL STREET                                            NEW YORK              NY     10005
JOHN                                                                         PLAZA
JEFFERSON LINNIE (ESTATE OF) (643052)   BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                           NORTHFIELD           OH      44067
                                                                             PROFESSIONAL BLDG
JEFFERSON LIVINGSTON                    2406 BATTERSEA PL APT 103                                                                                    BALTIMORE            MD      21244‐7941
JEFFERSON MEYER                         1413 N PARK PL                                                                                               MOORE                OK      73160‐8946
JEFFERSON MOTOR SERVICE, INC.           37089 JEFFERSON AVE                                                                                          HARRISON             MI      48045‐3604
                                                                                                                                                     TOWNSHIP
JEFFERSON MOTORS, INC                   24 ESSEX ST                                                                                                  ALBANY               NY      12206‐2027
JEFFERSON MURRIEL                       15091 MONTE VISTA ST                                                                                         DETROIT              MI      48238‐1624
JEFFERSON O SMITH                       1361 KINGSLEY AVE                                                                                            DAYTON               OH      45406
JEFFERSON OLLIE JR (507536)             COON BRENT W                         PO BOX 4905                                                             BEAUMONT             TX      77704‐4905
JEFFERSON PAIN AND R                    4735 CLAIRTON BLVD                                                                                           PITTSBURGH           PA      15236‐2115
JEFFERSON PARISH                        SALES/USE TAX DIVISION               PO BOX 248                                                              GRETNA               LA      70054
JEFFERSON PARISH BUREAU OF REVENUE
AND TAXATION
JEFFERSON PARISH TAX COLL               PO BOX 130                                                                                                   GRETNA               LA      70054‐0130
JEFFERSON PAYNE                         245 E PEASE AVE                                                                                              WEST CARROLLTON      OH      45449‐1462

JEFFERSON PETERSON                      6596 DYSINGER RD APT 9                                                                                       LOCKPORT              NY     14094‐9392
JEFFERSON PLAS/TROY                     2040 AUSTIN DR                       ATTN. JESSIE JEFFERSON          P.O. BOX 99550                          TROY                  MI     48083‐2209
JEFFERSON PLASTIC CO INC                ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 806010                                                           ST CLAIR SHORES       MI     48080‐6010
                                        AGENT
JEFFERSON PLASTIC CO INC                23060 E INDUSTRIAL DR                                                                                        SAINT CLAIR SHORES    MI     48080‐1177

JEFFERSON POLLOCK                       6560 HIGHWAY 6 W # A                                                                                         BATESVILLE           MS      38606‐6506
JEFFERSON RATLEDGE                      7267 MADISON AVE                                                                                             CANADIAN LAKE        MI      49346‐8320
JEFFERSON RAYMOND (657756)              ZAMLER, MELLEN & SHIFFMAN            23077 GREENFIELD RD STE 557                                             SOUTHFIELD           MI      48075‐3727
JEFFERSON REGIONAL M                    PO BOX 643041                                                                                                PITTSBURGH           PA      15264‐3041
JEFFERSON RUBBER WORKS INC              17 COPPAGE DR                                                                                                WORCESTER            MA      01603‐1252
JEFFERSON SANFORD                       PO BOX 115                                                                                                   MOUNTAIN VIEW        AR      72560‐0115
JEFFERSON SCHULER                       634 W YORK AVE                                                                                               FLINT                MI      48505‐2032
JEFFERSON SERR                          3270 W MAIN ST RT 4                                                                                          OWOSSO               MI      48867
JEFFERSON SMITH                         180 WADE SUB. LANE                                                                                           GAINESBORO           TN      38562
JEFFERSON SMURFIT CORP                  401 ALTON ST                                                                                                 ALTON                IL      62002‐2437
JEFFERSON SR, HERMAN O                  3942 SUSANNA RD                                                                                              RANDALLSTOWN         MD      21133‐4045
JEFFERSON SR, JOHN E                    1292 PUNKIN CENTER RD                                                                                        CASTOR               LA      71016‐4249
JEFFERSON STADE                         16401 27 MILE RD                                                                                             RAY                  MI      48096‐3414
JEFFERSON STATE COMMUNITY COLLEGE       2601 CARSON RD                                                                                               BIRMINGHAM           AL      35215‐3007

JEFFERSON T HUNT                        901 MARSTON AVE                                                                                              GADSDEN               AL     35904‐1421
JEFFERSON UNIVERSITY                    PO BOX 828937                                                                                                PHILADELPHIA          PA     19182‐37
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Name                            Address1                        Address2            Address3         Address4                City             State   Zip
JEFFERSON UTLEY JR              105 FERRIS AVE                                                                               SYRACUSE          NY     13224‐1516
JEFFERSON W UTLEY JR            105 FERRIS AVE                                                                               SYRACUSE          NY     13224‐1516
JEFFERSON WELLS INTERNATIONAL   BOX 68‐4031                                                                                  MILWAUKEE         WI     53268‐4031
JEFFERSON WELLS INTERNATIONAL   1000 TOWN CTR STE 1000                                                                       SOUTHFIELD        MI     48075‐1227
JEFFERSON WELLS INTERNATIONAL   100 MANPOWER PLACE                                                                           MILWAUKEE         WI     53212
JEFFERSON WELLS INTL INC        825 N JEFFERSON ST STE 200                                                                   MILWAUKEE         WI     53202‐3720
JEFFERSON WELLS INTL INC        PO BOX 8477 STATION A                                                TORONTO CANADA ON M5W
                                                                                                     3P1 CANADA
JEFFERSON, A                    9075 SARANAC TRL                                                                             FORT WORTH       TX      76118‐7599
JEFFERSON, ADA B                100 FLEMING DR                                                                               BALTIMORE        MD      21222‐6232
JEFFERSON, ALFRED A             29340 STELLAMAR DR                                                                           SOUTHFIELD       MI      48076‐5267
JEFFERSON, ALVIN M              7698 PLUMARIA DR                                                                             FONTANA          CA      92336‐1658
JEFFERSON, ANDREW               17205 ALBA CT                                                                                CLINTON TWP      MI      48038‐2003
JEFFERSON, ARTHUR J             2176 PHILLIPS RD                                                                             AUBURN HILLS     MI      48326‐2445
JEFFERSON, BARBARA F            805 N ROOSEVELT AVE                                                                          SHAWNEE          OK      74801‐6548
JEFFERSON, BARBARA FAYE         805 N ROOSEVELT AVE                                                                          SHAWNEE          OK      74801‐6548
JEFFERSON, BENNIE L             19675 STOTTER ST                                                                             DETROIT          MI      48234‐3139
JEFFERSON, BERNADEL L           G‐6190 N DORT HWY                                                                            MOUNT MORRIS     MI      48458
JEFFERSON, BERNICE              937 WESTOVER CIR                                                                             LANSING          MI      48917‐4025
JEFFERSON, BERNICE T            133 R.L. JEFFERSON RD                                                                        CANTON           MS      39046‐8836
JEFFERSON, BERNICE T            133 R L JEFFERSON RD                                                                         CANTON           MS      39046‐8836
JEFFERSON, BETTYE J             5276 LAKE VILLAGE DR                                                                         MEMPHIS          TN      38125‐4100
JEFFERSON, BOBBY R              PO BOX 1351                                                                                  FLINT            MI      48501‐1351
JEFFERSON, BRENDA L             2211 SANTA BARBARA DR                                                                        FLINT            MI      48504‐2066
JEFFERSON, CARL W               313 CHAR LN                                                                                  MIDWEST CITY     OK      73110‐2017
JEFFERSON, CARLOS A             2383 BEVERLY PL                                                                              COLUMBUS         OH      43209‐2809
JEFFERSON, CAROL ANN            4866 MASSILON RD                APT 9                                                        NORTH CANTON     OH      44720
JEFFERSON, CAROL ANN            4866 MASSILLON RD APT 9                                                                      NORTH CANTON     OH      44720‐1455
JEFFERSON, CAROL J              P.O. BOX 1942                                                                                YOUNGSTOWN       OH      44506‐4506
JEFFERSON, CAROL J              PO BOX 1942                                                                                  YOUNGSTOWN       OH      44506‐0042
JEFFERSON, CATHY L              10919 RUNNING TIDE CT                                                                        INDIANAPOLIS     IN      46236‐8426
JEFFERSON, CHARLES D            316 HARRISON ST                                                                              PONTIAC          MI      48341‐2442
JEFFERSON, CHARLES E            111 N ROSELAWN ST                                                                            PONTIAC          MI      48342‐2750
JEFFERSON, CHARLES I            730 VICTORIA PL SW                                                                           ATLANTA          GA      30310‐2768
JEFFERSON, CHARLIE              6734 S MERRILL AVE                                                                           CHICAGO          IL      60649‐1108
JEFFERSON, CHARLOTTE V          1506 CADILLAC DR E                                                                           KOKOMO           IN      46902‐2540
JEFFERSON, CLARENCE             6643 HOLLINGSWORTH DR                                                                        INDIANAPOLIS     IN      46268‐5010
JEFFERSON, DANA L               24715 CASHMERE CT                                                                            SOUTHFIELD       MI      48033‐4869
JEFFERSON, DANNY L              310 AVALON FOREST DR                                                                         LAWRENCEVILLE    GA      30044‐7822
JEFFERSON, DARLENE              4601 MYRTLE AVE                                                                              KANSAS CITY      MO      64130‐2437
JEFFERSON, DAVID J              7961 KY 377                                                                                  VANCEBURG        KY      41179‐8519
JEFFERSON, DAVID R              13108 TULLER ST                                                                              DETROIT          MI      48238
JEFFERSON, DAWNETTE M           1325 GREENRIDGE DR                                                                           FLINT            MI      48532‐3541
JEFFERSON, DAWNETTE MARIE       1325 GREENRIDGE DR                                                                           FLINT            MI      48532‐3541
JEFFERSON, DENNIS N             111 CARROLL CIR                                                                              FREDERICKSBURG   VA      22405‐3113
JEFFERSON, DORA                 1589 ALTA VISTA DRIVE                                                                        MEMPHIS          TN      38127
JEFFERSON, DORA L               15700 PROVIDENCE DR             APT 301                                                      SOUTHFIELD       MI      48075
JEFFERSON, DORA L               15700 PROVIDENCE DR APT 301                                                                  SOUTHFIELD       MI      48075‐3126
JEFFERSON, DOROTHY M            5239 GROSSE POINTE STREET                                                                    PORTAGE          MI      49024‐5806
JEFFERSON, EARL L               1415 LASCERNE CIR S                                                                          MANSFIELD        OH      44906‐2713
JEFFERSON, EARLEAN              1020 OLD FURNACE RD                                                                          YOUNGSTOWN       OH      44511‐1338
JEFFERSON, EDDIE L              4265 THUNDERSTONE CIR W                                                                      MEMPHIS          TN      38125‐3111
JEFFERSON, EDWARD E             116 DAVE DRIVE                                                                               CLARKSVILLE      TN      37042‐1000
JEFFERSON, EDWARD E             118 HIGHWAY 332 W                                                                            NASHVILLE        AR      71852‐8000
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Name                        Address1                        Address2            Address3         Address4               City               State   Zip
JEFFERSON, ELLEN            1871 CAMINO VERDE LN                                                                        LAS VEGAS           NV     89119‐6014
JEFFERSON, ELVIS B          1652 LILLIAN CIR                                                                            COLUMBIA            TN     38401‐5418
JEFFERSON, ERIC B           601 BOWMAN ST                                                                               MANSFIELD           OH     44903‐1238
JEFFERSON, ERIC G           2168 MOUNTAIN CITY ST                                                                       HENDERSON           NV     89052‐8563
JEFFERSON, EUGENE           760 SAINT CLAIR ST                                                                          DETROIT             MI     48214‐3660
JEFFERSON, EVANGELINE B     1502 WILLOW DRIVE                                                                           TROUTWOOD           OH     45426‐2094
JEFFERSON, EVANGELINE B     1502 WILLOW DR                                                                              TROTWOOD            OH     45426‐2094
JEFFERSON, FLORA B          2414 N WILLOW WAY                                                                           INDIANAPOLIS        IN     46268‐1362
JEFFERSON, FRANCES R        15287 CARLISLE ST                                                                           DETROIT             MI     48205
JEFFERSON, FRANK J          10032 SUNSET DR                                                                             LENEXA              KS     66220‐3733
JEFFERSON, GEORGE E         168 HOMECREST RD                                                                            BATTLE CREEK        MI     49037‐2650
JEFFERSON, GEORGE L         1308 SAN MIGUEL AVE                                                                         SPRING VALLEY       CA     91977‐4439
JEFFERSON, GERALD J         1506 CADILLAC DR EAST                                                                       KOKOMO              IN     46902
JEFFERSON, GLORIA A         1850 HOLLOW TRACE WAY                                                                       NORCROSS            GA     30071
JEFFERSON, GLORIA A         309 N PARKWAY DR                                                                            EL DORADO           AR     71730‐3744
JEFFERSON, GLORIA A         4600 E 40TH ST                                                                              KANSAS CITY         MO     64130
JEFFERSON, GUS L            1325 GREENRIDGE DR                                                                          FLINT               MI     48532
JEFFERSON, GWENDOLYN J      4265 HOLLY HILL BLVD                                                                        ELLENWOOD           GA     30294‐6510
JEFFERSON, GWINDA B         1301 PICKWICK PLACE                                                                         FLINT               MI     48507
JEFFERSON, H                6408 SOUTH TROPICAN AV                                                                      LECANTO             FL     34461
JEFFERSON, HAROLD DARNELL   310 MARTIN LUTHER KING BLVD                                                                 PONTIAC             MI     48342
JEFFERSON, HAROLD G         1627 HARVEST LN                                                                             YPSILANTI           MI     48198‐3365
JEFFERSON, HATTIE M         PARKER DUMLER & KIELY           111 S CALVERT ST    STE 1705                                BALTIMORE           MD     21202‐3106
JEFFERSON, HELEN            112 SECRET OAK CT                                                                           INWOOD              WV     25428
JEFFERSON, HERMAN T         4 PATRICIA DR                                                                               FAIRVIEW HEIGHTS     IL    62208‐1720

JEFFERSON, HERMAN TRUMAN    4 PATRICIA DR                                                                               FAIRVIEW HEIGHTS    IL     62208‐1720

JEFFERSON, HOMER            2845 N CAPITOL AVE                                                                          INDIANAPOLIS       IN      46208‐5129
JEFFERSON, HOSIE            704 HAMLET CT                                                                               AUBURN HILLS       MI      48326‐3477
JEFFERSON, JACKIE L         1330 VAUXHALL PL                                                                            COLUMBUS           OH      43204‐2201
JEFFERSON, JAMES            5527 LYNVIEW AVE                                                                            BALTIMORE          MD      21215‐4314
JEFFERSON, JAMES R          937 WESTOVER CIR                                                                            LANSING            MI      48917‐4025
JEFFERSON, JANICE M         1003 BERWICK BLVD                                                                           PONTIAC            MI      48341‐2318
JEFFERSON, JERMARIO T       3141 RANSOM ST                                                                              ARCADIA            LA      71001‐3239
JEFFERSON, JERRY L          7275 SW MANOR WAY UNIT D                                                                    ALOHA              OR      97007‐4194
JEFFERSON, JERRY L          7275‐D S.W.MANORWAY                                                                         ALOHA              OR      97007
JEFFERSON, JIMMIE           352 KENTWOOD BLVD                                                                           BRICK              NJ      08724‐3141
JEFFERSON, JOE D            5954 LAUREL HALL DR                                                                         INDIANAPOLIS       IN      46226‐2309
JEFFERSON, JOHN G           6010 SALLY CT                                                                               FLINT              MI      48505‐2568
JEFFERSON, JOHN L           18651 LAMONT ST                                                                             DETROIT            MI      48234‐2230
JEFFERSON, JON F            2648 ANDRES WAY                                                                             ROUND ROCK         TX      78664
JEFFERSON, JOSEPH W         265 E JUDSON ST                                                                             PONTIAC            MI      48342‐3041
JEFFERSON, JOSEPHINE D      905 NEAL AVENUE, APT 8                                                                      DAYTON             OH      45406‐5238
JEFFERSON, JOYCE            933 N 84TH ST                                                                               EAST SAINT LOUIS   IL      62203‐1907
JEFFERSON, JUANITA D        1702 SE 62ND ST                                                                             OKLAHOMA CITY      OK      73149‐5127
JEFFERSON, JUDGE            18966 SAINT MARYS ST                                                                        DETROIT            MI      48235‐2948
JEFFERSON, JUEARLISH        16607 WILDEMERE ST                                                                          DETROIT            MI      48221‐3333
JEFFERSON, KACY
JEFFERSON, KATHLEEN         1975 TUXEDO APT #103                                                                        DETROIT            MI      48206‐1218
JEFFERSON, KEITH B          956 SHERIDAN ST                                                                             YPSILANTI          MI      48197‐2713
JEFFERSON, KIMBERLEY A      1324 FULLER AVE SE                                                                          GRAND RAPIDS       MI      49506‐3251
JEFFERSON, LAQUANA D        3232 ALPINE DR                                                                              ANN ARBOR          MI      48108‐1766
JEFFERSON, LENORA E         506 BRADLEY LN                                                                              YOUNGSTOWN         OH      44504‐1402
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Name                    Address1                             Address2                       Address3   Address4               City            State   Zip
JEFFERSON, LENTENE      1901 BARTH ST                                                                                         FLINT            MI     48504‐3195
JEFFERSON, LEON         1460 WELLESLEY ST                                                                                     INKSTER          MI     48141‐1522
JEFFERSON, LEON         1129 COBBLEFIELD DR                                                                                   MANSFIELD        OH     44903‐8256
JEFFERSON, LEROY        2965 CALVERT ST                                                                                       DETROIT          MI     48206‐1405
JEFFERSON, LINDA D      5543 EDMONDSON PK #169                                                                                NASHVILLE        TN     37211
JEFFERSON, LINNIE       BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD       OH     44067
                                                             PROFESSIONAL BLDG
JEFFERSON, LISA Y       3870 DENLINGER RD                                                                                     DAYTON          OH      45426‐2328
JEFFERSON, LONNIE D     487 S PADDOCK ST                                                                                      PONTIAC         MI      48341‐3031
JEFFERSON, LOUIS E      402 JAMES DR                                                                                          VIENNA          OH      44473‐8609
JEFFERSON, MAE P        5088 PRESTWOOD DR                                                                                     FLINT           MI      48504
JEFFERSON, MAJOR        6714 COLONIAL DR                                                                                      FLINT           MI      48505‐1996
JEFFERSON, MAJOR L      785 WHITTEMORE ST                                                                                     PONTIAC         MI      48342‐3362
JEFFERSON, MARCUS D     5418 BLAINE AVE SE                                                                                    KENTWOOD        MI      49508‐6033
JEFFERSON, MARJORIE L   404 GERONIMO CT                                                                                       FREDERICK       MD      21701‐4716
JEFFERSON, MARVIN H     3524 E AVENUE R SPC 86                                                                                PALMDALE        CA      93550
JEFFERSON, MARY         PO BOX 254                                                                                            GRANGER         TX      76530‐0254
JEFFERSON, MARY ALICE   LAW OFFICES OF JOHN F SHELLABARGER   928 GARDEN ST STE 3                                              SANTA BARBARA   CA      93101‐7400

JEFFERSON, MARY ANN     13508 CLAIBORNE                                                                                       E CLEVELAND     OH      44112‐3154
JEFFERSON, MATTHEW      94 ADENA RD                                                                                           WEST NEWTON     MA      02465‐1221
JEFFERSON, MAURICE G    323 WINTHROP ST                                                                                       TOLEDO          OH      43620‐1257
JEFFERSON, MCMURRY      3900 BURNEWAY DR APT 213                                                                              LANSING         MI      48911
JEFFERSON, MELVIN       2176 PHILLIPS RD                                                                                      AUBURN HILLS    MI      48326‐2445
JEFFERSON, MICHAEL A    7 BLUE SPRUCE DR                                                                                      ERIAL           NJ      08081‐5267
JEFFERSON, MICHAEL L    1007 W RIDGEWAY AVE                                                                                   FLINT           MI      48505‐5141
JEFFERSON, MICHAEL R    50 PORT OCALL DR APT B                                                                                INDIANAPOLIS    IN      46224‐8753
JEFFERSON, MICHAEL S    1038 TURRILL RD                                                                                       LAPEER          MI      48446‐3719
JEFFERSON, MILDRED L    1551 DILL AVE APT 409                                                                                 LINDEN          NJ      07036‐1770
JEFFERSON, MORRIS J     649 LOOKOUT ST                                                                                        PONTIAC         MI      48342‐2947
JEFFERSON, NORMAN E     2216 DEERING AVE                                                                                      DAYTON          OH      45406‐2507
JEFFERSON, OLLIE        COON BRENT W                         PO BOX 4905                                                      BEAUMONT        TX      77704‐4905
JEFFERSON, PATRICIA L   1117 CREEKWOOD DR                                                                                     PERRY           GA      31069‐3116
JEFFERSON, PATSY C      1515 VENICE DR                                                                                        COLUMBUS        OH      43207‐3390
JEFFERSON, PAUL         205 PATTERSON ST                                                                                      NEW CASTLE      PA      16101‐1906
JEFFERSON, PERCY        5128 PENNSYLVANIA                                                                                     DETROIT         MI      48213
JEFFERSON, PERCY        2035 HIGHWAY 13 S                                                                                     COLUMBIA        MS      39429‐8328
JEFFERSON, PERCY L      905 NEAL AVE APT 8                                                                                    DAYTON          OH      45406‐5238
JEFFERSON, PHILIPPA W   PO BOX 3536                                                                                           BROOKHAVEN      MS      39603‐7536
JEFFERSON, PHILLIP      15908 SUSSEX ST                                                                                       DETROIT         MI      48227‐2681
JEFFERSON, POOJA P      10121 N WALLACE AVE                                                                                   KANSAS CITY     MO      64157‐7895
JEFFERSON, RAYMOND      ZAMLER, MELLEN & SHIFFMAN            23077 GREENFIELD RD STE 557                                      SOUTHFIELD      MI      48075‐3727
JEFFERSON, RAYMOND E    6207 RIVERVIEW DR                                                                                     FLINT           MI      48532‐2276
JEFFERSON, REGINALD L   5088 PRESTWOOD DR                                                                                     FLINT           MI      48504‐1239
JEFFERSON, RICKY L      606 FERRIS ST                                                                                         YPSILANTI       MI      48197‐5356
JEFFERSON, RICKY LEE    606 FERRIS ST                                                                                         YPSILANTI       MI      48197‐5356
JEFFERSON, ROBERT C     3610 MASON ST                                                                                         FLINT           MI      48505‐4020
JEFFERSON, ROBERT L     4509 E 52ND ST                                                                                        KANSAS CITY     MO      64130‐3134
JEFFERSON, ROBERT R     308 E AVONDALE AVE                                                                                    YOUNGSTOWN      OH      44507‐1963
JEFFERSON, ROBERT W     777 ROYAL SAINT GEORGE DR APT 703                                                                     NAPERVILLE      IL      60563‐8909
JEFFERSON, RODELL       964 MARBURY COURT SOUTHWEST                                                                           MARIETTA        GA      30064‐2989
JEFFERSON, RONDA        345 MUELLEY PARKWAY                  #83                                                              BLOOMINGTON     IN      47403
JEFFERSON, RUSSELL K    176 VICTORY DR                                                                                        PONTIAC         MI      48342‐2566
JEFFERSON, SAM P        10334 EDGEFIELD DR                                                                                    SAINT LOUIS     MO      63136‐5624
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Name                          Address1                         Address2            Address3         Address4               City              State   Zip
JEFFERSON, SAMUEL T           1705 ENOCH DR                                                                                FORT WORTH         TX     76112‐4437
JEFFERSON, SCOTT A            2118 GATE POINTE WAY                                                                         ARLINGTON          TX     76018‐3161
JEFFERSON, SHAEKIA S          1652 LILLIAN CIR                                                                             COLUMBIA           TN     38401‐5418
JEFFERSON, SHARON G           310 AVALON FOREST DR                                                                         LAWRENCEVILLE      GA     30044‐7822
JEFFERSON, SHARON GIVENETTE   310 AVALON FOREST DR                                                                         LAWRENCEVILLE      GA     30044‐7822
JEFFERSON, STEWART E          1020 OLD FURNACE RD                                                                          YOUNGSTOWN         OH     44511‐1338
JEFFERSON, TABITHA L          114 JONQUIL ST                                                                               DAYTON             OH     45427‐1700
JEFFERSON, TAJ A              10121 N WALLACE AVE                                                                          KANSAS CITY        MO     64157‐7895
JEFFERSON, TATANISHA C        257 AVALON DRIVE                                                                             MANSFIELD          OH     44906‐2725
JEFFERSON, TERRI L            28070 STUART AVE                                                                             SOUTHFIELD         MI     48076‐2932
JEFFERSON, THELMA L           18694 WESTPHALIA ST                                                                          DETROIT            MI     48205‐2667
JEFFERSON, THELMA L           981 CARLISLE ST                                                                              PONTIAC            MI     48340‐2626
JEFFERSON, THERESA            2319 MARLENE DR                                                                              SWARTZ CREEK       MI     48473
JEFFERSON, THOMAS             4652 LOIS ST                                                                                 FORT WORTH         TX     76119‐2190
JEFFERSON, THOMAS G           2124 PINK FLAMINGO LN                                                                        TALLAHASSEE        FL     32308‐4882
JEFFERSON, THOMAS H           12428 HALLUM ST                                                                              DALLAS             TX     75243‐1828
JEFFERSON, TOMMY D            G4079 W COURT ST                                                                             FLINT              MI     48532‐3519
JEFFERSON, TOYA Y             29340 STELLAMAR DR                                                                           SOUTHFIELD         MI     48076‐5267
JEFFERSON, TREMELL M          2825 DENVER AVE                                                                              KANSAS CITY        MO     64128‐1433
JEFFERSON, TYRONE D           PO BOX 5043                                                                                  KOKOMO             IN     46904‐5043
JEFFERSON, VONCELLE           179 TAYLOR RD                                                                                MANSFIELD          OH     44903‐1822
JEFFERSON, VONCILE            179 TAYLOR RD                                                                                MANSFIELD          OH     44903‐1822
JEFFERSON, WALTER E           1030 ABERCORN DR SW                                                                          ATLANTA            GA     30331‐7513
JEFFERSON, WALTER G           PO BOX 3536                                                                                  BROOKHAVEN         MS     39603‐7536
JEFFERSON, WAYNE
JEFFERSON, WILHELMENIA        6714 COLONIAL DR                                                                             FLINT             MI      48505‐1996
JEFFERSON, WILLIAM P          11 TREEWOOD CT                                                                               MANSFIELD         TX      76063‐5439
JEFFERSON, WILLIAM S          3153 SANTIAGO DR                                                                             FLORISSANT        MO      63033‐2620
JEFFERSON, WILLIAM T          32643 CRYSTAL LAKE CT                                                                        ROMULUS           MI      48174‐6393
JEFFERSON, WILLIE J           4318 VILLAGE BEND DR                                                                         INDIANAPOLIS      IN      46254‐6254
JEFFERSON, WILLIE M           2719 NORTHWESTERN                                                                            DETROIT           MI      48206‐2569
JEFFERSON, WILLIE QUINCY      26333 KEAN ST                                                                                INKSTER           MI      48141‐2456
JEFFERSON, WONDA              4947 OLIVE ST                                                                                KANSAS CITY       MO      64130‐2625
JEFFERSON, YATASHA K          1214 IDAHO RD                                                                                YOUNGSTOWN        OH      44515
JEFFERSON‐BROWN, MARY D       20821 WAKEFIELD WAY APT 102                                                                  SOUTHFIELD        MI      48076‐4051
JEFFERY A COMLEY SR           441 LITTLE LEAGUE DR                                                                         EATON             OH      45320
JEFFERY A HALL                4617 TARA WAY                                                                                DAYTON            OH      45426‐2127
JEFFERY A HANNAHAN            70 WEST PUGH DR                                                                              SPRINGBORO        OH      45066
JEFFERY A HANNAHAN            70 W PUGH DR                                                                                 SPRINGBORO        OH      45066‐8513
JEFFERY A HAWKINS             1347 E JULIAH AVE                                                                            FLINT             MI      48505‐1733
JEFFERY A KOEBEL              427 N DEPOT ST                                                                               SANDUSKY          OH      44870‐3423
JEFFERY A KOTLARCZYK          PO BOX 895                                                                                   SPRING HILL       TN      37174‐0895
JEFFERY A LACON               2879 WAYNESVILLE‐JAMESTOWN RD                                                                XENIA             OH      45385
JEFFERY A PECKHAM             4165 MEADOWCROFT RD                                                                          KETTERING         OH      45429‐5027
JEFFERY A PELFREY             826 COLEMAN DR                                                                               HAMILTON          OH      45013‐1143
JEFFERY A RAY                 3071 SAINT CLAIR DR                                                                          ROCHESTER HILLS   MI      48309‐3936
JEFFERY A REED                P.O. BOX 121                                                                                 SPRINGBORO        OH      45066
JEFFERY A SCHNEIDER           3863 BELVO RD                                                                                MIAMISBURG        OH      45342
JEFFERY A SCHRECENGOST        517 SHELVIEW CIR                                                                             CHESAPEAKE        VA      23323
JEFFERY A SHOWALTER           4516 HASTINGS DR                                                                             KETTERING         OH      45440
JEFFERY A SPITERI             120 SEWARD ST APT 302                                                                        DETROIT           MI      48202‐4447
JEFFERY A SQUIER              158 E GLASS RD                                                                               ORTONVILLE        MI      48462‐8876
JEFFERY A STONE               PO BOX 1641                                                                                  KITTY HAWK        NC      27949‐1641
JEFFERY A VAN ORDER           10175 JANELL DR                                                                              KEITHVILLE        LA      71047‐8761
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Name                    Address1                       Address2            Address3         Address4               City           State   Zip
JEFFERY A WARD          2660 BUSHWICK DR                                                                           DAYTON          OH     45439
JEFFERY ABEARE          2051 ANOKA ST                                                                              FLINT           MI     48532‐4510
JEFFERY ADAMSON         2865 LEATHERWOOD RD                                                                        WILLIAMSPORT    TN     38487‐2825
JEFFERY AIMONE          11519 FISHER RD                                                                            BELLEVILLE      MI     48111‐2483
JEFFERY ALLEN           5070 HALLGARTEN DR                                                                         SPARKS          NV     89436‐8116
JEFFERY ALLEN           7880 BARNSBURY RD                                                                          W BLOOMFIELD    MI     48324‐3618
JEFFERY ALLEN           457 WAYMARKET DR                                                                           ANN ARBOR       MI     48103‐6617
JEFFERY ALLMAN
JEFFERY ALMONEY         47955 ANDOVER DR                                                                           NOVI           MI      48374‐3469
JEFFERY ANDERSON        14340 FAGAN RD                                                                             HOLLY          MI      48442‐9758
JEFFERY ANDREWS         1108 CANDELA LN                                                                            GRAND LEDGE    MI      48837‐2260
JEFFERY ANSLOW          6217 NORTH ELMS ROAD                                                                       FLUSHING       MI      48433‐9052
JEFFERY ARMSTER         2537 PATRICK HENRY ST                                                                      AUBURN HILLS   MI      48326‐2326
JEFFERY ASHFORD         5130 OLD HAVERHILL RD                                                                      GRAND BLANC    MI      48439‐8770
JEFFERY AUSTIN          9508 CORUNNA RD                                                                            SWARTZ CREEK   MI      48473‐9714
JEFFERY AUSTIN          88005 OVERSEAS HIGHWAY,9‐635                                                               ISLAMORADA     FL      33036
JEFFERY AVEREYN         4361 MAPLEWOOD MEADOWS AVE                                                                 GRAND BLANC    MI      48439‐8699
JEFFERY B BELCHER       725 CHANDLER DR                                                                            TROTWOOD       OH      45426‐2509
JEFFERY B DAVISON       3239 HOWARD AVE                                                                            PENNSAUKEN     NJ      08109‐3519
JEFFERY B DEWAR         831 VICTORIA AVE                                                                           FLINT          MI      48507‐1734
JEFFERY B GOODWIN       1405 STONEBRIAR DR                                                                         CARTHAGE       TX      75633‐2133
JEFFERY B MAXWELL JR.   9016 ANN AVE                                                                               KANSAS CITY    KS      66112‐3614
JEFFERY B TANDY         12422 TEACUP WAY                                                                           INDIANAPOLIS   IN      46235‐6121
JEFFERY BAGWELL         5145 SAWNEE LN                                                                             GAINESVILLE    GA      30506‐3828
JEFFERY BAILEY          109 ROARING SPRINGS DR                                                                     DESOTO         TX      75115‐5817
JEFFERY BALL            600 S 16TH ST                                                                              ELWOOD         IN      46036‐2401
JEFFERY BARBER          1706 OAKWAY CIR                                                                            COLUMBIA       TN      38401‐9077
JEFFERY BARNES          2214 BANTRY LN                                                                             ARLINGTON      TX      76002‐3868
JEFFERY BARNES          404 133RD AVE                                                                              WAYLAND        MI      49348‐9514
JEFFERY BARNHARD        2345 ITSELL RD                                                                             HOWELL         MI      48843‐8808
JEFFERY BASINGER        303 LINWOOD DR                                                                             COLUMBUS GRV   OH      45830‐1058
JEFFERY BASSLER         321 RAYMER BLVD                                                                            TOLEDO         OH      43605‐1721
JEFFERY BATES           7510 LAKERIDGE DR                                                                          FT WAYNE       IN      46819‐1965
JEFFERY BAUGHMAN        8533 OLD PLANK RD                                                                          GRAND BLANC    MI      48439‐2044
JEFFERY BAUMBACH        2027 HOPEFIELD ST                                                                          LAKE ORION     MI      48359‐2213
JEFFERY BECKHOLD        PO BOX 483                                                                                 PORTLAND       MI      48875‐0483
JEFFERY BECKMAN         13779 HARRIS RD                                                                            CHESANING      MI      48616‐8401
JEFFERY BELL            PO BOX 536                                                                                 BRASELTON      GA      30517‐0009
JEFFERY BELL III        875 REGONDA DR                                                                             DEFIANCE       OH      43512‐3631
JEFFERY BENSON          171 DURHAM ST                                                                              DALLAS         GA      30132‐3400
JEFFERY BERNARD         911 THOMAS J DR                                                                            FLINT          MI      48506‐5244
JEFFERY BERRY           7075 US HIGHWAY 127                                                                        SHERWOOD       OH      43556‐9736
JEFFERY BIESE           821 W WINNEBAGO ST                                                                         APPLETON       WI      54914
JEFFERY BISEL           3216 S CHESTER RD                                                                          CHARLOTTE      MI      48813‐9510
JEFFERY BLAIR           1512 GROVESNOR CT                                                                          ANTIOCH        TN      37013‐1896
JEFFERY BLEVINS         229 CHICKASAW DR                                                                           BIRMINGHAM     AL      35214‐3680
JEFFERY BOGART          4500 FRIEGEL RD                                                                            LAINGSBURG     MI      48848‐9794
JEFFERY BOIKE           6289 PINE RIDGE CT                                                                         FLUSHING       MI      48433‐3514
JEFFERY BONE            PO BOX 215                                                                                 WENTZVILLE     MO      63385‐0215
JEFFERY BOOKER          464 TARRAGON WAY SW                                                                        ATLANTA        GA      30331‐4120
JEFFERY BOURNE          309 N RED BUD LN                                                                           MUNCIE         IN      47304‐8910
JEFFERY BRANDT          G3100 MILLER RD APT 11C                                                                    FLINT          MI      48507‐1315
JEFFERY BRENNAN         3836 LONG MEADOW LN                                                                        LAKE ORION     MI      48359‐1443
JEFFERY BROOKS          28235 HOLLAND GIN RD                                                                       ELKMONT        AL      35620‐4827
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Name                   Address1                        Address2            Address3         Address4               City           State   Zip
JEFFERY BROWN          12201 THORNRIDGE DR                                                                         GRAND BLANC     MI     48439‐9210
JEFFERY BROWN          2178 DOWELL BRANCH RD                                                                       COLUMBIA        TN     38401‐1534
JEFFERY BRUCE          PO BOX 23051                                                                                DETROIT         MI     48223‐0051
JEFFERY BUFFMYER       3608 N EAGLE CYN                                                                            MESA            AZ     85207‐1828
JEFFERY BUICE          5785 OAK GROVE CIR                                                                          CUMMING         GA     30028‐3251
JEFFERY BULLEN         406 RANDOLPH ST                                                                             MASON           MI     48854‐1249
JEFFERY BYERS          11272 FRANCES RD                                                                            FLUSHING        MI     48433‐9224
JEFFERY BYRAM          2016 PLEASANT RIDGE DR                                                                      FORT WAYNE      IN     46819‐9514
JEFFERY C DURNAN       7673 LIONS GATE PKWY                                                                        DAVISON         MI     48423‐3710
JEFFERY C GREENE       602 ORANGE BLOSSOM DR                                                                       WINTERHAVEN     FL     33880
JEFFERY C LAWSON       12818 PROVIDENCE RD                                                                         IRONDALE        MO     63648
JEFFERY C PARTIN       8893 CROSSVILLE HWY                                                                         SPARTA          TN     38583‐3125
JEFFERY C ROSENBALM    6935 LANCASTER DR                                                                           FRANKLIN        OH     45005
JEFFERY C SHARPLEY     505 MARVIN ST SE                                                                            HARTSELLE       AL     35640
JEFFERY C VANVALLIS    4333 SW 26TH AVE                                                                            CAPE CORAL      FL     33914
JEFFERY C WEIDNER      445 S 6TH ST                                                                                MIAMISBURG      OH     45342
JEFFERY C WILLIAMS     3902 CORNELL WOODS DR W APT D                                                               DAYTON          OH     45406
JEFFERY CAMPBELL       2079 MILLER RD                                                                              METAMORA        MI     48455‐9222
JEFFERY CARLS          1025 POTEET RD                                                                              LEWISBURG       TN     37091‐5239
JEFFERY CARLSON        1213 LAKE MARIE RD                                                                          GALLATIN        TN     37066‐8702
JEFFERY CARNELL P      C/O EDWARD O MOODY P A          801 W 4TH ST                                                LITTLE ROCK     AR     72201
JEFFERY CHAMBERS JR    PO BOX 214751                                                                               AUBURN HILLS    MI     48321‐4751
JEFFERY CLAXON         320 W WHARTON DR                                                                            MARION          IN     46952‐2007
JEFFERY CLEVENGER      1353 SALTZ CT                                                                               CANTON          MI     48187‐4903
JEFFERY COLE           1326 RAMBLING RD                                                                            YPSILANTI       MI     48198‐3157
JEFFERY COLLEY         4060 W LAKE RD                                                                              CLIO            MI     48420‐8820
JEFFERY COOPER         PO BOX 152                                                                                  HUNTINGDON      PA     16652‐0152
JEFFERY COSTEW         966 MCDONALD DR                                                                             NORTHVILLE      MI     48167‐1071
JEFFERY COTNER         13220 NEFF RD                                                                               CLIO            MI     48420‐1861
JEFFERY COUTURIER      5146 REID RD                                                                                SWARTZ CREEK    MI     48473‐9418
JEFFERY COX            7811 S 700 W                                                                                WILLIAMSPORT    IN     47993‐8264
JEFFERY COX
JEFFERY CRANE          6845 LANGLE CT                                                                              CLARKSTON      MI      48346‐1440
JEFFERY CRUMMEL        1698 DOUGWOOD DR                                                                            MANSFIELD      OH      44904‐1807
JEFFERY CURLE          206 W HIGH ST                                                                               FENTON         MI      48430‐2206
JEFFERY CYPHER         3287 SWAFFER RD                                                                             MILLINGTON     MI      48746‐9618
JEFFERY D HARRINGTON   1105 SCENIC LAKE CT                                                                         ANTIOCH        TN      37013‐2500
JEFFERY D HOLMES       PO BOX 321264                                                                               FLINT          MI      48532‐0022
JEFFERY D PATTERSON    1197 S DYE RD                                                                               FLINT          MI      48532‐3341
JEFFERY D WHITE        4210 PARKVIEW AVE                                                                           ENGLEWOOD      OH      45322‐2653
JEFFERY DARON          5221 KINCANNON DR                                                                           NASHVILLE      TN      37220‐2214
JEFFERY DAVIS          6472 FISCHER ST                                                                             DETROIT        MI      48213‐2647
JEFFERY DAVIS          7070 LAPEER RD                                                                              DAVISON        MI      48423‐2534
JEFFERY DAVISON        3239 HOWARD AVE                                                                             PENNSAUKEN     NJ      08109‐3519
JEFFERY DAWES          6835 MAHONING AVE NE                                                                        ALLIANCE       OH      44601‐8884
JEFFERY DEBO           17300 PEPPERMINT LN                                                                         HOLLY          MI      48442‐8384
JEFFERY DENOME         22066 EDERER RD                                                                             MERRILL        MI      48637‐8730
JEFFERY DENSON         1301 CROWNFIELD CT                                                                          BALTIMORE      MD      21239‐1222
JEFFERY DEPRINCE       357 WOODLANDS DR                                                                            BRANDON        MS      39047‐8191
JEFFERY DESCH          5471 N EEL RIVER RD                                                                         PERU           IN      46970‐8635
JEFFERY DEWAR          831 VICTORIA AVE                                                                            FLINT          MI      48507‐1734
JEFFERY DIETER         303 RANCHO ST                                                                               EATON RAPIDS   MI      48827‐1932
JEFFERY DIETLEIN       5691 IRENE DR                                                                               BEAVERTON      MI      48612‐8518
JEFFERY DILLINGHAM     809 PIPER RD                                                                                HASLETT        MI      48840‐8710
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JEFFERY DODGE        10491 LAINGSBURG RD                                                                       LAINGSBURG        MI     48848‐9323
JEFFERY DOE          17300 WISCONSIN ST                                                                        DETROIT           MI     48221‐2502
JEFFERY DONAHO       730 CINDY LN                                                                              HAUGHTON          LA     71037‐8823
JEFFERY DONALDSON    2097 LAXTON RD                                                                            MASON             MI     48854‐9296
JEFFERY DOUGLAS      2068 S AURELIUS RD                                                                        MASON             MI     48854‐9730
JEFFERY DRAEGER      5565 CURTICE RD                                                                           NORTHWOOD         OH     43619‐2524
JEFFERY DRAKE        3733 W ROCKPORT RD                                                                        JANESVILLE        WI     53548‐9104
JEFFERY DRAKE        26778 PATTIE LN                                                                           ARDMORE           TN     38449‐3219
JEFFERY DUBITSKY     26 SAINT REGIS DR N                                                                       ROCHESTER         NY     14618‐1403
JEFFERY DUFF         1601 JENNIFER DR                                                                          COLUMBIA          TN     38401‐5431
JEFFERY DUNKIN       219 TEMPLE ST                                                                             OTSEGO            MI     49078‐1442
JEFFERY DUNKLEY      12215 POWDERHORN TRL                                                                      OTISVILLE         MI     48463‐9718
JEFFERY DURNAN       7673 LIONS GATE PKWY                                                                      DAVISON           MI     48423‐3710
JEFFERY DVORAK       2712 N RUESS RD                                                                           OWOSSO            MI     48867‐9510
JEFFERY E BEATTY     5165 NILES AVE                                                                            NEWTON FALLS      OH     44444‐1843
JEFFERY E DAVIS      6472 FISCHER ST                                                                           DETROIT           MI     48213‐2647
JEFFERY E FRY        2019 HOMESITE DR                                                                          DAYTON            OH     45414
JEFFERY E GOSSETT    2035 RUTLAND AVE                                                                          SPRINGFIELD       OH     45505
JEFFERY E RICH       7118 CRONK DR                                                                             DAYTON            OH     45424‐3268
JEFFERY E TYLER      2217 LYNNWOOD AVE                                                                         SAGINAW           MI     48601‐3666
JEFFERY E TYLER      PO BOX 876                                                                                SAGINAW           MI     48606‐0876
JEFFERY EDMONDSON    1419 ZACK WAY                                                                             CULLEOKA          TN     38451‐2737
JEFFERY EDWARDS      25766 PENINSULA DR                                                                        NOVI              MI     48374‐2164
JEFFERY ELLIS        6895 DEER RIDGE DR                                                                        HUBER HEIGHTS     OH     45424‐1251
JEFFERY EVANS        212 SEPULVADO ST                                                                          STONEWALL         LA     71078‐9636
JEFFERY F DIXON      P.O. BOX 1266                                                                             ROCHESTER         NY     14603‐1266
JEFFERY F VENNIRO    1989 RIDGE RD 254                                                                         ONTARIO           NY     14519
JEFFERY FELDPAUSCH   2038 N GRANGE RD                                                                          FOWLER            MI     48835‐9279
JEFFERY FETZ         3813 W 900 N                                                                              FRANKTON          IN     46044‐9372
JEFFERY FIKE         21045 HALDEN AVE                                                                          PORT CHARLOTTE    FL     33952‐1420
JEFFERY FLICKINGER   PO BOX 585                                                                                POTEAU            OK     74953
JEFFERY FOOTE        5817 LOCHLEVEN DR                                                                         WATERFORD         MI     48327‐1845
JEFFERY FORRESTER    1655 CENTERVIEW DR            APT 715                                                     DULUTH            GA     30096‐7690
JEFFERY FOSTER       3014 E DENIM TRL                                                                          QUEEN CREEK       AZ     85243‐3326
JEFFERY FOSTER       7008 PERSIMMON PL                                                                         SARASOTA          FL     34243‐1226
JEFFERY FOUST        82 BERRETTA CT                                                                            WRIGHT CITY       MO     63390‐3364
JEFFERY FRENCH       1606 URBANA ST                                                                            WESTVILLE          IL    61883‐1034
JEFFERY FRIDLEY      11086 COBIA PL                                                                            NOBLESVILLE       IN     46060‐6001
JEFFERY FRY          2019 HOMESITE DR                                                                          DAYTON            OH     45414‐4019
JEFFERY FULKERSON    4680 CONGRESS TWP RD 59                                                                   MOUNT GILEAD      OH     43338
JEFFERY FUTHEY       1013 YANKEE CT                                                                            WARRENTON         MO     63383‐7094
JEFFERY G MORTON     839 GATES AVE                                                                             YPSILANTI         MI     48198‐6151
JEFFERY GARRETSON    2410 LAYTON RD                                                                            ANDERSON          IN     46011‐2938
JEFFERY GILBERT      395 SHOESMITH RD                                                                          HASLETT           MI     48840‐9790
JEFFERY GILES        1225 W POLK RD                                                                            ITHACA            MI     48847‐9795
JEFFERY GOLDENETZ    21205 KISER RD                                                                            DEFIANCE          OH     43512‐9061
JEFFERY GOLDING      3505 CANDY LN                                                                             KOKOMO            IN     46902‐4415
JEFFERY GOODWIN      1405 STONEBRIAR DR                                                                        CARTHAGE          TX     75633‐2133
JEFFERY GRABOWSKI    5163 FOX CHASE CT                                                                         WHITE LAKE        MI     48383‐1660
JEFFERY GRADY        5101 SE 104TH ST                                                                          OKLAHOMA CITY     OK     73165‐9715
JEFFERY GRANGER      5909 HOWELL RD                                                                            OTTER LAKE        MI     48464‐9767
JEFFERY GRAY         4245 SCOTT HOLLOW RD                                                                      CULLEOKA          TN     38451‐3109
JEFFERY GRAY         4290 WILLARD RD                                                                           BIRCH RUN         MI     48415‐8726
JEFFERY GRIFFIN      1344 PEGASUS TRL                                                                          SAINT PETERS      MO     63376‐5235
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JEFFERY GRIMES       2415 BRAMBLE WAY                                                                           ANDERSON           IN     46011‐2838
JEFFERY GROTHAUS     3603 PADDOCK CT                                                                            FORT WAYNE         IN     46804‐3945
JEFFERY GROULX       7488 N GENESEE RD                                                                          MOUNT MORRIS       MI     48458‐8975
JEFFERY H BRYANT     243 PHILPOT RD                                                                             ARDMORE            TN     38449‐3305
JEFFERY H LITTERAL   708 WYNWOOD COURT                                                                          DAYTON             OH     45431‐2870
JEFFERY HAFFERY      1912 N WASHINGTON ST APT 7                                                                 JANESVILLE         WI     53548‐6611
JEFFERY HAGGARD      316 N 900 W                                                                                FARMLAND           IN     47340‐9443
JEFFERY HALL         17158 HAMANN ST                                                                            RIVERVIEW          MI     48193‐6610
JEFFERY HALL         1601 HONERT RD                                                                             ORTONVILLE         MI     48462‐9782
JEFFERY HALM         3470 N THOMAS RD                                                                           FREELAND           MI     48623‐8866
JEFFERY HAMILTON     15148 TROY ST                                                                              TAYLOR             MI     48180‐5139
JEFFERY HAMILTON     745 MACKOW DR                                                                              TOLEDO             OH     43607‐3163
JEFFERY HAMMER       8288 CLOVERDALE WAY                                                                        INDIANAPOLIS       IN     46256‐8109
JEFFERY HANNAHAN     70 W PUGH DR                                                                               SPRINGBORO         OH     45066‐8513
JEFFERY HAPPEL       1341 BLOSSOM AVE                                                                           YPSILANTI          MI     48198‐3306
JEFFERY HARDESTY     8962 W DELPHI PIKE                                                                         CONVERSE           IN     46919‐9521
JEFFERY HARDIN       8712 GERMANTOWN RD                                                                         W ALEXANDRIA       OH     45381‐9505
JEFFERY HARPER       RR 1 BOX 670                                                                               LINTON             IN     47441‐9419
JEFFERY HATH         4807 WESTVALE CIR                                                                          LANSING            MI     48917‐9224
JEFFERY HEADLEY      1173B NAVAHO DR                                                                            LEBANON            OH     45036‐8746
JEFFERY HEAGLE       1308 S PEARCE ST                                                                           OWOSSO             MI     48867‐4304
JEFFERY HEATH        2056 W WILSON RD                                                                           CLIO               MI     48420‐1604
JEFFERY HENRY        226 WINDING OAK WAY                                                                        BLYTHEWOOD         SC     29016‐8029
JEFFERY HERMILLER    10982 STATE ROUTE 613 RR2                                                                  OTTAWA             OH     45875
JEFFERY HERRIMAN     332 WINDY BLF                                                                              FLUSHING           MI     48433‐2647
JEFFERY HETTLER      705 N SWEGLES ST                                                                           SAINT JOHNS        MI     48879‐1152
JEFFERY HEWITT       3959 WILLOUGHBY RD                                                                         HOLT               MI     48842‐9410
JEFFERY HEWITT       6176 EASTMORELAND DR                                                                       BURTON             MI     48509‐1655
JEFFERY HICKS        28538 HOOVER RD APT 1                                                                      WARREN             MI     48093‐5431
JEFFERY HILL         PO BOX 142                                                                                 OLIVET             MI     49076‐0142
JEFFERY HINTZE       7102 N WALNUT ST                                                                           GLADSTONE          MO     64118‐2519
JEFFERY HOEMAN       48170 RED RUN DR                                                                           CANTON             MI     48187‐5442
JEFFERY HOLLIDAY     2215 MOUNT ELLIOTT AVE                                                                     FLINT              MI     48504‐2876
JEFFERY HOLLOWAY     1420 52ND AVE                                                                              MERIDIAN           MS     39307‐5346
JEFFERY HOMAN        8 MOZART WAY                                                                               NEWARK             DE     19702‐3019
JEFFERY HORN         754 CRANSBERRY DR                                                                          WEST CARROLLTON    OH     45449‐1520

JEFFERY HORNUNG      4106 PLEASANT ST                                                                           METAMORA          MI      48455‐9403
JEFFERY HOVERMALE    PO BOX 385                                                                                 SWEETSER          IN      46987‐0385
JEFFERY HUBBARD      43755 LEEANN LN                                                                            CANTON            MI      48187‐2829
JEFFERY HUCKESTEIN   5045 S BARKER PT                                                                           LECANTO           FL      34461‐8554
JEFFERY HUFF         5394 RAY RD                                                                                LINDEN            MI      48451‐8461
JEFFERY HUNTER       4631 ANSON ST                                                                              LANSING           MI      48911‐2801
JEFFERY J BISON      6602 S COUNTY LINE RD                                                                      DURAND            MI      48429‐9410
JEFFERY J DAY        3332 FAIR OAKS DRIVE                                                                       BEAVERCREEK       OH      45434‐6008
JEFFERY J FRENCH     1606 URBANA ST                                                                             WESTVILLE         IL      61883‐1034
JEFFERY J HUDSON     919 WITSELL ROAD                                                                           JACKSON           MS      39206‐3742
JEFFERY J HUNTER     4631 ANSON ST                                                                              LANSING           MI      48911‐2801
JEFFERY J JANCA      1824 HAMPTON PLACE                                                                         BILLINSG          MT      59102
JEFFERY J KERN       3990 TOWNLINE RD                                                                           BIRCH RUN         MI      48415‐9078
JEFFERY J MERSINO    3849 WILLIAMS RD                                                                           COLUMBIAVILLE     MI      49421‐9338
JEFFERY J MORSE      1112 LAPORT AVE                                                                            MOUNT MORRIS      MI      48458‐2576
JEFFERY J ODORICO    2777 S LAKE PLEASANT RD                                                                    METAMORA          MI      48455‐9264
JEFFERY J PIERCE     2060 RUSTIC RD                                                                             DAYTON            OH      45405‐3233
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Name                                     Address1                         Address2                      Address3   Address4               City              State   Zip
JEFFERY J PIERCE                         2060 RUSTIC AVE.                                                                                 DAYTON             OH     45406
JEFFERY J SIMS                           17811 RENO ST                                                                                    RIVERVIEW          MI     48193‐4229
JEFFERY JACKSON                          9507 EASTERN AVE                                                                                 KANSAS CITY        MO     64134‐1618
JEFFERY JASMUND                          36134 PALMER RD                                                                                  WESTLAND           MI     48186‐4266
JEFFERY JOHN W (345789) ‐ JEFFREY JOHN   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510
W                                                                         STREET, SUITE 600
JEFFERY JOHNSON                          9571 SPRINGRIDGE TEXAS LINE RD                                                                   KEITHVILLE        LA      71047‐7627
JEFFERY JOHNSTON                         1299 OAKMONT DR                                                                                  OXFORD            MI      48371‐6082
JEFFERY JONES                            636 POINT OF VIEW DR                                                                             COLUMBIA          TN      38401‐9238
JEFFERY JONES                            APT 233                          1932 HERITAGE PARK DRIVE                                        OKLAHOMA CITY     OK      73120‐7572
JEFFERY JONES                            4609 EUCLID AVE                                                                                  FORT WAYNE        IN      46806‐5242
JEFFERY JONES                            2380 BARCLAY MESSERLY RD                                                                         SOUTHINGTON       OH      44470‐9740
JEFFERY JONES                            6674 GREEN RD                                                                                    OTTAWA LAKE       MI      49267‐8500
JEFFERY JORSKI                           2143 BOON DOCK RD                                                                                AVINGER           TX      75630‐7561
JEFFERY JR, FRANK T                      2608 SAN RAE DRIVE                                                                               KETTERING         OH      45419‐2766
JEFFERY JR, HUBERT M                     962 HAMMOND AVE                                                                                  FLINT             MI      48503‐3187
JEFFERY K LEWIS                          2992 HIGHLAND FLATS RD                                                                           NAPLES            ID      83847‐5256
JEFFERY K MAYFIELD                       2718 PARK PLACE LN APT 252                                                                       JANESVILLE        WI      53545‐5271
JEFFERY K STEWART                        854 SOUTH 5TH STREET                                                                             GADSDEN           AL      35901
JEFFERY KERN                             3990 TOWNLINE RD                                                                                 BIRCH RUN         MI      48415‐9078
JEFFERY KILDAL                           1347 HORIZON DR                                                                                  LAPEER            MI      48446‐8663
JEFFERY KILLION                          21501 CURRIE RD                                                                                  NORTHVILLE        MI      48167‐9798
JEFFERY KIMBALL                          117 EDWARDS ST                                                                                   GRAND LEDGE       MI      48837‐2106
JEFFERY KING                             1172 CRAIG MOORE RD                                                                              LEWISBURG         TN      37091‐6801
JEFFERY KIRK                             2819 ELIZAVILLE RD                                                                               LEBANON           IN      46052‐1286
JEFFERY KITSON                           895 SNOWMASS DR                                                                                  ROCHESTER HILLS   MI      48309‐1328
JEFFERY KOEBEL                           427 N DEPOT ST                                                                                   SANDUSKY          OH      44870‐3423
JEFFERY KOTLARCZYK                       PO BOX 895                                                                                       SPRING HILL       TN      37174‐0895
JEFFERY KRAUS                            3986 AUTUMNWAY LN                                                                                HAMBURG           NY      14075‐2332
JEFFERY KRAUTER                          4590 E 531 N                                                                                     ROANOKE           IN      46783‐8809
JEFFERY KRICKENBARGER                    528 YOST RD                                                                                      W ALEXANDRIA      OH      45381‐9308
JEFFERY KUNKLE                           3560 N INDIAN MERIDIAN                                                                           CHOCTAW           OK      73020‐8515
JEFFERY KUTZ                             2567 116TH AVE                                                                                   ALLEGAN           MI      49010‐9006
JEFFERY L BAGWELL                        5145 SAWNEE LN                                                                                   GAINESVILLE       GA      30506‐3828
JEFFERY L BUNCH                          12596 E 340 S                                                                                    GREENTOWN         IN      46936‐‐ 97
JEFFERY L BUSBY                          615 SIMPSON STREET                                                                               BRANDON           MS      39042‐8861
JEFFERY L CRUMP                          150 VICTORY DR                                                                                   DAYTON            OH      45417
JEFFERY L DIAL                           108 PLYMOUTH CT                                                                                  AURORA            IL      60504‐3102
JEFFERY L FARKASDI                       28105 SUNFLOWER RD                                                                               LAQUEY            MO      65534
JEFFERY L FOSTER JR                      4448 SATELLITE AVE                                                                               DAYTON            OH      45415
JEFFERY L JIMISON, JR.                   PO BOX 308                                                                                       GEORGETOWN        OH      45121
JEFFERY L JOHNSON                        9571 SPRINGRIDGE TEXAS LINE RD                                                                   KEITHVILLE        LA      71047‐7627
JEFFERY L JONES                          PO BOX 201                                                                                       WARREN            OH      44482
JEFFERY L LYONS                          1007 TRUMBULL AVE SE                                                                             WARREN            OH      44484‐4577
JEFFERY L MORGAN                         2647 ARCH RD                                                                                     EATON RAPIDS      MI      48827‐8230
JEFFERY L PEARCE                         RR 1 BOX 1058                                                                                    RED OAK           OK      74563‐9803
JEFFERY L RICH                           6204 MANNING RD                                                                                  MIAMISBURG        OH      45342‐1614
JEFFERY L STONER                         1211 KEVIN DR                                                                                    FAIRBORN          OH      45324‐5629
JEFFERY L TISSUE                         505 S LANSING ST                                                                                 SAINT JOHNS       MI      48879‐2117
JEFFERY L TOLER                          3706 VILLAGE DR APT C                                                                            FRANKLIN          OH      45005‐5636
JEFFERY LAETTNER                         11115 PARTRIDGE RD                                                                               HOLLAND           NY      14080‐9621
JEFFERY LAWSON                           12818 PROVINCE RD                                                                                IRONDALE          MO      63648‐9516
JEFFERY LEATHERMAN                       PO BOX 19025                                                                                     EVANSPORT         OH      43519‐0025
JEFFERY LEE                              12204 MARGARET DR                                                                                FENTON            MI      48430‐8805
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Name                  Address1                       Address2           Address3         Address4               City            State   Zip
JEFFERY LEPPEK        3045 SHYRE CIR                                                                            DAVISON          MI     48423‐8543
JEFFERY LIENHART      PO BOX 372                                                                                MAX MEADOWS      VA     24360‐0372
JEFFERY LOCK          9771 MINYOUNG RD                                                                          RAVENNA          OH     44266‐9278
JEFFERY LOKKEN        11742 FOREST DR                                                                           PINCKNEY         MI     48169‐9538
JEFFERY LOTT          308 WEST MARSHALL ROAD                                                                    MC DONALD        OH     44437‐1652
JEFFERY LOY           7156 N SEYMOUR RD                                                                         FLUSHING         MI     48433‐9290
JEFFERY LUGGER        5819 VALLEY DR                                                                            CLARKSTON        MI     48348‐3063
JEFFERY LUOMA         9401 W CUTLER RD                                                                          EAGLE            MI     48822‐9726
JEFFERY LYON          4785 W COLUMBIA RD                                                                        MASON            MI     48854‐9553
JEFFERY M ANSLOW      6217 NORTH ELMS ROAD                                                                      FLUSHING         MI     48433‐9052
JEFFERY M HEFLIN      4312 DROWFIELD DR IE                                                                      DAYTON           OH     45426
JEFFERY M MORRIS      5935 S WASHTENAW AVE APT 1‐1                                                              CHICAGO           IL    60629
JEFFERY M MORRIS      PO BOX 21403                                                                              CHICAGO           IL    60621‐0403
JEFFERY M VAN KLINE   429 LOCUST AVE APT 1                                                                      BURLINGTON       NJ     08016‐4509
JEFFERY M WELBORNE    934 HAMPTON CT                                                                            LEBANON          OH     45036
JEFFERY MACZINK       31654 E DITNER DR                                                                         ROCKWOOD         MI     48173‐1015
JEFFERY MAHER         3102 IVY HILL CIR UNIT B                                                                  CORTLAND         OH     44410‐9364
JEFFERY MALONE        5383 S GENESEE RD                                                                         GRAND BLANC      MI     48439‐7601
JEFFERY MANTEI        PO BOX 122                                                                                NEW LOTHROP      MI     48460‐0122
JEFFERY MARLATT       28675 S RABER RD                                                                          GOETZVILLE       MI     49736‐9364
JEFFERY MARTIN        9042 E 1050 S                                                                             AMBOY            IN     46911‐9353
JEFFERY MARTIN        22359 PROVINCIAL ST                                                                       WOODHAVEN        MI     48183‐3703
JEFFERY MARTIN        3364 FREMBES RD                                                                           WATERFORD        MI     48329‐4019
JEFFERY MAXWELL JR.   9016 ANN AVE                                                                              KANSAS CITY      KS     66112‐3614
JEFFERY MAYFIELD      2718 PARK PLACE LN APT 252                                                                JANESVILLE       WI     53545‐5271
JEFFERY MCCOMBS       1509 CHERRY HILL LN                                                                       KOKOMO           IN     46902‐3131
JEFFERY MCCRUMB       PO BOX 155                                                                                KEMPTON          IN     46049‐0155
JEFFERY MCDONALD      5443 W COLDWATER RD                                                                       FLINT            MI     48504‐1021
JEFFERY MCDONALD      2579 AIRLINE DR APT 3H                                                                    BOSSIER CITY     LA     71111‐5821
JEFFERY MCGUIRE       1270 LACROSSE TRL                                                                         OXFORD           MI     48371‐6606
JEFFERY MCMANN        560 GROVENBURG RD                                                                         MASON            MI     48854‐9576
JEFFERY MCMASTER      6271 OSTRUM RD                                                                            BELDING          MI     48809‐9503
JEFFERY MERRITT       70274 CAMPGROUND RD                                                                       BRUCE TWP        MI     48065‐4328
JEFFERY MERSINO       3849 WILLIAMS RD                                                                          COLUMBIAVILLE    MI     48421‐9338
JEFFERY MICKELSON     585 W RIVERWOOD DR APT 211                                                                OAK CREEK        WI     53154‐7589
JEFFERY MIELKE        4188 CARLISLE HWY                                                                         CHARLOTTE        MI     48813‐9562
JEFFERY MILLER        10310 SEYMOUR RD                                                                          MONTROSE         MI     48457‐9014
JEFFERY MILLER        31242 W RUTLAND ST                                                                        BEVERLY HILLS    MI     48025‐5430
JEFFERY MILLER        3296 NORTON RD                                                                            HOWELL           MI     48843‐8982
JEFFERY MILLION       326 DOROTHY LN                                                                            NEW LEBANON      OH     45345‐1617
JEFFERY MITCHELL      1609 N BALLENGER HWY                                                                      FLINT            MI     48504‐3069
JEFFERY MOONEYHAN     PO BOX 114                                                                                PARK CITY        KY     42160‐0114
JEFFERY MOORE         65 S HURON DR                                                                             JANESVILLE       WI     53545‐2255
JEFFERY MOORE         3266 BANGOR RD                                                                            BAY CITY         MI     48706‐1853
JEFFERY MORGAN        2647 ARCH RD                                                                              EATON RAPIDS     MI     48827‐8230
JEFFERY MYLES         718 OLD PORTER PIKE RD.                                                                   BOWLING GREEN    KY     42103
JEFFERY NADOLSKI      344 HIGHLAND AVE                                                                          CLAWSON          MI     48017‐1571
JEFFERY NEWELL        11575 KINGS COLONY                                                                        GRAND BLANC      MI     48439‐8658
JEFFERY NICKOLS       6552 3RD ST                                                                               MECOSTA          MI     49332‐9640
JEFFERY NUGENT        10801 LEMON AVE APT 2413                                                                  ALTA LOMA        CA     91737‐3843
JEFFERY NUMMER        370 BALDWIN ST                                                                            LYONS            MI     48851‐9739
JEFFERY OLLER         PO BOX 7006                                                                               GREENWOOD        IN     46142‐6421
JEFFERY OVALL
JEFFERY P BRINK       8902 BELLEVIEW AVE                                                                        KANSAS CITY     MO      64114‐3522
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Name                      Address1                      Address2            Address3         Address4               City              State   Zip
JEFFERY P BUERSCHEN       1395 BILLS DR                                                                             DAYTON             OH     45434
JEFFERY P LOPRESTI        93 WALZER ROAD                                                                            ROCHESTER          NY     14622‐2501
JEFFERY P LYNCH           10524 QUAKER TRACE RD                                                                     SOMERVILLE         OH     45064‐9650
JEFFERY P MERRITT         70274 CAMPGROUND RD                                                                       BRUCE TWP          MI     48065‐4328
JEFFERY PARTIN            8893 CROSSVILLE HWY                                                                       SPARTA             TN     38583‐3125
JEFFERY PEARCE            RR 1 BOX 1058                                                                             RED OAK            OK     74563‐9803
JEFFERY PERRY             475 CHAMBERS ST                                                                           SPENCERPORT        NY     14559‐9759
JEFFERY PETERS            7169 DEER LAKE RD                                                                         CLARKSTON          MI     48346‐1211
JEFFERY PETTIT            1842 ARCH RD                                                                              EATON RAPIDS       MI     48827‐9296
JEFFERY PIAR              5143 LAHRING RD                                                                           LINDEN             MI     48451‐9404
JEFFERY PIERCE            2060 RUSTIC RD                                                                            DAYTON             OH     45405‐3233
JEFFERY PINGILLEY         17094 HANOVER AVE                                                                         ALLEN PARK         MI     48101‐2833
JEFFERY PLAMP             20927 STRAWBERRY HILLS DR                                                                 MACOMB             MI     48044‐2273
JEFFERY POLLICK           9203 HEATHERFIELD LN                                                                      SAGINAW            MI     48609‐6796
JEFFERY POMPLUN           1908 N PARKER DR                                                                          JANESVILLE         WI     53545‐0706
JEFFERY PORTER            4522 NORTHWEST 57TH STREET                                                                KANSAS CITY        MO     64151‐4602
JEFFERY POTHS             1018 KING ST                                                                              SANDUSKY           OH     44870‐2020
JEFFERY POWELL            15536 VALERIE DR                                                                          MACOMB             MI     48044‐2478
JEFFERY POWERS            1357 OLD FIELD POINT RD                                                                   ELKTON             MD     21921‐7343
JEFFERY POWIS             3167 INNSBROOK DR                                                                         OWOSSO             MI     48867‐8200
JEFFERY PRICE             2705 ALBION ST                                                                            TOLEDO             OH     43610‐1220
JEFFERY PRIEST            20243 ROAD 72                                                                             GROVER HILL        OH     45849‐9301
JEFFERY PUGH              18281 KENTFIELD ST                                                                        DETROIT            MI     48219‐5704
JEFFERY R EVANS           212 SEPULVADO ST                                                                          STONEWALL          LA     71078‐9636
JEFFERY R HARDIN          8712 GERMANTOWN ROAD                                                                      W ALEXANDRIA       OH     45381
JEFFERY R PUGH            18281 KENTFIELD ST                                                                        DETROIT            MI     48219‐5704
JEFFERY R WASHINGTON      3245 ATLAS DR                                                                             DAYTON             OH     45406
JEFFERY RAY               3071 SAINT CLAIR DR                                                                       ROCHESTER HILLS    MI     48309‐3936
JEFFERY REED              PO BOX 121                                                                                SPRINGBORO         OH     45066‐0121
JEFFERY REGAN             5699 LAURENWAY                                                                            PERRY              MI     48872‐8557
JEFFERY REINHOUT          8654 INDIAN TRL                                                                           CLARKSTON          MI     48348‐2534
JEFFERY REYNOLDS          1810 MAINE ST                                                                             SAGINAW            MI     48602‐1722
JEFFERY RICE              4014 E 231ST ST                                                                           CICERO             IN     46034‐9790
JEFFERY RICHARDS          6318 MILLINGTON RD                                                                        MILLINGTON         MI     48746‐8706
JEFFERY ROBERE            7146 ALGER DR                                                                             DAVISON            MI     48423‐2305
JEFFERY ROE               1104 MERRY DELL LN                                                                        OREGON             OH     43616‐3369
JEFFERY ROLLISON          780 WOODBINE AVE SE                                                                       WARREN             OH     44484‐4263
JEFFERY ROODING           10298 HORSESHOE CIR                                                                       CLARKSTON          MI     48348‐2004
JEFFERY ROSE              1774 CLARK RD                                                                             LAPEER             MI     48446‐9498
JEFFERY ROSE              111 CALHOUN AVE                                                                           CLINTON            MI     49236‐9459
JEFFERY ROSENBALM         6935 LANCASTER DR                                                                         FRANKLIN           OH     45005‐3950
JEFFERY ROWLETT           5333 NW WAGON TRL                                                                         HOUSTON LAKE       MO     64151‐3322
JEFFERY RUPRIGHT          2107 GENEVA DR                                                                            THOMPSONS STN      TN     37179‐5316
JEFFERY RUSSELL           10087 VAN VLEET RD                                                                        GAINES             MI     48436‐9754
JEFFERY RYON              130 RIDGEMOUNT DR                                                                         TROY               MO     63379‐4867
JEFFERY S BAILEY          2390 SUTTON DR                                                                            CUYAHOGA FALLS     OH     44221
JEFFERY S COOK            193 GROVE ST                                                                              CORTLAND           OH     44410‐1427
JEFFERY S CRASE           6090 CHARLESGATE RD                                                                       HUBER HEIGHTS      OH     45424‐1123
JEFFERY S FLOWERS         5428 OTTAWA DR                                                                            FAIRBORN           OH     45324
JEFFERY S JOHNSON         541 HAPPY HILL CUTOFF RD                                                                  BOAZ               AL     35956‐2949
JEFFERY S KRICKENBARGER   528 YOST                                                                                  W ALEXANDRIA       OH     45381
JEFFERY S MCGUIRE         2757 SYMPHONY WAY                                                                         DAYTON             OH     45449
JEFFERY S MIELKE          4188 CARLISLE HWY                                                                         CHARLOTTE          MI     48813‐9562
JEFFERY S MILLER          804 KINGSDALE AVE                                                                         TILTON              IL    61833‐7956
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Name                  Address1                       Address2          Address3         Address4               City            State   Zip
JEFFERY S NELSON      2502 FILLMORE RD                                                                         RICHMOND         VA     23235
JEFFERY S WILSON      1640 LYNNFIELD DR                                                                        KETTERING        OH     45429‐5024
JEFFERY SANGER        7095 LOWER MIAMISBURG RD                                                                 MIAMISBURG       OH     45342‐3052
JEFFERY SAVAGE        1001 RICHMOND DR                                                                         MARSHALL         TX     75672‐2507
JEFFERY SAYLOR        10934 LIMING VAN THOMPSON RD                                                             HAMERSVILLE      OH     45130‐9530
JEFFERY SCHAFER       13716 CHARLOTTE HWY                                                                      SUNFIELD         MI     48890‐9784
JEFFERY SCHRAM        14517 STATE ROUTE 694                                                                    OTTAWA           OH     45875‐9211
JEFFERY SCHROEDER     453 BLUE JACKET RD                                                                       PERRYSBURG       OH     43551‐6365
JEFFERY SCHUETTE      PO BOX 226                                                                               PRUDENVILLE      MI     48651‐0226
JEFFERY SCHWARTZLOW   3639 E ROVI DR                                                                           MILTON           WI     53563‐8818
JEFFERY SHARP         6424 W 500 S                                                                             RUSSIAVILLE      IN     46979‐9511
JEFFERY SHARPE        313 MOONLITE CT                                                                          CLARKSTON        MI     48348‐1481
JEFFERY SHIELDS       181 TRACY RD                                                                             HOHENWALD        TN     38462‐3314
JEFFERY SHILTZ        131 RAINBOW DR                                                                           AMHERST          OH     44001‐1433
JEFFERY SHOOK         5988 N ALVIN PT                                                                          HERNANDO         FL     34442‐3902
JEFFERY SHREVE        3501 TOWNE HILL DR                                                                       GRAND BLANC      MI     48439‐7929
JEFFERY SIMS          17811 RENO ST                                                                            RIVERVIEW        MI     48193‐4229
JEFFERY SLOWEY        110 VALLEY DR                                                                            JANESVILLE       WI     53546‐2205
JEFFERY SMITH         16384 E CAROLINA DR                                                                      AURORA           CO     80017‐4137
JEFFERY SMITH         6059 S SHERIDAN AVE                                                                      DURAND           MI     48429‐9602
JEFFERY SMITH         20858 BUCKSKIN RD                                                                        DEFIANCE         OH     43512‐8443
JEFFERY SPARKS        34575 HAZELWOOD ST                                                                       WESTLAND         MI     48186‐4487
JEFFERY SQUIER        158 E GLASS RD                                                                           ORTONVILLE       MI     48462‐8876
JEFFERY STAMM         2053 VALLEY FORGE ST                                                                     BURTON           MI     48519‐1319
JEFFERY STANTON       8917 FENTON                                                                              REDFORD          MI     48239‐1209
JEFFERY STEPHENS      449 S MERIDIAN RD                                                                        HUDSON           MI     49247‐9709
JEFFERY STEWART       2819 DONNA AVE                                                                           RACINE           WI     53404‐1817
JEFFERY STOUGH        PO BOX 6                                                                                 WESTON           OH     43569‐0006
JEFFERY SULLIVAN      1610 SUMMERWOOD TRL                                                                      HIXSON           TN     37343‐2553
JEFFERY SWEET         11661 WOODLAND STRASSE                                                                   EAGLE            MI     48822
JEFFERY SWIFT         3020 CODY HILL RD                                                                        NASHVILLE        TN     37211‐7929
JEFFERY SWIHART       3761 IDA AVE                                                                             FRUITPORT        MI     49415‐9706
JEFFERY T ANDERSON    2530 35TH AVE APT 14                                                                     OAKLAND          CA     94601
JEFFERY T BELL        PO BOX 536                                                                               BRASELTON        GA     30517‐0009
JEFFERY T COLBERT     438 BROOKS AVENUE                                                                        ROCHESTER        NY     14619‐2302
JEFFERY T DENOME      22066 EDERER RD                                                                          MERRILL          MI     48637
JEFFERY T THOMAS      2605 HOLMAN ST                                                                           DAYTON           OH     45439‐1631
JEFFERY TANDY         12422 TEACUP WAY                                                                         INDIANAPOLIS     IN     46235‐6121
JEFFERY TISSUE        505 S LANSING ST                                                                         SAINT JOHNS      MI     48879‐2117
JEFFERY TOBASCO       3406 MANORWOOD DR                                                                        W HOMESTEAD      PA     15120‐1386
JEFFERY TOWE          7272 MOYER RD                                                                            CHARLOTTE        MI     48813‐7809
JEFFERY TRAVIS        5447 E HILL RD                                                                           GRAND BLANC      MI     48439‐9100
JEFFERY TYLER         2217 LYNNWOOD AVE                                                                        SAGINAW          MI     48601‐3666
JEFFERY ULRICH        525 INDIAN VALLEY CT                                                                     ROSSFORD         OH     43460‐1546
JEFFERY UPTEGRAFT     4445 CONGDON DR                                                                          WILLIAMSTON      MI     48895‐9414
JEFFERY V ABEARE      2136 MONACO ST                                                                           FLINT            MI     48532‐4424
JEFFERY VALENTINE     3012 NADAR                                                                               GRAND PRAIRIE    TX     75054‐6792
JEFFERY VAN KLINE     429 LOCUST AVE APT 1                                                                     BURLINGTON       NJ     08016‐4509
JEFFERY VAN ORDER     10175 JANELL DR                                                                          KEITHVILLE       LA     71047‐8761
JEFFERY VELANDRA      112 GLIDER LOOP                                                                          EAGLEVILLE       TN     37060‐5032
JEFFERY VOGT          9870 CEDAR ISLAND RD                                                                     WHITE LAKE       MI     48386‐3801
JEFFERY W BONE        PO BOX 215                                                                               WENTZVILLE       MO     63385‐0215
JEFFERY W CORIDDI     303 STOWELL DR                                                                           ROCHESTER        NY     14616‐1807
JEFFERY W DAMPIER     113 BILL DAVIS LANE                                                                      MONTICELLO       MS     39654
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Name                        Address1                        Address2            Address3         Address4               City               State Zip
JEFFERY W HORN              754 CRANSBERRY DRIVE                                                                        WEST CARROLLTON     OH 45449

JEFFERY W MILLION           326 DOROTHY LANE                                                                            NEW LEBANON        OH   45345
JEFFERY WAGGENER            9200 BENN RD                                                                                PARMA              MI   49269‐9642
JEFFERY WAGNER              2518 TERI LYN CT                                                                            LAPEER             MI   48446‐8321
JEFFERY WAHL                29466 ALVIN ST                                                                              GARDEN CITY        MI   48135‐2601
JEFFERY WALDON              12325 HUNTERS RIDGE LN                                                                      PLAINWELL          MI   49080‐8505
JEFFERY WALKER              17205 ELEIR DR                                                                              CLINTON TWP        MI   48038‐7117
JEFFERY WALLPE              574 TURTLE DOVE TRAIL                                                                       DANDRIDGE          TN   37725‐5455
JEFFERY WALLS               41721 EHRKE DR                                                                              CLINTON TWP        MI   48038‐1860
JEFFERY WALTERS             1600 WALLACE THOMPSON RD                                                                    LEWISBURG          TN   37091‐6214
JEFFERY WALTERS             418 E ELM ST                                                                                VERNON             MI   48476‐9108
JEFFERY WALTZ               3830 QUEENSBURY RD                                                                          ORION              MI   48359‐1561
JEFFERY WARNER              12028 E RICHFIELD RD                                                                        DAVISON            MI   48423‐8592
JEFFERY WATERS              10161 DODGE RD                                                                              MONTROSE           MI   48457‐9009
JEFFERY WEBB                1524 RIDGESIDE AVE                                                                          BOWLING GREEN      KY   42104‐4711
JEFFERY WEBER               W872 HARMONY LN                                                                             EAST TROY          WI   53120‐2238
JEFFERY WEBSTER             1321 S MILL STATION RD                                                                      WHITTEMORE         MI   48770‐9760
JEFFERY WEIDNER             445 S 6TH ST                                                                                MIAMISBURG         OH   45342‐2966
JEFFERY WELBORN             9940 CANVASBACK DR                                                                          SHREVEPORT         LA   71106‐8502
JEFFERY WETHERWAX           12472 DODGE RD                                                                              OTISVILLE          MI   48463‐9774
JEFFERY WHITAKER            135 STANFILL DR                                                                             COLUMBIA           TN   38401‐6090
JEFFERY WHITCOMB            2265 N 400 W                                                                                ANDERSON           IN   46011‐8767
JEFFERY WHITE               4210 PARKVIEW AVE                                                                           ENGLEWOOD          OH   45322‐2653
JEFFERY WILLIAMS            9707 LOCHINVAR DR                                                                           PICO RIVERA        CA   90660‐3937
JEFFERY WILLIAMS            11808 E SCARRITT AVE                                                                        SUGAR CREEK        MO   64054‐1332
JEFFERY WILLIAMS            3540 S 562 E                                                                                BRINGHURST         IN   46913‐9451
JEFFERY WILLIAMS            10131 S CHARLES ST                                                                          CHICAGO            IL   60643‐2109
JEFFERY WILLINGHAM          699 ANDOVER WOODS DR                                                                        FENTON             MI   48430‐4128
JEFFERY WILSON              3490 VICTORIA STA                                                                           DAVISON            MI   48423‐8521
JEFFERY WILSON              1765 MCCOMBS ST                                                                             NEWTON             NC   28658‐8565
JEFFERY WILSON              3778 N 35TH ST                                                                              GALESBURG          MI   49053‐9578
JEFFERY WOODBURY            324 MAYWINN DR                                                                              DEFIANCE           OH   43512‐1757
JEFFERY WOODS               14915 BRENTWOOD DR                                                                          LENEXA             KS   66215‐3044
JEFFERY WOOLENSACK          1105 NORTH RD SE                                                                            WARREN             OH   44484‐2704
JEFFERY WORPLE              2731 S RIVER RD                                                                             JANESVILLE         WI   53546‐8921
JEFFERY WRIGHT              5463 FLEET AVE                                                                              WATERFORD          MI   48327‐3028
JEFFERY WYCKOFF             1140 LAKE DR SE                                                                             GRAND RAPIDS       MI   49506‐1560
JEFFERY WYLIE               1817 MANSE RD                                                                               WATERFORD          MI   48328‐1630
JEFFERY YAFFAI              15421 MAYFIELD ST                                                                           LIVONIA            MI   48154‐3015
JEFFERY YOUNG               4836 RIVER RIDGE DRIVE                                                                      LANSING            MI   48917‐1351
JEFFERY ZIMMERMAN           135 WILLOW BREEZE RD                                                                        BUFFALO            NY   14223‐1355
JEFFERY, ANNA M             PO BOX 30139                                                                                WILMINGTON         DE   19805
JEFFERY, ANNIE R            PO BOX 507                                                                                  BENNETTSVILLE      SC   29512‐0507
JEFFERY, BARTON C           28080 KENDALLWOOD DR                                                                        FARMINGTON HILLS   MI   48334‐3452

JEFFERY, CARNELL P          MOODY EDWARD O                  801 W 4TH ST                                                LITTLE ROCK        AR   72201‐2107
JEFFERY, CAROL A            3808 LEWIS ST                                                                               MIDDLETOWN         OH   45044‐6137
JEFFERY, CHARLES E          2784 EULALIE DR                                                                             SAN JOSE           CA   95121‐2214
JEFFERY, CHRISTIANE L       64981 E BRASSIE DR                                                                          TUCSON             AZ   85739‐1649
JEFFERY, CLARA A            6447 LEDGEBROOK DR                                                                          BROOKPARK          OH   44142‐3747
JEFFERY, EDWIN A            191 BIG ISLAND LOOP                                                                         DEVILLE            LA   71328‐9770
JEFFERY, ELIZABETH L        8171 VAN VLEET RD                                                                           GAINES             MI   48436‐9789
JEFFERY, ELIZABETH LOUISE   8171 VAN VLEET RD                                                                           GAINES             MI   48436‐9789
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Name                       Address1                       Address2                   Address3       Address4               City             State   Zip
JEFFERY, FLORENCE P        8230 SPRINGPORT RD                                                                              EATON RAPIDS      MI     48827‐9568
JEFFERY, GEORGE R          8838 TAR HILL LN                                                                                ORLANDO           FL     32836‐6187
JEFFERY, HOWARD J          1749 STOUDER DRIVE                                                                              REYNOLDSBURG      OH     43068‐2821
JEFFERY, JAMES A           4 CAMBRIDGE PARK                                                                                FRANKENMUTH       MI     48734‐9779
JEFFERY, JAMES W           26698 SHINDLER RD                                                                               DEFIANCE          OH     43512‐8872
JEFFERY, JEREMY D          7214 WRANGLER TRL                                                                               FORT WAYNE        IN     46835‐1814
JEFFERY, JEREMY DANIAL     7214 WRANGLER TRL                                                                               FORT WAYNE        IN     46835‐1814
JEFFERY, JESSICA R         453 LYNETTE ST                                                                                  GAITHERSBURG      MD     20878‐6543
JEFFERY, JOAN E            # 11                           7084 COPPER CREEK CIRCLE                                         CANTON            MI     48187‐2498
JEFFERY, JOHN G            64981 E BRASSIE DR                                                                              TUCSON            AZ     85739‐1649
JEFFERY, JOSEPH S          3235 LUCE RD                                                                                    FLUSHING          MI     48433‐2372
JEFFERY, JOSEPH SCOTT      3235 LUCE RD                                                                                    FLUSHING          MI     48433‐2372
JEFFERY, KAREN             1410 KINGSLEY                                                                                   MT CLEMENS        MI     48043
JEFFERY, KAREN             1410 KINGSLEY ST                                                                                MOUNT CLEMENS     MI     48043‐3048
JEFFERY, KELLI R           3677 RUNYON AVE                                                                                 TROTWOOD          OH     45416‐1338
JEFFERY, KENNETH A         2417 E PARRIS DR                                                                                WILMINGTON        DE     19808‐4507
JEFFERY, LAWRENCE J        1903 9TH ST                                                                                     PORT HURON        MI     48060‐6334
JEFFERY, MARK D            8459 SPRINGPORT RD                                                                              EATON RAPIDS      MI     48827‐9568
JEFFERY, MARK J            6845 DONALDSON DR                                                                               TROY              MI     48085‐1555
JEFFERY, MARYANN           7761 PUTTYGUT RD                                                                                CASCO             MI     48064‐2115
JEFFERY, MICHAEL TIMOTHY   2088 SANDALWOOD DR                                                                              BURTON            MI     48519
JEFFERY, MORTON L          2417 SPRINGMILL RD                                                                              DAYTON            OH     45440‐2521
JEFFERY, RAY W             3739 KINGSWAY DR                                                                                HIGHLAND          MI     48356‐1847
JEFFERY, ROBERT L          415 SHERWOOD RD                                                                                 BELLEVUE          MI     49021‐9465
JEFFERY, ROGER D           4461 THRUSHFIELD CT                                                                             FLINT             MI     48507‐5644
JEFFERY, ROGER DEAN        4461 THRUSHFIELD CT                                                                             FLINT             MI     48507‐5644
JEFFERY, RUBY F            1903 9TH STREET                                                                                 PORT HURON        MI     48060
JEFFERY, RUSSELL J         PO BOX 16                                                                                       NICHOLVILLE       NY     12965‐0016
JEFFERY, STEVE B           4524 CROSSWINDS CT                                                                              WHITE LAKE        MI     48383‐1267
JEFFERY, TREVER L          808 VICTORIA DR                                                                                 FRANKLIN          OH     45005
JEFFERY, WILLIAM           610 ROYAL DR APT 130                                                                            SOUTH PARK        PA     15129‐8592
JEFFERY, WILLIAM W         1426 SAINT GEORGE LN                                                                            JANESVILLE        WI     53545‐1386
JEFFERYS, EDWARD W         3 APPLETON TER                                                                                  OLD BRIDGE        NJ     08857‐2401
JEFFERYS, EDWARD W         11726 SPRINGFIELD RD                                                                            NORTH LIMA        OH     44452
JEFFERYS, ROY J            14234 WALTER DR SW                                                                              CUMBERLAND        MD     21502‐5712
JEFFES, ROY W              8317 SAGO CT                                                                                    ENGLEWOOD         FL     34224‐6607
JEFFIE CLEVELAND           19969 STOEPEL ST                                                                                DETROIT           MI     48221‐1246
JEFFIE DUNKLEY             NIX, PATTERSON & ROACH LLP     GM BANKRUPTCY DEPARTMENT   205 LINDA DR                          DAINGERFIELD      TX     75638
JEFFIE LEWIS               1405 N TREMONT ST                                                                               INDIANAPOLIS      IN     46222‐2863
JEFFIE S SMITH             1115 MACEDONIA RD NW                                                                            BROOKHAVEN        MS     39601
JEFFIE SMITH               1115 MACEDONIA RD NW                                                                            BROOKHAVEN        MS     39601‐8612
JEFFORDS, CHARLES F        313 GLEN OAKS AVE                                                                               TEMPLE TERRACE    FL     33617‐7218
JEFFORDS, DAVID R          142 HERITAGE DR                                                                                 WEST MONROE       LA     71291‐1420
JEFFORDS, GARY W           PO BOX 321                                                                                      YOUNGSTOWN        NY     14174‐0321
JEFFORDS, JOHN T           12521 KELLY SANDS WAY APT 31                                                                    FORT MYERS        FL     33908‐5920
JEFFORDS, LORRAINE         4515 LAKE AVE                                                                                   LOCKPORT          NY     14094‐1150
JEFFORDS, ROBERT L         26050 JOY RD                                                                                    REDFORD           MI     48239‐1874
JEFFORDS, TEMPLE
JEFFORY SMITH              6361 CANAK DR                                                                                   AVON             IN      46123‐7433
JEFFORY SPRINKLE           3565 W SAGINAW RD                                                                               VASSAR           MI      48768‐9523
JEFFORY STILL              1680 STIRLING AVE                                                                               PONTIAC          MI      48340‐1344
JEFFRAY DEMING             803 KING ST                                                                                     BAY CITY         MI      48706‐3728
JEFFRESS, HELEN B          191 CROSSBOW LN                                                                                 GAITHERSBURG     MD      20878‐2703
JEFFRESS, JOE M            897 MILL RD                                                                                     RAVENNA          OH      44266‐2876
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Name                       Address1                       Address2            Address3         Address4               City           State Zip
JEFFRESS, MICHAEL D        107 REMINGTON RD                                                                           MADISON         AL 35758‐7949
JEFFREY
JEFFREY & BROOKE LEMMONS   332 GRAND AVE                                                                              LOVES PARK     IL   61111‐4511
JEFFREY A BAHN             9838 JULIE DR                                                                              YPSILANTI      MI   48197‐8290
JEFFREY A BAILEY           2311 HARLAN ROAD                                                                           WAYNESVILLE    OH   45068‐8764
JEFFREY A BAIR             1915 JOHN GLENN RD                                                                         DAYTON         OH   45420
JEFFREY A BANGERT          180 EARNHART DR                                                                            FRANKLIN       OH   45005
JEFFREY A BERMAN MD        2080 CENTURY PARK EAST #305                                                                LOS ANGELES    CA   90067
JEFFREY A BOYLE            2634 BRANDYWINE RD.S.E.                                                                    WARREN         OH   44484
JEFFREY A BURTON           1088 LITTLE BIG MOUND RD                                                                   BENTONIA       MS   39040
JEFFREY A CANSLER          3316 CLEARVIEW AVE                                                                         MORAINE        OH   45439‐1110
JEFFREY A CARPENTER        525 S GEBHART CH RD                                                                        MIAMISBURG     OH   45342
JEFFREY A CASE             109 FLORIDA RD S                                                                           SYRACUSE       NY   13211‐1812
JEFFREY A CHEVALIER        911 CLAUDE JONES RD                                                                        MURFREESBORO   TN   37129
JEFFREY A CHILES           62 DIX ST                                                                                  ROCHESTER      NY   14606
JEFFREY A CONKLIN          40 BROOKWOOD CT                                                                            SPRINGBORO     OH   45066
JEFFREY A CURRY            W127 S6767 JAEGER PL                                                                       MUSKEGO        WI   53150‐3506
JEFFREY A DAVISSON         2761 BRANTWOOD CT                                                                          DAYTON         OH   45414‐2158
JEFFREY A DAY              2131 W BATAAN DR                                                                           KETTERING      OH   45420
JEFFREY A DICKERSON        6232 SUNSET DR                                                                             BEDFORD HTS    OH   44146‐3162
JEFFREY A EIFORD           3539 BABSON ST                                                                             DAYTON         OH   45403
JEFFREY A EVANS            1978 EDGEWOOD                                                                              BERKLEY        MI   48072
JEFFREY A FISHER           5685 RIDGE RD W                                                                            SPENCERPORT    NY   14559
JEFFREY A GALLAHER         21 US ROUTE 40 E 9                                                                         LEWISBURG      OH   45338
JEFFREY A GREEN            577 WYOMING AVE.                                                                           NILES          OH   44446
JEFFREY A GRIFFITH         561 BELLAIRE DR                                                                            TIPP CITY      OH   45371
JEFFREY A HALLBACK         2511 1/2 DERBY ST                                                                          BERKELEY       CA   94705‐1203
JEFFREY A HARRISON         111 E STEWART AVE                                                                          FLINT          MI   48505‐3417
JEFFREY A HATHAWAY         12622 OLD BRIDGE ROAD                                                                      OCEAN CITY     MD   21842
JEFFREY A HELDT            300 PARK ST STE 265                                                                        BIRMINGHAM     MI   48009‐3413
JEFFREY A HENSON           10060 EL‐AN‐JA                                                                             MIAMISBURG     OH   45342‐5155
JEFFREY A HOLLAND          635 NEWBURG RD                                                                             ALBION         MI   49224‐9208
JEFFREY A HOYT             108 GOSLING DR                                                                             FRANKLIN       TN   37064‐5048
JEFFREY A HUMBLE           45 CAMBRIDGE CT                                                                            ANDERSON       IN   46012‐3905
JEFFREY A KNOWLES          9794 DUFF RD                                                                               HILLSBORO      OH   45133
JEFFREY A LEWIS            3200 MCLEAN RD                                                                             FRANKLIN       OH   45005
JEFFREY A LIECHTY          125 CROCKETT DR                                                                            SPRINGBORO     OH   45066
JEFFREY A LOWMAN           3043 FOUNTAIN CIR APT C                                                                    DAYTON         OH   45420
JEFFREY A LUEHRS           4202 WINTER FOREST CIR                                                                     BEAVERCREEK    OH   45432‐4102
JEFFREY A MACLEAN          341 PENFIELD AVE                                                                           ELYRIA         OH   44035‐3236
JEFFREY A MAGGIO           90 ORCHARD PARK BLVD                                                                       ROCHESTER      NY   14609‐3317
JEFFREY A MAGONE           263 LETTINGTON DR                                                                          ROCHESTER      NY   14624‐2911
JEFFREY A MARBURY          971 HALLER AVE.                                                                            DAYTON         OH   45408
JEFFREY A MARLOW           11591 AIR HILL RD                                                                          BROOKVILLE     OH   45309
JEFFREY A MARR             40 TONYWOOD COURT                                                                          W CARROLLTON   OH   45449‐2619
JEFFREY A MARRIOTT         131 SOUTHVIEW DR                                                                           TROY           OH   45373
JEFFREY A MYERS            3083 SHILOH RD                                                                             PELAHATCHIE    MS   39145
JEFFREY A NYAKO            415 PINEVIEW DR NE 415                                                                     WARREN         OH   44484
JEFFREY A PALICKI          22815 OLD US 2                                                                             ASHLAND        WI   54806‐7606
JEFFREY A PERKINS          3209 SUNSET DRIVE                                                                          WALWORTH       NY   14568‐9475
JEFFREY A PRICE            2908 CADLLAC ST                                                                            MORAINE        OH   45439
JEFFREY A RIKE             8925 STATE ROUTE 503 N                                                                     LEWISBURG      OH   45338‐8943
JEFFREY A RILEY            4604 REAN MEADOW DR                                                                        KETTERING      OH   45440‐1924
JEFFREY A RIVERS           1513E BURNSVILLE PKWY                                                                      BURNSVILLE     MN   55337‐3727
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Name                     Address1                      Address2            Address3         Address4               City              State   Zip
JEFFREY A RUEBUSH        1027 N MAPLE ST                                                                           EATON              OH     45320‐1536
JEFFREY A SCHLEGEL       4816 JAMES HILL RD                                                                        KETTERING          OH     45429
JEFFREY A SCHMIEDING     PO BOX 546                                                                                JULIAN             CA     92036
JEFFREY A SCHWOMEYER     5700 HICKSON HILL RD                                                                      POLAND             IN     47868‐7079
JEFFREY A SEMAN          2108 EMMONS AVE                                                                           DAYTON             OH     45420‐2808
JEFFREY A SKINNER        464 CRYSTAL DR.                                                                           DAYTON             OH     45431
JEFFREY A SPENCER        2495 HENN HYDE RD                                                                         CORTLAND           OH     44410‐9448
JEFFREY A STEVENSON      12420 CHESLEY DR                                                                          CHARLOTTE          NC     28277
JEFFREY A TADDIE         435 HEYBERT DR                                                                            BLAIRSVILLE        PA     15717
JEFFREY A TAGUE          985 SEMINARY                                                                              ST PAUL            MN     55104‐1526
JEFFREY A VANPORTFLEET   8514 JASONVILLE CT SE                                                                     CALEDONIA          MI     49316‐8098
JEFFREY A WACKLER        825 KENOSHA RD                                                                            DAYTON             OH     45429
JEFFREY A WEFEL          2468 S 74TH ST                                                                            WEST ALLIS         WI     53219‐1841
JEFFREY A WORMALD        3 GUILFORD AVE                                                                            METHUEN            MA     01844‐4161
JEFFREY A WUEBKER        13340 MCCARTYVILLE RD                                                                     ANNA               OH     45302‐9636
JEFFREY A YATTEAU        3233 BIG RIDGE RD                                                                         SPENCERPORT        NY     14559
JEFFREY A. GRIM          995 WHITESTONE RD                                                                         XENIA              OH     45385
JEFFREY A. HUMAN         465 MAIN ST STE 600                                                                       BUFFALO            NY     14203
JEFFREY ABELL            3521 BLUE HERON LN                                                                        ROCHESTER HILLS    MI     48309‐4514
JEFFREY ADAMS            5470 S SHEPARDSVILLE RD                                                                   SAINT JOHNS        MI     48879‐9141
JEFFREY ADAMS            3894 CAMBRIDGE CT                                                                         CULLEOKA           TN     38451‐2081
JEFFREY AGOSTA           562 TWIN LAKE DR                                                                          ONSTED             MI     49265‐9645
JEFFREY ALCORN           3820 GLENCAIRN LN                                                                         INDIANAPOLIS       IN     46226‐3046
JEFFREY ALDEN            8265 S HURON RIVER DR                                                                     YPSILANTI          MI     48197‐8267
JEFFREY ALEXANDROWICZ    54068 BIRCHFIELD DR. WES                                                                  SHELBY TWP         MI     48316
JEFFREY ALLEN            654 SW 123 AVE                                                                            STEINHATCHEE       FL     32359‐5007
JEFFREY ALLEN            PO BOX 330971                                                                             FORT WORTH         TX     76163‐0971
JEFFREY ALMASSY          12232 W MOUNT MORRIS RD                                                                   FLUSHING           MI     48433‐9219
JEFFREY ALVAREZ          205 W 13TH ST                                                                             DONORA             PA     15033‐2034
JEFFREY ALVEY            928 N 150 W                                                                               FRANKLIN           IN     46131‐8591
JEFFREY ANATRA           1670 FLAMINGO DR                                                                          FLORISSANT         MO     63031‐3431
JEFFREY ANCEL            1288 N KNIGHT RD                                                                          ESSEXVILLE         MI     48732‐9749
JEFFREY ANDERSON         3038 S WENTWORTH AVE                                                                      MILWAUKEE          WI     53207‐3017
JEFFREY ANDERSON         1202 BAVARIAN LN                                                                          BRYAN              OH     43506‐8603
JEFFREY ANDERSON         7972 RAGLAN DR NE                                                                         WARREN             OH     44484‐1439
JEFFREY ANDERSON         16455 COTTAGE NOOK                                                                        FENTON             MI     48430‐8975
JEFFREY ANDERSON         3206 HERRICK ST                                                                           FLINT              MI     48503‐3419
JEFFREY ANDRE            3573 E LAKE DR                                                                            METAMORA           MI     48455‐8725
JEFFREY ANGELERI         1534 CUNLIFF LANE                                                                         SARASOTA           FL     34239‐4415
JEFFREY ARMSTRONG        256 NORMANDY DR                                                                           ONSTED             MI     49265‐9421
JEFFREY ARMSTRONG        1011 HORIZON WAY                                                                          MARTINSBURG        WV     25403‐1029
JEFFREY ARMSTRONG        5970 ROCKDALE LN                                                                          SYLVANIA           OH     43560‐3638
JEFFREY ARNOLD           155 W MIDDLETON ST                                                                        ORLEANS            IN     47452‐9703
JEFFREY ARNOLD           3390 FAIRBURN I132                                                                        ATLANTA            GA     30331
JEFFREY ASKEW            804 CLEVELAND ST                                                                          SAGINAW            MI     48602‐4437
JEFFREY ASTLEY           194 RAYMALEY RD                                                                           HARRISON CITY      PA     15636‐1402
JEFFREY ATKINSON         7280 LEE RD NE                                                                            BROOKFIELD         OH     44403‐9606
JEFFREY ATTWOOD          7128 HILL RD                                                                              SWARTZ CREEK       MI     48473‐7601
JEFFREY ATWELL           3942 NELSEY RD                                                                            WATERFORD          MI     48329‐4624
JEFFREY AUBIN            1480 15TH ST                                                                              WYANDOTTE          MI     48192‐3343
JEFFREY AUGUSTYN         20 MAPLEFIELD RD                                                                          PLEASANT RIDGE     MI     48069‐1018
JEFFREY AUGUSTYN         1812 IMPERIAL DR                                                                          HIGHLAND           MI     48356‐1157
JEFFREY AULERICH         12997 W HERBISON RD                                                                       EAGLE              MI     48822‐9648
JEFFREY AUSTIN           PO BOX 246                    10920 DWIGHT ST                                             CHIPPEWA LAKE      MI     49320‐0246
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JEFFREY AUSTIN                    141 ADELINE AVE                                                                              CAMPBELL            OH     44405‐1006
JEFFREY AZAROVITZ                 1735 S MILL CT                                                                               LAKE ORION          MI     48360‐1568
JEFFREY B CAZZELL                 15 HOLGATE CT                                                                                FAIRBORN            OH     45324‐4213
JEFFREY B ERBAUGH                 2175 FULS RD                                                                                 FARMERSVILLE        OH     45325
JEFFREY B GILMER                  2981 S BEATRICE ST                                                                           DETROIT             MI     48217‐1501
JEFFREY B HARDIN                  3152 WILLIAMS ST NW                                                                          WARREN              OH     44481‐9431
JEFFREY B PATCHIN                 6434 ST RT 5                                                                                 KINSMAN             OH     44428‐9739
JEFFREY B WILSON & ANITA WILSON   74713 YARRINGTON RD                                                                          ELIGN               OR     97827
JEFFREY B WRIGHT                  2681 MARION AVENUE RD                                                                        MANSFIELD           OH     44903‐9406
JEFFREY BABKA                     549 PRAIRIE POINT DR             P.O. BOX 446                                                POPLAR GROVE         IL    61065‐7816
JEFFREY BACON                     15665 MAYFIELD DR                                                                            LANSING             MI     48906‐1485
JEFFREY BAGLEY                    12822 A ST                                                                                   LA SALLE            MI     48145‐9614
JEFFREY BAILEY                    25339 CAPSHAW RD                                                                             ATHENS              AL     35613‐7340
JEFFREY BAKER                     7165 S MEADOW LN                                                                             MOUNT MORRIS        MI     48458‐9301
JEFFREY BAKER                     347 COVENTRY LN                                                                              MASON               MI     48854‐1162
JEFFREY BAKER                     1626 18TH ST                                                                                 BEDFORD             IN     47421‐4112
JEFFREY BAKER                     250 E HARBORTOWN DR APT 511                                                                  DETROIT             MI     48207‐5010
JEFFREY BALL                      1840 SAWGRASS LN                                                                             CHAPEL HILL         TN     37034‐2666
JEFFREY BALL                      8970 OPOSSUM RUN RD                                                                          LONDON              OH     43140‐9438
JEFFREY BALOGH                    1100 W. BALL RD                                                                              HILLSDALE           MI     49242
JEFFREY BANASZYNSKI               120 LAKELAND LN                                                                              LEONARD             MI     48367‐2954
JEFFREY BANDY                     2678 N CLINTON TRL                                                                           CHARLOTTE           MI     48813‐8698
JEFFREY BANNISTER                 1136 LOCKWOOD DR                                                                             LOCKPORT            NY     14094‐7125
JEFFREY BARAN                     4460 BETHUNE CT                                                                              WEST BLOOMFIELD     MI     48323‐1402

JEFFREY BARAT                     3504 KIRKEY DR                                                                               GRAND BLANC        MI      48439‐7936
JEFFREY BARBATO                   3002 N WILSON AVE                                                                            ROYAL OAK          MI      48073‐3579
JEFFREY BARBER                    158 CLEVELAND AVE                                                                            DEFIANCE           OH      43512‐3402
JEFFREY BARBERA                   310 ELIZABETH ST                                                                             MONTROSE           MI      48457‐9158
JEFFREY BARKALOW                  772 EARLEEN ST APT B                                                                         RAPID CITY         SD      57701‐3215
JEFFREY BARLAGE                   9082 BEECH DR                                                                                BRADFORD           OH      45308‐9624
JEFFREY BARLOW                    PO BOX 9022                      C/O SHANGHAI                                                WARREN             MI      48090‐9022
JEFFREY BARNARD                   3220 S NEBO RD # 400W                                                                        YORKTOWN           IN      47396
JEFFREY BARNES                    5321 S 50 W                                                                                  ANDERSON           IN      46013‐9500
JEFFREY BARNES                    608 BEXFORD DR                                                                               PERRYSBURG         OH      43551‐2922
JEFFREY BARNES                    2521 JULIE DR                                                                                COLUMBIAVILLE      MI      48421‐8911
JEFFREY BARNES                    8560 BRITTON RD                                                                              LAINGSBURG         MI      48848‐8781
JEFFREY BARNES SR.                6752 BIG SPRINGS DR                                                                          ARLINGTON          TX      76001‐5161
JEFFREY BARR                      PO BOX 272                                                                                   YORKTOWN           IN      47396‐0272
JEFFREY BASINGER                  831 NEWPORT RD                                                                               CARLETON           MI      48117‐9319
JEFFREY BASISTA                   4769 WINDBERRY LN                                                                            MILFORD            MI      48380‐2781
JEFFREY BATUYONG                  10369 PLATINUM DR                                                                            NOBLESVILLE        IN      46060‐6126
JEFFREY BAUER                     32977 REDBUD PKWY                                                                            CHESTERFIELD       MI      48047‐1467
JEFFREY BAUER                     5959 REYNOLDS RD                                                                             MARLETTE           MI      48453‐9317
JEFFREY BAUGESS                   6285 SADDLER WAY                                                                             CANAL WINCHESTER   OH      43110‐7700

JEFFREY BAUGHER                   14837 FREDERICKTOWN AMITY RD                                                                 FREDERICKTOWN      OH      43019‐9766
JEFFREY BAUGHMAN                  11433 W ALLEN RD                                                                             WEBBERVILLE        MI      48892‐9523
JEFFREY BAXTER                    4670 NORTHERN HEIGHTS DR                                                                     PERRINTON          MI      48871‐9619
JEFFREY BAYLEY                    8260 BURLEIGH RD                                                                             GRAND BLANC        MI      48439‐9764
JEFFREY BAYMON                    522 WALLIS AVE                                                                               FARRELL            PA      16121‐2067
JEFFREY BAYTOS                    3096 TRENTWOOD CT                                                                            BRUNSWICK          OH      44212‐4292
JEFFREY BEAM                      2214 MAYFAIR RD                                                                              DAYTON             OH      45405‐3219
JEFFREY BEARD                     2011 LELAND AVE                                                                              BALTIMORE          MD      21220‐3927
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Name                 Address1                       Address2            Address3         Address4               City              State   Zip
JEFFREY BEATTY       278 OXFORD LAKE DR                                                                         OXFORD             MI     48371‐5163
JEFFREY BEAUCHAMP    520 BURROUGHS AVE                                                                          FLINT              MI     48507‐2713
JEFFREY BEAUCHESNE   2146 SEYMOUR RD                                                                            SWARTZ CREEK       MI     48473‐9715
JEFFREY BEAUCHOT     8019 PURPLE SAGE CV                                                                        FORT WAYNE         IN     46804‐3567
JEFFREY BEGGS        19955 SUNNYSLOPE DR                                                                        BEVERLY HILLS      MI     48025‐2916
JEFFREY BEHRENDT     4229 DILLON RD                                                                             FLUSHING           MI     48433‐9745
JEFFREY BELANGER     3230 ELMHURST AVE                                                                          ROYAL OAK          MI     48073‐3079
JEFFREY BELBECK      313 SCARLETT OAK DR                                                                        PERRY              MI     48872‐9183
JEFFREY BELL         9950 OAK VALLEY DR                                                                         CLARKSTON          MI     48348‐4174
JEFFREY BELL         19201 N 550 E                                                                              DUNKIRK            IN     47336‐9268
JEFFREY BELLINGAR    5235 BENSETT TRL                                                                           DAVISON            MI     48423‐8727
JEFFREY BELLUCCI
JEFFREY BELTZ        3154 TANYARD HOLLOW RD                                                                     CULLEOKA          TN      38451‐2336
JEFFREY BEMENT       2021 JEFFERSON ST                                                                          HOLT              MI      48842‐1342
JEFFREY BENASH       9827 E‐L‐J TOWNLINE RD                                                                     WHITEWATER        WI      53190
JEFFREY BENN         8331 S 42ND ST                                                                             FRANKLIN          WI      53132‐9324
JEFFREY BENNETT      1052 WILLIAM ST                                                                            HUNTINGTON        IN      46750‐3147
JEFFREY BENSON       3015 N COUNTRY CLUB RD                                                                     MARTINSVILLE      IN      46151‐7319
JEFFREY BENSON       9325 M‐66                                                                                  NASHVILLE         MI      49073
JEFFREY BERGER       8026 COATES RD                                                                             NAPLES            NY      14512‐9107
JEFFREY BERGES       37 HICKORY CIR                                                                             UNION             MO      63084‐2095
JEFFREY BERTRAM      13623 PEACH GROVE RD                                                                       CALIFORNIA        KY      41007‐8747
JEFFREY BEVILLE      1030 HUDSON BAY DR                                                                         GREENWOOD         IN      46142‐1848
JEFFREY BIALLAS      6540 HURON RIVER DR                                                                        DEXTER            MI      48130‐9796
JEFFREY BIDWELL      408 PEPPERMINT LN                                                                          WASKOM            TX      75692‐6630
JEFFREY BIGELOW      63592 MONTICELLO E                                                                         WASHINGTON        MI      48095‐2455
JEFFREY BIRCH        1187 LEWIS RD                                                                              MANSFIELD         OH      44903‐8032
JEFFREY BIRD         202 N 1ST ST                                                                               HOLLY             MI      48442‐1201
JEFFREY BIRKE        94 TERRACE LN                                                                              WASHINGTON        MO      63090‐6204
JEFFREY BISHOP       1805 E STATE ROUTE 73                                                                      WAYNESVILLE       OH      45068‐8714
JEFFREY BISHOP       5720 MCKEE RD                                                                              NEWFANE           NY      14108‐9612
JEFFREY BISON        6602 S COUNTY LINE RD                                                                      DURAND            MI      48429‐9410
JEFFREY BISSERT      155 SHORT RD                                                                               DOYLESTOWN        PA      18901‐3214
JEFFREY BITTNER      777 E. EADS PARKWAY                                                                        GREENDALE         IN      47025
JEFFREY BIXLER       4075 PORTER RD                                                                             ROOTSTOWN         OH      44272‐9509
JEFFREY BLACKBURN    9243 MARIE ST                                                                              LIVONIA           MI      48150‐3317
JEFFREY BLAINE       1375 ROYAL CRESCENT ST                                                                     ROCHESTER HILLS   MI      48306‐4051
JEFFREY BLAKE        1836 OSBAND AVE                                                                            LANSING           MI      48910‐9006
JEFFREY BLASKI       8230 COUNTRY FARM LN                                                                       LAINGSBURG        MI      48848‐9667
JEFFREY BLAUET       3064 WOODLAND DR                                                                           METAMORA          MI      48455‐9732
JEFFREY BLEDSOE      1340 W HERBISON RD                                                                         DEWITT            MI      48820‐8309
JEFFREY BLUM         3214 ASCOT LN                                                                              FALLSTON          MD      21047‐1114
JEFFREY BODARY       2980 PARMENTER RD                                                                          CORUNNA           MI      48817‐9568
JEFFREY BOGUE        1280 FLOWERS RD                                                                            PARK CITY         KY      42160‐7806
JEFFREY BOHL         9371 CHESTNUT CIR                                                                          DEXTER            MI      48130‐9538
JEFFREY BOLDA        39245 ARMSTRONG LN                                                                         WESTLAND          MI      48185‐1349
JEFFREY BOLDEN       243 E HIGH ST                                                                              MILTON            WI      53563‐1621
JEFFREY BOLT         2778 N 500 W                                                                               ANDERSON          IN      46011‐8786
JEFFREY BOLTZ        524 KEENAN AVE                                                                             CUYAHOGA FALLS    OH      44221‐2230
JEFFREY BOMAR        2354 SHERWINGTON CT                                                                        DUBLIN            OH      43016‐9598
JEFFREY BONESTEEL    2223 BOWERS RD                                                                             LAPEER            MI      48446‐3311
JEFFREY BONNER       28059 LANSDOWNE DR                                                                         HARRISON          MI      48045‐2257
                                                                                                                TOWNSHIP
JEFFREY BONNER       4511 S ALABAMA AVE                                                                         MARION             IN     46953‐9372
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Name                                 Address1                             Address2                      Address3                 Address4                City               State   Zip
JEFFREY BORNE                        1055 PICKLE RD                                                                                                      CULLEOKA            TN     38451‐8044
JEFFREY BORST                        9123 CHATWELL CLUB LN APT 3                                                                                         DAVISON             MI     48423‐2877
JEFFREY BORUM                        PO BOX 68                                                                                                           FRANKTON            IN     46044‐0068
JEFFREY BOUSUM                       APT A                                515 BRADFORD CIRCLE                                                            KOKOMO              IN     46902‐8434
JEFFREY BOWLING                      709 WESTVIEW DR                                                                                                     YUKON               OK     73099‐6757
JEFFREY BOWMAN                       33553 SOMERSET DR                                                                                                   STERLING HTS        MI     48312‐6067
JEFFREY BOWYER                       PO BOX 39242                                                                                                        CHARLOTTE           NC     28278‐1022
JEFFREY BOYER                        3876 BASSWOOD CT                                                                                                    OAKLAND             MI     48363‐2650
JEFFREY BOYLAN                       3003 POST OAK DR                                                                                                    EULESS              TX     76039‐7850
JEFFREY BOZEMAN                      1250 INWOOD RD                                                                                                      ROCHESTER HILLS     MI     48306‐1242
JEFFREY BRADAC                       2331 LEXINGTON                                                                                                      OWOSSO              MI     48867‐1012
JEFFREY BRADFORD                     10700 BLUE BIMINI CIR                                                                                               ESTERO              FL     33928‐2469
JEFFREY BRADSHER                     53237 SCENIC DR                                                                                                     SHELBY TWP          MI     48316‐2154
JEFFREY BRADY                        13274 TUSCOLA RD                                                                                                    CLIO                MI     48420‐1832
JEFFREY BRADY                        12178 BIRCH RUN RD                                                                                                  BIRCH RUN           MI     48415‐9428
JEFFREY BRAEM                        3715 HAYES ST                                                                                                       WAYNE               MI     48184‐1930
JEFFREY BRAGG                        2176 E MOUNT HOPE HWY                                                                                               GRAND LEDGE         MI     48837‐9726
JEFFREY BRANHAM                      7907 DARTWORTH DR                                                                                                   PARMA               OH     44129‐3929
JEFFREY BRANTLEY                     9030 DAVISBURG RD                                                                                                   CLARKSTON           MI     48348‐4120
JEFFREY BRAUN                        21681 HAMPSTEAD ST                                                                                                  BEVERLY HILLS       MI     48025‐3650
JEFFREY BREMS                        2774 CRANBERRY RD                                                                                                   DOYLESTOWN          PA     18902‐1705
JEFFREY BROACH                       PO BOX 8601                                                                                                         ATLANTA             GA     31106‐8601
JEFFREY BROCKWAY                     N5425 CHAMPS ELYSEES RD                                                                                             GOULD CITY          MI     49838‐9028
JEFFREY BRODEUR                      400 56TH AVENUE DR W                                                                                                BRADENTON           FL     34207‐3837
JEFFREY BROOKBANK                    2485 POPLAR ST                                                                                                      GIRARD              OH     44420‐3139
JEFFREY BROOKS                       4425 GENESEE RD                                                                                                     LAPEER              MI     48446‐3641
JEFFREY BROUSSARD SR INDIVIDUALLY    ATTN DAVID E HARRIS                  SICO WHITE HOELSCHER & BRAUGH 802 NORTH CARANCAHUA                             CORPUS CHRISTI      TX     78470‐0002
JEFFREY BROUSSARD SR ON BEHALF OF    TO RECOVER FOR THE DEATH OF RHONDA   ATTN DAVID E HARRIS           SICO WHITE HOELSCHER &   802 NORTH CARANCAHUA    CORPUS CHRISTI      TX     78470‐0002
THOSE ENTITLED                       K DAMAS                                                            BRAUGH LLP
JEFFREY BROUSSARD SR ON BEHALF OF    TO RECOVER FOR THE DEATH OF RHONDA   ATTN: DAVID E HARRIS          SICO WHITE HOELSCHER &   802 NORTH CARANCAHUA    CORPUS CHRISTI      TX     78470
THOSE ENTITLED                       K DAMAS                                                            BRAUGH LLP
JEFFREY BROUSSARD SR, INDIVIDUALLY   ATTN: DAVID E HARRIS                 SICO WHITE HOELSCHER & BRAUGH 802 NORTH CARANCAHUA                             CORPUS CHRISTI      TX     78470
JEFFREY BROWE                        15423 IRENE ST                                                                                                      SOUTHGATE           MI     48195‐2022
JEFFREY BROWN                        2001 GRANDVIEW DR                                                                                                   BELOIT              WI     53511‐2815
JEFFREY BROWN                        25300 SPRINGBROOK DR                                                                                                FARMINGTON HILLS    MI     48336‐1364

JEFFREY BROWN                        8082 OLD STAGE RD                                                                                                   WAYNESVILLE        OH      45068‐9066
JEFFREY BROWN                        130 FORMAN ST                                                                                                       BUFFALO            NY      14211‐2031
JEFFREY BROWN                        217 WEST ST                                                                                                         PENDLETON          IN      46064‐1153
JEFFREY BROWN                        15961 W BETHEL AVE                                                                                                  ALEXANDRIA         IN      46001‐9349
JEFFREY BROWN                        7360 MOCKINGBIRD LN                                                                                                 OLIVE BRANCH       MS      38654‐1134
JEFFREY BROWN                        2665 W PREDMORE RD                                                                                                  OAKLAND            MI      48363‐1142
JEFFREY BROWN                        208 BROWN AVE                                                                                                       SYRACUSE           NY      13211‐1822
JEFFREY BRUFF                        8601 RILEY RD                                                                                                       CORUNNA            MI      48817‐9418
JEFFREY BRUMLOW                      1085 GRANDMONT ST                                                                                                   INKSTER            MI      48141‐1926
JEFFREY BUCHANAN                     4237 N CHAPEL RD                                                                                                    FRANKLIN           TN      37067‐7802
JEFFREY BUCHOLZ                      892 RIVERBED DR                                                                                                     HOLLY              MI      48442‐1574
JEFFREY BUCK                         422 W POINSETTA AVE                                                                                                 TOLEDO             OH      43612‐2557
JEFFREY BUICK‐NISSAN INC.            JEFFREY TAMAROFF                     30800 GRATIOT AVE                                                              ROSEVILLE          MI      48066‐1751
JEFFREY BUICK‐NISSAN‐ACURA           30800 GRATIOT AVE                                                                                                   ROSEVILLE          MI      48066‐1751
JEFFREY BUKOSKY                      3868 S LAKE DR                                                                                                      BEAVERTON          MI      48612‐8719
JEFFREY BULL                         50 BROADWAY ST                                                                                                      OXFORD             MI      48371‐4917
JEFFREY BULLARD                      12105 GRATIOT RD                                                                                                    SAGINAW            MI      48609‐9653
JEFFREY BUNN                         245 HENRYVILLE RD                                                                                                   ETHRIDGE           TN      38456‐5219
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Name                   Address1                           Address2              Address3   Address4               City              State   Zip
JEFFREY BURDGICK       13113 HEATHER LN 2                                                                         PERRY              MI     48872
JEFFREY BURGHDOFF      5809 SHADYDELL DR                                                                          FORT WORTH         TX     76135‐2049
JEFFREY BURNELL        423 BELLA VISTA DR                                                                         GRAND BLANC        MI     48439‐1508
JEFFREY BURNETT        816 SE 19TH ST                                                                             OAK GROVE          MO     64075‐9475
JEFFREY BURNETT        355 COLUMBIA ST                                                                            BIRMINGHAM         MI     48009‐6572
JEFFREY BURNS          896 E LINDEN CIR                                                                           MANSFIELD          OH     44906‐2965
JEFFREY BURNS          3391 LEWIS SEIFERT RD                                                                      HUBBARD            OH     44425‐1034
JEFFREY BURPEE         5888 CURTIS RD                                                                             NASHVILLE          MI     49073‐9591
JEFFREY BURROW         415 CEDAR POINT RD                                                                         SANDUSKY           OH     44870‐5208
JEFFREY BURTNESS       2918 SETTLEMENT CREEK RUN                                                                  FORT WAYNE         IN     46804‐6039
JEFFREY BUTLER         9060 E 136TH ST                                                                            SAND LAKE          MI     49343‐9667
JEFFREY BUTLER         1505 LOYOLA DR                                                                             FLINT              MI     48503‐5225
JEFFREY BUTZIN         17860 HURON DR                                                                             MACOMB             MI     48042‐2389
JEFFREY BUYCK          5006 MIAMI LN                                                                              FLINT              MI     48504‐2089
JEFFREY BYRNE          1558 LAURIE LN                                                                             HINCKLEY           OH     44233‐9704
JEFFREY BYRNES         999 WILDBROOK LN                                                                           LAKE ORION         MI     48362‐1553
JEFFREY C ANDERSON     3140 HEIDE RD                                                                              SPRINGFIELD        OH     45506‐3908
JEFFREY C BARNES       8560 BRITTON RD                                                                            LAINGSBURG         MI     48848‐8781
JEFFREY C BISHOP       1805 EAST ST. RT. 73                                                                       WAYNESVILLE        OH     45068
JEFFREY C BOWLING      709 WESTVIEW DRIVE                                                                         YUKON              OK     73099‐6757
JEFFREY C ELLIS        5180 W STATE RD                                                                            LANSING            MI     48906‐9385
JEFFREY C FRACHER      DR JEFFREY C FRACHER               1405 FOXBROOK LANE                                      CHARLOTTESVILLE    VA     22901
JEFFREY C HAWTHORN     4512 SANDRA LEE LANE                                                                       MIDDLETOWN         OH     45042
JEFFREY C HUDSON       PO BOX 662                                                                                 MIAMISBURG         OH     45343‐0662
JEFFREY C JOHNSON      12405 LINCOLN RD                                                                           BURT               MI     48417‐9746
JEFFREY C LEE          5900 BRIDGE RD APT 612                                                                     YPSILANTI          MI     48197‐7011
JEFFREY C MADEWELL     22402 BREAKWATER DR APT 1B                                                                 ELKHART            IN     46516
JEFFREY C MARTINELLI   PO BOX 614                                                                                 HIGHLAND           MI     48357‐0614
JEFFREY C MILLERTON    611 WHITMORE AVE                                                                           DAYTON             OH     45417
JEFFREY C MORGANTE     621 OXFORD ST. APT. 2                                                                      ROCHESTER          NY     14607
JEFFREY C PARKINSON    12081 JEFFERS LANE                                                                         FENTON             MI     48430‐2459
JEFFREY C PETERS       6827 LOCUSTVIEW DR                                                                         HUBER HEIGHTS      OH     45424‐2724
JEFFREY C SHARP        2113 COURTLAND AVE                                                                         KETTERING          OH     45420
JEFFREY C STAJDL       830 N MILLER RD                                                                            SAGINAW            MI     48609
JEFFREY C YOUNG        2161 HILLWOOD DR                                                                           DAVISON            MI     48423‐9572
JEFFREY CAINE          4975 TIMBERWAY TRL                                                                         CLARKSTON          MI     48346‐4464
JEFFREY CALDERAS       1501 ANNE DR                                                                               ROYAL OAK          MI     48067‐4537
JEFFREY CALDWELL       180 FOREST HILL DR                                                                         WILLIAMSVILLE      NY     14221‐3270
JEFFREY CAMPBELL       4513 COPPERFIELD DR                                                                        HAMBURG            NY     14075‐5444
JEFFREY CAMPBELL       6868 W COUNTY ROAD 675 N                                                                   MIDDLETOWN         IN     47356‐9440
JEFFREY CANARY         2848 TITAN DR                                                                              INDIANAPOLIS       IN     46241‐5860
JEFFREY CANNELL        3670 W HYDE RD                                                                             SAINT JOHNS        MI     48879‐9467
JEFFREY CANTU          1385 N CANFIELD RD                                                                         EATON RAPIDS       MI     48827‐9347
JEFFREY CANTU          3123 HEARTHSTONE DR                                                                        FAYETTEVILLE       AR     72764‐8615
JEFFREY CAPOZZIO       PO BOX 80                          1007 DELK CREEK RD.                                     PALL MALL          TN     38577‐0080
JEFFREY CARD           2700 ROSE CITY RD                                                                          LUPTON             MI     48635‐8732
JEFFREY CARDEN         2625 N STATE HIGHWAY 360 APT 914                                                           GRAND PRAIRIE      TX     75050‐7894
JEFFREY CARDENAS       408 SLOAN RD                                                                               NASHVILLE          TN     37209‐4654
JEFFREY CARLIN         400 MERION DR                                                                              NEWTOWN            PA     18940‐1611
JEFFREY CARLSON        2736 VILLAGE DR                                                                            THOMPSONS          TN     37179‐9283
                                                                                                                  STATION
JEFFREY CARLSON        28304 WAVERLY ST                                                                           ROSEVILLE         MI      48066‐2444
JEFFREY CARNEY         4741 EAGLE WATCH DR                                                                        FLOWERY BR        GA      30542‐3498
JEFFREY CARNEY         2623 WILSON SHARPSVILLE RD                                                                 CORTLAND          OH      44410‐9459
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Name                        Address1                         Address2                        Address3   Address4                 City           State   Zip
JEFFREY CARPENTER           1890 LAKE COURT DR.                                                                                  OWOSSO          MI     48867
JEFFREY CARPENTER           525 S GEBHART CH RD                                                                                  MIAMISBURG      OH     45342
JEFFREY CARR                703 WILLOW ST                                                                                        COFFEYVILLE     KS     67337‐4933
JEFFREY CARRICO             710 ROBINANN DR                                                                                      WATERFORD       MI     48328‐2347
JEFFREY CARROLL             152 LESLIE LN                                                                                        SHELBY          OH     44875‐1015
JEFFREY CARROLL             610 REYNOLDS DR                                                                                      WATERFORD       MI     48328‐2034
JEFFREY CARROLL             8519 ARCOLA RD                                                                                       FORT WAYNE      IN     46818‐9732
JEFFREY CARSON              8425 E ETOWAH RD                                                                                     NOBLE           OK     73068‐7535
JEFFREY CARTER              2115 W ALLEN RD                                                                                      HOWELL          MI     48855‐9313
JEFFREY CARTO               8181 DORCHESTER CT                                                                                   GRAND BLANC     MI     48439‐8071
JEFFREY CARVER              8260 MARKLEY RD                                                                                      LUDLOW FALLS    OH     45339‐9788
JEFFREY CASE                5691 TRADEWIND DR                                                                                    PORTAGE         MI     49024‐1193
JEFFREY CASPER              5122 WALDON RD                                                                                       CLARKSTON       MI     48348‐4958
JEFFREY CASTLE              1788 BAYWOOD DR                                                                                      SOUTH VIENNA    OH     45369‐9519
JEFFREY CASTLE              5191 HARDYS RD                                                                                       GAINESVILLE     NY     14066‐9734
JEFFREY CATALANELLO         2542 WINTHROP DR                                                                                     JANESVILLE      WI     53546‐3433
JEFFREY CATALINE            4628 PARDO HWY                                                                                       EATON RAPIDS    MI     48827‐1164
JEFFREY CAUDILL             571 WEST COOK ROAD                                                                                   MANSFIELD       OH     44907‐2213
JEFFREY CHAILLOU SR         1526 VESPER AVE                                                                                      BALTIMORE       MD     21222‐1822
JEFFREY CHAMBERS            6947 EVELINE DR                                                                                      HOLLY           MI     48442‐8644
JEFFREY CHAMBERS            2351 OAKBROOK BLVD                                                                                   BEAVERCREEK     OH     45434‐7091
JEFFREY CHANDLER            13307 TURNER RD                                                                                      DEWITT          MI     48820‐9060
JEFFREY CHARLES             PO BOX 237                                                                                           ROSEVILLE       MI     48066‐0237
JEFFREY CHARLES (479273)    BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD      OH     44067
                                                             PROFESSIONAL BLDG
JEFFREY CHASTAIN            1680 SUNNY ACRES DR                                                                                  BEDFORD        IN      47421‐7829
JEFFREY CHEMA               1266 SUMMER LYNNE DR                                                                                 O FALLON       MO      63366‐6311
JEFFREY CHETE
JEFFREY CHILDS              1325 AVALON CT                                                                                       KOKOMO          IN     46902‐3103
JEFFREY CHOATE              7146 CHESSINGTON DR                                                                                  FAIRVIEW        TN     37062‐8165
JEFFREY CHOU                53 ALLEY 399                     JUFENG RD APT 1801                         PUDONG SHANGHAI 200129
                                                                                                        CHINA
JEFFREY CHRISTENSEN         1155 ARLINGTON DR                                                                                    LANSING        MI      48917‐3917
JEFFREY CHRISTOPHER KELLY   1491 LONG PT RD                                                                                      PASEDENA       MD      21122
JEFFREY CHUNN               1258 NEW TOWNE RD                                                                                    ARNOLD         MO      63010‐4237
JEFFREY CHURCH              3890 VANNETER RD                                                                                     WILLIAMSTON    MI      48895‐1077
JEFFREY CIANO               6523 E ROTAMER RD                                                                                    MILTON         WI      53563‐8656
JEFFREY CICHON              9871 CREEKWOOD TRL                                                                                   DAVISBURG      MI      48350‐2057
JEFFREY CIECIWA             4341 S BURRELL ST                                                                                    MILWAUKEE      WI      53207‐5021
JEFFREY CIESLIK             3050 N TANNER RD                                                                                     ORLANDO        FL      32826‐3469
JEFFREY CILIBERTO           8842 HASELEY RD                                                                                      GASPORT        NY      14067‐9362
JEFFREY CLARK               2969 S COUNTY ROAD 600 E                                                                             NEW CASTLE     IN      47362‐9530
JEFFREY CLARK               552 HOMESTEAD DR                                                                                     N TONAWANDA    NY      14120‐1652
JEFFREY CLARK               214 W BROAD ST                                                                                       LINDEN         MI      48451‐8657
JEFFREY CLARK               2500 TORREY PINES RD UNIT 1202                                                                       LA JOLLA       CA      92037‐3431
JEFFREY CLARK               7222 ALGER DR                                                                                        DAVISON        MI      48423‐2378
JEFFREY CLARK               PO BOX 433                                                                                           SWEETSER       IN      46987‐0433
JEFFREY CLAUS               531 GENTLE BREEZE DR                                                                                 SAINT PETERS   MO      63376‐3881
JEFFREY CLAUS               3833 W 100 N                                                                                         GREENFIELD     IN      46140‐8595
JEFFREY CLIMIE              249 BRISCOE BLVD                                                                                     WATERFORD      MI      48327‐2404
JEFFREY CLINE               2056 FARMBROOK DR                                                                                    MANSFIELD      OH      44904‐1636
JEFFREY CLOUTIER            6511 WALTERS RD                                                                                      CLARKSTON      MI      48346‐2247
JEFFREY COCHRAN             8566 W FALL CREEK DR                                                                                 PENDLETON      IN      46064‐8924
JEFFREY COFFEL              12124 CAVE CREEK CT                                                                                  NOBLESVILLE    IN      46060‐4154
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Name                  Address1                        Address2            Address3         Address4                 City            State   Zip
JEFFREY COFFIN        6038 INDIAN TRL                                                                               COTTRELLVILLE    MI     48039‐1206
JEFFREY COIL          31052 ARTESIAN DR                                                                             MILFORD          MI     48381‐4379
JEFFREY COLE          546 WEESNER DR                                                                                PLAINFIELD       IN     46168‐1271
JEFFREY COLEMAN       217 MARROW BONE DRIVE FORK                                                                    ELKHORN CITY     KY     41522
JEFFREY COLLIER       722 S STATE RD APT 70                                                                         DAVISON          MI     48423‐2812
JEFFREY COLLINS       14808 W SPEICH RD                                                                             ORFORDVILLE      WI     53576‐9431
JEFFREY COLLINS       PO BOX 9421                                                                                   AKRON            OH     44305‐0421
JEFFREY COLSTON       225 HIGHLAND LICK RD                                                                          RUSSELLVILLE     KY     42276‐9204
JEFFREY CONAWAY       PO BOX 1956                                                                                   JANESVILLE       WI     53547‐1956
JEFFREY CONE          121 LAMPLIGHTER DR                                                                            BOWLING GREEN    KY     42104‐6437
JEFFREY CONGDON       13412 SHERIDAN RD                                                                             MONTROSE         MI     48457‐9436
JEFFREY CONLEY        1409 CLARENDON ST                                                                             FORT WORTH       TX     76134‐4849
JEFFREY CONTOR        6422 WASHBURN RD                                                                              GOODRICH         MI     48438‐8821
JEFFREY COOK          9412 SIX MILE LAKE RD                                                                         ELLSWORTH        MI     49729‐9764
JEFFREY COOPER        1210 KETTERING ST                                                                             BURTON           MI     48509‐2368
JEFFREY COOPER        2424 SW GOLDEN EAGLE RD                                                                       LEES SUMMIT      MO     64082‐4097
JEFFREY COOPER        1471 S WARREN RD                                                                              OVID             MI     48866‐9527
JEFFREY COOPER        9045 NORTH LINDEN ROAD                                                                        CLIO             MI     48420‐8582
JEFFREY COOPER        1135 EAST 800 SOUTH                                                                           FAIRMOUNT        IN     46928‐9311
JEFFREY CORNELL       1526 MASSACHUSETTS AVE                                                                        LANSING          MI     48906‐4615
JEFFREY CORRELL       556 OAKBROOK CIR                                                                              FLUSHING         MI     48433‐1704
JEFFREY COWELL        19914 PEMBERTON CT                                                                            MACOMB           MI     48044‐5771
JEFFREY COWLES        PO BOX 625                      310 E WILSON ST                                               SWAYZEE          IN     46986‐0625
JEFFREY CRAIG         1060 N RYMERS RD                                                                              PORT CLINTON     OH     43452‐9408
JEFFREY CRAMER        1773 ISLAND DR                                                                                POLAND           OH     44514‐5603
JEFFREY CRAMER        RICHARD‐WAGNER‐STR. 13                                               D‐68519 VIERNHEIM
                                                                                           GERMANY
JEFFREY CRAMPTON      12249 TUTTLEHILL RD                                                                           MILAN           MI      48160‐9024
JEFFREY CRAWFORD      7563 OAKVIEW                                                                                  OWOSSO          MI      48867‐9298
JEFFREY CREASON       2817 PLUM CT                                                                                  KOKOMO          IN      46902‐2957
JEFFREY CRIBBS        7145 JACKMAN RD                                                                               TEMPERANCE      MI      48182‐1312
JEFFREY CROFCHECK     3895 INDIAN RUN DR UNIT 10                                                                    CANFIELD        OH      44406‐9573
JEFFREY CROOK         12790 ROOSEVELT RD                                                                            SAGINAW         MI      48609‐9771
JEFFREY CROSLEY       244 MULBERRY RD                                                                               CHESTERFIELD    IN      46017‐1721
JEFFREY CROSS         428 CHILDERS STREET                                                                           PENSACOLA       FL      32534‐9630
JEFFREY CROSS         4258 KELLY CT                                                                                 FLUSHING        MI      48433‐2318
JEFFREY CROWE         1102 PARK CT                                                                                  GRAND LEDGE     MI      48837‐2220
JEFFREY CROWLEY       1467 W JUDD RD                                                                                FLINT           MI      48507‐3656
JEFFREY CRYAN         1072 MARYVALE DR                                                                              CHEEKTOWAGA     NY      14225‐2324
JEFFREY CUNNINGHAM    5697 W STATE ROAD 38                                                                          NEW CASTLE      IN      47362‐9741
JEFFREY CUNNINGHAM    333 KENILWORTH AVE                                                                            DAYTON          OH      45405‐4037
JEFFREY CUPP          271 AVON PKWY                                                                                 AVON            IN      46123‐9671
JEFFREY CURRY         4714 COLUMBIA PIKE                                                                            THOMPSONS       TN      37179‐5202
                                                                                                                    STATION
JEFFREY CURTIS        26320 DARIA CIR E                                                                             SOUTH LYON      MI      48178‐8078
JEFFREY CYBOROWSKI    9010 NEWCASTLE CT                                                                             GRAND BLANC     MI      48439‐7346
JEFFREY D ANGEL       1010 GRIBBLE DR                                                                               FRANKLIN        OH      45005
JEFFREY D BONESTEEL   2223 BOWERS RD                                                                                LAPEER          MI      48446‐3311
JEFFREY D BUDINSKI    389 LAURA DRIVE                                                                               ROCHESTER       NY      14626‐2131
JEFFREY D CHAMBERS    2351 OAKBROOK BLVD.                                                                           BEAVERCREEK     OH      45434
JEFFREY D CLAY        2140 AUBURNDALE AVE                                                                           DAYTON          OH      45414
JEFFREY D CROSS       5145 TUCSON DR                                                                                DAYTON          OH      45418
JEFFREY D DANNER      6895 STATE ROUTE 201                                                                          TIPP CITY       OH      45371‐9799
JEFFREY D DAWSON      1712 CAMBRIDGE ST.                                                                            PIQUA           OH      45356
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Name                                 Address1                        Address2              Address3      Address4               City           State   Zip
JEFFREY D DEVILBISS                  522 VARDE COVE                                                                             EATON           OH     45320
JEFFREY D ELLIOTT                    2631 SALTERS CT                                                                            DELTONA         FL     32738‐4133
JEFFREY D ELLIS                      135 ARTIE COURT                                                                            DAYTON          OH     45439‐1909
JEFFREY D FOLAN                      2705 LEHIGH PL APT 1                                                                       MORAINE         OH     45439‐2852
JEFFREY D FOOTE                      PO BOX 320241                                                                              FLINT           MI     48532‐0005
JEFFREY D GIBBS                      PO BOX 312                                                                                 SPRINGBORO      OH     45066‐0312
JEFFREY D HARLESS                    5395 WHISPERING OAKS LN                                                                    FORT WORTH      TX     76140‐9521
JEFFREY D HARRIS                     16867 WINSTON ST                                                                           DETROIT         MI     48219‐3612
JEFFREY D HEATH                      333 S MURRAY HILL RD                                                                       COLUMBUS        OH     43228‐1947
JEFFREY D HEATH                      1540 CROCKETT CT                                                                           XENIA           OH     45385‐4258
JEFFREY D HORNUNG                    4106 PLEASANT ST                                                                           METAMORA        MI     48455‐9403
JEFFREY D JACKSON                    325 HURON                                                                                  DAYTON          OH     45407
JEFFREY D JADLOSKI                   936 LINCOLN AVE                                                                            NILES           OH     44446
JEFFREY D JAMES                      4850 KALAMAZOO AVE SE                                                                      GRAND RAPIDS    MI     49508‐4876
JEFFREY D JONES                      94 E STRATHMORE AVE                                                                        PONTIAC         MI     48340‐2766
JEFFREY D LEE                        9302 MAXWELLS XING                                                                         DAYTON          OH     45458
JEFFREY D LEWIS                      2042 E CHEROKEE LN                                                                         OLATHE          KS     66062‐3216
JEFFREY D MANNIX                     9621 N CINCINNATI COLUMBUS RD                                                              WAYNESVILLE     OH     45068
JEFFREY D MCFADDEN                   314 LONGMAN RD                                                                             EATON           OH     45320
JEFFREY D OTIS                       6767 E CASSTOWN CLARK RD                                                                   CASSTOWN        OH     45312
JEFFREY D PALMER                     6185 NATURES CV                                                                            GRAND BLANC     MI     48439‐9444
JEFFREY D PETT                       5041 PENSACOLA BLVD                                                                        MORAINE         OH     45439‐2940
JEFFREY D POLLOW                     2725 WEST AVE                                                                              NEWFANE         NY     14108‐1217
JEFFREY D RUSHING                    2403 HERRINGTON LANE SE                                                                    RUTH            MS     39662
JEFFREY D SKELTON                    21 HOLLOWAY DR                                                                             COLLINSVILLE     IL    62234
JEFFREY D SLAKTOSKI                  469 129TH AVE                                                                              SHELBYVILLE     MI     49344‐9553
JEFFREY D STAMM                      1390 BONNIEBROOK DR                                                                        MIAMISBURG      OH     45342‐6409
JEFFREY D TAYLOR                     1044 ROSSITER DRIVE                                                                        DAYTON          OH     45418
JEFFREY D VAIL                       649 DUBIE RD                                                                               YPSILANTI       MI     48198‐8025
JEFFREY D VEBENSTAD                  5862 DALTON RD                                                                             TOLEDO          OH     43612‐4209
JEFFREY D WALL                       4921 MULLIGAN CIR                                                                          SHREVEPORT      LA     71107‐3480
JEFFREY D WENZEL                     2315 KENNELY RD.                                                                           SAGINAW         MI     48609
JEFFREY D WILSON                     4460 OLD SALEM RD                                                                          ENGLEWOOD       OH     45322
JEFFREY D WING                       3206 N 494 W                                                                               HUNTINGTON      IN     46750‐9019
JEFFREY D'AMBROSIO CHEVROLET, INC.   JEFFREY D'AMBROSIO              2158 BALTIMORE PIKE                                        OXFORD          PA     19363‐4011

JEFFREY D'AMBROSIO CHEVROLET, OLDSM 2158 BALTIMORE PIKE                                                                         OXFORD          PA     19363‐4011

JEFFREY D'AMBROSIO CHEVROLET,        2158 BALTIMORE PIKE                                                                        OXFORD          PA     19363‐4011
OLDSMOBILE, AND GMC TRUCK
JEFFREY DAEGE                        1418 N FRENCH RD                                                                           BUFFALO        NY      14228‐1907
JEFFREY DAGHER                       4001 TUXEDO AVENUE                                                                         FLINT          MI      48507‐5321
JEFFREY DAILEY                       19 COLONY WAY                                                                              GAS CITY       IN      46933‐1253
JEFFREY DALBEY                       1001 JAMES PL                                                                              DANVILLE       IL      61832‐3424
JEFFREY DALLE                        167 S WEST ST                                                                              BUNKER HILL    IN      46914‐1503
JEFFREY DALTON                       1008 BIRCHWOOD DR                                                                          SANDUSKY       OH      44870‐6309
JEFFREY DALTON                       4025 ELMHURST RD                                                                           WATERFORD      MI      48328‐4026
JEFFREY DANNER                       3107 S BROADWAY ST                                                                         YORKTOWN       IN      47396‐9647
JEFFREY DARROW                       5316 BRADLEY RD                                                                            GREGORY        MI      48137‐9536
JEFFREY DAVIE                        1223 5TH ST                                                                                SANDUSKY       OH      44870‐4288
JEFFREY DAVIS                        8345 S 75 E                                                                                PENDLETON      IN      46064‐9328
JEFFREY DAVIS                        180 E COX RD                                                                               EDGERTON       WI      53534‐9705
JEFFREY DAVIS                        1712 E SLEEPY HOLLOW DR         E                                                          OLATHE         KS      66062‐2222
JEFFREY DAVIS                        18205 CORNERSTONE DR                                                                       MORRISVILLE    PA      19067‐7922
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Name                      Address1                       Address2            Address3         Address4               City              State   Zip
JEFFREY DAVIS             711 BOUTELL DR                                                                             GRAND BLANC        MI     48439‐1922
JEFFREY DAVIS             5020 PARVIEW DR                                                                            CLARKSTON          MI     48346‐2804
JEFFREY DAVIS             5110 N GALE RD                                                                             DAVISON            MI     48423‐8955
JEFFREY DAVIS             903 NEWTON ST                                                                              SAN FERNANDO       CA     91340‐1429
JEFFREY DAVIS             106 PATTIE DR                                                                              NEWARK             DE     19702‐2803
JEFFREY DAY               602 TURTLE CREEK CT                                                                        SAINT PETERS       MO     63376‐1833
JEFFREY DE VRIES          2920 WOODFORD CIR                                                                          ROCHESTER HILLS    MI     48306‐3068
JEFFREY DEAN              1340 DUNHAM ST SE                                                                          GRAND RAPIDS       MI     49506‐2632
JEFFREY DEBOLT            7213 MEADOW GATE WAY                                                                       WOODSTOCK          GA     30189‐6233
JEFFREY DECKMAN           6015 N STATE ROAD 1                                                                        FARMLAND           IN     47340‐9341
JEFFREY DEGNER            314 WHITE OAK DR                                                                           PERRY              MI     48872‐9178
JEFFREY DEHAVEN           4350 W 250 S                                                                               PERU               IN     46970‐7953
JEFFREY DELANO            2704 MAITLAND DR                                                                           ANN ARBOR          MI     48105‐1576
JEFFREY DENISON           8 ISABEL ST                                                                                MASSENA            NY     13662‐2503
JEFFREY DENISON           6665 MANSON DR                                                                             WATERFORD          MI     48329‐2739
JEFFREY DENNIS            524 LAREDO RD                                                                              BURLESON           TX     76028‐2258
JEFFREY DEPONCEAU         6002 CRIDDLE DR                                                                            COLUMBIA           TN     38401‐5060
JEFFREY DESPARD           30780 CHEVIOT HILLS DR                                                                     FRANKLIN           MI     48025‐1519
JEFFREY DEXTER            8520 WOODRIDGE DR                                                                          DAVISON            MI     48423‐8394
JEFFREY DICKERSON         6232 SUNSET DR                                                                             BEDFORD HTS        OH     44146‐3162
JEFFREY DICKHERBER        168 STRACK FARM LN                                                                         TROY               MO     63379‐4161
JEFFREY DIEBOLD           57184 MOONCREEK CT                                                                         WASHINGTN TWP      MI     48094‐4232
JEFFREY DIEGEL            23656 PRESCOTT LN W                                                                        SOUTH LYON         MI     48178‐8241
JEFFREY DIEM              11151 MCKINLEY RD                                                                          MONTROSE           MI     48457‐9006
JEFFREY DIEM              18465 TIPSICO LAKE RD                                                                      FENTON             MI     48430‐8515
JEFFREY DILL              611 HEATHERWOOD LN                                                                         OSSIAN             IN     46777‐9286
JEFFREY DILLON            3699 SELLARS RD                                                                            MORAINE            OH     45439‐1232
JEFFREY DILLON            7939 ADAIR RD                                                                              CASCO              MI     48064‐1506
JEFFREY DINGEE            11589 STONE BLUFF DR                                                                       GRAND LEDGE        MI     48837‐2289
JEFFREY DINSMOORE         4663 TIGER LILY TRL                                                                        CLARKSTON          MI     48346‐4982
JEFFREY DIXON             308 N CANAL RD                                                                             LANSING            MI     48917‐7707
JEFFREY DOBBINS           1325 FORTY OAKS DRIVE                                                                      HERNDON            VA     20170‐2024
JEFFREY DOLD              5875 ARCOLA ST                                                                             GARDEN CITY        MI     48135‐2524
JEFFREY DOLL              8951 MICHIGAMME RD                                                                         CLARKSTON          MI     48348‐3439
JEFFREY DOMINIC           1855 MAIN STREET EXT SW                                                                    WARREN             OH     44481‐8649
JEFFREY DORAN             2110 LOCHNAYNE LN                                                                          DAVISON            MI     48423‐8376
JEFFREY DORAN             1515 ERSKINE RD                                                                            HEMLOCK            MI     48626‐9774
JEFFREY DORR              2005 GRATIOT AVE                                                                           SAGINAW            MI     48602‐2768
JEFFREY DOSH              8002 MAKAHA CIR                                                                            HOUSTON            TX     77095‐3472
JEFFREY DOUGLAS HEMMERT   WEITZ & LUXEMBERG PC           700 BROADWAY                                                NEW YORK CITY      NY     10003
JEFFREY DOUGLAS HEMMERT   WEITZ & LUXENBERG PC           700 BROADWAY                                                NEW YORK           NY     10003
JEFFREY DOWNING           3801 TAFT AVE SW                                                                           WYOMING            MI     49519‐3762
JEFFREY DOYLE             11460 SHAFFER RD                                                                           DAVISBURG          MI     48350‐3839
JEFFREY DOYLE             46766 CAMELIA DR                                                                           CANTON             MI     48187‐1435
JEFFREY DRAFT             3452 PIPER LAKE RD                                                                         WEST BRANCH        MI     48661‐9414
JEFFREY DRAHER            8105 WELTER RD                                                                             OVID               MI     48866‐9631
JEFFREY DRENNAN           4645 HARRIS RD                                                                             BROADVIEW HTS      OH     44147‐2905
JEFFREY DUBOSE            941 BONNIE BLUE LN                                                                         COLUMBIA           TN     38401‐6703
JEFFREY DUELL             3076 ALCOTT AVE                                                                            FLINT              MI     48506‐2146
JEFFREY DUKES             2207 COUGAR LN SE                                                                          DECATUR            AL     35601‐4431
JEFFREY DULZO             44892 HUNTINGCROSS DR                                                                      NOVI               MI     48375‐3934
JEFFREY DUNCAN            3680 LORENA DR                                                                             WATERFORD          MI     48329‐4238
JEFFREY DUNCAN            140 WOODLAND RD                                                                            NEWARK             DE     19702‐1474
JEFFREY DUNCAN            2368 LIMESTONE WAY                                                                         COLUMBUS           OH     43228‐9156
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Name                  Address1                         Address2            Address3         Address4               City               State   Zip
JEFFREY DUNKEL        1790 E ROUND LAKE RD                                                                         DEWITT              MI     48820‐8403
JEFFREY DUNN          02720 BC & EJ ROAD                                                                           BOYNE CITY          MI     49712
JEFFREY DURDEN        105 N HURON ST                                                                               YPSILANTI           MI     48197‐2509
JEFFREY DUTCHER       1163 N BRADLEY RD                                                                            CHARLOTTE           MI     48813‐9505
JEFFREY DYE           32908 E STRINGTOWN RD                                                                        GREENWOOD           MO     64034‐8227
JEFFREY DYMOND        4615 WESWILMAR DR                                                                            HOLT                MI     48842‐1690
JEFFREY DZIERBICKI    417 CARTER DR                                                                                TROY                MI     48098‐4658
JEFFREY E BAUGESS     6285 SADDLER WAY                                                                             CANAL WINCHESTER    OH     43110‐7700

JEFFREY E BISHOP      5720 MCKEE RD                                                                                NEWFANE            NY      14108‐9612
JEFFREY E BROWN       130 FORMAN ST                                                                                BUFFALO            NY      14211‐2031
JEFFREY E BROWN       30 WESTON LOWER                                                                              BUFFALO            NY      14215
JEFFREY E CARICO      393 N.JAY ST                                                                                 WEST MILTON        OH      45383
JEFFREY E GOOTEE      3645 DETROIT AVE                                                                             DAYTON             OH      45416‐1903
JEFFREY E LORENS      2700 CASH CT                                                                                 THOMPSONS          TN      37179‐9289
                                                                                                                   STATION
JEFFREY E MICHAELIS   2110 BURR OAK LN                                                                             LINDENHURST        IL      60046‐9227
JEFFREY E MUCHA       95 RIDGELEA CT                                                                               ROCHESTER          NY      14615‐1501
JEFFREY E NEACE       242 COLLEGE PARK                                                                             DAYTON             OH      45409‐2629
JEFFREY E SCHELBLE    ACCT OF CHRISTINE E PEASE        PO BOX 92911                                                MILWAUKEE          WI      34164
JEFFREY E STONELAKE   7 EL STONE DR                    PO BOX 122                                                  GLEN MILLS         PA      19342‐1707
JEFFREY EASHOO        4376 CROSBY RD                                                                               FLINT              MI      48506‐1416
JEFFREY EASTERLING    5220 DELTA RIVER DR                                                                          LANSING            MI      48906‐9012
JEFFREY EASTHAM       PO BOX 56                                                                                    VASSAR             MI      48768‐0056
JEFFREY ECKEL         2282 ARROW HEAD DR                                                                           LAPEER             MI      48446‐8001
JEFFREY EDGERLY       48226 SUGARBUSH RD                                                                           CHESTERFIELD       MI      48047‐3311
JEFFREY EDINGTON      9465 FENNER RD                                                                               LAINGSBURG         MI      48848‐8760
JEFFREY EDWARDS       121 FOXBORO DR                                                                               ROCHESTER HILLS    MI      48309‐1431
JEFFREY EKKEL         433 118TH AVE                                                                                MARTIN             MI      49070‐9746
JEFFREY ELIASZ        53031 PIGEON CREEK DR                                                                        CHESTERFIELD       MI      48047‐5953
JEFFREY ELLIOTT       21608 S CLEVELAND AVE                                                                        BELTON             MO      64012‐9014
JEFFREY ELLIOTT       889 GOLDCOAST DR                                                                             DELTONA            FL      32725‐7406
JEFFREY ELLIS         5180 W STATE RD                                                                              LANSING            MI      48906‐9385
JEFFREY ELLISON       3455 GINGER CT                                                                               KOKOMO             IN      46901‐6902
JEFFREY ELROD         13709 CHIPPING CT.                                                                           SHELBY             MI      48315
JEFFREY EMERICK       40 MALLARD XING                                                                              CANFIELD           OH      44406‐8760
JEFFREY ENDSLEY       3460 MEANDERWOOD DR                                                                          CANFIELD           OH      44406‐9616
JEFFREY ENGELMAN
JEFFREY ENGLE         6649 RR 1                                                                                    WOODLAND           MI      48897
JEFFREY ERDMANN       2312 N WRIGHT RD                                                                             JANESVILLE         WI      53546‐1105
JEFFREY ERNST         334 WOODSIDE AVE                                                                             BUFFALO            NY      14220‐2015
JEFFREY ERNST         1214 MEADOWCREST DR                                                                          WATERFORD          MI      48327‐2940
JEFFREY ESCH          1602 E ROUND LAKE RD                                                                         DEWITT             MI      48820‐8404
JEFFREY ESSER         7200 JOY MARIE LN                                                                            WATERFORD          WI      53185‐1867
JEFFREY EUBANK        2840 DAYSON DR                                                                               ANDERSON           IN      46013‐9713
JEFFREY EUTON         3484 GREENVILLE DR                                                                           LEWIS CENTER       OH      43035‐9180
JEFFREY EVANS         16311 MURRAY RD                                                                              BYRON              MI      48418‐9041
JEFFREY EWING         1582 HAZEL ST                                                                                BIRMINGHAM         MI      48009‐6802
JEFFREY F CONLEY      1409 CLARENDON ST                                                                            FORT WORTH         TX      76134‐4849
JEFFREY F GARLICK     1152 SHEREE DR                                                                               GRAND ISLAND       NY      14072‐2621
JEFFREY F MOORE       965 GLIDE ST                                                                                 ROCHESTER          NY      14606‐2750
JEFFREY F PARKER      8310 AUTUMN OAK AVE                                                                          PORT RICHEY        FL      34668‐3354
JEFFREY F STALLMAN    2235 PINOAK CT                                                                               MIAMISBURG         OH      45342
JEFFREY FAATZ         9 TRENTWOOD TRL                                                                              LANCASTER          NY      14086‐1465
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Name                   Address1                        Address2            Address3         Address4               City               State Zip
JEFFREY FAHEY          1090 PORTER RD                                                                              WHITE LAKE          MI 48383‐2408
JEFFREY FALANGA
JEFFREY FALER          1818 HOUSEL CRAFT RD                                                                        BRISTOLVILLE       OH   44402‐9607
JEFFREY FAULKENBERG    4606 E 531 N                                                                                ROANOKE            IN   46783‐8809
JEFFREY FEAZEL         5249 DUTCH RD                                                                               LESLIE             MI   49251‐9717
JEFFREY FELDPAUSCH     13975 W GRAND RIVER HWY                                                                     EAGLE              MI   48822‐9601
JEFFREY FELTEN         2600 SPYGLASS DR                                                                            OAKLAND            MI   48363‐2464
JEFFREY FELTON         5610 E COUNTY ROAD 500 S                                                                    MUNCIE             IN   47302‐9647
JEFFREY FENTON         6312 GARBER RD                                                                              BELLVILLE          OH   44813‐9096
JEFFREY FERGUSON       1304 CHANDLER AVE                                                                           LINCOLN PARK       MI   48146
JEFFREY FERGUSON       1304 CHANDLER                                                                               LINCOLN PARK       MI   48146
JEFFREY FERNSLER       2296 BROOKMEAD WAY                                                                          CHARLOTTE          MI   48813‐9762
JEFFREY FILTER         1759 RUSH RD                                                                                WICKLIFFE          OH   44092‐1128
JEFFREY FINKEN         10420 CLARK RD                                                                              DAVISBURG          MI   48350‐2713
JEFFREY FISCHER        8392 WALTER ST                                                                              MOUNT MORRIS       MI   48458‐1153
JEFFREY FISHER         2700 SHIMMONS RD LOT 180                                                                    AUBURN HILLS       MI   48326‐2050
JEFFREY FISHER         7977 W 700 N                                                                                MIDDLETOWN         IN   47356
JEFFREY FITZGERALD     1680 WELLMAN RD                                                                             DEWITT             MI   48820‐9644
JEFFREY FLANNERY       1898 BASELINE RD                                                                            LESLIE             MI   49251‐9792
JEFFREY FLECKENSTEIN   2942 PLEASANT AVE                                                                           HAMBURG            NY   14075‐3624
JEFFREY FLEMING        53759 HERITAGE LN                                                                           NEW BALTIMORE      MI   48047‐5850
JEFFREY FLESHER        5256 HICKORY DR                                                                             METAMORA           MI   48455‐9740
JEFFREY FOLAND         428 E ELM ST                    PO BOX 4                                                    VERNON             MI   48476‐9108
JEFFREY FORD           6686 PEBBLE BEACH DR.                                                                       GAYLORD            MI   49735
JEFFREY FOSBURG        1588 TUTTLE RD                                                                              MASON              MI   48854‐9752
JEFFREY FOSTER         331 BAGGETT CIR                                                                             LAWRENCEVILLE      GA   30044‐4233
JEFFREY FOWLER         19559 PITTS ROAD                                                                            WELLINGTON         OH   44090‐9455
JEFFREY FOWLER         1249 EDGEWATER LN                                                                           GRAYLING           MI   49738‐7512
JEFFREY FRAISE         15 HEATHER ST                                                                               N ATTLEBORO        MA   02760‐4308
JEFFREY FRANZ          16105 ROAD D                                                                                CONTINENTAL        OH   45831‐9524
JEFFREY FRASHER        9293 HUBBARD RD                                                                             DAVISON            MI   48423‐9327
JEFFREY FRASIER        205 ROYAL RIDGE CT                                                                          FOLEY              MO   63347‐2735
JEFFREY FRASIER        19400 E 37TH TERRACE CT S       APT 803                                                     INDEPENDENCE       MO   64057‐2489
JEFFREY FREEBURG       PO BOX 9022                     SHANGHAI                                                    WARREN             MI   48090‐9022
JEFFREY FRIEDMAN
JEFFREY FRIELING       2088 CHATFIELD LN                                                                           LAPEER             MI   48446‐8041
JEFFREY FROGGETT       473 MANOR ST                                                                                GROSSE POINTE      MI   48236‐3249
                                                                                                                   FARMS
JEFFREY FRUIT          1401 SAINT FRANCIS DRIVE                                                                    LOS BANOS          CA   93635‐2806
JEFFREY FULLER         1737 SHAW AVE                                                                               YOUNGSTOWN         OH   44505‐4168
JEFFREY FUNTUKIS       7331 ROSEDALE BLVD                                                                          ALLEN PARK         MI   48101‐1828
JEFFREY G BROOKS       4425 GENESEE RD                                                                             LAPEER             MI   48446‐3641
JEFFREY G CLARK        7222 ALGER DR                                                                               DAVISON            MI   48423‐2378
JEFFREY G CUNNINGHAM   333 KENILWORTH AVE                                                                          DAYTON             OH   45405‐4037
JEFFREY G EMBERGER     321 GRANVIEW CIR                                                                            HONEY BROOK        PA   19344
JEFFREY G LORENTZ      29809 MAPLEGROVE ST                                                                         ST CLAIR SHRS      MI   48082‐2805
JEFFREY G PLOURDE      6270 SHELDON ST                                                                             YPSILANTI          MI   48197‐8226
JEFFREY G WREN         425 ORCHARD DR                                                                              SPRINGBORO         OH   45066
JEFFREY GABBARD        3064 PINNACLE PARK DR                                                                       MORAINE            OH   45418‐2961
JEFFREY GACE           14575 EMERSON DR                                                                            STERLING HEIGHTS   MI   48312‐5756
JEFFREY GAGALIS        510 ADRIENNE LN                                                                             ANN ARBOR          MI   48103‐1505
JEFFREY GAGLIARDO      728 MAIN ST # A                                                                             GAITHERSBURG       MD   20878‐5545
JEFFREY GALINSKIE      2700 BARDELL DR                                                                             WILMINGTON         DE   19808‐2167
JEFFREY GALONSKA       2185 BLACKTHORN DR                                                                          BURTON             MI   48509‐1201
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Name                Address1                      Address2            Address3         Address4               City              State   Zip
JEFFREY GALVIN      32 QUEENS DR                                                                              GRAND ISLAND       NY     14072‐1424
JEFFREY GARLICK     67840 HOWARD ST                                                                           RICHMOND           MI     48062‐1326
JEFFREY GARLICK     1152 SHEREE DR                                                                            GRAND ISLAND       NY     14072‐2621
JEFFREY GARNER      135 FOOS RD                                                                               W MANCHESTER       OH     45382‐9714
JEFFREY GARRETT     8985 SEBASTIAN RD                                                                         KEITHVILLE         LA     71047‐7661
JEFFREY GASS        3245 THOMAS HICKEY DR                                                                     JOLIET              IL    60431‐1665
JEFFREY GATES       3009 SHAWNEE AVE                                                                          FLINT              MI     48507‐1934
JEFFREY GAUCI       1172 CULPEPPER CIR                                                                        FRANKLIN           TN     37064‐8932
JEFFREY GAUDYNSKI   1927 S 77TH ST                                                                            WEST ALLIS         WI     53219‐1108
JEFFREY GAUGER      12145 LAKE RD                                                                             MONTROSE           MI     48457‐9442
JEFFREY GAUTHIER    540 OAKBROOK CIR                                                                          FLUSHING           MI     48433‐1704
JEFFREY GAY         1104 NORTHEAST 67TH PLACE                                                                 KANSAS CITY        MO     64118‐3573
JEFFREY GAYLORD     12229 HAWKINS WAY                                                                         FORT WAYNE         IN     46814‐9156
JEFFREY GAZETTI     829 RICHARD ST                                                                            HOLLY              MI     48442‐1286
JEFFREY GEHRKE      882 E DAFFODIL LN                                                                         BELOIT             WI     53511‐1610
JEFFREY GEORGE      2502 PLYMOUTH AVE                                                                         JANESVILLE         WI     53545‐5703
JEFFREY GEPPERT     31084 SCHOOLCRAFT RD                                                                      LIVONIA            MI     48150‐2025
JEFFREY GERARDI     5061 ONA LAKE DR                                                                          WHITE LAKE         MI     48383‐3253
JEFFREY GERBER      2637 REGENCY DR                                                                           ORION              MI     48359‐1155
JEFFREY GETCHELL    18960 HILLCREST ST                                                                        BEVERLY HILLS      MI     48025‐3042
JEFFREY GIACOBBE    2172 NEWBURGH DR                                                                          TROY               MI     48083‐2515
JEFFREY GIBBS       14164 WACOUSTA RD                                                                         GRAND LEDGE        MI     48837‐9208
JEFFREY GIBSON      218 RIVIERA TER                                                                           WATERFORD          MI     48328‐3467
JEFFREY GIBSON      813 FOREST DR                                                                             FENTON             MI     48430‐1410
JEFFREY GIDDINGS    1231 ANZIO LN                                                                             FLINT              MI     48507‐4001
JEFFREY GIETEK      8565 GLEN HAVEN DR                                                                        HOWELL             MI     48843‐8114
JEFFREY GIGNAC      18514 ELM CT                                                                              MACOMB             MI     48044‐3435
JEFFREY GILL        3448 SHELBY ST                                                                            WATERFORD          MI     48328‐1373
JEFFREY GILLEN      32229 BARKLEY ST                                                                          LIVONIA            MI     48154‐3513
JEFFREY GILLHAM     1189 E PINE ISLAND RD                                                                     SHREVEPORT         LA     71107‐8506
JEFFREY GILMER      2981 S BEATRICE ST                                                                        DETROIT            MI     48217‐1501
JEFFREY GINN        PO BOX 578                                                                                YORKTOWN           IN     47396‐0578
JEFFREY GISH        2402 SEASONS RD APT 1208                                                                  ARLINGTON          TX     76014‐4603
JEFFREY GLADDEN     20256 LONGWOOD CT                                                                         NORTHVILLE         MI     48167‐1929
JEFFREY GLICK       7710 FOREST LODGE RD                                                                      TRAVERSE CITY      MI     49684‐8598
JEFFREY GLOSSOP     9705 ROSSMAN HWY                                                                          EATON RAPIDS       MI     48827‐9339
JEFFREY GLYNN       7092 FAIRGROVE DR                                                                         SWARTZ CREEK       MI     48473‐9408
JEFFREY GOETHE      836 HICKORY RIDGE TRL                                                                     COLUMBIA           TN     38401‐6752
JEFFREY GOFF        9504 E VERMONTVILLE HWY                                                                   DIMONDALE          MI     48821‐8766
JEFFREY GOFORTH     19021 SAN DIEGO BLVD                                                                      LATHRUP VILLAGE    MI     48076‐3375
JEFFREY GOODNIGHT   5444 S 350 E                                                                              MIDDLETOWN         IN     47356
JEFFREY GORDINIER   13081 COVE RIDGE DR                                                                       SOUTH LYON         MI     48178‐9590
JEFFREY GORDON      4300 DEESIDE DR                                                                           BRIGHTON           MI     48116‐8062
JEFFREY GORDON      1304 FOX LN                                                                               MANSFIELD          TX     76063‐5551
JEFFREY GORMLY      3503 TREMONTE CIR N                                                                       OAKLAND TWP        MI     48306‐5010
JEFFREY GORNY       47697 GOFF CT                                                                             CANTON             MI     48188‐3305
JEFFREY GRABLICK    350 ARDUSSI ST                                                                            FRANKENMUTH        MI     48734‐1455
JEFFREY GRAHAM      7336 JOCHAR RD                                                                            CLAY               MI     48001‐3021
JEFFREY GRAMZOW     36133 MCKINLEY ST                                                                         NEW BALTIMORE      MI     48047‐6380
JEFFREY GRAVES      2105 POINT WEST DR APT 1D                                                                 FORT WAYNE         IN     46808‐4308
JEFFREY GRAY        2982 KING JAMES DR                                                                        BEAVERCREEK        OH     45432‐2483
JEFFREY GRAY        4449 NE 83RD ST                                                                           KANSAS CITY        MO     64119‐4548
JEFFREY GRAY        5179 RAYMOND AVE                                                                          BURTON             MI     48509‐1933
JEFFREY GRAY        APT 2B                        1100 15TH STREET                                            SPARKS             NV     89431‐3637
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Name                 Address1                          Address2                        Address3   Address4               City            State   Zip
JEFFREY GRAY         1765 OPPIO ST                                                                                       SPARKS           NV     89431‐2953
JEFFREY GREEN        1111 RIDGEWAY DR                                                                                    ROCHESTER        MI     48307‐1772
JEFFREY GREEN        405 W HODGE AVE                                                                                     LANSING          MI     48910‐2952
JEFFREY GREEN        580 S ELBA RD                                                                                       LAPEER           MI     48446‐2775
JEFFREY GREEN
JEFFREY GREENE       35624 WOODSIDE DR                                                                                   RICHMOND        MI      48062‐5632
JEFFREY GREGO        6652 DOYON DR N                                                                                     WATERFORD       MI      48327‐3804
JEFFREY GRESS        2964 WOODSLEE DR                                                                                    ROYAL OAK       MI      48073‐2935
JEFFREY GRIFFIN      650 ORCHARD CT                                                                                      PORTLAND        MI      48875‐1847
JEFFREY GROESSER     3374 S ELMS RD                                                                                      SWARTZ CREEK    MI      48473‐7929
JEFFREY GROH         5550 N MACKINAW RD                                                                                  PINCONNING      MI      48650‐8496
JEFFREY GROOM        33433 RICE LAKE RD                                                                                  LAKE LINDEN     MI      49945‐9638
JEFFREY GUADAGNI     21062 VESPER DR                                                                                     MACOMB          MI      48044‐1368
JEFFREY GUCK         38 GREGORY ST                                                                                       LAKE LINDEN     MI      49945‐1236
JEFFREY GUERNSEY     767 PEPPERMILL CIR                                                                                  LAPEER          MI      48446‐2677
JEFFREY GUFFEY       7142 S ETNA ROAD 35                                                                                 LA FONTAINE     IN      46940
JEFFREY GUNTHER      4523 TOM LUNN RD                                                                                    SPRING HILL     TN      37174‐5103
JEFFREY GUTHRIE      1312 SANLOR AVE                                                                                     WEST MILTON     OH      45383‐1250
JEFFREY GUTIERREZ    1217 NASSAU DR                                                                                      MIAMISBURG      OH      45342‐3243
JEFFREY GUZDA        18 CONTESSA CT                                                                                      SPENCERPORT     NY      14559‐9782
JEFFREY H ALLEN      RT 3 BOX 242 SHINKEL CHAPEL                                                                         HARTFORD        KY      42347‐9803
JEFFREY H BRUCE      200 E MOLLOY RD                                                                                     SYRACUSE        NY      13211‐1649
JEFFREY H GROVES     1060 GRANDMESA                                                                                      NEW LENOX       IL      60451
JEFFREY H IKEJIRI    SEDGEWICK DETERT MORAN & ARNOLD   801 SOUTH FIGUEROA ST 19TH FL                                     LOS ANGELES     CA      90017
                     LLP
JEFFREY H PETERS     14265 TAYLOR RD                                                                                     MILLINGTON      MI      48746‐9202
JEFFREY H WHITACRE   758 HYDE SHAFFER RD                                                                                 BRISTOLVILLE    OH      44402‐9797
JEFFREY H WINDER
JEFFREY HAAG         2974 BOBCAT TRL NW                                                                                  PRIOR LAKE      MN      55372‐4502
JEFFREY HAAS         11659 NORVELL LAKE RD                                                                               BROOKLYN        MI      49230‐9529
JEFFREY HACKER       80 PARKER DR                                                                                        SPRINGBORO      OH      45066‐1334
JEFFREY HAGEN        3280 S ACREDALE CT                                                                                  NEW BERLIN      WI      53151‐4363
JEFFREY HAGMAN       385 E WARDLOW RD                                                                                    HIGHLAND        MI      48356‐2534
JEFFREY HAINES       1316 MANOR DR                                                                                       JANESVILLE      WI      53548‐1417
JEFFREY HALADIK      5576 BIRCH GROVE LN                                                                                 CLARKSTON       MI      48348‐2185
JEFFREY HALE         2818 BUICK AVE                                                                                      WATERFORD       MI      48328‐2602
JEFFREY HALE         647 PLAYERS CROSSING WAY                                                                            BOWLING GREEN   KY      42104‐5534
JEFFREY HALE         5895 CAPO ISLAND RD APT O                                                                           ST AUGUSTINE    FL      32095‐9641
JEFFREY HALL         1116 HIGH ST                                                                                        WEST NEWTON     PA      15089‐1416
JEFFREY HALL         8674 SHANE LN                                                                                       KEITHVILLE      LA      71047‐7600
JEFFREY HALL         4010 11 MILE RD NE                                                                                  ROCKFORD        MI      49341‐8066
JEFFREY HALL         497 LINWOOD AVENUE                                                                                  BUFFALO         NY      14209‐1403
JEFFREY HALL         3777 S 1000 E                                                                                       KIRKLIN         IN      46050
JEFFREY HALL         8060 LEMON RD                                                                                       BANCROFT        MI      48414‐9755
JEFFREY HAMAN        27610 EVELYN AVE                                                                                    WARREN          MI      48093‐2863
JEFFREY HAMBERG      3894 OLD CREEK RD                                                                                   TROY            MI      48084‐1661
JEFFREY HAMLYN       5760 DILLON RD                                                                                      HIGH RIDGE      MO      63049‐1749
JEFFREY HANEY        18730 ROAD 24                                                                                       GROVER HILL     OH      45849‐9505
JEFFREY HANNAH       1301 ARBORVIEW BLVD                                                                                 ANN ARBOR       MI      48103‐3715
JEFFREY HANSON       3729 SKYVIEW DR                                                                                     JANESVILLE      WI      53546‐2024
JEFFREY HANSON       2904 N WASHINGTON ST                                                                                JANESVILLE      WI      53548‐9075
JEFFREY HANSON       4291 PONDVIEW DR                                                                                    WHITE LAKE      MI      48383‐1273
JEFFREY HARBACH      13868 SHADY KNOLL LN                                                                                CHINO HILLS     CA      91709‐1493
JEFFREY HARBOL       1230 STEWART RD                                                                                     SALEM           OH      44460‐4166
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Name                 Address1                          Address2          Address3         Address4               City               State   Zip
JEFFREY HARCOURT     4222 OAKLAND RIDGE DR                                                                       ORION               MI     48359‐1751
JEFFREY HARDY        2909 MERE DR                                                                                COLUMBIA            TN     38401‐5145
JEFFREY HARLESS      5395 WHISPERING OAKS LN                                                                     FORT WORTH          TX     76140‐9521
JEFFREY HARP         43465 BENNINGTON DR                                                                         NOVI                MI     48375‐4009
JEFFREY HARPER       524 LAWNDALE DR                                                                             BRYAN               OH     43506‐2450
JEFFREY HARPER       717 MUIRFIELD CIR                                                                           BOWLING GREEN       KY     42104‐5548
JEFFREY HARRIES      45457 INDIAN CREEK DR                                                                       CANTON              MI     48187‐5265
JEFFREY HARRINGTON   1127 BIRCHWOOD DR                                                                           FLUSHING            MI     48433‐1487
JEFFREY HARRIS       2113 W 600 S                                                                                ANDERSON            IN     46013‐9740
JEFFREY HARRIS       16867 WINSTON ST                                                                            DETROIT             MI     48219‐3612
JEFFREY HARRIS       324 ARNOLD AVE                                                                              PONTIAC             MI     48341‐1060
JEFFREY HARRIS       9154 WOLFE RD                                                                               MORENCI             MI     49256‐9536
JEFFREY HARRISON     813 HEMLOCK DR                                                                              DAVISON             MI     48423‐1927
JEFFREY HARRISON     111 E STEWART AVE                                                                           FLINT               MI     48505‐3417
JEFFREY HARRY        9521 HIGHLAND DR                                                                            PERRINTON           MI     48871‐9670
JEFFREY HARTLEY      50654 DARTMOOR DR                                                                           SHELBY TOWNSHIP     MI     48317‐1108
JEFFREY HARTSUFF     343 E HIGH ST                                                                               OVID                MI     48866‐9691
JEFFREY HASLEM       45762 PRIMROSE CT                                                                           PLYMOUTH            MI     48170‐3576
JEFFREY HATCHER      219 BRANDED CT                                                                              KOKOMO              IN     46901‐4036
JEFFREY HATTON       4800 BETHESDA RD                                                                            THOMPSONS           TN     37179‐9226
                                                                                                                 STATION
JEFFREY HAUBERT      524 MCINTYRE LN                                                                             MAUMEE             OH      43537‐2327
JEFFREY HAUSER       66 MELANIE LN                                                                               TROY               MI      48098‐1707
JEFFREY HAWK         7970 W NIXON RD                                                                             YORKTOWN           IN      47396‐9003
JEFFREY HAWKINS      2208 W BARCELONA DR                                                                         MUNCIE             IN      47304‐1435
JEFFREY HAWTHORN     4512 SANDRA LEE LN                                                                          MIDDLETOWN         OH      45042‐1650
JEFFREY HAYNES       851 W DEXTER TRL                                                                            MASON              MI      48854‐9615
JEFFREY HAYNES       8651 JAFFA COURT EAST DR APT 35                                                             INDIANAPOLIS       IN      46260‐5331
JEFFREY HEAD         220 PLEASANT DR                                                                             COLUMBIA           TN      38401‐4932
JEFFREY HEADLEY      735 FIELDVIEW DR                                                                            GRAND LEDGE        MI      48837‐9193
JEFFREY HEATH        1540 CROCKETT CT                                                                            XENIA              OH      45385‐4258
JEFFREY HEATH        3872 LONG MEADOW                                                                            ORION TWP          MI      48359
JEFFREY HEATH        333 S MURRAY HILL RD                                                                        COLUMBUS           OH      43228‐1947
JEFFREY HEATON       10325 GLYNN                                                                                 WHITE LAKE         MI      48386‐2207
JEFFREY HEHMEYER     23171 NAGEL RD                                                                              DEFIANCE           OH      43512‐9633
JEFFREY HEICHEL      274 CANDACE CT                                                                              TROY               MI      48098‐7100
JEFFREY HEIDEN       3815 W TOWNSEND RD                                                                          SAINT JOHNS        MI      48879‐9595
JEFFREY HELFRICH     18852 NEWBRIDGE DR                                                                          MACOMB             MI      48044‐1796
JEFFREY HELM         28270 HERNDONWOOD DR                                                                        FARMINGTON HILLS   MI      48334‐5223

JEFFREY HELMS        10698 S WISNER RD                                                                           BANNISTER          MI      48807‐9758
JEFFREY HEMINGWAY    7114 MYERS DR                                                                               DAVISON            MI      48423‐2375
JEFFREY HENDERSHOT   7354 OAKSTONE DR                                                                            CLARKSTON          MI      48348‐4761
JEFFREY HENDERSON    5990 ROSEWOOD PKWY                                                                          WHITE LAKE         MI      48383‐2788
JEFFREY HENGESH      PO BOX 2551                                                                                 YUMA               AZ      85367‐1323
JEFFREY HENNING      1550 S MARION AVE                                                                           JANESVILLE         WI      53546‐5423
JEFFREY HENNING      4708 FAR HILLS AVE                                                                          KETTERING          OH      45429‐2302
JEFFREY HENRY        6213 W GILFORD RD                                                                           FAIRGROVE          MI      48733‐9524
JEFFREY HENRY        402 HELKE RD                                                                                VANDALIA           OH      45377‐1502
JEFFREY HENSON       1086 MARYLAND ST                                                                            GROSSE POINTE      MI      48230‐1347
                                                                                                                 PARK
JEFFREY HERMAN       7313 TONNELLE AVE                                                                           SHELBY TOWNSHIP    MI      48317‐2384
JEFFREY HEWIT        3430 JERUSALEM RD                                                                           VERMILION          OH      44089‐2644
JEFFREY HICKMAN      2223 ROLLING ROCK DR                                                                        BRIGHTON           MI      48114‐7346
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Name                  Address1                        Address2               Address3      Address4               City               State   Zip
JEFFREY HICKMOTT      707 ROLLING ACRES DR                                                                        ORTONVILLE          MI     48462‐9152
JEFFREY HIDECKER      10 COOPER LN                                                                                CONWAY              AR     72034‐7935
JEFFREY HIGEL         4690 N SMITH RD                                                                             DIMONDALE           MI     48821‐8714
JEFFREY HIGGINS       6458 OLYMPUS DR                                                                             CLARKSTON           MI     48346‐3367
JEFFREY HILL          6378 SANCTUARY CT                                                                           GRAND BLANC         MI     48439
JEFFREY HILL          PO BOX 343                                                                                  ELKMONT             AL     35620‐0343
JEFFREY HILL          474 KINGMAN RD                                                                              MASON               MI     48854‐9590
JEFFREY HILL          710 N MINNESOTA AVE                                                                         ALEXANDRIA          IN     46001‐1323
JEFFREY HIME          4897 VINES RD                                                                               HOWELL              MI     48843‐9513
JEFFREY HINKEL        2090 MORAN AVE                                                                              LINCOLN PARK        MI     48146‐3736
JEFFREY HINKLE        15778 DREAM CATCHER                                                                         PINCKNEY            MI     48169‐9638
JEFFREY HIPKINS       514 DELL AVE                                                                                FLINT               MI     48507‐2744
JEFFREY HISCOCK       2443 LOST CREEK DR                                                                          FLUSHING            MI     48433‐9436
JEFFREY HIXSON
JEFFREY HOBSON        907 LINDY CT                                                                                DAYTON             OH      45415‐2130
JEFFREY HODDER        4798 ZELT CV                                                                                NEW HAVEN          IN      46774‐3143
JEFFREY HODSON        115 WEBBER DR                                                                               ROCHESTER          NY      14626‐4034
JEFFREY HODSON        6362 VASSAR RD                                                                              GRAND BLANC        MI      48439‐9763
JEFFREY HOELZER       3529 JEANETTE DR                                                                            SANDUSKY           OH      44870‐6091
JEFFREY HOFFMAN       5237 SCHALK RD # 1                                                                          LINEBORO           MD      21102
JEFFREY HOFFMAN       1659 WOODGATE DR                                                                            TROY               MI      48083‐5551
JEFFREY HOLLAND       635 NEWBURG RD                                                                              ALBION             MI      49224‐9208
JEFFREY HOLMES        2274 WARNER RD                                                                              LANSDALE           PA      19446‐5853
JEFFREY HOLTE         APT 1218                        2803 TURNBERRY DRIVE                                        ARLINGTON          TX      76006‐2350
JEFFREY HOLUB         4301 S OAKLEY RD                                                                            JANESVILLE         WI      53546‐8927
JEFFREY HOLY          767 FIFTH AVE 14TH FLR                                                                      NEW YORK           NY      10153
JEFFREY HOLZER        2081 ELKRIDGE CIR                                                                           HIGHLAND           MI      48356‐2483
JEFFREY HOMAN         6455 FAUST DR                                                                               SHREVEPORT         LA      71129‐4309
JEFFREY HOOD          4012 CLOVERCROFT RD                                                                         FRANKLIN           TN      37067‐5801
JEFFREY HOOPER        1422 HIGHVIEW DR APT H308                                                                   COLUMBIA           TN      38401‐9402
JEFFREY HOOPS         13285 GOLDEN CIR                                                                            FENTON             MI      48430‐1011
JEFFREY HOORN         55400 AUTUMN RIDGE DR                                                                       NORTHVILLE         MI      48167‐9360
JEFFREY HOPCIA        99 MCINTOSH DR                                                                              LOCKPORT           NY      14094‐5129
JEFFREY HOPPER        45562 MONTMORENCY DR                                                                        MACOMB             MI      48044‐6014
JEFFREY HOPPES        498 ODD FELLOWS HALL RD                                                                     PULASKI            TN      38478‐8205
JEFFREY HOPSON        7621 SHENANDOAH AVE                                                                         ALLEN PARK         MI      48101‐2480
JEFFREY HOSKINS       4295 CLINTONVILLE RD                                                                        WATERFORD          MI      48329‐2305
JEFFREY HOUGHTON      6097 BELL HWY                                                                               EATON RAPIDS       MI      48827‐9007
JEFFREY HOURTIENNE    254 CHESTNUT RIDGE CIR                                                                      HENDERSON          NV      89012‐2128
JEFFREY HOVIS         494 MCINTOSH                                                                                ALMONT             MI      48003‐8737
JEFFREY HOWARD        8120 SUZANNE DR                                                                             BRENTWOOD          TN      37027‐8012
JEFFREY HOWARD        9118 N 306 W                                                                                HUNTINGTON         IN      46750‐9713
JEFFREY HOWE          6340 15 MILE RD NE                                                                          CEDAR SPRINGS      MI      49319‐8420
JEFFREY HOWELL        39 CHESTNUT ST                                                                              AVENEL             NJ      07001‐2141
JEFFREY HOYT          108 GOSLING DR                                                                              FRANKLIN           TN      37064‐5048
JEFFREY HOZESKA       4228 CLEMATIS DR                                                                            SAGINAW            MI      48603‐1102
JEFFREY HUBBARD       4040 CAMPBELLSVILLE PIKE                                                                    COLUMBIA           TN      38401
JEFFREY HUBER         2204 HIGHLAND AVE                                                                           JANESVILLE         WI      53548‐2368
JEFFREY HUDKINS       2037 N LONG LAKE RD                                                                         FENTON             MI      48430‐8809
JEFFREY HUEY JANICE   C/O EDWARD O MOODY P A          801 W 4TH ST                                                LITTLE ROCK        AR      72201
JEFFREY HUFFMAN       52190 OSAGE DR                                                                              AMHERST            OH      44001‐9462
JEFFREY HUFFMAN       2208 AVON ST                                                                                SAGINAW            MI      48602‐3812
JEFFREY HUGEL         2837 MASEFIELD DR                                                                           BLOOMFIELD HILLS   MI      48304‐1949
JEFFREY HUGHES        3306 INDIANWOOD RD                                                                          LAKE ORION         MI      48362‐1035
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Name                     Address1                     Address2            Address3         Address4               City            State Zip
JEFFREY HUGHES           1104 AUDUBON RD                                                                          GROSSE POINTE    MI 48230‐1439
                                                                                                                  PARK
JEFFREY HULBERT          4828 SKYLINE DR                                                                          PERRINTON       MI   48871‐9758
JEFFREY HULL             5157 W 90TH ST                                                                           OAK LAWN        IL   60453‐1309
JEFFREY HULLIBARGER      1841 BRAGDEN DR                                                                          TEMPERANCE      MI   48182‐1296
JEFFREY HUMBLE           45 CAMBRIDGE CT                                                                          ANDERSON        IN   46012‐3905
JEFFREY HUMMEL           1201 W ESTATE DR                                                                         BLOOMINGTON     IN   47403‐9046
JEFFREY HUNSICKER        419 S LAUREL ST                                                                          ROYAL OAK       MI   48067‐2422
JEFFREY HUNT             1527 ROSELAND AVE                                                                        KALAMAZOO       MI   49001‐4390
JEFFREY HUNTER           2876 SIMPSON TRL                                                                         HARRISON        MI   48625‐9000
JEFFREY HUNTER           1412 COUNTY ROUTE 49                                                                     WINTHROP        NY   13697‐3150
JEFFREY HUNTER           5190 TIMBER RIDGE TRL                                                                    CLARKSTON       MI   48346‐3853
JEFFREY HURLBERT         2002 HUNTCLIFFE CT                                                                       ALLEN           TX   75013
JEFFREY HURT             2424 SE 12TH ST                                                                          OKLAHOMA CITY   OK   73160‐8415
JEFFREY HUTCHINS         PO BOX 462                                                                               BRUSHTON        NY   12916‐0462
JEFFREY HUTCHISON        4120 MEADOWBROOK DR                                                                      FREELAND        MI   48623‐8840
JEFFREY HUTMACHER        9155 JUDD RD                                                                             FOWLERVILLE     MI   48836‐8205
JEFFREY HYLTON           4672 JAMM RD                                                                             ORION           MI   48359‐2215
JEFFREY HYNES            8147 MORRISH RD                                                                          SWARTZ CREEK    MI   48473‐9162
JEFFREY I THOMPSON       747 E STATE ST APT 2C                                                                    MILWAUKEE       WI   53202
JEFFREY IHUS             302 JORDAN PL                                                                            ORFORDVILLE     WI   53576‐8601
JEFFREY IID              3530 HERD RD                                                                             METAMORA        MI   48455‐9640
JEFFREY INMAN            307 LAKEWAY TER                                                                          SPRING HILL     TN   37174‐7552
JEFFREY IRGANG           1926 NEW ROCHELLE DR                                                                     LAPEER          MI   48446‐9722
JEFFREY IRISH            1484 WEST HIBBARD ROAD                                                                   OWOSSO          MI   48867‐9215
JEFFREY IRWIN            9815 NORTH KENTUCKY AVENUE                                                               KANSAS CITY     MO   64157‐7641
JEFFREY ISEMAN           28109 DIESING DR                                                                         MADISON HTS     MI   48071‐4532
JEFFREY ISON             789 N KING RD                                                                            MARION          IN   46952‐8649
JEFFREY J BAYMON         522 WALLIS AVE                                                                           FARRELL         PA   16121‐2067
JEFFREY J CADLE          2936 BASELINE RD                                                                         GRAND ISLAND    NY   14072‐1386
JEFFREY J CARROLL        610 REYNOLDS DR                                                                          WATERFORD       MI   48328‐2034
JEFFREY J CHAILLOU SR    1526 VESPER AVE                                                                          BALTIMORE       MD   21222‐1822
JEFFREY J CIANCHETTI     2119 SAWYER DR                                                                           NIAGARA FALLS   NY   14304‐2975
JEFFREY J CILIBERTO      8842 HASELEY RD                                                                          GASPORT         NY   14067‐9362
JEFFREY J CROWE          5537 DOROTHY CT                                                                          CARLISLE        OH   45005
JEFFREY J DESIMONE       812 BELEY AVE                                                                            SYRACUSE        NY   13211‐1306
JEFFREY J EVANS          1098 CHARLES AVE                                                                         FLINT           MI   48505‐1610
JEFFREY J FLECKENSTEIN   2942 PLEASANT AVE                                                                        HAMBURG         NY   14075‐3624
JEFFREY J GAUTHIER       1652 WATERVLIET AVE                                                                      DAYTON          OH   42420
JEFFREY J HAMPTON        883 WINDSONG WAY                                                                         DE PERE         WI   54115
JEFFREY J HIERLMEIER     7203 W VIEW DR                                                                           WIND LAKE       WI   53185
JEFFREY J HOLMAN         19621 MARX                                                                               DETROIT         MI   48203‐1339
JEFFREY J HUTCHINS       PO BOX 462                                                                               BRUSHTON        NY   12916‐0462
JEFFREY J LEONARD        43 DUPONT AVE                                                                            TONAWANDA       NY   14150‐7701
JEFFREY J LOVE           200 MATTY AVE                                                                            SYRACUSE        NY   13211‐1633
JEFFREY J MC ALLISTER    C/O WEITZ & LUXENBERG PC     700 BROADWAY                                                NEW YORK CITY   NY   10003
JEFFREY J MOORE          1413 OTTEN ST                                                                            CLEARWATER      FL   33755
JEFFREY J NEWMAN         744 S STINE RD                                                                           CHARLOTTE       MI   48813‐9563
JEFFREY J NOVAL          1821 S 88 RD                                                                             GREENSBORO      PA   15338
JEFFREY J RAMSEY         318 N CEDAR AVE                                                                          NILES           OH   44446‐2542
JEFFREY J SCOTT          5155 NORTH PARK AVE EXT                                                                  BRISTOLVILLE    OH   44402
JEFFREY J VISCOUNT       400 GEDDES ST                                                                            WILMINGTON      DE   19805‐3717
JEFFREY J WALKER         529 SEWARD STREET                                                                        ROCHESTER       NY   14608‐2814
JEFFREY J WALTER         5023 SANDALWOOD DR                                                                       GRAND BLANC     MI   48439‐4261
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Name                 Address1                         Address2                    Address3   Address4               City              State   Zip
JEFFREY J YAKLIN     2424 BULLOCK ROAD                                                                              BAY CITY           MI     48708
JEFFREY J. NEWTON    COUNTY ATTORNEY                  115 S ANDREWS AVE STE 423                                     FORT LAUDERDALE    FL     33301‐1826
JEFFREY J. NEWTON    COUNTY ATTORNEY                  116 SOUTH ANDREWS AVENUE,                                     FORT LAUDERDALE    FL     33302
                                                      SUITE 423
JEFFREY JACKSON      3250 HEMLOCK HL                  APT 6                                                         MACEDON            NY     14502‐8607
JEFFREY JACKSON      220 SVYDAM STREET                                                                              NEW BRUNSWICK      NJ     08901‐2402
JEFFREY JACKSON      1214 17TH AVE                                                                                  SOUTH MILWAUKEE    WI     53172‐1403

JEFFREY JACKSON      5002 GRAVE RUN RD                                                                              MILLERS           MD      21102‐3012
JEFFREY JACKSON      160 REBA AVE                                                                                   MANSFIELD         OH      44907‐1340
JEFFREY JACOBS       3820 BEEBE RD                                                                                  NEWFANE           NY      14108‐9661
JEFFREY JACOBS       6928 ZION CROSSING CT                                                                          COLUMBIA          TN      38401‐6006
JEFFREY JACOBS       6514 VALLEYBROOK DR                                                                            LAMBERTVILLE      MI      48144‐9419
JEFFREY JAMES        4850 KALAMAZOO AVE SE                                                                          KENTWOOD          MI      49508‐4876
JEFFREY JAMES        676 ECKSTEIN RD                                                                                CRESTLINE         OH      44827‐9690
JEFFREY JARVIS       70605 CAMPGROUND RD                                                                            BRUCE TWP         MI      48065‐4332
JEFFREY JATCZAK      1244 HARDING RD                                                                                ESSEXVILLE        MI      48732‐1713
JEFFREY JAWORSKI     21178 EQUESTRIAN TRL                                                                           NORTHVILLE        MI      48167‐0400
JEFFREY JENKINS      4055 CANEY CREEK LN                                                                            CHAPEL HILL       TN      37034‐2076
JEFFREY JENKINS      2112 NE 48TH ST                                                                                KANSAS CITY       MO      64118‐6109
JEFFREY JENNINGS     5880 TURNBERRY DR                                                                              COMMERCE          MI      48382‐4802
                                                                                                                    TOWNSHIP
JEFFREY JENNINGS     2651 ARMSTRONG DR                                                                              LAKE ORION        MI      48360‐1703
JEFFREY JENSEN       9716 SINCLAIR ST                                                                               FORT WORTH        TX      76244‐5888
JEFFREY JEROME       11593 HARTLAND RD                                                                              FENTON            MI      48430‐2566
JEFFREY JERVIS       1081 FARNSWORTH RD                                                                             WATERVILLE        OH      43566‐1034
JEFFREY JOHN         19769 GALLAHAD DR                                                                              MACOMB            MI      48044‐1756
JEFFREY JOHN         4427 N CASTLEWOOD CT                                                                           AUBURN HILLS      MI      48326‐1853
JEFFREY JOHNSON      7041 W BUTLER RD                                                                               JANESVILLE        WI      53548‐8513
JEFFREY JOHNSON      2217 CLOVER LN                                                                                 JANESVILLE        WI      53545‐0621
JEFFREY JOHNSON      1523 GARFIELD RD                                                                               AUBURN            MI      48611‐9753
JEFFREY JOHNSON      12405 LINCOLN RD                                                                               BURT              MI      48417‐9746
JEFFREY JOHNSON      31586 MAYFAIR LN                                                                               BEVERLY HILLS     MI      48025‐4032
JEFFREY JOHNSON      870 LOGGERS CIR                                                                                ROCHESTER         MI      48307‐6025
JEFFREY JOHNSON      4534 MOUNTAIN VIEW TRL                                                                         CLARKSTON         MI      48348‐2345
JEFFREY JOHNSON      7634 WOODSIDE PL                                                                               WATERFORD         MI      48327‐3688
JEFFREY JOHNSON      243 BA WOOD LN                                                                                 JANESVILLE        WI      53545‐0705
JEFFREY JOHNSTON     5398 MEADOWBROOK DR                                                                            BAY CITY          MI      48706‐3028
JEFFREY JOLIN        6377 E CARPENTER RD                                                                            FLINT             MI      48506‐1260
JEFFREY JOLLY        807 E BROADWAY                                                                                 BEL AIR           MD      21014‐3339
JEFFREY JONES        2885 KINGS CORNERS RD E                                                                        LEXINGTON         OH      44904‐9536
JEFFREY JONES        1008 HIGHLAND AVE                                                                              LAFAYETTE         IN      47905‐1440
JEFFREY JONES        1107 SUSSEX LN                                                                                 FLINT             MI      48532‐2657
JEFFREY JONES        721 CLINTON ST                                                                                 FLINT             MI      48507‐2540
JEFFREY JONES        2013 E RIDGE RD                                                                                BELOIT            WI      53511‐3914
JEFFREY JONES        1812 28TH AVE                                                                                  MERIDIAN          MS      39301‐3017
JEFFREY JONES        10505 W HOWE RD                                                                                EAGLE             MI      48822‐9525
JEFFREY JONES        15617 CLEVELAND AVE                                                                            ALLEN PARK        MI      48101‐2010
JEFFREY JOUPPI       9035 CEDAR ISLAND RD                                                                           WHITE LAKE        MI      48386‐4110
JEFFREY JOYNER       6454 KINGS POINTE RD                                                                           GRAND BLANC       MI      48439‐8639
JEFFREY JOYNER       7832 RIDGEVIEW LN                                                                              LOGANSPORT        IN      46947‐6632
JEFFREY JR, PAUL D   6197 DELHI ST                                                                                  CLARKSTON         MI      48348‐4725
JEFFREY JURCZYK      201 SAWMILL RUN DR                                                                             CANFIELD          OH      44406‐8622
JEFFREY JUREK        3067 WYATT RD                                                                                  STANDISH          MI      48658‐9129
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Name                           Address1                       Address2                     Address3   Address4               City               State   Zip
JEFFREY K ALLEN                PO BOX 330971                                                                                 FORT WORTH          TX     76163‐0971
JEFFREY K BARNES               414 BARNES RD                                                                                 LENA                MS     39094‐9025
JEFFREY K BROWN LIVING TRUST   C/O JEFFREY K BROWN            4761 AUDUBON DR                                                SAGINAW             MI     48638
JEFFREY K CLARK                7777 S COUNTY ROAD 25A                                                                        TIPP CITY           OH     45371‐9161
JEFFREY K CORLEY               107 SHANNON ST                                                                                DAYTON              OH     45402
JEFFREY K COX                  5373 DUSHORE DR                                                                               DAYTON              OH     45427‐2731
JEFFREY K GABBARD              3064 PINNACLE PARK DR                                                                         DAYTON              OH     45418‐2961
JEFFREY K LAMBERT              4380 MOZART AVE                                                                               DAYTON              OH     45424
JEFFREY K NOEL                 100 HIDDEN VALLEY DR LOT 1                                                                    OLD MONROE          MO     63369‐2336
JEFFREY K SCHUBERT SR          4365 CREEK RD                                                                                 LEWISTON            NY     14092‐1122
JEFFREY K YOUNG                5306 WATERVISTA DR                                                                            ORLANDO             FL     32821‐5543
JEFFREY KAHANE                 RONNIE KAHANE                  3497 MARGIE STREET                                             OCEANSIDE           NY     11572‐3512
JEFFREY KAISER                 1672 PETTIBONE LAKE RD                                                                        HIGHLAND            MI     48356‐3127
JEFFREY KAKUSKE                3605 N STATE ROAD 213                                                                         EVANSVILLE          WI     53536‐8652
JEFFREY KANTNER                335 FISK AVE                                                                                  BRIELLE             NJ     08730‐2009
JEFFREY KANUCH                 44689 KIPTON NICKLE PLATE                                                                     OBERLIN             OH     44074‐9520
JEFFREY KASPER                 52 EDITH AVE                                                                                  EDISON              NJ     08817‐2817
JEFFREY KEILEN                 9774 E GOODWIN RD                                                                             PEWAMO              MI     48873‐9662
JEFFREY KELLOGG                7826 E ISLAND RD RT 3                                                                         ELSIE               MI     48831
JEFFREY KELLY                  PO BOX 96                                                                                     WHITTAKER           MI     48190‐0096
JEFFREY KEMPPAINEN             15001 GREAT LAKES BLVD                                                                        HOLLY               MI     48442‐8844
JEFFREY KENNEDY                36624 IROQUOIS DR                                                                             STERLING HEIGHTS    MI     48310‐4552
JEFFREY KENYON                 4803 E M43 HWY                                                                                FREEPORT            MI     49325
JEFFREY KERL                   2401 BROWNING DR                                                                              JANESVILLE          WI     53546‐1141
JEFFREY KERN                   4278 N FRASER RD                                                                              PINCONNING          MI     48650‐8434
JEFFREY KERN                   1936 WATSON CIR                                                                               ROCHESTER           MI     48306‐4806
JEFFREY KERSTEN                2512 W DEER PATH TRL                                                                          JANESVILLE          WI     53545‐8986
JEFFREY KERSTEN                1214 KINLOCK DR                                                                               TROY                MI     48098‐2027
JEFFREY KERSTING               5444 VILLAGE WAY                                                                              NASHVILLE           TN     37211‐6238
JEFFREY KETCHUM                16209 ECHO VALLEY RD #1                                                                       WELLSVILLE          OH     43968
JEFFREY KETTMAN                1317 OAKMONT DR                                                                               OXFORD              MI     48371‐6091
JEFFREY KEVWITCH               28285 W CHICAGO ST                                                                            LIVONIA             MI     48150‐3243
JEFFREY KIECKER                20410 LOUISE ST                                                                               LIVONIA             MI     48152‐1827
JEFFREY KILBEY                 632 NUTWOOD ST                                                                                BOWLING GREEN       KY     42103‐1620
JEFFREY KILDEA                 5024 W GRAND RIVER RD                                                                         OWOSSO              MI     48867‐9257
JEFFREY KILE
JEFFREY KILMER                 4163 NANCY LN                                                                                 WHITE LAKE         MI      48383‐1696
JEFFREY KIMMERLY               3046 PEBBLE CREEK LN                                                                          LAMBERTVILLE       MI      48144‐6303
JEFFREY KIMPAN                 PO BOX 9022                                                                                   WARREN             MI      48090‐9022
JEFFREY KING                   7049 W MOUNT MORRIS RD                                                                        FLUSHING           MI      48433‐8821
JEFFREY KING                   4043 WARNER WAY                                                                               OREGON             OH      43616‐3460
JEFFREY KING                   BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS     OH      44236
JEFFREY KINNEY                 337 S SHELDON ST                                                                              CHARLOTTE          MI      48813‐1841
JEFFREY KINSEY                 PO BOX 132                                                                                    NEW LOTHROP        MI      48460‐0132
JEFFREY KIRK                   228 FORRESTER RD                                                                              SLIPPERY ROCK      PA      16057‐2518
JEFFREY KIRKEY                 30906 DOVER ST                                                                                GARDEN CITY        MI      48135‐2002
JEFFREY KIRKLAND               82 SPOKANE DR                                                                                 PONTIAC            MI      48341‐1161
JEFFREY KIRKPATRICK            27W741 WASHINGTON AVE                                                                         WINFIELD           IL      60190‐1441
JEFFREY KIRKWOOD               15041 N COUNTY ROAD 400 E                                                                     EATON              IN      47338‐8891
JEFFREY KISH                   382 DURST DR NW                                                                               WARREN             OH      44483‐1106
JEFFREY KLASSA                 22826 LAW ST                                                                                  DEARBORN           MI      48124‐1009
JEFFREY KLAUS                  11740 FALCON DR                                                                               STERLING HTS       MI      48313‐5138
JEFFREY KLEIN                  836 HAWK DR                                                                                   WOLVERINE LAKE     MI      48390‐3011
JEFFREY KLEMP                  6616 CORNWALLIS DR.            APT. 1B                                                        FORT WAYNE         IN      46804‐8349
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Name                    Address1                        Address2                     Address3   Address4               City             State   Zip
JEFFREY KLIEN           11135 BOYCE DR                                                                                 CHELSEA           MI     48118‐9045
JEFFREY KLINGERMAN      16296 PRAIRIE BAPTIST RD                                                                       NOBLESVILLE       IN     46060‐9350
JEFFREY KLOMPARENS      3833 TIOGA DR SW                                                                               WYOMING           MI     49519‐3130
JEFFREY KLOOSTERMAN     1966 ODESSA AVE                                                                                MURFREESBORO      TN     37128‐8226
JEFFREY KNAGGS          6017 BROOKESTONE VILLAGE LN                                                                    SYLVANIA          OH     43560‐9200
JEFFREY KNICKERBOCKER   946 S WILDER RD                                                                                LAPEER            MI     48446‐9481
JEFFREY KNOLL           1868 N SHAYTOWN RD                                                                             VERMONTVILLE      MI     49096‐9541
JEFFREY KNOWLES         9794 DUFF RD                                                                                   HILLSBORO         OH     45133‐8090
JEFFREY KNOX            APT 313                         8855 NORTH CONGRESS AVENUE                                     KANSAS CITY       MO     64153‐1881
JEFFREY KNUDSON         8912 W WHITMORE RD                                                                             EVANSVILLE        WI     53536‐9541
JEFFREY KNUPP           43477 HILLSBORO DR                                                                             CLINTON TWP       MI     48038‐1333
JEFFREY KNUTSON         2138 S OAKHILL AVE                                                                             JANESVILLE        WI     53546‐9048
JEFFREY KOCHAN          16004 MORAN DR                                                                                 LINDEN            MI     48451‐8715
JEFFREY KOLP            912 GLENMOOR DR                                                                                OXFORD            MI     48371‐4881
JEFFREY KONCHAN         154 S FREMONT ST                                                                               ROMEO             MI     48065‐5117
JEFFREY KONCSOL         6110 WILMER ST                                                                                 WESTLAND          MI     48185‐8126
JEFFREY KOOP            5484 VIVIAN                                                                                    WATERFORD         MI     48327‐3102
JEFFREY KOPEC           15537 PARKLANE ST                                                                              LIVONIA           MI     48154‐2356
JEFFREY KORCSMOROS      7224 E MAPLE AVE                                                                               GRAND BLANC       MI     48439‐9762
JEFFREY KORSYN          738 HERITAGE DR                                                                                WEST CHESTER      PA     19382‐8736
JEFFREY KOSCH           204 S RIVER ST                                                                                 CLOVERDALE        OH     45827‐9548
JEFFREY KOSHAREK        5329 N HENKE RD                                                                                MILTON            WI     53563‐8680
JEFFREY KOSOLA          11331 AUBURNDALE ST                                                                            LIVONIA           MI     48150‐2840
JEFFREY KOVACH          1942 OLD FARM TRL                                                                              AUSTINTOWN        OH     44515‐5624
JEFFREY KOWALCYK        10315 E POTTER RD                                                                              DAVISON           MI     48423‐8163
JEFFREY KRAEMER         72643 SORREL DR                                                                                BRUCE TWP         MI     48065‐3933
JEFFREY KRANZ           10810 BAKER RD                                                                                 JEROME            MI     49249‐9513
JEFFREY KRAUS           610 SKYVIEW DR                                                                                 MILTON            WI     53563‐1657
JEFFREY KREMKOW         1490 GAGE RD                                                                                   HOLLY             MI     48442‐8319
JEFFREY KREZA           5694 DORSHIRE DR                                                                               GALENA            OH     43021‐9051
JEFFREY KROLL           9545 BEECH DALY RD                                                                             REDFORD           MI     48239‐2113
JEFFREY KROPP           35310 BOBCEAN RD                                                                               CLINTON TWP       MI     48035‐2309
JEFFREY KRUEGER         108 NEWPORT CIR                                                                                HENDERSONVILLE    TN     37075‐7115
JEFFREY KRZYZANIAK      2658 DARWIN LN                                                                                 SAGINAW           MI     48603‐2703
JEFFREY KUMAH           1213 SUNRISE PORT                                                                              HARDON            VA     20170
JEFFREY KURTZE          10303 ORCHARD LN                                                                               LAKEVIEW          MI     48850‐9142
JEFFREY KUSSER          193 ASHFORD ST                                                                                 BRIGHTON          MI     48114‐5002
JEFFREY KUZARA          13320 LAKE POINT BLVD                                                                          BELLEVILLE        MI     48111‐2286
JEFFREY L ALVEY         928 N 150 W                                                                                    FRANKLIN          IN     46131‐8591
JEFFREY L ANGEL         1236 SUNSET DR.                                                                                ENGLEWOOD         OH     45322
JEFFREY L BAILEY        2696 MIAMI VILLAGE DR.                                                                         MIAMISBURG        OH     45342‐4566
JEFFREY L BARKER        7472 CREEK WATER DRIVE                                                                         CENTERVILLE       OH     45459
JEFFREY L BEAM          2214 MAYFAIR RD                                                                                DAYTON            OH     45405‐3219
JEFFREY L BLACKBURN     THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD      SUITE 44                          CORAL GABLES      FL     33146
JEFFREY L BOGGS         8901 WINTON HILLS CT                                                                           SPRINGBORO        OH     45066‐9620
JEFFREY L BROOKS JR     93 SEWARD ST APT 302                                                                           DETROIT           MI     48202‐4419
JEFFREY L BUONGIORNE    2469 WESTSIDE DRIVE                                                                            NORTH CHILI       NY     14514‐1034
JEFFREY L BURRIS        RR#1 SALEM RD                                                                                  LEWISBURG         OH     45338‐9801
JEFFREY L CARLSON       5244 YOUNGSTOWN KINGSVILLE RD                                                                  CORTLAND          OH     44410‐9718
JEFFREY L CRAGLE        1531 FAIRVIEW AVE                                                                              BERWICK           PA     18603
JEFFREY L CRAMPTON      12249 TUTTLEHILL RD                                                                            MILAN             MI     48160‐9024
JEFFREY L CRIDLIN       2223 WILDING AVE                                                                               DAYTON            OH     45414‐3244
JEFFREY L DENMAN        1314 MARSHA DR                                                                                 MIAMISBURG        OH     45342
JEFFREY L FEDERER       80 COUNTRY MANOR LN APT K                                                                      DAYTON            OH     45458
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Name                   Address1                       Address2            Address3         Address4               City              State   Zip
JEFFREY L FISHER       P O BOX113                                                                                 GIRARD             OH     44420
JEFFREY L FLECK        217 HAZEL ST                                                                               NILES              OH     44446
JEFFREY L GILL         3448 SHELBY ST                                                                             WATERFORD          MI     48328‐1373
JEFFREY L GORNY        47697 GOFF CT                                                                              CANTON             MI     48188‐3305
JEFFREY L GRAY         1100 15TH ST APT 2B                                                                        SPARKS             NV     89431
JEFFREY L HALL         1425 PURSELL AVE                                                                           DAYTON             OH     45420
JEFFREY L HANEY        1813 STEWART AVE.                                                                          YOUNGSTOWN         OH     44505‐3422
JEFFREY L HARRISON     813 HEMLOCK DR                                                                             DAVISON            MI     48423‐1927
JEFFREY L HELKE        1143 S DIXIE DR                                                                            VANDALIA           OH     45377
JEFFREY L HENNING      4708 FAR HILLS AVE                                                                         KETTERING          OH     45429‐2302
JEFFREY L HILLMAN      85 E FAIRMOUNT AVE                                                                         PONTIAC            MI     48340‐2727
JEFFREY L HOBBS        6691 SOUTHERN VISTA DR.                                                                    ENON               OH     45323‐1640
JEFFREY L HOFIUS       4244 WILSON SHARPSVILLE RD                                                                 CORTLAND           OH     44410‐9407
JEFFREY L HURST        222 BLACKWOOD                                                                              DAYTON             OH     45403‐1602
JEFFREY L KELLER       4387 REGENCY RD                                                                            SWARTZ CREEK       MI     48473‐8807
JEFFREY L KILDEA       5024 W GRAND RIVER RD                                                                      OWOSSO             MI     48867‐9257
JEFFREY L LANDERS      12871 S M 52                                                                               PERRY              MI     48872‐8106
JEFFREY L MAYBERRY     7994 PLEASANT PLAIN RD.                                                                    BROOKVILLE         OH     45309‐8216
JEFFREY L MERRITT      5121 HARSHMANVILLE ROAD                                                                    HUBER HEIGHTS      OH     45424‐5905
JEFFREY L METZGER      PO BOX 344                                                                                 GAINESVILLE        NY     14066‐0344
JEFFREY L MOX          245 SOUTH CHURCH STREET                                                                    NEW LEBANON        OH     45345‐1305
JEFFREY L MURPHY       3724 BENFIELD DR.                                                                          KETTERING          OH     45429‐4455
JEFFREY L OWENS        8091 VANTINE RD                                                                            GOODRICH           MI     48438‐9422
JEFFREY L PRIEUR       1139 BRISSETTE BEACH RD                                                                    KAWKAWLIN          MI     48631‐9454
JEFFREY L RICHARDS     365 GATEWOOD DR                                                                            PEARL              MS     39208
JEFFREY L RODEN        4900 OWLS HOLLOW RD                                                                        GADSDEN            AL     35901‐6714
JEFFREY L RYLAND       801 S THOMAN ST                                                                            CRESTLINE          OH     44827‐1857
JEFFREY L SLONAKER     622 RAMBLEWOOD CT                                                                          BROOKVILLE         OH     45309‐1104
JEFFREY L SMYTH        3123 ALEXANDER PLACE #205                                                                  BEAVERCREEK        OH     45431
JEFFREY L STEED        1447 AMBERLEY DR                                                                           DAYTON             OH     45406‐4723
JEFFREY L STYCHNO DC   5500 E MARKET ST                                                                           WARREN             OH     44484‐2214
JEFFREY L TOWNSEND     2245 MERRITT WAY                                                                           ARLINGTON          TX     76018‐3130
JEFFREY L WARDEN       5671 OLIVE TREE DRIVE                                                                      TROTWOOD           OH     45426
JEFFREY L WARGO        9597 NEWTON FALLS RD                                                                       RAVENNA            OH     44266‐9286
JEFFREY L WEST         118 MARCHMONT DR                                                                           FAIRBORN           OH     45324‐4354
JEFFREY L WILLIAMS     9558 LOWER VALLEY                                                                          MEDWAY             OH     45341‐9748
JEFFREY L. SPEARLY     2364 AUTUMNWOOD DRIVE                                                                      STATE COLLEGE      PA     16801‐2460
JEFFREY LA BEAU        52887 BURGESS DR                                                                           CHESTERFIELD       MI     48047‐5941
JEFFREY LA FLEUR       621 E OLIVER ST                                                                            OWOSSO             MI     48867‐2441
JEFFREY LA VALLEY      6959 JONES RD                                                                              NORTH BRANCH       MI     48461‐8791
JEFFREY LACKER         20460 SCHROEDER RD                                                                         BRANT              MI     48614‐8773
JEFFREY LACY           2463 VANCEVILLE RD                                                                         BOSSIER CITY       LA     71111‐6313
JEFFREY LADYMAN        PO BOX 482                                                                                 SPRING HILL        TN     37174‐0482
JEFFREY LAEDER         2508 GRATIOT BLVD                                                                          MARYSVILLE         MI     48040‐1402
JEFFREY LAING          1417 WOODBINE AVE                                                                          LANSING            MI     48910‐2675
JEFFREY LALONDE        35655 DOVER ST                                                                             LIVONIA            MI     48150‐3506
JEFFREY LAMARCHE       2639 PEBBLE BEACH DR                                                                       OAKLAND            MI     48363‐2450
JEFFREY LAMB           6618 OWEN HILL RD                                                                          COLLEGE GROVE      TN     37046‐9121
JEFFREY LAMBERT        16230 W RED ROCK DR                                                                        SURPRISE           AZ     85374‐6370
JEFFREY LANDERS        12871 S M 52                                                                               PERRY              MI     48872‐8106
JEFFREY LANE           5900 BLISS DR                                                                              OXFORD             MI     48371‐2146
JEFFREY LANG           496 WIMPOLE DR                                                                             ROCHESTER HILLS    MI     48309‐2152
JEFFREY LANG           4000 COHOCTAH RD                                                                           LINDEN             MI     48451‐9625
JEFFREY LANG           31609 TECLA DR                                                                             WARREN             MI     48088‐7350
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Name                   Address1                         Address2                     Address3   Address4                City            State   Zip
JEFFREY LANGSWAGER     117 CONSTANCE WAY E                                                                              ROCHESTER        NY     14612‐2764
JEFFREY LANNERT        3653 N HARVEST VIEW DR                                                                           JANESVILLE       WI     53548‐8324
JEFFREY LANTZ          PO BOX 35                                                                                        MORENCI          MI     49256‐0035
JEFFREY LAPHAM         1604 WOODLAND CT                                                                                 FRANKLIN         TN     37064‐6848
JEFFREY LARSEN         6417 S EMERSON RD                                                                                BELOIT           WI     53511‐9476
JEFFREY LASK           34957 CURRIER ST                                                                                 WAYNE            MI     48184‐2394
JEFFREY LATOR          1130 E PARKS RD                                                                                  SAINT JOHNS      MI     48879‐9173
JEFFREY LAYMAN         4586 S BRADLEY RD                                                                                CHARLOTTE        MI     48813‐9516
JEFFREY LEARY          527 W GENESEE ST                                                                                 FRANKENMUTH      MI     48734‐1312
JEFFREY LEDUC          2324 HALL LN                                                                                     WIXOM            MI     48393‐4236
JEFFREY LEE            1422 WALDMAN AVE                                                                                 FLINT            MI     48507‐1551
JEFFREY LEE            8723 FOREST HILLS DR NE                                                                          WARREN           OH     44484‐2043
JEFFREY LEE            5023 W. M‐50                                                                                     TIPTON           MI     49287
JEFFREY LEE            8 BARBARA ST                                                                                     MOUNT CLEMENS    MI     48043‐2402
JEFFREY LEE MCLEAN     THE ISLAND OF BOLGA              8158 BOLGA, NORWAY                      BOLGA 8158 NORWAY
JEFFREY LEE MCLEAN
JEFFREY LEE WHITAKER   C/O WEITZ & LUXENBERG PC         700 BROADWAY                                                    NEW YORK CITY   NY      10003
JEFFREY LEEPER SR      51 RUSSELL AVE                                                                                   NILES           OH      44446‐3723
JEFFREY LEFEVRE        3039 LOVE RD                                                                                     GRAND ISLAND    NY      14072‐2431
JEFFREY LEHNERT        WALDSTR 8                                                                34286 SPANGENBERG
                                                                                                GERMANY
JEFFREY LEMERE         2119 MONTEITH ST                                                                                 FLINT           MI      48504‐4653
JEFFREY LEMLEY         4411 VICKSBURG DR                                                                                SYLVANIA        OH      43560‐3211
JEFFREY LEMON          16243 KNOBHILL DR                                                                                LINDEN          MI      48451‐8787
JEFFREY LEMOS          4675 OLDE OAKS                                                                                   CLARKSTON       MI      48348‐3553
JEFFREY LENTZ          4716 N FITZSIMMONS RD                                                                            JANESVILLE      WI      53548‐8852
JEFFREY LEVINSON       21 WINDSOR DR                                                                                    DALLAS          PA      18612
JEFFREY LICHTY         8901 ALLEN RD                                                                                    CLARKSTON       MI      48348‐2720
JEFFREY LIECHTY        125 CROCKETT DR                                                                                  SPRINGBORO      OH      45066‐9068
JEFFREY LIEDEL         8262 NEWBURY CT S                                                                                CANTON          MI      48187‐4445
JEFFREY LILE           234 CABIN COVE RD                                                                                GLASGOW         KY      42141‐7756
JEFFREY LILLARD        3508 OLD MILL DR                                                                                 SPRING HILL     TN      37174‐2189
JEFFREY LINCH          10375 W 550 S                                                                                    KNIGHTSTOWN     IN      46148
JEFFREY LINDQUIST      1287 LAKEPORT LN                                                                                 CORONA          CA      92881‐0919
JEFFREY LINDSTROM      122 NORTH ST                                                                                     BARGERSVILLE    IN      46106‐8913
JEFFREY LINES          2801 MAIN ST                     APT 348                                                         IRVINE          CA      92614‐5015
JEFFREY LITZ           BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS      OH      44236
JEFFREY LIVICK         2544 3RD LANE                                                                                    GRAND MARSH     WI      53936‐9604
JEFFREY LOCKETT        1035 ANDRUS AVE                                                                                  LANSING         MI      48917‐2214
JEFFREY LONG           C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS      OH      44236
JEFFREY LONGRIDGE      1125 SW 77TH PL                                                                                  OKLAHOMA CITY   OK      73139‐2413
JEFFREY LOO            43452 REVERE DR                                                                                  BELLEVILLE      MI      48111‐1674
JEFFREY LOPEZ             P.O. BOX 543                                                                                  CAMPBELL        OH      44405
JEFFREY LORENS         2700 CASH CT                                                                                     THOMPSONS       TN      37179‐9289
                                                                                                                        STATION
JEFFREY LORENTZ        29809 MAPLEGROVE ST                                                                              ST CLAIR SHRS   MI      48082‐2805
JEFFREY LORENZ         4961 ECKLES ST                                                                                   CLARKSTON       MI      48346‐3520
JEFFREY LOVE           BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS      OH      44236
JEFFREY LOVEALL        5800 JOSHUA ST                                                                                   LANSING         MI      48911‐5137
JEFFREY LOWN           545 AVON ST                                                                                      LANSING         MI      48910‐1701
JEFFREY LOWRY          8981 KINGSRIDGE DR                                                                               DAYTON          OH      45458‐1624
JEFFREY LUDEMAN        17179 COUNTY ROAD J                                                                              NAPOLEON        OH      43545‐6697
JEFFREY LUEHRS         4202 WINTER FOREST CIR                                                                           BEAVERCREEK     OH      45432‐4102
JEFFREY LUKACS         1325 PARKER RD                                                                                   HOLLY           MI      48442‐8638
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Name                             Address1                          Address2               Address3            Address4               City               State   Zip
JEFFREY LUKE                     3725 LOTUS DR                                                                                       WATERFORD           MI     48329‐1352
JEFFREY LUNDY                    PO BOX 9022                                                                                         WARREN              MI     48090‐9022
JEFFREY LUTZE                    121 MILL ST                                                                                         OTISVILLE           MI     48463‐9489
JEFFREY LUX                      115 HADSELL DR                                                                                      BLOOMFIELD HILLS    MI     48302‐0407
JEFFREY LYNCH                    144 MAIN ST                                                                                         TOWNSEND            MA     01469‐1350
JEFFREY LYNCH                    6417 FERRARI PLACE                                                                                  INDIANAPOLIS        IN     46224
JEFFREY M BECK                   47 ANKARA AVE                                                                                       BROOKVILLE          OH     45309
JEFFREY M BOIAN                  724 MILLVILLE AVE                                                                                   HAMILTON            OH     45013
JEFFREY M BROWN ASSOCIATES       2337 PHILMONT AVE                                                                                   HUNTINGDON          PA     19006
                                                                                                                                     VALLEY
JEFFREY M BROWN ASSOCIATES INC   2337 PHILMONT AVENUE                                                                                HUNTINGDON          PA     19006
                                                                                                                                     VALLEY
JEFFREY M CLEER                  5530 MORRELL RAY RD                                                                                 BRISTOLVILLE       OH      44402‐8731
JEFFREY M DEMMITT, JR            160 LINDEN AVE                                                                                      DAYTON             OH      45403
JEFFREY M EARLEY                 1775 HEARTHSTONE DR                                                                                 DAYTON             OH      45410
JEFFREY M EVANS                  PO BOX 2224                                                                                         WARREN             OH      44484‐0224
JEFFREY M FORSYTH                208 BROWN AVE APT 1                                                                                 MATTYDALE          NY      13211‐1822
JEFFREY M GARLICK                67840 HOWARD ST                                                                                     RICHMOND           MI      48062‐1326
JEFFREY M GENTILE                4213 WALBRIDGE TRL                                                                                  DAYTON             OH      45430‐1826
JEFFREY M GRACE                  600 WEST WHIPP ROAD                                                                                 CENTERVILLE        OH      45459‐2949
JEFFREY M GUCK                   38 GREGORY ST                                                                                       LAKE LINDEN        MI      49945‐1236
JEFFREY M HALSEY                 4557 BIGGER RD                                                                                      KETTERING          OH      45440
JEFFREY M HARGER                 2188 SCHENLEY AVE.                                                                                  DAYTON             OH      45439
JEFFREY M HOFFMAN                5237 SCHALK RD #1                                                                                   LINEBORO           MD      21088
JEFFREY M IRISH                  1484 W HIBBARD RD                                                                                   OWOSSO             MI      48867‐9215
JEFFREY M JOHNSON                195 TEAKWOOD LN                                                                                     SPRINGBORO         OH      45066
JEFFREY M KAGAN                  271 GREENWOOD ST                                                                                    NEWTON CENTER      MA      02459
JEFFREY M KELLNER                CHAPTER 13 TRUSTEE                1722 SOLUTIONS CTR                                                CHICAGO            IL      60677‐1007
JEFFREY M KILBEY                 632 NUTWOOD ST                                                                                      BOWLING GREEN      KY      42103‐1620
JEFFREY M KILBURN                21 RAINTREE TRL                                                                                     LEBANON            OH      45036
JEFFREY M LAIL                   12240 HEMPLE ROAD                                                                                   FARMERSVILLE       OH      45325
JEFFREY M LAST PHD               20300 CIVIC CENTER DR STE 303                                                                       SOUTHFIELD         MI      48076‐4169
JEFFREY M LOWRY                  1438 E LOWER SPRINGBORO RD                                                                          LEBANON            OH      45036‐9723
JEFFREY M LOWRY                  8981 KINGSRIDGE DR.                                                                                 DAYTON             OH      45458
JEFFREY M MCCORMICK              45 UNION STREET                                                                                     BROCKPORT          NY      14420‐1919
JEFFREY M O'KELLEY               8733 S COCHRAN RD                                                                                   OLIVET             MI      49076‐9633
JEFFREY M ORTEGA                 731 HIDDEN CIRCLE                                                                                   CENTERVILLE        OH      45458‐3317
JEFFREY M PEARSALL               2200 ARCH ST #1205                                                                                  PHILADELPHIA       PA      19103
JEFFREY M PETERSON               1541 WESTERN WILLOW DR                                                                              HASLET             TX      76052‐6230
JEFFREY M POST                   4712 AMESBOROUGH RD                                                                                 DAYTON             OH      45420
JEFFREY M SCHWARTZ               12304 SANTA MONICA BLVD STE 210                                                                     LOS ANGELES        CA      90025
JEFFREY M SMITH                  7600 BASSETT DR.                                                                                    HUBER HEIGHTS      OH      45424‐2105
JEFFREY M TATOM                  4100 ELMRIDGE RD                                                                                    DAYTON             OH      45429
JEFFREY M THOMAS                 52 DORKING RD                                                                                       ROCHESTER          NY      14610
JEFFREY M TREVORROW              11419 DELMAR DR                                                                                     FENTON             MI      48430‐9018
JEFFREY M TURNER                 905 WALTON AVENUE                                                                                   DAYTON             OH      45407‐1334
JEFFREY M ZWERDLING              RETIREMENT PLAN                   THE CORPORATE CENTER   5020 MONUMENT AVE                          RICHMOND           VA      23230‐3620
JEFFREY MACDONALD                11 WOODSIDE PARK BLVD                                                                               PLEASANT RIDGE     MI      48069‐1042
JEFFREY MAES                     2907 DONCASTER DR                                                                                   CANTON             MI      48188‐6253
JEFFREY MALACARNE                PO BOX 82                                                                                           DEFIANCE           MO      63341‐0082
JEFFREY MALEK                    501 GILES ST                                                                                        SAINT JOHNS        MI      48879‐1257
JEFFREY MALKOWSKI                734 POPLAR AVE                                                                                      ROYAL OAK          MI      48073‐3242
JEFFREY MALOTKE                  21934 PURDUE AVE                                                                                    FARMINGTON HILLS   MI      48336‐4847
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Name                  Address1                       Address2                      Address3   Address4               City            State   Zip
JEFFREY MANTEY        8777 WOODSMAN DR                                                                               WASHINGTON       MI     48094‐1629
JEFFREY MANTOCK       5615 COLUMBINE LN                                                                              FORT WAYNE       IN     46804‐3707
JEFFREY MARBURY       971 HALLER AVE                                                                                 DAYTON           OH     45408‐1607
JEFFREY MARKS         BEVAN & ASSOCIATES LPA INC     65558 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH     44236
JEFFREY MARR          1541 JEFFERSON AVE                                                                             BRUNSWICK        OH     44212‐3323
JEFFREY MARSHALL      5 BONNIE CT N                                                                                  HOMOSASSA        FL     34446‐4962
JEFFREY MARSHALL      1235 RICHARDSON ST                                                                             JANESVILLE       WI     53545‐1029
JEFFREY MARTIN        PO BOX 120                                                                                     CHAPEL HILL      TN     37034‐0120
JEFFREY MARTIN        PO BOX 233                                                                                     MONTROSE         MI     48457‐0233
JEFFREY MARTINELLI    PO BOX 614                                                                                     HIGHLAND         MI     48357‐0614
JEFFREY MARX          1920 WEIGL RD                                                                                  SAGINAW          MI     48609‐7051
JEFFREY MASLANKA      13539 DONALD DR                                                                                BROOK PARK       OH     44142‐3206
JEFFREY MASON         4700 S CRYSLER AVE                                                                             INDEPENDENCE     MO     64055‐5725
JEFFREY MASON         PO BOX 1487                    4224 RIVERSIDE DRIVE                                            EVANS            GA     30809‐1487
JEFFREY MASSIMILLA    3169 KATIE LN                                                                                  MILFORD          MI     48380‐2021
JEFFREY MATIS         5303 STONE RIDGE CIR                                                                           BEREA            OH     44017‐3115
JEFFREY MAXWELL       6730 E COUNTY RD N                                                                             MILTON           WI     53563‐8700
JEFFREY MAYO          5070 FRANKWILL AVE                                                                             CLARKSTON        MI     48346‐3716
JEFFREY MC DOWELL     PO BOX 791                                                                                     BELLEVILLE       MI     48112‐0791
JEFFREY MC FARLAND    3531 STONERIDGE CT                                                                             COMMERCE         MI     48382‐1096
                                                                                                                     TOWNSHIP
JEFFREY MC FARLAND    1711 W WHITE ST                                                                                BAY CITY        MI      48706‐3280
JEFFREY MC GRATH      19648 GILL RD                                                                                  LIVONIA         MI      48152‐1166
JEFFREY MC SWAIN      1802 WINONA ST                                                                                 FLINT           MI      48504‐2964
JEFFREY MC VEIGH      7580 W FILLMORE RD                                                                             SUMNER          MI      48889‐9745
JEFFREY MC WILLIAMS   17321 MEYERS RD                                                                                DETROIT         MI      48235‐1424
JEFFREY MCCARTNEY     C/O SIEBEN POLK P A            1640 S FRONTAGE RD            STE 200                           HASTINGS        MN      55033
JEFFREY MCCLEAN       1505 WOODRIDGE MANOR RD                                                                        FALLSTON        MD      21047‐2601
JEFFREY MCCLEARY      905 IROQUOIS AVE                                                                               WATERFORD       MI      48327‐3241
JEFFREY MCCORMICK     3585 GRAPEVINE TRL                                                                             CLARKSTON       MI      48348‐1058
JEFFREY MCCULLOCH     364 S JOHN PAUL RD                                                                             MILTON          WI      53563‐1260
JEFFREY MCCULLOUGH    219 OBERLIN ROAD                                                                               ELYRIA          OH      44035‐7631
JEFFREY MCDONALD      1525 COVINGTON WOODS LN                                                                        LAKE ORION      MI      48360‐1216
JEFFREY MCFARLANE     257 E BEARD RD                                                                                 PERRY           MI      48872‐9517
JEFFREY MCGEE         5644 YARMOUTH AVE                                                                              TOLEDO          OH      43623‐1643
JEFFREY MCKENZIE      10017 S. DEERFIELD ROAD                                                                        GAINES          MI      48436
JEFFREY MCKINNEY      24523 HARMON CIR                                                                               ST CLAIR SHRS   MI      48080‐1090
JEFFREY MCKINNON      6405 BORDER LN                                                                                 SHREVEPORT      LA      71119‐7138
JEFFREY MCLAUGHLIN    606 NE 73RD TER                                                                                GLADSTONE       MO      64118‐1717
JEFFREY MCPHEARSON    6147 N MAIN ST                                                                                 OSSIAN          IN      46777‐9683
JEFFREY MEESE         4639 FITZGERALD AVE                                                                            YOUNGSTOWN      OH      44515‐4430
JEFFREY MEEUSEN       686 DUNBARTON AVE                                                                              BOWLING GREEN   KY      42104‐7605
JEFFREY MELDRUM       1518 PEACOCK CIR                                                                               ALGER           MI      48610‐8616
JEFFREY MELTZER       519 ONEIL LN                                                                                   FRANKLIN        TN      37067‐4407
JEFFREY MENIG         2239 PONDVIEW CT                                                                               LAKE ORION      MI      48362‐1155
JEFFREY MENZ          1515 S OSBORNE AVE                                                                             JANESVILLE      WI      53546‐5434
JEFFREY MERACLE       6703 CYPRESS CT                                                                                CRYSTAL LAKE    IL      60012‐3205
JEFFREY MERSON        420 BROOK MEADOW CT                                                                            TROY            MO      63379‐3463
JEFFREY METTERT       1220 TYLER ST                                                                                  SANDUSKY        OH      44870‐3150
JEFFREY METZGAR       10100 DUCK CREEK RD                                                                            SALEM           OH      44460‐7627
JEFFREY METZGER       PO BOX 344                                                                                     GAINESVILLE     NY      14066‐0344
JEFFREY MEYER         2777 HAVENWOOD DR                                                                              WHITE LAKE      MI      48383‐3916
JEFFREY MEYER JR      1654 TAYLOR RD                                                                                 AUBURN HILLS    MI      48326‐1564
JEFFREY MIAZGOWICZ    PO BOX 234                                                                                     CAMDEN          MI      49232‐0234
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Name                       Address1                        Address2             Address3        Address4               City               State   Zip
JEFFREY MICHAEL CAMPBELL   MOTLEY RICE LLC                 28 BRIDGESIDE BLVD   PO BOX 1792                            MT PLEASANT         SC     29465
JEFFREY MICHAELI           6340 GREAT OAKS TRL                                                                         ALMONT              MI     48003‐9716
JEFFREY MICHALEK           47509 BROCKMOR DR                                                                           SHELBY TOWNSHIP     MI     48315‐4947
JEFFREY MICHONSKI          53650 WELLINGTON DR                                                                         SHELBY TOWNSHIP     MI     48315‐2156
JEFFREY MICK               641 E MADGE AVE                                                                             HAZEL PARK          MI     48030‐2088
JEFFREY MIEDEN             1325 S 110TH ST                                                                             WEST ALLIS          WI     53214‐2352
JEFFREY MIELCAREK          6390 LAWNDALE RD                                                                            SAGINAW             MI     48604‐9457
JEFFREY MILLER             8911 SURREY DR                                                                              PENDLETON           IN     46064‐9335
JEFFREY MILLER             501 S CASTELL AVE                                                                           ROCHESTER           MI     48307‐2628
JEFFREY MILLER             368 CAPEN BLVD                                                                              AMHERST             NY     14226‐3014
JEFFREY MILLER             15336 W COUNTY ROAD A                                                                       EVANSVILLE          WI     53536‐8557
JEFFREY MILLER             3221 E DIX DR                                                                               MILTON              WI     53563‐9245
JEFFREY MILLER             9106 N RAVEN DR                                                                             MILTON              WI     53563‐9654
JEFFREY MILLER             15259 CATALINA WAY                                                                          HOLLY               MI     48442‐1103
JEFFREY MILLER             6006 ALTA VERDE CT                                                                          ARLINGTON           TX     76017‐0529
JEFFREY MILLER             4549 HILLVIEW SHRS                                                                          CLARKSTON           MI     48348‐2326
JEFFREY MILLER             27 DICKINSON ST UNIT D                                                                      MOUNT CLEMENS       MI     48043‐8203
JEFFREY MILLER             8662 RIVERBEND DR                                                                           PORTLAND            MI     48875‐1754
JEFFREY MILLER             204 RISEMAN CT                                                                              OXFORD              MI     48371‐4187
JEFFREY MILLER             1610 E LINCOLN AVE                                                                          ROYAL OAK           MI     48067‐3487
JEFFREY MILLER             PO BOX 274                                                                                  DURAND              MI     48429‐0274
JEFFREY MILLER             10395 EAGLE RD                                                                              DAVISBURG           MI     48350‐2128
JEFFREY MILLER
JEFFREY MILLERTON          611 WHITMORE AVE                                                                            DAYTON             OH      45417‐1236
JEFFREY MILLS              1458 N OAK RD                                                                               DAVISON            MI      48423‐9101
JEFFREY MILNE              203 DIMATTEO DR                                                                             N TONAWANDA        NY      14120‐6477
JEFFREY MILNER             4906 KEBBE DR                                                                               STERLING HEIGHTS   MI      48310‐5177
JEFFREY MINCH              26379 S RIVER RD                                                                            HARRISON           MI      48045‐5609
                                                                                                                       TOWNSHIP
JEFFREY MINER              1660 WINCHESTER AVE                                                                         LINCOLN PARK       MI      48146‐3845
JEFFREY MINTLINE           1009 S FRANKLIN AVE                                                                         FLINT              MI      48503‐6407
JEFFREY MISIER             965 FLORIDA AVE                                                                             MC DONALD          OH      44437‐1611
JEFFREY MITCHELL           1487 VAN BUREN AVE                                                                          HOLT               MI      48842‐9536
JEFFREY MITCHELL           490 SHAGBARK DR                                                                             ROCHESTER HILLS    MI      48309‐1821
JEFFREY MLYNARSKI          207 BRIDGE RD                                                                               UPPER CHICHESTER   PA      19061‐2925

JEFFREY MOCK               27981 WATSON RD                                                                             DEFIANCE           OH      43512‐8850
JEFFREY MODRZYNSKI         908 BLACKBURN ST SW                                                                         WYOMING            MI      49509‐1934
JEFFREY MOFFIT             11149 FULLER ST                                                                             GRAND BLANC        MI      48439‐1037
JEFFREY MONETTA            13504 S HORRELL RD                                                                          FENTON             MI      48430‐1013
JEFFREY MOORE              2467 E 1700 N                                                                               SUMMITVILLE        IN      46070‐9172
JEFFREY MOORE              10458 N 400 E                                                                               ROANOKE            IN      46783‐9441
JEFFREY MOORE              3770 PENNINGTON RD                                                                          CUMMING            GA      30041‐5774
JEFFREY MOORE              501 HARVEST TRL                                                                             YUKON              OK      73099‐7136
JEFFREY MOREY              9910 CLUB HOUSE DR W                                                                        CANADIAN LAKES     MI      49346‐8865
JEFFREY MORGAN             20548 BREEZEWAY DR                                                                          MACOMB             MI      48044‐3518
JEFFREY MORGAN             37 ERIC HILL DR                                                                             WARRENTON          MO      63383‐4430
JEFFREY MORRIS             2109 E RIDGE RD                                                                             BELOIT             WI      53511‐3916
JEFFREY MORRIS             1674 S 300 E                                                                                WABASH             IN      46992‐8191
JEFFREY MORRIS             2233 MATTIE LU DR                                                                           AUBURN HILLS       MI      48326‐2428
JEFFREY MORRIS             1082 FOXWOOD CT                                                                             WHITE LAKE         MI      48383‐3050
JEFFREY MORRISON           PO BOX 9022                                                                                 WARREN             MI      48090‐9022
JEFFREY MOSE               3730 GRATIOT AVE                                                                            FLINT              MI      48503‐4981
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Name                             Address1                           Address2                  Address3             Address4               City                 State Zip
JEFFREY MOSHER                   20764 SUNNYDALE ST                                                                                       FARMINGTON HILLS      MI 48336‐5251

JEFFREY MOSS                     1227 E 28TH ST                                                                                           ANDERSON             IN   46016‐5524
JEFFREY MOTALA                   730 EASTLAKE TRL                                                                                         OXFORD               MI   48371‐6800
JEFFREY MOWDY                    221 REDWOOD CT                                                                                           KELLER               TX   76248‐2518
JEFFREY MUDGE                    22416 FRESARD ST                                                                                         SAINT CLAIR SHORES   MI   48080‐2852

JEFFREY MULNIX                   16223 RIVER RIDGE TRL                                                                                    LINDEN               MI   48451‐8576
JEFFREY MUMA                     5342 DEARING DRIVE                                                                                       FLINT                MI   48506‐1536
JEFFREY MURPHY                   6205 SILVER BIRCH DR                                                                                     FARMINGTON           NY   14425‐1055
JEFFREY MURPHY ESQ TRUSTEE FOR   THE BENEFIT OF THE UNITED STATES   C/O SONNENSCHEIN NATH &   TWO WORD FINANCIAL                          NEW YORK             NY   10281
                                 TREASURY                           ROSENTHAL LLP             CENTER
JEFFREY MUSIAL                   321 MCCLELLAN DR                                                                                         PITTSBURGH           PA   15236‐4105
JEFFREY MYERS                    729 NE SEABROOK CIR                                                                                      LEES SUMMIT          MO   64064‐1158
JEFFREY MYERS                    1125 LOCUST ST                                                                                           MIDDLETOWN           IN   47356‐1722
JEFFREY MYLENEK                  1898 MANCHESTER BLVD                                                                                     GROSSE POINTE        MI   48236‐1922
                                                                                                                                          WOODS
JEFFREY MYSLICKI                 67701 CHESAPEAKE CT                                                                                      WASHINGTON           MI   48095‐1474
                                                                                                                                          TOWNSHIP
JEFFREY N CALDWELL               2349 CAREW                                                                                               KETTERING            OH   45420‐3426
JEFFREY N COLSTON                225 HIGHLAND LICK RD                                                                                     RUSSELLVILLE         KY   42276‐9204
JEFFREY N MIELCAREK              6390 LAWNDALE RD                                                                                         SAGINAW              MI   48604‐9457
JEFFREY N SHIMP                  15222 DECHANT RD                                                                                         NEW LEBANON          OH   45345‐9700
JEFFREY N WOODHOUSE              333 GROVE PARK RD                                                                                        BALTIMORE            MD   21225‐2612
JEFFREY N WRAY                   533 AUTUMN CT                                                                                            BROWNSTOWN           IN   47220‐1965
JEFFREY NASH                     11295 CATHY DR                                                                                           GOODRICH             MI   48438‐9024
JEFFREY NEELIS                   5459 PARKSIDE DR                                                                                         BRIGHTON             MI   48114‐7571
JEFFREY NEGRON                   13621 CARLETON WEST RD                                                                                   CARLETON             MI   48117‐9725
JEFFREY NEISS                    1701 S RUE ROYALE                                                                                        KOKOMO               IN   46902
JEFFREY NEL/NEWPRT               1207 MARIA CT                                                                                            THE VILLAGES         FL   32159‐5759
JEFFREY NELSON                   19422 STATE ROAD 37                                                                                      HARLAN               IN   46743‐7579
JEFFREY NEMET                    2706 S CANAL ST                                                                                          NEWTON FALLS         OH   44444‐9475
JEFFREY NEUMANN                  2137 E WILSON RD                                                                                         CLIO                 MI   48420‐7916
JEFFREY NEVILLE                  8143 SASHABAW RIDGE DR                                                                                   CLARKSTON            MI   48348‐2943
JEFFREY NEWKIRK                  6120 W FERGUSON RD                                                                                       FORT WAYNE           IN   46809‐9758
JEFFREY NEWMAN                   744 S STINE RD                                                                                           CHARLOTTE            MI   48813‐9563
JEFFREY NEWSOME                  820 BLUE SPRINGS RD                                                                                      COLUMBIA             TN   38401‐7452
JEFFREY NICKELSON                10325 DURHAM RD                                                                                          CLARKSTON            MI   48348‐2195
JEFFREY NIKOLAUS                 658 WOODCREST DR                                                                                         MANSFIELD            OH   44905‐2319
JEFFREY NISZCZAK                 49072 STANTON CT                                                                                         CANTON               MI   48188‐8009
JEFFREY NIXON                    11118 SUMMER CHASE RD                                                                                    FORT WAYNE           IN   46818‐8818
JEFFREY NOEL                     LOT 1                              100 HIDDEN VALLEY DRIVE                                               OLD MONROE           MO   63369‐2336
JEFFREY NOLLE                    625 E 6TH ST                                                                                             NEW RICHMOND         WI   54017‐2117
JEFFREY NORDEN                   11796 TIMBER RIDGE DR                                                                                    KEITHVILLE           LA   71047‐9048
JEFFREY NORRIS                   8528 SPRING FOREST DR                                                                                    FORT WAYNE           IN   46804‐6437
JEFFREY NORTHROP                 1404 BLANDIN ST                                                                                          OREGON               OH   43616‐3712
JEFFREY NORWOOD                  3906 ELMER LN                                                                                            SHREVEPORT           LA   71109‐1934
JEFFREY NOVAK                    10220 NORTH BIG SCHOOL             LOT LAKE ROAD                                                         HOLLY                MI   48442
JEFFREY NOWAK                    3431 E HOWARD AVE                                                                                        SAINT FRANCIS        WI   53235‐4731
JEFFREY NUNN                     7861 NW ROANRIDGE RD APT E                                                                               KANSAS CITY          MO   64151‐5224
JEFFREY NUZUM                    5646 GLASGOW RD                                                                                          SYLVANIA             OH   43560‐1404
JEFFREY NYQUIST                  7003 TIMBERCREST                                                                                         WASHINGTON TWP       MI   48094‐2194

JEFFREY O CORLISS                1309 HAWTHORNE AVE                                                                                       YPSILANTI            MI   48198‐5943
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Name                    Address1                       Address2            Address3         Address4               City             State   Zip
JEFFREY O ELLIOTT       3805 LAKE BEND DRIVE                                                                       DAYTON            OH     45404‐2901
JEFFREY O'BRIEN         86 HOLIDAY HL                                                                              LEXINGTON         OH     44904‐1106
JEFFREY O'HARE          4152 SCENIC DR E                                                                           SAGINAW           MI     48603‐9624
JEFFREY O'KELLEY        8733 S COCHRAN RD                                                                          OLIVET            MI     49076‐9633
JEFFREY O'NEAL          23122 ROCHELLE ST                                                                          MACOMB            MI     48042‐5162
JEFFREY ODELL           15808 PRETTY LAKE DR                                                                       MECOSTA           MI     49332‐9617
JEFFREY OLINGER         11362 NS 3600                                                                              SEMINOLE          OK     74868‐6835
JEFFREY OLNEY           3399 DUFFIELD RD                                                                           FLUSHING          MI     48433‐9709
JEFFREY OLNEY           890 N COLLEGE RD                                                                           MASON             MI     48854‐9325
JEFFREY OLSEN           4170 E LAKE RD                                                                             CLIO              MI     48420‐9121
JEFFREY OLSON           122 AUSTIN ST                                                                              HYDE PARK         MA     02136‐1536
JEFFREY OLSON           2102 DUPONT DR                                                                             JANESVILLE        WI     53546‐3127
JEFFREY OLSON           3223 MCGREGOR ST                                                                           GRAND BLANC       MI     48439‐8190
JEFFREY OLSON           2713 6 AND 3/16 AVE                                                                        NEW AUBURN        WI     54757
JEFFREY ORDNER          107 BLUEJACKET AVE                                                                         MANAHAWKIN        NJ     08050‐2422
JEFFREY OSIKOWICZ       38653 STACEY CT                                                                            LIVONIA           MI     48154‐1025
JEFFREY OSTER           639 REDBUD BLVD S                                                                          ANDERSON          IN     46013‐1173
JEFFREY OUDBIER         13180 104TH AVE                                                                            GRAND HAVEN       MI     49417‐8756
JEFFREY OWENS           8091 VANTINE RD                                                                            GOODRICH          MI     48438‐9422
JEFFREY P BAUGHER       3500 CHERRY POINT WAY                                                                      MIAMI TOWNSHIP    OH     45449
JEFFREY P GUTHRIE       1312 SANLOR AVE                                                                            WEST MILTON       OH     45383
JEFFREY P JETT          4103 CLEVELAND AVE                                                                         DAYTON            OH     45410
JEFFREY P NOZAR         1470 EDENWOOD DRIVE                                                                        BEAVERCREEK       OH     45434‐6836
JEFFREY P PAHUTA        7636 FOURTH SECTION ROAD                                                                   BROCKPORT         NY     14420‐9618
JEFFREY P REISCHLING    325 CLOVERDALE PL                                                                          FLINT             MI     48503‐2346
JEFFREY P SCHROEDL      635 MONROE ST                                                                              FORT ATKINSON     WI     53538‐1335
JEFFREY P TUGGLES       97 SAWYER STREET                                                                           ROCHESTER         NY     14619‐1923
JEFFREY P. TONE, ESQ.   12505 GREENWOOD DR                                                                         TRUCKEE           CA     96161
JEFFREY PAGE            2105 N LYNHURST DR                                                                         SPEEDWAY          IN     46224‐5004
JEFFREY PAGE            852 CHADS WAY                                                                              CHARLOTTE         MI     48813‐8757
JEFFREY PALICKI         22815 OLD US 2                                                                             ASHLAND           WI     54806‐7606
JEFFREY PALMER          423 NEWVILLE ST                                                                            EDGERTON          WI     53534‐1911
JEFFREY PALMER          2352 CROSSINGS CIR                                                                         DAVISON           MI     48423‐8659
JEFFREY PARDUE          874 SCORPIO CT                                                                             FRANKLIN          IN     46131‐7069
JEFFREY PARENT          3974 CADWALLADER SONK RD                                                                   CORTLAND          OH     44410‐9444
JEFFREY PARIS           2 A ANCHOR DR.                                                                             LAKE TAPAWINGO    MO     64015
JEFFREY PARK            6056 HAYRIDGE LN                                                                           HOWELL            MI     48855‐7362
JEFFREY PARKER          1373 PARKCREST DR                                                                          WATERFORD         MI     48327‐4803
JEFFREY PARKER          4030 TATES CREEK RD APT 2967                                                               LEXINGTON         KY     40517‐3093
JEFFREY PARKER          8310 AUTUMN OAK AVE                                                                        PORT RICHEY       FL     34668‐3354
JEFFREY PARKER          4509 MARGARETE DR SW                                                                       DECATUR           AL     35603‐4906
JEFFREY PARKIN          1126 COBBLESTONE CT                                                                        WILLIAMSTON       MI     48895‐8726
JEFFREY PARKINSON       12081 JEFFERS LANE                                                                         FENTON            MI     48430‐2459
JEFFREY PARKISON        5600 W 400 S                                                                               HUNTINGTON        IN     46750‐9135
JEFFREY PARKS           919 NOVI RD                                                                                NORTHVILLE        MI     48167‐1117
JEFFREY PARRY           7056 SHAFFER RD NW                                                                         WARREN            OH     44481‐9408
JEFFREY PARSONS         6833 YORK                                                                                  WATERFORD         MI     48327‐3507
JEFFREY PASCH           6337 SLEIGHT RD                                                                            BATH              MI     48808‐9486
JEFFREY PASZKOWSKI      629 TOMAHAWK TRL                                                                           HIGHLAND          MI     48357‐2762
JEFFREY PATTERSON       PO BOX 55                                                                                  COLON             MI     49040‐0055
JEFFREY PATTERSON       2231 DUNKELBERG RD                                                                         FORT WAYNE        IN     46819‐2128
JEFFREY PAUL            446 BRISTOL LN                                                                             CLARKSTON         MI     48348‐2318
JEFFREY PAWLIK          482 EAGER RD                                                                               HOWELL            MI     48843‐9794
JEFFREY PAYNE           3172 WALDON RIDGE DR                                                                       ORION             MI     48359‐1339
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Name                Address1                         Address2            Address3         Address4               City               State   Zip
JEFFREY PEAR        5074 FAIRCHILD ST                                                                            SWARTZ CREEK        MI     48473‐1258
JEFFREY PEARSON     1713 E ZICK DR                                                                               BELOIT              WI     53511‐1417
JEFFREY PEARSON     19115 E ROXSBURY LN                                                                          INDEPENDENCE        MO     64058‐1347
JEFFREY PEDIGO      2410 N HOLLAND SYLVANIA RD                                                                   TOLEDO              OH     43615‐2610
JEFFREY PELTZ       48662 ROCKEFELLER DR                                                                         CANTON              MI     48188‐8512
JEFFREY PEPPER      2777 ROXBURY DR                                                                              TROY                MI     48084‐2675
JEFFREY PERGANDE    946 ALPINE DR                                                                                JANESVILLE          WI     53546‐1750
JEFFREY PERKINS     1728 EDINBOROUGH DR                                                                          ROCHESTER HILLS     MI     48306‐3630
JEFFREY PERRIN      5151 DEE RD                                                                                  MEMPHIS             TN     38117‐5957
JEFFREY PERRY       2910 ANDERSON MORRIS RD                                                                      NILES               OH     44446‐4332
JEFFREY PERRY       1109 CHELSEA BLVD                                                                            OXFORD              MI     48371‐6728
JEFFREY PERRY       11201 ASCOT CIR                                                                              FREDERICKSBRG       VA     22407‐5080
JEFFREY PERRY       1913 BROOKTON DR                                                                             TEMPERANCE          MI     48182‐1355
JEFFREY PETEE       1135 SAND LAKE DR                                                                            ONSTED              MI     49265‐9585
JEFFREY PETERS      14265 TAYLOR RD                                                                              MILLINGTON          MI     48746‐9202
JEFFREY PETERS      2495 N LONG LAKE RD                                                                          FENTON              MI     48430‐8840
JEFFREY PETERS      13660 DUNLAP RD                                                                              LA SALLE            MI     48145‐9770
JEFFREY PETERSON    5300 ALFALFA DR                                                                              SWARTZ CREEK        MI     48473‐8220
JEFFREY PETERSON    1541 WESTERN WILLOW DR                                                                       HASLET              TX     76052‐6230
JEFFREY PETTIT      3644 WINDING PINE DR                                                                         METAMORA            MI     48455‐8904
JEFFREY PETTS       13316 IRVINGTON DR                                                                           WARREN              MI     48088‐6616
JEFFREY PFAFF       9516 N ARROWHEAD SHORES RD                                                                   EDGERTON            WI     53534‐8972
JEFFREY PFITZER     451 PARKGATE DR                                                                              LAKE SAINT LOUIS    MO     63367‐4384
JEFFREY PHELPS      1808 BAYONNE CT                                                                              BEL AIR             MD     21015‐2009
JEFFREY PHELPS      1911 E 21ST ST                                                                               MUNCIE              IN     47302‐5461
JEFFREY PHILLIPS    1530 W SYCAMORE ST                                                                           KOKOMO              IN     46901‐4231
JEFFREY PICCARD     1677 MAYFLOWER DR SW                                                                         WYOMING             MI     49519‐9661
JEFFREY PICKENS     4110 COLUMBIAVILLE RD                                                                        COLUMBIAVILLE       MI     48421‐9759
JEFFREY PIETRZAK    3316 W SOUTHLAND DR                                                                          FRANKLIN            WI     53132‐8435
JEFFREY PIGOTT      1306 POPLAR ST                                                                               WYANDOTTE           MI     48192‐4441
JEFFREY PLANK       10525 S FORDNEY RD                                                                           SAINT CHARLES       MI     48655‐9518
JEFFREY PLEUNE      1965 JOHN R RD                                                                               ROCHESTER HILLS     MI     48307‐5706
JEFFREY POLLARD     34 OXTON CIR                                                                                 PINEHURST           NC     28374‐8880
JEFFREY POLLOW      2725 WEST AVE                                                                                NEWFANE             NY     14108‐1217
JEFFREY POLZIN      13429 HADDON ST                                                                              FENTON              MI     48430‐1156
JEFFREY POND        47175 BARTLETT DR                                                                            CANTON              MI     48187‐1472
JEFFREY POPE        1216 N STEWART RD                                                                            MANSFIELD           OH     44903‐8831
JEFFREY POPP        18020 OAK CT                                                                                 RAY TWP             MI     48096‐3561
JEFFREY POST        4712 AMESBOROUGH RD                                                                          DAYTON              OH     45420‐3352
JEFFREY POTTS       8117 SIMMS RD                                                                                LOCKPORT            NY     14094‐9337
JEFFREY POWELL      1055 S CAMDEN ST                                                                             RICHMOND            MO     64085‐2349
JEFFREY POWTAK      1098 OAK RIDGE RD                                                                            GAFFNEY             SC     29341‐5020
JEFFREY PRASKI      73611 MEMPHIS RIDGE RD                                                                       RICHMOND            MI     48062‐4217
JEFFREY PREGER      4031 SPRING HUE LN                                                                           DAVISON             MI     48423‐8900
JEFFREY PREVETT     6185 VALERIAN CT                                                                             GRAND BLANC         MI     48439‐2325
JEFFREY PRIEUR      1139 BRISSETTE BEACH                                                                         KARLIN              MI     48732
JEFFREY PRITCHARD   25843 MULBERRY LN                                                                            NOVI                MI     48374‐2349
JEFFREY PROCTOR     8379 9 MILE RD                                                                               BIG RAPIDS          MI     49307‐9102
JEFFREY PTAK        51800 SHADYWOOD DR                                                                           MACOMB              MI     48042‐4294
JEFFREY PUPPOS      1804 KENMORE DR                                                                              GROSSE POINTE       MI     48236‐1982
                                                                                                                 WOODS
JEFFREY PURCELL     103 MEGAN TRL                                                                                LEWISBURG          OH      45338‐9336
JEFFREY PURDUE      8815 SPEEDWAY DR                                                                             SHELBY TOWNSHIP    MI      48317‐3352
JEFFREY PUTMAN      10888 DEVILS LAKE HWY                                                                        ADDISON            MI      49220‐9539
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Name                      Address1                         Address2                     Address3            Address4               City             State   Zip
JEFFREY PUTTER            28564 MEADOW GLEN WAY WEST                                                                               ESCONDIDO         CA     92026
JEFFREY PYLE              4344 WHEATLAND DR                                                                                        SWARTZ CREEK      MI     48473‐8255
JEFFREY QUEEN             24646 LITTLE BEAR RD                                                                                     WARRENTON         MO     63383‐6278
JEFFREY QUIGLEY           668 BENDING BRK                                                                                          FLUSHING          MI     48433‐3017
JEFFREY QUIGLEY           11289 E STANLEY RD                                                                                       DAVISON           MI     48423‐9308
JEFFREY QUINN             2613 BISHOP RD                                                                                           APPLETON          NY     14008‐9626
JEFFREY R CASTLE          5191 HARDYS RD                                                                                           GAINESVILLE       NY     14066‐9734
JEFFREY R DAEGE           1418 N FRENCH RD                                                                                         BUFFALO           NY     14228‐1907
JEFFREY R DINKINS         ACCOUNT OF LOUIS WESTBROOK       PO BOX 1391                  FILE #89‐67459‐DP                          BATTLE CREEK      MI     49016‐1391
JEFFREY R FERGUSON        1304 CHANDLER                                                                                            LINCOLN PARK      MI     48146
JEFFREY R GALLA           2606 ALGONQUIN DR                                                                                        YOUNGSTOWN        OH     44514
JEFFREY R GEISLER         7135 SCIOTO RD                                                                                           DUBLIN            OH     43017
JEFFREY R HUGHES          3306 INDIANWOOD RD                                                                                       LAKE ORION        MI     48362‐1035
JEFFREY R PARRY           7056 SHAFFER RD NW                                                                                       WARREN            OH     44481
JEFFREY R RICH            4960 SPRINGBORO PIKE                                                                                     MORAINE           OH     45439‐1940
JEFFREY R SIMMONS         4658 DUGGER RD                                                                                           CULLEOKA          TN     38451‐3131
JEFFREY R SMITH           604 LAKE FOREST DRIVE                                                                                    W CARROLLTON      OH     45449
JEFFREY R SPENCER         776 DAYTON‐XENIA                                                                                         XENIA             OH     45385
JEFFREY R YOUNG           6724 LONGFELLOW DR                                                                                       BUENA PARK        CA     90620‐1110
JEFFREY R. FRANKENFIELD
JEFFREY RABY              5944 E HASKELL LAKE RD                                                                                   HARRISON         MI      48625‐8885
JEFFREY RADEMACHER        425 LAKEVIEW ST                                                                                          CRYSTAL          MI      48818‐8658
JEFFREY RADOICIC          49272 BERKSHIRE DR                                                                                       CHESTERFIELD     MI      48047‐1769
JEFFREY RAGGI             85 HOLLEYBROOK                                                                                           PENFIELD         NY      14526‐1145
JEFFREY RAHN              5580 3 MILE RD                                                                                           BAY CITY         MI      48706‐9005
JEFFREY RAMSDELL          148 COTTAGE ST                                                                                           LOCKPORT         NY      14094‐4304
JEFFREY RANCHER           C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                              BOSTON HEIGHTS   OH      44236
JEFFREY RANKERT           844 E LIBERTY ST                                                                                         MILFORD          MI      48381‐2053
JEFFREY RANKIN            2213 AMERICAN DR                                                                                         MARION           IN      46952‐9400
JEFFREY RASPER            6713 MARTIN MILL PIKE                                                                                    KNOXVILLE        TN      37920‐6831
JEFFREY RATH              27 PARISH RD                                                                                             CHURCHVILLE      NY      14428‐9549
JEFFREY RAVAS             3478 PARK ISLAND DR                                                                                      OXFORD           MI      48371‐5733
JEFFREY RAWSON            406 BELLE ROUGE RUE                                                                                      BOSSIER CITY     LA      71111‐5181
JEFFREY RAYCE             224 LINDEN AVE                                                                                           ROYAL OAK        MI      48073‐3469
JEFFREY RAYMER            164 TROY LN                                                                                              HOHENWALD        TN      38462‐4013
JEFFREY RAYMOND           4648 DUGGER RD                                                                                           CULLEOKA         TN      38451‐3131
JEFFREY REAM              531 TICKNER ST                                                                                           LINDEN           MI      48451‐9071
JEFFREY REASONER          8062 DUNGARVIN DR                                                                                        GRAND BLANC      MI      48439‐8161
JEFFREY RECHTIEN          9916 DRIVER AVE                                                                                          OVERLAND         MO      63114‐2206
JEFFREY REECE             310 POTTER AVE                                                                                           ANN ARBOR        MI      48103‐5539
JEFFREY REED              1 UNIVERSITY RD                                                                                          EAST BRUNSWICK   NJ      08816
JEFFREY REED              4130 BUELL DR                                                                                            FORT WAYNE       IN      46807‐2333
JEFFREY REESOR            1727 SHETLAND LN                                                                                         SPRING HILL      TN      37174‐9526
JEFFREY REEVES            600 N FOSTER AVE                                                                                         LANSING          MI      48912‐4211
JEFFREY REEVES            355 COUNTY ROAD 174                                                                                      MOULTON          AL      35650‐5831
JEFFREY REEVES            4045 S 006 W                                                                                             HUNTINGTON       IN      46750‐9214
JEFFREY REICHARD          PO BOX 36                                                                                                LACLEDE          ID      83841‐0036
JEFFREY REINER            15 INWOOD AVE                                                                                            MONROE TWP       NJ      08831‐8512
JEFFREY REINERT           504 EUCLID ST                                                                                            SAINT JOHNS      MI      48879‐1244
JEFFREY REISCHLING        325 CLOVERDALE PL                                                                                        FLINT            MI      48503‐2346
JEFFREY RENFRO            806 WHITMORE ST                                                                                          ANDERSON         IN      46012‐9214
JEFFREY REPAIR SERVICE    2071 15TH ST SW                                                                                          MASON CITY       IA      50401‐5627
JEFFREY REUTER            120 JACKMAN ST                                                                                           JANESVILLE       WI      53545‐4027
JEFFREY REYNOLDS          8308 NSERNS RD                                                                                           MILTON           WI      53563
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Name                               Address1                        Address2                     Address3   Address4               City              State   Zip
JEFFREY REYNOLDS                   9505 POINSETTA DR                                                                              SHREVEPORT         LA     71118‐4017
JEFFREY RICHARDS                   9142 APPLE ORCHARD DR                                                                          FENTON             MI     48430‐8950
JEFFREY RICHARDS                   BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
JEFFREY RICHARDSON                 57 RIVERDALE DR                                                                                COVINGTON          LA     70433‐4522
JEFFREY RICHLAND                   PO BOX 214063                                                                                  AUBURN HILLS       MI     48321‐4063
JEFFREY RIFFLE                     9414 ANNETTE DR                                                                                WINDHAM            OH     44288‐1002
JEFFREY RILEY                      4604 REAN MEADOW DR                                                                            KETTERING          OH     45440‐1924
JEFFREY RINGER                     3279 S BAILEY RD                                                                               NORTH JACKSON      OH     44451‐9630
JEFFREY RINGLER                    11808 5 MILE RD                                                                                MORLEY             MI     49336‐9720
JEFFREY RIOS                       101 MAJESTIC LAKES BLVD                                                                        MOSCOW MILLS       MO     63362‐1876
JEFFREY RIOS                       PO BOX 9022                     CANADA 02                                                      WARREN             MI     48090‐9022
JEFFREY ROBERTS                    26206 E 267TH ST                                                                               HARRISONVILLE      MO     64701‐3288
JEFFREY ROBILLIARD                 4310 HAGERMAN RD                                                                               LEONARD            MI     48367‐1921
JEFFREY ROBINSON                   48553 W RANCH DR                                                                               CHESTERFIELD       MI     48051‐2623
JEFFREY ROBISON                    11504 STRECKER RD                                                                              BELLEVUE           OH     44811‐9673
JEFFREY ROCK                       21 SUMMIT ST                                                                                   FAIRPORT           NY     14450‐2511
JEFFREY ROCKWOOD                   1065 LITTLE TURTLE TRL                                                                         HUNTINGTON         IN     46750‐4154
JEFFREY RODGERS                    6237 S CASE AVE                                                                                GRAND BLANC        MI     48439‐7000
JEFFREY ROGERS                     3591 FOX HOLLOW TRCE                                                                           MARIETTA           GA     30068‐2412
JEFFREY ROLFS                      2056 RIDGEFIELD CT                                                                             ROCHESTER HILLS    MI     48306‐4043
JEFFREY ROMAN                      329 DANDRIDGE DR                                                                               FRANKLIN           TN     37067‐8403
JEFFREY ROMAN                      11442 VISTA DR                                                                                 FENTON             MI     48430‐2492
JEFFREY RONK                       12275 NEFF RD                                                                                  CLIO               MI     48420‐1806
JEFFREY RONNE                      54174 BLACK CHERRY LN                                                                          SHELBY TWP         MI     48315‐1457
JEFFREY ROOT                       600 MEADOW LN                                                                                  TRENTON            OH     45067‐1026
JEFFREY ROSE                       1834 SUDBURY CT                                                                                ROCHESTER HILLS    MI     48306‐3666
JEFFREY ROSENBLUM                  51 JFK PARKWAY                                                                                 SHORT HILLS        NJ     07078
JEFFREY ROSS                       10460 W HOWE RD                                                                                EAGLE              MI     48822‐9740
JEFFREY ROTHE                      2254 ROSEMARY AVE                                                                              WATERFORD          MI     48328‐1735
JEFFREY RUPP                       5309 ELIZABETH ANN CT                                                                          SAINT PARIS        OH     43072‐9534
JEFFREY RUPPEL                     249 E GLOUCESTER DR                                                                            SAGINAW            MI     48609‐9428
JEFFREY RYAN                       708 N SASHABAW RD                                                                              ORTONVILLE         MI     48462‐9142
JEFFREY RYDEN                      249 CRANBERRY BEACH BLVD                                                                       WHITE LAKE         MI     48386‐1940
JEFFREY RYLAND                     801 S THOMAN ST                                                                                CRESTLINE          OH     44827‐1857
JEFFREY RYSENGA                    1723 EDGEWOOD BLVD                                                                             BERKLEY            MI     48072‐2166
JEFFREY S ADKINS                   4623 RIVER ROAD                                                                                FAIRFIELD          OH     45014‐1603
JEFFREY S CLAGG                    1116 HALE AVE.                                                                                 KETTERING          OH     45419
JEFFREY S COFFMAN                  7459 OREGONIA RD.                                                                              WAYNESVILLE        OH     45068‐8559
JEFFREY S COLLINS                  5144 PANHANDLE RD                                                                              NEW VIENNA         OH     45159
JEFFREY S CROSS                    4258 KELLY CT                                                                                  FLUSHING           MI     48433‐2318
JEFFREY S DEWEESE                  1810 WARNER AVE                                                                                MINERAL RIDGE      OH     44440‐9564
JEFFREY S GABBARD                  6101 VERDI                                                                                     W. CARROLLTON      OH     45449‐3244
JEFFREY S GERARDI                  5061 ONA LAKE DR                                                                               WHITE LAKE         MI     48383‐3253
JEFFREY S GODDESS &                LINNEA J GODDESS                1417 HAMILTON ST                                               WILMINGTON         DE     19806
JEFFREY S GORMLY                   3503 TREMONTE CIR N                                                                            OAKLAND TWP        MI     48306‐5010
JEFFREY S GUTIERREZ                1217 NASSAU DR                                                                                 MIAMISBURG         OH     45342
JEFFREY S HEDLAND                  RD 1 MARR RD BX1516                                                                            PULASKI            PA     16143
JEFFREY S ISAAC                    2100 OVALTINE CT UNIT 422                                                                      VILLA PARK          IL    60181
JEFFREY S KEMPER                   8840 RHINEVIEW CT.                                                                             DAYTON             OH     45459‐1228
JEFFREY S KREY                     5020 LINDBERGH BLVD                                                                            WEST CARROLLTON    OH     45449

JEFFREY S LICATA                   110 MARLI WAY                                                                                  SPENCERPORT       NY      14559‐2072
JEFFREY S LOVIN                    270 WELCOME WAY                                                                                CARLISLE          OH      45005‐3246
JEFFREY S MEYERS MD & ASSOCIATES   1600 N WASHINGTON ST            P O BOX 26286                                                  WILMINGTON        DE      19802‐4722
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Name                             Address1                         Address2                      Address3           Address4               City              State   Zip
JEFFREY S MOSER                  1050 VERNON ROAD                                                                                         GREENVILLE         PA     16125‐9287
JEFFREY S PETERS                 3966 HOLLANSBURG SAMPSON RD                                                                              GREENVILLE         OH     45331
JEFFREY S PHELPS                 1911 E 21ST ST                                                                                           MUNCIE             IN     47302‐5461
JEFFREY S POSKE                  1405 ROYAL ARCHER DR                                                                                     W CARROLLTON       OH     45449
JEFFREY S REEVES                 600 N FOSTER AVE                                                                                         LANSING            MI     48912‐4211
JEFFREY S ROOT                   4873 QUAKER HILL RD                                                                                      ALBION             NY     14411
JEFFREY S ROOT                   600 MEADOW LN                                                                                            TRENTON            OH     45067‐1026
JEFFREY S SCHILLING              860 SPRINGMILL DR                                                                                        SPRINGBORO         OH     45066
JEFFREY S SCHWILK                8927 EMERALDGATE DR                                                                                      HUBER HEIGHTS      OH     45424
JEFFREY S SPENCER                5042 PENSACOLA BLVD                                                                                      MORAINE            OH     45439‐2941
JEFFREY S STORMS                 7709 ESSINGTON CIRCLE                                                                                    CENTERVILLE        OH     45459‐4103
JEFFREY S TURNER                 P O BOX 328591                                                                                           COLUMBUS           OH     43232
JEFFREY S VERRILLO               6570 HIGHBURY RD                                                                                         HUBER HEIGHTS      OH     45424
JEFFREY S VINTON                 2836 WOLCOTT                                                                                             FLINT              MI     48504
JEFFREY S WALKER                 714 5TH ST APT 8                                                                                         BAY CITY           MI     48708‐5201
JEFFREY S ZWIERS                 3013 TELHURST CT                                                                                         MORAINE            OH     45439‐1420
JEFFREY S. DAVIS, ESQ.           ATTORNEY AT LAW                  ATTNY FOR FORREST CHEVROLET   1422 BERRY DRIVE                          CLEBURNE           TX     76033
JEFFREY S. LANDERS               STEVE SCHIFF DISTRICT ATTORNEY   520 LOMAS, NW, 4TH FLOOR                                                ALBUQUERQUE        NM     87102
                                 BUILDING
JEFFREY SALEH                    5035 CHASE RD                                                                                            DEARBORN          MI      48126‐5007
JEFFREY SAMPSON                  7249 S GREEN HILLS DR                                                                                    SALINE            MI      48176‐9547
JEFFREY SANDBORN                 8412 RIVERBEND DR                                                                                        PORTLAND          MI      48875‐1750
JEFFREY SANDERS                  127 OAK VALLEY DR                                                                                        SPRING HILL       TN      37174‐2592
JEFFREY SANDERS                  972 CRANFORD HOLLOW EXT RD                                                                               COLUMBIA          TN      38401‐7696
JEFFREY SANDERS                  3807 SWEETWATER DR                                                                                       ROCKLIN           CA      95677‐1955
JEFFREY SANDERSON                16403 LYNETTE DR                                                                                         MACOMB            MI      48042‐5813
JEFFREY SANDRIDGE                781 LOVE BRANCH RD                                                                                       HARVEST           AL      35749‐8567
JEFFREY SANGREGORIO              459 OBERMIYER RD.                                                                                        BROOKFIELD        OH      44403
JEFFREY SANTROCK                 443 MAISON RD                                                                                            GROSSE POINTE     MI      48236‐2807
                                                                                                                                          FARMS
JEFFREY SAPP                     1663 TACOMA DR                                                                                           ROCHESTER HILLS   MI      48306‐3669
JEFFREY SAUGER PHOTOGRAPHY INC   2116 E 4TH ST                                                                                            ROYAL OAK         MI      48067‐3922
JEFFREY SAYER                    33 TULIP BEND DR                                                                                         WENTZVILLE        MO      63385‐2658
JEFFREY SCHAFER                  1815 E 250 N                                                                                             KOKOMO            IN      46901‐8360
JEFFREY SCHAFFER                 14428 SINGER RD                                                                                          DEFIANCE          OH      43512‐8061
JEFFREY SCHEU                    5605 KINGFISHER LN                                                                                       CLARKSTON         MI      48346‐2938
JEFFREY SCHINGS                  19061 W TROWBRIDGE RD                                                                                    MARTIN            OH      43445‐9723
JEFFREY SCHLAUTMAN               3027 W SUTTON RD                                                                                         LAPEER            MI      48446‐9800
JEFFREY SCHLEGEL                 4816 JAMES HILL RD                                                                                       KETTERING         OH      45429‐5304
JEFFREY SCHLEUSENER              8351 ALLEN RD                                                                                            CLARKSTON         MI      48348‐2707
JEFFREY SCHLOFF                  6225 CHESHIRE PARK DR                                                                                    CLARKSTON         MI      48346‐4818
JEFFREY SCHMIDT                  1014 LARAMIE LN                                                                                          JANESVILLE        WI      53546‐1851
JEFFREY SCHMIDTCHEN              3433 S LOWELL RD                                                                                         SAINT JOHNS       MI      48879‐9560
JEFFREY SCHNEIER                 29 WELLS FARGO DR                                                                                        SAINT PETERS      MO      63376‐2551
JEFFREY SCHOCKE                  4080 TAFT RD                                                                                             BRUCE TWP         MI      48065‐3538
JEFFREY SCHOTT                   11703 KINGTOP DR                                                                                         KINGSVILLE        MD      21087‐1603
JEFFREY SCHROEDER                42764 RUSSIA RD                                                                                          ELYRIA            OH      44035‐6875
JEFFREY SCHROEDL                 635 MONROE ST                                                                                            FORT ATKINSON     WI      53538‐1335
JEFFREY SCHUBERT                 4365 CREEK RD                                                                                            LEWISTON          NY      14092‐1122
JEFFREY SCHULENBERG              101 SUNRISE LN                                                                                           BRYAN             OH      43506‐8720
JEFFREY SCHULTZ                  7218 STEVANIE DR                                                                                         GRAND BLANC       MI      48439‐9660
JEFFREY SCHULTZ                  19379 SEMINOLE                                                                                           REDFORD           MI      48240‐1621
JEFFREY SCHWAB                   10101 FABIUS DR                                                                                          LAKE ST LOUIS     MO      63367‐1976
JEFFREY SCHWERIN                 2394 WILLOWDALE DR                                                                                       BURTON            MI      48509‐2600
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Name                 Address1                           Address2                     Address3   Address4               City              State   Zip
JEFFREY SCHWOMEYER   4395 CHEROKEE PASS                                                                                GOSPORT            IN     47433‐9314
JEFFREY SCOTT        6305 S HIGH SCHOOL RD                                                                             INDIANAPOLIS       IN     46221‐4517
JEFFREY SCOTTI       891 LAKESIDE DR                                                                                   RAHWAY             NJ     07065‐1711
JEFFREY SCOVIL       182 NO. 9 ROAD                                                                                    COLTON             NY     13625
JEFFREY SCRAMLIN     51579 MAURO LN                                                                                    MACOMB             MI     48042‐4351
JEFFREY SEABAUGH     886 W KEISER RD                                                                                   COLUMBIA CITY      IN     46725‐8041
JEFFREY SEAL         1133 E 1000 S                                                                                     PENDLETON          IN     46064‐8736
JEFFREY SEARS        633 ROSEWOOD AVE                                                                                  YPSILANTI          MI     48198‐8012
JEFFREY SEARS        1911 LOUGHBOROUGH CT                                                                              THOMPSONS          TN     37179‐5321
                                                                                                                       STATION
JEFFREY SEBUCK       24 DRIFTWOOD CT.                                                                                  WILLIAMS BAY       WI     53191
JEFFREY SEDLAR       8697 PIONEER DR                                                                                   HOWELL             MI     48855‐8399
JEFFREY SEDLOCK      29060 FARWELL ST                                                                                  CHESTERFIELD       MI     48047‐5333
JEFFREY SEELYE       7601 HOWE RD                                                                                      BATH               MI     48808‐8445
JEFFREY SEGAL, MD
JEFFREY SEIBERT      3378 BANNING RD                                                                                   CINCINNATI        OH      45239‐5209
JEFFREY SEIBERT      1157 S LAKE VALLEY DR                                                                             FENTON            MI      48430‐1243
JEFFREY SEILKOP      3881 ACADIA DR                                                                                    LAKE ORION        MI      48360‐2726
JEFFREY SELL         19622 HUNT RD                                                                                     STRONGSVILLE      OH      44136‐8335
JEFFREY SELL         4348 S MCNAY CT                                                                                   W BLOOMFIELD      MI      48323‐2840
JEFFREY SENSER       5301 HEATH AVE                                                                                    CLARKSTON         MI      48346‐3534
JEFFREY SETTING      8988 STONEGATE DR                                                                                 CLARKSTON         MI      48348‐2582
JEFFREY SETZKE       10400 MCKINLEY RD                                                                                 MONTROSE          MI      48457‐9081
JEFFREY SEVERSON     4767 W BROWNVIEW DR                                                                               JANESVILLE        WI      53545‐9041
JEFFREY SHAGENA      3011 DUNLEER RD                                                                                   BALTIMORE         MD      21222‐5106
JEFFREY SHANE        PO BOX 81340                                                                                      ROCHESTER         MI      48308‐1340
JEFFREY SHANK        503 MANCHESTER DR                                                                                 DEWITT            MI      48820‐9529
JEFFREY SHANKLIN     924 S JOHNSON RD                                                                                  MOORESVILLE       IN      46158‐1748
JEFFREY SHARP        18 VERNON ST                                                                                      TAUNTON           MA      02780‐4130
JEFFREY SHARP        C/O BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH      44236
JEFFREY SHAW         2554 NIAGARA RD                                                                                   NIAGARA FALLS     NY      14304‐2021
JEFFREY SHAW         11020 NE 136TH ST                                                                                 LIBERTY           MO      64068‐8216
JEFFREY SHEAKS       PO BOX 536                                                                                        KALIDA            OH      45853‐0536
JEFFREY SHEARER      1104 WARREN AVE                                                                                   NEW CASTLE        PA      16101‐4345
JEFFREY SHEFFIELD    KIRKLAND & ELLIS LLP               300 N. LASALLE STREET                                          CHICAGO           IL      60654
JEFFREY SHELDON      2441 MOUNT VERNON AVE                                                                             JANESVILLE        WI      53545‐2227
JEFFREY SHELEST      5735 RIDGEWAY DR APT 17                                                                           HASLETT           MI      48840‐8963
JEFFREY SHELLEY      640 ROARK RD                                                                                      FRANKLIN          KY      42134‐9155
JEFFREY SHEPARD      1105 FELTIS DR                                                                                    TEMPERANCE        MI      48182‐9284
JEFFREY SHEVETZ      6619 PALMYRA RD SW                                                                                WARREN            OH      44481‐9277
JEFFREY SHILEY       1703 OHLTOWN MCDONALD RD                                                                          NILES             OH      44446‐1361
JEFFREY SHIPMAN      8800 SHIPMAN RD                                                                                   CORUNNA           MI      48817‐9733
JEFFREY SHIPP        686 E PREDA DR                                                                                    WATERFORD         MI      48328‐2025
JEFFREY SHORTER      5724 STAFFORD CASTLE LN APT 1327                                                                  INDIANAPOLIS      IN      46250‐5617
JEFFREY SHORTS       3571 HOAGLAND BLACKSTUB RD                                                                        CORTLAND          OH      44410‐9398
JEFFREY SHUCHMAN     1114 W 13 MILE RD                                                                                 ROYAL OAK         MI      48073‐2413
JEFFREY SHUMWAY      903 W MAIN ST                                                                                     CRESTLINE         OH      44827‐1377
JEFFREY SIDERAS      8035 STICKNEY AVE                                                                                 WAUWATOSA         WI      53213‐1672
JEFFREY SIMMET       9680 BATH RD                                                                                      BYRON             MI      48418‐8969
JEFFREY SIMMONS      4658 DUGGER RD                                                                                    CULLEOKA          TN      38451‐3131
JEFFREY SIMPSON      17590 RAMSGATE DR                                                                                 LATHRUP VILLAGE   MI      48076‐4631
JEFFREY SIMPSON      10441 HENDERSON RD                                                                                OTISVILLE         MI      48463‐9623
JEFFREY SISCO        8916 AUTUMNGATE LN                                                                                HUBER HEIGHTS     OH      45424
JEFFREY SKELTON      234 HILLVIEW TER                                                                                  FENTON            MI      48430‐3524
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Name                             Address1                            Address2        Address3         Address4               City             State   Zip
JEFFREY SLAKTOSKI                469 129TH AVE                                                                               SHELBYVILLE       MI     49344‐9553
JEFFREY SLEEPER                  9610 E MONROE RD                                                                            DURAND            MI     48429‐1340
JEFFREY SLOBODA                  6216 CORNWALLIS DR APT 3A                                                                   FORT WAYNE        IN     46804‐8371
JEFFREY SMALLWOOD                3670 RON LN                                                                                 YOUNGSTOWN        OH     44505‐4343
JEFFREY SMIKOWSKI                4430 WATERFORD DR                                                                           WATERFORD         WI     53185‐3946
JEFFREY SMILEY                   2216 DUDLEY ST                                                                              BURTON            MI     48529‐2121
JEFFREY SMITH
JEFFREY SMITH                    1037 CLAREMONT DR                                                                           COLUMBIA         TN      38401‐6200
JEFFREY SMITH                    939 PRESTWICK PL APT D                                                                      INDIANAPOLIS     IN      46214‐3679
JEFFREY SMITH                    2264 N LONG LAKE RD                                                                         FENTON           MI      48430‐8865
JEFFREY SMITH                    417 ATLANTIC AVE                                                                            MATAWAN          NJ      07747‐2338
JEFFREY SMITH                    4 FAIRFIELD RD                                                                              CLAYMONT         DE      19703‐2405
JEFFREY SMITH                    2825 N STATE HIGHWAY 360 APT 1435                                                           GRAND PRAIRIE    TX      75050‐7864
JEFFREY SMITH                    160 DEVONSHIRE ST                                                                           YPSILANTI        MI      48198‐7815
JEFFREY SMITH JR                 681 STATE ROUTE 314 S                                                                       MANSFIELD        OH      44903‐7726
JEFFREY SMYTH                    3123 ALEXANDER PL APT 205                                                                   BEAVERCREEK      OH      45431‐8878
JEFFREY SOBOCINSKI               19048 COOPER AVE                                                                            BROWNSTOWN       MI      48174‐9634
JEFFREY SOKOLOWSKI               67202 LILAC LN                                                                              RAY TWP          MI      48096‐1326
JEFFREY SOLWOLD                  5737 SHETLAND WAY                                                                           WATERFORD        MI      48327‐2046
JEFFREY SORENSEN                 8313 WATERFORD DR                                                                           TINLEY PARK      IL      60477‐6558
JEFFREY SORENSON                 1244 MORGAN AVE                                                                             LA GRANGE PARK   IL      60526‐1346
JEFFREY SOSNOWSKI                177 SUMMERBERRY LN                                                                          NILES            OH      44446‐2135
JEFFREY SOUSLEY                  5375 TRILLIUM CT                                                                            ORCHARD LAKE     MI      48323‐1577
JEFFREY SOVA                     45285 SYCAMORE CT                                                                           SHELBY TWP       MI      48317‐4936
JEFFREY SPANGLER                 1516 BURRUS RD                                                                              ORTONVILLE       MI      48462‐9208
JEFFREY SPECIALTY EQUIPMENT      DEPT CH 17751                                                                               PALATINE         IL      60055‐7751
CORPORATION
JEFFREY SPECIALTY EQUIPMENT IN   398 WILLIS RD                                                                               WOODRUFF         SC      29388‐8955
JEFFREY SPITZER                  6506 ENCLAVE DR                                                                             CLARKSTON        MI      48348‐4858
JEFFREY SPOHN                    2320 W CARLETON RD                                                                          ADRIAN           MI      49221‐9735
JEFFREY SPRAGUE                  13701 HAMERSLEY DR                                                                          BATH             MI      48808‐9410
JEFFREY SPURRIER                 3208 GIDDINGS AVE SE                                                                        GRAND RAPIDS     MI      49508‐2545
JEFFREY STAFFORD                 8411 CLIMBING WAY                                                                           PINCKNEY         MI      48169‐8485
JEFFREY STAJDL                   830 N MILLER RD                                                                             SAGINAW          MI      48609‐4857
JEFFREY STALINSKI                5163 ELMER AVE                                                                              WARREN           MI      48092‐2695
JEFFREY STALLMAN                 2235 PIN OAK CT                                                                             MIAMISBURG       OH      45342‐4546
JEFFREY STANCZYK                 1430 BELL RD                                                                                CHAGRIN FALLS    OH      44022‐4245
JEFFREY STANFIELD                324 C W MOORE RD                                                                            SMITHS GROVE     KY      42171‐9323
JEFFREY STANISZEWSKI             8861 CAVALIER CT                                                                            JENISON          MI      49428‐8642
JEFFREY STANKOFF                 9091 E DEBORAH CT                                                                           LIVONIA          MI      48150‐3312
JEFFREY STANSBURY                14802 DRAYTON DR                                                                            NOBLESVILLE      IN      46062‐8233
JEFFREY STAPLES
JEFFREY STAPLETON                5200 STEVENS RD                                                                             CLARKSTON        MI      48346‐4156
JEFFREY STARKEY                  6449 MCCANDLISH RD                                                                          GRAND BLANC      MI      48439‐9555
JEFFREY STECH                    3220 MONTE BELLA PL                                                                         FRANKLIN         TN      37067‐5872
JEFFREY STEELE                   8002 WOLFF DR                                                                               GARRETTSVILLE    OH      44231‐1067
JEFFREY STEFAN                   909 ELMSFORD DR                                                                             CLAWSON          MI      48017‐1016
JEFFREY STEINER                  5803 EVERETT HULL RD                                                                        FOWLER           OH      44418‐9603
JEFFREY STEINHAUS                1890 HOLLOWBROOK DR                                                                         HOLT             MI      48842‐8639
JEFFREY STEJSKAL
JEFFREY STEPHENS                 7374 TAWAS AVE                                                                              KALAMAZOO        MI      49009‐5944
JEFFREY STEPHENSON               430 HILL ST                                                                                 PORTLAND         MI      48875‐1826
JEFFREY STEPHENSON               6219 N LONDON AVE APT I                                                                     KANSAS CITY      MO      64151‐4789
JEFFREY STEVENS                  1499 ROAT CT                                                                                BURTON           MI      48509‐2036
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Name                        Address1                           Address2                        Address3   Address4               City               State   Zip
JEFFREY STEVENS             5260 N OAK RD                                                                                        DAVISON             MI     48423‐9375
JEFFREY STEVENS             2783 BASELINE RD                                                                                     LESLIE              MI     49251‐9605
JEFFREY STEVENS             6745 YARBOROUGH DR                                                                                   SHELBY TOWNSHIP     MI     48316‐3476
JEFFREY STEVENS             5444 GREENVIEW DR                                                                                    CLARKSTON           MI     48348‐3719
JEFFREY STEWART             1239 BELLFLOWER AVE                                                                                  COLUMBUS            OH     43204‐2229
JEFFREY STEWART             11402 N GENESEE RD                                                                                   CLIO                MI     48420‐9755
JEFFREY STIDHAM             20 FOX PATH DR                                                                                       NEWARK              DE     19711‐2309
JEFFREY STIGALL             1345 BEAL RD                                                                                         MANSFIELD           OH     44903‐9219
JEFFREY STOLL               214 GLENDALE DR                                                                                      TONAWANDA           NY     14150‐4632
JEFFREY STONE               25895 ARCADIA DR                                                                                     NOVI                MI     48374‐2446
JEFFREY STONE               3439 GREENWOOD DR                                                                                    JANESVILLE          WI     53546‐1125
JEFFREY STONEWELL           71 PALAMINO DR                                                                                       ROCHESTER           NY     14623‐4050
JEFFREY STORY               729 CRANSTON RD                                                                                      BELOIT              WI     53511‐2418
JEFFREY STOTT               525 CANAL ST                                                                                         MILFORD             MI     48381‐2023
JEFFREY STOVALL             10514 BARNES RD                                                                                      EATON RAPIDS        MI     48827‐9233
JEFFREY STRANDHOLM          15361 CAMERON ST                                                                                     SOUTHGATE           MI     48195‐3242
JEFFREY STRANG              10484 E GRAND RIVER AVE                                                                              PORTLAND            MI     48875‐8457
JEFFREY STRATTON            6820 HIGHFIELD DR                                                                                    DAYTON              OH     45415‐1532
JEFFREY STRAUSS             3428 MARKINS DR                                                                                      METAMORA            MI     48455‐9347
JEFFREY STRAUSSER           344 HIGH BLUFFS DR                                                                                   ORTONVILLE          MI     48462‐9484
JEFFREY STRAY               23329 APPLE RD                                                                                       WATERFORD           WI     53185‐3808
JEFFREY STRAYER             229 DEKALB ST                                                                                        TONAWANDA           NY     14150‐5411
JEFFREY STRENG              PO BOX 9022                                                                                          WARREN              MI     48090‐9022
JEFFREY STROHSCHEIN         5028 ASHFORD RD                                                                                      CLARKSTON           MI     48348‐2172
JEFFREY STROUP              925 SUMMIT ST NW                                                                                     WARREN              OH     44485‐2817
JEFFREY STUBER              781 SPRINGFIELD DR                                                                                   NORTHVILLE          MI     48167‐1031
JEFFREY STUMP               11060 E DAVID HWY                                                                                    WESTPHALIA          MI     48894‐9796
JEFFREY STUMP               214 SAVANNAH RDG                                                                                     MURFREESBORO        TN     37127‐8303
JEFFREY STUTZ               2285 SMOKEWOOD DR                                                                                    MANSFIELD           OH     44903‐9250
JEFFREY STYERS & ARROW      STRATEGIES LLC                     21415 CIVIC CENTER DR STE 300                                     SOUTHFIELD          MI     48076‐3954
JEFFREY STYRON, ESQ., CSX   14TH FLOOR, J‐150, 500 WATER ST.                                                                     JACKSONVILLE        FL     32202
TRANSPORTATION, INC.
JEFFREY SULIK               48729 TANGLEWOOD DR                                                                                  MACOMB             MI      48044‐2315
JEFFREY SUTLER              127 BEND FARM RD                                                                                     FREDERICKSBURG     VA      22408‐2301
JEFFREY SUTTON              1302 VISTAWOOD DR                                                                                    MANSFIELD          TX      76063‐6284
JEFFREY SWEENEY             860 W THOMAS L PKWY                                                                                  LANSING            MI      48917‐2120
JEFFREY SWEET               15012 WESTPOINT DR                                                                                   STERLING HEIGHTS   MI      48313‐3683
JEFFREY SWORDS              2488 NADINE CIR                                                                                      HINCKLEY           OH      44233‐9695
JEFFREY T ARNOLD            1913 BURBANK DR                                                                                      DAYTON             OH      45406
JEFFREY T BOWERSOCK         6680 SCARBOROUGH CT                                                                                  MORROW             OH      45152
JEFFREY T CARMACK           210 N ALEX RD                                                                                        DAYTON             OH      45449
JEFFREY T CARTWRIGHT        829 WELLMEIER                                                                                        DAYTON             OH      45410‐2906
JEFFREY T CIECIWA           4341 S BURRELL ST                                                                                    MILWAUKEE          WI      53207
JEFFREY T CONE              121 LAMPLIGHTER DR                                                                                   BOWLING GREEN      KY      42104‐6437
JEFFREY T DILLON            3699 SELLARS RD                                                                                      MORAINE            OH      45439
JEFFREY T DOYLE             7640 49TH AVENUE                                                                                     NEW HOPE           MN      55428‐4253
JEFFREY T ELDRIDGE          3558 EASTERN DRIVE                                                                                   BEAVERCREEK        OH      45432
JEFFREY T HOWARD            547 LAMESA DR                                                                                        BLACKLICK          OH      43004
JEFFREY T LAY               1040 ROSE PETAL CT                                                                                   WAYNESVILLE        OH      45068
JEFFREY T LENTZ             4716 N FITZSIMMONS RD                                                                                JANESVILLE         WI      53548‐8852
JEFFREY T MCHUGH            408 CARRLANOS DRIVE                                                                                  KETTERING          OH      45429‐2810
JEFFREY T NELLIS            35 BLUE SPRUCE DRIVE                                                                                 ROCHESTER          NY      14624‐5534
JEFFREY T PURCELL           103 MEGAN TRAIL                                                                                      LEWISBURG          OH      45338‐9336
JEFFREY T PURCELL           103 MEGAN TRL                                                                                        LEWISBURG          OH      45338‐9336
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Name                 Address1                         Address2            Address3         Address4               City               State   Zip
JEFFREY T REETZ      14609 LANDIS VILLA DR                                                                        LOUISVILLE          KY     40245
JEFFREY T SHIPMAN    8800 SHIPMAN RD                                                                              CORUNNA             MI     48817‐9733
JEFFREY TAIT         7378 AIRY VIEW DR                                                                            LIBERTY TOWNSHIP    OH     45044‐8781

JEFFREY TARR         1906 S ROYSTON RD                                                                            EATON RAPIDS       MI      48827‐9094
JEFFREY TATE         2712 RUSTLING OAK BLVD                                                                       HILLIARD           OH      43026‐8942
JEFFREY TATROW       47291 WHIPPOORWILL DR                                                                        MACOMB             MI      48044‐2827
JEFFREY TAYLOR       10 BILDERBACK LN                                                                             PILESGROVE         NJ      08098‐9687
JEFFREY TAYLOR       335 NW 6TH ST                                                                                WILLISTON          FL      32696‐1615
JEFFREY TEARE        2926 ALPHA WAY                                                                               FLINT              MI      48506‐1851
JEFFREY TEARE        3436 TREMONTE CIR N                                                                          OAKLAND TWP        MI      48306‐5003
JEFFREY TEGGERDINE   6560 MABLEY HILL RD                                                                          FENTON             MI      48430‐9421
JEFFREY TEMPLE       4509 JAMES ST                                                                                EAST SYRACUSE      NY      13057‐2113
JEFFREY TERHUNE      4828 E 300 N                                                                                 CRAIGVILLE         IN      46731‐9745
JEFFREY TERRACE      839 RAMBIN RD                                                                                STONEWALL          LA      71078‐4407
JEFFREY TERRY        7781 CONNIE DR                                                                               INDIANAPOLIS       IN      46237‐9573
JEFFREY TESCH        215 LANE AVENUE SOUTHWEST                                                                    GRAND RAPIDS       MI      49504‐6160
JEFFREY TEW          260 OAKBRIDGE DR                                                                             ROCHESTER          MI      48306‐4628
JEFFREY THOMAS       3006 APPLE BLOSSOM LN                                                                        ARLINGTON          TX      76014‐2612
JEFFREY THOMAS       1526 FRANKLIN LN                                                                             COLUMBUS           OH      43229‐1278
JEFFREY THOMAS       16022 SECRETARIAT AVE                                                                        ROSEVILLE          MI      48066‐2339
JEFFREY THOMAS       5620 DUNROVEN CT                                                                             DAWSONVILLE        GA      30534‐8823
JEFFREY THOMASON     2720 WATER VALLEY RD                                                                         SANTA FE           TN      38482‐3339
JEFFREY THOMPSON     2142 OLD LAKE RD                                                                             LEWISBURG          TN      37091‐5240
JEFFREY THOMPSON     3055 LINDA MARIE WAY                                                                         COMMERCE           MI      48390‐1149
                                                                                                                  TOWNSHIP
JEFFREY THOMPSON     20216 ALGER ST                                                                               ST CLR SHORES      MI      48080‐3707
JEFFREY THOMPSON     1298 HIDDEN VIEW DR                                                                          LAPEER             MI      48446‐9325
JEFFREY THOMPSON     635 BRIGHTON LAKE RD                                                                         BRIGHTON           MI      48116‐1724
JEFFREY THOMPSON     9350 MACON HWY                                                                               TECUMSEH           MI      49286‐8631
JEFFREY THORPE       5053 RAYMOND AVE                                                                             BURTON             MI      48509‐1931
JEFFREY THORSBERG    9521 SHADY MEADOW WAY                                                                        NEWALLA            OK      74857‐9067
JEFFREY THUMA        428 CARRIE DR                                                                                FLUSHING           MI      48433‐1922
JEFFREY THURMAN      6125 MAYFIELD DR                                                                             CUMMING            GA      30041‐4134
JEFFREY THURSTON     PO BOX 439                                                                                   BATH               MI      48808‐0439
JEFFREY TIDEY        2610 ROCKS RD                                                                                FOREST HILL        MD      21050‐1502
JEFFREY TIECHE       620 COLUMBUS AVENUE                                                                          SANDUSKY           OH      44870‐2732
JEFFREY TILTON       1898 LEXINGTON AVE                                                                           MANSFIELD          OH      44907‐2911
JEFFREY TIMM         3463 EASTDALE DR                                                                             FLINT              MI      48506‐2263
JEFFREY TITTLE       3760 FAIRWOOD DR                                                                             SYLVANIA           OH      43560‐3910
JEFFREY TODD         1420 HUMMER LAKE RD                                                                          ORTONVILLE         MI      48462‐9441
JEFFREY TODD         PO BOX 132486                                                                                COLUMBUS           OH      43213‐9486
JEFFREY TOLLIVER     8256 WINEGAR RD                                                                              PERRY              MI      48872‐9744
JEFFREY TOMLIN       305 SCARLET PEAK CT                                                                          CRANBERRY TWP      PA      16066‐4845
JEFFREY TOMLINSON    6306 N BELSAY RD                                                                             FLINT              MI      48506‐1202
JEFFREY TORNGA       3095 SUNCHASE AVE                                                                            HUDSONVILLE        MI      49426‐8471
JEFFREY TOWNSEND     2245 MERRITT WAY                                                                             ARLINGTON          TX      76018‐3130
JEFFREY TRACY        8366 JORDAN RD                                                                               GRAND BLANC        MI      48439‐9623
JEFFREY TRAPISS      46700 PARTRIDGE CREEK DR                                                                     MACOMB             MI      48044‐3256
JEFFREY TREVORROW    11419 DELMAR DR                                                                              FENTON             MI      48430‐9018
JEFFREY TRICK        11943 DOGLEG RD                                                                              TIPP CITY          OH      45371‐9500
JEFFREY TRUE         133 DENI DR                                                                                  WATERFORD          MI      48327‐4301
JEFFREY TRUMP        1078 BRISTOL DR                                                                              VANDALIA           OH      45377‐2944
JEFFREY TRUSH        837 W PENINSULA CT                                                                           OXFORD             MI      48371‐6725
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Name                                Address1                          Address2                     Address3   Address4               City               State Zip
JEFFREY TUCKEY                      6381 BEECHWOOD DR                                                                                CASS CITY           MI 48726‐1035
JEFFREY TURIAK                      1012 ASCOT DR                                                                                    MAINEVILLE          OH 45039‐8911
JEFFREY TURNER                      10233 LAKE TAHOE CT                                                                              FORT WAYNE          IN 46804‐6916
JEFFREY TURNER                      PO BOX 328591                                                                                    COLUMBUS            OH 43232‐8591
JEFFREY TURNER                      608 MUIRFIELD CIR                                                                                BOWLING GREEN       KY 42104‐5550
JEFFREY TUTTLE                      29646 WALNUT ST                                                                                  FLAT ROCK           MI 48134‐1363
JEFFREY TYLER                       2506 N FOREST HILL RD                                                                            SAINT JOHNS         MI 48879‐9531
JEFFREY TYMITZ                      72885 SOLANUS DR                                                                                 BRUCE TWP           MI 48065‐3165
JEFFREY ULRICH                      22330 COLONY ST                                                                                  SAINT CLAIR SHORES MI 48080‐2151

JEFFREY UPCHURCH                    1691 BEDFORD SQUARE DR APT 102                                                                   ROCHESTER HIL      MI   48306‐4432
JEFFREY URBAN                       17848 HOLLOWRUN PL                                                                               STRONGSVILLE       OH   44136‐4243
JEFFREY UTSLER                      424 MEADOWVIEW CT                                                                                PENDLETON          IN   46064‐8547
JEFFREY V MCGEE                     PO BOX 3877                                                                                      JACKSON            GA   30233‐0078
JEFFREY VAN ALSTINE                 1471 JEWETT ST                                                                                   ANN ARBOR          MI   48104‐6207
JEFFREY VAN HATTUM                  441 CHERRY ST SE                                                                                 GRAND RAPIDS       MI   49503‐4601
JEFFREY VAN HORN                    8517 E BOWERS LAKE RD                                                                            MILTON             WI   53563‐9384
JEFFREY VANDENBOSSCHE               6371 MARKEL RD                                                                                   COTTRELLVILLE      MI   48039‐2006
JEFFREY VANDEPUTTE                  809A SAVANNAH AVE #555                                                                           MCALLEN            TX   78503‐3003
JEFFREY VANDERKLOK                  307 RYAN CT                                                                                      WALLED LAKE        MI   48390‐3361
JEFFREY VANEIKEN                    147 KIRKCALDY DR                                                                                 ELKTON             MD   21921‐2977
JEFFREY VANOY                       4506 S 100 W                                                                                     ANDERSON           IN   46013‐3638
JEFFREY VANPORTFLEET                8514 JASONVILLE CT SE                                                                            CALEDONIA          MI   49316‐8098
JEFFREY VANWAVE                     C/O BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH   44236
JEFFREY VARGAS                      30 COLLEGE DR                                                                                    AUBURN HILLS       MI   48326‐3009
JEFFREY VAUTER                      1359 LAKESHORE DR                                                                                COLUMBIAVILLE      MI   48421‐9772
JEFFREY VELZY                       35933 CONGRESS RD                                                                                FARMINGTON HILLS   MI   48335‐1227

JEFFREY VISCOUNT                    400 GEDDES ST                                                                                    WILMINGTON         DE   19805‐3717
JEFFREY VITALE                      3109 PEARL DR                                                                                    NEW CASTLE         PA   16105‐1367
JEFFREY VORWERCK                    47 MISSOURI AVE                                                                                  DAYTON             OH   45410‐2013
JEFFREY VRBA                        229 SPENCER ST                                                                                   HELENA             MT   59601‐5780
JEFFREY W BOWEN                     128 CHAMPION ST W.                                                                               WARREN             OH   44483‐1414
JEFFREY W CARBONE                   30 STEWART AVE                                                                                   HUNTINGTON         NY   11743‐2772
JEFFREY W CROWLEY                   1467 W JUDD RD                                                                                   FLINT              MI   48507‐3656
JEFFREY W ELLIOTT                   3275 SUNRISE WAY                                                                                 BELLBROOK          OH   45305
JEFFREY W HAAS                      932 ST ANDREWS DR                                                                                MALVERN            PA   19355
JEFFREY W HALL                      99 ARLINGTON DR                                                                                  FRANKLIN           OH   45005‐1573
JEFFREY W MARSHALL                  3745 BEAL RD                                                                                     FRANKLIN           OH   45005
JEFFREY W MASON                     4700 S CRYSLER AVE                                                                               INDEPENDENCE       MO   64055‐5725
JEFFREY W MICHEL                    5700 SWAN DRIVE                                                                                  CLAYTON            OH   45315‐9614
JEFFREY W MILLER                    958 FRANCIS AVE. SE                                                                              WARREN             OH   44484‐‐ 43
JEFFREY W MURRAY                    2912 ROYALSTON AVE.                                                                              KETTERING          OH   45419
JEFFREY W PENKSA                    498 TICETOWN RD                                                                                  OLD BRIDGE         NJ   08857‐3557
JEFFREY W STEVENS                   10226 BROOKS CARROLL ROAD                                                                        WAYNESVILLE        OH   45068‐8662
JEFFREY W TALLMAN                   20316 HUGH                                                                                       LIVONIA            MI   48152
JEFFREY W TESCH                     215 LANE AVENUE SOUTHWEST                                                                        GRAND RAPIDS       MI   49504‐6160
JEFFREY W TURNER                    4184 W FRANKLIN ST                                                                               BELLBROOK          OH   45305
JEFFREY W WEBER                     9926 CHADWICK CT                                                                                 FORT WAYNE         IN   46818‐8461
JEFFREY W YEAGER                    1621 FORWARD PASS CT                                                                             INDIANAPOLIS       IN   46217‐4416
JEFFREY W. DAVIS, ESQ., HISCOCK &   ONE PARK PLACE, 300 SOUTH STATE                                                                  SYRACUSE           NY   13202
BARCLAY LLP                         STREET
JEFFREY WADE                        2147 RIVERSIDE DR                                                                                LAKEWOOD           OH   44107‐5362
JEFFREY WADE                        10809 N WHEELING AVE                                                                             MUNCIE             IN   47304‐9073
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Name                  Address1                           Address2         Address3         Address4               City               State Zip
JEFFREY WAGMAN
JEFFREY WAGNER        3211 ROSALIE ANN CT                                                                         CLIO               MI    48420‐1993
JEFFREY WAGNER        620 COVE VIEW DR                                                                            WATERFORD          MI    48327‐3791
JEFFREY WAGNER        1109 MITCHELL AVE                                                                           LANSING            MI    48917‐2253
JEFFREY WAITE         3724 CURRY LN                                                                               JANESVILLE         WI    53546‐3427
JEFFREY WALDRON       1353 BROOKFIELD RD                                                                          HUBBARD            OH    44425‐3066
JEFFREY WALKER        11529 STONE BLUFF DR                                                                        GRAND LEDGE        MI    48837‐2289
JEFFREY WALL          4921 MULLIGAN CIR                                                                           SHREVEPORT         LA    71107‐3480
JEFFREY WALLACE       5502 STICKNEY AVE                                                                           CLEVELAND          OH    44144‐3873
JEFFREY WALLACE       408 OLD MOUNT PLEASANT SCHOOL RD                                                            ALVATON            KY    42122‐8622

JEFFREY WALLS         6287 GARNET LN                                                                              GRAND BLANC        MI    48439‐7824
JEFFREY WALTER        5023 SANDALWOOD DR                                                                          GRAND BLANC        MI    48439‐4261
JEFFREY WALTERHOUSE   3488 BLUE LAKE DR                                                                           FLINT              MI    48506‐2063
JEFFREY WALTON        13930 MESSENGER BAY                                                                         FORT WAYNE         IN    46845‐9175
JEFFREY WARD          2043 CUMBERLAND DR                                                                          BRIGHTON           MI    48114‐8994
JEFFREY WARDA         1301 VERNOR RD                                                                              LAPEER             MI    48446‐8797
JEFFREY WARDEN        5671 OLIVE TREE DR                                                                          TROTWOOD           OH    45426‐1312
JEFFREY WARE          PO BOX 1442                                                                                 ANDERSON           IN    46015‐1442
JEFFREY WARGO         9597 NEWTON FALLS RD                                                                        RAVENNA            OH    44266‐9286
JEFFREY WARNER        8334 N OAK RIDGE DR                                                                         MILTON             WI    53563‐9356
JEFFREY WARNER        3050 PHILLIPS RD                                                                            AUBURN HILLS       MI    48326‐1946
JEFFREY WARNING       2106 LOVE RD                                                                                GRAND ISLAND       NY    14072‐2534
JEFFREY WARREN        1067 FERNWOOD DR                                                                            LOCKPORT           NY    14094‐7116
JEFFREY WASHBURN      420 BALDWIN AVE APT 78                                                                      ROCHESTER          MI    48307‐2117
JEFFREY WATKINS       1661 WITT HILL DR                                                                           SPRING HILL        TN    37174‐2467
JEFFREY WATSON        4350 S REED RD                                                                              DURAND             MI    48429‐9760
JEFFREY WATSON        5277 ROSSITER AVE                                                                           WATERFORD          MI    48329‐1761
JEFFREY WATSON        3218 OUTDOOR RD                                                                             MORAINE            OH    45439‐1316
JEFFREY WATT          511 CHAPEL CT                                                                               HOCKESSIN          DE    19707‐9706
JEFFREY WATTS         3587 VINEYARD SPRINGS CT                                                                    ROCHESTER HILLS    MI    48306‐2254
JEFFREY WAWRZYNSKI    2571 PEBBLE BEACH DRIVE                                                                     OAKLAND            MI    48363‐2448
JEFFREY WEAVER        2600 TRILLIUM HILLS DR                                                                      COMMERCE           MI    48382‐2196
                                                                                                                  TOWNSHIP
JEFFREY WEBB          4824 S PORTSMOUTH RD                                                                        BRIDGEPORT          MI   48722‐9743
JEFFREY WEBB          316 DUTTON ST                                                                               EATON RAPIDS        MI   48827‐1510
JEFFREY WEBB          6049 FARLEY RD                                                                              CLARKSTON           MI   48346‐1837
JEFFREY WEBER         9926 CHADWICK CT                                                                            FORT WAYNE          IN   46818‐8461
JEFFREY WEBER         1401 BURLINGTON CT                                                                          TEMPERANCE          MI   48182‐1276
JEFFREY WEEKS         5185 DON SHENK DR                                                                           SWARTZ CREEK        MI   48473‐1207
JEFFREY WEFEL         4229 W COLLEGE AVE                                                                          FRANKLIN            WI   53132
JEFFREY WEHKING       89 PINE RIDGE DR                                                                            WHISPERING PINES    NC   28327‐9482

JEFFREY WEIGAND       525 CRYSTALIA ST                                                                            COMMERCE TWP       MI    48382‐2531
JEFFREY WELLS         2419 ARMSTRONG DR                                                                           ORION              MI    48360‐1910
JEFFREY WELLS         1107 LAKEVIEW DR                                                                            LAKE ODESSA        MI    48849‐1298
JEFFREY WELLS         8179 STATE ROUTE 5                                                                          KINSMAN            OH    44428‐9728
JEFFREY WERDEN        1737 LUCRETIA DR                                                                            GIRARD             OH    44420‐1252
JEFFREY WERNER        7367 E RONRICK PL                                                                           FRANKENMUTH        MI    48734‐9110
JEFFREY WERNER        PO BOX 422                                                                                  ALLEN PARK         MI    48101‐0422
JEFFREY WERTHMAN      1936 OLDTOWN AVE                                                                            W BLOOMFIELD       MI    48324‐1263
JEFFREY WESLOCK       12821 GRATIOT RD                                                                            SAGINAW            MI    48609‐9657
JEFFREY WEST          416 MICHELLE DR                                                                             WASHINGTON         MO    63090‐5231
JEFFREY WESTERHOUT    25 DORIS AVE                                                                                O FALLON           MO    63368‐7009
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Name                   Address1                         Address2                  Address3   Address4               City               State   Zip
JEFFREY WESTLING       2367 PARK AVE                                                                                BELOIT              WI     53511‐2441
JEFFREY WETHERFORD     1469 KENNEBEC RD                                                                             GRAND BLANC         MI     48439‐4979
JEFFREY WHITACRE       758 HYDE SHAFFER RD                                                                          BRISTOLVILLE        OH     44402‐9797
JEFFREY WHITING        3700 HAYMEADOW RD                                                                            FRANKSVILLE         WI     53126‐9477
JEFFREY WHITSON        601 WASHINGTON ST                                                                            OLIVET              MI     49076‐9453
JEFFREY WHITT          1244 SMITH JACKSON RD                                                                        PROSPECT            TN     38477‐6709
JEFFREY WIEBER         10973 W KINLEY RD                                                                            FOWLER              MI     48835‐9714
JEFFREY WIER           3517 E ROLSTON RD                                                                            LINDEN              MI     48451‐9442
JEFFREY WILLEM         11717 PLEASANT WALK RD                                                                       MYERSVILLE          MD     21773‐9207
JEFFREY WILLHOFT       25530 LYNCASTLE ST                                                                           FARMINGTON HILLS    MI     48336‐1573

JEFFREY WILLIAMS       906 MCKEIGHAN AVE                                                                            FLINT              MI      48507‐2861
JEFFREY WILLIAMS       3178 BRIDLEWOOD DR                                                                           ROCHESTER          MI      48306‐1485
JEFFREY WILLIAMS       2672 CORAL DR                                                                                TROY               MI      48085‐3955
JEFFREY WILLIAMSON     59425 ANNAH DR                                                                               NEW HUDSON         MI      48165‐9406
JEFFREY WILLIS         1434 VANCOUVER DR                                                                            DAYTON             OH      45406‐4746
JEFFREY WILLIS         15783 TRUMBULL DR                                                                            MACOMB             MI      48044‐5018
JEFFREY WILLIS         1434 VANCOUVER DR                                                                            DAYTON             OH      45406‐4746
JEFFREY WILSON         3174 GULFSTREAM DR                                                                           SAGINAW            MI      48603‐4808
JEFFREY WILSON         1022 PARK AVE                                                                                MEDINA             NY      14103‐1030
JEFFREY WILSON         409 N MAIN ST                                                                                ORFORDVILLE        WI      53576‐9448
JEFFREY WILSON         375 ADAMS RD                                                                                 SHELBYVILLE        TN      37160‐6455
JEFFREY WILSON         324 ALHAMBRA ST                                                                              PONTIAC            MI      48341‐1090
JEFFREY WINDSOR        6002 WHITEACRE RD                                                                            TOLEDO             OH      43615‐1031
JEFFREY WING           3206 N 494 W                                                                                 HUNTINGTON         IN      46750‐9019
JEFFREY WINGER         68 FAIRVIEW W                                                                                TEQUESTA           FL      33469‐1909
JEFFREY WISE           4877 SHABBONA RD                                                                             CASS CITY          MI      48726‐9348
JEFFREY WISKIA         4026 RUGER AVE                                                                               JANESVILLE         WI      53546‐2072
JEFFREY WISSINGER      4881 OLD PLANK ROAD                                                                          ORWELL             OH      44076
JEFFREY WOERNER        139 DUNELLEN AVE                                                                             DUNELLEN           NJ      08812‐1229
JEFFREY WOLAK          4044 PLEASANT VALLEY RD                                                                      BRIGHTON           MI      48114‐9213
JEFFREY WOLFRUM        26741 KATHERINE ST                                                                           WIND LAKE          WI      53185‐2023
JEFFREY WOLVERTON      8277 SHARP RD                                                                                SWARTZ CREEK       MI      48473‐9132
JEFFREY WOOD           181 HILLTOP DR                                                                               GUNTERSVILLE       AL      35976‐8407
JEFFREY WOOD           805 S STATE ST LOT 5                                                                         PIONEER            OH      43554‐9781
JEFFREY WOOD           3088 ISLAND HWY                                                                              CHARLOTTE          MI      48813‐9317
JEFFREY WOODALL        8216 GRAND PALM BLVD                                                                         PANAMA CITY        FL      32408‐5219
                                                                                                                    BEACH
JEFFREY WOODALL        7969 COUNTY ROAD 214                                                                         TRINITY            AL      35673‐4535
JEFFREY WOODHOUSE      333 GROVE PARK RD                                                                            BALTIMORE          MD      21225‐2612
JEFFREY WOODRICH, PT   2100 UNION RD                                                                                WEST SENECA        NY      14224‐1400
JEFFREY WOODWARD       8356 LEWIS RD                                                                                MOUNT MORRIS       MI      48458‐1256
JEFFREY WOODWORTH      70958 BRANDE CREEK DR            C/O DORRIENE M KAMINSKI                                     EDWARDSBURG        MI      49112‐9105
JEFFREY WORCESTER      12061 LOVERS LANE RD                                                                         SPENCER            OH      44275‐9547
JEFFREY WORKMAN
JEFFREY WORMALD        3 GUILFORD AVE                                                                               METHUEN            MA      01844‐4161
JEFFREY WORTHAM        PO BOX 173                                                                                   UNIONVILLE         TN      37180‐0173
JEFFREY WRAY           533 AUTUMN CT                                                                                BROWNSTOWN         IN      47220‐1965
JEFFREY WREN           425 ORCHARD DR                                                                               SPRINGBORO         OH      45066‐8939
JEFFREY WRIGHT         4910 W FREDERICK GARLAND RD                                                                  WEST MILTON        OH      45383‐8792
JEFFREY WRIGHT         2884 ROWAN BLVD                                                                              WATERFORD          MI      48329‐2840
JEFFREY WRIGHT         2681 MARION AVENUE RD                                                                        MANSFIELD          OH      44903‐9406
JEFFREY WRIGHT         PO BOX 2012                                                                                  SPRING HILL        TN      37174‐2012
JEFFREY WRIGHT         3683 FOREST SPRING DR                                                                        LAKE ORION         MI      48359‐1590
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Name                    Address1                       Address2                       Address3   Address4               City               State Zip
JEFFREY WROBLEWSKI      13861 DIVERSION DR                                                                              STERLING HEIGHTS    MI 48313‐4203
JEFFREY WRONA           PO BOX 9022                    C/O GMPT EUROPE                                                  WARREN              MI 48090‐9022
JEFFREY WYDNER          130 MEADOWBROOK DR                                                                              HAMPSHIRE           TN 38461‐5134
JEFFREY WYRO            905 ELLSWORTH LN APT 6106                                                                       ARLINGTON           TX 76006
JEFFREY XIE             2802 CONTINENTAL DR                                                                             TROY                MI 48083‐5753
JEFFREY YAKLIN          2424 BULLOCK RD                                                                                 BAY CITY            MI 48708‐9653
JEFFREY YANCEY          1413 POTTER DR                                                                                  COLUMBIA            TN 38401‐9219
JEFFREY YANSSENS        31233 BURTON ST                                                                                 SAINT CLAIR SHORES MI 48082‐1464

JEFFREY YEAGER          48558 MONTELEPRE DR                                                                             SHELBY TOWNSHIP   MI    48315‐4156
JEFFREY YEAGER          1621 FORWARD PASS CT                                                                            INDIANAPOLIS      IN    46217‐4416
JEFFREY YODER           1509 WOODMERE PL                                                                                BAY CITY          MI    48708‐5542
JEFFREY YOUNG           3517 LOWCROFT AVE                                                                               LANSING           MI    48910‐0414
JEFFREY YOUNG           2161 HILLWOOD DR                                                                                DAVISON           MI    48423‐9572
JEFFREY YOUNG           1180 SHARON DR                                                                                  FLORISSANT        MO    63031‐3935
JEFFREY YOUNG           7113 DUCK CREEK RD                                                                              BERLIN CENTER     OH    44401‐9634
JEFFREY YOUNG           1977 WATSON CIR                                                                                 ROCHESTER         MI    48306‐4806
JEFFREY ZACHOW          PO BOX 3                                                                                        AFTON             WI    53501‐0003
JEFFREY ZAFFINA         4316 LAHRING RD                                                                                 HOLLY             MI    48442‐9712
JEFFREY ZAJKO           3155 FARLEY RD                                                                                  ALMONT            MI    48003‐8104
JEFFREY ZALESKI         122 EDINBURG STREET                                                                             NEWARK            DE    19702‐4188
JEFFREY ZAWACKI         4535 MOUNTAIN VIEW TRL                                                                          CLARKSTON         MI    48348‐2346
JEFFREY ZDUNIC          7435 S. M‐52                                                                                    OWOSSO            MI    48867
JEFFREY, AMY S          8510 HILLSBORO PL                                                                               SUGAR LAND        TX    77479‐6454
JEFFREY, ANDREW         20 HAMILTON RD                                                                                  WOBURN            MA    01801‐2327
JEFFREY, BRUCE D        9532 STRATFORD CIR                                                                              LAINGSBURG        MI    48848‐9211
JEFFREY, CARL A         9533 PINE KNOB RD                                                                               CLARKSTON         MI    48348‐2139
JEFFREY, CARL L         3817 FREMAR RD NE                                                                               LANCASTER         OH    43130‐9128
JEFFREY, CARLA          PO BOX 893                                                                                      VACHERIE          LA    70090‐0893
JEFFREY, CAROL A        PO BOX 377                                                                                      HARTLAND          MI    48353‐0377
JEFFREY, CAROL ANN      PO BOX 377                                                                                      HARTLAND          MI    48353‐0377
JEFFREY, CHARLES        BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD        OH    44067
                                                       PROFESSIONAL BLDG
JEFFREY, DELORIS J      307 CLARK ST                                                                                    RICHMOND          MO    64085
JEFFREY, EDWARD M       7741 TERNES ST                                                                                  DEARBORN          MI    48126‐1017
JEFFREY, FREDERICK R    RURAL ROUTE 2 BOX 103B                                                                          WORTHINGTON       IN    47471
JEFFREY, FREDERICK R    RR 2 BOX 103B                                                                                   WORTHINGTON       IN    47471‐9732
JEFFREY, GALE           100 EVERETT AVE                                                                                 CHELSEA           MA    02150
JEFFREY, HUEY JANICE    MOODY EDWARD O                 801 W 4TH ST                                                     LITTLE ROCK       AR    72201‐2107
JEFFREY, JACK B         12186 LAKE RD                                                                                   MONTROSE          MI    48457‐9442
JEFFREY, JAMES A        880 HEMINGWAY RD                                                                                LAKE ORION        MI    48362‐2635
JEFFREY, JAMES E        2445 LYNN AVENUE                                                                                DAYTON            OH    45406‐1923
JEFFREY, JAMES E        7030 CARLSON RD                                                                                 SHERIDAN          MI    48884‐9210
JEFFREY, JAMES EUGENE   2445 LYNN AVE                                                                                   DAYTON            OH    45406
JEFFREY, JEAN K         39617 COBRIDGE DRIVE                                                                            CLINTON TWP       MI    48038‐2765
JEFFREY, JERALD L       206 VINITA PL                                                                                   LOUDON            TN    37774‐3144
JEFFREY, JOHN A         11350 WOODSTOCK RD             ST.GEORGE VILLAGE              APT 2208                          ROSWELL           GA    30075‐7529
JEFFREY, JOHN E         2369 GUNN RD                                                                                    HOLT              MI    48842‐1041
JEFFREY, JOHN W         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA    23510‐2212
                                                       STREET, SUITE 600
JEFFREY, JUNE           2369 GUNN RD                                                                                    HOLT               MI   48842‐1041
JEFFREY, KRISTINE K     8580 E D AVE                                                                                    RICHLAND           MI   49083‐9475
JEFFREY, LAURA A        10831 WHITE OAK AVE                                                                             GRANADA HILLS      CA   91344‐4615
JEFFREY, MARGARET L     1094 NICKLAUS DR                                                                                TROY               MI   48085‐3308
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Name                                    Address1                             Address2                         Address3   Address4               City               State Zip
JEFFREY, MARIANNA                       1002 S SPRING AVE                                                                                       LAGRANGE             IL 60525‐2759
JEFFREY, MARY                           PO BOX 40                                                                                               HARTLAND            MI 48353‐0040
JEFFREY, MARY M                         12186 LAKE RD                                                                                           MONTROSE            MI 48457‐9442
JEFFREY, PAMALA D                       1325 S SEYMOUR RD                                                                                       FLINT               MI 48532‐5518
JEFFREY, PATRICIA A.                    22407 NORCREST DR                                                                                       SAINT CLAIR SHORES MI 48080‐2528

JEFFREY, PATRICIA H                     641 THIRD                                                                                               PONTIAC            MI   48340‐2009
JEFFREY, PATRICIA H                     641 3RD AVE                                                                                             PONTIAC            MI   48340‐2009
JEFFREY, PATRICIA J                     2769 CEDAR AVE                                                                                          SAINT HELEN        MI   48656‐9625
JEFFREY, PATRICIA J                     2769 CEDAR                                                                                              ST. HELENE         MI   48656‐9625
JEFFREY, PHILIP J                       5704 N 180TH LN 81                                                                                      LITCHFIELD PARK    AZ   85340
JEFFREY, RICHARD C                      5039 W SANILAC RD BOX 129                                                                               VASSAR             MI   48768
JEFFREY, ROBERT V                       13251 MCCUMSEY RD                                                                                       CLIO               MI   48420‐7914
JEFFREY, ROBERT VERN                    13251 MCCUMSEY RD                                                                                       CLIO               MI   48420‐7914
JEFFREY, ROBIN A                        2907 MINERAL SPRINGS RD                                                                                 BOYDTON            VA   23917‐4451
JEFFREY, SCOTT R                        PO BOX 377                                                                                              HARTLAND           MI   48353‐0377
JEFFREY, WARREN A                       3311 TALLYWOOD CT                                                                                       SARASOTA           FL   34237‐3224
JEFFREY, WAYNE H                        9110 HOLLOWAY RD                                                                                        BRITTON            MI   49229‐9758
JEFFREYS LEON                           PO BOX 71667                                                                                            NEWNAN             GA   30271‐1667
JEFFREYS, BRENDA                        2718 KING ARTHUR CT S W                                                                                 DECATUR            AL   35603‐4430
JEFFREYS, DARRELL W                     2862 WOLCOTT ST                                                                                         FLINT              MI   48504‐7514
JEFFREYS, DAVID H                       748 REDWOOD CIR                                                                                         COLUMBIA           TN   38401‐6036
JEFFREYS, HELEN                         241 W MT CARMEL RD                                                                                      CANEY              OK   74533‐2406
JEFFREYS, HELEN                         241 WEST MOUNT CARMEL RD                                                                                CANEY              OK   74533
JEFFREYS, HESKEL L                      2718 KING ARTHUR CT SW                                                                                  DECATUR            AL   35603‐4430
JEFFREYS, LESLIE W                      1650 GARGIS LN                                                                                          TUSCUMBIA          AL   35674‐6017
JEFFREYS, MARY ELLEN                    PO BOX 1315                                                                                             EAST LANSING       MI   48826‐1315
JEFFREYS, ROBERT J                      291 E SHERWOOD RD                                                                                       WILLIAMSTON        MI   48895‐9323
JEFFREYS, VIVIAN H                      PO BOX 92                                                                                               BETHANY            LA   71007‐0092
JEFFRIE SCOTT                           1800 W M 21                                                                                             OWOSSO             MI   48867‐9310
JEFFRIE SPANN                           C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY STE 600                                          HOUSTON            TX   77007
                                        BOUNDAS LLP
JEFFRIES BEN                            7425 S DANTE AVE                                                                                        CHICAGO            IL   60619‐2118
JEFFRIES CHESTER (ESTATE OF) (516474)   BARON & BUDD                         3102 OAK LANE AVE , SUITE 1100                                     DALLAS             TX   75219

JEFFRIES DONALD R                       C/O MCKENNA & CHIODO                 436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH         PA   15219
                                                                             SUITE 500
JEFFRIES DONALD R (507018)              (NO OPPOSING COUNSEL)
JEFFRIES ENRIQUE                        JEFFRIES, ENRIQUE                    639 E SAINT CATHERIEN ST                                           LOUISVILLE         KY   40203
JEFFRIES GEORGE T (498270)              GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                        NORFOLK            VA   23510
                                                                             STREET, SUITE 600
JEFFRIES HERBERT D (468220)             OBRIEN LAW FIRM                      1 METROPOLITAN SQ STE 1500                                         SAINT LOUIS        MO   63102‐2799
JEFFRIES JAMES (ESTATE OF) (461234)     HOBIN RICHARD D; SHINGLER RONALD J   1011 A ST                                                          ANTIOCH            CA   94509‐2323

JEFFRIES JILL                           123 CAHILLE DR                                                                                          WINCHESTER         VA   22602‐6797
JEFFRIES JR, CHARLES                    6878 STRATHAM RD                                                                                        TEMPERANCE         MI   48182‐2214
JEFFRIES JR, ROBERT L                   4065 S TOWERLINE RD                                                                                     BRIDGEPORT         MI   48722‐9545
JEFFRIES JR, SAM                        1316 6TH ST S                                                                                           COLUMBUS           MS   39701‐7312
JEFFRIES JR, WARREN C                   940 LIVERMORE LN                                                                                        ELYRIA             OH   44035‐3014
JEFFRIES ROBERT (445482)                BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD         OH   44067
                                                                             PROFESSIONAL BLDG
JEFFRIES, ALAN R                        4399 DEPOT DRIVE                                                                                        SWARTZ CREEK       MI   48473‐1403
JEFFRIES, ALICE M                       36226 M 140 HIGHWAY                                                                                     COVERT             MI   49043‐9701
JEFFRIES, ANEATRA                       8919 N AMBOY DR                                                                                         CITRUS SPRINGS     FL   34433‐4301
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Name                      Address1                             Address2                        Address3   Address4               City             State   Zip
JEFFRIES, ANNA M          4851 WEST GANDY BLVD                 B11L23                                                            TAMPA             FL     33611
JEFFRIES, ANNA M          LOT B1123                            4851 WEST GANDY BOULEVARD                                         TAMPA             FL     33611‐3079
JEFFRIES, BEVERLY D       17191 WORMER ST                                                                                        DETROIT           MI     48219‐3628
JEFFRIES, BRANDAE J       272 SMITH ST                                                                                           DAYTON            OH     45408‐2039
JEFFRIES, CHARLES L       569 CONNOR DR                                                                                          MANSFIELD         OH     44905‐2026
JEFFRIES, CLARA M         PO BOX 1923                                                                                            YOUNGSTOWN        OH     44506‐0023
JEFFRIES, CLARENCE        2366 COUNTRY CLUB DR SW                                                                                ATLANTA           GA     30311‐5321
JEFFRIES, CONNIE L        PO BOX 75                                                                                              OAKFORD           IN     46965‐0075
JEFFRIES, DANA B          941 GOLF DRIVE #C                                                                                      CARMEL            IN     46032
JEFFRIES, DANNY E         3800 W 28TH ST                                                                                         MUNCIE            IN     47302‐4927
JEFFRIES, DANNY F         5134 PAWNEE RD                                                                                         TOLEDO            OH     43613‐2416
JEFFRIES, DAVID J         PO BOX 87                                                                                              CENTRAL SQ        NY     13036‐0087
JEFFRIES, DAVID P         12112 RANCHO VISTOSO                 SUITE 150 PMB‐146                                                 ORO VALLEY        AZ     85755
JEFFRIES, DEBORAH
JEFFRIES, DEBORAH M       2570 W CROSSLAND DR                                                                                    MERIDIAN         ID      83646
JEFFRIES, DEBRA           2723 GLENWOOD AVE                                                                                      SAGINAW          MI      48601
JEFFRIES, DENIECE M       569 CONNOR DR                                                                                          MANSFIELD        OH      44905‐2026
JEFFRIES, DIETRICH        3134 CHILI AVE                                                                                         ROCHESTER        NY      14624‐4535
JEFFRIES, DONALD P        2370 EASTRIDGE DR                                                                                      HAMILTON         OH      45011‐2009
JEFFRIES, DONALD R        THE LIPMAN LAW FIRM                  5915 PONCE DE LEON BLVD         SUITE 44                          CORAL GABLES     FL      33146
JEFFRIES, DONALD R        MCKENNA & CHIDO                      436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH       PA      15219
                                                               SUITE 500
JEFFRIES, EARL T          40 BUONOMO ST 14621                                                                                    ROCHESTER        NY      14621
JEFFRIES, EDDIE L         1795 FOSTER AVE                                                                                        MEMPHIS          TN      38114‐1949
JEFFRIES, ENRIQUE         639 E SAINT CATHERINE ST                                                                               LOUISVILLE       KY      40203‐3409
JEFFRIES, FERNANDINZ A    4143 WINDWARD DR                                                                                       LANSING          MI      48911‐2507
JEFFRIES, FURMAN D        5521 BEDELL RD                                                                                         BERLIN CENTER    OH      44401‐9723
JEFFRIES, GEORGE          40 BROOKDALE CIR                                                                                       NEW ROCHELLE     NY      10801‐2041
JEFFRIES, GEORGE T        GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA      23510‐2212
                                                               STREET, SUITE 600
JEFFRIES, GLENDA L        1612 PLEASANT DR                                                                                       KOKOMO           IN      46902‐5852
JEFFRIES, GREGORY M       1360 CLOVERNOOK DR                                                                                     HAMILTON         OH      45013‐3877
JEFFRIES, HERBERT D       OBRIEN LAW FIRM                      1 METROPOLITAN SQ STE 1500                                        SAINT LOUIS      MO      63102‐2799
JEFFRIES, HERBERT L       3823 MAYBEL ST                                                                                         LANSING          MI      48911‐2834
JEFFRIES, HERMAN          7229 INDIAN TRACE RD                                                                                   CENTERVILLE      TN      37033‐4042
JEFFRIES, HOWARD F        9944 N COUNTY ROAD 850 W                                                                               DALEVILLE        IN      47334‐9501
JEFFRIES, HOWARD Z        3134 CHILI AVE                                                                                         ROCHESTER        NY      14624‐4535
JEFFRIES, IRENE F         12910 CANTERBURY DR                                                                                    STERLING HTS     MI      48312‐3213
JEFFRIES, IVY             5531 LEXINGTON CIR                                                                                     PORTAGE          MI      49002
JEFFRIES, JAMES           HOBIN RICHARD D; SHINGLER RONALD J   1011 A ST                                                         ANTIOCH          CA      94509‐2323

JEFFRIES, JAMES R         1612 PLEASANT DR                                                                                       KOKOMO           IN      46902‐5852
JEFFRIES, JAMES R         115 W SOUTH ST                                                                                         RICHMOND         MO      64085‐2141
JEFFRIES, JONATHAN P      1946 ECHO WOODS DR                                                                                     CANTON           MI      48188‐4815
JEFFRIES, JOSEPH K        9861 E STATE ROAD 234                                                                                  NEW ROSS         IN      47968‐8024
JEFFRIES, KATHLEEN R      1587 LOVE ROAD                                                                                         GRAND ISLAND     NY      14072‐2308
JEFFRIES, KATHLEEN R      1587 LOVE RD                                                                                           GRAND ISLAND     NY      14072‐2308
JEFFRIES, LENA J          109 SLEETH MILL CIRCLE                                                                                 NORTH SYRACUSE   NY      13212‐2473
JEFFRIES, LORRAINE        19189 LESURE STREET                                                                                    DETROIT          MI      48235‐1723
JEFFRIES, MABLE V         1343 E HARVARD AVE                                                                                     FLINT            MI      48505‐1716
JEFFRIES, MABLE VERNITA   1343 E HARVARD AVE                                                                                     FLINT            MI      48505‐1716
JEFFRIES, MARY E          135 INDEPENDENCE ST                                                                                    PERRYOPOLIS      PA      15473‐5383
JEFFRIES, MARY E          135 INDEPENDECE                                                                                        PERRYOPOLIS      PA      15473‐5383
JEFFRIES, MATTIE B        25 SPRING VALLEY COVE                                                                                  COVINGTON        GA      30016‐8237
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Name                         Address1                      Address2                     Address3   Address4               City               State   Zip
JEFFRIES, MICHAEL L          6637 E COUNTY RD              600S                                                           PLAINFIELD          IN     46168
JEFFRIES, OPHELIA P          2260 EAST 100 ST                                                                             CLEVELAND           OH     44106‐3502
JEFFRIES, PADILLIA L         2125 CLAYTON DR                                                                              FLOWER MOUND        TX     75028‐2674
JEFFRIES, PATRICIA C         4511 W 38TH ST                                                                               ANDERSON            IN     46011‐9789
JEFFRIES, PAUL J             1222 N ELM ST                                                                                FAIRMOUNT           IN     46928‐1137
JEFFRIES, RACHAEL A          1105 GLENDALE STREET                                                                         BURTON              MI     48509‐1937
JEFFRIES, RALPH E            11267 SW 78TH CIR                                                                            OCALA               FL     34476‐9329
JEFFRIES, RAQUELIA G         401 GREEN OAKS CT APT 2077                                                                   ARLINGTON           TX     76006‐2481
JEFFRIES, RAQUELIA GERALYN   4221 GLADNEY LN                                                                              FORT WORTH          TX     76244
JEFFRIES, RICHARD E          1508 N ELLSWORTH AVE                                                                         SALEM               OH     44460‐1125
JEFFRIES, ROBERT L           2908 GREENBELT DR                                                                            LANSING             MI     48911‐2365
JEFFRIES, ROBERT T           1036 GREYSTONE MANOR PKWY A                                                                  CHESTERFIELD        MO     63005
JEFFRIES, RONALD W           4851 W GANDY BVD 11LOT23                                                                     TAMPA               FL     33611
JEFFRIES, RONALD W           3507 SOLLERS POINT RD                                                                        BALTIMORE           MD     21222‐6054
JEFFRIES, ROY P              11045 STATE ROUTE 93                                                                         JACKSON             OH     45640‐8917
JEFFRIES, SHARON K           7624 S COUNTY RD 400 W                                                                       JAMESTOWN           IN     46147
JEFFRIES, TAMARCUS L         922 ROME                                                                                     ROCHESTER HLS       MI     48307‐2498
JEFFRIES, TERRY L            144 DIVISION AVE S                                                                           GRAND RAPIDS        MI     49503‐4216
JEFFRIES, THOMAS H           504 W MIDLOTHIAN BLVD                                                                        YOUNGSTOWN          OH     44511‐3262
JEFFRIES, TIFFANY L          8133 E BRISTOL RD                                                                            DAVISON             MI     48423‐8716
JEFFRIES, TIMOTHY E          43184 LEEDS CT                                                                               CANTON              MI     48188‐1920
JEFFRIES, TIMOTHY EUGENE     43184 LEEDS CT                                                                               CANTON              MI     48188‐1920
JEFFRIES, VERNIA E           1325 E MT MORRIS RD                                                                          MT MORRIS           MI     48458
JEFFRIES, VICTOR             3724 CHESAPEAKE BLVD                                                                         LAKE HAVASU CITY    AZ     86406‐4350
JEFFRIES, VIVIAN A           18 MARY JANE CT                                                                              SAGINAW             MI     48602‐3150
JEFFRIES, WELTON             PO BOX 80164                                                                                 LANSING             MI     48908‐0164
JEFFRIES, WILLIAM R          4851 W GANDY BLVD APT 30                                                                     TAMPA               FL     33611‐3048
JEFFRIES, WILLIAM T          625 JEFFERIES RD                                                                             SHADY DALE          GA     31085‐3304
JEFFRIES, YVONNE             9540 LEWIS AND CLARK BLVD     RE SAM JEFFRIES 913‐4187‐A                                     SAINT LOUIS         MO     63136‐5202
JEFFRY A AMICK               320 N.PEARL ST                                                                               COVINGTON           OH     45318‐1442
JEFFRY A CONNOR              4106 CULVER RD                                                                               ROCHESTER           NY     14622‐1248
JEFFRY A FENNER              7152 GATEWAY PARK DR                                                                         CLARKSON            MI     48346‐2574
JEFFRY A JUSTICE             2510 E 200 S                                                                                 FRANKLIN            IN     46131‐8898
JEFFRY ADAMS                 400 ELIZABETH DR                                                                             OWOSSO              MI     48867‐9059
JEFFRY BRONNENBERG           102 N PARK ST                                                                                FRANKTON            IN     46044‐9654
JEFFRY CHARDER               7080 LAKE SHANNON CT                                                                         FENTON              MI     48430‐9301
JEFFRY DICKSON               7311 BEATY AVE                                                                               FORT WAYNE          IN     46809‐2725
JEFFRY EDMONDSON             26895 W 207TH ST                                                                             GARDNER             KS     66030‐9117
JEFFRY FENNER                C/O JON B MUNGER              7152 GATEWAY PARK DR                                           CLARKSTON           MI     48346‐2574
JEFFRY GOW                   2600 CHANDLER DR APT 136                                                                     BOWLING GREEN       KY     42104‐6231
JEFFRY GUSTOVICH             702 OREGON AVE                                                                               MC DONALD           OH     44437‐1624
JEFFRY HERRON                PO BOX 352                                                                                   CICERO              IN     46034‐0352
JEFFRY HORSTMAN              1785 W RIVER RD                                                                              MIDLAND             MI     48642‐9225
JEFFRY J GIUNTA              202 LONGVIEW DR                                                                              WEBSTER             NY     14580‐1412
JEFFRY J OATTEN              524 FORD AVE                                                                                 ALPENA              MI     49707
JEFFRY J VECORE              358 DONNA MAE                                                                                LEONARD             MI     48367‐4274
JEFFRY JUSTICE               2510 E 200 S                                                                                 FRANKLIN            IN     46131‐8898
JEFFRY KROKKER               2512 SUMMER OAKS CIR                                                                         SUMMERTOWN          TN     38483‐9205
JEFFRY LANE                  11313 MAIN RD                                                                                FENTON              MI     48430‐9746
JEFFRY MAYS                  PO BOX 890837                                                                                OKLAHOMA CITY       OK     73189‐0837
JEFFRY MCILVOY               5 TOELLE DR                                                                                  SAINT CHARLES       MO     63304‐5548
JEFFRY MILLER                440 TREMONT AVE                                                                              KENMORE             NY     14217‐2234
JEFFRY MULLALY               9438 LINDEN RD                                                                               SWARTZ CREEK        MI     48473‐9143
JEFFRY MURRAY                876 KENILWORTH AVE SE                                                                        WARREN              OH     44484‐4229
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Name                            Address1                      Address2                      Address3   Address4               City             State   Zip
JEFFRY R VINETTE                19255 GEORGIA ST                                                                              ROSEVILLE         MI     48066‐4107
JEFFRY ROESCHKE                 6029 BLAKE THOMAS DR                                                                          WENTZVILLE        MO     63385‐6857
JEFFRY S UNDERWOOD              406 MOUNT JOY ST                                                                              SPRINGFIELD       OH     45505‐2851
JEFFRY S WALTERS                2293 MCDOWELL                                                                                 JACKSON           MS     39204‐4223
JEFFRY SILER                    2087 ROCKY GROVE AVE                                                                          FRANKLIN          PA     16323‐6745
JEFFRY SKIPPERS                 414 WHITE OAK DR                                                                              ROCKWOOD          TN     37854‐2437
JEFFRY SMITH                    2168 W COUNTY ROAD 775 N                                                                      LIZTON            IN     46149‐9328
JEFFRY THOMPSON                 310 BEECHWOOD DR                                                                              JANESVILLE        WI     53548‐3320
JEFFRY VECORE                   358 DONNA MAE                                                                                 LEONARD           MI     48367‐4274
JEFFRY VINETTE                  19255 GEORGIA ST                                                                              ROSEVILLE         MI     48066‐4107
JEFFRY WILDER                   1521 WILES LN                                                                                 LEWISBURG         TN     37091‐6628
JEFFRY WRIGHT                   340 COPLEY DR                                                                                 LANCASTER         PA     17601‐2976
JEFFRYES, HARLEY                1313 SUNSET DR                                                                                CONWAY            AR     72034‐3729
JEFFS FAST FREIGHT INC          2100B E COLLEGE AVE                                                                           CUDAHY            WI     53110‐2803
JEFFS, NATALIE
JEFREY BUCKLEY                  205 W GRANT ST                                                                                GREENTOWN        IN      46936‐1104
JEFRON AIR EXPRESS              4134 CURTIS LN                PO BOX 38345                                                    SHREVEPORT       LA      71109‐6404
JEFRON AIR EXPRESS              4134 CURTIS LN                                                                                SHREVEPORT       LA      71109‐6404
JEGEN, CHARLES E                1244 MOUNT PLEASANT EAST ST                                                                   GREENWOOD        IN      46142‐8926
JEGEN, KAREN M                  5990 SCROSSWINDS DR#8                                                                         CUDAHY           WI      53110‐3110
JEGEN, KAREN M                  5990 S CROSSWINDS DR UNIT 8                                                                   CUDAHY           WI      53110‐3419
JEGEN, MARTIN L                 1924 SPRINGBROOK N UNIT C                                                                     WAUKESHA         WI      53186‐1221
JEGERLEHNER, MARK R             10413 THATCHER CT                                                                             FORT WAYNE       IN      46845‐1092
JEGERSKY, SANDRA G              949 HUNTSFORD CT                                                                              TROY             MI      48084‐1617
JEGERTHA WATSON                 218 ROSE HILL DR                                                                              WARNER ROBINS    GA      31088‐8521
JEGERTHA WATSON                 113 MOLLAND DR                                                                                WARNER ROBINS    GA      31088‐2006
JEGIER, STEVE E                 256 BUTTERNUT LN                                                                              STAMFORD         CT      06903‐3830
JEGIERSKI, ANTHONY              10818 W SHELBY RD                                                                             MEDINA           NY      14103‐9585
JEGLA, CHARLES R                14606 CUTLER RD                                                                               PORTLAND         MI      48875‐9350
JEGLA, DAVID M                  3047 E SHAFFER RD                                                                             MIDLAND          MI      48642‐8372
JEGLA, GARY L                   605 W STATE ST                                                                                SAINT JOHNS      MI      48879‐1451
JEGLA, THOMAS F                 8425 W CUTLER RD                                                                              DEWITT           MI      48820‐9128
JEGOU, CHRISTINE H              45 BOSKO DR                                                                                   EAST BRUNSWICK   NJ      08816‐4544
JEHAD ZUGHYER                   8626 KINLOCH ST                                                                               DEARBORN HTS     MI      48127‐1180
JEHAN RAHEEM & ELEANOR RAHEEM   13 SPRING POND DR                                                                             OSSINING         NY      10562‐2000
JEHLE, BONNIE                   1729 COLVIN BLVD                                                                              KENMORE          NY      14223‐1107
JEHLE, FREDERICK W              1729 COLVIN BLVD                                                                              KENMORE          NY      14223‐1107
JEHLE, LINDA L                  7284 BLUEBILL ST                                                                              CLAY             MI      48001‐4104
JEHLE, ROBERT C                 7284 BLUEBILL ST                                                                              CLAY             MI      48001‐4104
JEHLIK, FORREST A               #3                            1537 NORTH CLAREMONT AVENUE                                     CHICAGO          IL      60622‐1711
JEHLIK, FORREST A               1537 N CLAREMONT AVE # 3                                                                      CHICAGO          IL      60622‐1711
JEHNZEN, MYRON E                3114 FAITH DR                                                                                 SPRING ARBOR     MI      49283‐9739
JEHNZEN, MYRON EDWARD           3114 FAITH DR                                                                                 SPRING ARBOR     MI      49283‐9739
JEHONNAS HATTER                 1653 SHAWNEE TRACE RR#1                                                                       BLANCHESTER      OH      45107
JEKA HOLDING BV                 1 WORLD TRADE CTR STE 800                                                                     LONG BEACH       CA      90831‐0800
JEKA USA SERVICES INC           1 WORLD TRADE CTR STE 800                                                                     LONG BEACH       CA      90831‐0800
JEKEL MOVING & STORAGE CO       3503 LOUSMA DR SEE                                                                            GRAND RAPIDS     MI      49548
JEKEL, DONALD E                 8218 SHADY BROOK LN                                                                           FLUSHING         MI      48433‐3008
JEKEL, MARY L                   8288 HIDDEN CREEK DR                                                                          FLUSHING         MI      48433‐9430
JEKEL, MITCHEL L                8050 WOODHALL RD                                                                              BIRCH RUN        MI      48415‐8436
JELA PRIBUDIC                   6965 WEATHERBY DR                                                                             MENTOR           OH      44060‐8410
JELANA ISLES                    119 NORMANDY DR                                                                               HOWELL           MI      48843‐2547
JELANA Y ISLES                  71 CHINKAPIN RILL                                                                             FENTON           MI      48430
JELANI J CONNALLY               312 CARTHAGE PLACE                                                                            TROTWOOD         OH      45426
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Name                        Address1                       Address2                      Address3        Address4               City                State   Zip
JELANI L ARNOLD             3001 TUBMAN AVE.                                                                                    DAYTON               OH     45408‐2244
JELCIN, MARILYN J           4343 PIERCE DR                                                                                      SHELBY TOWNSHIP      MI     48316‐1144
JELCO COMPANY INC           14240 TIREMAN ST               5/1/07 MR                                                            DETROIT              MI     48228‐2799
JELEMENSKY, JOHN S          5444 W COLDWATER RD                                                                                 FLINT                MI     48504‐1022
JELEN JR, ROBERT J          301 CHIMNEY OAK DR                                                                                  JOPPA                MD     21085‐4729
JELEN SR, ROBERT J          76 HAVERHILL RD                                                                                     JOPPA                MD     21085‐4732
JELEN, CHRISTOPHER          16550 COWLEY RD                                                                                     GRAFTON              OH     44044‐9210
JELEN, KENNETH J            37787 LAKE DR                                                                                       AVON                 OH     44011‐1139
JELENA CINDRIC              31451 EDDY RD                                                                                       WILLOUGHBY HILLS     OH     44094‐8369

JELENA CVJETKOVIC           1448 SCHRAMM DR                                                                                     WESTMONT            IL      60559‐3005
JELENA HIGGS                888 PALLISTER ST APT 801                                                                            DETROIT             MI      48202‐2672
JELENA KOTEVSKA             4925 STILLMEADOW DR                                                                                 HOWELL              MI      48843‐7859
JELENA MISKOVIC             5440 KENDAL ST                                                                                      DEARBORN            MI      48126‐3158
JELENA NIKOLIC‐TASICH       2154 HIGHSPLINT DR                                                                                  ROCHESTER HILLS     MI      48307‐3727
JELENA PETROVIC             14234 N FOUNTAIN HILLS BLVD                                                                         FOUNTAIN HILLS      AZ      85268‐2735
JELENEK, SONNA H            1401 W 61ST PL                                                                                      MERRILLVILLE        IN      46410‐2907
JELENEK, THOMAS F           9738 SUNNY POINT DR                                                                                 LAINGSBURG          MI      48848‐9745
JELENIC, MILAN E            10235 SAWMILL DR                                                                                    CHARDON             OH      44024‐8219
JELENICH, THERESA M         116 SEAN DR                                                                                         MORRIS              IL      60450‐1050
JELICA LJUBIC               5730 S 27TH DR                                                                                      PHOENIX             AZ      85041‐4403
JELICKS, DORIS V            11 PLUM COURT                                                                                       FLEMINGTON          NJ      08822‐3007
JELICKS, DORIS V            11 PLUM CT                                                                                          FLEMINGTON          NJ      08822‐3007
JELICKS, LUCILLE            111 HAWTHORNE RD                                                                                    EGG HARBOR TWP      NJ      08234‐6712
JELIGHT CO INC              2 MASON                                                                                             IRVINE              CA      92618‐2513
JELIGHT COMPANY CO          2 MASON                                                                                             IRVINE              CA      92618‐2513
JELINEK DONALD J (405500)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                          NORFOLK             VA      23510
                                                           STREET, SUITE 600
JELINEK, ADRIAN G           N4214 DODGE RD RR3                                                                                  BLACK RIVER FALLS    WI     54615

JELINEK, ARTHUR F           2121 ADEL ST                                                                                        JANESVILLE           WI     53546‐3239
JELINEK, BRIAN              1140 SANDPIPER LN                                                                                   NAPERVILLE           IL     60540‐8010
JELINEK, DONALD J           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                          NORFOLK              VA     23510‐2212
                                                           STREET, SUITE 600
JELINEK, DONNA              6350 HATHAWAY LN                                                                                    DOWNERS GROVE       IL      60516‐2437
JELINEK, DOROTHY F          9214 HWY T                                                                                          RICHMOND            MO      64085
JELINEK, KATHLEEN M         1022 WISCONSIN AVENUE                                                                               SHEBOYGAN           WI      53081‐3944
JELINEK, RICHARD M          APT 3048                       5901 WEST BEHREND DRIVE                                              GLENDALE            AZ      85308‐6958
JELINSKI, GERALD J          13461 KIMBERLY ST                                                                                   SOUTHGATE           MI      48195‐2420
JELKEN, JOHN H              339 PINEWOOD DR                P.O. BOX 914                                                         FOWLERVILLE         MI      48836‐9520
JELKS TOWANNA               JELKS, TOWANNA                 STATE FARM                    P.O. BOX 2371                          BLOOMINGTON         IL      61702
JELKS, BERNADINE            4176 PEGGY DR                                                                                       SAGINAW             MI      48601‐5012
JELKS, DANIEL               44 LEONARD ST                                                                                       BUFFALO             NY      14215‐2316
JELKS, FANNIE M             1813 MORRELL ST                                                                                     PITTSBURGH          PA      15212‐1716
JELKS, MARION P             116 FAIRFIELD WAY                                                                                   BLOOMINGDALE        IL      60108‐1538
JELKS, REBECCA              PO BOX 692                                                                                          HAWKINSVILLE        GA      31036
JELKS, TOWANNA              STATE FARM                     PO BOX 2371                                                          BLOOMINGTON         IL      61702‐2371
JELKS, TOWANNA              3622 VAN BUREN ST                                                                                   BELLWOOD            IL      60104
JELKS, WILLIE               8622 WALUTES CIR                                                                                    ALEXANDRIA          VA      22309‐4109
JELLENC, EDWARD L           1428 MARION RUSSELL RD                                                                              MERIDIAN            MS      39301‐8899
JELLESMA, JACK W            414 EGRET CIR                                                                                       BAREFOOT BAY        FL      32976‐7484
JELLEY, DUANE J             437 WEDINGTON CT                                                                                    ROCHESTER           MI      48307‐6036
JELLEY, KIMBERLY A          437 WEDINGTON CT                                                                                    ROCHESTER           MI      48307‐6036
JELLICK, VALENTINE          29002 BARJODE RD                                                                                    WILLOWICK           OH      44095‐4758
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Name                           Address1                         Address2                       Address3   Address4               City              State   Zip
JELLINEK SCHWARTZ &            CONNOLLY INC                     1015 15TH ST NW STE 500                                          WASHINGTON         DC     20005‐2625
JELLINGS, GORDON W             6262 CORWIN STA                                                                                   NEWFANE            NY     14108‐9733
JELLINICK, ROSEMARY L          3760 E RIVER RD                                                                                   GRAND ISLAND       NY     14072‐1451
JELLIS, DONA M                 3466 S IRISH RD                                                                                   DAVISON            MI     48423‐2440
JELLISON, BRUCE A              PO BOX 301                                                                                        HARTLAND           MI     48353‐0301
JELLISON, DAVID W              3851 N. PUMPKIN RD.                                                                               TWINING            MI     48766
JELLISON, DAVID WESLEY         3851 N PUMPKIN RD                                                                                 TWINING            MI     48766‐9503
JELLISON, JAMES M              827 STATE ROUTE 503 N                                                                             WEST ALEXANDRIA    OH     45381‐9729

JELLISON, LOUISE T             2021 TRACTION RD                                                                                  CRAWFORDSVILLE     IN     47933‐2112
JELLISON, MARJORIE L           103 LINCOLN AVE                                                                                   NORTH ARLINGTON    NJ     07031‐4760

JELLISON, ROBIN A              168 LAFAYETTE RD UNIT 74                                                                          NORTH HAMPTON     NH      03862
JELLISON, WILLIAM E            204 ELSTON AVE                                                                                    CRAWFORDSVILLE    IN      47933‐2503
JELNICKI, ROBERT J             3664 OLD CREEK ROAD                                                                               TROY              MI      48084‐1669
JELONEK, DONALD B              62 MARY LOU LN                                                                                    DEPEW             NY      14043‐1918
JELONEK, MARY C                1 MACARTHUR BLVD APT S504                                                                         HADDON TOWNSHIP   NJ      08108‐3631

JELOSEK RONALD L (ESTATE OF)   LANIER LAW FIRM                  6810 FM 1960 WEST SUITE 1550                                     HOUSTON           TX      77069
JELOSEK, RONALD                ICO THE LANIER LAW FIRM PC       6810 FM 1960 WEST                                                HOUSTON           TX      77069
JELOSEK, RONALD L              LANIER LAW FIRM                  6810 FM 1960 WEST SUITE 1550                                     HOUSTON           TX      77069
JELOVIC, CVIJO                 7763 DEBONAIRE DR                                                                                 MENTOR            OH      44060‐5340
JELSEMA, DAVID W               1496 140TH AVE                                                                                    WAYLAND           MI      49348‐9556
JELSMA, ROWLAND M              10485 ALPINE AVE                                                                                  SPARTA            MI      49345‐9356
JELSO, MELANIE E               8198 AUGUST AVE                                                                                   WESTLAND          MI      48185‐1742
JELSO, MELANIE ELIZABETH       8198 AUGUST AVE                                                                                   WESTLAND          MI      48185‐1742
JELTEMA, DOUGLAS J             4605 TAYLOR RIDGE CIR                                                                             KALAMAZOO         MI      49009‐7038
JELTEMA, RICHARD J             1470 BOGEY ST SW                                                                                  BYRON CENTER      MI      49315‐9778
JELUSICH, GRACE M              109 N PONTIAC AVE                C/O LOIS BAJUK                                                   LUBBOCK           TX      79416‐3733
JEM COMPUTERS INC              95 S ROSE ST STE B                                                                                MOUNT CLEMENS     MI      48043‐2187
JEM SANITATION CORP            PO BOX 708                                                                                        LYNDHURST         NJ      07071
JEMAIL, JAMES A                525 WINFRED DR                                                                                    RALEIGH           NC      27603‐7209
JEMAL ALEMDAR                  3380 S TOWERLINE RD                                                                               BRIDGEPORT        MI      48722‐9542
JEMAR DONES                    2711 EAST FREMONT ROAD                                                                            PHOENIX           AZ      85042‐5910
JEMARUS GREEN                  3506 WINGOOD CIR APT 4                                                                            MEMPHIS           TN      38118‐5069
JEMBRYSEK, RUTH L              3 SPRING VALLEY DRIVE                                                                             HILLSBOROUGH      NJ      08844‐1603
JEMEL S FANE                   1134 E HUMPHREY AVE                                                                               FLINT             MI      48505‐1526
JEMERSON SEWING CO             PO BOX 629                                                                                        GRAND BLANC       MI      48480‐0529
JEMERSON, MILLARD F            2008 DWIGHT AVE                                                                                   FLINT             MI      48503
JEMERSON, RODNEY
JEMIMA WACHOB                  1375 101ST ST                                                                                     NIAGARA FALLS      NY     14304
JEMIOLO, GEORGE M              144 CARRIAGE CIR                                                                                  WILLIAMSVILLE      NY     14221‐2164
JEMIOLO, MARIE R               6350 VINTAGE COURT                                                                                LOCKPORT           NY     14094‐9564
JEMIOLO, MARIE R               6350 VINTAGE CT                                                                                   LOCKPORT           NY     14094‐9564
JEMIOLO, ROBERT J              27 JUNIATA PL                                                                                     BUFFALO            NY     14210‐1803
JEMISON DAVID HUMBER           FOSTER & SEAR, LLP               817 GREENVIEW DRIVE                                              GRAND PRAIRIE      TX     75050
JEMISON JR, ARL                2000 10TH PL NW                                                                                   BIRMINGHAM         AL     35215‐4223
JEMISON JR, L L                920 SHELLBARK RD                                                                                  ANDERSON           IN     46011‐2423
JEMISON, ALEX                  2032 HARMON ST                                                                                    YPSILANTI          MI     48198‐6618
JEMISON, ALEX                  COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                          HOUSTON            TX     77002‐1751
JEMISON, CHARLENE              PO BOX 23431                                                                                      DETROIT            MI     48223‐0431
JEMISON, DAWN M                1400 DUNDEE DRIVE                                                                                 ARLINGTON          TX     76002‐3748
JEMISON, DAWN M.               1400 DUNDEE DRIVE                                                                                 ARLINGTON          TX     76002‐3748
JEMISON, GEORGE                466 OLYMPIC AVE                                                                                   BUFFALO            NY     14215‐2739
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Name                          Address1                             Address2                      Address3            Address4                   City            State   Zip
JEMISON, GERRY B              507 CRESTVIEW DR                                                                                                  GADSDEN          AL     35903
JEMISON, HERBERT B            2407 SPRINGDALE DR                   C/O RENA HANKINS                                                             LANSING          MI     48906‐3444
JEMISON, MARY                 184 NORTHLAND AVE                                                                                                 BUFFALO          NY     14208‐1229
JEMISON, RONALD G             749 CALDER AVE                                                                                                    YPSILANTI        MI     48198‐6190
JEMISON, ROSEMARIE            4616 BROWNS MILL FERRY RD                                                                                         LITHONIA         GA     30038
JEMISON, WILBERT C            8880 AMERICAN ST                                                                                                  DETROIT          MI     48204‐2817
JEMKORT, RICHARD F            2582 ELM ST                                                                                                       CENTRAL LAKE     MI     49622‐5114
JEMMA TOWNES                  PO BOX 310382                                                                                                     JAMAICA          NY     11431‐0382
JEMMIE CHAPMAN                6338 BLILEY RD                                                                                                    RICHMOND         VA     23225‐2304
JEMMS CASCADE #11006195 INC   1886 LARCHWOOD DR                                                                                                 TROY             MI     48083‐2225
JEMMS‐CASCADE INC             1886 LARCHWOOD DR                                                                                                 TROY             MI     48083‐2225
JEMMS‐CASCADE INC             ATTN: CORPORATE OFFICER/AUTHORIZED   1886 LARCHWOOD DR                                                            TROY             MI     48083‐2225
                              AGENT‐SUSAN GALAT

JEMMS‐CASCADE INC             ATTN: CORPORATE OFFICER/AUTHORIZED   SUSAN GALAT                   1886 LARCHWOOD DR                              TROY             MI     48083‐2225
                              AGENT
JEMMS/TROY                    1001 BADDER DR                                                                                                    TROY             MI     48083‐2859
JEMONICA THOMAS               2015 CHELTINGHAM BLVD                                                                                             LANSING          MI     48917‐5150
JEN
JEN BAILEY                    2707 N LEXINGTON DR APT 113                                                                                       JANESVILLE      WI      53545‐0340
JEN PALMORE                   THE MEDEKSHO LAW FIRM                8866 GULF FREEWAY SUITE 440                                                  HOUSTON         TX      77017
JEN REMBERT                   BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                                   BOSTON HTS      OH      44236
JEN, JOHN Y                   12932 TUSCANY BLVD                                                                                                CARMEL          IN      46032‐8712
JEN, LAWRENCE                 966 PAVILION LOOP                                                                                                 SAN JOSE        CA      95112‐4863
JENA TOOL CORP                ATTN: DAVID WHITEHEAD                5219 SPRINGBORO PIKE                                                         MORAINE         OH      45439‐2970
JENACK, BRIAN P               28 SHERWOOD DR                                                                                                    MASSENA         NY      13662‐1752
JENACK, DONALD G              9 SERRA LN                                                                                                        MASSENA         NY      13662‐1640
JENACK, JOANNA M              9 SERRA LN                                                                                                        MASSENA         NY      13662‐1640
JENACK, YVETTE M.             12 RANDALL DR.                                                                                                    MASSENA         NY      13662‐2409
JENACK, YVETTE M.             12 RANDALL DR                                                                                                     MASSENA         NY      13662‐2409
JENAE HAM                     201 S HALSEY AVE                                                                                                  HARRISONVILLE   MO      64701‐2623
JENARO BALDERRAMA             2882 COLLINGWOOD DR                                                                                               BAY CITY        MI      48706‐1511
JENARO COLON JR               2581 LAPO RD                                                                                                      LAKE ODESSA     MI      48849‐8490
JENAVE CHASTAIN               PO BOX 372                                                                                                        ENGLEWOOD       FL      34295‐0372
JENC TIM                      JENC, TIM                            30928 FORD RD                                                                GARDEN CITY     MI      48135‐1803
JENCA, JOSEPH J               1411 WOODVIEW RD                                                                                                  YARDLEY         PA      19067‐5778
JENCIC, DANNY D               8076 HILL RD                                                                                                      SWARTZ CREEK    MI      48473‐7615
JENCIK, DANIEL G              11835 S DOUGLAS AVE                                                                                               OKLAHOMA CITY   OK      73170‐5635
JENCKS, BARRY S               11950 E GOODALL RD                                                                                                DURAND          MI      48429‐9769
JENCKS, DAVID R               10767 S NEW LOTHROP RD                                                                                            DURAND          MI      48429‐9452
JENCKS, HELEN M               63 MECHANIC ST                                                                                                    OXFORD          MI      48371‐4953
JENCKS, MARGARET              6200 LANMAN DR                                                                                                    WATERFORD       MI      48329‐3024
JENCO GARAGE SYSTEMS LLC      108 N CLAYTON RD                                                                                                  EDMOND          OK      73034‐7362
JENCO, ANNA                   760 ERCAMA STREET                                                                                                 LINDEN          NJ      07036
JENCO, ANNA                   760 ERCAMA ST                                                                                                     LINDEN          NJ      07036‐5726
JENCO, GLADYS R               1508 DEBRA DR                                                                                                     ARLINGTON       TX      76010‐4944
JENCO, NANCY G                529 FETZNER RD                                                                                                    ROCHESTER       NY      14626‐2066
JENCOM INC                    32 STEELES AVE EAST UNIT 17                                                            MILTON CANADA ON L9T 2A1
                                                                                                                     CANADA
JENCUNAS STANLEY              4 CAMDEN WAY                                                                                                      SOUTH EASTON    MA      02375‐1083
JENCZEWSKI JR, STANLEY J      1505 22ND ST                                                                                                      NIAGARA FALLS   NY      14305‐3035
JENCZEWSKI, MARY V            39035 NORTH SHERIDAN ROAD                                                                                         ANTIOCH         IL      60002‐7101
JEND, EUGENE J                7715 LANDAU LN                                                                                                    INDIANAPOLIS    IN      46227‐2518
JENDER, BARBARA               20543 HOLLY CIR                                                                                                   STRONGSVILLE    OH      44149‐5609
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Name                       Address1                           Address2                      Address3   Address4               City               State   Zip
JENDERS, RAYMOND S         APT 203                            1000 WILLIAMS AVENUE                                            S MILWAUKEE         WI     53172‐3737
JENDRAL, VALERIE A         834 CORNERS CT                                                                                     LAKE ORION          MI     48362‐3320
JENDRASIAK JOHN (355546)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510
                                                              STREET, SUITE 600
JENDRASIAK, JOHN           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                              STREET, SUITE 600
JENDRASIAK, MICHAEL A      1414 RECTOR ST NE                                                                                  SPARTA              MI     49345‐8362
JENDRASIK, DENNIS R        61 LAKESIDE CT                                                                                     WEST SENECA         NY     14224‐1011
JENDRASIK, EUGENE J        11618 BORCHETTA DR                                                                                 CHARLOTTE           NC     28277‐6615
JENDRELL, TOBIAS R         3884 S SHORELINE DR                                                                                MILFORD             MI     48381‐4806
JENDRITZ, MARY F           14692 ALMA DR                                                                                      STERLING HEIGHTS    MI     48313‐3604
JENDRUSIK, JAMES P         8765 BAYVIEW CT                                                                                    PINCKNEY            MI     48169‐8507
JENDRUSIK, ROBERT C        3431 LAKEVIEW DR                                                                                   BEAVERTON           MI     48612‐8892
JENDRZEJEWSKI, HELEN L     26036 JOY RD                                                                                       REDFORD             MI     48239‐1874
JENDRZEJEWSKI, RANDY M     26036 JOY RD                                                                                       REDFORD             MI     48239‐1874
JENDZA JR, JOHN J          35141 NORTHMONT DRIVE                                                                              FARMINGTN HLS       MI     48331‐2642
JENDZIO, JOSEPH T          10827 S HAMLIN AVE                                                                                 CHICAGO             IL     60655‐3916
JENE DUKE                  1301 S ROCHESTER AVE APT H                                                                         MUNCIE              IN     47302‐6633
JENE GARRETT               16570 OHIO ST                                                                                      DETROIT             MI     48221‐2956
JENE MALONE                5412 N JENNINGS RD                                                                                 FLINT               MI     48504‐1112
JENE WALKER                PO BOX 523                                                                                         LAINGSBURG          MI     48848‐0523
JENEANE NASH               1504 10TH ST NW                                                                                    GRAND RAPIDS        MI     49504‐3978
JENECKAS, ELENA            C/O ADDMS GUARDIANSHIP SERVICES INC 28330 CUNNINGHAM DR                                            WARREN              MI     48092

JENECKAS, ELENA            28330 CUNNINGHAM DR                                                                                WARREN             MI      48092
JENEDA BUTLER              903 E INDIANA ST                                                                                   SUMMITVILLE        IN      46070‐9748
JENEE ANDERSON             41 SHEFFIELD ST                                                                                    JERSEY CITY        NJ      07305‐2818
JENEE JONES                PO BOX 2341                                                                                        RESERVE            LA      70084‐2341
JENEEN KUBALA              3609 STATE ROUTE 14                                                                                ROOTSTOWN          OH      44272‐9793
JENEI JR, JOHN             4516 NAVARRE RD SW LOT 28                                                                          CANTON             OH      44706‐2374
JENEI, JOSEPH              39582 COBRIDGE DR                                                                                  CLINTON TWP        MI      48038‐2763
JENELL CRISI               6474 BIRCH RUN RD                                                                                  MILLINGTON         MI      48746‐9725
JENELL LANE                119 CANDLE CT                                                                                      ENGLEWOOD          OH      45322
JENELL MCGNEE              BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS         OH      44236
JENELL WILLIAMS            1548 COURTER ST                                                                                    TROTWOOD           OH      45427‐3213
JENELLE SIMS               109 2ND AVE N                                                                                      LORETTO            TN      38469‐2130
JENEREAUL, MYLO J          274 LARKSPUR LN                                                                                    MESQUITE           NV      89027‐6249
JENEREAUL, MYLO JAMES      274 LARKSPUR LN                                                                                    MESQUITE           NV      89027‐6249
JENEREAUX DAVID            10230 ELLIS RD                                                                                     CLARKSTON          MI      48348‐1114
JENEREAUX, DAVID L         9990 ELLIS RD                                                                                      CLARKSTON          MI      48348‐1710
JENEREAUX, JERRY O         610 ALBERTA ST                                                                                     AUBURN HILLS       MI      48326‐1114
JENEREAUX, LEWIS O         1939 JACKSON AVE # 215                                                                             ANN ARBOR          MI      48103‐4041
JENEROU, HUGHIE W          985N RIVER RD                                                                                      MANISTIQUE         MI      49854
JENES, DARRELL
JENESSA, SALINAS           GUERRA & MOORE LTD LLP             4201 N MCCOLL RD                                                MCALLEN            TX      78504‐2524
JENESSE CENTER INC         3761 STOCKER ST STE 100                                                                            LOS ANGELES        CA      90008‐5129
JENET APGER                631 HERITAGE TRL APT D                                                                             MANSFIELD          OH      44905‐2395
JENETTA HAMMONS            103 WINDSOR WAY UNIT 1 LOT 3                                                                       NICHOLASVILLE      KY      40356
JENETTA LANGHAM            9084 GALLUP CIR                                                                                    SPRING HILL        FL      34608‐4536
JENETTA S WHITT            16819 FRONT BEACH RD               #114                                                            PANAMA CITY        FL      32413
                                                                                                                              BEACH
JENETTA WHITT              16819 FRONT BEACH RD UNIT 114                                                                      PANAMA CITY         FL     32413‐2489
                                                                                                                              BEACH
JENETTE A MORRISON         5416 WHEAT WAY AVE                                                                                 SWARTZ CREEK        MI     48473‐8295
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Name                     Address1                            Address2                      Address3                Address4                 City                 State   Zip
JENETTE CAMPBELL         6253 MANTZ AVE                                                                                                     DAYTON                OH     45427‐1832
JENETTE GUST             4536 S 450 E                                                                                                       KOKOMO                IN     46902‐9370
JENETTIE MORNINGSTAR     8357 ROBERT PLACE                                                                                                  FRANKLIN              OH     45005‐4129
JENEVA AMORE             28411 LOCUST GROVE RD                                                                                              MC ARTHUR             OH     45651‐8744
JENEWEIN, HILLIS         GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                                   SAGINAW               MI     48604‐2602
                                                             260
JENEWEIN, SHARON C       2732 N GILL AVE                                                                                                    TUCSON                AZ     85719‐3220
JENEY, GORDON D          710 AUTUMN LN                                                                                                      HARRAH                OK     73045‐8121
JENEY, MARY D            439 WESTFIELD AVE                                                                                                  CLARK                 NJ     07066‐1706
JENG YEAU REN            DEPT OF MECHANICAL ENGR             NTL CHUNG CHENG UNVSTY168 UNV UNVSTY RD MING‐HSIUNG   621 TAIWAN TAIWAN
                                                                                           CHIA‐YI
JENG, YEAU‐REN           195 SECTION 2 SHU LIN 700                                                                 TAINAN TAIWAN
JENGKENS, ARTELIA        19784 SNOWDEN ST                                                                                                   DETROIT              MI      48235‐1180
JENI D FULTZ             2136 S PREBLE CO LINE RD                                                                                           FARMERSVILLE         OH      45325
JENI WINSKY              3777 TYRELL RD                                                                                                     OWOSSO               MI      48867‐9281
JENIA L MITCHELL         102 LESTER STREET                                                                                                  ATTALLA              AL      35954
JENICA INC.              BOB KLIPPEL                         2000 S GROVE AVE STE C                                                         ONTARIO              CA      91761‐4800
JENICE A KNEIP           1142 CLOVIS AVE                                                                                                    MOUNT MORRIS         MI      48458‐2505
JENICE CHRISTIAN         810 CROMWELL AVE                                                                                                   WESTCHESTER          IL      60154‐2506
JENICE MCLEAN            41 INCHES ST                                                                                                       MOUNT CLEMENS        MI      48043‐2420
JENICE MUENSTER          9509 CAIN DR NE                                                                                                    WARREN               OH      44484‐1717
JENICE V HICKS           46 E. ALEX‐BELL ROAD                                                                                               CENTERVILLE          OH      45459‐2745
JENICKE, KATHLEEN A      6413 E MANDALAY LN                                                                                                 SPOKANE              WA      99217
JENIECE KASEY            18245 RR 1431 # 7                                                                                                  JONESTOWN            TX      78645
JENIECE M RICHBURG       2520 BRIER ST SE                                                                                                   WARREN               OH      44484‐5203
JENIESE BRIGHT           1428 W 15TH ST                                                                                                     MUNCIE               IN      47302‐2917
JENIFER B STEVENS        2013 DELANCEY DR                                                                                                   NORMAN               OK      73071‐3873
JENIFER DILLON           108 MCCRAW DR                                                                                                      ENGLEWOOD            OH      45322
JENIFER HALL             6560 N 650 E LOT 23                                                                                                CHURUBUSCO           IN      46723‐9795
JENIFER M ROSEBERRY      2583 CRESTWELL PL.                                                                                                 KETTERING            OH      45420
JENIFER P BERES          230 4TH AVE N STE 503               PO BOX 190461                                                                  NASHVILLE            TN      37219‐2134
JENIFER STEVENS          2013 DELANCEY DR                                                                                                   NORMAN               OK      73071‐3873
JENIFER TERRY            15152 STOLTZ RD                                                                                                    DIAMOND              OH      44412‐9627
JENIFER W TERRY          15152 STOLTZ RD.                                                                                                   DIAMOND              OH      44412‐9627
JENIFER WELLINSKI        811 CROYDON RD                                                                                                     ROCHESTER HILLS      MI      48309‐2521
JENIFER YAMIN MORENO     GARCIA & MARTINEZ LLP               10113 NORTH 10TH STREET STE H                                                  MCALLEN              TX      78504
JENINE ABDULLAH‐RAHEEM   5051 WILLOUGHBY RD APT 3                                                                                           HOLT                 MI      48842‐1069
JENINE BENTON            6996 CAMELOT DR                                                                                                    CANTON               MI      48187‐2516
JENINE DZIEWIT           1889 EARLMONT RD                                                                                                   BERKLEY              MI      48072‐1833
JENIO, DAVID S           22614 CLAIRWOOD ST                                                                                                 SAINT CLAIR SHORES   MI      48080

JENIO, MARY ANN          15303 JULIANA AVE                                                                                                  EAST DETROIT         MI      48021‐3607
JENISE HARRIFORD         5290 TAMIAMI TRL                                                                                                   WATERFORD            MI      48329‐4824
JENISE LEWIS             2707 LOWELL AVE                                                                                                    SAGINAW              MI      48601‐3915
JENISH, DAWN M           5753 LOCKWOOD DR                                                                                                   WATERFORD            MI      48329‐4804
JENISH, DAWN M M         5753 LOCKWOOD DR                                                                                                   WATERFORD            MI      48329‐4804
JENISHA JETER            8601 N HICKORY ST APT 1110                                                                                         KANSAS CITY          MO      64155‐4134
JENISON, CURTIS J        10210 60TH AVE                                                                                                     ALLENDALE            MI      49401‐9312
JENISON, CURTIS J.       10210 60TH AVE                                                                                                     ALLENDALE            MI      49401‐9312
JENISON, WALTER A        127 MELLADEE LN                                                                                                    MORRICE              MI      48857‐9767
JENITA BALCH             165 CANTERBERRY RD                                                                                                 MONROE               LA      71203‐8490
JENITIS, MARY            1815 CALVERT DRIVE                                                                                                 CUYAHOGA FALLS       OH      44223‐1020
JENITIS, MARY            4285 KENT ROAD #204                                                                                                STOW                 OH      44224
JENK, RONALD A           197 CASCADE LANE                                                                                                   CROSSVILLE           TN      38572
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Name                           Address1                             Address2                        Address3                   Address4               City               State   Zip
JENK, RONALD A                 197 CAS CADE LANE                                                                                                      CROSSVILLE          TN     38555‐6981
JENKE, MARY R                  1331 DAKOTA ST SE                                                                                                      ALBUQUERQUE         NM     87108‐5102
JENKENS & GILCHRIST            1445 ROSS AVE STE 3200                                                                                                 DALLAS              TX     75202‐2785
JENKENS & GILCHRIST LLP        12100 WILSHIRE BLVD 15TH FL                                                                                            LOS ANGELES         CA     90025
JENKENS TAMMY                  JENKENS, TAMMY                       TISHA STENDER                   6136 FRISCO SQUARE BLVD.                          FRISCO              TX     75034
                                                                                                    4TH FLOOR
JENKENS, TAMMY                 TISHA STENDER                        6136 FRISCO SQUARE BLVD. 4TH                                                      FRISCO             TX      75034
JENKENS, TAMMY                 9882 SHELL RIDGE DR                                                                                                    FRISCO             TX      75034‐1338
JENKERSON, JAMES T             PO BOX 671                                                                                                             PARK HILLS         MO      63601‐0671
JENKERSON, JOHNNY W            4729 BLUEBIRD DRIVE                                                                                                    FARMINGTON         MO      63640
JENKIN DAVIES                  5767 NW ZENITH DR                                                                                                      PORT SAINT LUCIE   FL      34986‐3529
JENKIN T DAVIES                5767 ZENITH NW                                                                                                         PT. ST. LUCIE      FL      34986‐3529
JENKIN'S SUNOCO SVC            11013 N SAGINAW ST                                                                                                     MT MORRIS          MI      48458‐2002
JENKIN, ANN                    14953 CONGRESS DR                                                                                                      STERLING HEIGHTS   MI      48313‐4420
JENKIN, BETTIE M               41432 HAGGERTY WOODS CT                                                                                                CANTON             MI      48187‐3780
JENKIN, DONALD P               4928 BONNIE RD                                                                                                         KETTERING          OH      45440‐2143
JENKIN, JERRY G                4541 MOSS OAK TRL                                                                                                      BELLBROOK          OH      45305‐1451
JENKINS N, MAMIE L             3327 BURGOYNE DR 45405                                                                                                 DAYTON             OH      45405
JENKINS AMY L                  JENKINS, AMY L                       PO BOX 987                                                                        WILLIAMSON         WV      25661‐0987
JENKINS AUTOMOTIVE INC.        809 E CENTER AVE                                                                                                       VISALIA            CA      93292‐6412
JENKINS AUTOMOTIVE INC.        809 E CENTER AVE                                                                                                       VISALIA            CA      93292‐6412
JENKINS BONNIE                 JENKINS, BONNIE                      700 E MAIN ST STE 1600                                                            RICHMOND           VA      23219‐2604
JENKINS BRITT                  690 E LAMAR BLVD STE 200                                                                                               ARLINGTON          TX      76011‐3862
JENKINS CLIFTON J (516475)     ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET , ONE                                                        BALTIMORE          MD      21202
                                                                    CHARLES CENTER 22ND FLOOR
JENKINS DEBORAH                1681 SOUTH 3000 EAST                                                                                                   NEW HARMONY        UT      84757‐5047
JENKINS DEBRA                  508 MANDY ST                                                                                                           AUBURNDALE         FL      33823‐2218
JENKINS DETRIS                 JENKINS, DETRIS                      P.O. BOX 6807                                                                     CLEVELAND          OH      44101
JENKINS DIESEL POWER INC       JAMES JENKINS                        1845 E BLAINE ST                                                                  SPRINGFIELD        MO      65803‐4504
JENKINS DIESEL POWER INC       1845 E BLAINE ST                                                                                                       SPRINGFIELD        MO      65803‐4504
JENKINS DONALD E (629565)      GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                       NORFOLK            VA      23510
                                                                    STREET, SUITE 600
JENKINS ERICKA                 JENKINS, ERICKA                      436 PINE SHADOWS DR                                                               SLIDELL            LA      70458‐1700
JENKINS FENSTERMAKER PLLC      401 11TH ST STE 1100                                                                                                   HUNTINGTON         WV      25701‐2225
JENKINS FRANCIS                PO BOX 264                                                                                                             WEST HEMPSTEAD     NY      11552‐0264
JENKINS FRANCIS                ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 264                                                                        WEST HEMPSTEAD     NY      11552‐0264
                               AGENT
JENKINS GARY E (429181)        GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                       NORFOLK             VA     23510
                                                                    STREET, SUITE 600
JENKINS I I I, ARTHUR V        312 MEADOW VISTA DR                                                                                                    TOWNSEND           DE      19734‐9686
JENKINS I, , JOSEPH F          508 MEADOW LN                                                                                                          SANDUSKY           OH      44870‐6303
JENKINS I,, JOSEPH F           508 MEADOW LN                                                                                                          SANDUSKY           OH      44870
JENKINS II, JOSEPH C           7413B RUTGERS CIR                                                                                                      ROWLETT            TX      75088‐6656
JENKINS II, JOSEPH CONRAD      7413B RUTGERS CIR                                                                                                      ROWLETT            TX      75088‐6656
JENKINS III, ARTHUR V          312 MEADOW VISTA DR                                                                                                    TOWNSEND           DE      19734‐9686
JENKINS ISAAC DAVID (439178)   GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                       NORFOLK            VA      23510
                                                                    STREET, SUITE 600
JENKINS IV, JAMES DANIEL       11356 ARNOLD                                                                                                           REDFORD            MI      48239‐2004
JENKINS JACKIE T (498561)      GARRISON SCOTT, PC                   2113 GOVERNMENT ST STE D3                                                         OCEAN SPRINGS      MS      39564‐3949
JENKINS JAMES (468726)         KELLEY & FERRARO LLP                 1300 EAST NINTH STREET , 1901                                                     CLEVELAND          OH      44114
                                                                    BOND COURT BUILDING
JENKINS JAMES (488481)         BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                                     NORTHFIELD         OH      44067
                                                                    PROFESSIONAL BLDG
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Name                           Address1                         Address2                        Address3   Address4               City             State Zip
JENKINS JAMES E (360943)       ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                        BALTIMORE         MD 21202
                                                                CHARLES CENTER 22ND FLOOR
JENKINS JEFFREY                JENKINS, JEFFREY                 9201 SUSIE LANE                                                   LITTLE ROCK      AR   72204
JENKINS JESSE (644861)         BRAYTON PURCELL                  PO BOX 6169                                                       NOVATO           CA   94948‐6169
JENKINS JOHN                   JENKINS, JOHN                    RR 1 BOX 233                                                      RIVESBILLE       WV   26588‐9719
JENKINS JOHN E (493864)        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA   23510
                                                                STREET, SUITE 600
JENKINS JOHN H.                JENKINS, JOHN H.
JENKINS JOHN JOSEPH (408708)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA   23510
                                                                STREET, SUITE 600
JENKINS JR WILLIAM A           4522 MARSH WOOD CT SE                                                                              SOUTHPORT        NC   28461‐8521
JENKINS JR, ALLEN              8041 TANAGER CT                                                                                    INDIANAPOLIS     IN   46256‐1776
JENKINS JR, BERNARD EUGENE     14525 GULLEY ST                                                                                    TAYLOR           MI   48180‐4544
JENKINS JR, CHALMERS R         10727 E SAN SALVADOR DR                                                                            SCOTTSDALE       AZ   85258‐6138
JENKINS JR, EARL D             8032 LINDA CIR                                                                                     CATLETTSBURG     KY   41129‐8293
JENKINS JR, EDMON              1638 GLENGARRY WOODS CT                                                                            CANTON           MI   48188‐1796
JENKINS JR, ELVIN              4431 CLARKSDALE DR                                                                                 RIVERSIDE        CA   92505‐3409
JENKINS JR, EUGENE             15368 WANDERING WAY                                                                                NOBLESVILLE      IN   46060‐8035
JENKINS JR, FLOYD              PO BOX 3880                                                                                        PONTIAC          MI   48059
JENKINS JR, FREDDIE L          APT 722                          4916 WEST 108TH TERRACE                                           LEAWOOD          KS   66211‐1263
JENKINS JR, HAROLD E           108 W. CLYDE                                                                                       FAIRMOUNT        IL   61841
JENKINS JR, JAMES L            20169 COUNTY ROAD 445                                                                              LINDALE          TX   75771‐3500
JENKINS JR, KARL L             316 BRICE ST                                                                                       KINGS MOUNTAIN   NC   28086‐2305
JENKINS JR, ROBERT L           PO BOX 33                                                                                          NEW LOTHROP      MI   48460‐0033
JENKINS JR, SAMUEL G           14844 PETOSKEY AVE                                                                                 DETROIT          MI   48238‐2019
JENKINS JR, TROY               18225 THOMPSON ROAD                                                                                ATHENS           AL   35611‐0158
JENKINS JR, WILLIAM A          4522 MARSH WOOD CT SE                                                                              SOUTHPORT        NC   28461‐8521
JENKINS JR, WILLIAM C          1756 W HAMBLEN DR                                                                                  INDIANAPOLIS     IN   46231‐1310
JENKINS JR, WILLIAM H          14 BLUE LANTERN DR                                                                                 SALEM            OH   44460‐7625
JENKINS JR, WILLIAM L          169 CANTERBURY RD                                                                                  PENDLETON        IN   46064‐8719
JENKINS JR, WILLIAM T          22157 SHADYBROOK DR                                                                                NOVI             MI   48375‐5158
JENKINS JR., DOUGLAS           5232 SAWGRASS AVE                                                                                  RICHTON PARK     IL   60471‐1298
JENKINS LAWRENCE EARL          DBA LAWRENCE JENKINS PHOTOGRAP   6738 MEADOWCREST DR                                               ARLINGTON        TX   76002‐3585
JENKINS LEROY                  550 EDEN DOWNS RD                                                                                  JACKSON          MS   39209‐9321
JENKINS LOVING CARE            ATTN: GAYLE JENKINS              777 W GRAND BLVD                                                  DETROIT          MI   48216‐1056
JENKINS MARSHALL (629809)      GUY WILLIAM S                    PO BOX 509                                                        MCCOMB           MS   39649‐0509
JENKINS MARY                   JENKINS, MARY                    55 PUBLIC SQ STE 800                                              CLEVELAND        OH   44113‐1909
JENKINS MARY                   PROGRESSIVE CASUALTY INSURANCE   55 PUBLIC SQ STE 800                                              CLEVELAND        OH   44113‐1909
                               COMPANY
JENKINS MOTORS INC HERMAN
JENKINS MOTORS INC HERMAN      CAMERON WORLEY FORDHAM PC        414 UNION STREET SUITE 1830                                       NASHVILLE        TN   37219
JENKINS OFELIA A               2445 MONARCH DR UNIT 302                                                                           LAREDO           TX   78045‐6428
JENKINS PHYLLIS                603 TOURNAMENT TRL                                                                                 CORTLAND         OH   44410‐8706
JENKINS RALPH R (626588)       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA   23510
                                                                STREET, SUITE 600
JENKINS RAYMOND (445483)       BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD       OH   44067
                                                                PROFESSIONAL BLDG
JENKINS REMUS M (481227)       KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                     CLEVELAND        OH   44114
                                                                BOND COURT BUILDING
JENKINS ROBERT                 631 SAINT CHARLES AVE                                                                              NEW ORLEANS      LA   70130‐3411
JENKINS ROBERT E (429182)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA   23510
                                                                STREET, SUITE 600
JENKINS ROBERT L (439179)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA   23510
                                                                STREET, SUITE 600
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Name                        Address1                       Address2                         Address3   Address4               City              State   Zip
JENKINS ROSEMARIE           3045 WILDFLOWER DR 859                                                                            LA PLATA           MD     20646
JENKINS RUSSELL             301 GLENVIEW DR                                                                                   DAYTON             OH     45440‐3205
JENKINS RYAN                JENKINS, JESSICA               1227 NORTH MAIN STREET P O BOX                                     HUTCHINSON         KS     67504
                                                           1782
JENKINS RYAN                JENKINS, JESSICA               1100 MAIN STREET SUITE 2550                                        KANSAS CITY       MO      64105
JENKINS RYAN                JENKINS, RYAN                  1227 NORTH MAIN STREET P O BOX                                     HUTCHINSON        KS      67504
                                                           1782
JENKINS RYAN                JENKINS, RYAN                  1100 MAIN STREET SUITE 2550                                        KANSAS CITY       MO      64105
JENKINS SAMUEL L (472077)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                        NORFOLK           VA      23510
                                                           STREET, SUITE 600
JENKINS SR, BRUCE V         PO BOX 894                                                                                        OCILLA            GA      31774‐0894
JENKINS SR, JOSEPH          5119 WAKEFIELD RD                                                                                 SAGINAW           MI      48601‐9475
JENKINS SR., DONN H         3140 PIKES PEAK DR.                                                                               FLORISSANT        CO      80816‐9548
JENKINS TERESA              24281 PEMBROKE AVE                                                                                DETROIT           MI      48219‐1049
JENKINS THOMAS              JENKINS, THOMAS                6137 IDAHO                                                         ST LOUIS          MO      63111
JENKINS TRANSPORT INC       PO BOX 1191                                                                                       ADAIRSVILLE       GA      30103‐1191
JENKINS WILLIAM K           61 S COLLEGE ST                                                                                   CARLISLE          PA      17013‐2803
JENKINS, ADELINE A          178 BORDENTOWN GEORGETOWN RD                                                                      CHESTERFIELD      NJ      08515‐1727
JENKINS, ALAN H             1980 COTACO FLORETTE RD                                                                           SOMERVILLE        AL      35670‐6949
JENKINS, ALBERT E           1465 CROSSWIND CT                                                                                 WOOSTER           OH      44691‐7269
JENKINS, ALBERT L           5378 NESTEL RD E                                                                                  SAINT HELEN       MI      48656‐9568
JENKINS, ALBERT N           55 WILLIS AVE                                                                                     YOUNGSTOWN        OH      44507‐1140
JENKINS, ALENE              496 RURAL HILL RD                                                                                 NASHVILLE         TN      37217‐4025
JENKINS, ALETHEA K          1761 MILTON ST SE                                                                                 WARREN            OH      44484‐5148
JENKINS, ALETHEA K          1761 WILTON ST SE                                                                                 WARREN            OH      44484
JENKINS, ALFRED             18978 STOEPEL ST                                                                                  DETROIT           MI      48221‐2253
JENKINS, ALLEN D            6428 DUFFIELD RD                                                                                  SWARTZ CREEK      MI      48473‐8582
JENKINS, ALLISON D          GENERAL DELIVERY                                                                                  FAIRLAND          OK      74343‐9999
JENKINS, ALVA N             MOODY EDWARD O                 801 W 4TH ST                                                       LITTLE ROCK       AR      72201‐2107
JENKINS, AMY M              3712 STORMONT RD               3712 STORMONT RD.                                                  TROTWOOD          OH      45426‐2360
JENKINS, ANDRE              2216 N FAIRVIEW LN                                                                                ROCHESTER HILLS   MI      48306‐3930
JENKINS, ANDREA
JENKINS, ANDREW A           23 6TH ST                                                                                         DRAVOSBURG        PA      15034‐1015
JENKINS, ANDREW J           2534 PALISADE DR                                                                                  FORT WAYNE        IN      46806‐5317
JENKINS, ANDREW L           123 HIBBARD CT S                                                                                  PONTIAC           MI      48341‐2172
JENKINS, ANITA P            460 N FOSTER AVE                                                                                  ALBANY            IN      47320‐1315
JENKINS, ANITA PHILLIPS     460 N FOSTER AVE               APT A                                                              ALBANY            IN      47320‐1315
JENKINS, ANN M              1 ARGILE CT                                                                                       FRANKLIN          OH      45005‐1575
JENKINS, ANNIE              8922 HILLVIEW AVE                                                                                 JENNINGS          MO      63136‐3716
JENKINS, ANTHONY            6553 W 6TH ST                  APT 2304                                                           LOS ANGELES       CA      90035‐5062
JENKINS, ANTHONY E          PO BOX 4186                                                                                       MONROE            LA      71211‐4186
JENKINS, ARCHIE             5970 LILLIAN RD                                                                                   BURLESON          TX      76028‐2859
JENKINS, ARLEEN             PO BOX 1724                                                                                       DUNNELLON         FL      34430‐1724
JENKINS, ARTHER L           2071 CHEVROLET ST                                                                                 YPSILANTI         MI      48198‐6270
JENKINS, ARTHUR D           606 6TH ST                     APT 8A                                                             N WILKESBORO      NC      28659‐3764
JENKINS, ARTHUR J           279 N BROADWAY APT 5L                                                                             YONKERS           NY      10701‐2426
JENKINS, ARTHUR J           512 OAKDALE CIR                                                                                   ELYRIA            OH      44035‐0907
JENKINS, ARTHUR V           34289 BOB WHITE LN                                                                                MILLSBORO         DE      19966‐6359
JENKINS, ARTICE             C/O HARBORSIDE HEALTHCARE      2801 EAST ROYALTON ROAD                                            BROADVIEW         OH      44147
                                                                                                                              HEIGHTS
JENKINS, ARTICE             2801 E ROYALTON RD             C/O HARBORSIDE HEALTHCARE                                          BROADVIEW         OH      44147‐2827
                                                                                                                              HEIGHTS
JENKINS, BARBARA J          11011 CARPENTER RD                                                                                FLUSHING           MI     48433‐9720
JENKINS, BARBARA L          103 SUN VALLEY DR                                                                                 WARNER ROBINS      GA     31093‐1056
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Name                     Address1                           Address2                  Address3   Address4                   City             State   Zip
JENKINS, BARBARA W       R R 2 BOX 3                        8431 W 1100 N                                                   ELWOOD            IN     46036‐9697
JENKINS, BARBARA W       8431 W 1100 N                      R R 2 BOX 3                                                     ELWOOD            IN     46036‐9004
JENKINS, BEATRICE L      PO BOX 672                                                                                         DEFIANCE          OH     43512‐0672
JENKINS, BENITA R        702 E GENEVA DR                                                                                    DEWITT            MI     48820‐8763
JENKINS, BERNARD         PO BOX 245                                                                                         WINDHAM           OH     44288‐0245
JENKINS, BERNARD E       7882 CAMPBELL ST                                                                                   TAYLOR            MI     48180‐2509
JENKINS, BERTLEY F       11233 GETTYSBURG DARKE RD                                                                          NEW PARIS         OH     45347‐8028
JENKINS, BETTY           8118 DAVISON RD                                                                                    DAVISON           MI     48423
JENKINS, BETTY L         12 TOLLES ST                                                                                       NASHUA            NH     03064‐2421
JENKINS, BETTY L         7125 TRAILBROOK DR                                                                                 SUGAR LAND        TX     77479‐6211
JENKINS, BILL T          PO BOX 51                                                                                          FLOWERY BRANCH    GA     30542‐0001
JENKINS, BILLY L         216 E DWIGHT ST                                                                                    LANSING           MI     48906‐4307
JENKINS, BILLY P         10090 CREEL RD                                                                                     FAIRBURN          GA     30213‐2183
JENKINS, BLAINE E        38774 TRINIDAD CIR                                                                                 PALM SPRINGS      CA     92264‐0223
JENKINS, BOBBY L         2966 BARTH ST                                                                                      FLINT             MI     48504‐3052
JENKINS, BONNIE          KAHN & ASSOCIATES LLC              700 E MAIN ST STE 1600                                          RICHMOND          VA     23219‐2604
JENKINS, BONNIE          610 N ELDERBERRY LN                                                                                NIXA              MO     65714‐9008
JENKINS, BRIAN K         4994 MENOMINEE LN                                                                                  CLARKSTON         MI     48348‐2276
JENKINS, BRIAN KEITH     4994 MENOMINEE LN                                                                                  CLARKSTON         MI     48348‐2276
JENKINS, BRITTNI         SKOW ARDELL W                      PO BOX 460                                                      BALDWIN           WI     54002‐0460
JENKINS, BRUCE A         9090 W HERBISON RD                                                                                 EAGLE             MI     48822‐9718
JENKINS, BRUCE L         3424 OAK DRIVE                                                                                     LAWRENCEVILLE     GA     30044‐4127
JENKINS, CALVIN L        1624 ACORN ST                                                                                      SHREVEPORT        LA     71101‐5208
JENKINS, CARL C          6451 IARHILLS AVEGARDEN RM #1211   BETHANY LUTHERN VILLAGE                                         DAYTON            OH     45459
JENKINS, CARL W          227 TRAMMEL LN                                                                                     FALLING WATERS    WV     25419‐6916
JENKINS, CARL WALTER     227 TRAMMEL LN                                                                                     FALLING WATERS    WV     25419‐6916
JENKINS, CARLA T         1411 GARDNER ST                                                                                    GADSDEN           AL     35901
JENKINS, CAROL J         6721 E HIGH ST                                                                                     LOCKPORT          NY     14094‐5306
JENKINS, CAROLYN J       320 N RITTER AVE                                                                                   INDIANAPOLIS      IN     46219
JENKINS, CATHERINE       47293 MILONAS DR                                                                                   SHELBY TWP        MI     48315‐5036
JENKINS, CATHERINE       3522 ELLERSLIE AVE                                                                                 BALTIMORE         MD     21218‐2931
JENKINS, CATHRYN J       1726 HAWTHORNE CT                                                                                  INDEPENDENCE      MO     64052‐1963
JENKINS, CECIL H         PO BOX 5822                                                                                        CORNING           CA     96021‐5822
JENKINS, CHARLENE L      2233 MOUNT ELLIOTT AVE                                                                             FLINT             MI     48504‐2876
JENKINS, CHARLES         PAUL HANLEY & HARLEY               1608 4TH ST STE 300                                             BERKELEY          CA     94710‐1749
JENKINS, CHARLES         17202 ANNCHESTER RD                                                                                DETROIT           MI     48219‐3560
JENKINS, CHARLES A       8361 COUNTY ROAD 530                                                                               MANSFIELD         TX     76063‐7028
JENKINS, CHARLES ALLEN   8361 COUNTY ROAD 530                                                                               MANSFIELD         TX     76063‐7028
JENKINS, CHARLES E       2519 W MARQUETTE RD APT 1N                                                                         CHICAGO            IL    60629‐1833
JENKINS, CHARLES E       214 EASTVIEW DR                                                                                    DAWSONVILLE       GA     30534‐7156
JENKINS, CHARLES E       2218 S SAN FRANCISCO AVE                                                                           GONZALES          LA     70737‐4950
JENKINS, CHARLES F       34220 CAPEL RD                                                                                     COLUMBIA STA      OH     44028‐9755
JENKINS, CHARLES H       684 DERWAN RD                                                                                      NEW VIENNA        OH     45159
JENKINS, CHARLES L       350 APPLEWOOD DR                                                                                   LOCKPORT          NY     14094‐9152
JENKINS, CHARLES L       401‐900 WILSON RD N                                                     OSHAWA ON CANADA L1G‐7T2

JENKINS, CHERIE S        5529 WARREN SHARON RD.                                                                             VIENNA           OH      44473‐9721
JENKINS, CHERYL          9620 GREENWALD AVE                                                                                 NIAGARA FALLS    NY      14304
JENKINS, CHESTER L       14115 S SANFORD RD                                                                                 MILAN            MI      48160‐9789
JENKINS, CHRISTIAN M     1415 N PROSPECT RD                                                                                 YPSILANTI        MI      48198‐3089
JENKINS, CHRISTINE       304 GENEVA ROAD                                                                                    DAYTON           OH      45417‐1345
JENKINS, CHRISTINE       304 GENEVA RD                                                                                      DAYTON           OH      45417‐1345
JENKINS, CHRISTOPHER     15106 DEHAVILLAND DR                                                                               CHARLOTTE        NC      28278‐7279
JENKINS, CHRISTOPHER J   5750 LISETTE AVE                                                                                   SAINT LOUIS      MO      63109‐3721
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Name                    Address1                         Address2                      Address3   Address4               City              State Zip
JENKINS, CHYNNE
JENKINS, CLELL D        1746 CRYSTAL LAKE DR                                                                             LAKELAND          FL    33801‐5918
JENKINS, CLIFTON J      ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                       BALTIMORE         MD    21202
                                                         CHARLES CENTER 22ND FLOOR
JENKINS, CLINTON C      549 W STEWART AVE                                                                                FLINT             MI    48505‐3207
JENKINS, CLYDE E        210 W FLINT PARK BLVD                                                                            FLINT             MI    48505‐3277
JENKINS, COREY ARNELL   3588 29TH ST                                                                                     DETROIT           MI    48210‐3108
JENKINS, COURTNEY       22872 LAWRENCE 1050                                                                              PIERCE CITY       MO    65723‐8396
JENKINS, CURTIS         3263 DUNCAN BRIDGE TRL                                                                           BUFORD            GA    30519‐6246
JENKINS, CURTIS L       1128 WILSON DRIVE                                                                                DAYTON            OH    45402‐5619
JENKINS, CURTIS W       1420 CARR ST                                                                                     SANDUSKY          OH    44870‐3107
JENKINS, CYNTHIA        5332 NE WEBSTER CT                                                                               PORTLAND          OR    97218‐2568
JENKINS, CYNTHIA R      3353 WALDROP TRL                                                                                 DECATUR           GA    30034
JENKINS, CYNTHIA R.     3353 WALDROP TRL                                                                                 DECATUR           GA    30034
JENKINS, DALE G         2425 S. MEDWAY‐CARLISLE RD                                                                       MEDWAY            OH    45341‐9726
JENKINS, DALE G         2425 MEDWAY NEW CARLISLE RD                                                                      MEDWAY            OH    45341‐9726
JENKINS, DALTON R       2105 MARY AVE                                                                                    LANSING           MI    48910‐6232
JENKINS, DANNY R        4979 POINTE TREMBLE RD                                                                           ALGONAC           MI    48001‐4361
JENKINS, DATONYA L      542 WHITTEMORE ST                                                                                PONTIAC           MI    48342‐3271
JENKINS, DAVID          PO BOX 04596                                                                                     DETROIT           MI    48204‐0596
JENKINS, DAVID A        7295 COOL RD                                                                                     CANFIELD          OH    44406‐9408
JENKINS, DAVID E        9620 GREENWALD AVE                                                                               NIAGARA FALLS     NY    14304‐2831
JENKINS, DAVID L        12650 LONGLEAF LN                                                                                FISHERS           IN    46038‐9188
JENKINS, DAVID S        707 FAIRWAY DR E                                                                                 SUNSET BEACH      NC    28468‐5309
JENKINS, DAVID S        PO BOX 631                                                                                       GREENWOOD         LA    71033‐0631
JENKINS, DAVID SCOTT    PO BOX 631                                                                                       GREENWOOD         LA    71033‐0631
JENKINS, DAVID W        18682 ASHCROFT CIR                                                                               PORT CHARLOTTE    FL    33948‐9674
JENKINS, DAVID W        9214 N BAYLAND DR                                                                                MC CORDSVILLE     IN    46055‐9245
JENKINS, DAWN           34431 SIMS ST                                                                                    WAYNE             MI    48184‐1321
JENKINS, DAWN M         3264 OLD WINCHESTER TRL                                                                          XENIA             OH    45385
JENKINS, DEBORAH        6811 RAVINES CIR                                                                                 WEST BLOOMFIELD   MI    48322‐2756

JENKINS, DEBORAH A      75 PHILIP PLACE                                                                                  IRVINGTON         NJ    07111
JENKINS, DEBORAH A      2144 HURON AVE                                                                                   SPRINGFIELD       OH    45505
JENKINS, DEBORAH H      370 ELYSIAN FIELDS RD                                                                            WASKOM            TX    75692‐9705
JENKINS, DEBORAH J      19 LEISURE DR                                                                                    AUBURNDALE        FL    33823‐9649
JENKINS, DEBRA L.       901 WOODLARK DR                                                                                  INDIANAPOLIS      IN    46229‐2871
JENKINS, DELBERT R      200 MAIN ST                                                                                      ESSEXVILLE        MI    48732‐1657
JENKINS, DELLA K        148 COUNTY ROAD 492                                                                              ETOWAH            TN    37331‐5451
JENKINS, DELORIS        4241 9TH ST                                                                                      ECORSE            MI    48229‐1272
JENKINS, DENISE L       14115 S SANFORD RD                                                                               MILAN             MI    48160‐9789
JENKINS, DENNIS A       3345 SUNCREST AVE                                                                                SAINT LOUIS       MO    63114‐2841
JENKINS, DENNIS D       210 MAGNOLIA DR                                                                                  LADY LAKE         FL    32159‐3236
JENKINS, DENNIS G       2746 MINGO DR                                                                                    LAND O LAKES      FL    34638
JENKINS, DENNIS J       2628 SW 54TH ST                                                                                  OKLAHOMA CITY     OK    73119‐5847
JENKINS, DENNIS J       2144 HURON AVE                                                                                   SPRINGFIELD       OH    45505‐4774
JENKINS, DENVER D       148 ECHO LAKE EAST DR                                                                            MOORESVILLE       IN    46158‐8977
JENKINS, DETRIS         PO BOX 6807                                                                                      CLEVELAND         OH    44101‐1807
JENKINS, DIANE          6806 PARSONS AVE                                                                                 BALTIMORE         MD    21207‐6422
JENKINS, DIANNE S       16363 E 191ST ST                                                                                 NOBLESVILLE       IN    46060‐9295
JENKINS, DOLORES J      332 TOWNSEND DRIVE                                                                               SUMMERSVILLE      WV    26651‐1028
JENKINS, DONALD D       1309 BELMONT AVE                                                                                 KOKOMO            IN    46902
JENKINS, DONALD E       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA    23510‐2212
                                                         STREET, SUITE 600
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Name                       Address1                            Address2                         Address3   Address4               City              State   Zip
JENKINS, DONALD E          5282 N RAISIN CENTER HWY                                                                               TECUMSEH           MI     49286‐9579
JENKINS, DONALD F          5326 LAKE MARGARET DR APT 710                                                                          ORLANDO            FL     32812‐6097
JENKINS, DONALD G          278 NORRIS ROAD                                                                                        BOWLING GREEN      KY     42101‐8719
JENKINS, DONALD S          3200 ROXBURY DR                                                                                        RENO               NV     89523‐6207
JENKINS, DONDREA G         14180 E STREET RD                                                                                      MONTROSE           MI     48457‐9369
JENKINS, DONNA J           222 E AVONDALE                                                                                         YOUNGSTOWN         OH     44507‐1961
JENKINS, DONNA M           1437 N SEYMOUR RD                                                                                      FLUSHING           MI     48433‐9448
JENKINS, DONTEE' M         14510 ROSEMONT AVE                                                                                     DETROIT            MI     48223‐2339
JENKINS, DONTEE' MAURICE   14510 ROSEMONT AVE                                                                                     DETROIT            MI     48223‐2339
JENKINS, DORIS             12346 S BENCK DR APT 101                                                                               ALSIP               IL    60803‐1078
JENKINS, DORIS             12346 BENCK                         APT #101                                                           ALSIP               IL    60803
JENKINS, DORIS             8001 PINEHURST                                                                                         DETROIT            MI     48204‐3157
JENKINS, DORIS L           G 5117 WOODHAVEN COURT                                                                                 FLINT              MI     48532
JENKINS, DORIS L           3903 STAYSAIL LANE                                                                                     HOLIDAY            FL     34691‐5254
JENKINS, DOROTHY           93 WILLIAMS ST. APT 2D                                                                                 YONKERS            NY     10701‐6135
JENKINS, DOROTHY           93 WILLIAM ST APT 2D                                                                                   YONKERS            NY     10701‐6135
JENKINS, DOROTHY L         156 PHEASANT LN                                                                                        GRAND BLANC        MI     48439
JENKINS, DOUGLAS D         6769 LEXINGTON PL                                                                                      TEMPERANCE         MI     48182‐1378
JENKINS, DWAYNE A          230 YONKERS AVE APT 3E                                                                                 YONKERS            NY     10701
JENKINS, DWIGHT G          20 N TILDEN AVE LOT 26                                                                                 WATERFORD          MI     48328‐3757
JENKINS, EARL H            9809 UNIT 3 VEIRS DR.                                                                                  ROCKVILLE          MD     20850
JENKINS, EARL L            25 CRYSTAL LN                                                                                          DILLON             MT     59725‐7217
JENKINS, EARL MILTON       PO BOX 552                                                                                             JANE LEW           WV     26378‐0552
JENKINS, EARLINE           5745 WHITTIER ST                                                                                       DETROIT            MI     48224‐2635
JENKINS, EARLINE B         452 OLD WHITFIELD RD                                                                                   PEARL              MS     39208‐9188
JENKINS, EARNESTINE        415 E BAKER ST                                                                                         FLINT              MI     48505‐4358
JENKINS, EDDIE             5761 BEWICK ST                                                                                         DETROIT            MI     48213‐3301
JENKINS, EDDIE L           14618 RUNNING ARABIAN LN                                                                               HOUSTON            TX     77044‐2489
JENKINS, EDDIE L           5128 QUEEN ELEANOR LN                                                                                  JACKSON            MS     39209‐3138
JENKINS, EDDY J            2466 CITRUS DR                                                                                         BOISE              ID     83713‐5113
JENKINS, EDMAN             5745 WHITTIER ST                                                                                       DETROIT            MI     48224‐2635
JENKINS, EDWARD            GLASSER AND GLASSER, CROWN CENTER   580 EAST MAIN STREET SUITE 600                                     NORFOLK            VA     23510

JENKINS, EDWARD L          10053 HAZELTON                                                                                         REDFORD           MI      48239‐1427
JENKINS, ELBURN D          364 GLENDOLA AVE NW                                                                                    WARREN            OH      44483‐1249
JENKINS, ELDA M            3140 AVALON                                                                                            ROCHESTER HILLS   MI      48309‐3955
JENKINS, ELDA M            3140 AVALON RD                                                                                         ROCHESTER HILLS   MI      48309‐3955
JENKINS, ELEANOR R         6155 LUCAS ROAD                                                                                        FLINT             MI      48506
JENKINS, ELIZABETH J       4724 FAIR PARK AVE                                                                                     DAYTON            OH      45431‐1022
JENKINS, ELLEN M           2313 FISHER AVE.                                                                                       SPEEDWAY          IN      46224‐5034
JENKINS, ELMORE            1554 LUXOR RD                                                                                          CLEVELAND         OH      44118‐1018
JENKINS, ELOISE            19333 SAN JUAN                                                                                         DETROIT           MI      48221‐1713
JENKINS, EMMA L            1508 BARBARA DR                                                                                        FLINT             MI      48505‐2550
JENKINS, ENNIS S           3118 TEAKWOOD DR                                                                                       GARLAND           TX      75044‐5862
JENKINS, ERIC              436 PINE SHADOWS DR                                                                                    SLIDELL           LA      70458‐1700
JENKINS, ERIC M            1556 DODDINGTON RD                                                                                     KETTERING         OH      45409‐1758
JENKINS, ERICKA            436 PINE SHADOWS DR                                                                                    SLIDELL           LA      70458‐1700
JENKINS, ERIKA
JENKINS, ERNEST            5205 DAKOTA CT                                                                                         FAYETTEVILLE       NC     28303‐3209
JENKINS, ERNEST            GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW            MI     48604‐2602
                                                               260
JENKINS, ERNESTINE D       125 GARFIELD AVE                                                                                       PLAINFIELD         NJ     07062‐1403
JENKINS, ESTHER F          9433 BERMUDA DR 188                                                                                    DEMOTTE            IN     46310‐9260
JENKINS, ESTLENE F         1304 WYOMING WAY                                                                                       ANDERSON           IN     46013‐2481
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Name                          Address1                            Address2                         Address3   Address4               City               State   Zip
JENKINS, ETTA M               1502 BARBARA DR                                                                                        FLINT               MI     48505‐2550
JENKINS, EUGENE B             847 MECHANIC ST                                                                                        GRAFTON             OH     44044‐9426
JENKINS, EULA                 847 MECHANIC STREET                                                                                    GRAFTON             OH     44044
JENKINS, EULA M               3407 PENROSE DR                                                                                        LANSING             MI     48911‐3332
JENKINS, EULESS               5602 DEDO CIR                                                                                          MEMPHIS             TN     38135‐0235
JENKINS, EUWANDA D            PO BOX 78316                                                                                           SEATTLE             WA     98178‐0316
JENKINS, EUWANDA D            PO BOX 78315                                                                                           SEATTLE             WA     98178‐0316
JENKINS, EVELYN J             174 EISEMAN ST                                                                                         KENMORE             NY     14217‐1650
JENKINS, EVELYN M             807 ILLINOIS AVE                                                                                       MC DONALD           OH     44437‐1617
JENKINS, EVERETT              702 MARSHALL AVE                                                                                       SANDUSKY            OH     44870‐6907
JENKINS, EZEKIEL              4234 S 100 W                                                                                           ANDERSON            IN     46013‐3632
JENKINS, FANNIE B             28915 CARMEL DR                                                                                        SOUTHFIELD          MI     48076‐5507
JENKINS, FELICIA              3725 KNOTTS PASS RD                                                                                    SNELLVILLE          GA     30039‐8746
JENKINS, FERN M               216 EAST DWIGHT STREET                                                                                 LANSING             MI     48906‐4307
JENKINS, FERRY D              901 BENSCH ST                                                                                          LANSING             MI     48912‐1921
JENKINS, FLORENCE             R 3 BOX 890                                                                                            ASHLAND             OH     44805
JENKINS, FLOYD                937 BETHANY ST                                                                                         SAGINAW             MI     48601‐1473
JENKINS, FLOYD                GUY WILLIAM S                       PO BOX 509                                                         MCCOMB              MS     39649‐0509
JENKINS, FRANCES              E3694 LIND CENTER RD                                                                                   WAUPACA             WI     54981‐6708
JENKINS, FRANCES              3983 LOVETT AVE.                                                                                       INKSTER             MI     48141‐2746
JENKINS, FRANCES              E 3694 LIND CENTER ROAD                                                                                WAUPACA             WI     54981‐6708
JENKINS, FRANCES J            601 FOREST LN                                                                                          FORKED RIVER        NJ     08731‐1945
JENKINS, FRANCES L            490 CEDAR ST                                                                                           UNIONDALE           NY     11553‐2139
JENKINS, FRANCINE V           1505 WEYBURN RD                                                                                        ROSEDALE            MD     21237‐1522
JENKINS, FRANCIS RUSSEL, SR   GLASSER AND GLASSER, CROWN CENTER   580 EAST MAIN STREET SUITE 600                                     NORFOLK             VA     23510

JENKINS, FRANCIS W            7417 E CHAMPIONS CIR                                                                                   WICHITA            KS      67226‐3539
JENKINS, FRANK                22065 CHERRYWOOD RD                                                                                    TRENTON            MI      48183
JENKINS, FRANK D              2800 ANDRE LN                                                                                          TURLOCK            CA      95382‐1006
JENKINS, FRANK E              1154 NAZOR RD                                                                                          GALION             OH      44833‐9733
JENKINS, FRANK R              29162 CHATEAU CT                                                                                       FARMINGTON HILLS   MI      48334‐4112

JENKINS, FRANK R              1613 TREASURE DR                                                                                       TARPON SPRINGS     FL      34689‐2247
JENKINS, FREDDIE L            4200 W PETTY RD                                                                                        MUNCIE             IN      47304‐2459
JENKINS, FREDERICK L          5110 E FRANKLIN RD                                                                                     NORMAN             OK      73026‐0446
JENKINS, FREDRICK E           9301 N CHARLOTTE CT                                                                                    KANSAS CITY        MO      64155‐3355
JENKINS, GARNER W             4433 LINDEN LN                                                                                         ANDERSON           IN      46011‐1737
JENKINS, GARY                 PO BOX 936                                                                                             CONYERS            GA      30012‐0936
JENKINS, GARY D               2157 ACADEMY DR 2                                                                                      CLEARWATER         FL      33764
JENKINS, GARY E               GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                        NORFOLK            VA      23510‐2212
                                                                  STREET, SUITE 600
JENKINS, GARY J               7050 RT. #7                                                                                            KINSMAN            OH      44428
JENKINS, GARY P               425 SHEPARD DR SW                                                                                      MARIETTA           GA      30064‐1559
JENKINS, GARY R               5 POND ST 1                                                                                            SALEM              MA      01970
JENKINS, GENEVA               1135 HUNTERS GLEN BLVD                                                                                 WAYLAND            MI      49348‐8928
JENKINS, GEOFFREY W           2270 WOOD LENHART RD                                                                                   LEAVITTSBURG       OH      44430‐9736
JENKINS, GEORGE E             SUTTER & ENSLEIN                    1598 KANAWHA BLVD EAST, SUITE                                      CHARLESTON         WV      25311
JENKINS, GEORGE L             PO BOX 47371                                                                                           OAK PARK           MI      48237‐5071
JENKINS, GEORGE L             2497 WYSE FORK RD                                                                                      TRENTON            NC      28585‐9781
JENKINS, GEORGE W             4096 27TH ST                                                                                           DORR               MI      49323‐9481
JENKINS, GEORGIE M            12648 MEMORIAL ST                                                                                      DETROIT            MI      48227‐1227
JENKINS, GERALD C             11050 PRESBYTERIAN DR               #245                                                               INDIANAPOLIS       IN      45235‐2982
JENKINS, GERALD C             11050 PRESBYTERIAN DR #254                                                                             INDIANAPOLIS       IN      46236‐2982
JENKINS, GERALD L             7008 LEAF CIR                                                                                          MOUNT MORRIS       MI      48458‐9424
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Name                     Address1                            Address2                       Address3   Address4               City            State   Zip
JENKINS, GERALD LEO      7008 LEAF CIRCLE                                                                                     MOUNT MORRIS     MI     48458‐9424
JENKINS, GERALDINE E     6617 STATE AVENUE                   APT. # 813                                                       KANSAS CITY      KS     66102
JENKINS, GERALDINE E     6617 STATE AVE APT 813                                                                               KANSAS CITY      KS     66102‐3068
JENKINS, GERALDINE V     2420 E 37TH ST                                                                                       LORAIN           OH     44055‐2805
JENKINS, GILBERT R       912 BUCKINGHAM AVE                                                                                   LINCOLN PARK     MI     48146‐3639
JENKINS, GLENA E         808 E 32ND ST                                                                                        ANDERSON         IN     46016‐5428
JENKINS, GLORIA          843 CARVEL DR                                                                                        DOVER            DE     19901‐6683
JENKINS, GLORIA A        38518 CONE DR                                                                                        ZEPHYRHILLS      FL     33540‐6501
JENKINS, GLORIA A        273 WELLINGTON AVE                                                                                   ROCHESTER        NY     14611‐3039
JENKINS, GLORIA J        1721 STEWART AVE                                                                                     YOUNGSTOWN       OH     44505‐3420
JENKINS, GORDON B        8220 GREEN LEAF LN                                                                                   SHREVEPORT       LA     71108‐5738
JENKINS, GREER           2315 W SOUTH ST                                                                                      BOLIVAR          MO     65613‐3203
JENKINS, GUY R           3227 LAWDOR RD                                                                                       LANSING          MI     48911‐1564
JENKINS, GUYROAN R       2502 DILLINGHAM AVE                                                                                  LANSING          MI     48906‐3764
JENKINS, HANNAH K        2625 WYANDOTTE ST APT 6                                                                              LAS VEGAS        NV     89102
JENKINS, HANNAH R        10127 HARDWOOD DR                                                                                    KING GEORGE      VA     22485‐6533
JENKINS, HAROLD          721 E BALTIMORE BLVD                                                                                 FLINT            MI     48505‐3519
JENKINS, HAROLD          PO BOX 135                                                                                           YONKERS          NY     10702‐0135
JENKINS, HAROLD C        250 SCENIC DR NE                                                                                     CONCORD          NC     28025‐3045
JENKINS, HAROLD E        4524 SPECTACULAR BID AVE                                                                             EDMOND           OK     73025‐2376
JENKINS, HARRISON R      4126 LUXEMBOURG CIR E                                                                                INDIANAPOLIS     IN     46228‐6756
JENKINS, HARRY A         5499 N SAUBLE LAKE DR                                                                                IRONS            MI     49644‐8875
JENKINS, HAZEL D         PO BOX 76                                                                                            LENNON           MI     48449‐0076
JENKINS, HAZEL D         1780 BISCAYNE BLVD                                                                                   GAINESVILLE      GA     30507‐5006
JENKINS, HAZEL L         10245 KRAMER ST                                                                                      DETROIT          MI     48204‐2645
JENKINS, HELEN           3513 KELLER AVE                                                                                      FLINT            MI     48504‐2147
JENKINS, HELEN C         503 KENDALL CT                                                                                       FRANKLIN         TN     37069‐8106
JENKINS, HELEN V         FARMER, KELLEY, BROWN & WILLIAMS,   P. O. DRAWER 490                                                 LONDON           KY     40743‐0490
                         ATTORNEYS AT LAW
JENKINS, HENRY L         5779 LAKE MARY RD                                                                                    WOODVILLE       MS      39669‐4146
JENKINS, HENRY R         135 N COTTER RD                                                                                      ESSEXVILLE      MI      48732‐9760
JENKINS, HENRYETTA       2044 CONTINENTAL DR                                                                                  ST. LOUIS       MO      63138‐1324
JENKINS, HERMAN P        8406 CASTLE GARDEN RD                                                                                PALMETTO        FL      34221‐9556
JENKINS, HOWARD          21880 GARDNER ST                                                                                     OAK PARK        MI      48237‐2646
JENKINS, INEZ W          2226 VIRGINIA PRK                                                                                    DETROIT         MI      48206‐2407
JENKINS, INGRID A        2404 E TYGER BRIDGE RD                                                                               GREER           SC      29651‐4953
JENKINS, IONA W          304 WEST 154TH STREET #3B                                                                            NEW YORK        NY      10039‐0035
JENKINS, IONA W          304 W 154TH ST APT 3B                                                                                NEW YORK        NY      10039‐0035
JENKINS, IRA H           8150 N VASSAR RD                                                                                     MOUNT MORRIS    MI      48458‐9736
JENKINS, IRENE H         245 TROWBRIDGE ST                                                                                    LOCKPORT        NY      14094‐2027
JENKINS, IRENE L         37 JACKSON STREET                                                                                    HOLLEY          NY      14470‐1149
JENKINS, ISAAC DAVID     GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA      23510‐2212
                                                             STREET, SUITE 600
JENKINS, J H             15029 DELAWARE AVE                                                                                   REDFORD         MI      48239
JENKINS, JACKIE L        5000 SAMANTHA CT                                                                                     MCDONOUGH       GA      30252‐7081
JENKINS, JACKIE L        1614 MAXWELL CT                                                                                      EULESS          TX      76039‐2400
JENKINS, JACKIE T        GARRISON SCOTT, PC                  2113 GOVERNMENT ST STE D3                                        OCEAN SPRINGS   MS      39564‐3949
JENKINS, JACQUELINE J    418 OLD WHITFIELD RD                                                                                 PEARL           MS      39208‐9121
JENKINS, JAMES           KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                                     CLEVELAND       OH      44114
                                                             BOND COURT BUILDING
JENKINS, JAMES A         164 S PINECREST RD                                                                                   BOLINGBROOK     IL      60440‐3058
JENKINS, JAMES D         411 BLUEBERRY CT                                                                                     EDGEWOOD        MD      21040‐3538
JENKINS, JAMES DARNELL   411 BLUEBERRY CT                                                                                     EDGEWOOD        MD      21040‐3538
JENKINS, JAMES E         4315 GARFIELD AVE                                                                                    KANSAS CITY     MO      64130‐1833
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Name                    Address1                         Address2                    Address3   Address4                 City            State   Zip
JENKINS, JAMES E        10127 HARDWOOD DR                                                                                KING GEORGE      VA     22485‐6533
JENKINS, JAMES E        3642 RUNNYMEDE BLVD                                                                              CLEVELAND        OH     44121‐1366
JENKINS, JAMES E        ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                       BALTIMORE        MD     21202
                                                         CHARLES CENTER 22ND FLOOR
JENKINS, JAMES G        131 MOUNT TABOR RD                                                                               HARTSELLE       AL      35640‐4709
JENKINS, JAMES H        251 N WALNUT ST                                                                                  MOUNT CLEMENS   MI      48043‐5842
JENKINS, JAMES H        25310 LYNDON                                                                                     REDFORD         MI      48239‐3337
JENKINS, JAMES H        4834 HOOVER AVE                                                                                  DAYTON          OH      45427‐3161
JENKINS, JAMES J        7263 HAWTHORNE CIR                                                                               GOODRICH        MI      48438‐9239
JENKINS, JAMES L        12410 W 100TH ST                                                                                 LENEXA          KS      66215‐1950
JENKINS, JAMES L        527 W 500 N                                                                                      MARION          IN      46952‐9730
JENKINS, JAMES L        LEBLANC & WADDELL                5353 ESSEN LN STE 420                                           BATON ROUGE     LA      70809‐0500
JENKINS, JAMES R        9 CONSTITUTION BLVD                                                                              NEW CASTLE      DE      19720‐4403
JENKINS, JAMES R        5405 MAYBEE RD                                                                                   CLARKSTON       MI      48346‐3271
JENKINS, JAMES W        1608 ROLLING LN                                                                                  HICKORY         NC      28602‐9470
JENKINS, JAMES W        10114 WOODTRAIL                                                                                  SAN ANTONIO     TX      78250‐3369
JENKINS, JAMES W        1059 MARIAN CT                                                                                   GROSSE POINTE   MI      48236‐1254
                                                                                                                         WOODS
JENKINS, JAN M          8520 GULF BLVD APT 7                                                                             NAVARRE         FL      32566‐7249
JENKINS, JANE J         4038 MIDWAY                                                                                      PRESCOTT        MI      48756
JENKINS, JANE L         153 W. AVENUE                                                                                    BROCKPORT       NY      14420‐1228
JENKINS, JANE L         153 WEST AVE                                                                                     BROCKPORT       NY      14420‐1228
JENKINS, JANET D        7098 FAIRVIEW AVE.                                                                               BROOKFIELD      OH      44403‐9754
JENKINS, JANET L        APT 7                            2 TUDOR LANE                                                    LOCKPORT        NY      14094‐3987
JENKINS, JANET N        2023 SHERMAN AVE                                                                                 MIDDLETOWN      OH      45044‐4458
JENKINS, JAY T          16329 JENKINS RD                                                        LONG SAULT ONTARIO
                                                                                                CANADA K0C‐1P0
JENKINS, JEANENNE       23670 CARRIAGE HILL RD APT 302                                                                   SOUTHFIELD      MI      48075‐3633
JENKINS, JEANNE S       PO BOX 2196                                                                                      BRUNSWICK       GA      31521‐2196
JENKINS, JEFF D         55 HARRIS HOLW                                                                                   DALLAS          GA      30132‐3028
JENKINS, JEFFERY        331 N LINDEN CT                                                                                  WARREN          OH      44484‐6039
JENKINS, JEFFREY        9201 SUSIE LN                                                                                    LITTLE ROCK     AR      72204‐8262
JENKINS, JEFFREY D      2112 NE 48TH ST                                                                                  KANSAS CITY     MO      64118‐6109
JENKINS, JEFFREY K      3601 CAPE YORK TRCE                                                                              ALPHARETTA      GA      30022‐6432
JENKINS, JEFFREY M      4055 CANEY CREEK LN                                                                              CHAPEL HILL     TN      37034‐2076
JENKINS, JENNIFER
JENKINS, JEROME         30608 CLEARPOND RD                                                                               SHAWNEE         OK      74801‐5651
JENKINS, JERRY A        1643 S SASHABAW RD                                                                               ORTONVILLE      MI      48462‐9163
JENKINS, JERRY J        14173 CO RD# 33                                                                                  KILLEN          AL      35645
JENKINS, JERRY L        3117 COLONIAL WAY APT M                                                                          CHAMBLEE        GA      30341‐5336
JENKINS, JERRY R        378 DEER CREEK TRL                                                                               HOSCHTON        GA      30548‐2119
JENKINS, JERRY RANDLE   378 DEER CREEK TRL                                                                               HOSCHTON        GA      30548‐2119
JENKINS, JERRY W        8289 CARTERSVILLE HWY                                                                            DALLAS          GA      30132‐1399
JENKINS, JESSE          BRAYTON PURCELL                  PO BOX 6169                                                     NOVATO          CA      94948‐6169
JENKINS, JESSICA        KUHLMAN LAW FIRM                 1100 MAIN ST STE 2550                                           KANSAS CITY     MO      64105‐5192
JENKINS, JESSICA        BRETZ LAW OFFICES LLC            PO BOX 1782                                                     HUTCHINSON      KS      67504‐1782
JENKINS, JIMMIE         105 WILKINS DR                                                                                   MONROE          LA      71202‐7223
JENKINS, JIMMIE L       626 MIMOSA DR                                                                                    MARTINSBURG     WV      25404‐0648
JENKINS, JIMMIE L       105 WILKINS DR                                                                                   MONROE          LA      71202‐7223
JENKINS, JIMMY          4 PEARL DR                                                                                       EUSTIS          FL      32726‐6768
JENKINS, JOAN M         2515 ROCK SPRINGS RD                                                                             BUFORD          GA      30519‐5144
JENKINS, JOE            GUY WILLIAM S                    PO BOX 509                                                      MCCOMB          MS      39649‐0509
JENKINS, JOE M          2420 MILLWATER XING                                                                              DACULA          GA      30019‐3218
JENKINS, JOHN           840 PARKWOOD AVE                                                                                 PONTIAC         MI      48340‐3027
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Name                   Address1                         Address2                      Address3   Address4               City             State   Zip
JENKINS, JOHN          PORTER & MALOUF PA               4670 MCWILLIE DR                                                JACKSON           MS     39206‐5621
JENKINS, JOHN          RR 1 BOX 233                                                                                     RIVESBILLE        WV     26588‐9719
JENKINS, JOHN A        26 RIDGEWOOD CIR                                                                                 WILMINGTON        DE     19809‐2859
JENKINS, JOHN C        3884 SONGBIRD LN                                                                                 LIVERPOOL         NY     13090‐1022
JENKINS, JOHN D        37811 CHANCEY ROAD               LOT 369                                                         ZEPHYRHILLS       FL     33541
JENKINS, JOHN E        9 RIDGE POINT CT                                                                                 SAINT CHARLES     MO     63304‐3445
JENKINS, JOHN E        PO BOX 145                                                                                       GASPORT           NY     14067‐0145
JENKINS, JOHN E        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA     23510‐2212
                                                        STREET, SUITE 600
JENKINS, JOHN H        601 NORTH WEST STREET                                                                            XENIA            OH      45385‐2337
JENKINS, JOHN H        250 BEACH AVE                                                                                    BELOIT           WI      53511‐3406
JENKINS, JOHN JOSEPH   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA      23510‐2212
                                                        STREET, SUITE 600
JENKINS, JOHN L        606 W AUSTIN AVE                                                                                 FLINT            MI      48505‐2622
JENKINS, JOHN L        1056 BOWENS MILL HWY                                                                             FITZGERALD       GA      31750‐7011
JENKINS, JOHN M        PO BOX 360522                                                                                    DECATUR          GA      30036‐0522
JENKINS, JOHN M        G3344 MENOMINEE                                                                                  BURTON           MI      48529
JENKINS, JOHN S        205 HERITAGE LANE                                                                                CORTLAND         OH      44410‐1117
JENKINS, JOHN W        13246 CRANE RIDGE DR                                                                             FENTON           MI      48430‐1003
JENKINS, JOHN W        533 BRIGHTWOOD RD                                                                                MILLERSVILLE     MD      21108‐1741
JENKINS, JOHN W        5606 MCEVER RD                                                                                   FLOWERY BRANCH   GA      30542‐2737
JENKINS, JOHN W        3154 CYPRESS DR                                                                                  ADRIAN           MI      49221‐1741
JENKINS, JOHNNIE L     3418 KIRBY PKWY                                                                                  MEMPHIS          TN      38115‐4247
JENKINS, JOHNNIE LEE   3418 KIRBY PARKWAY                                                                               MEMPHIS          TN      38115‐4247
JENKINS, JOHNNIE S     1376 PERKINS ST.                                                                                 JACKSON          MS      39213‐7128
JENKINS, JOHNNY J      415 CASTLESTONE LN                                                                               MATTHEWS         NC      28104‐7240
JENKINS, JORDAN        1114 VALLEY HACK RD                                                                              FORT CRAINE      NY
JENKINS, JOSEPH        1192 SHADY HILL CT                                                                               FLINT            MI      48532
JENKINS, JOSEPH C      10010 VAN WINKLE LN                                                                              BALTIMORE        MD      21220‐1421
JENKINS, JOSEPH E      2366 SEARLES RD                                                                                  BALTIMORE        MD      21222‐3217
JENKINS, JOSEPHINE
JENKINS, JOSHUA L      107 ROSHON AVE                                                                                   SABINA           OH      45169
JENKINS, JOSIE MAE     SHANNON LAW FIRM                 100 W GALLATIN ST                                               HAZLEHURST       MS      39083‐3007
JENKINS, JR, HAZEL I   5091 S DEEP WATER PT                                                                             HOMOSASSA        FL      34448‐3768
JENKINS, JR,EDDIE      5115 PLEASANT HILL RD                                                                            MEMPHIS          TN      38118‐7824
JENKINS, JR., JOHNNY   615 CHOCTAW ST                                                                                   BROOKHAVEN       MS      39601‐2909
JENKINS, JR.,JAMES W   7 LAKEVIEW LN                                                                                    WEAVERVILLE      NC      28787‐9483
JENKINS, JUDITH A      170 ISLAND VIEW DR                                                                               TRAVERSE CITY    MI      49686‐9313
JENKINS, JUDITH L      2007 SW 60TH AVE                                                                                 AMARILLO         TX      79118‐8300
JENKINS, JULIA H       2243 TOD AVE NW                                                                                  WARREN           OH      44485
JENKINS, JULIUS        PO BOX 420475                                                                                    PONTIAC          MI      48342‐0475
JENKINS, JUNE R        406 SE 7TH ST APT B                                                                              OAK GROVE        MO      64075‐8531
JENKINS, JUNE R        406 S. E. 7TH ST APT B                                                                           OAK GROVE        MO      64075‐8531
JENKINS, JUSTICE B     28616 BALMORAL ST                                                                                GARDEN CITY      MI      48135‐2160
JENKINS, KAREN SUE     6628 DAWN DR APT A                                                                               EL PASO          TX      79912‐2968
JENKINS, KENNA         TRLR 2                           252 SOUTH CASS STREET                                           VIRGINIA         IL      62691‐1101
JENKINS, KENNETH       542 WHITTEMORE ST                                                                                PONTIAC          MI      48342‐3271
JENKINS, KENNETH D     8931 STATE ROUTE 224                                                                             DEERFIELD        OH      44411‐9712
JENKINS, KENNETH R     11806 SAWMILL STREAM CIR                                                                         HOUSTON          TX      77067
JENKINS, KENNETH R     119 FOUNTAIN DR                                                                                  MOORESVILLE      IN      46158‐2766
JENKINS, KENNETH W     171 DUBLIN CT SW                                                                                 MABLETON         GA      30126
JENKINS, KIM L         1020 E COLONIAL PARK DR                                                                          GRAND LEDGE      MI      48837‐2210
JENKINS, L C           4108 SAVANNAH DRIVE                                                                              COLUMBUS         GA      31907
JENKINS, LADANA K
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Name                  Address1                       Address2                Address3     Address4               City              State   Zip
JENKINS, LANCE C      53076 RUANN DR                                                                             SHELBY TOWNSHIP    MI     48316‐2559
JENKINS, LARRY        2921 S MICHIGAN AVE APT 310                                                                CHICAGO             IL    60616
JENKINS, LARRY        4161 DAN DR                                                                                HARRISON           MI     48625‐8685
JENKINS, LARRY A      16231 HIGHWAY E                                                                            LEXINGTON          MO     64067‐8271
JENKINS, LARRY B      414 E BAKER ST                                                                             FLINT              MI     48505‐4359
JENKINS, LARRY B      3517 PROCTOR                                                                               FLINT              MI     48504
JENKINS, LARRY D      484 LINGO RD                   PO BOX 3887                                                 BERNICE            OK     74331
JENKINS, LARRY G      202 HAMPTON OAKS CIR                                                                       VILLA RICA         GA     30180‐7385
JENKINS, LARRY J      2730 HAWLEY BLVD 249                                                                       WESTLAND           MI     48186
JENKINS, LARRY L      1625 WEST 32ND STREET                                                                      MARION             IN     46953‐3433
JENKINS, LARRY LEE    1625 WEST 32ND STREET                                                                      MARION             IN     46953‐3433
JENKINS, LARRY W      15604 BEATRICE AVE                                                                         ALLEN PARK         MI     48101‐2748
JENKINS, LATONIA C    7792 HIGHBROOK DR                                                                          MAINEVILLE         OH     45039‐7325
JENKINS, LAURA E      1934 AMELIA COURT                                                                          MIAMISBURG         OH     45342‐5342
JENKINS, LAURA E      1934 AMELIA CT                                                                             MIAMISBURG         OH     45342‐5472
JENKINS, LAUREN M     31501 SUNSET DR                                                                            BEVERLY HILLS      MI     48025‐5110
JENKINS, LAURETTA M   120 STONYRIDGE DR                                                                          SANDUSKY           OH     44870‐5466
JENKINS, LAVERN R     20172 TRACEY ST                                                                            DETROIT            MI     48235‐1569
JENKINS, LAWRENCE     PO BOX 18372                                                                               RIVER ROUGE        MI     48218‐0372
JENKINS, LAWRENCE     6718 S LOOMIS BLVD                                                                         CHICAGO             IL    60636‐2925
JENKINS, LAWRENCE C   PO BOX 1893                                                                                COLLINS            MS     39428‐1893
JENKINS, LEAH G       9680 WATERFORD PL              APT 102                                                     LOVELAND           OH     45140‐6281
JENKINS, LEAH G       7860 STONEGATE DR APT 1001                                                                 CINCINNATI         OH     45255
JENKINS, LENORA R     29 CUYLER AVE                                                                              TRENTON            NJ     08609‐1517
JENKINS, LEONARD W    110 GRAYWOOD CT                                                                            CENTERVILLE        OH     45458‐2508
JENKINS, LEROY        3154 NEOSHO RD                                                                             YOUNGSTOWN         OH     44511‐3010
JENKINS, LEROY N      550 EDEN DOWNS RD                                                                          JACKSON            MS     39209‐9321
JENKINS, LEWIS B      226 SUZANNE BLVD                                                                           WHITE LAKE         MI     48386‐1978
JENKINS, LEWIS D      1491 S LILY CT                                                                             GREENFIELD         IN     46140‐8167
JENKINS, LEWIS P      329 MERRICK ST                                                                             ADRIAN             MI     49221‐3216
JENKINS, LILLIAN      314 50TH AVENUE TER W          HEATHER HILLS ESTATES                                       BRADENTON          FL     34207‐2743
JENKINS, LILLIAN K    19101 EVERGREEN APT 1010                                                                   DETROIT            MI     48219‐2685
JENKINS, LILLIE       MORRIS, HAYNES & HORNSBY       PO BOX 1660                                                 ALEXANDER CITY     AL     35011‐1660
JENKINS, LILLIE
JENKINS, LINDA        9564 POPULAR ST ELLSBERRY                                                                  ABERDEEN          OH      45101‐9745
JENKINS, LINDA B      12110 NORTHLAWN ST                                                                         DETROIT           MI      48204‐5404
JENKINS, LINDA F      2534 PALISADE DR                                                                           FORT WAYNE        IN      46806‐5317
JENKINS, LIONEL P     MOODY EDWARD O                 801 W 4TH ST                                                LITTLE ROCK       AR      72201‐2107
JENKINS, LISA L       4 BREMEN ST                                                                                HAMILTON          OH      45011‐3104
JENKINS, LISA L       1396 AUDUBON RD                                                                            GROSSE POINTE     MI      48230‐1154
                                                                                                                 PARK
JENKINS, LOLA L       89 HIGHLAND AVE                                                                            SOMERSET          NJ      08873‐2180
JENKINS, LONNIE E     N65W13535 COBBLESTONE CT                                                                   MENOMONEE FLS     WI      53051‐6065
JENKINS, LORETTA      357 MOUNTAINHIGH DRIVE                                                                     ANTIOCH           TN      37013‐5318
JENKINS, LORIS A      4422 ELM STREET BOX 239                                                                    LUNA PIER         MI      48157‐9521
JENKINS, LOVETTA      PO BOX 216                                                                                 DIBBLE            OK      73031‐0216
JENKINS, LOVETTA      5816 OLDE WINTON LANE                                                                      FAIRFIELD         OH      45014‐3997
JENKINS, LUCILLE      VARAS & MORGAN                 PO BOX 886                                                  HAZLEHURST        MS      39083‐0886
JENKINS, LUCILLE      PORTER & MALOUF PA             4670 MCWILLIE DR                                            JACKSON           MS      39206‐5621
JENKINS, LUCILLE      25185 THORNDYKE                                                                            SOUTHFIELD        MI      48034‐2912
JENKINS, LUCILLE E    969 JOLANDA CIR                                                                            VENICE            FL      34285‐4447
JENKINS, LUKE         52442 PAPPY LN                                                                             SHELBY TWP        MI      48316‐3069
JENKINS, LULA M       6020 E 129TH ST                                                                            GRANDVIEW         MO      64030‐2631
JENKINS, LUTHER M     1935 CHENE CT APT 906                                                                      DETROIT           MI      48207‐3858
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Name                       Address1                          Address2               Address3     Address4               City              State Zip
JENKINS, LYMAN U           333 CROMWELL WAY                                                                             LEXINGTON          KY 40503‐4393
JENKINS, LYNN E            116 AVONWOOD BLVD                                                                            ROCHESTER HILLS    MI 48309‐2048
JENKINS, M.L. BUDDY
JENKINS, MACK              8922 HILLVIEW AVE                                                                            JENNINGS          MO   63136‐3716
JENKINS, MANILY E          89 HIGHLAND AVE                                                                              SOMERSET          NJ   08873‐2180
JENKINS, MARCELLA          1638 GLENGARRY WOODS CT                                                                      CANTON            MI   48188‐1796
JENKINS, MARGARET          1 ARGILE CT                                                                                  FRANKLIN          OH   45005‐5005
JENKINS, MARGUERITE M      1401 WOODLAWN PARK DR                                                                        FLINT             MI   48503‐2768
JENKINS, MARIA             568 NORTH SOUTH STREET                                                                       WILMINGTON        OH   45177‐1655
JENKINS, MARIA             568 N SOUTH ST                                                                               WILMINGTON        OH   45177‐1655
JENKINS, MARIAN L          13625 W ALVARADO DR                                                                          GOODYEAR          AZ   85395‐2420
JENKINS, MARIAN LAURETTA   13625 WEST ALVARADO DRIVE                                                                    GOODYEAR          AZ   85395‐2420
JENKINS, MARIANN           29630 BERMUDA LN                                                                             SOUTHFIELD        MI   48076‐1664
JENKINS, MARION G          126 CITYLINE AVENUE NORTHEAST                                                                ATLANTA           GA   30308‐2440
JENKINS, MARK              4511 W 89TH ST                                                                               TULSA             OK   74132‐3429
JENKINS, MARK A            4508 PIPESTONE CT                                                                            NAPERVILLE        IL   60564‐4351
JENKINS, MARK A            141 LEXINGTON AVE                                                                            DAYTON            OH   45402‐6133
JENKINS, MARSHALL          GUY WILLIAM S                     PO BOX 509                                                 MCCOMB            MS   39649‐0509
JENKINS, MARY              PATRICK O'MALLEY                  55 PUBLIC SQ STE 800                                       CLEVELAND         OH   44113‐1909
JENKINS, MARY              57919 PAN AM ST                                                                              PLAQUEMINE        LA   70764‐4141
JENKINS, MARY              5500 GAVIN LAKE AVE NE                                                                       ROCKFORD          MI   49341‐8092
JENKINS, MARY
JENKINS, MARY              2526 SCIOTO TRAIL                                                                            PORTSMOUTH        OH   45662
JENKINS, MARY A            4519 W ROTAMER RD                                                                            JANESVILLE        WI   53546‐1025
JENKINS, MARY D            1131 E MAIN ST                                                                               TROTWOOD          OH   45426‐5426
JENKINS, MARY E            3829 CALLIOPE AVE                                                                            PORT ORANGE       FL   32129‐6027
JENKINS, MARY E            3111 FERRIS AVE                                                                              ROYAL OAK         MI   48073‐3524
JENKINS, MARY E.           1410 S JACKSON                                                                               DEFIANCE          OH   43512‐3209
JENKINS, MARY ELIZABETH    3111 FERRIS AVE                                                                              ROYAL OAK         MI   48073‐3524
JENKINS, MARY G            11177 CHERRYLAWN DR                                                                          BRIGHTON          MI   48114‐8104
JENKINS, MARY KATHLEEN     55 MAYFIELD RD, SE                                                                           CARTERSVILLE      GA   30120‐6873
JENKINS, MARY KATHLEEN     55 MAYFIELD RD SE                                                                            CARTERSVILLE      GA   30120‐6873
JENKINS, MARY L            409 WESTERN AVE                                                                              MARTINSBURG       WV   25401‐4834
JENKINS, MARY L            409 N WESTERN AVE                                                                            MARTINSBURG       WV   25404‐5585
JENKINS, MARY M            10745 KINGSBURY BLVD                                                                         CLEVELAND         OH   44104‐5475
JENKINS, MARY S            19940 STEEL                                                                                  DETROIT           MI   48235‐1133
JENKINS, MARY S            19940 STEEL ST                                                                               DETROIT           MI   48235‐1133
JENKINS, MARY W            PO BOX 872                                                                                   BAY SPRINGS       MS   39422
JENKINS, MATTHEW B         1219 OAKRIDGE DR                                                                             LAPEER            MI   48446‐3729
JENKINS, MATTHEW B         27099 HOLLY LN                                                                               BONITA SPRINGS    FL   34135
JENKINS, MAUREEN E         14 JACK LADDER CIRCLE                                                                        HORSHAM           PA   19044‐1904
JENKINS, MAURICE G         45836 TOURNAMENT DR                                                                          NORTHVILLE        MI   48168
JENKINS, MEGAN             190 IRISH ROAD                                                                               CONCORD           NC   28025
JENKINS, MELVIN            7235 4TH AVE SO.                                                                             RICHFIELD         MN   55423
JENKINS, MERRILL W         1711 N GILBERT ST                                                                            DANVILLE          IL   61832‐2235
JENKINS, MICHAEL A         4341 FRANKLIN TRL                                                                            STERLING          MI   48659‐9405
JENKINS, MICHAEL ARNOLD    4341 FRANKLIN TRL                                                                            STERLING          MI   48659‐9405
JENKINS, MICHAEL B         22460 KENWYCK DR                                                                             SOUTHFIELD        MI   48034‐2125
JENKINS, MICHAEL C         261 JACKSON COVE RD                                                                          SOMERVILLE        AL   35670‐6866
JENKINS, MICHAEL D         5614 BALDWIN BLVD                                                                            FLINT             MI   48505‐5127
JENKINS, MICHAEL E         PO BOX 2353                                                                                  YOUNGSTOWN        OH   44509‐0353
JENKINS, MICHAEL F         34 ELM ST                                                                                    OLD ORCHARD       ME   04064‐1143
                                                                                                                        BEACH
JENKINS, MICHAEL J         5879 FARMERSVILLE W. CARROLLTON                                                              MIAMISBURG        OH   45342
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Name                    Address1                      Address2                       Address3   Address4               City            State   Zip
JENKINS, MICHAEL J      PO BOX 293171                                                                                  KETTERING        OH     45429‐9171
JENKINS, MICHAEL K      350 WOODVIEW ROAD                                                                              BYHALIA          MS     38611‐8224
JENKINS, MICHAEL S      22602 W 64TH TER                                                                               SHAWNEE MSN      KS     66226‐3118
JENKINS, MICHAEL W      514 EUCLID ST                                                                                  MIDDLETOWN       OH     45044‐4912
JENKINS, MICHEAL L      9271 NEFF RD                                                                                   CLIO             MI     48420‐1660
JENKINS, MICHELLE P     7050 STATE ROUTE 7                                                                             KINSMAN          OH     44428‐9202
JENKINS, MILDRED        PO BOX 1164                                                                                    ANTIOCH          TN     37011‐1164
JENKINS, MILDRED M      2142 HURON AVE                                                                                 SPRINGFIELD      OH     45505‐4774
JENKINS, MILDRED R      2834 FEATHERSTONE DR                                                                           HOLIDAY          FL     34691‐2627
JENKINS, MILTON E       1601 S WASHINGTON ST                                                                           KOKOMO           IN     46902‐2008
JENKINS, NANCY L        5000 SAMANTHA CT                                                                               MCDONOUGH        GA     30252‐7081
JENKINS, NATALIE H      2101 HURLEY AVE                                                                                FORT WORTH       TX     76110‐1827
JENKINS, NATHAN C       120 N EDITH ST APT 128                                                                         PONTIAC          MI     48342‐2586
JENKINS, NATHANIEL      PO BOX 420034                                                                                  MIAMI            FL     33242‐0034
JENKINS, NEDRA L        9182 MANTON AVE                                                                                PLYMOUTH         MI     48170‐4121
JENKINS, NEIL C         9601 N OAK RD                                                                                  WHEELER          MI     48662‐9736
JENKINS, NICHOLAS G     5752 SHORTBRIDGE LN                                                                            HILLIARD         OH     43026
JENKINS, NICKY L        ROUTE 2 BOX 315                                                                                ARCHIE           MO     64725‐9360
JENKINS, NICKY L        RR 2 BOX 315                                                                                   ARCHIE           MO     64725‐9360
JENKINS, NORMA          3211 EAST 69TH STREET                                                                          KANSAS CITY      MO     64132
JENKINS, NORMA          3211 E 69TH ST                                                                                 KANSAS CITY      MO     64132‐3261
JENKINS, NORMA M        8705 HUNTERS CREEK DR                                                                          FORT WORTH       TX     76123‐2547
JENKINS, NORMA MAE      8705 HUNTERS CREEK DR                                                                          FORT WORTH       TX     76123‐2547
JENKINS, NORMAN W       9481 S 200 E                                                                                   BUNKER HILL      IN     46914‐9590
JENKINS, NORRIS W       206 KERRY ST                                                                                   EATON RAPIDS     MI     48827‐1381
JENKINS, NORRIS WAYNE   206 KERRY ST                                                                                   EATON RAPIDS     MI     48827‐1381
JENKINS, OFELIA A.      2445 MONARCH DR UNIT 302                                                                       LAREDO           TX     78045‐6428
JENKINS, ORIS B         3025 W LAKE DR NW                                                                              CLEVELAND        TN     37312‐2647
JENKINS, ORNSBY         SHANNON LAW FIRM              100 W GALLATIN ST                                                HAZLEHURST       MS     39083‐3007
JENKINS, OSCAR L        1502 BARBARA DR                                                                                FLINT            MI     48505‐2550
JENKINS, OTHA E         991 PAMER RD                                                                                   ATWATER          OH     44201‐9347
JENKINS, PAMELA J       138 DEERFIELD RD                                                                               COLUMBUS         OH     43228‐1245
JENKINS, PAMELA S       3839 RIFLE RIVER TRL                                                                           PRESCOTT         MI     48756‐9345
JENKINS, PAMELA S       1215 W SUPERIOR ST                                                                             KOKOMO           IN     46901‐5228
JENKINS, PATRICIA E     1311 N MAIN ST                                                                                 HIGGINSVILLE     MO     64037‐1228
JENKINS, PATRICIA L     6105 PAT AVE                                                                                   OKLAHOMA CITY    OK     73149‐5034
JENKINS, PATSY R.       4774 HENLEY AVE.                                                                               COLUMBUS         OH     43228‐1807
JENKINS, PAUL A         4 BUNKER HILL RD                                                                               NEW CASTLE       DE     19720‐4221
JENKINS, PAUL C         7098 FAIRVIEW AVE                                                                              BROOKFIELD       OH     44403‐9754
JENKINS, PAUL C         7098 FAIRVIEW DR.N.E.                                                                          BROOKFIELD       OH     44403‐4403
JENKINS, PAUL R         7264 EDGERTON RD                                                                               N ROYALTON       OH     44133‐5749
JENKINS, PAUL S         436 E LEXINGTON RD                                                                             EATON            OH     45320‐1227
JENKINS, PHIL R         3000 BROOKPARK RD TRLR P16                                                                     CLEVELAND        OH     44134‐1362
JENKINS, PHILIP T       1530 E COBBLESTONE CIR                                                                         WARRINGTON       PA     18976‐2842
JENKINS, PHILLIP E      16513 W HORSESHOE TRL                                                                          LINDEN           MI     48451‐8938
JENKINS, PHYLLIS B      6098 COVERED WAGONS TRL                                                                        FLINT            MI     48532‐2100
JENKINS, PRESTON L      1500 W COLDWATER RD                                                                            FLINT            MI     48505
JENKINS, R M            175 E COURT ST                C/O CORA MAE WALLACE           APT 5                             PIGGOTT          AR     72454‐2710
JENKINS, RALPH R        GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA     23510‐2212
                                                      STREET, SUITE 600
JENKINS, RANDALL L      1185 LINUS ST                                                                                  FLINT           MI      48507‐4103
JENKINS, RAY            119 E 42ND ST                                                                                  COVINGTON       KY      41015‐1843
JENKINS, RAYMOND        BEVAN & ASSOCIATES            10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD      OH      44067
                                                      PROFESSIONAL BLDG
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Name                   Address1                        Address2                        Address3   Address4               City            State Zip
JENKINS, RAYMOND F     4334 KINGSTON HWY                                                                                 LOUDON           TN 37774‐7201
JENKINS, REMUS M       KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                      CLEVELAND        OH 44114
                                                       BOND COURT BUILDING
JENKINS, RICCARDA M    173 CRESTFIELD PL                                                                                 FRANKLIN        TN   37069‐1843
JENKINS, RICHARD       SHANNON LAW FIRM                100 W GALLATIN ST                                                 HAZLEHURST      MS   39083‐3007
JENKINS, RICHARD D     6098 COVERED WAGONS TRL                                                                           FLINT           MI   48532‐2100
JENKINS, RICK P        2038 EDGEWOOD DR                                                                                  TWINSBURG       OH   44087‐1623
JENKINS, RICKY         2995 MILLER DR                                                                                    GADSDEN         AL   35907‐9733
JENKINS, RICKY P       8550 RAVENSWOOD LN                                                                                MACEDONIA       OH   44056‐1743
JENKINS, ROBERT        THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD         SUITE 44                          CORAL GABLES    FL   33146
JENKINS, ROBERT A      400 E MIER RD                                                                                     SANFORD         MI   48657‐9572
JENKINS, ROBERT C      11931 HAROLD ST                                                                                   WARREN          MI   48089‐4622
JENKINS, ROBERT C      11177 CHERRYLAWN DR                                                                               BRIGHTON        MI   48114‐8104
JENKINS, ROBERT D      19 LEISURE DR                                                                                     AUBURNDALE      FL   33823‐9649
JENKINS, ROBERT D      2666 BISCAYNE CT                                                                                  LAPEER          MI   48446
JENKINS, ROBERT E      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA   23510‐2212
                                                       STREET, SUITE 600
JENKINS, ROBERT E      1699 DARWIN RD                                                                                    PINCKNEY        MI   48169‐8117
JENKINS, ROBERT F      6341 LADY JEANETTE DR                                                                             SWARTZ CREEK    MI   48473
JENKINS, ROBERT J      228 E FLINT ST                                                                                    LAKE ORION      MI   48362‐3225
JENKINS, ROBERT J      2820 MERRIWEATHER ST NW                                                                           WARREN          OH   44485‐2509
JENKINS, ROBERT L      7276 ARTESIAN ST                                                                                  DETROIT         MI   48228‐3302
JENKINS, ROBERT L      1438 WATER ST                                                                                     EATON RAPIDS    MI   48827‐1860
JENKINS, ROBERT L      4226 OAKCREST DR                                                                                  LANSING         MI   48917‐4212
JENKINS, ROBERT L      3301 E MAXWELL DR                                                                                 OKLAHOMA CITY   OK   73121‐2245
JENKINS, ROBERT L      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA   23510‐2212
                                                       STREET, SUITE 600
JENKINS, ROBERT LYNN   1438 WATER ST                                                                                     EATON RAPIDS    MI   48827‐1860
JENKINS, ROBERT M      11820 JARVIS HWY                                                                                  DIMONDALE       MI   48821‐8728
JENKINS, ROBERT V      1750 ARCOLA ST                                                                                    GARDEN CITY     MI   48135‐3001
JENKINS, RODERICK E    2716 W ADAMS ST                                                                                   CHICAGO         IL   60612‐2817
JENKINS, RODOLFO A     702 E GENEVA DR                                                                                   DEWITT          MI   48820‐8763
JENKINS, RONALD        3848 GRANT ST                                                                                     HUDSONVILLE     MI   49426‐1207
JENKINS, RONALD D      APT 1315                        1100 WILLOW SPRINGS ROAD                                          KILLEEN         TX   76549‐8008
JENKINS, RONALD E      4614 CENTRAL AVE                                                                                  CLEVELAND       OH   44104‐1014
JENKINS, RONALD E      4224 FOX HOLLOW LN                                                                                STOVER          MO   65078‐1711
JENKINS, RONALD G      BOX 253 59 RAILROAD AVE                                                                           PEDRICKTOWN     NJ   08067
JENKINS, RONALD R      3101 DORF DR                                                                                      MORAINE         OH   45418‐2904
JENKINS, RONALD R      3101 DORF DR.                                                                                     MORAINE         OH   45439‐5439
JENKINS, RONNIE        1232 W COLDWATER RD                                                                               FLINT           MI   48505‐4813
JENKINS, RONNIE L      3629 NEILSON AVE                                                                                  YOUNGSTOWN      OH   44502‐3034
JENKINS, ROSA M        1424 LYNFORD DR SW                                                                                ATLANTA         GA   30310‐3733
JENKINS, ROSALYN D     3154 NEOSHO RD                                                                                    YOUNGSTOWN      OH   44511‐3010
JENKINS, ROSE M        1521 BELOIT AVE                                                                                   JANESVILLE      WI   53546‐3036
JENKINS, ROXANN        2025 BARKS ST                                                                                     FLINT           MI   48503‐4305
JENKINS, ROY A         7109 187TH DR SE                                                                                  SNOHOMISH       WA   98290
JENKINS, ROY C         SUTTER & ENSLEIN                1598 KANAWHA BLVD EAST, SUITE                                     CHARLESTON      WV   25311
JENKINS, ROY J         MOODY EDWARD O                  801 W 4TH ST                                                      LITTLE ROCK     AR   72201‐2107
JENKINS, ROY J         10518 GARNETT ST APT 31                                                                           OVERLAND PARK   KS   66214‐2743
JENKINS, ROY R         2209 JAGUAR DR                                                                                    FRISCO          TX   75034‐1007
JENKINS, RUBY M        PO BOX 223                                                                                        HUNTSVILLE      OH   43324‐0223
JENKINS, RUBY S        11233 GETTYSBURG DARKE RD                                                                         NEW PARIS       OH   45347‐8028
JENKINS, RUSSELL K     301 GLENVIEW DR                                                                                   DAYTON          OH   45440‐3205
JENKINS, RUSSELL L     PO BOX 871841                                                                                     CANTON          MI   48187‐5841
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Name                     Address1                           Address2                      Address3   Address4               City            State   Zip
JENKINS, RUTH            100 ERDMAN PL APT 13D                                                                              BRONX            NY     10475‐5358
JENKINS, RUTH            100 ERDMAN PL                      APT 13D                                                         BRONX            NY     10475‐5358
JENKINS, RUTH R          479 RIDGE RD. A‐4                                                                                  NEWTON FALLS     OH     44444‐1267
JENKINS, RUTH R          479 RIDGE RD APT A4                                                                                NEWTON FALLS     OH     44444‐1267
JENKINS, RYAN            KUHLMAN LAW FIRM                   1100 MAIN ST STE 2550                                           KANSAS CITY      MO     64105‐5192
JENKINS, RYAN            BRETZ LAW OFFICES LLC              PO BOX 1782                                                     HUTCHINSON       KS     67504‐1782
JENKINS, SAMMIE L        5905 DUPONT ST                                                                                     FLINT            MI     48505‐2685
JENKINS, SAMMY L         8256 EDWARD RD                                                                                     FOSTORIA         MI     48435‐9793
JENKINS, SAMUEL A        1646 MELODY LN                                                                                     ARNOLD           MO     63010‐1106
JENKINS, SAMUEL D        3519 SILVER FOX PATH                                                                               BUFORD           GA     30519‐7031
JENKINS, SAMUEL L        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                            STREET, SUITE 600
JENKINS, SANDRA          1056 BOWENS MILL HWY                                                                               FITZGERALD      GA      31750‐7011
JENKINS, SANDRA          19 STONE ST APT 3                                                                                  NEWARK          NJ      07104
JENKINS, SANDRA A        3 WEST LONER AVE                                                                                   GADSDEN         AL      35904
JENKINS, SANDRA C        6769 LEXINGTON PL                                                                                  TEMPERANCE      MI      48182‐1378
JENKINS, SANDRA H        2973 FM 2540 SOUTH                                                                                 BAY CITY        TX      77414‐3372
JENKINS, SANDRA K        7012 E HILLS WAY                                                                                   WOODSTOCK       GA      30189‐2583
JENKINS, SANDRA K        7084 TAPPON DR                                                                                     CLARKSTON       MI      48346‐2634
JENKINS, SANDRA L        705 EAGLES NEST DR                                                                                 HEWITT          TX      76643‐3692
JENKINS, SANFORD L       1450 N STATE HIGHWAY 360 APT 416                                                                   GRAND PRAIRIE   TX      75050‐4122
JENKINS, SANFORD LEE     1450 N STATE HIGHWAY 360 APT 416                                                                   GRAND PRAIRIE   TX      75050‐4122
JENKINS, SARAH           2314 S SLATE ST                                                                                    DEMING          NM      88030‐9251
JENKINS, SARAH F         702 MARSHALL AVE                                                                                   SANDUSKY        OH      44870‐6907
JENKINS, SCOTT J         1321 SAN JUAN DR                                                                                   FLINT           MI      48504‐3232
JENKINS, SEAN N          12410 W 100TH ST                                                                                   LENEXA          KS      66215‐1950
JENKINS, SHAMIKA
JENKINS, SHAMIKA Q       APT 1206                           8200 PINES ROAD                                                 SHREVEPORT      LA      71129‐4424
JENKINS, SHARON E        N65W13535 COBBLESTONE CT                                                                           MENOMONEE FLS   WI      53051‐6065
JENKINS, SHARON F        705 W SUNSET DR                                                                                    BRANDON         MS      39042‐9193
JENKINS, SHARON H        310 JONES RD                                                                                       LONGVIEW        TX      75603‐5846
JENKINS, SHARON M        3104 MANORWOOD DR                                                                                  BRYAN           TX      77801‐4203
JENKINS, SHEILA ANN      4006 S 131ST E AVE.                                                                                TULSA           OK      74134‐5230
JENKINS, SHEILA E        4816 RICHMOND ST                                                                                   LANSING         MI      48911‐2952
JENKINS, SHEILA M        3350 S MAIN ST LOT 8                                                                               MIDDLETOWN      OH      45044
JENKINS, SHERREL L       12795 PINEHURST ST                                                                                 DETROIT         MI      48238‐3087
JENKINS, SHERRY E        PO BOX 276                                                                                         POOLVILLE       TX      76487‐0276
JENKINS, SHERRY ELAINE   PO BOX 276                                                                                         POOLVILLE       TX      76487‐0276
JENKINS, SHIRLEY A       200 MOTES CT                                                                                       RUNAWAY BAY     TX      76426‐9308
JENKINS, SIDNEY A        14272 WESTMAN DR                                                                                   FENTON          MI      48430‐1480
JENKINS, STANLEY G       2841 SCHOOL DR NE                                                                                  PALM BAY        FL      32905‐4274
JENKINS, STANLEY W       1745 GOWENS RD                                                                                     GADSDEN         AL      35903‐4103
JENKINS, STEPHEN
JENKINS, STEPHEN         PO BOX 9022                        GM STRASBOURG                                                   WARREN           MI     48090‐9022
JENKINS, STEPHEN C       1629 LINDEN TRL                                                                                    KALAMAZOO        MI     49009‐2818
JENKINS, STEVEN W        501 E MANN AVE                                                                                     BOAZ             AL     35957
JENKINS, SUNDRA L        PO BOX 37212                                                                                       OAK PARK         MI     48237‐0212
JENKINS, SUNDRA L        12102 MAIDEN ST                                                                                    DETROIT          MI     48213‐1767
JENKINS, SUZANNE M       52442 PAPPY LN                                                                                     SHELBY TWP       MI     48316‐3069
JENKINS, SUZANNE MARIE   52442 PAPPY LN                                                                                     SHELBY TWP       MI     48316‐3069
JENKINS, SYLVESTER C     3637 E 6TH AVE                                                                                     DENVER           CO     80206‐4506
JENKINS, TAMBRIA L       1442 KENNESAW DR NW APT A                                                                          ATLANTA          GA     30318‐6554
JENKINS, TARA J          263 W HARRISON ST                                                                                  ORLEANS          IN     47452‐2026
JENKINS, TED L           10009 WOOLWORTH RD                                                                                 KEITHVILLE       LA     71047‐7556
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Name                      Address1                       Address2                    Address3   Address4               City              State   Zip
JENKINS, TED L            14845 OLD BONITA RD                                                                          BASTROP            LA     71220‐8322
JENKINS, TERESA           24281 PEMBROKE AVE                                                                           DETROIT            MI     48219‐1049
JENKINS, TERRY J          565 EAST ST                                                                                  AMHERST            OH     44001‐2309
JENKINS, TERRY L          919 COPELAND AVE                                                                             BELOIT             WI     53511‐4501
JENKINS, THEODORE R       55 URBAN STREET                                                                              BUFFALO            NY     14211‐1310
JENKINS, THOMAS           PO BOX 24‐1234                                                                               DETROIT            MI     48224
JENKINS, THOMAS           6137 IDAHO AVE                                                                               SAINT LOUIS        MO     63111‐2353
JENKINS, THOMAS
JENKINS, THOMAS A         807 ILLINOIS AVE                                                                             MC DONALD         OH      44437‐1617
JENKINS, THOMAS B         5204 SKADDEN RD                                                                              SANDUSKY          OH      44870‐9758
JENKINS, THOMAS N         2024 SOUTH MADISON AVENUE                                                                    ANDERSON          IN      46016‐4047
JENKINS, TIFFANY R        19811 FIELDING ST                                                                            DETROIT           MI      48219‐2019
JENKINS, TIMOTHY D        42130 COLT WAY                                                                               COARSEGOLD        CA      93614‐9610
JENKINS, TODD M           4908 WARBLER WAY                                                                             DAYTON            OH      45449
JENKINS, TOMMY L          BOX 12900 S RAGSDALE RD                                                                      LONE JACK         MO      64070
JENKINS, TONY             8218 ATHERTON ST                                                                             ARLINGTON         TX      76002‐3031
JENKINS, TREVOR D         5529 WARREN SHARON RD                                                                        VIENNA            OH      44473‐9721
JENKINS, TREVOR L         40850 SAAL RD                                                                                STERLING HTS      MI      48313‐4370
JENKINS, TUJUANA C        4810 BIRCHCREST DR                                                                           FLINT             MI      48504‐5419
JENKINS, VEDA             PO BOX 157114                                                                                CINCINNATI        OH      45215‐7114
JENKINS, VEDA O           1410 DORIS DR                                                                                SULPHUR SPRINGS   TX      75482‐4813
JENKINS, VENITA M         APT 116                        1100 EAST LAMAR BOULEVARD                                     ARLINGTON         TX      76011‐4332
JENKINS, VENITA M         1100 E LAMAR BLVD APT 116                                                                    ARLINGTON         TX      76011‐4332
JENKINS, VICKIE           PO BOX 524                                                                                   TOPPING           VA      23169‐0524
JENKINS, VICTORIA L       1154 NAZOR RD                                                                                GALION            OH      44833‐9733
JENKINS, VIRGIL           GUY WILLIAM S                  PO BOX 509                                                    MCCOMB            MS      39649‐0509
JENKINS, VIRGINIA         3829 RIVER RIDGE CT                                                                          DECATUR           GA      30034‐6902
JENKINS, VIRGINIA O       606 PRATT ST APT 310                                                                         LONGMONT          CO      80501‐4943
JENKINS, VIVIAN A         118 HUMBER AVE APT 2                                                                         BUFFALO           NY      14215‐3117
JENKINS, WALTER           5500 GAVIN LAKE AVE NE                                                                       ROCKFORD          MI      49341‐8092
JENKINS, WALTER           5066 OWEN RD                                                                                 LINDEN            MI      48451‐9085
JENKINS, WALTER D         PO BOX 872                                                                                   BAY SPRINGS       MS      39422‐0872
JENKINS, WALTER H         29630 BERMUDA LN                                                                             SOUTHFIELD        MI      48076‐1664
JENKINS, WANITA J         G 3032 W CARPENTER RD                                                                        FLINT             MI      48504
JENKINS, WARREN M         3440 N ERIE ST                                                                               TOLEDO            OH      43611
JENKINS, WC               GUY WILLIAM S                  PO BOX 509                                                    MCCOMB            MS      39649‐0509
JENKINS, WILBURN A        9271 NEFF RD                                                                                 CLIO              MI      48420‐1660
JENKINS, WILLARD A        9797 ALARKA RD                                                                               BRYSON CITY       NC      28713‐6604
JENKINS, WILLIAM          PORTER & MALOUF PA             4670 MCWILLIE DR                                              JACKSON           MS      39206‐5621
JENKINS, WILLIAM
JENKINS, WILLIAM A        7138 CLIFFSIDE DR                                                                            RACINE            WI      53402‐1286
JENKINS, WILLIAM A        1405A NASHVILLE HWY                                                                          COLUMBIA          TN      38401‐2003
JENKINS, WILLIAM C        210 N JEFFERSON BOX 129                                                                      FITHIAN           IL      61844
JENKINS, WILLIAM C        11110 JERRYSON DR                                                                            GRAND LEDGE       MI      48837‐9180
JENKINS, WILLIAM C        636 CARPENTER RD                                                                             FLUSHING          MI      48433‐1359
JENKINS, WILLIAM C        11270 HONEYSUCKLE CT                                                                         FENTON            MI      48430‐4009
JENKINS, WILLIAM D        121 E MEADOW GLEN DR                                                                         BRAZIL            IN      47834‐8292
JENKINS, WILLIAM D        34834 BIRCHGROVE DR APT 2B                                                                   STERLING HTS      MI      48312
JENKINS, WILLIAM G        743 E 1100 N                                                                                 ROANOKE           IN      46783‐9425
JENKINS, WILLIAM G        640 N AUGUSTA AVE                                                                            BALTIMORE         MD      21229‐1801
JENKINS, WILLIAM GUSTAF   743 E 1100 N                                                                                 ROANOKE           IN      46783‐9425
JENKINS, WILLIAM H        PO BOX 60007                                                                                 DAYTON            OH      45406‐0007
JENKINS, WILLIAM K        664 KIRBY BRIDGE ROAD                                                                        DANVILLE          AL      35619‐6357
JENKINS, WILLIAM L        PO BOX 82                                                                                    DOVER             MO      64022‐0082
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Name                             Address1                        Address2                        Address3   Address4               City            State   Zip
JENKINS, WILLIAM L               7628 SEA CREST WAY S                                                                              NOBLESVILLE      IN     46062‐6896
JENKINS, WILLIAM L               315 OAK RDG                                                                                       MASON            MI     48854‐2500
JENKINS, WILLIAM N               9 STONE AVE                                                                                       WHITE PLAINS     NY     10603‐2116
JENKINS, WILLIAM P               P.O.BOX 82                                                                                        LEAVITTSBURG     OH     44430‐0082
JENKINS, WILLIAM P               PO BOX 82                                                                                         LEAVITTSBURG     OH     44430‐0082
JENKINS, WILLIAM W               195 RUSKIN DRIVE                                                                                  SPRINGDALE       OH     45246‐2452
JENKINS, WILLIAM W               195 RUSKIN DR                                                                                     SPRINGDALE       OH     45246‐2452
JENKINS, WILLIE                  VARAS & MORGAN                  PO BOX 886                                                        HAZLEHURST       MS     39083‐0886
JENKINS, WILLIE                  PORTER & MALOUF PA              4670 MCWILLIE DR                                                  JACKSON          MS     39206‐5621
JENKINS, WILLIE MAE              840 PARKWOOD                                                                                      PONTIAC          MI     48340‐3027
JENKINS, WILLIE C                1424 LYNFORD DR SW                                                                                ATLANTA          GA     30310‐3733
JENKINS, WILLIE J                4106 ELM ST                                                                                       MONROE           LA     71203‐5724
JENKINS, WILLIE JAMES            BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                                     DALLAS           TX     75219
JENKINS, WILLIE JAMES            DIMOS BROWN ERSKINE BURKETT &   1216 STUBBS AVE                                                   MONROE           LA     71201‐5622
                                 GARNER LLP
JENKINS, WILLIE JAMES            BARON & BUDD PC                 9015 BLUEBONNET BLVD                                              BATON ROUGE     LA      70810‐2812
JENKINS, WILLIE M                3 BERRYWOOD CIRCLE                                                                                JACKSON         MS      39213‐7946
JENKINS, WILLIE MAE              840 PARKWOOD AVE                                                                                  PONTIAC         MI      48340‐3027
JENKINS, WILLIE R                1028 HARRISON AVE                                                                                 ROSELLE         NJ      07203‐2232
JENKINS, WILLIE W                5514 WINTHROP BLVD                                                                                FLINT           MI      48505‐5137
JENKINS, WILSON M                211 MEADOW LN                                                                                     SANDUSKY        OH      44870‐5762
JENKINS, YOULANDA                504 W DEWEY AVE                                                                                   YOUNGSTOWN      OH      44511‐1706
JENKINS, ZULLA                   2540 SMITH ST                                                                                     SCOTCH PLAINS   NJ      07076‐2037
JENKINS,RUSSELL K                301 GLENVIEW DR                                                                                   DAYTON          OH      45440‐3205
JENKINS‐ARMOUR, DARLENE I        PO BOX 29236                                                                                      SHREVEPORT      LA      71149‐9236
JENKINS‐ARMOUR, DARLENE ISHIKA   PO BOX 29236                                                                                      SHREVEPORT      LA      71149‐9236
JENKINS‐LOWE, BEVERLY M          834 PENNINGTON AVE                                                                                TRENTON         NJ      08618‐2912
JENKINS‐SCISSUM, SWANNIE G       427 EARLY RD                                                                                      YOUNGSTOWN      OH      44505‐3950
JENKINS‐STARKS, MARCHELLA R      2054 SALT SPRINGS RD                                                                              WARREN          OH      44481‐9788
JENKINS‐STARKS, MARCHELLA R      2064 SALT SPRINGS RD                                                                              WARREN          OH      44481‐9788
JENKINS‐TUCKER, KAREN E          29337 W CHANTICLEER DR                                                                            SOUTHFIELD      MI      48034‐1484
JENKINS. THOMAS                  MURPHY & PRACHTHAUSER SC        ONE PLAZA EAST 330 EAST                                           MILWAUKEE       WI      53202
                                                                 KILBOURN AVENUE SUITE 1200
JENKINSON, ANNE                  5320 WINFIELD WAY APT 1                                                                           SACRAMENTO       CA     95841‐3237
JENKINSON, ARTHUR J              6010 DVORAK STREET                                                                                CLARKSTON        MI     48346‐3227
JENKINSON, ARTHUR J              5010 DVORAK ST                                                                                    CLARKSTON        MI     48346‐3227
JENKINSON, CALVIN C              36534 ROWE DR                                                                                     STERLING HTS     MI     48312‐3280
JENKINSON, CARROL M              6542 DOYON DR S                                                                                   WATERFORD        MI     48327‐3808
JENKINSON, CHARLES F             404 MEADOWHILL DR                                                                                 BENBROOK         TX     76126‐4053
JENKINSON, CHARLES W             5378 6 MILE CREEK RD                                                                              CORUNNA          MI     48817‐9721
JENKINSON, DANIEL C              6227 E JOY RD                                                                                     ANN ARBOR        MI     48105‐9680
JENKINSON, DANIEL CALVIN         6227 E JOY RD                                                                                     ANN ARBOR        MI     48105‐9680
JENKINSON, GERALD R              690 HAMPTON ST                                                                                    ELLOREE          SC     29047‐9377
JENKINSON, GUY W                 12302 CEDAR KNOLL CT                                                                              SHELBY TWP       MI     48315‐3400
JENKINSON, IRENE B               1392 WILLIAMS LK RD                                                                               WHITE LAKE       MI     48386‐4359
JENKINSON, IRENE B               1392 S WILLIAMS LAKE RD                                                                           WHITE LAKE       MI     48386‐4359
JENKINSON, JAMES A               6010 DVORAK ST                                                                                    CLARKSTON        MI     48346‐3227
JENKINSON, JAMES C               8998 WILD IRIS CT                                                                                 DAVISBURG        MI     48350‐1527
JENKINSON, JUDY M                2476 FIR TRL                                                                                      HARRISON         MI     48625‐7709
JENKINSON, JUDY MAE              2476 FIR TRL                                                                                      HARRISON         MI     48625‐7709
JENKINSON, REGINA HOPE           332 GLENDALE COURT                                                                                ROCHESTER        MI     48307
JENKINSON, REGINA HOPE           332 GLENDALE CT                                                                                   ROCHESTER        MI     48307‐1106
JENKINSON, SELMA                 1201 W CEDAR AVE APT C6                                                                           GLADWIN          MI     48624
JENKINSON, SELMA                 APT C6                          1201 WEST CEDAR AVENUE                                            GLADWIN          MI     48624‐1875
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Name                   Address1                       Address2                         Address3   Address4               City             State   Zip
JENKINSON, THOMAS Q    120 OLD CARRIAGE DR                                                                               ENGLEWOOD         OH     45322‐1168
JENKINTOWN PBG         ATTN KAREN FINNEY              830 OLD YORK RD                                                    JENKINTOWN        PA     19046‐1557
JENKO, FLORA           1675 OAKHAM RD                                                                                    EUCLID            OH     44117‐1941
JENKS CHRIS            PO BOX 24536                                                                                      MINNEAPOLIS       MN     55424‐0536
JENKS HARRY (471627)   BARON & BUDD                   3102 OAK LANE AVE , SUITE 1100                                     DALLAS            TX     75219
JENKS II, RICHARD P    5401 OVERLAND TRL                                                                                 PITTSBURGH        PA     15236‐2844
JENKS ROSE             2509 KENTUCKY AVENUE                                                                              FLINT             MI     48506‐3863
JENKS SIBYLE           102 MOUNT VERNON CT                                                                               LOCUST GROVE      VA     22508‐5227
JENKS SR, DONALD E     3454 EAGLE HARBOR RD                                                                              ALBION            NY     14411‐9306
JENKS, ALVIN J         698 W HOWARD RD                                                                                   BEAVERTON         MI     48612‐9420
JENKS, BEULAH V        15181 E LEE RD                                                                                    ALBION            NY     14411‐9546
JENKS, CAROL A         12977 STATE ROUTE 31                                                                              ALBION            NY     14411‐9132
JENKS, CHARLES G       2088 S STATE RD                                                                                   DAVISON           MI     48423‐8632
JENKS, CHARLES R       35720 HAZELWOOD ST                                                                                WESTLAND          MI     48186‐8210
JENKS, DANIEL D        11924 BIG LAKE RD                                                                                 DAVISBURG         MI     48350‐3404
JENKS, DANIEL E        3572 ORANGEPORT RD                                                                                GASPORT           NY     14067‐9381
JENKS, DANIEL L        860 CRYSTAL DR                                                                                    JENISON           MI     49428
JENKS, DANIEL LEE      860 CRYSTAL DR                                                                                    JENISON           MI     49428
JENKS, DAVID P         12801 HARRIS RD                                                                                   GERMANTOWN        OH     45327‐9727
JENKS, DELBERT L       317 N MAIN ST                                                                                     LOMBARD            IL    60148‐1628
JENKS, DONNA L         314 EVERDALE RD                                                                                   PEACHTREE CITY    GA     30269‐1191
JENKS, DORIS T         1133 WOODSIDE DR                                                                                  ANDERSON          IN     46011‐2460
JENKS, DOUGLAS A       4644 CRAMPTON WAY                                                                                 HOLT              MI     48842‐1572
JENKS, DOUGLAS L       610 W MAIN ST                                                                                     GRAND LEDGE       MI     48837‐1044
JENKS, FREDERIC A      65 JOY ST                                                                                         CLARKSTON         MI     48346‐4117
JENKS, GAYLE E         4159 E SHORE DR                                                                                   STANTON           MI     48888‐9183
JENKS, GAYLE EUGENE    4159 EAST SHORE DRIVE                                                                             STANTON           MI     48888‐9183
JENKS, HARRY           BARON & BUDD                   3102 OAK LANE AVE, SUITE 1100                                      DALLAS            TX     75219
JENKS, HERBERT E       408 N WABASH AVE                                                                                  LA FONTAINE       IN     46940‐9036
JENKS, J P INC         PO BOX 370                                                                                        MADISON           OH     44057‐0370
JENKS, JANET M         PO BOX 475                                                                                        HOLLEY            NY     14470‐0475
JENKS, JEANNETTE R     375 WATSON ST                                                                                     TOCCOA            GA     30577‐1615
JENKS, JEANNETTE R     639 WATSON ST                                                                                     TOCCOA            GA     30577‐1960
JENKS, JEFF A          7255 TUTTLE HILL RD                                                                               YPSILANTI         MI     48197‐9725
JENKS, JOSEPH          446 GLEN OAKS DR APT 1A                                                                           MUSKEGON          MI     49442‐2316
JENKS, JUDY CAROL      2088 S STATE RD                                                                                   DAVISON           MI     48423‐8632
JENKS, LAWRENCE W      1311 PORT SHELDON ST                                                                              JENISON           MI     49428‐9215
JENKS, LEONARD F       3063 NANWICH DR                                                                                   WATERFORD         MI     48329‐3333
JENKS, LORI L          8360 OLD PLANK RD                                                                                 GRAND BLANC       MI     48439‐2041
JENKS, LOWELL          8465 CHAPMAN RD                                                                                   GASPORT           NY     14067‐9460
JENKS, LYNN A          3213 EDEN RD                                                                                      LESLIE            MI     49251‐9572
JENKS, M I             1600 LIBERTY ST                                                                                   COVINGTON         IN     47932‐1715
JENKS, M I             1600 E LIBERTY ST                                                                                 COVINGTON         IN     47932
JENKS, MARY R          4206 TOBACCO RD                                                                                   HARRISON          MI     48625‐7334
JENKS, MATTHEW L       617 N MCEWAN ST                                                                                   CLARE             MI     48617‐1439
JENKS, MATTHEW LLOYD   617 N MCEWAN ST                                                                                   CLARE             MI     48617‐1439
JENKS, NANCY L         122 E ELM ST                                                                                      MASON             MI     48854‐1610
JENKS, NORMAN E        1769 LAVENDER RD                                                                                  THOMPSONS         TN     37179‐9785
                                                                                                                         STATION
JENKS, OLIVER G        97 STATE ST                                                                                       HOLLEY            NY     14470‐1226
JENKS, RAYMOND E       22788 230TH AVE                                                                                   PARIS             MI     49338‐9429
JENKS, RICHARD A       419 YORK RD                                                                                       ROCK ISLAND       TN     38581‐7062
JENKS, RICHARD E       1115 N AUDOBON DR                                                                                 MARION            IN     46952‐2034
JENKS, ROBERT A        214 NATURE CIR                                                                                    JESUP             GA     31545‐2350
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Name                   Address1                             Address2                          Address3                 Address4               City               State   Zip
JENKS, RODERICK D      9890 BRIDGE LAKE RD                                                                                                    CLARKSTON           MI     48348
JENKS, ROGER L         9380 ROBINWOOD DR                                                                                                      GRAND BLANC         MI     48439‐9506
JENKS, ROSE M          2509 KENTUCKY AVE                                                                                                      FLINT               MI     48506‐3863
JENKS, SCOTT B         173 JADE LN                                                                                                            WHITMORE LAKE       MI     48189‐8261
JENKS, TERRY R         855 LAKE JAMES DR                                                                                                      PRUDENVILLE         MI     48651‐9408
JENKS, VELMA M         50 ZANDER DR                                                                                                           CHILLICOTHE         OH     45601‐1267
JENKS, WARREN R        8078 STIRLING FALLS CIR                                                                                                SARASOTA            FL     34243‐4204
JENKS, WARREN W        9485 COLBY RD BOX 361                                                                                                  CRYSTAL             MI     48818
JENKS, WILLIAM E       17594 CLARK ST                                                                                                         RIVERVIEW           MI     48193‐4221
JENKUSKY, JOHN R       2840 SAVILLE GARDEN WAY                                                                                                VIRGINIA BEACH      VA     23453‐7005
JENLOTES INSTITUTE     280 S SERENITY WAY                                                                                                     GREENWOOD           IN     46142‐8433
JENNA BOONE            380 LOCKWOOD RD                                                                                                        ORTONVILLE          MI     48462‐9143
JENNA BURKEY           19823 N 129TH DR                                                                                                       SUN CITY WEST       AZ     85375‐3229
JENNA CROWLEY          34 RAVINE DR                                                                                                           SAINT CHARLES       MO     63304‐7035
JENNA DUPLANTY         1256 VINEWOOD ST                                                                                                       AUBURN HILLS        MI     48326‐1649
JENNA GUINN            1600 N LIBERTY ST                                                                                                      INDEPENDENCE        MO     64050‐1617
JENNA H BURKEY         19823 N 129TH DR                                                                                                       SUN CITY WEST       AZ     85375‐3229
JENNA PECHAUER         13460 N FENTON RD                                                                                                      FENTON              MI     48430‐1118
JENNA SAWDY            8422 N COCHRAN RD                                                                                                      GRAND LEDGE         MI     48837‐9485
JENNARD GAUTHIER       2320 SHEICK RD                                                                                                         MONROE              MI     48162‐9471
JENNE M CREATURA       24 TUTTLE                                                                                                              CLARENDON HILLS      IL    60514
JENNE MOLDOVAN         1197 RUE DEAUVILLE BLVD                                                                                                YPSILANTI           MI     48198‐7545
JENNE‐TAI WANG         5671 STONEHAVEN BLVD                                                                                                   ROCHESTER           MI     48306‐4939
JENNEJOHN, ROBERT F    32 GALENA ST                                                                                                           ROCHESTER           NY     14612‐5218
JENNEKE, JAMES H       1829 NE 74TH ST                                                                                                        LINCOLN CITY        OR     97367‐9422
JENNEKER, VERNON L     2172 MICHELE DR                                                                                                        TROY                MI     48085‐3825
JENNEL TYUS            65 RATHBONE ST                                                                                                         MOUNT CLEMENS       MI     48043‐5958
JENNELL LOVELACE       2009 W 12TH ST                                                                                                         ANDERSON            IN     46016‐3009
JENNELL, JACKSON L     3246 CROSBY LN                                                                                                         JACKSONVILLE        FL     32216‐5512
JENNELLE, SYLVIA       1968 TANNERS COVE RD                                                                                                   HEBRON              KY     41048‐8337
JENNEMAN, PAULINE T    CARRINGTON PLACE                     35250 FREEDOM RD                                                                  FARMINGTON HILLS    MI     48335

JENNEMAN, VIDA M       13804 THOMPSON RD                                                                                                      VERMILION          OH      44089‐9136
JENNENS, ROBERT A      1833 E STARMIST PL                                                                                                     ORO VALLEY         AZ      85737‐3471
JENNER & BLOCK         ATTN: JOSEPH P. GROMACKI             353 N. CLARK ST.                                                                  CHICAGO            IL      60654‐3456
JENNER & BLOCK         PHILIP L. HARRIS                     ONE IBM PLAZA                     353 N. CLARK ST.                                CHICAGO            IL      60654‐3456
JENNER & BLOCK         ATTN: PHILIP L. HARRIS               ONE IBM PLAZA                     353 N. CLARK ST.                                CHICAGO            IL      60654‐3456
JENNER & BLOCK         JOSEPH P. GROMACKI                   330 N. WABASH AVENUE                                                              CHICAGO            IL      60611
JENNER & BLOCK LLP     ATTN: CORPORATE OFFICER/AUTHORIZED   353 N. CLARK ST.                                                                  CHICAGO            IL      60654‐3456
                       AGENT
JENNER & BLOCK LLP     JOSEPH P. GROMACKI                   353 N. CLARK ST.                                                                  CHICAGO             IL     60654‐3456
JENNER & BLOCK LLP     601 13TH ST NW FL 12                                                                                                   WASHINGTON          DC     20005‐3819
JENNER & BLOCK LLP     353 N. CLARK ST.                                                                                                       CHICAGO             IL     60654‐3456
JENNER & BLOCK LLP     ATTY FOR SPECIAL COUNSEL TO THE      ATTN MICHAEL S TERRIEN            353 N CLARK ST                                  CHICAGO             IL     60654‐3456
                       DEBTORS AND DEBTORS IN POSSESSION

JENNER & BLOCK LLP     SPECIAL COUNSEL FOR DEBTORS          ATTN: PATRICK J. TROSTLE &        919 THIRD AVENUE, 37TH                          NEW YORK            NY     10022‐3908
                                                            HEATHER D. MCARN                  FLOOR
JENNER & BLOCK LLP     SPECIAL COUNSEL FOR DEBTORS          ATTN: DANIEL R. MURRAY & JOSEPH   353 N. CLARK ST.                                CHICAGO             IL     60654‐3456
                                                            P. GROMACKI
JENNER & BLOCK, LLP    PHILIP L. HARRIS, ESQ.               ONE IBM PLAZA                     353 N. CLARK ST.                                CHICAGO             IL     60654‐3456
JENNER & BLOCK, LLP    PHILIP L. HARRIS, ESQ.               353 N. CLARK ST.                                                                  CHICAGO             IL     60654‐3456
JENNER AND BLOCK LLP   353 N. CLARK ST.                                                                                                       CHICAGO             IL     60654‐3456
JENNER, CAROL F        40259 IVYWOOD LN                                                                                                       PLYMOUTH            MI     48170‐2727
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Name                   Address1                            Address2                       Address3   Address4               City               State   Zip
JENNER, CHARLES D      147 COTTONWOOD CIR S                                                                                 COLLIERVILLE        TN     38017‐1232
JENNER, MELVIN         1062 N SADDLER RD                                                                                    LUTHER              MI     49556‐9806
JENNER, PATSY          3081 EAST IL. 250                                                                                    OLNEY                IL    62450
JENNER, PATSY          3081 E IL 250                                                                                        OLNEY                IL    62450‐4503
JENNER, PHILIP C       511 W 11TH ST                                                                                        OOLITIC             IN     47451‐9750
JENNESE BAAS           2510 TERI LYN CT                                                                                     LAPEER              MI     48446‐8321
JENNESS, ROBERT G      1114 NORTHFIELD LN                                                                                   ANDERSON            IN     46011‐9528
JENNESS, RYAN M        1775 BRIDGEWATER DR                                                                                  YPSILANTI           MI     48198‐3282
JENNESS, RYAN M.       1775 BRIDGEWATER DR                                                                                  YPSILANTI           MI     48198‐3282
JENNET CURTIS          37 CLAMSHELL POINT LN                                                                                COTUIT              MA     02635‐3428
JENNET L MORSE         1137 PANAMA AVE                                                                                      MOUNT MORRIS        MI     48458‐2533
JENNETT BETTY          56 HURON AVE                                                                                         MOUNT CLEMENS       MI     48043‐1712
JENNETT PARKER         PO BOX 98                                                                                            RUTHER GLEN         VA     22546‐0098
JENNETTA GREEN         4633 MIDWAY AVE                                                                                      DAYTON              OH     45417‐1353
JENNETTE ROMANOWSKI    726 FOREST LAKE DR                                                                                   LAKELAND            FL     33809‐3735
JENNETTE, ANTHONY D    73 SANDPIPER RD                                                                                      BARNEGAT            NJ     08005
JENNETTE, DONALD W     PO BOX 547                                                                                           KEWADIN             MI     49648‐0547
JENNETTE, EMIL         12 ELLIS ST                                                                                          FREEHOLD            NJ     07728‐1810
JENNEVE, ROBIN D       1142 N FAIRVIEW AVE                                                                                  GOLETA              CA     93117‐1819
JENNEVIA B HARTLEY     456 EARLY RD.                                                                                        YOUNGSTOWN          OH     44505‐3951
JENNEVIA HARTLEY       456 EARLY RD                                                                                         YOUNGSTOWN          OH     44505‐3951
JENNEX SR, RICHARD L   3099 BARTON DR                                                                                       STERLING HTS        MI     48310‐3613
JENNEX, TIMOTHY L      705 GASPER ST                                                                                        CHESANING           MI     48616‐1701
JENNEX, TIMOTHY L      1022 CHIPMAN                                                                                         OWOSSO              MI     48867
JENNEY, DALE VIRGIL    GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                     SAGINAW             MI     48604‐2602
                                                           260
JENNI PFISTER          2410 HESSVILLE RD                                                                                    ELMORE             OH      43416‐9567
JENNIBEL MILLER        115 HALIFAX DR                                                                                       VANDALIA           OH      45377‐2907
JENNICHES, BARTLEY F   2757 NORBERT ST                                                                                      FLINT              MI      48504‐4523
JENNIE A MALUCHNIK     43561 EUREKA DR, LOT 146                                                                             CLINTON TWP        MI      48036
JENNIE A PRICE         840 BUCKEYE ST NW                                                                                    WARREN             OH      44485‐2916
JENNIE ABBOTT          2213 MEADOW WAY                                                                                      ANDERSON           IN      46012‐9452
JENNIE ALFERS          1846 LINCOLN AVE                                                                                     NORWOOD            OH      45212‐2956
JENNIE ANDERSON        1270 S POOR FARM RD                                                                                  HARRISVILLE        MI      48740‐9551
JENNIE ANNIS           365 LAKES EDGE DR                                                                                    OXFORD             MI      48371‐5224
JENNIE ANTENUCCI       24002 EFFINGHAM BLVD                                                                                 EUCLID             OH      44117‐1926
JENNIE B BOOKER        131 CAMBRIDGE                                                                                        DAYTON             OH      45406‐5006
JENNIE B MIELCAREK     3180 MORTIMER RD.                                                                                    TRANSFER           PA      16154‐8910
JENNIE BABIK           172 CREED ST                                                                                         STRUTHERS          OH      44471‐1634
JENNIE BARKER          15776 MCLAIN AVE                                                                                     ALLEN PARK         MI      48101‐2026
JENNIE BARNARD         560 MASSEY CHURCH RD                                                                                 SMYRNA             DE      19977‐9427
JENNIE BARTKOWIAK      25931 MCDONALD ST                                                                                    DEARBORN HEIGHTS   MI      48125‐1446

JENNIE BASSETT         700 MIAMI BLVD                                                                                       KOKOMO             IN      46902‐5300
JENNIE BODWELL         38746 CLINTON AVE                                                                                    DADE CITY          FL      33525‐1903
JENNIE BONASORO        41 GILBERT ST                                                                                        FRAMINGHAM         MA      01702‐7221
JENNIE BRADY           C/O JAMES BRADY                     1007 CTY RT 64                                                   SHUSHAN            NY      12873
JENNIE BROWN           397 ENCHANTED DR                                                                                     ANDERSON           IN      46013‐1072
JENNIE BRUNO           539 HADLEY AVE APT 1                                                                                 DAYTON             OH      45419‐2226
JENNIE BUDZINSKI       1960 SHERIDAN DR                    APT 6                                                            KENMORE            NY      14223‐1228
JENNIE BURNETT         3526 SENORA AVE SE                                                                                   GRAND RAPIDS       MI      49508‐2509
JENNIE C BABIK         172 CREED ST.                                                                                        STRUTHERS          OH      44471‐1634
JENNIE CAMPAGNA        50 PARKWOOD AVE                                                                                      KENMORE            NY      14217‐2716
JENNIE CARMAN          5 BRAVER DR                                                                                          TRENTON            NJ      08610‐1307
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Name                                   Address1                         Address2              Address3            Address4               City             State   Zip
JENNIE CHOSS                           6423 BUCKEYE LN                                                                                   GRANITE BAY       CA     95746‐9681
JENNIE CIECKO                          7630 SLOAN ST                                                                                     TAYLOR            MI     48180‐2466
JENNIE CILEO                           54 EATON RD                                                                                       BORDENTOWN        NJ     08505‐2716
JENNIE CLARK                           430 S 2ND ST                                                                                      TIPP CITY         OH     45371‐1719
JENNIE CLARK                           412 N SHIAWASSEE BOX 54                                                                           BANCROFT          MI     48414
JENNIE CLARKE                          827 OLD SCOUT COURT                                                                               GASTON            SC     29053
JENNIE CLAY                            10412 DURNESS DR                                                                                  SAINT LOUIS       MO     63137‐3757
JENNIE COOPER                          1613 WOODLIN DR                                                                                   FLINT             MI     48504‐1682
JENNIE CORBO                           75 TIFFANY DR                                                                                     EAST HANOVER      NJ     07936‐2518
JENNIE CRAVER                          1547 DODGE DR NW                                                                                  WARREN            OH     44485‐1820
JENNIE CREIGHTON                       39 PHILADELPHIA ST                                                                                BUFFALO           NY     14207‐1625
JENNIE CRULL                           5747 W 1000 N                                                                                     FRANKTON          IN     46044‐9378
JENNIE CULBERSON                       2822 HAMPSHIRE ST                                                                                 SAGINAW           MI     48601‐4563
JENNIE CUNNINGHAM                      5420 W 900 N                                                                                      FRANKTON          IN     46044‐9695
JENNIE D CLARK                         430 S 2ND ST                                                                                      TIPP CITY         OH     45371‐1719
JENNIE DAMON                           1465 CARMAN ST                                                                                    BURTON            MI     48529‐1209
JENNIE DAVIS                           1535 LAMBDEN RD                                                                                   FLINT             MI     48532‐4550
JENNIE DEANGELIS                       28824 BOHN ST                                                                                     ROSEVILLE         MI     48066‐2491
JENNIE DENAMEN                         369 TAMPLIN ST                                                                                    SHARON            PA     16146‐2446
JENNIE DENNISTON                       828 B E HIGH ST                                                                                   LOCKPORT          NY     14094
JENNIE DERIDDER                        2704 DONCASTER AVE SW                                                                             GRAND RAPIDS      MI     49509‐2024
JENNIE DIETER                          274 AKRON STREET                                                                                  LOCKPORT          NY     14094‐5102
JENNIE DIXON                           12421 MONICA ST                                                                                   DETROIT           MI     48204‐5306
JENNIE DUMOND                          1797 FOX HILL DR                                                                                  LAKELAND          FL     33810‐3043
JENNIE E KELLEY, TOD CHARLES TOOLEY,   NANCY HAWKINS, SHARON CYWINSKI   S/O JENNIE E KELLEY   5212 CYNTHIANA RD                          EVANSVILLE        IN     47720‐1821

JENNIE EDDINGSAAS                      1025 SKOGDALEN DR                                                                                 STOUGHTON        WI      53589‐1894
JENNIE ELIAS                           1810 GAIT CIR                                                                                     WARRINGTON       PA      18976‐2725
JENNIE EMBRY                           235 YORKSHIRE BLVD APT 109                                                                        DEARBORN HTS     MI      48127‐3514
JENNIE ERICSON                         CHRISTIAN HILL                                                                                    BARRE            MA      01005
JENNIE EVANS                           134 GRAVES RD                                                                                     OXFORD           PA      19363‐3919
JENNIE FAITH                           1258 PINECREST CIR                                                                                TARPON SPRINGS   FL      34689‐2128
JENNIE FATTORI                         2300 S. BROAD ST., APT E 12                                                                       TRENTON          NJ      08610
JENNIE FICZYCZ                         15048 GARY LN                                                                                     LIVONIA          MI      48154‐5100
JENNIE FURA                            287 CLINTON ST                                                                                    LOCKPORT         NY      14094‐2409
JENNIE G HOPKINS                       1803 SALT ST                                                                                      SAGINAW          MI      48602‐1256
JENNIE GABOR                           4 BIRCH CT                                                                                        NEWTOWN          PA      18940‐9253
JENNIE GAINES                          PO BOX 14474                                                                                      SAGINAW          MI      48601‐0474
JENNIE GALLOWAY                        1012 N 1094 E                                                                                     GREENTOWN        IN      46936‐9566
JENNIE GEISS                           518 HAMILTON ST                                                                                   SYRACUSE         NY      13204‐1922
JENNIE GENEVA                          105 JAMESTOWN LANDING RD                                                                          MURRELLS INLET   SC      29576‐9236
JENNIE GERKE                           8 KEPH DR APT 1                                                                                   AMHERST          NY      14228‐3258
JENNIE GIANCOLA                        2226 GREEN RIDGE DR                                                                               WICKLIFFE        OH      44092‐2013
JENNIE GOCHOEL                         4540 KORNER DR                                                                                    HUBER HEIGHTS    OH      45424‐5928
JENNIE GORSKI                          PO BOX 1252                                                                                       SPRING MOUNT     PA      19478
JENNIE GRAVES                          15232 E STREET RD                                                                                 MONTROSE         MI      48457‐9328
JENNIE GRIFFIN                         54 MAURICE ST                                                                                     BRISTOL          CT      06010‐7344
JENNIE HAJEK                           3030 S. HARLEM AVE.                                                                               RIVERSIDE        IL      60546
JENNIE HAMRICK                         PO BOX 49301                                                                                      W CARROLLTON     OH      45449‐0301
JENNIE HARASIN                         3030 PRESTIGE DR                                                                                  CLEARWATER       FL      33759‐1611
JENNIE HARDACRE                        2487 W THOMPSON RD                                                                                FENTON           MI      48430‐9750
JENNIE HARDAWAY                        4338 FULLERTON ST                                                                                 DETROIT          MI      48238‐3235
JENNIE HARTMAN                         7689 ALBION RD                                                                                    NORTH ROYALTON   OH      44133‐1711
JENNIE HAZELTON                        19847 ROAD E16 ROUTE 1                                                                            CONTINENTAL      OH      45831
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Name                Address1                       Address2              Address3       Address4               City               State   Zip
JENNIE HICKMAN      2464 S STATE RD                                                                            CORUNNA             MI     48817‐9502
JENNIE HILL         2308 MELODY LN                                                                             BURTON              MI     48509‐1158
JENNIE HOBBS        2021 MAPLEWOOD AVE                                                                         FLINT               MI     48506‐4420
JENNIE HOGAN        PO BOX 303                                                                                 RUSSIAVILLE         IN     46979‐0303
JENNIE HOLTY        1176 E COOPER DR                                                                           EDGERTON            WI     53534‐9022
JENNIE HORNIK       5663 ALLENDALE DR                                                                          NORTH OLMSTED       OH     44070‐4655
JENNIE HUNT         1330 W DILL RD                                                                             DEWITT              MI     48820‐9315
JENNIE JACOBSEN     8134 BANNER ST                                                                             TAYLOR              MI     48180‐2128
JENNIE JONES        1053 ZEPHYR ST                                                                             YPSILANTI           MI     48198‐6286
JENNIE KAUFMAN      8749 BUFFALO DR                                                                            COMMERCE TWP        MI     48382‐3411
JENNIE KNEPP        616 73RD ST                                                                                NIAGARA FALLS       NY     14304‐2204
JENNIE KOGOVSEK     31061 MEADOWBROOK DR                                                                       WILLOUGHBY HILLS    OH     44092‐1246

JENNIE KRONIESS     171 CROWLEY AVE                                                                            BUFFALO            NY      14207‐1557
JENNIE KUBICEK      4970 E M‐21                                                                                CORUNNA            MI      48817
JENNIE KULL         121 HOME ST                                                                                SOMERSET           NJ      08873‐2134
JENNIE KUSMACK      1659 S HEIGHTS AVE                                                                         YOUNGSTOWN         OH      44502‐2953
JENNIE L HOGAN      RR 3 BOX 108                                                                               RUSSIAVILLE        IN      46979
JENNIE L NOVAK      2623 JOHNYCAKE RD. N.E.                                                                    WARREN             OH      44484‐3860
JENNIE LALLA        1314 ROWELL AVE                                                                            JOLIET             IL      60433‐2866
JENNIE LANZOTTI     30 WILLOW RUN LN                                                                           BELLE MEAD         NJ      08502‐4540
JENNIE LAROCCA      2064 OLIVER SPRINGS ST                                                                     HENDERSON          NV      89052‐8555
JENNIE LEE          1124 FEDERAL AVE                                                                           SAGINAW            MI      48607‐1524
JENNIE LOFTUS       8421 MAPLEWOOD DR              PO BOX 286                                                  GASPORT            NY      14067‐9479
JENNIE LONG         1523 S CLINTON ST                                                                          DEFIANCE           OH      43512‐3215
JENNIE LUFT         8161 VAN VLEET RD                                                                          GAINES             MI      48436‐9789
JENNIE LYNN         4709 EATON ST                                                                              ANDERSON           IN      46013‐2737
JENNIE M LOVE       725 MAPLESIDE DR                                                                           TROTWOOD           OH      45426‐2539
JENNIE M MAYER      25 HILLTOP DR                                                                              NORTH CHILI        NY      14514‐1001
JENNIE M MAYSTEAD   19270 THOMPSON LN                                                                          THREE RIVERS       MI      49093‐9089
JENNIE MALUCHNIK    43561 EUREKA DR.               LOT #146                                                    CLINTON TOWNSHIP   MI      48036

JENNIE MARTINEZ     315 S MONROE ST                                                                            BAY CITY            MI     48708‐7210
JENNIE MARZOVILLA   189 BEECHWOOD DR                                                                           ROCHESTER           NY     14606‐5507
JENNIE MAYER        25 HILLTOP DR                                                                              NORTH CHILI         NY     14514‐1001
JENNIE MAYER        1933 SARONA LN                                                                             WEST BLOOMFIELD     MI     48324‐1051

JENNIE MAYSTEAD     19270 THOMPSON LN                                                                          THREE RIVERS        MI     49093‐9089
JENNIE MC KINNON    PO BOX 250351                                                                              MONTGOMERY          AL     36125‐0351
JENNIE MCDONALD     415 SIR GALAHAD DR                                                                         BROOKHAVEN          PA     19015‐1515
JENNIE MCGOWAN      6105 PENWOOD RD                                                                            MOUNT MORRIS        MI     48458‐2731
JENNIE MCKERN       1431 STONEY POINTE WAY                                                                     AVON                IN     46123‐5308
JENNIE MEGNA        3012 N NEWHALL ST                                                                          MILWAUKEE           WI     53211‐3226
JENNIE MEKA         19914 COACHWOOD RD             C/O PATRICIA DALTON                                         RIVERVIEW           MI     48193‐7829
JENNIE MENDIBLES    37428 BAYBERRY ST                                                                          PALMDALE            CA     93550‐6058
JENNIE MERIDA       1305 S F ST                                                                                ELWOOD              IN     46036‐2341
JENNIE MESKO        THE CHELSEA                    295 SOUTH AVE                                               FANWOOD             NJ     07023
JENNIE MIELCAREK    3180 MORTIMER RD                                                                           TRANSFER            PA     16154‐8910
JENNIE MILLER       2612 S 68TH ST                                                                             MILWAUKEE           WI     53219‐2616
JENNIE MOCUR        15509 HUFF ST                                                                              LIVONIA             MI     48154‐1503
JENNIE MOENCH       6476 FLORENCE DR                                                                           FLINT               MI     48507‐4628
JENNIE MOLINA       12634 NEWFIELD DR.                                                                         ORLANDO             FL     32837
JENNIE MORROW       785 GENESEE PARK BLVD                                                                      ROCHESTER           NY     14619‐2108
JENNIE MOZDZEN      6270 E DECKERVILLE RD                                                                      DEFORD              MI     48729‐9703
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Name                  Address1                      Address2                        Address3   Address4                City               State Zip
JENNIE MOZOL          36469 BLACK OAK                                                                                  WESTLAND            MI 48185‐9114
JENNIE MROSKO         3765 STAUNTON DR                                                                                 YOUNGSTOWN          OH 44505‐1941
JENNIE MROSKO         1797 SHIPMAN BLVD                                                                                BIRMINGHAM          MI 48009‐1934
JENNIE NEVAREZ        14814 HAGAR ST                                                                                   MISSION HILLS       CA 91345‐1713
JENNIE NOVAK          2623 JOHNNEYCAKE ROAD                                                                            WARREN              OH 44484
JENNIE NOVAK          2623 JOHNNYCAKE RD SE                                                                            WARREN              OH 44484‐3860
JENNIE NOWACKI        1873 HILL ST                                                                                     CHITTENANGO         NY 13037‐9538
JENNIE OAKES          26118 FAIRFIELD AVE                                                                              WARREN              MI 48089‐4520
JENNIE OBOJSKI        14245 PAWNEE TRL                                                                                 CLEVELAND           OH 44130‐6626
JENNIE OLIVER         1029 WALTON AVE                                                                                  DAYTON              OH 45402‐5336
JENNIE ORANGE         88 PENN RD                                                                                       JEANNETTE           PA 15644
JENNIE PAVKOVICH      3702 HIGHTREE AVE SE                                                                             WARREN              OH 44484‐3732
JENNIE PERYE          25314 ARLINGTON ST                                                                               ROSEVILLE           MI 48066‐3980
JENNIE PIAZZA         732 NEUBERT AVE                                                                                  FLINT               MI 48507‐1719
JENNIE PITYN          7810 TAMIAMI TRL S STE A3     C/O LUTHERAN SERVICES FLORIDA                                      VENICE              FL 34293‐5100
JENNIE PODRAZA        5409 CLEMSON CT                                                                                  WARREN              MI 48091‐3812
JENNIE POMPEE         2890 BRITTON ROAD             APT. 7                                                             PERRY               MI 48872
JENNIE POPOVICH       1006 S BROOKFIELD DR                                                                             LECANTO             FL 34461‐8371
JENNIE PORTER         13143 HIGHWAY 8 W                                                                                AMITY               AR 71921‐9579
JENNIE PRICE          840 BUCKEYE ST NW                                                                                WARREN              OH 44485‐2916
JENNIE PRICE          9005 KATHLEEN ST                                                                                 INDIANAPOLIS        IN 46234‐1632
JENNIE R FULTZ        4922 WOODLAND HILLS BLVD                                                                         DAYTON              OH 45414
JENNIE RAINEY         1927 LOOMIS ST                                                                                   ROCKFORD             IL 61102‐2665
JENNIE RAMAGLINO      7352 FARMSTEAD RD                                                                                LIVERPOOL           NY 13088‐4714
JENNIE RANDALL        APT A118                      718 SOUTH DARGAN STREET                                            FLORENCE            SC 29506‐2577
JENNIE RAYMOND        1327 E HURD RD                                                                                   CLIO                MI 48420‐7926
JENNIE RAYNER‐JONES   1013 S WALNUT ST                                                                                 O FALLON             IL 62269‐2469
JENNIE REISING        2569 E 110TH ST                                                                                  CLEVELAND           OH 44104‐2669
JENNIE ROSS           521 FULLER AVE APT 301B                                                                          BIG RAPIDS          MI 49307‐2166
JENNIE RUSSELL        761 CHICKADEE LN                                                                                 KINGSLEY            MI 49649‐9338
JENNIE RUSSELL        1912 11 MILE RD                                                                                  EVART               MI 49631‐8234
JENNIE S KUSMACK      1659 SO HEIGHTS                                                                                  YOUNGSTOWN          OH 44502‐2953
JENNIE SALLOME        64 KINGS COURT WAY APT 2                                                                         ROCHESTER           NY 14617‐5548
JENNIE SALLOME        224 RAWLINSON ROAD                                                                               ROCHESTER           NY 14617‐4640
JENNIE SCHULTZ        10 HARWINTON AVE                                                                                 TERRYVILLE          CT 06786‐4607
JENNIE SCOTT          JENNIE, SCOTT                 5055 WILSHIRE BLVD STE 300                                         LOS ANGELES         CA 90036‐6101
JENNIE SCUR           11871 BROUGHAM DR                                                                                STERLING HEIGHTS    MI 48312‐3909
JENNIE SEMENIUK       14303 DENNE ST                                                                                   LIVONIA             MI 48154‐4360
JENNIE SHANNON        27 HOLLIS JONES RD                                                                               TYLERTOWN           MS 39667‐5846
JENNIE SHIVERS        3215 GLASBY ST                                                                                   SAGINAW             MI 48601‐4721
JENNIE SISK           707 W 6TH ST                  C/O W JEAN JOHNSON                                                 MONROE              MI 48161‐1571
JENNIE SPAN           PO BOX 2183                                                                                      FAIRBORN            OH 45324‐8183
JENNIE SPRING         23293 N ROSEDALE CT                                                                              SAINT CLAIR SHORES MI 48080‐2614

JENNIE SQUIRES        7382 PINEGROVE DR                                                                                JENISON            MI   49428‐7783
JENNIE STACKABLE      1220 N ALSTOTT DR                                                                                HOWELL             MI   48843‐7815
JENNIE STANCEK        3057 BRUCE AVE                                                           WINDSOR ON N9E1W3
                                                                                               CANADA
JENNIE STARKS         201 WEST JOLLY RD                                                                                LANSING            MI   48910
JENNIE STENGEL        135 WILL SCARLET CT                                                                              EL PASO            TX   79924‐5423
JENNIE STEVENS        4846 HEATHE DR                                                                                   TALLAHASSEE        FL   32309
JENNIE STEWART        34601 ELMWOOD ST APT 349                                                                         WESTLAND           MI   48185‐8147
JENNIE STINSO         45248 DUNBARTON DR                                                                               NOVI               MI   48375‐3807
JENNIE STOKES         8054 HENDERSON RD                                                                                GOODRICH           MI   48438‐9070
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Name                              Address1                          Address2                     Address3   Address4               City             State   Zip
JENNIE T CRAVER                   1547 DODGE N.W.                                                                                  WARREN            OH     44485‐1820
JENNIE TACHUK                     12314 CHAREST ST                                                                                 DETROIT           MI     48212‐2753
JENNIE TALLENT                    4751 FOREST AVE                                                                                  WATERFORD         MI     48328‐1119
JENNIE TALLMADGE                  PO BOX 112                                                                                       RHODES            MI     48652
JENNIE THOMAS                     199 ARBORWOOD CRES                                                                               ROCHESTER         NY     14615‐3835
JENNIE THOMPSON                   2836 BRENTWOOD DR                                                                                ANDERSON          IN     46011‐4045
JENNIE THOMPSON                   1104 TYLER ST                                                                                    JANESVILLE        WI     53545‐4933
JENNIE THREADGILL                 P.O. BOX 206                                                                                     DAYTON            OH     45417
JENNIE TIANO                      1735 HILTON PARMA RD                                                                             SPENCERPORT       NY     14559‐9505
JENNIE TROJANOWSKI                1237 E HAMILTON AVE                                                                              FLINT             MI     48506‐3210
JENNIE TRONT                      4244 JOHNSFIELD RD                                                                               STANDISH          MI     48658‐9406
JENNIE V TURNER                   5171 ALFRED ST                                                                                   FLINT             MI     48505‐1660
JENNIE VALENTINO                  38751 HAZEL ST                                                                                   SELFRIDGE ANGB    MI     48045‐2123
JENNIE VANDER WAL                 2115 84TH ST SW                                                                                  BYRON CENTER      MI     49315‐8668
JENNIE VITELLARO                  4711 LINDO CT                                                                                    LAS VEGAS         NV     89121‐6028
JENNIE VOGEN                      25657 HASKELL ST                                                                                 TAYLOR            MI     48180‐2075
JENNIE WALLACE                    229 ROOSEVELT CIR                                                                                GALLATIN          TN     37066‐2743
JENNIE WARD                       734 LAVENDER ST                                                                                  MONROE            MI     48162‐2823
JENNIE WARD                       1215 PATCHEN AVE SE                                                                              WARREN            OH     44484‐2727
JENNIE WARREN                     9260 ALEXANDER RD                                                                                BATAVIA           NY     14020‐9548
JENNIE WASSERMAN                  201 NICKLESS ST APT F2                                                                           FRANKENMUTH       MI     48734‐1149
JENNIE WHITEHEAD                  2303 E VAILE AVE                                                                                 KOKOMO            IN     46901‐5603
JENNIE WHITMAN                    347 COUNTY ROAD 9                                                                                VICTOR            NY     14564‐9710
JENNIE WILSON                     4583 ELLIOT AVE                                                                                  DAYTON            OH     45410‐3427
JENNIE YOCCA                      1393 MULFORD RD                                                                                  COLUMBUS          OH     43212‐3513
JENNIE YOUNG                      6830 DOBIE RD                     C/O MARY JO                                                    OKEMOS            MI     48864
JENNIE ZBOROWSKI                  2349 HAINSWORTH AVE                                                                              RIVERSIDE          IL    60546‐1328
JENNIE, SCOTT                     KROHN & MOSS ‐ CA,                5055 WILSHIRE BLVD STE 300                                     LOS ANGELES       CA     90036‐6101
JENNIEFER MOORE                   5493 COUNTRY LN                                                                                  FLINT             MI     48506‐1019
JENNIER CHEVROLET OLDSMOBILE LC   402 OFFICE PLZ STE B                                                                             TALLAHASSEE       FL     32301‐8303
WALT
JENNIFER A BRYANT                 320 WHITLEY RD                                                                                   SMITHS GROVE     KY      42171‐9215
JENNIFER A CUNNINGHAM             1401 2ND ST                                                                                      BAY CITY         MI      48708‐6123
JENNIFER A DAVIS                  4332 KITRIDGE RD                                                                                 DAYTON           OH      45424
JENNIFER A DZURILLA               405 6TH AVE S APT 2                                                                              LAKE WORTH       FL      33460‐‐ 46
JENNIFER A KELLER                 589 DUBIE RD                                                                                     YPSILANTI        MI      48198‐6195
JENNIFER A KIDWELL                114 CLAY ST                                                                                      DAYTON           OH      45402‐2900
JENNIFER A KRONOSHEK              10313 CODY ST                                                                                    OVERLAND PARK    KS      66214
JENNIFER A MANLEY                 9955 GERALDINE ST #203                                                                           YPSILANTI        MI      48197‐6927
JENNIFER A PHILLIPS               952 E MIDDLETOWN RD                                                                              NORTH LIMA       OH      44452‐9760
JENNIFER A PRATT                  C/O LAMB & LAMB PSC               PO BOX 34275                                                   LOUISVILLE       KY      40232‐4275
JENNIFER A PUTERBAUGH             7151 BRANDVISTA AVE                                                                              HUBER HEIGHTS    OH      45424‐3327
JENNIFER A SIMMONS                6233 OAK HILL DR.                                                                                W. FARMINGTON    OH      44491
JENNIFER A SMELTZER               81 ALCOTT RD                                                                                     ROCHESTER        NY      14626‐2407
JENNIFER A STACEY                 6654 HUBBARD DR                                                                                  DAYTON           OH      45424
JENNIFER A TREADWELL              21 VILLAGE RD.                    21 VILLAGE RD                                                  HANNIBAL         MO      63401‐6849
JENNIFER A WAUN                   6491 BRISTOL RD                                                                                  SWARTZ CREEK     MI      48473‐7921
JENNIFER A ZAFT
JENNIFER AARSTAD                  907 ASHFORD LN APT 5201                                                                          ARLINGTON        TX      76006
JENNIFER ABEL                     924 W CABRIOLET                                                                                  PENDLETON        IN      46064‐8832
JENNIFER ABRAMOWSKI               7335 SISSON HIGHWAY                                                                              HAMBURG          NY      14075‐6722
JENNIFER ALLISON                  1636 CHESTNUT TRAIL DR                                                                           TWINSBURG        OH      44087‐2826
JENNIFER ALLYN                    APT H                             6014 FAIRFIELD AVENUE                                          FORT WAYNE       IN      46807‐3663
JENNIFER ANDERSON                 307 WILBOR AVE                                                                                   HURON            OH      44839‐2527
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Name                                 Address1                               Address2                         Address3         Address4               City             State Zip
JENNIFER ANDERSON                    5832 LOBELIA WAY                                                                                                LIVERMORE         CA 94551‐7831
JENNIFER ANDERSON                    2041 WHITE AVE                                                                                                  MILFORD           MI 48381‐4207
JENNIFER ARCHAMBAULT                 17400 NW 130TH TER                                                                                              PLATTE CITY       MO 64079‐7923
JENNIFER ARMS                        2265 N 300 W                                                                                                    ANDERSON          IN 46011‐8717
JENNIFER ARTHUR                      44775 MARIGOLD DR                                                                                               STERLING HEIGHTS  MI 48314‐1225
JENNIFER AUSTIN                      21 PINEVIEW DR                                                                                                  FLINT             MI 48506‐5275
JENNIFER AUTREY                      1205 LEGAULT BLVD                                                                                               ORTONVILLE        MI 48462‐9428
JENNIFER AVECILLA                    6574 TWP RD 255                                                                                                 GALION            OH 44833
JENNIFER B GRISHAM                   440 OAKWOOD DR                                                                                                  COLUMBIA          TN 38401
JENNIFER B MARCANO                   665 CEDAR DR.                                                                                                   GADSDEN           AL 35901‐9248
JENNIFER B RICKERT                   3265 FULS ROAD                                                                                                  FARMERSVILLE      OH 45325
JENNIFER BACH                        14221 HOBBY LN                         APT 17306                                                                FORT WORTH        TX 76155
JENNIFER BAGLEY                      1003 ROYAL AVENUE                                                                                               ROYAL OAK         MI 48073‐3224
JENNIFER BAILLIE                     7310 CRYSTAL LAKE DR APT 10                                                                                     SWARTZ CREEK      MI 48473‐8955
JENNIFER BARANSKI                    19606 HECKMAN ST                                                                                                CLINTON TOWNSHIP MI 48035‐3976

JENNIFER BARLOW                      35355 CURRIER ST                                                                                                WAYNE            MI   48184‐2366
JENNIFER BARNEY                      10091 EDGEWARTER TRL                                                                                            HOLLY            MI   48442‐9322
JENNIFER BARRETT                     10887 COLUMBIA HWY                                                                                              EATON RAPIDS     MI   48827‐9374
JENNIFER BARTOLAC                    4422 N 124TH ST                                                                                                 KANSAS CITY      KS   66109‐3119
JENNIFER BAXTER‐BARTLETT             PO BOX 217                                                                                                      REXFORD          MT   59930‐0217
JENNIFER BEAN                        6556 HIGHWAY V                                                                                                  CURRYVILLE       MO   63339‐2609
JENNIFER BEIER                       1002 AVALON CREEK BLVD                                                                                          VIENNA           OH   44473‐9553
JENNIFER BELCHER                     24321 DANTE ST                                                                                                  OAK PARK         MI   48237‐3611
JENNIFER BENETEAU                    13049 EDISON ST                                                                                                 SOUTHGATE        MI   48195‐1048
JENNIFER BERES                       8117 WOODBRIDGE CT                                                                                              SPRINGBORO       OH   45066
JENNIFER BERLIN
JENNIFER BERMAN                      JEN BERMAN                             C/O ADAM BERMAN                  3 ARLINGTON PL                          RYE BROOK        NY   10573
JENNIFER BICKERSTAFF                 PO BOX 323                                                                                                      NILES            OH   44446‐0323
JENNIFER BIGELOW                     8984 WILD IRIS CT                                                                                               DAVISBURG        MI   48350‐1527
JENNIFER BOAK                        2815 PLEASANT GROVE RD                                                                                          LANSING          MI   48910‐2304
JENNIFER BOERGER                     9319 RICHMOND AVE                                                                                               KANSAS CITY      MO   64138‐4240
JENNIFER BOGADI                      947 BARBRAGALE AVE                                                                                              ALBANY           GA   31705‐9576
JENNIFER BOLDE                       32372 OXFORD CT                                                                                                 FRASER           MI   48026‐2346
JENNIFER BOLER                       1058 CORA DR                                                                                                    FLINT            MI   48532‐2719
JENNIFER BOLGER, GONZALEZ SAGGIO &   C/O NL INDUSTRIES, INC., PEDRICKTOWN   225 E. MICHIGAN STREET, FOURTH                                           MILWAUKEE        WI   53202
HARLAN                               SUPERFUND SITE                         FLOOR
JENNIFER BOSSENBROEK                 1623 HAYNES ST                                                                                                  BIRMINGHAM       MI   48009‐6820
JENNIFER BRACEY                      5115 IRWIN DR                                                                                                   HOLLY            MI   48442‐9626
JENNIFER BRAMLETT                    6410 MONROVIA DR                                                                                                WATERFORD        MI   48329‐3161
JENNIFER BRANSON                     465 E PIDGEON RD                                                                                                SALEM            OH   44460‐4323
JENNIFER BRENNAN                     PO BOX 9022                            MAIDENHEAD                                                               WARREN           MI   48090‐9022
JENNIFER BRIDGES‐SHUMATE             3922 W COURT ST                                                                                                 FLINT            MI   48532‐3885
JENNIFER BROWN                       8370 JEFFERSON CT                                                                                               WARREN           MI   48093‐6786
JENNIFER BRUBAKER                    344 SAN MARINO DR                                                                                               LADY LAKE        FL   32159‐8624
JENNIFER BRYANT                      320 WHITLEY RD                                                                                                  SMITHS GROVE     KY   42171‐9215
JENNIFER BUCHLER                     8074 JORDAN RD                                                                                                  GRAND BLANC      MI   48439‐9726
JENNIFER BULLA                       1178 OAKLAND AVE                                                                                                COLUMBUS         OH   43212
JENNIFER BURNHAM
JENNIFER BURNS                       9157 N DORT HWY                                                                                                 MOUNT MORRIS     MI   48458‐1218
JENNIFER BURT                        3075 FLORINE AVE                                                                                                MOUNT MORRIS     MI   48458‐9451
JENNIFER BUSH                        5025 ATLANTA ST                                                                                                 ANDERSON         IN   46013‐2871
JENNIFER BYRD                        2756 W AVON AVE                                                                                                 MARION           IN   46953‐9416
JENNIFER C ALCORN                    44 NICKLES COURT                                                                                                GERMANTOWN       OH   45327
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Name                        Address1                        Address2                      Address3              Address4                 City                 State   Zip
JENNIFER C BREWER           140 W STRATHMORE AVE                                                                                         PONTIAC               MI     48340‐2774
JENNIFER C JONES COCKRELL   228 MORROW RD APT 2B                                                                                         FOREST PARK           GA     30297
JENNIFER C PETHERS          456 S ELBA RD                                                                                                LAPEER                MI     48446‐2781
JENNIFER CADICAMO           2917 BEMBRIDGE RD                                                                                            ROYAL OAK             MI     48073‐2924
JENNIFER CAGLE              15695 NICOLAI AVE                                                                                            EASTPOINTE            MI     48021‐1617
JENNIFER CALEY‐KEESLING     2621 COLUMBUS BLVD                                                                                           KOKOMO                IN     46901‐6453
JENNIFER CANTERBERRY        534 LITTLE LAKE RD                                                                                           WEST MONROE           LA     71292‐1930
JENNIFER CARWILE            24671 W HIGHLAND CT                                                                                          FARMINGTON HILLS      MI     48335‐2109

JENNIFER CHARTRAND          C/O MICHAEL DUNN                DUNN & COMPANY A PROFESSIONAL 903‐700 W PENDER ST   VANCOUVER BRITISH
                                                            CORPORATION                                         COLUMBIA V6C 1G8
JENNIFER CHILDS             1370 SOUTH BLVD W                                                                                            ROCHESTER HILLS      MI      48309‐4365
JENNIFER CLARK              7130 N WYOMING AVE                                                                                           KANSAS CITY          MO      64118‐8351
JENNIFER COHEN              DRINKER BIDDLE & REATH LLP                                                                                   PRINCETON            NJ      08542
JENNIFER COLLICOTT‐WILSON   440 S ARCH ST                                                                                                JANESVILLE           WI      53548‐4449
JENNIFER COLLINS            5020 CLARK RD.                  #114                                                                         SARASOTA             FL      34233
JENNIFER CONLAN             22315 VERSAILLES CT                                                                                          SAINT CLAIR SHORES   MI      48081‐2406

JENNIFER CONLEY             1461 ORLANDO BLVD                                                                                            PORT CHARLOTTE       FL      33952‐4739
JENNIFER COOK               PO BOX 9022                     C/O ADAM OPEL PKZ T1‐02                                                      WARREN               MI      48090‐9022
JENNIFER COON               16168 STUART RD                                                                                              CHESANING            MI      48616‐9747
JENNIFER COOPER‐STURGESS    139 EAGLE RIDGE RD                                                                                           LAKE ORION           MI      48360‐2612
JENNIFER COPELAND           342 NORTH DR                                                                                                 DAVISON              MI      48423‐1627
JENNIFER COSTABILE          3920 RICHMOND HILL COURT                                                                                     CUMMING              GA      30040‐0415
JENNIFER COWAN              202 W MAIN ST                                                                                                DEWITT               MI      48820‐8947
JENNIFER COY                40462 CINNAMON CIR                                                                                           CANTON               MI      48187‐4588
JENNIFER CRAFT              3422 S SASHABAW RD                                                                                           OXFORD               MI      48371‐4012
JENNIFER CRANE              3825 BROWN ST                                                                                                FLINT                MI      48532‐5223
JENNIFER CURD               29988 HERITAGE PKWY                                                                                          WARREN               MI      48092‐4692
JENNIFER CURRIE             103 PRINCETON AVE                                                                                            HUBBARD              OH      44425‐1634
JENNIFER CURRIERA           7346 PLAYERS CLUB DR                                                                                         LANSING              MI      48917‐9656
JENNIFER CZUBAJ             6769 SAINT ANDREWS DR                                                                                        SHELBY TOWNSHIP      MI      48316‐5079
JENNIFER D BOGAN            2641 SYMPHONY WAY                                                                                            DAYTON               OH      45449
JENNIFER D LANCASTER        5004 ALPINE ROSE COURT                                                                                       CENTERVILLE          OH      45458‐3002
JENNIFER D MAHAFFEY         1329 ROCHELLE AVE                                                                                            KETTERING            OH      45429
JENNIFER D THOMAS           675 SEWARD ST APT 417                                                                                        DETROIT              MI      48202‐4445
JENNIFER DANESHGARI         3040 AIRPARK DR S                                                                                            FLINT                MI      48507‐3477
JENNIFER DARNELL            29135 LEESBURG CT                                                                                            FARMINGTON HILLS     MI      48331‐2437

JENNIFER DAUGHTRY           215 PARIS AVE                                                                                                ROCKFORD             IL      61107
JENNIFER DEBONE             9241 DIXIE HWY                                                                                               IRA                  MI      48023‐2315
JENNIFER DECESS             5915 SUNFISH LAKE AVE NE                                                                                     ROCKFORD             MI      49341‐9000
JENNIFER DEHOFF             2035 W WILLARD RD                                                                                            CLIO                 MI      48420‐8869
JENNIFER DENHA              6127 WINCLIFF DR                                                                                             W BLOOMFIELD         MI      48322‐4800
JENNIFER DENNY              1855 LONG HOLLOW RD                                                                                          LAFOLLETTE           TN      37766
JENNIFER DILLARD            2114 JANICE DR                                                                                               FLINT                MI      48504‐1696
JENNIFER DINET              6830 RAMBLEWOOD DR APT J                                                                                     FORT WAYNE           IN      46835
JENNIFER DLUZAK             13528 PLUMBAGO CT                                                                                            FORT WAYNE           IN      46814‐8837
JENNIFER DRAGON             546 SHAKER ROAD                                                                                              CANTERBURY           NH      03224
JENNIFER E DUNN             23 CUTTER DRIVE                                                                                              ROCHESTER            NY      14624‐4412
JENNIFER E FLAGG            1511 ROSEMONT BLVD.                                                                                          DAYTON               OH      45410‐3228
JENNIFER E JONES            5508 NANTUCKET RD.                                                                                           DAYTON               OH      45426
JENNIFER E WEGRECKI         9627 LAKESIDE DR                                                                                             YPSILANTI            MI      48197‐3031
JENNIFER ECCLESTONE         1215 CROOKS RD APT 208                                                                                       ROYAL OAK            MI      48067‐1346
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Name                        Address1                          Address2                     Address3   Address4               City               State   Zip
JENNIFER EDWARDS            15905 LINDSAY ST                                                                                 DETROIT             MI     48227‐1548
JENNIFER ELIZAB SPALDING    1063 ST. RT. 503 NORTH                                                                           W. ALEXANDRIA       OH     45381‐9731
JENNIFER ELLISON            3455 GINGER CT                                                                                   KOKOMO              IN     46901‐6902
JENNIFER ELTRINGHAM         2372 VILLAGE WOODS DR                                                                            GRAND BLANC         MI     48439‐2515
JENNIFER ENDSLEY            101 SKYLINE DR                                                                                   FARMINGTON          PA     15437‐1140
JENNIFER EVANS              757 LOUISA ST                                                                                    MOUNT MORRIS        MI     48458‐1734
JENNIFER F TAYLOR           2911 VALLEYVIEW DR                                                                               FAIRBORN            OH     45324‐2253
JENNIFER FARAH              4642 WHITE OAKS DR                                                                               TROY                MI     48098‐4153
JENNIFER FARGO              9320 HILDA LN                                                                                    FLUSHING            MI     48433‐9743
JENNIFER FEKIN              3739 CHERRY CREEK LN                                                                             STERLING HTS        MI     48314‐1034
JENNIFER FERREIRA           33 TANGLEWOOD CT                                                                                 RIDGEFIELD          CT     06877‐5512
JENNIFER FIRESTONE          4290 CROFT FERRY RD                                                                              GADSDEN             AL     35903‐4164
JENNIFER FISHER             PO BOX 764                                                                                       PINCH               WV     25156‐0764
JENNIFER FLEES              2196 CHALET DR                                                                                   ROCHESTER HILLS     MI     48309‐2103
JENNIFER FLETCHER           33071 YORKDALE ST                                                                                WESTLAND            MI     48185‐2824
JENNIFER FOOTE              6499 STONEBROOK LN                                                                               FLUSHING            MI     48433‐2591
JENNIFER FOREST             6801 LONG AVE                                                                                    WEST BLOOMFIELD     MI     48322‐1249

JENNIFER FOX                2425 RADFORD RD.                                                                                 LANSING            MI      48911
JENNIFER FRAKES             25436 W 14 MILE RD                                                                               BLOOMFIELD HILLS   MI      48301‐3656
JENNIFER FRANSKO            4781 WILLIAMSON ST                                                                               DEARBORN           MI      48126‐3165
JENNIFER FRAZIER            53180 SHERWOOD LN                                                                                SHELBY TOWNSHIP    MI      48315‐2040
JENNIFER G DENHA            6127 WINCLIFF DR                                                                                 W BLOOMFIELD       MI      48322‐4800
JENNIFER G GUMONT           3960 KINCAID EAST RD NW                                                                          WARREN             OH      44481‐9124
JENNIFER G MCGEE            13065 WHITE OAKS                                                                                 GAINES             MI      48436‐9650
JENNIFER G SCOTT            13065 WHITE OAKS 17                                                                              GAINES             MI      48436
JENNIFER G VERNON           210 EATON RICHMOND PIKE                                                                          EATON              OH      45320‐‐ 16
JENNIFER GAGE               BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH      44236
JENNIFER GARCIA             PO BOX 137                                                                                       KENNEY             TX      77452‐0137
JENNIFER GARDNER            711 HARCOURT RD                                                                                  GROSSE POINTE      MI      48230‐1831
                                                                                                                             PARK
JENNIFER GARRISON‐KEATING   1645 PRAIRIE DR                                                                                  PONTIAC            MI      48340‐1085
JENNIFER GATHMAN            712 EMBLANCHE DR                                                                                 DEFIANCE           OH      43512‐3233
JENNIFER GAY                665 ROCKY POINT                                                                                  BROSTON            KY      42518‐9696
JENNIFER GILANE             212 WEST SHRADER STREET                                                                          LIBERTY            MO      64068‐2448
JENNIFER GILBERT            7808 BRAMBLEWOOD DR APT 3B                                                                       LANSING            MI      48917‐8710
JENNIFER GILBERT            11746 WOODSPOINTE DR                                                                             GRAND LEDGE        MI      48837‐9100
JENNIFER GILMAN             262 W 1650 N                                                                                     SUMMITVILLE        IN      46070‐8919
JENNIFER GLYSZ              805 S BIRNEY ST                                                                                  BAY CITY           MI      48708‐7540
JENNIFER GOFORTH            19021 SAN DIEGO BLVD                                                                             LATHRUP VILLAGE    MI      48076‐3375
JENNIFER GRABCZYK           PO BOX 264                                                                                       HAMMOND            WI      54015‐0264
JENNIFER GRAHAM             BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH      44236
JENNIFER GREEN              54624 FRANKLIN DR                                                                                SHELBY TOWNSHIP    MI      48316‐1621
JENNIFER GREEN              1986 E DESERT LARK PASS                                                                          GREEN VALLEY       AZ      85614‐6120
JENNIFER GREENHALGH         1915 BOOTMAKER LN                                                                                BLOOMFIELD HILLS   MI      48304‐1003
JENNIFER GREENLEAF          10600 YOUNGSTOWN SALEM RD                                                                        SALEM              OH      44460‐7609
JENNIFER GREGG              415 MEADOWCREST CIR                                                                              FRANKLIN           TN      37064‐4776
JENNIFER GREGUS             2327 FLAGSTONE DR                                                                                FLUSHING           MI      48433‐2583
JENNIFER GRIFFIN            APT 1                             6612 MILLSIDE DRIVE                                            INDIANAPOLIS       IN      46221‐8600
JENNIFER GUMONT             3960 KINCAID EAST RD NW                                                                          WARREN             OH      44481‐9124
JENNIFER GUNTHER            4449 FIELD RD                                                                                    CLIO               MI      48420‐1183
JENNIFER H BEARD            507 WILSON ST                                                                                    GADSDEN            AL      35904‐2241
JENNIFER HALL               9405 W HIGH ST                                                                                   YORKTOWN           IN      47396‐1107
JENNIFER HALL               2403 SAN PEDRO DR                                                                                YOUNGSTOWN         OH      44511‐2927
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Name                         Address1                           Address2                        Address3   Address4                 City               State Zip
JENNIFER HAMILTON            C/O THOMAS C KNOWLES VAN BLOIS &   7677 OAKPORT STREET SUITE 565                                       OAKLAND             CA 94621
                             ASSOCIATES
JENNIFER HAMPTON             79 BRICKER RD                                                                                          SHILOH             OH   44878‐9011
JENNIFER HAMPTON             773 BARNETT PL NE                                                                                      GRAND RAPIDS       MI   49503‐1153
JENNIFER HANOVER             1710 NORTHWEST AVE                                                                                     MARTINSVILLE       IN   46151‐3312
JENNIFER HARDMAN             2512 FOREST SPRINGS DR SE                                                                              WARREN             OH   44484‐5615
JENNIFER HARDY               390 W HOPKINS AVE APT 305                                                                              PONTIAC            MI   48340
JENNIFER HARKER              624 COLUMBIA AVE                                                                                       NEWTON FALLS       OH   44444‐1407
JENNIFER HARRIS              5329 E HILL RD                                                                                         GRAND BLANC        MI   48439‐8622
JENNIFER HARRIS              415 AVALON FOREST DR                                                                                   LAWRENCEVILLE      GA   30044‐7800
JENNIFER HARSCH              NARRENBERGSTR. 41                                                                                      KELTERN                 75210
JENNIFER HARSCH              NARRENBERG STR 41                                                             75210 KELTERN GERMANY
JENNIFER HART SCHAFFER INS   ATTN: JENNIFER HART SCHAFFER       5216 SPRINGBORO PIKE                                                MORAINE            OH   45439‐2971
JENNIFER HASTON              711 APPLEBY CT                                                                                         HUNTINGTON         IN   46750‐7962
JENNIFER HEALY               2811 WAYNEWOOD DR                                                                                      FORT WAYNE         IN   46809‐2626
JENNIFER HEBERT              2319 BURNS ST                                                                                          LAKELAND           FL   33801‐2513
JENNIFER HEGGAN              G‐13230 N. SAGINAW RD                                                                                  CLIO               MI   48420
JENNIFER HESSLER             6897 MILLER RD                                                                                         BANCROFT           MI   48414‐9712
JENNIFER HIGEL               4690 N SMITH RD                                                                                        DIMONDALE          MI   48821‐8714
JENNIFER HILTON              1801 WAYNE LANTER AVE                                                                                  MADISON            IL   62060‐1537
JENNIFER HINES               575 HILLWOOD                                                                                           WHITE LAKE         MI   48383‐2958
JENNIFER HOBBS               2426 LAKECREST DR                                                                                      SHREVEPORT         LA   71109‐3003
JENNIFER HOLYFIELD           3118 MCCLURE AVENUE                                                                                    FLINT              MI   48506‐2536
JENNIFER HOSIER              1200 NW TRENTON PL                                                                                     BLUE SPRINGS       MO   64015‐2335
JENNIFER HOWARD              4493 E 900 N                                                                                           NORTH              IN   46962‐8956
                                                                                                                                    MANCHESTER
JENNIFER HUA                 175 STONETREE CIR                                                                                      ROCHESTER HILLS    MI   48309‐1139
JENNIFER HUGHES              73 HUNTERS CROSSING WAY                                                                                BOWLING GREEN      KY   42104‐8523
JENNIFER HULBERT             605 GRANGE HILL CT                                                                                     FRANKLIN           TN   37067‐1338
JENNIFER HULLIBERGER         3209 CENTENNIAL OAK CT                                                                                 CLIO               MI   48420‐2900
JENNIFER HULLINGER           2412 N CONNECTICUT AVE                                                                                 ROYAL OAK          MI   48073‐4215
JENNIFER HUNT                1100 WILLIAMSON CIR                                                                                    PONTIAC            MI   48340‐3315
JENNIFER HURLEY              #2                                 434 5TH AVENUE                                                      BROOKLYN           NY   11215‐4013
JENNIFER HYVARI              110 LONGFORD DR                                                                                        ROCHESTER HILLS    MI   48309‐2028
JENNIFER I SCHMIDT           18702 FM 3341                                                                                          TROUP              TX   75789
JENNIFER J CLARK             6223 RICK ST                                                                                           YPSILANTI          MI   48197‐8271
JENNIFER J CURD              29988 HERITAGE PKWY                                                                                    WARREN             MI   48092‐4692
JENNIFER J HICKS             546 STONYRIDGE AVE                                                                                     TROY               OH   45373
JENNIFER J HOWE              1741 LINDALE MOUNT HOLLY RD                                                                            AMELIA             OH   45102
JENNIFER J MESSER            4855 GLENMINA DR                                                                                       KETTERING          OH   45440‐2001
JENNIFER J MILLER            105 DOGWOOD DRIVE                                                                                      VICKSBURG          MS   39180‐5709
JENNIFER J THACKER           5420 KNOLLWOOD DR                                                                                      LEWISBURG          OH   45338
JENNIFER J YATES             50 FILLMORE STREET                                                                                     DAYTON             OH   45410
JENNIFER JACKSON             5455 RUE MONET APT A                                                                                   INDIANAPOLIS       IN   46220‐5614
JENNIFER JACKSON             1692 HICKORY BARK LN                                                                                   BLOOMFIELD HILLS   MI   48304‐1178
JENNIFER JACOBS              803 MAPLEGROVE AVE                                                                                     ROYAL OAK          MI   48067‐1692
JENNIFER JARECKI             364 ATLANTIC AVE                                                                                       SHREVEPORT         LA   71105‐2910
JENNIFER JARRAD              2192 DEAN AVE                                                                                          HOLT               MI   48842‐1382
JENNIFER JOAN MCCULLAR       32 REICH STREET                                                                                        TROTWOOD           OH   45426
JENNIFER JOHNS               3697 JENNIFER DR                                                                                       STERLING HEIGHTS   MI   48310‐2559
JENNIFER JOHNS               2909 S DUCK CREEK RD                                                                                   NORTH JACKSON      OH   44451‐9689
JENNIFER JOHNSON             9158 SUNCREST DR                                                                                       FLINT              MI   48504‐8141
JENNIFER JONES               1745 W WAYNE ST                                                                                        LIMA               OH   45805‐2241
JENNIFER JONES               131 S BAYSHORE DR                                                                                      COLUMBIANA         OH   44408‐9317
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Name                   Address1                        Address2            Address3         Address4                  City              State   Zip
JENNIFER JONES         6526 WHITETHORN CT APT 2A                                                                      INDIANAPOLIS       IN     46220‐1548
JENNIFER JOSWIAK       327 MICHIGAN AVE #3                                                                            STEVENS POINT      WI     54481
JENNIFER K ANDERSON    525 ST. RT. 40 E                                                                               LEWISBURG          OH     45338‐9006
JENNIFER K BEACH       1779 TYLER RD                                                                                  YPSILANTI          MI     48198‐6159
JENNIFER K BOERGER     9319 RICHMOND AVE                                                                              KANSAS CITY        MO     64138‐4240
JENNIFER K BROWN       2441 LORAMIE WASHINGTON RD                                                                     HOUSTON            OH     45333
JENNIFER K GOSE        150 KESLING DR.                                                                                SPRINGBORO         OH     45066‐1249
JENNIFER K HARDMAN     2512 FOREST SPRINGS DR                                                                         WARREN             OH     44484‐5615
JENNIFER K JOSHUA      2954 MELBOURNE AVENUE                                                                          DAYTON             OH     45417‐1616
JENNIFER K PRINZ       458 BLUE RIDGE DR                                                                              DAYTON             OH     45415‐3418
JENNIFER K SANTOS      4560 GEURIN                                                                                    GADSDEN            AL     35905‐6960
JENNIFER K SAURO       4362 N MANNING RD                                                                              HOLLEY             NY     14470
JENNIFER K SCHICK      8611 LYONS GATE APT G                                                                          MIAMISBURG         OH     45342‐7839
JENNIFER K SCOTT       5533 AUTUMN WOODS DR #7                                                                        DAYTON             OH     45426‐1342
JENNIFER K TRIPI       113 PLYMOUTH AVE S                                                                             SYRACUSE           NY     13211‐1848
JENNIFER KAJIRU        1613 BEAR PAW LN                                                                               HANOVER            MD     21076‐1278
JENNIFER KENYON        189 MCKINLEY AVE                                                                               GROSSE POINTE      MI     48236‐3501
                                                                                                                      FARMS
JENNIFER KERN          3799 GARLING RD                                                                                LUCKEY            OH      43443‐9719
JENNIFER KERR          2160 CHEVY CHASE DR                                                                            DAVISON           MI      48423‐2004
JENNIFER KIMBLEY       282 WYLER LN                                                                                   MITCHELL          IN      47446‐6261
JENNIFER KINGSBURY     1533 IRENE AVE                                                                                 FLINT             MI      48503‐3553
JENNIFER KNUCKLES      1060 SAINT MARGARET DR                                                                         CAHOKIA           IL      62206‐1634
JENNIFER KONDZIOLKA    52208 BRENTWOOD DR                                                                             SHELBY TOWNSHIP   MI      48316‐3734
JENNIFER KRASKA        1823 S COMMERCE RD                                                                             WOLVERINE LAKE    MI      48390‐2409
JENNIFER KREYER        2104 PRAIRIE AVE                                                                               BELOIT            WI      53511‐3138
JENNIFER KRIEG         SODENER WEG 36                                                       D‐36396 STEINAU GERMANY

JENNIFER KROLL         6909 FIELDSTONE FARMS DR                                                                       O FALLON          MO      63368‐8096
JENNIFER KUSMIEREK     5639 OAK HILL DR NW                                                                            WARREN            OH      44481‐9020
JENNIFER L ABER        3404 S. TIPP‐COWLESVILLE RD.                                                                   TIPP CITY         OH      45371‐3028
JENNIFER L AVECILLA    6574 TOWNSHIP ROAD 255                                                                         GALION            OH      44833‐9088
JENNIFER L BERGER      335 MARJORIE AVE                                                                               DAYTON            OH      45404‐2347
JENNIFER L BIGGS       4349 HALLOCK YOUNG RD                                                                          NEWTON FALLS      OH      44444
JENNIFER L BLAIR       501 S LINDEN AVE APT D                                                                         MIAMISBURG        OH      45342
JENNIFER L BRENNAN     95 RENWOOD PLACE                                                                               SPRINGBORO        OH      45066‐3304
JENNIFER L BRITTON     165 LOUIS BLVD                                                                                 CORTLAND          OH      44410
JENNIFER L BROTHERS    700 N COLLEGE ST                                                                               GLENCOE           AL      35905
JENNIFER L CABRERA     9904 JOAN CIR                                                                                  YPSILANTI         MI      48197‐6911
JENNIFER L CHRISTIE    1120 N VAN BUREN ST                                                                            BAY CITY          MI      48708‐6077
JENNIFER L COOPER      4924 POWELL RD                                                                                 HUBER HEIGHTS     OH      45424‐6062
JENNIFER L CRAWFORD    2734 LATONIA AVE                                                                               DAYTON            OH      45439‐2925
JENNIFER L CRAWFORD    1810 NOCTURNE AVE NE                                                                           WARREN            OH      44483‐4179
JENNIFER L DOTSON      701 SUMMIT AVE APT 59                                                                          NILES             OH      44446‐3653
JENNIFER L EVANS       757 LOUISA ST                                                                                  MOUNT MORRIS      MI      48458‐1734
JENNIFER L FAY         5964 LEYCROSS DRIVE                                                                            HUBER HEIGHTS     OH      45424‐3565
JENNIFER L FRIEND      266 SHORE RD                                                                                   LAKE MILTON       OH      44429
JENNIFER L GARRANT     3161 CADYS ARBOR                                                                               BALDWINSVILLE     NY      13027‐1510
JENNIFER L GILANE      212 W SHRADER ST                                                                               LIBERTY           MO      64068‐2448
JENNIFER L GRAY        61 SHAWNEE CT                                                                                  FRANKLIN          OH      45005
JENNIFER L GROSS       1123 PRITZ AVE                                                                                 DAYTON            OH      45410
JENNIFER L GUTIERREZ   1609 S HARRISON ST                                                                             SAGINAW           MI      48602‐1368
JENNIFER L HAMBLIN     4443 KNOB HILL DR                                                                              BELLBROOK         OH      45305‐1428
JENNIFER L HAMPTON     79 BRICKER RD                                                                                  SHILOH            OH      44878‐9011
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Name                       Address1                      Address2            Address3         Address4               City              State   Zip
JENNIFER L HARLOW          1210 BUNKER HILL RD APT C                                                                 TROY               OH     45373‐1673
JENNIFER L HARRIS          2522 NAPOLEON AVE                                                                         PEARL              MS     39208‐6336
JENNIFER L HEADRICK        804 E ELLIS ST                                                                            SALEM              MO     65560‐1817
JENNIFER L HOAG            2827 OLD YELLOW SPRINGS RD                                                                FAIRBORN           OH     45324
JENNIFER L HOSKINS         205 S L ST                                                                                TILTON              IL    61833‐7832
JENNIFER L HURD            4991 DONLAW DR                                                                            DAYTON             OH     45418‐2003
JENNIFER L JEFFERIS        223 HARMON BLVD.                                                                          DAYTON             OH     45419‐3528
JENNIFER L JELLISON        34 KNOLLVIEW CT                                                                           GERMANTOWN         OH     45327
JENNIFER L JEROME          1030 SHAREWOOD CT.                                                                        KETTERING          OH     45429
JENNIFER L JONES           4807 LEAFBURROW DR                                                                        DAYTON             OH     45424‐4618
JENNIFER L JONES           1102 N JACKSON ST                                                                         BAY CITY           MI     48708‐5920
JENNIFER L KELLY           5265 SPRING DR                                                                            SOUTHSIDE          AL     35907‐5332
JENNIFER L KERN            3799 GARLING RD                                                                           LUCKEY             OH     43443‐9719
JENNIFER L KINGSBURY       1533 IRENE AVE                                                                            FLINT              MI     48503‐3553
JENNIFER L KNIGHT          P.O.BOX 1181                                                                              WAYNESVILLE        OH     45068
JENNIFER L LAQUIDAR        412 BOSTON RD                                                                             SYRACUSE           NY     13211‐1514
JENNIFER L LIVORNO         419 CHERRYWOOD                                                                            FAIRBORN           OH     45324‐4014
JENNIFER L LOPEZ           206 GORDON AVE                                                                            MATTYDALE          NY     13211‐1818
JENNIFER L LYONS           6775 ROBERTA DR                                                                           TIPP CITY          OH     45371
JENNIFER L MAINES          FRANKLIN AVE                                                                              LOCKPORT           NY     14094
JENNIFER L MARCUM          1612 S NIAGARA ST                                                                         SAGINAW            MI     48602‐1340
JENNIFER L MARTINEZ        1087 LEDYARD RD                                                                           ESSEXVILLE         MI     48732‐1741
JENNIFER L MCALLISTER PC   421 N NORTHWEST HWY STE 201                                                               BARRINGTON          IL    60010‐6022
JENNIFER L MCCAULLEY       138 W RUTGERS AVE                                                                         PONTIAC            MI     48340‐2758
JENNIFER L MCMURRAY        280 MILLS PL.                                                                             NEW LEBANON        OH     45345
JENNIFER L MILLET          8868 OLD ROUTE 36                                                                         BRADFORD           OH     45308‐9655
JENNIFER L MULLINS         8271 S WARWICK CT                                                                         YPSILANTI          MI     48198‐8405
JENNIFER L NITZ            7715 SQUIRES RD                                                                           MILLINGTON         MI     48746‐9774
JENNIFER L PHILLIPS        5034 WEIDNER RD.                                                                          FRANKLIN           OH     45005
JENNIFER L REIGELSPERGER   842 OSAGE TRL                                                                             JAMESTOWN          OH     45335‐1130
JENNIFER L RHOADES         6790 DIAMOND MILL RD.                                                                     GERMANTOWN         OH     45327
JENNIFER L RODRIQUEZ       417 MARYLAND AVE.                                                                         DAYTON             OH     45404‐1752
JENNIFER L SMITH           2517 SAINT CHARLES AVE                                                                    DAYTON             OH     45410
JENNIFER L SNELSON         500 HIDDEN VALLEY                                                                         WARREN             OH     44484‐4103
JENNIFER L STEPHENS        7843 MELODY RD                                                                            DAYTON             OH     45415‐2333
JENNIFER L STEVENS         1104 N JACKSON ST                                                                         BAY CITY           MI     48708‐5920
JENNIFER L STEWART         618 HALE ROAD                                                                             WILMINGTON         OH     45177‐8505
JENNIFER L TOOSON          305 MANSFIELD PLACE                                                                       DAYTON             OH     45404‐1072
JENNIFER L WATSON          1113 S NIAGARA ST                                                                         SAGINAW            MI     48602‐1430
JENNIFER L WEGRZYN         145 OHIO ST                                                                               YPSILANTI          MI     48198‐7821
JENNIFER L WELCH           216 POINTVIEW AVE 5C                                                                      DAYTON             OH     45405
JENNIFER L WELLS           464 TWINNING DRIVE                                                                        DAYTON             OH     45431‐2137
JENNIFER L WHITMORE        10129 ISABELLE PL                                                                         SAINT ANN          MO     63074‐1264
JENNIFER L WILLIAMS        14 VICTORY DRIVE                                                                          DAYTON             OH     45427‐2955
JENNIFER L WOOD            4067 KLEPINGER RD                                                                         DAYTON             OH     45416
JENNIFER L WRIGHT          8700 MILLICENT WAY APT 2307                                                               SHREVEPORT         LA     71115
JENNIFER L WYSOCKI         3331 CUTSHAW AVE APT 2                                                                    RICHMOND           VA     23230
JENNIFER LAWALL            2761 BAYBERRY DR                                                                          WATERFORD          MI     48329‐2407
JENNIFER LAWRENCE          2691 GLEN VALLEY DR                                                                       LEONARD            MI     48367‐3120
JENNIFER LEE               PO BOX 52263                                                                              SHREVEPORT         LA     71135‐2263
JENNIFER LEMONS            5848 BARRIER REEF DR                                                                      FORT WORTH         TX     76179‐7550
JENNIFER LENOIR            6231 TRENTON DR                                                                           FLINT              MI     48532‐3230
JENNIFER LEWIS             47620 BURLINGAME DR                                                                       CHESTERFIELD       MI     48047‐6025
JENNIFER LIEDTKE           1315 GREENLEAF DR                                                                         ROCHESTER HILLS    MI     48309‐1726
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JENNIFER LION           4888 ELM ST                                                                                       NEWPORT             MI     48166‐9062
JENNIFER LIPPKE         3024 E POWELL WAY                                                                                 GILBERT             AZ     85298‐8722
JENNIFER LLOYD          913 LAFAYETTE CT                                                                                  ROCHESTER HILLS     MI     48307‐2920
JENNIFER LOBBESTAEL     31119 BEACHWALK DR APT 405                                                                        NOVI                MI     48377‐1444
JENNIFER LOCKE
JENNIFER LONG           5590 HARRELL RD                                                                                   WATERFORD           MI     48329‐3233
JENNIFER LOOS           C/O COONEY AND CONWAY           120 NORTH LASALLE 30TH FLOOR                                      CHICAGO             IL     60602
JENNIFER LUCIER         30400 PATRICIA ST                                                                                 FARMINGTON HILLS    MI     48334‐3748

JENNIFER LYNN KIMURA    432 E 66TH ST APT 10                                                                              NEW YORK           NY      10065‐6998
JENNIFER M APPLEBECK    456 SEVILLE BLVD                                                                                  PONTIAC            MI      48340‐1060
JENNIFER M BAKER        324 LAUREL GLEN DR                                                                                SPRINGBORO         OH      45066
JENNIFER M BARANSKI     19606 HECKMAN ST                                                                                  CLINTON TOWNSHIP   MI      48035‐3976

JENNIFER M ELTRINGHAM   2372 VILLAGE WOODS DR                                                                             GRAND BLANC        MI      48439‐2515
JENNIFER M FRANKLIN     108 E 5TH ST                                                                                      TILTON             IL      61833‐7423
JENNIFER M GALLUCCI     8631 OLD ORCHARD RD SE                                                                            WARREN             OH      44484‐3052
JENNIFER M HEFLIN       1619 ENGLAND                                                                                      DAYTON             OH      45417
JENNIFER M JACKSON      541 E JUDSON AVE                                                                                  YOUNGSTOWN         OH      44502‐2524
JENNIFER M KIRKLAND     500 WHITES GAP RD SE APT 55                                                                       JACKSONVILLE       AL      36265‐3950
JENNIFER M MOORE        33 OHIO ST                                                                                        FAIRBORN           OH      45324‐4505
JENNIFER M REED         405 CALUMET LN                                                                                    DAYTON             OH      45417
JENNIFER M SILER        29 STURDY ST                                                                                      BRICK              NJ      08724
JENNIFER M STEVENS      59 ELM ST                                                                                         GERMANTOWN         OH      45327‐1204
JENNIFER M STEVENS      29 KIRK ST                                                                                        CANFIELD           OH      44406‐1628
JENNIFER MACGREGOR      10875 POINTE WEST BLVD                                                                            GRAND LEDGE        MI      48837‐9476
JENNIFER MACOM          1295 CARPATHIAN WAY                                                                               CLIO               MI      48420‐2146
JENNIFER MADRID         144 11TH ST # 2                                                                                   BROOKLYN           NY      11215‐3816
JENNIFER MANGIN
JENNIFER MANSFIELD      312 S MILL ST                                                                                     CLIO                MI     48420‐1436
JENNIFER MARQUART       CLAUSTHALER STR 15                                                        D‐28844 WYHE GERMANY
JENNIFER MARTIN         7152 S 600 E                                                                                      WABASH             IN      46992‐8154
JENNIFER MASSIMILLA     3169 KATIE LN                                                                                     MILFORD            MI      48380‐2021
JENNIFER MATHEY         9650 SHERIDAN RD                                                                                  BURT               MI      48417‐9715
JENNIFER MC BRIEN       2244 OTTER ST                                                                                     WARREN             MI      48092‐1358
JENNIFER MCCALLUM       13141 WILLOW GROVE DR                                                                             DEWITT             MI      48820‐9391
JENNIFER MCCANN         2189 W REID RD                                                                                    FLINT              MI      48507‐4659
JENNIFER MCCLURE        6764 VIENNA WOODS TRAIL                                                                           DAYTON             OH      45459‐1270
JENNIFER MCCRACKEN      12638 LEEVILLE RD                                                                                 COLLINSVILLE       MS      39325‐9721
JENNIFER MCGEE          13065 WHITE OAKS                                                                                  GAINES             MI      48436‐9650
JENNIFER MILEK          400 GREENLER RD UNIT 1504                                                                         DEFIANCE           OH      43512‐4201
JENNIFER MILLER         7416 WINDSOR LAKES DR BLDG 23                                                                     INDIANAPOLIS       IN      46237‐8322
JENNIFER MILLER         2206 BROOKDALE DR                                                                                 ARLINGTON          TX      76014‐2764
JENNIFER MITCHELL       401 W MARENGO AVE                                                                                 FLINT              MI      48505‐6300
JENNIFER MONTGOMERY     677 COVINGTON ST                                                                                  BOWLING GREEN      KY      42103‐1643
JENNIFER MOREL          2861 BAINBRIDGE AVE             1B                                                                BRONX              NY      10458
JENNIFER MORIKAWA       18912 CANTERBURY DR                                                                               LIVONIA            MI      48152‐3386
JENNIFER MOSCHETTA      42696 FAULKNER DR                                                                                 NOVI               MI      48377‐2731
JENNIFER MUMA           5077 RIDGE RD                                                                                     LOCKPORT           NY      14094‐8948
JENNIFER MUNOZ          2431 E 33RD ST                                                                                    LORAIN             OH      44055‐2133
JENNIFER MYERS          8393 E WADE LN                                                                                    NORTH WEBSTER      IN      46555‐9646
JENNIFER N HARTUNG      1604 HARVEST LN                                                                                   YPSILANTI          MI      48198‐3318
JENNIFER N LIVINGSTON   27321 DEER TRL                                                                                    ALPHARETTA         GA      30004
JENNIFER N MUNDY        36 S JUNE ST                                                                                      DAYTON             OH      45403‐1808
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Name                     Address1                     Address2            Address3         Address4               City               State Zip
JENNIFER NARDICCHIO      2682 ENDSLEIGH DR                                                                        BLOOMFIELD HILLS    MI 48301‐2673
JENNIFER NASKI           505 WILLOW DR                                                                            SOUTH LYON          MI 48178‐9471
JENNIFER NELSON          140 E JOHNSON ST                                                                         CLIO                MI 48420‐1431
JENNIFER NICKRAND        52913 CROSS CREEK DR                                                                     CHESTERFIELD        MI 48047‐5943
JENNIFER NICOLE SANDS    274 W NATIONAL RD APT 1                                                                  VANDALIA            OH 45377
JENNIFER NITZ            7715 SQUIRES RD                                                                          MILLINGTON          MI 48746‐9774
JENNIFER NORRIS          3942 HWY 79 LOT#10                                                                       O FALLON            MO 63366
JENNIFER NORRIS          15840 W 62ND ST                                                                          SHAWNEE             KS 66217‐9667
JENNIFER NOTHACKER       5131 TEETER RD                                                                           BELLVILLE           OH 44813‐9167
JENNIFER ODUM            8621 MONROE BLVD                                                                         TAYLOR              MI 48180‐7211
JENNIFER OKONIEWSKI      7336 DODGE RD                                                                            MONTROSE            MI 48457‐9192
JENNIFER OMMERT          2044 BLAIR DR                                                                            LEBANON             OH 45036‐8232
JENNIFER P BRAY          1729 BUEHLER PL                                                                          LEWISVILLE          TX 75067
JENNIFER P HICKS         112 S HAYDEN AVE                                                                         DAYTON              OH 45431
JENNIFER PAPINEAU        12311 SAINT ANDREWS WAY                                                                  FENTON              MI 48430‐8877
JENNIFER PARKER          1543 APPLE CREEK TRL                                                                     GRAND BLANC         MI 48439‐4963
JENNIFER PEREZ           11331 CAVELL ST                                                                          LIVONIA             MI 48150‐3251
JENNIFER PETERSDORF      14911 PATTERSON DR                                                                       SHELBY TOWNSHIP     MI 48315‐4940
JENNIFER PETHERS         456 S ELBA RD                                                                            LAPEER              MI 48446‐2781
JENNIFER PIPAL           662 ANDREW RD                                                                            SPRINGFIELD         PA 19064‐3816
JENNIFER POLLOCK‐MASON   929 E 3RD ST                                                                             ROYAL OAK           MI 48067‐2862
JENNIFER POTTER          3538 TRENTWOOD DR                                                                        COMMERCE            MI 48382‐1371
                                                                                                                  TOWNSHIP
JENNIFER POUNTIOUS       638 CONNECTICUT AVE                                                                      MC DONALD           OH 44437‐1816
JENNIFER POWELL          623 WEST BUCYRUS STREET                                                                  CRESTLINE           OH 44827‐1639
JENNIFER PRATER          14008 MARY DRIVE                                                                         NORTHPORT           AL 35475‐2315
JENNIFER PRATT           625 FULTON ST                                                                            JEFFERSONVILLE      IN 47130
JENNIFER PRESTI          1196 E 172ND ST                                                                          CLEVELAND           OH 44119‐3152
JENNIFER QUINN           21 MEDINA LN                                                                             INDIANAPOLIS        IN 46227‐9408
JENNIFER R COMBS         3585 EATON‐LEWISBURG ROAD                                                                EATON               OH 45320‐9712
JENNIFER R DOLLARHITE    21043 FELLRATH AVE                                                                       ROMULUS             MI 48174
JENNIFER R FLEES         2196 CHALET DR                                                                           ROCHESTER HILLS     MI 48309‐2103
JENNIFER R FORE          406 PERRY ST                                                                             NEW LEBANON         OH 45345
JENNIFER R HARDY         846 STANLEY AVE                                                                          PONTIAC             MI 48340‐2558
JENNIFER R HINES         575 HILLWOOD                                                                             WHITE LAKE          MI 48383‐2958
JENNIFER R HOLYFIELD     4211 E HILL RD                                                                           GRAND BLANC         MI 48439‐7971
JENNIFER R HOMMINGA      1121 N LINCOLN ST                                                                        BAY CITY            MI 48708‐6160
JENNIFER R HUNT          6780 ROBERTA DR.                                                                         TIPP CITY           OH 45371‐2346
JENNIFER R MCGHEE        9579 HARBOUR COVE CT                                                                     YPSILANTI           MI 48197‐7006
JENNIFER R MCINTIRE      2017 YOULL ST APT 93                                                                     NILES               OH 44446
JENNIFER R NEAL          854 N EUCLID AVE                                                                         DAYTON              OH 45407‐‐ 19
JENNIFER R PHILLIPS      3641 HERMOSA DR.                                                                         DAYTON              OH 45416‐1146
JENNIFER R SMITH         5001 LAUDERDALE DR                                                                       MORAINE             OH 45439‐2926
JENNIFER RABUCK          233 EAST HOOVER DRIVE                                                                    FORT WAYNE          IN 46816‐1063
JENNIFER RAGSDALE        704 CATE ROAD                                                                            GADSDEN             AL 35901
JENNIFER RALEIGH         3787 OGDEN HWY                                                                           ADRIAN              MI 49221‐9670
JENNIFER RASINSKI        33 SENECA ST                                                                             GOWANDA             NY 14070‐1018
JENNIFER RAVEY           1737 TAFT AVE                                                                            NILES               OH 44446‐4113
JENNIFER RAY             134 SENIORS WAY                                                                          SENECA              SC 29678‐3580
JENNIFER REEDY           7184 ELDERWOOD CIR                                                                       CLARKSTON           MI 48346‐1596
JENNIFER REID‐BOHANAN    117 NW 192ND AVE                                                                         GAINESVILLE         FL 32609
JENNIFER REIDER          22417 CAROLINA ST                                                                        SAINT CLAIR SHORES MI 48080‐3830

JENNIFER REIGELSPERGER   842 OSAGE TRL                                                                            JAMESTOWN         OH   45335‐1130
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Name                           Address1                          Address2              Address3                   Address4               City               State   Zip
JENNIFER REILAND               357 SHIN BR                                                                                               OXFORD              MI     48371‐6364
JENNIFER REITER                3170 S 101ST EAST AVE                                                                                     TULSA               OK     74146
JENNIFER RHOADES               6790 DIAMOND MILL RD                                                                                      GERMANTOWN          OH     45327‐9512
JENNIFER RICKERT               3265 FULS RD                                                                                              FARMERSVILLE        OH     45325‐8207
JENNIFER RIVERA                8674 VALMONT CIR                                                                                          CORDOVA             TN     38016‐8802
JENNIFER ROBINS                11225 NE 68TH ST APT 5                                                                                    KIRKLAND            WA     98033‐4001
JENNIFER ROBINSON              ATTN: E TODD TRACY                THE TRACY FIRM        5473 BLAIR RD, SUITE 200                          DALLAS              TX     75231
JENNIFER RODGERS               2308 ASHBOURNE RD                                                                                         ANDERSON            IN     46011‐2602
JENNIFER ROGERS                PO BOX 217                                                                                                PANOLA              TX     75685‐0217
JENNIFER ROGERSON              1 HATTERAS WAY                                                                                            BARNEGAT            NJ     08005‐3357
JENNIFER ROSE                  4314 CLIFFORD RD                                                                                          BROWNSBURG          IN     46112‐8533
JENNIFER ROSENQUIST            15600 CHARLES R AVE                                                                                       EASTPOINTE          MI     48021‐1690
JENNIFER ROTHSCHILLER‐ANG      935 COVENTRY CT                                                                                           MEDINA              OH     44256‐1395
JENNIFER ROTONDO               557 FOREST ST                                                                                             METHUEN             MA     01844‐1937
JENNIFER RUFFIN                13552 PINEHURST ST                                                                                        DETROIT             MI     48238‐2234
JENNIFER S CAROLAN, PERSONAL   FOR MICHAEL F CAROLAN             C/O BRAYTON PURCELL   222 RUSH LANDING RD                               NOVATO              CA     94948‐6169
REPRESENTATIVE
JENNIFER S FLOYD               574 HALE ROAD                                                                                             WILMINGTON         OH      45177‐8504
JENNIFER S GRAHAM              720 HILLCREST AVE                                                                                         CARLISLE           OH      45005‐3305
JENNIFER S GRIFFIN             APT 1                             6612 MILLSIDE DRIVE                                                     INDIANAPOLIS       IN      46221‐8600
JENNIFER S HUMPHRIES           30 SCOTT COURT                                                                                            GERMANTOWN         OH      45327
JENNIFER S NOLAN               1797 HICKORY ST SE                                                                                        CONYERS            GA      30013
JENNIFER S POWELL              623 WEST BUCYRUS STREET                                                                                   CRESTLINE          OH      44827‐1639
JENNIFER SANDERS               1826 PENBROOK LN                                                                                          FLINT              MI      48507‐2215
JENNIFER SANDERS               48067 SANDY RIDGE DR                                                                                      MACOMB             MI      48044‐5922
JENNIFER SANDLIN               6870 E 100 S                                                                                              GREENTOWN          IN      46936‐9118
JENNIFER SANDOVAL              PO BOX 755                                                                                                CUBA               NM      87013‐0755
JENNIFER SCHAFER               48586 TREMONT DR                                                                                          MACOMB             MI      48044‐2115
JENNIFER SCHNEIDER             30688 SARAH MELISA DR                                                                                     CHESTERFIELD       MI      48051‐3790
JENNIFER SCHONS                50880 APPLEBROOKE DR                                                                                      NORTHVILLE         MI      48167‐9121
JENNIFER SCHUEWEMEYER          #3 UNION MOBILE MANOR                                                                                     UNION              MO      63084
JENNIFER SCOTT                 11925 BUFFALO ST                                                                                          DETROIT            MI      48212‐2840
JENNIFER SENISH                8818 DUBLIN WAY                                                                                           STERLING HEIGHTS   MI      48314‐2413
JENNIFER SEVIGNY               2255 BALD EAGLE LAKE RD                                                                                   ORTONVILLE         MI      48462‐9047
JENNIFER SHINSKA               46289 APPLETON DR                                                                                         MACOMB             MI      48044‐5751
JENNIFER SHOCK                 410 N HAMPTON DR                                                                                          DURAND             MI      48429‐1412
JENNIFER SILLS                 WILHELM‐LEUSCHNER‐STR. 195        64347 GRIESHEIM
JENNIFER SILVAS                5400 EAST CARPENTER ROAD                                                                                  FLINT              MI      48506‐4514
JENNIFER SIMPSON               2262 PARKWOOD AVE                                                                                         TOLEDO             OH      43620‐1124
JENNIFER SMITH                 24959 WOODVIEW CT APT 202                                                                                 FARMINGTON HILLS   MI      48335‐2487

JENNIFER SMITH
JENNIFER SONNIER               2107 STARLING DR                                                                                          BOSSIER CITY       LA      71111‐5657
JENNIFER SPANGLER              616 OLIVIA DR                                                                                             MILFORD            MI      48381‐1045
JENNIFER SPROUSE               180 W STRATHMORE AVE                                                                                      PONTIAC            MI      48340‐2776
JENNIFER STAFFORD              3837 HEARTHSTONE DR                                                                                       CHAPEL HILL        TN      37034‐2083
JENNIFER STANEK                7567 LITTLE WALTERS CT                                                                                    CLARKSTON          MI      48348‐4446
JENNIFER STEURER               2040 RIVERVIEW DR                                                                                         JANESVILLE         WI      53546‐3800
JENNIFER STEVENS               29 KIRK ST                                                                                                CANFIELD           OH      44406‐1628
JENNIFER STODDARD              32 NASHUA STREET                                                                                          NORWICH            CT      06360‐9782
JENNIFER STONEKING             106 N LAKEVIEW BLVD                                                                                       MANITOU BEACH      MI      49253‐9650
JENNIFER STROMBERG             3200 EAGLE RIDGE DR                                                                                       PLATTE CITY        MO      64079‐7261
JENNIFER SUCHAN                38177 N JEAN CT                                                                                           WESTLAND           MI      48186‐3835
JENNIFER SYKES                 1089 WILLIAMSBURG CT                                                                                      WILLIAMSTON        MI      48895‐9080
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Name                     Address1                       Address2                   Address3                  Address4                 City              State   Zip
JENNIFER T ELLIS         1194 CHARLES ST                                                                                              SHARON             PA     16146
JENNIFER TEGEN           6522 CARLTON RD                                                                                              CANTON             MI     48187‐1698
JENNIFER THOMAS          43439 REVERE DR                                                                                              BELLEVILLE         MI     48111‐1673
JENNIFER THOMAS          130 CLARE ST                                                                                                 LAKE ORION         MI     48362‐3027
JENNIFER THOMPSON        2414 N UNION ST                                                                                              DES MOINES          IA    50316‐1740
JENNIFER THOMPSON        7618 E 49TH ST                                                                                               KANSAS CITY        MO     64129
JENNIFER TIETZ           703 ROYAL AVE                                                                                                ROYAL OAK          MI     48073‐5704
JENNIFER TIMBLIN ‐ IRA   JENNIFER TIMBLIN               6411 COUNTRY SHIRE LANE                                                       WEST BLOOMFIELD    MI     48323

JENNIFER TISSUE          6303 BISHOP RD                                                                                               LANSING           MI      48911‐6212
JENNIFER TOBER           1760 CRANSTON RD                                                                                             BELOIT            WI      53511‐2542
JENNIFER TOMASZEWSKI     PO BOX 270                                                                                                   HARTLAND          MI      48353‐0270
JENNIFER TOWNLEY         1427 LEROY ST                                                                                                FERNDALE          MI      48220‐3143
JENNIFER TUCKER          1729 DARLINGTON EAST RD                                                                                      BELLVILLE         OH      44813‐9389
JENNIFER TURNER          BOX 166                                                                                                      PARKERS LAKE      KY      42634
JENNIFER VICE            1206 S NORTON AVE                                                                                            MARION            IN      46953‐1257
JENNIFER VICKERY         4242 SKELTON RD                                                                                              COLUMBIAVILLE     MI      48421‐9753
JENNIFER VOLLWEILER      7240 READY AVE                                                                                               WARREN            MI      48091‐5340
JENNIFER W LOUIS         2716 ATHENS AVE                                                                                              DAYTON            OH      45406‐4625
JENNIFER W MOSTELLA      P O BOX 8372                                                                                                 GADSDEN           AL      35903
JENNIFER WAITE           C/O THE KUHLMAN LAW FIRM LLC   1100 MAIN ST STE 2550                                                         KANSAS CITY       MO      64105‐2120
JENNIFER WALKER          1338 RUSSELL ST                                                                                              YPSILANTI         MI      48198‐5953
JENNIFER WALKER          9875 S STATE RD                                                                                              MORRICE           MI      48857‐9746
JENNIFER WASHINGTON      PO BOX 1465                                                                                                  SANDUSKY          OH      44871‐1465
JENNIFER WATKINS         86 N. HATFIELD ST.                                                                                           DAYTON            OH      45417‐1723
JENNIFER WATZ            6105 NORMANDY DR                                                                                             SAGINAW           MI      48638‐4348
JENNIFER WAUN            6491 BRISTOL RD                                                                                              SWARTZ CREEK      MI      48473‐7921
JENNIFER WELC            2808 MOSSBERG CT                                                                                             SAINT CHARLES     MO      63303‐1151
JENNIFER WELLS‐SORNIG    5204 CREEKMONTE DR                                                                                           ROCHESTER HILLS   MI      48306‐4794
JENNIFER WESTPHAL        613 3RD ST                                                                                                   ESSEXVILLE        MI      48732‐1176
JENNIFER WHITE           4081 VAN VLEET RD                                                                                            SWARTZ CREEK      MI      48473‐8610
JENNIFER WHITE           49696 SHELBY CREEK DR                                                                                        SHELBY TWP        MI      48317‐1815
JENNIFER WIELKOPOLAN     13866 E AUSTIN RD                                                                                            MANCHESTER        MI      48158‐8508
JENNIFER WILLIAMS        12240 S. M‐66 HWY                                                                                            BELLEVUE          MI      49021
JENNIFER WILLIAMS        3996 DOANE HWY                                                                                               GRAND LEDGE       MI      48837‐9424
JENNIFER WILLIAMS        309 VENNUM AVE                                                                                               MANSFIELD         OH      44903‐2146
JENNIFER WILLIAMS        7757 HOLMES ST                                                                                               DETROIT           MI      48210‐1509
JENNIFER WILLIS          10199 E AVONDALE CIR                                                                                         SUPERIOR          MI      48198‐2600
                                                                                                                                      TOWNSHIP
JENNIFER WILLS           48693 VINTAGE LN                                                                                             MACOMB            MI      48044‐2154
JENNIFER WISSA           421 SPRINGVIEW DR                                                                                            ROCHESTER         MI      48307‐1736
JENNIFER WIXSON          1180 PORTER DRIVE                                                                                            CHARLOTTE         MI      48813‐3101
JENNIFER WOOD            6343 HARTEL RD                                                                                               POTTERVILLE       MI      48876‐8740
JENNIFER WRIGHT          818 S BLAINE ST                                                                                              MUNCIE            IN      47302‐2625
JENNIFER WUNDER          3702 MAYNARD DR                                                                                              JANESVILLE        WI      53548‐9116
JENNIFER WYCIHOWSKI      33052 LYNX ST                                                                                                WESTLAND          MI      48185‐1425
JENNIFER Y BATCHELOR     3652 SOLAR VISTA PL                                                                                          CINCINNATI        OH      45213‐1824
JENNIFER ZAGAL           4176 HELEN AVE                                                                                               LINCOLN PARK      MI      48146‐3718
JENNIFER ZHOU            1011 RIVER MIST DR                                                                                           ROCHESTER         MI      48307‐2264
JENNIFER ZOLDOS          38115 WINKLER ST                                                                                             HARRISON          MI      48045‐5363
                                                                                                                                      TOWNSHIP
JENNIFFER BUTLER         6046 FOX POINT TRL                                                                                           DALLAS             TX     75249‐2805
JENNINE & LINDA THORPE   C/O SISKINDS LLP               ATTN CHRISTOPHER COLLINS   680 WATERLOO ST, PO BOX   LONDON ONTARIO N6A 3V8
                                                                                   2520
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Name                                  Address1                        Address2                        Address3   Address4               City               State   Zip
JENNINE HUNT                          17700 SHARON RD                                                                                   CHESANING           MI     48616‐9596
JENNINE KENDZIE                       885 MANUFACTURERS DR                                                                              WESTLAND            MI     48186‐4036
JENNINE SPARKS                        69 RIDGE RD                                                                                       CORINTH             ME     04427‐3204
JENNING KNIGHT                        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS.         OH     44236
JENNINGS                              PO BOX 2138                                                                                       ALICE               TX     78333‐2138
JENNINGS AMY                          201 CLUB WAY                                                                                      ENTERPRISE          AL     36330‐8315
JENNINGS ARTHUR (357367)              EARLY & STRAUSS                 420 LEXINGTON AVE RM 840                                          NEW YORK            NY     10170‐0840
JENNINGS BALLARD JR                   1070 LEWIS RD                                                                                     MANSFIELD           OH     44903‐8947
JENNINGS BEARDSTOWN, INC.             ROGER JENNINGS                  716 MARCH ST                                                      BEARDSTOWN           IL    62618‐1432
JENNINGS BEARDSTOWN, INC.             716 MARCH ST                                                                                      BEARDSTOWN           IL    62618‐1432
JENNINGS BENNETT                      1017 WOODGLENN DR                                                                                 NEWTON FALLS        OH     44444
JENNINGS BRYAN & TINA                 3293 CRESTWIND DR                                                                                 LAKE HAVASU CITY    AZ     86404‐4067
JENNINGS CHEV OLDS CAD, INC.          ALLAN JENNINGS                  340 N 2ND ST                                                      CHAMBERSBURG        PA     17201‐1613
JENNINGS CHEVROLET OLDSMOBILE CADIL   340 N 2ND ST                                                                                      CHAMBERSBURG        PA     17201‐1613

JENNINGS CHEVROLET OLDSMOBILE         ALLAN JENNINGS                  340 N 2ND ST                                                      CHAMBERSBURG        PA     17201‐1613
CADILLAC, INC.
JENNINGS CHEVROLET OLDSMOBILE         340 N 2ND ST                                                                                      CHAMBERSBURG        PA     17201‐1613
CADILLAC, INC.
JENNINGS CHEVROLET, INC.                                                                                                                GLENVIEW           IL      60025
JENNINGS CHEVROLET, INC.              JAMES JENNINGS                  241 WAUKEGAN RD                                                   GLENVIEW           IL      60025‐5158
JENNINGS CHEVROLET, INC.              241 WAUKEGAN RD                                                                                   GLENVIEW           IL      60025‐5158
JENNINGS COOK & HOISINGTON            204 N ROBINSON AVE              1900 CITY PL                                                      OKLAHOMA CITY      OK      73102‐6815
JENNINGS DAN                          JENNINGS, DAN                   4616 IDECKER DRIVE                                                ST LOUIS           MO      63129
JENNINGS DAVID L (660903)             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA      23510
                                                                      STREET, SUITE 600
JENNINGS DAVIS, PATRICIA G            PO BOX 187                                                                                        BURGHILL           OH      44404‐0187
JENNINGS DORIS                        1409 MCARTHUR AVENUE                                                                              NEW BERN           NC      28560‐4622
JENNINGS ENGSTRAND & HENRIKSON        PO BOX 125070                                                                                     SAN DIEGO          CA      92112‐5070
JENNINGS EXCAVATION INC.                                              14 CLINTON DR                                                                        NH      03049
JENNINGS FISHER                       PO BOX 43                                                                                         SPELTER            WV      26438
JENNINGS FRANCIS (445484)             BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH      44067
                                                                      PROFESSIONAL BLDG
JENNINGS FRANCIS N (493865)           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA     23510
                                                                      STREET, SUITE 600
JENNINGS FRENCH                       627 WESTBOURNE DR                                                                                 BLOOMFIELD HILLS    MI     48301‐3454
JENNINGS GENERAL MAINTENANCE INC      10271 N. STATE RD.              P.O. BOX 74                                                       OTISVILLE           MI     48463

JENNINGS HARRY (479274)               BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH      44067
                                                                      PROFESSIONAL BLDG
JENNINGS HENRY L (656477)             WEITZ & LUXENBERG               180 MAIDEN LANE                                                   NEW YORK            NY     10038
JENNINGS HUGH C (429183)              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA     23510
                                                                      STREET, SUITE 600
JENNINGS I I, DWIGHT O                1149 BRADFORD ST NW                                                                               WARREN             OH      44485‐1961
JENNINGS II, GEORGE CHANDLER          G2206 LODGE RD                                                                                    FLINT              MI      48532
JENNINGS JAMES                        2909 BRIDGESTONE CIRCLE                                                                           KOKOMO             IN      46902‐7011
JENNINGS JR, ALPHONCE                 99 E JUDSON ST                                                                                    PONTIAC            MI      48342‐3032
JENNINGS JR, GEORGE M                 PO BOX 181                                                                                        NEWARK             TX      76071‐0181
JENNINGS JR, NATHANIEL                10211 E OUTER DR                                                                                  DETROIT            MI      48224‐2885
JENNINGS JR, ORVILLE J                1500 WENDELL AVE                                                                                  LIMA               OH      45805‐3155
JENNINGS JR, WILLIAM D                16 ROTHWELL DR                                                                                    WILMINGTON         DE      19804‐3432
JENNINGS JR, WILLIAM G                9150 PRESTWICK CLUB DR                                                                            DULUTH             GA      30097‐2443
JENNINGS KEITH                        JENNINGS, KEITH                 4318 BLAIR AVE                                                    SANT LOUIS         MO      63107
JENNINGS KENNETH (504951)             (NO OPPOSING COUNSEL)
                                     09-50026-mg            Doc 7123-20 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
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Name                                 Address1                             Address2                        Address3              Address4               City              State Zip
JENNINGS LANTZ                       7173 OAK HILL DR                                                                                                  WEST FARMINGTON    OH 44491‐8708

JENNINGS LARRY E (439180)            GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                  NORFOLK           VA    23510
                                                                          STREET, SUITE 600
JENNINGS LEE (352290)                GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                  NORFOLK           VA    23510
                                                                          STREET, SUITE 600
JENNINGS LESLIE (479275)             BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                                NORTHFIELD        OH    44067
                                                                          PROFESSIONAL BLDG
JENNINGS LOVINS                      6432 FIRESIDE DR                                                                                                  DAYTON            OH    45459
JENNINGS LUKE (445486)               BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                                NORTHFIELD        OH    44067
                                                                          PROFESSIONAL BLDG
JENNINGS LYFE                        C/O PROVIDENT FINANCIAL MGMT         2850 OCEAN PARK BLVD STE 300    ATTN LINDA LAPETINO                          SANTA MONICA      CA    90405‐6216
JENNINGS MARTIN                      25 EAGLE POINT DR                                                                                                 NEWTON FALLS      OH    44444‐1262
JENNINGS MCAVOY                      BEVAN & ASSOCIATES LPA INC            6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS        OH    44236
JENNINGS MICHAEL (402395)            ANGELOS PETER G LAW OFFICE            115 BROADWAY FRNT 3                                                         NEW YORK          NY    10006‐1638
JENNINGS MOTORS, INC.                9701 E ARAPAHOE RD                                                                                                ENGLEWOOD         CO    80112‐3706
JENNINGS MOTORS, INC.                INTERCOMPANY
JENNINGS O C (477705)                GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                                PITTSBURGH        PA    15219

JENNINGS PARKER                      7318 MANHATTAN AVE                                                                                                PARMA             OH    44129‐1465
JENNINGS POLICY STRATEGIES           401 9TH ST NW                        STE 770                                                                      WASHINGTON        DC    20004‐2134
JENNINGS POLICY STRATEGIES, INC.     MR. CHRISTOPHER C. JENNINGS          SUITE 600 EAST                  1001 G STREET, NW                            WASHINGTON        DC    20001
JENNINGS PONTIAC, BUICK, GMC, INC.   THOMAS JENNINGS                      247 GRANT ST                                                                 CHAMBERSBURG      PA    17201‐1627
JENNINGS PONTIAC, BUICK, GMC, INC.   247 GRANT ST                                                                                                      CHAMBERSBURG      PA    17201‐1627
JENNINGS RANDEL C (481813)           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                  NORFOLK           VA    23510
                                                                          STREET, SUITE 600
JENNINGS RAYMOND                     JENNINGS, RAYMOND                    805 HANCOCK RD.                                                              WENTZVILLE        MO    63385‐3115
JENNINGS STEPHANIE                   201 GAPEN RD                                                                                                      GARARDS FORT      PA    15334‐1019
JENNINGS SWECKER                     619 BALDWIN ST                                                                                                    ELYRIA            OH    44035‐7213
JENNINGS TERRIE                      5226 WAYNE MADISON ROAD                                                                                           TRENTON           OH    45067‐9718
JENNINGS TERRIE                      JENNINGS, TERRIE
JENNINGS TERRY                       5056 ROYAL DR                                                                                                     FORT WORTH        TX    76116‐8830
JENNINGS THOMAS                      7327 SCOTLAND CIRCLE #105                                                                                         ALMA              MI    48801
JENNINGS TINA                        8913 MILLINGTON RD                                                                                                VASSAR            MI    48768‐9649
JENNINGS TOW & REPAIR                1401 18TH ST                                                                                                      SPIRIT LAKE       IA    51360‐1169
JENNINGS TREMBLAY                    319 FOSTER RD                                                                                                     FORT COVINGTON    NY    12937‐2417
JENNINGS VANCE W (412866)            GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                  NORFOLK           VA    23510
                                                                          STREET, SUITE 600
JENNINGS W FISHER                    20071 SANIBEL VIEW CRL 101           UNIT 101                                                                     FORT MYERS         FL   33908
JENNINGS WILLIAM (ESTATE OF)
JENNINGS WINFREY                     4285 MELANIE LN                                                                                                   COLLEGE PARK      GA    30349‐2846
JENNINGS WINTERS                     2013 INNER CIRCLE DR                                                                                              OVIEDO            FL    32765‐8708
JENNINGS, AGNES A                    2928 AVALON AVE NE                                                                                                CANTON            OH    44705‐4156
JENNINGS, ALBERT                     122 CRISCO RD                                                                                                     FLORENCE          MS    39073
JENNINGS, ALBERT                     3115 FULTON ST                                                                                                    SAGINAW           MI    48601‐3174
JENNINGS, ALBERT H                   123 NEIGHBORLY WAY                                                                                                MURPHY            NC    28906‐7658
JENNINGS, ALFRED A                   600 HURD RD                                                                                                       PROSPECT          TN    38477‐6814
JENNINGS, ALFRED R                   5415 PHEASANT RUN RD                                                                                              CLARKSTON         MI    48346‐3955
JENNINGS, ALFRED R                   3250 LAKESIDE DR                                                                                                  SHELBY TOWNSHIP   MI    48316‐2959
JENNINGS, ALTON D                    1995 SCOUT RD                                                                                                     EATON RAPIDS      MI    48827‐9384
JENNINGS, ALVIN                      PO BOX 2804                                                                                                       DAYTON            OH    45401‐2804
JENNINGS, ALVIN O                    1415 HENRI                                                                                                        NEWPORT           MI    48166‐9240
JENNINGS, AMELIA T                   1115 KIRKHAM TRACE                                                                                                LOUISVILLE        KY    40299
JENNINGS, AMY S                      11647 W 800 S                                                                                                     LOSANTVILLE       IN    47354‐9317
                       09-50026-mg              Doc 7123-20 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
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Name                   Address1                          Address2                          Address3   Address4               City              State   Zip
JENNINGS, ANNA JEAN    2073 ROYAL DR                                                                                         MELBOURNE          FL     32904‐9119
JENNINGS, ANNA L       154 ROSE ST                                                                                           PLYMOUTH           MI     48170‐1349
JENNINGS, ARDELIA      3001 CABANA DRIVE                 #301                                                                LAS VEGAS          NV     89122
JENNINGS, ARTHUR       EARLY & STRAUSS                   GRAYBAR BUILDING SUITE 840, 420                                     NEW YORK           NY     10170
                                                         LEXINGTON AVENUE
JENNINGS, ARTHUR       16 BRENTWOOD DR                                                                                       OXFORD            MI      48371‐6173
JENNINGS, BARBARA A    1423 JESUSITA LN                                                                                      SANTA BARBARA     CA      93105‐2047
JENNINGS, BARBARA D    211 4TH AVE # A                                                                                       COLUMBIA          TN      38401‐2803
JENNINGS, BASIL        WEITZ & LUXENBERG                 180 MAIDEN LANE                                                     NEW YORK          NY      10038
JENNINGS, BEATRICE     17178 SAINT AUBIN ST                                                                                  DETROIT           MI      48212‐1544
JENNINGS, BEATRICE     17178 ST AUBIN                                                                                        DETROIT           MI      48212‐1544
JENNINGS, BETTY B      2580 CASCADE RD SW                                                                                    ATLANTA           GA      30311‐3209
JENNINGS, BETTY J      414 W HIGH                                                                                            HICKSVILLE        OH      43526‐1036
JENNINGS, BETTY J      414 W HIGH ST                                                                                         HICKSVILLE        OH      43526‐1036
JENNINGS, BETTY J      5532 LAKESIDE DR                                                                                      FAIRFIELD         OH      45014‐9105
JENNINGS, BETTY L      2631 WILLOWRIDGE DR                                                                                   DAYTON            OH      45414‐2837
JENNINGS, BEULAH A     1119 ST JOHN                                                                                          TOLEDO            OH      43608‐2159
JENNINGS, BILLY N.     101 OAK HILL STREET                                                                                   GLASGOW           KY      42141‐1460
JENNINGS, BILLY R      RR 1 BOX 810                                                                                          FAYETTEVILLE      WV      25840‐9798
JENNINGS, BOBBY L      12002 BEECH DALY RD                                                                                   REDFORD           MI      48239‐2430
JENNINGS, BOBBY LEON   12002 BEECH DALY RD                                                                                   REDFORD           MI      48239‐2430
JENNINGS, BRADLEY      3170 OAKCLIFF RD NW                                                                                   ATLANTA           GA      30311‐1021
JENNINGS, BRUCE L      7044 LENNON RD                                                                                        SWARTZ CREEK      MI      48473‐9727
JENNINGS, C W          3330 JEFFERSON ST.                                                                                    OWENSBORO         KY      42303‐7078
JENNINGS, CAMILLE H    243 MIAMI LAKES DR                                                                                    MILFORD           OH      45150‐5810
JENNINGS, CARL R       9521 HAMILL RD                    P.O. BOX392                                                         OTISVILLE         MI      48463‐9785
JENNINGS, CAROL A      3716 JUNIPER STREET                                                                                   CLARKSTON         MI      48348‐1367
JENNINGS, CARRIE I     53 KINGSBERRY DR                                                                                      SOMERSET          NJ      08873‐4304
JENNINGS, CHARLES D    APT T                             26 SCENIC DRIVE                                                     CROTON HDSN       NY      10520‐1824
JENNINGS, CHARLES H    PO BOX 188                                                                                            SPRINGERVILLE     AZ      85938‐0188
JENNINGS, CHARLES O    120 THEO AVE                                                                                          LANSING           MI      48917‐2607
JENNINGS, CHERYL L     334 KIRK DR                                                                                           SAINT LOUIS       MO      63135‐3027
JENNINGS, CLARENCE A   12 CARRIAGE LN 12                                                                                     BELLEVILLE        MI      48111
JENNINGS, CLARK        12613 S LAFLIN ST                                                                                     CALUMET PARK      IL      60827‐6011
JENNINGS, CLENTIS A    124 FIRELIGHT CT                                                                                      ANTIOCH           TN      37013‐5654
JENNINGS, COREY N      11015 MORRISON ST APT 204                                                                             NORTH HOLLYWOOD   CA      91601

JENNINGS, CRAIG H      105 ABERDEEN                                                                                          WILLIAMSBURG       VA     23188‐9145
JENNINGS, CRAIG S      2529 TIMBER HILL DRIVE                                                                                ANN ARBOR          MI     48103‐2180
JENNINGS, CURTIS       4840 LA CHENE DR                                                                                      WARREN             MI     48092‐4936
JENNINGS, CURTIS L     6366 BROOKDALE DR                                                                                     INDIANAPOLIS       IN     46227‐4922
JENNINGS, CYNTHIA
JENNINGS, DAISY        34446 FAIRCHILD ST                                                                                    WESTLAND          MI      48186
JENNINGS, DAN          4616 IDECKER DR                                                                                       SAINT LOUIS       MO      63129‐1781
JENNINGS, DARLENE M    90 STARR AVE                                                                                          WATERFORD         MI      48328‐3850
JENNINGS, DARRELL      PO BOX 1421                                                                                           LEWISBURG         TN      37091‐0421
JENNINGS, DAVID A      9220 CARTER RD                                                                                        FREELAND          MI      48623‐9052
JENNINGS, DAVID C      121 W VINE ST                                                                                         MONROE            MI      48162‐2756
JENNINGS, DAVID E      1706 FERRIS AVE 81                                                                                    ROYAL OAK         MI      48067
JENNINGS, DAVID E      3839 BRUNSWICK LN                                                                                     JANESVILLE        WI      53546‐2080
JENNINGS, DAVID L      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK           VA      23510‐2212
                                                         STREET, SUITE 600
JENNINGS, DAVID S      3544 EVERGREEN AVE SE                                                                                 WARREN            OH      44484‐3416
JENNINGS, DAWSEY D     1355 ORCHID ST                                                                                        WATERFORD         MI      48328‐1353
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Name                    Address1                       Address2                       Address3   Address4               City              State   Zip
JENNINGS, DEAN E        1028 FAIRWAY LN                                                                                 LANSING            MI     48912‐5008
JENNINGS, DEANNA        PO BOX 33                                                                                       SHILOH             OH     44878‐0033
JENNINGS, DEBORAH R     865 GARDEN CT                                                                                   EASTON             PA     18040
JENNINGS, DEBORAH W     10205 CAMINITO COVEWOOD                                                                         SAN DIEGO          CA     92131‐2003
JENNINGS, DEBRA J       12321 MOCERI DR                                                                                 GRAND BLANC        MI     48439‐1927
JENNINGS, DELORESE C    1127 SUNNYMEADE DR                                                                              ANDERSON           IN     46011‐2457
JENNINGS, DELORESE C    1127 SUNNYMEAD DR                                                                               ANDERSON           IN     46011‐2457
JENNINGS, DENISE B      803 HEATHER DR                                                                                  DAYTON             OH     45405‐1821
JENNINGS, DENISE B      803 HEATHER DR.                                                                                 DAYTON             OH     45405‐5405
JENNINGS, DENNIS H      39748 SHETLAND ST                                                                               CLINTON TWP        MI     48038‐2876
JENNINGS, DOLORES F     5804 NE BUTTONWOOD TREE LN                                                                      GLADSTONE          MO     64119‐2236
JENNINGS, DONALD G      PO BOX 162                                                                                      MACOMB             OK     74852‐0162
JENNINGS, DONALD L      8300 RATHBONE ST                                                                                DETROIT            MI     48209‐1976
JENNINGS, DONALD R      674 BENEDICT AVE                                                                                MANSFIELD          OH     44906‐2024
JENNINGS, DONNA M       8492 N BRAY RD                                                                                  MOUNT MORRIS       MI     48458‐8987
JENNINGS, DONNA M       3428 MILLER ST                                                                                  EAU CLAIRE         WI     54701‐7648
JENNINGS, DONNA MARIE   8492 N BRAY RD                                                                                  MOUNT MORRIS       MI     48458‐8987
JENNINGS, DOROTHY M     11623 HARVARD AVE                                                                               CLEVELAND          OH     44105‐5457
JENNINGS, DOROTHY M.    11623 HARVARD AVE                                                                               CLEVELAND          OH     44105‐5457
JENNINGS, DOUGLAS       4125 GARIBALDI PL                                                                               PLEASANTON         CA     94566‐7541
JENNINGS, EDWARD H      1347 W VIENNA RD                                                                                CLIO               MI     48420‐2129
JENNINGS, EDWIN         5596 HIDDEN LAKE DR                                                                             LOCKPORT           NY     14094‐6281
JENNINGS, EILEEN        5215 WEBSTER RD                                                                                 FLINT              MI     48504
JENNINGS, EILEEN M      248 CROCKER AVE                                                                                 VENTURA            CA     93004‐1533
JENNINGS, ELLA C        6426 RACHELLEN AVE                                                                              HUBBARD            OH     44425‐2450
JENNINGS, ELLIOTT       3081 HUSTON DR                                                                                  MILLINGTON         MI     48746‐9697
JENNINGS, ERIC S        6282 BADGER DR                                                                                  LOCKPORT           NY     14094‐5919
JENNINGS, ERIC S        PO BOX 122                                                                                      NEWFANE            NY     14108‐0122
JENNINGS, ERMALEE       5168 TOKAY DR                                                                                   FLINT              MI     48507‐2917
JENNINGS, EUGENE        6122 SHILLINGTON DR                                                                             BERKELEY           MO     63134‐2223
JENNINGS, F             PO BOX 176                                                                                      LAKE PEEKSKILL     NY     10537‐0176
JENNINGS, FLORA         21812 S PHOENIX DR                                                                              PECULIAR           MO     64078‐9508
JENNINGS, FRANCIS       BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD         OH     44067
                                                       PROFESSIONAL BLDG
JENNINGS, FRANCIS N     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA     23510‐2212
                                                       STREET, SUITE 600
JENNINGS, FRANK J       990 DOLANE                                                                                      WHITE LAKE        MI      48383‐2400
JENNINGS, FRANK T       1021 ORLO DR NW                                                                                 WARREN            OH      44485‐2427
JENNINGS, FRED A        611 14TH AVE                                                                                    MIDDLETOWN        OH      45044‐5603
JENNINGS, FRED A        611 FOURTEENTH AVE                                                                              MIDDLETOWN        OH      45044‐5603
JENNINGS, FRED T        451 RADCLIFF ST                                                                                 GARDEN CITY       MI      48135‐3081
JENNINGS, FREDDIE       18921 ELDORADO PL                                                                               LATHRUP VILLAGE   MI      48076‐4408
JENNINGS, FREDERICK B   207 LOCH LOMOND AVE NE                                                                          GRAND RAPIDS      MI      49546‐1342
JENNINGS, GAIL F        24230 MOUNT OLIVE DR                                                                            FLAT ROCK         MI      48134‐9535
JENNINGS, GARY A        21812 S PHOENIX DR                                                                              PECULIAR          MO      64078‐9508
JENNINGS, GENE A        3026 CHAUTAUQUA DR                                                                              STOW              OH      44224‐3825
JENNINGS, GEORGE C      2073 ROYAL DR                                                                                   MELBOURNE         FL      32904‐9119
JENNINGS, GEORGE E      PO BOX 337                                                                                      TREZEVANT         TN      38258‐0337
JENNINGS, GLORIA B      C/O GUARDIANSHIP AND P S,INC   197 WEST MARKET ST                                               WARREN            OH      44481‐1045
JENNINGS, GLORIA Y      PO BOX 210                                                                                      FOLEY             AL      36536‐0210
JENNINGS, GOLDIE M      212 2ND ST                                                                                      GRAND TOWER       IL      62942
JENNINGS, H W           781 DUTTON RD                                                                                   ROCHESTER HLS     MI      48306‐2509
JENNINGS, HALLIE T      LOT 23                         27441 US HIGHWAY 98                                              ELBERTA           AL      36530‐2728
JENNINGS, HAROLD        PO BOX 13085                                                                                    FLINT             MI      48501‐3085
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Name                      Address1                          Address2                       Address3   Address4               City               State Zip
JENNINGS, HARRY           BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD          OH 44067
                                                            PROFESSIONAL BLDG
JENNINGS, HARVEY          240 VANDIVER RD                                                                                    CANTON             GA   30114‐2031
JENNINGS, HAZEL I         2806 MEDOW CREEK ROAD                                                                              GALAX              VA   24333‐4668
JENNINGS, HAZEL I         2806 MEADOW CREEK RD                                                                               GALAX              VA   24333‐4668
JENNINGS, HENRI J         3940 HANEY ROAD                                                                                    DAYTON             OH   45416‐2034
JENNINGS, HENRY           14209 METTETAL ST                                                                                  DETROIT            MI   48227‐1874
JENNINGS, HENRY L         WEITZ & LUXENBERG                 180 MAIDEN LANE                                                  NEW YORK           NY   10038
JENNINGS, HERMAN L        1127 SUNNYMEAD DR                                                                                  ANDERSON           IN   46011‐2457
JENNINGS, HOMER C         625 MOORES LN                                                                                      NEW CASTLE         DE   19720‐3447
JENNINGS, HOWARD C        43220 CYPRESS BEND DR                                                                              GONZALES           LA   70737‐7783
JENNINGS, HUGH C          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA   23510‐2212
                                                            STREET, SUITE 600
JENNINGS, INEZ I          21 HOLLAND LANE                                                                                    GOODMAN            MO   64843
JENNINGS, IVORY           717 FRANKLIN ST SE                                                                                 GRAND RAPIDS       MI   49507‐1306
JENNINGS, J D             3906 SPANN AVE                                                                                     INDIANAPOLIS       IN   46203‐1539
JENNINGS, JACK D          5907 SANTO DOMINGO CT                                                                              NEW BERN           NC   28560‐9036
JENNINGS, JAMES           892 E 5TH ST                                                                                       ENGLEWOOD          FL   34223‐4411
JENNINGS, JAMES           19219 REDFERN ST                                                                                   DETROIT            MI   48219‐1854
JENNINGS, JAMES           221 RIDGEVIEW DR                                                                                   WYNNE              AR   72396‐1719
JENNINGS, JAMES A         4129 EASTRIDGE DR                                                                                  JANESVILLE         WI   53546‐1725
JENNINGS, JAMES A         5055 LAPEER RD                                                                                     BURTON             MI   48509‐2017
JENNINGS, JAMES H         1231 N CASS LAKE RD                                                                                WATERFORD          MI   48328‐1315
JENNINGS, JAMES J         1423 JESUSITA LN                                                                                   SANTA BARBARA      CA   93105‐2047
JENNINGS, JAMES J         9080 N RAIDER RD                                                                                   MIDDLETOWN         IN   47356‐9327
JENNINGS, JAMES P         3 MEETING ST                                                                                       ORANGE BEACH       AL   36561‐8303
JENNINGS, JAMES W         3912 BRIGGS RD                                                                                     OTTER LAKE         MI   48464‐9734
JENNINGS, JANICE D        707 SNAPDRAGON TRL                                                                                 MESQUITE           TX   75149‐2643
JENNINGS, JEFFREY M       2651 ARMSTRONG DR                                                                                  LAKE ORION         MI   48360‐1703
JENNINGS, JEFFREY S       5880 TURNBERRY DR                                                                                  COMMERCE           MI   48382‐4802
                                                                                                                             TOWNSHIP
JENNINGS, JENNIFER        4121 POLARIS DR APT 1094                                                                           IRVING             TX   75038
JENNINGS, JOANNIE L       PO BOX 2804                                                                                        DAYTON             OH   45401‐2804
JENNINGS, JOHN A          229 BANNISTER CT                                                                                   DANVILLE           VA   24540‐1229
JENNINGS, JOHN E          14292 E WHISPERING OCOTILLO PL                                                                     VAIL               AZ   85641‐6663
JENNINGS, JOHN T          5067 BUCKINGHAM AVE                                                                                DETROIT            MI   48224‐3250
JENNINGS, JOHNNIE H       3905 CHERYL ST                                                                                     FORT WORTH         TX   76117‐2228
JENNINGS, JOHNNIE L       1707 HOLBORN CT                                                                                    JONESBORO          GA   30236‐3397
JENNINGS, JOSEPH R        7716 CRUYFF CIR                                                                                    INDIANAPOLIS       IN   46214‐2347
JENNINGS, JOSEPH ROBERT   7716 CRUYFF CIR                                                                                    INDIANAPOLIS       IN   46214‐2347
JENNINGS, JOYCE G         531 MISTLETOE AVE                                                                                  YOUNGSTOWN         OH   44511‐3269
JENNINGS, JOYCE G         531 MISTLETOE                                                                                      YOUNGSTOWN         OH   44511‐3269
JENNINGS, JOYCELYN A      219 FRANK ST.                                                                                      MEDINA             NY   14103‐1716
JENNINGS, JOYCELYN A      219 FRANK ST                                                                                       MEDINA             NY   14103‐1716
JENNINGS, JUDY A          2604 PIONEER ROAD SOUTHWEST                                                                        HUNTSVILLE         AL   35803‐2573
JENNINGS, JUDY A          PO BOX 18041                                                                                       INDIANAPOLIS       IN   46218‐0041
JENNINGS, KAREN D         28330 FRANKLIN RIVER DR APT 208                                                                    SOUTHFIELD         MI   48034‐5404
JENNINGS, KAREN D         APT 208                           28330 FRANKLIN RIVER DRIVE                                       SOUTHFIELD         MI   48034‐5404
JENNINGS, KAREN E         2924 MEADOWBROOK CT                                                                                LAKE ORION         MI   48360‐1726
JENNINGS, KEITH           4318 BLAIR AVE                                                                                     SAINT LOUIS        MO   63107‐1905
JENNINGS, KENNETH E       6356 ROBERT E LEE DR                                                                               FAIRFIELD          OH   45014‐4630
JENNINGS, KENNETH E       1219 JOYCE LN                                                                                      ANN ARBOR          MI   48103‐8870
JENNINGS, KENT R          24163 S DUNCAN CIR                                                                                 FARMINGTON HILLS   MI   48336‐2773
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Name                      Address1                         Address2                       Address3   Address4               City                State Zip
JENNINGS, KENT R.         24163 S DUNCAN CIR                                                                                FARMINGTON HILLS     MI 48336‐2773

JENNINGS, KIMIKO I        233 S ACADEMY ST                                                                                  MOORESVILLE         NC   28115‐3110
JENNINGS, KRISSONDRA      44 GEORGE CRABTREE RD                                                                             HILHAM              TN   38568‐8568
JENNINGS, KRISSONDRA      44 CRABTREE RD                                                                                    HILHAM              TN   38568
JENNINGS, LARRY D         69 MOON VALLEY RD                                                                                 TULAROSA            NM   88352‐9657
JENNINGS, LARRY E         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK             VA   23510‐2212
                                                           STREET, SUITE 600
JENNINGS, LAURA J         1587 CREEK ST                                                                                     ROCHESTER           NY   14625‐1164
JENNINGS, LEE             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK             VA   23510‐2212
                                                           STREET, SUITE 600
JENNINGS, LEITHA M        400 E MAIN ST APT 129                                                                             MIDLAND             MI   48640‐6504
JENNINGS, LENA F          3126 WYOMING AVE.                                                                                 FLINT               MI   48506‐2560
JENNINGS, LEO             12321 MOCERI DR                                                                                   GRAND BLANC         MI   48439‐1927
JENNINGS, LEONA           795 SNOWBIRD CIRCLE WEST                                                                          SAINT CLAIR         MI   48079‐5593
JENNINGS, LESLIE          BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD          OH   44067
                                                           PROFESSIONAL BLDG
JENNINGS, LESTER L        PO BOX 595                                                                                        GRAYSON             GA   30017‐0010
JENNINGS, LILLIE P        127 ROSE AVE                                                                                      SYRACUSE            NY   13202‐3944
JENNINGS, LINDA L         14004 POPLAR AVE                                                                                  GRANT               MI   49327‐9352
JENNINGS, LINDA M         1759 SHARON HOGUE RD                                                                              MASURY              OH   44438‐9785
JENNINGS, LINDA P         3618 CUMMINGS RD                                                                                  CLEVELAND HEIGHTS   OH   44118‐2627

JENNINGS, LITTLE T        138 IDYLWILD NE                                                                                   WARREN              OH   44483‐1318
JENNINGS, LITTLE T        138 IDYLWILD ST NE                                                                                WARREN              OH   44483‐3430
JENNINGS, LOLA D          P.O. 680781                                                                                       FORT PAYNE          AL   35968‐1620
JENNINGS, LORI L          2529 TIMBER HILL DR                                                                               ANN ARBOR           MI   48103‐2180
JENNINGS, LORI LYNN       2529 TIMBER HILL DR                                                                               ANN ARBOR           MI   48103‐2180
JENNINGS, LUCILLE J       8950 CAMPBELL CREEK DR                                                                            COMMERCE            MI   48390‐1704
                                                                                                                            TOWNSHIP
JENNINGS, M C             26411 EMERALD DOVE DR                                                                             VALENCIA            CA   91355‐3533
JENNINGS, MABLE L         2600 IDLEWOOD RD                 FIRST FLOOR                                                      CLEVELAND HEIGHTS   OH   44118

JENNINGS, MARGARET A      1748 PAPAYA DR. N.                                                                                ORANGE PARK         FL   32073‐2764
JENNINGS, MARGARET A      1748 PAPAYA DR N                                                                                  ORANGE PARK         FL   32073‐2764
JENNINGS, MARGARET J      1406 25TH AVENUE DR W                                                                             BRADENTON           FL   34205‐6450
JENNINGS, MARGARET J      1406 25TH AVE DR W                                                                                BRANDETON           FL   34205‐6450
JENNINGS, MARGUERITE C    3309 NEVADA DR                                                                                    ANDERSON            IN   46012‐5520
JENNINGS, MARILYN F       300 7TH ST                                                                                        PORT CLINTON        OH   43452‐2436
JENNINGS, MARILYN F       300 E 7TH ST                                                                                      PORT CLINTON        OH   43452‐2436
JENNINGS, MARILYN L       9082 N RAIDER RD                                                                                  MIDDLETOWN          IN   47356‐9327
JENNINGS, MARK A          1177 CAVENDISH DR                                                                                 CARMEL              IN   46032‐4649
JENNINGS, MARTHA Y        2965 COUNTY RD 1527                                                                               CULLMAN             AL   35058‐4311
JENNINGS, MARVIN          321 COUNTY ROAD 3673                                                                              PARADISE            TX   76073‐4504
JENNINGS, MARVIN L        5428 MOUNT MARIA RD                                                                               HUBBARD LAKE        MI   49747‐9408
JENNINGS, MARY            5724 NW 45TH ST                                                                                   WARR ACRES          OK   73122‐4204
JENNINGS, MARY S          144 CLARKSVILLE ST                                                                                GREENVILLE          PA   16125‐2366
JENNINGS, MATTHEW CHASE
JENNINGS, MAY A           225 AVENIDA DELA ISLE                                                                             NOKOMIS             FL   34275
JENNINGS, MAY A           225 AVENIDA DE LA ISLA                                                                            NOKOMIS             FL   34275‐2013
JENNINGS, MICHAEL         ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                              NEW YORK            NY   10006‐1638
JENNINGS, MICHAEL         2928 AVALON AVE NE                                                                                CANTON              OH   44705‐4156
JENNINGS, MICHAEL A       2372 BROCKTON WAY                                                                                 HENDERSON           NV   89074‐5455
JENNINGS, MICHAEL A       1115 S FIELDVIEW LOOP                                                                             LECANTO             FL   34461‐8380
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Name                    Address1                              Address2                       Address3   Address4               City               State   Zip
JENNINGS, MICHAEL D     487 PETERMAN RD                                                                                        GREENWOOD           IN     46142
JENNINGS, MICHAEL E     1833 MONET DR                                                                                          FORT WAYNE          IN     46845‐9542
JENNINGS, MICHAEL J     700 KRISTEN CT                                                                                         SANTA BARBARA       CA     93111‐1515
JENNINGS, MICHAEL P     2380 BEVIN CT                                                                                          COMMERCE            MI     48382‐2067
                                                                                                                               TOWNSHIP
JENNINGS, MICHAEL R     452 N KING ST                                                                                          XENIA              OH      45385‐2208
JENNINGS, MICHAEL W     5574 NEW BURLINGTON RD.                                                                                WILMINGTON         OH      45177‐9031
JENNINGS, MICHAEL W     427 WALLACE AVE                                                                                        INDIANAPOLIS       IN      46201‐3725
JENNINGS, MICHAELLE     5237 N 100 W                                                                                           ANDERSON           IN      46011‐9285
JENNINGS, MIGNON M      12609 ASBURY PARK                                                                                      DETROIT            MI      48227‐1204
JENNINGS, MORRIS C      32 MONROE PL                          FELLOWSHIP HOUSE                                                 BLOOMFIELD         NJ      07003‐3510
JENNINGS, MORRIS E      653 CANDLEWOOD DR                                                                                      MARION             IN      46952‐1911
JENNINGS, NICK J        4251 N 100 E                                                                                           HARTFORD CITY      IN      47348‐9208
JENNINGS, NICK JOE      4251 N 100 E                                                                                           HARTFORD CITY      IN      47348‐9208
JENNINGS, NORMA H       55 DIANA BLVD                                                                                          MERRITT ISLAND     FL      32953‐3111
JENNINGS, NORMAN F      6129 SEBRING DR                                                                                        COLUMBIA           MD      21044‐3923
JENNINGS, NORMAN F      3983 TYRELL RD                                                                                         OWOSSO             MI      48867‐9281
JENNINGS, O C           GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                     PITTSBURGH         PA      15219

JENNINGS, PARK I        3495 MOCKINGBIRD DR                                                                                    LAKE HAVASU CITY   AZ      86406‐5751
JENNINGS, PATRICIA A    4060 NA AH TEE TRL                                                                                     SNELLVILLE         GA      30039‐8001
JENNINGS, PATRICIA A    2823 NORTHWEST BLVD NW                                                                                 WARREN             OH      44485‐2233
JENNINGS, PATRICIA M    1811 HAMLET PL S                                                                                       BEL AIR            MD      21015‐1544
JENNINGS, PATSY I       7009 STARSHINE ST NE                                                                                   ALBUQUERQUE        NM      87111‐7534
JENNINGS, PAUL          1859 S CT RD 450 EAST                                                                                  AVON               IN      46123
JENNINGS, PAUL B        3113 SW ROBERTS DR                                                                                     LEES SUMMIT        MO      64082‐4132
JENNINGS, PHILLIP       GUY WILLIAM S                         PO BOX 509                                                       MCCOMB             MS      39649‐0509
JENNINGS, QUANTECIA L   PO BOX 634                                                                                             GADSDEN            AL      35902‐0634
JENNINGS, RACINE T      4840 LA CHENE DR                                                                                       WARREN             MI      48092‐4936
JENNINGS, RALPH W       1812 GARDNER RD                                                                                        WESTCHESTER         IL     60154‐4400
JENNINGS, RANDEL C      GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA      23510
                                                              STREET, SUITE 600
JENNINGS, RAYMOND       805 HANCOCK RD                                                                                         WENTZVILLE         MO      63385‐3115
JENNINGS, RAYMOND C     ASHBERRY PARK LOT #95                                                                                  MOORESVILLE        IN      46158
JENNINGS, RAYMOND L     304 PLEASANT ROAD                                                                                      CONOWINGO          MD      21918
JENNINGS, RETHA S       8212 SAWGRASS TRL                                                                                      GRAND BLANC        MI      48439‐1874
JENNINGS, RHONDA        COWEN MICHAEL R                       520 E LEVEE ST                                                   BROWNSVILLE        TX      78520‐5343
JENNINGS, RHONDA        GOFF AND GOFF                         PO BOX 2050                                                      RUSTON             LA      71273‐2050
JENNINGS, RICHARD       409 GRANT ST                                                                                           CHENOA             IL      61726‐1414
JENNINGS, RICHARD A     6247 MCCANDLISH RD                                                                                     GRAND BLANC        MI      48439‐9555
JENNINGS, RICHARD E     520 AMENT ST                                                                                           OWOSSO             MI      48867
JENNINGS, RICK A        1910 SOUTHWEST TANGLEWOOD CT                                                                           ANKENY             IA      50023‐5431
JENNINGS, ROBERT D      4125 N TIPSICO LAKE RD                                                                                 HARTLAND           MI      48353‐1722
JENNINGS, ROBERT E      150 MARANATHA TRL                                                                                      LAWRENCEVILLE      GA      30045‐6316
JENNINGS, ROBERT E      3647 CASCADE DR                                                                                        YOUNGSTOWN         OH      44511‐3050
JENNINGS, ROBERT E      3412 LENOX AVE                                                                                         YOUNGSTOWN         OH      44502
JENNINGS, ROBERT L      212 MAPLEWOOD DR                      PO BOX 372                                                       OTISVILLE          MI      48463‐7716
JENNINGS, ROBERT N      2571 BOWMAN RD                                                                                         IMLAY CITY         MI      48444‐9613
JENNINGS, ROBERT W      317 DIVISION ST                                                                                        MORENCI            MI      49256‐1506
JENNINGS, ROBERT W      820 SHALLCROSS LAKE RD                                                                                 MIDDLETOWN         DE      19709‐9439
JENNINGS, ROBERT W      4224 KNOLLCROFT RD                                                                                     TROTWOOD           OH      45426‐1932
JENNINGS, ROCKY D       8530 GEYERS CHAPEL RD                                                                                  CRESTON            OH      44217‐9495
JENNINGS, RODNEY D      728 MULBERRY LN                                                                                        DESOTO             TX      75115‐1425
JENNINGS, ROGER D       6156 GLENWOOD CIR                                                                                      PORTAGE            MI      49024‐2329
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Name                      Address1                         Address2                      Address3   Address4               City               State   Zip
JENNINGS, ROGER E         5830 HERBERT RD                                                                                  CANFIELD            OH     44406‐9701
JENNINGS, ROGER R         1004 FOREST DR                                                                                   CROSSVILLE          TN     38555‐8814
JENNINGS, RON E           33855 RICHARD O DR                                                                               STERLING HEIGHTS    MI     48310‐6123
JENNINGS, RONALD W        7 ASHLEIGH DR                                                                                    MIDDLETOWN          DE     19709‐9593
JENNINGS, RUSSELL A       1904 CORDOVA ST.                                                                                 YOUNGSTOWN          OH     44504
JENNINGS, RUSSELL L       3806 POCOHONTAS TRAIL                                                                            HARRISON            MI     48625‐8419
JENNINGS, RUTH A          10994 HENDERSON RD                                                                               CORUNNA             MI     48817‐9792
JENNINGS, S C             2306 NEBRASKA AVE                                                                                FLINT               MI     48506‐4803
JENNINGS, SAMMIE C        6770 CROOKED CREEK DR                                                                            MARTINSVILLE        IN     46151‐7600
JENNINGS, SANDRA E        PO BOX 608                                                                                       MATLACHA            FL     33993‐0608
JENNINGS, SANDRA L        15900 ROAD 1037                                                                                  OAKWOOD             OH     45873‐9067
JENNINGS, SANDRA V        3544 EVERGREEN AVE SE                                                                            WARREN              OH     44484‐3416
JENNINGS, SARAH W         4431 N. WHELLING AVE.                                                                            MUNCIE              IN     47304‐1210
JENNINGS, SARAH W         4431 N WHEELING AVE                                                                              MUNCIE              IN     47304‐1210
JENNINGS, SHARON D        354 LINDA VISTA DR                                                                               PONTIAC             MI     48342‐1740
JENNINGS, SHARON DENISE   354 LINDA VISTA DR                                                                               PONTIAC             MI     48342‐1740
JENNINGS, SHARON S        2909 BRIDGESTONE CIR                                                                             KOKOMO              IN     46902‐7011
JENNINGS, SHEILA K        5751 BAYBERRY FARMS DR SW                                                                        WYOMING             MI     49418‐9374
JENNINGS, STACEY L        4142 WOODCLIFFE AVE                                                                              DAYTON              OH     45420‐2851
JENNINGS, STANLEY F       1811 HAMLET PL S                                                                                 BEL AIR             MD     21015‐1544
JENNINGS, STEVE A         979 MILL CREEK RUN                                                                               SUWANEE             GA     30024‐2103
JENNINGS, SUSAN L         1510 HABERSHAM PL                                                                                CUMMING             GA     30041‐8056
JENNINGS, SYLVIA D        702 FLORENCE                                                                                     KALAMAZOO           MI     49007‐2499
JENNINGS, SYLVIA D        702 FLORENCE ST                                                                                  KALAMAZOO           MI     49007‐2499
JENNINGS, TAMARA A        3121 S OAK RD                                                                                    DAVISON             MI     48423‐9106
JENNINGS, TERRIE L        5226 WAYNE MADISON ROAD                                                                          TRENTON             OH     45067‐9718
JENNINGS, THERESA L       1608 SOUTHLAWN DR                                                                                FAIRBORN            OH     45324‐3938
JENNINGS, THOMAS D
JENNINGS, THOMAS D        243 VAN METER DR                                                                                 RHOME              TX      76078‐5271
JENNINGS, THOMAS E        1905 MISSION RIDGE RD                                                                            SANTA BARBARA      CA      93103‐1730
JENNINGS, THOMAS J        4279 SUGARCREEK DR                                                                               BELLBROOK          OH      45305‐1330
JENNINGS, THOMAS L        6271 SMITH RD                                                                                    LINDEN             MI      48451‐9406
JENNINGS, TIM             TRACY FIRM                       5473 BLAIR RD STE 200                                           DALLAS             TX      75231‐4168
JENNINGS, TOBY V          10111 FIRESTONE CT                                                                               LOUISVILLE         KY      40291‐4056
JENNINGS, TOM E           22505 W 53RD ST                                                                                  SHAWNEE            KS      66226‐2608
JENNINGS, TOMMIE L        2409 THATCHER ST                                                                                 SAGINAW            MI      48601‐3364
JENNINGS, TOMMY           3837 PROVIDENCE ST                                                                               FLINT              MI      48503‐4503
JENNINGS, VANCE W         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA      23510
                                                           STREET, SUITE 600
JENNINGS, VERNON K        2641 TANGLEWOOD ST                                                                               WOOSTER            OH      44691‐1826
JENNINGS, VICKIE
JENNINGS, VIRGINIA D.     8842 S WATSON RUN RD                                                                             MEADVILLE          PA      16335‐7256
JENNINGS, VIRGINIA L      343 KIRK LANE DR                                                                                 TROY               MI      48084‐1763
JENNINGS, WALTER V        2 THURSTON AVE                                                                                   EWING              NJ      08618‐1710
JENNINGS, WILLIAM         127 ELLICOTT ST                                                                                  ROCHESTER          NY      14619‐2045
JENNINGS, WILLIAM C       4169 SILVER LAKE RD                                                                              LINDEN             MI      48451‐9017
JENNINGS, WILLIAM C       3769 MCKELLAR RD                                                                                 ROSE CITY          MI      48654‐9764
JENNINGS, WILLIAM G       4119 NEW RD                                                                                      AUSTINTOWN         OH      44515‐4630
JENNINGS, WILLIAM H       3400 E STATE CAMP RD                                                                             COLUMBIA CITY      IN      46725‐9340
JENNINGS, WILLIAM H       1118 CANOPY TRAIL                                                                                WEBSTER            NY      14580‐8579
JENNINGS, WILLIAM J       8492 N BRAY RD                                                                                   MOUNT MORRIS       MI      48458‐8987
JENNINGS, WILLIAM R       16845 LAUDER ST                                                                                  DETROIT            MI      48235‐4037
JENNINGS, WILLIAM R       11936 DAVISBURG RD                                                                               DAVISBURG          MI      48350‐2632
JENNINGS, WILLIE C        261 FRIENDS RD                                                                                   NOTTINGHAM         PA      19362‐9022
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Name                               Address1                        Address2                Address3     Address4                 City               State   Zip
JENNINGS, WILLIE E                 PO BOX 4055                                                                                   KANSAS CITY         KS     66104‐0055
JENNINGS, WILLIE H                 4151 COVETREE LN                                                                              BATAVIA             OH     45103‐2694
JENNINGS, WILLIE L                 1009 W 79TH ST                                                                                INDIANAPOLIS        IN     46260
JENNINGS, WINFRED A                4380 LETA PL                                                                                  SAGINAW             MI     48603‐1216
JENNINGS,THERESA L                 1608 SOUTHLAWN DR                                                                             FAIRBORN            OH     45324‐3938
JENNINGS‐DAVIS, CARRIE A           16140 PARK LAKE RD                                                                            EAST LANSING        MI     48823‐9480
JENNINGS‐DAVIS, CARRIE ANN         16140 PARK LAKE RD                                                                            EAST LANSING        MI     48823‐9480
JENNISON PRECISION MACHINE INC     54 ARCH STREET EXTENSION                                                                      CARNEGIE            PA     15106
JENNISON WRIGHT CO                 PO BOX 110591                                                                                 CLEVELAND           OH     44111‐0591
JENNISON, FREEMAN K                9996 HAMILTON ST                                                                              BELLEVILLE          MI     48111‐4326
JENNISON, FREEMAN KEITH            9996 HAMILTON ST                                                                              BELLEVILLE          MI     48111‐4326
JENNISON, MARGARET R               10243 HART BRANCH CIR                                                                         ORLANDO             FL     32832‐5913
JENNISON, MARY THERESA             9996 HAMILTON                                                                                 BELLEVILLE          MI     48111
JENNISON, YOLANDA G                4500 DOBRY DR APT 161                                                                         STERLING HEIGHTS    MI     48314‐1241
JENNISTINE FIELDS                  640 EUGENE ST                                                                                 YPSILANTI           MI     48198‐8034
JENNISTINE M FIELDS                640 EUGENE ST                                                                                 YPSILANTI           MI     48198‐8034
JENNITE CO                         4694 W BANCROFT ST                                                                            TOLEDO              OH     43615‐3946
JENNITE COMPANY                    4694 W BANCROFT ST                                                                            TOLEDO              OH     43615‐3946
JENNOVIAH L INGRAM                 PO BOX 320372                                                                                 FLINT               MI     48532‐0007
JENNY
JENNY A SMITH                      386 OREGON ST                                                                                 YPSILANTI           MI     48198‐7823
JENNY ADAMS                        PO BOX 495                                                                                    FRANKTON            IN     46044‐0495
JENNY ANDERSON                     129 EAST THIRD STREET           APT#2                                                         NEW CASTLE          DE     19720
JENNY ANDERSON                     18 SANDLEWOOD DR APT 5                                                                        NEWARK              DE     19713
JENNY CAPRIO                       34 CLOVER AVE                                                                                 COLONIA             NJ     07067‐2007
JENNY CHUNG IRA ROLLOVER           JENNY CHUNG                     2420 ABADEJO                                                  LA VERNE            CA     91750
JENNY CIOCHETTI (ATHLETE)          7130 ELLERSLIE RD SW                                                 EDMONTON AB T6X 1A3
                                                                                                        CANADA
JENNY DAVIS                        5134 GLEN COVE LN                                                                             FLINT               MI     48507‐4519
JENNY DELEON                       214 CAMBREY ST                                                                                SAGINAW             MI     48601‐4803
JENNY DIPIRRO                      457 HARVARD DR                                                                                ROMEO               MI     48065‐4830
JENNY ESPINOZA                     387 TROPICANA WAY                                                                             UNION CITY          CA     94587‐4121
JENNY FOGO                         5625 36TH CT E UNIT 103                                                                       ELLENTON            FL     34222‐8301
JENNY FRANKLIN                     3547 CHARLESTON ST                                                                            HOUSTON             TX     77021
JENNY GIELCZYK                     3416 OSLER AVE                                                                                SAGINAW             MI     48602‐3217
JENNY GREENBERG REV LIVING TRUST   JENNY GREENBERG                 5598 WHITNEY DR #302B                                         DELRAY BEACH        FL     33484
JENNY HAACK                        SCHLIEMANNSTR 25A                                                    10437 BERLIN / GERMANY
JENNY HELMUTH                      297 RAINBOW DR                                                                                KOKOMO             IN      46902‐3797
JENNY J CAMPBELL                   2140 NOMAD AVE                                                                                DAYTON             OH      45414
JENNY JALILUL                      2249 SAINT PAUL ST                                                                            INDIANAPOLIS       IN      46203‐4560
JENNY KIMMEL                       1130 DRURY LN                                                                                 FLUSHING           MI      48433‐1422
JENNY KIZER                        32 FAY ST                                                                                     CLARKSTON          MI      48346‐4114
JENNY L BUSH                       103 WEST HICKMAN STREET                                                                       WINCHESTER         KY      40391‐1833
JENNY L HALE                       406 N. BARRON                                                                                 EATON              OH      45320‐1708
JENNY L MARTIN                     114 E 5TH ST                                                                                  TILTON             IL      61833‐7423
JENNY L PAINTER                    1836 MALVERN RD SW                                                                            ROANOKE            VA      24015
JENNY L WELBAUM                    650 N DOWNING APT F                                                                           PIQUA              OH      45356‐2004
JENNY LASSI
JENNY LUSSA                        1779 BRIDGE ST                                                                                RAHWAY             NJ      07065‐4538
JENNY MACHAK                       133 BURNIAH LN                                                                                LAKE ORION         MI      48362‐2060
JENNY MASTERS                      21624 NE 172ND ST                                                                             HOLT               MO      64048‐8735
JENNY MAZZELLA                     12015 HARTEL ST                                                                               LIVONIA            MI      48150‐2331
JENNY MIAZGA                       1910 RAYMOND AVE. #1                                                                          DEARBORN           MI      48124
JENNY MILLNIK                      34 GOLD ST                                                                                    EDISON             NJ      08837‐3210
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Name                          Address1                         Address2                Address3   Address4                  City              State   Zip
JENNY MORRIS                  7730 E ST RD 124 LT 1                                                                         LA FONTAINE        IN     46940
JENNY MORRIS                  8600 LAKE COUNTRY DR                                                                          FORT WORTH         TX     76179‐3111
JENNY N MASTERS               21624 NE 172ND ST                                                                             HOLT               MO     64048‐8735
JENNY PHILLIPS                1404 E PARISH RD RT 2                                                                         KAWKAWLIN          MI     48631
JENNY R SUNDERMEYER           2951 LOFFER CT                                                                                DAYTON             OH     45449‐3621
JENNY S BASQUEZ               2212 CULVER AVE.                                                                              KETTERING          OH     45420‐1328
JENNY SALSINI                 4353 BLOOD RD                                                                                 METAMORA           MI     48455‐9243
JENNY SANCHEZ                 3405 OAK STREET EXT                                                                           YOUNGSTOWN         OH     44505‐‐ 46
JENNY SHIMKO                  335 DAKOTA AVE                                                                                MC DONALD          OH     44437‐1512
JENNY SIGAN                   9660 NW 21ST MNR                                                                              SUNRISE            FL     33322‐3621
JENNY SLAUGHTER               4121 CASTELL DR                                                                               FORT WAYNE         IN     46835‐2100
JENNY STAMPFLI                6740 WILLOW CREEK DR                                                                          HUBER HEIGHTS      OH     45424‐2469
JENNY TENNEY                  315 CULP DR                                                                                   EAST LEROY         MI     49051‐7702
JENNY TYLAWSKY                22291 WESTCHESTER BLVD APT 205   ORANGEWOOD CONDOS                                            PORT CHARLOTTE     FL     33952‐9243
JENNY VALCARCE                102 WIRTH AVE                                                                                 SLEEPY HOLLOW      NY     10591‐1932
JENNY WANG                    3463 GREENSPRING LN                                                                           ROCHESTER HILLS    MI     48309‐2733
JENNY ZHANG                   1159 CLOPTON BRIDGE DR                                                                        ROCHESTER HILLS    MI     48306‐3915
JENNY ZHAO                    22517 KENSINGTON                                                                              NOVI               MI     48374‐3524
JENNY ZILEMPE                 2908 COUNTYLINE RD                                                                            MIDDLEPORT         NY     14105‐9772
JENNY, DOUGLAS A              PO BOX 112                                                                                    SUMMITVILLE        IN     46070‐0112
JENNY, DOUGLAS ARTHUR         PO BOX 112                                                                                    SUMMITVILLE        IN     46070‐0112
JENO, JOHN T                  32012 MARK A. LANG                                                                            WARREN             MI     48093
JENO, MICHAEL J               37326 GREGORY DR                                                                              STERLING HTS       MI     48312‐1922
JENOPTIK AG                   1505 W HAMLIN RD                                                                              ROCHESTER HILLS    MI     48309‐3366
JENOPTIK LASER TECHNOLOGIES   8020 KENSINGTON CT                                                                            BRIGHTON           MI     48116‐8520
JENORAS BEASLEY               229 SYCAMORE ST                                                                               BUFFALO            NY     14204‐1535
JENOSKY, CLAUDIA M            6652 DEER RIDGE DR                                                                            CLARKSTON          MI     48348‐2808
JENOVESE, BRENDA S            6268 EDWARD ST                                                                                DORAVILLE          GA     30340‐1623
JENOVESE, RICHARD W           6268 EDWARD ST                                                                                DORAVILLE          GA     30340‐1623
JENOVEVA PEREZ                83 S BASSETT RD                                                                               LAPEER             MI     48446‐2833
JENQUIN, ROBERT J             739 CATHEDRAL POINTE LN                                                                       SANTA BARBARA      CA     93111‐1473
JENRETTE, CHARLES O           PO BOX 9022                      C/O SHANGHAI                                                 WARREN             MI     48090‐9022
JENRETTE, LEON                PO BOX 56                                                                                     SHALLOTTE          NC     28459‐0056
JENRICH, DALE R               3169 S 24TH ST                                                                                MILWAUKEE          WI     53215‐4412
JENRICH, JOSEPH               CONSUMER LEGAL SERVICES          30928 FORD RD                                                GARDEN CITY        MI     48135‐1803
JENROW, RAYMOND A             216 MCCONNELL ST BOX 53                                                                       GAINES             MI     48436
JENS & URSULA KIRKERUP        MR JENS KIRKERUP                 ALTE LANDSTRASSE 131               D 22339 HAMBURG GERMANY

JENS FISCHER                  MARGERITENSTRA▀E 8                                                  D‐83052 BRUCKMUHL
                                                                                                  GERMANY
JENS HARMSTORF                GREIFSTR. 26 D                   86399 BOBINGEN          GERMANY
JENS HEIM                     BIRKENWEG 14/2                                                      71717 BEILSTEIN GERMANY
JENS HEINKE                   GUTENBERGSTRA▀E
JENS KRISCHE                  E.‐TH─LMANN‐STR.16               02708 GRO▀SCHWEIDNITZ
JENS MANNICHE                 9A SOFIEVEJ                      2900                    HELLERUP
JENS MUSTER                   TESTSTR.3                                                                                     DUDERSTADT                37115
JENS PEILL
JENS PIEPER‐KREIMER           LUTUM 14A                        48727 BILLERBECK
JENS RUTENKROEGER             SUDETENSTR. 75                   D‐85521 OTTOBRUNN
JENS RUTENKR╓GER              SUDETENSTR. 75                   D‐85521 OTTOBRUNN
JENS SCHARLACH                JENS SCHARLACH (GERMANY)         AN DER HOHLE 3                     D‐04654 FROHBURG
                                                                                                  GERMANY
JENS SCHMIDT                  ZUM SIEKBERG 23                                                     38446 WOLFSBURG GERMANY
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JENS SCHMIDT                            ZUM SIEHBERG 23                      WOLFSBURG
JENS SCHMIDT                            ZUM SIEKBERG 23                      38446 WOLFSBURG
JENS SCHOEFFEL                          HINDENBURGSTR. 53                                                                                 55118 MAINZ GERMANY
JENS UWE KLIEMANN                       SUDHOHE 11                                                                                        01217 DRESDEN GERMANY
JENS WEBER                              KOENIGSWINTERER STR 583A                                                                          D‐53227 BONN GERMANY
JENS WINGENFELD                         HARBACHER WEG 32                                                                                                           KUENZELL              36093
JENS‐UWE WEGGAESSER                     BAUMHASELRING 104                    D‐14469 POTSDAM                                                                       POTSDAM          DE   14469
JENS‐UWE WEGGAESSER                     BAUMHASELRING 104                                                                                 14469 POTSDAM, GERMANY
JENS‐UWE WEGG─SSER                      BAUMHASELRING
JENSBY, HARRY C                         150 WOODBERRY CT                                                                                                           ATHENS          GA    30605‐4342
JENSBY, THOMAS M                        813 TRADONNA LN                                                                                                            HURST           TX    76054‐2057
JENSEN AUTOCENTER LLC                   604 E OSKALOOSA ST                                                                                                         PELLA           IA    50219‐2238
JENSEN BAIRD GARDNER & HENRY            10 FREE ST                                                                                                                 PORTLAND        ME    04101‐3926
JENSEN BRADLEY                          29431 WOODLAND HILLS DRIVE                                                                                                 DALLAS CENTER   IA    50063‐8399
JENSEN C GREG                           498 E 2600 N                                                                                                               PROVO           UT    84604‐5968
JENSEN CHARLES W (481814)               GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                           NORFOLK         VA    23510
                                                                             STREET, SUITE 600
JENSEN CORPORATION                      QUANG TRINH                          10950 NORTH BLANEY AVE.                                                               SAN JOSE        CA
JENSEN CRAIG                            1019 ILIPILO ST                                                                                                            KAILUA          HI    96734‐1867
JENSEN DARLENE                          1020 MAPLE ST                                                                                                              GREENWOOD       IN    46142‐3827
JENSEN DARREN                           14029 KAYAK POINT RD                                                                                                       STANWOOD        WA    98292‐5331
JENSEN DENNIS                           4313 N KOSTNER AVE                                                                                                         CHICAGO         IL    60641‐2013
JENSEN DENNIS                           5154 AUSTIN LN NW                                                                                                          STRASBURG       OH    44680‐9109
JENSEN FAMILY REV TRUST                 C/O ROBERT & LINDA JENSEN TRUSTEES   610 N MAIN                                                                            LINDSBORG       KS    67456

JENSEN FERDINAND (488482)               BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                                         NORTHFIELD      OH    44067
                                                                             PROFESSIONAL BLDG
JENSEN FREDERICK                        JENSEN, FREDERICK                    MILLER LAW FIRM PC               950 WEST UNIVERSITY DRIVE                            ROCHESTER        MI   48307
                                                                                                              SUITE 300
JENSEN FREDERICK                        JENSEN, KAI                          MILLER LAW FIRM PC               950 WEST UNIVERSITY DRIVE                            ROCHESTER        MI   48307
                                                                                                              SUITE 300
JENSEN FREDERICK (ESTATE OF) (495045)   SIMMONS FIRM                         PO BOX 521                                                                            EAST ALTON       IL   62024‐0519

JENSEN FREDERICK K                      1401 GRONDINWOOD LN                                                                                                        MILFORD          MI   48380
JENSEN GARY                             484 BOURNEMOUTH CIR                                                                                                        GROSSE POINTE    MI   48236‐2816
                                                                                                                                                                   FARMS
JENSEN JAMES                            11899 FLOTILLA PLACE                                                                                                       BOCA RATON      FL    33428‐5613
JENSEN JON                              201 PLEASANT ST                                                                                                            NORWELL         MA    02061‐2519
JENSEN JR, HAROLD W                     APT 106                              5201 WOODHAVEN COURT                                                                  FLINT           MI    48532‐4171
JENSEN KRISTI                           947 EAST LIBERTY LANE                                                                                                      GILBERT         AZ    85296‐9782
JENSEN LEE                              10419 CLEARY LN                                                                                                            BOWIE           MD    20721‐2869
JENSEN MARTHA J                         8825 IROQUOIS RD                                                                                                           SAINT HELEN     MI    48656‐9746
JENSEN MOTORS, INC.                     RICKY JENSEN                         2525 S BROADWAY ST                                                                    NEW ULM         MN    56073‐3980
JENSEN MOTORS, INC.                     2525 S BROADWAY ST                                                                                                         NEW ULM         MN    56073‐3980
JENSEN PAUL                             2495 SPRINGS DR                                                                                                            SAINT GEORGE    UT    84790‐6111
JENSEN RICHARD I (661932)               SIEBEN POLK LAVERDIERE & DUSICH      999 WESTVIEW DR                                                                       HASTINGS        MN    55033‐2432
JENSEN ROBERT DEGGELLER (429184)        GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                           NORFOLK         VA    23510
                                                                             STREET, SUITE 600
JENSEN ROGER                            1745 ESTATES TRL                                                                                                           BURNSVILLE      MN    55306
JENSEN ROSS                             JENSEN, ROSS                         3020 SUMMIT DRIVE                                                                     POCATELLO       ID    83201‐8006
JENSEN SHERRY                           JENSEN, JAMES                        2299 MIAMISBURG CENTERVILLE RD                                                        DAYTON          OH    45459‐3816
JENSEN SHERRY                           JENSEN, SHERRY                       2299 MIAMISBURG CENTERVILLE RD                                                        DAYTON          OH    45459‐3816
JENSEN THOMAS & TRACY                   W135S6596 CONRAD CT                                                                                                        MUSKEGO         WI    53150‐2802
JENSEN TIRE STORE #15                   5405 S 144TH ST                                                                                                            OMAHA           NE    68137‐2690
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Name                          Address1                        Address2                      Address3                  Address4               City              State Zip
JENSEN TRUCKING CO INC        205 W 4TH ST                                                                                                   GOTHENBURG         NE 69138‐2114
JENSEN VANESSA G.             JENSEN, VANESSA                 BRIDGES YOUNG MATTHEWS &      315 EAST 8TH AVENUE (PO                          PINE BLUFF         AR 71611
                                                              DRAKE PLC                     BOX 7808)
JENSEN VANESSA G.             NO ADVERSE PARTY
JENSEN'S, INC.                LARRY JENSEN                    218 S MAIN ST                                                                  FAIRVIEW          OK   73737‐2024
JENSEN'S, INC.                218 S MAIN ST                                                                                                  FAIRVIEW          OK   73737‐2024
JENSEN, AGNES                 144 MCINTOSH AVENUE                                                                                            CLARENDON HILLS   IL   60514
JENSEN, ALETA                 4839 WORTH ST                                                                                                  MILLINGTON        MI   48746‐9503
JENSEN, ALISHA M              APT 906                         1451 ROCKY RIDGE DRIVE                                                         ROSEVILLE         CA   95661‐3006
JENSEN, ALLEN H               5187 MESA VERDE CT                                                                                             SPARKS            NV   89436‐4668
JENSEN, ANDREW R              10485 CRABB RD                                                                                                 TEMPERANCE        MI   48182‐9347
JENSEN, ANN L.                131 OBERLIN RD                                                                                                 OBERLIN           OH   44074‐1269
JENSEN, BARBARA A             1603 KUMMER CT                                                                                                 GENEVA            IL   60134‐2929
JENSEN, BETH                  418 N 1100 E APT E2                                                                                            LEHI              UT   84043‐1392
JENSEN, BETTY A               38 ROSE CIRCLE                                                                                                 HAMLIN            NY   14464‐9546
JENSEN, BEVERLY J             540 HASTINGS DR                                                                                                BENICIA           CA   94510‐1326
JENSEN, BONNIE L              5110 BERNYESSA ST                                                                                              OCEANSIDE         CA   92056‐2056
JENSEN, BRANDON               205 MAIN ST                                                                                                    MONROE CENTER     IL   61052‐9816
JENSEN, BRYAN P               783 GREENHOUSE DR                                                                                              KETTERING         OH   45419‐1113
JENSEN, CAROL                 7402 GERMANE TRL                                                                                               SAINT PAUL        MN   55124
JENSEN, CATHERINE H           903 S PROSPECT AVE                                                                                             ELMHURST          IL   60126‐4817
JENSEN, CAVEL J               3621 BARNES RD                                                                                                 MILLINGTON        MI   48746‐9031
JENSEN, CHARLES A             6825 EAGLEHAVEN LN                                                                                             OAK PARK          CA   91377‐3950
JENSEN, CHARLES E             15655 TRANQUIL DR                                                                                              MACOMB            MI   48042‐6158
JENSEN, CHARLES G             8428 MORGANTOWN RD                                                                                             INDIANAPOLIS      IN   46217‐5423
JENSEN, CHARLES L             7217 E MAPLE LN                                                                                                JANESVILLE        WI   53546‐8611
JENSEN, CHARLES R             1933 KRISTIN DR                                                                                                TROY              MI   48084‐1424
JENSEN, CHARLES T             3431 POPLAR LN                                                                                                 JANESVILLE        WI   53545‐8819
JENSEN, CHARLES W             4425 MALDEN LN APT B                                                                                           BEECH GROVE       IN   46107‐2918
JENSEN, CHARLES W             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                    NORFOLK           VA   23510‐2212
                                                              STREET, SUITE 600
JENSEN, CHERRYL L             22385 COUNTY ROAD 18                                                                                           GOSHEN            IN   46528‐8485
JENSEN, CHRISTOPHER B         6537 DURHAM DR                                                                                                 CANTON            MI   48187‐2811
JENSEN, CHRISTOPHER BERNARD   6537 DURHAM DR                                                                                                 CANTON            MI   48187‐2811
JENSEN, CLIFFORD R            7893 E GOODALL RD                                                                                              DURAND            MI   48429‐9780
JENSEN, COLLEEN               2500 RUSSWOOD DR                                                                                               FLOWER MOUND      TX   75028‐2347
JENSEN, CONRAD C              270 PAIGE LN                                                                                                   FORT VALLEY       VA   22652‐1743
JENSEN, CORNELIA L            7314 LOWELL WAY                                                                                                GOLETA            CA   93117‐2846
JENSEN, CRAIG A               403 GEORGE ST                                                                                                  FENTON            MI   48430‐2055
JENSEN, CRAIG S               3449 LOWER MOUNTAIN RD                                                                                         SANBORN           NY   14132‐9112
JENSEN, CYNTHIA L             625 N WRIGHT RD                                                                                                JANESVILLE        WI   53546‐1957
JENSEN, CYNTHIA L             6654 OAK ROAD                                                                                                  VASSAR            MI   48768‐9226
JENSEN, CYNTHIA L             6654 OAK RD                                                                                                    VASSAR            MI   48768‐9226
JENSEN, DALE M                4642 S CARVERS ROCK RD                                                                                         CLINTON           WI   53525‐8720
JENSEN, DALE W                9404 ARBOR CT                                                                                                  GOODRICH          MI   48438‐8714
JENSEN, DALE WILFORD          9404 ARBOR CT                                                                                                  GOODRICH          MI   48438‐8714
JENSEN, DARLENE A             15367 76TH AVE N                                                                                               MAPLE GROVE       MN   55311‐2623
JENSEN, DARWIN L              11570 LINCOLN LAKE RD P.O.247                                                                                  GREENVILLE        MI   48838
JENSEN, DARWIN L              5383 S MOHAVE SAGE DR                                                                                          GOLD CANYON       AZ   85118
JENSEN, DAVID O               112 TAYLOR LEIGH DR                                                                                            SOUTH MILLS       NC   27976‐9427
JENSEN, DAVID R               9284 SUE LN                                                                                                    SWARTZ CREEK      MI   48473‐8548
JENSEN, DAWN R                116 SOUTH TYLER STREET                                                                                         TYLER             MN   56178‐9482
JENSEN, DAWN W                2710 BINBROOKE DR                                                                                              TROY              MI   48084‐1057
JENSEN, DENNIS L              3185 WEST M80                                                                                                  KINROSS           MI   49752
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Name                   Address1                         Address2                      Address3   Address4               City               State Zip
JENSEN, DIANA          PO BOX 192                                                                                       LEWISTON            MI 49756
JENSEN, DIANA L        5150 SALERNO DR                                                                                  FLINT               MI 48507‐4024
JENSEN, DICK A         4707 LOWCROFT AVE                                                                                LANSING             MI 48910‐5328
JENSEN, DONALD C       1811 GRIDER POND RD                                                                              BOWLING GREEN       KY 42104‐4573
JENSEN, DONALD C       44 SUNSET VISTA WAY                                                                              MONTICELLO          KY 42633‐8091
JENSEN, DONALD L       552 S JACKSON ST                                                                                 JANESVILLE          WI 53548‐4723
JENSEN, DONALD M       5055 IVANREST AVE SW                                                                             WYOMING             MI 49418‐9323
JENSEN, DOROTHY L.     5324 SELMA DR                                                                                    TOLEDO              OH 43613‐2761
JENSEN, DOROTHY L.     5324 SELMA ST                                                                                    TOLEDO              OH 43613‐2761
JENSEN, EARLENE        4368 GREGORY ST                                                                                  CASTRO VALLEY       CA 94546‐3607
JENSEN, EDA‐MAE        1005 W MAPLE AVE                                                                                 NORFOLK             NE 68701‐3842
JENSEN, EDWARD J       9439 E MARK LN                                                                                   SCOTTSDALE          AZ 85262‐2338
JENSEN, EILEEN D       1007 WILCOX STREET                                                                               JOLIET               IL 60435‐4550
JENSEN, EILEEN D       1007 WILCOX ST                                                                                   JOLIET               IL 60435‐4550
JENSEN, EINAR C        1295 NAKOMIS TRL                                                                                 LAKE ORION          MI 48362‐1340
JENSEN, ELDON E        34606 DAYTON AVE                                                                                 GARDEN CITY         MO 64747‐9303
JENSEN, ELEANOR A      46 BIRCHWOOD DR APT L                                                                            BRISTOL             CT 06010‐2881
JENSEN, ELIZABETH C    PO BOX 245                                                                                       PENTWATER           MI 49449‐0245
JENSEN, ERIC D         10 NORTHGROVE                                                                                    IRVINE              CA 92604‐4613
JENSEN, ERIC L         800 BROOKWOOD DRIVE                                                                              TROY                OH 45373‐5303
JENSEN, ETHEL          3825 S 2ND ST                                                                                    ONAWAY              MI 49765‐8608
JENSEN, ETHEL          3825 SOUTH 2ND STREET                                                                            ONAWAY              MI 49765‐8608
JENSEN, EUGENE C       SCHULTE J BRYAN                  PO BOX 517                                                      BURLINGTON           IA 52601‐0517
JENSEN, F ARTHUR       413 STOWE ST                                                                                     HURON               OH 44839‐1523
JENSEN, FLEMING H      23108 DETOUR ST                                                                                  SAINT CLAIR SHORES MI 48082‐2027

JENSEN, FRANCIS M      19515 WHITMAN CT                                                                                 NORTHVILLE         MI   48167‐2509
JENSEN, FREDERICK      SIMMONS FIRM                     PO BOX 521                                                      EAST ALTON         IL   62024‐0519
JENSEN, FREDERICK      MILLER LAW FIRM PC               950 W UNIVERSITY DR STE 300                                     ROCHESTER          MI   48307‐1887
JENSEN, GARVIN R       4621 S LONG LAKE DR                                                                              PORTAGE            MI   49002‐6611
JENSEN, GARY A         5553 POWERS RD                                                                                   ORCHARD PARK       NY   14127‐3110
JENSEN, GARY ANTHONY   5553 POWERS RD                                                                                   ORCHARD PARK       NY   14127‐3110
JENSEN, GARY D         4216 MEADOW LARK DR                                                                              FLINT              MI   48532‐4341
JENSEN, GEORGE J       4389 CEDAR LAKE RD                                                                               TRAVERSE CITY      MI   49684‐8373
JENSEN, GEORGE M       602 TIMBERLINE DR                                                                                ROCHESTER HILLS    MI   48309‐1313
JENSEN, GILBERT L      10200 BERTRAND AVE                                                                               REED CITY          MI   49677‐8529
JENSEN, HAROLD         1 MAINE RD                                                                                       PLATTSBURGH        NY   12903‐4006
JENSEN, HAROLD D       54400 9 MILE RD                                                                                  NORTHVILLE         MI   48167‐9727
JENSEN, HARRIET A      856 MARKET ST S                                                                                  SHAKOPEE           MN   55379‐2549
JENSEN, HENNING L      2780 LOON LAKE RD                                                                                WIXOM              MI   48393‐1253
JENSEN, HUGH E         1017 MILANO CIR APT 201                                                                          BRANDON            FL   33511‐7176
JENSEN, IAN
JENSEN, JACK L         882 DEL SHER DR                                                                                  BRIGHTON           MI   48114‐8746
JENSEN, JAMES C        104 GARFIELD ST                                                                                  EDGERTON           WI   53534‐1716
JENSEN, JAMES D        2111 W HILLTOP LN                                                                                OAK CREEK          WI   53154‐3616
JENSEN, JAMES E        1713 RUSTIC LN                                                                                   KEEGO HARBOR       MI   48320‐1131
JENSEN, JAMES L        1103 BEATRICE ST                                                                                 FLUSHING           MI   48433‐1720
JENSEN, JAMES O        11899 FLOTILLA PL                                                                                BOCA RATON         FL   33428‐5613
JENSEN, JAMIE M        APT 802                          700 CHURCH STREET                                               NASHVILLE          TN   37203‐9602
JENSEN, JAMIE M        700 CHURCH ST APT 802                                                                            NASHVILLE          TN   37203
JENSEN, JANICE K       6023 IRONWOOD DRIVE                                                                              BILLINGS           MT   59106‐9685
JENSEN, JANICE M       29220 SCARBOROUGH DR                                                                             WARREN             MI   48088‐3780
JENSEN, JASON C        3336 S COUNTY ROAD H                                                                             ORFORDVILLE        WI   53576‐9439
JENSEN, JEAN B         5603 BAYLOR AVE.                                                                                 YOUNGSTOWN         OH   44515‐4105
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Name                     Address1                          Address2                      Address3   Address4               City              State   Zip
JENSEN, JEAN M           729 N RINGOLD ST                                                                                  JANESVILLE         WI     53545‐2558
JENSEN, JEFFERY A        3026 RAYWOOD ST                                                                                   FLINT              MI     48504‐1707
JENSEN, JEFFREY B        2730 N RIVER BLUFF DR                                                                             JANESVILLE         WI     53545‐0798
JENSEN, JEFFREY B        9715 SINCLAIR ST                                                                                  FORT WORTH         TX     76244‐5888
JENSEN, JEFFRY L         8373 S 300 W                                                                                      PENDLETON          IN     46064‐9579
JENSEN, JERROLD D        715 BURDICK ST                                                                                    MILTON             WI     53563‐1003
JENSEN, JERRY D          512 44TH STREET CT E                                                                              BRADENTON          FL     34208‐5866
JENSEN, JERRY E          PO BOX 2006                                                                                       OVERGAARD          AZ     85933‐2006
JENSEN, JERRY F          801 N LOARA ST APT 81                                                                             ANAHEIM            CA     92801‐4208
JENSEN, JOAN M           2928 FRANKLIN ST                                                                                  SAN FRANCISCO      CA     94123‐3110
JENSEN, JOANNE M         1103 BEATRICE ST                                                                                  FLUSHING           MI     48433
JENSEN, JOEL S           848 HUNTINGTON PLACE                                                                              LITTLETON          CO     80126‐4732
JENSEN, JOHN C           8029 W. HAYES STREET                                                                              WEST ALLIS         WI     53219
JENSEN, JOHN J           2927 TANGLEWOOD DR                                                                                WAYNE              MI     48184‐2816
JENSEN, JOHN M           8517 EAST BOWERS LAKE ROAD                                                                        MILTON             WI     53563‐9384
JENSEN, JOHN M           7214 N WYOMING AVE                                                                                KANSAS CITY        MO     64118‐8344
JENSEN, JOHN N           1510 CLARKSVILLE RD                                                                               PORTLAND           MI     48875‐9797
JENSEN, JOHN W           9644 REEDER PL                                                                                    OVERLAND PARK      KS     66214‐2265
JENSEN, JORDAN M         11129 N CHARLEY BLUFF RD                                                                          MILTON             WI     53563‐8948
JENSEN, JOYCE A          PO BOX 32                                                                                         LAKE ORION         MI     48361‐0032
JENSEN, JOYCE H          1055 NORTH BUCKMAN ST             APT 19                                                          SHEPHERDSVILLE     KY     40165‐0165
JENSEN, JOYCE H          1055 N BUCKMAN ST APT 19                                                                          SHEPHERDSVILLE     KY     40165‐7962
JENSEN, JULIAMAE         3383 FARMERS CREEK RD                                                                             METAMORA           MI     48455‐9791
JENSEN, JULIE            6889 WEST VERMONTVILLE HIGHWAY                                                                    VERMONTVILLE       MI     49096‐9546
JENSEN, JUNE I           5848 N WHIPPLE ST                                                                                 CHICAGO             IL    60659‐3709
JENSEN, KAI              MILLER LAW FIRM PC                950 W UNIVERSITY DR STE 300                                     ROCHESTER          MI     48307‐1887
JENSEN, KATHLEEN A       1016 W MURPHY LAKE RD                                                                             FOSTORIA           MI     48435‐9729
JENSEN, KATHLEEN M       5706 BROOK HOLLOW DR                                                                              HILLIARD           OH     43026‐8890
JENSEN, KATHLEEN M       1360 WOODBERRY PLACE                                                                              COLUMBUS           OH     43230‐8419
JENSEN, KENDRA A         1005 SHANNON CT                                                                                   JANESVILLE         WI     53546‐3742
JENSEN, KENNETH          610 MADISON ST                                                                                    PORT CLINTON       OH     43452‐2406
JENSEN, KENNETH H        1020 MAPLE ST                                                                                     GREENWOOD          IN     46142‐3827
JENSEN, KENNETH H        9950 SHERIDAN RD                                                                                  MILLINGTON         MI     48746‐9335
JENSEN, KENNETH N        230 WAVELAND RD                                                                                   JANESVILLE         WI     53548‐3259
JENSEN, L B
JENSEN, LANE E           3022 E CORAL RD                                                                                   EDMORE            MI      48829‐8316
JENSEN, LAWRENCE B       3955 NW 85TH TER APT A                                                                            KANSAS CITY       MO      64154‐3783
JENSEN, LAWRENCE BRUCE   975 COUNTY ROAD Y                                                                                 BRUSSELS          WI      54204‐9595
JENSEN, LEONARD H        15389 FISH LAKE RD                                                                                HOLLY             MI      48442‐8388
JENSEN, LINDA I          2017 DUNKELBERG RD                                                                                FORT WAYNE        IN      46819‐2124
JENSEN, LINDA I          163 RAINBOW DRIVE                                                                                 LIVINGSTON        TX      77399‐1063
JENSEN, LORI             233 BUTTERNUT CIR                                                                                 CARVER            MN      55315‐4500
JENSEN, LORRAINE A       PO BOX 1294                                                                                       NOBLESVILLE       IN      46061‐1294
JENSEN, LOUISE F         7198 BURNING BUSH LN                                                                              FLUSHING          MI      48433‐2292
JENSEN, LUCILLE E        1854 DEEP SPRINGS LANE                                                                            LINCOLN           CA      95648‐8785
JENSEN, MARIA E          602 TIMBERLINE DR                                                                                 ROCHESTER HILLS   MI      48309‐1313
JENSEN, MARK D           29742 WINTER DR                                                                                   GARDEN CITY       MI      48135‐2648
JENSEN, MARK R           3303 MILTON CT                                                                                    THOMPSONS         TN      37179‐5067
                                                                                                                           STATION
JENSEN, MARTHA J         8825 IROQUOIS RD                                                                                  SAINT HELEN        MI     48656‐9746
JENSEN, MARY A           1411 WISCONSIN AVE                                                                                RACINE             WI     53403‐1980
JENSEN, MARY L
JENSEN, MELINDA M        341 N GRENER AVE                                                                                  COLUMBUS          OH      43228‐1358
JENSEN, MICHAEL E        10051 NO 74 PLACE                                                                                 SCOTTSDALE        AZ      85258
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Name                       Address1                          Address2                      Address3        Address4               City               State   Zip
JENSEN, MICHAEL J          7850 N WOODARD LK R                                                                                    FENWICK             MI     48834
JENSEN, MICHAEL R          151 HELEN STREET                                                                                       MONTROSE            MI     48457‐9426
JENSEN, MICHAEL W          11308 W 121ST TER                                                                                      OVERLAND PARK       KS     66213‐1978
JENSEN, MILFORD R          2015 RAVINE ST                                                                                         JANESVILLE          WI     53548‐3451
JENSEN, MONIQUE J          1320 PONDVIEW CT                                                                                       SHAKOPEE            MN     55379‐3412
JENSEN, NADA M             9516 HAYES STREET                                                                                      OVERLAND PARK       KS     66212‐5029
JENSEN, NADA M             9516 HAYES ST                                                                                          OVERLAND PARK       KS     66212‐5029
JENSEN, NAOMA E            580 W CLARK ST APT A2                                                                                  POCATELLO           ID     83204‐3130
JENSEN, NORMA I            PO BOX 430417                                                                                          PONTIAC             MI     48343‐0417
JENSEN, NORMAN G INC       PO BOX                                                                                                 MINNEAPOLIS         MN     55486‐0001
JENSEN, PAMELA I           70 PARKWOOD LANE                                                                                       HILTON              NY     14468‐1325
JENSEN, PATRICIA T         1831 E ENROSE ST                                                                                       MESA                AZ     85203‐5822
JENSEN, PAUL D             1910 CARSON ST                                                                                         LANSING             MI     48911‐7117
JENSEN, PENNY S            3621 BARNES RD                                                                                         MILLINGTON          MI     48746‐9031
JENSEN, PETER L            15275 FISH LAKE RD                                                                                     HOLLY               MI     48442‐8365
JENSEN, PETER L            1005 SHANNON CT                                                                                        JANESVILLE          WI     53546‐3742
JENSEN, PHYLLIS M          5293 FEIGLE RD                                                                                         LOCKPORT            NY     14094‐9290
JENSEN, RANDALL L          6633 ROSEBUSH LN                                                                                       INDIANAPOLIS        IN     46237‐8404
JENSEN, RAY E              2169 DEVONPORT LOOP                                                                                    ROSEVILLE           CA     95747‐8785
JENSEN, RETA               APT 9                             421 GEORGE WAGNER DRIVE                                              EDGAR               WI     54426‐9045
JENSEN, REUBEN R           3609 CHINABERRY TER                                                                                    BOYNTON BEACH       FL     33436‐4528
JENSEN, RICHARD A          W8095 CREEK RD                                                                                         DELAVAN             WI     53115‐3123
JENSEN, RICHARD A          1913 CLEVELAND RD W                                                                                    HURON               OH     44839‐1208
JENSEN, RICHARD B          420 S WOODHAMS ST                                                                                      PLAINWELL           MI     49080‐1757
JENSEN, RICHARD H          1525 LIEF CT                                                                                           SIOUX CITY           IA    51104‐2877
JENSEN, RICHARD J          1619 MT. CARMA CHURCH RD.                                                                              SPARTA              TN     38583
JENSEN, ROBERT D           4044 OAK TREE CIR                                                                                      OAKLAND             MI     48306‐4656
                                                                                                                                  TOWNSHIP
JENSEN, ROBERT DEGGELLER   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                          NORFOLK             VA     23510
                                                             STREET, SUITE 600
JENSEN, ROBERT F           1210 WICKFORD PL                                                                                       HURON              OH      44839‐1467
JENSEN, ROBERT H           4265 PINE TREE TRL                                                                                     BLOOMFIELD HILLS   MI      48302‐1856
JENSEN, ROBERT L           1085 DESERT MARIGOLD CIR                                                                               BULLHEAD CITY      AZ      86429‐5897
JENSEN, ROBERT M           380 ROCKCASTLE RD                                                                                      CADIZ              KY      42211‐7422
JENSEN, ROBERT P           2211 PLEASANT VALLEY RD                                                                                NILES              OH      44446‐4418
JENSEN, ROBERT PAUL        2211 PLEASANT VALLEY RD                                                                                NILES              OH      44446‐4418
JENSEN, ROBERT S           11308 W 121ST TER                                                                                      OVERLAND PARK      KS      66213‐1978
JENSEN, ROBIN M            131 SYCAMORE RD                   P.O. BOX 281                                                         RIEGELSVILLE       PA      18077‐7006
JENSEN, RODNEY B           3768 HAVENS RD                                                                                         DRYDEN             MI      48428‐9704
JENSEN, RONALD J           C/O LINDA WATSON                  PROBATE COURT                 110 E MACK ST                          CORUNNA            MI      48817
JENSEN, ROSALYN            N. 350 CENTER ST.                                                                                      WISCONSIN DELLS    WI      53965‐9508
JENSEN, ROSALYN            N350 CENTER ST                                                                                         WISCONSIN DELLS    WI      53965‐9508
JENSEN, ROSS               3020 SUMMIT DR                                                                                         POCATELLO          ID      83201‐8006
JENSEN, RUTH A             182 S COUNTY ROAD 550 E APT 232                                                                        AVON               IN      46123‐7063
JENSEN, RUTH E             3908 RICHARD AVE                                                                                       GROVE CITY         OH      43123‐2848
JENSEN, SALLY A            20425 N 266TH AVE                                                                                      BUCKEYE            AZ      85396‐2266
JENSEN, SANDRA F           304 W LINCOLN AVE                                                                                      GARDNER            IL      60424‐7019
JENSEN, SARAH I            8316 THORNHAVEN CT                                                                                     NORTH RICHLAND     TX      76180‐1625
                                                                                                                                  HILLS
JENSEN, SEAN E             2555 RAMONA DR                                                                                         GERING             NE      69341‐1933
JENSEN, SEAN EARL          2555 RAMONA DR                                                                                         GERING             NE      69341‐1933
JENSEN, SHANDA L           7214 N WYOMING AVE                                                                                     KANSAS CITY        MO      31005‐5114
JENSEN, SHIRLEY A          4722 STATION RD                                                                                        DUNDEE             NY      14837‐9155
JENSEN, SHIRLEY J          PO BOX 123                                                                                             PHILLIPS           NE      68865‐0123
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Name                        Address1                           Address2                       Address3                Address4               City                 State   Zip
JENSEN, SHIRLEY M           17404 N 99TH AVE UNIT 328                                                                                        SUN CITY              AZ     85373‐2034
JENSEN, STEPHEN K           2651 SEARLES AVE.                  BDG.25                         APT. 1181                                      LAS VEGAS             NV     89101
JENSEN, STEVEN C            2316 PEPPERMILL CT                                                                                               HARTLAND              MI     48353‐3146
JENSEN, STEVEN F            8383 PARKSIDE DR                                                                                                 GRAND BLANC           MI     48439‐7436
JENSEN, STEVEN F            PO BOX 9022                        C/O SAN LUIS POTOSI                                                           WARREN                MI     48090‐9022
JENSEN, SUE C               1210 DONALD DR E                                                                                                 WYNNE                 AR     72396‐2471
JENSEN, TAMRA J             10485 CRABB RD                                                                                                   TEMPERANCE            MI     48182‐9347
JENSEN, TERRY P             321 N MAPLE ST                                                                                                   LA FARGE              WI     54639‐7921
JENSEN, TERRY W             4224 DIVINE HWY                                                                                                  LYONS                 MI     48851‐9675
JENSEN, THERESA J           8312 POTTER RD                                                                                                   FLUSHING              MI     48433‐9413
JENSEN, THOMAS A            25817 LILA CT                                                                                                    WARREN                MI     48091‐1369
JENSEN, THOMAS C            8735 MIDNIGHT PASS RD APT 405B                                                                                   SARASOTA              FL     34242‐2888
JENSEN, THOMAS P            156 S ROSLYN RD                                                                                                  WATERFORD             MI     48328‐3551
JENSEN, THURMAN E           3772 PERIMETER DR                                                                                                TRAVERSE CITY         MI     49684‐9181
JENSEN, TONY C              111 ROYAL PINE LN                                                                                                CICERO                IN     46034‐9691
JENSEN, TRENT M             490 VANHOY DR                                                                                                    GREENWOOD             IN     46142‐9064
JENSEN, TROY A              6668 W WOOD RIDGE DR                                                                                             JANESVILLE            WI     53548‐9311
JENSEN, VANESSA             BRIDGES YOUNG MATTHEWS & DRAKE PLC PO BOX 7808                    315 EAST 8TH AVENUE (                          PINE BLUFF            AR     71611‐7808

JENSEN, VERA B              9460 SOUTH 96TH STREET                                                                                           FRANKLIN             WI      53132‐9519
JENSEN, VIRGINIA LEE        1188 W REID RD                                                                                                   FLINT                MI      48507‐4670
JENSEN, WALTER M            4790 RAMSEY RD                                                                                                   OXFORD               MI      48371‐3906
JENSEN, WILLARD P           9222 HONEY CREEK DR                                                                                              SAN ANTONIO          TX      78230‐4062
JENSEN, WILLIAM D           3108 OGDEN DR                                                                                                    MIDDLETOWN           OH      45044‐7540
JENSEN, WILLIAM F           5150 SALERNO DR                                                                                                  FLINT                MI      48507‐4024
JENSEN, WILLIAM N           25 LAWN AVE                                                                                                      QUINCY               MA      02169‐7307
JENSEN, WILLIAM S           9408 E 17TH ST S                                                                                                 INDEPENDENCE         MO      64052‐1809
JENSEN, WILMA M             3393 MCKELVEY RD APT 339                                                                                         BRIDGETON            MO      63044‐2555
JENSEN, WILMA M             3393 MCKELVEY RD.                   APT# 339                                                                     BRIDGETON            MO      63044‐2555
JENSEN, YVONNE E            12673 VERGENNES ST                                                                                               LOWELL               MI      49331‐9162
JENSEN‐SORRELS, JANET       21907 BENJAMIN ST                                                                                                SAINT CLAIR SHORES   MI      48081‐2234

JENSEN/MORRA RECEIVERSHIP   PO BOX 206                                                                                                       NEW EGYPT             NJ     08533‐0206
JENSENIUS, MICHAEL N        3274 W BARNES LAKE RD                                                                                            COLUMBIAVILLE         MI     48421‐9364
JENSINE J MARSH             262 EAST VALLEY VIEW DR                                                                                          PRESTON               ID     83263
JENSO, JOHN F               207 DEERFIELD DR                                                                                                 NEW BERN              NC     28562‐9004
JENSON JAMES R (429185)     GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                  NORFOLK               VA     23510
                                                                STREET, SUITE 600
JENSON JR, ALFRED L         11723 E LYTLE RD                                                                                                 LENNON                MI     48449‐9517
JENSON JR, ALFRED LEE       11723 E LYTLE RD                                                                                                 LENNON                MI     48449‐9517
JENSON MOTOR CENTER         SCOTT JENSON                        495 SOSCOL AVE                                                               NAPA                  CA     94559‐4003
JENSON MOTOR CENTER         495 SOSCOL AVE                                                                                                   NAPA                  CA     94559‐4003
JENSON WILLIAM L (439181)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                  NORFOLK               VA     23510
                                                                STREET, SUITE 600
JENSON, ALFRED J            720 KNIGHT ST                                                                                                    MILFORD              MI      48381‐1114
JENSON, CHONG A             326 HATHAWAY ROAD                                                                                                W. JEFFERSON         OH      43162‐1039
JENSON, CHONG A             326 HATHAWAY RD                                                                                                  WEST JEFFERSON       OH      43162‐1039
JENSON, DOROTHY M           3948 N 7 MILE RD                                                                                                 LAKE CITY            MI      49651‐9297
JENSON, DOROTHY M           3948 N SEVEN MILE RD                                                                                             LAKE CITY            MI      49651‐9297
JENSON, FREDERICK           2969 GABRIEL DR                                                                                                  COMMERCE             MI      48382‐4491
                                                                                                                                             TOWNSHIP
JENSON, GARY L              9245 JORDAN DR                                                                                                   MENTOR               OH      44060
JENSON, JAMES R             GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                  NORFOLK              VA      23510‐2212
                                                                STREET, SUITE 600
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Name                     Address1                       Address2                      Address3   Address4               City               State   Zip
JENSON, JEROME M         204 GARRY DR                                                                                   WEST SENECA         NY     14224
JENSON, JOHN A           800 DEXTER DRIVE                                                                               LENNON              MI     48449‐9618
JENSON, JOYCE A          2229 VANCES MILL RD                                                                            FRANKLIN            KY     42134‐6693
JENSON, ROBERT E         1450 CANYON DR                                                                                 JANESVILLE          WI     53546‐1343
JENSON, ROBIN R          905 MACKINAW TRL                                                                               SAINT AUGUSTINE     FL     32092
JENSON, TODD W           2322 E PLEASANT RD                                                                             MILTON              WI     53563‐9421
JENSON, WILLIAM L        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                        STREET, SUITE 600
JENSRUD ROY O (358149)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510
                                                        STREET, SUITE 600
JENSRUD, ROY O           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                        STREET, SUITE 600
JENSSEN, RUDOLPH W       90 WINDING WAY                                                                                 YARDVILLE          NJ      08620‐2629
JENSVOLD, CORWIN D       2058 MAPLEGROVE AVE                                                                            DAYTON             OH      45414‐5414
JENT, ALLIE V            1244 CAMPBELL AVE                                                                              NEW CARLISLE       OH      45344‐2836
JENT, ARTHUR             2324 N 200 E                                                                                   ANDERSON           IN      46012‐9621
JENT, CREOLA B           1941 FINNEY RD                                                                                 GLASGOW            KY      42141‐7600
JENT, DALLAS R           6427 N 100 W                                                                                   ALEXANDRIA         IN      46001‐8222
JENT, ELBERT             2 CIRCLE DR APT 9                                                                              FLORENCE           KY      41042‐2451
JENT, HOWARD R           8622 LYTLE FERRY RD                                                                            WAYNESVILLE        OH      45068‐9487
JENT, JESSIE C           PO BOX 429                                                                                     ALEXANDRIA         IN      46001‐0429
JENT, LUTHER E           19045 E LOW PL                                                                                 AURORA             CO      80015‐3197
JENT, OLLIE              870 TAM O SHANTER WAY                                                                          MONROE             OH      45050‐1628
JENT, ROY                PO BOX 183                                                                                     LITTCARR           KY      41834‐0183
JENT, STANLEY H          766 KOOGLE RD                                                                                  MANSFIELD          OH      44903‐8710
JENTGENS, DENNIS L       330 BRIARWOOD TRL                                                                              WINTERVILLE        GA      30683‐2435
JENTIEN WEST             330 SPEZIA DR                                                                                  OXFORD             MI      48371‐4749
JENTZEN III, WILLIAM R   3495 LUCE RD                                                                                   FLUSHING           MI      48433‐2393
JENTZEN, CAROLYN E       2091 JANE LANE                                                                                 SOUTHSIDE          AL      35907
JENTZEN, GEORGE W        4452 LAMSON                                                                                    SAGINAW            MI      48601‐6775
JENTZEN, GEORGE W        4452 LAMSON ST                                                                                 SAGINAW            MI      48601‐6775
JENTZEN, MARLEN J        1876 PROSPECT ST                                                                               SAGINAW            MI      48601‐6848
JENTZEN, MARLEN J        1876 PROSPECT                                                                                  SAGINAW            MI      48601‐6848
JENTZEN, THOMAS J        70 W FOREST WAY                                                                                OXFORD             GA      30054‐2613
JENTZEN, WALTER W        3432 VAN CAMPEN RD                                                                             FLINT              MI      48507‐3349
JENTZEN, WILLIAM R       3192 ECKINGER ST                                                                               FLINT              MI      48506‐2040
JENTZSCH, WILLIAM        1964 SOUTH RD UNIT 240                                                                         POUGHKEEPSIE       NY      12601‐6050
JENUWINE, ALVIN J        37702 AGAR DR                                                                                  STERLING HEIGHTS   MI      48310‐3607
JENUWINE, CATHERINE J    55442 WASHINGTON DRIVE                                                                         SHELBY TWP         MI      48316
JENUWINE, DAVID E        31009 N 67TH ST                                                                                CAVE CREEK         AZ      85331‐6109
JENUWINE, DAVID J        7905 RIVER RD                                                                                  COTTRELLVILLE      MI      48039‐3338
JENUWINE, JOHN G         1719 GILSAM AVE                                                                                ROCHESTER HILLS    MI      48309‐4288
JENUWINE, MARK T         18880 27 MILE RD                                                                               RAY                MI      48096‐3623
JENUWINE, MARK TIMOTHY   18880 27 MILE RD                                                                               RAY                MI      48096‐3623
JENUWINE, THOMAS G       53133 AULGUR DR                                                                                SHELBY TWP         MI      48316‐2203
JENUWINE, WILLIAM C      7905 RIVER RD                                                                                  COTTRELLVILLE      MI      48039‐3338
JENYK, CAROL S           510 GLENMOOR DR                                                                                FORT WAYNE         IN      46804‐6490
JENYK, JOHN E            510 GLENMOOR DR                                                                                FORT WAYNE         IN      46804‐6490
JEOFFREY P BENSON        PO BOX 30733                                                                                   SANTA BARBARA      CA      93130‐0733
JEOFFREY STROSS          824 ASA GRAY DR                                                                                ANN ARBOR          MI      48105‐2565
JEOL LTD                 11 DEARBORN RD                 PO BOX 6043                                                     PEABODY            MA      01960‐3823
JEOL USA CORP            11 DEARBORN RD                                                                                 PEABODY            MA      01960‐3823
JEOL USA INC             11 DEARBORN RD                 PO BOX 6043                                                     PEABODY            MA      01960‐3823
JEOL USA INC             11 DEARBORN RD                                                                                 PEABODY            MA      01960‐3823
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Name                   Address1                         Address2             Address3        Address4               City              State   Zip
JEOL USA, INC.         NICK GIORDANO                    11 DEARBORN RD                                              PEABODY            MA     01960‐3823
JEONG KIM              610 CAROLINE                                                                                 MILFORD            MI     48381‐2304
JEONG LEE              18395 MANORWOOD W                                                                            CLINTON TWP        MI     48038‐1259
JEONG PARK             3246 KILBURN PK CL                                                                           ANN ARBOR          MI     48105
JEONG, TAESEOK         25850 TRESTLE                                                                                NOVI               MI     48375‐1674
JEONG, TAESEOK         44622 GWINNETT LOOP                                                                          NOVI               MI     48377‐2561
JEONG‐HOON SURH        10210 BLUE HERON CV                                                                          WEST PALM BEACH    FL     33412‐3112

JEONGHOON AHN          9760 OAKHILL RD                                                                              HOLLY             MI      48442‐8839
JEORJE A MULROONEY     3006 HEMINGWAY CIR                                                                           HAINES CITY       FL      33844
JEOVA DASILVA          976 BEDFORD DR                                                                               JANESVILLE        WI      53546‐3701
JEPPESEN SANDERSON     55 INVERNESS DR E                                                                            ENGLEWOOD         CO      80112‐5412
JEPSEN, ELOISE         15772 GRAYDON LANE                                                                           NEOSHO            MO      64850‐6465
JEPSEN, JEFFREY S      22766 SPRINGHAVEN DR                                                                         CENTREVILLE       MI      49032
JEPSEN, JERRY W        1474 LARSON RD                                                                               BOYNE CITY        MI      49712‐9163
JEPSEN, KARL M         138 LELAND ST SE                                                                             PORT CHARLOTTE    FL      33952‐9129
JEPSEN, VIOLA
JEPSON, ARTHUR J       PO BOX 38                        13404 INDIAN RD                                             KEWADIN            MI     49648‐0038
JEPSON, CLARENCE W     1005 S WATER ST                                                                              SPARTA             WI     54656‐2311
JEPSON, JAMES          STEVENSON & AMMONS ‐ ROBERT E    3700 MONTROSE BLVD                                          HOUSTON            TX     77006‐4624
                       AMMONS
JEPSON, JAMES ROBERT
JEPSON, RICHARD A      21 BEVERLY AVE                                                                               LOCKPORT          NY      14094‐2501
JEPSON, ROBERT W       6080 DENTON HILL RD                                                                          FENTON            MI      48430‐9490
JEQUETTA A STEELE      3898 E 176TH ST                                                                              CLEVELAND         OH      44128‐1702
JEQUETTA STEELE        3898 E 176TH ST                                                                              CLEVELAND         OH      44128‐1702
JEQUNNIA MITCHELL      PO BOX 61                                                                                    FLINT             MI      48501‐0061
JERABEK, CAROLE        E4757 CHURCH RD                                                                              KEWAUNEE          WI      54216
JERABEK, ELBA I        450 BURNWOOD RD                                                                              EAST BRANCH       NY      13756‐2102
JERABEK, JO ANN L      340 RANCH RD                                                                                 JOSHUA            TX      76058
JERABEK, MARGARITA M   805 BAYOU RIVER DR                                                                           HOUSTON           TX      77079‐5006
JERABEK, PETER A       1861 HUNTERS RIDGE DR                                                                        BLOOMFIELD        MI      48304‐1035
JERAD GRACE            6051 N BAY                                                                                   CLARKSTON         MI      48346‐1725
JERAD HOEFFEL          22608 BOWMAN RD                                                                              DEFIANCE          OH      43512‐8991
JERAD SHUSTER          94 ALABASTER AVE                                                                             CANFIELD          OH      44406‐7601
JERAD WHITEAKER        3127 BOND PL                                                                                 JANESVILLE        WI      53548‐3220
JERAL ELLIS            808 EVANDALE RD                                                                              BURLESON          TX      76028‐6278
JERAL RUSSELL          2299 JONES RD                                                                                WATERFORD         MI      48327
JERALD A RATHKA        5191 CLINTONVILLE RD                                                                         CLARKSTON         MI      48346‐4222
JERALD A WISHART       897 ST.RTE. 534 NW                                                                           NEWTON FALLS      OH      44444
JERALD ALBRIGHT        2667 ELIZABETH DR SW                                                                         WARREN            OH      44481‐9621
JERALD AMAYA           8239 SOPHIE LN                                                                               GREENWOOD         LA      71033‐3405
JERALD BAILEY          1918 E VAILE AVE                                                                             KOKOMO            IN      46901
JERALD BALDWIN         1605 CHAMPION RD                                                                             ONEONTA           AL      35121‐7203
JERALD BLUMENSCHEIN    12131 DIXIE HWY                                                                              HOLLY             MI      48442‐9402
JERALD BOETTCHER       25315 PINE VIEW AVE                                                                          WARREN            MI      48091‐3886
JERALD BOLT            3717 W STATE ROAD 44                                                                         FRANKLIN          IN      46131‐8665
JERALD BORNEMISS       4045 BAYMAR DR                                                                               YOUNGSTOWN        OH      44511‐3438
JERALD BOWEN           W10706 HIGHWAY H                                                                             WARRENS           WI      54666
JERALD BOYD            4406 CALLAHAN RD                                                                             SOUTH VIENNA      OH      45369‐7764
JERALD BROWN           4375 COLE RD                                                                                 BURTCHVILLE       MI      48059‐2603
JERALD BURR            HC 60 BOX 4                                                                                  RUSSELVILLE       WV      26680‐9501
JERALD BUTLER          7941 W HERBISON RD                                                                           GRAND LEDGE       MI      48837‐9221
JERALD CARB            5328 DON SHENK DR                                                                            SWARTZ CREEK      MI      48473‐1104
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Name                   Address1                        Address2                     Address3          Address4               City             State   Zip
JERALD CARR            6803 STATE ROUTE 7                                                                                    KINSMAN           OH     44428‐9201
JERALD CHATFIELD       107 S VAN BUREN ST                                                                                    TECUMSEH          MI     49286‐1353
JERALD COX             2561 GREENSIDE DR                                                                                     BEAVERCREEK       OH     45431‐8601
JERALD CROSS           8415 WREN CREEK DRIVE                                                                                 CHARLOTTE         NC     28269‐6177
JERALD D ALLEN         5524 TYRONDA LANE                                                                                     CENTERVILLE       OH     45429‐6138
JERALD D KENT          C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                             HOUSTON           TX     77007
                       BOUNDAS LLP
JERALD DAVIS           6694 N WATSON RD                                                                                      ELSIE            MI      48831‐8712
JERALD DEJOHN          152 BROWER RD                                                                                         ROCHESTER        NY      14622‐3149
JERALD DISKIN          1754 FLORIDA ST                                                                                       WESTFIELD        NJ      07090‐2214
JERALD DOLL            1514 S MOUNT TOM RD                                                                                   MIO              MI      48647‐9567
JERALD DOSH            5146 E FRANCES RD                                                                                     MOUNT MORRIS     MI      48458‐9750
JERALD DUBY JR         2232 FLAIR DR                                                                                         OKLAHOMA CITY    OK      73159‐5846
JERALD ERP             101 W WOODYARD AVE.                                                                                   RIDGE FARM       IL      61870
JERALD EVERETT         25171 W POINT DR                                                                                      MATTAWAN         MI      49071‐9335
JERALD F MIZEN         2012 ARCHER LN                                                                                        MOBILE           AL      36605‐3401
JERALD FEEZLE          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.      OH      44236
JERALD FEIRER          3307 W EHRLINGER RD                                                                                   JANESVILLE       WI      53546‐8994
JERALD FLEMING         189 BRUSH CREEK RD                                                                                    CLINTWOOD        VA      24228‐6898
JERALD FREEMAN         22220 COUNTY RD. #7490                                                                                NEWBURG          MO      65550
JERALD GAMM            5641 SCOTCH RD                                                                                        VASSAR           MI      48768‐9235
JERALD GEER            438 W LIBERTY ST                                                                                      SOUTH LYON       MI      48178‐1341
JERALD GORMAN          1205 PARKWAY DR                                                                                       ANDERSON         IN      46012‐4617
JERALD GREGORY         4779 WEST 250 INN                                                                                     GREENCASTLE      IN      46135
JERALD H GUFFEY JR     NIX, PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD     TX      75638
JERALD HANEY           7210 N BOLLINGER RD                                                                                   CONOVER          OH      45317‐9736
JERALD HARRIS          BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                            BOSTON HEIGHTS   OH      44236
JERALD HARTMAN         4808 LEFFINGWELL RD                                                                                   CANFIELD         OH      44406‐9130
JERALD HARTMAN         3808 N LAKE BLVD                                                                                      DANVILLE         IL      61832‐1016
JERALD HAYES           11114 BORGMAN AVE                                                                                     BELLEVILLE       MI      48111‐5206
JERALD HELLEMEYER      19429 QUARRY RD                                                                                       WARRENTON        MO      63383‐7265
JERALD HENDERSON       270 COUNTY ROAD 135                                                                                   ATHENS           TN      37303‐6154
JERALD HILL            6000 SHEPHERD MOUNTAIN CV       APT 1309                                                              AUSTIN           TX      78730‐4906
JERALD HOGAN           2509 SPRING GROVE DR                                                                                  KOKOMO           IN      46902‐9273
JERALD HOLLANDSWORTH   7127 TAFT RD                                                                                          MECOSTA          MI      49332‐9554
JERALD HOVER           4305 S 100 W                                                                                          ANDERSON         IN      46013‐3633
JERALD ISBELL          616 VALLEY DR                                                                                         ANDERSON         IN      46011‐2036
JERALD JOHNS           19364 WINTHROP ST                                                                                     DETROIT          MI      48235‐2030
JERALD JOHNSON         102 E COX RD                                                                                          EDGERTON         WI      53534‐9761
JERALD KEY             1112 NASHVILLE HWY APT F3                                                                             COLUMBIA         TN      38401‐2158
JERALD KITTLE          210 S CAMPBELL ST                                                                                     DURAND           MI      48429‐1505
JERALD KRAMPITZ        38014 CASTLE DR                                                                                       ROMULUS          MI      48174‐1016
JERALD KRZESZAK        41560 BELVIDERE ST                                                                                    HARRISON TWP     MI      48045‐1414
JERALD L CARR          6803 STATE RT. 7                                                                                      KINSMAN          OH      44428‐9201
JERALD L COX           2561 GREENSIDE DR                                                                                     DAYTON           OH      45431‐8601
JERALD L HANEY         7210 N BOLLINGER RD                                                                                   CONOVER          OH      45317‐9736
JERALD L PEASE         282 NILES CORTLAND RD.                                                                                WARREN           OH      44484
JERALD L REIHARD       415 PARK RD                                                                                           LEAVITTSBURG     OH      44430‐9503
JERALD L SPILLER       PO BOX 671                                                                                            RUSSELLS POINT   OH      43348
JERALD L WILLIAMS      PO BOX 664                                                                                            CAYUGA           IN      47928‐0664
JERALD L. GREIF        807 BONNIE DOON                                                                                       FRIENDSWOOD      TX      77546
JERALD LAYFIELD        5320 STATE ROUTE 546                                                                                  BELLVILLE        OH      44813‐9203
JERALD LEE             278 KINGMAN RD                                                                                        MASON            MI      48854‐9593
JERALD LEECE           512 GREENCOVE DR                                                                                      HOLLY            MI      48442‐8632
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Name                  Address1                            Address2                     Address3          Address4               City            State   Zip
JERALD LEWIS          C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.      OH     44236
JERALD LITCHFIELD     9860 TOWNER RD                                                                                            PORTLAND         MI     48875‐9409
JERALD M SIMPSON      8144 EAST SYCAMORE ROAD                                                                                   BLOOMFIELD       IN     47424
JERALD MARTIN         1144 KEBLE LN                                                                                             OXFORD           MI     48371‐5902
JERALD MATHIS         12227 DUFFIELD RD                                                                                         GAINES           MI     48436‐9715
JERALD MCCOOL         3067 COUNTY FARM RD                                                                                       SAINT JOHNS      MI     48879‐9278
JERALD MCGEE          1612 GLENVIEW AVE                                                                                         DANVILLE          IL    61832‐2018
JERALD MINER          3300 VIRGINIA DR                                                                                          COLUMBIAVILLE    MI     48421‐9305
JERALD MIZEN          2012 ARCHER LN                                                                                            MOBILE           AL     36605‐3401
JERALD MOM            374 CLINT CT                                                                                              LAKE ORION       MI     48362‐1069
JERALD MORSE          11276 BALFOUR DR                                                                                          FENTON           MI     48430‐9058
JERALD MURPHY         25209 E ORIENT CEMETERY RD                                                                                HARRISONVILLE    MO     64701‐1696
JERALD N CALDWELL     11 MISTY CREEK CT                                                                                         GREENVILLE       SC     29650
JERALD NAYLON         157 ROCK GLEN ROAD                                                                                        SUGARLOAF        PA     18249
JERALD NELSON         5405 N SWEETBRIAR DR                                                                                      MILTON           WI     53563‐9449
JERALD O WILLIAMSON   9865 SCR 125 EAST                                                                                         CLOVERDALE       IN     46120
JERALD ORSER          10117 OAK RD                                                                                              OTISVILLE        MI     48463‐9738
JERALD PARKS          10706 S 600 E                                                                                             CARBON           IN     47837‐8528
JERALD PEASE          282 NILES CORTLAND RD NE                                                                                  WARREN           OH     44484‐1938
JERALD PHELAN         720 WAYLON WAY                                                                                            WENTZVILLE       MO     63385‐2640
JERALD PIKE           2410 MEDALLION CT                                                                                         INDIANAPOLIS     IN     46231‐2812
JERALD R BARTRUM      6140 CARMIN AVE                                                                                           TROTWOOD         OH     45427
JERALD R JOHNS        19364 WINTHROP ST                                                                                         DETROIT          MI     48235‐2030
JERALD RATHKA         5191 CLINTONVILLE RD                                                                                      CLARKSTON        MI     48346‐4222
JERALD RAY THOMPSON   NIX PATTERSON & ROACH LLP           GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD     TX     75638
JERALD REIF           1026 DICKHOFF DR                                                                                          MILTON           WI     53563‐1121
JERALD REIHARD        415 PARK RD                                                                                               LEAVITTSBURG     OH     44430‐9503
JERALD REITENOUR      9279 W X Y AVE                                                                                            SCHOOLCRAFT      MI     49087
JERALD REYNARD        10121 N REYNARD RD                                                                                        ALBANY           IN     47320‐9107
JERALD REYNOLDS       15069 YORKLEIGH DR                                                                                        LANSING          MI     48906‐1360
JERALD REYNOLDS       PO BOX 283                                                                                                MOUNT MORRIS     MI     48458‐0283
JERALD RICHARDSON     8735 DEADSTREAM RD                                                                                        HONOR            MI     49640‐9770
JERALD ROACH          51744 WALNUT DR                                                                                           MACOMB           MI     48042‐3545
JERALD S HURD         4991 DONLAW AVE                                                                                           DAYTON           OH     45418‐2003
JERALD SCHAEKEL       113 OAKWOOD DR                                                                                            TUTTLE           OK     73089‐8426
JERALD SCHALK         1022 WARNER AVE                                                                                           LEMONT            IL    60439‐4237
JERALD SEARFOSS       3880 N THREE RIVERS RD                                                                                    GLADWIN          MI     48624‐8345
JERALD SHENEFIEL      13961 CHESTNUT CIR                                                                                        MAGALIA          CA     95954‐9433
JERALD SHOWALTER      20473 NW HIGHWAY 31                                                                                       GARNETT          KS     66032‐8822
JERALD SIMPSON        8144 E SYCAMORE RD                                                                                        BLOOMFIELD       IN     47424‐5709
JERALD SKUTA          5463 N MACKINAW RD                                                                                        PINCONNING       MI     48650‐8495
JERALD SLOCUM         1724 BILTMORE BLVD                                                                                        LANSING          MI     48906‐2804
JERALD SMITH          6114 CLARK RD                                                                                             BATH             MI     48808‐8716
JERALD SMITH          10082 STOVER RD                                                                                           OTISVILLE        MI     48463‐9404
JERALD SMYERS         4415 FRANK DELLINGER LN                                                                                   MAIDEN           NC     28650‐9461
JERALD STAGE          1106 W WABASH TER                                                                                         OLATHE           KS     66061‐3928
JERALD STEPP          1066 GODDARD RD APT 7                                                                                     LINCOLN PARK     MI     48146‐4450
JERALD STRUNK         4792 MAPLE AVE                                                                                            HAMILTON         MI     49419‐9708
JERALD SUCKOW         670 CENTRAL PARKWAY AVE SE                                                                                WARREN           OH     44484‐4538
JERALD SUMNER         1938 ELMWOOD DR                                                                                           LENNON           MI     48449‐9713
JERALD SYLVESTER      9377 JAMIE DR                                                                                             DAVISON          MI     48423‐2828
JERALD T BALLIANO     2 SILVER MAPLE DR                                                                                         SPENCERPORT      NY     14559
JERALD TAYLOR         6225 BARTEL DR                                                                                            FAIRFIELD        OH     45014‐4903
JERALD TRANZOW JR     19755 CHESTERBROOK DR                                                                                     MACOMB           MI     48044‐5929
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Name                       Address1                             Address2                 Address3   Address4                 City                 State   Zip
JERALD TURNER              11369 HILL‐N‐DALE                                                                                 MINOCQUA              WI     54548
JERALD V WILLIAMS          602 JEFFERSON ST                                                                                  MIAMISBURG            OH     45342‐3328
JERALD VAN BUSKIRK         5159 SCHEUNERS WAY                                                                                HOWELL                MI     48843‐7877
JERALD VANHORN             8612 DRIFTWOOD DR                                                                                 TEMPERANCE            MI     48182‐2404
JERALD VOORHEES            3575 N STEWART RD                                                                                 CHARLOTTE             MI     48813‐8710
JERALD W JONES             1425 TEAGUE RD, #502                                                                              MYRTLE BEACH          SC     29577
JERALD W PERRY             10334 WHISPERING WINDS ST                                                                         INDIANAPOLIS          IN     46234
JERALD WAGNER              21445 COUNTY ROAD 178                                                                             OAKWOOD               OH     45873
JERALD WALKER              11711 W STATE ROAD 28                                                                             REDKEY                IN     47373‐9617
JERALD WALLACE             4831 WESTCHESTER DR APT 213                                                                       AUSTINTOWN            OH     44515‐2536
JERALD WARE                11316 N WEBSTER RD                                                                                CLIO                  MI     48420‐8235
JERALD WILLIAMS            14268 HIGHWAY AW                                                                                  PLATO                 MO     65552‐8737
JERALD WILLIAMS            525 W STATE ROAD 234                 P.O. BOX 664                                                 CAYUGA                IN     47928
JERALD WILLIAMSON          1810 W 53RD ST TRLR B3                                                                            ANDERSON              IN     46013‐1158
JERALD WILLIAMSON          9865 S COUNTY ROAD 125 E                                                                          CLOVERDALE            IN     46120‐8834
JERALD WILSON              3135 W SHARON DR                                                                                  GREENFIELD            IN     46140‐8537
JERALD WISHART             897 STATE ROUTE 534 NW                                                                            NEWTON FALLS          OH     44444‐9513
JERALDINE ANDERSON         159 POPLAR VIEW LN                                                                                BEDFORD               IN     47421‐6815
JERALDINE ARNOLD           7700 S EBERHART AVE                                                                               CHICAGO                IL    60619‐2919
JERALDINE BURKS            105 JESSAMINE TRL                                                                                 LAWRENCEVILLE         GA     30046‐8867
JERALDINE FISHER           315 WELCOME WAY BLVD BUILD 06        APT 105 C                                                    INDIANAPOLIS          IN     46214
JERALDINE GARNER           2567 BARNS DR                                                                                     WESTLAND              MI     48186‐5498
JERALDINE MESSER           1049 N JUNE WALK                                                                                  MARION                IN     46952
JERALDINE MONROE           7110 E PICCADILLY RD                                                                              MUNCIE                IN     47303‐4596
JERALDINE MOSGROVE         13966 BRAILE ST                                                                                   DETROIT               MI     48223‐2718
JERALDINE ROGGENBUCH       777 RAHN ST                                                                                       WESTLAND              MI     48186‐4825
JERALDINE SMITH            1715 LEO STREET                                                                                   DAYTON                OH     45404‐1915
JERALDINE TURNBOW          8536 S WINCHESTER AVE                                                                             CHICAGO                IL    60620‐6009
JERALDINE WEAVER           507 APACHE DR                                                                                     HOPKINSVILLE          KY     42240‐1309
JERALDO VILLAROSA          1212 CREEK VIEW DR                                                                                ROCHESTER             MI     48307‐1700
JERALINE EVANS             13615 6TH AVE                                                                                     CLEVELAND             OH     44112‐3145
JERALINE FINCH             120 DOGWOOD DR SW                                                                                 ATLANTA               GA     30311‐1738
JERALYN HIETT              157 INDIAN CREEK RD                                                                               HOHENWALD             TN     38462‐2495
JERALYNN D BANKS‐OGLESBY   25 STRAND AVE                                                                                     DAYTON                OH     45427
JERAMIE S HENDRICKS        1171 BAILEY AVE.                                                                                  VANDALIA              OH     45377
JERAMY GOSS                16142 VALCREST DR                                                                                 LINDEN                MI     48451‐9094
JERAMY LASSITER            1945 SCOTTSVILLE RD STE B2 PMB 155                                                                BOWLING GREEN         KY     42104‐5836
JERARD A SCACCHETTI        300A VILLAGE II DRIVE                                                                             HILTON                NY     14468‐1543
JERARD M WILSON            1456 CORY DR                                                                                      DAYTON                OH     45406‐5911
JERAS, DRAGICA             1530 HIDEAWAY CV                                                                                  PAINESVILLE           OH     44077‐4690
JERAS, LJILJA              10373 WILBERT DR                                                                                  KIRTLAND              OH     44094‐9511
JERAS, MARIJA              1104 HARBORCREEK DR #1104                                                                         MENTOR                OH     44060
JERAS, MARIJAN             5563 PRIMAVERA DR                                                                                 MENTOR                OH     44060‐9104
JERAULD MUCHOW             1059 PENROD RD                                                                                    DUNMOR                KY     42339‐9504
JERAULD REGESTER           3056 UPPER MOUNTAIN RD                                                                            SANBORN               NY     14132‐9429
JERAULD WOZNIAK            515 LOCUST ST APT C3                                                                              LOCKPORT              NY     14094‐5658
JERCEL SIMMONS             PO BOX 3672                                                                                       SHREVEPORT            LA     71133‐3672
JERCO INC                  139 N MAIN ST                                                            RICHMOND PQ J0B 2H0
                                                                                                    CANADA
JERCO PRODUCTS             22525 BENJAMIN ST                                                                                 SAINT CLAIR SHORES    MI     48081‐2346

JERCO PRODUCTS             22525 BENJAMIN ST                    ADDRESS CHANGE 9/21/93                                       SAINT CLAIR SHORES    MI     48081‐2346

JERCO/DAYTON               PO BOX 59452                                                                                      DAYTON               OH      45459
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Name                          Address1                        Address2                      Address3   Address4               City               State Zip
JERCO/ST CLAIR SHORE          22525 BENJAMIN ST                                                                               SAINT CLAIR SHORES MI 48081‐2346

JERDE ERVIN R (429186)        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA   23510
                                                              STREET, SUITE 600
JERDE, ERVIN R                GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA   23510‐2212
                                                              STREET, SUITE 600
JERDEN, PHYLLIS               407 MILL RD                                                                                     LEHIGHTON         PA   18235
JERDINE C SNELL               PO BOX 5517                                                                                     FLINT             MI   48505‐0517
JERDINE ROBERTS               26672 ISLEWORTH PT                                                                              SOUTHFIELD        MI   48034‐5670
JERDINE SNELL                 PO BOX 5517                                                                                     FLINT             MI   48505‐0517
JERDINE, DARRELL L            7332 SUGARLOAF DR                                                                               ANTIOCH           TN   37013‐4616
JERDINE, EIRA J               9919 DARROW PARK DR APT 107P                                                                    TWINSBURG         OH   44087
JERDINE, LISA                 7332 SUGARLOAF DR                                                                               ANTIOCH           TN   37013‐4616
JERDINE, PATRICIA A           5545 MARYLAND ST                                                                                DETROIT           MI   48224‐3020
JERDINE, ROBERT L             3625 E 147TH ST                                                                                 CLEVELAND         OH   44120‐4852
JERDON, LESLY E               3217 RT 35 WEST                                                                                 EATON             OH   45320
JERDON, VIRGINIA E            562 WESS TAYLOR RD                                                                              HUNTSVILLE        AL   35811
JERE AUVENSHINE               6225 W STOLL RD                                                                                 LANSING           MI   48906‐9327
JERE CAMP                     11245 BRITTON RD                                                                                BYRON             MI   48418‐9530
JERE CHRISTIAN                9667 BAYVIEW DR APT 314                                                                         YPSILANTI         MI   48197‐7027
JERE COOPER                   1740 LOCKPORT OLCOTT RD                                                                         BURT              NY   14028‐9704
JERE DAVENPORT                427 PRIVATE ROAD 1512                                                                           BANDERA           TX   78003‐4724
JERE MUNRO                    132 STATE ST FL 2ND                                                                             FRAMINGHAM        MA   01702
JERE OLSON                    1886 CARPENTER DR                                                                               TROY              MI   48098‐4364
JERE ONSGARD                  8962 COUNTY RD N                                                                                ALMOND            WI   54909‐9734
JERE PASTRECK                 12771 CHARTWELL DR                                                                              FORT MYERS        FL   33912‐4660
JERE ROTH                     BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS        OH   44236
JERE SPURLIN                  916 BETTY ST SW                                                                                 DECATUR           AL   35601‐4757
JERE WINOWIECKI               1018 SHOMAN ST                                                                                  WATERFORD         MI   48327‐1855
JERE ZIMMERMAN                HC 72 BOX 26                                                                                    KINGSTON          OK   73439‐1075
JEREALEAN PETERSON            90 FIRESTONE DR                                                                                 ROCHESTER         NY   14624‐2724
JEREB, DANIEL L               141 TERRACE DR                                                                                  NEW CASTLE        PA   16102‐2833
JEREDEAN NOBLES               23470 KENOSHA ST                                                                                OAK PARK          MI   48237‐2471
JEREL BAXTER                  22 RECORDS DR                                                                                   ANDERSON          IN   46013‐3703
JEREL R ARNOLD                18 LEXINGTON AVE.                                                                               DAYTON            OH   45407‐‐ 21
JEREL ROE                     2130 CAMERON DR                                                                                 KOKOMO            IN   46902‐7412
JEREL SUTE                    205 CHASEMORE LN                                                                                ARLINGTON         TX   76018‐1083
JERELENE BEVERLY              2919 HARBUR BLVD                                                                                ANDERSON          IN   46011‐9215
JERELENE C JOHNSON            96 MARLBOROUGH RD                                                                               ROCHESTER         NY   14619‐1408
JERELENE FLOWERS              2004 COLUMBUS BLVD                                                                              KOKOMO            IN   46901‐1868
JERELENE JOHNSON              96 MARLBOROUGH RD                                                                               ROCHESTER         NY   14619‐1408
JERELINE THOMAS               6169 MAGNOLIA DR                                                                                MOUNT MORRIS      MI   48458‐2815
JERELINE TRUITT               PO BOX 27186                                                                                    DETROIT           MI   48227‐0186
JERELL M GIBBS                273 KANSAS AVE                                                                                  YPSILANTI         MI   48198‐6086
JERELS, ELLA M                1249 PONTIAC AVE                                                                                AKRON             OH   44307‐1305
JERELYN CLARK                 BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.       OH   44236
JERELYN L ARNETT              508 CRESTWOOD ST                                                                                TILTON            IL   61833‐8011
JEREMA WOODS                  61 SANTA MARIA PL                                                                               HAMILTON          OH   45013‐4828
JEREME HATFIELD               7849 COLLIN CT                                                                                  YPSILANTI         MI   48197‐1863
JEREMEY DAVIS                 3539 HOGAN DRIVE                                                                                NEW PORT RICHEY   FL   34655
JEREMI DEBKOWSKI              30 KADY LN                                                                                      KENDALL PARK      NJ   08824‐1471
JEREMIAH
JEREMIAH ADAMS                1804E. EZMIRLIAN STREET                                                                         COMPTON           CA   90221
JEREMIAH AUTOMOTIVE SERVICE   381 S 30TH ST STE O                                                                             HEATH             OH   43056‐1440
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Name                   Address1                        Address2                     Address3   Address4               City              State   Zip
JEREMIAH BABCOCK       4151 E MILLER RD                                                                               FAIRVIEW           MI     48621‐9779
JEREMIAH C ROESLER     1475 CARAWAY CT                                                                                MERCED             CA     95340
JEREMIAH C SETSER      10 ROSSMORE DR.                                                                                FAIRBORN           OH     45324
JEREMIAH CALDWELL      9602 N ADRIAN PL                                                                               KANSAS CITY        MO     64154‐1183
JEREMIAH COMER         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
JEREMIAH D GRUBB       887 BRANDE DR                                                                                  EATON              OH     45320
JEREMIAH D WILKINSON   3692 HERMOSA DR                                                                                DAYTON             OH     45416‐1118
JEREMIAH E IMBURGIA    2311 KENYONVILLE RD                                                                            ALBION             NY     14411‐9115
JEREMIAH ECKSTEIN      511 GREEN MEADOW DR                                                                            ANDERSON           IN     46011‐1641
JEREMIAH FLEISCHMAN    13604 WILHELM RD                                                                               DEFIANCE           OH     43512‐6839
JEREMIAH ISRAEL        1213 COLBERT COURT                                                                             FLORISSANT         MO     63031‐1310
JEREMIAH JACKSON       2448 SUMMIT DR                                                                                 JANESVILLE         WI     53548‐0126
JEREMIAH JACOB
JEREMIAH JOHNSON       122 S BELL AVE                                                                                 CHICAGO           IL      60612‐2974
JEREMIAH JONES         9541 RUTHERFORD ST                                                                             DETROIT           MI      48227‐1611
JEREMIAH KOWALSKI      7425 PEARL RD                                                                                  CLEVELAND         OH      44130‐6612
JEREMIAH LOGAN
JEREMIAH LUMPKIN       3250 E 121ST ST                                                                                CLEVELAND         OH      44120‐3831
JEREMIAH M ADAMS       5230 E STATE ROUTE 571                                                                         TIPP CITY         OH      45371‐8328
JEREMIAH MCCARTHY      519 GREENMONT DR                                                                               CANFIELD          OH      44406‐9660
JEREMIAH MCELRONE      2241 SAINT JAMES DR             PENN DREW MANOR                                                WILMINGTON        DE      19808‐5227
JEREMIAH MEADOWS       43975 JUDD RD                                                                                  BELLEVILLE        MI      48111‐9237
JEREMIAH MURPHY        11 PINESIDE LN                                                                                 SAVANNAH          GA      31411‐3079
JEREMIAH PHILLIPS      BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PKWY                                        BOSTON HTS        OH      44236
JEREMIAH TROUTMAN      2011 TRIO DR                                                                                   WENTZVILLE        MO      63385‐2666
JEREMIAH VAUGHN        6060 NEFF RD                                                                                   MOUNT MORRIS      MI      48458‐2746
JEREMIAH W BRADLEY     112 SUNRISE CIRCLE                                                                             EATON             OH      45320
JEREMIAH W PRESLEY     PO BOX 114                                                                                     SYRACUSE          NY      13211‐0114
JEREMIAH WAITES        7316 N WEBSTER RD                                                                              MOUNT MORRIS      MI      48458‐8400
JEREMIAH WEBSTER       23208 THORNRIDGE DR                                                                            GRAND BLANC       MI      48439‐9272
JEREMIAH WEBSTER       26513 W 6 MILE RD                                                                              REDFORD           MI      48240‐2210
JEREMIAH WICKS         3110 HILLCREST DR APT 208                                                                      SAN ANTONIO       TX      78201‐7015
JEREMIAH WOODS         3059 SHELLBARK DR                                                                              INDIANAPOLIS      IN      46235‐9131
JEREMIAH WRUBEL        421 E LOVETT ST                                                                                CHARLOTTE         MI      48813‐1607
JEREMIAH, ELEONORE H   28658 HUDSON CORNER RD          P.O.BOX 231                                                    MARION STATION    MD      21838‐2100
JEREMIAH, TIMOTHY D    1304 GLENN AVE                                                                                 LEWISBURG         TN      37091‐2038
JEREMIE G HAWLEY       1207 DOWAGIAC AVE                                                                              MOUNT MORRIS      MI      48458‐2577
JEREMY A ADAMS         207 W 3RD ST                                                                                   ANDERSON          IN      45016‐2217
JEREMY A FARMER        3311 TRAIL ON RD                                                                               MORAINE           OH      45439‐1145
JEREMY ADAMS           7327 GALLO                                                                                     GRAND PRAIRIE     TX      75054‐6705
JEREMY ALEXANDER       4014 MARLTON DR                                                                                FORT WAYNE        IN      46818‐9361
JEREMY ALLEN           29260 ROSEMONT ST                                                                              ROSEVILLE         MI      48066‐2040
JEREMY ALLEY           3649 S ROGERS ST                                                                               BLOOMINGTON       IN      47403‐4559
JEREMY ALTAFFER        351 E HIGH ST                                                                                  BRYAN             OH      43506‐1748
JEREMY ANDREWS         4342 N CENTRAL ST                                                                              KANSAS CITY       MO      64116‐1622
JEREMY ARTHUR
JEREMY AULD            2305 SWAYZE ST                                                                                 FLINT             MI      48503‐3350
JEREMY AYRES           1134 CLEARVIEW DR                                                                              OXFORD            MI      48371‐5977
JEREMY B LAKEY         6707 S BROOKSIDE RD                                                                            PLEASANT VALLEY   MO      64068‐7809
JEREMY B ROWLAND       342 JUDY AVE                                                                                   CARLISLE          OH      45005
JEREMY BAKER           443 FAIRMOUNT AVE NE                                                                           WARREN            OH      44483‐5222
JEREMY BAUERS          1402 S FRANKLIN RD                                                                             GREENWOOD         IN      46143‐9716
JEREMY BEARDEN         NO ADDRESS ON FILE
JEREMY BOS             700 MILITARY RD                                                                                HOUGHTON           MI     49931‐2064
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Name                    Address1                            Address2            Address3              Address4                 City              State   Zip
JEREMY BRISTOL          5752 JOSHUA ST                                                                                         LANSING            MI     48911‐5135
JEREMY BROWN            618 CHANEY STREET                                                                                      OPELOUSES          LA     70570
JEREMY C BLACK          8128 NW 31ST TER                                                                                       BETHANY            OK     73008‐4346
JEREMY C LANDIS         1385 OLT RD                                                                                            DAYTON             OH     45418
JEREMY C NEWTON         330 CLEARCREEK RD                                                                                      SPRINGBORO         OH     45066‐9720
JEREMY CAMPBELL         4253 W 190TH ST                                                                                        TORRANCE           CA     90504‐5516
JEREMY CHANDANAIS       1457 W FRANCES RD                                                                                      MOUNT MORRIS       MI     48458‐1039
JEREMY CICHOWSKI        10155 W TITTABAWASSEE RD                                                                               FREELAND           MI     48623‐8538
JEREMY CLARK            6171 BERT KOUNS IND LOOP            APT M203                                                           SHREVEPORT         LA     71129‐5073
JEREMY CLARK            5727 FORCIER CT                                                                                        SHELBY TOWNSHIP    MI     48317‐1547
JEREMY CLEASBY          3440 SHEFFIELD DR                                                                                      JANESVILLE         WI     53546‐9659
JEREMY COLE             8174 E SPICERVILLE HWY                                                                                 EATON RAPIDS       MI     48827‐9064
JEREMY CORB
JEREMY CORNWELL         C/O ALEXANDER HOLBURN BEAUDIN AND   ATT: JAMES DOWLER   SUITE 2700‐700 WEST   VANCOUVER, BC V7Y 1B8
                        LANG                                                    GEORGIA ST
JEREMY CROCKETT         236 KNOLL CREEK CIR                                                                                    WEST MONROE       LA      71291‐4773
JEREMY CROSS            1128 GEORGIA ST                                                                                        SULLIVAN          MO      63080‐1075
JEREMY D BRYANT         9915 GERALDINE ST                                                                                      YPSILANTI         MI      48197‐6928
JEREMY D EVANS          5953 COUNTY ROAD 109                                                                                   MOUNT GILEAD      OH      43338‐9305
JEREMY D JEFFERY        7214 WRANGLER TRL                                                                                      FORT WAYNE        IN      46835‐1814
JEREMY D MCINTOSH       300 JANET AVE                                                                                          CARLISLE          OH      45005
JEREMY D ODER           1715 HUFFMAN AVE.                                                                                      DAYTON            OH      45403
JEREMY D TAYLOR         2430 MYERS RD                                                                                          SPRINGFIELD       OH      45502‐9614
JEREMY DAVID BRINKLEY   114 WEST HAYES                                                                                         WEST MILTON       OH      45383‐‐ 18
JEREMY DAWLEY           822 PEPPERMILL CIR                                                                                     LAPEER            MI      48446‐2678
JEREMY DECHANT          750 TUSCANY DR                                                                                         MACEDONIA         OH      44056
JEREMY DEMAREST         1244 DUNDEE DR                                                                                         WATERFORD         MI      48327‐2001
JEREMY DOERR            FOEHRENWEG 10                                                                 82223 EICHENAU BAYERN
                                                                                                      GERMANY
JEREMY DOSS             156 MEADOWLARK TRAIL                P.O. BOX 669                                                       GRAYSVILLE        TN      37338
JEREMY DUNCAN           6655 JACKSON RD UNIT 483                                                                               ANN ARBOR         MI      48103‐9580
JEREMY DUVENDECK        921 FAIRWAY TRAILS DR                                                                                  BRIGHTON          MI      48116‐1781
JEREMY E LANGWORTHY     3124 MARYLAND AVE                                                                                      FLINT             MI      48506‐3031
JEREMY E QUILLEN        3128 PINNACLE PARK DR                                                                                  DAYTON            OH      45418‐‐ 29
JEREMY ESCH             3976 PEPPERMILL LN                                                                                     BAY CITY          MI      48706‐2316
JEREMY EVANS            3835 CHIPPING NORTON CT                                                                                SAGINAW           MI      48603‐9310
JEREMY EVANS            5953 COUNTY ROAD 109                                                                                   MOUNT GILEAD      OH      43338‐9305
JEREMY FAULKNER         526 SUNRISE DR                                                                                         CLARKSTON         MI      48348‐1493
JEREMY FEDEWA           198 S VIRGINIA AVE                                                                                     PORTLAND          MI      48875‐1830
JEREMY FELLOWS          706 PORTEOUS DR                                                                                        LAKE ORION        MI      48362‐1670
JEREMY FERGUSON         1650 GRANDVIEW RD                                                                                      LAKE MILTON       OH      44429‐9720
JEREMY FIELD            3539 CONCORD                                                                                           FLINT             MI      48504
JEREMY FITCH            1085 W MOORE RD                                                                                        SAGINAW           MI      48601‐9705
JEREMY FLITTON          904 HANLEY RD W                                                                                        MANSFIELD         OH      44904‐1560
JEREMY FOLEY            1174 HACKMAN DR                                                                                        TEMPERANCE        MI      48182‐9207
JEREMY FRYE             3660 TUB RUN HOLLOW RD                                                                                 GLENGARY          WV      25421‐4000
JEREMY FUNK             11467 RENO RD                                                                                          OSKALOOSA         KS      66066‐4034
JEREMY G STUBBS         4985 CAMDEN W ELKTON RD                                                                                SOMERVILLE        OH      45064‐9303
JEREMY GABRIEL          1336 SUNSET BLVD                                                                                       FLINT             MI      48507‐4061
JEREMY GALLAGHER        PO BOX 219                          221 FULTON ST                                                      PERRINTON         MI      48871‐0219
JEREMY GARNER           11242 WASHBURN RD                                                                                      OTISVILLE         MI      48463‐9601
JEREMY GILBERT          131 WHITES POINTE                                                                                      BEDFORD           IN      47421
JEREMY GREGG
JEREMY GRIBBLE          86 CURRIER AVE                                                                                         SLOAN              NY     14212‐2225
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Name                     Address1                        Address2            Address3         Address4               City               State   Zip
JEREMY GRIMES            2998 SUNRISE CIR APT 104                                                                    LAKE ORION          MI     48360‐2385
JEREMY GUERRA            1006 BELLE HAVEN DR                                                                         BOSSIER CITY        LA     71111‐8100
JEREMY HAMPTON           2518 FERGUSON RD                                                                            MANSFIELD           OH     44906‐1136
JEREMY HANSES            12344 JASON RD                                                                              WESTPHALIA          MI     48894‐9508
JEREMY HARGETT           1002 TALON DR                                                                               COLUMBIA            TN     38401‐8816
JEREMY HOLMAN            205 JACOBS WAY                                                                              SAINT PETERS        MO     63376‐7798
JEREMY HORGAN            9860 MILBURN ST                                                                             LIVONIA             MI     48150‐2924
JEREMY HOSKINS           240 WEST FAIRMOUNT AVENUE                                                                   PONTIAC             MI     48340‐2740
JEREMY ISKRA             PO BOX 62                                                                                   MULLIKEN            MI     48861‐0062
JEREMY J BAKER           443 FAIRMOUNT AVE NE                                                                        WARREN              OH     44483‐5222
JEREMY J HATTON          6573 MIDWAY DR                                                                              TROTWOOD            OH     45427‐2307
JEREMY J KESLER          11491 DIAMOND MILL RD.                                                                      ENGLEWOOD           OH     45322
JEREMY JEFFERS           8148 HARRISON DR                                                                            INDIANAPOLIS        IN     46226‐2029
JEREMY JEFFERY           7214 WRANGLER TRL                                                                           FORT WAYNE          IN     46835‐1814
JEREMY K THIBAULT        1427 BLUEBERRY LN                                                                           FLINT               MI     48507‐5328
JEREMY KAPP              42293 WEBSTER RD                                                                            LAGRANGE            OH     44050‐9425
JEREMY KEARNEY           PO BOX 598                                                                                  SOUTHFIELD          MI     48037‐0598
JEREMY KIRKLIN           18190 FLORAL ST                                                                             LIVONIA             MI     48152‐3718
JEREMY KRIEG             4926 HELENA DR                                                                              ANDERSON            IN     46013‐2834
JEREMY L ALLEN           824 HILE LANE                                                                               ENGLEWOOD           OH     45322
JEREMY L GREENE          PO BOX 32573                                                                                PHOENIX             AZ     85064‐2573
JEREMY L LITTERAL        7175 FALLENOAK TRACE                                                                        CENTERVILLE         OH     45459
JEREMY L MARTIN          656 LOTHROP RD APT 206                                                                      DETROIT             MI     48202‐2730
JEREMY L SIMS            5810 HINCKLEY CT                                                                            HUBER HEIGHTS       OH     45424
JEREMY L WILSON          3 JANES STREET, APT 7                                                                       JEFFERSONVILL       OH     43128‐1094
JEREMY LADD              3632 ACTON AVE                                                                              AUSTINTOWN          OH     44515‐3332
JEREMY LAKEY             6707 S BROOKSIDE RD                                                                         PLEASANT VALLEY     MO     64068‐7809
JEREMY LAMEY             1015 FOREST DR                                                                              ANDERSON            IN     46011‐1237
JEREMY LANDFAIR          4604 KATHY KOURT                                                                            HOLT                MI     48842
JEREMY LEANDERSON        1623 ROBERT LN                                                                              NAPERVILLE           IL    60564‐7127
JEREMY LEVI              870 CARMEN LN                                                                               GREENWOOD           IN     46143‐2517
JEREMY LIMBER            28585 ROHN RD                                                                               DEFIANCE            OH     43512‐9642
JEREMY LOUDERBACK        914 BRINDLESTONE DR                                                                         VANDALIA            OH     45377‐3102
JEREMY LOVEDAY           2869 PLYMOUTH DR                                                                            SHELBY TOWNSHIP     MI     48316‐4890
JEREMY LUTES             PO BOX 727                                                                                  MEADVIEW            AZ     86444
JEREMY LUTHER            304 DEMOSS RD                                                                               EROS                LA     71238
JEREMY M MORANDINI       7243 N VERNON ST                                                                            BEARBORN HTS        MI     48127‐1767
JEREMY M STRADER         607 ELSMERE                                                                                 MIDDLETOWN          OH     45042
JEREMY MASTERS           21624 NE 172ND ST                                                                           HOLT                MO     64048‐8735
JEREMY MATTSON           9545 ARCOLA ST                                                                              LIVONIA             MI     48150‐3201
JEREMY MCKEARN           820 SUTHERLAND AVE                                                                          JANESVILLE          WI     53545‐1630
JEREMY MEDLOCK           457 ROLAND ST                                                                               PONTIAC             MI     48341‐2372
JEREMY MEREDITH          787 LAKENGREN DR                                                                            EATON               OH     45320‐2558
JEREMY MILLER            1170 N MAPLELEAF RD                                                                         LAPEER              MI     48446‐8074
JEREMY MILLER            38935 BRONSON DR                                                                            STERLING HEIGHTS    MI     48310‐2818
JEREMY MILLS             45870 S STONEWOOD RD                                                                        CANTON              MI     48187‐6630
JEREMY MONTGOMERY        605 N MADISON ST                                                                            LAPEER              MI     48445‐2033
JEREMY MOORE             6269 CONGRESS TWP RD 29                                                                     MANSFIELD           OH     44904
JEREMY MORANDINI         7243 N VERNON ST                                                                            DEARBORN HTS        MI     48127‐1767
JEREMY MOSES             11313 S US HIGHWAY 35                                                                       MUNCIE              IN     47302‐8431
JEREMY MOULDER
JEREMY N BRANHAM         213 LAKE FOREST DR                                                                          W CARROLLTON       OH      45449
JEREMY N KOCHERSPERGER   4757 TAYLORSVILLE RD                                                                        HUBER HEIGHTS      OH      45424‐2460
JEREMY OVERHOLTS
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Name                 Address1                        Address2           Address3         Address4                 City               State   Zip
JEREMY P BAILEY      3417 KNOLLWOOD DR                                                                            BEAVERCREEK         OH     45432‐2252
JEREMY PARKER        6039 SUN VALLEY DR                                                                           GRAND BLANC         MI     48439‐9165
JEREMY PASCHAL       7562 ISABELLA DR, APARTMENT K                                                                PROT RICHEY         FL     34668‐7053
JEREMY PENNINGTON    1925 E 700 N                                                                                 ALEXANDRIA          IN     46001‐8733
JEREMY PERINI
JEREMY PHILLIPS      45‐D HEWITT WAY                                                     KANATA ON K2L 3S5
JEREMY PRESTON       2611 QUAIL RUN ST                                                                            OAKLAND             MI     48306‐1255
                                                                                                                  TOWNSHIP
JEREMY PRINZEN
JEREMY PUMALA        4510 MARCELLA DR                                                                             SHELBY TOWNSHIP    MI      48317‐1142
JEREMY PUMROY        270 E BRAGG AVE                                                                              UPLAND             IN      46989‐9183
JEREMY QUADE         543 NORTH CROSBY AVENUE                                                                      JANESVILLE         WI      53548‐2780
JEREMY QUIMBY        434 MAYFIELD LN                                                                              EATON RAPIDS       MI      48827‐8371
JEREMY R CANDY       1168 TEMPLE AVE                                                                              MOUNT MORRIS       MI      48458‐2582
JEREMY R FRANZ       5600 BARNARD DR.                                                                             HUBER HTS          OH      45424
JEREMY R JOHNSON     1081 WENRICK DR                                                                              BEAVERCREEK        OH      45434‐6348
JEREMY R MACHER      29 E. HILLCREST AVE                                                                          DAYTON             OH      45405
JEREMY R MEADOWS     127 #11 SMITH CR.                                                                            JACKSONVILLE       AL      36265
JEREMY R NEAL        4153 SOCIAL ROW RD.                                                                          WAYNESVILLE        OH      45068
JEREMY RANDOLPH      135 W LOGAN ST                                                                               MARKLE             IN      46770
JEREMY RASH          58 E RUTGERS AVE                                                                             PONTIAC            MI      48340‐2748
JEREMY RICE          5382 BECKIE COURT SOUTHWEST                                                                  WYOMING            MI      49418‐9765
JEREMY ROBERSON      1811 MERGANSER DR                                                                            HOLT               MI      48842‐7600
JEREMY ROBINSON      9807 E 25TH ST S                                                                             INDEPENDENCE       MO      64052‐1518
JEREMY RUE           10324 EDGEWATER TRL                                                                          HOLLY              MI      48442‐9336
JEREMY RUSSELL
JEREMY S HARRIS      548 KRISTINE LANE                                                                            FRANKLIN           OH      45005
JEREMY S MAY         5224 SABRA AVE                                                                               DAYTON             OH      45424
JEREMY S TREBER      5425 FLICKER WAY                                                                             DAYTON             OH      45424‐4526
JEREMY S TUSSEY      490 DAVID BLVD                                                                               FRANKLIN           OH      45005‐2135
JEREMY SALINGER      24417 LOIS LN                                                                                SOUTHFIELD         MI      48075‐6149
JEREMY SAMYN         2514 STONEWOOD CT                                                                            BAY CITY           MI      48708‐9222
JEREMY SCHLEIMER     139 PARK MEADOW LN APT K                                                                     ELYRIA             OH      44035‐7340
JEREMY SCHRAM        8711 MARSHALL RD                                                                             BIRCH RUN          MI      48415‐8587
JEREMY SHORT         1070 HARVARD RD                                                                              BERKLEY            MI      48072‐1977
JEREMY SILVAS        5400 E CARPENTER RD                                                                          FLINT              MI      48506‐4514
JEREMY SOUTHERLING   1018 BENSCH ST                                                                               LANSING            MI      48912‐1904
JEREMY SPOHN         2740 CHAPEL CREEK DR                                                                         LAMBERTVILLE       MI      48144‐9497
JEREMY STENDER       5424 W 200 N                                                                                 HUNTINGTON         IN      46750‐9007
JEREMY STOCKS        8301 16 1/2 MILE RD APT 52                                                                   STERLING HEIGHTS   MI      48312‐1849
JEREMY SWITZER       15047 MCCASLIN LAKE RD                                                                       LINDEN             MI      48451‐9641
JEREMY T GEORGE      2579 MIDVALE ST                                                                              KETTERING          OH      45420
JEREMY T RANDOLPH    PO BOX 269                                                                                   DALEVILLE          IN      47334‐0269
JEREMY TAYLOR        65 CHIPPEWA RD                                                                               PONTIAC            MI      48341‐1508
JEREMY TEAGUE        4755 N ROAD 500 W                                                                            BARGERSVILLE       IN      46106‐9755
JEREMY THAYER
JEREMY THIBAULT      1427 BLUEBERRY LN                                                                            FLINT              MI      48507‐5328
JEREMY THOMAS        33 NAUGATUCK WAY APT A                                                                       WATERVILLE         OH      43566‐1185
JEREMY THOMAS        4859 SILVERHEEL ST                                                                           SHAWNEE            KS      66226‐3911
JEREMY THOMPSON      6216 MONTICELLO AVE                                                                          DALLAS             TX      75214‐3304
JEREMY TORPY         960 BENTON AVE                                                                               JANESVILLE         WI      53545‐1728
JEREMY VAN DERAA     11477 AUGUST LN                                                                              FREELAND           MI      48623‐8412
JEREMY VIDA          4578 FRASER RD                                                                               BAY CITY           MI      48706‐9423
JEREMY W JOHNSON     6251 RICK ST                                                                                 YPSILANTI          MI      48197‐8273
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Name                  Address1                             Address2              Address3   Address4               City            State   Zip
JEREMY W LAMB         127 MINNICK ST                                                                               FRANKLIN         OH     45005
JEREMY W MOORE        6269 CONGRESS TWP RD 29                                                                      MANSFIELD        OH     44904
JEREMY W WILLIAMS     125 MORRIS AVE.                                                                              GIRARD           OH     44420
JEREMY WAMSLEY        4188 TIMBERLANE COURT                                                                        GRAND BLANC      MI     48439‐2050
JEREMY WEBB
JEREMY WELCH          6287 WOODSDALE DRIVE                                                                         GRAND BLANC     MI      48439‐8513
JEREMY WHITEHEAD      12029 E MOUNT MORRIS RD                                                                      DAVISON         MI      48423‐9320
JEREMY WILSON         6118 EAST CONCOURSE COURT                                                                    CAMBY           IN      46113‐8345
JEREMY WINTER         934 NE HYACINTH LN                                                                           ANKENY          IA      50021
JEREMY WOLFORD        10502 BELMEADOW DR                                                                           TWINSBURG       OH      44087‐3308
JEREMY ZAMORA         APT 4                                8360 FAIRLANE DRIVE                                     BIRCH RUN       MI      48415‐9771
JEREMY ZEDAKER        1233 JACKSON AVE                                                                             DEFIANCE        OH      43512‐2726
JEREMY ZEHNDER        9065 BUSCH RD                                                                                BIRCH RUN       MI      48415‐8424
JEREMY, DODY L        135 HOMEWOOD RD                                                                              MANSFIELD       OH      44906‐1323
JEREMY, STEPHEN C     722 STATE ROUTE 61                                                                           NORWALK         OH      44857‐9383
JEREMY, THERESA C.    119 BETHEL LN                                                                                MANSFIELD       OH      44906‐2204
JERETHA LOMAX         10371 SOMERSET AVE                                                                           DETROIT         MI      48224‐1728
JEREWSKI, DAVID A     3520 TRIMM RD                                                                                SAGINAW         MI      48609‐9768
JEREWSKI, KATHY       3520 TRIMM RD                                                                                SAGINAW         MI      48609
JERGE                 PO BOX 1062                          ACR OF WNY                                              BUFFALO         NY      14201‐6062
JERGE, JANET C        1274 FARMINGTON PL                                                                           SAN MARCOS      CA      92078‐5442
JERGE, KEVIN K        8690 SLAYTON SETTLEMENT RD                                                                   GASPORT         NY      14067‐9237
JERGE, MICHAEL W      88 SUNSET ST                                                                                 ROCHESTER       NY      14606‐2020
JERGE, ROBERT K       8690 SLAYTON SETTLEMENT RD                                                                   GASPORT         NY      14067
JERGENS INC           15700 S WATERLOO RD                  JERGENS WAY                                             CLEVELAND       OH      44110‐3898
JERGENS INC           19520 NOTTINGHAM RD                                                                          CLEVELAND       OH      44110‐2730
JERGENS INC           ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 931344                                           CLEVELAND       OH      44193‐0004
                      AGENT
JERGENS, JEROME J     4612 SOLD.HM.‐MIAMISBG RD                                                                    MIAMISBURG      OH      45342
JERGER, IRIS E        50 ERWIN ST                          C/O LINDA SUTTON                                        PAINTED POST    NY      14870‐9709
JERGER, RALPH E       4497 S 700 E                                                                                 MARION          IN      46953‐9556
JERGERIAN, GEORGE     9985 JAYBIRD DR                                                                              LAKELAND        FL      33810‐2317
JERGOVICH, RAY F      5855 SUTHERLAND DR                                                                           WATERFORD       MI      48327‐2060
JERGOVICH, RONALD G   37988 SARNETTE ST                                                                            CLINTON TWP     MI      48036‐4033
JERI BAULD            26647 HUNTINGTON RD                                                                          HUNTINGTON      MI      48070‐1246
                                                                                                                   WOODS
JERI BETTS            1732 BERKSHIRE DR                                                                            GLADWIN         MI      48624‐8620
JERI BOUNDY           3652 SUNNYSIDE CT                                                                            ROCHESTER HLS   MI      48306‐4708
JERI COATES           13 KENTUCKY AVE                                                                              WILMINGTON      DE      19804‐3307
JERI D BYERLY         3577 COTTAGE CANYON ST                                                                       LAUGHLIN        NV      89029
JERI D GREENE         321 INGLESIDE AVE                                                                            DAYTON          OH      45431‐1359
JERI DROBEK           1580 ROCKWELL AVE                                                                            BLOOMFIELD      MI      48302‐0040
JERI HARLEY           796 N WILDER RD                                                                              LAPEER          MI      48446‐3429
JERI HARRIS           388 DUSTY TRAIL RD                                                                           BENTON          KY      42025‐5800
JERI HILLMAN          38 JOHN ST                                                                                   LOCKPORT        NY      14094‐4308
JERI HILT             3405 OLD ANDERSON RD UNIT 109                                                                ANTIOCH         TN      37013‐1025
JERI J VINSON         P O BOX 177                                                                                  HARVEYSBURG     OH      45032‐0177
JERI JONES
JERI JONES            207 NORTH 8TH STREET                                                                         GADSDEN         AL      35903
JERI KUTZY            16186 SILVERCREST DR                                                                         FENTON          MI      48430‐9154
JERI L BREWER         10994 LITTLE TURTLE WAY                                                                      SIDNEY          OH      45365‐9565
JERI M MILLER         901 MARYLAND AVE                                                                             LANSING         MI      48906‐5451
JERI MILLER           901 MARYLAND AVENUE                                                                          LANSING         MI      48906‐5451
JERI MORRIS           1106 CLARENCE O DELL RD                                                                      BOWLING GREEN   KY      42101‐8259
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Name                          Address1                           Address2           Address3      Address4               City               State Zip
JERI NEUHAUS
JERI OJEDA                    20653 CHESTNUT CIR                                                                         LIVONIA             MI   48152‐2087
JERI PONDER
JERI REISER                   3525 LEBON DR #302                                                                         SAN DIEGO          CA    92122
JERI STONEWALL                8227 CARPATHIAN DR                                                                         WHITE LAKE         MI    48386‐4503
JERI THORNTON                 3 COLUMBIA PL                                                                              PARLIN             NJ    08859‐1003
JERI WATHEN                   112 BOCA CIEGA ST                                                                          NOKOMIS            FL    34275‐1501
JERI‐ANN ENGLEBY              PO BOX 96                          1981 OAK TERRACE                                        ORTONVILLE         MI    48462‐0096
JERICHO BROWN                 45301 RIVERWOODS DR                                                                        MACOMB             MI    48044‐5785
JERICHOW, DIANE S             3415 WOODRIDGE DR                                                                          FLUSHING           MI    48433‐9789
JERICHOW, DIANE SUE           3415 WOODRIDGE DR                                                                          FLUSHING           MI    48433‐9789
JERICHOW, JAMES A             3415 WOODRIDGE DR                                                                          FLUSHING           MI    48433‐9789
JERICHOW, JAMES ALAN          3415 WOODRIDGE DR                                                                          FLUSHING           MI    48433‐9789
JERICHOW, KATHRYN D           8068 KENSINGTON BLVD APT 189                                                               DAVISON            MI    48423‐2913
JERICHOW, WALTER R            3423 LONGVIEW DR                                                                           FLUSHING           MI    48433
JERICIA G STEVENS             4634 MIDWAY AVE                                                                            DAYTON             OH    45417‐1354
JERICO FUELS                  PO BOX 177                                                                                 ELDERTON           PA    15736‐0177
JERICO PERFORMANCE PRODUCTS   443 PITTS SCHOOL RD NW                                                                     CONCORD            NC    28027
JERID W MAURER                1114 TULIP LANE                                                                            ROCKFORD           IL    61107‐5257
JERIEL PONDER                 4135 RED ARROW RD                                                                          FLINT              MI    48507‐5405
JERILD KING                   11530 WINCHESTER RD                                                                        FORT WAYNE         IN    46819‐9786
JERILENE ( MORGAN             40 WANETA AVENUE                                                                           DAYTON             OH    45404‐2361
JERILYN KOLBFLEISCH           RR1 230 WOODSTOCK AVE                                                                      HOPWOOD            PA    15445
JERILYN LAYNE                 4735 FULLER DRIVE                                                                          MORRISTOWN         TN    37813‐3708
JERILYN MACKINAW              641 E CANAL DR                                                                             GULF SHORES        AL    36542‐3139
JERILYN MYERS                 15035 COVERDALE RD                                                                         YODER              IN    46798‐9708
JERILYN NOWELL                MAGNOLIA CIRCLE 228 DASH LEWIS D                                                           DECATUR            GA    30034
JERILYN PARKER                3621 LAKESIDE DR                                                                           SHREVEPORT         LA    71119‐6517
JERILYN PLUMMER               1055 E WILSON RD                                                                           CLIO               MI    48420‐7918
JERILYN ROBERTSON             W314S8130 WHITMORE RD                                                                      MUKWONAGO          WI    53149‐9233
JERILYN S ZUBKO               88 LINDEN DRIVE                                                                            BASKING RIDGE      NJ    07920
JERILYN TAYLOR                2116 OLD HICKORY BLVD                                                                      DAVISON            MI    48423‐2064
JERILYNN WAGNER               4613 SUNSET DR                                                                             LOCKPORT           NY    14094‐1231
JERIMAINE V SCRIVEN           412 AVENUE D                                                                               ROCHESTER          NY    14621‐4554
JERIMOND HOLLAND              1902 SOUTHWOODS RD                                                                         ANDERSON           IN    46012‐2750
JERINA HOLMAS                 6611 KARL ROAD                                                                             COLUMBUS           OH    43229
JERINA, JOHN M                111 N ASPEN CT BLDG 3 UNIT 4                                                               WARREN             OH    44484‐1076
JERINE E DOCKERY              1550 41ST ST                                                                               COLUMBUS           GA    31904
JERINE HALL                   1227 E 85TH PL                                                                             CHICAGO            IL    60619‐6429
JERINE TURNER‐CHILDRESS       2319 RANCH RD NW                                                                           ROANOKE            VA    24017‐1335
JERINSKY, MATTHEW B           42947 UTICA RD                                                                             STERLING HEIGHTS   MI    48314‐3580
JERIS, A M                    117 EAST AVE                                                                               WEST SENECA        NY    14224‐3171
JERIS, JEFFREY J              204 SIEBERT RD                                                                             LANCASTER          NY    14086‐9656
JERISK, ELSIE I               1500 S GENEVIEVE ST                                                                        BURTON             MI    48509‐2402
JERISK, STEVE J               1456 KETTERING ST                                                                          BURTON             MI    48509‐2406
JERIT VAN AUKER               10869 RIDGE RD                                                                             MEDINA             NY    14103‐9432
JERITA N DILLON               104 ARDMORE DR                                                                             MIDDLETOWN         OH    45042
JERKE, ALLEN D                120 E JOHN ST                                                                              DURAND             MI    48429‐1603
JERKE, CHARLES A              8489 COLDWATER RD                                                                          FLUSHING           MI    48433‐2922
JERKE, MARGARET J             120 E JOHN ST                                                                              DURAND             MI    48429‐1603
JERKE, TIM L                  51296 RED RUN RD                                                                           MARCELLUS          MI    49067‐8731
JERKE, WILLIAM A              1821 PERO LAKE RD                                                                          LAPEER             MI    48446‐9093
JERKIC, LUCIJA                2138 GARDEN DR                                                                             WICKLIFFE          OH    44092‐1115
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Name                  Address1                         Address2                  Address3                  Address4               City                State Zip
JERL ASSOCIATES       MICHAEL J. SANTIN                2435 FOREST AVE STE 200   MEYERS, SANTIN & CLAUS,                          SAN JOSE             CA 95128‐1595
                                                                                 INC.
JERL ASSOCIATES       C/O MICHAEL J SANTIN             2435 FOREST AVE STE 200                                                    SAN JOSE            CA   95128‐1595
JERL CAVENEE          2343 COUNTY ROAD 1217                                                                                       BLANCHARD           OK   73010‐2818
JERL COE JR           PO BOX 25                                                                                                   HADLEY              MI   48440‐0025
JERL HOWARD           1198 E DEER CREEK DR                                                                                        CROSSVILLE          TN   38571‐3238
JERL LEONARD          1700 S HIGHWAY DD                                                                                           EL DORADO SPRINGS   MO   64744‐7272

JERLA, HENRY C        121 HARBOR ST                                                                                               WILSON              NY   14172‐9797
JERLAINE MASSENGILL   PO BOX 241                                                                                                  LAWRENCEBURG        KY   40342‐0241
JERLANE SCHUITEMA     8771 OLD OAK LN                  LOT 2                                                                      NEWAYGO             MI   49337
JERLD MC ROBERTS      9805 E STATE RD #234                                                                                        WILKINSON           IN   46186
JERLDEAN COLBERT      19932 OAK RDG                                                                                               WARRENTON           MO   63383‐7146
JERLDON HALL          15070 MARK TWAIN ST                                                                                         DETROIT             MI   48227‐2918
JERLEAN BURNSIDE      2121 WILKINS ST                                                                                             SAGINAW             MI   48601‐3380
JERLEAN CAFFEY        PO BOX 7135                                                                                                 COLUMBUS            OH   43205‐0135
JERLEAN JONES         4382 LEEDS POINT CT                                                                                         WEST CHESTER        OH   45069
JERLEAN MORRIS        3191 W HIGHWAY 5                                                                                            BOWDON              GA   30108‐3371
JERLEAN NELSON        2665 MORNING WOODS DR                                                                                       CORDOVA             TN   38016‐4763
JERLEEN COMBS         7060 LANORE ST                                                                                              WATERFORD           MI   48327‐3735
JERLENE ARMSTRONG     15652 PARK VILLAGE BLVD                                                                                     TAYLOR              MI   48180‐4860
JERLENE HICKMAN       APT 6                            4615 WHISPER LAKE DRIVE                                                    FLORISSANT          MO   63033‐4341
JERLES LUANN          1670 SIMPSON DR                                                                                             CLARKSVILLE         TN   37043‐4522
JERLES, DAVID         16031 BEECH DALY RD TRLR 132                                                                                TAYLOR              MI   48180‐5088
JERLES, DIANE         19450 FORT ST APT 203                                                                                       RIVERVIEW           MI   48193
JERLINE HOWELL        215 COUNTY ROAD 1145                                                                                        CULLMAN             AL   35057‐5315
JERLINE JOHNSON       26312 SUMMERDALE DR                                                                                         SOUTHFIELD          MI   48033‐2227
JERLINE JOHNSON       6432 WEST CENTER STREET                                                                                     MILWAUKEE           WI   53210‐1365
JERLINE LYNN          PO BOX 851468                                                                                               WESTLAND            MI   48185‐5468
JERLINE PARKER        2223 DEWEY ST                                                                                               ANDERSON            IN   46016‐3642
JERLINE PORTIS        8225 CARLIN ST                                                                                              DETROIT             MI   48228‐2734
JERLINE R JACOBS      2301 LADD ST                                                                                                JACKSON             MS   39209
JERLS JR, FLOYD M     12029 JUNIPER WAY APT 404A                                                                                  GRAND BLANC         MI   48439‐1752
JERLS, CAROL J        10081 NUGENT AVE NE                                                                                         ROCKFORD            MI   49341
JERLS, GARY D         773 NEAL HOWELL RD                                                                                          BOWLING GREEN       KY   42104‐7555
JERLS, RICHARD R      PO BOX 80692                                                                                                CHAMBLEE            GA   30366‐0692
JERLS, ROBERT F       320 THOMPSON CR.PK.RD                                                                                       DAWSONVILLE         GA   30534
JERLYN COOK           10044 ROSEMONT AVE                                                                                          DETROIT             MI   48228‐1108
JERLYN JACKSON        4605 GREENLAWN DR                                                                                           FLINT               MI   48504‐2088
JERMAIL CRAIG         PO BOX 13051                                                                                                FORT WAYNE          IN   46866‐3051
JERMAIN, GARY A       211 E STODDARD ST                                                                                           CHARLOTTE           MI   48813‐1538
JERMAINE BAKER        3670 DIXIE HWY                   N.E, LOT#33                                                                PALM BAY            FL   32905
JERMAINE DAVIS        13923 PAWNEE TRAILS DR                                                                                      CYPRESS             TX   77429‐4144
JERMAINE DIXON        500 ADAMS LANE 19X                                                                                          NO. BRUNSWICK       NJ   08902
JERMAINE GRIFFIN      276 FISHER AVE                                                                                              PONTIAC             MI   48341‐2416
JERMAINE HARRIS       4057 OVERBROOK DR                                                                                           GRAND LEDGE         MI   48837‐2406
JERMAINE L EPPS       22 RANDOLPH DR                                                                                              MOUNT HOLLY         NJ   08060
JERMAINE L SPENCER    49 OLDE ENGLISH DR                                                                                          ROMEOVILLE          IL   60446‐1685
JERMAINE PERKINS      701 JOHNS DR                                                                                                EULESS              TX   76039‐2623
JERMAINE SMITH        3336 ARLINGTON AVE                                                                                          SAINT LOUIS         MO   63120‐2136
JERMAINE STANFORD     23440 CHURCH ST                                                                                             OAK PARK            MI   48237‐2429
JERMAINE STEWART      110 BRENTLAWN DR                                                                                            SPRINGFIELD         TN   37172‐4104
JERMAINE THOMAS       42409 CLINTON PLACE DR                                                                                      CLINTON TWP         MI   48038‐1626
JERMAINNE L HUFF      713 GENEVA ROAD                                                                                             DAYTON              OH   45417‐1214
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Name                       Address1                            Address2               Address3   Address4               City            State   Zip
JERMALE D PITTMAN          3321 VALERIE ARMS DR                APT 302                                                  DAYTON           OH     45405‐2122
JERMALE HUTCHINSON         13108 BIG RIVER DR                                                                           LAKE ST LOUIS    MO     63367‐1982
JERMALOWICZ, RICHARD A     PO BOX 886                                                                                   DAVISON          MI     48423‐0886
JERMALOWICZ, RICHARD K     825 HOLLY BUSH DR                                                                            HOLLY            MI     48442‐1371
JERMAN L ABNEY             1372 KIMMEL LN.                                                                              DAYTON           OH     45418‐2000
JERMAN, THERESA            16336 SOUTH ELLNA COURT                                                                      PLAINFIELD        IL    60586‐9011
JERMANE AUSTIN             379 SIMONTON OAK LN                                                                          LAWRENCEVILLE    GA     30045‐3519
JERMANON, SUSAN LYNN       40893 DEERHORN RD                                                                            SPRINGFIELD      OR     97478‐9593
JERMANSKI, BARBARA A       565 FAIRFIELD AVE NW                                                                         GRAND RAPIDS     MI     49504‐4622
JERMANY JR, WADE           1937 GILMARTIN ST                                                                            FLINT            MI     48503‐4411
JERMANY, JESSIE M          1937 GILMARTIN ST                                                                            FLINT            MI     48503‐4411
JERMEAY LINDA M AND        KAHN AND ASSOCIATES                 55 PUBLIC SQ STE 650                                     CLEVELAND        OH     44113‐1909
JERMEAY, CARL D            11495 CARLETON RD                                                                            CLAYTON          MI     49235‐9739
JERMEL CARRUTH             1147 MULLIGAN CT SW                                                                          WYOMING          MI     49509‐9799
JERMEL TOMPKINS            1701 TOWNE CROSSING BLVD APT 1038                                                            MANSFIELD        TX     76063‐8959
JERMEY C SMITH             341 ROBBIE LN                                                                                FLINT            MI     48505‐2136
JERMOLOWICZ, MARIE L       PO BOX 80786                                                                                 ST CLAIR SHRS    MI     48080‐5786
JERMON, ROBERT M           11367 LAVENDER LANE                                                                          FRANKFORT         IL    60423‐7849
JERMONTOE M BOWERS         1327 CHARLES AVE                                                                             FLINT            MI     48505‐1719
JERMYN, NORMA M            5520 COUNTYLINE ROAD                                                                         MIDDLEPORT       NY     14105‐9631
JERN, MARY ANN             2736 SPRINGHILL DR                                                                           CORONA           CA     92882
JERN, ROBERT B             605 CRESTVIEW LOOP                                                                           GRANTS PASS      OR     97527‐5047
JERNAGAN, DALENE L         1404 NE 4TH ST                                                                               MOORE            OK     73160‐7871
JERNAGAN, JAMES M          1404 NE 4TH ST                                                                               MOORE            OK     73160‐7871
JERNAGAN, KATHY D          1222 W CARTER ST                                                                             KOKOMO           IN     46901‐5264
JERNAGAN, LYNN E           1222 W CARTER ST                                                                             KOKOMO           IN     46901‐5264
JERNAGAN, OGIE             5310 S GREENVILLE RD                                                                         GREENVILLE       MI     48838
JERNAGIN SR, ANTHONY       587 DESOTA PL                                                                                PONTIAC          MI     48342‐1616
JERNAGIN, DEWAYNE          486 MOONLIGHT DR                                                                             PONTIAC          MI     48340‐1672
JERNAGIN, DIANE L          PO BOX 180254                                                                                UTICA            MI     48318‐0254
JERNAGIN, INGRID D         497 S PADDOCK ST                                                                             PONTIAC          MI     48341‐3031
JERNAGIN, WILLIE L         645 KINNEY RD                                                                                PONTIAC          MI     48340‐2431
JERNAGIN, WILLIE LEE       587 DESOTA PLACE                                                                             PONTIAC          MI     48342‐1616
JERNALE YVETTE CHERRY      UNIT 23125 BOX 3452                                                                          APO              AE     09227
JERNBERG EVELYN J          PO BOX 141                                                                                   O BRIEN          OR     97534‐0141
JERNBERG INDUSTRIES INC    328 W 40TH PL                                                                                CHICAGO           IL    60609‐2815
JERNBERG SALES INC         328 W 40TH PL                                                                                CHICAGO           IL    60609‐2815
JERNBERG SALES INC         5194 PAYSPHERE CIR                                                                           CHICAGO           IL    60674‐0051
JERNBERG, EVELYN J         PO BOX 141                                                                                   O BRIEN          OR     97534‐0141
JERNBERG, SUSAN R          2110 CANADA RD                                                                               BAILEY           MI     49303‐9778
JERNEAL PARMER             23 PINE PARK ST                                                                              CHEEKTOWAGA      NY     14225
JERNEJA LONCAR             555 BRUSH ST APT 2801                                                                        DETROIT          MI     48226‐4358
JERNER MIKE                3203 PARADISE STREET                                                                         VERNON           TX     76384‐5124
JERNIGAN BURNS, JOSEPH     1482 BOWERS ST                                                                               BIRMINGHAM       MI     48009‐6881
JERNIGAN JR., HOSEA        16540 HUBBELL ST                                                                             DETROIT          MI     48235‐4029
JERNIGAN MARK T            123 W ELWOOD AVE                                                                             RAEFORD          NC     28376‐2801
JERNIGAN, ABRON            5 PAR CT                                                                                     MANSFIELD        TX     76063‐3484
JERNIGAN, ALVIN E          3189 WATERVIEW DR SW                                                                         SUPPLY           NC     28462‐5227
JERNIGAN, BEN W            138 FAIRLANE CIR                                                                             SWEETWATER       TN     37874‐1170
JERNIGAN, BETTY B          2732 DE MONTMOLLIN RD                                                                        PLANT CITY       FL     33565‐5002
JERNIGAN, CARL
JERNIGAN, CEDRIC C         PO BOX 607                                                                                   YANCEYVILLE      NC     27379‐0607
JERNIGAN, CONNIE P         6421 JENNIE LN                                                                               ARLINGTON        TX     76002‐5513
JERNIGAN, CONNIE PATRICE   6421 JENNIE LN                                                                               ARLINGTON        TX     76002‐5513
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Name                      Address1                            Address2                     Address3               Address4                  City               State   Zip
JERNIGAN, DELBERT W       1354 LAMONT ST                                                                                                    SAGINAW             MI     48601‐6626
JERNIGAN, DELBERT W       1354 LAMONT STREET                                                                                                SAGINAW             MI     48601‐6626
JERNIGAN, EDDIE           3455 WILLIAMSON RD                                                                                                SAGINAW             MI     48601‐5664
JERNIGAN, ELBERT L        4868 BARR RD                                                                                                      CANTON              MI     48188‐2102
JERNIGAN, ELVA E          30344 LORAIN RD APT 133                                                                                           NORTH OLMSTED       OH     44070‐3969
JERNIGAN, ELVA E          30344 LORAIN RD                     APT 133                                                                       NORTH OLMSTED       OH     44070
JERNIGAN, EUNICE S        19625 HWY 216                                                                                                     ABERNANT            AL     35490
JERNIGAN, FRANKIE L       527 DEER CLIFF RUN                                                                                                FORT WAYNE          IN     46804‐3557
JERNIGAN, GARY D          2165 INDIAN LAKE RD                                                                                               NATIONAL CITY       MI     48748‐9512
JERNIGAN, JANET D         4606 FIREWHEEL DR                                                                                                 GARLAND             TX     75044‐5105
JERNIGAN, JEAN            24441 MULBERRY DR                                                                                                 SOUTHFIELD          MI     48034‐3156
JERNIGAN, JEFFREY
JERNIGAN, JOE B           2909 KINGFISH DR                                                                                                  SHREVEPORT         LA      71119‐3419
JERNIGAN, JOE BENNY       2909 KINGFISH DR                                                                                                  SHREVEPORT         LA      71119‐3419
JERNIGAN, JOHN M          SCOCA ANNETTE LAW OFFICES OF        PO BOX 1649                                                                   BLOOMFIELD         NJ      07003‐1649
JERNIGAN, JOHNNY D        1912 MENEFEE STREET                                                                                               ARLINGTON          TX      76010‐2128
JERNIGAN, JOHNNY D        244 W PIONEER PKWY APT 212                                                                                        ARLINGTON          TX      76010‐6127
JERNIGAN, JOSEPH C        1482 BOWERS ST                                                                                                    BIRMINGHAM         MI      48009‐6881
JERNIGAN, KEVIN L         9292 LOCUST ST                                                                                                    FOSTORIA           MI      48435‐9525
JERNIGAN, MALCOLM L       2904 PANAMA CIR                                                                                                   LILLIAN            AL      36549‐5231
JERNIGAN, MELVIN          7800 PIERSON                                                                                                      DETROIT            MI      48228
JERNIGAN, PATRICIA A      6324 KENWOOD DR                                                                                                   SHREVEPORT         LA      71119‐6232
JERNIGAN, PEGGY           9738 STATE HIGHWAY 104                                                                                            FAIRHOPE           AL      36532‐4324
JERNIGAN, TAL A           538 CEDARHURST AVENUE                                                                                             DAYTON             OH      45402‐5510
JERNIGAN, TIMI L          1776 HOPEWELL AVE                                                                                                 DAYTON             OH      45418‐2245
JERNIGAN, TIMI LARS       1776 HOPEWELL AVE                                                                                                 DAYTON             OH      45418‐2245
JERNIGAN, TONY T          1341 CLIFTON ST NW APT 301                                                                                        WASHINGTON         DC      20009
JERNIGAN, WILBERT         BEASLEY ALLEN CROW METHVIN PORTIS & PO BOX 4160                                                                   MONTGOMERY         AL      36103‐4160
                          MILES
JERNSTROM, MARY T         1050 WINDANCE DR                                                                                                  MC DONALD          PA      15057
JERO, GENEVIEVE           1260 CHANCELLOR DR                                                                                                HOLIDAY            FL      34690‐6457
JEROD D FELTNER           360 BISHEA CT                                                                                                     FAIRBORN           OH      45324
JEROD FISH                5021 CLARKSTON RD                                                                                                 CLARKSTON          MI      48348‐3804
JEROD LONG                23003 WATERVIEW DR                                                                                                NEW BOSTON         MI      48164‐7807
JEROELYNN WILLIS          1585 E 13 MILE RD 108                                                                                             MADISON HEIGHTS    MI      48071

JEROEN DE TEMMERMAN       HAVENLAAN 12                        1080 BRUSSELS                BELGIUM
JEROEN LOUTER             JULIANAWEG 71A                                                                          1949 AP WIJK AAN ZEE
                                                                                                                  NETHERLAND
JEROEN QUAEGEBEUR         341 WEST 12TH STREET                                                                                              NEW YORK            NY     10014‐1721
JEROID DAMRON             158 BALTUSROL RD                                                                                                  CROSSVILLE          TN     38558‐7739
JEROL HAMILTON            170 RICE LN                                                                                                       SPRINGVILLE         TN     38256‐4453
JEROLD & BARBARA HAMMER   JEROLD J HAMMER, BARBARA G HAMMER JEROLD & BARBARA HAMMER TRUST 5240 E REDONDA CIRCLE                             IDAHO FALLS         ID     83406
                          TTEES
JEROLD ALLEN              4965 COUNTY ROAD 214                                                                                              KEYSTONE HEIGHTS    FL     32656‐9722

JEROLD BERRY              851 MUIRFIELD CIR                                                                                                 BOWLING GREEN      KY      42104‐5547
JEROLD BLAKEY             2864 YORK RD                                                                                                      ROCHESTER HILLS    MI      48309‐3131
JEROLD COOK               224 PONDEROSA TRL S                                                                                               BELLEVILLE         MI      48111‐5407
JEROLD CRUM SR            6906 STATE ROUTE 269 S                                                                                            CASTALIA           OH      44824‐9772
JEROLD DEYOUNG            1003 N SUNNYVALE LN UNIT G                                                                                        MADISON            WI      53713‐3354
JEROLD DIEHL              1460 S AIRPORT RD                                                                                                 SAGINAW            MI      48601‐9484
JEROLD FREEMAN            306 STONER DR                                                                                                     ANDERSON           IN      46013‐3752
JEROLD GILMORE            187 NORTH AVE                                                                                                     HILTON             NY      14468‐9502
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Name                           Address1                            Address2                        Address3          Address4                    City               State   Zip
JEROLD GROENEVELD              1768 143RD AVE                                                                                                    DORR                MI     49323‐9750
JEROLD HIGBEA                  2377 DOMERSVILLE RD                                                                                               DEFIANCE            OH     43512‐9115
JEROLD HUGHES                  7312 KEYES RD                                                                                                     BELLEVUE            MI     49021‐9205
JEROLD KAPLAN LAW OFFICE       ACCT OF WILLIAM ANDREAS             330 1ST AVENUE                                                                PHOENIX             AZ     53548
JEROLD L SMITH                 NIX, PATTERSON & ROACH LLP          GM BANKRUPTCY DEPARTMENT        205 LINDA DRIVE                               DAINGERFIELD        TX     75638
JEROLD LA ROSA                 98 QUAY DR                                                                                                        ROCHESTER           NY     14617‐1641
JEROLD LEIBACHER               518 BARDWELL RD                                                                                                   CASTALIA            OH     44824‐9740
JEROLD LOOF                    1492 N 125 W                                                                                                      SUNSET              UT     84015‐2860
JEROLD LUNDGREN                1215 WISTERIA DR                                                                                                  ANN ARBOR           MI     48104‐4641
JEROLD MILLER                  11011 ELDERBERRY DR                                                                                               PORT RICHEY         FL     34668‐2304
JEROLD MOCK                    81 DRIFTWOOD DR                                                                                                   GRAND ISLAND        NY     14072‐1812
JEROLD P JOHNSON               3108 CHRIS COURT                                                                                                  KOKOMO              IN     46902
JEROLD Q HEROD                 6303 FRANCIS ST                                                                                                   CLEVELAND           OH     44127‐1320
JEROLD STENBERG                KELLER, FISHBACK & JACKSON LLP      18425 BURBANK BLVD, STE 610                                                   TARZANA             CA     91356
JEROLD STENBERG                C/O KELLER FISHBACK & JACKSON LLP   18425 BURBANK BLVD STE 610                                                    TARZANA             CA     91356
JEROLD W DEYOUNG               1003 N SUNNYVALE LN UNIT G                                                                                        MADISON             WI     53713‐3354
JEROLD WECKSTEIN               25121 W ROYCOURT                                                                                                  HUNTINGTON          MI     48070‐1743
                                                                                                                                                 WOODS
JEROLD WILLIAMS                2240 S RANGE RD                                                                                                   SAINT CLAIR        MI      48079‐4106
JEROLEAN HAFLER                13927 PILCHER DR                                                                                                  CHARLOTTE          NC      28278‐7252
JEROLEE MYERS                  4340 W 250 S                                                                                                      RUSSIAVILLE        IN      46979‐9454
JEROLENE HERPEL                12392 MOORISH RD                                                                                                  BIRCH RUN          MI      48415‐8581
JEROLYN H HANSON               3851 BRANDOMYNE                                                                                                   YOUNGSTOWN         OH      44511‐1917
JEROLYN HANSON                 3851 BRANDOMYNE AVE                                                                                               YOUNGSTOWN         OH      44511‐1917
JEROLYN TOLBERT                120 SEWARD ST APT 203                                                                                             DETROIT            MI      48202‐4448
JEROME ( BOGLE                 20279 EMERY RD                                                                                                    NORTH RANDALL      OH      44128‐4122
JEROME A BATTISTI              8457 CRYSTAL DR.                                                                                                  BOARDMAN           OH      44512‐6546
JEROME A HANT                  C/O NATIONAL DECORATING SERV        2210 CAMDEN CT                                                                OAK BROOK          IL      60523
JEROME A HART                  C/O NATIONAL DECORATING SERV        2210 CAMDEN CT                                                                OAK BROOK          FL      60523
JEROME A HEIDER                17 ALLEGANY AVE                                                                                                   BUFFALO            NY      14217
JEROME A KISKADDEN             2375 SILVER FOX LANE                                                                                              WARREN             OH      44484‐1146
JEROME A LANE                  5900 BRIDGE RD APT 215                                                                                            YPSILANTI          MI      48197‐7010
JEROME A MOORE                 ACCT OF CHESLEY WOODARD             14950 E JEFFERSON AVE STE 170                                                 GROSSE POINTE      MI      48230
                                                                                                                                                 PARK
JEROME A NADZAN                5012 HOAGLAND BLACKSTUB RD                                                                                        CORTLAND           OH      44410
JEROME A RUNG JR               101 PARKEDGE AVE                                                                                                  TONAWANDA          NY      14150‐7729
JEROME A SWIGART               515 HASKINS AVE.                                                                                                  DAYTON             OH      45420‐2355
JEROME A. WEINSTEIN            30300 NORTHWESTERN HIGHWAY, SUITE                                                                                 FARMINGTON HILLS   MI      48334‐3255
                               316
JEROME AARON                   6846 E LAKE RD                                                                                                    CASTILE             NY     14427‐9510
JEROME ACORD                   45978 RIVERVIEW CT                                                                                                MACOMB              MI     48044‐4220
JEROME ADAMS                   221 E PASADENA AVE                                                                                                FLINT               MI     48505‐4245
JEROME AKROMAS                 17 WILLOW GREEN DR                                                                                                AMHERST             NY     14228‐3421
JEROME ALFORD                  562 S 400 E                                                                                                       IVINS               UT     84738‐5021
JEROME ALTER                   7225 MODENA DR                                                                                                    BOYNTON BEACH       FL     33437
JEROME AMMERMAN                5135 DURWOOD DR                                                                                                   SWARTZ CREEK        MI     48473‐1123
JEROME AND SABINE BROWNSTEIN   APARTDO 417                                                                           SANTA EULALIA IBIZA 07840
                                                                                                                     SPAIN
JEROME ANDZELIK III            3601 WINDSONG DR                                                                                                  MEDINA             OH      44256‐6769
JEROME ARNOLD                  5256 FIELDGREEN XING                                                                                              STONE MTN          GA      30088‐3133
JEROME ARTIS                   3178 CORALENE DR                                                                                                  FLINT              MI      48504‐1212
JEROME AUGER JR                17822 PRIMERA RD                                                                                                  HARLINGEN          TX      78552‐2733
JEROME AUGUST                  5 ROYAL TROON                                                                                                     SPRINGBORO         OH      45066‐8900
JEROME B BAUMAN                14 MUSKET LA                                                                                                      ROCHESTER          NY      14624‐4962
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Name                        Address1                          Address2                    Address3                     Address4               City            State   Zip
JEROME B GERRIB             120 WASHINGTON AVE                                                                                                WESTVILLE         IL    61883‐1468
JEROME BACA                 10332 ROBB CT                                                                                                     BROOMFIELD       CO     80021‐6637
JEROME BAILEY               1057 W MARTIN ST                                                                                                  E PALESTINE      OH     44413‐1343
JEROME BALLARD              10275 BENTON RD                                                                                                   GRAND LEDGE      MI     48837‐9727
JEROME BALLARD              11095 STONEY BROOK DR                                                                                             GRAND LEDGE      MI     48837‐9185
JEROME BALLMANN             1749 FOREST TRACE DR                                                                                              O FALLON         MO     63368‐6810
JEROME BALTIMORE            1081 KEYWAY RD                                                                                                    ENGLEWOOD        FL     34223‐1834
JEROME BANASZAK             1547 WOODFIELD WAY                                                                                                THE VILLAGES     FL     32162‐8720
JEROME BARNARD              2440 COLVIN BLVD                                                                                                  TONAWANDA        NY     14150‐4417
JEROME BARNES               PO BOX 2461                                                                                                       JONESBORO        GA     30237‐2461
JEROME BARTON               10811 17 MILE RD NE                                                                                               CEDAR SPRINGS    MI     49319‐9219
JEROME BARTON               1040 MILLER RD                                                                                                    RILEY            MI     48041‐2807
JEROME BARYLSKI             7093 GALLATIN DR                                                                                                  DAVISON          MI     48423‐2331
JEROME BATSON               2302 WINONA ST                                                                                                    FLINT            MI     48504‐7107
JEROME BAUGH                45851 RIVERWOODS DR                                                                                               MACOMB           MI     48044‐5788
JEROME BEAMAN SR            C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                                       HOUSTON          TX     77007
                            BOUNDAS LLP
JEROME BECK                 5743 TIFFANY CT                                                                                                   YPSILANTI       MI      48197‐7508
JEROME BELDING              961 HANNAFIELD CT                                                                                                 MANCHESTER      MO      63021‐5326
JEROME BELLEFEUILLE         255 ELECTA DR                                                                                                     ORTONVILLE      MI      48462‐9285
JEROME BENDELE              16445 ROAD 27                                                                                                     FORT JENNINGS   OH      45844‐8839
JEROME BETTIS ENTERPRISES   2615 12 MILE RD                                                                                                   BERKLEY         MI      48072‐1627
JEROME BILLINGS             14477 LONGTIN ST                                                                                                  SOUTHGATE       MI      48195‐1955
JEROME BISKUPSKI            2106 26TH ST                                                                                                      BAY CITY        MI      48708‐8134
JEROME BISSONNETTE JR       8162 FRANCES RD                                                                                                   OTISVILLE       MI      48463‐9422
JEROME BOGUS                2070 RAY RD                                                                                                       OXFORD          MI      48370‐2047
JEROME BOLLIG               14223 WINCHESTER CT                                                                                               ORLAND PARK     IL      60467‐1151
JEROME BONEY                815 HEATHERDALE CT APT 101                                                                                        AUBURN HILLS    MI      48326‐4548
JEROME BOOKER               PO BOX 7151                                                                                                       ARLINGTON       TX      76005‐7151
JEROME BORYSIAK             5467 SUDER AVE                                                                                                    TOLEDO          OH      43611‐1462
JEROME BOWENS               19498 MANOR ST                                                                                                    DETROIT         MI      48221‐1406
JEROME BOYD                 7 SEA PINES CT                                                                                                    O FALLON        MO      63368‐6687
JEROME BOYETT               744 HAMPSHIRE DR                                                                                                  BURLESON        TX      76028‐4016
JEROME BRACKETT             9409 LYTHAM DR                                                                                                    SHREVEPORT      LA      71129‐4825
JEROME BRADLEY              17701 108TH AVE SE                                                                                                RENTON          WA      98055‐6448
JEROME BRADLEY              3627 NORWOOD DR                                                                                                   FLINT           MI      48503‐2325
JEROME BRAND                PO BOX 250                                                                                                        DEPEW           NY      14043‐0250
JEROME BROWN                38 WAYNE ST                                                                                                       VERSAILLES      OH      45380‐1348
JEROME BROWN                2220 N US 23                                                                                                      HARRISVILLE     MI      48740‐9776
JEROME BRUNELL              PO BOX 1205                                                                                                       MARICOPA        AZ      85239‐0377
JEROME BRYLSKI              102 LEYDECKER RD                                                                                                  BUFFALO         NY      14224‐4518
JEROME BUCKLEY              2190 HEMMETER RD                                                                                                  SAGINAW         MI      48603‐3953
JEROME BUCKLEY              PO BOX 210272                                                                                                     AUBURN HILLS    MI      48321‐0272
JEROME BUKIEWICZ            W11652 COUNTY ROAD D                                                                                              HOLCOMBE        WI      54745‐9605
JEROME BUKOWIEC             3062 ARENAC STATE RD                                                                                              STANDISH        MI      48658‐9715
JEROME BURNETT              1914 CASTLE LN                                                                                                    FLINT           MI      48504‐2012
JEROME BURTON               1168 WINDSOR ST                                                                                                   FLINT           MI      48507‐4259
JEROME BURTON               2623 FUJIAMA DR                                                                                                   CLEARWATER      FL      33764‐1020
JEROME BURZYNSKI            2155 WETTERS RD                                                                                                   KAWKAWLIN       MI      48631‐9411
JEROME BUTT                 8016 ESCALON AVE                                                                                                  PASADENA        MD      21122‐1279
JEROME BUTT                 LAW OFFICES OF PETER G. ANGELOS   100 NORTH CHARLES STREET    22ND STREET                                         BALTIMORE       MD      21201
JEROME C ASAY               ATTN: ROBERT W PHILLIPS           SIMMONS BROWDER GIANARIS    707 BERKSHIRE BLVD, PO BOX                          EAST ALTON      IL      62024
                                                              ANGELIDES & BARNERD LLC     521
JEROME C JAKUBOWSKI         20456 TULLIO ST                                                                                                   CLINTON TWP      MI     48035‐5103
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Name                             Address1                        Address2                     Address3   Address4               City             State Zip
JEROME C MCGEE                   756 EAST MAIN STREET                                                                           ROCHESTER         NY 14605‐2700
JEROME C MILLENDER               PO BOX 321253                                                                                  FLINT             MI 48532‐0022
JEROME C ROBINSON                1075 COPLIN ST                                                                                 DETROIT           MI 48215
JEROME C RYAN                    3059 WINDMILL DR                                                                               BEAVERCREEK       OH 45432
JEROME C SANDERS                 4603 KAMMER AVE                                                                                DAYTON            OH 45417‐1135
JEROME CALE                      6317 N CHARLESWORTH ST                                                                         DEARBORN HEIGHTS MI 48127‐3921

JEROME CARLYSLE SR               1030 DERAMUS ST                                                                                PRATTVILLE        AL   36066‐5810
JEROME CARTER                    355 W HANNA AVE                                                                                INDIANAPOLIS      IN   46217‐5107
JEROME CARTWRIGHT                5815 S 174TH ST                                                                                OMAHA             NE   68135‐2807
JEROME CASPER                    4401 ZIEGLER ST                                                                                DEARBORN HTS      MI   48125‐3141
JEROME CELMER                    51044 BALTREE DR                                                                               SHELBY TOWNSHIP   MI   48316‐4520
JEROME CHAMBERS                  2800 BEEBE RD                                                                                  NEWFANE           NY   14108‐9630
JEROME CHAPMAN                   PO BOX 5224                                                                                    FLINT             MI   48505‐0224
JEROME CHARLES                   2754 GROVENBURG RD                                                                             LANSING           MI   48911‐6459
JEROME CHAUMLEY                  485 FERRY AVE                                                                                  PONTIAC           MI   48341‐3316
JEROME CHESTER                   4118 FULLER LN                                                                                 BRIDGETON         MO   63044‐3429
JEROME CHLEBUS                   4169 E OAKLEY RD                                                                               HARRISON          MI   48625‐8304
JEROME CHMIELEWSKI               4472 CASPER                                                                                    DETROIT           MI   48210
JEROME CIESLINSKI                2785 SEMINOLE CT                                                                               BAY CITY          MI   48708‐8465
JEROME CLARK                     1050 ARGYLE AVE                                                                                PONTIAC           MI   48341‐2303
JEROME CLARK JR                  33337 JANET                                                                                    FRASER            MI   48026‐4306
JEROME COBB                      PO BOX 155                                                                                     ROMEO             MI   48065‐0155
JEROME COBB                      19901 PREVOST ST                                                                               DETROIT           MI   48235‐2342
JEROME COLITON                   684 WOODHAVEN DR                                                                               COMMERCE TWP      MI   48390‐5806
JEROME COLLIER                   3864 WINTHROP AVE                                                                              INDIANAPOLIS      IN   46205‐2830
JEROME COOK JR                   234 GREEN MEADOWS DR                                                                           LANSING           MI   48917‐3027
JEROME COOKSEY                   260 CHARLES LN                                                                                 PONTIAC           MI   48341‐2929
JEROME COSBY                     503 PORTAGE PATH                                                                               SPRINGFIELD       OH   45506‐3019
JEROME COSTA JR                  1408 ZOLLMAN AVE                                                                               BEDFORD           IN   47421‐5054
JEROME COUNTY TAX COLLECTOR      300 N LINCOLN AVE STE 209                                                                      JEROME            ID   83338‐2344
JEROME COWART                    1320 MCCARTNEY LN                                                                              COLUMBUS          OH   43229‐8912
JEROME COX                       429 LILLY VIEW CT                                                                              HOWELL            MI   48843‐6514
JEROME CRAFT                     668 N MAIN ST APT 303                                                                          ROCHESTER         MI   48307‐1469
JEROME CROSSON                   3468 BEDFORD ST                                                                                DETROIT           MI   48224‐3615
JEROME CRUM                      PO BOX 182941                                                                                  ARLINGTON         TX   76096‐2941
JEROME CSIRE                     5606 MERKLE AVE                                                                                PARMA             OH   44129‐1511
JEROME CSIRE                     BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.       OH   44236
JEROME CUNNINGHAM                189 COLUMBIA DR                                                                                KEARNEYSVILLE     WV   25430‐6404
JEROME CYNAMON                   1056 OLYMPIA ROAD                                                                              N BELLMORE        NY   11710
JEROME D BURGESS                 24 JUDSON TERRACE                                                                              ROCHESTER         NY   14611‐3108
JEROME D FLAYLER                 117 N 2ND ST                                                                                   TIPP CITY         OH   45371‐1907
JEROME D GIVENS                  1049 RIVER HILL DR                                                                             FLINT             MI   48532‐2870
JEROME D LUCIANO                 49 SPILLWAY CT                                                                                 MARTINSBURG       WV   25405‐6394
JEROME D RUTLEDGE II             888 PALLISTER ST APT 613                                                                       DETROIT           MI   48202‐2672
JEROME D RYAN                    808 STEWVILLE DR                                                                               VANDALIA          OH   45377‐1347
JEROME D WHITACRE                1164 SOUTH ALEX RD                                                                             W CARROLLTON      OH   45449‐2112
JEROME D ZINK                    220 SUTTMAN ST                                                                                 MIAMISBURG        OH   45342‐2971
JEROME D'ANNUNZIO                2713 BAZETTA RD NE                                                                             WARREN            OH   44481‐9351
JEROME DANELS                    1718 MOORESVILLE PIKE                                                                          CULLEOKA          TN   38451‐2729
JEROME DANIEL                    3931 FAIRSMITH ST                                                                              DAYTON            OH   45416‐1943
JEROME DANIELS                   19356 HAMBURG ST                                                                               DETROIT           MI   48205‐2167
JEROME DANTZLER                  241 MOSELLE ST                                                                                 BUFFALO           NY   14211‐1644
JEROME DATTILO & HELEN DATTILO   12 GRACELAND WAY                                                                               JEFFERSONVILLE    IN   47130‐5266
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Name                 Address1                       Address2                     Address3   Address4               City              State   Zip
JEROME DAVID         302 P.R. 4297                                                                                 CLIFTON            TX     76634
JEROME DAVIDSON      5621 COLGATE AVE                                                                              AUSTINTOWN         OH     44515‐4141
JEROME DAVIS         4945 BIRCH RUN RD                                                                             BIRCH RUN          MI     48415‐8509
JEROME DAVIS         1304 IROQUOIS AVE                                                                             PRUDENVILLE        MI     48651‐9737
JEROME DAVIS         13516 ALSTON DR                                                                               FISHERS            IN     46037‐6231
JEROME DAWES         9991 SHIPMAN RD                                                                               CORUNNA            MI     48817‐9788
JEROME DE SHA        9073 SE 136TH LOOP                                                                            SUMMERFIELD        FL     34491‐7977
JEROME DEFORD        517 GUIDE RD                                                                                  TABOR CITY         NC     28463‐9433
JEROME DEISE         4300 CARDWELL AVE APT 305                                                                     BALTIMORE          MD     21236‐4019
JEROME DENNY JR      4048 SCOTWOOD DR                                                                              NASHVILLE          TN     37211‐3520
JEROME DESILVA       624 OCEAN LAKES DR                                                                            VIRGINIA BEACH     VA     23454‐6802
JEROME DI PONIO      827 PUEBLO                                                                                    MILFORD            MI     48381‐2974
JEROME DICKERSON     PO BOX 517                                                                                    PLAIN DEALING      LA     71064‐0517
JEROME DIKOS         6342 E PIERSON RD                                                                             FLINT              MI     48506‐2256
JEROME DINGES        721 LONGVIEW DR                                                                               SAINT CHARLES      MO     63301‐0718
JEROME DINGMAN       450 NEIL CIR                                                                                  MORRISTOWN         TN     37814‐2122
JEROME DIXON         10258 YOSEMITE LN                                                                             INDIANAPOLIS       IN     46234‐9821
JEROME DOERR         6810 BURMA RD                                                                                 WATERFORD          WI     53185‐1863
JEROME DOMINICK      4239 CLAY AVE                                                                                 SAINT LOUIS        MO     63115‐3028
JEROME DRAKE         1848 MATTEONI DR                                                                              SPARKS             NV     89434‐2400
JEROME DUDEK         8194 MARSHALL RD                                                                              BIRCH RUN          MI     48415‐8730
JEROME DUDZIAK       669 CREEKSIDE DR                                                                              ALDEN              NY     14004‐9556
JEROME DUKES         11375 WARD ST APT 1                                                                           DETROIT            MI     48227‐5749
JEROME DUMANOIS JR   PO BOX 63                                                                                     BAY PORT           MI     48720‐0063
JEROME DUNSMORE      3127 S M 66 HWY                                                                               MANCELONA          MI     49659‐7854
JEROME DURHAM        4550 CHASE CT                                                                                 GRAND PRAIRIE      TX     75052‐2904
JEROME DYE           790 GATES AVE                                                                                 YPSILANTI          MI     48198‐6150
JEROME E CHIZMAR     115 WOODFIELD DR.                                                                             GREENVILLE         PA     16125
JEROME E DORFMAN     68 GOLFVIEW CIRCLE                                                                            UMATILLA           FL     32784
JEROME E DOWE        888 PALLISTER ST APT 203                                                                      DETROIT            MI     48202‐2670
JEROME E HOELSCHER   8061 BEECHWOOD BLVD                                                                           DEXTER             MI     48130
JEROME E MIODRAG     7909 KANE RD                                                                                  TRANSFER           PA     16154
JEROME E SANDER      1700 ROSE DR                                                                                  COLUMBIA           MO     65202‐3233
JEROME E WATEROUS    9297 LANCASTER RD                                                                             LAINGSBURG         MI     48848‐9221
JEROME EICHBAUER     53312 HAWALD DR                                                                               SHELBY TOWNSHIP    MI     48316‐3759
JEROME ELLIOTT       1750 TORIA RD                                                                                 COLUMBIA           KY     42728‐8116
JEROME ELPS          1495 REYNOLDS RD SW                                                                           ATLANTA            GA     30331‐7505
JEROME ENRIQUEZ      641 W MARENGO AVE                                                                             FLINT              MI     48505‐6315
JEROME ERICKSON      6 MARSHALL PL                                                                                 JANESVILLE         WI     53545‐4031
JEROME ERNAY         38 NUTMEG LN                                                                                  LEVITTOWN          PA     19054‐3412
JEROME EVANS         2573 SHINNECOCK CT                                                                            MURFREESBORO       TN     37127‐8390
JEROME F WINER       6092 MYRTLE AVE                                                                               FLUSHING           MI     48433‐2326
JEROME FALTER        418 COUNTY ROAD 525                                                                           FREEBURG           MO     65035‐2415
JEROME FARBER        7802 LAKESIDE BLVD APT 734                                                                    BOCA RATON         FL     33434
JEROME FARBER        7802 LAKESIDE BLVD             APT 734                                                        BOCA RATON         FL     33434
JEROME FARMER        10131 222ND ST                                                                                QUEENS VLG         NY     11429‐1661
JEROME FARR          220 # 11C WEST SAGINAW                                                                        GRAND LEDGE        MI     48837
JEROME FARR          1549 JACOBS RD                                                                                COLUMBIA           TN     38401‐1358
JEROME FEDORISIN     3811 NUTCRACKER CT                                                                            OXFORD             MI     48370‐2528
JEROME FEINAUER      3083 CREEKWOOD CIR                                                                            BAY CITY           MI     48706‐5623
JEROME FERRIS        593 HIGHWAY DD                                                                                DEFIANCE           MO     63341‐2311
JEROME FIELDS        1345 RANSOM RD APT 3                                                                          GRAND ISLAND       NY     14072‐1438
JEROME FIELDS        C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                                     HOUSTON            TX     77007
                     BOUNDAS, LLP
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Name                 Address1                        Address2                     Address3   Address4               City               State   Zip
JEROME FINNEY        2550 N RIVER RD                                                                                SAGINAW             MI     48609‐9306
JEROME FISCHER       1404 CARRIAGE DR                                                                               TECUMSEH            MI     49286‐7736
JEROME FITZPATRICK   4228 LAMAR DR                                                                                  DEL CITY            OK     73115‐4416
JEROME FLAYLER       117 N 2ND ST                                                                                   TIPP CITY           OH     45371‐1907
JEROME FLEMING       C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                      HOUSTON             TX     77007
                     BOUNDAS LLP
JEROME FLESCH        2116 S PALM ST                                                                                 JANESVILLE         WI      53546‐6117
JEROME FLYNN         PO BOX 4                                                                                       LAINGSBURG         MI      48848‐0004
JEROME FORTIN        10060 S LEER RD                                                                                POSEN              MI      49776‐9019
JEROME FOSTER        2110 OVERHILL DR                                                                               BIRMINGHAM         AL      35214‐1949
JEROME FOX           3925 LIMERICK CIR                                                                              LANSING            MI      48911‐2527
JEROME FRANKLIN      842 STILES AVE                                                                                 YOUNGSTOWN         OH      44505‐3717
JEROME FREIBERGER    404 KOCH AVE                                                                                   VANDALIA           OH      45377‐1923
JEROME FREY          10509 THORNVIEW DR                                                                             SHARONVILLE        OH      45241‐3030
JEROME FRYDRYCK SR   1049 CANDACE LN                                                                                MADISON HEIGHTS    MI      48071‐2323

JEROME G DOERR       6810 BURMA RD                                                                                  WATERFORD          WI      53185‐‐ 18
JEROME G HOWARD      416 OXFORD                                                                                     DAYTON             OH      45407‐1801
JEROME GAJDA         6722 LEONARD DR                                                                                DARIEN             IL      60561‐3845
JEROME GARITTA       1410 NASH AVE                                                                                  BRICK              NJ      08724‐2310
JEROME GEORGE        15848 BARNES DR                                                                                BELLE CENTER       OH      43310‐9774
JEROME GEORGE        100 S JEFFERSON AVE STE 102                                                                    SAGINAW            MI      48607
JEROME GERRIB        120 WASHINGTON AVE                                                                             WESTVILLE          IL      61883‐1468
JEROME GERSCHUTZ     BOX 14 327 MARION                                                                              HOLGATE            OH      43527
JEROME GHOLSTON      5252 SCENICVUE DR                                                                              FLINT              MI      48532‐2356
JEROME GIBBS         PO BOX 250214                                                                                  W BLOOMFIELD       MI      48325‐0214
JEROME GIESIGE       2070 E MAIN ST                                                                                 OTTAWA             OH      45875‐1653
JEROME GILBRIDE      33359 BAINBRIDGE RD                                                                            NORTH RIDGEVILLE   OH      44039‐4139

JEROME GILLES        10217 MEADOW CREST CT                                                                          HOLLY              MI      48442‐9344
JEROME GILLIGAN      2843 LEIBY OSBORNE RD                                                                          SOUTHINGTON        OH      44470‐9502
JEROME GILMORE       1226 WALTERS AVE                                                                               BALTIMORE          MD      21239‐2826
JEROME GINGELLO      PO BOX 16454                                                                                   ROCHESTER          NY      14616‐0454
JEROME GIVENS        1049 RIVER HILL DR                                                                             FLINT              MI      48532‐2870
JEROME GLUECK        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH      44236
JEROME GORDON        3059 PINEGATE DR.                                                                              FLUSHING           MI      48433‐2472
JEROME GORSKI        W314S8134 WHITMORE RD                                                                          MUKWONAGO          WI      53149‐9233
JEROME GORSKI        10 WOODCREST BLVD                                                                              TONAWANDA          NY      14223‐1317
JEROME GRABOWSKI     1701 BRICKHOUSE LN                                                                             FALLSTON           MD      21047‐1810
JEROME GRABOWSKI     59 FAIROAKS LN                                                                                 CHEEKTOWAGA        NY      14227‐1324
JEROME GRAHAM        15222 NORTHGATE BLVD APT 202                                                                   OAK PARK           MI      48237‐1231
JEROME GRALEWSKI     114 TERRENCE DR                                                                                MANOR              PA      15665‐9707
JEROME GRAMMAS       2105 BROOK HAVEN DR.                                                                           LEAGUE CITY        TX      77573
JEROME GRASSO        156 BANK ST                                                                                    BATAVIA            NY      14020‐2216
JEROME GRAVES        19630 FORT ST APT 103                                                                          RIVERVIEW          MI      48193‐6754
JEROME GRAY          15348 GREENWOOD RD                                                                             DOLTON             IL      60419‐2833
JEROME GRODE         8591 SPEEDWAY DR                                                                               SHELBY TOWNSHIP    MI      48317‐3346
JEROME GROSS         748 HEMINGWAY DR                                                                               STANTON            MI      48888‐9430
JEROME GROULX        2288 N GARFIELD RD                                                                             PINCONNING         MI      48650‐9443
JEROME GUST          1142 YUBA ST                                                                                   JANESVILLE         WI      53545‐1038
JEROME H DEMORETT    107 WEEPING WILLOW CIR                                                                         WAITE PARK         MN      56387
JEROME H HARTZELL    930 BAKER ROAD                                                                                 VERSAILLES         OH      45380‐9308
JEROME H HAYES       638 SEWARD ST                                                                                  DETROIT            MI      48202‐2410
JEROME H PIRTLE      3505 CASSIUS ST                                                                                FLINT              MI      48505
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Name                     Address1                          Address2                      Address3                    Address4               City              State   Zip
JEROME H SCHLENK         361 N AMERICAN BLVD                                                                                                VANDALIA           OH     45377‐2232
JEROME HAILEY            29095 FRANKLIN HILLS DR APT 207                                                                                    SOUTHFIELD         MI     48034‐1121
JEROME HALL              49132 KIMBERLY CT                                                                                                  MACOMB             MI     48042‐4838
JEROME HALL              6741 HOUGHTEN DR                                                                                                   TROY               MI     48098‐1766
JEROME HARRIS            7015 WADE PARK AVE                                                                                                 CLEVELAND          OH     44103‐2761
JEROME HART              12305 SEYMOUR RD                                                                                                   BURT               MI     48417‐2158
JEROME HARTLEY           456 EARLY RD                                                                                                       YOUNGSTOWN         OH     44505‐3951
JEROME HARTZELL          930 BAKER RD                                                                                                       VERSAILLES         OH     45380‐9308
JEROME HAWKINS           4103 CARBINE LN                                                                                                    LOUISVILLE         KY     40229
JEROME HEIDER            17 ALLEGANY AVE                                                                                                    KENMORE            NY     14217‐2008
JEROME HENDLER JR        426 W 3RD ST                                                                                                       ROCHESTER          MI     48307‐1912
JEROME HERRMANN          11025 KEYSTONE DR NE                                                                                               LOWELL             MI     49331‐9786
JEROME HILL              3950 SECOR RD                                                                                                      PETERSBURG         MI     49270‐9530
JEROME HILL              BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                                       BOSTON HTS.        OH     44236
JEROME HOCHENDONER       BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                                       BOSTON HTS.        OH     44236
JEROME HOHN              717 LELAND ST                                                                                                      FLINT              MI     48507‐2431
JEROME HOJNOWSKI         3150 HARTFORD CT                                                                                                   ROCHESTER HILLS    MI     48306‐2904
JEROME HORTON            12825 SANTA CLARA ST                                                                                               DETROIT            MI     48235‐1431
JEROME HOUSE             3145 BERTHA DR                                                                                                     SAGINAW            MI     48601‐6906
JEROME HOUTHOOFD JR      4874 W BAY CITY FORESTVILLE RD                                                                                     UNIONVILLE         MI     48767‐9476
JEROME HOWEY             111 GLANWORTH ST                                                                                                   LAKE ORION         MI     48362‐3403
JEROME HUDDLESTON        5572 KIRKRIDGE TRL                                                                                                 OAKLAND            MI     48306‐2266
                                                                                                                                            TOWNSHIP
JEROME HUDEPOHL          5962 WILLOW OAK LN                                                                                                 CINCINNATI        OH      45239‐6239
JEROME HUENE             751 KANE ST                                                                                                        CARLYLE           IL      62231‐1298
JEROME HUNLEY            38968 LOWELL CT                                                                                                    STERLING HTS      MI      48310‐3152
JEROME HUNTER            13370 FREEMANVILLE RD                                                                                              ALPHARETTA        GA      30004‐3749
JEROME HURD              30 HARNEYWOLD DR                                                                                                   SAINT LOUIS       MO      63136‐2402
JEROME HURST             2767 STONEBURY CT                                                                                                  ROCHESTER HILLS   MI      48307‐4557
JEROME I SYMBER          ATTN ROBERT W PHILLIPS            SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD PO BOX                          EAST ALTON        IL      62024
                                                           ANGELIDES & BARNERD LLC       521
JEROME ISAACS            9095 PINE TREE TRL                                                                                                 OCQUEOC           MI      49759‐9416
JEROME J BACA            10332 ROBB CT                                                                                                      BROOMFIELD        CO      80021‐6637
JEROME J BROWN           2918 HABERER AVE                                                                                                   DAYTON            OH      45408
JEROME J BYERLY          538 MILL STONE DR                                                                                                  BEAVERCREEK       OH      45434
JEROME J HAZLEWOOD       522 HOBSON PLACE                                                                                                   PITTSBURG         KS      66762
JEROME J JERGENS         4612 SOLD.HM.‐MIAMISBG RD                                                                                          MIAMISBURG        OH      45342
JEROME J MORRIS          2395 SPENCERPORT RD                                                                                                SPENCERPORT       NY      14559‐2028
JEROME J. REMICK         337 COLDIRON                                                                                                       ROCHESTER HILLS   MI      48307
JEROME JACK S (429187)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                      NORFOLK           VA      23510
                                                           STREET, SUITE 600
JEROME JACKSON           5965 PECK RD                                                                                                       BROWN CITY        MI      48416‐9000
JEROME JACKSON JR        1216 SOUTHERN PKWY                                                                                                 CLARKSVILLE       TN      37040‐4339
JEROME JAKUBOWSKI        20456 TULLIO ST                                                                                                    CLINTON TWP       MI      48035‐5103
JEROME JAMES             224 15TH ST                                                                                                        ELYRIA            OH      44035‐7608
JEROME JANCZAK           91 HOWEDALE DR                                                                                                     ROCHESTER         NY      14616‐1532
JEROME JANKOWSKI         1843 PLYMOUTH TER SE                                                                                               GRAND RAPIDS      MI      49506‐4148
JEROME JASINA            PO BOX 304                                                                                                         HAMBURG           MI      48139‐0304
JEROME JENKINS           30608 CLEARPOND RD                                                                                                 SHAWNEE           OK      74801‐5651
JEROME JERGENS           4612 SOLD.HM.‐MIAMISBG RD                                                                                          MIAMISBURG        OH      45342
JEROME JERSON            13012 KINGSTON WAY                                                                                                 NORTH ROYALTON    OH      44133‐5971
JEROME JOHNSON           113 FARRINGTON RD                                                                                                  CROSSVILLE        TN      38558‐8807
JEROME JOHNSON           1472 JONQUILMEADOW DR                                                                                              CINCINNATI        OH      45240‐2940
JEROME JOHNSON           919 PERRY ST                                                                                                       DEFIANCE          OH      43512‐2740
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Name                  Address1                        Address2                     Address3   Address4               City               State   Zip
JEROME JOHNSON JR     2205 W CHRISTY LN                                                                              MUNCIE              IN     47304‐1716
JEROME JOHNSTON       129 N 7 MILE RD                                                                                MIDLAND             MI     48640‐9047
JEROME JORDAN         7710 BUCKNELL TERRACE                                                                          FAIRBURN            GA     30213
JEROME JORGENSEN      6035 WESTSHORE DR                                                                              OSCODA              MI     48750‐9683
JEROME JOSHUA         110 CHARLOTTE CIR                                                                              MONROE              LA     71202‐3908
JEROME JURENOVICH     149 MEADOWBROOK RD                                                                             HERMITAGE           PA     16148‐2623
JEROME KARLE          2609 WESTWOOD PKWY                                                                             FLINT               MI     48503‐4667
JEROME KEEMER         818 WOODS RD                                                                                   PASADENA            MD     21122‐4529
JEROME KEENE          641 W KINGSWAY RD                                                                              BALTIMORE           MD     21220‐4924
JEROME KEISER         46 BETTY DR                                                                                    LAKE PLACID         FL     33852‐6902
JEROME KELTS          2730 SHAW PARK RD                                                                              GRAYLING            MI     49738‐9416
JEROME KENNEDY        12303 E 41ST TER S                                                                             INDEPENDENCE        MO     64055‐4462
JEROME KINCAID        20409 MAJESTIC DR                                                                              APPLE VALLEY        CA     92308‐5049
JEROME KINCAID        401 BLUEBELL TER                                                                               LAMAR               MO     64759‐1171
JEROME KING           5575 SUNNYCREST DR                                                                             ORCHARD LAKE        MI     48323‐3866
JEROME KIRKLAND       2719 BROWNELL BLVD                                                                             FLINT               MI     48504‐2786
JEROME KISKADDEN      2375 SILVER FOX LN NE                                                                          WARREN              OH     44484‐1146
JEROME KLAPPS         247 EMELIA DR                                                                                  BEAR                DE     19701‐1703
JEROME KLEIN          811 HICKORY LN                                                                                 FOWLER              MI     48835‐9148
JEROME KOEBERL        2623 VAIL CT APT 4                                                                             JANESVILLE          WI     53545‐0357
JEROME KOLESAR        7709 SPRING PARK DR                                                                            BOARDMAN            OH     44512‐5345
JEROME KOLODZIEJSKI   2720 CROOKS RD APT 10                                                                          ROYAL OAK           MI     48073‐3253
JEROME KOLPA          2521 LEE ST                                                                                    WOODRIDGE            IL    60517‐1136
JEROME KONKEL         5649 SNOWY ORCHID DR                                                                           SUGAR HILL          GA     30518‐7634
JEROME KOPACZ         8231 S 77TH ST                                                                                 FRANKLIN            WI     53132‐7519
JEROME KORALEWSKI     124 TUSCARORAS TRL                                                                             PRUDENVILLE         MI     48651‐9729
JEROME KOSACK         6542 FAIRWAY GARDENS DR                                                                        BRADENTON           FL     34203‐8843
JEROME KOSS           7980 CRESCENT BEACH RD                                                                         PIGEON              MI     48755‐9754
JEROME KOVACH         2652 CHRISTINE LN                                                                              YOUNGSTOWN          OH     44511‐2019
JEROME KOWALSKI       19861 CALUMET DRIVE                                                                            CLINTON TWP         MI     48038‐1455
JEROME KOWALSKI       437 NE PECOS WAY                                                                               JENSEN BEACH        FL     34957‐6692
JEROME KOZDRON        6845 MEADOWLAKE RD                                                                             BLOOMFIELD HILLS    MI     48301‐2835
JEROME KOZLOWSKI      PO BOX 29                                                                                      CLARENDON           NY     14429‐0029
JEROME KOZLOWSKI      2726 BEDELL RD                                                                                 GRAND ISLAND        NY     14072‐1259
JEROME KRAL           BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS      OH     44236
JEROME KRISPLI        108 RIVER WALK BLVD                                                                            SIMPSONVILLE        SC     29681‐4753
JEROME KRUKAR         324 DIVISION ST                                                                                PLYMOUTH            WI     53073‐1246
JEROME KRYSPIN        410 W CHAMPLAIN AVE                                                                            WILMINGTON          DE     19804‐2014
JEROME KUBE SR        1701 W ASPEN ST                                                                                MILWAUKEE           WI     53221‐5229
JEROME KUNNATH        413 N VERMONT AVE                                                                              ROYAL OAK           MI     48067‐2098
JEROME KUTI           382 N HUBBARD RD                                                                               LOWELLVILLE         OH     44436‐8716
JEROME L DOUGLAS      944 MCDONALD AVE                                                                               MC DONALD           OH     44437‐1323
JEROME L FRANKLIN     842 STILES AVE                                                                                 YOUNGSTOWN          OH     44505‐3717
JEROME L GUNN         3990 BRUMBAUGH BLVD.                                                                           TROTWOOD            OH     45416
JEROME L KING         691 SEWARD ST APT E6                                                                           DETROIT             MI     48202‐2472
JEROME L STRAKA       ROUTE 6                                                                                        DEFIANCE            OH     43512
JEROME L WARREN       2211 BOLLMAN DR                                                                                LANSING             MI     48917‐1310
JEROME L WILLIAMS     632 NO. ALAMO ST 1                                                                             ANAHEIM             CA     92801‐3710
JEROME LABRIE         2507 LILAC LN                                                                                  JANESVILLE          WI     53545‐1356
JEROME LAIGHT         14637 BERKSHIRE DR N LOT 208A                                                                  SHELBY TWP          MI     48315
JEROME LAKE           4139 OCEANA AVE                                                                                WATERFORD           MI     48328‐1246
JEROME LAMBERT        950 BREEZY WOODS DR                                                                            RUSSIAVILLE         IN     46979‐9447
JEROME LAMPE          215 N 7TH ST                                                                                   BREESE               IL    62230‐1239
JEROME LANDSMAN       608 MILL CREEK                                                                                 POMPTON PLAINS      NJ     07444
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Name                 Address1                       Address2                       Address3   Address4               City               State   Zip
JEROME LAPOINTE      9195 TWIN LAKES CT                                                                              WHITE LAKE          MI     48386‐4603
JEROME LARKIN        4437 AVERY ST                                                                                   DETROIT             MI     48208‐2743
JEROME LATCHISON     1122 HEATHERWOODE RD                                                                            FLINT               MI     48532‐2336
JEROME LAWRENCE      5035 ROLLER RD                                                                                  MILLERS             MD     21102‐2246
JEROME LEFLORE       8061 KENSINGTON BLVD 408‐C                                                                      DAVISON             MI     48423
JEROME LEMBERGER     OBRIEN LAW FIRM                815 GEYER AVE                                                    SAINT LOUIS         MO     63104‐4047
JEROME LENDZION      100 W COLGATE AVE                                                                               PONTIAC             MI     48340‐1143
JEROME LESNICK       6781 DYER RD SW                                                                                 SOUTH BOARDMAN      MI     49680‐9406

JEROME LEWIS         527 ONTARIO ST # 1                                                                              BUFFALO            NY      14207‐1639
JEROME LEWIS         6713 TOWERING OAKS DR                                                                           SHREVEPORT         LA      71119‐3409
JEROME LHOTAK        7605 S OKETO AVE                                                                                BRIDGEVIEW         IL      60455‐1338
JEROME LIBERA        1301 39TH ST                                                                                    BAY CITY           MI      48708‐8421
JEROME LIGHTNER      18415 NORTH DR APT 32                                                                           SOUTHFIELD         MI      48076‐1124
JEROME LITWICKI JR   7363 N STATE RD                                                                                 DAVISON            MI      48423‐9368
JEROME LOGAN         27527 DOVER AVE                                                                                 WARREN             MI      48088‐4764
JEROME LOKKEN SR     517 MACDUFF DR                                                                                  MOUNT MORRIS       MI      48458‐8922
JEROME LONG          1071 ADDICE WAY                                                                                 CINCINNATI         OH      45224‐2701
JEROME LOWRY         147 SHERWOOD AVENUE                                                                             ROCHESTER          NY      14619‐1111
JEROME LUCIANO       49 SPILLWAY CT                                                                                  MARTINSBURG        WV      25405‐6394
JEROME LUMETTA       17775 PLEASANT VALLEY DR                                                                        MACOMB             MI      48044‐6118
JEROME LYNN          156 CHEROKEE HILLS RD                                                                           RINGGOLD           LA      71068‐3316
JEROME M COLITON     684 WOODHAVEN DR 80                                                                             COMMERCE           MI      48390
                                                                                                                     TOWNSHIP
JEROME M MONNIN      115 GREENLAWN AVENUE                                                                            VERSAILLES         OH      45380‐1312
JEROME M WEXLER      14 SPYGLASS LN                                                                                  E SETAUKET         NY      11733
JEROME M WILLIAMS    850 GATES AVE                                                                                   YPSILANTI          MI      48198‐6150
JEROME MAC DONALD    29307 LLOYD DR                                                                                  WARREN             MI      48092‐4216
JEROME MADDEN        399 N HOSPITAL RD                                                                               WATERFORD          MI      48327‐1573
JEROME MAHON         15828 CULPEPPER RD                                                                              ROCKWOOD           MI      48173‐9646
JEROME MAJCHRZAK     1008 15TH ST                                                                                    BAY CITY           MI      48708‐7328
JEROME MALONEY       3716 BUFFALO LN                                                                                 MONTROSE           CO      81403
JEROME MANDELBAUM    15461 PEMBRIDGE DR, APT 113                                                                     DELRAY BEACH       FL      33484
JEROME MARCINIAK     4320 COLUMBIA PIKE                                                                              FRANKLIN           TN      37064‐9624
JEROME MARCONERI     29159 BARKLEY ST                                                                                LIVONIA            MI      48154‐4005
JEROME MARKUS        348 W ELM ST                                                                                    AVISTON            IL      62216‐3504
JEROME MARTIN        8405 WHITEFIELD ST                                                                              DEARBORN HEIGHTS   MI      48127‐1192

JEROME MARTZ         1253 WOODNOLL DR                                                                                FLINT              MI      48507‐4715
JEROME MATUCH        5349 7TH AVE                                                                                    COUNTRYSIDE        IL      60525‐3619
JEROME MAY           3000 CLEVELAND ST E                                                                             COOPERSVILLE       MI      49404‐9445
JEROME MAZIARZ       C/O COONEY AND CONWAY          120 NORTH LASALLE 30TH FLOOR                                     CHICAGO            IL      60602
JEROME MC CARTY      1250 JAY AVE                                                                                    YPSILANTI          MI      48198‐6459
JEROME MC CAULEY     334 KINGS GATE CT                                                                               NEKOOSA            WI      54457‐8164
JEROME MC CRORY      403 S CHURCH ST                                                                                 OLATHE             KS      66061‐4750
JEROME MCCON         PO BOX 554                                                                                      AMADO              AZ      85645‐0554
JEROME MCCONNELL     6023 APPLECREST CT                                                                              BOARDMAN           OH      44512‐3149
JEROME MCGRANDY      5180 BAKER RD                                                                                   BRIDGEPORT         MI      48722‐9592
JEROME MEEHAN        540 S MAIN ST                                                                                   NASHVILLE          MI      49073‐9565
JEROME MEEK          1202 HALL ST                                                                                    EATON RAPIDS       MI      48827‐1724
JEROME MEGO          6222 MOUNTAIN RIDGE CIR                                                                         SUGAR HILL         GA      30518‐8112
JEROME MERKLE        243 GROVE ST                                                                                    TONAWANDA          NY      14150‐3525
JEROME METTS         203 N DONEGAL ST                                                                                EATON RAPIDS       MI      48827‐1388
JEROME MEYER         917 MESA VISTA DR                                                                               CROWLEY            TX      76036‐3690
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Name                        Address1                         Address2            Address3         Address4               City               State   Zip
JEROME MEYERS               406 WILDERNESS TRL                                                                           HOLLAND             OH     43528‐8072
JEROME MIDDLEBROOKS         173 ONEIDA ST                                                                                PONTIAC             MI     48341‐1628
JEROME MILLER               436 OSMUN ST                                                                                 PONTIAC             MI     48342‐3253
JEROME MILLER               20 5 OAKS DR                                                                                 SAGINAW             MI     48638‐5953
JEROME MILLER               52515 COVECREEK DR                                                                           MACOMB              MI     48042‐2951
JEROME MIODRAG              7909 KANE RD                                                                                 TRANSFER            PA     16154‐8943
JEROME MODICA               222 PENNSYLVANIA ST                                                                          BUFFALO             NY     14201‐1746
JEROME MOLESKI              19300 BRIARWOOD LN                                                                           CLINTON TWP         MI     48036‐2121
JEROME MOLL                 219 CLARENCE DR                                                                              RED BUD              IL    62278‐1408
JEROME MONAHAN              PO BOX 19626                                                                                 RENO                NV     89511‐2152
JEROME MOORE                311 E CALENDAR AVE                                                                           LA GRANGE            IL    60525‐2512
JEROME MORRIS               2395 SPENCERPORT RD                                                                          SPENCERPORT         NY     14559‐2028
JEROME MORRIS               22 COURTLAND ROAD                                                                            MATTAPAN            MA     02126
JEROME MOTLEY               13500 STAHELIN AVE                                                                           DETROIT             MI     48223‐3526
JEROME MULICH               15425 CRIMSON ST                                                                             BASEHOR             KS     66012‐8214
JEROME MULL                 642 DAVIS RD                                                                                 CEDARTOWN           GA     30125‐4718
JEROME MYERS                167 STAHL AVE                                                                                CORTLAND            OH     44410‐1135
JEROME MYSZAK               1810 W DILL RD                                                                               DEWITT              MI     48820‐8360
JEROME N RADENBAUGH         2903 WILLA DR                                                                                SAINT JOSEPH        MI     49085‐2546
JEROME N STUMP              312 N CEDAR ST                                                                               OWOSSO              MI     48867
JEROME NADZAN               5012 HOAGLAND BLACKSTUB RD                                                                   CORTLAND            OH     44410‐9519
JEROME NEAL                 12317 E OUTER DR                                                                             DETROIT             MI     48224‐2626
JEROME NEBUWA               9801 FONDREN RD                                                                              HOUSTON             TX     77096
JEROME NELSON               227 E ALMA AVE                                                                               FLINT               MI     48505‐2107
JEROME NELSON               1235 N PIERCE AVE                                                                            N BELLMORE          NY     11710
JEROME NEVBAVER             20543 GREENWOOD DR                                                                           OLYMPIA FIELDS       IL    60461
JEROME NEWMAN TTEE EDWARD   420‐A SOUTH BEACH STREET                                                                     ORMOND BEACH        FL     32174
NEWMAN
JEROME NIESE                A‐097 RD 13                                                                                  NEW BAVARIA        OH      43548
JEROME NIKLE                1130 E COLDWATER RD                                                                          FLINT              MI      48505‐1504
JEROME NOARK                950 NANCY AVE                                                                                NILES              OH      44446‐2732
JEROME NOBLE                4022 ROBINSON VAIL RD                                                                        FRANKLIN           OH      45005‐4749
JEROME NOGA                 6470 STATE RD APT K19                                                                        PARMA              OH      44134‐7708
JEROME NOSAL                24762 POWERS AVE                                                                             DEARBORN HEIGHTS   MI      48125‐1870

JEROME NOSEK                5521 TOWNLINE RD                                                                             BIRCH RUN          MI      48415‐9005
JEROME NOWAK                24 ROSE AVE                                                                                  BUFFALO            NY      14224‐2834
JEROME O'BOYLE              PO BOX 8392                                                                                  ST PETERSBURG      FL      33738‐8392
JEROME OBER                 PO BOX 1760                                                                                  SPRING HILL        TN      37174‐1760
JEROME ODOGUARDI            4566 SHEFFIELD DR                                                                            AUSTINTOWN         OH      44515‐5352
JEROME OKRAY                2535 TUSCANY                                                                                 MILFORD            MI      48380‐3961
JEROME OLESTON              4128 EASTRIDGE DRIVE                                                                         JANESVILLE         WI      53546
JEROME OLIVER               3637 EVERGREEN PKWY                                                                          FLINT              MI      48503‐4531
JEROME OPALEWSKI            1548 N SILVERY LN                                                                            DEARBORN           MI      48128‐1035
JEROME ORTLIEB              870 TAYLOR BLAIR RD                                                                          W JEFFERSON        OH      43162‐9554
JEROME ORTLIEB JR           1995 UPPER VALLEY DR                                                                         W JEFFERSON        OH      43162‐9542
JEROME ORTMANN              14852 BLUE JAY CT                                                                            SHELBY TOWNSHIP    MI      48315‐4955
JEROME OSEMLAK              6040 STAHELIN AVE                                                                            DETROIT            MI      48228‐3831
JEROME OSZUST               27650 BERTRAND ST                                                                            CHESTERFIELD       MI      48051‐1635
JEROME P BRYLSKI            102 LEYDECKER RD                                                                             WEST SENECA        NY      14224‐4518
JEROME P FREIBERGER         404 KOCH AVENUE                                                                              VANDALIA           OH      45377‐1923
JEROME P ROSELLE            908 DAMIAN ST                                                                                VANDALIA           OH      45377‐1116
JEROME PALMERINO            126 KINSHIP RD APT 1A                                                                        BALTIMORE          MD      21222‐3815
JEROME PANNELL              2633 BRONCO TRL                                                                              DULUTH             GA      30096‐4494
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Name                 Address1                      Address2                Address3     Address4               City               State   Zip
JEROME PARKER        2024 W TERRACE VIEW ST                                                                    TOLEDO              OH     43607‐1063
JEROME PARRY‐HILL    PO BOX 203                                                                                SAND LAKE           NY     12153‐0203
JEROME PAZELY        CASCINO MICHAEL P             220 SOUTH ASHLAND AVE                                       CHICAGO              IL    60607
JEROME PEA           5114 INDUSTRIAL AVE                                                                       FLINT               MI     48505‐3631
JEROME PEARISO       37219 ALMONT DR W                                                                         STERLING HEIGHTS    MI     48310‐4029
JEROME PECK          1434 N BELSAY RD                                                                          BURTON              MI     48509‐1605
JEROME PERRY         20099 WESTBROOK ST                                                                        DETROIT             MI     48219‐1347
JEROME PETERSON      595 EAST ESTATES PLACE                                                                    OAK CREEK           WI     53154‐5123
JEROME PIECHOCKI     9435 E MIAMI AVE                                                                          LAKESIDE            OH     43440‐1324
JEROME PIECUCH       203 ROXBURY PARK                                                                          EAST AMHERST        NY     14051‐1775
JEROME PIERCE        137 CHURCHCLIFF DR                                                                        WOODSTOCK           GA     30188
JEROME PIERSON       5756 EARHART RD                                                                           ANN ARBOR           MI     48105‐9417
JEROME PIESIK        513 MARSTON ST                                                                            BAY CITY            MI     48706‐3888
JEROME PILLOW        106 ELM ST                                                                                CENTERTON           AR     72719‐8984
JEROME PIRTLE        3505 CASSIUS ST                                                                           FLINT               MI     48505‐4091
JEROME PITTMAN       28495 TAVISTOCK TRL                                                                       SOUTHFIELD          MI     48034‐2018
JEROME POLLARD       8553 PARK RIDGE LN                                                                        MACEDONIA           OH     44056‐2055
JEROME PONDER        1125 BURLINGTON DR                                                                        FLINT               MI     48503‐2928
JEROME POSEY         466 S RACCOON RD # C39                                                                    AUSTINTOWN          OH     44515
JEROME POST          3730 GAINESBOROUGH DR                                                                     LAKE ORION          MI     48359‐1617
JEROME PRICE         6430 MEADOWLARK LN                                                                        YPSILANTI           MI     48197‐6206
JEROME R ALTER       7225 MODENA DR                                                                            BOYNTON BEACH       FL     33437
JEROME R CALLAGHAN
JEROME R CICHOSZ     17244 RIVER OAKS LN                                                                       FERGUS FALLS       MN      56537
JEROME R CSIRE       5606 MERKLE AVE                                                                           PARMA              OH      44129‐1511
JEROME R GOFF        1816 WOODSIDE CT                                                                          BAY CITY           MI      48708‐5002
JEROME R KELLEY      11 BAKER CT                                                                               TROTWOOD           OH      45426
JEROME R KUNNATH     413 N VERMONT AVE                                                                         ROYAL OAK          MI      48067‐2098
JEROME R WILLIAMS    9245 LITTLE RICHMOND RD                                                                   BROOKVILLE         OH      45309
JEROME RADTKE        4291 COASH RD                                                                             VANDERBILT         MI      49795‐9502
JEROME RANCOUR       9190 N BRAY RD                                                                            CLIO               MI      48420‐9766
JEROME RATTAY        2407 MAPLE CT                                                                             PANAMA CITY        FL      32404‐3047
JEROME RAYCHEL       24 HEWARD AVE                                                                             BUFFALO            NY      14207‐1411
JEROME RAYNAK        3126 CURTIS DR                                                                            FLINT              MI      48507‐1220
JEROME REAMER        1573 FAWN CREEK RD                                                                        BRENTWOOD          TN      37027‐8615
JEROME REINHARDT     1601 FEMME OSAGE CREEK RD                                                                 AUGUSTA            MO      63332‐1207
JEROME RENK          3956 CREEKSIDE DR                                                                         JANESVILLE         WI      53548
JEROME RICHARDSON    17 BRENTWOOD                                                                              COTO DE CAZA       CA      92679‐4819
JEROME RICHNAVSKY    625 BRIARHILL RD                                                                          LEBANON            TN      37087‐8213
JEROME RICKER        100 SOUND SHORE DR                                                                        CURRITUCK          NC      27929‐9606
JEROME RIEFFER       1203 BELLEAU LAKE DR                                                                      O FALLON           MO      63366‐3117
JEROME RIES          7075 STONINGTON RD                                                                        CINCINNATI         OH      45230‐3841
JEROME RIES          4419 SNOOK RD                                                                             METAMORA           MI      48455‐9736
JEROME RINALDI       2308 TIMBERLANE TRL                                                                       GRAYLING           MI      49738‐9249
JEROME RINGHOLZ      4220 W BOGART RD                                                                          SANDUSKY           OH      44870‐9754
JEROME RITZ          6190 MAYBURN ST                                                                           DEARBORN HTS       MI      48127‐3211
JEROME ROBERTS       1317 VERMONT AVE                                                                          LANSING            MI      48906‐4958
JEROME ROBERTS       1910 RUSH LAKE RD                                                                         PINCKNEY           MI      48169‐9103
JEROME ROBERTSON     4700 WILTSHIRE RD                                                                         NORTH ROYALTON     OH      44133‐6549
JEROME ROBINSON SR   2677 HAWCO DR APT 2215                                                                    GRAND PRAIRIE      TX      75052‐8113
JEROME ROGALSKI      264 ALEWA DR NW                                                                           GRAND RAPIDS       MI      49504‐5878
JEROME ROSELLE       908 DAMIAN ST                                                                             VANDALIA           OH      45377‐1116
JEROME ROSIECKI      38760 MONTEREY DR                                                                         STERLING HTS       MI      48312‐1352
JEROME ROSS          4101 HANWELL RD                                                                           RANDALLSTOWN       MD      21133‐2105
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JEROME ROUNTREE                      4420 ELMSHAVEN DR                                                                               LANSING          MI     48917‐3507
JEROME ROY                           520 LENAPE PATH                                                                                 COLUMBIA         TN     38401‐2298
JEROME ROZNOWSKI                     895 N PERRY CREEK RD                                                                            MIO              MI     48647‐9714
JEROME RUEFER JR                     12 124 LOWER HUNTINGTON RD                                                                      ROANOKE          IN     46783
JEROME RUNG JR                       101 PARKEDGE AVE                                                                                TONAWANDA        NY     14150‐7729
JEROME S BALL                        6258 RAMBLEWOOD DR                                                                              DAYTON           OH     45424‐6600
JEROME S BILLET ‐ TRADITIONAL IRA    JEROME S BILLET                      10317 EASTBORNE AVE                                        LOS ANGELES      CA     90024‐5349
JEROME S BILLET, IRA (TRADITIONAL)   10317 EASTBORNE AVE                                                                             LOS ANGELES      CA     90024‐5349
JEROME S BILLET, ROLLOVER IRA        JEROME S BILLET                      10317 EASTBORNE AVE                                        LOS ANGELES      CA     90024‐5349
JEROME S BOYETT                      744 HAMPSHIRE DR                                                                                BURLESON         TX     76028‐4016
JEROME S HASSAY                      1024 ILLINOIS AVE                                                                               MC DONALD        OH     44437
JEROME S HYRNE                       14412 MOCKINGBIRD DR                                                                            MONROE           MI     48161
JEROME S LIGHTNER                    18415 NORTH DR APT 32                                                                           SOUTHFIELD       MI     48076‐1124
JEROME S. BILLETT, ROLLOVER IRA      JEROME S. BILLET                     10317 EAST BORNE AVE                                       LOS ANGELES      CA     90024‐5349
JEROME SABIAS                        6517 S EUCLID RD                                                                                BAY CITY         MI     48706‐9302
JEROME SABULEJ                       12342 BUGGY WHIP CT                                                                             DAVISBURG        MI     48350‐1660
JEROME SALGAT                        PO BOX 262                                                                                      LENNON           MI     48449‐0262
JEROME SCHAFER                       PO BOX 213                                                                                      WESTPHALIA       MI     48894‐0213
JEROME SCHAFER                       8250 S LOOMIS RD                                                                                DEWITT           MI     48820‐9752
JEROME SCHAFER                       7857 W PARKS RD                                                                                 SAINT JOHNS      MI     48879‐9576
JEROME SCHEFKE                       197 LAKESHORE CIR                                                                               OXFORD           MI     48371‐6303
JEROME SCHEPER                       310 BROAD ST APT 15E                                                                            CHARLESTON       SC     29401‐1284
JEROME SCHLENK                       361 N AMERICAN BLVD                                                                             VANDALIA         OH     45377‐2232
JEROME SCHLEPER                      570 MARY ST                                                                                     POCAHONTAS        IL    62275‐3253
JEROME SCHMITT                       212 DIEHL ST                                                                                    TIPTON           IN     46072‐1906
JEROME SCHMOLITZ                     4064 RICHMARK LN                                                                                BAY CITY         MI     48706‐2228
JEROME SCHNEIDER                     415 W JEFFERSON ST                                                                              PEWAMO           MI     48873‐9782
JEROME SCHNEIT                       8 CHESTNUT HILL                                                                                 ROSLYN           NY     11576‐2804
JEROME SCHROEDER                     70119 MILL CREEK DR                                                                             BRUCE TWP        MI     48065‐4253
JEROME SCHROEDER                     421 PROSPECT ST                                                                                 LEIPSIC          OH     45856‐9206
JEROME SCHROEDER                     52311 SHELBY RD                                                                                 SHELBY TWP       MI     48316‐3162
JEROME SCHULTZ                       35854 WINDRIDGE DR                                                                              NEW BALTIMORE    MI     48047‐5853
JEROME SERBEL                        2318 BEARS DEN RD                                                                               YOUNGSTOWN       OH     44511‐1304
JEROME SHECKLER                      THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES      22ND FLOOR                          BALTIMORE        MD     21201

JEROME SHIPP                         16941 ADDISON ST                                                                                SOUTHFIELD      MI      48075‐2934
JEROME SILVEY                        8140 LUPINE LN                                                                                  BOZEMAN         MT      59718‐8339
JEROME SIZICK                        5535 FORT RD                                                                                    SAGINAW         MI      48601‐9300
JEROME SLON                          PO BOX 210                                                                                      GETZVILLE       NY      14068‐0210
JEROME SMITH                         441 CANE CREEK RD                                                                               ANNISTON        AL      36206‐7411
JEROME SMITH                         1862 S WINN RD                                                                                  MT PLEASANT     MI      48858‐8237
JEROME SMITH                         19000 BURT RD                                                                                   DETROIT         MI      48219‐5301
JEROME SMITH                         221 MAIN ST                                                                                     CAHOKIA         IL      62206‐1021
JEROME SMITH                         382 HARSEN RD                                                                                   LAPEER          MI      48446‐2759
JEROME SMITH                         4303 HOLYOKE DR SE                                                                              GRAND RAPIDS    MI      49508‐3767
JEROME SMUTYLO                       1715 MILLSBORO RD                                                                               MANSFIELD       OH      44906‐3322
JEROME SNYDER                        2202 CEDAR POINTE DR                                                                            JANESVILLE      WI      53546‐5395
JEROME SOCIE                         1890 QUAKER RD                                                                                  BARKER          NY      14012‐9539
JEROME SOLITA                        1990 FRANK MOORE RD                                                                             CULLEOKA        TN      38451‐2141
JEROME SOROCHTY                      65 SHERWIN DR                                                                                   TONAWANDA       NY      14150‐4714
JEROME SOVA                          5756 GRIGGS DR                                                                                  CLARKSTON       MI      48346‐3240
JEROME SPARKS                        630 ALTON ST                                                                                    LONDON          OH      43140‐8938
JEROME STAIRS                        2354 RIEDEN ST                                                                                  DETROIT         MI      48209‐1243
JEROME STALLWORTH                    116 W 127TH ST                                                                                  CHICAGO         IL      60628‐7332
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Name                       Address1                       Address2                     Address3   Address4               City               State   Zip
JEROME STANKE              PO BOX 487                                                                                    GAINESVILLE         MO     65655‐0487
JEROME STEHLIN             PO BOX 169                                                                                    SHANDON             OH     45063‐0169
JEROME STOCKHEIMER         1236 E COOPER DR                                                                              EDGERTON            WI     53534‐9064
JEROME STOLICKI            4777 SUNDERLAND DR                                                                            STERLING HEIGHTS    MI     48314‐1991
JEROME STRAZLKA            1047 WISH CIR                                                                                 EAST AURORA         NY     14052‐9654
JEROME STRZYZEWSKI         1500 E SOMMERS DR                                                                             OAK CREEK           WI     53154‐7924
JEROME STURGHILL           1715 WAYSIDE RD                                                                               CLEVELAND           OH     44112‐1234
JEROME SUITS               273 AUDREY LN                                                                                 INWOOD              WV     25428‐3641
JEROME SULLIVAN            1500 MONTERREY RD NE                                                                          RIO RANCHO          NM     87144‐1584
JEROME SUNDERLAND          BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS          OH     44236
JEROME SWANN               101 THOMAS GUIDERA CIR                                                                        BALTIMORE           MD     21229‐3039
JEROME SWIGART             515 HASKINS AVE                                                                               DAYTON              OH     45420‐2355
JEROME SWITCH              504 HUNTER LN                                                                                 UNIONTOWN           PA     15401‐5098
JEROME SYTEK               8378 E ATHERTON RD                                                                            DAVISON             MI     48423‐8700
JEROME SZOSTAK             3680 CHRISTY WAY W                                                                            SAGINAW             MI     48603‐7200
JEROME T JOHNSON JR.       2205 W CHRISTY LN                                                                             MUNCIE              IN     47304‐1716
JEROME T PALMERINO         126 KINSHIP RD APT 1A                                                                         DUNDALK             MD     21222
JEROME T SULLIVAN          1500 MONTERREY NE                                                                             RIO RANCHO          NM     87144‐‐ 15
JEROME TATARKA             BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS      OH     44236
JEROME TAYLOR              409 MCPHERSON ST                                                                              MANSFIELD           OH     44903‐1033
JEROME TAYLOR              14111 WHITCOMB ST                                                                             DETROIT             MI     48227‐2126
JEROME TAYLOR              10239 MCKINNEY ST                                                                             DETROIT             MI     48224‐1878
JEROME TEAL JR             1595 CANEY HEAD RD                                                                            FRANKLIN            GA     30217‐5008
JEROME THELEN              6449 S WRIGHT RD                                                                              WESTPHALIA          MI     48894‐9219
JEROME THELEN              11040 W IONIA ST                                                                              FOWLER              MI     48835‐8226
JEROME THOMAS              237 PARK ST                                                                                   SOMERSET            NJ     08873‐2533
JEROME THOMPSON            3940 ANVIL DR                                                                                 TROY                MI     48083‐5691
JEROME THRELKELD           4020 WINONA ST                                                                                FLINT               MI     48504‐2117
JEROME THUES               18004 WILDEMERE ST                                                                            DETROIT             MI     48221‐2729
JEROME TOMALAK             11050 IRENE AVE                                                                               WARREN              MI     48093‐2512
JEROME TOMASZYCKI          1845 EDGEWOOD BLVD                                                                            BERKLEY             MI     48072‐1839
JEROME TORREY              6159 CYPRESS DR                                                                               MOUNT MORRIS        MI     48458‐2807
JEROME TRICK               8536 COOVER MILL CT                                                                           DAYTON              OH     45414‐1267
JEROME TROMBLY             18535 AUTUMNWOOD DR                                                                           CLINTON TWP         MI     48035‐1373
JEROME TURNER              5119 N JENNINGS RD                                                                            FLINT               MI     48504‐1115
JEROME TURNER              3901 SHAWNEE AVE                                                                              FLINT               MI     48507‐2842
JEROME TYLICZKA            647 PRINCETON RD                                                                              LINDEN              NJ     07036‐5905
JEROME UZL                 405 MCELWEE DR                                                                                AUBURNDALE          FL     33823‐2233
JEROME V & NORMA A FLYNN   5119 COLTER WAY                                                                               DALLAS              TX     75227‐1450
JEROME VAN DE SANDE        123 QUAKER DR                  C/O SUSAN J KRUSE                                              ELIZABETH CITY      NC     27909‐9105
JEROME VANATTER            312 TURNBRIDGE DR              PO BOX 23221                                                   BELLEVILLE           IL    62226‐2438
JEROME VANISACKER          438 JOHN ROLFE DR                                                                             MONROE              MI     48162‐3315
JEROME VARLEY              429 ELDON DR NW                                                                               WARREN              OH     44483‐1347
JEROME W COSBY             503 PORTAGE PATH                                                                              SPRINGFIELD         OH     45506
JEROME W JOHNSTON          129 N 7 MILE RD                                                                               MIDLAND             MI     48640‐9047
JEROME W NIKLE             1130 E COLDWATER RD                                                                           FLINT               MI     48505‐1504
JEROME W SERBEL            2318 BEARS DEN RD                                                                             YOUNGSTOWN          OH     44511‐1304
JEROME W TRICK             8536 COOVERS MILL CT                                                                          DAYTON              OH     45414‐1267
JEROME W VARLEY            429 ELDON DR NW                                                                               WARREN              OH     44483‐1347
JEROME WALLACE             28326 SAN MARINO DR                                                                           SOUTHFIELD          MI     48034‐1531
JEROME WALTER              228 HARRISON AVE                                                                              TONAWANDA           NY     14223‐1609
JEROME WARD                3565 MEANDER RESERVE CIR                                                                      CANFIELD            OH     44406‐8012
JEROME WARREN              PO BOX 24231                                                                                  LAKELAND            FL     33802‐4231
JEROME WATEROUS            9297 LANCASTER RD                                                                             LAINGSBURG          MI     48848‐9221
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Name                        Address1                           Address2                      Address3   Address4                 City              State   Zip
JEROME WAZNY                2253 TONKEY RD                                                                                       TURNER             MI     48765‐9768
JEROME WEAVER               5739 E 128TH ST                    C/O CRAIG & PEGGY                                                 SAND LAKE          MI     49343‐9626
JEROME WEBER                9419 E KIMBALL RD                                                                                    PEWAMO             MI     48873‐9726
JEROME WEEMS                2815 GRINDLEY PARK ST                                                                                DEARBORN           MI     48124‐4521
JEROME WEISKOPF             2252 RED OAK LN                                                                                      MOTLEY             MN     56466
JEROME WESLEY               3305 PALMER DR                                                                                       JANESVILLE         WI     53546‐2306
JEROME WHITACRE             1164 S ALEX RD                                                                                       W CARROLLTON       OH     45449‐2112
JEROME WICKER               BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS         OH     44236
JEROME WILLIAM M (644134)   LIPSITZ & PONTERIO                 135 DELAWARE AVE SUITE 506                                        BUFFALO            NY     14202
JEROME WILLIAMS             9245 LITTLE RICHMOND RD                                                                              BROOKVILLE         OH     45309‐9396
JEROME WILLIAMS             16054 EGO AVE                                                                                        EASTPOINTE         MI     48021‐2941
JEROME WILLIAMS             13700 CRANWOOD PARK BLVD                                                                             GARFIELD HTS       OH     44125‐1827
JEROME WILLOUGHBY           4218 KITRIDGE RD                                                                                     HUBER HEIGHTS      OH     45424‐5808
JEROME WINER                6092 MYRTLE AVE                                                                                      FLUSHING           MI     48433‐2326
JEROME WISE                 25821 LAHSER RD APT 9                                                                                SOUTHFIELD         MI     48033‐2739
JEROME WISNIEWSKI           11471 WOODRUN DR                                                                                     STRONGSVILLE       OH     44136‐3796
JEROME WISNIEWSKI           7350 IRONWOOD DR                                                                                     SWARTZ CREEK       MI     48473‐9450
JEROME WISNIEWSKI           26552 BLUMFIELD ST                                                                                   ROSEVILLE          MI     48066‐3232
JEROME WITHERSPOON          7538 AFFELDT ST                                                                                      WESTLAND           MI     48185‐2680
JEROME WOODWARD             704 MORENO DR                                                                                        REYNOLDSBURG       OH     43068‐9573
JEROME WOODYARD             3274 MARTHAROSE CT                                                                                   FLINT              MI     48504‐1277
JEROME YANCHO               14396 MCKINLEY RD                                                                                    MONTROSE           MI     48457‐9713
JEROME ZAKES                118 ARLINGTON PL                                                                                     DEPEW              NY     14043‐1648
JEROME ZALEWSKI             2765 BURGESS HILL DR                                                                                 WATERFORD          MI     48329‐2605
JEROME ZEIHER               2544 N 900 E                                                                                         GREENTOWN          IN     46936‐9513
JEROME ZERRER               2766 N US HIGHWAY 61                                                                                 TROY               MO     63379‐4902
JEROME ZIMMERMAN            3932 CLINTONVILLE RD                                                                                 WATERFORD          MI     48329‐2421
JEROME ZINK                 220 SUTTMAN ST                                                                                       MIAMISBURG         OH     45342‐2971
JEROME'S IGNITION SERVICE   701 ATLANTIC AVE                                                                                     ROCHESTER          NY     14609‐7422
JEROME, DAVID M             4915 RATTLESNAKE HAMMOCK RD        SUITE# 124                                                        NAPLES             FL     34113
JEROME, DENNIS J            3309 WINTER ST                                                                                       SAGINAW            MI     48604‐2227
JEROME, DOUGLAS K           P.O. BOX 61 3660                   SEYMOUR                                  SEYMOUR AUSTRALIA
JEROME, EDWARD A            39045 MEMORY LN                                                                                      HARRISON TWP       MI     48045‐1747
JEROME, FRANCES BLANCHE     282 WILLARD RD                                                                                       MASSENA            NY     13662
JEROME, FREDERICK J         4466 ESTA DR                                                                                         FLINT              MI     48506‐1454
JEROME, GERALD J            10600 PICKET HINGE                                                                                   TRAVERSE CITY      MI     49684‐7212
JEROME, HOWARD W            3257 BARTLETT ST                                                                                     SPRING HILL        FL     34606‐3014
JEROME, JACK S              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA     23510‐2212
                                                               STREET, SUITE 600
JEROME, JEFFREY J           11593 HARTLAND RD                                                                                    FENTON            MI      48430‐2566
JEROME, JENNIFER L          1030 SHAREWOOD CT                                                                                    KETTERING         OH      45429‐4409
JEROME, JOHN E              460 DAKOTA AVE                                                                                       MC DONALD         OH      44437‐1513
JEROME, LORENE              326 E LUCAS ST                                                                                       CASTLIA           OH      44824
JEROME, LORENE              326 LUCAS ST E                                                                                       CASTALIA          OH      44824‐9782
JEROME, MARY                39045 MEMORY LN                                                                                      HARRISON TWP      MI      48045‐1747
JEROME, MARY                39045 MEMORY LANE                                                                                    HARRISON TWP      MI      48045‐1747
JEROME, NEVA J              205 S HIGLEY RD LOT 153                                                                              MESA              AZ      85206‐1320
JEROME, PEGGY J             PO BOX 690                                                                                           SAINT HELEN       MI      48656‐0690
JEROME, PETER J             1088 E PINE AVE                                                                                      MOUNT MORRIS      MI      48458‐1626
JEROME, PETER JOHN          1088 E PINE AVE                                                                                      MOUNT MORRIS      MI      48458‐1626
JEROME, RAMONA E            5851 E SINGLETREE ST                                                                                 APACHE JUNCTION   AZ      85219‐8951

JEROME, RENOLD J            14825 CHESTERFIELD AVE                                                                               WARREN             MI     48089‐2182
JEROME, RICHARD K           1861 W ROCKHILL CT                                                                                   HOWELL             MI     48843
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Name                   Address1                        Address2                      Address3   Address4               City             State   Zip
JEROME, RICHARD K      11611 NEWMAN RD                                                                                 BRIGHTON          MI     48114‐8111
JEROME, RICHARD K      416 WATER TOWER CIR                                                                             BRIGHTON          MI     48116‐2921
JEROME, WILLIAM M      LIPSITZ & PONTERIO              135 DELAWARE AVE, SUITE 506                                     BUFFALO           NY     14202‐2410
JEROMIAH SWIFT         130 HUNTSMAN CIR                                                                                BOWLING GREEN     KY     42103‐7064
JEROMIN, STEPHANIE M   8210 BEAVERLAND                                                                                 DETROIT           MI     48239‐1104
JEROMY BOWMAN          5809 OXFORD AVE                                                                                 RAYTOWN           MO     64133‐3313
JEROMY L CARPENTER     5566 SHARP RD                                                                                   DAYTON            OH     45432
JERON DRAGER           5960 NW SALE BARN RD                                                                            CAMERON           MO     64429‐2295
JERON ENTERPRISES      435 AMITY RD                                                                                    HARRISBURG        PA     17111‐1042
JERON MARBLE           6901 THORNHILL DR                                                                               DIMONDALE         MI     48821‐9449
JERON MOSS             714 PALMER DR                                                                                   PONTIAC           MI     48342‐1857
JERONE FORD            4160 JANET DR                                                                                   DORR              MI     49323‐9414
JERONE LAMAR BOOTH     C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                       HOUSTON           TX     77007
                       BOUNDAS LLP
JERONE SLAY            83 COLUMBIA AVE                                                                                 ROCHESTER        NY      14608
JERONE SMITH           312 ADELAIDE ST, BOX 325                                                                        MAPLE RAPIDS     MI      48853
JERONE STRONG SR       7253 NORTHQUAY CT                                                                               HOLLAND          OH      43528‐7705
JERONIA MCCLISH        1946 PATERSON ST                                                                                RAHWAY           NJ      07065‐5311
JERONIMO CORTEZ        19242 ROAD 1040                                                                                 OAKWOOD          OH      45873‐9081
JERONIMO PACHECO       6105 RAMSEY ROAD                                                                                HARRISON         TN      37341‐7630
JERONIMO REYES         5417 S 74TH AVE                                                                                 SUMMIT           IL      60501‐1016
JERONIMO VAZAO         56 ELLIS PL                                                                                     OSSINING         NY      10562‐5120
JERONIMO ZARAGOZA      813 S 4TH ST                                                                                    MONTEBELLO       CA      90640‐5909
JERONYMO, CLARA N      4033 40TH AVE                                                                                   MERIDIAN         MS      39305‐3102
JEROR, FLOYD B         14828 RT 30                                                                                     MALONE           NY      12953
JERORE, ROBERT G       703 N STATE ST                                                                                  CARO             MI      48723‐1545
JEROSIMIC, MIRKO       1316 S DELPHIA AVE                                                                              PARK RIDGE       IL      60068‐5004
JEROUE, CRAIG A        50385 BAY CT                                                                                    NEW BALTIMORE    MI      48047‐4323
JEROUE, FRANKLIN R     1549 MAYER RD                                                                                   SAINT CLAIR      MI      48079‐2901
JEROUE, MICHAEL F      2629 INVITATIONAL DR                                                                            OAKLAND          MI      48363‐2456
JERRAM JR, ALAN R      PO BOX 8822                                                                                     HORSESHOE BAY    TX      78657‐8822
JERRE HENTOSH          BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                      BOSTON HEIGHTS   OH      44236
JERRE KARL             220 TAHLEQUAH DR                                                                                LOUDON           TN      37774‐2125
JERRE L HARPER JR.     465 EAGLE STONE RDG                                                                             YOUNGSVILLE      NC      27596
JERRED, JOE L          12212 KRIEGER RD # 236                                                                          BIRCH RUN        MI      48415
JERREL BRADLEY         20351 POST OAK DR                                                                               CHANDLER         TX      75758‐8900
JERREL GALLAWAY        4963 E 200 S                                                                                    MARION           IN      46953‐9136
JERREL LAMPKIN         1400 MANCHESTER                                                                                 SHAWNEE          OK      74804‐2313
JERREL MAYS            4736 MEADOWBROOK LN                                                                             ORION            MI      48359‐2036
JERREL SANDERS         3732 LYNN ST                                                                                    FLINT            MI      48503‐4542
JERRELL A DYER         PO BOX 185                                                                                      SELIGMAN         AZ      86337
JERRELL BANNON         6489 N 100 W                                                                                    ALEXANDRIA       IN      46001‐8222
JERRELL BLAKE          5114 WEXFORD RD                                                                                 LANSING          MI      48911‐3308
JERRELL BRADY          248 BUD HILBUN RD                                                                               BASKIN           LA      71219‐9542
JERRELL CONNER         2932 CUSTER ORANGEVILLE RD NE                                                                   BURGHILL         OH      44404‐9708
JERRELL MAYO           126 MEADOW SPRING LN                                                                            TEMPLE           GA      30179‐6201
JERRELL MCRAE          47232 ASHLEY CT                                                                                 CANTON           MI      48187‐1419
JERRELL RIGGIN         13 TIMBER CREEK DR                                                                              SHAWNEE          OK      74804‐1136
JERRELL SOSBE          6783 W COUNTY RD 125 N                                                                          GREENCASTLE      IN      46135‐7781
JERRELL STEPHEN        JERRELL, STEPHEN                140 GROVE LN S                                                  HENDERSONVILLE   TX      37075
JERRELL STEPHEN        STEPHEN, VIRGINIA               140 GROVE LN S                                                  HENDERSONVILLE   TX      37075
JERRELL, GERALD W      5363 MICHAEL CT                                                                                 GREENWOOD        IN      46142‐9683
JERRELL, MELLIE J      4229 ENGLISH AVE                                                                                INDIANAPOLIS     IN      46201‐4505
JERRELL, RICHARD D     2501 KENTHA CT                                                                                  HOLLY            MI      48442
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JERRELL, STEPHEN       140 GROVE LN S                                                                            HENDERSONVILLE    TN     37075‐7001
JERRELL, STEPHEN L     247 SAVELY DR                                                                             HENDERSONVILLE    TN     37075‐2968
JERREN SWAYNE          1420 HACKLESHIN RD                                                                        PEEBLES           OH     45660‐9722
JERRETTA LOGAN         11999 AUDRAIN ROAD 657                                                                    WELLSVILLE        MO     63384‐3027
JERRI BAKER            5622 HIGH ARBOR DR                                                                        GALLOWAY          OH     43119‐8834
JERRI BUCK             2504 TAMRA LANE                                                                           ANDERSON          IN     46012‐9496
JERRI CLARK            2129 CHEVY CT                                                                             KOKOMO            IN     46902‐2530
JERRI ENRIKA WILEY     134 ADAMS CIRCLE                                                                          GADSDEN           AL     35903
JERRI GAMAEZ           PO BOX 4279                                                                               PRESCOTT          MI     48756‐4279
JERRI GREEN            3161 FISH LAKE RD                                                                         LAPEER            MI     48446‐8393
JERRI H SMITH          199 MARK COURT                                                                            GERMANTOWN        OH     45327‐9356
JERRI LINDSEY          312 ANTIETAM DRIVE                                                                        BOSSIER CITY      LA     71112‐4793
JERRI PATRICK          5975 SHERIDAN ST                                                                          DETROIT           MI     48213‐2466
JERRI SEYFORS          207 MAYNARD AVE                                                                           CRESTLINE         OH     44827‐1962
JERRI SMITH            7771 MIDFOREST CT                                                                         HUBER HEIGHTS     OH     45424‐1916
JERRI SMITH            408 N DEERFIELD AVE                                                                       LANSING           MI     48917‐2986
JERRI TABOR            1080 TRAMMEL BOYCE RD                                                                     SCOTTSVILLE       KY     42164‐9680
JERRICK, ANTHONY       8664 FLOORSTONE MILL DR                                                                   JACKSONVILLE      FL     32244‐2497
JERRICK, PHYLLIS M     2939 LAGOON COVE                                                                          OVIEDO            FL     32765‐6935
JERRICK, PHYLLIS M     2939 LAGOON CV                                                                            OVIEDO            FL     32765‐6935
JERRIE BIGELOW         423 E MULBERRY ST                                                                         LANCASTER         OH     43130
JERRIE CHAPMAN         705 JEWELL ST                                                                             DANVILLE           IL    61832‐4017
JERRIE EAVES           1210 STATE ROUTE 92                                                                       EXCLSOR SPRGS     MO     64024‐9711
JERRIE FISH            10915 E GOODALL RD UNIT 60                                                                DURAND            MI     48429‐9789
JERRIE HAMMARSTROM     68 CARRIAGE SUMMITT WAY                                                                   HENDERSONVILLE    NC     28791‐2816
JERRIE HEALY           13361 S BUDD RD                                                                           BURT              MI     48417‐9419
JERRIE L BIGELOW       423 E MULBERRY ST                                                                         LANCASTER         OH     43130
JERRIE L ROMANO        8985 S W 196TH COURT                                                                      DUNNELON          FL     34432‐2668
JERRIE L RYNICKI       5742 N RAISIN CENTER HWY                                                                  TECUMSEH          MI     49286‐9581
JERRIE L WILLIAMS      9513 LAKESIDE DR                                                                          YPSILANTI         MI     48197‐3033
JERRIE PERKINS         1997 E M 72 HWY                                                                           GRAYLING          MI     49738‐9437
JERRIE RYNICKI         5742 N RAISIN CENTER HWY                                                                  TECUMSEH          MI     49286‐9581
JERRILEANE RHODES      3514 TECUMSEH RIVER RD                                                                    LANSING           MI     48906‐3561
JERRILEE LARSON        135 OSTRANDER RD                                                                          AFTON             MI     49705‐9756
JERRILEE ROCKWELL      5839 N TERESA DR                                                                          ALEXANDRIA        IN     46001‐8635
JERRILS, RICHARD J     1086 TYLER LANE                                                                           CHARLOTTE         MI     48813‐8725
JERRILS, RICHARD J     419 MOORES RIVER DR                                                                       LANSING           MI     48910‐1435
JERRILYN DAHLSTROM     11694 TOMPKINS RD                                                                         RIVES JCT         MI     49277‐9777
JERRILYN KASMER        2006 FLORENCE AVE                                                                         HAZLET            NJ     07730‐4014
JERRILYN M DAHLSTROM   11694 TOMPKINS RD                                                                         RIVES JCT         MI     49277‐9777
JERRIS D NELSON        2005 GOODRICH AVE                                                                         FLINT             MI     48503‐3948
JERRIS NELSON          2005 GOODRICH AVE                                                                         FLINT             MI     48503‐3948
JERRMIAH DUNCAN        4362 E COURT ST                                                                           BURTON            MI     48509‐1808
JERROD D GAUER         182 LA KENGREN DR                                                                         EATON             OH     45320
JERROD WHITE           13669 DUNLAP RD                                                                           LA SALLE          MI     48145‐9770
JERROL L MEREDITH      480 E CONSOLIDATED RD                                                                     EATON             OH     45320‐9334
JERROL L MEREDITH      687 E CONSOLIDATED RD                                                                     EATON             OH     45320‐9595
JERROL MEREDITH        480 EAST CONSOLIDATED ROAD                                                                EATON             OH     45320‐9334
JERROLD A GILBERT      433 TIMBERLAKE DR                                                                         DAYTON            OH     45414
JERROLD BRECKO         28 TIMBERLANE DR                                                                          PENNINGTON        NJ     08534‐1403
JERROLD CUMMINGS       3247 RINIEL RD                                                                            LENNON            MI     48449‐9411
JERROLD DEMUTH         3435 E KINSEL HWY                                                                         CHARLOTTE         MI     48813‐9741
JERROLD FISHER         CASCINO MICHAEL P             220 SOUTH ASHLAND AVE                                       CHICAGO            IL    60607
JERROLD GILDING        258 LEGACY PARK DR APT 3                                                                  CHARLOTTE         MI     48813‐1354
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Name                          Address1                       Address2                   Address3          Address4               City            State   Zip
JERROLD HARNACK               2126 S OAKHILL AVE                                                                                 JANESVILLE       WI     53546‐9048
JERROLD HOPPOUGH              16199 140TH AVE                                                                                    LEROY            MI     49655‐8283
JERROLD JENSEN                715 BURDICK ST                                                                                     MILTON           WI     53563‐1003
JERROLD JOHNSON               3700 LOWER MOUNTAIN RD                                                                             SANBORN          NY     14132‐9115
JERROLD JONES                 3920 KELLER RD                                                                                     HOLT             MI     48842‐1824
JERROLD JONES                 220 BALL ST                                                                                        ORTONVILLE       MI     48462‐8865
JERROLD KING                  6502 BEACON HILL DR                                                                                WASHINGTON       MI     48094‐1224
JERROLD L GILDING             258 LEGACY PARK DR APT 3                                                                           CHARLOTTE        MI     48813‐1354
JERROLD MC NEAL               10100 BELSAY RD                                                                                    MILLINGTON       MI     48746‐9753
JERROLD MILLER                12444 DANIELLE DR                                                                                  SOUTH LYON       MI     48178‐8540
JERROLD NICHOLS JR            9184 N CENTER RD                                                                                   CLIO             MI     48420‐9759
JERROLD PEIFFER               1090 BROOKSIDE DR                                                                                  GRAND LEDGE      MI     48837‐1319
JERROLD RODGERS               2191 CEDAR RD                                                                                      HARRISON         MI     48625‐8107
JERROLD SEVERT                6074 PHILLIPSBURG UNION RD                                                                         ENGLEWOOD        OH     45322‐9712
JERROLD SUMNER                5810 SAVOY DR                                                                                      WATERFORD        MI     48327‐2669
JERROLD SWIFT                 6201 W MOUNT HOPE HWY                                                                              LANSING          MI     48917‐8518
JERROLD THOMAS                600 W MAIN ST                                                                                      THORNTOWN        IN     46071‐1138
JERROLD TIPMORE               4195 MAPLE HILL DR                                                                                 GREENWOOD        IN     46143‐9301
JERROLD WALTON                10227 CEDAR COVE LN                                                                                CLARKSTON        MI     48348‐2463
JERROLD WARD                  1022 BENNETT AVE                                                                                   SANDUSKY         OH     44870‐1703
JERROLD WIERTH                2657 DEAN DR                                                                                       HIGHLAND         MI     48356‐1915
JERROLDS, DANIEL H            1360 CASTO BLVD                                                                                    BURTON           MI     48509‐2038
JERROLDS, MARTHA H.           1388 ALCONA DR                                                                                     BURTON           MI     48509‐2002
JERROLL ESSEX                 733 COUNTY ROAD 1304                                                                               MORGAN           TX     76671‐3031
JERRON D BUCKNER              1233 VERNON DR                                                                                     DAYTON           OH     45407‐1715
JERRUM LEE                    890 MARSEILLES DR NW                                                                               ATLANTA          GA     30327‐4300
JERRY
JERRY                         UNK                                                                                                UNK             OH      00000
JERRY & DONNA BRADSHAW JT     7722 BANASZAK RD                                                                                   N LITTLE ROCK   AR      72118‐1380
JERRY & CYNDI PHILLIPS        8036 MARATHON DR                                                                                   PLANO           TX      75024
JERRY & NANCY GUNTER          103 HARTWOOD DR                                                                                    GADSDEN         AL      35901
JERRY ( VAUGHN                12 OLD MAIN WEST                                                                                   MIAMISBURG      OH      45342‐3174
JERRY (WIECZYSLAW) TARANIUK   MOTLEY RICE LLC                28 BRIDGESIDE BLVD         PO BOX 1792                              MT PLEASANT     SC      29465
JERRY A APTHORPE              9342 HORN RD                                                                                       WINDHAM         OH      44288‐1450
JERRY A BURGAN                4006 SASSAFRAS DR                                                                                  GALION          OH      44833‐9615
JERRY A CALLAHAN              52 ALYSSA CT                                                                                       CORTLAND        OH      44410‐1679
JERRY A COX                   4521 SAINT JAMES AVE                                                                               DAYTON          OH      45406‐2322
JERRY A COX JR                4521 SAINT JAMES AVE                                                                               DAYTON          OH      45406‐2322
JERRY A DAVIS                 816 EASTLAND AVE SE                                                                                WARREN          OH      44484‐4506
JERRY A DENNISON              440 CORNELISON ST                                                                                  LEBANON         MO      65536
JERRY A DENNISON              19912 TIMES AVE.                                                                                   HAYWARD         CA      94541
JERRY A DICKERSON             51 KATIE TRL SE                                                                                    BOGUE CHITTO    MS      39629
JERRY A FARLER                3691 MCLEAN RD                                                                                     FRANKLIN        OH      45005
JERRY A FYFFE                 6926 CRESTVIEW LN                                                                                  HILLSBORO       OH      45133‐8416
JERRY A HANCOCK               1638 BANCROFT ST                                                                                   DAYTON          OH      45408‐1804
JERRY A HARRIS                5054 BOONE TRL                                                                                     HILLSBORO       MO      63050
JERRY A HUNTER SR             118 MC KENNEY AVE                                                                                  SYRACUSE        NY      13211‐1732
JERRY A KING                  1037 CARMEL RD                                                                                     MONTICELLO      MS      39654
JERRY A LAY                   3267 US HIGHWAY 224 E                                                                              GREENWICH       OH      44837‐9560
JERRY A LUCOUS                3 MILTON POTSDAM RD                                                                                LAURA           OH      45337
JERRY A MCCAHAN               6516 ELM ST                                                                                        KINSMAN         OH      44428
JERRY A MCCANN                5530 GREENWOOD CIR.                                                                                NAPLES          FL      34112‐‐ 71
JERRY A MILLER                NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                          DAINGERFIELD    TX      75638
JERRY A NYCUM                 2613 HENN HYDE RD NE                                                                               WARREN          OH      44484
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Name                   Address1                       Address2                    Address3   Address4               City              State   Zip
JERRY A OTHERSEN       3177 BORRADALE RD                                                                            EATON              OH     45320
JERRY A PETRIE         26711 DOVER                                                                                  REDFORD            MI     48239‐1917
JERRY A PHILLIPS       2773 RIVER BLUFF DR                                                                          SPRING VALLEY      OH     45370‐9703
JERRY A RILEY          10864 W.100 NORTH                                                                            KOKOMO             IN     46901‐8669
JERRY A ROOT           4112 E SAINT ANDREWS RD                                                                      MIDLAND            MI     48642‐6153
JERRY A SALYERS        PO BOX 631                                                                                   FORT RECOVERY      OH     45846‐0631
JERRY A SHEPARD        5800 PADDINGTON RD                                                                           DAYTON             OH     45459
JERRY A SKINNER        1179 E YALE AVE                                                                              FLINT              MI     48505‐1518
JERRY A STEVENS        APT 23 153 OLD DTN‐YLW SPGS                                                                  FAIRBORN           OH     45324
JERRY A STRADER, JR.   5640 HORSESHOE BEND RD                                                                       LUDLOW FALLS       OH     45339
JERRY A TASSELLO       2703 MOUSETTE LN                                                                             CAHOKIA             IL    62206‐2705
JERRY A TAYLOR         214 RIDGE CREST DR                                                                           W. CARROLLTON      OH     45449‐2238
JERRY A WATSON         110 S WALNUT                                                                                 GERMANTOWN         OH     45327‐1251
JERRY A. WITT
JERRY AARANT           PO BOX 191                                                                                   HILLSBORO         MO      63050‐0191
JERRY AARON            904 MASTER DRIVE                                                                             GALLOWAY          OH      43119‐8239
JERRY AARSTAD          N3007 BUENA VISTA RD                                                                         FORT ATKINSON     WI      53538‐9053
JERRY ABEL             5245 E EDGEWOOD AVE                                                                          INDIANAPOLIS      IN      46237‐2616
JERRY ABERNATHY        406 W GARFIELD ST                                                                            PARIS             IL      61944‐2643
JERRY ACORD            32568 FRIENDSHIP DR                                                                          MILLSBORO         DE      19966‐4489
JERRY ACREE            1512 GLYNN OAKS DR                                                                           ARLINGTON         TX      76010‐5911
JERRY ADAIR            THE MADEKSHO LAW FIRM          8866 GULF FREEWAY STE 440                                     HOUSTON           TX      77017
JERRY ADAMS            3627 LAWRENCE HWY                                                                            CHARLOTTE         MI      48813‐8841
JERRY ADAMS            526 UNION ST                                                                                 IONIA             MI      48846‐1257
JERRY ADAMS            328 HIGHLAND CT                                                                              PLAINWELL         MI      49080‐9108
JERRY ADAMS            9174 VASSAR RD                                                                               GRAND BLANC       MI      48439‐9535
JERRY ADAMS            12435 PEET RD                                                                                CHESANING         MI      48616‐9621
JERRY ADAMS            16021 MOCK RD                                                                                BERLIN CENTER     OH      44401‐9762
JERRY ADAMS            1100 COURTNEY DR                                                                             ROYSE CITY        TX      75189‐3557
JERRY ADAMS            14275 ELMDALE ST                                                                             DETROIT           MI      48213‐1967
JERRY ADAMS            15135 KERSTYN ST                                                                             TAYLOR            MI      48180‐4844
JERRY ADCOX            4836 UPPER VALLEY RD                                                                         DAYTON            OH      45424‐1784
JERRY ADKINS           44191 CLAY RD                                                                                BELLEVILLE        MI      48111‐9153
JERRY AHRENS           3746 S AFTON RD.                                                                             JANESVILLE        WI      53545
JERRY AKINS            3703 E REMBRANDT DR                                                                          MARTINSVILLE      IN      46151‐6031
JERRY ALBERTS          1751 BIG CYPRESS BLVD                                                                        LAKELAND          FL      33810‐2375
JERRY ALDRICH          618 N MAIN                                                                                   PERRY             MI      48872‐9704
JERRY ALDRICH          12400 UPTON RD                                                                               BATH              MI      48808‐9487
JERRY ALEXANDER        PO BOX 228                                                                                   ALLONS            TN      38541‐0228
JERRY ALEXANDER        401 SHADYLAKE DR                                                                             LA VERGNE         TN      37086‐2685
JERRY ALFARO           30040 FAIRFAX ST                                                                             LIVONIA           MI      48152‐1919
JERRY ALFORD           2147 S 380 E                                                                                 ANDERSON          IN      46017‐9727
JERRY ALLEN            1816 SOPHIA LN                                                                               HINCKLEY          OH      44233‐9304
JERRY ALLEN            572 MALLARD ST                                                                               ROCHESTER HILLS   MI      48309‐3522
JERRY ALLEN            3812 E SATURN LN                                                                             ALEXANDRIA        IN      46001‐8890
JERRY ALLEN            92 JOHN CT                                                                                   DANVILLE          IN      46122‐1994
JERRY ALLEN            2315 STARLIGHT DR                                                                            ANDERSON          IN      46012‐1945
JERRY ALLEN            3291 EASTGATE ST                                                                             BURTON            MI      48519‐1554
JERRY ALLEN            4679 LIPPINCOTT RD                                                                           LAPEER            MI      48446‐7818
JERRY ALLEN            PO BOX 2645                                                                                  BELLEVILLE        MI      48112‐2645
JERRY ALLES            1570 SEMINOLE LN                                                                             SAGINAW           MI      48638‐4495
JERRY ALLMAN           13192 N JENNINGS RD                                                                          CLIO              MI      48420‐8885
JERRY ALLORE           2717 W ROBIN DR                                                                              SAGINAW           MI      48601‐9208
JERRY ALLRED           2405 HEATHER DR                                                                              BOWLING GREEN     KY      42104‐4537
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Name                      Address1                          Address2                         Address3   Address4               City             State   Zip
JERRY ALLRED              PO BOX 361                                                                                           CRESTLINE         OH     44827‐0361
JERRY ALTENBERNT          1923 ROLLING MEADOWS ST                                                                              PINCKNEY          MI     48169‐9126
JERRY AMBURGEY            924 PINE AVE                                                                                         LAKE ORION        MI     48362‐2445
JERRY AMELL               2957 OAKSHIRE AVE                                                                                    BERKLEY           MI     48072‐1323
JERRY AMES                840 W DITTEMORE RD                                                                                   BLOOMINGTON       IN     47404‐9483
JERRY AMMERMAN            5135 DURWOOD DR                                                                                      SWARTZ CREEK      MI     48473‐1123
JERRY AMOS                2959 ELBIB DR                                                                                        SAINT CLOUD       FL     34772‐8527
JERRY AMRICH              13227 PINE VALLEY DR                                                                                 CLIO              MI     48420‐9159
JERRY AND JANIS MCPIKE    C/O GREGORY P CAFOUROS, KROGER,   111 MONUMENT CIRCLE, SUITE 900                                     INDIANAPOLIS      IN     46204‐5125
                          GARDIS & REGAS, LLP
JERRY AND SANDRA PINDER   C/O COK WHEAT & KINZLER PLLP      PO BOX 1105                                                        BOZEMAN          MT      59771
JERRY ANDERSON            13955 S TRAILS END DR                                                                                HOMER GLEN       IL      60491‐8643
JERRY ANDERSON            3941 MONTEVIDEO DR                                                                                   DAYTON           OH      45414‐5020
JERRY ANDERSON            13900 W RAINTREE CT                                                                                  DALEVILLE        IN      47334‐9606
JERRY ANDERSON            8065 S COUNTY ROAD 100 W                                                                             CLAYTON          IN      46118‐9241
JERRY ANDERSON            43 VJ DR                                                                                             OAKWOOD          IL      61858‐6202
JERRY ANDERSON            41 STANLEY DR                                                                                        BAY CITY         MI      48708‐9118
JERRY ANDERSON            1430 EMANUEL HOLLOW RD                                                                               GRAY             KY      40734‐6875
JERRY ANDERSON            12273 WOODSIDE DR APT 1                                                                              GRAND BLANC      MI      48439‐1651
JERRY ANDERSON            98‐410 KOAUKA LOOP APT 3G                                                                            AIEA             HI      96701‐4501
JERRY ANDERSON            356 HURON HILLS DR                                                                                   EAST TAWAS       MI      48730‐9521
JERRY ANDREWS             2576 PINCH HWY                                                                                       CHARLOTTE        MI      48813‐7736
JERRY ANDREWS             86 SUNSET BLVD                                                                                       CRYSTAL          MI      48818‐9664
JERRY ANDREWS             397 CLOVER ST                                                                                        ABERDEEN         MD      21001‐1922
JERRY ANTL                260 ROUND HILL RD                                                                                    BRISTOL          CT      06010‐2639
JERRY APPLEBEE            1404 STRAWBERRY LN APT 223                                                                           ARLINGTON        TX      75011‐4951
JERRY ARENDER             2427 SAVAGE DR                                                                                       LAPEER           MI      48446‐8067
JERRY ARMENTROUT          8568 W 193RD TER                                                                                     STILWELL         KS      66085‐8759
JERRY ARNOLD              PO BOX 182                                                                                           YOUNGSTOWN       FL      32466‐0182
JERRY ARNOLD              11752 NEW BRITAIN DR                                                                                 SPRING HILL      FL      34609‐9250
JERRY ARNOLD              125 W VINE ST                                                                                        MITCHELL         IN      47446‐1963
JERRY ARNOLD              8888 W HACKBERRY LN                                                                                  LAPEL            IN      46051‐9739
JERRY ARNOLD              382 BRIDGEWATER DR                                                                                   MC DONALD        TN      37353‐5480
JERRY ARP                 70 NORTH AVE                                                                                         HAMPTON          GA      30228‐1983
JERRY ARRIAGA             115 VILLAGE DR                                                                                       LANSING          MI      48911‐3755
JERRY ASHBROOK            5056 W DIVISION RD                                                                                   MORGANTOWN       IN      46160‐8418
JERRY ASHBY               765 GRACE ST                                                                                         NORTHVILLE       MI      48167‐2743
JERRY ASTON SR            630 NAVAJO RD                                                                                        CHATHAM          LA      71226‐9105
JERRY ATROS MOTORS        792 4TH AVE                                                                                          BROOKLYN         NY      11232‐1606
JERRY ATWELL              3474 FARNSWORTH RD                                                                                   LAPEER           MI      48446‐8740
JERRY AULT                715 N CENTRAL AVE                                                                                    ALEXANDRIA       IN      46001‐1341
JERRY AUSTIN              1029 W GRAND RIVER RD                                                                                LAINGSBURG       MI      48848‐9763
JERRY AUSTIN              779 HONEY CREEK RD                                                                                   EUREKA SPRINGS   AR      72631‐9040
JERRY AVERY               1087 HIGHVIEW DR                                                                                     LAPEER           MI      48446‐3389
JERRY AVERY               14180 S LIDBERG BRIDGE RD                                                                            GORDON           WI      54838‐8003
JERRY AYRES               PO BOX 697                                                                                           SPRING HILL      TN      37174‐0697
JERRY AZELTON             400 JOMAR LN                                                                                         CADILLAC         MI      49601‐8174
JERRY B ALBERT            165 DIAMOND WAY                                                                                      CORTLAND         OH      44410
JERRY B BALL              7501 STANCREST DR                                                                                    HUBER HEIGHTS    OH      45424‐2162
JERRY B BELLAMY           7006 PINYON PINE LN SE                                                                               OWENS X RDS      AL      35763‐9030
JERRY B DAVIDSON          747 TIBBALS STREET                                                                                   FRANKLIN         OH      45005‐2760
JERRY B GRIZZLE           7509 N NATURE TRL                                                                                    HERNANDO         FL      34442‐3617
JERRY B HANSEL            1211 MARSHA DRIVE                                                                                    MIAMISBURG       OH      45342‐3239
JERRY B KELLY             820 PECKS CREEK RD                                                                                   STANTON          KY      40380‐8030
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Name                            Address1                          Address2                     Address3   Address4               City            State   Zip
JERRY B ROTH                    417 AUTUMNWIND                                                                                   LEBANON          OH     45036
JERRY B TERRELL                 10955 PROVIDENCE PIKE                                                                            BROOKVILLE       OH     45309
JERRY B WILSON                  329 PEACH ORCHARD AVE                                                                            DAYTON           OH     45419
JERRY BACON                     BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.      OH     44236
JERRY BADEN                     7803 DAWN DR                                                                                     ALMONT           MI     48003‐8769
JERRY BAILEY                    3296 W WILSON RD                                                                                 CLIO             MI     48420‐1981
JERRY BAILEY                    1824 S EVANSTON AVE                                                                              INDEPENDENCE     MO     64052‐1953
JERRY BAILEY                    2378 STATE ROAD 60 E                                                                             MITCHELL         IN     47446‐6121
JERRY BAIN                      1930 MARION CO RD 3509                                                                           JEFFERSON        TX     75657
JERRY BAIRD                     870 UPTON AVE                                                                                    BATTLE CREEK     MI     49037‐4847
JERRY BAKER                     PO BOX 469                                                                                       MOUNT MORRIS     MI     48458‐0469
JERRY BAKER                     16661 WINDING CREEK DR                                                                           NEWALLA          OK     74857‐1322
JERRY BAKER                     4551 BUNNELL CROSSING RD                                                                         HORSE CAVE       KY     42749‐7047
JERRY BAKER                     976 OTTAWA AVE                                                                                   YPSILANTI        MI     48198‐6136
JERRY BAKER                     601 E KNIGHT ST                                                                                  EATON RAPIDS     MI     48827‐1358
JERRY BAKER                     428 NUNNALLY AVE #PH                                                                             GADSDEN          AL     35903
JERRY BALAS                     2121 N PARKER DR                                                                                 JANESVILLE       WI     53545‐0759
JERRY BALDRIDGE                 1776 JEFFERSON ST SW                                                                             WARREN           OH     44485‐3560
JERRY BALL                      7501 STANCREST DR                                                                                HUBER HEIGHTS    OH     45424‐2162
JERRY BALL                      3119 ELLIOTT AVE                                                                                 LINCOLN PARK     MI     48146‐3111
JERRY BALL                      2858 EAST P.R. 930 SOUTH                                                                         COAL CITY        IN     47427
JERRY BALL                      PO BOX 84                         259 STATE LINE COPELAND RD                                     STATE LINE       MS     39362‐0084
JERRY BALL                      BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.      OH     44236
JERRY BALOGH                    8782 BUCKSKIN DR                                                                                 COMMERCE         MI     48382‐3402
                                                                                                                                 TOWNSHIP
JERRY BALTIMORE                 1131 BURKET DR                                                                                   NEW CARLISLE    OH      45344‐2602
JERRY BALZER                    5561 AMBLER ST                                                                                   LANSING         MI      48911‐7201
JERRY BANCROFT                  6325 VICTORIA SHORE DR                                                                           LAINGSBURG      MI      48848‐9448
JERRY BANCROFT                  9451 MORRISH RD                                                                                  MONTROSE        MI      48457‐9017
JERRY BANDY                     3842 STILLWELL AVE                                                                               LANSING         MI      48911‐2158
JERRY BANKS                     6126 BONETA RD                                                                                   MEDINA          OH      44256‐8762
JERRY BANKS                     3669 CHRISTY WAY W                                                                               SAGINAW         MI      48603‐7228
JERRY BANKS                     6313 FOGGY OAK DR                                                                                FAIRBURN        GA      30213‐4686
JERRY BARBER                    31986 N LARKSPUR DR                                                                              QUEEN CREEK     AZ      85243‐5822
JERRY BARE                      8021 EDGEWATER AVE                                                                               BALTIMORE       MD      21237‐3206
JERRY BARENDREGHT               70777 DEQUINDRE RD                                                                               LEONARD         MI      48367‐4437
JERRY BARKER                    3255 FERNWOOD AVE                                                                                ANN ARBOR       MI      48108‐2904
JERRY BARKER                    1441 MAPLE DR APT 36                                                                             FAIRVIEW        MI      48621‐8708
JERRY BARKER                    3225 W 53RD ST                                                                                   ANDERSON        IN      46011‐9460
JERRY BARKER CHEVROLET‐HUMMER   211 CHAPMAN RD                                                                                   BYRON           GA      31008‐7004
JERRY BARKER JR                 3624 ROCK DR SW                                                                                  WARREN          OH      44481‐9209
JERRY BARLOW                    204 N HOLLAND ST                                                                                 MUNCIE          IN      47303‐5159
JERRY BARNES                    3281 NEW MILFORD RD                                                                              ATWATER         OH      44201‐9212
JERRY BARNETT                   9780 RIDGE RD                                                                                    MIDDLEPORT      NY      14105‐9709
JERRY BARNETT                   PO BOX 22                                                                                        LACHINE         MI      49753‐0022
JERRY BARNETT                   2907 W 133RD ST                                                                                  GARDENA         CA      90249‐1518
JERRY BARNETT                   21148 MYERS RD                                                                                   ATHENS          AL      35614‐5400
JERRY BARTLETT                  2071 CROSSING CT APT B                                                                           GREENFIELD      IN      46140‐7671
JERRY BARTLEY                   2001 WILSHIRE DR                                                                                 FRANKFORT       IN      46041‐3260
JERRY BARTON                    PO BOX 355                                                                                       MIDDLESBORO     KY      40965‐0355
JERRY BARTON                    126 E LINCOLN ST                                                                                 HAWK POINT      MO      63349‐2454
JERRY BASHAM                    825 HARTNER DR                                                                                   HOLLY           MI      48442‐1632
JERRY BASNAR                    302 CARDINAL CIR.                                                                                MAYVILLE        WI      53050
JERRY BASSETT                   717 W ADAMS ST                                                                                   ALEXANDRIA      IN      46001‐1818
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JERRY BATEMAN       7545 E 750 N                                                                              HOWE             IN     46746‐9224
JERRY BATES         934 N EGYPT CIR                                                                           BROOKHAVEN       MS     39601‐3556
JERRY BATES         8932 E STARWOOD LN                                                                        GREENWOOD        LA     71033‐3382
JERRY BATSON        3530 RUE FORET                                                                            FLINT            MI     48532
JERRY BATT          1408 E JESSICA LN                                                                         MUNCIE           IN     47302‐9063
JERRY BAUCCO        16604 BURROWS RD                                                                          THOMPSON         OH     44086‐9739
JERRY BAUERS        10337 SOUTHEASTERN AVE                                                                    INDIANAPOLIS     IN     46239‐1451
JERRY BAUGHMAN      1137 WAYSIDE PL                                                                           PORTLAND         IN     47371‐3029
JERRY BAUMGARDNER   241 E LIBERTY RD                                                                          CLARKLAKE        MI     49234‐9624
JERRY BEACH         3222 CONSEAR RD                                                                           LAMBERTVILLE     MI     48144‐9661
JERRY BEAL          1040 OAKDALE DR                                                                           MANSFIELD        OH     44905‐1650
JERRY BEAN          9064 N SEYMOUR RD                                                                         FLUSHING         MI     48433‐9285
JERRY BEARDEN       2408 JUNIPER TRL                                                                          ALVARADO         TX     76009‐4549
JERRY BEASLEY       PO BOX 315                    4841 NIXON RD                                               DIMONDALE        MI     48821‐0315
JERRY BECK          7316 GREEN VALLEY DR                                                                      GRAND BLANC      MI     48439‐8194
JERRY BECK          5958 N 200 W                                                                              ANDERSON         IN     46011‐9229
JERRY BECK          327 BLUEBERRY DR                                                                          COLUMBIANA       OH     44408‐1413
JERRY BEETS         205 HODGE RD                                                                              BEAN STATION     TN     37708‐6403
JERRY BEGGS         844 LAUREL CIR                                                                            CROSSVILLE       TN     38555‐0110
JERRY BEHMLANDER    PO BOX 85                                                                                 WELLSTON         MI     49689
JERRY BELCHER       26142 SUSAN ST                                                                            TAYLOR           MI     48180‐3025
JERRY BELL          10610 W OAK RIDGE RD                                                                      EVANSVILLE       WI     53536‐8306
JERRY BELL          1591 STATE ROUTE 436                                                                      NUNDA            NY     14517‐9769
JERRY BELL          7120 COUNTY ROAD 301                                                                      TIPLERSVILLE     MS     38674‐9512
JERRY BELL          2444 NERREDIA ST                                                                          FLINT            MI     48532‐4827
JERRY BELLAMY       7006 PINYON PINE LN SE                                                                    OWENS X RDS      AL     35763‐9030
JERRY BELLOWS       5342 HEATH AVE                                                                            CLARKSTON        MI     48346‐3533
JERRY BENBOW        1190 CORPORATION LINE RD                                                                  MIDDLETOWN       IN     47356‐9352
JERRY BENDER        13525 SOUTH M43 HIGHWAY                                                                   DELTON           MI     49046
JERRY BENDICKSON    PO BOX 295                                                                                SOUTH BRANCH     MI     48761‐0295
JERRY BENEFIEL      5340 NORWALDO AVE                                                                         INDIANAPOLIS     IN     46220‐3452
JERRY BENNETT       153 MILL ST                                                                               WILLIAMSVILLE    NY     14221‐5550
JERRY BENNETT       1478 RIDGEWOOD PL                                                                         LAWRENCEVILLE    GA     30043‐3732
JERRY BENNETT       3128 BUICE CIR                                                                            GAINESVILLE      GA     30504‐5806
JERRY BENNETT       19051 N COUNTY ROAD 850 W                                                                 GASTON           IN     47342‐9021
JERRY BENNETT       4412 N MINTO DR                                                                           MARION           IN     46952‐8628
JERRY BENNETT       1166 PIPER RD                                                                             MANSFIELD        OH     44905‐1356
JERRY BENSON        6171 INDUSTRIAL LOOP          C‐206                                                       SHREVEPORT       LA     71129
JERRY BERGEN        5980 CHESTNUT TRL                                                                         WHITE LAKE       MI     48383‐3513
JERRY BERGER        856 TACKEN ST                                                                             FLINT            MI     48532‐3869
JERRY BERGERON      4593 E 13 MILE RD                                                                         WARREN           MI     48092‐1731
JERRY BERGMAN       1712 W HARVEST CIR                                                                        PERRYVILLE       MO     63775‐9364
JERRY BERNER        7286 RIDGE RD                                                                             LOCKPORT         NY     14094‐9424
JERRY BERRY         1220 E JEFFERSON ST                                                                       FRANKLIN         IN     46131‐1920
JERRY BERRY         2920 NE ORLIE DR                                                                          OKLAHOMA CITY    OK     73121‐2436
JERRY BERRYHILL     6389 S 300 W                                                                              WARREN           IN     46792‐9742
JERRY BERTRAM       11670 W M 21                  C/O BARBARA A BERTRAM                                       FOWLER           MI     48835‐9103
JERRY BESEAU        2508 DESMOND                                                                              WATERFORD        MI     48329‐2818
JERRY BESEY         14395 JONATHAN DRIVE                                                                      MONROE           MI     48161
JERRY BETTS         4890 W GRAND RIVER RD                                                                     OWOSSO           MI     48867‐9292
JERRY BIBB          448 OLD WHITFIELD RD                                                                      PEARL            MS     39208
JERRY BIER          4241 HEARTHSTONE DR                                                                       JANESVILLE       WI     53546‐2155
JERRY BIERENS       475 E SUMMIT ST APT 12                                                                    MILFORD          MI     48381‐1625
JERRY BIERSCHBACH   2734 RENFREW WAY                                                                          LANSING          MI     48911‐6467
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Name                                 Address1                         Address2                    Address3             Address4               City            State Zip
JERRY BIGGERS CHEVROLET INC/EMKAY,   805 W THORNDALE AVE                                                                                      ITASCA            IL 60143‐1338

JERRY BIGGERS CHEVROLET INC/EMKAY,   805 W THORNDALE AVE                                                                                      ITASCA           IL   60143‐1338
INC.
JERRY BIGGERS CHEVROLET, INC.        JAMES LEICHTER                   1385 E CHICAGO ST                                                       ELGIN           IL    60120‐4715
JERRY BIGGERS CHEVROLET, INC.        1385 E CHICAGO ST                                                                                        ELGIN           IL    60120‐4715
JERRY BIGGS                          508 PERRYSVILLE AVE                                                                                      GEORGETOWN      IL    61846‐1562
JERRY BIROSAK                        5735 HERBERT RD                                                                                          CANFIELD        OH    44406‐9610
JERRY BISHOP                         810 BROOKWOOD DR                                                                                         TRENTON         OH    45067‐1810
JERRY BISHOP                         308 PARKER AVE                                                                                           KALAMAZOO       MI    49001‐5331
JERRY BISHOP
JERRY BIVINS                         2950 FORESTSIDE LN                                                                                       COLLEGE PARK    GA    30349‐4718
JERRY BIZZELL                        14 OAK BEND LN                                                                                           SAINT PETERS    MO    63376‐3611
JERRY BLACK                          8244 AIRPORT RD                                                                                          PORTLAND        MI    48875‐1992
JERRY BLACK                          PO BOX 664                                                                                               LOCKPORT        NY    14095‐0664
JERRY BLACKBURN                      1401 HUMMER LAKE RD                                                                                      ORTONVILLE      MI    48462‐9441
JERRY BLACKMAN                       729 E 194TH ST                                                                                           GLENWOOD        IL    60425‐2109
JERRY BLACKMON                       12642 BAY TREE DR                                                                                        FLORISSANT      MO    63033‐4740
JERRY BLACKMORE                      277 SPRUCE ST                                                                                            GLADWIN         MI    48624‐8319
JERRY BLACKWELL SR                   9 LOCKHART CIR APT H                                                                                     FOREST HILL     MD    21050‐3119
JERRY BLAHA                          12353 RUPPERT ROAD BOX 82                                                                                SHAFTSBURG      MI    48882
JERRY BLAKE                          13710 E U AVE                                                                                            VICKSBURG       MI    49097‐8583
JERRY BLAKE                          1723 CASS ST                                                                                             SAGINAW         MI    48602‐3022
JERRY BLAKE                          PO BOX 716                                                                                               LOCKPORT        NY    14095‐0716
JERRY BLAKNEY                        419 STONEY RUN DR                                                                                        MC LEANSVILLE   NC    27301‐9807
JERRY BLAKSLEE                       725 MOORES RIVER DR                                                                                      LANSING         MI    48910‐1343
JERRY BLAND                          603 BRIGHTON MANOR DR APT H                                                                              BALTIMORE       MD    21221‐4103
JERRY BLANKENSHIP JR                 PO BOX 1984                                                                                              OCEANA          WV    24870‐1984
JERRY BLEDSOE                        815 E SYCAMORE ST                                                                                        MIAMISBURG      OH    45342‐2443
JERRY BLOUIN                         20416 N 109TH DR                                                                                         SUN CITY        AZ    85373‐2328
JERRY BOBBIE                         1012 BELLAIR CT                                                                                          NILES           OH    44446‐1067
JERRY BOBO                           7570 E SPEEDWAY BLVD UNIT 436                                                                            TUCSON          AZ    85710‐8820
JERRY BOCOCK                         114 HARTSHORN DR                                                                                         VANDALIA        OH    45377‐2929
JERRY BOETTCHER                      26817 FOREST HILLS ST                                                                                    LEESBURG        FL    34748‐7718
JERRY BOGGIA                         49475 FAIRCHILD RD                                                                                       MACOMB          MI    48042‐4816
JERRY BOGUE                          1434 W 900 N                                                                                             ALEXANDRIA      IN    46001‐8360
JERRY BOHNERT                        60 RED CEDAR LN                                                                                          PERRYVILLE      MO    63775‐7339
JERRY BOLAN                          5005 N LINDEN RD                                                                                         FLINT           MI    48504‐1149
JERRY BOLDUC                         2092 E VIENNA RD                                                                                         CLIO            MI    48420‐7912
JERRY BOLIN                          2114 BELLE MEADE DR                                                                                      DAVISON         MI    48423‐2056
JERRY BOLING                         11401 SEAGOVILLE RD                                                                                      BALCH SPRINGS   TX    75180‐3215
JERRY BOLINGER JR                    2580 E 800 N                                                                                             OSSIAN          IN    46777‐9103
JERRY BONE                           1004 COMMANCHE DR                                                                                        CROSSVILLE      TN    38572‐6620
JERRY BONEWIT                        844 BLACKWOOD DR                                                                                         LAKE WALES      FL    33898‐3401
JERRY BONK                           4040 E 54TH ST                                                                                           MOUNT MORRIS    MI    48458‐9421
JERRY BOONE                          11878 N MAPLE VALLEY RD                                                                                  ROSCOMMON       MI    48653‐9714
JERRY BOONE                          270 CHARLES LN                                                                                           PONTIAC         MI    48341‐2929
JERRY BOOTH                          517 E PARKWAY AVE                                                                                        FLINT           MI    48505‐5244
JERRY BOQUETTE                       4370 STELLO RD                                                                                           SAGINAW         MI    48609‐9130
JERRY BOQUETTE
JERRY BOTHWELL                       3301 SPRING VALLEY DR                                                                                    FLINT           MI    48504‐1715
JERRY BOWDEN                         1309 ELIZABETH BLVD                                                                                      GRANBURY        TX    76048‐2315
JERRY BOWKER                         651 KENILWORTH AVE NE                                                                                    WARREN          OH    44483‐5311
JERRY BOWLER                         CONTROLLER                       PARAGON TECHNOLOGIES, INC   5775 TEN MILE ROAD                          WARREN          MI    48091
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Name                Address1                       Address2            Address3         Address4               City               State   Zip
JERRY BOWLING       109 STOLZ DR                                                                               MIDDLETOWN          OH     45042‐3848
JERRY BOWLING       1453 FARISTON RD                                                                           LONDON              KY     40744‐8319
JERRY BOWMAN        779 LEBANON RD                                                                             CLARKSVILLE         OH     45113‐9700
JERRY BOWMAN        13667 STATE ROUTE 122                                                                      SOMERVILLE          OH     45064‐9555
JERRY BOWMAN        13337 KATELAND CIR S                                                                       TUSCALOOSA          AL     35405‐8949
JERRY BOWMAN        13667 STATE ROUTE 122                                                                      SOMERVILLE          OH     45064‐9555
JERRY BOWMAN SR     2523 MARBLE FALLS DR                                                                       SPRING              TX     77373‐6265
JERRY BOYER         14217 CHANDLER RD                                                                          BATH                MI     48808‐9757
JERRY BRACKETT      1828 GILMARTIN ST                                                                          FLINT               MI     48503‐4410
JERRY BRACKIN       2278 E SCHUMACHER ST                                                                       BURTON              MI     48529‐2441
JERRY BRADFORD      996 GRACE ST                                                                               NORTHVILLE          MI     48167‐1138
JERRY BRADFORD      5187 WADDELL HOLLOW RD                                                                     FRANKLIN            TN     37064‐9466
JERRY BRADFORD      64 HIGHWAY E                                                                               JONESBURG           MO     63351‐2504
JERRY BRADLEY       148 DESERT SPRINGS CT                                                                      FERNLEY             NV     89408‐9383
JERRY BRADLEY       310 MARKET ST                                                                              NEW RICHMOND        OH     45157
JERRY BRAMBLETT     810 E 29TH ST                                                                              MARION              IN     46953‐3741
JERRY BRAMLETT      1508 NEW HOPE RD                                                                           LAWRENCEVILLE       GA     30045‐6550
JERRY BRANDOW       134 LILLY ST SE                                                                            GRAND RAPIDS        MI     49548‐7724
JERRY BRANDT        3454 FOLK REAM RD LOT 64                                                                   SPRINGFIELD         OH     45502‐6620
JERRY BRANTON
JERRY BRASIER       4625 SOUTHERN BLVD                                                                         KETTERING          OH      45429‐1119
JERRY BRAUNER       501 GROCE SUBDIVISION RD                                                                   ALBANY             KY      42602‐6799
JERRY BRAY          1525 PARK ST                                                                               BOWLING GREEN      KY      42101‐2964
JERRY BRAZZEL       1597 E 1275 S                                                                              KOKOMO             IN      46901‐7795
JERRY BRCIK         13004 RING RD                                                                              SAINT CHARLES      MI      48655‐9517
JERRY BREITWEISER   26618 E COVE DR                                                                            TAVARES            FL      32778‐9728
JERRY BREWER        6252 THORNAPPLE VALLEY DR                                                                  HASTINGS           MI      49058‐8296
JERRY BREWER        159 MINNETONKA DR                                                                          OXFORD             MI      48371‐5053
JERRY BRICKLEY      1317 LANCASTER ST                                                                          BLUFFTON           IN      46714‐1631
JERRY BRIDGES       504 E WALNUT ST                                                                            COVINGTON          OH      45318‐1646
JERRY BRIESKE       12873 SEYMOUR RD                                                                           BURT               MI      48417‐9623
JERRY BRIGGS        12811 N IONIA RD                                                                           SUNFIELD           MI      48890‐9019
JERRY BRINER        16005 S. STATE RD KK                                                                       PLEASANT HILL      MO      64080
JERRY BRINK         42111 BRIARCLIFF CT                                                                        CANTON             MI      48187‐3714
JERRY BRINKLEY      525 MCKEIGHAN AVE                                                                          FLINT              MI      48507‐2751
JERRY BRISTOL       1128 BROTT DR                                                                              HASTINGS           MI      49058‐9118
JERRY BRONKOWSKI    57 SPRINGWOOD ST W                                                                         OREGON             OH      43616‐2243
JERRY BROOKS        3053 HIGHLANDER DR                                                                         ANDERSON           IN      46012
JERRY BROOKS        5191 S 11TH ST                                                                             KALAMAZOO          MI      49009‐9512
JERRY BROWER        585 PROSPECT AVE SE                                                                        GRAND RAPIDS       MI      49503‐5339
JERRY BROWER        4750 LONDON BRIDGE RD LOT 41                                                               LAKE HAVASU CITY   AZ      86404
JERRY BROWN         2143 TOWNLINE RD                                                                           TAWAS CITY MI      MI      48763‐9739
JERRY BROWN         2218 S RACE ST                                                                             MARION             IN      46953‐3125
JERRY BROWN         18055 PARKSIDE ST                                                                          DETROIT            MI      48221‐2718
JERRY BROWN         10420 US HIGHWAY 31 LOT 323                                                                TANNER             AL      35671‐3516
JERRY BROWN         2443 ARLINGTON LN                                                                          LAUREL             MS      39440‐2377
JERRY BROWN         5890 LIVE OAK DR                                                                           TOLEDO             OH      43613‐5645
JERRY BROWN         9355 SE 125TH ST                                                                           SUMMERFIELD        FL      34491‐9746
JERRY BROWN         6000 HUNTERS RIDGE DR                                                                      PLAINFIELD         IN      46168‐7919
JERRY BROWN         1421 E 600 S                                                                               JONESBORO          IN      46938‐1524
JERRY BROWN         6630 GOAT HOLLOW RD                                                                        MARTINSVILLE       IN      46151‐7871
JERRY BROWN         36469 HEES ST                                                                              LIVONIA            MI      48150‐3554
JERRY BROWN         4444 DOUGLAS DR                                                                            ADRIAN             MI      49221‐9719
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Name                                Address1                      Address2            Address3         Address4               City            State Zip
JERRY BROWN                         261 ARABELLE ST                                                                           COMMERCE         MI 48382‐3203
                                                                                                                              TOWNSHIP
JERRY BROWN                         3500 BROWN ST                                                                             ANDERSON        IN   46013‐4222
JERRY BROWN                         6939 SANFORD RD                                                                           HOWELL          MI   48855‐9207
JERRY BROWN                         2874 SUNSET DR                                                                            BROOKLYN        MI   49230‐9346
JERRY BROWN                         1852 LUNENBURG DR                                                                         SAINT PETERS    MO   63376‐8139
JERRY BROWN                         367 LOWER LEESVILLE RD                                                                    BEDFORD         IN   47421‐7317
JERRY BROWNFIELD                    2031 TOWNLINE HWY                                                                         ADRIAN          MI   49221‐9425
JERRY BROWNING                      3509 OGDEN HWY                                                                            ADRIAN          MI   49221‐8634
JERRY BRUCE                         5540 KLAM RD                                                                              COLUMBIAVILLE   MI   48421‐9342
JERRY BRUMMET                       PO BOX 8                                                                                  SUMMITVILLE     IN   46070‐0008
JERRY BRYANT                        7875 CAL DR                                                                               SHREVEPORT      LA   71129‐2668
JERRY BRYANT                        3131 S ADAMS ST                                                                           FORT WORTH      TX   76110‐6718
JERRY BRYANT                        PO BOX 5997                                                                               SPRING HILL     FL   34611‐5997
JERRY BRYANT                        3433 VILLAGE DRIVE                                                                        FRANKLIN        OH   45005‐5603
JERRY BRZEZICKI                     25541 PATRICIA AVE                                                                        WARREN          MI   48091‐3876
JERRY BUCHANAN                      1699 PARSONS CT                                                                           NORTH PORT      FL   34288‐1406
JERRY BUCHHOLZ                      604 GRACE ST                                                                              OWOSSO          MI   48867‐4335
JERRY BUCK                          5516 COOKE CT                                                                             BOWLING GREEN   KY   42101‐8639
JERRY BUCKALEW                      2332 N LAPEER RD                                                                          LAPEER          MI   48446‐8619
JERRY BUCKNER                       3749 HIGHLAND AVE                                                                         KANSAS CITY     MO   64109‐2753
JERRY BUGENSKI                      54540 ARROWHEAD DR                                                                        SHELBY TWP      MI   48315‐1210
JERRY BUIE                          16941 AGNES ST                                                                            GARDNER         KS   66030‐8502
JERRY BUMPUS                        3409 N ROSEWOOD AVE                                                                       MUNCIE          IN   47304‐2026
JERRY BUNGE                         5296 WALSH RD                                                                             LEWISTON        MI   49756‐8701
JERRY BUNKER                        13261 WOODLAND TRL                                                                        FENTON          MI   48430‐8412
JERRY BURDINE                       4700 E VIOLA DR                                                                           MOORESVILLE     IN   46158‐8283
JERRY BURGAN                        4006 SASSAFRAS DR                                                                         GALION          OH   44833‐9615
JERRY BURGESS                       2610 N 74TH ST                                                                            KANSAS CITY     KS   66109‐2442
JERRY BURGESS                       1107 DICKENS CT                                                                           ARLINGTON       TX   76015‐3506
JERRY BURK'S AUTO SVC LLC           38 HAM RD                                                                                 BARRINGTON      NH   03825‐3625
JERRY BURKETT                       333 PIRATES COVE LN                                                                       BOWLING GREEN   KY   42103‐9609
JERRY BURKHART                      13804 MAYS ADDITION RD                                                                    SHAWNEE         OK   74804‐3446
JERRY BURNETTE                      2115 HIGHWAY 2000                                                                         MANCHESTER      KY   40962‐8614
JERRY BURNS                         804 SQUIRREL HILL DR                                                                      BOARDMAN        OH   44512‐5340
JERRY BURNS                         RR 1 BOX 551                                                                              BUTLER          MO   64730‐9738
JERRY BURR                          3514 BERWICK DR                                                                           LANSING         MI   48911‐2117
JERRY BURR                          210 ZIMMERMAN RD                                                                          HAMPSHIRE       TN   38461‐5112
JERRY BURRI                         W8557 WHITE CROW RD                                                                       FORT ATKINSON   WI   53538‐9138
JERRY BURTON                        110 TIMBERLAND DR                                                                         COLUMBIA        TN   38401‐7763
JERRY BURTON                        10123 DODGE RD                                                                            OTISVILLE       MI   48463‐9765
JERRY BUSCH                         7150 HART RD                                                                              SAGINAW         MI   48609‐9717
JERRY BUSH                          PO BOX 563                                                                                DAYTON          OH   45404‐0563
JERRY BUSH                          PO BOX 102                                                                                ALVORDTON       OH   43501‐0102
JERRY BUSH                          3404 AUKERMAN CREEK RD                                                                    CAMDEN          OH   45311‐9722
JERRY BUSH                          4087 W TRIPP RD                                                                           JANESVILLE      WI   53548‐8594
JERRY BUSSELL                       421 CANEY CREEK RD                                                                        ROGERSVILLE     TN   37857‐7643
JERRY BUTITTA AUTOMOTIVE SERVICES   110 E LINCOLN AVE                                                                         BELVIDERE       IL   61008‐3207
JERRY BUTLER                        PO BOX 42                                                                                 GILBOA          WV   26671‐0042
JERRY BUTLER                        2160 CRESTED BUTTE DR                                                                     WHITE LAKE      MI   48383‐2377
JERRY BUXTON                        6140 STONECASTLE LN                                                                       CRYSTAL LAKE    IL   60014‐4835
JERRY BYRAM                         220 WHITE ST                                                                              LEESBURG        AL   35983‐3650
JERRY BYRD                          1833 PORTERFIELD RD                                                                       READYVILLE      TN   37149‐5104
JERRY C BRANDT                      3454 FOLK‐REAM RD BOX 64                                                                  SPRINGFIELD     OH   45502‐6620
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Name                                  Address1                             Address2                     Address3   Address4               City            State Zip
JERRY C BREWER                        376 WYNDCLIFT PLACE                                                                                 AUSTINTOWN       OH 44515
JERRY C DAVIDSON TTEE MANESS FAMILY   C/O JERRY C DAVIDSON TTEE            2866 FOXFIRE DR                                                ST LOUIS         MO 63129‐3511
TRUST
JERRY C DEMING                        5131 APACHE TRL                                                                                     HARRISON        MI   48625‐8505
JERRY C HOWARD                        3700 S WESTPORT AVE                  #3406                                                          SIOUX FALLS     SD   57106
JERRY C HOWARD                        PMB # 4346 P.O. BOX 2428                                                                            PENSACOLA       FL   32513
JERRY C KROSKIE                       3961 KEHOE DR NE                                                                                    ADA             MI   49301‐9641
JERRY C MONHOLLEN                     560 BASIL ST.                                                                                       SPRINGBORO      OH   45066‐1004
JERRY C YATES                         1656 WOODS DR                                                                                       DAYTON          OH   45432‐2125
JERRY CAGLE                           805 ELIZABETH PL SW                                                                                 HARTSELLE       AL   35640‐2677
JERRY CAIN                            4821 DR MARTIN LUTHER KING JR BLVD                                                                  ANDERSON        IN   46013‐2324
JERRY CAINE                           3147 N 200 W                                                                                        NEW CASTLE      IN   47362
JERRY CALDWELL                        1975 COUNTY ROAD 4726                                                                               GARY            TX   75643‐5322
JERRY CALDWELL                        6254 PIEDMONT ST                                                                                    DETROIT         MI   48228‐3951
JERRY CALHOUN                         555 VAUGHN RD                                                                                       LESLIE          MI   49251‐9313
JERRY CALICOTT                        1639 JARRATT DR                                                                                     ROCKVALE        TN   37153‐4050
JERRY CALL                            1309 TERRACE DR                                                                                     DEFIANCE        OH   43512‐3044
JERRY CALLAHAN                        7915 MAIN ST                                                                                        BIRCH RUN       MI   48415‐7718
JERRY CALLAHAN                        52 ALYSSA CT                                                                                        CORTLAND        OH   44410‐1679
JERRY CALLAHAN                        BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.     OH   44236
JERRY CAMDEN                          2104 S DENNY HILL RD                                                                                PARAGON         IN   46166‐9524
JERRY CAMERUCI                        10647 E DE AVE                                                                                      RICHLAND        MI   49083‐9605
JERRY CAMPBELL                        7353 HAVENCROFT DR                                                                                  REYNOLDSBURG    OH   43068‐7079
JERRY CAMPBELL                        8210 DAVID CT                                                                                       AVON            IN   46123‐7308
JERRY CAMPEY                          PO BOX 609                                                                                          EAST HELENA     MT   59635‐0609
JERRY CAMPO                           1696‐G TWP RD 1419                                                                                  MANSFIELD       OH   44903
JERRY CANADY                          10315 KEATCHIE MARSHALL RD                                                                          KEATCHIE        LA   71046‐3905
JERRY CANTER                          211 TOWERING PEAKS                                                                                  CANTON          GA   30114‐5709
JERRY CANTERBURY                      1080 MOULTRIE DR                                                                                    SANTEE          SC   29142‐9462
JERRY CARDER                          3409 N GENESEE RD                                                                                   FLINT           MI   48506‐2163
JERRY CARDWELL SR                     6130 BLACK GYPSUM CT                                                                                SPARKS          NV   89436‐7063
JERRY CARMACK                         21366 RIVER VIEW RD                                                                                 WARSAW          MO   65355‐6736
JERRY CARNES                          250 PINECONE DR                                                                                     SPRINGBORO      OH   45066‐8705
JERRY CARPENTER                       12076 ROAD 12H                                                                                      OTTAWA          OH   45875‐8648
JERRY CARPENTER                       1839 E 500 S                                                                                        ANDERSON        IN   46013‐9602
JERRY CARPER                          65 KIRK DR E                                                                                        INDIANAPOLIS    IN   46234‐2738
JERRY CARRILLO                        7184 TOPAZ AVE                                                                                      OAK HILLS       CA   92344‐9694
JERRY CARROLL                         9807 PORTER RD APT 127                                                                              NIAGARA FALLS   NY   14304‐5707
JERRY CARROLL                         3748 JONES RD                                                                                       DIAMOND         OH   44412‐9752
JERRY CARSON                          145 FLORIDA AVE                                                                                     CROSSVILLE      TN   38572‐1885
JERRY CARTER                          35199 LAW RD                                                                                        GRAFTON         OH   44044‐9655
JERRY CARTER                          106 FERRY RD                                                                                        WHITESBURG      TN   37891‐2138
JERRY CARTER                          61 PERRY ST                                                                                         NEW LEBANON     OH   45345‐1127
JERRY CARTER                          8507 S NEW LOTHROP RD                                                                               DURAND          MI   48429‐9414
JERRY CARTNER                         1117 E 18TH ST                                                                                      ASHTABULA       OH   44004‐4037
JERRY CARVER                          PO BOX 114                                                                                          CALVIN          KY   40813‐0114
JERRY CASAREZ                         903 5TH AVE                                                                                         LAKE ODESSA     MI   48849‐1007
JERRY CASE                            1135 VINTA MILL RD                                                                                  PROSPECT        TN   38477‐6601
JERRY CASTEN                          1354 WAR BONNET DR                                                                                  O FALLON        MO   63366‐3740
JERRY CASTLEBERRY                     846 OAKWOOD ST                                                                                      BATTLE CREEK    MI   49017‐3261
JERRY CATER                           1798 TURNER CHURCH RD                                                                               MCDONOUGH       GA   30252‐2858
JERRY CATES                           195 ROBLE CT                                                                                        WEATHERFORD     TX   76088‐9351
JERRY CATON                           9176 NORBURY DR                                                                                     SWARTZ CREEK    MI   48473‐1167
JERRY CAUDILL                         525 MERRITT ST                                                                                      CHARLOTTE       MI   48813‐1984
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Name                              Address1                        Address2                 Address3            Address4               City            State   Zip
JERRY CAVANAUGH                   2210 LINCOLN BLVD                                                                                   ELIZABETH        PA     15037‐2913
JERRY CAVENDER                    27235 PLEASANT DR                                                                                   WARREN           MI     48088‐6070
JERRY CAVETTE                     1609 LIBERTY ST                                                                                     FLINT            MI     48503‐4035
JERRY CERVENKA                    3085 BUTTERMILK LOOP                                                                                TRAVERSE CITY    MI     49686‐5441
JERRY CESAL                       8283 SHERIDAN RD                                                                                    NEW LOTHROP      MI     48460‐9707
JERRY CHAFFIN                     PO BOX 489                                                                                          HASLETT          MI     48840‐0489
JERRY CHAMBERS CHEVROLET, INC.    CHAD CHAMBERS                   3891 NORTHWEST AVE                                                  BELLINGHAM       WA     98226‐9046
JERRY CHAMBERS CHEVROLET‐         3891 NORTHWEST AVE                                                                                  BELLINGHAM       WA     98226‐9046
OLDSMOBILE
JERRY CHAMBERS CHEVROLET‐         3891 NORTHWEST AVE                                                                                  BELLINGHAM      WA      98226‐9046
OLDSMOBILE‐CADILLAC
JERRY CHAMBERS SCHOLARSHIP FUND   C/O WHIDBEY ISLAND BANK         265 YORK ST                                                         BELLINGHAM      WA      98225‐4516
JERRY CHAMLEE                     5792 N STONEY CREEK RD                                                                              MONROE          MI      48162‐9391
JERRY CHANDLER                    302 EDMUND ST                                                                                       FLINT           MI      48505‐3740
JERRY CHANEY                      24111 CIVIC CENTER DR APT 231                                                                       SOUTHFIELD      MI      48033‐7481
JERRY CHAPMAN                     9270 W CUTLER RD                                                                                    EAGLE           MI      48822‐9726
JERRY CHAPPELL                    5025 S ELMS RD                                                                                      SWARTZ CREEK    MI      48473‐1601
JERRY CHARLES                     PO BOX 552                                                                                          CLINCHCO        VA      24226‐0552
JERRY CHASE                       2043 EMERALD AVE NE                                                                                 GRAND RAPIDS    MI      49505‐4358
JERRY CHEATHAM                    11330 ENGLEMAN RD                                                                                   WARREN          MI      48089‐1010
JERRY CHEAVES                     333 WESTBOURNE CT                                                                                   BLOOMFIELD      MI      48301‐3442
                                                                                                                                      VILLAGE
JERRY CHENEY                      358 OLD TRAIL DR                                                                                    HOUGHTON LAKE   MI      48629‐9533
JERRY CHERVENY                    13496 TORREY RD                                                                                     FENTON          MI      48430‐1042
JERRY CHESHER                     2418 GRAND AVE                                                                                      NEW CASTLE      IN      47362‐2456
JERRY CHESTNUT                    117 MANCHESTER DR                                                                                   DEWITT          MI      48820‐9512
JERRY CHEVILLOT                   753 GRAN KAYMEN WAY                                                                                 APOLLO BEACH    FL      33572‐2439
JERRY CHIDESTER                   949 SEYMOUR LAKE RD                                                                                 OXFORD          MI      48371‐4661
JERRY CHILDERS                    2006 COBB DR                                                                                        COLUMBIA        TN      38401‐5077
JERRY CHIODINI                    PO BOX 28802                                                                                        SAINT LOUIS     MO      63123‐0002
JERRY CHOATE                      3180 DODSON BRANCH RD APT 20                                                                        COOKEVILLE      TN      38501‐5787
JERRY CHRISTIAN                   142 POULTNEY AVE                                                                                    BUFFALO         NY      14215‐2232
JERRY CHRISTMAS                   1432 E MILLER RD                                                                                    LANSING         MI      48911‐5321
JERRY CHURCH                      6359 SEYMOUR RD                                                                                     SWARTZ CREEK    MI      48473‐7607
JERRY CHURCH                      815 PION RD                                                                                         FORT WAYNE      IN      46845‐9514
JERRY CICALO                      4431 E MOUNT MORRIS RD                                                                              MOUNT MORRIS    MI      48458‐8961
JERRY CINTRON                     2515 CEDAR AVE                                                                                      WILMINGTON      DE      19808‐3203
JERRY CLAPP                       4516 NICHOL AVE                                                                                     ANDERSON        IN      46011‐2911
JERRY CLARK                       7544 REYNOLDS RD                                                                                    CAMBY           IN      46113‐9207
JERRY CLARK                       33 FLOYD ST SW                                                                                      GRAND RAPIDS    MI      49548‐3119
JERRY CLARK                       534 E 7TH ST                                                                                        ADRIAN          MO      64720‐8314
JERRY CLARK                       PO BOX 85                                                                                           LAKEVILLE       MI      48366‐0085
JERRY CLARK                       5533 DON RD                                                                                         ASHLAND         KY      41102‐8229
JERRY CLARK                       11254 DUFFIELD RD                                                                                   MONTROSE        MI      48457‐9400
JERRY CLARK                       11613 SPENCER RD                                                                                    SUMNER          MI      48889‐9602
JERRY CLARK                       6210 HANNON CT                                                                                      SAN DIEGO       CA      92117‐3327
JERRY CLAXTON                     8669 US ROUTE 127                                                                                   CAMDEN          OH      45311‐9519
JERRY CLAY MERRITT SR             BARON & BUDD PC                 THE CENTRUM SUITE 1100   3102 OAK LAWN AVE                          DALLAS          TX      75219‐4281
JERRY CLEGG                       3785 STATE ROUTE 534                                                                                NEWTON FALLS    OH      44444‐9710
JERRY CLELAND                     52 DWIGHT AVE                                                                                       PONTIAC         MI      48341‐1272
JERRY CLEM                        10069 S 100 E                                                                                       LYNN            IN      47355‐9428
JERRY CLEMONS                     797 FLORAL CT                                                                                       MANSFIELD       OH      44903‐1015
JERRY CLEMONS                     744 HORSESHOE DR                                                                                    SOMERSET        KY      42501‐6112
JERRY CLICK                       7060 MAYAPPLE LN                                                                                    PENDLETON       IN      46064‐9227
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Name                 Address1                       Address2            Address3         Address4               City            State   Zip
JERRY CLIFTON        8692 PINE CT                                                                               YPSILANTI        MI     48198‐3239
JERRY CLIFTON        3210 LEAFWOOD PL SW                                                                        DECATUR          AL     35603‐1249
JERRY CLINARD        171 E ALLEN ST                                                                             ALEXANDRIA       IN     46001‐9224
JERRY CLINE          950 KENTLAND DR                                                                            MANSFIELD        OH     44906‐2906
JERRY CLORE          PO BOX 362                                                                                 MORGANTON        GA     30560‐0362
JERRY CLOYD          4649 S 00 E W                                                                              KOKOMO           IN     46902
JERRY CLYDE HOUSER   JERRY CLYDE HOUSER, IRA        930 EVIAN LN                                                MATTHEWS         NC     28105
JERRY COBB           871 DEVONSHIRE AVE                                                                         TIPP CITY        OH     45371‐2782
JERRY COBB           6528 MARSHALL RD                                                                           OLIVET           MI     49076‐9445
JERRY COBB           3620 CHIPPEAW STREET                                                                       GLENNIE          MI     48737
JERRY CODY           4418 DARLA DR                                                                              BAY CITY         MI     48706‐2521
JERRY COFFIN         2022 JOLSON AVE                                                                            BURTON           MI     48529‐2032
JERRY COLBAUGH       53 LAKHANI LN                                                                              CANFIELD         OH     44406‐9670
JERRY COLE           27347 SHAGBARK DR                                                                          SOUTHFIELD       MI     48076‐3579
JERRY COLE           31 N MICHIGAN RD                                                                           EATON RAPIDS     MI     48827‐9226
JERRY COLE           503 S MAIN ST                                                                              FAIRMOUNT        IN     46928‐1931
JERRY COLEMAN        15850 LELAH LN                                                                             ADDISON          MI     49220‐9784
JERRY COLEMAN        6548 BENNETT LAKE RD                                                                       FENTON           MI     48430‐9094
JERRY COLLIER        208 JOHNS SHILOH RD                                                                        BRANDON          MS     39042
JERRY COLLIN         310 ANDES DR                                                                               COLUMBIA         TN     38401‐6112
JERRY COLLINS        717 COTTONWOOD DR                                                                          ALLEN            TX     75002‐5010
JERRY COLLINS        3437 TAGGETT LAKE DR                                                                       HIGHLAND         MI     48357‐2638
JERRY COLLINS        8330 FLORENCE RD                                                                           DOUGLASVILLE     GA     30135‐6544
JERRY COMBS          106 WESTFIELD DR                                                                           COLUMBIA         TN     38401‐6513
JERRY COMSTOCK       973 ATHLETIC ST                                                                            VASSAR           MI     48768‐1163
JERRY COMSTOCK       8522 HUCKLEBERRY LN                                                                        LANSING          MI     48917‐9636
JERRY CONKLE         219 JUAREZ WAY                                                                             LADY LAKE        FL     32159‐8635
JERRY CONLAY         5901 KLAM RD                                                                               COLUMBIAVILLE    MI     48421‐9342
JERRY CONLEY         15513 HARRIS RD                                                                            DEFIANCE         OH     43512‐8920
JERRY CONNER         1245 PINHOOK RD                                                                            BEDFORD          IN     47421‐8835
JERRY CONNETT        2380 E. U.S. 224                                                                           OSSIAN           IN     46777
JERRY CONNORS        3080 WHITE LAKE RD                                                                         HIGHLAND         MI     48356‐1406
JERRY CONWELL        1271 PINEHURST VIEW DR                                                                     O FALLON         MO     63366‐5957
JERRY COOK           391 WESTCHESTER DR SE                                                                      WARREN           OH     44484‐2177
JERRY COOK           PO BOX 662                                                                                 DEFIANCE         OH     43512‐0662
JERRY COOKE          3041 MILLSTONE AVE                                                                         DELTONA          FL     32738‐1557
JERRY COOKSY         PO BOX 591                                                                                 DAVISON          MI     48423‐0591
JERRY COOLEY         604 PERSIMMON ST SW                                                                        GRAVETTE         AR     72736‐8773
JERRY COOLEY         742 HIGHWAY 590 W                                                                          ELLISVILLE       MS     39437‐8477
JERRY COOMER         2951 WATERSTONE PL                                                                         KOKOMO           IN     46902‐5086
JERRY COOPER         183 KEENELAND CT                                                                           BOWLING GREEN    KY     42104‐7592
JERRY COOPER         4526 FIVE POINTS RD                                                                        INDIANAPOLIS     IN     46239‐9641
JERRY COOPER         1108 BAYFIELD ST                                                                           LAKE ORION       MI     48362‐3608
JERRY COOPER         15266 S HINMAN RD                                                                          EAGLE            MI     48822‐9691
JERRY COOPER         186 N RACEWAY RD                                                                           INDIANAPOLIS     IN     46234‐9208
JERRY COOPER         14 DEERWOOD PVT DR                                                                         SOMERVILLE       AL     35670‐3760
JERRY COOPER         5191 KELLY RD                                                                              FLINT            MI     48504‐1011
JERRY COOPER         7575 S VAN DYKE RD                                                                         MARLETTE         MI     48453‐9157
JERRY COOPER         8049 GREEN VALLEY DR                                                                       GRAND BLANC      MI     48439‐8146
JERRY COOPER         407 BOSTON RD                                                                              SYRACUSE         NY     13211‐1513
JERRY COPELAND       PO BOX 431                                                                                 BISMARCK         AR     71929‐0401
JERRY COPELAND       PO BOX 31672                                                                               DAYTON           OH     45437‐0672
JERRY CORRAL         1309 N 29TH ST                                                                             SAGINAW          MI     48601‐6166
JERRY CORTRECHT      131 APPIAN WAY                                                                             ANDERSON         IN     46013‐4769
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Name                         Address1                       Address2            Address3         Address4               City               State   Zip
JERRY COTNER                 5687 N HERITAGE LN                                                                         ALEXANDRIA          IN     46001‐8601
JERRY COUCH                  4510 ELLIOT AVE                                                                            DAYTON              OH     45410
JERRY COUGILL                233 ROBIN AVE                                                                              SEBRING             FL     33872‐3536
JERRY COURTER                901 NE 76TH ST                                                                             GLADSTONE           MO     64118‐2003
JERRY COVILLE                2761 PINEY GROVE CHURCH RD                                                                 KENLY               NC     27542‐8320
JERRY COWAN                  22 MAPLECREEK LN                                                                           HUMBOLDT            TN     38343‐8512
JERRY COX                    4851 CARNOUSTIE CT                                                                         SUMMERVILLE         SC     29485‐8974
JERRY COX                    4521 SAINT JAMES AVE                                                                       DAYTON              OH     45406‐2322
JERRY COX                    887 MARINER POINT RD                                                                       LA FOLLETTE         TN     37766‐5881
JERRY COX                    4002 SAN GALLO DR APT 103                                                                  KISSIMMEE           FL     34741‐1512
JERRY COX                    4231 GROVE AVE                                                                             NORWOOD             OH     45212‐4151
JERRY COX                    PO BOX 58                                                                                  HULEN               KY     40845‐0058
JERRY COX                    PO BOX 476                                                                                 LINCOLN             MI     48742‐0476
JERRY COX JR                 4521 SAINT JAMES AVE                                                                       DAYTON              OH     45406‐2322
JERRY CRABTREE
JERRY CRADDOCK               4935 CORDELL DR                                                                            DAYTON             OH      45439‐3115
JERRY CRAIG                  3636 NICHOL AVE                                                                            ANDERSON           IN      46011‐3063
JERRY CRAIG                  4062 AVERY LN                                                                              BRIDGETON          MO      63044‐2101
JERRY CRAIN                  1617 E MEMORIAL DR                                                                         JANESVILLE         WI      53545‐1956
JERRY CRAIN                  1211 SOUTH SPRING STREET                                                                   EVANSVILLE         IN      47714‐3050
JERRY CRAMER                 4125 BOULDER POND DR                                                                       ANN ARBOR          MI      48108‐8627
JERRY CRAVEN                 5200 S DURAND RD                                                                           DURAND             MI      48429‐1281
JERRY CRAVENS                RR 5 BOX 370                                                                               BUTLER             MO      64730‐9182
JERRY CRAVENS                3288 E CR 150 NORTH                                                                        ANDERSON           IN      46012
JERRY CRAVENS                135 READ TRL                                                                               ROCKVALE           TN      37153‐5413
JERRY CRAWFORD               49 LAKEVIEW CABINS DR                                                                      NEW CONCORD        KY      42076‐9652
JERRY CRISP                  6735 MARYELLEN ST                                                                          SAINT LOUIS        MO      63121‐3134
JERRY CRISWELL               1009 RIVER RD                                                                              QUARRYVILLE        PA      17566‐9768
JERRY CROSS                  2871 BRAEBURN CIR                                                                          ANN ARBOR          MI      48108‐2607
JERRY CROSS                  7716 STRATFIELD DR                                                                         INDIANAPOLIS       IN      46236‐9691
JERRY CROSSER                8108 RUGER RDG                                                                             FOWLERVILLE        MI      48836‐9382
JERRY CROSSNO                4223 WHISPERING OAK DR                                                                     FLINT              MI      48507‐5541
JERRY CROSSNOE               5381 N GENESEE RD                                                                          FLINT              MI      48506‐4528
JERRY CROWELL                25520 COUNTY ROAD 454                                                                      MC MILLAN          MI      49853‐9260
JERRY CRUGHER                10122 E BLUE LAKE DR                                                                       MECOSTA            MI      49332‐9404
JERRY CRUMP                  9129 LAKESIDE DR                                                                           PERRINTON          MI      48871‐9639
JERRY CSEH                   411 VALLEYVIEW DR                                                                          ENGLEWOOD          OH      45322‐1313
JERRY CULLEY                 505 JONES PL                                                                               MARTINSVILLE       IN      46151‐7360
JERRY CULLITON               1147 MOUNTAINBROOK CIR                                                                     SHREVEPORT         LA      71118‐4829
JERRY CUMMINGS               2110 W PASADENA AVE                                                                        FLINT              MI      48504‐2554
JERRY CUMMINS                2955 FOX CT E                                                                              MARTINSVILLE       IN      46151‐8273
JERRY CUNNINGHAM             RR 1 BOX 79C                                                                               VERDEN             OK      73092‐9602
JERRY CURBEAUX               3229 TEMPE DR                                                                              INDIANAPOLIS       IN      46241‐6235
JERRY CURRY                  11405 E 12 RD                                                                              MANTON             MI      49663‐9107
JERRY CURRY                  PO BOX 28                                                                                  ATHENS             AL      35612‐0028
JERRY CUTLIP                 1038 HAZEL AVE                                                                             ENGLEWOOD          OH      45322‐2427
JERRY CUTTING                9875 CHESANING RD                                                                          CHESANING          MI      48616‐9403
JERRY CYPRET                 676 3RD AVE                                                                                PONTIAC            MI      48340‐2008
JERRY CZYKALOWSKYJ           39737 CRYSTAL DR                                                                           STERLING HEIGHTS   MI      48310‐2308
JERRY D AND CONNIE VEILLON   1120 EMILY ST                                                                              VILLE PLATTE       LA      70586‐2432
JERRY D BENNETT IRA          181 SMOKE RISE LANE                                                                        WARRIOR            AL      35180
JERRY D BLEDSOE              815 E SYCAMORE ST                                                                          MIAMISBURG         OH      45342‐2443
JERRY D BOWMAN               779 LEBANON RD                                                                             CLARKSVILLE        OH      45113‐9700
JERRY D BRISTER              1205 EAGLE'S NEST                                                                          JACKSON            MS      39272
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Name                   Address1                          Address2                       Address3                    Address4               City               State   Zip
JERRY D BROWNFIELD     2031 TOWNLINE HWY                                                                                                   ADRIAN              MI     49221‐9425
JERRY D CHILSON        NIX PATTERSON & ROACH LLP         GM BANKRUPTCY DEPARTMENT       205 LINDA DRIVE                                    DAINGERFIELD        TX     75638
JERRY D COLLINSWORTH   4500 BURKHARDT APT 4                                                                                                DAYTON              OH     45431‐1885
JERRY D COMBS          3285 ROCKY POINT ROAD                                                                                               SPRINGFIELD         OH     45502
JERRY D CRADDOCK       4935 CORDELL DR                                                                                                     DAYTON              OH     45439‐3115
JERRY D DENNIS         8033 E OLD SR 56                                                                                                    MADISON             IN     47250‐8638
JERRY D DUNKEL         4328 SUNRAY RD                                                                                                      KETTERING           OH     45429‐3124
JERRY D FOLKERTH       20 IRONWOOD DR                                                                                                      DAYTON              OH     45449
JERRY D GIRTEN         C/O MOTLEY RICE LLC               28 BRIDGESIDE BLVD             PO BOX 1792                                        MT PLEASANT         SC     29465
JERRY D GREEN SR       157 FAIRFAX RD                                                                                                      MARION              OH     43302
JERRY D GREEN, SR.     157 FAIRFAX RD                                                                                                      MARION              OH     43302‐6478
JERRY D HATFIELD       1281 HANES RD                                                                                                       BEAVERCREEK         OH     45434‐6547
JERRY D HAYES          2020 DENSON AVE                                                                                                     BEDFORD             IN     47421‐4027
JERRY D HODSON         250 S ROSE DR SPC 74                                                                                                PLACENTIA           CA     92870‐‐ 10
JERRY D HURD           1321 LARREL LANE                                                                                                    WEST MILTON         OH     45383
JERRY D JONES          15031 STATE ROUTE#35                                                                                                WEST ALEXANDRIA     OH     45381

JERRY D KING           ROUTE 1, BOX 80‐A                                                                                                   MONTICELLO         MS      39654‐9711
JERRY D LOVELESS       7962 MIDDLETON‐GERMANTOWN RD                                                                                        GERMANTOWN         OH      45327‐9610
JERRY D MEISSINGER     1517 SHEARER CIR                                                                                                    MOORE              OK      73160‐6137
JERRY D MULLINS        896 ST RT 350 WEST                                                                                                  WILMINGTON         OH      45177
JERRY D OWENS          9990 WOLF CREEK PIKE                                                                                                TROTWOOD           OH      45426
JERRY D PETERS         317 COLUMBIA AVE                                                                                                    PERU               IN      46970‐1430
JERRY D PLUMMER        2142 FINLAND DR                                                                                                     DAYTON             OH      45439
JERRY D RAMSDEN        2680 MIDDLEBURY LN                                                                                                  BLOOMFIELD HILLS   MI      48301‐4164
JERRY D RASH           PO BOX 531603                                                                                                       HARLINGEN          TX      78553
JERRY D ROWE           2018 TIMBERCREEK DR. E.                                                                                             CORTLAND           OH      44410‐1809
JERRY D SCHULZ         1825 S MICHIGAN AVE APT 1                                                                                           SAGINAW            MI      48602‐1383
JERRY D SHARP          ATTN: ANDREW MCENANEY             HISSEY KRENTZ & HERRON PLLC    9442 CAPITAL OF TX HWY N                           AUSTIN             TX      78759
                                                                                        STE 420
JERRY D SIZEMORE       450 WOLF RD                                                                                                         W ALEXANDRIA       OH      45381‐9347
JERRY D SLOCUM         11765 GLENFIELD ST APT B2                                                                                           DETROIT            MI      48213‐4103
JERRY D SNYDER         8670 OAKES RD                                                                                                       ARCANUM            OH      45304‐9610
JERRY D THOMISON       7551 JOHN ELWOOD DR                                                                                                 CENTERVILLE        OH      45459‐5128
JERRY D THOMPSON       5733 W KESSLER COWLESVILLE RD                                                                                       WEST MILTON        OH      45383‐8737
JERRY D WADDELL        2372 RAND AVE                                                                                                       DAYTON             OH      45439‐2842
JERRY D WALTON         1109 SOUTHERN BLVD NW                                                                                               WARREN             OH      44485‐2247
JERRY D WELLS          6210 FENTON RD                                                                                                      FLINT              MI      48507‐4757
JERRY D WOZNIAK        9199 COUNTY ROAD 38                                                                                                 GALION             OH      44833‐9798
JERRY D YERKES         10421 IRISH RD                                                                                                      OTISVILLE          MI      48463‐9425
JERRY D. ADAMS
JERRY D. PATTERSON     ATTORNEY AT LAW                   ATTNY FOR TERRY GAGE CHEVROLET P.O. BOX 629                                       MARSHALL           AR      72650
JERRY DABBS            520 CALLOWAY TER                                                                                                    ROCKMART           GA      30153‐3582
JERRY DADY             1734 E HAMILTON AVE                                                                                                 FLINT              MI      48506‐4402
JERRY DAMIC            13489 RING RD                                                                                                       SAINT CHARLES      MI      48655‐9517
JERRY DAMRON           12432 PEARL ST                                                                                                      SOUTHGATE          MI      48195‐3524
JERRY DANAHY           339 SW 2001ST RD                                                                                                    KINGSVILLE         MO      64061‐9285
JERRY DANIELS          29223 IRONWOOD DR                                                                                                   WARREN             MI      48093‐6426
JERRY DANIELS          2850 METAMORA RD                                                                                                    OXFORD             MI      48371‐2358
JERRY DARNELL          512 NORRIS DR                                                                                                       ANDERSON           IN      46013‐3934
JERRY DAVID MOSLEY     ATTN ROBERT W PHILLIPS            C/O SIMMONS BROWDER GIANARIS 707 BERKSHIRE BLVD ‐ PO BOX                          EAST ALTON         IL      62024
                                                         ANGELIDES & BARNERD LLC      521
JERRY DAVIDSON         5608 S M 52                                                                                                         PERRY              MI      48872‐9329
JERRY DAVIDSON         57 GREENLAWN DR                                                                                                     LOVELAND           OH      45140‐9559
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Name               Address1                             Address2                     Address3          Address4               City               State   Zip
JERRY DAVIS        60 15TH AVE                                                                                                N TONAWANDA         NY     14120‐3202
JERRY DAVIS        PO BOX 259                                                                                                 FAIRMOUNT           IN     46928‐0259
JERRY DAVIS        11303 FROST RD                                                                                             PORTLAND            MI     48875‐8453
JERRY DAVIS        1486 HIGHWAY 162                                                                                           COVINGTON           GA     30016‐5180
JERRY DAVIS        PO BOX 445                                                                                                 PAVILION            NY     14525‐0445
JERRY DAVIS        7293 W 600 S                                                                                               RUSSIAVILLE         IN     46979‐9471
JERRY DAVIS        18997 GRANGE RD                                                                                            FREDERICKTOWN       OH     43019‐9541
JERRY DAVIS        4432 NEW MARKET BANTA RD                                                                                   LEWISBURG           OH     45338‐9744
JERRY DAVIS        816 EASTLAND AVE SE                                                                                        WARREN              OH     44484‐4506
JERRY DAVIS        5443 SURREY HILL RD                                                                                        INDIANAPOLIS        IN     46226‐1557
JERRY DAVIS        8409 KATHERINE ST                                                                                          TAYLOR              MI     48180‐2813
JERRY DAVIS        14108 EVERETT                                                                                              DEWITT              MI     48820‐9645
JERRY DAVIS        9451 S 4210 RD                                                                                             CHELSEA             OK     74016
JERRY DAW          6106 MURPHY'S POND RD.                                                                                     CANAL WINCHESTER    OH     43110

JERRY DAWSON       20535 TRACEY ST                                                                                            DETROIT            MI      48235‐4701
JERRY DAWSON       11215 NANCY DR                                                                                             WARREN             MI      48093‐5262
JERRY DEAL         96 MATT DR                                                                                                 SCOTTSVILLE        KY      42164‐7924
JERRY DEAN         3595 OAKVIEW DR                                                                                            GIRARD             OH      44420‐3163
JERRY DEAN         9759 TALL TIMBER DR                                                                                        CINCINNATI         OH      45241‐1220
JERRY DEAN         539 CREEK VIEW DR                                                                                          LAWRENCEVILLE      GA      30044‐3765
JERRY DEANGULO     234 VIRGINIA AVENUE                                                                                        DAYTON             OH      45410‐2318
JERRY DEARY        2365 MIDLAND RD                                                                                            BAY CITY           MI      48706‐9402
JERRY DEBORD       PO BOX 276                                                                                                 TIPP CITY          OH      45371‐0276
JERRY DEBORD       504 F ST                                                                                                   SAINT AUGUSTINE    FL      32080‐6856
JERRY DEBRUYCKER   11035 YALE RD                                                                                              BROCKWAY           MI      48097‐2966
JERRY DECKER       PO BOX 8593                                                                                                MANSFIELD          OH      44906‐8593
JERRY DEGNER       13597 THORNAPPLE LN                                                                                        PERRY              MI      48872‐8111
JERRY DEHEIDE      2284 MARK COURT                                                                                            FRANKLIN           TN      37067‐5066
JERRY DELANEY      NIX PATTERSON & ROACH LLP            GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD       TX      75638
JERRY DELGAUDIO    THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET     22ND FLOOR                               BALTIMORE          MD      21201

JERRY DELK         1815 E WREN BLVD                                                                                           ALBANY             IN      47320‐1440
JERRY DELLINGER    190 N ROYSTON RD                                                                                           CHARLOTTE          MI      48813‐9321
JERRY DELONG       135 OSTRANDER RD                                                                                           AFTON              MI      49705‐9756
JERRY DELPH        6666 CATSKILL DR                                                                                           FRANKLIN           OH      45005‐2902
JERRY DEMETRO      1423 ELROND DR                                                                                             AMELIA             OH      45102‐1877
JERRY DEMING       5131 APACHE TRL                                                                                            HARRISON           MI      48625‐8505
JERRY DEMOCKO      BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                            BOSTON HEIGHTS     OH      44236
JERRY DEMOSS       978 MARTIN RD                                                                                              COTTON VALLEY      LA      71018‐2210
JERRY DENNING      3160 KESSLER BOULEVARD EAST DR                                                                             INDIANAPOLIS       IN      46220‐5111
JERRY DENNIS       8033 E OLD SR 56                                                                                           MADISON            IN      47250‐8638
JERRY DENNIS       1145 SENECA CREEK RD                                                                                       WEST SENECA        NY      14224‐2507
JERRY DENNY        1227 TONER DRIVE                                                                                           ANDERSON           IN      46012
JERRY DERANZO      1070 CLIFF WHITE RD                                                                                        COLUMBIA           TN      38401‐6759
JERRY DETARY       3832 ERIE DRIVE                                                                                            BURTCHVILLE        MI      48059‐4328
JERRY DEVILLE      1411 S ATLANTIC DR                                                                                         COMPTON            CA      90221‐4720
JERRY DEVINE       12173 N 300 E                                                                                              ALEXANDRIA         IN      46001‐9074
JERRY DEWBERRY     195 MARTIN ST                                                                                              NEW HOPE           AL      35760‐9406
JERRY DEWITT       210 WASHINGTON ST                                                                                          BRYAN              OH      43506‐9374
JERRY DIAMOND      WEITZ & LUXENBERG P C                700 BROADWAY                                                          NEW YORK CITY      NY      10003
JERRY DIEM         3651 E TOWNLINE LAKE RD                                                                                    HARRISON           MI      48625‐9161
JERRY DINARDO      128 STRYKER ST                                                                                             BROOKLYN           NY      11223
JERRY DINNAN       6875 APPOMATTOX DR                                                                                         NORTH PORT         FL      34287‐1800
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Name                       Address1                           Address2                         Address3           Address4               City              State   Zip
JERRY DINWIDDIE            4808 DEER CRK                                                                                                 YUKON              OK     73099‐3150
JERRY DISNEY               1424 BAUER AVE                                                                                                DAYTON             OH     45420‐3306
JERRY DIVINE               10207 GILLETTE ST                                                                                             LENEXA             KS     66215‐1755
JERRY DIXON                2956 2 MILE RD                                                                                                BAY CITY           MI     48706‐1267
JERRY DIXON'S AUTOMOTIVE   9206 CIRCLE DR                                                                                                AUSTIN             TX     78736‐7913
JERRY DOAN                 4367 E 1400 N                                                                                                 GASTON             IN     47342‐9606
JERRY DOBBINS              445 SULLIVAN LN APT 154                                                                                       SPARKS             NV     89431‐4758
JERRY DODD                 3806 BURLAGE RD                                                                                               LONEDELL           MO     63060‐1919
JERRY DOHERTY              9718 HAROLD DR                                                                                                SAINT LOUIS        MO     63134‐4217
JERRY DOMI                 2057 OAK TREE DR E                                                                                            KETTERING          OH     45440‐2458
JERRY DON MAJOR            WEITZ & LUXENBERG PC               700 BROADWAY                                                               NEW YORK           NY     10003
JERRY DONALDSON            6416 TRUDY DR                                                                                                 FLOWERY BRANCH     GA     30542‐2623
JERRY DONELL               4866 LOVERS LN                                                                                                RAVENNA            OH     44266‐9181
JERRY DONNA BRADSHAW JT    C/O JERRY W BRADSHAW               DONNA M BRADSHAW                 7722 BANASZAK RD                          N LITTLE ROCK      AR     72118‐1380
JERRY DORRELL              6409 TROTT RD                                                                                                 BELTON             MO     64012‐8308
JERRY DOUGHERTY            787 W BUNKERHILL RD                                                                                           MOORESVILLE        IN     46158‐6813
JERRY DOUGHERTY            11301 E LIPPINCOTT BLVD                                                                                       DAVISON            MI     48423‐9127
JERRY DOVER                5580 CRANDALL RD                                                                                              HOWELL             MI     48855‐8741
JERRY DOWDY                3021 S SUBURBAN AVE                                                                                           SPRINGFIELD        MO     65807‐8724
JERRY DOYLE                PO BOX 153                                                                                                    WELLSTON           MI     49689‐0153
JERRY DOYLE                16363 SHELBY DR                                                                                               BROOK PARK         OH     44142‐1970
JERRY DRISKILL             1753 GENESEE ST                                                                                               CORFU              NY     14036‐9657
JERRY DRUMM                1600‐1 MARS HILL DR.                                                                                          WEST CARROLLTON    OH     45449

JERRY DUANE BROWN          NIX PATTERSON & ROACH LLP          GM BANKRUPTCY DEPARTMENT         205 LINDA DRIVE                           DAINGERFIELD      TX      75638
JERRY DUBOIS               PO BOX 462                                                                                                    TONTO BASIN       AZ      85553‐0462
JERRY DUDLEY               8050 MCCANN ST                                                                                                SWARTZ CREEK      MI      48473‐9114
JERRY DUFFEY               8333 DANCE DR                                                                                                 SHREVEPORT        LA      71129‐9705
JERRY DUGGAN               10717 AMBER HILL DR                                                                                           WHITTIER          CA      90601‐1747
JERRY DUNN                 5800 N BALLANTRAE DR                                                                                          COLLEYVILLE       TX      76034‐5348
JERRY DUNN                 1287 ASCOT LN                                                                                                 FRANKLIN          TN      37064‐6733
JERRY DURANT               4622 E 600 N                                                                                                  ALEXANDRIA        IN      46001‐8700
JERRY DURRETT              908 SMITH AVE                                                                                                 LANSING           MI      48910‐1358
JERRY DUSH                 4668 N WATSON RD # 1                                                                                          ELSIE             MI      48831
JERRY DUSICH               141 MASSA DR                                                                                                  WINDSOR           PA      17366‐8447
JERRY DYSART               51 BUCKY ST                                                                                                   EUHARLEE          GA      30145‐2868
JERRY E APPLIN             2358 W. LIMESTONE ST APT 1A                                                                                   SPRINGFIELD       OH      45503
JERRY E BOLES              BOX 102                                                                                                       NEW VIRGINIA      IA      50210‐0102
JERRY E BRZEZICKI          25541 PATRICIA AVE                                                                                            WARREN            MI      48091‐3876
JERRY E CRESAP             300 AFTON DR                                                                                                  BRANDON           MS      39042‐3651
JERRY E CRUTCHFIELD        207 W MAIN ST                                                                                                 MEDWAY            OH      45341
JERRY E DRUMM              1600‐1 MARS HILL DR.                                                                                          WEST CARROLLTON   OH      45449

JERRY E EVANS              2637 S UNION RD                                                                                               MEDWAY            OH      45341‐8721
JERRY E FRAZIER            C/O G PATTERSON KEAHEY PC          ONE INDEPENDENCE PLAZA STE 612                                             BIRMINGHAM        AL      35209
JERRY E HAYDEN             3754 KINGS HWY APT 121                                                                                        DAYTON            OH      45406‐3512
JERRY E HAYDEN             3754 KINGS HIGHWAY APT121                                                                                     DAYTON            OH      45406‐‐ 35
JERRY E MADISON            2225 E 5TH ST                                                                                                 DAYTON            OH      45403
JERRY E MASSINGILL         P. O. BOX 26                                                                                                  SPRINGBORO        OH      45066‐0026
JERRY E MATTHEWS           26394 LONGHORN DR                                                                                             BLANCHARD         OK      73010‐3716
JERRY E MURPHY             5645 S COUNTY ROAD 1110 W                                                                                     MEDORA            IN      47260‐9715
JERRY E ROBINETT           2132 PANSY RD.                                                                                                CLARKSVILLE       OH      45113‐9749
JERRY E SCHIELTZ           229 TETBURY ROAD                                                                                              TROY              OH      45373‐2663
JERRY E STURGILL           1149 DEVON AVE.                                                                                               KETTERING         OH      45429
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Name                                Address1                       Address2                     Address3   Address4               City              State   Zip
JERRY E WELTON                      7060 TERRA MEADOWS LN          APT 324                                                        FORT WORTH         TX     76137‐7511
JERRY EADS                          5223 EAST 98TH STREET                                                                         CLEVELAND          OH     44125‐2449
JERRY EAGLE                         2300 CARLETON WEST RD                                                                         CARLETON           MI     48117‐9236
JERRY EAKINS                        5506 GATERIDGE LN                                                                             INDIANAPOLIS       IN     46237‐2586
JERRY EARLS                         11585 AIRPORT RD                                                                              DEWITT             MI     48820‐9518
JERRY EASON                         192 E HURON ST                                                                                PONTIAC            MI     48342‐2609
JERRY EASTERWOOD                    1282 VAN VLEET RD                                                                             FLUSHING           MI     48433‐9732
JERRY EATON                         5126 DOGWOOD PT                                                                               BRENTWOOD          TN     37027‐6834
JERRY EAVEY                         518 N GRANT ST                                                                                LEBANON            IN     46052‐1875
JERRY EBERT                         12400 E 49TH ST S                                                                             INDEPENDENCE       MO     64055‐5624
JERRY ECKLER                        4093 BARD RD                                                                                  BEAVERTON          MI     48612‐9740
JERRY ECKMAN                        5769 STATE ROUTE 7                                                                            NEW WATERFORD      OH     44445‐9797
JERRY ECONOMO                       16577 MIDDLEBELT RD                                                                           LIVONIA            MI     48154‐3337
JERRY EDGE                          1256 OLD 31 HWY                                                                               FALKVILLE          AL     35622
JERRY EDMONDS                       4515 S RANGELINE RD                                                                           WEST MILTON        OH     45383‐9650
JERRY EDMONDSON                     19R REDMOND AVE.                                                                              BUFFALO            NY     14216
JERRY EDNEY                         39500 WARREN RD TRLR 84                                                                       CANTON             MI     48187‐4346
JERRY EDWARD PARKMAN                BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
JERRY EDWARDS                       14037 SWANEE BEACH DR                                                                         FENTON             MI     48430‐1468
JERRY EDWARDS                       409 SPRING VILLAGE RD SE                                                                      LINDALE            GA     30147‐1431
JERRY EDWARDS                       4110 E 175TH ST                                                                               CLEVELAND          OH     44128‐2224
JERRY EDWARDS                       445 W MAPLEDALE AVE                                                                           HAZEL PARK         MI     48030‐1024
JERRY EGGLESTON                     5796 TREAT HWY                                                                                ADRIAN             MI     49221‐9652
JERRY EHMAN                         1002 MAPLE STREET                                                                             FRANKTON           IN     46044
JERRY EIMERS                        14654 TUSCOLA RD                                                                              CLIO               MI     48420‐8850
JERRY ELDREDGE & MADGE H ELDREDGE   MR & MRS JERRY ELDREDGE        307 STONECREST DRIVE                                           ROCKWALL           TX     75087

JERRY ELLIOTT                       5545 E COUNTY ROAD 700 N                                                                      BROWNSBURG        IN      46112‐9446
JERRY ELLIOTT                       5059 WAKEFIELD RD                                                                             GRAND BLANC       MI      48439‐9111
JERRY ELLIOTT                       7183 JACKSON ST                                                                               TAYLOR            MI      48180‐2649
JERRY ELLIS                         1615 E 153RD TER                                                                              OLATHE            KS      66062‐2822
JERRY ELLIS                         5628 S MILL RD                                                                                SPICELAND         IN      47385‐9753
JERRY ELLIS                         4424 DIXON DR                                                                                 SWARTZ CREEK      MI      48473‐8279
JERRY EMERY                         4500 N ADRIAN HWY                                                                             ADRIAN            MI      49221‐9003
JERRY EMETERIO                      20242 LAKEMORE DR                                                                             SANTA CLARITA     CA      91351‐1057
JERRY ENSCOE                        859 SCHNORF JONES RD                                                                          LAURA             OH      45337‐9605
JERRY ERSKINE                       2894 N ELY HWY                                                                                ALMA              MI      48801‐9649
JERRY ERVIN                         9236 YOUNG DR                                                                                 SWARTZ CREEK      MI      48473‐1042
JERRY ERVIN                         46433 HAWKINS ST                                                                              SHELBY TOWNSHIP   MI      48315‐5725
JERRY ESPER                         322 BARRINGTON CIR                                                                            LANSING           MI      48917‐6833
JERRY ESTELLE JR                    5832 FAIRLEE RD                                                                               ANDERSON          IN      46013‐9736
JERRY ESTEP                         PO BOX 93                                                                                     GLENNIE           MI      48737‐0093
JERRY ETHRIDGE                      3526 ARLINGTON CT                                                                             LAPEER            MI      48446‐2801
JERRY ETHRIDGE                      4353 DIXON DR                                                                                 SWARTZ CREEK      MI      48473‐8222
JERRY EUBANK                        50 GRANTWOOD DR                                                                               W CARROLLTON      OH      45449‐1558
JERRY EVANS                         2637 S UNION RD                                                                               MEDWAY            OH      45341‐8721
JERRY EVANS                         1621 SWEETWATER BND                                                                           MELBOURNE         FL      32935‐5259
JERRY EVANS                         1900 E COUNTY ROAD 800 N                                                                      EATON             IN      47338‐9237
JERRY EVANS                         1479 BERKSHIRE ST                                                                             WESTLAND          MI      48186‐5365
JERRY EVANS                         4353 S SHERIDAN RD                                                                            LENNON            MI      48449‐9403
JERRY EVENSON                       4223 RURIK DR                                                                                 HOWELL            MI      48843‐9496
JERRY EVERHART                      4151 TREE LINE AVE                                                                            SPRINGFIELD       OH      45502‐8564
JERRY EVERLING                      6368 N 750 W                                                                                  FRANKTON          IN      46044‐9691
JERRY EWING                         7151 CYPRESS KNOLL DR                                                                         NEW PORT RICHEY   FL      34653‐4076
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Name                                  Address1                       Address2                   Address3          Address4               City              State   Zip
JERRY EWING                           NIX, PATTERSON & ROACH LLP     GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                          DAINGERFIELD       TX     75638
JERRY EXNER                           15565 S MIDWAY AVE                                                                                 ALLEN PARK         MI     48101‐1117
JERRY EXUM                            5498 BRADFORD CIR                                                                                  BRIGHTON           MI     48114‐9066
JERRY EZELL                           8486 CRANBROOK DR                                                                                  GRAND BLANC        MI     48439‐7455
JERRY F BROWN                         2443 ARLINGTON LN                                                                                  LAUREL             MS     39440‐2377
JERRY F COLEMAN                       124 TIWN OAK DR                                                                                    LEVITTOWN          PA     19056‐1560
JERRY F FENNELL                       3741 DRUIDS DR SE                                                                                  CONYERS            GA     30013‐2978
JERRY F MCGEORGE                      252 DEVONSHIRE ST                                                                                  YPSILANTI          MI     48198‐6021
JERRY F PARKER                        45 YARKER AVE                                                                                      ROCHESTER          NY     14612‐5129
JERRY F TROUT                         1325 DAVIS STREET                                                                                  POPLAR BLUFF       MO     63901‐3305
JERRY F WYSONG                        909 N MAPLE ST                                                                                     EATON              OH     45320‐1534
JERRY FABUS                           9 STILLHOUSE PL                                                                                    MONTEREY           TN     38574‐6000
JERRY FADELY                          711 WALNUT ST                                                                                      GREENFIELD         IN     46140‐2382
JERRY FAGAN                           670 E J W CUMMINS RD                                                                               OAK GROVE          MO     64075‐5455
JERRY FALCONER                        4548 N SAINT LOUIS AVE                                                                             CHICAGO             IL    60625‐5420
JERRY FALKNER                         333 TERRY AVE                                                                                      ROCHESTER          MI     48307‐1573
JERRY FARIES                          1127 AUGUSTA DR                                                                                    RICHMOND           TX     77406‐2215
JERRY FARMER                          10131 222ND ST                                                                                     QUEENS VLG         NY     11429‐1661
JERRY FARR                            2713 W HICKORY DR                                                                                  ANDERSON           IN     46013‐9762
JERRY FAUBION                         1729 NANTUCKET DR                                                                                  CICERO             IN     46034‐9679
JERRY FAUCETT                         6117 S WHITE OAKS DR                                                                               ANDERSON           IN     46013‐9770
JERRY FAULKNER                        3759 OLD MIDDLESBORO HWY                                                                           SPEEDWELL          TN     37870‐8003
JERRY FAULKNER                        3 W CRESTVIEW DR                                                                                   O FALLON           MO     63366‐3409
JERRY FEARNLEY                        2424 CHERYL ANN DR                                                                                 BURTON             MI     48519‐1362
JERRY FEHER                           4321 W PIUTE DR                                                                                    BEVERLY HILLS      FL     34465‐4814
JERRY FELLER                          10400 S 1000 W                                                                                     ANDERSON           IN     46017‐9307
JERRY FELTS                           1377 S HOLLY RD                                                                                    FENTON             MI     48430‐8537
JERRY FELTS                           101 FREDERICK DR                                                                                   OXFORD             MI     48371‐4741
JERRY FENDERSON                       4013 VIA MIRADA                                                                                    SARASOTA           FL     34238‐2749
JERRY FENNELL                         3741 DRUIDS DR SE                                                                                  CONYERS            GA     30013‐2978
JERRY FENNER                          1075 E WILSON RD                                                                                   CLIO               MI     48420‐7918
JERRY FENWICK                         6648 CATFISH DR                                                                                    NINEVEH            IN     46164‐9409
JERRY FERGUSON                        9000 W 115TH TER                                                                                   OVERLAND PARK      KS     66210‐1743
JERRY FERGUSON                        219 OAKVIEW AVE                                                                                    STRUTHERS          OH     44471‐2335
JERRY FERGUSON PONTIAC‐GMC TRUCK, I   1601 N ELM PL                                                                                      BROKEN ARROW       OK     74012‐1704

JERRY FERGUSON PONTIAC‐GMC TRUCK,     JERRY FERGUSON                 1601 N ELM PL                                                       BROKEN ARROW       OK     74012‐1704
INC.
JERRY FERGUSON PONTIAC‐GMC TRUCK,     1601 N ELM PL                                                                                      BROKEN ARROW       OK     74012‐1704
INC.
JERRY FERRELL                         110 SE WINBURN TRL                                                                                 LEES SUMMIT       MO      64063‐3340
JERRY FERRER                          903 N WALNUT ST                                                                                    BAY CITY          MI      48706‐3768
JERRY FERRETTI                        3718 TEESIDE DR                                                                                    NEW PORT RICHEY   FL      34655‐1967
JERRY FEULNER                         177 CREEK RD                                                                                       REEVESVILLE       SC      29471‐5019
JERRY FEUTZ                           11021 W STATE ROAD 142                                                                             QUINCY            IN      47456‐9426
JERRY FIELDS                          6760 CASTLEBROOK DR                                                                                FRANKLIN          OH      45005‐3978
JERRY FIELDS                          6760 CASTLEBROOK DR                                                                                FRANKLIN          OH      45005‐3978
JERRY FIFE
JERRY FINCH                           6473 N OAK RD                                                                                      DAVISON            MI     48423‐9306
JERRY FISACKERLY                      848 DARIA DR                                                                                       FLINT              MI     48506‐5246
JERRY FISCHER                         12193 GRATIOT RD                                                                                   SAGINAW            MI     48609‐9653
JERRY FISH                            1211 S GENESEE DR                                                                                  LANSING            MI     48915‐1919
JERRY FISHER                          8421 GREEN RIDGE DR                                                                                GOODRICH           MI     48438‐9226
JERRY FISHER                          1519 E GILMORE RD                                                                                  MARKLEVILLE        IN     46056‐9705
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Name                         Address1                        Address2                     Address3   Address4               City               State   Zip
JERRY FISHER                 11101 PINEHURST LN                                                                             GRAND BLANC         MI     48439‐2629
JERRY FISK                   17616 CLEARVIEW ST                                                                             ATHENS              AL     35611‐0603
JERRY FITCH                  3710 OLD PINE TRL                                                                              PRUDENVILLE         MI     48651‐9202
JERRY FLAKE                  # 139                           6735 HAMMOCK ROAD                                              PORT RICHEY         FL     34668‐2115
JERRY FLANIGAN               141 PLANTATION RD                                                                              WINDER              GA     30680‐3871
JERRY FLEENOR                PO BOX 256                                                                                     GATLINBURG          TN     37738‐0256
JERRY FLEENOR                4368 GORMAN AVE                                                                                ENGLEWOOD           OH     45322‐2532
JERRY FLEMING                9111 DODGE RD                                                                                  OTISVILLE           MI     48463‐9403
JERRY FLICK                  2801 W CARTER ST                                                                               KOKOMO              IN     46901‐4057
JERRY FLIPPO                 166 LEE RD                                                                                     WINFIELD            AL     35594‐6442
JERRY FLOWERS                3301 CEDAR CV SW                                                                               DECATUR             AL     35603‐3129
JERRY FLOWERS                649 N AVANT LN                                                                                 MEMPHIS             TN     38105‐4903
JERRY FLOWERS                14431 SOARING HAWK TRL                                                                         HOAGLAND            IN     46745‐9766
JERRY FLOYD                  702 EAST KERCHER STREET                                                                        MIAMISBURG          OH     45342‐1822
JERRY FLUTY                  3144 ELSIE DR                                                                                  SEDALIA             MO     65301‐9467
JERRY FLYNN                  661 DUKES RD                                                                                   MANSFIELD           GA     30055‐3119
JERRY FOERMAN                6454 E 100 N                                                                                   KOKOMO              IN     46901‐9553
JERRY FOGEL                  1119 HARTZELL AVE                                                                              NILES               OH     44446‐5233
JERRY FOLKERTH               20 IRONWOOD DR                                                                                 DAYTON              OH     45449‐1622
JERRY FOLLA                  168 S ASPEN DR                                                                                 CHANDLER            AZ     85226‐3501
JERRY FOLTA                  131 LINCOLN TRL                                                                                HAWK POINT          MO     63349‐2106
JERRY FOLTZ & CHERYL FOLTZ   816 CHERRYHILL DR                                                                              BOWLING GREEN       OH     43402
JERRY FOOTE                  31547 STRICKER DR                                                                              WARREN              MI     48088‐2992
JERRY FOOTIT                 953 W PECK ST                                                                                  WHITEWATER          WI     53190‐1723
JERRY FORD                   11345 TWIN LAKES AVE                                                                           LAKE                MI     48632‐9523
JERRY FOREMAN                334 CHRISTMAS TREE LN                                                                          PANAMA CITY         FL     32413‐8906
                                                                                                                            BEACH
JERRY FORETICH               501 SANDLIN LN                                                                                 SPRINGTOWN          TX     76082‐6608
JERRY FORREST
JERRY FORREST                2718 CRITZ LN                                                                                  THOMPSONS           TN     37179‐5212
                                                                                                                            STATION
JERRY FORRESTER              358 DACULA RD                                                                                  DACULA              GA     30019‐2130
JERRY FORSBERG               32376 SYLVAN LN                                                                                BEVERLY HILLS       MI     48025‐2925
JERRY FORSYTH                47 SERENITY LN                                                                                 MORGANTOWN          KY     42261‐8263
JERRY FOSKEY                 3 BALSAM RD                                                                                    WILMINGTON          DE     19804‐2642
JERRY FOSS                   27189 WINCHESTER CT                                                                            FARMINGTON HILLS    MI     48331‐3688

JERRY FOSTER                 1140 S ORTONVILLE RD LOT 7                                                                     ORTONVILLE         MI      48462
JERRY FOSTER                 BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH      44236
JERRY FOUCH                  130 NORTHWOODS DR APT F                                                                        SENECA             SC      29678‐1077
JERRY FOULKE                 121 IXORA DR                                                                                   WINTER HAVEN       FL      33881‐8603
JERRY FOUST                  PO BOX 178                                                                                     ALBANY             OH      45710‐0178
JERRY FOUTS                  2605 LAYTON RD                                                                                 ANDERSON           IN      46011‐4533
JERRY FOWLE                  303 FOXTAIL CT                                                                                 LEAGUE CITY        TX      77573‐5906
JERRY FOWLER                 2190 SOUTH 450 EAST RD.                                                                        ANDERSON           IN      46017
JERRY FOWLER                 314 BRIDGE RD                                                                                  KILLEN             AL      35645‐9038
JERRY FOX                    6865 RIDGE RD                                                                                  LOCKPORT           NY      14094‐9436
JERRY FOY                    9205 STATE ROUTE 303                                                                           MAYFIELD           KY      42066‐6218
JERRY FRALEY                 3872 MURRAY VIEW DR NE                                                                         LOWELL             MI      49331‐9485
JERRY FRANKLIN               2301 LAKE RIDGE RD                                                                             RED OAK            TX      75154‐1809
JERRY FRANKLIN               11205 SHORE LN                                                                                 FLINT              MI      48504‐5716
JERRY FRANKLIN               4937 HUDSON ST                                                                                 DIMONDALE          MI      48821‐9620
JERRY FRANKS                 2784 VALLEY CREEK RD                                                                           CULLEOKA           TN      38451‐2370
JERRY FRAZIER                9508 W LONE BEECH DR                                                                           MUNCIE             IN      47304‐8931
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Name                                Address1                        Address2                     Address3   Address4               City            State   Zip
JERRY FREDERICKSON                  1181 W SOLON RD                                                                                DEWITT           MI     48820‐8655
JERRY FREEMAN                       5350 LOUISVILLE RD LOT 168                                                                     BOWLING GREEN    KY     42101‐7238
JERRY FREEMAN                       PO BOX 22662                                                                                   CLEVELAND        OH     44122‐0662
JERRY FREEMIRE                      490 PALOMINO AVE                                                                               PORTAGE          MI     49002‐6023
JERRY FREGOSO                       1010 S 9TH ST                                                                                  SAN JOSE         CA     95112‐2472
JERRY FRENCH                        640 GROVE AVE S.W. 320                                                                         CLEVELAND        TN     37311
JERRY FRENCH                        11530 W PRONGHORN CT                                                                           SURPRISE         AZ     85374‐2512
JERRY FREY                          6364 SKYWAE DR                                                                                 COLUMBUS         OH     43229‐2006
JERRY FRIESZELL                     1742 W MAIN ST                                                                                 NEW LEBANON      OH     45345‐9704
JERRY FRISBY SR                     100 COURTLAND DR                                                                               FAYETTEVILLE     GA     30215‐5745
JERRY FRITTS                        9370 MACEY RD                                                                                  WILLIS           MI     48191‐9765
JERRY FROEDGE                       6482 E EDNA MILLS DR                                                                           CAMBY            IN     46113‐9698
JERRY FROST                         207 E GREENWOOD DR                                                                             HASKINS          OH     43525‐9604
JERRY FROST                         2996 E SALZBURG RD                                                                             BAY CITY         MI     48706‐3041
JERRY FUGATE                        11608 WILDWOOD RD                                                                              SHELBYVILLE      MI     49344‐9646
JERRY FUGATT                        1039 EAGLES BROOKE DR                                                                          LOCUST GROVE     GA     30248‐2463
JERRY FULLER                        7188 MOUNT JULIET DR                                                                           DAVISON          MI     48423‐2362
JERRY FULTZ                         1980 MOUNT MORIAH RD                                                                           REAGAN           TN     38368‐6186
JERRY FUNK                          103 WIRTH LN                                                                                   SHERWOOD         OH     43556‐9606
JERRY FURROW                        5160 KUDER PL                                                                                  DAYTON           OH     45424‐6028
JERRY FYFFE                         6926 CRESTVIEW LN                                                                              HILLSBORO        OH     45133‐8416
JERRY FYFFE                         4421 N STATE ROUTE 72                                                                          SABINA           OH     45169‐9105
JERRY G AND VERA S BOYER TRUSTEES   BOYER FAMILY TRUST              PO BOX 237                                                     ST DAVID         AZ     85630‐0237
JERRY G CANADA                      8338 LAUGHLIN DR                                                                               NIAGARA FALLS    NY     14304‐2426
JERRY G FOUST                       PO BOX 178                                                                                     ALBANY           OH     45710‐0178
JERRY G JONES                       1021 GREENRIDGE DR                                                                             DAYTON           OH     45429‐4645
JERRY G KENNEDY                     6491 BAIN BLVD                                                                                 KEITHVILLE       LA     71047‐7914
JERRY G LAWRENCE SR                 629 W MILWAUKEE ST APT 403                                                                     DETROIT          MI     48202‐2965
JERRY G MOORE                       215 VALENTINE DR                                                                               DAYTON           OH     45431‐1925
JERRY G OGG                         311 E BARNES RD                                                                                FOSTORIA         MI     48435‐9654
JERRY G PERRY                       188 HOT MIX RD                                                                                 WEST LIBERTY     KY     41472‐8789
JERRY G WELLS                       7731 SOMERVILLE DR                                                                             DAYTON           OH     45424‐2241
JERRY GABEHART                      205 SMITH ST                                                                                   WESTVILLE         IL    61883‐6080
JERRY GABLER                        699 WILLOWCREST LN                                                                             GALION           OH     44833‐3168
JERRY GAINS                         1411 NEW YORK AVE                                                                              FLINT            MI     48506‐3326
JERRY GALES                         6522 POST TOWN RD                                                                              TROTWOOD         OH     45426‐3130
JERRY GALL                          7154 E 300 S                                                                                   MARION           IN     46953‐9207
JERRY GALLAGHER                     2303 EAST HIGHWAY 90                                                                           ALPINE           TX     79830
JERRY GALLO                         304 FAIRWAY BLVD                                                                               FROSTPROOF       FL     33843‐8363
JERRY GAPPENS                       100 CANDY LN                                                                                   SHARPSVILLE      IN     46068‐9336
JERRY GARDNER                       5604 KENILWORTH CIR                                                                            SHREVEPORT       LA     71129‐4816
JERRY GARDNER                       2019 N B ST                                                                                    ELWOOD           IN     46036‐1747
JERRY GARDNER                       1130 CREWDSON DR                                                                               BOWLING GREEN    KY     42101‐1981
JERRY GARFIELD                      17014 E HART AVE                                                                               INDEPENDENCE     MO     64055‐3042
JERRY GARLAND                       7987 PINCKNEY RD                                                                               PINCKNEY         MI     48169‐8618
JERRY GARLOCK                       4431 WARREN‐GREENVILLE RD                                                                      FARMDALE         OH     44417
JERRY GARNER                        10913 WILDON WAY W                                                                             GRAND LEDGE      MI     48837‐9142
JERRY GARRETT                       2608 WATERS EDGE DR                                                                            GRAND PRAIRIE    TX     75054‐7210
JERRY GARRINGER                     820 VIRGINIA ST APT 110                                                                        DUNEDIN          FL     34698‐6758
JERRY GASKINS                       6031 BIG RUN RD                                                                                GEORGETOWN       OH     45121‐9718
JERRY GATES SR                      10841 AVON BELDEN RD                                                                           GRAFTON          OH     44044‐9418
JERRY GAYDOSH                       BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.      OH     44236
JERRY GAYLER                        248 ROLLINGWOOD RD                                                                             ALVORD           TX     76225‐3327
JERRY GEAN                          5079 MAPLE AVE                                                                                 SWARTZ CREEK     MI     48473‐8225
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Name                             Address1                          Address2                Address3   Address4               City             State   Zip
JERRY GEIGER                     5682 BARTONVILLE RD                                                                         BELDING           MI     48809‐8703
JERRY GENTRY                     281 KENDERTON TRL                                                                           DAYTON            OH     45430‐2007
JERRY GEORGE                     5805 PREBLE COUNTY LINE RD                                                                  LEWISBURG         OH     45338‐9301
JERRY GEORGE                     10874 STATE ROUTE 339                                                                       VINCENT           OH     45784‐5431
JERRY GEORGE                     30 OLD OAK DR                                                                               FOLEY             MO     63347‐2847
JERRY GEORGE JR & EVELYN M       11948 ELLSWORTH RD                                                                          NORTH JACKSON     OH     44451‐9761
JERRY GERBER                     5100 12 MILE RD NE                                                                          ROCKFORD          MI     49341‐8122
JERRY GERCZAK                    4762 CECIL ST                                                                               DETROIT           MI     48210‐2236
JERRY GERKEN                     14160 DOHONEY RD                                                                            DEFIANCE          OH     43512‐8983
JERRY GHANNAM                    19199 AUGUSTA DR                                                                            LIVONIA           MI     48152‐4014
JERRY GHEE                       1923 WOODMEAD ST SW                                                                         DECATUR           AL     35601‐3652
JERRY GIBBS JR                   16724 FORRER ST                                                                             DETROIT           MI     48235‐3606
JERRY GIBSON                     9264 ROCKER AVE                                                                             PLYMOUTH          MI     48170‐4172
JERRY GIBSON                     507 N 10TH ST                                                                               MIDDLETOWN        IN     47356‐1203
JERRY GIERS                      83 TWIN OAKS DR                                                                             LAPEER            MI     48446‐7630
JERRY GIESKEN                    15222 SHARON RD                                                                             CHESANING         MI     48616‐9410
JERRY GILBERT                    37811 CHANCEY RD LOT 111A                                                                   ZEPHYRHILLS       FL     33541‐6842
JERRY GILBERT                    5520 DENISE DR                                                                              HALTOM CITY       TX     76148‐3907
JERRY GILL                       6840 E COUNTY LINE RD                                                                       INDIANAPOLIS      IN     46237‐9711
JERRY GILLAM                     15272 E 206TH ST                                                                            NOBLESVILLE       IN     46060‐9393
JERRY GILLEAN                    6156 WILLARD RD                                                                             MILLINGTON        MI     48746‐9206
JERRY GILLESPIE                  57287 COVINGTON DR                                                                          WASHINGTN TWP     MI     48094‐3160
JERRY GIMENEZ                    3710 BAY RD                                                                                 ERIE              MI     48133‐9404
JERRY GIVENS                     PO BOX 492                                                                                  GRAND BLANC       MI     48480‐0492
JERRY GIVHAN                     342 IMOGENE RD                                                                              DAYTON            OH     45405‐5208
JERRY GLASS                      PO BOX 2054                                                                                 WILLIAMSVILLE     NY     14231‐2054
JERRY GLASS                      821 TOM TIM DR                                                                              PAULDING          OH     45879‐9244
JERRY GLASS                      15019 W BETHEL AVE                                                                          ALEXANDRIA        IN     46001‐9345
JERRY GLASSCO                    124 ROCKWOOD DR                                                                             BEDFORD           IN     47421‐6415
JERRY GLOVER                     9719 WINDSOR CIR                                                                            FORT WORTH        TX     76140‐7921
JERRY GLOVER JR                  1106 CALUMET AVE                                                                            MIDDLETOWN        OH     45044‐5838
JERRY GOANS                      4886 MAXSON DR                                                                              HOPE              MI     48628‐9620
JERRY GOLUBSKI                   2009 NE 4TH ST                                                                              BLUE SPRINGS      MO     64014‐1716
JERRY GOODMAN                    370 E 30 RD                                                                                 BOON              MI     49618‐9619
JERRY GOODSON                    1217 MILTON TWP RD 1253                                                                     ASHLAND           OH     44805
JERRY GOODWIN                    1607 IRVING AVE                                                                             SAGINAW           MI     48602‐5107
JERRY GOODWIN                    1690 N OLD OAK TRL                                                                          SANFORD           MI     48657‐9235
JERRY GORDON                     614 COUNTY ROUTE 42                                                                         MASSENA           NY     13662
JERRY GORDON & MARCELLA GORDON   U/Z DTD 12‐29‐06 FOR MARCELLA J   476 WHITE BARK CIRCLE                                     WADSWORTH         OH     44281
TTEES                            GORDON TRUST
JERRY GORTON                     412 HARMONY LN                                                                              FROSTPROOF       FL      33843‐5014
JERRY GOSS                       4095 BRISTOLWOOD DR                                                                         FLINT            MI      48507‐5532
JERRY GOSS                       4407 LAWNWOOD LN                                                                            BURTON           MI      48529‐1924
JERRY GOSSER                     5230 E COUNTY ROAD 800 N                                                                    BROWNSBURG       IN      46112‐8812
JERRY GOULDING                   18415 COCHRAN BLVD                                                                          PORT CHARLOTTE   FL      33948‐3338
JERRY GOWEN                      18083 N LAKEVIEW DR                                                                         TROUP            TX      75789‐3723
JERRY GRACE                      303 E COUNTY ROAD 500 N                                                                     PITTSBORO        IN      46167‐9376
JERRY GRADY                      109 LAKE DOCKERY DR                                                                         JACKSON          MS      39272‐9419
JERRY GRAEFF                     166 HUNTER CHASE                                                                            HAMPSHIRE        TN      38461‐5049
JERRY GRAFF                      620 S LAUREL ST                                                                             ROYAL OAK        MI      48067‐3104
JERRY GRAHAM                     3559 OAK KNOLL DR                                                                           BRIGHTON         MI      48114‐4906
JERRY GRAMLING                   17 FRANCES DR                                                                               DALLAS           GA      30157‐7611
JERRY GRAVELY                    PO BOX 603                                                                                  POCAHONTAS       VA      24635‐0603
JERRY GRAVES                     PO BOX 156                                                                                  TOMPKINSVILLE    KY      42167‐0156
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Name                            Address1                        Address2                     Address3   Address4               City            State   Zip
JERRY GRAVES                    168 CANARY AVE                                                                                 SWARTZ CREEK     MI     48473
JERRY GRAVITT                   850 BURR ST                                                                                    ADRIAN           MI     49221‐3249
JERRY GRAY                      10 EVINGTON CT                                                                                 WICHITA FALLS    TX     76302‐5165
JERRY GRAY                      6720 DELAWARE ST                                                                               ANDERSON         IN     46013‐3705
JERRY GRAY                      5234 CROCUS AVE                                                                                LANSING          MI     48911‐3733
JERRY GREATHOUSE                102 DICKINSON DR                                                                               DAYTONA BEACH    FL     32117‐4922
JERRY GREEN                     1585 PERRY LAKE RD                                                                             ORTONVILLE       MI     48462‐9137
JERRY GREEN                     624 RIDGEVIEW DR                                                                               PRUDENVILLE      MI     48651‐9773
JERRY GREEN                     375 N 27 1/4 RD                                                                                CADILLAC         MI     49601‐9157
JERRY GREEN                     2327 FISHER ST                                                                                 MELVINDALE       MI     48122‐1907
JERRY GREEN                     2558 N TREVINO PL                                                                              MESA             AZ     85215‐1929
JERRY GREEN                     5405 PURDUE AVE                                                                                BALTIMORE        MD     21239‐3329
JERRY GREEN                     355 HICKORY DALE DR                                                                            SAINT CHARLES    MO     63304‐7020
JERRY GREEN                     218 CHIMNEY LN                                                                                 HAUGHTON         LA     71037‐9208
JERRY GREEN SR                  157 FAIRFAX RD                                                                                 MARION           OH     43302‐6478
JERRY GREENE                    717 DELAWARE AVE                                                                               ELYRIA           OH     44035‐6666
JERRY GREENE                    BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.      OH     44236
JERRY GREER                     BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.      OH     44236
JERRY GREER                     5 RUNNING BROOK LN                                                                             NEWARK           DE     19711‐2953
JERRY GREER                     4757 N CO RD ‐ 500 W                                                                           KOKOMO           IN     46901
JERRY GREER                     19805 YANKEE RD                                                                                HOWARD CITY      MI     49329‐9342
JERRY GREER                     2805 PEACHTREE CT                                                                              ANDERSON         IN     46012‐4591
JERRY GREER                     1025 DARLING ST                                                                                FLINT            MI     48532‐5032
JERRY GREGG                     APT 3                           4290 PAYNE AVENUE                                              SAN JOSE         CA     95117‐3301
JERRY GRESHAM                   485 DONALDSON RD                                                                               CALHOUN          LA     71225‐9407
JERRY GRESKO                    109 HERITAGE STA                                                                               SAINT CHARLES    MO     63303‐1757
JERRY GRIDER                    3518 S STATE ROAD 267                                                                          PLAINFIELD       IN     46168‐3032
JERRY GRIFFITH                  2980 BRASHEARS CREEK RD                                                                        TAYLORSVILLE     KY     40071‐5502
JERRY GRIFFITH                  9207 W 104TH CIR                                                                               WESTMINSTER      CO     80021‐7352
JERRY GRIGGS                    17543 SANTA ROSA DR                                                                            DETROIT          MI     48221‐2644
JERRY GRIZZLE                   7509 N NATURE TRL                                                                              HERNANDO         FL     34442‐3617
JERRY GROESSER                  11851 PRYOR RD                                                                                 PORTLAND         MI     48875‐9415
JERRY GROH                      30985 BANNER SCHOOL RD                                                                         NAPOLEON         OH     43545‐8608
JERRY GROLL                     5535 ADRIAN ST                                                                                 SAGINAW          MI     48603‐3660
JERRY GROOTERS                  1810 LINCOLN LAKE AVE NE                                                                       LOWELL           MI     49331‐9396
JERRY GROSZ                     1505 WOODHAVEN LN                                                                              SPARKS           NV     89434‐0728
JERRY GROVE                     9007 ACADEMY VIEW CT                                                                           DAYTON           OH     45458‐9657
JERRY GUALDONI                  8119 E ROYAL RD                                                                                STANWOOD         MI     49346‐9745
JERRY GUICE                     507 CATALPA AVE                                                                                LIMA             OH     45804‐2023
JERRY GUINN                     7412 GOLF DR                                                                                   MISSION          TX     78572‐8958
JERRY GUINSLER                  1846 BIG RUN BLUFFS BLVD                                                                       GROVE CITY       OH     43123‐3709
JERRY GUNN                      5863 MARTIN RD                                                                                 WOODLAND         MI     48897‐9719
JERRY GUNTER                    103 HARTWOOD DR                                                                                GADSDEN          AL     35901
JERRY GUSTAFSON                 3008 SOUTHWEST DR                                                                              INDIANAPOLIS     IN     46241‐6200
JERRY GUSTIN                    169 DUKE DR                                                                                    FLORISSANT       MO     63034‐1333
JERRY H & BARBARA A GILLASPIE   2413 WILD OAK CT                                                                               COLUMBIA         MO     65201‐3574
JERRY H BELL                    504 HOMEASTEAD AVE                                                                             DAYTON           OH     45408‐1959
JERRY H BISHOP                  810 BROOKWOOD DR                                                                               TRENTON          OH     45067‐1810
JERRY H CLEMONS                 797 FLORAL CT                                                                                  MANSFIELD        OH     44903‐1015
JERRY H GASAWAY                 5009 81ST SW                                                                                   LAKEWOOD         WA     98499
JERRY H PROFFITT                98 SAWMILL LN                                                                                  NEW LEBANON      OH     45345
JERRY H ROYAL                   C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                      HOUSTON          TX     77007
                                BOUNDAS LLP
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Name                             Address1                        Address2                     Address3   Address4               City               State Zip
JERRY H SMITH                    C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY            STE 600                           HOUSTON             TX 77007
                                 BOUNDAS L L P
JERRY HAAG MOTORS, INC.          STEVEN HAAG                     1475 N HIGH ST                                                 HILLSBORO          OH   45133‐8203
JERRY HAAG MOTORS, INC.          1475 N HIGH ST                                                                                 HILLSBORO          OH   45133‐8203
JERRY HACKER                     BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH   44236
JERRY HACKLEMAN                  PO BOX 813                                                                                     LAPEL              IN   46051‐0813
JERRY HACKNEY                    7855 ELM ST                                                                                    TAYLOR             MI   48180‐2263
JERRY HACKWORTH                  1399 S TAYLORSVILLE RD                                                                         HILLSBORO          OH   45133‐6730
JERRY HAGERMAN                   9896 JOAN CIRCLE                                                                               YPSILANTI          MI   48197‐6911
JERRY HAGGERTY CHEVROLET, INC.   GERARD HAGGERTY                 300 ROOSEVELT RD                                               GLEN ELLYN         IL   60137‐5621
JERRY HAGGERTY CHEVROLET, INC.   300 ROOSEVELT RD                                                                               GLEN ELLYN         IL   60137‐5621
JERRY HAICL                      PO BOX 67                                                                                      SAINT HELEN        MI   48656‐0067
JERRY HAIGHT                     2016 5TH ST                                                                                    BAY CITY           MI   48708‐6233
JERRY HAILEY                     606 N 6TH AVE                                                                                  PURCELL            OK   73080‐2202
JERRY HAIR                       10416 HOLLAND RD                                                                               FRANKENMUTH        MI   48734‐9123
JERRY HAKE                       31602 E MAJOR RD                                                                               GRAIN VALLEY       MO   64029‐9547
JERRY HALCOMB                    PO BOX 481                                                                                     BENHAM             KY   40807‐0481
JERRY HALE                       314 8TH AVE                                                                                    COLUMBIA           TN   38401‐2862
JERRY HALEY                      2566 N STINE RD                                                                                CHARLOTTE          MI   48813‐8831
JERRY HALL                       5453 HOLDEN RD                                                                                 COCOA              FL   32927‐9006
JERRY HALL                       5745 HICKORY WOODS DR                                                                          PLAINFIELD         IN   46168‐8619
JERRY HALL                       591 FANTASY KANE                                                                               ANDERSON           IN   46013‐1163
JERRY HALL                       2045 CRESTLINE DR                                                                              BURTON             MI   48509‐1339
JERRY HALL                       255 BISHOP RD                                                                                  STERLING           MI   48659‐9411
JERRY HALL                       PO BOX 89                                                                                      WAYLAND            MI   49040‐0009
JERRY HALL                       7690 W 450 S                                                                                   COLUMBUS           IN   47201‐4794
JERRY HALL                       238 S MILLER RD                                                                                SAGINAW            MI   48609‐5107
JERRY HALL                       10644 FM 1749                                                                                  SUNSET             TX   76270‐6234
JERRY HAMILTON                   1062 WINDYWOOD DR                                                                              SAINT HELEN        MI   48656‐9531
JERRY HAMILTON                   PO BOX 300321                                                                                  DRAYTON PLNS       MI   48330‐0321
JERRY HAMILTON                   2335 PINEY BRANCH CIR                                                                          SPRINGFIELD        OH   45503‐2312
JERRY HAMILTON                   8972 TAFT POWELL RD                                                                            FRISCO             TX   75035‐7363
JERRY HAMILTON                   2507 LINNELL DR                                                                                SAINT LOUIS        MO   63136‐5842
JERRY HAMILTON                   35314 WELLSTON AVE                                                                             STERLING HEIGHTS   MI   48312‐3766
JERRY HAMLETT                    60 PINE TREE LN                                                                                EOLIA              MO   63344‐2225
JERRY HAMM CHEVROLET, INC.       DAVID HAMM                      3494 PHILLIPS HWY                                              JACKSONVILLE       FL   32207‐5610
JERRY HAMM CHEVROLET, INC.       3494 PHILLIPS HWY                                                                              JACKSONVILLE       FL   32207‐5510
JERRY HAMMERSLEY                 4333 WEBSTER RD                                                                                FLUSHING           MI   48433‐9054
JERRY HAMMOND                    8617 DOWNSVILLE PIKE                                                                           WILLIAMSPORT       MD   21795‐4007
JERRY HAMMOND                    21007 E STATE ROUTE P                                                                          PLEASANT HILL      MO   64080‐8460
JERRY HAMMOND I I I              35256 W HIGHWAY U                                                                              RAYVILLE           MO   64084‐9009
JERRY HAMPTON                    11668 BARNES RD                                                                                EATON RAPIDS       MI   48827‐9232
JERRY HAMPTON                    1082 ANDREWS RD                                                                                DANVILLE           AL   35619‐7115
JERRY HANLON                     3511 FIR FOREST DR                                                                             SPRING             TX   77388‐5126
JERRY HANNA                      9056 SALEM ROAD                                                                                CANFIELD           OH   44406
JERRY HANSEL                     1211 MARSHA DR                                                                                 MIAMISBURG         OH   45342‐3239
JERRY HANSEN                     8688 W LOTAN RD                                                                                LAKE CITY          MI   49651‐9169
JERRY HANSERT
JERRY HARAHUC                    4807 BRIGGS RD                                                                                 OTTER LAKE         MI   48464‐9762
JERRY HARALABAKOS                1505 LARCHMONT AVE                                                                             WATERFORD          MI   48328‐4342
JERRY HARDEN                     816 W KNIGHT ST                                                                                BRAZIL             IN   47834‐2419
JERRY HARDIN                     713 BUCHANAN HWY                                                                               DALLAS             GA   30157‐4543
JERRY HARDIN                     3209 PARKCHESTER SQUARE BLVD    APT 204                                                        ORLANDO            FL   32835‐7576
JERRY HARDIN                     380 W FACTORY RD                                                                               SPRINGBORO         OH   45066‐1202
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Name               Address1                        Address2                     Address3   Address4               City               State Zip
JERRY HARDY        7205 PEA RIDGE RD                                                                              GAINESVILLE         GA 30506‐6135
JERRY HARKNESS     4444 CARMANWOOD DR                                                                             FLINT               MI 48507‐5653
JERRY HARLAN       1105 ISLAND PARK BLVD APT 612                                                                  SHREVEPORT          LA 71105‐4763
JERRY HARMON       119 VILLAGE CT                                                                                 COLUMBIANA          OH 44408
JERRY HARMON       1056 LONDON AVE, APT 809A                                                                      MEMPHIS             TN 38104
JERRY HARO         4522 WESCOTT DR                                                                                GRAND PRAIRIE       TX 75052‐4804
JERRY HARPER       12 SAGER PL                                                                                    IRVINGTON           NJ 07111‐2810
JERRY HARPER       2468 EDGEWATER DR                                                                              CORTLAND            OH 44410‐9642
JERRY HARPER       21751 N HORSESHOE RD                                                                           EDMOND              OK 73012‐3201
JERRY HARRINGTON   16068 BULLIS DR                                                                                BROOKSVILLE         FL 34614‐2523
JERRY HARRINGTON   6152 WALKER RD                                                                                 RIVERDALE           GA 30296‐3059
JERRY HARRIS       RR 1 BOX 1496                                                                                  SHELL KNOB          MO 65747‐9637
JERRY HARRIS       17291 GRASS LAKE RD                                                                            GRASS LAKE          MI 49240‐9619
JERRY HARRIS       9420 MARGUERITE DR              APT 2                                                          PLYMOUTH            MI 48170‐3960
JERRY HARRIS       10220 CLINKENBEARD RD                                                                          NORMAN              OK 73026‐9733
JERRY HARRIS       309 STROUD ST                                                                                  DENTON              TX 76201‐6037
JERRY HARRIS       9311 CHARLOTTE ST APT 124                                                                      KANSAS CITY         MO 64131‐4602
JERRY HARRIS       5054 BOONE TRL                                                                                 HILLSBORO           MO 63050‐3548
JERRY HARRIS       637 GRAMONT AVE                                                                                DAYTON              OH 45402‐5440
JERRY HARRIS       2745 N 22ND ST                                                                                 KANSAS CITY         KS 66104‐4516
JERRY HARRIS       G3234 W COURT ST                                                                               FLINT               MI 48532‐5026
JERRY HARRISON     31818 COURTLAND ST                                                                             SAINT CLAIR SHORES MI 48082‐1258

JERRY HARRISON     4131 W COUNTY RD 1100 S                                                                        LEWISVILLE        IN   47958‐8115
JERRY HARRY        7800 S COUNTY ROAD 400 W                                                                       MUNCIE            IN   47302‐8104
JERRY HART         10440 COLDWATER RD                                                                             FLUSHING          MI   48433‐9752
JERRY HART         600 W MONROE ST                                                                                DURAND            MI   48429‐1182
JERRY HART         3457 PARKER DR                                                                                 OKLAHOMA CITY     OK   73135‐1505
JERRY HART         7468 N BRAY RD                                                                                 MOUNT MORRIS      MI   48458‐8830
JERRY HARTLEBEN    BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.       OH   44236
JERRY HARTMAN      12411 GREEN RD                                                                                 GOODRICH          MI   48438‐9057
JERRY HARTON       1510 ALGER ST                                                                                  LAKE ODESSA       MI   48849‐1103
JERRY HARVEY       16144 EDGEMONT DR                                                                              FORT MYERS        FL   33908‐3652
JERRY HARVEY       PO BOX 2733                                                                                    MUNCIE            IN   47307‐0733
JERRY HARVILLE     14800 KING RD APT 336                                                                          RIVERVIEW         MI   48193‐7971
JERRY HASKE        5445 N PORTSMOUTH RD                                                                           SAGINAW           MI   48601‐9632
JERRY HASLETT      PO BOX 226                                                                                     LAWSON            MO   64062‐0226
JERRY HASSELL      1650 PINE HOLLOW BLVD                                                                          HERMITAGE         PA   16148‐1938
JERRY HASTING      10240 CURTIS LN                                                                                WHITE LAKE        MI   48386‐3814
JERRY HATCHER SR   C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                      HOUSTON           TX   77007
                   BOUNDAS LLP
JERRY HATFIELD     4000 SHAWNEE TRL                                                                               JAMESTOWN         OH   45335‐1148
JERRY HATFIELD     1281 HANES RD                                                                                  BEAVERCREEK       OH   45434‐6547
JERRY HATFIELD     2524 S 700 W                                                                                   SWAYZEE           IN   46986‐9768
JERRY HATFIELD     11500 SANDHILL RD                                                                              JEROME            MI   49249‐9754
JERRY HATLEVIG     451 E ACORN DR                                                                                 BELOIT            WI   53511‐1509
JERRY HATTER       11116 N VIRGINIA AVE                                                                           ALEXANDRIA        IN   46001‐8165
JERRY HAWES        1701 PARKHILL DR                                                                               DAYTON            OH   45406‐4025
JERRY HAWES JR     4326 TAHITIAN GARDEN CL.        APT. G                                                         HOLIDAY           FL   34691
JERRY HAWKINS      1704 HILLTOP LN                                                                                ROANOKE           TX   76262‐9303
JERRY HAWTHORNE    PO BOX 154                                                                                     XENIA             IL   62899‐0154
JERRY HAWTHORNE    6081 SOUTHWARD AVE                                                                             WATERFORD         MI   48329‐1437
JERRY HAYDA        1730 RADCLIFF AVE                                                                              BRONX             NY   10462‐4021
JERRY HAYDEN       3754 KINGS HWY APT 121                                                                         DAYTON            OH   45406‐3512
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Name                                  Address1                          Address2                          Address3   Address4               City              State   Zip
JERRY HAYES                           1373 NUTWOOD DR                                                                                       CENTERVILLE        OH     45458‐5109
JERRY HAYES                           1515 19TH ST                                                                                          BEDFORD            IN     47421‐4109
JERRY HAYES                           1837 17TH ST                                                                                          WYANDOTTE          MI     48192‐3623
JERRY HAYES                           21605 S ORE RD                                                                                        PLEASANT HILL      MO     64080‐9172
JERRY HAYES                           2020 DENSON AVE                                                                                       BEDFORD            IN     47421‐4027
JERRY HAYES                           2304 SKYLARK DR                                                                                       ARLINGTON          TX     76010‐8112
JERRY HAYNES                          6047 JERRY LEE DR                                                                                     MILFORD            OH     45150‐2212
JERRY HAYNES                          JERRY HAYNES                      616138TYBALT CIR.                                                   INDIANAPOLIS       IN     46234
JERRY HAYS                            2009 RIDGEFIELD CT                                                                                    ROCHESTER HILLS    MI     48306‐4046
JERRY HAZEL                           1128 NANCE FORD RD SW                                                                                 HARTSELLE          AL     35640‐3714
JERRY HAZEL                           11474 LA SALLE ST                                                                                     BROCKWAY           MI     48097‐2939
JERRY HEAD                            1706 GUMMER AVE                                                                                       DAYTON             OH     45403‐3457
JERRY HEAGLE                          PO BOX 426                                                                                            VERNON             MI     48476‐0426
JERRY HEFFELBOWER                     5244 MARTIN RD                                                                                        WOODLAND           MI     48897‐9719
JERRY HEFLIN                          23718 W FAIRWAY DR                                                                                    WOODHAVEN          MI     48183‐3168
JERRY HEFLIN COURTESY CHEVROLET, IN   3161 MADISON RD                                                                                       CINCINNATI         OH     45209‐1335

JERRY HEFLIN COURTESY CHEVROLET, INC. RONALD HEFLIN                     3161 MADISON RD                                                     CINCINNATI        OH      45209‐1335

JERRY HEFLIN COURTESY CHEVROLET, INC. 3161 MADISON RD                                                                                       CINCINNATI        OH      45209‐1335

JERRY HEGEDUS                         4445 ASHLAND AVE                                                                                      NORWOOD           OH      45212‐3257
JERRY HEIM                            322 N COUNTY ROAD 25 W                                                                                NEW CASTLE        IN      47362‐9702
JERRY HEINY                           19991 STATE ROAD 37 N                                                                                 NOBLESVILLE       IN      46060‐8588
JERRY HELTON                          6844 MINNICK RD                                                                                       SPENCER           IN      47460‐5524
JERRY HEMBREE                         1202 CARTERS CREEK PIKE                                                                               COLUMBIA          TN      38401‐7325
JERRY HEMPERLY                        1825 MOUNT ZION RD                                                                                    MANSFIELD         OH      44903‐7550
JERRY HENDERSON                       31920 REGAL DR                                                                                        WARREN            MI      48088‐2989
JERRY HENDERSON                       22572 COUNTY RD 82                                                                                    WOODLAND          AL      36280
JERRY HENDERSON                       3309 19TH ST                                                                                          MERIDIAN          MS      39301‐2839
JERRY HENDERSON                       9388 BINGHAM ST                                                                                       ELBERTA           AL      36530‐5058
JERRY HENDERSON                       278 ROSIE ST                                                                                          BOWLING GREEN     KY      42103‐8428
JERRY HENSCHELL                       6176 WOLVERINE TRL                                                                                    ALGER             MI      48610‐9414
JERRY HENSLEY                         336 E THORNRIDGE LN                                                                                   MOUNT MORRIS      MI      48458‐9124
JERRY HENSLEY                         509 W MCGREGOR RD                                                                                     INDIANAPOLIS      IN      46217‐5335
JERRY HENSLEY                         23365 HUMPHREYS RD                                                                                    PLATTE CITY       MO      64079‐8285
JERRY HERRING                         767 E MANSFIELD AVE                                                                                   PONTIAC           MI      48340‐2951
JERRY HERRING                         8065 HARTEL RD                                                                                        GRAND LEDGE       MI      48837‐9473
JERRY HERRMANN                        619 COMMERCIAL ST                                                                                     COMMERCE TWP      MI      48382‐2923
JERRY HERWIG                          38715 HIDDEN CANYON DR                                                                                GRAFTON           OH      44044‐9622
JERRY HERWIG                          BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS.       OH      44236
JERRY HIATT                           375 CENTRAL ST                                                                                        MILFORD           MA      01757‐3401
JERRY HIATT                           PO BOX 3                                                                                              WINDFALL          IN      46076‐0003
JERRY HIATT                           221 FEDERAL DR                                                                                        ANDERSON          IN      46013‐4707
JERRY HICKMAN                         260 PARAGON RD                                                                                        ALGOOD            TN      38506
JERRY HICKMAN T (ESTATE OF)           EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FL, 265                                     NEW HAVEN         CT      06510
                                                                        CHURCH ST
JERRY HICKS                           GANT & HICKS PLLC                 1409 S LAMAR STE 711                                                DALLAS            TX      75215
JERRY HICKS                           PO BOX 2518                                                                                           LANCASTER         OH      43130‐5518
JERRY HICKS                           4129 ANGELA CIR                                                                                       DEL CITY          OK      73115‐4433
JERRY HIDECKER                        175 FAIRWAY CIRCLE                                                                                    WINTER HAVEN      FL      33881‐9711
JERRY HIGGINS                         3460 N PARK AVENUE EXT                                                                                WARREN            OH      44481‐8803
JERRY HIGGINS                         321 30TH ST                                                                                           MANHATTAN BEACH   CA      90266
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Name                Address1                       Address2            Address3         Address4               City             State   Zip
JERRY HIGHT         84 NE DEERWOOD CT                                                                          MARION            IN     46953
JERRY HILDEBRAND    3911 PRESERVE WAY                                                                          ESTERO            FL     33928‐3304
JERRY HILL          4250 HAINES RD                                                                             ATTICA            MI     48412‐9378
JERRY HILL          9776 S WAYNE ST                                                                            COLUMBUS          IN     47201‐8888
JERRY HILL          4049 BUCKINGHAM PL                                                                         DULUTH            GA     30096‐4294
JERRY HILL          74 RABBIT FARM ROAD            APT 66A                                                     DUNLAP            TN     37327
JERRY HILL          6974 SUMMERGREEN DR                                                                        HUBER HEIGHTS     OH     45424‐3978
JERRY HILL          6381 N 370 W                                                                               HUNTINGTON        IN     46750‐7735
JERRY HIRST         41637 SLEEPY HOLLOW DR                                                                     NOVI              MI     48377‐4502
JERRY HITCHCOCK     3637 TEXTILE RD                                                                            SALINE            MI     48176‐9791
JERRY HIXENBAUGH    1342 CENTER ST W                                                                           WARREN            OH     44481‐9456
JERRY HIXSON        150 OLD STATE RD                                                                           CLARKSVILLE       OH     45113‐9751
JERRY HLADEK        147 THORNBURY DR                                                                           KISSIMMEE         FL     34744‐8464
JERRY HOARD         4842 CLARK RD                                                                              BATH              MI     48808‐9759
JERRY HOBSON        3205 MCGREGOR ST                                                                           GRAND BLANC       MI     48439‐8190
JERRY HOBSON        4248 E LAKE RD                                                                             CLIO              MI     48420‐9145
JERRY HOBSON JR     12477 N CLIO RD                                                                            CLIO              MI     48420‐1039
JERRY HODGE         616 DURRETT ST                                                                             COVINGTON         KY     41014‐1528
JERRY HODGE         18861 JUSTINE ST                                                                           DETROIT           MI     48234‐2127
JERRY HODGE         145 W WASHINGTON                                                                           PARKER CITY       IN     47368
JERRY HODSON        3719 HAMILTON PL                                                                           ANDERSON          IN     46013‐5275
JERRY HOEGLER       16131 KANSAS AVE                                                                           BONNER SPRNGS     KS     66012‐7039
JERRY HOFMANN       38474 LONGS CROSSING RD                                                                    LEETONIA          OH     44431‐9788
JERRY HOGGARD       PO BOX 532                                                                                 LAINGSBURG        MI     48848‐0532
JERRY HOGUE         9613 MARINER CIR APT 12104                                                                 FORT WORTH        TX     76179‐6217
JERRY HOIUM         PO BOX 464                                                                                 ROANOKE           IN     46783‐0464
JERRY HOLDEN        4816 BELLINGHAM DR                                                                         INDIANAPOLIS      IN     46221‐3702
JERRY HOLLAND       PO BOX 585                                                                                 JUSTIN            TX     76247‐0585
JERRY HOLLAND       4809 PALMER AVE                                                                            KANSAS CITY       MO     64129‐2056
JERRY HOLLINS JR    28678 OAKWOOD ST                                                                           INKSTER           MI     48141‐3903
JERRY HOLMES        324 BIG OAK DR                                                                             MANCHESTER        TN     37355‐3384
JERRY HOLMES        3432 GLENWOOD AVE                                                                          YOUNGSTOWN        OH     44511
JERRY HOLSTON       13001 YANKEE ST                                                                            BELLVILLE         OH     44813‐9635
JERRY HOLTSCLAW     PO BOX 3                                                                                   OOLITIC           IN     47451‐0003
JERRY HONE          2410 SERRAVALLE ST NW                                                                      UNIONTOWN         OH     44685‐5788
JERRY HONEYCUTT     RR 4 BOX 4366C                                                                             JONESVILLE        VA     24263‐9285
JERRY HONEYSUCKLE   14741 HIGHWAY 60                                                                           CABOOL            MO     65689‐9771
JERRY HOOD          36651 JODI AVE                                                                             ZEPHYRHILLS       FL     33542‐1919
JERRY HOOD          7318 NAVY ST                                                                               DETROIT           MI     48209‐1841
JERRY HOOGERHYDE    3440 PERRY AVE SW                                                                          WYOMING           MI     49519‐3236
JERRY HOOKER        3125 ROYAL RD                                                                              JANESVILLE        WI     53546‐2219
JERRY HOOVER        4518 DIXIE BLVD                                                                            SHREVEPORT        LA     71129‐2610
JERRY HOPKINS       4007 TRIPLETT FORK ROAD                                                                    GASSAWAY          WV     26624‐6193
JERRY HOPKINS       235 COUNTY ROAD 65                                                                         MOULTON           AL     35650‐6078
JERRY HORN          5252 OAKWOOD DR                                                                            NORTH             NY     14120‐9618
                                                                                                               TONAWANDA
JERRY HORNSBY       5602 NEWBERRY POINT DR                                                                     FLOWERY BRANCH   GA      30542‐2752
JERRY HOSKINS       731 SURFWOOD LN                                                                            DAVISON          MI      48423‐1224
JERRY HOSNER        7550 LEDGEWOOD DR                                                                          FENTON           MI      48430‐9225
JERRY HOSTETLER     1340 SPRING VALLEY DR                                                                      FLORISSANT       MO      63033‐2145
JERRY HOUSDEN       1168 HUNTERS CHASE DR                                                                      FRANKLIN         TN      37064‐5715
JERRY HOUSTON       1117 HURON ST                                                                              FLINT            MI      48507‐2323
JERRY HOWARD        3370 LUDWIG RD                                                                             OXFORD           MI      48371‐1413
JERRY HOWARD        478 HIGHLAND AVENUE                                                                        PONTIAC          MI      48341‐2834
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Name                 Address1                         Address2                   Address3       Address4               City               State   Zip
JERRY HOWARD         811 E STATLER RD                                                                                  PIQUA               OH     45356‐9227
JERRY HOWARD         585 4TH AVE                                                                                       PONTIAC             MI     48340‐2021
JERRY HOWARD         503 WALNUT ST                                                                                     OAKWOOD             OH     45873‐9695
JERRY HOWARD         3319 EASTDALE DR                                                                                  FLINT               MI     48506‐2201
JERRY HOWARD         6381 HAVEN DR                                                                                     GRAND BLANC         MI     48439‐9718
JERRY HOWELL         8283 TROY RD                                                                                      NEW CARLISLE        OH     45344‐8127
JERRY HUBBARD        2510 LEROY DR                                                                                     FLINT               MI     48507‐3244
JERRY HUBBARD        3032 W SAMARIA RD                                                                                 TEMPERANCE          MI     48182‐9739
JERRY HUCKSTEP       7227 N LINDEN RD                                                                                  MOUNT MORRIS        MI     48458‐9343
JERRY HUFFMAN        7472 REID RD                                                                                      SWARTZ CREEK        MI     48473‐9436
JERRY HUGHES         5144 MUNDY CT                                                                                     DAYTON              OH     45431‐2746
JERRY HUGHES         PO BOX 873                                                                                        ROSS                OH     45061‐0873
JERRY HUGHES         1515 BETTIS TRIBBLE GAP RD                                                                        CUMMING             GA     30040‐2928
JERRY HUGHES         7095 WESTBROOK RD                                                                                 GAINESVILLE         GA     30506‐7011
JERRY HUGO           3114 ENGLUND DR                                                                                   BAY CITY            MI     48706‐1262
JERRY HUIZING        3230 MCCULLOCH BLVD N                                                                             LAKE HAVASU CITY    AZ     86403‐5441
JERRY HULBURT        272 E MADISON AVE                                                                                 MILTON              WI     53563‐1360
JERRY HULETT         177 KELLER AVENUE ‐ LOWER APT.                                                                    KENMORE             NY     14217
JERRY HULL           104 PORTER RD                                                                                     LIBERTY             SC     29657‐9215
JERRY HULSEY         4208 JIM HOOD RD                                                                                  GAINESVILLE         GA     30506‐2824
JERRY HUMMER         1237 E 075 S                                                                                      HARTFORD CITY       IN     47348‐9704
JERRY HUMPHRIES      34299 RATTLESNAKE HILL RD                                                                         TECUMSEH            OK     74873‐6271
JERRY HUNT           9723 LAKESIDE DR                                                                                  PERRINTON           MI     48871‐9641
JERRY HUNTER         621 N 11TH ST                                                                                     SAGINAW             MI     48601‐1652
JERRY HUNTER         2777 E 126TH ST                                                                                   CLEVELAND           OH     44120‐2136
JERRY HUNTER         4 WEST AVE                                                                                        ROCHESTER           NY     14611‐2609
JERRY HUNTLEY        143 S ROSS RD                                                                                     BARTON CITY         MI     48705‐9770
JERRY HURLBUT        229 WOOD DUCK LOOP                                                                                MOORESVILLE         NC     28117‐8136
JERRY HURON          603 N JEFFERSON ST                                                                                CONVERSE            IN     46919
JERRY HURTIK         1451 BRABHAM ST APT 901                                                                           EL CAJON            CA     92019‐4476
JERRY HUSAK          4543 S SALVIA DR                                                                                  GOLD CANYON         AZ     85218‐1926
JERRY HUTCHERSON     750 S WALKER ST TRLR 63                                                                           BLOOMINGTON         IN     47403‐2105
JERRY HUTCHINSON     255 BAYVIEW DR                                                                                    MADISON             MS     39110‐9178
JERRY HUTSON         PO BOX 255                                                                                        FRANKTON            IN     46044‐0255
JERRY HYATT          117 OAK ST                                                                                        BOWDON              GA     30108‐1411
JERRY ICE            381 W 1800 N                                                                                      SUMMITVILLE         IN     46070‐9044
JERRY IDEKER         419 HONEYSUCKLE LN                                                                                MONETT              MO     65708‐1061
JERRY ILAR           57 MADISON ST                                                                                     COOPERSVILLE        MI     49404‐1226
JERRY IMBODEN        4001 LAKEWOOD DR                                                                                  WATERFORD           MI     48329‐3844
JERRY IMPOLA         4306 SEYMOUR RD                                                                                   SWARTZ CREEK        MI     48473‐8560
JERRY INMAN          2220 E M30                                                                                        ALGER               MI     48610
JERRY IRVIN          3947 MUSCADINE TRL                                                                                GAINESVILLE         GA     30506‐4762
JERRY IRWIN          9492 GRAND BLANC RD                                                                               GAINES              MI     48436‐9793
JERRY ISOM           6055 LANCASTER DR                                                                                 FLINT               MI     48532‐3214
JERRY J BURNETTE     2115 HIGHWAY 2000                                                                                 MANCHESTER          KY     40962
JERRY J FIELDS       1081 FERNBROOK DR                                                                                 FLORISSANT          MO     63031‐3302
JERRY J GERBER       390 SOUTH AVE                                                                                     ROCHESTER           NY     14620
JERRY J KADERA       201 PARKWEST DR APT A12                                                                           LANSING             MI     48917‐3202
JERRY J LINK         1624 FAWN LAKE DRIVE                                                                              WEST BRANCH         MI     48661‐9745
JERRY J PALMER       3562 CHESTNUT PARK LANE                                                                           CLEBES              OH     45002
JERRY J RANDISE      108 BLEACKER RD                                                                                   ROCHESTER           NY     14609‐2615
JERRY J SCOTT        3117 AUSTINTOWN WARREN RD                                                                         MINERAL RIDGE       OH     44440
JERRY J STEINBRINK   NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT   205 LINDA DR                          DAINGERFIELD        TX     75638
JERRY J STRAIGHT     203 VINYARD DR.                                                                                   ROCHESTER           NY     14616‐2009
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Name                               Address1                       Address2            Address3         Address4               City              State   Zip
JERRY J VARVEL                     231 N MAIN ST                                                                              NEW MADISON        OH     45346‐9793
JERRY J WARD                       10344 DAR LN                                                                               GOODRICH           MI     48438‐9405
JERRY JACKSON                      PO BOX 32792                                                                               DETROIT            MI     48232‐0792
JERRY JACKSON                      4904 S FAIRMONT AVE                                                                        OKLAHOMA CITY      OK     73129‐8646
JERRY JACKSON                      112 WESTLINE RD                                                                            AZLE               TX     76020‐2354
JERRY JACKSON                      7188 WILLIAMS RD                                                                           FLOWERY BRANCH     GA     30542‐5549
JERRY JACKSON                      7512 CAVELL ST                                                                             WESTLAND           MI     48185‐2610
JERRY JACKSON                      405 W DILL DR                                                                              DEWITT             MI     48820‐7721
JERRY JACKSON                      110 MURRAY CIR                                                                             WEST MONROE        LA     71292‐8271
JERRY JACKSON                      10782 NW HIGHWAY VV                                                                        STEWARTSVILLE      MO     64490‐8111
JERRY JACKSON                      129 BUSH STREET                                                                            IRONDALE           AL     35210‐3211
JERRY JACKSON                      509 MARY ST                                                                                FLINT              MI     48503‐1509
JERRY JACKSON                      5325 GREENCROFT DR                                                                         TROTWOOD           OH     45426‐1923
JERRY JACKSON                      375 SPRINGLAKE DR                                                                          LAWRENCEVILLE      GA     30045‐5998
JERRY JAMES                        18475 MARLOWE ST                                                                           DETROIT            MI     48235‐2765
JERRY JAMES                        475 H B GRAHAM RD                                                                          BOWLING GREEN      KY     42103‐9081
JERRY JAMES                        2431 BARRON RD                                                                             POPLAR BLUFF       MO     63901‐1911
JERRY JAMESON
JERRY JAMISON                      6077 FALKENBURY RD                                                                         NORTH BRANCH      MI      48461‐9722
JERRY JAMISON SR                   6269 PRESIDENTIAL GTWY                                                                     COLUMBUS          OH      43231‐1696
JERRY JANES                        1761 HIGHGROVE DR                                                                          O FALLON          MO      63366‐4365
JERRY JANNETTE                     5447 SCOTCH SETTLEMENT RD                                                                  ALMONT            MI      48003‐8728
JERRY JARED                        1076 WOODGLEN AVE                                                                          YPSILANTI         MI      48198‐6216
JERRY JAY                          440 CHEATHAM RD                                                                            ACWORTH           GA      30101‐7989
JERRY JEFFERSON                    7275 SW MANOR WAY UNIT D                                                                   ALOHA             OR      97007‐4194
JERRY JENEREAUX                    610 ALBERTA ST                                                                             AUBURN HILLS      MI      48326‐1114
JERRY JENKINS                      1643 S SASHABAW RD                                                                         ORTONVILLE        MI      48462‐9163
JERRY JENKINS                      378 DEER CREEK TRL                                                                         HOSCHTON          GA      30548‐2119
JERRY JENKINS                      8289 CARTERSVILLE HWY                                                                      DALLAS            GA      30132‐1399
JERRY JENKINS                      3117 COLONIAL WAY APT M                                                                    CHAMBLEE          GA      30341‐5336
JERRY JEPSEN                       1474 LARSON RD                                                                             BOYNE CITY        MI      49712‐9163
JERRY JOHNS                        6717 SOUTH HARVEY PLACE                                                                    OKLAHOMA CITY     OK      73139‐7329
JERRY JOHNS                        2123 HERBERT DRIVE                                                                         SUN CITY CENTER   FL      33573
JERRY JOHNS                        141 HUNTSMAN CIR                                                                           BOWLING GREEN     KY      42103‐7064
JERRY JOHNSON                      8446 CARRIAGE LN                                                                           PORTLAND          MI      48875‐9805
JERRY JOHNSON                      7325 OLD TIMBER TRL                                                                        NEW LOTHROP       MI      48460‐9806
JERRY JOHNSON                      PO BOX 10404                                                                               BOWLING GREEN     KY      42102‐7404
JERRY JOHNSON                      12615 WADE ST                                                                              DETROIT           MI      48213‐1866
JERRY JOHNSON                      234 STATE HIGHWAY 309                                                                      KERENS            TX      75144‐9606
JERRY JOHNSON                      4705 WILDWOOD RD                                                                           ALGER             MI      48610‐9642
JERRY JOHNSON                      3625 PROVIDENCE ST                                                                         FLINT             MI      48503‐4595
JERRY JOHNSON                      412 DOUGLAS RD                                                                             CABOT             AR      72023‐9190
JERRY JOHNSON                      10200 SUMMERFIELD RD                                                                       TEMPERANCE        MI      48182‐9723
JERRY JOHNSON                      1231 MCCART CIR                                                                            JACKSON           GA      30233‐2823
JERRY JOHNSON                      4328 DOGWOOD TRCE                                                                          DECATUR           GA      30034‐6236
JERRY JOHNSON                      2209 N CARROLTON DR                                                                        MUNCIE            IN      47304‐9603
JERRY JOHNSON                      PO BOX 216                                                                                 MARKLEVILLE       IN      46056‐0216
JERRY JOHNSON                      3116 GRANT LN                                                                              MIDLAND           MI      48642‐5053
JERRY JOHNSON                      860 CAPITAL AVE NE                                                                         BATTLE CREEK      MI      49017‐5608
JERRY JOHNSON                      4601 SUMMER DR                                                                             ANDERSON          IN      46012‐9546
JERRY JOHNSON                      1020 SW 13TH ST                                                                            MOORE             OK      73160‐2616
JERRY JOHNSON                      90 CHEROKEE RD                                                                             PONTIAC           MI      48341‐1503
JERRY JOHNSON                      43441 GOLDBERG DR                                                                          STERLING HTS      MI      48313‐1866
JERRY JOHNSON CHEV‐OLDS‐PONT INC   JERRY JOHNSON                  500 LINKHAW RD                                              LUMBERTON         NC      28358‐2599
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JERRY JOHNSON CHEVROLET‐OLDSMOBILE‐ 500 LINKHAW RD                                                                              LUMBERTON           NC 28358‐2599

JERRY JOHNSON CHEVROLET‐OLDSMOBILE‐ JERRY JOHNSON                   500 LINKHAW RD                                              LUMBERTON          NC   28358‐2599
PONTIAC, INC.
JERRY JOHNSON CHEVROLET‐OLDSMOBILE‐ 500 LINKHAW RD                                                                              LUMBERTON          NC   28358‐2599
PONTIAC, INC.
JERRY JOHNSON JR                    28840 YORK ST                                                                               INKSTER            MI   48141‐2821
JERRY JOHNSTON                      5685 LOW GAP RD                                                                             MARTINSVILLE       IN   46151‐7740
JERRY JOINER                        34493 HIGHWAY 83                                                                            WARSAW             MO   65355‐5127
JERRY JONES                         1880 S 150 W                                                                                GREENFIELD         IN   46140‐8345
JERRY JONES                         79 DIVEN ST                                                                                 SPRINGFIELD        NJ   07081‐2801
JERRY JONES                         6701 CAMDEN RD                                                                              CAMDEN             OH   45311‐9599
JERRY JONES                         1021 GREENRIDGE DR                                                                          DAYTON             OH   45429‐4645
JERRY JONES                         5355 CULVER ST                                                                              INDIANAPOLIS       IN   46226‐4756
JERRY JONES                         15031 STATE ROUTE#35                                                                        WEST ALEXANDRIA    OH   45381

JERRY JONES                         226 W PIPER AVE                                                                             FLINT              MI   48505‐2608
JERRY JONES                         2507 HILLCREST DR                                                                           IONIA              MI   48846‐9732
JERRY JONES                         2414 MOUNTAIN AVE                                                                           FLINT              MI   48503‐2216
JERRY JONES                         1760 CAROL LN                                                                               DANSVILLE          MI   48819‐9649
JERRY JONES                         PO BOX 4091                                                                                 CHESTERFIELD       MO   63006‐4091
JERRY JONES                         4535 RED ARROW RD                                                                           FLINT              MI   48507‐5409
JERRY JONES                         17951 JEFFERY ST                                                                            ATHENS             AL   35611‐5657
JERRY JONES                         4272 TEXAS HIGHWAY 77 W                                                                     ATLANTA            TX   75551‐6176
JERRY JONES                         4717 BROOKWOOD DR                                                                           NOBLE              OK   73058‐8451
JERRY JONES                         543 MOUNT NEBO RD                                                                           FALKVILLE          AL   35622‐5319
JERRY JONES                         1088 TREESHADE DR                                                                           SAINT PETERS       MO   63376‐3838
JERRY JONES                         PO BOX 924                                                                                  JANESVILLE         WI   53547‐0924
JERRY JONES                         42105 DORCHESTER CT                                                                         CLINTON TOWNSHIP   MI   48038‐4976

JERRY JONES                         PO BOX 1226                                                                                 ADA                OK   74821‐1226
JERRY JONES I I I                   1600 SW WHITE OAK LN                                                                        BLUE SPRINGS       MO   64015‐5338
JERRY JORDAN                        8034 PEPPERWOOD DR                                                                          GRAND BLANC        MI   48439‐2413
JERRY JORDON                        6117 N 1125 E                                                                               SHIRLEY            IN   47384
JERRY JOSLIN                        5259 STELLA RD                                                                              CUSTER             MI   49405‐8728
JERRY JR, JOHN J                    7296 N LUMBERJACK RD                                                                        RIVERDALE          MI   48877‐9727
JERRY JUSTICE                       RR 2                                                                                        SELMA              IN   47383
JERRY K ANDERSON JR.                148 BELLEVERNON AVE                                                                         GREENVILLE         OH   45331
JERRY K CARTER                      61 PERRY ST                                                                                 NEW LEBANON        OH   45345‐1127
JERRY K COMBS                       106 WESTFIELD DR                                                                            COLUMBIA           TN   38401‐6513
JERRY K LEWIS                       2035 TURNBULL RD                                                                            BEAVERCREEK        OH   45431
JERRY K ROGERS                      136 COOLEY AVE                                                                              PONCA CITY         OK   74601‐3401
JERRY KACKMEISTER                   5695 BARBERRY LN                                                                            SAGINAW            MI   48603‐2666
JERRY KADERA                        201 PARKWEST DR APT A12                                                                     LANSING            MI   48917‐3202
JERRY KADLECHIK                     9330 HILDA LN                                                                               FLUSHING           MI   48433‐9743
JERRY KALA                          1523 JOHN PAUL CT                                                                           OXFORD             MI   48371‐4469
JERRY KAMERLING                     981 HAMPTONS CT APT 1                                                                       NORTON SHORES      MI   49441‐6157
JERRY KAMINER                       1222 S VASSAR RD                                                                            BURTON             MI   48509‐2301
JERRY KAPNICK                       3539 OSBURN DR                                                                              TECUMSEH           MI   49286‐9544
JERRY KARNS                         9035 COON LAKE RD                                                                           GREGORY            MI   48137‐9529
JERRY KARST SR                      2N JOYCE ELLEN WAY                                                                          ST PETERS          MO   63376
JERRY KAUFFMAN                      210 N FLETCHER ST                                                                           FRANKTON           IN   46044
JERRY KAY                           1613 STIRLING AVE                                                                           LANSING            MI   48910‐1313
JERRY KAYLOR                        1940 LEAH DR TRLR 18                                                                        HUDSON             NC   28638‐8915
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Name                            Address1                           Address2                       Address3             Address4                 City              State   Zip
JERRY KAYLOR                    12452 WONDERLY RD                                                                                               HICKSVILLE         OH     43526‐9361
JERRY KEA                       1012 FREMONT ST                                                                                                 FLINT              MI     48504‐4536
JERRY KEATON                    742 TRAILS END DR                                                                                               AMHERST            OH     44001‐1950
JERRY KEEBLER                   1591 BIRCHWOOD CIR                                                                                              FRANKLIN           TN     37064‐6867
JERRY KEENE                     19326 PLEASANT VIEW DR                                                                                          ABINGDON           VA     24211‐6822
JERRY KEENUM                    4814 TOPAZ LN                                                                                                   GRANBURY           TX     76049‐7791
JERRY KEESLING                  1303 PARADISE POND RD                                                                                           SAINT AUGUSTINE    FL     32092‐3712
JERRY KEETH                     4778 LUBBOCK AVE                                                                                                FORT WORTH         TX     76115‐3027
JERRY KELDER                    4861 GREENRIDGE CT                                                                                              HUDSONVILLE        MI     49426‐1662
JERRY KELLEY                    943 SW 4TH PL                                                                                                   MOORE              OK     73160‐2217
JERRY KELLEY PONTIAC‐GMC, INC   JERRY KELLEY                       1100 S HUTCHINSON AVE                                                        ADEL               GA     31620‐5215
JERRY KELLEY PONTIAC‐GMC, INC   1100 S HUTCHINSON AVE                                                                                           ADEL               GA     31620‐5215
JERRY KELLY                     820 PECKS CREEK RD                                                                                              STANTON            KY     40380‐8030
JERRY KELLY                     4540 FAIRVIEW ST                                                                                                DETROIT            MI     48214‐1685
JERRY KEM                       4733 E 100 S                                                                                                    ANDERSON           IN     46017‐9580
JERRY KEMPISTY                  35433 EDMUNDS GRV                                                                                               NEW BALTIMORE      MI     48047‐1198
JERRY KENDALL                   7205 ALGER DR                                                                                                   DAVISON            MI     48423‐2377
JERRY KENISON                   123 FAIRLAWN AVE                                                                                                MANSFIELD          OH     44903‐7023
JERRY KENISON                   518 W THRUSH AVE                                                                                                CRESTLINE          OH     44827‐1057
JERRY KENNEBREW                 24401 RUSSELL AVE                                                                                               EUCLID             OH     44123‐2312
JERRY KENNEDY                   4343 SCHUMACHER                    80 EAST                                                                      SEBRING            FL     33872
JERRY KENNELL                   1500 THOMAS AVE APT 3                                                                                           GRANDVIEW          MO     64030‐2583
JERRY KEPPERLING                2058 TRIUMPH DR                                                                                                 FAIRBORN           OH     45324‐2535
JERRY KERBY                     3384 COUNTY ROAD 144                                                                                            TOWN CREEK         AL     35672‐5863
JERRY KERLEY                    19313 COLONIES LANE                                                                                             FLINT              MI     48507
JERRY KERNS                     1374 BUS RD                                                                                                     FREELAND           MI     48623‐9603
JERRY KERR                      2392 MEADOWCROFT DR                                                                                             BURTON             MI     48519‐1238
JERRY KESSLER                   5217 W 30TH PL                                                                                                  CICERO              IL    60804‐3546
JERRY KETCHUM                   7855 MOUSE CREEK RD NW                                                                                          CLEVELAND          TN     37312‐6307
JERRY KIDD                      4310 MAHONING AVE                                                                                               AUSTINTOWN         OH     44515‐2720
JERRY KIDLE                     296 W MAIN ST                                                                                                   MAYVILLE           MI     48744‐9643
JERRY KILBOURNE                 2105 S HARVEY ST                                                                                                WESTLAND           MI     48186‐4256
JERRY KILGORE                   PO BOX 35                                                                                                       UPLAND             IN     46989‐0035
JERRY KIMBLE                    R2 739 ECKSTEIN RD                                                                                              CRESTLINE          OH     44827
JERRY KIMMELL                   445 STATE ROAD 13 STE 26 PMB 195                                                                                SAINT JOHNS        FL     32259‐3864
JERRY KINCANNON                 2617 WESTGATE DR                                                                                                ARLINGTON          TX     76015‐1143
JERRY KINDER                    28137 KINGSWOOD CT                                                                                              WARREN             MI     48092‐5535
JERRY KING                      8408 N GLACIER DR                                                                                               MUNCIE             IN     47303‐9388
JERRY KING                      348 ALBERTA ST                                                                                                  AUBURN HILLS       MI     48326‐1106
JERRY KING                      233 LENNOX AVE                                                                                                  COLUMBUS           OH     43228‐1134
JERRY KING                      PO BOX 338                         33530 WEST BIRCH SHORE DRIVE                                                 TROUT LAKE         MI     49793‐0338
JERRY KING                      2950 ONAGON TRL                                                                                                 WATERFORD          MI     48328‐3142
JERRY KING                      1037 CARMEL RD                                                                                                  MONTICELLO         MS     39654
JERRY KING                      9398 W SCHOOL SEC LK DR                                                                                         MECOSTA            MI     49332
JERRY KING                      15 HEARTHSTONE DR                                                                                               STOCKBRIDGE        GA     30281‐2801
JERRY KIRBY                     809 FORRESTAL DR                                                                                                ARLINGTON          TX     76010‐4405
JERRY KIRBY                     314 OAK RIDGE CHURCH RD                                                                                         CORBIN             KY     40701‐5293
JERRY KIRCHNER                  1804 CULVER AVE                                                                                                 KETTERING          OH     45420‐2102
JERRY KIRKES                    248 CS 2770                                                                                                     MINCO              OK     73059
JERRY KIRKEY                    7336 SCOTLAND CIR                                                                                               ALMA               MI     48801‐8749
JERRY KIRKSEY                   ROBERT W PHILLIPS                  SIMMONS BROWDER GIANARIS       707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON          IL    62024
                                                                   ANGELIDES & BARNERD LLC
JERRY KISER                     664 GLEN RUN DR                                                                                                 ATGLEN             PA     19310‐9450
JERRY KITCHEN                   4915 FOX CRK APT 255                                                                                            CLARKSTON          MI     48346‐4971
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Name                  Address1                        Address2                    Address3   Address4               City           State   Zip
JERRY KITTS           530 STEGALL DR                                                                                KOKOMO          IN     46901‐7070
JERRY KLEINERT        3336 QUAM DR                                                                                  STOUGHTON       WI     53589‐3144
JERRY KLEIS           4125 RADSTOCK DR                                                                              DORR            MI     49323‐9408
JERRY KLEMME          2903 ELVA DR                                                                                  KOKOMO          IN     46902‐6807
JERRY KLEPAC          1328 S BETHEL RD                                                                              DECATUR         AL     35603‐5404
JERRY KLINE           1585 FAYETTEVILLE WILLIAMS RD                                                                 WILLIAMS        IN     47470‐9669
JERRY KLINERT         2296 EUGENE ST                                                                                BURTON          MI     48519‐1352
JERRY KNAPP           2325 PLAINFIELD AVE NE                                                                        GRAND RAPIDS    MI     49505‐4250
JERRY KNICKERBOCKER   8470 N HENDERSON RD                                                                           DAVISON         MI     48423‐9318
JERRY KNIGHT          6292 MULLIKEN RD                                                                              CHARLOTTE       MI     48813‐8812
JERRY KNIGHTEN        14860 GRANDVILLE AVE                                                                          DETROIT         MI     48223‐2233
JERRY KNOTTS          8117 SEYMOUR RD                                                                               GAINES          MI     48436‐9798
JERRY KOENEMAN        216 TANGLEWOOD DR                                                                             NEW HAVEN       IN     46774‐1526
JERRY KOHLER          326 PEARL ST                                                                                  CHARLOTTE       MI     48813‐1820
JERRY KOHON           9515 W MOSS RD                                                                                FOWLER          MI     48835‐9798
JERRY KOKX JR         13275 WATSON RD                                                                               BATH            MI     48808‐9406
JERRY KOMAR
JERRY KONESKO         106 OAK ST                      PO BOX 566                                                    PRUDENVILLE    MI      48651‐2521
JERRY KOPKE           5848 SECOR RD APT 11                                                                          TOLEDO         OH      43623‐1462
JERRY KORPAL          PO BOX 751                                                                                    AU GRES        MI      48703‐0751
JERRY KORTGE          5210 MARVIN RD                                                                                CLARKSTON      MI      48346‐3428
JERRY KOSANOVICH      P.O. 1010                                                                                     ETON           GA      30724
JERRY KOWALSKI        9095 PINEGROVE LN                                                                             ATLANTA        MI      49709‐9118
JERRY KOZAK           1249 ROYAL OAK DR                                                                             DUNEDIN        FL      34698‐3114
JERRY KRAMER          204 S 2ND ST                                                                                  FIELDON        IL      62031‐1128
JERRY KRAMER          820 GREEN ST                                                                                  PORTLAND       MI      48875‐1309
JERRY KROSKIE         3961 KEHOE DR NE                                                                              ADA            MI      49301‐9641
JERRY KRULL           25 LESLIE CT                                                                                  BRISTOL        CT      06010‐6114
JERRY KRUTIL          111 HOLLYHOCK DR                                                                              TROY           MO      63379‐3367
JERRY KUCHER          4605 MILTON DR                                                                                FLINT          MI      48507‐2637
JERRY KUKOLA          4047 E MAPLE AVE                                                                              GRAND BLANC    MI      48439‐7960
JERRY KUKULIS         15060 CORUNNA RD                                                                              CHESANING      MI      48616‐9491
JERRY KUTZ            PO BOX 3336                                                                                   JANESVILLE     WI      53547‐3336
JERRY KWIATKOWSKI     2040 MELTON ST                                                                                SHELBY TWP     MI      48317‐4512
JERRY L ADAMS         3627 LAWRENCE HWY                                                                             CHARLOTTE      MI      48813‐8841
JERRY L ALEXANDER     PO BOX 228                                                                                    ALLONS         TN      38541‐0228
JERRY L ANDERSON      3941 MONTEVIDEO DRIVE                                                                         DAYTON         OH      45414‐5020
JERRY L ANDERSON      9940 JULIE DR                                                                                 YPSILANTI      MI      48197‐8291
JERRY L BAILEY        3296 W WILSON RD                                                                              CLIO           MI      48420‐1981
JERRY L BAKER         4551 BUNNELL CROSSING RD                                                                      HORSE CAVE     KY      42749‐7047
JERRY L BALTIMORE     555 KITRINA AVE APT 2                                                                         TIPP CITY      OH      45371‐2633
JERRY L BALTIMORE     1131 BURKET DR                                                                                NEW CARLISLE   OH      45344‐2602
JERRY L BANDY         3842 STILLWELL AVE 1                                                                          LANSING        MI      48911
JERRY L BARNETT       PO BOX 22                                                                                     LACHINE        MI      49753‐0022
JERRY L BIERSCHBACH   7511 W HERBISON RD                                                                            BATH           MI      48808‐9434
JERRY L BIFFLE        C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                     HOUSTON        TX      77007
                      BOUNDAS LLP
JERRY L BLACK         10856 AMITY ROAD                                                                              BROOKVILLE     OH      45309‐9322
JERRY L BOBO          7570 EAST SPEEDWAY BLVD.        LOT 436                                                       TUCSON         AZ      85710‐8820
JERRY L BOTHWELL      3301 SPRING VALLEY DR                                                                         FLINT          MI      48504‐1715
JERRY L BRANSCOMB     PO BOX 127                                                                                    GREENFIELD     OH      45123
JERRY L BROWN         9355 125TH ST                                                                                 SUMMERFIELD    FL      34491‐9746
JERRY L BROWN         240 SHOOP AVE                                                                                 DAYTON         OH      45417
JERRY L BROWN         5256 JENNIE DR                                                                                WHITE LAKE     MI      48383
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Name                          Address1                       Address2                       Address3       Address4               City             State   Zip
JERRY L BYERS                 4913 ELTER DR                                                                                       MORAINE           OH     45439‐1133
JERRY L CARPENTER             12076 ROAD 12H                                                                                      OTTAWA            OH     45875‐8648
JERRY L CHIODINI              PO BOX 28802                                                                                        SAINT LOUIS       MO     63123‐0002
JERRY L CHRISTMAS             1432 E MILLER RD                                                                                    LANSING           MI     48911‐5321
JERRY L CLAWSON               4095 NAVAJO AVE                                                                                     HUBER HEIGHTS     OH     45424
JERRY L COOPER                514 CRESTWOOD ST                                                                                    TILTON             IL    61833‐8011
JERRY L COX                   887 MARINER POINT RD                                                                                LAFOLLETTE        TN     37766‐5881
JERRY L CUMMINS               2104 PERSHING BLVD                                                                                  DAYTON            OH     45420
JERRY L CUTLIP                1038 HAZEL AVE.                                                                                     ENGLEWOOD         OH     45322‐2427
JERRY L DAVEY                 209 PARKEDGE AVE                                                                                    TONAWANDA         NY     14150‐7818
JERRY L DAVIS                 2750 JOMAR AVE                                                                                      MORAINE           OH     45439‐2982
JERRY L DAVIS                 3677 TROY‐SIDNEY RD                                                                                 TROY              OH     45373‐9799
JERRY L DEANGULO              WOODY'S RV RESORT              234 VIRGINIA AVE                                                     DAYTON            OH     45410‐2318
JERRY L DEANGULO              234 VIRGINIA AVE                                                                                    DAYTON            OH     45410‐2318
JERRY L DELPH                 6666 CATSKILL DR.                                                                                   FRANKLIN          OH     45005
JERRY L DIETER                9730 COLTON RD.                                                                                     WINDHAM           OH     44288
JERRY L DITTO SR              WEITZ & LUXENBERG PC           700 BROADWAY                                                         NEW YORK CITY     NY     10003
JERRY L FIELDS                MOTLEY RICE LLC                28 BRIDGESIDE BLVD             P O BOX 1792                          MT PLEASANT       SC     29465
JERRY L FLEENOR               PO BOX 256                                                                                          GATLINBURG        TN     37738‐0256
JERRY L GILL                  335 CHRISTINA WAY                                                                                   FRANKLIN          OH     45005
JERRY L GOVIER                7608 SYLVAN VALLEY WAY                                                                              CITRUS HEIGHTS    CA     95610
JERRY L GRAVES                PO BOX 156                                                                                          TOMPKINSVILLE     KY     42167
JERRY L GREER                 5232 FREDONIA AVE                                                                                   DAYTON            OH     45431
JERRY L GROVE                 9007 ACADEMY VIEW CT                                                                                DAYTON            OH     45458‐9657
JERRY L HAMILTON              2335 PINEY BRANCH CR                                                                                SPRINGFIELD       OH     45503‐2312
JERRY L HAMMOND               21007 E STATE ROUTE P                                                                               PLEASANT HILL     MO     64080‐8460
JERRY L HARPER                12 SAGER PL                                                                                         IRVINGTON         NJ     07111‐2810
JERRY L HARRIS                637 GRAMONT AVENUE                                                                                  DAYTON            OH     45402
JERRY L HASSELL               1650 PINE HOLLOW BLVD.                                                                              HERMITAGE         PA     16148‐1938
JERRY L HEAGLE                PO BOX 426                                                                                          VERNON            MI     48476‐0426
JERRY L HERRING               767 E MANSFIELD AVE                                                                                 PONTIAC           MI     48340‐2951
JERRY L HERWIG                38715 HIDDEN CANYON DR                                                                              GRAFTON           OH     44044‐9622
JERRY L HILL                  6974 SUMMERGREEN DR                                                                                 HUBER HEIGHTS     OH     45424‐3978
JERRY L HIXSON                150 OLD STATE RD                                                                                    CLARKSVILLE       OH     45113‐9751
JERRY L HOLSTON               13001 YANKEE ST                                                                                     BELLVILLE         OH     44813‐9635
JERRY L HORNSBY               5602 NEWBERRY POINT DR                                                                              FLOWERY BRANCH    GA     30542‐2752
JERRY L HUGLEY                945 HEMLOCK AVE SW                                                                                  WARREN            OH     44485
JERRY L HUNTER                1343 E JULIAH AVE                                                                                   FLINT             MI     48505‐1733
JERRY L JACKSON               5325 GREENCROFT DR                                                                                  TROTWOOD          OH     45426‐1923
JERRY L JAYNES                2745 BETTY LANE                                                                                     DAYTON            OH     45449‐3401
JERRY L JENSEN REV LV TRUST   JERRY L JENSEN TR              2460 220TH ST                                                        INDEPENDENCE       IA    50644
JERRY L JOHNS                 6717 S HARVEY PL                                                                                    OKLAHOMA CITY     OK     73139‐7329
JERRY L JONES SR              C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                            HOUSTON           TX     77007
                              BOUNDAS LLP
JERRY L KARST SR              2N JOYCE ELLEN WAY                                                                                  ST PETERS        MO      63376
JERRY L KING                  PO BOX 338                     33530 WEST BIRCH SHORE DRIVE                                         TROUT LAKE       MI      49793‐0338
JERRY L KIRCHNER              1804 CULVER AVE.                                                                                    KETTERING        OH      45420‐2102
JERRY L KIRCHNER              1804 CULVER                                                                                         KETTERING        OH      45420‐2102
JERRY L LAMB                  250 MAPLE AVE                                                                                       CARLISLE         OH      45005‐1330
JERRY L LANGLEY               4261 GRANGE HALL RD LOT 204                                                                         HOLLY            MI      48442‐1198
JERRY L LEWIS                 460 FOSTER RD                                                                                       FLORENCE         MS      39073‐9162
JERRY L LEWIS                 7634 GAYL DR                                                                                        FRANKLIN         OH      45005‐3811
JERRY L LINDSEY               490 N JAY ST APT A                                                                                  WEST MILTON      OH      45383
JERRY L LOFTIN                2153 BOLIN RD                                                                                       HERNANDO         MS      38632
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Name                    Address1                       Address2                    Address3   Address4               City            State   Zip
JERRY L MABERRY         1073 DIRTLOOK DR                                                                             BOLTON           MS     39041
JERRY L MACK            1850 BRALY LN                                                                                PULASKI          TN     38478‐9285
JERRY L MACK JR         2656 CREEKWOOD CIRCLE APT #8                                                                 MORAINE          OH     45439‐3288
JERRY L MARLOW          6657 CELESTINE ST                                                                            HUBER HEIGHTS    OH     45424‐3505
JERRY L MARTIN          1120 CAROLYN DR                                                                              MIDWEST CITY     OK     73110‐2424
JERRY L MCCARTY         826 CLOVER HILL LN                                                                           CEDAR HILL       TX     75104‐7923
JERRY L MCCOURY         693 S GREY RD                                                                                AUBURN HILLS     MI     48326‐3815
JERRY L MEANS           3485 STATE RT 49                                                                             ARCANUM          OH     45304
JERRY L MILLER, SR      3401 WINONA ST                                                                               FLINT            MI     48504‐2156
JERRY L MORRIS          704 W JEFFERSON ST                                                                           ALEXANDRIA       IN     46001‐1733
JERRY L NEIGER          3454 HILTON ST NW APT 3                                                                      MASSILLON        OH     44646
JERRY L NORTHOUSE       6155 88TH AVE                                                                                ZEELAND          MI     49464‐9535
JERRY L OVERHOLSER      832 CAMP ST                                                                                  PIQUA            OH     45356
JERRY L OWEN            9010 CIRCLE LAKE DR                                                                          GRAND BLANC      MI     48439‐9310
JERRY L PACKMAN         PO BOX 381                                                                                   BARGERSVILLE     IN     46106‐0381
JERRY L PHILLIPS        2796 ORCHARD AVE SE                                                                          WARREN           OH     44484
JERRY L POPER           8415 CICERO RD                                                                               HICKSVILLE       OH     43526‐9784
JERRY L RASMUSSEN       3141 DANBURY DR W                                                                            JANESVILLE       WI     53546‐8825
JERRY L REYNOLDS        W9576 BLACK RIVER RD                                                                         NAUBINWAY        MI     49762‐9705
JERRY L RICHARDS        917 STANWOOD DRIVE                                                                           LEBANON          OH     45036‐1367
JERRY L RICHEY          3332 TRAIL ON RD                                                                             MORAINE          OH     45439‐1146
JERRY L RITCHIE         4478 VAN SLYKE                                                                               FLINT            MI     48507
JERRY L ROGERS          3315 WARREN SHARON RD                                                                        VIENNA           OH     44473‐9508
JERRY L ROWETON         11244 TECUMSEH PATH                                                                          LAKEVIEW         OH     43331‐9247
JERRY L RUSSELL         693 FLORAL AVE                                                                               TROY             OH     45373‐4215
JERRY L SAGE            12 CARMICHAEL PL                                                                             KETTERING        OH     45420‐2908
JERRY L SAGE, JR.       12 CARMICHAEL PL                                                                             KETTERING        OH     45420
JERRY L SCHWABENLAND    4399 TAVISTOCK CIR                                                                           POWELL           OH     43065
JERRY L SCOTT           PO BOX 60823                                                                                 ROCHESTER        NY     14606
JERRY L SHERMAN         PO BOX 306                                                                                   PHILLIPSBURG     OH     45354‐0306
JERRY L SHIELDS         3448 TURTLE SHELL DR                                                                         DAYTON           OH     45414‐1744
JERRY L SHIELDS JR.     109 ELMWOOD AVE E                                                                            DAYTON           OH     45405‐3534
JERRY L SHINGLEDECKER   P.O. BOX 171                                                                                 SOLON SPRINGS    WI     54873‐‐ 01
JERRY L SHORT           907 HALE RD                                                                                  WILMINGTON       OH     45177‐7668
JERRY L SPICER          6292 LEAWOOD DRIVE                                                                           HUBER HEIGHTS    OH     45424
JERRY L STEVENS         253 SUN DR                                                                                   JACKSON          MS     39211‐4340
JERRY L SUNDERMEYER     108 N HAVEN DR                                                                               FAIRBORN         OH     45324
JERRY L SWADENER        1610 US ROUTE 68 N                                                                           XENIA            OH     45385
JERRY L TAYSE           40355 PLYMOUTH RD APT 103                                                                    PLYMOUTH         MI     48170‐4223
JERRY L THOMAS          C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                     HOUSTON          TX     77007
                        BOUNDAS LLP
JERRY L TIPTON          314 GABRIEL ST                                                                               VANDALIA        OH      45377
JERRY L TUCKER          116 MATTIS DRIVE                                                                             LEWISBURG       OH      45338‐9200
JERRY L WALTER          4134 SHAWNEE TRL                                                                             JAMESTOWN       OH      45335‐1224
JERRY L WEBB            118 WARNER DR                                                                                UNION           OH      45322‐2963
JERRY L WEISENBARGER    7990 S. R. 722                                                                               ARCANUM         OH      45304‐9409
JERRY L WELLS           3624 ELMIRA DRIVE                                                                            KETTERING       OH      45439‐2409
JERRY L WERLING         110 ASTER COURT                                                                              GERMANTOWN      OH      45327‐1700
JERRY L WESNER          03057 WAESCH RD                                                                              ST MARYS        OH      45885
JERRY L WHITE           3145 RIFLE RIVER TRAIL                                                                       PRESCOTT        MI      48756‐9346
JERRY L WICK            227 VANESSA DR                                                                               W. ALEXANDRIA   OH      45381‐9383
JERRY L WILCOX          428 SHERIDAN AVENUE                                                                          DAYTON          OH      45403‐2736
JERRY L WILHOITE        1627 S PATRIOT DR                                                                            YORKTOWN        IN      47396‐9382
JERRY L WILLIAMS        7927 WALNUT GROVE RD                                                                         TROY            OH      45373
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Name                           Address1                       Address2                   Address3                     Address4               City           State   Zip
JERRY L WILLIAMSON             23263 QUAIL CT                                                                                                PIERSON         MI     49339‐9456
JERRY L WILSON                 23 GREENEVIEW DR                                                                                              JAMESTOWN       OH     45335
JERRY L YOUNG                  1255 STYER DRIVE                                                                                              NEW CARLISLE    OH     45344‐2723
JERRY L YOUNG                  1255 STYER DR                                                                                                 NEW CARLISLE    OH     45344‐2723
JERRY L YOUNT                  1740 LANBURY DRIVE                                                                                            KETTERING       OH     45439
JERRY L. BOCKMON
JERRY L. CASE, MD PA           430 CHRISTIANA MEDICAL CTR                                                                                    NEWARK          DE     19702‐1654
JERRY L. COCHRAN               2929 E CAMELBACK RD STE 118                                                                                   PHOENIX         AZ     85016‐4425
JERRY L. HIGSON
JERRY L. SMITH, INCORPORATED   JERRY SMITH                    12484 RESERVATION RD                                                           ANACORTES      WA      98221‐9302
JERRY LA CROIX                 97 CEDAR ST                                                                                                   DECATUR        AL      35603‐6232
JERRY LACY                     1507 HAPPY LANDING RD                                                                                         GLASGOW        KY      42141‐9667
JERRY LAFERNEY                 6335 S SHERIDAN AVE                                                                                           DURAND         MI      48429‐9311
JERRY LAFEVERS                 2144 ENTRADA DR                                                                                               BEAVERCREEK    OH      45431‐3019
JERRY LAIRD                    7446 MARSACK DR                                                                                               SWARTZ CREEK   MI      48473‐8924
JERRY LAKE                     627 N WASHINGTON ST                                                                                           RAYMORE        MO      64083‐8528
JERRY LAKE                     25832 MAUMEE CENTER ROAD                                                                                      WOODBURN       IN      46797‐9735
JERRY LAKEY                    3997 E 200 N                                                                                                  ANDERSON       IN      46012‐9788
JERRY LAMB                     250 MAPLE AVE                                                                                                 CARLISLE       OH      45005‐1330
JERRY LAMBERT                  2204 IROQUOIS PL                                                                                              THOMPSONS      TN      37179‐5043
                                                                                                                                             STATION
JERRY LAMBERT JR               4530 PINEBROOK CIR APT 109                                                                                    BRADENTON      FL      34209‐8014
JERRY LAMPLEY                  555 TURNER DR                                                                                                 LOUISVILLE     IL      62858
JERRY LANCE                    504 WOODLAND CIR                                                                                              DAWSONVILLE    GA      30534‐7252
JERRY LANE                     11199 SEYMOUR RD                                                                                              MONTROSE       MI      48457‐9127
JERRY LANE                     RR 1 BOX 1852                                                                                                 PIEDMONT       MO      63957‐9731
JERRY LANE SANDERS             ATTN: ROBERT W PHILLIPS        SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD, PO BOX                          EAST ALTON     IL      62024
                                                              ANGELIDES & BARNERD LLC    521
JERRY LANG                     1801S LITTLE HARBOR RD                                                                                        MANISTIQUE     MI      49854‐8949
JERRY LANGHELD                 4401 BAU'S BEND RD                                                                                            LOUISVILLE     TN      37777
JERRY LANGLEY                  4261 GRANGE HALL ROAD          204                                                                            HOLLY          MI      48442
JERRY LANGLEY                  2022 RAVENWOOD DR                                                                                             COLLINSVILLE   IL      62234‐4935
JERRY LANKFORD                 19194 CLEM ACRES                                                                                              ATHENS         AL      35613‐5160
JERRY LANSFIELD                22018 DUBOIS ST                                                                                               ROMULUS        MI      48174‐9519
JERRY LAPOINT                  19 ROCHESTER ST                                                                                               LOCKPORT       NY      14094‐3214
JERRY LARSON                   3765 WILDFLOWER LN                                                                                            JANESVILLE     WI      53548‐8507
JERRY LASHLEY SR               2582 LAWRENCE HWY                                                                                             CHARLOTTE      MI      48813‐8899
JERRY LASHURE                  2161 W 700 N                                                                                                  LA FONTAINE    IN      46940
JERRY LASLEY                   3406 E 400 N                                                                                                  KOKOMO         IN      46901‐8416
JERRY LASSITER                 2251 DOUBLE BRANCH RD                                                                                         COLUMBIA       TN      38401‐6164
JERRY LAWLER                   4861 W BIS RD                                                                                                 MIDLAND        MI      48642‐9258
JERRY LAWRENCE                 35311 RIDGE RD                                                                                                RICHMOND       MI      48062‐1137
JERRY LAWSON                   235 LAWSON LN                                                                                                 CAMPTON        KY      41301‐8939
JERRY LAWSON                   721 STIRLING ST                                                                                               PONTIAC        MI      48340‐3173
JERRY LAWSON                   9428 SW 101ST LN                                                                                              OCALA          FL      34481‐9002
JERRY LAWSON                   3259 KNOXVILLE HWY                                                                                            WARTBURG       TN      37887‐3017
JERRY LAY                      3267 US HIGHWAY 224 E                                                                                         GREENWICH      OH      44837‐9560
JERRY LEAGUE                   391 COUNTY ROAD 658                                                                                           HANCEVILLE     AL      35077‐7396
JERRY LEE                      172 ANTIS DRIVE                                                                                               ROTONDA WEST   FL      33947‐2841
JERRY LEE                      6090 WALDON RD                                                                                                CLARKSTON      MI      48346‐2235
JERRY LEE DAVIS                NIX PATTERSON & DAVIS LLP      GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                                     DAINGERFIELD   TX      75638
JERRY LEESTMA                  5616 GAY ST                                                                                                   TOLEDO         OH      43613‐1813
JERRY LEET                     16 PHILIP DR                                                                                                  NEW CARLISLE   OH      45344‐9108
JERRY LEGG                     9001 STATE ROUTE 101 W                                                                                        CASTALIA       OH      44824‐9244
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Name               Address1                        Address2          Address3         Address4               City            State   Zip
JERRY LEIBRING     3077 BIXLER RD                                                                            NEWFANE          NY     14108‐9730
JERRY LEMLEY       8357 KELLY LN                                                                             GREENWOOD        LA     71033‐3348
JERRY LEMMINGS     813 TIMBER RIDGE RD                                                                       MIDWEST CITY     OK     73130‐4325
JERRY LEMONS       149 ANNA LN                                                                               BRYAN            OH     43506‐9181
JERRY LENHART      446 E BORTON RD                                                                           ESSEXVILLE       MI     48732‐9745
JERRY LEONARD      1985 WILTSHIRE DR                                                                         ANN ARBOR        MI     48103‐6037
JERRY LEOPOLD      8870 SESH RD                                                                              CLARENCE CTR     NY     14032‐9692
JERRY LESAK        5804 WILLOW SPRINGS RD                                                                    LA GRANGE         IL    60525‐3479
                                                                                                             HIGHLANDS
JERRY LESINSKI     36201 CHASKEY ST                                                                          RICHMOND        MI      48062‐1617
JERRY LESLIE       19301 MOYERS RD                                                                           ATHENS          AL      35611‐5724
JERRY LEWIS        301 LAKESHORE POINTE DR                                                                   HOWELL          MI      48843‐6772
JERRY LEWIS        PO BOX 73                                                                                 SPRINGVILLE     IN      47462‐0073
JERRY LEWIS        7634 GAYLE DR                                                                             FRANKLIN        OH      45005‐3811
JERRY LEWIS        26 CORRINE ST                                                                             DANVILLE        IL      61832‐6329
JERRY LIEBER       8872 E DYER RD                                                                            TWINING         MI      48766‐9502
JERRY LIEBSCH
JERRY LIKENS       5027 MOUNT PLEASANT CENTER ST                                                             GREENWOOD       IN      46142‐8917
JERRY LILLAR       7228 SHOREWOOD RD                                                                         OSCODA          MI      48750‐9620
JERRY LIMBAUGH     5317 CLINTONVILLE RD                                                                      CLARKSTON       MI      48346‐4224
JERRY LIN          PO BOX 9022                     GM KOREA                                                  WARREN          MI      48090‐9022
JERRY LINDSEY      2303 RANDY CT                                                                             MANSFIELD       TX      76063‐4896
JERRY LINK         1624 FAWN LAKE DR                                                                         WEST BRANCH     MI      48661‐9745
JERRY LINTON       G 1199 W DOWNEY AVE                                                                       FLINT           MI      48505
JERRY LITTLE       11465 CASTLE CT                                                                           CLIO            MI      48420‐1716
JERRY LIVASY       6295 LAPEER RD                                                                            BURTON          MI      48509‐2435
JERRY LLOYD        1103 NORTHFIELD DR                                                                        LEBANON         IN      46052‐1484
JERRY LOBBEZOO     6357 BUTTRICK AVE SE                                                                      ALTO            MI      49302‐9708
JERRY LOBBS        15959 KROUPA RD S                                                                         TRAVERSE CITY   MI      49686‐9729
JERRY LOCKE        95 BEECHVALLEY DR                                                                         SHARPSBURG      GA      30277‐1963
JERRY LOCKETT      4008 GAYWOOD DR                                                                           FORT WAYNE      IN      46806‐1875
JERRY LOCKHART     10081 REID RD                                                                             SWARTZ CREEK    MI      48473‐8567
JERRY LOCKHART     1107 E 500 N                                                                              OSSIAN          IN      46777‐9665
JERRY LOHMEYER     845 WATERSHED DR                                                                          ANN ARBOR       MI      48105‐2574
JERRY LONG         118 MARIAH DR                                                                             WEATHERFORD     TX      76087‐7408
JERRY LONG         430 BEECH ST                                                                              VASSAR          MI      48768‐9672
JERRY LONG         201 N BROADWAY ST                                                                         HOUSTONIA       MO      65333‐1224
JERRY LONG         24474 COPELAND RD                                                                         ATHENS          AL      35613‐5324
JERRY LONG         6422 MARATHON EDENTON RD                                                                  BLANCHESTER     OH      45107‐8841
JERRY LONG         3114 COUNTY ROAD 512                                                                      LAKE CITY       AR      72437‐9034
JERRY LONG         10795 SHORT CUT RD                                                                        LESTER          AL      35647‐3721
JERRY LONG         2338 LINCOLN MANOR DR                                                                     FLINT           MI      48507‐4416
JERRY LONG         405 VICTORIAN LN                                                                          BELLEVILLE      MI      48111‐4932
JERRY LONGMIRE     11908 CHAMPAIGN AVE                                                                       WARREN          MI      48089‐4605
JERRY LONSWAY      11181 LADYSLIPPER LN                                                                      SAGINAW         MI      48609‐8826
JERRY LOOK         13120 W SHORE DR                                                                          HOUGHTON LAKE   MI      48629‐9732
JERRY LOPEZ        12487 N SAGINAW RD                                                                        CLIO            MI      48420‐2200
JERRY LOPOSSA      50 BAILLIERE DR                                                                           MARTINSVILLE    IN      46151‐1303
JERRY LORD         1630 LITTLEFIELD RD                                                                       CAMDEN          NY      13316‐3521
JERRY LOSEE        7070 DEBORAH DR                                                                           SAGINAW         MI      48609‐5228
JERRY LOSEY        3752 N INDIANA AVE                                                                        KANSAS CITY     MO      64117‐2289
JERRY LOTT         7077 LEELANAU TRL                                                                         GAYLORD         MI      49735‐7909
JERRY LOTT         20 TRAILSIDE DR                                                                           LAKE ST LOUIS   MO      63367‐2202
JERRY LOUGHRIDGE   13300 SW RIVER RD                                                                         HILLSBORO       OR      97123
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Name                     Address1                             Address2        Address3         Address4               City            State   Zip
JERRY LOVE               97 W YPSILANTI AVE                                                                           PONTIAC          MI     48340‐1869
JERRY LOVE               5475 N 600 E                                                                                 MONTPELIER       IN     47359‐9781
JERRY LOVE AUTO REPAIR   218 W JACKSON ST                                                                             KOKOMO           IN     46901‐4527
JERRY LOVELESS           7962 MIDDLETOWN GERMANTOWN RD                                                                GERMANTOWN       OH     45327‐9610
JERRY LOVELESS           1122 N HIGHWAY 113                                                                           TEMPLE           GA     30179‐3340
JERRY LOWE               442 W CEDAR ST                                                                               STANDISH         MI     48658‐9524
JERRY LOWERY             4123 HAMILTON PLACE CT                                                                       ANDERSON         IN     46013‐5608
JERRY LOWERY             11326 DEAN ST                                                                                SPRING HILL      FL     34608‐2235
JERRY LOWMAN             3010 20TH AVE                                                                                HALEYVILLE       AL     35565‐2226
JERRY LUCKADO            PO BOX 4411                                                                                  FLINT            MI     48504‐0411
JERRY LUCKIE             1482 MOLLY CT                                                                                MANSFIELD        OH     44905‐1313
JERRY LUCOUS             3 W CROSS ST                                                                                 LAURA            OH     45337‐8801
JERRY LUH                PO BOX 882                                                                                   ORIENTAL         NC     28571‐0882
JERRY LUKANC             2635 DELAWARE ST                                                                             WICKLIFFE        OH     44092‐1213
JERRY LUMM               11705 ANDERSONVILLE RD                                                                       DAVISBURG        MI     48350‐3002
JERRY LUTZ               903 N MAIN ST                                                                                AMHERST          OH     44001‐1046
JERRY LYNCH              908 BLAIR ST                                                                                 FLINT            MI     48504‐4637
JERRY LYNN               167 MEADOWBROOK DR                                                                           DEFIANCE         OH     43512‐1328
JERRY LYNN               297 W HILLSDALE LN                                                                           HOLLAND          OH     43528‐8782
JERRY LYNN FUNDERBURG    C/O WEITZ & LUXENBERG PC             700 BROADWAY                                            NEW YORK CITY    NY     10003
JERRY LYON               3702 ALDON LN                                                                                FLINT            MI     48506‐2634
JERRY LYTLE SR           417 W COMMERCIAL ST                                                                          HARTFORD CITY    IN     47348‐2416
JERRY M AYERS            7810 ROSE AVE.                                                                               MASURY           OH     44438
JERRY M BAILEY           2534 HOME AVE                                                                                DAYTON           OH     45417
JERRY M BRIDGES          504 E WALNUT ST                                                                              COVINGTON        OH     45318‐1646
JERRY M BUCKNER          3749 HIGHLAND AVE                                                                            KANSAS CITY      MO     64109‐2753
JERRY M CICALO           4431 E MOUNT MORRIS RD                                                                       MOUNT MORRIS     MI     48458‐8961
JERRY M CLAWSON          4095 NAVAJO AVE                                                                              HUBER HEIGHTS    OH     45424
JERRY M DISMUKE          98 W CORNELL AVE                                                                             PONTIAC          MI     48340‐2718
JERRY M FYFFE            4421 N STATE ROUTE 72                                                                        SABINA           OH     45169
JERRY M GENTRY           281 KENDERTON TRL                                                                            BEAVER CREEK     OH     45430
JERRY M GRADY            109 LAKE DOCKERY DR                                                                          JACKSON          MS     39272‐9419
JERRY M HAYES            1373 NUTWOOD DR                                                                              CENTERVILLE      OH     45458‐5109
JERRY M HEMBREE          1202 CARTERS CREEK PIKE                                                                      COLUMBIA         TN     38401‐7325
JERRY M NEW              RR 2 BOX 4                                                                                   SOLSBERRY        IN     47459‐9401
JERRY M PERKINS JR       4213 DELHI DR                                                                                RIVERSIDE        OH     45432
JERRY M TAKACS           4730 PINECROFT CT                                                                            DAYTON           OH     45424‐1919
JERRY M THOMAS           6059 MERIDIAN RD                                                                             LAINGSBURG       MI     48848‐9671
JERRY M TYMCZYSZYN       56 BRANCH ST                                                                                 ROCHESTER        NY     14621‐5525
JERRY M WOOD             523 WAYNE ST                                                                                 SAGINAW          MI     48602‐1454
JERRY MACDONALD          4600 WESTFIELD CT                                                                            BAY CITY         MI     48706‐2726
JERRY MACE               3214 SPRING BLVD                                                                             BELLEVUE         NE     68123
JERRY MACGEORGE          14146 104TH AVE                                                                              GRAND HAVEN      MI     49417‐9721
JERRY MACK               1850 BRALY LN                                                                                PULASKI          TN     38478‐9285
JERRY MACK               2819 E DUBLIN GRANVILLE RD APT 604                                                           COLUMBUS         OH     43231‐4061
JERRY MACK               PO BOX 1814                                                                                  GLENWOOD         AR     71943‐1814
JERRY MACK               580 BLUE MEADOW DR                                                                           GREENWOOD        IN     46143‐7760
JERRY MADDEN             145 ROBINSON DR                                                                              CARROLLTON       GA     30117‐7638
JERRY MADDEN             2175 LOUDENSLAGER DR                                                                         THOMPSONS        TN     37179‐5313
                                                                                                                      STATION
JERRY MAGEE              504 3RD AVE                                                                                  PONTIAC          MI     48340‐2003
JERRY MAHONEY            1716 N CROSSLAKES APT                CIRCLE C                                                ANDERSON         IN     46012
JERRY MAI                2381 EDWARDS ST                                                                              GRAND BLANC      MI     48439‐5055
JERRY MAISCH             208 E JEFFERSON ST                                                                           TECUMSEH         OK     74873‐4222
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Name                 Address1                       Address2               Address3      Address4               City            State   Zip
JERRY MALCOLM        207 MAPLE ST                                                                               LOWELL           MI     49331‐1626
JERRY MALER          PO BOX 1153                                                                                WHITNEY          TX     76692‐1153
JERRY MALLARD        7146 HATCHERY RD                                                                           WATERFORD        MI     48327‐1015
JERRY MALONE         1054 W 31ST ST                                                                             INDIANAPOLIS     IN     46208‐4830
JERRY MALONE         PO BOX 20                                                                                  GRANDVIEW        MO     64030‐0020
JERRY MALONE         RR 1 BOX 4260                                                                              BOSWELL          OK     74727‐9754
JERRY MALONEY        9359 PARK PLACE                                                                            SWARTZ CREEK     MI     48473‐8552
JERRY MANGAS         28657 STATE ROUTE 281 RR6                                                                  DEFIANCE         OH     43512
JERRY MANIS          7215 W COUNTY ROAD 950 N                                                                   MIDDLETOWN       IN     47356‐9373
JERRY MARCUM         9662 S COUNTY ROAD 100 E                                                                   CLAYTON          IN     46118‐9218
JERRY MARCUM         9058 N STATE ROAD 39                                                                       MOORESVILLE      IN     46158‐6001
JERRY MARCUM         873 72ND ST SE                                                                             GRAND RAPIDS     MI     49508‐7405
JERRY MARKLE         309 BRIGHT ANGEL DR                                                                        PRUDENVILLE      MI     48651
JERRY MARKLEY        30 WINTHROP DR                                                                             LEXINGTON        MO     64067‐1558
JERRY MARLOE PIGUE   WEITZ & LUXENBERG PC           700 BROADWAY                                                NEW YORK CITY    NY     10003
JERRY MARLOE PIGUE   C/O WEITZ & LUXENBERG PC       700 BROADWAY                                                NEW YORK CITY    NY     10003
JERRY MARLOW         6657 CELESTINE ST                                                                          HUBER HEIGHTS    OH     45424‐3505
JERRY MARQUELL       11 EMS T‐48B LANE                                                                          SYRACUSE         IN     46567
JERRY MARSH          4616 TURTLE RD                                                                             TURNER           MI     48765‐9512
JERRY MARSHALL       14369 SWANEE BEACH DR                                                                      FENTON           MI     48430‐1463
JERRY MARSHALL       2304 RAINTREE DR                                                                           ANDERSON         IN     46011‐2643
JERRY MARSHALL       11739 DOROTHY LN                                                                           WARREN           MI     48093‐8919
JERRY MARSHALL       230 SUNSET RIDGE DR                                                                        JACKSON          MO     63755‐8371
JERRY MARSICH        10902 GARRISON RD                                                                          DURAND           MI     48429‐1831
JERRY MARTI          13054 BUCKEYE RD                                                                           HIGHLAND          IL    62249‐4400
JERRY MARTIN         3500 BELL RD                                                                               GAINESVILLE      GA     30507‐8625
JERRY MARTIN         3440 HEMMETER RD                                                                           SAGINAW          MI     48603‐2026
JERRY MARTIN         1120 CAROLYN DR                                                                            MIDWEST CITY     OK     73110‐2424
JERRY MARTIN         4002 LEERDA ST                                                                             FLINT            MI     48504‐2139
JERRY MARTIN
JERRY MARTZ          5371 E 200 S                                                                               KOKOMO          IN      46902‐9237
JERRY MASON          PO BOX 297                                                                                 BLAND           MO      65014‐0297
JERRY MASSEY         5466 KK RD                                                                                 WATERLOO        IL      62298‐3420
JERRY MASSEY         9302 SORRENTO ST                                                                           DETROIT         MI      48228‐2676
JERRY MASSINGILL     PO BOX 26                                                                                  SPRINGBORO      OH      45066‐0026
JERRY MASTERS I      130 GREMILLION LN              C/O TERRY GREMILLION                                        MONROE          LA      71203‐9552
JERRY MATTHEWS       26394 LONGHORN DR                                                                          BLANCHARD       OK      73010‐3716
JERRY MATTHEWS       5096 EMMONS RD                                                                             OREGONIA        OH      45054‐9752
JERRY MAURO          12083 SCOTT RD                                                                             FREELAND        MI      48623‐9509
JERRY MAXWELL        8505 LINDSEY RD                                                                            CASCO           MI      48064‐2512
JERRY MAY            422 E COUNTY ROAD 800 N                                                                    SPRINGPORT      IN      47386‐9711
JERRY MAYHLE         145 APPLE HILL RD                                                                          WAYNESBURG      PA      15370‐9324
JERRY MAYS           7867 W 1300 N                                                                              ELWOOD          IN      46036‐9207
JERRY MAZAT          2129 RIDGE RD                                                                              WHITE LAKE      MI      48383‐1742
JERRY MAZZARINO      3940 STANSBURY AVE                                                                         SHERMAN OAKS    CA      91423‐4618
JERRY MC ANNALLY     11799 SE 176TH PLACE RD                                                                    SUMMERFIELD     FL      34491‐7868
JERRY MC CARTY       5047 SANDY BROOK CIRCLE                                                                    WIMAUMA         FL      33598‐4023
JERRY MC CORMICK     149 PEPPERELL AVE                                                                          HOUGHTON LAKE   MI      48629‐8900
JERRY MC CUISTION    PO BOX 156                                                                                 BARTONSVILLE    PA      18321‐0156
JERRY MC GLAUGHLIN   1218 NW 450TH RD                                                                           HOLDEN          MO      64040‐9383
JERRY MC GRATH       22160 GUIDOT ST                                                                            TAYLOR          MI      48180‐2451
JERRY MC KAY         2518 OVERBROOK                                                                             HIGHLAND        MI      48357‐4234
JERRY MC KELVY       6808 E 129TH ST                                                                            GRANDVIEW       MO      64030‐2614
JERRY MC KIM         10908 LIMA CENTER RD                                                                       MANCHESTER      MI      48158‐9553
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Name                Address1                       Address2                     Address3   Address4               City             State   Zip
JERRY MC KINNEY     75 ROYAL DR                                                                                   KANSAS CITY       KS     66111‐2131
JERRY MC MANUS      7410 GILDART RD                                                                               EATON RAPIDS      MI     48827‐9547
JERRY MC MILLAN     18080 M‐33 NORTH                                                                              ATLANTA           MI     49709
JERRY MC MILLIN     245 WARDWELL DR                                                                               LENNON            MI     48449‐9602
JERRY MC NABB       PO BOX 34                                                                                     EXETER            MO     65647‐0034
JERRY MC NIEL       144 ALBATROSS RD                                                                              ROTONDA WEST      FL     33947‐2893
JERRY MC VEIGH      504 ASH ST                                                                                    HOLLY             MI     48442‐1305
JERRY MCABEE        6079 E 300 S                                                                                  FRANKLIN          IN     46131‐8046
JERRY MCBRIDE       PO BOX 1805                                                                                   MIDLOTHIAN        TX     76065‐1805
JERRY MCBRIDE       5057 FINLAY DR                                                                                FLINT             MI     48506‐1509
JERRY MCCANN        5530 GREENWOOD CIR                                                                            NAPLES            FL     34112‐7112
JERRY MCCANTS       504 EAST KIRVY APT 3                                                                          DETROIT           MI     48202
JERRY MCCARTHY JR   330 LAKE COLLINS RD                                                                           TWIN CITY         GA     30471‐5052
JERRY MCCARTY       826 CLOVER HILL LN                                                                            CEDAR HILL        TX     75104‐7923
JERRY MCCLARY       1497 WALSH AVE                                                                                COLUMBUS          OH     43223‐1937
JERRY MCCLINTOCK    14007 MEADOW GRASS WAY                                                                        FISHERS           IN     46038‐8223
JERRY MCCLURE       40 FAWN VALLEY CIR                                                                            SAINT PETERS      MO     63376‐7920
JERRY MCCONNELL     865 N MAIN ST                                                                                 ALBANY            IN     47320‐1120
JERRY MCCORD        11751 MONAGAN HWY                                                                             TIPTON            MI     49287‐9758
JERRY MCCORD        3093 N 200 W                                                                                  ANDERSON          IN     46011‐9205
JERRY MCCOURY       693 S GREY RD                                                                                 AUBURN HILLS      MI     48326‐3815
JERRY MCCOY         712 GREENLEAF DR                                                                              ARLINGTON         TX     76017‐6407
JERRY MCCOY         2810 E SOUTHWAY BLVD                                                                          KOKOMO            IN     46902‐4112
JERRY MCCRAY        2530 SARA JANE PKWY APT 412                                                                   GRAND PRAIRIE     TX     75052‐8617
JERRY MCDANIEL      307 N MAPLE ST                                                                                WALTON            IN     46994‐4161
JERRY MCDONOUGH     975 MCMANUS RD                                                                                LEAVITTSBURG      OH     44430‐9632
JERRY MCDOWELL      1624 TELEGRAPH DR                                                                             PONTIAC           MI     48340‐1037
JERRY MCDURMON      131 SAMANDA CIR                                                                               ROCKMART          GA     30153
JERRY MCELFRESH     1537 HORLACHER AVE                                                                            KETTERING         OH     45420‐3232
JERRY MCELWAIN      RR 2 BOX 261                                                                                  BUTLER            MO     64730‐9543
JERRY MCENDREE      2205 MOUNTAINVIEW DR                                                                          HURST             TX     76054‐2923
JERRY MCFALL        7105 N COUNTY ROAD 1125 W                                                                     WEST BADEN        IN     47469‐9704
                                                                                                                  SPRINGS
JERRY MCFARREN      BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS   OH      44236
JERRY MCGAHA        1112 SHAWNEE TRL                                                                              YOUNGSTOWN       OH      44511‐1346
JERRY MCGILL        4304 SE BRIDLE CT                                                                             LEES SUMMIT      MO      64082‐4920
JERRY MCGLOTHLEN    7654 ROUND LAKE RD                                                                            LAINGSBURG       MI      48848‐9503
JERRY MCGOLDRICK    9700 BLOOMHILL DR                                                                             HOLLY            MI      48442‐8525
JERRY MCINTOSH      3004 APPALOOSA WAY                                                                            LANSING          MI      48906‐9069
JERRY MCKAIN        4112 ROUNDHILL DR                                                                             ANDERSON         IN      46013‐2569
JERRY MCKINNEY      19790 FAUST AVE                                                                               DETROIT          MI      48219‐2173
JERRY MCKINNIE      307 CHERRY VALLEY DR # 2                                                                      INKSTER          MI      48141‐1492
JERRY MCLAIN        516 N 3RD ST                                                                                  GAS CITY         IN      46933‐1109
JERRY MCLIMANS      8725 GLENROCK DR                                                                              NEW HAVEN        IN      46774‐1820
JERRY MCMAHAN       26714 DELTON ST                                                                               MADISON HTS      MI      48071‐3642
JERRY MCMULLEN      1639 E 17TH ST                                                                                ANDERSON         IN      46016‐2108
JERRY MCMURRAY      613 RIHERD ESTATES RD                                                                         PARK CITY        KY      42160‐9326
JERRY MCNALL        2302 FORREST FIELDS DR                                                                        CHAPEL HILL      TN      37034‐3053
JERRY MCNULTY       5217 ENGEL BLVD                                                                               TOLEDO           OH      43611‐1664
JERRY MCNUTT        10762 SOUTHERN RIDGE DR                                                                       KEITHVILLE       LA      71047‐7984
JERRY MCPIKE        2499 PEERLESS RD                                                                              BEDFORD          IN      47421‐8103
JERRY MCVICKER      862 COTTAGE AVE                                                                               WABASH           IN      46992‐1909
JERRY MCWILLIAMS    1420 WALNUT GROVE RD                                                                          BOERNE           TX      78006‐6232
JERRY MEAD          1400 OLD COACH RD                                                                             NEWARK           DE      19711‐7611
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Name               Address1                       Address2                    Address3   Address4               City            State   Zip
JERRY MEADE        PO BOX 681                                                                                   CHAPMANVILLE     WV     25508‐0681
JERRY MEADOR       PO BOX 305                                                                                   FLATWOODS        WV     26621‐0305
JERRY MEADOWS      129 ANDERSON LN                                                                              BEDFORD          IN     47421‐7944
JERRY MEARS        259 ALFRED ST                                                                                MONTROSE         MI     48457‐9154
JERRY MEIER        216 N FORCE RD                                                                               ATTICA           MI     48412‐9741
JERRY MEISSINGER   1517 SHEARER CIR                                                                             MOORE            OK     73160‐6137
JERRY MELINN       4409 SW 2ND AVE                                                                              CAPE CORAL       FL     33914‐5919
JERRY MELLON       PO BOX 31                                                                                    OTISVILLE        MI     48463‐0031
JERRY MELTON       2008 I ST                                                                                    BEDFORD          IN     47421‐4654
JERRY MEMMER       5502 E 300 N                                                                                 FRANKLIN         IN     46131‐8796
JERRY MERRELL      5437 SQUIRE LN                                                                               FLINT            MI     48506‐2275
JERRY MERRING      C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                     HOUSTON          TX     77007
                   BOUNDAS LLP
JERRY MERTEN       251 GOMPERS CIR                                                                              MORRISTOWN      AZ      85342‐9810
JERRY METCALF      833 W ATHERTON RD                                                                            FLINT           MI      48507‐2410
JERRY MEYER        2530 DEEP RIVER RD                                                                           STANDISH        MI      48658‐9117
JERRY MEYER        14315 S CAMINO VALLADO                                                                       SAHUARITA       AZ      85629‐8437
JERRY MEYERS       5686 MARINE PKWY                                                                             MENTOR ON THE   OH      44060‐2554
                                                                                                                LAKE
JERRY MEYERS       112 MORGAN CT                                                                                FRANKLIN        OH      45005‐1540
JERRY MEZ          JOYCE MEZ                      1523 N WILLOW ST                                              AVOCA           IA      51521
JERRY MICHNER      3109 FIELD DR                                                                                KOKOMO          IN      46902‐3917
JERRY MIDKIFF      RR 1 BOX 158                                                                                 SALT ROCK       WV      25559‐9710
JERRY MILES        2299 OAKLAND BOULEVARD                                                                       DETROIT         MI      48238
JERRY MILFORD      1722 DULONG AVE                                                                              MADISON HTS     MI      48071‐2668
JERRY MILLER       5200 W COUNTY ROAD 200 S                                                                     YORKTOWN        IN      47396‐9811
JERRY MILLER       137 E LAKEVIEW AVE                                                                           FLINT           MI      48503‐4152
JERRY MILLER       7841 HATTERAS RD                                                                             ORLANDO         FL      32822‐7113
JERRY MILLER       117 CANTERBURY DR                                                                            CROSSVILLE      TN      38558‐7096
JERRY MILLER       39969 MYERS ST                                                                               MALDEN          MO      63863‐9004
JERRY MILLER       992 HOMEWOOD AVE SE                                                                          WARREN          OH      44484‐4907
JERRY MILLER       425 N CAMP MEADE RD                                                                          LINTHICUM       MD      21090‐1809
JERRY MILLER       1709 ARBOR CT                                                                                MOUNTAIN HOME   AR      72653‐5253
JERRY MILLER SR.   3401 WINONA ST                                                                               FLINT           MI      48504‐2156
JERRY MILLIAN      N7683 PINE KNOLLS DR                                                                         WHITEWATER      WI      53190‐4228
JERRY MILLICAN     336 COUNTY ROAD 540                                                                          HEFLIN          AL      36264‐8853
JERRY MILLIGAN     18234 LEXINGTON                                                                              REDFORD         MI      48240‐1937
JERRY MILLS        3013 W FEDERAL HWY                                                                           ROSCOMMON       MI      48653‐9611
JERRY MILLS JR     9770 WILLOW LOT 3                                                                            OVID            MI      48866
JERRY MILNER       PO BOX 96                                                                                    FOREST          IN      46039‐0096
JERRY MILTON       17701 CRYSTAL COVE PL                                                                        LUTZ            FL      33548
JERRY MINOR        312 3RD AVE                                                                                  COLUMBIA        TN      38401‐2918
JERRY MINOR        1312 CLARITA ST                                                                              YPSILANTI       MI      48198‐8204
JERRY MIRACLE      57 DESERT CASTLE CT                                                                          HENDERSON       NV      89012‐4428
JERRY MIRACLE      105 DEERFIELD DR                                                                             COLUMBIA        TN      38401‐5257
JERRY MIRACLE      2236 MARDELL DR                                                                              DAYTON          OH      45459‐3634
JERRY MITCHELL     889 ASTOR WAY                                                                                THE VILLAGES    FL      32162‐4002
JERRY MITCHELL     2125 JUSTICE LN                                                                              KOKOMO          IN      46902‐3846
JERRY MITCHELL     6815 WINNEBAGO DR                                                                            FORT WAYNE      IN      46815‐6373
JERRY MITCHELL     5829 OBERLIES WAY                                                                            PLAINFIELD      IN      46168‐7302
JERRY MITCHELL     13071 N ALLMAN EAST ST                                                                       MOORESVILLE     IN      46158‐6904
JERRY MITCHELL     636 N TERRACE AVE APT 3G                                                                     MOUNT VERNON    NY      10552‐2714
JERRY MITCHELL     126 ANTARES ROAD                                                                             WILMINGTON      NC      28405‐8400
JERRY MIXON        15711 TRACEY ST                                                                              DETROIT         MI      48227‐3345
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Name               Address1                        Address2                     Address3   Address4               City               State   Zip
JERRY MOGAN        4215 RISHEL ST                                                                                 GROVE CITY          OH     43123‐8734
JERRY MOHLER       102 E 4TH ST                                                                                   MOSCOW HILLS        MO     63362
JERRY MOISE        2605 HAGEMANN ST                                                                               KANSAS CITY         KS     66106‐4229
JERRY MOLINA       3670 WHITFIELD DR                                                                              WATERFORD           MI     48329‐1163
JERRY MONHOLLEN    560 BASIL ST                                                                                   SPRINGBORO          OH     45066‐1004
JERRY MONROE       10067 STANLEY RD                                                                               FLUSHING            MI     48433‐9204
JERRY MONTGOMERY   230 BRUNSWICK DR APT D                                                                         ELYRIA              OH     44035‐4634
JERRY MONTGOMERY   BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS          OH     44236
JERRY MONTICUE     960 S CO RD ‐ 520 W                                                                            RUSSIAVILLE         IN     46979
JERRY MOODY        13376 HIGHLAND CIR                                                                             STERLING HEIGHTS    MI     48312‐5341
JERRY MOODY        9351 SANDUSKY AVE                                                                              ARLETA              CA     91331‐5531
JERRY MOODY        PO BOX 172                                                                                     HOLCOMB             MO     63852‐0172
JERRY MOOMEY       1520 KANE RD                                                                                   STOCKBRIDGE         MI     49285‐9758
JERRY MOON         139 HAMMOND ST                                                                                 MARTINSVILLE        IN     46151
JERRY MOON         4320 W 30TH ST                                                                                 INDIANAPOLIS        IN     46222‐4716
JERRY MOORE        215 VALENTINE DR                                                                               DAYTON              OH     45431‐1925
JERRY MOORE        14850 VAN PELT DR                                                                              GOSHEN              IN     46526‐9315
JERRY MOORE        2363 S DYE RD                                                                                  FLINT               MI     48532‐4129
JERRY MOORE        1144 NOVAK RD                                                                                  GRAFTON             OH     44044‐1252
JERRY MOORE        4454 WECKERLY RD                                                                               MONCLOVA            OH     43542‐9484
JERRY MOORE        11418 WESTHILL DR                                                                              FESTUS              MO     63028‐3347
JERRY MOORE        164 DEWBERRY RD                                                                                KEAVY               KY     40737‐2838
JERRY MOORE        23355 HAGGERTY RD                                                                              BELLEVILLE          MI     48111‐9659
JERRY MOORE        5056 N LAKE RD                                                                                 COLUMBIAVILLE       MI     48421‐9104
JERRY MORAN        8143 SYLMAR AVE                                                                                PANORAMA CITY       CA     91402‐5238
JERRY MORGAN       RR 4 BOX 615                                                                                   FAIRMONT            WV     26554‐9353
JERRY MORGAN       7923 ANDERSON AVE NE                                                                           WARREN              OH     44484‐1530
JERRY MORGAN       4098 CORAL ST                                                                                  BURTON              MI     48509‐1013
JERRY MORGAN JR    2113 S MADISON AVE                                                                             ANDERSON            IN     46016‐4050
JERRY MORRIS       704 W JEFFERSON ST                                                                             ALEXANDRIA          IN     46001‐1733
JERRY MORRIS       1767 BRIARCLIFF CT                                                                             FAIRFIELD           OH     45014‐3613
JERRY MORRIS       1501 E STRATFORD DR                                                                            BELOIT              WI     53511‐1403
JERRY MORRIS JR    2147 S ETHEL ST                                                                                DETROIT             MI     48217‐1654
JERRY MORRISON     11133 TREMONT LN                                                                               PLYMOUTH            MI     48170‐6149
JERRY MORSE        12050 EMELIA ST                                                                                BIRCH RUN           MI     48415‐9718
JERRY MOSE         12245 GASPER RD                                                                                SAINT CHARLES       MI     48655‐9634
JERRY MOSS         1515 KNAPP AVE                                                                                 FLINT               MI     48503‐3239
JERRY MOTTER       41121 REDWOOD CT                                                                               CLINTON TWP         MI     48038‐4620
JERRY MOWERY       4701 RIOVIEW DR                                                                                CLARKSTON           MI     48346‐3667
JERRY MOYER        53415 FULTON RD                 PO BOX 93                                                      LEONIDAS            MI     49066‐9400
JERRY MULHOLLAND   3225 E LANSING RD                                                                              BANCROFT            MI     48414‐9793
JERRY MULLIGER     1779 EDGEMERE DR                                                                               ROCHESTER           NY     14612‐1517
JERRY MULLINS      896 W STATE ROUTE 350                                                                          WILMINGTON          OH     45177‐8673
JERRY MULLINS      48527 HUNTER DR                                                                                MACOMB              MI     48044‐5568
JERRY MULLINS      14021 UNADILLA RD                                                                              GREGORY             MI     48137‐9715
JERRY MULLINS      5526 HARBOURSIDE DR                                                                            MASON               OH     45040‐8360
JERRY MULLINS      7875 NEW HARRISON BRADFORD RD                                                                  BRADFORD            OH     45308‐9579
JERRY MULVAINE     7285 AUGUSTA DR                                                                                WASHINGTON          MI     48094‐1482
                                                                                                                  TOWNSHIP
JERRY MURPHY       723 BYRAM LAKE DR                                                                              LINDEN              MI     48451‐8704
JERRY MURPHY       5645 S COUNTY ROAD 1110 W                                                                      MEDORA              IN     47260‐9715
JERRY MUSIC        1010 TOMPKINS DR                                                                               CEMENT CITY         MI     49233‐9706
JERRY MYERS        47136 ROBINS NEST DR                                                                           SHELBY TWP          MI     48315‐5015
JERRY MYERS        PO BOX 379                                                                                     INGLIS              FL     34449‐0379
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Name                 Address1                        Address2                      Address3   Address4               City               State   Zip
JERRY MYREE          3 GERHARDT ST                                                                                   BUFFALO             NY     14208‐2418
JERRY N KILBOURNE    2105 S HARVEY ST                                                                                WESTLAND            MI     48186‐4256
JERRY NAMIE          2220 ANDERSON DR SW                                                                             DECATUR             AL     35603‐1002
JERRY NANCE          9375 GREEN RD                                                                                   GOODRICH            MI     48438‐9437
JERRY NANCE          304 SITTON DR                                                                                   WASKOM              TX     75692‐5632
JERRY NANCE          1284 SUN CT APT L                                                                               BOWLING GREEN       KY     42104‐5431
JERRY NANNEY         5093 MELLWOOD DR                                                                                FLINT               MI     48507‐4549
JERRY NAPIER         33 BEACON HILL DR                                                                               DAYTON              OH     45440‐3533
JERRY NAPIER         1915 KING ST                                                                                    OWOSSO              MI     48867‐9518
JERRY NAPIER         2381 E LASS AVE                                                                                 KINGMAN             AZ     86409‐1352
JERRY NEAL           9747 KENDRICK RD                                                                                VIVIAN              LA     71082‐8509
JERRY NEAL           131 STATE ROAD 58 E                                                                             BEDFORD             IN     47421‐7670
JERRY NEDDO          1284 N HOSPITAL RD                                                                              WATERFORD           MI     48327‐1523
JERRY NEDLAND        4715 BUTLER DR                                                                                  MILTON              WI     53563‐8413
JERRY NEEDHAM        745 YOUTH JERSEY RD                                                                             MONROE              GA     30655‐8309
JERRY NEIGHBOURS     24465 FILMORE STREET            APT. 203                                                        TAYLOR              MI     48180
JERRY NEITZEL JR     415 N NORMAN ST                                                                                 BARRYTON            MI     49305‐9494
JERRY NELSON         4400 PARKRIDGE DR                                                                               BENTON              LA     71006‐9707
JERRY NELSON         5334 W FRANCES RD                                                                               CLIO                MI     48420‐8570
JERRY NELSON         612 S MCCANN ST                                                                                 KOKOMO              IN     46901‐6322
JERRY NELSON         57 W MURPHY LAKE RD                                                                             MAYVILLE            MI     48744‐9537
JERRY NELSON         351 CRATTIE DR                                                                                  SPRINGVILLE         TN     38256‐4823
JERRY NELSON         5318 S DICKEY RD                                                                                BRODHEAD            WI     53520‐9209
JERRY NELSON         156 HC 4411                                                                                     GRANDVIEW           TX     76050
JERRY NEU            PO BOX 263                                                                                      LESLIE              MI     49251‐0263
JERRY NEW            RR 2 BOX 4                                                                                      SOLSBERRY           IN     47459‐9401
JERRY NEWCOM         1600 S COURTLAND AVE                                                                            KOKOMO              IN     46902‐2056
JERRY NEWMAN         12505 LUTTENTON RD                                                                              HANOVER             MI     49241‐9796
JERRY NEWSOME        LEON R RUSSELL                  3102 OAK LAWN AVE SUITE 600                                     DALLAS              TX     75219
JERRY NEWSON         7633 S KINGSTON AVE                                                                             CHICAGO              IL    60649‐4207
JERRY NICCUM         2610 S H ST                                                                                     ELWOOD              IN     46036‐2671
JERRY NICELY SR      10320 N U S 24 E                                                                                ROANOKE             IN     46783
JERRY NICHOLAS       40 KINGS DR SW                                                                                  WARREN              OH     44481‐9223
JERRY NICHOLS        7743 BANCASTER DR                                                                               INDIANAPOLIS        IN     46268‐5711
JERRY NICHOLS        PO BOX 802                                                                                      SAGINAW             MI     48606‐0802
JERRY NICHOLS        1135 TEE CEE DR                                                                                 WATERFORD           MI     48328‐2048
JERRY NICHOLS        813 LEOTA LN                                                                                    WOODBURY            TN     37190‐5281
JERRY NICHOLS
JERRY NICHOLSON      PO BOX 291                                                                                      LAKEVIEW           MI      48850‐0291
JERRY NIEDZIALEK     149 BALTUSROL DR                                                                                CHARLES TOWN       WV      25414‐4085
JERRY NITZ SR        77 MILLSHED RD                                                                                  MORGANTOWN         KY      42261‐9023
JERRY NIX            PO BOX 2452                                                                                     LAGRANGE           GA      30241‐0051
JERRY NIX            9467 REED RD                                                                                    NORTH RIDGEVILLE   OH      44039‐4343

JERRY NIXON          6121 WESTACRE LN                                                                                TOLEDO             OH      43615‐1024
JERRY NOLAND         278 W 375 N TRLR 47                                                                             ANDERSON           IN      46012‐1170
JERRY NOLEN          106 PENINSULA DR                                                                                PRUDENVILLE        MI      48651‐9461
JERRY NOLES          1051 PARSON'S GREENE DR.                                                                        POWDER SPGS        GA      30127
JERRY NORMANDIN
JERRY NORRIS         506 WEDGEWOOD DR                                                                                ANDERSON            IN     46013‐4858
JERRY NORRIS         5225 ARIANA CT                                                                                  INDIANAPOLIS        IN     46227‐8267
JERRY NORTHCUTT      7704 S US 35                                                                                    MUNCIE              IN     47302
JERRY NORTHCUTT
JERRY NORTHCUTT JR   908 E FUSON RD                                                                                  MUNCIE              IN     47302‐8629
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Name               Address1                      Address2                   Address3         Address4               City              State   Zip
JERRY NORWOOD      646 ETHRIDGE RED HILL RD                                                                         ETHRIDGE           TN     38456‐5521
JERRY NOTTINGHAM   2485 W 28                                                                                        ALEXANDRIA         IN     46001
JERRY NUNNALLY     327 POPLAR ST                                                                                    KOKOMO             IN     46902‐2261
JERRY NUTTEN       6255 TELEGRAPH RD LOT 258                                                                        ERIE               MI     48133‐9443
JERRY NYCUM        2613 HENN HYDE RD NE                                                                             WARREN             OH     44484‐1250
JERRY O COPELAND   PO BOX 431                                                                                       BISMARCK           AR     71929
JERRY O DAVIS      6047 WESTKNOLL DR APT 469                                                                        GRAND BLANC        MI     48439‐4928
JERRY O KIRBY      809 FORRESTAL DR                                                                                 ARLINGTON          TX     76010‐4405
JERRY O LANE       11199 SEYMOUR RD                                                                                 MONTROSE           MI     48457‐9127
JERRY O SHEA       980 WILMINGTON AVE APT 823                                                                       DAYTON             OH     45420‐1623
JERRY O'BRYANT     6867 W SAGINAW HWY                                                                               SUNFIELD           MI     48890‐9735
JERRY O'DELL JR    409 HOLLAND RD                                                                                   FLUSHING           MI     48433‐2115
JERRY O'ROURKE     755 S NEWMAN RD                                                                                  LAKE ORION         MI     48362‐2138
JERRY OGDEN        100 ROSEWOOD DR                                                                                  TIPTON             IN     46072‐9291
JERRY OGG          311 E BARNES RD                                                                                  FOSTORIA           MI     48435‐9654
JERRY OHLINGER     22880 BURLINGTON GARDENS ST                                                                      ARCHBOLD           OH     43502‐9114
JERRY OLDFIELD     4503 E 500 S                                                                                     CUTLER             IN     46920‐9376
JERRY OLESTON      1000 GENERAL MOTORS DR        MAIL CODE 8022                                                     JANESVILLE         WI     53546‐2531
JERRY OLESTON      MFG ENGINEERING DIRECTOR      1000 GENERAL MOTORS DR     MAIL CODE 8022                          JANESVILLE         WI     53546‐2531
JERRY OLESTON      4128 EASTRIDGE DRIVE                                                                             JANESVILLE         WI     53546
JERRY OLGER        PO BOX 1294                                                                                      BRIGHTON           MI     48116‐2894
JERRY OLINGER      2396 CARAWAY DR                                                                                  VENICE             FL     34292‐4175
JERRY OLIVO        40 FOREST AVE                                                                                    ROSELLE             IL    60172‐2914
JERRY OLMSTEAD     108 E SUE LN                                                                                     INDEPENDENCE       MO     64050‐1649
JERRY ORDWAY       PO BOX 53                                                                                        ALBA               MI     49611‐0053
JERRY ORR          2405 LITTLE JOHN LN                                                                              CUMMING            GA     30040‐2830
JERRY ORTEN        NIX PATTERSON & ROACH LLP     GM BANKRUPTCY DEPARTMENT   205 LINDA DR                            DAINGERFIELD       TX     75638
JERRY ORTWEIN      10934 MUGAN DR                                                                                   AFFTON             MO     63123‐5915
JERRY OSANTOWSKI   7689 DECKERVILLE RD                                                                              FAIRGROVE          MI     48733‐9714
JERRY OSBORNE      23527 RED ARROW HWY                                                                              MATTAWAN           MI     49071‐9701
JERRY OSBURN       2218 INDIAN AVE S                                                                                BELLEAIR BLUFFS    FL     33770‐2076
JERRY OTTE         30565 COUNTY ROAD 424                                                                            DEFIANCE           OH     43512‐9017
JERRY OVERHOLSER   832 CAMP ST                                                                                      PIQUA              OH     45356
JERRY OWEN         9010 CIRCLE LAKE DR                                                                              GRAND BLANC        MI     48439‐9310
JERRY OWENS        8059 TUBSPRING RD                                                                                ALMONT             MI     48003‐8220
JERRY OWENS        2248 CECIL AVE                                                                                   BALTIMORE          MD     21218‐6304
JERRY OWENS        1206 PENDLE HILL AVE                                                                             PENDLETON          IN     46064‐9124
JERRY OWENS        6204 BELFRY WAY                                                                                  INDIANAPOLIS       IN     46237‐3564
JERRY P BRYANT     3871 ARK AVE                                                                                     DAYTON             OH     45416‐2005
JERRY P FRAZIER    6521 SEMLEY CT                                                                                   CLAYTON            OH     45415
JERRY PACE         17160 WIGWAM PL                                                                                  THREE RIVERS       MI     49093‐9014
JERRY PACKMAN      30 PLUMMER AVE                P.O. BOX 381                                                       BARGERSVILLE       IN     46106‐8902
JERRY PACKMAN      4054 JEANETTE DR SE                                                                              WARREN             OH     44484‐2767
JERRY PAGEL        300 S MILL ST                                                                                    ALBANY             WI     53502‐9560
JERRY PALADINO     25 ALTO AVE                                                                                      PORT CHESTER       NY     10573‐5301
JERRY PALEK        5401 E RANGER RD                                                                                 ASHLEY             MI     48806‐9708
JERRY PALMER       1385 BERINGER DR                                                                                 HOSCHTON           GA     30548‐3449
JERRY PALMER       1705 BITTERSWEET DR                                                                              ANDERSON           IN     46011‐9202
JERRY PANCZYSZYN   9631 WAGNER RD                                                                                   HOLLAND            NY     14080‐9767
JERRY PAQUETTE     4215 ROSEBERRY CT                                                                                WATERFORD          MI     48329‐4140
JERRY PARADISE     436 SHADOW LN                                                                                    MASON              MI     48854‐1157
JERRY PARDUE       9780 MAD RIVER RD                                                                                NEW VIENNA         OH     45159‐9211
JERRY PARKER       1570 EDENDALE RD                                                                                 DAYTON             OH     45432‐3644
JERRY PARKER       9131 HAZELTON                                                                                    REDFORD            MI     48239‐1181
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JERRY PARKS        978 RT503 NORTH                                                                             WEST ALEXANDRIA     OH 45381

JERRY PARKS        2976 N BOGAN RD                                                                             BUFORD             GA   30519‐3758
JERRY PARODO
JERRY PARRISH      807 W 54TH ST                                                                               MARION             IN   46953‐5727
JERRY PARSONS      34 MURRAY DR                                                                                CHOCTAW            OK   73020‐2453
JERRY PASCOE       2250 RIDGEMOOR CT                                                                           BURTON             MI   48509‐1391
JERRY PATAKI       319 S WALNUT                                                                                WESTVILLE          IL   61883‐1665
JERRY PATE         2603 CANNON ST                                                                              DANVILLE           IL   61832‐4213
JERRY PATLOW INC   29276 GERALDINE CT                                                                          FARMINGTON HILLS   MI   48336‐2101

JERRY PATRICK      1016 CUMBERLAND                                                                             DAYTON             OH   45406‐4932
JERRY PATRICK      12075 9 MILE RD                                                                             PLAINWELL          MI   49080‐8831
JERRY PATRICK      16590 WINTHROP ST                                                                           DETROIT            MI   48235‐3620
JERRY PATSEY       3250 E LANSING RD                                                                           BANCROFT           MI   48414‐9793
JERRY PATTERSON    2009 SUNSET DR                                                                              OKLAHOMA CITY      OK   73160‐3415
JERRY PATTERSON    3177 PRESCOTT DR                                                                            HOWELL             MI   48843‐6975
JERRY PATTERSON    22 TROTTERS RUN                                                                             BROWNSBURG         IN   46112‐8485
JERRY PATTERSON    13912 DEANNA DR                                                                             BELLEVILLE         MI   48111‐1077
JERRY PATTON       5508 BARTON LN                                                                              SHAWNEE            KS   66203‐2246
JERRY PAUL LANEY   FOSTER & SEAR, LLP              817 GREENVIEW DRIVE                                         GRAND PRAIRIE      TX   75050
JERRY PAULINE      59 REDHILL RD LEISURE KNOLL                                                                 LAKEHURST          NJ   08759
JERRY PAYNE        252 RAINBOW DR # 15207                                                                      LIVINGSTON         TX   77399‐2052
JERRY PEARCE       144 ELLER DR                                                                                BELLVILLE          OH   44813‐9012
JERRY PEARSON JR   61 N EDITH ST                                                                               PONTIAC            MI   48342‐2936
JERRY PECK         8712 BREEZE HILL DR                                                                         LAKE WALES         FL   33898‐7242
JERRY PENCE        1100 E ‐ 791 S CO RD                                                                        GREENTOWN          IN   46936
JERRY PENN         127 PALISADE LN                                                                             SHREVEPORT         LA   71115‐3248
JERRY PENNINGTON   5203 SCHAEFFER RD                                                                           IONIA              MI   48846‐8715
JERRY PENNYBAKER   42580 BUCKEYE RD                                                                            LISBON             OH   44432‐9666
JERRY PENROD       PO BOX 163                                                                                  MINEOLA            TX   75773‐0163
JERRY PERDUE       454 E PARK AVE                                                                              KANSAS CITY        MO   64119‐3363
JERRY PERKINS      7475 W BEARD RD                                                                             PERRY              MI   48872‐8145
JERRY PERKINS      4147 N HAVEN AVE                                                                            TOLEDO             OH   43612‐1736
JERRY PERKINS      4200 SHOREWOOD DRIVE                                                                        ARLINGTON          TX   76016‐5039
JERRY PERO         1913 CENTRAL VILLA CT                                                                       ESSEXVILLE         MI   48732‐1829
JERRY PERRY        188 HOT MIX RD                                                                              WEST LIBERTY       KY   41472‐8789
JERRY PETERS       3681 KINSINGER RD                                                                           HAMILTON           OH   45013‐9711
JERRY PETERS       317 COLUMBIA AVE                                                                            PERU               IN   46970‐1430
JERRY PETERS JR    23 TRAPPER WAY                                                                              BOWLING GREEN      KY   42103‐7035
JERRY PETERSEN     6230 COUNTRY PLACE DR SE                                                                    ALTO               MI   49302‐9557
JERRY PETERSON     3748 E GRATIOT RD                                                                           ELSIE              MI   48831‐9629
JERRY PETERSON     163 LESA LN                                                                                 STONEWALL          LA   71078‐4401
JERRY PETERSON     40 OVERLOOK DR                                                                              COVINGTON          GA   30016‐8809
JERRY PETRI        1028 ELMSHADE LN                                                                            NASHVILLE          TN   37211‐7420
JERRY PETRIE       26711 DOVER                                                                                 REDFORD            MI   48239‐1917
JERRY PETTREY      2017 WALMSLEY DR                EAST BURN ACRES                                             WILMINGTON         DE   19808‐4844
JERRY PFEIFER      3220 N STATE ROAD 267                                                                       BROWNSBURG         IN   46112‐8894
JERRY PHARES       5346 COPELAND AVE NW                                                                        WARREN             OH   44483‐1232
JERRY PHILLIPS     2428 SCENIC HWY S                                                                           SNELLVILLE         GA   30078‐3117
JERRY PHILLIPS     2773 RIVER BLUFF DR                                                                         SPRING VALLEY      OH   45370‐9703
JERRY PHILLIPS     866 HILLTOP DR                                                                              JACKSBORO          TN   37757‐2037
JERRY PHILLIPS     4089 MILL LAKE RD                                                                           LAKE ORION         MI   48360‐1542
JERRY PHILLIPS     3019 COUNTRY MEADOWS LN                                                                     MARYVILLE          TN   37803‐3061
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Name                          Address1                              Address2                       Address3   Address4               City             State   Zip
JERRY PHILLIPS                1909 CRAFT RD                                                                                          GRASS LAKE        MI     49240‐9132
JERRY PIAZZA                  6752 GARDEN DR                                                                                         MOUNT MORRIS      MI     48458‐2334
JERRY PIERCE                  54 MARCUS ST SW                                                                                        GRAND RAPIDS      MI     49548‐7811
JERRY PIERCE                  GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                     PITTSBURGH        PA     15219

JERRY PIERSON                 4784 KEMPF ST                                                                                          WATERFORD         MI     48329‐1808
JERRY PIETRZYK                3317 SPRING CT                                                                                         N TONAWANDA       NY     14120‐1256
JERRY PINKARD                 5577 ATKINSONVILLE RD                                                                                  POLAND            IN     47868‐7078
JERRY PITCHFORD               5382 GRAND RIVER AVE                                                                                   SARANAC           MI     48881‐9693
JERRY PITTMAN                 5030 STONEHENGE DR                                                                                     OAKLAND           MI     48306‐2652
                                                                                                                                     TOWNSHIP
JERRY PLUMLEE
JERRY PLUMMER                 1307 BELCHER DR                                                                                        TARPON SPRINGS    FL     34689‐2029
JERRY PLUMMER                 9246 W 8TH STREET RD                                                                                   ANDERSON          IN     46011‐9013
JERRY PLUNKETT                416 COUNTRY CLUB DR                                                                                    GADSDEN           AL     35901‐5861
JERRY PODGORNIAK              11742 LUTZ AVE                                                                                         WARREN            MI     48093‐1803
JERRY PODLESKI                1857 W TUPPER HEIGHTS DR                                                                               LAKE ODESSA       MI     48849‐9460
JERRY POELMAN                 5451 COTTONDALE ST SW                                                                                  WYOMING           MI     49519‐9634
JERRY POLING                  2071 MARBLE CT                                                                                         COMMERCE          MI     48390‐1522
                                                                                                                                     TOWNSHIP
JERRY POLSGROVE               169 WALLS RD                                                                                           SCOTTSBORO       AL      35769‐8859
JERRY POMEROY                 445 QUAIL TRL                                                                                          INDIAN RIVER     MI      49749‐9566
JERRY POOLE                   707 FALLS CREEK DR                                                                                     W MELBOURNE      FL      32904‐1814
JERRY POPER                   8415 CICERO RD                                                                                         HICKSVILLE       OH      43526‐9784
JERRY PORTER                  4424 S 300 E                                                                                           ANDERSON         IN      46017‐9508
JERRY POST                    2375 W CLARK R4                                                                                        LANSING          MI      48906
JERRY POTTS                   7190 N COUNTY ROAD 650 E                                                                               BROWNSBURG       IN      46112‐8803
JERRY POTTS                   3001 ROCK CREEK CT                                                                                     CROWLEY          TX      76036‐5306
JERRY POTTS CAR CARE CENTER   2420 SOUTHGATE BLVD                                                                                    MURFREESBORO     TN      37128‐5551
JERRY POWELL                  246 BIRDS LN                                                                                           COLLINS          GA      30421‐9308
JERRY POWERS                  4507 RAVENWOOD DR                                                                                      GRAND BLANC      MI      48439‐2419
JERRY PRATER                  1754 NINE MILE RIDGE RD                                                                                DUCK RIVER       TN      38454‐3400
JERRY PRATER                  3629 WINDY HILL DR                                                                                     GAINESVILLE      GA      30504‐5796
JERRY PRATT                   5427 DURFEE RD                                                                                         EATON RAPIDS     MI      48827‐8910
JERRY PRATT                   1814 ALCOVY RD                                                                                         LAWRENCEVILLE    GA      30045‐5118
JERRY PRESTON                 5718 COUNTRY LN                                                                                        YPSILANTI        MI      48197‐9387
JERRY PRESTON                 5372 MANDARIN CIR                                                                                      HIXSON           TN      37343‐6800
JERRY PRESTON                 330 AVON PKWY                                                                                          AVON             IN      46123‐9672
JERRY PRICE                   6429 IDA ST                                                                                            INDIANAPOLIS     IN      46241‐1020
JERRY PRICE                   5023 HUSSEY RD                                                                                         JAMESTOWN        OH      45335‐9510
JERRY PRICE                   2903 W 412 S                                                                                           MARION           IN      46953‐9740
JERRY PRICE                   4194 WHISPERING OAK DR                                                                                 FLINT            MI      48507‐5554
JERRY PRIDEMORE               517 N KINGSHIGHWAY ST                                                                                  PERRYVILLE       MO      63775‐1253
JERRY PRIEHS                  906 ROBINS RD                                                                                          LANSING          MI      48917‐2090
JERRY PRINCE                  5345 CLARE RD                                                                                          SHAWNEE          KS      66226‐2810
JERRY PRINCE                  110 VALLEY RD APT 2                                                                                    LOUISVILLE       KY      40204
JERRY PROKOP                  28442 BRENTWOOD ST                                                                                     SOUTHFIELD       MI      48076‐3004
JERRY PROVORSE                10571 MOONLIGHT BAY RD                                                                                 CHEBOYGAN        MI      49721‐8909
JERRY PROW                    2240 RIDGELAWN AVE                                                                                     YOUNGSTOWN       OH      44509‐2119
JERRY PRUCHA                  8565 ALBION RD                                                                                         N ROYALTON       OH      44133‐1728
JERRY PRUITT                  3921 ALODA ST                                                                                          INDIANAPOLIS     IN      46203‐3462
JERRY PRUITT                  5077 BELFORD RD                                                                                        HOLLY            MI      48442‐9439
JERRY PRZYBYLA                3752 WHITE LAKE HILLS DR                                                                               WHITE LAKE       MI      48383‐1771
JERRY PUDVAN                  115 E HAMPTON RD                                                                                       ESSEXVILLE       MI      48732‐9723
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Name                 Address1                       Address2                    Address3          Address4               City               State   Zip
JERRY PULLEN         PO BOX 832                                                                                          PRINCETON           TX     75407‐0832
JERRY PULLEY         106 ANGIE CT                                                                                        TROY                MO     63379‐2409
JERRY PULLINS        1709 MENIFEE                                                                                        ANDERSON            IN     46016
JERRY PUNTONIO       7 DELUCA RD                                                                                         MILFORD             MA     01757‐2206
JERRY PURCELL SR     3056 CARDINAL CIRCLE                                                                                DULUTH              GA     30096
JERRY PURKEY         3406 BARNACLE LN                                                                                    KITTY HAWK          NC     27949‐6025
JERRY QUICK          161 CIRCLE DR                                                                                       FRANKLIN            IN     46131‐1219
JERRY QUICK          28622 BIRCHLAWN ST                                                                                  GARDEN CITY         MI     48135‐2423
JERRY QUINCE         756 2ND AVE                                                                                         PONTIAC             MI     48340‐2837
JERRY QUINNELLY      665 SOUTHERN OAKS DR                                                                                FLORENCE            MS     39073‐9456
JERRY R ALLRED       2405 HEATHER DR                                                                                     BOWLING GREEN       KY     42104‐4537
JERRY R BRYAN        101 W FAIRMOUNT AVE                                                                                 PONTIAC             MI     48340‐2737
JERRY R COGGESHALL   3450 PEBBLE CREEK DRIVE                                                                             BEAVERCREEK         OH     45432
JERRY R COLE         31 N MICHIGAN RD                                                                                    EATON RAPIDS        MI     48827‐9226
JERRY R DEAN         9759 TALL TIMBER DR                                                                                 CINCINNATI          OH     45241‐1220
JERRY R HATFIELD     4000 SHAWNEE TR                                                                                     JAMESTOWN           OH     45335‐1148
JERRY R HATFIELD     4000 SHAWNEE TRL                                                                                    JAMESTOWN           OH     45335‐1148
JERRY R HENNEN       2627 CRESTWOOD DR NW                                                                                WARREN              OH     44485
JERRY R JAMES        C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                            HOUSTON             TX     77007
                     BOUNDAS LLP
JERRY R LEMMINGS     813 TIMBER RIDGE RD                                                                                 MIDWEST CITY       OK      73130‐4325
JERRY R MARSHALL     2095 VALLEY GREENE DR APT A                                                                         DAYTON             OH      45440‐3039
JERRY R MEYERS       112 MORGAN CT                                                                                       FRANKLIN           OH      45005‐1540
JERRY R PARDUE       9780 MAD RIVER RD                                                                                   NEW VIENNA         OH      45159‐‐ 92
JERRY R PARKER       2776 PHILLIPS RD                                                                                    LEBANON            OH      45036‐8768
JERRY R PHILLIPS     301 LANG CT                                                                                         UNION              OH      45322‐3332
JERRY R ROSAMOND     184 FERN VALLEY RD                                                                                  BRANDON            MS      39042
JERRY R THARP        8951 CLARK RD                                                                                       CLARKSTON          MI      48346‐1045
JERRY R YOUNG        50 CLEARBROOK DR                                                                                    FRANKLIN           OH      45005
JERRY R ZIMMERMAN    200 CRESTWOOD ST                                                                                    TILTON             IL      61833‐7525
JERRY RAINS          7326 KIMBERLY LN                                                                                    PLAINFIELD         IN      46168‐8460
JERRY RAINS          PO BOX 963                                                                                          FLEMING NEON       KY      41840‐0963
JERRY RAJSKI         760 CONVERY BLVD                                                                                    PERTH AMBOY        NJ      08861‐2527
JERRY RAMBO          50364 CARROLL RD                                                                                    E LIVERPOOL        OH      43920‐9515
JERRY RAMSDEN        2680 MIDDLEBURY LN                                                                                  BLOOMFIELD HILLS   MI      48301‐4164
JERRY RAMSEY         3683 E 103RD ST                                                                                     CLEVELAND          OH      44105‐2449
JERRY RANDOLPH       2904 NEBRASKA AVE                                                                                   TOLEDO             OH      43607‐3123
JERRY RASMUSSEN      3141 DANBURY DR W                                                                                   JANESVILLE         WI      53546‐8825
JERRY RAY            1132 VICKSBURG DR                                                                                   FESTUS             MO      63028‐3480
JERRY RAYHILL        919 W WARREN ST                                                                                     MITCHELL           IN      47446‐1336
JERRY RAYMOND        1123 1ST AVE                                                                                        LAKE ODESSA        MI      48849‐1116
JERRY REARDON SR     1808 FIELDCREST DR                                                                                  LAWRENCEBURG       IN      47025‐9380
JERRY RECTOR         101 LOUISE ST                                                                                       PENDLETON          IN      46064‐9113
JERRY REDDING        JERRY REDDING                  23141 ARROYO VISTA                                                   RANCHO SANTA       CA      92688
                                                                                                                         MARGARITA
JERRY REDFIELD       8384 MASON RD                                                                                       FOWLERVILLE        MI      48836‐9249
JERRY REDING         2313 NW CHATHAM PL                                                                                  BLUE SPRINGS       MO      64015‐2906
JERRY REED           1737 ACADEMY PL                                                                                     DAYTON             OH      45406‐4602
JERRY REED           7048 SHARP RD                                                                                       SWARTZ CREEK       MI      48473‐9428
JERRY REED           10477 FARRAND RD                                                                                    MONTROSE           MI      48457‐9733
JERRY REED SR        189 W STATE ST                                                                                      BARBERTON          OH      44203‐1581
JERRY REEDER         NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT    205 LINDA DRIVE                          DAINGERFIELD       TX      75638
JERRY REESE          15361 SEYMOUR RD                                                                                    LINDEN             MI      48451‐9742
JERRY REESING        824 COUNTY ROAD 4100                                                                                MERIDIAN           TX      76665‐2991
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Name                                Address1                       Address2                     Address3          Address4               City           State   Zip
JERRY REEVES                        3410 MAYNARD CIR                                                                                     GAINESVILLE     GA     30506‐3734
JERRY REEVES                        1683 N 500 E                                                                                         ANDERSON        IN     46012‐9435
JERRY REEVES                        177 STRONG RD                                                                                        NEWNAN          GA     30263‐7216
JERRY REEVES                        13096 KY 6                                                                                           CORBIN          KY     40701‐7554
JERRY REEVES                        14384 ROBSON RD                                                                                      BATH            MI     48808‐8758
JERRY REEVES                        6918 HIGHWAY 67                                                                                      CORNING         AR     72422‐7080
JERRY REHEARD                       625 SE 651 107                                                                                       KNOB NOSTER     MO     65336
JERRY REIDER                        1475 LAKEVIEW DR                                                                                     GLADWIN         MI     48624‐9670
JERRY REMUS CHEVROLET‐OLDSMOBILE‐CA 3701 S HIGHWAY 83                                                                                    NORTH PLATTE    NE     69101‐0935

JERRY REMUS CHEVROLET‐OLDSMOBILE‐   GERALD REMUS                   3701 S HIGHWAY 83                                                     NORTH PLATTE    NE     69101‐0935
CAD
JERRY REMUS CHEVROLET‐OLDSMOBILE‐   GERALD REMUS                   3701 S HIGHWAY 83                                                     NORTH PLATTE    NE     69101‐0935
CADILLAC, L.L.C.
JERRY REMUS CHEVROLET‐OLDSMOBILE‐   3701 S HIGHWAY 83                                                                                    NORTH PLATTE    NE     69101‐0935
CADILLAC, L.L.C.
JERRY RENFRO                        26657 SHIAWASSEE LN                                                                                  FLAT ROCK      MI      48134‐2818
JERRY RENFRO                        2373 COUNTY ROAD 129                                                                                 WATERLOO       AL      35677‐3657
JERRY RETCHER                       28071 HOFFMAN RD                                                                                     DEFIANCE       OH      43512‐8935
JERRY REYNOLDS                      5801 E COUNTY ROAD 1300 N                                                                            EATON          IN      47338‐8868
JERRY REYNOLDS                      24640 ORIOLE ST                                                                                      TAYLOR         MI      48180‐5143
JERRY REYNOLDS                      W9576 BLACK RIVER RD                                                                                 NAUBINWAY      MI      49762‐9705
JERRY REYNOLDS                      1755 VERONA CANEY RD                                                                                 LEWISBURG      TN      37091‐6403
JERRY RHEA                          118 JACKSON ST                                                                                       SPRING HILL    TN      37174‐2646
JERRY RHODES                        18641 STATE ROUTE 644                                                                                SALINEVILLE    OH      43945‐9797
JERRY RHODES                        4032 GLEN MEADOW DR                                                                                  NORCROSS       GA      30092‐1938
JERRY RICE                          182 SHADOW POINTE DR                                                                                 WENTZVILLE     MO      63385‐3689
JERRY RICH                          834 OLD ORCHARD RD                                                                                   ANDERSON       IN      46011‐2415
JERRY RICHARDS                      917 STANWOOD DR                                                                                      LEBANON        OH      45036‐1367
JERRY RICHARDSON                    1033 COUNTY ROAD 910                                                                                 JOSHUA         TX      76058‐4663
JERRY RICHARDSON                    HC 67 BOX 234                                                                                        CANADIAN       OK      74425‐9711
JERRY RICHARDSON                    JERRY RICHARDSON               545 N 25 MILE AVE                                                     HEREFORD       TX      79045‐3003
JERRY RILEY                         4261 W WHITELAND RD                                                                                  BARGERSVILLE   IN      46106‐9075
JERRY RILEY                         10864 W 100 N                                                                                        KOKOMO         IN      46901‐8669
JERRY RILEY                         2925 GREYBERRY DR APT 107                                                                            WATERFORD      MI      48328‐4426
JERRY RILEY JR                      83 EAGLE STREET                                                                                      LYNDONVILLE    NY      14098
JERRY RINGHISER                     2324 MCDONALD RD SW                                                                                  LANCASTER      OH      43130‐9614
JERRY RIPLEY                        200 MANCHESTER BOX 175                                                                               DEWITT         MI      48820
JERRY RIPPLE                        1509 MARY AVE                                                                                        LANSING        MI      48910‐5208
JERRY RITCHIE                       4478 VAN SLYKE                                                                                       FLINT          MI      48507
JERRY ROBBINS                       202 EAST ST                                                                                          THREE RIVERS   MI      49093‐1502
JERRY ROBERSON                      1016 TANNER RD                                                                                       DANVILLE       AL      35619‐6842
JERRY ROBERT BJORKLAND              NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD   TX      75638
JERRY ROBERTS                       BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS     OH      44236
JERRY ROBERTS                       2170 ALTA WEST RD                                                                                    MANSFIELD      OH      44903‐9299
JERRY ROBERTS                       7658 WILLOWBROOK CIR                                                                                 MANCELONA      MI      49659‐9479
JERRY ROBERTS                       8166 N LINDEN RD                                                                                     MOUNT MORRIS   MI      48458‐9488
JERRY ROBERTS                       10674 N ANN ARBOR RD                                                                                 MILAN          MI      48160‐9275
JERRY ROBERTS                       24862 COUNTY ROAD 460                                                                                TRINITY        AL      35673‐5274
JERRY ROBINETT                      2132 PANSY RD                                                                                        CLARKSVILLE    OH      45113‐9749
JERRY ROBINS                        5218 SPRING AVE                                                                                      KANSAS CITY    MO      64133‐2669
JERRY ROBINSON                      9201 OWINGS CHOICE CT                                                                                OWINGS MILLS   MD      21117‐6322
JERRY ROBINSON                      2920 CAMARY PLACE DR SE                                                                              CONYERS        GA      30094‐3885
JERRY ROBINSON                      1415 OAK LEAF DR                                                                                     COLUMBIA       TN      38401‐8802
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Name                         Address1                       Address2                     Address3   Address4               City             State Zip
JERRY ROBINSON               #1                             90 LEONARD STREET                                              BUFFALO           NY 14215‐2316
JERRY ROBINSON               3900 BLUEHILL ST                                                                              DETROIT           MI 48224‐2232
JERRY ROBISHAW               500 SKY RIDGE CT                                                                              SAINT AUGUSTINE   FL 32092‐3771
JERRY ROBISON                1510 LINDEN RD                                                                                PRESCOTT          AZ 86303‐4937
JERRY RODEN                  336 MITCHELL DR                                                                               WILMINGTON        DE 19808‐1337
JERRY RODENBERG              4024 CAVALRY DR                                                                               PLANO             TX 75023‐4808
JERRY RODGERS                6110 THOMAS ST                                                                                DAVISON           MI 48423‐8907
JERRY RODGERS                10422 S EMERALD AVE                                                                           CHICAGO            IL 60628‐2302
JERRY ROEBUCK                4178 THOMPSON MILL RD                                                                         BUFORD            GA 30519‐3738
JERRY ROEHER                 7511 PIONEER TRL                                                                              PRESQUE ISLE      MI 49777‐8325
JERRY ROETHLISBERGER         8300 GERA RD                                                                                  BIRCH RUN         MI 48415‐9220
JERRY ROGERS                 6021 DRYDEN RD                                                                                DRYDEN            MI 48428‐9764
JERRY ROGERS                 522 SUNNYSLOPE DR                                                                             FLUSHING          MI 48433‐2154
JERRY ROGERS                 3315 WARREN SHARON RD                                                                         VIENNA            OH 44473‐9508
JERRY ROGERS                 136 COOLEY AVE                                                                                PONCA CITY        OK 74601‐3401
JERRY ROLING MOTORS, INC.    BRADLEY ROLING                 1505 4TH ST SW                                                 WAVERLY            IA 50677‐4328
JERRY ROLING MOTORS, INC.    1505 4TH ST SW                                                                                WAVERLY            IA 50677‐4328
JERRY ROLLINS                THE MADEKSHO LAW FIRM          8866 GULF FREEWAY STE 440                                      HOUSTON           TX 77017
JERRY ROMANO                 9775 RATTALEE LAKE RD                                                                         CLARKSTON         MI 48348‐1535
JERRY ROMESBURG              1956 SOMERSET MANOR DR                                                                        WENTZVILLE        MO 63385‐3166
JERRY ROONEY                 2212 E LAKE RD                                                                                CLIO              MI 48420‐9175
JERRY ROOPER                 104 LAFAYETTE DR                                                                              HURRICANE         WV 25526‐9244
JERRY ROOT                   4112 E SAINT ANDREWS RD                                                                       MIDLAND           MI 48642‐6153
JERRY ROSAMOND               184 FERN VALLEY RD                                                                            BRANDON           MS 39042‐1926
JERRY ROSE                   4880 RIVER RD                                                                                 HOUGHTON LAKE     MI 48629‐9675
JERRY ROSENSTEEL             BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH 44236
JERRY ROSS                   116 HUNTERS GLEN DR                                                                           COLUMBIA          TN 38401‐5292
JERRY ROSS                   9209 CALKINS RD                                                                               FLINT             MI 48532‐5530
JERRY ROSSER                 610 COLLIER RD                                                                                PONTIAC           MI 48340‐1310
JERRY ROTH                   252 W MORRISON ST                                                                             FRANKFORT         IN 46041‐1662
JERRY ROTH                   417 AUTUMNWIND DR                                                                             LEBANON           OH 45036‐7748
JERRY ROTH CHEVROLET, INC.   8351 PARKWAY DR                                                                               LONE TREE         CO 80124‐2850
JERRY ROUDEBUSH              13994 BENTON RD                                                                               GRAND LEDGE       MI 48837‐9764
JERRY ROUSSELLE              2315 MATTHEW CT                                                                               MONROE            GA 30655‐8466
JERRY ROWELL                 11393 WILLARD RD                                                                              MONTROSE          MI 48457‐9445
JERRY ROWETON                11244 TECUMSEH PATH                                                                           LAKEVIEW          OH 43331‐9247
JERRY ROWLAND                18827 SANDHURST DR                                                                            CLINTON TOWNSHIP MI 48038‐4980

JERRY ROWLETT                3403 FIELDCREST DR                                                                            BOWLING GREEN     KY   42104‐0205
JERRY ROYAL                  1912 E 28 RD                                                                                  CADILLAC          MI   49601‐9163
JERRY ROYAL                  8210 EDDINGTON DR                                                                             MACHESNEY PK      IL   61115‐7908
JERRY ROYSTON                9745 VALLEY HWY                                                                               VERMONTVILLE      MI   49096‐9509
JERRY RUDOLPH                13545 KENTUCKY ST                                                                             DETROIT           MI   48238‐2311
JERRY RUDOWYJ                7377 WOODS CT                                                                                 W BLOOMFIELD      MI   48322‐3135
JERRY RUEHLE                 4200 PRIMERO DR                                                                               BULLHEAD CITY     AZ   86429‐7774
JERRY RUFFIN                 4005 ORKNEY AVE                                                                               ORLANDO           FL   32809‐4534
JERRY RUNYAN                 2113 BELLAIRE DR                                                                              MOORE             OK   73160‐4206
JERRY RUNYON                 PO BOX 321184                                                                                 FLINT             MI   48532‐0021
JERRY RUPPEL                 3145 WEIGL RD                                                                                 SAGINAW           MI   48609‐9791
JERRY RUSOW                  RR 2 BOX 175                                                                                  ADRIAN            MO   64720
JERRY RUSSELL                693 FLORAL AVE                                                                                TROY              OH   45373‐4215
JERRY RUSSELL                121 MOORE ST                                                                                  JACKSON           MI   49203‐3274
JERRY RUSSO                  750 BASELINE RD                                                                               GRAND ISLAND      NY   14072‐2506
JERRY RUSTAD                 6191 BERKELEY ST                                                                              ENGLEWOOD         FL   34224‐9453
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Name                           Address1                         Address2                     Address3   Address4               City            State   Zip
JERRY S CRAIG                  1463 GAGE RD                                                                                    TOLEDO           OH     43612‐4021
JERRY S CRAIG                  ATTN: JERRY S CRAIG              1463 GAGE RD                                                   TOLEDO           OH     43612‐4021
JERRY S HAWES                  1701 PARKHILL DRIVE                                                                             DAYTON           OH     45406‐4025
JERRY S RICKETTS               1212 FUDGE DR                                                                                   BEAVERCREEK      OH     45434
JERRY SADLER                   2761 GAINESBORO GRADE                                                                           COOKEVILLE       TN     38501‐7746
JERRY SAGADY                   11265 KATRINE HILLS DR.                                                                         FENTON           MI     48430
JERRY SAGE                     12 CARMICHAEL PL                                                                                KETTERING        OH     45420‐2908
JERRY SAGEMAN                  5390 SANDY LN                                                                                   COLUMBIAVILLE    MI     48421‐8702
JERRY SAGGESE                  43 COLTON RD                                                                                    MAHOPAC          NY     10541‐1925
JERRY SAKACH                   BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH     44236
JERRY SALMON                   516 MILLER AVE                                                                                  JANESVILLE       WI     53548‐2709
JERRY SALYER                   PO BOX 374                                                                                      WELLINGTON       MO     64097‐0374
JERRY SALYERS                  PO BOX 631                                                                                      FORT RECOVERY    OH     45846‐0631
JERRY SAMPLES                  2126 BRADY AVE                                                                                  BURTON           MI     48529‐2425
JERRY SAMS                     1676 NORDEN RD                                                                                  RIVERDALE        GA     30296‐2519
JERRY SAMS                     2827 CATERHAM DR                                                                                WATERFORD        MI     48329‐2617
JERRY SAMSON                   501 E GRAND RIVER AVE                                                                           WILLIAMSTON      MI     48895‐1531
JERRY SAMUEL L SR (337503)     ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                     BALTIMORE        MD     21202
                                                                CHARLES CENTER 22ND FLOOR
JERRY SANADA & NICOLE SANADA   4213 PERSIMMON ST                                                                               MOORPARK        CA      93021
JERRY SANBORN                  2025 ELWOOD BLVD                                                                                SPRING ARBOR    MI      49283‐9682
JERRY SANDERS                  1107 10TH AVE                                                                                   CONWAY          SC      29526‐3503
JERRY SANDERS                  THA MADEKSHO LAW FIRM            8866 GULF FREEWAY STE 440                                      HOUSTON         TX      77017
JERRY SANDERS, JR.             312 BEARDSLEY RD                                                                                DAYTON          OH      45426
JERRY SANLOR                   6817 SYRACUSE ST                                                                                TAYLOR          MI      48180‐1717
JERRY SANTOS                   1723 SUNSHINE LN LOT 75                                                                         DEFIANCE        OH      43512
JERRY SASS                     213 CEDAR DR                                                                                    WEST MILTON     OH      45383‐1210
JERRY SAUCERMAN                6368 N BRUMMETT RD                                                                              QUINCY          IN      47456‐9451
JERRY SAUER                    4404 ALICENT CT                                                                                 LOUISVILLE      KY      40207‐2830
JERRY SAVAGE                   4805 NW 57TH PL                                                                                 KANSAS CITY     MO      64151‐2699
JERRY SAWYER                   PO BOX 558                       P O BOX 558                                                    TAYLOR          AR      71861‐0558
JERRY SAXION                   8260 STATE ROUTE 46                                                                             CORTLAND        OH      44410‐9671
JERRY SAYLOR                   1339 BRADY AVENUE                                                                               BURTON          MI      48529‐2007
JERRY SCALF                    5120 FISHBURG RD                                                                                HUBER HEIGHTS   OH      45424‐4346
JERRY SCARBOROUGH              2964 LANE ST                                                                                    KANNAPOLIS      NC      28083‐9224
JERRY SCATES                   11877 RITCHIE AVE NE                                                                            CEDAR SPRINGS   MI      49319‐9400
JERRY SCHAEFER                 425 DAWNVIEW AVE                                                                                DAYTON          OH      45431‐1806
JERRY SCHAFER                  2635 LONE RD                                                                                    FREELAND        MI      48623‐7802
JERRY SCHERER                  29900 E ALLEY RD                                                                                LEES SUMMIT     MO      64086‐9575
JERRY SCHIELTZ                 229 TETBURY RD                                                                                  TROY            OH      45373‐2663
JERRY SCHILT                   9638 TAFT RD                                                                                    PLAINFIELD      WI      54966‐9422
JERRY SCHLEEF                  7541 CHESTNUT RIDGE RD                                                                          LOCKPORT        NY      14094‐3527
JERRY SCHLITER                 2247 EAST M30                                                                                   ALGER           MI      48610
JERRY SCHMIDT                  PO BOX 845                                                                                      BOYNE CITY      MI      49712‐0845
JERRY SCHMITT                  2120 JEFFERSON ST                                                                               ANDERSON        IN      46016‐4558
JERRY SCHMOLITZ                3530 WESTVIEW DR                                                                                SAGINAW         MI      48602‐3332
JERRY SCHMUTZLER               12369 COUNTY ROAD 447                                                                           SAINT JOSEPH    MO      64505‐3777
JERRY SCHOEFF                  1701 N AULT AVE                                                                                 MUNCIE          IN      47303‐2507
JERRY SCHOENHERR               3624 CLERMONT AVE                                                                               FORT WAYNE      IN      46806‐5002
JERRY SCHOENHERR               4341 COUNTY ROAD 68                                                                             AUBURN          IN      46706‐9639
JERRY SCHOOLEY                 6275 WILLIAMS LAKE RD                                                                           WATERFORD       MI      48329‐3062
JERRY SCHRAM                   4909 GEORGIA DR                                                                                 ORION           MI      48359‐2130
JERRY SCHULTZ                  78 DAKOTA TR                                                                                    BROWNS MILLS    NJ      08015
JERRY SCHWARTZ                 6087 AARON LN                                                                                   HUBER HEIGHTS   OH      45424‐3652
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Name                                   Address1                             Address2                      Address3   Address4               City              State   Zip
JERRY SCHWARTZ                         6087 AARON LANE                                                                                      HUBER HEIGHTS      OH     45424‐3652
JERRY SCORDO                           5108 PEMBROKE AVE                                                                                    BALTIMORE          MD     21206‐5044
JERRY SCOTT                            3117 AUSTINTOWN WARREN RD                                                                            MINERAL RIDGE      OH     44440‐9786
JERRY SCOTT                            166 W RIVER RD                                                                                       NEWTON FALLS       OH     44444‐9401
JERRY SCOTT                            2500 S PRIESTFORD RD                                                                                 YORKTOWN           IN     47396‐9727
JERRY SCOTT                            128 E SOUTH B ST                                                                                     GAS CITY           IN     46933‐1713
JERRY SCOTT                            5365 GREENSWARD LN                                                                                   INDIANAPOLIS       IN     46224‐7121
JERRY SCOTT                            33907 CHERYL ST                                                                                      CLINTON TWP        MI     48035‐3941
JERRY SCRIVNER                         PO BOX 443                                                                                           WASHINGTON         OK     73093‐0443
JERRY SEABOLT                          211 BUENA VISTA DR                                                                                   COLUMBIA           TN     38401‐4611
JERRY SEIBOLD
JERRY SEIDLE                           266 WOODSFERRY RD                                                                                    BEDFORD            IN     47421‐8368
JERRY SEINER BUICK‐GMC TRUCK, INC.     GERALD SEINER                        10487 S JORDAN GTWY                                             SOUTH JORDAN       UT     84095‐3915
JERRY SEINER BUICK‐GMC TRUCK, INC.     GERALD J. SEINER                     266 WEST 10600 SOUTH STREET                                     SOUTH JORDAN       UT
JERRY SEINER BUICK‐GMC TRUCK‐NISSAN,   DOROTHY C. PLESHE, COO AND GENERAL   1530 S 500 W                                                    SALT LAKE CITY     UT     84115‐5104
INC.                                   COUNSEL
JERRY SEINER BUICK‐GMC‐NISSAN, INC.    GERALD SEINER                        957 N 400 E                                                     NORTH SALT LAKE    UT     84054‐1905

JERRY SEINER BUICK‐PONTIAC‐GMC         GERALD SEINER                        10487 S JORDAN GTWY                                             SOUTH JORDAN       UT     84095‐3915
JERRY SEINER BUICK‐PONTIAC‐GMC         10487 S JORDAN GTWY                                                                                  SOUTH JORDAN       UT     84095‐3915
JERRY SEINER BUICK‐PONTIAC‐GMC         957 N 400 E                                                                                          NORTH SALT LAKE    UT     84054‐1905
JERRY SEINER BUICK‐PONTIAC‐GMC, INC    957 N 400 E                                                                                          NORTH SALT LAKE    UT     84054‐1905

JERRY SEINER BUICK‐PONTIAC‐GMC, INC.   GERALD SEINER                        957 N 400 E                                                     NORTH SALT LAKE    UT     84054‐1905

JERRY SEINER BUICK‐PONTIAC‐GMC, INC.   957 N 400 E                                                                                          NORTH SALT LAKE    UT     84054‐1905

JERRY SEINER CHEV‐OLDS‐CAD                                                                                                                  SALT LAKE CITY     UT     84119
JERRY SEINER CHEV‐OLDS‐CAD          730 W 2100 S                                                                                            SALT LAKE CITY     UT     84119‐1526
JERRY SEINER CHEVROLET, INC.        ATTN: JERALD J. SEINER                  730 W 2100 S                                                    SALT LAKE CITY     UT     84119‐1526
JERRY SEINER CHEVROLET, INC.        GERALD SEINER                           1530 S 500 W                                                    SALT LAKE CITY     UT     84115‐5104
JERRY SEINER CHEVROLET, INC.        ATTN: GERALD J. SEINER                  730 W 2100 S                                                    SALT LAKE CITY     UT     84119‐1526
JERRY SEINER CHEVROLET‐HUMMER‐CADIL 1530 S 500 W                                                                                            SALT LAKE CITY     UT     84115‐5104

JERRY SEINER CHEVROLET‐HUMMER‐      1530 S 500 W                                                                                            SALT LAKE CITY     UT     84115‐5104
CADILLAC
JERRY SEINER DEALERSHIPS            1530 S 500 W                                                                                            SALT LAKE CITY     UT     84115‐5104
JERRY SEINER HUMMER OF SOUTH JORDAN 10487 S JORDAN GTWY                                                                                     SOUTH JORDAN       UT     84095‐3915

JERRY SELF                             6289 COUNTY ROAD 436                                                                                 WATER VALLEY      MS      38965‐3355
JERRY SELF                             644 TIPPY DAM RD                                                                                     WELLSTON          MI      49689‐9527
JERRY SENIURA                          4321 BARNES RD                                                                                       MILLINGTON        MI      48746‐9065
JERRY SENKERIK                         2329 GUNDERSON AVE                                                                                   BERWYN            IL      60402‐2471
JERRY SERDA                            6250 COUNTY ROAD 2                                                                                   SWANTON           OH      43558‐9807
JERRY SEYMOUR                          1716 PERGOLA AVE                                                                                     TRAVERSE CITY     MI      49686‐8908
JERRY SEYMOUR                          PO BOX 367                                                                                           HOLDER            FL      34445
JERRY SHAFFER                          3886 ROAD 193                                                                                        GROVER HILL       OH      45849‐9650
JERRY SHANN                            3208 HIDDEN RD                                                                                       BAY CITY          MI      48706‐1207
JERRY SHARETTE                         1266 WELLS RD                                                                                        ALLEGAN           MI      49010‐9043
JERRY SHARP                            808 53RD AVE E 120‐K                 PALM LAKE ESTATES                                               BRADENTON         FL      34203
JERRY SHAUL                            5655 S ROWENA CT                                                                                     PENDLETON         IN      46064‐9591
JERRY SHAW                             3728 ROBINSON DR                                                                                     OAKWOOD           GA      30566‐3407
JERRY SHAW                             1407 E 19TH ST                                                                                       BIG SPRING        TX      79720‐5822
JERRY SHAW                             3101 E BIRCH DR                                                                                      BAY CITY          MI      48706‐1201
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Name                  Address1                       Address2            Address3         Address4               City            State   Zip
JERRY SHAW            6185 HANCOCK DR                                                                            BELLEVILLE       MI     48111‐1024
JERRY SHAW            3828 RUSHMORE ST                                                                           SHREVEPORT       LA     71119‐6314
JERRY SHEAHAN         332 PINEHURST DR                                                                           CANTON           MI     48188‐3076
JERRY SHEETS          3059 MULLIGANS BLUFF RD                                                                    NEY              OH     43549‐9755
JERRY SHEGITZ         4420 N VASSAR RD                                                                           FLINT            MI     48506‐1743
JERRY SHELDON         3703 PINOAK ST                                                                             CLARKSTON        MI     48348‐1381
JERRY SHELTON         10080 E 500 S                                                                              UPLAND           IN     46989‐9434
JERRY SHEPARD         5800 PADDINGTON RD                                                                         DAYTON           OH     45459‐1751
JERRY SHEPPARD        2025 FOX HILL DR APT 1                                                                     GRAND BLANC      MI     48439‐5234
JERRY SHEPPARD        15715 BELLFLOWER ST                                                                        BOKEELIA         FL     33922‐3828
JERRY SHERE           1728 W RUGBY RD                                                                            JANESVILLE       WI     53545‐1920
JERRY SHERMAN         PO BOX 306                                                                                 PHILLIPSBURG     OH     45354‐0306
JERRY SHERRITZE       8514 W DELPHI PIKE                                                                         CONVERSE         IN     46919‐9314
JERRY SHERWOOD        1281 S SAINT CLAIR RD                                                                      SAINT JOHNS      MI     48879‐9011
JERRY SHERWOOD        4979 WOODVIEW DR NE                                                                        ROCKFORD         MI     49341‐9755
JERRY SHIELDS         3448 TURTLE SHELL DR                                                                       DAYTON           OH     45414‐1744
JERRY SHINGLEDECKER   PO BOX 171                                                                                 SOLON SPRINGS    WI     54873‐0171
JERRY SHIPMAN         PO BOX 460                                                                                 WASKOM           TX     75692‐0460
JERRY SHOCKLEY        21847 MARIES RD #313                                                                       BELLE            MO     65013
JERRY SHOEMAKER       7542 VANESSA DR                                                                            PUEBLO           CO     81005‐9796
JERRY SHOLTEY         6106 SHARP RD                                                                              SWARTZ CREEK     MI     48473‐9462
JERRY SHOOK           1907 E 23RD ST                                                                             MUNCIE           IN     47302‐5966
JERRY SHOP INC        28 N SAGINAW ST # 101                                                                      PONTIAC          MI     48342‐2134
JERRY SHORNA          10127 W CONCHO CIR                                                                         SUN CITY         AZ     85373‐1139
JERRY SHORT           907 HALE RD                                                                                WILMINGTON       OH     45177‐7668
JERRY SHORT           419 SW 725TH RD                                                                            CHILHOWEE        MO     64733‐9229
JERRY SHORT           57 ALPINE RIDGE LN                                                                         BENNINGTON       KS     67422‐9070
JERRY SHOWALTER       1940 S 925 E                                                                               ZIONSVILLE       IN     46077‐9542
JERRY SHRIEVES        723 SHENANDOAH DR                                                                          COLUMBIA         TN     38401‐6120
JERRY SHUMAN          100 E 7TH ST APT A                                                                         TILTON            IL    61833‐7841
JERRY SHUMPERT        8018 CLUB POINT DR                                                                         HUMBLE           TX     77346‐1603
JERRY SIDLAR          3176 PRESCOTT DR                                                                           HOWELL           MI     48843‐6975
JERRY SILVEY          4619 COUNTY ROAD DD                                                                        ORLAND           CA     95963‐9335
JERRY SIMISON         711 W TYLER ST                                                                             ALEXANDRIA       IN     46001‐8111
JERRY SIMMONDS        10467 DODGE RD                                                                             OTISVILLE        MI     48463‐9766
JERRY SIMMONS         7520 S WABASH AVE                                                                          CHICAGO           IL    60619‐1608
JERRY SIMPSON         1410 ASHLAND ST                                                                            DETROIT          MI     48215‐2857
JERRY SINGLETON       PO BOX 745                                                                                 MCKEESPORT       PA     15134‐0745
JERRY SINGLETON       14629 TALBOT DR                                                                            WARREN           MI     48088‐3824
JERRY SINGLETON       2702 NW 4TH STREET TER                                                                     BLUE SPRINGS     MO     64014‐1223
JERRY SISCO           2825 SHETTERLY LN                                                                          DAYTON           OH     45440‐2228
JERRY SISCO           2825 SHETTERLY LN                                                                          DAYTON           OH     45440‐2228
JERRY SISKO           29779 TAMARACK DR                                                                          FLAT ROCK        MI     48134‐1324
JERRY SITZER          1179 MUELLER RD                                                                            O FALLON         MO     63366‐4727
JERRY SIZEMORE        10 COMPASS ROSE WAY                                                                        NEWARK           DE     19702‐1408
JERRY SIZEMORE        450 WOLF RD                                                                                W ALEXANDRIA     OH     45381‐9347
JERRY SKIDMORE        1103 MICHIGAN AVE E APT 1                                                                  BATTLE CREEK     MI     49014‐6807
JERRY SKILLMAN        2066 STONEHAVEN                                                                            NEW BRAUNFELS    TX     78130‐9415
JERRY SKINNER         G1179 E YALE AVE                                                                           FLINT            MI     48505
JERRY SKINNER         2741 DWIGHT AVE                                                                            DAYTON           OH     45420‐2605
JERRY SLATTON         7 KILDONAN LN                                                                              BELLA VISTA      AR     72715‐6003
JERRY SLEZYAK         507 RUSSELL AVE                                                                            NILES            OH     44446‐3733
JERRY SLOCUM          11765 GLENFIELD ST APT B2                                                                  DETROIT          MI     48213‐4103
JERRY SMITH           227 THEO AVE                                                                               LANSING          MI     48917‐2647
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Name                                  Address1                            Address2            Address3         Address4               City               State   Zip
JERRY SMITH                           6572 PAULINE DR                                                                                 BELLEVUE            MI     49021‐9490
JERRY SMITH                           2330 E LAKE RD                                                                                  CLIO                MI     48420‐9147
JERRY SMITH                           4400 EDGAR RD TRLR 8                                                                            LESLIE              MI     49251‐9201
JERRY SMITH                           5098 W STANLEY RD                                                                               MOUNT MORRIS        MI     48458‐9427
JERRY SMITH                           274 RESERVOIR AVE                                                                               WOONSOCKET           RI    02895‐6019
JERRY SMITH                           1580 PRATT LAKE RD                                                                              GLADWIN             MI     48624‐9621
JERRY SMITH                           1649 FOXMERE DR                                                                                 GREENWOOD           IN     46142‐4815
JERRY SMITH                           9517 MARTZ RD                                                                                   YPSILANTI           MI     48197‐9777
JERRY SMITH                           1502 N DETROIT ST                                                                               XENIA               OH     45385‐1220
JERRY SMITH                           17476 DEF HENRY CO LINE RD                                                                      NEW BAVARIA         OH     43548
JERRY SMITH                           6400 S BELL CREEK RD                                                                            MUNCIE              IN     47302‐8861
JERRY SMITH                           6762 N 725 E                                                                                    WILKINSON           IN     46186‐9749
JERRY SMITH                           644 DELBROOK DR                                                                                 NEW WHITELAND       IN     46184‐1371
JERRY SMITH                           PO BOX 73                                                                                       NEWTOWN             IN     47969‐0073
JERRY SMITH                           2920 WESTMOOR DR                                                                                KOKOMO              IN     46902‐3749
JERRY SMITH                           14428 HIGHWAY 18 E                                                                              NEWPORT             AR     72112‐9014
JERRY SMITH                           10273 MILLER DR                                                                                 KEITHVILLE          LA     71047‐8942
JERRY SMITH                           3652 OAK ST                                                                                     DULUTH              GA     30096‐2750
JERRY SMITH                           28690 SALEM MINOR HILL RD                                                                       LESTER              AL     35647‐3800
JERRY SMITH                           PO BOX 7                                                                                        PADEN               OK     74860‐0007
JERRY SMITH                           8713 LIBERTY BLVD                                                                               WESTLAND            MI     48185‐1735
JERRY SMITH                           4235 BROADWAY ST                                                                                INDIANAPOLIS        IN     46205‐1809
JERRY SMITH                           39275 LORIEN DR                                                                                 STERLING HEIGHTS    MI     48313‐5741
JERRY SMITH                           94 HOMEFIELD SQUARE DR                                                                          O FALLON            MO     63366‐4497
JERRY SMITH
JERRY SMITH                           PO BOX 326                                                                                      BYRON              MI      48418‐0326
JERRY SMITH                           3393 IVY HILL CIR UNIT B                                                                        CORTLAND           OH      44410‐9277
JERRY SMITH                           PO BOX 282                                                                                      ARRINGTON          TN      37014‐0282
JERRY SMITH & SONS CAR CARE CENTER    4773 STATE ROUTE 233                                                                            WESTMORELAND       NY      13490

JERRY SMITH CHEVROLET‐BUICK‐GEO       12484 RESERVATION RD                                                                            ANACORTES          WA      98221‐9302
JERRY SMITHEY                         8536 COUNTY ROAD 2580                                                                           ROYSE CITY         TX      75189‐4689
JERRY SMITHWICK                       4086 E FARRAND RD                                                                               CLIO               MI      48420‐9131
JERRY SMYTHE                          819 N GARFIELD AVE                                                                              JANESVILLE         WI      53545‐1842
JERRY SNIDER                          302 S STEWART ST                                                                                DANVILLE           IL      61832‐6647
JERRY SNIDER                          1508 QUAIL MEADOW DR                                                                            WYLIE              TX      75098‐7972
JERRY SNIPES                          6203 HIGHVIEW ST                                                                                DEARBORN HTS       MI      48127‐4801
JERRY SNOW                            389 RIVERVALE CABIN RD                                                                          BEDFORD            IN      47421‐7794
JERRY SNYDER                          PO BOX 232                                                                                      LAPEL              IN      46051‐0232
JERRY SNYDER                          8670 OAKES RD                                                                                   ARCANUM            OH      45304‐9610
JERRY SONG                            24525 SANDPIPER CT                                                                              NOVI               MI      48374‐2860
JERRY SONNENBERG                      4106 HEATHERMOOR DR                                                                             SAGINAW            MI      48603‐1183
JERRY SPADY PONTIAC‐CADILLAC, INC.    JERRY SPADY                         2750 OSBORNE DR E                                           HASTINGS           NE      68901‐2626
JERRY SPADY PONTIAC‐CADILLAC‐GMC‐JE   2750 OSBORNE DR E                                                                               HASTINGS           NE      68901‐2626

JERRY SPADY PONTIAC‐CADILLAC‐GMC‐     2750 OSBORNE DR E                                                                               HASTINGS            NE     68901‐2626
JEEP
JERRY SPANGLER                        55008 RED ARROW HWY                                                                             LAWRENCE           MI      49064‐9312
JERRY SPANN                           1061 WATKINS CREEK DR                                                                           FRANKLIN           TN      37067‐7830
JERRY SPARKS                          PO BOX 125                                                                                      MEROM              IN      47861‐0125
JERRY SPEARS                          7998 CROW RD                                                                                    LITCHFIELD         OH      44253‐9730
JERRY SPECK                           46 CANYON RD                                                                                    ARDMORE            OK      73401‐7143
JERRY SPECK                           178 HILLTOP RD                                                                                  MANSFIELD          OH      44906‐1350
JERRY SPEIDEL                         9600 W LONE BEECH DR                                                                            MUNCIE             IN      47304‐8932
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Name              Address1                        Address2                   Address3          Address4               City              State   Zip
JERRY SPEIKES     1507 W 7TH ST                                                                                       MARION             IN     46953‐1338
JERRY SPENCER     21001 N TATUM BLVD              STE 1630‐210                                                        PHOENIX            AZ     85050‐4242
JERRY SPERDUTO    28 F RIVERVIEW GARDEN TERRACE                                                                       NORTH ARLINGTON    NJ     07031

JERRY SPERLING    603 LEAF CHAPEL RD                                                                                  SWEETWATER        TN      37874
JERRY SPESSARD    4316 STATE HIGHWAY 199                                                                              ARDMORE           OK      73401‐0541
JERRY SPICER      6292 LEAWOOD DR                                                                                     HUBER HEIGHTS     OH      45424‐3039
JERRY SPICER      711 DELL AVE                                                                                        FLINT             MI      48507‐2825
JERRY SPILLERS    26231 WOODRIDGE DR                                                                                  WARRENTON         MO      63383‐6528
JERRY SPILLERS    35552 NILES BLVD                                                                                    FREMONT           CA      94536‐1554
JERRY SPRINGER    300 W ELM ST                                                                                        FARMLAND          IN      47340‐9114
JERRY SPRINGER    5509 LOVERS LN                                                                                      PORTAGE           MI      49002‐1681
JERRY SPRINKLE    2716 LINWOOD AVE                                                                                    ROYAL OAK         MI      48073‐4609
JERRY SQUARE SR   4490 COUNTY RD O NORTH                                                                              DELAVAN           WI      53115
JERRY SQUIRES     2568 JULIE DR                                                                                       COLUMBIAVILLE     MI      48421‐8911
JERRY STACY       7003 MAPLEWOOD DR                                                                                   TEMPERANCE        MI      48182‐1328
JERRY STAHL       902 CARROLL DR                                                                                      CLARE             MI      48617‐9015
JERRY STALEY      8366 PENDELL RD                                                                                     MIDDLETON         MI      48856‐9709
JERRY STALLARD    320 HAFELY DR                                                                                       LORAIN            OH      44052‐2338
JERRY STALNAKER   51 PAPERMILL RD                                                                                     ELKTON            MD      21921‐3518
JERRY STAMPS      814 SMITH BEND LN                                                                                   GAINESBORO        TN      38562‐5330
JERRY STANFIELD   14076 TUSCOLA RD                                                                                    CLIO              MI      48420‐8808
JERRY STANFILL    2338 MARLENE DR                                                                                     SWARTZ CREEK      MI      48473‐7918
JERRY STANFORD    1807 BAUSS CT                                                                                       MIDLAND           MI      48642‐4022
JERRY STANIS      303 ELEAN0R ST                                                                                      KINGSLAND         GA      31548
JERRY STAPLETON   6232 RENDON NEW HOPE RD                                                                             FORT WORTH        TX      76140‐8318
JERRY STEADMAN    26841 W DAVISON                                                                                     REDFORD           MI      48239‐2706
JERRY STEELE      PO BOX 695                                                                                          LITTLEFIELD       AZ      86432‐0695
JERRY STEELMAN    NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT   205 LINDA DR                             DAINGERFIELD      TX      75638
JERRY STEERMAN    1687 THATCHER RD                                                                                    MARTINSBURG       WV      25403‐8193
JERRY STEFANDEL   9119 W COUNTY ROAD 650 N                                                                            MIDDLETOWN        IN      47356‐9762
JERRY STEHLIK     8220 M‐21                                                                                           OVID              MI      48866
JERRY STELLE      NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                          DAINGERFIELD      TX      75638
JERRY STENDER     2076 ANN ARBOR DR                                                                                   PRUDENVILLE       MI      48651‐9513
JERRY STEPHENS    7372 W 800 S                                                                                        REDKEY            IN      47373‐9472
JERRY STEVENS     7209 COUNTY ROAD 421                                                                                MC MILLAN         MI      49853‐9220
JERRY STEWART     1945 OTTAWA DR APT 3                                                                                TOLEDO            OH      43606‐4332
JERRY STEWART     PO BOX 595                                                                                          SHELBYVILLE       IN      46176‐0595
JERRY STEWART     1205 ‐ 3020 COLQUITT RD                                                                             SHREVEPORT        LA      71118
JERRY STEWART     818 LEYENGH STREET                                                                                  MESQUITE          TX      75149
JERRY STINE       10497 S 700E ‐ 92                                                                                   ROANOKE           IN      46783
JERRY STIVEN      2920 N M 18                                                                                         ROSCOMMON         MI      48653‐8597
JERRY STIVEN      2920 MICHIGAN HWY M‐18                                                                              ROSCOMMON         MI      48653
JERRY STIVER      22345 CUTLER RD                                                                                     HOWARD CITY       MI      49329‐9123
JERRY STJAMES     11141 LENNON RD                                                                                     SWARTZ CREEK      MI      48473‐8508
JERRY STOCKMAN    4488 BOULDER WAY                                                                                    BRUNSWICK         OH      44212‐5527
JERRY STONE       PO BOX 396                      5349 M‐65                                                           HALE              MI      48739‐0396
JERRY STORY       28 HORSESHOW RD NW                                                                                  ADAIRSVILLE       GA      30103‐5324
JERRY STOVER      5252 MCEVER RD                                                                                      OAKWOOD           GA      30566‐3112
JERRY STOWE       331 D WILLIAMS RD                                                                                   MORTON            MS      39117‐9554
JERRY STRADER     2586 PEEBLES RD                                                                                     TROY              OH      45373‐8513
JERRY STRIEFF     5024 MILL CREEK TRL                                                                                 FORT WORTH        TX      76179‐5023
JERRY STRONG      3239 PARADISE AVE                                                                                   CANFIELD          OH      44406‐9199
JERRY STRYGULEC   193 PINEVIEW DR                                                                                     ALMA              MI      48801‐2156
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Name                Address1                         Address2            Address3         Address4               City           State   Zip
JERRY STRZEPEK      29 N LAUREL AVE                                                                              ISELIN          NJ     08830‐1509
JERRY STUCHLY       4711 BONNEVILLE DR                                                                           ARLINGTON       TX     76016‐1705
JERRY STUMP         404 BENDING BRANCH LN                                                                        MIAMISBURG      OH     45342‐7612
JERRY STURDIVANT    3729 HORSE MINT TRL                                                                          LEXINGTON       KY     40509‐2947
JERRY STYERS        2902 LINDA DR NW                                                                             WARREN          OH     44485‐2038
JERRY SUNDERMEYER   108 N HAVEN DR                                                                               FAIRBORN        OH     45324‐4316
JERRY SWANDER
JERRY SWARTZ        5702 WOLF CREEK HWY                                                                          ADRIAN         MI      49221‐9536
JERRY SWARTZ        MARCIA SWARTZ                    15 JAMES DR                                                 RICHBORO       PA      18954
JERRY SWINDALL      4345 BROKAW RD                                                                               BUTLER         OH      44822‐9737
JERRY SZAWRONSKYJ   34811 CARBON DR                                                                              STERLING HTS   MI      48312‐4935
JERRY T COPELAND    P.O. BOX 31672                                                                               DAYTON         OH      45437
JERRY T GOODRIDGE   591 WHARTON ST                                                                               YPSILANTI      MI      48198‐8014
JERRY T JONES       2920 N MAIN ST (1ST FLOOR)                                                                   DAYTON         OH      45405‐2808
JERRY T O SHEA      980 WILMINGTON AVE. APT 823                                                                  DAYTON         OH      45420‐1623
JERRY T PERO        1913 CENTRAL VILLA CT CT                                                                     ESSEXVILLE     MI      48732
JERRY T THARPE      36 W TENNYSON AVE                                                                            PONTIAC        MI      48340‐2668
JERRY T YOAKUM      20055 WACO CT                                                                                APPLE VALLEY   CA      92308‐6158
JERRY TACKETT       4405 JERMOORE RD                                                                             OBETZ          OH      43207‐4542
JERRY TACY          4713 STATE ROUTE 305                                                                         SOUTHINGTON    OH      44470‐9768
JERRY TADDEO        594 LONG POND RD                                                                             ROCHESTER      NY      14612‐3043
JERRY TAKACS        4730 PINECROFT CT                                                                            DAYTON         OH      45424‐1919
JERRY TALLENTIRE    240 1ST AVE                                                                                  GALION         OH      44833‐2834
JERRY TALLEY        812 WALNUT ST                                                                                FRANKLIN       KY      42134‐2441
JERRY TALLEY        345 MEADOW VIEW DR                                                                           POPLAR BLUFF   MO      63901‐8518
JERRY TALLEY        PO BOX 26                                                                                    WISNER         LA      71378‐0026
JERRY TANNER        1722 SKYLINE DR                                                                              GREENWOOD      IN      46143‐8579
JERRY TARRANT       14725 NICHOLS RD                                                                             BATH           MI      48808‐9717
JERRY TASSELLO      2703 MOUSETTE LN                                                                             CAHOKIA        IL      62206‐2705
JERRY TATE          3337 DREXEL DR                                                                               SAGINAW        MI      48601‐4513
JERRY TATE JR       PO BOX 14494                                                                                 SAGINAW        MI      48601‐0494
JERRY TAYLOR        305 NORVICH CT                                                                               FRANKLIN       TN      37069‐1845
JERRY TAYLOR        203 MAGNOLIA DR                                                                              FRANKLIN       TN      37064‐2435
JERRY TAYLOR        429 N DIVISION ST                                                                            BUFFALO        NY      14204‐1976
JERRY TAYLOR        26331 AUDREY AVE                                                                             WARREN         MI      48091‐4104
JERRY TAYLOR        214 RIDGECREST DR                                                                            DAYTON         OH      45449‐2238
JERRY TAYLOR        2718 SWAYZE ST                                                                               FLINT          MI      48503‐3357
JERRY TAYLOR        15484 TEALWOOD LN                                                                            FRISCO         TX      75035‐3602
JERRY TEDROW        50 N WALNUT ST                                                                               LONDON         OH      43140‐1218
JERRY TEEPLES       3335 IVORY RD                                                                                METAMORA       MI      48455‐9123
JERRY TEGETHOFF     8147 STUB HWY                                                                                EATON RAPIDS   MI      48827‐9319
JERRY TENPENNY      100 3RD ST                                                                                   FERRELVIEW     MO      64163‐1275
JERRY TERPENING     181 N BRADLEY RD                                                                             CHARLOTTE      MI      48813‐9551
JERRY TERRELL       17611 HIGHWAY F                                                                              HIGGINSVILLE   MO      64037‐8301
JERRY TESTA         PO BOX 41                                                                                    ROCKLAND       DE      19732‐0041
JERRY THACKER       4201 FREEDOM RD                                                                              SPENCER        IN      47460‐9004
JERRY THARP         8951 CLARK RD                                                                                CLARKSTON      MI      48346‐1045
JERRY THAUVETTE     253 STEPHANIE DR                                                                             WESTLAND       MI      48186‐3499
JERRY THELEN        4800 WESTVALE CIR                                                                            LANSING        MI      48917‐9224
JERRY THERIAULT     13629 HARBAUGH CHURCH RD                                                                     WAYNESBORO     PA      17268‐9493
JERRY THOMAS        6445 WEBB DR                                                                                 FLINT          MI      48506‐1744
JERRY THOMAS        3101 W BONAIRE AVE                                                                           MUNCIE         IN      47302‐9471
JERRY THOMAS        3619 MAIN ST                                                                                 ANDERSON       IN      46013‐4247
JERRY THOMAS        6059 MERIDIAN RD                                                                             LAINGSBURG     MI      48848‐9671
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Name               Address1                         Address2                     Address3   Address4               City              State   Zip
JERRY THOMAS       2936 GARFIELD AVE                                                                               KANSAS CITY        MO     64109‐1619
JERRY THOMAS       1928 PLUMB CREEK CIR                                                                            KNOXVILLE          TN     37932‐2049
JERRY THOMASON     14 LOST DUTCHMAN DR                                                                             SAINT PETERS       MO     63376‐2503
JERRY THOMPSON     4809 N MUELLER AVE                                                                              BETHANY            OK     73008‐2545
JERRY THOMPSON     2491 BRYONAIRE RD                                                                               MANSFIELD          OH     44903‐8714
JERRY THOMPSON     645 SEYE WAILO TRL                                                                              CLARKESVILLE       GA     30523‐2662
JERRY THOMPSON     14081 LAKESHORE DR                                                                              RUTLEDGE           TN     37861‐4969
JERRY THOMPSON     1057 SUMMERHILL DR                                                                              JANESVILLE         WI     53546‐3728
JERRY THOMPSON     1590 ELIZABETH LN                                                                               ESSEXVILLE         MI     48732‐9651
JERRY THOMPSON     3583 KELLY RD                                                                                   LA SALLE           MI     48145‐9671
JERRY THOMPSON     6915 SHERMAN ST                                                                                 ANDERSON           IN     46013‐3615
JERRY THOMPSON     5375 SNOW DEN TRL                                                                               COLUMBIAVILLE      MI     48421‐9173
JERRY THOMPSON     C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
JERRY THORNBURG    7720 E COUNTY ROAD 350 N                                                                        MUNCIE             IN     47303‐9139
JERRY THORNTON     PO BOX 204                                                                                      CLAWSON            MI     48017‐0204
JERRY THRASHER     1007 DANBURY LN SE                                                                              DECATUR            AL     35601‐3480
JERRY TIBBETT      3711 S 280 W                                                                                    KINGMAN            IN     47952‐8098
JERRY TICE         41 MIDFOREST LDG                                                                                PRUDENVILLE        MI     48651‐9501
JERRY TICKLE       2211 CLOVER PARK DR                                                                             ARLINGTON          TX     76013‐1435
JERRY TILLEY       336 GROVE ST                                                                                    EVANSVILLE         WI     53536‐1016
JERRY TILLEY       600 BROCKTON WAY                                                                                MELBOURNE          FL     32904‐7545
JERRY TIMMER       4048 CHESTER ST                                                                                 HUDSONVILLE        MI     49426‐9354
JERRY TIMMERMANN   18 W PARK DR                                                                                    O FALLON           MO     63366‐2974
JERRY TIMMONS      10001 S TWILIGHT RD                                                                             DALEVILLE          IN     47334‐9455
JERRY TINCH        713 W MARKET ST                                                                                 GERMANTOWN         OH     45327‐1230
JERRY TINDLE       PO BOX 94                                                                                       ROCKFIELD          KY     42274‐0094
JERRY TIPPETT      15688 MILLIMAN RD                                                                               ROCKWOOD           MI     48173‐9614
JERRY TIPPS        318 SHEFFIELD PL                                                                                FRANKLIN           TN     37067‐4452
JERRY TODD         507 OAK ST                                                                                      CLIO               MI     48420‐1255
JERRY TODD         4310 MCKINLEY AVE                                                                               ANDERSON           IN     46013‐5057
JERRY TODD         474 S CO RD 1280 W                                                                              RUSSIAVILLE        IN     46979
JERRY TOLBERT      51158 AMERICA                                                                                   BELLEVILLE         MI     48111‐4456
JERRY TOLBERT      7787 RUTLAND ST                                                                                 DETROIT            MI     48228‐3546
JERRY TOMLINSON    102 MCLAUGHLIN DR                                                                               UNION              OH     45322‐2930
JERRY TONG         400 HUNTERS GLEN CT                                                                             MOORE              OK     73160‐6739
JERRY TOOMBS       8562 W 775 S                                                                                    PENDLETON          IN     46064‐8948
JERRY TRAMMEL      1976 GRAY RD                                                                                    LAPEER             MI     48446‐9090
JERRY TRENT        35425 PHYLLIS ST                                                                                WAYNE              MI     48184‐2909
JERRY TRENT        258 GROGAN ST                                                                                   BOWLING GREEN      KY     42101‐0732
JERRY TREVILLIAN   6185 NORTH POND POINTE                                                                          GRAND BLANC        MI     48439
JERRY TRIBONA      408 JOSHUA LN                                                                                   MIDDLETOWN         DE     19709‐8006
JERRY TRICE        13934 CROSLEY                                                                                   REDFORD            MI     48239‐2825
JERRY TRIETSCH     813 HATTIE DR                                                                                   ANDERSON           IN     46013‐1633
JERRY TROTTER      121 WINSLOW LN                                                                                  CROSSVILLE         TN     38558‐8650
JERRY TROUT        1325 DAVIS ST                                                                                   POPLAR BLUFF       MO     63901‐3305
JERRY TROUT        8668 W 1600 N                                                                                   ELWOOD             IN     46036‐8793
JERRY TROUTT       11212 MORRISH RD                                                                                MONTROSE           MI     48457‐9140
JERRY TRUETT       4925 BURRUSS MILL RD                                                                            CUMMING            GA     30041‐8819
JERRY TRUSTY       910 WESTWIND SHORE DR                                                                           HOWELL             MI     48843‐6429
JERRY TUCKER       116 MATTIS DR                                                                                   LEWISBURG          OH     45338‐9200
JERRY TUCKER       11453 WING DR                                                                                   CLIO               MI     48420‐1528
JERRY TURLEY       12920 S LOWE AVE                                                                                CHICAGO             IL    60628‐7435
JERRY TURNER       46389 HULING ST                                                                                 SHELBY TOWNSHIP    MI     48317‐3915
JERRY TURNER       1713 CROOKS CT                                                                                  GRAND PRAIRIE      TX     75051‐4329
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Name                  Address1                       Address2                      Address3          Address4               City               State Zip
JERRY TURPIN          4109 LANDS END CT                                                                                     GRANBURY            TX 76048‐6112
JERRY TURZA           22023 INKSTER RD                                                                                      FARMINGTON HILLS    MI 48336‐6033

JERRY TYLER           9241 S YOUNG RD                                                                                       FALMOUTH           MI   49632‐9718
JERRY TYLER           21999 GENESIS CT                                                                                      WOODHAVEN          MI   48183‐5259
JERRY TYMCZYSZYN      56 BRANCH ST                                                                                          ROCHESTER          NY   14621‐5525
JERRY ULREY           2820 ROSEMARY ST                                                                                      SAGINAW            MI   48602‐3115
JERRY UNDERWOOD       435 CULP AVE                                                                                          HAYWARD            CA   94544‐2417
JERRY UNDERWOOD       8414 ILENE DR                                                                                         CLIO               MI   48420‐8552
JERRY UNGER           THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                                            HOUSTON            TX   77017
JERRY URBANEK         18303 WHITMORE DR                                                                                     CLINTON TWP        MI   48035‐5029
JERRY URSUY           9460 EAST RD                                                                                          BURT               MI   48417‐9786
JERRY USHER           6110 BUCKS XING                                                                                       MURRAYVILLE        GA   30564‐1439
JERRY V CAMPBELL      153 POPLAR ST                                                                                         WEST ELKTON        OH   45070
JERRY V FALKNER       333 TERRY AVE                                                                                         ROCHESTER          MI   48307‐1573
JERRY V KEPPERLING    2058 TRIUMPH DR                                                                                       FAIRBORN           OH   45324‐2535
JERRY VAGO            15559 OCEANA AVE                                                                                      ALLEN PARK         MI   48101‐1939
JERRY VALENTINE       4017 W STANLEY RD                                                                                     MOUNT MORRIS       MI   48458‐9480
JERRY VAN HORN        PO BOX 276                                                                                            SAINT HELEN        MI   48656‐0276
JERRY VAN STEE        4050 CEMETERY RD                                                                                      FOWLERVILLE        MI   48836‐8565
JERRY VAN VEELEN      PO BOX 519                                                                                            GAINES             MI   48436‐0519
JERRY VANCE           3449 JULIE LN                                                                                         INDIANAPOLIS       IN   46228‐2040
JERRY VANCONANT       8094 W R AVE                                                                                          KALAMAZOO          MI   49009‐8938
JERRY VANDENDRIES     3704 SUFFOLK CT                                                                                       FLUSHING           MI   48433‐3116
JERRY VANDER KODDE    22790 APSIHAPA LN                                                                                     AGUILAR            CO   81020‐9767
JERRY VANDERGRIFF     PO BOX 215                                                                                            ARCADIA            MO   63621‐0215
JERRY VANDERMILLION   9407 NW PLEASANT DR                                                                                   PARKVILLE          MO   64152‐2625
JERRY VANDIVER        235 HOPPER RD                                                                                         CLEVELAND          GA   30528‐5428
JERRY VANDIVER        2450 BARREN RIVER DAM RD                                                                              SCOTTSVILLE        KY   42164‐9281
JERRY VANNORTWICK     436 SENECA DR                                                                                         MONTPELIER         OH   43543‐9442
JERRY VANORDER        5328 SHERRY ST                                                                                        GLADWIN            MI   48624‐8983
JERRY VANOSDOL        398 E 400 N                                                                                           WINDFALL           IN   46076‐9427
JERRY VANWAGNER       4640 24TH ST                                                                                          DORR               MI   49323‐9727
JERRY VARNER          3312 HILLSIDE LN                                                                                      IRVING             TX   75062‐3281
JERRY VARNEY JR       205 SCOTT AVE # A              C/O ELSIE L VARNEY                                                     VANDALIA           OH   45377‐2417
JERRY VAUGHN          960 RUSTIC CT                                                                                         MONROE             OH   45050‐1621
JERRY VAUGHT          8552 GARDEN LN                                                                                        SEAFORD            DE   19973‐5806
JERRY VEILLEUX        3629 WESTPHAL RD                                                                                      HOWELL             MI   48843‐7835
JERRY VENSEL          NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT      205 LINDA DRIVE                          DAINGERFIELD       TX   75638
JERRY VER STEEGT      2104 CASEYVILLE AVE                                                                                   SWANSEA            IL   62226‐2104
JERRY VICK            33568 DUNCAN                                                                                          FRASER             MI   48026‐1961
JERRY VIDMAR          375 MCPHERSON ST                                                                                      MANSFIELD          OH   44903‐1032
JERRY VINES           6577 RUSTIC RIDGE TRL                                                                                 GRAND BLANC        MI   48439‐4954
JERRY VINSON          1207 SORREL LANE                                                                                      MILFORD            OH   45150‐2152
JERRY VINT            16 EQUENNES DR                                                                                        LITTLE ROCK        AR   72223‐9166
JERRY VINYARD         52436 TEN POINT DR                                                                                    MACOMB             MI   48042‐3473
JERRY VISNAW          10210 E RICHFIELD RD                                                                                  DAVISON            MI   48423‐8441
JERRY VOGT            4096 BUSHNELL CAMPBELL RD                                                                             FOWLER             OH   44418‐9764
JERRY VOLLENHALS      410 N CANAL ST                                                                                        ALEXANDRIA         IN   46001‐1533
JERRY VONMOSS         NIX, PATTERSON & ROACH, LLP    GM BANKRUPTCY DEPARTMENT      205 LINDA DRIVE                          DAINGERFIELD       TX   75638
JERRY VOYLE           9382 BEARD RD                                                                                         BYRON              MI   48418‐9732
JERRY W ADCOX         4836 UPPER VALLEY RD                                                                                  DAYTON             OH   45424‐1784
JERRY W BAKER         976 OTTAWA AVE                                                                                        YPSILANTI          MI   48198‐6136
JERRY W BARTON        POX BOX 355                                                                                           MIDDLESBORO        KY   40965
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Name                Address1                       Address2                    Address3          Address4                    City            State   Zip
JERRY W BILLS       2262 CORNETTE AVENUE                                                                                     DAYTON           OH     45414‐4540
JERRY W BURKE       NIX, PATTERSON & ROACH LLP     GM BANKRTUPCY DEPARTMENT    205 LINDA DRIVE                               DAINGERFIELD     TX     75638
JERRY W CAGLE       805 ELIZABETH PL SW                                                                                      HARTSELLE        AL     35640‐2677
JERRY W CARNES      250 PINE CONE                                                                                            SPRINGBORO       OH     45066‐8705
JERRY W DISNEY      1424 BAUER AVE                                                                                           DAYTON           OH     45420‐3306
JERRY W FRANKS      2784 VALLEY CREEK RD                                                                                     CULLEOKA         TN     38451‐2370
JERRY W FUNK        103 WIRTH LN                                                                                             SHERWOOD         OH     43556‐9606
JERRY W GAMBRELL    1341 ESSEX CT                                                                                            TROY             OH     45373
JERRY W HARDIN      380 W FACTORY RD                                                                                         SPRINGBORO       OH     45066‐1202
JERRY W HAVENHILL   1500 S SPECK RD                                                                                          INDEPENDENCE     MO     64057
JERRY W HEAD        1706 GUMMER AVE.                                                                                         DAYTON           OH     45403‐3457
JERRY W HENDERSON   9388 BINGHAM STREET                                                                                      ELBERTA          AL     36530‐5058
JERRY W HENDERSON   3309 19TH ST                                                                                             MERIDIAN         MS     39301‐2839
JERRY W JEROME      9669 MAPLE RD                                                                                            BIRCH RUN        MI     45415
JERRY W JOHNSON     PO BOX 216                                                                                               MARKLEVILLE      IN     46056‐0216
JERRY W LEE         C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                                 HOUSTON          TX     77007
                    BOUNDAS LLP
JERRY W LUPER       NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT    205 LINDA DRIVE                               DAINGERFIELD    TX      75638
JERRY W MATTHEWS    5096 EMMONS RD                                                                                           OREGONIA        OH      45054
JERRY W MCBRIDE     PO BOX 1805                                                                                              MIDLOTHIAN      TX      76065‐1805
JERRY W MCCRARY     C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                                 HOUSTON         TX      77007
                    BOUNDAS LLP
JERRY W METZNER     404 E 1ST ST APT 298E                                                                                    LONG BEACH      CA      90802
JERRY W NAPIER      2390 E LASS AVE                                                                                          KINGMAN         AZ      86409‐1350
JERRY W NEWSAM      4000 W RUSTIC HOLLOW DR                                                                                  PEORIA          IL      61615‐2427
JERRY W OTTE        30565 COUNTY ROAD 424                                                                                    DEFIANCE        OH      43512‐9017
JERRY W PARKER      1570 EDENDALE RD                                                                                         DAYTON          OH      45432‐3644
JERRY W PATTERSON   PO BOX 890896                                                                                            OKLAHOMA CITY   OK      73189‐0896
JERRY W REED        1737 ACADEMY PL                                                                                          DAYTON          OH      45406
JERRY W RICHEY      C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                                 HOUSTON         TX      77007
                    BOUNDAS LLP
JERRY W ROBERTS     C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                                 HOUSTON          TX     77007
                    BOUNDAS LLP
JERRY W ROBINSON    309 N. MAIN ST.                                                                                          FRANKLIN        OH      45005
JERRY W ROE         2151 SHERER AVE                                                                                          DAYTON          OH      45414‐4633
JERRY W SHOEMAKER   7542 VANESSA DR                                                                                          PUEBLO          CO      81005
JERRY W SMITH       1502 N. DETROIT ST                                                                                       XENIA           OH      45385
JERRY W TINCH       713 W. MARKET ST.                                                                                        GERMANTOWN      OH      45327‐1230
JERRY W WEHRLEY     3883 CROW RD                                                                                             TIPP CITY       OH      45371‐9611
JERRY W WHITE       C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 800                                                 HOUSTON         TX      77007
                    BOUNDAS LLP
JERRY W WILLIAMS    11110 RIDGEHAVEN DR                                                                                      KEITHVILLE      LA      71047‐8702
JERRY WAGAMON       373 SUGARBERRY AVE                                                                                       ABILENE         TX      79602
JERRY WAGNER        4135 TURTLE RD                                                                                           TURNER          MI      48765‐9512
JERRY WALDRIDGE     RR 1 BOX 1104                                                                                            SPRINGVILLE     IN      47462‐9617
JERRY WALDRON       6971 S CRYSTAL RD                                                                                        CARSON CITY     MI      48811‐9545
JERRY WALKER        PO BOX 71                                                                                                NELLIS          WV      25142‐0071
JERRY WALKER        1603 MAINE CT                                                                                            FROSTPROOF      FL      33843‐8510
JERRY WALKER        14322 BECKY LN                                                                                           MOUNT VERNON    OH      43050‐8731
JERRY WALKER        7968 208 ST                    C/O BONNIE FOSTER‐ WALKER                     LANGLEY BC CANADA V2Y‐1X1

JERRY WALKER        1037 MORRIS ST                                                                                           ROSELLE          NJ     07203
JERRY WALKER        340 MOUNT PLEASANT RD                                                                                    MUSCLE SHOALS    AL     35661‐4931
JERRY WALLACE       3108 HIGHWAY 4                                                                                           RINGGOLD         LA     71068‐2932
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Name                               Address1                       Address2                   Address3          Address4               City            State   Zip
JERRY WALLACE                      1409 ROBERT E LEE LN                                                                               BRENTWOOD        TN     37027‐6828
JERRY WALLACE                      14960 SADDLE BAG                                                                                   SISTERS          OR     97759‐9558
JERRY WALLACE                      1938 ELMHURST WAY                                                                                  BOWLING GREEN    KY     42104‐4516
JERRY WALLACE                      662 COLLIER RD                                                                                     PONTIAC          MI     48340‐1310
JERRY WALLING                      1530 ASH ST                                                                                        HUNTINGTON       IN     46750‐4115
JERRY WALSH                        10595 E COUNTY ROAD 100 N                                                                          INDIANAPOLIS     IN     46234‐1272
JERRY WALTER                       4134 SHAWNEE TRL                                                                                   JAMESTOWN        OH     45335‐1224
JERRY WALTHER                      11531 SNYDER RD                                                                                    HOLGATE          OH     43527‐9601
JERRY WALTON                       PO BOX 204                                                                                         OAKLAND          TN     38060‐0204
JERRY WALTON                       2701 MANLOVE AVE                                                                                   INDIANAPOLIS     IN     46218‐2637
JERRY WALWORTH                     603 S KINGSWOOD ST                                                                                 DURAND           MI     48429‐1733
JERRY WARD                         1636 SEMINOLE WAY                                                                                  BOWLING GREEN    KY     42103‐1302
JERRY WARD                         960 ROLFE RD                                                                                       MASON            MI     48854‐9669
JERRY WARD                         10344 DAR LN                                                                                       GOODRICH         MI     48438‐9405
JERRY WARD                         823 PENNY LN                                                                                       SAINT PETERS     MO     63376‐7373
JERRY WARGO                        803 SCOTTS HIDEAWAY RD                                                                             FARMERVILLE      LA     71241‐7513
JERRY WARR                         16571 N 150 E                                                                                      SUMMITVILLE      IN     46070‐9114
JERRY WARREN                       5229 N CLEAR CREEK RD                                                                              OLNEY             IL    62450‐3737
JERRY WARREN PONTIAC‐BUICK, INC.   2502 LOCUST ST                                                                                     STERLING          IL    61081‐1224
JERRY WATKINS                      530 S HACKER RD                                                                                    BRIGHTON         MI     48114‐4972
JERRY WATKINS                      1226 HAROLD PATTERSON RD                                                                           DANDRIDGE        TN     37725‐6019
JERRY WATKINS                      4572 DUNMANN WAY                                                                                   GROVE CITY       OH     43123‐8763
JERRY WATKINS                      CASCINO MICHAEL P              220 SOUTH ASHLAND AVE                                               CHICAGO           IL    60607
JERRY WATSON                       5427 S 500 W                                                                                       WABASH           IN     46992‐8266
JERRY WATSON                       PO BOX 13864                   HARPER STATION                                                      DETROIT          MI     48213‐0864
JERRY WATTS                        3965 CUTTER PT                                                                                     VALDOSTA         GA     31605‐7024
JERRY WATTS                        7759 LYN DRIVE                                                                                     FRANKLIN         OH     45005‐4160
JERRY WAYNE DUMONT                 NIX, PATTERSON & ROACH LLP     GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                          DAINGERFIELD     TX     75638
JERRY WAYNE WILLIAMSON             WEITZ & LUXENBERG PC           700 BROADWAY                                                        NEW YORK CITY    NY     10003
JERRY WAYNE WILLIAMSON             C/O WEITZ & LUXENBERG PC       700 BROADWAY                                                        NEW YORK CITY    NY     10003
JERRY WAZNI                        2127 DENISE DR                                                                                     STERLING HTS     MI     48310‐3566
JERRY WEATHERFORD                  1487 CONNELL ST                                                                                    BURTON           MI     48529‐2204
JERRY WEATHERLY                    14508 BIG BRUSH LN                                                                                 JACKSONVILLE     FL     32258‐1157
JERRY WEAVER                       2912 E HYDE RD                                                                                     SAINT JOHNS      MI     48879‐9492
JERRY WEAVER                       3837 RISEDORPH AVE                                                                                 FLINT            MI     48506‐3129
JERRY WEAVER                       142 DEWEY ST                   PO BOX 30                                                           MOUNT WOLF       PA     17347‐9552
JERRY WEAVER                       6051 FREEPORT DR                                                                                   DAYTON           OH     45415‐1910
JERRY WEBB                         118 WARNER DR                                                                                      UNION            OH     45322‐2963
JERRY WEBB                         5400 COUNTY ROAD 309                                                                               CLEBURNE         TX     76031‐9028
JERRY WEBSTER                      2458 BETTY LANE                                                                                    FLINT            MI     48507‐3535
JERRY WEBSTER                      3721 WORCHESTER DR                                                                                 FLINT            MI     48503‐4576
JERRY WEHRLEY                      3883 CROW RD                                                                                       TIPP CITY        OH     45371‐9611
JERRY WEIDE                        103 WATERLY AVE                                                                                    WATERFORD        MI     48328‐3951
JERRY WEINKEIN                     1013 ROOSEVELT DR                                                                                  WENTZVILLE       MO     63385‐3580
JERRY WEISENBARGER                 7990 STATE ROUTE 722                                                                               ARCANUM          OH     45304‐9409
JERRY WELLS                        6210 FENTON RD                                                                                     FLINT            MI     48507‐4757
JERRY WELLS                        7731 SOMERVILLE DR                                                                                 DAYTON           OH     45424‐2241
JERRY WELLS                        2038 13TH ST                                                                                       BEDFORD          IN     47421‐2713
JERRY WELLS                        3624 ELMIRA DR                                                                                     KETTERING        OH     45439‐2409
JERRY WELLS                        10200 BELSAY RD                                                                                    MILLINGTON       MI     48746‐9751
JERRY WELTON                       7060 TERRA MEADOWS LN          APT 324                                                             FORT WORTH       TX     76137‐7511
JERRY WERLINE                      627 S A ST                                                                                         ELWOOD           IN     46036‐1815
JERRY WERN                         5357 SASHABAW RD                                                                                   CLARKSTON        MI     48346‐3872
JERRY WERNETTE                     3109 WAGON TRL                                                                                     FLINT            MI     48507‐1213
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Name                Address1                         Address2            Address3         Address4               City              State   Zip
JERRY WERTZ         255 FORD AVE                                                                                 BOWLING GREEN      KY     42101‐9075
JERRY WESCOTT       18623 HIGHWAY 24                                                                             LEXINGTON          MO     64067‐8237
JERRY WEST          130 N TOWERLINE RD                                                                           WHITTEMORE         MI     48770‐9439
JERRY WEST          2168 CHEVY CHASE DR                                                                          DAVISON            MI     48423‐2004
JERRY WEST          301 N CARROLL ST                                                                             BOWDON             GA     30108‐1010
JERRY WESTON        771 ECKSTEIN RD                                                                              CRESTLINE          OH     44827‐9607
JERRY WHEAT         3096 WAYNE AVE                                                                               GRANITE CITY        IL    62040‐5861
JERRY WHEATLEY      3232 WILLET AVE                                                                              ROCHESTER HLS      MI     48309‐3541
JERRY WHEELER       728 RANDY AVE                                                                                LAWRENCEBURG       IN     47025‐1029
JERRY WHEELER       468 BRAKEL POINT DR                                                                          TRAVERSE CITY      MI     49684‐9341
JERRY WHEELER       12525 BELDING RD NE                                                                          BELDING            MI     48809‐9310
JERRY WHIPPLE       211 BIG SKY DR                                                                               HAMILTON           GA     31811‐6539
JERRY WHITAKER      516 ERNIE LU AVE                                                                             ANDERSON           IN     46013‐3640
JERRY WHITAKER      2643 E BEEKMAN PL                                                                            PHOENIX            AZ     85016
JERRY WHITE         5318 CORAL VINE LN                                                                           KISSIMMEE          FL     34758‐2288
JERRY WHITE         7979 ARENDT RD                                                                               BROCKWAY           MI     48097‐3102
JERRY WHITE         3145 RIFLE RIVER TRL                                                                         PRESCOTT           MI     48756‐9346
JERRY WHITE         805 W 15TH ST                                                                                ANDERSON           IN     46016‐3512
JERRY WHITE         PO BOX 637                       00051 M66                                                   EAST JORDAN        MI     49727‐0637
JERRY WHITE         4488 BRISTOW RD                                                                              BOWLING GREEN      KY     42103‐9526
JERRY WHITE JR      9922 PEPPER HILL RD                                                                          PERRY HALL         MD     21128‐9772
JERRY WHITE SR.     217 STAFFORD DR                                                                              RUTHER GLEN        VA     22546‐1110
JERRY WHITEHEAD     280 DANNA DR                                                                                 SCOTTSVILLE        KY     42164‐6312
JERRY WHITENIGHT    5657 BOWMILLER RD                                                                            LOCKPORT           NY     14094‐9050
JERRY WHITNEY       2136 CASS ST                                                                                 SARASOTA           FL     34231‐7020
JERRY WHITT         3630 FOWLER RD                                                                               ASHFORD            AL     36312‐7320
JERRY WHITTINGTON   17359 SE 110TH TER                                                                           SUMMERFIELD        FL     34491‐8667
JERRY WICK          227 VANESSA DR                                                                               WEST ALEXANDRIA    OH     45381‐9383

JERRY WIDNER        16077 SILVER BEND DR                                                                         LINDEN             MI     48451‐9676
JERRY WIENTJES
JERRY WIGGINS       3295 E PINECREST DR                                                                          GLADWIN           MI      48624‐7104
JERRY WILHOITE      1627 S PATRIOT DR                                                                            YORKTOWN          IN      47396‐9382
JERRY WILKERSON     70 RAWLINGS ST SW                                                                            GRAND RAPIDS      MI      49548‐7110
JERRY WILKEY        3909 ELM ST                                                                                  DOWNERS GROVE     IL      60515‐2118
JERRY WILKINSON     10120 GODFREY RD                                                                             BANCROFT          MI      48414‐9470
JERRY WILLARD       9115 KATHERINE ST                                                                            N RIDGEVILLE      OH      44039‐4483
JERRY WILLARD       8233 BULLNECK RD                                                                             BALTIMORE         MD      21222‐6003
JERRY WILLENER      10509 E 60TH TER                                                                             RAYTOWN           MO      64133‐3974
JERRY WILLEY        515 WEST ST                                                                                  EATON RAPIDS      MI      48827‐1202
JERRY WILLIAMS      5801 ARABIAN RUN                                                                             INDIANAPOLIS      IN      46228‐1687
JERRY WILLIAMS      5460 GAULEY TURNPIKE                                                                         HEATERS           WV      26627‐7016
JERRY WILLIAMS      PO BOX 69                                                                                    LITHIA SPRINGS    GA      30122‐0069
JERRY WILLIAMS      2285 BEL AIRE LN                                                                             POLAND            OH      44514‐1702
JERRY WILLIAMS      5781 LONGBRIDGE RD                                                                           PENTWATER         MI      49449‐9511
JERRY WILLIAMS      2061 W VIENNA RD                                                                             CLIO              MI      48420‐1758
JERRY WILLIAMS      13353 COUNTY ROAD 729                                                                        KENNETT           MO      63857‐8339
JERRY WILLIAMS      11110 RIDGEHAVEN DR                                                                          KEITHVILLE        LA      71047‐8702
JERRY WILLIAMS      214 MINERAL ST                                                                               NEWPORT           TN      37821‐3828
JERRY WILLIAMS      18709 WHITCOMB ST                                                                            DETROIT           MI      48235‐2885
JERRY WILLIAMS      7401 CHICHESTER RD                                                                           CANTON            MI      48187‐1440
JERRY WILLIAMS      6445 MAYFAIR ST                                                                              TAYLOR            MI      48180‐1940
JERRY WILLIAMS      2028 W REID RD                                                                               FLINT             MI      48507‐4645
JERRY WILLIAMS      6230 REID RD                                                                                 SWARTZ CREEK      MI      48473‐9460
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Name                  Address1                     Address2                     Address3   Address4               City           State   Zip
JERRY WILLIAMS        4754 W FERN GLN                                                                             FREMONT         MI     49412‐8278
JERRY WILLIAMS        PO BOX 319                                                                                  LUTSEN          MN     55612‐0319
JERRY WILLIAMS        BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS      OH     44236
JERRY WILLIAMSON      5311 HAYES ST                                                                               MERRILLVILLE    IN     46410‐1349
JERRY WILLIAMSON      23263 QUAIL CT                                                                              PIERSON         MI     49339‐9456
JERRY WILLIS          PO BOX 1034                                                                                 GLEN ROSE       TX     76043‐1034
JERRY WILLIS          PO BOX 767                                                                                  RINER           VA     24149‐0767
JERRY WILLMON         7127 BACK FORTY CT                                                                          GRANBURY        TX     76049‐6407
JERRY WILSON          4990 N CO ROAD 550 W                                                                        MUNCIE          IN     47304
JERRY WILSON          3980 QUEENSBURY RD                                                                          ORION           MI     48359‐1564
JERRY WILSON          381 IMAGINATION DR                                                                          ANDERSON        IN     46013‐1096
JERRY WILSON          29 SYCAMORE ST                                                                              BROWNSBURG      IN     46112‐1837
JERRY WILSON          2026 WHITE CREEK DRIVE                                                                      ROCHESTER       IN     46975‐8919
JERRY WILSON          6800 W COUNTY ROAD 200 S                                                                    YORKTOWN        IN     47396‐9513
JERRY WILSON          329 PEACH ORCHARD AVE                                                                       DAYTON          OH     45419‐2645
JERRY WILSON          1089 CLEARVIEW ST NW                                                                        WARREN          OH     44485‐2422
JERRY WILSON          58 E HUNTERS CREEK RD                                                                       LAPEER          MI     48446
JERRY WILSON          2870 FREMBES RD                                                                             WATERFORD       MI     48329‐3617
JERRY WILSON          6244 YUNKER ST                                                                              LANSING         MI     48911‐5524
JERRY WILSON          105 BROOKHAVEN DR                                                                           COLUMBIA        TN     38401‐8875
JERRY WILSON          7409 MUNSELL RD                                                                             HOWELL          MI     48843‐9639
JERRY WILSON          1533 WILLOUGHBY RD                                                                          ALBERTVILLE     AL     35951‐4651
JERRY WILSON          8783 SURREY DR                                                                              PENDLETON       IN     46064‐9050
JERRY WILSON          5615 GERMANTOWN LIBERTY RD                                                                  GERMANTOWN      OH     45327‐9522
JERRY WILSON          518 YORK RD                                                                                 GALVESTON       IN     46932‐9775
JERRY WILSON          802 BELLFLOWER DR                                                                           BROOKLYN        MI     49230‐8329
JERRY WIMBERLEY       123 ROAD RUNNER DRIVE                                                                       PONCA CITY      OK     74604
JERRY WIMBERLY        PO BOX 1751                                                                                 SPRING HILL     TN     37174‐1751
JERRY WINGERSON       3604 TIFFANY DR                                                                             MOORE           OK     73160‐7631
JERRY WINSTEAD        12430 HIGHWAY 19 S                                                                          UNION           MS     39365‐8534
JERRY WINSTEAD        419 CHATSWORTH CT                                                                           FRANKLIN        TN     37064‐8227
JERRY WISE            19692 ROAD 1038                                                                             OAKWOOD         OH     45873‐9074
JERRY WISE            1152 N BARD RD                                                                              GLADWIN         MI     48624‐9672
JERRY WITKOWSKI       6700 JANES RD                                                                               SAGINAW         MI     48601‐9609
JERRY WITT            521 STONE PATH CT                                                                           CARLISLE        OH     45005‐7316
JERRY WITZKE          159 STATE PARK DR                                                                           BAY CITY        MI     48706‐2151
JERRY WIXON           6950 LAKEVIEW DR                                                                            HUBBARD LAKE    MI     49747‐9629
JERRY WOJCIECHOWICZ   4651 MARIAN AVE                                                                             WARREN          MI     48092‐2573
JERRY WOLF            7071 ISLAND HWY                                                                             EATON RAPIDS    MI     48827‐9350
JERRY WOMACK          1668 CAVAN DR SW                                                                            MARIETTA        GA     30064‐2942
JERRY WOMBLE          611 MILAM DR                                                                                EULESS          TX     76039‐7508
JERRY WOOD            1760 BIGGS HWY                                                                              RISING SUN      MD     21911‐2516
JERRY WOOD            2825 E 53RD ST                                                                              ANDERSON        IN     46013‐3115
JERRY WOOD            102 SARATOGA WAY                                                                            ANDERSON        IN     46013‐4770
JERRY WOOD            678 WASHINGTON ST                                                                           NOBLESVILLE     IN     46060‐3356
JERRY WOOD            523 WAYNE ST                                                                                SAGINAW         MI     48602‐1454
JERRY WOOD            475 SADDLE CLUB LOOP                                                                        LEXINGTON       TN     38351‐2662
JERRY WOOD JR         239 ROBINSON PL                                                                             SHREVEPORT      LA     71104‐2460
JERRY WOODALL         3505 GILLELAND EXT                                                                          GAINESVILLE     GA     30507‐8650
JERRY WOODARD         5201 E COUNTY ROAD 350 S                                                                    PLAINFIELD      IN     46168‐8338
JERRY WOODS           24711 COUNTY RD. 20          LOT 829                                                        ELBERTA         AL     36530
JERRY WOODS           5122 NEWCASTLE DR                                                                           MOUNT MORRIS    MI     48458‐8810
JERRY WOODS           4090 CAMBRIDGE TRL                                                                          BEAVERCREEK     OH     45430‐2304
JERRY WOOLDRIDGE      3642 W SUMNER LAKE DR                                                                       ANDERSON        IN     46012‐9416
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Name                        Address1                     Address2                      Address3   Address4                 City            State   Zip
JERRY WOOLDRIDGE            2813 E CENTER RD                                                                               KOKOMO           IN     46902‐9794
JERRY WOOTEN SR             2134 FALLEN TIMBER DR                                                                          SANDUSKY         OH     44870‐5153
JERRY WORKMAN               1624 RIDGE RD                                                                                  NEWTON FALLS     OH     44444‐1029
JERRY WORLEY                513 ETOWAH DR                                                                                  CARTERSVILLE     GA     30120‐4022
JERRY WORLEY                1660 N SHELDON RD                                                                              CANTON           MI     48187‐3173
JERRY WORTHY                2329 GLENWOOD AVE                                                                              SAGINAW          MI     48601‐3538
JERRY WOTRING               14815 IDA CENTER RD                                                                            PETERSBURG       MI     49270‐9712
JERRY WOZNIAK               9199 COUNTY ROAD 38                                                                            GALION           OH     44833‐9798
JERRY WOZTASCZYK            THE MADEKSHO LAW FIRM        8866 GULF FREEWAY SUITE 440                                       HOUSTON          TX     77017
JERRY WRIGHT                2239 MALIBU CT                                                                                 ANDERSON         IN     46012‐4716
JERRY WRIGHT                2413 N 1000 W                                                                                  PARKER CITY      IN     47368‐9302
JERRY WRIGHT                3130 CHURCHILL RD                                                                              AUBURN HILLS     MI     48326‐2916
JERRY WRIGHT                10624 MASON AVE                                                                                CHICAGO RIDGE     IL    60415‐1905
JERRY WRIGHT                2729 ATHENS AVENUE                                                                             DAYTON           OH     45406‐4626
JERRY WYKOFF                1220 OAK MNR                                                                                   BEDFORD          IN     47421‐2737
JERRY WYNN                  10002 CHASE WAY                                                                                SHREVEPORT       LA     71118‐4628
JERRY Y VANZANT             1321 RICHARD ST                                                                                MIAMISBURG       OH     45342‐1951
JERRY YARBROUGH             2354 MALLISON AVE                                                                              FLINT            MI     48532‐4155
JERRY YATES                 1656 WOODS DR                                                                                  DAYTON           OH     45432‐2125
JERRY YELINEK               6190 BALLARD DR                                                                                FLINT            MI     48505‐4800
JERRY YERKES                10421 IRISH RD                                                                                 OTISVILLE        MI     48463‐9425
JERRY YETTER                2235 POWER DAM RD                                                                              DEFIANCE         OH     43512‐3324
JERRY YOAKUM                20055 WACO CT                                                                                  APPLE VALLEY     CA     92308‐6158
JERRY YORK                  806 HOMERUN DR                                                                                 O FALLON         MO     63366‐4563
JERRY YOST                  234 BROOKVIEW DR                                                                               ANDERSON         IN     46016‐6816
JERRY YOUNCE                7504 S 300 W                                                                                   WABASH           IN     46992‐7906
JERRY YOUNG                 108 CRESTWOOD LN                                                                               SPRING HILL      TN     37174‐2851
JERRY YOUNG                 1255 STYER DR                                                                                  NEW CARLISLE     OH     45344‐2723
JERRY YOUNG                 3555 E POINT DR                                                                                BEAVERTON        MI     48612‐8742
JERRY YOUNG                 697 S BLACK RIVER RD                                                                           ONAWAY           MI     49765‐9527
JERRY YOUNG                 PO BOX 96                                                                                      BRANT            MI     48614‐0096
JERRY YOUNG JR              903 MERIT ST                                                                                   WHITE LAKE       MI     48386‐3842
JERRY YOUNT                 708 WESTLAKE DR                                                                                TROY             MO     63379‐4444
JERRY YOUNT                 1740 LANBURY DR                                                                                KETTERING        OH     45439‐2433
JERRY YOUNT                 10003 S 83RD AVE                                                                               PALOS HILLS       IL    60465‐1436
JERRY ZANDBERGEN            3260 SUNSET BLF NE                                                                             ROCKFORD         MI     49341‐9242
JERRY ZAPOLSKI              3571 WHISPER LN                                                                                SAGINAW          MI     48603‐7253
JERRY ZBELL                 518 PORTER AVE                                                                                 CAMPBELL         OH     44405‐1431
JERRY ZDUNIC                5015 S MORRICE RD                                                                              OWOSSO           MI     48867‐9753
JERRY ZEARBAUGH             PO BOX 139                                                                                     SELMA            IN     47383‐0139
JERRY ZEMCIK                3710 MASON RD                                                                                  OWOSSO           MI     48867‐9366
JERRY ZENO                  118 AMBASSADOR AVE                                                                             ROMEOVILLE        IL    60446‐1114
JERRY ZIMMERMAN             1924 S CLARK ST                                                                                MUNCIE           IN     47302‐2051
JERRY ZIMMERMAN             200 CRESTWOOD ST                                                                               TILTON            IL    61833‐7525
JERRY ZION                  8260 GALLOWAY DR                                                                               LAMBERTVILLE     MI     48144‐9608
JERRY ZIRWES                205 S KIESEL ST                                                                                BAY CITY         MI     48706‐4354
JERRY'S A/C & AUTO REPAIR   405 NE 33RD AVE                                                                                GAINESVILLE      FL     32609‐2317
JERRY'S AUTO                11650 FM 1960 RD                                                                               HUFFMAN          TX     77336‐4467
JERRY'S AUTO CTR INC        28651 PLYMOUTH RD                                                                              LIVONIA          MI     48150‐2368
JERRY'S AUTO SALES          ATTN: JERRY GLASSBURN        110 E MORGAN ST                                                   KOKOMO           IN     46901‐2362
JERRY'S AUTO SALES          27786 SD HIGHWAY 17                                                                            LENNOX           SD     57039‐5302
JERRY'S AUTO SERVICE        W229N2467 COUNTY HIGHWAY F                                                                     WAUKESHA         WI     53186‐1161
JERRY'S AUTOMOTIVE          7 PLAINS RD W                                                         BURLINGTON ON L7T 1E8
                                                                                                  CANADA
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Name                                  Address1                         Address2                    Address3   Address4               City               State   Zip
JERRY'S AUTOMOTIVE                    5132 S 7TH ST                                                                                  ABILENE             TX     79605‐2536
JERRY'S AUTOMOTIVE, INC.              JERRY BARR                       306 N 16TH ST                                                 BERESFORD           SD     57004‐1502
JERRY'S BODY SHOP                     ATTN: GERALD MASCOLI             433 N ROSEMARY ST                                             LANSING             MI     48917‐4915
JERRY'S CERTIFIED SERVICE & TOWING    4301 W GOOD HOPE RD                                                                            MILWAUKEE           WI     53223‐4834
JERRY'S CHEVROLET AND OLDSMOBILE, I   18 FORT EVANS RD NE                                                                            LEESBURG            VA     20176‐4495

JERRY'S CHEVROLET AND OLDSMOBILE,     JERRY COHEN                      18 FORT EVANS RD NE                                           LEESBURG            VA     20176‐4495
INC.
JERRY'S CHEVROLET AND OLDSMOBILE,     18 FORT EVANS RD NE                                                                            LEESBURG            VA     20176‐4495
INC.
JERRY'S CHEVROLET CADILLAC            JERRY DURANT                     3118 FORT WORTH HWY                                           HUDSON OAKS         TX     76087‐8773
JERRY'S CHEVROLET CADILLAC/JERRY'S    3118 FORT WORTH HWY                                                                            HUDSON OAKS         TX     76087‐8773
JERRY'S CHEVROLET CADILLAC/JERRY'S    3100 FORT WORTH HWY                                                                            HUDSON OAKS         TX     76087‐8773
JERRY'S CHEVROLET CADILLAC/JERRY'S    3100 FORT WORTH HWY                                                                            HUDSON OAKS         TX     76087‐8773
BUICK PONTIAC GMC
JERRY'S CHEVROLET CADILLAC/JERRY'S    3118 FORT WORTH HWY                                                                            HUDSON OAKS         TX     76087‐8773
BUICK PONTIAC GMC
JERRY'S CHEVROLET CADILLAC/JERRY'S    3130 FORT WORTH HWY                                                                            HUDSON OAKS         TX     76087‐8773
BUICK PONTIAC GMC
JERRY'S CHEVROLET OF BERESFORD        306 N 16TH ST                                                                                  BERESFORD          SD      57004‐1502
JERRY'S CHEVROLET, INC.                                                                                                              BALTIMORE          MD      21234‐2798
JERRY'S CHEVROLET, INC.               GERALD STAUTBERG                 1940 E JOPPA RD                                               BALTIMORE          MD      21234‐2730
JERRY'S CHEVROLET, INC.               1940 E JOPPA RD                                                                                BALTIMORE          MD      21234‐2730
JERRY'S GARAGE                        12207 WHITTIER BLVD STE B                                                                      WHITTIER           CA      90602‐1040
JERRY'S GENERAL AUTOMOTIVE                                             6404 S COOPER ST                                                                 TX      76001
JERRY'S GM, LLC                       JERRY DURANT                     3118 FORT WORTH HWY                                           HUDSON OAKS        TX      76087‐8773
JERRY'S MARATHON                      ATTN: JERRY ARMSTRONG            1500 S OPDYKE RD                                              PONTIAC            MI      48341‐3151
JERRY'S SPORTS & BEER                 910 CESAR E CHAVEZ AVE                                                                         PONTIAC            MI      48340‐2336
JERRY'S TRANSMISSION SERVICE, INC.    18448 COUNTY ROAD 9                                                                            LESTER PRAIRIE     MN      55354‐7949
JERRY, CRAIG J                        308 DANTE DR                                                                                   ROSCOMMON          MI      48653‐9252
JERRY, CRAIG JAMES                    308 DANTE DR                                                                                   ROSCOMMON          MI      48653
JERRY, GEORGE M                       9099 N UNION RD                                                                                SAINT LOUIS        MI      48880‐9216
JERRY, GEORGE MARK                    9099 N UNION RD                                                                                SAINT LOUIS        MI      48880‐9216
JERRY, JOHNNIE M                      21331 KIPLING                                                                                  OAK PARK           MI      48237
JERRY, ROBERT L                       PO BOX 460                                                                                     MERRILL            MI      48637‐0460
JERRY, SAMUEL L                       ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                     BALTIMORE          MD      21202
                                                                       CHARLES CENTER 22ND FLOOR
JERRY, STEPHEN A                      3645 N HEMLOCK RD                                                                              HEMLOCK            MI      48626‐9695
JERRYE NASH                           1118 MELOAN DR                                                                                 JACKSON            MS      39209‐7307
JERRYE SCATES                         1507 PACKARD RD                                                                                LANSING            MI      48917‐4362
JERRYL JOHNSON                        29275 CANDLEWOOD LN                                                                            SOUTHFIELD         MI      48076‐1897
JERRYL WRIGHT                         2209 ATWOOD DR                                                                                 ANDERSON           IN      46016‐2740
JERRYS TRUCKING INC                   8576 DIXIE LN                                                                                  DEARBORN HEIGHTS   MI      48127‐1300

JERSAN, DENNIS S                      433 N MITCHNER AVE                                                                             INDIANAPOLIS        IN     46219‐5115
JERSEVICZ, OTILLIA                    PO BOX 6235                                                                                    SAGINAW             MI     48608‐6235
JERSEY AUTO REPAIR                    2024 STATE ROUTE 27                                                                            NORTH BRUNSWICK     NJ     08902‐1348

JERSEY CENTRAL POWER & LIGHT                                           25 ADAFRE AVE                                                                     NJ     08753
JERSEY CITY MEDICAL CENTER                                             50 BALDWIN AVE                                                                    NJ     07304
JERSEY CITY STATE COLLEGE             2039 JOHN F KENNEDY BLVD                                                                       JERSEY CITY         NJ     07305‐1527
JERSEY SHORE REPORTING, LLC           PO BOX R                                                                                       MANASQUAN           NJ     08736‐0648
JERSEY, JAMES L                       8995 LN RD                                                                                     MILLINGTON          MI     48746
JERSEY, JAMES L                       11330 DODGE RD                                                                                 MONTROSE            MI     48457‐9170
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Name                     Address1                             Address2                         Address3                   Address4                   City               State Zip
JERSEY, JULIA            221 LAKEVIEW DR LOT 9                                                                                                       GLADWIN             MI 48624
JERSEY, NANCY A          8995 LANE RD                                                                                                                MILLINGTON          MI 48746‐9650
JERSEYVILLE GARAGE       2652 JERSEYVILLE RD. W.                                                                          JERSEYVILLE ON L0R 1R0
                                                                                                                          CANADA
JERSILD, RICHARD B       2028 S CROSBY AVE                                                                                                           JANESVILLE         WI   53546‐5620
JERSON, JEROME W         13012 KINGSTON WAY                                                                                                          NORTH ROYALTON     OH   44133‐5971
JERTSON, LUVERNE A       APT 352                              1915 BALDWIN AVENUE                                                                    PONTIAC            MI   48340‐3410
JERUD PAYNE              6400 WILSON RD                                                                                                              OTISVILLE          MI   48463‐9437
JERULD WEILAND           10531 DAVISBURG RD                                                                                                          DAVISBURG          MI   48350‐2031
JERUMS, IMANTS V         95 SUNSET ST                                                                                                                OAK VIEW           CA   93022‐9637
JERUSALEM, ADINA         25510 COLLEEN ST                                                                                                            OAK PARK           MI   48237‐1302
JERUZAL, JAMES E         9627 BERWICK ST                                                                                                             LIVONIA            MI   48150‐2813
JERVAISE GLEESON         3001 MONTANA AVE                                                                                                            FLINT              MI   48506‐2453
JERVEY, ROBERT J         1107 OLD COOCHES BRIDGE RD                                                                                                  NEWARK             DE   19713‐2327
JERVIS B WEBB
JERVIS B WEBB CO LTD     1647 BURLINGTON ST E                 P O BOX 3428 STN C                                          HAMILTON ON L8H 7M5
                                                                                                                          CANADA
JERVIS B WEBB COMPANY    WORLD HEADQUARTERS WEBB DR                                                                                                  FARMINGTON HILLS   MI   48331

JERVIS B WEBB COMPANY    34375 W 12 MILE RD                                                                                                          FARMINGTON HILLS   MI   48331‐3375

JERVIS B WEBB COMPANY    C/O BRIAN M DOBBS                    BASS BERRY AND SIMMS PLC         315 DEADERICK ST           STE 2700                   NASHVILLE          TN   37238
JERVIS B WEBB COMPANY    BASS BERRY AND SIMMS PLC             ATTN: BRIAN M DOBBS              315 DEADERICK ST, STE 27                              NASHVILLE          TN   37238
JERVIS B. WEBB COMPANY   ATTN: CORPORATE OFFICER/AUTHORIZED   34375 W 12 MILE RD                                                                     FARMINGTON HILLS   MI   48331‐5624
                         AGENT
JERVIS B. WEBB COMPANY   ATTENTION: J.S. SOBCZYK              34375 W 12 MILE RD                                                                     FARMINGTON HILLS   MI   48331‐3375

JERVIS B. WEBB COMPANY
JERVIS CHILDRESS         117 CRANBROOK DR                                                                                                            GLASGOW            KY   42141‐1416
JERVIS KIMBERLY          JERVIS, KIMBERLY                     2299 MIAMISBURG CENTERVILLE RD                                                         DAYTON             OH   45459‐3816
JERVIS MCDONALD          71 DWIGHT AVE                                                                                                               PONTIAC            MI   48341‐1273
JERVIS WEBB/FARMINGT     34375 W 12 MILE RD                                                                                                          FARMINGTON HILLS   MI   48331‐3375

JERVIS WEBB/MARIETTA     560 WEBB INDUSTRIAL DR                                                                                                      MARIETTA           GA   30062‐2451
JERVIS WEBB/W 12 MI      34375 W 12 MILE RD                                                                                                          FARMINGTON HILLS   MI   48331‐3375

JERVIS WEBB/WEBB DR      WEBB DRIVE                                                                                                                  FARMINGTN HLS      MI   48331
JERVIS, CARROLL          7157 E 1400 S                                                                                                               GALVESTON          IN   46932
JERVIS, DOLORES A        1412 GLENEAGLES DR                                                                                                          KOKOMO             IN   46902‐3188
JERVIS, JEFFREY L        1081 FARNSWORTH RD                                                                                                          WATERVILLE         OH   43566‐1034
JERVIS, LINDA L          1081 FARNSWORTH RD                                                                                                          WATERVILLE         OH   43566‐1034
JERVIS, RICHARD L        1311 N 400 E                                                                                                                ANDERSON           IN   46012‐9106
JERVIS, TED G            2100 W BEACH DR APT A202                                                                                                    PANAMA CITY        FL   32401‐1686
JERVIS, TIMOTHY P        811 WOODLAND AVE                                                                                                            HUBBARD            OH   44425‐1139
JERWAYNE D HINES         520 MEADE ST #1                                                                                                             SAGINAW            MI   48602‐1162
JERYL ALLGOOD            2415 E MARKSARA DR                                                                                                          MARION             IN   46952‐8680
JERYL HOWARD‐CALHOUN     4245 W JOLLY RD LOT 98                                                                                                      LANSING            MI   48911‐3058
JERYL MAYER              8187 CALLEE CT                                                                                                              DAVISON            MI   48423‐8720
JERYL MCIVER             355 CHERRY VALLEY DR APT Q10                                                                                                INKSTER            MI   48141‐1482
JERYL MONTGOMERY         PO BOX 13355                                                                                                                FLINT              MI   48501‐3355
JERYL WHELCHEL           8060 W COUNTY ROAD 100 N                                                                                                    SHIRLEY            IN   47384‐9642
JERYNE DESBOUILLONS      34353 FRANCES ST                                                                                                            WESTLAND           MI   48185‐3656
JERZAK, MARION E         7407 SUNSET DR R2                                                                                                           LANSING            MI   48917
JERZAK, WILLIAM A        6103 WILDCAT RD                                                                                                             OVID               MI   48866‐8611
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Name                          Address1                          Address2                         Address3   Address4                 City               State Zip
JERZEWSKI, MICHAEL J          24‐A GEROGIAN LN                                                                                       WILLIAMSVILLE       NY 14221
JERZEWSKI, MICHAEL J          47 LOCKHART CIR                                                                                        AMHERST             NY 14228‐3728
JERZY & MARITA SZAJAK         AUGUSTE ‐ VIKTORIA ‐ STR 20                                                   D‐14193 BERLIN GERMANY
JERZY + MARITA SZAJAK         AUGUSTE‐VIKTORIA‐STR. 20          D‐14193 BERLIN
JERZY + MARITA SZAJAK         AUGUSTE‐VIKTORIA‐STR. 20          14193 BERLIN
JERZY ANISZCZYK               3725 KOCHVILLE RD                                                                                      SAGINAW            MI   48604‐9226
JERZY FLOR                    39176 REO DR                                                                                           LIVONIA            MI   48154‐1022
JERZY GRZELAK                 43682 SWEETWOOD DR                                                                                     STERLING HTS       MI   48314‐4507
JERZY KOLTON                  47099 BURNING TREE LN                                                                                  PLYMOUTH           MI   48170‐3587
JERZY LENDA                   32034 W 10 MILE RD                                                                                     FARMINGTON HILLS   MI   48336‐2402

JERZY SZTUKA                  14110 FENTON                                                                                           REDFORD            MI   48239‐2877
JERZY WARZECHA                316 BRISTOL LN                                                                                         CLARKSTON          MI   48348‐2316
JERZY ZALEWSKI                31759 HEES ST                                                                                          LIVONIA            MI   48150‐3891
JERZY, LOUIS S                37849 MAPLE CIR W                                                                                      CLINTON TWP        MI   48036‐2162
JERZYKOWSKI, JEROME S         45802 WARWICK DR                                                                                       MACOMB             MI   48044‐4066
JERZYKOWSKI, KATHRYN M        45802 WARWICK DR                                                                                       MACOMB             MI   48044‐4066
JES & SONS INC                817 E MURRY ST                                                                                         INDIANAPOLIS       IN   46227‐1141
JES PROMOTIONS                PO BOX 138                                                                                             BERNARDSVILLE      NJ   07924‐0138
JESADA JUNKASEM               7194 WINDBURY LN                                                                                       FLINT              MI   48507‐0511
JESBERG, FRIEDRICH O          916 W WILDERNESS TRL                                                                                   PAYSON             AZ   85541‐6625
JESBERGER, EUGENE B           5000 PROVIDENCE DR APT 307                                                                             SANDUSKY           OH   44870‐1414
JESBERGER, MARGARET M         5000 PROVIDENCE DR APT 307                                                                             SANDUSKY           OH   44870‐1414
JESCHKE, AUDREY L             2330 PRETZER ROAD                                                                                      HEMLOCK            MI   48626‐8737
JESCHKE, AUDREY L             2330 PRETZER RD                                                                                        HEMLOCK            MI   48626‐8737
JESCHKE, EDMUND               C/O RENATE KOCH                   KATZBEK 15A                                 LABOE GERMANY 24235
JESCHKE, FREDRICK P           11287 MORNINGSTAR DR                                                                                   SAGINAW            MI   48609‐9479
JESCHKE, KENNETH J            36280 COUNTY ROAD 653                                                                                  PAW PAW            MI   49079‐8015
JESCHKE, THERESA M            19490 E BRANDYWINE DR                                                                                  GOBLES             MI   49055‐9676
JESCHKE, WILLIAM E            24221 M 40                                                                                             GOBLES             MI   49055‐9619
JESCO PRODUCTS CO INC         6592 ARROW DR                                                                                          STERLING HEIGHTS   MI   48314‐1412
JESCO PRODUCTS COMPANY INC    6592 ARROW DR                                                                                          STERLING HEIGHTS   MI   48314‐1412
JESCO/STERLING HTS            6592 ARROW DR                                                                                          STERLING HEIGHTS   MI   48314‐1412
JESEK, DANIEL L               255 LEE ROAD 940                                                                                       SMITHS             AL   36877‐2200
JESEL INC                     1985 CEDAR BRIDGE AVE                                                                                  LAKEWOOD           NJ   08701‐6915
JESELINK, PATRICIA            1555 THOMPSON LAKE DR                                                                                  SILSBEE            TX   77656‐5544
JESELNIK, ERNEST G            7027 LATHROP AVE                                                                                       KANSAS CITY        KS   66109‐1820
JESELNIK, ROBERT H            16186 NICOLE LN                                                                                        LEAVENWORTH        KS   66048‐8806
JESELNIK, ROBERT P            8009 WAVERLY AVE                                                                                       KANSAS CITY        KS   66109‐2264
JESELSON, B T                 116 ISLAND AVE                                                                                         RAMSEY             NJ   07446‐1534
JESENSKY KAREN A              C/O GOLDBERG PERSKY & WHITE PC    1030 FIFTH AVE                                                       PITTSBURGH         PA   15219
JESHURUN, HEATHER CHRISTINE   3150 W CLARKSTON RD                                                                                    LAKE ORION         MI   48362‐2054
JESHURUN, MATTHEW B           145 DENNIS ST                                                                                          GLADWIN            MI   48624‐8383
JESICA BALANAY                40TH FLOOR, ROBINSONS EQUITABLE   ADB AVE, ORTIGAS CENTER, PASIG
                              TOWER
JESIEK, AMY M                 1049 MISTY MORN CIRCLE                                                                                 SPRING HILL        TN   37174‐7404
JESIEK, CHARLES F             844 TAMARACK AVE NW                                                                                    GRAND RAPIDS       MI   49504‐4322
JESIEK, DANIEL S              G‐4264 BRANCH RD                                                                                       FLINT              MI   48506‐1345
JESIEK, DANIEL S              G4264 BRANCH RD                                                                                        FLINT              MI   48506‐1345
JESIEL, MICHAEL S             27420 MILTON AVE                                                                                       WARREN             MI   48092‐4540
JESIELOWSKI, RONALD L         344 COOPER DR                                                                                          STUARTS DRAFT      VA   24477‐2923
JESIENSKI, GLORIA             86 W 53RD ST                                                                                           BAYONNE            NJ   07002‐3318
JESIENSKI, R A                5595 N ROSEDALE CIR                                                                                    BEVERLY HILLS      FL   34465‐2238
JESIK, DOROTHY L              437 E GERMAN RD 4                                                                                      QUEENS CREEK       AZ   85242‐7104
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Name                          Address1                         Address2                        Address3   Address4               City            State   Zip
JESIK, DOROTHY L              437 E GERMANN RD LOT 4                                                                             QUEEN CREEK      AZ     85240‐7104
JESINA, RICHARD L             1200 ANDRE CIR                                                                                     CLAREMORE        OK     74017
JESIOLOWSKI RONALD (158586)   WYSOKER GLASSNER & WEINGARTNER   340 GEORGE ST                                                     NEW BRUNSWICK    NJ     08901‐2011
JESIOLOWSKI, RONALD           WYSOKER GLASSNER & WEINGARTNER   340 GEORGE ST                                                     NEW BRUNSWICK    NJ     08901‐2011
JESIONEK, PHILLIP             9551 RILEY RD                                                                                      CORUNNA          MI     48817‐9755
JESIONEK, PHILLIP             G 4367 W GRAND BLANC RD                                                                            SWARTZ CREEK     MI     48473‐9150
JESIONOWSKI, GENEVIEVE        1824 E 77TH ST                                                                                     NAPERVILLE        IL    60565‐1781
JESIONOWSKI, GENEVIEVE        1824 77TH ST                                                                                       NAPERVILLE        IL    60565‐1781
JESIONOWSKI, RICHARD A        2196 S VAN BUREN RD                                                                                REESE            MI     48757‐9213
JESITUS, RAYMOND T            900 BAY DR APT 41                                                                                  NICEVILLE        FL     32578‐4153
JESKA JOHN (492042)           BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD       OH     44067
                                                               PROFESSIONAL BLDG
JESKE FRANK                   4382 MIRABELLA CIR                                                                                 BRADENTON       FL      34210‐3755
JESKE SR, JOHN G              1258 N US‐23                                                                                       LINWOOD         MI      48634
JESKE, BRUCE M                PO BOX 1567                                                                                        BOZEMAN         MT      59771‐1567
JESKE, CECILIA                2360 JESKE DR                                                                                      KAWKAWLIN       MI      48631‐9446
JESKE, CECILIA M              2360 JESKE DR                                                                                      KAWKAWLIN       MI      48631‐9446
JESKE, DENNIS J               9766 BERRY HILL DR                                                                                 CINCINNATI      OH      45241‐3683
JESKE, DENNIS JON             9766 BERRY HILL DR                                                                                 CINCINNATI      OH      45241‐3683
JESKE, DONALD J               1269 N HURON RD                                                                                    LINWOOD         MI      48634‐9412
JESKE, EDWARD                 2128 SCHMIDT RD                                                                                    KAWKAWLIN       MI      48631‐9200
JESKE, ERNEST H               2870 E. BISCAYNE DR LOT 15                                                                         BAY CITY        MI      48706
JESKE, ERVIN T                ATRIA WINDSOR WOODS              1709 POWDER RIDGE DRIVE                                           VALRICO         FL      33594‐4040
JESKE, FRANCES                PINE VIEW APARTMENTS             854 N. PINE RD.                 APT 235                           ESSEXVILLE      MI      48732‐2133
JESKE, FREDERICK V            4040 RICHLYN CT                                                                                    BAY CITY        MI      48706‐2431
JESKE, GARY A                 2810 W FAIRBANKS AVE                                                                               WINTER PARK     FL      32789
JESKE, GERALD D               6512 N 58TH ST                                                                                     MILWAUKEE       WI      53223‐5921
JESKE, HARVEY A               PO BOX 6992                                                                                        TALLAHASSEE     FL      32314‐6992
JESKE, HOLLY R                2003 LAVON CREEK LN                                                                                ARLINGTON       TX      76006‐5713
JESKE, HOLLY R                3325 CRITES ST                                                                                     RICHLAND HLS    TX      76118‐7244
JESKE, JOHN R                 5310 LYONS CIR S                                                                                   WARREN          MI      48092‐4414
JESKE, JUDITH A               10043 DIVISION ST                                                                                  WAYLAND         MI      49348
JESKE, MICHAEL A              9985 BURGESS CT                                                                                    WHITE LAKE      MI      48386‐2809
JESKE, NORMAN H               1949 E COGGINS RD                                                                                  PINCONNING      MI      48650‐7491
JESKE, RHONDA B               4934 W STONEHAVEN LN                                                                               NEW PALESTINE   IN      46163‐9078
JESKE, ROBERT                 1422 MICHIGAN AVE                                                                                  BAY CITY        MI      48708‐8771
JESKE, RONALD P               2399 JOSE RD                                                                                       KAWKAWLIN       MI      48631‐9405
JESKE, SUE A.                 4185 HABERSHAM GATE DR                                                                             CUMMING         GA      30041‐8035
JESKE, THOMAS S               2360 JESKE DR                                                                                      KAWKAWLIN       MI      48631‐9446
JESKEVICH ALBERT (476461)     OSHEA ROBERT LAW OFFICES OF      1818 MARKET ST STE 3520                                           PHILADELPHIA    PA      19103‐3636
JESKEVICH, ALBERT             OSHEA ROBERT LAW OFFICES OF      1818 MARKET ST STE 3520                                           PHILADELPHIA    PA      19103‐3636
JESKEY, EDWARD                1317 SE 6TH ST UNIT A                                                                              CAPE CORAL      FL      33990‐2640
JESKIE, STEPHEN               566 CARSON ST.                                                                                     HAZLETON        PA      18201‐5210
JESKIE, STEPHEN               566 CARSON ST                                                                                      HAZLETON        PA      18201‐5210
JESKO AUTO REPAIR             ATTN: PATTY STADER               37925 ECORSE RD                                                   ROMULUS         MI      48174‐1349
JESKO, JOSEPH M               1511 W TUTTLE RD                                                                                   IONIA           MI      48846‐8473
JESKO, LUCINDA G              6340 COGSWELL ST                                                                                   ROMULUS         MI      48174‐4044
JESKO, LUCINDA GALE           6340 COGSWELL ST                                                                                   ROMULUS         MI      48174‐4044
JESME, LISA A                 6129 THORNCLIFF DR                                                                                 SWARTZ CREEK    MI      48473‐8853
JESNAT ENGNR/SHELBVL          404 FOX RIDGE CT                                                                                   SHELBYVILLE     IN      46176‐8978
JESNES, EDWARD M              56 43 196 ST                                                                                       FLUSHING        NY      11365
JESPERSON, EVELYN L           34592 SANDWOOD DR                                                                                  STERLING HTS    MI      48310‐5334
JESS ADAMS                    7490 DEPOT ST                                                                                      ROGERS          OH      44455‐9785
JESS ADKINS                   1300 GRACELAND DR                                                                                  FAIRBORN        OH      45324‐4372
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Name                   Address1                        Address2                     Address3            Address4               City               State Zip
JESS ALLEN
JESS BAILIE            12874 BERESFORD DR                                                                                      STERLING HEIGHTS   MI    48313‐4112
JESS BALKCOM MCGEHEE   755 GLENCOVE DRIVE                                                                                      MACON              GA    31210
JESS BLEVINS JR        238 E RUNDELL ST                                                                                        PONTIAC            MI    48342‐1572
JESS BORJA             10815 WOODPINE TRL                                                                                      BETHANY            LA    71007‐8742
JESS BROOKS
JESS BRUST             289 BRISTIE ST                                                                                          PORTLAND           MI    48875‐1643
JESS BUSTILLOS         227 S 12TH ST                                                                                           SANTA PAULA        CA    93060‐2937
JESS CAIN JR           350 DAVID LIND DR                                                                                       INDIANAPOLIS       IN    46217‐3410
JESS CALDERA           1323 BROOKFIELD LN                                                                                      MANSFIELD          TX    76063‐2519
JESS CAMPBELL          1000 HUNTER AVE                                                                                         YPSILANTI          MI    48198‐3186
JESS CARMONA           44505 SHADOWCREST DR                                                                                    LANCASTER          CA    93536‐6420
JESS CARRILLO          10957 LAUREL CANYON BLVD                                                                                SAN FERNANDO       CA    91340‐4440
JESS COLLIER           BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS.        OH    44236
JESS DILPORT           5422 MEADOWBROOK DR                                                                                     FORT WAYNE         IN    46835‐3341
JESS DITMAN            4246 BURKEY RD                                                                                          YOUNGSTOWN         OH    44515‐3532
JESS E DALTON          BARON & BUDD PC                 THE CENTRUM SUITE 1100       3102 OAK LAWN AVE                          DALLAS             TX    75219‐4281
JESS ELKINS            9802 ROSEWOOD AVE                                                                                       CLEVELAND          OH    44105‐6727
JESS ESPARZA           9465 WATSONVILLE RD                                                                                     GILROY             CA    95020‐9428
JESS FELIX             6643 EDGEVALE RD                                                                                        KANSAS CITY        MO    64113‐2341
JESS FORDYCE
JESS FREDERICY         37416 SUGAR CREEK LN            C/O PATRICIA PAVLESCAK                                                  NORTH RIDGEVILLE   OH    44039‐1244

JESS FUZZELL           1063 PLUM SPRINGS RD                                                                                    BOWLING GREEN      KY    42101‐0742
JESS GARCIA            4618 WOODVIEW ST                                                                                        NORTH LAS VEGAS    NV    89031‐4360
JESS GONZALES          9880 BEACHY AVE                                                                                         ARLETA             CA    91331‐5205
JESS GONZALEZ          8639 SWARTZ RD                                                                                          KANSAS CITY        KS    66111‐1615
JESS HERNANDEZ         123 CREEKSIDE DR                                                                                        COLUMBIA           TN    38401‐6527
JESS HIGBY I I I       3883 DORNOCH DR                                                                                         WOOSTER            OH    44691‐6100
JESS HUBBARD           8139 CORKTREE DR                                                                                        INDIANAPOLIS       IN    46239‐7610
JESS HUBBARD           8081 S. MADISON AVE UNIT 327                                                                            INDIANAPOLIS       IN    46227
JESS HUMPHRIES         13275 SPRUCE RUN DRIVE                                                                                  NORTH ROYALTON     OH    44133
JESS J LYONS           107 E 3RD ST                                                                                            TILTON             IL    61833‐7406
JESS JACKSON           1520 AUTUMNMIST DR                                                                                      ALLEN              TX    75002‐4932
JESS JACKSON           32 MAPLE VALLEY LN                                                                                      ALEXANDRIA         KY    41001‐9644
JESS JOHNSTON          34078 W 168TH ST                                                                                        LAWSON             MO    64062‐8238
JESS JONES             9955 E 750 S                                                                                            UPLAND             IN    46989‐9764
JESS L SPARKS          C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                               HOUSTON            TX    77007
                       BOUNDAS LLP
JESS LEBOW JR          2023 LANNEN RD                                                                                          HOWELL              MI   48855‐9255
JESS MOORE             3521 PEAK RD                                                                                            GRANBURY            TX   76048‐6236
JESS O QUIN            PO BOX 272144                                                                                           TAMPA               FL   33688‐2144
JESS O'CAMPO           6011 PENNSYLVANIA AVE                                                                                   ARLINGTON           TX   76017‐1931
JESS POWERS            4863 TREADWELL ST                                                                                       WAYNE               MI   48184‐1533
JESS RAY PIERCE        NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                            DAINGERFIELD        TX   75638
JESS RICHEY            9721 N 1000 E                                                                                           MARKLEVILLE         IN   46056‐9645
JESS RODRIGUEZ         16241 ITASCA ST                                                                                         NORTH HILLS         CA   91343‐1916
JESS RODRIGUEZ         14157 LA RUE ST                                                                                         SAN FERNANDO        CA   91340‐3836
JESS SCHMITTLER        5403 N FLINT RD                                                                                         ROSCOMMON           MI   48653‐9298
JESS SERRATO           1014 OTIS AVE                                                                                           ROCKDALE            IL   60436‐2426
JESS STEWART           9164 STONEYFIELD CT                                                                                     DEXTER              MI   48130‐8504
JESS STORY             979 GREMEL RD                                                                                           SEBEWAING           MI   48759‐9706
JESS TAYLOR            601 ANGLIN RIDGE RD                                                                                     DOVER               TN   37058‐5033
JESS TUCKER            7604 CARRIAGE LN                                                                                        FORT WORTH          TX   76112‐5418
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Name                                 Address1                          Address2                     Address3   Address4               City              State Zip
JESS WALES CHEVROLET‐PONTIAC CORP.   JESS WALES                        202 S MAIN ST                                                  SHATTUCK           OK 73858‐8805

JESS WALES CHEVROLET‐PONTIAC CORP.   202 S MAIN ST                                                                                    SHATTUCK          OK   73858‐8805

JESS WELKER                          8613 CORD WAY                                                                                    SACRAMENTO        CA   95828
JESS WILBURN                         2377 RISHER RD SW                                                                                WARREN            OH   44485‐3335
JESS, FRANK T                        3509 OAK TREE DR APT A                                                                           KALAMAZOO         MI   49048‐1284
JESS, KARL H                         208 N BRIER RD                                                                                   AMHERST           NY   14228‐3451
JESS, RICHARD B                      10400 CORCORAN RD                                                                                HASLETT           MI   48840‐9227
JESS, RICHARD S                      209 E BETHEL RD                                                                                  COPPELL           TX   75019‐4060
JESSA, MOHAMED I                     30200 STEPHENSON HWY              MC: 480‐000‐999                                                MADISON HEIGHTS   MI   48071‐1612

JESSAMINE COUNTY SHERIFF             101 N MAIN ST                                                                                    NICHOLASVILLE     KY   40356‐1233
JESSAMINE SCOTT                      8940 MONROE                                                                                      DURAND            MI   48429
JESSAMINE THOMAS                     33 TOWER LN                                                                                      ARKADELPHIA       AR   71923‐7188
JESSAMY FORT & BOTTS                 1726 M ST NW STE 1100                                                                            WASHINGTON        DC   20036‐4528
JESSAMYN VIADO
JESSE
JESSE BROWN JR                       34406 E 343RD ST                                                                                 GARDEN CITY       MO   64747‐9333
JESSE A LIRA                         1145 BROOKE PARK DR                                                                              TOLEDO            OH   43612‐4217
JESSE A LIRA                         1138 BROOKE PARK DR                                                                              TOLEDO            OH   43612‐4218
JESSE A VALDEZ                       1156 N MIDDLE DR                                                                                 GREENVILLE        OH   45331‐3019
JESSE ADAIR                          2346 CARROLLTON AVE                                                                              INDIANAPOLIS      IN   46205‐4520
JESSE ADAMS                          19 WOODFOREST PKWY                                                                               SYLVANIA          OH   43560‐1880
JESSE ADLER JR                       5904 NEW HIGHWAY 7                                                                               SANTA FE          TN   38482‐3418
JESSE AGNEW JR                       8626 N MATTOX RD APT C125                                                                        KANSAS CITY       MO   64154‐2428
JESSE AGUILERA                       BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.       OH   44236
JESSE ALARCON                        1308 NE 19TH PL                                                                                  MOORE             OK   73160‐6404
JESSE ALEXANDER
JESSE ALLEN                          50 BYERS DR                                                                                      QUARRYVILLE       PA   17566‐9265
JESSE ALLEN                          9336 S MERRILL AVE                                                                               CHICAGO           IL   60617‐3944
JESSE ALVAREZ                        7583 W BIRCH RUN RD                                                                              SAINT CHARLES     MI   48655‐9636
JESSE AMAYA                          1355 FENTONWOOD                                                                                  FENTON            MI   48430‐9617
JESSE AMERSON                        29528 MEADOWLANE DR                                                                              SOUTHFIELD        MI   48076‐5242
JESSE AMERSON                        1251 GRIDER POND RD                                                                              BOWLING GREEN     KY   42104‐4642
JESSE AMOS                           PO BOX 4185                                                                                      SAGINAW           MI   48606‐4185
JESSE ARANJO                         2204 E HOLLAND AVE                                                                               SAGINAW           MI   48601‐2452
JESSE ARBOGAST                       3851 PORTER RD                                                                                   ROOTSTOWN         OH   44272‐9504
JESSE ARCHER                         1602 COOLIDGE RD                                                                                 EAST LANSING      MI   48823‐1710
JESSE ARMSTEAD                       6146 LALITE AVE                                                                                  SAINT LOUIS       MO   63136‐4725
JESSE ARROYO
JESSE AUSTIN                         450 W 152ND ST APT 54                                                                            NEW YORK          NY   10031‐1817
JESSE B ESTES                        1164 EVERGREEN DRIVE                                                                             GREENVILLE        OH   45331
JESSE B HARRIS                       3941 ALVIN AVE                                                                                   DAYTON            OH   45408‐2309
JESSE B JOHNSON                      1321 BOAT DOCK RD.                                                                               SOMERSET          KY   42501‐9245
JESSE B. GROVE JR                    PO BOX 207                                                                                       SCOTTSVILLE       VA   24590
JESSE BABERS                         322 E 27TH CT N                                                                                  TULSA             OK   74106‐2312
JESSE BAGLEY                         603 E 27TH ST                                                                                    ANDERSON          IN   46016‐5401
JESSE BAILEY                         1171 E HASTINGS LAKE RD                                                                          JONESVILLE        MI   49250‐9596
JESSE BAKER                          826 W RIVER BLVD                                                                                 NEWTON FALLS      OH   44444‐1569
JESSE BAKER                          10904 N NICHOLSON RD                                                                             FOWLERVILLE       MI   48836‐9324
JESSE BALKE                          PO BOX 353                                                                                       MINCO             OK   73059‐0353
JESSE BALL                           303 E NALDRETTE ST                                                                               DURAND            MI   48429‐1764
JESSE BALLARD                        2714 LANDON ST                                                                                   FLINT             MI   48504‐2767
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Name                Address1                            Address2                      Address3   Address4               City             State   Zip
JESSE BANKS         19 NORTH ST                                                                                         NEWTON CENTER     MA     02459‐1737
JESSE BARKER        2090 DEADWOOD AVE N                                                                                 RAPID CITY        SD     57702‐0344
JESSE BARLOW        105 DOE RUN DR                                                                                      FAIRBURN          GA     30213‐3123
JESSE BARSENAS      2923 COOPER AVE                                                                                     SAGINAW           MI     48602‐3749
JESSE BARTON        3011 WOODLAND HILLS DR APT 9                                                                        ANN ARBOR         MI     48108
JESSE BAYN          17800 LAKEFIELD RD                                                                                  MERRILL           MI     48637‐8704
JESSE BEARDSLEY     13097 W SHORE DR                                                                                    HOUGHTON LAKE     MI     48629‐8654
JESSE BEATY         1181 CLARKRANGE MONTEREY HWY                                                                        CLARKRANGE        TN     38553‐5345
JESSE BECKETT       143 RAINBOW DR # 4389                                                                               LIVINGSTON        TX     77399‐1043
JESSE BEGLEY        PO BOX 2411                                                                                         ORANGE PARK       FL     32067‐2411
JESSE BELL          24551 EASTWOOD VILLAGE DR APT 102                                                                   CLINTON TWP       MI     48035‐5873
JESSE BENNETT       190 CRYSTAL LAKE DR                                                                                 PONTIAC           MI     48341‐2405
JESSE BEST          166 PUMP STATION RD                                                                                 ALMA              NY     14708‐9707
JESSE BETZ          36900 AURORA RD                                                                                     SOLON             OH     44139‐4656
JESSE BILBREW       APT I3 EDGEWATER MANOR                                                                              EDGEWATER PARK    NJ     08010
JESSE BIZZELL       14 GARY GLEN DR                                                                                     SAINT PETERS      MO     63376‐1916
JESSE BLACKFUL      5716 COUNTY ROAD 173                                                                                WILDWOOD          FL     34785‐8171
JESSE BLACKMON      1532 W 6TH ST                                                                                       MARION            IN     46953‐1327
JESSE BLAINE        PO BOX 407                                                                                          FLORISSANT        CO     80816
JESSE BLAKEY        5925 BOETTCHER CT                                                                                   INDIANAPOLIS      IN     46228‐1224
JESSE BLOODSAW      1833 DUNLAP DR                                                                                      STREETSBORO       OH     44241‐5185
JESSE BOLES         1970 CLOVERBROOK DR                                                                                 MINERAL RIDGE     OH     44440‐9519
JESSE BOOKER        4939 QUEENS AVE                                                                                     DAYTON            OH     45406‐3141
JESSE BOOKER        3425 SAINT JAMES AVE                                                                                DAYTON            OH     45406‐2626
JESSE BORDEN        823 S HONEYSUCKLE DR                                                                                OLATHE            KS     66061‐4211
JESSE BORING        2340 BAILEY DR                                                                                      NORCROSS          GA     30071‐3212
JESSE BORRALLO      901 DOLORES ST                                                                                      LIVERMORE         CA     94550‐4723
JESSE BOWLSON       15180 O CONNER                                                                                      ALLEN PARK        MI     48101
JESSE BRAATZ        460 CLARK RD                                                                                        HIGHLAND          MI     48357‐4702
JESSE BRADBERRY     663 N 500 W                                                                                         ANDERSON          IN     46011‐1478
JESSE BRADLEY       806 W HOUSTONIA AVE                                                                                 ROYAL OAK         MI     48073‐4084
JESSE BRADLEY       PO BOX 90151                                                                                        INDIANAPOLIS      IN     46290‐0151
JESSE BRANAM        6656 PINE ST                                                                                        TAYLOR            MI     48180‐1729
JESSE BRANDON       16886 INVERNESS ST                                                                                  DETROIT           MI     48221‐3111
JESSE BRANDON JR    39107 NOTTINGHAM DR                                                                                 ROMULUS           MI     48174‐6326
JESSE BRASHEAR      1823 WILDWOOD TER                                                                                   FAIRBORN          OH     45324‐4032
JESSE BRASWELL      RR 2 BOX 228                                                                                        COUSHATTA         LA     71019‐9372
JESSE BRAY          PO BOX 383                                                                                          SPRINGFIELD       OH     45501
JESSE BRENT         5640 COUNTY ROAD 491                                                                                LEWISTON          MI     49756‐9165
JESSE BREWSTER JR   1709 CADILLAC DR E                                                                                  KOKOMO            IN     46902‐2565
JESSE BRIGGS        2253 W STANLEY RD                                                                                   MOUNT MORRIS      MI     48458‐8242
JESSE BRINSTER      20473 FIVE POINTS ST                                                                                REDFORD           MI     48240‐1016
JESSE BROCK         802 CALEB DR                                                                                        WINDER            GA     30680‐2885
JESSE BROKERING     1141 SEARS ST                                                                                       INDIANAPOLIS      IN     46239‐2158
JESSE BROOKS        2200 CEDARSIDE DR                                                                                   PHENIX CITY       AL     36869‐7116
JESSE BROOKS        BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.       OH     44236
JESSE BROWN         THE MADEKSHO LAW FIRM               8866 GULF FREEWAY SUITE 440                                     HOUSTON           TX     77017
JESSE BROWN         300 E FRANKLIN ST                                                                                   LIBERTY           MO     64058‐1710
JESSE BROWN         2070 SEWARD AVE APT 12N                                                                             BRONX             NY     10473‐2126
JESSE BROWN         4700 SHILOH VIEW DR                                                                                 DAYTON            OH     45415‐3213
JESSE BROWN I I     3520 BRISBANE DR                                                                                    LANSING           MI     48911‐1306
JESSE BROWN JR      6401 VALORIE LN                                                                                     FLINT             MI     48504‐3615
JESSE BUCKNER       105 N ALBRIGHT ST                                                                                   ARCANUM           OH     45304‐1313
JESSE BUDD          4121 LAHMEYER RD APT 66                                                                             FORT WAYNE        IN     46815‐5674
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JESSE BURKEY        125 SUNRISE TER                                                                                         LIVERPOOL          NY     13088‐6643
JESSE BURLESON      55 BURLESON BRANCH RD                                                                                   BARNARDSVILLE      NC     28709‐9731
JESSE BURTON        116 ONEIDA ST                                                                                           PONTIAC            MI     48341‐1625
JESSE BURTON        17544 SANTA BARBARA DR                                                                                  DETROIT            MI     48221‐2529
JESSE BURTON        8505 NASHVILLE RD                                                                                       BOWLING GREEN      KY     42101‐8721
JESSE BYERS         4224 CHESTNUT AVE                                                                                       KANSAS CITY        MO     64130‐1334
JESSE C DEVER       NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT       205 LINDA DRIVE                          DAINGERFIELD       TX     75638
JESSE C FRANKS      C/O G PATTERSON KEAHEY PC       ONE INDEPENDENCE PLAZA STE 612                                          BIRMINGHAM         AL     35209
JESSE C GAMBILL     7440 BANNER STREET                                                                                      NEW PORT RICHEY    FL     34653‐2957
JESSE C KILLMON     4816 SMISER HICKMAN RD                                                                                  CULLEOKA           TN     38451‐2423
JESSE C MCGOWAN     1033 CATALINA DR                                                                                        W. CARROLLTON      OH     45449‐1649
JESSE C ROOKARD     P O BOX 61012 SALEM AVE N                                                                               DAYTON             OH     45406‐‐ 90
JESSE C TORREZ JR   156 CROSWELL AVE                                                                                        CROSWELL           MI     48422‐1328
JESSE C TORREZ JR   120 PROSPECT ST                                                                                         CROSWELL           MI     48422‐1342
JESSE CAHUE         6584 N 12TH ST                                                                                          KALAMAZOO          MI     49009‐9081
JESSE CAMPBELL      4419 AURELIUS RD                                                                                        LANSING            MI     48910‐5801
JESSE CANTRELL      BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS.        OH     44236
JESSE CANTU         1108 E WABASH ST                                                                                        CONVERSE           IN     46919‐9581
JESSE CARLYLE       1879 HARDING HWY E                                                                                      CALEDONIA          OH     43314‐9612
JESSE CARLYLE JR    1869 HARDING HWY E                                                                                      CALEDONIA          OH     43314‐9612
JESSE CARROLL       1112 PARADISE DR                                                                                        GREENBRIER         TN     37073‐5913
JESSE CARROLL       4134 EVANS ST                                                                                           MURFREESBORO       TN     37129‐1959
JESSE CASANOVA      4114 LANARK AVE                                                                                         WATERFORD          MI     48328‐1226
JESSE CASPERSON     4125 PARK ST N LOT 25                                                                                   ST PETERSBURG      FL     33709‐4053
JESSE CASTILLO      4704 BLACKBERRY LN                                                                                      LANSING            MI     48917‐2067
JESSE CATO          PO BOX 301000                                                                                           ARLINGTON          TX     76007‐1000
JESSE CAUDLE        2013 CRIMSON MEADOWS DR                                                                                 O FALLON           MO     63366‐4175
JESSE CHEN
JESSE CHILTON       3544 ADAMS ST                                                                                           INDIANAPOLIS      IN      46218‐1309
JESSE CHISOLM JR    6805 FINCH PL                                                                                           PHILADELPHIA      PA      19142‐2524
JESSE CLARK         8504 TAMARACK DR                                                                                        SHELBY TOWNSHIP   MI      48317‐1475
JESSE CLAYTON       11380 POTOSI LAKE RD                                                                                    MINERAL POINT     MO      63660‐9406
JESSE CLINE         2187 VAN OSS DR                                                                                         DAYTON            OH      45431‐3325
JESSE COFIELD       2405 THORNTON DR                                                                                        DAYTON            OH      45406‐1242
JESSE COKER         21221 CHARINA CIR               FOREST GROVE                                                            CHANDLER          TX      75758‐8203
JESSE COLE          512 FLINT BLVD                                                                                          FORTVILLE         IN      46040‐1288
JESSE COLLIER       2106 ATWOOD DR                                                                                          ANDERSON          IN      46016‐2737
JESSE COLLINS       9310 ROOT RD                                                                                            N RIDGEVILLE      OH      44039‐4368
JESSE COMBS         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS.       OH      44236
JESSE CONLEY JR     2309 JAMES ST                                                                                           KALAMAZOO         MI      49001‐4370
JESSE CONWAY JR     313 DONNA LN                                                                                            YORK              PA      17403‐4810
JESSE COOK          PO BOX 404                                                                                              INGALLS           IN      46048‐0404
JESSE COOPER        504 W SEVENTH AVE                                                                                       PETAL             MS      39465‐2010
JESSE CORONADO      190 W PINEWOOD AVE                                                                                      DEFIANCE          OH      43512‐3579
JESSE CORONADO      389 N RIVER RD                                                                                          WATERVILLE        OH      43566‐1454
JESSE COTTRELL      4535 PARK AVE. WEST RD.                                                                                 MANSFIELD         OH      44903
JESSE COVARRUBIAS   4015 SASHABAW RD                                                                                        WATERFORD         MI      48329‐2075
JESSE COWAN         14609 DALWOOD AVE                                                                                       NORWALK           CA      90650‐5620
JESSE COWART        1372 NW 56TH ST                                                                                         MIAMI             FL      33142‐3142
JESSE COX           BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS.       OH      44236
JESSE COX JR        408 SEMINOLE CT                                                                                         JANESVILLE        WI      53545‐4329
JESSE CRABTREE      3501 E MEMORIAL DR                                                                                      MUNCIE            IN      47302‐4861
JESSE CRABTREE      6046 SPRINGDALE RD                                                                                      CINCINNATI        OH      45247‐3439
JESSE CRATE         7362 STATE ROUTE 82                                                                                     GARRETTSVILLE     OH      44231‐9208
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Name                 Address1                        Address2                     Address3   Address4               City            State   Zip
JESSE CRIGGER        830 N 80TH PL                                                                                  KANSAS CITY      KS     66112‐2506
JESSE CROFT          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.      OH     44236
JESSE D BRASHEAR     1823 WILDWOOD TERRACE                                                                          FAIRBORN         OH     45324‐4032
JESSE D BUCKNER      105 NORTH ALBRIGHT                                                                             ARCANUM          OH     45304
JESSE D DANIEL       9350 PLEASANT PLAIN RD                                                                         BROOKVILLE       OH     45309‐8688
JESSE D JUPE         2403 W FRANCES RD                                                                              MOUNT MORRIS     MI     48458‐8250
JESSE D PRUITT       616 BAER DR                                                                                    MOORE            OK     73160‐3713
JESSE D WHITAKER     2939 KINGSTON AVE                                                                              DAYTON           OH     45420‐2627
JESSE D ZIMMERMAN    4227 PAINT CREEK RD                                                                            EATON            OH     45320
JESSE DAILEY         106 HANOVER DR                                                                                 MORRISTOWN       IN     46161‐9617
JESSE DAILY          3186 JANES AVE                                                                                 SAGINAW          MI     48601‐6316
JESSE DANIEL         9350 PLEASANT PLAIN RD                                                                         BROOKVILLE       OH     45309‐8688
JESSE DANIELS        3775 TOPAWA STREET                                                                             LAS VEGAS        NV     89103‐2435
JESSE DAVIS          930 WHITE DOVE DR                                                                              ARLINGTON        TX     76017‐6568
JESSE DAVIS          2505 MORRISH RD                                                                                FLUSHING         MI     48433‐9411
JESSE DAVIS          PO BOX 545                                                                                     ROGERSVILLE      AL     35652‐0545
JESSE DAVIS          6610 COLONIAL DR                                                                               FLINT            MI     48505‐1918
JESSE DAVIS JR       2228 WOODGRASS DR                                                                              SAINT LOUIS      MO     63114‐5814
JESSE DE VITTORIO    11 S BROAD ST                                                                                  RIDGWAY          PA     15853‐1005
JESSE DEAN           BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.      OH     44236
JESSE DELAROSA       205 W DIEDRICH ST                                                                              WALHALLA         SC     29691‐2260
JESSE DELGADO        21603 N 33RD AVE                                                                               PHOENIX          AZ     85027‐2212
JESSE DEPP JR        2871 HIGHLAND PL                                                                               INDIANAPOLIS     IN     46208‐5124
JESSE DIAZ           8677 ALGER RD                                                                                  ALGER            MI     48610‐9740
JESSE DIAZ JR        PO BOX 144                                                                                     SYRACUSE         NY     13211‐0144
JESSE DICKINSON      3091 EASTGATE ST                                                                               BURTON           MI     48519‐1562
JESSE DIFFIN         6455 S CRAPO RD                                                                                ASHLEY           MI     48806‐9336
JESSE DILLON         39 N GLADSTONE AVE                                                                             INDIANAPOLIS     IN     46201‐3601
JESSE DOLNEY
JESSE DOTSON         4654 LONGFELLOW AVE                                                                            HUBER HEIGHTS   OH      45424‐6030
JESSE DRAIN III      15248 LINDEN ST                                                                                LEAWOOD         KS      66224‐4572
JESSE DRISCOLL       16 TOWNHOUSE CRT                APT 16                                                         DAYTON          OH      45406
JESSE DULANEY        4236 KELLAR AVE                                                                                FLINT           MI      48504‐2163
JESSE DUNN JR        22277 W 12 MILE RD APT 41                                                                      SOUTHFIELD      MI      48034‐4671
JESSE DUNTON         1052 WASHINGTON AVE                                                                            WOODSTOCK       GA      30188‐4161
JESSE DURAN          401 WOLCOTT LN                                                                                 BATAVIA         IL      60510‐2834
JESSE DURKEY         2315 SHENANDOAH DR                                                                             TROY            OH      45373‐9230
JESSE E AGNEW SR     WEITZ & LUXENBERG PC            700 BROADWAY                                                   NEW YORK CITY   NY      10003
JESSE E ANDING       4018 ROCKY HILL RD                                                                             WESSON          MS      39191‐9056
JESSE E COFIELD      2405 THORNTON DRIVE                                                                            DAYTON          OH      45406‐1242
JESSE E GARCIA       25157 FILMORE ST                                                                               TAYLOR          MI      48180‐2080
JESSE E PETREE       153 N DIXIE DR APT 11                                                                          VANDALIA        OH      45377‐2033
JESSE E PRUGH        545 DEE AVE                                                                                    MIAMISBURG      OH      45342‐3013
JESSE E REED         11121 HEMPLE RD                                                                                FARMERSVILLE    OH      45325‐9215
JESSE E ROLLINS      HC 66 BOX 845                                                                                  SAWYER          OK      74756‐9720
JESSE E ROWLAND      7812 BLACKSHEAR DR.                                                                            HUBER HEIGHTS   OH      45424
JESSE E TURNER III   6331 7 PINES DR                                                                                W CARROLLTON    OH      45449
JESSE E WATKINS      346 KANSAS AVE                                                                                 YPSILANTI       MI      48198‐6027
JESSE E WILLIAMS     4450 ZUFALL LANE                                                                               DESOTO          MO      63020
JESSE EARLY          PO BOX 431795                                                                                  PONTIAC         MI      48343‐1795
JESSE EBERWEIN       97 MISTY FALLS DR                                                                              ORMOND BEACH    FL      32174‐9176
JESSE ELDERS JR      98 LA FRANCE ST                                                                                OREGON          OH      43616‐1054
JESSE ELLER          19 BETHEL CT                    ALTERSGATE                                                     NEWARK          DE      19713‐1685
JESSE ELSNER         4524 CREEKWOOD CIR NW                                                                          KENNESAW        GA      30152‐3915
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JESSE ELWOOD OSBORNE   MOTLEY RICE LLC                  28 BRIDGESIDE BLVD           P O BOX 1792                          MT PLEASANT       SC 29485
JESSE ESTES            1164 EVERGREEN DR                                                                                   GREENVILLE        OH 45331‐3012
JESSE EVANS            14506 S ATLANTIC AVE                                                                                RIVERDALE          IL 60827‐2717
JESSE EVERETTE JR      579 W EVANSTON RD                                                                                   TIPP CITY         OH 45371‐2053
JESSE F DARGAVELL      5925 SILVER DRIVE                                                                                   TIPP CITY         OH 45371‐2241
JESSE F MILLER JR      14116 RUTLAND ST                                                                                    DETROIT           MI 48227‐1316
JESSE F NORTH          P.O BOX 1084                                                                                        BETHANY           OK 73008
JESSE F WHITE          273 MASSIE DR                                                                                       XENIA             OH 45385‐3741
JESSE FENTON JR        27 EDNA AVE                                                                                         PONTIAC           MI 48341‐1902
JESSE FIELDER JR       2303 MARLYN DR                                                                                      WILMINGTON        DE 19808‐2517
JESSE FIFE             BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.       OH 44236
JESSE FINK             3825 SHOALS ST                                                                                      WATERFORD         MI 48329‐2267
JESSE FISHER JR        8849 OVERLEA CV                                                                                     CORDOVA           TN 38016‐1416
JESSE FIVECOATE        3501 COVEY LN                                                                                       KOKOMO            IN 46902‐5923
JESSE FLORES           3155 N JENNINGS RD                                                                                  FLINT             MI 48504‐1766
JESSE FLOWERS          1303 REDBUD PL                                                                                      LORAIN            OH 44053‐3145
JESSE FLUKER           13558 SAINT MARYS ST                                                                                DETROIT           MI 48227‐1733
JESSE FORD             3314 WALTERS DR                                                                                     SAGINAW           MI 48601‐4612
JESSE FORD             6056 SILVER OAK DR                                                                                  SHERWOOD          AR 72120‐6500
JESSE FORTENBERRY      2618 CAMINO GRANDE ST                                                                               GAUTIER           MS 39553‐6857
JESSE FOSTER           11215 JENNINGS RD                                                                                   FENTON            MI 48430‐9706
JESSE FOWLER           2441 S 21ST AVE                                                                                     BROADVIEW          IL 60155‐3864
JESSE FRANKLIN         7591 E LANDERSDALE RD                                                                               CAMBY             IN 46113‐8512
JESSE FRANKLIN         339 ROBIN RD                                                                                        BOWLING GREEN     KY 42101‐3621
JESSE FULLENWIDER      7045 IVY POINTE ROW                                                                                 AUSTELL           GA 30168‐5838
JESSE GALLEGOS         PO BOX 676                                                                                          WAELDER           TX 78959‐0676
JESSE GAMBILL          7440 BANNER ST                                                                                      NEW PORT RICHEY   FL 34653‐2957
JESSE GARBER           1313 N US 23                     P.O.BOX 344                                                        EAST TAWAS        MI 48730‐9441
JESSE GARCIA           4153 HIPP ST                                                                                        DEARBORN HEIGHTS MI 48125‐2911

JESSE GARCIA           37 E HOPKINS AVE                                                                                    PONTIAC           MI   48340‐1932
JESSE GARCIA           1908 CADILLAC ST                                                                                    FLINE             MI   48504‐4892
JESSE GARCIA           5418 VASSAR RD                                                                                      GRAND BLANC       MI   48439‐9112
JESSE GARCIA           BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.       OH   44236
JESSE GARRETT JR       540 BLACKSTOCK RD                                                                                   AUBURN            GA   30011‐2531
JESSE GENTILE          1245 GRIDER POND RD                                                                                 BOWLING GREEN     KY   42104‐4642
JESSE GIBBS            4183 NORTH AYR ROAD                                                                                 ALANSON           MI   49706
JESSE GIBSON           1855 BERKLEY AVE                                                                                    CINCINNATI        OH   45237‐6115
JESSE GIBSON           10221 E 57TH ST                                                                                     RAYTOWN           MO   64133‐3328
JESSE GILES            244 N QUEEN ST APT 1                                                                                MARTINSBURG       WV   25401‐3337
JESSE GILMORE          4508 VARSITY CIR                                                                                    LEHIGH ACRES      FL   33971‐2060
JESSE GINGRICH         18330 BRIM ROAD                  LOT NO. #25                                                        BOWLING GREEN     OH   43402
JESSE GOBLE            PO BOX 305                                                                                          NORTH             NY   14120‐0305
                                                                                                                           TONAWANDA
JESSE GOMEZ JR         6493 ANDERSONVILLE RD                                                                               WATERFORD         MI   48329‐1412
JESSE GONZALES         413 E HIGH ST                                                                                       NAPOLEON          OH   43545‐9206
JESSE GONZALES         1000 S BALDWIN RD                                                                                   OXFORD            MI   48371‐5600
JESSE GONZALES JR      1202 N UNION ST                                                                                     KOKOMO            IN   46901‐2902
JESSE GONZALEZ         39057 MISSION BLVD                                                                                  FREMONT           CA   94539‐3036
JESSE GONZALEZ         3812 PARKWAY DR                                                                                     LANSING           MI   48910‐4757
JESSE GONZALEZ         404 BRADFORD CT                                                                                     COLUMBIA          TN   38401‐5094
JESSE GOUVAN           177 GLADSTONE STREET                                                                                WABASH            IN   46992‐1219
JESSE GRANT            PO BOX 312                                                                                          SUMMIT            NY   12175‐0312
JESSE GRATKE           1742 CRESTHILL AVE                                                                                  ROYAL OAK         MI   48073‐1902
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JESSE GRAY               5400 KRISTEN PL                                                                                   CHESTERFIELD     IN     46017‐9659
JESSE GRAY               304 UNION HILL RD                                                                                 LEOMA            TN     38468‐5694
JESSE GREEN              7216 S MORRIS RD                                                                                  OAK GROVE        MO     64075‐8320
JESSE GREEN JR           12961 KYLE MOOR PL                                                                                BRISTOW          VA     20136‐2596
JESSE GREENE             200 BYERLY RD                                                                                     LONDON           OH     43140‐9549
JESSE GRIMES             17 HI‐VIEW RIDGE DR                                                                               ARCHIE           MO     64725‐9520
JESSE GUERRERO           PO BOX 1815                                                                                       SAGINAW          MI     48605‐1815
JESSE GUEVARA            1800 MAITLAND DR                                                                                  SAGINAW          MI     48609‐9544
JESSE GUFFEY             1312 RILEY RD                                                                                     NEW CASTLE       IN     47362‐1961
JESSE GUITERREZ          5405 DARLA DR                                                                                     OKLAHOMA CITY    OK     73135‐4335
JESSE GUTIERREZ          3707 19TH ST                                                                                      RACINE           WI     53405‐3806
JESSE GUZMAN             P.O. B0X 2412                                                                                     SAGINAW          MI     48605
JESSE GWINN              2166 HOWE RD                                                                                      BURTON           MI     48519‐1128
JESSE H BROWN            4805 GARDENDALE                                                                                   DAYTON           OH     45427‐3113
JESSE HAAS               503 KROTZER AVE                                                                                   LUCKEY           OH     43443‐9752
JESSE HALBERT JR         1501 FLUSHING ROAD                                                                                FLINT            MI     48504‐4712
JESSE HALFORD            17358 WESTHAMPTON RD                                                                              SOUTHFIELD       MI     48075‐4312
JESSE HALL               5417 MAPLE LEAF LN                                                                                SUGAR GROVE      VA     24375‐3304
JESSE HALL               15250 EASTWOOD ST                                                                                 DETROIT          MI     48205‐2952
JESSE HAMMOND            1325 NE OAKWOOD DR                                                                                LEES SUMMIT      MO     64086‐4003
JESSE HANEY              3192 SHORELAND DR                                                                                 BUFORD           GA     30518‐1555
JESSE HANEY              23 POST OFFICE LN                                                                                 SHAWNEE          OK     74801‐3410
JESSE HARD               6108 BOLIVIA LN                                                                                   MARIANNA         FL     32446‐6878
JESSE HARDIN             480 PRESIDENTIAL CT                                                                               BOARDMAN         OH     44512‐4771
JESSE HARPER             2729 HOLLEY CT                                                                                    ATLANTA          GA     30344‐2048
JESSE HARRIS             821 GLENSDEL DR                                                                                   DAYTON           OH     45427‐2735
JESSE HARRIS             3941 ALVIN AVE                                                                                    DAYTON           OH     45408‐2309
JESSE HARRIS             714 OXFORD ST                                                                                     YOUNGSTOWN       OH     44510‐1455
JESSE HARRIS             5683 AUTUMN WAY                                                                                   GRAYLING         MI     49738‐8521
JESSE HARRIS             BRENT COON & ASSOCIATES      215 ORLEANS                                                          BEAUMONT         TX     77701
JESSE HAWKS              436 G. GORMAN ROAD.                                                                               SHADY VALLEY     TN     37688
JESSE HECK               880 BUCKHORN DR                                                                                   LAKE ORION       MI     48362‐2830
JESSE HENDERSON          631 WOODFORD AVE                                                                                  BOWLING GREEN    KY     42101‐4852
JESSE HERNANDEZ          155 BOYKEN RD                                                                                     ROCHESTER HLS    MI     48307‐3807
JESSE HERNANDEZ          855 SAYBROOK DR                                                                                   WATERFORD        MI     48327‐2585
JESSE HERSCHEL BASSETT   BARON & BUDD P C             THE CENTRUM SUITE 1100    3102 OAK LAWN AVE                          DALLAS           TX     75219‐4281
JESSE HILLIE             34 COLLINGWOOD ST                                                                                 PONTIAC          MI     48342‐3102
JESSE HILLMAN            809 E JEFFERSON ST                                                                                KOKOMO           IN     46901‐4718
JESSE HILLS JR           54200 AVENIDA HERRERA                                                                             LA QUINTA        CA     92253‐3654
JESSE HITTLE JR          16881 MANITOU RD                                                                                  MANITOU BEACH    MI     49253‐9703
JESSE HODGES JR          19456 TRACEY ST                                                                                   DETROIT          MI     48235‐1740
JESSE HOGAN              724 SIR WINSTON PL                                                                                FRANKLIN         TN     37064‐5437
JESSE HOLLIS RHODES JR   BARON & BUDD PC              THE CENTRIUM SUITE 1100   3102 OAK LAWN AVE                          DALLAS           TX     75219‐4281
JESSE HOOPER             3314 DECAMP RD                                                                                    YOUNGSTOWN       OH     44511‐1246
JESSE HOWARD             2727 W 34TH ST                                                                                    ANDERSON         IN     46011‐4741
JESSE HOWARD JR          611 N WARD RD                                                                                     MIDLOTHIAN       TX     76065‐5020
JESSE HOWARD SR          5715 TIMBERTOP LN                                                                                 CHARLOTTE        NC     28215‐7531
JESSE HOWELL             8350 FOREST DR                                                                                    PASADENA         MD     21122‐4748
JESSE HUBBARD            1386 CHARLESTON LN                                                                                COLUMBIA         TN     38401‐7344
JESSE HUCKLEBERRY        3704 GEORGE WASHINGTON DR                                                                         ELLENWOOD        GA     30294‐4305
JESSE HUGHES             2983 BYRON CENTER AVE SW                                                                          WYOMING          MI     49519
JESSE HUGHES             1290 DENISE DR                                                                                    KENT             OH     44240‐1680
JESSE HUMPHREY           3240 WARREN MEADVILLE RD                                                                          CORTLAND         OH     44410‐9223
JESSE HURLEY             9611 MUELLER ST                                                                                   TAYLOR           MI     48180‐3574
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Name                      Address1                       Address2                     Address3          Address4               City            State   Zip
JESSE HUSTON              2320 ASPEN CT                                                                                        ANDERSON         IN     46011
JESSE HYCHE               1504 9TH WAY N                                                                                       TUSCALOOSA       AL     35406‐2010
JESSE IGLESIAS            10791 W BRAEMAR                                                                                      HOLLY            MI     48442‐8694
JESSE INGRAM              291 COUNTY ROAD 244                                                                                  ARLEY            AL     35541‐2449
JESSE IRISH               3610 BRITTANY OAK TRCE                                                                               SNELLVILLE       GA     30039‐8768
JESSE IVES                PO BOX 1112                                                                                          SOUTH ROXANA      IL    62087‐1112
JESSE J ANDERSON          PO BOX 932                                                                                           MONTICELLO       MS     39654‐0932
JESSE J CLINE             2187 VAN OSS DR                                                                                      DAYTON           OH     45431‐3325
JESSE J COPELAND          4418 SAYLOR ST                                                                                       DAYTON           OH     45416‐2155
JESSE J CRIGGER           830 N 80TH PL                                                                                        KANSAS CITY      KS     66112‐2506
JESSE J GILES             244 N QUEEN ST APT 5                                                                                 MARTINSBURG      WV     25401
JESSE J HALL              C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                                            HOUSTON          TX     77007
                          BOUNDAS LLP
JESSE J HARRIS            821 GLENSDEL DR                                                                                      DAYTON          OH      45427‐2735
JESSE J HINKLE            1364 GAGE RD                                                                                         TOLEDO          OH      43612‐4020
JESSE J JACKSON           7681 KENNINGTON LN                                                                                   JONESBORO       GA      30236‐2652
JESSE J LANGSTON JR IRA   1913 ALAN‐A‐DALE RD                                                                                  ARLINGTON       TX      76013‐4941
JESSE J LAWTON            24500 KINSEL ST                                                                                      SOUTHFIELD      MI      48033‐2935
JESSE J LEE               NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT     205 LINDA DR                             DAINGERFIELD    TX      75638
JESSE J LEE               1504 17TH ST N                                                                                       BIRMINGHAM      AL      35204
JESSE J PICKETT           11251 LAKEPOINTE ST                                                                                  DETROIT         MI      48224‐1605
JESSE J PIERCE            2912 PRESCOTT APT201                                                                                 DAYTON          OH      45406‐2729
JESSE J PIERCE JR         916 BRYN MAWR DR                                                                                     DAYTON          OH      45407
JESSE J RODRIGUEZ         1433 MEADOWBROOK WAY                                                                                 TEMPERANCE      MI      48182‐9246
JESSE J ROWLAND           4703 BRYANT AVE                                                                                      DAYTON          OH      45414‐4610
JESSE J RUBIO             PO BOX 74                                                                                            XENIA           OH      45385
JESSE J SANTFANT          128 EVERGREEN CT                                                                                     MT STERLING     KY      40353‐8203
JESSE J STACH             620 RANCOCAS AVE                                                                                     RIVERSIDE       NJ      08075
JESSE J WILSON            12 ROBERTS RD                                                                                        SOMERSET        NJ      08873
JESSE JACKSON             321 SEWARD ST                                                                                        ROCHESTER       NY      14608‐2811
JESSE JACKSON             7681 KENNINGTON LN                                                                                   JONESBORO       GA      30236‐2652
JESSE JACKSON             90 S JESSIE ST                                                                                       PONTIAC         MI      48342‐2816
JESSE JACKSON             86 HUMBER AVE                                                                                        BUFFALO         NY      14215‐3115
JESSE JACKSON             6920 S MICHIGAN AVE                                                                                  CHICAGO         IL      60637‐4527
JESSE JACOBS              311 N BROOM ST                                                                                       WILMINGTON      DE      19805‐3516
JESSE JACOTA              5748 SLATTERY RD                                                                                     NORTH BRANCH    MI      48461‐8800
JESSE JAMES               PO BOX 432023                                                                                        PONTIAC         MI      48343‐2023
JESSE JAMES               2382 TANDY DR                                                                                        FLINT           MI      48532‐4958
JESSE JAMES CARPENTER     NIX, PATTERSON & ROACH LLP     GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD    TX      75638
JESSE JAMES ROSS          2559 TURKEYFOOT RD                                                                                   BOURBON         MO      65441‐9185
JESSE JIMENEZ             7889 DITCH RD                                                                                        CHESANING       MI      48616‐9782
JESSE JIMENEZ             4190 ALVIN ST                                                                                        SAGINAW         MI      48603‐3005
JESSE JOHNSON             1 SHELLMAR CT APT C                                                                                  NOTTINGHAM      MD      21236‐4537
JESSE JOHNSON             2701 LAKEWOOD DR                                                                                     FLINT           MI      48507‐1835
JESSE JOHNSON             5702 S HELENA STRA                                                                                   TUCSON          AZ      85706‐4822
JESSE JOHNSON             611 4TH AVE                                                                                          PONTIAC         MI      48340‐2023
JESSE JOHNSON             4809 S WALNUT ST                                                                                     MUNCIE          IN      47302‐8533
JESSE JOHNSON             7929 ASHTON DR                                                                                       FISHERS         IN      46038‐1455
JESSE JOHNSON             1321 BOAT DOCK RD                                                                                    SOMERSET        KY      42501‐9245
JESSE JONES               19521 RIDGEMONT ST                                                                                   ST CLAIR SHRS   MI      48080‐3316
JESSE JONES               2389 GOLFVIEW CIR                                                                                    FENTON          MI      48430‐9629
JESSE JONES               1284 E 142ND ST                                                                                      E CLEVELAND     OH      44112‐2536
JESSE JONES               4064 KNOX SCHOOL RD                                                                                  HOMEWORTH       OH      44634‐9714
JESSE JONES               3910 MIDWAY AVE                                                                                      DAYTON          OH      45417‐1308
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Name                    Address1                            Address2                         Address3                   Address4               City             State   Zip
JESSE JONES             339 EAST PEARL STREET                                                                                                  TOLEDO            OH     43608‐1224
JESSE JONES             501 FAIRVIEW BOILING SPRINGS RD                                                                                        BOWLING GREEN     KY     42101‐8754
JESSE JONES             1825 BETHBIREI RD                                                                                                      LEWISBURG         TN     37091‐6253
JESSE JONES             3161 LIBERTY ELLERTON RD                                                                                               DAYTON            OH     45418‐1314
JESSE JONES             1418 GLENDA DR                                                                                                         YUKON             OK     73099‐5534
JESSE JONES             THE MADEKSHO LAW FIRM               8866 GULF FREEWAY SUITE 440                                                        HOUSTON           TX     77017
JESSE JONES JR          6150 W MICHIGAN AVE APT S15                                                                                            LANSING           MI     48917‐2433
JESSE JORGENSON         4115 DEER CROSSING DR                                                                                                  JANESVILLE        WI     53546‐4276
JESSE JUPE              2403 WEST FRANCES ROAD                                                                                                 MOUNT MORRIS      MI     48458‐8250
JESSE KATES             2136 W HILLSDALE ST                                                                                                    LANSING           MI     48915‐1124
JESSE KEELS             303 S MARSHALL ST                                                                                                      PONTIAC           MI     48342‐3248
JESSE KILBURN           6760 WHITE LAKE RD                                                                                                     WHITE LAKE        MI     48383‐1145
JESSE KILLMON           4816 SMISER HICKMAN RD                                                                                                 CULLEOKA          TN     38451‐2423
JESSE KIRKENDOLL        213 ASH ST                                                                                                             CENTREVILLE        IL    62203‐2418
JESSE KIRKSEY JR        422 W BALTIMORE BLVD                                                                                                   FLINT             MI     48505‐6319
JESSE KIRKWOOD          530 CHAIRFACTORY RD                                                                                                    ELMA              NY     14059‐9313
JESSE KNIGHT            165 CONCORD DR APT C                                                                                                   BOWLING GREEN     KY     42103‐8575
JESSE KNOTTS            6815 STATE RD 60 E                  LOT 453                                                                            BARTOW            FL     33830
JESSE L BOLES           1970 CLOVERBROOK DR.                                                                                                   MINERAL RIDGE     OH     44440‐9519
JESSE L DRISCOLL        16 TOWNHOUSE CRT                    APT 16                                                                             DAYTON            OH     45406
JESSE L DRISCOLL        16 TOWNHOUSE CRT. APT 16                                                                                               DAYTON            OH     45406
JESSE L GRANT           PO BOX 312                                                                                                             SUMMIT            NY     12175‐0312
JESSE L IVES            P O BOX 87173                                                                                                          S ROXANNE          IL    62087
JESSE L JONES           3910 MIDWAY AVE                                                                                                        DAYTON            OH     45417‐1308
JESSE L ROMANELLO       GLASSER AND GLASSER, CROWN CENTER   580 EAST MAIN STREET SUITE 600                                                     NORFOLK           VA     23510

JESSE L SAMPSON         3614 DIXIE HIGHWAY                                                                                                     BEDFORD          IN      47421
JESSE L THOMPSON        3580 HOLMES AVE.                                                                                                       JACKSON          MS      39213
JESSE L WALKER          6075 ROMAINE DR                                                                                                        DAYTON           OH      45415
JESSE LAKES             4302 GREENLAWN DR                                                                                                      FLINT            MI      48504‐5412
JESSE LAWRENCE          13961 PENROD ST                                                                                                        DETROIT          MI      48223‐3545
JESSE LAWTON            24500 KINSEL ST                                                                                                        SOUTHFIELD       MI      48033‐2935
JESSE LEDWELL           2003 S SEMORAN BLVD APT A                                                                                              ORLANDO          FL      32822‐2894
JESSE LEGGETT           1050 HIGHWAY W 78 HIGHWAY           APT# 150                                                                           VILLA RICA       GA      30180
JESSE LEVANDUSKY JR     11 SABRINA DR                                                                                                          EWING            NJ      08628‐1523
JESSE LEWIS             37 ROCKFORD AVE APT 14                                                                                                 FOREST PARK      IL      60130‐1081
JESSE LEWIS JR          1060 MAIDEN PL                                                                                                         DAYTON           OH      45418‐1956
JESSE LIGHTNER          1 COUNTRY LN APT F210                                                                                                  BROOKVILLE       OH      45309‐7203
JESSE LINDSEY           2810 BLUE LEVEL PROVIDENCE RD                                                                                          ROCKFIELD        KY      42274‐9791
JESSE LOGAN             29555 LAUREL WOODS DR APT 201                                                                                          SOUTHFIELD       MI      48034‐4663
JESSE LONG              3199 MORTON BEND RD SW                                                                                                 ROME             GA      30161‐4163
JESSE LONG              723 SERENDIPITY DR                                                                                                     GALENA           MO      65656‐4892
JESSE LOUISON           4303 E MILWAUKEE ST                                                                                                    JANESVILLE       WI      53546‐3714
JESSE LOUISON           6344 N 75 E                                                                                                            UNIONDALE        IN      46791‐9757
JESSE LOWE              1890 N COUNTY ROAD 425 E                                                                                               AVON             IN      46123‐8375
JESSE LOZA              PO BOX 9653                                                                                                            CANOGA PARK      CA      91309‐0653
JESSE LUCAS             1822 GUMMER AVE.                                                                                                       DAYTON           OH      45403‐3443
JESSE LUNDY             2447 KINSDALE AVE                                                                                                      DICKINSON        TX      77539‐6152
JESSE M ABRAMS          7790 MIDD‐GERM RD                                                                                                      MIDDLETOWN       OH      45042
JESSE M AREVALO ET AL   ATTN: E TODD TRACY                  THE TRACY FIRM                   5473 BLAIR RD, SUITE 200                          DALLAS           TX      75231
JESSE M CHILDERS        NIX PATTERSON & ROACH LLP           GM BANKRUPTCY DEPARTMENT         205 LINDA DRIVE                                   DAINGERFIELD     TX      75638
JESSE M JORDAN          630 26 RD                                                                                                              GRAND JUNCTION   CO      81506
JESSE M JORDAN TTEE     630 26 RD                                                                                                              GRAND JUNCTION   CO      81506
JESSE M PRUNTY          3634 LAKESIDE DR                                                                                                       SHREVEPORT       LA      71119‐6516
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Name                  Address1                       Address2                      Address3   Address4               City            State   Zip
JESSE MADDEN          220 PINEY GROVE RD                                                                             CARROLLTON       GA     30117‐8890
JESSE MAE JENKINS     C/O WEITZ & LUXENBERG PC       700 BROADWAY                                                    NEW YORK CITY    NY     10003
JESSE MARCUM          480 WYNDHAM DR                                                                                 OXFORD           MI     48371‐6159
JESSE MARTINEZ        1019 MADRID LN                                                                                 WEIDMAN          MI     48893‐8824
JESSE MARTINEZ        265 HAZEN ST                                                                                   MILPITAS         CA     95035‐2847
JESSE MASON           7111 JENNIFER LN                                                                               PRINCETON        LA     71067‐9152
JESSE MAST            PO BOX 477                                                                                     FAYETTE CITY     PA     15438‐0477
JESSE MAYBEE          7131 DRAKE STATELINE RD NE                                                                     BURGHILL         OH     44404‐9716
JESSE MAYES           THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                                     HOUSTON          TX     77017
JESSE MAYS            2414 HOFF ST                                                                                   FLINT            MI     48506‐3479
JESSE MC DONALD JR    4941 HIGHWAY 43                                                                                MC INTOSH        AL     36553‐7400
JESSE MCCAULEY        909 BRIAR RIDGE DR                                                                             KELLER           TX     76248‐8368
JESSE MCCONNELL       PO BOX 4206                                                                                    PRESCOTT         MI     48756‐4206
JESSE MCCONNELL       11 PIN OAK CT                                                                                  CUBA             MO     65453‐8601
JESSE MCELROY         609 PLYMOUTH AVE                                                                               SCHENECTADY      NY     12308‐3507
JESSE MCGHEE          1237 E JULIAH AVE                                                                              FLINT            MI     48505‐1647
JESSE MCGOWAN         1033 CATALINA DR                                                                               DAYTON           OH     45449‐1649
JESSE MCGOWAN         1301 VINE ST                                                                                   NORMAN           OK     73072‐6004
JESSE MEDLOCK         PO BOX 49016                                                                                   SARASOTA         FL     34230
JESSE MEESE           BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS       OH     44236
JESSE MELLOTT         1259 JULIA DR SW                                                                               WARREN           OH     44481‐9630
JESSE MICHAEL
JESSE MICHAELS        7322 STATE ROAD 38                                                                             GREENS FORK     IN      47345‐9708
JESSE MILES           13246 SANTA ROSA DR                                                                            DETROIT         MI      48238‐4206
JESSE MILLER          835 PARK CENTRAL N DR APT D                                                                    INDIANAPOLIS    IN      46260
JESSE MILLER          5840 MILLER RD                                                                                 VASSAR          MI      48768‐9259
JESSE MILLER          2806 FRAZER RD                                                                                 NEWARK          DE      19702‐4530
JESSE MILLER JR       14116 RUTLAND ST                                                                               DETROIT         MI      48227‐1316
JESSE MINOR JR        10020 TERRY ST                                                                                 DETROIT         MI      48227‐2475
JESSE MIRACLE         4809 W ISABELLA RD                                                                             SHEPHERD        MI      48883‐9676
JESSE MONDAY          5739 S 100 W                                                                                   PENDLETON       IN      46064‐9389
JESSE MONROE JR       733 MERRITT RD                                                                                 FORESTBURG      TX      76239‐3325
JESSE MONTGOMERY JR   5247 LOTUS AVE                                                                                 SAINT LOUIS     MO      63113‐1129
JESSE MOON            THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                                     HOUSTON         TX      77017
JESSE MOORE           2952 SAGE AVE                                                                                  DAYTON          OH      45408‐2233
JESSE MOORE           4108 N CAPITOL AVE                                                                             INDIANAPOLIS    IN      46208‐3813
JESSE MOORE           7250 STUDEBAKER RD                                                                             TIPP CITY       OH      45371‐8535
JESSE MOSLEY          4913 OAK MANOR TER                                                                             OKLAHOMA CITY   OK      73135‐2251
JESSE MOSS III        5220 W WILSON RD                                                                               CLIO            MI      48420‐9450
JESSE MOUTRAY         1555 KURTZ RD                                                                                  HOLLY           MI      48442‐8370
JESSE MULLINS         10490 E BROOKS RD                                                                              LENNON          MI      48449‐9680
JESSE MULLINS         1884 ALBERTA CT S                                                                              MIDDLEBURG      FL      32068‐4310
JESSE MUMFORD JR      2078 MIAMI RD                                                                                  EUCLID          OH      44117‐2404
JESSE MUNIZ           2126 TIMBERLAKE TRL                                                                            FORT WAYNE      IN      46804‐7733
JESSE MURDOCK JR      3309 PIMLICO DR                                                                                ARLINGTON       TX      76017‐2420
JESSE MURPHY          431 W OSAGE ST                                                                                 GREENFIELD      IN      46140‐2200
JESSE NAGORKA         320 CRESCENT DR                                                                                DEARBORN        MI      48124‐1208
JESSE NAGY            2770 GREENWOOD RD                                                                              PRESCOTT        MI      48756‐9174
JESSE NARD            2530 WOLCOTT STREET                                                                            FLINT           MI      48504‐3355
JESSE NASH JR         800 FLOYD ROAD                                                                                 FORSYTH         GA      31029‐5441
JESSE NATALE          34978 WINDSONG LN                                                                              RICHMOND        MI      48062‐4831
JESSE NELSON          24975 THORNDYKE ST                                                                             SOUTHFIELD      MI      48033‐2957
JESSE NELSON          13349 S SHERIDAN RD                                                                            MONTROSE        MI      48457‐9392
JESSE NELSON          2017 OXLEY DR                                                                                  FLINT           MI      48504‐5008
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Name                  Address1                      Address2            Address3         Address4               City              State   Zip
JESSE NEWBY           RR 2 BOX 269‐0                                                                            BLOOMFIELD         IN     47424
JESSE NICHOLS JR      11055 ASPEN LANE WEST                                                                     CLIO               MI     48420‐2406
JESSE NOBLE JR        201 BUTLER DRIVE                                                                          PITTSFORD          NY     14534‐2511
JESSE NOBLES          228 KITTERY CT                                                                            FORT MYERS         FL     33912‐6317
JESSE NORTH           PO BOX 1084                                                                               BETHANY            OK     73008‐1084
JESSE NORTHINGTON     307 ALEXANDER CREEK CT                                                                    RAYMORE            MO     64083‐7109
JESSE NORVIEL         1144 LISA LN                                                                              OKEECHOBEE         FL     34974‐0516
JESSE NUNN            6747 FOREST GLEN AVE                                                                      SOLON              OH     44139‐4037
JESSE OATES           1418 FEDERAL AVE                                                                          SAGINAW            MI     48601‐1813
JESSE OLIVO           6005 NATCHEZ TRCE                                                                         WICHITA FALLS      TX     76310‐2823
JESSE OROSCO          1625 CORNELIA ST                                                                          SAGINAW            MI     48601‐2908
JESSE ORTEGA          116 STEVEN CT                                                                             COLUMBIA           TN     38401‐5566
JESSE ORTEGA          1340 N MORRISH RD                                                                         FLINT              MI     48532‐2058
JESSE ORTEGA          1737 COUNCIL DR                                                                           SUN CITY CENTER    FL     33573‐5210
JESSE ORTIZ           2558 BROADWAY ST                                                                          BLUE ISLAND         IL    60406‐2953
JESSE OSBORNE JR      5313 SE 12TH ST                                                                           DEL CITY           OK     73115‐4507
JESSE OWENS           3154 W ELLIS RD                                                                           GRIFFIN            GA     30223‐6814
JESSE P BARLOW        105 DOE RUN DR                                                                            FAIRBURN           GA     30213‐3123
JESSE P DE VITTORIO   11 S BROAD ST                                                                             RIDGWAY            PA     15853‐1005
JESSE PACK            12620 GRIMSBY AVE                                                                         CLEVELAND          OH     44135‐4850
JESSE PAGE            101 BARTHEL ST APT #2                                                                     BUFFALO            NY     14211
JESSE PARKS           1206 WAGON WHEELS TRL                                                                     DALLAS             TX     75241‐1245
JESSE PATTON JR       24652 TEMPLAR AVE                                                                         SOUTHFIELD         MI     48075‐6935
JESSE PAYNE           2115 SE HEMLOCK                                                                           BLUE SPRINGS       MO     64014‐5256
JESSE PERALEZ         2118 COTTIE LN                                                                            ARLINGTON          TX     76010‐4754
JESSE PERRY           3219 OLD FARM RD                                                                          FLINT              MI     48507‐1248
JESSE PHELS           PO BOX 8394                                                                               LANCASTER          CA     93539‐8394
JESSE PHIPPS          3811 KINGS LANE               BUILDING 7                                                  BURTON             MI     48529
JESSE PIATEK          S44W23627 AMY JAMES DR                                                                    WAUKESHA           WI     53189‐7958
JESSE PICKETT         11251 LAKEPOINTE ST                                                                       DETROIT            MI     48224‐1605
JESSE PIERCE          2912 PRESCOTT AVE APT 201                                                                 DAYTON             OH     45406‐2729
JESSE PINKETT         20 MARSHALL ST APT 7A                                                                     IRVINGTON          NJ     07111‐8664
JESSE PITTARD         6696 US HIGHWAY 441 SE                                                                    OKEECHOBEE         FL     34974‐9505
JESSE POPPE           384 W LINCOLN ST                                                                          DANVILLE           IN     46122‐1661
JESSE POST            19685 ANTAGO ST                                                                           LIVONIA            MI     48152‐2515
JESSE POWERS          2546 ELKWOOD CIR                                                                          CHARLOTTE          NC     28205
JESSE PRECIADO        PO BOX 1418                                                                               PARKER             AZ     85344‐1418
JESSE PRIMM           4062 E M 55                                                                               PRESCOTT           MI     48756‐9333
JESSE PRUGH           545 DEE AVE                                                                               MIAMISBURG         OH     45342‐3013
JESSE PRUITT          11415 ANDERSONVILLE ROAD                                                                  DAVISBURG          MI     48350‐3137
JESSE PRUITT          616 BAER DR                                                                               MOORE              OK     73160‐3713
JESSE PRUNTY          3634 LAKESIDE DR                                                                          SHREVEPORT         LA     71119‐6516
JESSE QUINTANILLA     1146 E PRINCETON AVE                                                                      FLINT              MI     48505‐1520
JESSE QUIROZ          2228 N BOSART AVE                                                                         INDIANAPOLIS       IN     46218‐3838
JESSE R GONZALEZ      6627 CELESTINE DR                                                                         HUBER HEIGHTS      OH     45424‐3505
JESSE R GOULD         5935 ANSPAUGH RD                                                                          NEW CARLISLE       OH     45344‐8518
JESSE R KIRKWOOD      530 CHAIRFACTORY RD.                                                                      ELMA               NY     14059‐9313
JESSE R LIGHTNER      1 COUNTY LANE                 APT F210                                                    BROOKVILLE         OH     45309
JESSE R MAYBEE        7131 DRAKE STATELINE RD                                                                   BURGHILL           OH     44404‐9716
JESSE R RODGERS       16031 MONTGOMERY HWY                                                                      HIGHLAND HOME      AL     36041‐3621
JESSE R WALSH         3997 REINWOOD DR                                                                          DAYTON             OH     45414
JESSE RAGLIN          6509 AVA COURT DR                                                                         FORT WORTH         TX     76112‐8008
JESSE RAMON JR        809 SWEETGUM ST                                                                           OKLAHOMA CITY      OK     73160‐8251
JESSE RANDALL         119 MILES RD                                                                              HOMER              LA     71040‐6907
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Name                  Address1                         Address2                      Address3   Address4               City            State Zip
JESSE RAY SHOWALTER   2728 SAN RAE DRRIVE                                                                              KETTERING        OH 45419
JESSE RAYMOND COX     971 E LANCASTER AVE              APT 325                                                         DOWNINGTOWN      PA 19335‐5347
JESSE RENECKER
JESSE RENTFROW
JESSE RICHARDSON      625 W HOLBROOK AVE                                                                               FLINT           MI   48505‐2057
JESSE RICKS           704 HIDDEN FOREST DR                                                                             ST AUGUSTINE    FL   32086‐5239
JESSE RICO            2625 W VASSAR RD                                                                                 REESE           MI   48757‐9352
JESSE RIDDLE          475 EDNA AVE                                                                                     MARTINSVILLE    IN   46151‐8627
JESSE RIGGLEMAN       C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS      OH   44236
JESSE RILES           11709 WARE CHURCH RD                                                                             HILLSBORO       MO   63050‐4018
JESSE RILEY           51 BLOOMFIELD AVE                                                                                TOLEDO          OH   43607‐2403
JESSE RIOS            1913 S PEORIA ST                                                                                 CHICAGO         IL   60608‐3422
JESSE RIOS            4720 PALMYRA RD SW                                                                               WARREN          OH   44481‐9710
JESSE ROACH           750 HIATT ST                                                                                     INDIANAPOLIS    IN   46221‐1140
JESSE ROBERSON        15175 ERDMAN RD                                                                                  ARCADIA         MI   49613‐9787
JESSE ROBERTS         250 DEER PARK S                                                                                  CAPAC           MI   48014‐3759
JESSE ROBERTS         7048 RANGER RD                                                                                   MURPHY          NC   29906‐7356
JESSE ROBINSON        4413 LAKEFIELD TRCE                                                                              INDIANAPOLIS    IN   46254‐4907
JESSE RODRIGUEZ       4958 ROAD 7                                                                                      LEIPSIC         OH   45856‐9496
JESSE RODRIGUEZ       1433 MEADOWBROOK WAY                                                                             TEMPERANCE      MI   48182‐9246
JESSE ROOKARD         PO BOX 61012                                                                                     DAYTON          OH   45406‐9012
JESSE ROSALES JR      5769 ROSEBROOK DR                                                                                TROY            MI   48085‐3828
JESSE ROUNDS JR       5350 LOUISVILLE RD LOT 96                                                                        BOWLING GREEN   KY   42101‐7214
JESSE RUBLE           C/O THE MADEKSHO LAW FIRM        8866 GULF FREEWAY SUITE 440                                     HOUSTON         TX   77017
JESSE RUFF            3238 S OAK RD                                                                                    DAVISON         MI   48423‐9141
JESSE RUFUS           120 COACHMAN CT APT D                                                                            BOWLING GREEN   KY   42103‐8529
JESSE RUIZ            1938 ELMORE AVE                                                                                  DOWNERS GROVE   IL   60515‐4426
JESSE RUIZ            12580 AIRPORT RD                                                                                 DEWITT          MI   48820‐9280
JESSE RUSH            23 COBBLESTONE BLVD                                                                              GAS CITY        IN   46933‐1651
JESSE S MOORE         65 POINCIANA DR.                                                                                 CENTERVILLE     OH   45459
JESSE S SMITH SR      C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                       HOUSTON         TX   77007
                      BOUNDAS LLP
JESSE SALAS           10541 E CALLE DEL ESTE                                                                           TUCSON          AZ   85748‐6840
JESSE SAMANIEGO JR    2424 N CHARLES ST                                                                                SAGINAW         MI   48602‐5008
JESSE SAMPSON         3614 DIXIE HWY                                                                                   BEDFORD         IN   47421‐8241
JESSE SANCHEZ         2479 E SAINT CHARLES RD                                                                          ITHACA          MI   48847‐9722
JESSE SANCHEZ         1867 SHERWOOD DR                                                                                 DEFIANCE        OH   43512‐3429
JESSE SANCHEZ         2029 WILKINS ST                                                                                  SAGINAW         MI   48601‐3317
JESSE SANCHEZ         2420 COLLINGWOOD AVE                                                                             SAGINAW         MI   48601‐3660
JESSE SANDERS         2837 OAK STREET EXT                                                                              YOUNGSTOWN      OH   44505‐4843
JESSE SANDERS         BRENT COON & ASSOCIATES          215 ORIEANS                                                     BEAUMONT        TX   77701
JESSE SANDLIN         113 FRYE CT                                                                                      NICHOLASVILLE   KY   40356‐1121
JESSE SANTFANT        128 EVERGREEN CT                                                                                 MT STERLING     KY   40353‐8203
JESSE SANTOS          C/O VIOLA S. ORDAZ               G‐123 RD 17                                                     HOLGATE         OH   43527
JESSE SCOTT           18422 S SETTLERS SHORE DR                                                                        CYPRESS         TX   77433‐2437
JESSE SCOTT JR        11590 RIVER RUN CIR                                                                              HENDERSON       CO   80640‐9281
JESSE SCROGGINS       BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS      OH   44236
JESSE SCROGGINS JR    1077 EASTWAY DR APT 11                                                                           YOUNGSTOWN      OH   44505‐4679
JESSE SHARP           12644 BEAVERLAND ST                                                                              DETROIT         MI   48223‐3002
JESSE SHARP JR        PO BOX 11204                                                                                     KANSAS CITY     MO   64119‐0204
JESSE SHAW            4321 LOUELLA DR                                                                                  WATERFORD       MI   48329‐4024
JESSE SHORT           PO BOX 132                                                                                       AMORET          MO   64722‐0132
JESSE SHRADER         C/O THE MADEKSHO LAW FIRM        8866 GULF FREEWAY SUITE 440                                     HOUSTON         TX   77017
JESSE SHUFELDT        11831 W SUNNYBROOK CT                                                                            CRYSTAL RIVER   FL   34429‐9237
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Name                 Address1                       Address2                     Address3   Address4               City            State   Zip
JESSE SIDNEY LACY    FOSTER & SEAR, LLP             817 GREENVIEW DRIVE                                            GRAND PRAIRIE    TX     75050
JESSE SILLS JR       4 HICKORY LN                                                                                  MAUMELLE         AR     72113‐6105
JESSE SIMMS          205 KINGWOOD FOREST DR                                                                        VICTORIA         TX     77904‐4627
JESSE SMITH          2326 GLENWOOD AVE                                                                             SAGINAW          MI     48601‐3537
JESSE SMITH          2453 FALCONS WAY                                                                              SAINT CHARLES    MO     63303‐4200
JESSE SMITH          3400 GLASGOW DR                                                                               LANSING          MI     48911‐1354
JESSE SMITH          3025 VANDERBILT AVE                                                                           PORTAGE          MI     49024‐6059
JESSE SMITH          3931 NORFOLK ST                                                                               DETROIT          MI     48221‐1307
JESSE SMITH          7297 NEFF RD                                                                                  MOUNT MORRIS     MI     48458‐1820
JESSE SMITH          11403 WALES DR                                                                                REDDING          CA     96003‐8683
JESSE SMITH          BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH     44236
JESSE SMITH JR       7705 SLEEPY HOLLOW AVE                                                                        BLANCHARD        OK     73010‐7177
JESSE SMITH JR       3812 DOLPHIN DR                                                                               PANAMA CITY      FL     32408‐6402
JESSE SOULIA         1309 S LINDEN RD STE D                                                                        FLINT            MI     48532‐3443
JESSE SPANGLER JR    6184 LANMAN DR                                                                                WATERFORD        MI     48329‐3022
JESSE SPONSLER       18 CARIBOU CT                                                                                 SAINT PETERS     MO     63376‐4503
JESSE SPRAGLING      465 SHERWOOD AVE                                                                              YOUNGSTOWN       OH     44511‐1751
JESSE STANCZAK       52315 MELODY DR                                                                               MACOMB           MI     48042‐3703
JESSE STEARNS        1534 S 100 W                                                                                  FRANKLIN         IN     46131‐8434
JESSE STEPHENS       1954 COUNTY ROAD 900N                                                                         GREENUP           IL    62428‐3127
JESSE STEVENS        PO BOX 851321                                                                                 MESQUITE         TX     75185‐1321
JESSE STEVENS        2395 HARMON AVE                                                                               DANVILLE         KY     40422‐9750
JESSE STEVENSON JR   3186 OAKCLIFF RD NW                                                                           ATLANTA          GA     30311‐1021
JESSE STEWARD        3005 SLEAFORD DR                                                                              WATERFORD        MI     48329‐3350
JESSE STOLLINGS      220 JACH LN                                                                                   RUSSELLVILLE     AR     72802‐9115
JESSE STOUDAMIRE     11094 SHERIDAN RD                                                                             NEW LOTHROP      MI     48460‐9505
JESSE STRUNK         13890 FOLEY RD                                                                                MUSSEY           MI     48014‐2107
JESSE SWEET JR       1482 HOLT RD                                                                                  MASON            MI     48854‐9467
JESSE SWINEY         6956 TANYA TER                                                                                REYNOLDSBURG     OH     43068‐1777
JESSE SWOOPE         26267 MILBURN DR                                                                              OAKWOOD VLG      OH     44146‐5935
JESSE T BECKETT      4832 W. HWY 90                 #39                                                            DEL RIO          TX     78840
JESSE T LAWRENCE     3437 TRIPLECROWN DR                                                                           NORTH BEND       OH     45052‐9407
JESSE T REEVES       599 BEAM DR                                                                                   FRANKLIN         OH     45005‐2090
JESSE T WYATT        11202 BURGESS LN                                                                              GREENFIELD       OH     45123
JESSE TARRANCE       13210 MARK TWAIN ST                                                                           DETROIT          MI     48227‐2810
JESSE TARRANCE I I   13210 MARK TWAIN ST                                                                           DETROIT          MI     48227‐2810
JESSE TAYLOR         6335 FRY RD                                                                                   BROOK PARK       OH     44142‐3629
JESSE TAYLOR         1905 N LINCOLN AVE                                                                            MOORE            OK     73160‐6330
JESSE TAYLOR         1220 AIRPORT RD                                                                               WATERFORD        MI     48327‐1802
JESSE TEMPLIN        38 IRENE ST                                                                                   BUFFALO          NY     14207‐1010
JESSE TERRY          4305 S. U.S. 35                                                                               MUNCIE           IN     47302
JESSE THOMAS         PO BOX 9022                    ADAM OPEL (IPC 42‐53)                                          WARREN           MI     48090‐9022
JESSE THOMAS         PO BOX 259                                                                                    COCHRANVILLE     PA     19330‐0259
JESSE THOMAS         142 E WICHITA ST                                                                              SHREVEPORT       LA     71101‐5031
JESSE THOMAS         869 HARTFORD AVENUE                                                                           AKRON            OH     44320‐2723
JESSE THOMAS         PO BOX 311158                                                                                 FLINT            MI     48531‐1158
JESSE THOMAS JR      28810 TAVISTOCK TRL                                                                           SOUTHFIELD       MI     48034‐5189
JESSE THOMPSON       1023 WEDGEWOOD RD                                                                             BALTIMORE        MD     21229‐1245
JESSE THORNHILL      PO BOX 150781                                                                                 ATLANTA          GA     30315‐0193
JESSE TOLERSON III   PO BOX 6699                                                                                   KOKOMO           IN     46904‐6699
JESSE TOOR           29224 ALVIN ST                                                                                GARDEN CITY      MI     48135‐2780
JESSE TORREZ JR      120 PROSPECT ST                                                                               CROSWELL         MI     48422‐1342
JESSE TROYER         21428 RD I‐18                                                                                 CLOVERDALE       OH     45827
JESSE TUCKER, JR     PO BOX 14736                                                                                  SAGINAW          MI     48601‐0736
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Name                  Address1                        Address2                    Address3                     Address4               City            State   Zip
JESSE TURNBOW         101 TYRONE RD                                                                                                   COMMERCE         GA     30530‐7058
JESSE TURNER III      6331 7 PINES DR                                                                                                 W CARROLLTON     OH     45449‐3063
JESSE TURNER JR       2461 ORANGE AVE                                                                                                 DAYTON           OH     45439‐2839
JESSE TURTURICE       45046 PINE HOLLOW RD                                                                                            ROGERS           OH     44455‐9737
JESSE TURTURICE       7870 LUSK LOCK RD                                                                                               LISBON           OH     44432‐9342
JESSE UNDERBAKKE
JESSE VALDERRAMA      ATTN: ROBERT W PHILLIPS         SIMMONS BROWDER GIANARIS    707 BERKSHIRE BLVD, PO BOX                          EAST ALTON       IL     62024
                                                      ANGELIDES & BARNERD LLC     521
JESSE VALDEZ          1156 N MIDDLE DR                                                                                                GREENVILLE      OH      45331‐3019
JESSE VARVEL          9197 LINDEN RD                                                                                                  SWARTZ CREEK    MI      48473‐9152
JESSE VAUGHN          2681 68TH AVE                                                                                                   OAKLAND         CA      94605‐2347
JESSE VELA            1270 E SLOAN RD                                                                                                 BURT            MI      48417‐2178
JESSE VIVEROS         13229 SOFT CLOUD WAY                                                                                            VICTORVILLE     CA      92392‐6271
JESSE W BARTON, JR    1718 MT ZION AVE                                                                                                GADSDEN         AL      35904‐4533
JESSE W BEATY         1181 CLARKRANGE MONTERY HWY                                                                                     CLARKRANGE      TN      38553‐5345
JESSE W LONG          C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                                       HOUSTON         TX      77007
                      BOUNDAS LLP
JESSE W OLIVE         6529 DEANE HILL DR APT 44                                                                                       KNOXVILLE       TN      37919
JESSE W PERRY         3219 OLD FARM RD                                                                                                FLINT           MI      48507‐1248
JESSE WADDELL JR      59 OGEMAW RD                                                                                                    PONTIAC         MI      48341‐1144
JESSE WAKEFIELD       PO BOX 41                       103 GILBERT ST                                                                  FOOTVILLE       WI      53537‐0041
JESSE WALDEN          2028 HUNTINGTON AVE                                                                                             FLINT           MI      48507‐3517
JESSE WALKER          779 GRANVILLE DR                                                                                                HOUSTON         TX      77091‐2517
JESSE WALTERS         1520 CLOVER LN                                                                                                  JANESVILLE      WI      53545‐1371
JESSE WAMER           3519 STATE ROUTE 45 S                                                                                           SALEM           OH      44460‐9457
JESSE WARD JR         5799 Z HIGHWAY                                                                                                  BATES CITY      MO      64011
JESSE WARE            16814 LILAC ST                                                                                                  DETROIT         MI      48221‐2938
JESSE WARGOWSKY       11 S FREMONT ST                                                                                                 JANESVILLE      WI      53545‐2633
JESSE WASHINGTON      6240 CALKINS RD                                                                                                 FLINT           MI      48532‐3241
JESSE WATERS          11490 LAKEPOINTE ST                                                                                             DETROIT         MI      48224‐1608
JESSE WATFORD JR      18743 GARDEN BLVD                                                                                               CLEVELAND       OH      44128‐2634
JESSE WEBB            2701 WEBBS LANDING CT                                                                                           GRANBURY        TX      76048
JESSE WENDT           810 BRIAR HILL PL APT C                                                                                         BALTIMORE       MD      21221‐5457
JESSE WHEELEN         4837 N BROOKE DR                                                                                                MARION          IN      46952‐9695
JESSE WHITE           414 S HAMILTON ST                                                                                               YPSILANTI       MI      48197‐5476
JESSE WHITE           12968 LINCOLN LAKE AVE                                                                                          GOWEN           MI      49326‐9404
JESSE WHITE           273 MASSIE DR                                                                                                   XENIA           OH      45385‐3741
JESSE WHITE           16718 ARCHDALE ST                                                                                               DETROIT         MI      48235‐3417
JESSE WHITEHEAD       141 KNOLLWOOD ST                                                                                                PINCKNEY        MI      48169‐9773
JESSE WHITLEY         6210 COLLEGE AVE                                                                                                KANSAS CITY     MO      64130‐3961
JESSE WILDER          4872 HOLIDAY DR APT 1                                                                                           FAIRFIELD       OH      45014‐2863
JESSE WILKS           8468 HIGHLAND GLENN                                                                                             CHARLOTTE       NC      28269‐6110
JESSE WILLIAMS        4450 ZUFALL LANE                                                                                                DESOTO          MO      63020
JESSE WILLIAMS        1629 INDIANA AVE                                                                                                LANSING         MI      48906‐4612
JESSE WILLIAMS        16841 BRAILE ST                                                                                                 DETROIT         MI      48219‐3902
JESSE WILLIAMS        6515 WASHINGTON AVE                                                                                             HUBBARD         OH      44425‐2471
JESSE WILLIAMS        290 DALE AVE                                                                                                    MANSFIELD       OH      44902‐7717
JESSE WILLIAMS        738 KINNEY RD                                                                                                   PONTIAC         MI      48340‐2439
JESSE WILLIAMS        2116 LOVE RD                                                                                                    LEXINGTON       MS      39095‐6459
JESSE WILLIAMS        WEITZ & LUXENBERG PC            700 BROADWAY                                                                    NEW YORK CITY   NY      10003
JESSE WILLIAMSON JR   3788 E 142ND ST                                                                                                 CLEVELAND       OH      44128‐1007
JESSE WILLIS          210 PINETREE CIR                                                                                                GRIFFIN         GA      30223‐1533
JESSE WILMER          6008 WALDWAY LN                                                                                                 CINCINNATI      OH      45224‐2752
JESSE WILSON          17387 STOEPEL ST                                                                                                DETROIT         MI      48221‐2611
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Name                          Address1                        Address2                        Address3   Address4               City              State   Zip
JESSE WILSON                  20510 HUNTINGTON RD                                                                               DETROIT            MI     48219‐1440
JESSE WIMBLEY                 43493 COUNTY ROAD 388                                                                             BLOOMINGDALE       MI     49026‐9728
JESSE WITHROW JR              4902 RICHMOND CIR                                                                                 SANDUSKY           OH     44870‐5877
JESSE WRIGHT                  14567 REITZ RD                                                                                    PERRYSBURG         OH     43551‐9643
JESSE WRIGHT                  1406 E 1ST ST                                                                                     MUNCIE             IN     47302‐2603
JESSE YBARRA                  THE MADEKSHO LAW FIRM           8866 GULF FREEWAY STE 440                                         HOUSTON            TX     77017
JESSE YORK                    PO BOX 3015                                                                                       MUNCIE             IN     47307‐1015
JESSE YOUNG                   342 CORNWALL AVE                                                                                  BUFFALO            NY     14215‐3102
JESSE ZAMORANO                600 SW 102ND ST                                                                                   OKLAHOMA CITY      OK     73139‐5536
JESSE ZAMUDIO                 1748 HILLINGDON ST                                                                                ROSEVILLE          CA     95747‐4941
JESSE ZARUDSKI                3638 SARAZEN DR                                                                                   NEW PORT RICHEY    FL     34655‐2034
JESSE ZAVALA                  1301 3RD ST                                                                                       BAY CITY           MI     48708‐6016
JESSE ZIMMERMAN               4227 PAINT CREEK RD                                                                               EATON              OH     45320‐9300
JESSE ZSIGO                   PO BOX 640                                                                                        OWOSSO             MI     48867‐0640
JESSE'S HAULING SERVICE       3847 W 134TH PL                                                                                   HAWTHORNE          CA     90250‐6106
JESSE, BARBARA A              462 ASHBY DR                                                                                      GREENFIELD         IN     46140‐1893
JESSE, BONNI L                15735 MULBERRY ST                                                                                 SOUTHGATE          MI     48195
JESSE, EDWIN                  48391 PECK WADSWORTH RD                                                                           WELLINGTON         OH     44090‐9775
JESSE, ERWIN H                12143 W OAKWOOD DR                                                                                FRANKLIN           WI     53132‐1307
JESSE, FRANKLIN H             BOX 05192 GLENBERG RD                                                                             DEFIANCE           OH     43512
JESSE, FREEMAN O              1902 RING ST                                                                                      SAGINAW            MI     48602‐1187
JESSE, KENNETH R              9407 PERRY RD                                                                                     GOODRICH           MI     48438‐9745
JESSE, KEVIN K                13388 DIEGEL DR                                                                                   SHELBY TWP         MI     48315‐1354
JESSE, LARRY A                3932 GLENBURG RD                                                                                  NEY                OH     43549‐9785
JESSE, LAWRENCE W             PO BOX 556                                                                                        ROSEVILLE          MI     48066‐0556
JESSE, MARGARET               12036 HUNTING CREST DR                                                                            PROSPECT           KY     40059‐8405
JESSE, MICHAEL D              10024 S ROSS AVE                                                                                  OKLAHOMA CITY      OK     73159‐7227
JESSE, RICK A                 2345 S GRAHAM RD                                                                                  SAGINAW            MI     48609‐9613
JESSE, ROBERT A               2931 CONSEAR RD                                                                                   LAMBERTVILLE       MI     48144‐9659
JESSE, STEVEN O               3008 COURT ST                                                                                     SAGINAW            MI     48602‐3605
JESSEE GANN                   5351 PARVIEW DR                                                                                   CLARKSTON          MI     48346‐2811
JESSEE HOWARD                 C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                         HOUSTON            TX     77007
                              BOUNDAS LLP
JESSEE I I I, RALPH R         300 SW KILLARNEY LN                                                                               BLUE SPRINGS      MO      64014‐4928
JESSEE III, RALPH R           300 SW KILLARNEY LN                                                                               BLUE SPRINGS      MO      64014‐4928
JESSEE J FURTADO              97 MIDWOOD DR                                                                                     SWANSEA           MA      02777
JESSEE MICHAEL M (424533)     KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                     CLEVELAND         OH      44114
                                                              BOND COURT BUILDING
JESSEE WILLIAMS               3308 W 166TH ST                                                                                   MARKHAM           IL      60428‐5350
JESSEE, BERNADETTE A          10880 INKSTER RD                                                                                  ROMULUS           MI      48174‐2636
JESSEE, BERNARD L             445 SATIE CREEK WAY                                                                               MCDONOUGH         GA      30253‐5432
JESSEE, HELEN L               835 STONEQUARRY RD                                                                                DAYTON            OH      45414‐1544
JESSEE, JIMMIE J              PO BOX 387                                                                                        SAINT PAUL        VA      24283‐0387
JESSEE, MICHAEL               KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                      CLEVELAND         OH      44114
                                                              BOND COURT BUILDING
JESSEE, RALPH
JESSEE, RALPH E               600 S WILDER RD                                                                                   LAPEER            MI      48446‐9430
JESSEE, RICHARD G             HC 66 BOX 132                                                                                     RICHLANDS         VA      24641‐9701
JESSEE, ROBERT E              2219 ELMWOOD AVE                                                                                  SPRINGFIELD       OH      45505‐1313
JESSEE, ROLFE G               2447 WOODSIDE AVE                                                                                 SPRINGFIELD       OH      45503‐4755
JESSEE, SHARON A              600 S WILDER RD                                                                                   LAPEER            MI      48446‐9430
JESSEE, WILLIAM R             3330 N JUGTOWN RD                                                                                 MORRIS            IL      60450‐7387
JESSEL MARKING EQUIPMENT CO   PO BOX 234                                                                                        SYRACUSE          NY      13206‐0234
JESSELAITIS, JAMES P          2477 STARLITE DRIVE                                                                               SAGINAW           MI      48603‐2543
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Name                       Address1                         Address2                      Address3   Address4                    City               State   Zip
JESSELAITIS, THOMAS J      7365 HART RD                                                                                          SAGINAW             MI     48609‐9763
JESSEN FRANCIS             217 CEDAR LN                                                                                          BURLESON            TX     76028‐6143
JESSEN MORRIS H (402459)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK             VA     23510
                                                            STREET, SUITE 600
JESSEN R FRANCIS           217 CEDAR LN                                                                                          BURLESON            TX     76028‐6143
JESSEN, ARNOLD G           615 WALNUT ST                                                                                         CORUNNA             MI     48817‐1001
JESSEN, JUANITA ELAINE     180 ELIZABETH ST APT 125                                                                              LANDISVILLE         PA     17538‐1733
JESSEN, MORRIS H           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK             VA     23510‐2212
                                                            STREET, SUITE 600
JESSEN, PATRICIA A         3460 E ALLERTON AVE                                                                                   CUDAHY             WI      53110‐1018
JESSEP, GARY L             281 STEWART AVE NW                                                                                    WARREN             OH      44483‐2045
JESSEP, PATRICIA W         281 STEWART AVE NW                                                                                    WARREN             OH      44483‐2045
JESSER`S AUTO CLINIC       JOSEPH JESSER                    26 WEST ST                                                           AKRON              OH      44303‐2344
JESSEY HEMMINGWAY          4543 WOODHURST DR.                                                                                    AUSTINTOWN         OH      44515
JESSICA A BELCHER          4815 AMESBOROUGH RD.                                                                                  DAYTON             OH      45420‐3353
JESSICA A BROWN            1516 WYOMING ST.                                                                                      DAYTON             OH      45410‐2206
JESSICA A CASTILLO         851 WASHINGTON AVE                                                                                    DEFIANCE           OH      43512‐2850
JESSICA A HIGHT            3401 SHOREVIEW DR                                                                                     CLEBURNE           TX      76033‐8552
JESSICA A OSBORNE          1776 N CLAYTON RD                                                                                     BROOKVILLE         OH      45309‐9389
JESSICA A SCHROEDER        37059 MAAS DR                                                                                         STERLING HEIGHTS   MI      48312‐1939
JESSICA A STANKOWSKI       3501 APPLEGROVE DR                                                                                    BEAVERCREEK        OH      45430‐1479
JESSICA ADAMS              7321 CRYSTAL LAKE DR APT 1                                                                            SWARTZ CREEK       MI      48473‐8958
JESSICA ALDERTON           16620 ROUGEWAY ST                                                                                     LIVONIA            MI      48154‐3446
JESSICA ALLEN              INNER CIRCLE                     5TH STREET                                                           LOS ANGELES        CA      90018
JESSICA AYOTTE             146 DRESDEN AVE                                                                                       PONTIAC            MI      48340‐2515
JESSICA BARNES             20712 KNOB WOODS DR APT 105                                                                           SOUTHFIELD         MI      48076‐4028
JESSICA BATES              PO BOX 78                                                                                             VERNON             MI      48476‐0078
JESSICA BAUGHMAN           8602 TWP RD 137                                                                                       PAULDING           OH      45879
JESSICA BELL ‐ SMITH       1220 CUSTER AVE                                                                                       KANSAS CITY        KS      66105‐1513
JESSICA BELLE
JESSICA BELLOMO            17 SPRING LAKE CT                                                                                     SAINT CHARLES      MO      63303‐6628
JESSICA BENAVIDOS          1818 KING ST                                                                                          SAGINAW            MI      48602‐1215
JESSICA BENEDICT           97 WOODLAWN AVE                                                                                       LOCKPORT           NY      14094‐2522
JESSICA BERRY              628 W DELAVAN AVE                APT 10                                                               BUFFALO            NY      14222‐1248
JESSICA BROWN              355 WALLNUT GROVE RD, APT 13                                                                          DAYTON             TN      37321
JESSICA BROWN              730 FOX AVE                                                                                           YPSILANTI          MI      48198‐6196
JESSICA CANTU              1201 N VAN BUREN ST                                                                                   BAY CITY           MI      48708‐6079
JESSICA CLEVELAND          26151 LAKE SHORE BLVD APT 1716                                                                        EUCLID             OH      44132‐1158
JESSICA COLE               1802 S HAMILTON ST                                                                                    SAGINAW            MI      48602‐1205
JESSICA D DEAN             PO BOX 320097                                                                                         FLINT              MI      48532‐0002
JESSICA DAVIS              132 VULCAN ST                                                                                         BUFFALO            NY      14207‐1116
JESSICA DE SANTIS          3038 SAINT JUDE DR                                                                                    WATERFORD          MI      48329‐4356
JESSICA DEFOTO             170 HANSON COURT                                                                                      BALL               LA      71405
JESSICA DICKERSON          42258 WHITE HART BLVD                                                                                 CANTON             MI      48188‐2667
JESSICA DUBE (ATHLETE)     285, 4E RANG                                                              ST‐CYRILLE DE WENDOVER QC
                                                                                                     J1Z 1T CANADA
JESSICA DUCLOS             303 LIME KILN ROAD               #A15                                                                 SOUTH BURLINGTON    VT     05403

JESSICA E MCINTOSH         814 CENTER AVE APT B                                                                                  BAY CITY            MI     48708‐5960
JESSICA EARL               6555 PRETTI RD                                                                                        CORUNNA             MI     48817‐9549
JESSICA ENGWIS             32373 NESTLEWOOD ST                                                                                   FARMINGTON HILLS    MI     48334

JESSICA FIELD              PO BOX 1511                                                                                           WEST CHESTER       OH      45071‐1511
JESSICA FISANICK           5207 MEADOWWOOD DR                                                                                    BON AQUA           TN      37025‐1489
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Name                 Address1                           Address2                    Address3   Address4               City            State   Zip
JESSICA GALICH       PO BOX 9022                                                                                      WARREN           MI     48090‐9022
JESSICA GARRETT      18491 LAUDER ST                                                                                  DETROIT          MI     48235‐2738
JESSICA GILBERT      758 MILLER RD                                                                                    LAKE ORION       MI     48362‐3659
JESSICA GLENN        23728 W 87TH TER                                                                                 LENEXA           KS     66227‐7210
JESSICA GREEN        19969 INKSTER RD                                                                                 LIVONIA          MI     48152‐2411
JESSICA GUBING       383 ELMINGTON CT                                                                                 CANTON           MI     48188‐6286
JESSICA HARALSON     3640 JOSLYN RD                                                                                   LAKE ORION       MI     48359‐1210
JESSICA HARRIS       210 CAPROCK DR                                                                                   ARLINGTON        TX     76018‐2282
JESSICA HETTINGER    3242 HODGES RD                                                                                   DRYDEN           MI     48428‐9613
JESSICA HEWITT       UNKNOWN
JESSICA HIGH         48 DEPEW ST                                                                                      ROCHESTER       NY      14611‐2403
JESSICA HIGH         JESSICA HIGH                       48 DEPEW ST                                                   ROCHESTER       NY      14611
JESSICA HIGHT        3401 SHOREVIEW DR                                                                                CLEBURNE        TX      76033‐8552
JESSICA HOCHSTUHL    408 TREELINE CV                                                                                  FORT WAYNE      IN      46825‐1129
JESSICA HOOKER       11104 DELPHINIUM DR                                                                              FENTON          MI      48430‐3541
JESSICA HUGGINS      10930 WADE PARK AVE                                                                              CLEVELAND       OH      44106‐1818
JESSICA J WOPPIO     908 N VAN BUREN ST APT 2C                                                                        BAY CITY        MI      48708‐6091
JESSICA JEFFERY      453 LYNETTE ST                                                                                   GAITHERSBURG    MD      20878‐6543
JESSICA JENKINS      C/O THE KUHLMAN LAW FIRM, LLC      1100 MAIN STREET STE 2550                                     KANSAS CITY     MO      64105
JESSICA JOOST        851 WASHINGTON AVE                                                                               DEFIANCE        OH      43512‐2850
JESSICA JOYNER       1207 N VAN BUREN ST                                                                              BAY CITY        MI      48708‐6079
JESSICA K DAVIS      1185 REX AVE                                                                                     FLINT           MI      48505‐1638
JESSICA K HOSKINS    6309 ASHLEY MEADOWS CT                                                                           DAYTON          OH      45424
JESSICA KELSCH       2577 S ELBA RD                                                                                   LAPEER          MI      48446‐9745
JESSICA KUZIA        1541 BEAUFIELD ST                                                                                FERNDALE        MI      48220‐1612
JESSICA L BLAZER     1791 TYLER RD                                                                                    YPSILANTI       MI      48198‐6159
JESSICA L BUTCHKO    6112 SMITH RD                                                                                    SYRACUSE        NY      13212‐2514
JESSICA L BUTZIN     9663 BAYVIEW DR APT 211                                                                          YPSILANTI       MI      48197‐7028
JESSICA L CUMMINGS   210 HARPER AVE APT 6                                                                             DETROIT         MI      48202‐3501
JESSICA L GREENE     9964 GERALDINE ST                                                                                YPSILANTI       MI      48197‐6937
JESSICA L HALL       1269 HAWTHORNE AVE                                                                               YPSILANTI       MI      48198‐5943
JESSICA L HARRIS     210 CAPROCK DR                                                                                   ARLINGTON       TX      76018‐2282
JESSICA L HASTY      3907 SPRINGBORO RD                                                                               LEBANON         OH      45036‐9127
JESSICA L HIGH       48 DEPEW ST                                                                                      ROCHESTER       NY      14611‐2403
JESSICA L HORNER     714 1/2 MATTY AVE                                                                                MATTYDALE       NY      13211‐1310
JESSICA L LARAWAY    6162 ROBERT CIR                                                                                  YPSILANTI       MI      48197‐8279
JESSICA L THOMAS     120 HARPER AVE APT 5                                                                             DETROIT         MI      48202‐3569
JESSICA L WELLS      1480 PARKWOOD AVE APT 2                                                                          YPSILANTI       MI      48198‐5974
JESSICA L WEST       525 IVY HILL CIRCLE                                                                              W. CARROLLTON   OH      45449‐1715
JESSICA L WILES      2625 N STATE HIGHWAY 360 APT 407                                                                 GRAND PRAIRIE   TX      75050‐7890
JESSICA LA ROSE      7277 MCKINLEY                                                                                    CENTER LINE     MI      48015‐1207
JESSICA LABITUE      7 GLYER CT                                                                                       REISTERSTOWN    MD      21136‐2040
JESSICA LOUGHSRY     NO ADDRESS ON FILE
JESSICA LUND         284 S CROSS CREEK WAY                                                                            COLUMBIA CITY   IN      46725‐7524
JESSICA M HIGNITE    4827 PHILLIPSBURG UNION RD                                                                       UNION           OH      45322‐9760
JESSICA M MATSON     701 CENTER AVE APT 17                                                                            BAY CITY        MI      48708‐5210
JESSICA MAREK        11803 STUART ST                                                                                  GRAND BLANC     MI      48439‐1155
JESSICA MARINO       2 BASSETT CT                                                                                     WEST HAVEN      CT      06516
JESSICA MATTIS       3655 EDGEMONT DR                                                                                 TROY            MI      48084‐1447
JESSICA MCINTYRE     PO BOX 403                         113 W CASGROVE                                                NASHVILLE       MI      49073‐0403
JESSICA MEEKS        11315 HERITAGE OAKS                                                                              SHREVEPORT      LA      71106‐8388
JESSICA MERZ         37616 JOANNE DR                                                                                  CLINTON TWP     MI      48036‐2137
JESSICA MINOTT       106 ESSEX ST                                                                                     CLAWSON         MI      48017‐1775
JESSICA MIRACLE      1997 HEATHER LN                                                                                  YOUNGSTOWN      OH      44511‐1253
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Name                              Address1                           Address2        Address3         Address4                   City               State Zip
JESSICA MOORHEAD FOUNDATION FOR   44201 NAVAJO DR.                                                                               ASHBURN             VA 20147‐3308
HOPE
JESSICA MORENO                    36837 CHESAPEAKE RD                                                                            FRAMINGTON HILLS   MI   48335‐1133

JESSICA N HOUCHINS                7610 STIVERS RD                                                                                GERMANTOWN         OH   45327‐8557
JESSICA N SMITH                   179 W RUTGERS AVE                                                                              PONTIAC            MI   48340‐2761
JESSICA O BRIEN                   14 DARBY RD                                                                                    MASSAPEQUA         NY   11758‐5955
JESSICA OLIVO                     10151 DUFFIELD RD                                                                              GAINES             MI   48436‐9701
JESSICA PFEIFER                   AM MUEHLENBACH 56                                                   48308 SENDEN GERMANY
JESSICA RAMBALDO                  4471 DEAN ST                                                                                   WAYNE              MI   48184‐1812
JESSICA RAMOS                     240 W BEVERLY AVE                                                                              PONTIAC            MI   48340‐2623
JESSICA ROGERS                    3094 WALDON PARK DRIVE                                                                         ORION              MI   48359‐1336
JESSICA ROMBACH                   KARLSTR 33                                                          72351 GEISLINGEN GERMANY

JESSICA RUNYON                    1812 WOODSIDE CT                                                                               BAY CITY           MI   48708‐5002
JESSICA S HANEY                   1804 WOODSIDE CT # 1                                                                           BAY CITY           MI   48708‐5002
JESSICA SCHROEDER                 37059 MAAS DR                                                                                  STERLING HEIGHTS   MI   48312‐1939
JESSICA SCULLION                  12205 GOSHEN RD LOT 117                                                                        SALEM              OH   44460‐9151
JESSICA SHINN                     2431 LITTLE BLUE CT                                                                            LIBERTY            MO   64068‐9189
JESSICA SNELL                     2373 COPAS RD                                                                                  OWOSSO             MI   48867‐9036
JESSICA STEPHENSON                2606 PALMETTO DR                                                                               BOSSIER CITY       LA   71111‐2031
JESSICA TARIFA                    1341 SPANISH NEEDLE TRL                                                                        FORT WORTH         TX   76177‐7208
JESSICA TRADII                    35430 MARROCCO ST                                                                              CLINTON TWP        MI   48035‐2653
JESSICA TRICE                     4993 CRABAPPLE CT                                                                              WEST BLOOMFIELD    MI   48324‐1291

JESSICA TYSON                     413 TROTTERS RDG                                                                               LAWRENCEVILLE      GA   30043‐3654
JESSICA VELASQUEZ                 2724 ASHTON DR                                                                                 SAGINAW            MI   48603‐2901
JESSICA WILES                     2625 N STATE HIGHWAY 360 APT 407                                                               GRAND PRAIRIE      TX   75050‐7890
JESSICA WILLIG                    1612 CEMETERY ROAD                                                                             PRIEST RIVER       ID   83856‐9419
JESSICA WILLRODT                  WAITZSTRASSE 15                    24105 KIEL
JESSICA WOOLEY                    148 OLDS LANE                                                                                  MONROE             LA   71203‐9788
JESSICA WRIGHT                    2043 JEFFERSON STREET                                                                          HOLT               MI   48842‐1342
JESSICA YATES                     1370 CAMPBELL RD                                                                               WOODLEAF           NC   27054‐9454
JESSICA YOUNG                     5900 BRIDGE RD APT 814                                                                         YPSILANTI          MI   48197‐7011
JESSICK DEAN                      13420 PARKER CIR                                                                               OMAHA              NE   68154‐3828
JESSIE A MCKEATING                232 RAINBOW DR. #13256                                                                         LINVINGSTON        TX   77399‐2032
JESSIE A SYSTER                   2325 NORTHFIELD AVE NW                                                                         WARREN             OH   44485‐1414
JESSIE A WASHINGTON               901 PALLISTER ST APT 1314                                                                      DETROIT            MI   48202‐2677
JESSIE ADAMS                      10172 BURGANDY BLVD                                                                            DIMONDALE          MI   48821‐9546
JESSIE ADAMS                      16031 BEECH DALY RD TRLR 55                                                                    TAYLOR             MI   48180‐5083
JESSIE ADAMS                      7204 SHAKER RD                                                                                 FRANKLIN           OH   45005‐2549
JESSIE ADAMS                      830 E 6TH ST                                                                                   FLINT              MI   48503‐2772
JESSIE ALEMAN                     5115 DRIFTWOOD DR                                                                              COMMERCE TWP       MI   48382‐1329
JESSIE ALEMAN JR                  4030 RACE ST                                                                                   FLINT              MI   48504‐2227
JESSIE ALEXANDER                  9410 S LAFLIN                                                                                  CHICAGO            IL   60620
JESSIE ALISON                     PO BOX 6430                                                                                    KINGSPORT          TN   37663‐1430
JESSIE ALLEN                      256 MARBLE ST                                                                                  JOLIET             IL   60435‐6357
JESSIE ALLEN                      6998 ST RT 307 SO BOX 50A                                                                      FULTON             KY   42041
JESSIE AMERSON                    1826 SHAMROCK LN                                                                               FLINT              MI   48504‐5404
JESSIE ANDERSON                   8472 HIGHWAY 297                                                                               PIONEER            TN   37847‐4020
JESSIE ANDERSON                   415 SUNFLOWER ST                                                                               BASTROP            LA   71220‐5660
JESSIE ANDREWS                    2261 DOUGLAS JOEL DR                                                                           FLINT              MI   48505‐1044
JESSIE ANTHONY                    205 E GENESEE ST                                                                               FLINT              MI   48505‐4260
JESSIE ARABIE                     1720 17TH ST                                                                                   LAKE CHARLES       LA   70601‐7774
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Name                 Address1                            Address2                      Address3          Address4                  City              State   Zip
JESSIE ARMSTRONG     23215 EDSEL FORD COURT                                                                                        ST CLR SHORES      MI     48080‐2570
JESSIE ARNETT        11217 ALGONQUIN DR                                                                                            PINCKNEY           MI     48169‐9308
JESSIE ARNETTE       32 ALOHA DR                                                                                                   MORAINE            OH     45439‐1746
JESSIE ASHFORD       998 WEIR PANHANDLE RD                                                                                         MC COOL            MS     39108‐4136
JESSIE AUGUSTYN      679 STONEY BROOK RD                                                                                           SAGAMORE HILLS     OH     44067‐2236
JESSIE AUSTIN        11206 PROMENADE ST                                                                                            DETROIT            MI     48213‐1378
JESSIE B LEWIS       NIX PATTERSON & ROACH LLP           GM BANKRUPTCY DEPARTMENT      205 LINDA DRIVE                             DAINGERFIELD       TX     75638
JESSIE B SIMMONS     1107 AVENUE A                                                                                                 FLINT              MI     48503
JESSIE BACH          8300 KY 191                                                                                                   CAMPTON            KY     41301‐8189
JESSIE BAGWELL       22 FUNDERBURK RD                                                                                              MURFREESBORO       AR     71958‐8853
JESSIE BAKER         13375 MAIDEN ST                                                                                               DETROIT            MI     48213‐2022
JESSIE BALDERAS      6625 M65                                                                                                      HALE               MI     48379
JESSIE BALLARD       2901 S LEISURE WORLD BLVD APT 112                                                                             SILVER SPRING      MD     20906‐8357
JESSIE BANDA         10700 NW 32ND ST                                                                                              YUKON              OK     73099‐3402
JESSIE BANKS         6122 SENECA ST                                                                                                DETROIT            MI     48213‐2512
JESSIE BANKS         628 E EMBERT PL                                                                                               PEORIA              IL    61603‐1206
JESSIE BANTHER       724 PRESSWOOD COURT                                                                                           ANDERSON           IN     46013
JESSIE BARBER        1240 E GRINDERS SWITCH RD                                                                                     CENTERVILLE        TN     37033‐5991
JESSIE BARBER        1290 LEDGEWOOD LN                                                                                             AVON               IN     46123‐8506
JESSIE BARKER        3215 FRANK RD                                                                                                 MANSFIELD          OH     44903‐8979
JESSIE BARNES        PO BOX 61053                                                                                                  DAYTON             OH     45406‐9053
JESSIE BARNES        19418 MCCORMICK ST                                                                                            DETROIT            MI     48224‐1144
JESSIE BARTLETT      4625 TYRELL RD                                                                                                OWOSSO             MI     48867‐8205
JESSIE BASS          520 NEVADA AVE                                                                                                PONTIAC            MI     48341‐2551
JESSIE BATES         22 GREENFIELD DR                                                                                              DECATUR            AL     35603‐5833
JESSIE BEAN          9133 E WHIPSAW LN                                                                                             PRESCOTT VALLEY    AZ     86314‐7210
JESSIE BEATY         7006 DUPONT ST                                                                                                FLINT              MI     48505‐2067
JESSIE BELL          20204 HUBBELL ST                                                                                              DETROIT            MI     48235‐1686
JESSIE BELL          16561 BOWMAN ST                                                                                               ROSEVILLE          MI     48066‐3710
JESSIE BELTON        5219 BRIARCREST DR                                                                                            FLINT              MI     48532‐2306
JESSIE BENJAMIN      465 W GRAND AVE                     APT 201                                                                   DAYTON             OH     45405‐4725
JESSIE BENSON        426 OAK LAWN DR                                                                                               FAIRBORN           OH     45324‐2731
JESSIE BENTANCUR     1491 BRIARSON DR                                                                                              SAGINAW            MI     48638‐5474
JESSIE BESS          2718 N 86TH TER                                                                                               KANSAS CITY        KS     66109‐1450
JESSIE BILLINGSLEY   324 BURLEIGH AVE                                                                                              DAYTON             OH     45417‐1632
JESSIE BLACK         C/O THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                               HOUSTON            TX     77017
JESSIE BLACKWELL     1091 HOLTSLANDER AVE                                                                                          FLINT              MI     48505‐1622
JESSIE BLAIR         9086 RIVER GROVE RD                                                                                           FLUSHING           MI     48433‐8811
JESSIE BOLDEN        PO BOX 6444                                                                                                   KOKOMO             IN     46904‐6444
JESSIE BOLTON JR     9221 MEREDITH GRADE RD                                                                                        HARRISON           MI     48625‐7810
JESSIE BONES         1321 ONTARIO AVE                                                                                              NIAGARA FALLS      NY     14305‐2757
JESSIE BOSTWICK      6127 ARTHUR AVENUE                                                                                            NEW PRT RCHY       FL     34653‐4603
JESSIE BOUCKAERT     49 RIVER RD                                                                         ARNPRIOR ON CANADA K7S‐
                                                                                                         1R3
JESSIE BOWMAN        1035 WARWICK PL                                                                                               DAYTON            OH      45419‐3726
JESSIE BOWSER        4925 CENTRAL CHURCH RD                                                                                        DOUGLASVILLE      GA      30135‐4109
JESSIE BOXLEY JR     8310 N GENESEE RD                                                                                             MOUNT MORRIS      MI      48458‐8880
JESSIE BRANSON JR    7116 N ORCHARD DR                                                                                             SPRINGPORT        IN      47386‐9769
JESSIE BRATCHER      152 AUDUBON CT                                                                                                WINTER HAVEN      FL      33884‐2501
JESSIE BREECE        1701 1/2 BALDWIN AVE                                                                                          PONTIAC           MI      48340‐1117
JESSIE BRINER        546 SPRING MEADOW DR                                                                                          WENTZVILLE        MO      63385‐3444
JESSIE BROWN         41515 GARDEN WAY DR                                                                                           STERLING HTS      MI      48314‐3831
JESSIE BROWN         591 E FERRY ST                                                                                                BUFFALO           NY      14211‐1109
JESSIE BROWN         3201 HEALY DR                                                                                                 NASHVILLE         TN      37207‐2439
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Name                  Address1                       Address2                    Address3   Address4               City            State   Zip
JESSIE BROWN          84 MCLEAN AVE                                                                                WHITE PLAINS     NY     10607‐1418
JESSIE BROWN          3643 COACHLIGHT COMMON ST                                                                    LANSING          MI     48911‐4407
JESSIE BROWN          2620 HOLBROOK ST APT 715                                                                     HAMTRAMCK        MI     48212‐3462
JESSIE BROWN JR       2007 COLQUITT AVE                                                                            ALBANY           GA     31707‐5160
JESSIE BRUNDIDGE      5129 INLAND ST                                                                               FLINT            MI     48505‐1706
JESSIE BRYANT         5157 TOD AVE SW                                                                              WARREN           OH     44481‐9744
JESSIE BUCHANAN       20200 PATTON ST                                                                              DETROIT          MI     48219‐1445
JESSIE BUFORD         125 LEONARD ST                                                                               BUFFALO          NY     14215‐2367
JESSIE BURDETT        2660 US HIGHWAY 50                                                                           FAYETTEVILLE     OH     45118‐9104
JESSIE BURFORD        3633 MILLSBORO RD W                                                                          MANSFIELD        OH     44903‐8647
JESSIE BURKE          3732 CALUMET RD                                                                              DECATUR          GA     30034‐2130
JESSIE BURSEY         225 E TAYLOR ST                                                                              FLINT            MI     48505‐4985
JESSIE BURT           1822 #1 COLONIAL VILLAGE WAY                                                                 WATERFORD        MI     48328
JESSIE BUTCHER        8139 DUOMO CIR                                                                               BOYNTON BEACH    FL     33472‐7134
JESSIE BUTLER         505 CASTLEWOODS BLVD                                                                         BRANDON          MS     39047‐7327
JESSIE BUTLER         C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                     HOUSTON          TX     77007
                      BOUNDAS LLP
JESSIE BYRNS          1544 E LAKEVILLE RD                                                                          OXFORD          MI      48371
JESSIE C CROWE        145 TUXWORTH ROAD                                                                            CENTERVILLE     OH      45458‐2449
JESSIE C HUTCHERSON   38417 WABASH ST                                                                              ROMULUS         MI      48174‐1139
JESSIE C MCCOMBS JR   1624 GAYHART COURT                                                                           XENIA           OH      45385
JESSIE C WOODALL      2200 NICHOL AVE                                                                              ANDERSON        IN      46016‐3065
JESSIE CAIN           1325 OAKLAWN ST NE                                                                           GRAND RAPIDS    MI      49505‐3846
JESSIE CAMERON        527 S 24TH ST                                                                                SAGINAW         MI      48601‐6408
JESSIE CAMPBELL       579 TOLLISONTOWN RD                                                                          SPARTA          TN      38583‐6579
JESSIE CARTER         2532 NEWBERRY RD                                                                             WATERFORD       MI      48329‐2344
JESSIE CARTER         5117 DERBY RD                                                                                DAYTON          OH      45418‐2228
JESSIE CAUDILL        51 W END BLVD                                                                                SHELBY          OH      44875‐1425
JESSIE CHANDLER       517 ELMGROVE RD                                                                              ROCHESTER       NY      14606‐3345
JESSIE CHIVERS        1811 RUSKIN RD                                                                               DAYTON          OH      45406‐4019
JESSIE CHRISMAN       276 39TH STREET                                                                              ALLEGAN         MI      49010‐9135
JESSIE CLARK          3070 S CENTER RD                                                                             BURTON          MI      48519‐1412
JESSIE CLARK          PO BOX 785                                                                                   BEDFORD         IN      47421‐0785
JESSIE CLEVELAND      103 NICKLAS AVE                                                                              DANVILLE        IL      61832‐5033
JESSIE COHEN          495 WYOMING AVE                                                                              PONTIAC         MI      48341‐2562
JESSIE COLBY          1018 CARMEN DR                                                                               LAKE ISABELLA   MI      48893‐8828
JESSIE COLE           612 SHANANDOAH DRIVE                                                                         EDGERTON        KS      66021‐2562
JESSIE COLEMAN        1854 AMHERST CT                                                                              ROCK HILL       SC      29730‐3383
JESSIE COLLIER JR     942 S 27TH ST                                                                                SAGINAW         MI      48601‐6542
JESSIE COLLINS        622 E RIDGEWAY AVE                                                                           FLINT           MI      48505‐2964
JESSIE COOK           PO BOX 173                                                                                   BURLISON        TN      38015‐0173
JESSIE COPELAND       16190 DIXON RD                                                                               PETERSBURG      MI      49270‐9507
JESSIE COPELAND       PO BOX 127                                                                                   GRAND CANE      LA      71032‐0127
JESSIE CORKER         PO BOX 881                                                                                   CAIRO           GA      39828‐0881
JESSIE COUCH          1354 CATALINA DR                                                                             MIAMISBURG      OH      45342‐2002
JESSIE CRAIG          14855 HULL RD                                                                                MONROE          MI      48161‐3827
JESSIE CREWS          1163 E SHARPNACK ST                                                                          PHILADELPHIA    PA      19150‐3108
JESSIE CROWE          145 TUXWORTH RD                                                                              CENTERVILLE     OH      45458‐2449
JESSIE CUMBIE         410 LEE MADDOX RD APT A                                                                      JACKSON         GA      30233
JESSIE CUMMINGS       3002 WISNER ST                                                                               FLINT           MI      48504‐2542
JESSIE CUNNINGHAM     304 E 37TH ST                                                                                ANDERSON        IN      46013‐4640
JESSIE CURRINGTON     3741 RUSSELL STREET                                                                          DETROIT         MI      48207‐4709
JESSIE D ROBINSON     9211 SUSSEX ST                                                                               DETROIT         MI      48228‐2378
JESSIE D SILER        3411 DENLINGER RD                                                                            DAYTON          OH      45406‐1117
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Name                 Address1                        Address2                      Address3   Address4               City            State   Zip
JESSIE D SMITH       3931 NORFOLK ST                                                                                 DETROIT          MI     48221‐1307
JESSIE DARROUGH      4210 BROWNELL BLVD                                                                              FLINT            MI     48504‐2176
JESSIE DAULTON       2347 N JOHNSVILLE RD                                                                            BROOKVILLE       OH     45309
JESSIE DAVIS         8888 17TH AVE                                                                                   BITELY           MI     49309‐9639
JESSIE DAVIS         26114 KITCH ST                                                                                  INKSTER          MI     48141‐2615
JESSIE DAVIS JR      4120 COMSTOCK AVE                                                                               FLINT            MI     48504‐3761
JESSIE DE LISIO      708 W COLLEGE ST                                                                                COLDWATER        OH     45828‐1633
JESSIE DEHAVEN       165 W STATE ST                                                                                  SPRINGBORO       OH     45066‐1239
JESSIE DEJESUS       640 PEACOCK AVE                                                                                 PONTIAC          MI     48340‐2069
JESSIE DEKUBBER      3011 5 MILE RD NE                                                                               GRAND RAPIDS     MI     49525‐1933
JESSIE DELACRUZ      325 N 3RD AVE                                                                                   SAGINAW          MI     48607‐1429
JESSIE DELANEY       419 BROWNELL RD                                                                                 BALTIMORE        MD     21220‐3011
JESSIE DELLBRUEGGE   5148 US HIGHWAY 52                                                                              CEDAR GROVE      IN     47016
JESSIE DENNIS        18928 DEQUINDRE ST                                                                              DETROIT          MI     48234‐1278
JESSIE DENT          205 W BAKER ST                                                                                  FLINT            MI     48505‐4155
JESSIE DICKERSON     19601 GREENWALD DR                                                                              SOUTHFIELD       MI     48075‐7301
JESSIE DIGBY         22731 MILLARD AVE                                                                               RICHTON PARK      IL    60471‐2530
JESSIE DINWIDDIE     20434 SAN JUAN DR                                                                               DETROIT          MI     48221‐1227
JESSIE DOBBS         2438 BURBANK ST                                                                                 JOLIET            IL    60435‐1409
JESSIE DOBIERALSKI   37501 JOY RD APT 114                                                                            WESTLAND         MI     48185‐7514
JESSIE DOMINGUEZ     13500 OSBORNE ST                                                                                ARLETA           CA     91331‐5524
JESSIE DOMOY         3291 DRAKE STREET RD                                                                            OAKFIELD         NY     14125‐9741
JESSIE DOTSON        160 TRAYMORE BLVD                                                                               EASTLAKE         OH     44095‐1024
JESSIE DOUGLAS       1590 OLD MIDDLES RD HWY                                                                         LAFOLLETTE       TN     37766
JESSIE DUNBAR JR     1500 BRADFIELD DR APT 67                                                                        LIMA             OH     45804‐3475
JESSIE DYE           3447 LOWELL DR                                                                                  COLUMBUS         OH     43204‐1471
JESSIE E GARCIA      640 LUCAS AVE                                                                                   DEVINE           TX     78016‐3520
JESSIE E MARCHMAN    221 JOE DAVIS DR                                                                                BRANDON          MS     39042‐8844
JESSIE E REACH       C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                       HOUSTON          TX     77007
                     BOUNDAS LLP
JESSIE EARNEST       2101 WELCH BLVD                                                                                 FLINT           MI      48504‐2911
JESSIE EARNEST       2630 THORNTON AVENUE                                                                            FLINT           MI      48504‐2358
JESSIE ECTOR         260 HAZELWOOD AVE                                                                               BUFFALO         NY      14215‐3567
JESSIE ELDER JR.     4541 GREENWICH VILLAGE AVE                                                                      DAYTON          OH      45406‐2409
JESSIE ELLIOTT       8138 FROST AVE                                                                                  BERKELEY        MO      63134‐1217
JESSIE ESPINOZA      6241 COOPER RD                                                                                  LANSING         MI      48911‐5554
JESSIE EVANS         421 W RUTH AVE                                                                                  FLINT           MI      48505‐2641
JESSIE EYSTER        10553 S US HIGHWAY 231                                                                          CLOVERDALE      IN      46120‐8036
JESSIE FAGLESON      PO BOX 248                      2 ALFRED RD APT D                                               MILFORD         MA      01757‐0248
JESSIE FARISH        500 S LYNN RIGGS BLVD PMB 295                                                                   CLAREMORE       OK      74017‐7814
JESSIE FARMER        C/O THE MADEKSHO LAW FIRM       8866 GULF FREEWAY SUITE 440                                     HOUSTON         TX      77017
JESSIE FARR          532 JAMES AVE SE APT 106                                                                        GRAND RAPIDS    MI      49503‐5400
JESSIE FELTS         1150 KINGSTON AVE                                                                               FLINT           MI      48507‐4742
JESSIE FERGUSON      1911 TOPLEA DR                                                                                  EULESS          TX      76040‐4038
JESSIE FIELDS        630 TOWER ROAD                                                                                  CHRISTIANSBRG   VA      24073‐4108
JESSIE FITZGERALD    PO BOX 50292                                                                                    BOWLING GREEN   KY      42102‐2892
JESSIE FORD          1700 E 13TH ST APT 4FE                                                                          CLEVELAND       OH      44114
JESSIE FORD          129 W BAKER ST                                                                                  FLINT           MI      48505‐4137
JESSIE FORTUNE       5304 SOUTHWEST DR                                                                               JONESBORO       AR      72404‐8932
JESSIE FORYSTEK      201 W JOLLY RD APT 209                                                                          LANSING         MI      48910‐6651
JESSIE FOWLER        876 SARATOGA HEIGHTS DR                                                                         SAINT CHARLES   MO      63304
JESSIE FRADIEU       6027 HASKELL AVE                                                                                KANSAS CITY     KS      66104‐2858
JESSIE FRANKLIN      4701 E 40TH PL                                                                                  KANSAS CITY     MO      64130‐1603
JESSIE FRANKS        40 E SIDNEY AVE APT 12J                                                                         MOUNT VERNON    NY      10550‐1477
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Name                Address1                          Address2                     Address3   Address4               City              State   Zip
JESSIE FREEMAN      6309 COUNTY ROAD 92                                                                              NEWELL             AL     36280‐4906
JESSIE FULLER       16230 NW 21ST AVE                                                                                OPA LOCKA          FL     33054‐2044
JESSIE GARCIA       640 LUCAS AVE                                                                                    DEVINE             TX     78016‐3520
JESSIE GARLAND      3800 RICHFIELD RD APT 516                                                                        FLINT              MI     48506‐2661
JESSIE GARNER       503 S OUTER DR                                                                                   SAGINAW            MI     48601‐6404
JESSIE GARRETT      347 PINKNEY ST                                                                                   WINDER             GA     30680‐2241
JESSIE GARRETT      7721 STANLEY MILL DR                                                                             CENTERVILLE        OH     45459‐5144
JESSIE GARRETT      BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
JESSIE GARRISON     4000 ALTAMONT AVE                                                                                OAKLAND            CA     94605‐2604
JESSIE GAULT        G 5078 FLUSHING RD                                                                               FLUSHING           MI     48433
JESSIE GILLAM       1601 LINDENWOOD DR                                                                               KOKOMO             IN     46902‐5813
JESSIE GLOVER       PO BOX 2497                                                                                      SPRINGFIELD        OH     45501
JESSIE GONZALES     PO BOX 3                                                                                         PAULDING           OH     45879‐0003
JESSIE GOODEN       BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
JESSIE GOODMAN      220 WELCOME WAY BLVD W APT 102A                                                                  INDIANAPOLIS       IN     46214‐2954
JESSIE GOULD        1914 MONTEITH ST                                                                                 FLINT              MI     48504‐5200
JESSIE GRAHAM       20567 STAHELIN AVE                                                                               DETROIT            MI     48219‐1536
JESSIE GRANGER      2426 E BROADWAY RD                                                                               MESA               AZ     85204‐1526
JESSIE GRAYER       2894 NORGATE LN                                                                                  DECATUR            GA     30034‐2853
JESSIE GREEN        1032 WESTLAKE DR                                                                                 DESOTO             TX     75115‐4144
JESSIE GREEN        692 COUNTY ROAD #18                                                                              FORKLAND           AL     36740
JESSIE GREEN        54 C E PENNEY DR                  C/O KENNETH E GREEN JR                                         WALLKILL           NY     12589‐4510
JESSIE GREEN‐BELL   157 DELCO ST                                                                                     PONTIAC            MI     48342‐2404
JESSIE GREENE       PO BOX 805                                                                                       PORT GIBSON        MS     39150‐0805
JESSIE GREGORY      11684 ROBSON ST                                                                                  DETROIT            MI     48227‐2436
JESSIE GRIFFIN      168 GORLAND AVE                                                                                  SYRACUSE           NY     13224‐1616
JESSIE GROSS        PO BOX 540                                                                                       ASTOR              FL     32102‐0540
JESSIE GUTTER       5809 WINTHROP BLVD                                                                               FLINT              MI     48505‐5102
JESSIE H ROACH      1779 HICKS TOWN RD.                                                                              UTICA              MS     39175‐9326
JESSIE HALL         2001 HOODS CREEK PIKE                                                                            WESTWOOD           KY     41101‐2217
JESSIE HALL         3731 KENTUCKY AVE                                                                                INDIANAPOLIS       IN     46221‐2703
JESSIE HARGROVE     2513 KENSINGTON DR                                                                               SAGINAW            MI     48601‐4566
JESSIE HARRIS       10720 BEVERLY AVE                                                                                OAKLAND            CA     94603‐3924
JESSIE HARRIS       3358 FRONTIER RD                                                                                 FESTUS             MO     63028‐4641
JESSIE HARRIS       5450 N JENNINGS RD                                                                               FLINT              MI     48504‐1112
JESSIE HARRIS JR    3932 W 129TH ST                                                                                  CLEVELAND          OH     44111‐5110
JESSIE HARVEY       5453 BARRWYN DR                                                                                  REX                GA     30273‐1363
JESSIE HAYS         4810 HITTLE DR                                                                                   INDIANAPOLIS       IN     46239‐1717
JESSIE HELM         7718 TERRI DR                                                                                    WESTLAND           MI     48185‐1455
JESSIE HENDERSON    71 ROBIN LN                                                                                      WELLINGTON         KY     40387‐8545
JESSIE HENDERSON    4363 FAIRWOOD DR                                                                                 BURTON             MI     48529‐1912
JESSIE HENDERSON    2123 ROSSMOOR RD                                                                                 CLEVELAND HTS      OH     44118‐2516
JESSIE HENDERSON    873 MILLER COUNTY 195                                                                            DODDRIDGE          AR     71834‐1455
JESSIE HERNANDEZ    855 SAYBROOK DR                                                                                  WATERFORD          MI     48327‐2585
JESSIE HILL         1014 S 4TH AVE                                                                                   SAGINAW            MI     48601‐2138
JESSIE HILL         411 MAPLE DR                                                                                     COLUMBUS           OH     43228‐1112
JESSIE HILTON       5816 HIGHWAY 143                                                                                 STERLINGTON        LA     71280‐2934
JESSIE HOELSCHER    3021 CLAIRMONT                                                                                   INDEPENDENCE       MO     64052
JESSIE HOLLEY       3784 COLLINWOOD LN                                                                               WEST PALM BEACH    FL     33406‐4153

JESSIE HOLT         1359 BENNETT RD                                                                                  BEDFORD           IN      47421‐7420
JESSIE HONEA        1322 SILVER CREEK AZLE RD APT 1                                                                  AZLE              TX      76020‐3898
JESSIE HOOPER       11811 CHAMPAIGN AVE                                                       48089                  WARREN            MI      48089
JESSIE HORN         BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.       OH      44236
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Name                  Address1                       Address2                     Address3   Address4               City               State   Zip
JESSIE HORN           180 MEADOW DR                                                                                 ELYRIA              OH     44035‐1838
JESSIE HOWARD         2701 TEAMON RD                                                                                GRIFFIN             GA     30223‐5857
JESSIE HOY            515 LOCUST ST APT C2                                                                          LOCKPORT            NY     14094‐5658
JESSIE HUBBARD        APT 606                        430 MASSACHUSETTS AVENUE                                       INDIANAPOLIS        IN     46204‐1530
JESSIE HUGHLEY        127 E CHAFFEE AVE                                                                             SYRACUSE            NY     13207‐2820
JESSIE HUMBERT        834 E MIDLOTHIAN BLVD APT 21                                                                  YOUNGSTOWN          OH     44502‐2557
JESSIE HUNT           839 SIMCOE AVE                                                                                FLINT               MI     48507‐1680
JESSIE HUNTER         5378 W EPLER AVE                                                                              INDIANAPOLIS        IN     46221‐4204
JESSIE HURSE          2402 WINONA ST                                                                                FLINT               MI     48504‐7180
JESSIE HUSKINS        11656 S 353                                                                                   EARLSBORO           OK     74840‐9009
JESSIE HUTCHERSON     38417 WABASH ST                                                                               ROMULUS             MI     48174‐1139
JESSIE HYNDSHAW       201 ALDEN AVE                                                                                 MORRISVILLE         PA     19067‐4801
JESSIE I REVOIR       202 N KINGSLEY                                                                                HOBBS               NM     88240
JESSIE INGRAM         411 FOREST ST                                                                                 BUFORD              GA     30518‐2921
JESSIE ISREAL         16 BAKER RD                                                                                   ARDEN               NC     28704‐8738
JESSIE J ANDREWS      2261 DOUGLAS JOEL DR                                                                          FLINT               MI     48505‐1044
JESSIE J BARNES       19418 MCCORMICK ST                                                                            DETROIT             MI     48224‐1144
JESSIE J BLAIR        9086 RIVER GROVE RD                                                                           FLUSHING            MI     48433‐8811
JESSIE J BRAY         525 MCELROY ST SE                                                                             ATTALLA             AL     35954‐3433
JESSIE J BUTLER       505 CASTLEWOOD BLVD                                                                           BRANDON             MS     39047‐7327
JESSIE J COLE         C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                                     HOUSTON             TX     77007
                      BOUNDAS, LLP
JESSIE J CREWS        1163 E SHARPNACK ST                                                                           PHILADELPHIA        PA     19150‐3108
JESSIE J DUNN         PO BOX 1676                                                                                   EL CERRITO          CA     94530‐4676
JESSIE J HARRIS       5450 N JENNINGS RD                                                                            FLINT               MI     48504‐1112
JESSIE J HARRIS       1316 E CORNELL AVE                                                                            FLINT               MI     48505‐1751
JESSIE J SEAMON, SR   C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                                     HOUSTON             TX     77007
                      BOUNDAS, LLP
JESSIE J SUMLIN       3860 WALES DR                                                                                 DAYTON             OH      45405
JESSIE J VASQUEZ      112 CORONA DR                                                                                 OKLAHOMA CITY      OK      73149‐1808
JESSIE JACKSON        1164 E HOLBROOK AVE                                                                           FLINT              MI      48505‐2327
JESSIE JAKOBIAK       44353 SATURN DR                                                                               STERLING HEIGHTS   MI      48314‐3173
JESSIE JAMES          PO BOX 223                                                                                    JACKSON            GA      30233‐0006
JESSIE JAMES          262 HARRISON ST                                                                               PONTIAC            MI      48341‐2440
JESSIE JENT           PO BOX 429                                                                                    ALEXANDRIA         IN      46001‐0429
JESSIE JERMANY        1937 GILMARTIN ST                                                                             FLINT              MI      48503‐4411
JESSIE JOHNSON        2806 RIDGEWAY DR                                                                              FORT WAYNE         IN      46816‐2106
JESSIE JOHNSON        8448 W OUTER DR                                                                               DETROIT            MI      48219‐3575
JESSIE JOHNSON        12700 SUSSEX ST                                                                               DETROIT            MI      48227‐2156
JESSIE JOHNSON        3004 WELLAND DR                                                                               SAGINAW            MI      48601‐6914
JESSIE JOHNSON JR     6094 HARWOOD RD                                                                               MOUNT MORRIS       MI      48458‐2720
JESSIE JOLLY          1911 S DREXEL AVE                                                                             INDIANAPOLIS       IN      46203‐3538
JESSIE JONES          225 N DELAWARE ST              FBO JESSIE E JONES                                             INDIANAPOLIS       IN      46204‐2137
JESSIE JONES          1024 17PLACE S.W.                                                                             BIRMINGHAM         AL      35211
JESSIE JONES          125 OLD LYME DR APT 2                                                                         WILLIAMSVILLE      NY      14221‐2266
JESSIE JONES          PO BOX 523                                                                                    LAKEMONT           GA      30552‐0009
JESSIE JONES          1001 LELAND ST APT 223                                                                        DETROIT            MI      48207‐4706
JESSIE JONES          1225 OPP REYNOLDS RD                                                                          TONEY              AL      35773‐7447
JESSIE JUDGE          99 DUNCAN LN                                                                                  YOUNGSTOWN         OH      44505‐4813
JESSIE KELLEY         1115 DRAKE AVE 2 FL                                                                           ROSELLE            NJ      07203
JESSIE KIGER          3945 NILES CARVER RD                                                                          MINERAL RIDGE      OH      44440‐9516
JESSIE KILE           4851 HAYES ST                                                                                 WAYNE              MI      48184‐2277
JESSIE KILGORE        4763 JAMERSON CREEK CT                                                                        MARIETTA           GA      30066‐1145
JESSIE KINCADE        924 WEST 54TH PLACE                                                                           CHICAGO            IL      60609
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Name                   Address1                      Address2                    Address3   Address4               City            State   Zip
JESSIE KINCANNON       10609 SE 49TH ST                                                                            OKLAHOMA CITY    OK     73150‐4216
JESSIE KING            25930 PRINCETON ST                                                                          INKSTER          MI     48141‐2441
JESSIE KING            PO BOX 624                                                                                  DEFIANCE         OH     43512‐0624
JESSIE KING            13720 STATE RD E                                                                            DE SOTO          MO     63020‐3979
JESSIE KING            1536 TRAVIS DR                                                                              TOLEDO           OH     43612‐4037
JESSIE KIRK            2839 GEORGIA CROSSING RD                                                                    WINCHESTER       TN     37398‐2709
JESSIE KOGER           2616 HURLBUT ST                                                                             DETROIT          MI     48214‐4049
JESSIE KRUMHOLZ        152 ASHLEY RD                                                                               DANIELS          WV     25832‐9607
JESSIE L ASHFORD       PO BOX 228                                                                                  LOUISVILLE       MS     39339‐0228
JESSIE L BOLDEN        PO BOX 6444                                                                                 KOKOMO           IN     46904‐6444
JESSIE L COLLINS       622 E RIDGEWAY AVE                                                                          FLINT            MI     48505‐2964
JESSIE L FORMEY        118 WEATHERBARK CIRC                                                                        N CHARLESTON     SC     29418
JESSIE L HIGNITE       1210 13TH ST APT 4                                                                          BEDFORD          IN     47421‐3283
JESSIE L LEE           35 LEGENDS WAY                                                                              ROCHESTER        NY     14612‐2395
JESSIE L LEWIS         PO BOX 3421                                                                                 SAGINAW          MI     48605‐3421
JESSIE L MAHONE        PO BOX 1973                                                                                 YOUNGSTOWN       OH     44506‐0073
JESSIE L MANESS        228 W CORNELL AVE                                                                           PONTIAC          MI     48340‐2724
JESSIE L PAILTHORPE    14 HIAWATHA TRAIL                                                                           SPENCERPORT      NY     14559‐2008
JESSIE L TURNER        614 ELMWOOD ST.                                                                             MC COMB          MS     39648
JESSIE LA FAVE         5372 STEVEN ST                                                                              CROSWELL         MI     48422‐9603
JESSIE LADD            THE MADEKSHO LAW FIRM         8866 GULF FREEWAY STE 440                                     HOUSTON          TX     77017
JESSIE LAFLEUR         5679 COLE RD                                                                                SAGINAW          MI     48601‐9714
JESSIE LAMBARIA        510 SPRUCE ST                                                                               MOUNT MORRIS     MI     48458‐1941
JESSIE LANK JR         4615 RIVERSOUND DR                                                                          SNELLVILLE       GA     30039‐8561
JESSIE LATHROP         1 WILSON PKWY                                                                               LOCKPORT         NY     14094‐3927
JESSIE LEE             APT 2                         3280 STERLING DRIVE                                           SAGINAW          MI     48601‐4292
JESSIE LEFFLER         4980 E GRAND RIVER AVE                                                                      PORTLAND         MI     48875‐8690
JESSIE LEIGH           14648 TRACEY ST                                                                             DETROIT          MI     48227‐3265
JESSIE LESLIE          5605 SUSAN ST                                                                               FLINT            MI     48505‐2581
JESSIE LEVY            2570 SARGENT RD                                                                             DALZELL          SC     29040‐9299
JESSIE LEWIS           PO BOX 3421                                                                                 SAGINAW          MI     48605‐3421
JESSIE LEWIS           9 PARKHURST ST                                                                              PONTIAC          MI     48342‐2629
JESSIE LEWIS           3035 COURTZ ISLE APT 2                                                                      FLINT            MI     48532‐4206
JESSIE LITTLE          11731 GLASTONBURY AVE                                                                       DETROIT          MI     48228‐1115
JESSIE LOFTON          19 KAREN CT                                                                                 PONTIAC          MI     48340‐1634
JESSIE LONG            4957 PERNOD AVE                                                                             ST LOUIS         MO     63139‐1251
JESSIE LOOSIER         13393 COUNTY ROAD 150                                                                       COURTLAND        AL     35618‐4101
JESSIE LUCAS‐NOEL      1806 S 105TH TER                                                                            EDWARDSVILLE     KS     66111‐1178
JESSIE LYLES           2813 TAUSEND ST                                                                             SAGINAW          MI     48601‐4530
JESSIE LYONS           300 BUD LANE                                                                                NORTHVILLE       MI     48167‐9365
JESSIE M ALEMAN        5115 DRIFTWOOD DR                                                                           COMMERCE TWP     MI     48382‐1329
JESSIE M BILLINGSLEY   324 BURLEIGH AVE                                                                            DAYTON           OH     45417‐1632
JESSIE M BRUNDIDGE     5129 INLAND ST                                                                              FLINT            MI     48505‐1706
JESSIE M HUGHLEY       127 E CHAFFEE AVE                                                                           SYRACUSE         NY     13207‐2820
JESSIE M JERMANY       1937 GILMARTIN ST                                                                           FLINT            MI     48503‐4411
JESSIE M PAUL          321 LAKE AVENUE               APARTMENT 1313                                                ROCHESTER        NY     14608‐1004
JESSIE M SALONE        9890 FREEDOMS WAY                                                                           KEITHVILLE       LA     71047‐9229
JESSIE M SMITH         1025 N WATER STREET                                                                         HERMITAGE        PA     16148‐1213
JESSIE M TAYLOR        2201 FALMOUTH AVE                                                                           DAYTON           OH     45406‐2516
JESSIE M THOMAS        4805 HASSAN CIR               APT 13                                                        DAYTON           OH     45432‐1306
JESSIE M TUCCI         735 LIVERY CIR                                                                              LAWRENCEVILLE    GA     30045‐9352
JESSIE M WILLIAMS      2914 COOLEY DR                                                                              LANSING          MI     48911‐1670
JESSIE M WOOLUM        508 TORLAGE DR                                                                              DAYTON           OH     45431‐2204
JESSIE MAGGARD         13340 ZAREMBA DR                                                                            BROOK PARK       OH     44142‐4054
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Name                 Address1                         Address2                      Address3   Address4               City               State   Zip
JESSIE MAGGARD       2621 GENES DR                                                                                    AUBURN HILLS        MI     48326‐1903
JESSIE MAHONE        PO BOX 1973                                                                                      YOUNGSTOWN          OH     44506‐0073
JESSIE MALCOLM JR    6485 BOCA GRANDE BLVD                                                                            FOREST PARK         GA     30297‐3409
JESSIE MALONE        3911 ASHWOOD CIR                                                                                 CORONA              CA     92881
JESSIE MANESS        228 W CORNELL AVE                                                                                PONTIAC             MI     48340‐2724
JESSIE MARBLE        2125 E 38TH ST                                                                                   MARION              IN     46953‐4577
JESSIE MARLET        2173 S CENTER RD APT 114                                                                         BURTON              MI     48519‐1807
JESSIE MARSHALL      8953 RUTHELEN ST                                                                                 LOS ANGELES         CA     90047‐3545
JESSIE MARSHALL      18634 ROSELAWN ST                                                                                DETROIT             MI     48221‐2118
JESSIE MASEK         4476 CALLE MAPACHE                                                                               CAMARILLO           CA     93012‐0941
JESSIE MATHEWS       3638 DENLINGER ROAD                                                                              TROTWOOD            OH     45426
JESSIE MATTHEWS      31 MEADOWOODS PL                                                                                 JACKSON             MS     39211‐3071
JESSIE MAXWELL       161 W DELASON AVE                                                                                YOUNGSTOWN          OH     44507‐1026
JESSIE MC CLAIN      1963 RICHTON ST                                                                                  DETROIT             MI     48206‐1211
JESSIE MC DOWELL     95 FRANKLIN ST RM 1304                                                                           BUFFALO             NY     14202‐3914
JESSIE MC INTOSH     5143 KELLIS STORE RD                                                                             DE KALB             MS     39328‐7066
JESSIE MCCOY         6518 DARYLL DR                                                                                   FLINT               MI     48505‐1962
JESSIE MCDONALD JR   PO BOX 960184                                                                                    RIVERDALE           GA     30296‐0184
JESSIE MCGEE         3278 CYNTHIA RD                                                                                  JACKSON             MS     39209‐2583
JESSIE MCINTOSH      1015 8TH AVE SE                                                                                  DECATUR             AL     35601‐3963
JESSIE MCINTOSH      26016 THOMAS ST                                                                                  WARREN              MI     48091‐1000
JESSIE MCKEATING     232 RAINBOW DR # 13256                                                                           LIVINGSTON          TX     77399‐2032
JESSIE MCKINNEY      21427 ITHACA AVE                                                                                 FERNDALE            MI     48220‐2165
JESSIE MENDOZA       KELLER, FISHBACK & JACKSON LLP   18425 BURBANK BLVD, STE 610                                     TARZANA             CA     91356
JESSIE MENDOZA JR    19736 TOWNSHIP ROAD 1038                                                                         OAKWOOD             OH     45873
JESSIE MICHEL        3169 PALMER RD                                                                                   RANSOMVILLE         NY     14131‐9621
JESSIE MILLER        1499 W YALE AVE                                                                                  FLINT               MI     48505‐1173
JESSIE MILLWOOD      530 LINCOLN AVE                                                                                  DEFUNIAK SPRINGS    FL     32435‐2131

JESSIE MOORE         307 KINGS MILLS RD                                                                               MASON              OH      45040‐1806
JESSIE MOORE         15900 HAZEL RD                                                                                   E CLEVELAND        OH      44112‐2911
JESSIE MOORE         1201 REESE AVE                                                                                   LIMA               OH      45804‐2052
JESSIE MORGAN        19342 SANTA BARBARA DR                                                                           DETROIT            MI      48221‐1627
JESSIE MORRISETTE    BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS         OH      44236
JESSIE MORTON        114 E HIGHLAND AVE                                                                               MUNCIE             IN      47303‐2906
JESSIE MOSELEY       566 SUNNY ACRES DR                                                                               BEDFORD            IN      47421‐7818
JESSIE MURRAY        8541 CHALFONTE ST                                                                                DETROIT            MI      48238‐1720
JESSIE MYLES         20036 GREENVIEW AVE                                                                              DETROIT            MI      48219‐1545
JESSIE NASH          5622 INDIANA AVE                                                                                 KANSAS CITY        MO      64130‐4048
JESSIE NASH          1747 SILVER ST                                                                                   WICKLIFFE          OH      44092‐1947
JESSIE NAVARRO       3008 CROWNOVER ST                                                                                AUSTIN             TX      78725‐4766
JESSIE NOTEBOOM      4789 ARDMORE AVE                                                                                 OKEMOS             MI      48864‐1628
JESSIE OLIVO         2423 W WOODLAWN AVE                                                                              SAN ANTONIO        TX      78228‐5319
JESSIE OSBORN        PO BOX 43                                                                                        PONETO             IN      46781‐0043
JESSIE OSBORNE       C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS         OH      44236
JESSIE OTIS          83 SOLOMON LN                                                                                    PRENTISS           MS      39474‐3085
JESSIE OUSLEY        4433 S DEER PARK LN                                                                              HARRAH             OK      73045‐6089
JESSIE OWENS         2440 12 HUNTER AVENUE                                                                            BRONX              NY      10475
JESSIE OWENS         4019 ASHBOURNE LN                                                                                INDIANAPOLIS       IN      46226‐3018
JESSIE OYANGUREN     PO BOX 155                                                                                       ALTADENA           CA      91003‐0155
JESSIE PAILTHORPE    14 HIAWATHA TRL                                                                                  SPENCERPORT        NY      14559‐2008
JESSIE PALMIERI      28A BRADFORD LN                                                                                  MONROE TOWNSHIP    NJ      08831‐6719

JESSIE PARKER        18411 STEEL ST                                                                                   DETROIT             MI     48235‐1326
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Name                  Address1                      Address2                      Address3   Address4               City              State   Zip
JESSIE PARKER         3656 HIGHWAY 70 W                                                                             KIRBY              AR     71950‐9028
JESSIE PARKS          2038 TOWNSEND RD                                                                              STARKVILLE         MS     39759‐8961
JESSIE PARKS          4185 WILLIAMSON RD                                                                            SAGINAW            MI     48601‐5949
JESSIE PASAS          1445 E ALMERIA ST                                                                             PHOENIX            AZ     85006
JESSIE PATRICK        5713 DUPONT ST                                                                                FLINT              MI     48505‐2686
JESSIE PATTERSON      2013 CONCORD ST                                                                               FLINT              MI     48504‐3183
JESSIE PATTERSON      4725 W 165TH ST                                                                               LAWNDALE           CA     90260‐2826
JESSIE PATTON         PO BOX 1183                                                                                   NEW BRUNSWICK      NJ     08903‐1183
JESSIE PAUL           321 LAKE AVE APT 1313                                                                         ROCHESTER          NY     14608‐1004
JESSIE PAYTON         559 S 27TH ST                                                                                 SAGINAW            MI     48601‐6420
JESSIE PEREZ          C/O FOSTER & SEAR, LLP        817 GREENVIEW DR                                                GRAND PRAIRIE      TX     75050
JESSIE PERKINS JR     35 RESERVOIR ST                                                                               BROCKTON           MA     02301‐1112
JESSIE PERROTTO       831 JOHN ST                                                                                   PEEKSKILL          NY     10566‐2135
JESSIE PETROSKY       6470 STONECREST DR                                                                            BROOK PARK         OH     44142‐3766
JESSIE PHILL          19322 DALBY                                                                                   REDFORD            MI     48240‐1305
JESSIE PHILPOT        144 AUGHPUGER AVENUE                                                                          HAMILTON           OH     45011
JESSIE PLATKO         PO BOX 14232                                                                                  SAGINAW            MI     48601‐0232
JESSIE POTTER         4136 HIGHWAY 19 E                                                                             RIPLEY             TN     38063‐8414
JESSIE POWELL         THE MADEKSHO LAW FIRM         8866 GULF FREEWAY SUITE 440                                     HOUSTON            TX     77017
JESSIE PRENTICE       339 GREENWOOD ST APT 55                                                                       WORCESTER          MA     01607‐1773
JESSIE PRINCE‐DAVIS   5906 WATERWOOD CIR                                                                            WARR ACRES         OK     73132
JESSIE PULLIAM        12655 S NEW GARDEN RD                                                                         EXCLSOR SPRGS      MO     64024‐6252
JESSIE R BARNES       P. O. BOX 61053                                                                               DAYTON             OH     45406
JESSIE RAY            2242 PARKWAY DR                                                                               DEERFIELD          OH     44411‐9765
JESSIE REED           744 E BALTIMORE BLVD                                                                          FLINT              MI     48505‐3520
JESSIE REMBERT        4540 COLONIAL DR APT 2                                                                        SAGINAW            MI     48603‐3907
JESSIE REVOIR         202 N KINGSLEY                                                                                HOBBS              NM     88240
JESSIE REYNA          1818 MABEL AVE                                                                                FLINT              MI     48506‐3387
JESSIE REYNOLDS       700 LAKE ST                                                                                   LAKE PROVIDENCE    LA     71254‐2526
JESSIE RICHARDSON     193 FULTON ST                                                                                 PONTIAC            MI     48341‐2758
JESSIE RILEY JR       214 DEVONSHIRE DR                                                                             PRUDENVILLE        MI     48651‐9654
JESSIE RIVERA         PO BOX 1143                                                                                   FILLMORE           CA     93016‐1143
JESSIE RIVERS         3900 OPEN FORK ROAD                                                                           MOREHEAD           KY     40351‐8636
JESSIE ROACH          1779 HICKSTOWN RD                                                                             UTICA              MS     39175‐8101
JESSIE ROBBINS        505 S 28TH ST                                                                                 SAGINAW            MI     48601‐6424
JESSIE ROBERTS        1119 SE 33RD ST                                                                               CAPE CORAL         FL     33904‐4219
JESSIE ROBERTS        380 HARDING PL APT L1                                                                         NASHVILLE          TN     37211‐3940
JESSIE ROBINSON       9211 SUSSEX ST                                                                                DETROIT            MI     48228‐2378
JESSIE ROGERS         4150 ASHBOURNE LN                                                                             INDIANAPOLIS       IN     46226‐3021
JESSIE ROGERS JR      4628 N AUDUBON RD                                                                             INDIANAPOLIS       IN     46226‐2202
JESSIE ROOKS          9312 S JUSTINE ST                                                                             CHICAGO             IL    60620‐5126
JESSIE ROWE           1503 BURT ST                                                                                  SAGINAW            MI     48601‐1969
JESSIE ROZIER         2115 W 22ND ST                                                                                ANDERSON           IN     46016‐3615
JESSIE RUBBO          100 ASCOT PLACE                                                                               PITTSBURG          PA     51237
JESSIE RUBIN          133 W BAKER ST                                                                                FLINT              MI     48505‐4137
JESSIE RUSH           109 ALPINE CT                                                                                 BOWLING GREEN      KY     42104‐5301
JESSIE S CHIVERS      1811 RUSKIN RD                                                                                DAYTON             OH     45406
JESSIE S SZERENSCI    336 SLEEPY HOLLOW RD                                                                          SMITHFIELD         PA     15478
JESSIE SAGE           5 FIRESIDE LN                                                                                 PONTIAC            MI     48340‐1630
JESSIE SALONE         9890 FREEDOMS WAY                                                                             KEITHVILLE         LA     71049‐9229
JESSIE SANCHEZ JR     1018 SUNDAY ST                                                                                DEFIANCE           OH     43512‐2922
JESSIE SANDERS        C/O JOY EBIG                  GUARDIANSHIP SERVICES                                           SAGINAW            MI     48607
JESSIE SANDLIN        624 MOUNT PELIA RD                                                                            MARTIN             TN     38237‐5413
JESSIE SCHEFFLER      6269 HUMPHREY DRIVE                                                                           HALE               MI     48739‐9044
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Name                  Address1                     Address2                    Address3   Address4               City            State   Zip
JESSIE SCOTT          704 N. PARK AVE                                                                            ALEXANDRIA       IN     46001
JESSIE SCOTT          PO BOX 2341                                                                                JOPLIN           MO     64803‐2341
JESSIE SCUDDER        239 ADAMS ST                                                                               PENDLETON        IN     46064‐1111
JESSIE SEARLES        231 PALMDALE DR APT 4                                                                      WILLIAMSVILLE    NY     14221‐4022
JESSIE SEARS          4656 N MICHELLE ST                                                                         SAGINAW          MI     48601‐6629
JESSIE SERAFIN        16565 TYLER DR                                                                             CLINTON TWP      MI     48038‐4520
JESSIE SEWELL         113 VAN BUREN CIR                                                                          DAVISON          MI     48423‐8558
JESSIE SHAW           2235 INCA DR                                                                               DALLAS           TX     75216‐7126
JESSIE SHAWHAN        106H FIELD VILLAGE DR                                                                      SENECA           SC     29678
JESSIE SHERRILL       409 W MCCLELLAN ST                                                                         FLINT            MI     48505‐4074
JESSIE SILER          3411 DENLINGER RD                                                                          DAYTON           OH     45406‐1117
JESSIE SIMMONS        1107 AVENUE A                                                                              FLINT            MI     48503
JESSIE SIMPSON        2519 STARLITE DR                                                                           SAGINAW          MI     48603‐2550
JESSIE SIMPSON        1246 EAST WALTON BLVD                                                                      PONTIAC          MI     48340
JESSIE SIMPSON JR     6146 WESTDALE DR                                                                           GRAND BLANC      MI     48439‐8512
JESSIE SIMS           2383 OAKRIDGE DR                                                                           FLINT            MI     48507‐3559
JESSIE SINGLETON      HIROCK RD                                                                                  CONYERS          GA     30207
JESSIE SMART          1296 E KURTZ AVE                                                                           FLINT            MI     48505‐1765
JESSIE SMITH          4094 FILLMORE ST                                                                           SAINT LOUIS      MO     63116‐2915
JESSIE SMITH          921 HEATHER KNOLL DR                                                                       DESOTO           TX     75115‐4708
JESSIE SMITH          22068 CURTIS ST                                                                            DETROIT          MI     48219‐2308
JESSIE SMITH          1101 DUDLEY AVE                                                                            PONTIAC          MI     48342‐1930
JESSIE SMITH          1025 N WATER AVE                                                                           HERMITAGE        PA     16148‐1213
JESSIE SNELL          4022 LAWNDALE AVE                                                                          FLINT            MI     48504‐2253
JESSIE SPARKS         4118 BUCKINGHAM RD APT B                                                                   LOS ANGELES      CA     90008‐3341
JESSIE SPEARS         4619 YUMA DR                                                                               INDIANAPOLIS     IN     46241‐6536
JESSIE SPRINKLES      APT 22                       13940 ANONA HEIGHTS DRIVE                                     LARGO            FL     33774‐3032
JESSIE STANFILL       459 BOWENS MILL HWY                                                                        FITZGERALD       GA     31750‐6953
JESSIE STAR           6510 COOPER RD                                                                             LANSING          MI     48911‐5559
JESSIE STEED          1326 HARPST STREET                                                                         ANN ARBOR        MI     48104‐6134
JESSIE STEGGER        17197 CHERRYLAWN ST                                                                        DETROIT          MI     48221‐2566
JESSIE STEPHENS       5757 N STATE ROAD 67                                                                       MUNCIE           IN     47303‐9520
JESSIE STEVENSON      PO BOX 3792                                                                                FLINT            MI     48502‐0792
JESSIE STEWART        6153 BEECHWOOD RD                                                                          MATTESON          IL    60443‐1313
JESSIE STINNETT       3048 GEHRING DR                                                                            FLINT            MI     48506‐2262
JESSIE STOCK          7472 HARTLAND RD                                                                           FENTON           MI     48430‐9422
JESSIE STROZYKOWSKI   206 S DURHAM ST                                                                            BALTIMORE        MD     21231‐2605
JESSIE SUMMERS        PO BOX 255                                                                                 SAINT ALBANS     NY     11412
JESSIE SWEET          1183 NETTLES BLVD                                                                          JENSEN BEACH     FL     34957‐3392
JESSIE SZYDLOWSKI     6499 NORTH VERNON STREET                                                                   DEARBORN HTS     MI     48127‐2225
JESSIE T BRATCHER     152 AUDUBON CT                                                                             WINTER HAVEN     FL     33884‐2501
JESSIE T COUCH        1354 CATALINA DRIVE                                                                        MIAMISBURG       OH     45342‐2002
JESSIE T MAXWELL      161 W DELASON AVE                                                                          YOUNGSTOWN       OH     44507‐1026
JESSIE TAWNEY         1250 16 MILE RD                                                                            KENT CITY        MI     49330‐9042
JESSIE TAYLOR         2201 FALMOUTH AVE                                                                          DAYTON           OH     45406‐2516
JESSIE TAYLOR         2645 CAVALIER DR                                                                           DECATUR          GA     30034‐1318
JESSIE TERRELL        704 LOUISIANA AVE                                                                          MINDEN           LA     71055‐2912
JESSIE THOMAS         572 N THOMAS LN SE                                                                         SMYRNA           GA     30082‐3369
JESSIE THOMAS         4805 HASSAN CIR              APT 13                                                        DAYTON           OH     45432‐1306
JESSIE THOMAS         PO BOX 60574                                                                               DAYTON           OH     45406‐0574
JESSIE THOMAS         601 E PIKE ST                                                                              PONTIAC          MI     48342‐2974
JESSIE THOMPSON       1908 101ST AVE                                                                             OAKLAND          CA     94603‐3352
JESSIE THORPE         210 N MULBERRY ST                                                                          MANSFIELD        OH     44902‐1055
JESSIE TIDWELL        411 KIRK ST                                                                                LAWRENCEBURG     TN     38464‐2308
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Name                 Address1                      Address2                     Address3   Address4               City            State   Zip
JESSIE TILLER        751 EASLEY LN NW                                                                             BROOKHAVEN       MS     39601‐8321
JESSIE TIPTON        9201 W CR RD 400N                                                                            GASTON           IN     47342
JESSIE TOBIN         2124 E STATE ST EXT                                                                          HUNTINGTON       IN     46750
JESSIE TODD          6205 MAPLERIDGE DR                                                                           FLINT            MI     48532‐2166
JESSIE TOLLISON      1181 DARTMORE CT                                                                             EVANS            GA     30809‐5227
JESSIE TUCCI         735 LIVERY CIR                                                                               LAWRENCEVILLE    GA     30045‐9352
JESSIE TULLAR        8700 MONROE RD APT 14                                                                        DURAND           MI     48429
JESSIE TURNER        327 FRAZIER ST                                                                               RIVER ROUGE      MI     48218‐1057
JESSIE VANDECREEK    886 N BEND RD                 PO BOX 655                                                     STANTON          KY     40380‐9766
JESSIE VASQUEZ       112 CORONA DR                                                                                OKLAHOMA CITY    OK     73149‐1808
JESSIE VIBBERT       3125 W 32ND ST                                                                               ANDERSON         IN     46011‐4618
JESSIE W ADAMS       7204 SHAKER RD                                                                               FRANKLIN         OH     45005‐2549
JESSIE W SMART       1296 E KURTZ AVE                                                                             FLINT            MI     48505‐1765
JESSIE WALLS         RR 2 BOX 2064                                                                                CHATSWORTH       GA     30705
JESSIE WALTERS       912 SPRING LAKE CIR                                                                          W CARROLLTON     OH     45449‐2251
JESSIE WALTON        24745 PLUMRIDGE LN                                                                           SOUTHFIELD       MI     48033‐2922
JESSIE WARD          PO BOX 30295                                                                                 DETROIT          MI     48238‐0295
JESSIE WARE          1420 DELTA RD                                                                                BAY CITY         MI     48706‐9704
JESSIE WARNER        305 BECKET DR APT 2                                                                          BRIGHTON         MI     48116‐1128
JESSIE WARREN        ROUTE 1 BOX 148‐A                                                                            WEIR             MS     39772
JESSIE WARREN        20105 THORNRIDGE DR                                                                          GRAND BLANC      MI     48439‐9250
JESSIE WATKINS       1160 DUNKIRK AVE                                                                             MOUNT MORRIS     MI     48458‐2570
JESSIE WATKINS       1875 W OAKWOOD LOOP                                                                          BARTOW           FL     33830‐7021
JESSIE WEBER         7327 DEVONSHIRE AVE                                                                          GREENDALE        WI     53129‐2210
JESSIE WELLS         2200 KILARNEY RD                                                                             DECATUR          GA     30032‐7127
JESSIE WHEELER       630 LORELLA AVE                                                                              DAYTON           OH     45404‐2420
JESSIE WHETSEL       690 S STATE ST                                                                               FRANKLIN         IN     46131‐2553
JESSIE WHITE         1134 WOODBRIDGE DR                                                                           MONTGOMERY       AL     36116‐3518
JESSIE WHITEHORN     715 N 9TH AVE                                                                                HUMBOLDT         TN     38343‐3803
JESSIE WHITEMAN      1502 EAGLE AVE NW                                                                            PALM BAY         FL     32907‐8677
JESSIE WHITNER       2463 STARFIRE LN                                                                             LOGANVILLE       GA     30052‐8659
JESSIE WIGGINS       1110 MARSHALL RD              C/O WESLEY COMMONS                                             GREENWOOD        SC     29646‐4216
JESSIE WILCOX        216 AVON LN                                                                                  BRANSON          MO     65616‐3776
JESSIE WILFONG       RR 1 BOX 1030                                                                                PATTON           MO     63662‐9700
JESSIE WILKERSON     1007 STONEBRIDGE DR                                                                          ANDERSON         IN     46013‐3700
JESSIE WILLIAMS      1429 HICKORY HOLLOW DR                                                                       FLINT            MI     48532‐2057
JESSIE WILLIAMS      13823 MONTCLAIR HILL CT       SAVANNAH MEADOWS                                               ROSHARON         TX     77583‐2034
JESSIE WILLIAMS      16405 WALDEN AVE                                                                             CLEVELAND        OH     44128‐1331
JESSIE WILLIAMS      12225 TARPON DR                                                                              FLORISSANT       MO     63033‐4763
JESSIE WILLIAMS      3701 PENBROOK LN APT 12                                                                      FLINT            MI     48507‐1491
JESSIE WILLIAMS      7010 JULIAN AVE                                                                              SAINT LOUIS      MO     63130‐1938
JESSIE WILLIAMS      2393 PARIS DR                 C/O CHRISTOPHER A WILLIAMS                                     TROY             MI     48083‐2368
JESSIE WILLIAMS      2914 COOLEY DR                                                                               LANSING          MI     48911‐1670
JESSIE WILLIAMSON    9857 ROOSEVELT ST                                                                            TAYLOR           MI     48180‐3636
JESSIE WILLS         3605 ELDERBERRY AVE                                                                          DAYTON           OH     45416‐2102
JESSIE WILSON        1920 UPTON AVE                                                                               TOLEDO           OH     43607‐1683
JESSIE WILSON        7740 BUNTON RD                                                                               YPSILANTI        MI     48197‐9742
JESSIE WILSON        5053 RETHA CT                                                                                FLINT            MI     48504‐1278
JESSIE WILSON        165 S OPDYKE RD LOT 8                                                                        AUBURN HILLS     MI     48326‐3141
JESSIE WITHERSPOON   2131 COLLEGE AVE SE                                                                          GRAND RAPIDS     MI     49507‐3103
JESSIE WOODALL       2200 NICHOL AVE                                                                              ANDERSON         IN     46016‐3065
JESSIE WOOLUM        508 TORLAGE DR                                                                               DAYTON           OH     45431‐2204
JESSIE WORTHAM       1620 MASON ST                                                                                FLINT            MI     48503‐1111
JESSIE WORTMAN       3213 QUAKER RD                                                                               GASPORT          NY     14067‐9448
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Name                           Address1                       Address2                   Address3             Address4                  City              State   Zip
JESSIE YELDELL                 118 CAMBRIDGE AVE                                                                                        DAYTON             OH     45406‐5005
JESSIE ZORNES                  7640 W HIGHWAY 36                                                                                        SHARPSBURG         KY     40374‐9618
JESSIE ZUBROWSKI               5839 PENNY ROYAL RD                                                                                      ZEPHYRHILLS        FL     33545‐4149
JESSIE, DORIS L                1111 JOUSTING WAY                                                                                        MOUNT AIRY         MD     21771‐5017
JESSIE, ELNORA                 24130 TIMBERLANE RD                                                                                      WARRENSVILLE       OH     44128‐5045
                                                                                                                                        HEIGHTS
JESSIE, GEORGIE I              173 BROOK LN                                                                                             LA FOLLETTE        TN     37766‐5434
JESSIE, HOMER W                16 W JUNCTION ST                                                                                         GREENFIELD         IN     46140‐9061
JESSIE, JAMES L                825 RIVER RD                                                                                             JACKSBORO          TN     37757‐3318
JESSIE, JOANN L                1780 WOODSTOCK BLVD APT 702                                                                              ARLINGTON          TX     76006‐5586
JESSIE, LOIS D                 8602 S. OAK PARK AVE                                                                                     BURBANK            IL     60459‐2373
JESSIE, LOIS D                 8602 OAK PARK AVE                                                                                        BURBANK            IL     60459‐2373
JESSIE, MATTHEW J              W15077 STATE ROAD 121                                                                                    HIXTON             WI     54635‐8524
JESSIE, MICHAEL L              16801 N 150 E                                                                                            SUMMITVILLE        IN     46070‐9117
JESSIE, MICHAEL LEE            16801 N 150 E                                                                                            SUMMITVILLE        IN     46070‐9117
JESSIE, PETER C                N10454 WEST MAY COULEE ROAD                                                                              HIXTON             WI     54635‐8402
JESSIE, PETER C                N10454 W MAY COULEE RD                                                                                   HIXTON             WI     54635‐8402
JESSIE, ROBERT L               4284 LANSING DR                                                                                          JANESVILLE         WI     53546‐3466
JESSIE, RONETTE B              442 N PINE ST                                                                                            JANESVILLE         WI     53548‐3518
JESSIE, RUFUS L                16833 N 150 E                                                                                            SUMMITVILLE        IN     46070‐9117
JESSIE, VAUGHN                 4910 BARELLA DR                                                                                          ANTIOCH            TN     37013‐3602
JESSIE, WILLIE                 8948 GRIFFON AVE                                                                                         NIAGARA FALLS      NY     14304‐4426
JESSIE, WILMA C                16 W JUNCTION ST                                                                                         GREENFIELD         IN     46140‐9061
JESSIE, WILMA C                16 WEST JUNCTION                                                                                         GREENFIELD         IN     46140‐9061
JESSIE‐KHRISTIN E RIVERS       1049 E GENESEE AVE                                                                                       FLINT              MI     48505‐1612
JESSILEE P LEGG                JANNIS L BRAKEFIELD            2921 BUOY CIRCLE NE                                                       TUSCALOOSA         AL     35406
JESSING, RICHARD C             8932 CHESTNUT HILL LN                                                                                    HIGHLANDS RANCH    CO     80130‐5130

JESSLYN PICKENS                ROBERT W PHILLIPS              SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   POP BOX 521               EAST ALTON         IL     62024
                                                              ANGELIDES & BARNERD LLC
JESSLYN SUTTON                 5471 N 1100 E                                                                                            SHERIDAN          IN      46069‐8838
JESSMER, KATELYN E             34 HIGHLAND RD                                                                                           MASSENA           NY      13662‐3205
JESSMER, STELLA                47 HOWARD ST                                                                                             MASSENA           NY      13662‐2234
JESSMER, STELLA                47 HOWARD STREET                                                                                         MASSENA           NY      13662‐2234
JESSMON, ADRIAN C              PO BOX 16526                                                                                             MILWAUKEE         WI      53216‐0526
JESSMORE, ALLEN J              2002 OTTAWA ST                                                                                           SAGINAW           MI      48602‐2745
JESSOGNE, MARTHA M             4901 S 82ND ST                                                                                           GREENFIELD        WI      53220‐4219
JESSOP JR, CHARLES H           10255 WOODSLEE DR                                                                                        CARLETON          MI      48117‐9079
JESSOP, FRANKLIN D             9480 BEECHER RD                                                                                          FLUSHING          MI      48433‐9769
JESSOP, FREDERICK W            980 SPRINGMILL ST                                                                                        MANSFIELD         OH      44906‐1556
JESSOP, GWEN J                 1167 W 1960 S                                                                                            LOGAN             UT      84321‐6501
JESSOP, MARY A                 2517 LANTANA LN                                                                                          PALMETTO          FL      34221‐5916
JESSOP, MICHAEL E              3699 HATFIELD DR                                                                                         WATERFORD         MI      48329‐1736
JESSOP, MICHAEL E              PO BOX 478                                                                                               MILLVILLE         UT      84326‐0478
JESSOP, RICHARD                21287 FAIRFIELD DR                                                                                       MACOMB            MI      48044‐2951
JESSOP, ROBERT R               5275 37 MILE RD                                                                                          BRUCE TWP         MI      48065‐1106
JESSOPS GARAGE                 HWY. 27, BOX 248                                                               SCHOMBERG ON L0G 1T0
                                                                                                              CANADA
JESSUP AUTO PLAZA              68111 E PALM CANYON DR                                                                                   CATHEDRAL CITY     CA     92234‐5408
JESSUP CHEVROLET               68111 E PALM CANYON DR                                                                                   CATHEDRAL CITY     CA     92234‐5408
JESSUP JO AN                   409 N LUPINE ST                                                                                          LOMPOC             CA     93436‐6230
JESSUP LEASING & CARTAGE INC   PO BOX 130                                                                                               CUDAHY             WI     53110
JESSUP MARGARET                3118 HORSE PEN CREEK RD                                                                                  GREENSBORO         NC     27410‐9702
JESSUP SAAB                    JESSUP, SR., ANDREW T.         68‐111 HIGHWAY 111                                                        CATHEDRAL CITY     CA
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Name                           Address1                          Address2                        Address3   Address4               City             State   Zip
JESSUP SAAB                    68 111 HIGHWAY 111                                                                                  CATHEDRAL CITY    CA     92234
JESSUP'S AUTOMOTIVE SERVICES   1118 E 31ST ST                                                                                      LA GRANGE PARK     IL    60526‐1219
JESSUP, AL W                   1117 W ALLEGAN ST                                                                                   LANSING           MI     48915
JESSUP, ARLENE E               211 W PARK AVE                                                                                      FLUSHING          MI     48433‐1576
JESSUP, ARLENE E               211 PARK AVE                                                                                        FLUSHING          MI     48433
JESSUP, BETTY JEAN             415 N JAY ST                                                                                        KOKOMO            IN     46901‐4731
JESSUP, BRYAN R                61324 CANDLELIGHT DR                                                                                STURGIS           MI     49091‐9394
JESSUP, D M                    3924 CREEDMOOR PL                                                                                   ANDERSON          IN     46011
JESSUP, DAVID L                4422 US HIGHWAY 79 N                                                                                DE BERRY          TX     75639‐2979
JESSUP, DAVID LEE              4422 US HIGHWAY 79 N                                                                                DE BERRY          TX     75639‐2979
JESSUP, DENISE                 4820 LA SALLE STREET                                                                                INDIANAPLIS       IN     46205
JESSUP, DOUGLAS C              29 JOHN CAVA LN                                                                                     CORTLANDT MNR     NY     10567‐6305
JESSUP, GARY A                 8782 CARRIAGE LN                                                                                    PENDLETON         IN     46064‐9338
JESSUP, GERALD W               923 DELEGATE DR                                                                                     SHELBYVILLE       IN     46176‐3803
JESSUP, GERALD WAYNE           923 DELEGATE DR                                                                                     SHELBYVILLE       IN     46176‐3803
JESSUP, JOHN G                 1114 SATIN WOOD DR                                                                                  GREENSBORO        NC     27410‐4165
JESSUP, JOHN H                 210 N MAGUIRE AE #307                                                                               TUCSON            AZ     85710
JESSUP, MARK                   907 CONGRESSIONAL WAY                                                                               SHELBYVILLE       IN     46176‐8815
JESSUP, NADINE L               1205 HESTON ST                                                                                      TOLEDO            OH     43607‐4031
JESSUP, NADINE LOUISE          1205 HESTON ST                                                                                      TOLEDO            OH     43607‐4031
JESSUP, NORMA T                21 NORTH OLD ORCHARD AVE          APT 217A                                                          WEBSTER GROVES    MO     63119
JESSUP, SHARON                 5253 W 8TH STREET RD                                                                                ANDERSON          IN     46011‐9102
JESSUP, TED R                  4024 S RANGELINE RD                                                                                 ANDERSON          IN     46017‐2102
JESSY R HUFF                   7441 W. THIRD                                                                                       DAYTON            OH     45427
JESSY SCOTT                    8690 S COUNTY ROAD 575 E                                                                            MOORESVILLE       IN     46158‐7765
JESSYCA HOLLAND                5206 BLACKBERRY CREEK                                                                               BURTON            MI     48519‐1941
JESTER ALLEN R (514360)        KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                     CLEVELAND         OH     44114
                                                                 BOND COURT BUILDING
JESTER JR., HERBERT G          1001 E 25TH ST                                                                                      MUNCIE           IN      47302‐5350
JESTER TRACEY                  JESTER, TRACEY                    120 W MADISON ST 10TH FLOOR                                       CHICAGO          IL      60602
JESTER, ALLEN R                KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                      CLEVELAND        OH      44114
                                                                 BOND COURT BUILDING
JESTER, BETTY J                829 N HILL ST APT D104                                                                              GRIFFIN           GA     30223‐1970
JESTER, BUENA VISTA            224 BURKE AVE                                                                                       INDIANAPOLIS      IN     46234‐2605
JESTER, BUENA VISTA            224 N BURKE ST                                                                                      INDIANAPOLIS      IN     46234‐2605
JESTER, CLAIRE L               60 ROVING RD                                                                                        LEVITTOWN         PA     19056
JESTER, DORIS L                2947 WOODTOP DR                                                                                     JACKSONVILLE      FL     32277‐2626
JESTER, DORSEY L               749 WINCHESTER ST                                                                                   MONROE            MI     48161‐1121
JESTER, DORSEY L               1602 PETER ST                                                                                       MONROE            MI     48161
JESTER, ELEANOR                5326 SPOKANE                                                                                        DETROIT           MI     48204‐5025
JESTER, ERNESTINE              109 VALLEY CT                                                                                       GRIFFIN           GA     30223‐8730
JESTER, HATTIE L.              18105 ALBANY                                                                                        DETROIT           MI     48234‐2531
JESTER, HATTIE L.              18105 ALBANY ST                                                                                     DETROIT           MI     48234‐2531
JESTER, IESHA D                109 VALLEY COURT                                                                                    GRIFFIN           GA     30224
JESTER, JUANITA L              102 EAST MYRTLE STREET                                                                              ST MARYS          GA     31558‐1558
JESTER, JUANITA L              102 E MYRTLE ST                                                                                     SAINT MARYS       GA     31558‐9120
JESTER, LANNY G                6283 HIGHLAND PARK DR                                                                               CHINCOTEAGUE      VA     23336‐2215
JESTER, LARRY R                5725 NCR 800 EAST                                                                                   MOORELAND         IN     47360
JESTER, M K                    613 WHITENER RD                                                                                     EULESS            TX     76040‐5124
JESTER, MICHAEL D              3235 SCHILLING ST                                                                                   PERU              IN     46970‐8733
JESTER, PATRICIA M             5983 E EDISON PL                                                                                    TUCSON            AZ     85712‐2301
JESTER, PATRICK                1307 AUTUMN HILL PL                                                                                 STONE MTN         GA     30083‐5265
JESTER, PAUL G                 1513 OSCEOLA ST                                                                                     JOHNSON CITY      TN     37604‐7115
JESTER, RODRIQUEZ C            595 BUCKSNORT RD                                                                                    GRIFFIN           GA     30224‐7725
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Name                          Address1                           Address2                      Address3             Address4                  City              State   Zip
JESTER, RONALD L              472 HOLZWORTH DR                                                                                                MANSFIELD          OH     44903‐1017
JESTER, ROSELLA P             6105 PETZOLDT DR                                                                                                TIPP CITY          OH     45371‐2044
JESTER, TERRANCE N            PO BOX 102                                                                                                      CHRISTIANSBURG     OH     45389‐0102
JESTER, TRACEY                KROHN & MOSS ‐ KS                  120 W MADISON ST 10TH FLOOR                                                  CHICAGO             IL    60602
JESTER, YVONNE W              472 HOLZWORTH DR                                                                                                MANSFIELD          OH     44903‐1017
JESTICE, FRANCES L            4436 MAGGIE LN                                                                                                  KANSAS CITY        KS     66102‐1939
JESTICE, GARY L               1045 W SPRING VALLEY‐PAINTERSVIL                                                                                SPRING VALLEY      OH     45370
JESTICE, PERNA B              1255 CHRISTIANBURG LANE                                                                                         SWEETWATER         TN     37874
JESTICE, RANDY L              1045 SPRING VALLEY PAINTERS RD                                                                                  SPRING VALLEY      OH     45370‐8792
JESTIN, JUNE M                8304 SEXTANT DR                                                                                                 BALDWINSVILLE      NY     13027‐6213
JESTINE BROWN                 2872 TAFT AVE SW APT 1                                                                                          WYOMING            MI     49519‐7400
JESTINE SAGRAVES              1991 CROSSWIND CT                                                                                               ENGLEWOOD          OH     45322‐2232
JESTINGS, CLIFFORD N          288 N PINNACLE RIDGE RD                                                                                         WATERBURY          VT     05676‐1120
JESUALE, PAUL                 6160 US HIGHWAY 223                                                                                             MANITOU BEACH      MI     49253‐9525
JESUINO DA COSTA              71 S GROVE AVE                                                                                                  HOPELAWN           NJ     08861‐1507
JESUS
JESUS A GARCIA                1603 S FAYETTE ST                                                                                               SAGINAW           MI      48602‐1360
JESUS A PLASCENCIA            6621 MOUNT BALDY CIR.                                                                                           BUENA PARK        CA      90620‐4219
JESUS A SANTANA               326 W IRIS ST                                                                                                   OXNARD            CA      93033‐3518
JESUS ACOSTA                  8334 NORTH OVERLAND DRIVE                                                                                       KANSAS CITY       MO      64151‐1016
JESUS AGUAYO                  2734 E 128TH ST                                                                                                 CHICAGO           IL      60633‐1759
JESUS AGUILERA                415 W PARK WAY                                                                                                  ANAHEIM           CA      92805
JESUS AGUIRRE                 ANTIGUO CAMINO #37 SANTA ANITA     SANTA ANITA                                        JALISCO MEXICO 456000
JESUS ALMANZA                 1215 UPLAND RIDGE DR                                                                                            FORT WAYNE         IN     46825‐1116
JESUS ANTONIO TORRES GASCON
JESUS AYALA                   47148 ROLAND ST                                                                                                 SHELBY TOWNSHIP   MI      48317‐2941
JESUS B ROMERO                1712 NW 54TH TER                                                                                                KANSAS CITY       MO      64118‐3150
JESUS BANDA                   3105 YAUCK RD                                                                                                   SAGINAW           MI      48601‐6954
JESUS BURCIAGA                2898 QUINTO WAY                                                                                                 SAN JOSE          CA      95124‐1842
JESUS BURGOS                  WEITZ & LUXENBERG P C              700 BROADWAY                                                                 NEW YORK          NY      10003
JESUS BURGOS                  C/O WELTZ & LUXENBERG PC           700 BROADWAY                                                                 NEW YORK          NY      10003
JESUS C AYALA                 904 WOODLAND AVE                                                                                                PONTIAC           MI      48340‐2568
JESUS CADENA                  2933 MIDLAND RD                                                                                                 BAY CITY          MI      48706‐9267
JESUS CAMPBELL                7161 S STONEY LAKE RD                                                                                           JACKSON           MI      49201‐7202
JESUS CAMPOS                  1615 S CENTRAL AVE                                                                                              CICERO            IL      60804‐1839
JESUS CANO                    ROBERT W PHILLIPS                  SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD   PO BOX 521                EAST ALTON        IL      62024
                                                                 ANGELIDES & BARNERD LLC
JESUS CANO                    THE MADEKSHO LAW FIRM              8866 GULF FREEWAY SUITE 440                                                  HOUSTON            TX     77017
JESUS CAO                     3909 WAINWRIGHT AVE                                                                                             LANSING            MI     48911‐2245
JESUS CASTILLON               628 N WORKMAN ST                                                                                                SAN FERNANDO       CA     91340‐2021
JESUS CAVADA                  919 W TOFFEE DR                                                                                                 PHARR              TX     78577‐7482
JESUS CENTENO                 2602 W KALAMAZOO ST                                                                                             LANSING            MI     48917‐3849
JESUS CERVANTEZ               345 N ROSLYN RD                                                                                                 WATERFORD          MI     48328‐3065
JESUS CHAVEZ                  7539 W 62ND PL                                                                                                  ARGO               IL     60501‐1705
JESUS CONTRERAS               8122 N 5TH ST                                                                                                   FRESNO             CA     93720‐2183
JESUS CORDOVA                 4929 TRACY DR                                                                                                   HALTOM CITY        TX     76117‐1252
JESUS CORDOVA JR              312 SIESTA CT                                                                                                   GRANBURY           TX     76048‐4316
JESUS CRUZ                    14431 REX ST                                                                                                    SYLMAR             CA     91342‐2830
JESUS DE LA ROSA              97 HIGHLAND AVE                                                                                                 JERSEY CITY        NJ     07306‐5801
JESUS DE LEON                 813 CIRCLE VIEW LN                                                                                              DENTON             TX     76210‐5234
JESUS DE LEON                 THE MADEKSHO LAW FIRM              8866 GULF FREEWAY SUITE 440                                                  HOUSTON            TX     77017
JESUS DELAPENA                13703 JUDITH ST                                                                                                 LA PUENTE          CA     91746‐1310
JESUS E WALLDEZ               44250 E BENTON RD                                                                                               HEMET              CA     92544
JESUS ESPINOSA                7301 ARCHER AVENUE                                                                                              SUMMIT ARGO        IL     60501
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Name                        Address1                         Address2                          Address3                  Address4                 City            State   Zip
JESUS FERRER                503 2ND AVE                                                                                                           LYNDHURST        NJ     07071‐1512
JESUS FLORES                5005 PALISADE DR                                                                                                      LANSING          MI     48917‐1578
JESUS FLORES                1020 BANNACK DR                                                                                                       ARLINGTON        TX     76001‐6109
JESUS FLORES                1342 MERRILL ST                                                                                                       SAGINAW          MI     48601‐2301
JESUS FLORES                6391 S MAIN ST                   C/O HOPE ALESI AND MARIO FLORES                                                      CLARKSTON        MI     48346‐2368
JESUS FLORES                THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                                          HOUSTON          TX     77017
JESUS FOMPEROSA             157 ROUTE DE MALAGNOU                                                                        1224 CHENE‐BOUGERIES
                                                                                                                         SWITZERLAND
JESUS FUENTES               13532 WEIDNER ST                                                                                                      PACOIMA          CA     91331‐2822
JESUS GARCIA                16307 FAIRFIELD DR                                                                                                    PLAINFIELD       IL     60586‐2129
JESUS GARCIA                206 W COULTER RD                                                                                                      LAPEER           MI     48446‐8691
JESUS GARCIA                BRIAN J PANISH ADAM K SHEA       PANISH SHEA & BOYLE               11111 SANTA MONICA BLVD                            LOS ANGELES      CA     90025
                                                                                               SUITE 700
JESUS GARIBAY               212 BLUFF DR                                                                                                          E ROCHESTER      NY     14445‐1332
JESUS GARZA JR              3201 WALKER RD                                                                                                        LANSING          MI     48906‐3260
JESUS GOMEZ                 3007 KESTREL DR # A                                                                                                   AUSTIN           TX     78745‐7566
JESUS GONZALES              1019 S HOLMES ST                                                                                                      LANSING          MI     48912‐1923
JESUS GONZALEZ              40439 SUNBURST DR                                                                                                     DADE CITY        FL     33525‐1432
JESUS GUADALUPE CABALLERO   CAMINO DELA ESTANZUELA #104      COLONIA PORTAL DEL HUAJUCO                                  MONTERREY NUEVO LEON
                                                                                                                         64988 MEXICO
JESUS GUERRERO              829 LANDSFORD ST                                                                                                      LANCASTER       CA      93535‐2724
JESUS GUTIERREZ JR          14116 RANCHO RD                                                                                                       WESTMINSTER     CA      92683‐4155
JESUS HERNANDEZ             2651 BIDDLE AVE APT 319                                                                                               WYANDOTTE       MI      48192‐5254
JESUS HERNANDEZ             2021 MOUNT OSO WAY                                                                                                    MODESTO         CA      95358‐6314
JESUS HERNANDEZ             17105 ABLE DR                                                                                                         EDINBURG        TX      78539
JESUS HERNANDEZ             455 MARGARET AVE                                                                                                      LOS ANGELES     CA      90022‐2638
JESUS HERNANDEZ             6735 WHITE TAIL LN                                                                                                    ARLINGTON       TX      76002‐3530
JESUS HERNANDEZ             THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                                          HOUSTON         TX      77017
JESUS HINOJOSA              RR 3                                                                                                                  LEIPSIC         OH      45856
JESUS INIGUEZ               9915 RUTLAND AVE                                                                                                      WHITTIER        CA      90605‐3330
JESUS JARDON                37704 HIGHWAY 145                                                                                                     MADERA          CA      93636‐9206
JESUS JAUREGUI              9600 BOWMAN AVE                                                                                                       SOUTH GATE      CA      90280‐5028
JESUS JOSE MANRIQUEZ        ROBERT W PHILLIPS                SIMMONS BROWDER GIANARIS          707 BERKSHIRE BLVD        PO BOX 521               EAST ALTON      IL      62024
                                                             ANGELIDES & BARNERD LLC
JESUS L PEREZ               1934 FARRAGUT WAY                                                                                                     SAN JOSE         CA     95133‐1151
JESUS LARA                  6652 AVENIDA VALENCIA                                                                                                 RIVERSIDE        CA     92509‐5625
JESUS LEMUS                 4217 NW 144TH ST                                                                                                      OKLAHOMA CITY    OK     73134‐1734
JESUS LEYVA                 2499 ORO QUINCY HWY                                                                                                   OROVILLE         CA     95966‐5501
JESUS LOPEZ                 9009 SHAVER DR                                                                                                        EL PASO          TX     79925‐5921
JESUS LOPEZ                 45 LINCOLN ST                                                                                                         PONTIAC          MI     48341‐1338
JESUS LOPEZ                 1279 WILDFLOWER DR                                                                                                    HOLT             MI     48842‐8806
JESUS LUCIO                 108 MARQUETTE ST                                                                                                      PONTIAC          MI     48342‐1527
JESUS M GUTIERREZ JR        14116 RANCHO RD                                                                                                       WESTMINSTER      CA     92683‐4155
JESUS M REZA                4909 WHITE LAKE RD                                                                                                    WHITE LAKE       MI     48383‐1110
JESUS M SIERRA              3305 ASHER ST                                                                                                         EL MONTE         CA     91733‐1101
JESUS MARTINEZ              212 FRASER ST                                                                                                         SAGINAW          MI     48602‐1306
JESUS MARTINEZ              620 J ST                                                                                                              BEDFORD          IN     47421‐2334
JESUS MARTINEZ              2633 PORTER ST                                                                                                        DETROIT          MI     48216‐1737
JESUS MAYSONET              1915 FERROL ST                                                                                                        LANSING          MI     48910‐4312
JESUS MENDEZ                5572 ANGELUS AVE                                                                                                      SAN GABRIEL      CA     91776‐1602
JESUS MENDOZA               767 S BRAND BLVD                                                                                                      SAN FERNANDO     CA     91340‐4201
JESUS MOLINA JR             3905 KINGSFERRY CT                                                                                                    ARLINGTON        TX     76016‐3624
JESUS MONTANO               6715 FAUST AVE                                                                                                        DETROIT          MI     48228‐3432
JESUS MONTANO               3908 YELLOWSTONE CIR             C/O OLIVA MONTANO                                                                    CHINO            CA     91710‐5625
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Name               Address1                        Address2                       Address3   Address4               City            State   Zip
JESUS MONTELONGO   1585 ZAMORA DR                  COUNTRY CLUB                                                     BROWNSVILLE      TX     78526‐1885
JESUS MONTES       81 ORMSBY                                                                                        WATERFORD        MI     48327‐1746
JESUS MONTEZ       6010 S SPRINGBROOK DR                                                                            TUCSON           AZ     85746‐3148
JESUS MONTOYA      48665 VINTAGE LN                                                                                 MACOMB           MI     48044‐2154
JESUS MORALES      185 DEVIN DR                                                                                     GARNER           NC     27529‐8165
JESUS MORAN        40569 WALTER DR                                                                                  STERLING HTS     MI     48310‐1960
JESUS MUNOZ JR     640 CREEKSIDE CIR APT 103                                                                        AUBURN HILLS     MI     48326‐4521
JESUS NAVARRO      5134 DALE EWING RD                                                                               FRANKLIN         TN     37064‐0700
JESUS NORIEGA      PO BOX 52                                                                                        LEIPSIC          OH     45856‐0052
JESUS O ZAVALA     1118 N SHERIDAN ST                                                                               BAY CITY         MI     48708‐6059
JESUS O ZAVALA     1301 3RD ST                                                                                      BAY CITY         MI     48708‐6016
JESUS OLIVEROS     7838 WILLIAMS AVE                                                                                FRISCO           TX     75034‐3607
JESUS OLIVO        10482 NICHOLS RD                                                                                 GAINES           MI     48436‐8914
JESUS ORNELAS      135 S 16TH ST                                                                                    SAN JOSE         CA     95112‐2153
JESUS ORTEGA       920 FRANK ST                                                                                     ADRIAN           MI     49221‐3021
JESUS ORTIS        10202 ELIZABETH CT                                                                               SAN ANTONIO      TX     78240‐3599
JESUS OSORIO       411 DEVONSHIRE ST                                                                                YPSILANTI        MI     48198‐6081
JESUS P CORDOVA    4929 TRACY DR                                                                                    HALTOM CITY      TX     76117‐1252
JESUS PACHECO      6009 LILY ROCK DR                                                                                FONTANA          CA     92336‐4575
JESUS PALOMINO     28277 ARMOUR ST                                                                                  HAYWARD          CA     94545‐4854
JESUS PENA         3218 RISDALE AVE                                                                                 LANSING          MI     48911‐2673
JESUS PEREZ        PO BOX 752                                                                                       GREENWOOD        LA     71033‐0752
JESUS PEREZ        626 ELLSWORTH AVE                                                                                BRONX            NY     10465‐1700
JESUS PEREZ        636 CANARY ISLAND CT                                                                             ORLANDO          FL     32828‐9202
JESUS PEREZ        1934 FARRAGUT WAY                                                                                SAN JOSE         CA     95133‐1151
JESUS PEREZ        15305 S AIRPORT RD                                                                               LANSING          MI     48906‐9109
JESUS PINA         1330 W FARGO AVE APT 3E                                                                          CHICAGO           IL    60626‐5920
JESUS PLASCENCIA   6621 MOUNT BALDY CIR                                                                             BUENA PARK       CA     90620‐4219
JESUS PLATA        3805 FOSTER AVE                                                                                  BALDWIN PARK     CA     91706‐3912
JESUS PRADO        1479 LOUISE DR                                                                                   ALPINE           CA     91901‐2269
JESUS PULIDO       C/O COONEY AND CONWAY           120 NORTH LASALLE 30TH FLOOR                                     CHICAGO           IL    60602
JESUS QUINONES     15586 SW 63RD TER                                                                                MIAMI            FL     33193‐2837
JESUS R. AYALA
JESUS RAMIREZ      7707 HARTWELL ST                                                                                 DEARBORN        MI      48126‐1119
JESUS RAMIREZ      PO BOX 5311                                                                                      HUNTINGTON      IN      46750‐5311
JESUS RAMIREZ      PO BOX 58                                                                                        FREELAND        MI      48623‐0058
JESUS RAMIREZ      105 N GROVER AVE                                                                                 ALMA            MI      48801‐2511
JESUS RAMIREZ      5036 OLD NILES FERRY RD                                                                          MARYVILLE       TN      37801‐0930
JESUS REYES        3230 PLAZA CIR                                                                                   EDINBURG        TX      78539‐6476
JESUS REZA         4909 WHITE LAKE RD                                                                               WHITE LAKE      MI      48383‐1110
JESUS RIVERA       1793 MULLINS AVE NW                                                                              GRAND RAPIDS    MI      49534‐2436
JESUS RIVERA       1234 N LAUREL AVE                                                                                UPLAND          CA      91786‐3131
JESUS RIVERA       817 BRICKINGHAM DR                                                                               SAINT PETERS    MO      63376‐4916
JESUS RIVERA JR    1216 KEBLE LN                                                                                    OXFORD          MI      48371‐5904
JESUS ROBLEDO      669 VILLA DR                                                                                     MANSFIELD       OH      44906‐4055
JESUS ROBLES       2756 CLARK RD                                                                                    LAPEER          MI      48446‐9482
JESUS RODRIGUEZ    758 BARRY AVE                                                                                    PERTH AMBOY     NJ      08861‐1610
JESUS RODRIGUEZ    703 E 2ND ST                                                                                     DEFIANCE        OH      43512‐2323
JESUS RODRIGUEZ    PO BOX 1598                                                                                      BRACKETTVILLE   TX      78832‐1598
JESUS RODRIGUEZ    3035 S CENTRAL PARK AVE                                                                          CHICAGO         IL      60623‐4649
JESUS RODRIGUEZ    2304 LILAC AVE                                                                                   MISSION         TX      78574‐2431
JESUS RODRIGUEZ    418 WILLIAMSON AVE                                                                               YOUNGSTOWN      OH      44507‐1226
JESUS RODRIGUEZ    108 STOCKTON RIDGE                                                                               CRANBERRY TWP   PA      16066‐2260
JESUS ROMERO       1712 NW 54TH TER                                                                                 KANSAS CITY     MO      64118‐3150
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Name                             Address1                        Address2                       Address3                     Address4               City              State   Zip
JESUS RUIZ                       PO BOX 44                                                                                                          FAIRGROVE          MI     48733‐0044
JESUS RUVALCABA                  2203 REEVER ST                                                                                                     ARLINGTON          TX     76010‐8109
JESUS SAGREDO                    6125 VAN DYKE RD                                                                                                   BROWN CITY         MI     48416‐9301
JESUS SALAZAR                    3501 WALKER RD                                                                                                     DONNA              TX     78537‐7709
JESUS SALAZAR JR                 6844 REX DR                                                                                                        ROCKFORD           MI     49341‐8620
JESUS SANCHEZ                    2237 THOMAS ST                                                                                                     LOS ANGELES        CA     90031‐2907
JESUS SANTANA                    326 W IRIS ST                                                                                                      OXNARD             CA     93033‐3518
JESUS SIERRA                     3305 ASHER ST                                                                                                      EL MONTE           CA     91733‐1101
JESUS SIERRA                     13269 FULLMER RD                                                                                                   DEFIANCE           OH     43512‐8987
JESUS SON                        100 W LINCOLN AVE                                                                                                  ROSELLE PARK       NJ     07204‐1316
JESUS SUAREZ                     1128 PEBBLE BEACH DR                                                                                               MANSFIELD          TX     76063‐2679
JESUS TAMEZ NAVARRO              228 E 26TH ST APT 4D                                                                                               NEW YORK           NY     10010‐2430
JESUS TANDOC                     2554 PETERBORO CT                                                                                                  WEST BLOOMFIELD    MI     48323‐3161

JESUS TANGO                      44050 CHAPARRAL DR                                                                                                 LANCASTER         CA      93536‐6207
JESUS TELLEZ                     460 W DAWN BLOSSOM DR                                                                                              GREEN VALLEY      AZ      85614‐5595
JESUS TIRADO                     BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                                         BOSTON HEIGHTS    OH      44236
JESUS TORRES                     529 N WORKMAN ST                                                                                                   SAN FERNANDO      CA      91340‐2347
JESUS TORRES                     2200 MONTROSE PL APT 1015                                                                                          BELTON            TX      76513‐1824
JESUS TORREZ                     3020 LAPORTE RD                                                                                                    HEMLOCK           MI      48626‐9504
JESUS TREVINO                    1611 NORA DR                                                                                                       EDINBURG          TX      78539‐6613
JESUS V MARTINEZ                 620 JAY ST.                                                                                                        BEDFORD           IN      47421
JESUS VASQUEZ                    2794 DEARBORN AVE                                                                                                  ROCHESTER HILLS   MI      48309‐3834
JESUS VASQUEZ                    24131 WALNUT CIR                                                                                                   PLAINFIELD        IL      60585‐2471
JESUS VAZQUEZ CAMPOS             C/O MICHAEL J MCNALLY ESQ       BARNHART EKKER & MCNALLY LLP   7887 E BELLEVIEW, STE 1200                          ENGLEWOOD         CO      80111
JESUS VEGA                       13872 SW 102ND ST                                                                                                  DUNNELLON         FL      34432‐4853
JESUS VILLAREAL                  1808 BRO MOR ST                                                                                                    SAGINAW           MI      48602‐4844
JESUS VILLARREAL                 3903 SAN FRANCISCO AVE                                                                                             LAREDO            TX      78041‐4877
JESUS ZAVALA                     PO BOX 147                      891 NORTH MAIN ST                                                                  PIRU              CA      93040‐0147
JESUS ZUNIGA                     11221 UPTON RD                                                                                                     BATH              MI      48808‐9435
JESUS, GREGORIO DE
JESUS, MANUEL                    44 EMMETT PL                                                                                                       YONKERS           NY      10703‐1925
JESUSA ALVARADO                  41 O REILLY                                                                                                        PONTIAC           MI      48342
JESUSA DE LA VEGA                20720 N 105TH DR                                                                                                   PEORIA            AZ      85382‐6103
JESUSA DELGADO                   1925 DIVISION ST                                                                                                   SAGINAW           MI      48602‐1810
JESUSA HERNANDEZ                 227 N JOHN DALY RD                                                                                                 DEARBORN HTS      MI      48127‐3702
JESUSA LESTER                    516 LEANING ELM DR                                                                                                 NORMAN            OK      73071‐7014
JESUSA PEREZ                     509 GIBSON ST                                                                                                      DEFIANCE          OH      43512‐1525
JESUSA POWLISON                  3254 BIRCH RUN                                                                                                     ADRIAN            MI      49221‐1132
JESUSA VARANA                    9535 WORMER                                                                                                        REDFORD           MI      48239‐1680
JESUSA VILLA                     117 EXMOOR RD                                                                                                      WATERFORD         MI      48328‐3413
JESUSE LOZAND                    15253 LA VALLE ST                                                                                                  SYLMAR            CA      91342‐3756
JESZKE, DAWN M                   5703 STONEHAVEN BLVD                                                                                               ROCHESTER         MI      48306
JESZKE, LUDWIKA                  9109 CRESCENT COURT                                                                                                OAK LAWN          IL      60453‐1452
JET 053691 08 18 2007
JET AVIATION BUSINESS JETS INC   PO BOX 350034                                                                                                      BOSTON            MA      02241‐0001
JET CHEVROLET, INC.              DAN JOHNSON                     35700 ENCHANTED PKWY S                                                             FEDERAL WAY       WA      98003‐8313
JET CHEVROLET, INC.              35700 ENCHANTED PKWY S                                                                                             FEDERAL WAY       WA      98003‐8313
JET COMPOSITES/IN                100 SOUTH AND MERIDIAN                                                                                             BLUFFTON          IN      46714
JET COMPOSITES/IN                261 E MAPLE RD                                                                                                     BIRMINGHAM        MI      48009‐6324
JET DELIVERY INC                 2169 WRIGHT ST                                                                                                     LA VERNE          CA      91750‐5835
JET ELEC/TROY                    2820 W MAPLE RD STE 234                                                                                            TROY              MI      48084‐7048
JET EXPRESS                      4518 WEBSTER ST                                                                                                    DAYTON            OH      45414‐4940
JET EXPRESS INC                  KEVIN BURSCH                    4518 WEBSTER ST                                                                    DAYTON            OH      45414‐4940
                                  09-50026-mg             Doc 7123-20 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
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Name                              Address1                             Address2                        Address3   Address4                 City          State   Zip
JET EXPRESS INC                   PO BOX 67000                         DRAWER 641411                                                       DETROIT        MI     48267‐0002
JET EXPRESS INC                   4518 WEBSTER ST                                                                                          DAYTON         OH     45414‐4940
JET LINE TRANSIT INC              2197 CLARKWOOD RD                    INACTIVATE PER LEGAL 3/29/04                                        CLEVELAND      OH     44103‐4751
JET LOGISTICS INC                 4518 WEBSTER ST                                                                                          DAYTON         OH     45414‐4940
JET SET SPORTS
JET SUPPORT SERVICES INC          525 W MONROE ST FL 8                 DEPT 77 6902                                                        CHICAGO        IL     60661‐3642
JET SUPPORT SERVICES INC          180 N STETSON AVE STE 2900                                                                               CHICAGO        IL     60601‐6704
JET SUPPORT SERVICES INC (JSSI)   180 N STETSON AVE STE 2900                                                                               CHICAGO        IL     60601‐6753
JET SUPPORT SERVICES INC (JSSI)   180 NORTH STETSON, 29TH FLOOR                                                                            CHICAGO        IL     60601
JET SUPPORT SERVICES, INC         ATTN: JOHN F. HASKINS AND SUSAN K.   180 N. STETSON, 29TH FLOOR                                          CHICAGO        IL     60601
                                  MARR
JET TRADING INC                   PO BOX 927                                                                                               LANSDALE       PA     19446‐0659
JET TRANSIT                       5239 PORTAGE STREET                                                                                      PORTAGE        MI     49002
JET TRANSIT CO                    719 W VINE ST                                                                                            TAYLORVILLE    IL     62568‐1841
JET TRANSPORT LTD                 4255 SANDWICH ST                                                                WINDSOR ON N9C 4C8
                                                                                                                  CANADA
JET WHEEL/ADRIAN                  401 MILES DR                                                                                             ADRIAN        MI      49221‐4026
JET X CO                          PO BOX 17606                                                                                             ROCHESTER     NY      14617‐0606
JETA ALLGOOD                      176 S LAKE DR                                                                                            HIRAM         GA      30141‐4032
JETER COGGINS                     1177 TIBBETTS WICK RD                                                                                    GIRARD        OH      44420‐1137
JETER DONALD (459133)             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK       VA      23510
                                                                       STREET, SUITE 600
JETER HENRY H (409182)            GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK        VA     23510
                                                                       STREET, SUITE 600
JETER ISIAH JR (625560)           CAW 199
JETER ISIAH JR (625560)           HENDLER LAW FIRM                     816 CONGRESS AVE STE 1230                                           AUSTIN        TX      78701‐2671
JETER JR, GARLAND W               1727 SHADY GLEN DR APT 2197                                                                              ARLINGTON     TX      76015‐3051
JETER JR, HERMAN C                5107 ROCK EAGLE DR                                                                                       STONE MTN     GA      30083‐3557
JETER JR, ROOSEVELT               3629 SUNSET DR                                                                                           SHREVEPORT    LA      71109‐1719
JETER JR, THEODORE R              5591 PINNACLE RD                                                                                         MIAMISBURG    OH      45342‐1023
JETER JR, WILLIE H                3402 PATES HILL RD                                                                                       MOSHEIM       TN      37818‐5739
JETER WILLIAM (445490)            BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD    OH      44067
                                                                       PROFESSIONAL BLDG
JETER, BRITTANY N                 1224 BELLE ST SE                                                                                         WARREN        OH      44484‐4201
JETER, CHARLES W                  1936 ELMWOOD DR                                                                                          LENNON        MI      48449‐9713
JETER, DANEY K                    1976 RINIEL RD                                                                                           LENNON        MI      48449‐9316
JETER, DONALD                     GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK       VA      23510‐2212
                                                                       STREET, SUITE 600
JETER, ERIC
JETER, FREDERICK R                1535 BENSON DR                                                                                           DAYTON        OH      45406‐4515
JETER, FREISHA D                  1070 ELLIS DR                                                                                            WASKOM        TX      75692‐3626
JETER, GARY M                     PO BOX 551                                                                                               CHANDLER      TX      75758‐0551
JETER, GERTRAUD                   491 SW 55TH TER                                                                                          PLANTATION    FL      33317‐3507
JETER, HENRIETTA                  988 SUNNYBEACH BLVD                                                                                      WHITE LAKE    MI      48386‐2083
JETER, HENRY H                    GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK       VA      23510‐2212
                                                                       STREET, SUITE 600
JETER, HERMAN J                   1934 S M13                                                                                               LENNON        MI      48449
JETER, HOWARD L                   10000 WORNALL RD APT 2208                                                                                KANSAS CITY   MO      64114‐4364
JETER, INEZ                       149 SUNDOWN TRAIL                                                                                        BUFFALO       NY      14221‐2224
JETER, INEZ                       149 SUNDOWN TRL                                                                                          BUFFALO       NY      14221‐2224
JETER, ISIAH                      HENDLER LAW FIRM                     816 CONGRESS AVE STE 1230                                           AUSTIN        TX      78701‐2671
JETER, ISIAH                      CAW 199                              816 CONGRESS AVE STE 1230                                           AUSTIN        TX      78701‐2671
JETER, JENISHA J                  7254 NE 47TH TER                                                                                         KANSAS CITY   MO      64117‐1403
JETER, JENISHA JENINE             7254 NE 47TH TER                                                                                         KANSAS CITY   MO      64117‐1403
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Name                                Address1                             Address2                       Address3   Address4               City               State   Zip
JETER, JIMMIE L                     3226 SWANN RD APT 102                                                                                 SUITLAND            MD     20746‐1331
JETER, JOYCE A                      6004 CEDAR GLEN CT                                                                                    GRAND PRAIRIE       TX     75052‐0410
JETER, KIMEYON D                    725 W. TEXAS AVE., #403,APT 13                                                                        WASKOM              TX     75692
JETER, LARRY J                      738 SOUTH M‐13                                                                                        LENNON              MI     48449
JETER, LARRY JAMES                  738 SOUTH M‐13                                                                                        LENNON              MI     48449
JETER, LUCINDA J                    1936 ELMWOOD DR                                                                                       LENNON              MI     48449‐9713
JETER, LULA A                       8331 CENTRAL ST                                                                                       DETROIT             MI     48204‐3312
JETER, PARTHENIA S                  3000 DONAVAN WAY                                                                                      DECATUR             GA     30034
JETER, PAUL A                       467 HARRISON                                                                                          SPRINGFIELD         OH     45505‐5505
JETER, PAUL A                       467 HARRISON ST                                                                                       SPRINGFIELD         OH     45505‐2051
JETER, ROBERT M                     23461 TEACUP CT                                                                                       SOUTHFIELD          MI     48075‐3328
JETER, ROBERT MATTHEW               23461 TEACUP CT                                                                                       SOUTHFIELD          MI     48075‐3328
JETER, ROGER D                      3997 COPAS RD                                                                                         OWOSSO              MI     48867‐8423
JETER, STANSON                      5619 STEWART MILL RD                                                                                  DOUGLASVILLE        GA     30135‐3433
JETER, TERRANCE                     1430 TURTLE DOVE LANE                                                                                 LAWRENCEVILLE       GA     30043‐6982
JETER, TOMMIE                       PO BOX 2409                                                                                           MOUNT VERNON        NY     10551‐2409
JETER, VERONICA                     1501 WOODSLEA DR                                                                                      FLINT               MI     48507‐1846
JETER, WILLIAM                      BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD          OH     44067
                                                                         PROFESSIONAL BLDG
JETER‐JOHNSON, SHEILA A             5749 COVEY RIDGE TRL                                                                                  LOVES PARK          IL     61111‐6941
JETEXP 053062 4 16 08
JETHEL BECKWITH                     23 GAIL AVE                                                                                           BUFFALO            NY      14215‐2901
JETHENE ROSS                        201 W PULASKI AVE                                                                                     FLINT              MI      48505‐6401
JETHRO BOATWRIGHT JR                730 BAHIA CIR                                                                                         OCALA              FL      34472‐2637
JETHRO BROWN                        23 SUNCREST AVE                                                                                       BRIDGETON          NJ      08302‐2924
JETHRO CARTER JR                    6172 SOMERSET CT                                                                                      GRAND BLANC        MI      48439‐7447
JETHRO FLYNN                        6954 LANCASTER LAKE CT               APT 86                                                           CLARKSTON          MI      48345‐4434
JETHRO GRAY JR                      1410 LAKE FOREST DR                                                                                   FLINT              MI      48504‐1917
JETHRO SELLS                        2703 E EPLER AVE                                                                                      INDIANAPOLIS       IN      46227‐4556
JETHRO YOUNG                        5720 TRUMAN DR                                                                                        FORT WORTH         TX      76112‐7956
JETHROE SHINGLES                    2563 DAWN DR                                                                                          DECATUR            GA      30032‐6352
JETHROE, JAMES A                    PO BOX 3677                                                                                           WARREN             OH      44485‐0677
JETHWANI REHABILITAT                PO BOX 4949                                                                                           OCALA              FL      34478‐4949
JETSON ALEXANDER JR.                3228 VILLAGE COURT DR                                                                                 FORT WAYNE         IN      46806‐2643
JETT DAVID                          13870 MAIN STREET                                                                                     NORWOOD            LA      70761
JETT EARL                           1502 E CENTENNIAL AVE #205                                                                            PITTSBURG          KS      66762
JETT EXPRESS INC                    9139 E US HIGHWAY 36                                                                                  AVON               IN      46123
JETT JR, ERNEST F                   PO BOX 1423                                                                                           MONCKS CORNER      SC      29461‐1423
JETT JR, ISAAC                      10309 SUNSET DR                                                                                       FLORENCE           KY      41042‐3345
JETT LORI                           JETT, LORI                           16 SONGBIRD LN                                                   SAINT MARYS        WV      26170
JETT NEWSOME JR                     2209 LISA AVE                                                                                         MUSCLE SHOALS      AL      35661‐2674
JETT PATRICK                        JETT, PATRICK                        924 MAIN ST                                                      LEXINGTON          MO      64067‐1343
JETT PATRICK                        JETT, PATRICK                        7800 FORSYTH BOULEVARD SUITE                                     SAINT LOUIS        MO      63105
JETT PATTERSON                      PO BOX 153113                                                                                         ARLINGTON          TX      76015‐9113
JETT PUMP & VALVE LLC               4770 PONTIAC LAKE RD                                                                                  WATERFORD          MI      48328‐2019
JETT SETT MANAGEMENT SERVICES       38945 SANTA BARBARA ST                                                                                CLINTON TOWNSHIP   MI      48036‐4027

JETT SETT MANAGEMENT SERVICES       ATTN: CORPORATE OFFICER/AUTHORIZED   38945 SANTA BARBARA ST                                           CLINTON TOWNSHIP    MI     48036‐4027
                                    AGENT
JETT SETT MANAGEMENT SERVICES LLC   38945 SANTA BARBARA ST                                                                                CLINTON TOWNSHIP    MI     48036‐4027

JETT SR, ERNEST F                   4171 CARVER CIR                                                                                       DORAVILLE          GA      30360‐2556
JETT W WHITEHEAD                    1412 CENTER AVE APT D                                                                                 BAY CITY           MI      48708‐6174
JETT, ARLEY                         424 HARDING ST                                                                                        SOUTH LEBANON      OH      45065‐1002
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Name                 Address1                              Address2                       Address3   Address4               City               State   Zip
JETT, BETTY J        2700 N BALDWIN RD                                                                                      OXFORD              MI     48371‐2104
JETT, BRYAN T        425 BEECH ST                                                                                           SOUTH HAVEN         MI     49090‐2314
JETT, CAROLYN        1238 OLD STATE ROUTE 74                                                                                BATAVIA             OH     45103‐1537
JETT, CATHY M        616 N GIRLS SCHOOL RD                                                                                  INDIANAPOLIS        IN     46214‐3658
JETT, CECIL C        313 160TH TER                                                                                          REDINGTON BEACH     FL     33708

JETT, CECIL C        443 HILLSHORE ROAD                                                                                     LAVONIA             GA     30553‐2015
JETT, CHARLES G      GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                     PITTSBURGH          PA     15219

JETT, CHARLES L      93 ACORN RD                                                                                            DAWSONVILLE        GA      30534‐4026
JETT, CLARA K        237 OLDE CONCORD RD                                                                                    STAFFORD           VA      22554‐5133
JETT, DOUGLAS        1002 ANTIOCH DR                                                                                        FAIRFIELD          OH      45014‐2804
JETT, EDWARD F       710 YATES AVE                                                                                          ROMEOVILLE         IL      60446‐1436
JETT, ESTON A        PO BOX 401                                                                                             LEXINGTON          GA      30648‐0401
JETT, GERALD E
JETT, GLENN          637 DESOTA PLACE                                                                                       PONTIAC            MI      48342‐1619
JETT, HAROLD         1040 BRYN MAWR AVE                                                                                     YOUNGSTOWN         OH      44505‐4204
JETT, HELEN L        804 WICKHAM LN                                                                                         COLUMBIA           SC      29229‐6807
JETT, JAMES D        4252 RISING SUN AVE                                                                                    KINGMAN            AZ      86401‐7327
JETT, JAMES F        12704 PRINCEWOOD CT                                                                                    TAMPA              FL      33626‐2356
JETT, JAMES L        3807 MISTY MEADOW LN                                                                                   AMELIA             OH      45102‐1260
JETT, JAMES W        521 N TOMAHAWK RD                                                                                      APACHE JUNCTION    AZ      85219‐4267

JETT, JANICE C       7216 REGISTRY DR                                                                                       INDIANAPOLIS       IN      46217‐7478
JETT, JEFFREY P      9730 WASHINGTON CHURCH ROAD                                                                            MIAMISBURG         OH      45342‐4510
JETT, JEREMY         313 150TH TER                                                                                          REDDINGTON BCH     FL      33708‐1549
JETT, JESSICA        3190 FRY BRANCH RD                                                                                     LYNNVILLE          TN      38472‐5361
JETT, JOEL D         PO BOX 202                                                                                             WEST MILTON        OH      45383‐0202
JETT, JOHN C         946 MAINSTREET LAKE DRIVE                                                                              STONE MTN          GA      30088‐2344
JETT, JOHN E         60863 GRAND TARGHEE DR                                                                                 BEND               OR      97702‐8115
JETT, JOHN W         3401 N LINDEN ST                                                                                       MUNCIE             IN      47304‐1926
JETT, JUANITA E      910 BERKLEY ST                                                                                         CARPENTERSVLE      IL      60110‐1570
JETT, KYLE A         5392 STURGIS DR                                                                                        CANAL WINCHESTER   OH      43110‐8079

JETT, LANNY R        121 WAGEL RD                                                                                           BROOKSVILLE        KY      41004‐7784
JETT, LARRY E        8706 THORNTON ROLLING RD                                                                               FREDERICKSBRG      VA      22408‐1700
JETT, LORI           16 SONGBIRD LN                                                                                         SAINT MARYS        WV      26170
JETT, LOUISE E       195 FOUR WINDS DRIVE                                                                                   MOUNT AIRY         GA      30563
JETT, LYNNE G        420 RACHEL RD                                                                                          PULASKI            TN      38478‐9519
JETT, MARC A         118 STANFILL DR                                                                                        COLUMBIA           TN      38401‐6089
JETT, MARTHA J       4252 RISING SUN AVE                                                                                    KINGMAN            AZ      86401‐7327
JETT, MARY E         406 ORCHARD LN                                                                                         GREENWOOD          IN      46142‐3022
JETT, MARY E         406 W ORCHARD LN                                                                                       GREENWOOD          IN      46142‐3022
JETT, MICHAEL J      PO BOX 23                                                                                              S WILMINGTON       IL      60474‐0023
JETT, PATRICK        DEFEO LAW FIRM PC                 924 MAIN ST                                                          LEXINGTON          MO      64067‐1343
JETT, PATRICK        KODNER WATKINS MUCHNICK & WEIGLEY 7800 FORSYTH BLVD STE 700                                            SAINT LOUIS        MO      63105‐3333
                     LC
JETT, PATRICK        1325 MELINDA DRIVE                                                                                     MOSCOW MILLS       MO      63362‐1338
JETT, PENDULLETT M   1733 LYNWOOD ST                                                                                        JOLIET             IL      60403‐1931
JETT, PHILLIP        309 E GODFREY AVE #1                                                                                   PHILADELPHIA       PA      19120‐1618
JETT, RAY            2700 N BALDWIN RD                                                                                      OXFORD             MI      48371‐2104
JETT, RICHARD J      3512 PEUGEOT ST                                                                                        SEBRING            FL      33872‐2847
JETT, ROBERT L       9650 CASE RD                                                                                           BROOKLYN           MI      49230‐8593
JETT, RONALD L       4625 HEATHERWOOD WAY                                                                                   PACE               FL      32571‐9058
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Name                         Address1                         Address2                  Address3   Address4               City              State   Zip
JETT, SHARON R               2649 HAVERSTRAW AVE                                                                          DAYTON             OH     45414‐2238
JETT, SHELBY A               28115 LORRAINE AVE                                                                           WARREN             MI     48093‐4936
JETT, SHIRLEY G              105 N SAGE ST                                                                                TOCCOA             GA     30577‐3681
JETT, STELLA F               484 PINK DILL MILL RD                                                                        GREER              SC     29651‐4752
JETT, TREANCA                3205 SALTER RD                                                                               MEMPHIS            TN     38109‐3221
JETT, WILLIAM O              24246 LEEWIN ST                                                                              DETROIT            MI     48219‐1011
JETTA JOHNSON
JETTAVEE BOLDEN              10149 S ELEANOR AVE                                                                          PALOS HILLS        IL     60465‐1461
JETTE WILLRODT               WAITZSTRASSE 15                  24105 KIEL
JETTE, BETTY J               1015 COUNTRY CLUB CT                                                                         WASHINGTON        OH      43160‐1859
                                                                                                                          COURT HOUSE
JETTE, STEPHEN D             451 QUARRY RD                                                                                JAMESTOWN         OH      45335‐1717
JETTER EXPRESS INC           2833 CIN DAY RD                                                                              MIDDLETOWN        OH      45044
JETTER JR, JAMES R           409 E DARTMOUTH ST                                                                           FLINT             MI      48505‐4981
JETTER, DAVID                613 ORIENT AVE                                                                               CINCINNATI        OH      45232‐1713
JETTER, DAVID M              4311 BENEFIELD RD                                                                            BRASELTON         GA      30517‐1439
JETTER, EDNA W               409 E DARTMOUTH ST                                                                           FLINT             MI      48505‐4981
JETTER, ROBERT P             38 AMY DR                                                                                    TONAWANDA         NY      14150‐6102
JETTER, ROBERT PAUL          38 AMY DR                                                                                    TONAWANDA         NY      14150‐6102
JETTERS, EDDIE G             1030 W GALBRAITH RD                                                                          CINCINNATI        OH      45231
JETTI DEVARY                 2538 FLINTRIDGE ST                                                                           ORION             MI      48359‐1530
JETTI, SANDHYA RANI          5600 ORANGETHORPE AVE APT 1310                                                               LA PALMA          CA      90623‐1217
JETTIE BLOCKER               656 LOTHROP RD APT B1                                                                        DETROIT           MI      48202‐2735
JETTIE BROWER                10889 RIFLE RANGE RD                                                                         TALLASSEE         AL      36078‐4502
JETTIE HOGGS                 1602 ESSLING ST                                                                              SAGINAW           MI      48601‐1385
JETTIE KELLUM                1166 PEACHTREE DR                                                                            MOUNT MORRIS      MI      48458‐2834
JETTIE M HOGGS               1602 ESSLING ST                                                                              SAGINAW           MI      48601‐1385
JETTIE MARTIN                PO BOX 88752                                                                                 INDIANAPOLIS      IN      46208‐0752
JETTIE MCDOUGAL              32 BEECHWOODE LN                                                                             PONTIAC           MI      48340‐2200
JETTKE JUDY & ASSOCIATES     445 S LIVERNOIS RD STE 321       LOF 4‐21‐95                                                 ROCHESTER HILLS   MI      48307‐2577
JETTON, DOYLE K              12767 JACKSON ST                                                                             THORNTON          CO      80241‐3172
JETTON, EDITH M              1585 MONROE DR                                                                               GAINESVILLE       GA      30507‐7316
JETTON, MARY                 18909 FLEMING                                                                                DETROIT           MI      48234‐1310
JETTON, MARY                 18909 FLEMING ST                                                                             DETROIT           MI      48234‐1310
JETTON, PENNY R              PO BOX 168                                                                                   BELCHER           LA      71004‐0168
JETTON, PENNY RENEE          PO BOX 168                                                                                   BELCHER           LA      71004‐0168
JETTON, WILLHOYTE            2281 JADA DR                                                                                 HENDERSON         NV      89044‐1578
JETTY FEAST                  108 MARIE CT APT 83                                                                          DESLOGE           MO      63628‐8712
JETTY, DONALD B              3 SENECA ST                                                                                  BALDWINSVILLE     NY      13027‐2312
JETTYE YOUNG                 1675 FROMM DR                                                                                SAGINAW           MI      48638‐4486
JETWAY CHEVROLET, LLC        2525 RENO HWY                                                                                FALLON            NV      89406‐9301
JETZ SERVICE                                                  901 NE RIVER RD                                                               KS      66616
JETZ SERVICE COMPANY, INC.   NOEL ETZEL                       901 NE RIVER ROAD                                           TOPEKA            KS      66616
JETZKE JR, RUDOLPH           92 TABLE ROCK DR                                                                             HOLIDAY ISLAND    AR      72631‐4227
JETZKE, MARK R               53400 ROMEO PLANK RD                                                                         MACOMB            MI      48042‐2978
JETZKE,MARK R                53400 ROMEO PLANK RD                                                                         MACOMB            MI      48042‐2978
JEUDE, STEVEN W              12474 MENTZ DR                                                                               BRUCE TWP         MI      48065‐4438
JEUNE ROCKENBAUGH            3355 SYKESVILLE RD                                                                           WESTMINSTER       MD      21157‐8251
JEUNG, ANDREW B              6091 VILLAGE CT                                                                              CLARKSTON         MI      48346‐1998
JEVAHIRIAN, WARREN           1431 POTTER DR                                                                               COLUMBIA          TN      38401‐9229
JEVEDA HARDY                 16115 HUNTMERE AVE                                                                           CLEVELAND         OH      44110‐1544
JEVETTA HANCOCK              LOT 7                            351 NORTH SQUIRREL ROAD                                     AUBURN HILLS      MI      48326‐4000
JEVIC TRANSPORTATION         PO BOX 519                                                                                   MOUNT LAUREL      NJ      08054‐0519
JEVIC TRANSPORTATION INC     700 CREEK RD                     PO BOX 5157                                                 DELANCO           NJ      08075‐5212
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Name                     Address1                          Address2               Address3      Address4                 City               State Zip
JEVLAN AUTO SERVICE      471 JEVLAN DR. UNIT 12                                                 WOODBRIDGE ON L4L 8A1
                                                                                                CANADA
JEVON BIRTHA             33 WOODROW PL                                                                                   CHEEKTOWAGA         NY   14225‐3105
JEVON JELKS              2227 SALT ST                                                                                    SAGINAW             MI   48602‐1267
JEVON KENNELL            1892 MIST WOOD DR                                                                               HOWELL              MI   48843‐8142
JEVON WHITE              34111 SHAWNEE ST                                                                                WESTLAND            MI   48185‐2709
JEW, VICTOR              2496 KINGFISHER LN                                                                              LINCOLN             CA   95648‐8753
JEWAH, ANN
JEWAN S TINSLEY          220 W NORMAN AVE                                                                                DAYTON             OH    45405
JEWBY NANCY              4935 BARNA AVENUE                                                                               TITUSVILLE         FL    32780‐6803
JEWEL A JOHNSON          218 W 5TH ST                                                                                    TILTON             IL    61833‐7430
JEWEL ADAMS              134 HARBEN ST                                                                                   DAWSONVILLE        GA    30534‐3912
JEWEL AKINS              13640 COLLINGHAM DRIVE                                                                          DETROIT            MI    48205‐1115
JEWEL ALLEN              APT 226                           3900 HAMMERBERG ROAD                                          FLINT              MI    48507‐6025
JEWEL ANDERSON           2164 PALMYRA RD SW                                                                              WARREN             OH    44481‐9101
JEWEL ANGEL              34872 FREEDOM RD APT 1                                                                          FARMINGTON HILLS   MI    48335‐4014

JEWEL ARNETT             2145 MARKER AVE                                                                                 DAYTON             OH    45414‐4029
JEWEL ASBERRY            486 STOTTLE RD                                                                                  SCOTTSVILLE        NY    14546‐9616
JEWEL BRICENO            92 HAMPTON RD                                                                                   COLUMBIA           TN    38401‐5041
JEWEL BROWN              3285 RIDGECLIFFE DR                                                                             FLINT              MI    48532‐3733
JEWEL BUTLER             44481 DUNN RD                                                                                   BELLEVILLE         MI    48111‐9652
JEWEL CAIN               121 S DELMAR AVE                                                                                DAYTON             OH    45403‐2209
JEWEL CARRIER            6726 S WASHINGTON AVE LOT 132                                                                   LANSING            MI    48911‐6580
JEWEL CARSON             11279 YOUNGSTREE COURT                                                                          DAVISBURG          MI    48350‐3147
JEWEL COLLINS            8256 PACKARD AVE                                                                                WARREN             MI    48089‐2335
JEWEL COLLINS            16975 W 14 MILE RD                                                                              BEVERLY HILLS      MI    48025‐3223
JEWEL D EARL             1400 E STOP II RD                                                                               INDIANAPOLIS       IN    46220
JEWEL DARBY              2310 N 74TH ST                                                                                  KANSAS CITY        KS    66109‐2436
JEWEL DAVIS              8521 PORTER RD APT 10                                                                           NIAGARA FALLS      NY    14304‐1628
JEWEL DICK               241 WATCH HILL RD                                                                               FT MITCHELL        KY    41011‐1822
JEWEL DYE                20849 DALTON AVE                                                                                TORRANCE           CA    90501‐2318
JEWEL EARL               8314 LISMORE EAST DR APT D                                                                      INDIANAPOLIS       IN    46227‐9333
JEWEL ESTERLINE          1033 WEST ROWLAND STREET                                                                        FLINT              MI    48507‐4046
JEWEL FAVEL              8220 WHITEFORD CENTER RD                                                                        OTTAWA LAKE        MI    49267‐8511
JEWEL FIFE               971 W 600 N                                                                                     KOKOMO             IN    46901‐9160
JEWEL FINN               1230 QUAIN LN                                                                                   PORT HURON         MI    48060‐7844
JEWEL FOOD STORES, INC   ACCT OF MICHELE D BURGE
JEWEL FULLER             4512 S HUGHES AVE                                                                               FORT WORTH         TX    76119‐4028
JEWEL GENTRY             1540 LAKEHURST DR                                                                               FORT WAYNE         IN    46815‐7580
JEWEL GEORGE             3623 N 300 E                                                                                    ANDERSON           IN    46012‐9414
JEWEL GIARRATANA         210 LAKEWOOD RD                                                                                 NEPTUNE            NJ    07753‐5704
JEWEL GOFF               PO BOX 311154                                                                                   FLINT              MI    48531‐1154
JEWEL GORDON             14581 PRAIRIE ST                                                                                DETROIT            MI    48238‐1912
JEWEL GRABLE             412 TAYLOR AVE                                                                                  BETHALTO            IL   62010‐2224
JEWEL GRANGER            7239 LIGHTHOUSE RD                                                                              PORT HOPE          MI    48468‐9759
JEWEL GREER              4180 S BELL CREEK RD                                                                            YORKTOWN           IN    47395‐9587
JEWEL GRIFFITH           31257 BRETZ DR                                                                                  WARREN             MI    48093‐1671
JEWEL HALL               PO BOX 44482                                                                                    RIO RANCHO         NM    87174
JEWEL HARTY              736 WOODBINE DRIVE                                                                              FENTON             MI    48430‐1425
JEWEL HENRY              774 MCJESTER RD                                                                                 PANGBURN           AR    72121‐9516
JEWEL HOGAN              3637 CHARLOTTE ST                                                                               KANSAS CITY        MO    64109‐2635
JEWEL HOLLOWAY           3764 CRANE ST                                                                                   DETROIT            MI    48214‐1233
JEWEL HUDSON             28201 SAN MARINO DRIVE                                                                          SOUTHFIELD         MI    48034‐5673
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Name                     Address1                         Address2                     Address3   Address4               City              State   Zip
JEWEL JOHNSON            6217 GILLISPIE DR                                                                               FORT WORTH         TX     76132‐5052
JEWEL JOHNSON            7816 S PHILLIPS AVE FL 2                                                                        CHICAGO             IL    60649‐5118
JEWEL JONES              240 NW 13TH AVE                                                                                 DELRAY BEACH       FL     33444‐1653
JEWEL KEATHLEY           9326 E CANFIELD ST                                                                              DETROIT            MI     48214‐1461
JEWEL KENNEMER           815 E FORREST ST                                                                                ATHENS             AL     35611‐2749
JEWEL LAY                4511 CARLTON ST                                                                                 FLINT              MI     48505‐3533
JEWEL LUNSFORD           3750 OMEGA PARK RD                                                                              SOMERSET           KY     42501‐5777
JEWEL M DAVIS            8521 PORTER RD APT 10                                                                           NIAGARA FALLS      NY     14304‐1628
JEWEL M MANNS            304 N. BROADWAY ST.                                                                             TROTWOOD           OH     45426
JEWEL MARSHALL           3900 EAST MAIN #1                                                                               VENTURE            CA     93003
JEWEL MC MONAGLE         607 E CHURCH ST                                                                                 NEW BROCKTON       AL     36351‐6539
JEWEL MCMULLEN           BEVAN & ASSOCIATES LPA INC.      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
JEWEL MILLER             3706 RACE ST                                                                                    FLINT              MI     48504‐2216
JEWEL PHILLIPS           806 VALLEY DR                                                                                   ANDERSON           IN     46011‐2040
JEWEL R SMITH            4331 MERRYDALE AVE                                                                              DAYTON             OH     45431‐1818
JEWEL R WHALEN JR        C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                      HOUSTON            TX     77007
                         BOUNDAS LLP
JEWEL RUDOLPH            PO BOX 1761                                                                                     TUSCALOOSA        AL      35403‐1761
JEWEL S ASBERRY          486 STOTTLE RD                                                                                  SCOTTSVILLE       NY      14546‐9616
JEWEL SCHUSTER           621 FOUNDERS DRIVE                                                                              KISSIMMEE         FL      34744‐5951
JEWEL SHORT              2119 CALUMET DR                                                                                 INDEPENDENCE      MO      64057‐1030
JEWEL SILK               8208 N VASSAR RD                                                                                MOUNT MORRIS      MI      48458‐9760
JEWEL SMITH              4331 MERRYDALE AVE                                                                              DAYTON            OH      45431‐1818
JEWEL SMITH JR           43606 STUART CT                                                                                 CANTON            MI      48187‐3178
JEWEL SWEARINGEN JR      1207 SPANISH TRAIL DR                                                                           GRANBURY          TX      76048‐1714
JEWEL TAPLEY             1212 DUNN PKWY SW                                                                               MABLETON          GA      30126‐3906
JEWEL THOMAS             3352 S COUNTY LINE RD                                                                           DURAND            MI      48429‐9759
JEWEL THOMPSON           2500 WOODROW WILSON BLVD APT 7                                                                  WEST BLOOMFIELD   MI      48324‐1719

JEWEL WELCH              4478 COUNTY FARM RD                                                                             GREENVILLE        MI      48838‐9757
JEWEL WHITE              2010 MCAVOY ST                                                                                  FLINT             MI      48503‐4248
JEWEL WHITEAKER          2666 PENTLEY PL                                                                                 KETTERING         OH      45429‐3741
JEWEL WILKES             6632 DUNWOLD DR                                                                                 BERKELEY          MO      63134‐1570
JEWEL WILLIAMS           2730 PROSPECT ST                                                                                FLINT             MI      48504‐3347
JEWEL WILLIAMS           15814 GILCHRIST ST                                                                              DETROIT           MI      48227‐1579
JEWEL WOMACK             1492 ROBERT BRADBY DR APT A                                                                     DETROIT           MI      48207‐4958
JEWEL WOODWARD           4514 DITNEY TRL                                                                                 PIONEER           TN      37847‐2387
JEWEL YOUNG              4490 N GARFIELD RD                                                                              PINCONNING        MI      48650‐8937
JEWEL'S BUS COMPANY      TONY LOCKHART                    1035 W 111TH ST                                                CHICAGO           IL      60643‐4634
JEWEL, MICHALE J         PO BOX 05112                                                                                    DETROIT           MI      48205‐0112
JEWEL, VALERIE J.        325 ROYAL PALM PARK RD                                                                          FORT MYERS        FL      33905‐3015
JEWELEEN M GUNDER        1950 W. BATAAN DR.                                                                              KETTERING         OH      45420
JEWELENE BUSH            26485 WILLOW CV                                                                                 WOODHAVEN         MI      48183‐4423
JEWELETTE LUGG‐GILBERT   4301 VIENNA ST                                                                                  SPRING HILL       FL      34609‐1960
JEWELINE CROCHRAN        3005 STEVENSON ST                                                                               FLINT             MI      48504‐3243
JEWELL A CAMPBELL        4471 BAKER RD                                                                                   DAYTON            OH      45424‐1706
JEWELL A HARMON          120 LABURNAM CRES                                                                               ROCHESTER         NY      14620‐1836
JEWELL ADAMS             3205 MOUNT OLIVE RD                                                                             PINE BLUFF        AR      71602‐9397
JEWELL AMYX              3259 RAVENWOOD RD                                                                               FAIRBORN          OH      45324‐2227
JEWELL AUTO              5044 JAMES AVE                                                                                  FORT WORTH        TX      76115‐3818
JEWELL BAXTER            1611 AVON ST                                                                                    FLINT             MI      48503‐2738
JEWELL BISHOP            4417 RICHLAND AVE                                                                               DAYTON            OH      45432‐1419
JEWELL BLAYLOCK          3260 BAISCH DR                                                                                  DE SOTO           MO      63020‐5046
JEWELL BLEVINS           4028 N MECHANICSBURG RD                                                                         MIDDLETOWN        IN      47356‐9731
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Name                                  Address1                              Address2                          Address3     Address4               City               State   Zip
JEWELL BROWN                          275 FANNIN RD                                                                                               GRIFFIN             GA     30223‐5691
JEWELL BUELL                          333 PARK LN                                                                                                 SPRINGBORO          OH     45066‐1083
JEWELL BURNS                          501 BURDETTE ST # A                                                                                         POINT PLEASANT      WV     25550‐1801
JEWELL BUSHMAN                        9 FOREST AVE                                                                                                HIGHLAND HEIGHTS    KY     41076‐1017

JEWELL C SMITH                        2702 HURSTLAND CT                                                                                           FT MITCHELL        KY      41017
JEWELL CAMPBELL                       2075 WILLOW BAR CT.                                                                                         GOLD RIVER         CA      95670
JEWELL CAMPBELL                       24062 SHURMER DR                                                                                            WARRENSVL HTS      OH      44128‐4939
JEWELL CHADWELL                       17900 HOLLAND DR                                                                                            MC KENZIE          TN      38201
JEWELL CHARLES                        APT 110                               5901 DIXIE HIGHWAY                                                    CLARKSTON          MI      48346‐3332
JEWELL CHARLES (460483)               EARLY LUDWICK SWEENEY & STRAUSS       360 LEXINGTON AVE FL 20                                               NEW YORK           NY      10017‐6530
JEWELL CHARLES (ESTATE OF) (508488)   EARLY LUDWICK & SWEENEY L.L.C.        ONE CENTURY TOWER, 11TH FLOOR ,                                       NEW HAVEN          CT      06510
                                                                            265 CHURCH STREET
JEWELL CHERRY                         575 KENMORE AVE NE                                                                                          WARREN             OH      44483‐5521
JEWELL CHILDRESS                      6504 S VILLA AVE                                                                                            OKLAHOMA CITY      OK      73159‐2744
JEWELL CHURCH                         1126 N BLACK RIVER RD                                                                                       CHEBOYGAN          MI      49721‐8205
JEWELL CLAY                           5901 BOWIE LN                                                                                               INDIANAPOLIS       IN      46254‐5107
JEWELL COLE                           3101 OAKRIDGE DR                                                                                            JONESBORO          AR      72401‐8370
JEWELL COUCH                          1880 STAHLHEBER RD                                                                                          HAMILTON           OH      45013‐1924
JEWELL COX                            2242 TWIN CREEK RD                                                                                          WEST ALEXANDRIA    OH      45381‐9524

JEWELL COX                            151 S/E TODD GEORGE RD                #2‐14                                                                 LEES SUMMIT        MO      64063
JEWELL COX                            6106 COUNCIL RING BLVD                                                                                      KOKOMO             IN      46902‐5500
JEWELL CROPP                          1529 BLAIR DR                                                                                               GARLAND            TX      75040‐8918
JEWELL CUNAGIN                        1788 HAMBLETONIAN CT                                                                                        MIAMISBURG         OH      45342‐6362
JEWELL DAVIS                          645 E MOORE ST                                                                                              FLINT              MI      48505‐5377
JEWELL DAVIS                          110 MELANIE CT                                                                                              COLLEGE PARK       GA      30349‐2843
JEWELL DONALDSON                      4399 SPRING MEADOWS CT                                                                                      BURTON             MI      48519‐1199
JEWELL DOUGLAS                        3131 HOLBROOK DR SW                                                                                         MARIETTA           GA      30060‐6131
JEWELL E SAUNDERS                     3833 ALEESA DR.                                                                                             WARREN             OH      44484‐2911
JEWELL ELDER                          418 W DOUGLAS DR                                                                                            MIDWEST CITY       OK      73110‐2903
JEWELL ELINBURG                       11401 COVE CREEK CT 19                                                                                      TAYLOR             MI      48180
JEWELL EPPERSON                       235 DEER RIDGE LN                                                                                           GRAY               GA      31032‐6111
JEWELL FARMER                         133 WILLARD AVE                                                                                             CARLISLE           OH      45005‐1344
JEWELL FLAKE                          # 139                                 6735 HAMMOCK ROAD                                                     PORT RICHEY        FL      34668‐2115
JEWELL FUGATE                         137 BIGGER STAFF LN                                                                                         LANCASTER          KY      40444‐9098
JEWELL GAITHER JR                     3023 DUPLEX RD                                                                                              SPRING HILL        TN      37174‐9221
JEWELL GATES                          118 GRAVES LN                                                                                               MAYNARDVILLE       TN      37807‐3424
JEWELL GOODE                          5268 HIGHWAY 135 N                                                                                          PARAGOULD          AR      72450‐9385
JEWELL GRACE CAMPBELL                 ROBERT W PHILLIPS, SIMMONS GIANARIS   707 BERKSHIRE BLVD                PO BOX 521                          EAST ALTON         IL      62024
                                      ANGELIDES & BARNERD LLC
JEWELL H CHERRY                       575 KENMORE NE                                                                                              WARREN             OH      44483‐5521
JEWELL HACKER                         5445 S VAN DYKE RD                                                                                          UBLY               MI      48475‐9719
JEWELL HACKNEY                        6647 HATCHERY RD                                                                                            WATERFORD          MI      48327‐1127
JEWELL HALL                           5646 KENNERLY AVE                                                                                           SAINT LOUIS        MO      63112‐4006
JEWELL HALL JR                        6951 GILLS LN                                                                                               HANOVERTON         OH      44423‐9727
JEWELL HANSARD                        3428 CASTLEBERRY RD                                                                                         CUMMING            GA      30040‐9604
JEWELL HARRIS                         5137 LOTUS AVE                                                                                              SAINT LOUIS        MO      63113‐1127
JEWELL HAYES                          8861 E 900 S                                                                                                UPLAND             IN      46989‐9400
JEWELL HENRY                          4517 CLOVERLAWN DR                                                                                          FLINT              MI      48504‐2057
JEWELL HILL                           PO BOX 2471                                                                                                 ALLIANCE           OH      44601‐0471
JEWELL HILL                           4049 W 58TH PL                                                                                              LOS ANGELES        CA      90043‐3401
JEWELL HILL                           PO BOX 343                                                                                                  WOODSTOCK          GA      30188‐0343
JEWELL HOSKINS                        37988 STAFFORD CT                                                                                           WESTLAND           MI      48186‐9318
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Name                         Address1                         Address2                       Address3      Address4               City             State   Zip
JEWELL HOWARD LONG           MOTLEY RICE LLC                  28 BRIDGESIDE BLVD             PO BOX 1792                          MT PLEASANT       SC     29465
JEWELL HUDSON                3621 ALEXANDER ST                                                                                    FLINT             MI     48505‐3841
JEWELL HUDSPETH              10027 RESTLESS RD                                                                                    ROVER             AR     72860‐8002
JEWELL I MORRIS              3910 SUNCREST DR                                                                                     FLINT             MI     48504‐8434
JEWELL INSTRUMENTS LLC       850 PERIMETER RD                                                                                     MANCHESTER        NH     03103‐3324
JEWELL JACKSON               800 COURT ST APT #223                                                                                FLINT             MI     48503
JEWELL JR, CLARE R           10400 STURGIS DR                                                                                     ATLANTA           MI     49709‐9010
JEWELL JR, THOMAS E          951 NEMAN RD                                                                                         TALLASSEE         AL     36078‐6920
JEWELL K PITTS               1293 ARNICA DR                                                                                       DAYTON            OH     45432‐2801
JEWELL KELLEY                100 S WATAUGA AVE APT 8                                                                              ELIZABETHTON      TN     37643‐3282
JEWELL KEY                   1211 EL ESPARZA LN                                                                                   THE VILLAGES      FL     32159‐8576
JEWELL L JAMISON             4138 IDLE HOUR CIR APT J                                                                             DAYTON            OH     45415
JEWELL LARD                  12233 W FLANAGAN ST                                                                                  AVONDALE          AZ     85323‐8124
JEWELL LAWRENCE R (414994)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK           VA     23510
                                                              STREET, SUITE 600
JEWELL LEMASTER              795 HOGARTH AVE                                                                                      WATERFORD        MI      48328‐4130
JEWELL LODWICK               72 LOWER HILLSIDE DR                                                                                 BELLBROOK        OH      45305‐2110
JEWELL LONG                  9001 HILLVIEW LN                                                                                     JACKSON          MI      49201‐8150
JEWELL LYNN                  PO BOX 786                                                                                           FLOWERY BRANCH   GA      30542‐0014
JEWELL M BISHOP              4417 RICHLAND AVE                                                                                    DAYTON           OH      45432‐1419
JEWELL M COLLIER             C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                           HOUSTON          TX      77007
                             BOUNDAS LLP
JEWELL M ISAACS              466 BAYOU STREET                                                                                     SOUTH LEBANON    OH      45065
JEWELL M MUSGROVE            3047 NORTH STATE ROUTE =42                                                                           LEBANON          OH      45036‐9732
JEWELL MARDIS                2279 ROB MASON RD                                                                                    MURRAY           KY      42071‐8324
JEWELL MARSHALL              420 W ANDRUS RD                                                                                      NORTHWOOD        OH      43619‐1251
JEWELL MARTIN                2144 INDIAN TRAIL RD                                                                                 CARLETON         MI      48117‐9313
JEWELL MCCONNELL             16580 STRATMOORE ST                                                                                  DETROIT          MI      48235
JEWELL MCCONNELL             16580 STRATHMOOR STREET                                                                              DETROIT          MI      48235‐4069
JEWELL MCCULLAR              2549 LAKE POINTE DR                                                                                  COOKEVILLE       TN      38506‐4406
JEWELL MCGOUGH               1142 7TH ST NE                                                                                       CARBON HILL      AL      35549‐4413
JEWELL MILLER                4608 BLOOMFIELD DR                                                                                   DAYTON           OH      45426‐1806
JEWELL MORRIS                3910 SUNCREST DR                                                                                     FLINT            MI      48504‐8434
JEWELL MUSGROVE              3047 N US ROUTE 42                                                                                   LEBANON          OH      45036‐9732
JEWELL NEELEY                PO BOX 104                                                                                           PULASKI          TN      38478‐0104
JEWELL NELSON                9 SOUTHDOWNS DR                                                                                      KOKOMO           IN      46902‐5116
JEWELL NELSON                502 RAINBOW DR                                                                                       KOKOMO           IN      46902‐3722
JEWELL NEVLING               12271 KRONOS CT                                                                                      STRONGSVILLE     OH      44149‐3253
JEWELL NORWOOD               15906 RYLAND                                                                                         REDFORD          MI      48239‐3951
JEWELL PAYNE                 UNIT D                           845 SOUTH PLYMOUTH BOULEVARD                                        LOS ANGELES      CA      90005‐3794
JEWELL PICKENS               15930 CHALFONTE ST                                                                                   DETROIT          MI      48227‐4102
JEWELL PITTS                 1293 ARNICA RD                                                                                       DAYTON           OH      45432‐2801
JEWELL PRESLEY               180 HUDSON CIR                                                                                       DOUGLASVILLE     GA      30134‐5815
JEWELL PUTERBAUGH            6539 HOLLANSBURG SAMPSON RD                                                                          ARCANUM          OH      45304‐9021
JEWELL RHODES                1610 SHANGRAI LA DR SE                                                                               GRAND RAPIDS     MI      49508‐1449
JEWELL RICHARDS              502 HARRIS ST                                                                                        PALMETTO         GA      30268‐1022
JEWELL RICHARDSON            1409 LAWRENCE WAY                                                                                    ANDERSON         IN      46013‐5605
JEWELL RIFFE                 2724 LEDO RD APT D65                                                                                 ALBANY           GA      31707‐6638
JEWELL ROBERTS               3257 NORTHFIELD CT                                                                                   LAKE ORION       MI      48360‐1731
JEWELL RUSSELL               3993 HAMILTON MASON RD                                                                               HAMILTON         OH      45011‐5411
JEWELL SCOTT                 PO BOX 863                                                                                           DURANT           FL      33530‐0863
JEWELL SIMPSON               1416 THE LN                      C/O RONALD E SIMPSON SR                                             LAWRENCEVILLE    GA      30043‐3638
JEWELL SPEARS                BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                          BOSTON HEIGHTS   OH      44236
JEWELL SR, WILLIAM H         7181 DRAKE STATELINE RD NE                                                                           BURGHILL         OH      44404‐9716
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Name                    Address1                          Address2                         Address3   Address4               City               State   Zip
JEWELL STIDHAM          1350 ASH CT                                                                                          MARTINSVILLE        IN     46151‐6386
JEWELL STORMS           3009 ILLINOIS ST APT B                                                                               BEDFORD             IN     47421‐5463
JEWELL TUCKER           7040 CHICAGO ST                                                                                      ALANSON             MI     49706‐9501
JEWELL WARE             28340 BLUFF RD                                                                                       WARSAW              MO     65355‐4389
JEWELL WILSON           5633 ED LOU LN APT A                                                                                 SAINT LOUIS         MO     63128‐3881
JEWELL WRIGHT           111 VERNON ST LOT 1                                                                                  GREER               SC     29650‐1745
JEWELL YARBER           260 W LINCOLN ST                                                                                     OBERLIN             OH     44074‐1822
JEWELL'S AUTO REPAIR    ATTN: KEITH JEWELL                212 E BROADWAY ST                                                  KOKOMO              IN     46901‐2979
JEWELL, ALICE L         28123 BRUSH ST                                                                                       MADISON HEIGHTS     MI     48071‐2868

JEWELL, ANNABELLE       3230 UPTON RD                                                                                        LANSING            MI      48917‐2321
JEWELL, AUBREY A        206 E ATTICA ST                                                                                      ROSSVILLE          IL      60963‐1108
JEWELL, B T             1009 SPRING VALLEY DR                                                                                ANDERSON           IN      46011‐2352
JEWELL, BARBARA A       12860 INDEPENDENCE AVE                                                                               SHELBY TWP         MI      48315‐4647
JEWELL, BETTY A         314 HOLLYWOOD LN                                                                                     NAPLES             FL      34112‐7234
JEWELL, BEVERLY J       20 PINE TREE RIDGE DR UNIT 3                                                                         WATERFORD          MI      48327‐4305
JEWELL, BOBBIE J        3644 BROWNWOOD TER                                                                                   NORTH PORT         FL      34286‐3290
JEWELL, BONNIE M        2586 SYMINGTON AVE. X                                                                                COLUMBUS           OH      43204
JEWELL, BRUCE L         1401 CARDIGAN DR                                                                                     OXFORD             MI      48371
JEWELL, CAROL J         2849 BRIDGESTONE CIR                                                                                 KOKOMO             IN      46902‐7007
JEWELL, CHARLES         EARLY LUDWICK & SWEENEY L.L.C.    ONE CENTURY TOWER, 11TH FLOOR,                                     NEW HAVEN          CT      06508
                                                          265 CHURCH STREET
JEWELL, CHARLES         EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                            NEW YORK           NY      10017‐6530
JEWELL, CHARLES R       PO BOX 247                                                                                           MOORESBORO         NC      28114‐0247
JEWELL, CHARLES T       168 ANGELA DR                                                                                        GERMANTOWN         OH      45327‐9369
JEWELL, CHARLYNE E      2989 LAMPLIGHTER CT                                                                                  KOKOMO             IN      46902‐8133
JEWELL, CHRISTINA       2111 MICHIE DR APT 1                                                                                 CHARLOTTESVILLE    VA      22901‐2841
JEWELL, CHRISTINE       8387 DIXIE HWY                                                                                       IRA                MI      48023‐2550
JEWELL, CLAUDIA         6550 HICKORY VALLEY RD                                                                               HEISKELL           TN      37754‐3012
JEWELL, CLIFFORD D      8387 DIXIE HWY                                                                                       IRA                MI      48023‐2550
JEWELL, CLIFFORD DALE   8387 DIXIE HWY                                                                                       IRA                MI      48023‐2550
JEWELL, CLIFFORD E      2228 MANN RD                                                                                         CHEBOYGAN          MI      49721‐9246
JEWELL, CURTIS W        877 ROCKY CRK E                                                                                      BEDFORD            IN      47421‐6582
JEWELL, CURTIS WAYNE    877 ROCKY CRK E                                                                                      BEDFORD            IN      47421‐6582
JEWELL, DAN A           131 SILVERADO TRL                                                                                    LYNNVILLE          TN      38472‐5540
JEWELL, DANNY L         2605 MCKNIGHT RD                                                                                     CULLEOKA           TN      38451‐2602
JEWELL, DAVID           2251 SPRINGMILL RD.                                                                                  KETTERING          OH      45440‐2562
JEWELL, DAVID C         7278 REID RD                                                                                         SWARTZ CREEK       MI      48473‐9465
JEWELL, DAVID CARL      7278 REID RD                                                                                         SWARTZ CREEK       MI      48473‐9465
JEWELL, DAVID L         4863 BRIGGS RD                                                                                       OTTER LAKE         MI      48464‐9762
JEWELL, DEBORAH M       38361 EAGLE NEST DR                                                                                  WILLOUGHBY HILLS   OH      44094‐9631

JEWELL, DELMAS D        5296 NILES AVE                                                                                       NEWTON FALLS       OH      44444‐1844
JEWELL, DENNIS L        1203 N EXPRESSWAY 77              # 395 TOPAZ                                                        HARLINGEN          TX      78552
JEWELL, DENNIS L        1840 BRITTAINY OAKS TRL NE                                                                           WARREN             OH      44484‐3964
JEWELL, DEREK D         5296 NILES AVE                                                                                       NEWTON FALLS       OH      44444‐1844
JEWELL, DERIK A         10076 PONTIAC LAKE RD                                                                                WHITE LAKE         MI      48386‐1659
JEWELL, DERIK ANDREW    10076 PONTIAC LAKE RD                                                                                WHITE LAKE         MI      48386‐1659
JEWELL, DEXTER F        11213 EAGLE BEND DR                                                                                  HUDSON             FL      34667‐5510
JEWELL, DEXTER F        11213 EAGLEBEND DR.                                                                                  HUDSON             FL      34667‐4667
JEWELL, DONALD C        4835 S FORDNEY RD                                                                                    HEMLOCK            MI      48626‐9762
JEWELL, DONALD D        9106 N FAIRVIEW AVE                                                                                  MILTON             WI      53563‐9611
JEWELL, DONNA J         1038 E CENTRAL AVENUE                                                                                MIAMISBURG         OH      45342‐2556
JEWELL, DOUGLAS R       15105 MICHAEL ST                                                                                     TAYLOR             MI      48180‐6414
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Name                       Address1                         Address2                      Address3            Address4               City              State   Zip
JEWELL, DWAYNE E           11415 HAZEL AVE                                                                                           GRAND BLANC        MI     48439‐1124
JEWELL, DWAYNE EDWARD      11415 HAZEL AVE                                                                                           GRAND BLANC        MI     48439‐1124
JEWELL, E FAYE             3510 HEATHERFIELD CT                                                                                      WASHINGTON         MI     48094‐1119
JEWELL, E V                CENTRAL FOUNDRY                                                                                           SAGINAW            MI     48605
JEWELL, EDDIE              10482 HALLER ST                                                                                           DEFIANCE           OH     43512‐1234
JEWELL, EDWARD J           10111 JEWELL RD                                                                                           GAINES             MI     48436‐9721
JEWELL, ELIZABETH M        PO BOX 15                                                                                                 CANMER             KY     42722‐0015
JEWELL, ERNEST E           20 WIGWAM PATH                                                                                            NEW RICHMOND       OH     45157‐9032
JEWELL, ESTER M            APT 132                          3801 NORTH WRIGHT ROAD                                                   JANESVILLE         WI     53546‐4232
JEWELL, ESTER M            THE HUNTINGTON PLACE             APT 132                                                                  JANESVILLE         WI     53546‐1285
JEWELL, EVA N              4333 WIEMAN RD                                                                                            BEAVERTON          MI     48612‐8705
JEWELL, EVANGELINE A       110 MADDOX LANE                  APT 116                                                                  BONITA SPRINGS     FL     34135
JEWELL, FLORA P            3845 HIGHTREE AVENUE S.E.                                                                                 WARREN             OH     44484‐4484
JEWELL, FRANK E            18937 FAULMAN RD                                                                                          CLINTON TWP        MI     48035‐1454
JEWELL, FRED G             PO BOX 473                                                                                                BIRCH RUN          MI     48415‐0473
JEWELL, GEORGE             1860 ECHO HILLS RD                                                                                        HOWELL             MI     48855‐9754
JEWELL, GEORGE F           5533 JONES RD                                                                                             NORTH BRANCH       MI     48461‐9590
JEWELL, GERALD             1209 GLENAIRE DR NW                                                                                       GRAND RAPIDS       MI     49544‐1725
JEWELL, HAROLD C           11870 HEIDLEBURG                 LOT 15                        C/O CHARLES HARDS                          WHITMORE LAKE      MI     48189
JEWELL, HAROLD W           5592 BROOKS HWY                                                                                           ONSTED             MI     49265‐9558
JEWELL, HARRY E            403 E 49TH ST                                                                                             ANDERSON           IN     46013‐4805
JEWELL, HENRY G            132 HAZELWOOD DR                                                                                          PRUDENVILLE        MI     48651‐9579
JEWELL, HENRY G            132N HAZELWOOD DR                                                                                         PRUDENVILLE        MI     48651
JEWELL, HERBERT B          7414 W WHITE OAK DR                                                                                       NEW PALESTINE      IN     46163‐9693
JEWELL, JAMES
JEWELL, JAMES C            2452 RAND AVE                                                                                             MORAINE           OH      45439‐2859
JEWELL, JANET M            3095 W. CASS AVE                                                                                          FLINT             MI      48504‐1209
JEWELL, JEANNIE            3741 W. MAPLE RIDGE                                                                                       ROCK              MI      49880
JEWELL, JEANNINE A         201 WARREN ST                                                                                             CHARLOTTE         MI      48813‐1911
JEWELL, JENELLE L          7278 REID RD                                                                                              SWARTZ CREEK      MI      48473‐9465
JEWELL, JENELLE LEAVINIA   7278 REID RD                                                                                              SWARTZ CREEK      MI      48473‐9465
JEWELL, JESSICA M          #B                               219 SOUTH SANDUSKY AVENUE                                                BUCYRUS           OH      44820‐2222
JEWELL, JOHN A             2654 N BLOCK RD                                                                                           REESE             MI      48757‐9347
JEWELL, JOHN A             3491 SEYMOUR RD                                                                                           SWARTZ CREEK      MI      48473‐9785
JEWELL, JOHN A             169 KENMORE AVE NE               INFANT OF PRAGUE MANOR        APT# 201                                   WARREN            OH      44483‐5558
JEWELL, JOY                5948 DIXIE HIGHWAY                                                                                        SAGINAW           MI      48601
JEWELL, JUDITH             2280 WOODROW WILSON BLVD         APT 3                                                                    WEST BLOOMFIELD   MI      48324

JEWELL, JUDITH C           3884 G P EASTERLY RD                                                                                      W FARMINGTON      OH      44491‐8733
JEWELL, JUSTIN             9445 CREEK BEND TRL                                                                                       DAVISON           MI      48423‐8626
JEWELL, JUSTIN A           8905 MILFORD RD                                                                                           HOLLY             MI      48442‐8543
JEWELL, KEITH E            PO BOX 115                                                                                                MILTON            WI      53563‐0115
JEWELL, KEITH R            2215 CLEARVIEW AVE NW                                                                                     WARREN            OH      44483‐1335
JEWELL, KENNETH W          5121 SHREWSBURY DR                                                                                        TROY              MI      48085‐3280
JEWELL, LADONNA R          2351 VALLEY BROOK DR                                                                                      TOLEDO            OH      43615‐2971
JEWELL, LADONNA ROSE       2351 VALLEY BROOK DR                                                                                      TOLEDO            OH      43615‐2971
JEWELL, LARRY A            3762 MIRAMAR AVE NE                                                                                       GRAND RAPIDS      MI      49525‐2426
JEWELL, LARRY R            2280 WOODROW WILSON BLVD APT 3                                                                            WEST BLOOMFIELD   MI      48324‐1706

JEWELL, LAWRENCE R         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                              NORFOLK            VA     23510‐2212
                                                            STREET, SUITE 600
JEWELL, LELAND T           PO BOX 172                                                                                                DURAND             MI     48429‐0172
JEWELL, LEON R             181 RAWLINS RD                                                                                            CLEVELAND          TX     77328‐4439
JEWELL, LEONARD T          3910 S DICKERSON RD                                                                                       LAKE CITY          MI     49651‐8914
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Name                        Address1                              Address2                       Address3                     Address4               City              State Zip
JEWELL, LLOYD A             1040 N NEVADA ST                                                                                                         GILBERT            AZ 85233‐2510
JEWELL, LORETTA HELEN       7386 E LEASK RD                                                                                                          SAULT SAINTE       MI 49783‐8722
                                                                                                                                                     MARIE
JEWELL, MACHELLE            4211 S DIXIE DR                                                                                                          DAYTON            OH   45439‐5439
JEWELL, MARCUS T            26643 S RIVER PARK DR                                                                                                    INKSTER           MI   48141‐1803
JEWELL, MARCUS TROY         26643 S RIVER PARK DR                                                                                                    INKSTER           MI   48141‐1803
JEWELL, MARILYN             208 S SANFORD ST                                                                                                         PONTIAC           MI   48342‐3149
JEWELL, MARION E            4835 SOUTH FORDNEY ROAD                                                                                                  HEMLOCK           MI   48626‐9762
JEWELL, MARION E            4835 S FORDNEY RD                                                                                                        HEMLOCK           MI   48626‐9762
JEWELL, MARLENE K           9106 FAIRVIEW DR                                                                                                         MILTON            WI   53563
JEWELL, MARLENE K           9106 N FAIRVIEW AVE                                                                                                      MILTON            WI   53563‐9611
JEWELL, MARVIN L            4333 WIEMAN RD                                                                                                           BEAVERTON         MI   48612‐8705
JEWELL, MAURICE L           2110 S.MARTIN RD RT #2                                                                                                   BEAVERTON         MI   48612
JEWELL, MCKINLEY F          GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                                       PITTSBURGH        PA   15219

JEWELL, MELISSA A           812 BUTTERNUT DR                                                                                                         KETTERING         OH   45419‐2819
JEWELL, MICHAEL             714 27TH ST NW                                                                                                           MASSILLON         OH   44647
JEWELL, MICHAEL D           PO BOX 308011                                                                                                            CLEVELAND         OH   44130
JEWELL, MICHAEL D           201 WARREN ST                                                                                                            CHARLOTTE         MI   48813‐1911
JEWELL, MICHAEL R           2290 WOODROW WILSON BLVD APT 10                                                                                          WEST BLOOMFIELD   MI   48324‐1707

JEWELL, MICHAEL R           12105 CAMPOBONITO DR                                                                                                     SPARTA            MI   49345‐8536
JEWELL, MICHAEL R           200 LINK RD                                                                                                              REIDSVILLE        NC   27320‐9104
JEWELL, MICHAEL W           806 CLINE STREET                                                                                                         MINDEN            LA   71055‐3014
JEWELL, MYRNA               18591 MANITOU RD.                                                                                                        ADDISON           MI   49220‐9758
JEWELL, NANCY L             107 N PINE ST                                                                                                            SAINT LOUIS       MI   48880‐1428
JEWELL, NICHOLAS SCOTT      72918 ORINOCO AVE                                                                                                        INDIANAPOLIS      IN   46227‐5306
JEWELL, NORMAN C            13761 TOWNSEND RD                                                                                                        MILAN             MI   48160‐9109
JEWELL, NORWOOD H           9445 CREEK BEND TRL                                                                                                      DAVISON           MI   48423‐8626
JEWELL, NORWOOD HESELBACH   9445 CREEK BEND TRL                                                                                                      DAVISON           MI   48423‐8626
JEWELL, PATRICK SCOTT       7370 EMBURY RD                                                                                                           GRAND BLANC       MI   48439‐8133
JEWELL, PENNIE              2270 ARROW HEAD DR                                                                                                       LAPEER            MI   48446‐8001
JEWELL, RICHARD L           3734 NORTH ACACIA WAY                                                                                                    BUCKEYE           AZ   85396‐3600
JEWELL, ROBERT C            284 W DRAHNER RD                                                                                                         OXFORD            MI   48371‐5090
JEWELL, ROBERT E            10417 SUNFIELD RD                                                                                                        SUNFIELD          MI   48890‐9040
JEWELL, ROBERT H            1060 PINELLAS BAY WAY                 APT 103                                                                            TERRA VERDE       FL   33715
JEWELL, ROBERT H            1060 PINELLAS BAYWAY S APT 103                                                                                           TIERRA VERDE      FL   33715‐2106
JEWELL, ROBERT J            661 PAR DR                                                                                                               GILLETTE          WY   82718‐7623
JEWELL, ROBERT W            449 BUCKELEW AVE                                                                                                         JAMESBURG         NJ   08831‐2967
JEWELL, RONALD C            1309 W MARKET ST                                                                                                         ATHENS            AL   35611‐4790
JEWELL, RONALD L            4406 HULBERTON RD                                                                                                        HOLLEY            NY   14470‐9022
JEWELL, RONALD S            GUARDIANSHIP SERVICES OF              SAGINAW COUNTY INC             100 S JEFFERSON, SUITE 102                          SAGINAW           MI   48607
JEWELL, SANDRA R            33250 WEST RD                                                                                                            NEW BOSTON        MI   48164‐9230
JEWELL, SHEILA V            26643 S RIVER PARK DR                                                                                                    INKSTER           MI   48141‐1803
JEWELL, SHEILA VICTORIA     26643 S RIVER PARK DR                                                                                                    INKSTER           MI   48141‐1803
JEWELL, SHIRLEY             1300 E LAFAYETTE ST APT 612                                                                                              DETROIT           MI   48207‐2919
JEWELL, SUSAN A             10527 BILBOA ST NW                                                                                                       ALBUQUERQUE       NM   87114‐4689
JEWELL, TERRY ANN           2405 S GRAHAM RD                                                                                                         SAGINAW           MI   48609‐9614
JEWELL, TERRY ANN           2405 S.GRAHAM ROAD                                                                                                       SAGINAW           MI   48609‐9614
JEWELL, TODD J              2455 VAUGHN DR                                                                                                           CLIO              MI   48420‐1067
JEWELL, TODD JAMES          2455 VAUGHN DR                                                                                                           CLIO              MI   48420‐1067
JEWELL, VIRGIE C            318 S 4TH ST                                                                                                             PACIFIC           MO   63069‐1903
JEWELL, VIRGIE C            318 S. FOURTH ST.                                                                                                        PACIFIC           MO   63069
JEWELL, VIRGINIA H          7871 RAGLAN DR. NORHT EAST                                                                                               WARREN            OH   44484
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Name                       Address1                         Address2            Address3         Address4               City            State   Zip
JEWELL, WILLARD W          579 E MULLETT LAKE RD                                                                        INDIAN RIVER     MI     49749‐9123
JEWELL, WILLIAM E          2849 BRIDGESTONE CIR                                                                         KOKOMO           IN     46902‐7007
JEWELL, WILLIAM E          6184 COUNTRY WAY N 6184                                                                      SAGINAW          MI     48603
JEWELL, WILLIAM E          2331 HAMILTON AVE                                                                            HAMILTON         NJ     08619‐3028
JEWELL, WILLIAM R          27 KINGSRIDGE LN                                                                             ROCHESTER        NY     14612‐3717
JEWELL, WINFRED B          3835 DARRTOWN RD                                                                             OXFORD           OH     45056
JEWELL‐STOKES, BOBBIE J    204 STEEPLE DR                                                                               HARVEST          AL     35749‐9608
JEWELLANNA SKAGGS          PO BOX 211                                                                                   CORDER           MO     64021‐0211
JEWELLENE SANDERS          19134 GREENLAWN ST                                                                           DETROIT          MI     48221‐1636
JEWELLINE WIGGINS          7714 GRAY FOX TRL                                                                            MADISON          WI     53717‐1859
JEWELRY & GEM EXCHANGE     4960 SPRINGBORO PIKE                                                                         MORAINE          OH     45439‐1940
JEWELRY R THORNTON         356 BEN LUCKETT RD                                                                           CAMDEN           MS     39045‐9702
JEWELRY THORNTON           356 BEN LUCKETT RD                                                                           CAMDEN           MS     39045‐9702
JEWELS R US                ATTN: GEORGE GOUBRAN             3851 DAVISON RD                                             FLINT            MI     48506‐4200
JEWER, MARLENE J           95 HIGH ST UNIT C                                                                            UXBRIDGE         MA     01569‐1852
JEWERELL BLACKWELL         PO BOX 907363                                                                                GAINESVILLE      GA     30501‐0907
JEWETT BILLIE E (459942)   DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                             NORTH OLMSTED    OH     44070
JEWETT DAN                 PO BOX 1300                                                                                  LA QUINTA        CA     92247‐1300
JEWETT JR, BENNIE          4032 NORTH MAIN ST               APT 519                                                     DAYTON           OH     45405‐5405
JEWETT JR, BENNIE          4032 N MAIN ST APT 519                                                                       DAYTON           OH     45405‐1607
JEWETT JR, CECIL B         1723 HAWTHORNE RD                                                                            GROSSE POINTE    MI     48236‐1447
                                                                                                                        WOODS
JEWETT JR, FRANK K         13072 HAMETOWN RD                                                                            DOYLESTOWN      OH      44230‐9322
JEWETT JR, GEORGE          610 TORRINGTON PL                                                                            DAYTON          OH      45406‐4438
JEWETT, ALICE M            12050 SCHONBORN PL                                                                           CLIO            MI      48420‐2145
JEWETT, BILLIE E           DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                             NORTH OLMSTED   OH      44070
JEWETT, BRETT L            4265 FAIR AVE                                                                                SAINT LOUIS     MO      63115‐3030
JEWETT, CHARLENE E         1585 WILSON AVENUE                                                                           COLUMBUS        OH      43207
JEWETT, CLAUDIA C          2110 SWISHER MILL RD                                                                         LEWISBURG       OH      45338‐9512
JEWETT, DAVID R            3096 E PALM BEACH DR                                                                         CHANDLER        AZ      85249‐9053
JEWETT, DENISE R           12741 RIAD ST                                                                                DETROIT         MI      48224‐1007
JEWETT, DONALD E           3827 LYTLE RD                                                                                WAYNESVILLE     OH      45068‐9482
JEWETT, ELMOND R           10 NASH ST                                                                                   LEWISTON        ME      04240‐4445
JEWETT, FREDERICK R        2174 SWISHER MILL RD                                                                         LEWISBURG       OH      45338‐9512
JEWETT, GERALDINE FRANC    4112 LARKSPUR DR                                                                             DAYTON          OH      45406‐3421
JEWETT, HOWARD M           2609 COUNTY ROAD 429                                                                         CLEBURNE        TX      76031‐8774
JEWETT, IRINGTON           20243 PATTON ST                                                                              DETROIT         MI      48219‐1429
JEWETT, IRVING R           12050 SCHONBORN PL                                                                           CLIO            MI      48420‐2145
JEWETT, JAMES L            416 DEER PATH DR                                                                             CARLISLE        OH      45005‐6344
JEWETT, JAMES O            29700 WOLF RD                                                                                BAY VILLAGE     OH      44140‐1864
JEWETT, JOSEPH J           302 WRANGLER DR                                                                              FAIRVIEW        TX      75069‐1902
JEWETT, JOSHUA D           12128 CEDAR CREST CT                                                                         NOBLESVILLE     IN      46060‐4289
JEWETT, LEO E              11202 W SKINNER RD                                                                           BRODHEAD        WI      53520‐8849
JEWETT, LOUIS R            503 BUCK ST                                                                                  MADISON         WV      25130
JEWETT, MARY E             379 LEISURE DR.                  APT#1                                                       BROOKVILLE      OH      45309
JEWETT, MARY E             379 LEISURE DR APT 1                                                                         BROOKVILLE      OH      45309‐1248
JEWETT, MARY M             44 LAKEVIEW DR                                                                               GLADWIN         MI      48624‐8384
JEWETT, MARY V             23836 RIDGE POINT CRT                                                                        RENO VALLEY     CA      92557
JEWETT, MICHAEL R          317 LETA AVE                                                                                 FLINT           MI      48507
JEWETT, PAUL R             7510 BUCKHORN LAKE RD                                                                        HOLLY           MI      48442‐9183
JEWETT, PHYLLIS J          1063 BIG PINE DR                                                                             SANTA MARIA     CA      93454‐2432
JEWETT, RICHARD L          44 LAKEVIEW DR                                                                               GLADWIN         MI      48624‐8384
JEWETT, RICKIE A           2110 SWISHER MILL RD                                                                         LEWISBURG       OH      45338‐9512
JEWETT, ROBERT K           311 LUKAS LN                                                                                 MILTON          WI      53563‐1270
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Name                     Address1                       Address2                        Address3          Address4                City            State   Zip
JEWETT, ROBERT R         2618 STATE ROAD A                                                                                        MONTREAL         MO     65591‐7156
JEWETT, ROBERT R         28799 HIGHWAY 32                                                                                         LEBANON          MO     65536
JEWETT, RODNEY E         14624 KEIFER RD                                                                                          GERMANTOWN       OH     45327‐5327
JEWETT, RODNEY E         14624 KIEFER RD                                                                                          GERMANTOWN       OH     45327‐7508
JEWETT, RUTH A           44 LAKEVIEW DR                                                                                           GLADWIN          MI     48624‐8384
JEWETT, TRACY L          3415 W HEMLOCK ST                                                                                        OXNARD           CA     93035‐3112
JEWETT, WILBERT FRED     BOONE ALEXANDRA                205 LINDA DR                                                              DAINGERFIELD     TX     75638‐2107
JEWISON PAUL             JEWISON, DONNA                 305 IRONWOOD SQUARE 300 THIRD                                             ROCHESTER        MN     55904
                                                        AVENUE SE
JEWISON PAUL             JEWISON, PAUL                  305 IRONWOOD SQUARE 300 THIRD                                             ROCHESTER       MN      55904
                                                        AVENUE SE
JEWISON, DONNA           BIRD JACOBSEN & STEVENS PC     305 IRONWOOD SQUARE 300 THIRD                                             ROCHESTER       MN      55904
                                                        AVENUE SE
JEWISON, PAUL            BIRD JACOBSEN & STEVENS PC     305 IRONWOOD SQUARE 300 THIRD                                             ROCHESTER       MN      55904
                                                        AVENUE SE
JEWISON, PAUL
JEWLEE WARD              15471 EDDY LAKE RD                                                                                       FENTON          MI      48430‐1610
JEWRELL NEAL             1721 PARKDALE AVE                                                                                        TOLEDO          OH      43607‐1629
JEWSIKOW, AMY B          2164 BELLSBURG DR                                                                                        DAYTON          OH      45459‐3566
JEWSOME, SONYA           210 DEER FOREST TRAIL                                                                                    FAYETTEVILLE    GA      30214‐4016
JEWUSIAK, JOSEPH J       1911 BUCKINGHAM DR                                                                                       JAMISON         PA      18929‐1534
JEX HARRISON             38268 N JULIAN ST                                                                                        CLINTON TWP     MI      48036‐2139
JEX JR, CLIFFORD W       27342 GROBBEL DR                                                                                         WARREN          MI      48092‐2644
JEX, FREDERICK L         4311 SUNSET DR                                                                                           LOCKPORT        NY      14094‐1233
JEX, FREDERICK N         4515 LAKE AVE                                                                                            LOCKPORT        NY      14094‐1150
JEX, JASON F             6261 CHARLOTTEVILLE RD                                                                                   NEWFANE         NY      14108‐9709
JEX, JASON FREDERICK     6261 CHARLOTTEVILLE RD                                                                                   NEWFANE         NY      14108‐9709
JEX, RICHARD L           6456 HOPE LN                                                                                             LOCKPORT        NY      14094‐1114
JEX, RICHARD W           4311 SUNSET DR                                                                                           LOCKPORT        NY      14094‐1233
JEX, RICHARD W           4296 LAKE AVE                                                                                            LOCKPORT        NY      14094‐1163
JEYACHANDRAN, NAVIN      42042 W MICHAELS DR                                                                                      MARICOPA        AZ      85238‐8650
JEYCO MACHINE PRODUCTS   PAT CAPUANO                    H. PAULIN & CO., LTD            2832 SLOUGH ST.   WINDSOR ON CANADA
JEYRE KEEN I I           2885 N STEWART RD                                                                                        CHARLOTTE       MI      48813‐9775
JEZ, STANLEY H           15 BRAVER DR                                                                                             TRENTON         NJ      08610‐1307
JEZAK THERESA            JEZAK, THERESA                 28000 WOODWARD AVE STE 201                                                ROYAL OAK       MI      48067‐0962
JEZAK, GAIL I            9761 ROOSEVELT ST                                                                                        TAYLOR          MI      48180‐3636
JEZAK, JAMES F           7017 HUPFER RD                                                                                           FREELAND        MI      48623‐8906
JEZAK, JEFFREY A         1990 GABEL ROAD                                                                                          SAGINAW         MI      48501‐3615
JEZAK, JEFFREY ALAN      1990 GABEL ROAD                                                                                          SAGINAW         MI      48501‐3615
JEZAK, JILL A            6868 WESTSIDE SAGINAW RD                                                                                 BAY CITY        MI      48706‐9325
JEZAK, JILL ANN          6868 WESTSIDE SAGINAW RD                                                                                 BAY CITY        MI      48706‐9325
JEZAK, LESTER J          1777 PARKWAY DR N                                                                                        MAUMEE          OH      43537‐2616
JEZAK, LESTER JOHN       1777 PARKWAY DR N                                                                                        MAUMEE          OH      43537‐2616
JEZAK, WILLIAM B         2738 STATE RD                                                                                            PINCONNING      MI      48650‐7530
JEZDIMIR, JOHN M         23715 BEVERLY ST                                                                                         ST CLAIR SHRS   MI      48082‐2128
JEZEBELL SEAY            801 W DAYTON ST                                                                                          FLINT           MI      48504‐2868
JEZEK VICKIE             7359 SOMERSET LN                                                                                         AUBREY          TX      76227‐3202
JEZEK, FRANK J           109 APACHE TRL                                                                                           ALVARADO        TX      76009‐2623
JEZEK, JENNIFER          3106 STONEWALL STREET                                                                                    SHREVEPORT      LA      71109‐2724
JEZERSKI, MICHAEL S      97 NW MAIN ST                                                                                            DOUGLAS         MA      01516‐2209
JEZESKI DANILLE          JEZESKI, DANILLE               11653 TRAILOR PARK DRIVE                                                  CRANDON         WI      54520
JEZESKI, DANILLE         11653 TRAILER PARK DR                                                                                    CRANDON         WI      54520‐8603
JEZESKI, JOAN            W12611 COUNTY RD W                                                                                       CRIVITZ         WI      54114‐9007
JEZEWSKI, BRADY J        143 WEBSTER MILLS RD                                                                                     CHICHESTER      NH      03258‐6424
                                  09-50026-mg          Doc 7123-20 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                              Address1                        Address2                 Address3   Address4                  City               State Zip
JEZEWSKI, DONALD E                2866 STRIETER DR                                                                              BAY CITY            MI 48706‐2638
JEZEWSKI, FABIAN J                APT 5                           441 NORTH HURON ROAD                                          LINWOOD             MI 48634‐9214
JEZEWSKI, FRANCES G               1720 SPRINGHAVEN CIR NE                                                                       MASSILLON           OH 44646‐2571
JEZEWSKI, FREDRICK F              2749 8 MILE RD                                                                                AUBURN              MI 48611‐9736
JEZEWSKI, GERTRUDE                1707 MICHIGAN AVENUE                                                                          BAY CITY            MI 48708‐4913
JEZEWSKI, JENNIE Z                4667 FRASER RD                                                                                BAY CITY            MI 48706‐9423
JEZEWSKI, LISA M                  1407 LENG ST                                                                                  BAY CITY            MI 48706‐4108
JEZEWSKI, RICHARD H               1423 E KITCHEN RD                                                                             PINCONNING          MI 48650‐9468
JEZEWSKI, ROBERT A                300 S LORENZ RD                                                                               TAWAS CITY          MI 48763‐9740
JEZEWSKI, THEODORE E              4863 BAXMAN RD                                                                                BAY CITY            MI 48706‐2656
JEZEWSKI, WALTER J                PO BOX 75                                                                                     SAINT CLAIR SHORES MI 48080‐0075

JEZEWSKI, WALTER S                508 N BRADLEY ST                                                                              BAY CITY           MI   48706‐3822
JEZEWSKI, WALTER S                508 BRADLEY ST                                                                                BAY CITY           MI   48706‐3822
JEZICH, JAMES N                   7401 COCHISE ST                                                                               WESTLAND           MI   48185‐2345
JEZICH, JAMES NICHOLAS            7401 COCHISE ST                                                                               WESTLAND           MI   48185‐2345
JEZIERSKI, FORREST K              11101 NORTH 143RD EAST AVENUE                                                                 OWASSO             OK   74055‐7253
JEZIERSKI, FORREST KEITH          11101 NORTH 143RD EAST AVENUE                                                                 OWASSO             OK   74055‐7253
JEZIERSKI, LEO E                  5867 PRINCESS ST                                                                              TAYLOR             MI   48180‐1023
JEZIERSKI, RICHARD E              10850 BRIGGS HWY                                                                              CEMENT CITY        MI   49233
JEZIERSKI, RITA                   18394 WEST CAPISTRANO AVENUE                                                                  GOODYEAR           AZ   85338‐4809
JEZIOR MICHAEL                    JEZIOR, MICHAEL                 55 PUBLIC SQ STE 650                                          CLEVELAND          OH   44113‐1909
JEZIORO JR, EDWARD M              1851 HILLPOINTE RD APT 1621                                                                   HENDERSON          NV   89074‐0993
JEZIORO JR, EDWARD MICHAEL        1851 HILLPOINTE RD APT 1621                                                                   HENDERSON          NV   89074‐0993
JEZIORO, JAN C                    495 STARIN AVE                                                                                BUFFALO            NY   14216‐2025
JEZIORO, MARK A                   6 PINE VIEW LN                                                                                LANCASTER          NY   14086‐1150
JEZIORO, MARK ADRIAN              6 PINE VIEW LN                                                                                LANCASTER          NY   14086‐1150
JEZIORO, RAYMOND J                95 FREDRO ST                                                                                  BUFFALO            NY   14206‐3108
JEZIORSKI, MICHAEL R              418 BROWNING DR                                                                               HOWELL             MI   48843‐2061
JEZIORSKI, SIGMUND W              3249 ABBINGTON ST                                                                             JACKSON            MI   49201‐9009
JEZIORSKI, STEVE J                6130 MYRTLE HILL RD                                                                           VALLEY CITY        OH   44280‐9794
JEZO, WILLIAM P                   221 LONGWOOD DR                                                                               JANESVILLE         WI   53548‐3230
JEZOWSKI, DONALD W                2823 8 MILE RD                                                                                AUBURN             MI   48611‐9736
JEZOWSKI, JOANNE G                2804 DANAK DR                                                                                 BAY CITY           MI   48708‐8427
JEZOWSKI, JULIA                   2700 22ND ST                                                                                  BAY CITY           MI   48708‐7616
JEZOWSKI, KENNETH R               PO BOX 14                                                                                     LINWOOD            MI   48634‐0014
JEZOWSKI, LARRY L                 6094 N VASSAR RD                                                                              FLINT              MI   48506‐1236
JEZOWSKI, LARRY LEE               6094 N VASSAR RD                                                                              FLINT              MI   48506‐1236
JEZOWSKI, MICHAEL T               205 W ANDERSON RD                                                                             LINWOOD            MI   48634‐9771
JEZOWSKI, RICHARD W               9424 BUCK RD                                                                                  FREELAND           MI   48623‐9017
JF BENNETT/BOX 46967              PO BOX 46967                                                                                  MOUNT CLEMENS      MI   48046‐6967
JF ELECTRIC                                                       100 LAKE FRONT PKWY                                                              IL   62025
JF ELECTRIC, INC.                 CHRISTOPHER AMMANN              100 LAKE FRONT PKWY                                           EDWARDSVILLE       IL   62025‐2900
JF SOLUTIONS INC                  45399 MAYO DR                                                                                 NORTHVILLE         MI   48167‐2831
JFC & ASSOCIATES                  2005 SAINT MADELEINE DR                                                                       DARDENNE PRAIRIE   MO   63368‐7570

JFC & ASSOCIATES LLC              17630 BRIDGEWAY DR                                                                            CHESTERFIELD       MO   63005‐4217
JFE                               ETHAN TANAKA                    1000 TOWN CTR STE 2430                                        SOUTHFIELD         MI   48075‐1211
JFE STEEL CORPORATION             2‐3 UCHISAIWAI‐CHO 2 CHROME     CHIYODA‐KU                          TOKYO JAPAN
JFK CARDIOLOGY                    80 JAMES ST                                                                                   EDISON             NJ   08820‐3938
JFW INDUSTRIES INC                5134 COMMERCE SQUARE DR                                                                       INDIANAPOLIS       IN   46237‐9738
JG KERN ENTERPRISES INC           PO BOX 79001                    DRAWER 1685                                                   DETROIT            MI   48279‐0002
JGM MACHINERY MOVERS & ERECTORS   10271 N STATE RD                                                                              OTISVILLE          MI   48463‐9402
INC
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Name                            Address1                         Address2                 Address3    Address4                   City               State   Zip
JGM MACHINERY MOVERS INC        10271 N STATE RD                                                                                 OTISVILLE           MI     48463‐9402
JGM MACHINERY MOVERS INC        10271 N STATE RD                 PO BOX 25                                                       OTISVILLE           MI     48463‐9402
JGM VALVE CORPORATION           1155 WELCH RD STE D                                                                              COMMERCE            MI     48390‐2818
                                                                                                                                 TOWNSHIP
JGM/OTISVILLE                   10271 N STATE RD                 P.O. BOX 74                                                     OTISVILLE          MI      48463‐9402
JH BUSCHER INC                  227 F THORN AVE                                                                                  ORCHARD PARK       NY      14127
JH BUSINESS CONSULTANTS         6632 TELEGRAPH ROAD SUITE 191                                                                    BLOOMFIELD HILLS   MI      48301
JH H REDMAN                     1043 DOWAGIAC AVE                                                                                MOUNT MORRIS       MI      48458‐2513
JHA, SACHIDA N                  17720 ROLLING WOODS CIR                                                                          NORTHVILLE         MI      48168‐1890
JHAJJ, GURBAX S                 1185 TERRA LN                                                                                    ROCHESTER          MI      48306‐4818
JHANSON, H L                    1724 LAKEWOOD DR                                                                                 TROY               MI      48083‐5553
JHARHIA BOSTIC                  116 CABOT CT                                                                                     WENTZVILLE         MO      63385‐3836
JHAVERI                         267 ANDREWS ST                                                                                   MASSENA            NY      13662‐3401
JHD PLLC                        2301 14TH ST STE 108                                                                             GULFPORT           MS      39501‐2012
JHE PRODUCTION GROUP            LISA WARD                        6427 SADDLE CREEK CT                                            HARRISBURG         NC      28075‐6660
JHERASIO HOSEY                  120 CONNIE DR                                                                                    GULFPORT           MS      39503‐3254
JHITA, RANJIT S                 360 FOREST CREST DR                                                                              COMMERCE           MI      48390‐1209
                                                                                                                                 TOWNSHIP
JHON MILLER                     3800 GALE RD                                                                                     EATON RAPIDS        MI     48827‐9657
JHOU, JITAI                     30667 KNIGHTON DR                                                                                FARMINGTON HILLS    MI     48331‐5968

JHS BUSINESS ASSOCIATES, INC.   ROBERT SULLINS                   1701 S MISSISSIPPI AVE                                          ATOKA               OK     74525‐3908
JHS GRINDING INC                24700 MOUND RD                                                                                   WARREN              MI     48091‐5332
JHUTUJUGHJK GHJGJ               BHJKGHJKZUIK                                                                                     GHMJGHJK                   bhkjb
JI XIAOHUA                      210 ROGERS RD APT Q302                                                                           ATHENS              GA     30605‐6446
JI, CHUNXIN                     5 SUNBERRY DR                                                                                    PENFIELD            NY     14526‐2826
JI, HAN K                       65 N ALLEN AVE 12                                                                                PASADENA            CA     91106
JI, HAN KYUNG                   65 N ALLEN AVE 12                                                                                PASADENA            CA     91106
JI, LI                          PO BOX 9022                      C/O SHANGHAI                                                    WARREN              MI     48090‐9022
JI, WEI                         4309 BIRCH RUN DR                                                                                TROY                MI     48098‐4339
JI‐XIN SHA                      6330 ORCHARD WOODS DR                                                                            WEST BLOOMFIELD     MI     48324‐3287

JIA ZHANFENG                    935 PIERCE ST # 3                                                                                ALBANY             CA      94706‐1514
JIA, RAYMOND C                  46736 GLENGARRY BLVD                                                                             CANTON             MI      48188‐3045
JIA, RAYMOND CHENGUANG          46736 GLENGARRY BLVD                                                                             CANTON             MI      48188‐3045
JIA, YONGJUN                    735 N MCKNIGHT RD APT D                                                                          SAINT LOUIS        MO      63132‐4927
JIA‐SHIUN CHEN                  9240 COLONY FARMS DR                                                                             PLYMOUTH           MI      48170‐3309
JIACOBBE, ROBERT                1249 WALKER LAKE ONTARIO ROAD                                                                    HILTON             NY      14468‐9110
JIAHE CHEN                      554 W FAIRMOUNT AVE                                                                              PONTIAC            MI      48340‐1602
JIAN CHEN                       7342 EDINBOROUGH                                                                                 WEST BLOOMFIELD    MI      48322‐4031

JIAN JIANG KENNY YANG           1/F, FLAT B, 19 NASSAU STREET    MEI FOO SUN CHUEN                    HONK KONG, CHINA
JIAN LIN                        21727 RIVERVIEW DR                                                                               BEVERLY HILLS       MI     48025‐4868
JIAN TU                         PO BOX 9022                      C/O SHANGHAI                                                    WARREN              MI     48090‐9022
JIAN XU
JIAN ZHANG                      4640 DUNBAR CT                                                                                   OAKLAND             MI     48306‐4721
                                                                                                                                 TOWNSHIP
JIANBO LIU                      27618 MARCIA AVE                                                                                 WARREN              MI     48093‐2825
JIANDE WU                       37583 KINGSBURN DR                                                                               LIVONIA             MI     48152‐4070
JIANG CHEN                      1330 E WALNUT CREEK PKWY                                                                         WEST COVINA         CA     91790‐3128
JIANG QIBO                      APT 303                          13 NORTH STATE STREET                                           EPHRATA             PA     17522‐2741
JIANG TAIXIANG                  303‐832 PLACE DES ROSERAIES                                           SHERBROOKE CANADA PQ J1H
                                                                                                      3A3 CANADA
JIANG XUWEI                     2810 7TH ST                                                                                      BERKELEY            CA     94710
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Name                                 Address1                             Address2                       Address3                    Address4                    City               State   Zip
JIANG, FANGHUI                       6635 HILL TOP DR                                                                                                            TROY                MI     48098‐6517
JIANG, JIE                           45219 JACOB DR                                                                                                              NOVI                MI     48375‐1454
JIANG, RUICHUN                       125 E SQUIRE DR APT 5                                                                                                       ROCHESTER           NY     14623‐1849
JIANG, SHENGBING                     2013 FAIRFIELD DR                                                                                                           ROCHESTER HILLS     MI     48306‐3117
JIANG, XIAOFEI                       333 ECKFORD DR                                                                                                              TROY                MI     48085‐4780
JIANGHUAI AUTO                       NO. 176 DONGLIU ROAD                 HEFEI CITY                                                 ANHUI, CHINA
JIANGLING MOTORS CO GROUP            ATTN: CORPORATE OFFICER/AUTHORIZED   6F GLORIA PLAZA HOTEL 88       YANJIANG NORTH RD           JIANGXI CHINA
                                     AGENT                                                               NANCHANG PR
JIANGUO JU                           1920 COVINGTON WOODS LN                                                                                                     LAKE ORION          MI     48360‐1246
JIANGUO LI                           10536 WHITBY CT                                                                                                             CLARKSTON           MI     48348‐2197
JIANNINEY, BARBARA E                 2509 RED LION RD                                                                                                            BEAR                DE     19701‐2421
JIANNINEY, MICHAEL F                 11 GODWIN RD                                                                                                                NEW CASTLE          DE     19720‐1713
JIANRONG PAN                         2743 SPRINGTIME DR                                                                                                          TROY                MI     48083‐6807
JIANWEN LI                           20221 NORTHVILLE PLACE DR APT 2713                                                                                          NORTHVILLE          MI     48167‐2953
JIANYING SHI                         3783 RED MAPLE CT                                                                                                           OAKLAND             MI     48363‐2669
JIANYONG LI                          884 SNOWMASS DR                                                                                                             ROCHESTER HILLS     MI     48309‐1380
JIAXING MINHUI AUTOMOTIVE            KATHY MITCHELL                       CROSS ROAD OF YAZHONG ROAD &   ZHONGHUAN SOUTH ROAD        TECEMSEH ON CANADA
JIAXING MINHUI AUTOMOTIVE PARTS CO   CROSS ROAD OF YAZHONG ROAD AND                                                                  JIAXING CN 314001 CHINA
                                                                                                                                     (PEOPLE'S REP)
JIAXING MINHUI AUTOMOTIVE PARTS CO   KATHY MITCHELL                       CROSS ROAD OF YAZHONG ROAD &   ZHONGHUAN SOUTH ROAD        TECEMSEH ON CANADA

JIAXING MINHUI AUTOMOTIVE PARTS CO   CROSS ROAD OF YAZHONG ROAD AND       ZHONGHUAN SOUTH ROAD                                       JIAXING 314001 CHINA
                                                                                                                                     (PEOPLE'S REP)
JIAYIN AO                            3185 NEWBURY PL                                                                                                             TROY                MI     48084‐7033
JIBC LINEHAUL INC                    125 GUELPH AVENUE UNIT 3                                                                        CAMBRIDGE ON N3C 1A5
                                                                                                                                     CANADA
JIBOTIAN, EDITH G                    1149 SHADOW RIDGE DR                                                                                                        NILES              OH      44446‐3561
JIBOTIAN, NICK W                     1119 ORLO DR NW                                                                                                             WARREN             OH      44485‐2429
JIBU JOSEPH                          950 RIDGELINE CT                                                                                                            LAKE ORION         MI      48360‐2628
JIBUIKE‐HARRIS, NDIDI U              PO BOX 761                                                                                                                  FREEPORT           NY      11520‐0761
JIC ELEC/DEARBORN                    6900 CHASE RD                                                                                                               DEARBORN           MI      48126‐4504
JICARILLA APACHE TRIBE                                                    RODEO RD #27                                                                                              NM      87528
JICHA, GEORGE J                      4004 SCHILLER AVE                                                                                                           CLEVELAND          OH      44109‐4866
JICHA, JAMES G                       506 QUEENSBURY WAY                                                                                                          ACWORTH            GA      30102‐1792
JICKLING, FRANCES R                  718 S. VAN DYKE                                                                                                             MARLETTE           MI      48453‐9574
JICKLING, FRANCES R                  718 S VAN DYKE RD                                                                                                           MARLETTE           MI      48453‐9574
JIDAS, ERNEST J                      4425 OAKVISTA AVE                                                                                                           CLARKSTON          MI      48346‐3816
JIDAS, FLORENCE A                    3117 INDIANWOOD RD                                                                                                          LAKE ORION         MI      48362‐1117
JIDAS, ROBERT L                      3163 FLEMING PL                                                                                                             FOREST GROVE       OR      97116‐1318
JIDDOU, NADA S                       33552 WALNUT LN                                                                                                             FARMINGTON HILLS   MI      48331‐2238

JIDDOU,NADA S                        33552 WALNUT LN                                                                                                             FARMINGTON HILLS    MI     48331‐2238

JIDE JIN                             6718 WILD RIDGE LN                                                                                                          W BLOOMFIELD        MI     48322‐3878
JIDECO                               DENNIS GARRONE                       C/O TRICO                      1995 BILLY MITCHELL BLVD.   QUERETARO QA 76120
                                                                                                                                     MEXICO
JIDECO OF BARDSTOWN                  TONY BELL                            901 WITHROW CT                                                                         TIPTON              IN     46072
JIE GU                               4865 SPRING MEADOW DR                                                                                                       CLARKSTON           MI     48348‐5154
JIE JIANG                            45219 JACOB DR                                                                                                              NOVI                MI     48375‐1454
JIE SONG                             682 BRIDGE PARK DR                                                                                                          TROY                MI     48098‐1858
JIE XIAO                             3658 HOLLENSHADE DR                                                                                                         ROCHESTER HILLS     MI     48306‐3788
JIE YAO                              #15CD, 123 E 75TH STREET                                                                                                    NEW YORK            NY     10021
JIEBAO USA INC                       3221 W BIG BEAVER RD STE 117         NINGHAI ZHEJIANG PRC                                                                   TROY                MI     48084‐2810
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Name                     Address1                          Address2                         Address3   Address4                   City               State Zip
JIFFY AUTO SERVICE       1300 MARLEAU AVE                                                              CORNWALL ON K6H 2W8
                                                                                                       CANADA
JIFFY AUTO SERVICE       4 MOIRA ST W                                                                  BELLEVILLE ON K8P 1R9
                                                                                                       CANADA
JIFFY AUTO SERVICE       500 STEWART STREET                                                            BROCKVILLE ON K6V 5T4
                                                                                                       CANADA
JIFFY AUTO SERVICE       602 PITT ST                                                                   CORNWALL ON K6J 3R7
                                                                                                       CANADA
JIFFY AUTO SERVICE       425 BERTHA ST                                                                 HAWKESBURY ON K6A 2B1
                                                                                                       CANADA
JIFFY AUTO SERVICE       6749 HWY 62 RR 5                                                              BELLEVILLE ON K8N 4Z5
                                                                                                       CANADA
JIFFY AUTO SERVICE       2280 PRINCESS ST.                                                             KINGSTON ON K7M 3G4
                                                                                                       CANADA
JIFFY AUTO SERVICE       52 MCARTHUR AVE                                                               VANIER ON K1L 6P9 CANADA

JIFFY PRINTS INC         ATTN: BRENT GARRETT               1265 S BELSAY RD                                                       BURTON              MI   48509‐1917
JIFFY‐TITE CO INC        4437 WALDEN AVE                                                                                          LANCASTER           NY   14086‐9754
JIFFY‐TITE CO INC        4437 WALDEN AVE                   JIFFY TITE CORPORATE PARK &                                            LANCASTER           NY   14086‐9754
                                                           PRESERV
JIFFY‐TITE CO INC        CARLA ARCURI                      4437 WALDEN AVE.                                                       ROCHESTER HILLS     MI   48309
JIFFY‐TITE CO., INC.     CARLA ARCURI                      4437 WALDEN AVE.                                                       ROCHESTER HILLS     MI   48309
JIGAR PATEL
JIGAR Y. PATEL           [NULL]                            403 VARUN APARTMENTS,R.M.V                  BANGALORE 560094
                                                           2ND STAGE,NAGSHETIHALI                      THAILAND
JIGAR Y. PATEL
JIGARJIAN, MAUREEN A     166 PHEASANT AVE                                                                                         ARLINGTON          MA    02474‐2025
JIGGETTS, RANDOLPH       74 17TH AVE APT B                                                                                        NEWARK             NJ    07103‐2526
JIH,                     WATTS LAW FIRM                    300 CONVENT STREET BANK OF                                             SAN ANTONIO        TX    78205
                                                           AMERICA PLAZA SUITE 100
JIHAD A ALLAN            3430 RIDGEVIEW CT APT 2201                                                                               ROCHESTER HILLS     MI   48309‐2787
JIHAD ALLAN              3430 RIDGEVIEW CT APT 2201                                                                               ROCHESTER HILLS     MI   48309‐2787
JIHAD HADDAD             50464 TOP OF THE HILL CT                                                                                 PLYMOUTH            MI   48170
JIHAN RYU                3297 EVERETT DR                                                                                          ROCHESTER HILLS     MI   48307‐5070
JIHOON JANG              20710 AMIE AVE APT 221                                                                                   TORRANCE            CA   90503‐3688
JIHUA HUANG              116 SCHOONER CT                                                                                          RICHMOND            CA   94804‐4576
JIHUI YANG               277 FLANDERS RD                                                               WINDSOR ON N8N3G2
                                                                                                       CANADA
JIHYON KIM               247 W 46TH ST APT 3403                                                                                   NEW YORK           NY    10036‐1467
JIJ JPOJO                HINLN                                                                                                    JUHN               AK    58917
JILBERT, BIRCHIE L       1074 MEADOWCREST DR                                                                                      WATERFORD          MI    48327‐2936
JILBERT, JAMES P         647 SLEEPY HOLW                                                                                          MILFORD            MI    48381
JILBERT, RICHARD T       9889 COLFAX DR 4                                                                                         COLUMBIA STATION   OH    44028

JILDA LAFNEAR            613 W CHERRY CREEK RD                                                                                    MIO                MI    48647‐9379
JILEK, PHILIP E          621 CIRCLE AVE                                                                                           FOREST PARK        IL    60130‐1932
JILES CARR JR            12 CORONA DR                                                                                             OKLAHOMA CITY      OK    73149‐1806
JILES DAVID (507537)     COON BRENT W                      PO BOX 4905                                                            BEAUMONT           TX    77704‐4905
JILES FARLEY             3777 LYTLE RD                                                                                            WAYNESVILLE        OH    45068‐9482
JILES HALE JR            3992 FRYTOWN RD                                                                                          DAYTON             OH    45418‐2306
JILES JAMES A (186151)   BROWN TERRELL HOGAN ELLIS         804 BLACKSTONE BLDG , 233 EAST                                         JACKSONVILLE       FL    32202
                         MCCLAMMA & YEGELWEL P.A.          BAY STREET
JILES JOHNNIE S          C/O EDWARD O MOODY P A            801 W 4TH STREET                                                       LITTLE ROCK         AR   72201
JILES JR, GARY D         1135 PELICAN CREEK DR                                                                                    SHREVEPORT          LA   71106‐8539
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Name                                   Address1                               Address2                        Address3   Address4                     City              State   Zip
JILES JR, GARY DALE                    1135 PELICAN CREEK DR                                                                                          SHREVEPORT         LA     71106‐8539
JILES JR, ISRAEL J                     1220 SPAIN ST APT 512                                                                                          NEW ORLEANS        LA     70117‐8373
JILES LYNCH                            573 WITT RD                                                                                                    BOWLING GREEN      KY     42101‐9680
JILES N HALE JR                        3992 FRYTOWN ROAD                                                                                              DAYTON             OH     45418‐2306
JILES N HALE JR.                       3992 FRYTOWN RD                                                                                                DAYTON             OH     45418‐2306
JILES SHELLY                           C/O ESTATE OF RALPH D CAIN             236 CENTRAL HEIGHTS DR                                                  CARROLLTON         GA     30116‐4715
JILES, BOBBY A                         1304 FERNWOOD DR                                                                                               LA FAYETTE         GA     30728‐2004
JILES, DAVID                           COON BRENT W                           PO BOX 4905                                                             BEAUMONT           TX     77704‐4905
JILES, DAVID L                         7432 W 57TH PL                                                                                                 SUMMIT              IL    60501‐1313
JILES, JAMES                           BROWN TERRELL HOGAN ELLIS              804 BLACKSTONE BLDG, 233 EAST                                           JACKSONVILLE       FL     32202
                                       MCCLAMMA & YEGELWEL P.A.               BAY STREET
JILES, JEAN                            140 S 10TH AVE                                                                                                 MOUNT VERNON      NY      10550
JILES, JIM A                           5828 CATBERRY DR                                                                                               SAGINAW           MI      48603‐1657
JILES, JOHNNIE S                       MOODY EDWARD O                         801 W 4TH ST                                                            LITTLE ROCK       AR      72201‐2107
JILES, LAURENCE T                      10490 S LYNN CIR APT D                                                                                         MIRA LOMA         CA      91752
JILES, LEONARD L                       8090 BRADBURY LN                                                                                               GRAND BLANC       MI      48439‐7248
JILES, LEVI B                          506 9TH ST                                                                                                     BAY CITY          MI      48708‐6447
JILES, MARTHA S                        6321 RIVERBEND DR                                                                                              DAYTON            OH      45415‐2670
JILES, MELVIN B                        25710 130TH AVENUE SOUTHEAST                                                                                   KENT              WA      98030‐7991
JILES, MORRIS C                        1160 HEATHERWOOD LN                                                                                            PONTIAC           MI      48341‐3181
JILES, ROBERT                          21 GROSVENOR AVENUE                                                                                            DAYTON            OH      45417‐2512
JILES, ROY C                           320 W MICHAEL DR                                                                                               MIDWEST CITY      OK      73110‐3320
JILES, VELMA                           346 W. 113TH ST.                                                                                               CHICAGO           IL      60628‐4137
JILES, VELMA                           346 W 113TH ST                                                                                                 CHICAGO           IL      60628‐4137
JILG, TERRY L                          3439 S 700 E                                                                                                   GREENFIELD        IN      46140‐9740
JILIN UNIVERSITY                       142 REMIN AVE                          AUTOMOTIVE ENGINEERING                     CHANGCHUN, JILIN PR 130025
                                                                              COLLEGE                                    CHINA
JILIN UNIVERSITY                       NO 2699 QIANJIN AVE                    CHAOYANG DISTRICT                          CHANGCHUN JILIN CN 130012
                                                                                                                         CHINA (PEOPLE'S REP)

JILL A ANDERSON                          7853 SWAMP CREEK RD                                                                                          LEWISBURG         OH      45338‐8703
JILL A ARRINGTON                         PO BOX 53                                                                                                    BOLDER JUNCTION   WI      54512‐0053
JILL A BARNER                            12137 SUNFIELD HWY                                                                                           SUNFIELD          MI      48890‐9014
JILL A BARR                              566 WALKER ST                                                                                                MOUNT MORRIS      MI      48458‐1945
JILL A CORK                              9241 PEET RD                                                                                                 CHESANING         MI      48616‐9758
JILL A JACKSON                           2059 HERITAGE PT DR                                                                                          KETTERING         OH      45409‐2008
JILL A MEHALIC                           131 TIMBERWOOD DRIVE                                                                                         CLINTON           MS      39056‐9631
JILL A PURKEY                            6399 S DIXIE HWY                                                                                             FRANKLIN          OH      45005‐4358
JILL A ROMAN                             591 HYDE PARK DR.                                                                                            DAYTON            OH      45429‐5833
JILL A SEBERT                            3486 TRUMPWOOD                                                                                               BURTON            MI      48519‐1494
JILL A SOMMER                            302 E WATER ST                                                                                               UNION CITY        OH      45390
JILL A STEENGE                           11400 LISBON RD                                                                                              SALEM             OH      44460
JILL A. WELLER, ESQ. , KEATING, MUETHING 1400 PROVIDENT TOWER, ONE EAST 4TH                                                                           CINCINNATI        OH      45202
& KLEKAMP, PLL                           STREET
JILL ADCOCK                              690 W SALZBURG RD                                                                                            AUBURN            MI      48611‐9554
JILL ARANT                               2925 CANONITA DR                                                                                             FALLBROOK         CA      92028‐8771
JILL ARMENTEROS                          17509 SANTA BARBARA DR                                                                                       DETROIT           MI      48221‐2528
JILL ASSELIN                             18273 MANORWOOD NORTH                UNIT 3011                                                               CLINTON TWP       MI      48038
JILL ATTARPOUR                           3815 BOEING DR                                                                                               SAGINAW           MI      48604‐1805
JILL BANASZYNSKI                         120 LAKELAND LN                                                                                              LEONARD           MI      48367‐2954
JILL BARNER                              12137 SUNFIELD HWY                                                                                           SUNFIELD          MI      48890‐9014
JILL BARR                                1380 E PACKINGHAM RD                                                                                         LAKE CITY         MI      49651‐8311
JILL BARRON                              1440 LOVING RD                                                                                               BOWLING GREEN     KY      42101‐9526
JILL BARTISAVITCH                        3841 NORTHWOODS CT.                                                                                          WARREN            OH      44483
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Name                                  Address1                            Address2                Address3   Address4               City               State   Zip
JILL BELANGER                         8364 OAK RIDGE DR                                                                             GOODRICH            MI     48438‐8747
JILL BILLINGSLEY                      5514 WINTHROP BLVD                                                                            FLINT               MI     48505‐5137
JILL BINIEWSKI                        1550 E PARK RD                                                                                GRAND ISLAND        NY     14072‐2334
JILL BLOSSEY                          1511 LINDY DR                                                                                 LANSING             MI     48917‐8634
JILL BOTT                             2860 CHIPPEWA BEACH RD #W                                                                     INDIAN RIVER        MI     49749‐8714
JILL BOYD                             11939 SUSAN AVE                                                                               WARREN              MI     48093‐8341
JILL BRAZEAL                          5219 W CARPENTER RD                                                                           FLINT               MI     48504‐1028
JILL BROWN                            8597 BRIDLEWOOD TRL                                                                           HOWELL              MI     48843‐6334
JILL BURGESS                          2025 PAMELA PL                                                                                LANSING             MI     48911‐1657
JILL BURNETT                          502 ENGLISH RD                                                                                GLOSTER             LA     71030‐3500
JILL C STORCH                         14023 CANTOR CT                                                                               QUEEN ANNE          MD     21657‐1804
JILL CALHOUN                          1916 MACK BENDERMAN RD                                                                        CULLEOKA            TN     38451‐2038
JILL CALHOUN
JILL CARVER                           1033 S COOPER ST                                                                              KOKOMO             IN      46902‐1836
JILL CHAULKLIN                        10280 LAPEER RD                                                                               DAVISON            MI      48423‐8151
JILL CHRISTENSEN                      7442 CALKINS RD                                                                               FLINT              MI      48532‐3006
JILL CHRISTIAN                        305 DOGWOOD LN                                                                                ORTONVILLE         MI      48462‐8478
JILL CLARK                            7973 RIDGE RD                                                                                 GASPORT            NY      14067‐9317
JILL CORK                             9241 PEET RD                                                                                  CHESANING          MI      48616‐9758
JILL CORNWELL                         1925 BEACONGROVE DR                                                                           SAINT LOUIS        MO      63146‐3636
JILL CUMMINGS                         15473 MURRAY RD                                                                               BYRON              MI      48418‐9049
JILL D JOHNSON                        33 KERAN MANOR CT APT B                                                                       GREENWOOD          IN      46142‐3403
JILL D MIDDLETON                      1916 WINTON ST                                                                                MIDDLETOWN         OH      45044‐6909
JILL D. MULLANEY
JILL DALEY                            5711 SHARON DR                                                                                BOARDMAN           OH      44512‐3725
JILL DAMON                            225 E QUINCY ST                                                                               DIMONDALE          MI      48821‐9628
JILL DANIELS                          8146 BARDEN RD                                                                                DAVISON            MI      48423‐2416
JILL DAY                              6570 FORSYTHIA ST                                                                             SPRINGFIELD        VA      22150‐1100
JILL DE RAIN                          530 S M13                                                                                     LENNON             MI      48449
JILL DENNIS                           6563 DEER RIDGE DR                                                                            CLARKSTON          MI      48348‐2805
JILL DI CARLO                         13919 BOURNEMUTH DR                                                                           SHELBY TOWNSHIP    MI      48315‐2865
JILL DRAKE                            35 E SPRING VALLEY PAINTERS RD                                                                XENIA              OH      45385‐9713
JILL DREXEL                           7617 KUHLWEIN RD                                                                              GALLOWAY           OH      43119‐9368
JILL E BOTTORFF                       977 OAKOALE                                                                                   XENIA              OH      45385
JILL E DERICKSON                      6270 STUDEBAKER ROAD                                                                          TIPP CITY          OH      45371‐8502
JILL E JONES                          6516 WILLOW AVE                                                                               RAYTOWN            MO      64133‐5214
JILL E STALEY                         530 DUNNIGAN DR.                                                                              VANDALIA           OH      45377‐2621
JILL F. ENDICOTT, WOODWARD HOBSON &   C/O BULK TERMINALS SITE PRP GROUP   101 S 5TH ST STE 2500                                     LOUISVILLE         KY      40202‐3175
FULTON
JILL FEDEWA                           PO BOX 80141                                                                                  LANSING             MI     48908‐0141
JILL FRIEND                           421 MOORE ST                                                                                  PONTIAC             MI     48342‐1962
JILL GIBBS                            14503 APPLETREE LN                                                                            FENTON              MI     48430‐1434
JILL GILBERT                          1562 LINWOOD ST                                                                               BETHLEHEM           PA     18017
JILL GOURLEY                          552 S 3430 E                                                                                  NEW HARMONY         UT     84757‐5018
JILL GRAVES                           4075 HOLT RD LOT 45                                                                           HOLT                MI     48842‐6013
JILL GREEN                            2934 SUNSHINE RD                                                                              HIGHLAND            MI     48357‐3047
JILL GRIFFIN                          48440 ADAMS DR                                                                                MACOMB              MI     48044‐4941
JILL GRIGNANI                         5900 S ORANGE BLOSSOM TRL                                                                     DAVENPORT           FL     33896‐9540
JILL GRISWOLD                         475 E DAVID HWY                                                                               IONIA               MI     48846‐8417
JILL HAMPTON                          11369 CLARKSTON RD                                                                            ZIONSVILLE          IN     46077‐8729
JILL HARRIS                           5517 LAURENE ST                                                                               FLINT               MI     48505‐2558
JILL HART                             861 9TH ST                                                                                    WYANDOTTE           MI     48192‐2817
JILL HASSEL                           43548 VINTAGE OAKS DR                                                                         STERLING HEIGHTS    MI     48314‐2055
JILL HASTINGS                         11650 PLAZA DR APT 1                                                                          CLIO                MI     48420‐1755
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Name                  Address1                      Address2            Address3         Address4               City            State   Zip
JILL HAWLEY           6218 ROSEDALE RD                                                                          LANSING          MI     48911‐5615
JILL HOLCOMB          1133 YEOMANS ST LOT 174                                                                   IONIA            MI     48846‐1969
JILL HOTZ             10892 TREE LINE DR                                                                        PINCKNEY         MI     48169‐9561
JILL HUNTER           P O BOX 171                                                                               FAYETTE          MS     39069
JILL J THOMISON       1809 5TH ST                                                                               BAY CITY         MI     48708‐6228
JILL JACKSON          3252 HEPFER RD                                                                            LANSING          MI     48911‐2217
JILL JOHNSON          33 KERAN MANOR CT APT B                                                                   GREENWOOD        IN     46142‐3403
JILL JOHNSON          2454 SEMINOLE ST                                                                          DETROIT          MI     48214‐1856
JILL JOHNSON          8212 HENDERSON RD                                                                         GOODRICH         MI     48438‐9777
JILL JULIANO          P. O. BOX 1342                                                                            TROY             MI     48099
JILL K PATTERSON      1023 N LINCOLN ST                                                                         BAY CITY         MI     48708‐6158
JILL KAHLER           1536 GRAEFIELD RD                                                                         BIRMINGHAM       MI     48009‐5844
JILL KANABY           1809 ROWLAND AVE                                                                          ROYAL OAK        MI     48067‐4704
JILL KEPPLER          363 SOUTHERN HILLS DR                                                                     FAIRVIEW         TX     75069‐1257
JILL KETTLER          3170 MAYBEE RD                                                                            LAKE ORION       MI     48359‐1137
JILL KOEHNLEIN        32 KNOLLBROOK RD APT 20                                                                   ROCHESTER        NY     14610‐2150
JILL KOEPFER          11744 JENNINGS DR                                                                         PETERSBURG       MI     49270‐9732
JILL KOZAK            1022 ROLLING GREEN LN                                                                     LANSING          MI     48917‐8606
JILL KRUPKE           501 RHYNER RD                                                                             ALBANY           WI     53502‐9337
JILL KUHN             6576 COUNTRY LANE DR                                                                      DAVISBURG        MI     48350‐2940
JILL L CADDELL‐ODOM   689 ONANDAGO ST                                                                           YPSILANTI        MI     48198‐6180
JILL L CARR           5979 VALLEY BROOK DRIVE                                                                   MIDDLETOWN       OH     45044‐7930
JILL L DAWRS DC INC   210 KAMEHAMEHA AVE                                                                        HILO             HI     96720‐2835
JILL L LADD           507 WESTWOOD AVE                                                                          SYRACUSE         NY     13211‐1228
JILL L MANN           320 LUTHERAN DR                                                                           EATON            OH     45320
JILL LAJDZIAK         921 BALFOUR ST                                                                            GROSSE POINTE    MI     48230‐1815
                                                                                                                PARK
JILL LAMANTIA         1729 SUNRISE DR                                                                           MANSFIELD       OH      44906‐3611
JILL LANE             5286 TIMBER BEND DR                                                                       BRIGHTON        MI      48116‐4798
JILL LEONARD          3915 ARBOR DR                                                                             AUBURN HILLS    MI      48326‐3974
JILL LUBAS            5874 BRIARWOOD COURT                                                                      CLARKSTON       MI      48346‐3171
JILL M BURNETT        502 ENGLISH RD                                                                            GLOSTER         LA      71030‐3500
JILL M CALHOUN        1916 MACK BENDERMAN RD                                                                    CULLEOKA        TN      38451‐2038
JILL M DE RAIN        530 S M13                                                                                 LENNON          MI      48449
JILL M GOULD          P O BOX83                                                                                 NEW CARLISLE    OH      45344‐0083
JILL M GREEN          2934 SUNSHINE RD                                                                          HIGHLAND        MI      48357‐3047
JILL M ROBINSON       108 E FRANKLIN STREET                                                                     CENTERVILLE     OH      45459‐5916
JILL M SMITH          PO BOX 10676                                                                              ROCHESTER       NY      14610
JILL M VAUGHN         5656 FARMERSVILLE RD                                                                      FARMERSVILLE    OH      45325
JILL M WORLEY         1207 BAY HARBOUR CIR                                                                      DAYTON          OH      45458
JILL MALLOY           2 SUMMERFARE ST                                                                           HOOKSETT        NH      03106‐1980
JILL MANN             320 LUTHERAN DR                                                                           EATON           OH      45320‐1621
JILL MASO             3917 NW 85TH TER APT H                                                                    KANSAS CITY     MO      64154
JILL MATTER           2605 S WILLIAMS RD                                                                        SAINT JOHNS     MI      48879‐9176
JILL MAYES            6184 N VASSAR RD                                                                          FLINT           MI      48506‐1238
JILL MAYES            9393 HACKER FARM LN                                                                       CENTERVILLE     OH      45458‐5323
JILL MC COY           15701 UPTON RD                                                                            EAST LANSING    MI      48823‐9445
JILL MCINTOSH         3205 TIMOTHY CIR                                                                          SHREVEPORT      LA      71119‐5329
JILL MEDLYN           956 PINE TREE RD                                                                          LAKE ORION      MI      48362‐2556
JILL MELTON           1185 TRALEE TRL                                                                           DAYTON          OH      45430‐1233
JILL MILES            3063 BAKER HTS                                                                            FLINT           MI      48507‐4538
JILL MILLS            7264 DAVISON RD                                                                           DAVISON         MI      48423‐2010
JILL MIRON            9399 APPLE BLOSSOM CT                                                                     DAVISON         MI      48423‐1197
JILL MOORE            25914 NORMANDY ST                                                                         ROSEVILLE       MI      48066‐5746
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Name                   Address1                          Address2                  Address3   Address4               City               State   Zip
JILL MOSS              422 BEECH ST                                                                                  LANSING             MI     48912‐1102
JILL MURDOCH           8316 N GENESEE RD                                                                             MOUNT MORRIS        MI     48458‐8880
JILL NACY              7092 OAK MEADOWS DR                                                                           CLARKSTON           MI     48348‐4254
JILL NELSON            7039 COLONIAL OAKS DR                                                                         WATERFORD           MI     48327‐4072
JILL NOAH              5913 BRIARWOOD CT                                                                             CLARKSTON           MI     48346‐3174
JILL OLNEY             5096 SLEIGHT RD                                                                               BATH                MI     48808‐8410
JILL ORCUTT            2081 WOODVIEW DR                                                                              WIXOM               MI     48393‐1169
JILL ORTIZ             406 W END ST                                                                                  ALMA                MI     48801‐1125
JILL OSMAN             1890 S 820 W                                                                                  RUSSIAVILLE         IN     46979‐9731
JILL OWEN              17461 DELAWARE AVE                                                                            REDFORD             MI     48240‐2339
JILL P ELEMS           709 S LOOP DR                                                                                 CEDAR HILL          TX     75104‐3100
JILL PALMER            343 THISTLE LN                                                                                TROY                MI     48098‐4644
JILL PAYNE             310 E HOLLAND LAKE DR                                                                         SHERIDAN            MI     48884‐8318
JILL PEDERSEN          230 RUSSELL AVE                                                                               RAHWAY              NJ     07065‐1529
JILL PHILLIPS ORTEGA   7921 COLONY WOODS DR                                                                          TOLEDO              OH     43617‐1872
JILL PIWKO
JILL PLOUGHMAN         8719 W GRAND RIVER RD                                                                         LAINGSBURG         MI      48848‐8749
JILL POCS              3947 SASHABAW RD                                                                              WATERFORD          MI      48329‐2072
JILL PROBE             876 S HURD RD                                                                                 OXFORD             MI      48371‐2838
JILL PRYOR             2975 VIENNA RD                                                                                ERIE               MI      48133‐9777
JILL QUACKENBUSH       PO BOX 3                                                                                      GREENTOWN          IN      46936‐0003
JILL R BROWN           6559 N WINDWOOD DR H                                                                          WEST CHESTER       OH      45069
JILL R HARRIS          5517 LAURENE ST                                                                               FLINT              MI      48505‐2558
JILL R MAYES           9393 HACKER FARM LANE                                                                         CENTERVILLE        OH      45458
JILL R O               5320 SMITH STEWART RD                                                                         GIRARD             OH      44420‐1342
JILL R THOMPSON        367 NORTH ASHLEAF LANE                                                                        BEAVER CREEK       OH      45440
JILL R THORNTON        2406 BEECH ST.                                                                                GAFFNEY            SC      29340
JILL RAPASI            2703 LIGGETT DR                                                                               PARMA              OH      44134‐2603
JILL RAYBURN           1890 S ELBA RD                                                                                LAPEER             MI      48446‐9787
JILL RELFE             413 GEORGE AVE                                                                                MANSFIELD          OH      44907‐1936
JILL RICE              25026 CHAMPLAIGN DR                                                                           SOUTHFIELD         MI      48034‐1256
JILL RICHMAN           RAYMOND JAMES FBO JILL RICHAMAN   2655 LEJANE RD, STE 909                                     CORAL GABLES       FL      33134
JILL ROGERS            4325 MICHAEL AVE                                                                              FORT MOHAVE        AZ      86426‐5385
JILL RUSSELL           PO BOX 2862                                                                                   ANDERSON           IN      46018‐2862
JILL SAGER             35203 KNOLLWOOD LN                                                                            FARMINGTON HILLS   MI      48335‐4697

JILL SAWYER            2418 CHETWOOD CIR APT 101                                                                     TIMONIUM           MD      21093‐2570
JILL SAXALBY           49241 BRODIE CT                                                                               MACOMB             MI      48042‐4842
JILL SCHULTZ           3900 NW 85TH TER APT H                                                                        KANSAS CITY        MO      64154‐2812
JILL SCRUGGS           15 SUMMIT CT                                                                                  MANSFIELD          OH      44906‐3735
JILL SEBERT            3486 TRUMPWOOD                                                                                BURTON             MI      48519‐1494
JILL SLIMMER‐VELEZ     7780 WILDWINGS CT                                                                             BRIGHTON           MI      48116‐8292
JILL SMITH             2608 S WALDEMERE AVE                                                                          MUNCIE             IN      47302‐7521
JILL SMOGER            8563 S SHORE DR                                                                               CLARKSTON          MI      48348‐2677
JILL SNELL             5354 MARTIN COVE RD                                                                           BOKEELIA           FL      33922
JILL SNYDER            6324 TIPPECANOE RD APT 5                                                                      CANFIELD           OH      44406
JILL SORENSON          53570 BRUCE HILL DR                                                                           SHELBY TWP         MI      48316‐2117
JILL STEWART           57763 CIDER MILL DR                                                                           NEW HUDSON         MI      48165‐9482
JILL STORCH            14023 CANTOR CT                                                                               QUEEN ANNE         MD      21657‐1804
JILL SWEENEY           915 MILLPOND CT                                                                               NORTHVILLE         MI      48167‐1070
JILL SWENGROSS         423 QUIET DR                                                                                  SAINT CHARLES      MO      63303‐6420
JILL SWITZER           217 KETTENRING DR                                                                             DEFIANCE           OH      43512‐1751
JILL T SMITH           712 GREYHOUND DR                                                                              NEW LEBANON        OH      45345
JILL THOMISON          1809 5TH ST                                                                                   BAY CITY           MI      48708‐6228
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Name                                  Address1                          Address2                     Address3                  Address4                 City               State   Zip
JILL VIEIRA                           1753 ADDALEEN RD                                                                                                  HIGHLAND            MI     48357‐3005
JILL WALKER                           4448 W. EDGEWAY AVE.                                                                                              GRAND BLANC         MI     48439
JILL WALTER                           52145 W WILDWOOD RD                                                                                               MARICOPA            AZ     85239‐7307
JILL WARNER                           7309 FLAT BUSH SW STREET                                                                                          ALBUQUERQUE         NM     87121
JILL WEISS                            5928 FRASER RD                                                                                                    BAY CITY            MI     48706‐9729
JILL WENICK                           C/O JOHN G SIMON                  THE SIMON LAW FIRM           701 MARKET STREET SUITE                            ST LOUIS            MO     63101
                                                                                                     1450
JILL WHITE                            660 N SHELDON RD                                                                                                  PLYMOUTH            MI     48170‐1047
JILL WILKINSON                        511 BRADFORD CIR APT D                                                                                            KOKOMO              IN     46902‐8432
JILL YAUCH                            5179 WYNDEMERE SQ                                                                                                 SWARTZ CREEK        MI     48473‐8892
JILL ZAK                              6179 KINGSBURY ST                                                                                                 DEARBORN HEIGHTS    MI     48127‐3129

JILL ZINK                             5878 S SKINNER RD                                                                                                 MORGANTOWN         IN      46160‐9310
JILLANA MORRISON                      1961 SANDRA STREET                                                                                                BOWLING GREEN      KY      42101‐9228
JILLANNA MELDRUM                      4011 SPRINGER AVE                                                                                                 ROYAL OAK          MI      48073‐6415
JILLEAN A FREY                        31 OAK BLVD                                                                                                       BELLEVILLE         MI      48111‐4235
JILLEAN FREY                          31 OAK BLVD                                                                                                       BELLEVILLE         MI      48111‐4235
JILLETTA BRADLEY                      1728 I ST                                                                                                         BEDFORD            IN      47421‐4251
JILLETTE JONES                        PO BOX 1827                                                                                                       WARREN             OH      44482‐1827
JILLIAN DOTSON                        1917 SANDRA KAY LN                                                                                                ARLINGTON          TX      76015‐1226
JILLIAN DOUGLAS                       200 MONTECITO TER                                                                                                 SAINT PETERS       MO      63304‐5649
JILLIAN P WILSON                      1368 KUMLER AVE                                                                                                   DAYTON             OH      45406‐5929
JILLIAN VAN BELLE                     3207 FERRIS AVE                                                                                                   ROYAL OAK          MI      48073‐3571
JILLONNE VISNY                        17200 FONTANA LN                                                                                                  LOCKPORT           IL      60441‐4871
JILLSON, GEORGIA                      142 WEST ST APT C1                                                                                                LEOMINSTER         MA      01453
JIM                                   30 LIVONIA PL.#417                                                                       SCARBOROUGH ON M1E 4W7
                                                                                                                               CANADA
JIM
JIM & GLENN'S AUTO SERVICE            5201 POCAHONTAS TRL                                                                                               PROVIDENCE FORGE    VA     23140‐3101

JIM & JANICE BAKER                    C/O EDWARD JONES                  ATTN: TROY D. BROWN          420 S. BROADWAY STE. B                             MOORE               OK     73160
JIM A FANIEL                          4165 ATWOOD RD                                                                                                    BRIDGEPORT          MI     48722‐9551
JIM ADAM                              32 S ESTATE DR                                                                                                    WEBSTER             NY     14580‐2860
JIM ADAMS                             2673 ENGLISH IVY CIR                                                                                              THE VILLAGES        FL     32162‐2060
JIM ADDUCI
JIM AILING                            BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                                      BOSTON HTS.        OH      44236
JIM ALEX SOREL                        5303 IVAN DR APT 112                                                                                              LANSING            MI      48917‐3340
JIM ALEXANDER
JIM ALLEN MEMORIAL FUND               C/O JIM BRADLEY PBG               3500 JACKSON RD                                                                 ANN ARBOR           MI     48103‐1816
JIM ALLOR COMPANY INC                 PO BOX 180233                                                                                                     UTICA               MI     48318‐0233
JIM ALVARADO                          7545 PASSONS BLVD                                                                                                 PICO RIVERA         CA     90660‐4232
JIM AMATO                             2920 IROQUOIS DR                                                                                                  THOMPSONS           TN     37179‐5021
                                                                                                                                                        STATION
JIM AMOS JR                           3431 W 135TH ST                                                                                                   CLEVELAND          OH      44111‐2405
JIM AND JIM'S AUTO CARE                                                 1724 27TH CT S                                                                                     AL      35209
JIM ANDERSON                          7236 ROLLING HILLS BLVD                                                                                           MONTGOMERY         AL      36116‐6058
JIM ARMSTRONG AUTOMOTIVE              2321 US HIGHWAY 70 SW                                                                                             HICKORY            NC      28602‐4732
JIM ARMSTRONG BUICK PONTIAC GM        2321 US HIGHWAY 70 SW                                                                                             HICKORY            NC      28602‐4732
JIM B TINDALL                         11395 N PREBLE COUNTY LINE RD                                                                                     BROOKVILLE         OH      45309‐‐ 96
JIM BAEBLER                           PO BOX 2886                                                                                                       CASTRO VALLEY      CA      94546‐0886
JIM BALL BUICK PONTIAC GMC CADILLAC   JAMES BALL                        3475 SOUTHWESTERN BLVD                                                          ORCHARD PARK       NY      14127‐1507

JIM BALL BUICK PONTIAC GMC CADILLAC   3475 SOUTHWESTERN BLVD                                                                                            ORCHARD PARK        NY     14127‐1507
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JIM BALL HOLDINGS LLC                 3475 SOUTHWESTERN BLVD          ATTN MR JAMES P BALL                                                 ORCHARD PARK     NY     14127‐1507
JIM BALL HOLDINGS, LLC                ATTN: JIM BALL                  3475 SOUTHWESTERN BLVD                                               ORCHARD PARK     NY     14127‐1507
JIM BALL PONTIAC BUICK GMC INC        3475 SOUTHWESTERN BLVD                                                                               ORCHARD PARK     NY     14127‐1507
JIM BALL PONTIAC GMC/COMMERCIAL       JAMES BALL                      1750 WILLIAM FLYNN HWY RT #8                                         GLENSHAW         PA     15116
TRUCKS, L.P.
JIM BALL PONTIAC‐BUICK‐GMC, INC.      JAMES BALL                      3475 SOUTHWESTERN BLVD                                               ORCHARD PARK     NY     14127‐1507
JIM BANKS                             THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                          HOUSTON          TX     77017
JIM BARLOW                            6651 W COUNTY ROAD 400 S                                                                             YORKTOWN         IN     47396‐9698
JIM BARNARD CHEVROLET, INC.           ATT: ALLYN BARNARD, PRESIDENT   7107 BUFFALO ROAD                                                    CHURCHVILLE      NY     14428
JIM BARNARD CHEVROLET, INC.           ALLYN BARNARD                   7101 BUFFALO RD                                                      CHURCHVILLE      NY     14428‐9574
JIM BARNARD CHEVROLET, INC.           7101 BUFFALO RD                                                                                      CHURCHVILLE      NY     14428‐9574
JIM BARNES                            2000 MUSTANG MEADOW DR                                                                               DECATUR          TX     76234‐4538
JIM BARTON                            5375 W 550 N                                                                                         SHARPSVILLE      IN     46068‐9313
JIM BATES                             18759 W BRADY RD                                                                                     OAKLEY           MI     48649‐8795
JIM BATTLES
JIM BAUER
JIM BAUMAN                            9613 RIDDLE ROAD                                                                                     CHESTERFIELD     VA     23832
JIM BENDER                            4637 S MICHELLE ST                                                                                   SAGINAW          MI     48601‐6632
JIM BENDO                             162 W BEVERLY AVE                                                                                    PONTIAC          MI     48340‐2620
JIM BENJAMIN
JIM BILLUPS                           2517 W COURT ST                                                                                      FLINT            MI     48503‐3153
JIM BIRKHEAD                          903 S EDGEFIELD AVE                                                                                  DALLAS           TX     75208‐7221
JIM BISHOP CHEVROLET‐BUICK‐PONTIAC‐   118 HIGHWAY 43 S                                                                                     TUSCUMBIA        AL     35674‐4702

JIM BISHOP CHEVROLET‐BUICK‐PONTIAC‐G JAMES BISHOP                     118 HIGHWAY 43 S                                                     TUSCUMBIA        AL     35674‐4702

JIM BISHOP CHEVROLET‐BUICK‐PONTIAC‐   JAMES BISHOP                    118 HIGHWAY 43 S                                                     TUSCUMBIA        AL     35674‐4702
GMC, INC.
JIM BISHOP CHEVROLET‐BUICK‐PONTIAC‐   118 HIGHWAY 43 S                                                                                     TUSCUMBIA        AL     35674‐4702
GMC, INC.
JIM BLISS                             BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS.     OH      44236
JIM BODE                              PO BOX 12                                                                                            NEWAYGO         MI      49337‐0012
JIM BOLES                             2025 BLADES AVE                                                                                      FLINT           MI      48503‐4211
JIM BOLLINGER                         10286 CALKINS RD                                                                                     SWARTZ CREEK    MI      48473‐9725
JIM BOND                              1930 FAWNWOOD CT SE                                                                                  KENTWOOD        MI      49508‐6514
JIM BOUDREAU'S AUTO REPAIR INC.       2184 MAIN ST                                                                                         TEWKSBURY       MA      01876‐3016
JIM BOWIE                             350 AUBURN AVE                                                                                       PONTIAC         MI      48342‐3204
JIM BRADLEY PONTIAC, BUICK, GMC TRU   3500 JACKSON RD                                                                                      ANN ARBOR       MI      48103‐1816

JIM BRADLEY PONTIAC, BUICK, GMC       WILLIAM PERKINS                 3500 JACKSON RD                                                      ANN ARBOR        MI     48103‐1816
TRUCK, INC.
JIM BRADLEY PONTIAC, BUICK, GMC       3500 JACKSON RD                                                                                      ANN ARBOR        MI     48103‐1816
TRUCK, INC.
JIM BRADY                             33800 AGUA DULCE                                                                                     SANTA CLARITA   CA      91350
JIM BRAY                              7500 MOUNT RANIER 12077                                                                              DAYTON          OH      45424
JIM BRETT                             JIM BRETT                       13 NEPTUNE DR                             ST. CATHARINES ON CANADA

JIM BRINCEFIELD
JIM BROWN                             2664 WADDELL RD                                                                                      ELLENWOOD       GA      30294‐1232
JIM BROWN                             PO BOX 284                                                                                           BOSTWICK        GA      30623‐0284
JIM BROWN CHEVROLET, INC.             JAMES BROWN                     6877 CENTER ST                                                       MENTOR          OH      44060‐4233
JIM BUBECK CHEVROLET, INC.            330 COUNTRYSIDE DR N                                                                                 TROY            OH      45373‐4573
JIM BUFFINGTON JR                     759 WASHINGTON AVE                                                                                   ELYRIA          OH      44035‐3604
JIM BURCHETT                          4953 NW 30TH PL                                                                                      OCALA           FL      34482‐8385
                                      09-50026-mg            Doc 7123-20 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
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Name                                  Address1                        Address2                      Address3          Address4                City               State   Zip
JIM BURKE AUTOMOTIVE, INC.            JAMES BURKE                     1301 5TH AVE N                                                          BIRMINGHAM          AL     35203‐1732
JIM BURKE BUICK‐PONTIAC‐GMC           JAMES BURKE                     1301 5TH AVE N                                                          BIRMINGHAM          AL     35203‐1732
JIM BURKE BUICK‐PONTIAC‐GMC           1301 5TH AVE N                                                                                          BIRMINGHAM          AL     35203‐1732
JIM BURKE CHEVROLET                   1301 5TH AVE N                                                                                          BIRMINGHAM          AL     35203‐1799
JIM BURKE SAAB                        2415 7TH AVE S                                                                                          BIRMINGHAM          AL     35233‐3317
JIM BURKETT                           9534 NORTH COUNTY LINE ROAD                                                                             BROOKVILLE          OH     45309‐8674
JIM BURLEY
JIM BUSI                              1421 ISABELLE PL                                                                WINDSOR ON N8S4R9
                                                                                                                      CANADA
JIM BUTLER
JIM BUTLER CHEVROLET INC              759 GRAVOIS BLUFFS BLVD                                                                                 FENTON             MO      63026‐7719
JIM BUTLER CHEVROLET, INC.            BRAD SOWERS                     759 GRAVOIS BLUFFS BLVD                                                 FENTON             MO      63026‐7719
JIM BUTLER CHEVROLET, INC.            759 GRAVOIS BLUFFS BLVD                                                                                 FENTON             MO      63026‐7719
JIM BUTLER SATURN, INC.               JACQUELINE DUNNE                11157 LINDBERGH BUSINESS CT                                             SAINT LOUIS        MO      63123‐7810
JIM CADET                             266 LIGHTHOUSE LN                                                                                       BRANDON            MS      39047‐7012
JIM CAIN                              NOT AVAILABLE
JIM CANTRELL                          1321 N CHAMBER ESTATES DR                                                                               DELPHI              IN     46923‐8148
JIM CAO                               5560 FIRWOOD DR                                                                                         TROY                MI     48098‐2509
JIM CARDILLO
JIM CARING                            PO BOX 204                                                                                              LEETONIA           OH      44431‐0204
JIM CARLSONS AUTO CENTER              N6411 N HOLMEN DR                                                                                       HOLMEN             WI      54636‐9345
JIM CARTER CLASSIC TRUCK PARTS        JAMES L. CARTER                 1508 E 23RD ST S                                                        INDEPENDENCE       MO      64055‐1657
JIM CASH
JIM CAUSLEY PONTIAC, DIVISION JIM     17677 MACK AVE                                                                                          DETROIT             MI     48224‐1470
CAUSLEY, INC.
JIM CAUSLEY PONTIAC‐GMC TRUCK         38111 S GRATIOT AVE                                                                                     CLINTON TOWNSHIP    MI     48036‐3592

JIM CAUSLEY, INC.                     17677 MACK AVE                                                                                          DETROIT             MI     48224‐1470
JIM CAUSLEY, INC.                     ROBERT CAUSLEY                  38111 S GRATIOT AVE                                                     CLINTON TOWNSHIP    MI     48036‐3592

JIM CAUSLEY, INC.                     JIM CAUSLEY, INC.               17677 MACK AVE                                                          DETROIT             MI     48224‐1470
JIM CHEN
JIM CHYOU                             12330 HICKORY E                                                                                         UTICA               MI     48315‐5861
JIM CLARK AUTO CENTER                 911 GOLDENBELT BLVD                                                                                     JUNCTION CITY       KS     66441‐3963
JIM CLEMONS
JIM CLEVELAND
JIM COATES                            PO BOX 4436                                                                                             KANSAS CITY        KS      66104‐0436
JIM COLEMAN                           126 E LAWRENCE AVE                                                                                      ROYAL OAK          MI      48073‐3448
JIM COLEMAN CADILLAC                  10400 AUTO PARK AVE                                                                                     BETHESDA           MD      20817‐1006
JIM COLLINS
JIM COMBS                             4572 E STRANGE HWY                                                                                      GRAND LEDGE         MI     48837‐9429
JIM COOK                              8682 E 120TH ST                                                                                         SAND LAKE           MI     49343‐8902
JIM COOK'S CHEVROLET‐BUICK‐OLDSMOBI   1075 N MAIN ST                                                                                          MARION              NC     28752‐6372

JIM COOK'S CHEVROLET‐BUICK‐OLDSMOBIL STEPHEN DIRHOLD                  1075 N MAIN ST                                                          MARION              NC     28752‐6372

JIM COOK'S CHEVROLET‐BUICK‐           1075 N MAIN ST                                                                                          MARION              NC     28752‐6372
OLDSMOBILE‐PONTIAC‐GMC
JIM COOKE CAR CENTER                  118 W BRECKINRIDGE ST                                                                                   LOUISVILLE         KY      40203‐2218
JIM COOPERS TIRE AND AUTO SERVICE     14580 GLENDA DR                                                                                         APPLE VALLEY       MN      55124‐7406
JIM COOROUGH                          1904 WOODRUFF BLVD                                                                                      JANESVILLE         WI      53548‐2358
JIM CORNELLIOUS BROWN                 NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT      205 LINDA DRIVE                           DAINGERFIELD       TX      75638
JIM COURT
JIM CRIVELLI CHEVROLET, INC.          108 MCKEES ROCKS PLZ                                                                                    MC KEES ROCKS       PA     15136‐3559
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Name                                  Address1                           Address2                         Address3   Address4               City              State Zip
JIM CROWDER
JIM CULLIGAN, INC.                    8153 MAIN ST                                                                                          BUFFALO           NY    14221‐6032
JIM CULVER                            14395 WORMER                                                                                          REDFORD           MI    48239‐3357
JIM CUMMINGS                          106 GREYROCK DR                                                                                       BOWLING GREEN     KY    42101‐7420
JIM CURLEY PONTIAC BUICK GMC, INC.    JAMES CURLEY                       1399 RIVER AVE                                                     LAKEWOOD          NJ    08701‐5615
JIM CURLEY PONTIAC BUICK GMC, INC.    1399 RIVER AVE                                                                                        LAKEWOOD          NJ    08701‐5615
JIM D CROWDER                         4891 LIVE OAK DR                                                                                      DAYTON            OH    45417
JIM D EWING                           BOX 93                                                                                                PORT WILLIAM      OH    45164‐‐ 00
JIM D LOWERY                          6768 TAYLORSVILLE RD                                                                                  HUBER HEIGHTS     OH    45424
JIM D OGNENOVSKI                      41 BRASSER DR                                                                                         ROCHESTER         NY    14624‐4408
JIM DALEY                             3851 CEMETERY RD                                                                                      KINGSTON          MI    48741‐9723
JIM DALTON PONTIAC JEEP INC           48 MAPLE ST                                                                                           POTSDAM           NY    13676‐1124
JIM DEWS JR                           8925 FRIENDSWOOD DR                                                                                   FORT WORTH        TX    76123‐2721
JIM DEX                               51076 FORSTER LN                                                                                      SHELBY TOWNSHIP   MI    48316‐3869
JIM DODSON                            6512 KLAMATH RD                                                                                       FORT WORTH        TX    76116‐1646
JIM DOHNAL
JIM DORAN CHEVROLET‐OLDSMOBILE, INC   1315 NE 3RD ST                                                                                        MCMINNVILLE       OR    97128‐4304

JIM DORAN CHEVROLET‐OLDSMOBILE, INC. JAMES DORAN                         1315 NE 3RD ST                                                     MCMINNVILLE       OR    97128‐4304

JIM DORAN CHEVROLET‐OLDSMOBILE, INC. 1315 NE 3RD ST                                                                                         MCMINNVILLE       OR    97128‐4304

JIM DOUGLAS AUTO SALES             ATTN: JIM DOUGLAS                     1153 BALDWIN AVE                                                   PONTIAC            MI   48340‐2707
JIM DOUGLAS CHEVROLET CO., INC.    JAMES FORRESTER                       18300 NW US HIGHWAY 441                                            HIGH SPRINGS       FL   32643‐8716
JIM DOUGLAS CHEVROLET CO., INC.    18300 NW US HIGHWAY 441                                                                                  HIGH SPRINGS       FL   32643‐8716
JIM DRAGNA, BINGHAM MCCUTCHEN      355 S GRAND AVE STE 4400                                                                                 LOS ANGELES        CA   90071‐3106
JIM DRAGNA, BINGHAM MCCUTCHEN, C/O 355 S GRAND AVE STE 4400                                                                                 LOS ANGELES        CA   90071‐3106
BKK LANDFILL PRP GROUP
JIM DRAGNA, BINGHAM MCCUTCHEN, C/O 355 S GRAND AVE STE 4400                                                                                 LOS ANGELES        CA   90071‐3106
COOPER DRUM SITE PRP GROUP
JIM DRESSLAR INC                   390 E OLD PLANK RD                                                                                       BARGERSVILLE       IN   46106‐8408
JIM DUNWORTH INC.                  DAVID KAYLOE                          8927 INTERNATIONAL ST                                              SAN ANTONIO        TX   78216‐4702
JIM DUNWORTH INC.
JIM DUNWORTH INC.                  8927 INTERNATIONAL/AIRPORT SECURITY                                                                      SAN ANTONIO        TX   78216
                                   PARKING
JIM DYE JR                         2205 W STOKER DR                                                                                         SAGINAW           MI    48604‐2441
JIM E JONES SR                     BEVAN & ASSOCIATES LPA INC            6555 DEAN MEMORIAL PARKWAY                                         BOSTON HEIGHTS    OH    44236
JIM E RIDENER                      5881 SHAKER RD.                                                                                          FRANKLIN          OH    45005‐4442
JIM EBERLINE                       6706 JAMES RD                                                                                            CASEVILLE         MI    48725‐9781
JIM EDMONDS                        320 SAGAMORE PKWY S                                                                                      LAFAYETTE         IN    47905‐4741
JIM EDWARDS                        3144 E CLEM RD                                                                                           ANDERSON          IN    46017‐9771
JIM ELLER
JIM ELLIS CHEVROLET                5785 PEACHTREE INDUSTRIAL BLVD                                                                           CHAMBLEE          GA    30341‐1920
JIM ELLIS MAZDA ‐ KIA              5855 PEACHTREE INDUSTRIAL BLVD                                                                           ATLANTA           GA    30341‐1628
JIM ELLIS SAAB OF ATLANTA          ELLIS, JR., JAMES W.                  5862 PEACHTREE INDUSTRIAL BLVD                                     ATLANTA           GA    30341‐1629
JIM ELLIS SAAB OF ATLANTA          5862 PEACHTREE INDUSTRIAL BLVD                                                                           ATLANTA           GA    30341‐1629
JIM ELLIS SAAB OF MARIETTA         ELLIS JR., JAMES W                    1141 COBB PKWY S                                                   MARIETTA          GA    30060‐9236
JIM ELLIS SAAB OF MARIETTA         1141 COBB PKWY S                                                                                         MARIETTA          GA    30060‐9236
JIM ELLIS VOLKSWAGEN, INC.         JAMES ELLIS                           5785 PEACHTREE INDUSTRIAL BLVD                                     CHAMBLEE          GA    30341‐1920
JIM ELLIS VOLKSWAGEN, INC.         JAMES ELLIS                           5855 PEACHTREE INDUSTRIAL BLVD                                     CHAMBLEE          GA    30341‐1628
JIM ELSON
JIM ELSWICK
JIM ENGLISH                        2013 MICHIGAN AVE                                                                                        BAY CITY          MI    48708‐8456
JIM EWING                          PO BOX 93                                                                                                PORT WILLIAM      OH    45164‐0093
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Name                                Address1                          Address2                   Address3   Address4               City             State   Zip
JIM F EDDINS IRA ACCT 3041 6453     JIM F EDDINS                      38 PORTER PLACE                                              BLAIRSVILLE       GA     30512
JIM FALK MOTORS                     1201 N 2ND ST                                                                                  CLINTON           MO     64735‐1423
JIM FALK MOTORS OF MAUI             JAMES FALK                        221 S PUUNENE AVE                                            KAHULUI           HI     96732
JIM FALK MOTORS OF MAUI             221 S PUUNENE AVE                                                                              KAHULUI           HI     96732
JIM FALK MOTORS, INC.               JAMES FALK                        1201 N 2ND ST                                                CLINTON           MO     64735‐1423
JIM FANIEL                          4165 ATWOOD RD                                                                                 BRIDGEPORT        MI     48722‐9551
JIM FARLEY
JIM FETS PHOTOGRAPHY                155 LOTHROP RD                    DBA JIM FETS PHOTOGRAPHY                                     GROSSE POINTE     MI     48236‐3527
                                                                                                                                   FARMS
JIM FIELDS                          3401 ENTERPRISE DR                                                                             NORMAN            OK     73026‐5991
JIM FLEMING
JIM FLETCHER                        31545 WINDSOR ST                                                                               GARDEN CITY      MI      48135‐1763
JIM FOREMAN PONTIAC, INC.           DEAN BLAIR                        242 E COLUMBIA ST                                            SPRINGFIELD      OH      45503‐4211
JIM FOUCH
JIM FRAYLICK                        41934 DUXBURY DR                                                                               STERLING HTS     MI      48313‐3415
JIM FRENAK PHOTOGRAPHY INC          2901 AUBURN RD STE 300                                                                         AUBURN HILLS     MI      48326‐3286
JIM FRESARD PONTIAC‐BUICK, INC.     DOUGLAS FRESARD                   21800 WOODWARD AVE                                           FERNDALE         MI      48220‐2517
JIM FRESARD/RYL OAK                 400 N MAIN ST                                                                                  ROYAL OAK        MI      48067‐1813
JIM FULLER                          19499 INTERSTATE 20                                                                            CANTON           TX      75103‐3569
JIM FUOCO MOTOR CO.                 741 N 1ST ST                                                                                   GRAND JUNCTION   CO      81501‐2235
JIM FUOCO MOTOR COMPANY             ROBERT FUOCO                      741 N 1ST ST                                                 GRAND JUNCTION   CO      81501‐2235
JIM FUOCO MOTOR COMPANY             741 N 1ST ST                                                                                   GRAND JUNCTION   CO      81501‐2235
JIM G GRUBB                         2712 SPRINGBROOKE DR                                                                           HURST            TX      76054‐2710
JIM G SEATON                           P.O. BOX 340253                                                                             BEAVERCREEK      OH      45434
JIM G WEBB                          22412 66 AVE NO                                                                                PORT BYRON       IL      61275‐9760
JIM GARDNER                         11955 TOWNLINE RD                                                                              GRAND BLANC      MI      48439‐1628
JIM GARDNER                         12702 E 249TH ST                                                                               PECULIAR         MO      64078‐8937
JIM GAUTHIER
JIM GENTRY                          216 MEEKS RD                                                                                   OKOLONA          AR      71962‐9777
JIM GILL AUTOMOTIVE LLC             908 W LIMA ST                                                                                  KENTON           OH      43326‐1055
JIM GLIDEWELL
JIM GLOVER CHEVROLET                8130 E SKELLY DR                                                                               TULSA             OK     74129‐3410
JIM GOLDSMITH                       3166 SKANDER DR                                                                                FLINT             MI     48504‐1274
JIM GREENE
JIM GREMLING                        4217 ROAD 19                                                                                   CONTINENTAL      OH      45831‐9618
JIM GRIFFIN                         881 CARDINAL RD                                                                                MANSFIELD        TX      76063‐6319
JIM GRUBB                           2712 SPRINGBROOKE DR                                                                           HURST            TX      76054‐2710
JIM GUNTHARP                        3231 E HIGHLAND DR                                                                             JONESBORO        AR      72401
JIM GUSWEILER CHEVROLET‐OLDSMOBILE‐ 1132 STATE ROUTE 41 SW                                                                         WASHINGTON       OH      43160‐8784
                                                                                                                                   COURT HOUSE
JIM GUSWEILER CHEVROLET‐OLDSMOBILE‐ JAMES GUSWEILER                   1132 STATE ROUTE 41 SW                                       WASHINGTON       OH      43160‐8784
PONTIAC‐BUICK‐CAD.‐GMC TRUCK, INC.                                                                                                 COURT HOUSE

JIM GUSWEILER CHEVROLET‐OLDSMOBILE‐ 1132 STATE ROUTE 41 SW                                                                         WASHINGTON       OH      43160‐8784
PONTIAC‐BUICK‐CAD.‐GMC TRUCK, INC.                                                                                                 COURT HOUSE

JIM GUY                             5272 COBBLEGATE BLVD.             APT. A                                                       MORAINE          OH      45439
JIM GUY                             5272 COBBLEGATE BLVD APT A                                                                     MORAINE          OH      45439‐5197
JIM H LAWRENCE                      3660 CASTANO DR.                                                                               DAYTON           OH      45416‐1106
JIM H TALBERT                       1808 HOLIDAY LN                                                                                PORTAGE          MI      49024‐5783
JIM H YATES                         PO BOX 12                                                                                      OAKWOOD          OH      45873‐0012
JIM HADLEY CHEVROLET CADILLAC       GARRY CHANDLER                    600 CLIFTY DR                                                MADISON          IN      47250‐1611
JIM HALES
JIM HAMBLIN                         920 E NORTH F ST                                                                               GAS CITY          IN     46933‐1331
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Name                                   Address1                         Address2                     Address3   Address4                   City             State   Zip
JIM HAMILTON                           701 ATHENS ST                                                                                       SAGINAW           MI     48601‐1433
JIM HANSON                             707 PINE TREE RD                                                                                    LAKE ORION        MI     48362‐2553
JIM HARBIN JR                          PO BOX 1355                                                                                         INTERLACHEN       FL     32148‐1355
JIM HARDMAN PONTIAC‐BUICK‐GMC          1592 BROWNS BRIDGE RD                                                                               GAINESVILLE       GA     30501‐4701
TRUCK
JIM HARDMAN PONTIAC‐BUICK‐GMC          JAMES HARDMAN                    1592 BROWNS BRIDGE RD                                              GAINESVILLE       GA     30501‐4701
TRUCK, INC.
JIM HARDMAN PONTIAC‐BUICK‐GMC          1592 BROWNS BRIDGE RD                                                                               GAINESVILLE       GA     30501‐4701
TRUCK, INC.
JIM HARPER                             2518 BANTAS POINT RD                                                                                WAYZATA          MN      55391
JIM HARRINGTON                         12762 HIGHWAY EE                                                                                    SWEET SPRINGS    MO      65351‐3540
JIM HARRIS                             PO BOX 109                                                                                          EUPORA           MS      39744‐0109
JIM HARRIS                             1955 BISHOP HILL RD                                                                                 CHILLICOTHE      OH      45601‐8435
JIM HARRIS OLDS‐BUICK‐PONTIAC‐GMC T    250 W SHIRLEY AVE                                                                                   WARRENTON        VA      20186‐3009

JIM HARRIS OLDS‐BUICK‐PONTIAC‐GMC      250 W SHIRLEY AVE                                                                                   WARRENTON         VA     20186‐3009
TRUCK
JIM HARRIS, INC.                       JAMES HARRIS                     250 W SHIRLEY AVE                                                  WARRENTON        VA      20186‐3009
JIM HART                               BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.      OH      44236
JIM HARTZFELD                          34041 S. 524 THE PLACE.                                                                             JAY              OK      74346
JIM HAYS                               1215 SHELBY AVE                                                                                     ALEXANDRIA       IN      46001‐2546
JIM HENDRIX AUTO                       145 SAINT MATTHEWS AVE                                                                              LOUISVILLE       KY      40207‐3118
JIM HERNANDEZ                          557 N OVID ST                                                                                       ELSIE            MI      48831‐9622
JIM HERRING JR                         4413 CAMPBELL LN                                                                                    BIRMINGHAM       AL      35207‐1709
JIM HIEBERT                            3510 CHRISIDE DR                                                                                    CORPUS CHRISTI   TX      78415
JIM HILL                               55 BRIARLEIGH DR                                                                                    BRUNSWICK        OH      44212‐1428
JIM HOERNER
JIM HOFFPAUIR, INC.                    JAMES HOFFPAUIR                  802 N KEY AVE                                                      LAMPASAS          TX     76550‐1123
JIM HOFFPAUIR, INC.                    802 N KEY AVE                                                                                       LAMPASAS          TX     76550‐1123
JIM HOGG COUNTY                        PO BOX 160                                                                                          HEBBRONVILLE      TX     78361‐0160
JIM HOGG ISD                           PO BOX 88                                                                                           HEBBRONVILLE      TX     78361‐0088
JIM HOGG WCID #2                       PO BOX 148                                                                                          HEBBRONVILLE      TX     78361‐0148
JIM HORNER                             953 SPROULE CRES.                                                        OSHAWA ON L1K 2C8 CANADA

JIM HOSKINS                            8289 OLD HAGGARD RD                                                                                 MORGANTOWN        IN     46160‐8900
JIM HOWARD                             127 VISTA DEL LAGO ST                                                                               HENDERSON         NV     89015‐8551
JIM HUDSON BUICK, PONTIAC, GMC‐SAAB    7201 GARNERS FERRY RD                                                                               COLUMBIA          SC     29209‐2108

JIM HUDSON BUICK, PONTIAC, GMC‐SAAB,   KEITH HUDSON                     7201 GARNERS FERRY RD                                              COLUMBIA          SC     29209‐2108
INC.
JIM HUDSON BUICK, PONTIAC, GMC‐SAAB,   7201 GARNERS FERRY RD                                                                               COLUMBIA          SC     29209‐2108
INC.
JIM HUDSON CHEVROLET‐OLDSMOBILE,       LYNNE HUDSON                     441 BLUE RIVER PKWY                                                SILVERTHORNE      CO     80498
INC.
JIM HUDSON SAAB                        HUDSON, KEITH E.                 7201 GARNERS FERRY RD                                              COLUMBIA          SC     29209‐2108
JIM HUDSON SAAB                        7201 GARNERS FERRY RD                                                                               COLUMBIA          SC     29209‐2108
JIM HURST
JIM HUTCHINGS
JIM IMMEL                              5908 NW 56TH ST                                                                                     OKLAHOMA CITY    OK      73122‐6107
JIM IVY                                6700 OAK HILL TRL NE                                                                                ROCKFORD         MI      49341‐8925
JIM J KUCHARSKY                        8618 TIMBER PARK DR                                                                                 CENTERVILLE      OH      45458
JIM J WILLIAMS                         1911 MARY CATHERINE ST                                                                              YPSILANTI        MI      48198‐6246
JIM JACKSON JR.                        15360 KENTUCKY ST                                                                                   DETROIT          MI      48238‐1713
JIM JACOBY                             9962 VINE RD                                                                                        BREINIGSVILLE    PA      18031
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Name                                 Address1                        Address2                       Address3      Address4               City             State   Zip
JIM JARD CHEVROLET GMC               820 GESSNER RD                  STE FL18                                                            HOUSTON           TX     77024‐4289
JIM JARROTT YOCOM                    MOTLEY RICE LLC                 28 BRIDGESIDE BLVD             PO BOX 1792                          MT PLEASANT       SC     29465
JIM JASIONOWSKI                      BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS.       OH     44236
JIM JILES                            5828 CATBERRY DR                                                                                    SAGINAW           MI     48603‐1657
JIM JOHNSON                          42 S LAKE GEORGE RD                                                                                 ATTICA            MI     48412‐9789
JIM JOHNSON PONTIAC‐NISSAN           2200 SCOTTSVILLE RD                                                                                 BOWLING GREEN     KY     42104‐4106
JIM JOHNSON PONTIAC‐NISSAN, INC.     2200 SCOTTSVILLE RD                                                                                 BOWLING GREEN     KY     42104‐4106
JIM JONES                            3959 SPRUCE DR                                                                                      LEWISTON          MI     49756‐8619
JIM JORDAN & ASSOCIATES LLP          12941 NORTH FWY STE 226                                                                             HOUSTON           TX     77060‐1242
JIM JOYCE
JIM JUREWICZ                         1291 S GROVE ST                                                                                     YPSILANTI         MI     48198‐6452
JIM JURJEVIC                         C/O COONEY AND CONWAY           120 NORTH LASALLE 30TH FLOOR                                        CHICAGO           IL     60602
JIM KATSIRIS                         10070 ROBLYN CIR                                                                                    DIMONDALE         MI     48821‐9691
JIM KELLY                            916 KIRK ST                                                                                         ORLANDO           FL     32808‐7535
JIM KELLY                            916 KIRK STREET                                                                                     ORLANDO           FL     32808
JIM KEMINK                           5126 WILSON AVE SW                                                                                  WYOMING           MI     49418‐9701
JIM KERAS BUICK CO., INC.            BENJAMIN KERAS                  2000 COVINGTON PIKE                                                 MEMPHIS           TN     38128‐6982
JIM KERAS CHEVROLET                  PO BOX 280809                                                                                       MEMPHIS           TN     38168‐0809
JIM KERAS CHEVROLET‐MEMPHIS          2080 COVINGTON PIKE                                                                                 MEMPHIS           TN     38128‐6982
JIM KHOURY                           17434 LEAFDALE CT                                                                                   MACOMB            MI     48044‐5565
JIM KNIGHT
JIM KOESTNER, INC.                   JOHN KOESTNER                   218 N MAIN ST                                                       PLAINWELL        MI      49080‐1352
JIM KOESTNER, INC.                   218 N MAIN ST                                                                                       PLAINWELL        MI      49080‐1352
JIM KOLODZIEJ                        5514 OTTO PL                                                                                        OAK LAWN         IL      60453‐1650
JIM KOUKOUDIAN                       20869 KENMORE AVE                                                                                   HARPER WOODS     MI      48225‐1722
JIM KUCHARSKY                        8618 TIMBER PARK DR                                                                                 CENTERVILLE      OH      45458‐2068
JIM KUTZMAN                          134 TAYLOR RD                                                                                       ROCKFIELD        KY      42274‐9608
JIM L BROWN                          4270 POSSUM RUN RD.                                                                                 DAYTON           OH      45440
JIM L DEMARS                         220 WEST 2ND STREET                                                                                 MILTONVALE       KS      67466
JIM L HARTMAN                        372 THOMAS DR.                                                                                      FRANKLIN         OH      45005
JIM L HIEBERT                        3510 CRESTSIDE DR                                                                                   CORPUS CHRISTI   TX      78415
JIM L OLIVER                         8728 HIGHWAY 79                                                                                     LOUISIANA        MO      63353‐3211
JIM L WILSON                         3063 HARDWOOD HEIGHTS RD                                                                            PRESCOTT         MI      48756
JIM LACOUR
JIM LARSON
JIM LAWRENCE                         3660 CASTANO DR                                                                                     DAYTON           OH      45416‐1106
JIM LEGAL                            6267 E MOUNT HOPE HWY                                                                               GRAND LEDGE      MI      48837‐9411
JIM LEWIS JR                         12036 KENNEBEC ST                                                                                   DETROIT          MI      48205‐3252
JIM LOCKE                            1520 COVERT RD                                                                                      LESLIE           MI      49251‐9394
JIM LONG                             617 S APPERSON WAY                                                                                  KOKOMO           IN      46901‐5432
JIM LONGWAY
JIM LOVETT                           94 NETTIE AVE                                                                                       LANSING          MI      48906‐2314
JIM LOWE                             1825 RONDO ST SE                                                                                    KENTWOOD         MI      49508‐4903
JIM LUNDY                            908 N LINDSAY ST                                                                                    KOKOMO           IN      46901‐3227
JIM LUPIENT BPG/LUPIENT              7100 WAYZATA BLVD                                                                                   GOLDEN VALLEY    MN      55426‐1616
JIM LUPIENT BUICK, PONTIAC‐GMC                                                                                                           GOLDEN VALLEY    MN      55426‐1616
JIM LUPIENT BUICK, PONTIAC‐GMC       7100 WAYZATA BLVD                                                                                   GOLDEN VALLEY    MN      55426‐1616
JIM LUPIENT O‐G/GE CAPITAL           3 CAPITAL DR                                                                                        EDEN PRAIRIE     MN      55344‐3890
JIM LUPIENT O‐G/LEASE PLAN           7100 WAYZATA BLVD                                                                                   GOLDEN VALLEY    MN      55426‐1616
JIM LUPIENT O‐G/LUPIENT              7100 WAYZATA BLVD                                                                                   GOLDEN VALLEY    MN      55426‐1616
JIM LUPIENT O‐G/NCR                  7100 WAYZATA BLVD                                                                                   GOLDEN VALLEY    MN      55426‐1616
JIM LUPIENT OLDSMOBILE CO.           BARBARA LUPIENT                 7100 WAYZATA BLVD                                                   GOLDEN VALLEY    MN      55426‐1616
JIM LUPIENT SATURN INC./DONLEN COR   2315 SANDERS RD                                                                                     NORTHBROOK       IL      60062‐6108
                                      09-50026-mg            Doc 7123-20 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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JIM LUPIENT SATURN INC./DONLEN CORP   2315 SANDERS RD                                                                                      NORTHBROOK         IL 60062‐6108

JIM LUPIENT SATURN, INC.              JAMES LUPIENT                   1701 AMERICAN BLVD W                                                 BLOOMINGTON      MN   55431‐1402
JIM LYNCH CADILLAC, INC.              JAMES LYNCH                     9091 DUNN RD                                                         HAZELWOOD        MO   63042‐2005
JIM LYNCH CADILLAC, INC.              9091 DUNN RD                                                                                         HAZELWOOD        MO   63042‐2005
JIM M JOHNSON                         37 E BEVERLY AVE                                                                                     PONTIAC          MI   48340‐2611
JIM MADLO                             1767 SHEFFIELD DR                                                                                    YPSILANTI        MI   48198‐3633
JIM MAHONWY
JIM MALOTT VENDING SVC                ATTN: JAMIE THOMPSON            1402 S NIAGARA ST # A                                                SAGINAW          MI   48602‐1385
JIM MALTS                             67584 HIDDEN OAK LN                                                                                  WASHINGTON TWP   MI   48095‐1837

JIM MANN                            6101 BELSAY RD                                                                                         GRAND BLANC      MI   48439‐9701
JIM MARSHALL                        3314 N 155TH ST                                                                                        BASEHOR          KS   66007‐9540
JIM MARTIN CHEVROLET OLDSMOBILE CAD 7400 N ALGER RD                                                                                        ALMA             MI   48801‐1073

JIM MARTIN CHEVROLET OLDSMOBILE       JAMES MARTIN                    7400 N ALGER RD                                                      ALMA             MI   48801‐1073
CADILLAC, INC.
JIM MARTIN CHEVROLET OLDSMOBILE       7400 N ALGER RD                                                                                      ALMA             MI   48801‐1073
CADILLAC, INC.
JIM MATHIS                            25008 LEHIGH ST                                                                                      DEARBORN HTS     MI   48125‐1639
JIM MATTHEWS CHEVROLET, INC.          JAMES MATTHEWS                  2545 VESTAL PKWY E                                                   VESTAL           NY   13850‐2020
JIM MAURER                            526 PARK ST                                                                                          HARRISON         MI   48625‐9222
JIM MAZEDIS                           39 VALLEY VIEW DRIVE                                                                                 COURTDALE        PA   18704
JIM MCCALL                            3289 BLUEBIRD DR                                                                                     SAGINAW          MI   48601‐5705
JIM MCCLARTY
JIM MCCLEMENT R & R AUTO              R R #2                                                                  KILLALOE ON K0J 2A0 CANADA

JIM MCCOMB CHEVROLET INC              3622 N UNIVERSITY ST                                                                                 PEORIA           IL   61604‐1327
JIM MCCOMB CHEVROLET, INC.            GARY UFTRING                    3622 N UNIVERSITY ST                                                 PEORIA           IL   61604‐1327
JIM MCCOMB CHEVROLET, INC.            3622 N UNIVERSITY ST                                                                                 PEORIA           IL   61604‐1327
JIM MCDANIELS                         3303 W. SAGINAW                                                                                      LANSING          MI   48917
JIM MCELROY                           2241 LAFAYETTE AVE                                                                                   KANSAS CITY      KS   66104‐4632
JIM MCKAY CHEVROLET, INC.             KATHLEEN MCKAY                  3509 UNIVERSITY DR                                                   FAIRFAX          VA   22030‐2313
JIM MCKAY CHEVROLET, INC.             3509 UNIVERSITY DR                                                                                   FAIRFAX          VA   22030‐2313
JIM MCMILLAN                          BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS       OH   44236
JIM MILLER                            1001 BARKER LN                                                                                       BEREA            KY   40403
JIM MITCHELL                          3271 W 200 S                                                                                         MARION           IN   46953‐9163
JIM MONAHAN
JIM MOORE                             BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS       OH   44236
JIM MOORE CADILLAC, INC.              JAMES MOORE                     2222 MAIN ST                                                         COLUMBIA         SC   29201‐2134
JIM MOORE CADILLAC, INC.              2222 MAIN ST                                                                                         COLUMBIA         SC   29201‐2134
JIM MOORE JR                          1412 HOLLAND AVE                                                                                     YOUNGSTOWN       OH   44505‐3112
JIM MOORE MOTORS, INC.                JOHN MOORE                      2581 E MARKET ST                                                     NAPPANEE         IN   46550‐9396
JIM MOORE MOTORS, INC.                2581 E MARKET ST                                                                                     NAPPANEE         IN   46550‐9396
JIM MORGAN                            556 PURDUE AVE                                                                                       YOUNGSTOWN       OH   44515‐4122
JIM MORIKAWA                          21345 HAWTHORNE BLVD UNIT 126                                                                        TORRANCE         CA   90503‐5664
JIM MORRISON                          1453 MINTOLA AVENUE                                                                                  FLINT            MI   48532‐4046
JIM MULDOON/DAYTON                    23 WAYNE AVE                                                                                         DAYTON           OH   45402‐2122
JIM M▄LLER                            ZH5HZ5
JIM MURPHY PONTIAC BUICK GMC, INC.    JAMES MURPHY                    3000 WALDEN AVE                                                      DEPEW            NY   14043‐2608

JIM MURPHY PONTIAC BUICK GMC, INC.    3000 WALDEN AVE                                                                                      DEPEW            NY   14043‐2608

JIM MURPHY PONTIAC‐GMC TRUCK          3000 WALDEN AVE                                                                                      DEPEW            NY   14043‐2608
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Name                                 Address1                        Address2                      Address3       Address4               City               State   Zip
JIM MURRELL                          5195 ALEXANDRIA PIKE                                                                                ANDERSON            IN     46012‐9573
JIM MUSGROVE                         930 WINTERWOOD CT                                                                                   ARLINGTON           TX     76017‐6139
JIM MYLES                            105 ANGELEE ST                                                                                      MINDEN              LA     71055‐4637
JIM NOVAK                            BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS          OH     44236
JIM O'NEIL
JIM O'REILLY
JIM OKONIEWSKI                       PO BOX 405                                                                                          OTISVILLE          MI      48463‐0405
JIM OLIVER                           8728 HIGHWAY 79                                                                                     LOUISIANA          MO      63353‐3211
JIM OLSON MOTORS, INC.               JAMES OLSON                     632 GREEN BAY RD                                                    STURGEON BAY       WI      54235‐3039
JIM OLSON MOTORS, INC.               632 GREEN BAY RD                                                                                    STURGEON BAY       WI      54235‐3039
JIM OSBORN REPRODUCTIONS, INC.       SUSAN OSBORN                    101 RIDGECREST DR                                                   LAWRENCEVILLE      GA      30045‐4794
JIM OSSMAN                           BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS         OH      44236
JIM OSTRAND                          34510 COASTAL DR                                                                                    STERLING HEIGHTS   MI      48310‐5562
JIM OVERTON                          193 SIOUX TRL                                                                                       JACKSBORO          TN      37757‐5134
JIM OVERTON                          193 SIOUX TRAIL                                                                                     JACKSBORO          TN      37757‐5134
JIM P SWIDER                         215 E 5TH ST                                                                                        TILTON             IL      61833‐7424
JIM PACE PONTIAC, INC.                                                                                                                   NILES              OH      44446‐4354
JIM PACE PONTIAC, INC.               JAMES PACE                      430 YOUNGSTOWN WARREN RD                                            NILES              OH      44446‐4354
JIM PACE PONTIAC, INC.               430 YOUNGSTOWN RD                                                                                   NILES              OH      44446
JIM PAPPAS                           2113 BOLLEY DR                                                                                      LANSING            MI      48912‐5121
JIM PARKER                           4479 DYE RD                                                                                         SWARTZ CREEK       MI      48473‐8258
JIM PARKER                           3450 N COMMERCE ST APT 307                                                                          ARDMORE            OK      73401‐1536
JIM PATE                             19508 ROSE AVE                                                                                      TEHACHAPI          CA      93561‐8938
JIM PATTERSON & WANDA PATTERSON JT   409 N PARK                                                                                          GUTHRIE            OK      73044
TEN
JIM PENNACHIO
JIM PERNA
JIM PETTY & SONS ENTERPRIZES INC     PO BOX 457                                                                                          FLINT               MI     48501‐0457
JIM PHIBBS AUTO SERVICE              215 AGNES RD                                                                                        KNOXVILLE           TN     37919‐6309
JIM PHILLIPS                         1604 PRIMROSE LN                                                                                    KOKOMO              IN     46901‐2521
JIM PIEFER                           PO BOX 34                                                                                           DRYDEN              MI     48428‐0034
JIM PITTMAN
JIM PLOWMAN                          COMMONWEALTH ATTORNEY           20 E. MARKET STREET                                                 LEESBURG           VA      20176
JIM PRICE CHEVROLET                  2150 SEMINOLE TRL                                                                                   CHARLOTTESVILLE    VA      22901‐8302
JIM QUINLAN CHEVROLET CO.            JAMES BENDER                    15005 US HIGHWAY 19 N                                               CLEARWATER         FL      33764‐7163
JIM R FORBES                         NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPT            205 LINDA DR                          DAINGERFIELD       TX      75638
JIM RAINBOLT                         16699 PEACOCK LN                                                                                    HASLETT            MI      48840‐9136
JIM RASH                             1235 S LOCKE ST                                                                                     KOKOMO             IN      46902‐1742
JIM RATCLIFF                         4312 LIME QUAT DR                                                                                   WIMAUMA            FL      33598‐4512
JIM RATHMANN CHEVROLET, INC.         800 S HARBOR CITY BLVD                                                                              MELBOURNE          FL      32901‐1907
JIM RAY MARTIN                       THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                         HOUSTON            TX      77017
JIM RAYSIK, INC.                     JIM RAYSIK                      210 S 2ND ST                                                        CLINTON            MO      64735‐2104
JIM RAYSIK, INC.                     210 S 2ND ST                                                                                        CLINTON            MO      64735‐2104
JIM REED                             1668 N 600 E                                                                                        ELWOOD             IN      46036‐8546
JIM REED CHEVROLET COMPANY           JOHN REED                       1512 BROADWAY                                                       NASHVILLE          TN      37203‐3122
JIM REED CHEVROLET COMPANY           1512 BROADWAY                                                                                       NASHVILLE          TN      37203‐3122
JIM RHOMBERG
JIM RIDENER                          5881 SHAKER RD                                                                                      FRANKLIN           OH      45005‐4442
JIM RIEGER
JIM RIEHL'S FRIENDLY AUTOMOTIVE      JAMES RIEHL, JR.                18900 HALL RD                                                       CLINTON TOWNSHIP    MI     48038‐6909
GROUP, INC.
JIM RIEHL'S FRIENDLY CADILLAC        18900 HALL RD                                                                                       CLINTON TOWNSHIP    MI     48038‐6909
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Name                                  Address1                          Address2                 Address3    Address4               City             State Zip
JIM RIEHL'S FRIENDLY HUMMER           18900 HALL RD                                                                                 CLINTON TOWNSHIP MI 48038‐6909

JIM ROBERTSON CHEVROLET, INC          JAMES ROBERTSON                   3607 N BALTIMORE ST                                         KIRKSVILLE      MO    63501‐5128
JIM ROBERTSON CHEVROLET, INC          3607 N BALTIMORE ST                                                                           KIRKSVILLE      MO    63501‐5128
JIM ROBINSON JR                       19631 APPLETON ST                                                                             DETROIT         MI    48219‐1719
JIM ROTHE                             2400 MAPLEWOOD ST                                                                             SYLVAN LAKE     MI    48320‐1648
JIM RUSH GMC TRUCK CO.                JAMES RUSH                        3111 S SPRINGFIELD AVE                                      BOLIVAR         MO    65613‐9136
JIM RUSH GMC TRUCK CO.                3111 S SPRINGFIELD AVE                                                                        BOLIVAR         MO    65613‐9136
JIM RUSSELL                           9021 HILTON DR                    C/O CONNIE RUSSELL                                          SHREVEPORT      LA    71118‐2403
JIM RYAN CHEVROLET, INC.              KATHLEEN GADDIE                   1800 S BROADWAY                                             MINOT           ND    58701‐6506
JIM S WHINERY                         C/O BRAYTON PURCELL               222 RUSH LANDING RD                                         NOVATO          CA    94948‐6169
JIM S WHINERY, PERSONAL               C/O BRAYTON PURCELL               222 RUSH LANDING RD                                         NOVATO          CA    94948‐6169
REPRESENTATIVE FOR GLENNA J WHINERY

JIM SALERNO PONTIAC BUICK GMC TRUCK 1005 STATE ROUTE 10                                                                             RANDOLPH         NJ   07869‐1805

JIM SALERNO PONTIAC BUICK GMC TRUCK 1005 STATE ROUTE 10                                                                             RANDOLPH         NJ   07869‐1805
INC
JIM SALERNO PONTIAC‐BUICK‐GMC       1005 STATE ROUTE 10                                                                             RANDOLPH         NJ   07869‐1805
JIM SALERNO PONTIAC‐BUICK‐GMC TRUCK 1005 STATE ROUTE 10                                                                             RANDOLPH         NJ   07869‐1805

JIM SALERNO PONTIAC‐BUICK‐GMC TRUCK, JAMES SALERNO                      1005 STATE ROUTE 10                                         RANDOLPH         NJ   07869‐1805
INC
JIM SALERNO PONTIAC‐BUICK‐GMC TRUCK, 1005 STATE ROUTE 10                                                                            RANDOLPH         NJ   07869‐1805
INC
JIM SALERNO PONTIAC‐BUICK‐GMC, INC.  1005 STATE ROUTE 10                                                                            RANDOLPH         NJ   07869‐1805

JIM SALINAS
JIM SALINAS                         3329 CORTEZ ST                                                                                  LAREDO           TX   78043‐4105
JIM SAMMONS                         140 SCHOONER BEND AVE                                                                           SUMMERVILLE      SC   29483‐5385
JIM SCHMIDT CHEVROLET‐PONTIAC‐BUICK 575 W HIGH ST                                                                                   HICKSVILLE       OH   43526‐1037

JIM SCHMIDT CHEVROLET‐PONTIAC‐BUICK, JAMES SCHMIDT                      575 W HIGH ST                                               HICKSVILLE       OH   43526‐1037
INC.
JIM SCHMIDT CHEVROLET‐PONTIAC‐BUICK, 575 W HIGH ST                                                                                  HICKSVILLE       OH   43526‐1037
INC.
JIM SCHROEDER                        JIM SCHROEDER                      2655 AMES HAVEN RD       N/A                                KISSIMMEE        FL   34744‐6203
JIM SEIBERT AUTOMOTIVE SERVICE       2 CINCHRIS DR                                                                                  FAIRFIELD        OH   45014‐2254
CENTER
JIM SHARICK                          936 ELYWOOD DR                                                                                 ELYRIA           OH   44035‐3601
JIM SHEDDEN                          2309 S RIDGE CRT                                                                               BEAVERCREEK      OH   45434
JIM SHENFISH
JIM SHEPHERD                         13173 N NORTHWOOD DR                                                                           CAMBY            IN   46113‐8467
JIM SHORT                            8084 N COUNTY ROAD 875 W                                                                       MIDDLETOWN       IN   47356‐9348
JIM SHURLOW                          13787 OAKES RD                                                                                 PERRY            MI   48872‐9133
JIM SIGEL AUTOMOTIVE CENTER          1601 NE 7TH ST                                                                                 GRANTS PASS      OR   97526‐1317
JIM SIGEL ENTERPRISES, INC.          JEFFREY SIGEL                      1601 NE 7TH ST                                              GRANTS PASS      OR   97526‐1317
JIM SIMMONS                          621 S 28TH ST                                                                                  SAGINAW          MI   48601‐6547
JIM SLAWSON                          3016 WEST DEBORAH DRIVE                                                                        MONROE           LA   71201‐2072
JIM SLOAN                            1769 DUNCAN RD                                                                                 COMMERCE         GA   30530‐7025
JIM SMITH                            8989 W BUSINESS 83 LOT C10                                                                     HARLINGEN        TX   78552
JIM SMITH CHEVROLET SALES INC.       2500 STATE ROUTE 208                                                                           WALDEN           NY   12586‐2816
JIM SOELLNER                         28198 WILDWOOD LN                                                                              DANBURY          WI   54830‐9157
JIM SOLDINI
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JIM SOREL                             5303 IVAN DR APT 112                                                                           LANSING         MI 48917‐3340
JIM SPENCE OLDSMOBILE, CADILLAC, GM   800 N TURNER ST                                                                                HOBBS           NM 88240‐5147

JIM SPENCE OLDSMOBILE, CADILLAC, GMC, JANICE SPENCE                    800 N TURNER ST                                               HOBBS          NM    88240‐5147
NISSAN, INC.
JIM SPENCE OLDSMOBILE, CADILLAC, GMC, 800 N TURNER ST                                                                                HOBBS          NM    88240‐5147
NISSAN, INC.
JIM SPRADLIN                          3639 HAMILTON PL                                                                               ANDERSON        IN   46013
JIM STANFILL                          2294 RIDGMAR PLZ APT 106                                                                       FORT WORTH      TX   76116‐2354
JIM STANLEY                           16539 E HIGHWAY 175                                                                            KEMP            TX   75143‐4391
JIM STARLING
JIM STEWART
JIM STEWART                           2236 BANCROFT STREET                                                                           SAGINAW        MI    48601‐2072
JIM STIDHAM                           20535 S RIDGEVIEW RD                                                                           SPRING HILL    KS    66083‐8781
JIM STIRLING MOTORS, INC.             JOHN STIRLING                    1100 VANDERCOOK WAY                                           LONGVIEW       WA    98632‐4025
JIM STONE'S SERVICE INC.              225 W LEXINGTON AVE                                                                            ELKHART        IN    46516‐3129
JIM STOPLETON                         1919 RT 46 S                                                                                   JEFFERSON      OH    44047
JIM STUTZMAN CHEVROLET‐CADILLAC CO JAMES STUTZMAN                      2700 VALLEY AVE                                               WINCHESTER     VA    22601‐2628

JIM STUTZMAN CHEVROLET‐CADILLAC‐BUI 2700 VALLEY AVE                                                                                  WINCHESTER     VA    22601‐2628

JIM STUTZMAN CHEVROLET‐CADILLAC‐      2700 VALLEY AVE                                                                                WINCHESTER     VA    22601‐2628
BUICK
JIM STUTZMAN CHEVROLET‐CADILLAC‐      2700 VALLEY AVE                                                                                WINCHESTER     VA    22601‐2628
BUICK‐GEO
JIM SULIKOWSKI                        35700 HUNTER AVE APT 122                                                                       WESTLAND       MI    48185‐6666
JIM SWAFFIELD I I                     1904 BORTON AVE                                                                                ESSEXVILLE     MI    48732‐1505
JIM SWITZER                           2041 BELFORD AVE                                                                               PLACENTIA      CA    92870‐1906
JIM T TERRY                           1720 NORTH BLVD.                                                                               FAIRBORN       OH    45324‐3124
JIM TACKETT                           20275 KISER RD                                                                                 DEFIANCE       OH    43512‐6744
JIM TALBERT                           1808 HOLIDAY LN                                                                                PORTAGE        MI    49024‐5783
JIM TARWATER                          R 2 BOX 41                                                                                     HUMANSVILLE    MO    65674
JIM TAYLOR                            C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                     HOUSTON        TX    77007
                                      BOUNDAS LLP
JIM TAYLOR AUTOMOTIVE                 2250 ASPINWALL ST STE C                                                                        SARASOTA       FL    34237‐6150
JIM TAYLOR CHEVROLET, L.L.C.          JAMES TAYLOR                     139 GRIMSHAW ST                                               RAYVILLE       LA    71269‐5522
JIM TAYLOR CHEVROLET, L.L.C.          139 GRIMSHAW ST                                                                                RAYVILLE       LA    71269‐5522
JIM TAYLOR CHEVROLET, OLDSMOBILE,     JAMES TAYLOR                     2520 SAINT CHARLES                                            FORT BENTON    MT    59442
PONTIAC, GMC TRUCK, INC.
JIM TAYLOR MOTORS                     2520 SAINT CHARLES                                                                             FORT BENTON    MT    59442
JIM TEMCHENKO                         2098 CLIFFORD AVENUE                                                                           ROCHESTER      NY    14609‐3742
JIM TERRY                             1720 NORTH BLVD                                                                                FAIRBORN       OH    45324‐3124
JIM THOMPSON                          6662 GOODWIN RD                                                                                LYONS          MI    48851‐9716
JIM THOMPSON                          103 NORTHWOOD DR                                                                               SYRACUSE       NY    13211‐1313
JIM THOMPSON JR                       3512 STATE ROUTE 5                                                                             NEWTON FALLS   OH    44444‐9763
JIM TILLMON JR                        2943 BARTH ST                                                                                  FLINT          MI    48504‐3051
JIM TINDALL                           11395 PREBLE COUNTY LINE RD                                                                    BROOKVILLE     OH    45309‐9614
JIM TRAUB
JIM TRENARY CHEVROLET OF TROY         200 PROFESSIONAL PKWY                                                                          TROY           MO    63379‐2833
JIM TRENARY CHEVROLET, INC.           JAMES TRENARY                    501 AUTO MALL DR                                              O FALLON       MO    63368‐2204
JIM TRENARY CHEVROLET, INC.           501 AUTO MALL DR                                                                               O FALLON       MO    63368‐2204
JIM TRENARY OF TROY, INC.             JAMES TRENARY                    200 PROFESSIONAL PKWY                                         TROY           MO    63379‐2833
JIM TRENARY OF UNION, INC             JAMES TRENARY                    1000 N CHURCH ST                                              UNION          MO    63084‐1208
JIM TRENARY OF UNION, INC             1000 N CHURCH ST                                                                               UNION          MO    63084‐1208
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Name                                Address1                       Address2                         Address3   Address4               City              State Zip
JIM TUCKER
JIM TURLEY                          2324 S 8TH ST                                                                                     KANSAS CITY       KS    66103‐1802
JIM TURNAS                          4466 SINGH DR                                                                                     STERLING HTS      MI    48310‐5100
JIM ULRICH MOTORS, INC.             HWY 19 S                                                                                          CROCKETT          TX    75835
JIM UNDERWOOD                       BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS        OH    44236
JIM UNUSSEE                         PO BOX 408                                                                                        CHAPEL HILL       TN    37034‐0408
JIM USZYNSKI                        BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS        OH    44236
JIM VALENTINE                       9265 DIXIE HYWY                                                                                   BIRCH RUN         MI    48415
JIM VAN DYKE'S AUTOMOTIVE CENTER    2247 US HIGHWAY 22 SW                                                                             WASHINGTON        OH    43160‐8652
                                                                                                                                      COURT HOUSE
JIM VETTER CHEVROLET‐BUICK, INC.    JAMES VETTER                   15241 M‐60 W                                                       THREE RIVERS      MI    49093
JIM VETTER CHEVROLET‐BUICK, INC.    15241 M‐60 W                                                                                      THREE RIVERS      MI    49093
JIM VITCENDA                        2790 SUNFLOWER DR                                                                                 FITCHBURG         WI    53711‐7633
JIM W BATTS JR                      C/O BRAYTON PURCELL            222 RUSH LANDING RD                                                NOVATO            CA    94948‐6169
JIM W RODERIQUE MD PC               955 SPRING ST NW               DBA THE RODERIQUE CENTRE FOR H                                     ATLANTA           GA    30309‐3821
JIM WALDRON PONT‐BU‐GMC TR., INC.   1146 S STATE RD                                                                                   DAVISON           MI    48423‐1906

JIM WALDRON PONTIAC‐BUICK‐GMC      1146 S STATE RD                                                                                    DAVISON            MI   48423‐1906
TRUCK
JIM WALDRON PONTIAC‐BUICK‐GMC      JAMES WALDRON                   1146 S STATE RD                                                    DAVISON            MI   48423‐1906
TRUCK, INC.
JIM WALDRON PONTIAC‐BUICK‐GMC      1146 S STATE RD                                                                                    DAVISON            MI   48423‐1906
TRUCK, INC.
JIM WALKER                         35 DORRIS AVE                                                                                      BUFFALO           NY    14215‐3205
JIM WALLACE & ASSOCIATES LLC       PO BOX 18089                                                                                       SARASOTA          FL    34276‐1089
JIM WARD                           BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS        OH    44236
JIM WASHINGTON                     3117 S CO RD 67                                                                                    MIDLAND CITY      AL    36350
JIM WATSON                         12550 CELINA RD                                                                                    BURKESVILLE       KY    42717‐8716
JIM WEAVER                         17909 RUBY RD                                                                                      TUOLUMNE          CA    95379
JIM WEBER                          2229 MANZANITA CT.                                                                                 LODI              CA    95242
JIM WELBORN                        195 COX RD                                                                                         SMITHS GROVE      KY    42171‐8711
JIM WELLS COUNTY APPRISAL DISTRICT PO BOX 607                                                                                         ALICE             TX    78333‐0607
JIM WERNIG, INC.                   JAMES WERNIG                    2401 OLD US 27 S                                                   GAYLORD           MI    49735
JIM WERNIG, INC.                   2401 OLD US 27 S                                                                                   GAYLORD           MI    49735
JIM WESTON (NICKERSON)             22555 SE STARK ST                                                                                  GRESHAM           OR    97030‐2678
JIM WESTON PON BUICK GMC/NICKERSON 22555 SE STARK ST                                                                                  GRESHAM           OR    97030‐2678
FLEET
JIM WILLARD                        350 S JOHNSON RD                                                                                   SEBRING           OH    44672‐1702
JIM WILLETTE                       32681 S MACK HAVEN DR                                                                              DRUMMOND ISLAND   MI    49726‐8503

JIM WILLIAMS                        1103 S GROVE ST                                                                                   YPSILANTI          MI   48198‐6448
JIM WILLIAMS                        830 EDMUND ST                                                                                     FLINT              MI   48505‐3925
JIM WILLIAMS                        8358 S HAMILTON AVE                                                                               CHICAGO            IL   60620‐6024
JIM WILLIAMS
JIM WILLIAMS MOTEL                  ATTN: RAJ PATEL                3821 DIVISION AVE S                                                GRAND RAPIDS       MI   49548‐3290
JIM WILSON                          3284 W SHERMAN AVE                                                                                FLINT              MI   48504‐1408
JIM WINTER AUTO CARE                3011 N 73RD ST                                                                                    SCOTTSDALE         AZ   85251
JIM WINTER AUTOMOTIVE GROUP         3303 W MICHIGAN AVE                                                                               JACKSON            MI   49202‐1834
JIM WINTER BUICK‐PONTIAC‐GMC‐       RICHARD WALICKI                3303 W MICHIGAN AVE                                                JACKSON            MI   49202‐1834
CADILLAC, INC.
JIM WISKER                          1434 AARON DR W                                                                                   SHELBYVILLE        IN   46176‐3198
JIM WREN                            27810 PALMER LN                                                                                   MADISON HEIGHTS    MI   48071‐4518

JIM YODER                           BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS        OH    44236
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Name                                  Address1                         Address2                          Address3                   Address4                   City             State   Zip
JIM YORK AND MARY ANN YORK            5749 S EUNICE AVE                                                                                                        FRESNO            CA     93706
JIM YOUNKIN                           BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                                              BOSTON HTS        OH     44236
JIM ZOIS                              5400 RED COACH RD                                                                                                        DAYTON            OH     45429‐6114
JIM'S ALIGNMENT & BRAKE, INC.         2335 WATERLOO RD                                                                                                         STOCKTON          CA     95205‐2914
JIM'S AUTO & TRUCK REPAIR             718 N CARR RD                                                                                                            PLAINFIELD        IN     46168‐9602
JIM'S AUTO CARE                       13401 STATE STREET                                                                                                       GRABILL           IN     46741
JIM'S AUTO CLINIC                     1460 W GURLEY ST                                                                                                         PRESCOTT          AZ     86305‐2855
JIM'S AUTO REPAIR                     65 MILL ST                                                                                                               MARLBOROUGH       MA     01752
JIM'S AUTO REPAIR                     69 MILWAUKEE RD                                                                                                          SAINT MARIES      ID     83861‐2407
JIM'S AUTO SERVICE CENTER             113 N 3RD ST                                                                                                             HAMILTON          OH     45025‐0001
JIM'S AUTOMOTIVE & AIR CONDITIONING   18460 MATANZAS RD                                                                                                        FORT MYERS        FL     33967‐6136

JIM'S AUTOMOTIVE EXPERTS INC.         102 W MAIN ST                                                                                                            EVERSON          WA      98247‐8250
JIM'S CAR CARE CENTER                 730 MEADOWCREEK LN                                                                                                       GARLAND          TX      75043‐2947
JIM'S GARAGE                          1710 N 9TH STREET RD                                                                                                     LAFAYETTE        IN      47904
JIM'S HI TECH AUTO REPAIR             11 SWEETNAM DRIVE                                                                             STITTSVILLE ON K2S 1G2
                                                                                                                                    CANADA
JIM'S INDEPENDENT GM REPAIR           4321 SHERIDAN BLVD                                                                                                       DENVER            CO     80212‐7334
JIM'S MOBIL SERVICE                   12401 W CLEVELAND AVE                                                                                                    NEW BERLIN        WI     53151‐4001
JIM'S REPAIR, INC.                    1921 500TH ST                                                                                                            HAWARDEN          IA     51023‐7520
JIM'S SERVICE CENTER                  635 NORTON ST                                                                                                            ROCHESTER         NY     14621‐3517
JIM'S SERVICE CENTRE                  378 WELLAND AVE                                                                               ST CATHARINES ON L2R 2R3
                                                                                                                                    CANADA
JIM'S TANK/TN                         PO BOX 281431                                                                                                            MEMPHIS           TN     38168‐1431
JIM'S TIRE & AUTO SERVICE             1205 S ROCK RD                                                                                                           WICHITA           KS     67207‐3319
JIMBO ROBINSON JR                     1531 N JENISON AVE                                                                                                       LANSING           MI     48915‐1524
JIMENEZ ALEX AND LINDA                210 WILDFLOWER CIR                                                                                                       CACHE             OK     73527‐9232
JIMENEZ ALFREDO (657421)              BRAYTON PURCELL                  PO BOX 6169                                                                             NOVATO            CA     94948‐6169
JIMENEZ AMBER                         JIMENEZ, ALEJANDRO               1713 W US HIGHWAY 50 LOT 33                                                             O FALLON          IL     62269‐1659
JIMENEZ AMBER                         JIMENEZ, AMBER                   1713 W US HIGHWAY 50 LOT 33                                                             O FALLON          IL     62269‐1659
JIMENEZ AMBER                         JIMENEZ, PRISCILLA               1713 W US HIGHWAY 50 LOT 33                                                             O FALLON          IL     62269‐1659
JIMENEZ ANTONIO                       9205 PONDVIEW DR                                                                                                         DALLAS            TX     75217‐2524
JIMENEZ DAVID J (429188)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                             NORFOLK           VA     23510
                                                                       STREET, SUITE 600
JIMENEZ ESTELA                        413 E ZENAIDA                                                                                                            MCALLEN           TX     78504‐1683
JIMENEZ FRANK                         1923 THOM ST                                                                                                             FLINT             MI     48506‐2860
JIMENEZ GEORGE                        200 MURLS LAKE RD TRLR 17                                                                                                WEATHERFORD       TX     76085‐9042
JIMENEZ GRAFFAM & LAUSELL             SUITE 505 MIDTOWN BLDG           421 MUNOZ RIVERA AVE                                                                    HATO REY          PR     00918
JIMENEZ GUSTAVO                       IZQUERDE, IRMA                   ONE ALLEN CENTER , 500 DALLES                                                           HOUSTON           TX     77002
                                                                       STREET SUITE 2600
JIMENEZ GUSTAVO                       JIMENEZ, GUSTAVO                 ONE ALLEN CENTER , 500 DALLES                                                           HOUSTON           TX     77002
                                                                       STREET SUITE 2600
JIMENEZ GUSTAVO                       JIMENEZ, GUSTAVO                 111 E COMMERCE ST                                                                       SAN ANTONIO       TX     78205‐2226
JIMENEZ GUSTAVO                       JIMENEZ, GUSTAVO                 2511 N SAINT MARYS ST                                                                   SAN ANTONIO       TX     78212‐3739
JIMENEZ GUSTAVO                       TAVOS AUTOMOTIVE                 2511 N SAINT MARYS ST                                                                   SAN ANTONIO       TX     78212‐3739
JIMENEZ HECTOR (ESTATE OF) (473549)   BARON & BUDD                     3102 OAK LANE AVE , SUITE 1100                                                          DALLAS            TX     75219
JIMENEZ JACQUELINE J                  JIMINEZ, JACQUELINE J            1700 PLEASURE HOUSE RD STE 102A                                                         VIRGINIA BEACH    VA     23455‐4062
JIMENEZ JOSE J                        JIMENEZ, JOSE J                  1950 SAWTELLE BLVD STE 245                                                              LOS ANGELES       CA     90025‐7017
JIMENEZ JOSE J                        JIMENEZ, CARMEN E                CONSUMER LEGAL SERVICES         1950 SAWTELLE BLVD ‐ SUITE                              LOS ANGELES       CA     90025
                                                                                                       245
JIMENEZ JR, EMILIO                    259 FAR AWAY ST                                                                                                          HENDERSON         NV     89074‐8775
JIMENEZ JR, FREDERICO H               1332 N WALNUT ST                                                                                                         LANSING           MI     48906‐4738
JIMENEZ LYDIA                         JIMENEZ, LYDIA                   30 EAST BUTLER PIKE , SUITE 310                                                         AMBLER            PA     19002
JIMENEZ RACING                        8323 SOUTHWEST FWY STE 390                                                                                               HOUSTON           TX     77074‐1616
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Name                          Address1                      Address2                        Address3   Address4               City               State   Zip
JIMENEZ RALPH                 840 S HOSPITAL RD                                                                               WATERFORD           MI     48327‐3904
JIMENEZ SONIA                 JIMENEZ, SONIA                20502 CAHSE ST                                                    WINNETKA            CA     91306
JIMENEZ SR, JUAN              6520 BELL RD                                                                                    BIRCH RUN           MI     48415‐9048
JIMENEZ TIRE REPAIRS INC      ATTN: JESUS JIMENEZ           121 E MONTCALM ST                                                 PONTIAC             MI     48342‐1354
JIMENEZ XAVIER                JIMENEZ, DALIA                55 PUBLIC SQ STE 650                                              CLEVELAND           OH     44113‐1909
JIMENEZ XAVIER                JIMENEZ, XAVIER               55 PUBLIC SQ STE 650                                              CLEVELAND           OH     44113‐1909
JIMENEZ, ABEL B               15580 OLDEN ST                                                                                  SYLMAR              CA     91342‐1242
JIMENEZ, ALBERT               818 N BYFIELD ST                                                                                WESTLAND            MI     48185‐8501
JIMENEZ, ALEJANDRO            806 73RD CT                                                                                     HINSDALE             IL    60521
JIMENEZ, ALEXANDE G           4512 W PLEASANT LN                                                                              LAVEEN              AZ     85339‐1934
JIMENEZ, ALFRED               1050 TROTWOOD LN                                                                                FLINT               MI     48507‐3709
JIMENEZ, ALFREDO              BRAYTON PURCELL               PO BOX 6169                                                       NOVATO              CA     94948‐6169
JIMENEZ, ANAY                 20160 NW 79TH AVE                                                                               HIALEAH             FL     33015‐6612
JIMENEZ, ANNA M               5 WOODVIEW DR                                                                                   LAKE SAINT LOUIS    MO     63367‐2213
JIMENEZ, ARMANDO              10633 MATADOR DRIVE                                                                             MCKINNEY            TX     75070‐2954
JIMENEZ, ARTHUR               2700 S OUTER DR                                                                                 SAGINAW             MI     48601‐6650
JIMENEZ, AURORA               410 5TH AVE                                                                                     COLUMBIA            TN     38401‐2818
JIMENEZ, BENJAMIN D           1781 ARLINGTON BOULEVARD                                                                        ANN ARBOR           MI     48104‐4105
JIMENEZ, BERTHA V             PO BOX 174                                                                                      PIRU                CA     93040
JIMENEZ, CARMEN E             CONSUMER LEGAL SERVICES       1950 SAWTELLE BLVD STE 245                                        LOS ANGELES         CA     90025‐7017
JIMENEZ, CAROL                8426 W AUDREY LN                                                                                PEORIA              AZ     85382‐8052
JIMENEZ, CAROLLYN E           1012 LATTY ST                                                                                   DEFIANCE            OH     43512‐2941
JIMENEZ, CAROLLYN ELIZABETH   1012 LATTY ST                                                                                   DEFIANCE            OH     43512‐2941
JIMENEZ, CRUZ                 220 YONKERS AVE APT 15G       C/O CARMEN M JIMENEZ                                              YONKERS             NY     10701‐6211
JIMENEZ, CRUZ S               14622 STATE ROUTE 249                                                                           NEY                 OH     43549‐9740
JIMENEZ, DAISY                2046 117TH LN NE                                                                                BLAINE              MN     55449‐5455
JIMENEZ, DANIEL               30 COVE HOLLOW RD                                                                               FAIRFIELD           PA     17320‐9797
JIMENEZ, DAVID A              1667 WOODHURST DR                                                                               DEFIANCE            OH     43512‐3441
JIMENEZ, DAVID J              GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA     23510‐2212
                                                            STREET, SUITE 600
JIMENEZ, DAVID P              150 W PINEWOOD AVE                                                                              DEFIANCE           OH      43512‐3579
JIMENEZ, DAVID PILAR          150 W PINEWOOD AVE                                                                              DEFIANCE           OH      43512‐3579
JIMENEZ, DELIA                3301 WATFORD WAY                                                                                PALMDALE           CA      93551‐3548
JIMENEZ, DIANA                PO BOX 4273                                                                                     KANEOHE            HI      96744‐8273
JIMENEZ, DON JUAN
JIMENEZ, EDGAR J              927 LONDONDERRY DR D                                                                            HIGH POINT         NC      27265
JIMENEZ, EDUARDO              PAUL & JANOFSKY               1401 OCEAN AVENUE , SUITE 200                                     SANTA MONICA       CA      90401
JIMENEZ, EDUARDO J            1021 N PASS AVE                                                                                 BURBANK            CA      91505‐2437
JIMENEZ, ELIAS                564 JADINE DR                                                                                   DEFIANCE           OH      43512‐1382
JIMENEZ, ENEDINA M            105 N H ST APT 14                                                                               IMPERIAL           CA      92251‐1203
JIMENEZ, ENRICE               1624 HERBERT ST                                                                                 LANSING            MI      48910‐1513
JIMENEZ, ERNESTO              1000 COLUMBUS AVE                                                                               DEFIANCE           OH      43512‐3137
JIMENEZ, ESTEBAN M            401 1ST AVE                                                                                     PONTIAC            MI      48340‐2802
JIMENEZ, EULALIO              4633 ROSE OF SHARON LN                                                                          FORT WORTH         TX      76137‐1823
JIMENEZ, EVELYN               512 S 12TH ST                                                                                   SAGINAW            MI      48601‐1909
JIMENEZ, EVELYN               512 S 12TH                                                                                      SAGINAW            MI      48601‐1909
JIMENEZ, FEDERICO             24328 ROSEBUD AVE                                                                               EASTPOINTE         MI      48021‐1188
JIMENEZ, FELIMON A            7140 WADSWORTH RD                                                                               SAGINAW            MI      48601‐9668
JIMENEZ, FERNANDO             1226 WORTHINGTON AVE                                                                            CLAIRTON           PA      15025
JIMENEZ, FILEMON              431 S 30TH ST                                                                                   SAGINAW            MI      48601‐6430
JIMENEZ, FRANCISCO D          1923 THOM ST                                                                                    FLINT              MI      48506‐2860
JIMENEZ, GENERO               5429 COCHRAN ST APT 59                                                                          SIMI VALLEY        CA      93063
JIMENEZ, GEORGE               2214 TIMBERWOOD CT                                                                              DAVISON            MI      48423‐9532
JIMENEZ, GEORGE M             3318 DENTON WAY                                                                                 SAN JOSE           CA      95121‐1334
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Name                          Address1                           Address2                        Address3   Address4                   City            State Zip
JIMENEZ, GINA                 25325 BANNER SCHOOL RD                                                                                   DEFIANCE         OH 43512‐9689
JIMENEZ, GINA M               1049 JEWEL PL NE                                                                                         ALBUQUERQUE      NM 87123‐1884
JIMENEZ, GIOVANNI
JIMENEZ, GUILLERMO            5193 DOWNS WAY                                                                                           NORCROSS        GA   30093‐2430
JIMENEZ, GUILLERMO C          PO BOX 1837                                                                                              FRIENDSWOOD     TX   77549‐1837
JIMENEZ, GUSTAVO              4361 MARGERY DR                                                                                          FREMONT         CA   94538‐2609
JIMENEZ, HECTOR EST           BARON & BUDD                       3102 OAK LANE AVE, SUITE 1100                                         DALLAS          TX   75219
JIMENEZ, HECTOR L             1630 PILCHARD CT                                                                                         POINCIANA       FL   34759‐4732
JIMENEZ, JANICE K             14622 STATE ROUTE 249                                                                                    NEY             OH   43549‐9740
JIMENEZ, JESSE                7889 DITCH RD                                                                                            CHESANING       MI   48616‐9782
JIMENEZ, JESSE L              4190 ALVIN ST                                                                                            SAGINAW         MI   48603‐3005
JIMENEZ, JOE L                311 DALE DR                                                                                              SAN JOSE        CA   95127‐3214
JIMENEZ, JOHNNY               1688 DAKOTA PL                                                                                           DEFIANCE        OH   43512‐4020
JIMENEZ, JOSE A               255 VIA MARABELLA                  APT 121                                                               NEWBURY PARK    CA   91320
JIMENEZ, JOSE A               255 VIA MIRABELLA APT 121                                                                                NEWBURY PARK    CA   91320‐7324
JIMENEZ, JOSE G               1539 PAREE ST                                                                                            NEWPORT         MI   48166‐9253
JIMENEZ, JOSE J               CONSUMER LEGAL SERVICES            1950 SAWTELLE BLVD STE 245                                            LOS ANGELES     CA   90025‐7017
JIMENEZ, JOSE J               1462 ROSE CENTER RD                                                                                      FENTON          MI   48430‐8513
JIMENEZ, JOSEPH               1041 TRIPLE CROWN DR                                                                                     FORT WORTH      TX   76179‐2327
JIMENEZ, JUAN                 1032 S EL MOLINO ST                                                                                      ALHAMBRA        CA   91801‐4906
JIMENEZ, JUAN B               7622 IRWIN PINES CT                                                                                      FORT WAYNE      IN   46804‐7855
JIMENEZ, JUAN E               2554 SHILSHONE WAY                                                                                       SAN JOSE        CA   95121‐2773
JIMENEZ, KARIN                PO BOX 682                                                                                               ANGEL FIRE      NM   87710‐0682
JIMENEZ, KELLY ANN            11669 WHETSTONE ROAD                                                                                     DEFIANCE        OH   43512‐8602
JIMENEZ, KIMBERLY A           1450 N STATE HIGHWAY 360 APT 170                                                                         GRAND PRAIRIE   TX   75050‐4101
JIMENEZ, LAURA SANTIAGO       PROVOST & UMPHREY                  PO BOX 4905                                                           BEAUMONT        TX   77704‐4905
JIMENEZ, LILIANA G            5472 W RADIO RD                                                                                          AUSTINTOWN      OH   44515‐1824
JIMENEZ, LUIS                 111‐33‐42ND AVE                                                                                          CORONA          NY   11368
JIMENEZ, LUIS R               3364 LOON LAKE CT                                                                                        WATERFORD       MI   48329‐4282
JIMENEZ, MAGDALENA I          12311 JONES HALTSBERGER RD         APT 3104                                                              SAN ANTONIO     TX   78247‐4294
JIMENEZ, MALIA R              6064 SALEM AVE                                                                                           CLAYTON         OH   45315‐9736
JIMENEZ, MANUEL J             659 CHESTNUT AVE                                                                                         MADERA          CA   93637‐5665
JIMENEZ, MARC G               2 N 80TH TER                                                                                             KANSAS CITY     KS   66111‐3050
JIMENEZ, MARCELO              SCOTT C BRENT                      111 AVENIDA DEL MAR STE 201                                           SAN CLEMENTE    CA   92672‐4001
JIMENEZ, MARGARET M           400 COLLEGE AVE APT 911                                                                                  ADRIAN          MI   49221‐2651
JIMENEZ, MARGARITA R          ADMON DE 36 163                                                               CORREO GUADALAJARA 44780
                                                                                                            MEXICO
JIMENEZ, MARIA
JIMENEZ, MARIA                100 COLLEGE AVE APT 7D                                                                                   SLEEPY HOLLOW   NY   10591‐2823
JIMENEZ, MARIA                740 OTTAWA AVE                                                                                           DEFIANCE        OH   43512‐3050
JIMENEZ, MARIA A              4492 CAMINO DE LA PLZ 1857                                                                               SAN YSIDRO      CA   92173
JIMENEZ, MARIA A              4492 CAMINO DE LA PLAZA RD         APT 1867                                                              SAN YSIDRO      CA   92173
JIMENEZ, MARIA CANDELARA      5326 LAS BRISAS TERRACE                                                                                  PALMDALE        CA   93551
JIMENEZ, MARIA L              7220 COURTWRIGHT DR                                                                                      PLAINFIELD      IL   60586‐5802
JIMENEZ, MARIA S              740 OTTAWA                                                                                               DEFIANCE        OH   43512‐3050
JIMENEZ, MARIANO              APT 305                            3130 FALLEN OAKS COURT                                                ROCHESTER HLS   MI   48309‐2762
JIMENEZ, MARIO G              3 CARDINAL HILL DR                                                                                       LAKE ORION      MI   48359
JIMENEZ, MATILDA              3731 ANVIL DR                                                                                            TROY            MI   48083‐5914
JIMENEZ, MICHAEL C            2 N 80TH TER                                                                                             KANSAS CITY     KS   66111‐3050
JIMENEZ, MONIQUE B            1106 SINGLETREE DR                                                                                       FORNEY          TX   75126‐6532
JIMENEZ, MONIQUE BERNADETTE   1106 SINGLETREE DR                                                                                       FORNEY          TX   75126‐6532
JIMENEZ, NANCY P              801 PIN OAK PLACE                                                                                        PEARL           MS   39208‐9208
JIMENEZ, NOEMI A              1050 TROTWOOD LN                                                                                         FLINT           MI   48507‐3709
JIMENEZ, NORMA I              1597 GILES ST NW                                                                                         PALM BAY        FL   32907‐7077
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Name                       Address1                       Address2                       Address3                  Address4                City             State   Zip
JIMENEZ, O                 99 POPLAR ST                                                                                                    CARTERET          NJ     07008‐1631
JIMENEZ, OFELIA            951 OLIVER ST                                                                                                   FILLMORE          CA     93015‐1766
JIMENEZ, OLGA M            140 VERNON DR                                                                                                   BOLINGBROOK        IL    60440‐2460
JIMENEZ, PABLO             9109 SUDBURY RD                                                                                                 SILVER SPRING     MD     20901‐3525
JIMENEZ, PABLO S           6343 S TRIPP AVE                                                                                                CHICAGO            IL    60629‐5031
JIMENEZ, PEDRO             140 VERNON DR                                                                                                   BOLINGBROOK        IL    60440‐2460
JIMENEZ, R F               2 DUKE PL                                                                                                       DIX HILLS         NY     11746‐4813
JIMENEZ, RAFAEL            157 LUIS F. THOMEN             APT 700A                       EVARISTO MORALES, BELLA   SANTO DOMINGO 00000
                                                                                         VISTA STO DGO             DOMINICAN REPUBLIC
JIMENEZ, RALPH F           840 S HOSPITAL RD                                                                                               WATERFORD        MI      48327‐3904
JIMENEZ, RAMIRO G          PO BOX 585                                                                                                      DANVILLE         IL      61834‐0585
JIMENEZ, RAUL              WATTS LAW FIRM                 555 N CARANCAHUA ST STE 1400                                                     CORPUS CHRISTI   TX      78478‐0801
JIMENEZ, RAUL              HUERTA LAW FIRM                924 LEOPARD ST                                                                   CORPUS CHRISTI   TX      78401‐2423
JIMENEZ, RAUL              2505 MCGREGOR DR                                                                                                AUSTIN           TX      78745‐4331
JIMENEZ, RAUL J            931 W OLIVE ST                                                                                                  OXNARD           CA      93033‐5025
JIMENEZ, RAYMOND F         4131 TIMBERLANE DR                                                                                              DEFIANCE         OH      43512‐9606
JIMENEZ, RAYMOND FRANK     4131 TIMBERLANE DR                                                                                              DEFIANCE         OH      43512‐9606
JIMENEZ, REYNALDO V        PO BOX 1003                                                                                                     DEFIANCE         OH      43512‐1003
JIMENEZ, RICHARD           869 MCKINLEY ST                                                                                                 DEFIANCE         OH      43512‐9783
JIMENEZ, RICHARD G         1243 WOODSIDE COURT                                                                                             TROY             MI      48085‐1325
JIMENEZ, ROBERT R          18178 GARDEN MANOR DR                                                                                           HOUSTON          TX      77084‐6770
JIMENEZ, RUBEN             975 W TELEGRAPH RD             SPC 1                                                                            SANTA PAULA      CA      93060‐3020
JIMENEZ, RUBEN             812 HUME DR                                                                                                     FILLMORE         CA      93015‐1219
JIMENEZ, SALLY K.          514 HUGHES                                                                                                      CHARLOTTE        MI      48813‐8434
JIMENEZ, SALVADOR B        7006 SNOWY OWL STREET                                                                                           ARLINGTON        TX      76002‐3378
JIMENEZ, SEBERIANO         2024 CLIFTON AVE                                                                                                LANSING          MI      48910‐3533
JIMENEZ, SEBERIANO         4009 CLEAR CREEK RD                                                                                             PULASKI          TN      38478‐7431
JIMENEZ, SEVERIANO         2357 E STATE ROAD 236                                                                                           ANDERSON         IN      46017‐9757
JIMENEZ, SHERRIE L         820 GODDARD ST                                                                                                  WYANDOTTE        MI      48192‐2826
JIMENEZ, SONIA             20502 CHASE ST                                                                                                  WINNETKA         CA      91306‐1202
JIMENEZ, TAMMY L           4131 TIMBERLANE DRIVE                                                                                           DEFIANCE         OH      43512‐9606
JIMENEZ, TELESFORO         5326 LAS BRISAS TER                                                                                             PALMDALE         CA      93551‐5756
JIMENEZ, THEODORE E        9422 E COLDWATER RD                                                                                             DAVISON          MI      48423‐8942
JIMENEZ, THEODORE EDWARD   9422 E COLDWATER RD                                                                                             DAVISON          MI      48423‐8942
JIMENEZ, WILLIAM           309 HOLLANDALE CIR APT G                                                                                        ARLINGTON        TX      76010
JIMENEZ, YOLANDA           303 N DITMAN AVE                                                                                                LOS ANGELES      CA      90063‐2331
JIMENEZ, YOLANDA M         4803 S AIRPORT RD                                                                                               BRIDGEPORT       MI      48722‐9790
JIMENEZ‐REYES, MARIA L     522 N 13TH ST                                                                                                   SANTA PAULA      CA      93060‐1707
JIMERSON JAMES EDWARD      C/O EDWARD O MOODY P A         801 W 4TH STREET                                                                 LITTLE ROCK      AR      72201
JIMERSON MARY ANN          C/O EDWARD O MOODY P A         801 W 4TH STREET                                                                 LITTLE ROCK      AR      72201
JIMERSON, BURNICE G        2611 N FRANKLIN AVE                                                                                             FLINT            MI      48506‐4439
JIMERSON, DAVID R          11076 OLD LAKE SHORE RD                                                                                         IRVING           NY      14081‐9546
JIMERSON, JACQUELINE       8352 S SEELEY AVE                                                                                               CHICAGO          IL      60620‐6032
JIMERSON, JAMES EDWARD     MOODY EDWARD O                 801 W 4TH ST                                                                     LITTLE ROCK      AR      72201‐2107
JIMERSON, JUDITH A         113 CLARENCE AVE                                                                                                BUFFALO          NY      14215‐2226
JIMERSON, LIZZIE           105 BROOKFIELD DR                                                                                               RIDGELAND        MS      39157‐4034
JIMERSON, MARY ANN         MOODY EDWARD O                 801 W 4TH ST                                                                     LITTLE ROCK      AR      72201‐2107
JIMERSON, ROBERT W         113 CLARENCE AVE                                                                                                BUFFALO          NY      14215‐2226
JIMES, DENNIS G            GUY WILLIAM S                  PO BOX 509                                                                       MCCOMB           MS      39649‐0509
JIMESON, GERALD D          8124 JUNIPER DR                                                                                                 PRAIRIE VLG      KS      66208‐5069
JIMICK, MORRIS             218 STONEHEDGE DR              C/O RALPH BROADWATER                                                             ELYRIA           OH      44035‐8308
JIMIE BIGLEY               353 WILDERNESS DR                                                                                               MARSHFIELD       MO      65706
JIMIE BOOK                 PO BOX 1166                                                                                                     GRAYLING         MI      49738‐5166
JIMIE CHAPMAN              6992 S STATE ROAD 109                                                                                           KNIGHTSTOWN      IN      46148‐9567
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Name                                  Address1                         Address2                      Address3                 Address4               City              State   Zip
JIMIE KENDALL                         49 W 600 S                                                                                                     ANDERSON           IN     46013‐9556
JIMIE PHARES                          1391 SHANNON RD                                                                                                GIRARD             OH     44420‐1468
JIMIE WHEATLEY                        20249 DANBURY LN                                                                                               HARPER WOODS       MI     48225‐1156
JIMIKA B BEAN                         1844 LITCHFIELD AVE                                                                                            DAYTON             OH     45406
JIMINEZ III, THOMAS G                 10 FIRELITE LN                                                                                                 PONTIAC            MI     48340‐1623
JIMINEZ, AGNES G                      2320 14TH STREET                                                                                               PORT HURON         MI     48060‐6576
JIMINEZ, AGNES G                      2320 14TH ST                                                                                                   PORT HURON         MI     48060‐6576
JIMINEZ, ALICIA                       412 5TH AVE                                                                                                    COLUMBIA           TN     38401‐2818
JIMINEZ, CARMEN                       2844 BAUMBERG AVE                                                                                              HAYWARD            CA     94545‐4038
JIMINEZ, DAVID                        703 GALLAGHER ST                                                                                               SAGINAW            MI     48601‐3722
JIMINEZ, ESMAEL                       14869 S APPLETON DR #3‐6                                                                                       OREGON CITY        OR     97045
JIMINEZ, MARY A                       14743 LAKESIDE ST                                                                                              SYLMAR             CA     91342‐3962
JIMINEZ, MELINDA
JIMINEZ, SANDRA                       18178 GARDEN MANOR DR                                                                                          HOUSTON            TX     77084‐6770
JIMISON, HAYLEY                       1591 VIA DE LUNA DR                                                                                            PENSACOLA BEACH    FL     32561‐2339

JIMISON, JERRY D                       603 REGAL ST                                                                                                  GLENDIVE          MT      59330‐2711
JIMISON, JERRY DEAN                    603 REGAL ST                                                                                                  GLENDIVE          MT      59330‐2711
JIMISON, JOHNNY                        COLOM LAW FIRM                  605 2ND AVE N                                                                 COLUMBUS          MS      39701‐4513
JIMISON, JR.,JEFFERY L                 7447 KING RD                                                                                                  SARDINIA          OH      45171‐8330
JIMISON, LAWRENCE D                    62 CARRIAGE LAKE DR                                                                                           BROWNSBURG        IN      46112‐8065
JIMISON, LAWRENCE E                    744 MAPLE LN                                                                                                  BROWNSBURG        IN      46112‐1730
JIMISON, NOLA M                        6905 SALLY CT                                                                                                 FLINT             MI      48505‐1900
JIMISON, RICHARD E                     25054 SANDY BEACH DR                                                                                          EDWARDSBURG       MI      49112‐9463
JIMISON, ROBERT M                      6121 WOODSIDE DR                                                                                              INDIANAPOLIS      IN      46228‐1267
JIMMERSON LLOYD E (ESTATE OF) (626589) GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                   NORFOLK           VA      23510
                                                                       STREET, SUITE 600
JIMMERSON, ANNIE A                    539 BURNS ST                                                                                                   JACKSON           MS      39203‐3602
JIMMERSON, CHRISTOPHER D              3600 S NORRELL RD G                                                                                            BOLTON            MS      39041
JIMMERSON, IRENE                      1011 N LOREL AVE                                                                                               CHICAGO           IL      60651‐2843
JIMMERSON, IRENE                      1011 N LOREL                                                                                                   CHICAGO           IL      60651‐2843
JIMMERSON, LLOYD E                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                   NORFOLK           VA      23510
                                                                       STREET, SUITE 600
JIMMERSON, RUBY D                     112 MAXTON AVE                                                                                                 DALLAS             GA     30132‐2616
JIMMERSON, WILLIE E                   5463 AFAF ST                                                                                                   FLINT              MI     48505‐1022
JIMMEY E VELASQUEZ                    ATTN ANDREW MCENANEY             HISSEY KRENTZ LLP             9442 CAPITAL OF TX HWY                          AUSTIN             TX     78759
                                                                                                     NORTH STE 400
JIMMI N SMITH                         PO BOX 2842                                                                                                    DETROIT           MI      48202‐0842
JIMMIE A JAMESON                      211 E 8TH ST                                                                                                   TILTON            IL      61833‐7811
JIMMIE ACORD                          1597 WOODLAND DR                                                                                               ROCKLEDGE         FL      32955‐2542
JIMMIE ADAMS                          14758 CALUSA PALMS DR APT 201                                                                                  FORT MYERS        FL      33919‐7800
JIMMIE AGNEW                          2426 ECKHOUSE ST                                                                                               ANDERSON          IN      46016‐3647
JIMMIE ALCORN                         3556 TANYARD HOLLOW RD                                                                                         CULLEOKA          TN      38451‐2339
JIMMIE ALESHIRE                       9192 COUNTRY POND TRL                                                                                          MIAMISBURG        OH      45342‐5456
JIMMIE ALLEN                          425 W GENESEE ST                                                                                               FLINT             MI      48505‐6611
JIMMIE ALMOND                         2160 N CENTER RD                                                                                               SAGINAW           MI      48603‐3717
JIMMIE ANDERS                         220 LANCELOT DR                  AMBER OAK                                                                     DEFIANCE          OH      43512‐9668
JIMMIE ANDERSON                       6469 POTTER RD                                                                                                 FLUSHING          MI      48433‐9415
JIMMIE ANDERSON                       5246 SUNTRAIL DR                                                                                               FLORISSANT        MO      63033‐4423
JIMMIE ANDERSON                       5356 LEATHERWOOD RD                                                                                            BEDFORD           IN      47421‐8798
JIMMIE ANDERSON                       411 W ALABAMA AVE                                                                                              ANADARKO          OK      73005‐4851
JIMMIE ANDERSON JR                    695 MELROSE ST                                                                                                 PONTIAC           MI      48340‐3118
JIMMIE ASHFORD                        19374 CONLEY ST                                                                                                DETROIT           MI      48234‐2250
JIMMIE ASKINS                         1665 PHELPS LAKE RD                                                                                            MAYVILLE          MI      48744‐9629
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Name                  Address1                        Address2                     Address3   Address4               City            State   Zip
JIMMIE B CALDWELL     18829 RUSSELL ST                                                                               DETROIT          MI     48203‐2115
JIMMIE B KING         1794 EDGEWOOD ST NE                                                                            WARREN           OH     44483‐4126
JIMMIE BAIRE          34 COURTNEY DR                                                                                 ASHFORD          WV     25009‐9547
JIMMIE BAKER          8635 SANDYCREST DR                                                                             WHITE LAKE       MI     48386‐2460
JIMMIE BALLARD        2234 MILBOURNE AVE                                                                             FLINT            MI     48504‐2838
JIMMIE BALLARD        3478 RIDGECLIFFE DR                                                                            FLINT            MI     48532
JIMMIE BARNETT        107 PORTICO DR                                                                                 MERIDIANVILLE    AL     35759‐2451
JIMMIE BARTLETT       10858 RUSSELLVILLE RD                                                                          ROCKFIELD        KY     42274‐9765
JIMMIE BARTLEY        17918 HART PINKSTON RD                                                                         FARMINGTON       MO     63640‐3524
JIMMIE BARTON         12620 DRY CREEK RD                                                                             DE SOTO          MO     63020‐5723
JIMMIE BASS           426 ZACAPA                                                                                     VENICE           FL     34285‐6339
JIMMIE BATCHELOR JR   2702 S GALLATIN ST                                                                             MARION           IN     46953‐3620
JIMMIE BATES          1129 PETTIBONE AVE                                                                             FLINT            MI     48507‐4812
JIMMIE BATES          2629 SW 57TH ST                                                                                OKLAHOMA CITY    OK     73119‐5824
JIMMIE BATEY          319 SE 17TH ST                                                                                 CAPE CORAL       FL     33990‐2291
JIMMIE BATTLE         5000 WEDDINGTON DR                                                                             DAYTON           OH     45426‐1959
JIMMIE BELL           5249 OLDHAM DR                                                                                 TOLEDO           OH     43613‐2821
JIMMIE BELL           2015 W 950 S                                                                                   PENDLETON        IN     46064‐9365
JIMMIE BELL           241 LAKESHIRE PKWY                                                                             CANTON           MS     39046‐5333
JIMMIE BELL           407 RAVINE DR                                                                                  YOUNGSTOWN       OH     44505‐1603
JIMMIE BELL           6280 N CHAPEL HILL RD                                                                          BOLTON           MS     39041‐9726
JIMMIE BENFORD        9364 OTSEGO ST                                                                                 DETROIT          MI     48204‐4510
JIMMIE BENFORD        19930 NORTHBROOK DR                                                                            SOUTHFIELD       MI     48076‐5052
JIMMIE BENTLEY        10725 TORREY RD                                                                                WILLIS           MI     48191‐9778
JIMMIE BENTLEY        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.      OH     44236
JIMMIE BERRY          2316 W 15TH ST                                                                                 ANDERSON         IN     46016‐3104
JIMMIE BISHOP         4153 HOYT AVE                                                                                  INDIANAPOLIS     IN     46203‐1551
JIMMIE BLACKBURN      702 N COTTONWOOD ST                                                                            FAIRMOUNT        IN     46928‐1328
JIMMIE BLACKMON       1920 WEAVER ST                                                                                 DAYTON           OH     45408‐2562
JIMMIE BLACKSTOCK     22709 BLACKSTOCK LN                                                                            HILLIARD         FL     32046‐5023
JIMMIE BLACKWELL      PO BOX 430001                                                                                  PONTIAC          MI     48343‐0001
JIMMIE BLAKNEY        4165 NANCY DR                                                                                  SAGINAW          MI     48601‐5011
JIMMIE BLANTON        6433 AGENBROAD RD                                                                              TIPP CITY        OH     45371‐8758
JIMMIE BLANTON        PO BOX 68                                                                                      CLIFFSIDE        NC     28024‐0068
JIMMIE BOATRIGHT      6771 STROMENGER LN                                                                             LOVELAND         OH     45140‐9732
JIMMIE BOBIAN         2089 SUGAR SPRINGS DR                                                                          LAWRENCEVILLE    GA     30043‐5039
JIMMIE BOOKER         2785 NARROW RD                                                                                 BUTLER           AL     36904‐3688
JIMMIE BOONE          1427 CHESANING RD                                                                              MONTROSE         MI     48457‐9323
JIMMIE BOONE          4208 ALPINE DR                                                                                 ANDERSON         IN     46013‐5008
JIMMIE BOWERS         11408 CRESTRIDGE DR                                                                            CORONA           CA     92880‐9487
JIMMIE BRANTON        1496 WIGGINS RD                                                                                FENTON           MI     48430‐9721
JIMMIE BRASFIELD      16925 SHERMAN RD                                                                               MILAN            MI     48160‐9219
JIMMIE BREWER         721 E GRANET AVE                                                                               HAZEL PARK       MI     48030‐2007
JIMMIE BRITE          HC 60 BOX 1055‐53                                                                              CHECOTAH         OK     74426‐9419
JIMMIE BRITT          3100 OLD FARM RD                                                                               FLINT            MI     48507‐1251
JIMMIE BROCK          11342 W CORUNNA RD                                                                             LENNON           MI     48449‐9722
JIMMIE BROCK          8 MADDOX LN                                                                                    BEDFORD          IN     47421‐6807
JIMMIE BROCK          5601 GARRARD CHAPEL RD                                                                         POLAND           IN     47868‐7171
JIMMIE BROWN          2021 BECKER ST                                                                                 FLINT            MI     48503‐3373
JIMMIE BROWN          PO BOX 87                                                                                      MARTINSVILLE     OH     45146‐0087
JIMMIE BROWN          PO BOX 186                                                                                     IUKA             MS     38852‐0186
JIMMIE BROWNING       1275 WHIPPOORWILL RD                                                                           LEBANON          TN     37090‐7686
JIMMIE BROWNING       2931 PONDEROSA RD                                                                              SPENCER          IN     47460‐5560
JIMMIE BRUMLEY        447 GREENSWARD DR                                                                              TIPP CITY        OH     45371‐7306
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Name                 Address1                      Address2            Address3         Address4               City            State   Zip
JIMMIE BULLARD       PO BOX 1423                                                                               FITZGERALD       GA     31750‐1423
JIMMIE BULLOCK       PO BOX 210654                                                                             AUBURN HILLS     MI     48321‐0654
JIMMIE BUNCH         9906 CRESTWATER CIRCLE                                                                    MAGNOLIA         TX     77354‐3201
JIMMIE BURKEEN       11577 RADIO STATION RD                                                                    CADET            MO     63630‐9274
JIMMIE BURNER        9513 MORRISH RD                                                                           SWARTZ CREEK     MI     48473‐8406
JIMMIE BURNETT       20130 HARNED ST                                                                           DETROIT          MI     48234‐1513
JIMMIE BURNS         429 FRANKLIN ST                                                                           SANDUSKY         OH     44870‐2915
JIMMIE BURTON        938 PARKWOOD AVE                                                                          YPSILANTI        MI     48198‐5836
JIMMIE BURTON        2003 QUAIL ST                                                                             HARRISONVILLE    MO     64701‐2834
JIMMIE BUSBY         4058 COUNTY ROAD 672                                                                      QUITMAN          MS     39355‐9165
JIMMIE BUTLER        489 7TH ST SW                                                                             WARREN           OH     44485‐4056
JIMMIE BUTLER        489 7TH ST SW                                                                             WARREN           OH     44485‐4056
JIMMIE BYRAM         233 S IRVING DR                                                                           MOORE            OK     73160‐3926
JIMMIE BYRD          12201 S MORGAN ST                                                                         CHICAGO           IL    60643‐5509
JIMMIE C GILLEAN     7328 SILVER COVE CT                                                                       LINDEN           MI     48451‐8798
JIMMIE C STAMPS JR   PO BOX 88172                                                                              KENTWOOD         MI     49518‐0172
JIMMIE C WILLIAMS    5683 OLIVE TREE DR                                                                        DAYTON           OH     45426
JIMMIE CAIN          35 MITCHELL CIR                                                                           GREENBRIER       AR     72058‐9124
JIMMIE CALDWELL      18829 RUSSELL ST                                                                          DETROIT          MI     48203‐2115
JIMMIE CALDWELL      10627 GOODING AVE                                                                         CLEVELAND        OH     44108‐3035
JIMMIE CAMPBELL      PO BOX 562                                                                                BROOKHAVEN       MS     39602‐0562
JIMMIE CARMACK       331 JEFFERSON AVE                                                                         BONNE TERRE      MO     63628‐4339
JIMMIE CARTER        4834 BALDWIN ST                                                                           DETROIT          MI     48214‐1071
JIMMIE CATRON        PO BOX 124                                                                                SOMERVILLE       OH     45064‐0124
JIMMIE CAUDLE        209 SAN JOSE CT                                                                           O FALLON         MO     63366‐2305
JIMMIE CHAMBERLAIN   9868 ONSTED HWY                                                                           ONSTED           MI     49265‐9707
JIMMIE CHAMBERS      11620 GOOSE LAKE ROAD                                                                     JONESVILLE       MI     49250‐9502
JIMMIE CHANDLER      15829 HUBBELL ST                                                                          DETROIT          MI     48227‐2950
JIMMIE CHIARTANO     154 PIONEER PASSAGE                                                                       BASTROP          TX     78602‐3602
JIMMIE CHILDERS      14361 E CO RD 500 S                                                                       PARKER CITY      IN     47368
JIMMIE CLARK         6037 W COUNTY ROAD 250 S                                                                  DANVILLE         IN     46122‐8814
JIMMIE CLARK         2118 WALTER RD                                                                            BEAVERTON        MI     48612‐9447
JIMMIE CLARK         4905 CANTERBURY LN                                                                        FLINT            MI     48504‐5402
JIMMIE CLARK         2340 CECIL HEDLEY RD                                                                      PRESCOTT         MI     48756‐9133
JIMMIE CLARK JR      1049 AGNES ST                                                                             MOUNT MORRIS     MI     48458‐2245
JIMMIE CLAXTON       2717 CINDY DR                                                                             IMPERIAL         MO     63052‐1432
JIMMIE COCKRELL JR   840 PRESTONWOOD DR                                                                        LAWRENCEVILLE    GA     30043‐4246
JIMMIE COFFEE        PO BOX 293                                                                                MANSFIELD        OH     44901‐0293
JIMMIE COLE          3404 E CLARK ST                                                                           WICHITA          KS     67218‐4811
JIMMIE COLEMAN       2501 FULLER RD                                                                            CHOCTAW          OK     73020‐6462
JIMMIE COLLINS       124 PLUM ST                                                                               SYRACUSE         NY     13204‐2427
JIMMIE COLLINS       3124 BENNETT AVE                                                                          FLINT            MI     48506‐3015
JIMMIE COLQUITT      634 HAZELBROOK AVE                                                                        SPRINGFIELD      OH     45506‐3012
JIMMIE COLSTON       383 SETTLEMENT RD                                                                         CARROLLTON       AL     35447‐3366
JIMMIE COLVIN        2246 LAKEWOOD DR                                                                          MANSFIELD        OH     44905‐1730
JIMMIE COMBS         341875 GOLFVIEW DR                                                                        CHANDLER         OK     74834‐6640
JIMMIE COMER         PO BOX 266                                                                                MANSFIELD        TX     76063‐0266
JIMMIE CONNIS        5306 DEER CT                                                                              BEAVERTON        MI     48612‐8127
JIMMIE COOPER        4741 CLINTONVILLE RD                                                                      CLARKSTON        MI     48346‐4205
JIMMIE COOPER        1209 BRIAR DOWNS LN                                                                       BURTON           MI     48529‐2225
JIMMIE COPELAND      813 BURLEIGH AVE                                                                          DAYTON           OH     45402‐5206
JIMMIE CORK          7832 MARK DR                                                                              VERONA           PA     15147‐1543
JIMMIE CORLEY        291 CORLEY PL                                                                             DALLAS           GA     30132‐1814
JIMMIE CORRALEJO     14416 BRAND BLVD                                                                          SAN FERNANDO     CA     91340‐4303
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Name                  Address1                        Address2                     Address3          Address4               City              State   Zip
JIMMIE COX            140 TURKEY CREEK RD                                                                                   BARBOURVILLE       KY     40906‐7592
JIMMIE CRAFT          319S TADDOCK ST                                                                                       PONTIAC            MI     48342
JIMMIE CROSS          2161 N MECHANICSBURG RD                                                                               SHIRLEY            IN     47384‐9665
JIMMIE CRUTCHFIELD    1055 W 93RD ST                                                                                        CHICAGO             IL    60620‐3631
JIMMIE CUMMINS        301 E 6TH ST                                                                                          ALEXANDRIA         IN     46001‐2610
JIMMIE CUMMINS JR     888 E HENDRICKS DR                                                                                    ALEXANDRIA         IN     46001‐8901
JIMMIE CURTIS         5535 W QUINCY ST                                                                                      CHICAGO             IL    60644‐4238
JIMMIE D BLANTON      6433 AGENBROAD                                                                                        TIPP CITY          OH     45371‐8758
JIMMIE D BRUMLEY      447 GREENSWARD                                                                                        TIPP CITY          OH     45371‐7306
JIMMIE D DANIEL       1227 SHORT ST                                                                                         ANDERSON           IN     46016‐1945
JIMMIE D HANKINS      2102 EARL KNIGHT RD                                                                                   CRYSTAL SPGS       MS     39059
JIMMIE D HELTON       3839 W MICHIGAN ST                                                                                    INDIANAPOLIS       IN     46222‐3321
JIMMIE D LEMASTER     4916 ARABIAN DRIVE                                                                                    FAIRBORN           OH     45324‐9733
JIMMIE D MCGUIRE      608 BRIDGE STREET                                                                                     FRANKLIN           OH     45005‐1611
JIMMIE D MCKINNEY     40 BRIGHTON ST                                                                                        DAYTON             OH     45404
JIMMIE D ROUNDTREE    106 ELMS COURT CIR                                                                                    JACKSON            MS     39204
JIMMIE D TERRY        4721 SALZMAN RD                                                                                       MIDDLETOWN         OH     45044‐9471
JIMMIE D WHITLEY JR   13500 STATE ROUTE 73                                                                                  PEEBLES            OH     45660‐8992
JIMMIE D WILLIAMS     10185 N GENESEE RD DH                                                                                 MOUNT MORRIS       MI     48458
JIMMIE DANIEL         7201 A 1A S 2                                                                                         SAINT AUGUSTINE    FL     32080
JIMMIE DAVENPORT      3385 BAY‐ARENAC RD                                                                                    PINCONNING         MI     48650
JIMMIE DAVIDSON       8247 5 POINT HWY                                                                                      EATON RAPIDS       MI     48827‐9061
JIMMIE DAVIS JR       44 PENNOCK PL                                                                                         CHEEKTOWAGA        NY     14225‐3941
JIMMIE DAWKINS        1708 VILLA VISTA WAY                                                                                  LAS VEGAS          NV     89128‐3266
JIMMIE DAWSON         602 SUN VALLEY DR                                                                                     DUNCANVILLE        TX     75116‐2461
JIMMIE DAY            87 NOTTLEY CT                                                                                         MURPHY             NC     28906‐3812
JIMMIE DAY            2913 E DAY DR                                                                                         ANDERSON           IN     46017‐9772
JIMMIE DAY            12 FORDS CT                                                                                           COLUMBIA           SC     29229‐9165
JIMMIE DEAN JR.       PO BOX 785                                                                                            TERRY              MS     39170‐0785
JIMMIE DECKER         424 VELMA DR                                                                                          WEST MONROE        LA     71292‐2352
JIMMIE DENNEY         248 BELVA ST                                                                                          CARROLLTON         GA     30117‐2534
JIMMIE DENNIS         820 MOORE ST                                                                                          DAVISON            MI     48423‐1110
JIMMIE DETHRIDGE      61 OAKDEN CT                                                                                          NEW WHITELAND      IN     46184‐1060
JIMMIE DEXTER         4141 SAGATOO RD                                                                                       STANDISH           MI     48658‐9453
JIMMIE DINGUS         944 TANNERS LNDG                                                                                      MONROE             MI     48161‐4589
JIMMIE DINWIDDIE      3701 15TH ST APT 109                                                                                  DETROIT            MI     48208‐2586
JIMMIE DIXON          94 PARK ST                                                                                            MOUNT CLEMENS      MI     48043‐5761
JIMMIE DOLPH          8933 SCOTER CT                                                                                        INDIANAPOLIS       IN     46234‐8523
JIMMIE DON COCHRAN    NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD       TX     75638
JIMMIE DONALD         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.        OH     44236
JIMMIE DORSEY         2408 S VERMONT AVE                                                                                    INDEPENDENCE       MO     64052‐3560
JIMMIE DRAPER         1071 N COCHRAN AVE                                                                                    CHARLOTTE          MI     48813‐1105
JIMMIE DUBY           1729 CURTIS RD                                                                                        BIRCH RUN          MI     48415‐8914
JIMMIE DUGGER         4213 JANICE DR                                                                                        COLLEGE PARK       GA     30337‐4407
JIMMIE DUNN           1921 WILLIAMSTOWN DR                                                                                  SAINT PETERS       MO     63376‐8106
JIMMIE DURHAM         2504 SPRINGVALE DR                                                                                    DALLAS             TX     75234‐3453
JIMMIE DYSON          83237 HAY HOLLOR RD                                                                                   FOLSOM             LA     70437‐6005
JIMMIE E ALESHIRE     9192 COUNTRY POND TRAIL                                                                               MIAMISBURG         OH     45342‐5456
JIMMIE E BATTLE       5000 WEDDINGTON DR                                                                                    DAYTON             OH     45426‐1959
JIMMIE E COLE         888 PALLISTER ST APT 1107                                                                             DETROIT            MI     48202‐2674
JIMMIE E COOKS JR     C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                             HOUSTON            TX     77007
                      BOUNDAS LLP
JIMMIE E ROGERS       PO BOX 311008                                                                                         FLINT              MI     48531‐1008
JIMMIE E WATSON       505 EAST MOODY AVE.                                                                                   NEW CASTLE         PA     16105
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Name                         Address1                        Address2                     Address3   Address4               City               State   Zip
JIMMIE EARL BRYANT           WEITZ & LUXENBERG PC            700 BROADWAY                                                   NEW YORK CITY       NY     10003
JIMMIE EARL BRYANT           C/O WEITZ & LUXENBERG PC        700 BROADWAY                                                   NEW YORK CITY       NY     10003
JIMMIE EATON                 43 NICHOLS ST                                                                                  ROCHESTER           NY     14609‐3419
JIMMIE EATON                 12755 BUECHE RD                                                                                BURT                MI     48417‐2026
JIMMIE ECK                   1305 E 10TH ST                                                                                 SHAWNEE             OK     74801‐7401
JIMMIE EDWARDS               1034 HAZEL ST                                                                                  WYANDOTTE           MI     48192‐2830
JIMMIE ELDER                 14312 HARRIS RD                                                                                MILLINGTON          MI     48746‐9219
JIMMIE ELLSWORTH JR          7212 NORTON AVE                                                                                KANSAS CITY         MO     64132‐2082
JIMMIE ELMS                  PO BOX 546                                                                                     STATHAM             GA     30666‐0011
JIMMIE ENGLISH               PO BOX 7034                                                                                    SHREVEPORT          LA     71137‐7034
JIMMIE ESTES                 5817 OLD MILL DR                                                                               INDIANAPOLIS        IN     46221‐4151
JIMMIE EVANS                 644 ADAMS RD                                                                                   WALLAND             TN     37886‐2150
JIMMIE EVANS                 4458 SHADY LN                                                                                  INDIANAPOLIS        IN     46226‐3346
JIMMIE EVANS                 734 S RIDGE AVE                                                                                TROY                OH     45373‐3018
JIMMIE F ASHFORD             19374 CONLEY                                                                                   DETROIT             MI     48234‐2250
JIMMIE F DUCKWORTH‐EDDINGS   3806 BENNINGTON AVE                                                                            KANSAS CITY         MO     64129‐1803
JIMMIE FAIR                  919 LEIGH DR                                                                                   DYERSBURG           TN     38024‐1607
JIMMIE FENDERSON             191 BELL AVE                                                                                   ELYRIA              OH     44035‐3101
JIMMIE FERGUSON              919 W WASHINGTON ST                                                                            ALEXANDRIA          IN     46001‐1834
JIMMIE FIELDS                1321 WAGON WHEEL LN                                                                            GRAND BLANC         MI     48439‐4863
JIMMIE FISK                  6129 SOUTHWARD AVE                                                                             WATERFORD           MI     48329‐1439
JIMMIE FLATT                 11583 DOUGLAS RD                                                                               TEMPERANCE          MI     48182‐9693
JIMMIE FLEMING               PO BOX 813                                                                                     CHOCTAW             OK     73020‐0813
JIMMIE FLEMING               484 E 123RD ST                                                                                 CLEVELAND           OH     44108‐1870
JIMMIE FLOYD JR              3871 VILLA MONTEE DR SE                                                                        KENTWOOD            MI     49512‐1835
JIMMIE FOSTER                1664 FAYETTE AVE                                                                               BELOIT              WI     53511‐3606
JIMMIE FRANKS                2621 WADSWORTH AVE                                                                             SAGINAW             MI     48601‐1348
JIMMIE FRIEND                1065 W KURTZ AVE                                                                               FLINT               MI     48505‐1203
JIMMIE FROST                 15 DRIFTWOOD WAY                                                                               MASHPEE             MA     02649
JIMMIE FUGATE                116 BIGGER STAFF LN                                                                            LANCASTER           KY     40444‐9098
JIMMIE FULMER                PO BOX 1055                     COUNTRY ROAD 4110                                              DE KALB             TX     75559
JIMMIE GADSON                3465 TILLMAN RD                                                                                RIDGELAND           SC     29936‐6152
JIMMIE GANTER                170 W BARCLAY ST                                                                               LONG BEACH          CA     90805‐2108
JIMMIE GARRETT               9302 OAKMONT DR                                                                                GRAND BLANC         MI     48439‐9513
JIMMIE GASHO                 PO BOX 414                                                                                     TIPTON              IN     46072‐0414
JIMMIE GASPER                BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.         OH     44236
JIMMIE GATEWELL              5335 EUCLID AVE                                                                                KANSAS CITY         MO     64130‐3306
JIMMIE GAULDEN               2700 CASTLE DR                                                                                 INDEPENDENCE        MO     64057‐1418
JIMMIE GIBSON                PO BOX 7066                                                                                    FLINT               MI     48507‐0066
JIMMIE GIBSON                834 CHESTERSHIRE RD                                                                            COLUMBUS            OH     43204‐2326
JIMMIE GIBSON                14817 LONGTIN ST                                                                               SOUTHGATE           MI     48195‐1957
JIMMIE GIDLEY                16621 SALEM ST                                                                                 DETROIT             MI     48219‐3697
JIMMIE GILL                  9721 EASTERN AVE                                                                               KANSAS CITY         MO     64134‐1622
JIMMIE GILLEAN               7328 SILVER COVE CT                                                                            LINDEN              MI     48451‐8798
JIMMIE GILMORE               2864 N OLD 51 N E                                                                              WESSON              MS     39191
JIMMIE GIVENS                230 BOOKOUT WAY                                                                                POWDER SPRINGS      GA     30127‐8612
JIMMIE GLOVER                1640 N 42ND ST                                                                                 EAST SAINT LOUIS     IL    62204‐1802
JIMMIE GODFREY               1757 ARTHUR ST                                                                                 SAGINAW             MI     48602‐1003
JIMMIE GORDON                3710 SHANGRI LA AVE E                                                                          MANSFIELD           OH     44903‐8096
JIMMIE GOREE                 254 CEDAR ST                                                                                   BUFFALO             NY     14204‐1555
JIMMIE GRAY                  2612 SW 113TH ST                                                                               OKLAHOMA CITY       OK     73170‐2620
JIMMIE GREEN                 3504 WOODLEAF DR                                                                               SHREVEPORT          LA     71118‐3612
JIMMIE GREEN                 100 FLATS RD                                                                                   WAYNESBORO          MS     39367‐9431
JIMMIE GREENWOOD             20431 GREELEY ST                                                                               DETROIT             MI     48203‐1269
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Name                  Address1                         Address2         Address3         Address4               City            State   Zip
JIMMIE GREGOIRE       5335 N PALMER AVE                                                                         KANSAS CITY      MO     64119‐5105
JIMMIE GREGORY        661 CERTAIN LN                                                                            GLASGOW          KY     42141‐7734
JIMMIE GRIFFIN        18 GIRARD PL                                                                              BUFFALO          NY     14211‐1216
JIMMIE GRIFFITH       5599 SUNSET DR                                                                            GADSDEN          AL     35903‐4661
JIMMIE GRIGGS         1720 HURRICANE RD LOT 43                                                                  COTTONDALE       AL     35453‐1564
JIMMIE GROSS          3075 W STATE ROAD 28                                                                      ALEXANDRIA       IN     46001‐8674
JIMMIE GUSS           4467 LEXINGTON AVE                                                                        SAINT LOUIS      MO     63115‐2625
JIMMIE H HICKSON      RR #3 BOX 100                                                                             NEW MARKET       TN     37820
JIMMIE H MARSH        82 VAN LAKE DRIVE                                                                         VANDALIA         OH     45377
JIMMIE H WILLIAMS     PO BOX 3562                                                                               WARREN           OH     44485‐‐ 05
JIMMIE H WILLIAMS     1508 DEERFIELD AVE SOUTHWEST                                                              WARREN           OH     44485‐3935
JIMMIE HALL           1841 E SHADY LN                                                                           MARTINSVILLE     IN     46151‐5809
JIMMIE HALL           1400 N CHARLES ST                                                                         SAGINAW          MI     48602‐4809
JIMMIE HAMILTON       3568 HILL POND DR                                                                         BUFORD           GA     30519‐7323
JIMMIE HAMMOND        1925 BERKLEY ST                                                                           FLINT            MI     48504‐3420
JIMMIE HAMRICK        PO BOX 553                                                                                CABOT            AR     72023‐0553
JIMMIE HARDIN         13167 FARM LN                                                                             DEWITT           MI     48820‐9637
JIMMIE HARDY          802 MARYANN DR                                                                            HOLLY            MI     48442
JIMMIE HARPER         2877 1ST ST                                                                               LA SALLE         MI     48145‐9660
JIMMIE HARRIS         6022 WAVERLY DR                                                                           JACKSON          MS     39206‐2536
JIMMIE HARRIS         1281 S BASSETT ST                                                                         DETROIT          MI     48217‐1601
JIMMIE HARRISON       3053 SHATTUCK ARMS BLVD APT 11                                                            SAGINAW          MI     48603‐2116
JIMMIE HART           225 W BISHOP AVE                                                                          FLINT            MI     48505‐6306
JIMMIE HARVEY         6826 PARKBELT DR                                                                          FLINT            MI     48505‐1939
JIMMIE HATCHER        6250 DAVID BERGER ST                                                                      MOUNT MORRIS     MI     48458‐2712
JIMMIE HAWKINS        1140 OAKLAWN DR                                                                           PONTIAC          MI     48341‐3600
JIMMIE HAWKINS        766 W DEAN RD                                                                             TEMPERANCE       MI     48182‐9504
JIMMIE HAWKINS        2912 OLD COURT RD                                                                         BALTIMORE        MD     21208‐3311
JIMMIE HAY            511 E CYNTHIA ST                                                                          MC LOUTH         KS     66054‐5208
JIMMIE HAY            4219 LATHROP AVE                                                                          KANSAS CITY      KS     66104‐2449
JIMMIE HECKER         5905 TILLERY RD SE                                                                        FAUCETT          MO     64448‐9129
JIMMIE HEINRICH       1538 S VIRGINIA AVE                                                                       MARION           IN     46953‐1048
JIMMIE HELTON         P0 BOX 404                                                                                WHITLEY CITY     KY     42653
JIMMIE HELTON         3839 W MICHIGAN ST                                                                        INDIANAPOLIS     IN     46222‐3321
JIMMIE HENDERSON      3700 S WESTPORT AVE PMB 1526                                                              SIOUX FALLS      SD     57106‐6360
JIMMIE HENDERSON      84 J HENDERSON RD                                                                         SOMERVILLE       AL     35670‐4249
JIMMIE HENDERSON      1100 TAYWOOD RD APT 46                                                                    ENGLEWOOD        OH     45322‐2470
JIMMIE HENDRIX        7086 COOK RD                                                                              SWARTZ CREEK     MI     48473‐8408
JIMMIE HENSLEY        7521 WHITMORE LAKE RD                                                                     WHITMORE LAKE    MI     48189‐9554
JIMMIE HERRING        210 HORSESHOE BEND CIR                                                                    GRIFFIN          GA     30223‐8409
JIMMIE HICKEY         1345 W SAGE LAKE RD                                                                       WEST BRANCH      MI     48661‐9545
JIMMIE HICKS          3214 CLEMENT ST                                                                           FLINT            MI     48504‐2922
JIMMIE HINKLE         PO BOX 5431                                                                               FLINT            MI     48505‐0431
JIMMIE HINTON JR      16511 CHERRYLAWN ST                                                                       DETROIT          MI     48221‐2932
JIMMIE HODGE          10198 MCKINLEY RD                                                                         MONTROSE         MI     48457‐9187
JIMMIE HODGES         11650 BEACONSFIELD ST                                                                     DETROIT          MI     48224‐1135
JIMMIE HOLLAND        1102 LAKEVIEW DR                                                                          LAKE ODESSA      MI     48849‐1297
JIMMIE HOLLIDAY       959 BETHANY ST                                                                            SAGINAW          MI     48601‐1473
JIMMIE HOLLIDAY JR.   PO BOX 727                                                                                FLINT            MI     48501‐0727
JIMMIE HOLMES         6200 LANGTON RD                                                                           NEWPORT          MI     48166‐9600
JIMMIE HOLMES         1811 BURT ST                                                                              SAGINAW          MI     48601‐1928
JIMMIE HONTZ          PO BOX 166                                                                                SUNRISE BEACH    MO     65079‐0166
JIMMIE HOOD           14552 LANNETTE ST                                                                         DETROIT          MI     48213‐1528
JIMMIE HOOVER         2004 S YORK RD                                                                            YORKTOWN         IN     47396‐1057
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Name                            Address1                           Address2                         Address3   Address4               City            State   Zip
JIMMIE HOPSON                   2929 ORE VALLEY DR                                                                                    HARTLAND         MI     48353‐2813
JIMMIE HOWARD                   PO BOX 985                                                                                            LULA             GA     30554‐0985
JIMMIE HOWARD                   1848 MIDDLEBORO RD.                                                                                   CLARKSVILLE      OH     45113‐9453
JIMMIE HUBBARD                  6559 BARON CT                                                                                         AVON             IN     46123‐9607
JIMMIE HUDSON                   3105 W RIDGEWAY AVE                                                                                   FLINT            MI     48504‐6827
JIMMIE HULSEY                   2665 NEWBERRY RD                                                                                      WATERFORD        MI     48329‐2347
JIMMIE HURD                     523 N MARTIN LUTHER KING JR BLVD                                                                      LANSING          MI     48915‐1953
JIMMIE HURST                    1254 HIGHWAY 36 E                                                                                     JACKSON          GA     30233‐3900
JIMMIE INGLIS‐CRAFT             2876 JAMES RD                                                                                         AUBURN HILLS     MI     48326‐2110
JIMMIE J JORDAN                 431 ALBERT RD                                                                                         BROOKVILLE       OH     45309
JIMMIE JACKSON                  3300 HAROLD ST                                                                                        SAGINAW          MI     48601‐3160
JIMMIE JACKSON                  P0 BOX 161                                                                                            ELWOOD           IN     46036
JIMMIE JACKSON                  1066 N 700 W                                                                                          SWAYZEE          IN     46986‐9762
JIMMIE JACKSON JR               4880 EVA ST                                                                                           SAGINAW          MI     48601‐6919
JIMMIE JACOBS                   3375 WALLACE AVE                                                                                      INDIANAPOLIS     IN     46218‐2361
JIMMIE JAMES                    701 N ALEXANDER AVE                                                                                   ROYAL OAK        MI     48067‐1945
JIMMIE JEFFERSON                352 KENTWOOD BLVD                                                                                     BRICK            NJ     08724‐3141
JIMMIE JENKINS                  626 MIMOSA DR                                                                                         MARTINSBURG      WV     25404‐0648
JIMMIE JENKINS                  105 WILKINS DR                                                                                        MONROE           LA     71202‐7223
JIMMIE JESSEE                   PO BOX 387                                                                                            SAINT PAUL       VA     24283‐0387
JIMMIE JETER                    3226 SWANN RD                      APT 102                                                            SUITLAND         MD     20746‐1331
JIMMIE JOHNSON                  3112 BURGESS ST                                                                                       FLINT            MI     48504‐2508
JIMMIE JOHNSON                  2806 HUTTON RD                                                                                        KANSAS CITY      KS     66109‐4423
JIMMIE JOHNSON                  11711 KENNEBEC ST                                                                                     DETROIT          MI     48205‐3249
JIMMIE JOHNSON                  10125 ELMS RD                                                                                         BIRCH RUN        MI     48415‐8446
JIMMIE JOHNSON                  3609 HARLEM AVE                                                                                       BALTIMORE        MD     21229‐2053
JIMMIE JOHNSON                  503 N MAIN ST APT 2                                                                                   WALBRIDGE        OH     43465‐1601
JIMMIE JOHNSON                  15002 E 49TH ST                                                                                       KANSAS CITY      MO     64136‐1334
JIMMIE JOHNSON                  19410 AVON                                                                                            DETROIT          MI     48219‐2177
JIMMIE JOHNSON                  BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.      OH     44236
JIMMIE JOHNSON FOUNDATION       4325 PAPA JOE HENDRICK BLVD                                                                           CHARLOTTE        NC     28262‐5701
JIMMIE JOHNSON KEARNY MESA      7978 BALBOA AVE                                                                                       SAN DIEGO        CA     92111‐2415
CHEVROLE
JIMMIE JOHNSON KEARNY MESA      7978 BALBOA AVE                                                                                       SAN DIEGO        CA     92111‐2415
CHEVROLET
JIMMIE JOHNSON RACING II, INC   JOHN LEWENSTEN                     4345 PAPA JOE, HENDRICK BLVD.,                                     CHARLOTTE        NC     28262
                                                                   CHARLOTTE
JIMMIE JOHNSON RACING INC       370 E MAPLE RD 4TH FLOOR                                                                              BIRMINGHAM      MI      48009
JIMMIE JOLES                    5505 W BAY CITY FORESTVILLE RD                                                                        UNIONVILLE      MI      48767‐9487
JIMMIE JONES                    PO BOX 38322                                                                                          DETROIT         MI      48238‐0322
JIMMIE JONES                    PO BOX 6398                                                                                           KOKOMO          IN      46904‐6398
JIMMIE JONES                    6106 DAVID BERGER ST                                                                                  MOUNT MORRIS    MI      48458‐2710
JIMMIE JONES                    7922 S ELIZABETH ST                                                                                   CHICAGO         IL      60620‐3824
JIMMIE JONES                    3776 ROCKPORT PL SW                                                                                   ATLANTA         GA      30331‐3731
JIMMIE JONES‐BEY                16157 GLYNN RD                                                                                        E CLEVELAND     OH      44112‐3536
JIMMIE JUSTICE                  6789 WINONA AVE                                                                                       ALLEN PARK      MI      48101‐2325
JIMMIE KANIADAKIS               BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.     OH      44236
JIMMIE KAYLOR                   3464 BOOTJACK CORNER RD                                                                               WILLIAMSBURG    OH      45176
JIMMIE KEE                      16709 TARKINGTON AVE                                                                                  CLEVELAND       OH      44128‐3751
JIMMIE KEGERRIES                22300 E 275TH ST                                                                                      HARRISONVILLE   MO      64701‐8193
JIMMIE KEMNITZ                  5910 BITTER CREEK RD                                                                                  AFTON           WY      83110‐9714
JIMMIE KEMPLEN                  352 N SYCAMORE ST                                                                                     HAGERSTOWN      IN      47346‐1326
JIMMIE KERR                     1355 EASTLAND AVE SE                                                                                  WARREN          OH      44484‐4547
JIMMIE KEY                      5 LAKESIDE EST                                                                                        MITCHELL        IN      47446‐9500
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Name                    Address1                       Address2                     Address3      Address4               City            State   Zip
JIMMIE KING             4410 CALEDONIA WAY                                                                               INDIANAPOLIS     IN     46254‐3637
JIMMIE KIRK             1261 DONAL DR                                                                                    FLINT            MI     48532‐2638
JIMMIE KOSTAL           7550 S RANSOM RD                                                                                 ASHLEY           MI     48806‐9306
JIMMIE KOSTUCK          150 VERSAILLES DR                                                                                BULL SHOALS      AR     72619‐4204
JIMMIE L ASKINS         1665 PHELPS LAKE RD                                                                              MAYVILLE         MI     48744‐9629
JIMMIE L BRADFORD       316 SPRUCE DRIVE                                                                                 MT VERNON         IL    62864
JIMMIE L BRASHEARS      422 SPRING AVENUE                                                                                FRANKLIN         OH     45005‐3567
JIMMIE L BROWN          BOX 87                                                                                           MARTINSVILLE     OH     45146‐‐ 00
JIMMIE L CATRON         P.O. BOX 124                                                                                     SOMERVILLE       OH     45064‐0124
JIMMIE L COLQUITT       634 HAZELBROOK AVE.                                                                              SPRINGFIELD      OH     45506
JIMMIE L COLSTON        383 SETTLEMENT RD                                                                                CARROLLTON       AL     35447‐3366
JIMMIE L COMBS          341875 GOLFVIEW DR                                                                               CHANDLER         OK     74834‐6640
JIMMIE L DIXON          16 HITCHING POST                                                                                 UNION            OH     45322‐3137
JIMMIE L ELMS           PO BOX 546                                                                                       STATHAM          GA     30666‐0011
JIMMIE L FRANKLIN       C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                                        HOUSTON          TX     77007
                        BOUNDAS, LLP
JIMMIE L GILL           9721 EASTERN AVE                                                                                 KANSAS CITY     MO      64134‐1622
JIMMIE L GREEN          109 GALLAGHER ST                                                                                 SAGINAW         MI      48601‐3250
JIMMIE L GREENWOOD      20431 GREELEY ST                                                                                 DETROIT         MI      48203‐1269
JIMMIE L HECKER         5905 TILLERY RD SE                                                                               FAUCETT         MO      64448‐9129
JIMMIE L HENDERSON      1100 TAYWOOD RD APT46                                                                            ENGLEWOOD       OH      45322‐2470
JIMMIE L JOHNSON        APT 2                          503 NORTH MAIN STREET                                             WALBRIDGE       OH      43465‐1601
JIMMIE L KENNEDY        11 W HUDSON AVENUE                                                                               DAYTON          OH      45405‐3325
JIMMIE L LEGGETT        935 FIELD ST                                                                                     HAMMOND         IN      46320‐2537
JIMMIE L LEVER          4096 SQUIRE HILL DR                                                                              FLUSHING        MI      48433‐3105
JIMMIE L MARINO         2646 N WASHINGTON RD                                                                             COVINGTON       OH      45318
JIMMIE L NICKELL        2336 SUGAR MAPLE DR                                                                              KETTERING       OH      45440
JIMMIE L OSBORN         MOTLEY RICE LLC                28 BRIDGESIDE BLVD           PO BOX 1792                          MT PLEASANT     SC      29465
JIMMIE L OSBORNE        2319 BANANA ST                                                                                   ST JAMES CITY   FL      33956‐2072
JIMMIE L PEARSON        1501 LOCHWOOD RD                                                                                 BALTIMORE       MD      21218‐1603
JIMMIE L PIERCE         3626 RUNYAN AVE                                                                                  TROTWOOD        OH      45416
JIMMIE L PRITCHETT JR   1417 LAPEER AVE                                                                                  SAGINAW         MI      48601‐1739
JIMMIE L PUGH           C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                         HOUSTON         TX      77007
                        BOUNDAS LLP
JIMMIE L RODGERS JR     C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                                        HOUSTON          TX     77007
                        BOUNDAS, LLP
JIMMIE L SCREWS         6760 HIGHWAY 242 W                                                                               LEXA            AR      72355‐8532
JIMMIE L SIMINGTON      3428 FULTON ST                                                                                   SAGINAW         MI      48601‐3116
JIMMIE L TAYLOR         917 INDIAN BRIDGE LN                                                                             DEFIANCE        OH      43512‐1944
JIMMIE L TESKE          6620 BRUCE RD BOX B4                                                                             CELINA          OH      45822‐8106
JIMMIE L TURNER JR      5655 BAKER RD                                                                                    BRIDGEPORT      MI      48722‐9594
JIMMIE L WILHOITE       3123 MCKINLEY ST                                                                                 ANDERSON        IN      46016‐5465
JIMMIE L WILLIAMS       835 CLARKSON AVE                                                                                 DAYTON          OH      45402‐5212
JIMMIE L WILSON JR      829 FOX AVE                                                                                      YPSILANTI       MI      48198‐8037
JIMMIE L WINTERS        106 HICKORY ST                                                                                   FLORA           MS      39071
JIMMIE L WOODY, JR.     1102 WILDWOOD AVE                                                                                DAYTON          OH      45417‐3943
JIMMIE LAND             7888 JARDINE                                                                                     DAVISBURG       MI      48350‐2543
JIMMIE LANDES           3406 CHAMBERS ST                                                                                 FLINT           MI      48507‐2133
JIMMIE LANE             453 GRANVILLE AVE                                                                                HILLSIDE        IL      60162‐1722
JIMMIE LAWRENCE         4486 WHEATLAND DR                                                                                SWARTZ CREEK    MI      48473‐8254
JIMMIE LAWRENCE JR      1727 BOULDERVIEW DR SE                                                                           ATLANTA         GA      30316‐4201
JIMMIE LEACH            1229 FAIR ST                                                                                     BOWLING GREEN   KY      42101‐2077
JIMMIE LEADMON          14851 BEECH DALY ROAD                                                                            TAYLOR          MI      48180‐4430
JIMMIE LEDFORD          851 ORCHARD DR                                                                                   KETTERING       OH      45419‐2323
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Name                            Address1                        Address2                     Address3   Address4               City              State   Zip
JIMMIE LEGGETT                  935 FIELD ST                                                                                   HAMMOND            IN     46320‐2537
JIMMIE LEMASTER                 4916 ARABIAN DR                                                                                FAIRBORN           OH     45324‐9733
JIMMIE LESTER                   BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
JIMMIE LETSON                   5758 COUNTY ROAD 221                                                                           MOULTON            AL     35650‐8133
JIMMIE LEVER                    1528 CADNEY ST NE                                                                              CANTON             OH     44714‐1189
JIMMIE LEVER                    4096 SQUIRE HILL DR                                                                            FLUSHING           MI     48433‐3105
JIMMIE LEWIS                    46 NORA LN                                                                                     BUFFALO            NY     14209‐2349
JIMMIE LEWIS                    1949 SHENANDOAH BLVD                                                                           CHIPLEY            FL     32428‐3199
JIMMIE LEWIS                    4705 EDWARDS AVE                                                                               FLINT              MI     48505‐3177
JIMMIE LOFTON                   3665 S NEEDLES HWY 35 C                                                                        LAUGHLIN           NV     89029
JIMMIE LONG                     2448 COLLEGE AVE SW                                                                            BIRMINGHAM         AL     35211‐5242
JIMMIE LONG                     54812 BERRYFIELD DR                                                                            MACOMB             MI     48042‐1636
JIMMIE LOU FLANDERS             3027 ORCHARD CR                                                                                TIFTON             GA     31793
JIMMIE LOZIER                   7052 REID RD                                                                                   SWARTZ CREEK       MI     48473‐9422
JIMMIE LUCIANI                  7814 CLYDESDALE DR SOUTHEAST                                                                   ADA                MI     49301‐9390
JIMMIE LYKINS                   3500 PARIS DR                                                                                  MORAINE CITY       OH     45439‐1224
JIMMIE M JACKSON                3005 KATHLEEN ST                                                                               DAYTON             OH     45405
JIMMIE M PARKER                 5202 LOOKOUT TRL                                                                               ARLINGTON          TX     76017‐1920
JIMMIE MADOLE                   1700 PEMBROKE DR                                                                               NORMAN             OK     73072‐3242
JIMMIE MAE MCCONNELL MEMORIAL   C/O FIRST COMMUNITY BANK        1300 NORTH 78TH ST                                             KANSAS CITY        KS     66112
JIMMIE MANCHESTER               9711 N LAKE POINT DR                                                                           OTTER LAKE         MI     48464‐9400
JIMMIE MANUEL                   1335 OAK HILL CT APT 109                                                                       TOLEDO             OH     43614‐2533
JIMMIE MARTIN                   2240 DURHAM RD                                                                                 SHELBY TOWNSHIP    MI     48317‐2721
JIMMIE MASSEY                   PO BOX 384                                                                                     HILLSBORO          MO     63050‐0384
JIMMIE MASSIE                   1477 S SUTTON ST                                                                               WESTLAND           MI     48186‐3862
JIMMIE MAUK                     2277 MITCHELL LAKE RD                                                                          LUM                MI     48412‐9325
JIMMIE MC ANALLY                2885 WISNER HWY                                                                                ADRIAN             MI     49221‐8526
JIMMIE MC BRYDE                 20036 NORWOOD ST                                                                               DETROIT            MI     48234‐1824
JIMMIE MC COWAN                 5221 WESTVIEW RD                                                                               CLARKSTON          MI     48346‐4165
JIMMIE MCARTHUR                 6628 BROOKSHIRE TRL                                                                            NORTH RICHLAND     TX     76180‐4412
                                                                                                                               HILLS
JIMMIE MCBETH                   1675 KENSINGTON DR                                                                             DAYTON            OH      45406‐4158
JIMMIE MCCOLLUM                 1316 HORSESHOE DR                                                                              LEWISBURG         TN      37091‐6906
JIMMIE MCCORMICK                5322 GROVER DRIVE                                                                              COLUMBIAVILLE     MI      48421‐8914
JIMMIE MCCUNE                   114 MYERS LAKE DR                                                                              NOBLESVILLE       IN      46062‐8663
JIMMIE MCDANIEL                 11333 SUGAR PINE DR APT 311                                                                    FLORISSANT        MO      63033‐6715
JIMMIE MCDONALD                 39 HAWTHORNE AVE                                                                               MARTINSBURG       WV      25401‐0054
JIMMIE MCDOUGLE                 18027 OAKFIELD ST                                                                              DETROIT           MI      48235‐3280
JIMMIE MCGEE                    1408 W PASADENA AVE                                                                            FLINT             MI      48504‐2526
JIMMIE MCGEE                    3937 THREE MILE DR                                                                             DETROIT           MI      48224‐3605
JIMMIE MCINTOSH                 3143 E PIERSON RD                                                                              FLINT             MI      48506‐1478
JIMMIE MCKINNEY                 40 BRIGHTON ST                                                                                 DAYTON            OH      45404‐2049
JIMMIE MCMILLAN                 2216 BRADY AVE                                                                                 BURTON            MI      48529‐2427
JIMMIE MEADE                    2898 SW 168TH AVE                                                                              OCALA             FL      34481‐8779
JIMMIE MEADE                    BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH      44236
JIMMIE MEIRING                  2201 GREYTWIG DR                                                                               KOKOMO            IN      46902‐4556
JIMMIE MELTON                   3663 W HOWE RD APT C                                                                           DEWITT            MI      48820‐8218
JIMMIE MILLER                   6242 BERMUDA LN                                                                                MOUNT MORRIS      MI      48458‐2625
JIMMIE MILLER                   1214 EVERGREEN LN                                                                              YORKVILLE         IL      60560‐9260
JIMMIE MILLER                   3127 AMSTERDAM DR                                                                              CLIO              MI      48420‐1495
JIMMIE MILLER                   328 COUNTY ROAD 197                                                                            GARY              TX      75643‐3818
JIMMIE MILLER                   PO BOX 494                                                                                     MORGANTOWN        IN      46160‐0494
JIMMIE MILLS                    238 SATELLITE AVE                                                                              INVERNESS         FL      34450
JIMMIE MOBLEY                   18070 BELAND ST                                                                                DETROIT           MI      48234‐3838
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Name                   Address1                        Address2                     Address3   Address4               City            State   Zip
JIMMIE MOLLENKOPF      8842 W FALL CREEK DR                                                                           PENDLETON        IN     46064‐9746
JIMMIE MOORE           618 W ALMA AVE                                                                                 FLINT            MI     48505‐2022
JIMMIE MOORE           480 N NEW LOTHROP RD                                                                           LENNON           MI     48449‐9646
JIMMIE MOORE           6721 GLENHILLS DR                                                                              ENGLEWOOD        OH     45322‐3513
JIMMIE MORGAN          1109 NORTH DR                                                                                  ANDERSON         IN     46011‐1166
JIMMIE MORGAN          4437 W CARPENTER RD                                                                            FLINT            MI     48504‐1122
JIMMIE MORTON          6595 STATE ROUTE 132                                                                           GOSHEN           OH     45122‐9270
JIMMIE MOSLEY          3613 DONNELLY ST                                                                               FLINT            MI     48504‐3528
JIMMIE MOULTRIE        1028 S 25TH ST                                                                                 SAGINAW          MI     48601‐6524
JIMMIE MULLEN JR       23 N PARKER AVE                                                                                BUFFALO          NY     14216‐1625
JIMMIE MULLIKIN        605 S INSTITUTE ST                                                                             RICHMOND         MO     64085‐2900
JIMMIE MULLINS         325 CARMEL ST                                                                                  WESTLAND         MI     48186‐6856
JIMMIE MYERS           2727 E WYNNTON LN                                                                              COLUMBUS         GA     31906‐2166
JIMMIE NAPIER          45 EL DORADO E                                                                                 TUSCALOOSA       AL     35405‐3533
JIMMIE NAYLOR          4853 INDEPENDENCE DR                                                                           BRADENTON        FL     34210‐1936
JIMMIE NEAL EVANS      734 SOUTHRIDGE AVENUE                                                                          TROY             OH     45373
JIMMIE NEELY           524 PEARL ST                                                                                   BEREA            OH     44017‐1242
JIMMIE NELSON          1314 W DARTMOUTH ST                                                                            FLINT            MI     48504‐2671
JIMMIE NORRICK         2316 MEADOW WAY                                                                                ANDERSON         IN     46012‐9450
JIMMIE NORRIS          11643 STATE HIGHWAY J                                                                          PUXICO           MO     63960‐7322
JIMMIE NORRIS          817 INGLESIDE AVE                                                                              FLINT            MI     48507‐2558
JIMMIE NORTON          2781 DELLA DR                                                                                  HOLLY            MI     48442‐9186
JIMMIE NUNN            1704 EUCLID DR                                                                                 ANDERSON         IN     46011‐3127
JIMMIE O THOMPSON      506 FIREBIRD CT                                                                                ARLINGTON        TX     76002‐3386
JIMMIE OSBORNE         2319 BANANA ST                                                                                 ST JAMES CITY    FL     33956‐2072
JIMMIE OSTRANDER       5120 EAST RD                                                                                   SAGINAW          MI     48601‐9787
JIMMIE OTTO            707 GARDEN CT                                                                                  ANDERSON         IN     46011‐1819
JIMMIE OVERBEY         10175 WILDFIRE RD                                                                              CADET            MO     63630‐8305
JIMMIE OWEN            1506 WILDWOOD CT                                                                               FLINT            MI     48532‐2079
JIMMIE OWENS           3197 DELANEY ST                                                                                FLINT            MI     48506‐2068
JIMMIE OWENS           1422 W COURT ST                 FAMILY SERVICE AGENCY                                          FLINT            MI     48503‐5008
JIMMIE OWENSBY         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH     44236
JIMMIE PACE            9491 CENTER RD                                                                                 FOSTORIA         MI     48435‐9785
JIMMIE PARKER          5202 LOOKOUT TRL                                                                               ARLINGTON        TX     76017‐1920
JIMMIE PARRETT         6027 S 594 W                                                                                   WARREN           IN     46792‐9799
JIMMIE PARRISH         35 S ALEXANDER ST                                                                              DANVILLE          IL    61832‐6401
JIMMIE PATRICK         5343 KELLENBURGER RD                                                                           DAYTON           OH     45424‐1011
JIMMIE PATTERSON III   1254 SELMA ST                                                                                  WESTLAND         MI     48186‐4031
JIMMIE PATTON          921 WAMPLER BRANCH RD                                                                          GREENUP          KY     41144
JIMMIE PAYNE JR        1335 ALGER ST                                                                                  SAGINAW          MI     48601‐3015
JIMMIE PEARSON         1501 LOCHWOOD RD                                                                               BALTIMORE        MD     21218‐1603
JIMMIE PEARSON         7459 RAY BROWNING RD                                                                           BROOKSVILLE      FL     34601‐3808
JIMMIE PEAVLER         805 LINDBERG RD                                                                                ANDERSON         IN     46012‐2627
JIMMIE PENAMON         800 E COURT ST APT 313                                                                         FLINT            MI     48503‐6214
JIMMIE PERDUE          1419 MAGNOLIA RDG                                                                              BOSSIER CITY     LA     71112‐5043
JIMMIE PERKS           1755 CLARK RD                                                                                  LAPEER           MI     48446‐9431
JIMMIE PERRY           10024 KNOLLCREST DR                                                                            SAINT LOUIS      MO     63136‐2043
JIMMIE PETERSON        6226 W COURT ST                                                                                FLINT            MI     48532‐3243
JIMMIE PETERSON        6850 DAYTON LIBERTY R                                                                          DAYTON           OH     45418‐1437
JIMMIE POLING          PO BOX 154                                                                                     SCOTT            OH     45886‐0154
JIMMIE POLLEY          1408 OAK MNR                                                                                   BEDFORD          IN     47421‐2741
JIMMIE POOLE           3078 E GOLDFINCH WAY                                                                           CHANDLER         AZ     85286‐5728
JIMMIE POPE            1016 EAGLE VIEW DR                                                                             LAWRENCEVILLE    GA     30044
JIMMIE PREVETT         5376 MAURA DR                                                                                  FLUSHING         MI     48433‐1056
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Name                  Address1                       Address2            Address3         Address4               City              State   Zip
JIMMIE PRIEST         2081 SEYMOUR LAKE RD                                                                       ORTONVILLE         MI     48462‐9229
JIMMIE PRINCE         9551 US HIGHWAY 50 W                                                                       MITCHELL           IN     47446‐5450
JIMMIE PRITCHETT JR   1417 LAPEER AVE                                                                            SAGINAW            MI     48601‐1739
JIMMIE PUTHOFF        4789 BAYSHORE DR                                                                           BLAINE             WA     98230‐6501
JIMMIE QUADE          1982 WHITE FEATHER LN                                                                      NOKOMIS            FL     34275‐5315
JIMMIE R ALLEN        425 W GENESEE ST                                                                           FLINT              MI     48505‐6611
JIMMIE R ALLEN        PO BOX 5535                                                                                FLINT              MI     48505‐0535
JIMMIE R BAIRE        34 COURTNEY DR                                                                             ASHFORD            WV     25009‐9547
JIMMIE R BALLARD      3478 RIDGECLIFFE DR                                                                        FLINT              MI     48532
JIMMIE R BELL         6280 N CHAPEL HILL RD                                                                      BOLTON             MS     39041
JIMMIE R BRANTON      1496 WIGGINS RD                                                                            FENTON             MI     48430‐9721
JIMMIE R DAY          12 FORDS CT                                                                                COLUMBIA           SC     29229‐9165
JIMMIE R JOHNSON      WEITZ & LUXENBERG P C          700 BROADWAY                                                NEW YORK           NY     10003
JIMMIE R KERR         1355 EASTLAND AVE. S.E.                                                                    WARREN             OH     44484‐4547
JIMMIE R LEDFORD      851 ORCHARD DR                                                                             KETTERING          OH     45419
JIMMIE R MC COWAN     5340 WESTVIEW RD                                                                           CLARKSTON          MI     48346‐4162
JIMMIE R MILLER       3127 AMSTERDAM DR                                                                          CLIO               MI     48420‐1495
JIMMIE R MOORE        6721 GLENHILLS DR                                                                          ENGLEWOOD          OH     45322‐3513
JIMMIE R PARRETT      6027 S 594 W                                                                               WARREN             IN     46792
JIMMIE R POLLEY       1408 OAK MANOR                                                                             BEDFORD            IN     47421‐2741
JIMMIE R SALYERS      980 WILMINGTON AVE             APT 804                                                     DAYTON             OH     45420
JIMMIE R WATT         6209 BELLTREE LN                                                                           FLINT              MI     48504‐1645
JIMMIE RANDOLPH       6501 BIG SPRINGS DR                                                                        ARLINGTON          TX     76001‐5122
JIMMIE RAY            5832 E COLE RD                                                                             BANCROFT           MI     48414‐9412
JIMMIE REAGAN         RR 1 BOX 220                                                                               PATTON             MO     63662‐9753
JIMMIE REDDEN         55 TWIN OAK DR                                                                             ROCHESTER          NY     14606‐4405
JIMMIE REDDEN         55 TWIN OAKS                                                                               ROCHESTER          NY     14606‐4405
JIMMIE REDIC          4318 DROWFIELD DR                                                                          TROTWOOD           OH     45426‐1918
JIMMIE REECE          1126 MOORPOINT DR                                                                          NORTH LAS VEGAS    NV     89031
JIMMIE REED           8278 PIERSON ST                                                                            DETROIT            MI     48228‐2828
JIMMIE RICE           613 N WINDSOR DR                                                                           MARION             IN     46952‐2621
JIMMIE RICE I I       7236 POTTER RD                                                                             FLUSHING           MI     48433‐9443
JIMMIE RICHARD        210 W YORK AVE                                                                             FLINT              MI     48505‐2095
JIMMIE RICHARDS       176 PICNIC LN                                                                              MARTINSBURG        WV     25405‐2681
JIMMIE RICHARDSON     205 W 11TH ST                                                                              ALEXANDRIA         IN     46001‐2803
JIMMIE RICHARDSON     400 S PINEHURST LN                                                                         YORKTOWN           IN     47396‐9341
JIMMIE RICHMOND       5829 BERKLEY DR                                                                            WATERFORD          MI     48327‐2609
JIMMIE RILEY          10412 TRAIL HILL LN                                                                        CORDOVA            TN     38016‐6683
JIMMIE ROBERSON       119 BUNCH CIR                                                                              MONROE             LA     71202‐7244
JIMMIE ROBERSON       12316 CORD 16                                                                              GREENSBORO         AL     36744
JIMMIE ROBERTSON      1549 NEW HARP LOOP                                                                         FORESTBURG         TX     76239‐3313
JIMMIE ROBERTSON      616 E CHELSEA CIR                                                                          DAVISON            MI     48423‐1203
JIMMIE ROBINSON       404 AYERS LN                                                                               SCOTTSVILLE        KY     42164‐6330
JIMMIE RODRIGUEZ      12807 CATALPA ST                                                                           SOUTHGATE          MI     48195‐1207
JIMMIE RODRIGUEZ      138 COPPERRIDGE DR                                                                         BRANDON            MS     39042‐3700
JIMMIE ROETCHKE       6330 CANYON TRL                                                                            FORT WORTH         TX     76135‐2435
JIMMIE ROGERS         PO BOX 255                                                                                 COLDIRON           KY     40819‐0255
JIMMIE ROGERS         4389 E HILL RD                                                                             GRAND BLANC        MI     48439‐7946
JIMMIE ROGERS         PO BOX 311008                                                                              FLINT              MI     48531‐1008
JIMMIE ROPER          PO BOX 401285                                                                              REDFORD            MI     48240‐9285
JIMMIE RYAN           2274 E SCHUMACHER ST                                                                       BURTON             MI     48529‐2441
JIMMIE SABO           4420 CARMANWOOD DR                                                                         FLINT              MI     48507‐5653
JIMMIE SADLER JR      17832 MARX ST                                                                              DETROIT            MI     48203‐2418
JIMMIE SALYER         1808 WILLAMET RD                                                                           KETTERING          OH     45429‐4253
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Name                      Address1                        Address2                     Address3            Address4               City               State   Zip
JIMMIE SALYERS            980 WILMINGTON AVE APT 804                                                                              DAYTON              OH     45420‐1623
JIMMIE SANDERS            3614 DIAMONDALE DR E                                                                                    SAGINAW             MI     48601‐5805
JIMMIE SANDERS            2423 HUB WILLIS RD                                                                                      MOUNTAIN VIEW       AR     72560‐7362
JIMMIE SANFORD MITCHELL   BARON & BUDD PC                 THE CENTRUM SUITE 1100       3102 OAK LAWN AVE                          DALLAS              TX     75219‐4281
JIMMIE SCHEWE             29664 BARTON ST                                                                                         GARDEN CITY         MI     48135‐2687
JIMMIE SCOTT              955 W BEAL AVE                                                                                          BUCYRUS             OH     44820‐3488
JIMMIE SCREWS             6774 HIGHWAY 242 W                                                                                      LEXA                AR     72355‐8532
JIMMIE SEAL               607 BRIGHTON AVE                                                                                        MUSCLE SHOALS       AL     35661‐3401
JIMMIE SETTLES            2065 BALM RD                                                                                            WETUMPKA            AL     36092‐3605
JIMMIE SHAMORY            408 E 4TH ST                                                                                            FAIRMOUNT           IN     46928‐1406
JIMMIE SHAVER             7906 RICH RD                                                                                            FOSTORIA            MI     48435‐9414
JIMMIE SHELTON            PO BOX 7655                                                                                             SURPRISE            AZ     85374‐0110
JIMMIE SHELTON            28745 HWY 251                                                                                           ARDMORE             AL     35739
JIMMIE SHIELDS            C/O NIX PATTERSON & ROACH LLP   GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                            DAINGERFIELD        TX     75638
JIMMIE SHORTER            22469 BELL CT                                                                                           FARMINGTON HILLS    MI     48335‐3901

JIMMIE SHOWERS            733 ELLSWORTH DR                                                                                        TROTWOOD           OH      45426‐2515
JIMMIE SHRUM              3531 HELEN AVE                                                                                          LINCOLN PARK       MI      48146‐3427
JIMMIE SIMINGTON          3428 FULTON ST                                                                                          SAGINAW            MI      48601‐3116
JIMMIE SIMMONS            744 BECKY LN                                                                                            WAXAHACHIE         TX      75165‐9667
JIMMIE SIMS               263 HUDSON AVE                                                                                          ROCHESTER          NY      14605‐2151
JIMMIE SIX                1790 GRAHAM DR NE                                                                                       LANCASTER          OH      43130‐8720
JIMMIE SIZEMORE           1816 WINDING WAY                                                                                        ANDERSON           IN      46011‐1841
JIMMIE SKILES             699 FOX LN                                                                                              GRUBVILLE          MO      63041‐1010
JIMMIE SKINNER            BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS         OH      44236
JIMMIE SLOAN              7862 MERIDIAN LINE RD                                                                                   JOHANNESBURG       MI      49751‐9582
JIMMIE SMITH              3309 CALVERT ST                                                                                         DETROIT            MI      48206‐1462
JIMMIE SMITH              61 E FAIRMOUNT AVE                                                                                      PONTIAC            MI      48340‐2727
JIMMIE SMITH              2329 RAY RD                                                                                             FENTON             MI      48430‐9612
JIMMIE SMITH              19334 HARTWELL ST                                                                                       DETROIT            MI      48235‐1271
JIMMIE SMITH              4138 KEYES ST                                                                                           FLINT              MI      48504‐3561
JIMMIE SMITH              716 E GRAND BLANC RD                                                                                    GRAND BLANC        MI      48439‐1333
JIMMIE SMITH              2289 HAZELWOOD DR. S.W.                                                                                 ATLANTA            GA      30311
JIMMIE SNADER             2250 APPLEBLOSSOM DR                                                                                    MIAMISBURG         OH      45342‐4267
JIMMIE SNADER             2250 APPLE BLOSSOM DR                                                                                   MIAMISBURG         OH      45342‐4267
JIMMIE SNYDER             5326 FENTON RD                                                                                          FLINT              MI      48507‐4035
JIMMIE SOUTHWICK          12705 GREGWARE DR                                                                                       SAND LAKE          MI      49343‐9429
JIMMIE SPEED              633 HENDRIX PL                                                                                          SHREVEPORT         LA      71106‐5130
JIMMIE SPENCE             2065 FOREST HILL AVE SE                                                                                 GRAND RAPIDS       MI      49546‐6261
JIMMIE SPIECE             2770 TIGER DR                                                                                           SAGINAW            MI      48601‐9234
JIMMIE STALLWORTH         PO BOX 20326                                                                                            FERNDALE           MI      48220‐0326
JIMMIE STAMPS JR          PO BOX 88172                                                                                            KENTWOOD           MI      49518‐0172
JIMMIE STATEN             125 ISLE OF VENICE DR APT 2                                                                             FT LAUDERDALE      FL      33301‐1456
JIMMIE STAUDACHER         8539 DOLPHIN ST                                                                                         PORTAGE            MI      49024‐6124
JIMMIE STEPHENS I I I     288 E OLIVE RD APT 12B                                                                                  PENSACOLA          FL      32514‐4571
JIMMIE STEWARD            570 ADAMS ST                                                                                            BUFFALO            NY      14211‐3102
JIMMIE STEWARD JR         PO BOX 495                                                                                              BUFFALO            NY      14212‐0495
JIMMIE STEWART            PO BOX 228                                                                                              CAVE CITY          KY      42127‐0228
JIMMIE STEWART            3056 W CASS AVE                                                                                         FLINT              MI      48504‐1206
JIMMIE STIFFLER           2913 HANOVER DR                                                                                         ARLINGTON          TX      76014‐2427
JIMMIE STOKES             4405 PENGELLY RD                                                                                        FLINT              MI      48507‐5420
JIMMIE STONE              1200 W RUNDLE AVE                                                                                       LANSING            MI      48910‐2574
JIMMIE STOWERS            73 PRALL ST                                                                                             PONTIAC            MI      48341‐1437
JIMMIE STOWERS JR         7090 FELIX DR                                                                                           CLARKSTON          MI      48346‐2614
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Name                Address1                       Address2                     Address3   Address4               City            State   Zip
JIMMIE STRONG       PO BOX 970521                                                                                 YPSILANTI        MI     48197‐0809
JIMMIE SUMMERS      3117 CHANCERY LN                                                                              SAINT CHARLES    MO     63301‐1094
JIMMIE SWINDELL     138 S ROSLYN RD                                                                               WATERFORD        MI     48328‐3551
JIMMIE T WHEELER    3920 KITTYHAWK DR                                                                             DAYTON           OH     45403‐2842
JIMMIE TALISON      19343 SUNSET ST                                                                               DETROIT          MI     48234‐2049
JIMMIE TARKET       996 BALDWIN RD                                                                                LAPEER           MI     48446‐3006
JIMMIE TAYLOR       1458 NICHOLS RD                                                                               FLUSHING         MI     48433‐9725
JIMMIE TAYLOR       86 WIRANS RD                                                                                  ANNISTON         AL     36205‐3501
JIMMIE TAYLOR       917 INDIAN BRIDGE LN                                                                          DEFIANCE         OH     43512‐1944
JIMMIE TAYLOR       3931 KENTRIDGE DR SE                                                                          GRAND RAPIDS     MI     49508‐2693
JIMMIE TAYLOR       350 GLEN RD                                                                                   HIAWASSEE        GA     30546‐4384
JIMMIE TERRY        6815 WOODSIDE AVE                                                                             KANSAS CITY      MO     64133‐8003
JIMMIE TERRY        4721 SALZMAN RD                                                                               MIDDLETOWN       OH     45044‐9471
JIMMIE TESKE        6620 BRUCE RD LOT B4                                                                          CELINA           OH     45822‐8106
JIMMIE THACKER      306 MAXWELL RD                                                                                INDIANAPOLIS     IN     46217‐3438
JIMMIE THERRELL     2039 CHURCH ST                                                                                CHUNKY           MS     39323‐9707
JIMMIE THOMAS       617 ODETTE ST                                                                                 FLINT            MI     48505‐5165
JIMMIE THOMAS       933 HARMONY WAY                                                                               COLUMBIA         TN     38401‐2476
JIMMIE THOMAS       348 COUNTY ROAD 413                                                                           LAFE             AR     72436‐9134
JIMMIE THOMAS       920 1ST AVE N                                                                                 BESSEMER         AL     35020‐5459
JIMMIE THOMPKINS    P. O. BOX 3207                                                                                ANAHEIM          CA     92803
JIMMIE THOMPSON     506 FIREBIRD CT                                                                               ARLINGTON        TX     76002‐3386
JIMMIE THOMPSON     104 WILLOWBROOK DRIVE                                                                         PIKEVILLE        NC     27863
JIMMIE TIDWELL      8014 E NYE HWY                                                                                EATON RAPIDS     MI     48827‐9068
JIMMIE TOLBERT      2087 SEVENHILLS DR                                                                            CINCINNATI       OH     45240‐2705
JIMMIE TORREZ       12752 BRADLEY AVE                                                                             SYLMAR           CA     91342‐4611
JIMMIE TOWNSEND     20 MARTHA AVE                                                                                 BUFFALO          NY     14215‐2843
JIMMIE TUCKER JR    3144 W CASS AVE                                                                               FLINT            MI     48504‐1208
JIMMIE TUGGLE       720 HIGHWAY 314                                                                               FAYETTEVILLE     GA     30214‐3977
JIMMIE TURNER       3264 TIMBERVIEW ST                                                                            FLINT            MI     48532‐3755
JIMMIE TURNER       3115 SILVERWOOD DR                                                                            SAGINAW          MI     48603‐6804
JIMMIE TURNER       3916 AURORA ST                                                                                INDIANAPOLIS     IN     46227‐3606
JIMMIE TURNER JR    5655 BAKER RD                                                                                 BRIDGEPORT       MI     48722‐9594
JIMMIE TYLER        145 VIRGIE CT                                                                                 BOWLING GREEN    KY     42104‐7447
JIMMIE VANDYKE      3314 DREXEL AVE                                                                               FLINT            MI     48506‐1926
JIMMIE VICKERS      4231 MUIRFIELD LOOP                                                                           LAKE WALES       FL     33859‐5724
JIMMIE VORES        1933 GRAND AVE                                                                                NEW CASTLE       IN     47362‐2570
JIMMIE W ADAMS      319 E 5TH ST                                                                                  FRANKLIN         OH     45005
JIMMIE W CAMPBELL   PO BOX 562                                                                                    BROOKHAVEN       MS     39602
JIMMIE W YOW        C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                                     HOUSTON          TX     77007
                    BOUNDAS, LLP
JIMMIE WADLEY       5071 BROWN CITY RD                                                                            BROWN CITY      MI      48416‐9333
JIMMIE WAGGONER     3712 WILBER RD                                                                                EAST TAWAS      MI      48730‐9734
JIMMIE WAGNER       25898 BOWMAN RD                                                                               DEFIANCE        OH      43512‐8995
JIMMIE WALL         ROUT 2 BOX 157 B HICKS ST                                                                     MADILL          OK      73446
JIMMIE WALLS        2011 MISTY MORNING DR                                                                         WINTER HAVEN    FL      33880‐1928
JIMMIE WALRAVEN     203 MYSTIC FALLS DR                                                                           APOLLO BEACH    FL      33572‐3131
JIMMIE WALTERS      5036 BEECHER RD                                                                               FLINT           MI      48532‐2402
JIMMIE WARD         5 RIO VISTA DR                                                                                SAINT CHARLES   MO      63303‐4102
JIMMIE WARREN       427 MOORE ST                                                                                  PONTIAC         MI      48342‐1962
JIMMIE WATSON       5542 CONTINENTAL RD                                                                           GRAND BLANC     MI      48439‐9106
JIMMIE WATSON       7506 IDEAL AVE                 APT 20                                                         FORT WAYNE      IN      46809‐2555
JIMMIE WATT         6209 BELLTREE LN                                                                              FLINT           MI      48504‐1645
JIMMIE WATTERS      9301 ROBSON ST                                                                                DETROIT         MI      48228‐2363
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Name                    Address1                        Address2                     Address3          Address4               City              State   Zip
JIMMIE WATZ             4938 LUM RD                                                                                           LUM                MI     48412‐9210
JIMMIE WAYNE BARBAREE   WEITZ & LUXENBERG PC            700 BROADWAY                                                          NEW YORK CITY      NY     10003
JIMMIE WEEKS            800 COUNTY HIGHWAY 31                                                                                 WINFIELD           AL     35594‐6552
JIMMIE WEESE            2058 WIND TRACE RD S                                                                                  NAVARRE            FL     32566‐3011
JIMMIE WELLMAN          BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                            BOSTON HEIGHTS     OH     44236
JIMMIE WELLS            3233 MCCOWAN DR                                                                                       TAYLOR MILL        KY     41015‐4436
JIMMIE WESTBROOK        704 COUNTY RD 36                                                                                      BRILLIANT          AL     35548
JIMMIE WHEELER          3920 KITTYHAWK DR                                                                                     DAYTON             OH     45403‐2842
JIMMIE WHITAKER         5039 E VIENNA RD                                                                                      CLIO               MI     48420‐9786
JIMMIE WHITE            2431 CEDAR BEND DR                                                                                    ANDERSON           IN     46011
JIMMIE WHITE            PO BOX 265                                                                                            LAKE               WV     25121‐0265
JIMMIE WHITE            2006 COSTELLO DR                                                                                      ANDERSON           IN     46011‐3931
JIMMIE WHITE            1193 RIVER VALLEY DR APT 3                                                                            FLINT              MI     48532‐2971
JIMMIE WILBERT          2515 OAKWOOD DR                                                                                       FORT WAYNE         IN     46816‐4021
JIMMIE WILHOITE         3123 MCKINLEY ST                                                                                      ANDERSON           IN     46016‐5465
JIMMIE WILLIAMS         1508 DEERFIELD AVE SOUTHWEST                                                                          WARREN             OH     44485‐3935
JIMMIE WILLIAMS         835 CLARKSON AVE                                                                                      DAYTON             OH     45402‐5212
JIMMIE WILLIAMS         111 N OXFORD AVE                                                                                      INDEPENDENCE       MO     64053‐1220
JIMMIE WILLIAMS         10185 N GENESEE RD                                                                                    MOUNT MORRIS       MI     48458‐9735
JIMMIE WILLIAMS         5683 OLIVE TREE DR                                                                                    DAYTON             OH     45426‐1312
JIMMIE WILSON           2203 GLENHAVEN ST                                                                                     ARLINGTON          TX     76010‐2228
JIMMIE WINSLOW          4900 ROSSITER DR                                                                                      WATERFORD          MI     48329
JIMMIE WINTERS          5375 QUEENS AVE                                                                                       SAINT LOUIS        MO     63115‐1302
JIMMIE WITHERS          1305 WILLOW DR                                                                                        BRAZIL             IN     47834‐3347
JIMMIE WOLF             13117 MEADOW LN                                                                                       LEAWOOD            KS     66209‐1942
JIMMIE WOOD             8029 MONITOR DR                                                                                       NEW PORT RICHEY    FL     34653‐2353
JIMMIE WOODSON          291 INDIAN PARK DR                                                                                    MURFREESBORO       TN     37128‐6887
JIMMIE WORD             10252 CONTINENTAL DR                                                                                  TAYLOR             MI     48180‐3109
JIMMIE WORKS            PO BOX 14890                                                                                          SAGINAW            MI     48601‐0890
JIMMIE WRIGHT           469 HIGHWAY 365                                                                                       TISHOMINGO         MS     38873‐9341
JIMMIE YARBROUGH        5232 W ADAMS ST                                                                                       CHICAGO             IL    60644‐4309
JIMMIE YARBROUGH        4129 GLENN RD                                                                                         SHREVEPORT         LA     71107‐8208
JIMMIE YOUNG            2335 HOLLACE CHASTAIN RD                                                                              MITCHELL           IN     47446‐5977
JIMMIE YOUNG            189 WHITE DR                                                                                          BRANSON            MO     65616‐9281
JIMMIENELL GEORGE       5075 N COCONUT TER                                                                                    BEVERLY HILLS      FL     34465‐2904
JIMMIENELL HAMBY        1640 PIEDMONT LN                                                                                      CUMMING            GA     30040‐9316
JIMMY ( ROGERS          P.O. BOX 427                                                                                          WAYNESVILLE        OH     45068‐0427
JIMMY A AUSBORN         254 WINFIELD                                                                                          JACKSON            MS     39212‐5021
JIMMY A DRURY           1682 COUNTY ROAD 319                                                                                  DUBLIN             TX     76446‐6210
JIMMY A HECKERT         39545 ROCKSPRINGS RD                                                                                  POMEROY            OH     45769
JIMMY A MCLAUGHLIN      108 W XENIA DR                                                                                        FAIRBORN           OH     45324‐4919
JIMMY A. BROWN          429 KIRKS MILL ROAD                                                                                   NOTTINGHAM         PA     19362‐9013
JIMMY ABNEY             5039 MERIT DR                                                                                         FLINT              MI     48506‐2187
JIMMY ADKINS            305 N CLAYPOOL RD                                                                                     MUNCIE             IN     47303‐5128
JIMMY ADKINS            905 W BARNES AVE                                                                                      LANSING            MI     48910‐1305
JIMMY ALCORN            3562 TANYARD HOLLOW RD                                                                                CULLEOKA           TN     38451‐2339
JIMMY ALESHIRE          750 BAYRIDGE BLVD                                                                                     WILLOWICK          OH     44095‐4239
JIMMY ALLEN             956 MARKHAM ST                                                                                        FLINT              MI     48507‐2569
JIMMY ALLEN             807 BEACHSIDE DR                                                                                      CHANDLER           TX     75758‐5140
JIMMY ALLEN             156 CARLYLE CIR                                                                                       COLUMBIA           SC     29206‐3148
JIMMY ALLEN HINDS       BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.        OH     44236
JIMMY ALLEN MYERS       NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD       TX     75638
JIMMY ALTMAN            405 LINDA LN                                                                                          CABOT              AR     72023‐3137
JIMMY AMBURGY           118 E BROADWAY ST                                                                                     SOUTH LEBANON      OH     45065‐1302
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Name                Address1                      Address2                      Address3   Address4               City             State   Zip
JIMMY ANDERSON      21C QUEENS WAY                                                                                CAMILLUS          NY     13031‐1721
JIMMY ANDREWS       14324 CENTERPRT LANDING1110                                                                   FT WORTH          TX     76155
JIMMY ANGER         8169 CARPENTER RD                                                                             FLUSHING          MI     48433‐1361
JIMMY ARMS          3351 S POTTAWATOMIE RD                                                                        HARRAH            OK     73045‐5960
JIMMY ASKEW         4819 MARLOW DR                                                                                WARREN            MI     48092‐4608
JIMMY AUSTIN        3206 MONTANA AVE                                                                              FLINT             MI     48506‐2557
JIMMY B BRYANT      1426 MUSIC PLACE                                                                              LEBANON           OH     45036
JIMMY BAGLEY        5226 MCEVER RD                                                                                OAKWOOD           GA     30566‐3112
JIMMY BAKER         1732 VICTOR ST                                                                                YPSILANTI         MI     48198‐6601
JIMMY BALDWIN       901 BRESTOL CT E                                                                              BEDFORD           TX     76021‐2303
JIMMY BALL          1085 DOLLAR ISLAND LN                                                                         BEAN STATION      TN     37708‐6466
JIMMY BALLARD       4710 DANCER DR                                                                                INDIANAPOLIS      IN     46237‐2171
JIMMY BANKS         6400 FRONDOSA DR                                                                              SHREVEPORT        LA     71119‐7713
JIMMY BANKS JR      1613 LIMESTONE TRL                                                                            FORT WORTH        TX     76134‐2842
JIMMY BARKER        RR 1 BOX 93                                                                                   NEWTON            GA     39870‐9703
JIMMY BARLOW        315 NEW YORK ST                                                                               FARMLAND          IN     47340‐9793
JIMMY BARNES SR     4633 HIGHWAY 34                                                                               WEST MONROE       LA     71292‐0339
JIMMY BARTREAU      1118 S WHEELER ST                                                                             SAGINAW           MI     48602‐1145
JIMMY BASS          491 COLLIER RD                                                                                CONCORD           GA     30206‐3535
JIMMY BASSHAM       3110 CLIFFORD RD                                                                              SILVERWOOD        MI     48760‐9538
JIMMY BATY          84 DUKES PARK RD                                                                              SUMMERTOWN        TN     38483‐7009
JIMMY BAYLESS       821 NEUBERT AVENUE                                                                            FLINT             MI     48507‐1720
JIMMY BEASLEY       PO BOX 685                                                                                    CARBON HILL       AL     35549‐0685
JIMMY BEATTY        C/O THE MADEKSHO LAW FIRM     8866 GULF FREEWAY SUITE 440                                     HOUSTON           TX     77017
JIMMY BEAUCHAMP     7252 DECOY LN                                                                                 FORT WORTH        TX     76120‐1640
JIMMY BEAVER        2709 LENORA RD                                                                                SNELLVILLE        GA     30039‐5412
JIMMY BEAVERS       14659 S HURON RIVER DR                                                                        ROMULUS           MI     48174‐3624
JIMMY BECKHAM JR.   PO BOX 441                                                                                    NILES             OH     44446‐0441
JIMMY BECKLEY       6153 THORNCLIFF DR                                                                            SWARTZ CREEK      MI     48473‐8820
JIMMY BEDINGFIELD   487 FRIENDSHIP RD                                                                             SOMERVILLE        AL     35670‐3716
JIMMY BENCE         110 QUAIL ST                                                                                  LEESBURG          GA     31763‐4309
JIMMY BENNETT       1942 JACKSON ROAD 1                                                                           BRADFORD          AR     72020‐9154
JIMMY BISHOP        20912 MILLARD ST                                                                              TAYLOR            MI     48180‐2988
JIMMY BLACK         PO BOX 1775                                                                                   SPRING HILL       TN     37174‐1775
JIMMY BLACKWELL     2630 RASKOB ST                                                                                FLINT             MI     48504‐3331
JIMMY BLAKE         339 MARTINDALE RD                                                                             BOLIVAR           TN     38008‐1209
JIMMY BLAKELEY      N16041 KELL ROAD                                                                              SPALDING          MI     49886
JIMMY BOGGS         268 MELODY LN                                                                                 WEST JEFFERSON    NC     28694‐8151
JIMMY BOICOURT      9726 W 400 N                                                                                  SHIRLEY           IN     47384
JIMMY BOND          PO BOX 433                                                                                    BLANCHARD         OK     73010‐0433
JIMMY BORDEN        350 MILKY WAY DR                                                                              PULASKI           TN     38478‐7556
JIMMY BORTON        8604 HARRIS HWY                                                                               MORENCI           MI     49256‐9748
JIMMY BOSLEY        756 KING ST                                                                                   IONIA             MI     48846‐1049
JIMMY BOWLES        1305 REGATTA WAY                                                                              MCDONOUGH         GA     30252‐3993
JIMMY BRACKETT SR   1320 SMITHDALE HEIGHTS DR                                                                     CUMMING           GA     30040‐7804
JIMMY BRADLEY       5588 ELDRIDGE DR                                                                              WATERFORD         MI     48327‐2726
JIMMY BRADLEY JR    602 12TH AVE NW                                                                               DECATUR           AL     35601‐1130
JIMMY BRANDON DO    9481 ASPEN VIEW DR                                                                            GRAND BLANC       MI     48439‐8037
JIMMY BRATTON       2380 CYPRESS WAY                                                                              MUSCLE SHOALS     AL     35661‐3183
JIMMY BREWER        PO BOX 442                                                                                    RISON             AR     71665‐0442
JIMMY BRIGGS        12 RANCHO DR                                                                                  KELLER            TX     76248‐5001
JIMMY BRITT         3096 ROSEBUD RD                                                                               LOGANVILLE        GA     30052‐2425
JIMMY BRITT         PO BOX 83                     6850 CENTERLINE                                                 KINGSTON          MI     48741‐0083
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Name                                   Address1                          Address2                 Address3            Address4               City            State Zip
JIMMY BRITT CHEVROLET‐PONTIAC‐BUICK    1011 TOWN CREEK BLVD                                                                                  GREENSBORO       GA 30642‐2777

JIMMY BRITT CHEVROLET‐PONTIAC‐BUICK,   JIMMY BRITT                       1011 TOWN CREEK BLVD                                                GREENSBORO      GA   30642‐2777
INC.
JIMMY BRITT CHEVROLET‐PONTIAC‐BUICK,   1011 TOWN CREEK BLVD                                                                                  GREENSBORO      GA   30642‐2777
INC.
JIMMY BROADNAX                         16500 QUARRY RD APT 158                                                                               SOUTHGATE       MI   48195‐1436
JIMMY BROCK                            780 HIRAM DAVIS RD                                                                                    LAWRENCEVILLE   GA   30045‐8676
JIMMY BROOKS                           576 W ASHTON AVE                                                                                      LIMA            OH   45801‐3612
JIMMY BROWN                            1213 LANE RD NW                                                                                       HARTSELLE       AL   35640‐8505
JIMMY BROWN                            PO BOX 12                                                                                             KEITHVILLE      LA   71047‐0012
JIMMY BROWN                            1230 RENEE DR                                                                                         PLAINFIELD      IN   46168‐9292
JIMMY BROWNING
JIMMY BROWNLEE                         383 VANDIVE RD                                                                                        DAWSONVILLE     GA   30534
JIMMY BRYANT                           1426 MUSIC PL                                                                                         LEBANON         OH   45036‐7983
JIMMY BUGG                             BARON & BUDD PC                   THE CENTRUM SUITE 1100   3102 OAK LAWN AVE                          DALLAS          TX   75219‐4281
JIMMY BUNCH                            23801 MARSHALL ST                                                                                     DEARBORN        MI   48124‐1434
JIMMY BURDEN                           1155 COUNTY ROAD 268                                                                                  TOWN CREEK      AL   35672‐3121
JIMMY BURGESS                          7802 GRIMSLEY GIBSON RD                                                                               MANSFIELD       TX   76063‐6116
JIMMY BURKE                            4419 N FOREST HILLS BLVD                                                                              JANESVILLE      WI   53545‐8938
JIMMY BURKES                           4869 WAYLAND CIR                                                                                      ACWORTH         GA   30101‐5173
JIMMY BURKHART                         1431 TROY DR                                                                                          LEWISBURG       TN   37091‐4215
JIMMY BURTON                           70 PINEDALE PL                                                                                        JASPER          AL   35504‐5222
JIMMY BUSH                             39 1/2 WALDO ST                                                                                       PONTIAC         MI   48341‐1226
JIMMY C BUSH                           39 1/2 WALDO ST                                                                                       PONTIAC         MI   48341‐1226
JIMMY C GEE                            958 HIGHWAY 136 E                                                                                     DAWSONVILLE     GA   30534‐3712
JIMMY C REED                           4122 SARDIS CH RD                                                                                     BUFORD          GA   30519
JIMMY C RILEY                          243 HAROLD LN                                                                                         CAMPBELL        OH   44405‐1112
JIMMY CACHERO                          231 JENNIFER LN                                                                                       ARLINGTON       TX   76002‐2795
JIMMY CADLE                            1930 WITT CT                                                                                          LOMBARD         IL   60148‐4274
JIMMY CAMPBELL                         11064 ANDERSONVILLE RD                                                                                DAVISBURG       MI   48350‐3129
JIMMY CAMPBELL                         6337 E COLDWATER RD                                                                                   FLINT           MI   48506‐1213
JIMMY CANADAY                          3121 CURTIS DR                                                                                        FLINT           MI   48507‐1219
JIMMY CANFIELD                         20868 STATE HIGHWAY 24                                                                                PURCELL         OK   73080‐4629
JIMMY CANNON                           11058 CUMMING HWY                                                                                     CANTON          GA   30115‐8192
JIMMY CANTRELL                         1015 JORDAN DR                                                                                        GAINESVILLE     GA   30501‐7033
JIMMY CANUPS                           6589 COUNTY ROAD 434                                                                                  TRINITY         AL   35673‐4667
JIMMY CARAWAY                          1121 SPRING CREEK RD                                                                                  GENEVA          AL   36340‐6551
JIMMY CARLSON                          5036 OVERTON RIDGE CIR APT 1618                                                                       FORT WORTH      TX   76132‐1924
JIMMY CARR                             4417 CLEARWATER DR E                                                                                  MAUMEE          OH   43537‐9125
JIMMY CARROLL                          1405 TROTTERS LN                                                                                      ROCKVALE        TN   37153‐4040
JIMMY CARTER                           5874 DAWN RIDGE DR                                                                                    TROY            MI   48098‐5103
JIMMY CARTER                           1359 BENTREE DR SE                                                                                    KENTWOOD        MI   49508‐7397
JIMMY CATHCART                         3749 W NEEDMORE HWY                                                                                   CHARLOTTE       MI   48813‐8669
JIMMY CHAE                             16 HUMPHREY ST                                                                                        ENGLEWOOD       NJ   07631‐3445
JIMMY CHANG                            5627 SEASIDE HEIGHTS DR                                                                               RANCHO PALOS    CA   90275‐4934
                                                                                                                                             VERDES
JIMMY CHAPMAN                          7555 S INDIAN LAKE DR                                                                                 VICKSBURG       MI   49097‐8344
JIMMY CHAPMAN                          5607 SQUIRES DR                                                                                       LEESBURG        FL   34748‐2321
JIMMY CHRISMAN                         8451 NEFF RD                                                                                          GREENVILLE      OH   45331‐9626
JIMMY CHRON                            2455 ALCOTT ST                                                                                        BURTON          MI   48509‐1143
JIMMY CHUNN                            1486 COUNTY ROAD 369                                                                                  HARVIELL        MO   63945‐8198
JIMMY CLARK                            13806 CRESTED PT                                                                                      SAN ANTONIO     TX   78217‐1433
JIMMY COBB                             30850 ISLAND DR                                                                                       GIBRALTAR       MI   48173‐9547
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Name                          Address1                       Address2                      Address3   Address4               City              State   Zip
JIMMY COCHRAN                 7444 OLD HICKORY DR NE                                                                         BELMONT            MI     49306‐9422
JIMMY COLE                    5017 GLORE RD SW                                                                               MABLETON           GA     30126‐5509
JIMMY COLLEY                  145 E TOBIAS ST                                                                                FLINT              MI     48503‐3978
JIMMY COLLINS                 811 LAUREL HILLS CT                                                                            CEDAR HILL         TX     75104‐7809
JIMMY COLLINS                 31 SHIRLEY DR                                                                                  TROY               MO     63379‐6304
JIMMY COLLINS                 PO BOX 560                                                                                     HARROGATE          TN     37752‐0560
JIMMY COLLINS                 23044 COUNTRY VIEW LN                                                                          FLAT ROCK          MI     48134‐1161
JIMMY COLLINS                 1505 W STEWART AVE                                                                             FLINT              MI     48504‐3576
JIMMY COLLINS                 2505 LUMPKIN CAMPGROUND RD S                                                                   DAWSONVILLE        GA     30534‐7741
JIMMY COOK                    10721 COUNTY ROAD 23                                                                           MOUNT HOPE         AL     35651‐9761
JIMMY COOK                    RT 81 BOX 60                                                                                   PETERSTOWN         WV     24963
JIMMY COOPER                  2800 E NORTH ST                                                                                MUNCIE             IN     47303‐4175
JIMMY COPELAND                2939 KNOB CREEK RD                                                                             COLUMBIA           TN     38401‐1438
JIMMY CORLEW                  5391 SCHMIDT RD                                                                                GLADWIN            MI     48624‐9643
JIMMY CORLZER                 19347 APPOLINE ST                                                                              DETROIT            MI     48235‐1216
JIMMY COTTEN                  720 COUNTY ROAD, #1987                                                                         YANTIS             TX     75497
JIMMY COTTON                  2301 LIBRA ST                                                                                  SHAWNEE            OK     74804‐9309
JIMMY COVIEO                  1900 N WALDO RD                                                                                MIDLAND            MI     48642‐8832
JIMMY COX                     1326 BROOK LN                                                                                  ROCHESTER HLS      MI     48306‐4209
JIMMY CROW                    304 W MORGAN RD                                                                                DECATUR            AL     35603‐3748
JIMMY CRUCE                   3544 LIPPINCOTT RD                                                                             LAPEER             MI     48446‐9638
JIMMY CRUMIT                  758 DEERWOOD DR                                                                                DEFIANCE           OH     43512‐8126
JIMMY CRUMP                   1006 GRAND AVE                                                                                 CLEBURNE           TX     76033‐5202
JIMMY CUNNINGHAM JR           2816 TRUMBULL AVE                                                                              FLINT              MI     48504‐2525
JIMMY CURTIS                  10271 S BRAY RD                                                                                CLIO               MI     48420‐7712
JIMMY D ABLES                 877 W CROOKED STICK DR                                                                         CASA GRANDE        AZ     85122
JIMMY D AND MARY C FAULKNER   2012 OTTER VALLEY LN                                                                           NASHVILLE          TN     37215‐5106
JIMMY D ARMS                  3351 S POTTAWATOMIE RD                                                                         HARRAH             OK     73045‐5960
JIMMY D BURGESS               7802 GRIMSLEY GIBSON RD                                                                        MANSFIELD          TX     76063‐6116
JIMMY D BURSE                 5267 SKYLARK DR                                                                                JACKSON            MS     39212
JIMMY D CAMPBELL              160 BURKHART AVENUE APRT #B                                                                    RUSSELLS POINT     OH     43348
JIMMY D COLLEY                145 E TOBIAS ST                                                                                FLINT              MI     48503‐3978
JIMMY D DAVIDSON              2 NAVIGATOR CT                                                                                 BALTIMORE          MD     21220‐2424
JIMMY D EGGLESTON             4750 LAKEBORN DR                                                                               WHITE LAKE         MI     48383‐1543
JIMMY D JONES, JR.            5809 BEECHAM DR                                                                                HUBER HEIGHTS      OH     45424
JIMMY D LA RUE                RR 1 BOX 91                                                                                    SPARKS             OK     74869‐9752
JIMMY D MAGNUSSON             29645 HODGES RD                                                                                ARDMORE            AL     35739‐8239
JIMMY D RIFE                  1322 INGLESIDE AVE                                                                             FLINT              MI     48507‐2346
JIMMY D SHUPE                 11676 PINE ST                                                                                  TAYLOR             MI     48180‐4035
JIMMY D SORRELL               225 CHARLES DR                                                                                 CARLISLE           OH     45005
JIMMY D WOOD                  509 MEASELS RD                                                                                 MORTON             MS     39117
JIMMY D. SIMS                 4102 N KITLEY AVE                                                                              INDIANAPOLIS       IN     46226‐4934
JIMMY DAIGREPONT              114 LAKE SHORE DR                                                                              SHAWNEE            OK     74804‐1079
JIMMY DAVIDSON                13133 RIVERVAN AVE                                                                             BALTIMORE          MD     21220‐1172
JIMMY DAVIS                   3969 RIVER GLEN DR                                                                             LEWISBURG          TN     37091‐5618
JIMMY DAVIS                   118 OMAR ST                                                                                    PONTIAC            MI     48342‐2426
JIMMY DAVIS                   12213 E 50TH TER S                                                                             INDEPENDENCE       MO     64055‐5722
JIMMY DAVIS                   501 S TRENT RD                                                                                 RAVENNA            MI     49451‐9172
JIMMY DAWSON                  5917 HILLIARD RD                                                                               LANSING            MI     48911‐4926
JIMMY DEBOO                   2237 DISCOVERY CIR W                                                                           DEERFIELD BEACH    FL     33442‐1036
JIMMY DELOZIER                THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                                     HOUSTON            TX     77017
JIMMY DEMENT                  1836 DON LONG RD                                                                               WASKOM             TX     75692‐7026
JIMMY DENSON                  754 KAPPES ST                                                                                  INDIANAPOLIS       IN     46221‐1142
JIMMY DERRINGTON              664 SANDBERG DRIVE                                                                             SYCAMORE            IL    60178‐4400
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Name                   Address1                        Address2                     Address3          Address4               City              State   Zip
JIMMY DILL             3428 W 94TH ST                                                                                        CLEVELAND          OH     44102‐4842
JIMMY DOAK             1611 VERNON ST                                                                                        TRENTON            MI     48183‐1926
JIMMY DOCKERY          109 LAKELAND DR                                                                                       CONTINENTAL        OH     45831‐9566
JIMMY DOLLARD          3995 OLD STATE RD                                                                                     NATIONAL CITY      MI     48748‐9616
JIMMY DOTSON           3423 OLD ANNEEWAKEE RD                                                                                DOUGLASVILLE       GA     30135
JIMMY DOUGHERTY        4129 W STATE ROAD 142                                                                                 MONROVIA           IN     46157‐9166
JIMMY DOUGHERTY        3205 HYDE PARK CT                                                                                     ARLINGTON          TX     76015‐2209
JIMMY DOWNING          329 SWEEPSTAKES CT                                                                                    BOWLING GREEN      KY     42104‐7571
JIMMY DOWNS            19668 COX RD                                                                                          ATHENS             AL     35611‐8935
JIMMY DOYLE            7215 HUNTINGTON DR                                                                                    OSCODA             MI     48750‐9772
JIMMY DOYLE            PO BOX 418                                                                                            SWAYZEE            IN     46986‐0418
JIMMY DOYLE WHITENER   NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD       TX     75638
JIMMY DRURY            1682 COUNTY ROAD 319                                                                                  DUBLIN             TX     76446‐6210
JIMMY DUNAHOO          8340 SUNSET DR                                                                                        LYONS              MI     48851‐9633
JIMMY DUNN             1809 CORONADO ST                                                                                      ARLINGTON          TX     76014‐1524
JIMMY DYER             2487 COUNTY RD #327                                                                                   MOULTON            AL     35650
JIMMY E CHANDLER       4325 S ATLANTIC AVE                                                                                   PONCE INLET        FL     32127
JIMMY E JACKSON        C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY, STE 600                                            HOUSTON            TX     77007
                       BOUNDAS, LLP
JIMMY E THOMAS         1436 WEST STEWART ST                                                                                  DAYTON            OH      45408‐1818
JIMMY EARL             4468 INDIAN HILL RD                                                                                   NASHVILLE         IN      47448‐8133
JIMMY EDWARDS          205 N 74TH ST UNIT 102                                                                                MESA              AZ      85207‐7403
JIMMY EGGLESTON        4750 LAKEBORN DR                                                                                      WHITE LAKE        MI      48383‐1543
JIMMY EHN              1328 E AVENUE J5                                                                                      LANCASTER         CA      93535‐4361
JIMMY ELDER            116 DEERWOOD CIR                                                                                      FITZGERALD        GA      31750‐6511
JIMMY ELLIFF           164 TALL OAKS DR                                                                                      STRAFFORD         MO      65757‐7832
JIMMY ELLIOTT          462 COUNTY ROAD 234                                                                                   GANADO            TX      77962‐8503
JIMMY ELLIOTT          8238 BURR HILL RD                                                                                     RHOADESVILLE      VA      22542‐8952
JIMMY ELLIOTT          5765 HOLLYBROOK LN N                                                                                  SYLVANIA          OH      43560‐1565
JIMMY ELLIS            2321 N MONROE ST                                                                                      BALTIMORE         MD      21217‐1302
JIMMY ELSON            326 E G ST                                                                                            ONTARIO           CA      91764‐3728
JIMMY ESTEPP           21697 TULIPWOOD ST                                                                                    WOODHAVEN         MI      48183‐1519
JIMMY ESTES            15231 SANDERSON RD                                                                                    HARVEST           AL      35749‐7041
JIMMY ESTES            223 MOORE DR                                                                                          FRANKLIN          OH      45005‐2156
JIMMY F PATTERSON      9926 LARRY LN                                                                                         GREENWOOD         LA      71033‐2339
JIMMY FAGGINS          1735 N LINDER AVE                                                                                     CHICAGO           IL      60639‐4219
JIMMY FAUSTO           8111 CUMBERLAND GAP TRL N                                                                             JACKSONVILLE      FL      32244‐6519
JIMMY FEDERICO         8356 QUARTZ AVE                                                                                       CANOGA PARK       CA      91306‐1446
JIMMY FERGUSON         135 SUPERIOR RD                                                                                       FITZGERALD        GA      31750‐7100
JIMMY FERRELL          21899 BOLENDER PONTIUS RD                                                                             CIRCLEVILLE       OH      43113‐8945
JIMMY FITZWATER        2506 NORTHEAST 59TH TERRACE                                                                           KANSAS CITY       MO      64118‐5533
JIMMY FLOURNOY         723 CLAY ST                                                                                           MINDEN            LA      71055‐4101
JIMMY FLOWERS          1800 SOUTHPORT RD                                                                                     CULLEOKA          TN      38451‐2001
JIMMY FOSKETT          9764 HART LAKE RD                                                                                     OTTER LAKE        MI      48464‐9405
JIMMY FOSTER           488 CORNWALL AVE                                                                                      BUFFALO           NY      14215‐3126
JIMMY FOSTER           85 SPRING BRANCH RD                                                                                   TROY              MO      63379‐5416
JIMMY FOX              PO BOX 5332                                                                                           SUN CITY CENTER   FL      33571‐5332
JIMMY FRANCESCHI       BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.       OH      44236
JIMMY FRITTS           1238 SMITH RD                                                                                         XENIA             OH      45385‐8750
JIMMY FUHRMAN          736 BRIARWOOD LN                                                                                      HURST             TX      76053‐5504
JIMMY FULGENCIO        1012 S JEFFERSON AVE                                                                                  SAGINAW           MI      48601‐2524
JIMMY FULK             4011 MCGREGOR LN                                                                                      TOLEDO            OH      43623‐1648
JIMMY FULTON           1335 THISTLE GATE PATH                                                                                LAWRENCEVILLE     GA      30045‐5454
JIMMY G DEMENT         9520 MCCAIN RD                                                                                        SHREVEPORT        LA      71107‐9295
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Name                         Address1                         Address2                    Address3   Address4               City              State   Zip
JIMMY G POWELL               PO BOX 27                                                                                      JAYESS             MS     39641
JIMMY G PUCKETT              4012 HWY 1000                                                                                  WEST LIBERTY       KY     41472‐8442
JIMMY GARCIA                 2903 CAMPBELL ST                                                                               JOLIET              IL    60435‐6491
JIMMY GARCIA                 891 CAMERON AVE                                                                                PONTIAC            MI     48340‐3211
JIMMY GARMON                 1235 DEMAREE RD                                                                                GREENWOOD          IN     46143‐9518
JIMMY GARNER                 1406 FULTON AVE                                                                                ALEXANDRIA         IN     46001‐2718
JIMMY GARRISON               921 E MCARTHUR ST                                                                              CORUNNA            MI     48817‐1747
JIMMY GASH                   392 TRAILVIEW CIR                                                                              MARTINEZ           CA     94553‐3560
JIMMY GEE                    958 HIGHWAY 136 E                                                                              DAWSONVILLE        GA     30534‐3712
JIMMY GEER                   851 FM 3203                                                                                    ROARING SPRINGS    TX     79256‐3912
JIMMY GEORGE LEMONS          C/O WEITZ LUXENBERG PC           700 BROADWAY                                                  NEW YORK CITY      NY     10003
JIMMY GEORGE LEMONS          WEITZ & LUXENBERG PC             700 BROADWAY                                                  NEW YORK           NY     10003
JIMMY GIBSON                 26481 SCOGGINS RD                                                                              ELKMONT            AL     35620‐4625
JIMMY GILL                   613 EVERETT DR                                                                                 ATHENS             AL     35611‐5412
JIMMY GILREATH               118 DORSEY RD                                                                                  AUSTIN             KY     42123‐9734
JIMMY GIVENS                 5513 LANE AVE                                                                                  RAYTOWN            MO     64133‐3253
JIMMY GLENN                  323 PAXTON AVE                                                                                 CALUMET CITY        IL    60409‐1702
JIMMY GOLDEN                 2131 ORMOND RD                                                                                 WHITE LAKE         MI     48383‐2245
JIMMY GOODENOUGH             7271 E 500 S                                                                                   WABASH             IN     46992‐8584
JIMMY GOSS                   PO BOX 2066                                                                                    PRENTISS           MS     39474‐2066
JIMMY GOSS                   5122 BOWER AVE                                                                                 DAYTON             OH     45431‐1203
JIMMY GOSSETT                1702 AVENUE F                                                                                  GRAND PRAIRIE      TX     75051‐3434
JIMMY GOWDER                 PO BOX 81484                                                                                   CONYERS            GA     30013‐9420
JIMMY GRANT                  5048 FLORENCE ST                                                                               OAKWOOD            GA     30566‐2645
JIMMY GRAVES                 3391 DONNA DR                                                                                  FLINT              MI     48507‐5110
JIMMY GRAY CHEVROLET, INC.   JIMMY GRAY, JR.                  181 GOODMAN ROAD                                              SOUTHAVEN          MS     38671
JIMMY GRAY CHEVROLET, INC.   JAMES GRAY                       181 GOODMAN RD                                                SOUTHAVEN          MS     38671
JIMMY GRAY CHEVROLET, INC.   181 GOODMAN RD                                                                                 SOUTHAVEN          MS     38671
JIMMY GREEN                  2600 CINNAMON PARK CIR APT 612                                                                 ARLINGTON          TX     76016‐1468
JIMMY GREEN                  520 HICKORY LN APT 104                                                                         WESTLAND           MI     48185‐3436
JIMMY GREEN                  6757 W FAYETTEVILLE RD                                                                         RIVERDALE          GA     30296‐2526
JIMMY GREENLEE               PO BOX 602                                                                                     CAVE CITY          AR     72521‐0602
JIMMY GREER                  PO BOX 944                                                                                     RAYVILLE           LA     71269‐0944
JIMMY GRIFFIN                432 BIRCHWOOD DR                                                                               MONROE             LA     71203‐2241
JIMMY GRIFFIN                9300 BLUEWATER CIR                                                                             OKLAHOMA CITY      OK     73165‐9625
JIMMY GUFFEY                 1820 MAPLEWOOD RD                                                                              GLASGOW            KY     42141‐1072
JIMMY GUNDERMAN              6120 WECKERLY RD                                                                               WHITEHOUSE         OH     43571‐9579
JIMMY GUNTER                 732 BOLESTOWN RD                                                                               ALPINE             TN     38543‐6218
JIMMY H EDWARDS              2 GRAND AVE                                                                                    TROTWOOD           OH     45426
JIMMY H SIMPSON              C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                     HOUSTON            TX     77007
                             BOUNDAS LLP
JIMMY H SMITH                4377 REDWOOD CIR                                                                               JACKSON           MS      39212‐3636
JIMMY HAGLER                 PO BOX 152                                                                                     KENNESAW          GA      30156‐0152
JIMMY HALL                   6410 CHESTNUT BEND DR                                                                          NORCROSS          GA      30071‐2264
JIMMY HALL                   7000 20TH ST                     LOT 929                                                       VERO BEACH        FL      32966
JIMMY HALL & JANET V. HALL   7000 20TH STREET                 LOT 929                                                       VERO BEACH        FL      32966
JIMMY HAMILTON               2249 CLARA MATHIS RD                                                                           SPRING HILL       TN      37174‐2545
JIMMY HAMLIN                 3488 N DURAND RD                                                                               CORUNNA           MI      48817‐9759
JIMMY HAMPTON                9918 GREEN OAK DR                                                                              SHREVEPORT        LA      71106‐8204
JIMMY HAMPTON                211 S JORDAN ST                                                                                WHITESBORO        TX      76273‐2004
JIMMY HAMPTON                1427 BYRON AVE                                                                                 YPSILANTI         MI      48198‐3100
JIMMY HANSON                 PO BOX 434                                                                                     INKSTER           MI      48141‐0434
JIMMY HANSON                 13634 MCKINLEY RD                                                                              MONTROSE          MI      48457‐9058
JIMMY HARDWICK               313 N INSTITUTE ST                                                                             RICHMOND          MO      64085‐1424
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Name                     Address1                       Address2            Address3         Address4               City           State   Zip
JIMMY HARDY              329 DAVE BAILEY RD                                                                         FLOVILLA        GA     30216‐2201
JIMMY HARPER             586 OLDS ST                                                                                YPSILANTI       MI     48198‐6028
JIMMY HARRIS             200 W MILLINGTON RD                                                                        FOSTORIA        MI     48435‐9749
JIMMY HARRIS             6218 BARKER DR                                                                             WATERFORD       MI     48329‐3106
JIMMY HARRIS             23599 COACH LIGHT DR APT 301                                                               SOUTHFIELD      MI     48075‐3612
JIMMY HARRISON           7817 COUNTY ROAD 1204                                                                      RIO VISTA       TX     76093‐3926
JIMMY HART               38209 W 371ST ST                                                                           LANE            KS     66042‐4130
JIMMY HARTWELL           2238 N WESTWOOD AVE                                                                        SANTA ANA       CA     92706‐1926
JIMMY HARWELL            PO BOX 872                                                                                 OXFORD          GA     30054‐0872
JIMMY HATFIELD           8500 TAMARACK RD                                                                           PITTSFORD       MI     49271‐9751
JIMMY HAYNES             PO BOX 35456                                                                               CLEVELAND       OH     44135‐0456
JIMMY HAYNES             219 WOODLAND DRIVE                                                                         BUFFALO         NY     14223‐1640
JIMMY HEAVENER           50 TIMBER RIDGE DR                                                                         ALMO            KY     42020‐9256
JIMMY HELTON             2272 N SHALLOWFORD RD                                                                      CHAMBLEE        GA     30341‐1644
JIMMY HEMBREE            8344 N M 52                                                                                HENDERSON       MI     48841‐9709
JIMMY HENDERSON          PO BOX 310465                                                                              FLINT           MI     48531‐0465
JIMMY HENRY              6 GRIESENAUER CT                                                                           O FALLON        MO     63368‐8027
JIMMY HENSON             460 LAUGHBAUM DR                                                                           GALION          OH     44833‐1036
JIMMY HENSON             6262 GERMANTOWN LIBERTY RD                                                                 GERMANTOWN      OH     45327‐9523
JIMMY HERBIN             3912 MAPLE LEAF LN                                                                         ELLENTON        FL     34222‐3739
JIMMY HESTER             2020 W HILLSDALE ST                                                                        LANSING         MI     48915‐1122
JIMMY HICKMON            PO BOX 3374                                                                                FLINT           MI     48502‐0374
JIMMY HICKS              106 DAVID DR                                                                               COLLINSVILLE     IL    62234‐5133
JIMMY HIGGINS            1215 JAYNE DR                                                                              KOKOMO          IN     46902‐6127
JIMMY HILL               2297 TELEGRAPH RD                                                                          RISING SUN      MD     21911‐1771
JIMMY HILL               214 S HACKER RD                                                                            BRIGHTON        MI     48114‐8753
JIMMY HILL               5159TYLER OAKS DRIVE                                                                       MOUNT OLIVE     AL     35117
JIMMY HILL               5159 TYLER OAKS DRIVE                                                                      MOUNT OLIVE     AL     35117
JIMMY HINTON             PO BOX 689                                                                                 DACULA          GA     30019‐0012
JIMMY HOLCOMB            2676 THOMPSON STATION RD E     ROAD                                                        THOMPSONS       TN     37179‐9248
                                                                                                                    STATION
JIMMY HOLLAND            761 HIGHWAY 324                                                                            VINA           AL      35593‐3133
JIMMY HOLLIS             1084 WHALEN RD                                                                             BROWNSVILLE    KY      42210‐9252
JIMMY HOLLIS JR          18035 LOUISVILLE RD                                                                        SMITHS GROVE   KY      42171‐8706
JIMMY HOLMAN             20 RIGHT ELEVATOR DR                                                                       BALTIMORE      MD      21220‐4538
JIMMY HOLTON             1296 RICHARDSON RD                                                                         CALHOUN        LA      71225‐9440
JIMMY HOOSIER            29379 JEB STUART HWY                                                                       DAMASCUS       VA      24236‐4215
JIMMY HOSKINS            4005 NW DELWOOD CT                                                                         BLUE SPRINGS   MO      64015‐6923
JIMMY HOUSTON OUTDOORS   PO BOX 26                                                                                  COOKSON        OK      74427‐0129
JIMMY HOWE               840 MEL AVE                                                                                LANSING        MI      48911‐3614
JIMMY HOWELL             1472 N GENESEE RD                                                                          BURTON         MI      48509‐1441
JIMMY HUDGINS            4636 STRICKLAND RD                                                                         FLOWERY BR     GA      30542‐3631
JIMMY HUDSON             35 ERSKINE AVE                                                                             BUFFALO        NY      14215‐3319
JIMMY HUFFMAN            16274 HAUSS AVE                                                                            EASTPOINTE     MI      48021‐1153
JIMMY HULSEY             29 MCCULLOUGH RD                                                                           BELLFLOWER     MO      63333‐2317
JIMMY HUTCHINSON         27200 PARKVIEW BLVD APT 314                                                                WARREN         MI      48092‐2817
JIMMY HYDE               28 GOLDEN EAGLE DR                                                                         ADAIRSVILLE    GA      30103‐5870
JIMMY INGLE              692 FROST RD                                                                               BOWDON         GA      30108‐1978
JIMMY ISAACS             7330 N 600 W                                                                               FRANKTON       IN      46044‐9567
JIMMY ISOM               798 WISE AVE                                                                               BALTIMORE      MD      21222‐5054
JIMMY ISOM               1321 CORTEZ ROAD                                                                           ASHEBORO       NC      27205
JIMMY ISON               972 CHIRCO DR                                                                              OXFORD         MI      48371‐4808
JIMMY J ALLEN            24 CORRIGAN STREET                                                                         ROCHESTER      NY      14612‐2120
JIMMY J BARLOW           1389 N 675 W                                                                               FARMLAND       IN      47340‐9538
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Name                     Address1                           Address2                    Address3      Address4               City            State   Zip
JIMMY J CRUMIT           758 DEERWOOD DR                                                                                     DEFIANCE         OH     43512‐8126
JIMMY J JOZWIAK          5188 WINSHALL DR                                                                                    SWARTZ CREEK     MI     48473‐1223
JIMMY J JUSKAE           642 SKYLES RD                                                                                       ENGLEWOOD        OH     45322
JIMMY JACKSON            6205 RIVERBIRCH RD                                                                                  WALLS            MS     38680‐9460
JIMMY JAMES MCCLANAHAN   MOTLEY RICE LLC                    28 BRIDGESIDE BLVD          PO BOX 1792                          MT PLEASANT      SC     29465
JIMMY JEFFERS            298 MORTON RD                                                                                       LA FOLLETTE      TN     37766‐7412
JIMMY JENKINS            4 PEARL DR                                                                                          EUSTIS           FL     32726‐6768
JIMMY JOHNSON            2905 MELVIN HILL RD                                                                                 CAMPOBELLO       SC     29322‐8361
JIMMY JOHNSON            1663 STANBERY CT                                                                                    TOLEDO           OH     43612‐2032
JIMMY JOHNSON            1900 BRANCH VIEW DR                                                                                 MARIETTA         GA     30062‐1906
JIMMY JOHNSON            1127 MELEARS BRIDGE RD NE                                                                           CRAWFORDVILLE    GA     30631‐2549
JIMMY JOHNSON            1253 RIVER OAKS DR                                                                                  FLINT            MI     48532‐2830
JIMMY JOHNSON            12452 S WALLACE ST                                                                                  CHICAGO           IL    60628‐7128
JIMMY JOHNSON JR         3706 MENLO RD                                                                                       SHAKER HTS       OH     44120‐5055
JIMMY JOHNSON, JR        3562 PENNINGTON RD                                                                                  SHAKER HTS       OH     44120‐5014
JIMMY JONES              1329 WINTHORNE DR                                                                                   NASHVILLE        TN     37217‐2412
JIMMY JONES              1016 NW 13TH AVE                                                                                    OCALA            FL     34475
JIMMY JONES              PO BOX 40838                                                                                        ROCHESTER        NY     14604‐4838
JIMMY JONES              608 MERGANSER TRL                                                                                   CLINTON          MS     39056‐6258
JIMMY JONES              7169 BURTON RD                                                                                      ODESSA           MO     64076‐7338
JIMMY JORDAN             2047 EL PASO ST                                                                                     GRAND PRAIRIE    TX     75051‐1350
JIMMY JORDAN             1210 E 12TH ST                                                                                      GEORGETOWN        IL    61846‐6061
JIMMY JOSEPH             822 W OXHILL DR                                                                                     WHITE LAKE       MI     48386‐2349
JIMMY JOZWIAK            5188 WINSHALL DR                                                                                    SWARTZ CREEK     MI     48473‐1223
JIMMY JUCKETT            135 AIRPORT LOOP                                                                                    SPRINGHILL       LA     71075‐4860
JIMMY KELLEY             1853 SMOKY VIEW CIR                                                                                 MARYVILLE        TN     37801‐7876
JIMMY KEMP               484 BROOKS AVE                                                                                      PONTIAC          MI     48340‐1301
JIMMY KENT               PO BOX 154                                                                                          SILVER CREEK     GA     30173‐0154
JIMMY KESSELL JR.        1164 CREEKSIDE DR                                                                                   WILMINGTON       DE     19804‐3931
JIMMY KEY                6840 CEDAR VALLEY CT                                                                                DAYTON           OH     45414‐2168
JIMMY KINDRED            3708 S HUGHES AVE                                                                                   FORT WORTH       TX     76119‐2074
JIMMY KING               5503 AQUARIUS                                                                                       SHAWNEE          OK     74804‐9365
JIMMY KING               1120 TIBBETTS WICK RD                                                                               GIRARD           OH     44420‐1136
JIMMY KIRKLAND           1700 HOUSTON AVE                                                                                    JOLIET            IL    60433‐3108
JIMMY KLAUS              407 N ROOSEVELT AVE                                                                                 SHAWNEE          OK     74801‐7542
JIMMY KLINGER            10770 PLAINS RD                                                                                     EATON RAPIDS     MI     48827‐8766
JIMMY KNIGHT             8282 N WEBSTER RD                                                                                   CLIO             MI     48420‐8520
JIMMY KNIGHT             206 SAM CALDWELL LN                                                                                 OCILLA           GA     31774‐3210
JIMMY KNIGHT             13034 N LEWIS RD                                                                                    CLIO             MI     48420‐2605
JIMMY KRAJEWSKI          1444 DIANA RIDGE RD                                                                                 PULASKI          TN     38478‐7091
JIMMY KRYLING            14116 CARRYDALE AVE                                                                                 CLEVELAND        OH     44111‐4978
JIMMY KUTCH              128 BENT TREE TRL                                                                                   BURLESON         TX     76028‐1240
JIMMY L & S JANE SMITH   155 CREEK CROSSING                                                                                  ROYSE CITY       TX     75189
JIMMY L BARNETTE         C/O WILLIAMS KHERKHER HART &       8441 GULF FREEWAY STE 600                                        HOUSTON          TX     77007
                         BOUNDAS LLP
JIMMY L BAYLESS          821 NEUBERT AVE                                                                                     FLINT           MI      48507‐1720
JIMMY L BROADNAX         16500 QUARRY RD APT 158                                                                             SOUTHGATE       MI      48195‐1436
JIMMY L COLLINS          1505 W STEWART AVE                                                                                  FLINT           MI      48504‐3576
JIMMY L DINWIDDIE        3701 15TH ST APT 109                                                                                DETROIT         MI      48208‐2586
JIMMY L ESTES            223 MOORE DR                                                                                        FRANKLIN        OH      45005‐2156
JIMMY L FOSTER           488 CORNWALL AVE                                                                                    BUFFALO         NY      14215‐3126
JIMMY L FOX              3784 WINSTON LN                                                                                     W ALEXANDRIA    OH      45381‐8370
JIMMY L GAITER           568 MARTIN LUTHER KING JR BLVD S                                                                    PONTIAC         MI      48341‐3309
JIMMY L HALL             6410 CHESTNUT BEND DR                                                                               NORCROSS        GA      30071‐2264
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Name                            Address1                       Address2                       Address3                    Address4               City            State   Zip
JIMMY L HENSON                  6262 GERMANTOWN LIBERTY RD                                                                                       GERMANTOWN       OH     45327
JIMMY L HINTON                  2405 LUKE EDWARD RD                                                                                              DACULA           GA     30019
JIMMY L JACKSON                 245 CUSTER ST                                                                                                    DETROIT          MI     48202‐3107
JIMMY L MARKLEY                 813 PIN OAK DR                                                                                                   HARRISONVILLE    MO     64701‐1657
JIMMY L MCGUIRE                 10388 E LAKESIDE DR                                                                                              ROCKVILLE        IN     47872‐7954
JIMMY L NAPIER                  185 GRANTWOOD DR                                                                                                 W CARROLLTON     OH     45449‐1557
JIMMY L RANDOLPH                2880 CASCADE CT                                                                                                  GAINESVILLE      GA     30504‐9202
JIMMY L RICHARDSON              NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPT             205 LINDA DR                                       DAINGERFIELD     TX     75638
JIMMY L ROBERTS                 6827 JENNIFER LN                                                                                                 PRINCETON        LA     71067‐9109
JIMMY L SLUSHER                 6790 GLENHILLS DR.                                                                                               ENGLEWOOD        OH     45322
JIMMY L SMITH                   2071 STURGEON ST                                                                                                 SPRINGFIELD      OH     45506‐3429
JIMMY L TAYLOR                  940 PALMETTO DR APT 4                                                                                            SAGINAW          MI     48604‐1855
JIMMY L WHITE                   4943 FREE PIKE                                                                                                   DAYTON           OH     45416‐1114
JIMMY L WILLIAMS                709 STEVENSON ST APT 8                                                                                           FLINT            MI     48504‐4939
JIMMY L WILLIAMS                110 W 109TH PL                                                                                                   CHICAGO           IL    60628‐3414
JIMMY L WILSON                  5615 GERMANTOWN‐LIBERTY                                                                                          GERMANTOWN       OH     45327‐9522
JIMMY LA RUE                    RR 1 BOX 91                                                                                                      SPARKS           OK     74869‐9752
JIMMY LACY                      3093 OHOLDFARM CT                                                                                                FLINT            MI     48507
JIMMY LAIRD                     139 RAVENSWOOD DR                                                                                                ANDERSON         IN     46012‐5102
JIMMY LANCE                     200 BAIRD ST                                                                                                     HOLLY            MI     48442‐1624
JIMMY LANE                      2112 SPRING HOLLOW DR                                                                                            JONESBORO        AR     72404‐8064
JIMMY LANE                      G 2168 NOBLE AVE                                                                                                 FLINT            MI     48532
JIMMY LARKIN                    1675 WILSON AVE                                                                                                  SAGINAW          MI     48638‐4757
JIMMY LEBEAU                    PO BOX 467                                                                                                       CUMBY            TX     75433‐0467
JIMMY LEE                       9508 CARRY BACK LN                                                                                               KNOXVILLE        TN     37923‐2012
JIMMY LEE                       723 COUNTY ROAD 15400                                                                                            DEPORT           TX     75435‐3802
JIMMY LEE                       8701 SUNINGHURST LN                                                                                              CHARLOTTE        NC     28277‐0418
JIMMY LEE PEARCE                ATTN ROBERT W PHILLIPS         C/O SIMMONS BROWDER GIANARIS 707 BERKSHIRE BLVD ‐ PO BOX                          EAST ALTON        IL    62024
                                                               ANGELIDES & BARNERD LLC      521
JIMMY LEE'S PAINTS & PRODUCTS   ATTN: JIMMY LEE                311 W MONTCALM ST                                                                 PONTIAC         MI      48342‐1154
JIMMY LEFLER                    9450 CASTLE CT                                                                                                   OTISVILLE       MI      48463‐9408
JIMMY LEPPER                    41781 RIGGS RD                                                                                                   BELLEVILLE      MI      48111‐3081
JIMMY LESTER                    213 W VINYARD ST                                                                                                 ANDERSON        IN      46012‐2552
JIMMY LITTLE                    3078 SOUTHFIELD DR                                                                                               SAGINAW         MI      48601
JIMMY LONG                      PO BOX 252                                                                                                       YORKTOWN        IN      47396‐0252
JIMMY LOONEY                    PO BOX 564                                                                                                       HARRISONVILLE   MO      64701‐0564
JIMMY LOPEZ                     PO BOX 25302                                                                                                     KANSAS CITY     MO      64119‐0602
JIMMY LOVE                      3375 JACQUE ST                                                                                                   FLINT           MI      48532‐3712
JIMMY LUFFMAN                   70 LOCKER RD                                                                                                     SUMMERTOWN      TN      38483‐7200
JIMMY LYNCH                     460 W GEERS RD                                                                                                   MC BAIN         MI      49657‐9450
JIMMY M DAVIS                   501 S TRENT RD                                                                                                   RAVENNA         MI      49451‐9172
JIMMY M WEEKS                   C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                                         HOUSTON         TX      77007
                                BOUNDAS LLP
JIMMY MACK                      1104 E RAMSEY AVE                                                                                                FORT WORTH      TX      76104‐6534
JIMMY MACK                      406 SWAN RIDGE DR                                                                                                DUNCANVILLE     TX      75137‐3130
JIMMY MANGRUM                   3078 DOT AVE                                                                                                     FLINT           MI      48506‐2148
JIMMY MANIER                    2975 KOMOKA DR                                                                                                   WATERFORD       MI      48329‐4415
JIMMY MANN                      215 AVALON DR                                                                                                    PARIS           TN      38242‐4409
JIMMY MANN JR                   2526 SALEM AVE                                                                                                   DAYTON          OH      45406‐‐ 29
JIMMY MARKLEY                   813 PIN OAK DR                                                                                                   HARRISONVILLE   MO      64701‐1657
JIMMY MARTIN                    827 NW PASSAGE BOX 15C                                                                                           CREEDE          CO      81130
JIMMY MARTIN                    HC 62 BOX 175                                                                                                    OZONE           AR      72854‐9121
JIMMY MARTIN                    105 SPENCER CT                                                                                                   BOWLING GREEN   KY      42101‐1116
JIMMY MARTIN                    3095 CHICKEN RD                                                                                                  LEBANON         TN      37090‐7625
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Name                Address1                       Address2                     Address3   Address4               City            State   Zip
JIMMY MARTIN        BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH     44236
JIMMY MASSEY        PO BOX 90251                                                                                  BURTON           MI     48509‐0251
JIMMY MASSEY        HC 4 BOX 536                                                                                  DONIPHAN         MO     63935‐9322
JIMMY MATHES        12392 CARDWELL ST                                                                             LIVONIA          MI     48150‐2354
JIMMY MATHEWS       893 MOSELEY DR                                                                                STOCKBRIDGE      GA     30281
JIMMY MATTHEWS      313 N FAIRVIEW ST                                                                             MINDEN           LA     71055‐3807
JIMMY MAUK          5196 STANTON LAKE RD                                                                          ATTICA           MI     48412‐9390
JIMMY MAXEY         PO BOX 172                                                                                    STERLINGTON      LA     71280‐0172
JIMMY MAYES         PO BOX 2092                                                                                   ANDERSON         IN     46018‐2092
JIMMY MC CARSON     4513 WINIFRED ST                                                                              WAYNE            MI     48184‐2207
JIMMY MC DUGALD     1471 COUNTY ROAD 294                                                                          HILLSBORO        AL     35643‐3317
JIMMY MC ELROY      1725 HOPE TOWN DR                                                                             MANSFIELD        TX     76063‐8540
JIMMY MC TURNER     23631 KENSINGTON ST                                                                           TAYLOR           MI     48180‐3444
JIMMY MCCALL        12693 NORTHLAWN ST                                                                            DETROIT          MI     48238‐3040
JIMMY MCCAULEY      8515 N RICHMOND AVE                                                                           KANSAS CITY      MO     64157‐9541
JIMMY MCCLANAHAN    4976 STATE ROUTE 121 N                                                                        MAYFIELD         KY     42066‐8954
JIMMY MCCULLOUGH    21909 BEAN RD E                                                                               ATHENS           AL     35613‐5148
JIMMY MCDONALD      PO BOX 721                                                                                    MIDLOTHIAN       TX     76065‐0721
JIMMY MCELWEE       946 LANCE AVE                                                                                 ESSEX            MD     21221‐5220
JIMMY MCGAHA        PO BOX 2114                                                                                   YOUNGSTOWN       OH     44504‐0114
JIMMY MCGUIRE       10388 E LAKESIDE DR                                                                           ROCKVILLE        IN     47872‐7954
JIMMY MCGUIRE       608 BRIDGE STREET                                                                             FRANKLIN         OH     45005‐1611
JIMMY MCKEE         3400 HERVIE ST                                                                                FORT WORTH       TX     76107‐5925
JIMMY MCKENZIE      22661 BRAESIDE CIR                                                                            FARMINGTON       MI     48335‐3903
JIMMY MCLAUGHLIN    108 WEST XENIA DRIVE                                                                          FAIRBORN         OH     45324‐4919
JIMMY MEADOWS       9254 HANLEY ST                                                                                TAYLOR           MI     48180‐3550
JIMMY MEINERS       642 POINT OF VIEW DR                                                                          COLUMBIA         TN     38401‐9238
JIMMY MEREDITH      5501 HOPKINS RD                                                                               FLINT            MI     48506‐1594
JIMMY MILBRANDT     4235 PRAIRIE FOX DR                                                                           JANESVILLE       WI     53546‐3401
JIMMY MILLER        401 BATISTE LN                                                                                JONESBORO        GA     30236‐4920
JIMMY MILLER        229 N BEECH ST                                                                                EATON            OH     45320‐1713
JIMMY MITCHELL      4244 MELLEN DR                                                                                ANDERSON         IN     46013‐5049
JIMMY MITCHELL      4673 BRIGGS RD                                                                                OTTER LAKE       MI     48464‐9621
JIMMY MITCHELL JR   1730 BILLY DR                                                                                 FORT WAYNE       IN     46818‐9516
JIMMY MIZE          546 CONTINENTAL CIR                                                                           DAVISON          MI     48423‐8570
JIMMY MOAK          2168 NORTON ASSINK RD NW                                                                      WESSON           MS     39191‐9661
JIMMY MOORE         223 CHAMPION HILLS DR                                                                         BERRYVILLE       AR     72616‐3033
JIMMY MOORE         181 CANTERBURY DR                                                                             SAGINAW          MI     48638‐5836
JIMMY MOORE         38607 E PARRENT RD                                                                            OAK GROVE        MO     64075‐9097
JIMMY MOORE         5170 PALENA BLVD                                                                              NORTH PORT       FL     34287‐2417
JIMMY MORGAN        4704 MAIN ST                                                                                  ANDERSON         IN     46013‐4736
JIMMY MORGAN        1063 LEE MORGAN RD                                                                            JAYESS           MS     39641‐7241
JIMMY MORGAN        1137 CARTER DR                                                                                FLINT            MI     48532‐2715
JIMMY MORRIS        4797 S STATE ROAD 13                                                                          LAPEL            IN     46051‐9721
JIMMY MORRIS        1639 LILLIAN CT                                                                               COLUMBIA         TN     38401‐5419
JIMMY MOSLEY        2203 MEADOWLARK DR                                                                            HARRISONVILLE    MO     64701‐2812
JIMMY MOSS          3101 AVON DR                                                                                  ARLINGTON        TX     76015‐2002
JIMMY MOUNT         5900 WESTCREST DR W                                                                           FORT WORTH       TX     76134‐1841
JIMMY MULLINS       1234 S 600 W                                                                                  ANDERSON         IN     46011‐9439
JIMMY MURRIELL      6532 BOWER DR                                                                                 INDIANAPOLIS     IN     46241‐1862
JIMMY MYERS         35 HORSESHOE LN                                                                               MCLOUD           OK     74851‐8413
JIMMY N JONES       225 EAST ELLIS DRIVE                                                                          WAYNESVILLE      OH     45068
JIMMY N PARKS       750 FERGUSON AVENUE                                                                           DAYTON           OH     45407‐2206
JIMMY NAPIER        185 GRANTWOOD DR                                                                              W CARROLLTON     OH     45449‐1557
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Name                 Address1                         Address2               Address3      Address4               City               State Zip
JIMMY NAVE SR        1629 W 16TH ST                                                                               ANDERSON            IN 46016‐3215
JIMMY NELSON         6219 COUNTY ROAD 188                                                                         JOPLIN              MO 64801
JIMMY NEWMAN         270 HUMBLE FIELDS RD                                                                         DALTON              GA 30721‐5728
JIMMY NICHOLSON      PO BOX 946                                                                                   FLINT               MI 48501‐0946
JIMMY NIECE          3602 MILLS RD                                                                                COVINGTON           KY 41015‐2476
JIMMY NOEL           809 N GENTRY ST                                                                              PARAGOULD           AR 72450‐3016
JIMMY NORMAN JR      PO BOX 671                                                                                   JACKSON             KY 41339‐0671
JIMMY NORRIS         1000 RALSTON AVE APT 11                                                                      DEFIANCE            OH 43512‐1350
JIMMY O'BYRNE        6806 BLOOMSBURY LN                                                                           SPOTSYLVANIA        VA 22553‐1918
JIMMY ODITT          6888 WAYNE TRACE RD                                                                          SOMERVILLE          OH 45064‐9491
JIMMY ODITT          6888 WAYNE TRACE                                                                             SOMERVILLE          OH 45064‐9491
JIMMY ORR            5162 WOODHAVEN DR                                                                            FLINT               MI 48504‐1282
JIMMY OSBORNE        3214 S BELSAY RD                                                                             BURTON              MI 48519‐1622
JIMMY PANTOJA        1539 CORONEL ST                                                                              SAN FERNANDO        CA 91340‐3125
JIMMY PAPE           11287 ARMSTRONG DR S                                                                         SAGINAW             MI 48609‐9621
JIMMY PARKER         91 MITCHELL RD NE APT F                                                                      CULLMAN             AL 35055‐5931
JIMMY PARKER         207 SHADOW WOOD DR                                                                           CLINTON             MS 39056‐5856
JIMMY PARKER         13600 ALICIA SP CT                                                                           OKLAHOMA CITY       OK 73165
JIMMY PARKER         12800 IROQUOIS DR                                                                            BIRCH RUN           MI 48415‐9316
JIMMY PARTRIDGE JR   23361 PLAYVIEW ST                                                                            SAINT CLAIR SHORES MI 48082‐1310

JIMMY PATRICK        14540 SHERRY LN                                                                              BATTLE CREEK      MI   49014‐8247
JIMMY PATTERSON      9926 LARRY LN                                                                                GREENWOOD         LA   71033‐2339
JIMMY PENNYWELL      406 S WOODBRIDGE ST                                                                          SAGINAW           MI   48602‐2555
JIMMY PERRY          565 N RIVER RD                                                                               SAGINAW           MI   48609‐6823
JIMMY PERRY          2014 MAPLE AVE                                                                               NORWOOD           OH   45212‐2114
JIMMY PETERS         1757 FULS RD                                                                                 NEW LEBANON       OH   45345‐9734
JIMMY PETTY          4911 FITE DR                                                                                 IMPERIAL          MO   63052‐1413
JIMMY PHILLIPS       12817 S RAINTREE DR                                                                          OLATHE            KS   66062‐1313
JIMMY PIERSON        PO BOX 95                                                                                    TWINING           MI   48766‐0095
JIMMY PIRO           6148 SW 24TH ST                                                                              MIRAMAR           FL   33023‐2932
JIMMY PITTMAN        PO BOX 55772                                                                                 OKLAHOMA CITY     OK   73155‐0772
JIMMY PLAIR          2832 RANDOM RD                                                                               KALAMAZOO         MI   49004‐1842
JIMMY PONDER JR      PO BOX 562                       1405 WASKOM/E.F. RD.                                        WASKOM            TX   75692‐0562
JIMMY PONDER SR      588 ODEN DR                                                                                  WASKOM            TX   75692‐4032
JIMMY PONIUS         19758 HUNTINGTON RD                                                                          DETROIT           MI   48219‐2197
JIMMY POORE          924 HIGHLAND DR                                                                              NEW WHITELAND     IN   46184‐1114
JIMMY POWELL         3809 GREENBROOK LN                                                                           FLINT             MI   48507‐2221
JIMMY POWELL         PO BOX 27                                                                                    JAYESS            MS   39641‐0027
JIMMY POWELL         PO BOX 169                                                                                   LENNON            MI   48449‐0169
JIMMY PRATER         1031 CLACKTOWN RD                                                                            WINDER            GA   30680‐4606
JIMMY PRATER         582 FROST ACRES LN                                                                           GRUBVILLE         MO   63041‐1212
JIMMY PRENTICE       706 W WASHINGTON ST                                                                          ALEXANDRIA        IN   46001‐1833
JIMMY PRICE          2030 EMIG RD                                                                                 COMINS            MI   48619‐9724
JIMMY PROCELL        100 SUMMIT DR                                                                                BOSSIER CITY      LA   71111‐6048
JIMMY PRUITT         4595 POOLE RD                                                                                CUMMING           GA   30040‐8041
JIMMY PUCKETT        4012 HIGHWAY 1000                                                                            WEST LIBERTY      KY   41472‐8442
JIMMY QUEEN          259 HIGHWAY 11 N                                                                             SOCIAL CIRCLE     GA   30025
JIMMY R CHRISMAN     8451 NEFF RD                                                                                 GREENVILLE        OH   45331‐9626
JIMMY R DOWNING      329 SWEEPSTAKES CT                                                                           BOWLING GREEN     KY   42104‐7571
JIMMY R GOSS         5122 BOWER AVE                                                                               DAYTON            OH   45431‐1203
JIMMY R HEMBREE      8344 NORTH M52                                                                               HENDERSON         MI   48841
JIMMY R HOSKINS      4005 NW DELWOOD CT                                                                           BLUE SPRINGS      MO   64015‐6923
JIMMY R KEY          6840 CEDAR VALLEY CT.                                                                        DAYTON            OH   45414
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Name                Address1                       Address2                     Address3   Address4               City              State   Zip
JIMMY R LACY        3093 OLD FARM CT                                                                              FLINT              MI     48507‐1245
JIMMY R LYNCH       460 W GEERS RD                                                                                MC BAIN            MI     49657‐9450
JIMMY R MEREDITH    123 CARTER COURT                                                                              BROOKVILLE         OH     45309
JIMMY R MUSGROVE    WEITZ & LUXENBERG PC           700 BROADWAY                                                   NEW YORK CITY      NY     10003
JIMMY R PETERS      1757 FULS RD                                                                                  NEW LEBANON        OH     45345‐9734
JIMMY R ROBERTS     5625 RIVERVIEW DR.                                                                            NEW PORT RICHEY    FL     34652
JIMMY R ROBERTS     C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                      HOUSTON            TX     77007
                    BOUNDAS, LLP
JIMMY R SILMAN      12790 CHAPMAN DRIVE                                                                           AMARILLO          TX      79118‐3617
JIMMY R VICKERS     1651 SUNSET ST                                                                                MONROE            MI      48162‐4378
JIMMY R WILKES      4814 PIERPONT DR                                                                              TROTWOOD          OH      45426
JIMMY RAINS         1815 EMERSON AVE                                                                              YPSILANTI         MI      48198‐9266
JIMMY RAINS         20050 KARR RD                                                                                 BELLEVILLE        MI      48111‐8610
JIMMY RAINY         11 NIAGARA ST                                                                                 ROCHESTER         NY      14605‐2433
JIMMY RANDOLPH      2880 CASCADE CT                                                                               GAINESVILLE       GA      30504‐9202
JIMMY RANDOLPH      233 PIPER BLVD                                                                                DETROIT           MI      48215‐3035
JIMMY RAY           132 BAYSWATER RD                                                                              KILLEN            AL      35645‐8500
JIMMY RAY           39 AIRSHIRE PL                                                                                HAZELWOOD         MO      63042‐2705
JIMMY REDDIC        5502 BALDWIN BLVD                                                                             FLINT             MI      48505‐5116
JIMMY REDDING       6513 VICTORIA AVE                                                                             NORTH RICHLAND    TX      76180‐8047
                                                                                                                  HILLS
JIMMY REDDING       PO BOX 640                                                                                    BOGATA            TX      75417‐0640
JIMMY REED          4122 SARDIS CH RD                                                                             BUFORD            GA      30519
JIMMY REESE         2700 EATON RAPIDS RD LOT 12                                                                   LANSING           MI      48911‐6336
JIMMY REESE         914 WESTPORT DR                                                                               DEXTER            MO      63841‐9111
JIMMY RENFRO        PO BOX 183                                                                                    CHEROKEE          AL      35616‐0183
JIMMY RHOADES       112 GOLDSBOROUGH RD                                                                           OKLAHOMA CITY     OK      73130‐4913
JIMMY RICHMAN       2781 MAPLE ST                                                                                 ANDERSON          IN      46013‐9765
JIMMY RICHMOND      8210 SUNDOWN DR                                                                               MOORINGSPORT      LA      71060‐8739
JIMMY RIFE          1322 INGLESIDE AVE                                                                            FLINT             MI      48507‐2346
JIMMY RIGSBY        101 S CLINTON AVE                                                                             DALLAS            TX      75208‐5119
JIMMY RILEY         243 HAROLD LN                                                                                 CAMPBELL          OH      44405‐1112
JIMMY RILEY         BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH      44236
JIMMY ROBERTS       6827 JENNIFER LN                                                                              PRINCETON         LA      71067‐9109
JIMMY ROBERTS       5625 RIVERVIEW DR                                                                             NEW PORT RICHEY   FL      34652‐3850
JIMMY ROBERTSON     58236 NORWAY                                                                                  WASHINGTON        MI      48094‐2914
JIMMY ROBINSON      8050 BRIDGE LAKE RD                                                                           CLARKSTON         MI      48348‐4115
JIMMY RODRIGUEZ     406 S WILLOMET AVE                                                                            DALLAS            TX      75208‐6003
JIMMY ROSE          15 FALCON BROOK DR                                                                            DAHLONEGA         GA      30533‐5359
JIMMY RUFF          5302 VICAR LN                                                                                 MADISON           WI      53714‐3442
JIMMY RUNKLE        998 BOAL AVE                                                                                  PIQUA             OH      45356‐3318
JIMMY RUNKLE        998 BOAL AVE                                                                                  PIQUA             OH      45356‐3318
JIMMY RUNYON        457 TAYLOR FRK                                                                                BELFRY            KY      41514‐7813
JIMMY RUTHERFORD    PO BOX 150                                                                                    MARMADUKE         AR      72443‐0150
JIMMY S SALES       3125 NEVEL DR NW                                                                              HUNTSVILLE        AL      35810‐3147
JIMMY S WHITT       440 GROVE ST                                                                                  FAIRBORN          OH      45324
JIMMY SABIN         4850 HESS RD                                                                                  VASSAR            MI      48768‐8909
JIMMY SABO          4536 MAHONING DR                                                                              NEWTON FALLS      OH      44444‐9755
JIMMY SALES         3125 NEVEL DR NW                                                                              HUNTSVILLE        AL      35810‐3147
JIMMY SATTERFIELD   1355 COUNTY LINE RD                                                                           CUMMING           GA      30040‐5405
JIMMY SAWYER        4262 BAY RD                                                                                   GLADWIN           MI      48624‐8731
JIMMY SAYLES        1217 TERRY CT                                                                                 CINCINNATI        OH      45215‐1834
JIMMY SCHEFFLER     6269 HUMPHREY DR                                                                              HALE              MI      48739‐9044
JIMMY SCOTT         PO BOX 1624                                                                                   WEATHERFORD       TX      76086‐7624
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Name                                 Address1                        Address2              Address3       Address4               City              State   Zip
JIMMY SCOTT                          PO BOX 63                                                                                   DOUGLASS           TX     75943‐0063
JIMMY SCOTT                          1701 STILLWAGON RD                                                                          NILES              OH     44446‐4436
JIMMY SCROGGS                        678 W PREDA DR                                                                              WATERFORD          MI     48328‐2030
JIMMY SCRUGGS JR                     612 GREENWOOD DR                                                                            MIDWEST CITY       OK     73110‐1632
JIMMY SCUDDAY                        3240 TRINITY RD                                                                             JEFFERSON          TX     75657‐8501
JIMMY SEABOLT                        141 UNION HILL RD                                                                           MINERAL WELLS      TX     76067‐2074
JIMMY SEBASTIAN                      PO BOX 609                                                                                  MITCHELL           IN     47446‐0609
JIMMY SELANDERS                      4024 WHISPER OAK DR                                                                         EDMOND             OK     73034‐2102
JIMMY SHAFFER                        TRAILWOOD MOBILE HOME PARK      # 34                                                        AUSTELL            GA     30168
JIMMY SHAVER                         244 INDIA DR                                                                                SHREVEPORT         LA     71115‐3006
JIMMY SHELTON                        PO BOX 78                                                                                   PILOT POINT        TX     76258‐0078
JIMMY SHEWBART                       3357 PETTY LN                                                                               COLUMBIA           TN     38401‐7320
JIMMY SHIDAKER                       26994 RUSSELL LN                                                                            WARRENTON          MO     63383‐5754
JIMMY SHUPE                          11676 PINE ST                                                                               TAYLOR             MI     48180‐4035
JIMMY SILMAN                         12790 CHAPMAN DR                                                                            AMARILLO           TX     79118‐3617
JIMMY SIMPSON                        4139 N STATE HIGHWAY 239                                                                    BLYTHEVILLE        AR     72315‐7845
JIMMY SIMPSON                        390 NORWEIGIAN TRL                                                                          HARRISON           MI     48625‐7725
JIMMY SIMPSON                        3336 GOSHEN CHURCH SOUTH RD                                                                 BOWLING GREEN      KY     42103‐9538
JIMMY SIMS                           4102 N KITLEY AVE                                                                           INDIANAPOLIS       IN     46226‐4934
JIMMY SISCO                          815 PEBBLE SPRINGS RD                                                                       BOLIVAR            TN     38008‐2737
JIMMY SKAGGS                         6473 E ATHERTON RD                                                                          BURTON             MI     48519‐1609
JIMMY SKIPWORTH                      206 WINSLOW DR                                                                              ATHENS             AL     35613‐2722
JIMMY SKRZYPEK                       406 LE VAC ST                                                                               BELDING            MI     48809‐9402
JIMMY SLOAN                          305 GALE LN                                                                                 ATHENS             AL     35611‐1371
JIMMY SMITH                          1123 N TIMBER RD                                                                            MIDWEST CITY       OK     73130‐2213
JIMMY SMITH                          830 COUNTY ROAD 271                                                                         NEELYVILLE         MO     63954‐8187
JIMMY SMITH                          2024 JOHNSON MILL RD                                                                        NORTH BRANCH       MI     48461‐9580
JIMMY SMITH JR                       361 DON LOVE RD                                                                             LINVILLE           LA     71260‐4246
JIMMY SMITH PONTIAC‐BUICK‐GMC        24450 US HIGHWAY 72                                                                         ATHENS             AL     35613‐7607
JIMMY SMITH PONTIAC‐BUICK‐GMC, LLC   JIMMY SMITH                     24450 US HIGHWAY 72                                         ATHENS             AL     35613‐7607

JIMMY SMITHEY                        3916 SILKWOOD TRL                                                                           ARLINGTON         TX      76016‐3840
JIMMY SOLIS                          16344 CELTIC ST                                                                             GRANADA HILLS     CA      91344‐6803
JIMMY SORRELL                        225 CHARLES DR                                                                              CARLISLE          OH      45005‐6000
JIMMY SOVIA                          4206 S COBBS WAY                                                                            NAGS HEAD         NC      27959‐9515
JIMMY SPENCER                        274 STRINGER RD                                                                             ROCKMART          GA      30153‐4377
JIMMY SPIRIES                        18436 ROSELAND BLVD                                                                         LATHRUP VLG       MI      48076‐2630
JIMMY SPRAGUE                        841 SE HIGHWAY U                                                                            DEEPWATER         MO      64740‐9609
JIMMY SPROULE                        512 BEACH ST                                                                                FENTON            MI      48430‐3122
JIMMY SPURGIS                        PO BOX 204                                                                                  LAPEER            MI      48446‐0204
JIMMY STAFFORD                       2501 LAKE POINTE DR                                                                         COOKEVILLE        TN      38506‐4406
JIMMY STAGGS                         12703 PETER MOORE LN                                                                        DE SOTO           MO      63020‐4749
JIMMY STANGE                         339 KEINATH DR                                                                              FRANKENMUTH       MI      48734‐9317
JIMMY STANLEY                        16574 FENMORE ST                                                                            DETROIT           MI      48235‐3421
JIMMY STARNS                         12222 NS 359                                                                                SEMINOLE          OK      74868
JIMMY STATHAM                        10 BEAVER RUN                                                                               CEDARTOWN         GA      30125‐7167
JIMMY STEEL                          7317 BENNINGTON DR                                                                          WATAUGA           TX      76148‐1234
JIMMY STEELMAN                       4300 BENNETT DR                                                                             BURTON            MI      48519‐1112
JIMMY STEEP                          8053 MAPLE LEAF DR                                                                          TRAVERSE CITY     MI      49684‐6937
JIMMY STEGALL                        281 LOWERY RD                                                                               ROCKMART          GA      30153‐3410
JIMMY STENNIS                        1518 COSTELLO DR                                                                            ANDERSON          IN      46011‐3107
JIMMY STEPHENS                       PO BOX 369                                                                                  RUSSELL SPRINGS   KY      42642‐0369
JIMMY STEPHEY                        6544 ROAD 187                                                                               OAKWOOD           OH      45873‐9446
JIMMY STEPP                          6433 E FARMINGTON RD                                                                        GAS CITY          IN      46933‐9503
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Name                     Address1                              Address2                     Address3   Address4               City            State   Zip
JIMMY STEWART            4034 WISNER ST                                                                                       SAGINAW          MI     48601‐4248
JIMMY STORE              2780 PINE DUNES CT SW                                                                                WYOMING          MI     49418‐9305
JIMMY STRICKLAND         201 CHARDONNAY LN                                                                                    NORMAN           OK     73071‐5084
JIMMY STROUD             4022 REYNOLDS ST                                                                                     FLINT            MI     48532‐5063
JIMMY STUMBAUGH          8450 E COUNTY ROAD 74                                                                                GUTHRIE          OK     73044‐9658
JIMMY SUITER             9223 JACKSON ST                                                                                      INDIANAPOLIS     IN     46231‐1155
JIMMY SULLIVAN           233 PARKER HOLLOW RD                                                                                 ROCK ISLAND      TN     38581‐7055
JIMMY T ROUNDTREE        PO BOX 11052                                                                                         BATON ROUGE      LA     70813
JIMMY T WESLEY           1605 TWIN OAKS DR                                                                                    CLINTON          MS     39056
JIMMY TANNER             515 QUAIL TRAIL RD                                                                                   AUBURN           GA     30011‐2500
JIMMY TAYLOR             775 WILKIE RD                                                                                        BALL GROUND      GA     30107‐5527
JIMMY TAYLOR             PO BOX 447                                                                                           FLIPPIN          AR     72634‐0447
JIMMY TAYLOR             2140 RIVERBROOK RD                                                                                   DECATUR          GA     30035‐2921
JIMMY TAYLOR             940 PALMETTO DR APT 4                                                                                SAGINAW          MI     48604‐1855
JIMMY TERRY              712 COUNTY ROAD 240                                                                                  MOULTON          AL     35650‐8606
JIMMY TERRY              C/O BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH     44236
JIMMY THOMAS             PO BOX 118                                                                                           ROBBINS          NC     27325‐0118
JIMMY THOMPSON           376 OLD WHITLEY XING                                                                                 FITZGERALD       GA     31750‐6528
JIMMY THOMPSON           196 HUGHES AVE                                                                                       PONTIAC          MI     48341‐2444
JIMMY THORNTON           11850 AEBI AVE NE                                                                                    ALLIANCE         OH     44601‐9696
JIMMY THRASHER           5235 E S AVE                                                                                         VICKSBURG        MI     49097‐8474
JIMMY TIDWELL            PO BOX 371                                                                                           LORETTO          TN     38469‐0371
JIMMY TILGER             1501 HIGHLAKE LN                                                                                     WEATHERFORD      TX     76087‐8661
JIMMY TOLLIVER           170 GLENDALE DR                                                                                      TONAWANDA        NY     14150‐4634
JIMMY TOMMY
JIMMY TOOLE              1050 CROWN POINTE PKWY STE 940                                                                       ATLANTA          GA     30338‐7711
JIMMY TOOMBS             283 JENKINS VLG                                                                                      RED BLNG SPGS    TN     37150‐6071
JIMMY TOWERY             3126 BERT KOUNS INDUSTRIAL LOOP APT                                                                  SHREVEPORT       LA     71118‐2901
                         115
JIMMY TROUT              3404 GREGORY RD                                                                                      ORION           MI      48359‐2012
JIMMY TRUSS              15512 GILCHRIST ST                                                                                   DETROIT         MI      48227‐1575
JIMMY TUCK               882 COUNTY ROAD 188                                                                                  NIOTA           TN      37826‐2618
JIMMY TURNER             337 AUTUMN LN SW                                                                                     DECATUR         AL      35601‐6831
JIMMY TURNER             2484 EDISON ST                                                                                       DETROIT         MI      48206‐2045
JIMMY TURNER             PO BOX 17452                                                                                         INDIANAPOLIS    IN      46217‐0452
JIMMY TURNER JR          208 CAMELOT DR                                                                                       COLLEGE PARK    GA      30349‐6504
JIMMY TYSON              1094 W DOWNEY AVE                                                                                    FLINT           MI      48505‐1466
JIMMY UNDERWOOD          3041 VERONA CANEY RD                                                                                 LEWISBURG       TN      37091‐6548
JIMMY UTSEY              BEVAN & ASSOCIATES LPA INC            6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS      OH      44236
JIMMY VAN JOHNSON        WEITZ & LUXENBERG PC                  700 BROADWAY                                                   NEW YORK CITY   NY      10003
JIMMY VANDIVER           PO BOX 444                                                                                           SUMMITVILLE     IN      46070‐0444
JIMMY VASSER CHEVROLET   583 SOSCOL AVE                                                                                       NAPA            CA      94559‐3405
JIMMY VAUGHN             1104 BROADVIEW BLVD                                                                                  DAYTON          OH      45419‐3703
JIMMY VERNON             389 BOYD VERNON RD                                                                                   ARCADIA         LA      71001‐5261
JIMMY VICKERS            1651 SUNSET ST                                                                                       MONROE          MI      48162‐4378
JIMMY VINEYARD           810 BRANDIE ST                                                                                       TUTTLE          OK      73089‐7519
JIMMY VOILES             11001 W JACKSON ST                                                                                   MUNCIE          IN      47304‐9658
JIMMY W DUNAHOO          8340 SUNSET DR                                                                                       LYONS           MI      48851‐9633
JIMMY W FRITTS           1238 SMITH ROAD                                                                                      XENIA           OH      45385‐8750
JIMMY W JONES            521 COTTONWOOD DR                                                                                    MOORE           OK      73160‐8323
JIMMY W JONES            105 MONTEREY RD                                                                                      DEFIANCE        OH      43512‐3235
JIMMY W NUTTER           408 EARLY DR E                                                                                       MIAMISBURG      OH      45342‐3302
JIMMY W OWENSBY          644 CENTER DR                                                                                        ATTALLA         AL      35954
                   09-50026-mg          Doc 7123-20 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name               Address1                       Address2                      Address3   Address4               City            State Zip
JIMMY W PARKER     C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                                      HOUSTON          TX 77007
                   BOUNDAS, LLP
JIMMY W SEITZ      3943 BARRYMORE LN                                                                              DAYTON          OH   45440
JIMMY WAGONER      111 PICKARD DR                                                                                 MCLOUD          OK   74851‐8400
JIMMY WAITS        3160 COWN RD                                                                                   LOGANVILLE      GA   30052‐7100
JIMMY WALDRIP      1293 GATEWOOD DR                                                                               LAWRENCEVILLE   GA   30043‐3806
JIMMY WALES        23557 ELKTON RD                                                                                ATHENS          AL   35614‐6343
JIMMY WALKER       9234 BURT RD                                                                                   DETROIT         MI   48228‐1612
JIMMY WALKER       2873 BOULDER RIDGE TRL                                                                         MILFORD         MI   48380‐3376
JIMMY WALLACE      1005 PAT MELL PL SE                                                                            SMYRNA          GA   30080‐1171
JIMMY WALTERS      1539 HIGHWAY 26                                                                                CORBIN          KY   40701‐9510
JIMMY WAMMACK      1006 DAYTON RD                                                                                 MANSFIELD       TX   76063‐2109
JIMMY WARE         28 LYNN DR                                                                                     BURLINGTON      NJ   08016‐2879
JIMMY WATKINS      62375 SALEM RD                                                                                 SALESVILLE      OH   43778‐9724
JIMMY WATSON       5782 LANSING LOOP                                                                              LONGVIEW        TX   75605‐6427
JIMMY WATSON       4327 SULLA DR                                                                                  FLORISSANT      MO   63033‐7029
JIMMY WATSON       3121 KIMBERLY DR                                                                               BATON ROUGE     LA   70814‐2857
JIMMY WATTERS      878 N 200 E                                                                                    ANDERSON        IN   46012‐9645
JIMMY WEAVER       600 SOMERSET RD                                                                                SAGINAW         MI   48638‐6220
JIMMY WEAVER       4164 AMELIA DR                                                                                 SAGINAW         MI   48601‐5003
JIMMY WEBB         3724 W 103RD ST                                                                                CLEVELAND       OH   44111‐3813
JIMMY WEBB         11175 SUGDEN LAKE RD                                                                           WHITE LAKE      MI   48386‐3662
JIMMY WEDMORE      4701 S HOYT AVE                                                                                MUNCIE          IN   47302‐8812
JIMMY WEST         THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                                     HOUSTON         TX   77017
JIMMY WESTMAN      11177 FOWLER DR                                                                                REMUS           MI   49340‐9641
JIMMY WHITE        309 HIDDEN RIVER DR                                                                            ADRIAN          MI   49221‐3746
JIMMY WHITE        4216 FOREST HILLS BLVD                                                                         PARMA           OH   44134‐4519
JIMMY WHITE        4943 FREE PIKE                                                                                 DAYTON          OH   45416‐1114
JIMMY WHITE        2432 COUNTY ROAD 72                                                                            DANVILLE        AL   35619‐8429
JIMMY WHITE        1217 COUNTRY PINE DR                                                                           ELLENWOOD       GA   30294‐2518
JIMMY WHITE        1902 ANNESLEY ST                                                                               SAGINAW         MI   48601‐2017
JIMMY WHITNER      2463 STARFIRE LN                                                                               LOGANVILLE      GA   30052‐8659
JIMMY WIER         3405 LOIS LN                                                                                   DOUGLASVILLE    GA   30135‐2232
JIMMY WILCOX       33 DEVONDALE PL                                                                                SAINT PETERS    MO   63376‐5031
JIMMY WILES        4719 ROSEDALE RD                                                                               HICKSVILLE      OH   43526‐9786
JIMMY WILKES       4814 PIERPONT DR                                                                               TROTWOOD        OH   45426‐1949
JIMMY WILKIE       3308 WILDWOOD DR SW                                                                            MARIETTA        GA   30060‐6236
JIMMY WILLIAMS     110 W 109TH PL                                                                                 CHICAGO         IL   60628‐3414
JIMMY WILLIAMS     8299 THETFORD LN                                                                               WILLIS          MI   48191‐8509
JIMMY WILLIAMS     3707 E GALBRAITH RD APT 4                                                                      CINCINNATI      OH   45236‐1575
JIMMY WILLIAMS     6519 6 MILE RD                                                                                 NORTHVILLE      MI   48168‐9468
JIMMY WILLIAMS     11334 WARWICK ST                                                                               DETROIT         MI   48228‐1371
JIMMY WILLIAMS     709 STEVENSON ST APT 8                                                                         FLINT           MI   48504‐4939
JIMMY WILLIAMS     2808 BUENA VISTA DR                                                                            ARLINGTON       TX   76010‐2431
JIMMY WILSON       PO BOX 111                                                                                     BOYD            TX   76023‐0111
JIMMY WILSON       PO BOX 332                                                                                     BOYD            TX   76023‐0332
JIMMY WILSON       44 SW 600TH RD                                                                                 WARRENSBURG     MO   64093‐7545
JIMMY WILSON       1489 GLASGOW RD                                                                                BOWLING GREEN   KY   42101‐9573
JIMMY WILSON       308 S IVY WOOD DR                                                                              MUNCIE          IN   47304‐4398
JIMMY WILSON       3200 LUCIE ST                                                                                  LANSING         MI   48911‐2818
JIMMY WILSON       195 WOOD ST N                                                                                  BATTLE CREEK    MI   49037‐2532
JIMMY WILSON JR.   3200 LUCIE ST                                                                                  LANSING         MI   48911‐2818
JIMMY WILSON SR    PO BOX 8547                                                                                    SHREVEPORT      LA   71148‐8547
JIMMY WINSLOW      16906 E STATE ROUTE 58                                                                         RAYMORE         MO   64083‐8121
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Name                                  Address1                            Address2                    Address3                   Address4                  City               State   Zip
JIMMY WISEK                           11421 S MAGNOLIA LN                                                                                                  ALSIP                IL    60803‐5191
JIMMY WOIDAN                          3611 VERNOR RD                                                                                                       LUM                 MI     48412‐9340
JIMMY WOLFE                           1016 N BLAINE ST                                                                                                     MUNCIE              IN     47303‐5038
JIMMY WOOD                            216 JAMES RD                                                                                                         CLEVELAND           GA     30528‐6593
JIMMY WOOD                            4507 PINEY GROVE RD                                                                                                  CUMMING             GA     30040‐9066
JIMMY WOOD                            6239 GRABALL DR                                                                                                      MILAN               TN     38358‐6492
JIMMY WOODYARD                        222 S ILLINOIS ST                                                                                                    CHRISMAN             IL    61924‐1404
JIMMY WRIGHT                          1124 BETHEL PROSPECT RD                                                                                              PROSPECT            TN     38477‐6311
JIMMY WRINKLE                         6131 FOXFIRE CIR                                                                                                     CLARKSTON           MI     48346‐1659
JIMMY YATES                           209 AUGLAIZE ST.                                                                                                     OAKWOOD             OH     45873
JIMMY YATES                           3217 LANCASTER ST                                                                                                    SHREVEPORT          LA     71108‐3738
JIMMY YEAGER                          226 EDEN AVENUE                                                                                                      BELLEVUE            KY     41073‐1035
JIMMY YERIAN                          PO BOX 623                                                                                                           OWOSSO              MI     48867‐0623
JIMMY YORK                            5754 REIGART RD                                                                                                      HAMILTON            OH     45011‐2160
JIMMY YOUNG                           6835 PENNS CHAPEL RD                                                                                                 BOWLING GREEN       KY     42101‐9378
JIMMY ZACHARY                         343 COUNTY ROAD 2311                                                                                                 MINEOLA             TX     75773‐3749
JIMMY ZERBA                           512 SUNNYJUNE AVE                                                                                                    HOLLAND             MI     49424‐1828
JIMMY ZHANG                           2043 CAMEO DR                                                                                                        TROY                MI     48098‐2408
JIMMY ZIELONKO                        928 LAKESIDE ROAD                                                                                                    WATERPORT           NY     14571
JIMMY'S AUTO WORKS                    304 GLENDALE DR                                                                                                      ENDICOTT            NY     13760‐3708
JIMMYE L WARE                         2951 LINDA DR NW                                                                                                     WARREN              OH     44485
JIMMYLEE FITCH                        150 HAPPY TRAILS LN                                                                                                  MENA                AR     71953‐7400
JIMMYS CONFERENCE & CATERING          3565 LABORE RD                                                                                                       SAINT PAUL          MN     55110‐5125
JIMOS, JAMES A                        DROSI21                                                                                    ATHENS 11474 GREECE
JIMOS, JOHN                           117 W DARTMOUTH ST                                                                                                   FLINT               MI     48505‐4029
JIMSEY WALTON INDIVIDUALLY THE ESTATE AS REPRESENTED BY THE INDEPENDENT   WALTON BRYAN SCOTT WALTON   C/O MICHAEL J LOWENBERG,   440 LOUISIANA STE 2300    HOUSTON             TX     77002‐4205
OF MICHAEL C WALTON                   EXECUTOR STEVEN L                   AND MICHAEL C WALTON JR     THE O QUINN LAW FIRM

JIMTECH INC                          37190 UTICA RD                                                                                                        CLINTON TOWNSHIP    MI     48036‐1670

JIMWAY INC                           3951 PLEASANTDALE RD STE 105                                                                                          DORAVILLE           GA     30340‐4256
JIMY COMBS                           2972 E MOUNT HOPE HWY                                                                                                 GRAND LEDGE         MI     48837‐9794
JIN ELLIS SAAB OF MARIETTA           1141 COBB PKWY S                                                                                                      MARIETTA            GA     30060‐9236
JIN JIZENG JEAN LOUIE                605 N FRANKLIN ST                                                                                                     DEARBORN            MI     48128‐1575
JIN SHEN                             42063 PON MEADOW DR                                                                                                   NORTHVILLE          MI     48168‐2238
JIN SHI                              4743 PARKSIDE CT                                                                                                      ANN ARBOR           MI     48105‐9440
JIN SONG                             17 CORNUCOPIA CT                                                                                                      MADISON             WI     53719‐3083
JIN SONG                             451 MARKETVIEW                                                                                                        IRVINE              CA     92602
JIN TANG                             450 HASKINS CT SE                                                                                                     ADA                 MI     49301
JIN Y CHANG MD                       229 SUMMIT ST STE 5                                                                                                   BATAVIA             NY     14020‐1645
JIN YU                               PO BOX 9022                          C/O AP HQ CHINA                                                                  WARREN              MI     48090‐9022
JIN YU                               47550 BALDWIN COURT                                                                                                   NOVI                MI     48374‐3522
JIN ZHOU                             3251 BLOOMFIELD LN APT 607                                                                                            AUBURN HILLS        MI     48326‐3658
JIN, JIDE                            6718 WILD RIDGE LN                                                                                                    W BLOOMFIELD        MI     48322‐3878
JIN, LI                              30500 MOUND DR. APT. A                                                                                                WARREN              MI     48092
JIN, NING                            25785 MULBERRY LN                                                                                                     NOVI                MI     48374‐2349
JIN, XIANXI                          38286 BROOK DR                                                                                                        STERLING HEIGHTS    MI     48312‐1409
JIN, XIAOLING                        25511 RANCHWOOD DR                                                                                                    FARMINGTON HILLS    MI     48335‐1163

JIN,DI                               2123 S LOVINGTON DR APT 205                                                                                           TROY                MI     48083‐5837
JIN‐WOO LEE                          3472 SUMMIT RIDGE DR                                                                                                  ROCHESTER HILLS     MI     48306‐2959
JINADASA, WILFRED                    26035 BOUQUET CANYON RD APT 340                                                                                       SANTA CLARITA       CA     91350‐2517
JINAN HABA                           421 MAYAPPLE CT                                                                                                       ROCHESTER HILLS     MI     48307‐5228
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Name                                 Address1                             Address2                        Address3          Address4                       City               State Zip
JINBEI GM AUTOMOTIVE CO. LTD / POUCH 3044 W GRAND BLVD STE 220                                                                                             DETROIT             MI 48202‐3091
MAIL
JINBEI GM AUTOMOTIVE COMPANY         JINBEI GM AUTOMOTIVE COMPANY, LTD.   NO. 6 FANGNAN ROAD / DANGLING                     SHENYANG CITY LIAONING
                                                                          DISTRICT                                          PROVINCE CHINA (PEOPLE'S
                                                                                                                            REP)
JINBEI GM AUTOMOTIVE COMPANY          ATTN: PRESIDENT                     NO.15 BEIDAYING ST.             DADONG DISTRICT   SHENYANG CITY LIAONING
LIMITED                                                                                                                     PROVICE CHINA (PEOPLE'S
                                                                                                                            REP)
JINBEI GM AUTOMOTIVE COMPANY          NO. 15 STREET,BEIDAYING                                                               SHENYANG 11004 CHINA
LIMITED
JINBIAO LI                            3125 BAYPOINT DR                                                                                                     ROCHESTER HILLS    MI   48309‐1271
JINCHUN PENG                          47097 GLASTONBURY DR                                                                                                 CANTON             MI   48188‐6247
JINCKS, ANN K                         6471 N CIRCLE DR                                                                                                     GLADSTONE          MO   64118‐4756
JINCKS, DEAN A                        6471 N CIRCLE DR                                                                                                     GLADSTONE          MO   64118‐4756
JINDAL, SHAILESH S                    34400 DEQUINDRE RD APT 126                                                                                           STERLING HEIGHTS   MI   48310‐5208
JINDRA, DAVID J                       5242 NOTTINGHILL LANE                                                                                                FAIRFAX            VA   22032‐2622
JINDRA, MARIAN B                      122 WELCOME WAY BLVD W APT 306A                                                                                      INDIANAPOLIS       IN   46214‐3064
JINDRA, ROBERT S                      3845 GUNDERSON AVE APT 8                                                                                             BERWYN             IL   60402‐4082
JINES DIANE                           40399 HILLSBOROUGH LOOP                                                                                              OAKHURST           CA   93644‐8900
JINES, BEATRICE D                     14401 SUMMER GLEN GRV                                                                                                COLORADO SPRINGS   CO   80921‐2815

JINES, BETTY                          5457 MONICA DR                                                                                                       INDIANAPOLIS       IN   46254‐1642
JINES, IRENE A                        113 SINGAMAN STREET                                                                                                  AUBURN             IL   62615‐2615
JINES, IRENE A                        113 SOUTH SANGAMON STREET                                                                                            AUBURN             IL   62615‐9358
JINES, LAWRENCE E                     8911 W 10TH ST                                                                                                       INDIANAPOLIS       IN   46234‐2133
JING LIU                              2822 ROUNDTREE DR                                                                                                    TROY               MI   48083‐2330
JING MEI AUTOMOTIVE LTD               38 TSUEN KING CIRCUIT                                                                 TSUEN WAN HK 00000 HONG
                                                                                                                            KONG, CHINA
JING MEI AUTOMOTIVE LTD               38 TSUEN KING CIRCUIT               3/F FLAT D                                        TSUEN WAN HK 00000 HONG
                                                                                                                            KONG, CHINA
JING MEI AUTOMOTIVE LTD               MARK WOLOSZYK                       38 TSUEN KING CIRCUIT           3/F FLAT D                                       ROCHESTER HILLS    MI   48309
JING MEI AUTOMOTIVE LTD               3/F FLAT D WAYLEE IND CTR           38 TSUEN KING CIRCUIT TSUEN                       WAN NT HONG KONG HONG
                                                                                                                            KONG
JING MEI AUTOMOTIVE LTD.              MARK WOLOSZYK                       38 TSUEN KING CIRCUIT           3/F FLAT D                                       ROCHESTER HILLS    MI   48309
JING NEALIS                           909 E HOLLY WAY                                                                                                      PALATINE           IL   60074‐1243
JING XU                               39129 HIDDEN CREEK DR                                                                                                WESTLAND           MI   48185‐4601
JING ZHANG                            1424 BISHOP RD                                                                                                       GROSSE POINTE      MI   48230‐1148
                                                                                                                                                           PARK
JING, BONNIE W                        1367 EDDOWES RD                                                                                                      HARTSVILLE         PA   18974‐1028
JING, QIAONI                          2350 COOLIDGE HWY APT 201                                                                                            TROY               MI   48084‐3632
JING, QIAONI                          631 GEOFFRY LN APT D                                                                                                 SAINT LOUIS        MO   63132‐4609
JINGELESKI, THOMAS M                  137 ESSEX ROAD                                                                                                       HOLLYWOOD          FL   33024‐1334
JINGHONG LIANG                        1733 GREENWICH DR                                                                                                    TROY               MI   48098‐6619
JINGJIANG HUADA AUTOMOTIVE PARTS      NO 51 JIANGPING RD                                                                    JINGJIANG JIANGSU 214500
MF                                                                                                                          CHINA (PEOPLE'S REP)
JINGJIANG XINCHENG CAR SPARE CO LTD   33 ZHONGZHOU RD                                                                       JINGJIANG CITY 214500 CHINA
                                                                                                                            (PEOPLE'S REP)
JINGLES, DORIS C                      819 SCOTT WOODS DR NE                                                                                                COMSTOCK PARK      MI   49321‐9606
JINGLES, JOSEPH J                     HC 33 BOX 32802                                                                                                      NENANA             AK   99760‐9303
JINGLI WANG                           30987 STONE RIDGE DR APT 1205                                                                                        WIXOM              MI   48393‐3895
JINGMEI PANYU PLASTIC & METAL PRODU   NO 2 HENGLI SECTION PANZHONG RD                                                       GUANGZHOU GUANGDONG
                                                                                                                            CN 5114 CHINA (PEOPLE'S REP)

JINGMU CAO                            6363 CHRISITIE AVE APT 701                                                                                           EMERYVILLE         CA   94608‐1917
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Name                        Address1                          Address2                         Address3           Address4                   City               State   Zip
JINGOZIAN, PHILIP F         15457 MARBLE RD                                                                                                  NORTHPORT           AL     35475
JINGXIN ZHANG               53 E SQUIRE DR APT 7                                                                                             ROCHESTER           NY     14623‐1859
JINGXUAN DONG               1233 LETICA DR                                                                                                   ROCHESTER           MI     48307‐6085
JINJIANG XINCHENG VEHICLE   PARTS CO LTD #33 ZHONGZHOU RD                                                         JIANGSU CITY CHINA CHINA
                            JINGJIANG CTY
JINJINA HOMI                JINJINA, HOMI                     23289 MYSTIC FOREST DR                                                         NOVI                MI     48375
JINKENS, JOHNNIE            7070 N 58TH ST                                                                                                   MILWAUKEE           WI     53223‐5205
JINKERSON, JACQULYN J       2057 16 3/4 AVE                                                                                                  RICE LAKE           WI     54868
JINKINS SR, MERLYN D        3719 ILLINI AVE                                                                                                  DANVILLE            IL     61832‐1009
JINKINS, GARY W             8947 W 30TH ST                                                                                                   INDIANAPOLIS        IN     46234‐1604
JINKS CHARLES               12127 DALHART DR                                                                                                 FENTON              MI     48430‐8858
JINKS COBB                  5989 HICKORY MEADOW LN APT 5                                                                                     MEMPHIS             TN     38115‐0302
JINKS JR, LEONARD           310 N HICKORY ST                  P O BOX 292                                                                    FARMLAND            IN     47340‐9689
JINKS, CHARLES A            12127 DALHART DR                                                                                                 FENTON              MI     48430‐8858
JINKS, CHERYL L
JINKS, DALE                 GUY WILLIAM S                     PO BOX 509                                                                     MCCOMB             MS      39649‐0509
JINKS, HELEN E              9302 N COUNTRY CLUB RD                                                                                           MOORESVILLE        IN      46158‐7184
JINKS, HELEN E              9302 N. COUNTRY CLB. RD.                                                                                         MOORESVILLE        IN      46158‐7184
JINKS, JOHN G               1109 HAVEN VIEW DR                                                                                               O FALLON           MO      63366‐1270
JINKS, JONATHAN L           4200 N JANNEY AVE                                                                                                MUNCIE             IN      47304‐1523
JINKS, ROBERT R             6855 FORT ROAD                                                                                                   BIRCH RUN          MI      48415‐9022
JINKS, ROLAND K             6112 W COLDWATER RD                                                                                              FLUSHING           MI      48433‐9007
JINKS, RONALD R             8495 SAGINAW ST                                                                                                  BIRCH RUN          MI      48415‐9032
JINKS, RONALD RAY           8495 SAGINAW ST                                                                                                  BIRCH RUN          MI      48415‐9032
JINKS, RUSSELL R            6855 FORT RD                                                                                                     BIRCH RUN          MI      48415‐9022
JINKS, RUSSELL RAY          6855 FORT RD                                                                                                     BIRCH RUN          MI      48415‐9022
JINKS, TERRENCE R           2583 RAMBLING WAY                                                                                                BLOOMFIELD HILLS   MI      48302‐1039
JINMING LIU                 2011 MEDFORD RD                   APT H158                                                                       ANN ARBOR          MI      48104
JINMING ZHANG               23389 EASTERLING AVE                                                                                             HAZEL PARK         MI      48030‐1432
JINNAH, MUHAMMAD            2614 LANDON ST                                                                                                   FLINT              MI      48504‐2751
JINNIE NEAL                 816 LAKESIDE DR                                                                                                  KOKOMO             IN      46901‐7037
JINNIE PURCELL              1040 CARMICHAEL DR                                                                                               MADISON            GA      30650‐4713
JINNY K MIRABELLI           506 KENMORE AVE SE                                                                                               WARREN             OH      44483
JINNY MIRABELLI             506 KENMORE AVE SE                                                                                               WARREN             OH      44483‐6153
JINSHAN DEVELOPEMENT &      MICHAEL BITSKOX246                C/O CT CHARLTON AND ASSOC, INC   NO 104 UNDER BAI   SHANGHAI CHINA (PEOPLE'S
CONSTRUCTION                                                                                   LIANJINGPUDON      REP)
JINSHAN DEVELOPEMENT &      NO 1690 KONGJIANG RD                                                                  SHANGHAI 200092 CHINA
CONSTRUCTION                                                                                                      (PEOPLE'S REP)
JINSHAN DEVELOPEMENT &      NO 269 ZHENYUAN RD                                                                    SHANGHAI CN 200436 CHINA
CONSTRUCTION                                                                                                      (PEOPLE'S REP)
JINSHAN DEVELOPEMENT &      NO 269 ZHENYUAN RD                BAOSHAN INDUSTRIAL PARK                             SHANGHAI 200436 CHINA
CONSTRUCTION                                                                                                      (PEOPLE'S REP)
JINSHUO ZHU                 47255 WHITE PINES DR                                                                                             NOVI                MI     48374‐4312
JINX SMITH                  20310 RODEO CT                                                                                                   SOUTHFIELD          MI     48075‐1286
JIOSNE, JOSEPH              34 VILLAGE RD                                                                                                    MORGANVILLE         NJ     07751‐1100
JIOSNE, ROSEMARIE           61 HAZLET TRAILER PARK                                                                                           HAZLET              NJ     07730‐1703
JIPPING, ARIE               1116 HICKORY AVE                                                                                                 ROCKPORT            TX     78382‐6024
JIPPING, NORMA D            1116 HICKORY AVE                                                                                                 ROCKPORT            TX     78382‐6024
JIRAK JR, WILLIAM M         1121 LANCELOT LN                                                                                                 CONWAY              SC     29526‐9389
JIRASEK, MICHAEL C          47640 EDINBOROUGH LN                                                                                             NOVI                MI     48374‐3457
JIRGENS, PETER M            7920 N 5TH ST                                                                                                    KALAMAZOO           MI     49009‐8823
JIRI KOCAN                  289 03 DLOUHOPOLSKO 7                                                                 OKRES NYMBURK CZECH
                                                                                                                  REPUBLIC
JIRI KRAL                   6715 FULTON CT                                                                                                   TROY                MI     48098‐1768
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Name                           Address1                               Address2                      Address3                  Address4                   City                 State Zip
JIRI SKODA                     ERLENSTR. 2                                                                                    71238 KIRCHENTELLINSFURT
                                                                                                                              GERMANY

JIRIES ABU‐AITAH               2433 GREEN ACRES DR                                                                                                       GRAND BLANC           MI   48439‐8150
JIRIK, JAMES J                 6140 BIRCH RUN RD                                                                                                         BIRCH RUN             MI   48415‐8743
JIRIKOWIC, MICHAEL
JIROUT, GRETCHEN A             3748 MEADOWLARK RD                                                                                                        ROANOKE               VA   24018‐5118
JIRTLE, STEVEN L               6895 MAIER AVE SW                                                                                                         GRANDVILLE            MI   49418‐2141
JIS MACH/EDC                   6555 HAWTHORNE DRIVE                                                                           WINDSOR ON N8T 3G6
                                                                                                                              CANADA
JIS PERFORMING GROUP           C/O DE MAXIMIS INC                     450 MONTBROOK LN                                                                   KNOXVILLE             TN   37919‐2705
JIS PERFORMING PARTIES GROUP   FA TRUST                               450 MONTBROOK LN              C/O R THOMAS DORSEY                                  KNOXVILLE             TN   37919‐2705
JIS PERFORMING PARTY GROUP     BASF CORP BRISTOL MYERS SQUIBB CO ET   C/O MARY W KOKS, MUNSCH HARDT 700 LOUISIANA #4600                                  HOUSTON               TX   77002
                               AL                                     KOPF HARR PC
JISA, DENNIS J                 900 WOODGROVE RD                                                                                                          ORTONVILLE            MI   48462‐8806
JISAN XUE                      2754 BARCLAY WAY                                                                                                          ANN ARBOR             MI   48105‐9458
JISHI EMAD                     26096 TIMBER TRL                                                                                                          DEARBORN HEIGHTS      MI   48127‐4148

JISHI, ADINAN                  6615 PINEHURST ST                                                                                                         DEARBORN              MI   48126‐1983
JISHI, EMAD                    26096 TIMBER TRL                                                                                                          DEARBORN HTS          MI   48127‐4148
JISHI, ISSAM S                 714 ARDMORE ST                                                                                                            DEARBORN HTS          MI   48127‐4111
JISHR LEE                      4548 DOGWOOD AVE                                                                                                          SEAL BEACH            CA   90740
JIT AUTOMATION                 160 BENTLEY ST                                                                                 MARKHAM CANADA ON L3R
                                                                                                                              3L2 CANADA
JIT AUTOMATION INC             160 BENTLEY ST                                                                                 MARKHAM ON L3R 3L2
                                                                                                                              CANADA
JIT AUTOMATION INC             22645 15 MILE RD                                                                                                          CLINTON TOWNSHIP      MI   48035‐5627

JIT AUTOMATION INC             WESTLY GITTENS                         160 BENTLEY STREET            MARKHAM,ON,L3R 3L2        CANADA
JIT AUTOMATION, INC.           C/O BUTZEL LONG, ATTORNEYS AND         WILLIAM B. CLIFFORD, JR.      STONERIDGE WEST           41000 WOODWARD AVE         BLOOMFIELD HILLS      MI   48304
                               COUNSELORS
JIT AUTOMATN/TORONTO           1149 BELLAMY ROAD N., UNIT 18                                                                  TORONTO M1H 1H7 CANADA

JIT INC                        24601 VREELAND RD                                                                                                         FLAT ROCK             MI   48134
JIT LOGISTIC INC               10315 CHEMIN COTE DE LIESSE RD                                                                 DORVAL CANADA PQ H9P 1A6
                                                                                                                              CANADA
JIT SERVICES LLC               PO BOX 935                                                                                                                BIRMINGHAM            AL   35201‐0935
JIT/CNC MACHINING              PHIL GARROD                            88 OSSIAN STREET                                                                   ELGIN                 IL   60120
JITAI JHOU                     30667 KNIGHTON DR                                                                                                         FARMINGTON HILLS      MI   48331‐5968

JITEL CORP                     2232 S MAIN ST PMB 445                                                                                                    ANN ARBOR             MI   48103‐6938
JITENDRA NAUTIYAL              2224 GOLFSIDE DR APT 145                                                                                                  YPSILANTI             MI   48197‐1192
JITENDRA P KATNENI             1170 CHARTER DR STE A                                                                                                     FLINT                 MI   48532‐3587
JITENDRA P KATNENI MD          ATTN: JITENDRA P KATNENI               1170 CHARTER DR # A                                                                FLINT                 MI   48532‐3587
JITIN BHATIA                   QATAR INSURANCE COMPANY                PO BOX 666                    TAMIN STREET , WEST BAY                              DOHA
JIVANO D MCNAIR                836 DOW ST                                                                                                                DAYTON               OH    45407‐1905
JIVERY, ANN MARIE              2556 W OLD SLOCUM TRL                                                                                                     LA FONTAINE          IN    46940‐9286
JIVIDEN GILBERT                JIVIDEN, GILBERT                       25805 HARPER AVE                                                                   SAINT CLAIR SHORES   MI    48081‐2263

JIVIDEN, GILBERT R             APT 308                                3470 CARPENTER ROAD                                                                YPSILANTI            MI    48197‐9622
JIVIDEN, HUBERT L              PO BOX 165                                                                                                                PORTAGE              OH    43451‐0165
JIVIDEN, JAMES G               4060 FABER LN                                                                                                             CLARENCE             NY    14031‐1905
JIVIDEN, THURMAN L             13991 E MARINA DR APT 511                                                                                                 AURORA               CO    80014‐3789
JJ & ASSOCIATES INC            210 COMMERCE ST                                                                                                           WAYLAND              MI    49348‐1235
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Name                               Address1                         Address2                        Address3               Address4                     City              State   Zip
JJ KOUDELKA                        MADGE KOUDELKA JTWROS            PO BOX 1564                                                                         NAMPA              ID     83653‐1564
JJ MASONRY                         KIMMEL & SILVERMAN               30 E BUTLER AVE                                                                     AMBLER             PA     19002‐4514
JJ TRACKS                          279 BEACON LITE RD                                                                                                   MONUMENT           CO     80132
JJ'S AUTO REPAIR                   4546 PERALTA BLVD STE 8                                                                                              FREMONT            CA     94536‐5756
JJ'S PRO REPAIR CLINIC & TOWING    9792 OLD STATE RD                                                                                                    CHARDON            OH     44024‐9242
JJENNIFER R GRABER                 1602 BISCAYNE DR                                                                                                     TOLEDO             OH     43612‐4003
JJF MANAGEMENT SERVICES, INC.      11411 ROCKVILLE PIKE                                                                                                 KENSINGTON         MD     20895
JJHCS/PISCATAWAY                   425 HOES LN                      P.O. BOX 6800                                                                       PISCATAWAY         NJ     08854‐4103
JJJ AUTOMOTIVE                     1191 KINGLET TER                                                                                                     WELLINGTON         FL     33414‐5043
JJJ CONTAINER SERVICES LLC         707 E INDUSTRIAL DR                                                                                                  MORRISTOWN         IN     46161‐9616
JJJ CONTAINER SERVICES LLC         710 E INDUSTRIAL DR                                                                                                  MORRISTOWN         IN     46161‐9616
JJJ FAMILY LIMITED PARTNERSHIP     2174 TRIPLE PEAL                                                                                                     CANYON LAKE        TX     78133
JJJ STEGGERS                       JJJ                              JJ                                                     JJ                           JJ                 AR
JJL PACKAGING                      5699 W WEBB RD                                                                                                       AUSTINTOWN         OH     44515‐1152
JJLG MOTORS INC                    1 MUNICIPAL PLACE ROUTE 9                                                                                            CROTON ON          NY     10520
                                                                                                                                                        HUDSON
JJLH OF HANOVER LLC                ROBERT LEWIS                     100 EISENHOWER DR                                                                   HANOVER           PA      17331‐5204
JJS                                123A FROST ST B                                                                                                      WESTBURY          NY      11590
JJS FLOORING & DECORATING CO INC   FREESE GORDON E                  4900 LACLEDE AVE # A                                                                SAINT LOUIS       MO      63108
JJUAN L JOHNSON                    6000 JOHN R ST APT 1                                                                                                 DETROIT           MI      48202‐3561
JK AUTOMOTIVE REPAIR SHOP INC      384 MCGUINNESS BLVD                                                                                                  BROOKLYN          NY      11222‐1202
JK AUTOMOTIVE REPAIR SHOP INC      384 MCGUINNESS BLVD                                                                                                  BROOKLYN          NY      11222‐1202
JK CHEVROLET                       ATTN ROBERT TURNER               1451 HIGHWAY 69 N                                                                   NEDERLAND         TX      77627‐8017
JK MUSSER III SARA C. MUSSER       C/O MCKENNA & ASSOCIATES, P.C.   436 BOULEBARD OF THE ALLIES ‐                                                       PITTSBURGH        PA      15219‐1331
                                                                    SUITE 500
JK TRANSPORT INC                   8990 SCHREPFER RD                                                                                                    HOWELL             MI     48855‐9320
JKHJKHK KKL╓KL╓                    JJKL                                                                                                                 99425
JKKK POLKK                         807 LLKKD                                                                                                            BALTO             MD      21211
JKL AUTOMOTIVE PARTS, INC          7101 AIRPORT HWY                                                                                                     PENNSAUKEN        NJ      08109‐4301
JKL COMPONENTS CORP                SHERRY CARPENTER                 13343 TAXTON ST                                                                     PACOIMA           CA      91331
JKL COMPONENTS CORP                13343 PAXTON ST                                                                                                      PACOIMA           CA      91331‐2340
JKS MOTORSPORTS INC                PO BOX 450                                                                                                           WELCOME           NC      27374‐0450
JKX INC                            12944 SQUIRREL RUN                                                                                                   WRIGHT CITY       MO      63390‐5393
JKX INC                            12229 BENT SPRINGS DR                                                                                                SAINT LOUIS       MO      63122‐2116
JL BECKER CO INC                   41150 JOY RD                     MOVED 12/01                                                                         PLYMOUTH          MI      48170‐4634
JL DAVIS PLUMBING                  19631 TABERNACLE RD                                                                                                  BARHAMSVILLE      VA      23011‐2108
JL FRENCH ANSOLA SRL               POLIGONO INDUSTRIAL GALARZA 1                                                           ETXEBARRIA‐BIZKAIA E‐48277
                                                                                                                           SPAIN
JL FRENCH ANSOLA SRL               DALDA ARRIOLA                    PGNO IND GALARZA S/N                                                                MARKLE             IN     46770
JL FRENCH AUTOMOTIVE CASTINGS      ILLEGIBLE
JL FRENCH CORPORATION              DEPARTMENT NO 19453                                                                                                  MILWAUKEE          WI     53259‐0001
JL HUTCHINGS LTD PARTNERSHIP       WILLIAM HOOD                     501 CORNWALL RD                                                                     SANFORD            FL     32773‐5879
JL PRECISION PRODUCTS INC          13327 MELANIE DR                                                                                                     STERLING HTS       MI     48313‐3433
JL SCHROTH CO/WARREN               24074 GIBSON DRIVE                                                                                                   WARREN             MI     48089‐2001
JL TOOL/SHELBY TWP                 14080 23 MILE RD                                                                                                     SHELBY TWP         MI     48315‐2908
JL WOODWARD CO INC                 DBA WOODWARD QUIPMENT CO         15790 SE PIAZZA AVE STE 104                                                         CLACKAMAS          OR     97015‐9141
JLB CONSTRUCTION LLC               JAMES BROWN                      2130 RIVERSIDE DR                                                                   MACON              GA     31204‐1747
JLC TRANSPORTATION INC             545 COLFAX ST                                                                                                        ROCHESTER          NY     14606‐3111
JLG INDUSTRIES INC                 1 J L G DR                                                                                                           MC CONNELLSBURG    PA     17233‐9502

JLG INDUSTRIES INC                 TRAINING DEPT                    ATTN LORI DODSON                5086 PAYSHERE CIRCLE                                CHICAGO            IL     60674‐0001
JLG INDUSTRIES/YORK                MATERIAL HANDLING DIVISION       ROUTE 6 BOX 34B                                                                     YORK               PA     17404
JLH TRANSFER INC                   110 BURWOOD AVE                                                                                                      ANN ARBOR          MI     48103‐3926
JLJ TECHNOLOGIES INC               PO BOX 698                                                                                                           SOUTH HILL         VA     23970‐0698
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Name                                   Address1                               Address2                       Address3               Address4                   City            State Zip
JLL
JLW INSTRUMENTS INC                    452‐54 N SANGAMON                                                                                                       CHICAGO          IL   60642
JM GROUP, INC.
JM HUGHES
JM MOLD SOUTH INC                      807 SHEFFIELD RD                                                                                                        EASLEY          SC    29642‐3555
JM PROPERTIES GROUP INC                ORMAND GREGG J PA LAW OFFICES          201 SEVILLA AVE STE 209                                                          CORAL GABLES    FL    33134‐6616
JM PROPERTIES GROUP INC                330 ALHAMBRA CIR                                                                                                        CORAL GABLES    FL    33134‐5004
JM ROBERTSON INTELLECTUAL              PROPERTY SERVICES LLC                  233 S PINE ST                                                                    SPARTANBURG     SC    29302
JM TEXAS LAND FUND NO 2 LP             C/O ADRIAN S BAER                      CORDRAY & TOMLIN PC            3306 SUL ROSS STREET                              HOUSTON         TX    77098
JMA LOGISTICS                          GENE OLDFORD                           28301 SCHOOLCRAFT                                                                HILLSBORO       OH
JMA LOGISTICS                          28301 SCHOOLCRAFT RD STE 360                                                                                            LIVONIA         MI    48150‐2273
JMA LOGISTICS LLC                      28301 SCHOOLCRAFT RD STE 360                                                                                            LIVONIA         MI    48150‐2273
JMA LOGISTICS LLC                      GENE OLDFORD                           28301 SCHOOLCRAFT                                                                HILLSBORO       OH
JMC FOOD SERVICES INC                  DBA CAROLES KITCHEN INC                44 BEEKMAN AVE                                                                   SLEEPY HOLLOW   NY    10591‐2617
JMC INVESTMENTS                        24901 NORTHWESTERN HWY STE 303         DBA NATIONAL IME NETWORK LLC                                                     SOUTHFIELD      MI    48075‐2208
JMC LOGISTICS INC                      PO BOX 888675                                                                                                           GRAND RAPIDS    MI    49588‐8675
JMC SALES & ENGINEERING                1000 AIRPORT NORTH OFFICE PARK STE C                                                                                    FORT WAYNE      IN    46825‐6712

JMC SALES & ENGINEERING INC            1000 AIRPORT NORTH OFFICE PARK STE C                                                                                    FORT WAYNE       IN   46825‐6712

JME AUTOMOTIVE                         646 STATE ROUTE 104                                                                                                     ONTARIO          NY   14519‐8918
JME TECHNOLOGIES                       4005 NIBLICK CT                                                                                                         CRYSTAL LAKE     IL   60012‐2242
JMF TRANSPORT                          5609 CH DE LAEROPORT                                                                         VALCOURT PQ J0E 2L0
                                                                                                                                    CANADA
JMH PRINTING                           PO BOX 530797                                                                                                           GRAND PRAIRIE    TX   75053‐0797
JMH WEISS INC                          150 ALMADEN BLVD STE 700                                                                                                SAN JOSE         CA   95113‐2017
JMI INSTRUMENT COMPANY                 9839 INDUSTRIAL CT STE B                                                                                                HIGHLAND         IN   46322‐2660
JMJ CONTINUING EDUCATION FUND          616 BARONNE ST STE 584                                                                                                  NEW ORLEANS      LA   70113
JMJ FILMS ‐ TIM MCCARVER SHOW          JIM MOSKOVITZ                          11 W 84TH ST APT 4                                                                                NY   10024‐4761
JMK SAAB INC                           391 ROUTE 22                                                                                                            SPRINGFIELD      NJ   07081‐3599
JMK WEST LLC                           DBA SAAB OF HUNTERDON                  1130 ROUTE 22 WEST                                                               LEBANON          NJ   08833
JMKE LLC DBA MEINEKE CAR CARE CENTER   5503 S UNIVERSITY DR                                                                                                    DAVIE            FL   33328‐5307

JMN                                    BILL BILLITER, GENERAL MANAGER         11860A GRAVOIS RD                                                                SAINT LOUIS     MO    63127‐1806
JMN LOGISTICS                          SCOTT NAZ                              1180 GRAVOIS                                                                     SAINT LOUIS     MO    63127
JMN LOGISTICS LLC                      11860 GRAVOIS RD # A                                                                                                    SAINT LOUIS     MO    63127‐1806
JMOA ENGINEERING PC                    6493 RIDINGS RD # 101                                                                                                   SYRACUSE        NY    13206‐1170
JMP ENGINEERING INC                    4026 MEADOWBROOKE DR UNIT 143                                                                LONDON ON N6L 1C9 CANADA

JMR DEVELOPMENT CO                     20 CORPORATE WOODS BLVD                                                                                                 ALBANY           NY   12211
JMR HOLDINGS INC                       DBA STERLING TECHNOLOGIES INC          2035 EASY ST                                                                     COMMERCE         MI   48390‐3223
                                                                                                                                                               TOWNSHIP
JMR HOLDINGS INC                       2035 EASY ST                                                                                                            COMMERCE TWP     MI   48390‐3223
JMR HOLDINGS INC                       JOEL ROSENBERG                         2035 EASY ST                                                                     COMMERCE TWP     MI   48390‐3223
JMR HOLDINGS INC                       JOEL ROSENBERG                         2035 EASY STREET                                                                 DEL RIO          TX   78840
JMR HOLDINGS, INC                      JOEL ROSENBERG                         2035 EASY ST                                                                     COMMERCE TWP     MI   48390‐3223
JMR HOLDINGS, INC                      JOEL ROSENBERG                         2035 EASY STREET                                                                 DEL RIO          TX   78840
JMR INVESTMENTS                        DBA NATIONAL IME NETWORK LLC           24901 NORTHWESTERN HWY STE                                                       SOUTHFIELD       MI   48075‐2208
JMS AUTOMOTIVE CENTER                  360 ROPE FERRY RD                                                                                                       WATERFORD        CT   06385‐3131
JMS ENGINEERED PLASTICS INC                                                   52275 STATE RD 933 N                                                                              IN   46637
JMS LLC CUST FBO WILLIAM T DANNAKER    C/O WILLIAM T DANNAKER                 1316 TASKER STREET                                                               PHILADELPHIA     PA   19148‐1023

JMS PLAS/SOUTH BEND                    52275 STATE RD 933 N                   SUITE 303                                                                        SOUTH BEND       IN   46637
JMS PLASTICS INC                       PO BOX 927                                                                                                              SOUTH BEND       IN   46624‐0927
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Name                           Address1                            Address2                      Address3   Address4                 City                State Zip
JMS PLASTICS INC               BETSY MARTINEZ X211                 52275 STATE ROAD 933 N                   TILLSONBURG ON CANADA
JMS TRANSPORTATION             PO BOX 100                                                                                            NORWAY              IA    52318‐0100
JMT AUTO INC                   6732 US HIGHWAY 19                                                                                    NEW PORT RICHEY     FL    34652‐1741
JMV'S FAMILY CHEVROLET, INC.   JOSEPH VOLTAREL                     10150 TRASK AVE                                                   GARDEN GROVE        CA    92843‐3271
JMX INC                        2790 RANCHVIEW LN N                                                                                   PLYMOUTH            MN    55447‐1907
JMX INC                        TODD SLAWSON                        2790 RANCHVIEW LN N                                               MINNEAPOLIS         MN    55447‐1907
JN CHEVROLET
JN CHEVROLET                   2999 N NIMITZ HWY                                                                                     HONOLULU            HI    96819‐1903
JN GROUP, INC.                 JOSEPH NICOLAI                      2999 N NIMITZ HWY                                                 HONOLULU            HI    96819‐1903
JNB INC                        51 S EDISON DR                      PO BOX 1900                                                       MILAN               OH    44846‐9313
JNB MACHINING COMPANY          9119 W GRAND RIVER RD                                                                                 FOWLERVILLE         MI    48836‐9608
JNITA L DAVIS                  183 ELLICOTT STREET                                                                                   ROCHESTER           NY    14619‐2046
JNJ CORPARATION
JNOLEWIS, ANTHONY              13930 PENROD ST                                                                                       DETROIT             MI    48223‐3546
JNR INCORPORATED               19900 MACARTHUR BLVD STE 700                                                                          IRVINE              CA    92612‐8416
JNWK INC                       JAY & LEANNE NOVACEK                23038 E BRADY MOOREFIELD RD                                       BRADY               NE    69123‐3029
JO A BANKS                     3554 SUNSET DR                                                                                        JACKSON             MS    39213
JO A BROWN                     11986 WILFRED ST                                                                                      DETROIT             MI    48213‐1345
JO A BYNUM                     901 PALLISTER ST APT 1305                                                                             DETROIT             MI    48202‐2677
JO A CARPENTER                 605 WALTON AVENUE                                                                                     DAYTON              OH    45417‐1526
JO A DURHAM                    444 LELAND AVE                                                                                        DAYTON              OH    45417‐1658
JO A GLASS                     804 NW ZAUN AVE                                                                                       BLUE SPRINGS        MO    64015‐3740
JO A HATCHER                   656 GRAMONT AVENUE                                                                                    DAYTON              OH    45407‐1439
JO A JOHNSON                   2400 INDIAN RD                                                                                        LAPEER              MI    48446‐8081
JO A KING                      1955 PLEASANT RIDGE RD NW                                                                             WESSON              MS    39191
JO A MARLOW                    6657 CELESTINE ST                                                                                     HUBER HEIGHTS       OH    45424
JO A MAUCK                     15572 S HH HWY                                                                                        EL DORADO SPRINGS   MO    64744‐6145

JO A OBRIEN                    1548 DAYTONA DR                                                                                       TOLEDO              OH    43612‐4016
JO A OSIKA                     4475 LENROSE AVE                                                                                      FLINT               MI    48532‐4337
JO A PARKER                    5036 IRONHORSE RANCH AVE                                                                              LAS VEGAS           NV    89131‐1988
JO A WELLS                     PO BOX 13731                                                                                          ARLINGTON           TX    76094‐0731
JO AD IND/MADISON HT           31465 STEPHENSON HWY                                                                                  MADISON HEIGHTS     MI    48071‐1623

JO ANDERSON                    1911 NORWOOD WAY                                                                                      ANDERSON            IN    46011‐2613
JO ANDERSON                    8007 COMANCHE TRL                                                                                     TEMPERANCE          MI    48182‐9217
JO ANN ADAMS                   THOMAS P SOBRAN                     7 EVERGREEN LN                                                    HINGHAM             MA    02043
JO ANN ALSPAUGH                4245 SOUTH 450 EAST                                                                                   MIDDLETOWN          IN    47356
JO ANN ANDERSON                5131 SILVERDOME DRIVE                                                                                 DAYTON              OH    45414
JO ANN ARMSTRONG               APT 305                             3215 WEST MOUNT HOPE AVENUE                                       LANSING             MI    48911‐1282
JO ANN BALCOMB                 4108 WOODROW AVE                                                                                      BURTON              MI    48509‐1052
JO ANN BENJAMIN                127 W FARRELL AVE APT A5                                                                              EWING               NJ    08618‐2207
JO ANN BUTAUD                  7225 RENNER RD #200                                                                                   SHAWNEE             KS    66217
JO ANN CHANDLER                20 MAXIE AVE                                                                                          GREENVILLE          SC    29611‐5929
JO ANN COLLINS                 45463 MUIRFIELD DR                                                                                    CANTON              MI    48188‐1098
JO ANN DAVIS                   1400 LAKE POINTE WAY APT 2                                                                            CENTERVILLE         OH    45459‐5849
JO ANN DEMOTT                  16300 SILVER LAKE PARKWAY APT.115                                                                     FENTON              MI    48430
JO ANN DOYLE                   445 LASALLE DR                                                                                        WINCHESTER          KY    40391‐9256
JO ANN DUBE                    680 MOUNT HOOD DR                                                                                     HEMET               CA    92543‐5775
JO ANN DUNCAN                  3900 MERCEDES PL UNIT 29                                                                              CANFIELD            OH    44406
JO ANN FULLENWEIDER            996 WASHINGTON ST                                                                                     PEEKSKILL           NY    10566‐5808
JO ANN FURLONG                 6136 W RED SKY CIR                                                                                    TUCSON              AZ    85713‐4366
JO ANN GANN                    2182 LA GRANGE RD                                                                                     BEAVER CREEK        OH    45431
JO ANN GANN                    311 ADAMSMOOR DR                                                                                      WAYNESVILLE         OH    45068‐9590
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Name                               Address1                        Address2                   Address3              Address4                 City            State   Zip
JO ANN GAPUZ                       2975 BEAUMONT DR                                                                                          HIGHLAND         MI     48356‐2301
JO ANN GORDON (IRA)                JO ANN GORDON                   10774 SANTA ROSA DR                                                       BOCA RATON       FL     33498‐6719
JO ANN HARPER                      13303 PROMENADE ST                                                                                        DETROIT          MI     48213‐1428
JO ANN HART                        4240 WILLOW RD                                                                                            WILSON           NY     14172‐9712
JO ANN HENRIETTA PLESE             ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD    PO BOX 521               EAST ALTON        IL    62024
                                                                   ANGELIDES & BARNERD LLC
JO ANN HITMAN                       328 HARMONY CHURCH RD                                                                                    GILLSVILLE      GA      30543
JO ANN IKEMIRE                      800 BONNIE BRAE CT                                                                                       BOLINGBROOK     IL      60440‐1128
JO ANN JONES                        5341 GARWIN DR                 APT # 1313                                                                SAN ANTONIO     TX      78218
JO ANN JONES                        3050 VALERIE ARMS DR APT 103                                                                             DAYTON          OH      45405‐2056
JO ANN JULIAN                       101 PALM AVE                                                                                             YUKON           OK      73099‐5648
JO ANN LAUER CBPM                   3315 SAN FELIPE RD             STE 156                                                                   SAN JOSE        CA      95135
JO ANN LUNDY                        PO BOX 77                                                                                                WILLINGBORO     NJ      08046
JO ANN M SIRIANNI                   59 WILEY RD APT 3                                                                                        FENNVILLE       MI      49408‐9692
JO ANN MAURO                        715 OVERLA BLVD                                                                                          CLAYTON         OH      45315‐9661
JO ANN MC CULLEN                    3329 S WOODLAND DR                                                                                       HIGHLAND        MI      48356‐2370
JO ANN MC VEY                       4904 HORGER ST                                                                                           DEARBORN        MI      48126‐3115
JO ANN MERRIAM                      395 REDDING RD UNIT 238                                                                                  LEXINGTON       KY      40517
JO ANN MERRIAM                      1660 PINE VALLEY DR APT 109                                                                              FORT MYERS      FL      33907‐5755
JO ANN O'CONNOR                     4765 S WASHINGTON RD                                                                                     SAGINAW         MI      48601‐5756
JO ANN OLZNOI                       306 WESTWOOD DR                                                                                          SHOREWOOD       IL      60404‐9424
JO ANN PADIA PERSONAL REP FOR RAMON JO ANN PADIA                   C/O BRAYTON PURCELL        222 RUSH LANDING RD                            NOVATO          CA      94948‐6169
PADIA
JO ANN PARISH                       849 NILES VIENNA RD                                                                                      VIENNA          OH      44473‐9522
JO ANN SHEETS                       729 FRIAR TUCK ST                                                                                        STURGIS         MI      49091‐9158
JO ANN SHEPPARD                     9813 RED OAK LN                                                                                          PARKVILLE       MO      64152‐2569
JO ANN SMITH                        462 TABAGO LN                                                                                            MOSCOW MILLS    MO      63362‐1052
JO ANN WALTRIP                      622 SW 10TH ST                                                                                           OKLAHOMA CITY   OK      73109‐1310
JO ANN YOUNG                        319 W DEWEY ST                                                                                           FLINT           MI      48505‐4001
JO ANNE A RACZ                      PO BOX 23                                                                                                COOKEVILLE      TN      38503‐0023
JO ANNE DAVIS                       1426 GILLIE DR                                                                                           STREETSBORO     OH      44241‐5433
JO ANNE DOWNS                       15 COUNTY ROAD 406                                                                                       CORINTH         MS      38834‐6865
JO ANNE HANUSCHIK                   27 HOGBACK RD                                                                                            CHESTERFIELD    NJ      08515‐9676
JO ANNE HETH                        141 DEAN RD                                                                                              SPENCERPORT     NY      14559‐9503
JO ANNE L RUDY                      1565 HAWK CIR APT B                                                                                      TROY            OH      45373
JO ANNE MORETTI
JO ANNE SNIDER                      11765 LOGAN ST                                                                                           NORTHGLENN      CO      80233‐1901
JO ASHLEY                           45 LEWIS ST                                                                                              PONTIAC         MI      48342‐1447
JO BADEN                            RR 4 BOX 2260                                                                                            EUFAULA         OK      74432‐9310
JO BARRAGAN                         1852 COUNTRY LN                                                                                          WEIDMAN         MI      48893‐9774
JO BAYES                            4515 BOLON AVE                                                                                           HILLIARD        OH      43026‐1802
JO BECKMAN                          1839 N MICHIGAN RD                                                                                       EATON RAPIDS    MI      48827‐9220
JO BEEBE                            5864 DAVISON RD                                                                                          LAPEER          MI      48446‐2726
JO BENDER                           19 OLE MISS DR                                                                                           LAUREL          MS      39440‐1251
JO BRANCH                           73 S ROSEDALE AVE                                                                                        GREENVILLE      PA      16125‐1820
JO BRATCHER                         2655 LEONARD ROAD                                                                                        MARTINSVILLE    IN      46151‐7762
JO BROOKE                           18750 S 632 RD                                                                                           FAIRLAND        OK      74343‐2155
JO BROWN                            11986 WILFRED ST                                                                                         DETROIT         MI      48213‐1345
JO BUCHANAN                         3916 CRENSHAW AVE                                                                                        FORT WORTH      TX      76105‐4114
JO CARTER                           3772 HILL AVE                                                                                            TOLEDO          OH      43607
JO CHANEY                           106 AVENUE C                                                                                             CARROLLTON      GA      30117‐2808
JO CHRISTNER                        2644 W COUNTY ROAD 500 SOUTH                                                                             PERU            IN      46970
JO COE                              1884 SAGO PALM ST NE                                                                                     PALM BAY        FL      32905‐3364
JO COLE                             633 ARCHER RD                                                                                            LUTTRELL        TN      37779‐2417
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Name                 Address1                        Address2                  Address3   Address4               City             State Zip
JO COLLIFLOWER       3700 BEACHVIEW DR                                                                           ARLINGTON         TX 76016‐2507
JO COOPER            5516 E CO RD 500 S                                                                          KOKOMO            IN 46902
JO COOPER            1005 DAWN CT                                                                                GRANBURY          TX 76048‐1451
JO CRAFTS            8371 CAPPY LN                                                                               SWARTZ CREEK      MI 48473‐1201
JO CURRY             5331 VAN SLYKE RD                                                                           FLINT             MI 48507‐3953
JO D SCOTT           56 CORNICHE DRIVE               APT E                                                       DANA POINT        CA 92629‐4066
JO DAMESWORTH        2036 MORRISON AVE                                                                           SPRING HILL       TN 37174‐7411
JO DAVIS             651 ALICE ST                                                                                EAST PALESTINE    OH 44413‐2504
JO DAVIS             4058 GREENMONT DR SE                                                                        WARREN            OH 44484‐2612
JO DAWSON            366 OAKDALE CIR                                                                             ELYRIA            OH 44035‐0901
JO DELICATO          4330 N ELKCAM BLVD                                                                          BEVERLY HILLS     FL 34465‐3030
JO DINKEL            28401 ROCKWOOD ST                                                                           ST CLAIR SHRS     MI 48081‐3640
JO DONNENWIRTH       298 VENNUM AVE                                                                              MANSFIELD         OH 44903‐2131
JO DURHAM            444 LELAND AVE                                                                              DAYTON            OH 45417‐1658
JO E ARNOLD          PO BOX 764                                                                                  MOUNT MORRIS      MI 48458
JO E CHRISTNER       2644 W 500 S                                                                                PERU              IN 46970‐7790
JO E LARZELERE       1054 NORMANDY TERRACE DR                                                                    FLINT             MI 48532‐3547
JO E MADEWELL        12215 HEMPLE RD                                                                             FARMERSVILLE      OH 45325‐7208
JO E MOORE           P O BOX 653                                                                                 VERONA            OH 45378‐0653
JO ELLA COOPER       111 38 C COUNTY RD 32                                                                       FAIRHOPE          AL 36532
JO ELLEN COOPER      5222 JENNIE DRIVE                                                                           WHITE LAKE        MI 48383‐2618
JO ELLEN HORNISH     THE HORNISH GROUP               2060 EAST SECOND STREET                                     DEFIANCE          OH 43512
JO ELLEN REMENYIK    6587 QUAIL RUN                                                                              FISHERS           IN 46038‐4619
JO ENNIS             3540 DEIBEL DRIVE                                                                           SAGINAW           MI 48603‐7274
JO ESPINOSA          757 BAYLES DR                                                                               ROMEOVILLE         IL 60446‐5261
JO EVOLA             34702 ESPER DR                                                                              STERLING HTS      MI 48312‐5029
JO F DAVIS           4058 GREENMONT SE                                                                           WARREN            OH 44484‐2612
JO F KOHLER          1244 KING RICHARD PARKWAY                                                                   W CARROLLTON      OH 45449‐2224
JO FEDYSKI           3101 DURST CLAGG RD NE                                                                      WARREN            OH 44481‐9359
JO FITZPATRICK       3906 KENNY LN                                                                               SPRINGBORO        OH 45066‐1818
JO GALLOUP COMPANY   130 HELMER RD N                                                                             BATTLE CREEK      MI 49037‐4900
JO GATES             907 RANIKE DR                                                                               ANDERSON          IN 46012‐2735
JO GILBERT           2081 S 350 W                                                                                RUSSIAVILLE       IN 46979‐9451
JO GLASS             804 NW ZAUN AVE                                                                             BLUE SPRINGS      MO 64015‐3740
JO GLEAVES           3212 CAVE SPRINGS AVE APT D                                                                 BOWLING GREEN     KY 42104‐4858
JO GOLDEN            519 N WILDER AVE                                                                            ROCKWOOD          TN 37854‐2363
JO GORDON            6758 OAKHURST CT                                                                            DOUGLASVILLE      GA 30134‐4501
JO GRAY              3427 S RINIEL RD                                                                            DURAND            MI 48429‐9740
JO GRIBBLE           3743 WARRINGHAM AVE                                                                         WATERFORD         MI 48329‐1385
JO GRUSZECKI         11309 9 MILE RD                                                                             EVART             MI 49631‐7406
JO GYEONG            1964 QUADRANGLE CT                                                                          COLORADO SPRINGS CO 80918

JO H JONES           PO BOX 713                                                                                  ANDERSON          IN   46015‐0713
JO HAGGARD           7297 WHITE OAK CIR                                                                          PORTAGE           MI   49002‐4485
JO HALL              429 ESLEY LN                                                                                MANSFIELD         OH   44905‐2713
JO HALL              3285 N 400 W                                                                                SHARPSVILLE       IN   46068‐9170
JO HARRIS            6363 SADDLE HORSE LN                                                                        FOREST HILL       TX   76119‐7126
JO HARRIS            PO BOX 172                                                                                  GRATIS            OH   45330‐0172
JO HATCH             1457 DENIES ST                                                                              BURTON            MI   48509‐2166
JO HICKS             4016 BUFFALO RD                                                                             SUMMERTOWN        TN   38483‐7181
JO HIDAY             5817 MARBLE CT                                                                              ANDERSON          IN   46013‐2026
JO HOLLON            1428 E 47TH ST                                                                              ANDERSON          IN   46013‐2706
JO HOLMES            1152 EDEN HILL RD                                                                           BEULAH            MI   49617‐9705
JO HOLMES            53 PEARL ST                                                                                 CARTERSVILLE      GA   30120‐2849
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Name                    Address1                        Address2                  Address3   Address4               City              State Zip
JO HONEYCUTT            APT D5                          1900 IDLEWILD DRIVE                                         RENO               NV 89509‐1011
JO HUFFORD              5928 S 775 W                                                                                TIPTON             IN 46072‐9066
JO HUGHES               3214 S HAWTHORNE AVE                                                                        INDEPENDENCE       MO 64052‐1242
JO IVY                  1112 N 49TH TER                                                                             KANSAS CITY        KS 66102‐1602
JO JACKSON              916 ALAMEDA AVE                                                                             YOUNGSTOWN         OH 44510‐1202
JO JOHNSON              1837 WEYER AVE                                                                              NORWOOD            OH 45212‐2952
JO JONES                PO BOX 713                                                                                  ANDERSON           IN 46015‐0713
JO KANYAK               2294 MICHIGAN AVE                                                                           PRESCOTT           MI 48756‐9685
JO KERCKAERT            4131 CHENLOT LN                                                                             WATERFORD          MI 48328‐4224
JO KINDER               505 W 4TH ST                                                                                MARION             IN 46952‐3959
JO KING                 1955 PLEASANT RIDGE RD NW                                                                   WESSON             MS 39191‐9672
JO KING/ALPHARETTA      P.O. BOX 1088 30239             1265 OLD ALPHARETTA RD.                                     ALPHARETTA         GA 30009
JO KISER                2216 FIG TREE WAY                                                                           KNOXVILLE          TN 37931
JO L FRANKLIN           PO BOX 320797                                                                               FLINT              MI 48532‐0014
JO LAY                  17 CITATION TRL                                                                             CORBIN             KY 40701‐8574
JO LEE                  503 SUNDOWN DR                                                                              KOKOMO             IN 46901‐4052
JO LEONARD              63 GENERAL CANBY DR                                                                         SPANISH FORT       AL 36527‐8005
JO LEWIS                2302 30TH ST                                                                                BEDFORD            IN 47421‐5416
JO LITTLE               3133 LEONORA DR                                                                             KETTERING          OH 45420‐1234
JO LONG                 717 NOBLE ST                                                                                INDIANAPOLIS       IN 46203
JO LYNN C ELLEMAN       1089 LUCHARLES AVE                                                                          MOUNT MORRIS       MI 48459‐2114
JO LYNN ELLEMAN         1089 LUCHARLES AVE                                                                          MOUNT MORRIS       MI 48458‐2114
JO LYNN GATES           1516 BENNIE BREECE ST                                                                       WEST MONROE        LA 71292‐6016
JO LYNN SCOTT BURGE     2637 PEACHTREE ROAD #409                                                                    ATLANTA            GA 30305
JO LYNNE PIERCE         1900 E GIRARD PL APT 1207                                                                   ENGLEWOOD          CO 80113‐3114
JO LYNNE WAGAR          11045 LITTLEFIELD RD                                                                        BLANCHARD          MI 49310‐9712
JO MAGEE                966 E BRENTWOOD ST                                                                          DETROIT            MI 48203‐2163
JO MAR INDUSTRIES INC   12851 CAPITAL ST                                                                            OAK PARK           MI 48237‐3160
JO MARTIN               25964 THACH RD                                                                              ATHENS             AL 35613‐3133
JO MAUCK                RR 1 BOX 243B                                                                               EL DORADO SPRINGS MO 64744‐9508

JO MCCORD               4609 N COUNTY RD 500 W                                                                      WINCHESTER        IN   47394
JO MCMANUS              6574 LONGWORTH DR                                                                           WATERFORD         MI   48329‐1341
JO MCQUAID              2025 NEWBERRY ST                                                                            SAGINAW           MI   48602‐2742
JO MILLER               2718 LONE PINE RD                                                                           FARWELL           MI   48622‐9490
JO MOORE                PO BOX 21356                                                                                OWENSBORO         KY   42304‐1356
JO MULLINS              PO BOX 514                                                                                  KILLEN            AL   35645‐0514
JO MYATT                1004 SW 13TH ST                                                                             MOORE             OK   73160‐2616
JO N GARDENHIRE         966 E BRENTWOOD ST                                                                          DETROIT           MI   48203‐2163
JO NELL SPANGLER        255 CHRISTMAS RIDGE RD                                                                      BEREA             KY   40403‐9205
JO NEWHOUSE             3303 TRAPPERS TRL UNIT A                                                                    CORTLAND          OH   44410‐9148
JO PARKER               3318 N DECATUR BLVD UNIT 1004                                                               LAS VEGAS         NV   89130‐3232
JO PATRIDGE             2748 130TH ST                                                                               TOLEDO            OH   43611‐2205
JO PATTON               3509 LLANO TRL                                                                              ARLINGTON         TX   76015‐3686
JO PERRY                252 STONY LAKE DR                                                                           OXFORD            MI   48371‐6740
JO PERRY                109 ALLISON CIR                                                                             CARTERSVILLE      GA   30120‐3815
JO PUMROY               PO BOX 1401                                                                                 DONNA             TX   78537‐1401
JO R RICHARDSON         13515 ASHBURTON AVE                                                                         CLEVELAND         OH   44110‐3506
JO RACZ                 PO BOX 23                                                                                   COOKEVILLE        TN   38503‐0023
JO RAMSEY               40 S SHIRLEY ST                                                                             PONTIAC           MI   48342‐2846
JO RAYBURN              18547 WILLIAMS ST                                                                           LIVONIA           MI   48152‐2841
JO REEVES               1309 SKRIVANEK DR                                                                           BRYAN             TX   77802‐1950
JO RICHARDSON           13515 ASHBURTON AVE                                                                         CLEVELAND         OH   44110‐3506
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JO RICHMOND                      109 HARBOR DR N                                                                                    SAINT HELENA       SC 29920‐5011
                                                                                                                                    ISLAND
JO ROE                           744 SEIBERT AVE                                                                                    MIAMISBURG        OH   45342‐3038
JO ROSE                          2909 ELVA DR                                                                                       KOKOMO            IN   46902‐6807
JO ROTZ‐TAYLOR                   975 CLEOPHUS PKWY                                                                                  LINCOLN PARK      MI   48146‐2651
JO ROWLAND                       221 S JEFFREYS ST                                                                                  PLEASANT HILL     MO   64080‐1719
JO SCHMITZ                       3711 AMBER LN                                                                                      JANESVILLE        WI   53546‐4009
JO SCOTT                         APT 4802                        1604 NORTH HILLS BOULEVARD                                         HURST             TX   76053‐7265
JO SETSER                        200 LONGDON ST                                                                                     GREENWOOD         IN   46142‐3625
JO SHANNON                       166 ENCHANTED DR                                                                                   SOMERSET          KY   42503‐6247
JO SLOCUM                        129 SLOCUM SQ                                                                                      MARTIN            GA   30557‐4925
JO SMITHER                       2195 N STATE ROAD 267                                                                              AVON              IN   46123‐6324
JO SOUTHWELL                     1450 W BENNINGTON RD                                                                               OWOSSO            MI   48867‐9747
JO STEELE                        4709 NORRIS ST                                                                                     FORT WORTH        TX   76105‐4340
JO STIPES                        108 PALE MOON DR                                                                                   PELZER            SC   29669‐8913
JO THORNTON                      13647 KENYON RD                                                                                    GRAND LEDGE       MI   48837‐9733
JO TIMBS                         300 N BARCLAY ST APT 16                                                                            FAIRMOUNT         IN   46928
JO TURNWALD                      2400 INDIAN RD                                                                                     LAPEER            MI   48446‐8081
JO V KANYAK                      2294 MICHIGAN AVE                                                                                  PRESCOTT          MI   48756‐9685
JO VANGALDER                     10119 N 28TH ST                                                                                    RICHLAND          MI   49083‐8551
JO WATSON                        225 KISSANE AVE                                                                                    BRIGHTON          MI   48116‐1855
JO WELLS                         PO BOX 13731                                                                                       ARLINGTON         TX   76094‐0731
JO WERNER                        1104 W SYCAMORE ST                                                                                 KOKOMO            IN   46901‐4384
JO WEST                          2944 BARTH ST                                                                                      FLINT             MI   48504‐3052
JO WILLIAMS                      PO BOX 203                                                                                         PERRINTON         MI   48871‐0203
JO WINT                          8465 MOMS DR                                                                                       BELLEVILLE        MI   48111‐1336
JO WORTHEN                       3105 HIGHLAND GLN                                                                                  NORMAN            OK   73069‐8341
JO WRIGHT                        1649 INDIANA AVE                                                                                   FLINT             MI   48506‐3521
JO, DOO‐YEARN                    1901 LENOMAR CT                                                                                    ROCHESTER HILLS   MI   48309‐1856
JO, EDDA                         5556 BROADVIEW RD APT 3009                                                                         CLEVELAND         OH   44134‐1619
JO‐ANN BROWN                     20725 CAMDEN SQ APT 110                                                                            SOUTHFIELD        MI   48076‐3816
JO‐ANN FINKE                     3750 RIDGEWOOD DR                                                                                  HILLIARD          OH   43026‐2449
JO‐ANN HALE                      PO BOX 28407                                                                                       DETROIT           MI   48228‐0407
JO‐ANN KILLEEN                   APT 205                         517 JACOB WAY                                                      ROCHESTER         MI   48307‐6623
JO‐ANN SIRIANNI                  59 WILEY COURT                                                                                     FENNVILLE         MI   49408
JO‐ANN SMITH                     884 SALISBURY RD                                                                                   COLUMBUS          OH   43204‐4703
JO‐ANNE KEEFER                   280 RAYMOND AVE NW                                                                                 WARREN            OH   44483‐1154
JO‐ANNE O KEEFER                 280 RAYMOND N. W.                                                                                  WARREN            OH   44483‐1154
JO‐ANNE RIDDLE                   1243 QUEEN ANNE AVE                                                                                ODENTON           MD   21113‐1936
JO‐CYNTHIA KEELS                 1418 AVONDALE ST                                                                                   SANDUSKY          OH   44870‐4268
JO‐LE EQUIPMENT                                                  4524 BEST STATION RD                                                                 PA   18080
JO‐MAR DELIVERY SERVICES         6570 MCCRARY ROAD EXT                                                                              SEMMES            AL   36575‐8806
JOA WITTEBORT                    1614 S M ST                                                                                        ELWOOD            IN   46036‐2845
JOA, FIDEL                       11399 BATTLE CREEK HWY                                                                             BELLEVUE          MI   49021‐9707
JOA, LOURDES M                   11399 BATTLE CREEK HWY H                                                                           BELLEVUE          MI   49021
JOA, YURIZANT M                  11399 BATTLE CREEK HWY                                                                             BELLEVUE          MI   49021
JOACHIM AMANDA & JAMES           3047 BARMOUTH DR                                                                                   ANTIOCH           CA   94509‐5160
JOACHIM AMBERG                   MOZARTSTRASSE 28                71093 NEUWEILER              GERMANY
JOACHIM AND STEFHANIE CHARTIEU   SCHLOSSGARTEN 12                                                        34537 BAD WILDUNGEN
                                                                                                         GERMANY
JOACHIM AND SYLVIA WOLTMANN      LAUTERSTR. 7                                                            12159 BERLIN
JOACHIM BERGMANN                 ZUR GRUENEN FLUR 4 C                                                    D‐35745 HERBORN, GERMANY

JOACHIM CALBUS                   7841 GRANDVILLE AVE                                                                                DETROIT           MI   48228‐4511
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Name                            Address1                        Address2                Address3     Address4                  City              State Zip
JOACHIM CHARTIEU
JOACHIM CHARTIEU                SCHLO▀GARTEN 12
JOACHIM CHARTIEU                SCHLOSSGARTEN 12
JOACHIM CHARTIEU AND STEFANIE   SCHLOSSGARTEN 12                                                     34537 BAD WILDUNGEN
CHARTIEU                                                                                             GERMANY
JOACHIM DIESTEL                 7185 DONCASTER CT                                                                              CUMMING           GA    30040‐7660
JOACHIM DOEPP                   GUERTLERSTRASSE 68              55128 MAINZ             GERMANY
JOACHIM D╓PP                    G▄RTLERSTRASSE 68               55128 MAINZ             GERMANY
JOACHIM ENGEL                   13159 BLAISDELL DR                                                                             DEWITT             MI   48820‐8188
JOACHIM F ADAMCZUK              AM GEISSBERG 3                                                       86444 AFFING GERMANY
JOACHIM FUNCK                   LAUSITZER WEG 5                                                      D‐23617 STOCKELSDORF
                                                                                                     GERMANY
JOACHIM FUNCK                   2929 RIGGORY RIDGE ROAD                                                                        CHARLOTTESVILLE    VA   22911
JOACHIM GARTZ                   DUELKENERSTR 103                                                     41747 VIERSEN GERMANY
JOACHIM GARTZ                   SEIDLHOFSTRASSE 18                                                                             HAAR                    85540
JOACHIM GENDITZKI               23 DRESSER RD                                                                                  SPENCERPORT        NY   14559‐9547
JOACHIM GOCELJAK                3544 RIVERSIDE DR                                                                              AUBURN HILLS       MI   48326‐4309
JOACHIM GRODON                  BADSTR. 26                                                           73734 ESSLINGEN GERMANY

JOACHIM H. GARTZ                D▄LKENERSTRA▀E 103                                                                             VIERSEN                 41747
JOACHIM H. GARTZ                DUELKENERSTRASSE 103                                                                           VIERSEN                 41747
JOACHIM HANS‐JOERG ZINK         IM HOLDERBETT 10                                                     73773 AICHWALD GERMANY

JOACHIM HANS‐J╓RG ZINK          IM HOLDERBETT 10                73773 AICHWALD
JOACHIM HAUPT                   IN DER AUE 16                                                        50374 ERFTSTADT GERMANY

JOACHIM HAUPT                   IN DER AUE 16                   50374 ERFTSTADT
JOACHIM HEILIGER                AM ZIMMERPLATZ 23
JOACHIM HILTRUD REGGE           ADOLF‐KOLPING‐STR 33                                                 D‐31139 HILDESHEIM
                                                                                                     GERMANY
JOACHIM HINCKE                  ELLERHOLZWEG 2                  21107 HAMBURG
JOACHIM HINCKE                  ELLERHOLZWEG 2                                                       21107 HAMBURG GERMANY
JOACHIM HUEBNER                 IM BRANDER FELD 25              D‐52078 AACHEN
JOACHIM KARGOL                  HEINRICH‐K╓NIG‐STR 88A                                               44795 BOCHUM GERMANY
JOACHIM KELLER                  4126 S MILL RD                                                                                 DRYDEN             MI   48428‐9342
JOACHIM KIEDROWSKI              LEYDENALLEE 62                  12167 BERLIN
JOACHIM KIEDROWSKI              LEYDENALLEE 62                                                                                 BERLIN                  12167
JOACHIM KREIL                   COLMARER STRASSE 8                                                   65203 WIESBADEN GERMANY

JOACHIM KRENZ                   GROOTMOOR 132                   D 22175 HAMBURG
JOACHIM KUTSCHKE                RILKEWEG 26                                                          35039 MARBURG GERMANY
JOACHIM LENTE                   LEICHHARDTSTR. 9                                                     14195 BERLIN GERMANY
JOACHIM LOESER                  408 DUNDEE TRL                                                                                 SOUTHERN PINES     NC   28387‐7304
JOACHIM LOEWE                   L╓NSSTRA▀E 29                   D 21077 HAMBURG
JOACHIM LOEWE                   LOENSSTRASSE 29                 D 21077 HAMBURG
JOACHIM MACHINERY               4627 INDEPENDENCE SQ                                                                           INDIANAPOLIS      IN    46203‐5942
JOACHIM MEYENBURG               BENTINCKSTRASSE 26 B            D‐26389 WILHELMSHAVEN   GERMANY                                ‐                 ND    ‐0123
JOACHIM MIETZ                   MUENSTERSTRN 241                                                     40470 DUESSELDORF
                                                                                                     GERMANY
JOACHIM O AMBERG                MOZARTSTRASSE 28                                                     71093 NEUWEIEER GERMANY

JOACHIM OHLHOFF                 TEUTOBURGER STRASSE 33                                               49082 OSNABR▄CK GERMANY
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Name                     Address1                      Address2                       Address3   Address4                City                 State Zip
JOACHIM OPPERMANN        AM FUCHSBAU NR 8                                                        14532 KLEIN MACHNOW
                                                                                                 GERMANY
JOACHIM OPPERMANN        POSTFACH 501132                                                         22711 HAMBURG GERMANY
JOACHIM RAIF             BRENTANOSTRASSE 26                                                      63165 MUEHLHEIM GERMANY

JOACHIM REGGE            ADOLF‐KOLPING‐STR.33          31139 HILDESHEIM
JOACHIM RUCKGABER        ENZHALDE 8                    75180 PFORZHEIM                                                     PFORZHEIM                75180
JOACHIM SCHAERFKE        STRASSE IM WALDE 15                                                                               BERLIN
JOACHIM SCHOENKNECHT     KARL‐GRUNERT‐STRASSE 54                                                 28277 BREMEN GERMANY
JOACHIM SCHULTHEI▀       FRIEDLIEBSTR.12               75050 GEMMINGEN
JOACHIM SCHUSTER         HOLZWEG 4
JOACHIM SCHUSTER         HOLZWEG 4                     D41352 KORSCHENBROICH
JOACHIM SELL             SOMMERWEG 25                                                            88048 FRIEDRICHSHAFER
                                                                                                 GERMANY
JOACHIM STILLER
JOACHIM TALLE            BODDINGHEIDEWOG 37                                                      D 48167 MUNSTER GERMANY

JOACHIM VOGEL            38604 BYRIVER ST                                                                                  CLINTON TWP         MI   48036‐1810
JOACHIM VOLTMER          GEIBECHSTR 1                                                            D30123 HANNOVER GERMANY

JOACHIM VON WALLENBERG   ZINZENDORFSTR. 6                                                                                  RATINGEN                 40882
JOACHIM WALTER           KREUZSTR. 94                  44137 DORTMUND                 GERMANY
JOACHIM WOLF             STRASSBURGER STRA▀E 57        10405 BERLIN
JOACHIM WOLF             STRA▀BURGERSTR 57                                                       10405 BERLIN GERMANY
JOACHIM, DAPHNE          28556 BALMORAL WAY                                                                                FARMINGTON HILLS    MI   48334‐5100

JOACHIM, DOLORES E       4280 BRACKENWOOD DRIVE                                                                            OLD HICKORY        TN    37138‐4216
JOACHIM, HARRY J         PO BOX 211                                                                                        ROGERS             OH    44455‐0211
JOACHIM, JAMES F         3935 N COUNTY ROAD 950 E                                                                          BROWNSBURG         IN    46112‐8926
JOACHIM, JEFFREY C       1746 N MILDRED ST                                                                                 DEARBORN           MI    48128‐1239
JOACHIM‐ULRICH JAEGER    HOCHSTR. 19                                                             13357 BERLIN GERMANY
JOAHNE SPOHN             138 E GATES ST                                                                                    COLUMBUS           OH    43206‐3624
JOALICE HAMILTON         2251 VALE DR                                                                                      DAYTON             OH    45420‐3554
JOAME DE SOUZA           150 2ND ST APT 304                                                                                FRAMINGHAM         MA    01702‐7062
JOAN
JOAN & RALPH VENDITTI    1949 TRAILWOOD LANE                                                                               PRESCOTT           AZ    86303
JOAN A LADRIGUE          2245 BAY ST                                                                                       SAGINAW            MI    48602‐3823
JOAN A MILLER            8001 3RD ST                                                                                       DETROIT            MI    48202‐2420
JOAN A OSTERHOUT         702 CAMPBELL RD                                                                                   SYRACUSE           NY    13211‐1219
JOAN A REIGHARD          3547 WOODBINE AVE                                                                                 HUBBARD            OH    44425‐1849
JOAN A RUDY              5264 LONG LN #191                                                                                 MECHANICSVILLE     PA    18934
JOAN ABBOTT              5956 PARK RIDGE DR                                                                                PORT ORANGE        FL    32127‐7547
JOAN ABNEY               523 PEACH BLOSSOM DR                                                                              FORTVILLE          IN    46040‐1647
JOAN ACKERLY             10729 FIGTREE CT                                                                                  LEHIGH ACRES       FL    33936‐7332
JOAN ADAMS               1814 S WABASH AVE                                                                                 KOKOMO             IN    46902‐2082
JOAN ADAMS               1 OAKDALE DR                                                                                      MIDDLETOWN         NJ    07748
JOAN ADAMS               10955 EL TORO DR                                                                                  RIVERVIEW          FL    33569‐7350
JOAN ADAMS               291 SAILFISH DR                                                                                   MABANK             TX    75156‐1927
JOAN AGLER               5109 BIRCHCREST DR                                                                                YOUNGSTOWN         OH    44515‐3922
JOAN AGUILAR             3746 OAK PARK AVENUE                                                                              BERWYN             IL    60402‐3901
JOAN AGUILAR             GERLINGERSTR. 46              71229 LEONBERG
JOAN AHLERS              C/O COONEY AND CONWAY         120 NORTH LASALLE 30TH FLOOR                                        CHICAGO             IL   60602
JOAN ALEXANDER           4224 WOODLAND ST APT 7                                                                            CASS CITY           MI   48726‐1665
JOAN ALEXANDER           19164 ANNCHESTER RD                                                                               DETROIT             MI   48219‐2751
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JOAN ALFORD              153 CATALINA DR                                                                              HOWELL             MI     48843‐1880
JOAN ALLEMAN             772 E 9630 S                                                                                 SANDY              UT     84094‐3509
JOAN ALLEN               8821 TYRELL DR                                                                               SAINT LOUIS        MO     63136‐2712
JOAN ALLEN               921 LOUGHERY LN                                                                              INDIANAPOLIS       IN     46228‐1320
JOAN ALLEN               37420 LAKEVILLE ST                                                                           HARRISON TWP       MI     48045‐2877
JOAN ALLEN‐DECKER        51 ELMVIEW CT                                                                                SAGINAW            MI     48602‐3655
JOAN ALLENDER            1185 CORNWALL DR                                                                             TITUSVILLE         FL     32796‐1504
JOAN ALLOWAY             413 GRAND ST                                                                                 TRENTON            NJ     08611‐2607
JOAN AMBLER              915 E MAURER ST                                                                              SHAWANO            WI     54166‐2629
JOAN AND JUDSON SALTER   JOAN M SALTER AND JUDSON H SALTER JR 302 OVERLOOK DR                                         OPELIKA            AL     36801

JOAN ANDERSON            13330 MCCUMSEY RD                                                                            CLIO              MI      48420‐7914
JOAN ANDERSON            32 SOMERSET AVE                                                                              BRIDGEWATER       NJ      08807‐2024
JOAN ANDERSON            3269 ANCHORAGE CT                                                                            SPRING HILL       FL      34607‐2602
JOAN ANKENY              76 MOUNTAIR DR                                                                               VANDALIA          OH      45377‐2952
JOAN ARAMA               5069 KITSON LN                                                                               WEST BLOOMFIELD   MI      48324‐2223

JOAN ARMITAGE            3804 N JANNEY AVE                                                                            MUNCIE            IN      47304‐1837
JOAN ARMOUR              C/O TERRY ARMOUR                    9077 FINNEY ROAD                                         GLASGOW           KY      42141
JOAN ARONSON             11 CHADWICK LN                      #G                                                       MONROE TWP        NJ      08831‐2600
JOAN ARSENAULT           3501 ANNA AVE                                                                                TRENTON           MI      48183‐3504
JOAN ARTZ                PO BOX 38                                                                                    CHAUMONT          NY      13822‐0038
JOAN ASHBURN             5801 WOODMORE DR                                                                             DAYTON            OH      45414‐3011
JOAN ASHLEY              950 SPRING CREEK RD APT 254                                                                  EAST RIDGE        TN      37412‐3904
JOAN ATKINSON            9944 W CENTER ST                                                                             ANDERSON          IN      46011‐9007
JOAN AUTO/TROY           3221 W BIG BEAVER RD STE 216                                                                 TROY              MI      48084‐2811
JOAN AYERS               118 CADY DR                                                                                  SAINT LOUIS       MO      63135‐1110
JOAN B ARTZ              6604 SPRING FLOWER DR APT 21                                                                 NEW PORT RICHEY   FL      34653‐5421
JOAN B EVENSKI           441 CORBETT DRIVE                                                                            THE VILLAGES      FL      32162
JOAN B EVERIDGE          300 LA MAR CT                                                                                VANDALIA          OH      45377‐3212
JOAN B FABERY            4883 MYRTLE AVE NW                                                                           WARREN            OH      44483‐1327
JOAN B PAXTON            11651 DAYTON FARMERSVILLE RD                                                                 FARMERSVILLE      OH      45325‐8258
JOAN B SAWYER            5870 BRADLEY DRIVE                                                                           TIPP CITY         OH      45371‐2106
JOAN B WEIGLE            1322 STERLING DR                                                                             CORTLAND          OH      44410‐9222
JOAN BAILEY              3044 AYRE CT                                                                                 FLINT             MI      48506‐5402
JOAN BAILEY              925 YOUNGSTOWN WARREN RD APT 33                                                              NILES             OH      44446‐4634

JOAN BAIR                1625 TENNYSON DR                                                                             TEMPERANCE        MI      48182‐9242
JOAN BAISDEN             5939 WAYNE AVE                                                                               PENTWATER         MI      49449‐8401
JOAN BAKARICH            504 BURSON PL                                                                                ANN ARBOR         MI      48104‐2602
JOAN BAKELAAR            9279 LORD RD                                                                                 BONITA SPRINGS    FL      34135‐6565
JOAN BAKER               PO BOX 2546                                                                                  CUMMING           GA      30028‐6506
JOAN BAKER               9212 STONE RD                                                                                CLAY              MI      48001‐4433
JOAN BARANOWSKI          43525 PERIGNON DR                                                                            STERLING HTS      MI      48314‐1924
JOAN BARBEE              1767 CASSIDY RD                                                                              TERRY             MS      39170‐9116
JOAN BARFIELD            688 CHERRY HILLS PL                                                                          ROCK HILL         SC      29730‐8220
JOAN BARKER              4390 GLENMAWR AVE                                                                            COLUMBUS          OH      43224‐1955
JOAN BARNES              N9306 LAKESIDE RD                                                                            TREGO             WI      54888‐9222
JOAN BARRELL             5604 CHESTNUT RD                                                                             NEWFANE           NY      14108‐9616
JOAN BARTER              2637 BIRCH POINT DR                                                                          LUPTON            MI      48635‐9604
JOAN BARTLES             128 ACCESS DR                                                                                MARTINSBURG       WV      25404‐0570
JOAN BATES               7201 HOLIDAY DR                                                                              STANWOOD          MI      49346‐8895
JOAN BAUER               8820 W SCENIC LAKE DR                                                                        LAINGSBURG        MI      48848‐8789
JOAN BAUER               1706 MANOR DR                                                                                LEBANON           IN      46052‐3321
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Name                             Address1                       Address2                      Address3                  Address4                  City              State   Zip
JOAN BAUMBERGER                  5704 PALM DR                                                                                                     FORT PIERCE        FL     34982‐7583
JOAN BAUMOHL                     61‐10 ALDERTON STREET, #2F                                                                                       REGO PARK          NY     11374
JOAN BAYLIS                      109 WOODWORTH ST                                                                                                 LESLIE             MI     49251‐9485
JOAN BAYNE                       PO BOX 4265                                                                                                      PRESCOTT           MI     48756‐4265
JOAN BEACHLER                    1111 LINDBERG RD                                                                                                 ANDERSON           IN     46012‐2633
JOAN BEARD                       1417 TRAILS END ST                                                                                               KALAMAZOO          MI     49001‐8312
JOAN BEASLEY                     PO BOX 5333                                                                                                      FLINT              MI     48505‐0333
JOAN BEATTY                      69 BUNGANOWEE DVE                                                                      CLIFTON SPRINGS VIC
                                                                                                                        AUSTRALIA 3222
JOAN BECKER                      6408 LAKE BREEZE DR                                                                                              BRIGHTON          MI      48114‐7699
JOAN BEECKMAN                    1319 FREMONT ST                                                                                                  BAY CITY          MI      48708‐7922
JOAN BEERS                       818 RICHARD ST                                                                                                   HOLLY             MI      48442‐1285
JOAN BELL                        1203 BRENTWOOD DR                                                                                                GREENVILLE        PA      16125‐8810
JOAN BELLAR                      5817 ROCKINGHAM DR                                                                                               KETTERING         OH      45429‐6129
JOAN BENATTI
JOAN BENISH                      4960 BARNES RD                                                                                                   MILLINGTON         MI     48746‐9043
JOAN BENNETT J W BENNETT         107 SUNSET DR                                                                                                    VICTORIA           TX     77901
JOAN BERRY‐ZARTMAN               PO BOX 174                                                                                                       VERNON             MI     48476‐0174
JOAN BEVERLY BLOXSOM AND JULIA   512 SANBORN AVE                                                                                                  BIG RAPIDS         MI     49307
BLOXSOM
JOAN BIERENS                     529 E 2ND ST APT 24                                                                                              PERRY             MI      48872‐9570
JOAN BINKOWSKI                   PO BOX 295                                                                                                       CHARLOTTE         MI      48813‐0295
JOAN BIRKMEIER                   8495 NEW LOTHROP RD                                                                                              NEW LOTHROP       MI      48460‐9756
JOAN BISHER                      2706 CORLISS DR                                                                                                  LEMAY             MO      63125‐3717
JOAN BITNER                      86 RIDGE ROAD S                                              CRYSTAL BEACH ON LOSIB0
                                                                                              CANADA
JOAN BLACKBURN                   297 PARISH AVE                                                                                                   HUBBARD           OH      44425‐1956
JOAN BLOSSER                     PO BOX 3507                                                                                                      KALAMAZOO         MI      49003‐3507
JOAN BOBIER                      116 SHARON HEIGHTS DR                                                                                            LIBERTY           SC      29657‐9437
JOAN BODEKOR                     12879 MAIN ST                                                                                                    ALDEN             NY      14004‐1205
JOAN BOGGS                       107 TOURNAMENT TRL                                                                                               CORTLAND          OH      44410‐9741
JOAN BOGLIOLI                    160 NEWELL AVE                                                                                                   TONAWANDA         NY      14150‐6208
JOAN BOJEC                       411 BISHOP RD                                                                                                    HIGHLAND HTS      OH      44143‐1449
JOAN BOKSZA                      913 BUCKINGHAM ROAD                                                                                              DAYTON            OH      45419‐3744
JOAN BOOKER                      4250 DERRY CT                                                                                                    ROCHESTER HILLS   MI      48306‐4666
JOAN BOONE                       216 MIDLAND AVE                                                                                                  BUFFALO           NY      14223‐2539
JOAN BOOTHBY                     19 DECOU AVE                                                                                                     EWING             NJ      08628‐2908
JOAN BORSKE                      2834 E BOOTH RD                                                                                                  AU GRES           MI      48703‐9533
JOAN BOUGHER                     5036 BIRKDALE DR                                                                                                 AVON PARK         FL      33825‐6060
JOAN BOWEN                       897 KYLE AVE                                                                                                     COLUMBUS          OH      43207‐4261
JOAN BOWER                       7863 LINCOLN AVENUE EXT                                                                                          LOCKPORT          NY      14094‐9036
JOAN BOWERSOX                    661 STRAWBERRY VALLEY AVE NW                                                                                     COMSTOCK PARK     MI      49321‐9595
JOAN BRADWAY                     PO BOX 950                                                                                                       SALEM             NJ      08079‐0950
JOAN BRAGG                       4401 W 150TH ST                WESTPARK HEALTH CARE CENTER                                                       CLEVELAND         OH      44135‐1311
JOAN BRANT                       903 VALLEY VIEW DR                                                                                               BROOKFIELD        OH      44403‐9655
JOAN BRAY                        6303 E MAPLE AVE                                                                                                 GRAND BLANC       MI      48439‐9193
JOAN BREECHER                    4912 S 19TH ST APT B           C/O DEBRA L YANKE                                                                 MILWAUKEE         WI      53221‐2830
JOAN BREESE                      1283 W. US 36                                                                                                    PENDLETON         IN      46064
JOAN BRENNAN                     ACCOUNT OF DENNIS BRENNAN      6333 DAYTON AVE                                                                   LAS VEGAS         NV      89107
JOAN BROCK                       5640 CLINTON TRL                                                                                                 LAKE ODESSA       MI      48849‐9729
JOAN BROECKER                    1829 FARNSWORTH RD                                                                                               LAPEER            MI      48446‐8601
JOAN BROOKS                      W6710 CREEK RD                                                                                                   WAUSAUKEE         WI      54177‐8960
JOAN BROWN                       107 KENWOOD DR                                                                                                   CROSSVILLE        TN      38558‐2828
JOAN BROWN                       831 RIVERVIEW DR                                                                                                 SOUTH HOLLAND     IL      60473‐1645
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Name                               Address1                          Address2            Address3       Address4               City               State   Zip
JOAN BROWN                         161 COLONIAL BLVD                                                                           PALM HARBOR         FL     34684‐1302
JOAN BROWN                         PO BOX 122                                                                                  OLIVE HILL          KY     41164‐0122
JOAN BROWN                         5062 SENECA TR RT 7                                                                         GAYLORD             MI     49735
JOAN BROWNE                        PO BOX 637                                                                                  HILLMAN             MI     49746‐0637
JOAN BRUNNER                       478 BURHEN DR                                                                               CINCINNATI          OH     45238‐5512
JOAN BRUNZA                        71 FORSGATE WAY                                                                             LAKEWOOD            NJ     08701‐3873
JOAN BRYANT                        48631 MANHATTAN CIR                                                                         CANTON              MI     48188‐1499
JOAN BUCHHEIT                      1853 PRESCOTT RDG                                                                           SAINT CHARLES       MO     63303‐5345
JOAN BUCK                          1700 EAST 13TH STREET             APT E11T                                                  CLEVELAND           OH     44114
JOAN BUMBALOUGH                    2912 DOWNING ST                                                                             COOKEVILLE          TN     38506‐6552
JOAN BURGE                         18496 VALLEYBROOK LN                                                                        CLINTON TWP         MI     48038‐5233
JOAN BURI ‐ SHAFFER                6920 RIDGE RD                                                                               LOCKPORT            NY     14094‐9436
JOAN BURKE                         1426 PLUMTREE AVE                                                                           PORTAGE             MI     49002‐5644
JOAN BURLEY                        2261 N UNION ST                                                                             SPENCERPORT         NY     14559‐1242
JOAN BURNS                         9601 BRAY RD                                                                                MILLINGTON          MI     48746‐9561
JOAN BUTTS                         876 LAURELMONT DR SW                                                                        ATLANTA             GA     30311‐2938
JOAN C BALDWIN                     1154 E YALE AVE                                                                             FLINT               MI     48505‐1519
JOAN C DIANA                       88 DUNLOP AVE                                                                               TONAWANDA           NY     14150‐7809
JOAN C DIEHL                       273 ROCKFORD CIR                                                                            WHITE LAKE          MI     48386‐1941
JOAN C FEW                         25 WESLEY COURT                                                                             SPRINGBORO          OH     45066‐7460
JOAN C GORROW                      38 ALPINE LANE                                                                              CALDONIA            NY     14423‐9748
JOAN C MCKECHNIE REVOCABLE TRUST   J C MCKECHNIE                     2300 MOHAWK TRAIL                                         MAITLAND            FL     32751‐4031
JOAN C PROSSER                     3174 HADLEY RD                                                                              HADLEY              PA     16130‐2740
JOAN C SARISKY                     16 KASEVILLE RD                                                                             DANVILLE            PA     17821
JOAN C WHEELER                     104 E 4TH ST                                                                                TILTON               IL    61833‐7415
JOAN CALHOUN                       108 CHEROKEE TRL                                                                            GILBERTSVILLE       KY     42044‐8580
JOAN CAMPBELL                      22605 DETOUR ST                                                                             ST CLAIR SHRS       MI     48082‐2429
JOAN CAMPBELL                      6 EVELYN ST                                                                                 FINLEYVILLE         PA     15332‐4209
JOAN CAMPBELL                      212 E 2ND ST                                                                                ONAGA               KS     66521‐9813
JOAN CANAN                         10 CARRIAGE CROSSING WAY                                                                    TROY                OH     45373‐8936
JOAN CAPODILUPO                    6401 RAMPART DR                                                                             CARMICHAEL          CA     95608‐1103
JOAN CARLIN                        5541 HOUGHTEN DR                                                                            TROY                MI     48098‐2908
JOAN CARLTON                       1722 LEHIGH STATION RD                                                                      HENRIETTA           NY     14467‐9755
JOAN CARNES                        1041 COUNTY ROAD 607                                                                        ALVARADO            TX     76009‐6767
JOAN CAROL NOBLE                   6715 TABBY DR                                                                               HUBER HEIGHTS       OH     45425
JOAN CAROL SHARP                   8325 PRINCETON ROAD                                                                         LIBERTY TOWNSHIP    OH     45044

JOAN CAROTHERS                     15 LINDSEY LN                                                                               NEW CASTLE         PA      16105‐2349
JOAN CARRADINE                     12403 AKRON CANFIELD RD                                                                     NORTH JACKSON      OH      44451‐9722
JOAN CARRICO                       513 SCIOTO DRIVE                                                                            LOUISVILLE         KY      40223
JOAN CARTER                        32189 BALMORAL ST                                                                           GARDEN CITY        MI      48135‐1706
JOAN CASWELL                       5073 MORRISH RD                                                                             SWARTZ CREEK       MI      48473‐1370
JOAN CECH                          201 RICEMILL CIR                                                                            SUNSET BEACH       NC      28468‐4411
JOAN CHAMBERS                      199 PEA RIDGE RD                                                                            SPENCER            IN      47460‐7468
JOAN CHAMBERS                      122B MARTIN LUTHER KING DR                                                                  LAKEWOOD           NJ      08701‐4255
JOAN CHAPMAN                       5531 N FORTVILLE PIKE                                                                       GREENFIELD         IN      46140‐8769
JOAN CHAPMAN                       16011 LOIS DR                                                                               ROSEVILLE          MI      48066‐4725
JOAN CHOALS                        4882 CASTLE HILL CT NE                                                                      ROCKFORD           MI      49341‐7710
JOAN CHORAZEWITZ                   2245 KING AVE                                                                               DAYTON             OH      45420‐2361
JOAN CHORAZEWITZ                   2245 KING AVE                                                                               DAYTON             OH      45420‐2361
JOAN CHRISTENSEN                   28643 CAMPBELL DR                                                                           WARREN             MI      48093‐2619
JOAN CHRISTMAN                     PO BOX 513                                                                                  MACEDON            NY      14502‐0513
JOAN CICOGNA                       14B PHEASANT ST                                                                             MANCHESTER         NJ      08759‐5104
JOAN CIESLAK                       15714 S SUNSET RIDGE CT UNIT 1S                                                             ORLAND PARK        IL      60462‐3958
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Name                 Address1                       Address2                        Address3             Address4               City               State   Zip
JOAN CLARK           3125 BUSCH RD                                                                                              BIRCH RUN           MI     48415‐9010
JOAN CLEAVER         414 S PINE AVE                                                                                             SOUTH AMBOY         NJ     08879‐2151
JOAN CLEMENTS        12588 CLINTONIA RD                                                                                         PORTLAND            MI     48875‐9444
JOAN CLYNE           700 CAMERON AVE                                                                                            PONTIAC             MI     48340‐3204
JOAN COFFEY          34 CHARTER CIR                                                                                             ROCHESTER           NY     14606‐4907
JOAN COHEE           3307 MILLS ACRES ST                                                                                        FLINT               MI     48506‐2132
JOAN COLEMAN         1624 PENCE PL                                                                                              DAYTON              OH     45432‐3316
JOAN COLEMAN         10713 E VOAX DR                                                                                            SUN LAKES           AZ     85248‐7779
JOAN COLLETT         2571 ASHCRAFT RD                                                                                           DAYTON              OH     45414‐3401
JOAN COLLINS         2027 YORDY RD                                                                                              MIO                 MI     48647‐8759
JOAN COMBS           8423 BARKWOOD CIRCLE                                                                                       FENTON              MI     48430‐8360
JOAN COMPTON         110 PARKEDGE AVE                                                                                           TONAWANDA           NY     14150‐7730
JOAN COMSTOCK        910 SCHUST RD                                                                                              SAGINAW             MI     48604‐1537
JOAN CONNER          PO BOX 412                                                                                                 WARREN              IN     46792‐0412
JOAN CONVERSE        161 BIRCHWOOD DR                                                                                           ROCHESTER           NY     14622‐1203
JOAN COOK            17546 BEACH LN                                                                                             LAKE MILTON         OH     44429‐9741
JOAN COOPER          1260 N FOREST RD APT C2                                                                                    WILLIAMSVILLE       NY     14221‐3252
JOAN CORBETT         1024 VINEYARDS DR                                                                                          TUSCALOOSA          AL     35406‐2816
JOAN CORWIN          8398 STONEHEDGE DR                                                                                         MOUNT MORRIS        MI     48458‐8818
JOAN COULSON         4329 SUNSET DR                                                                                             LOCKPORT            NY     14094‐1233
JOAN COVEY           2819 S MULBERRY ST                                                                                         MUNCIE              IN     47302‐5061
JOAN COVIN BOLSTAD   ACCT OF GLENN E BOLSTAD        CHILD SUPPORT CIVIL CRTS BLDG                                               FT WORTH            TX     46194
JOAN CRABB           5348 S FAIRFAX CT                                                                                          SOUTH BEND          IN     46614‐5946
JOAN CRANE           939 LINCOLN AVE                                                                                            FLINT               MI     48507‐1755
JOAN CRAVENS         98 RUMSEY RD                                                                                               COLUMBUS            OH     43207‐3895
JOAN CRAWFORD        5505 S EMPORIA ST                                                                                          WICHITA             KS     67216‐3610
JOAN CRAWFORD        921 E BOSTON AVE                                                                                           YOUNGSTOWN          OH     44502‐2853
JOAN CRAWFORD        420 BARDWELL RD                                                                                            CASTALIA            OH     44824‐9330
JOAN CREGO           99 LINDHURST DR                C/O DIANE KOZLOWSKI                                                         LOCKPORT            NY     14094‐5717
JOAN CROSBY          4106 WOODHAVEN AVE                                                                                         BALTIMORE           MD     21216‐1538
JOAN CROSBY          166 CASS AVENUE RD                                                                                         MUNGER              MI     48747‐9719
JOAN CROSS           3837 HULL RD                                                                                               LESLIE              MI     49251‐9627
JOAN CROSSDALE       6 DAWNHAVEN DR                                                                                             ROCHESTER           NY     14624‐1651
JOAN CUTWAY          380 TALLMAN RD                                                                                             OGDENSBURG          NY     13669‐4359
JOAN D ASHBURN       5801 WOODMORE DR                                                                                           DAYTON              OH     45414‐3011
JOAN D COHEE         3307 MILLS ACRES ST                                                                                        FLINT               MI     48506‐2132
JOAN D CRAWFORD      811 DELAWARE ST                                                                                            DETROIT             MI     48202‐2301
JOAN D ROMIG TTEE    JOAN D ROMIG LIVING TRUST      U/A 6/8/94                      658 E VALLEY CHASE                          BLOOMFIELD HILLS    MI     48304‐3163
JOAN DAHLK           3454 HICKORY HILL RD                                                                                       VERONA              WI     53593‐9752
JOAN DALEY           9 TUDOR LN APT 3                                                                                           LOCKPORT            NY     14094‐3999
JOAN DASKY           1038 TONI DR                                                                                               DAVISON             MI     48423‐2800
JOAN DAUPHINE        3973 BLUEBERRY RD                                                                                          CURRIE              NC     28435‐5872
JOAN DAVIS           6299 HEYER ST                                                                                              ROMULUS             MI     48174‐4063
JOAN DAWE            126 DELAWARE ST                                                                                            EAST CHINA          MI     48054‐1507
JOAN DECK            3828 DAYTONA DR                                                                                            YOUNGSTOWN          OH     44515‐3315
JOAN DECOLA          15155 SHERMAN WAY #26                                                                                      VAN NUYS            CA     91405
JOAN DECOSTANZA      1100 TALLEYRAND RD                                                                                         WEST CHESTER        PA     19382‐7417
JOAN DEFRENN         8853 MAPLE LEAF DR                                                                                         OVID                MI     48866‐8683
JOAN DELEON          1019 GREENBRIAR LN                                                                                         DEFIANCE            OH     43512‐3604
JOAN DELOYE          4455 ARLINGTON PARK DR                                                                                     LAKELAND            FL     33801‐0545
JOAN DELP            2968 E DAY DR                                                                                              ANDERSON            IN     46017‐9772
JOAN DENICOLA        3498 EVERETT HULL RD                                                                                       CORTLAND            OH     44410‐9705
JOAN DENMAN          5615 FREEDY AVE                                                                                            RACINE              WI     53406‐3425
JOAN DEROSE          20277 KINGSVILLE ST                                                                                        HARPER WOODS        MI     48225‐2217
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Name                                   Address1                              Address2                         Address3   Address4               City            State Zip
JOAN DESHIELDS                         168 VALERIE LN                                                                                           BEAR             DE 19701‐2570
JOAN DETERS                            15945 FILLMORE ST                                                                                        WEST OLIVE       MI 49460‐9760
JOAN DICK
JOAN DIEHL                             273 ROCKFORD CIR                                                                                         WHITE LAKE      MI   48386‐1941
JOAN DIGRAZIO                          200 E MILTON AVE APT W705                                                                                RAHWAY          NJ   07065‐5031
JOAN DILLON                            134 MORELAND RD                                                                                          NILES           OH   44446‐3216
JOAN DILLON                            2102 PARKDALE AVE                                                                                        SHARON          PA   16148‐2226
JOAN DILTS                             1618 DELAWARE AVE                                                                                        MCKEESPORT      PA   15131‐1656
JOAN DISTLER                           11902 ROSE HARBOR DR APT 108                                                                             TAMPA           FL   33625‐5739
JOAN DIXON F (ESTATE OF)               C/O EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                                     NEW HAVEN       CT   06510
                                                                             265 CHURCH ST
JOAN DOBBS                             320 N FOSTER AVE                                                                                         ALBANY          IN   47320‐1313
JOAN DOBRYNSKI                         58 OLD TURNPIKE RD                                                                                       BRISTOL         CT   06010‐2811
JOAN DOLIN TRUST DTD 10‐23‐03          JOAN DOLIN AND MARTIN DOLIN TTEES     9661 ARBOR VIEW DR N                                               BOYNTON BEACH   FL   33437‐5938

JOAN DOMAGALLA                         1121 SE 4TH ST                                                                                           CAPE CORAL      FL   33990‐5614
JOAN DONNELLY                          6 PARK ST                                                                                                REHOBOTH        MA   02769‐2714
JOAN DOOLEY                            22209 AVON ST                                                                                            ST CLAIR SHRS   MI   48082‐1412
JOAN DORSEY                            2501 W LANVALE ST                                                                                        BALTIMORE       MD   21216‐4806
JOAN DOUGLASS                          531 SHERIDAN DR                                                                                          VENICE          FL   34293‐1729
JOAN DOWNS                             2582 DAVISON AVE                                                                                         AUBURN HILLS    MI   48326‐2014
JOAN DOYEN                             2010 S MOUNTAIN ST                                                                                       BAY CITY        MI   48706‐5312
JOAN DRAPER                            38 EBB DRAPER LN                                                                                         KIRBY           AR   71950‐9047
JOAN DRAVING                           7658 WEST 00 NORTH SOUTH                                                                                 KOKOMO          IN   46901
JOAN DUBUIS                            1129 MARVIN CT NW                                                                                        GRAND RAPIDS    MI   49534‐7938
JOAN DUBY                              6269 SPRINGDALE BLVD                                                                                     GRAND BLANC     MI   48439‐8524
JOAN DUDLEY                            3101 OAKLAWN ST                                                                                          COLUMBUS        OH   43224‐4356
JOAN DUMLER                            5136 ENGLISH RD                                                                                          CLIFFORD        MI   48727‐9500
JOAN DUNCAN                            4302 WISNER ST                                                                                           FLINT           MI   48504‐2032
JOAN DUNN                              1137 GUNDERSON AVE                                                                                       OAK PARK        IL   60304‐2119
JOAN DURBIN                            9947 W WALNUT ST                                                                                         LAPEL           IN   46051‐9733
JOAN DURLING                           PO BOX 96                                                                                                VERNON          MI   48476‐0096
JOAN DYBAS                             2443 W GERMAN RD                                                                                         BAY CITY        MI   48708‐9652
JOAN E BEAN                            1844 LITCHFIELD AVE                                                                                      DAYTON          OH   45406
JOAN E BROWNE                          PO BOX 637                                                                                               HILLMAN         MI   49746‐0637
JOAN E CHOPKO                          2589 NEWTON FALLS RD                                                                                     NEWTON FALLS    OH   44444
JOAN E COLEMAN                         1624 PENCE PL                                                                                            DAYTON          OH   45432‐3316
JOAN E DERUE                           7452 BOTANICA PKWY                                                                                       SARASOTA        FL   34238
JOAN E DIETIKER AND LEROY C DIETIKER   C/O JOAN DIETIKER                     6575 N PARISVILLE RD                                               PORT HOPE       MI   48468

JOAN E FITT                            1305 APPLE RIDGE CT                                                                                      SOUTH BEND      IN   46614‐6156
JOAN E KOBUS                           1251 LITTLE BEND DR                                                                                      WEBSTER         NY   14580‐9523
JOAN E LEE                             4108 WINONA ST                                                                                           FLINT           MI   48504‐3741
JOAN E MATLOCK                         1030 LELAND AVE                                                                                          DAYTON          OH   45407‐1131
JOAN E NAYLES                          632 S DOGWOOD DR                                                                                         BEREA           KY   40403‐9520
JOAN E PALCZYK                         5 SHANBROOK DR                                                                                           ROCHESTER       NY   14612‐3067
JOAN E PAYNE                           3508 CALHOUN ST                                                                                          DAYTON          OH   45417‐1715
JOAN E PERMAN                          508 13TH AVE                                                                                             UNION GROVE     WI   53182‐1210
JOAN E SEITZ                           516 PRIMROSE PATH                                                                                        EASTON          PA   18040
JOAN E ZELLER REVOC LIV TRUST          7720 BRIDLINGTON DR                                                                                      BOYNTON BEACH   FL   33472‐5054
JOAN EAVES                             4330 GARY RD                                                                                             CHESANING       MI   48616‐9473
JOAN EBNER                             23 HARBOR HILL RD                                                                                        GROSSE POINTE   MI   48236‐3747
                                                                                                                                                FARMS
JOAN ECKARD                            1031 MORRELL ST                                                                                          DETROIT         MI   48209‐2434
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Name                                 Address1                            Address2               Address3   Address4               City              State   Zip
JOAN EDMONDS                         620 HAYES RD                                                                                 MUIR               MI     48860‐9748
JOAN EDWARDS                         262 BUTTERFLY LN                                                                             BEDFORD            IN     47421‐8421
JOAN ELLERBUSCH MORGAN               ACCT OF DANIEL F GREBA              2833 CADILLAC TOWER                                      DETROIT            MI     48226
JOAN ELLIOTT                         67788 SOUTH MAIN STREET                                                                      RICHMOND           MI     48062‐1330
JOAN ELLIOTT                         411 WALNUT ST. #3987                                                                         GREEN COVE         FL     32043
                                                                                                                                  SPRINGS
JOAN ELLIS                           7953 FAIRCREST DR                                                                            YPSILANTI         MI      48197‐8354
JOAN ELLISON                         2908 DELLVIEW DR                                                                             FORT WAYNE        IN      46816‐2184
JOAN EMERICK                         6220 RAVEN RUN                                                                               LAKELAND          FL      33809‐5665
JOAN EMORY                           18829 E 583 PR NE                                                                            BENTON CITY       WA      99320
JOAN EPSTEIN                         145 NOTTINGHAM DR                                                                            WATCHUNG          NJ      07069
JOAN ERSIN                           6301 ATKINS DR                                                                               TROY              MI      48085‐1444
JOAN ESTER                           4435 LATTING RD                                                                              CANANDAIGUA       NY      14424‐8042
JOAN EUBANKS                         1121 CELESTE ST                                                                              CROWLEY           TX      76036‐2903
JOAN EURICH                          1688 S JOHNSON ST                                                                            BAY CITY          MI      48708‐7635
JOAN EVERIDGE                        300 LA MAR CT                                                                                VANDALIA          OH      45377‐3212
JOAN F & JACQUES E LINDER TRUSTEES   C/O LINDER FAMILY REVOCABLE TRUST   4639 CHANDLERS FORDE                                     SARASOTA          FL      34235‐7118
JOAN F KACENGA                       3024 JEAN ST.                                                                                YOUNGSTOWN        OH      44502‐2831
JOAN FABERY                          4883 MYRTLE AVE NW                                                                           WARREN            OH      44483‐1327
JOAN FABIANO                         4965 DEER RUN LN                                                                             HOLT              MI      48842‐1526
JOAN FALCO                           4 ELBA PL                                                                                    SCARSDALE         NY      10583‐6104
JOAN FALKLER                         PO BOX 755                                                                                   WILLIAMSPORT      PA      17703‐0755
JOAN FARAGO                          115 N ADAMS ST                                                                               SAGINAW           MI      48604‐1201
JOAN FARMER                          932 RIDER AVE                                                                                DAYTON            OH      45408‐1611
JOAN FAUCETT                         2933 FLETCHER ST                                                                             ANDERSON          IN      46016‐5344
JOAN FAUST                           27 ROCHELLE PARK                                                                             TONAWANDA         NY      14150‐9311
JOAN FEARBY                          11174 W SHELBY RD                                                                            MEDINA            NY      14103‐9527
JOAN FEDKEW                          1069 FAWN WOOD DRIVE                                                                         WEBSTER           NY      14580‐9614
JOAN FEENSTRA                        1180 GREENLY ST                                                                              HUDSONVILLE       MI      49426‐9671
JOAN FELDKAMP                        1743 TOWNSEND LN                                                                             WENTZVILLE        MO      63385‐4334
JOAN FELDMAN                         920 MUSKEGON AVE NW                                                                          GRAND RAPIDS      MI      49504‐4442
JOAN FELTNER                         755 STATE ROUTE 61                                                                           NORWALK           OH      44857‐9383
JOAN FERRETT                         4120 CHEVELLE DR SE                                                                          WARREN            OH      44484‐4730
JOAN FERRIS                          8919 SUNSET LN                                                                               BROWNSBURG        IN      46112‐8470
JOAN FITZMAURICE                     22011 DUBOIS ST                                                                              ROMULUS           MI      48174‐9519
JOAN FLAGIELLO                       110 ROBBINSVILLE ALLENTOWN RD                                                                ROBBINSVILLE      NJ      08691‐1627
JOAN FLEMING                         818 S EDGERTON                                                                               SPOKANE           WA      99212‐3016
JOAN FLETCHER                        PO BOX 195                          303 OAK PARK DR ‐                                        PERRY             MI      48872‐0195
JOAN FLOOD                           PO BOX 273                                                                                   GOODRICH          MI      48438‐0273
JOAN FLORIBUS
JOAN FLOWERS                         708 RIVIERA DR                                                                               SUN CITY CENTER   FL      33573‐5537
JOAN FLYNN                           1056 MOCCASIN TRL                                                                            XENIA             OH      45385‐4125
JOAN FOLEY                           3595 SANTA FE AVE SPC 110                                                                    LONG BEACH        CA      90810‐4353
JOAN FONZI                           442 PROSPECT ST                                                                              LOCKPORT          NY      14094‐2157
JOAN FORSTER
JOAN FOSTER                          11096 MATTHEWS HWY                                                                           CLINTON           MI      49236‐9757
JOAN FOSTER                          8003 SILVERLAND DR APT 28                                                                    PORTLAND          MI      48875‐8789
JOAN FOYER                           115 URBAN DR                                                                                 WESTVILLE         IL      61883‐1223
JOAN FRANCISCO                       4016 HAZELETT DR                                                                             WATERFORD         MI      48328‐4036
JOAN FREDERICKS                      49 GOLF CLUB CROSSOVER                                                                       CROSSVILLE        TN      38571‐5728
JOAN FREED                           700 W 40TH ST                       KESWICK MEMORY CARE                                      BALTIMORE         MD      21211‐2104
JOAN FREEDERS                        49 ESTATE DR                                                                                 BROOKVILLE        OH      45309‐9263
JOAN FREEMAN                         29 WEST RUTGERS AVENUE                                                                       PONTIAC           MI      48340‐2755
JOAN FREY                            806 E COLUMBIA ST                                                                            FLORA             IN      46929‐1411
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Name                    Address1                        Address2           Address3         Address4                  City               State   Zip
JOAN FRITZ              1515 FRANKLIN ST                                                                              HASLETT             MI     48840‐8470
JOAN FRUSHOUR           219 E LINDEN AVE                                                                              LOGANSPORT          IN     46947‐2659
JOAN FUERTES            PO BOX 762                                                                                    FRUITLAND PARK      FL     34731‐0762
JOAN FUGILL             1832 TWAIN AVE                                                                                FORT WORTH          TX     76120‐5061
JOAN FURLONG            34214 GREENTREES RD                                                                           STERLING HEIGHTS    MI     48312‐5643
JOAN FURNISH            1614 GREY STABLE LN                                                                           HIGHLAND HGTS       KY     41076‐3726
JOAN G BELL             1203 BRENTWOOD DRIVE                                                                          GREENVILLE          PA     16125‐8810
JOAN G MUCHA            253 BOLL ST                                                                                   SLOAN               NY     14212‐2260
JOAN GADOW              4201 S COUNTY ROAD T                                                                          BRODHEAD            WI     53520‐9706
JOAN GAGNE              39 FARM ST                                                                                    BLACKSTONE          MA     01504‐1814
JOAN GALIOTO            7878 BUCCANEER DR                                                                             FT MYERS BCH        FL     33931‐5004
JOAN GALLOWAY GOODWIN   1659 ACORN ST                                                                                 SHREVEPORT          LA     71101‐5207
JOAN GAMBLE             300 EL RUTH COURT APT.102                                                                     GIRARD              OH     44420
JOAN GAMBLE             300 ELRUTH CT APT 102                                                                         GIRARD              OH     44420‐3025
JOAN GANTNER            4864 CELTIC DR                                                                                DAYTON              OH     45432‐3312
JOAN GARDNER            PO BOX 108                                                                                    FRANKTON            IN     46044‐0108
JOAN GARRY              929 CANTERBURY DR                                                                             PONTIAC             MI     48341‐2333
JOAN GARTON             1001 GREEN ST                                                                                 SAINT JOSEPH        MO     64505‐1731
JOAN GARVIN             23 GEORGE ST                                                                                  NILES               OH     44446‐2723
JOAN GASKILL            339 PHEASANT DR MT HOPE                                                                       MIDDLETOWN          DE     19709
JOAN GEARING            1519 EDENBERRY CT                                                                             DEFIANCE            OH     43512‐6788
JOAN GELMAN             2 DEVON CT                                                                                    HADDONFIELD         NJ     08033‐2811
JOAN GELOW              PO BOX 302                                                                                    AU GRES             MI     48703‐0302
JOAN GERLACH            333 FOLKSTONE CT                                                                              TROY                MI     48085‐3225
JOAN GIBBON             925 BREWSTER AVE                                                                              BELOIT              WI     53511‐5621
JOAN GIERUCKI           8884 WOODBINE                                                                                 REDFORD             MI     48239‐1228
JOAN GILLESPIE          5758 PARKWALK CIR W                                                                           BOYNTON BEACH       FL     33472‐2316
JOAN GIRARD             5353 BELSAY RD                                                                                GRAND BLANC         MI     48439‐9128
JOAN GIVENS             16554 PIERSON ST                                                                              DETROIT             MI     48219‐3965
JOAN GLENCER            1129 FEDERAL AVE                                                                              HOUGHTON LAKE       MI     48629‐8945
JOAN GLODDE             6105 DORY WAY                                                                                 TAVARES             FL     32778‐9219
JOAN GLOVER             36483 PALMER RD                                                                               WESTLAND            MI     48186‐4210
JOAN GODFREY
JOAN GOERGE             2899 RUSSELL DR                                                                               HOWELL             MI      48843‐8881
JOAN GOLDEN             RT 6 BOX 84                                                                                   MURPHY             NC      28906
JOAN GOLKOSKY           7241 ANGLING RD                                                                               PORTAGE            MI      49024‐4059
JOAN GOOD               1400 LAKEVIEW DR                                                                              GLADWIN            MI      48624‐9670
JOAN GOODMAN            7403 46TH AVE N LOT 170                                                                       ST PETERBURG       FL      33709‐2557
JOAN GOODWIN            1659 ACORN ST                                                                                 SHREVEPORT         LA      71101‐5207
JOAN GORECKI            40437 OAKWOOD DR                                                                              NOVI               MI      48375‐4453
JOAN GORROW             38 ALPINE LN                                                                                  CALEDONIA          NY      14423‐9748
JOAN GOSS               4989 ARNOLD CT                                                                                BAY CITY           MI      48706‐3174
JOAN GOTHAT             4012 ARDEN BLVD                                                                               YOUNGSTOWN         OH      44511‐3504
JOAN GRAB               15710 WICK RD                                                                                 ALLEN PARK         MI      48101‐1535
JOAN GRAFFICE           3595 MARY LOU LN N                                                                            MANSFIELD          OH      44906‐1056
JOAN GRAHAM             109 MEADOWBROOK AVE                                                                           WILMINGTON         DE      19804‐2827
JOAN GRANT              1840 REX ST                                                                                   LANSING            MI      48910‐3628
JOAN GRAYSON TTEE       JOAN GRAYSON LIVING TR 6/3/98   29 HOLLY HILL DR                                              ASHEVILLE          NC      28806
JOAN GREENEY            608 S LEHIGH AVE                                                                              SAYRE              PA      18840‐2420
JOAN GRIEVE             1811 PALM SPRINGS ST                                                                          SARASOTA           FL      34234‐4116
JOAN GRIFFIN            418 SWEET ALYSSUM COURT                                                                       MISHAWAKA          IN      46545‐6246
JOAN GRIGLIONE          PO BOX 1803                                                                                   NORWALK            CA      90651‐1803
JOAN GROLL              98 SIGNAL HILL CIR                                                  CALGARY ‐ AB T3H 2H2
                                                                                            CANADA
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Name                           Address1                      Address2                 Address3    Address4               City            State   Zip
JOAN GWILLIAMS                 1320 DRAPER DR                                                                            LAKE PLACID      FL     33852‐9650
JOAN H & JAMES H MCANULTY JR   215 THORNBERRY CIRCLE                                                                     PITTSBURGH       PA     15234
JOAN H DESSLOCH                803 TIMBER LANE                                                                           SEWICKLEY        PA     15143‐8962
JOAN HALAMAR                   8153 ALGER RD                                                                             ALGER            MI     48610‐9723
JOAN HALE                      131 CYPRESS DR                                                                            RINCON           GA     31326‐5103
JOAN HALL                      1724 E 1000 S                                                                             KINGMAN          IN     47952‐8036
JOAN HALLEY                    8475 W BUCKWOOD CT                                                                        HOMOSASSA        FL     34448‐1801
JOAN HAMILTON                  713 COLONIAL WAY                                                                          GREENWOOD        IN     46142‐1813
JOAN HAMILTON                  561 SWEET HOME RD                                                                         AMHERST          NY     14226‐2221
JOAN HAMMER                    13814 ROUND TOP PL                                                                        LOUISVILLE       KY     40299‐7023
JOAN HANCOCK                   712 KNIBBE RD                                                                             LAKE ORION       MI     48362‐2147
JOAN HAND                      509 W 4TH AVE                                                                             SAULT S MARIE    MI     49783‐2622
JOAN HANSON                    671 E FRANCIS RD                                                                          NEW LENOX         IL    60451‐1341
JOAN HAPCIC                    548 WARNER RD                                                                             HUBBARD          OH     44425‐2700
JOAN HARBERT                   816 MAUMEE DR                                                                             KOKOMO           IN     46902‐5525
JOAN HARDY                     2744 SCARBOROUGH DR                                                                       GRAND PRAIRIE    TX     75052‐4271
JOAN HARGIS                    1800 JEFFERY RD                                                                           JONESVILLE       MI     49250‐9621
JOAN HAROLD                    3279 MARY AVE                                                                             COLUMBUS         OH     43204‐1735
JOAN HARRAH                    1500 BUFFALO ST                                                                           DAYTON           OH     45432‐3202
JOAN HARRIS                    158 JOHNS SHILOH RD                                                                       BRANDON          MS     39042‐9089
JOAN HARRIS                    4892 HADLEY RD                                                                            GOODRICH         MI     48438‐9606
JOAN HARRISON                  255 MAYER RD APT 156                                                                      FRANKENMUTH      MI     48734‐1368
JOAN HAVELL                    42W773 CLOVER HILL LN                                                                     ELBURN            IL    60119‐8444
JOAN HAWLEY                    1248 E HIGHWOOD RD                                                                        BEAVERTON        MI     48612‐9432
JOAN HAYES                     1601 DILL AVE APT 1016                                                                    LINDEN           NJ     07036‐1776
JOAN HEARN                     4 TOPEKA RD                                                                               CHELMSFORD       MA     01824‐4524
JOAN HEBDEN                    7692 TONAWANDA CREEK RD                                                                   LOCKPORT         NY     14094‐9042
JOAN HEBERT                    346 N HARWINTON AVE                                                                       TERRYVILLE       CT     06786‐4103
JOAN HEMMINGER                 C/O COONEY & CONWAY           120 N LA SALLE 30TH FL                                      CHICAGO           IL    60602
JOAN HENDRICKSEN               1019 CLARK ST                                                                             LINDEN           NJ     07036‐2704
JOAN HENLEY                    627 W. ORANGE GROVE AVE.                                                                  POMONA           CA     91768
JOAN HENRY                     218 BROADFORD RD                                                                          FALMOUTH         KY     41040‐8161
JOAN HENRY                     3106 GLOUCHESTER DR APT 93B                                                               TROY             MI     48084‐2727
JOAN HENSLEY                   4905 GREENWOOD DR                                                                         SHEFFIELD LK     OH     44054‐1518
JOAN HEPINSTALL                6165 HART RD                                                                              SAGINAW          MI     48609‐9147
JOAN HERTELY                   2945 COSTA MESA RD                                                                        WATERFORD        MI     48329‐2442
JOAN HESS                      149 PASSAIC AVE                                                                           LOCKPORT         NY     14094‐2038
JOAN HEWETT                    1301 N HARRISON ST APT 1201                                                               WILMINGTON       DE     19806‐3170
JOAN HEYDE                     605 WESTWINDS DR                                                                          PALM HARBOR      FL     34683‐1125
JOAN HILEMAN                   373 COUNTY ROAD 1302                                                                      POLK             OH     44866‐9745
JOAN HILGER                    30 FREEDOM POND LN                                                                        NORTH CHILI      NY     14514‐1244
JOAN HILL                      1707 S LAUREL DR                                                                          MARION           IN     46953‐2906
JOAN HOBBS                     48190 FOUR SEASONS BLVD       C/O JOHN S HOBBS                                            NORTHVILLE       MI     48168‐8556
JOAN HOCKETT                   862 TOUSSIANT S               COUNTY RD #104                                              OAK HARBOR       OH     43449
JOAN HOFFMAN                   3118 W DEL MONTE DR                                                                       ANAHEIM          CA     92804‐1602
JOAN HOFFMAN                   3317 E MOUNT HOPE HWY                                                                     GRAND LEDGE      MI     48837‐9442
JOAN HOLLEY                    3088 ROUTE 34 B                                                                           AURORA           NY     13026
JOAN HOLLIDAY                  3699 S INCA DOVE PL                                                                       SIERRA VISTA     AZ     85650‐5347
JOAN HOLLIS                    1705 W BOULEVARD                                                                          KOKOMO           IN     46902‐6110
JOAN HOLLOMAN                  21600 NICHOLAS AVENUE                                                                     EUCLID           OH     44123‐3066
JOAN HOLLOWAY                  4820 SYLVAN DR                                                                            DAYTON           OH     45427‐3048
JOAN HOLLOWAY                  4820 SYLVAN DR                                                                            DAYTON           OH     45427‐3048
JOAN HONAKER                   PO BOX 58                                                                                 WAYNESVILLE      OH     45068‐0058
JOAN HOOVER                    5124 W CHURCHILL CT                                                                       MUNCIE           IN     47304‐5323
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Name                     Address1                           Address2                Address3                    Address4                    City             State Zip
JOAN HORWITZ             102 PIANO DR                                                                                                       NEWARK            DE 19713‐1985
JOAN HOUGH               3822 W CO RD 100 S RR2                                                                                             RUSSIAVILLE       IN 46979
JOAN HOWARD
JOAN HOWELL              1613 W PELHAM PATH                                                                                                 RAYMORE          MO   64083‐8111
JOAN HUDSON              69 W WASHINGTON ST STE 1800        C/O PATRICK T. MURPHY                                                           CHICAGO          IL   60602‐3018
JOAN HUEBERT             2808 51ST AVE W WOODLAND/VILLAGE                                                                                   BRADENTON        FL   34207

JOAN HUFFMAN             1126 MARCIA DR                                                                                                     NORTH            NY   14120‐2812
                                                                                                                                            TONAWANDA
JOAN HUFFMAN             3219 W 20TH ST                                                                                                     ANDERSON         IN   46011‐3948
JOAN HULLIBERGER         17238 W ROSE LAKE RD                                                                                               LEROY            MI   49655‐8164
JOAN HUNT                905 N STERLING AVE                                                                                                 VEEDERSBURG      IN   47987‐8417
JOAN HYATT               122 WARREN AVE                                                                                                     EAST TAWAS       MI   48730‐9755
JOAN HYDEN               3430 LIBERTY ST                                                                                                    ERLANGER         KY   41018‐1310
JOAN HYSKO               8544 EBONY HILLS WAY                                                                                               LAS VEGAS        NV   89123‐3645
JOAN INGRAM              9755 BORDEN RD                                                                                                     HUBBARDSTON      MI   48845‐9516
JOAN IVES                400 CAMPUS DR                                                                                                      AMHERST          NY   14226
JOAN IVES                12071 W LENNON RD                                                                                                  LENNON           MI   48449‐9725
JOAN JACEK               12480 ANDERSONVILLE ROAD                                                                                           DAVISBURG        MI   48350‐3032
JOAN JACKSON             13393 IDLE HILLS RD                                                                                                BROOKLYN         MI   49230‐8516
JOAN JAGEL               314 BIRCHWOOD DR                                                                                                   SANDUSKY         OH   44870‐5716
JOAN JENKINS             2515 ROCK SPRINGS RD                                                                                               BUFORD           GA   30519‐5144
JOAN JEZESKI             W12611 COUNTY RD W                                                                                                 CRIVITZ          WI   54114‐9007
JOAN JOHNSON             2483 HOWE RD                                                                                                       BURTON           MI   48519‐1133
JOAN JOHNSON             3422 S LEAVITT ST                                                                                                  CHICAGO          IL   60608‐6021
JOAN JOHNSON             8574 SW 108TH PLACE RD                                                                                             OCALA            FL   34481‐5750
JOAN JOLLY               8 TULANE AVE                                                                                                       LAWRENCEVILLE    NJ   08648‐3837
JOAN JONES               1510 APPLE RIDGE TRL                                                                                               GRAND BLANC      MI   48439‐4968
JOAN JONES               7937 S STATE ST                                                                                                    CHICAGO          IL   60619‐3512
JOAN JONES               18001 COYLE ST                                                                                                     DETROIT          MI   48235‐2826
JOAN JONES               2821 GULF CITY RD LOT 30                                                                                           RUSKIN           FL   33570‐2845
JOAN JONES               1255 NEW GARDEN RD                                                                                                 NEW PARIS        OH   45347‐9121
JOAN JOURDEN             76 STARLING ST                                                                                                     MUSKEGON         MI   49442‐1740
JOAN K HORWITZ           102 PIANO DR                                                                                                       NEWARK           DE   19713‐1985
JOAN K RUEHL             5107 N 87TH ST                                                                                                     MILWAUKEE        WI   53225
JOAN K SNOW              PO BOX 545                                                                                                         SPRING HILL      TN   37174‐0545
JOAN K TRET              6362 SUPREME CT                                                                                                    PENDLETON        IN   46064‐8527
JOAN K WALLS             2400 S WABASH AVE                                                                                                  KOKOMO           IN   46902
JOAN KACENGA             3024 JEAN ST                                                                                                       YOUNGSTOWN       OH   44502‐2831
JOAN KAHLE               10742 PORTAGE RD                                                                                                   PORTAGE          MI   49002‐7307
JOAN KALSO               11620 HENDERSON RD                                                                                                 MONTAGUE         MI   49437‐9524
JOAN KATHERINE CAMERON   C/O LANCASTER BROOKS & WELCH LLP   ATTN STANLEIGH PALKA    PO BOX 790 80 KING STREET   ST CATHARINES ONTARIO L2R
                                                                                                                6Z1A
JOAN KEARNEY             37762 W STONEY RUN                                                                                                 SELBYVILLE       DE   19975‐4319
JOAN KEATING             6221 HATCHERY RD                                                                                                   WATERFORD        MI   48329‐3147
                                                                                                                                            TOWNSHIP
JOAN KECK                PO BOX 224                                                                                                         ASHLEY           MI   48806‐0224
JOAN KELCH               3901 HAMMERBERG RD APT H8                                                                                          FLINT            MI   48507
JOAN KELKENBERG          5919 BEATTIE AVE                                                                                                   LOCKPORT         NY   14094‐6629
JOAN KELLEY PAULSELL     PO BOX 2182                                                                                                        MOSES LAKE       WA   98837‐0582
JOAN KELLY               9240 HURRELBRINK RD                                                                                                KANSAS CITY      KS   66109‐3531
JOAN KENNEDY             3816 S GRAND TRAVERSE ST                                                                                           FLINT            MI   48507‐2401
JOAN KENT                RTE 2 2023 16TH ST                                                                                                 HOPKINS          MI   49328
JOAN KENT                2216 CAROLINE ST APT 301                                                                                           FREDERICKSBURG   VA   22401‐3236
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JOAN KERN               2207 OURAY CT                                                                             FORT COLLINS       CO     80525‐1893
JOAN KERN               15 CAMBRIDGE PARK                                                                         FRANKENMUTH        MI     48734‐9779
JOAN KERNEY             304 BAY SHORE AVE APT 1106                                                                MOBILE             AL     36607‐2096
JOAN KERR               546 NILES VIENNA RD                                                                       VIENNA             OH     44473‐9519
JOAN KESKES             13005 DANIA ST                                                                            HUDSON             FL     34667
JOAN KEY                16945 32ND ST                                                                             GOBLES             MI     49055‐9647
JOAN KILGORE            2890 TOWNLINE RD                                                                          MADISON            OH     44057‐2349
JOAN KINDER             3051 P ST NW                                                                              MIAMI              OK     74354‐1954
JOAN KING               5547 HIGHLAND AVE                                                                         KANSAS CITY        MO     64110‐2945
JOAN KING               4120 HAPPY VALLEY RD                                                                      LAFAYETTE          CA     94549‐2411
JOAN KING               80 ANGLIN RD                                                                              GRIFFIN            GA     30223‐6731
JOAN KIRKLAND           702 E KIRBY AVE                                                                           MUNCIE             IN     47302‐2435
JOAN KIRSCH             1944 CUMMINGS AVE                                                                         BERKLEY            MI     48072‐3250
JOAN KITCHEN            2318 5TH AVE                                                                              YOUNGSTOWN         OH     44504‐1844
JOAN KLOBUCHAR          PO BOX 31460                                                                              OWOSSO             MI     48867
JOAN KONYNDYK           O‐134 LEONARD ST NW                                                                       GRAND RAPIDS       MI     49534‐6858
JOAN KORUPCHAK          235 WASHINGTON AVE                                                                        WESTWOOD           NJ     07675‐1903
JOAN KOVACH             665 CARSON SALT SPRINGS RD                                                                MINERAL RIDGE      OH     44440‐9334
JOAN KOWALSKI           282 MARIGOLD CIR                                                                          WESTLAND           MI     48185‐9632
JOAN KOWALSKI           99 CHESTNUT STREET                                                                        GALLITCIN          PA     16641
JOAN KRAUSS             3276 LOCKPORT OLCOTT RD                                                                   NEWFANE            NY     14108‐9604
JOAN KRAUTHAMER COHEN   63703 E DESERT PEAK DR                                                                    TUCSON             AZ     85739
JOAN KRAWCZUK           2383 TOPAZ DR                                                                             TROY               MI     48085‐3836
JOAN KUHN               12871 DESPLAINES DR                                                                       FISHERS            IN     46037‐7841
JOAN KUROWICKI          3808 N WRIGHT RD APT 227                                                                  JANESVILLE         WI     53546‐4253
JOAN KUYPERS            67 SAGEWOOD COURT                                                                         JONESBOROUGH       TN     37659‐5396
JOAN L BODDIE           749 EAST 2ND                                                                              XENIA              OH     45385
JOAN L BROWN            107 KENWOOD DR                                                                            FAIRFIELD GLADE    TN     38558
JOAN L CLEMENTS         12588 CLINTONIA RD                                                                        PORTLAND           MI     48875‐9444
JOAN L COLLETT          2571 ASHCRAFT RD                                                                          DAYTON             OH     45414‐‐ 34
JOAN L FERRETT          4120 CHEVELLE DR SE                                                                       WARREN             OH     44484‐4730
JOAN L HULLIBERGER      3746 BENNETT AVE                                                                          FLINT              MI     48506‐3106
JOAN L HULLIBERGER      17238 W ROSE LAKE RD                                                                      LEROY              MI     49655‐8164
JOAN L MAZZUCOLA        2974 MILLICE                                                                              BILLINGS           MT     59102
JOAN L MCCLAIN          9246 N MACARTHUR BLVD APT B                                                               OKLAHOMA CITY      OK     73132‐2452
JOAN L RAY              165 W FAIRMOUNT AVE                                                                       PONTIAC            MI     48340‐2737
JOAN L RUCKER           608 KAMMER AVENUE                                                                         DAYTON             OH     45417
JOAN L SCHEETZ          135 WOODLAND DR                                                                           PARKESBURG         PA     19365
JOAN LADRIGUE           2245 BAY ST                                                                               SAGINAW            MI     48602‐3823
JOAN LAEMMERHIRT        14330 ALLEN RD                                                                            ALBION             NY     14411‐9344
JOAN LAMPE              10 N 6TH ST                                                                               BREESE              IL    62230‐1227
JOAN LANGAN             3025 HIGHWOODS DR                                                                         ASTON              PA     19014
JOAN LARKINS            805 CHANDLER AVE                                                                          LINDEN             NJ     07036‐2030
JOAN LASH               1617 JANE AVE                                                                             FLINT              MI     48506‐3372
JOAN LATONA             PO BOX 5266                                                                               BRADENTON          FL     34281‐5266
JOAN LAWLESS            729 TEMPLECLIFF RD                                                                        BALTIMORE          MD     21208‐4626
JOAN LAYMAN             9026 E POTTER RD                                                                          DAVISON            MI     48423‐8188
JOAN LE CLAIR           1700 CEDARWOOD DR APT 213                                                                 FLUSHING           MI     48433‐3603
JOAN LEE                4108 WINONA ST                                                                            FLINT              MI     48504‐3741
JOAN LEE                1 KEY CAPRI APT 606W                                                                      TREASURE ISLAND    FL     33706‐4934
JOAN LEE                17303 PREVOST ST                                                                          DETROIT            MI     48235‐3554
JOAN LEIS               612 ORIENT AVE                                                                            DUBOIS             PA     15801‐3224
JOAN LEITH              10645 N BAY SHORE LN                                                                      MILTON             WI     53563‐8939
JOAN LEMAIRE            2310 VAN WORMER RD                                                                        SAGINAW            MI     48609‐9786
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Name                       Address1                         Address2            Address3      Address4               City              State   Zip
JOAN LEMASTER              2374 OBERHELMAN RD                                                                        FORISTELL          MO     63348‐2009
JOAN LEMBO                 46718 EDGEWATER DR                                                                        MACOMB             MI     48044‐3595
JOAN LEMON                 6460 WHISPER RIDGE CT                                                                     BURTON             MI     48509‐2616
JOAN LENZ                  1280 STARBOARD DR                                                                         OKEMOS             MI     48864‐3482
JOAN LESINSKI              5687 DAVISON RD                                                                           LAPEER             MI     48446‐2712
JOAN LEWIS                 15091 E STREET RD                                                                         MONTROSE           MI     48457‐9328
JOAN LEWIS                 542 TIMBER RIDGE CT                                                                       LAWRENCEVILLE      GA     30045‐8819
JOAN LICH                  7541 SHERIDAN RD                                                                          MILLINGTON         MI     48746‐9619
JOAN LILLY                 9925 LINDA DR LOT‐366                                                                     YPSILANTI          MI     48197
JOAN LIMBAUGH              6408 LAPEER RD                                                                            BURTON             MI     48509‐2424
JOAN LINVILLE              PO BOX 208                                                                                FELICITY           OH     45120‐0208
JOAN LIPSCOMB              761 MILLVILLE OXFORD RD                                                                   HAMILTON           OH     45013‐4305
JOAN LIPSITZ               33255 EVERGREEN DR                                                                        NEW CHURCH         VA     23415‐2550
JOAN LONGLEY               3167 MCCOLLUM AVE                                                                         FLINT              MI     48504‐1841
JOAN LOREE                 3160 GERMAN RD                                                                            COLUMBIAVILLE      MI     48421‐8917
JOAN LOSEY                 1225 HAVENDALE BLVD NW APT 322                                                            WINTER HAVEN       FL     33881‐1393
JOAN LOVE                  3871 W BARNES RD                                                                          MASON              MI     48854‐9754
JOAN LOVELL                617 E 3RD ST APT 4A                                                                       LOCKPORT            IL    60441‐2409
JOAN LOWE                  1351 LEISURE DR                                                                           FLINT              MI     48507‐4048
JOAN LUMAN                 3642 SHELBY RD                                                                            YOUNGSTOWN         OH     44511‐3067
JOAN LUNDBERG              1420 HOBNAIL CT                                                                           DAVISON            MI     48423‐2204
JOAN LUNTSFORD             2616 LAYTON RD                                                                            ANDERSON           IN     46011‐4534
JOAN LUSKIN                16165 MUSKINGUM BLVD                                                                      BROOK PARK         OH     44142‐2239
JOAN LUTESKI               4 FORTUNE LN APT A                                                                        ROCHESTER          NY     14626‐1842
JOAN LYNN                  1550 RIVER PINES DR                                                                       GREEN BAY          WI     54311‐5648
JOAN LYONS                 103 AUTUMN RIDGE TRL                                                                      FARMERSVILLE       OH     45325‐1225
JOAN M ADAMS               2951 BAY VIEW DRIVE                                                                       SAFETY HARBOR      FL     34695‐4702
JOAN M ANKENY              76 MOUNTAIR DR                                                                            VANDALIA           OH     45377‐2952
JOAN M BAILEY              925 YO‐WARREN RD APT 33                                                                   NILES              OH     44446‐4634
JOAN M CANNING             1537 TRAVIS DR                                                                            TOLEDO             OH     43612‐4036
JOAN M CATHBUN             2398 BRIGGS ST                                                                            WATERFORD          MI     48329‐3707
JOAN M CHAMBLISS           1549 BERWIN AVE                                                                           DAYTON             OH     45429
JOAN M COFFEY              34 CHARTER CIRCLE                                                                         ROCHESTER          NY     14606‐4907
JOAN M DASKY               1038 TONI DR                                                                              DAVISON            MI     48423‐2800
JOAN M DUNN                APT 3G                           34‐40 78TH ST                                            JACKSON HEIGHTS    NY     11372‐2527
JOAN M EICHLER             983 HIGHLAND AVE                                                                          GALION             OH     44833
JOAN M FILLIAN             180 HEATHER LN                                                                            CORTLAND           OH     44410
JOAN M GARTHE TRUST        JOAN M GARTHE TRUSTEE            15038 CLAYMOOR CT   APT 13                               CHESTERFIELD       MO     63017
JOAN M GERARD              1012 N LINCOLN ST                                                                         BAY CITY           MI     48708‐6159
JOAN M HARTSHORN           1904 DORIS DR                                                                             DAYTON             OH     45429
JOAN M HAWKINS TTEE        1575 JOHN KNOX DR APT A306                                                                COLFAX             NC     27235
JOAN M JACOB               5026 S CITRUS LN                                                                          GILBERT            AZ     85298
JOAN M JENKINS             2515 ROCK SPRINGS RD                                                                      BUFORD             GA     30519‐5144
JOAN M KELLER              54 S.GEBHART CHURCH RD.                                                                   MIAMISBURG         OH     45342
JOAN M KOVACH              665 CARSON SALTSPRING RD                                                                  MINERAL RIDGE      OH     44440‐‐ 93
JOAN M LAMBERT             3021 BAY VIEW DRIVE                                                                       FENTON             MI     48430‐3302
JOAN M LYTLE               1543 BISCAYNE DR                                                                          TOLEDO             OH     43612‐4002
JOAN M MCCARTY             4815 SIBLEY AVE                                                                           DAYTON             OH     45439‐2835
JOAN M OLIVER              143 REPUBLIC AVE NW                                                                       WARREN             OH     44483
JOAN M OOTEN               5823 JASSAMINE DR                                                                         DAYTON             OH     45449
JOAN M REUSCH              3674 UTICA DR.                                                                            KETTERING          OH     45439‐2548
JOAN M RISHEL              14 N HARDING AVE                                                                          MARGATE            NJ     08402
JOAN M SCOTT‐LEWIS         528 HOUSEL CRAFT RD                                                                       CORTLAND           OH     44410‐9526
JOAN M SLATER REV LIV TR   JOAN M SLATER TTEE               10730 TEAL TRAIL                                         RICHMOND            IL    60071
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Name                              Address1                             Address2                   Address3     Address4               City               State Zip
JOAN M SLONE REV DEC OF TR DATE   JOAN M SLONE                         7109 W NEYVALE AVE                                             LINCOLNWOOD          IL 60712
12/30/97
JOAN M STITZINGER                 962 WEIKEL RD                                                                                       LANSDALE           PA   19446‐4533
JOAN M STOWERS                    6847 GROVE ST                                                                                       BROOKFIELD         OH   44403
JOAN M STRECK                     D STRECK                             3099 BARRINGTON HILLS CT                                       FITCHBURG          WI   53711
JOAN M VOLLMAR                    1377 DARREL RD                                                                                      TOLEDO             OH   43612‐4211
JOAN M WALDROP                    169 CEDARVIEW DR                                                                                    WATERVLIET         NY   12189
JOAN M WEATHERS                   1640 PIPER LN APT 205                                                                               DAYTON             OH   45440
JOAN M WINOKER                    15 CLEARWATER CT                                                                                    NANUET             NY   10954‐3115
JOAN M ZWADA                      5912 LAKEPOINT CT                                                                                   WASHINGTON         MI   48094‐2692
JOAN MAGALSKI                     516 MAIN ST                                                                                         VANDLING           PA   18421‐1524
JOAN MAJEWICZ                     6108 REGER DR                                                                                       LOCKPORT           NY   14094‐6304
JOAN MALINOWSKI                   118 RONCROFF DR                                                                                     NORTH              NY   14120‐6478
                                                                                                                                      TONAWANDA
JOAN MANNO                        290 JESSAMINE AVE                                                                                   YONKERS            NY   10701‐5620
JOAN MANUELLA                     16 FARGREEN RD                                                                                      CAMP HILL          PA   17011
JOAN MARSHALL                     2784 SLIGO RD                                                                                       HAUGHTON           LA   71037‐8254
JOAN MARSIGLIA                    16480 BRANDT ST                                                                                     ROMULUS            MI   48174‐3213
JOAN MARTIN                       3017 KIWATHA RD                                                                                     YOUNGSTOWN         OH   44511
JOAN MARTIN                       8443 FARLEY ST                                                                                      OVERLAND PARK      KS   66212‐4427
JOAN MARTIN                       825 W. SAND BERNARDINO RD            ROOM 118                                                       COVINA             CA   91722
JOAN MARTINSON                    39433 DUNDEE RD                                                                                     ZEPHYRHILLS        FL   33542‐4734
JOAN MATHIS                       3984 W ROSE CITY RD                                                                                 WEST BRANCH        MI   48661‐8430
JOAN MATTHEWS                     5852 BAYPOINTE BLVD                                                                                 CLARKSTON          MI   48346‐3113
JOAN MAYBERRY                     PO BOX 1533                                                                                         EAST LANSING       MI   48826‐1533
JOAN MC CABE                      5950 E HOLLY ST                                                                                     INVERNESS          FL   34452‐7067
JOAN MC CLOUD                     2002 MAYBURY AVE                                                                                    FLINT              MI   48503‐4244
JOAN MCCANDLESS                   370 BLACKSTONE DR                                                                                   NEW CASTLE         PA   16105‐1316
JOAN MCCARGISH                    3183 PINE MANOR BOULEVARD                                                                           GROVE CITY         OH   43123‐4842
JOAN MCCARTHY                     2096 COUNTY ROAD 209B                                                                               GREEN COVE         FL   32043‐9450
                                                                                                                                      SPRINGS
JOAN MCCLAIN                      GENERAL DELIVERY                                                                                    OKLAHOMA CITY      OK   73102
JOAN MCCLURE & THOMAS MCCLURE     1655 KLOCKNER RD APT 5G                                                                             HAMILTON           NJ   08619‐3113
JOAN MCCLUSKEY                    PO BOX 240023                                                                                       KANSAS CITY        MO   64124‐0023
JOAN MCCREADY                     4094 N IRISH RD                                                                                     DAVISON            MI   48423‐8945
JOAN MCCULLOUGH                   5077 WILLOWMERE DR                   WILLOWS                                                        DAYTON             OH   45459‐1192
JOAN MCDAVID                      3635 INDIAN RUN DR UNIT 3                                                                           CANFIELD           OH   44406‐9021
JOAN MCINTYRE                     3070 DOUGLAS DR                                                                                     LAKE HAVASU CITY   AZ   86404‐1550
JOAN MCKEE                        PO BOX 294                                                                                          NEWCASTLE          WY   82701‐0294
JOAN MEAD                         7068 S GIBRALTAR ST                                                                                 CENTENNIAL         CO   80016‐1716
JOAN MEHALKO                      1601 LA SALLE BLVD                                                                                  HIGHLAND           MI   48356‐2747
JOAN MEISNER                      PO BOX 422                                                                                          MT PLEASANT        PA   15666‐0422
JOAN MEISSNER                     16 BRADY AVE                                                                                        LANCASTER          NY   14086‐1904
JOAN MELLWIG                      THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES          22ND FLOOR                          BALTIMORE          MD   21201

JOAN MENSINGER                    1531 INDIAN MEADOWS DR                                                                              FRANKLIN           TN   37064‐9623
JOAN METRO                        1063 OAKLAND AVE                                                                                    PLAINFIELD         NJ   07060‐3411
JOAN METZGER                      2013 GLENWOOD DR                                                                                    NORTHFIELD         NJ   08225‐1018
JOAN MEYERS                       1364 MCEWEN ST                                                                                      BURTON             MI   48509‐2129
JOAN MEYERS                       5844 ELK CREEK RD                                                                                   DELHI              NY   13753‐1429
JOAN MEYMARIAN                    1903 N ROOSEVELT                                                                                    ALTADENA           CA   91001
JOAN MICHALAK                     69 HAVERHILL PL                                                                                     SOMERSET           NJ   08873‐4771
JOAN MICK                         6563 CLOVERTON DRIVE                                                                                WATERFORD          MI   48329‐1201
JOAN MILES                        2302 LUCAYA LN APT M3                                                                               COCONUT CREEK      FL   33066‐1125
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Name                                 Address1                       Address2                         Address3   Address4                 City             State   Zip
JOAN MILLER                          P0 BOX 520                                                                                          GALVESTON         IN     46932
JOAN MILLER                          2533 CHATHAM WOODS DR SE                                                                            GRAND RAPIDS      MI     49546‐6752
JOAN MILLER                          2706 PLAINFIELD AVE                                                                                 FLINT             MI     48506‐1867
JOAN MILLER CREEK SIMS               3437 POLARIS CT                                                                                     BOWLING GREEN     NY     42104
JOAN MILLER DUTT                     3566 W NEWPORT RD                                                                                   RONKS             PA     17572
JOAN MINELLA                         800 NW FORK RD APT 10‐2                                                                             STUART            FL     34994‐8908
JOAN MIRET VOISIN                    CTRA. MOJA, 14                 08720 ‐ VILAFRANCA DEL PENEDES
                                                                    (BARCELON
JOAN MIRET VOISIN & ANA MARIA BAUSILI JOAN MIRET VOISIN             CARRETERA DE MOJA 94 4‐1A                   08720 VILAFRANCA SPAIN
JUNYENT
JOAN MITCHELL                         304 S 4TH AVE                                                                                      PARAGOULD        AR      72450
JOAN MITCHELL                         17166 PREVOST ST                                                                                   DETROIT          MI      48235‐3551
JOAN MITCHELL                         11049 E CARPENTER RD                                                                               DAVISON          MI      48423‐9303
JOAN MOCERI                           20878 BEAUFAIT ST                                                                                  HARPER WOODS     MI      48225‐1659
JOAN MOFFATT                          N21‐W24304 CUMBERLAND DR                                                                           PEWAUKEE         WI      53072
JOAN MOHNEY                           36 BENTON ST                                                                                       AUSTINTOWN       OH      44515‐1722
JOAN MOLAG                            14518 AGUILA 1                                                                                     FORT PIERCE      FL      34951
JOAN MOLL                             5775 N GRAHAM RD                                                                                   FREELAND         MI      48623‐9236
JOAN MONICA                           1234 COUNTY ROUTE 85                                                                               HANNIBAL         NY      13074‐2124
JOAN MONTALBANO                       PO BOX 1081                                                                                        BENTON           LA      71006‐1081
JOAN MONTGOMERY                       326 S GRACE ST                                                                                     LANSING          MI      48917‐3819
JOAN MOORE                            1606 WILLOW CREEK DR                                                                               LANSING          MI      48917‐7817
JOAN MOORE                            4749 ERICSON AVE                                                                                   DAYTON           OH      45418‐1909
JOAN MOORE                            836 MEADOW DR                                                                                      DAVISON          MI      48423‐1030
JOAN MOORE                            1816 EMMET ST                                                                                      TWO RIVERS       WI      54241‐2727
JOAN MOORE                            696 HARRISON AVE                                                                                   TONAWANDA        NY      14223‐1848
JOAN MOORES                           11102 COPAS RD                                                                                     LENNON           MI      48449‐9652
JOAN MOOSE                            3217 PHEASANT RUN RD UNIT D                                                                        CORTLAND         OH      44410‐9133
JOAN MOOSE                            3217 PHEASANT RUN RD          UNIT D                                                               CORTLAND         OH      44410
JOAN MORAN                            617 IBIS CIR                                                                                       EAST LANSING     MI      48823‐8321
JOAN MORELLA                          301 WOODBRIDGE DR                                                                                  SUMMERVILLE      SC      29483‐1866
JOAN MORIARITY                        82 BROADWAY                                                                                        BAYONNE          NJ      07002‐3439
JOAN MORSE                            68‐116 AU ST                                                                                       WAIALUA          HI      96791‐9438
JOAN MOST                             2081 ASPEN LN S                                                                                    CLIO             MI      48420‐2404
JOAN MOTOVIDLAK                       520 DELOS DR                                                                                       TOMS RIVER       NJ      08753‐3421
JOAN MUCHA                            253 BOLL ST                                                                                        SLOAN            NY      14212‐2260
JOAN MULLEN                           7281 WEBER KELCH RD                                                                                SARDINIA         OH      45171‐9142
JOAN MULLER                           11 BUCK DR                                                                                         GLENMOORE        PA      19343‐9537
JOAN MULLINS                          9241 W 130TH ST                                                                                    NORTH ROYALTON   OH      44133‐1012
JOAN MURDOCK                          332 LINWOOD AVE                                                                                    N TONAWANDA      NY      14120‐1720
JOAN MYERS                            2054 S ISABELLA RD                                                                                 MOUNT PLEASANT   MI      48858‐2016
JOAN MYERS                            9026 W GIBBS LAKE RD                                                                               EDGERTON         WI      53534‐8840
JOAN NAJUNAS                          16 RAMBO DR                                                                                        NEW CASTLE       DE      19720‐4044
JOAN NATYSHAK                         2440 VOLLMER DR                                                                                    YOUNGSTOWN       OH      44511‐1952
JOAN NEAL                             2876 E BOMBAY RD                                                                                   MIDLAND          MI      48642‐7381
JOAN NELSON                           291 BETHS AVE                                                                                      BRISTOL          CT      06010‐4840
JOAN NELSON                           38127 COUNTY HWY P                                                                                 KENDALL          WI      54638
JOAN NEWMAN                           1572 SW HUNNICUT AVE                                                                               PORT ST LUCIE    FL      34953‐7006
JOAN NEWTON                           161 SUBURBAN DR NE                                                                                 KENNESAW         GA      30144‐2243
JOAN NICOLOFF                         3885 MOREFIELD RD APT 7                                                                            HERMITAGE        PA      16148‐3781
JOAN NISNER                           10864 DIXIE HWY                                                                                    BIRCH RUN        MI      48415‐8519
JOAN NOBLE                            27773 N LAKE DR                                                                                    GOBLES           MI      49055‐9267
JOAN NOGUE TRABAL                     AVDA MERIDIANA 27             3RD FLOOR                                   08018 BARCELONA SPAIN
JOAN NORMAN                           6207 SHADOWLAWN ST                                                                                 DEARBORN HTS      MI     48127‐2992
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Name                               Address1                        Address2                   Address3             Address4               City            State   Zip
JOAN NORMANDIN                     25 HARRIET ST                                                                                          TONAWANDA        NY     14150‐2309
JOAN NORONOWICZ                    175 FRIENDS RD                                                                                         NOTTINGHAM       PA     19362‐9014
JOAN NORTON                        6940 MEESE DR                                                                                          LANSING          MI     48911‐6550
JOAN NOVOCK                        7025 LEOPARDI CT                                                                                       NAPLES           FL     34114‐2650
JOAN NUTTER                        272 E MAIN ST                                                                                          NORWALK          OH     44857‐1653
JOAN O NEILL                       727 PETTIBONE AVE                                                                                      FLINT            MI     48507‐1759
JOAN O'NEILL                       6233 CRANE DR                                                                                          LAKELAND         FL     33809‐5627
JOAN OBERLE                        5954 METEOR AVE                                                                                        TOLEDO           OH     43623‐1172
JOAN OSBORNE                       PO BOX 80092                                                                                           FORT WAYNE       IN     46898‐0092
JOAN OTT                           32001 CHERRY HILL RD APT 1006                                                                          WESTLAND         MI     48186‐7930
JOAN OWEN                          11476 N JENNINGS RD                                                                                    CLIO             MI     48420‐1569
JOAN OWENS                         339 S OAK ST                                                                                           MOUNT CARMEL     PA     17851‐2149
JOAN P BOGART                      1059 E HARVARD AVE                                                                                     FLINT            MI     48505‐1507
JOAN P BOGART                      1058 E HARVARD AVE                                                                                     FLINT            MI     48505‐1508
JOAN P CURTIN                      257 CROOKED HILL RD                                                                                    PEARL RIVER      NY     10965
JOAN P ELEY TRUST                  C/O JOAN P ELEY                 2120 ROBINS LANE SE #194                                               SALEM            OR     97306
JOAN P HANCOCK                     712 KNIBBE RD                                                                                          LAKE ORION       MI     48362‐2147
JOAN P HAPCIC                      PO BOX 431845                                                                                          BIG PINE         FL     33043
JOAN P LEAHY                       1605 3RD ST                                                                                            BAY CITY         MI     48708‐6131
JOAN P MOHNEY                      36 BENTON AVE                                                                                          AUSTINTOWN       OH     44515‐1722
JOAN P STEELE                      10330 W THUNDERBIRD BLVD        APT C115                                                               SUN CITY         AZ     85351
JOAN P WILLIAMSON                  1006 CHESTNUT CIRCLE SE                                                                                WARREN           OH     44484‐5614
JOAN PACIFICI                      4246 GOODSON CT                                                                                        BELCAMP          MD     21017‐1437
JOAN PAGANI                        1636 BURNWOOD RD                                                                                       BALTIMORE        MD     21239‐3603
JOAN PALLADINO AND SUSAN J.        85 OLD TAPPAN RD                                                                                       OLD TAPPAN       NJ     07675‐7418
GOODMAN
JOAN PARK                          4909 WINCHESTER PIKE                                                                                   COLUMBUS        OH      43232‐6202
JOAN PARKER                        13 BARCLAY CT                                                                                          MONTGOMERY      IL      60538‐2738
JOAN PARKER                        10362 ALDORA DR                                                                                        MIAMISBURG      OH      45342‐4803
JOAN PATILLO                       9151 WHITCOMB ST                                                                                       DETROIT         MI      48228‐2215
JOAN PATRONE                       1963 E COUNTY LINE RD                                                                                  MINERAL RIDGE   OH      44440‐9555
JOAN PAVONE                        1641 HILTON PARMA CORNER RD                                                                            SPENCERPORT     NY      14559
JOAN PAYNE                         3508 CALHOUN ST                                                                                        DAYTON          OH      45417‐1715
JOAN PAYNE                         239 SHERIDAN ST                                                                                        NORTH EASTON    MA      02356‐1918
JOAN PEACOCK                       1215 S DELPHOS ST                                                                                      KOKOMO          IN      46902‐1726
JOAN PEARMAN                       PO BOX 143                                                                                             INDIANOLA       IL      61850‐0143
JOAN PEARSALL                      2309 OXLEY DR                                                                                          WATERFORD       MI      48328
JOAN PEARSON                       4095 N OTTER TRL                                                                                       LINCOLN         MI      48742‐9563
JOAN PEGUES                        5063 W VAN BUREN ST                                                                                    CHICAGO         IL      60644‐4857
JOAN PERKINS                       2484 MAHAN DENMAN RD                                                                                   CORTLAND        OH      44410‐9683
JOAN PERMAN                        508 13TH AVE                                                                                           UNION GROVE     WI      53182‐1210
JOAN PETIT                         924 E 6TH ST                                                                                           ROYAL OAK       MI      48067‐2818
JOAN PETRACK                       1029 YORKSHIRE PL                                                                                      DAYTON          OH      45419‐3730
JOAN PETTI                         136 ROBIN RD APT 252                                                                                   HILLSBOROUGH    NJ      08844‐4446
JOAN PHARIS                        327 E WINDEMERE AVE                                                                                    ROYAL OAK       MI      48073‐2618
JOAN PHILLIPS                      3839 NORDIC AVE NW                                                                                     GRAND RAPIDS    MI      49544‐9221
JOAN PHILLIPS                      207 GEORGE ST                                                                                          FLUSHING        MI      48433‐1645
JOAN PHILP                         1119 HOWE RD                                                                                           BURTON          MI      48509‐1721
JOAN PHILPOT                       712 FULS RD                                                                                            NEW LEBANON     OH      45345‐9114
JOAN PHYLLIS MONCRIEFF REV TRUST   JOAN PHYLLIS MONCRIEFF TTEE     UA DTD 10‐21‐96            6230 SANDSHORES DR                          TROY            MI      48085‐1375
JOAN PIPES                         5659 HAWTHORN ST                                                                                       KALAMAZOO       MI      49009‐8146
JOAN PLANCK‐MILLER                  3828 OTTER LAKE RD                                                                                    OTTER LAKE      MI      48464‐9709
JOAN PLEVAK                        2231 W MALLORY AVE                                                                                     MILWAUKEE       WI      53221‐4262
JOAN PLOTZKE                       52203 FISH CREEK                                                                                       MACOMB TWP      MI      48042
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JOAN PNACEK                         9321 N SAGINAW RD                                                                                MOUNT MORRIS       MI     48458‐9141
JOAN POOL                           1424 HIGHLAND WAY                                                                                MONROE             MI     48161‐1733
JOAN POPIO                          1709 N GONDOLA CT                                                                                VENICE             FL     34293‐1903
JOAN POPPITI                        PO BOX 23                                                                                        OWOSSO             MI     48867‐0023
JOAN PORTER                         6890 N 320 E                                                                                     HOWE               IN     46746‐9593
JOAN POSILLICO                      54 PROSPECT ST                                                                                   FARMINGDALE        NY     11735
JOAN POSS                           PO BOX 74                                                                                        CONKLIN            MI     49403‐0074
JOAN POTTER                         506 NYLON ST                                                                                     SAGINAW            MI     48604‐2121
JOAN POWELL                         PO BOX 464                                                                                       BOLTON             MS     39041‐0464
JOAN POWELL‐ADAMS                   1049 CARTER DR                                                                                   FLINT              MI     48532‐2713
JOAN PRAGER                         300 CENTRAL PARK W# 14D1                                                                         NEW YORK           NY     10024
JOAN PREZIOSO                       51 NORWOOD RD                                                                                    YONKERS            NY     10710‐1415
JOAN PRIMM                          68 ELIOT LN                                                                                      YOUNGSTOWN         OH     44505‐4818
JOAN PRITCHETT                      11465 BUCKHORN LAKE RD                                                                           HOLLY              MI     48442‐8509
JOAN PROSSER                        3174 HADLEY RD                                                                                   HADLEY             PA     16130‐2740
JOAN PURDY                          1402 HENRY CT                                                                                    FLUSHING           MI     48433‐1586
JOAN PURDY                          2504 WINTHROP DR                                                                                 JANESVILLE         WI     53546‐3433
JOAN PURKAPILE                      2001 WESLEY AVE APT 207                                                                          JANESVILLE         WI     53545‐2684
JOAN R ALSTON                       227 KENWOOD AVE                                                                                  DAYTON             OH     45405
JOAN R DECK                         3828 DAYTONA DR                                                                                  YOUNGSTOWN         OH     44515‐3315
JOAN R DEMAN                        9720 S PULASKI RD                 #106                                                           OAK LAWN            IL    60453
JOAN R FLOYD                        2504 FERNWOOD DR                                                                                 LONGVIEW           TX     75605
JOAN R FLOYD RESIDUARY TR           2504 FERNWOOD DR                                                                                 LONGVIEW           TX     75605
JOAN R HILL                         31310 FOXBORO WAY                                                                                BEVERLY HILLS      MI     48025
JOAN R PATRONE                      1963 E. COUNTY LINE RD.                                                                          MINERAL RIDGE      OH     44440‐9555
JOAN R SHEPHARD                     422 ANNA ST                                                                                      DAYTON             OH     45417
JOAN R STRAUSS                      17908 W ROBIN RD                                                                                 POLO                IL    61064
JOAN RADIMECKY                      141 VERMONT DR                                                                                   MANTENO             IL    60950‐1377
JOAN RAE                            10767 BELLVIEW DR                                                                                NORTH              PA     15642‐4286
                                                                                                                                     HUNTINGDON
JOAN RAGGETS                        26801 ORIOLE AVE                                                                                 EUCLID            OH      44132‐1524
JOAN RALEY                          3210 RINIEL RD                                                                                   LENNON            MI      48449‐9411
JOAN RAMONAITIS                     11311 ARDEN ST                                                                                   LIVONIA           MI      48150‐2838
JOAN RAWLINGS
JOAN RAY                            165 W FAIRMOUNT AVE                                                                              PONTIAC            MI     48340‐2737
JOAN RECCHY                         1616 JAMES ST                                                                                    LANSING            MI     48906‐4331
JOAN REDNOR TTEE, FBO JOAN REDNOR   3057 VIA NAPOLI                                                                                  DEERFIELD BEACH    FL     33442

JOAN REED                           10127 E ATHERTON RD                                                                              DAVISON           MI      48423‐8704
JOAN REIGHARD                       3547 WOODBINE AVE                                                                                HUBBARD           OH      44425‐1849
JOAN RENNELLS                       322 W CHURCH RD                                                                                  MORRICE           MI      48857‐8754
JOAN RICHARDS                       4071 S HENDERSON RD                                                                              DAVISON           MI      48423‐8796
JOAN RICHARDSON                     2116 S OLIVEWOOD                                                                                 MESA              AZ      85209‐1323
JOAN RIDNER                         221 LAMSON ST                                                                                    GRAND LEDGE       MI      48837‐1702
JOAN RIEGEL                         362 N WOLF CREEK ST                                                                              BROOKVILLE        OH      45309‐1215
JOAN RIGNEY                         1600 W CRESTVIEW DR                                                                              MUNCIE            IN      47302‐8697
JOAN RITCHER                        4902 FOOTE RD UNIT 11                                                                            MEDINA            OH      44256‐6416
JOAN RITENOUR                       2641 W 1300 N                                                                                    ALEXANDRIA        IN      46001‐8506
JOAN RITTER                         990 DAVIS AVE                                                                                    BIRMINGHAM        MI      48009‐2072
JOAN RIVARD                         4456 BADOUR ROAD                                                                                 HEMLOCK           MI      48626‐9516
JOAN ROACH                          6241 EMERALD PINES CIR                                                                           FORT MYERS        FL      33966‐8324
JOAN ROACH                          115 W ORA LEE DR                                                                                 JACKSON           MO      63755‐7421
JOAN ROBERTS                        26873 NORFOLK ST                                                                                 INKSTER           MI      48141‐2303
JOAN ROBERTS                        APT 32                            7425 COUNTRY VILLAGE DRIVE                                     CLEVES            OH      45002‐9376
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Name                                   Address1                        Address2              Address3           Address4               City              State   Zip
JOAN ROBERTSON                         2792 BLACKBERRY AVE                                                                             MIDDLEBURG         FL     32068‐7014
JOAN ROBINSON                          2747 APPLERIDGE ST                                                                              YPSILANTI          MI     48198‐3313
JOAN RODRIGUEZ                         PO BOX 486                                                                                      ANTWERP            OH     45813‐0486
JOAN ROGERS                            205 FERNHILL AVE                                                                                COLUMBUS           OH     43228‐1765
JOAN ROGERS                            316 JIMMY BATTON RD                                                                             MINDEN             LA     71055‐6658
JOAN ROGERS                            38908 HYGELUND DR                                                                               FREMONT            CA     94536‐7329
JOAN ROHERTY                           621 W SUNSET DR APT 1                                                                           MILTON             WI     53563‐1080
JOAN ROLAND                            204 ARBOR GLEN DR                                                                               EULESS             TX     76039‐3761
JOAN RONEID                            2754 OAK KNOLL LN                                                                               STOUGHTON          WI     53589‐3319
JOAN ROOF                              4883 WESTCHESTER DR APT 2                                                                       YOUNGSTOWN         OH     44515‐6518
JOAN ROOKS                             16042 TEMPLAR CIR                                                                               SOUTHFIELD         MI     48075‐3064
JOAN ROSE                              6201 PHILLIPS RICE RD                                                                           CORTLAND           OH     44410‐9678
JOAN ROSENCRANTZ                       7183 KINGS WAY                                                                                  FLUSHING           MI     48433‐2288
JOAN ROSIAK                            855B WINCHESTER CT                                                                              MANCHESTER         NJ     08759‐5230
JOAN ROWE                              28229 COUNTY ROAD 33 LOT 371C                                                                   LEESBURG           FL     34748‐4690
JOAN RUFF                              3249 DALE LN SW                                                                                 ATLANTA            GA     30311‐5352
JOAN RUSS                              1082 MARYLAND AVE                                                                               SPARTANBURG        SC     29307‐5118
JOAN RUSSELL                           1625 CEDARWOOD DR                                                                               FLUSHING           MI     48433‐3609
JOAN RUSSELL                           1218 HOGARTH DRIVE                                                                              LOUISVILLE         KY     40222‐5748
JOAN RUTAN                             107 MAYBROOK RD                                                                                 MONTGOMERY         NY     12549‐2816
JOAN RYAN                              319 E HAMBURG ST                                                                                BALTIMORE          MD     21230‐4129
JOAN RYGIEWICZ                         2232 N SYLVANIA AVE                                                                             STURTEVANT         WI     53177‐1003
JOAN RYS                               39493 EDGEWATER DR                                                                              NORTHVILLE         MI     48168‐4317
JOAN S AGLER                           5109 BIRCHCREST STREET                                                                          YOUNGSTOWN         OH     44515‐3922
JOAN S BARBEE                          1767 CASSIDY RD                                                                                 TERRY              MS     39170‐9116
JOAN S BRADFORD                        963 PINEHURST DRIVE                                                                             CHESTER SPRINGS    PA     19425‐3661
JOAN S CLAYTON                         958 E CORNELL AVE                                                                               ENGLEWOOD          CO     80113‐1717
JOAN S COMPTON                         110 PARKEDGE AVE                                                                                TONAWANDA          NY     14150‐7730
JOAN S DILLON                          2102 PARKDALE AVE.                                                                              SHARON             PA     16148‐2226
JOAN S LONG                            REV LIVING TRUST UAD 8/20/93    JOAN S LONG TRUSTEE   100 LOMAN ROAD                            MEHERRIN           VA     23954‐3221
JOAN S NATYSHAK                        2440 VOLLMER DR.                                                                                YOUNGSTOWN         OH     44511‐1952
JOAN SALTER                            5409 W LAKE RD                                                                                  BURT               NY     14028‐9728
JOAN SANFORD I WEILL MEDICAL COLLEGE   445 E 69TH ST                                                                                   NEW YORK           NY     10021‐5664
OF CORNELL UNIVERSITY
JOAN SAWYER                            5870 BRADLEY DR                                                                                 TIPP CITY         OH      45371‐2106
JOAN SCEGO                             UNIT 10 ARBORGATE DR                                                                            SAINT PETERS      MO      63376
JOAN SCHAAR                            5199 KINGS WAY                                                                                  GLADWIN           MI      48624‐8221
JOAN SCHABEL                           5330 MOCERI LN                                                                                  GRAND BLANC       MI      48439‐4368
JOAN SCHAFER                           390 S STATE 116                                                                                 PEWAMO            MI      48873
JOAN SCHEPAT                           294 W WASHINGTON ST                                                                             BRISTOL           CT      06010‐5369
JOAN SCHIFF REVOCABLE TRUST            JOAN SCHIFF TTEE                U/A DTD 11/08/2007    8626 VALHALLA DR                          DELRAY BEACH      FL      33446
JOAN SCHIMPF                           21 SHADOW PINES DR                                                                              PENFIELD          NY      14526‐1060
JOAN SCHINDLER                         23179 RD B‐23                                                                                   CONTINENTAL       OH      45831
JOAN SCHMID                            60023 TRAILWOOD ST                                                                              WASHINGTON        MI      48094‐3400
JOAN SCHMIDT                           30630 DROUILLARD RD             LOT 347 WALNUT HILL                                             WALBRIDGE         OH      43465
JOAN SCHMIEDER                         5000 PROVIDENCE DR APT 219                                                                      SANDUSKY          OH      44870‐1413
JOAN SCHMITT                           342 CLARMONT RD                                                                                 WILLOWICK         OH      44095‐4772
JOAN SCHMITZ                           2600 W WHITAKER AVE                                                                             MILWAUKEE         WI      53221‐2264
JOAN SCHNAIDT                          3128 COBBLESTONE RDG                                                                            TECUMSEH          MI      49286‐7787
JOAN SCHOENDORFF                       4340 SAINT MARTINS DR                                                                           FLINT             MI      48507‐3775
JOAN SCHRADER                          1290 E ERIE RD                                                                                  ERIE              MI      48133‐9781
JOAN SCHRAM                            4327 EUCALYPTUS WAY                                                                             PINCKNEY          MI      48169‐9634
JOAN SCHUYLER                          12795 BURT RD                                                                                   BIRCH RUN         MI      48415‐9343
JOAN SCHWARTZMEYER                     188 STEPPING STONE LN                                                                           ORCHARD PARK      NY      14127‐4107
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Name                Address1                        Address2            Address3         Address4               City                 State   Zip
JOAN SENTERS        16557 REPUBLIC AVE                                                                          BERLIN CENTER         OH     44401‐9760
JOAN SEVERSON       4767 W BROWNVIEW DR                                                                         JANESVILLE            WI     53545‐9041
JOAN SEXTON         28019 CHARLEMAGNE ST            BOX #11B                                                    ROMULUS               MI     48174
JOAN SHAFFER‐SWEE   2018 NE 155TH CT                                                                            PORTLAND              OR     97230‐8266
JOAN SHELTON        2377 BOB WHITE CT SE                                                                        GRAND RAPIDS          MI     49546‐7508
JOAN SHEMANSKY      24042 WEDGEWOOD CIR                                                                         WARREN                MI     48091‐5871
JOAN SHIELDS        10610 NE 45TH STREET                                                                        KIRKLAND              WA     98033
JOAN SHIPMAN        7363 MORRISH RD                                                                             SWARTZ CREEK          MI     48473‐7624
JOAN SHOEN          10068 BENNETT LAKE RD                                                                       FENTON                MI     48430‐8733
JOAN SHOOP          1980 CENTRALIA AVE                                                                          FAIRBORN              OH     45324‐2835
JOAN SHORT          2035 LILLIAN DR                                                                             SAINT CLAIR           MO     63077‐4019
JOAN SHUMWAY        19203 N 29TH AVE LOT 408                                                                    PHOENIX               AZ     85027‐4956
JOAN SIKKEMA        8200 AMELIA DR                                                                              JENISON               MI     49428‐9105
JOAN SILVEY         327 HILO RD                                                                                 FAYETTEVILLE          GA     30215‐2181
JOAN SKOCZEK        458 SYLVESTOR TRL                                                                           HIGHLANDS RANCH       CO     80129‐6256

JOAN SMALARZ        1035 BORBECK AVENUE                                                                         PHILADELPHIA          PA     19111
JOAN SMIGIEL        2385 DODGE RD                                                                               EAST AMHERST          NY     14051‐1339
JOAN SMITH          20789 JONES RD                                                                              HILLMAN               MI     49746‐9608
JOAN SMITH          4655 S DEER LAKE RD                                                                         REED CITY             MI     49677‐9235
JOAN SMITH          4719 CARTEGENA CT                                                                           ORLANDO               FL     32808‐2005
JOAN SMITH          127 ODYSSEY TURN                                                                            CONYERS               GA     30012‐3681
JOAN SMITH          2991 EDNA JANE DR                                                                           AUBURN HILLS          MI     48326‐2105
JOAN SMITH          103 PROVINCIAL CT UNIT 24                                                                   SAGINAW               MI     48638‐6132
JOAN SMITH          5315 N SEYMOUR RD                                                                           FLUSHING              MI     48433‐1085
JOAN SNOW           217 POPLAR ST                                                                               KOKOMO                IN     46902‐2263
JOAN SNOW           PO BOX 545                                                                                  SPRING HILL           TN     37174‐0545
JOAN SOBKOWIAK      34614 BIRCHWOOD ST                                                                          WESTLAND              MI     48186‐4386
JOAN SOCHA          24405 HARMON ST                                                                             SAINT CLAIR SHORES    MI     48080‐3132

JOAN SOMERFIELD     1200 BROWN CT                                                                               TAYLORVILLE          IL      62568‐1202
JOAN SOMERS         14630 TUSCOLA RD                                                                            CLIO                 MI      48420‐8850
JOAN SONNENBERG     174 RAVENWOOD BLVD                                                                          BARNEGAT             NJ      08005‐2206
JOAN SORG           5544 N COUNTY ROAD 975 W                                                                    MIDDLETOWN           IN      47356‐9760
JOAN SPADA          710 CHESTNUT ST                                                                             IRWIN                PA      15642‐3650
JOAN SPINE          10341 NEW QUAY RD                                                                           OCEAN CITY           MD      21842‐9763
JOAN SPITZLEY       1578 STONEHAVEN DR                                                                          HOLT                 MI      48842‐1900
JOAN SPOONER        2244 PIONEER DR                                                                             BELOIT               WI      53511‐2547
JOAN ST MARIE       205 CUTOFF RD                                                                               FRUITLAND PARK       FL      34731‐3003
JOAN STALEY         215 KILDARE CT                                                                              O FALLON             MO      63366‐7424
JOAN STALLER        176 ARNOTT RD                                                                               BULLS GAP            TN      37711‐4126
JOAN STALLSWORTH    1238 COUNTRY CREEK CT                                                                       INDIANAPOLIS         IN      46234‐3811
JOAN STANTON        5800 W BEARD RD                                                                             PERRY                MI      48872‐8148
JOAN STANTON        17 NARCISSUS LN                                                                             LEVITTOWN            PA      19054‐3401
JOAN STARKS         4613 PENDLETON CT                                                                           MILTON               WI      53563‐8435
JOAN STATER         10253 E PANTERA AVE                                                                         MESA                 AZ      85212‐2317
JOAN STEDRON        11660 HAWTHORNE DR                                                                          GRAND BLANC          MI      48439
JOAN STENZEL        10916 SWAN CREEK RD                                                                         SAGINAW              MI      48609‐9119
JOAN STEPHENS       31600 LAKE SHORE BLVD APT 24                                                                WILLOWICK            OH      44095‐3523
JOAN STERLING       7103 PORTSMOUTH RD                                                                          WINDSOR MILL         MD      21244‐3432
JOAN STERN          3871 BENNETTS CORNERS RD                                                                    HOLLEY               NY      14470‐9702
JOAN STEVENS        1030 HANNAH AVE                                                                             LANSING              MI      48906‐6819
JOAN STITT          4113 TUXEDO AVE                                                                             FLINT                MI      48507‐5323
JOAN STMARIE        3000 MEADOW LN NE APT 103                                                                   WARREN               OH      44483‐2624
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Name              Address1                        Address2                     Address3   Address4               City           State Zip
JOAN STOEY        930 JOHN R RD APT 2607                                                                         TROY            MI 48083
JOAN STONE        412 LELAND ST                                                                                  FLUSHING        MI 48433‐1343
JOAN STONE        17819 TRIBUNE STREET                                                                           GRANADA HILLS   CA 91344
JOAN STROM        208 MIFFLIN AVE                                                                                LANSING         MI 48912‐4036
JOAN STROUD       PO BOX 70                                                                                      HOPE            AR 71802‐0070
JOAN STUTZ        926 E BROADWAY                                                                                 WAUKESHA        WI 53186‐5535
JOAN SUGGS        6593 BALL RD                                                                                   ROMULUS         MI 48174‐3501
JOAN SUITER       13 SILVER DR                    RFD #2                                                         BURLINGTON      CT 06013‐2516
JOAN SUMMERS      36812 HIBISCUS CT                                                                              ZEPHYRHILLS     FL 33542‐5129
JOAN SUSOR        600 DRIFTWOOD DR                                                                               LAKE MILTON     OH 44429‐9507
JOAN SUTTON       5458 SUGAR MILL DR                                                                             FLOWERY BRANCH  GA 30542‐5162
JOAN SVYZEK       2261 PROV. RD BOX 69                                                                           NORTHBRIDGE     MA 01534
JOAN SWAIN        2536 S COUNTY LINE RD W                                                                        COAL CITY       IN 47427‐7848
JOAN SWENSON      2821 NATIONAL AVENUE                                                                           LEBANON         MO 65536‐4397
JOAN SYROWIK      33535 SEBASTIAN LANE DR                                                                        STERLING HTS    MI 48312‐6137
JOAN SZALASNY     217 ARIS AVE                                                                                   BUFFALO         NY 14206‐1911
JOAN T HARRISON   670 HANCES POINT RD                                                                            NORTH EAST      MD 21901‐5236
JOAN T LABANCA    82 OCEAN AVE                                                                                   MONMOUTH BEACH  NJ 07750‐1229

JOAN T PFISTER    307 W SPRING ST                                                                                EATON              OH   45320‐1433
JOAN TACK         9578 MERCEDES                                                                                  REDFORD            MI   48239‐2340
JOAN TAGLAIRINO   111 VILLANOVA DR                                                                               LAWRENCEVILLE      NJ   08648‐4430
JOAN TAUBLIEB     10200 CLAYTON ST                                                                               BELLEVILLE         MI   48111‐1223
JOAN TAVARES      5206 INDIAN HILL RD APT 314                                                                    ORLANDO            FL   32808‐2877
JOAN TAYLOR       24699 PILGRIM                                                                                  REDFORD            MI   48239‐3620
JOAN TERRELL      3205 BONHAM DR                                                                                 INDIANAPOLIS       IN   46222‐1988
JOAN THIRST       136 DENROSE DR. APT. #8                                                                        AMHERST            NY   14228
JOAN THOMAS       3849 RIVERSIDE PARK WAY                                                                        DECATUR            GA   30034
JOAN THOMAS       7320 N SHAKER DR                                                                               WATERFORD          MI   48327‐1029
JOAN THOMPSON     2217 FRANKLIN ST                                                                               SOUTH BEND         IN   46613‐2121
JOAN THOMPSON     1047 FALLWAY DR                                                                                SHELBYVILLE        IN   46176‐3297
JOAN TIERNEY      32814 MACKENZIE DR                                                                             WESTLAND           MI   48185‐1552
JOAN TIFFANY      904 MITCHELL ST                                                                                JANESVILLE         WI   53546‐2417
JOAN TILLMAN      1715 W GENESEE AVE                                                                             SAGINAW            MI   48602‐4934
JOAN TORREY       5303 VICTORIA BLVD              E3                                                             WATERFORD          MI   48327
JOAN TRAGO        783 NORWICH RD                                                                                 VANDALIA           OH   45377‐1630
JOAN TREIBLEY     2701 PALMER AVE                                                                                BRISTOL            PA   19007‐5804
JOAN TRELA        6872 NIGHTINGALE ST                                                                            DEARBORN HEIGHTS   MI   48127‐2133

JOAN TRET         6362 SUPREME CT                                                                                PENDLETON          IN   46064‐8527
JOAN TROTTER      3310 TIMBER DR                                                                                 LANSING            MI   48917‐2322
JOAN TRUMAN       313 HOMECREST RD                                                                               JACKSON            MI   49201‐1114
JOAN TUCKER       4347 S MADISON RD                                                                              MADISON            OH   44057‐9502
JOAN TUCKER       16760 MOCK RD                                                                                  BERLIN CENTER      OH   44401‐8713
JOAN UMEK
JOAN UNGRADY      10 MADDOCK DR                                                                                  EWING              NJ   08628‐2307
JOAN V BOGGS      107 TOURNAMENT TRAIL                                                                           COURTLAND          OH   44410
JOAN VACCO        BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH   44236
JOAN VALENTINE    2080 E HILL RD APT 1                                                                           GRAND BLANC        MI   48439‐5129
JOAN VENTURO      590 TERRYVILLE AVE                                                                             BRISTOL            CT   06010‐4031
JOAN VERSEY       12337 WATERSTONE LNDG           #1103                                                          PERRYSBURG         OH   43551‐1015
JOAN VIDOR        930 W EXPRESSWAY 83 LOT 322                                                                    MISSION            TX   78572‐6140
JOAN VIVADELLI    207 CABRILLO BLVD                                                                              TOMS RIVER         NJ   08757‐5928
JOAN VOLLMER      13406 CLOVERLAWN DR                                                                            STERLING HTS       MI   48312‐1623
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Name                                Address1                      Address2            Address3         Address4               City              State   Zip
JOAN W BACKES AND DIANE P PRESLEY   871 GRANT PARK DR                                                                         MOBILE             AL     36606‐4731
JOAN W HARRAH                       1500 BUFFALO STREET                                                                       DAYTON             OH     45432
JOAN W KITCHEN                      2318 FIFTH AVE                                                                            YOUNGSTOWN         OH     44504‐1844
JOAN W MCDAVID                      3635 INDIAN RUN DRIVE         UNIT3                                                       CANFIELD           OH     44406‐‐ 90
JOAN W MCDAVID                      3635 INDIAN RUN DR UNIT 3                                                                 CANFIELD           OH     44406
JOAN W MOORE                        4749 ERICSON AVENUE                                                                       DAYTON             OH     45418‐1909
JOAN W WEAVER                       18 COURT ST.                                                                              CANFIELD           OH     44406
JOAN WAITER                         701 S COUNTRY CLUB RD                                                                     EL RENO            OK     73036‐4305
JOAN WALDO                          28372 WALTZ RD                                                                            NEW BOSTON         MI     48164‐9319
JOAN WALDROP                        169 CEDARVIEW LANE                                                                        WATERVLIET         NY     12189
JOAN WALLACE                        11625 WASHINGTON AVENUE                                                                   MOUNT MORRIS       MI     48458‐1959
JOAN WALLACE                        1979 ROCK SPRINGS RD                                                                      COLUMBIA           TN     38401‐7423
JOAN WALLACE                        1006 MURRAY DR                                                                            TECUMSEH           MI     49286‐1746
JOAN WARD                           4780 AVERY LN                 APT 4                                                       GRAND LEDGE        MI     48837‐8137
JOAN WARNER                         9400 WHITE LAKE RD                                                                        FENTON             MI     48430‐8746
JOAN WARSZAWSKI                     1326 MIDLAND RD                                                                           BAY CITY           MI     48706‐9473
JOAN WAZNY                          3375 JOHANN DR                                                                            SAGINAW            MI     48609‐9760
JOAN WCISLO                         131 KARRS LN                                                                              CONSHOHOCKEN       PA     19428‐1289
JOAN WEAVER                         18 COURT ST                                                                               CANFIELD           OH     44406‐1405
JOAN WEAVER                         1804 S WHEELER ST                                                                         SAGINAW            MI     48602‐1068
JOAN WEBSTER                        9220 BIG LAKE RD                                                                          CLARKSTON          MI     48346‐1050
JOAN WEDEMAN                        6035 S TRANSIT RD LOT 480                                                                 LOCKPORT           NY     14094‐7108
JOAN WEEKLEY                        1085 WILLARD RD                                                                           BIRCH RUN          MI     48415‐8600
JOAN WEIDEL                         6148 GODFREY RD                                                                           BURT               NY     14028‐9756
JOAN WEIDENBRUCH                    ROYAL BAY VILLAS              1549 SANDPIER ST    #73                                     NAPLES             FL     34102
JOAN WEIGLE                         1322 STERLING DR                                                                          CORTLAND           OH     44410‐9222
JOAN WELLS                          419 JEROME AVE                                                                            BURLINGTON         CT     06013‐2313
JOAN WESSEL                         9723 FRIEGEL RD                                                                           PERRY              MI     48872‐9755
JOAN WEST                           2209 N MAIN ST APT 114                                                                    CLEBURNE           TX     76033‐5063
JOAN WESTON                         538 WILD FLOWER CT                                                                        ANDERSON           IN     46013‐1167
JOAN WHEELER                        150 14TH STREET                                                                           VERPLANCK          NY     10596
JOAN WHITE                          2564 EDGEWOOD DR                                                                          BELOIT             WI     53511‐7031
JOAN WHITE                          410 S FRANKLIN ST                                                                         JANESVILLE         WI     53548‐4745
JOAN WIDEMAN                        8336 KELLY LN                                                                             GREENWOOD          LA     71033‐3345
JOAN WIER                           1212 PRICE RD                                                                             AVON               IN     46123‐8127
JOAN WILEY                          7028 S GREEN HILLS DR                                                                     SALINE             MI     48176‐9547
JOAN WILHELM                        255 VILLAGE ST                                                                            MEDWAY             MA     02053‐1402
JOAN WILLIAMS                       160 FONTAINBLEAU DR                                                                       ROCHESTER HILLS    MI     48307‐2420
JOAN WILLIAMS                       6340 AMERICANA DR APT 303                                                                 WILLOWBROOK         IL    60527‐2244
JOAN WILLIAMSON                     1006 CHESTNUT CIR SE                                                                      WARREN             OH     44484‐5614
JOAN WILLIAMSON                     5113 RANCHO AVE                                                                           SARASOTA           FL     34234‐3036
JOAN WILMERS                        1420 SWALLOW LN                                                                           JANESVILLE         WI     53546‐2971
JOAN WILSON                         300 SOMERVILLE AVE                                                                        TONAWANDA          NY     14150‐8750
JOAN WILSON                         6122 SINGING HILLS DR                                                                     DALLAS             TX     75241‐2629
JOAN WILTFONG                       5298 DROW RD                                                                              PRESCOTT           MI     48756‐9613
JOAN WIST                           12131 ALLAN DR                                                                            OMAHA              NE     68137‐3427
JOAN WOLFE                          1445 INDIANA AVE                                                                          FLINT              MI     48506‐3517
JOAN WOOD                           3445 MIDLAND ST                                                                           NATIONAL CITY      MI     48748‐9697
JOAN WOODCOCK                       1824 KENNEDY RD                                                                           WEBSTER            NY     14580‐9360
JOAN WOODMAN                        11130 JENNINGS RD                                                                         FENTON             MI     48430‐9784
JOAN WOREK                          6 SHENANDOAH PL                                                                           COLUMBUS           NJ     08022‐2338
JOAN WRIGHT                         5751 ELDRIDGE DR                                                                          WATERFORD          MI     48327‐2629
JOAN WURTZ                          4744 NANCY DR                                                                             VASSAR             MI     48768‐1158
JOAN WYMAN                          14336 ALGER AVE                                                                           WARREN             MI     48088‐5807
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Name                       Address1                            Address2              Address3   Address4               City             State   Zip
JOAN WYSZKOWSKI            23 MILL ST                                                                                  TONAWANDA         NY     14150‐2430
JOAN Y BIEGAS              MR EDWARD BIEGAS                    39914 WILMETTE DR                                       STERLING HTS      MI     48313‐5661
JOAN Y BUTLER              604 BRADFORD RD                                                                             ORELAND           PA     19075
JOAN YAGER                 620 VICTORIA LN                                                                             TAWAS CITY        MI     48763‐9205
JOAN YARBROUGH             16805 CAMERON ST                                                                            SOUTHGATE         MI     48195‐3902
JOAN YARNELL               928 COMPTON LN                                                                              YOUNGSTOWN        OH     44502‐2333
JOAN YEAGER                777 GREYHOUND DR                                                                            NEW LEBANON       OH     45345‐1679
JOAN YOUNG                 PO BOX 22                                                                                   SOMERSET          IN     46984‐0022
JOAN YOUNG                 4636 W DESERT LANE LOT 250                                                                  LAVEEN            AZ     85339
JOAN ZAJAC                 4191 LAFAYETTE BLVD                                                                         LINCOLN PARK      MI     48146‐4017
JOAN ZECKZER               27263 VIRGINIA DR                                                                           WARREN            MI     48092‐2863
JOAN ZEGERS                220 NORTH ST                                                                                IOLA              WI     54945‐9402
JOAN ZONCA                 22423 BEECH ST                                                                              DEARBORN          MI     48124‐2705
JOAN ZSIGO                 11399 MARKLEY RD                                                                            GAINES            MI     48436‐8903
JOAN ZUBRZYCKI             2350 WESTSIDE DR                                                                            ROCHESTER         NY     14624‐1957
JOAN ZWADA                 5912 LAKEPOINT CT                                                                           WASHINGTON TWP    MI     48094‐2692

JOAN, SAM                  2508 DOVER GLEN CIR                                                                         ORLANDO          FL      32828‐7523
JOAN‐VALERIE CODLING       4275 OWENS RD                                                                               EVANS            GA      30809
JOANA JONES                PO BOX 143                                                                                  ORLEANS          IN      47452‐0143
JOANDA E DANTUONO          4912 PENSACOLA BLVD                                                                         MORAINE          OH      45439‐2834
JOANE GAMBINO              5178 FERN AVE                                                                               GRAND BLANC      MI      48439‐4210
JOANE MONTAGUE             4516 GOLFVIEW DR                                                                            ANDERSON         IN      46011‐1600
JOANEE L GIFT              110 WISE ST                                                                                 BRADFORD         OH      45308
JOANETTE, MICHAEL S        8485 RIVERSIDE RD                                                                           BROOKLYN         MI      49230‐8351
JOANETTE, MICHAEL STEVEN   8485 RIVERSIDE RD                                                                           BROOKLYN         MI      49230‐8351
JOANI LAGINESS             14277 ROBBE RD                                                                              BELLEVILLE       MI      48111‐3020
JOANIDES, AZAREI J         11233 RUSSELL AVE                                                                           PLYMOUTH         MI      48170‐4480
JOANIE CASEMAN             5008 HAYS DR                                                                                COLUMBIA         TN      38401‐5072
JOANIE M REEVES‐MCGHEE     11427 MERCEDES                                                                              REDFORD          MI      48239‐2377
JOANIE REEVES‐MCGHEE       PO BOX 401205                                                                               REDFORD          MI      48240‐9205
JOANJALYN COLES            19567 QUARTZ CT                                                                             MACOMB           MI      48044‐1780
JOANN & SHELBY GORDON      JOANN GORDON & SHELBY GORDON        10774 SANTA ROSA DR                                     BOCA RATON       FL      33498‐6719
JOANN ` RUMMLER            6142 E CARPENTER RD                                                                         FLINT            MI      48506‐1258
JOANN A BAKER              16500 N PARK DR APT 1402 W BLDG N                                                           SOUTHFIELD       MI      48075
                           PARK TOWERS
JOANN A ELLISON            756 DELAWARE ST                                                                             DETROIT          MI      48202‐2450
JOANN ACORD                1414 WEST HERBISON DRIVE                                                                    DEWITT           MI      48820‐9699
JOANN ADKISSON             19808 TELEGRAPH RD APT 4                                                                    DETROIT          MI      48219‐1079
JOANN ALEXANDER            1050 LUCHARLES AVE                                                                          MOUNT MORRIS     MI      48458‐2125
JOANN ALLEN                690 HONEY HILL RD                                                                           SEARCY           AR      72143‐9376
JOANN ALLEN                37543 CHARTER OAKS BLVD                                                                     CLINTON TWP      MI      48036‐2414
JOANN ALLENSWORTH          1166 BROCKDELL CT                                                                           NORCROSS         GA      30093‐4714
JOANN ANKLAM               3905 WALDO AVE                                                                              MIDLAND          MI      48642‐3955
JOANN ASHMAN               1310 HOLLY HILL DR                                                                          GREENVILLE       OH      45331‐2395
JOANN B BLESSING           4968 MAPLE DRIVE                                                                            VIENNA           OH      44473
JOANN B GOODMAN            709 CHANDLER DR                                                                             TROTWOOD         OH      45426‐2509
JOANN B GOODMAN            709 CHANDLER DR                                                                             TROTWOOD         OH      45426‐2509
JOANN B HEARD              1405 HIGHWAY 49                                                                             FLORA            MS      39071
JOANN B LECKFOR            1241 THOMAS RD                                                                              HUBBARD          OH      44425
JOANN B RULE               2733 MONTGOMERY AVE NW                                                                      WARREN           OH      44485‐1429
JOANN BAKER                3861 LOVETT ST                                                                              DETROIT          MI      48210‐3140
JOANN BALIS                179 S COON ISLAND RD                                                                        JANESVILLE       WI      53548‐9285
JOANN BARFIELD             2095 OBRIEN RD                                                                              MOUNT MORRIS     MI      48458‐2637
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Name                     Address1                            Address2       Address3         Address4                 City              State   Zip
JOANN BENEFIELD          PO BOX 163                                                                                   TAMMS               IL    62988‐0163
JOANN BENNETT            613 HILLCREST CT                                                                             KOKOMO             IN     46901‐3423
JOANN BENTLEY            11209 JORDAN CT                                                                              PARKER             CO     80134‐7662
JOANN BERGER             365 BAYWOOD                                                                                  LEONARD            MI     48367‐2921
JOANN BERTHIAUME         800 JANE ST 9404                                                                             PINCONNING         MI     48650
JOANN BIANGE             12346 S CUSTER RD                                                                            DUNDEE             MI     48131‐9724
JOANN BIERMAN            18652 182ND ST                                                                               TONGANOXIE         KS     66086‐5147
JOANN BLESSING           4968 MAPLE ST                                                                                VIENNA             OH     44473‐9632
JOANN BLISS              118 OAKWOOD AVE                                                                              OWOSSO             MI     48867‐3230
JOANN BLOOM              29 E LIBERTY ST                                                                              LEIPSIC            OH     45856‐1239
JOANN BODECHTEL          BERGSTR 1                                                           91616 NEUSITZ GERMANY
JOANN BOLLING            10454 EXETER RD                                                                              CARLETON          MI      48117‐9365
JOANN BONBRISCO‐SCHMID   1800 POPLAR CT                                                                               TROY              MI      48098‐1918
JOANN BOSKOVICH          18040 FAIRWOOD DR                                                                            CLINTON TWP       MI      48035‐2433
JOANN BOWER              18 PENNSYLVANIA AVE                                                                          LOCKPORT          NY      14094‐5726
JOANN BOWSER             1405 N TRIPLE XXX RD                                                                         CHOCTAW           OK      73020
JOANN BOYD               13204 BIG RIVER DR                                                                           LAKE ST LOUIS     MO      63367‐1983
JOANN BOZMAN             6054 VICKI JEAN LN                                                                           BRIGHTON          MI      48116‐6559
JOANN BRESETT            4816 CYPRESS ST LOT 222                                                                      WEST MONROE       LA      71291‐6501
JOANN BREWSTER           1345 17TH ST                                                                                 ORANGE CITY       FL      32763‐2522
JOANN BRINSKY            4764 DOYLE RD                                                                                PITTSBURGH        PA      15227‐1366
JOANN BRISSON            900A GARFIELD AVE APT 4                                                                      MARQUETTE         MI      49855‐3224
JOANN BRISTOW            30844 WOODMONT DR                                                                            MADISON HEIGHTS   MI      48071‐5237

JOANN BROOKS             8054 NORWICH AVE                                                                             VAN NUYS          CA      91402‐5616
JOANN BROWN              1854 MANSFIELD ST                                                                            INDIANAPOLIS      IN      46202‐1044
JOANN BRUNSTETTER        1178 NORWOOD ST NW                                                                           WARREN            OH      44485‐1953
JOANN BUKOVSKY           2144 GRAYHAWK DR                                                                             AURORA            IL      60503‐5437
JOANN BULLINGTON         25361 MISTY RDG                                                                              MISSION VIEJO     CA      92692‐2878
JOANN BURNS              2512 13TH ST                                                                                 SANDUSKY          OH      44870‐5072
JOANN BYRD               PO BOX 13493                                                                                 FLINT             MI      48501‐3493
JOANN C OLASKEY          6960 LYMAN ROAD                                                                              BERGEN            NY      14416‐9716
JOANN CARDER             34212 ISLAND DR                                                                              LEESBURG          FL      34788‐4465
JOANN CARTER             PO BOX 765                                                                                   MANSFIELD         OH      44901‐0765
JOANN CASTLE             112 COUNTY ROAD 700                                                                          WEST SALEM        OH      44287‐9116
JOANN CAULK              8253 N ROANOKE RD                                                                            ROANOKE           IN      46783‐9136
JOANN CHEGAN             720 N GRAYTOWN RD                                                                            GRAYTOWN          OH      43432‐9705
JOANN CHILDERS           115 AMY PL                                                                                   CORTLAND          OH      44410‐1314
JOANN CHOMIN             116 CHRISTOPHER WAY                                                                          HAWLEY            PA      18428
JOANN CHURAY             1061 INDIANPIPE RD                                                                           LAKE ORION        MI      48360‐2617
JOANN CIVELLA            7803 N LYDIA AVE                                                                             KANSAS CITY       MO      64118‐1961
JOANN CLAUNCH            4202 TUCKERSHAM LN                                                                           TUCKER            GA      30084‐2240
JOANN CLAY               221 WASHINGTON AVE                                                                           LA GRANGE         IL      60525‐2549
JOANN COCKERHAM          5733 SOMERS GRATIS RD                                                                        CAMDEN            OH      45311‐8721
JOANN COCKERHAM          5733 SOMERS‐GRATIS RD                                                                        CAMDEN            OH      45311
JOANN COLBERT            19252 FENELON ST                                                                             DETROIT           MI      48234‐2278
JOANN COLE               702 GOLFVIEW WAY                                                                             BOWLING GREEN     KY      42104‐5533
JOANN COLLINS            4024 WATERBURY DR.                                                                           DAYTON            OH      45439
JOANN CONES              1851 NEWARK AVE SE                                                                           GRAND RAPIDS      MI      49507‐2834
JOANN CONTE              14258 WHITNEY RD                                                                             STRONGSVILLE      OH      44136‐1965
JOANN COOK               1229 COLUMBIANA LISBON RD LOT 103                                                            COLUMBIANA        OH      44408‐2217
JOANN COOPER             PO BOX 310705                                                                                FLINT             MI      48531‐0705
JOANN COOPER             911 ROLLING HILLS LN APT 2                                                                   LAPEER            MI      48446‐4783
JOANN COPLEY             1085 HARDESTY PL E                                                                           COLUMBUS          OH      43204‐5815
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Name                     Address1                         Address2                      Address3   Address4               City            State   Zip
JOANN CRAIG              5989 GLENNON DR                                                                                  GALLOWAY         OH     43119‐9752
JOANN CREA               1259 KLOCKNER RD APT 117                                                                         TRENTON          NJ     08619‐3624
JOANN CRIPE              23121 27 MILE RD                                                                                 SPRINGPORT       MI     49284‐9425
JOANN CRUMPTON           3205 N BANCROFT ST                                                                               INDIANAPOLIS     IN     46218‐2336
JOANN CUDNIK             10533 PRESTON RD                                                                                 BRITTON          MI     49229‐9538
JOANN D MCHUGH           3365 SWALLOW HOLLOW                                                                              POLAND           OH     44514‐2824
JOANN D SHAFFER          9749 TEXTILE RD                                                                                  YPSILANTI        MI     48197‐7039
JOANN D YOHMAN           2940 BERNADETTE DR.                                                                              YOUNGSTOWN       OH     44509‐3004
JOANN DAVIS              25 DEMPSEY DR                                                                                    NEWARK           DE     19713‐1930
JOANN DAVIS              15501 PIEDMONT ST                                                                                DETROIT          MI     48223‐1716
JOANN DAVIS              127 SEWARD ST APT 107                                                                            DETROIT          MI     48202‐2435
JOANN DEBENS             32746 RUGBY DR                                                                                   WARREN           MI     48088‐6940
JOANN DEKEYSER           1168 N PARK DR                                                                                   TEMPERANCE       MI     48182‐9450
JOANN DEUEL              4927 APPLEWOOD DR                                                                                LANSING          MI     48917‐1568
JOANN DIXON              3694 REYNOLDS AVE                                                                                KALAMAZOO        MI     49048‐6157
JOANN DONAHOE            67 ROWE PL                                                                                       BRISTOL          CT     06010‐6715
JOANN DONAHUE            PO BOX 93                                                                                        MINERAL RIDGE    OH     44440‐0093
JOANN DOUGHERTY          26 STRASMER RD                                                                                   DEPEW            NY     14043‐4434
JOANN DOYLE              2107 TROY RD APT B3                                                                              SPRINGFIELD      OH     45504‐4251
JOANN DRYJA              315 ABBINGTON AVE                                                                                BUFFALO          NY     14223‐1628
JOANN DULYEA             7152 STEEPLECHASE WAY                                                                            LANSING          MI     48917‐8852
JOANN E DONAHUE          PO BOX 93                                                                                        MINERAL RIDGE    OH     44440‐0093
JOANN E GRIM             3117 CLOISTER LN                                                                                 DAYTON           OH     45449
JOANN E MOORE            17761 FEATHER LN                                                                                 BROWNSTOWN       MI     48193‐8460
JOANN EASTMAN            3127 SCHOOLHOUSE DR                                                                              WATERFORD        MI     48329‐4328
JOANN EDGAR              438 OAKLAND LN                                                                                   HARRODSBURG      KY     40330‐9043
JOANN EGNOR              5325 13TH ST SW APT 4A                                                                           CANTON           OH     44710‐1050
JOANN EICHERT            3199 PINEWOOD DR                                                                                 NEW WATERFORD    OH     44445‐9616
JOANN EISENHARDT         49199 FAIRCHILD RD                                                                               MACOMB           MI     48042‐4809
JOANN ELIZALDE           3060 CATALPA CT                                                                                  AUBURN HILLS     MI     48326‐1602
JOANN ELLIOTT            650 D'LYN ST                                                                                     COLUMBUS         OH     43228
JOANN ERVIN              5065 HANES RD                                                                                    VASSAR           MI     48768‐9217
JOANN ERWIN              6923 WARD RD                                                                                     NIAGARA FALLS    NY     14304‐4567
JOANN EUBANK             PO BOX 322                                                                                       BROWNSVILLE      KY     42210‐0322
JOANN F BUNTING          216 W 7TH ST                                                                                     TILTON            IL    61833‐7808
JOANN F COOK             1229 COLUMBIANA‐LISBON RD #103                                                                   COLUMBIANA       OH     44408
JOANN F GRAY             1553 CASCADE DR                                                                                  YOUNGSTOWN       OH     44511
JOANN F WHALEN           2834 N HWY 213                                                                                   EVANSVILLE       WI     53536
JOANN FIELDS             THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                     HOUSTON          TX     77017
JOANN FILINGER‐LIGOTTI   68338 GLENGARRY CT                                                                               WASHINGTON       MI     48095‐1237
JOANN FILIPEK            26830 RICHARD DR                                                                                 WARREN           MI     48089‐3517
JOANN FISHER             3701 JASMINE AVE NE                                                                              GRAND RAPIDS     MI     49525‐2040
JOANN FITZGIBBON         1751 BROCKTON DR                                                                                 YOUNGSTOWN       OH     44511‐1001
JOANN FORD               1859 SELMA AVE                                                                                   YOUNGSTOWN       OH     44504‐1301
JOANN FOWZER             11151 TAMARACK AVE                                                                               PACOIMA          CA     91331‐2733
JOANN FRACKER            5412 GREEN HWY                                                                                   TECUMSEH         MI     49286‐9593
JOANN FRAZEE             2314 N A ST                                                                                      ELWOOD           IN     46036‐1732
JOANN FRIEND             11298 WINDHAM PARKMAN RD                                                                         GARRETTSVILLE    OH     44231‐9206
JOANN FUSEE              352 W MORRELL ST                                                                                 OTSEGO           MI     49078‐1222
JOANN GAILLARD           1032 E RICHMOND ST                                                                               KOKOMO           IN     46901‐3116
JOANN GALLERY            4050 GREEN ST                                                                                    SAGINAW          MI     48638‐6618
JOANN GALLOWAY           1201 VINCENT AVE                                                                                 FLINT            MI     48503‐1229
JOANN GANN               1305 CHARLES DR                                                                                  ALVARADO         TX     76009‐2602
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Name                  Address1                         Address2                      Address3   Address4               City              State Zip
JOANN GAUTHIER        28626 DARTMOUTH ST                                                                               MADISON HEIGHTS    MI 48071‐4507

JOANN GEORGE          60 CUMBERLAND AVE                                                                                BUFFALO           NY   14220‐1327
JOANN GIBBS           1071 E KURTZ AVE                                                                                 FLINT             MI   48505‐1511
JOANN GODSEY          2503 EMILY ST                                                                                    MELVINDALE        MI   48122‐1923
JOANN GOLDCAMP        2885 PENNY LN                                                                                    AUSTINTOWN        OH   44515‐4942
JOANN GONZALEZ        71 CIRCLE CREEK WAY                                                                              ORMOND BEACH      FL   32174‐1822
JOANN GOODMAN         709 CHANDLER DR                                                                                  TROTWOOD          OH   45426‐2509
JOANN GORDON IRA      JOANN GORDON                     10774 SANTA ROSA DR                                             BOCA RATON        FL   33498‐6719
JOANN GOW             20734 SLEEPY HOLLOW DR                                                                           MACOMB            MI   48044‐6332
JOANN GRAHAM          5324 SLEIGHT RD RT 2                                                                             BATH              MI   48808
JOANN GREENE          11917 SE 152ND ST                                                                                OKLAHOMA CITY     OK   73165‐6819
JOANN GRIGGS          19834 TELEGRAPH RD APT 1                                                                         DETROIT           MI   48219‐1090
JOANN GRUNYK          54361 CROWN PTE                                                                                  SHELBY TWP        MI   48316
JOANN GULLEY          PO BOX 649                                                                                       TOPOCK            AZ   86436‐0649
JOANN GUY             55 HAGER ST                                                                                      BUFFALO           NY   14208‐1328
JOANN H BAUGH         1908 VIENNA RD.                                                                                  NILES             OH   44446
JOANN H STEPHENSON    715 SPRING AVE                                                                                   NILES             OH   44446
JOANN HAINES          R R 1 BOX 270‐A                                                                                  SOLSBERRY         IN   47459
JOANN HALFORD         ONE CUSTOMS HOUSE SUITE 560                                                                      WILMINGTON        DE   19899
JOANN HAMILTON        19700 FENMORE ST                                                                                 DETROIT           MI   48235‐2255
JOANN HAMILTON        1310 GRANGE HALL RD                                                                              FENTON            MI   48430‐1622
JOANN HARDEMAN        KELLER, FISHBACK & JACKSON LLP   18425 BURBANK BLVD, STE 610                                     TARZANA           CA   91356
JOANN HARDY           214 W BISHOP AVE                                                                                 FLINT             MI   48505‐6305
JOANN HARNER          7021 WINDOGA LAKE DR                                                                             WEIDMAN           MI   48893‐8206
JOANN HARPER          13303 PROMENADE ST                                                                               DETROIT           MI   48213‐1428
JOANN HARRIS          7256 WHEELER TRL                                                                                 LITHONIA          GA   30058‐9016
JOANN HARRIS          9232 ESSEX ST # T                                                                                ROMULUS           MI   48174
JOANN HARTMAN         4555 LORRAINE AVE                                                                                SAGINAW           MI   48604‐1039
JOANN HASTON          424 RIDGEWAY                                                                                     CROSSVILLE        TN   38555‐8458
JOANN HATCH           4611 SOUTHGATE RD                                                                                BYRDSTOWN         TN   38549‐4847
JOANN HATTON          PO BOX 92691                                                                                     LAKELAND          FL   33804‐2691
JOANN HAULCY          817 S WARREN AVE                                                                                 SAGINAW           MI   48607‐1731
JOANN HAWKINS         912 HAWK TRL NE                                                                                  BROOKHAVEN        MS   39601‐8003
JOANN HAYDEN          1697 WINGATE BLVD                                                                                YPSILANTI         MI   48198‐6531
JOANN HEARD           1732 ACADEMY PL                                                                                  DAYTON            OH   45406‐4601
JOANN HEARD           1732 ACADEMY PL                                                                                  DAYTON            OH   45406‐4601
JOANN HENSON          4639 DAVISON RD                                                                                  LAPEER            MI   48446‐3503
JOANN HERRERA         1329 PRIMROSE DR                                                                                 WYLIE             TX   75098‐7656
JOANN HILL            7700 BOX 124                                                                                     STUART            VA   24171
JOANN HINTZ           2244 W SYCAMORE AVE                                                                              OAK CREEK         WI   53154‐1050
JOANN HOBSON          12585 CHURCH ST APT 1C                                                                           BIRCH RUN         MI   48415‐8709
JOANN HODGES          699 RIVER TRL                                                                                    MARTIN            GA   30557‐5037
JOANN HOHENSTEIN      8468 MILLER RD                                                                                   SWARTZ CREEK      MI   48473‐1248
JOANN HOLLAND         117 W YPSILANTI AVE                                                                              PONTIAC           MI   48340‐1874
JOANN HOLLAND         PO BOX 146                                                                                       MOSCOW            OH   45153‐0146
JOANN HOLLINGSWORTH   313 W 2ND ST                                                                                     ANDERSON          IN   46016‐2209
JOANN HOLT            PO BOX 490                                                                                       NAVASOTA          TX   77868‐0490
JOANN HOLUPKA         315 IDYLWILD ST NW                                                                               WARREN            OH   44483‐3313
JOANN HOPKINS         546 MALLET PL E                                                                                  GAHANNA           OH   43230‐6801
JOANN HOSS            G2287 SOUTH CENTER                                                                               BURTON            MI   48519
JOANN HUDAK           BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.       OH   44236
JOANN HUFFMAN         13257 SPRING RD                                                                                  ONAWAY            MI   49765‐8745
JOANN HUNTLEY         1018 W 2ND ST                                                                                    DAYTON            OH   45402‐6820
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Name                Address1                      Address2           Address3         Address4               City            State   Zip
JOANN HURRELL       6368 N SEYMOUR RD                                                                        FLUSHING         MI     48433‐1086
JOANN HUTSON        2202 HARRISON ST APT 268                                                                 WICHITA FALLS    TX     76308‐1357
JOANN HYER          349 RABBIT RANCH LN                                                                      DECATUR          TN     37322‐7619
JOANN IVY           1112 N 49TH TER                                                                          KANSAS CITY      KS     66102‐1602
JOANN JACKSON       1371 KUMLER AVE                                                                          DAYTON           OH     45406‐5930
JOANN JACOBS        125 N MAPLE ST                                                                           GREENTOWN        IN     46936‐1335
JOANN JAMES         71 BRONSON AVENUE                                                                        ROCHESTER        NY     14608‐2354
JOANN JAMES         636 WEST ST                                                                              NILES            OH     44446‐2654
JOANN JANKOWIAK     PO BOX 6583                                                                              SAGINAW          MI     48608‐6583
JOANN JANOWITZ      5307 W 148TH ST                                                                          BROOK PARK       OH     44142‐1722
JOANN JESSIE        1780 WOODSTOCK BLVD APT 702                                                              ARLINGTON        TX     76006‐5586
JOANN JOHNS         9658 WISTERIA DR                                                                         WINDHAM          OH     44288‐9707
JOANN JOHNSON       1316 JEFFERSON AVE                                                                       EAST POINT       GA     30344‐2636
JOANN JOHNSON       2782 STATE ROUTE 7                                                                       FOWLER           OH     44418‐9773
JOANN JOHNSON       2643 PINETREE DR                                                                         FLINT            MI     48507‐1824
JOANN JOHNSON       1901 E SKYVIEW DR                                                                        DAYTON           OH     45432‐2434
JOANN JONES         506 N SCHOOL ST                                                                          FORTVILLE        IN     46040‐1053
JOANN JONES         1205 EAST JOHN ST             APT G                                                      SPRINGFIELD      OH     45505
JOANN JONES         1192 RIDGE LAKE DR                                                                       MINERAL RIDGE    OH     44440‐9022
JOANN JORDAN        6301 FLEMING RD                                                                          FLINT            MI     48504‐1611
JOANN K CHILDERS    115 AMY PLACE                                                                            CORTLAND         OH     44410
JOANN K HATCH       4611 SOUTHGATE                                                                           BYRDSTOWN        TN     38549‐‐ 48
JOANN K HAWKINS     912 HAWK TRL NE                                                                          BROOKHAVEN       MS     39601‐8003
JOANN K ROBINSON    1432 MAYBERRY LN                                                                         FRANKLIN         TN     37064‐9610
JOANN KALLIO        10458 HART AVE                                                                           HUNTINGTON       MI     48070‐1128
                                                                                                             WOODS
JOANN KARINEN       6435 WEYER RD                                                                            IMLAY CITY      MI      48444‐8806
JOANN KEHOE         118 SWAN RD                                                                              CLEARWATER      FL      33764‐7124
JOANN KELLER        3015 IROQUOIS AVE                                                                        FLINT           MI      48505‐4045
JOANN KELLY         1715 S ARMSTRONG ST                                                                      KOKOMO          IN      46902‐2033
JOANN KIBLINGER     29801 POSO CT                                                                            TEHACHAPI       CA      93561‐5477
JOANN KING          8228 MISTY MEADOWS LN                                                                    MEMPHIS         TN      38125‐2447
JOANN KING          944 HOUSEL CRAFT RD                                                                      BRISTOLVILLE    OH      44402‐9721
JOANN KIRKPATRICK   119 CARNOUSTI DR                                                                         FRANKLIN        TN      37069‐7022
JOANN KITCHEN       PO BOX 473                                                                               LAKE ORION      MI      48361‐0473
JOANN KOEPKE        4883 CULVER RD                                                                           ROCHESTER       NY      14622‐1311
JOANN KRUL          PO BOX 210                                                                               HIGGINS LAKE    MI      48627‐0210
JOANN KUELSKE       9805 ARTESIA BEACH RD                                                                    SAINT HELEN     MI      48656‐9524
JOANN KUJAWA        9824 N MILAN LN                                                                          ASHLEY          IL      62808‐3407
JOANN KUSSMAUL      5997 SHIRLEY ANN DR                                                                      HARRISON        MI      48625‐7302
JOANN L JOHNS       9658 WISTERIA DR                                                                         WINDHAM         OH      44288‐9707
JOANN L KIMLIN      1359 CRESTWOOD AVE                                                                       YPSILANTI       MI      48198‐5941
JOANN L MAY         8275 SCATLER ROOT PL                                                                     HUBER HEIGHTS   OH      45424
JOANN LA VERDURE    6381 MOCKINGBIRD LN                                                                      CLARKSTON       MI      48346‐3042
JOANN LAKEY         15888 FAIRMOUNT DR                                                                       DETROIT         MI      48205‐1448
JOANN LANDRY        1945 SAGO PALM ST NE                                                                     PALM BAY        FL      32905‐3348
JOANN LARGE         9405 W 98TH TER                                                                          OVERLAND PARK   KS      66212‐5009
JOANN LECKFOR       1241 HUBBARD THOMAS RD                                                                   HUBBARD         OH      44425‐3076
JOANN LEE           1420 DARBY AVE                                                                           KOKOMO          IN      46902‐6047
JOANN LEHET         5256 W 52ND ST                                                                           PARMA           OH      44134‐1024
JOANN LEMON         1909 WINDER RD                                                                           BALTIMORE       MD      21244‐1730
JOANN LIVESAY       2420 OAKWOOD MANOR DR                                                                    FLORISSANT      MO      63031‐4420
JOANN LIVOLSI       4813 STURBRIDGE LN # A                                                                   LOCKPORT        NY      14094‐3459
JOANN LOGGINS       52680 BASE ST                                                                            NEW BALTIMORE   MI      48047‐4167
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Name                  Address1                         Address2                     Address3   Address4               City               State   Zip
JOANN LOREK           3096 NEWPORT CT                                                                                 TROY                MI     48084‐1313
JOANN LOUGHRIGE       200 WATERSIDE DR                                                                                HYPOLUXO            FL     33462‐6169
JOANN LOVE            111 HICKORY LN                                                                                  YOUNGSTOWN          OH     44515‐2606
JOANN LUND            3821 WHITTIER AVE                                                                               FLINT               MI     48506‐3160
JOANN M ADAMS         396 FAIRFIELD AVE                                                                               JOHNSTOWN           PA     15906
JOANN M BLACK         759 YOUNG ST                                                                                    PONTIAC             MI     48340‐2677
JOANN M DRAGOJEVIC    2839 MALIBU DR SW                                                                               WARREN              OH     44481‐9241
JOANN M FIELDS        C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY, STE 600                                     HOUSTON             TX     77007
                      BOUNDAS, LLP
JOANN M HOHENSTEIN    8468 MILLER RD                                                                                  SWARTZ CREEK       MI      48473‐1248
JOANN M HOHENSTEIN    8468 MILLER ROAD                                                                                SWARTZ CREEK       MI      48473‐1248
JOANN M HOLUPKA       315 IDYLWILD ST NW                                                                              WARREN             OH      44483‐3313
JOANN M HUNTLEY       1018 W 2ND ST                                                                                   DAYTON             OH      45402‐6820
JOANN M INCLEMA       11 NOEL DR                                                                                      ROCHESTER          NY      14606‐4912
JOANN M MCINTYRE      3165 HERCULES RD                                                                                VENICE             FL      34293‐3721
JOANN M NIX           5032 LAUDERDALE DR                                                                              MORAINE            OH      45439‐2927
JOANN M STONE         3076 MEADOW LANE N.E.                                                                           WARREN             OH      44483‐2632
JOANN M THOMPSON      1406 OLD FORGE                                                                                  NILES              OH      44446‐3242
JOANN MAHAR           4895 GASPORT RD                                                                                 GASPORT            NY      14067‐9278
JOANN MANIER          2831 GRAVEL RIDGE DR                                                                            ROCHESTER HILLS    MI      48307‐4649
JOANN MARIANETTI      16 SUTTERS RUN                                                                                  ROCHESTER          NY      14624‐3757
JOANN MARQUEZ         4 HUNTERS RIDGE DR                                                                              SAGINAW            MI      48609‐9318
JOANN MARTIN          103B E MATTHEWS ST                                                                              BROOKLAND          AR      72417‐8682
JOANN MATHEWS         3924 ELIZABETH DR                                                                               TROY               MI      48084‐1757
JOANN MAY             8275 SCATLER ROOT PL                                                                            HUBER HEIGHTS      OH      45424‐6509
JOANN MC DANIEL       48365 WILLIS RD                                                                                 BELLEVILLE         MI      48111‐8926
JOANN MCDANIEL        8400 RIDGE RD                                                                                   GOODRICH           MI      48438‐8840
JOANN MCDONALD        4813 ELDORADO DR                                                                                N RICHLAND HILLS   TX      76180‐7227
JOANN MCHUGH          3365 SWALLOW HOLLOW DR                                                                          POLAND             OH      44514‐2824
JOANN MCHUGH          BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                     BSOTON HTS         OH      44236
JOANN MCINTYRE        3165 HERCULES RD                                                                                VENICE             FL      34293‐3721
JOANN MCNELLY         3015 ARROW WOOD LN                                                                              INDIANAPOLIS       IN      46214‐1537
JOANN MEAKIN          7542 STATE ROUTE 305                                                                            BURGHILL           OH      44404‐9738
JOANN MEERMAN         343 FIELDS RD                                                                                   DANSVILLE          MI      48819‐9792
JOANN MERRELLI        26552 HUNTERS DR                                                                                CHESTERFIELD       MI      48051‐1984
JOANN MERRYMAN        335 PINDO PALM DR                                                                               NAPLES             FL      34104‐6402
JOANN METHVIN         815 STAFFORD AVE APT 14B                                                                        BRISTOL            CT      06010‐3852
JOANN MIELE           25719 SAN ROSA DR                                                                               ST CLAIR SHRS      MI      48081‐3829
JOANN MILLER          3594 N PROSPECT RD                                                                              YPSILANTI          MI      48198‐9482
JOANN MILLER          5304 E FRANCES RD                                                                               MOUNT MORRIS       MI      48458‐9752
JOANN MILLER          730 N ROCHESTER ST APT 8                                                                        MUKWONAGO          WI      53149‐1152
JOANN MILLER          2359 MARION AVENUE RD                                                                           MANSFIELD          OH      44903‐9491
JOANN MINDYKOWSKI     1003 S SHERMAN ST                                                                               BAY CITY           MI      48708‐7432
JOANN MINTON          6895 ROSS RD                                                                                    NEW CARLISLE       OH      45344‐9670
JOANN MITCHELL        PO BOX 182381                                                                                   ARLINGTON          TX      76096‐2381
JOANN MONROE          5217 E 300 S                                                                                    KOKOMO             IN      46902‐9381
JOANN MOORE           17761 FEATHER LN                                                                                BROWNSTOWN         MI      48193‐8460
JOANN MOORE           20271 EVERGREEN RD                                                                              DETROIT            MI      48219‐1409
JOANN MOUNT           1734 KENSINGTON DR                                                                              BELLBROOK          OH      45305‐1126
JOANN MOWL            8217 LEADLEY AVE                                                                                MOUNT MORRIS       MI      48458‐1723
JOANN MULKEY          2013 E VAILE AVE                                                                                KOKOMO             IN      46901‐5610
JOANN N BONTER        336 PECK ROAD                                                                                   HILTON             NY      14468‐9318
JOANN N BRUNSTETTER   1178 NORWOOD N.W.                                                                               WARREN             OH      44485‐1953
JOANN NAPLES          3245 BELL WICK RD                                                                               HUBBARD            OH      44425‐1373
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Name                   Address1                        Address2                     Address3   Address4               City            State   Zip
JOANN NELSON           522 W HIGH ST                                                                                  REDKEY           IN     47373‐9227
JOANN NEW              801 SMITH FORK RD                                                                              RANSOM           KY     41558
JOANN NEWTON           141 FIVE POINTS RD                                                                             LORETTO          TN     38469‐2722
JOANN NIECE            7765 PLANTATION DR APT 8                                                                       FLORENCE         KY     41042‐1870
JOANN NIEMAN           21442 W SYCAMORE CT                                                                            PLAINFIELD        IL    60544‐6459
JOANN NOBLE            181 SHERIFF ST                                                                                 ELYRIA           OH     44035‐2559
JOANN NOVAK            5148 VIBURNUM DR                                                                               SAGINAW          MI     48603‐1172
JOANN NOVAK            APT 110                         5465 NORTHFIELD COURT                                          SAGINAW          MI     48601‐7331
JOANN NOWLIN           249 VEVAY DR E                                                                                 MASON            MI     48854‐9227
JOANN O KAGEOS         218 E 5TH ST                                                                                   TILTON            IL    61833‐7425
JOANN OCONNOR          4765 S WASHINGTON RD                                                                           SAGINAW          MI     48601‐5756
JOANN OCZEPEK          5558 SHERMAN RD                                                                                SAGINAW          MI     48604‐1137
JOANN ODOMS            104 CAROL LN                                                                                   TOLEDO           OH     43615‐6021
JOANN ORR              PO BOX 2550                                                                                    GLEN ROSE        TX     76043‐2550
JOANN ORTEGA           6601 BLUEWATER RD                                                                              OKLAHOMA CITY    OK     73165‐9651
JOANN P BLEM‐SCHUMAN   KAREN A MILLER JTTEN            72 LYNDON CIR                                                  OAKLAND          MI     48363‐1320
JOANN P SIPUSIC        845 EASTLAND AVE SE                                                                            WARREN           OH     44484
JOANN P WINANS         274 STEWART ST                                                                                 WARREN           OH     44483‐‐ 00
JOANN PADGETTE         7105 FOX HOLLOW CIR                                                                            SHREVEPORT       LA     71107‐9018
JOANN PAGE             311 DICK AVE                                                                                   PONTIAC          MI     48341‐1805
JOANN PALMER           3240 FISHVILLE RD                                                                              GRASS LAKE       MI     49240‐9678
JOANN PANSING          2976 WESTCOTT DR                                                                               DAYTON           OH     45420‐1263
JOANN PARM             4248 MILAN AVE SW                                                                              WYOMING          MI     49509‐4425
JOANN PARTIAN          639 SCOTTSDALE DR                                                                              RICHARDSON       TX     75080‐6112
JOANN PAVLOCK          3337 GRAY FOX CV                                                                               APOPKA           FL     32703‐8107
JOANN PEARSON          618 N DEQUINCY ST                                                                              INDIANAPOLIS     IN     46201‐2910
JOANN PERIGO           2190 HOWE RD                                                                                   BURTON           MI     48519‐1128
JOANN PERSHAY          908 ATHENS ST                                                                                  SAGINAW          MI     48601‐1466
JOANN PETERS           5316 7 MILE RD                                                                                 BAY CITY         MI     48706‐8712
JOANN PETERSON         227 SAGEWOOD TER                                                                               WILLIAMSVILLE    NY     14221‐4742
JOANN PETTINATO        6202 HARBOUR GREENS DR                                                                         LAKE WORTH       FL     33467‐6835
JOANN PHIFER           819 W CAVANAUGH RD                                                                             LANSING          MI     48910‐5240
JOANN PHILLIPS         901 ECKFORD DR                                                                                 TROY             MI     48085‐4858
JOANN PONTZIOUS        4996 ROSY DR                                                                                   LEONARD          MI     48367‐1749
JOANN POTTER           402 TIDEWATER LN                                                                               BALTIMORE        MD     21220‐2382
JOANN POWERS           216 DRAWYERS DR                                                                                MIDDLETOWN       DE     19709‐6824
JOANN PULLIAM          APT 2D                          4205 SAINT ANDREWS CIRCLE                                      MISHAWAKA        IN     46545‐8208
JOANN PULLIAM          4205 SAINT ANDREWS CIR APT 2D                                                                  MISHAWAKA        IN     46545‐8208
JOANN R COEN           325 NORTH LA ARBOLETA DRIVE                                                                    GILBERT          AZ     85234
JOANN R WHITE          107 NORTH AUTUM DRIVE                                                                          ROCHESTER        NY     14626‐1335
JOANN RADER            2709 TRANSIT RD                                                                                NEWFANE          NY     14108‐9701
JOANN RAHN             311 S 5TH ST APT 110                                                                           LINWOOD          MI     48334‐9211
JOANN REEDY            1228 CONGRESS ST                                                                               MIDDLETOWN       IN     47356‐9324
JOANN RICHARDS         11091 N IONIA RD                                                                               VERMONTVILLE     MI     49096‐9764
JOANN RICHARDSON       1615 STERLING LK. DR.                                                                          PONTIAC          MI     48340
JOANN RICHARDSON       2740 PAWNEE ST SW                                                                              WARREN           OH     44485‐3327
JOANN RICHARDSON       BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH     44236
JOANN RIPPLE           79 HILLTOP BLVD                                                                                CANFIELD         OH     44406‐1219
JOANN RIVERS           17985 SE 101ST TER                                                                             SUMMERFIELD      FL     34491‐7418
JOANN ROBINSON         1432 MAYBERRY LN                                                                               FRANKLIN         TN     37064‐9610
JOANN ROCK             4 FRAMARK DR APT 2005                                                                          VICTOR           NY     14564‐1183
JOANN RODERICK         20 AVENUE TWENTY                                                                               TROPHY CLUB      TX     76262‐5401
JOANN RODERY           5093 N SHORE DR                                                                                LAPEER           MI     48446‐8056
JOANN ROGERS           10737 MARSH AVE                                                                                KANSAS CITY      MO     64134‐3072
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Name                           Address1                             Address2                     Address3             Address4                 City               State Zip
JOANN ROOSE                    2819 WASHBURN RD                                                                                                VASSAR              MI 48768‐8916
JOANN ROSE SCAVER              ROBERT W PHILLIPS                    SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON           IL 62024
                                                                    ANGELIDES & BARNERD LLC
JOANN RULE                     2733 MONTGOMERY AVE NW                                                                                          WARREN             OH   44485‐1429
JOANN RUTHERFORD               5641 DEARTH RD. RR BOX 215                                                                                      FRANKLIN           OH   45066‐7773
JOANN RUTKOWSKI                1822 REO AVE                                                                                                    LINCOLN PARK       MI   48146‐1247
JOANN S HYER                   349 RABBIT RANCH LANE                                                                                           DECATUR            TN   37322‐7619
JOANN SALDANA                  PO BOX 372                                                                                                      ELWOOD             IN   46036‐0372
JOANN SANDLIN                  4834 MONTROSE AVE                                                                                               FORT WAYNE         IN   46806‐2255
JOANN SARTAIN                  10889 BENTWATER LN                                                                                              FISHERS            IN   46037‐9384
JOANN SCALZI                   4414 RUSHFORD DR                                                                                                HAMBURG            NY   14075‐3087
JOANN SCHLICHT                 35177 HAZELWOOD ST                                                                                              WESTLAND           MI   48186‐9717
JOANN SCHMIDT                  5835 APPLE BLOSSOM DR                                                                                           BROWNSBURG         IN   46112‐8749
JOANN SCHNEIDER                4924 KILGORE RD                                                                                                 CROSWELL           MI   48422‐8569
JOANN SCHRIBER                 1244 GUERNSEY RD                                                                                                BEAVERTON          MI   48612‐8508
JOANN SENEGAL                  2133 BROWNING ST                                                                                                BERKELEY           CA   94702‐1821
JOANN SEXTON                   620 FARNSWORTH ST                                                                                               WHITE LAKE         MI   48386‐3128
JOANN SEYMOUR                  3175 SHATTUCK ARMS BLVD APT 5                                                                                   SAGINAW            MI   48603
JOANN SHAFFER                  5124 SODOM HUTCHINGS RD                                                                                         FARMDALE           OH   44417‐9711
JOANN SHARROW                  G1187 HARDING DRIVE                                                                                             FLINT              MI   48507
JOANN SHAVER                   PO BOX 3493                                                                                                     WARREN             OH   44485‐0493
JOANN SHAVER                   BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS         OH   44236
JOANN SHORTRIDGE               1818 GLEN COVE RD                                                                                               DARLINGTON         MD   21034‐1336
JOANN SIPUSIC                  845 EASTLAND AVE SE                                                                                             WARREN             OH   44484‐4507
JOANN SLAUGHTER                17653 RUTH ST                                                                                                   MELVINDALE         MI   48122‐1144
JOANN SMITH                    1713 LONGLEAF DR                                                                                                SAINT CLOUD        FL   34769‐4942
JOANN SMITH                    1190 KEMPER AVE                                                                                                 BLOOMFIELD         MI   48302‐0147
JOANN SMITH                    4802 TREECREST PKWY                                                                                             DECATUR            GA   30035‐3599
JOANN SMITH                    6623 CLINGAN RD                                                                                                 POLAND             OH   44514‐2135
JOANN SMITH                    6382 E 700 S                                                                                                    FERDINAND          IN   47532‐9367
JOANN SNYDER                   3397 EASTWOOD DR                                                                                                ROCHESTER HLS      MI   48309‐3918
JOANN SOWDERS                  1417 ROYAL ARCHER DR                                                                                            WEST CARROLLTON    OH   45449‐2331

JOANN SPANO                    20 SHANBROOK DR                                                                                                 ROCHESTER          NY   14612‐3069
JOANN SPEARS                   524 CENTER ST                                                                                                   KENNETT SQUARE     PA   19348‐3250
JOANN SPERRY                   4695 ROCKVALLEY DR NE                DRIVE N.E.                                                                 GRAND RAPIDS       MI   49525‐1377
JOANN ST AMOUR                 522 E YORK AVE                                                                                                  FLINT              MI   48505‐2187
JOANN STEFANIK                 146 FITCH BLVD                                                                                                  AUSTINTOWN         OH   44515‐2233
JOANN STEINMAN                 115 DORWOOD PARK                                                                                                RANSOMVILLE        NY   14131‐9616
JOANN STEPHENS                 28952 OAKWOOD ST                                                                                                INKSTER            MI   48141‐1666
JOANN STEWART                  2709 TRANSIT ROAD                                                                                               NEWFANE            NY   14108‐9701
JOANN STILES                   422 AMOR PL                                                                                                     VANDALIA           OH   45377‐1804
JOANN STONE                    5505 E BELLEVUE HWY                                                                                             EATON RAPIDS       MI   48827‐9513
JOANN STONE                    3076 MEADOW LN NE                                                                                               WARREN             OH   44483‐2632
JOANN STYLES                   7380 WOODROW WILSON ST                                                                                          DETROIT            MI   48206‐2638
JOANN SUMMERFIELD              1403 KELSEY AVE                                                                                                 LANSING            MI   48910‐2594
JOANN SUSKI                    15240 SILVER PKWY APT 104 # BLDG 5                                                                              FENTON             MI   48430‐3485
JOANN SWANSON                  5194 ROSCOMMON ST                                                                                               BURTON             MI   48509‐2030
JOANN SWEENEY                  28429 HERNDONWOOD DR                                                                                            FARMINGTON HILLS   MI   48334‐5229

JOANN T GRAY & L TUCKER GRAY   424 GLENVIEW LANE                                                                                               GREENCASTLE        IN   46135‐7489
JOANN T MEAKIN                 7542 STATE ROUTE 305 NE                                                                                         BURGHILL           OH   44404‐9738
JOANN TAPPONE                  6275 CARA DR                                                                                                    RAVENNA            OH   44266‐1314
JOANN TATE                     5485 LINDEN RD                                                                                                  SWARTZ CREEK       MI   48473‐8264
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Name                          Address1                           Address2              Address3              Address4               City               State   Zip
JOANN TATTERSON               410 ELMWOOD DR                                                                                        LAFAYETTE           LA     70503‐5220
JOANN TAYLOR                  4236 KENTRIDGE DR SE                                                                                  GRAND RAPIDS        MI     49508‐3708
JOANN TAYLOR TEMPLE DENNOLT   ROBERT W PHILLIPS, SIMMONS BROWDER 707 BERKSHIRE BLVD    PO BOX 521                                   EAST ALTON           IL    62024
                              GIANARIS ANGELIDES & BARNERD LLC

JOANN TAYLOR‐WILLIAMS         1768 FAYETTEVILLE CT SE                                                                               ATLANTA            GA      30316‐2909
JOANN TERSKI                  8224 N EVANGELINE ST                                                                                  DEARBORN HTS       MI      48127‐1120
JOANN TESSEY                  960 CLOVER LN                                                                                         GILBERTSVILLE      PA      19525‐8404
JOANN THATCHER TRUST          3140 NE PINECREST LAKES                                                                               JENSEN BEACH       FL      34957‐4619
JOANN THEYS                   1337 NILES CORTLAND RD NE                                                                             WARREN             OH      44484‐1012
JOANN THOMAS                  PO BOX 48055                                                                                          ATLANTA            GA      30362‐1055
JOANN THOMAS                  2322 ABERDEEN AVE                                                                                     TOLEDO             OH      43614‐2725
JOANN THOMPSON                1406 OLD FORGE RD                                                                                     NILES              OH      44446‐3242
JOANN THREET                  PO BOX 69                                                                                             SWEETSER           IN      46987‐0069
JOANN TIFFANY                 13887 KEIBER RD NE                                                                                    GREENVILLE         MI      48838‐8322
JOANN TIMKO                   27847 SHERIDAN ST                                                                                     GARDEN CITY        MI      48135‐3178
JOANN TINCHER                 4316 WILDWOOD LOOP                                                                                    CLARKSTON          MI      48348‐1458
JOANN TOLBERT                 2745 BROOKLYN AVE SE                                                                                  GRAND RAPIDS       MI      49507‐3938
JOANN TORRES                  510 EUCLID AVE APT 6                                                                                  NAPOLEON           OH      43545‐2074
JOANN TULLOCH                 3310 ROSEFINCH TRL                                                                                    AUSTIN             TX      78746
JOANN TURK                    23867 PLUMBROOKE DR                                                                                   SOUTHFIELD         MI      48075‐7814
JOANN V ROSS                  100 WIND WILLOW WAY                APT 5                                                              ROCHESTER          NY      14624
JOANN V STEFANIK              146 FITCH BLVD                                                                                        AUSTINTOWN         OH      44515‐2233
JOANN VALLADON PERSONAL REP   JOANN VALLADON                     C/O BRAYTON PURCELL   222 RUSH LANDING RD                          NOVATO             CA      94948‐6169
GEORGE E VALLADON
JOANN VANDENBERG              12905 ELM AVE                                                                                         SAND LAKE          MI      49343‐9629
JOANN VANDYKE                 3143 WOODWARD AVE SW                                                                                  WYOMING            MI      49509‐2935
JOANN VANORMAN                11072 PODUNK AVE NE                                                                                   GREENVILLE         MI      48838‐8346
JOANN VERMEESCH               83 S KNIGHT RD                                                                                        MUNGER             MI      48747‐9716
JOANN W SHAFFER               5124 SODOM‐HUTCHINGS                                                                                  FARMDALE           OH      44417‐9711
JOANN W WHITTINGTON‐DUGA      2744 NORTH RD                                                                                         NILES              OH      44446
JOANN WADDINGTON              100 JUNIPER ST SE                                                                                     NEW PHILADELPHIA   OH      44663‐2407

JOANN WALKER                  917 S IRA CT                                                                                          ANAHEIM            CA      92804‐4007
JOANN WALKER                  5039 BURNS ST                                                                                         DETROIT            MI      48213‐2910
JOANN WALLACE                 1121 CARPENTER DR                                                                                     PONTIAC            MI      48340‐3313
JOANN WALTRIP                 622 SW 10TH ST                                                                                        OKLAHOMA CITY      OK      73109‐1310
JOANN WARD                    8932 PARADISE DRIVE                                                                                   MCKINNEY           TX      75070‐6430
JOANN WARE                    2004 N MEADOWLARK LN                                                                                  MUNCIE             IN      47304‐2853
JOANN WARNER                  3865 FENNER RD                                                                                        TROY               OH      45373‐8400
JOANN WARNER                  3845 LACY CREEK RD                                                                                    SALYERSVILLE       KY      41465‐9519
JOANN WATSON                  206 CHESTNUT AVE SE                                                                                   WARREN             OH      44483‐5945
JOANN WEBSTER                 51535 HEMLOCK LAKE RD                                                                                 MARCELLUS          MI      49067‐9743
JOANN WEIST                   5729 TANAGER ST                                                                                       SCHERERVILLE       IN      46375‐5304
JOANN WELCH                   14300 EVANSTON ST                                                                                     DETROIT            MI      48213‐2011
JOANN WETHERFORD              675 PLEASANT RDG                                                                                      LAKE ORION         MI      48362‐3435
JOANN WHALEN                  2834 N HWY 213                                                                                        EVANSVILLE         WI      53536
JOANN WHEATLEY                13114 CHESTNUT ST                                                                                     SOUTHGATE          MI      48195‐1255
JOANN WHITE                   2617 W WALTON BLVD                                                                                    WATERFORD          MI      48329‐4440
JOANN WILLIAMS                3309 N PHILIPS ST                                                                                     KOKOMO             IN      46901‐9170
JOANN WILLIAMS                24 MARTIN LUTHER KING JR BLVD N                                                                       PONTIAC            MI      48342‐2919
JOANN WILLIAMS                841 S 24TH ST                                                                                         SAGINAW            MI      48601‐6513
JOANN WILSON                  3381 LEVEE ST                                                                                         WATERFORD          MI      48329‐2249
JOANN WILSON                  1905 ROCKCREEK LN                                                                                     FLINT              MI      48507‐2275
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Name                      Address1                      Address2                        Address3   Address4               City            State   Zip
JOANN WINANS              274 STEWART AVE NW                                                                              WARREN           OH     44483‐2067
JOANN WISDOM              201 S ELLIS ST                                                                                  NEW BOSTON       TX     75570‐3231
JOANN WOLFE               331 SUNRISE AVE                                                                                 CHURCH HILL      TN     37642‐3121
JOANN WOLFF               N1886 JEFFERY RD                                                                                MONROE           WI     53566‐9793
JOANN WOOD                13502 N FRONTAGE RD APT 425                                                                     YUMA             AZ     85367
JOANN WOOD                2727 KLAM RD                                                                                    LAPCER           MI     49446‐9115
JOANN WRIGHT              120 SUNSHINE DR                                                                                 BARNESVILLE      GA     30204‐3200
JOANN WRIGHT              17420 W ALBAIN RD                                                                               PETERSBURG       MI     49270‐9546
JOANN WRIGHT              17015 NEW HAMPSHIRE DR                                                                          SOUTHFIELD       MI     48075‐2973
JOANN WYCKOFF             7259 BALDWIN RD                                                                                 SWARTZ CREEK     MI     48473‐9134
JOANN YOHMAN              2940 BERNADETTE AVE                                                                             YOUNGSTOWN       OH     44509‐3004
JOANN ZAVICAR             52392 HEATHERSTONE AVE                                                                          MACOMB           MI     48042‐3549
JOANN ZBOCH               8997 GLASGOW DR                                                                                 WHITE LAKE       MI     48386‐3316
JOANN ZVOCH               7220 FAUSSETT RD                                                                                FENTON           MI     48430‐8931
JOANN, MCCASKILL STOKE    3537 3RD ST APT 1                                                                               BROOKLYN         MD     21225‐1840
JOANNA BALZARINE          4821 LEMONA AVE                                                                                 SHERMAN OAKS     CA     91403‐2011
JOANNA BEARD              7319 KNOX RD                                                                                    PORTLAND         MI     48875‐9787
JOANNA BECKER             PO BOX 1047                                                                                     ROYAL OAK        MI     48068‐1047
JOANNA BONNER             15300 STRICKER AVE                                                                              EASTPOINTE       MI     48021‐3615
JOANNA BREWER             2823 JEREMY DR                                                                                  MESQUITE         TX     75181‐4634
JOANNA C SAYGER           8981 KINGSRIDGE DR 205                                                                          DAYTON           OH     45458
JOANNA CALANDRELLI        3128 INDEPENDENCE DR S                                                                          ELWOOD           IN     46036‐8998
JOANNA CLEVENGER          4600 OAKDALE RD                                                                                 HAINES CITY      FL     33844‐9310
JOANNA DRAKOS             3650 HI VILLA DR                                                                                LAKE ORION       MI     48360‐2457
JOANNA EPPS               430 FISKE DR                                                                                    DETROIT          MI     48214‐2947
JOANNA FREE               625 N JONES ST                                                                                  INGALLS          IN     46048‐9730
JOANNA FRIEDERS           625 E WATER ST APT 4          FALL CREEK VILLAGE                                                PENDLETON        IN     46064‐9378
JOANNA GROOM              2264 CLEARY RD.                                                                                 FLORENCE         MS     39073
JOANNA HAMMERS            PO BOX 146                                                                                      INYOKERN         CA     93527‐0146
JOANNA HILL               6381 N 370 W                                                                                    HUNTINGTON       IN     46750‐7735
JOANNA HYING              636 RIDGE ST                                                                                    MINERAL POINT    WI     53565‐1426
JOANNA JACKSON            5250 GATEWAY AVE                                                                                NOBLESVILLE      IN     46062‐6771
JOANNA JONES              22133 KEEFER ST                                                                                 SOUTHFIELD       MI     48033‐3921
JOANNA KOON               4500 PARKWOOD DRIVE                                                                             KOKOMO           IN     46901‐6429
JOANNA L HARLOW           515 GEORGE WALLACE DR #B36                                                                      GADSDEN          AL     35903‐2228
JOANNA L JONES            1653 MIAMI CHAPEL RD                                                                            DAYTON           OH     45408‐2527
JOANNA L PETRILLA         868 W ALEX BELL RD                                                                              DAYTON           OH     45459‐3102
JOANNA L TRENT            3425 POBST DR                                                                                   KETTERING        OH     45420
JOANNA L. TIPTON          519 N. LINDSEY AVE.                                                                             MIAMISBURG       OH     45342
JOANNA LEFF               PO BOX 175                                                                                      ROOSEVELT        NJ     08555
JOANNA LOGAN              550 BELLAIRE AVE                                                                                MADISON HTS      MI     48071‐4547
JOANNA LOUISELLE          18561 WHITBY ST                                                                                 LIVONIA          MI     48152‐3039
JOANNA LYGA               286 CYPRESS AVE               BOX 7                                                             BRONX            NY     10454
JOANNA LYNN O'SHEA        9 SAVOY AVE                                                                                     W CARROLLTON     OH     45449
JOANNA M LEWIS            2 STORM HAVEN CIRCLE                                                                            ENON             OH     45323‐1549
JOANNA M LOWREY           1262 STYER DR                                                                                   NEW CARLISLE     OH     45344‐2722
JOANNA MALAGRIDA          2189 ALPENA AVENUE                                                                              DAYTON           OH     45406‐2635
JOANNA MARCHANT           500 W COURT ST                C/O ATTORNEY CARL L. BEKOFSKE                                     FLINT            MI     48503‐5010
JOANNA MCCARTHY           2396 W WARDLOW RD                                                                               HIGHLAND         MI     48357‐3344
JOANNA MCCOOK‐CASCADDAN   1706 S BARRY RD                                                                                 ITHACA           MI     48847‐9420
JOANNA MCFADDEN           2210 ROYAL OAK AVE                                                                              DEFIANCE         OH     43512‐3530
JOANNA MERIWETHER         1216 W HILLCREST AVE                                                                            DAYTON           OH     45406‐1917
JOANNA MIHALIS            2039 SCOTLAND DR                                                                                CLEARWATER       FL     33763‐1338
JOANNA MILLER             866 E HIGH ST                                                                                   LOCKPORT         NY     14094‐5305
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Name                       Address1                       Address2               Address3      Address4                 City              State   Zip
JOANNA MILLITELLO          492 KEENAN CT                                                                                FORT MYERS         FL     33919‐3110
JOANNA MOATS               PO BOX 852                                                                                   TAPPAHANNOCK       VA     22560‐0852
JOANNA MSCICHOWSKI         2990 HOLME AVE                 IMMACULATE MARY HOME                                          PHILADELPHIA       PA     19136‐1830
JOANNA MURDOCK             2911 E 100 S                                                                                 ANDERSON           IN     46017‐1805
JOANNA MURGILLO            24 WELLINGTON PONDS                                                                          ROCHESTER          NY     14624‐5006
JOANNA NEW                 7 WILLIAMSON ROAD                                                                            GREENVILLE         PA     16125‐9771
JOANNA NEW                 7 WILLIAMSON RD                                                                              GREENVILLE         PA     16125‐9771
JOANNA NICHOLS             3999 E 41ST ST                                                                               NEWBURGH           OH     44105‐3168
                                                                                                                        HEIGHTS
JOANNA NOWACK              POSTWEG 9                                                           41564 KAARST GERMANY
JOANNA PARTIN              6061 N SAGINAW RD STE 1                                                                      MOUNT MORRIS      MI      48458‐2438
JOANNA PETRILLA            868 W ALEX BELL RD                                                                           DAYTON            OH      45459‐3102
JOANNA R HAMMERS           PO BOX 146                                                                                   INYOKERN          CA      93527‐0146
JOANNA R MILLER            1604 VENUS AVE                                                                               JUPITER           FL      33469‐3105
JOANNA REPASY              1508 MAGNOLIA DR                                                                             MURFREESBORO      TN      37128‐5905
JOANNA RYDER               4027 N WOODHUE DR                                                                            JANESVILLE        WI      53545‐9049
JOANNA SABINS              PO BOX 893                                                                                   EDGERTON          OH      43517‐0893
JOANNA SALVINO‐DORANTICH   14205 SEACRIST RD                                                                            SALEM             OH      44460‐9606
JOANNA SCOTT               604 E SOUTH ST BOX 257                                                                       ARCADIA           IN      46030
JOANNA SESTRICH            496 ELM AVE                                                                                  RAHWAY            NJ      07065‐3222
JOANNA SEYBERT             215 JAMES ST                                                                                 COLUMBIANA        OH      44408‐1425
JOANNA SIZER               11321 N THRUSH DR                                                                            PARKER            CO      80138‐7933
JOANNA SLADE               201 SOUTH ST W                                                                               GRATIS            OH      45330
JOANNA STUDER              1385 COUNTY ROAD F                                                                           SWANTON           OH      43558‐9021
JOANNA TAYLOR              907 STELLA ST                                                                                MONTGOMERY CITY   MO      63361‐1113

JOANNA TAZIOLE             237 ACRES DRIVE                                                                              RIDLEY PARK       PA      19078
JOANNA THELEN              1824 WILLOW CREEK DR                                                                         LANSING           MI      48917‐7807
JOANNA TRUSTMAN            278 SALEM DR N                                                                               ROMEO             MI      48065‐5027
JOANNA TYLER               13651 COUNTY ROAD 5010                                                                       ROLLA             MO      65401‐8078
JOANNA W HERRING           3695 JOHNSON DR                                                                              SNELLVILLE        GA      30039‐6946
JOANNA WALLACE             5464 SHADBURN FERRY RD                                                                       BUFORD            GA      30518‐2472
JOANNA WEBER               147 GARY LN                                                                                  CHEEKTOWAGA       NY      14227‐3264
JOANNA WILLIAMS            710 CAMERON AVE                                                                              PONTIAC           MI      48340‐3204
JOANNA WINNINGHAM          2937 W 400 S                                                                                 NEW CASTLE        IN      47362
JOANNA ZAGORNIK            22077 BEECH ST APT 219                                                                       DEARBORN          MI      48124‐2848
JOANNE
JOANNE A MILLER            7949 BROOKWOOD DR                                                                            WARREN            OH      44484
JOANNE A MILLER            7949 BROOKWOOD ST NE                                                                         WARREN            OH      44484‐1546
JOANNE ADAMS               602 SPENCER ST                                                                               FLINT             MI      48505‐4277
JOANNE AHLERS              5450 W KENT RD                                                                               SAINT LOUIS       MI      48880‐9334
JOANNE ALDRICH             5472 CHATHAM LN                                                                              GRAND BLANC       MI      48439‐9801
JOANNE ALLEN               PO BOX 4104                                                                                  HAZELWOOD         MO      63042‐0704
JOANNE ALLEN               7404 RIVERSIDE PL                                                                            ORLANDO           FL      32810‐3772
JOANNE ALLEN               97 FLORIDA ST                                                                                BUFFALO           NY      14208‐1124
JOANNE ALSTON              6590 ROYAL PKWY N                                                                            LOCKPORT          NY      14094‐6621
JOANNE ANEESE              4236 OAK TREE CIR                                                                            ROCHESTER         MI      48306‐4619
JOANNE ANG                 ONE GEORGE STREET              # 21‐02                                                       SINGAPORE                 04914
JOANNE ASBERRY             7201 LAKE HAWKINS DR                                                                         ARLINGTON         TX      76002‐4065
JOANNE ASHBAUGH            10927 WHISPERING OAKS CIR                                                                    RIVERVIEW         FL      33569‐5950
JOANNE AUER                23220 BANNER SCHOOL RD                                                                       DEFIANCE          OH      43512‐9786
JOANNE AUSTIN              2858 SEATON CIRCUIT W                                                                        WARREN            MI      48091‐3399
JOANNE B GREGORY           5140 KUSZMAUL N.W.                                                                           WARREN            OH      44483‐1257
JOANNE B HABADA            12990 LEJEUNE LN                                                                             ROCKTON           IL      61072‐2844
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Name                Address1                         Address2                 Address3   Address4               City             State   Zip
JOANNE B SCISSUM    944 BROWNSVILLE RD                                                                          POWDER SPRINGS    GA     30127‐6756
JOANNE B SKIDMORE   4245 WAYLAND RD.                                                                            DIAMOND           OH     44412‐9707
JOANNE BANCROFT     1317 STOCKER AVE                                                                            FLINT             MI     48503‐3247
JOANNE BARTSCHE     17712 RIVERWAY DR                                                                           LAKEWOOD          OH     44107‐5322
JOANNE BATEMAN      2149 BETHANY RD                                                                             SHERMAN           TX     75090‐3556
JOANNE BATSON       3420 BARTH ST                                                                               FLINT             MI     48504‐2433
JOANNE BEARD        44124 WINTHROP DR                                                                           NOVI              MI     48375‐3255
JOANNE BEECHER      69 HOLLISTER RD                                                                             SWANSEA           MA     02777
JOANNE BENEDETTO    505 STOCKDALE CIR                                                                           ROLLINSFORD       NH     03869‐5638
JOANNE BENNETT      7215 SANDY BEACH DR                                                                         WATERFORD         MI     48329‐2847
JOANNE BERG         276 WILLOWBY LN                                                                             PINCKNEY          MI     48169‐9160
JOANNE BINDER       15328 NEHLS AVE                                                                             EASTPOINTE        MI     48021‐2241
JOANNE BLAKE        231 DARROW ST                                                                               CLIO              MI     48420‐1139
JOANNE BOBECK       6773 RAPIDS RD LOT 216                                                                      LOCKPORT          NY     14094‐7912
JOANNE BOLD         2762 MANUEL CIR                                                                             LILLIAN           AL     36549‐5212
JOANNE BOLDEN       15730 WISCONSIN ST                                                                          DETROIT           MI     48238‐1120
JOANNE BOUDINOT     118 S MAIN ST                                                                               NEW LEXINGTON     OH     43764‐1376
JOANNE BOWMAN       PO BOX 326                                                                                  STEWARTSTOWN      PA     17363‐0326
JOANNE BOYER        202 LAFAYETTE                                                                               PALMERTON         PA     18071
JOANNE BRADAICK     451 W HARVEY ST                                                                             STRUTHERS         OH     44471‐1336
JOANNE BRADLEY      PO BOX 311                                                                                  SAINT JOHNS       MI     48879‐0311
JOANNE BRANKLIN     2011 BOSTON BLVD                                                                            LANSING           MI     48910‐2457
JOANNE BRAUN        9854 JOHNSON RD                                                                             MIDDLEPORT        NY     14105‐9630
JOANNE BROCCOLLI    63 PRANGS LN                                                                                NEW CASTLE        DE     19720‐4035
JOANNE BROUGHTON    215 FORMOSA DR                                                                              MADISONVILLE      KY     42431‐8573
JOANNE BROWN        871 PENN EST                     66 HUNTERS WOODS DRIVE                                     E STROUDSBURG     PA     18301‐8614
JOANNE BROWN        1501 WASHINGTON ST APT # 104 B                                                              ALIQUIPPA         PA     15001
JOANNE BROWNING     2975 SEDGEWICK ST NE APT 195                                                                WARREN            OH     44483‐3637
JOANNE BRUNNER      213 CADGEWITH E                                                                             LANSING           MI     48906‐1524
JOANNE BRUSS        9115 SW 102ND CIR                                                                           OCALA             FL     34481‐8229
JOANNE BUKOFCHAN    1443 STANLEY ST                                                                             GIRARD            OH     44420‐1352
JOANNE BURGOS       98 CARRIE MARIE LN                                                                          HILTON            NY     14468
JOANNE BURNS
JOANNE BURTON       20044 ARCHDALE ST                                                                           DETROIT          MI      48235‐2233
JOANNE BURTON       251 PLEASANT GROVE CHURCH RD                                                                DE KALB          MS      39328‐5935
JOANNE C MARDEN     2576 SHATTUCK RD                                                                            SAGINAW          MI      48603‐3342
JOANNE CANANN       1017 HOWLAND WILSON RD SE                                                                   WARREN           OH      44484‐2519
JOANNE CARPENTER    4911 KAREN AVE SW                                                                           GRAND RAPIDS     MI      49548‐4256
JOANNE CASE         5018 ESCARPMENT DR                                                                          LOCKPORT         NY      14094‐9748
JOANNE CASE         225 SAN MARCO DR                                                                            VENICE           FL      34285‐3136
JOANNE CASEY        11 BRIDGE ST APT 101                                                                        PETOSKEY         MI      49770‐2954
JOANNE CASSIDY      63 SOUTH ST                                                                                 SOUTH YARMOUTH   MA      02664‐6043

JOANNE CASTELLO     1508 CHESACO AVE                                                                            BALTIMORE        MD      21237‐1515
JOANNE CECI PRYOR   20 CARRYBACK DR                                                                             ELKTON           MD      21921‐6529
JOANNE CEKALE       19535 DALBY                                                                                 REDFORD          MI      48240‐1361
JOANNE CHATMAN      214 MARCELLA FALLS RD BOX 145                                                               ETHRIDGE         TN      38456
JOANNE CLARK        1900 REDBUD LN APT 314                                                                      LANSING          MI      48917‐7644
JOANNE CLARKE       2698 SATURN DR                                                                              LAKE ORION       MI      48360‐1735
JOANNE CLAVIER      1231 HOWLAND AVE                                                                            KALAMAZOO        MI      49001‐5182
JOANNE COLE         3177 E PALMER ST                                                                            DETROIT          MI      48211‐2961
JOANNE COLLINS      33462 FOREST CT                                                                             WESTLAND         MI      48185‐2822
JOANNE COOK         920 PLUMTREE LN                                                                             FENTON           MI      48430‐2296
JOANNE COOPER       5594 CALLAWAY CIR                                                                           AUSTINTOWN       OH      44515‐4166
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Name                                   Address1                          Address2              Address3              Address4               City               State   Zip
JOANNE COPENHAVER                      2759 GRANGER RD                                                                                      ORTONVILLE          MI     48462‐9262
JOANNE COWAN                           416 E CHURCH ST                                                                                      ORFORDVILLE         WI     53576‐9634
JOANNE COWGILL                         1408 MARSHA DR                                                                                       JACKSONVILLE        AR     72076‐3658
JOANNE CRANE                           10260 ST RT 5 SOUTH                                                                                  SOUTH WHITLEY       IN     46787
JOANNE CROOK                           3344 CREEKWOOD DR                                                                                    REX                 GA     30273‐2117
JOANNE CROUSE                          727 MUIRFIELD DR                                                                                     BREENSBURG          PA     15601
JOANNE CUDD                            10915 E GOODALL RD UNIT 344                                                                          DURAND              MI     48429‐9041
JOANNE CURRAN                          7845 MEADOW DR                                                                                       WATERFORD           MI     48329‐4610
JOANNE CZERNIEJEWSKI                   54 WINSPEAR AVE                                                                                      BUFFALO             NY     14214‐1330
JOANNE D SMALLWOOD                     112 DUNCAN LN                                                                                        YOUNGSTOWN          OH     44505
JOANNE DAU                             1642 CREE CT                                                                                         OXFORD              MI     48371‐6620
JOANNE DAVIDS                          5885 W CLARK RD                                                                                      LANSING             MI     48906‐9311
JOANNE DAVIDS                          N16W26553 CONSERVANCY DR UNIT B                                                                      PEWAUKEE            WI     53072‐5487
JOANNE DAVIS                           3514 LIBERTY AVE                                                                                     HUBBARD             OH     44425‐2533
JOANNE DAVIS                           25680 W 12 MILE RD APT 103                                                                           SOUTHFIELD          MI     48034‐1885
JOANNE DEFORD                          590 MARKEL RD                                                                                        MUNGER              MI     48747‐9763
JOANNE DELAHUNT                        4210 LIVE OAK LN                                                                                     SPRING              TX     77389‐4654
JOANNE DELISIO                         600 AUDREY LN                                                                                        STRUTHERS           OH     44471‐1404
JOANNE DELONEY                         6127 NEFF RD                                                                                         MOUNT MORRIS        MI     48458‐2748
JOANNE DEMARTZ                         137 ELMWOOD AVE, LOWER                                                                               LOCKPORT            NY     14094
JOANNE DEMPSEY                         25 S MUNROE TER                                                                                      DORCHESTER          MA     02122‐2520
JOANNE DENNING                         3656 KNOWLESVILLE RD              BOX 39                                                             KNOWLESVILLE        NY     14479
JOANNE DIAZ                            1304 M L KING AVE                                                                                    FLINT               MI     48503‐1448
JOANNE DILLS                           701 SUMMIT AVE APT 17                                                                                NILES               OH     44446‐3649
JOANNE DOMBROWSKI                      70707 WOLCOTT RD                                                                                     ARMADA              MI     48005‐4131
JOANNE DOSH                            5146 E FRANCES RD                                                                                    MOUNT MORRIS        MI     48458‐9750
JOANNE DU BUIS                         1351 S PACKARD AVE                                                                                   BURTON              MI     48509‐2409
JOANNE DUNN                            14345 BROOKINGS DR                                                                                   STERLING HEIGHTS    MI     48313‐5416
JOANNE EARLY                           864 BURNS CIR NW                                                                                     LILBURN             GA     30047‐3502
JOANNE EBERHARDT                       2400 RENFREW ST                                                                                      SYLVAN LAKE         MI     48320‐1670
JOANNE EGAN                            352 HARRIS HILL RD                                                                                   WILLIAMSVILLE       NY     14221‐7407
JOANNE EGGLESTON                       1435 ELRAY BLVD                                                                                      MOUNT DORA          FL     32757‐5313
JOANNE EVANS                           1358 LARCHMONT AVE NE                                                                                WARREN              OH     44483‐3952
JOANNE EVERINGHAM                      6451 HENRY RUFF RD                                                                                   GARDEN CITY         MI     48135‐2010
JOANNE EVRARD                          204 NORTH MAIN STREET                                                                                WINDSOR             MO     65360‐1443
JOANNE F AS PERSONAL REP FOR WILLIAM   JOANNE F DENNIS                   C/O BRAYTON PURCELL   222 RUSH LANDING RD                          NOVATO              CA     94948‐6169
R DENNIS
JOANNE F CZAJKOWSKI                    226 DUPONT AVE                                                                                       TONAWANDA          NY      14150‐7817
JOANNE F PURKEY                        4423 MICHAELS DRIVE                                                                                  FRANKLIN           OH      45005‐1929
JOANNE F STEMEN                        PO BOX 10                                                                                            WALKERVILLE        MI      49459
JOANNE FAST                            5509 N CHESTER RD                                                                                    CHARLOTTE          MI      48813‐8854
JOANNE FELDER                          82 BRUNSWICK BLVD                                                                                    BUFFALO            NY      14208‐1541
JOANNE FINNORN                         4411 BARCHESTER DR                                                                                   BLOOMFIELD HILLS   MI      48302‐2117
JOANNE FISCHER                         25366 JULIANNA DR #116A                                                                              CHESTERFIELD       MI      48051
JOANNE FLYNN                           1004 OLD COUNTRY RD                                                                                  WAYNESVILLE        NC      28786‐7041
JOANNE FONT                            17601 ROAD 168                                                                                       PAULDING           OH      45879‐9040
JOANNE FORD                            38 NORY LN                                                                                           ROCHESTER          NY      14606‐3506
JOANNE FORTIN                          560 W HICKORY ST                                                                                     SANFORD            MI      48657
JOANNE FRANKE                          6283 BAYVIEW STA                                                                                     NEWFANE            NY      14108‐9783
JOANNE FRAWLEY                         211 BROAD ST                                                                                         MARLBOROUGH        MA      01752‐4019
JOANNE FRAZIER                         9223 WILDEMERE ST                                                                                    DETROIT            MI      48206‐1921
JOANNE FREIDENSTAB                     3035 STRATMOOR DR                                                                                    CANON CITY         CO      81212‐9353
JOANNE GALLAGHER‐DANIELS               5595 W CENTERLINE RD                                                                                 SAINT JOHNS        MI      48879‐9217
JOANNE GALLAHER                        1328 W REID RD                                                                                       FLINT              MI      48507‐4643
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Name                    Address1                         Address2                      Address3   Address4               City            State   Zip
JOANNE GARRETSON        7651 ACE ROAD S                                                                                  LAKE WORTH       FL     33467
JOANNE GAWLAK‐FORD      8294 JEWETT AVE                                                                                  WARREN           MI     48089‐1638
JOANNE GDOWSKI          113 S PROSPECT ST                                                                                KEARNEY          MO     64060‐8579
JOANNE GILBERT          232 5TH BOX 592                                                                                  PARKER CITY      IN     47368
JOANNE GIVENS           1957 ORLEANS #244                                                                                DETROIT          MI     48207
JOANNE GIVENS           1957 ORLEANS ST APT 244                                                                          DETROIT          MI     48207
JOANNE GLADNEY          5 MAPLE PLACE                                                                                    ANGLETON         TX     77515
JOANNE GLADNEY          #5 MAPLE PLACE                                                                                   ANGLETON         TX     77515
JOANNE GLADYSZ          331 MITCHELL AVE                                                                                 MATTYDALE        NY     13211‐1741
JOANNE GODFREY
JOANNE GOFF             8056 MANCHESTER DR                                                                               GRAND BLANC     MI      48439‐9544
JOANNE GONCHOROFF       APT J2                           7190 PINNACLE DRIVE                                             FORT MYERS      FL      33907‐3730
JOANNE GOOD             15049 S MARKLEY RD                                                                               DANVILLE        IL      61834‐8094
JOANNE GRAY             541 1/2 EAST AVE                                                                                 TALLMADGE       OH      44278‐2019
JOANNE GREGORY          5140 KUSZMAUL AVE NW                                                                             WARREN          OH      44483‐1257
JOANNE GRIFFIN          516 ALDRICH ST                                                                                   LINDEN          MI      48451‐8908
JOANNE GUTIERREZ        1237 BIRKENHEAD RD                                                                               YUKON           OK      73099‐7607
JOANNE H RANDOLPH       233 WEBSTER RD                                                                                   WEBSTER         NY      14580
JOANNE H STROUP         148 MAPLE DR                                                                                     CORTLAND        OH      44410
JOANNE HAAG             155 COLLINS AVE                                                                                  WEST BERLIN     NJ      08091
JOANNE HADDAD           9108 CASTLEBAR WAY               C/O DANIEL S HADDAD                                             SACRAMENTO      CA      95826‐5019
JOANNE HALAPIN          15530 LEADER ST                                                                                  TAYLOR          MI      48180‐5031
JOANNE HAMILTON         337 WALTER ST SE                                                                                 KENTWOOD        MI      49548‐3245
JOANNE HAMMOND          131 WESTLAND AVE                                                                                 ROCHESTER       NY      14618‐1045
JOANNE HARDRICK         14914 PENROD ST                                                                                  DETROIT         MI      48223‐2359
JOANNE HARE             4309 DILLON ST                                                                                   PLANO           IL      60545‐2254
JOANNE HARKNESS         4444 CARMANWOOD DR                                                                               FLINT           MI      48507‐5653
JOANNE HARROW           PO BOX 67                                                                                        CORTLAND        OH      44410‐0067
JOANNE HAZEL            6653 S BETSIE RIVER RD                                                                           INTERLOCHEN     MI      49643‐9508
JOANNE HEFT             4098 GREEN ST                                                                                    SAGINAW         MI      48638‐6618
JOANNE HEIZER           174 COOPER LN                                                                                    XENIA           OH      45385‐2703
JOANNE HENLEY           3357 MCCONNELL ST                                                                                ORION           MI      48359‐1142
JOANNE HENRY            6307 LAURENTIAN CT                                                                               FLINT           MI      48532‐2039
JOANNE HENRY            1050 ANTHONY WAYNE BLVD                                                                          DEFIANCE        OH      43512‐1306
JOANNE HERRING          4800 MARGARET CT                                                                                 BRIDGEPORT      MI      48722‐9514
JOANNE HEWITT‐SOLOMON   6914 OAK MANOR CT                                                                                LIBERTY TOWN    OH      45044‐9093
JOANNE HILL             23248 HAYES ST                                                                                   TAYLOR          MI      48180‐2314
JOANNE HINKEBEIN        18931 E GERONIMO CT                                                                              INDEPENDENCE    MO      64056‐2254
JOANNE HOLMES           1223 BEACH DR                                                                                    LAKE ORION      MI      48360‐1205
JOANNE HORCHAR          KELLER, FISHBACK & JACKSON LLP   18425 BURBANK BLVD, STE 610                                     TARZANA         CA      91356
JOANNE HORN             1012 WASHINGTON ST                                                                               EATON           OH      45320‐1554
JOANNE HOWARD           2500 MANN RD LOT 306                                                                             CLARKSTON       MI      48346‐4220
JOANNE HOWAY            1858 N LAKE PLEASANT RD                                                                          ATTICA          MI      48412‐9254
JOANNE HOWELL           804 HENDERSON MILL RD                                                                            COVINGTON       GA      30014‐5305
JOANNE HUDSON           351 SIESTA CT                                                                                    HEMET           CA      92543‐8839
JOANNE HULL             6550 LOCKWOOD BLVD                                                                               BOARDMAN        OH      44512‐3903
JOANNE HUNTINGTON       405 FOREST ST                                                                                    EATON RAPIDS    MI      48827‐1519
JOANNE I MADELINE       444 GRANDVIEW AVE                                                                                HUBBARD         OH      44425
JOANNE IRWIN            1610 S ERIE ST                   C/O MARILYN CARRIER                                             BAY CITY        MI      48706‐5222
JOANNE J FLAUTO         5513 MILL CREEL BLVD                                                                             BOARDMAN        OH      44512
JOANNE J RILEY          11125 SE 97TH ST                                                                                 OKLAHOMA CITY   OK      73165‐9204
JOANNE J WADE           150 LILBURNE DRIVE                                                                               YOUNGSTOWN      OH      44505‐4858
JOANNE J. GROSE         503 ASHMEDE CT.                                                                                  ARLINGTON       TX      76013
JOANNE JACKSON          3216 S GREYFRIAR ST                                                                              DETROIT         MI      48217‐2408
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JOANNE JAENICKE     5469 N 100 W                                                                              KOKOMO          IN     46901‐8535
JOANNE JAFFE        1 SEAL HARBOR RD APT 203                                                                  WINTHROP        MA     02152‐1050
JOANNE JEZOWSKI     2804 DANAK DR                                                                             BAY CITY        MI     48708‐8427
JOANNE JOHANSSON    121 ASH ST                                                                                EDGEWATER       FL     32141‐7333
JOANNE JOHNSON      1309 CLOVER VALLEY WAY APT D                                                              EDGEWOOD        MD     21040
JOANNE JOHNSON      5906 WATLING RD                                                                           BARRYTON        MI     49305‐9448
JOANNE JOYNER       156 S GENESEE AVE                                                                         PONTIAC         MI     48341‐1907
JOANNE K HENSON     PO BOX 292234                                                                             KETTERING       OH     45429
JOANNE K JONES      12912 WEST BENT TREE DRIVE                                                                PEORIA          AZ     85383
JOANNE K KYSER      2899 VAN WYE ST SE                                                                        WARREN          OH     44484
JOANNE K RYDER      399 HAZELWOOD S E.                                                                        WARREN          OH     44483‐‐ 61
JOANNE K STARK      765 DRESDEN DRIVE                                                                         HUBBARD         OH     44425‐1219
JOANNE KALTSAS      16400 DIX TOLEDO RD APT 408                                                               SOUTHGATE       MI     48195‐2992
JOANNE KEEZER       STOR‐729                                                                                  SLIDELL         LA     70459
JOANNE KEITH        5521 GREEN BANK DR                                                                        GRAND BLANC     MI     48439‐9403
JOANNE KELLER       3729 BEEBE RD                                                                             NEWFANE         NY     14108‐9660
JOANNE KELLY        11251 BROUGHAM DRIVE                                                                      STERLING HTS    MI     48312‐3703
JOANNE KEMPER       3333 E LINCOLNSHIRE BLVD                                                                  TOLEDO          OH     43606‐1210
JOANNE KENNEY       3926 LOCKPORT OLCOTT RD LOT 120                                                           LOCKPORT        NY     14094‐1186
JOANNE KIELMA       33 BOSTWICK PL                                                                            DEPEW           NY     14043‐2801
JOANNE KILLEN       111 SPYGLASS CT SE                                                                        WARREN          OH     44484‐5602
JOANNE KIRCHNER     1011 FELTL CT APT 437                                                                     HOPKINS         MN     55343‐3909
JOANNE KLAIN        45107 BARTLETT DRIVE                                                                      NOVI            MI     48377‐2567
JOANNE KLICH        501 DOANE STREET                                                                          BEAVERTON       MI     48612‐8141
JOANNE KNOLTON      APT 116                           18177 SOUTH DRIVE                                       SOUTHFIELD      MI     48076‐1126
JOANNE KOHN         4 PINE VALLEY COURT                                                                       HOLMDEL         NJ     07733
JOANNE KOWAL        15801 BRIDAL PATH CT                                                                      CLINTON TWP     MI     48035‐1006
JOANNE KRAKOWSKI    2648 22ND ST                                                                              BAY CITY        MI     48708‐7614
JOANNE KRELL        1824 WAITE AVE                                                                            KALAMAZOO       MI     49008‐1762
JOANNE KRIEDEMAN    6108 ELMARGE DR                                                                           INDEPENDENCE    OH     44131‐4912
JOANNE KROSKA       7102 POPPLEWOOD DR                                                                        DAVISON         MI     48423‐9519
JOANNE KRUEGER      2209 COMMONS AVE                                                                          JANESVILLE      WI     53546‐5965
JOANNE KUHFELDT     118 BLOCK ST                                                                              WILLIAMSTON     MI     48895‐9019
JOANNE KULIGOWSKI   26268 OHIO AVE                                                                            NOVI            MI     48374‐1448
JOANNE L AUCUTT     331 GREENLAWN ST                                                                          YPSILANTI       MI     48198‐5931
JOANNE L BATEMAN    2149 BETHANY RD                                                                           SHERMAN         TX     75090
JOANNE L CANANN     1017 HOWLAND WILSON RD SE                                                                 WARREN          OH     44484
JOANNE L MARTIN     4228 RUSHMORE PL                                                                          DAYTON          OH     45430
JOANNE L RUSITZKY   940 GLEN LAKE CIRCLE                                                                      NAPLES          FL     34119
JOANNE L STEARNS    2350 DOWNPATRICK ST                                                                       DAVISON         MI     48423‐9557
JOANNE L WITUCKI    1005 3RD ST                                                                               BAY CITY        MI     48708‐6012
JOANNE LABARGE      8 N GLENWOOD AVE                                                                          PONTIAC         MI     48342‐1502
JOANNE LACKIE       4522 MAIN ST BOX 49                                                                       JAVA VILLAGE    NY     14083
JOANNE LADD         3919 CAMBRIDGE CT                                                                         CULLEOKA        TN     38451‐2081
JOANNE LAMAR        905 ROSS ST APT A9                                                                        RAHWAY          NJ     07065‐2161
JOANNE LAMBING      1822 ROBERTS LN NE APT 110                                                                WARREN          OH     44483
JOANNE LANCZAK      2984 GROVE                                                                                STANDISH        MI     48658
JOANNE LARSEN       523 S CLARENDON AVE                                                                       ADDISON          IL    60101‐4407
JOANNE LASKOWSKI    47 DIANE DRIVE                    LOT 204                                                 ESSEXVILLE      MI     48732
JOANNE LASTIC       3726 SE 8TH PL                                                                            CAPE CORAL      FL     33904‐5189
JOANNE LAZARZ       9317 SHADOWFAX DR                                                                         ARLINGTON       TX     76002‐5018
JOANNE LEDDY        7620 DEVINS RDG                                                                           CLARKSTON       MI     48348‐4351
JOANNE LEECH        1038 CURTIS DR                                                                            MANSFIELD       OH     44907‐2622
JOANNE LESESNE      4 UPTON PARK                                                                              ROCHESTER       NY     14607‐1516
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Name                         Address1                       Address2                 Address3    Address4               City               State   Zip
JOANNE LEWIS                 4208 BLACKSNAKE DR                                                                         TEMPLE HILLS        MD     20748‐5626
JOANNE LEWIS                 706 MARY CT                                                                                FENTON              MI     48430‐1417
JOANNE LEWIS                 2315 HEARTSOUL DR                                                                          DAYTON              OH     45408‐2439
JOANNE LINDFORS              1110 E MILLBROOK RD                                                                        MOUNT PLEASANT      MI     48858‐9510
JOANNE LINDQUIST             5335 TREEVILLE CIR                                                                         KENT                OH     44240
JOANNE LOVETT                2190 PREWITT BEND RD                                                                       WILLIAMSBURG        KY     40769‐8721
JOANNE LUBBERS               11535 LALLY ST NE                                                                          LOWELL              MI     49331‐9749
JOANNE M BOLCKO              29 OLD PINE LN                                                                             ROCHESTER           NY     14615
JOANNE M BRADLEY             608 N MORTON BOX 311                                                                       SAINT JOHNS         MI     48879
JOANNE M BRANKLIN            2011 BOSTON BLVD                                                                           LANSING             MI     48910‐2457
JOANNE M BROWNING            2975 SEDGEWICK N E             APT 195                                                     WARREN              OH     44483‐3637
JOANNE M CROMIE              12395 HICKORY E                                                                            UTICA               MI     48315‐5858
JOANNE M DUNN                14345 BROOKINGS DR                                                                         STERLING HEIGHTS    MI     48313‐5416
JOANNE M DUREN               470 N SILVERBELL RD                                                                        TUCSON              AZ     85745
JOANNE M EVANS               1358 LARCHMONT AVE NE                                                                      WARREN              OH     44483‐3952
JOANNE M HAZEL               6653 S BETSIE RIVER RD                                                                     INTERLOCHEN         MI     49643‐9508
JOANNE M KILLEN              111 SPYGLASS CT SE                                                                         WARREN              OH     44484‐5602
JOANNE M LASTIC              3726 SE. EIGHTH PLACE                                                                      CAPE CORAL          FL     33904
JOANNE M SCHMIDT REV TRUST   JOANNE M SCHMIDT               11538 FOUNTAIN HEAD DR                                      TAMPA               FL     33626‐3321
JOANNE M WICKSTRAND          582 HATTERAS CT                                                                            VERO BEACH          FL     32968‐4023
JOANNE M YEASTER             13234 MORRISH RD                                                                           MONTROSA            MI     48457
JOANNE M. KEARNS
JOANNE MACK                  474 BRAKEL POINT DR                                                                        TRAVERSE CITY      MI      49684‐9341
JOANNE MADDEN                104 WASHINGTON ST                                                                          LOCKPORT           NY      14094‐2234
JOANNE MADDEN                16125 ASPEN HOLW                                                                           FENTON             MI      48430‐9138
JOANNE MARCHIONE             23 BILLY CASPER LANE                                                                       MIDLOTHIAN         IL      60445
JOANNE MARDEN                2576 SHATTUCK RD                                                                           SAGINAW            MI      48603‐3342
JOANNE MARRIOTT              4384 SMITHVILLE RD                                                                         EATON RAPIDS       MI      48827‐9733
JOANNE MATSON                4202 ROLLING GATE RD                                                                       FORT COLLINS       CO      80526‐3397
JOANNE MAYBERRY              24224 W 7 MILE RD APT 62A                                                                  DETROIT            MI      48219
JOANNE MC GARRY              2158 HAYES ST                                                                              MARNE              MI      49435‐8787
JOANNE MCWILSON              PO BOX 861                                                                                 YOUNGSTOWN         OH      44501‐0861
JOANNE METZLER               7424 GREENVIEW RD                                                                          NIAGARA FALLS      NY      14304‐1333
JOANNE MICHAEL               1093 E GENESEE AVE                                                                         FLINT              MI      48505‐1612
JOANNE MILLER                7949 BROOKWOOD ST NE                                                                       WARREN             OH      44484‐1546
JOANNE MILLER                3416 BULAH DR                                                                              DAYTON             OH      45429‐4084
JOANNE MILLIRON              1096 RAYMOND ST NW                                                                         WARREN             OH      44485‐2430
JOANNE MINNIHAN              6800 GULF COURSE BLVD P3                                                                   PUNTA GORDA        FL      33982
JOANNE MIRACLE               3094 BESSIE ST                                                                             AUBURN HILLS       MI      48326‐3600
JOANNE MOLL                  33 OXFORD DR                                                                               HILTON HEAD        SC      29928‐3373
                                                                                                                        ISLAND
JOANNE MONACO                546 FOX MEADOW RD                                                                          ROCHESTER           NY     14626‐3143
JOANNE MONTI                 306 TWIG CT N                                                                              NORTH FORT MYERS    FL     33917‐7427

JOANNE MOORE                 6176 STATE ROUTE 113                                                                       BELLEVUE           OH      44811‐9754
JOANNE MOORE                 5602 WISE RD                                                                               LANSING            MI      48911‐3411
JOANNE MORYC                 7600 NOBLE RD                                                                              SALINE             MI      48176‐8888
JOANNE MOYER                 37 DELTON ST                                                                               TONAWANDA          NY      14150‐5310
JOANNE MULDER                4776 SPEARS RD                                                                             PINCKNEY           MI      48169‐8819
JOANNE MULLICAN              1913 W BROWNSTONE CT SW                                                                    DECATUR            AL      35603‐2031
JOANNE MURRAY                78 PROGRESSIVE AVE                                                                         BUFFALO            NY      14207‐2104
JOANNE MYERS                 339 W JEFFERSON ST                                                                         GRAND LEDGE        MI      48837‐1544
JOANNE NAMAKA                9901 HATTERAS DR                                                                           PARRISH            FL      34219‐9605
JOANNE NARESKI               4648 23RD ST                                                                               WYANDOTTE          MI      48192‐6909
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Name                                   Address1                              Address2                         Address3                 Address4                 City              State   Zip
JOANNE NEDZA                           7635 W WABASH CT APT 10                                                                                                  MILWAUKEE          WI     53223‐2536
JOANNE NICOLUCCI                       2269 LYELL AVE                        APT 2‐B                                                                            ROCHESTER          NY     14606‐5733
JOANNE NIEDEROEST                      101 TOURAINE RD                                                                                                          GROSSE POINTE      MI     48236
                                                                                                                                                                FARMS
JOANNE NIEDEROEST                      101 TOURAINE ROAD                                                                                                        GROSSE POINTE      MI     48236
                                                                                                                                                                FARMS
JOANNE NOACK                         4647 N THOMAS RD                                                                                                           FREELAND           MI     48623‐8855
JOANNE NORD                          2191 WELL CT                                                                                                               EUREKA             CA     95503‐8536
JOANNE NOVAK
JOANNE NOWORYTA                      129 E PROSPECT AVE                                                                                                         HAMBURG           NY      14075‐5215
JOANNE O'DONNAL                      24 ROAD 6785                                                                                                               FRUITLAND         NM      87416‐9700
JOANNE ODLE                          3200 RANGE RD                                                                                                              PORT HURON        MI      48060‐1610
JOANNE OSBORNE                       2461 135TH AVENUE                                                                                                          HERSEY            MI      49639‐8748
JOANNE P COOPER                      5594 CALLAWAY CIR                                                                                                          AUSTINTOWN        OH      44515‐4166
JOANNE P GRIFFIN                     516 ALDRICH ST                                                                                                             LINDEN            MI      48451‐8908
JOANNE P LAMBING                     1822 ROBERTS LN NE APT 110                                                                                                 WARREN            OH      44483‐3647
JOANNE PARA                          15179 DRAKE ST                                                                                                             SOUTHGATE         MI      48195‐2605
JOANNE PARKS                         191 FAIRLAWN AVE                                                                                                           MANSFIELD         OH      44903‐7025
JOANNE PELLOW                        933 SPRING AVE NE                                                                                                          GRAND RAPIDS      MI      49503‐1245
JOANNE PERAINO PUSATERI              208 BISCAYNE DRIVE                                                                                                         ROCHESTER         NY      14612‐4241
JOANNE PETERS                        1413 GOLF ST                                                                                                               DAYTON            OH      45432‐3803
JOANNE PETERS                        1200 EDGEWATER AVE                                                                                                         SIOUX CITY         IA     51109‐1108
JOANNE PETROSKY                      146 E LIBERTY ST                                                                                                           GIRARD            OH      44420‐2648
JOANNE PFAAB                         703 S MAIN ST                                                                                                              HOMER              IL     61849‐1514
JOANNE PFEIFFER                      1509 WOODLAWN LN                                                                                                           TRAVERSE CITY     MI      49686‐4357
JOANNE PHILLIPS                      48701 MEDORA CT                                                                                                            SHELBY TOWNSHIP   MI      48315‐4276
JOANNE PHILLIPS                      1317 SOUTHWELL LN                                                                                                          BEL AIR           MD      21014‐2234
JOANNE PIERCE                        PO BOX 192                                                                                                                 MIDDLETON         MI      48856‐0192
JOANNE POLLOW                        PO BOX 313                                                                                                                 RANSOMVILLE       NY      14131‐0313
JOANNE PRAGANA                       45 LARRIMORE RD                                                                                                            YONKERS           NY      10710‐3420
JOANNE PRIESHOFF                     11474 N 1000 W                                                                                                             ELWOOD            IN      46036‐8801
JOANNE PRIEUR                        31424 COUSINO DR                                                                                                           WARREN            MI      48092‐1796
JOANNE PRIMEL                        7010 WESTLAKE AVE                                                                                                          PARMA             OH      44129‐2386
JOANNE PRINCE                        8145 W CENTERLINE RD                                                                                                       SAINT JOHNS       MI      48879‐9227
JOANNE PRITCHARD                     25843 MULBERRY LN                                                                                                          NOVI              MI      48374‐2349
JOANNE PSETAS                        740 BELAIR DR                                                                                                              SAGINAW           MI      48638‐5807
JOANNE PUENTE                        1523 W WIELAND RD                                                                                                          LANSING           MI      48906‐6811
JOANNE PURKEY                        4423 MICHAELS DR                                                                                                           FRANKLIN          OH      45005‐1929
JOANNE PURSLEY                       11 BAYWALK CT                                                                                                              GULF SHORES       AL      36542‐3216
JOANNE R DAVIS                       3514 LIBERTY AVE SE                                                                                                        HUBBARD           OH      44425‐2533
JOANNE R FREIDEL IND & AS GUARDIAN & OF MICHAEL J FREIDEL, KELSEY FREIDEL,   JACKSON FREIDEL, KYLEN FREIDEL & C/O JAMES E FITZGERALD   2108 WARREN AVE          CHEYENNE          WY      82001
CONSERVATOR                          JERROD FREIDEL                          HAILEY FREIDEL
JOANNE R GIBBS                       1064 E COLDWATER RD                                                                                                        FLINT             MI      48505‐1502
JOANNE R KRAMER IRA                  JOANNE R KRAMER                         42 UPPER WEDGEWOOD LANE                                                            VOORHEESVILLE     NY      12186‐9333
JOANNE R KRAMER TRUST                STEVEN J KRAMER TRUSTEE                 DUTCH VILLAGE APTS               9‐2R MOHAWK HOUSE                                 MENANDS           NY      12204
JOANNE RAGER                         1503 POLE BRIDGE RD                                                                                                        MIDDLETOWN        DE      19709‐2169
JOANNE RAHJA                         5802 PRENTICE RD                                                                                                           WATERFORD         MI      48327‐2658
JOANNE RANIERI                       152 EMILIA CIR                                                                                                             ROCHESTER         NY      14606‐4612
JOANNE RANVILLE                      1102 DEER CREEK TRL                                                                                                        GRAND BLANC       MI      48439‐9262
JOANNE REA                           701 E MAIN ST                                                                                                              HARTFORD CITY     IN      47348‐2226
JOANNE REHAHN                        38470 UTICA RD                                                                                                             STERLING HTS      MI      48312‐1761
JOANNE REINARDY                      4314 NW ROTAMER RD                                                                                                         JANESVILLE        WI      53546‐1034
JOANNE RENWICK                       15861 HOCKING BLVD                                                                                                         BROOK PARK        OH      44142‐2929
JOANNE REQUARTH                      PO BOX 241                              52 W. WALNUT                                                                       PHILLIPSBURG      OH      45354‐0241
